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Name                            Address1                         Address2                  Address3     Address4                City              State Zip
MARINO JR, SAVIERO T            211 RICHARD BASSETT RD                                                                          DOVER              DE 19904‐5428
MARINO LOREY & CAROL            PO BOX 176                       15487 CREED RD                                                 LAKE MILTON        OH 44429‐0176
MARINO LOUIS L (630846)         WEITZ & LUXENBERG                180 MAIDEN LANE                                                NEW YORK           NY 10038
MARINO LUNA                     14449 S LOWELL RD                                                                               LANSING            MI 48906‐9312
MARINO RICCIUTELLI              VIA DANTE 104                                                                                   FABRIANO                60004
MARINO RICCIUTELLI E GIULIANA   VIA DANTE 104                                                           FABRIANO ANCONA ITALY
GAZZELLA                                                                                                600044
MARINO SERVICE STATION INC.     9020 101ST AVE                                                                                  OZONE PARK        NY 11416‐2217
MARINO V PUTTI
MARINO YNCLAN                   931 HARRISON BLVD                                                                               LINCOLN PARK      MI   48146‐4217
MARINO, ALAN A                  112 AVENUE S APT 8                                                                              BROOKLYN          NY   11223
MARINO, ALFRED A                WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                NEW YORK          NY   10038
MARINO, ANNA J                  120 MEYER RD APT 430                                                                            BUFFALO           NY   14226‐1014
MARINO, ANTHONY C               1443 W PARK AVE EXT                                                                             NILES             OH   44446
MARINO, APRIL M                 324 INDIANA AVE                                                                                 MC DONALD         OH   44437‐1920
MARINO, CARMEN A                1306 WESTRIDGE DR                                                                               MANSFIELD         TX   76063‐6755
MARINO, CAROLYN P               5770 COREY HUNT RD                                                                              BRISTOLVILLE      OH   44402‐9625
MARINO, CECELIA                 3725 WATERBRIDGE LANE                                                                           MIAMISBURG        OH   45342‐6728
MARINO, CHARLES J               14114 KIMBLETON AVE                                                                             BATON ROUGE       LA   70817‐4776
MARINO, CHARLES R               2607 VILLAGE DR                                                                                 SHERMAN           TX   75090‐2796
MARINO, DAVID M                 3326 DEVONWOOD HLS NE APT A                                                                     GRAND RAPIDS      MI   49525‐6809
MARINO, DOMINICK                45 WINDSOR RD                                                                                   PORT CHESTER      NY   10573‐2422
MARINO, DONALD L                2875 HARTLINE DR                                                                                ROCHESTER HILLS   MI   48309‐4314
MARINO, EDWARD J                3234 PENNY LN                                                                                   NEW CASTLE        PA   16105‐1044
MARINO, ELIZABETH A             2139 PEACHTREE CT                                                                               WEST BLOOMFIELD   MI   48324‐1464
MARINO, ERASMO                  WEITZ & LUXENBERG                180 MAIDEN LANE                                                NEW YORK          NY   10038
MARINO, EVELYN M                3975 N MICHIGAN APT 13                                                                          SAGINAW           MI   48604‐1800
MARINO, FRANCESCO J             SIMMONS FIRM                     PO BOX 559                                                     WOOD RIVER        IL   62095‐0559
MARINO, FRANK                   811 SMITH ST                                                                                    LINDEN            NJ   07036‐6413
MARINO, FRANK J                 7697 VENICE HEIGHTS DR NE                                                                       WARREN            OH   44484‐1505
MARINO, GEORGE                  3930 99 TERRACE N                                                                               PINELLA PARK      FL   33782‐4026
MARINO, GEORGE                  3930 99TH TER                                                                                   PINELLAS PARK     FL   33782‐4026
MARINO, GUY                     1243 SOUTH ST., S.E.                                                                            WARREN            OH   44483‐5940
MARINO, GUY                     1243 SOUTH ST SE                                                                                WARREN            OH   44483‐5940
MARINO, IRENE M                 624 39TH ST                                                                                     NIAGARA FALLS     NY   14301‐2617
MARINO, JAMES                   COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                        HOUSTON           TX   77002‐1751
MARINO, JAMES R                 9 SPRING CREEK DR UNIT A                                                                        CORTLAND          OH   44410‐1689
MARINO, JEAN F                  140 DEGEORGE CIR APT 1                                                                          ROCHESTER         NY   14626‐4821
MARINO, JEAN H                  2875 HARTLINE                                                                                   ROCHESTER HILLS   MI   48309‐4314
MARINO, JEAN H                  2875 HARTLINE DR                                                                                ROCHESTER HILLS   MI   48309‐4314
MARINO, JESSICA                 2 BASSETT CT                                                                                    WEST HAVEN        CT   06516‐3705
MARINO, JESSICA AND SALVITORE   JESSICA MARINO                   2 BASSETT CT                                                   WEST HAVEN        CT   06516
MARINO, JIMMIE L                2646 N WASHINGTON RD                                                                            COVINGTON         OH   45318‐9758
MARINO, JOE C                   7830 MOORISH RD                                                                                 BRIDGEPORT        MI   48722‐9714
MARINO, JOHN A                  6390 STONEWOOD DR                                                                               WHITE LAKE        MI   48383‐2781
MARINO, JOHN A                  1162 WILL O WOOD DR                                                                             HUBBARD           OH   44425‐3336
MARINO, JOHN ANTHONY            6390 STONEWOOD DR                                                                               WHITE LAKE        MI   48383‐2781
MARINO, JOHN J                  PO BOX 115                                                                                      ALEXANDER         NY   14005‐0115
MARINO, JOSEPH                  586 SOUTH PINE BOX 192                                                                          HEMLOCK           MI   48626
MARINO, JOSEPH A                7141 E JACOB AVE                                                                                MESA              AZ   85209‐4028
MARINO, JOSEPH N                7778 OAK ORCHARD RD                                                                             BATAVIA           NY   14020‐1012
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Name                       Address1                       Address2                      Address3   Address4         City              State Zip
MARINO, JOSEPH W           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                          STREET, SUITE 600
MARINO, KEVIN A            2139 PEACHTREE CT                                                                        WEST BLOOMFIELD   MI   48324‐1464
MARINO, L W                5091 WAH‐TA‐WAH                                                                          CLARKSTON         MI   48348
MARINO, L WILLIAM          5091 WAH‐TA‐WAH                                                                          CLARKSTON         MI   48348
MARINO, LARRY D            3352 MULLINS CT                                                                          MURFREESBORO      TN   37129‐3066
MARINO, LOUIS J            1221 RT 97                                                                               LEXINGTON         OH   44904
MARINO, LOUIS L            WEITZ & LUXENBERG              180 MAIDEN LANE                                           NEW YORK          NY   10038
MARINO, LUCIO              512 W LEGION AVE                                                                         COLUMBIA          IL   62236‐1942
MARINO, MARILYN K          1162 WILL‐O‐WOOD DR.                                                                     HUBBARD           OH   44425
MARINO, MARK G             2044 REINHARDT ST                                                                        SAGINAW           MI   48604‐2432
MARINO, MARLENE M          10244 CORNERSTONE DR 12                                                                  WASHINGTON        MI   48095
MARINO, MARTIN E           3149 LA MANCHA WAY                                                                       HENDERSON         NV   89014‐3683
MARINO, MARY A             5180 PERRY RD                                                                            GRAND BLANC       MI   48439‐1633
MARINO, MARY JAYNE S       3853 MAHONING AVE NW                                                                     WARREN            OH   44483‐1921
MARINO, MARY L             122 WESTWOOD LANE                                                                        MIDDLETOWN        CT   06457‐1962
MARINO, MARY L             122 WESTWOOD LN                                                                          MIDDLETOWN        CT   06457‐1962
MARINO, MARY M             42348 BAYBARRY                 PARK RIDGE CONDO                                          CLINTON TWP       MI   48038‐5047
MARINO, MARY M             42348 BAYBERRY                 PARK RIDGE CONDO                                          CLINTON TWP       MI   48038‐5047
MARINO, MARY S             5091 WAH‐TA‐WAH                                                                          CLARKSTON         MI   48348
MARINO, MARY SUE           5091 WAH‐TA‐WAH                                                                          CLARKSTON         MI   48348
MARINO, MARY T             850 REYBOLD DR                                                                           NEW CASTLE        DE   19720‐4617
MARINO, MARY T             850 REYBOLD DRIVE                                                                        NEW CASTLE        DE   19720‐4617
MARINO, MICHAEL A          603 PURDUE AVE                                                                           AUSTINTOWN        OH   44515‐4215
MARINO, MICHAEL F          603 SAN PIER DR                                                                          AKRON             OH   44333‐1758
MARINO, MICHAEL P          2478 EDGEMERE DR                                                                         ROCHESTER         NY   14612‐1145
MARINO, NANCY              704 N EPPINGTON DR                                                                       TROTWOOD          OH   45426‐2520
MARINO, NICHOLAS J         2928 WYOMING AVE                                                                         FLINT             MI   48506
MARINO, PATRICIA           78 WATSON ST                                                                             SEEKONK           MA   02771‐3717
MARINO, PATRICIA E         12351 M 96                                                                               AUGUSTA           MI   49012‐8829
MARINO, PATRICIA ELAINE    12351 M 96                                                                               AUGUSTA           MI   49012‐8829
MARINO, PAUL               334 PENNWOOD PL                                                                          BRISTOL           CT   06010‐8504
MARINO, PAUL W GAGES INC   21300 MAC ARTHUR BLVD                                                                    WARREN            MI   48089‐3020
MARINO, PETE J             PO BOX 319                                                                               APPLE VALLEY      CA   92307‐0006
MARINO, PETER L            456 SILVER LEAF DR                                                                       OROVILLE          CA   95966‐3960
MARINO, PETER M            2140 KRISTIN DR                                                                          TROY              MI   48084‐1148
MARINO, R                  33 SHERWOOD RD                                                                           MANALAPAN         NJ   07726‐1837
MARINO, RICHARD J          41115 E ROSEWOOD DR                                                                      CLINTON TWP       MI   48038‐4906
MARINO, ROGER P            10212 TENNESSEE ST                                                                       OSCODA            MI   48750‐1904
MARINO, RONALD A           723 OLD WAGON LN NE                                                                      WARREN            OH   44484‐4484
MARINO, ROSALIE A          18404 MANORWOOD S                                                                        CLINTON TWP       MI   48038‐4810
MARINO, ROSEMARIE          34 WATSON AVE                                                                            OSSINING          NY   10562‐5114
MARINO, SALVATORE          2316 CLEARVIEW AVE NW                                                                    WARREN            OH   44483‐1366
MARINO, SANDRA M           3653 LYNTZ TOWNLINE RD SW                                                                WARREN            OH   44481‐9240
MARINO, SCOTT C            8126 S 167TH ST                                                                          OMAHA             NE   68136‐3147
MARINO, SCOTT C            1512 NW ASHLAND PL                                                                       BLUE SPRINGS      MO   64015‐2468
MARINO, STEPHANIE          33416 BROWNLEA DR.                                                                       STERLING HTS      MI   48312‐6614
MARINO, SUSAN              2546 LONGVIEW AVE                                                                        SAGINAW           MI   48601‐7035
MARINO, THOMAS             12351 M 96                                                                               AUGUSTA           MI   49012‐8829
MARINO, TIMOTHY J          2860 RIDGE RD                                                                            CORTLAND          OH   44410‐9454
MARINO, URSULA W           2607 VILLAGE DR                                                                          SHERMAN           TX   75090‐2796
MARINO, URSULA W           2607 EAST VILLAGE DR.                                                                    SHERMAN           TX   75090‐5090
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Name                            Address1                            Address2                    Address3    Address4                 City               State Zip
MARINO, VINCENT                 9000 BOSTON STATE RD                                                                                 BOSTON              NY 14025‐9687
MARINO, VINCENZO                12 VALERIE TRL                                                                                       SPENCERPORT         NY 14559‐2053
MARINO, VINCENZO                12 VALERIE TRAIL                                                                                     SPENCERPORT         NY 14559‐2053
MARINOFF JR, GORDON J           7884 PRESERVE DR                                                                                     WEST PALM BEACH     FL 33412‐2452
MARINOFF JR, PETER              19128 BIRCH VIEW TRL                                                                                 LAKE ANN            MI 49650‐9631
MARINOS, ALEX C                 5739 FRANCESCA LN                                                                                    SHELBY TWP          MI 48316‐5752
MARINOS, JOHN G                 1385 LAKE LUCERNE RD SW                                                                              LILBURN             GA 30047‐4375
MARINOS, KATHRYN G              4301 CHASEN CT                                                                                       ROCKLIN             CA 95765‐5507
MARINOS, PATRICIA J             205 MARINE ST                                                                                        BELLE VERNON        PA 15012‐2707
MARINOS, ROBERT J               205 MARINE ST                                                                                        BELLE VERNON        PA 15012‐2707
MARINOVICH JR, JAKE M           3221 W METAIRIE AVE N                                                                                METAIRIE            LA 70001‐4139
MARINSKI, GERALD                46657 LARCHMONT DR                                                                                   CANTON              MI 48187‐4726
MARINTEK TEKNE SAN. VE TIC AS   MOLLAFENARI YOLU, PELITILI MEVKLI                                           GEBZE, KOCAELL, TURKEY
MARINTHA GREEN                  1433 GIBBONS RD                                                                                      COOKEVILLE         TN   38506‐5063
MARINUCCI, JOSEPH D             43 FAIRWAY DR                                                                                        ROCHESTER          NY   14612‐4825
MARINUCCI, RALPH                104 FOREST GARDEN DR                                                                                 BOARDMAN           OH   44512‐6227
MARINUS MOERDYKE                547 92ND ST SE                                                                                       BYRON CENTER       MI   49315‐8761
MARINUS, JAMES
MARIO
MARIO & THERESA DISTEFANO       18 TAFT LANE                                                                                         ARDSLEY            NY   10502‐2411
MARIO A CARRABBA                24 SABINO FARM RD                                                                                    PEABODY            MA   01960
MARIO A JOHNSON                 PO BOX 2818                                                                                          DETROIT            MI   48202‐0818
MARIO A MARINO JR               729 HIGH PLAIN DR                                                                                    BEL AIR            MD   21014‐5248
MARIO A MORALES                 719 N BUTTERFIELD RD                                                                                 WEST COVINA        CA   91791‐1041
MARIO A SALINAS                 5823 NORTHGATE LN PMB 775                                                                            LAREDO             TX   78041‐2662
MARIO A SMITH                   21 BRIARCLIFF RD                                                                                     ATCO               NJ   08004
MARIO A TESTA                   28030 KALMIA AVE                                                                                     MORENO VALLEY      CA   92555‐5215
MARIO ADAMO                     27459 ROAN DR                                                                                        WARREN             MI   48093‐8333
MARIO ALBUQUERQUE               1291 MYRTLE ST                                                                                       HILLSIDE           NJ   07205‐2217
MARIO ALEMAN                    2614 WINONA ST                                                                                       FLINT              MI   48504‐2763
MARIO AMMONS                    120 BEACH ANN DR                                                                                     TROY               MO   63379‐2906
MARIO AMODEI                    31310 PINTO DR                                                                                       WARREN             MI   48093‐1707
MARIO ANDREANI                  5603A AQUARIUS                                                                                       SHAWNEE            OK   74804‐9346
MARIO ANGELO                    636 ASHLEY CIR                                                                                       ROCHESTER HILLS    MI   48307‐4595
MARIO AYALA                     2541 S WHIPPLE ST                                                                                    CHICAGO            IL   60623‐4139
MARIO BALLERINI                 3410 NONETTE DR                                                                                      LANSING            MI   48911‐3365
MARIO BARBETTI                  VIA B. PERUZZI,4                                                                                     TORRITA DI SIENA        53049
MARIO BARBETTI                  VIA BALDASSARRE PERUZZI             N. 4                                    53049 TORRITA DI SIENA
MARIO BARCELLA                  VIA PORPORA 1                                                                                        MILANO                  20100
MARIO BARGAS JR                 1806 MACKINAW ST                                                                                     SAGINAW            MI   48602‐3030
MARIO BARROS                    127 CHASE AVENUE                                                                                     YONKERS            NY   10703‐1913
MARIO BATTISTELLA               17 STEMMER DR                                                                                        CLARK              NJ   07066‐2927
MARIO BELANICH                  153 N WASHINGTON ST                                                                                  SLEEPY HOLLOW      NY   10591‐3117
MARIO BENAVIDES                 816 N BOND ST                                                                                        SAGINAW            MI   48602‐4546
MARIO BERTOLINO                 184 CAMELLIA DR                                                                                      LEESBURG           FL   34788‐2605
MARIO BO                        C/O M BO MARIO                      9 AVENUE DES PAPALINS                   98000 MONACO
MARIO BO                        VIA XXV APRILE 46/3                                                                                  SESTRI LEVANTE
MARIO BO                        VIA XXV APRILE 46                   SESTRI LEVANTE GE           ITALY
MARIO BO                        VIA XXV APRILE 46/3                 16039 SESTRI LEVANTE (GE)
MARIO BOHLA                     FLAMWEG 106                         25335 ELMSHORN
MARIO BOHLA                     C/O ANNELIESE KABLITZ               BERLINER ALLEE 49                       22850 NORDERSTEDT
                                                                                                            GERMANY
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Name                          Address1                          Address2                    Address3                     Address4                City               State Zip
MARIO BONGIORNI               3731 MONTEVALLO LN                                                                                                 LAMBERTVILLE        MI 48144‐8625
MARIO BONITO                  PO BOX 892                                                                                                         LARCHMONT           NY 10538‐0892
MARIO BORG                    4203 LAPHAM ST                                                                                                     DEARBORN            MI 48126‐3434
MARIO BOSIO                   ATTN: ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS    707 BERKSHIRE BLVD, PO BOX                           EAST ALTON           IL 62024
                                                                ANGELIDES & BARNERD LLC     521
MARIO BRANCACCIO              VIALE PIO X 125                                                                                                    CATANZARO          IA 88100
MARIO BRAVOMALO               3773 PAYNE RD                                                                                                      ATTICA             MI 48412‐9679
MARIO BROOKS                  10624 FOXLAIR DR                                                                                                   SAINT LOUIS        MO 63137‐3830
MARIO BUCCOLINI               CONTRADA RANCIA 25                                                                         62029 TOLENTINO
                                                                                                                         MACERATA ITALY
MARIO BUCCOLINI               CONTRADA RANCIA 25                62029 TOLENTINO MACERATA
MARIO BUCCOLINI               C.DA RANCIA, 25/3                 62029                       TOLENTINO
MARIO BUCCOLINI               C,DA RANCIA, 25/3                 I ‐ 62029 TOLENTINO
MARIO BUENO                   1099 WHEATFIELD DR                                                                                                 LAKE ORION         MI 48362‐3497
MARIO BUNSTER
MARIO BUONTEMPO               133 DENMAN RD                                                                                                      CRANFORD           NJ   07016‐2932
MARIO BUZZEO                  4207 RIDGE RD                                                                                                      LOCKPORT           NY   14094‐9778
MARIO C SANCHEZ JR            506 TICKNER ST APT 2                                                                                               LINDEN             MI   48451‐9008
MARIO CABALLERO               THE MADEKSHO LAW FIRM             8866 GULF FREEWAY STE 440                                                        HOUSTON            TX   77017
MARIO CABALLERO
MARIO CAFOLLA                 2097 N LAKESHORE DR                                                                                                LUDINGTON          MI   49431‐9384
MARIO CALVIN                  2330 LIBERTY AVENUE                                                                                                BELOIT             WI   53511‐4035
MARIO CAPANNOLA               33 FORBES TER                                                                                                      N TONAWANDA        NY   14120‐1831
MARIO CARBONE                 794 1/2 GOLFVIEW AVE                                                                                               YOUNGSTOWN         OH   44512‐2749
MARIO CARIBONI                KAOLSPLATZ 12                                                                              71638 LUDWIGSBURG
                                                                                                                         GERMANY
MARIO CARRIZALES              14140 S DEWITT RD                                                                                                  LANSING            MI 48906‐9213
MARIO CASADEI                 3318 VASSAR ST                                                                                                     DEARBORN           MI 48124‐3538
MARIO CASADEI                 VIA SECCHIAMO 18                                                                           47923 RIMIMI (ITALY)
MARIO CHAVEZ                  11967 ELLERY ST                                                                                                    SAN JOSE           CA   95127‐1415
MARIO CHAVIRA                 BARON & BUDD PC                   THE CENTRUM SUITE 1100      3102 OAK LAWN AVE                                    DALLAS             TX   75219‐4281
MARIO CITRINITI               36 HARPER RD                                                                                                       BUFFALO            NY   14226‐4046
MARIO COLONNA                 6204 RIVERVIEW DR                                                                                                  FLINT              MI   48532‐2276
MARIO CORDOVA                 385 W COLUMBIA AVE                                                                                                 PONTIAC            MI   48340‐1619
MARIO CORONA                  1303 HIGHLAND PLACE CT                                                                                             WENTZVILLE         MO   63385‐5534
MARIO CORREIA                 250 ADGER CT                                                                                                       LAWRENCEVILLE      GA   30043‐3079
MARIO CORTESI                 VIA MONTEVIDEO 3                                                                                                   ROMA                    00198
MARIO COVELLI                 826 AUGUSTA ST                                                                                                     RACINE             WI   53402‐4355
MARIO CRAFT                   2201 ROCKBROOK DR APT 638                                                                                          LEWISVILLE         TX   75067‐3818
MARIO CULTRARA                256 COMMONWEALTH AVE                                                                                               BUFFALO            NY   14216‐1810
MARIO D HERNANDEZ             3502 KIRK ROAD                                                                                                     YOUNGSTOWN         OH   44511‐2048
MARIO D'ADDARIO BUICK, INC.   THOMAS D'ADDARIO                  329 BRIDGEPORT AVE                                                               SHELTON            CT   06484‐3860
MARIO D'ARIES                 425 WARING RD                                                                                                      ROCHESTER          NY   14609‐2408
MARIO DAVIS                   11604 E 61ST ST                                                                                                    RAYTOWN            MO   64133‐4361
MARIO DE CASTRO               110 CHICKERING LAKE DR                                                                                             ROSWELL            GA   30075‐3275
MARIO DE MAESTRI              VIA SORELLE BRAMBILLA,1                                                                                            CASSANO D""ADDA    MI   20062
MARIO DEALESSI                VIA UMBERTO I░ N.33                                                                                                PECETTO TORINESE        10020
MARIO DEALESSI                10020 VIA UMBERTO I░ N.33                                     URIN                                                 PECETTO TORINESE
MARIO DELACRUZ                PO BOX 40423                                                                                                       EVERMAN            TX   76140‐0423
MARIO DELZOPPO                3515 OAKSTONE DR                                                                                                   MANSFIELD          OH   44903‐8441
MARIO DI CESARE               10118 STERLING AVE                                                                                                 ALLEN PARK         MI   48101‐1333
MARIO DI GIAMBATTISTA         211 BASKET RD                                                                                                      WEBSTER            NY   14580‐9601
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MARIO DI NATALE         16908 HANS CT                                                                                    FRASER             MI 48026‐1848
MARIO DI PONIO          3434 WINTERS CT                                                                                  WARREN             MI 48092‐3326
MARIO DI PONIO          37481 DUNDEE ST                                                                                  STERLING HTS       MI 48310‐3533
MARIO DI SALLE          PO BOX 3581                                                                                      BOARDMAN           OH 44513‐3581
MARIO DIDONATO          38307 SUMPTER DR                                                                                 STERLING HTS       MI 48310‐3025
MARIO DILULLO           BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH 44236
MARIO DISALVO           35510 FERNWOOD ST                                                                                WESTLAND           MI 48186‐4108
MARIO DIVASTA           821 BRIARCREEK RD                                                                                JACKSONVILLE       FL 32225‐5307
MARIO DOCOITO           405 LEON AVE                                                                                     PERTH AMBOY        NJ 08861‐2139
MARIO DZOLIC            1246 ADDISON RD                                                                                  CLEVELAND          OH 44103‐1976
MARIO E RAMIZ           6925 N GULLEY RD                                                                                 DEARBORN HTS       MI 48127‐2034
MARIO E SANCHEZ JR      506 TICKNER ST APT 2                                                                             LINDEN             MI 48451
MARIO ENRIQUEZ          3801 N. 16TH STREET, APT 140                                                                     PHOENIX            AZ 85016
MARIO ESCAMILLA         1490 N SAN MARCOS RD                                                                             SANTA BARBARA      CA 93111‐1249
MARIO ESTRADA           329 CHERRY ST                                                                                    WAUSEON            OH 43567‐1501
MARIO ESTRADA           1019 GIDDINGS ST                                                                                 DANVILLE            IL 61832‐3416
MARIO F BEVERE          10 OLD STONE LANE                                                                                ROCHESTER          NY 14615
MARIO FABBRO            216 ANGLE RD                                                                                     WEST SENECA        NY 14224‐4308
MARIO FANTECHI          VIA BARELLAI 14
MARIO FANTIN            6636 GLEANER HALL RD                                                                             NORTH BRANCH      MI   48461‐8779
MARIO FERNANDEZ         51 CANDLEWOOD LN                                                                                 WILLIAMSVILLE     NY   14221‐2138
MARIO FERRERI           822 LANING ST                                                                                    SOUTHINGTON       CT   06489‐1637
MARIO FERRUZZA          25 ANDREA LN                                                                                     ROCHESTER         NY   14609‐1719
MARIO FERRUZZI          47170 BLOSSOM LN                                                                                 MACOMB            MI   48044‐2726
MARIO FLORES            4774 MOHAWK TRL                                                                                  GLADWIN           MI   48624‐9296
MARIO FRATERNALI        VIA GIOVANNI FALCONE N.9
MARIO FRATERNALI        VIA GIOVANNI FALCONE N.9          MISANO ADRIATICO 47843 RN    ITALY
MARIO FREIGANG          ROSENORTER STEIG 5                                                        13503 BERLIN GERMANY
MARIO FUMANTI           247 SUSQUEHANNA AVE                                                                              EXETER            PA   18643‐2641
MARIO G ABBONDANZIERI   65 DEAN RD                                                                                       SPENCERPORT       NY   14559‐9537
MARIO GARCES            1019 CALHOUN AVE                                                                                 BRONX             NY   10465‐1910
MARIO GARNERO           VIA ROMA, 15                                                                                     GARZIGLIANA       IA   10060
MARIO GATTO             46713 MARINER DR                                                                                 MACOMB            MI   48044‐5701
MARIO GENITO            1421 OMAHA RD                                                                                    NORTH BRUNSWICK   NJ   08902‐1501
MARIO GIMENEZ           5A KINGERY QUARTER APT 104                                                                       WILLOWBROOK       IL   60527‐6576
MARIO GIORDANO          43478 PETRUCCI DR                                                                                CLINTON TWP       MI   48038‐2470
MARIO GIROLAMO          220 SHERRI ANN LN                                                                                ROCHESTER         NY   14626‐1712
MARIO GOHM              BAHNWEG 4                                                                 FL‐9486 SCHAANWALD
                                                                                                  LIECHTENSTEIN
MARIO GOLENWSKY         6454 MAIN ST APT 508              C/O STELLA GOLENWSKY                                           TRUMBULL          CT   06611‐2090
MARIO GONCALVES         323 AMITY ST                                                                                     ELIZABETH         NJ   07202‐3939
MARIO GONZALEZ          1167 W DOWNEY AVE                                                                                FLINT             MI   48505‐1403
MARIO GONZALEZ          3614 PALM DR                                                                                     MESQUITE          TX   75150‐3435
MARIO GRANDELIOUS       5121 WASHINGTON PL                                                                               SAINT LOUIS       MO   63108‐1114
MARIO GUERRA            8 TRAMORE CT                                                                                     CARTERSVILLE      GA   30120‐6454
MARIO GUTIERREZ         2932 RUSSELL ST                                                                                  SAGINAW           MI   48601‐4345
MARIO GUTIERREZ         2482 W KALAMO HWY                                                                                CHARLOTTE         MI   48813‐9536
MARIO GUZMAN            241 DANA LN                                                                                      BOSSIER CITY      LA   71111‐6331
MARIO GUZZO             6458 E TOWNLINE LAKE RD                                                                          HARRISON          MI   48625‐9084
MARIO GWAN              54 ZELMER ST                                                                                     BUFFALO           NY   14211‐2141
MARIO HAINESWORTH       754 WILDWOOD DR NE                                                                               WARREN            OH   44483‐4458
MARIO HENRY             48620 GOLDEN OAKS LN                                                                             SHELBY TOWNSHIP   MI   48317‐2614
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Name                           Address1                         Address2                     Address3   Address4                City                State Zip
MARIO HEREVIA                  2347 FERGUSON RD                                                                                 MANSFIELD            OH 44906‐1149
MARIO HERNANDEZ                3502 KIRK RD                                                                                     YOUNGSTOWN           OH 44511‐2048
MARIO HERNANDEZ                2129 EYMER ST                                                                                    SAGINAW              MI 48602‐2724
MARIO HERNANDEZ                405 BRIAN GARTH 2D                                                                               HAVRE DE GRACE       MD 21078
MARIO HERNANDEZ                521 RALSTON AVE                                                                                  DEFIANCE             OH 43512‐1555
MARIO HERRMANN                 MARGIT SCHRAMM STR 12                                                    80639 MUNICH GERMANY
MARIO HERRMANN                 MARGIT‐SCHRAMM‐STR 12                                                    80639 MUNICH GERMANY
MARIO HERRMANN                 MARGIT SCHRAMM STR 12            80639 MUNICH GERMANY
MARIO IACOBONI                 24500 METROPOLITIAN APT 9                                                                        CLINTON TOWNSHIP    MI   48035
MARIO IANDIMARINO              293 HILLCREST DR                                                                                 TRAFFORD            PA   15085‐1228
MARIO IULIANELLI               55155 NELSON DR                                                                                  MACOMB              MI   48042‐1727
MARIO J MARTINI                4 REGINA DR                                                                                      ROCHESTER           NY   14606‐3508
MARIO JOHNSON                  666 W BETHUNE ST APT 803                                                                         DETROIT             MI   48202‐2747
MARIO KENNEDY                  2727 WOODLAND AVE                                                                                ROYAL OAK           MI   48073‐4619
MARIO KLISANIN                 6315 ORTON CT                                                                                    CLEVELAND           OH   44103‐1572
MARIO KNEZEVIC                 3853 SILSBY CT                                                                                   AVON                OH   44011‐3476
MARIO KYRIAKIDES               319 PLEASANT ST                                                                                  CHARLOTTE           MI   48813‐1625
MARIO L TAYLOR                 APT 114                          3001 EAST AVENUE K                                              GRAND PRAIRIE       TX   75050‐2646
MARIO L TAYLOR                 3001 E AVENUE K # 114                                                                            GRAND PRAIRIE       TX   75050‐2641
MARIO LANZA                    21 BOBBIE DR                                                                                     ROCHESTER           NY   14606‐3647
MARIO LEONARDI                 BANCA DI CIVIDALE SPA            PIAZZA DUOMO 8
MARIO LEPORE                   1022 CONSTANT AVE FL 1           CORNER OF NORTH JAMES                                           PEEKSKILL           NY   10566‐2830
MARIO LEVELS                   460 FRANCISCA AVE                                                                                YOUNGSTOWN          OH   44504‐1416
MARIO LEWIS                    316 SHARI ST                                                                                     PONTIAC             MI   48341‐1058
MARIO LLAMAS                   C/O VILLEGAS LAW FIRM            1324 EAST SEVENTH ST                                            BROWNSVILLE         TX   78520
MARIO LOAIZA & ASSOCIATES IN   4474 WESTON RD                                                                                   DAVIE               FL   33331‐3195
MARIO LOTZE                    HOLTHAUSER HOEFE 30                                                      45470 MUELHEIM AN DER
                                                                                                        RUHR, GERMANY
MARIO LUCARELLI                1619 SPRINGVIEW CT                                                                               ROCHESTER           MI   48307‐1735
MARIO M PANISSIDI              1753 ROOSEVELT AVE                                                                               NILES               OH   44446‐4109
MARIO M PEREZ                  407 LAKE CIR                                                                                     COLUMBIA            TN   38401‐8881
MARIO MADDALENA                660 HOOK ST LOT 47                                                                               CLERMONT            FL   34711‐3535
MARIO MAIORANA                 11120 SOUTHLAWN DR                                                                               STANWOOD            MI   49346‐9738
MARIO MAIORANA                 6441 ARROWHEAD CT                                                                                DAVISBURG           MI   48350‐2964
MARIO MALDONADO                9329 BOWMAN AVE                                                                                  SOUTH GATE          CA   90280‐5021
MARIO MALETTA                  14 ILLINOIS AVE                                                                                  BRISTOL             CT   06010‐2820
MARIO MARALDO                  25999 BALLARD ST                                                                                 HARRISON TWP        MI   48045‐2403
MARIO MARCO ANGELONI           VIA DIEGO ANGELI 173
MARIO MARCO ANGELONI           VIA DIEGO ANGELI, 173            00159 ROMA
MARIO MARINO JR                729 HIGH PLAIN DR                                                                                BEL AIR             MD   21014‐5248
MARIO MARTINEZ                 PO BOX 233                                                                                       CARROLLTON          MI   48724‐0233
MARIO MARTINEZ                 212 39TH ST                                                                                      BAY CITY            MI   48708‐8269
MARIO MARTINEZ                 2608 PEBBLEBROOK ST                                                                              ARLINGTON           TX   76014‐1035
MARIO MARTINEZ                 C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS          OH   44236
MARIO MARVAL                   1695 HUNTINGTON PARK E                                                                           ROCHESTER HILLS     MI   48309
MARIO MATKOVIC                 9358 CHESAPEAKE DR                                                                               N ROYALTON          OH   44133‐1775
MARIO MAZZA                    81 ELMORA AVE                                                                                    ELIZABETH           NJ   07202‐1631
MARIO MAZZUCCO                 VIA LUPARIA 1                                                                                    CASALE MONFERRATO   AL   15033
MARIO MAZZUCCO                 VIA ROMA 42                                                                                      TERRUGGIA           AL   15030
MARIO MC CARTHY                650 MILLER RD                                                                                    YUBA CITY           CA   95993‐8923
MARIO MENDOZA                  1530 SPRINGWELLS ST APT 5                                                                        DETROIT             MI   48209‐1993
MARIO MIRALLES                 9639 BRUNSWICK DR                                                                                BRENTWOOD           TN   37027‐8464
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Name                 Address1                          Address2                      Address3   Address4         City               State Zip
MARIO MIRALLES       4408 PADRE CT                                                                               KELLER              TX 76248‐1821
MARIO MIRANDA        PO BOX 630                                                                                  ALAMEDA             CA 94501‐8630
MARIO MOLINARI       5118 CALLA AVE NW                                                                           WARREN              OH 44483‐1220
MARIO MONTALVO       1924 NEW YORK AVE                                                                           LANSING             MI 48906‐4656
MARIO MONTI          35269 CATHEDRAL DR                                                                          STERLING HTS        MI 48312‐4315
MARIO MONZON         THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                               HOUSTON             TX 77017
MARIO MORALES        719 N BUTTERFIELD RD                                                                        WEST COVINA         CA 91791‐1041
MARIO MORENO         10518 S CALHOUN AVE                                                                         CHICAGO              IL 60617‐6132
MARIO N PICCIRILLO   5660 WEST RIDGE ROAD                                                                        SPENCERPORT         NY 14559‐1025
MARIO N SMIROLDO     82 CHARIT WAY                                                                               ROCHESTER           NY 14626‐1115
MARIO NEVOLA         VIA VITTORIO EMANUELE 21          20090 BUCCINASCO (MI)
MARIO OCASIO         15033 MILL CREEK DR                                                                         STERLING HEIGHTS   MI    48312‐5782
MARIO OLIVER         2609 CEDAR AVE                                                                              CLEVELAND          OH    44115‐2906
MARIO ORLANDO        3562 MCKINLEY RD                                                                            CHINA              MI    48054‐1725
MARIO ORTIZ          314 CAMPO ST                                                                                GRAND PRAIRIE      TX    75051‐4906
MARIO ORTIZ          53 HUMBOLDT ST                                                                              SIMI VALLEY        CA    93065‐5359
MARIO OSEGUEDA       45811 SCOTT ST                                                                              MACOMB             MI    48044‐4523
MARIO OSORIO         9601 FONTAINEBLEAU BLVD APT 205                                                             MIAMI              FL    33172‐6851
MARIO PASQUALOTTO    128 59TH ST                                                                                 NIAGARA FALLS      NY    14304‐3812
MARIO PATTERSON      317 E MAPLE AVE                                                                             ADRIAN             MI    49221‐2247
MARIO PEN
MARIO PEREIRA        350 BENTWAY CIR                                                                             SHREVEPORT         LA    71106‐7673
MARIO PEREZ          46469 KILLARNEY CIR                                                                         CANTON             MI    48188‐3501
MARIO PEREZ          41170 STONE HAVEN RD                                                                        NORTHVILLE         MI    48168‐2387
MARIO PIACENTINI     17 W SARAZEN DR                                                                             MIDDLETOWN         DE    19709‐9357
MARIO PICCOLINO      2427 FISH AVE                                                                               BRONX              NY    10469
MARIO POLICANO       313 W KALAMA AVE                                                                            MADISON HEIGHTS    MI    48071‐3949
MARIO POLIDORO       550 MOUNTAIN AVE                                                                            REVERE             MA    02151‐5736
MARIO PONCE          6201 S 75TH AVE                                                                             SUMMIT             IL    60501‐1715
MARIO PRAINO         1964 SOUTH RD UNIT 101                                                                      POUGHKEEPSIE       NY    12601‐6054
MARIO PULIDO         1716 N LARRABEE ST                                                                          CHICAGO            IL    60614‐5622
MARIO RAIMATO        202 LAFAYETTE ST                                                                            KENNETT SQ         PA    19348‐3214
MARIO RAMIREZ        2003 UPLAND DR                                                                              FRANKLIN           TN    37067‐4090
MARIO RAMIZ          6925 N GULLEY RD                                                                            DEARBORN HTS       MI    48127‐2034
MARIO RAY JR         145 ISLAND LAKE CRES                                                                        OXFORD             MI    48371‐3649
MARIO RIPA           VIALE VADO LIGURE N.13            47848 RICCIONE RN             ITALY
MARIO RODRIGUEZ      13360 SW 91ST TER APT A                                                                     MIAMI              FL    33186‐1677
MARIO RODRIGUEZ      1500 S CLINTON ST                                                                           DEFIANCE           OH    43512‐3216
MARIO ROMO           1359 IVY WAY                                                                                MANTECA            CA    95336‐6256
MARIO ROSOLILLO      56 BYRNESIDE AVE                                                                            WATERBURY          CT    06704‐2922
MARIO ROSSI          VIA ROMA 10
MARIO ROSSI          VIA PADOVA 42                     41100 MODENA                  ITALY
MARIO ROSSI          ITALIA                                                                                      ITALIA              AK   10100
MARIO ROSSI          VICENZA
MARIO ROSSI          VIA DELLE ACACIE                  MILANO
MARIO ROSSI          VIA MILANO 33                                                                               MILANO
MARIO ROSSI          VIA BUFFOLARA 1                                                                             PARMA                    43100
MARIO ROSSI          VIA OSTIENSE 234 ROMA
MARIO ROSSI          VIA VERDI 5                                                                                 PADOVA                   35137
MARIO ROSSI          VIA MILANO                                                                                  MILANO
MARIO ROSSI          VIA GLUCK 15                                                                                MILANO
MARIO ROSSI          VIA TIZIO E CAIO 23                                                                         NAPOLI
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Name                        Address1                         Address2              Address3         Address4            City            State Zip
MARIO ROSSI                 VIA ROMA 13                                                                                 MILANO                20100
MARIO ROSSI                 VIA MAZZINI 152                  40138 BOLOGNA
MARIO ROSSI                 VIA COPERNICO 1                                                                             ROMA                  00118
MARIO ROSSI                 LARGO SOMALIA 12
MARIO ROSSI                 VIA FILZI 50
MARIO ROSSI                 VIA COLOSSEO, 1                                                                             ROME
MARIO ROSSI                 VIA VERDI, 1                                                                                RIMINI           RI   47921
MARIO ROSSI PINCO PALLINO   VICENZA                          VIA ROMA 19           BARBARANO        0444655555
MARIO S BOCCIA              44 CHESHIRE LA                                                                              ROCHESTER       NY    14624‐2959
MARIO SAAVEDRA              57803 GREY FOX GLN                                                                          WASHINGTON      MI    48094‐3587
MARIO SAENZ                 5339 SECOR RD APT 112                                                                       TOLEDO          OH    43623‐2408
MARIO SAENZ                 28526 BRIDGE WATER LN                                                                       MENIFEE         CA    92584‐8977
MARIO SALAZAR               14507 SAYRE ST                                                                              SYLMAR          CA    91342‐5133
MARIO SALINAS               5823 NORTHGATE LN PMB 775                                                                   LAREDO          TX    78041‐2662
MARIO SALINAS
MARIO SALVINO               7012 RAILWAY AVE                                                                            BALTIMORE       MD    21222‐1134
MARIO SALVINO               14151 SEACRIST RD                                                                           SALEM           OH    44460‐9606
MARIO SANABRIA              11132 8TH AVE NW                                                                            GRAND RAPIDS    MI    49534
MARIO SANCHEZ               26 PILLAR LN                                                                                PALM COAST      FL    32164‐7064
MARIO SANCHEZ
MARIO SANCHEZ JR            506 TICKNER ST APT 2                                                                        LINDEN           MI 48451‐9008
MARIO SAURINI               820 BEDFORD ST                                                          WINDSOR ON N9G1H5
                                                                                                    CANADA
MARIO SAVALLE               22845 BORDMAN RD                                                                            BERLIN           MI 48002‐4403
MARIO SCOLLO
MARIO SCUSSEL               691 BARCLAY DR                                                                              TROY             MI 48085‐4801
MARIO SIERRA                6 TRAVERTINE CT                                                                             TOWNSEND         DE 19734‐2012
MARIO SILVA C
MARIO SILVERIO              600 TRAIL LAKE DR                                                                           CROWLEY         TX    76036‐3752
MARIO SINACOLA & SONS       LYNN VANLANDINGHAM               10950 RESEARCH RD                                          FRISCO          TX    75034‐2042
MARIO STOILOFF              7350 SILVER LAKE RD APT 36C                                                                 RENO            NV    89506‐1335
MARIO TADDEI                190 RAINBOW DR # 9089                                                                       LIVINGSTON      TX    77399‐1090
MARIO TATANGELO             2120 PERLIN CT                                                                              GRAND BLANC     MI    48439‐7312
MARIO TAYLOR                3001 E AVENUE K # 114                                                                       GRAND PRAIRIE   TX    75050‐2641
MARIO TEST ROSSI TEST       VIA LE MANI DAL NASO, 32                                                                    MILANO                20100
MARIO TESTA                 28030 KALMIA AVE                                                                            MORENO VALLEY    CA   92555‐5215
MARIO TOMASELLO             3228 S. PRINCETON ST.                                                                       CHICAGO          IL   60616‐3614
MARIO TOVAR                 332 N TOWNLINE RD                                                                           SANDUSKY         MI   48471‐9722
MARIO TOVO                  VIA SACCHI 66                                                                               TORINO                10128
MARIO V BORG                4203 LAPHAM ST                                                                              DEARBORN        MI    48126‐3434
MARIO V MANCINI             70 CUSICK LN                                                                                SHARPSVILLE     PA    16150
MARIO V SANTELLI JR         9417 CALVARY COURT                                                                          RIVER RIDGE     LA    70123
MARIO VALENTA               1417 SURREY POINT CIR SE                                                                    WARREN          OH    44484‐2865
MARIO VARRASI               6216 SE AMES WAY                                                                            HOBE SOUND      FL    33455‐7365
MARIO VELOZ                 1009 DEL RIO CT                                                                             FRANKLIN        TN    37069‐2125
MARIO VENNETTILLI           28977 JAMES DR                                                                              WARREN          MI    48092‐5618
MARIO VITTORIA              1290 EAST MAIN ST                WYNWOOD OAK APT 15                                         SHRUB OAK       NY    10588
MARIO VOYATZIS              1311 DAVERIC DR                                                                             PASADENA        CA    91107‐1645
MARIO WATSON                18615 TERESA DR                                                                             MACOMB          MI    48044‐1682
MARIO WILLIAMS              1651 PASSOLT ST                                                                             SAGINAW         MI    48638‐4791
MARIO WRIGHT                6242 FIELD GLEN RD                                                                          STONE MTN       GA    30087‐4911
MARIO ZACCAGNINI            31035 BRODERICK DR                                                                          CHESTERFIELD    MI    48051‐1801
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Name                         Address1                       Address2              Address3                 Address4              City               State Zip
MARIO ZAMORA                 18533 FILMORE ST                                                                                    LIVONIA             MI 48152‐3020
MARIO ZARAGOZA               14948 EUCLID AVE                                                                                    ALLEN PARK          MI 48101‐2958
MARIO ZARATE                 7941 W HIGH ST                                                                                      FRANKLIN            WI 53132‐9633
MARIO ZENONE                 VIA VALBUSAGA 91                                                                                    BORGOSESIA           IA 13011
MARIO ZEOLLA                 6160 W STATE ROAD 205                                                                               SOUTH WHITLEY       IN 46787‐9130
MARIO ZIRALDO                5020 BUTTERCUP LN                                                                                   GRAND BLANC         MI 48439‐9352
MARIO'S AUTOMOTIVE           6710 AVENUE W                                                                                       HOUSTON             TX 77011‐1248
MARIO'S HI‐TECH AUTOMOTIVE   524 S DIXIE HWY E                                                                                   POMPANO BEACH       FL 33060‐6912
MARIOARA BARBUR              425 SE 11TH TER APT 305                                                                             DANIA BEACH         FL 33004‐4522
MARION JR, WARREN S          130 OAK ST                                                                                          CUMBERLAND          MD 21502
MARION & JEROME PERLSTEIN    65 RUNNYMEDE RD                                                                                     ROCHESTER           NY 14618
MARION A CLARK               SOUTHWEST SECURITIES INC       ATTN KEVIN L MEADER   200 SW MARKET ST SUITE                         PORTLAND            OR 97201‐5720
                                                                                  1900
MARION A HILL                3228 HOOVER AVE                                                                                     DAYTON             OH   45407‐1320
MARION A LEVY                402 CAMPBELL RD                                                                                     SYRACUSE           NY   13211‐1236
MARION A MURRAY              84 PECK ORCHARD RD                                                                                  E HARTLAND         CT   06027
MARION A SHIMMEL             34 GREYSTONE RD                                                                                     CARLISLE           PA   17013
MARION ADAMS                 3710 N. S.R. 39                                                                                     LEBANON            IN   46052
MARION ADDISON               1250 RIDGEMOOR DR                                                                                   WATERFORD          MI   48328‐3969
MARION ADKINS I I I          637 N ADAMS ST                                                                                      KNIGHTSTOWN        IN   46148‐1007
MARION AGNEW                 555 DENNY DR                                                                                        MOORESVILLE        IN   46158‐1554
MARION AGOSTINI              1168 DURHAM RD                                                                                      WALLINGFORD        CT   06492‐2527
MARION ALBAN                 17 KRUEGER PL                                                                                       NORTH MIDDLETOWN   NJ   07748‐5728
MARION ALLEN                 220 MAPLE ST                                                                                        HOUGHTON LAKE      MI   48629‐9764
MARION ANDERSON              184 WANA CIR SE                                                                                     MABLETON           GA   30126‐1939
MARION ANDERSON              7776 SW 5TH AVE                                                                                     PORTLAND           OR   97219‐4629
MARION ANDERSON              812 24TH STREET CT E                                                                                BRADENTON          FL   34208‐3017
MARION ANDREWS               2335 E SUFFOCK AVE                                                                                  KINGMAN            AZ   86409‐1203
MARION ARMSTRONG             6 PARKVIEW DR                                                                                       PLANTSVILLE        CT   06479‐1918
MARION AUTOMOTIVE GROUP      1025 N MAIN ST                                                                                      MARION             VA   24354‐4119
MARION AUTOMOTIVE GROUP      EDWARD MATHESIUS               1025 N MAIN ST                                                       MARION             VA   24354‐4119
MARION BAKER                 304 S 8TH ST                                                                                        FRANKTON           IN   46044
MARION BALES                 16 W CHURCH ST                                                                                      PARK HILLS         MO   63601‐4527
MARION BALL                  409 BRINKER ST                                                                                      BELLEVUE           OH   44811‐1508
MARION BALWINSKI             THE COLONNADES                 ROOM 230                                                             BAY CITY           MI   48706
MARION BANNEN                209 YORK VIEW CT NW                                                                                 COMSTOCK PARK      MI   49321‐8926
MARION BARNES                17880 3RD ST                                                                                        ATLANTA            MI   49709‐9516
MARION BARNES                4512 ROSS AVE                                                                                       FRANKLIN           OH   45005‐4893
MARION BARR                  322 PUTMAN WELL RD                                                                                  ROCKVALE           TN   37153‐8519
MARION BAUMAN                534 E BAKER AVE                                                                                     CLAWSON            MI   48017‐1670
MARION BEARD                 714 LOOKOUT DR                                                                                      COLUMBIA           TN   38401‐6140
MARION BECK                  0950321N                                                                                            WEST UNITY         OH   43570
MARION BECKER                DROSTE‐HUELSHOFF‐STRASSE 10                                                   HAMBURG 22609
MARION BECKER                DROSTE‐H▄LSHOFF‐STR. 10                                                                             HAMBURG                 22609
MARION BEESE                 5010 COLUMBUS AVE                                                                                   SANDUSKY           OH   44870‐5816
MARION BELICA                617 JORDAN AVE                                                                                      ROMEOVILLE         IL   60446‐1218
MARION BELL                  102 N CAROLINE AVE                                                                                  ELMHURST           IL   60126‐2904
MARION BEMIS                 889 WINDSTAR BLVD                                                                                   FRANKLIN           IN   46131‐7103
MARION BENNETT               4445 CENTERHILL RD, SW                                                                              LOGANVILLE         GA   30052
MARION BENNETT               962 STACY PL                                                                                        RAHWAY             NJ   07065‐2144
MARION BERRY                 1933 E BUENA VISTA DR                                                                               CHANDLER           AZ   85249‐4321
MARION BILLISKI              146 MACARTHUR BLVD                                                                                  BOURNE             MA   02532‐3902
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Name                        Address1                         Address2                    Address3                     Address4                City              State Zip
MARION BIRD                 7499 SE EAGLE AVE                                                                                                 HOBE SOUND         FL 33455‐4505
MARION BIRON                5717 TIPPERARY TRL                                                                                                WATERFORD          MI 48329‐1680
MARION BIRT                 4848 WOLF CREEK PIKE                                                                                              DAYTON             OH 45427‐3338
MARION BISCOVICH            1407 SKIPPER DR APT 303                                                                                           WATERFORD          MI 48327‐2493
MARION BLAIR                26620 BURG APT 119 BLDG C                                                                                         WARREN             MI 48089
MARION BLICHARZ             133 W FRANKLIN ST                                                                                                 BOUND BROOK        NJ 08805‐1941
MARION BLUMENSCHEIN         6603 SCENIC POINT DR SE                                                                                           WINTER HAVEN       FL 33884‐2743
MARION BOHANNON             1911 N SALEM RD                                                                                                   COOKEVILLE         TN 38506‐4344
MARION BOIK                 31603 W CHICAGO ST                                                                                                LIVONIA            MI 48150‐2828
MARION BOLING               3225 BROWN THRASHER TRCE                                                                                          CUMMING            GA 30041‐9780
MARION BONE                 5434 SOUTH M106                                                                                                   STOCKBRIDGE        MI 49285
MARION BOUGHNER             1075 SHARON CIR                                                                                                   LAS CRUCES         NM 88001‐5404
MARION BOWE                 422 BIDDLE ST                                                                                                     CHESAPEAKE CITY    MD 21915‐1037
MARION BOWLING              156 MAY LN                                                                                                        ARNOLD             MO 63010‐3814
MARION BOYLES               9354 MONICA DR                                                                                                    DAVISON            MI 48423‐2865
MARION BRAGG FUND ACCOUNT   BEVERIDGE & DIAMOND‐J HANSON     1350 I ST NW STE 700                                                             WASHINGTON         DC 20005‐7202
MARION BRAGG FUND ACCOUNT   K C RICKETTS BEVERIDGE ET AL     1350 I ST NW STE 700                                                             WASHINGTON         DC 20005‐7202
MARION BRAGG GROUP          C/O JOHN HANSON                  BEVERIDGE & DIAMOND, P.C.   1350 I STREET, N.W., SUITE                           WASHINGTON         DC 20005
                                                                                         700
MARION BRAND                1311 BIRCH AVE                                                                                                    OCEAN             NJ 07712‐4514
MARION BRANDLE              6110 WESTERN DR UNIT 26                                                                                           SAGINAW           MI 48638‐5959
MARION BREITHAUPT‐ENDRES    DORA‐HEIGENMOOSER‐STR. 1                                                                  82140 OLCHING GERMANY
MARION BREWER               3693 COLONIAL DR                                                                                                  HILLIARD          OH   43026‐1369
MARION BRICKMAN             5570 SAVOY DR                                                                                                     WATERFORD         MI   48327‐2771
MARION BRIGNOLI             N8596 COUNTY ROAD B                                                                                               GLEASON           WI   54435‐9016
MARION BROOKS               PO BOX 872                                                                                                        NORCROSS          GA   30091‐0872
MARION BROOKS               430 ROGERS ST                                                                                                     ATHENS            AL   35611‐2139
MARION BROOKS               1018 SILVER CT                                                                                                    ANDERSON          IN   46012‐2549
MARION BROWN                13 S INDEPENDENCE BLVD                                                                                            NEW CASTLE        DE   19720‐4458
MARION BROWN                3636 BLUEGRASS DR                                                                                                 GRAND PRAIRIE     TX   75052‐6809
MARION BRUNER               11094 N BELSAY RD                                                                                                 CLIO              MI   48420‐9709
MARION BUBP                 816 E NORTH ST                                                                                                    PORTLAND          IN   47371‐1606
MARION BUCHANAN             519 E SILVER ST                                                                                                   KNIGHTSTOWN       IN   46148‐1060
MARION BUELL JR             367 LANCELOT LN                                                                                                   LEXINGTON         KY   40517‐1452
MARION BUHL                 3320 REMINGTON CT                                                                                                 NORMAN            OK   73072‐2924
MARION BURDETTE             204 SOUTHLAKE RD                                                                                                  SARATOGA          AR   71859‐9026
MARION BURDICK              430 PROSPECT ST                                                                                                   LOCKPORT          NY   14094‐2157
MARION BURRIS               2315 GILBERT CIR                                                                                                  ARLINGTON         TX   76010‐2210
MARION BUSH JR              2108 N BETHLEHEM RD                                                                                               MARION            IN   46952‐8793
MARION BYERS                PO BOX 921833                                                                                                     NORCROSS          GA   30010‐1833
MARION BYRD                 622 RIDGE RD                                                                                                      LEBANON           OH   45036‐1637
MARION C GREEN              1592 FM 1566 W # WEST                                                                                             CELESTE           TX   75423‐4208
MARION C TIMMONS            C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                                        HOUSTON           TX   77007
                            BOUNDAS LLP
MARION C WILSON             WEITZ & LUXENBERG PC             700 BROADWAY                                                                     NEW YORK CITY     NY   10003
MARION CALHOUN              PO BOX 266                                                                                                        BRANCHLAND        WV   25506‐0266
MARION CAMP                 1406 TIPPERARY CT                                                                                                 MONROE            GA   30656‐4537
MARION CAMPAGNA             8 FENCE ST                                                                                                        ROCHESTER         NY   14611‐1106
MARION CANTY                62‐64 BEVERLY ST                                                                                                  NEWARK            NJ   07108‐1029
MARION CARAWAY              4487 MARLBOROUGH DR                                                                                               FLINT             MI   48506‐1021
MARION CAREY                10133 LAPEER RD                  APT 321                                                                          DAVISON           MI   48423‐8198
MARION CARPENTER            7220 GLEN TERRA DR                                                                                                LANSING           MI   48917‐7819
                                      09-50026-mg                 Doc 7123-26      Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
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Name                                 Address1                             Address2                       Address3                    Address4         City             State Zip
MARION CARTER                        9209 LAKERIDGE DR                                                                                                LOUISVILLE        KY 40272‐2413
MARION CARTER SR.                    9976 N BINGHAM AVE                                                                                               BITELY            MI 49309‐9605
MARION CARYL                         327 NORTH DR                                                                                                     DAVISON           MI 48423‐1628
MARION CELUSNIAK                     4201 LYNN TER                                                                                                    FORT WORTH        TX 76180‐7327
MARION CHAMPIGNY                     63 FAIRVIEW RD                                                                                                   STURBRIDGE        MA 01566
MARION CHANEY                        2958 HELBER ST                                                                                                   FLINT             MI 48504‐3008
MARION CHEVROLET‐PONTIAC‐BUICK‐      EDWARD MATHESIUS                     1025 N MAIN ST                                                              MARION            VA 24354‐4119
GMC, INC.
MARION CHIANCA                       5 ESPLANADE WAY                                                                                                  BAYVILLE         NJ    08721
MARION CHLOPEK                       1932 MAYFAIR AVE                                                                                                 WESTCHESTER      IL    60154‐4220
MARION CLAMP                         1471 EAST LN                                                                                                     IMPERIAL BEACH   CA    91932
MARION CLARK                         1844 RAEIGN AVE                      APT 3                                                                       LAPEER           MI    48446
MARION CLARKE                        175 OLD PALMETTO RD                                                                                              BENTON           LA    71006‐8674
MARION CLEMONS JR                    202 BASTROP DR                                                                                                   MONROE           LA    71203‐2352
MARION CLUTE                         199 COTTAGE ST                                                                                                   LOCKPORT         NY    14094‐4901
MARION CNTY CLERK CHILD SUPP         ACCT OF ROBERT E SILVEY II           200 E WASHINGTON ST STE W123   CUASE# 49D‐0288‐08‐DR1076                    INDIANAPOLIS     IN    46204‐3335

MARION CNTY CLERK CS DIVISION        ACCT OF CARL D SNOWDEN               W121 CITY COUNTY BUILDING                                                   INDIANAPOLIS      IN   46204
MARION CNTY SM CLAIMS‐DECATUR        ACCT OF CARL LODDER                  3750 FOLTZ ST                                                               INDIANAPOLIS      IN   46221‐2402
MARION CNTY SM CLAIMS‐LAWRENCE       ACCT OF RONNIE HARPER                4981 N FRANKLIN RD                                                          LAWRENCE          IN   46226‐2047
MARION CNTY SM CLAIMS‐PIKE DIV       ACCT OF BILLY ROSE                   5450 LAFAYETTE RD                                                           INDIANAPOLIS      IN   46254
MARION CNTY SM CLM CRT‐WARREN        ACCT OF RICHARD A RHYANT             CAUSE#                         501 N POST RD                                INDIANAPOLIS      IN   46219
MARION CNTY SM CLM CT‐WARREN         ACCT OF CURTIS MC CLENDON            CAUSE# 49K06 9502 SC 1467      501 N POST RD                                INDIANAPOLIS      IN   46219
MARION CNTY SM CLMS CT‐WARREN        ACCT OF WILLIAM J PRIDE              CAUSE #49K06SC91 10101         501 N POST RD                                INDIANAPOLIS      IN   46219
MARION CNTY SM CLMS CT‐WAYNE         ACCT OF JOHN MONTGOMERY              CAUSE#                         5401 W WASHINGTON ST                         INDIANAPOLIS      IN   46241
MARION CNTY SM CLMS DECATUR          ACCT OF CAROLYN BROWN                3750 FOLTZ ST                  CAUSE# 49K02 9406 SC 4327                    INDIANAPOLIS      IN   46221‐2402
MARION CNTY SMALL CLAIMS COURT       ACCT OF ENID K BENNETTE              501 N POST RD WARREN TWP DIV                                                INDIANAPOLIS      IN   30658
MARION CNTY SMALL CLAIMS COURT       ACCT OF BUTCH CAMERON                CAUSE NO                       501 N POST RD                                INDIANAPOLIS      IN   46219
MARION CNTY SMALL CLAIMS COURT       ACCT OF RALPH E CORNELL              4925 SHELBY ST STE 100                                                      INDIANAPOLIS      IN   46227‐4221
MARION CNTY SUPERIOR CRT ACCT OF E   200 E WASHINGTON ST 2 RM 443                                                                                     INDIANAPOLIS      IN   46204
JENKINS
MARION COLEMAN                       4190 BURNS ST                                                                                                    DETROIT          MI    48214‐1270
MARION COLLINS                       1558 W HAZELHURST ST                                                                                             FERNDALE         MI    48220‐1644
MARION COLSON‐PERSON                 PO BOX 356                                                                                                       ROBBINS          NC    27325‐0356
MARION COMPTON                       1090 REDDINGTON TIMBERS DR                                                                                       SAINT CHARLES    MO    63304‐5061
MARION CONSTANTINESCU                PO BOX 173                                                                                                       BALDWIN CITY     KS    66006‐0173
MARION CONTE                         731 ROEBLING AVE                                                                                                 TRENTON          NJ    08611‐1021
MARION COOK                          PO BOX 934                                                                                                       JACKSON          GA    30233‐0020
MARION COOPER                        231 LAFAYETTE AVE APT 1                                                                                          BUFFALO          NY    14213‐1585
MARION COTTON                        PO BOX 582                                                                                                       LAWRENCEBURG     TN    38464‐0582
MARION COUNTY                        100 S MAIN STREET                                                                                                PALMYRA          MO    63461
MARION COUNTY CHILD SUPPORT          ACCOUNT OF MICHAEL B TOIVONEN        200 E WASHINGTON ST STE W122   CAUSE#49C01‐8806‐DR‐1970                     INDIANAPOLIS     IN    46204‐3335

MARION COUNTY CLERK                  ACCOUNT OF JEFFREY K KLEINER         CAUSE #49D05‐8902‐DR‐0161      CITY‐COUNTY BLDG                             INDIANAPOLIS      IN   46204
MARION COUNTY CLERK                  ACCT OF WILLIAM C COLEMAN            49D05‐9007‐DR1117              CITY‐COUNTY BLDG W‐121                       INDIANAPOLIS      IN   31338
MARION COUNTY CLERK                  ACCOUNT OF TIMOTHY W HIGGINS         CAUSE #CPT83‐5427              CITY COUNTY BLDG                             INDIANAPOLIS      IN   46204
MARION COUNTY CLERK                  ACCOUNT OF KENNETH L HOWARD          200 E WASHINGTON ST STE W123   CAUSE #49C01‐8912‐JP‐3310                    INDIANAPOLIS      IN   46204‐3335

MARION COUNTY CLERK                  ACCOUNT OF YAWAR S SIDDIQUI          CAUSE #49D03‐8909‐DR1244       W‐121 CITY‐COUNTY BLDG                       INDIANAPOLIS      IN   30664
MARION COUNTY CLERK                  ACCT OF EUGENE JENKINS               W131 CITY COUNTY BLDG          CAUSE #PT84‐6328                             INDIANAPOLIS      IN   46204‐3355
MARION COUNTY CLERK                  ACCT OF ORY L PENNY SR               W‐121 CITY‐COUNTY BLDG                                                      INDIANAPOLIS      IN   27954
MARION COUNTY CLERK                  ACCT OF MICHAEL B POCIASK            CSE#                           W‐121 CITY‐COUNTY BLDG                       INDIANAPOLIS      IN   31352
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Name                             Address1                            Address2                       Address3                     Address4         City           State Zip
MARION COUNTY CLERK              ACCT OF LUTHER E. DAVIS             CAUSE #49D06 9112 DR 2305      200 E WASHINGTON ST                           INDIANAPOLIS    IN 46204
MARION COUNTY CLERK              ACCT OF DONALD R ROYER              200 E WASHINGTON ST STE 442                                                  INDIANAPOLIS    IN 46204‐3312
MARION COUNTY CLERK              ACCT OF RONALD POWELL               200 E WASHINGTON ST STE W123   CAUSE #                                       INDIANAPOLIS    IN 46204‐3335
MARION COUNTY CLERK              ACCT OF JAMES MORKEN                200 E WASHINGTON ST STE W123   CAUSE #40D07‐8811‐DR‐1623                     INDIANAPOLIS    IN 46204‐3335

MARION COUNTY CLERK              ACCT OF JAKE WELLS JR               200 E WASHINGTON ST STE W123                                                 INDIANAPOLIS    IN   46204‐3335
MARION COUNTY CLERK              ACCT OF PAUL STOCKTON               CAUSE# S380‐446                W121 CITY COUNTY BUILDING                     INDIANAPOLIS    IN   46204

MARION COUNTY CLERK              ACCT OF BILLY ROSE                  200 E WASHINGTON ST STE W123                                                 INDIANAPOLIS    IN   46204‐3335
MARION COUNTY CLERK              ACCT OF CARROLL KOCH                200 E WASHINGTON ST STE W122                                                 INDIANAPOLIS    IN   46204‐3335
MARION COUNTY CLERK              ACCT OF JOHN E MONTGOMERY           200 E WASHINGTON ST STE W122   CAUSE # 49D03‐9204‐DR‐641                     INDIANAPOLIS    IN   46204‐3335

MARION COUNTY CLERK              ACCT OF JOHNNY WISE JR              CAUSE # 49D06‐9009‐DR‐1307     W 121 CITY‐COUNTY BUILDING                    INDIANAPOLIS    IN   46204

MARION COUNTY CLERK              ACCT OF ANTHONY L KITCHINGS         200 E WASHINGTON ST STE W123   CAUSE# 49C01‐9112‐JP‐2695                     INDIANAPOLIS    IN   46204‐3335

MARION COUNTY CLERK              ACCT OF GREGORY K BELL              200 E WASHINGTON ST STE W123   CAUSE# 49D‐0491‐03‐DR0498                     INDIANAPOLIS    IN   46204‐3335

MARION COUNTY CLERK              ACCT OF DENNIS E SUMPTER            200 E WASHINGTON ST STE W123                                                 INDIANAPOLIS    IN   46204‐3335
MARION COUNTY CLERK              ACCT OF JAKE L WELLS                RM W‐140 CITY COUNTY BLDG                                                    INDIANAPOLIS    IN   46204
MARION COUNTY CLERK              200 E WASHINGTON ST STE W123                                                                                     INDIANAPOLIS    IN   46204‐3335
MARION COUNTY CLERK              RM 123 CITY COUNTY BLDG                                                                                          INDIANAPOLIS    IN   46204
MARION COUNTY CLERK C.S.D.       ACCT OF DAVID M SUCH                CAUSE #S590‐0331               CITY‐COUNTY BLDG ROOM W‐                      INDIANAPOLIS    IN   46204
                                                                                                    123
MARION COUNTY CLERK C.S.D.       ACCT OF BURNELL K GRIMES            200 E WASHINGTON ST STE W123   CAUSE #PT‐87‐6750/30‐87‐                      INDIANAPOLIS    IN   46204‐3335
                                                                                                    67504
MARION COUNTY CLERK CHILD SUPP   ACCT OF GREGORY K BELL              200 E WASHINGTON ST STE W123   CAUSE# 49D‐0491‐03‐DR0498                     INDIANAPOLIS    IN   46204‐3335

MARION COUNTY CLERK CHLD SUP D   ACCOUNT OF MARTIN ALLAN TABBEY      200 E WASHINGTON ST STE W123   CAUSE #49C01‐9005‐JP‐1379                     INDIANAPOLIS    IN   46204‐3335

MARION COUNTY CLERK CSD          ACCT OF ROBERT LEWIS                200 E WASHINGTON ST STE W123   CAUSE# S187‐0082                              INDIANAPOLIS   IN    46204‐3335
MARION COUNTY CLERK CSEA         ACCT OF ROBERT L EWING              200 E WASHINGTON ST STE W123                                                 INDIANAPOLIS   IN    46204‐3335
MARION COUNTY CLERK CSF          ACCT OF CHARLES D OLDHAM            200 E WASHINGTON ST STE W123                                                 INDIANAPOLIS   IN    46204‐3335
MARION COUNTY CLERK FSC          ACCT OF MARVIN WAYNE EDMONDS        200 E WASHINGTON ST STE W123                                                 INDIANAPOLIS   IN    46204‐3335
MARION COUNTY CLERK OFFICE       200 E WASHINGTON ST STE W122                                                                                     INDIANAPOLIS   IN    46204‐3335
MARION COUNTY CLERK‐CSD          ACCT OF LARRY J REYNOLDS            200 E WASHINGTON ST STE W123                                                 INDIANAPOLIS   IN    46204‐3335
MARION COUNTY COLLECTOR          250 BROAD ST STE 3                                                                                               COLUMBIA       MS    39429‐2905
MARION COUNTY COLLECTOR          PO BOX 590                                                                                                       YELLVILLE      AR    72687‐0590
MARION COUNTY COMMISSIONERS      ROOM 801, CITY‐COUNTY BUILDING      200 EAST WASHINGTON STREET                                                   INDIANAPOLIS   IN    46204
MARION COUNTY COURT CLERK        RM 123 CITY COUNTY BLDG                                                                                          INDIANAPOLIS   IN    46204
MARION COUNTY FLEET MANAGEMENT                                       3330 SE MARICAMP RD                                                                         FL    34471

MARION COUNTY FRIEND OF COURT    ACCT OF ASIE BYRD                   5665 LAFAYETTE RD STE B                                                      INDIANAPOLIS    IN   46254‐6164
MARION COUNTY INDIANA
MARION COUNTY INDIANA            ATTN: CORPORATE OFFICER/AUTHORIZED 200 E WASHINGTON ST STE 241     200 E.WASHINGTON ST.                          INDIANAPOLIS    IN   46204‐3310
                                 AGENT
MARION COUNTY INDIANA            ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 6145                 MARION COUNTY TREASURER                       INDIANAPOLIS    IN   46206‐6145

MARION COUNTY INDIANA            PO BOX 6145                         MARION COUNTY TREASURER                                                      INDIANAPOLIS    IN   46206‐6145
MARION COUNTY S F DEPT           40 S ALABAMA ST                                                                                                  INDIANAPOLIS    IN   46204‐3635
MARION COUNTY SHERIFF            ACCT OF KEITH A WIMBERLY            ROOM 822 CITY CTY BLDG                                                       INDIANAPOLIS    IN   46204
MARION COUNTY SHERIFF            223 N. SPALDING                                                                                                  LEBANON         KY   40033
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Name                                Address1                        Address2                         Address3                     Address4         City           State Zip
MARION COUNTY SHERIFFS DEPARTMENT                                   690 NW 30TH AVE                                                                                FL 34475

MARION COUNTY SM CLM CT‐PIKE        ACCT OF WILLIAM C COLEMAN       5665 LAFAYETTE RD STE B        CAUSE# 49K05 9501 SC 0327                       INDIANAPOLIS    IN   46254‐6164
MARION COUNTY SM CLM CT‐WAYNE       ACCT OF JEFF MULLEN             CAUSE#                         5401 W WASHINGTON ST                            INDIANAPOLIS    IN   46241
MARION COUNTY SMALL CLAIMS CRT      ACCT OF WILLIAM L'HUILLIER      501 NORTH POST RD (WARREN DIV)                                                 INDIANAPOLIS    IN   30484

MARION COUNTY SMALL CLAIMS CRT      ACCT OF IVAN P LYONS            501 NORTH POST RD‐WARREN DIV                                                   INDIANAPOLIS    IN   31340

MARION COUNTY SMALL CLAIMS CRT      ACCT OF HEDDIE M KENNEDY        5665 LAFAYETTE RD STE B                                                        INDIANAPOLIS    IN   46254‐6164
MARION COUNTY SMALL CLAIMS CRT      ACCT OF CAROLYN BROWN           501 NORTH POST ROAD                                                            INDIANAPOLIS    IN   46219
MARION COUNTY SMALL CLAIMS CRT      ACCT OF KENNETH HAMM            5401 WEST WASHINGTON ST                                                        INDIANAPOLIS    IN   46241
MARION COUNTY SMALL CLAIMS CRT      ACCT OF DERICK FRANKLIN         501 NORTH POST RD (WARREN DIV)                                                 INDIANAPOLIS    IN   31464

MARION COUNTY SMALL CLAIMS CRT      ACCT OF RAYMOND HARRELL         2184 E 54TH ST                                                                 INDIANAPOLIS   IN    46220‐3434
MARION COUNTY SMALL CLAIMS CT       ACCT OF ELLISE DIXON‐RUSSELL    5401 WEST WASHINGTON STREET                                                    INDIANAPOLIS   IN    46241
MARION COUNTY SML CLMS PIKE         ACCT OF INA C CORBIN            5665 LAFAYETTE RD STE B          CAUSE# 49K05 9402 SC 1288                     INDIANAPOLIS   IN    46254‐6164
MARION COUNTY TAX ASSESSOR          PO BOX 907                                                                                                     JEFFERSON      TX    75657‐0907
MARION COUNTY TAX COLLECTOR         SUSIE POST                      PO BOX 489                                                                     HAMILTON       AL    35570‐0489
MARION COUNTY TAX COLLECTOR         PO BOX 489                                                                                                     HAMILTON       AL    35570‐0489
MARION COUNTY TAX COLLECTOR         PO BOX 970                                                                                                     OCALA          FL    34478‐0970
MARION COUNTY TREASURER             PO BOX 275                                                                                                     MARION         SC    29571‐0275
MARION COUNTY TREASURER             PO BOX 257                                                                                                     MARION         KS    66861‐0257
MARION COUNTY TREASURER             222 W CENTER ST                                                                                                MARION         OH    43302‐3646
MARION COUNTY TREASURER             PO BOX 6145                                                                                                    INDIANAPOLIS   IN    46206‐6145
MARION COUNTY TREASURER             1001 CITY‐COUNTY BUILDING       200 E WASHINGTON ST                                                            INDIANAPOLIS   IN    46204
MARION COUNTY TREASURER             200 E WASHINGTON ST STE 1001                                                                                   INDIANAPOLIS   IN    46204
MARION COUNTY TRUSTEE               PO BOX 789                                                                                                     JASPER         TN    37347‐0789
MARION COURTNEY                     4852 W LAKE MONTCALM RD                                                                                        SIX LAKES      MI    48885‐9506
MARION COX                          531 N SPRING ST                                                                                                GREENFIELD     IN    46140‐1632
MARION CRAWFORD                     1239 HOUSTON SMITH RD                                                                                          IRON CITY      TN    38463‐6111
MARION CREECH                       626 N BRADNER AVE                                                                                              MARION         IN    46952‐2447
MARION CRISP                        143 RANDOLPH RD                                                                                                CROSSVILLE     TN    38571‐3958
MARION CROSS                        5511 HANLEY                                                                                                    WATERFORD      MI    48327‐2564
MARION CROWELL                      9 HUELSTEDE LN                                                                                                 WALLINGFORD    CT    06492‐2666
MARION CROWLEY                      88 ALMA ST                                                                                                     SPARTA         MI    49345‐1106
MARION CTY CHILD SUPPORT DIV        ACCT OF GREGORY DAULTON         25 W GEORGIA ST                                                                INDIANAPOLIS   IN    46225‐1001
MARION CTY CLAIMS PIKE TWN DIV      ACCT OF JOHN R ZURCHER          5665 LAFAYETTE RD STE B                                                        INDIANAPOLIS   IN    46254‐6164
MARION CTY CLAIMS PIKE TWN DIV      ACCT OF YAWAR SIDDIQUI          5665 LAFAYETTE RD STE B                                                        INDIANAPOLIS   IN    46254‐6164
MARION CTY CLAIMS PIKE TWN DIV      ACCT OF ASIE W BYRD             5665 LAFAYETTE RD STE B                                                        INDIANAPOLIS   IN    46254‐6164
MARION CTY CLAIMS PIKE TWN DIV      ACCT OF JAMES BATES             5665 LAFAYETTE RD STE B                                                        INDIANAPOLIS   IN    46254‐6164
MARION CTY CLAIMS PIKE TWN DIV      ACCT OF MARTIN A CHITTUM        5665 LAFAYETTE RD STE B                                                        INDIANAPOLIS   IN    46254‐6164
MARION CTY CLERK                    CHILD SUPPORT                   200 E WASHINGTON ST STE W123                                                   INDIANAPOLIS   IN    46204‐3335
MARION CTY CLERK                    200 E. WASHINGTON ST W140                                                                                      INDIANAPOLIS   IN    46204
MARION CTY CLERK CLD SUP DIV        FOR ACCT OF KEVIN TERRELL       CAUSE #49D04‐9302‐DR‐0266        200 E WASH ST W‐121 CTY CT                    INDIANAPOLIS   IN    31170
                                                                                                     BLD
MARION CTY CLERK GARNISHMENT        200 EAST WASHINGTON STREET      GARNISHMENT DIV ROOM W140                                                      INDIANAPOLIS    IN   46204
MARION CTY CLRK CHLD SUP DIV        FOR ACCT OF JOHNNY WISE JR      200 E WASHINGTON ST STE W123     CAUSE#49C01‐9210‐JP‐2452                      INDIANAPOLIS    IN   46204‐3335
MARION CTY COURT FRANKLIN TWP       4531 INDEPENDENCE SQUARE                                                                                       INDIANAPOLIS    IN   46203
MARION CTY COURT‐DECATUR DIV        ACCT OF MARK P GEIST            3750 FOLTZ ST                                                                  INDIANAPOLIS    IN   46221‐2402
MARION CTY COURT‐DECATUR DIV        ACCT OF WILLIAM J L'HUILLIER    3750 FOLTZ ST                                                                  INDIANAPOLIS    IN   46221‐2402
MARION CTY MUNICIPAL COURT          ACCT OF JOYCE WILLIAMS          CAUSE #49F07‐9002‐CP‐0241        200 E WASHINGTON ST                           INDIANAPOLIS    IN   46204
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Name                                   Address1                          Address2                     Address3                    Address4         City               State Zip
MARION CTY SM CLM CT‐LAWRENCE          ACCT OF ROY B DYSON               4981 N FRANKLIN RD           CAUSE# 49K03‐9203‐SC‐1724                    LAWRENCE            IN 46226‐2047

MARION CTY SM CLM CT‐PIKE         ACCT OF KAREN GARRETT                  CAUSE# 49K05 9208 SC 7404    5450 LAFAYETTE RD                            INDIANAPOLIS        IN   46254
MARION CTY SM CLMS CT             ACCT OF ANNETTE VENABLE                3750 FOLTZ ST                CAUSE #49K02 9305 SC 4049                    INDIANAPOLIS        IN   46221‐2402
MARION CTY SM CLMS CT DECATUR     ACCT OF LARRY M SHINE                  3750 FOLTZ ST                                                             INDIANAPOLIS        IN   46221‐2402
MARION CTY SM CLMS CT DECATUR     ACCT OF ROBERT E SILVEY                3750 FOLTZ ST                                                             INDIANAPOLIS        IN   46221‐2402
MARION CTY SM CLMS CT DECATUR     ACCT OF JAKE L WELLS                   3750 FOLTZ ST                                                             INDIANAPOLIS        IN   46221‐2402
MARION CTY SM CLMS CT LAWRENCE    ACCT OF JAKE L WELLS                   4981 N FRANKLIN RD                                                        LAWRENCE            IN   46226‐2047
MARION CTY SM CLMS CT PERRY       ACCT OF JAKE WELLS JR                  4925 SHELBY ST STE 100                                                    INDIANAPOLIS        IN   46227‐4221
MARION CTY SM CLMS CT PIKE        ACCT OF FREDERICK W SCHLOTTMAN         CAUSE #49K05 9310 SC 8445    5450 LAFAYETTE ROAD                          INDIANAPOLIS        IN   46254
MARION CTY SM CLMS CT PIKE        ACCT OF RICHARD E SALSMAN              5450 LAFAYETTE ROAD                                                       INDIANAPOLIS        IN   46254
MARION CTY SM CLMS CT PIKE        ACCT OF ROBERT F BREWER                5665 LAFAYETTE RD STE B                                                   INDIANAPOLIS        IN   46254‐6164
MARION CTY SM CLMS CT PIKE TWP    ACCT OF CHARLES E WALKER               5450 LAFAYETTE ROAD                                                       INDIANAPOLIS        IN   46254
MARION CTY SM CLMS CT PIKE TWP    ACCT OF JEFFREY M MULLEN               5665 LAFAYETTE RD STE B                                                   INDIANAPOLIS        IN   46254‐6164
MARION CTY SM CLMS CT PIKE TWP    ACCT OF JAMES E ANDERSON               5665 LAFAYETTE RD STE B                                                   INDIANAPOLIS        IN   46254‐6164
MARION CTY SM CLMS CT WARREN      ACCOUNT OF KEITH WIMBERLY              501 N POST ROAD                                                           INDIANAPOLIS        IN   46219
MARION CTY SM CLMS CT WARREN      ACCT OF JAKE L WELLS                   501 N POST ROAD                                                           INDIANAPOLIS        IN   46219
MARION CTY SM CLMS CT WARREN      ACCT OF JAKE L WELLS                   501 NORTH POST ROAD                                                       INDIANAPOLIS        IN   46219
MARION CTY SM CLMS CT WARREN      ACCT OF DWIGHT L CARTER                501 NORTH POST ROAD                                                       INDIANAPOLIS        IN   46219
MARION CTY SM CLMS CT WARREN      ACCT OF EDMOND M DAVIS                 501 N POST ROAD                                                           INDIANAPOLIS        IN   46219
MARION CTY SM CLMS CT WAYNE       ACCT OF ALDWIN STEVENSON               CAUSE #                      5401 W WASHINGTON ST                         INDIANAPOLIS        IN   46241
MARION CTY SM CLMS CT‐WAYNE       ACCT OF JOYCE WILLIAMS                 CAUSE#                       5401 W WASHINGTON ST                         INDIANAPOLIS        IN   46241
MARION CTY SM CLMS LAWRENCE TW    ACT YOLANDA ARMOR                      4981 N FRANKLIN RD                                                        INDIANAPOLIS        IN   46226‐2047
MARION CTY SM CLMS WASHINGTON TWP 2184 E 54TH ST                                                                                                   INDIANAPOLIS        IN   46220‐3434

MARION CTY SMALL CLAIMS COURT          ACCT OF DERICK R FRANKLIN         4925 SHELBY ST STE 100                                                    INDIANAPOLIS       IN    46227‐4221
MARION CTY SMALL CLAIMS CRT            ACCT OF ANGELA E HENRY            5665 LAFAYETTE RD STE B                                                   INDIANAPOLIS       IN    46254‐6164
MARION CTY SMALL CLAIMS CRT            ACCT OF DERICK FRANKLIN           5565 LAFAYETTE ROAD, STE B                                                INDIANAPOLIS       IN    46254
MARION CTY SMALL CLAIMS CRT            ACCT OF DERICK R FRANKLIN         501 NORTH POST ROAD                                                       INDIANAPOLIS       IN    46219
MARION CTY SMALL CLAIMS CT             ACCT OF DOROTHY THOMPSON          3750 FOLTZ ST                CAUSE #49K02‐9301‐SC780                      INDIANAPOLIS       IN    46221‐2402
MARION CTY SMALL CLMS CT PERRY         ACCOUNT OF BILLY L ROSE           4925 SHELBY ST STE 100       CAUSE#93‐1531                                INDIANAPOLIS       IN    46227‐4221
MARION CTY SMALL CLMS CT PERRY         FOR ACCT OF JOYCE WILLIAMS        4925 SHELBY ST STE 100                                                    INDIANAPOLIS       IN    46227‐4221
MARION CTY SMALL CLMS CT PIKE          ACCT OF MICHAEL WINDISCH          CAUSE #49K05 9307 SC 6113    5450 LAFAYETTE ROAD                          INDIANAPOLIS       IN    46254
MARION CTY SMALL CLMS CT‐PIKE          ACCOUNT OF RICHARD A RHYANT       CAUSE #49K05 9304 SC 2785    5450 LAFAYETTE ROAD                          INDIANAPOLIS       IN    46254
MARION CTY SMALL CLMS PERRY            ACCT OF RICHARD A RHYANT          4925 SHELBY ST STE 100                                                    INDIANAPOLIS       IN    46227‐4221
MARION CUNNINGHAM                      6641 PINE ST                                                                                                TAYLOR             MI    48180‐1730
MARION CUNNINGHAM                      21995 INDIAN CREEK DR                                                                                       FARMINGTON HILLS   MI    48335‐5541
MARION CURL                            1418 WOODHALL DR                  C/O CHARLOTTE JONES                                                       FLINT              MI    48504‐1933
MARION CZOLGOSZ                        3310 DALE RD                                                                                                SAGINAW            MI    48603‐3122
MARION D BOCHETTE                      224 DRIFTWOOD DR                                                                                            EUTAWVILLE         SC    29048
MARION D CLARKE                        175 OLD PALMETTO RD                                                                                         BENTON             LA    71006‐8674
MARION D ELEY                          1270 E KURTZ AVE                                                                                            FLINT              MI    48505‐1765
MARION D ERRICO                        159 CREST COURT                                                                                             SIMI VALLEY        CA    93065‐7387
MARION D MANNING                       1916 54TH ST W                                                                                              BRADENTON          FL    34209‐5054
MARION D NAYLOR                        24 INNER DRIVE                                                                                              VIENNA             OH    44473
MARION D PERKINS, PERSONAL             C/O BRAYTON PURCELL               222 RUSH LANDING RD                                                       NOVATO             CA    94948‐6169
REPRESENTATIVE FOR CHARLES A PERKINS

MARION D STEPHENSON                    306 E 7TH ST BOX 125                                                                                        LAPEL               IN   46051
MARION DAVIS                           3049 ADAMS ST                                                                                               INDIANAPOLIS        IN   46218‐2117
MARION DE BRUYN                        777 TAMIAMI TRL N # 210                                                                                     NAPLES              FL   34102‐8135
MARION DE ORIO                         20‐C NUNNAWAUK RD.                                                                                          NEWTOWN             CT   06470
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Name                              Address1                         Address2                   Address3          Address4            City            State Zip
MARION DEAN                       51 AIRSHIRE PL                                                                                    HAZELWOOD        MO 63042‐2704
MARION DEKIERE                    13744 WINDMOOR DR                                                                                 SOUTH LYON       MI 48178‐8148
MARION DELLIEHAUSEN               RAMPENWEG 1                                                                   31860 EMMERTHAL
                                                                                                                GERMANY
MARION DEMOND                     104 N HIGH ST                                                                                     SMITHTON        IL   62285‐1740
MARION DESIMIO                    6261 PECK RD                                                                                      RAVENNA         OH   44266‐8860
MARION DI SANO                    18340 N AVALON LN                                                                                 SURPRISE        AZ   85374‐8516
MARION DILLON                     5219 PLEASANT AVE                                                                                 KANSAS CITY     MO   64133‐2662
MARION DIXON                      1077 RICHARD DR                                                                                   XENIA           OH   45385‐2556
MARION DIXON                      NIX, PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                       DAINGERFIELD    TX   75638
MARION DODD                       4871 LOWER MOUNTAIN RD                                                                            LOCKPORT        NY   14094‐9742
MARION DOLA                       112 PIER K K                                                                                      NAPLES          FL   34112
MARION DOMBROWSKI                 4725 ALDUN RIDGE NW              APT. 107E                                                        COMSTOCK PARK   MI   49321
MARION DOMINSKI                   2598 OTTER ST                                                                                     WARREN          MI   48092‐1356
MARION DOMMENICK                  469 NEWCASTLE LN                                                                                  ROMEO           MI   48065‐4824
MARION DONNELLY                   5681 SW 56TH PL                                                                                   OCALA           FL   34474‐7617
MARION DORL                       9717 RAILROAD                                                                                     MIDWEST CITY    OK   73130‐7413
MARION DOSS                       21905 ROXBURY DR                                                                                  NOVI            MI   48374‐3938
MARION DOVE                       18400 EUCLID ST                  APT 262                                                          FARMINGTON      MN   55024‐8541
MARION DOWNER                     PO BOX 114                                                                                        GLENN           MI   49416‐0114
MARION DRESS                      151 FOREST RD                                                                                     MOUNTAIN TOP    PA   18707‐1316
MARION DRUZBIK                    83 MAJESTIC TER                                                                                   BUFFALO         NY   14218‐3213
MARION DUDGEON                    3315 BYRD DR                                                                                      INDIANAPOLIS    IN   46237‐1518
MARION DUFF                       160 HICKORY LN                                                                                    EOLIA           MO   63344‐1049
MARION DUNHAM                     6455 FREEMONT ST                                                                                  NORTH PORT      FL   34287‐2139
MARION DURAN                      995 JACKSON LN                                                                                    FLORISSANT      MO   63031‐2317
MARION DURNIL                     8786 COUNTY ROAD 612                                                                              LEWISTON        MI   49756‐9109
MARION DUTTON                     3885 MORGAN RD                                                                                    ORION           MI   48359‐1914
MARION E COMPTON                  9950 GERALDINE ST                                                                                 YPSILANTI       MI   48197‐6930
MARION E CROUSE & ANNE A CROUSE   MARION E CROUSE                  1260 N 10TH ST                                                   COOS BAY        OR   97420
TTEES
MARION E KENDIG                   123 JONES ST                                                                                      DAYTON          OH   45410
MARION E LYONS                    6491 DOWNS RD.                                                                                    WARREN          OH   44481‐9416
MARION E RAINS                    115 VERNON PLACE                                                                                  CARLISLE        OH   45005‐3779
MARION E STANSEL                  6728 TAYLORSVILLE ROAD                                                                            DAYTON          OH   45424‐3166
MARION E WARDEN                   710 MATTY AVE                                                                                     SYRACUSE        NY   13211‐1310
MARION EATON                      3425 STERLING ST                                                                                  THE VILLAGES    FL   32162‐7125
MARION ED                         40 JACKSON ST                                                                                     METHUEN         MA   01844
MARION EDELBROCK                  34597 RICHARD O DRIVE                                                                             STERLING HTS    MI   48310‐6130
MARION ELLIOTT JR                 4043 NACE CT                                                                                      SAINT LOUIS     MO   63134‐4222
MARION ELLIS                      7191 JENNINGS RD                                                                                  SWARTZ CREEK    MI   48473‐8887
MARION ELSNER                     817 TAYLOR DR                                                                                     SIDNEY          OH   45365‐3445
MARION ENGINEERING & TECHNOLOG    1309 W NELSON ST                 PO BOX 924                                                       MARION          IN   46952‐3521
MARION ENGINEERING & TECHNOLOGY   1309 W NELSON ST                                                                                  MARION          IN   46952‐3521
INC
MARION ENSMAN                     1219 MAJESTIC WAY                                                                                 WEBSTER         NY   14580‐9539
MARION EUBANKS                    PO BOX 1276                                                                                       GRIFFIN         GA   30224‐0031
MARION EVANS                      2407 INWOOD DR                                                                                    FORT WAYNE      IN   46815‐6936
MARION EVANS                      548 S 20TH ST                                                                                     SAGINAW         MI   48601‐1529
MARION EWING                      PO BOX 2326                                                                                       ANDERSON        IN   46018‐2326
MARION F MILLS                    115 JULES DRIVE                                                                                   WOOLWICH TWP    NJ   08085‐1826
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Name                            Address1                        Address2                Address3         Address4         City            State Zip
MARION F WOODALL AND MARJORIE   1607 MCDOWELL RD                                                                          EVANSVILLE       IN 47712‐5400
WOODALL
MARION FABER                    2405 NEIBEL ST                                                                            HAMTRAMCK       MI   48212‐4212
MARION FABER                    528 N EAST ST                                                                             FENTON          MI   48430‐2724
MARION FAIRCHILD                25 704 S ANGORA RD PO BOX 292                                                             GOETZVILLE      MI   49736
MARION FAISON                   26272 OAKLAND ST                                                                          INKSTER         MI   48141‐1903
MARION FARNELL                  2527 NE JENNI JO CT                                                                       BEND            OR   97701‐6635
MARION FERNQUIST                1754 MAIN ST                                                                              NEWINGTON       CT   06111‐3941
MARION FERRIS                   9294 FARRAND RD                                                                           OTISVILLE       MI   48463‐9709
MARION FIELDER                  18427 SNOWDEN ST                                                                          DETROIT         MI   48235‐1361
MARION FINCHER                  21455 OTTER RD                                                                            BELLEVILLE      MI   48111‐9621
MARION FINEGAN                  50 MALBOROUGH LANE                                                                        COLONIA         NJ   07067
MARION FISH                     85 PLEASANT VIEW ADDITION                                                                 BEDFORD         IN   47421‐8121
MARION FLAHERTY                 67 HOUSTON ST                                                                             WATERBURY       CT   06704‐2520
MARION FLOWERS                  24655 PICKET LANE                                                                         OLMSTED FALLS   OH   44138
MARION FLOYD                    301 E COURT ST APT 309                                                                    LUDINGTON       MI   49431
MARION FORSHEE                  3989 MEADOR PORT OLIVER RD                                                                SCOTTSVILLE     KY   42164‐9445
MARION FORT WORTH INC           CUT CRAFT DIVISION              1501 NORTHPARK DR                                         FORT WORTH      TX   76102‐1007
MARION FOSTER                   14546 CAVELL ST                                                                           LIVONIA         MI   48154‐3931
MARION FOUST                    73 E LYTLE RD                                                                             DAYTON          OH   45458
MARION FRANCE                   3379 WHISPER RIDGE DR                                                                     LAPEER          MI   48446‐7657
MARION FRANCE                   64 COLUMBINE LN                                                                           FLORISSANT      CO   80816‐8863
MARION FRANKEL                  50 WAYNE RD                                                                               MILFORD         CT   06460
MARION FRAZIER                  4022 DARBY ST                                                                             SAINT LOUIS     MO   63120‐1422
MARION FREEHAFER                3631 CRYSTAL ST SW                                                                        GRANDVILLE      MI   49418‐1465
MARION FREITAG                  384 MATTHEWS ST                                                                           BRISTOL         CT   06010‐0111
MARION FULLERTON                18 LAMP POST DR                                                                           ROCHESTER       NY   14624‐5805
MARION FULTON                   418 FLINT ST                                                                              SAINT CHARLES   MI   48655‐1718
MARION G BOUGHNER               1075 SHARON CIR                                                                           LAS CRUCES      NM   88001‐5404
MARION G BYRD                   622 RIDGE RD                                                                              LEBANON         OH   45036‐1637
MARION G JENKINS                126 CITYLINE AVE NE                                                                       ATLANTA         GA   30308‐2440
MARION G SWARTZ                 4999 MILLER SOUTH RD                                                                      BRISTOLVILLE    OH   44402‐9779
MARION GAISER                   2715 S AIRPORT RD                                                                         SAGINAW         MI   48601‐6879
MARION GALVAS                   3290 DREXEL AVE                                                                           FLINT           MI   48506‐1936
MARION GARAHAN                  7 SOUTH ROYAL DR                                                                          ALBANY          NY   12205
MARION GARNETT                  315 OLD BUFFALO RD                                                                        UNION           SC   29379‐1531
MARION GASTON                   8608 PLAINFIELD RD                                                                        CINCINNATI      OH   45236‐1706
MARION GATLIFF                  716 PINEDALE DRIVE                                                                        PLANT CITY      FL   33563
MARION GENERAL HOSP             PO BOX 1169                                                                               MARION          IN   46952‐7569
MARION GENERAL RADIO            PO BOX 2469                                                                               INDIANAPOLIS    IN   46206‐2469
MARION GERRED JR                7038 N MOUNT HOPE RD                                                                      RIVERDALE       MI   48877‐9527
MARION GIESLER                  8025 OHIO DR APT 8208                                                                     PLANO           TX   75024‐2322
MARION GIESLER                  3100 S RIGSBEE ROAD             #104B                                                     PLANO           TX   75074
MARION GILBERT                  6239 FULKS RD                                                                             BATES CITY      MO   64011‐8448
MARION GLASS & ALUMINUM INC     107 N SHORT ST                                                                            MARION          IN   46952‐3379
MARION GLASSCOE                 1510 W HILLSDALE ST                                                                       LANSING         MI   48915‐1112
MARION GOFORTH                  6295 SIMLER DR                                                                            CLARKSTON       MI   48346‐1265
MARION GORMAN                   124 JACKSON LAKE DR                                                                       FRANKLIN        TN   37069‐8217
MARION GORNEY JR                110 S VAN BUREN ST                                                                        BAY CITY        MI   48708‐7374
MARION GOTTFRIED                75 REMICK PKWY APT D                                                                      LOCKPORT        NY   14094‐3969
MARION GOTTS                    3426 LKPT OLCOTT RD                                                                       LOCKPORT        NY   14094
MARION GOYETT                   1034 HEAVENRIDGE RD                                                                       ESSEXVILLE      MI   48732‐1734
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Name                               Address1                            Address2              Address3         Address4         City            State Zip
MARION GRABER                      5404 NE COUNTYLINE RD               PO BOX 0102                                             LONG LAKE        MI 48743‐9705
MARION GRANT COUTY CHAMBER OF      215 S ADAMS STREET                                                                          MARION           IN 46952
COMMERCE
MARION GRAYSON                     3308 MAE DR SW                                                                              WARREN          OH   44481‐9210
MARION GREENE                      1088 N BRACE RD                                                                             SUMMERTOWN      TN   38483‐7131
MARION GRIFFITH                    3371 CARDINAL DR.L                                                                          SAGINAW         MI   48601
MARION GRIGG                       22102 YORK MILLS CIR                                                                        NOVI            MI   48374‐3870
MARION GRINDELE                    3414 MAPLE LN                                                                               ROWLETT         TX   75089‐3314
MARION GUERRIERI                   524 SELKIRK DR                                                                              MOUNT MORRIS    MI   48458‐8919
MARION GWIZDALA                    1955 LAKE ST                                                                                SAINT HELEN     MI   48656‐9756
MARION H BIRT                      4848 WOLF CREEK PIKE # PI                                                                   DAYTON          OH   45417
MARION H BIRT                      4848 WOLF CRREK PIKE                                                                        DAYTON          OH   45427‐3338
MARION H GATLIFF TRUST, MARION H   MARION H GATLIFF                    716 PINEDALE DRIVE                                      PLANT CITY      FL   33563
GATLIFF TTEE
MARION HAAS                        2893 STATE ROUTE 222                                                                        BETHEL          OH   45106‐8224
MARION HAHIN                       41 FOWLER AVE                                                                               KENMORE         NY   14217‐1501
MARION HAIG                        286 FAY RD                                                                                  NORTH BANGOR    NY   12966‐3315
MARION HALSTEAD                    6221 BAYVIEW STA                                                                            NEWFANE         NY   14108‐9702
MARION HAMILTON                    5312 RIVER RIDGE DR                                                                         LANSING         MI   48917‐1361
MARION HAMLIN                      1116 S LINCOLN ST                                                                           BAY CITY        MI   48708‐8002
MARION HAMM                        5957 OLD SCOTTSVILLE RD                                                                     ALVATON         KY   42122‐9713
MARION HAMON                       646 S 15TH ST                                                                               SEBRING         OH   44672‐2053
MARION HANEY                       44 BLAIR ST                         HIGHLANDS                                               MOUNT MORRIS    MI   48458‐8869
MARION HARDAWAY                    2332 PHOENIX ST                                                                             SAGINAW         MI   48601‐2447
MARION HARPER                      5100 HIGHBANK DR                                                                            ARLINGTON       TX   76018‐4922
MARION HARRINGTON                  7533 W MOORESVILLE RD                                                                       CAMBY           IN   46113‐9274
MARION HARRIS                      1951 STANFORD AVE                                                                           FLINT           MI   48503‐4014
MARION HARRIS                      3065 S GENESEE RD                                                                           BURTON          MI   48519‐1419
MARION HARRIS                      524 S PRINCE ST                                                                             WHITEWATER      WI   53190‐1752
MARION HARROLD                     1928 ADAMS ST                                                                               GREENSBURG      PA   15601‐5561
MARION HARTLEY                     716 TAYLOR ST                                                                               BAY CITY        MI   48708‐8212
MARION HASTINGS                    4405 LANSING RD                                                                             CHARLOTTE       MI   48813‐9373
MARION HATCHER                     10040 LEWIS AVE                                                                             TEMPERANCE      MI   48182‐2700
MARION HAVERSTICK JR               235 W ELBERT ST                                                                             INDIANAPOLIS    IN   46217‐3417
MARION HAYNES                      318 OAKWOOD LANE                                                                            PERRY           MI   48872‐9186
MARION HAYWARD                     537 PIKE RD                                                                                 FARWELL         MI   48622‐9424
MARION HEAD                        1428 PALMNOLD CIR E                                                                         FORT WORTH      TX   76120‐4704
MARION HEATH                       6122 VICTORIA LN                                                                            KEITHVILLE      LA   71047‐9149
MARION HEINZ                       6252 CORWIN RD                                                                              LOCKPORT        NY   14094‐5902
MARION HEISE                       901 SEMINOLE BLVD APT 244                                                                   LARGO           FL   33770‐7446
MARION HELTON                      20665 COUNTY LINE RD                                                                        TUSTIN          MI   49688‐8110
MARION HELUK                       15 BEAR MOUNTAIN CT                                                                         TOMS RIVER      NJ   08753‐1617
MARION HENDERSON                   80 EAST JEFFERSON STREET                                                                    FRANKLIN        IN   46131‐2321
MARION HENRY                       128 S JACKSON ST                                                                            CLINTON         IN   47842‐7021
MARION HERKEL                      1845 BARLOW TWO TAVERNS RD                                                                  GETTYSBURG      PA   17325‐7079
MARION HERMAN                      PO BOX 434                                                                                  ANCHORVILLE     MI   48004‐0434
MARION HEWITT‐SCHMOLL              284 GARDEN LN                                                                               HAINES CITY     FL   33844‐8911
MARION HICKMAN                     2207 ROOSEVELT BLVD APT 2                                                                   WINCHESTER      VA   22601‐3686
MARION HICKS                       195 CLINTON LN                                                                              MARION          NC   28752‐7092
MARION HICKS JR                    12 MEADOW SPRING DR                                                                         BEL AIR         MD   21015‐1700
MARION HIGGINS                     57441 N MAIN ST                                                                             THREE RIVERS    MI   49093‐9799
MARION HIGH                        3725 OLD PLAIN RD.                                                                          PLAIN DEALING   LA   71064
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Name                  Address1                        Address2              Address3                 Address4         City            State Zip
MARION HIGH SCHOOL    750 W 26TH ST                                                                                   MARION           IN 46953‐2929
MARION HIGHT          3607 W 1100 N                                                                                   ALEXANDRIA       IN 46001‐8435
MARION HIRE           PO BOX 114                                                                                      MILAN            OH 44846‐0114
MARION HOFFMAN        5336 GLENFIELD DR                                                                               SAGINAW          MI 48638‐5429
MARION HOFMANN        UNTERM ASPALTER 32              5106 VELTHEIM
MARION HOLLAND        11188 DUFFIELD RD                                                                               MONTROSE        MI   48457‐9401
MARION HOLLOWAY       3635 HIGHWAY 169                                                                                MOORINGSPORT    LA   71060‐9403
MARION HOLTHAUS       4910 GLEN SUMMIT DR                                                                             PERRY HALL      MD   21128‐9429
MARION HOUSTINA       2648 WOODBINE DR                                                                                WATERFORD       MI   48328‐3954
MARION HOWE           1000 S MAIN ST                                                                                  MILFORD         MI   48381‐2370
MARION HOWELL         611 W SILVER ST                                                                                 LEBANON         OH   45036‐2039
MARION HOYT           3182 N 9TH ST                                                                                   KANSAS CITY     KS   66101‐1116
MARION HUBING         150 OAKWOOD LANE                BOX 480                                                         VALLEY FORGE    PA   19481
MARION HUDGINS        348 RED TAILED HAWK LOOP                                                                        GRAYLING        MI   49738‐8787
MARION HUGGLER        6779 N US HIGHWAY 23                                                                            SPRUCE          MI   48762‐9706
MARION HUGHES         5801 PARK DR                                                                                    TROY            MO   63379‐5029
MARION HUGHES         15887 WOODINGHAM DR                                                                             DETROIT         MI   48238‐1251
MARION HUNNELL        2050 S WASHINGTON RD APT 1010                                                                   HOLT            MI   48842‐8634
MARION HUNTER         3235 SHAY LAKE RD                                                                               MAYVILLE        MI   48744‐9108
MARION HURD           10047 GABRIELLA DR                                                                              N ROYALTON      OH   44133‐1303
MARION HURSH          75 JORDAN AVE                                                                                   ROCHESTER       NY   14606‐4111
MARION HUTCHENS       7520 W COUNTY ROAD 550 S                                                                        DALEVILLE       IN   47334‐8931
MARION HUTSON         5950 LEISURE DR S.                                                                              KENTWOOD        MI   49548
MARION I MILLER       GARY R MILLER                   ROBERT H MILLER       1717 HOMEWOOD BLVD APT                    DELRAY BEACH    FL   33445
                                                                            305
MARION INSCHO         4855 WEST RIDGE ROAD B2131                                                                      ERIE            PA   16506
MARION IRVINE         6013 E HOUGHTON LAKE DR                                                                         HOUGHTON LAKE   MI   48629‐8308
MARION IRWIN          226 MARY JO RD                                                                                  HARRISON        MI   48625‐9274
MARION J HOUGHTLING   25 MENDOTA CIRCLE                                                                               ROCHESTER       NY   14626‐3209
MARION J SWANN        420 SIMONTON CREST DR                                                                           LAWRENCVILLE    GA   30045
MARION JABLONSKI      826 ROYAL GROVE CT                                                                              CHESAPEAKE      VA   23320
MARION JAMES          7262 ANDREA CT                                                                                  GRAND BLANC     MI   48439‐9656
MARION JAMES          1766 OAK ST SW                                                                                  WARREN          OH   44485‐3570
MARION JANSEN         1467 BRANDYWINE DR                                                                              ROCKFORD        IL   61108‐4382
MARION JASZCZAK       9611 PINE POINT DR                                                                              LAKELAND        TN   38002‐8408
MARION JENKINS        126 CITYLINE AVE NE                                                                             ATLANTA         GA   30308‐2440
MARION JERZAK         7407 SUNSET DR R2                                                                               LANSING         MI   48917
MARION JEWELL         4835 S FORDNEY RD                                                                               HEMLOCK         MI   48626‐9762
MARION JOHNSON        3480 VALERIE ARMS DR APT 819                                                                    DAYTON          OH   45405‐2140
MARION JOHNSON        80 JEFFERSON AVE                                                                                WHITE PLAINS    NY   10606‐1706
MARION JOHNSON        144 MORNINGSIDE RD                                                                              NILES           OH   44446‐2112
MARION JOHNSON        24419 HILL AVE                                                                                  WARREN          MI   48091‐4455
MARION JOHNSON        11786 DUCHESS ST                                                                                DETROIT         MI   48224‐1549
MARION JOHNSON        3302 46TH AVE N                                                                                 ROBBINSDALE     MN   55422
MARION JONES          230 ERMAN CT                                                                                    TRENTON         NJ   08629‐1505
MARION JONES          851 S E 23 HIGHWAY                                                                              WINDSOR         MO   65360
MARION JONES          1191 GODFREY LN                                                                                 SCHENECTADY     NY   12309‐2719
MARION JONES          6377 GULF POINTE                                                                                BAY CITY        MI   48706
MARION JR, WARREN S   130 OAK ST                                                                                      CUMBERLAND      MD   21502‐3935
MARION JUREWICZ       4678 CHADBOURNE DR                                                                              STERLING HTS    MI   48310‐5036
MARION K CAMPAGNA     8 FENCE ST                                                                                      ROCHESTER       NY   14611‐1106
MARION K GILHOOL      99 W CORNELL AVE                                                                                PONTIAC         MI   48340‐2719
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Name                      Address1                         Address2                     Address3         Address4               City           State Zip
MARION K SHAWLER          2500 ROSEANNE CT                                                                                      FAIRBORN        OH 45324‐6347
MARION KAISER             11024 CHARLES DR                                                                                      BYRON           MI 48418‐9007
MARION KELLY              1017 WASHINGTON PKWY                                                                                  ELWOOD          IN 46036‐8328
MARION KETCHEM            1940 WRENWOOD ST SW                                                                                   WYOMING         MI 49519‐2361
MARION KIETZER            218 SKYRIDGE LN                                                                                       ESCONDIDO       CA 92026‐1202
MARION KILBREATH          G6060 LANCASTER                                                                                       FLINT           MI 48532
MARION KILLIAN            108 VAUGHAN ST.                                                                                       PORTLAND        ME 04102
MARION KILLION            3600 WHITE RIVER CT                                                                                   ANDERSON        IN 46012‐4652
MARION KIRK               578 W MILL ST                                                                                         MIDDLETOWN      IN 47356‐9301
MARION KNAPP              1401 212 AVE NE                                                                                       SAMMAMISH       WA 98074
MARION KNOWLES            557 GROVES POINT DR                                                                                   HAMPSTEAD       NC 28443‐3158
MARION KOOLE              3734 MATTERHORN CT NW                                                                                 GRAND RAPIDS    MI 49544‐9444
MARION KOSINSKI           3038 KETTERING HTS                                                                                    FLINT           MI 48507‐4521
MARION KOTZ               2838 W 23RD ST                                                                                        CHICAGO          IL 60623‐3522
MARION KOVACS             BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS.     OH 44236
MARION KOZA               1932 S LINCOLN AVE UNIT 3                                                                             SALEM           OH 44460‐5323
MARION KRAEMER            54148 BUCCANEER'S BAY                                                                                 SHELBY TWP      MI 48316
MARION KRCMARIK           PO BOX 54                        7150 NEW LOTHROP RD                                                  NEW LOTHROP     MI 48460‐0054
MARION KREMSREITER        319 N BANKSON ST                                                                                      SAINT LOUIS     MI 48880‐1464
MARION KROLL              2418 PETROVA AVE                                                                                      JENNINGS        MO 63136‐3903
MARION KUBASINSKI         3127 SCHOOLHOUSE DR                                                                                   WATERFORD       MI 48329‐4328
MARION KUMAUS             PO BOX 214                                                                                            PIGEON          MI 48755‐0214
MARION L ELSNER           817 TAYLOR DR                                                                                         SIDNEY          OH 45365‐3445
MARION L HURSH            75 JORDAN AVE.                                                                                        ROCHESTER       NY 14606‐4111
MARION L JONES            851 SE 23 HWY                                                                                         WINDSOR         MO 65360
MARION L LEGAN (IRA)      611 HIGHWAY 191                  PO BOX 44                                                            PERSIA           IA 51563‐0044
MARION L MANNI            110 E LONGFELLOW AVE                                                                                  PONTIAC         MI 48340‐2746
MARION L MARTIN           1481 GOLDEN ROD CT                                                                                    BELCAMP         MD 21017‐1684
MARION L METTLER          2845 HESS RD                                                                                          APPLETON        NY 14008‐9636
MARION L MONROE           3607 FOREST RIDGE BLVD                                                                                DAYTON          OH 45424
MARION L MUNFORD III      110 POTOMAC ST                                                                                        WESTERNPORT     MD 21562‐1516
MARION L OGLES            823 NORTH 33RD ST.                                                                                    GADSDEN         AL 35904
MARION L RIGGS            783 YORK                                                                                              ST PAUL         MN 55106‐3739
MARION L SWALLOW          6033 DEERFIELD ST                                                                                     DAYTON          OH 45414‐2808
MARION L TURNER           8711 WAVE CIR                    APT B                                                                FORT WAYNE      IN 46825‐8661
MARION L WHITE            435 CHERRY STREET                                                                                     WAYNESBURG      PA 15370
MARION LABORATORIES INC   P O BOX 8480                                                                                          KANSAS CITY     MO 64114
MARION LAMS               28012 MALVINA DR                                                                                      WARREN          MI 48088‐4323
MARION LANGELIER          6 MEADOWBROOK RD                                                                                      HUDSON          MA 01749‐1906
MARION LAWRENCE           5730 E LAKE ST                                                                                        HALE            MI 48739‐8806
MARION LAWRENCE           12 PETUNIA WAY                                                                                        TOMS RIVER      NJ 08755‐3234
MARION LAWSON             PO BOX 235                                                                                            POTOSI          MO 63664‐0235
MARION LEES               8042 BROCATEL CT                                                                                      ORLANDO         FL 32822‐8320
MARION LEFKOW             MARION LEFKOW TRUST              MARION LEFKOW TTEE U/A/D     U/A/D 05/27/09   4875 SW 78TH AVE APT   PORTLAND        OR 97225
                                                           05/27/09                                      #343
MARION LEWANDOWSKI        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS.    OH   44236
MARION LEWIS              7129 BACK FORTY CT                                                                                    GRANBURY       TX   76049‐6407
MARION LEWIS              7941 S 600 W                                                                                          PENDLETON      IN   46064‐9763
MARION LEWIS              6600 RIVER RUN BLVD                                                                                   WEEKI WACHEE   FL   34607‐4008
MARION LEWOC              21 OAK ST                                                                                             MERIDEN        CT   06450‐5819
MARION LICHTWARK          WIESENSTR 25                                                                   55437 OCKENHEIM,
                                                                                                         GERMANY
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Name                                 Address1                           Address2                    Address3   Address4         City            State Zip
MARION LICK                          42 WANDLE AVE                                                                              BEDFORD          OH 44146‐2654
MARION LIND                          RR 2 BOX 2464                                                                              WHEATLAND        MO 65779‐9806
MARION LINER                         331 MOREAU ST                                                                              MORRISVILLE      PA 19067‐1238
MARION LITZ                          7021 LINCOLN AVENUE EXT            C/O DAVID LITZ                                          LOCKPORT         NY 14094‐6232
MARION LIVESAY                       PO BOX 223                                                                                 ROSE HILL        VA 24281‐0223
MARION LIVINGSTON                    EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                     DETROIT          MI 48265‐2000

MARION LOBDELL                       101 HAMILTON PKWY                                                                          SYRACUSE        NY   13214‐2329
MARION LOCKWOOD                      APT 10                             49 UNION SQUARE BOULEVARD                               NORTH CHILI     NY   14514‐9802
MARION LOGAN                         524 N LAIRD AVE                                                                            OKLAHOMA CITY   OK   73104‐6223
MARION LONG                          722 STATE ROUTE 104 LOT 7                                                                  ONTARIO         NY   14519‐8983
MARION LONG                          6288 PHEASANT HILL RD.                                                                     DAYTON          OH   45424
MARION LOWDER                        3149 W 400 N                                                                               MC CORDSVILLE   IN   46055‐9720
MARION LUMBER & SUPPLY CO INC        3301 S WASHINGTON ST               PO BOX 3037                                             MARION          IN   46953‐4302
MARION LUSK                          227 N AMBER RD                                                                             SCOTTVILLE      MI   49454‐9610
MARION LUTTRELL                      PO BOX 8043                                                                                PORTLAND        TN   37148‐8043
MARION LYKINS                        8873 NEW COUNTRY DR APT 2                                                                  CICERO          NY   13039‐8614
MARION LYNCH                         14645 STATE HIGHWAY 51                                                                     DUDLEY          MO   63936‐8003
MARION LYNDE                         408 SAWYER RD                                                                              LANSING         MI   48911‐5606
MARION LYONS                         6491 DOWNS RD NW                                                                           WARREN          OH   44481‐9416
MARION LYONS                         4271 STANLEY CT                                                                            WATERFORD       MI   48329‐4185
MARION M CALVERT & ALTON N CALVERT   731 OAKVIEW DR                                                                             BRADENTON       FL   34210‐4610
JTTEN
MARION M DRUZBIK                     83 MAJESTIC TER                                                                            BUFFALO         NY   14218‐3213
MARION M JAMES                       1766 OAK ST SW                                                                             WARREN          OH   44485‐3570
MARION M KRANICH                     145 SMOKESTOWN RD                                                                          REINHOLDS       PA   17569
MARION M WALTERS                     293 CEDARWOOD TERRACE              DOWNSTAIRS APT                                          ROCHESTER       NY   14609
MARION M WIETHARN                    MARION M WIETHARN & PHYLLIS A      2111 SW 32ND ST                                         TOPEKA          KS   66611
                                     WIETHARN
MARION MACK                          4360 HURON ST                                                                              NORTH BRANCH    MI   48461‐9351
MARION MAGEE                         8151 CR109D‐1                                                                              LADY LAKE       FL   32159
MARION MAGNUSSON                     2800 JEANETTA ST APT 201                                                                   HOUSTON         TX   77053‐4058
MARION MAHAN                         6938 ORANGEVILLE KINSMAN RD                                                                KINSMAN         OH   44428
MARION MALONE                        PO BOX 552                                                                                 BELTON          MO   64012‐0552
MARION MALONEY                       18011 EAST RD.                                                                             NEW LOTHROP     MI   48460
MARION MANGENE                       750 OAK ST APT 307                                                                         JACKSONVILLE    FL   32204‐3338
MARION MANNI                         110 E LONGFELLOW AVE                                                                       PONTIAC         MI   48340‐2746
MARION MANNING                       1916 54TH ST W                                                                             BRADENTON       FL   34209‐5054
MARION MANUFACTURING CO              1675 REINHARD RD                                                                           CHESHIRE        CT   06410‐1222
MARION MARK ESTATE OF                MARION, MARK
MARION MARK ESTATE OF                MARION, VICKI LYNN
MARION MARRION                       43874 SIMSBURY STREET                                                                      CANTON          MI   48187‐2744
MARION MARSHALL                      81 JACKSON AVE                                                                             SLOAN           NY   14212‐2331
MARION MARSHALL                      7674 KAYE DR                                                                               FRANKLIN        OH   45005‐3822
MARION MARTEK                        207 E WHITE ST                                                                             BAY CITY        MI   48706‐4677
MARION MAUL                          15479 S AIRPORT RD                                                                         LANSING         MI   48906‐9169
MARION MAUPIN                        10144 DODGE RD                                                                             MONTROSE        MI   48457‐9009
MARION MAY                           1674 HIGHWAY 81 W                                                                          MCDONOUGH       GA   30253‐6433
MARION MAYFIELD                      PO BOX 782                                                                                 DOUGLASVILLE    GA   30133‐0782
MARION MAYNARD                       410 S 3RD ST                                                                               GAS CITY        IN   46933‐1817
MARION MAYS                          4401 TERNES ST                                                                             DETROIT         MI   48210‐2137
MARION MC COLLISTER                  5174 MILLER HILL RD                                                                        CUBA            NY   14727‐9613
                              09-50026-mg                Doc 7123-26    Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                          Address1                           Address2                   Address3          Address4              City            State Zip
MARION MC GOWAN               763 THURSTON RD                                                                                       ROCHESTER        NY 14619‐2228
MARION MCCLAIN                2173 S CENTER RD APT 151                                                                              BURTON           MI 48519‐1804
MARION MCCOY                  18314 MURRAY HILL ST                                                                                  DETROIT          MI 48235‐4601
MARION MCCOY                  2615 S INDIANAPOLIS RD                                                                                LEBANON          IN 46052‐9691
MARION MCGARITY               1150 KENNEDY RD                                                                                       MORRIS CHAPEL    TN 38361‐4444
MARION MCGIBONEY              260 NEWTON RIDGE DR                                                                                   COVINGTON        GA 30014‐3635
MARION MCGILL                 PO BOX 1607                                                                                           COLUMBIA         MD 21044‐0607
MARION MCGRATH                26 RANAUDO ST                                                                                         WATERBURY        CT 06708‐4704
MARION METTLER                2845 HESS RD                                                                                          APPLETON         NY 14008‐9636
MARION MILES                  108 BUTLER DR                                                                                         SHAWNEE          OK 74804‐9313
MARION MILES                  2965 TUXEDO BLVD                                                                                      WATERFORD        MI 48329‐2866
MARION MILITARY INSTITUTE     1101 WASHINGTON ST                                                                                    MARION           AL 36756‐3205
MARION MILLER                 7405 CHAPEL VILLAS LANE            UNIT 6                                                             INDIANAPOLIS     IN 46214
MARION MILLS                  201 W JOLLY RD APT 607                                                                                LANSING          MI 48910‐6655
MARION MILNER                 35738 SCHMID DR                                                                                       NEW BALTIMORE    MI 48047‐2440
MARION MITCHELL               3110 CHARI DR                                                                                         FLINT            MI 48507‐4573
MARION MITCHELL               170 SEVILLE DR                                                                                        ROCHESTER        NY 14617‐3828
MARION MONTEMAYOR             30 JEFFERSON DR                                                                                       LOCKPORT         NY 14094‐5535
MARION MOORE                  5001 BALDWIN HILLS DR                                                                                 ENGLEWOOD        OH 45322‐3511
MARION MORRIS                 12315 W 61ST ST                                                                                       SHAWNEE          KS 66216‐2017
MARION MORRISON               7203 WINBURN DR                                                                                       GREENWOOD        LA 71033‐3217
MARION MUNFORD I I I          110 POTOMAC ST                                                                                        WESTERNPORT      MD 21562‐1516
MARION MUNICIPAL COURT        233 W CENTER ST                                                                                       MARION           OH 43302‐3643
MARION MUNICIPAL UTILITIES    PO BOX 718                                                                                            MARION           IN 46952‐0718
MARION MUSHALLA               5 HIGH ST                                                                                             CARTERET         NJ 07008‐2506
MARION N COTHRAN III          220 SOUTH 8TH ST                                                                                      GADSDEN          AL 35903‐2403
MARION NARROWS                300 TWINRIDGE LN APT 214                                                                              RICHMOND         VA 23235‐5286
MARION NAVARRIA               224 TIMBER TRL APT D                                                                                  BEL AIR          MD 21014‐3148
MARION NAYLOR                 24 INNER DR                                                                                           VIENNA           OH 44473‐9767
MARION NETTELL                PO BOX 7311                                                                                           FLINT            MI 48507‐0311
MARION NICHOLS                1337 LINCOLN AVE                                                                                      MOUNT MORRIS     MI 48458‐1484
MARION NICHOLS                7691 NW 140TH ST                                                                                      CHIEFLAND        FL 32626‐7990
MARION NICKS                  312 KEVIN DR                                                                                          DICKSON          TN 37055‐2320
MARION NOWAK                  7312 101ST ST                                                                                         FLUSHING         MI 48433‐8709
MARION NUMETKO                102 BARBERRY TER                                                                                      ROCHESTER        NY 14621‐4104
MARION O DELL                 314 FAIRVIEW RD                                                                                       CROSSVILLE       TN 38571‐3751
MARION O JOHNSON              63 VIRGINIA PARK ST                                                                                   DETROIT          MI 48202‐2009
MARION O'NEAL                 235 W GLOUCESTER DR                                                                                   SAGINAW          MI 48609‐9427
MARION OLES                   8783 NW SHONTEL CT                                                                                    SILVERDALE       WA 98383‐6302
MARION OLSON                  6849 W STANTON RD                                                                                     STANTON          MI 48888‐9750
MARION OTTILIE HOFMANN        UNTERM ASPALTER 32                                                              5106 VELTHEIM
                                                                                                              SWITZERLAND
MARION OTTILIE HOFMANN        UNTERM ASPALTER 32                 5106 VELTHEIM
MARION P RAUSCH               4279 EVERETT‐HULL RD. N.E.                                                                            CORTLAND        OH   44410‐9771
MARION P TURNER               NIX PATTERSON & ROACH LLP          GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                         DAINGERFIELD    TX   75638
MARION PADDOCK                12038 BOLDREY DR                                                                                      FENTON          MI   48430‐9653
MARION PANTERA                37795 GREENWOOD ST APT R14                                                                            WESTLAND        MI   48185‐3359
MARION PARKER                 1393 E 94TH ST                                                                                        CLEVELAND       OH   44106‐1009
MARION PARKS AND RECREATION   301 SOUTH BRANSON ST                                                                                  MARION          IN   46952
MARION PATTERSON              HC 64 BOX 35                                                                                          THAYER          MO   65791‐9504
MARION PEARMAN                PO BOX 124                                                                                            NEWPORT         IN   47966‐0124
MARION PEDRO                  225 N 10TH ST                                                                                         ELWOOD          IN   46036‐1550
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Name                            Address1                         Address2                Address3      Address4         City               State Zip
MARION PEEK                     3333 BROADWAY APT E29J                                                                  NEW YORK            NY 10031‐8719
MARION PELTO                    4804 18TH RD                                                                            ESCANABA            MI 49829‐9301
MARION PERCY                    106 WECKERLY RD                                                                         BUTLER              PA 16002
MARION PERNELL JR               24051 MANISTEE ST                                                                       OAK PARK            MI 48237‐3719
MARION PERRY                    7008 S VERNON RD                                                                        DURAND              MI 48429‐9154
MARION PETZOLD                  11767 ELMS RD                                                                           BIRCH RUN           MI 48415‐8489
MARION PHILHARMONIC ORCHESTRA   PO BOX 272                                                                              MARION              IN 46952‐0272
MARION PIKE                     881 STIRLING ST                                                                         PONTIAC             MI 48340‐3166
MARION PILARSKI                 36 WOODRIDGE AVE                                                                        CHEEKTOWAGA         NY 14225‐2037
MARION POTTS                    3701 15TH ST APT 310                                                                    DETROIT             MI 48208‐2587
MARION PRUITT                   CASCINO MICHAEL P                220 SOUTH ASHLAND AVE                                  CHICAGO              IL 60607
MARION PUBLIC LIBRARY           600 S WASHINGTON ST                                                                     MARION              IN 46953‐1963
MARION R BONNO                  219 THUNDERWOOD DR                                                                      BETHEL PARK         PA 15102
MARION R LEES                   8042 W. BROCATEL CT.                                                                    ORLANDO             FL 32822‐8320
MARION RAINS                    115 VERNON PL                                                                           CARLISLE            OH 45005‐3779
MARION RAPER                    14320 SE 85TH AVE                                                                       SUMMERFIELD         FL 34491‐9381
MARION RASTELLI                 800 LINCOLN AVE E APT 209                                                               CRANFORD            NJ 07016‐3181
MARION RAUSCH                   4279 EVERETT HULL RD                                                                    CORTLAND            OH 44410‐9771
MARION REAGLE                   12031 ROLLING HILLS CT                                                                  WICHITA             KS 67235‐1301
MARION REAVES                   405 SHAWNEE DR                                                                          COLUMBIA            TN 38401‐2530
MARION RECZEK                   1389 STAFFORD AVE APT 109                                                               BRISTOL             CT 06010‐2885
MARION REDBURN                  10392 GREEN ROAD                                                                        GOODRICH            MI 48438‐9428
MARION REED                     720 N ELLICOTT CREEK RD                                                                 AMHERST             NY 14228‐2402
MARION REED                     4381 W HIGHLAND RD                                                                      MILFORD             MI 48380‐1122
MARION REGAN MORRISON           128 LIGHTHOUSE POINT                                                                    SLIDELL             LA 70458
MARION RICHARDS                 24108 W. NEWKIRK DR.                                                                    PLAINFIELD           IL 60544
MARION RICHTER                  2426 LINDELL RD                                                                         STERLING HTS        MI 48310‐4891
MARION RIDEAU                   1313 S MCKINLEY AVE                                                                     COMPTON             CA 90220‐3955
MARION RIESS                    3951 AUDREY RAE LN                                                                      HOWELL              MI 48843‐6609
MARION RIESTER                  32 ALYS DR W                                                                            DEPEW               NY 14043‐1405
MARION RIFFLE                   1165 MCCHORD RUN RD                                                                     WALKERSVILLE        WV 26447‐8529
MARION RITA HUBING, IRA         150 OAKWOOD LN                   BOX 480                                                VALLEY FORGE        PA 19481
MARION ROBBINS                  1742 W WASHINGTON ST                                                                    SULLIVAN            IN 47882‐7209
MARION ROBBINS                  3516 GLENBROOK DR                                                                       LANSING             MI 48911‐2107
MARION ROBERTSON                3902 SENECA ST                                                                          FLINT               MI 48504‐3705
MARION ROBINSON                 353 GUNNELL RD                                                                          DALLAS              GA 30157‐7698
MARION ROBINSON                 16261 BIRCHWOOD DR                                                                      LEROY               MI 49655‐8072
MARION ROBINSON                 757 MANHATTAN AVE                                                                       GROVER BEACH        CA 93433‐2314
MARION ROGINSKI                 23140 PETERSBURG AVE                                                                    EAST DETROIT        MI 48021‐2023
MARION ROPER                    3092 DILLON RD                                                                          FLUSHING            MI 48433‐9704
MARION ROSAS                    709 FROST ST                                                                            FLINT               MI 48504‐4951
MARION ROSE                     PO BOX 142                                                                              MARATHON            NY 13803‐0142
MARION ROSE                     6562 MANISTEE HEIGHTS DR                                                                ELMIRA              MI 49730‐9178
MARION ROSS                     PO BOX 3666                                                                             NORTH FORT MYERS    FL 33918‐3666
MARION ROTARY CLUB              PO BOX 656                                                                              MARION              IN 46952‐0656
MARION ROTH                     LUTHERAN HOME TOLEDO ASSISTANT   2519 SEAMAN STREET                                     TOLEDO              OH 43605
MARION ROXBURGH                 31 ALAMEDA AVE                                                                          CUYAHOGA FALLS      OH 44221‐1503
MARION RUPERT                   1013 CALLE ROSA PL                                                                      RUSKIN              FL 33573‐6602
MARION RUSSO                    IRA DTD 4/11/89                  5823 COVE LANDING RD    APT 302                        BURKE               VA 22015‐2698
MARION RYAN                     325 WILKINSON ST APT 232         THE PINES                                              CHELSEA             MI 48118‐1524
MARION S BARNES                 4512 ROSS AVE                                                                           FRANKLIN            OH 45005‐4893
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Name                Address1                        Address2                     Address3   Address4         City            State Zip
MARION S MORRIS     C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                HOUSTON          TX 77007
                    BOUNDAS LLP
MARION S O DELL     314 FAIRVIEW RD                                                                          CROSSVILLE      TN   38571‐3751
MARION SALLEY JR    PO BOX 1366                                                                              BUFFALO         NY   14215‐6366
MARION SANDBROOK    301 E MOUNT HOPE AVE                                                                     LANSING         MI   48910‐9134
MARION SAPUDER      66 CHADDUCK AVE                                                                          BUFFALO         NY   14207‐1554
MARION SAUCERMAN    3343 W HINSHAW RD                                                                        MONROVIA        IN   46157‐9302
MARION SCHLINGER    6707 SLOCUM RD                                                                           ONTARIO         NY   14519‐9321
MARION SCHNELL      14 LESHNER LANE                                                                          BURLINGTON      NJ   08016‐3843
MARION SCHNURA      ASCHERRING 1                    21035 HAMBURG                GERMANY
MARION SCHORNICK    13574 GRATIOT RD                                                                         HEMLOCK         MI   48626‐8443
MARION SCHRAM       1754 HALL ST                                                                             HOLT            MI   48842‐1710
MARION SCHULTE      3749 SARASOTA BLVD.                                                                      SARASOTA        FL   34238
MARION SCHULTZ      BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS      OH   44236
MARION SCHULZ       16259 BELL AVE                                                                           EAST DETROIT    MI   48021‐1150
MARION SCHWAN       324 CLARANNA AVENUE                                                                      DAYTON          OH   45419‐1738
MARION SCOTT        801 CRANFORD AVE                                                                         LINDEN          NJ   07036‐1803
MARION SCREWS       7332 WHISPERING PINES DR                                                                 SHREVEPORT      LA   71129‐9411
MARION SEARS JR     122 HALL AVE APT 18             HILLSIDE APTS                                            MERIDEN         CT   06450‐7748
MARION SEDAM        3838 MANN RD                                                                             INDIANAPOLIS    IN   46221‐2426
MARION SETTLEMOIR   5677 DAVIS RD                                                                            KOKOMO          IN   46901‐9138
MARION SHAFER       316 INDIANA AVE                                                                          ARGOS           IN   46501‐1016
MARION SHAUN        8237 DEER SPRINGS WAY                                                                    LAS VEGAS       NV   89149‐4405
MARION SHAWLER      2500 ROSEANNE CT                                                                         FAIRBORN        OH   45324‐6347
MARION SHEFFEY      23050 MARLOW ST                                                                          OAK PARK        MI   48237‐2417
MARION SHEWMAKER    2054 ALGONAC DR                                                                          FLINT           MI   48532‐4505
MARION SHIFRIN      11584 PALLAS DR                                                                          BOYNTON BEACH   FL   33437
MARION SHIMEL       6809 DEEPWATER POINT RD                                                                  WILLIAMSBURG    MI   49690‐9535
MARION SHIRLEY      61 WILLHURST DR                                                                          ROCHESTER       NY   14606‐3247
MARION SHOOPMAN     295 VILLAGE LN APT 147                                                                   GREENWOOD       IN   46143‐2469
MARION SIDELL       433 DAN DR                                                                               IMLAY CITY      MI   48444‐1129
MARION SILLMAN      13131 SHADYBROOK LN                                                                      DEWITT          MI   48820‐9227
MARION SILVEY       5178 N 350 E                                                                             ANDERSON        IN   46012‐9531
MARION SIMPSON      THE MADEKSHO LAW FIRM           8866 GULF FREEWAY STE 440                                HOUSTON         TX   77017
MARION SIMS         6207 SC HIGHWAY 34‐121                                                                   NEWBERRY        SC   29108‐6642
MARION SINEGAR      8310 W RIDGE RD                                                                          ELYRIA          OH   44035‐4426
MARION SINGLETON    4553 HOPEWELL ROAD                                                                       ATLANTA         GA   30337‐5405
MARION SLAGLE       7176 NEW HORIZON AVE                                                                     ENON            OH   45323‐1535
MARION SLOBODA      4445 HACKETT RD                                                                          SAGINAW         MI   48603‐8633
MARION SLOTTA       586 SPARTON RD                                                                           TAWAS CITY      MI   48763‐9378
MARION SMITH        816 S SCHOOL ST                                                                          BROWNSBURG      IN   46112‐1678
MARION SMITH        223 MARSHMELLOW ST                                                                       WESTLAND        MI   48186‐6844
MARION SMITH        11741 SUSSEX ST                                                                          DETROIT         MI   48227‐2098
MARION SMITH        1205 HIGHWAY 138 E                                                                       STOCKBRIDGE     GA   30281‐4055
MARION SMITH        1845 BOSTON S. E.               MICHIGAN CHRISTIAN HOME                                  GRAND RAPIDS    MI   49506
MARION SMITH        PO BOX 971824                                                                            YPSILANTI       MI   48197‐0831
MARION SNEDACAR     14427 FAIRMOUNT DR                                                                       DETROIT         MI   48205‐1273
MARION SNODGRASS    8530 LITTLEFIELD ST                                                                      DETROIT         MI   48228‐2557
MARION SOKOL        400 LAMB AVE APT 119                                                                     CANASTOTA       NY   13032‐1054
MARION SPAYD        4640 6 MILE POND RD                                                                      ZEPHYRHILLS     FL   33541‐2121
MARION SPIECH       47047 COUNTY ROAD 665                                                                    PAW PAW         MI   49079‐9646
MARION SPRADLING    8891 E COUNTY ROAD 50 N                                                                  LOGANSPORT      IN   46947‐7833
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Name                             Address1                          Address2                    Address3   Address4         City                State Zip
MARION SPRING                    53 LEWIS ST                                                                               LOCKPORT             NY 14094‐4611
MARION STANSEL                   6728 TAYLORSVILLE RD                                                                      DAYTON               OH 45424‐3166
MARION STANTON                   1200 ORCHARD ST                                                                           OWOSSO               MI 48867‐4919
MARION STEBBINS JR               7472 ANTIETAM AVE                                                                         KEYSTONE HEIGHTS     FL 32656‐8250
MARION STEEL COMPANY/SCRAP DIV   PO BOX 1217                                                                               MARION               OH 43301‐1217
MARION STELLER                   1489 S GENEVIEVE ST                                                                       BURTON               MI 48509‐2401
MARION STENGER                   570 STAFFORD AVE APT 3C                                                                   BRISTOL              CT 06010‐4670
MARION STEPHENSON                306 E 7TH ST BOX 125                                                                      LAPEL                IN 46051
MARION STERN                     871 E WALTON BLVD                                                                         PONTIAC              MI 48340‐1363
MARION STEWART                   9613 JANET ST                                                                             TAYLOR               MI 48180‐3110
MARION STIDHAM                   2390 MELVIN AVE                                                                           ROCHESTER HLS        MI 48307‐4847
MARION STIDHAM                   1819 COUNTRY CLUB COVE DR                                                                 BAYTOWN              TX 77521‐1988
MARION STILES                    93 ROBIN DR                                                                               JEANNETTE            PA 15644
MARION STORMS                    1 IROQUOIS RD                                                                             OSSINING             NY 10562‐3806
MARION STOVALL TRUSTEE
MARION STUDDARD                  1158 MEDFORD AVE                                                                          INDIANAPOLIS        IN   46222‐3038
MARION STUDEBAKER                3614 W SIEBENTHALER AVE                                                                   DAYTON              OH   45406‐1536
MARION SULLIVAN                  13320 NEW HOPE WHITE OAK STN RD                                                           SABINA              OH   45171
MARION SUMMERS                   150 KOEHLER DR                                                                            SHARPSVILLE         PA   16150‐1606
MARION SURRETT                   PO BOX 116                                                                                ROMANCE             AR   72136‐0116
MARION SWANN                     420 SIMONTON CREST DRIVE                                                                  LAWRENCEVILLE       GA   30045‐3510
MARION SWANTEK JR                PO BOX 47                                                                                 OTTER LAKE          MI   48464‐0047
MARION SWEETING                  442 PAUL RD                                                                               ROCHESTER           NY   14624‐4726
MARION SZARO                     46 EAST 14TH. ST.                                                                         BAYONNE             NJ   07002
MARION SZTABA                    G‐3564 RIDGECLIFFE                                                                        FLINT               MI   48532
MARION T DRAKE                   101 CIRCLE COURT                                                                          COVINGTON           LA   70433
MARION T PRICHARD                PO BOX 591                                                                                THIEF RIVER FALLS   MN   56701
MARION TALARICO                  43 DELLWOOD RD                                                                            AMHERST             NY   14226‐2412
MARION TATE JR                   2457 KINGSGLEN CT                                                                         ATLANTA             GA   30360‐1651
MARION TAYLOR                    726 TAYLOR AVE                                                                            HURON               OH   44839‐2521
MARION TAYLOR                    1912 ADAMS ST                                                                             TILTON              IL   61833‐8207
MARION TAYLOR                    9112 N ELMS RD                                                                            CLIO                MI   48420‐8509
MARION TAYLOR SR                 C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                               HOUSTON             TX   77007
                                 BOUNDAS LLP
MARION TEAGUE                    22550 WATSON RD                                                                           DEFIANCE            OH   43512‐6700
MARION TEMPLETON                 9401 JACKSON RD                                                                           SAINT HELEN         MI   48656‐9630
MARION TEMPLIN                   PO BOX 274                                                                                KENNEDALE           TX   76060‐0274
MARION THOMAS                    3845 ADAMSVILLE DR SW                                                                     ATLANTA             GA   30331‐3708
MARION THOMAS                    17655 MANDERSON RD APT 209                                                                DETROIT             MI   48203‐4032
MARION THOMAS                    2646 FOREST HILL RD                                                                       BROOKSVILLE         KY   41004‐8746
MARION THOMPSON                  23 WILSON BLVD                                                                            JACKSON             NJ   08527‐3432
MARION TINCHER                   PO BOX 56                                                                                 AVOCA               IN   47420‐0056
MARION TINDALL                   12366 VOLPE DR                                                                            STERLING HTS        MI   48312‐5328
MARION TINSLEY JR                1580 KESSLER BOULEVARD WEST                                                               INDIANAPOLIS        IN   46228
MARION TOAL                      29627 BOEWE DR                                                                            WARREN              MI   48092‐2220
MARION TOLBIRT                   280 E 42ND ST                                                                             SAN BERNARDINO      CA   92404‐1319
MARION TREIBER                   4030 ALLEN COURT                                                                          BAY CITY            MI   48706‐2464
MARION TREMAIN                   2487 FOURMILE ROAD N                                                                      TRAVERSE CITY       MI   49686
MARION TRUCK LINE INC            1704 MARION UPPER SANDUSKY RD                                                             MARION              OH   43302‐1531
MARION TUCKER                    195 CARLISLE TER                                                                          PLAINFIELD          NJ   07062‐1518
MARION TURNER                    8711 WAVE CIR APT B                                                                       FORT WAYNE          IN   46825‐6661
MARION TURNER                    1842 DERBY DR                                                                             AUGUSTA             GA   30904‐5226
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Name                           Address1                         Address2                    Address3   Address4             City              State Zip
MARION TURNER                  8856 FISK RD                                                                                 AKRON              NY 14001‐9024
MARION UMAN                    14 LOUISE RD                                                                                 EDISON             NJ 08817‐3703
MARION UTILITY SERVICE BOARD   ATTN: UTILITY DIRECTOR           1540 N WASHINGTON ST                                        MARION             IN 46952‐1446
MARION V MICHALKOWSKI          UFERALLEE 18                                                            29549 BAD BEVENSEN
                                                                                                       GERMANY
MARION V NICOL                 4021 TRIWOOD LN                                                                              BRIDGEPORT        MI   48722‐9576
MARION V. MICHALKOWSKI         UFERALLEE 18                     29549 BAD BEVENSEN          GERMANY                         XX                OH   xxxxx
MARION V.MICHALKOWSKI          UFERALLEE 18                     29549 BAD BEVENSEN          GERMANY                         DUBLIN            OH   43017
MARION V.MICHALKOWSKI          UFERALLE 18                      29549 BAD BEVENSEN          GERMANY                         DUBLIN            OH   43017
MARION VAN CAMP                7200 E HOLLY RD                                                                              HOLLY             MI   48442‐9787
MARION VANDER LAAN             4915 RATTLESNAKE HAMMOCK RD      SUITE 178                                                   NAPLES            FL   34113
MARION VANOVER                 109 PICKFORD ST                                                                              NOVI              MI   48377‐1358
MARION VENTURA                 620 DOROTHY DR                                                                               BRUNSWICK         OH   44212‐2212
MARION VICKERS                 27797 COPELAND RD                                                                            TONEY             AL   35773‐8229
MARION VLAD                    19922 PATTON ST                                                                              DETROIT           MI   48219‐2051
MARION VYRSTA                  1300 MAZEPA TRL                                                                              PARMA             OH   44134‐4879
MARION W HUTCHENS              7520 W COUNTY ROAD 550 S                                                                     DALEVILLE         IN   47334
MARION W JOHNSON               3234 MYAKKA RIVER RD                                                                         TAVARES           FL   32778‐5158
MARION W KOSINSKI              3038 KETTERING HTS                                                                           FLINT             MI   48507‐4521
MARION WADE                    5164 COLLINGTON DR                                                                           TROY              MI   48098‐2433
MARION WALKER                  9535 E M 21                                                                                  OVID              MI   48866‐8400
MARION WALL                    114 BEAUMONT DR                  C/O JOHN FAIRCHILD                                          BATTLE CREEK      MI   49014‐8276
MARION WALLACE                 4861 DRIFTWOOD DR                                                                            LIVERPOOL         NY   13088‐5840
MARION WALLACE                 2227 LISTON AVE                                                                              COLUMBUS          OH   43207‐2835
MARION WALTERS                 RR I                                                                                         COVINGTON         IN   47932
MARION WALTMIRE                2120 HAMILTON RD                                                                             PRINCETON         KS   66078‐9063
MARION WARD JR.                2040 ADDITION AVE                                                                            SHREVEPORT        LA   71107‐5001
MARION WASHINGTON              4975 W BOULEVARD DR                                                                          FLINT             MI   48505‐3056
MARION WASHINGTON JR           1514 TULANE CIR                                                                              FLINT             MI   48503‐5251
MARION WATER CONDITIONING      CULLIGAN WATER CONDITIONING      310 W 1ST ST                                                MARION            IN   46952‐3853
MARION WATER CONDITIONING      310 W 1ST ST                                                                                 MARION            IN   46952‐3853
MARION WATKINS                 402 BLACKFOOT DR                                                                             CROSSVILLE        TN   38572‐1503
MARION WATSON                  8123 BRADDOCK DR                                                                             SAINT LOUIS       MO   63130‐1238
MARION WATSON                  907 LINCOLN ST                                                                               LINDEN            NJ   07036‐2147
MARION WAXELL                  391 IRONS PARK DR                                                                            WEST BRANCH       MI   48661‐9461
MARION WEINERT                 568 MALLARD ST                                                                               ROCHESTER HILLS   MI   48309‐3522
MARION WHELAN                  1016 MILWAUKEE AVE               C/O KINDCARE INC                                            SOUTH MILWAUKEE   WI   53172‐2006
MARION WHITE                   435 CHERRY ST                                                                                WAYNESBURG        PA   15370‐1554
MARION WHITE                   8406 LAKE RD                                                                                 BARKER            NY   14012‐9608
MARION WHITE                   51220 LANDMARK                                                                               BELLEVILLE        MI   48111‐4462
MARION WHITEHEAD               302 HICKORY RDG                                                                              MOUNT MORRIS      MI   48458‐9103
MARION WHITLOCK                4481 LOOS CIR W                                                                              COLUMBUS          OH   43214‐2439
MARION WILCOX                  1985 MISSAUKEE RD                                                                            SAINT HELEN       MI   48656‐9726
MARION WILCZYNSKI              2805 GROVELAND RD                                                                            ORTONVILLE        MI   48462‐8891
MARION WILHELM                 12282 S HEMLOCK RD                                                                           BRANT             MI   48614‐9712
MARION WILLIAMS                225 SUNSET AVE APT 1L                                                                        NEWARK            NJ   07106
MARION WILLIAMS                3617 N 3RD ST                                                                                MILWAUKEE         WI   53212‐4111
MARION WILLIAMS                24855 CORBIN DR                                                                              ELKHART           IN   46514‐6375
MARION WILLIAMS                THE MADEKSHO LAW FIRM            8866 GULF FREEWAY STE 440                                   HOUSTON           TX   77017
MARION WILSON                  3301 CAPITOL WAY                                                                             HIGHLAND          MI   48356‐1603
MARION WILSON                  100 WELLINGTON DR                                                                            MCDONOUGH         GA   30252‐2903
MARION WINGER                  43 N PARRISH DR                                                                              AMHERST           NY   14228‐1478
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Name                       Address1                          Address2                   Address3    Address4         City                  State Zip
MARION WINT                6589 STERLING CT                                                                          GARDEN CITY            MI 48135‐2547
MARION WISE                153 E BOYER ST                                                                            WADSWORTH              OH 44281‐2101
MARION WITHERSPOON         3105 CHERRY CREEK LN                                                                      STERLING HEIGHTS       MI 48314‐1023
MARION WIZEVICH            138 ROBIN HILL RD                                                                         MERIDEN                CT 06450‐2447
MARION WOMENS DEPARTMENT   ATTN MARGARET WILSON              110 N E ST                                              MARION                 IN 46952‐3645
MARION WOOD                803 OHIO ST                                                                               COLLINSVILLE            IL 62234‐4524
MARION WOOLS               6818 FAIRVIEW ST                                                                          ANDERSON               IN 46013‐3602
MARION WRIGHT              24906 S CEDAR LN                                                                          CLAREMORE              OK 74019‐4303
MARION WROOK               9922 PEAKE RD                                                                             PORTLAND               MI 48875‐8424
MARION YACCICK             24435 HERITAGE DR                                                                         WOODHAVEN              MI 48183‐3767
MARION YORK                214 PORTLAND AVE                                                                          JAMESTOWN              TN 38556‐7506
MARION YOW                 1264 NORSWORTHY RD                                                                        KIRKSEY                KY 42054‐9001
MARION ZAWARTKA            434 DREW ST                                                                               BALTIMORE              MD 21224‐2716
MARION ZWINSKI             526 HYATT AVE                                                                             CAMPBELL               OH 44405‐1442
MARION, BARBARA J          104 COULTER CT                                                                            LAPEER                 MI 48446
MARION, BARRETT C          81 EMERALD AVE                                                                            STREETSBORO            OH 44241‐4118
MARION, BEVERLY M          37 LEPERE COURT                                                                           DUPO                    IL 62239
MARION, BEVERLY M          37 LEPERE CT                                                                              DUPO                    IL 62239‐1813
MARION, CHARLES A          3686 E 250 S                                                                              WABASH                 IN 46992‐8946
MARION, CHARLES G          13195 SE 48TH TER                                                                         BELLEVIEW              FL 34420‐5063
MARION, COTIS              18448 ASBURY PARK                                                                         DETROIT                MI 48235‐3005
MARION, DANA L             309 RUDDLE AVE                                                                            ANDERSON               IN 46012‐3341
MARION, DIANE              2175 STOCKWELL RD APT 215                                                                 BOSSIER CITY           LA 71111‐5774
MARION, DIANE              2175 STOCKWELL RD                 APT 215                                                 BOSSIER CITY           LA 71111‐5774
MARION, DONNIE L           8721 WOODSMAN DR                                                                          WASHINGTON             MI 48094‐1629
MARION, ELIZABETH A        2831 WINTERGREEN DR                                                                       FLORISSANT             MO 63033‐1132
MARION, FRANCES J          1147 OAKLAWN DR                                                                           PONTIAC                MI 48341‐3600
MARION, GEORGETTE          10 WOODLAWN AVE 202                                                                       MASSENA                NY 13662
MARION, GILDA              6402 BONANZA LN                                                                           INDIANAPOLIS           IN 46254‐1808
MARION, GROVER T           1085 W FAIR OAKS RD                                                                       NEW CASTLE             IN 47362‐9684
MARION, GROVER TERRY       1085 W FAIR OAKS RD                                                                       NEW CASTLE             IN 47362‐9684
MARION, HAROLD L           359 MCMILLAN RD                                                                           GROSSE POINTE FARMS    MI 48236‐3417
MARION, HELEN E            30630 RIDGE RD RM 10                                                                      WICKLIFFE              OH 44092
MARION, HENRIETTA K        2605 RIVERSIDE EAST DRIVE                                                                 INDIANAPOLIS           IN 46208‐5270
MARION, HENRIETTA K        2605 E RIVERSIDE DR                                                                       INDIANAPOLIS           IN 46208‐5270
MARION, HUGH C             370 CALVARY HILL RD                                                                       HEDGESVILLE            WV 25427‐5666
MARION, JAMES E            PO BOX 345                                                                                HENRIETTA              NY 14467‐0345
MARION, JAMES G            3894 FLINT RIVER RD                                                                       COLUMBIAVILLE          MI 48421‐9755
MARION, JAYCEE             35 MOHAWK RD                                                                              PONTIAC                MI 48341‐1121
MARION, JAYMES V           2305 MILTON PL                                                                            NEWARK                 DE 19702‐4442
MARION, JOHN               1332 CLAUDINE DR                                                                          SAINT LOUIS            MO 63138‐2326
MARION, JONATHAN L         12340 MISSILE LANE                                                                        FLORISSANT             MO 63033‐4902
MARION, JOSEPH P           1701 FOX KNLS                                                                             LEONARD                MI 48367‐4446
MARION, JUDITH A           550 WAYSIDE DR APT A205                                                                   TURLOCK                CA 95380‐2564
MARION, KAREN E            1455 CAPE CORAL WAY                                                                       PORTAGE                MI 49002‐3936
MARION, KRISTINE           COOK YSURA BARTHOLOMEW BRAUER &   12 W LINCOLN ST                                         BELLEVILLE              IL 62220‐2018
                           SHELVIN LTD
MARION, KRISTINE           GOLDFINE & BOWLES                 BANK ONE BLDG, SUITE 700                                PEORIA                IL   61602
MARION, LEWIS A            4288 CLYDESDALE AVE                                                                       BALTIMORE             MD   21211‐1514
MARION, LEWIS A            9216 AVONDALE RD                                                                          BALTIMORE             MD   21234‐3226
MARION, LEWIS ANDREW       9216 AVONDALE RD                                                                          BALTIMORE             MD   21234‐3226
MARION, LUTHER R           617 WARREN AVE                                                                            FLUSHING              MI   48433‐1458
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Name                       Address1                        Address2                      Address3                     Address4         City               State Zip
MARION, LUTHER REUBEN      617 WARREN AVE                                                                                              FLUSHING            MI 48433‐1458
MARION, MARCEL R           ST REGIS NURSING HOME           89 GROVE ST                                                                 MASSENA             NY 13662‐2618
MARION, MARCEL R           89 GROVE ST                     ST. REGIS NURSING HOME                                                      MASSENA             NY 13662‐2615
MARION, MARGIE J           4412 GENESEE AVE                                                                                            DAYTON              OH 45406‐3215
MARION, MARJORIE D         42135 OLD POND CIR                                                                                          PLYMOUTH            MI 48170‐2573
MARION, MARLENE C          64 S ARDMORE ST                                                                                             PONTIAC             MI 48342‐2800
MARION, MATTHEW            5350 PONTIAC LAKE RD                                                                                        WATERFORD           MI 48327‐2471
MARION, MICHAEL
MARION, MICHAEL P          2034 KOEHNE ST                                                                                              INDIANAPOLIS       IN   46202‐1042
MARION, ORA G              8145 S RACEWAY RD                                                                                           CAMBY              IN   46113‐9235
MARION, PAUL E             3872 S LAUREL CT                                                                                            BLOOMINGTON        IN   47401‐9625
MARION, PAUL EDMOUR        3872 S LAUREL CT                                                                                            BLOOMINGTON        IN   47401‐9625
MARION, PEGGY              8145 SOUTH RACEWAY ROAD                                                                                     CAMBY              IN   46113‐9235
MARION, ROGER A            6629 NIAGARA ST                                                                                             ROMULUS            MI   48174‐4326
MARION, RONALD C           6698 REED RD                                                                                                PITTSBORO          IN   46167‐9599
MARION, RUSSELL W          104 COULTER CT                                                                                              LAPEER             MI   48446‐7739
MARION, TRAVISTINE         PO BOX 172                                                                                                  ROMULUS            MI   48174
MARION, WALTER             PO BOX 6804                                                                                                 LAWTON             OK   73506‐0804
MARION, WILLIAM E          9349 E O AVE                                                                                                KALAMAZOO          MI   49048‐9671
MARION, WILLIAM F          184 YORK RD                                                                                                 MARTINSBURG        WV   25403‐2371
MARION, WILLIAM P          13 TABER CT                                                                                                 STAFFORD           VA   22556‐8010
MARIONI, CONSTANTIN        3045 PARADISE AVE                                                                                           CANFIELD           OH   44406‐9158
MARIONS PIAZZA             721 SHROYER RD                                                                                              DAYTON             OH   45419‐3611
MARIOS NICOLAOU            3358 UPLAND RD                                                                                              LOWELLVILLE        OH   44436‐9714
MARIOS TSANGARIDES         1517 ROYAL CRESCENT ST                                                                                      ROCHESTER HILLS    MI   48306‐4055
MARIOTT, JOHN A            2437 BINGHAM RD                                                                                             CLIO               MI   48420‐1971
MARIOTT, STEVE R           114 W 6TH ST                                                                                                WEWOKA             OK   74884‐3104
MARIOTTI ROBERT            12815 BIRKENSTOCK STREET                                                                                    CARMEL             IN   46032‐7095
MARIOTTI, ANTHONY J        1440 WINDWARD WAY                                                                                           NILES              OH   44446‐3547
MARIOTTI, DAVID            KROHN & MOSS ‐ FL               5975 W SUNRISE BLVD STE 215                                                 PLANTATION         FL   33313‐6813
MARIOTTI, EVA P            5521 ARDEN AVE                                                                                              WARREN             MI   48092‐1192
MARIOTTI, JIM                                              HANDELMAN & WITKOWICZ         410 REYNOLDS ARCADE BLDG ,                    ROCHESTER          NY   14614
                                                                                         16 EAST MAIN ST
MARIOTTI, MARLENE J        1440 WINDWARD WAY                                                                                           NILES              OH   44446‐3547
MARIROSE MASSIMINO         4039 N MEADOW LN LOT #454                                                                                   MOUNT MORRIS       MI   48458
MARIRUTH FORKNER           3141 W STATE ROAD 28                                                                                        TIPTON             IN   46072‐9102
MARIS MC CLURE             21123 TOWNWOOD DR                                                                                           CORNELIUS          NC   28031‐9628
MARIS PIZIKS               2847 BRAEBURN CIR                                                                                           ANN ARBOR          MI   48108‐2607
MARIS SYSTEMS DESIGN INC   6 TURNER DR                                                                                                 SPENCERPORT        NY   14559‐1931
MARIS, CHERYL K            613 N BIRCH AVE                                                                                             VALLEY CENTER      KS   67147‐2624
MARIS, CHERYL K            1412 SUGAR MILL CT                                                                                          RUSSIAVILLE        IN   46979‐9489
MARIS, CLARENCE R          8018 HILLS PKWY                                                                                             MONTGOMERY         TX   77316‐9515
MARIS, CLARENCE R          720 VICKSBURG COURT                                                                                         CONROE             TX   77302‐3836
MARIS, MARTHA L            2974 LAMPLIGHTER CT                                                                                         KOKOMO             IN   46902‐8132
MARISA A ALEXANDER         51 SPARLING DRIVE                                                                                           ROCHESTER          NY   14616‐3101
MARISA A DAVIS             1253 E MARKET ST                                                                                            GERMANTOWN         OH   45327
MARISA A MILONE            751 HOWLAND WILSON RD SE                                                                                    WARREN             OH   44484‐2513
MARISA BAHN                5361 WOODVIEW DR                                                                                            BLOOMFIELD HILLS   MI   48302‐2571
MARISA CULLENS             30816 CHEVIOT HILLS DR                                                                                      FRANKLIN           MI   48025‐1572
MARISA GARZA               6224 DAFT ST                                                                                                LANSING            MI   48911‐5505
MARISA INDUST/ROCH H       2917 WATERVIEW DR                                                                                           ROCHESTER HILLS    MI   48309‐4600
MARISA INDUSTRIES INC      ROGER W. CLARK                  24400 SHERWOOD                                                              BYRON CENTER       MI   49315
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Name                                  Address1                        Address2                         Address3                 Address4         City               State Zip
MARISA INDUSTRIES INC                 ROGER W. CLARK                  26020 SHERWOOD AVE                                                         WARREN              MI 48091‐1252
MARISA PAPPALARDO                     11836 LARKINS RD                                                                                           BRIGHTON            MI 48114‐9008
MARISA REYES                          1401 HIGHWAY 360 APT 1017                                                                                  EULESS              TX 76039‐5240
MARISA SAMAIA                         85‐11 67TH DRIVE                                                                                           REGO PARK           NY 11374
MARISA SMITH                          373 HYATT AVE                                                                                              CAMPBELL            OH 44405‐1437
MARISA VAN DE WATER                   6308 COVERED WAGONS TRL                                                                                    FLINT               MI 48532‐2113
MARISA, ANNE                          16 SETTLEMENT RD                                                                                           ITHACA              NY 14850‐6374
MARISABEL COLE                        1886 HIDDEN TRAIL LN                                                                                       WESTON              FL 33327‐1456
MARISAV SAVIC                         11600 TERRITORIAL RD                                                                                       MUNITH              MI 49259‐9508
MARISCAL, FRANCISCO                   3235 HEGLIS AVE                                                                                            ROSEMEAD            CA 91770‐2823
MARISCAL, FRANK                       3235 HEGLIS AVE                                                                                            ROSEMEAD            CA 91770‐2823
MARISCAL, JAIME A                     PO BOX 680781                                                                                              FRANKLIN            TN 37068‐0781
MARISCAL, LINDA                       PO BOX 392                                                                                                 BRENTWOOD           CA 94513‐0392
MARISCAL, LINDA                       P.O. BOX 3892                                                                                              BRENTWOOD           CA 94513
MARISCAL, SALLY                       RUSSELL LEON R                  3102 OAK LAWN AVE STE 600                                                  DALLAS              TX 75219‐4271
MARISCHEN, CHAS F                     3880 STOCKEN HILL ROAD          103‐295                                                                    KINGMAN             AZ 86409
MARISE LYCKA MURPHY                   13445 SHIPPY RD SW                                                                                         FIFE LAKE           MI 49633‐8109
MARISEL HERNANDEZ                     40732 OLIVET DR                                                                                            STERLING HEIGHTS    MI 48313‐4342
MARISELA R MANDUJANO                  C/O WIGINGTON RUMLEY DUNN LLP   800 N SHORELINE BLVD             14TH FLOOR SOUTH TOWER                    CORPUS CHRISTI      TX 78401
MARISHA R LEWIS                       2811 MCCALL                                                                                                DAYTON              OH 45417‐2029
MARISI, RONALD J                      PO BOX 315                                                                                                 COLLEGE GROVE       TN 37046‐0315
MARISOL CRUZ                          74 COBB TERRACE                                                                                            ROCHESTER           NY 14620
MARISOL GONZALEZ                      175 REED AVE                                                                                               CAMPBELL            OH 44405‐1753
MARISOL GONZALEZ                      322 EMERY AVE                                                                                              YOUNGSTOWN          OH 44507‐1515
MARISOL HERNANDEZ                     1992 PALMS ST                                                                                              DETROIT             MI 48209‐1644
MARISOL INC                           125 FACTORY LN                                                                                             MIDDLESEX           NJ 08846‐1043
MARISOL MCCORMICK                     1200 STONEBROOKE DR                                                                                        HOWELL              MI 48843‐9707
MARISOL RAMOS                         905 FRIENDSHIP ST                                                                                          PHILADELPHIA        PA 19111
MARISON INDUSTRIES INC                1100 ALEXANDER CT                                                                                          CARY                 IL 60013‐1892
MARISON INDUSTRIES INC                DEPT 77 3085                                                                                               CHICAGO              IL 60678‐3085
MARISSA DURETTE PERSONAL              MARISSA DURETTE                 C/O BRAYTON PURCELL              222 RUSH LANDING RD                       NOVATO              CA 94948‐6169
REPRESENTATIVE FOR DAVID DURETTE SR

MARISSA GAY                           307 PARIS PL                                                                                               BOSSIER CITY       LA   71111‐8215
MARISSA HITE                          26 OAK MEADOW                                                                                              EVANSVILLE         IN   47725
MARISSA KINSMAN                       3959 W MAPLE RD                                                                                            WIXOM              MI   48393‐1711
MARISSA PAUL                          4194 VERA CT                                                                                               STERLING HEIGHTS   MI   48310‐6300
MARISSA RUSSELL                       12705 GUARDIAN BLVD                                                                                        CLEVELAND          OH   44135‐2257
MARISSIA M MANN                       4447 HILLCREST                                                                                             BELLBROOK          OH   45305‐1424
MARIST COLLEGE                        OFFICE OF STUDENT ACCOUNTS                                                                                 POUGHKEEPSIE       NY   12601
MARISTCH, DONALD R                    2223 JAMAICA DR                                                                                            WILMINGTON         DE   19810‐2827
MARISTCH, DONALD RAYMOND              2223 JAMAICA DR                                                                                            WILMINGTON         DE   19810‐2827
MARITA A ESTOCK                       1780 HOFIUS LANE                                                                                           HERMITAGE          PA   16148‐2920
MARITA C TICHY                        C/O RICHARD L DEMSEY CO., LPA   1350 EUCLID AVENUE, SUITE 1550                                             CLEVELAND          OH   44115
MARITA CAR RENTAL DBA BUDGET          3999 GENESEE ST                                                                                            CHEEKTOWAGA        NY   14225‐1901
MARITA JOYCE BIXLER                   MOTLEY RICE LLC                 28 BRIDGESIDE BLVD               PO BOX 1792                               MT PLEASANT        SC   29465
MARITA SOCIE                          62 RIDGEDALE CIR                                                                                           TONAWANDA          NY   14150‐4229
MARITA STOKFISZ                       23331 SEXTON ST                                                                                            DEARBORN HEIGHTS   MI   48127‐2349
MARITAL TRUST U/W LIONEL TOLL         31 SHAWNEE RD                                                                                              SCARSDALE          NY   10583
MARITCZAK, KELLY C                    36219 POMPANO DR                                                                                           STERLING HEIGHTS   MI   48310‐7501
MARITES DELOSSANTOS                   675 SEWARD ST APT 421                                                                                      DETROIT            MI   48202‐4445
MARITHA GORDON                        165 WOLCOTT AVENUE                                                                                         ROCHESTER          NY   14606‐3918
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Name                                 Address1                          Address2             Address3         Address4                 City               State Zip
MARITIME MOTORS OF FAIRFIELD, INC.   ATTN: J PETER MORLEY, PRESIDENT   985 POST RD                                                    FAIRFIELD           CT 06824‐6013
MARITIME MOTORS OF FAIRFIELD, INC.   985 POST RD                                                                                      FAIRFIELD           CT 06824‐6013
MARITIME MOTORS OF FAIRFIELD, INC.   JAMES MORLEY                      985 POST RD                                                    FAIRFIELD           CT 06824‐6013
MARITIME ONTARIO FREIGHT LINE        1115 CARDIFF BLVD                                                       MISSISSAUGA ON CANADA
MARITZ                               MARITZ INC                        1375 N HIGHWAY DR                                              FENTON             MO 63099‐0001
MARITZ                               JOHN KRATKIEWICZ                  1375 N HIGHWAY DR                                              FENTON             MO 63099‐0001
MARITZ                               1740 INDIAN WOOD CIR                                                                             MAUMEE             OH 43537‐4005
MARITZ CANADA INC                    6900 MARITZ DR                                                          MISSISSAUGA CANADA ON
                                                                                                             L5W 1L8 CANADA
MARITZ CANADA INC.                   6900 MARITZ DR                                                          MISSISSAUGA ON L5W 1L8
                                                                                                             CANADA
MARITZ COMM/STHFIELD                 1000 TOWN CTR STE 1100                                                                           SOUTHFIELD         MI 48075‐1227
MARITZ GMBH                          GOLTSTEINSTR 28                                                         DUSSELDORF D‐40211
                                                                                                             GERMANY
MARITZ INC                           1375 N HIGHWAY DR                                                                                FENTON             MO   63099‐0001
MARITZ INC                           1000 TOWN CTR STE 1100                                                                           SOUTHFIELD         MI   48075‐1227
MARITZ INC                           1365 N HIGHWAY DR                                                                                FENTON             MO   63099‐0001
MARITZ INC                           1740 INDIAN WOOD CIR                                                                             MAUMEE             OH   43537‐4005
MARITZ INC
MARITZ MARKET/TOLEDO                 1740 INDIAN WOOD CIR                                                                             MAUMEE             OH   43537‐4005
MARITZ MARKETING RESEARCH            1740 INDIAN WOOD CIR                                                                             MAUMEE             OH   43537‐4005
MARITZ MARKETING RESEARCH INC        1740 INDIAN WOOD CIR              PO BOX 100218                                                  TOLEDO             OH   43699
MARITZ MARKETING RESEARCH INC        1000 TOWN CTR STE 1100                                                                           SOUTHFIELD         MI   48075‐1227
MARITZ PERFORMANCE IMPROVEMENT       1355 N HIGHWAY DR                                                                                FENTON             MO   63026‐1929
CO.
MARITZ RESEARCH INC                  MARITZ INC                        1297 N HIGHWAY DR                                              FENTON             MO   63099‐0001
MARITZ RESEARCH INC                  1365 N HIGHWAY DR                                                                                FENTON             MO   63099‐0001
MARITZ TRAVEL COMPANY                1395 N HIGHWAY DR                                                                                FENTON             MO   63099‐0001
MARITZ, INC.                         1375 N HIGHWAY DR                                                                                FENTON             MO   63099‐0001
MARITZ, INC.                         1400 S HIGHWAY DR                                                                                FENTON             MO   63026‐2281
MARITZA GARCIA                       111 FALCON LN                                                                                    WILMINGTON         DE   19808‐1937
MARITZA MARTINEZ                     811 FONDREN DR                                                                                   ARLINGTON          TX   76001‐7591
MARITZA RIOS                         P O BOX 2500 SUITE 775                                                                           TOA BAJA           PR   00951
MARIUCCI, FRANCIS                    4545 COUNTY ROAD 116                                                                             WILDWOOD           FL   34785‐8937
MARIUM ERICKSON                      9623 N WAYNE AVE                                                                                 KANSAS CITY        MO   64155‐2175
MARIUS AMIOT INC.                    350 2E RUE E                                                            RIMOUSKI QC G5L 7J4
                                                                                                             CANADA
MARIUS EGGELMEYER JR                 23801 MAPLE RIDGE RD                                                                             NORTH OLMSTED      OH 44070‐1350
MARIUS FISCHER                       HEILBRONNER STR 19                                                      74172 NECKARSULM
                                                                                                             GERMANY
MARIUS FORGACIU                      2060 CURTIS RD                                                                                   ADDISON TWP        MI 48367‐2000
MARIUS HICKS                         2110 GREGORY AVE                                                                                 YOUNGSTOWN         OH 44511‐2206
MARIUS INNERKOFLER                   VIA NICOLODI 25/5                 39100 BOLZANO
MARIUS INNERKOFLER & BRIGITTE        VIA NICOLODI AURELIO, 25/5 IT                                           39100 BOLZANO ITALY
SCARIZUOLA
MARIUS JESPER DOHRMANN               DR. JORG DOHRMANN                 FRIEDHOFSWEG 2                        27333 BUCKEN GERMANY
MARIUSZ MIREK                        11194 OLD BARN TRL                                                                               EATON RAPIDS       MI 48827‐8701
MARIUSZ RUS
MARIXSA GONZALEZ                     35 KINMONT DR                                                                                    ROCHESTER          NY   14612
MARIZA LAFFIN                        1374 CONGE DR                                                                                    BLOOMFIELD HILLS   MI   48304‐3005
MARJA BROUWERS                       5254 JACKS TRAIL                                                                                 TRAVERSE CITY      MI   49684
MARJANETTE JOHNSON‐SYERS             300 S MAIN ST APT 126                                                                            DAVISON            MI   48423‐1639
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Name                              Address1                          Address2              Address3                   Address4            City               State Zip
MARJANNA DANIEL                   36300 N PRICE DR                                                                                       CLINTON TOWNSHIP    MI 48035‐1857
MARJARIE SCHROEDER                16051 SCHROEDER RD                                                                                     BRANT               MI 48614‐8782
MARJEAN DOLAN                     2494 CLAYWARD DR                                                                                       BURTON              MI 48509‐1058
MARJEAN G SPENCER                 160 BELLE VISTA DR                                                                                     HUBBARD             OH 44425‐2161
MARJEAN HICKS                     15024 STRATHMOOR ST                                                                                    DETROIT             MI 48227‐2934
MARJEAN SPENCER                   160 BELLE VISTA AVE                                                                                    HUBBARD             OH 44425‐2161
MARJI, MAJED                      8424 DIXIE LN                                                                                          DEARBORN HEIGHTS    MI 48127‐1311
MARJIE SARGENT                    PO BOX 94                                                                                              LAKE CITY           AR 72437‐0094
MARJIE SCHLAUD                    861 E MILLINGTON RD                                                                                    MAYVILLE            MI 48744‐9326
MARJO MARKS                       1206 CAMELLIA DR                                                                                       MOUNT MORRIS        MI 48458‐2800
MARJO PLASTICS CO INC             1081 CHERRY                                                                                            PLYMOUTH            MI 48170‐1304
MARJO PLASTICS COMPANY, INC       1081 CHERRY                                                                                            PLYMOUTH            MI 48170‐1304
MARJON INC DBA HERTZ RENT A CAR   511 W SOUTH ST                                                                                         FREDERICK           MD 21701‐6241
MARJORE A DANIEL                  5145 SIXTH AVE SOUTH                                                                                   BIRMINGHAM          AL 35212
MARJORIE A & RAYNER MARCHAL       1932 320TH ST                                                                                          WOOLSTOCK            IA 50599
MARJORIE A ADAMS                  7190 POST TOWN RD                                                                                      DAYTON              OH 45426
MARJORIE A COMBS                  2118 MEADOW LN                                                                                         ARCANUM             OH 45304
MARJORIE A DIEHL                  31 LYNBROOK RD                                                                                         WILMINGTON          DE 19804‐2668
MARJORIE A DUNKERTON              685 REX BLVD N.W.                                                                                      WARREN              OH 44483‐3131
MARJORIE A HEYSTEK                6501 BAYRIDGE RD                                                                                       MOUND               MN 55364‐9527
MARJORIE A MILLER                 2075 BRICK SCHOOL HOUSE RD                                                                             HILTON              NY 14468‐9109
MARJORIE A MOFFIT                 3289 WHITETAIL LN                                                                                      OWOSSO              MI 48867‐9225
MARJORIE A PENN                   TOD J G PENN, M K PARELL          J R PENN, N A SELBY   SUBJECT TO STA TOD RULES   P.O. BOX 95         EDMOND              OK 73083
MARJORIE A THROCKMORTON           2035 MAHAN DENMAN RD NW                                                                                BRISTOLVILLE        OH 44402‐9740
MARJORIE ABLES                    HC 71 BOX 236                                                                                          KINGSTON            OK 73439‐9752
MARJORIE ADAIR                    2545 DANA LN                                                                                           ANDERSON            IN 46013‐9611
MARJORIE ALAIMO                   90 TOWPATH LN                                                                                          ROCHESTER           NY 14618‐4545
MARJORIE ALDER                    6245 TREASURE VALLEY LOOP         LOT #126                                                             LAKE WALES          FL 33898
MARJORIE ALDERMAN                 400 CHINKAPIN TRL                                                                                      LAPEER              MI 48446‐4176
MARJORIE ALEXANDER                1192 TANGLEWOOD LN                                                                                     BURTON              MI 48529‐2229
MARJORIE ALLEN                    513 E CLARK ST APT 5                                                                                   DAVISON             MI 48423‐1847
MARJORIE ANDERSON                 101 COLUMBIA ST APT 312                                                                                CORNING             NY 14830‐2826
MARJORIE ANDERSON                 6000 2ND ST E APT 14                                                                                   ST PETE BEACH       FL 33706‐3738
MARJORIE ANDREWS                  3476 STATE RD W                                                                                        MACKS CREEK         MO 65786‐9247
MARJORIE ANSLOW                   222 E JEFFERSON ST                                                                                     GERMANTOWN          OH 45327‐1461
MARJORIE ARMBRUSTER               41021 OLD MICHIGAN AVE TRLR 156                                                                        CANTON              MI 48188‐2724
MARJORIE ARMSTRONG                3225 PALM DR                                                                                           DAYTON              OH 45449‐2929
MARJORIE ARNETT                   3901 TULIP LN                                                                                          KOKOMO              IN 46902‐7133
MARJORIE ASHKER                   19230 FORD RD APT 413                                                                                  DEARBORN            MI 48128‐2005
MARJORIE AUGUST                   42000 7 MILE ROAD                                                                                      NORTHVILLE          MI 48167
MARJORIE AUMAN                    4522 STATE RTE 516 NW                                                                                  DOVER               OH 44622
MARJORIE B HESS                   6988 MCKEAN RD LOT 20                                                                                  YPSILANTI           MI 48197‐9734
MARJORIE B SAUNDERS TTE CHARLES   82 CIRCLE DR                                                                                           ROSLYN HTS          NY 11577
SHAW TRUST
MARJORIE B SMITH                  2590 HIGHWAY 51 NE                                                                                     WESSON             MS   39191
MARJORIE B WARREN                 465 GYPSY LN APT 412                                                                                   YOUNGSTOWN         OH   44504
MARJORIE BAKER                    3850 GOVERNORS CIR                                                                                     LOGANVILLE         GA   30052‐2944
MARJORIE BAKER                    2076 MATTIS DR                                                                                         DAYTON             OH   45439‐2649
MARJORIE BAKER‐HALL               5508 BUNNELL HILL RD                                                                                   LEBANON            OH   45036‐9790
MARJORIE BALDWIN                  2423 WILDWOOD                                                                                          GRAND BLANC        MI   48439
MARJORIE BALDWIN                  867 UPPER MOUNTAIN RD                                                                                  LEWISTON           NY   14092‐2238
MARJORIE BARKER                   671 COUNTTY RD 4845                                                                                    WINNSBORO          TX   75494
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Name                      Address1                       Address2                   Address3    Address4         City             State Zip
MARJORIE BARNES           2127 N 300 E                                                                           ANDERSON          IN 46012‐9404
MARJORIE BARNES           515 SOUTH DESPELDER STREET                                                             GRAND HAVEN       MI 49417‐1962
MARJORIE BARNES           10307 SW LETTUCE LK AVE        OAK HAVEN PARK M232                                     ARCADIA           FL 34269
MARJORIE BARRY            401 BENJAMIN RD                                                                        STAMFORD          NY 12167‐2407
MARJORIE BARTHELEMY       519 S WABASH AVE                                                                       KOKOMO            IN 46901‐6334
MARJORIE BASSHAM          4173 HAZEL ST                                                                          BURTON            MI 48519‐1758
MARJORIE BEARD            56188 WILBUR RD                                                                        THREE RIVERS      MI 49093‐8112
MARJORIE BECK             C/O JANET L JOHNSON            1017 GLEN ARBOR CT                                      CENTERVILLE       OH 45459
MARJORIE BEHNKE           7325 S FORK DR                                                                         SWARTZ CREEK      MI 48473‐9760
MARJORIE BELL             1148 TROTWOOD LN                                                                       FLINT             MI 48507‐3711
MARJORIE BELL             7560 MILLBROOK                                                                         BLANCHARD         MI 49310
MARJORIE BENGTSON         10165 E KENSINGTON DR                                                                  TUCSON            AZ 85748‐6777
MARJORIE BENNETT          77062 LAUPPE LN                                                                        CITRUS HTS        CA 95621‐2045
MARJORIE BERGEY           1230 PINE POINT DR                                                                     LEWISTON          MI 49756
MARJORIE BERLIN           7507 ELIZABETH CT                                                                      SWARTZ CREEK      MI 48473‐1468
MARJORIE BETTERIDGE       5714 N GOLDFINCH DR NE                                                                 BELMONT           MI 49306‐9627
MARJORIE BIGGS            3480 14 MILE RD NW                                                                     SPARTA            MI 49345‐9364
MARJORIE BIXLER           6 NONA DR                                                                              TROTWOOD          OH 45426‐3011
MARJORIE BLACKBURN        13905 WEST COLONIAL DRIVE      LOT 72                                                  WINTER GARDEN     FL 34787
MARJORIE BLAKELY          608 W CHISHOLM ST APT 2                                                                ALPENA            MI 49707‐5409
MARJORIE BLAKLEY          LOT 37                         9575 DEVILS LAKE HIGHWAY                                MANITOU BEACH     MI 49253‐9674
MARJORIE BLANSON          32510 US HIGHWAY 411                                                                   ASHVILLE          AL 35953‐3632
MARJORIE BLOOM            252 LEONA ST APT 103                                                                   VASSAR            MI 48768‐1582
MARJORIE BODELL           365 N BRADLEY RD                                                                       CHARLOTTE         MI 48813‐9551
MARJORIE BOHANNON         21476 AUGUSTA AVE                                                                      PORT CHARLOTTE    FL 33952‐5420
MARJORIE BOHLANDER        14569 N 800 W                                                                          ELWOOD            IN 46036‐9121
MARJORIE BOHME            196 BARCREST DR                                                                        ROCHESTER         NY 14616‐2224
MARJORIE BORGER           84 BROOKWOOD DR                                                                        BELLBROOK         OH 45305‐1923
MARJORIE BOWERS           920 F AVE., APT. B                                                                     CORONADO          CA 92118
MARJORIE BOWMAN‐COLEMAN   11260 SHARP RD                                                                         LINDEN            MI 48451‐8919
MARJORIE BRANCHO          10 N GLENELLEN AVE                                                                     YOUNGSTOWN        OH 44509‐2003
MARJORIE BRIGGS           6405 HART LAKE ROAD                                                                    OTTER LAKE        MI 48464‐9697
MARJORIE BRODE            300 S MAIN ST APT 223                                                                  DAVISON           MI 48423‐1633
MARJORIE BROWN            3850 SCENIC RDG APT 236                                                                TRAVERSE CITY     MI 49684‐9776
MARJORIE BROWN            1133 W CAMINITO MIO                                                                    SAHUARITA         AZ 85629‐8033
MARJORIE BROWN            210 NIAGRA DR                                                                          WENTZVILLE        MO 63385‐3458
MARJORIE BROWN            2408 LINDALE RD                                                                        COLUMBUS          OH 43224‐4637
MARJORIE BROWN            3375 24TH ST                                                                           DETROIT           MI 48208‐2411
MARJORIE BROWNING         2047 SUNSET VIEW LN                                                                    AMELIA            OH 45102‐2298
MARJORIE BRYANT           600 W SUNSET DR APT 220                                                                MILTON            WI 53563‐1074
MARJORIE BULAH            3601 HUNTINGTON PLACE DRIVE                                                            SARASOTA          FL 34237
MARJORIE BUNN             2854 BEACHWALK LN                                                                      KOKOMO            IN 46902‐3790
MARJORIE BURKE            8147 BENTLEY FARMS PL                                                                  INDIANAPOLIS      IN 46259‐5708
MARJORIE BURKHART         2680 VIENNA ESTATES DR                                                                 DAYTON            OH 45459‐1388
MARJORIE BURKS            24349 MORITZ STREET                                                                    OAK PARK          MI 48237‐1674
MARJORIE BURNS            1202 S TRUMBULL ST                                                                     BAY CITY          MI 48708‐7671
MARJORIE C JARVIS         8766 HANOVER DR                                                                        NEWBURGH          IN 47630‐9327
MARJORIE C MAYER          203 CHESTNUT RIDGE                                                                     SPARTA            TN 38583
MARJORIE CAMERON          4178 NAVAJO ST                 SECORD ROUTE                                            GLADWIN           MI 48624‐8357
MARJORIE CAMPBELL         4140 WYLIE RD                                                                          DEXTER            MI 48130‐9593
MARJORIE CAREY            1593 HILLCREST CT                                                                      SAINT CLAIR       MI 48079‐3508
MARJORIE CARMACK          4050 EATON RD                                                                          HAMILTON          OH 45013‐9680
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Name                      Address1                          Address2                   Address3                     Address4         City              State Zip
MARJORIE CARMAN           PO BOX 320401                                                                                              FLINT              MI 48532‐0008
MARJORIE CARNINE          PO BOX 36                                                                                                  FAIRLAND           IN 46126‐0036
MARJORIE CARR             9165 BRISTOL RD                                                                                            SWARTZ CREEK       MI 48473‐8619
MARJORIE CASUTT           146 E 550 N                                                                                                BOUNTIFUL          UT 84010‐6027
MARJORIE CEREGHIN         PO BOX 107                                                                                                 NEY                OH 43549‐0107
MARJORIE CHAMBERS         3541 E 142ND ST                                                                                            CLEVELAND          OH 44120‐4814
MARJORIE CHAMBERS         6057 SYLVIA ST                                                                                             TAYLOR             MI 48180‐1033
MARJORIE CHAMBERS         2603 QUEENS CT                                                                                             ANDERSON           IN 46013‐3135
MARJORIE CHANEY           425 S GEYER RD APT C                                                                                       KIRKWOOD           MO 63122‐4143
MARJORIE CHAPMAN          2324 SUNSET BLVD                                                                                           ANDERSON           IN 46013‐2245
MARJORIE CHAPMAN          5289 N JENNINGS RD                                                                                         FLINT              MI 48504‐1135
MARJORIE CHRISTIAN        6940 N COUNTY ROAD KK                                                                                      MILTON             WI 53563‐9728
MARJORIE CLAPP            1573 TROYER RD                                                                                             FAIRVIEW           MI 48621‐9785
MARJORIE CLARK            3559 TOWNSHIP ROAD 145                                                                                     MOUNT GILEAD       OH 43338
MARJORIE CLARK            4923 OTTER LAKE ROAD                                                                                       OTTER LAKE         MI 48464‐9687
MARJORIE CLAYTON          13314 HAVASU RD                                                                                            APPLE VALLEY       CA 92308‐6056
MARJORIE CLEMENTS         5714 GRIGGS DR                                                                                             FLINT              MI 48504‐5007
MARJORIE CLINGERMAN       PO BOX 526                                                                                                 JORDAN             NY 13080‐0526
MARJORIE CLINTON          4 OVERDALE PKWY                                                                                            HOPEDALE           MA 01747‐1603
MARJORIE COAD             1606 RYAN ST                                                                                               FLINT              MI 48532‐5068
MARJORIE COAKLEY          ATTN: ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD, PO BOX                    EAST ALTON          IL 62024
                                                            ANGELIDES & BARNERD LLC    521
MARJORIE CODY             1637 KINGSTON RD                                                                                           KOKOMO            IN   46901‐5280
MARJORIE CONLEY           10437 JUDDVILLE RD                                                                                         CORUNNA           MI   48817‐9739
MARJORIE CONNER           2415 LAKECREST DR                                                                                          SHREVEPORT        LA   71109‐3003
MARJORIE CONWAY           6646 CONGRESS ST                                                                                           BELLEVILLE        MI   48111‐4248
MARJORIE COONCE           4313 STATE ROAD 32 E                                                                                       ANDERSON          IN   46017‐9524
MARJORIE CORNELL B        3118 BIRCH ROW DR                                                                                          EAST LANSING      MI   48823‐1502
MARJORIE CORNFOOT         10491 N LINDEN RD                                                                                          CLIO              MI   48420‐8500
MARJORIE CORNWELL         PO BOX 38                                                                                                  APACHE JUNCTION   AZ   85217‐0038
MARJORIE CORVINO          21 NUTWOLD AVE                                                                                             WEST ORANGE       NJ   07052‐5037
MARJORIE COUVIER          15624 W RIDGE RD                                                                                           OAKLEY            MI   48649‐8733
MARJORIE COWIN            23025 WESTWOOD RD                                                                                          WESTLAKE          OH   44145‐4346
MARJORIE COYAN            4185 SUGARCREEK DR                                                                                         BELLBROOK         OH   45305‐1328
MARJORIE COYLE            3172 WANAMAKER RD                                                                                          WATERFORD         MI   48328‐1676
MARJORIE CRAIG            16526 HUBBELL ST                                                                                           DETROIT           MI   48235‐4029
MARJORIE CRAIN            3300 MAIN ST STE B2               C/O RICHARD N CRAIN                                                      ANDERSON          IN   46013‐4261
MARJORIE CRAWFORD         43 LEHIGH CIR                                                                                              PENSACOLA         FL   32506‐6632
MARJORIE CRIM             PO BOX 90238                                                                                               INDIANAPOLIS      IN   46290‐0238
MARJORIE CROFT            3902 LOCKPORT OLCOTT RD LOT 51                                                                             LOCKPORT          NY   14094‐1157
MARJORIE CROWDER          20234 BUFFALO ST                                                                                           DETROIT           MI   48234‐2413
MARJORIE CUMMINS          140 MILLCREEK DR                                                                                           CHESTERFIELD      IN   46017‐1702
MARJORIE D GUSTIN         2444 ENTERPRISE RD                APT 2325                                                                 CLEARWATER        FL   33763‐1711
MARJORIE D HOLLAND‐WYSS   7031 CARRIAGE CREEK DR                                                                                     WASHINGTON        MI   48094
MARJORIE DACHILLE         612 S NEWKIRK ST                                                                                           BALTIMORE         MD   21224‐4414
MARJORIE DALE             24375 W 135TH ST                                                                                           OLATHE            KS   66061‐5953
MARJORIE DANIELS          PO BOX 324                                                                                                 MERRILL           MI   48637‐0324
MARJORIE DAVIS            11100 FLALLON AVE                                                                                          NORWALK           CA   90650‐1620
MARJORIE DEARING          2930 COPPER CREEK DR                                                                                       METAMORA          MI   48455‐9669
MARJORIE DEGARMO          4849 BURKHARDT RD                                                                                          DAYTON            OH   45431‐1952
MARJORIE DENNIS           9075 W DOUBLETREE CT                                                                                       HOMOSASSA         FL   34448‐1138
MARJORIE DENNIS TRUST     3771 BARRINGTON CIR                                                                                        SAGINAW           MI   48603
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Name                              Address1                          Address2                      Address3   Address4         City            State Zip
MARJORIE DESHAZER                 5805 W HARMON AVE SPC 292                                                                   LAS VEGAS        NV 89103‐4873
MARJORIE DEVER                    7080 N STATE ROUTE 139                                                                      LUCASVILLE       OH 45648‐8648
MARJORIE DEWS                     11502 LAKESHORE DR                                                                          LAKEVIEW         MI 48850‐9708
MARJORIE DI BENEDETTO             PO BOX 510075                                                                               LIVONIA          MI 48151‐6075
MARJORIE DICKSON                  PO BOX 695                                                                                  MILFORD          OH 45150‐0695
MARJORIE DIEHL                    31 LYNBROOK RD                                                                              WILMINGTON       DE 19804‐2668
MARJORIE DILLARD                  1904 N MOCKINGBIRD LN                                                                       MUNCIE           IN 47304‐2808
MARJORIE DOHERTY                  6 HAZELNUT LN                                                                               LONDONDERRY      NH 03053‐2600
MARJORIE DOHN                     6285 BOULDER DR                                                                             FLUSHING         MI 48433‐3538
MARJORIE DOMKE                    200 CLAIBORNE CREEK DR APT 2213                                                             WEST MONROE      LA 71291‐6708
MARJORIE DONAHE                   37228 REDWINE CANYON RD N                                                                   CRESTON          WA 99117‐8528
MARJORIE DOYLE                    APT 339                           3350 SAINT CATHERINE STREET                               FLORISSANT       MO 63033‐3828
MARJORIE DUDRA                    6826 N VERNON ST                                                                            DEARBORN HTS     MI 48127‐2228
MARJORIE DUFF                     108 TORREY PINES DR                                                                         CLAYTON          NC 27527‐5300
MARJORIE DUNKERTON                685 REX BLVD NW                                                                             WARREN           OH 44483‐3131
MARJORIE DUNLAP                   152 EVERGREEN ROAD                                                                          FLINT            MI 48506‐1500
MARJORIE DUNN                     536 CHERRY ST                                                                               GALION           OH 44833‐2401
MARJORIE DUPUIS                   5943 WEISS ST APT S2                                                                        SAGINAW          MI 48603‐2720
MARJORIE DURBIN                   613 ROUNDHILL SUNFISH RD                                                                    ROUNDHILL        KY 42275‐8009
MARJORIE DURHAM                   7348 VIENNA RD                                                                              OTISVILLE        MI 48463‐9475
MARJORIE E AND WILLIAM R MORGAN   312 ARDON LANE                                                                              CINCINNATI       OH 45215‐4102
MARJORIE E CLARK                  3477 MANDIGO                                                                                PORTASE          MI 49002
MARJORIE E COLEMAN                11260 SHARP RD                                                                              LINDEN           MI 48451‐8919
MARJORIE E DOHERTY                6 HAZELNUT LN                                                                               LONDONDERRY      NH 03053‐2600
MARJORIE E MORGAN                 312 ARDON LANE                                                                              CINCINNATI       OH 45215‐4102
MARJORIE E WEISS                  416 E BAYLES                                                                                BROWNSTOWN        IL 62418
MARJORIE EDINGTON                 9556 SANDPIPER EAST DR                                                                      INDIANAPOLIS     IN 46268‐3239
MARJORIE EDWARDS                  557 N OVERLAND                                                                              MESA             AZ 85207‐6675
MARJORIE ELGAS                    736 HILLVILLE DR                                                                            PORT ORANGE      FL 32127‐5980
MARJORIE ELMORE                   PO BOX 88                                                                                   FAIRLAND         IN 46126‐0088
MARJORIE ELWELL                   310 CHISHOLM TRAIL                                                                          ROUND ROCK       TX 78681
MARJORIE ENGLERTH                 2251 SPRINGPORT RD APT 173                                                                  JACKSON          MI 49202‐1438
MARJORIE ERWIN                    PO BOX 344                                                                                  FARMLAND         IN 47340‐0344
MARJORIE EUBANKS                  2514 BANDON DR                                                                              GRAND BLANC      MI 48439‐8154
MARJORIE EVANS                    2092 CONSTITUTION BLVD                                                                      MCKEESPORT       PA 15135‐2304
MARJORIE EVANS                    2704 BAHNS DR                                                                               BEAVERCREEK      OH 45434‐6606
MARJORIE EVELAND                  3058 W DODGE RD                                                                             CLIO             MI 48420‐1935
MARJORIE EVERETT                  PO BOX 431494                                                                               PONTIAC          MI 48343‐1494
MARJORIE F LOVEJOY                781 DORSET AVE                                                                              YPSILANTI        MI 48198‐6194
MARJORIE F NICKEL                 7 JAMEE LANE                                                                                ROCHESTER        NY 14606
MARJORIE FADA                     964 EHRHARDT PL                                                                             THE VILLAGES     FL 32162‐1412
MARJORIE FEENEY                   4141 ARIEL AVE                                                                              TOLEDO           OH 43623‐3714
MARJORIE FERGUSON                 903 WINSTON RD                                                                              JONESBORO        IN 46938‐1250
MARJORIE FETTY                    12336 GLASGOW DR                                                                            BRUCE TWP        MI 48065‐4477
MARJORIE FIEDLER                  8407 MAPLEWOOD DR BOX 295         BOX 295                                                   GASPORT          NY 14067
MARJORIE FILIPSKI                 8438 E VIRGINIA AVE                                                                         SCOTTSDALE       AZ 85257‐1822
MARJORIE FINLEY                   600 MAIN ST APT 324                                                                         ANDERSON         IN 46016‐1561
MARJORIE FISHER                   113 LAKELAND DR                                                                             CONTINENTAL      OH 45831‐9568
MARJORIE FISHER                   UNIT 215                          7753 VAN BUREN STREET                                     FOREST PARK       IL 60130‐4801
MARJORIE FLANAGAN                 4065 WEST CRYSTAL DRIVE                                                                     GOLDEN VALLEY    AZ 86413‐9111
MARJORIE FLEENER                  192 1/2 WASHINGTON ST                                                                       FRANKLIN         IN 46131‐1044
MARJORIE FLETCHER                 9909 SCOTT CT                                                                               INDIANAPOLIS     IN 46235‐1659
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Name                 Address1                          Address2             Address3         Address4         City               State Zip
MARJORIE FOLAND      1341 TATTERSALL RD                                                                       CENTERVILLE         OH 45459‐2459
MARJORIE FORD        7606 LARKSPUR ST                                                                         LITHONIA            GA 30058‐6510
MARJORIE FOSTER      PO BOX 2036                                                                              TRAVERSE CITY       MI 49685‐2036
MARJORIE FOURNIER    50 AVERY PL                                                                              CHEEKTOWAGA         NY 14225‐3967
MARJORIE FRANK       14529 RUTLAND ST                                                                         DETROIT             MI 48227‐1434
MARJORIE FRAZHO      27458 JAMES ST                                                                           WARREN              MI 48092‐2813
MARJORIE FREER       45966 GABLE INN ST                                                                       SHELBY TOWNSHIP     MI 48317‐4630
MARJORIE FREY        29306 SAINT JOE DR                                                                       WEST HARRISON       IN 47060‐8335
MARJORIE FRY         528 MEADOW SPRING DR                                                                     TROY                MO 63379‐7218
MARJORIE GARDNER     4386 NOTTINGHAM WAY                                                                      TRENTON             NJ 08690‐3826
MARJORIE GARDNER     803 W AMESBURY DR                                                                        DEWITT              MI 48820‐9256
MARJORIE GARDNER     905 SAN CARLOS WAY                                                                       KISSIMMEE           FL 34758‐4006
MARJORIE GARVIN      563 PERRY ST                                                                             TRENTON             NJ 08618‐3930
MARJORIE GENOVESE    2704 14TH AVE SE APT 1                                                                   RUSKIN              FL 33570
MARJORIE GIFFORD     1324 HEATHERWOOD LN                                                                      ANN ARBOR           MI 48108‐2791
MARJORIE GILES       51 W HOPKINS AVE                                                                         PONTIAC             MI 48340‐1817
MARJORIE GIPSON      108 HANGING LIMB HWY                                                                     CRAWFORD            TN 38554‐3408
MARJORIE GOODWIN     PO BOX 1584                                                                              BATAVIA             NY 14021‐1584
MARJORIE GORDON      904 HENRY CT                                                                             FLUSHING            MI 48433‐1594
MARJORIE GORDON      PO BOX 980‐185                                                                           YPSILANTI           MI 48198
MARJORIE GRANT       7575 WEST VERMOUNT HILL HIGHWAY                                                          VERMONTVILLE        MI 49096
MARJORIE GRAY        3013 E 7TH ST                                                                            ANDERSON            IN 46012‐3829
MARJORIE GREEN       3006 REPRESENTATION TER                                                                  COLUMBUS            OH 43207‐6569
MARJORIE GROMACKI    15534 FOX                                                                                REDFORD             MI 48239‐3936
MARJORIE GROSS       9524 CHARRON DR                   PO BOX 6                                               NEW LOTHROP         MI 48460‐9692
MARJORIE GROSSHART   2233 DEERING AVE                                                                         DAYTON              OH 45406
MARJORIE GULLEY      716 HIGHWAY 195 N                                                                        HOPE                AR 71801‐9537
MARJORIE GUNNELL     1517 W JUDD RD                                                                           FLINT               MI 48507‐3658
MARJORIE GURAL       1186 ERHARDT ST                                                                          UNION               NJ 07083‐6308
MARJORIE GUSTIN      2444 ENTERPRISE RD UNIT 23                                                               CLEARWATER          FL 33763
MARJORIE GUTHRIE     1310 CRANBROOK CIR NE                                                                    WARREN              OH 44484‐1562
MARJORIE H ALAIMO    90 TOWPATH LANE                                                                          ROCHESTER           NY 14618‐4545
MARJORIE H JAMES     4636 SENECA RD                                                                           SHARPSVILLE         PA 16150‐9686
MARJORIE H TURNER    392 CLOVERWOOD DR                                                                        MASON               OH 45040‐2154
MARJORIE HAGGERTY    7020 COBIAC DR 154                                                                       SAINT JAMES CITY    FL 33956
MARJORIE HALE        339 SUMNER AVE                                                                           WHITEHALL           PA 18052‐7219
MARJORIE HAMANN      37 BLACKSTONE BAY RD P                                                                   BRIER HILL          NY 13614
MARJORIE HAMMAN      512 E 3RD ST                                                                             WARREN              IN 46792‐9408
MARJORIE HAMMON      3182 EASTGATE ST                                                                         BURTON              MI 48519‐1553
MARJORIE HANEY       3642 BOULDER HWY TRLR 8                                                                  LAS VEGAS           NV 89121‐1601
MARJORIE HANSARD     4618 PITTMAN RD                                                                          CUMMING             GA 30040‐5108
MARJORIE HARRIS      1401 LISCUM DR                                                                           DAYTON              OH 45418‐1987
MARJORIE HARRISON    47554 TEN POINT DR                                                                       CANTON              MI 48187‐4733
MARJORIE HARRISON    2359 ROCHELLE PARK DR                                                                    ROCHESTER HILLS     MI 48309‐3745
MARJORIE HARSHMAN    7117 FISHBURG RD                                                                         HUBER HEIGHTS       OH 45424‐4126
MARJORIE HASTINGS    9 LINCOLN ST                                                                             NATICK              MA 01760‐4720
MARJORIE HATLAN      530 E ELLENDALE RD UNIT 355                                                              EDGERTON            WI 53534‐8476
MARJORIE HAVEMAN     9185 S WAISHKEY RIVER TRL                                                                BRIMLEY             MI 49715‐9377
MARJORIE HAVEN       3721 PENBROOK LN APT 10                                                                  FLINT               MI 48507‐1493
MARJORIE HAYNES      4184 BLACKFOOT DR SW                                                                     GRANDVILLE          MI 49418‐1723
MARJORIE HAYWARD     2420 OAKNOLL ST                                                                          AUBURN HILLS        MI 48326‐3133
MARJORIE HAZELTON    20421 STATE ROUTE 15                                                                     CONTINENTAL         OH 45831‐9634
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Name                     Address1                         Address2                        Address3   Address4         City           State Zip
MARJORIE HEAD            18 TILLINGHAST ST                                                                            NEWARK          NJ 07108‐1719
MARJORIE HEGLAS          4433 W PASADENA AVE                                                                          FLINT           MI 48504‐2341
MARJORIE HELGESON        W3082 STATE ROAD 16                                                                          WEST SALEM      WI 54669‐9035
MARJORIE HELM            2918 S VINE ST                                                                               MUNCIE          IN 47302‐5235
MARJORIE HELVIG          4463 S RD 00 EW LOT 91                                                                       KOKOMO          IN 46902
MARJORIE HENDERSHOT      36614 JODI AVE                                                                               ZEPHYRHILLS     FL 33542‐1920
MARJORIE HENDRICKS       916 W LINCOLN RD                                                                             KOKOMO          IN 46902‐3458
MARJORIE HENDRIKSEN      6756 FIELDSTONE MANOR DR                                                                     MATTHEWS        NC 28105‐6798
MARJORIE HENDRIX         2821 GAMMA LN                                                                                FLINT           MI 48506‐1854
MARJORIE HENRY           13327 KILBOURNE ST                                                                           DETROIT         MI 48213‐1461
MARJORIE HENRY           8210 MILL RD                                                                                 TROY            OH 45373‐9671
MARJORIE HERNAN          5023 COREY HUNT RD                                                                           BRISTOLVILLE    OH 44402‐9644
MARJORIE HERRING         6091 DERBY RD                                                                                DAYTON          OH 45418‐‐ 15
MARJORIE HESS            6988 MCKEAN RD LOT 20                                                                        YPSILANTI       MI 48197‐9734
MARJORIE HILLIER         2054 ATWATER AVE                                                                             SIMI VALLEY     CA 93063‐2603
MARJORIE HOBBS           3441 JESSUP RD                                                                               CINCINNATI      OH 45239‐6216
MARJORIE HOLLINGSWORTH   30 W 37TH ST                                                                                 ANDERSON        IN 46013‐4202
MARJORIE HOLLOWAY        5885 S STATE ROAD 267                                                                        LEBANON         IN 46052‐8152
MARJORIE HOOKS           16430 PARK LAKE RD LOT 29                                                                    EAST LANSING    MI 48823‐9457
MARJORIE HOOPLE          4282 PROMENADE BLVD                                                                          PLANT CITY      FL 33563‐1344
MARJORIE HORTON          5440 LINDEN RD                                                                               SWARTZ CREEK    MI 48473‐8275
MARJORIE HOUTTEKIER      162 SAND CREEK HIGHWAY           APRT L                                                      ADRIAN          MI 49221
MARJORIE HOWELL          PO BOX 184                                                                                   LAPEL           IN 46051‐0184
MARJORIE HUBBARD         1719 HAVENWOOD DR                                                                            LANCASTER       SC 29720‐1529
MARJORIE HUDSON          1059 DELWOOD DR                                                                              MANSFIELD       OH 44905‐1521
MARJORIE HUFF            333 S SHERMAN DR                                                                             INDIANAPOLIS    IN 46201‐4445
MARJORIE HUGHES          PO BOX 517                                                                                   GREENVILLE      MI 48838‐0517
MARJORIE HUIZINGA        2900 THORNHILLS AVE SE APT 345                                                               GRAND RAPIDS    MI 49546‐7158
MARJORIE HULL            APT 152                          8559 NORTH LINE CREEK PARKWAY                               KANSAS CITY     MO 64154‐2129

MARJORIE HURI            2200 INDIANA AVE                                                                             SAGINAW        MI   48601‐5508
MARJORIE HURLOCK         1520 NOBLE ST                                                                                ANDERSON       IN   46016‐2039
MARJORIE HUTCHISON       APT 11                           300 SOUTH MILLER DRIVE                                      EATON RAPIDS   MI   48827‐2610
MARJORIE I STALL         846 WEBSTER ST                                                                               DAYTON         OH   45404‐1561
MARJORIE I. PIFER        600 LAKEWOOD CIR.                                                                            MYRTLE BEACH   SC   29575
MARJORIE IGO             4533 N SHORE DR APT 304                                                                      MASON          OH   45040‐8940
MARJORIE ISON            920 TAMIAMI TRL S APT 558                                                                    VENICE         FL   34285‐3635
MARJORIE IVANCIC         459 ZIMMERMAN BLVD                                                                           BUFFALO        NY   14223‐1115
MARJORIE IVEY            5108 SANDALWOOD CIR                                                                          GRAND BLANC    MI   48439‐4267
MARJORIE J GROSS         9524 CHARRON DR                  PO BOX 6                                                    NEW LOTHROP    MI   48460
MARJORIE J HARRIS        1401 LISCUM DR                                                                               DAYTON         OH   45418‐1987
MARJORIE J SHEETS        503 BOWEN DR                                                                                 RAYMORE        MO   64083‐9114
MARJORIE JACKMAN         13635 STATE ROUTE 15                                                                         DEFIANCE       OH   43512‐8819
MARJORIE JACKSON         D. A. HOMES#2                    3020 BENTON BLVD                                            KANSAS CITY    MO   64128
MARJORIE JAMES           4636 SENECA RD                                                                               SHARPSVILLE    PA   16150‐9686
MARJORIE JARVIS          8755 HANOVER DR                                                                              NEWBURGH       IN   47630‐9327
MARJORIE JOHNSON         2830 JOY DR                                                                                  BEAVERCREEK    OH   45434‐6436
MARJORIE JOHNSON         2742 REDBUD LN                                                                               ANDERSON       IN   46011‐2419
MARJORIE JOHNSON         7874 AMY SCHOOL RD                                                                           HOWARD CITY    MI   49329‐9770
MARJORIE JOHNSON         619 COMMONWEALTH AVE                                                                         FLINT          MI   48503‐2255
MARJORIE JOHNSTON        15885 NORBORNE                                                                               REDFORD        MI   48239‐3817
MARJORIE JONAS           8 LUCID DR                                                                                   CHEEKTOWAGA    NY   14225‐2624
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Name                      Address1                            Address2                     Address3                   Address4         City              State Zip
MARJORIE JONES            4399 GILBERT ST                                                                                              COLUMBIAVILLE      MI 48421‐9156
MARJORIE JONES            6438 LARDANEL LN                                                                                             ANDERSON           CA 96007‐9737
MARJORIE JONES            1238 COLUMBIA AVE                                                                                            PLAINFIELD         NJ 07062‐1710
MARJORIE JONES            17950 SUMPTER RD                                                                                             BELLEVILLE         MI 48111‐9142
MARJORIE JONES            13425 SHIELDS ST                                                                                             DETROIT            MI 48212‐1734
MARJORIE K HOLLOWAY       5885 S ST RD 267                                                                                             LEBANON            IN 46052‐8152
MARJORIE KANE             208 BELMONT DR                                                                                               ROMEOVILLE          IL 60446‐1402
MARJORIE KEENAN           1712 VALENCIA DR W                                                                                           LARGO              FL 33778‐1212
MARJORIE KEENEY           25 RIDGEWOOD RD                     RIDGEWOOD CENTRE                                                         BEDFORD            NH 03110‐6510
MARJORIE KEERY            6111 OVIEDO AVE                                                                                              NEW PORT RICHEY    FL 34653‐4172
MARJORIE KELLER           4275 SHERWOOD RD                                                                                             ORTONVILLE         MI 48462‐9145
MARJORIE KELLY            941 WESTPORT DR                                                                                              YOUNGSTOWN         OH 44511‐3768
MARJORIE KEMP             18667 JOANN ST                                                                                               DETROIT            MI 48205‐2747
MARJORIE KENSKA           42865 WOODHILL DR                                                                                            ELYRIA             OH 44035‐2052
MARJORIE KERR             3416 E PINECREST DR                                                                                          GLADWIN            MI 48624‐9739
MARJORIE KING             8665 EAST 61ST SOUTH                APT # 01 WOODLAND MANOR                                                  TULSA              OK 74133
MARJORIE KINGDOLLAR       3248 EAGLE HARBOR WATERPORT RD                                                                               ALBION             NY 14411‐9130
MARJORIE KIRGIS           LUTHER VILLAGE                      2000 32ND ST. SE                                                         GRAND RAPIDS       MI 49508
MARJORIE KIRKWOOD         25 SOUNDVIEW AVE                                                                                             OLD SAYBROOK       CT 06475‐2437
MARJORIE KIVI             4117 S HATELY AVE                                                                                            SAINT FRANCIS      WI 53235‐5907
MARJORIE KNOTTS           3347 JAY DR                                                                                                  ANDERSON           IN 46012‐1219
MARJORIE KOEHLER          449 DARBY CT                                                                                                 DIMONDALE          MI 48821‐9783
MARJORIE KOLLER           235 YEAGER DR                                                                                                CHEEKTOWAGA        NY 14225‐1774
MARJORIE KOSTER           2161 S CROSS CREEK DR SE                                                                                     GRAND RAPIDS       MI 49508‐8796
MARJORIE KRASKA           105 WEIMAR ST                                                                                                BUFFALO            NY 14206‐3540
MARJORIE KREIS            383 AVENIDA CASTILLA UNIT A                                                                                  LAGUNA WOODS       CA 92637‐3773
MARJORIE KRISS            2496 MELOY RD                                                                                                KENT               OH 44240‐7029
MARJORIE KRUEGER          4321 MENTON ST                                                                                               FLINT              MI 48507‐2773
MARJORIE KUPP             3550 N DUKE AVE SPC 20                                                                                       FRESNO             CA 93727‐7839
MARJORIE KUWATCH          9321 HADEN LN                       C/O ROBERT KUWATCH                                                       WEST CHESTER       OH 45069‐3768
MARJORIE KYLE             5882 SARANAC DR                                                                                              COLUMBUS           OH 43232‐3176
MARJORIE L MARTIN         C/O GREGORY P CAFOUROS              KROGER GARDIS & REGAS LLP    111 MONUMENT CIR STE 900                    INDIANAPOLIS       IN 46204‐5125

MARJORIE L RUCKMAN        40 GARDEN STREET 4TH FLOOR                                                                                   POUGHKEEPSIE      NY   12601
MARJORIE L WALKER         210 GROSBECK STREET                                                                                          VANDALIA          OH   45377
MARJORIE LA NIER          1003 E BLACKHAWK ST                                                                                          OTTAWA            KS   66067‐1675
MARJORIE LABARR           10120 N WEBSTER RD                                                                                           CLIO              MI   48420‐8506
MARJORIE LAFON            C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS.       OH   44236
MARJORIE LAWSON           PO BOX 439030 PMB 128                                                                                        SAN YSIDRO        CA   92143‐9030
MARJORIE LEDFORD          828 N MAIN ST                                                                                                LEWISBURG         OH   45338‐9510
MARJORIE LEFEVER          61277 WINDWOOD CT                                                                                            WASHINGTON        MI   48094‐1466
MARJORIE LEGARSKI NATT    9276 MUELLER ST                                                                                              TAYLOR            MI   48180‐3513
MARJORIE LEWIN            8705 COUNTRY VIEW LN                                                                                         BURLINGTON        WI   53105‐6802
MARJORIE LEWIS            1804 H ST                                                                                                    BEDFORD           IN   47421‐4220
MARJORIE LEWIS            3609 LULLABY RD                                                                                              NORTH PORT        FL   34287
MARJORIE LILLA            PO BOX 510                                                                                                   BUZZARDS BAY      MA   02532‐0510
MARJORIE LINDEBOOM        2604 BEECH TREE ST                                                                                           HEMET             CA   92545‐8161
MARJORIE LINDEEN          1555 N MAIN ST                                                                                               FRANKFORT         IN   46041
MARJORIE LINDERMAN        11300 N HOLLY ST                                                                                             KANSAS CITY       MO   64155‐3554
MARJORIE LOIS ESTES       300 MORNINGSIDE TER                                                                                          RICHMOND          MO   64085‐1940
MARJORIE LORENE TINDALL   555949 POB 555949                                                                                            ORLANDO           FL   32855
MARJORIE LOUIS            1173 RIVER FOREST DR APT 1181                                                                                FLINT             MI   48532‐2813
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Name                               Address1                         Address2                      Address3                Address4         City              State Zip
MARJORIE LYNCH                     724 RIDGE WAY CIR                                                                                       BIRMINGHAM         AL 35226‐4200
MARJORIE M BIXLER                  6 NONA DR                                                                                               TROTWOOD           OH 45426‐3011
MARJORIE M BROWN                   53 E WREN CIR                                                                                           KETTERING          OH 45420‐2945
MARJORIE M CARACCI                 2758 GARY AVE                                                                                           BRIGHTON           MI 48114‐9359
MARJORIE M EVANS                   2092 CONSTITUTION BLVD                                                                                  MCKEESPORT         PA 15135‐2304
MARJORIE M GALLAGHER
MARJORIE M HENDERSON               PO BOX 18                                                                                               NEW LEBANON       OH   45345‐0018
MARJORIE M KIRBY                   MARJORIE MILNE KIRBY             501 N PROVIDENCE RD APT 513                                            MEDIA             PA   19063‐2545
MARJORIE M KNIOLA                  25 EAGLE RUN                                                                                            SOUTH WINDSOR     CT   06074
MARJORIE M LEWIS                   3609 LULLABY RD.D                                                                                       NORTH PORT        FL   34287‐1840
MARJORIE M NEWLAND                 11351 LORRAINE RD                                                                                       NEW PORT RICHEY   FL   34655
MARJORIE M PIERCE                  474 FEDERAL NW                                                                                          WARREN            OH   44483‐3230
MARJORIE M REYNOLDS PERSONAL REP   MARJORIE M REYNOLDS              C/O BRAYTON PURCELL           222 RUSH LANDING ROAD                    NOVATO            CA   94948‐6169
FOR JACK C REYNOLDS
MARJORIE M SANDERS                 728 S STATELINE ROAD                                                                                    MASURY            OH   44438‐1648
MARJORIE M SANDERS                 732 SOUTH STATELINE ROAD                                                                                MASURY            OH   44438
MARJORIE M THORSON                 520 ST                                                                                                  KETCHIKAN         AK   99901
MARJORIE MABIE                     7320 HERRINGTON AVE NE                                                                                  BELMONT           MI   49306‐9279
MARJORIE MAGGARD                   1317 S GOYER RD                                                                                         KOKOMO            IN   46902‐2781
MARJORIE MALECKI                   5215 S OAKRIDGE DR                                                                                      NEW BERLIN        WI   53146‐4452
MARJORIE MANN                      14 LIBERTY GDNS                                                                                         WRIGHT CITY       MO   63390‐1207
MARJORIE MANUEL                    120 LANCASTER ST                                                                                        CRAB ORCHARD      KY   40419‐9629
MARJORIE MARIGNA                   2901 HAMILTON CT                                                                                        EDDINGTON         PA   19020‐1824
MARJORIE MARKS                     1530 WEST LONG LAKE ROAD                                                                                TRAVERSE CITY     MI   49684‐9055
MARJORIE MARKS                     322 BATUSTROL CIR                                                                                       NORTH HILLS       NY   11576‐3059
MARJORIE MARQUIS                   3121 N PRINCESS LN                                                                                      PRESCOTT VALLEY   AZ   86314‐2942
MARJORIE MARSH                     5708 W 164TH ST                  C/O JUDY A. WHITNEY                                                    STILWELL          KS   66085‐9180
MARJORIE MARSH                     4185 ASHGROVE DR                                                                                        GROVE CITY        OH   43123‐3377
MARJORIE MARTIN                    611 W MAIN ST                                                                                           THORNTOWN         IN   46071‐1137
MARJORIE MARTIN                    3569 JASMINE DR                                                                                         SEVEN HILLS       OH   44131‐5135
MARJORIE MARTIN                    1800 E GRAVES AVE LOT 119                                                                               ORANGE CITY       FL   32763‐5616
MARJORIE MARTIN                    2309 N CALUMET ST                                                                                       KOKOMO            IN   46901‐1667
MARJORIE MASTERSON                 11 LEISURE LN                                                                                           LEVITTOWN         PA   19054‐3911
MARJORIE MATTHEWS                  433 MORNINGSIDE AVE                                                                                     JEANNETTE         PA   15644‐1954
MARJORIE MAXSON                    5800 JEFFERSON AVE               NOTTINGHAM PLACE                                                       MIDLAND           MI   48640‐2936
MARJORIE MAYER                     203 CHESTNUT RDG                                                                                        SPARTA            TN   38583‐1561
MARJORIE MC DANIEL                 2301 WILLOW ST                                                                                          VAN BUREN         AR   72956‐3768
MARJORIE MC GINNIS                 910 GOLF VILLA DR                                                                                       OXFORD            MI   48371‐3698
MARJORIE MC KIERNAN                8399 SHERWOOD DR                                                                                        GRAND BLANC       MI   48439‐8397
MARJORIE MC LACHLAN                7481 MECEOLA RD                                                                                         EVART             MI   49631‐8773
MARJORIE MC NAMARA                 804 HARRISON ST                                                                                         HARBOR SPRINGS    MI   49740‐1031
MARJORIE MCCLELLAND                912 HOMEWOOD AVENUE                                                                                     MISHAWAKA         IN   46544‐2542
MARJORIE MCCORMICK                 6510 RICHFIELD RD                                                                                       FLINT             MI   48506‐2214
MARJORIE MCDONALD                  421 BANCROFT ST APT 214                                                                                 IMLAY CITY        MI   48444‐1179
MARJORIE MCHENRY                   136 WINTER ST                                                                                           ALIQUIPPA         PA   15001
MARJORIE MCKINLEY                  9376 LAKE ABBY LN                                                                                       BONITA SPRINGS    FL   34135‐8881
MARJORIE MCKINNON                  LOT 99 ROCKY LN                                                                                         MOUNT MORRIS      MI   48458
MARJORIE MCLAUGHLIN                17423 MOORS                                                                                             FRASER            MI   48026‐4316
MARJORIE MEDBERRY                  67 MINE ST                                                                                              STONEBORO         PA   16153‐2521
MARJORIE MENCHE                    5368 LIMESTONE DR                                                                                       FAIRFIELD         OH   45014‐2459
MARJORIE MERCHANT                  6735 W STATE ROAD 18                                                                                    BRYANT            IN   47326‐9097
MARJORIE MEREDITH                  6601 VENUS DR                                                                                           SHREVEPORT        LA   71119‐5013
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Name                  Address1                          Address2             Address3         Address4         City              State Zip
MARJORIE MERSHON      1602 WILLOW DR                                                                           TROTWOOD           OH 45426‐2064
MARJORIE METOYER      501 S VERLINDEN AVE                                                                      LANSING            MI 48915‐1153
MARJORIE MEYERING     6301 MELBOURNE CT                                                                        HUDSONVILLE        MI 49426‐8726
MARJORIE MICALLEF     16700 SE 78TH LILLYWOOD CT        PO BOX 2868                                            THE VILLAGES       FL 32162‐8348
MARJORIE MICELI       310 SUNSET TER                                                                           ORCHARD PARK       NY 14127‐2537
MARJORIE MILES        29862 N TATUM BLVD                APT 1072                                               CAVE CREEK         AZ 85331‐3728
MARJORIE MILES        PO BOX 908                                                                               PLEASANTON         CA 94566‐0090
MARJORIE MILLER       155 TULIP DR                                                                             INDIANAPOLIS       IN 46227‐2362
MARJORIE MILLER       708 JOHNS AVE                                                                            LEHIGH ACRES       FL 33972‐4641
MARJORIE MILLER       1709 CORRIDALE CT                                                                        DEFIANCE           OH 43512‐3621
MARJORIE MILLER       415 S 3RD ST                                                                             EDMORE             MI 48829‐9408
MARJORIE MISKILL      1101 ARMISTEAD ST                                                                        GLEN BURNIE        MD 21061‐1401
MARJORIE MOFFIT       3289 WHITETAIL LN                                                                        OWOSSO             MI 48867‐9225
MARJORIE MONCRIEF     14041 GREENBRIAR ST                                                                      OAK PARK           MI 48237‐2737
MARJORIE MONROE       8346 HARDWOOD DR                                                                         JENISON            MI 49428‐9155
MARJORIE MONTGOMERY   8039 MASSOLL RD                                                                          REESE              MI 48757‐9500
MARJORIE MONTGOMERY   306 OLD MILL CREEK DR APT 14                                                             ALEXANDRIA         IN 46001
MARJORIE MOORE        4164 JANET DR                                                                            DORR               MI 49323‐9414
MARJORIE MOORE        3463 BARBER RD                                                                           OXFORD             MI 48371‐1909
MARJORIE MOORE        631 TREMONT GREENS LN                                                                    SUN CITY CENTER    FL 33573‐8042
MARJORIE MOORE        6260 HAMILTON PLEASANT GROVE RD                                                          PINE MOUNTAIN      GA 31822‐2901
MARJORIE MOOREHEAD    1288 W PRAIRIE RD                                                                        MIDLAND            MI 48640‐7812
MARJORIE MOOTY        4842 BECKER DR APT 17555                                                                 DAYTON             OH 45417
MARJORIE MORAN        1100 CURLEW RD LOT 28                                                                    DUNEDIN            FL 34698‐1906
MARJORIE MORGAN       17564 AVON AVE                                                                           DETROIT            MI 48219‐3559
MARJORIE MORRIS       5817 OBERLIES WAY                                                                        PLAINFIELD         IN 46168‐7302
MARJORIE MULLENNIX    659 HARDING WAY W                                                                        GALION             OH 44833‐1615
MARJORIE MURPHY       208 SURFWOOD DR                                                                          FLORENCE           KY 41042‐9732
MARJORIE MYERS        1632 QUEENSBRIDGE SQ APT 3                                                               INDIANAPOLIS       IN 46219‐2438
MARJORIE NAFF         321 E POPLAR ST                                                                          FORT GIBSON        OK 74434‐8238
MARJORIE NAISH        823 E US 22‐3                                                                            MORROW             OH 45152
MARJORIE NAYMAN       6581 SLAYTON STTLMNT                                                                     LOCKPORT           NY 14094
MARJORIE NELLSON      101 PARK AVE                                                                             VENETIA            PA 15357‐1250
MARJORIE NELSON       5309 ORLENA DR                                                                           ANDERSON           IN 46013‐3025
MARJORIE NESS         5544 GARDNER STREET EAST                                                                 STERLING HTS       MI 48310‐2717
MARJORIE NEUENFELDT   18765 DICE RD                                                                            MERRILL            MI 48637‐9544
MARJORIE NEVINS       213 SAINT IVES N                                                                         LANSING            MI 48906‐1528
MARJORIE NEWELL       PO BOX 622                                                                               WELLSVILLE         KS 66092‐0622
MARJORIE NEWLAND      11351 LORAIN RD                                                                          NEW PORT RICHEY    FL 34654‐2813
MARJORIE NEWMAN       11076 MILLER RD                                                                          SWARTZ CREEK       MI 48473‐8512
MARJORIE NEWMAN       4400 HOLT RD APT 207                                                                     HOLT               MI 48842‐6600
MARJORIE NEWMAN       6654 GARDEN DR                                                                           MOUNT MORRIS       MI 48458‐2335
MARJORIE NEWPORT      6985 W.‐CO. RD. 400 S. RR #1                                                             RUSSIAVILLE        IN 46979
MARJORIE NICHOLS      8030 MILES RD                                                                            EAST AMHERST       NY 14051‐1512
MARJORIE NICKEL       7 JAMEE LN                                                                               ROCHESTER          NY 14606‐3207
MARJORIE NOONAN       703 JOHNSON ST                                                                           OWOSSO             MI 48867‐3820
MARJORIE O'BRIEN      2685 RICKSHAW DR                                                                         CLEARWATER         FL 33764‐1036
MARJORIE O'BRIEN      216 MAPLE ST                                                                             ATTLEBORO          MA 02703
MARJORIE O'GUIN       124 SPRINGHILL DR                                                                        WHITE LAKE         MI 48386‐1972
MARJORIE O'LEARY      55 VICTORIA ST                                                                           WASHINGTON         PA 15301‐4348
MARJORIE OLSON        1203 E MALLWOOD DR                                                                       EDGERTON           WI 53534‐8718
MARJORIE OPHARDT      215 LAKE AVE                                                                             HILTON             NY 14468‐1104
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Name                      Address1                           Address2             Address3         Address4         City              State Zip
MARJORIE OSTROM           LOT 32                             5435 LEWELLYN ROAD                                     LAKELAND           FL 33810‐0714
MARJORIE OTT              5929 E HILLCREST DR                                                                       EATON RAPIDS       MI 48827‐8583
MARJORIE PACKARD          190 MOODY ST APT 505                                                                      WALTHAM            MA 02453‐5350
MARJORIE PAPE             321 OAKWOOD RD                                                                            ROCHESTER          NY 14616‐4544
MARJORIE PAQUETTE         10463 PLAINS RD                                                                           EATON RAPIDS       MI 48827‐9730
MARJORIE PARKIN           48588 LAKEVIEW E LOT 60                                                                   SHELBY TOWNSHIP    MI 48317‐2733
MARJORIE PARKS            3605 FOREST HILL AVE                                                                      FLINT              MI 48504‐3503
MARJORIE PARMELEE         1725 VICTOR ST                                                                            YPSILANTI          MI 48198‐6641
MARJORIE PATTERSON        907 CANAL ST                                                                              ANDERSON           IN 46012‐9219
MARJORIE PATTERSON        443 MADISON ST                                                                            BUFFALO            NY 14212‐1043
MARJORIE PAVLICA‐ SMITH   510 W PARKHILL AVE                                                                        BUSHNELL           FL 33513‐6508
MARJORIE PAYNE            1871 AUTUMN DRIVE                                                                         MANSFIELD          OH 44907‐2203
MARJORIE PEAKE            7707 GUERNSEY LAKE RD                                                                     DELTON             MI 49046‐8780
MARJORIE PENN             P.O. BOX 95                                                                               EDMOND             OK 73083
MARJORIE PENNINGTON       4221 WAYNE MADISON RD                                                                     TRENTON            OH 45067‐9525
MARJORIE PERRY            116 WILLOW ST                      WHITE MANOR                                            CANONSBURG         PA 15317‐2205
MARJORIE PETERSON         4240 N UPTON RD                                                                           ELSIE              MI 48831‐9726
MARJORIE PETSKA           1120 W STATE ST                                                                           JANESVILLE         WI 53546‐5323
MARJORIE PIDCOCK          2404 V DR S                                                                               ATHENS             MI 49011‐9770
MARJORIE PIERCE           474 FEDERAL ST NW                                                                         WARREN             OH 44483‐3230
MARJORIE PIETKA           PO BOX 786                                                                                ATLANTA            MI 49709‐0786
MARJORIE PIOTRACZK        2477 CLAYWARD DR                                                                          BURTON             MI 48509‐1057
MARJORIE POSTHUMUS        15936 RIVER FOREST DR                                                                     HERSEY             MI 49639‐8433
MARJORIE POTTER           4073 SEGWUN AVE SE                                                                        LOWELL             MI 49331‐9548
MARJORIE POWELL‐TYNES     1400 S VALLEY VIEW BLVD APT 2071                                                          LAS VEGAS          NV 89102‐1646
MARJORIE POWLESS          3135 S STATE ROAD 103                                                                     NEW CASTLE         IN 47362‐9697
MARJORIE PRATT            5220 BOARDWALK DR UNIT H12                                                                FORT COLLINS       CO 80525‐7332
MARJORIE PRICE            202 S 202 2ND ST                                                                          ELKHORN            NE 68022
MARJORIE PRICE            1443 ROYAL OAK ST SW                                                                      WYOMING            MI 49509‐2709
MARJORIE PRINGLE          916 VISTA PL NE                                                                           LENOIR             NC 28645‐4546
MARJORIE PURYEAR          49 FULTON ST                                                                              EAST ORANGE        NJ 07017‐2110
MARJORIE R AVERY          195 W RUTGERS AVE                                                                         PONTIAC            MI 48340‐2761
MARJORIE R NORRIS         1283 E GENESEE AVE                                                                        FLINT              MI 48505‐1735
MARJORIE R WOOD           5026 COOPERS LANDING DR APT 1A                                                            KALAMAZOO          MI 49004‐7668
MARJORIE RADFORD          17300 SOUTHFIELD FWY APT 503                                                              DETROIT            MI 48235‐3375
MARJORIE RAEDEKE          2929 N DEXTER ST                                                                          FLINT              MI 48506‐3188
MARJORIE RAIRIGH          1614 COMFORT ST                                                                           LANSING            MI 48915‐1509
MARJORIE RAPER            1144 SUGAR PINE DR                                                                        ANDERSON           IN 46012‐5501
MARJORIE RAYSOR           234 MERCER AVE                                                                            ROCHESTER          NY 14606‐4124
MARJORIE REAMES           1415 WEST MOUND RD 301                                                                    DECATUR             IL 62526
MARJORIE REED             3543 DIAMONDALE DR E                                                                      SAGINAW            MI 48601‐5806
MARJORIE REED             NO 8 CRESTWOOD DRIVE                                                                      MIDDLETOWN         IN 47356
MARJORIE RENFRO           319 GASLIGHT DR APT 102                                                                   VERSAILLES         IN 47042‐7301
MARJORIE REX              538 HUDDLE RD LOT 22                                                                      NAPOLEON           OH 43545‐9223
MARJORIE RICHARDSON       122 S 6TH AVE                                                                             SAGINAW            MI 48607‐1511
MARJORIE RIDGWAY          2161 SOUTH EL MARINO                                                                      MESA               AZ 85202‐6469
MARJORIE RIEGLER          1321 TAYLOR ST                                                                            BAY CITY           MI 48708‐8278
MARJORIE ROBERTS          2919 W STATE ROAD 38                                                                      NEW CASTLE         IN 47362‐9708
MARJORIE ROBERTS          1720 E CLINTON ST                                                                         FRANKFORT          IN 46041‐2707
MARJORIE ROBERTSON        220 S BROADWAY ST                                                                         PENDLETON          IN 46064‐1246
MARJORIE ROBINSON         223 E JUSTIS ST                                                                           NEWPORT            DE 19804‐2521
MARJORIE ROBINSON         128 OKEMOS ST APT 7                                                                       MASON              MI 48854‐1256
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Name                   Address1                        Address2                Address3       Address4         City                 State Zip
MARJORIE ROGERS        13333 W CHICAGO ST APT 106                                                              DETROIT               MI 48228‐2562
MARJORIE ROGERS        9836 SUCIA CIR                                                                          PARRISH               FL 34219‐9394
MARJORIE ROHRAFF       19474 RENSELLOR ST                                                                      LIVONIA               MI 48152‐2527
MARJORIE ROHRING       12700 RED ROCK RD                                                                       RENO                  NV 89508‐6583
MARJORIE ROSS          202 BUSH CT                                                                             MC CORMICK            SC 29835‐3322
MARJORIE ROUNTREE      4005 LAKE AVE                                                                           LOCKPORT              NY 14094‐1115
MARJORIE RUCKMAN       40 GARDEN ST. 4TH FL.                                                                   POUGHKEEPSIE          NY 12601
MARJORIE RUSSELL       3337 AVALON ST                                                                          LANSING               MI 48911‐1809
MARJORIE RUUD          1005 CONGRESS AVE                                                                       VIROQUA               WI 54665‐1095
MARJORIE S BICKLE      1731 SHORELINE BLVD                                                                     SHAKOPEE              MN 55379‐9154
MARJORIE S BRANNAN     1556 SKYLINE DRIVE                                                                      HERMITAGE             PA 16148
MARJORIE S CANN        726 LOVEVILLE RD                COTTAGE 96                                              HOCKISSIN             DE 19707
MARJORIE S HERNAN      5023 CORY‐HUNT                                                                          BRISTOLVILLE          OH 44402
MARJORIE S PROUDMAN    7 WOOD DUCK CT                                                                          HILTON HEAD ISLAND    SC 29928
MARJORIE S STORMS      9504 WESSEX PL                                                                          LOUISVILLE            KY 40222‐5043
MARJORIE SALDANA       4535 CLOVER WAY W                                                                       SAGINAW               MI 48603‐1062
MARJORIE SANBURN       4711 COUNTRY WAY W                                                                      SAGINAW               MI 48603‐4216
MARJORIE SANDERS       728 S STATELINE ROAD                                                                    MASURY                OH 44438‐1648
MARJORIE SANDERS       4 TAYLOR ST                                                                             TILTON                 IL 61833‐8146
MARJORIE SANK          C/O CASCINO MICHAEL P           220 SOUTH ASHLAND AVE                                   CHICAGO                IL 60607
MARJORIE SATTER        THE WATERFORD                   1460 CORYDALE DR                                        FAIRFIELD             OH 45014
MARJORIE SAULMON       9149 N 300 W                                                                            HUNTINGTON            IN 46750‐9726
MARJORIE SAWRUK        667 OXHILL CT                                                                           WHITE LAKE            MI 48386‐2336
MARJORIE SCHLOSBERG    30 GREENRIDGE AVE               APT 2C                                                  WHITE PLAINS          NY 10605
MARJORIE SCHLUCKBIER   3105 S DYE RD                                                                           FLINT                 MI 48507‐1003
MARJORIE SCHNEIDER     5325 SITKA ST                                                                           BURTON                MI 48519‐1521
MARJORIE SCHNEIDER     679 BALLARDS RIDGE RD                                                                   SANBORNVILLE          NH 03872‐3500
MARJORIE SCHOEPPACH    13107 BUNKER CT                                                                         CLIO                  MI 48420‐8270
MARJORIE SCHRAM        641 MALLARD DR                                                                          FORT WORTH            TX 76131
MARJORIE SCHWARTZLY    1257 ANDREW ST                                                                          SAGINAW               MI 48638‐6507
MARJORIE SCOTT         8 GEORGIAN CIR                                                                          NEWARK                DE 19711‐2550
MARJORIE SCOTT         850 W SWEDEN RD                                                                         BROCKPORT             NY 14420‐9643
MARJORIE SEDDON        PO BOX 310                                                                              MAYVILLE              MI 48744‐0310
MARJORIE SEIB          599 RUDY ROAD R 13                                                                      MANSFIELD             OH 44903
MARJORIE SEIBOLD       109 DELTA AVE                                                                           LAKE PLACID           FL 33852‐6288
MARJORIE SEIBOLD       7800 E VERMONTVILLE HWY                                                                 DIMONDALE             MI 48821‐8746
MARJORIE SETTER        941 CEDARGATE CT                                                                        WATERFORD             MI 48328‐2614
MARJORIE SHARP         2320 SOUCHAK DRIVE                                                                      LK HAVASU CTY         AZ 86406‐8323
MARJORIE SHAVER        5601 FARLEY RD                                                                          CLARKSTON             MI 48346‐1740
MARJORIE SHAW          107 WINDING WAY                                                                         FRANKTON              IN 46044‐9104
MARJORIE SHEAHAN       3980 N 150 W                                                                            ANDERSON              IN 46011‐9220
MARJORIE SHEARS        11124 N WEBSTER RD                                                                      CLIO                  MI 48420‐8208
MARJORIE SHELTON       4532 FERN DR                                                                            BRADENTON             FL 34208‐9039
MARJORIE SHUFFITT      606 IRONWOOD LN                                                                         ANDERSON              IN 46011‐1652
MARJORIE SILVEY        53 ARGO DR                                                                              LEXINGTON             GA 30648‐3101
MARJORIE SIMERSON      4289 S IVA RD                                                                           MERRILL               MI 48637‐9784
MARJORIE SINCLAIR      3217 MORTON ST                                                                          ANDERSON              IN 46016‐5088
MARJORIE SINGLETON     7224 AKRON RD                                                                           LOCKPORT              NY 14094‐6206
MARJORIE SLIVKA        1201 N RITTER AVE                                                                       INDIANAPOLIS          IN 46219‐3022
MARJORIE SMITH         2260 MEDLOCK LN APT 104                                                                 BURLINGTON            KY 41005‐8344
MARJORIE SMITH         15301 PLAZA SOUTH DR.                                                                   TAYLOR                MI 48180
MARJORIE SMITH         86 GARY PL                                                                              HINESVILLE            GA 31313‐7611
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Name                    Address1                        Address2                     Address3   Address4         City              State Zip
MARJORIE SMITH          PO BOX 74                                                                                RANSOMVILLE        NY 14131‐0074
MARJORIE SMITH          513 PINE ST                                                                              MULLINS            SC 29574‐1913
MARJORIE SMITH          3547 BLUE RIVER DR                                                                       LANSING            MI 48911‐1902
MARJORIE SMITH          938 SUNDAY ST                                                                            FLINT              MI 48532‐5069
MARJORIE SMITH          1834 KIPLING DR.                                                                         DAYTON             OH 45406
MARJORIE SNIDEMAN       686E C/R 500 SO                                                                          ANDERSON           IN 46013
MARJORIE SOHLDEN        G 3501 W DAYTON                                                                          FLINT              MI 48504
MARJORIE SOULERET       995 LIBERTY AVE                                                                          LINCOLN PARK       MI 48146‐3608
MARJORIE SPANGLER       129 RINGWOOD WAY                                                                         ANDERSON           IN 46013‐4254
MARJORIE SPATAFORE      1768 PENNY LN                                                                            YOUNGSTOWN         OH 44515‐4923
MARJORIE SPENCER        1606 HUNTINGTON RD                                                                       SAGINAW            MI 48601‐5128
MARJORIE SPENCER        302 S ACADEMY ST APT 1                                                                   JANESVILLE         WI 53548‐4671
MARJORIE SPERRY         1203 W MAIN ST                                                                           NEW LEBANON        OH 45345‐9764
MARJORIE SPERRY         1203 W. MAIN ST                                                                          NEW LEBANON        OH 45345‐9764
MARJORIE SPITZMESSER    619 SUNSET CT                                                                            ANDERSON           IN 46013‐1176
MARJORIE SPRINGER       5059 FAIRWAY DR                                                                          AVON               IN 46123‐4609
MARJORIE STALL          846 WEBSTER ST                                                                           DAYTON             OH 45404‐1561
MARJORIE STAPLES        534 E JOLLY RD                                                                           LANSING            MI 48910‐6829
MARJORIE STASINSKI      1320 S JACKSON ST                                                                        BAY CITY           MI 48708‐8066
MARJORIE STEELE         5740 KENSINGTON WAY S                                                                    PLAINFIELD         IN 46168‐7550
MARJORIE STEMPLE        7600 NANKIN CT APT 1120                                                                  WESTLAND           MI 48185‐6214
MARJORIE STEPPKE        201 S GREENFIELD RD LOT 297                                                              MESA               AZ 85206‐1237
MARJORIE STEVENS        13780 LAKESD BLVD N             BLD‐A#311                                                SHELBY TOWNSHIP    MI 48315
MARJORIE STEVENS        20444 MENDOTA ST                                                                         DETROIT            MI 48221‐1050
MARJORIE STEVENSON      1517 SHERMAN ST SE                                                                       GRAND RAPIDS       MI 49506‐2714
MARJORIE STOIBER        7030 W. FOREST HOME AVENUE                                                               MILWAUKEE          WI 53220
MARJORIE STONE          3470 TAYLOR ST                                                                           JENISON            MI 49428‐9534
MARJORIE STORER         2177 RENSHAW AVE                                                                         DAYTON             OH 45439‐3031
MARJORIE STRONG         5384 SILVERTON DR                                                                        GRAND BLANC        MI 48439‐4348
MARJORIE STUTTS         2652 LYLES LN                                                                            SHREVEPORT         LA 71118‐2676
MARJORIE SULLIVAN       733 BEE ST                                                                               MERIDEN            CT 06450‐2514
MARJORIE SUMNER         5240 ROBERTS DR                                                                          FLINT              MI 48506‐1554
MARJORIE SWADLING       344 OTTER LAKE RD                                                                        FOSTORIA           MI 48435‐9641
MARJORIE SWARTZ         362 MANG AVE                                                                             KENMORE            NY 14217‐2510
MARJORIE SWING          2810 ROCKFORD CT S                                                                       KOKOMO             IN 46902‐3205
MARJORIE TATOM          116 NORTHERN HILLS DR                                                                    BEDFORD            IN 47421‐7499
MARJORIE TAYLOR         5470 KATHY DR                                                                            FLINT              MI 48506‐1550
MARJORIE TEMPLIN        1625 W CARTER ST                                                                         KOKOMO             IN 46901‐5255
MARJORIE THIBEAULT      LOT 183                         4041 GRANGE HALL ROAD                                    HOLLY              MI 48442‐1928
MARJORIE THOMAS         5143 MELLWOOD DR                                                                         FLINT              MI 48507‐4529
MARJORIE THOMPSON       2473 NORTH RD ROOM 703 NE                                                                WARREN             OH 44483
MARJORIE THOMPSON       1277 BOWDOIN ST SE                                                                       KENTWOOD           MI 49508‐6108
MARJORIE THOMPSON       3350 DARBYSHIRE DR                                                                       DAYTON             OH 45440‐3672
MARJORIE THORNBERRY     2004 ASHBOURNE RD                                                                        ANDERSON           IN 46011‐2700
MARJORIE THORNTHWAITE   6947 JOHN R RD                                                                           TROY               MI 48085‐1051
MARJORIE TIMKO          1972 STILLWAGON RD SE                                                                    WARREN             OH 44484‐3165
MARJORIE TOLOSO         6896 HIGHWAY T                                                                           RICHMOND           MO 64085‐8535
MARJORIE TOMSON         4901 W ST RD 16                                                                          DENVER             IN 46926
MARJORIE TROUP          1904 S CROSS LAKES CIR APT F                                                             ANDERSON           IN 46012‐4944
MARJORIE TURNER         392 CLOVERWOOD DRIVE                                                                     MASON              OH 45040‐2154
MARJORIE TUTTLE         377 W US HIGHWAY 36                                                                      PENDLETON          IN 46064‐9331
MARJORIE TWILLING       300 FAIRGROUNDS RD              IN C/O MILLERS MERRY MANOR                               TIPTON             IN 46072‐8458
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Name                     Address1                         Address2                     Address3    Address4         City           State Zip
MARJORIE TYREE           562 WOODSFERRY RD                                                                          BEDFORD         IN 47421‐8371
MARJORIE TYRER‐ CREECH   8853 NEW CASTLE DR                                                                         FORT MYERS      FL 33908‐5658
MARJORIE UECKER          7593 48TH AVE APT 3                                                                        HUDSONVILLE     MI 49426‐9784
MARJORIE UNDERWOOD       6450 S. 625 WEST                                                                           COATESVILLE     IN 46121
MARJORIE V JOHNSON       2830 JOY DRIVE                                                                             BEAVERCREEK     OH 45434‐6436
MARJORIE VAN DETTE       10221 TENNESSEE ST                                                                         OSCODA          MI 48750‐1905
MARJORIE VANOCHTEN       1105 BORTON AVE                                                                            ESSEXVILLE      MI 48732‐1271
MARJORIE VANVOLKENBURG   1472 MARIA ST                                                                              FLINT           MI 48507‐5528
MARJORIE VAUGHT          6190 MEADOWWOOD LN                                                                         GRAND BLANC     MI 48439‐9195
MARJORIE VERNON          BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS      OH 44236
MARJORIE VINCENT         1095 BIRCHWOOD DR                                                                          BURT            MI 48417‐9719
MARJORIE VOSS            263 AKRON ST                                                                               LOCKPORT        NY 14094‐5123
MARJORIE W BUSH          2711 HEATHER LN NW                                                                         WARREN          OH 44485
MARJORIE W ISON          920 TAMIAMI TRAIL S              # 558                                                     VENICE          FL 34285
MARJORIE WAGNER          PO BOX 638                                                                                 KALIDA          OH 45853‐0638
MARJORIE WALKER          6393 RIDDLE RD                                                                             LOCKPORT        NY 14094‐9329
MARJORIE WALKER          4686 STATE ROAD 32 E 32                                                                    ANDERSON        IN 46017
MARJORIE WALKER          210 GROSBECK ST                                                                            VANDALIA        OH 45377‐1919
MARJORIE WARDELL         5503 PACKARD HWY                                                                           CHARLOTTE       MI 48813‐9349
MARJORIE WARDERS         4248 SUNSET AVE                                                                            INDIANAPOLIS    IN 46208‐3766
MARJORIE WARNER          1201 LAKEWOOD DR                                                                           ADRIAN          MI 49221‐4622
MARJORIE WARREN          183 BEAVER SHORES DR                                                                       LACHINE         MI 49753‐9457
MARJORIE WARRUM          PO BOX 1051                                                                                MONTICELLO      IN 47960‐1051
MARJORIE WEISER          10545 AMITY RD                                                                             BROOKVILLE      OH 45309‐9322
MARJORIE WELCH           4951 HOLMES RD                                                                             GOODRICH        MI 48438‐8921
MARJORIE WELLS           3409 SHARON AVE                                                                            KETTERING       OH 45429‐3629
MARJORIE WELLS           902 TEASDALE ST                                                                            POTOSI          MO 63664‐1135
MARJORIE WENRICH         1 LINDEN LANE                                                                              LEVITTOWN       PA 19054‐3913
MARJORIE WEST            4920 CASS ELIZABETH RD                                                                     WATERFORD       MI 48327‐3217
MARJORIE WHITE           7777 N SHELDON RD                                                                          CANTON          MI 48187‐2134
MARJORIE WICZEN          951 STATE ROUTE 534 SW                                                                     NEWTON FALLS    OH 44444‐9520
MARJORIE WIGHAM          2100 SWOPE DR APT 148                                                                      INDEPENDENCE    MO 64057
MARJORIE WILHELM         17098 ROAD 168                                                                             PAULDING        OH 45879‐9060
MARJORIE WILLIAMS        221 E 8TH AVE                                                                              ROSELLE         NJ 07203‐2033
MARJORIE WILSON          82 ANGLERS CV                                                                              HILTON          NY 14468‐8960
MARJORIE WINFREY         6451 E 125 S                                                                               KNOX            IN 46534‐8407
MARJORIE WINKELMAN       1229 BELMONT AVE                                                                           MANSFIELD       OH 44906‐1615
MARJORIE WINSTON         38972 CHESHIRE DR                                                                          NORTHVILLE      MI 48167‐9003
MARJORIE WIREBAUGH       3869 CLOUSE RD                                                                             GLENNIE         MI 48737‐9746
MARJORIE WISHART         897 STATE ROUTE 534 NW                                                                     NEWTON FALLS    OH 44444‐9513
MARJORIE WISNIEWSKI      5201 CONNER ST                                                                             DETROIT         MI 48213‐3405
MARJORIE WOELKE          13449 ARNOLD                                                                               REDFORD         MI 48239‐2672
MARJORIE WOFFORD         35 EATON ST                                                                                BUFFALO         NY 14209‐1907
MARJORIE WOOD            5026 COOPERS LANDING DR APT 1A                                                             KALAMAZOO       MI 49004‐7668
MARJORIE WOOD            749 ARTESIA AVE                                                                            THE VILLAGES    FL 32162‐7411
MARJORIE WOODS           13029 N 99TH DR                                                                            SUN CITY        AZ 85351‐2816
MARJORIE WOODWARD        6863 SEWAN DR LOT 45                                                                       NORTH BRANCH    MI 48461
MARJORIE YANKEE          APT 411                          2173 SOUTH CENTER ROAD                                    BURTON          MI 48519‐1809
MARJORIE YEOMANS         49 WAYSIDE RD                                                                              WESTBOROUGH     MA 01581‐3622
MARJORIE YOUNG           1317 E TAYLOR ST                                                                           KOKOMO          IN 46901‐4909
MARJORIE ZEHLER          1709 GREENWOOD AVE                                                                         HAMILTON        OH 45011‐1835
MARJORIE ZENKO           2045 OLD LEASBURG ROAD                                                                     LEASBURG        MO 65535‐9122
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Name                    Address1                         Address2                      Address3   Address4         City             State Zip
MARJORIE ZUZULA         3384 BAUER DR                                                                              SAGINAW           MI 48604‐2255
MARJORIE ZWALD          114 TAFT AVE                                                                               ELKLAND           PA 16920‐1326
MARJORY ALLPORT         4308 SIOUX CT                                                                              SAINT CLOUD       FL 34772‐7361
MARJORY CACIOPPO        432 MOTORCOACH DR S              DRIVE SOUTH                                               POLK CITY         FL 33868‐5135
MARJORY CHAMBERS        7711 S RAEFORD RD                SUIT # 102‐172                                            FAYETTEVILLE      NC 28304
MARJORY CLUTE           3601 RIVER BLUFF RD                                                                        ANDERSON          IN 46012‐4637
MARJORY D DEDON         2805 LYDIA AVE SW                                                                          WARREN            OH 44481‐9619
MARJORY DEDON           2805 LYDIA ST SW                                                                           WARREN            OH 44481‐9619
MARJORY DONNENWIRTH     51 PLYMOUTH ST                                                                             PLYMOUTH          OH 44865‐1007
MARJORY DUNCAN          1918 INDEPENDENCE RD                                                                       JANESVILLE        WI 53545‐0528
MARJORY GIBSON          601 SCOTT ST                                                                               CRESTLINE         OH 44827‐1550
MARJORY GILLIS          3701 E COUNTY ROAD 550 S                                                                   MUNCIE            IN 47302‐8470
MARJORY H CACIOPPO      432 MOTORCOACH DR S                                                                        POLK CITY         FL 33868‐5135
MARJORY HAAS            1103 HASLETT RD                                                                            HASLETT           MI 48840‐9704
MARJORY HODGESON        11070 DENTON HILL RD                                                                       FENTON            MI 48430‐2520
MARJORY JOHNSON         700 JUDY AVE                                                                               EATON             OH 45320‐1219
MARJORY KOSCHICK        520 CORDELL AVE                                                                            INTERLACHEN       FL 32140‐6511
MARJORY LEE             732 S CANAL ST                                                                             COEUR D ALENE     ID 83814
MARJORY MOORE           128 WILBUR ST SE                                                                           GRAND RAPIDS      MI 49548‐3327
MARJORY P POSICK        114 PINE ST                                                                                EAST ROCHESTER    NY 14445‐1328
MARJORY PLATTE          4402 STONEHURST AVE                                                                        HOLT              MI 48842‐2031
MARJORY PLOTAR          4028 BEEBE RD                                                                              NEWFANE           NY 14108‐9663
MARJORY POSICK          114 PINE ST                                                                                EAST ROCHESTER    NY 14445‐1328
MARJORY PRINCE          C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS        OH 44236
MARJORY SEGAL           6767 SAN CASA DR LOT 47          OYSTER CREEK MOBILE HOME PK                               ENGLEWOOD         FL 34224‐7610
MARJORY TODD            2704 HICKORYWOOD DR                                                                        GAYLORD           MI 49735‐6403
MARJORY WEATHERFORD     6298 BARNES RD                                                                             MILLINGTON        MI 48746‐9554
MARK
MARK & BOZENA HOLLAND   1903 COBBLEFIELD WAY                                                                       GLENDORA         CA   91740
MARK & CHERYL HICKS     MCKENNA & ASSOCIATES PC          436 BOULEVARD OF THE ALLIES   STE 500                     PITTSBURGH       PA   15219‐1331
MARK A AKERS            1927 BRENTWOOD ST                                                                          MIDDLETOWN       OH   45044‐6960
MARK A ANDERSON         4326 ESTA DR                                                                               FLINT            MI   48506‐1473
MARK A BAKER            4216 COVENTRY DR.                                                                          KOKOMO           IN   46902
MARK A BANKS            154 CARRIAGE HILL DR             #28                                                       DANVILLE         VA   24540‐5176
MARK A BARBER           13030 INGLESIDE DR                                                                         BELTSVILLE       MD   20705‐3203
MARK A BASS SR          2425 GRANT AVE                                                                             DAYTON           OH   45406‐1726
MARK A BAUN             ACCT OF MARGUERITE J LITTLE
MARK A BLESSING         1922 S SMITHVILLE RD # 191                                                                 KETTERING        OH   45420
MARK A BROCKWAY         524 TROY ST                                                                                DAYTON           OH   45404
MARK A BROOKHOUSE       1012 N VAN BUREN ST                                                                        BAY CITY         MI   48708‐6076
MARK A BRYANT           648 FARMERS RD                                                                             WILMINGTON       OH   45177
MARK A BUCKNER          8130 MARIAN ST                                                                             WARREN           MI   48093‐7119
MARK A CAMPBELL         130 E DEER RUN PARK RD                                                                     EDGERTON         WI   53534‐9712
MARK A CARAVAYO         1332 LICK AVE #4                                                                           SAN JOSE         CA   95110‐3231
MARK A CASTILLO         1714 E GLASTONBERRY RD                                                                     TOLEDO           OH   43613‐2338
MARK A CAUVEL           155 E ASTER                                                                                UPLAND           CA   91786‐2314
MARK A CHRISTMAN        1423 SUNSET BLVD                                                                           FLINT            MI   48507‐4062
MARK A CLANCY           9795 TEXTILE RD                                                                            YPSILANTI        MI   48197‐7039
MARK A CLARK            7423 HARSHMANVILLE RD                                                                      HUBER HEIGHTS    OH   45424
MARK A COLE             7730 RAGLAN DR NE                                                                          WARREN           OH   44484‐1434
MARK A COOK             5218 N OAK RD                                                                              DAVISON          MI   48423‐9375
MARK A CROW             536 MONTGOMERY ST                                                                          MIAMISBURG       OH   45342
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Name                               Address1                           Address2                Address3         Address4         City              State Zip
MARK A CROWELL                     1215 NORTH MASON ROAD                                                                        WHEELER            MI 48662
MARK A CZARZASTY                   836 HEATHER CT                                                                               VANDALIA           OH 45377‐1619
MARK A DANIEL                      14 ROBBINS WAY                                                                               WEST ALEXANDRIA    OH 45381
MARK A DANIELS                     3830 STILLWELL AVE                                                                           LANSING            MI 48911‐2158
MARK A DEAN                        4110 ROBINHOOD TER                                                                           MIDLAND            MI 48642
MARK A DELL                        1224 RONA PARKWAY                                                                            FAIRBORN           OH 45324
MARK A DOWNEY AUTO GROUP LLC       DBA DOWNEY CHEVROLET               1201 HARVEST RIDGE LN                                     PROSPER            TX 75078‐9131
MARK A DOWNEY AUTO GROUP, L.L.C.   MARK DOWNEY                        1100 W DALLAS AVE                                         COOPER             TX 75432‐1302
MARK A DOWNEY AUTO GROUP, L.L.C.   MARK DOWNEY                        1201 HARVEST RIDGE LN                                     PROSPER            TX 75078‐9131
MARK A DUNBAR                      1490 YORK ST                                                                                 N BLOOMFIELD       OH 44450‐9747
MARK A EBEL                        22 BLACKBIRD LN                                                                              ALISO VIEJO        CA 92656‐1765
MARK A EIBES                       107 SHOAL DRIVE                                                                              CARTER LAKE         IA 51510
MARK A ELTER JR                    3300 CLEARVIEW AVE                                                                           MORAINE            OH 45439‐1110
MARK A FELDMAN                     26735 K 68 HWY                                                                               PAOLA              KS 66071‐9300
MARK A FERGUSON                    2923 DALE RD                                                                                 SHELBY             OH 44875‐9465
MARK A FIELDS                      1171 MAYROSE DR 1                                                                            DAYTON             OH 45449
MARK A FISHER                      4505 MIAMI SHORES DR                                                                         MORAINE            OH 45439‐1309
MARK A FLAYLER                     117 NORTH SECOND ST.                                                                         TIPP CITY          OH 45371‐1907
MARK A FLORENCE                    7815 N MAIN ST APT 9                                                                         DAYTON             OH 45415‐2323
MARK A FOWLER                      816 ORVILLE WAY                                                                              XENIA              OH 45385
MARK A FRANK                       18 S SHORT STREET                                                                            TROY               OH 45373
MARK A FUERST                      4183 TAREYTON DR                                                                             BELLBROOK          OH 45305
MARK A GALAVIZ                     500 S FAIRVIEW AVE                                                                           LANSING            MI 48912‐2918
MARK A GARDNER                     3915 BRADWOOD DR                                                                             DAYTON             OH 45405
MARK A GOULD                       7103 LOU MAC DR                                                                              SWARTZ CREEK       MI 48473‐9718
MARK A GROSS                       512 PETERSBURG PL                                                                            WENTZVILLE         MO 63385‐3619
MARK A GROTHOUSE                   19 EVANSTON AVE.                                                                             DAYTON             OH 45409‐2402
MARK A GUMBERT                     PO BOX 262                                                                                   FORT LORAMIE       OH 45845
MARK A HALL                        117 CORLEY DR                                                                                ROCHESTER          NY 14622‐1209
MARK A HAWKINS                     5064 FORD ST                                                                                 INDIANAPOLIS       IN 46224‐6963
MARK A HEATH                       4264 DOBBIN CIRCLE                                                                           DAYTON             OH 45424
MARK A HICKS                       7410 DELTA COMMERCE DR                                                                       LANSING            MI 48917‐1060
MARK A HIRSCH                      2213 W ORNGTHRPE                                                                             FULLERTON          CA 92833‐4412
MARK A HORTON                      1611 ARLINGTON AVENUE                                                                        TROY               OH 45373
MARK A HUFFMAN                     297 PURL ADAMS AVE                                                                           CRESTVIEW          FL 32539‐3604
MARK A IZOR                        525 1/2W CENTER ST APT 4                                                                     FARMERSVILLE       OH 45325
MARK A JONAS                       605 W IONIA ST                                                                               BAY CITY           MI 48706
MARK A JONES                       74 WOOLERY LN                      APT C                                                     DAYTON             OH 45415‐1718
MARK A JONES                       7721 WOODWARD AVE                                                                            DETROIT            MI 48202‐2819
MARK A JONES                       6431 PINE MEADOWS LN                                                                         FORT WAYNE         IN 46835‐3824
MARK A KERN                        571 SOUTHRIDGE DR                                                                            BEDFORD            IN 47421
MARK A KIRBY                       4381 COLUMBINE AVE                                                                           BURTON             MI 48529‐2168
MARK A KLEIN                       8117 BEECHER RD                                                                              FLUSHING           MI 48433‐9424
MARK A KLIER                       9901 WILBUR HWY                                                                              EATON RAPIDS       MI 48827‐8315
MARK A KRISTA                      1642 HUMPHREY AVE                                                                            DAYTON             OH 45410
MARK A KROYNOVICH                  303 GRANDVIEW AVE                                                                            HUBBARD            OH 44425
MARK A LABIG                       94 E HARBINE AVE                                                                             XENIA              OH 45385‐1801
MARK A LAMB                        844 FRIZELL AVE                                                                              DAYTON             OH 45417
MARK A LAMBERT                     212 OLD CARRIAGE DR                                                                          ENGLEWOOD          OH 45322
MARK A LARSEN                      304 FREEDOM DR                                                                               FRANKLIN           TN 37067‐5650
MARK A LASKOSKY                    21321 N DIXBORO RD                                                                           SOUTH LYON         MI 48178‐9131
MARK A LEFFEW                      9665 CAMARILLO CIR                                                                           PLAIN CITY         OH 43064
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Name                Address1                       Address2                Address3         Address4         City            State Zip
MARK A LEVI         4635 HALE HILL ROAD                                                                      POLAND           IN 47868‐7086
MARK A LIBERTO      1213 SUNNYVALE DR                                                                        ARLINGTON        TX 76010‐2943
MARK A LOGES        P O 177                                                                                  NORTH HAMPTON    OH 45349
MARK A MAGALLON     412 YUCHI CT                                                                             FORT WORTH       TX 76108‐4200
MARK A MANIS        6242 BLUE ASH ROAD                                                                       DAYTON           OH 45414‐2802
MARK A MANTIA       1263 ANSEL DRIVE                                                                         KETTERING        OH 45419
MARK A MARKOWSKI    550 FOREST LAWN ROAD                                                                     WEBSTER          NY 14580‐1064
MARK A MARTIN       890 LANCELOT DR                APT A                                                     DAYTON           OH 45449‐2440
MARK A MCDANIEL     3130 E SHOCKLEY RD                                                                       MUNCIE           IN 47302‐8614
MARK A MCWHORTER    1309 CANSLER AVE.                                                                        GADSDEN          AL 35901
MARK A MEYERS       857 SUNSET DR                                                                            ENGLEWOOD        OH 45322‐2227
MARK A MINDEK       4909 STATE ROUTE 45                                                                      BRISTOLVILLE     OH 44402‐9656
MARK A MITCHELL     740 GUSS ROAD                                                                            LEWISTOWN        PA 17044
MARK A MONTGOMERY   732 VAN EATON RD                                                                         XENIA            OH 45385‐9340
MARK A MOOCHLER     8697 N STREET RD                                                                         LE ROY           NY 14482‐9122
MARK A MURPHY JR    1624 HOMES RD                                                                            YPSILANTI        MI 48198‐4144
MARK A NAPIER       3017 MURIEL AVE                                                                          KETTERING        OH 45429‐3817
MARK A NARTKER      847 WILFRED AVE                                                                          DAYTON           OH 45410‐2910
MARK A NEAL         913 5TH ST                                                                               BAY CITY         MI 48708‐6027
MARK A NEU I I      7278 BAHAMA DR                                                                           MIDDLETOWN       OH 45044‐9427
MARK A NEUMANN      6205 SHELDON ST                                                                          YPSILANTI        MI 48197‐8221
MARK A NORMAN       909 N SHERIDAN ST                                                                        BAY CITY         MI 48708‐6055
MARK A NORVELL      645 S. FULS RD                                                                           NEW LEBANON      OH 45345‐9113
MARK A O'CONNOR     4790 N UNION RD                                                                          TROTWOOD         OH 45426
MARK A OMLOR        18 BURKHARDT AVE                                                                         DAYTON           OH 45403
MARK A OWENS        2713 WILLOWRIDGE DR                                                                      DAYTON           OH 45414‐2839
MARK A PAHL         1507 TRAVIS DR                                                                           TOLEDO           OH 43612‐4036
MARK A PARADISO     643 KIRKWOOD DR                                                                          VANDALIA         OH 45377‐1313
MARK A PEARL        2181 LOCKPORT OLCOTT RD                                                                  BURT             NY 14028‐9788
MARK A PERRONE      240A WESTVIEW COMMONS BLVD B                                                             ROCHESTER        NY 14624
MARK A PETERSHEIM   113 COTTAGE CREEK LANE                                                                   YORK             SC 29745‐9152
MARK A PHELPS       3058 SKANDER DR                                                                          FLINT            MI 48504‐1243
MARK A PIERCE       58140 JEWELL RD                                                                          WASHINGTON       MI 48094‐3095
MARK A REYNOLDS     604 BRANTLY                                                                              RIVERSIDE        OH 45404
MARK A ROUTZOHN     414 JOELLEN PLACE                                                                        UNION            OH 45322‐3115
MARK A RUPPERT      1691 FORESTDALE AVE                                                                      BEAVERCREEK      OH 45432‐3958
MARK A RUSHING      4346 S DOGAN DR                                                                          MARTINSVILLE     IN 46151‐6281
MARK A RUST         2782 S 700 W                                                                             PORTLAND         IN 47371‐7280
MARK A SCOTT        59 WYNDEMERE DR                                                                          FRANKLIN         OH 45005
MARK A SEAGRAVES    4019 CAPRICE RD                                                                          ENGLEWOOD        OH 45322‐2648
MARK A SHAFFER      5577 PARK AVE.                                                                           WARREN           OH 44481‐9371
MARK A SHARP        4873 WARREN RD                                                                           CORTLAND         OH 44410
MARK A SHELL        20381 FOXWORTH CIRCLE                                                                    ESTERO           FL 33928‐‐ 44
MARK A SHEPHERD     4575 SELMA RD                                                                            SPRINGFIELD      OH 45502
MARK A SHINKLE      971 RIVERVIEW CT.                                                                        XENIA            OH 45385
MARK A SIME         2818 QUEBEC LN                                                                           JANESVILLE       WI 53545‐0630
MARK A SIPPER       3659 GIBSONIA RD                                                                         GIBSONIA         PA 15044
MARK A SMITH        1083 NORMANDY TERRACE DR                                                                 FLINT            MI 48532‐3547
MARK A SMITH        545 MOOMAW RD                                                                            CLARKSVILLE      OH 45113
MARK A SMITH, JR.   1606 SWEETBRIER ST SW                                                                    WARREN           OH 44485
MARK A SPARKS       6438 E PIERSON RD                                                                        FLINT            MI 48506‐2258
MARK A STUCKEY      1026 SUMMERHILL DR                                                                       JANESVILLE       WI 53546‐3727
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Name                                 Address1                            Address2                     Address3   Address4         City              State Zip
MARK A SUTTON                        4539 PRESCOTT AVENUE                                                                         DAYTON             OH 45406‐2439
MARK A SZWEJKOWSKI                   8203 CUTTER PL                                                                               JACKSONVILLE       FL 32216‐6391
MARK A TERPIN                        6422 EGRET LN                                                                                BRADENTON          FL 34210
MARK A THOMAS                        4158 RIDGECREST AVE                                                                          DAYTON             OH 45416
MARK A TURNER                        604 LAKE AVE                                                                                 FRANKLIN           OH 45005
MARK A VANBUREN                      414 TRENT DR                                                                                 JACKSON            MS 39212
MARK A VANDIVIER                     4901 FAR HILLS AVE A2                                                                        KETTERING          OH 45429‐2338
MARK A VANOVER                       760 GREYHOUND DR                                                                             NEW LEBANON        OH 45345
MARK A WEBSTER                       4403 RANCLIFFE CT                                                                            CHARLOTTE          NC 28269
MARK A WELLER                        913 E MOLLOY RD                                                                              SYRACUSE           NY 13211‐1302
MARK A WELLS                         9933 GLADSTONE RD                                                                            NORTH JACKSON      OH 44451‐9695
MARK A WHEELER                       7023 FLAXFORD TRL                                                                            ARLINGTON          TX 76001
MARK A WHITEHEAD                     150 PARISH LN APT 535                                                                        ROANOKE            TX 76262‐6676
MARK A WILDER                        3216 OUTDOOR RD                                                                              MORAINE            OH 45439‐1316
MARK A WILLIAMS                      235 ASHWOOD AVE                                                                              DAYTON             OH 45405
MARK A WILSON                        5151 PORSCHE DR                                                                              LIBERTY TWP        OH 45011
MARK A WISWELL                       402 S. WEBB RD                                                                               WILMINGTON         OH 45177
MARK A WULF                          15 BENNINGTON GREEN LANE                                                                     ROCHESTER          NY 14616‐4725
MARK A WYSOCKI                       PO BOX 177                                                                                   LYONS              MI 48851‐0177
MARK A YBARRA
MARK A YORKANIS                      46 GORDON AVE                                                                                FORDS             NJ   08863‐1804
MARK A YOUNG                         1655 VILLA SOUTH DR                                                                          W CARROLLTON      OH   45449
MARK A ZIMMERMAN                     404 JOHN ST                                                                                  TRENTON           OH   45067‐1246
MARK A. EMKES, CHAIRMAN AND CEO,     C/O ALAMEDA STREET (ENGLE) SITE,                                                             NASHVILLE         TN   37214
BRIDGESTONE FIRESTONE, INC.          SOUTHGATE, CA, 535 MARRIOTT DRIVE
MARK A. STEPHENSON
MARK A. STEVENS, ESQ., C/O MALVERN   1616 WALNUT ST STE 700                                                                       PHILADELPHIA      PA 19103‐5307
TCE SITE PRP GROUP
MARK A. WARD
MARK A. WESTFALL
MARK AARSTAD                         2144 S OAKHILL AVE                                                                           JANESVILLE        WI   53546‐9048
MARK ABBE                            6150 STROEBEL RD                                                                             SAGINAW           MI   48609‐5231
MARK ABBEY                           12307 JENNINGS RD                                                                            LINDEN            MI   48451‐9433
MARK ABDALLAH                        4760 WEST MARIGOLD LANE                                                                      MONEE             IL   60449
MARK ABELE                           30224 FLORENCE ST                                                                            GARDEN CITY       MI   48135‐2630
MARK ABENT                           12058 BERTHA ST                                                                              CERRITOS          CA   90703‐7519
MARK ABER                            BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH   44236
MARK ABRAHAM                         41854 KENTVALE DR                                                                            CLINTON TWP       MI   48038‐1978
MARK ACCARDO                         1383 WILLIAMSBURG RD                                                                         FLINT             MI   48507‐5627
MARK ACKERSON                        9020 PEAKE RD                                                                                PORTLAND          MI   48875‐8419
MARK ACKERSON                        2590 SORORITY LN                                                                             HOLT              MI   48842‐9427
MARK ACRE                            1223 LINCOLN DR                                                                              FLINT             MI   48507‐4240
MARK ADAMS                           719 RIDGEWOOD RD                                                                             ROCHESTER HLS     MI   48306‐2651
MARK ADAMS                           7640 HILLSIDE DR                                                                             VICTOR            NY   14564‐8928
MARK ADAMS                           5334 SEEBALDT ST                                                                             DETROIT           MI   48204‐4233
MARK ADAMS                           9 OLIVIA LN                                                                                  GLEN CARBON       IL   62034‐1223
MARK ADAMS                           1267 DUFRAIN AVE                                                                             PONTIAC           MI   48342‐1932
MARK ADAMS                           944 OAK BROOK DR                                                                             MIDDLEVILLE       MI   49333‐7018
MARK ADAMSON                         1914 S STATE ROAD 267                                                                        AVON              IN   46123‐8499
MARK ADDISON                         6305 HENDERSON RD                                                                            COLUMBIAVILLE     MI   48421‐8812
MARK ADLER                           4827 FAIRWAY RDG S                                                                           WEST BLOOMFIELD   MI   48323‐3315
MARK AGEE                            1075 KENILWORTH AVE                                                                          NAPOLEON          OH   43545‐1211
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Name                    Address1                              Address2                      Address3   Address4         City                  State Zip
MARK AHO                6349 W LAKE RD                                                                                  CLIO                   MI 48420‐8241
MARK AHRENS             340 PARKVIEW CT APT 104                                                                         AUBURN HILLS           MI 48326‐1187
MARK AIELLO             500 WOODWARD                          STE 2600                                                  DETROIT                MI 48226
MARK AKERS              4534 FAIR PARK AVE                                                                              RIVERSIDE              OH 45431
MARK AKINS              20 BENJAMIN DR                                                                                  TROY                   MO 63379‐4461
MARK ALAN HARAY
MARK ALAN YOUNG         2448 E 39TH ST                                                                                  ANDERSON              IN   46013‐2606
MARK ALBAN              3403 SHERWOOD RD                                                                                BAY CITY              MI   48706‐1596
MARK ALBIN              6076 E FRANCES RD                                                                               MOUNT MORRIS          MI   48458‐9754
MARK ALDERSON           6088 WILLARD RD                                                                                 MILLINGTON            MI   48746‐9206
MARK ALDERTON           50 WESTSIDE SAGINAW RD                                                                          BAY CITY              MI   48706‐3450
MARK ALDRICH            7656 BARNSBURY DR                                                                               WEST BLOOMFIELD       MI   48324‐3612
MARK ALDRICH            948 WILDBROOK LN                                                                                LAKE ORION            MI   48362‐1550
MARK ALDRIDGE           540 FOREST LAWN RD                                                                              WEBSTER               NY   14580‐1064
MARK ALEXANDER          609 SIGLER ST                                                                                   FRANKTON              IN   46044
MARK ALEXANDER          8726 53RD PLACE E                                                                               BRADENTON             FL   34211‐3700
MARK ALLABAND           6562 HIGHWAY 527                                                                                DOYLINE               LA   71023‐3308
MARK ALLEN              62929 CRIMSON DR                                                                                WASHINGTON TOWNSHIP   MI   48094‐1744
MARK ALLEN              4951 N IDAHO RD                                                                                 APACHE JUNCTION       AZ   85219‐9609
MARK ALLEN              239 N HAGADORN RD                                                                               EAST LANSING          MI   48823‐4616
MARK ALLEN              1608 JACKSON DR                                                                                 NORMAN                OK   73071‐3266
MARK ALLEN              3000 CREEK RD                                                                                   YOUNGSTOWN            NY   14174‐1116
MARK ALLEN JR           14872 M‐35                                                                                      ROCK                  MI   49880
MARK ALLEN JR           1460 W LAKE RD                                                                                  CLIO                  MI   48420‐8800
MARK ALLEN SR.          6721 LIVE OAK RD                                                                                INDIANAPOLIS          IN   46214‐1943
MARK ALLISON            3247 AUTUMN VIEW LANE                                                                           METAMORA              MI   48455‐8732
MARK ALLISON            1812 N BAILEY RD                                                                                NORTH JACKSON         OH   44451‐9698
MARK ALLISON            1141 CARLISLE AVE                                                                               DAYTON                OH   45420‐1916
MARK ALTHOUSE           42 MILLS PL                                                                                     NEW LEBANON           OH   45345‐1429
MARK ALTUS              ACCT OF CHRISTINE M MC SORLEY         30500 NORTHWESTERN HWY STE                                FARMINGTON HILLS      MI   48334‐3180
                                                              500
MARK ALTVATER           5237 N WILLIAMS RD                                                                              SAINT JOHNS           MI   48879‐9442
MARK ALTY               10537 WHITBY CT                                                                                 CLARKSTON             MI   48348‐2197
MARK ALWARD             28374 TIMOTHY RD                                                                                CHESTERFIELD          MI   48047‐4864
MARK AMBROSE            1959 OAKWOOD AVE                                                                                NILES                 OH   44446‐4533
MARK AMES               3725 N HUBBARD LAKE RD                                                                          SPRUCE                MI   48762‐9743
MARK AMRINE             147 N WEST ST                                                                                   GREENVILLE            OH   45331‐2232
MARK AND CHERYL HICKS   MCKENNA & ASSOCIATES PC               436 BOULEVARD OF THE ALLIES   STE 500                     PITTSBURGH            PA   15219‐1331
MARK ANDERS             3871 GREENDALE DRIVE                                                                            FORT WAYNE            IN   46815‐4824
MARK ANDERS             557 ROSS RD SE                                                                                  LANCASTER             OH   43130‐9655
MARK ANDERSEN           7407 LEDGEWOOD DR                                                                               FENTON                MI   48430‐9224
MARK ANDERSEN           14950 31 MILE RD                                                                                WASHINGTON TOWNSHIP   MI   48095‐1500
MARK ANDERSON           1528 N ALTADENA AVE                                                                             ROYAL OAK             MI   48067‐3639
MARK ANDERSON           1408 WOODVINE DR                                                                                EULESS                TX   76040‐6445
MARK ANDERSON           PO BOX 212                                                                                      PECULIAR              MO   64078‐0212
MARK ANDERSON           6201 BERT KOUNS INDUSTRIAL LOOP LOT                                                             SHREVEPORT            LA   71129‐5016
                        51
MARK ANDERSON           4326 ESTA DR                                                                                    FLINT                 MI   48506‐1473
MARK ANDERSON           14926 MARSHA AVE                                                                                LEO                   IN   46765‐9717
MARK ANDREWS            1386 WAGON WHEEL CIR                                                                            GRAND BLANC           MI   48439‐4895
MARK ANGUS              1690 CONNELL RD                                                                                 ORTONVILLE            MI   48462‐9767
MARK ANTES              3009 N HIGHLAND ST                                                                              AVONDALE              MO   64117‐2508
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Name                           Address1                             Address2             Address3         Address4             City                State Zip
MARK ANTHONY                   2419 E LAKE BONNET RD                                                                           AVON PARK            FL 33825‐9630
MARK ANTHONY CHEVROLET, INC.   MARK PELLEGRINO                      1000 GATEWAY BLVD                                          WESTVILLE            NJ 08093‐1325
MARK ARCHER                    2936 POPLAR SP. CH. RD.                                                                         GAINESVILLE          GA 30507
MARK ARCHIBALD                 8150 BURLEIGH RD                                                                                GRAND BLANC          MI 48439‐9750
MARK ARENDZ (ATHLETE)          KANANASKIS HALL, 342 330‐24 AVE NW                                         CALGARY AB T2N 4V5
                                                                                                          CANADA
MARK ARNOLD                    35243 ELM ST                                                                                    WAYNE               MI   48184‐1213
MARK ARTIERI                   PO BOX 776                                                                                      OLCOTT              NY   14126‐0776
MARK ASHBURN                   3209 SUSAN CT                                                                                   KOKOMO              IN   46902‐3954
MARK ASHLEY                    695 DANBURY CT                                                                                  NEWTOWN             PA   18940‐4001
MARK ASHTON                    60385 SHAWNEE LN                                                                                WASHINGTON TWP      MI   48094‐2037
MARK ATCHISON                  6209 LAMPKINS BRIDGE RD                                                                         COLLEGE GROVE       TN   37046‐9151
MARK ATTANASIO                 199 MANHASSET AVE                                                                               MANHASSET           NY   11030‐2219
MARK AUCHTER                   7979 BROOKWOOD DR                                                                               CLARKSTON           MI   48348‐4471
MARK AUSTIN                    1615 VOSSWOOD WAY                                                                               BOWLING GREEN       KY   42104‐4561
MARK AUTO REPAIR               27307 US HIGHWAY 119 N                                                                          BELFRY              KY   41514
MARK AVERY                     9222 N DORT HWY                                                                                 MOUNT MORRIS        MI   48458‐1221
MARK AXE                       3270 NORFOLK CT                                                                                 SHELBY TOWNSHIP     MI   48316‐4834
MARK AYALA                     PO BOX 722                                                                                      ELMORE              OH   43416‐0722
MARK AZZOPARDI                 2331 BROOKRIDGE DR                                                                              TOLEDO              OH   43613‐1503
MARK B CLANCY                  37634 JONQUIL CT                                                                                WESTLAND            MI   48185‐1980
MARK B DELVECCHIO              15025 MCCASLIN LAKE RD                                                                          LINDEN              MI   48451‐9641
MARK B PHILLABAUM              31 S. MAPLE ST.                                                                                 GERMANTOWN          OH   45327‐1216
MARK B SOVLJANSKI JR           7260 STEPHENS                                                                                   CENTER LINE         MI   48015‐1033
MARK B TEPEN                   9683 HARBOUR COVE CT                                                                            YPSILANTI           MI   48197‐6901
MARK B VAUGH IRA               MARK B VAUGH                         637 PARK DR                                                FLOSSMOOR           IL   60422‐1116
MARK B WILBUR                  905 BIGHORN TER                                                                                 BRENTWOOD           CA   94513‐1813
MARK B. HAMILTON               6425 PONDEROSA WAY                                                                              LAS VEGAS           NV   89118
MARK BABCOCK                   38288 HURON POINTE DR                                                                           HARRISON TOWNSHIP   MI   48045‐2835
MARK BACHAND                   45910 WINTHROP PL                                                                               MACOMB              MI   48044‐5792
MARK BAILEY                    383 HAWTHORNE ST                                                                                ELYRIA              OH   44035‐3734
MARK BAILEY                    PO BOX 131                                                                                      BRETHREN            MI   49619‐0131
MARK BAINTER                   1271 PARKLAND RD                                                                                LAKE ORION          MI   48360‐2805
MARK BAKER                     21 ENDSLEY DR                                                                                   MOORESVILLE         IN   46158‐7992
MARK BAKER                     1019 MORTON STREET                                                                              ANDERSON            IN   46016‐1347
MARK BAKER                     37 MADISON LN                                                                                   CATAULA             GA   31804‐4501
MARK BAKER                     1212 W WINDEMERE AVE                                                                            ROYAL OAK           MI   48073‐5217
MARK BAKER SR                  9589 W HOLLYWOOD DR                                                                             OAK HARBOR          OH   43449‐8840
MARK BALDWIN                   PO BOX 36180                                                                                    GROSSE POINTE       MI   48236‐0180
MARK BALDWIN                   1740 PEGGY PL                                                                                   LANSING             MI   48910‐2589
MARK BALMAS                    1416 LOSSON RD                                                                                  DEPEW               NY   14043‐4615
MARK BANCROFT                  5375 W TOWNSEND RD                                                                              SAINT JOHNS         MI   48879‐9549
MARK BANDE                     1180 MINERS RUN                                                                                 ROCHESTER           MI   48306‐4801
MARK BANDURSKI                 14 LA SALLE AVE                                                                                 CLIFTON             NJ   07013‐2912
MARK BANDY                     PO BOX 13153                                                                                    FLINT               MI   48501‐3153
MARK BANEZ
MARK BANNAN                    2450 KROUSE RD LOT 463                                                                          OWOSSO              MI   48867‐8138
MARK BANYAS                    117 ASHBROOK TRL                                                                                FARMERSVILLE        OH   45325‐1226
MARK BARAN                     1649 LAKE MICHIGAN DR NW                                                                        GRAND RAPIDS        MI   49504‐6018
MARK BARANEK                   2000 S SHERIDAN ST                                                                              BAY CITY            MI   48708‐3816
MARK BARBER                    7438 GLENDALE DR                                                                                AVON                IN   46123‐7146
MARK BARBER                    1225 VAN PORTFLIET AVE NW                                                                       GRAND RAPIDS        MI   49534‐2209
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Name                  Address1                         Address2                     Address3   Address4         City               State Zip
MARK BARBERENA        7633 WOODFIELD RD                                                                         FORT WORTH          TX 76112‐6043
MARK BARCUS           6388 S 875 W                                                                              PENDLETON           IN 46064‐9784
MARK BARD             322 VINE ST                                                                               HUDSON              WI 54016‐1626
MARK BARGO            40 TRACK LANE                                                                             REEDSVILLE          PA 17084
MARK BARIL            38264 PLUMHOLLOW DR                                                                       STERLING HEIGHTS    MI 48312‐1210
MARK BARKER           2042 CRANDALL RD                                                                          MUIR                MI 48860‐9623
MARK BARKER           2880 BIDDLE RD                                                                            CRESTLINE           OH 44827‐9707
MARK BARKER           7140 COUNTY ROAD 47                                                                       LEXINGTON           OH 44904‐9601
MARK BARLOW           18918 HAMPSHIRE ST                                                                        LATHRUP VLG         MI 48076‐4412
MARK BARNES           1710 MAPLE RD                                                                             WILLIAMSVILLE       NY 14221‐2737
MARK BARNES           39305 NOTTINGHAM DR                                                                       ROMULUS             MI 48174‐6326
MARK BARRETT          1609 ALAN LN                                                                              LANSING             MI 48917‐1248
MARK BARTEL           12700 DUNN CT                                                                             PLYMOUTH            MI 48170‐6506
MARK BARTH            1329 WOODLOW ST                                                                           WATERFORD           MI 48328‐1363
MARK BASHORE          24731 CALVIN ST                                                                           DEARBORN            MI 48124‐4417
MARK BASS CHEVROLET   625 S BROADWAY ST                                                                         COAL CITY            IL 60416‐1705
MARK BASTACKY         6604 DALZELL PLACE                                                                        PITTSBURGH          PA 41252
MARK BATES            1091 TRACILEE DR                                                                          HOWELL              MI 48843‐8851
MARK BAUER            4176 FIRETHORN DR                                                                         SAGINAW             MI 48603‐1114
MARK BAUGH            39 PEBBLESTONE CT                                                                         TROY                MO 63379‐2800
MARK BAUGH            6656 N 200 W                                                                              SHARPSVILLE         IN 46068‐9034
MARK BAYER            40203 LANGTON DR                                                                          STERLING HTS        MI 48310‐6940
MARK BAYLESS          504 LAKE MARIAM TER                                                                       WINTER HAVEN        FL 33884‐3823
MARK BAYLIS           236 E BARRON RD                                                                           HOWELL              MI 48855‐8347
MARK BEACH            10480 CHADWICK RD                                                                         LAINGSBURG          MI 48848‐9452
MARK BEAL             PO BOX 21                                                                                 PITTSBURG           MO 65724‐0021
MARK BEAUDRY          500 BOUTELL DR                                                                            GRAND BLANC         MI 48439‐1581
MARK BEAUDRY          410 BLUEWATER DR                                                                          HOLLY               MI 48442‐8631
MARK BEAUREGARD       7050 PINE KNOB RD                                                                         CLARKSTON           MI 48348‐4822
MARK BECHTEL          7358 GILLETTE RD                                                                          FLUSHING            MI 48433‐9271
MARK BECKER           3096 AVALON DR                                                                            FLINT               MI 48507‐3406
MARK BECKETT          8521 PORTER RD APT 96                                                                     NIAGARA FALLS       NY 14304‐1631
MARK BEECH            16222 DAVIS LN                                                                            EAST LANSING        MI 48823‐9419
MARK BEERS            819 E MICHIGAN AVE                                                                        GRASS LAKE          MI 49240‐9331
MARK BEISECKER
MARK BEISWENGER       135 S VAN RD                                                                              HOLLY              MI   48442‐8407
MARK BELANGEE         5119 STATEN DR                                                                            GODFREY            IL   62035‐1523
MARK BELFY            4822 SUNDERLAND DR                                                                        STERLING HEIGHTS   MI   48314‐1972
MARK BELLAMY          6191 SWAFFER RD                                                                           VASSAR             MI   48768‐9659
MARK BELTER           15707 W STATE ROAD 81                                                                     BRODHEAD           WI   53520‐8974
MARK BELTRAMO         8077 WOOD DR                                                                              GROSSE ILE         MI   48138‐1143
MARK BEMISS           2099 HARWELL LN                                                                           CORNERSVILLE       TN   37047‐5048
MARK BENEFIEL         729 SE REDWOOD LN                                                                         BLUE SPRINGS       MO   64014‐4714
MARK BENI             PO BOX 9022                      C/O GM KOREA                                             WARREN             MI   48090‐9022
MARK BENNETT          47 RAWLINGS DR                                                                            BEAR               DE   19701‐1519
MARK BENNETT          PO BOX 527                                                                                HAMBURG            MI   48139‐0527
MARK BENNETT          6685 S JAY RD                                                                             WEST MILTON        OH   45383‐7718
MARK BENSON           6226 MEADOWWOOD LN                                                                        GRAND BLANC        MI   48439‐9027
MARK BENSON           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH   44236
MARK BENTLEY          8289 E BENNINGTON RD                                                                      DURAND             MI   48429‐9765
MARK BERENYI          4747 N ALAMANDO RD                                                                        COLEMAN            MI   48618‐8512
MARK BEREZNOFF        1452 N SEYMOUR RD                                                                         FLUSHING           MI   48433‐9453
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Name                 Address1                        Address2                     Address3   Address4         City                 State Zip
MARK BERGER          KURZE STR. 3
MARK BERNIER         1620 RIDGE HAVEN DR APT 616                                                              ARLINGTON            TX 76011‐9016
MARK BERNOSKEVICH    PO BOX 129                                                                               NORTH CARVER         MA 02355‐0129
MARK BERRYMAN
MARK BESHERSE        31001 SMITH AVE                                                                          ARDMORE               TN 38449‐3255
MARK BEST
MARK BETLEY          2169 WIGGINS RD                                                                          FENTON               MI    48430‐9791
MARK BETTINGER       7018 TOWNLINE RD                                                                         NORTH TONAWANDA      NY    14120‐9573
MARK BETTINGER       24900 DARTMOUTH ST                                                                       DEARBORN             MI    48124‐4440
MARK BEVINS          66200 CAMPGROUND RD                                                                      WASHINGTON           MI    48095‐1816
MARK BEYER           1582 38TH AVE                                                                            KENOSHA              WI    53144‐3364
MARK BIALEK          12827 CUNNINGHILL COVE RD                                                                BALTIMORE            MD    21220‐1178
MARK BIANUCCI
MARK BICKLE          4011 NEW HAVEN DR                                                                        JANESVILLE           WI    53546‐3700
MARK BICKLER         1011 S 105TH ST                                                                          WEST ALLIS           WI    53214‐2549
MARK BIELBY          G9254 WEBSTER                                                                            CLIO                 MI    48420
MARK BILICKI         6717 MINNICK RD                                                                          LOCKPORT             NY    14094‐9513
MARK BILLS           1245 S 20TH AVE                                                                          MAYWOOD              IL    60153‐1728
MARK BINGE           2309 LYONS AVE                                                                           LANSING              MI    48910‐3349
MARK BIRD            130 ORION TER                                                                            LAKE ORION           MI    48362‐1945
MARK BIRDNOW, INC.   MARK BIRDNOW                    1118 220TH ST                                            JESUP                IA    50648‐9425
MARK BIRDNOW, INC.   1118 220TH ST                                                                            JESUP                IA    50648‐9425
MARK BIRDSELL        1323 CAMP ST                                                                             SANDUSKY             OH    44870‐3157
MARK BIRDSELL        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.          OH    44236
MARK BIRTLES         12261 WHITE PINE DR                                                                      ALLENDALE            MI    49401‐9603
MARK BISDORF         1921 W JAMES DR                                                                          MARION               IN    46952‐1029
MARK BISHOP          240 W UNION GROVE CIR                                                                    AUBURN               GA    30011‐2316
MARK BISIGNANI       6962 NORTHVIEW DR                                                                        LOCKPORT             NY    14094‐5333
MARK BISSELL         11 WASHINGTON AVE                                                                        PITTSFORD            NY    14534‐1911
MARK BJERK           34554 HIVELEY ST                                                                         WESTLAND             MI    48186‐4323
MARK BLACK           2900 HAVENWOOD DR                                                                        HARRAH               OK    73045‐6427
MARK BLACKMON        417 GLENLEAF DR                                                                          NORCROSS             GA    30092‐6104
MARK BLAKE           2749 FLINT RD                                                                            ORTONVILLE           MI    48462‐8953
MARK BLANCHE         7595 HOLTON ROAD                                                                         HOLTON               MI    49425‐9532
MARK BLANKENSHIP     3442 HERITAGE BLVD                                                                       SWARTZ CREEK         MI    48473‐7942
MARK BLANKENSHIP     C/O MOTHERWAY & NAPLETON LLP    100 W MONROE ST STE 200                                  CHICAGO              IL    60603
MARK BLANTON         23716 TALBOT ST                                                                          SAINT CLAIR SHORES   MI    48082‐1159
MARK BLANTON         572 CLEARVIEW RD                                                                         MANSFIELD            OH    44907‐2717
MARK BLAZEJAK        218 CASPER WAY                                                                           MIDDLETOWN           DE    19709‐7942
MARK BLEVINS         2208 COUNTY ROAD 529                                                                     BURLESON             TX    76028‐2452
MARK BLIZNIAK        PO BOX 371                                                                               LINDEN               NJ    07036‐0371
MARK BLODGETT        37601 SAMANTHA DR                                                                        STERLING HTS         MI    48310‐3585
MARK BLONIARZ        1661 FAIRLAWN ST                                                                         DEFIANCE             OH    43512‐4014
MARK BLOOM           352 RICHLAND AVENUE                                                                      SAN FRANCISCO        CA    94110‐5931
MARK BLOUIN          17774 WHITE PLAINS DR                                                                    MACOMB               MI    48044‐5105
MARK BLUEMLEIN       3303 NORTHWEST DR                                                                        SAGINAW              MI    48603‐2335
MARK BODDY           508 DALE CT                                                                              FRANKLIN             TN    37067‐5641
MARK BODENBACH       4414 DIEHL RD                                                                            METAMORA             MI    48455‐9754
MARK BOECKMAN        201 ASHFORD OAKS DR                                                                      WENTZVILLE           MO    63385‐2793
MARK BOEH            3205 S HAWTHORNE AVE                                                                     INDEPENDENCE         MO    64052‐1243
MARK BOGER           79 N BASSETT RD                                                                          LAPEER               MI    48446‐2862
MARK BOHON           5400 CLEARWOOD ST                                                                        COMMERCE TWP         MI    48382‐3242
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Name             Address1                         Address2                     Address3   Address4         City                  State Zip
MARK BOIKE       10207 HORTON RD                                                                           GOODRICH               MI 48438‐9089
MARK BOKER       556 BEECHWOOD WAY                                                                         LAKE ORION             MI 48362‐1597
MARK BOLAN       7050 FISH LAKE RD                                                                         HOLLY                  MI 48442‐9189
MARK BOLANDER    486 W 500 S                                                                               ANDERSON               IN 46013‐5408
MARK BOLGER      7275 DUTCH RD                                                                             SAGINAW                MI 48609‐9580
MARK BOLT        788 CLARA AVE                                                                             PONTIAC                MI 48340‐2038
MARK BOMAN       PO BOX 194                                                                                MAPLE RAPIDS           MI 48853‐0194
MARK BOND        283 RIVERMONT CIR                                                                         FRANKLIN               TN 37064‐8907
MARK BONDY       909 E BRIDGE ST                                                                           PORTLAND               MI 48875‐1508
MARK BONDY       3890 MIDDLE CHANNEL DR                                                                    HARSENS IS             MI 48028‐9663
MARK BONNEWELL   711 LICK BRANCH RD                                                                        GLASGOW                KY 42141‐9407
MARK BOOTH       18848 ROAD 1001 ROUTE 111                                                                 DEFIANCE               OH 43512
MARK BORAWSKI    PO BOX 72                                                                                 NORTH JACKSON          OH 44451‐0072
MARK BOROWIAK    15371 GULLEY ST                                                                           TAYLOR                 MI 48180‐5045
MARK BORTON      11196 N ELMS RD                                                                           CLIO                   MI 48420‐9447
MARK BOSEL       105 SONTAG DR                                                                             FRANKLIN               TN 37064‐5757
MARK BOSSOWSKI   11635 RENAISSANCE VIEW CT                                                                 TAMPA                  FL 33626‐2683
MARK BOTKIN      6382 CHERRY TREE CT                                                                       ROCHESTER HILLS        MI 48306‐3308
MARK BOUCHER     1455 W SILVERBELL RD                                                                      LAKE ORION             MI 48359‐1347
MARK BOUEY       14 CHARLOTTE ST PH                                                                        DETROIT                MI 48201‐2734
MARK BOURNES     9320 HERON COVE DR                                                                        WEST PALM BEACH        FL 33411‐5192
MARK BOUSMAN     2620 E 450 N                                                                              ANDERSON               IN 46012‐9518
MARK BOWEN       5415 E COMMONS DR                                                                         MOORESVILLE            IN 46158‐6797
MARK BOWEN       326 BURROUGHS AVE                                                                         FLINT                  MI 48507‐2709
MARK BOWEN       8240 BILOXI CT NE                                                                         ROCKFORD               MI 49341‐9350
MARK BOWERS      G9084 W POTTER RD                                                                         FLUSHING               MI 48433
MARK BOWERS      1458 ROSLYN RD                                                                            GROSSE POINTE WOODS    MI 48236‐1019
MARK BOWERS      4811 ROSSITER AVE                                                                         WATERFORD              MI 48329‐1756
MARK BOWLES      BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.            OH 44236
MARK BOWMAN      38561 SCOTT DR                                                                            WESTLAND               MI 48186‐3853
MARK BOWMAN      1103 LINCOLNSHIRE DR                                                                      SAINT JOHNS            MI 48879‐2417
MARK BOWMAN      302 SOUTH PORT CRESCENT                                                                   BAD AXE                MI 48413
MARK BOYCE       2832 INDUSTRY RD                                                                          ATWATER                OH 44201
MARK BOYD        223 HAMROCK DR                                                                            CAMPBELL               OH 44405‐1165
MARK BOYER       4188 LOCH DR                                                                              HIGHLAND               MI 48357‐2236
MARK BOYLES      15360 EGO AVE                                                                             EAST DETROIT           MI 48021‐3606
MARK BOYNTON     1035 MILVERTON DR                                                                         TROY                   MI 48083‐4431
MARK BOZYNSKI    7044 E BRISTOL RD                                                                         DAVISON                MI 48423‐2420
MARK BRADSHAW    5730 FILMORE AVE                                                                          WARREN                 MI 48092‐1439
MARK BRADY       2315 N HARRIS RD                                                                          YPSILANTI              MI 48198‐9616
MARK BRASIER     7445 GILLETTE RD                                                                          FLUSHING               MI 48433‐9242
MARK BRAUN       13401 W FRENCH RD                                                                         PEWAMO                 MI 48873‐9622
MARK BREZA       652 MAPLE CREST DR                                                                        FRANKENMUTH            MI 48734‐9312
MARK BRICKMAN    14125 FOUR LAKES DR                                                                       STERLING HTS           MI 48313‐2124
MARK BRIDGE      46848 PUTNAM CT                                                                           CHESTERFIELD           MI 48047‐6207
MARK BRIGGS      6646 S DELANEY RD                                                                         OWOSSO                 MI 48867‐9797
MARK BRINGHAM    874 GLENDALE DR                                                                           FRANKLIN               IN 46131‐1535
MARK BRINGOLD    3315 S REESE RD                                                                           FRANKENMUTH            MI 48734‐9611
MARK BRITTON     342 NORTHWOOD DR                                                                          TONAWANDA              NY 14223‐1110
MARK BROCHU      5195 HARTEL RD                                                                            POTTERVILLE            MI 48876‐9703
MARK BROCK       361 COUNTY ROAD 379                                                                       TRINITY                AL 35673‐3122
MARK BROCKI      28652 ADLER DR                                                                            WARREN                 MI 48088‐4285
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Name                                 Address1                         Address2                 Address3      Address4         City              State Zip
MARK BROCKWAY                        6127 RED FOX                                                                             PERRY              MI 48872‐8780
MARK BRODFUEHRER                     24036 DEVONSHIRE DR                                                                      NOVI               MI 48374‐3760
MARK BROMBERG                        2320 FITZHUGH ST                                                                         BAY CITY           MI 48708‐8669
MARK BROOKS                          1283 ESTELLE ST                                                                          BOSSIER CITY       LA 71112‐3328
MARK BROOKS                          3362 APACHE TRL                                                                          PINCKNEY           MI 48169‐9313
MARK BROOKS                          12094 OAK RD                                                                             OTISVILLE          MI 48463‐9722
MARK BROS MOVING & STORAGE INC       612 E 18TH ST                                                                            MUNCIE             IN 47302‐4215
MARK BROTEN                          4036 BORDEAUX DR                                                                         JANESVILLE         WI 53546‐1782
MARK BROTHERS                        1242 ORCHARD ST                                                                          MITCHELL           IN 47446‐1620
MARK BROWDER                         7125 SANILAC RD                                                                          KINGSTON           MI 48741‐8729
MARK BROWN                           1712 FLEMING RD                                                                          LEWISTON           MI 49756‐8707
MARK BROWN                           4073 N GALE RD                                                                           DAVISON            MI 48423‐8950
MARK BROWN                           9100 PANAMA AVE                                                                          YPSILANTI          MI 48198‐3236
MARK BROWN                           5324 W WILLOW HWY                                                                        LANSING            MI 48917‐1419
MARK BROWN                           2937 DANIELS RD                                                                          WILSON             NY 14172‐9719
MARK BROWN                           115 HAWTHORNE DR                                                                         BROOKLYN           MI 49230‐8924
MARK BROWN
MARK BROWN                           1973 E 55TH ST                                                                           CLEVELAND         OH   44103
MARK BROWN I I I                     65800 GRAMER RD                                                                          LENOX             MI   48050‐1777
MARK BROWN JR                        1485 NORTON ST                                                                           BURTON            MI   48529‐1257
MARK BRUEGGEMAN                      11801 ELY RD                                                                             DAVISBURG         MI   48350‐1711
MARK BRUNGER                         9109 SEYMOUR RD                                                                          SWARTZ CREEK      MI   48473‐9161
MARK BRUNI                           46231 MEADOWVIEW DR                                                                      SHELBY TOWNSHIP   MI   48317‐4146
MARK BRUNNER                         121 GLENALBY RD                                                                          TONAWANDA         NY   14150‐7536
MARK BRUNNER                         2531 ZION RD                                                                             COLUMBIA          TN   38401‐6044
MARK BRUNNER
MARK BRUTON                          PO BOX 365                                                                               BEDFORD           TX   76095‐0365
MARK BRYANT                          6089 HIGHLAND AVE SW                                                                     WARREN            OH   44481‐9638
MARK BRYANT                          7135 JOSE LAKE RD                                                                        SOUTH BRANCH      MI   48761‐9656
MARK BRYANT                          648 FARMERS RD                                                                           WILMINGTON        OH   45177‐8937
MARK BRYANT                          6111 E BRISTOL RD                                                                        BURTON            MI   48519‐1738
MARK BRYANT                          2129 HARBOR WAY                                                                          ARLINGTON         TX   76006‐5871
MARK BRZAK
MARK BUCK                            51000 MOTT RD TRLR 148                                                                   CANTON            MI   48188‐2147
MARK BUCKENMEYER                     4311 OVERLAND PKWY                                                                       TOLEDO            OH   43612‐2116
MARK BUCKNER                         8130 MARIAN ST                                                                           WARREN            MI   48093‐7119
MARK BUCZKOWSKI                      2946 GREGG DR                                                                            BAY CITY          MI   48706‐1225
MARK BUFFA                           44811 KEMP ST                                                                            UTICA             MI   48317‐5538
MARK BUGEAUD                         3315 WINTERFIELD DR                                                                      WARREN            MI   48092‐2215
MARK BUGGS                           4009 CURRY LN                                                                            JANESVILLE        WI   53546‐4335
MARK BUICK PONTIAC GMC TRUCK, INC.   GREGORY WESSELS                  5200 SAN MATEO BLVD NE                                  ALBUQUERQUE       NM   87109‐2415

MARK BUICK‐PONTIAC‐GMC TRUCK         PO BOX 956                                                                               CHAPPAQUA         NY   10514‐0956
MARK BULLARD                         2770 N STATE HIGHWAY 360 #2068                                                           GRAND PRAIRIE     TX   75050‐5409
MARK BULLARD                         3002 DEERFOOT TRL                                                                        HURON             OH   44839‐9115
MARK BULLION                         4412 S SUNSET DR                                                                         BALDWIN           MI   49304‐9144
MARK BULLOCK                         3990 MAPLE RD                                                                            FRANKENMUTH       MI   48734‐9160
MARK BUNDY                           2876 ARROWSMITH DR                                                                       REYNOLDSBURG      OH   43068‐4066
MARK BUONTEMPO                       5 BARGOS PL                                                                              CRANFORD          NJ   07016‐2201
MARK BURBRINK                        8426 SPRING FOREST DR                                                                    FORT WAYNE        IN   46804‐6495
MARK BURCH                           2015 S BARCLAY ST                                                                        BAY CITY          MI   48706‐5303
MARK BURDGICK                        2156 WOODRIDGE CT                                                                        HIGHLAND          MI   48357‐4326
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Name                                Address1                         Address2                     Address3          Address4         City               State Zip
MARK BURGESS                        6647 E SPICERVILLE HWY                                                                           EATON RAPIDS        MI 48827‐9049
MARK BURGESS                        98 MOUNT EVEREST WAY                                                                             SWARTZ CREEK        MI 48473‐1610
MARK BURGHARDT                      5236 N VASSAR RD                                                                                 FLINT               MI 48506‐1755
MARK BURKHART                       1248 WITTMER RD                                                                                  MANSFIELD           OH 44903‐9401
MARK BURLEY                         NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD        TX 75638
MARK BURNETT                        PO BOX 783                                                                                       DEFIANCE            OH 43512‐0783
MARK BURNETT                        3211 EMERALD LAKE DR                                                                             FORT WAYNE          IN 46804‐2411
MARK BURSOTT                        36366 FRANKLIN ST                                                                                RICHMOND            MI 48062‐1317
MARK BURTON                         8770 W BERRYSVILLE RD                                                                            HILLSBORO           OH 45133‐8672
MARK BUSICK                         715 ALLEN DR                                                                                     HIGHLAND            MI 48357‐3505
MARK BUSTILLOS                      1251 W 102ND PL                                                                                  NORTHGLENN          CO 80260‐6289
MARK BUTCHER                        7212 W 450 N                                                                                     PENNVILLE           IN 47369‐9560
MARK BUTITTA AS SPECIAL             ESTATE OF SALVATORE BUTITTA      2429 S. ALPINE ROAD                                             ROCKFORD             IL 61108
ADMINISTRATOR OF THE
MARK BUTTERWORTH                    711 E BROAD ST                                                                                   CHESANING          MI   48616‐1610
MARK BUTTO                          3112 ELMWOOD AVE                                                                                 ROCHESTER          NY   14618‐2041
MARK BUTTS                          5071 MARK DAVID DR                                                                               SWARTZ CREEK       MI   48473‐8557
MARK BUTZIN                         1920 DAKOTA ST                                                                                   LEAVENWORTH        KS   66048‐1116
MARK BYERLY                         4240 CRYSTAL CRK                                                                                 LAPEER             MI   48446‐8669
MARK C ABRAHAM                      41854 KENTVALE DR                                                                                CLINTON TWP        MI   48038‐1978
MARK C BUSCHUR                      405 CHAUCER RD                                                                                   RIVERSIDE          OH   45431
MARK C CALDWELL                     654 LELAND AVE                                                                                   DAYTON             OH   45417‐1548
MARK C CURRAN                       232 BETTIS RD                                                                                    DRAVOSBURG         PA   15034‐1021
MARK C HERNON                       2321 WEST PARADISE RD                                                                            PHEONIX            AZ   85029
MARK C JOYE ATTORNEY & LAMBERTB COX 5861 RIVERS AVE STE 101                                                                          NORTH CHARLESTON   SC   29406‐6044

MARK C LANGE                        886 KATYS LANE                                                                                   WILMINGTON         OH   45177‐8467
MARK C MAHAN                        6210 SEDWICK RD                                                                                  MARTINSVILLE       IN   46151‐8697
MARK C PARENT                       3364 CHURCH ST                                                                                   SAGINAW            MI   48604‐2245
MARK C REAVES                       1 CLOCKTOWER PL APT 127                                                                          NASHUA             NH   03060‐3375
MARK C SCHAAPVELD                   11502 N BRYANT RD                                                                                FORT ATKINSON      WI   53538‐9214
MARK C STEVENS                      10190 REED RD                                                                                    EAST CONCORD       NY   14055‐9731
MARK C TEPSICH                      1111 OHIO AVE                                                                                    MC DONALD          OH   44437‐1747
MARK C VANNICOLA                    330 BLACKBIRD STATION RD                                                                         TOWNSEND           DE   19734‐9260
MARK C WILLIAMS                     1441 SLOANE BLVD                                                                                 PLAINFIELD         NJ   07060‐2946
MARK C YOUNG                        863 TAM‐O‐SHANTER WAY                                                                            MONROE             OH   45050‐1646
MARK C. FORD
MARK CABY                           3042 THOMPSON RD                                                                                 DE SOTO            MO   63020‐5299
MARK CADY                           G 6360 MCKENZIE DR                                                                               FLINT              MI   48507
MARK CALDWELL                       1831 WILLOWBROOK CIRCLE                                                                          FLINT              MI   48507‐1412
MARK CALLAHAN                       BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.        OH   44236
MARK CALLEBS                        1525 JACOBS RD                                                                                   COLUMBIA           TN   38401‐1358
MARK CAMERON                        17610 SIMMONS AVE NE                                                                             CEDAR SPRINGS      MI   49319‐9697
MARK CAMPBELL                       524 W NORWAY LAKE RD                                                                             LAPEER             MI   48446‐8743
MARK CAMPBELL                       130 E DEER RUN PARK RD                                                                           EDGERTON           WI   53534‐9712
MARK CAMPBELL                       7527 W VERMONTVILLE HWY                                                                          VERMONTVILLE       MI   49096‐9547
MARK CAMPBELL                       4072 HIGHWAY 18 WEST                                                                             FAYETTE            AL   35555‐6009
MARK CAMPBELL                       6426 ST ALBAN CT                                                                                 ARLINGTON          TX   76001‐7895
MARK CAMPBELL                       4363 E 175TH ST                                                                                  CLEVELAND          OH   44128‐3538
MARK CAMPBELL                       2160 MISTWOOD CT                                                                                 CANTON             MI   48187‐5825
MARK CAMPBELL                       347 CANNONADE CIR                                                                                FRANKLIN           TN   37069‐1831
MARK CANADAY                        1709 EUCLID DR                                                                                   ANDERSON           IN   46011‐3126
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Name                    Address1                         Address2              Address3         Address4            City               State Zip
MARK CANDY              5050 WYNDEMERE SQ                                                                           SWARTZ CREEK        MI 48473‐8893
MARK CANNON             3107 LEE AVE                                                                                SHREVEPORT          LA 71119‐3320
MARK CANTRELL           1522 W RUNDLE AVE                                                                           LANSING             MI 48910‐2528
MARK CAPAN              1350 STERLING DR                                                                            CORTLAND            OH 44410‐9222
MARK CAPSER             1345 AUSTIN CT                                                                              PERRYSBURG          OH 43551‐1184
MARK CAPUTO             515 PALMETTO ST                                                                             ST SIMONS ISLAND    GA 31522‐1252
MARK CARMAN             176 PARK HILL RD                                                                            SIMI VALLEY         CA 93065‐7385
MARK CAROOTS            1372 GILBERT DR                                                                             MINERAL RIDGE       OH 44440‐9746
MARK CARPENTER          7255 E ATHERTON RD                                                                          DAVISON             MI 48423‐2405
MARK CARPENTER
MARK CARR               3162 APPLE WOOD                                                                             FENTON             MI   48430‐4020
MARK CARSON             15644 NICOLAI AVE                                                                           EASTPOINTE         MI   48021‐1618
MARK CARSON             6958 WOODBROOK DR SE                                                                        GRAND RAPIDS       MI   49546‐9233
MARK CARSON             7743 W DIVISION RD                                                                          TIPTON             IN   46072‐8654
MARK CARSON             820 BRAY RD                                                                                 WILLIAMSTON        MI   48895‐9730
MARK CARTER             4365 WINDIATE PARK DR                                                                       WATERFORD          MI   48329‐1266
MARK CASBERG            7715A W CENTER ST                                                                           MILWAUKEE          WI   53222‐5028
MARK CASMER             41905 HUNTINGTON CT                                                                         CLINTON TWP        MI   48038‐2175
MARK CASPER             7321 HEATHER CT                                                                             LINDEN             MI   48451‐8793
MARK CASTIGLIONE        28307 GOLD RD                                                                               CHESTERFIELD       MI   48047‐4861
MARK CASTILLO           1714 E GLASTONBERRY RD                                                                      TOLEDO             OH   43613‐2338
MARK CASWELL            2048 DENBY DR                                                                               WATERFORD          MI   48329‐3802
MARK CATANZARO          1442 LOCUST AVE                                                                             CLOVIS             CA   93611‐7318
MARK CATHER             3645 THYME DR                                                                               SAINT CHARLES      MO   63303‐6330
MARK CAVUCCI            2057 S TURNER RD                                                                            AUSTINTOWN         OH   44515‐5540
MARK CERESA             PO BOX 7293                                                                                 STERLING HEIGHTS   MI   48311‐7293
MARK CHACE AUTOMOTIVE   14725 SE 82ND DR                                                                            CLACKAMAS          OR   97015‐8687
MARK CHAMBERS           5845 SANDY DR                                                                               PINCONNING         MI   48650‐8318
MARK CHAMBERS           28 RAMBO TERRACE                                                                            NEW CASTLE         DE   19720‐4008
MARK CHANEY             2983 MCCANLESS RD                                                                           NOLENSVILLE        TN   37135‐9438
MARK CHANYA             1051 KILE RD                                                                                METAMORA           MI   48455‐8760
MARK CHAPIN             4341 BARNES RD                                                                              NORTH BRANCH       MI   48461‐8624
MARK CHAPLIN
MARK CHAPMAN            3817 FLINT RD                                                                               BRIGHTON           MI   48114‐4903
MARK CHAPPLE            524 PARKE CT                                                                                GRAND BLANC        MI   48439‐1552
MARK CHARCHAN           2003 GROVE STREET RD                                                                        STANDISH           MI   48658‐9112
MARK CHARLES            1321 MANN AVE                                                                               FLINT              MI   48503‐3243
MARK CHARLES            600 N LOCUST ST                                                                             EVANSBURG          PA   15931
MARK CHASE              284 GARDENIA LN                                                                             PARRISH            FL   34219‐8908
MARK CHASTAIN           402 SONHATSETT DR                                                                           WESTFIELD          IN   46074‐9471
MARK CHATHAM            67 COLONIAL CIR NW                                                                          CARTERSVILLE       GA   30120
MARK CHECKEROSKI        5520 BLOOD RD                                                                               METAMORA           MI   48455‐9338
MARK CHECKLE            11234 U S TURNPIKE RD                                                                       SOUTH ROCKWOOD     MI   48179‐9779
MARK CHEEVER            53417 BELLAMINE DR                                                                          SHELBY TWP         MI   48316‐2105
MARK CHEVROLET, INC.    GREGORY WESSELS                  7201 LOMAS BLVD NE                                         ALBUQUERQUE        NM   87110‐7145
MARK CHEVROLET, INC.    CHARLES CABANA                   33200 MICHIGAN AVE                                         WAYNE              MI   48184‐1876
MARK CHEVROLET, INC.    33200 MICHIGAN AVE                                                                          WAYNE              MI   48184‐1876
MARK CHIAPPETTA         29 CEDAR PARK DR                                                        WELLAND ON L3C7C8
                                                                                                CANADA
MARK CHILDRESS          565 S NORMA ST                                                                              WESTLAND           MI 48186‐8076
MARK CHILDRESS          1345 SAN JUAN DR                                                                            FLINT              MI 48504‐3232
MARK CHIRGWIN           16416 SUTTERS LANE CT                                                                       NORTHVILLE         MI 48168‐2053
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Name                               Address1                             Address2                     Address3   Address4            City               State Zip
MARK CHOPSKI                       11290 MANCHESTER DR                                                                              FENTON              MI 48430‐2540
MARK CHRAPLA                       1803 W FARNUM AVE                                                                                ROYAL OAK           MI 48067‐1691
MARK CHRISTEN                      2793 SW COUNTRY CLUB AVE                                                                         TROUTDALE           OR 97060‐1273
MARK CHRISTIAN                     34153 GINA DR                                                                                    N RIDGEVILLE        OH 44039‐3113
MARK CHRISTMAN                     1423 SUNSET BLVD                                                                                 FLINT               MI 48507‐4062
MARK CHRISTOPHE STEVENS SR         111 E FORAKER AVE                                                                                DAYTON              OH 45409
MARK CHRISTOPHER AUTO CENTER       2131 CONVENTION CENTER WAY SUITE A                                                               ONTARIO             CA 91764

MARK CHRISTOPHER AUTO CENTER       4495 E WALL ST STE 101                                                                           ONTARIO            CA   91761‐8186
MARK CHRISTOPHER AUTO CENTER                                                                                                        ONTARIO            CA   91764‐4452
MARK CHRISTOPHER AUTO CENTER       2131 E CONVENTION CENTER WAY                                                                     ONTARIO            CA   91764‐4452
MARK CHRISTOPHER CADILLAC          2131 CONVENTION CENTER WAY SUITE B                                                               ONTARIO            CA   91764

MARK CHRISTOPHER CHARITY CLASSIC   9559 CENTER AVE STE I                                                                            RANCHO CUCAMONGA   CA 91730‐5815
PRESENTED BY ADELPHIA
MARK CHRISTOPHER CHEV‐OLDS‐        2131 E CONVENTION CENTER WAY                                                                     ONTARIO            CA 91764‐4452
GEO/HERTZ CORPORATION
MARK CHRISTOPHER CHEVROLET INC     2131 E CONVENTION CENTER WAY                                                                     ONTARIO            CA 91764‐4452
MARK CHRISTOPHER CHEVROLET, INC.   CHRISTOPHER LEGGIO                   2131 CONVENTION CENTER WAY                                  ONTARIO            CA 91764
                                                                        SUITE A
MARK CHRONOWSKI                    3930 DONALDSON RD                                                                                ROCHESTER HLS      MI   48307‐4907
MARK CHUEY                         18240 CASCADE DR                                                                                 NORTHVILLE         MI   48168‐3287
MARK CHUONG                        28053 MARCIA AVE                                                                                 WARREN             MI   48093‐2835
MARK CHURAY                        1061 INDIANPIPE RD                                                                               LAKE ORION         MI   48360‐2617
MARK CHURITCH                      6419 ANNANDALE CV                                                                                BRENTWOOD          TN   37027‐6316
MARK CIESLAK                       14028 GOLDEN ARROW CT                                                                            SHELBY TWP         MI   48315‐2015
MARK CIESLINSKI                    7224 S BLOCK RD                                                                                  FRANKENMUTH        MI   48734‐9520
MARK CIRIELLO                      1106 ESTELLE CT                                                                                  NILES              OH   44446‐3420
MARK CIRIELLO                      5797 S RIDGEWOOD AVE                                                                             PORT ORANGE        FL   32127‐6441
MARK CLAGETT                       7011 STATE ROUTE 752                                                                             ASHVILLE           OH   43103‐9547
MARK CLARK                         294 WOODLAND RD                                                                                  DAISYTOWN          PA   15427‐1104
MARK CLARK                         8575 ERMA LN SE                                                                                  ALTO               MI   49302‐9262
MARK CLARK                         800 NW 134TH ST                                                                                  SMITHVILLE         MO   64089‐8413
MARK CLARK                         11569 WOODBURN ALLAN SPRG RD                                                                     ALVATON            KY   42122
MARK CLAUSER                       2876 DEVONDALE RD                                                                                ROCHESTER HLS      MI   48309‐3649
MARK CLAWSON                       4101 CALUMET DR                                                                                  OAKLAND TOWNSHIP   MI   48306
MARK CLAYTON                       9632 CR #48                                                                                      GALION             OH   44833
MARK CLAYTON                       2022 VERNON AVE NW                                                                               WARREN             OH   44483‐3150
MARK CLAYTON                       4434 FIR ST                                                                                      CLARKSTON          MI   48348‐1431
MARK CLEASBY                       1929 S RIVER RD                                                                                  JANESVILLE         WI   53546‐5603
MARK CLEMONS                       2422 S BRANDON ST                                                                                WESTLAND           MI   48186‐3935
MARK CLINE                         7484 WYNGATE DR                                                                                  CLARKSTON          MI   48348‐4769
MARK CLUM                          5017 S HURON RIVER DR                                                                            FLAT ROCK          MI   48134‐9644
MARK CMAR                          8265 W 200 S                                                                                     LARWILL            IN   46764‐9768
MARK COBB                          1285 W JEFFERSON ST                  FRANKLIN MEADOWS                                            FRANKLIN           IN   46131‐9048
MARK COBBETT                       PO BOX 9022                          C/O SHANGHAI                                                WARREN             MI   48090‐9022
MARK COE                           3629 CHURCH ST                                                               WINDSOR ON N9E1V9
                                                                                                                CANADA
MARK COFFIN                        6637 E 300 N                                                                                     ELWOOD             IN   46036‐8537
MARK COHOON                        8685 HENDRIE BLVD                                                                                HUNTINGTON WOODS   MI   48070‐1619
MARK COLE                          459 BODLEY CRES                                                                                  MILAN              MI   48160‐1206
MARK COLE                          7730 RAGLAN DR NE                                                                                WARREN             OH   44484‐1434
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Name                               Address1                      Address2              Address3         Address4         City                 State Zip
MARK COLE                          10375 ROAD 93                                                                         PAULDING              OH 45879‐9127
MARK COLE                          12140 WATERS RD                                                                       CHELSEA               MI 48118‐9616
MARK COLEY                         9860 ROSEWOOD DR                                                                      CHARDON               OH 44024‐8101
MARK COLLINS                       8136 ROCKY GLEN PLACE                                                                 FORT WAYNE            IN 46825‐8300
MARK COLLINS                       805 LAMAISSON CT                                                                      FERGUSON              MO 63135
MARK COLLINS                       4480 PARCEL RD                                                                        PLYMOUTH              OH 44865‐9748
MARK COLLINS                       2012 COBB DR                                                                          COLUMBIA              TN 38401‐5077
MARK COLLIS                        6185 SHERIDAN RD                                                                      VASSAR                MI 48768‐9597
MARK COLSON                        3806 N HARVEST VIEW DR                                                                JANESVILLE            WI 53548‐8302
MARK COMMER                        12 HERITAGE DR 20                                                                     ABINGDON              VA 24210
MARK COMPTON                       14152 DARTS DR                                                                        FENTON                MI 48430‐3612
MARK CONGER                        2101 JEANETTE DR                                                                      SANDUSKY              OH 44870‐7102
MARK CONNELL                       1751 MIDDLE TRAIL RD                                                                  COMMERCE TOWNSHIP     MI 48390‐2714
MARK CONNOLLY                      43 GLEN CT                                                                            SOUTHBOROUGH          MA 01772‐1845
MARK CONSTANTINE JR                325 CRESCENT DR                                                                       GREENSBURG            PA 15601‐4509
MARK CONWAY                        1204 15TH ST                                                                          BAY CITY              MI 48708‐7330
MARK COOK                          5218 N OAK RD                                                                         DAVISON               MI 48423‐9375
MARK COOK                          316 TAMARAC DR                                                                        DAVISON               MI 48423‐1938
MARK COOK                          6431 EL RANCHO RD                                                                     SHREVEPORT            LA 71129‐3811
MARK COOK JR                       159 WELLINGTON PARKWAY                                                                NOBLESVILLE           IN 46060‐4210
MARK COOL                          5711 LOFTWOOD DR SE                                                                   KENTWOOD              MI 49508‐8622
MARK COOMBS                        3041 CLARKSON DR                                                                      ABINGDON              MD 21009‐2760
MARK COOPER                        2392 HOSMER RD                                                                        APPLETON              NY 14008‐9623
MARK COOPER                        1648 BLACKHORSE LN                                                                    HILLIARD              OH 43026‐8289
MARK COOPER                        8668 E SPICERVILLE HWY                                                                EATON RAPIDS          MI 48827‐8040
MARK COOPER                        7047 E SPRING DR                                                                      CANTON                MI 48187‐2521
MARK CORBA                         10091 N LINDEN RD                                                                     CLIO                  MI 48420‐8502
MARK CORBIN                        5474 STATE ROUTE 19                                                                   GALION                OH 44833‐8901
MARK CORESSEL                      96 ROLLING MEADOWS RD                                                                 BEDFORD               IN 47421‐7367
MARK CORKINS                       899 LAKESHORE DR                                                                      COLUMBIAVILLE         MI 48421‐9739
MARK CORNEA REPRODUCTIONS, D/B/A   MARK CORNEA                   18851 GLENGARRY DR                                      LIVONIA               MI 48152‐8099
DR. DECAL
MARK CORNEA REPRODUCTIONS, D/B/A   MARK CORNEA                   18851 GLENGARRY DR                                      LIVONIA              MI 48152‐8099
DR. DECAL
MARK CORNFORD                      5612 W SPLENDOR VALLEY DR                                                             JANESVILLE           WI   53548‐8731
MARK CORRION                       3111 PRIMROSE LN                                                                      YPSILANTI            MI   48197‐3214
MARK CORWIN                        28072 REVERE AVE                                                                      WARREN               MI   48092‐2412
MARK COSTIN                        7091 WOODBANK DR                                                                      BLOOMFIELD VILLAGE   MI   48301‐3723
MARK COUCKE                        12335 SEA PINES DR                                                                    DEWITT               MI   48820‐7943
MARK COUNTS                        8130 BEMIS RD                                                                         YPSILANTI            MI   48197‐9717
MARK COWGILL                       9379 PERRY RD                                                                         GOODRICH             MI   48438‐8805
MARK COX                           2605 DARTMOUTH WOODS RD                                                               WILMINGTON           DE   19810‐1111
MARK COY                           802 E WALNUT ST                                                                       MARION               IN   46952‐2904
MARK CRAIN                         239 GREENBRIAR ST                                                                     KOKOMO               IN   46901‐5034
MARK CRAIN                         2735 WELLESLEY DR                                                                     SAGINAW              MI   48603‐2940
MARK CRAINE                        5535 PIERSONVILLE RD                                                                  COLUMBIAVILLE        MI   48421‐9388
MARK CRAMER                        3718 E BURT RD                                                                        BURT                 MI   48417‐9791
MARK CRANE                         6248 EASTKNOLL DR APT 77                                                              GRAND BLANC          MI   48439‐5013
MARK CRANE                         5642 VALLEY WAY                                                                       LOCKPORT             NY   14094‐6127
MARK CRARY                         PO BOX 365                                                                            FRANKLIN             OH   45005‐0365
MARK CRAY                          6672 SHEETRAM RD                                                                      LOCKPORT             NY   14094‐9538
MARK CREECH                        198 CORYELL DR                                                                        OXFORD               MI   48371‐4255
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Name                               Address1                       Address2                Address3         Address4            City                State Zip
MARK CREED                         5277 W MOUNT MORRIS RD                                                                      MOUNT MORRIS         MI 48458‐9333
MARK CRIPPEN                       1004 MONTGOMERY ST                                                                          EATON RAPIDS         MI 48827‐1754
MARK CRITTENDON                    1251 CROSS CREEK DR                                                                         KENNEDALE            TX 76060‐6037
MARK CROCKER                       QUILTER & CO                   ST. HELENS              1 UNDERSHAFT     LONDON EC3A 8BB
MARK CRONCE                        7965 CLEAR LAKE RD                                                                          BROWN CITY          MI   48416‐9652
MARK CROSBY                        4001 INDIAN HILLS DR                                                                        FORT WAYNE          IN   46809‐1123
MARK CROWLEY                       1263 VICTORIA LN                                                                            FENTON              MI   48430‐9630
MARK CRUDDER                       23216 WESTBURY ST                                                                           ST CLAIR SHRS       MI   48080‐2538
MARK CRUIKSHANK                    8832 W MORRIS ST                                                                            INDIANAPOLIS        IN   46231‐1256
MARK CRUMP                         4887 MILDRED AVE SE                                                                         KENTWOOD            MI   49508‐4759
MARK CUDDY                         1213 WISE DR                                                                                MIAMISBURG          OH   45342‐3349
MARK CULP                          4320 N MCDONALD RD                                                                          CHOCTAW             OK   73020‐9036
MARK CULVER                        2453 E STANLEY RD                                                                           MOUNT MORRIS        MI   48458‐8979
MARK CULVER                        112 SANDERSON LANE                                                                          COURTLAND           AL   35618‐3436
MARK CUMMINGS                      2055 COMMONWEALTH DR                                                                        XENIA               OH   45385‐4915
MARK CUMMINGS                      6321 109TH ST NW                                                                            GIG HARBOR          WA   98332‐8669
MARK CUNNINGHAM                    407 PLUM CT                                                                                 ROMEO               MI   48065‐5290
MARK CUNNINGHAM                    806 MAUMEE DR                                                                               KOKOMO              IN   46902‐5525
MARK CURRAN                        232 BETTIS RD                                                                               DRAVOSBURG          PA   15034‐1021
MARK CURRIE                        11463 SUNSET DR                                                                             CLIO                MI   48420‐1558
MARK CURRIE                        2483 HERITAGE VLG 16‐412                                                                    SNELLVILLE          GA   30078‐6140
MARK CURTISS                       16221 CAMBELL DR                                                                            MACOMB              MI   48044‐2518
MARK CUYLER                        1509 BIGGERS RD                                                                             ROCHESTER HLS       MI   48309‐1613
MARK CYPHERS                       142 WHISPERWOOD LN                                                                          MADISON             AL   35758‐1074
MARK CZAJKA                        58161 KERR CREEK RD                                                                         THREE RIVERS        MI   49093‐8917
MARK CZARZASTY                     836 HEATHER CT                                                                              VANDALIA            OH   45377‐1619
MARK D AMBROSE                     1959 OAKWOOD AVE                                                                            NILES               OH   44446‐4533
MARK D ARRINGTON                   4970 DONLAW AVE                                                                             DAYTON              OH   45418
MARK D BRADY                       2315 N HARRIS RD                                                                            YPSILANTI           MI   48198‐9616
MARK D BRANNON                     1157 BONNIEBROOK DR                                                                         MIAMISBURG          OH   45342‐6406
MARK D COX                         4849 FAR HILLS AVE                                                                          KETTERING           OH   45429‐2320
MARK D CRANFORD                    1305 MCARTHUR AVE                                                                           DAYTON              OH   45408‐2208
MARK D CRONCE                      7965 CLEAR LAKE RD                                                                          BROWN CITY          MI   48416‐9652
MARK D CUDDY                       1213 WISE RD                                                                                MIAMISBURG          OH   45342
MARK D DELPH                       52 APPLE LN                                                                                 GERMANTOWN          OH   45327
MARK D ESHBAUGH                    169 S. PLUM ST.                                                                             GERMANTOWN          OH   45327
MARK D FERGUSON                    445 ASTOR AVE                                                                               W CARROLLTON        OH   45449
MARK D GENTRY                      1248 DUNCAN AVE                                                                             YPSILANTI           MI   48198‐5925
MARK D GOODWIN                     5760 ARTESIAN DR                                                                            WATERFORD           MI   48327‐2805
MARK D GOULD AND SHELLEY M GOULD   725 S BARRINGRON AVE           APT 105                                                      LOS ANGELES         CA   90049‐4565

MARK D GRUETZMACHER                1508 BENNETT ST                                                                             JANESVILLE          WI   53545‐1924
MARK D HOFFMAN                     20 VERSAILLES RD               APT 1                                                        ROCHESTER           NY   14621‐1429
MARK D HOLLIS                      10260 SHACH CREEK RD                                                                        EXCELSIOR SPRINGS   MO   64024‐5353
MARK D HOYLE                       1716 REDBUSH AVE.                                                                           KETTERING           OH   45426
MARK D HUDGEL                      726 E MAIN ST # F127                                                                        LEBANON             OH   45036‐‐ 19
MARK D HUGHES                      4525 DRAYTON CT                                                                             KETTERING           OH   45440‐1901
MARK D JACKSON                     1652 PHILADELPHIA DR                                                                        DAYTON              OH   45406
MARK D JONES                       7123 MERCEDES RD                                                                            HUBER HEIGHTS       OH   45424‐3172
MARK D JONES                       2475 ORANGE AVE                                                                             MORAINE             OH   45439‐2839
MARK D KALTENBACH                  4289 GLOBE DRIVE                                                                            MORAINE             OH   45439‐3319
MARK D KECK                        8393 OREGONIA RD                                                                            WAYNESVILLE         OH   45068
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Name                   Address1                         Address2                     Address3   Address4         City               State Zip
MARK D KNIGHT          3325 COZY CAMP RD                                                                         MORAINE             OH 45439‐1123
MARK D KNIGHT          7287 COTTAGE DR                                                                           BELLAIRE            MI 49615‐9226
MARK D KNUPP           3501 DENVER AVE                                                                           YOUNGSTOWN          OH 44505‐1919
MARK D LINVILLE        14245 SW WALKER RD APT 30                                                                 BEAVERTON           OR 97006‐6005
MARK D LUNT            7077 BIRCHLEY DR                                                                          LIBERTY TWP         OH 45011
MARK D MARCOZZI        1009 N. KENWOOD                                                                           ROYAL OAK           MI 48067
MARK D MC CLINTOCK     PO BOX 70                                                                                 CRYSTAL RIVER       FL 34423‐0070
MARK D MCCARNAN        6272 SHEARWATER DR                                                                        FAIRFIELD           OH 45014
MARK D MCCLINTOCK      1383 W LIBERTY ST                                                                         HUBBARD             OH 44425
MARK D MESSIER         3288 LAHRING RD                                                                           LINDEN              MI 48451‐9434
MARK D MICHNICK        307 GORDON AVE                                                                            MATTYDALE           NY 13211‐1841
MARK D MORGAN          106 LYNNFIELD CIRCLE                                                                      UNION               OH 45322
MARK D MORROW          10200 W MOUNT MORRIS RD                                                                   FLUSHING            MI 48433‐9281
MARK D MULL            6005 BRIDGE STATE RD                                                                      DULUTH              GA 30097
MARK D NABOZNY         8435 ELEVERE RD                                                                           LACHINE             MI 49753‐9475
MARK D PLUMMER         705 EARL AVE                                                                              SYRACUSE            NY 13211‐1517
MARK D POLSTON         10101 WOLF CREEK PIKE                                                                     DAYTON              OH 45426‐4263
MARK D PROBEN          PO BOX 672                                                                                LAKELAND            MI 48143‐0672
MARK D ROBERTSON       72 RVDER CT APT 3                                                                         BELLBROOK           OH 45305
MARK D ROBINSON        1806 GLENN AVE                                                                            MIDDLETOWN          OH 45044
MARK D ROBINSON        12851 GRAND RIVER RD                                                                      BRIGHTON            MI 48116‐8506
MARK D RUE             5265 ROYAL ACRES DR.                                                                      LEWISBURG           OH 45338
MARK D SMITH           PO BOX 76                                                                                 CAMPBELL            OH 44405‐‐ 00
MARK D SMITH           4106 WOODEDGE DR.                                                                         BELLBROOK           OH 45305‐1617
MARK D SPOHN           8397 INDIAN MOUND DR                                                                      HUBER HEIGHTS       OH 45424
MARK D SWEITZER        7658 ACHTERMAN RD.                                                                        PLEASANT PLAIN      OH 45162
MARK D VAN ALST        11379 N WEBSTER RD                                                                        CLIO                MI 48420‐8235
MARK D WALL            4177 MIDDLE RUN RD.                                                                       SPRING VALLEY       OH 45370
MARK D WESTALL         924 STANWOOD DRIVE                                                                        LEBANON             OH 45036‐1348
MARK D WOLFORD         312 S HARRIS RD                                                                           YPSILANTI           MI 48198‐5938
MARK D WOODS           82 DENNISON ST                                                                            OXFORD              MI 48371‐4815
MARK D'ERRICO          30290 FIDDLERS GRN                                                                        FARMINGTON HILLS    MI 48334‐4716
MARK D. SILVERSCHOTZ   REED SMITH LLP                   599 LEXINGTON AVENUE, 22ND                               NEW YORK            NY 10022
                                                        FLOOR
MARK D. WALSH          4030 CAMINO DE LA SIESTA, #340                                                            SAN DIEGO          CA   92108
MARK DABRAN            3266 GRAFTON ST                                                                           LAKE ORION         MI   48359‐1121
MARK DAILEY            15058 MEADOW LN                                                                           LINDEN             MI   48451‐9688
MARK DAJNOWICZ         4317 TIMBERDALE RD                                                                        MOORPARK           CA   93021‐3706
MARK DALENBERG         1464 STATE ROUTE 314 S                                                                    MANSFIELD          OH   44903‐9209
MARK DALIAN            15570 DEVONSHIRE DR                                                                       PINCKNEY           MI   48169‐9720
MARK DALTON            490 WOODLAWN AVE                                                                          YPSILANTI          MI   48198‐5917
MARK DAMIANO           1107 WOODHALL DR                                                                          HUNTERSVILLE       NC   28078‐2634
MARK DAMICO            8669 HARBORTOWNE DR                                                                       CLARKSTON          MI   48348‐2435
MARK DANIEL            8515 FLETCHER RD                                                                          GRAND BLANC        MI   48439‐8908
MARK DANIELS           3830 STILLWELL AVE                                                                        LANSING            MI   48911‐2158
MARK DANIELS JR        135 ROY JENKINS DR                                                                        CORBIN             KY   40701‐3913
MARK DANIELSEN         493 JOSLYN RD                                                                             LAKE ORION         MI   48362‐2226
MARK DANKO             808 3RD AVE W STE 711                                                                     BRADENTON          FL   34205‐8671
MARK DARBY             14677 GREYSTONE DR                                                                        BROOK PARK         OH   44142‐3021
MARK DARIO             BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH   44236
MARK DATTE             2240 GARFIELD RD                                                                          AUBURN             MI   48611‐9768
MARK DAUGHERTY         2294 RICHARDSON CT                                                                        WATERFORD          MI   48327‐1073
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Name               Address1                         Address2                   Address3          Address4         City              State Zip
MARK DAUNCE        P.O 2388                                                                                       PAYSON             AZ 85547
MARK DAVIDSON      370 FREDERICKA ST                                                                              N TONAWANDA        NY 14120‐2650
MARK DAVIDSON      4901 ODELL DR                                                                                  GAINESVILLE        GA 30504‐8141
MARK DAVIDSON      2421 ACADEMY RD                                                                                HOLLY              MI 48442‐8353
MARK DAVIS         48225 ROOSEVELT DR                                                                             MACOMB             MI 48044‐5017
MARK DAVIS         32250 PLUMWOOD ST                                                                              BEVERLY HILLS      MI 48025‐2716
MARK DAVIS         5746 GRANITE DR                                                                                ANDERSON           IN 46013‐2030
MARK DAVIS         4235 E SATURN DR                                                                               JANESVILLE         WI 53546‐9614
MARK DAVIS         645 RUSTIC DR                                                                                  SAGINAW            MI 48604‐2132
MARK DAVIS         2333 N THOMAS RD                                                                               SAGINAW            MI 48609‐9324
MARK DAVIS         PO BOX 2602                                                                                    ANDERSON           IN 46018‐2602
MARK DAVIS         1228 COMMONWEALTH CIR APT 0102                                                                 NAPLES             FL 34116‐6657
MARK DAVIS         14773 DEER LAKE TRL                                                                            BROOKLYN           MI 49230‐9026
MARK DAVIS         2600 CROFTHILL DR                                                                              AUBURN HILLS       MI 48326‐3519
MARK DAVIS         1600 ROBERT RD                                                                                 COLUMBIA           TN 38401‐5426
MARK DAVIS         3083 DEVONSHIRE ST                                                                             FLINT              MI 48504‐4307
MARK DAVIS         401 OLD MILL CREEK DR                                                                          ALEXANDRIA         IN 46001‐8118
MARK DAWSON        1202 PULASKI ST                                                                                LANSING            MI 48910‐1267
MARK DAWSON        1010 PORTER RD                                                                                 WHITE LAKE         MI 48383‐2408
MARK DAY           4108 ISLAND HWY                                                                                CHARLOTTE          MI 48813‐9318
MARK DAY           405 S ALLEN RD                                                                                 SAINT CLAIR        MI 48079‐1410
MARK DE CORSO      9 TRAYMORE RD                                                                                  FREEHOLD           NJ 07728‐7869
MARK DE JONG       PO BOX 970059                                                                                  YPSILANTI          MI 48197‐0801
MARK DE WITT       16808 GARFIELD                                                                                 REDFORD            MI 48240‐2415
MARK DEACON        6323 SNOW APPLE DR                                                                             CLARKSTON          MI 48346‐2453
MARK DEACON        100 DENSMORE ST                                                                                BUFFALO            NY 14220‐2537
MARK DEAN          4110 ROBINHOOD TER                                                                             MIDLAND            MI 48642‐6109
MARK DEBACKER      78220 CAPAC RD                                                                                 ARMADA             MI 48005‐1712
MARK DEBOARD       7110 GATEWAY CT                                                                                TAMPA              FL 33615‐2914
MARK DECAMP        NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD       TX 75638
MARK DECKERS       31340 ROAN DR                                                                                  WARREN             MI 48093‐1728
MARK DEDOW         7208 ARDSLEY LN                                                                                CLARKSTON          MI 48348‐5056
MARK DEEHR         1801 CRANBERRY LN NE APT 236                                                                   WARREN             OH 44483‐3642
MARK DEEMY
MARK DEGNAN        1999 BARRINGTON CT                                                                             ROCHESTER HILLS   MI   48306‐3217
MARK DEISCH        13822 E COUNTY ROAD 100 N                                                                      KEMPTON           IN   46049‐9605
MARK DEIST         200 DEIST LN                                                                                   ORRTANNA          PA   17353‐9326
MARK DELAGARZA     409 BITTERSWEET LN                                                                             OSSIAN            IN   46777‐9371
MARK DELAHAMAIDE   3660 KNEPPER RD                                                                                LAMBERTVILLE      MI   48144‐9743
MARK DELAND        2199 OLD TRAIL RD                                                                              PERRYSBURG        OH   43551‐6310
MARK DELAY         2087 AINSWORTH ST                                                                              FLINT             MI   48532‐3902
MARK DELVECCHIO    15025 MCCASLIN LAKE RD                                                                         LINDEN            MI   48451‐9641
MARK DEMARS        9750 BILLWOOD HWY                                                                              DIMONDALE         MI   48821‐9404
MARK DEMREST       252 HENDERSON RD                                                                               HOHENWALD         TN   38462
MARK DENBROCK      5576 MERANDA LN                                                                                GRAND LEDGE       MI   48837‐1266
MARK DENIS         40373 BEECHWOOD CT                                                                             NORTHVILLE        MI   48168‐3418
MARK DENISON       54614 ASHLEY LAUREN DR                                                                         MACOMB            MI   48042‐2322
MARK DENNING       1317 HAWTHORNE AVE                                                                             PEKIN             IL   61554
MARK DENNIS        1575 ABBEY DR                                                                                  TROY              MI   48083‐5365
MARK DENNIS        227 NORTHRIDGE RD                                                                              SOSO              MS   39480‐5506
MARK DENOYER       398 W MAIN ST                                                                                  MILAN             MI   48160‐1238
MARK DENSMORE      13693 NORMAN RD                                                                                LYNN              MI   48097‐2216
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Name                   Address1                            Address2             Address3         Address4         City                 State Zip
MARK DEPLANCHE         PO BOX 221                                                                                 BIG BAY               MI 49808‐0221
MARK DEPPE             7420 ANDRES DR                                                                             ALMONT                MI 48003‐8023
MARK DEROSSETT         2122 W 2ND STREET, APT 238D                                                                MARION                IN 46952
MARK DESCHERMEIER      10675 EVERS RD                                                                             CHARLEVOIX            MI 49720‐9425
MARK DESPOTH           438 WILDERNESS TRL                                                                         HOLLAND               OH 43528‐8072
MARK DESSINGER         3847 SAGINAW ST                                                                            NATIONAL CITY         MI 48748‐9508
MARK DETTLOFF          961 BERKSHIRE RD                                                                           GROSSE POINTE PARK    MI 48230‐1821
MARK DEWEY             2224 DOC ROBERTSON ROAD                                                                    SPRING HILL           TN 37174
MARK DEXEL             PO BOX 90456                                                                               BURTON                MI 48509‐0456
MARK DEXHEIMER         5240 KENNEDY CRES                                                                          SANBORN               NY 14132‐9462
MARK DEXTER            103 BROOKHAVEN DR                                                                          COLUMBIA              TN 38401‐8875
MARK DEYOUNG           6544 ROGUEVIEW CT NE                                                                       BELMONT               MI 49306‐9515
MARK DI FIORE          36948 KENMORE DR                                                                           FARMINGTON HILLS      MI 48335‐5488
MARK DIAB              9012 CORINNE ST                                                                            PLYMOUTH              MI 48170‐4020
MARK DIAMOND           2981 BROWN RD                                                                              MILLINGTON            MI 48746‐9015
MARK DICKENS           600 ROLLING ACRES DR                                                                       ORTONVILLE            MI 48462‐9151
MARK DICKMAN           8209 INDIAN TRAIL DR                                                                       MADEIRA               OH 45243‐1462
MARK DIEHL             619 N GENESEE ST                                                                           DAVISON               MI 48423‐1117
MARK DIETZ             5655 LOCUST ST EXTENTION                                                                   LOCKPORT              NY 14094
MARK DIGGS             1617 ROSS RD                                                                               FOREST HILL           MD 21050‐2805
MARK DILLARD           3614 HERD RD                                                                               METAMORA              MI 48455‐9640
MARK DILLON            607 N LENFESTY AVE                                                                         MARION                IN 46952‐2344
MARK DIMAMBRO          18154 BIRCH DR                                                                             MACOMB                MI 48044‐4116
MARK DIMICK            13301 SE 99TH ST                                                                           OKLAHOMA CITY         OK 73165‐9036
MARK DINATALE          402 HUNTERS RUN DR                                                                         BEL AIR               MD 21015‐2017
MARK DINGMAN           1415 N LAFAYETTE AVE                                                                       ROYAL OAK             MI 48067‐4309
MARK DIRNBERGER DO P   2001 SE GREEN OAKS BLVD STE 130                                                            ARLINGTON             TX 76018‐0952
MARK DISKIN            9449 LONGMEADOW ST                                                                         FENTON                MI 48430‐8721
MARK DIXON             5330 N 550 E                                                                               CHURUBUSCO            IN 46723‐9727
MARK DIXON             5337 GATESVILLE RD                                                                         NINEVEH               IN 46164‐9397
MARK DOCKERY           2257 MONTAGUE RD                                                                           DAVISON               MI 48423‐9103
MARK DOLINSKI          13427 NETHERWOOD ST                                                                        SOUTHGATE             MI 48195‐1706
MARK DOLPH             5360 S 12TH ST                                                                             PORTAGE               MI 49024‐9568
MARK DOMOWICZ          6450 BARTZ RD                                                                              LOCKPORT              NY 14094‐9507
MARK DONAHUE           500 FLORIDA RD                                                                             SYRACUSE              NY 13211‐1221
MARK DONALDSON         2172 FOX HILL DR APT 3                                                                     GRAND BLANC           MI 48439‐5209
MARK DONLEY            115 RIVER RD                                                                               MILFORD               MI 48381‐2064
MARK DONNELL           113 CHURCH WAY                                                                             OKLAHOMA CITY         OK 73139‐8625
MARK DONNELL           1456 MINTOLA AVE                                                                           FLINT                 MI 48532‐4045
MARK DONOHUE           5 HIGH ST                                                                                  WHITE HSE STA         NJ 08889‐4010
MARK DONOVAN           32425 CLOVERDALE AVE                                                                       FARMINGTON            MI 48336‐4009
MARK DORSKY            6489 PECK LAKE RD                                                                          PORTLAND              MI 48875‐9628
MARK DOTEN             419 SAXON RD APT 418                                                                       LANSING               MI 48917‐1023
MARK DOUCET
MARK DOUGLAS           102 HILLTOP DR                                                                             KENNEDALE            TX   76060‐2612
MARK DOUPONCE          455 W BORTON RD                                                                            ESSEXVILLE           MI   48732‐8706
MARK DOWN              5368 W COURT ST                                                                            FLINT                MI   48532‐3340
MARK DOWNS             PO BOX 65                                                                                  YUKON                PA   15698‐0065
MARK DOWNS             9433 ROSEMARY LN                                                                           BRIGHTON             MI   48114‐7535
MARK DOYLE             24281 EASTWOOD VILLAGE DR APT 104                                                          CLINTON TWP          MI   48035‐5807
MARK DRABIK            21067 SUMMERFIELD DR                                                                       MACOMB               MI   48044‐2927
MARK DRADT             300 WRIGHT RD                                                                              PROSPECT             TN   38477‐6031
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Name                        Address1                       Address2              Address3         Address4         City                  State Zip
MARK DRAGOY                 1027 S HOLLY RD                                                                        FENTON                 MI 48430‐8520
MARK DRAKE                  642 E TENNYSON AVE                                                                     PONTIAC                MI 48340‐2958
MARK DRAKE                  436 N WALNUT ST                                                                        JANESVILLE             WI 53548‐3530
MARK DRAUGEL LIVING TRUST   MARK DRAUGEL TTEE              PO BOX 431                                              WILLIAMS               AZ 86046
MARK DRENNAN                11618 NORTHDALE DR                                                                     MOORPARK               CA 93021‐2792
MARK DROTAR                 49224 MCCLURE RD                                                                       E PALESTINE            OH 44413‐9703
MARK DROZDOWSKI             2298 EDWARDS ST                                                                        GRAND BLANC            MI 48439‐5054
MARK DUBIEL                 36 TORCHIA RD                                                                          COLD SPRING            NY 10516‐3650
MARK DUBOIS                 3717 SUMMIT RIDGE DR                                                                   ROCHESTER HILLS        MI 48306‐2970
MARK DUBOIS JR              1222 SCHULTZ ST                                                                        DEFIANCE               OH 43512‐2916
MARK DUCKRO                 1949 WARD HILL AVE                                                                     DAYTON                 OH 45420‐3138
MARK DUES                   1498 WESTERRACE DR                                                                     FLINT                  MI 48532‐2438
MARK DUGAN                  6443 CUTLER RD                                                                         BATH                   MI 48808‐9429
MARK DUGAS                  2226 S OAK RD                                                                          DAVISON                MI 48423‐9152
MARK DUGDALE                9632 E 100 S                                                                           GREENTOWN              IN 46936‐9155
MARK DULTMEYER              2809 N BERKEY SOUTHERN RD                                                              SWANTON                OH 43558‐9623
MARK DUNCAN                 7343 REID RD                                                                           SWARTZ CREEK           MI 48473‐9465
MARK DUNKEL                 9217 OXFORD TRL                                                                        BRECKSVILLE            OH 44141‐2539
MARK DUNN                   8200 MOORISH RD                                                                        BIRCH RUN              MI 48415‐8591
MARK DUNN                   20018 MAUER ST                                                                         SAINT CLAIR SHORES     MI 48080‐3784
MARK DUNN                   7637 W 157TH PL                                                                        ORLAND PARK             IL 60462‐5000
MARK DUPAQUIER              10921 SANCTUARY WAY                                                                    SHREVEPORT             LA 71106‐7773
MARK DUPOUY                 2215 CARR DR                                                                           KOKOMO                 IN 46902‐9543
MARK DUPUIS                 292 CONSTITUTION BLVD S                                                                SHELTON                CT 06484‐5550
MARK DUQUETTE               2822 GIBSON ST                                                                         FLINT                  MI 48503‐3006
MARK DURAN                  7109 CAMP CREEK DR                                                                     ARLINGTON              TX 76002‐3363
MARK DYBDAHL                1510 YORK TER                                                                          SALINE                 MI 48176‐9419
MARK DYBIS                  1781 MANCHESTER BLVD                                                                   GROSSE POINTE WOODS    MI 48236‐1919
MARK DYE                    381 N MAPLELEAF RD                                                                     LAPEER                 MI 48446‐8003
MARK DYER                   8801 S BYAM RD                                                                         BANCROFT               MI 48414‐9416
MARK DZIEWIT                664 RUDGATE RD                                                                         BLOOMFIELD HILLS       MI 48304‐3307
MARK E ALTHOUSE             42 MILLS PL                                                                            NEW LEBANON            OH 45345‐1429
MARK E ANGUS                1690 CONNELL RD                                                                        ORTONVILLE             MI 48462‐9767
MARK E ARMSTRONG            3400 CHRISTINA DRIVE                                                                   NEW CARLISLE           OH 45344
MARK E BINGHAM              7207 COSNER DR                                                                         HUBER HEIGHTS          OH 45424‐3338
MARK E BLONIARZ             1661 FAIRLAWN ST                                                                       DEFIANCE               OH 43512‐4014
MARK E CLEVELAND            239 BANE ST SW                                                                         WARREN                 OH 44485‐4004
MARK E COLLINS              805 LAMAISSON CT                                                                       FERGUSON               MO 63135
MARK E CUMMIN               2805 WEHRLY AVE                                                                        DAYTON                 OH 45419‐2015
MARK E DAPORE               2920 COLONIAL AVE                                                                      KETTERING              OH 45419‐2032
MARK E DENOFF               251 KING AVE                                                                           SOUTH LEBANON          OH 45065
MARK E DOMOWICZ             6450 BARTZ RD                                                                          LOCKPORT               NY 14094‐9507
MARK E DRAKE                1307 SPRINGFIELD ST                                                                    DAYTON                 OH 45403
MARK E ELLIS                547 WHARTON ST                                                                         YPSILANTI              MI 48198‐8014
MARK E EVANS                7672 ALTERNATE STATE           ROUTE 49                                                ARCANUM                OH 45304‐9673
MARK E FAULKNER             111 SHENANDOAH TRL                                                                     W CARROLLTON           OH 45449‐3166
MARK E FROST                1017 SPRINGWAY DR                                                                      SHELBYVILLE            IN 46176
MARK E FUNKE                338 E COTTAGE AVE                                                                      DAYTON                 OH 45449‐1348
MARK E GARY                 157 HUNTINGTON DR NW                                                                   WARREN                 OH 44481‐9137
MARK E GEIGER               324 N PLUM ST                                                                          SPRINGFIELD            OH 45504
MARK E HARRIS               606 LAWNDALE AVE                                                                       TILTON                  IL 61833‐7962
MARK E HOWELL               3896 SUGARBARK DR                                                                      CANAL WINCHESTER       OH 43110
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Name                             Address1                        Address2                   Address3   Address4         City            State Zip
MARK E HULTGREN                  2041 FRIENDSHIP LN                                                                     CHAPEL HILL      TN 37034‐2501
MARK E HYGH                      829 MANOR CT                                                                           PLAINFIELD       IN 46168‐1447
MARK E JACKSON                   6573 HIGHWAY 567                                                                       LIBERTY          MS 39645‐5287
MARK E JOLLY                     3024 E. STROOP RD                                                                      KETTERING        OH 45440‐1336
MARK E KAMER                     853 OAK ST SW                                                                          WARREN           OH 44485‐3625
MARK E KOONMEN                   1122 S LINDEN RD                                                                       FLINT            MI 48532‐3437
MARK E KRUG                      524 GABRIEL STREET                                                                     VANDALIA         OH 45377‐1837
MARK E KUNKLE                    203 PARKGATE AVE                                                                       AUSTINTOWN       OH 44515‐3241
MARK E LEE                       1589 COLTON ST                                                                         TOLEDO           OH 43609‐2115
MARK E LENOIR                    3540 VIEWEL AVE                                                                        DAYTON           OH 45414‐5336
MARK E LEWIS                     1197 E. GLEN ECHO                                                                      LOVELAND         OH 45140
MARK E LOBA                      6401 SOUTHAMPTON DR                                                                    CLARKSTON        MI 48346‐3058
MARK E LORENZ                    4009 NORTHBRIDGE DR                                                                    SAINT PETERS     MO 63376
MARK E LUTTRELL                  970 JANE DRIVE                                                                         XENIA            OH 45385‐1518
MARK E MANAS                     2263 KING ST                                                                           SAGINAW          MI 48602‐1218
MARK E MCDANIEL                  11688 ST RT 730                                                                        BLANCHESTER      OH 45107
MARK E MESSICK                   1971 HYDE OAKFIELD RD                                                                  BRISTOLVILLE     OH 44402
MARK E MOORE                     3907 HERFORD TRL                                                                       MORAINE          OH 45439‐1209
MARK E MORGAN                    1113 S DIAMOND MILL RD                                                                 NEW LEBANON      OH 45345‐9335
MARK E NEWLAND                   124 W ELLIS DR                                                                         WAYNESVILLE      OH 45068‐9558
MARK E NEWSBAUM                  2281 ZION RD                                                                           COLUMBIA         TN 38401‐6041
MARK E OWENS CLERK OF COURTS     ACCT OF LEAH TURNER
MARK E OWENS CLERK OF CTS        FOR ACCT OF BRADLEY W WENRICK
MARK E OWENS CLERK OF CTS        ACCT OF CHARLES GARRISON
MARK E OWENS, CLERK OF COURTS    ACCT OF BRADLEY W WENRICK
MARK E OWENS, CLERK OF CTS       ACCT OF JOHN P JONES
MARK E OWENS, CLERK OF CTS       ACCT OF PATRICK E COOPER
MARK E OWENS, CLERK OF CTS       FOR ACCT OF JAMES J LIPSETT
MARK E PENDLETON                 276 DECATUR ST SE                                                                      ATLANTA         GA   30312
MARK E POTWORA                   209 GRANDVIEW TERRACE                                                                  BATAVIA         NY   14020‐2809
MARK E PROFITT                   8691 ORIOLE DR                                                                         FRANKLIN        OH   45005
MARK E SHELLEY                   920 WILLIAMSBURG RD                                                                    COLONIAL HGTS   VA   23834‐2621
MARK E SISK                      337 W ROSE CITY RD                                                                     ROSE CITY       MI   48654‐9670
MARK E SMITH                     229 NOTRE DAME AVE                                                                     DAYTON          OH   45404
MARK E SOUTH                     5546 DURWOOD RD                                                                        DAYTON          OH   45429‐5904
MARK E STARLING                  22 LA GORCE BLVD                                                                       BURLINGTON      NJ   08016‐2968
MARK E SULLIVAN                  33 OLDE ERIE TRAIL                                                                     ROCHESTER       NY   14626‐4011
MARK E TURNER                    16 MILLER STREET                                                                       ROCHESTER       NY   14605‐1558
MARK E WABLER                    6450 FIELDSON RD                                                                       DAYTON          OH   45459
MARK E WALCZAK                   583 KANSAS AVE                                                                         YPSILANTI       MI   48198‐8005
MARK E WALDECK                   14626 ALABAMA HWY 20 W                                                                 HILLSBORO       AL   35643
MARK E WEISS                     C/0 BRAYTON PURCELL             222 RUSH LANDING RD                                    NOVATO          CA   94948‐6169
MARK E WITKOP                    1564 NASH RD                                                                           N TONAWANDA     NY   14120‐1815
MARK E. DUVALL, PLLC             ONE LEADERSHIP SQUARE           211 N. ROBINSON, STE 900                               OKLAHOMA CITY   OK   73102
MARK E. FISHER
MARK E. OWENS, CLERK OF COURTS   ACCT OF BRADLEY WENRICK
MARK E. SUESS
MARK EARL                        880 BULLING LN                                                                         CHARLOTTE       MI   48813‐8519
MARK EASLICK                     316 BROOK DR                                                                           ROMEO           MI   48065‐5017
MARK EATON                       3946 DELMAR CIR                                                                        SPRINGFIELD     OH   45503‐6449
MARK EBLE                        8034 RALSTON RD                                                                        CAMBY           IN   46113‐9424
MARK ECK                         179 NORWAY DR                                                                          EATON           OH   45320‐2719
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Name                          Address1                       Address2              Address3         Address4         City                State Zip
MARK ECKENRATH                1701 MAN‐A‐LEE LANE                                                                    OXFORD               MI 48371
MARK ECKERDT                  233 GRANT ST                                                                           GRAND BLANC          MI 48439‐1121
MARK ECKERT                   3547 N COUNTY ROAD 400 E                                                               DANVILLE             IN 46122‐9522
MARK EDELMAN                  1923 WRENFORD RD                                                                       SOUTH EUCLID         OH 44121‐3141
MARK EDGAR                    4315 EATON RD R 6                                                                      GLADWIN              MI 48624
MARK EDICK                    1216 WESTMORELAND AVE                                                                  LANSING              MI 48915‐2105
MARK EDMONDSON                5585 STIMSON RD                                                                        EATON RAPIDS         MI 48827‐9618
MARK EDMUNDS                  4036 TRAIL RIDGE DR                                                                    FRANKLIN             TN 37067‐4056
MARK EDWARDS                  5408 NE 1ST AVE                                                                        FT LAUDERDALE        FL 33334‐1630
MARK EDWARDS                  G‐3211 NORTH TERM STREET                                                               FLINT                MI 48506
MARK EDWARDS                  1273 E GRAND BLVD                                                                      DETROIT              MI 48211‐3407
MARK EDWARDS
MARK EGGLESTON                13907 MEAD CREEK RD                                                                    BATH                MI   48808‐8704
MARK EGNER                    2185 CRESTLINE DR                                                                      BURTON              MI   48509‐1341
MARK EHRHARD                  524 WOOD WAY                                                                           MOORE               OK   73160‐2546
MARK EHRLE                    PO BOX 1168                                                                            LAKE SHERWOOD       MO   63357‐1168
MARK EICKHOFF
MARK EILAR                    2378 S SMITH RD                                                                        EATON RAPIDS        MI   48827‐9359
MARK EISENLORD                7485 MCCLIGGOTT RD                                                                     SAGINAW             MI   48609‐5082
MARK EISSLER                  6 COG MILL CT                                                                          O FALLON            MO   63368‐7189
MARK EISSLER                  15716 CRYSTAL DOWNS E                                                                  NORTHVILLE          MI   48168‐9636
MARK ELECTRONICS SUPPLY INC   11215 OLD BALTIMORE PIKE                                                               BELTSVILLE          MD   20705‐2012
MARK ELIAS PHOTOGRAPHY        5803 N SAN ANDROS                                                                      WEST PALM BEACH     FL   33411‐5595
MARK ELLEDGE                  8305 WOOLFIT AVE                                                                       MOUNT MORRIS        MI   48458‐1317
MARK ELLER                    5170 NASH DR                                                                           FLINT               MI   48506‐1581
MARK ELLIOTT                  87 WOODSLEE DR                                                                         TROY                MI   48083‐1742
MARK ELLIOTT                  828 W NORTHRUP ST                                                                      LANSING             MI   48911‐3637
MARK ELLIOTT                  8210 MOREL DR                                                                          INDIANAPOLIS        IN   46256‐8106
MARK ELLIS                    1979 N CEDAR RD                                                                        FOWLERVILLE         MI   48836‐8202
MARK ELLIS                    63 E PARK DR                                                                           LOCKPORT            NY   14094‐4722
MARK ELLIS                    PO BOX 653                                                                             HIGHLAND            MI   48357‐0653
MARK ELLIS                    3941 W TRIPP ROAD                                                                      JANESVILLE          WI   53548‐8593
MARK ELLIS                    319 TANGLEWOOD DR                                                                      ROCHESTER HILLS     MI   48309‐2216
MARK ELLISON                  PO BOX 32                                                                              BEDFORD             IN   47421‐0032
MARK ELSESSER                 14763 DOGWOOD RD                                                                       ATHENS              AL   35611‐8225
MARK ELSWORTH                 12507 N STATE ROAD 9                                                                   ALEXANDRIA          IN   46001‐8927
MARK EMEOTT                   3201 CAMERON CIR                                                                       COMMERCE TOWNSHIP   MI   48390‐5826
MARK EMERICK                  11400 S WACOUSTA RD                                                                    EAGLE               MI   48822‐9529
MARK EMMERT                   104 S RIVER RD                                                                         NORTH MANCHESTER    IN   46962‐9380
MARK ENDRES                   228 THOMAS JEFFERSON TER                                                               ELKTON              MD   21921‐5168
MARK ENGINEERING CO INC       6250 19 MILE RD                                                                        STERLING HEIGHTS    MI   48314‐2103
MARK ENGLE, D.C., IN          4751 MAHONING AVE NW                                                                   WARREN              OH   44483‐1420
MARK ENGLISH                  6414 N JENNINGS RD                                                                     MOUNT MORRIS        MI   48458‐9317
MARK ENGR/STERLNG HT          6250 19 MILE RD                                                                        STERLING HTS        MI   48314‐2103
MARK ENGWERT                  4917 RAMBO LN                                                                          TOLEDO              OH   43623‐3935
MARK ENSLEY                   515 LINDENWOOD DR                                                                      LANCASTER           TX   75134‐3225
MARK ERCEG                    3537 TECUMSEH RIVER RD                                                                 LANSING             MI   48906‐3562
MARK ERICKSON                 1510 WILDWOOD CT                                                                       FLINT               MI   48532‐2079
MARK ERIKSON                  26 ESSEX AVE                                                                           BERNARDSVILLE       NJ   07924
MARK ERLENBECK                9346 ASPEN VIEW DR                                                                     GRAND BLANC         MI   48439‐8081
MARK ERNST                    3604 AMHURST RD                                                                        JANESVILLE          WI   53546‐8838
MARK ERWIN                    1000 HENDERSON AVE                                                                     MENLO PARK          CA   94025‐2310
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Name                                Address1                         Address2                      Address3      Address4         City                State Zip
MARK ESCKILSEN                      11231 S DEWITT RD                                                                             DEWITT               MI 48820‐7601
MARK ESDALE                         7200 JOHNSON FARM LN             APT 109                                                      CHADDS FORD          PA 19317‐9063
MARK ESHLER                         16165 CHERRYWOOD CT                                                                           NORTHVILLE           MI 48168‐3496
MARK ETHEN                          2821 RUGER AVE                                                                                JANESVILLE           WI 53545
MARK ETHRIDGE                       11031 RAY RD                                                                                  GAINES               MI 48436‐8916
MARK EULISS                         1487 N STATE ROAD 39                                                                          DANVILLE             IN 46122‐8210
MARK EVANGELIDES                    535 PIERCE ST APT 1215                                                                        ALBANY               CA 94706‐1054
MARK EVANS                          39 ULRICH LN                                                                                  ELKTON               MD 21921‐7354
MARK EVANS                          132 HILLVIEW DR                                                                               HUBBARD              OH 44425‐1239
MARK EVANS                          1538 GRANDVIEW DR                                                                             ROCHESTER HILLS      MI 48306‐3127
MARK EVANS                          6030 N GLOBE ST                                                                               WESTLAND             MI 48185‐8114
MARK EVANS                          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS.          OH 44236
MARK EWASKO                         25 PATRICIA CIR                                                                               BEAR                 DE 19701‐1199
MARK EYLER                          15250 LEXINGTON SALEM RD                                                                      W ALEXANDRIA         OH 45381‐9621
MARK EZELLE                         1324 BROADWATER RD                                                                            UTICA                MS 39175‐9022
MARK F DAVIDSON                     ASSISTANT ATTORNEY GENERAL       3030 W GRAND BLVD #9‐600      CADILLAC PL                    DETROIT              MI 48202
MARK F KOCH                         815 WESTMORELAND AVE                                                                          LANSING              MI 48915‐2024
MARK F KOESTER                      1001 UNION AVE                                                                                UNION                MO 63084‐1239
MARK F MAKOWER                      ACCT OF JEFFREY F DAVIS          5745 PLUM CREST DR                                           WEST BLOOMFIELD      MI 48322
MARK F MANNERS                      551 GREENLAWN ST                                                                              YPSILANTI            MI 48198‐8016
MARK F MC MANUS                     1812 ROSTRAVER RD                                                                             BELLE VERNON         PA 15012‐4303
MARK F ROGERS                       TRLR 38                          21186 SOUTHEAST 29TH STREET                                  HARRAH               OK 73045‐6548
MARK F VOLK                         2611 SHERRIE LN                                                                               THOMPSONS STATION    TN 37179‐9282
MARK F WERBLOOD, ESQ.               ACCT OF CHRISTA J LEE
MARK F WHEELER                      3214 HICKORYNUT DR                                                                            FAIRBORN            OH 45324
MARK F. RUHOLL
MARK FABECK                         2131 BRUNSINK DR NE                                                                           GRAND RAPIDS        MI   49503‐2126
MARK FABER                          6140 JOHNSON RD                                                                               FLUSHING            MI   48433‐1106
MARK FAIRBANKS                      1182 JOHN LUNN RD                                                                             LEWISBURG           TN   37091‐6445
MARK FALASCO                        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS.         OH   44236
MARK FANTUZZI                       7450 N FARMINGTON RD                                                                          WESTLAND            MI   48185‐6949
MARK FARGO                          79930 MAIN ST                                                                                 MEMPHIS             MI   48041‐4640
MARK FARMER                         8776 BEAVER DAM RD                                                                            MURPHY              NC   28906‐9593
MARK FARMER                         1866 PIERCE ST                                                                                BIRMINGHAM          MI   48009‐2003
MARK FARMILOE                       7820 DEERHILL DR                                                                              CLARKSTON           MI   48346‐1244
MARK FARONE                         37637 FIVE MILE RD #133                                                                       LIVONIA             MI   48154
MARK FARRAR                         1800 PIPE ST                                                                                  SANDUSKY            OH   44870‐5041
MARK FARRELL                        115 SW MAIN ST                                                                                BONNE TERRE         MO   63628‐1743
MARK FAUST                          PO BOX 9022                      C/O GM SHANGHAI                                              WARREN              MI   48090‐9022
MARK FAY                            9055 FAUSSETT RD                                                                              FENTON              MI   48430‐9398
MARK FEATHERLY                      4750 BIRCH LN                                                                                 DEXTER              MI   48130‐8554
MARK FEDEROFF                       32735 SAND PIPER DR                                                                           ROMULUS             MI   48174‐4394
MARK FEDRUK                         8477 LINDA STREET                                                                             WARREN              MI   48093‐4919
MARK FEENEY                         27919 WATSON RD                                                                               DEFIANCE            OH   43512‐8850
MARK FEEZLE                         41273 MILLER RD                                                                               LEETONIA            OH   44431‐9664
MARK FELDMAN                        26735 K 68 HWY                                                                                PAOLA               KS   66071‐9300
MARK FELDPAUSCH                     7746 S AIRPORT RD                                                                             DEWITT              MI   48820‐9102
MARK FELDSTEIN & ASSOCIATES, INC.
MARK FELZIEN                        1242 ROYAL CRESCENT ST                                                                        ROCHESTER HLS       MI   48306‐4047
MARK FENSTERMAKER                   12528 TOWNSHIP ROAD 114                                                                       VAN BUREN           OH   45889‐9655
MARK FERGUSON                       1 ROBIN HOOD DR                                                                               TROY                MO   63379‐2394
MARK FERGUSON                       2923 DALE RD                                                                                  SHELBY              OH   44875‐9465
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Name               Address1                              Address2             Address3         Address4         City                 State Zip
MARK FERGUSON      8540 RIVES JUNCTION RD                                                                       RIVES JUNCTION        MI 49277‐9662
MARK FERGUSON      445 ASTOR AVE                                                                                W CARROLLTON          OH 45449‐2003
MARK FERRI         PO BOX 9022                                                                                  WARREN                MI 48090‐9022
MARK FERRIELL      9159 TAHOE CIRCLE                                                                            STRONGSVILLE          OH 44136‐1412
MARK FETTING       9528 W LAIRD RD                                                                              BELOIT                WI 53511‐8357
MARK FEUERBORN     32564 N HIGHWAY 59                                                                           RICHMOND              KS 66080‐8107
MARK FIEDLER       9127 LIMITS SE                                                                               MANCELONA             MI 49659‐8933
MARK FIELDS        706 COUNTRYWOOD DR                                                                           FRANKLIN              TN 37064‐5505
MARK FILAN         7400 CRYSTAL LAKE DR APT 12                                                                  SWARTZ CREEK          MI 48473‐8943
MARK FINCH         12967 KELLEY RD                                                                              BROOKLYN              MI 49230‐9773
MARK FINKEL        17745 KOOGLER ST                                                                             CLINTON TOWNSHIP      MI 48038‐1757
MARK FINKEL        5923 N HADLEY RD                                                                             ORTONVILLE            MI 48462‐9600
MARK FIORINO       459 WHITE SPRUCE DR                                                                          MACEDONIA             OH 44056‐1059
MARK FIRTH         396 APPLE RIDGE RD                                                                           SALEM                 OH 44460‐9420
MARK FISCHER       5844 SUNBREEZE TRL                                                                           SYLVANIA              OH 43560‐9471
MARK FISCHER       PO BOX 166                                                                                   OTISVILLE             MI 48463‐0166
MARK FISCHER       26818 KOERBER ST                                                                             SAINT CLAIR SHORES    MI 48081‐2448
MARK FISCHER       31834 BLAIR DR                                                                               WARREN                MI 48092‐1466
MARK FISH          368 SHAWSWICK SCHOOL RD                                                                      BEDFORD               IN 47421‐7373
MARK FISH          6201 BERT KOUNS INDUSTRIAL LOOP LOT                                                          SHREVEPORT            LA 71129‐5068
                   874
MARK FISHER        7804 PONDEROSA DR                                                                            TUTTLE               OK   73089‐8554
MARK FISHER        227 STILL WATER LN                                                                           JEFFERSON            GA   30549‐7048
MARK FISHWICK      8390 PENINSULAR DR                                                                           FENTON               MI   48430‐9124
MARK FITZGERALD    826 GOLF DR APT 102                                                                          PONTIAC              MI   48341‐2311
MARK FIX           10724 SMITH AVE                                                                              LEROY                MI   49655‐9735
MARK FLANIGAN      6438 SOUTHAMPTON DR                                                                          CLARKSTON            MI   48346‐3060
MARK FLEES         7710 COLONY LAKE DRIVE                                                                       BOYNTON BEACH        FL   33436‐1310
MARK FLETCHER      1218 STRUBLE RD                                                                              MUIR                 MI   48860‐9795
MARK FLINT         2906 COUNTRY ESTATES DR                                                                      INDIANAPOLIS         IN   46227‐6308
MARK FLORINO       25129 KOTHS ST                                                                               TAYLOR               MI   48180‐3221
MARK FLOWERS       579 WELLINGTON DR                                                                            SOUTH LYON           MI   48178‐1248
MARK FLOWERS       3265 AMANDA DR                                                                               DAYTON               OH   45406‐1102
MARK FLOYD         151 SPRING HOUSE LN                                                                          TROY                 MO   63379‐5791
MARK FLUHARTY      1792 THOMPSON STATION RD W                                                                   THOMPSONS STATION    TN   37179‐9260
MARK FLUKE         2500 BLIESENER ST                                                                            LANSING              MI   48911‐4534
MARK FLYNN         2420 STEAMBURG RD                                                                            HILLSDALE            MI   49242‐2090
MARK FOGG          49505 MICHIGAN AVE                                                                           BELLEVILLE           MI   48111‐1034
MARK FOISY         41040 N MCMAHON CIR                                                                          NOVI                 MI   48375‐3435
MARK FORCE         9122 SILVER LAKE RD                                                                          LINDEN               MI   48451‐9643
MARK FORD          2621 SANDPOINT RD                                                                            FORT WAYNE           IN   46809‐1759
MARK FORDYCE       460 MAPLE RUN ESTATES BLVD                                                                   SPRINGVILLE          IN   47462‐5469
MARK FORSHEE       20200 N TERRITORIAL RD                                                                       CHELSEA              MI   48118‐9141
MARK FORST         116 GILBERT DR                                                                               FRANKLIN             TN   37064‐5027
MARK FORSTER
MARK FORTE         506 OAK KNOLL AVE SE                                                                         WARREN               OH   44483‐6043
MARK FORTENBERRY   14395 SEYMOUR RD                                                                             MONTROSE             MI   48457‐9074
MARK FORTINO       208 RIVERVIEW DR                                                                             DEWITT               MI   48820‐9543
MARK FORTON        47290 ANCHOR DR                                                                              MACOMB               MI   48044‐5955
MARK FORTUNE       6110 YARMOUTH DR                                                                             SHELBY TOWNSHIP      MI   48316‐3370
MARK FOSGATE       650 ASPEN AVE                                                                                ELMORE               OH   43416‐9800
MARK FOSTER        9402 ELAINE DR                                                                               SWARTZ CREEK         MI   48473‐8556
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Name                 Address1                            Address2              Address3         Address4                  City                  State Zip
MARK FOTIA           1028 ENOLA ROAD                                                                                      GRAND ISLAND           NY 14072‐2840
MARK FOUCHER         46909 GREENRIDGE DR                                                                                  NORTHVILLE             MI 48167‐1766
MARK FOX             14700 WACOUSTA RD                                                                                    GRAND LEDGE            MI 48837‐9261
MARK FOX             4471 SHANGRILA DR                                                                                    PINCKNEY               MI 48169‐9375
MARK FOY             7150 LONDON DR                                                                                       SAGINAW                MI 48609‐5028
MARK FRAIM           1270 E SAWDUST CORNERS RD                                                                            LAPEER                 MI 48446‐8790
MARK FRANCHETT       1141 YORKSHIRE RD                                                                                    GROSSE POINTE PARK     MI 48230‐1435
MARK FRANCIS         1832 W WALTERS RD                                                                                    BELOIT                 WI 53511‐8819
MARK FRANCIS         1623 HEMMINGWAY CT                                                                                   JANESVILLE             WI 53545‐8846
MARK FRANCIS         129 KINROSS AVE                                                                                      CLAWSON                MI 48017‐1417
MARK FRANCIS         141 WEST 10TH STREET                                                                                 NEW YORK               NY 10014
MARK FRANCZEK        329 HIGH MEADOW ST                                                                                   SIMI VALLEY            CA 93065‐7313
MARK FRANK           18 S SHORT ST                                                                                        TROY                   OH 45373‐3254
MARK FRANKO          2959 FALLEHN DR                                                                                      CORTLAND               OH 44410‐9170
MARK FRANKS          16301 BOWMAN ST NE                                                                                   HOMEWORTH              OH 44634‐9647
MARK FRANKS          R JOAQUIM JOSE ESTEVES, 60          APTO 32                                SAO PAULO BRA 04740‐000
                                                                                                BRAZIL
MARK FRANTZ          350 BRISTOL CHAMP TOWNLN RD                                                                          WARREN                OH   44481
MARK FRASE           727 HEATHER STONE CT                                                                                 LAWRENCEVILLE         GA   30043‐7618
MARK FRAZER          4940 E CALGARY                                                                                       MURFREESBORO          TN   37129‐8066
MARK FRECHETTE       1297 W DANSVILLE RD                                                                                  MASON                 MI   48854‐9663
MARK FREDAL          44056 GINKGO DR                                                                                      STERLING HEIGHTS      MI   48314‐4405
MARK FREDERICK       303 EVERGREEN DR                                                                                     SOMERSET              WI   54025‐9082
MARK FREDERIKSEN     3026 FERRIS AVE                                                                                      ROYAL OAK             MI   48073‐3568
MARK FREEMAN         4507 THORNAPPLE CIR                                                                                  BURTON                MI   48509‐1234
MARK FREEMAN         8704 SPLITLOG AVE                                                                                    KANSAS CITY           KS   66112‐1639
MARK FREEMAN         159 HOLIDAY HL                                                                                       LEXINGTON             OH   44904‐1137
MARK FREEMAN         5315 108TH ST SE                                                                                     CALEDONIA             MI   49316‐8823
MARK FREES           2427 W JUNIPER RIDGE CT                                                                              JANESVILLE            WI   53545‐9621
MARK FRENCH
MARK FRIEDRICH       19354 SCENIC HARBOR DR                                                                               MACOMB                MI   48044‐2882
MARK FRIESNER        PO BOX 201                          200 CELINA ST                                                    OAKWOOD               OH   45873‐0201
MARK FROST           8177 JENNINGS RD                                                                                     SWARTZ CREEK          MI   48473‐9148
MARK FRYE            1605 PRESTWICK RD                                                                                    GROSSE POINTE WOODS   MI   48236‐1938
MARK FUHRMANN        15000 BISHOP RD                                                                                      BYRON                 MI   48418‐9525
MARK FULCHER         14190 MONTLE RD                                                                                      CLIO                  MI   48420‐7957
MARK FULTON          15122 MEADOW LN                                                                                      LINDEN                MI   48451‐9685
MARK FURDEN          4001 MAPLE ST                                                                                        MOUNT MORRIS          MI   48458‐8515
MARK FURREVIG        5 ORCHID CT                                                                                          SAYREVILLE            NJ   08872‐2114
MARK G ANDERSEN      7407 LEDGEWOOD                                                                                       FENTON                MI   48430
MARK G AVERY         9222 N DORT HWY                                                                                      MOUNT MORRIS          MI   48458‐1221
MARK G BROWN         1844 SCOTCH PINE DRIVE                                                                               BEAVERCREEK           OH   45432‐1860
MARK G CHARLETON     156 SEVEN SPRINGS DRIVE                                                                              MOUNT JULIET          TN   37122
MARK G FRANCIS       129 KINROSS AVE                                                                                      CLAWSON               MI   48017‐1417
MARK G HENLEY        2610 BONNIE LANE                                                                                     EASTON                PA   18045
MARK G HENTHORN      3504 LA MANCHA DRIVE                                                                                 JANESVILLE            WI   53546‐1323
MARK G JOHNSON       9573 HARBOUR COVE CT                                                                                 YPSILANTI             MI   48197‐7006
MARK G LEDWIN        WILSON, FISHER, MOSKOWITZ, EDELMAN, 3 GANNETT DR                                                     WHITE PLAINS          NY   10604
                     & DICKER LLP
MARK G MACHNACKI     8597 SANDPIPER ST                                                                                    CANTON                MI 48187‐1713
MARK G NIEDZWIECKI   11206 HILLCREST BLVD NE                                                                              KALKASKA              MI 49646‐9082
MARK G NOSAL         1707 CHARITY DR                                                                                      BRENTWOOD             TN 37027‐8655
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Name                Address1                       Address2              Address3         Address4         City              State Zip
MARK G RUIZ         16216 HONNINGTON ST                                                                    WHITTIER           CA 90603‐1650
MARK G VIVIRITO     1813 GREYSTONE HEIGHT DR                                                               VALRICO            FL 33594
MARK GAGNON         1166B W HIGGINS LAKE DR                                                                ROSCOMMON          MI 48653‐9258
MARK GALAVIZ        500 S FAIRVIEW AVE                                                                     LANSING            MI 48912‐2918
MARK GALBRAITH      44 KOLLMAN DR                                                                          NEWARK             DE 19713‐2403
MARK GALBREATH      397 MELANIE CT                                                                         LINDEN             MI 48451‐9121
MARK GALLIERS       1941 FIELDING CT                                                                       DEFIANCE           OH 43512‐3483
MARK GALLUCCI
MARK GAMALSKI       51740 CHURCHILL DR                                                                     SHELBY TWP        MI   48316‐4377
MARK GAMBLE         6214 MISSION DR                                                                        WEST BLOOMFIELD   MI   48324‐1393
MARK GANJE          174 SANTIN DR                                                                          CHEEKTOWAGA       NY   14225‐3859
MARK GARAVAGLIA     19690 ARMADA RIDGE RD                                                                  ARMADA            MI   48005‐4220
MARK GARDNER        318 TERRACE DR                                                                         MANSFIELD         OH   44905‐2527
MARK GARDNER        3627 AYNSLEY DR                                                                        ROCHESTER HILLS   MI   48306‐3779
MARK GARDNER        3617 OAK BEND CT                                                                       BOWLING GREEN     KY   42104‐5558
MARK GARLAND        1061 NICHOLS RD                                                                        FLUSHING          MI   48433‐9725
MARK GARRETT        7911 WOODBURY RD                                                                       LAINGSBURG        MI   48848‐8724
MARK GARSKE         2318 SOWELL MILL PIKE                                                                  COLUMBIA          TN   38401‐8022
MARK GARY           157 HUNTINGTON DR NW                                                                   WARREN            OH   44481‐9137
MARK GARZA          1608 ARDIS DR                                                                          SAGINAW           MI   48609‐9529
MARK GASLOLI        13614 LEISURE DR                                                                       WARREN            MI   48088‐4351
MARK GASPAREK       9536 BRADFORD LN NE                                                                    WARREN            OH   44484‐3961
MARK GASTER         1939 N 73RD TER APT 1                                                                  KANSAS CITY       KS   66112‐2312
MARK GAYLORD        PO BOX 9022                                                                            WARREN            MI   48090‐9022
MARK GAZDA          1105 THORN RIDGE DR                                                                    HOWELL            MI   48843‐6107
MARK GEDEON         180 KATHY CIR                                                                          LINDEN            MI   48451‐9682
MARK GEHRINGER      2465 RUNAWAY TRL                                                                       MILFORD           MI   48380‐3835
MARK GEISS          2660 RAVENGLASS RD                                                                     WATERFORD         MI   48329‐2641
MARK GENEI          3811 E FROST RD                                                                        WEBBERVILLE       MI   48892‐9283
MARK GENTRY         5461 N NEW LOTHROP RD                                                                  CORUNNA           MI   48817‐9750
MARK GEOGHAGAN      3006 HARWICK DR APT 6                                                                  LANSING           MI   48917‐2359
MARK GEORGE         2241 COTTINGHAM RD N                                                                   SPRINGFIELD       OH   45506‐3841
MARK GEORGE         2316 CLEARVIEW PL SW                                                                   DECATUR           AL   35601‐6216
MARK GEORGE         6242 PORTER AVE                                                                        EAST LANSING      MI   48823‐6202
MARK GERHARDSTEIN   3422 PLUMBROOK DR                                                                      CANFIELD          OH   44406‐9237
MARK GERMAIN        MARK GERMAIN                   70 RUSSELL AVE                                          PLAINVILLE        CT   06062‐2818
MARK GEROW          718 N LAPEER ST                                                                        DAVISON           MI   48423‐1219
MARK GERSTUNG       6059 KETCHUM AVE                                                                       NEWFANE           NY   14108‐1014
MARK GERVAIS        6425 VAN VLEET RD                                                                      SWARTZ CREEK      MI   48473‐8583
MARK GEVAART        9329 WINCHESTER RD                                                                     FORT WAYNE        IN   46819‐2430
MARK GIBB           1289 LAKE VALLEY DR                                                                    FENTON            MI   48430‐1209
MARK GIBBS          1505 W HIGHLAND RD                                                                     HIGHLAND          MI   48357‐4303
MARK GIBBS          1145 BISHOP DR APT D                                                                   WEST CARROLLTON   OH   45449‐2073
MARK GIBISON SR     25 MARTA DR # EASTBURN                                                                 WILMINGTON        DE   19808
MARK GIBSON         18046 ELLES DR                                                                         ATHENS            AL   35611‐5635
MARK GIBSON         7082 E 50 N                                                                            GREENTOWN         IN   46936‐1023
MARK GIBSON         2871 TALL OAKS BLVD                                                                    KOKOMO            IN   46901‐7705
MARK GIETZEN        1441 WELLINGTON RD                                                                     LANSING           MI   48910‐1170
MARK GIFFORD        4561 NORTH BLAISDELL ROAD                                                              MERRITT           MI   49667‐9732
MARK GIFFORD        14135 EASTVIEW DR                                                                      FENTON            MI   48430‐1303
MARK GIGLIO         1716 HORSESHOE BEND DR                                                                 PERRYSBURG        OH   43551‐6920
MARK GILBERT        3606 OAK VALLEY LN                                                                     WAUKESHA          WI   53188‐2537
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Name               Address1                       Address2              Address3         Address4         City                 State Zip
MARK GILBERT       8507 ELKRUN DR                                                                         CLARKSTON             MI 48348‐2857
MARK GILL          2751 S BLACKS CORNERS RD                                                               IMLAY CITY            MI 48444‐9778
MARK GILLE         548 N WALNUT ST                                                                        JANESVILLE            WI 53548‐2858
MARK GILLETTE      5081 IROQUOIS BLVD                                                                     CLARKSTON             MI 48348‐3223
MARK GILLIES       2970 LONE TREE RD                                                                      MILFORD               MI 48380‐2126
MARK GILLMAN       7354 AQUA ISLE DR                                                                      CLAY                  MI 48001‐4202
MARK GILMORE       5051 BETHEL CHURCH RD                                                                  SALINE                MI 48176‐9728
MARK GILSTRAP      4800 SILVERBERRY LN NW                                                                 ACWORTH               GA 30102‐3559
MARK GIROWSKI      1027 INCA TRL                                                                          LAKE ORION            MI 48362‐1423
MARK GITTINGS      22 JAMESON LN                                                                          BALTIMORE             MD 21208‐2100
MARK GIVAN         1216 MONTPIER DR                                                                       FRANKLIN              TN 37069‐4706
MARK GLASS         6874 ROAD 55                                                                           PAYNE                 OH 45880‐9528
MARK GLAZA         11011 GARBOR DR                                                                        WARREN                MI 48093‐4927
MARK GLENDENING    111 E LOCUST LN                                                                        KENNETT SQ            PA 19348‐1717
MARK GLOVER        2812 BIRCH DR                                                                          SHREVEPORT            LA 71118
MARK GNATKOWSKI    4855 INDIANTOWN RD                                                                     SAGINAW               MI 48601‐9681
MARK GOBLE         2755 YARNALL RD                                                                        BALTIMORE             MD 21227‐4814
MARK GODI          4223 PINEPORT RD                                                                       BRIDGEPORT            MI 48722‐9505
MARK GOEDTEL       305 GREENLEAF CT                                                                       LOGANVILLE            GA 30052‐4472
MARK GOETSCH       52470 HAYES RD                                                                         MACOMB                MI 48042‐3425
MARK GOETZ         3490 MAHLON MOORE RD                                                                   SPRING HILL           TN 37174‐2133
MARK GOFTON        2419 SHERLOCK TRL                                                                      HIGHLAND              MI 48356‐3015
MARK GOLDAMMER     5404 AMBER DR                                                                          EAST LANSING          MI 48823‐3801
MARK GOLDEN        61391 COUNTRY LN                                                                       WASHINGTON            MI 48094‐1154
MARK GOLDSWORTHY   16492 DAWNLIGHT DRIVE                                                                  FENTON                MI 48430‐8956
MARK GOLUS         1409 YORKSHIRE RD                                                                      GROSSE POINTE PARK    MI 48230‐1109
MARK GOMBAR        1675 SEMINOLE LN                                                                       SAGINAW               MI 48638‐4441
MARK GOODWIN       5760 ARTESIAN DR                                                                       WATERFORD             MI 48327‐2805
MARK GORDON        6333 GIBISON RD                                                                        TROY                  MO 63379‐3521
MARK GORDON        4206 LINVILLE DR                                                                       WARREN                MI 48092‐3030
MARK GORDON        1312 PARKSIDE CT                                                                       OXFORD                MI 48371‐6056
MARK GORMAN        1218 WINCHESTER PL                                                                     JANESVILLE            WI 53548‐1492
MARK GORNEY        6820 WILD PINE CIR                                                                     SAGINAW               MI 48603‐8667
MARK GOSTOMSKI     1519 GREENSPRING AVE                                                                   PERRYVILLE            MD 21903‐2314
MARK GOTTLEBER     7080 MELBOURNE RD                                                                      SAGINAW               MI 48604‐9241
MARK GOULD         7103 LOU MAC DR                                                                        SWARTZ CREEK          MI 48473‐9718
MARK GOVER         3700 COTTAGE GROVE CT                                                                  SAGINAW               MI 48604‐9527
MARK GOW           230 W MARYKNOLL RD                                                                     ROCHESTER HILLS       MI 48309‐1940
MARK GRACZYK       2407 FRASER ST                                                                         BAY CITY              MI 48708‐8635
MARK GRADES        1812 ALPHA ST                                                                          LANSING               MI 48910‐1804
MARK GRAFFEO       153 COLTS NECK RD                                                                      FARMINGDALE           NJ 07727‐3638
MARK GRAHAM        803 ALYSA CT                                                                           HIGHLAND              MI 48356‐1697
MARK GRAHAM        85 OAK VALLEY DR                                                                       SPRING HILL           TN 37174‐2597
MARK GRAJEK        5255 CARAMAE LN                                                                        HOWELL                MI 48855‐6742
MARK GRANT         340 COUNTRY SIDE DR                                                                    MCDONOUGH             GA 30252‐5670
MARK GRAUF         2121 26TH ST                                                                           BAY CITY              MI 48708‐8133
MARK GRAY          3427 S RINIEL RD                                                                       DURAND                MI 48429‐9740
MARK GRAY          2619 CHEROKEE RD                                                                       JANESVILLE            WI 53545‐2201
MARK GRAY          18 NELSON RD                                                                           WEST GROVE            PA 19390‐9773
MARK GRAY          8616 GALUSHA GRV                                                                       EATON RAPIDS          MI 48827‐8926
MARK GRAYLESS      1034 N RANDALL AVE                                                                     JANESVILLE            WI 53545‐1964
MARK GREAR         615 BEDROCKE RD                                                                        COATESVILLE           PA 19320
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Name                  Address1                          Address2              Address3                  Address4         City               State Zip
MARK GRECO            5315 NW 87TH CT                                                                                    KANSAS CITY         MO 64154‐2617
MARK GREENBERG        15075 LINCOLN ST APT 809                                                                           OAK PARK            MI 48237‐4122
MARK GREENLEE         4596 THURLBY RD                                                                                    MASON               MI 48854‐9698
MARK GREGGERSEN       26307 BRUSH ST                                                                                     MADISON HEIGHTS     MI 48071
MARK GREGORIO         9821 S PROTECTION RD                                                                               HOLLAND             NY 14080‐9529
MARK GREGORY          10013 SOUTH CHOCTAW ROAD                                                                           CHOCTAW             OK 73020‐4045
MARK GREGSON          2099 HARDWOOD DR                                                                                   DAVISON             MI 48423‐9541
MARK GRIDER           10037 SAND LAKE HWY                                                                                ONSTED              MI 49265‐9618
MARK GRIFFIN          32419 HOLDEN DR                                                                                    WARREN              MI 48092‐3109
MARK GRIFFIN          5003 DURHAM CT                                                                                     CLARKSTON           MI 48348‐2193
MARK GRIFFIN          7042 MAYNARD RD                                                                                    PORTLAND            MI 48875‐9602
MARK GRIGGS           2160 AUTUMN PL                                                                                     COLUMBUS            OH 43223‐3259
MARK GRIMALDI         3072 HERON POINTE DR                                                                               BLOOMFIELD HILLS    MI 48302‐0716
MARK GRIMES           736 RIVERVIEW DR                                                                                   KOKOMO              IN 46901‐7024
MARK GRIMWOOD         625 E GRESHAM HWY                                                                                  CHARLOTTE           MI 48813‐8667
MARK GRIPPE           1698 MAYER RD                                                                                      COLUMBUS            MI 48063‐3323
MARK GROBBEL JR       49432 MARSEILLES RD                                                                                MACOMB              MI 48044‐1726
MARK GROCE            522 W FREDERICK AVE                                                                                LANSING             MI 48906‐3010
MARK GRODZICKI        3380 WYNNS MILL RD                                                                                 METAMORA            MI 48455‐9628
MARK GROMASKI         131 S JAMES ST                                                                                     STANDISH            MI 48658‐9669
MARK GRONEK           C/O JOHN G SIMON                  THE SIMON LAW FIRM    701 MARKET STREET SUITE                    ST LOUIS            MO 63101
                                                                              1450
MARK GROSS            512 PETERSBURG PL                                                                                  WENTZVILLE         MO 63385‐3619
MARK GROSSKOPF
MARK GRUBBS           1965 WATERBROOK LN                                                                                 COLUMBUS           OH   43209‐3336
MARK GRUENEICH        6076 CARPENTER RD                                                                                  FLUSHING           MI   48433‐9020
MARK GRUETZMACHER     1508 BENNETT ST                                                                                    JANESVILLE         WI   53545‐1924
MARK GUBERT           19645 KNIGHT TALE LN                                                                               ORLANDO            FL   32833‐5532
MARK GUGEL            676 SNOWMASS DR                                                                                    ROCHESTER HILLS    MI   48309‐1324
MARK GULLETT          1474 DORELLEN AVE                                                                                  FLINT              MI   48532‐5338
MARK GUNDERSON        721 SOULE BLVD                                                                                     ANN ARBOR          MI   48103‐4626
MARK H BRINGHAM       874 GLENDALE DR                                                                                    FRANKLIN           IN   46131‐1535
MARK H FISCHER        5463 E. LAKE RD.                                                                                   CONESUS            NY   14435‐9754
MARK H HEATH          9909 ST RT 235                                                                                     QUINCY             OH   43343‐9507
MARK H MANION         159 BRYANT AVE                                                                                     LA FAYETTE         GA   30728‐4803
MARK H MATSON         4069 S PACIFIC HWY #135                                                                            MEDFORD            OR   97501
MARK H SMITH
MARK H SMITH          1513 MAPLEWOOD ST NE                                                                               WARREN             OH   44483‐4167
MARK H UNVERICHT      6 SANDSTONE DRIVE                                                                                  SPENCERPORT        NY   14559‐1126
MARK H. HYMAN, M.D.   10780 SANTA MONICA BLVD STE 408                                                                    LOS ANGELES        CA   90025‐7616
MARK HABOSKY          8452 HIGHLAND AVE                                                                                  MINERAL RIDGE      OH   44440‐8700
MARK HACKLEMAN        6263 E COUNTY ROAD 800 N                                                                           BAINBRIDGE         IN   46105‐9534
MARK HADFIELD
MARK HADLEY           657 CREEKSIDE CT                                                                                   OXFORD             MI   48371‐5545
MARK HAEFFNER         823 FRANKLIN AVE                                                                                   SALEM              OH   44460‐3844
MARK HAEFNER          PO BOX 616                                                                                         ROANOKE            IN   46783‐0616
MARK HAENER           2069 ROCHELLE PARK DR                                                                              ROCHESTER HILLS    MI   48309‐3700
MARK HAGADONE         5844 AUBURN RD                                                                                     SHELBY TOWNSHIP    MI   48317‐4202
MARK HAGLER           9485 CREEK BEND TRL                                                                                DAVISON            MI   48423‐8626
MARK HAHN             N4073 BROWN DEER DR                                                                                BRODHEAD           WI   53520‐9614
MARK HAINES           3723 GRAVEL CREEK RD                                                                               NORTH BRANCH       MI   48461‐8908
MARK HAIRSTON         12719 PEMBROKE AVE                                                                                 DETROIT            MI   48235‐1110
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Name                Address1                      Address2              Address3         Address4         City            State Zip
MARK HALEY          7821WN00S                                                                             SWAYZEE          IN 46986
MARK HALEY          219 S SHORT ST                                                                        BANNISTER        MI 48807‐5129
MARK HALFMAN        PO BOX 246                    320 S MAIN                                              FOWLER           MI 48835‐0246
MARK HALL           3624 SCOTT DR                                                                         TROY             MI 48084‐1166
MARK HALL           333 N BROOKS ST                                                                       OWOSSO           MI 48867‐2022
MARK HALSEY         4723 S NEW COLUMBUS RD                                                                ANDERSON         IN 46013‐3968
MARK HALSTEAD       1225 W NORTHRUP ST                                                                    LANSING          MI 48911‐3646
MARK HALTEMAN       2375 VERNOR RD                                                                        LAPEER           MI 48446‐8374
MARK HAMILTON       3336 QUAKER RD                                                                        GASPORT          NY 14067‐9469
MARK HAMILTON       5730 NW 29TH ST                                                                       OKLAHOMA CITY    OK 73127‐1622
MARK HAMMOND        4806 NW HILLSIDE DR                                                                   RIVERSIDE        MO 64150‐3362
MARK HAMMOND        21385 DONALDSON ST                                                                    DEARBORN         MI 48124‐3034
MARK HAMPEL         13487 STATE RD                                                                        LAKE ODESSA      MI 48849‐9409
MARK HAMPTON        300 ROSEHILL RD                                                                       JACKSON          MI 49202‐1725
MARK HAMRIC         220 N JACKSON DR                                                                      MIDWEST CITY     OK 73130‐3704
MARK HANEY          41 PARKWOOD BLVD                                                                      MANSFIELD        OH 44906‐3739
MARK HANEY          749 FIELDVIEW DR                                                                      GRAND LEDGE      MI 48837‐9193
MARK HANING         3675 MARKWOOD CT                                                                      OXFORD           MI 48370‐2917
MARK HANKINS        7975 BUCKWOOD DR                                                                      SMITHVILLE       MO 64089‐8599
MARK HANSEN         4739 VIA ALTAMIRA                                                                     NEWBURY PARK     CA 91320‐7023
MARK HANSON         16711 BRAMELL ST                                                                      DETROIT          MI 48219‐3705
MARK HARALSON       4036 RASPBERRY LN                                                                     BURTON           MI 48529‐2200
MARK HARASIM        12229 MOCERI DR                                                                       GRAND BLANC      MI 48439‐1925
MARK HARDEN         34950 DONNELLY ST                                                                     WESTLAND         MI 48185‐3511
MARK HARLAND        310 WATERFORD CT                                                                      SOUTHLAKE        TX 76092‐7003
MARK HARMESON       2236 POLO PARK DR                                                                     DAYTON           OH 45439‐3267
MARK HARPER         7862 LEE RD                                                                           BRIGHTON         MI 48116‐8868
MARK HARRELL        4 BRAIRWOOD CT                                                                        MANSFIELD        TX 76063‐5537
MARK HARRIS         2491 HICKORY CIRCLE DR                                                                HOWELL           MI 48855‐7650
MARK HARRIS         160 HAYES RD                                                                          BOWLING GREEN    KY 42103‐9722
MARK HARRIS         34371 CLAUDIA CT                                                                      WESTLAND         MI 48185‐1440
MARK HARRIS         306 CHAMBERLAIN ST                                                                    FLUSHING         MI 48433‐1616
MARK HART           6416 RATLIFF RD                                                                       CAMBY            IN 46113‐9446
MARK HARTMAN        PO BOX 578                                                                            DAVISON          MI 48423‐0578
MARK HARTSIG        31808 FORREST                                                                         FRASER           MI 48026‐2664
MARK HARTWECK       26 PINES DR                                                                           SAINT PETERS     MO 63376‐3415
MARK HARVEY         17211 W 84TH ST                                                                       LENEXA           KS 66219‐8125
MARK HARVEY         5760 OLD MENDENHALL RD                                                                ARCHDALE         NC 27263‐3933
MARK HASSER         1426 WEDGEWOOD DR                                                                     FAIRBORN         OH 45324‐4141
MARK HASSON         417 BUTE RD.                                                                          UNIONTOWN        PA 15401
MARK HASSON I I I   417 BUTE RD                                                                           UNIONTOWN        PA 15401‐9603
MARK HATFIELD       2759 REYNOLDS CIR                                                                     COLUMBIAVILLE    MI 48421‐8940
MARK HATTENDORF     825 WESTWOOD DR                                                                       FENTON           MI 48430‐1465
MARK HAUCK          8058 OHARA DR                                                                         DAVISON          MI 48423‐9576
MARK HAVENS         757 CENTER ST.                                                                        COSTA MESA       CA 92627
MARK HAVERCAMP      2820 S MONROE ST                                                                      BAY CITY         MI 48708‐4905
MARK HAVILAND       202 ALGER ST                                                                          LANSING          MI 48917‐3803
MARK HAWKE          3333 SPRUCE                   APT 3301                                                LAKE ORION       MI 48359‐1099
MARK HAWKINS        5064 FORD ST                                                                          INDIANAPOLIS     IN 46224‐6963
MARK HAWKINS        13422 S HORRELL RD                                                                    FENTON           MI 48430‐1066
MARK HAWLEY         3401 DANBURY CROSSROAD ST                                                             LANSING          MI 48911‐4415
MARK HAWRYLO        5542 GINA DR                                                                          SWARTZ CREEK     MI 48473‐8829
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Name                  Address1                           Address2              Address3         Address4         City                 State Zip
MARK HAYES            2150 E NORTH UNION RD                                                                      BAY CITY              MI 48706‐9210
MARK HAYES            11996 KENTUCKY HWY 672                                                                     PRINCETON             KY 42445
MARK HAYES
MARK HAYGOOD          5118 SEMINOLE STREET                                                                       DETROIT              MI   48213‐2990
MARK HAZARD           8709 N CHESTNUT AVE                APT 303                                                 KANSAS CITY          MO   64156‐2978
MARK HAZELTON         20421 STATE ROUTE 15 223                                                                   CONTINENTAL          OH   45831
MARK HAZZARD          9766 COURTLAND DR NE                                                                       ROCKFORD             MI   49341‐9776
MARK HEADRICK         1602 THOMAS DR                                                                             HOSCHTON             GA   30548‐3617
MARK HECKER           7492 CORINTH COURT RD                                                                      FARMDALE             OH   44417‐9764
MARK HECKMAN          24512 LEXINGTON AVE                                                                        EASTPOINTE           MI   48021‐1306
MARK HEFFERNAN        2209 W STATE ROUTE 571                                                                     TIPP CITY            OH   45371‐9113
MARK HEFLIN           4744 W 1350 S                                                                              GALVESTON            IN   46932‐8502
MARK HEFNER           3898 FAWN DR                                                                               ROCHESTER            MI   48306‐1031
MARK HEGGAN           136 LODGE HALL RD                                                                          NOLENSVILLE          TN   37135‐7444
MARK HEIKKILA         6741 LANMAN DR                                                                             WATERFORD            MI   48329‐2935
MARK HEIN
MARK HEINEN           3303 N 154TH TER                                                                           BASEHOR              KS   66007‐9515
MARK HEINRICH         2033 AVONSTOKE RD                                                                          ROCHESTER HILLS      MI   48307‐3701
MARK HEINTZ           892 CHATHAM DR                                                                             MILFORD              MI   48381‐2783
MARK HEINY            885 WATERMEAD DR                                                                           NOBLESVILLE          IN   46062‐8690
MARK HEINZ            3654 BOWEN RD                                                                              TOLEDO               OH   43613‐4825
MARK HEINZ            1897 TAMARAK WAY                                                                           ERIE                 CO   80516‐7973
MARK HEIT             886 WHISPERWOOD TRL                                                                        FENTON               MI   48430‐2276
MARK HELLER           4137 HASTINGS NEWVILLE RD                                                                  LUCAS                OH   44843‐9747
MARK HELMBOLDT        1501 HAMPTON DR                                                                            ATLANTA              GA   30350‐3912
MARK HELMLE           22006 TIMBERIDGE ST                                                                        SAINT CLAIR SHORES   MI   48082‐2261
MARK HELWIG           4739 PARKVIEW RD                                                                           WATERFORD            WI   53185‐3351
MARK HENDERSON        PO BOX 82213                                                                               ROCHESTER            MI   48308‐2213
MARK HENDERSON        6718 SALLY CT                                                                              FLINT                MI   48505‐5419
MARK HENDERSON        2640 W COUNTY ROAD 750 N                                                                   ORLEANS              IN   47452‐9774
MARK HENDRY
MARK HENGESBACH       11151 CHARLOTTE HWY                                                                        PORTLAND             MI   48875‐8401
MARK HENKE            163 WESTMORELAND DR                                                                        BULL SHOALS          AR   72619‐4335
MARK HENSLEY          511 BEAR RD                                                                                LAKE PLACID          FL   33852‐9726
MARK HENTHORN         3504 LA MANCHA DR                                                                          JANESVILLE           WI   53546‐1323
MARK HEPPEN           2802 N 350 W                                                                               COLUMBIA CITY        IN   46725‐9192
MARK HERENDEEN        11725 S 400 W                                                                              CONVERSE             IN   46919‐9405
MARK HERMAN           26567 WALLACE DR                                                                           FLAT ROCK            MI   48134‐1873
MARK HERMAN           3132 FISHING FORD RD                                                                       PETERSBURG           TN   37144‐2403
MARK HERMAN           14470 PERE ST                                                                              LIVONIA              MI   48154‐4761
MARK HERMAN           32815 ROSENBUSCH DR                                                                        WARREN               MI   48088‐1572
MARK HERNDON
MARK HERNON           2321 W PARADISE DR                                                                         PHOENIX              AZ   85029‐3426
MARK HERR             3716 RAMADA DR                                                                             HIGHLAND             MI   48356‐1759
MARK HERR             9935 E WAITE RD                                                                            CLINTON              WI   53525‐8763
MARK HERTRICK         10926 BAIRD RD                                                                             AMHERST              OH   44001‐9741
MARK HERZOG           32439 WASHINGTON ST                                                                        LIVONIA              MI   48150‐3715
MARK HESKETT          34229 RICHLAND ST                                                                          LIVONIA              MI   48150‐5617
MARK HETTMANSPERGER   1854 COUNTY ROAD 9                                                                         DELTA                OH   43515‐9442
MARK HEUER            6729 HAZELETT RD                                                                           FORT WAYNE           IN   46835‐9798
MARK HEWGLEY          4507 SASHABAW RD                                                                           WATERFORD            MI   48329‐1963
MARK HEYNIGER         10211 CEDAR ISLAND RD                                                                      WHITE LAKE           MI   48386‐2912
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Name              Address1                       Address2              Address3         Address4         City               State Zip
MARK HICKERSON    9968 COUNTY ROAD 7                                                                     DELTA               OH 43515‐9682
MARK HICKS        18930 HOLBROOK AVE                                                                     EASTPOINTE          MI 48021‐2054
MARK HICKS        7410 DELTA COMMERCE DR                                                                 LANSING             MI 48917‐1060
MARK HIER         4481 MAYER RD                                                                          CHINA               MI 48054‐2310
MARK HIGBEE       13824 S GRANGE RD                                                                      EAGLE               MI 48822‐9766
MARK HIGGINS      6009 KINYON DR                                                                         BRIGHTON            MI 48116‐9579
MARK HILDEN       7461 W MOUNT MORRIS RD                                                                 FLUSHING            MI 48433‐8833
MARK HILL         132 E LAKE CT                                                                          FRANKLIN            TN 37067‐5627
MARK HILL         6079 BELSAY RD                                                                         GRAND BLANC         MI 48439‐9734
MARK HILL         1685 FOUST RD                                                                          XENIA               OH 45385‐7810
MARK HILLS        2663 CENTRAL AVE SW                                                                    WYOMING             MI 49519‐2376
MARK HILSON       26168 RYAN RD APT 203                                                                  WARREN              MI 48091‐1158
MARK HILTY        766 PARK AVE E                                                                         MANSFIELD           OH 44905‐2860
MARK HINANT       1517 NE 4TH ST                                                                         MOORE               OK 73160‐7863
MARK HINKLE       3071 W 915 N DRIVE                                                                     HUNTINGTON          IN 46750
MARK HINMAN       5223 CYPRESS CIR                                                                       GRAND BLANC         MI 48439‐8692
MARK HINTZ JR     1324 PRIMROSE AVE                                                                      TOLEDO              OH 43612‐4026
MARK HINZMANN     1051 AUTUMN LN                                                                         PETOSKEY            MI 49770‐9017
MARK HINZMANN     6755 BALFOUR AVE                                                                       ALLEN PARK          MI 48101‐2305
MARK HIPPLER      21987 CASS ST                                                                          FARMINGTN HLS       MI 48335‐4743
MARK HITCHCOCK    1216 RARIDEN HL                                                                        MITCHELL            IN 47446‐5323
MARK HITCHCOX     525 N PARK ST                                                                          UNION CITY          MI 49094‐1033
MARK HITCHINS     805 SHELMAR LN                                                                         ORTONVILLE          MI 48462‐9783
MARK HIZER        33759 BALMORAL ST                                                                      WESTLAND            MI 48185‐3075
MARK HOCEVAR      14187 BUCKEYE DR                                                                       SHELBY TOWNSHIP     MI 48315‐1436
MARK HODGES       1285 W REID RD                                                                         FLINT               MI 48507‐4640
MARK HOENIG       29577 EQUESTRIAN               #40103                                                  FARMINGTON HILLS    MI 48331
MARK HOERNER      3641 JULIE CT                                                                          N TONAWANDA         NY 14120‐1240
MARK HOESER       1005 BEDFORD DR                                                                        JANESVILLE          WI 53546‐3726
MARK HOFF         7504 SCARLET CT                                                                        FORT WAYNE          IN 46815‐8761
MARK HOFFMAN      11750 UNITY RD                                                                         NEW SPRINGFLD       OH 44443‐9721
MARK HOFFMAN      6296 BROOKINGS DR                                                                      TROY                MI 48098‐1873
MARK HOFFMAN      3801 LAKEVIEW BLVD                                                                     ORCHARD LAKE        MI 48324‐3038
MARK HOFFMAN      1123 ROLLING HILLS DR                                                                  HOWELL              MI 48843‐9531
MARK HOFFMAN      3303 WEIGL RD                                                                          SAGINAW             MI 48609‐9792
MARK HOFFMAN JR   1718 DEEPWOOD CIR                                                                      ROCHESTER           MI 48307‐6098
MARK HOGLAND      1342 BALLYSHANNON PKWY                                                                 ORLANDO             FL 32828‐8688
MARK HOGLE        33626 COLONY PARK DR                                                                   FARMINGTON HILLS    MI 48331‐2730
MARK HOHEISEL     2641 PLUM BROOK DR                                                                     BLOOMFIELD HILLS    MI 48304‐1766
MARK HOHIDER
MARK HOHN         7361 VASSAR RD                                                                         GRAND BLANC        MI   48439‐7406
MARK HOINKA       23365 OUTWOOD ST                                                                       SOUTHFIELD         MI   48033‐3450
MARK HOLDINSKI    26341 PENNIE ST                                                                        DEARBORN HEIGHTS   MI   48125‐1432
MARK HOLDSWORTH   23461 MAJESTIC ST                                                                      OAK PARK           MI   48237‐2219
MARK HOLLAND      1903 COBBLEFIELD WAY                                                                   GLENDORA           CA   91740
MARK HOLLINGER    4425 SEXTON RD                                                                         CLEVELAND          OH   44105‐6007
MARK HOLLIS       10260 SHACH CREEK RD                                                                   EXCLSOR SPRGS      MO   64024‐5353
MARK HOLLOPETER   173 N MERIDIAN RD                                                                      MASON              MI   48854‐9640
MARK HOLLY        9170 WILLIS RD                                                                         WILLIS             MI   48191‐9701
MARK HOLOBAUGH    599 CENTRAL DR                                                                         LAKE ORION         MI   48362‐2310
MARK HOLTON       3259 LYNTZ TOWNLINE RD SW                                                              WARREN             OH   44481‐9282
MARK HOLZ         37994 WEBER RD                                                                         RICHMOND           MI   48062‐3122
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Name                          Address1                               Address2                         Address3                    Address4               City              State Zip
MARK HOLZHAUSEN               10140 SCRIBNER RD                                                                                                          BANCROFT           MI 48414‐9759
MARK HONEYCUTT                10315 N WYANDOTTE ST                                                                                                       KANSAS CITY        MO 64155‐3523
MARK HONEYCUTT ON BEHALF OF   C/O LAW OFFICES OF MICHAEL R BILBREY   8724 PIN OAK ROAD                                                                   EDWARDSVILLE        IL 62025
THOMAS HONEYCUTT              PC
MARK HOOKER                   5626 ALEXANDRIA PIKE                                                                                                       ANDERSON          IN   46012‐9509
MARK HOOTON                   2383 BEVINGTON RD                                                                                                          ROCHESTER HILLS   MI   48309‐2937
MARK HOOVER                   8293 N LINDEN RD                                                                                                           MOUNT MORRIS      MI   48458‐9325
MARK HOPPER                   68 W BEVERLY AVE                                                                                                           PONTIAC           MI   48340‐2616
MARK HORLACHER                7517 N SUGAR CREEK RD                                                                                                      THORNTOWN         IN   46071‐9166
MARK HORN                     165 THISTLE LN                                                                                                             FITZGERALD        GA   31750‐7348
MARK HORN                     3101 ELISABETH ANNE TER                                                                                                    MOORE             OK   73160‐7541
MARK HORNBECK                 3231 WARRINGHAM AVE                                                                                                        WATERFORD         MI   48329‐3165
MARK HORSTMAN                 PO BOX 324                                                                                                                 PERRY             MI   48872‐0324
MARK HORVATH                  1423 KANSAS AVE                                                                                                            WHITE OAK         PA   15131‐1627
MARK HORZELSKI                10385 KEYSBURG COURT                                                                                                       SHREVEPORT        LA   71106‐7462
MARK HOSEA                    2660 PINE LAKE RD                                                                                                          ORCHARD LAKE      MI   48324‐1939
MARK HOSMER                   1005 WESTON ST                                                                                                             LANSING           MI   48917‐4177
MARK HOUGHTON                 7338 E SPICERVILLE HWY                                                                                                     EATON RAPIDS      MI   48827‐9050
MARK HOUSE                    2538 TIFFANY LN                                                                                                            HOLT              MI   48842‐9408
MARK HOUSER                   10000 E 84TH ST                                                                                                            RAYTOWN           MO   64138‐3418
MARK HOVEY                    APT 8                                  2284 MAIN STREET                                                                    HOLT              MI   48842‐1037
MARK HOWARD                   2493 S 625 E                                                                                                               PERU              IN   46970‐7138
MARK HOWARD                   458 S 30TH ST                                                                                                              SAGINAW           MI   48601‐6429
MARK HOWARD                   1000 ECHO BEACH DR                                                                                                         JACKSON           MI   49203‐5832
MARK HOWD                     PO BOX 89                                                                                                                  GAINES            MI   48436‐0089
MARK HOWELL                   3812 THORNBERRY CT                                                                                                         ROCHESTER HILLS   MI   48309‐3597
MARK HU                       8230 CRESTVIEW DR APT 4                                                                                                    STERLING HTS      MI   48312‐6078
MARK HUANG                    2 ELSWICK CT                                                                                                               LAGUNA NIGUEL     CA   92577‐6060
MARK HUBER                    2407 STOCKBRIDGE ST                                                                                                        BURTON            MI   48509‐1124
MARK HUCKENDUBLER             6521 W SAINT JOE HWY                                                                                                       SUNFIELD          MI   48890‐9045
MARK HUDSON                   7119 MOUNT JULIET DR                                                                                                       DAVISON           MI   48423‐2361
MARK HUDSON                   13615 WESTBROOK RD                                                                                                         PLYMOUTH          MI   48170‐2442
MARK HUDSON
MARK HUEBLER                  14540 ASHTON DR                                                                                                            SHELBY TOWNSHIP   MI   48315‐4903
MARK HUFFINE                  6726 S WASHINGTON AVE LOT 138                                                                                              LANSING           MI   48911‐6509
MARK HUFFMAN                  297 PURL ADAMS AVE                                                                                                         CRESTVIEW         FL   32539‐3604
MARK HUGHES                   2649 TAFT AVE                                                                                                              YOUNGSTOWN        OH   44502‐2777
MARK HULTGREN                 2041 FRIENDSHIP LN                                                                                                         CHAPEL HILL       TN   37034‐2501
MARK HUMPHREY                 1113 STANTON ST                                                                                                            BAY CITY          MI   48708‐8653
MARK HUTCHINSON               24500 PINE VILLAGE BLVD                                                                                                    OAK PARK          MI   48237‐1876
MARK HUTSON                   28201 N CLEMENTS CIR                                                                                                       LIVONIA           MI   48150‐3279
MARK HUTTON                   2865 RIVER RIDGE RD                                                                                                        ALGER             MI   48610‐9540
MARK HYDE                     PO BOX 429                                                                                                                 LINDEN            MI   48451‐0429
MARK HYGH                     829 MANOR CT                                                                                                               PLAINFIELD        IN   46168‐1447
MARK HYLAND                   BUREAU OF REMEDIATION AND WASTE        DEPT OF ENVIRONMENTAL            17 STATE HOUSE STATION 28                          AUGUSTA           ME   04333
                              MANAGEMENT                             PROTECTION                       TYSON DRIVE
MARK HYLAND                   BUREAU OF REMEDIATION AND WASTE        DEPT. OF ENVIRONMENTAL           17 STATE HOUSE STATION      28 TYSON DRIVE         AUGUSTA           ME 04333
                              MANAGEME                               PROTECTION
MARK I I I, ARTHUR            G5314 CALKINS RD                                                                                                           FLINT             MI 48532
MARK I LOUNSBURY              PO BOX 773                                                                                                                 EDISON            NJ 08818‐0773
MARK I MOLD/BLOOMFLD          PO BOX 976                             C/O TOM BRIGSTOCK & ASSOCIATES                                                      BLOOMFIELD        MI 48303‐0976
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Name                                  Address1                          Address2                        Address3                     Address4                   City              State Zip
MARK I TRIMBLE                        2328 OME AVE                                                                                                              DAYTON             OH 45414
MARK II/WINDSOR                       1900 PROVINCIAL RD RR1                                                                         WINDSOR ON N9A 6J3
                                                                                                                                     CANADA
MARK III, ARTHUR                      G5314 CALKINS RD                                                                                                          FLINT             MI   48532
MARK INDEK                            1307 CHAPMANS RETREAT DR                                                                                                  SPRING HILL       TN   37174‐7199
MARK INDEK                            3900 MOTORS INDUSTRIAL WAY        MC 621‐390‐100                                                                          DORAVILLE         GA   30360‐3163
MARK ISENHOFF                         14249 17 MILE RD                                                                                                          GOWEN             MI   49326‐9704
MARK IV AIR INTAKE SYSTEM CORP        JEFF GREWE                                                                                                                                  MI   48309
MARK IV AIR INTAKE SYSTEMS PRTNRSHP   1500 RUE DE BOUCHERVILLE                                                                       MONTREAL QC H1N 3V3
                                                                                                                                     CANADA
MARK IV AUTOMOTIVE / DAYCO            3985 W HAMLIN RD                                                                                                          ROCHESTER HILLS   MI 48309‐3233
PRODUCTS LLC
MARK IV HOLDINGS FINANCE SCS          AVENUE JF KENNEDY 46A                                                                          LUXEMBOURG 1855
                                                                                                                                     LUXEMBOURG
MARK IV HOLDINGS SARL
MARK IV HOLDINGS SARL                 1351 STEWART PL                                                                                                           SPRINGDALE        AR 72764‐1364
MARK IV HOLDINGS SARL                 1500 RUE DE BOUCHERVILLE                                                                       MONTREAL QC H1N 3V3
                                                                                                                                     CANADA
MARK IV HOLDINGS SARL                 3985 W HAMLIN RD                                                                                                          ROCHESTER HILLS   MI   48309‐3233
MARK IV HOLDINGS SARL                 1955 ENTERPRISE DR                                                                                                        ROCHESTER HILLS   MI   48309‐3804
MARK IV HOLDINGS SARL                 4445 BARNWELL RD                                                                                                          WILLISTON         SC   29853‐6441
MARK IV HOLDINGS SARL                 ANGELO BRUNO                      PO BOX 453                                                                              WALTERBORO        SC   29488‐0027
MARK IV HOLDINGS SARL                 AVENUE JF KENNEDY 46A                                                                          LUXEMBOURG 1855
                                                                                                                                     LUXEMBOURG
MARK IV HOLDINGS SARL                 EDUARD GOMEZ                      PI TORROELLA DE BAIX C/AMBIKA                                SANT FRUITOS DE BAGE
                                                                                                                                     SPAIN
MARK IV HOLDINGS SARL                 JOHN PAUL                         2300 SOUTH HWY. 265                                          ASQUITH NSW 2077
                                                                                                                                     AUSTRALIA
MARK IV HOLDINGS SARL                 NUMERO 6 ZONE                     D'ACTIVITES DES GRANDS PRES                                  ORBEY FR 68370 FRANCE
MARK IV HOLDINGS SARL                 PI TORROELLA DE BAIX C/AMBIKA 1                                                                SANT FRUITOS DE BAGES
                                                                                                                                     BARCELONA ES 08272
                                                                                                                                     SPAIN
MARK IV HOLDINGS SARL                 RICK ZONCA                        108 WEST STREET/P.O. BOX 500                                                            SOUTH BEND        IN   46624
MARK IV HOLDINGS SARL                 SUSAN BLINKE                      3775 E OUTER DR                                                                         MURRAY            KY   42071
MARK IV INDUSTRIES                    RICK ZONCA                        108 WEST STREET/P.O. BOX 500                                                            SOUTH BEND        IN   46624
MARK IV INDUSTRIES INC                DARLENE GRIFFIN                   3100 SE MARICAMP RD                                                                     OCALA             FL   34471‐6250
MARK IV INDUSTRIES INC                DARLENE GRIFFIN                   3100 MARICAMP RD                                                                        COLMAR            PA   18915
MARK IV INDUSTRIES INC                MARY JOHNSON                      DAYCO FLUID HANDLING BUSINESS   HWY 93 AT 109 GILLESPIE DR                              OXFORD            MI   48371

MARK IV INDUSTRIES INC                1351 STEWART PL                                                                                                           SPRINGDALE        AR   72764‐1364
MARK IV INDUSTRIES INC                3985 W HAMLIN RD                                                                                                          ROCHESTER HILLS   MI   48309‐3233
MARK IV INDUSTRIES INC                4445 BARNWELL RD                                                                                                          WILLISTON         SC   29853‐6441
MARK IV INDUSTRIES, INC.              SUSAN BLINKE                      3775 E OUTER DR                                                                         MURRAY            KY   42071
MARK IV SYSTEMES MOTEURS S A S        MARK IV AUTOMOTIVE                53 RUE BAUDIN                                                LEVALLOIS PERRET F‐92300
                                                                                                                                     FRANCE
MARK IV SYSTEMES MOTEURS SAS          NUMERO 6 ZONE                     D'ACTIVITES DES GRANDS PRES                                  ORBEY FR 68370 FRANCE
MARK IV/ROCHESTER HI                  3985 W HAMLIN RD                                                                                                          ROCHESTER HILLS   MI   48309‐3233
MARK J ALLEN                          PO BOX 714                                                                                                                MONROE            WI   53566‐0714
MARK J BILICKI                        6717 MINNICK RD                                                                                                           LOCKPORT          NY   14094‐9513
MARK J BOEHM                          545 HOLLEY ST                                                                                                             BROCKPORT         NY   14420‐9640
MARK J BRADFORD                       901 CENTER AVE                                                                                                            BAY CITY          MI   48708‐6117
MARK J BREWSTER                       60 HENDIRX RD APT 114B                                                                                                    WEST HENRIETTA    NY   14586‐9202
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Name                   Address1                           Address2              Address3         Address4         City               State Zip
MARK J BUBEL           PO BOX 795                                                                                 BUCHANAN DAM        TX 78609
MARK J BURNARD         1412 PRIMROSE AVE                                                                          TOLEDO              OH 43612‐4027
MARK J BURTON          2164 QUINLIVAN RD                                                                          MCCOMB              MS 39648‐9568
MARK J CAPAN           1350 STERLING DR                                                                           CORTLAND            OH 44410‐9222
MARK J CASTO           17 FRANZONE DR                                                                             BRADFORD            MA 01835
MARK J CIRIELLO        5797 S RIDGEWOOD AVE                                                                       PORT ORANGE         FL 32127‐6441
MARK J DINOTO          41 WINANS ST                                                                               ROCHESTER           NY 14612‐5435
MARK J DORITY JR       PO BOX 95                                                                                  APULIA STA          NY 13020‐0095
MARK J EDICK           1216 WESTMORELAND AVE                                                                      LANSING             MI 48915‐2105
MARK J FIORINO         459 WHITE SPRUCE DR                                                                        MACEDONIA           OH 44056
MARK J FRECKMAN        933 WESTON COURT                                                                           VANDALIA            OH 45377
MARK J GUARENTE        408 BOSTON RD                                                                              SYRACUSE            NY 13211‐1514
MARK J HART            6416 RATLIFF RD                                                                            CAMBY               IN 46113‐9446
MARK J HARTZLER        105 VIKING DR                                                                              EATON               OH 45320
MARK J HAWRYLO         5542 GINA DR                                                                               SWARTZ CREEK        MI 48473‐8829
MARK J HELSEL IV       1502 PRIMROSE AVE                                                                          TOLEDO              OH 43612‐4029
MARK J HIER            4481 MAYER RD                                                                              CHINA               MI 48054‐2310
MARK J JAGNER          9629 BAYVIEW DR APT 306                                                                    YPSILANTI           MI 48197‐7031
MARK J JAREMA          1769 KINGSBURY DR                                                                          LAPEER              MI 48446‐9794
MARK J JORDAN          718 MATTY AVE                                                                              SYRACUSE            NY 13211‐1310
MARK J KOEHLER         20 TRACIANN DR                                                                             HAMLIN              NY 14464
MARK J LEFAN           549 DEER TRACK RD                                                                          WEATHERFORD         TX 76085‐3849
MARK J LORD            2001 HARBINS RD                                                                            DACULA              GA 30019‐1841
MARK J MANN            6231 N CANTON CENTER RD STE 103                                                            CANTON              MI 48187‐2692
MARK J MARCELLO        195 N GREECE RD                                                                            HILTON              NY 14468‐8902
MARK J MASLUK          2401 SW LAMB AVE                                                                           PORT SAINT LUCIE    FL 34953
MARK J MCGAW           10305 S RAUCHOLZ RD                                                                        SAINT CHARLES       MI 48655‐9522
MARK J MEEKER
MARK J MONTANARI       306 SCHOLFIELD RD                                                                          ROCHESTER          NY   14617‐4737
MARK J MURLIN          1190 HEATHSHIRE DR                                                                         CENTERVILLE        OH   45459
MARK J PRIEBE          615 VERMONT ST                                                                             SAGINAW            MI   48602‐1373
MARK J PROWTEN         8461 BYERS ST                                                                              DOWNEY             CA   90242‐2511
MARK J RANIEWICZ       29 HUTTON CIR                                                                              CHURCHVILLE        NY   14428
MARK J REIGELSPERGER   6413 CARUSO COURT                                                                          DAYTON             OH   45449‐3329
MARK J RHOADS          7165 BEVIL AVE.                                                                            COCO               FL   32927
MARK J RICE            5972 MILLSHIRE DR APT 1C                                                                   KETTERING          OH   45440‐4145
MARK J RICHARD         128 E 6TH ST 23                                                                            COVINGTON          KY   41011
MARK J RIOTTO          62 HERITAGE WOODS CT                                                                       ROCHESTER          NY   14615‐1024
MARK J ROBINSON        301 DEERFIELD DR                                                                           NEW CARLISLE       OH   45344
MARK J ROSSNEY         4 CUTTER DR                                                                                ROCHESTER          NY   14624‐4413
MARK J SCHERZER        18511 W BURT RD                                                                            BRANT              MI   48614‐9719
MARK J SCHERZER        12385 FOWLER RD                                                                            BRANT              MI   48614
MARK J STEINER         10350 BALD HILL ST                                                                         THREE RIVERS       MI   49093‐9401
MARK J STEWART         626 WALTON AVE                                                                             DAYTON             OH   45417
MARK J STRICKLING      115 OREGON RD N                                                                            LEHIGH ACRES       FL   33936‐6115
MARK J SYPER           39295 PLYMOUTH RD                                                                          LIVONIA            MI   48150‐1056
MARK J TELDER          9909 N DIVISION AVE                                                                        SPARTA             MI   49345‐9456
MARK J THARP           1693 BENTON RD                                                                             CHARLOTTE          MI   48813‐9796
MARK J THORNTON        555 SCRANTON ST.                                                                           DAYTON             OH   45404
MARK J TURPIN          3354 WALTHAM AVE                                                                           KETTERING          OH   45429‐3530
MARK J WEST            4810 OLD HICKORY PL                                                                        TROTWOOD           OH   45426
MARK J. COLRUD
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Name               Address1                        Address2                  Address3     Address4         City                State Zip
MARK J. TIERNEY
MARK JACKSON
MARK JACKSON       1542 E FOREST AVE                                                                       YPSILANTI           MI    48198‐4117
MARK JACKSON       6827 JOHN ST                                                                            FORT WAYNE          IN    46816‐1960
MARK JACKSON       4440 STONEVIEW                                                                          W BLOOMFIELD        MI    48322‐3497
MARK JACKSON       434 CORRAL PATH                                                                         LANSING             MI    48917‐2726
MARK JACKSON       PO BOX 483                                                                              SWEETSER            IN    46987‐0483
MARK JACKSON       6965 S CONI RD                                                                          MARION              IN    46953‐6320
MARK JACKSON       9790 WILLOW RD                                                                          WILLIS              MI    48191‐9727
MARK JACKSON       23962 MILL RD                                                                           GEORGETOWN          IL    61846‐6230
MARK JACOBS        1198 N STINE RD                                                                         CHARLOTTE           MI    48813‐8876
MARK JACOBS        10080 N PALMYRA RD                                                                      NORTH JACKSON       OH    44451‐9793
MARK JACOBS        20060 167TH ST                                                                          BASEHOR             KS    66007‐5179
MARK JACOBS        304 RAYMOND ST                                                                          BAY CITY            MI    48706‐4375
MARK JACOBSON      618 CORNELIA ST                                                                         JANESVILLE          WI    53545‐2418
MARK JAGELS        5175 SKYLITE LN                                                                         SHELBY TWP          MI    48316
MARK JAKSIM        831 DEVONSHIRE BLVD                                                                     BRIGHTON            MI    48116‐1705
MARK JAKUBOWSKI    14581 GRANDE CAY CIR APT 3305                                                           FORT MYERS          FL    33908‐7992
MARK JAMESON       2322 ROLLINS ST                                                                         GRAND BLANC         MI    48439‐4351
MARK JAMIESON      4719 SMITH STEWART RD                                                                   VIENNA              OH    44473‐9621
MARK JANISSE       649 BUCKINGHAM RD                                                                       CANTON              MI    48188‐1518
MARK JANKER        6754 OMPHALIUS RD                                                                       COLDEN              NY    14033‐9764
MARK JANKOVIAK     6365 BISHOP RD                                                                          LANSING             MI    48911‐6212
MARK JANKOVIC      1019 DURANT ST                                                                          LANSING             MI    48915‐1443
MARK JANKOWSKI     3038 RIVERSHYRE PKWY                                                                    DAVISON             MI    48423‐8623
MARK JANOSE        4100 20 MILE RD                                                                         KENT CITY           MI    49330‐9753
MARK JANOUSEK      17521 V DR N                                                                            OLIVET              MI    49076‐9504
MARK JAREMA        1310 AVALON AVE                                                                         SAGINAW             MI    48638‐4730
MARK JAREMA        1769 KINGSBURY DR                                                                       LAPEER              MI    48446‐9794
MARK JAREMKO       15113 PARALLEL RD                                                                       BASEHOR             KS    66007‐3012
MARK JARRETT       9153 WOODRIDGE DR                                                                       DAVISON             MI    48423‐8392
MARK JASKI         2056 LAURELWOOD ST                                                                      DEFIANCE            OH    43512‐3418
MARK JASON         174 PARKER LAKE DR                                                                      OXFORD              MI    48371‐5245
MARK JAVORSKY      1763 CHERRY LN                                                                          HUBBARD             OH    44425‐3013
MARK JEFFERY       6845 DONALDSON DR                                                                       TROY                MI    48085‐1555
MARK JEFFERY       8459 SPRINGPORT RD                                                                      EATON RAPIDS        MI    48827‐9568
MARK JEGERLEHNER   10413 THATCHER CT                                                                       FORT WAYNE          IN    46845‐1092
MARK JENKINS       4508 PIPESTONE CT                                                                       NAPERVILLE          IL    60564‐4351
MARK JENSEN        3303 MILTON CT                                                                          THOMPSONS STATION   TN    37179‐5067
MARK JENUWINE      18880 27 MILE RD                                                                        RAY                 MI    48096‐3623
MARK JESSUP        907 CONGRESSIONAL WAY                                                                   SHELBYVILLE         IN    46176‐8815
MARK JETZKE        53400 ROMEO PLANK RD                                                                    MACOMB              MI    48042‐2978
MARK JEZIORO       6 PINE VIEW LN                                                                          LANCASTER           NY    14086‐1150
MARK JOHNS         2194 MARTHA HULBERT DR                                                                  LAPEER              MI    48446‐8044
MARK JOHNSEN       9138 LYNISS DR                                                                          COMMERCE TOWNSHIP   MI    48390‐1735
MARK JOHNSON       4248 MARINER LN                                                                         OKEMOS              MI    48864‐3495
MARK JOHNSON       2670 SHADOW LAKE DR                                                                     LAKE ORION          MI    48360‐2703
MARK JOHNSON       1049 MISTY MORN CIRCLE                                                                  SPRING HILL         TN    37174‐7404
MARK JOHNSON       2339 CEDAR KEY DR                                                                       LAKE ORION          MI    48360‐1821
MARK JOHNSON       PO BOX 9022                     C/O ADAM OPEL‐IPC R2‐08                                 WARREN              MI    48090‐9022
MARK JOHNSON       2586 HORSTMEYER RD                                                                      LANSING             MI    48911‐8427
MARK JOHNSON       2445 LYNTZ TOWNLINE RD SW                                                               WARREN              OH    44481‐9760
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Name                                Address1                        Address2                         Address3   Address4         City              State Zip
MARK JOHNSON                        1353 LANDRETH HOLLOW RD                                                                      ORLEANS            IN 47452‐7012
MARK JOHNSON                        1121 CLAIRE DR                                                                               SPRING HILL        TN 37174‐7350
MARK JOHNSON                        6955 HONEY CREEK LN                                                                          SHREVEPORT         LA 71107‐8618
MARK JOHNSON                        323 SWALLOWTAIL CT                                                                           GRAND PRAIRIE      TX 75052‐4862
MARK JOHNSON                        3835 W HOLMES RD                                                                             LANSING            MI 48911‐2106
MARK JOHNSON                        9695 N COUNTY ROAD 500 E                                                                     BRAZIL             IN 47834‐7647
MARK JOHNSON                        3605 BRUNSWICK AVE                                                                           FLINT              MI 48507‐1744
MARK JOHNSON                        207 SOUTH ST                                                                                 WESTVILLE           IL 61883‐1529
MARK JOHNSON                        4302 WESTERN RD LOT 71                                                                       FLINT              MI 48506‐1885
MARK JOHNSON                        607 S MAIN ST                                                                                GEORGETOWN          IL 61846‐1931
MARK JOHNSON                        13252 HENDERSON RD                                                                           OTISVILLE          MI 48463‐9719
MARK JOHNSON                        1636 SPRING VIEW CT                                                                          SPARKS             NV 89436‐3633
MARK JOHNSON                        C/O BRAYTON PURCELL             222 RUSH LANDING RD                                          NOVATO             CA 94948‐6169
MARK JOHNSON                        200 PIN OAK CT                                                                               SPRING HILL        TN 37174‐2593
MARK JOHNSTON                       3925 CHEVRON DR                                                                              HIGHLAND           MI 48356‐1721
MARK JOLEY                          95 HEMPSTEAD RD                                                                              TRENTON            NJ 08610‐2032
MARK JOLLY                          3024 E STROOP RD                                                                             KETTERING          OH 45440‐1336
MARK JONCKHEERE                     3192 N CEDAR RD                                                                              FOWLERVILLE        MI 48836‐9232
MARK JONES                          19750 RAYMOND RD                                                                             MARYSVILLE         OH 43040‐9208
MARK JONES                          112 SEASCAPE DR                 UNIT 703                                                     MIRAMAR BEACH      FL 32550‐8617
MARK JONES                          1065 E ALMA AVE                                                                              FLINT              MI 48505‐2227
MARK JONES                          16071 WATERTOWN PKWY                                                                         LANSING            MI 48906‐9395
MARK JONES                          2046 N 1000 E                                                                                WHITESTOWN         IN 46075‐9325
MARK JONES                          123 S BEECH ST                                                                               FLUSHING           MI 48433‐2001
MARK JONES                          645 KENTUCKY DR                                                                              ROCHESTER HILLS    MI 48307‐3737
MARK JONES                          108 BROOKHAVEN DR                                                                            COLUMBIA           TN 38401‐8876
MARK JONES                          2217 ROBERT FULTON HWY                                                                       PEACH BOTTOM       PA 17563‐9607
MARK JONES                          217 W MEADOW RD                                                                              BALTIMORE          MD 21225‐2644
MARK JONES                          139 WINTHROP DR                                                                              ELYRIA             OH 44035‐1432
MARK JONES                          JACKSON COUNTY COURTHOUSE       415 E. 12TH STREET, 2ND FLOOR.                               KANSAS CITY        MO 64106
MARK JONES                          701 S 28TH ST                                                                                ELWOOD             IN 46036‐2668
MARK JONES                          11816 DAVISBURG RD                                                                           DAVISBURG          MI 48350‐2628
MARK JONES                          6431 PINE MEADOWS LN                                                                         FORT WAYNE         IN 46835‐3824
MARK JORDAN                         3558 FLAJOLE RD                                                                              RHODES             MI 48652‐9508
MARK JOSEPH BEIRL                   220 E FALCON HILL WAY                                                                        GREEN BAY          WI 54302
MARK JOSS                           42767 LEDGEVIEW DR                                                                           NOVI               MI 48377‐2710
MARK JOY                            22538 W 72ND ST                                                                              SHAWNEE            KS 66227‐2637
MARK JUDAH                          15 MAPLE RUN CT                                                                              SPRINGVILLE        IN 47462‐5470
MARK JUDD                           1970 E ASHBROOK DR                                                                           OWOSSO             MI 48867‐8740
MARK JUHL AUTO SPORTS AND SERVICE   1700 N MINNESOTA AVE                                                                         SIOUX FALLS        SD 57104‐0348
CENTER
MARK JULIANI                        8 MEADOWCREST DR                                                                             CECIL             PA   15321
MARK JUNGIER                        726 RUIE RD                                                                                  NORTH TONAWANDA   NY   14120‐1745
MARK JURACEK                        10627 MCMASTER CT                                                                            FENTON            MI   48430‐9534
MARK K CARPENTER                    13750 SABLESPRINGS LN 211                                                                    HOUSTON           TX   77014
MARK K DAVIS                        16174 FERGUSON ST                                                                            DETROIT           MI   48235‐3439
MARK K FLUKE                        2500 BLIESENER ST                                                                            LANSING           MI   48911‐4534
MARK K JOHNSON                      9695 N COUNTY ROAD 500 E                                                                     BRAZIL            IN   47834‐7647
MARK K MURRAY                       509 CAIRNVIEW DR                                                                             FRANKLIN          TN   37064‐6161
MARK K RAYBURN                      8305 FOREST COVE DR                                                                          SHREVEPORT        LA   71107‐9264
MARK K WARNER                       2809 WINTON DR                                                                               KETTERING         OH   45419
MARK KAFFENBERGER                   89 CRAWFORD ST APT 1A                                                                        OXFORD            MI   48371
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Name              Address1                        Address2              Address3         Address4         City                  State Zip
MARK KAHLER       2555 LISA DR                                                                            COLUMBIAVILLE          MI 48421‐8910
MARK KAISER       2243 NORTHWOODS DR                                                                      MURFREESBORO           TN 37130‐1100
MARK KALAMETS     7800 W MIDDLETOWN RD                                                                    SALEM                  OH 44460‐8219
MARK KALISH       7937 RT. 45 N.W.                                                                        NORTH BLOOMFIELD       OH 44450
MARK KANE         918 N FOREST LN                                                                         LIBERTY                MO 64068‐3357
MARK KANE
MARK KANNY        5010 MALLARDS LNDG                                                                      HIGHLAND              MI   48357‐2150
MARK KANUCH       44635 KIPTON NICKLE PLATE                                                               OBERLIN               OH   44074‐9520
MARK KAPELL       3880 WESTPORT DR                                                                        NEW HAVEN             IN   46774‐1177
MARK KAPKA        3255 HERRINGTON DR                                                                      SAGINAW               MI   48603‐2037
MARK KARNEY       1218 LAKEVIEW DR                                                                        ROCHESTER HILLS       MI   48306‐4585
MARK KARWAS       2381 LAKE ANGELUS LN                                                                    LAKE ANGELUS          MI   48326‐1009
MARK KARWAT       9747 TRUAX RD                                                                           VASSAR                MI   48768‐9466
MARK KASKI        4026 AUBURN DR                                                                          ROYAL OAK             MI   48073‐6337
MARK KAST         2851 MOORE RD                                                                           ADRIAN                MI   49221‐9516
MARK KASTLE       4343 BULLARD RD                                                                         HARTLAND              MI   48353‐1306
MARK KASZOWSKI    414 TIMBERLAKE TRL                                                                      FORT WAYNE            IN   46804‐5942
MARK KATIC JR     1520 PURYEAR PL                                                                         BRENTWOOD             TN   37027‐7028
MARK KATYNSKI     8221 BURPEE RD                                                                          GRAND BLANC           MI   48439‐7419
MARK KAYLOR
MARK KAYSER       4505 POLARIS DR                                                                         CHAPEL HILL           TN   37034‐2463
MARK KECK         9041 COLEMAN RD                                                                         HASLETT               MI   48840‐9334
MARK KEEGAN       5114 SYCAMORE DR                                                                        MISSION               KS   66205‐2179
MARK KEHR         2705 WEIGL RD                                                                           SAGINAW               MI   48609‐7083
MARK KELLAM       6351 MAIN RD                                                                            LOCKPORT              NY   14094‐9208
MARK KELLER       14165 ADAMS AVE                                                                         WARREN                MI   48088‐5706
MARK KELLER       9330 WILLIAMS RD                                                                        DEWITT                MI   48820‐9777
MARK KELLER       2116 LIMA SANDUSKY RD                                                                   SANDUSKY              OH   44870‐9730
MARK KELLER       7213 KESSLING ST                                                                        DAVISON               MI   48423‐2447
MARK KELLER       102 QUEENS DR                                                                           GRAND ISLAND          NY   14072‐3201
MARK KELLEY       1909 E MEMORIAL DR                                                                      JANESVILLE            WI   53545‐1915
MARK KELLEY       9769 DOWNING RD                                                                         BIRCH RUN             MI   48415‐9211
MARK KELLNER      105 COTTONWOOD CIR                                                                      FRANKLIN              TN   37069‐4147
MARK KELLOGG      4500 DUBLIN AVE                                                                         MIDLAND               MI   48642‐7301
MARK KELLY        1915 FAIRMONT ST                                                                        LANSING               MI   48911‐7122
MARK KEMMER       9463 LAPSTRAKE LN                                                                       BURKE                 VA   22015‐4223
MARK KEMPTHORNE   1627 ELM ST                                                                             OTSEGO                MI   49078‐9314
MARK KENNEDY      9491 LINDEN RD                                                                          SWARTZ CREEK          MI   48473‐9143
MARK KENNEDY      68 W MARKLE RD                                                                          HUNTINGTON            IN   46750‐9362
MARK KENNICOTT    6755 RESERVE DR                                                                         WHITMORE LAKE         MI   48189‐8142
MARK KENT         1619 LOCHMOOR BLVD                                                                      GROSSE POINTE WOODS   MI   48236‐4014
MARK KENT         8200 HAYES HOLLOW RD                                                                    COLDEN                NY   14033‐9749
MARK KENWORTHY    212 WASHINGTON ST                                                                       HOLLY                 MI   48442‐1661
MARK KERN         571 SOUTHRIDGE DR                                                                       BEDFORD               IN   47421‐9262
MARK KERRIDGE     6507 MCCARTY RD                                                                         SAGINAW               MI   48603‐9621
MARK KESTING      783 91ST AVENUE NORTH                                                                   ST PETERSBURG         FL   33702‐3029
MARK KETCHUM      PO BOX 641                                                                              HOLT                  MI   48842‐0641
MARK KETTNER      609 WESTBOURNE DR                                                                       BLOOMFIELD            MI   48301‐3454
MARK KEVNICK      3636 GREEN MEADOW LN                                                                    LAKE ORION            MI   48359‐1492
MARK KEYES        1205 DUFFIELD RD                                                                        FLUSHING              MI   48433‐9707
MARK KEYSER       26 SOUTH AVE                                                                            BLOOMFIELD            NY   14469‐9372
MARK KIDD         235 PINEBLUFF DR E                                                                      METAMORA              MI   48455‐8507
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Name                   Address1                         Address2                Address3      Address4         City               State Zip
MARK KIELISZEWSKI      613 KENTWOOD CT                                                                         LAKE ORION          MI 48362‐2153
MARK KIERSTEAD         185 N GINA AVE                                                                          EL CAJON            CA 92019
MARK KIM               1208 HENDRICKSON BLVD                                                                   CLAWSON             MI 48017‐2309
MARK KINAITIS          7839 E BELLEVUE HWY                                                                     EATON RAPIDS        MI 48827‐8509
MARK KINCANNON         3485 IROQUOIS ST                                                                        DETROIT             MI 48214‐1839
MARK KINCART           72 ROUNDTREE RD                                                                         GUNNISON            CO 81230‐4123
MARK KINCART           20133 E. KIWO, MAYER, AZ                                                                MAYER               AZ
MARK KING              2624 QUEEN PALM DR                                                                      EDGEWATER           FL 32141‐5304
MARK KING              1017 ADAMS ST                                                                           OWOSSO              MI 48867‐1650
MARK KINNISON          15943 STATE ROUTE 278 NE                                                                NELSONVILLE         OH 45764‐9608
MARK KIRBY             3945 FEHN RD                                                                            HEMLOCK             MI 48626‐9672
MARK KIRBY             4381 COLUMBINE AVE                                                                      BURTON              MI 48529‐2168
MARK KIRK              2411 HOUGHTON HOLLOW DR                                                                 LANSING             MI 48911‐8417
MARK KIRKELIE          3637 STONECREEK DR                                                                      SPRING HILL         TN 37174‐2198
MARK KIRKEY            6940 MILLS HWY                                                                          EATON RAPIDS        MI 48827‐9057
MARK KISER             1712 SPANGENBURG RD                                                                     JACKSON             OH 45640‐9626
MARK KITTEL            2436 MIDDLECROFT DR                                                                     BURTON              MI 48509‐2604
MARK KLAVON            40965 WESTFIELD CIR                                                                     CANTON              MI 48188‐3198
MARK KLEIN             12423 FLEET CT                                                                          STERLING HEIGHTS    MI 48312‐3140
MARK KLEIN             4116 BARTON RD                                                                          LANSING             MI 48917
MARK KLEIN             8117 BEECHER RD                                                                         FLUSHING            MI 48433‐9424
MARK KLENK             1053 FOUNTAIN VIEW LN                                                                   OXFORD              MI 48371‐3699
MARK KLEPACZ           2505 GINGHAMSBURG FREDERICK RD                                                          TIPP CITY           OH 45371‐8991
MARK KLINE             2517 LOST CREEK DR                                                                      FLUSHING            MI 48433‐9437
MARK KLINGENSMITH      11351 PERSHING DR                                                                       N HUNTINGDON        PA 15642‐2334
MARK KLOPF             802 MAPLETREE LN                                                                        FENTON              MI 48430‐4200
MARK KLUGE             29145 CAMBRIDGE ST                                                                      FLAT ROCK           MI 48134‐1465
MARK KLUMPP            8353 CAROLE LN                                                                          FENTON              MI 48430‐9506
MARK KNIGHT            7287 COTTAGE DR                                                                         BELLAIRE            MI 49615‐9226
MARK KNUPP             3501 DENVER AVE                                                                         YOUNGSTOWN          OH 44505‐1919
MARK KOCH              419 HILLS CREEK RD                                                                      BROOKFIELD          OH 44403‐8602
MARK KOCH              815 WESTMORELAND AVE                                                                    LANSING             MI 48915‐2024
MARK KOCUREK           6272 OLD DAM RD                                                                         GEORGETOWN           IL 61846‐6082
MARK KOECHLEY          1831 BRUSSELS ST                                                                        TOLEDO              OH 43613‐4631
MARK KOERNER
MARK KOESTER           1001 UNION AVE                                                                          UNION              MO   63084‐1239
MARK KOLAT             5202 W WEBB RD                                                                          AUSTINTOWN         OH   44515‐1131
MARK KONOPNICKI        125 ALBERTSON ST                                                                        ROCHESTER          MI   48307‐1408
MARK KOONMEN & ASSOC   ATTN: BECKY SHELLEY              1122 S LINDEN RD # 12                                  FLINT              MI   48532‐3437
MARK KORICH            5658 SORREL HILLS AVE                                                                   CHINO HILLS        CA   91709‐7919
MARK KORKUS            PO BOX 328                                                                              BOYNE CITY         MI   49712‐0328
MARK KORNACK           30349 PINTO DR                                                                          WARREN             MI   48093‐5021
MARK KORNAS            8354 SHERWOOD DR                                                                        GRAND BLANC        MI   48439‐8391
MARK KOSIBA            1824 MAPLEVIEW ST SE                                                                    KENTWOOD           MI   49508‐4961
MARK KOSKI             2039 VALLEY VISTA DR                                                                    DAVISON            MI   48423‐8335
MARK KOSOWSKI          92 GROSSE PINES DR                                                                      ROCHESTER HILLS    MI   48309‐1828
MARK KOSS              15500 BORDMAN RD                                                                        ARMADA             MI   48005‐1030
MARK KOSTER            2950 EARLE AVE SW                                                                       GRANDVILLE         MI   49418‐1470
MARK KOTCH             933 BEAVER ST                                                                           BRISTOL            PA   19007‐3229
MARK KOTH              349 OAK HAVEN DR                                                                        LEXINGTON          SC   29072‐7578
MARK KOTZIAN           712 W 2ND ST                                                                            DAVISON            MI   48423‐1370
MARK KOWALSKI          3254 STUMPWOOD                                                                          COMMERCE TWP       MI   48382‐1456
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Name                         Address1                         Address2                     Address3   Address4         City               State Zip
MARK KOWALSKY                11305 CRESSKILL CT                                                                        FORT WAYNE          IN 46845‐2008
MARK KOWATCH                 1722 COVINGTON WOODS LN                                                                   LAKE ORION          MI 48360‐1215
MARK KRALLMAN                4544 N 622 W                                                                              HUNTINGTON          IN 46750‐8920
MARK KRAMARCZYK              14560 FOUR LAKES DR                                                                       STERLING HEIGHTS    MI 48313‐2351
MARK KRAMER                  9018 E LIPPINCOTT BLVD                                                                    DAVISON             MI 48423‐8302
MARK KRAMER                  30014 BAYVIEW DR                                                                          GIBRALTAR           MI 48173‐9504
MARK KRAMER                  PO BOX 242                                                                                FOWLER              MI 48835‐0242
MARK KREBS                   W6634 FRANKLIN RD                                                                         MONROE              WI 53566‐9774
MARK KROGER                  49474 BEMIS RD                                                                            BELLEVILLE          MI 48111‐9766
MARK KRUEGER                 9908 ROUGET RD                                                                            BLISSFIELD          MI 49228‐9608
MARK KRUEGER                 617 E SOUTH HOLLY RD                                                                      FENTON              MI 48430‐2331
MARK KRUG                    524 GABRIEL ST                                                                            VANDALIA            OH 45377‐1837
MARK KRUMANAKER              7474 W MAPLE GROVE RD                                                                     HUNTINGTON          IN 46750‐8996
MARK KRUMM II                21472 SUNNYVIEW ST                                                                        CLINTON TWP         MI 48035‐2784
MARK KRYGROWSKI              6174 N SEYMOUR RD                                                                         FLUSHING            MI 48433‐1006
MARK KRYNSKI                 38524 CAPETOWN CT                                                                         CLINTON TWP         MI 48038‐3408
MARK KUBACKI                 415 W ALMEDA BEACH RD                                                                     PINCONNING          MI 48650‐8984
MARK KUBERSKI                3201 DROSTE RD                                                                            SAINT CHARLES       MO 63301‐1110
MARK KUCHARCZYK              10465 BORGMAN AVE                                                                         BELLEVILLE          MI 48111‐1210
MARK KUDWA                   4720 ORCHARD MANOR BLVD APT 11                                                            BAY CITY            MI 48706‐2827
MARK KUESTER
MARK KULIKAMP                5007 W 95TH ST                                                                            FREMONT            MI   49412‐8219
MARK KULIKOWSKI              1610 CRESTLINE LN                                                                         ROCHESTER HILLS    MI   48307‐3412
MARK KUNAR                   BEVAN & ASSOCIATES               6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS     OH   44236
MARK KUNDRICK                2060 DUNWOODIE ST                                                                         ORTONVILLE         MI   48462‐8556
MARK KUNKLE                  203 PARKGATE AVE                                                                          AUSTINTOWN         OH   44515‐3241
MARK KUSCHINSKY              11 CENTER WOODS DR S                                                                      SAGINAW            MI   48638‐5868
MARK L & TERESA L LIGHTNER   2171 GALE DR                                                                              HARRISBURG         PA   17110
MARK L BOLEY                 108 NORTON DR.                                                                            VIENNA             OH   44473‐9515
MARK L CALABRIA              400 E MOLLOY RD                                                                           SYRACUSE           NY   13211‐1642
MARK L DEBAEKE               11712 AMEL                                                                                WARREN             MI   48093‐3094
MARK L DELCORVO              20 DEEPWOOD DRIVE                                                                         ROCHESTER          NY   14606‐3660
MARK L DUNAWAY               628 ROCKHILL AVE                                                                          KETTERING          OH   45429
MARK L FARNELL               129 NICK A MOO ST                                                                         MOUNT IDA          AR   71957
MARK L HUEY                  7263 STATE ROUTE 48                                                                       SPRINGBORO         OH   45066
MARK L HUFFMAN               6029 HAMILTON RD                                                                          LEBANON            OH   45036
MARK L JANOSE                4100 20 MILE RD                                                                           KENT CITY          MI   49330‐9753
MARK L LAZUR                 109 HOMERIDGE LANE                                                                        MUNHALL            PA   15120
MARK L LENTINE               5425 RIDGE RD W 7                                                                         SPENCERPORT        NY   14559
MARK L MAYNARD               16562 KENMORE RD                                                                          KENDALL            NY   14476‐9611
MARK L MILLER                35 QUAIL RUN LN                                                                           LANCASTER          NY   14086‐1444
MARK L PURCHIARONI           1114 SILVER CREEK CT                                                                      ROCHESTERHILLS     MI   48306
MARK L REYNOLDS              234 PYLE RD                                                                               CLARKSVILLE        OH   45113‐9202
MARK L SHADE                 10070 MALLETT DRIVE                                                                       SPRG VALLEY        OH   45370
MARK L SHEPPARD              24 W STRATHMORE AVE                                                                       PONTIAC            MI   48340‐2770
MARK L SOWDERS               536 GONDERT AVENUE                                                                        DAYTON             OH   45403‐3009
MARK L SUTKAY                910 N MCLELLAN ST                                                                         BAY CITY           MI   48708‐6167
MARK L WAMSER                264 CHIMNEY HILL ROAD                                                                     ROCHESTER          NY   14612‐1626
MARK L. DELMONTE             1410 PINE AVE                                                                             NIAGARA FALLS      NY   14301‐1922
MARK LA BODA                 208 LINCOLN AVE                                                                           MONROE             MI   48162‐2607
MARK LAACK                   7507 W CALEDONIA RD                                                                       EDGERTON           WI   53534‐9735
MARK LABAERE                 77280 OAK CREEK LN                                                                        BRUCE TWP          MI   48065‐2128
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Name             Address1                       Address2                   Address3             Address4           City             State Zip
MARK LACHANCE    2105 SWARTHOUT RD                                                                                 PINCKNEY          MI 48169‐9210
MARK LACKNEY     4058 BRISTOLWOOD DR                                                                               FLINT             MI 48507‐5533
MARK LACKNEY     4361 SULGRAVE DR                                                                                  SWARTZ CREEK      MI 48473‐8277
MARK LACOMB      PO BOX 152                                                                                        BRAINARDSVILLE    NY 12915‐0152
MARK LAFERNEY    684 MORNINGSIDE DR                                                                                GRAND BLANC       MI 48439‐2312
MARK LAFORET     3110 WHITE OAKS DR                                                                                LANSING           MI 48906‐9052
MARK LAISURE     1492 N WAGNER RD                                                                                  ESSEXVILLE        MI 48732‐9698
MARK LAMB        3100 SHERWOOD DR                                                                                  KOKOMO            IN 46902‐4597
MARK LAMB        6332 WEIDNER RD                                                                                   SPRINGBORO        OH 45066‐7475
MARK LAMB        1100 POWELL VIEW DR                                                                               DEFIANCE          OH 43512‐3033
MARK LAMBERT     212 OLD CARRIAGE DR                                                                               ENGLEWOOD         OH 45322‐1169
MARK LAMPERT     13505 STATE ROUTE 15                                                                              DEFIANCE          OH 43512‐8819
MARK LANDIS      11082 E COUNTY ROAD 750 N                                                                         BROWNSBURG        IN 46112‐9683
MARK LANEVE      47610 BELLAGIO DR                                                                                 NORTHVILLE        MI 48167‐9801
MARK LANEY       5165 DELAND RD                                                                                    FLUSHING          MI 48433‐1125
MARK LANGE
MARK LANGHALS    1891 SEMINOLE HARBOR DR                                                                           ALVA             FL   33920‐3519
MARK LANNING     5806 MOTHERS WAY                                                                                  ORTONVILLE       MI   48462‐9527
MARK LAPINE      240 WOODLAWN DR                                                                                   SAINT CHARLES    MI   48655‐1018
MARK LAPORTE     292 RED OAK TRL                                                                                   SPRING HILL      TN   37174‐7504
MARK LAPRAIRIE   544 KIMBERLY APT 301                                                                              LAKE ORION       MI   48362‐2936
MARK LARIVIERE   18242 HUNTLEY AVE                                                                                 BROWNSTOWN       MI   48193‐8230
MARK LARNER      3861 12 MILE RD                                                                                   REMUS            MI   49340‐9132
MARK LAROSE      2251 E MAPLE AVE                                                                                  BURTON           MI   48529‐2150
MARK LARSEN      304 FREEDOM DR                                                                                    FRANKLIN         TN   37067‐5650
MARK LARSON      108 VALLEY RIDGE RD                                                                               FRANKLIN         TN   37064‐5260
MARK LASKOSKY    21321 N DIXBORO RD                                                                                SOUTH LYON       MI   48178‐9131
MARK LASKOWSKI   10434 DENTON HILL RD                                                                              FENTON           MI   48430‐2512
MARK LATHAM      2170 PLAINVIEW DR                                                                                 SAGINAW          MI   48603‐2578
MARK LATOR       4557 ROUND LAKE RD                                                                                LAINGSBURG       MI   48848‐9485
MARK LATUNSKI    3663 S FRIEGEL RD                                                                                 OWOSSO           MI   48867‐9275
MARK LAUER       4906 BELMONT ST                                                                                   MIDLAND          MI   48640‐3232
MARK LAUER       21831 WILLOWAY RD                                                                                 DEARBORN         MI   48124‐1133
MARK LAUGHLIN    16528 HIGH DESERT WAY                                                                             PARKER           CO   80134‐3045
MARK LAURION     LONDON
MARK LAUTH       14008 LENMOORE RD                                                                                 BELLEVILLE       MI   48111‐2889
MARK LAVALLY     3384 SKYVIEW LN                                                                                   CORONA           CA   92882‐8665
MARK LAVRACK     3144 MARYLAND AVE                                                                                 FLINT            MI   48506‐3031
MARK LAWRENCE    60900 SCHOENHERR RD                                                                               WASHINGTON       MI   48094‐2453
MARK LAWS        2652 MARCIA DR                                                                                    LAWRENCEVILLE    GA   30044‐5817
MARK LAWYER      200 PLAINFIELD WAY                                                                                BOWLING GREEN    KY   42104‐7708
MARK LAYMON      1047 E BOND AVE                                                                                   MARION           IN   46952‐8639
MARK LEAMAN      6050 BLUE HILLS LN                                                                                NORMAN           OK   73026‐3973
MARK LEAVY       14 RIDGE RD                                                                                       PLEASANT RIDGE   MI   48069‐1117
MARK LEDBETTER   3242 HADLEY DR                                                                                    MIRA LOMA        CA   91752‐1370
MARK LEDDY       223 BEACON BLVD                                                                                   SEA GIRT         NJ   08750‐1612
MARK LEE         16940 OAKLEY RD LOT 42                                                                            CHESANING        MI   48616‐9510
MARK LEE         1589 COLTON ST                                                                                    TOLEDO           OH   43609‐2115
MARK LEE HARRY   ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON       IL   62024
                                                ANGELIDES & BARNERD LLC
MARK LEECH       9549 HILL RD                                                                                      SWARTZ CREEK     MI 48473‐1064
MARK LEFAN       549 DEER TRACK RD                                                                                 WEATHERFORD      TX 76085‐3849
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Name              Address1                         Address2              Address3         Address4         City               State Zip
MARK LEFEVRE      2042 W DICKERSON RD                                                                      UNIONVILLE          MI 48767‐9744
MARK LEGNER       4415 DIRKER RD                                                                           SAGINAW             MI 48638‐5620
MARK LEHMAN       236 E HILLSDALE DR                                                                       ROSCOMMON           MI 48653‐9280
MARK LEINEKE      3705 RISEDORPH AVE                                                                       FLINT               MI 48506‐3127
MARK LEITHEISER   231 RIVERBEND DR                                                                         FRANKLIN            TN 37064‐5518
MARK LEITZ        3465 LAPIDARY LN                                                                         JANESVILLE          WI 53548‐9231
MARK LEMMA        4815 TONAWANDA CREEK RD                                                                  N TONAWANDA         NY 14120‐9529
MARK LEMON        1977 REDWOOD DR                                                                          DEFIANCE            OH 43512‐3475
MARK LEMONIS      2210 S HUBBARD RD                                                                        LOWELLVILLE         OH 44436‐9525
MARK LENENBERG    8645 PITCH FORK AVE                                                                      LAS VEGAS           NV 89143
MARK LENNOX       7656 DEVINS RDG                                                                          CLARKSTON           MI 48348‐4351
MARK LEONG        1201 PINEWOOD PLACE DR                                                                   O FALLON            MO 63366‐2046
MARK LESCH        12723 E MINKEY RD                                                                        DARIEN              WI 53114‐1147
MARK LESLIE       5199 TIMBER RIDGE TRL                                                                    CLARKSTON           MI 48346‐3854
MARK LETSON       13975 HARRIS RD                                                                          CHESANING           MI 48616‐8402
MARK LEVASSEUR    3 PITRE CT                                                                               ESSEXVILLE          MI 48732‐1104
MARK LEVI         4635 HALE HILL ROAD                                                                      POLAND              IN 47868‐7086
MARK LEVIS        805 STILLWATER CT                                                                        KELLER              TX 76248‐8414
MARK LEWELLEN     855 BUCKWOOD DR                                                                          CHOCTAW             OK 73020‐7550
MARK LEWIS        11313 N BRAY RD                                                                          CLIO                MI 48420‐7954
MARK LEWIS        308 AVON BELDEN RD                                                                       AVON LAKE           OH 44012‐2202
MARK LEWIS        510 2ND ST                                                                               PIQUA               OH 45356‐4022
MARK LEWIS        6121 N GENESEE RD                                                                        FLINT               MI 48506‐1121
MARK LEWIS        5793 PINE BREEZE DR                                                                      CLARKSTON           MI 48346‐4089
MARK LEXA         1518 SCHALLER ST                                                                         JANESVILLE          WI 53546‐5844
MARK LIBERTO      1213 SUNNYVALE DR                                                                        ARLINGTON           TX 76010‐2943
MARK LIBERTY      9087 CORUNNA RD                                                                          FLINT               MI 48532‐5508
MARK LIELL        4865 GENESEE RD                                                                          LAPEER              MI 48446‐3633
MARK LIGHTNER     156 LAKESIDE ST                                                                          PONTIAC             MI 48340‐2527
MARK LIKES        2132 OSBUN RD                                                                            MANSFIELD           OH 44903‐9760
MARK LINCOLN      220 ELIZABETH DR                                                                         OWOSSO              MI 48867‐9061
MARK LINDMAN      45616 MORNINGSIDE RD                                                                     CANTON              MI 48187‐5611
MARK LINDSAY      5750 N MCCAFFREY RD                                                                      OWOSSO              MI 48867‐8824
MARK LINDSEY      6770 CARIBOU ST                                                                          WESTLAND            MI 48185‐7030
MARK LINDSTROM    2695 PRAY RD                                                                             CHARLOTTE           MI 48813‐8308
MARK LINVILLE     14245 SW WALKER RD APT 30                                                                BEAVERTON           OR 97006‐6005
MARK LIPPS        4013 E 3RD ST                                                                            DAYTON              OH 45403‐2241
MARK LISCINSKY    2509 15 MILE RD                                                                          STERLING HEIGHTS    MI 48310‐4816
MARK LISKE        11567 JEFFERS RD                                                                         GRAND RAPIDS        OH 43522‐9636
MARK LITTLE       8033 DUDLEY ST                                                                           TAYLOR              MI 48180‐2589
MARK LITTLEJOHN
MARK LIVINGSTON   3887 THOMAS RD                                                                           OXFORD             MI   48371‐1556
MARK LIVINGSTON   11653 PINE MOUNTAIN DR                                                                   BRIGHTON           MI   48114‐9090
MARK LIVINGSTON   1820 BEINEKE RD                                                                          FORT WAYNE         IN   46808‐1628
MARK LOBA         6401 SOUTHAMPTON DR                                                                      CLARKSTON          MI   48346‐3058
MARK LOBBEN       1419 SHERMAN AVE                                                                         JANESVILLE         WI   53545‐1969
MARK LOCHER       9805 FAUST DR                                                                            DEWITT             MI   48820‐7506
MARK LODEN        8039 WARGATE LANE                                                                        GERMANTOWN         TN   38138
MARK LOEHR        3403 STONEWYCK CT                                                                        SHELBY TOWNSHIP    MI   48316‐4894
MARK LOESSEL      4108 INDEPENDENCE DR                                                                     FLINT              MI   48506‐1662
MARK LOFTICE      713 N ROBINSON AVE                                                                       MOORE              OK   73170‐1232
MARK LOGAN        315 CRYSTAL TRAIL CT                                                                     WENTZVILLE         MO   63385‐3765
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Name              Address1                          Address2              Address3         Address4         City               State Zip
MARK LOGSDON      17807 BLUEBELL DR                                                                         HAGERSTOWN          MD 21740‐9151
MARK LONG         924 BRIDGE AVE                                                                            GREENSBURG          PA 15601‐5607
MARK LONG         213 TECUMSEH TRL                                                                          OTTAWA              OH 45875‐1055
MARK LOOK         12186 W SHORE DR                                                                          HOUGHTON LAKE       MI 48629‐8647
MARK LOOMIS       G3352 TUXEDO AVE                                                                          FLINT               MI 48507‐3360
MARK LOPEZ        1319 PETERSON LN                                                                          SANTA ROSA          CA 95403‐2399
MARK LOPEZ        1743 VALLEY VIEW DR                                                                       CEDAR HILL          TX 75104‐7844
MARK LORETTA      PO BOX 5328                                                                               MANSFIELD           OH 44901‐5328
MARK LOSEE        PO BOX 54                                                                                 NORTH STAR          MI 48862‐0054
MARK LOTT         510 HIGHLAND AVENUE               PMB213                                                  MILFORD             MI 48381
MARK LOUTHAN      563 HOLLIS AVE                                                                            YPSILANTI           MI 48198‐3918
MARK LOVAS        PO BOX 51587                                                                              SPARKS              NV 89435‐1587
MARK LOVE         125 WHITE LN                                                                              BEDFORD             IN 47421‐9222
MARK LOVE         1005 BEACON CT                                                                            GALLATIN            TN 37066‐5610
MARK LOVELESS     745 MOUNT OLIVET RD                                                                       COLUMBIA            TN 38401‐6745
MARK LUCAS        5085 MARTON RD                                                                            ANN ARBOR           MI 48108‐9730
MARK LUDEK        4378 S NEW COLUMBUS RD                                                                    ANDERSON            IN 46013‐3461
MARK LUDESCHER    35256 LUCINDA DR                                                                          CLINTON TOWNSHIP    MI 48035‐2461
MARK LUEBKERT     114 KINGSDALE CT                                                                          SIMPSONVILLE        SC 29680‐7642
MARK LUECK        9305 N RAVEN DR                                                                           MILTON              WI 53563‐8971
MARK LUKASIK      130 SHAPIRO TRL                                                                           COLUMBIA            TN 38401‐6720
MARK LUPTON       2302 HOLDEN DR                                                                            ANDERSON            IN 46012‐9778
MARK LUSBY        1641 FRENCHS AVE                                                                          ESSEX               MD 21221‐2909
MARK LUTHER       7307 DEARBORN ST                                                                          OVERLAND PARK       KS 66204‐2146
MARK LUTIKER      5633 N STRATHBURY AVE                                                                     KANSAS CITY         MO 64151‐2645
MARK LUTZ TTEE    LUTZ REV TRUST 07‐02‐07           46 ROWE RANCH WAY                                       NOVATO              CA 94949‐7250
MARK LYJAK        7680 ORCHARD LN                                                                           WASHINGTN TWP       MI 48095‐1112
MARK M ANDERSON   206 PARKDALE AVE                                                                          PONTIAC             MI 48340‐2552
MARK M BARRY      7 WHEELDON DR                                                                             ROCHESTER           NY 14616‐3919
MARK M BEVAN      4274 NOTTINGHAM AVE                                                                       YOUNGSTOWN          OH 44511‐1020
MARK M CARSON     6958 WOODBROOK DR SE                                                                      GRAND RAPIDS        MI 49546‐9233
MARK M DAVIS      2333 N THOMAS RD                                                                          SAGINAW             MI 48609
MARK M GREGORIO   9821 S PROTECTION RD                                                                      HOLLAND             NY 14080‐9529
MARK M LAMERS     1786 WEST GLENOAKS AVE                                                                    ANAHEIM             CA 92801‐4011
MARK M MILLER     509 WESTWOOD AVE                                                                          SYRACUSE            NY 13211‐1228
MARK M MORENO     1602 BENNETT AVE                                                                          FLINT               MI 48506‐3361
MARK M TAYLOR     5153 NEBRASKA                                                                             HUBER HEIGHTS       OH 45424‐6127
MARK MAAG         18023 ROAD 28                                                                             FORT JENNINGS       OH 45844‐8833
MARK MABIE        13100 S DEANA DR                                                                          SAND LAKE           MI 49343‐9666
MARK MAC KENZIE   6525 RUSH LIMA RD                                                                         HONEOYE FALLS       NY 14472‐9012
MARK MACHNACKI    8597 SANDPIPER ST                                                                         CANTON              MI 48187‐1713
MARK MACIAG       1009 S HAMPTON ST APT 2                                                                   BAY CITY            MI 48708‐7554
MARK MACIASZ      55697 SERENE DR                                                                           MACOMB              MI 48042‐6163
MARK MACK         6492 POTTER RD                                                                            BURTON              MI 48509‐1394
MARK MACKENDER    417 NE MORELAND DR                                                                        GLADSTONE           MO 64118‐5110
MARK MACKEY       200 HAYWOOD CREEK RD                                                                      PULASKI             TN 38478‐9560
MARK MACMILLAN    13324 TURTLE CREEK DR                                                                     OKLAHOMA CITY       OK 73170‐6830
MARK MADELINE     1801 BIRCH RD                                                                             ATTICA              MI 48412‐9615
MARK MADORE       10428 E STANLEY RD                                                                        DAVISON             MI 48423‐9348
MARK MAEFS        14452 GARY AVE                                                                            PORT CHARLOTTE      FL 33953‐1911
MARK MAGALLON     412 YUCHI CT                                                                              FORT WORTH          TX 76108‐4200
MARK MAHAFFY      5572 LAKEVIEW BLVD                                                                        GOODRICH            MI 48438‐9611
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Name                    Address1                         Address2             Address3         Address4         City            State Zip
MARK MAHAFFY            2818 STONEY CREEK RD                                                                    OAKLAND          MI 48363‐2058
MARK MAHAN              6210 SEDWICK RD                                                                         MARTINSVILLE     IN 46151‐8697
MARK MAHER              6474 MCCLELLAND RD                                                                      HOLLY            MI 48442‐8445
MARK MAHER              5755 TANGLEWOOD DR                                                                      ANN ARBOR        MI 48105‐9549
MARK MAKOWSKI           7625 WISTERIA WAY                                                                       BRIGHTON         MI 48116‐6203
MARK MALANYN            724 S HIGHLAND ST                                                                       DEARBORN         MI 48124‐1641
MARK MALASKA            5485 SAINT ANDREWS DR                                                                   WESTERVILLE      OH 43082‐8107
MARK MALECKI            1909 S GRANT ST                                                                         BAY CITY         MI 48708‐3810
MARK MALIN              2430 SALEM CHURCH RD                                                                    BEE SPRING       KY 42207‐9340
MARK MALINCZAK          4364 ARKONA RD                                                                          SALINE           MI 48176‐9634
MARK MALINOWSKI         17951 BRENTWOOD DR                                                                      RIVERVIEW        MI 48193‐8169
MARK MALOBABICH         141 CAREYWOOD RD                                                                        WAMPUM           PA 16157‐2501
MARK MALOWICKI          7227 COWELL RD                                                                          BRIGHTON         MI 48116‐5131
MARK MALOZIEC           PO BOX 401056                                                                           REDFORD          MI 48240‐9056
MARK MANAS              2263 KING ST                                                                            SAGINAW          MI 48602‐1218
MARK MANCHESTER         PO BOX 489                                                                              FT COVINGTON     NY 12937‐0489
MARK MANCIOCCHI         37 DA VINCI DR                                                                          ROCHESTER        NY 14624‐3808
MARK MANGAN             11369 GABRIELLA DR                                                                      PARMA            OH 44130‐1336
MARK MANION             159 BRYANT AVE                                                                          LA FAYETTE       GA 30728‐4803
MARK MANKOWSKI          2990 EVON RD                                                                            SAGINAW          MI 48601‐9727
MARK MANLEY             4375 ATHENS RD                                                                          CARNESVILLE      GA 30521‐4313
MARK MANN               1234 FAIRLAWN RD                                                                        ROYAL OAK        MI 48067‐1007
MARK MANNING            PO BOX 321                                                                              DAWSONVILLE      GA 30534‐0007
MARK MANORE             8803 JUSTONIAN WAY                                                                      DIMONDALE        MI 48821‐9581
MARK MANTIA             1564 FOX RIDGE CT                                                                       ARNOLD           MO 63010‐2854
MARK MANWELL            5544 N RIDGE VIEW DR                                                                    JANESVILLE       WI 53548‐9478
MARK MAPES              8894 KINGSLEY DR                                                                        ONSTED           MI 49265‐9541
MARK MAPPES             3905 E FRANKLIN RD                                                                      NORMAN           OK 73026‐0466
MARK MARAZ              875 VANDERBILT RD                                                                       LEXINGTON        OH 44904‐9591
MARK MARCHANT           15146 W AVON NORTH TOWNLINE RD                                                          BRODHEAD         WI 53520‐8904
MARK MARCON             29146 EVERGREEN ST                                                                      FLAT ROCK        MI 48134‐1237
MARK MARCOZZI           1009 N KENWOOD AVE                                                                      ROYAL OAK        MI 48067‐1505
MARK MAREK              46649 WADDINGTON RD                                                                     CANTON           MI 48187‐5250
MARK MARIDUENA JR
MARK MARLOW             3900 BRADWOOD DR                                                                        DAYTON          OH   45405‐2001
MARK MARLOW             588 BISCAYNE DR                                                                         MANSFIELD       OH   44903‐9649
MARK MARNEEF            12121 ROHN RD                                                                           FENTON          MI   48430‐9460
MARK MARRISON           9456 WHITE CEDAR DR                                                                     LAKE            MI   48632‐8887
MARK MARSCHALL          22683 CLEARWATER CT APT 106                                                             NOVI            MI   48375‐4651
MARK MARTIN             5323 JOSHUA TREE CIRCLE                                                                 FREDERICKSBRG   VA   22407‐9335
MARK MARTIN             20470 ANITA ST                                                                          HARPER WOODS    MI   48225‐1113
MARK MARTIN             14029 N BRAY RD                                                                         CLIO            MI   48420‐7906
MARK MARTIN             14851 SENECA                                                                            REDFORD         MI   48239‐3027
MARK MARTIN
MARK MARTIN CHEVROLET   HWYS 69 & 9                                                                             MELBOURNE       AR   72556
MARK MARTINELLI         14010 ELLSWORTH RD                                                                      BERLIN CENTER   OH   44401‐9749
MARK MARTWICK           50 FOX HOLLOW LN                                                                        EOLIA           MO   63344‐2234
MARK MASHAK             1700 JESSOP RD                                                                          DANSVILLE       MI   48819‐9615
MARK MASON              430 CEDARWOOD CT                                                                        FLUSHING        MI   48433‐1855
MARK MASON              390 MITCHELL LAKE RD                                                                    ATTICA          MI   48412‐9720
MARK MASON              3359 OLD KAWKAWLIN RD                                                                   BAY CITY        MI   48706‐1616
MARK MASSENGILL         3391 23RD ST                                                                            WYANDOTTE       MI   48192‐6014
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Name                 Address1                          Address2              Address3         Address4         City               State Zip
MARK MASSIMINO       3388 OAKLAND DR                                                                           FLINT               MI 48507‐4532
MARK MASTERSON       289 ALDRICH RD                                                                            AUSTINTOWN          OH 44515‐3908
MARK MASTERSON       4220 REVERE DR                                                                            PLAINFIELD          IN 46168‐8809
MARK MATHES          1184 RUBY AVE                                                                             ROCHESTER HLS       MI 48309‐4346
MARK MATHEWS         287 BARDEN RD                                                                             BLOOMFIELD HILLS    MI 48304‐2712
MARK MATHEWSON       1715 MAPLERIDGE RD                                                                        SAGINAW             MI 48604‐1719
MARK MATHIAS         12 RYDER CUP CIR                                                                          PITTSFORD           NY 14534‐1082
MARK MATSON          5337 HILLTOP TRL                                                                          PERRY               MI 48872‐9169
MARK MATTHEWS        7477 COLDWATER RD                                                                         FLUSHING            MI 48433‐1119
MARK MATTHIAS        3213 LINDBERGH DR                                                                         INDIANAPOLIS        IN 46227‐6688
MARK MATTIMORE       945 EAST BRIDGE STREET                                                                    PLAINWELL           MI 49080‐1808
MARK MATTIS          44341 APPLE BLOSSOM DR                                                                    STERLING HEIGHTS    MI 48314‐1029
MARK MAUCH           2315 N CAROLINA ST                                                                        SAGINAW             MI 48602‐3806
MARK MAURO           2227 DILLINGHAM AVE                                                                       LANSING             MI 48906‐3760
MARK MAVRETICH       52261 FOREST GRV                                                                          SHELBY TWP          MI 48315‐2316
MARK MAXEY           1222 S GENEVA DR                                                                          DEWITT              MI 48820‐9531
MARK MAYFIELD        809 GREENLAWN                                                                             HARRISON            MI 48625‐9112
MARK MAYVILLE        14800 GRASS LAKE RD                                                                       GRASS LAKE          MI 49240‐9779
MARK MAZUR           53425 VILLA ROSA DR                                                                       MACOMB              MI 48042‐5767
MARK MC CARTNEY      1350 N POSEY LAKE HWY                                                                     HUDSON              MI 49247‐9754
MARK MC CLAIN SR.    268 JACKSON ST                                                                            BRISTOL             PA 19007‐4210
MARK MC CLINTOCK     PO BOX 70                                                                                 CRYSTAL RIVER       FL 34423‐0070
MARK MC CLURE        2581 5TH STREET RD                                                                        HUNTINGTON          WV 25701‐9316
MARK MC CLURE        921 NW 1751ST RD                                                                          BATES CITY          MO 64011‐8212
MARK MC CONNELL      4222 CHERYL DR                                                                            FLINT               MI 48506‐1406
MARK MC CRADY        35 WIMBLEDON LN                                                                           WEST SENECA         NY 14224‐1958
MARK MC DANIEL       1480 PEPPERGROVE DR                                                                       BRIGHTON            MI 48116‐6783
MARK MC DONALD       1046 N OGEMAW TRL                                                                         WEST BRANCH         MI 48661‐9720
MARK MC ELDUFF       8633 N MAIN ST                                                                            KANSAS CITY         MO 64155‐2359
MARK MC HUGH         2171 BEECHNUT TRL                                                                         HOLT                MI 48842‐8761
MARK MC MANUS        1812 ROSTRAVER RD                                                                         BELLE VERNON        PA 15012‐4303
MARK MC MICHAEL      5676 FORDHAM CIR                                                                          CANTON              MI 48187‐3342
MARK MC QUAID        6929 WIDE VALLEY DR                                                                       BRIGHTON            MI 48116‐5107
MARK MCALEVEY
MARK MCALLISTER      14550 WINCHESTER RD                                                                       ASHVILLE           OH   43103‐9421
MARK MCCALLUM        10145 BALDWIN RD                                                                          GAINES             MI   48436‐9773
MARK MCCANN          9083 WILSON RD                                                                            MONTROSE           MI   48457‐9129
MARK MCCARNAN        6272 SHEARWATER DR                                                                        FAIRFIELD          OH   45014‐4926
MARK MCCARTHY        3635 SALEM DR                                                                             ROCHESTER HILLS    MI   48306‐2946
MARK MCCLOSKEY       3369 N 25 E                                                                               LEBANON            IN   46052‐8303
MARK MCCONNAUGHHAY   7066 PARTRIDGE DR                                                                         FLUSHING           MI   48433‐8816
MARK MCCORKLE        15304 FIRETHORNE PATH                                                                     FORT WAYNE         IN   46814‐9471
MARK MCCORMICK       11180 OAKWOOD DR                                                                          BYRON              MI   48418‐9013
MARK MCDANIEL        607 DRAHNER ST                                                                            EATON RAPIDS       MI   48827‐2008
MARK MCDANIEL        3130 EAST SHOCKLEY ROAD                                                                   MUNCIE             IN   47302‐8614
MARK MCDANIEL        11688 STATE ROUTE 730                                                                     BLANCHESTER        OH   45107‐8714
MARK MCDURMON        3497 GALE RD                                                                              EATON RAPIDS       MI   48827‐9633
MARK MCGAW           10305 S RAUCHOLZ RD                                                                       SAINT CHARLES      MI   48655‐9522
MARK MCGEHAN         73 BROOK HOLLOW CT                                                                        O FALLON           MO   63366‐4168
MARK MCGINN          555 HALL ST                                                                               IONIA              MI   48846‐1109
MARK MCGREGOR        PO BOX 535                                                                                SELMA              IN   47383‐0535
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Name              Address1                       Address2                     Address3   Address4           City               State Zip
MARK MCGUIRE      6871 6TH CONC RD               RR#4                                    AMHERSTBURG ON
                                                                                         CANADA N9V 2Y9
MARK MCKEE        901 CLOUGH ST                                                                             HOLLY              MI    48442‐1317
MARK MCKEEN       2019 MARIE DR                                                                             LAKE ORION         MI    48360‐2801
MARK MCKENZIE     3773 ACADIA DR                                                                            LAKE ORION         MI    48360‐2725
MARK MCKEON       12752 BERESFORD DR                                                                        STERLING HTS       MI    48313‐4110
MARK MCKIBBEN     2259 CARRIAGE DR                                                                          TOLEDO             OH    43615‐2722
MARK MCKONE       4961 SMITHSON RD                                                                          COLLEGE GROVE      TN    37046‐9291
MARK MCKOWN       1532 BOYCE RD                                                                             SHELBY             OH    44875‐9353
MARK MCLAIN       129 JOHNS LN                                                                              LORETTO            TN    38469‐2051
MARK MCLEAN       668 ASHWOOD AVE                                                                           LEWISBURG          TN    37091‐3608
MARK MCLEAN       8414 WALTER ST                                                                            MOUNT MORRIS       MI    48458‐1153
MARK MCMANAWAY    6802 WOOD ST                                                                              BROOKFIELD         OH    44403‐9527
MARK MCMILLAN     2405 SARATOGA AVE              APT 17                                                     KOKOMO             IN    46902‐2572
MARK MCNABB       26 BROMLEY CT                                                                             MONTVILLE          NJ    07045‐9662
MARK MCNEIL       9620 E EATON HWY                                                                          MULLIKEN           MI    48861‐9645
MARK MCNISH       5279 CLYDESDALE LN                                                                        SAGINAW            MI    48603‐2822
MARK MCNULTY
MARK MCPHERSON    6715 WILLIAMS PL                                                                          LAMBERTVILLE       MI    48144‐9467
MARK MCQUAY       11891 PLAINS RD                                                                           EATON RAPIDS       MI    48827‐9751
MARK MCREYNOLDS   13101 CLOVERLEAF LN                                                                       OKLAHOMA CITY      OK    73170‐1126
MARK MEAD         10401 SAND LAKE HWY                                                                       ONSTED             MI    49265‐9617
MARK MEADOWS      31 ROSSMORE DR.                                                                           FAIRBORN           OH    45324
MARK MEDOS        7110 TEXTILE RD                                                                           YPSILANTI          MI    48197‐8992
MARK MEHALKO      9503 ASPEN VIEW DR                                                                        GRAND BLANC        MI    48439‐7382
MARK MEINCKE      BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS         OH    44236
MARK MEINECKE     5309 WIGWAM LN                                                                            LAPEER             MI    48446‐8033
MARK MEINHARDS    2773 SAMUEL DR                                                                            O FALLON           MO    63368‐9617
MARK MELCHER      16200 MASONIC                                                                             FRASER             MI    48026‐3622
MARK MELDRUM      521 RUSKIN DR                                                                             ALGONAC            MI    48001‐1650
MARK MELENDY      16905 KINROSS AVE                                                                         BEVERLY HILLS      MI    48025‐4128
MARK MELMS        15992 CHELMSFORD ST                                                                       CLINTON TOWNSHIP   MI    48038‐3214
MARK MELTSER      160 OAKSHIRE WAY                                                                          PITTSFORD          NY    14534‐2567
MARK MENA         COON BRENT & ASSOCIATES PC     TWO PENN CENTER 1500 JFK                                   PHILADELPHIA       PA    19102
                                                 BOULEVARD SUITE 1301
MARK MENTO        26 LARBO RD                                                                               MILLERSVILLE       MD    21108‐1745
MARK MERCER       406 E RAILROAD ST                                                                         SAINT JOHNS        MI    48879‐1619
MARK MERCHANT     11300 SEYMOUR RD                                                                          BURT               MI    48417‐9624
MARK MEREDITH     5356 NOLAND DR                                                                            TECUMSEH           MI    49286‐9584
MARK MEREDITH     16207 HINKLE AVENUE                                                                       BELTON             MO    64012‐1624
MARK MEREDITH
MARK MERIDEW      7707 COUNTY ROAD 12                                                                       WAUSEON            OH    43567‐9639
MARK MERRIAM      46316 TURNBUCKLE LN                                                                       MACOMB             MI    48044‐6204
MARK MERRITT      21303 W 888 RD                                                                            COOKSON            OK    74427‐2522
MARK MERRITT      1204 N SCHEURMANN RD                                                                      ESSEXVILLE         MI    48732‐1771
MARK MERRYMAN     5844 MORGAN AVE S                                                                         MINNEAPOLIS        MN    55419‐2007
MARK MERSEREAU    5923 TETHERWOOD DR                                                                        TOLEDO             OH    43613‐1615
MARK MERTZ        6423 PRESIDENT LN                                                                         KEITHVILLE         LA    71047‐8916
MARK MESCHKAT     18483 LONDON DR                                                                           MACOMB             MI    48042‐6216
MARK MESSENGER    4675 EAGLE CREEK RD                                                                       LEAVITTSBURG       OH    44430‐9464
MARK MESSER       5 GREENDALE DR                                                                            KETTERING          OH    45429‐1570
MARK MESSIER      3288 LAHRING RD                                                                           LINDEN             MI    48451‐9434
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Name                               Address1                        Address2              Address3         Address4         City               State Zip
MARK MESSINA                       14 N WICKOM DR                                                                          WESTFIELD           NJ 07090‐3628
MARK MESSMAN                       4925 LIPPINCOTT RD                                                                      LAPEER              MI 48446‐9501
MARK METCALF                       214 STANFORD ST                                                                         LANCASTER           KY 40444
MARK MEYER                         107 EMS B7 LANE                                                                         LEESBURG            IN 46538‐8971
MARK MEYERS                        857 SUNSET DR                                                                           ENGLEWOOD           OH 45322‐2227
MARK MEYERS                        10081 FOLEY RD                                                                          KENOCKEE            MI 48006‐3104
MARK MEZYK                         3251 VICTORIA PARK RD                                                                   JACKSONVILLE        FL 32216‐5613
MARK MIARKA                        1129 GLENWOOD DR                                                                        COLUMBIA            TN 38401‐6705
MARK MICELLI                       530 MOLINO ST STE 112                                                                   LOS ANGELES         CA 90013‐2278
MARK MICEWICZ                      61 W 5TH ST                                                                             BAYONNE             NJ 07002‐2410
MARK MIENTKIEWICZ                  9897 BECKER AVE                                                                         ALLEN PARK          MI 48101‐1336
MARK MIGA                          11129 NANCY DR                                                                          WARREN              MI 48093‐2469
MARK MIHALJEVIC                    3286 PERSIMMON LN                                                                       AVON                OH 44011‐3708
MARK MILES                         38368 RIVER PARK DR                                                                     STERLING HEIGHTS    MI 48313‐5774
MARK MILES                         PO BOX 56                       106 S FIFTH ST                                          POMPEII             MI 48874‐0056
MARK MILHOUS                       5662 S COUNTY ROAD 200 W                                                                CLAYTON             IN 46118‐9198
MARK MILLAY                        9920 EAGLE PASS                                                                         CANADIAN LAKES      MI 49346‐9029
MARK MILLER                        404 CIRCLE M DR                                                                         GRAND CANE          LA 71032‐6338
MARK MILLER                        35 QUAIL RUN LN                                                                         LANCASTER           NY 14086‐1444
MARK MILLER                        4780 SHERIDAN RD                                                                        SAGINAW             MI 48601‐9301
MARK MILLER                        390 OLD ELK NECK ROAD                                                                   NORTH EAST          MD 21901‐5708
MARK MILLER                        3870 PINTAIL DR                                                                         JANESVILLE          WI 53546‐3418
MARK MILLER                        6847 BEARD RD                                                                           BYRON               MI 48418‐8982
MARK MILLER                        2524 KIRK RD                                                                            YOUNGSTOWN          OH 44511‐2216
MARK MILLER                        103 HIBERNIA DR                                                                         HARMONY             PA 16037‐8519
MARK MILLER                        22674 VACRI LN                                                                          FARMINGTON HILLS    MI 48335‐3856
MARK MILLER                        11535 KINGS KNIGHT CIR                                                                  GRAND BLANC         MI 48439‐8521
MARK MILLER                        510 ELM ST                                                                              WYANDOTTE           MI 48192‐5705
MARK MILLER                        11513 COUNTY ROAD 23K                                                                   CLOVERDALE          OH 45827
MARK MILLER                        1297 142ND ST                                                                           NEW RICHMOND        WI 54017‐6644
MARK MILLER JR                     10134 FIELDWAY TRL                                                                      HOLLY               MI 48442‐9358
MARK MILLER PONTIAC BUICK          3535 S STATE ST                                                                         SALT LAKE CITY      UT 84115‐4726
MARK MILLER PONTIAC, INC.          MARK MILLER                     3535 S STATE ST                                         SALT LAKE CITY      UT 84115‐4726
MARK MILLER, MANCHESTER TANK CO.   1749 MALLORY LANE, SUITE 400                                                            NASHVILLE           TN 37214
MARK MILLS                         14604 S ROBINSON AVE                                                                    OKLAHOMA CITY       OK 73170‐7236
MARK MILLS                         9423 WEST CONSTELLATION DRIVE                                                           PENDLETON           IN 46064‐7512
MARK MILLS                         8137 NE SAN RAFAEL DR                                                                   KANSAS CITY         MO 64119‐4232
MARK MINCH                         32702 ROSSLYN AVE                                                                       GARDEN CITY         MI 48135‐3220
MARK MINES                         207 GLENDOLA AVE NW                                                                     WARREN              OH 44483‐1246
MARK MINEWEASER                    5566 OAKWOOD DR                                                                         N TONAWANDA         NY 14120‐9621
MARK MIOTKE                        3320 GOLFHILL DR                                                                        WATERFORD           MI 48329‐4521
MARK MIRACLE                       230 HURD ST                                                                             MILAN               MI 48160‐1323
MARK MITCHELL                      3192 N MILL RD                                                                          DRYDEN              MI 48428‐9341
MARK MITCHELL                      113 ROSIE ST                                                                            BOWLING GREEN       KY 42103‐8427
MARK MIZLA                         2166 S OLAF DR                                                                          MARBLEHEAD          OH 43440‐9775
MARK MOATS                         2609 GLENDAS WAY                                                                        FREDERICKSBRG       VA 22408‐8078
MARK MODENA                        52300 SAWMILL CREEK DR                                                                  MACOMB              MI 48042‐5675
MARK MODICA                        108 SOLWAY CIR                                                                          CHALFONT            PA 18914
MARK MOEHLE                        1115 RIDGEWAY DR                                                                        FRANKLIN            TN 37067‐4024
MARK MOGOLIS                       12505 BUECHE RD                                                                         BURT                MI 48417‐9620
MARK MOLITOR                       6161 DYE RD                                                                             AKRON               NY 14001‐9748
MARK MONETTE                       11394 BAYBERRY DR                                                                       ROSCOE               IL 61073‐9105
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Name               Address1                        Address2                     Address3   Address4         City               State Zip
MARK MONGER        950 ALLES DR SW                                                                          BYRON CENTER        MI 49315‐8835
MARK MONISMITH     2749 CASTLEMARTIN CT                                                                     OAKLAND TOWNSHIP    MI 48306‐4906
MARK MONSON        4211 STANLEY RD                                                                          COLUMBIAVILLE       MI 48421‐9361
MARK MONTJAR       6919 SUNSET DR                                                                           SOUTH LYON          MI 48178‐9029
MARK MONVILLE      2736 E GRAND LEDGE HWY                                                                   GRAND LEDGE         MI 48837‐9706
MARK MOONEY        2339 POWERS AVE NW                                                                       GRAND RAPIDS        MI 49544‐1861
MARK MOORE         16143 MEREDITH CT                                                                        LINDEN              MI 48451‐9095
MARK MOORE         4750 S 1000 E                                                                            LAFAYETTE           IN 47905‐9446
MARK MOORE         3907 HERFORD TRL                                                                         MORAINE             OH 45439‐1209
MARK MOORE         370 BERNICE ST                                                                           ROCHESTER           NY 14615‐2131
MARK MOORE         APT 333                         222 16TH AVENUE NORTH                                    JAX BCH             FL 32250‐8418
MARK MOORE         8581 S HARTSHORN RD                                                                      MARBLEHEAD          OH 43440‐2548
MARK MOORE         4497 MAPLE CREEK DR                                                                      GRAND BLANC         MI 48439‐9054
MARK MOOREHEAD     2126 BLAKE AVE                                                                           DAYTON              OH 45414‐3317
MARK MOOREHEAD     2126 BLAKE AVE                                                                           DAYTON              OH 45414‐3317
MARK MORAN         6349 S PARK BLVD                                                                         PARMA               OH 44134‐4242
MARK MORENO        1602 BENNETT AVE                                                                         FLINT               MI 48506‐3361
MARK MORETON       7784 FARNSWORTH DR                                                                       CLAY                MI 48001‐3016
MARK MOREY         10142 BENNETT LAKE RD                                                                    FENTON              MI 48430‐8734
MARK MORIARITY     2545 NOBLE RD                                                                            TAWAS CITY          MI 48763‐9402
MARK MORNING       APT 103                         600 CENTRAL AVENUE                                       RIVERSIDE           CA 92507‐6510
MARK MORNINGSTAR   4426 MUSKOPF DR                                                                          FAIRFIELD           OH 45014‐3284
MARK MORRA         5650 SALLY RD                                                                            CLARKSTON           MI 48348‐3030
MARK MORRIS        14023 INGLENOOK LN                                                                       CARMEL              IN 46032‐7089
MARK MORRIS        2015 BENNER HWY                                                                          CLAYTON             MI 49235‐9606
MARK MORRISON      7531 PORTER RD                                                                           GRAND BLANC         MI 48439‐8555
MARK MORROW        10200 W MOUNT MORRIS RD                                                                  FLUSHING            MI 48433‐9281
MARK MORTHLAND     ACCT OF SANDRA LIVINGSTON       3071 N WATER ST                                          DECATUR              IL 62526‐2464
MARK MOSCHELLA     BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MARK MOSCO         206 S MAIN ST                                                                            BATAVIA             NY 14020‐1807
MARK MOSHER        9000 LEMASTER LN                                                                         WHITE LAKE          MI 48386‐3385
MARK MOSLEY        231 MAPLE ST                                                                             SMYRNA              DE 19977‐1525
MARK MOSS          6181 W FRANCES RD                                                                        CLIO                MI 48420‐8548
MARK MOTIL         120 CLARENDON CIR                                                                        FRANKLIN            TN 37069‐1836
MARK MOTSINGER     8800 S STATE ROAD 109                                                                    MARKLEVILLE         IN 46056‐9783
MARK MOUBRAY       PO BOX 222                                                                               LAINGSBURG          MI 48848‐0222
MARK MOWERY        1764 E GARRISON RD                                                                       OWOSSO              MI 48867‐9714
MARK MOX           5217 S DEWITT RD                                                                         SAINT JOHNS         MI 48879‐9213
MARK MUCHA         PO BOX 31                                                                                SWAIN               NY 14884‐0031
MARK MUCZYNSKI     846 OTTAWA DR                                                                            TROY                MI 48085‐1630
MARK MUDRY         1013 MEADOWVIEW LN                                                                       LANSING             MI 48917‐4210
MARK MUELLER       4763 BENNER RD                                                                           MIAMISBURG          OH 45342‐4321
MARK MUELLER       2820 SUNBURST DR                                                                         SMITHVILLE          MO 64089‐8813
MARK MUELLER       48853 WOODHAM COURTT                                                                     CANTON              MI 48187
MARK MUHA          PO BOX 24                                                                                UNION LAKE          MI 48387‐0024
MARK MULLENS       9878 E PRAIRIE AVE                                                                       GALVESTON           IN 46932‐8526
MARK MULLIGAN SR
MARK MULLINS       2960 RIDGE AVE                                                                           DAYTON             OH   45414‐5437
MARK MULLINS       PO BOX 121                                                                               VERONA             KY   41092‐0121
MARK MUMFORD       8459 N SAGINAW RD                                                                        MOUNT MORRIS       MI   48458‐1105
MARK MUNDIER       3150 JORDAN DR                                                                           NIAGARA FALLS      NY   14304‐1417
MARK MUNDIER JR    8712 3RD AVE                                                                             NIAGARA FALLS      NY   14304‐1888
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Name                  Address1                           Address2             Address3         Address4         City               State Zip
MARK MUNGER           1454 TURNBERRY DR                                                                         YOUNGSTOWN          OH 44512‐3842
MARK MUNGER           5526 WINDERMERE DR                                                                        GRAND BLANC         MI 48439‐9632
MARK MURPHY           427 WALNUT ST                                                                             MOUNT MORRIS        MI 48458‐1950
MARK MURPHY           128 MAGNOLIA ST                                                                           CARNEYS POINT       NJ 08069‐2139
MARK MURRAY           509 CAIRNVIEW DR                                                                          FRANKLIN            TN 37064‐6161
MARK MUSGROVE         7701 DE GAULLE CT                                                                         BOARDMAN            OH 44512‐5731
MARK MUSSEY           6304 NW 70TH ST APT 308                                                                   KANSAS CITY         MO 64151‐6120
MARK MYERS            2004 WINDSOR DR                                                                           COLUMBIA            TN 38401‐4953
MARK MYERS            1238 HOME AVE                                                                             ANDERSON            IN 46016‐1977
MARK MYERS            13649 MORTENVIEW DR                                                                       TAYLOR              MI 48180‐4704
MARK MYERS            406 APPIAN AVE                                                                            NAPOLEON            OH 43545‐2006
MARK N BROWN JR       1485 NORTON ST                                                                            BURTON              MI 48529‐1257
MARK N FORD           421 MOUNT PLEASANT RD                                                                     ALTOONA             AL 35952‐8079
MARK N GORDON         208 WRIGHT AVE                                                                            SYRACUSE            NY 13211‐1638
MARK N REYER          2388 LOWER TWIN ROAD                                                                      GREENFIELD          OH 45123
MARK NABOZNY          8435 ELEVERE RD                                                                           LACHINE             MI 49753‐9475
MARK NADEAU           9014 OPORTO ST                                                                            LIVONIA             MI 48150‐3925
MARK NADEAU           6530 HURON RIVER DR                                                                       DEXTER              MI 48130‐9796
MARK NADOLSKI         16978 SHINNECOCK DR                                                                       MACOMB              MI 48042‐6207
MARK NAGAYDA          11184 HENDERSON RD                                                                        OTISVILLE           MI 48463‐9727
MARK NAGY             1527 HENDRIE                                                                              CANTON              MI 48187‐4657
MARK NALE             8263 N 1880 EAST RD                                                                       GEORGETOWN           IL 61846‐6304
MARK NAPIER           11681 MORAN ST                                                                            HAMTRAMCK           MI 48212‐3163
MARK NAPIER           16 1/2 S 6TH ST                                                                           GRAND HAVEN         MI 49417‐1416
MARK NAUMAN           P 0 BOX384                                                                                MASONTOWN           PA 15461
MARK NAUMANN          34020 BLACKFOOT ST                                                                        WESTLAND            MI 48185‐7015
MARK NAYLOR           10007 OAKRIDGE DR                                                                         WEXFORD             PA 15090
MARK NEAL             323 GRIGGS ST                                                                             ROCHESTER           MI 48307‐1417
MARK NEARY            8345 ASHWOOD RD                                                                           JESSUP              MD 20794‐3225
MARK NEFF             59 FARMERSVILLE PIKE                                                                      GERMANTOWN          OH 45327‐1026
MARK NEIDEN
MARK NEILSEN          3223 N LOCKWOOD RIDGE RD LOT 199                                                          SARASOTA           FL   34234‐6540
MARK NELSON           PO BOX 28098                                                                              KANSAS CITY        MO   64188‐0098
MARK NELSON           869 LOGGERS CIR                                                                           ROCHESTER          MI   48307‐6028
MARK NELSON           6121 SALINE WATERWORKS RD                                                                 SALINE             MI   48176‐8811
MARK NEMESH           PO BOX 807                                                                                TROY               MI   48099‐0807
MARK NEU I I          7278 BAHAMA DR                                                                            LIBERTY TOWNSHIP   OH   45044‐9427
MARK NEUENSCHWANDER   3111 BOND PL                                                                              JANESVILLE         WI   53548‐3220
MARK NEUKAM           1715 STANLEY AVE                                                                          FORT WAYNE         IN   46805‐4934
MARK NEWELL           70 MARY PL                                                                                GERMANTOWN         OH   45327‐1615
MARK NEWLAND          121 KENSINGTON PL                                                                         COLUMBIA           TN   38401‐8885
MARK NEWMAN           2785 W SYCAMORE DR                                                                        COLUMBIA CITY      IN   46725‐9539
MARK NEWMAN           748 KREITZER DR                                                                           NEW LEBANON        OH   45345‐9622
MARK NEWMAN           8529 NASHVILLE HWY                                                                        VERMONTVILLE       MI   49096‐9539
MARK NEWOOD           20439 DUBOIS ST                                                                           CLINTON TWP        MI   48035‐4417
MARK NEWSBAUM         2281 ZION RD                                                                              COLUMBIA           TN   38401‐6041
MARK NEWTON           8378 MEADOWDALE DR                                                                        GRAND BLANC        MI   48439‐8926
MARK NEWTON           156 SANDY LN                                                                              WALLED LAKE        MI   48390‐3528
MARK NICHOLS          2839 DAVISTA DR                                                                           HIGHLAND           MI   48356‐1629
MARK NICKEL
MARK NICKOLS          8887 UPTON RD                                                                             LAINGSBURG         MI 48848‐8729
MARK NICKS            590 PARK AVE                                                                              EDGERTON           WI 53534‐1618
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Name                   Address1                          Address2              Address3         Address4         City              State Zip
MARK NICOTRA           HARRIS BEACH, PLLC                99 GARNSEY ROAD                                         PITTSFORD          NY 14534
MARK NIEC              11434 KOTH DR                                                                             LINDEN             MI 48451‐9620
MARK NIEDERLUECKE      10156 GRISTMILL RIDGE                                                                     EDEN PRAIRIE       MN 55347
MARK NIEDZWIECKI       11206 HILLCREST BLVD NE                                                                   KALKASKA           MI 49646‐9082
MARK NIETHAMER         203 W BROADWAY ST                                                                         WOODLAND           MI 48897‐9798
MARK NOBLE             7263 WHISPERING WAY                                                                       BROWNSBURG         IN 46112‐9222
MARK NOIROT            2224 DOMERSVILLE RD                                                                       DEFIANCE           OH 43512‐9115
MARK NOLA
MARK NORMAN            41155 N RABBIT BRUSH TRL                                                                  QUEEN CREEK       AZ   85140
MARK NORRIS            104 NORTHMOOR DR                                                                          ARCANUM           OH   45304‐1415
MARK NORTON            11052 TEFFT AVE NE                                                                        ROCKFORD          MI   49341‐9717
MARK NOSAL             1707 CHARITY DR                                                                           BRENTWOOD         TN   37027‐8655
MARK NOSSAMAN          4709 TRAPP DR                                                                             DEL CITY          OK   73115‐3839
MARK NOURSE            9005 WOODBURY RD                                                                          LAINGSBURG        MI   48848‐8743
MARK NOVAK             409 BEAR RD                                                                               COWLESVILLE       NY   14037‐9720
MARK NOVAK             819 DAKOTA AVE                                                                            GLADSTONE         MI   49837‐1614
MARK NOWOSIELSKI       9338 MCKINLEY RD                                                                          MONTROSE          MI   48457‐9186
MARK NUNLEY            PO BOX 33                                                                                 DALEVILLE         IN   47334‐0033
MARK NUNN              23561 SCOTIA RD                                                                           OAK PARK          MI   48237‐2158
MARK NUNNERY           11 S PERRY CIR                                                                            O FALLON          MO   63366‐3421
MARK O DESSINGER       3847 SAGINAW ST                                                                           NATIONAL CITY     MI   48748‐9508
MARK O NEILL           2502 GREEN ACRES DR                                                                       GRAND BLANC       MI   48439‐8150
MARK O'CONNELL         1315 SHANNON RD                                                                           GIRARD            OH   44420‐1413
MARK O'CONNOR          1430 HERITAGE LNDG APT 306                                                                SAINT CHARLES     MO   63303‐6114
MARK O'CONNOR          4790 N UNION RD                                                                           TROTWOOD          OH   45426‐3712
MARK O'NEILL           2544 S WAVERLY RD                                                                         EATON RAPIDS      MI   48827‐9786
MARK OBERKIRCHER       1562 NW 120TH ST                                                                          CLIVE             IA   50325‐8210
MARK OBERMEYER         2038 SPRING MEADOW CIR                                                                    SPRING HILL       TN   37174‐9273
MARK OBLOJ             3135 BERKLEY ST                                                                           FLINT             MI   48504‐3205
MARK OCHTINSKY         52853 D W SEATON DR                                                                       CHESTERFIELD      MI   48047‐4518
MARK ODELL             8220 GODFREY RD                                                                           SHREVEPORT        LA   71129‐9732
MARK ODNEY             2951 WHEELER RD                                                                           BAY CITY          MI   48706‐9294
MARK OFFENBACKER       187 DOYLE AVE                                                                             BROOKVILLE        OH   45309‐1510
MARK OHS               6268 MAPLEVIEW LN                                                                         YPSILANTI         MI   48197‐9482
MARK OLIVER            1607 RANDOLPH CT                                                                          MONROE            GA   30655‐6268
MARK OLIVIER           3296 PALM AIRE CT                                                                         ROCHESTER HILLS   MI   48309‐1037
MARK OLLILA            53527 BRUCE HILL DR                                                                       SHELBY TWP        MI   48316‐2119
MARK ONE CORPORATION   517 ALPINE RD 12/5/06 CM                                                                  GAYLORD           MI   49735
MARK ONE CORPORATION   517 ALPINE RD                                                                             GAYLORD           MI   49735‐9531
MARK ONEAL             5469 E US HIGHWAY 40                                                                      FILLMORE          IN   46128‐9412
MARK ONSGARD           485 N PEARL ST                                                                            JANESVILLE        WI   53548‐3558
MARK ONUSKANICH        3664 MEADOWLEIGH LN                                                                       WATERFORD         MI   48329‐2449
MARK OOSTERINK         3806 NEWBURG RD                                                                           BANCROFT          MI   48414‐9725
MARK OOTEN             1691 DURANGO DR                                                                           DEFIANCE          OH   43512
MARK OPACHAK           4588 BLOSSOM LN                                                                           MILFORD           MI   48380‐2700
MARK ORLITTA           162 MARY AVE                                                                              FORDS             NJ   08863‐1547
MARK ORR               PO BOX 476                                                                                ROANOKE           IN   46783‐0476
MARK OSBORN            722 MACDONALD AVE                                                                         FLINT             MI   48507‐2847
MARK OSBORNE           9079 SEAVER CT                                                                            GRAND BLANC       MI   48439‐8098
MARK OSHINSKI          12415 BOWENS MILL RD                                                                      WAYLAND           MI   49348‐9304
MARK OSHIYAMA          4908 PACES TRL APT 1115                                                                   ARLINGTON         TX   76017‐0834
MARK OSIER             4232 DEEP RIVER RD                                                                        STANDISH          MI   48658‐9449
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Name              Address1                            Address2                     Address3   Address4         City               State Zip
MARK OSMOND       1700 HIGHLAND AVE                                                                            JANESVILLE          WI 53548‐2829
MARK OSTARCHVIC   829 AETNA ST                                                                                 SALEM               OH 44460‐3854
MARK OSTIN        30 GERALD AVE                                                                                CLAWSON             MI 48017‐1932
MARK OUELLETTE    20519 FOXWORTH CIR                                                                           ESTERO              FL 33928‐4407
MARK OWEN         34238 ALCINA ST                                                                              CLINTON TWP         MI 48035‐5425
MARK OWENS        2713 WILLOWRIDGE DR                                                                          DAYTON              OH 45414‐2839
MARK OWSLEY       312 S COUNTY ROAD 200 E                                                                      KOKOMO              IN 46902
MARK P BRUNER     1830 SOMERS GRATIS RD                                                                        CAMDEN              OH 45311
MARK P BUDNIK     1297 S DYE RD                                                                                FLINT               MI 48532‐3317
MARK P CAMPBELL   6426 ST ALBAN CT                                                                             ARLINGTON           TX 76001‐7895
MARK P EDMISTON   1300 HOLLOW RUN APT 5                                                                        DAYTON              OH 45459
MARK P GIFALDI    2 CHIPPENBEN DR                                                                              HOLLEY              NY 14470
MARK P JOHNSON    323 SWALLOWTAIL CT                                                                           GRAND PRAIRIE       TX 75052‐4862
MARK P KRYNSKI    38524 CAPETOWN CT                                                                            CLINTON TWP         MI 48038‐3408
MARK P MILLER     PO BOX 14182                                                                                 SCOTTSDALE          AZ 85267
MARK P RAAD       915 KNAPP AVE                                                                                FLINT               MI 48503‐3053
MARK P RACE       1347 DAVIS ST                                                                                YPSILANTI           MI 48198‐5960
MARK P SPECTOR    60 SALEM RD                                                                                  TRUMBULL            CT 06611
MARK P SPRAGUE    110 BOSTON RD                                                                                SYRACUSE            NY 13211‐1614
MARK P TATARIAN   PO BOX 455                                                                                   CLIFFSIDE PARK      NJ 07010
MARK P WILSON     3930 W CHICAGO ST                                                                            CHANDLER            AZ 85226
MARK PAASCH       1549 52ND ST SW                                                                              WYOMING             MI 49509‐9737
MARK PADDIE       11175 RIDGEHAVEN DR                                                                          KEITHVILLE          LA 71047‐8703
MARK PAGE         3358 HAMMERBERG RD                                                                           FLINT               MI 48507‐3256
MARK PAINTER      3646 EGYPT RD                                                                                WILLARD             OH 44890‐9718
MARK PAJAKOWSKI   18248 SABINE DR                                                                              MACOMB              MI 48042‐6135
MARK PAJTAS       1029 N LINDEN RD                                                                             FLINT               MI 48532‐2340
MARK PALKOVIC     C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MARK PALMER       131 HAMPTON CT                                                                               LANSING             KS 66043‐1909
MARK PALMER       45962 MEADOW LN                                                                              MACOMB              MI 48044‐4181
MARK PALMERINO    2002 FOREST SIDE DR                                                                          ABERDEEN            MD 21001
MARK PALO         5104 SCHOOL ST                                                                               SWARTZ CREEK        MI 48473‐1221
MARK PANTER       4692 WOODLAND HILLS DR                                                                       ROCHESTER           MI 48306‐1772
MARK PANZARINO    260 CHERRY TREE SQ                                                                           FOREST HILL         MD 21050‐3090
MARK PAPOY        131 IKERD LN                                                                                 BEDFORD             IN 47421‐8741
MARK PARAG        325 THOMAS LANDING RD                                                                        MIDDLETOWN          DE 19709‐9563
MARK PARDO        5000 BISHOP LAKE RD APT A‐2                                                                  BRIGHTON            MI 48116‐5187
MARK PARENT       3364 CHURCH ST                                                                               SAGINAW             MI 48604‐2245
MARK PARENTEAU    4366 MORRISH RD                                                                              SWARTZ CREEK        MI 48473‐1321
MARK PARKER       12122 HOISINGTON RD                                                                          GAINES              MI 48436‐9608
MARK PARKER JR    4100 HICKORY ST                                                                              INKSTER             MI 48141‐2916
MARK PARKINS      PO BOX 95                           884 EAST KNIGHT ST                                       KNIGHTSVILLE        IN 47857‐0095
MARK PARKS        4666 FREEMAN RD                                                                              BEAVERTON           MI 48612‐9139
MARK PARLS        BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MARK PARTEE       16216 CULLEN RD                                                                              DEFIANCE            OH 43512‐8836
MARK PASCOE       40638 AUBURNDALE DR                                                                          STERLING HEIGHTS    MI 48313‐4100
MARK PASSICK      2871 OLD HICKORY LN                                                                          CHARLOTTE           MI 48813‐8370
MARK PATRICK      419 TAMPA DR                                                                                 NASHVILLE           TN 37211‐3521
MARK PATTON       1009 PERKINS LN                                                                              FRANKLIN            TN 37069‐4735
MARK PAWLICKI     3059 OAKSHIRE AVE                                                                            BERKLEY             MI 48072‐3805
MARK PAWLOWSKI    597 HITHERGREEN DR                                                                           LANSING             KS 66043‐1718
MARK PAYNE        599 JARED DR                                                                                 PONTIAC             MI 48342‐1987
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Name              Address1                            Address2                     Address3   Address4         City                 State Zip
MARK PAYNE        JOHNSTON COUNTY ATTORNEYÆS OFFICE   PO BOX 1049                                              SMITHFIELD            NC 27577‐1049

MARK PAYNE        1613 PRIMROSE                                                                                PERRY                OK   73077
MARK PAYNE        BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS           OH   44236
MARK PEARL        2181 LOCKPORT OLCOTT RD                                                                      BURT                 NY   14028‐9788
MARK PEARSON      7329 PINKYS TRL                                                                              SOUTH BRANCH         MI   48761‐9630
MARK PEARSON      500 N WALNUT ST APT 9H                                                                       EAST ORANGE          NJ   07017‐4013
MARK PECK         PO BOX 183                                                                                   ST REGIS FLS         NY   12980‐0183
MARK PECYNA       7741 OLD LOWER EAST HILL RD                                                                  COLDEN               NY   14033‐9739
MARK PEDDYCOART   12 POND LN                                                                                   RIDGE                NY   11961‐2602
MARK PERENCEVIC   251 WILDWOOD DR                                                                              YOUNGSTOWN           OH   44512‐3340
MARK PEREZ        10172 N JENNINGS RD                                                                          CLIO                 MI   48420‐1915
MARK PEREZ        357 NORMAN ST                                                                                CARO                 MI   48723‐1922
MARK PEREZ JR     4191 MCCARTY ROAD                   APT 19                                                   SAGINAW              MI   48603‐9314
MARK PERKINS      4484 GREENRIDGE WAY                                                                          NEW HAVEN            IN   46774‐1598
MARK PERKINS      19610 S 611 RD                                                                               FAIRLAND             OK   74343‐3149
MARK PERLICK      56902 MANOR CT                                                                               SHELBY TOWNSHIP      MI   48316‐4824
MARK PERRY        4992 POST RD                                                                                 NEWPORT              MI   48166‐9733
MARK PERRY        10398 FRANCES RD                                                                             FLUSHING             MI   48433‐9221
MARK PERSALL      9219 NICHOLS RD                                                                              MONTROSE             MI   48457‐9039
MARK PERSINGER    PO BOX 407                                                                                   MARBLEHEAD           OH   43440‐0407
MARK PERSON       3345 OAKHILL PL                                                                              CLARKSTON            MI   48348‐1050
MARK PERVINE      5242 SANDALWOOD CIR                                                                          GRAND BLANC          MI   48439‐4266
MARK PERWERTON    2894 SHANNON DR                                                                              OAKLAND              MI   48363‐2849
MARK PETERS       2818 FLINT RIVER RD                                                                          LAPEER               MI   48446‐9045
MARK PETERSON     776 CAMERON AVE                                                                              PONTIAC              MI   48340‐3206
MARK PETERSON     4509 REDWOOD ST                                                                              WINTER HAVEN         FL   33880‐1634
MARK PETRIMOULX   321 WILDER RD                                                                                BAY CITY             MI   48706‐9426
MARK PETROVICH    1900 ELMWOOD RD                                                                              LANSING              MI   48917‐1549
MARK PETTIGREW    334 FERNDALE PL                                                                              FLINT                MI   48503‐2348
MARK PETZ         4835 LORIN DR                                                                                SHELBY TOWNSHIP      MI   48316‐2247
MARK PFEIFFER     1400 BIRCH LEAF LN                                                                           ROCHESTER HILLS      MI   48309‐3718
MARK PFENNINGER   27975 QUAIL HOLLOW CT                                                                        FARMINGTON HILLS     MI   48331‐3355
MARK PFLUG
MARK PHALEN       9200 DAVISBURG RD                                                                            CLARKSTON            MI   48348‐4126
MARK PHELPS       3058 SKANDER DR                                                                              FLINT                MI   48504‐1243
MARK PHELPS       335 ORIOLE ST                                                                                LAPEER               MI   48446‐2306
MARK PHELPS       2316 DOUBLE BRANCH RD                                                                        COLUMBIA             TN   38401‐6170
MARK PHELPS       33758 NEWPORT DR                                                                             STERLING HTS         MI   48310‐5859
MARK PHILLIPS     1082 RIP STEELE RD                                                                           COLUMBIA             TN   38401‐7745
MARK PHILLIPS     2030 LA SALLE AVE                                                                            NIAGARA FALLS        NY   14301‐1332
MARK PICKELL      1200 WASHINGTON AVE                                                                          BAY CITY             MI   48708‐5756
MARK PICKER       14137 AUTUMN WOODS DRIVE                                                                     WESTFIELD            IN   46074‐8998
MARK PICKERING    2930 HARRINGTON RD                                                                           ROCHESTER HILLS      MI   48307‐4404
MARK PIECHOWICZ   10316 FLAT STONE LOOP                                                                        BONITA SPGS          FL   34135‐5030
MARK PIECZONKA
MARK PIENTAK      4245 WARRINGTON DR                                                                           WIXOM                MI   48393‐4408
MARK PIERCE       58140 JEWELL RD                                                                              WASHINGTON           MI   48094‐3095
MARK PIERONI      770 BEDFORD RD                                                                               GROSSE POINTE PARK   MI   48230‐1803
MARK PIETSCH      267 GOLFSIDE DR                                                                              OXFORD               MI   48371‐3565
MARK PIKE         7985 BROOKWOOD DR                                                                            CLARKSTON            MI   48348‐4471
MARK PIKE         7110 ALPINE AVE NW                                                                           COMSTOCK PARK        MI   49321‐9718
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Name                                Address1                       Address2              Address3         Address4         City              State Zip
MARK PINCINCE                       3324 PREAKNESS DR                                                                      FLOWER MOUND       TX 75028‐3983
MARK PINSKI                         2755 ARLETTA ST                                                                        TOLEDO             OH 43613‐2617
MARK PIOTROWSKI                     1408 GARTLAND AVE                                                                      JANESVILLE         WI 53548‐1575
MARK PIPER                          6258 N MCKINLEY RD                                                                     FLUSHING           MI 48433‐1167
MARK PIROCH                         128 N MAIN ST                                                                          AUSTINTOWN         OH 44515‐2806
MARK PIRTLE CHEVROLET, INC.         MARK PIRTLE                    2006 N MAIN ST                                          SHELBYVILLE        TN 37160‐2022
MARK PIRTLE CHEVROLET, INC.         2006 N MAIN ST                                                                         SHELBYVILLE        TN 37160‐2022
MARK PITTENGER                      3500 S FENTON RD                                                                       HOLLY              MI 48442‐8922
MARK PITTENGER                      800 MOUNT OLIVET RD                                                                    COLUMBIA           TN 38401‐6743
MARK PIZUR                          W147S7272 DURHAM CT                                                                    MUSKEGO            WI 53150‐3618
MARK PLEASANT                       8739 THORNWOOD CT                                                                      STERLING HTS       MI 48312‐3547
MARK PLOTKOWSKI                     55636 WASHINGTON DR                                                                    SHELBY TOWNSHIP    MI 48316‐1166
MARK POBOCIK                        7209 SPANISH WOOD DR                                                                   CORPUS CHRISTI     TX 78414‐6241
MARK PODULKA                        7808 IRISH RD                                                                          MILLINGTON         MI 48746‐9509
MARK POE                            PO BOX 15382                                                                           LENEXA             KS 66285‐5382
MARK POHL                           PO BOX 9022                    C/O ZURICH                                              WARREN             MI 48090‐9022
MARK POHL                           PO BOX 186                                                                             WESTPHALIA         MI 48894‐0186
MARK POHLMAN                        160 WESTCHESTER BLVD                                                                   BUFFALO            NY 14217‐1461
MARK POIRIER                        2873 HAGADORN RD                                                                       MASON              MI 48854‐9457
MARK POKOYOWAY                      2287 CAMILLA DR                                                                        TROY               MI 48083‐2305
MARK POLING                         158 WASHINGTON ST                                                                      KEYPORT            NJ 07735‐1034
MARK POLK                           5551 PRATT RD                                                                          LAPEER             MI 48446‐9740
MARK POLOVINA                       6291 E POTTER RD                                                                       DAVISON            MI 48423‐9584
MARK POPE                           7489 DRIFTWOOD DR                                                                      FENTON             MI 48430‐8957
MARK POPILEK                        4946 MENOMINEE LN                                                                      CLARKSTON          MI 48348‐2276
MARK POPOVICH                       30360 MARROCCO DR                                                                      WARREN             MI 48088‐5936
MARK POPRAC                         11255 COOLWATER DR                                                                     RIVERSIDE          CA 92505‐2229
MARK POPRAVSKY                      3952 SQUIRES PL                                                                        HOWELL             MI 48855‐6730
MARK PORRETTA                       55591 CRANBERRY DR                                                                     MACOMB             MI 48042‐1837
MARK PORTER                         1133 CADY ST                                                                           MAUMEE             OH 43537‐3127
MARK PORTER                         1343 S SUTTON ST                                                                       WESTLAND           MI 48186‐8067
MARK PORTER CHEVROLET CADILLAC PONT 308‐318 E MAIN                                                                         POMEROY            OH 45769

MARK PORTER CHEVROLET CADILLAC     308‐318 E MAIN                                                                          POMEROY           OH 45769
PONTIAC BUICK GMC
MARK PORTERFIELD                   1741 FM 731                                                                             BURLESON          TX   76028‐6341
MARK PORTHOUSE                     1012 BUSHWOOD DR                                                                        CANTONMENT        FL   32533‐6404
MARK POTTER                        11684 ELY RD                                                                            DAVISBURG         MI   48350‐1705
MARK POTTER                        28806 WINDING WOODS CIR                                                                 WRIGHT CITY       MO   63390‐3137
MARK POTTOROFF                     1903 E 300 S                                                                            GREENFIELD        IN   46140‐9276
MARK POWELL                        3420 ROCKLEDGE LN                                                                       LAPEER            MI   48446‐8737
MARK POWELL                        10501 E 126TH ST                                                                        FISHERS           IN   46038‐9030
MARK POWELL                        15024 CADILLAC DR                                                                       SHELBY TOWNSHIP   MI   48315‐2515
MARK POWERS                        1515 HUBBARD ST                                                                         GARDEN CITY       MI   48135‐1271
MARK POZZUTO                       5114 PHILLIPS RICE RD                                                                   CORTLAND          OH   44410‐9675
MARK PRATT                         2510 IVY HILL CIR UNIT C                                                                CORTLAND          OH   44410‐9372
MARK PRESCOTT                      8217 NORTH PORT                                                                         GRAND BLANC       MI   48439
MARK PRESLER                       11428 MASON DR                                                                          GRANT             MI   49327‐8658
MARK PRICE                         2618 W 41ST ST                                                                          ANDERSON          IN   46011‐5019
MARK PRICE                         31121 WINDSOR ST                                                                        WESTLAND          MI   48185‐2975
MARK PRILL                         7448 NATALIE DR                                                                         YPSILANTI         MI   48197‐6045
MARK PRINCE                        8145 W CENTERLINE RD                                                                    SAINT JOHNS       MI   48879‐9227
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Name                            Address1                       Address2              Address3         Address4         City               State Zip
MARK PRISBY                     70245 LOWE PLANK RD                                                                    RICHMOND            MI 48062‐5348
MARK PROBEN                     PO BOX 672                                                                             LAKELAND            MI 48143‐0672
MARK PRODUCTS ENTERPRISES LTD   ATTN: JOHN PAGANO              6493 RIDINGS RD                                         SYRACUSE            NY 13206‐1157
MARK PRONOVICH                  33511 MOUNTAIN VW                                                                      TRINIDAD            CO 81082‐3996
MARK PROVENCHER                 700 PLANTATION DR                                                                      SAGINAW             MI 48638‐7133
MARK PRUITT                     2111 NICHOLBY DR                                                                       WILMINGTON          DE 19808‐4230
MARK PSICIHULIS
MARK PUGH                       2033 SEYMOUR LAKE ROAD                                                                 ORTONVILLE         MI   48462‐9229
MARK PULFORD                    11459 PATTERSON LAKE DRIVE                                                             PINCKNEY           MI   48169‐9748
MARK PULICE                     1111 W GENEVA DR                                                                       DEWITT             MI   48820‐9530
MARK PULLOU                     13631 W DUNBAR RD                                                                      DUNDEE             MI   48131‐9799
MARK PUNG                       10166 VANBUREN RD                                                                      PORTLAND           MI   48875‐9417
MARK PURCELL                    109 EAGLE HAVEN DR                                                                     SUMMERTOWN         TN   38483‐3804
MARK PURCELL                    8465 N GLEANER RD                                                                      FREELAND           MI   48623‐9543
MARK PURCELL                    5406 E FARRAND RD                                                                      CLIO               MI   48420‐9167
MARK PURDY                      113 NANCY ST                                                                           GASSVILLE          AR   72635‐8524
MARK PURDY                      6720 BERGIN RD                                                                         HOWELL             MI   48843‐9037
MARK PUSEY                      123 S VAN RD                                                                           HOLLY              MI   48442‐9476
MARK PUSZCZAK                   6041 MEADOWBROOK DR                                                                    NORCROSS           GA   30093‐3729
MARK Q HUGHES                   2646 WHITNEY ST                                                                        DETROIT            MI   48206‐2337
MARK QUARTO                     34337 FONTANA DR                                                                       STERLING HEIGHTS   MI   48312‐5775
MARK QUILLEN                    6703 BILLINGS RD                                                                       CASTALIA           OH   44824‐9216
MARK QUINBY                     5133 ALVA AVE NW                                                                       WARREN             OH   44483‐1209
MARK QUINN                      337 CLAYTON MANOR DR                                                                   MIDDLETOWN         DE   19709‐8859
MARK R ALLEN JR                 1460 W LAKE RD                                                                         CLIO               MI   48420‐8800
MARK R ANDERSON                 209 DUNLOP AVE                                                                         TONAWANDA          NY   14150‐7839
MARK R BELL                     550 RASPBERRY PATCH DRIVE                                                              ROCHESTER          NY   14612‐5902
MARK R BENNETT                  6685 JAY RD                                                                            WEST MILTON        OH   45383
MARK R CHAPPLE                  524 PARKE CT                                                                           GRAND BLANC        MI   48439‐1552
MARK R CLARK                    294 WOODLAND RD                                                                        DAISYTOWN          PA   15427‐1104
MARK R CLARK                    1259 SANFORD                                                                           DAYTON             OH   45432
MARK R COLEMAN                  709 N EPPINGTON DR                                                                     DAYTON             OH   45426‐2519
MARK R COOPER                   9367 ARTZ RD                                                                           NEW CARLISLE       OH   45344
MARK R ECK                      179 NORWAY DRIVE                                                                       EATON              OH   45320‐2719
MARK R FRANCIS                  8280 MEADOWLARK DR                                                                     CARLISLE           OH   45005
MARK R FREY                     26 CANTON ST                                                                           ROCHESTER          NY   14606‐1946
MARK R GARABRANT                LYNNE A GARABRANT              33 CEDAR ST                                             AMITYVILLE         NY   11701
MARK R HAMILTON                 3336 QUAKER RD                                                                         GASPORT            NY   14067‐9469
MARK R HANNA                    2829 WHITE OAK DR.                                                                     DAYTON             OH   45420
MARK R HANSON                   16711 BRAMELL ST                                                                       DETROIT            MI   48219‐3705
MARK R HORN                     3101 ELISABETH ANNE TER                                                                MOORE              OK   73160‐7541
MARK R KOLB (IRA)               160 FREMONT AVE                                                                        PARK RIDGE         NJ   07656
MARK R LIPPS                    4013 EAST THIRD ST                                                                     DAYTON             OH   45403
MARK R LIPPS                    4013 E 3RD ST                                                                          DAYTON             OH   45403‐2241
MARK R MCDANIEL                 2213 RENSHAW AVE                                                                       DAYTON             OH   45439
MARK R MEEDS                    1454 WARDMIER DR.                                                                      DAYTON             OH   45459‐3352
MARK R MESSER                   3229 TYTUS AVE                                                                         MIDDLETOWN         OH   45042‐‐ 26
MARK R MONTGOMERY               12109 WOOD DUCK PL                                                                     TAMPA              FL   33617
MARK R NOSSAMAN                 4709 TRAPP DR                                                                          DEL CITY           OK   73115‐3839
MARK R PHILLIPS                 2030 LA SALLE AVE                                                                      NIAGARA FALLS      NY   14301‐1332
MARK R RAINBOLT                 11192 LAKE RD                                                                          OTISVILLE          MI   48463‐9716
MARK R RAINBOLT                 11192 LAKE ROAD                                                                        OTISVILLE          MI   48463‐9716
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Name                               Address1                          Address2                     Address3    Address4         City               State Zip
MARK R SEELEY                      606 ACORN DR                                                                                DAYTON              OH 45419
MARK R SMITH                       1604 N HILLS BLVD APT 4602                                                                  HURST               TX 76053‐7262
MARK R SMOOT                       7400 BROOKVILLE PHILLIPSBG RD                                                               BROOKVILLE          OH 45309
MARK R THOMPSON                    224 ROBERT QUIGLEY DRIVE          APT#2                                                     SCOTTSVILLE         NY 14546
MARK R TOHT                        7315 CENTER RD                                                                              WILMINGTON          OH 45177
MARK R TORNOW                      3524 GROVE PARK DRIVE                                                                       COLLEGE GROVE       TN 37046‐9195
MARK R TREVINO                     382 KANSAS AVE                                                                              YPSILANTI           MI 48198‐6027
MARK R WARNER                      5486 RT. 422                                                                                SOUTHINGTON         OH 44470
MARK R WEAVER                      P.O. BOX 15726                                                                              ROCHESTER           NY 14615‐0726
MARK R WILLIAMS
MARK R. HANSEN CHEVROLET‐GMC‐TRUCK MARK HANSEN                       805 S DES MOINES ST                                       ODEBOLT             IA   51458‐1017

MARK RAAB                           489 JASON PL APT B                                                                         BRICK              NJ    08724‐3055
MARK RAAD                           915 KNAPP AVE                                                                              FLINT              MI    48503‐3053
MARK RACE                           PO BOX 980753                                                                              YPSILANTI          MI    48198‐0753
MARK RADCLIFF                       C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS         OH    44236
MARK RADER                          1075 MEANDERING WAY                                                                        FRANKLIN           TN    37067‐4043
MARK RADLICKI                       2003 KINGSTON DR                                                                           PINCKNEY           MI    48169‐8550
MARK RADOSH                         7212 E DIEHL LAKE DR                                                                       BERLIN CENTER      OH    44401‐9659
MARK RAGLIN                         6515 FAIRWAY DR                                                                            JENISON            MI    49428‐9225
MARK RAINBOLT                       11192 LAKE RD                                                                              OTISVILLE          MI    48463‐9716
MARK RAINES                         218 CEDAR PARK DR                                                                          CENTERVILLE        TN    37033‐4158
MARK RAJDL                          29019 GETTYBURG ST                                                                         FARMINGTON HILLS   MI    48331
MARK RAJEWSKI                       2443 KOPKA CT                                                                              BAY CITY           MI    48708‐8167
MARK RALEIGH                        11002 GARRISON RD                                                                          DURAND             MI    48429‐9708
MARK RAMEY                          1508 LINDENWOOD DR                                                                         KOKOMO             IN    46902‐5814
MARK RAMOS                          5499 LIBERTY BELL RD                                                                       GRAND BLANC        MI    48439‐7700
MARK RAMSEY                         6989 OLD ZION RD                                                                           COLUMBIA           TN    38401‐6025
MARK RAMSEYER                       44764 FENWICK DR                                                                           CANTON             MI    48188‐3244
MARK RANDALL                        397 ROLLING GREEN CIR S                                                                    ROCHESTER HILLS    MI    48309‐1257
MARK RANDALL                        1809 SUSAN CT                                                                              FRANKLIN           TN    37064‐1137
MARK RANDOL                         2221 MARTHA LN                                                                             GREENWOOD          MO    64034‐9462
MARK RANKIN                         4498 IRVINGTON CT NE                                                                       ROSWELL            GA    30075‐5722
MARK RANSOME                        504 ROBINSON RD                                                                            CARNEYS POINT      NJ    08069‐2574
MARK RANVILLE                       9346 VARODELL DR                                                                           DAVISON            MI    48423‐8608
MARK RASH                           3564 YOUNG PL                                                                              LYNCHBURG          VA    24501‐5065
MARK RASSMAN                        12351 BUCKEYE DR                                                                           PAULDING           OH    45879‐8872
MARK RATZA                          13071 N CENTER RD                                                                          CLIO               MI    48420‐9120
MARK RAWLINSON                      782 MUIRFIELD CIR                                                                          BOWLING GREEN      KY    42104‐5548
MARK RAYBURN                        8305 FOREST COVE DR                                                                        SHREVEPORT         LA    71107‐9264
MARK RAYL                           3493 975 W                                                                                 SHIRLEY            IN    47384
MARK RAYMOND                        54 FREEDOM LN                                                                              MARTINSBURG        WV    25405‐6838
MARK READ                           15011 DIAMOND RD                                                                           VICTORVILLE        CA    92394‐9527
MARK READY                          2956 WESTBOROUGH DR                                                                        SAINT CHARLES      MO    63301‐4547
MARK REAM MOTORS, INC.              GERALD REAM                      401 E OKLAHOMA BLVD                                       ALVA               OK    73717‐3341
MARK REAM MOTORS, INC.              401 E OKLAHOMA BLVD                                                                        ALVA               OK    73717‐3341
MARK REAVES                         1 CLOCKTOWER PL APT 127                                                                    NASHUA             NH    03060‐3376
MARK REBBER                         PO BOX 44                                                                                  PAULDING           OH    45879‐0044
MARK RECKER                         11106 CROSSTREE CT                                                                         FORT WAYNE         IN    46814‐9045
MARK RECTOR                         5350 2 MILE RD                                                                             BAY CITY           MI    48706‐3038
MARK REDDEN                         2776 RIDGE RD                                                                              RANSOMVILLE        NY    14131‐9734
MARK REDENBACH                      161 BRENTWOOD DR                                                                           N TONAWANDA        NY    14120‐4820
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Name              Address1                        Address2                       Address3   Address4         City                 State Zip
MARK REDMOND      1506 APPLE CREEK TRL                                                                       GRAND BLANC           MI 48439‐4964
MARK REED         6873 AUBURN ST                                                                             DETROIT               MI 48228‐4924
MARK REESE        1611 CHRISTINE TER                                                                         MADISON HEIGHTS       MI 48071‐3876
MARK REHAHN       559 RAINBOW DR                                                                             EAST TAWAS            MI 48730‐9750
MARK REID         52 STONY ACRES DR                                                                          WEST CHAZY            NY 12992‐2551
MARK REILLY       9660 TERRY ST                                                                              PLYMOUTH              MI 48170‐4518
MARK REINHART     23220 RENSSELAER ST                                                                        OAK PARK              MI 48237‐2199
MARK REITER       PO BOX 1323                                                                                MARTHASVILLE          MO 63357‐8323
MARK REMINISKEY   29850 RIVERSIDE BAY CT                                                                     HARRISON TWP          MI 48045‐1794
MARK RENFORD      533 RAMONA ST                                                                              ROCHESTER             NY 14615‐3231
MARK RENFRO       8116 CAPTAIN MARY MILLER DR                                                                SHREVEPORT            LA 71115‐2981
MARK RENKIE       1880 E CENTERLINE RD                                                                       SAINT JOHNS           MI 48879‐9115
MARK RENO         15780 POWELL DR                                                                            CLINTON TWP           MI 48038‐1890
MARK RETCHER      4145 MISTY SHORES DR                                                                       DEFIANCE              OH 43512
MARK REUSS        PO BOX 9022                                                                                WARREN                MI 48090
MARK REYNOLDS     3940 CRESTHAVEN DR                                                                         WATERFORD             MI 48328‐4018
MARK REYNOLDS     1417 CAROLINE CT                                                                           COLUMBIA              TN 38401‐7350
MARK REYNOLDS     2667 W NORTH UNION RD                                                                      MIDLAND               MI 48642‐9262
MARK REYNOLDS     19429 SAWYER ST                                                                            DETROIT               MI 48228‐3329
MARK RHOADES      29 HOPI DR                                                                                 ELSBERRY              MO 63343‐3605
MARK RHODES       16987 ROSLYN AVE                                                                           ALLEN PARK            MI 48101‐3129
MARK RIASHI       872 BALFOUR ST                                                                             GROSSE POINTE PARK    MI 48230‐1814
MARK RICHARDS     1361 OREGON BLVD                                                                           WATERFORD             MI 48327‐3354
MARK RICHARDS     8478 E 1000 S                                                                              FAIRMOUNT             IN 46928‐9155
MARK RICHARDS     PO BOX 423                                                                                 NORFOLK               NY 13667‐0423
MARK RICHARDSON   13407 S 500 W                                                                              GALVESTON             IN 46932‐8505
MARK RICHARDSON   APT 2013                        3701 GRAPEVINE MILLS PARKWAY                               GRAPEVINE             TX 76051‐1932

MARK RICHISON     9249 SUE LN                                                                                SWARTZ CREEK         MI   48473‐8531
MARK RICHMOND     3204 QUICK RD                                                                              HOLLY                MI   48442‐2009
MARK RICHMOND     904 HOBSON DR                                                                              BUFFALO GROVE        IL   60089
MARK RICKEN       53089 HILLSBORO DR                                                                         CHESTERFIELD         MI   48051‐1792
MARK RIDENOUR     43 PLYMOUTH RD                                                                             BELLINGHAM           MA   02019‐1242
MARK RIDILLA      2233 SPRUCEWOOD DR                                                                         MANSFIELD            OH   44903‐9646
MARK RIEFE        1274 DURWOOD CT                                                                            BRIGHTON             MI   48116‐6760
MARK RIEGLE       15434 FOSTER ST                                                                            OVERLAND PARK        KS   66223‐2870
MARK RIEGSECKER   16856 HILL RD                                                                              DEFIANCE             OH   43512‐8927
MARK RIES         2325 SADLER ST                                                                             SANDUSKY             OH   44870‐4850
MARK RILEY        1019 CLAREMONT DR                                                                          COLUMBIA             TN   38401‐6211
MARK RINDLER      8070 TAYLORSVILLE RD                                                                       HUBER HEIGHTS        OH   45424‐6324
MARK RISELAY      PO BOX 5464                                                                                SAGINAW              MI   48503‐0464
MARK RITCHIE      5712 BEATTIE AVE                                                                           LOCKPORT             NY   14094‐6117
MARK RITTER       612 E HEATHER DR                                                                           BLOOMINGTON          IN   47401‐8155
MARK RITTER       20 OAKMONT CT                                                                              CLAYTON              NC   27527‐6602
MARK RIVERS       1060 SAY AVE                                                                               COLUMBUS             OH   43201‐3515
MARK ROAHRIG      PO BOX 183                                                                                 DANVILLE             IN   46122‐0183
MARK ROBERTS      12378 CREEKSIDE DR                                                                         CLIO                 MI   48420‐8227
MARK ROBERTS      498 COLLETT BRIDGE RD                                                                      ALVATON              KY   42122‐9675
MARK ROBERTS      4617 NE 144TH ST                                                                           SMITHVILLE           MO   64089‐9118
MARK ROBERTS      6344 E FROST ST                                                                            MESA                 AZ   85205‐5949
MARK ROBERTSON    4635 S REED RD                                                                             DURAND               MI   48429‐9713
MARK ROBERTSON    2848 BRIDGESTONE CIR                                                                       KOKOMO               IN   46902‐7008
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Name              Address1                        Address2             Address3         Address4         City              State Zip
MARK ROBINSON     5114 SADDLEBAG LAKE RD                                                                 LAKE WALES         FL 33898‐7110
MARK ROBINSON     18104 CHARTER OAKS                                                                     DAVISON            MI 48423‐3357
MARK ROBINSON     3710 EVELYN DR                                                                         WILMINGTON         DE 19808‐4617
MARK ROCHELEAU    2984 HUMMER LAKE RD                                                                    ORTONVILLE         MI 48462‐9789
MARK RODECKER     1216 GLASTONBURY WAY                                                                   BEL AIR            MD 21014‐3333
MARK RODGERS      1410 JERSEY ST                                                                         LAKE MILTON        OH 44429‐9684
MARK RODGERS      1203 CROSS DR                                                                          AUSTINTOWN         OH 44515‐3874
MARK ROE          38812 GRANDON ST                                                                       LIVONIA            MI 48150‐3381
MARK ROEBEN       422 RIDGE HILL PL                                                                      FORT WAYNE         IN 46804‐6451
MARK ROEHM        49287 ZOE DR                                                                           MACOMB             MI 48044‐1680
MARK ROEHRIG      3 MIRAVAL LN                                                                           DEFIANCE           OH 43512‐8641
MARK ROGERS       6911 NW 13TH ST APT 14C                                                                OKLAHOMA CITY      OK 73127‐3511
MARK ROGERS       11349 KINNEVILLE RD                                                                    EATON RAPIDS       MI 48827‐9764
MARK ROGERS       5900 E COUNTY ROAD 550 S                                                               MUNCIE             IN 47302‐8409
MARK ROGERS       4556 FITZGERALD AVE                                                                    AUSTINTOWN         OH 44515‐4427
MARK ROGERS       1027 WILLEMMA ST                                                                       LANSING            MI 48911‐4027
MARK ROGERS       55404 HEARTHSIDE DR                                                                    SHELBY TWP         MI 48316‐5326
MARK ROGIAN       2815 MACKINTOSH DR                                                                     JANESVILLE         WI 53548‐3234
MARK ROHEN        1318 CAROLINE CIR                                                                      FRANKLIN           TN 37064‐6738
MARK ROLAND       5437 E 200 N                                                                           GREENFIELD         IN 46140‐9443
MARK ROLLINSON    5837 POND HILL CT                                                                      HOWELL             MI 48843‐7134
MARK ROMINE       2080 CRABAPPLE DR                                                                      SHREVEPORT         LA 71118‐3954
MARK RONAN        739 BOSCO DR                                                                           LAKE ORION         MI 48362‐2101
MARK RONNING      1409 LINDY DR                                                                          LANSING            MI 48917‐8979
MARK ROOD         3238 W COOK RD                                                                         GRAND BLANC        MI 48439‐9359
MARK ROOME        4273 O BRIEN RD                                                                        VASSAR             MI 48768
MARK ROOT         3619 N CLINTON TRL                                                                     CHARLOTTE          MI 48813‐8671
MARK ROSCOE       52674 SEVEN OAKS DR                                                                    SHELBY TOWNSHIP    MI 48316‐2985
MARK ROSE         22606 INKSTER RD                                                                       ROMULUS            MI 48174‐9541
MARK ROSE JR      2201 SCHENLEY AVE                                                                      DAYTON             OH 45439‐3041
MARK ROSIEK       42288 GREENWOOD DR                                                                     CANTON             MI 48187‐3617
MARK ROSKA        7719 JANEL CT                                                                          INDIANAPOLIS       IN 46237‐9322
MARK ROSSETTO     344 CAMBRIDGE AVE                                                                      SOUTH LYON         MI 48178‐1502
MARK ROSSITER     1 EMS B37 LN LOT 64                                                                    WARSAW             IN 46582‐9715
MARK ROTH         5864 MOUNTAIN ASH DR                                                                   FARMINGTON         NY 14425‐9759
MARK ROTHWELL     2270 MAJOR LN                                                                          DAVISON            MI 48423‐2031
MARK ROUDEBUSH    1300 LEGAULT BLVD                                                                      ORTONVILLE         MI 48462‐9429
MARK ROWAN        4271 LAPEER RD                                                                         BURTON             MI 48509‐1805
MARK ROYCE        243 GREEN VALLEY RD                                                                    FLINT              MI 48506‐5317
MARK RUARK        1233 RAHN ST                                                                           WESTLAND           MI 48186‐7826
MARK RUBIS        2010 S FARRAGUT ST                                                                     BAY CITY           MI 48708‐3809
MARK RUBY         1200 W LAKE RD                                                                         CLIO               MI 48420‐8881
MARK RUDMAN       1000 TARPON CENTER DR APT 202                                                          VENICE             FL 34285‐1230
MARK RUDOWICZ     399 COUNTRYSIDE DR                                                                     BROADVIEW HTS      OH 44147‐3417
MARK RUEGSEGGER   2227 SATKOWIAK DR                                                                      BAY CITY           MI 48706‐9106
MARK RUESINK      315 BELLA VISTA DR                                                                     GRAND BLANC        MI 48439‐1506
MARK RUF          7529 LEDGEWOOD DR                                                                      FENTON             MI 48430‐9225
MARK RUGGLES      8740 FLOWER PL                                                                         ARVADA             CO 80005‐1564
MARK RUHLAND      1166 SHORE WAY CT SW                                                                   BYRON CENTER       MI 49315‐7925
MARK RUIZ         119 COUNTY ROAD 887                                                                    ETOWAH             TN 37331‐5016
MARK RUIZ         16216 HONNINGTON ST                                                                    WHITTIER           CA 90603‐1650
MARK RULE         1714 YOSEMITE BLVD                                                                     BIRMINGHAM         MI 48009‐5203
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Name                          Address1                        Address2                   Address3       Address4            City               State Zip
MARK RUNYON                   2451 TANDY DR                                                                                 FLINT               MI 48532‐4961
MARK RUSHIN                   10546 DEER LN                                                                                 PORTLAND            MI 48875‐9544
MARK RUSIE                    3304 N MEXICO RD                                                                              PERU                IN 46970‐9013
MARK RUSSELL                  202 KENSINGTON PL                                                                             FRANKLIN            TN 37067‐4416
MARK RUST                     2782 S 700 W                                                                                  PORTLAND            IN 47371‐7280
MARK RUTH                     2584 TORREY AVE                                                                               ANN ARBOR           MI 48108‐1341
MARK RUTKOWSKI                37101 NEVILLE ST                                                                              ROMULUS             MI 48174‐3966
MARK RUTTLE                   3686 IRONGATE CIR                                                         WINDSOR ON N8W5T4
                                                                                                        CANADA
MARK RYCHLINSKI               29017 FOREST HILL DR                                                                          FARMINGTON HILLS   MI   48331‐2442
MARK RYCKMAN                  9138 DUBLIN WAY                                                                               DAVISON            MI   48423‐8576
MARK S & JILL E KLIMA         2454 JALICE CIRCLE                                                                            STATE COLLEGE      PA   16801
MARK S BARCALOW               9436 DEARDOFF ROAD                                                                            FRANKLIN           OH   45005‐1470
MARK S BATTLE                 4807 STONEHEDGE STREET                                                                        TROTWOOD           OH   45426‐2107
MARK S BECKER                 3096 AVALON DR                                                                                FLINT              MI   48507‐3406
MARK S BLACKMON               301 CAROLYN LN.                                                                               GADSDEN            AL   35901
MARK S BRITTON                342 NORTHWOOD DR                                                                              TONAWANDA          NY   14223‐1110
MARK S BUGGS                  1112 W KNILANS RD                                                                             JANESVILLE         WI   53546
MARK S CAMPBELL               62 ANKARA AVE                                                                                 BROOKVILLE         OH   45308‐1208
MARK S CHARCHAN               2003 GROVE STREET RD                                                                          STANDISH           MI   48658‐9112
MARK S CRARY                  P O BOX 365                                                                                   FRANKLIN           OH   45005
MARK S DECAMP                 6956 BROOKVILLE SALEM RD                                                                      BROOKVILLE         OH   45309‐9239
MARK S DEMARS                 P.O. BOX 14                                                                                   CANISTEO           NY   14823
MARK S DUFFEY                 529 MARTHA DRIVE                                                                              FRANKLIN           OH   45005‐2124
MARK S ELLIS                  PO BOX 653                                                                                    HIGHLAND           MI   48357‐0653
MARK S FLOWERS                579 WELLINGTON DR                                                                             SOUTH LYON         MI   48178‐1248
MARK S GILBERT                174 MILFORD ST BLDG 13 #13                                                                    ROCHESTER          NY   14615‐1816
MARK S GRAFFEO                153 COLTS NECK RD.                                                                            FARMINGDALE        NJ   07727‐3638
MARK S GRIM                   4460 ALLEGHANY TRL                                                                            JAMESTOWN          OH   45335‐1206
MARK S HAGGARD                1539 ALMEDIA CT                 APT 24                                                        MIAMISBURG         OH   45342‐2649
MARK S JUHNKE                 891 PEMBROKE DR                                                                               WHITE LAKE         MI   48386
MARK S KALISH                 7937 RT. 45 N.W.                                                                              N. BLOOMFIELD      OH   44450
MARK S KAZAK                  200 RIDGEMONT DR                                                                              ROCHESTER          NY   14626‐3410
MARK S LAMB                   6332 WEIDNER RD                                                                               SPRINGBORO         OH   45066
MARK S LANEY                  3960 LAKE RD                                                                                  BROCKPORT          NY   14420‐1422
MARK S LIELL                  4865 GENESEE RD                                                                               LAPEER             MI   48446‐3633
MARK S MATLINGA               111 S BASSETT RD                                                                              LAPEER             MI   48446‐2833
MARK S MIETH                  908 NIAGARA FALLS BLVD SUITE                                                                  NORTH TONAWANDA    NY   14120
MARK S MULLINS                2960 RIDGE AVE                                                                                DAYTON             OH   45414
MARK S NEFF                   59 FARMERSVILLE PIKE                                                                          GERMANTOWN         OH   45327‐1026
MARK S NEWMAN                 748 KREITZER DR                                                                               NEW LEBANON        OH   45345‐9622
MARK S NORMAN & ASSOC         VALLEY FORGE TOWERS 140         2000 VALLEY FORGE CIRCLE                                      KING OF PRUSSIA    PA   19406
MARK S NORMAN AND ASSOC INC   744 OFFICE PARKWAY SUITE 240                                                                  SAINT LOUIS        MO   63141
MARK S NORRIS                 104 NORTHMOOR DRIVE                                                                           ARCANUM            OH   45304‐1415
MARK S PALMER                 131 HAMPTON CT                                                                                LANSING            KS   66043‐1909
MARK S RIDENOUR               PO BOX 17                                                                                     BELLINGHAM         MA   02019‐0017
MARK S ROE                    1015 BEACON ST                                                                                SPRINGFIELD        OH   45505
MARK S RUSSELL                202 KENSINGTON PL                                                                             FRANKLIN           TN   37067‐4416
MARK S RYCKMAN                NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPT         205 LINDA DR                       DAINGERFIELD       TX   75638
MARK S SANDERS                1262 DAVIS ST                                                                                 YPSILANTI          MI   48198‐5910
MARK S SHAFER                 21975 LEYTE ST                                                                                FARMINGTON HILLS   MI   48336‐6040
MARK S STEFFENS               2441 GRIFFITH DR                                                                              CORTLAND           OH   44410‐9656
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Name                        Address1                         Address2              Address3         Address4         City              State Zip
MARK S SUSCO                508 CRAWFORD ST                                                                          MIDDLETOWN         OH 45044
MARK S TANNER               PO BOX 241                                                                               VALLEY PARK        MO 63088‐0241
MARK S WAGGONER             5662 HARSHMANVILLE ROAD                                                                  HUBER HEIGHTS      OH 45424
MARK S WALLACH TRUSTEE IN   PERFORMANCE TRANSPORTATION       169 DELAWARE AVENUE                                     BUFFALO            NY 14202
BANKRUPTCY OF               SERVICES INC
MARK S WALTKO               2066 VERNON AVE NW                                                                       WARREN            OH   44483
MARK S WILDER               11151 S MORRICE RD                                                                       MORRICE           MI   48857‐9787
MARK S WILLIS               5606 RICE DR                                                                             HUBER HEIGHTS     OH   45424
MARK S WILSON               PO BOX 19470                                                                             SHREVEPORT        LA   71149‐0470
MARK SABATINO               2235 SOUTHEAST BLVD                                                                      SALEM             OH   44460‐3415
MARK SABOV                  736 HOLLY RD                                                                             CADILLAC          MI   49601‐2422
MARK SALI                   8572 S LUCE RD                                                                           PERRINTON         MI   48871‐9725
MARK SALTER                 8176 N CLIO RD                                                                           MOUNT MORRIS      MI   48458‐8246
MARK SALWASSER
MARK SAMADZADEH             PO BOX 88912                                                                             ATLANTA           GA 30356‐8912
MARK SAMAN                  700 HOLGATE AVE                                                                          DEFIANCE          OH 43512‐2040
MARK SAMPICA
MARK SAMUELSON              2486 BOWMAN RD                                                                           IMLAY CITY        MI   48444‐9613
MARK SANDERS                311 HORACE                                                                               PERRY             MI   48872‐9108
MARK SANTISTEVAN            1704 CATHAM LN                                                                           SPARKS            NV   89434‐6740
MARK SARGENT                2148 LANCELOT DR                                                                         N HUNTINGDON      PA   15642‐4418
MARK SARPY                  8563 BROOKSTONE DR                                                                       GREENWOOD         LA   71033‐3001
MARK SASEK                  13225 LAKE SHORE DRIVE                                                                   FENTON            MI   48430‐1019
MARK SATKOWIAK              3090 1/2 N EUCLID AVE                                                                    BAY CITY          MI   48706‐1310
MARK SATTERFIELD            5056 WEATHERSTONE DR                                                                     BUFORD            GA   30519‐1986
MARK SAUER                  43 ESTONIA DRIVE                                                                         NEW LABANON       OH   45345
MARK SAWYERS                8402 S BALDWIN RD                                                                        ASHLEY            MI   48806‐9736
MARK SAXE                   711 TUDOR DR                                                                             JANESVILLE        WI   53546‐2002
MARK SAXTON                 11151 LAKESIDE DR                                                                        PERRINTON         MI   48871‐9616
MARK SAYK                   13618 S 37TH PL                                                                          PHOENIX           AZ   85044‐4561
MARK SCAFURI                2604 CEDAR KEY DR                                                                        LAKE ORION        MI   48360‐1826
MARK SCHAAPVELD             11502 N BRYANT RD                                                                        FORT ATKINSON     WI   53538‐9214
MARK SCHAEFER               3781 SMITH CT                                                                            STERLING HTS      MI   48310‐5333
MARK SCHAEFER               6131 S 19TH CT                                                                           MILWAUKEE         WI   53221‐5047
MARK SCHAEFER               11838 STATE HWY 68                                                                       NEW ULM           MA   56073
MARK SCHAFER                617 N MERCANTILE ST                                                                      CARSON CITY       MI   48811‐9612
MARK SCHAFER                230 RIVER ISLE                                                                           BRADENTON         FL   34208‐9076
MARK SCHAFER                7436 WALKERS LN                                                                          POTTERVILLE       MI   48876‐8797
MARK SCHAFRICK              6 DUNLAP CIR                                                                             OXFORD            MI   48371‐5206
MARK SCHANG                 906 MEADOWBROOK WAY                                                                      MILFORD           MI   48381‐2671
MARK SCHEPLER               3303 N KREPPS RD                                                                         SAINT JOHNS       MI   48879‐8025
MARK SCHEPLER I I           8612 HUCKLEBERRY LN                                                                      LANSING           MI   48917‐8805
MARK SCHERZER               18511 W BURT RD                                                                          BRANT             MI   48614‐9719
MARK SCHEUER                5221 PAWNEE RD                                                                           TOLEDO            OH   43613‐2417
MARK SCHIKORRA              1774 HALL ST                                                                             HOLT              MI   48842‐1710
MARK SCHINDLER              5275 MILLINGTON RD                                                                       MILLINGTON        MI   48746‐9537
MARK SCHINDLER              813 RIDGE RD                                                                             LAWRENCEVILLE     GA   30043‐3753
MARK SCHIPPER
MARK SCHLAUD                4941 LAKE PLEASANT RD                                                                    NORTH BRANCH      MI   48461‐8569
MARK SCHLOTHAUER            9937 HARFORD RD                                                                          PARKVILLE         MD   21234‐1205
MARK SCHLUENTZ              22 WESTWOOD DR                                                                           E ROCHESTER       NY   14445‐1646
MARK SCHMANSKY              1529 COLONY DR                                                                           ROCHESTER HILLS   MI   48307‐3404
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Name                    Address1                         Address2                       Address3   Address4         City               State Zip
MARK SCHMIERBACH        11149 BLATTNER RD                                                                           WRIGHT CITY         MO 63390‐4629
MARK SCHMITT            PO BOX 173                                                                                  HUBBARDSTON         MI 48845‐0173
MARK SCHNEIDER          2101 SUNSET LN                                                                              SAGINAW             MI 48604‐2443
MARK SCHNEIDER          241 PARK DR                                                                                 CLAWSON             MI 48017‐1215
MARK SCHNELL            2658 PARAMOUNT CIR                                                                          WESTFIELD           IN 46074‐4400
MARK SCHNIPKE           PO BOX 253                       407 BRADFORD CT.                                           OTTOVILLE           OH 45876‐0253
MARK SCHOEN             41381 CLAIRPOINTE ST                                                                        HARRISON TWP        MI 48045‐5916
MARK SCHOLS CHEVROLET   200 KELLER ST                                                                               MANCHESTER          NH 03103‐3201
MARK SCHOLTEN           3904 ACADIA DR                                                                              LAKE ORION          MI 48360‐2721
MARK SCHRAM             28540 FOREST DALE ST                                                                        ROMULUS             MI 48174‐3048
MARK SCHROEDER          6028 PINE KNOB RD                                                                           CLARKSTON           MI 48348‐5131
MARK SCHUCK             4611 W 400 S                                                                                HUNTINGTON          IN 46750‐9164
MARK SCHULTE            4657 REMEMBRANCE RD NW                                                                      WALKER              MI 49534‐1174
MARK SCHULTZ            2578 HILLTOP LN                                                                             HOWELL              MI 48843‐6766
MARK SCHULTZ            4523 GERBER DR                                                                              FREDERICKSBRG       VA 22408‐2953
MARK SCHULTZ            11717 BROOKSHIRE ST                                                                         TEMPERANCE          MI 48182‐9611
MARK SCHUMACHER         1201 E TIMBER PKWY                                                                          MILTON              WI 53563‐9429
MARK SCHWAB             1815 LOWELL AVE                                                                             ANDERSON            IN 46011‐2127
MARK SCHWAGER           403 S MASON ST                                                                              SAGINAW             MI 48602‐2351
MARK SCHWARCK           5225 HOSPITAL RD                                                                            SAGINAW             MI 48603‐9626
MARK SCHWARZ            485 MADISON AVE ‐ 13FL                                                                      NEW YORK            NY 10022
MARK SCHWARZKOFF        48765 VILLA DIORO CIR                                                                       SHELBY TWP          MI 48315‐4141
MARK SCHWIDERSON        5323 CROWFOOT DR                                                                            TROY                MI 48085‐4099
MARK SCOTT              52477 PAPPY LN                                                                              SHELBY TOWNSHIP     MI 48316‐3070
MARK SCOTT              1602 SE OAK ST                                                                              OAK GROVE           MO 64075‐9419
MARK SCOTT RUDERMAN     121 34TH ST                                                                                 MANHATTAN BEACH     CA 90266
MARK SCRIBNER           C/O COONEY AND CONWAY            120 NORTH LASALLE 30TH FLOOR                               CHICAGO              IL 60602
MARK SEALS              500 LADD CIR                                                                                MOORE               OK 73160‐6132
MARK SEASE              KELLER, FISHBACK & JACKSON LLP   18425 BURBANK BLVD, STE 610                                TARZANA             CA 91356
MARK SEATON             3844 NORMANWOOD                                                                             WEST BLOOMFIELD     MI 48323‐1632
MARK SEBALD             15339 MCKEIGHAN RD                                                                          CHESANING           MI 48616‐9414
MARK SECREST            325 TRENTON RD                                                                              FAIRLESS HLS        PA 19030‐2803
MARK SEDLAR             4115 SHATTUCK RD                                                                            SAGINAW             MI 48603‐3063
MARK SEELYE             6229 HESS RD                                                                                VASSAR              MI 48768‐9233
MARK SEIDL              1502 NORMANDY RD APT 214                                                                    ROYAL OAK           MI 48073‐2472
MARK SEIFERT            8558 GLEN HAVEN DR                                                                          HOWELL              MI 48843‐8114
MARK SEILER             780 HAWKSMOORE DR                                                                           CLARKSTON           MI 48348‐3630
MARK SEIPEL             50587 HILLSIDE DR                                                                           MACOMB              MI 48044‐1225
MARK SELOGIE            136 VIA LOS MIRADORES                                                                       REDONDO BEACH       CA 90277‐5428
MARK SEMPRICH           210 W CAYUGA TRL                                                                            SANDUSKY            OH 44870‐6218
MARK SENCZYSZYN         4451 TIMBERLAKE TRL                                                                         HIGHLAND            MI 48357‐2418
MARK SENGER             1390 N STEWART RD                                                                           MANSFIELD           OH 44903‐9786
MARK SERVIES            13425 SUMAC RD                                                                              SOUTH LYON          MI 48178‐8114
MARK SESNY              8060 DRIFTWOOD DR                                                                           FENTON              MI 48430‐8961
MARK SEWELL             7 HARDING RD                                                                                LEOMA               TN 38468‐5152
MARK SHAFER             21975 LEYTE ST                                                                              FARMINGTON HILLS    MI 48336‐6040
MARK SHAFER             2374 WHITEFIELD DR                                                                          WOODBURY            MN 55125‐3530
MARK SHAFFER            1705 AURELIUS RD                                                                            HOLT                MI 48842‐1919
MARK SHANKS             44 CHEROKEE RD                                                                              PONTIAC             MI 48341‐1500
MARK SHAPIRO/FRM HLL    34686 VALLEY FORGE DR                                                                       FARMINGTON HILLS    MI 48331‐3206
MARK SHAW
MARK SHAW               2706 EVERGREEN DR                                                                           BAY CITY           MI 48706‐6313
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Name             Address1                        Address2                     Address3   Address4         City               State Zip
MARK SHEARER     30110 FINK AVE                                                                           FARMINGTON HILLS    MI 48336‐3414
MARK SHEDRON     BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MARK SHELDON     3550 DIVINE HWY                                                                          LYONS               MI 48851‐9769
MARK SHELL       230 SCHWARZKOPF ST                                                                       BOWLING GREEN       KY 42104‐0346
MARK SHELL       20381 FOXWORTH CIR                                                                       ESTERO              FL 33928‐4414
MARK SHELP       12433 BECK RD                                                                            BELLEVILLE          MI 48111‐2222
MARK SHENKEL     PO BOX 215                                                                               PIONEER             OH 43554‐0215
MARK SHERMAN     3608 HUGGINS AVE                                                                         FLINT               MI 48506‐2604
MARK SHERMAN     9331 WHITE LAKE RD                                                                       FENTON              MI 48430‐8727
MARK SHERRARD    1906 COVINGTON DR                                                                        ANN ARBOR           MI 48103‐5618
MARK SHERWOOD    12720 EASTON ST NE                                                                       ALLIANCE            OH 44601‐8157
MARK SHIELDS     8488 S RISER DR                                                                          NINEVEH             IN 46164‐9744
MARK SHILAKES    156 MINOT ST                                                                             ROMEO               MI 48065‐4627
MARK SHIMER      201 MALL DR S APT 73                                                                     LANSING             MI 48917‐2559
MARK SHINKLE     971 RIVERVIEW CT                                                                         XENIA               OH 45385‐9583
MARK SHIRLEY     134 MEADOW LN                                                                            RANGER              GA 30734‐6009
MARK SHOEMAKER   4862 BIRKDALE DR                                                                         COMMERCE TWP        MI 48382‐1581
MARK SHOEWE      BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MARK SHOLY       56396 CROMWELL CT                                                                        SHELBY TWP          MI 48316‐4872
MARK SHOMSKY     1687 DAKOTA PL                                                                           DEFIANCE            OH 43512‐3697
MARK SHORT       720 SALLY Z CT                                                                           ORTONVILLE          MI 48462‐8571
MARK SHORTER     1221 N WARREN AVE                                                                        OKLAHOMA CITY       OK 73107‐5051
MARK SHUDE       5372 FOREST RIDGE DR                                                                     CLARKSTON           MI 48346‐3479
MARK SIBILSKY    1312 HORSESHOE DR                                                                        LEWISBURG           TN 37091‐6906
MARK SIEBER      9250 WOLCOTT RD                                                                          CLARENCE CENTER     NY 14032‐9126
MARK SILOREY     38388 HURON POINTE DR                                                                    HARRISON TWP        MI 48045‐2837
MARK SILVA       18224 CRESTVIEW CIR                                                                      HOLT                MO 64048‐8105
MARK SILVEY      6405 N STATE RD                                                                          DAVISON             MI 48423‐9323
MARK SIMANCEK    2294 PEPPERMILL CT                                                                       HARTLAND            MI 48353‐3146
MARK SIME        2818 QUEBEC LN                                                                           JANESVILLE          WI 53545‐0630
MARK SIMISON     440 W INDIANA AVE                                                                        UPLAND              IN 46989‐9119
MARK SIMMONS     181 8TH ST                                                                               PLAINWELL           MI 49080‐9724
MARK SIMNER      101 SALEM RD                                                                             TRUMBULL            CT 06611‐1260
MARK SIMON       513 KEARNEY ST                                                                           PORTLAND            MI 48875‐1555
MARK SIMON       3313 RADFORD DR                                                                          LANSING             MI 48911‐4449
MARK SIMON       PO BOX 117                      425 N STATE ST                                           PEWAMO              MI 48873‐0117
MARK SIMON       414 N LOGAN ST                                                                           DEWITT              MI 48820‐8965
MARK SIMON       3407 N KREPPS RD                                                                         SAINT JOHNS         MI 48879‐8025
MARK SIMS        6137 TREE LINE DR                                                                        GRAND BLANC         MI 48439‐9789
MARK SINE        4139 RAY RD                                                                              GRAND BLANC         MI 48439‐9382
MARK SINGER MD   2237 HIDDEN FOREST DR                                                                    TROY                MI 48098‐5371
MARK SISK        337 W ROSE CITY RD                                                                       ROSE CITY           MI 48654‐9670
MARK SITARSKI    1126 BARBEAU DR                                                                          SAGINAW             MI 48638‐5401
MARK SIZEMORE    37 BULL RD                                                                               NEW LEBANON         OH 45345‐9252
MARK SKAGGS      1168 MEADOW LN                                                                           GRAND ISLAND        NY 14072‐2100
MARK SKAGGS      4135 SHERATON DR                                                                         FLINT               MI 48532‐3556
MARK SKIDMORE    382 GRANGE HALL RD                                                                       ORTONVILLE          MI 48462‐8840
MARK SKINNER     395 BLOWING SPRINGS RD                                                                   HARTSELLE           AL 35640‐7811
MARK SLADE       8618 HAVEN ST                                                                            MOUNT MORRIS        MI 48458‐1327
MARK SLATE       1717 WINDSOR LN                                                                          LIBERTY             MO 64068‐3241
MARK SLOAN       PO BOX 9022                     C/O ADAM OPEL IPC 32‐05                                  WARREN              MI 48090‐9022
MARK SLOAT       313 ROSEWOOD DR                                                                          JANESVILLE          WI 53548‐3355
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Name                           Address1                              Address2               Address3   Address4         City                  State Zip
MARK SLUTSKY                   RR 1 BOX 77                                                                              COUSHATTA              LA 71019‐9130
MARK SMAIL                     48317 STATE ROUTE 14                                                                     NEW WATERFORD          OH 44445‐9733
MARK SMALL                     13139 STONEGATE DR APT 6                                                                 STERLING HEIGHTS       MI 48312‐6424
MARK SMALLEY                   1111 BARBEAU DR                                                                          SAGINAW                MI 48638‐5402
MARK SMEAD                     3312 TRAIL ON RD                                                                         MORAINE                OH 45439‐1146
MARK SMELTZER                  13370 BALDWIN RD                                                                         CHESANING              MI 48616‐9593
MARK SMITH                     44 WILLOW WAY                                                                            WATERFORD              MI 48328‐2946
MARK SMITH                     491 HAMILTON RD                                                                          COCHRANVILLE           PA 19330‐1808
MARK SMITH                     509 LIAS WAY                                                                             WENTZVILLE             MO 63385‐3180
MARK SMITH                     10991 LOOKING GLASS AVE                                                                  PORTLAND               MI 48875‐9467
MARK SMITH                     16620 S GRANGE RD                                                                        GRAND LEDGE            MI 48837‐9641
MARK SMITH                     PO BOX 46939                                                                             KANSAS CITY            MO 64188‐6939
MARK SMITH                     1794 ALINE DR                                                                            GROSSE POINTE WOODS    MI 48236‐1004
MARK SMITH                     990 LOGAN ST APT 803                                                                     DENVER                 CO 80203‐3029
MARK SMITH                     10144 LASALLE BLVD                                                                       HUNTINGTON WOODS       MI 48070‐1162
MARK SMITH                     PO BOX 77                                                                                VERNON                 MI 48476‐0077
MARK SMITH                     6900 THUNDERBIRD DR                                                                      ARLINGTON              TX 76002‐3461
MARK SMITH                     1604 N HILLS BLVD APT 4602                                                               HURST                  TX 76053‐7262
MARK SMITH                     8410 HAMBURG RD                                                                          BRIGHTON               MI 48116‐5224
MARK SMITH                     8518 MORRISH RD                                                                          FLUSHING               MI 48433‐8851
MARK SMITH                     2225 N IVA RD                                                                            HEMLOCK                MI 48626‐9678
MARK SMITH                     291 DOE LN                                                                               MOUNT VERNON           KY 40456‐6893
MARK SMITH                     315 N LEBANON ST APT 305                                                                 LEBANON                IN 46052‐2172
MARK SMITH                     8001 RICHLAND AVE                                                                        KANSAS CITY            KS 66111‐3036
MARK SMITH                     7979 HIGHWAY 1                                                                           SHREVEPORT             LA 71107‐8150
MARK SMITH                     545 MOOMAW RD                                                                            CLARKSVILLE            OH 45113‐8242
MARK SMITH                     PEARL STREET, 181                                                                        SAN DIEGO              CA 12038
MARK SMITH                     14187 EASTVIEW DR                                                                        FENTON                 MI 48430‐1303
MARK SMITH I I                 6171 BERT KOUNS INDUSTRIAL LOOP APT                                                      SHREVEPORT             LA 71129
                               L105
MARK SMITH, GA DEPARTMENT OF   ENVIRONMENTAL PROTECTION DIVISION     205 BUTLER STREET SE                               ATLANTA               GA 30334
ENVIRONMENTAL QUALITY
MARK SNEDEGAR                  28580 STARR ROUTE RD                                                                     LOGAN                 OH   43138‐8523
MARK SNOWDEN                   537 BLOOMER RIDGE DR                                                                     ROCHESTER             MI   48307‐2270
MARK SNYDER                    3330 WHALEN AVE                                                                          INDIANAPOLIS          IN   46227‐8764
MARK SNYDER                    292 WREXHAM CT N                                                                         TONAWANDA             NY   14150‐8812
MARK SOAVE                     52579 TURNBURY CT                                                                        SHELBY TOWNSHIP       MI   48315‐2441
MARK SOBCZAK                   1815 6TH ST                                                                              BAY CITY              MI   48708‐6720
MARK SOBCZYNSKI                32763 TUXEDO CT                                                                          WARREN                MI   48092‐1126
MARK SOCIA                     5108 WINSHALL DR                                                                         SWARTZ CREEK          MI   48473‐1223
MARK SOKOL                     111 1/2 N PENDLETON AVE                                                                  PENDLETON             IN   46064‐1023
MARK SOLAK                     13125 FEIGHNER RD                                                                        ROANOKE               IN   46783‐9631
MARK SOLDOLSKI                 15 CEDAR RUN LN APT 11                                                                   LAKE ST LOUIS         MO   63367‐2719
MARK SOLIE                     5000 PONDSEDGE LN                                                                        PRIOR LAKE            MN   55372‐3461
MARK SOLSMAN                   PO BOX 125                                                                               SOUTH LEBANON         OH   45065‐0125
MARK SOUTH                     5546 DURWOOD RD                                                                          DAYTON                OH   45429‐5904
MARK SOWERS                    534 BELLEVUE AVENUE                                                                      LAKE ORION            MI   48362‐2712
MARK SOWULEWSKI                11907 BERRY RD                                                                           BLISSFIELD            MI   49228‐9502
MARK SPALDING                  1135 JAY AVE                                                                             YPSILANTI             MI   48198‐6462
MARK SPANGENBERG               8778 BRAVE RD                                                                            HOWARD CITY           MI   49329‐9170
MARK SPANGLER                  1126 MACARTHUR DR                                                                        JANESVILLE            WI   53548‐1411
MARK SPARKS                    6438 E PIERSON RD                                                                        FLINT                 MI   48506‐2258
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Name                   Address1                        Address2                     Address3   Address4         City               State Zip
MARK SPAULDING         BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MARK SPENCE            PO BOX 156                                                                               GAINES              MI 48436‐0156
MARK SPENCE            PO BOX 395                                                                               HASLETT             MI 48840
MARK SPENCER           4766 BELL OAK RD                                                                         WILLIAMSTON         MI 48895‐9551
MARK SPENCER           4232 HEATHERWOOD DR                                                                      MILFORD             MI 48381‐1465
MARK SPICER            3066 RED BARN RD                                                                         FLINT               MI 48507‐1252
MARK SPIELMAKER        9502 TIMBER RIDGE DR                                                                     GRAND BLANC         MI 48439‐7380
MARK SPOELMAN          12434 EAST LAKETON                                                                       RAVENNA             MI 49451
MARK SPOHN             8131 DIANE DR                                                                            PORTLAND            MI 48875‐9791
MARK SPROUL
MARK SPRY              22145 UPPER FORT HAMPTON RD                                                              ELKMONT            AL   35620‐4539
MARK SPURR             11S440 DOWNERS DR                                                                        LEMONT             IL   60439‐9611
MARK SPUSTACK          251 N MACKINAW RD                                                                        LINWOOD            MI   48634‐9444
MARK ST AMOUR          2007 E LINCOLN AVE                                                                       ROYAL OAK          MI   48067‐4025
MARK STABINSKY         368 BRACKEN CT                                                                           TROY               MI   48098‐4691
MARK STAFFORD          1112 AMBERTON LN                                                                         NEWBURY PARK       CA   91320‐3548
MARK STAHL             440 N SASHABAW RD                                                                        ORTONVILLE         MI   48462‐9141
MARK STAMBAUGH         13930 SUNFIELD HWY                                                                       LAKE ODESSA        MI   48849‐8502
MARK STANEK            1715 S ARCH ST                                                                           JANESVILLE         WI   53546‐5736
MARK STANKOVICH        4 RIDGE RD N                                                                             MANSFIELD          OH   44905‐3040
MARK STANKUS           52684 ANTLER DR                                                                          MACOMB             MI   48042‐3409
MARK STANLEY           5465 ACADEMY ST                                                                          DEARBORN HTS       MI   48125‐2302
MARK STANLEY           1204 HILLSIDE AVENUE                                                                     HENRICO            VA   23229‐5920
MARK STARIN            225 CHARTERHOUSE DR                                                                      CANTON             MI   48188‐1521
MARK STARK             3363 STONY POINT RD                                                                      GRAND ISLAND       NY   14072‐1152
MARK STARLING          22 LA GORCE BLVD                                                                         BURLINGTON         NJ   08016‐2968
MARK STAUBITZ          8879 BRADLEY RD                                                                          GASPORT            NY   14067‐9446
MARK STEBBINS          427 WADSWORTH LN                                                                         BLOOMFIELD HILLS   MI   48301‐3349
MARK STECHSCHULTE      21110 ROAD 18S                                                                           FORT JENNINGS      OH   45844‐8959
MARK STEELE            2948 NEWTON FALLS RD                                                                     NEWTON FALLS       OH   44444‐9603
MARK STEFAN            12364 HOISINGTON RD                                                                      GAINES             MI   48436‐9778
MARK STEFFEK           9530 SAGINAW ST                                                                          REESE              MI   48757‐9201
MARK STEFFEN           4308 MAIZE AVE                                                                           SWARTZ CREEK       MI   48473‐8216
MARK STEFFKA           1226 HEREFORD CT                                                                         CANTON             MI   48187‐4676
MARK STEINER           10350 BALD HILL ST                                                                       THREE RIVERS       MI   49093‐9401
MARK STEINKE           1469 S OAKHILL AVE                                                                       JANESVILLE         WI   53546‐5574
MARK STENSON           318 STONEHENGE DRIVE                                                                     CROSSVILLE         TN   38558
MARK STEPHEN           3427 BRIDLEGATE DR                                                                       ARLINGTON          TX   76016‐3210
MARK STEPHENS          1110 WILLIAMS RD                                                                         WESSON             MS   39191‐9012
MARK STEPHENSON        2015 W 500 N                                                                             HARTFORD CITY      IN   47348‐9575
MARK STERK             1204 BROWN DR                                                                            MILTON             WI   53563‐3705
MARK STEUBING          2725 BAIRD RD                                                                            FAIRPORT           NY   14450‐1225
MARK STEVEN PHILLIPS   WEITZ & LUXENBERG PC            700 BROADWAY                                             NEW YORK           NY   10003
MARK STEVENS           10190 REED RD                                                                            EAST CONCORD       NY   14055‐9731
MARK STEVENS           4575 E STRANGE HWY                                                                       GRAND LEDGE        MI   48837‐9429
MARK STEVENS           13892 BERLIN STATION RD                                                                  BERLIN CENTER      OH   44401‐9774
MARK STEVENS           1604 DOVE CIR                                                                            SPRING HILL        TN   37174‐5119
MARK STEVENS           3474 BROADVIEW RD                                                                        RICHFIELD          OH   44286‐9217
MARK STEVENS           6645 LANMAN DR                                                                           WATERFORD          MI   48329‐2933
MARK STEVENS           4574 BENTLEY DR                                                                          TROY               MI   48098‐4451
MARK STEVENS           2130 WAYLAND DR                                                                          LANSING            MI   48917‐1369
MARK STEVENS           304 E FRANKLIN ST                                                                        SHELBYVILLE        TN   37160‐3416
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Name                   Address1                       Address2                     Address3      Address4             City                  State Zip
MARK STEVENS WEBER     HERTA ANGELIKA WEBER JT TEN    10701 GULFSHORE DR APT 700                                      NAPLES                 FL 34108
MARK STEVENS WEBER &   HERTA ANGELIKA WEBER JT TEN    10701 GULFSHORE DR APT 700                                      NAPLES                 FL 34108
MARK STEVENSON         1102 FAUSSETT RD                                                                               HOWELL                 MI 48855‐7204
MARK STEVENSON         45466 PRIVATE SHORE DR                                                                         CHESTERFIELD           MI 48047‐5371
MARK STEVENSON         13318 DIXIE HWY LOT 37                                                                         HOLLY                  MI 48442‐9759
MARK STEWART           4185 SHATTUCK RD                                                                               SAGINAW                MI 48603‐3063
MARK STEWART           2146 SHERWOOD FOREST DR                                                                        MIAMISBURG             OH 45342‐2034
MARK STEWART           471 S STATE RD                                                                                 OTISVILLE              MI 48463‐9758
MARK STEWART           801 CITY RD                                                                                    MANCHESTER             MI 48158‐8516
MARK STEWART           1081 CORA GREENWOOD DR                                                    WINDSOR CANADA N8P
                                                                                                 1K3
MARK STHEINER          9334 ANACAPA BAY DR                                                                            PINCKNEY              MI   48169‐8232
MARK STIELOW           21891 HAMPTON ST                                                                               BEVERLY HILLS         MI   48025‐3662
MARK STILLER           26204 BARNES ST                                                                                ROSEVILLE             MI   48066‐3582
MARK STITES            539 N CONKLIN RD                                                                               LAKE ORION            MI   48362‐1817
MARK STOCKMAN          4129 SHEFFIELD PL                                                                              LAMBERTVILLE          MI   48144‐9729
MARK STOCKTON          6269 RAY RD                                                                                    SWARTZ CREEK          MI   48473‐9122
MARK STOLL             170 OAK RIDGE ST                                                                               WHITE LAKE            MI   48386‐3345
MARK STOLLINGS         25555 W CHICAGO                                                                                REDFORD               MI   48239‐2053
MARK STONE             206 S DILLWYN RD                                                                               NEWARK                DE   19711‐5550
MARK STONE             419 MARINA CT                                                                                  SMITHVILLE            MO   64089‐8382
MARK STOUT             55608 E NOCTURNE LN                                                                            SHELBY TWP            MI   48316‐5228
MARK STOVER            101 MARLBOROUGH AVE #1                                                                         EASTON                MD   21601‐2735
MARK STREIB            MOTLEY RICE LLC                28 BRIDGESIDE BLVD           PO BOX 1792                        MT PLEASANT           SC   29465
MARK STRICKLING        115 OREGON RD N                                                                                LEHIGH ACRES          FL   33936‐6115
MARK STRONG            12124 PIERCE RD                                                                                FREELAND              MI   48623‐9247
MARK STRONG            831 KIM DR POB302                                                                              MASON                 MI   48854
MARK STRONG            14014 HUMBUG ISLAND CT                                                                         GIBRALTAR             MI   48173‐9581
MARK STRUBLE           1605 NEVADA STREET                                                                             TOLEDO                OH   43605‐2757
MARK STUBBLEFIELD      607 HIGHWAY 99                                                                                 LEWISBURG             TN   37091‐6662
MARK STUCKEY           1026 SUMMERHILL DR                                                                             JANESVILLE            WI   53546‐3727
MARK STURGEON          506 N 11TH ST                                                                                  MIDDLETOWN            IN   47356‐1241
MARK SULJIC            525 N CABOT CT                                                                                 BLOOMINGTON           IN   47408‐3083
MARK SULLIVAN          1674 HIGH HOLLOW DR                                                                            ANN ARBOR             MI   48103‐9242
MARK SULLIVAN          1992 PONDVIEW CT                                                                               ROCHESTER HILLS       MI   48309‐3303
MARK SUMINSKI          9523 E TOWNLINE RD                                                                             FRANKENMUTH           MI   48734‐9556
MARK SUMMERS           213 HOMER TURNBOW RD                                                                           HOHENWALD             TN   38462‐5394
MARK SUMMERS           18640 WHITE PINE CIR                                                                           HUDSON                FL   34667‐6670
MARK SURLES            6139 SURREY LN                                                                                 BURTON                MI   48519‐1315
MARK SURRE             7455 OLD POND DR                                                                               CLARKSTON             MI   48348‐4104
MARK SUSICE            4507 CREEKSIDE PKWY                                                                            NIAGARA FALLS         NY   14305‐1357
MARK SUSLEE            7785 ARVILLA                                                                                   WHITMORE LAKE         MI   48189‐9630
MARK SUTTON            1927 BROOKFIELD CT                                                                             ROCHESTER HILLS       MI   48306‐4001
MARK SUTTON            2711 PINE BLFS                                                                                 HIGHLAND              MI   48357‐4244
MARK SWAGLER           30 EMERALD TRL                                                                                 WILLIAMSVILLE         NY   14221‐8305
MARK SWAN              5000 FREEMAN RD                                                                                EATON RAPIDS          MI   48827‐9051
MARK SWANSON           1304 MAPLE AVE                                                                                 DOWNERS GROVE         IL   60515‐4830
MARK SWANSON           4302 N WILLOWAY ESTATES CT     COURT                                                           BLOOMFIELD TOWNSHIP   MI   48302‐2005
MARK SWARTHOUT         416 DALEBROOK LN                                                                               BLOOMFIELD HILLS      MI   48301‐3312
MARK SWARTZ            4102 W FARRAND RD                                                                              CLIO                  MI   48420‐8243
MARK SWEAZY            1065 SEARLES AVE                                                                               COLUMBUS              OH   43223‐2837
MARK SWEDLOW           BOX 241                                                                                        GLENDORA              CA   91740
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Name                             Address1                       Address2                    Address3   Address4         City               State Zip
MARK SWEDLOW                     PO BOX 241                                                                             GLENDORA            CA 91740
MARK SWEENEY                     323 VANDYKE MD LINE RD                                                                 TOWNSEND            DE 19734‐9637
MARK SWEENEY BUICK PONTIAC GMC   3365 HIGHLAND AVE                                                                      CINCINNATI          OH 45213‐2609
MARK SWIECICKI                   660 ROCHESTER ST                                                                       LAKE ORION          MI 48362‐2860
MARK SYLVESTER                   16307 HAWKRIDGE CT                                                                     HARLAN              IN 46743
MARK SYMCHECK                    120 NEIL ST                                                                            NILES               OH 44446‐1749
MARK SYTEK                       4413 N HENDERSON RD                                                                    DAVISON             MI 48423‐8478
MARK SZAJGECKI                   4635 MOTORWAY DR                                                                       WATERFORD           MI 48328‐3457
MARK SZAKARA                     10250 MILL POINTE DR                                                                   GOODRICH            MI 48438‐9312
MARK SZWEJKOWSKI                 8203 CUTTER PL                                                                         JACKSONVILLE        FL 32216‐6391
MARK SZYCHER                     24 SUNDERLAND LN                                                                       KATONAH             NY 10536‐3162
MARK SZYMANSKI                   48002 ROOSEVELT DR                                                                     MACOMB              MI 48044‐5016
MARK T COBERLY                   4250 CORINTH BOULEVARD                                                                 DAYTON              OH 45410‐3412
MARK T CORDRAY                   2905 SHIVELY COURT                                                                     KETTERING           OH 45420‐3929
MARK T DILLHOFF                  1681 TIAMO LN                                                                          W ALEXANDRIA        OH 45381‐9359
MARK T FLINT                     2906 COUNTRY ESTATES DR                                                                INDIANAPOLIS        IN 46227
MARK T GILL                      1035 CLOVIS AVE                                                                        MOUNT MORRIS        MI 48458‐2503
MARK T GORNEY                    6820 WILD PINE CIRCLE                                                                  SAGINAW             MI 48603
MARK T HARMESON                  2236 POLO PARK DR.                                                                     DAYTON              OH 45449
MARK T HUTCHINSON                24500 PINE VILLAGE BLVD                                                                OAK PARK            MI 48237‐1876
MARK T KOVISTO                   33 PRENTISS PL                                                                         SAN RAMON           CA 94583‐3129
MARK T KRAEMER                   PO BOX 321053                                                                          FLINT               MI 48532‐0018
MARK T MILLER                    6847 BEARD RD                                                                          BYRON               MI 48418‐8982
MARK T MULLINS                   1313 COUNTRY CLUB DR                                                                   LANCASTER           PA 17601
MARK T OFFENBACKER               187 DOYLE AVE                                                                          BROOKVILLE          OH 45309‐1510
MARK T PETERS                    P.O. BOX 91                                                                            PITSBURG            OH 45358
MARK T PUMMILL                   474 RENOIR PL                                                                          DAYTON              OH 45431‐2146
MARK T ROBB                      PO BOX 1230                                                                            BELOIT              WI 53512
MARK T SKINNER                   527 SHADOWLAWN AVE                                                                     DAYTON              OH 45419‐4036
MARK T STETZEL                   64 CALIFORNIA DRIVE                                                                    ROCHESTER           NY 14616‐4208
MARK T SULLIVAN                  2269 LYELL AVE                 APT B10                                                 ROCHESTER           NY 14606
MARK T TAYLOR                    1908 BLUE LEVEL RD                                                                     BOWLING GREEN       KY 42101‐9006
MARK T. VUONO                    VUONO & GRAY, LLC              310 GRANT ST., SUITE 2310                               PITTSBURG           PA 15219
MARK TABER                       116 OCEAN AVENUE                                                                       PORT ORANGE         FL 32129‐3522
MARK TAKACS                      1124 TEXARKANA DR                                                                      INDIANAPOLIS        IN 46231‐2500
MARK TALARICO                    16977 BLACK WALNUT LN                                                                  EAST LANSING        MI 48823‐9652
MARK TALBERT                     9920 AGORA DR                                                                          FORT WAYNE          IN 46804‐8707
MARK TALLENTIRE                  8855 N CONGRESS AVE APT 316                                                            KANSAS CITY         MO 64153‐1881
MARK TANNER                      14290 WICKS RD                                                                         HILLMAN             MI 49746‐8687
MARK TANNER                      PO BOX 241                                                                             VALLEY PARK         MO 63088‐0241
MARK TANNER                      10226 HEGEL RD                 P.O. BOX 313                                            GOODRICH            MI 48438‐9066
MARK TASIEMSKI                   41455 OAK HILL DR                                                                      CLINTON TOWNSHIP    MI 48038‐4618
MARK TATA                        21 LANDAU DRIVE                                                                        ROCHESTER           NY 14606‐5803
MARK TAYLOR                      975 HUNTSFORD DR                                                                       TROY                MI 48084‐1616
MARK TAYLOR                      1812 CAMDEN GRN                                                                        COLLEYVILLE         TX 76034‐7711
MARK TAYLOR                      1404 W COUNTY ROAD 875 N                                                               ORLEANS             IN 47452‐9780
MARK TAYLOR                      9202 KING GRAVES RD NE                                                                 WARREN              OH 44484‐1127
MARK TAYLOR                      RR 1 BOX 1499                                                                          CHECOTAH            OK 74426‐9781
MARK TAYLOR                      3615 MILL STATION RD                                                                   HALE                MI 48739‐8912
MARK TAYLOR                      9220 LOOKING GLASS BROOK DR                                                            GRAND LEDGE         MI 48837‐9265
MARK TAYLOR                      1908 BLUE LEVEL RD                                                                     BOWLING GREEN       KY 42101‐9006
MARK TAYLOR                      1499 KILE RD                                                                           METAMORA            MI 48455‐8975
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Name                       Address1                           Address2                     Address3   Address4         City                   State Zip
MARK TAYLOR                7787 SPRINGVILLE HWY                                                                        ONSTED                  MI 49265‐9532
MARK TAYLOR                APT 1402                           5781 CAPE HARBOUR DRIVE                                  CAPE CORAL              FL 33914‐8613
MARK TEBBEN                324 STONEWALL DR                                                                            COLUMBIA                TN 38401‐6507
MARK TEICHMAN              911 E RILEY RD                                                                              OWOSSO                  MI 48867‐8826
MARK TELDER                9909 N DIVISION AVE                                                                         SPARTA                  MI 49345‐9456
MARK TEPSICH               1111 OHIO AVE                                                                               MC DONALD               OH 44437‐1747
MARK TESKA                 13469 GREENLEAF LN                                                                          GRAND HAVEN             MI 49417‐9474
MARK THARP                 7590 S AIRPORT RD                                                                           DEWITT                  MI 48820‐9102
MARK THARP                 1693 BENTON RD                                                                              CHARLOTTE               MI 48813‐9796
MARK THARRETT              3216 NICKELBY DR                                                                            SHELBY TOWNSHIP         MI 48316‐4831
MARK THELEN                3803 PINE VIEW DR                                                                           METAMORA                MI 48455‐9394
MARK THELEN                PO BOX 351                                                                                  WESTPHALIA              MI 48894‐0351
MARK THEOBALD              1906 LONE PINE RD                                                                           BLOOMFIELD HILLS        MI 48302‐2521
MARK THERRIAN              4434 ROBINDALE DR                                                                           BURTON                  MI 48519‐1266
MARK THERRIAULT            4260 PORT ROYAL RD                                                                          SPRING HILL             TN 37174‐2137
MARK THIBAULT              642 LINCOLN RD                                                                              GROSSE POINTE           MI 48230‐1220
MARK THOMA                 3 FAIRLAKE LN                                                                               GROSSE POINTE SHORES    MI 48236‐4102
MARK THOMAS                3438 SHAKESPEARE DR                                                                         TROY                    MI 48084‐1489
MARK THOMAS                3205 WARREN CREEK DR                                                                        HIRAM                   GA 30141‐3344
MARK THOMAS                2169 DEER RUN DR                                                                            NEW CASTLE              IN 47362‐8943
MARK THOMAS                2519 CEDAR LANE CT                                                                          HARTLAND                MI 48353‐3201
MARK THOMAS                1056 HIGHLAND DR                                                                            LIBERTY                 MO 64068‐3113
MARK THOMAS                2574 COSTA MESA RD                                                                          WATERFORD               MI 48329‐2429
MARK THOMAS                11320 MAPLE RD                                                                              BIRCH RUN               MI 48415‐8457
MARK THOMAS MOTORS, INC.   505 ELLSWORTH ST SW                                                                         ALBANY                  OR 97321‐2364
MARK THOMAS MOTORS, INC.   MARK THOMAS                        505 ELLSWORTH ST SW                                      ALBANY                  OR 97321‐2364
MARK THOMAS RACING         10881 GEORGETOWN ST                                                                         LOUISVILLE              OH 44641‐9620
MARK THOMPSON              9502 E STATE ROAD 32                                                                        ZIONSVILLE              IN 46077‐9752
MARK THOMPSON              618 N RITTER AVE                                                                            NIXA                    MO 65714‐8966
MARK THOMPSON              405 FIELDCREST ST SW                                                                        HARTSELLE               AL 35640‐6032
MARK THOMPSON              1412 HATCH RD                                                                               OKEMOS                  MI 48864‐3414
MARK THORNBERRY            4967 OAK HILL DR                                                                            WATERFORD               MI 48329‐1752
MARK THRUSH                11511 W HERBISON RD                                                                         EAGLE                   MI 48822‐9745
MARK THURBER               2496 CANOE CIRCLE DR                                                                        LAKE ORION              MI 48360‐1883
MARK TILLEY                223 N MAIN ST                                                                               LOUISIANA               MO 63353‐1746
MARK TIMM                  21867 SUNFLOWER RD                                                                          NOVI                    MI 48375‐5353
MARK TIMMER                4240 HOOK RD                                                                                CRESTLINE               OH 44827‐9664
MARK TIMOCKO               6045 SPRINGDALE BLVD                                                                        GRAND BLANC             MI 48439‐8521
MARK TINTI                 8537 SADDLEWOOD DR                                                                          BRIGHTON                MI 48116‐5206
MARK TITUS                 9317 MCWAIN RD                                                                              GRAND BLANC             MI 48439‐8363
MARK TOBER                 PO BOX 9022                        C/O SHANGHAI                                             WARREN                  MI 48090‐9022
MARK TOBERMAN              818 S COUNTY ROAD H                                                                         JANESVILLE              WI 53548‐8528
MARK TOCCO                 54067 MYRICA DR                                                                             MACOMB                  MI 48042‐2223
MARK TOLBERT               25 ORVILLE DR                                                                               TOLEDO                  OH 43612‐3526
MARK TOLLISON              301 UNIVERSITY RIDGE, SUITE 2400   GREENVILLE COUNTY SQUARE                                 GREENVILLE              SC 29601
MARK TOMASUNAS             4256 E 48TH ST                                                                              NEWAYGO                 MI 49337‐9749
MARK TOMASZEWSKI           1306 GRAND AVE                                                                              JANESVILLE              WI 53546‐5393
MARK TOMCO                 BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS              OH 44236
MARK TOMLINSON             8133 NW 80TH ST                                                                             OKLAHOMA CITY           OK 73132‐4122
MARK TONER                 1104 S MAIN ST                                                                              EATON RAPIDS            MI 48827‐1736
MARK TOOL & DIE CO INC     4360 HAGGERTY HWY                                                                           COMMERCE TOWNSHIP       MI 48390‐1316
MARK TORNOW                3524 GROVE PARK DR                                                                          COLLEGE GROVE           TN 37046‐9195
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Name                       Address1                        Address2                     Address3   Address4         City               State Zip
MARK TORRES                7653 FOSTER RD                                                                           CLARKSTON           MI 48346‐1940
MARK TOTCH                 11189 CROOKED LAKE RD NE                                                                 ROCKFORD            MI 49341‐9018
MARK TOTH                  BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS      OH 44236
MARK TOTTEN                7086 E COUNTY ROAD 100 S                                                                 AVON                IN 46123‐7546
MARK TOWNSEND              629 BRAHIER LN                                                                           MAUMEE              OH 43537‐2440
MARK TOZER
MARK TRAVIOLI              529 MCKITTRICK CT                                                                        GODLEY             TX   76044‐3749
MARK TRAVIS                11 FOX HOUND CT                                                                          GRAND BLANC        MI   48439‐8172
MARK TRAVIS                2785 N ROYSTON RD                                                                        CHARLOTTE          MI   48813‐9323
MARK TRAXLER               1505 KINNARD DR                                                                          FRANKLIN           TN   37064‐3265
MARK TRIPP                 33733 HIVELEY ST                                                                         WESTLAND           MI   48186‐4526
MARK TROLL                 7800 S AINGER RD                                                                         OLIVET             MI   49076‐9677
MARK TROMEUR               30841 STEINHAUER ST                                                                      WESTLAND           MI   48186‐5020
MARK TROPEA                11457 HANFORD DR                                                                         WARREN             MI   48093‐2608
MARK TRUDELL               2163 S 5 MILE RD                                                                         MIDLAND            MI   48640‐9316
MARK TRUSICK               PO BOX 7094                                                                              STERLING HTS       MI   48311‐7094
MARK TUDOR                 4428 S 200 E                                                                             KOKOMO             IN   46902‐9264
MARK TULLAR                11 BRIXTON LN                                                                            CROSSVILLE         TN   38558‐2711
MARK TURKIN                5583 PLYMOUTH ST                                                                         STERLING HTS       MI   48310‐6641
MARK TURNER                741 PARMALEE AVE                                                                         YOUNGSTOWN         OH   44510‐1649
MARK TURNER                16457 GLENROCK DR                                                                        HOLLY              MI   48442‐8847
MARK TURNER                406 ARROWBEND ST                                                                         VILLA RICA         GA   30180
MARK TURNER                10114 SHARP RD                                                                           SWARTZ CREEK       MI   48473‐9155
MARK TYLER JR              120 MCDUFF CT                                                                            HARLINGEN          TX   78552‐6264
MARK TYMOSZEK              33436 CHATSWORTH DR                                                                      STERLING HEIGHTS   MI   48312‐6119
MARK TYSICK                1392 RED BARN DR                                                                         OXFORD             MI   48371‐6038
MARK ULICNE                209 W BEECH LN                                                                           ALEXANDRIA         IN   46001‐8386
MARK ULLRICH               6120 WHISPERING MEADOWS DR                                                               WHITE LAKE         MI   48383‐2786
MARK UNGER                 723 W 1075 S                                                                             BUNKER HILL        IN   46914‐9531
MARK UNVERZAGT             220 E COE DR                                                                             MIDWEST CITY       OK   73110‐4647
MARK UPCRAFT               13372 LAKE SHORE DR                                                                      FENTON             MI   48430‐1022
MARK URBONAS               8536 APPLE BLOSSOM LN                                                                    FLUSHING           MI   48433‐2904
MARK UTTER                 496 SARSFIELD DR                                                                         ROCHESTER HILLS    MI   48307‐4443
MARK V & P SUSAN FRANCIS   56 E MAIN ST                                                                             STRASBURG          PA   17579
MARK V NAPIER              11681 MORAN ST                                                                           HAMTRAMCK          MI   48212‐3163
MARK VALADEZ               13697 S 800 E                                                                            GALVESTON          IN   46932
MARK VALENTI               4144 COLONIAL DR                                                                         ROYAL OAK          MI   48073‐6472
MARK VALERIO               33 WEST PUTNAM AVENUE                                                                    GREENWICH          CT   06830
MARK VAMVAS                5668 KELLY RD                                                                            MUSSEY             MI   48014‐1513
MARK VAN ALST              11379 N WEBSTER RD                                                                       CLIO               MI   48420‐8235
MARK VAN EPPS              9988 CLARK RD                                                                            GRAND LEDGE        MI   48837‐9210
MARK VAN GEET              DEN EECKHOFSTRAAT 7             2650 EDEGEM
MARK VAN GRAAFEILAND       6753 CHILI RIGA CENTER RD                                                                CHURCHVILLE        NY   14428‐9580
MARK VAN MALSEN            3143 WHITETAIL LN                                                                        OWOSSO             MI   48867‐9225
MARK VAN SICKLE            865 BISHOP ST                                                                            MILFORD            MI   48381‐1710
MARK VANCE                 2161 S ANGLING PIKE                                                                      HARTFORD CITY      IN   47348‐9758
MARK VANDEN BERG           52635 WOODMILL DR                                                                        MACOMB             MI   48042‐5666
MARK VANDEREYK             604 CHERRY TREE LN                                                                       ROCHESTER HILLS    MI   48306‐3313
MARK VANDERHEYDEN          2344 CHESTNUT CIR                                                                        LAKE ORION         MI   48360‐2284
MARK VANDERSLOOT           9891 64TH AVE                                                                            ALLENDALE          MI   49401‐9315
MARK VANDEUSEN             75 REIMER RD                                                                             WADSWORTH          OH   44281‐8425
MARK VANHOVEN              7658 DEER TRACK RUN                                                                      HUDSONVILLE        MI   49426‐9753
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Name                              Address1                       Address2            Address3         Address4         City                State Zip
MARK VANN                         17981 PARKRIDGE DR                                                                   RIVERVIEW            MI 48193‐8149
MARK VANNICOLA                    330 BLACKBIRD STATION RD                                                             TOWNSEND             DE 19734‐9260
MARK VANSLUYTERS                  15791 BROOK RD                                                                       LANSING              MI 48906‐1463
MARK VARDJAN
MARK VAUGHN                       10203 POTTER RD                                                                      FLUSHING            MI   48433‐9722
MARK VELTRE                       23205 SAGEVIEW CT                                                                    VALENCIA            CA   91354‐1456
MARK VERBENEC                     15105 W 77TH ST                                                                      LENEXA              KS   66217‐9450
MARK VERBRUGGE                    3580 FERNLEIGH DR                                                                    TROY                MI   48083‐5771
MARK VERMEERSCH                   216 E RANDOLPH ST                                                                    LANSING             MI   48906‐4043
MARK VERNACCHIA                   965 NOVI ST                                                                          NORTHVILLE          MI   48167‐1153
MARK VESELSKY                     PO BOX 526                                                                           GAINES              MI   48436‐0526
MARK VIEW                         2371 9 MILE RD                                                                       STERLING            MI   48659‐9735
MARK VITO                         8364 JACLYN ANN DR                                                                   FLUSHING            MI   48433‐2908
MARK VOGEL                        40600 PAISLEY CIR                                                                    NOVI                MI   48377‐1626
MARK VOGEL SR                     1071 PELHAM BLVD                                                                     WATERFORD           MI   48328‐4262
MARK VOLK                         2611 SHERRIE LN                                                                      THOMPSONS STATION   TN   37179‐9282
MARK VONGUNTEN                    756 INDIANA ST                                                                       BERNE               IN   46711‐2333
MARK VORWERCK                     2001 S BRENTWOOD PL                                                                  ESSEXVILLE          MI   48732‐1409
MARK VOSS                         27182 PRINZ RD                                                                       RICHMOND            MI   48062‐2004
MARK VOUTYRAS                     30785 MYSTIC FOREST DR                                                               FARMINGTON HILLS    MI   48331
MARK W ALPERT & JUDITH L ALPERT   2431 CASTLE HEIGHTS AVE                                                              LOS ANGELES         CA   90034
MARK W ANDERSON                   176 DIAMOND WAY                                                                      CORTLAND            OH   44410‐1399
MARK W BROCKWAY                   6127 RED FOX                                                                         PERRY               MI   48872‐8780
MARK W BRUNGER                    9109 SEYMOUR RD                                                                      SWARTZ CREEK        MI   48473‐9161
MARK W BRUNNER                    121 GLENALBY RD                                                                      TONAWANDA           NY   14150‐7536
MARK W BURKHART                   1248 WITTMER RD                                                                      MANSFIELD           OH   44903‐9401
MARK W BUTTERWORTH                711 E BROAD ST                                                                       CHESANING           MI   48616‐1610
MARK W CLAYTON                    2022 VERNON AVE NW                                                                   WARREN              OH   44483‐3150
MARK W COOPER                     8668 E SPICERVILLE HWY                                                               EATON RAPIDS        MI   48827‐8040
MARK W CROWLEY                    1263 VICTORIA LN                                                                     FENTON              MI   48430‐9630
MARK W CUMMINGS                   2055 COMMONWEALTH DR                                                                 XENIA               OH   45385
MARK W DEMREST                    252 HENDERSON RD                                                                     HOHENWALD           TN   38462
MARK W DUGAS                      2226 S OAK RD                                                                        DAVISON             MI   48423‐9152
MARK W DUNNING                    PO BOX 61                                                                            MATTYDALE           NY   13211‐0061
MARK W FICKES                     1463 SHERIDAN AVE NE                                                                 WARREN              OH   44483‐‐ 39
MARK W GODI                       4223 PINEPORT                                                                        BRIDGEPORT          MI   48722‐9505
MARK W GREGORY                    818 UHRIG AVE APT 3                                                                  DAYTON              OH   45406
MARK W GREGORY                    10013 SOUTH CHOCTAW ROAD                                                             CHOCTAW             OK   73020‐4045
MARK W HADDOW SR                  9615 BAYVIEW DR APT 204                                                              YPSILANTI           MI   48197‐7032
MARK W HAGADONE                   5844 AUBURN RD                                                                       SHELBY TOWNSHIP     MI   48317‐4202
MARK W HAGEN                      2275 CLOVER FIELD DR                                                                 CHASKA              MN   55318
MARK W HEIT                       886 WHISPERWOOD TRL                                                                  FENTON              MI   48430‐2276
MARK W HENLY                      4425 CAROLINE AVE                                                                    TOLEDO              OH   43612‐1929
MARK W KAUFFMAN                   1344 WINDEMERE LANE                                                                  LANDISVILLE         OH   17538
MARK W LEBRITON                   59 SWAN TRAIL                                                                        FAIRPORT            NY   14450‐3323
MARK W LEWIS                      510 SECOND STREET                                                                    PIQUA               OH   45356
MARK W LIDDY                      166 WOODCROFT TRL                                                                    DAYTON              OH   45430
MARK W LORENZEN                   62 GENESEE PARK BLVD                                                                 ROCHESTER           NY   14611
MARK W LUPINACCI                  129 ROSE HAVEN DR                                                                    RENFREW             PA   16053
MARK W MCCRANDALL                 2448 S IRISH RD                                                                      DAVISON             MI   48423‐8362
MARK W MONTGOMERY                 217 KAMMER                                                                           DAYTON              OH   45417‐2403
MARK W PIERLEONI                  258 MILFORD ST #11                                                                   ROCHESTER           NY   14615‐1837
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Name                       Address1                         Address2             Address3        Address4         City            State Zip
MARK W PRINDLE             PO BOX 379                                                                             AURORA           OH 44202
MARK W REED                481 MT. VERNON DR.                                                                     XENIA            OH 45385‐5206
MARK W RILEY JR            PO BOX 31                                                                              FRANKLIN         OH 45005
MARK W ROBISON             3910 MULBERRY RD                                                                       DAYTON           OH 45414‐1520
MARK W SHERMAN             168 WALKER LAKE ONTARIO RD.                                                            HILTON           NY 14468‐9119
MARK W SMITH               315 N LEBANON ST APT 305                                                               LEBANON          IN 46052‐2172
MARK W STAUFFER            123 WILKENS ROAD                                                                       SCOTTSVILLE      NY 14546‐9744
MARK W STEVENS             747 LOOP ST                                                                            MIAMISBURG       OH 45342
MARK W SWEARINGEN          7113 PINEVIEW DRIVE                                                                    HUBER HEIGHTS    OH 45424‐2555
MARK W SWIMELAR TRUSTEE    PO BOX 1633                                                                            MEMPHIS          TN 38101‐1633
MARK W TRICK               10224 BROOKVILLE‐PHILLIPSBRG                                                           BROOKVILLE       OH 45309
MARK W TRUCKNER            1125 TERRY AVE                                                                         MOUNT MORRIS     MI 48458‐2540
MARK W WILSON              2634 WAGON RD                                                                          COCOA            FL 32926
MARK W WNEK                40 NICHOLAS LN                                                                         LANCASTER        NY 14086‐9494
MARK W WOODS               1950 KEY LN                                                                            KANSAS CITY      KS 66106‐2213
MARK W. COLLMER, ESQUIRE   MCDOWELL COLLMER L.L.P.          3509 GEORGETOWN ST                                    HOUSTON          TX 77005
MARK WACHOWSKI             1090 CONSERVATION DR APT C                                                             HEDGESVILLE      WV 25427‐5444
MARK WAGGENER I I I        7854 CROSS PIKE DR                                                                     GERMANTOWN       TN 38138‐8118
MARK WAGIE                 844 VICTORIA PL                                                                        JANESVILLE       WI 53546‐1705
MARK WAGLE                 NO 11 S. HAMPTON                                                                       WICHITA          KS 67207
MARK WAGNER
MARK WAGNER                888 N. MAIN STRRET                                                                     WEBBERVILLE     MI   48892
MARK WAGNER                3677 BONNIE LN                                                                         HAMBURG         NY   14075‐6323
MARK WAGNITZ               1200 HIGHVIEW DR                                                                       LAPEER          MI   48446‐3362
MARK WAJER                 1372 CAMERON ROAD                                                                      CARO            MI   48723‐8710
MARK WALCZAK               4305 WHALERS CV                                                                        FORT WAYNE      IN   46804‐4839
MARK WALDECK               14626 ALABAMA HWY 20 W                                                                 HILLSBORO       AL   35643
MARK WALDORF               5130 BROADWAY AVE                                                                      NEWTON FALLS    OH   44444‐1801
MARK WALKER                1941 COLCHESTER RD                                                                     FLINT           MI   48503‐4676
MARK WALKER                1832 RIVERVIEW DR                                                                      JANESVILLE      WI   53546‐5385
MARK WALKOWIAK             2189 BLAMER RD                                                                         FAIRVIEW        MI   48621‐9771
MARK WALKOWSKI             425 HARDEN ST                                                                          HOLLY           MI   48442‐1747
MARK WALKUSKI              17469 W OUTER DR                                                                       DEARBORN HTS    MI   48127‐2517
MARK WALL                  4177 MIDDLE RUN RD                                                                     SPRING VALLEY   OH   45370
MARK WALLACE               8140 LONGWORTH ST                                                                      HOLLAND         OH   43528‐9606
MARK WALRAVEN              3424 TREETOP HOLW                                                                      BAY CITY        MI   48706‐8119
MARK WALTER                53216 WOLF DR                                                                          SHELBY TWP      MI   48316‐2640
MARK WALTER                4935 MEYER RD                                                                          N TONAWANDA     NY   14120‐9580
MARK WALTERS               6383 FENTON RD                                                                         FLINT           MI   48507‐4754
MARK WALTERS               328 WATERCREST WAY                                                                     AVON            IN   46123‐1311
MARK WALTERS               52275 HEATHERSTONE AVE                                                                 MACOMB          MI   48042‐3551
MARK WALWORTH              4345 PONDVIEW DR                                                                       SWARTZ CREEK    MI   48473‐9197
MARK WARD                  5138 W CHURCH RD                                                                       SIX LAKES       MI   48886‐8729
MARK WARD                  30207 APPLEWOOD DR                                                                     BAY VILLAGE     OH   44140‐1256
MARK WARD                  712 E MANSION ST                                                                       MARSHALL        MI   49068‐1240
MARK WARD                  748 CHAMBERLAIN STREET                                                                 FLUSHING        MI   48433‐1774
MARK WARNE                 6064 HOOVER RD                                                                         SANBORN         NY   14132‐9216
MARK WARNER                2809 WINTON DR                                                                         KETTERING       OH   45419‐2318
MARK WARNER                5486 RT. 422                                                                           SOUTHINGTON     OH   44470
MARK WARNER                PO BOX 474                                                                             ALBION          MI   49224‐0474
MARK WARNER                13310 TORREY RD                                                                        FENTON          MI   48430‐3001
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Name                              Address1                           Address2            Address3         Address4                 City               State Zip
MARK WARREN AND JASMINE WARREN JT RIVANDALE FARM                     5290 RIDGE ROAD                                               SOMERSET            VA 22972

MARK WATKINS                      13848 SHERMAN AVE                                                                                RAVENNA            MI   49451‐9753
MARK WATKINS                      114 BALMORE LN                     HIGHLAND WEST                                                 WILMINGTON         DE   19808‐1308
MARK WATSON                       11227 MAIN RD                                                                                    FENTON             MI   48430‐9717
MARK WATSON                       1590 EIFERT RD                                                                                   HOLT               MI   48842‐1905
MARK WEAKS                        601 RAPIDAN DR                                                                                   LANSING            MI   48917‐9602
MARK WEATHERWAX                   9419 WASHBURN ROAD                                                                               COLUMBIAVILLE      MI   48421‐8811
MARK WEAVER                       6224 SHADOW RIDGE RUN                                                                            FORT WAYNE         IN   46804‐4287
MARK WEBB                         39320 BELLA VISTA DR                                                                             STERLING HEIGHTS   MI   48313‐5214
MARK WEBER                        3905 E ST                                                                                        OXFORD             MI   48371‐1560
MARK WEBER                        1436 S HADLEY RD                                                                                 FORT WAYNE         IN   46804‐1452
MARK WEBER                        11351 AUTUMN BREEZE TRL                                                                          CLIO               MI   48420‐1592
MARK WEBSTER                      4911 RATTEK RD                                                                                   CLARKSTON          MI   48346‐4074
MARK WEDDELMAN                    16552 STATE ROUTE 424                                                                            NAPOLEON           OH   43545‐5786
MARK WEIDEMAN                     6695 DANDISON BLVD                                                                               W BLOOMFIELD       MI   48324‐2813
MARK WEITZEL                      205 GREENHILL CIR                                                                                MILTON             WI   53563‐1420
MARK WELLER                       14430 E AUSTIN RD                                                                                MANCHESTER         MI   48158‐8510
MARK WELLMAN                      9233 MAIN ST                                                                                     CLARENCE           NY   14031
MARK WELLS                        2001 COUNTY ROAD 1208                                                                            TUTTLE             OK   73089‐3100
MARK WELLS                        5820 BELMONT AVE NE                                                                              BELMONT            MI   49306‐9489
MARK WELLS                        9933 GLADSTONE RD                                                                                NORTH JACKSON      OH   44451‐9695
MARK WELLS                        1095 LINCOLN CT                                                                                  BIRMINGHAM         MI   48009‐1764
MARK WENDLING                     12075 TORREY RD                                                                                  FENTON             MI   48430‐9702
MARK WENG                         12135 CROWN CT                                                                                   SHARONVILLE        OH   45241‐1782
MARK WENSEN                       38570 CHARTIER ST                                                                                HARRISON TWP       MI   48045‐3416
MARK WERNER                       1608 HELEN ST                                                                                    BAY CITY           MI   48708‐5515
MARK WERNICKI                     74 CAROLINE LN                                                                                   DEPEW              NY   14043‐1906
MARK WERTZ                        7634 W CALLA RD                                                                                  CANFIELD           OH   44406‐9455
MARK WERWINSKI                    154 ABBINGTON AVE                                                                                BUFFALO            NY   14223‐1662
MARK WESTHOFF                     2197 N 100TH RD                                                                                  WELLSVILLE         KS   66092‐4020
MARK WESTRICK                     14892 COUNTY ROAD C2                                                                             NEW BAVARIA        OH   43548‐9736
MARK WHEELER                      2244 S OAK RD                                                                                    DAVISON            MI   48423‐9152
MARK WHELAN
MARK WHICKER                      ZONE 8 COCO GROVE                                                       ILIGAN CITY 9200
                                                                                                          PHILIPPINES
MARK WHITE                        220 DEE ST                                                                                       TROY               MO   63379‐1807
MARK WHITE                        16346 DEER LANE                                                                                  ATHENS             AL   35614‐5300
MARK WHITE                        5878 ROBINSON AVE                                                                                ALLEN PARK         MI   48101‐2811
MARK WHITE JR                     12258 MOCERI DR                                                                                  GRAND BLANC        MI   48439‐1926
MARK WHITEHEAD                    44830 HARRIS RD                                                                                  BELLEVILLE         MI   48111‐8938
MARK WHITEHEAD                    150 PARISH LN APT 535                                                                            ROANOKE            TX   76262‐6676
MARK WHITEMAN                     4600 OAKVISTA AVE                                                                                CLARKSTON          MI   48346‐3738
MARK WHITTAKER                    46000 GEDDES RD TRLR 330                                                                         CANTON             MI   48188‐2353
MARK WHITTECK                     1670 EVAN CT                                                                                     WEBB CITY          MO   64870‐3208
MARK WICKHAM                      202 HUME BLVD                                                                                    LANSING            MI   48917‐4294
MARK WIDDOWS                      50 CIRCLE DR                                                                                     DELMONT            PA   15626‐1252
MARK WIEDERHOLD                   1180 STELLMA LN                                                                                  ROCHESTER HILLS    MI   48309‐2573
MARK WIEDMAYER                    2121 WAITE AVE                                                                                   KALAMAZOO          MI   49008‐1717
MARK WIEGAND                      20340 LITTLE CREEK DR                                                                            NOBLESVILLE        IN   46062‐7939
MARK WIELOCK                      8210 UPTON RD                                                                                    LAINGSBURG         MI   48848‐9782
MARK WIERCINSKI                   4402 DEACON CT                                                                                   TROY               MI   48098‐4398
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Name               Address1                           Address2              Address3       Address4         City               State Zip
MARK WILBANKS      507 FULTON ST                                                                            WILLIAMSTON         MI 48895‐1529
MARK WILCOX        7181 S STATE RD                                                                          GOODRICH            MI 48438‐9289
MARK WILD          3810 W CHADWICK RD                                                                       DEWITT              MI 48820‐9114
MARK WILDER        11151 S MORRICE RD                                                                       MORRICE             MI 48857‐9787
MARK WILDER        1521 TEEKELL ST                                                                          BOSSIER CITY        LA 71111‐5228
MARK WILEY         4416 WOODRIDGE DR                                                                        AUSTINTOWN          OH 44515‐5245
MARK WILEY         1918 SAVANNAH LN                                                                         YPSILANTI           MI 48198‐3676
MARK WILKERSON     4074 CANEY CREEK LN                                                                      CHAPEL HILL         TN 37034‐2075
MARK WILKINSON     500 EAGLES NEST LANDING RD                                                               TOWNSEND            DE 19734‐9002
MARK WILL          2493 COTTRELL DR                                                                         CARO                MI 48723‐9205
MARK WILLEY        12819 VIA CATHERINA DR                                                                   GRAND BLANC         MI 48439‐1529
MARK WILLIAMS      658 CHARING CROSS DR                                                                     GRAND BLANC         MI 48439‐1594
MARK WILLIAMS      27424 KALISH CT                                                                          FARMINGTON HILLS    MI 48334‐4111
MARK WILLIAMS      26 MONTICELLO PL                                                                         BUFFALO             NY 14214‐2712
MARK WILLIAMS      4204 CHERYL DR                                                                           FLINT               MI 48506‐1406
MARK WILLIAMS      1214 PEGGY LN                                                                            KENNEDALE           TX 76060‐5827
MARK WILLIAMS      65 TROUTBECK LN                                                                          ROCHESTER           NY 14626‐1749
MARK WILLIAMS      1441 SLOANE BLVD                                                                         PLAINFIELD          NJ 07060‐2946
MARK WILLIAMS      2507 PLAINFIELD AVE                                                                      FLINT               MI 48506‐1862
MARK WILLIAMS      1010 N WHEATON RD                                                                        CHARLOTTE           MI 48813‐8601
MARK WILLIAMS      3783 STAGE RD                                                                            IONIA               MI 48846‐9796
MARK WILLIAMS      2033 5TH ST                                                                              BOULDER             CO 80302‐4917
MARK WILLIAMS      4515 LIVE OAK BLVD                                                                       FORT WAYNE          IN 46804‐4040
MARK WILLIAMS      734 E PARKWAY AVE                                                                        FLINT               MI 48505‐2962
MARK WILLIAMS      1920 DRIFTWOOD TRAILS DR                                                                 FLORISSANT          MO 63031‐7430
MARK WILLIAMS      PO BOX 594                                                                               PINCKNEY            MI 48169‐0594
MARK WILLIAMS      580 TALL OAK RD                                                                          NAPLES              FL 34113‐8575
MARK WILLIAMS
MARK WILLIAMS      ATTN: PATRICK M ARDIS              5810 SHELBY OAKS DR                                   MEMPHIS            TN   38134
MARK WILLIAMS      6543 BRUSH ST                                                                            DETROIT            MI   48202‐3263
MARK WILLIAMSON    6653 PICKETTS WAY                                                                        LANSING            MI   48917‐9604
MARK WILLIAMSON    5430 REMLINGER RD                                                                        BUCYRUS            OH   44820‐9660
MARK WILLIS        13063 GLEASON RD                                                                         THREE RIVERS       MI   49093‐9209
MARK WILSON        PO BOX 19470                                                                             SHREVEPORT         LA   71149‐0470
MARK WILSON        2634 WAGON RD                                                                            COCOA              FL   32926‐2603
MARK WILSON        8705 COLOGNE DR                                                                          STERLING HTS       MI   48314‐1637
MARK WILSON        1318 PROSPECT ST                                                                         FLINT              MI   48503‐1218
MARK WILSON        G 5138 E CARPENTER ROAD                                                                  FLINT              MI   48506
MARK WILSON        3210 SUMMERSWORTH RUN                                                                    FORT WAYNE         IN   46804‐6082
MARK WIMMERS       5274 BURNING BUSH LN                                                                     DAYTON             OH   45429‐5842
MARK WINING        14620 ROBINSON RD                                                                        NEWTON FALLS       OH   44444‐9614
MARK WINTERMEYER   103 BAY SHORE DR                                                                         BAY CITY           MI   48706‐1172
MARK WINTERS
MARK WISDOM        1215 ENCLAVE CIR APT 709                                                                 ARLINGTON          TX   76011‐8104
MARK WISNEWSKI     424 WILLOW ST                                                                            STOCKBRIDGE        MI   49285‐9722
MARK WISNIEWSKI    575 CANTERBURY DR                                                                        SAGINAW            MI   48638‐5877
MARK WISNIEWSKI    1234 BAKER RD                                                                            FENTON             MI   48430‐8527
MARK WITHEY        G6284 FENTON RD                                                                          FLINT              MI   48507
MARK WITKOP        1564 NASH RD                                                                             N TONAWANDA        NY   14120‐1815
MARK WITKOWSKI     7922 MCKINLEY ST                                                                         TAYLOR             MI   48180‐2486
MARK WITT          10465 N ATHEY AVE                                                                        HARRISON           MI   48625‐8883
MARK WITT          402 TOWNLINE RD                                                                          TAWAS CITY         MI   48763‐9316
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Name                 Address1                          Address2         Address3         Address4         City            State Zip
MARK WITTE           22375 COGAN RD                                                                       RUSHVILLE        MO 64484‐7256
MARK WNEK            40 NICHOLAS LN                                                                       LANCASTER        NY 14086‐9494
MARK WOHLFERT        3694 S JONES RD                                                                      WESTPHALIA       MI 48894‐9253
MARK WOHLFERT        8840 W LAKE POINTE DR                                                                LAINGSBURG       MI 48848‐9364
MARK WOJCIECHOWSKI   7088 SUNSET DR                                                                       LEXINGTON        MI 48450‐9209
MARK WOJTYSIAK       PO BOX 301                                                                           OTISVILLE        MI 48463‐0301
MARK WOLF            2648 HARVEST MEADOW DR                                                               BRIGHTON         MI 48114‐9192
MARK WOLLENBERG      801 FOX TRAIL DR                                                                     LAKE ST LOUIS    MO 63367‐2139
MARK WOLOSIEWICZ     4710 KENICOTT TRL                                                                    BRIGHTON         MI 48114‐9072
MARK WOLSKI          26021 ALBERT J DR                                                                    WARREN           MI 48091‐6500
MARK WOLTERS         14630 CLEMSTONE DR                                                                   PLATTE CITY      MO 64079‐8120
MARK WOMACK          845 FAIRLEDGE ST                                                                     LAKE ORION       MI 48362‐2613
MARK WONDERGEM       4670 TERRY DR SE                                                                     GRAND RAPIDS     MI 49512‐5321
MARK WOOD            13625 BRINDLEY RD                                                                    SWANTON          OH 43558‐8739
MARK WOOD            6388 DUTCH RD                                                                        GOODRICH         MI 48438‐9759
MARK WOODARD         PO BOX 1645                                                                          CHICKASHA        OK 73023‐1645
MARK WOODS           1950 KEY LN                                                                          KANSAS CITY      KS 66106‐2213
MARK WOODS           PO BOX 327                                                                           ROCKFORD         OH 45882‐0327
MARK WOODS           82 DENNISON ST                                                                       OXFORD           MI 48371‐4815
MARK WRIGHT          60260 INDIAN TRL                                                                     RAY              MI 48096‐3810
MARK WRIGHT          400 DOE RDG                                                                          FRANKLIN         TN 37067‐5857
MARK WRIGHT          46283 PRINCE DR                                                                      CHESTERFIELD     MI 48051‐3227
MARK WRIGHT          263 CLARK ST                                                                         ROANOKE          IN 46783‐9112
MARK WROBEL          37505 KNOLL DR                                                                       WAYNE            MI 48184‐1068
MARK WROBEL          1638 WASHINGTON BLVD                                                                 BIRMINGHAM       MI 48009‐4153
MARK WURL            305 FIELDING CRST                                                                    BRENTWOOD        TN 37027‐7603
MARK WYCZALEK        5467 SUN VALLEY DR                                                                   GRAND BLANC      MI 48439‐9161
MARK WYETH           3273 FLY RD                                                                          SANTA FE         TN 38482‐3120
MARK WYMAN           6750 HESS RD                                                                         VASSAR           MI 48768‐9281
MARK WYSOCKI         PO BOX 177                                                                           LYONS            MI 48851‐0177
MARK YACKO           1570 TROON AVE                                                                       BRUNSWICK        OH 44212‐3275
MARK YACOUB          39430 COUNTRY LN                                                                     NOVI             MI 48375‐4590
MARK YAGIELA         556 SARSFIELD DR                                                                     ROCHESTER HLS    MI 48307‐4445
MARK YAHNEY          1525 WASHINGTON NORTH RD                                                             MANSFIELD        OH 44903‐7630
MARK YAKLIN          28117 ALINE DR                                                                       WARREN           MI 48093‐2659
MARK YANCY           41021 OLD MICHIGAN AVE TRLR 243                                                      CANTON           MI 48188‐2730
MARK YARMUTH         5872 HIBBARD ROAD                                                                    CORUNNA          MI 48817‐9314
MARK YATES           5602 RADNOR RD                                                                       INDIANAPOLIS     IN 46226‐2316
MARK YAUCH           1930 SOVEREIGN DR                                                                    FORT WAYNE       IN 46815‐7452
MARK YEAGER          PO BOX 9022                       SHANGHAI                                           WARREN           MI 48090‐9022
MARK YENSER          PO BOX 83                                                                            CONTINENTAL      OH 45831‐0083
MARK YERGIN          50889 DRAKES BAY DR                                                                  NOVI             MI 48374‐2546
MARK YOHA            4460 BOTT RD                                                                         BELLVILLE        OH 44813‐9149
MARK YORKANIS        46 GORDON AVE                                                                        FORDS            NJ 08863‐1804
MARK YOST
MARK YOUNG           863 TAM‐O‐SHANTER WAY                                                                MONROE          OH   45050
MARK YOUNG           33612 UNION CT                                                                       WESTLAND        MI   48186‐9200
MARK YOUNG           1030 N MOUNT AUBURN DR                                                               INDIANAPOLIS    IN   46224‐6122
MARK YOUNG           556 TWIN LAKE DR                                                                     ONSTED          MI   49265‐9645
MARK YOUNG           10505 JENNINGS RD                                                                    GRAND BLANC     MI   48439‐9330
MARK YOUNG           6840 N COCHRAN RD                                                                    CHARLOTTE       MI   48813‐8625
MARK YOUNG           5375 TAYLOR LN                                                                       CLARKSTON       MI   48346‐1746
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Name                              Address1                         Address2                  Address3   Address4             City               State Zip
MARK YOUNG                        1015 LODGE HALL RD                                                                         BOWLING GREEN       KY 42101‐9347
MARK YOUNG                        881 FOLLY RD                                                                               MYRTLE BEACH        SC 29588‐6234
MARK YOUNG                        4193 FAYETTEVILLE HWY                                                                      PETERSBURG          TN 37144‐2113
MARK YURESKO                      11394 HIDDEN OAKS DR                                                                       CLIO                MI 48420‐2904
MARK ZABEL                        32259 SOLON ST                                                                             ROSEVILLE           MI 48066‐1053
MARK ZABITA                       116 BROADWAY                                                                               ELIZABETH           NJ 07206‐1856
MARK ZAGATA                       12430 ECKLES RD                                                                            LIVONIA             MI 48150‐1037
MARK ZAMARRON                     5131 SUNSET DR                                                                             PERRINTON           MI 48871‐9742
MARK ZANE                         12051 CHRISTOPHER                                                                          MONTROSE            MI 48457‐8900
MARK ZANOTTI                      1504 S SHERIDAN ST                                                                         BAY CITY            MI 48708‐8126
MARK ZARZECKI                     55 TOWN FARM RD                                                                            SUTTON              MA 01590‐1225
MARK ZARZECZNY                    2643 KENNETH CT                                                                            NIAGARA FALLS       NY 14304‐4605
MARK ZATIRKA                      17405 BROOKVIEW DR                                                                         LIVONIA             MI 48152‐3488
MARK ZAYA                         8743 TOWNSEND DR                                                                           WHITE LAKE          MI 48386‐4372
MARK ZAYDEL                       42747 RICHMOND DR                                                                          STERLING HEIGHTS    MI 48313‐2930
MARK ZBOZIEN                      60100 MIRIAM DR                                                                            WASHINGTON          MI 48094‐2136
MARK ZELISKO                      7 THATCHER CT                                                                              JACKSON             NJ 08527‐3940
MARK ZELL                         1101 S OAKLAND ST                                                                          SAINT JOHNS         MI 48879‐2307
MARK ZELL                         PO BOX 1                                                                                   AVALON              WI 53505‐0001
MARK ZELLOUS                      18285 MARLOWE ST                                                                           DETROIT             MI 48235‐2763
MARK ZEPKE                        2434 N FAIRWAY LN                                                                          BLUFFTON            IN 46714‐9231
MARK ZERBINI                      43727 PROCTOR RD                                                                           CANTON              MI 48188‐1725
MARK ZEZECK                       3511 CAMPBELL ST                                                                           SANDUSKY            OH 44870‐7239
MARK ZHURAVEL                     # 105                            5628 STONEY PLACE SOUTH                                   SHELBY TWP          MI 48316‐4928
MARK ZIEBELL                      2481 RABBITSVILLE RD                                                                       MITCHELL            IN 47446‐6720
MARK ZIEBOLD                      2800 POTTER RD                                                                             WIXOM               MI 48393‐1835
MARK ZIENTARA                     4037 HILL RD                                                                               NORTH TONAWANDA     NY 14120‐1356
MARK ZIFCAK                       112 ILLINOIS CIR                                                                           ELYRIA              OH 44035‐7226
MARK ZIMMERMAN                    165 LAKESHORE DR                                                                           CLARKSTON           MI 48348‐1488
MARK ZIMMERMAN                    58 TANVIEW DR                                                                              OXFORD              MI 48371‐4756
MARK ZIMMERMAN                    1008 SUMMIT AVE                                                                            REIDSVILLE          NC 27320‐4638
MARK ZORN                         4203 STATE ROUTE 269 S                                                                     CASTALIA            OH 44824‐9353
MARK ZUCZEK                       235 MURRAY AVE                                                                             YARDVILLE           NJ 08620‐9763
MARK ZWOLENSKY                    5664 ASHLEY DR                                                                             LANSING             MI 48911‐4803
MARK'S AUTO SALES                 3950 DIVISION AVE S                                                                        GRAND RAPIDS        MI 49548‐3254
MARK'S AUTO SERVICE               9166 MARINE CITY HWY                                                                       CASCO               MI 48064‐4210
MARK'S AUTO SERVICE & SALES       500 W 1ST AVE                                                                              ROSELLE             NJ 07203‐1003
MARK'S AUTOMOTIVE                 1019 ROUTE 146                                                                             CLIFTON PARK        NY 12065
MARK'S AUTOMOTIVE                 100 LISA BRANDY CIR                                                                        WEST MONROE         LA 71291‐4461
MARK'S AUTOMOTIVE REPAIR CENTER                                    11309 LEBANON RD                                                              TN 37122
MARK'S CAR CARE                   1943 FM 1980                                                                               MARBLE FALLS        TX 78654‐7301
MARK'S GARAGE                     2301 ALEXANDRIA PIKE                                                                       SOUTHGATE           KY 41071
MARK'S IMPORT AUTO                2‐4350 WELLINGTON RD                                                  NANAIMO BC V9T 2H3
                                                                                                        CANADA
MARK'S PLACE                      ATTN: MARK SCHOWALTER            720 E MOUNT MORRIS ST                                     MT MORRIS          MI   48458‐2019
MARK'S TOWING & REPAIR            1566 ROWE AVE                                                                              WORTHINGTON        MN   56187‐9700
MARK'S TRANSMISSION               37650 MISSION BLVD                                                                         FREMONT            CA   94536
MARK, ALBERTA                     12702 ORIZABA AVE                                                                          DOWNEY             CA   90242‐4247
MARK, ALEXANDER D                 2434 WISCONSIN AVE                                                                         FLINT              MI   48506‐3885
MARK, ANDREW A                    15 WILMORE ST APT 2                                                                        MATTAPAN           MA   02126
MARK, BARBARA J                   23951 ARROYO PARK DR #163                                                                  VALENCIA           CA   91355‐3722
MARK, BARBARA L                   15013 BUNRATTY DR                                                                          LOCKPORT           IL   60441‐9216
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Name                           Address1                       Address2               Address3      Address4                City               State Zip
MARK, BETSY                    3674 OAK DR                                                                                 YPSILANTI           MI 48197‐3794
MARK, BEVERLY L                1288 DEER CREEK TRL                                                                         GRAND BLANC         MI 48439‐9264
MARK, BEVERLY LOUISE           1288 DEER CREEK TRL                                                                         GRAND BLANC         MI 48439‐9264
MARK, BILLY J                  PO BOX 1369                                                                                 AUMSVILLE           OR 97325‐1369
MARK, CHERYL L                 2821 LAGUNA ST                                                                              DEMING              NM 88030‐8636
MARK, CHERYL L                 2821 LAGUNA DR                                                                              DEMING              NM 88030‐8636
MARK, DALE P                   G 6544 RICHFIELD RD                                                                         FLINT               MI 48506
MARK, DAVID R                  PO BOX 773                                                                                  FENTON              MI 48430‐0773
MARK, DOROTHEA C               5409 W LAKE RD                                                                              BURT                NY 14028
MARK, DOUGLAS E                2152 CHEVY CHASE DR                                                                         DAVISON             MI 48423‐2004
MARK, ELEANOR L                2434 WISCONSIN AVE                                                                          FLINT               MI 48506‐3885
MARK, EUGENE J
MARK, GRADY                    3822 W COURT ST                                                                             FLINT              MI   48532‐3837
MARK, JEAN                     6336 N SEYMOUR RD                                                                           FLUSHING           MI   48433‐1086
MARK, JOHN P                   PO BOX 367                                                                                  TOWNVILLE          SC   29689‐0367
MARK, JOSEPH J                 206 PERSHING DR                                                                             ROCHESTER          NY   14609‐4120
MARK, JOSEPH P                 6336 N SEYMOUR RD                                                                           FLUSHING           MI   48433‐1086
MARK, JOSEPH S                 17 W HUGHES LAKE RD                                                                         ROSE CITY          MI   48654‐9662
MARK, JOYCE                    8 ASTORIA ST                                                                                MATTAPAN           MA   02126‐2442
MARK, KATHY D                  601 ALABAMA CT                                                                              MARION             IN   46953‐1051
MARK, KEITH C                  6620 SLAYTON SETTLEMENT RD                                                                  LOCKPORT           NY   14094‐1145
MARK, LARRY W                  1626 SUMMIT LAKE AVE                                                                        CRESTON            IA   50801‐8346
MARK, LAWRENCE JACOB           17608 REDWOOD AVE                                                                           LATHRUP VILLAGE    MI   48076‐2735
MARK, MILTON                   PO BOX 214                                                                                  LIMA               OH   45802‐0214
MARK, OMA                      34872 FREEDOM RD APT 9                                                                      FARMINGTON HILLS   MI   48335‐4014
MARK, PATRICIA A               12614 BEAR CREEK TER                                                                        BELTSVILLE         MD   20705‐1074
MARK, RALPH C                  41344 NORTHWIND DR                                                                          CANTON             MI   48188‐1314
MARK, REBECCA                  5 BENS WAY                                                                                  FRANKLIN           MA   02038‐1051
MARK, RICHARD K                1114 FALLBROOK                                                                              ALLEGAN            MI   49010‐8106
MARK, ROBERT A                 104 NESBITT ST                                                                              POLAND             OH   44514‐3738
MARK‐10 CORPORATION            11 DIXON AVE                                                                                COPIAGUE           NY   11726‐1902
MARK‐10/HICKSVILLE             458 W JOHN ST                                                                               HICKSVILLE         NY   11801‐1031
MARK‐EDWARD GREY               KNIEBISSTRASSE 9                                                    76307 KARLSBAD,
                                                                                                   GERMANY
MARK‐EDWARD GREY               KNIEBISSTRASSE 9               76307 KARLSBAD
MARK‐MAKER CO INC              ATTN: BOB PETTIJOHN            4157 STAFFORD AVE SW                                         GRAND RAPIDS       MI   49548‐3096
MARKAJANI, DONALD L            290 VINAL AVE                                                                               ROCHESTER          NY   14609‐1229
MARKAKIS, EMILIOS K            925 PERKINSWOOD BLVD SE                                                                     WARREN             OH   44484‐4472
MARKAKIS, KONSTANTINOS         610 BROADWAY AVE SE                                                                         WARREN             OH   44484‐2660
MARKAKIS, REGINA M             5620 DEMPSEY PLACE                                                                          SANTA ROSA         CA   95403
MARKANOVICH, CRYSTAL J         4699 CONTINENTAL DR            LOT 548                                                      HOLIDAY            FL   34690‐5689
MARKANOVICH, CRYSTAL J         4699 CONTINENTAL DR LOT 548                                                                 HOLIDAY            FL   34690‐5689
MARKARIAN, ARSENE              3165 SHADY WOODS CIR                                                                        LAWRENCEVILLE      GA   30044‐2556
MARKARIAN, BERJ G              1253 FORESTGLEN LN                                                                          SAN DIMAS          CA   91773‐1026
MARKATOS, JAMES J              7 CHURCH LN APT K                                                                           VLY COTTAGE        NY   10989‐1971
MARKBY, IRENE G                11450 MOFFETT CT                                                                            FENTON             MI   48430‐8810
MARKCUM, WILLIAM P             5961 SID DR                                                                                 SAGINAW            MI   48601‐9248
MARKDOM PLAS PRO/ONT           1220 BIRCHMOUNT ROAD                                                SCARBOROUGH ON
                                                                                                   M1P2C6 CANADA
MARKDOM PLASTIC PROD LTD       1220 BIRCHMOUNT RD                                                  SCARBOROUGH ON M1P
                                                                                                   2C6 CANADA
MARKDOM PLASTIC PRODUCTS LTD   1220 BIRCHMOUNT ROAD           TORONTO,ON ,M1P2C6                   CANADA
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Name                           Address1                       Address2                   Address3              Address4               City             State Zip
MARKDOM PLASTIC PRODUCTS LTD   GORDON LONGERICH               1220 BIRCHMOUNT ROAD       TORONTO ,ON ,M1P2C6   CANADA
MARKDOM PLASTIC PRODUCTS LTD
MARKDOM PLASTIC PRODUCTS LTD                                  1220 BIRCHMOUNT RD                               TORONTO,ON,M1P
                                                                                                               2C3,CANADA
MARKDOM PLASTIC PRODUCTS LTD   JUANY DIETTERLE X223           1220 BIRCHMOUNT ROAD                             SHIHEUNG SI, KYUNGGI
                                                                                                               KOREA (REP)
MARKDOM PLASTIC PRODUCTS LTD   1220 BIRCHMOUNT RD                                                              TORONTO ON M1P 2C3
                                                                                                               CANADA
MARKDOM PLASTICS PROD, LTD.    JUANY DIETTERLE X223           1220 BIRCHMOUNT ROAD                             SHIHEUNG SI, KYUNGGI
                                                                                                               KOREA (REP)
MARKE DILKS                    4 ALPINE RD                                                                                            WHITING          NJ    08759‐3268
MARKE LOVELADY                 245 WALMSLEY CT                                                                                        DAYTON           NV    89403
MARKE, TIMOTHY J               1127 TWIN BRIDGE LN                                                                                    PEACHTREE CITY   GA    30269‐3059
MARKEATTA STANZE               1013 WASHINGTON TWIN RD                                                                                EATON            OH    45320‐1301
MARKEBA S CAVETT               2645 WILLIAMSON AVE                                                                                    JACKSON          MS    39213
MARKEE, ANDREW N               1101 OCEAN AVE                                                                                         WILDWOOD         NJ    08260‐5654
MARKEE, EMILIA J               2056 E STANLEY RD                                                                                      MT MORRIS        MI    48458‐8804
MARKEE, KIMBERLY F             1823 CALAIS RD                                                                                         FORT WAYNE       IN    46814‐8996
MARKEE, MILDRED I              351 HILLSIDE AVE                                                                                       DAVENPORT        FL    33897‐9786
MARKEE, RICKY L                4041 GRANGE HALL RD LOT 45                                                                             HOLLY            MI    48442‐1919
MARKEE, RICKY LARUE            4041 GRANGE HALL RD LOT 45                                                                             HOLLY            MI    48442‐1919
MARKEE, SUSAN E                1403 COUNTRY LN                                                                                        TRENTON          NJ    08628
MARKEE‐HOLDORF, SALLY          21045 JOHNSON RD                                                                                       ATHENS           AL    35613‐4353
MARKEEA WILLIAMS               PO BOX 2944                                                                                            DETROIT          MI    48202‐0974
MARKEIA C WYNN                 1816 LAPEER RD                                                                                         FLINT            MI    48503‐4077
MARKEISHA GAFFORD              18 W BETHUNE ST                                                                                        DETROIT          MI    48202‐2707
MARKEITH ENTERPRISES INC       16227 DEVONSHIRE ST            DBA MERRY MAIDS                                                         GRANADA HILLS    CA    91344‐6910
MARKEL BAIRD                   2321 W 14 MILE RD                                                                                      ROYAL OAK        MI    48073‐1312
MARKEL CORP                    MR. BUD GEORGE                 PO BOX 752                                                              DAWSON           GA    39842‐0752
MARKEL CORPORATION             MR. BUD GEORGE                 PO BOX 752                                                              NORRISTOWN       PA    19404‐0752
MARKEL DENNIS A & KAREN R      3662 HAYES RD                                                                                          DORSET           OH    44032‐9755
MARKEL DON                     2270 CASSATT DR                                                                                        HENDERSON        NV    89074‐5061
MARKEL DWIGHT THOMASON         NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DR                                 DAINGERFIELD     TX    75638
MARKEL JOHN D                  1088 WILSON SHARPSVILLE RD                                                                             CORTLAND         OH    44410‐9562
MARKEL JR, JOHN A              PO BOX 98                      976 E KINNEY                                                            MUNGER           MI    48747‐0098
MARKEL MICHAEL W               12075 SANDY RD                                                                                         NORTH JACKSON    OH    44451‐9637
MARKEL RICHARD C               12101 SANDY RD                                                                                         NORTH JACKSON    OH    44451‐9637
MARKEL, ALDEN J                11463 TIMBERLANE TRL                                                                                   HARTLAND         MI    48353‐3452
MARKEL, BERNARD A              4182 MACKINAW RD                                                                                       BAY CITY         MI    48706‐9434
MARKEL, DANIEL L               1704 FRASER RD                                                                                         KAWKAWLIN        MI    48631‐9475
MARKEL, ELOISE C               1088 WILSON SHARPSVILLE RD                                                                             CORTLAND         OH    44410‐9562
MARKEL, GENE M                 3218 YORK DR                                                                                           TROY             MI    48084‐2654
MARKEL, HAROLDEANA M           2126 W ROOSEVELT RD            UNIT 103                                                                WHEATON          IL    60187
MARKEL, HAROLDEANA M           2126 W ROOSEVELT RD APT 103                                                                            WHEATON          IL    60187‐6038
MARKEL, JOHN                   11690 LAMBS RD                 PO BOX 638                                                              RILEY            MI    48041‐3118
MARKEL, JOHN D                 1088 WILSON SHARPSVILLE RD                                                                             CORTLAND         OH    44410‐9562
MARKEL, JOSEPH E               PO BOX 2055                                                                                            BAY CITY         MI    48707‐2055
MARKEL, LARRY                  2651 NOLAN AVE NW                                                                                      GRAND RAPIDS     MI    49534
MARKEL, LEO F                  3880 W VASSAR RD                                                                                       REESE            MI    48757
MARKEL, LEONA C                13 CHAUCER DR                                                                                          NEWARK           DE    19713‐2530
MARKEL, LEONA C                13 CHAUCER DRIVE                                                                                       NEWARK           DE    19713‐2530
MARKEL, MARY ALICE             76 PULASKI ST                                                                                          BUFFALO          NY    14206‐3224
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Name                           Address1                          Address2                      Address3   Address4         City             State Zip
MARKEL, MARY ALICE             76 PULASKI                                                                                  BUFFALO           NY 14206
MARKEL, MICHAEL W              12075 SANDY RD                                                                              NORTH JACKSON     OH 44451‐9637
MARKEL, RICHARD                11368 93RD ST                                                                               LARGO             FL 33773‐4613
MARKEL, RICHARD                11368 93RD ST. NORTH                                                                        LARGO             FL 33773‐4613
MARKEL, RICHARD C              12101 SANDY RD                                                                              NORTH JACKSON     OH 44451‐9637
MARKEL, RICHARD S              22 GRANT LN                                                                                 SMYRNA            DE 19977‐9648
MARKEL, RICHARD W              27511 HAGEN RD                                                                              CHESTERFIELD      MI 48051‐1152
MARKEL, ROSE F                 4545 CHESTNUTRIDGE RD #112A                                                                 AMHERST           NY 14228
MARKEL, TIMOTHY J              2385 GEORGETOWN BLVD                                                                        ANN ARBOR         MI 48105‐2942
MARKELL, ANDREW R              3495 W MAPLE GROVE RD                                                                       FARWELL           MI 48622
MARKELL, BRAD M                24600 EMERSON ST                                                                            DEARBORN          MI 48124
MARKELL, LLOYD C               9302 HUBBARD RD                                                                             DAVISON           MI 48423‐9370
MARKELL, PAUL V                1105 MEADOWLAWN DR                                                                          PONTIAC           MI 48340‐1733
MARKELL, RONNIE E              36 WESTWOOD DR                                                                              MASSENA           NY 13662‐1617
MARKEM, THOMAS J               1743 BIRCHWOOD LOOP                                                                         LAKELAND          FL 33811‐2922
MARKEN KEITH EDWARD (429368)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                 STREET, SUITE 600
MARKEN, KEITH EDWARD           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                                 STREET, SUITE 600
MARKER CLARENCE H (457038)     SIEBEN POLK LAVERDIERE & DUSICH   999 WESTVIEW DR                                           HASTINGS         MN 55033‐2432
MARKER ROBERT M SR (493977)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                 STREET, SUITE 600
MARKER THIAS, IRENE F          3400 W RIGGIN RD UNIT 21                                                                    MUNCIE           IN   47304‐6169
MARKER THOMAS                  6166 KRISTA DR                                                                              SPRING HILL      FL   34609‐8955
MARKER, ALOYSIUS               8614 16 1/2 MILE RD                                                                         STERLING HTS     MI   48312‐1903
MARKER, BETTY J                723 S FAYETTE ST                                                                            SAGINAW          MI   48602‐1507
MARKER, CLARENCE H             SIEBEN POLK LAVERDIERE & DUSICH   999 WESTVIEW DR                                           HASTINGS         MN   55033‐2432
MARKER, ELEANOR M              6933 PLAZA DR APT 1                                                                         NIAGARA FALLS    NY   14304‐6600
MARKER, FRED J                 1650 MERRY RD                                                                               FAIRGROVE        MI   48733‐9527
MARKER, FRED JAMES             1650 MERRY RD                                                                               FAIRGROVE        MI   48733‐9527
MARKER, GARY                   36402 SUFFOLK ST                                                                            CLINTON TWP      MI   48035‐1645
MARKER, GEORGE D               310 E WENGER RD                                                                             ENGLEWOOD        OH   45322‐2828
MARKER, JAMES C                10287 CONTINENTAL DR                                                                        TAYLOR           MI   48180‐3108
MARKER, JAMES J                1756 COTTER RD                                                                              MUNGER           MI   48747‐9746
MARKER, JAMES L                811 N GLENWOOD TRL                                                                          SOUTHERN PINES   NC   28387‐7322
MARKER, JAMES LEROY            811 NORTH GLENWOOD TRAIL                                                                    SOUTHERN PNES    NC   28387‐7322
MARKER, JOHN C                 812 TAYLORS BRIDGE RD                                                                       TOWNSEND         DE   19734‐9705
MARKER, JOSEPH C               4470 SWEETGUM PL                                                                            DAYTON           OH   45424‐5049
MARKER, LINDA                  4161 RUSTIC PL                                                                              SHOREVIEW        MN   55126‐6250
MARKER, MABEL                  5640 BELL RD                                                                                UNIONVILLE       MI   48767‐9660
MARKER, MARY E                 2094 WASHINGTON JACKSON RD.                                                                 EATON            OH   45320‐9667
MARKER, MARY S                 4883 ORANGE TREE PLACE                                                                      VENICE           FL   34293‐4241
MARKER, RAYANA B               1237 CORRAL LN                                                                              SOUTH LYON       MI   48178‐5304
MARKER, RICHARD L              5150 MCGREGORY RD                                                                           UNIONVILLE       MI   48767‐9632
MARKER, RICHARD L              4246 SUMMERTREE RD                                                                          VENICE           FL   34293‐4251
MARKER, RICHARD L              1501 TULANE RD                                                                              CLAREMONT        CA   91711‐3425
MARKER, RICKY D                270 STONE MEADOWS BLVD                                                                      WEST MILTON      OH   45383
MARKER, ROBERT M               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                                 STREET, SUITE 600
MARKER, RUSSEL G               5092 KINTYRE LN                                                                             BRIGHTON         MI 48116‐9725
MARKER, THOMAS C               200 CHURCHILL PL                                                                            FRANKLIN         TN 37067‐4425
MARKER, THOMAS M               22 NONA DR                                                                                  TROTWOOD         OH 45426‐3011
                                   09-50026-mg             Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
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Name                               Address1                        Address2                         Address3                 Address4               City               State Zip
MARKER, TIMOTHY J                  4155 NEWCASTLE DR                                                                                                CLARKSTON           MI 48348
MARKER, WILLIAM D                  6168 CONCORD RD                                                                                                  EATON               OH 45320‐9578
MARKERT, DONALD R                  3051 COLONIAL WAY APT 9                                                                                          SAN JOSE            CA 95128‐4311
MARKERT, HEINZ M                   6215 DORCHESTER RD                                                                                               LOCKPORT            NY 14094‐5903
MARKERT, RICHARD R                 180 HARRIS RD                                                                                                    MONTGOMERY CY       MO 63361‐4711
MARKERT‐POWIS, MARGARET M          12056 KRIEGER RD                                                                                                 BIRCH RUN           MI 48415‐9425
MARKERT‐POWIS, MARGARET MAY        12056 KRIEGER RD                                                                                                 BIRCH RUN           MI 48415‐9425
MARKES, WARREN                     133 BRYAN CAVE RD                                                                                                SOUTH DAYTONA       FL 32119‐4401
MARKESINO, PATRICIA                208 E MILL POND DR                                                                                               BROOKLYN            MI 49230‐8505
MARKESON JR, SILAS B               1 TOWERS PARK LN APT 2114                                                                                        SAN ANTONIO         TX 78209‐6440
MARKET AXESS                       140 BROADWAY FL 42                                                                                               NEW YORK            NY 10005‐1114
MARKET DYNAMICS GROUP LLC          ATTN: BOB MUNGO                 6464 RIDINGS RD # 4                                                              SYRACUSE            NY 13206‐1177
MARKET INSIGHT CORP                2479 E BAYSHORE RD STE 809                                                                                       PALO ALTO           CA 94303‐3234
MARKET INSIGHT CORP                GENA MAYER                      2479 E. BAYSHORE, STE 809                                                        PALO ALTO           CA 94303
MARKET INSIGHT CORPORATION         ATTN: RICH FALCONE              2479 E BAYSHORE RD               STE 809                                         PALO ALTO           CA 94303
MARKET OPIN/FRMNGTN                31700 MIDDLEBELT ROAD                                                                                            FARMINGTON HILLS    MI 48334
MARKET PROBE INC                   2655 N MAYFAIR RD                                                                                                MILWAUKEE           WI 53226‐1302
MARKET STRATEGIES INC              2000 TOWN CTR STE 2600                                                                                           SOUTHFIELD          MI 48075‐1257
MARKET STRATEGIES INTERNATIONAL    4240 SOLUTIONS CTR # 774240                                                                                      CHICAGO              IL 60677‐4001
MARKET STREET SERVICE              159 W MARKET ST                                                                                                  NAPPANEE            IN 46550‐1920
MARKET STREET TIRE & AUTO          1271 MARKET ST                                                                                                   CHATTANOOGA         TN 37402‐2716
MARKETA L WATKINS                  520 CRESTMORE AVE                                                                                                DAYTON              OH 45417
MARKETING & FIN/WDLN               6320 CANOGA AVE STE 1600        MANAGEMENT ENTERPRISES, INC.                                                     WOODLAND HILLS      CA 91367‐2564

MARKETING & FINANCIAL MANAGEMENT   30497 CANWOOD ST                STE 101                                                                          AGOURA HILLS       CA 91301‐4330
ENTERPRISES INC
MARKETING & SALES EXECUTIVES OF    PO BOX 99463                    C/O MEETING COORDINATORS                                                         TROY               MI 48099‐9463
DETROIT
MARKETING ASSOCIATES               777 WOODWARD AVE FL 4                                                                                            DETROIT            MI   48226‐3582
MARKETING ASSOCIATES LLC           PO BOX 312290                                                                                                    DETROIT            MI   48231‐2290
MARKETING CONNECTION               93 PIQUETTE ST                                                                                                   DETROIT            MI   48202‐3511
MARKETING CONNECTION               ATTN: LEON LE BEAU              93 PIQUETTE ST                                                                   DETROIT            MI   48202‐3591
MARKETING DISPLAYS INC             38271 W 12 MILE RD              PO BOX 576                                                                       FARMINGTON HILLS   MI   48331‐3041
MARKETING DISPLAYS INTERNATIONAL   PO BOX 576                                                                                                       FARMINGTON         MI   48332‐0576

MARKETING DRIVE GROUP LIMITED      REGISTERED OFFICE 21‐23         MEARD STREET W1F 0EY                                      LONDON GREAT BRITAIN
MARKETING EVOULTION                107 GRAND STREET STE 600                                                                                         NEW YORK           NY   10013
MARKETING LINKS                    3240 COOLIDGE HWY                                                                                                BERKLEY            MI   48072‐1634
MARKETING MOTIVATIONAL &           PROMOTIONAL RESOURCES INC       1405 RIVERSIDE ST STE 110                                                        JANESVILLE         WI   53548‐5081
MARKETING SCIENCE INSTITUTE        1000 MASSACHUSETTS AVE                                                                                           CAMBRIDGE          MA   02138
MARKETING WERKS INC                130 E RANDOLPH ST STE 2400                                                                                       CHICAGO            IL   60601‐6322
MARKETING, MOTIVATIONAL & PROM     1405 RIVERSIDE ST STE 110                                                                                        JANESVILLE         WI   53548‐5081
MARKETRESEARCH DOT COM INC         11200 ROCKVILLE PIKE STE 504                                                                                     ROCKVILLE          MD   20852‐3189
MARKETS DIRECT INC                 2270 CAMINO VIDA ROBLE STE P                                                                                     CARLSBAD           CA   92011‐1503
MARKETS DIRECT INC                 CHRIS ATWATER                   1284 PUERTA DEL SOLE, BLDG 150                                                   LEBANON            VA   24266
MARKETS DIRECT INC                 CHRIS ATWOOD                    C/O SEMCO PLASTICS               5301 OLD BAUMGARTNER RD CORTAZAR VILLAGRAN GJ
                                                                                                                            38300 MEXICO
MARKETS DIRECT INC                 PO BOX 131598                                                                                                    CARLSVAD           CA 92011
MARKETS DIRECT, INC                CHRIS ATWOOD                    C/O SEMCO PLASTICS               5301 OLD BAUMGARTNER RD CORTAZAR VILLAGRAN GJ
                                                                                                                            38300 MEXICO
MARKETS DIRECT, INC.               CHRIS ATWATER                   1284 PUERTA DEL SOLE, BLDG 150                                                   LEBANON            VA 24266
MARKETTA COLLINS                   1116 TUSCALOOSA AVE                                                                                              GADSDEN            AL 35901‐7202
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Name                        Address1                             Address2                      Address3   Address4             City               State Zip
MARKETTI, DAVID F           3066 NORWAY LAKE RD                                                                                COLUMBIAVILLE       MI 48421‐9754
MARKETTI, EUGENE P          2805 W BOGART RD                                                                                   SANDUSKY            OH 44870‐5357
MARKETTI, MARTHA B          10 BETH STACEY BLVD 106‐B            STONE EDGE                                                    LEHIGH ACRES        FL 33936‐6029
MARKETTI, SHERRY L          3066 NORWAY LAKE RD                                                                                COLUMBIAVILLE       MI 48421‐9754
MARKETTI, TAWNYA RACHEL     4595 OAKVISTA AVE                                                                                  CLARKSTON           MI 48346‐3737
MARKETWIRE LP
MARKEWICZ, NELLIE J         27410 DEE DR                                                                                       BONITA SPRINGS     FL   34135‐7140
MARKEWICZ, THOMAS P         15421 POWER DAM RD                                                                                 DEFIANCE           OH   43512‐8817
MARKEWYCZ, WALTER           228 BENJAMIN BLVD                                                                                  BEAR               DE   19701‐1690
MARKEY CATHERINE            20330 WETHERBY CT                                                                                  BROOKFIELD         WI   53045‐3357
MARKEY I I, JOSEPH P        2610 LAVINE LN                                                                                     WAUKESHA           WI   53189‐6831
MARKEY JR., GEORGE W        931 N SHELDON ST                                                                                   CHARLOTTE          MI   48813‐1203
MARKEY NOBLE                26104 ROSE MARIE DR                                                                                BROWNSTOWN         MI   48134‐9448
MARKEY PEEPLES              PO BOX 310745                                                                                      FLINT              MI   48531‐0745
MARKEY SMITH, GERALDINE B   255 ROCK RANCH RD                                                                                  PICAYUNE           MS   39466‐9103
MARKEY'S AUDIO VISUAL       ATTN: CLIFF WATKINS                  5335 SPRINGBORO PIKE # E                                      MORAINE            OH   45439‐2913
MARKEY'S VIDEO IMAGES LLC   ATTN: CORPORATE OFFICER/AUTHORIZED   6951 CORPORATE CIR                                            INDIANAPOLIS       IN   46278‐1957
                            AGENT
MARKEY'S VIDEO IMAGES LLC   6951 CORPORATE CIR                                                                                 INDIANAPOLIS       IN   46278‐1957
MARKEY, CAROLINE L          4350 N MICHIGAN AVE                                                                                SAGINAW            MI   48604‐1649
MARKEY, CAROLYN A           APT 4D                               200 RIVERSIDE DRIVE                                           NEW YORK           NY   10025‐7243
MARKEY, CHERYL W            1909 EAST ORCHID LANE                                                                              GREEN VALLEY       AZ   85614‐5614
MARKEY, CHERYL W            1909 E ORCHID LN                                                                                   GREEN VALLEY       AZ   85614‐6286
MARKEY, EDWARD J            1909 EAST ORCHID LANE                                                                              GREEN VALLEY       AZ   85614‐5614
MARKEY, EDWARD J            1909 E ORCHID LN                                                                                   GREEN VALLEY       AZ   85614‐6286
MARKEY, ELIZABETH ANNE      5138 MANGROVE DR                                                                                   SAGINAW            MI   48603‐1141
MARKEY, ELIZABETH ANNE      5138 MANGROVE                                                                                      SAGINAW            MI   48603‐1422
MARKEY, GARY J              6125 ARCOLA ST                                                                                     GARDEN CITY        MI   48135‐2526
MARKEY, GENEVIEVE S         8043 FALCONVIEW PKWY                                                                               FREELAND           MI   48623‐8641
MARKEY, GEORGETTE B         761 E PROSPECT ST                                                                                  GIRARD             OH   44420‐4420
MARKEY, GEORGETTE B         761 EAST PROSPECT STREET                                                                           GIRARD             OH   44420‐2331
MARKEY, JAMES L             36221 W LYMAN RD                                                                                   FARMINGTON HILLS   MI   48331‐3820
MARKEY, JEAN T              9024 STOURBRIDGE DR                                                                                HUNTERSVILLE       NC   28078‐9791
MARKEY, JEFFREY W           1037 KINGS HWY                                                                                     LINCOLN PARK       MI   48146‐4207
MARKEY, JOHN                412 GREEN MEADOWS DR                                                                               LANSING            MI   48917‐3031
MARKEY, LORAINE H           PO BOX 462                                                                                         CARROLLTON         MI   48724‐0462
MARKEY, ROBERT              2313 HIGHBURY DR                                                                                   TROY               MI   48085‐3874
MARKEY, ROBERT C            3918 RUSHLAND AVE                                                                                  TOLEDO             OH   43613‐4316
MARKEY, TERESA A            2616 SPICEBERRY LN                                                                                 BOYNTON BEACH      FL   33436‐6649
MARKEY, WAYNE F             27 SULLIVAN CHASE DR                                                                               AVONDALE           PA   19311‐9348
MARKEY‐MCCOY, MARY LOU      1204 NW 73RD TER                                                                                   KANSAS CITY        MO   64118‐8381
MARKEYS AUDIO VISUAL INC    ACCOUNTS RECEIVABLE                  2355 ENTERPRISE PARK PL                                       INDIANAPOLIS       IN   46218‐4290
MARKEYS VIDEO IMAGES LLC    DBA SENSORY TECHNOLOGIES             6951 CORPORATE CIR                                            INDIANAPOLIS       IN   46278‐1957
MARKGRAF, CATHERINE T       11119 MILLERSBURG RD                                                                               HOWARD             OH   43028‐9137
MARKGRAFF, VERNA E          23815 HIGHWAY 113                                                                                  WILMINGTON         IL   60481‐8907
MARKHAM AUTO                16 LAIDLAW BLVD                                                               MARKHAM ON L3P 1W7
                                                                                                          CANADA
MARKHAM DAVID C (429369)    GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                 STREET, SUITE 600
MARKHAM JR, WILLIAM L       4105 MADISON AVE                                                                                   ANDERSON           IN 46013‐1434
MARKHAM LELAND R (498287)   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                 STREET, SUITE 600
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Name                          Address1                         Address2                         Address3   Address4         City                 State Zip
MARKHAM TOMMIE LEE (167131)   BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG , 233 EAST                               JACKSONVILLE          FL 32202
                              MCCLAMMA & YEGELWEL P.A.         BAY STREET
MARKHAM, DAVID C              625 W VILLA DR                                                                                BOWLING GREEN        KY 42101‐9231
MARKHAM, DAVID C              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK              VA 23510‐2212
                                                               STREET, SUITE 600
MARKHAM, EDWARD W             37 FORD RD N                                                                                  MANSFIELD            OH   44905‐2925
MARKHAM, EUGENE M             4323 S BRENTWOOD ST                                                                           INDEPENDENCE         MO   64055‐5142
MARKHAM, FARON D              4842 SUNDALE DR                                                                               CLARKSTON            MI   48346‐3691
MARKHAM, GAROLD D             2656 N 61ST ST                                                                                MESA                 AZ   85215‐1536
MARKHAM, GEORGE F             345 E EDGEWOOD BLVD APT 3                                                                     LANSING              MI   48911‐5830
MARKHAM, GWEN E               4554O VIOLET LANE                                                                             NOVI                 MI   48374
MARKHAM, ISABEL M             27495 HURON CIR APT 2039                                                                      NOVI                 MI   48377‐3457
MARKHAM, JANE                 7151 W 500 SOUTH                                                                              SWAYZEE              IN   46986
MARKHAM, JARVIS A.            819 E SANDPOINT CT                                                                            CARSON               CA   90746‐1526
MARKHAM, JO A                 8640 KIOUSVILLE GEORGESVILL RD                                                                LONDON               OH   43140‐9417
MARKHAM, JOHN S               2387 VALENCIA RD                                                                              GALLOWAY             OH   43119‐9579
MARKHAM, JOYCE J.             5713 SPINDLE PL                                                                               FORT PIERCE          FL   34982‐3986
MARKHAM, KENNETH L            908 SPRINGFIELD PIKE                                                                          CONNELLSVILLE        PA   15425‐4321
MARKHAM, KURT D               3901 S COUNTY ROAD T                                                                          BRODHEAD             WI   53520‐9704
MARKHAM, LELAND R             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK              VA   23510‐2212
                                                               STREET, SUITE 600
MARKHAM, LISA A               22478 BENJAMIN ST                                                                             SAINT CLAIR SHORES   MI   48081‐2343
MARKHAM, NADINE               #3 WALLACH DR                                                                                 FENTON               MO   63026‐4963
MARKHAM, NADINE               3 WALLACH DR                                                                                  FENTON               MO   63026‐4963
MARKHAM, ORVAL L              3439 WELLS RD                                                                                 PETERSBURG           MI   49270‐9439
MARKHAM, PAMELA S             413 W SHERWOOD TER                                                                            FORT WAYNE           IN   46807‐2735
MARKHAM, PAUL E               7844 JONAGOLD DR SE                                                                           GRAND RAPIDS         MI   49508‐7605
MARKHAM, REBECCA A            2216 UNION PLACE CT                                                                           COLUMBIA             TN   38401‐5827
MARKHAM, ROBERT W             3000 W 82ND PL                                                                                INGLEWOOD            CA   90305‐1441
MARKHAM, RONALD B             3855 GREENSPRING AVE UNIT 119                                                                 BALTIMORE            MD   21211‐3301
MARKHAM, STEVEN C             1630 BLAIR ST                                                                                 LANSING              MI   48910‐1127
MARKHAM, TOMMIE               BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG, 233 EAST                                JACKSONVILLE         FL   32202
                              MCCLAMMA & YEGELWEL P.A.         BAY STREET
MARKHAM‐BUDD, JOA G           472 N TERRACE ST                                                                              JANESVILLE           WI   53548
MARKHART, EARL D              8010 W DIXON RD                                                                               REESE                MI   48757‐9531
MARKHART, VERA L              8055 W DIXON RD                                                                               REESE                MI   48757‐9531
MARKHART, VERA L              8055 DIXON                                                                                    REESE                MI   48757‐9531
MARKHOFF, ALAN E              1962 BARRINGTON CT                                                                            ROCHESTER HLS        MI   48306‐3216
MARKIDIS, MARILYN R           1400 EAST AVE                                                                                 ROCHESTER            NY   14610
MARKIDIS, STEPHEN             58 PLACID PL                                                                                  ROCHESTER            NY   14617‐3023
MARKIE DANNA                  530 TULL RD                                                                                   WEST MONROE          LA   71292‐2240
MARKIE, MABEL L               1 MARKIE RD                                                                                   FARMINGTON           CT   06032‐2811
MARKIECKI, EVELYN D           CATHOLIC FAMILY SERVICE          915 COLUMBUS AVE                                             BAY CITY             MI   48708
MARKIECKI, EVELYN D           915 COLUMBUS AVE                 CATHOLIC FAMILY SERVICE                                      BAY CITY             MI   48708‐6603
MARKIEWICZ, ANNA M            61960 SCHOENHERR RD                                                                           WASHINGTON           MI   48094‐1720
MARKIEWICZ, CRAIG P           3820 BETHUY RD                                                                                CASCO                MI   48064‐1713
MARKIEWICZ, EDWARD            23503 BRINMONT PLACE COURT                                                                    KATY                 TX   77494‐2285
MARKIEWICZ, GEORGE            2039 POPPYWOOD AVE                                                                            HENDERSON            NV   89012‐4581
MARKIEWICZ, GERALD J          166 WESTBROOK DR                                                                              BUFFALO              NY   14225‐2005
MARKIEWICZ, GLORIA Z          2760 SUGARLOAF CLUB DR                                                                        DULUTH               GA   30097‐7441
MARKIEWICZ, JANICE S          38155 SHERWOOD ST 98                                                                          WESTLAND             MI   48185
MARKIEWICZ, JOSEPH S          3 N 15TH AVE                                                                                  MANVILLE             NJ   08835‐1521
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Name                         Address1                       Address2                   Address3   Address4              City              State Zip
MARKIEWICZ, LOUIS P          2009 KENWOOD CT                                                                            ROYAL OAK          MI 48067‐1528
MARKIEWICZ, MARTIN L         3509 CASCADE CIR                                                                           ROCHESTER HILLS    MI 48307‐5172
MARKIEWICZ, MATEUSZ          ULICA TYNIECKA                 27/24                                 WARSAW 02615 POLAND
MARKIEWICZ, MATEUSZ          444 WASHINGTON BLVD APT 2322                                                               JERSEY CITY       NJ   07310
MARKIEWICZ, MONICA           7036 CARDWELL ST                                                                           GARDEN CITY       MI   48135‐2242
MARKIEWICZ, STELLA V         28116 GLADSTONE                                                                            ST CLAIR SHORES   MI   48081‐1622
MARKIEWICZ, THERESA          8B JUNIPER LN                                                                              WHITING           NJ   08759‐1847
MARKIEWICZ, THERESA          8 B JUNIPER LANE                                                                           WHITING           NJ   08759‐1741
MARKIEWICZ‐PALMER, APRIL M   107 HUNTINGTON CIR                                                                         ELYRIA            OH   44035‐1424
MARKILLIE, BUENA ROBERTA     1350 HOUSTON DR                                                                            SWARTZ CREEK      MI   48473‐9712
MARKIN, DAVID C              3630 SHERWOOD ST                                                                           SAGINAW           MI   48603‐2065
MARKIN, JAMES E              3321 CADILLAC AVE                                                                          WAYNE             MI   48184‐1402
MARKIN, JAMES EDWARD         3321 CADILLAC AVE                                                                          WAYNE             MI   48184‐1402
MARKIN, JOYCE                161 W LEWISTON AVE                                                                         FERNDALE          MI   48220‐2722
MARKIN, MAXIE B              4318 GRAND BLANC RD                                                                        SWARTZ CREEK      MI   48473‐9150
MARKIN, MAXIE B              4318 W GRAND BLANC RD                                                                      SWARTZ CREEK      MI   48473‐9150
MARKIN, ROGER K              7601 RIVER FORK DR                                                                         NASHVILLE         TN   37221‐4602
MARKIN, WILLIAM A            113 N SAM BLVD                                                                             STIGLER           OK   74462‐2080
MARKING SERVICES INC         8265 N FAULKNER RD                                                                         MILWAUKEE         WI   53224‐2842
MARKING SERVICES INC         8265 N FAULKNER RD             PO BOX 240027                                               MILWAUKEE         WI   53224‐2842
MARKINS, LARRY L             PO BOX 8262                                                                                HORSESHOE BAY     TX   78657‐8262
MARKINS, LINDA D             PO BOX 8262                                                                                HORSESHOE BAY     TX   78657‐8262
MARKINS, VELMA J             1346 GUENTHER RD                                                                           CHELSEA           MI   48118‐9633
MARKIS COLEMAN               35004 MITCHELL ST                                                                          GRAND BLANC       MI   48439‐7220
MARKIS WINTERS               10500 BAKER RD                                                                             GREENVILLE        MI   48838‐9449
MARKITA GRIGGS               121 W RUTGERS AVE                                                                          PONTIAC           MI   48340‐2759
MARKITA I MOORE              5150 NORTHCUTT PL                                                                          DAYTON            OH   45414
MARKITTA R EVANS             5204 EMBASSY PLACE                                                                         DAYTON            OH   45414‐3706
MARKIW, LILLIAN              3465 BRETON VALLEY DR SE                                                                   KENTWOOD          MI   49512‐9066
MARKIW, RONALD D             3706 WHITTUM RD                                                                            EATON RAPIDS      MI   48827‐9059
MARKKO GILBERT & DORIS       5300 FOOTVILLE RICHMOND RD                                                                 ANDOVER           OH   44003‐9435
MARKLAN CONVERTIBLES         7701 ALABAMA AVE                                                                           CANOGA PARK       CA   91304‐4904
MARKLAND INDUSTRIES INC      DON MARKLAND X113              1111 E. MCFADDEN AVE.                                       HUDSON            MI   49247
MARKLAND INDUSTRIES INC      DON MARKLAND X113              1111 E MCFADDEN AVE                                         SANTA ANA         CA   92705‐4103
MARKLAND INDUSTRIES INC      1111 E MCFADDEN AVE                                                                        SANTA ANA         CA   92705‐4103
MARKLAND ROUDEBUSH           600 HARRISON AVE                                                                           HARRISON          OH   45030‐1310
MARKLAND, DORAN W            120 ELM ST                                                                                 MANITOU BEACH     MI   49253‐9701
MARKLAND, EDWARD A           333 E MOSHOLU PKWY N APT 5E                                                                BRONX             NY   10467‐4871
MARKLAND, GLENN E            20749 N 106TH LN                                                                           PEORIA            AZ   85382‐5163
MARKLAND, JACK L             2800 COMANCHE CT S 5                                                                       WAUKESHA          WI   53188
MARKLAND, JANICE E           1209 RISECLIFF DRIVE                                                                       GRAND BLANC       MI   48439‐8856
MARKLAND, MISTY KAY          HEATON AND MOORE               100 N MAIN ST STE 3400                                      MEMPHIS           TN   38103‐0534
MARKLAND, MISTY KAY          DUNCAN & RAINWATER P A         PO BOX 17250                                                LITTLE ROCK       AR   72222‐7250
MARKLAND, NANCY C            6446 W 16TH ST                                                                             INDIANAPOLIS      IN   46214‐3314
MARKLAND, VALARIE G          4837 TRINA DRIVE                                                                           OKLAHOMA CITY     OK   73115‐3941
MARKLAND, VALARIE G          4837 TRINA DR                                                                              DEL CITY          OK   73115‐3941
MARKLE 66                    110 N CLARK ST                                                                             MARKLE            IN   46770‐5403
MARKLE CHARLES               MARKLE, CHARLES                144 N PARK AVE STE 200                                      WARREN            OH   44481‐1124
MARKLE CHARLES               MARKLE, CHARLES                700 YOUNGSTOWN WARREN RD                                    NILES             OH   44446‐3552
MARKLE CHARLES               MARKLE, TWILA M                144 N PARK AVE STE 200                                      WARREN            OH   44481‐1124
MARKLE JR, JOHN E            18454 MOSCOW RD                                                                            CHASSELL          MI   49916‐9429
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Name                        Address1                         Address2                      Address3   Address4         City               State Zip
MARKLE KENNETH L (408683)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                             STREET, SUITE 600
MARKLE LLOYD E (429370)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                             STREET, SUITE 600
MARKLE RICHARD E (409654)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                             STREET, SUITE 600
MARKLE, CAROL G             570 S HOUCKSVILLE RD                                                                       HAMPSTEAD          MD   21074‐1935
MARKLE, CELESTE JUNE        514 UPSHUR DR                                                                              INWOOD             WV   25428‐3683
MARKLE, CHARLES             AMBROSY & FREDERICKA             144 N PARK AVE STE 200                                    WARREN             OH   44481‐1124
MARKLE, CHARLES             ZUZOLO ZUZOLO & ZUZOLO           700 YOUNGSTOWN WARREN RD                                  NILES              OH   44446‐3552
MARKLE, CHARLES             926 CENTRAL PARKWAY AVE SE                                                                 WARREN             OH   44484‐4469
MARKLE, DAVID E             3725 W BABBITT RD                                                                          FREDERIC           MI   49733‐9551
MARKLE, DAVID J             3910 UNION ST                                                                              NORTH CHILI        NY   14514‐9718
MARKLE, DAVID R             25725 FRONT AVE                                                                            MATTAWAN           MI   49071‐9547
MARKLE, FLORENCE E          43378 PENDLETON CIR                                                                        STERLING HEIGHTS   MI   48313‐1984
MARKLE, GENE L              8662 S 150 W                                                                               PENDLETON          IN   46064‐9453
MARKLE, GERALD E            115 CHILTON ST                                                                             ELIZABETH          NJ   07202‐1409
MARKLE, GILBERT D           516 HEMLOCK ST                                                                             GREENSBURG         PA   15601‐4513
MARKLE, GILBERT D           516 HEMLOCK DR                                                                             GREENSBURG         PA   15601‐4513
MARKLE, HELEN G             1704 DODGE DRIVE NW                                                                        WARREN             OH   44485‐1823
MARKLE, HELEN G             1704 DODGE DR NW                                                                           WARREN             OH   44485‐1823
MARKLE, JERRY A             309 BRIGHT ANGEL DR                                                                        PRUDENVILLE        MI   48651‐9626
MARKLE, JOHN L              771 WILER RD                                                                               HILTON             NY   14468‐9723
MARKLE, JOHN W              771 WILER RD                                                                               HILTON             NY   14468‐9723
MARKLE, JONATHAN
MARKLE, KENNETH L           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
MARKLE, KEVIN D             12435 INDEPENDENCE AVE                                                                     SHELBY TOWNSHIP    MI 48315‐4635
MARKLE, LEE D               5405 EAGLE HARBOR RD                                                                       ALBION             NY 14411‐9407
MARKLE, LLOYD E             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
MARKLE, MARGARET ANN        1149 MADISON ST                                                                            LAPEER             MI   48446‐1413
MARKLE, MARGARET ANN        1149 N MADISON ST                                                                          LAPEER             MI   48446‐1413
MARKLE, MARGARET H          26950 MISSION BELLEVIEW ROAD                                                               LOUISBURG          KS   66053‐7272
MARKLE, MAX E               2204 E STATE ROAD 38                                                                       MARKLEVILLE        IN   46056‐9758
MARKLE, MAZIE               295 LOYALISH LN                                                                            FLINT              MI   48507
MARKLE, MICHAEL             6526 S 450 E                                                                               MARKLEVILLE        IN   46056‐9450
MARKLE, MICHAEL E.          6526 S 450 E                                                                               MARKLEVILLE        IN   46056‐9450
MARKLE, NANCY C             250 PLEASANT PARK CT                                                                       WARREN             OH   44481‐9443
MARKLE, PAUL K              7531 THOMAS                                                                                SHELBY TOWNSHIP    MI   48317‐6351
MARKLE, RICHARD E           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                             STREET, SUITE 600
MARKLE, ROBERT E            6925 GOLDENROD AVE NE                                                                      ROCKFORD           MI   49341‐8546
MARKLE, ROGER L             8610 W SCHOOL SECTION LAKE DR                                                              MECOSTA            MI   49332‐9578
MARKLE, ROSE M              11407 OREGON CIR                                                                           FENTON             MI   48430‐2432
MARKLE, TWILA M             AMBROSY & FREDERICKA             144 N PARK AVE STE 200                                    WARREN             OH   44481‐1124
MARKLE, VIRGINIA M          42222 TODDMARK LN                                                                          CLINTON TOWNSHIP   MI   48038‐6823
MARKLE, VIRGINIA M          48411 MILONAS DR                                                                           SHELBY TWP         MI   48315‐4302
MARKLE, WILLIAM K           578 COACHMAN DR APT 3                                                                      TROY               MI   48083‐1518
MARKLEIN, LEO G             1170 ONTARIO DR                                                                            JANESVILLE         WI   53545‐1367
MARKLEVITZ, RANDY J         416 131ST AVE                                                                              WAYLAND            MI   49348‐9522
MARKLEW, DELORES S          14709 SUSANNA                                                                              LIVONIA            MI   48154‐4976
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Name                       Address1                           Address2                        Address3   Address4             City              State Zip
MARKLEW, DELORES S         14709 SUSANNA ST                                                                                   LIVONIA            MI 48154‐4976
MARKLEWITZ, ROBERT O       5125 OKEMOS RD                                                                                     EAST LANSING       MI 48823‐7771
MARKLEY BAKKEN             873 SHARON RD                                                                                      JANESVILLE         WI 53546‐5201
MARKLEY MOTORS, INC.       3401 S COLLEGE AVE                                                                                 FORT COLLINS       CO 80525‐2606
MARKLEY MOTORS, INC.       DOUGLAS MARKLEY                    3401 S COLLEGE AVE                                              FORT COLLINS       CO 80525‐2606
MARKLEY MOTORS, INC.       DOUGLAS MARKLEY                    3325 S COLLEGE AVE                                              FORT COLLINS       CO 80525‐2604
MARKLEY, ALTON L           1123 OAKDALE DR                                                                                    MANSFIELD          OH 44905‐1651
MARKLEY, ALVIN L           PO BOX 71                                                                                          DOVER              MO 64022‐0071
MARKLEY, BEVERLY A         202 QUAIL LN                                                                                       GRAND BLANC        MI 48439‐7011
MARKLEY, CARRIE L          605 WALNUT ST                                                                                      WYANDOTTE          MI 48192‐4336
MARKLEY, CHRISTOPHER S     UNIT 522                           144 SOUTH 3RD STREET                                            SAN JOSE           CA 95112‐6503
MARKLEY, CLYDE A           3504 KIRKLAND AVE                                                                                  FORT WAYNE         IN 46805‐1518
MARKLEY, DANIEL R          842 ELDERWOOD AVE                                                                                  TIPP CITY          OH 45371‐2791
MARKLEY, DAVID W           1977 BRUCETOWN RD                                                                                  KEARNEYSVILLE      WV 25430‐5679
MARKLEY, DEBORAH A         365 MAIN ST                                                                                        MOUNT MORRIS       MI 48458‐1160
MARKLEY, DONNA R.          28 HIGHLAND ST                                                                                     RICE LAKE          WI 54868‐2219
MARKLEY, ELIZABETH         APT 6                              3916 NEWPORT AVENUE                                             FORT WAYNE         IN 46805‐1384
MARKLEY, FRANKLIN G        6336 LARCOMB DR                                                                                    DAYTON             OH 45424‐3033
MARKLEY, JAMES A           1403 N 150TH ST                                                                                    BASEHOR            KS 66007‐9377
MARKLEY, JAMES E           605 WALNUT ST                                                                                      WYANDOTTE          MI 48192‐4336
MARKLEY, JERRY M           30 WINTHROP DR                                                                                     LEXINGTON          MO 64067‐1558
MARKLEY, JIMMY L           813 PIN OAK DR                                                                                     HARRISONVILLE      MO 64701‐1657
MARKLEY, JOHN P            605 LAWRENCE ST                                                                                    MOUNTAIN HOME      AR 72653‐3225
MARKLEY, KENNETH E         204 E LAKE DR                                                                                      BRANDON            MS 39047‐6332
MARKLEY, MARY              17 SOUTH STATE ST                                                                                  GASSAWAY           WV 26624
MARKLEY, MARY              200 S STATE ST                                                                                     GASSAWAY           WV 26624‐1029
MARKLEY, MIRIAM L          176 WILBUR DRIVE                                                                                   MUNROE FALLS       OH 44262‐1329
MARKLEY, MIRIAM L          2511 FOURTH STREET                                                                                 CUYAHOGA FALLS     OH 44221‐2632
MARKLEY, PEARL R           1524 EMMONS AVE                                                                                    DAYTON             OH 45410‐3315
MARKLEY, RANDY L           53 LUCKY PL                                                                                        MOUNTAIN HOME      AR 72653
MARKLEY, RAYMOND D         9462 W 1200 S 35                                                                                   MARION             IN 46952‐6615
MARKLEY, RICHARD D         1185 FROMAN ST                                                                                     GRAND BLANC        MI 48439‐9303
MARKLEY, RITA              5342 PELHAM WAY                                                                                    INDIANAPOLIS       IN 46216‐2214
MARKLEY, THOMAS W          112 AUTUMNVALE DR                                                                                  LOCKPORT           NY 14094‐3246
MARKLIN FUNCH              3403 ROLSTON RD                                                                                    FENTON             MI 48430‐1035
MARKLIN H OWENS            5165 W. CO. RD.                    800 SOUTH                                                       GREENSBURG         IN 47240‐‐ 00
MARKLIN OWENS              5165 W. CO. RD.                    800 SOUTH                                                       GREENSBURG         IN 47240
MARKLIN, JOHN W            1412 VIRGINIA AVE                                                                                  MARTINSBURG        WV 25401‐1642
MARKMAN, FRED J            7022 BUNKERHILL LN                                                                                 CANTON             MI 48187
MARKMONITOR                391 N ANCESTOR PLACE                                                                               BOISE              ID 83704
MARKMONITOR HOLDINGS INC   391 N ANCESTOR PL STE 150                                                                          BOISE              ID 83704‐0525
MARKMONITOR HOLDINGS INC   LIZ DONERKIEL                      391 N ANCESTOR PLACE, STE 150                                   BOISE              ID 83704‐0525
MARKMONITOR INC            391 N ANCESTOR PL STE 150                                                                          BOISE              ID 83704‐0525
MARKMONITOR INC            DEPT CH 17399                                                                                      PALATINE            IL 60055‐7399
MARKMONITOR, INC.          JIM PRENTISS                       391 N. ANCESTOR PLACE                                           BOISE              ID 83704
MARKO GALIC                8170 SPRINGER DR                                                                                   KIRTLAND           OH 44094‐9538
MARKO HEER                 LINDELSTR. 29
MARKO HEER                 LINDELSTR 29                                                                  71720 OBERSTENFELD
                                                                                                         GERMANY
MARKO JR, JOHN J           4938 PARK MNR E APT 3314                                                                           SHELBY TOWNSHIP   MI 48316‐4941
MARKO JR, JOSEPH M         5180 SPENCER ROAD                                                                                  CLEVELAND         OH 44124‐1249
MARKO L RICE               5450 NORTHFORD RD                                                                                  TROTWOOD          OH 45426‐1106
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Name                        Address1                        Address2                        Address3   Address4         City            State Zip
MARKO LEONTARAS             25664 MARITIME CIR N                                                                        HARRISON TWP     MI 48045‐3069
MARKO MUSTAPIC              2843 EDGEWOOD ST                                                                            PORTAGE          IN 46368‐2772
MARKO PRANJETA              700 CARDINAL CT                                                                             EASTLAKE         OH 44095‐1650
MARKO RADOVCIC              THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                 HOUSTON          TX 77017
MARKO STOJSAVLJEVIC         3634 E 55TH ST                                                                              CLEVELAND        OH 44105‐1128
MARKO TRANSPORTATION        PO BOX 35866                                                                                HOUSTON          TX 77235‐5866
MARKO, BARBARA A            29250 US HIGHWAY 19 N LOT 405                                                               CLEARWATER       FL 33761‐2153
MARKO, BRENT                5409 STOWE TRL                                                                              CLARKSTON        MI 48348‐3747
MARKO, DEBBIE R             9736 TANNERY WAY                                                                            OLMSTED FALLS    OH 44138‐2887
MARKO, DENNIS               18512 DOGWOOD                                                                               FRASER           MI 48026‐2134
MARKO, DOROTHY              509 WALNUT                                                                                  ST CHARLES       MI 48655‐1263
MARKO, DOROTHY              509 W WALNUT ST                                                                             SAINT CHARLES    MI 48655‐1263
MARKO, ETHEL A              6051 WESTERN DR UNIT 16                                                                     SAGINAW          MI 48638
MARKO, GEORGE               7861 RANDY DR                                                                               WESTLAND         MI 48185‐5568
MARKO, ISABELLE E           16690 LAKEFIELD RD                                                                          HEMLOCK          MI 48626‐9735
MARKO, JOHN D               611 S ADAMS ST                                                                              SAGINAW          MI 48604‐1404
MARKO, K J                  6920 CANADA RD                                                                              BIRCH RUN        MI 48415‐8465
MARKO, MIKE                 315 HOMECREST DR                                                                            EGGERTSVILLE     NY 14226‐1215
MARKO, PAUL D               315 HOMECREST DR                                                                            EGGERTSVILLE     NY 14226‐1215
MARKO, PETER M              15 SLATE CREEK DR APT 1                                                                     BUFFALO          NY 14227
MARKO, RICHARD W            1968 BROMTON DR                                                                             LYNDHURST        OH 44124‐3730
MARKO, ROGER F              6888 HATCHERY RD                                                                            WATERFORD        MI 48327‐1123
MARKO, WALTER K             DE LA BAHIA C‐8                 2600 S. KANNER HWY.                                         STUART           FL 34994
MARKO, WAYNE A              1407 SAINT LAWRENCE AVE                                                                     JANESVILLE       WI 53545‐4252
MARKO, WENDY L              5409 STOWE TRL                                                                              CLARKSTON        MI 48348‐3747
MARKO, WENDY LYNN           5409 STOWE TRL                                                                              CLARKSTON        MI 48348‐3747
MARKO, WILLIAM R            115 1/2W. SECOND APT.C,PO 74                                                                OAKLEY           MI 48649
MARKOS JAMES                10125 SADDLE CREEK DRIVE                                                                    HARVEYVILLE      KS 66431‐9351
MARKOS, CAROL LYNN          2112 CHERRYWOOD DR                                                                          BURTON           MI 48519‐1118
MARKOS, NOMA R              113 QUIET SPRING DR                                                                         BARDSTOWN        KY 40004‐9296
MARKOSKI FELICIA (446084)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                            PROFESSIONAL BLDG
MARKOSKI FRANK (446085)     BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                            PROFESSIONAL BLDG
MARKOSKI WANDA (446086)     BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                            PROFESSIONAL BLDG
MARKOSYAN EDWARD            MARKOSYAN, EDVARD               425 W BROADWAY STE 220                                      GLENDALE        CA   91204‐1269
MARKOSYAN, EDVARD           TAYLOR & ASSOCIATES NORMAN      425 W BROADWAY STE 220                                      GLENDALE        CA   91204‐1269
MARKOTIC, JANJA             8608 NOBLE AVE                                                                              SEPULVEDA       CA   91343‐6011
MARKOV, HELEN               9309 S 55TH CT                                                                              OAK LAWN        IL   60453‐2313
MARKOV, HELEN               9309 SOUTH 55TH COURT                                                                       OAKLAWN         IL   60453‐2313
MARKOVIC, GOJKO             2226 W WILSON AVE                                                                           CHICAGO         IL   60625‐2108
MARKOVICH, DALE L           8182 LONGVIEW DR NE                                                                         WARREN          OH   44484‐1931
MARKOVICH, DONALD J         7965 CLIFFVIEW DR                                                                           POLAND          OH   44514‐2759
MARKOVICH, HELYN J          415 AMBLER DR                                                                               ELYRIA          OH   44035‐2907
MARKOVICH, HELYN J          415 AMBLER DRIVE                                                                            ELYRIA          OH   44035‐2907
MARKOVICH, HENRY            300 DUNES BLVD APT 603                                                                      NAPLES          FL   34110‐6438
MARKOVICH, JASON L          7352 WEST BLVD APT 103                                                                      YOUNGSTOWN      OH   44512‐5212
MARKOVICH, JASON L          535 BONNIE BRAE AVE NE                                                                      WARREN          OH   44483‐5234
MARKOVICH, JENNIFER L       7352 WEST BLVD APT 103                                                                      YOUNGSTOWN      OH   44512‐5212
MARKOVICH, JOHN J           3808 S MARSHALL CT                                                                          INDEPENDENCE    MO   64055‐6798
MARKOVICH, JOHN S           423 CHERRY HILL LN                                                                          CORTLAND        OH   44410‐1104
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Name                        Address1                         Address2                         Address3   Address4               City              State Zip
MARKOVICH, JONATHAN C       10126 PARK RIDGE DR                                                                                 INDIANAPOLIS       IN 46229‐4108
MARKOVICH, LEONARD A        2839 TIMBERLINE DR                                                                                  CORTLAND           OH 44410‐9275
MARKOVICH, MICHAEL K        1833 CANAVAN DR                                                                                     POLAND             OH 44514‐1408
MARKOVICH, NANCY            832 WHISPERING WINDSONG DR                                                                          O FALLON           MO 63366‐3162
MARKOVICH, RICHARD J        306 BUENA VISTA AVE                                                                                 VIENNA             OH 44473‐9645
MARKOVICH, SAMMY            364 WESTBROOK DR                                                                                    O FALLON           MO 63366‐2463
MARKOVITCH, DAVID A         3468 MEANDERWOOD DR                                                                                 CANFIELD           OH 44406‐9616
MARKOVITCH, GERARD          38923 TRAWICK CT                                                                                    STERLING HTS       MI 48310‐1771
MARKOVITCH, RONALD          46276 BEN FRANKLIN DR                                                                               SHELBY TOWNSHIP    MI 48315‐5804
MARKOVITS, GEORGE           241 HOUMA BLVD                   APT 206                                                            METAIRIE           LA 70001
MARKOVITS, JOAN A           1106 SOUTH OAKRIDGE CIRCLE                                                                          LANTANA            FL 33462‐5354
MARKOVITZ, DONALD C         803 MEADOWBROOK DR                                                                                  N TONAWANDA        NY 14120‐1960
MARKOVITZ, SUSAN M          1290 E ERIE RD                                                                                      ERIE               MI 48133‐9781
MARKOVSKI, PETER J          17 MILTON DR                                                                                        MANCHESTER         NJ 08759‐6088
MARKOVSKY, MICHAEL S        900 S MEADOWS PKWY APT 4814                                                                         RENO               NV 89521‐2933
MARKOW                      THE ATRIUM 4 TERRY DRIVE                                                                            NEWTOWN            PA 18940
MARKOWICH EDWARD (491645)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD         OH 44067
                                                             PROFESSIONAL BLDG
MARKOWICH, ANNA             1418 W 43RD ST                                                                                      LORAIN            OH   44053‐2949
MARKOWICZ, LORETTA E        44574 CLARE BLVD                                                                                    PLYMOUTH          MI   48170‐3803
MARKOWICZ, MICHAEL A        5924 EDINBUGH NO 203                                                                                PLYMOUTH          MI   48170
MARKOWICZ, ROBERT D         5030 W BIRCH RD                                                                                     ROSCOMMON         MI   48653‐9270
MARKOWITSCH INGRID          VONRAD DUDENGASSE 54                                                         M30 WIEN AUSTRIA
MARKOWITZ, RITA C           138 RIVIERA RD                                                                                      AIKEN             SC   29803‐7770
MARKOWSKI, BERNITA J        3721 E HENRY AVE                                                                                    CUDAHY            WI   53110‐3103
MARKOWSKI, CARROLL F        3050 WAYLAND AVE                                                                                    DAYTON            OH   45420‐2143
MARKOWSKI, CECELIA M        247 PARKVIEW DR                                                                                     ROCHESTER         NY   14625‐1043
MARKOWSKI, GARY L           12292 EVERGREEN DR                                                                                  SHELBY TWP        MI   48315‐5810
MARKOWSKI, HELEN M          232 N EDWARDS AVE                                                                                   SYRACUSE          NY   13206‐2222
MARKOWSKI, JOHN W           12292 EVERGREEN DR                                                                                  SHELBY TWP        MI   48315‐5810
MARKOWSKI, KATHLEEN J       12292 EVERGREEN DR                                                                                  SHELBY TWP        MI   48315‐5810
MARKOWSKI, KRYSTYNA         83 GAYWOOD AVE                                                                                      COLONIA           NJ   07067‐2044
MARKOWSKI, LECH             1846 TURNBERRY CT                                                                                   OXFORD            MI   48371‐5951
MARKOWSKI, MARILYN A        37141 FAIRFAX DR                                                                                    LIVONIA           MI   48152‐4005
MARKOWSKI, MARK A           550 FOREST LAWN RD                                                                                  WEBSTER           NY   14580‐1064
MARKOWSKI, MARK A           2421 ABBEY DR                                                                                       FORT WAYNE        IN   46835
MARKOWSKI, MICHAEL W        1341 SOUTHERN BLVD NW                                                                               WARREN            OH   44485‐2045
MARKOWSKI, MIECZYSLAW       UI SWIERKOWA 14                                                              USTRON POLAND 43‐450
MARKOWSKI, RITA G           1341 SOUTHERN BLVD NW                                                                               WARREN            OH   44485‐2045
MARKOWSKI, RONALD G         360 RICE RD                                                                                         ELMA              NY   14059‐9578
MARKOWSKI, SOPHIE Z         9086 WOODCREST DR                                                                                   BRECKSVILLE       OH   44141‐2476
MARKOWSKI, SUSAN K          1761 THURMAN CIR                                                                                    SEVIERVILLE       TN   37876‐5218
MARKOWSKI, THOMAS J         246 HICKORY CIR                                                                                     MIDDLETOWN        CT   06457‐2439
MARKOWSKI, ZBIGNIEW         83 GAYWOOD AVE                                                                                      COLONIA           NJ   07067‐2044
MARKOWSKY, ANN              MORRIS HALL                      ST JOSEPH SKILL NURSING CENTRE                                     LAWRENCEVILLE     NJ   08648

MARKQUART CHEVROLET         2191 S PRAIRIE VIEW RD                                                                              CHIPPEWA FALLS    WI   54729‐6305
MARKQUART MOTORS            2191 S PRAIRIE VIEW RD                                                                              CHIPPEWA FALLS    WI   54729‐6305
MARKQUART MOTORS, INC.      PO BOX 1528                                                                                         EAU CLAIRE        WI   54702‐1528
MARKQUART, INC.             DAVID MARKQUART                  2191 S PRAIRIE VIEW RD                                             CHIPPEWA FALLS    WI   54729‐6305
MARKRAY, CURTIS             357 JEWELL MANNING RD                                                                               SHONGALOO         LA   71072‐2829
MARKRAY, DONZELL E          2404 FIELD ST                                                                                       DETROIT           MI   48214‐1755
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Name                                 Address1                              Address2                        Address3   Address4              City             State Zip
MARKRAY, MARY E                      357 JEWELL MANNING RD                                                                                  SHONGALOO         LA 71072‐2829
MARKS                                29 W UNIVERSITY ST                                                                                     ALFRED            NY 14802‐1115
MARKS & RODRIGUEZ DELIVERY SERVICE   PO BOX 3493                                                                                            BROWNSVILLE       TX 78523‐3493

MARKS ALBERT (446087)                BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD       OH 44067
                                                                           PROFESSIONAL BLDG
MARKS ALLEN D (450097)               SIMMONS FIRM                          PO BOX 559                                                       WOOD RIVER        IL   62095‐0559
MARKS AUTO SERVICE                   318 WYECROFT RD                                                                  OAKVILLE ON L6K 2G7
                                                                                                                      CANADA
MARKS CHARLES (504190)               GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH       PA 15219

MARKS CHARLES SR                     C/O GOLDBERG PERSKY & WHITE PC        1030 FIFTH AVENUE                                                PITTSBURG        PA 15219
MARKS DONALD L SR (432171)           NICHOLL LAW OFFICES PETER T           36 SOUTH CHARLES ST                                              BALTIMORE        MD 21201
MARKS JAMES R (493978)               GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510
                                                                           STREET, SUITE 600
MARKS JEFFREY (446088)               BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD       OH 44067
                                                                           PROFESSIONAL BLDG
MARKS JOHN                           6615 N LEROY AVE                                                                                       LINCOLNWOOD      IL    60712‐3201
MARKS JR, CHARLES F                  47 ABBEY RD                                                                                            ELGIN            SC    29045‐9568
MARKS JR, ELENDER L                  5308 MONUMENT RD                                                                                       JASPER           GA    30143‐2436
MARKS JR, ISAIAH C                   41491 BELLRIDGE BLVD APT 38                                                                            BELLEVILLE       MI    48111‐1575
MARKS JR, ISAIAH C                   1309 OSAGE ST                                                                                          SIKESTON         MO    63801‐2339
MARKS JR, ROBERT P                   PO BOX 1037                                                                                            GRAEAGLE         CA    96103‐1037
MARKS JR., LAWRENCE ARTHUR           9615 S NORMANDY LN                                                                                     CENTERVILLE      OH    45458‐4071
MARKS KEVIN                          8730 E COLE RD                                                                                         DURAND           MI    48429‐9427
MARKS MARION                         1829 WINDSOR LN                                                                                        FLINT            MI    48507‐2235
MARKS NICKY                          NO ADVERSE PARTY
MARKS PHOTO & VIDEO INC              ATTN: BRYAN GROOTHUIS                 3822 DIVISION AVE S                                              GRAND RAPIDS     MI    49548‐3295
MARKS RENTALS INC                    15 N HAMMONDS FERRY RD                                                                                 GLEN BURNIE      MD    21061
MARKS RICHARD                        887 KINGS WAY                                                                                          NEKOOSA          WI    54457‐8024
MARKS RICHARD Z (480756)             KELLEY & FERRARO LLP                  1300 EAST NINTH STREET , 1901                                    CLEVELAND        OH    44114
                                                                           BOND COURT BUILDING
MARKS SERVICE CENTER                 342 US ROUTE 11                                                                                        CENTRAL SQUARE   NY 13036‐9759
MARKS SUSAN B & HER ATTORNEY         RICHARD C DALTON                      202 AVENUE B                                                     LAFAYETTE        LA 70501‐7806
MARKS TRANSFER & STORAGE CO          300 GOMBER AVE                                                                                         CAMBRIDGE        OH 43725‐1228
MARKS WORK WEARHOUSE                 419 KING ST W UNIT 3515                                                          OSHAWA ON L1J 2K5
                                                                                                                      CANADA
MARKS, AGNES                         143 ROYAL CREST DR                                                                                     SEVILLE          OH    44273‐9711
MARKS, ALFONSO                       2101 CEDAR BEND DR                                                                                     GRAND BLANC      MI    48439‐3406
MARKS, ALFONSO                       3375 N LINDEN RD APT 340              AMERICAN HOUSE                                                   FLINT            MI    48504‐5730
MARKS, ALFRED R                      4 ELM ST                                                                                               WEBSTER          MA    01570‐2623
MARKS, ALICE A                       41150 CANTON COURT #13                                                                                 CANTON           MI    48188
MARKS, ALICE ARETHA                  25250 EUREKA RD APT 236                                                                                TAYLOR           MI    48180
MARKS, ALLEN D                       SIMMONS FIRM                          PO BOX 559                                                       WOOD RIVER       IL    62095‐0559
MARKS, ALONZO T                      PO BOX 85                                                                                              MIDDLETOWN       IN    47356‐0085
MARKS, ALTON D                       29810 LACY DR                                                                                          WESTLAND         MI    48186‐7348
MARKS, AMBER L                       16505 WILD CHERRY BLVD                                                                                 HARLAN           IN    46743‐7544
MARKS, AMIE M                        3452 MAHOPAC DR                                                                                        LAKE ORION       MI    48360‐1526
MARKS, ANDREW N                      22360 BLACK RD                                                                                         ATHENS           AL    35613‐4030
MARKS, ANN M                         4939 BRIDGEMONT LN                                                                                     SPRING           TX    77388‐3805
MARKS, ANNA I                        1018 WEATHERBOARD ST                                                                                   HENDERSON        NV    89011‐3121
MARKS, ANNETTE                       1056 TAHOE TRL                                                                                         FLINT            MI    48532‐3565
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Name                      Address1                              Address2                       Address3   Address4         City               State Zip
MARKS, ANTHONY L          23091 ARGYLE ST                                                                                  NOVI                MI 48374‐4302
MARKS, ANTHONY W          960 IOLA AVE                                                                                     DAYTON              OH 45408‐1610
MARKS, ARLYN E            9155 BARNES RD                                                                                   VASSAR              MI 48768‐9646
MARKS, ARLYN EDWARD       9155 BARNES RD                                                                                   VASSAR              MI 48768‐9646
MARKS, ARTHUR L           26834 GAITHER WAY                                                                                HAYWARD             CA 94544‐3742
MARKS, ARTHUR L           C/O JOHN YUN                          7152 GATEWAY PARK DR                                       CLARKSTON           MI 48346‐2574
MARKS, ARTHUR LON         BOONE ALEXANDRA                       205 LINDA DR                                               DAINGERFIELD        TX 75638‐2107
MARKS, B W                9458 SGT. HOLDEN LANE                                                                            ATHENS              AL 35614
MARKS, BARRY J            5425 E LANSING RD                                                                                BANCROFT            MI 48414‐9715
MARKS, BARRY JAY          5425 E LANSING RD                                                                                BANCROFT            MI 48414‐9715
MARKS, BENA L             150 S ARDMORE AVE                                                                                DAYTON              OH 45417‐2106
MARKS, BENA L             150 SOUTH ARDMORE                                                                                DAYTON              OH 45417‐2106
MARKS, BESSIE             1372 KIMMEL LANE                                                                                 DAYTON              OH 45418‐2000
MARKS, BESSIE             1372 KIMMEL LN                                                                                   DAYTON              OH 45418‐2000
MARKS, BETTY A            6111 WOODMOOR DR.                                                                                BURTON              MI 48509‐1646
MARKS, BLANCHE S          10595 N COUNTY ROAD 700 EAST                                                                     ALBANY              IN 47320‐9253
MARKS, CALVIN E           PO BOX 1                                                                                         SWARTZ CREEK        MI 48473‐0001
MARKS, CALVIN L           NO. 406 PRINCE CIRCLE                                                                            BELLE VERNON        PA 15012
MARKS, CALVIN L           NO. 3 PRINCE CIRCLE                                                                              BELLE VERNON        PA 15012
MARKS, CARL W             APT 1334                              3026 FRANCISCAN DRIVE                                      ARLINGTON           TX 76015‐2565
MARKS, CARL W             4720 SHADY HILL DR                                                                               FOREST HILL         TX 76119
MARKS, CAROLYN D          PO BOX 17092                                                                                     DAYTON              OH 45417‐0092
MARKS, CATHY              146 SYLVIA DR                                                                                    CORUNNA             MI 48817‐1157
MARKS, CHARLES            GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH          PA 15219

MARKS, CHARLES A          3309 W 99TH ST                                                                                   CLEVELAND          OH   44102‐4611
MARKS, CHARLES B          25 RITTER DR                                                                                     MILLSBORO          DE   19966‐6263
MARKS, CHARLES F          2022 CONCORD DR                                                                                  CAMDEN             SC   29020‐9082
MARKS, CHESTER B          121 4TH ST SW                                                                                    WARREN             OH   44483‐6501
MARKS, CHRISTOPHER P      2510 MOUNTAIN AVE                                                                                FLINT              MI   48503‐2248
MARKS, CHRISTOPHER PAUL   2510 MOUNTAIN AVE                                                                                FLINT              MI   48503‐2248
MARKS, CRAIG              174 KIRKWOOD CT                                                                                  BLOOMFIELD HILLS   MI   48304‐2926
MARKS, DANIEL L           9906 TUMBLEWEED BLVD                                                                             FORT WAYNE         IN   46825‐2686
MARKS, DANIEL LOUIS       9906 TUMBLEWEED BLVD                                                                             FORT WAYNE         IN   46825‐2686
MARKS, DANNY              14420 HUNTINGTON ST                                                                              RIVERVIEW          MI   48193‐7553
MARKS, DARLENE F          2621 KIRK ROAD                                                                                   YOUNGSTOWN         OH   44511‐2217
MARKS, DAVID C            19215 CYPRESS CLIFF DR                                                                           KATY               TX   77449‐4005
MARKS, DEBORAH L          1417 LAKE POINTE DR SW                                                                           DECATUR            AL   35603‐4473
MARKS, DELORES A          PO BOX 633                            398 CLEVELAND CIR                                          ROSE CITY          MI   48654‐0633
MARKS, DONALD L           NICHOLL LAW OFFICES PETER T           36 SOUTH CHARLES ST                                        BALTIMORE          MD   21201
MARKS, DONALD T           333 SPENCER ST                                                                                   FERNDALE           MI   48220‐2575
MARKS, DONNIE F           4349 GOLDEN GLOW DR BOX 2                                                                        COLUMBIAVILLE      MI   48421
MARKS, DORIAN SOPER       9397 BAYWOOD DR                                                                                  PLYMOUTH           MI   48170‐3917
MARKS, DOROTHY H          813 E EUREKA ST                                                                                  GREENVILLE         MI   48838‐2595
MARKS, EDWARD J           5417 LOBDELL RD                                                                                  FENTON             MI   48430‐8985
MARKS, ELBERT             310 FISHER DR                                                                                    MARSHALL           TX   75670‐7066
MARKS, EMMANUEL           1056 BLACK AVE                                                                                   FLINT              MI   48505
MARKS, EMMITT             PO BOX 775                                                                                       MARSHALL           TX   75671‐0775
MARKS, EUGENE J           8904 S US35                                                                                      MUNCIE             IN   47302
MARKS, EVELYN             22324 CASCADE DR                                                                                 NOVI               MI   48375‐4903
MARKS, EVERETT F          10704 SAND KEY CIR                                                                               INDIANAPOLIS       IN   46256‐9533
MARKS, FLORENCE L         42 MONTILLA WAY                                                                                  PORT SAINT LUCIE   FL   34952
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Name                   Address1                       Address2                       Address3   Address4         City            State Zip
MARKS, FRANCES D       12010 INDIANA ST                                                                          DETROIT          MI 48204‐1084
MARKS, FRANK R         11245 IRENE AVE                                                                           WARREN           MI 48093‐6543
MARKS, FREDA I         5191 WOODHAVEN CRT             APT 720                                                    FLINT            MI 48532‐4189
MARKS, FREDA I         5191 WOODHAVEN CT APT 720                                                                 FLINT            MI 48532‐4189
MARKS, GARY A          2039 CASTLETON DR                                                                         TROY             MI 48083
MARKS, GARY A          40 WILLOWWOOD LN                                                                          OLDSMAR          FL 34677‐2058
MARKS, GENEVA          2358 LYNPARK AVE                                                                          DAYTON           OH 45439
MARKS, GENEVA          9855 EAST IRVINGTON RD         UNIT 151                                                   TUSCON           AZ 85730
MARKS, GEORGE E        4524 OAKESTIA ST                                                                          COMMERCE TWP     MI 48382‐3827
MARKS, GERTRUDE L      17419 PINEHURST ST                                                                        DETROIT          MI 48221‐2312
MARKS, GLENN           7301 FOREST HILL CT                                                                       WINTER PARK      FL 32792‐6557
MARKS, GLORIA D        266 WOODBINE AVE                                                                          ROCHESTER        NY 14619‐1325
MARKS, GORDON          214 SNOWDALE DRIVE                                                                        SYRACUSE         NY 13209‐1931
MARKS, GRACE           22360 BLACK RD                                                                            ATHENS           AL 35613
MARKS, HARRY W         418 TUNNELHILL ST                                                                         GALLITZIN        PA 16641‐1806
MARKS, HOLLAND G       15445 ROXBORO DR                                                                          MIDDLEBRG HTS    OH 44130‐8346
MARKS, J C             227 GRACE ST                                                                              FLINT            MI 48503‐1000
MARKS, JACK L          1290 CLEAR LAKE CT                                                                        OXFORD           MI 48371‐5981
MARKS, JAMES L         7000 S HIBISCUS DR                                                                        MUNCIE           IN 47302‐8525
MARKS, JAMES R         6263 MILAN OAKVILLE RD                                                                    MILAN            MI 48160‐9002
MARKS, JAMES R         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510‐2212
                                                      STREET, SUITE 600
MARKS, JANICE E        3105 W ALTO RD                                                                            KOKOMO          IN 46902‐4688
MARKS, JEFFREY         BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD      OH 44067
                                                      PROFESSIONAL BLDG
MARKS, JOANN K         511 HASKINS AVE APT B                                                                     DAYTON          OH   45402‐2399
MARKS, JOE C           11306 BALDWIN CIR                                                                         HOLLY           MI   48442‐9382
MARKS, JOE C           501 WESTOVER PASS                                                                         GRAND BLANC     MI   48439‐1016
MARKS, JOHN E          6466 STATE RD APT M4                                                                      PARMA           OH   44134‐4172
MARKS, JOHN P          3231 OAKMAN BLVD                                                                          DETROIT         MI   48238‐3101
MARKS, JOSEPH G        6938 TAWNY DR                                                                             NIAGARA FALLS   NY   14304‐3024
MARKS, JOSEPH GEORGE   6938 TAWNY DR                                                                             NIAGARA FALLS   NY   14304‐3024
MARKS, JOSEPH J        1056 BLACK AVE                                                                            FLINT           MI   48505‐3662
MARKS, JOSEPH N        2075 LEISURE WORLD                                                                        MESA            AZ   85206‐5338
MARKS, JOYCE M         12011 W CHRISTINE DR                                                                      WAUWATOSA       WI   53226‐3320
MARKS, JUDITH A        4395 STONEYCROFT DR                                                                       OKEMOS          MI   48864‐2935
MARKS, KENNETH C       530 SODOM HUTCHINGS RD SE                                                                 VIENNA          OH   44473
MARKS, KENNETH W       9336 LAWRENCE DR                                                                          TRAVERSE CITY   MI   49684‐9050
MARKS, KEVIN R         8730 E COLE RD                                                                            DURAND          MI   48429‐9427
MARKS, LARRY P         1362 STATE ROUTE 56 E                                                                     APOLLO          PA   15613‐9726
MARKS, LAUREEN J       6263 MILAN OAKVILLE RD                                                                    MILAN           MI   48160‐9002
MARKS, LEONARD T       2041 E WILSON RD                                                                          CLIO            MI   48420‐7944
MARKS, LESTER B        99 MANCHESTER ST                                                                          ROCHESTER       NY   14621‐3809
MARKS, LILA M          12 STONE ST                                                                               MACEDON         NY   14502‐8822
MARKS, LUCILLE         111 N OTTAWA ST                C/O RICHARD J KAVANAGH                                     JOLIET          IL   60432‐4229
MARKS, LUCILLE V       41340 ERMA AVE                                                                            FREMONT         CA   94539‐4541
MARKS, MARION A        1829 WINDSOR LN                                                                           FLINT           MI   48507‐2235
MARKS, MARJO A         1206 CAMELLIA DR                                                                          MOUNT MORRIS    MI   48458
MARKS, MARJORIE M      130 W LONG LAKE RD                                                                        TRAVERSE CITY   MI   49684‐9055
MARKS, MARJORIE M      1530 WEST LONG LAKE ROAD                                                                  TRAVERSE CITY   MI   49684‐9055
MARKS, MARY ANN        1717 MILLER AVE                                                                           MONROEVILLE     PA   15146‐4035
MARKS, MARY E          C/O JB LAYNE 9911 116TH SW                                                                LAKEWOOD        WA   98498
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Name                Address1                         Address2                       Address3   Address4         City              State Zip
MARKS, MARY E       9911 116TH ST SW                                                                            LAKEWOOD           WA 98498‐1617
MARKS, MARY F       210 PRESTON AVE                                                                             WATERFORD          MI 48328‐3654
MARKS, MARY J       4720 SHADY HILL DR                                                                          FOREST HILL        TX 76119‐7547
MARKS, MARY K       123 E YOUNG ST                                                                              CLIO               MI 48420‐1411
MARKS, MICHAEL A    3452 MAHOPAC DR                                                                             LAKE ORION         MI 48360‐1526
MARKS, MICHAEL A    5024 BLACKSAND RD                                                                           FREMONT            CA 94538‐1003
MARKS, MICHAEL E    1313 MOHAWK DR                                                                              LAWRENCEVILLE      GA 30043‐5839
MARKS, MICHAEL W    8127 WALDEN GLEN CT                                                                         INDIANAPOLIS       IN 46278
MARKS, MILDRED I    2432 UTLEY RD                                                                               FLINT              MI 48532‐4964
MARKS, MONICA M     114 ERIE ST                                                                                 CORTLAND           OH 44410‐1011
MARKS, PATRICIA A   5168 WOODCLIFF DR                                                                           FLINT              MI 48504‐1259
MARKS, PAULINE M    1313 MOHAWK DR                                                                              LAWRENCEVILLE      GA 30043‐5839
MARKS, RALPH E      15723 DEERFIELD AVE                                                                         EAST DETROIT       MI 48021‐1611
MARKS, RAYMOND      1208 E ELM LN                                                                               MARION             IN 46952‐4245
MARKS, RAYMOND C.   1208 E ELM LN                                                                               MARION             IN 46952‐4245
MARKS, REGINALD L   7924 CLEVELAND AVE                                                                          KANSAS CITY        KS 66109‐2241
MARKS, RICHARD A    345 OAKDALE DR                                                                              NORTH TONAWANDA    NY 14120‐2403
MARKS, RICHARD W    1303 EDMUNDTON DR                                                                           GROSSE POINTE      MI 48236‐1026
MARKS, RICHARD W    11 S. O75 CARPENTER                                                                         LEMONT              IL 60439
MARKS, RICHARD Z    KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                               CLEVELAND          OH 44114
                                                     BOND COURT BUILDING
MARKS, RITA C       5417 LOBDELL RD                                                                             FENTON            MI   48430‐8985
MARKS, ROBERT A     8824 STATE ROUTE 53                                                                         NAPLES            NY   14512‐9565
MARKS, ROBERT A     2056 E RAHN RD                                                                              KETTERING         OH   45440‐2535
MARKS, ROBERT E     5944 AUGUSTA LN                                                                             GRAND BLANC       MI   48439‐9473
MARKS, ROBERT J     1530 W LONG LAKE RD                                                                         TRAVERSE CITY     MI   49684‐9055
MARKS, ROBERT J     1837 ROJON CT                                                                               MONTGOMERY        AL   36106‐3016
MARKS, ROBERT J     737 SYCAMORE DR                                                                             OWOSSO            MI   48867‐9445
MARKS, ROBERTA      3 N WASHINGTON                                                                              SALEM             MO   65560‐1944
MARKS, ROGER W      6669 REINDEER AVE                                                                           MEMPHIS           TN   38115‐5212
MARKS, RONALD F     4725 OLD ALTON RD                                                                           GRANITE CITY      IL   62040‐2600
MARKS, RONALD R     143 ROYAL CREST DR                                                                          SEVILLE           OH   44273‐9711
MARKS, RONTE E      358 BURMAN AVE                                                                              TROTWOOD          OH   45426‐2716
MARKS, SANDRA F     5308 MONUMENT RD                                                                            JASPER            GA   30143‐2436
MARKS, SANDRA K     2108 SE 40TH ST                                                                             MOORE             OK   73160‐9712
MARKS, SANDRA W     3260 MORROW DR                                                                              CORTLAND          OH   44410‐9306
MARKS, SCOTT        14760 INGRAM ST                                                                             LIVONIA           MI   48154‐3560
MARKS, SHARON K     737 LORENE CIR A                                                                            MOUNT STERLING    KY   40353
MARKS, SHARON L     32 HARDY RD                                                                                 LONDONDERRY       NH   03053‐2830
MARKS, SHAWN M      931 BAKER RD LOT 9                                                                          COLUMBIA          TN   38401‐5570
MARKS, STANLEY A    3223 PEERLESS AVE SW                                                                        WARREN            OH   44485‐3043
MARKS, STEPHEN P    3746 MCCULLOCH RD                                                                           BEAVERTON         MI   48612‐9201
MARKS, STEPHEN W    8057 RANCH ESTATES RD                                                                       CLARKSTON         MI   48348‐4028
MARKS, STEVEN R     3874 SILVER BIRCH                                                                           WHITE LAKE        MI   48383‐1062
MARKS, SUSAN        103 SHADY DR                                                                                COLUMBIA          TN   38401‐2075
MARKS, SUSAN I      3835 COLEPORT ST                                                                            ORION             MI   48359‐1606
MARKS, THOMAS J     3826 KING JAMES DR SW                                                                       ATLANTA           GA   30331‐4926
MARKS, THOMAS P     4103 FAIRFIELD AVE                                                                          FORT WAYNE        IN   46807‐2320
MARKS, TIMOTHY      310 1ST AVE                                                                                 YPSILANTI         MI   48197‐5226
MARKS, TIMOTHY R    311 EMILY ST                                                                                FLUSHING          MI   48433‐2625
MARKS, TOM P        12400 WINDSOR BEACH DR                                                                      FENTON            MI   48430‐9765
MARKS, TOM PETE     12400 WINDSOR BEACH DR                                                                      FENTON            MI   48430‐9765
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Name                          Address1                         Address2                      Address3   Address4         City            State Zip
MARKS, TRACEY A               439 S CEDAR ST                                                                             LANSING          MI 48912
MARKS, TRACY M                16007 HAZEL RD                                                                             E CLEVELAND      OH 44112‐2912
MARKS, WALTER                 5317 DUSHORE DR.                                                                           DAYTON           OH 45427‐5427
MARKS, WANDA V                9429 N COUNTY RD 600 E                                                                     SUNMAN           IN 47041
MARKS, WARREN                 1056 TAHOE TRAIL                                                                           FLINT            MI 48532
MARKS, WILLIAM G              7648 LENNON RD                                                                             CORUNNA          MI 48817‐9518
MARKS, WILLIAM L              1903 FAIRHAVEN DR                                                                          INDIANAPOLIS     IN 46229‐2114
MARKS, WILLIAM M              9855 E IRVINGTON RD              UNIT 151                                                  TUCSON           AZ 85730‐5232
MARKS, WILLIAM R              9985 GRANGE AVE NE                                                                         ROCKFORD         MI 49341‐6901
MARKSBERRY, CHERYL L          6321 CHEVIOT CIR                                                                           HUBER HEIGHTS    OH 45424‐3708
MARKSBERRY, DZIDRA            535 NORTH NOVA ROAD              GRAND VILLA ASSISTED LIVING                               ORMOND BEACH     FL 32174
MARKSBERRY, DZIDRA            535 N NOVA RD                    GRAND VILLA ASSISTED LIVING                               ORMOND BEACH     FL 32174‐4405
MARKSBERRY, LONNIE L          720 CYNTHIA LN                                                                             WHITELAND        IN 46184‐9755
MARKSBURY, ERIC L             215 VETERANS AVE                                                                           BOWLING GREEN    KY 42104‐0342
MARKSBURY, ERIC LEE           215 VETERANS AVE                                                                           BOWLING GREEN    KY 42104‐0342
MARKSMAN JAMES A (400700)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                               STREET, SUITE 600
MARKSMAN WILLIAM P (660913)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                               STREET, SUITE 600
MARKSMAN, GLORIA D            13696 SW 40TH AVENUE RD                                                                    OCALA           FL 34473‐2194
MARKSMAN, JAMES A             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                               STREET, SUITE 600
MARKSMAN, WILLIAM P           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                               STREET, SUITE 600
MARKSMEN                      116 NORTH MARYLAND AVE                                                                     GLENDALE        CA    91206
MARKSTROM, CARMEN L           221 LAKE ST                                                                                NORTHVILLE      MI    48167‐1213
MARKSTROM, CARMEN LEIG        221 LAKE ST                                                                                NORTHVILLE      MI    48167‐1213
MARKSTROM, SHEILA R           18731 N 92ND DR                                                                            PEORIA          AZ    85382‐3646
MARKSTROM, TIMOTHY F          221 LAKE ST                                                                                NORTHVILLE      MI    48167‐1213
MARKSTRUM, BARBARA            4712 WINGROVE BOULEVARD                                                                    ORLANDO         FL    32819‐3344
MARKT RICHARD L (429371)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA    23510
                                                               STREET, SUITE 600
MARKT, RICHARD L              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                               STREET, SUITE 600
MARKU, DANIEL J               8014 E US HIGHWAY 33                                                                       CHURUBUSCO       IN   46723
MARKU, GJON
MARKULES, RICHARD J           313 ROLLING GREENE DR NW                                                                   WALKER          MI    49534‐5882
MARKULICZ, JOSEPH E           PO BOX 1193                      C/O JENNIE I KOSA                                         CASEVILLE       MI    48725‐1193
MARKULIN, GOLDIE L            106 BLANDFORD AVE                                                                          AVENEL          NJ    07001‐2002
MARKULIN, GOLDIE L            106 BLANFORD AVE                                                                           AVENEL          NJ    07001‐2002
MARKULIN, MYRON               70 S OSBORN AVE                                                                            YOUNGSTOWN      OH    44509‐2628
MARKULIN, PAMELA A            33300 WASHINGTON AVE                                                                       BURLINGTON      WI    53105‐9607
MARKULIN, RICHARD J           4232 PLEASANT VALLEY LN                                                                    CANFIELD        OH    44406‐9317
MARKULIS, ANN L               202 4TH AVE SE                                                                             GLEN BURNIE     MD    21061‐3615
MARKULIS, NATHALIE A          5908 BANYAN RD                                                                             SEBRING         FL    33875‐6135
MARKUM, FRANK E               1457 MAYFIELD DR                                                                           COOKEVILLE      TN    38501‐7774
MARKUM, IMA J                 5688 OCEAN VIEW DR                                                                         OAKLAND         CA    94618‐1533
MARKUMAS, CHARLES J           1598 KENMAR DR                                                                             BEDFORD         VA    24523‐5567
MARKUNAS, LINA M              1010 N MOON SHADOW RD                                                                      CHINO VALLEY    AZ    86323
MARKUNAS, RICHARD A           48 YORK ST                                                                                 OLD BRIDGE      NJ    08857‐2146
MARKUNES, CLEM W              1950 KITTY HAWK DR                                                                         XENIA           OH    45385‐5371
MARKURE, RONALD S             49 COUNTY RD                                                                               WOLCOTT         CT    06716‐2501
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Name                              Address1                           Address2                      Address3   Address4              City               State Zip
MARKUS & SILKE SCHUETTE           KIWITTSTRASSE 34D                                                           49080 OSNABRUCK
                                                                                                              GERMANY
MARKUS AVER                       MITTERSTRASSE 27                                                            84539 AMPFING GERMANY
MARKUS BERNHARDT                  3524 TALL OAKS RD                                                                                 LAKE ORION          MI 48359‐1468
MARKUS DEAN                       1715 LANSING AVE STE 150           C/O JACKSON COUNTY GUARDIAN                                    JACKSON             MI 49202‐2193
                                                                     SER
MARKUS G HARRIS                   11369 LIPPELMAN RD APT 307                                                                            CINCINNATI     OH 45246‐‐ 40
MARKUS GEGINAT                    RUE HERRENFELD 20                                                           L‐8415 STEINFORT
                                                                                                              LUXEMBOURG
MARKUS HAGER                      ROSENBERGGUERTEL 41/6/21           A‐8010 GRAZ
MARKUS HARTING                    AMSELWEG 2/2                       71083 HERRENBERG              GERMANY
MARKUS HAUSER FEUERWEHRTECHNIK AG NIEDERMATTSTRASSE 25                                                        OBERBIPP CH‐45
                                                                                                              SWITZERLAND
MARKUS HEHN                       74172 NECKARSULM‐DAHENFELD         KASTENAECKERWEG 6
MARKUS HEHN                       KASTENAECKERWEG 6                                                           74172 NECKARSULM‐
                                                                                                              DAHENFELD GERMANY
MARKUS HEHN                       74172 NECKARSULM‐DAHENFELD         KASTEN─CKERWEG 6
MARKUS HEHN                       KASTENAECKERWEG 6                  74172 NECKARSULM‐DAHENFELD
MARKUS HERRMANN                   SALZBURG
MARKUS J DEAN                     1715 LANSING AVE STE 150                                                                              JACKSON         MI 49202‐2193
MARKUS JOCHIM                     1564 PENISTONE ST                                                                                     BIRMINGHAM      MI 48009‐7213
MARKUS KOFLER                     HAUPTSTR. 20                       39020 MARLING BZ
MARKUS KOFLER                     HAUPTSTR 20                                                                 39020 MARLING BZ ITALY
MARKUS KOFLER                     HAUPTSTR. 20                       39020 MARLING (BZ)
MARKUS KOFLER                     HAUPTSTRASSE 20                                                             I‐39020 MARLING (ITALY)
MARKUS KREEB                      AUF DEM STUMPELROTT 58             D‐50999 KOELN                 GERMANY
MARKUS KREEB                      AUF DEM STUMPELROTT 58                                                      D‐50999 KOELN GERMANY
MARKUS KRONE                      GLOCKENGIESSERWEG 20               33659 BIELEFELD
MARKUS LEHMANN                    KARL‐HAENEL‐STR 35                                                          80999 MUNICH GERMANY
MARKUS MEISCH                     AM HOLZACKER 4                     91085 WEISENDORF              GERMANY
MARKUS MEUWLY                     TAVERNASTRASSE 29                                                           1712 TAFERS SWITZERLAND
MARKUS MUELLER                    WALDLUSTSTRASSE 38                                                          85540 HAAR GERMANY
MARKUS MUELLER                    FUERBUCH 44                                                                                           BREITENBRUNN         87739
MARKUS NELLEN
MARKUS NEULINGER                  FICHTENSTR. 17
MARKUS NIGGEMANN                  NEUE SCHOENHAUSER STR. 1                                                    10178 BERLIN GERMANY
MARKUS NIGGEMANN                  NEUE SCHOENHAUSER STR. 1           10178 BERLIN                  GERMANY
MARKUS R. DR. ACKERMANN           GAISBERGSTRASSE 77                 69115 HEIDELBERG                                                   HEIDELBERG
MARKUS REISSMEIER                 RENNBAHN 10                        60528 FRANKFURT               GERMANY
MARKUS REISSMEIER                 ROTLINSTRASSE 7                                                             60316 FRANKFURT
                                                                                                              GERMANY
MARKUS RENNER                     FREISINGER STRASSE 65              85445 OBERDING
MARKUS RICHARD J (407384)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510
                                                                     STREET, SUITE 600
MARKUS RUEBEKOHL                  GRIECHENPLATZ 8                                                             81545 MUENCHEN
                                                                                                              GERMANY
MARKUS SCHINDLER                  L╓FFELSTR
MARKUS SCHINDLER                  DR STEINHUBEL @ V BUTTLAR          L╓EFFELSTRASSE 44                        70597 STUTTGART
                                  RECHTSANWALTE                                                               GERMANY
MARKUS SPENCER                    355 GRAY FOX RD                                                                                       MARSHALL        TX   75670‐2629
MARKUS STEPHAN                    FRIEDRICH‐WOLFF‐STR. 73            76133 KARLSRUHE
MARKUS VOGT                       BR▄CKENSTR. 5                      64385 REICHELSHEIM
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Name                             Address1                          Address2                      Address3   Address4                City              State Zip
MARKUS WAHLEN                    WEIERN 31                         52078 AACHEN
MARKUS WESSLING                  K╓TTLING 12                       48301 NOTTULN                                                    NOTTULN            DE 48303
MARKUS WESSLING                  KOETTLING 12                                                               48301 NOTTULN GERMANY
MARKUS WESSLING                  SCHWESTER‐HELMA‐STR. 1A                                                                            NOTTULN            DE 48301
MARKUS WESSLING                  SCHWESTER‐HELMA‐STR. 1A           48301 NOTTULN
MARKUS WE▀LING                   SCHWESTER‐HELMA‐STR. 1A                                                                            NOTTULN            DE 48301
MARKUS WIDMER                    HINTER DEN H─USERN 1              3235 ERLACH
MARKUS ZECK                      BRINKWIESEN 8                                                              30657 HANNOVER
                                                                                                            GERMANY
MARKUS, DAVID C                  15401 W FRISCO DR                                                                                  YUKON              OK   73099‐9027
MARKUS, DENNIS G                 PO BOX 551                                                                                         AVISTON            IL   62216‐0551
MARKUS, JEROME O                 348 W ELM ST                                                                                       AVISTON            IL   62216‐3504
MARKUS, LOWELL E                 13780 LAKESIDE BLVD N 126A                                                                         SHELBY TOWNSHIP    MI   48315
MARKUS, RICHARD J                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510‐2212
                                                                   STREET, SUITE 600
MARKUS, RONALD J                 2175 NEW CUT RD                                                                                    ALVATON           KY    42122‐9666
MARKUS, RONALD JOHN              2175 NEW CUT RD                                                                                    ALVATON           KY    42122‐9666
MARKUSIC SR, GEORGE F            2824 ALTAIR ST                                                                                     LAS VEGAS         NV    89117‐2699
MARKUSIC, DONALD A               2230 LANE WOODS DR                                                                                 COLUMBUS          OH    43221‐4059
MARKUSIC, JOHN R                 5585 ADRIAN ST                                                                                     SAGINAW           MI    48603‐3660
MARKUSIC, LEONARD J              4480 CLEMENT DR                                                                                    SAGINAW           MI    48603‐2011
MARKUSIC, STEPHEN M              8370 NICHOLS RD                                                                                    WINDHAM           OH    44288‐9517
MARKUSZEWSKI, ROMAN              3237 AMELIA AVE                                                                                    FLUSHING          MI    48433‐2305
MARKVA JR, DOUGLAS E             8164 S LUCE RD                                                                                     PERRINTON         MI    48871‐9725
MARKVA, DARLENE K                1478 MALLARD CIR                                                                                   OWOSSO            MI    48867‐1986
MARKVA, FRANK J                  PO BOX 255                                                                                         LENNON            MI    48449‐0255
MARKVA, MARCIA                   13285 NICHOLS RD                                                                                   BURT              MI    48417‐9434
MARKVA, ROY D                    1905 VERNON ST                                                                                     SAGINAW           MI    48602‐1819
MARKWALD LA MADRID & ASOCIADOS   PARAGUAY 1840 5B PISO                                                      BUENOS AIRES C1121ABB
                                                                                                            ARGENTINA
MARKWALD, SONIA E                9301 WESTCLIFF DR                                                                                  HUNTINGTN BCH      CA   92646‐5907
MARKWALDER, JAMES C              607 W UNIVERSITY DR                                                                                ROCHESTER          MI   48307
MARKWARDT, KURT R                11967 MAXFIELD BLVD                                                                                HARTLAND           MI   48353‐3533
MARKWARDT, TIMOTHY J             477 ALLISON DR                                                                                     ALMONT             MI   48003‐8744
MARKWELL BILLY B                 MARKWELL, BILLY B
MARKWELL, DAVID M                1301 AMES AVE                                                                                      DAYTON            OH    45432‐1504
MARKWELL, WILLIE R               7701 GRACELAND ST                                                                                  DAYTON            OH    45459‐3830
MARKWITH, HELEN L                428 E MAIN ST                                                                                      GREENVILLE        OH    45331‐2111
MARKWITH, ROSCOE J               2800 S DIXON RD APT 101                                                                            KOKOMO            IN    46902‐6415
MARKWOOD AUTOMOTIVE, INC.        1151 US HIGHWAY 220 N                                                                              MOOREFIELD        WV    26836‐8732
MARKWOOD AUTOMOTIVE, INC.        JOHN MARKWOOD                     1151 US HIGHWAY 220 N                                            MOOREFIELD        WV    26836‐8732
MARKWOOD, SHAWN P                2156 MICHIGAN DR                                                                                   XENIA             OH    45385‐4514
MARKWORT, CHRISTIAN F            PO BOX 183692                                                                                      SHELBY TWP        MI    48318‐3692
MARKWORT, CHRISTIAN M            2790 WALBRIDGE RD                                                                                  ROCHESTER HILLS   MI    48307‐4456
MARKWORTH, SHARON R              8902 DAN DR                                                                                        NORTH ROYALTON    OH    44133‐4741
MARKY NUNN                       1107 W COLORADO AVE                                                                                CHICKASHA         OK    73018‐3112
MARKY, JOSEPHINE                 3266 TERRACE RD                                                                                    BOYNE CITY        MI    49712‐9325
MARKYVECH, CRAIG R               16145 FARNUM ST                                                                                    ROMULUS           MI    48174‐3109
MARKZON JASON                    MARKZON, JASON                    1234 MARKET ST STE 2040                                          PHILADELPHIA      PA    19107‐3720
MARKZON, JERRY F                 51 MISTY LN                                                                                        EAST AMHERST      NY    14051‐1407
MARL FULLER                      PO BOX 546                                                                                         TRINITY           AL    35673‐0006
MARLA ADAMS                      2232 STATE HIGHWAY 420                                                                             MASSENA           NY    13662‐3352
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Name                               Address1                          Address2                       Address3                    Address4         City                  State Zip
MARLA B GARRISON                   660 SEWARD ST APT 310                                                                                         DETROIT                MI 48202‐4437
MARLA BLEVINS                      6066 PATRICIA AVE                                                                                             RAVENNA                OH 44266‐1632
MARLA BROOKS                       1199 STONEHENGE RD                                                                                            FLINT                  MI 48532‐3225
MARLA CLARK                        2232 30TH ST                                                                                                  BEDFORD                IN 47421‐5414
MARLA EDGAR                        2406 E 4TH ST                                                                                                 ANDERSON               IN 46012‐3615
MARLA EDMONDS                      1906 ELVA DR                                                                                                  KOKOMO                 IN 46902‐5900
MARLA FEASTER                      42461 POND RIDGE LN                                                                                           BELLEVILLE             MI 48111‐7500
MARLA HIGHTOWER                    4003 MILL ST                                                                                                  KOKOMO                 IN 46902‐4696
MARLA J CLAUSEN TR                 2513 N 3501 RD                                                                                                MARSEILLES              IL 61341‐9457
MARLA J DOERR                      220 KANSAS AVE                                                                                                YPSILANTI              MI 48198‐6027
MARLA JANE KREILEIN                ATTN ROBERT W PHILLIPS            C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                    EAST ALTON              IL 62024
                                                                     ANGELIDES & BARNERD LLC      521

MARLA K THOMAS                     2803 COLESPRINGS DR                                                                                           BEAVERCREEK           OH   45434
MARLA KASKI                        309 N 5TH ST                                                                                                  WATSEKA               IL   60970‐1324
MARLA KELECAVA                     862 N LEAVITT RD                                                                                              LEAVITTSBURG          OH   44430‐9626
MARLA M DOMINECK                   1049 SHAKESPEARE AVE                                                                                          DAYTON                OH   45402
MARLA NOURSE                       4519 SPAHR ST                                                                                                 HOLT                  MI   48842‐1121
MARLA R WALTERS                    5434 N WAYNESVILLE RD TRLR 14                                                                                 OREGONIA              OH   45054‐9774
MARLA ROUSE                        1024 N CEDAR ST                                                                                               LANSING               MI   48906‐5211
MARLA SLEMP                        PO BOX 166                                                                                                    FLINT                 MI   48501‐0166
MARLA SOFFER ESQUIRE AS PERSONAL   DAVID ARENAS DECEASED             ERIC G ZAJAC ESQUIRE ZAJAC &   1818 MARKET ST 30TH FLR                      PHILADELPHIA          PA   19103
REPRESENTATIVE OF THE ESTATE OF                                      ARIAS LLC
MARLA STRICKLAND                   1051 VALLEYVIEW DR                                                                                            CLARKSTON             MI   48348‐5202
MARLA SWENSON                      66 N. DUTCH VALLEY ROAD                                                                                       BENNETT               CO   80102
MARLA THURMAN                      4703 GLEN MOOR WAY                                                                                            KOKOMO                IN   46902‐9589
MARLA TROYER                       1303 N FRANKLIN ST                                                                                            DANVILLE              IL   61832‐2502
MARLA WILSON                       442 REDMOND DR                                                                                                BLISSFIELD            MI   49228‐1073
MARLA'S CLEANING SVC               ATTN: MARLA WHITAKER              PO BOX 3040                                                                 MUNCIE                IN   47307‐1040
MARLA,SURYA PRAKASH                49151 FREESTONE DR                                                                                            NORTHVILLE            MI   48168‐8004
MARLAINE CERMAK                    5741 ALGONQUIN DR                                                                                             TROY                  MI   48098‐2319
MARLAINE I ZAFFUTO                 701 LAKESHORE BLVD                                                                                            ROCHESTER             NY   14617‐1534
MARLAND BLINN                      800 3RD ST                                                                                                    PLATTE CITY           MO   64079‐8459
MARLAND BROWN                      4310 DIEHL RD                                                                                                 METAMORA              MI   48455‐9754
MARLAND MCINTIRE                   1706 W COWING DR                                                                                              MUNCIE                IN   47304‐2329
MARLAND MOREAU                     4301 CUSTER AVE                                                                                               FLINT                 MI   48507‐2780
MARLAND, JOAN                      17546 COUNTRY CLUB DR                                                                                         LIVONIA               MI   48152‐4802
MARLAND, SIDNEY R                  100 W 5TH ST                                                                                                  SPRING VALLEY         IL   61362‐1423
MARLANE BONE                       561 GRACE ST                                                                                                  HUBBARD               OH   44425‐1559
MARLANE DETELICH                   PO BOX 196                                                                                                    BROOKFIELD            OH   44403‐0196
MARLANE RADZIUS                    202 FAIRVIEW CT                   FAIRFIELD COMMONS APTS                                                      MIDDLETOWN            DE   19709
MARLANE T BONE                     561 GRACE AVENUE                                                                                              HUBBARD               OH   44425‐1559
MARLANE WASHINGTON                 18530 MACK AVENUE                 #217                                                                        GROSSE POINTE FARMS   MI   48236
MARLANNE MARCONNAY                 5125 EXCHANGE DR                                                                                              FLINT                 MI   48507‐2928
MARLAR HARLIN L (429372)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK               VA   23510
                                                                     STREET, SUITE 600
MARLAR, FREDDIE D                  7 SAMUEL LN                                                                                                   MANSFIELD             TX 76063‐7078
MARLAR, HARLIN L                   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK               VA 23510‐2212
                                                                     STREET, SUITE 600
MARLAR, LYDIA S                    24 DOUGLAS RD                                                                                                 MASSENA               NY 13662‐2040
MARLAR, LYDIA SUE                  24 DOUGLAS RD                                                                                                 MASSENA               NY 13662‐2040
MARLAR, TERRENCE P                 24 DOUGLAS RD                                                                                                 MASSENA               NY 13662‐2040
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Name                        Address1                        Address2                Address3     Address4                  City               State Zip
MARLAR, TERRENCE P.         24 DOUGLAS RD                                                                                  MASSENA             NY 13662‐2040
MARLATT III, WALTER T       167 RAINBOW DR NO 6752                                                                         LIVINGSTON          TX 77399‐1067
MARLATT JR, DEWEY E         806 ARMSTRONG RD                                                                               LANSING             MI 48911‐3907
MARLATT, CLYDE R            25 LAS PALMAS DR                                                                               EDGEWATER           FL 32132
MARLATT, DANIEL E           4305 W WILLOW HWY                                                                              LANSING             MI 48917‐2140
MARLATT, DANIEL EDWARD      4305 W WILLOW HWY                                                                              LANSING             MI 48917‐2140
MARLATT, DANNY L            15 SADDLE LANE                                                                                 TEXARKANA           AR 71854‐1367
MARLATT, DANNY L            15 SADDLE LN                                                                                   TEXARKANA           AR 71854‐1367
MARLATT, DEWEY E            1423 VAN DYKE RD 300                                                                           HOLT                MI 48842
MARLATT, DONALD M           20786 E LOCKWOOD ROW                                                                           DE TOUR VILLAGE     MI 49725‐9502
MARLATT, EUGENE A           108 GEORGE FOX DR               C/O RICHARD E MARLATT                                          DANVILLE             IL 61832‐1152
MARLATT, FERN LOUISE        1906 HEATHERTON DR                                                                             HOLT                MI 48842‐1539
MARLATT, GRACE L            25 LAS PALMAS DR                                                                               EDGEWATER           FL 32132
MARLATT, GRACE L            1430 MT. EVERETT                                                                               HUBBARD             OH 44425‐2705
MARLATT, JAMES L            5159 W MOUNT HOPE HWY                                                                          MULLIKEN            MI 48861‐9728
MARLATT, JEFFERY D          28675 S RABER RD                                                                               GOETZVILLE          MI 49736‐9364
MARLATT, JEFFERY D          28675 SOUTH RABER ROAD                                                                         GOETZVILLE          MI 49736‐9364
MARLATT, JENIE L            203 CAROM CIR                                                                                  MASON               MI 48854‐9370
MARLATT, MERLIN R           7845 E VERMONTVILLE HWY                                                                        DIMONDALE           MI 48821‐8746
MARLATT, NANCY A            3084 GLOUCHESTER                APT. 89                                                        TROY                MI 48084
MARLATT, ROBERT E           2898 BENT OAK HWY                                                                              ADRIAN              MI 49221‐9227
MARLBORO COUNTY TREASURER   PO BOX 505                                                                                     BENNETTSVILLE       SC 29512‐0505
MARLBORO SERVICE CENTER     2 S MAIN ST                                                                                    MARLBORO            NJ 07746‐1538
MARLE E TUCKER              3221 COTTAGE RD                                                                                MORAINE             OH 45439‐1301
MARLEAH CAMPBELL            116 MARKET ST                                                                                  CORTLAND            OH 44410‐1033
MARLEAH SMITH               24862 STATE ROUTE 37                                                                           RICHWOOD            OH 43344‐9246
MARLEAN TAHREBANDI          51286 ELLY DR                                                                                  CHESTERFIELD        MI 48051‐1963
MARLEAU, BERNADETTE M       2690 OXFORD ST N # 201                                                                         ROSEVILLE           MN 55113‐2071
MARLEAU, BERNADETTE MARIE   2690 OXFORD ST N # 201                                                                         ROSEVILLE           MN 55113‐2071
MARLEAU, LINDA M            7827 BEATRICE                                                                                  WESTLAND            MI 48185‐2507
MARLEEN BANDY               40380 STONELEIGH ST                                                                            NORTHVILLE          MI 48167‐9586
MARLEEN DUHOW               6380 CHARLOTTEVILLE RD                                                                         NEWFANE             NY 14108‐9755
MARLEEN FAIMAN              729 KELLOGG ST                                                                                 PLYMOUTH            MI 48170‐1707
MARLEEN J PASTERNAK         701 MATTY AVE                                                                                  SYRACUSE            NY 13211‐1309
MARLEEN LEWIS               7472 W SOMERSET RD                                                                             APPLETON            NY 14008‐9683
MARLEEN VAN DEN EYNDE       ARNOLD VAN LOONLAAN 42                                               B‐3500 HASSELT, BELGIUM
MARLEEN VENES               13823 LYRIC AVE                                                                                CLEVELAND          OH 44111‐4462
MARLEENE DOWDEN             PO BOX 88                                                                                      GALVESTON          IN 46932‐0088
MARLEN CH. HARBARTH         KART─USERSTR. 138                                                    FREIBURG DE 79102
                                                                                                 GERMANY
MARLEN JENTZEN              1876 PROSPECT ST                                                                               SAGINAW            MI   48601‐6848
MARLEN TECHNOLOGY           33343 IONE DR STE 420                                                                          STERLING HEIGHTS   MI   48310
MARLENA JORDAN              1242 AUTUMN DR                                                                                 MOORESVILLE        IN   46158‐2024
MARLENA LARRY               3 MARISSA CT                                                                                   WAKE VILLAGE       TX   75501‐0324
MARLENA R CLAYBORNE         639 DUBIE RD                                                                                   YPSILANTI          MI   48198‐8025
MARLENE THOMAS              1611 SECRETARIAT DR                                                                            COLUMBIA           MO   65202‐4885
MARLENE & JOSEPH KLANSEK    12 SAVO AVE                                                                                    LANCASTER          PA   17601
MARLENE A KERRY             1694 PRADO CORTE                                                                               RIO RICO           AZ   85648
MARLENE A MATTIS            7543 ABRAHAM COURT                                                                             DAYTON             OH   45414
MARLENE A MEHAN             594 N COUNTY LINE HWY                                                                          DEERFIELD          MI   49238‐9603
MARLENE A RUCZKO            13714 BARRYKNOLL                                                                               HOUSTON            TX   77079
MARLENE A SULLIVAN          9317 QUEENS POST CT                                                                            LAUREL             MD   20723
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Name                      Address1                          Address2                 Address3   Address4              City               State Zip
MARLENE A URBANEK         5597 EAGLE CREEK RD. N.W.                                                                   LEAVITTSBURG        OH 44430‐9416
MARLENE A WEAVER          5520 COUNTYLINE RD                                                                          MIDDLEPORT          NY 14105‐9631
MARLENE AIKEN             429 BRISTOL LN                                                                              CLARKSTON           MI 48348‐2319
MARLENE AL ARBAJI         MARLENE AL ARBAJI C/O MR GEORGE   KURT TICHYGASSE 5/2/12              1100 VIENNA AUSTRIA
                          KHAWAM
MARLENE ALLEN             5078 EVERGREEN ST                                                                           ALGER              MI   48610‐9535
MARLENE ANDERSON          2913 DUNCAN LN                                                                              BALTIMORE          MD   21234‐3033
MARLENE ANDERSON          3022 WESTCHESTER RD                                                                         LANSING            MI   48911‐1044
MARLENE ANSPAUGH          1027 STATE ROUTE 122 W                                                                      EATON              OH   45320‐9526
MARLENE ANTHONY           10172 WAGONER CIR                                                                           CLARKSTON          MI   48348‐2048
MARLENE ASHLEY            6103 WIXSHIRE DR                                                                            INDIANAPOLIS       IN   46254‐1928
MARLENE ASTRAN            60 LEMOINE AVE                                                                              CHEEKTOWAGA        NY   14227‐1013
MARLENE ATHEY             6145 E MAPLE AVE                                                                            GRAND BLANC        MI   48439‐9192
MARLENE B HARFORD         5458 STATE ROUTE 303                                                                        NEWTON FALLS       OH   44444‐8508
MARLENE B MC KIMMY        9660 ST RT#7 NE BOX 64                                                                      KINSMAN            OH   44428
MARLENE B MCKIMMY         9660 ST. RT. 7 N.E.BOX 64                                                                   KINSMAN            OH   44428‐‐ 00
MARLENE BAILEY            3157 BENCHWOOD RD                                                                           DAYTON             OH   45414‐2318
MARLENE BAKE              7227 WINCHESTER DR                                                                          SAINT LOUIS        MO   63121‐2623
MARLENE BALLARD           7653 WILLITS RD                                                                             FOSTORIA           MI   48435‐9716
MARLENE BARRIGER          5340 DWIGHT ST                                                                              GLADWIN            MI   48624‐8925
MARLENE BEAN              1820 BRO MOR ST                                                                             SAGINAW            MI   48602‐4844
MARLENE BECK              2927 N 26TH ST                                                                              KANSAS CITY        KS   66104‐4521
MARLENE BERRY             4702 BRAMOOR CT                                                                             KOKOMO             IN   46902‐9587
MARLENE BEUTLER           3436 W WILLOW ST                                                                            LANSING            MI   48917‐1743
MARLENE BIESTERVELD       W4752 RICE RD                                                                               EAST TROY          WI   53120‐1562
MARLENE BLEAU             6169 LANCASTER DR                                                                           FLINT              MI   48532‐3216
MARLENE BOGGS             11649 BUTTERNUT CT                                                                          MOUNT MORRIS       MI   48458‐2937
MARLENE BOIK              8900 INKSTER RD                                                                             REDFORD            MI   48239‐2382
MARLENE BOWER             6710 MOYER RD                                                                               LOCKPORT           NY   14094‐9037
MARLENE BRANHAM           28959 MCDONALD ST                                                                           WESTLAND           MI   48186‐5112
MARLENE BROWN             8452 DITCH RD                                                                               CHESANING          MI   48616‐9713
MARLENE BROWNLEE          23575 LEE LN                                                                                SOUTHFIELD         MI   48033‐3101
MARLENE BRUNDIECK         40144 STEEL DR                                                                              STERLING HEIGHTS   MI   48310‐1947
MARLENE BRYANT            259 BERT LN                                                                                 INKSTER            MI   48141‐1079
MARLENE BULFORD           929 PINECREST RD                                                                            GIRARD             OH   44420‐2177
MARLENE BURNELL           2855 E STEWART RD                                                                           MIDLAND            MI   48640‐8586
MARLENE BYARD             1849 APATAKI CT                                                                             MARCO ISLAND       FL   34145‐4705
MARLENE C PEARCE          440 OBERMIYER ROAD                                                                          BROOKFIELD         OH   44403‐9703
MARLENE C SNOWDEN         912 SCIOTO ST                                                                               YOUNGSTOWN         OH   44505‐3754
MARLENE C VANSTEENBURGH   6178 MEREDITH GRADE RD                                                                      HARRISON           MI   48625‐9665
MARLENE CAMPBELL          468 N GRANT AVE                                                                             JANESVILLE         WI   53548‐3468
MARLENE CANNON            13711 BACKUS ST                                                                             SOUTHGATE          MI   48195‐1814
MARLENE CAPLIS            1703 VAN BUREN WAY                                                                          THE VILLAGES       FL   32162‐6719
MARLENE CAREY             16232 WILDEMERE ST                                                                          DETROIT            MI   48221‐3330
MARLENE CARLOTTA BOHMIG   MICHAEL AND MAREN BOHMIG          DU PONT STR 22                      D‐61352 BAD HOMBURG
                                                                                                GERMANY
MARLENE CARREL            2313 N CONCORD DR                                                                           JANESVILLE         WI   53545‐0504
MARLENE CARTER            G5434 CLIO RD                                                                               FLINT              MI   48504‐6301
MARLENE CHIO              12700 SECOR RD                                                                              PETERSBURG         MI   49270‐9723
MARLENE CLARK             1180 S DURAND RD                                                                            LENNON             MI   48449‐9692
MARLENE CLARK             435 MAIN ST                                                                                 DURHAM             CT   06422‐1314
MARLENE CLEVELAND         PO BOX 596                                                                                  FLINT              MI   48501‐0596
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Name                           Address1                         Address2                      Address3   Address4         City              State Zip
MARLENE CLIBER                 10063 N CLIO RD                                                                            CLIO               MI 48420‐1942
MARLENE CLINANSMITH            4185 W GABLES CT NE                                                                        GRAND RAPIDS       MI 49525‐9365
MARLENE CLINE                  7039 CHESTNUT RIDGE RD                                                                     HUBBARD            OH 44425‐3208
MARLENE COSTELLO               231 CREEKWOOD CIR                                                                          LINDEN             MI 48451‐9104
MARLENE CRIVELLO               44238 ELM AVE                                                                              LANCASTER          CA 93534‐4320
MARLENE CROW                   37582 BARKRIDGE CIR                                                                        WESTLAND           MI 48185‐3205
MARLENE CUMMINS                137 CEDAR DR                                                                               WEST MILTON        OH 45383‐1263
MARLENE CURRIE                 17916 GODDARD ST                                                                           DETROIT            MI 48212‐4001
MARLENE D DIKUN                360 DAKOTA AVE                                                                             MC DONALD          OH 44437‐1511
MARLENE D KACZMARCZYK          5070 LAMOR RD                                                                              HERMITAGE          PA 16148‐6530
MARLENE D LUSCOMBE             1315 PLEASANT VALLEY RD.                                                                   NILES              OH 44446‐4410
MARLENE D NYE                  133 NORTH MECCA ST                                                                         CORTLAND           OH 44410‐1036
MARLENE D WALKER               PO BOX 424                                                                                 MOUNT VERNON       NY 10552
MARLENE DANDY                  506 SOUTH 91ST CIRCLE                                                                      OMAHA              NE 68114‐3900
MARLENE DARCY                  3156 EAST M21                                                                              SAINT JOHNS        MI 48879
MARLENE DAVIS                  4045 W BELL RD APT 2002                                                                    PHOENIX            AZ 85053‐2758
MARLENE DECKER                 11476 W RIVER DR                                                                           DEWITT             MI 48820‐9727
MARLENE DEFILIPPO              205 IROQUOIS ST                                                                            RONKONKOMA         NY 11779
MARLENE DERCK                  3010 MERWOOD DR                                                                            MOUNT MORRIS       MI 48458‐8208
MARLENE DIKUN                  360 DAKOTA AVE                                                                             MC DONALD          OH 44437‐1511
MARLENE DOCKERY                2501 N APPERSON WAY TRLR 16                                                                KOKOMO             IN 46901‐1474
MARLENE DOLEN                  3169 BEECH CREEK RD                                                                        ROGERSVILLE        TN 37857‐5780
MARLENE DONALDSON              4694 HOSPITAL DR                                                                           CASS CITY          MI 48726‐1049
MARLENE DONCHESS               419 WENDEMERE DR                                                                           HUBBARD            OH 44425‐2621
MARLENE DUDASH & JOHN ROBERT   8084 EASTWAY DR                                                                            MENTOR             OH 44060
DUDASH
MARLENE DURNALL                409 WORCHESTER DRIVE                                                                       DOVER             DE   19904‐5741
MARLENE DUZENBURY              1822 LORAINE AVE                                                                           LANSING           MI   48910‐8729
MARLENE E FISHEL               1830 DREXEL AVE NW                                                                         WARREN            OH   44485‐2122
MARLENE E MOHN                 262 JUSTINE DRIVE                                                                          CHAMBERSBURG      PA   17201
MARLENE E SAVAGE               675 SEWARD ST APT 107                                                                      DETROIT           MI   48202‐2441
MARLENE E SMITH                8129 VENICE N.E.                                                                           WARREN            OH   44484‐1515
MARLENE E ULAKOVICH            1794 WARNER AVE.                                                                           MINERAL RIDGE     OH   44440‐9564
MARLENE ECKALBAR               10791 RATTALEE LAKE RD                                                                     DAVISBURG         MI   48350‐1325
MARLENE ELLIOTT                935 E GARDENIA AVE                                                                         MADISON HEIGHTS   MI   48071‐3431
MARLENE F CHIO                 12700 SECOR RD                                                                             PETERSBURG        MI   49270‐9723
MARLENE F EGAN                 8026 COATES RD                                                                             NAPLES            NY   14512‐9107
MARLENE F ROCK                 7400 ALEXANDER ST                                                                          MOUNT MORRIS      MI   48458‐2927
MARLENE FEJKO                  3280 DEER TRL UNIT A                                                                       CORTLAND          OH   44410‐9121
MARLENE FLOYD                  PO BOX 1311                      650 SOUTH INTERNATIONAL AVE                               CALIPATRIA        CA   92233‐1311
MARLENE FOBES                  4969 RIDGE RD                                                                              CORTLAND          OH   44410‐9730
MARLENE FORD                   2903 CIALELLA PASS                                                                         SAINT CLOUD       FL   34772‐8874
MARLENE FOREMAN                2514 SPRING GROVE DR                                                                       KOKOMO            IN   46902‐9796
MARLENE FOSTER                 8705 BROOKLYN AVE                                                                          KANSAS CITY       MO   64132‐2658
MARLENE FREY                   APT 222                          2075 NORTH EASTOWN ROAD                                   LIMA              OH   45807‐2099
MARLENE G BENKO                1475 BUTTERFIELD CIR.                                                                      NILES             OH   44446‐3577
MARLENE G RANELLI              38 LOVELACE LA                                                                             W HENRIETTA       NY   14586‐9716
MARLENE GALANT                 533 WADHAMS RD                                                                             SAINT CLAIR       MI   48079‐1809
MARLENE GALAUNER               1601 WAGAR AVE                                                                             LAKEWOOD          OH   44107‐3645
MARLENE GARLAND                PO BOX 176                                                                                 CANNON            KY   40923‐0176
MARLENE GAROLA                 1941 STALEY RD                                                                             GRAND ISLAND      NY   14072‐2144
MARLENE GIANNETTI              11149 HARRISON                                                                             ROMULUS           MI   48174‐2721
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Name                  Address1                         Address2                   Address3   Address4         City               State Zip
MARLENE GOMEZ         1222 MANDERLY DR                                                                        MILFORD             MI 48381‐1308
MARLENE GOUPIL        807 W IONIA ST                                                                          BAY CITY            MI 48706‐5145
MARLENE GRAHAM        5032 TALLOW POINT ROAD                                                                  TALLAHASSEE         FL 32309
MARLENE GRAZIANA      10869 CONTINENTAL DR                                                                    TAYLOR              MI 48180‐6904
MARLENE GRIPENTROG    1054 E HOTCHKISS RD                                                                     BAY CITY            MI 48706‐8714
MARLENE GUENTHER      BISMARCKSTR. 10                                                                         BAD SALZUFLEN            32105
MARLENE HALE          130 N E 26TH AVE                 BLDG #4, APT. 108                                      BOYNTON BEACH       FL 33435
MARLENE HALL          2433 SINCLAIR AVE NE                                                                    GRAND RAPIDS        MI 49505‐3602
MARLENE HALL          2915 HEMLOCK PL                                                                         LANSING             MI 48910‐2538
MARLENE HAMPTON       485 ELK LAKE RD                                                                         ATTICA              MI 48412‐9807
MARLENE HANDLEY       29611 SHADY BROOK LN                                                                    MAGNOLIA            TX 77355‐6080
MARLENE HANDLEY       PO BOX 681671                                                                           FRANKLIN            TN 37068‐1671
MARLENE HARFORD       5458 STATE ROUTE 303                                                                    NEWTON FALLS        OH 44444‐8508
MARLENE HARRELSON     125 E IROQUOIS TRL                                                                      SANDUSKY            OH 44870‐6146
MARLENE HEARNS        2448 WOODLAND TRL                                                                       FLINT               MI 48507‐3858
MARLENE HEIST
MARLENE HITCHCOCK     11511 CHARLOTTE HWY                                                                     PORTLAND           MI 48875‐8402
MARLENE HOLLAENDER    EICHENDORFFWEG 12
MARLENE HOLL─NDER     EICHENDORFFWEG 12
MARLENE HOPPER        1060 SW 46TH AVE APT 206                                                                POMPANO BEACH      FL   33069‐0996
MARLENE HOWELL        1224 E 700 S                                                                            PERU               IN   46970‐7826
MARLENE HUNYADY       1926 W COURT ST APT 1                                                                   FLINT              MI   48503‐3190
MARLENE IRELAND       7589 S LAKE RD                                                                          BERGEN             NY   14416‐9360
MARLENE ISON          520 LOCUST ST                                                                           GREENVILLE         OH   45331‐2050
MARLENE J BROERSMA    1177 E GROVER ST                                                                        LYNDEN             WA   98264
MARLENE J CARGILE     517 WOODCREST WAY                                                                       FORNEY             TX   75126
MARLENE J MARIOTTI    1440 WINDWARD WAY                                                                       NILES              OH   44446‐3547
MARLENE J STINSON     90 MEYER RD APT 221                                                                     BUFFALO            NY   14226‐1003
MARLENE J WILCOX      5331 MAHONING AVE NW                                                                    WARREN             OH   44483
MARLENE JACOBI        C/O BRIAN JACOB                  3895 ENTERPRISE DRIVE                                  SHEBOYGAN          WI   53083
MARLENE JANSEN        13782 JOBIN ST                                                                          SOUTHGATE          MI   48195‐1817
MARLENE JASEN         18730 EMERALD CIR UNIT E                                                                BROOKFIELD         WI   53045‐3696
MARLENE JEWELL        9106 N FAIRVIEW AVE                                                                     MILTON             WI   53563‐9611
MARLENE JOHNSON       209 BAY ST                                                                              DAVISON            MI   48423‐1113
MARLENE JONES         230 HORNWOOD DR                                                                         DAYTON             OH   45405‐1122
MARLENE JONES         942 W BORTON RD                                                                         ESSEXVILLE         MI   48732‐9656
MARLENE JONES         APT 1102                         1410 SOUTH MONROE STREET                               MONROE             MI   48161‐3987
MARLENE JONES         403 AMESBURY DR                                                                         DAVISON            MI   48423‐1762
MARLENE JONES         230 HORNWOOD DR                                                                         DAYTON             OH   45405‐1122
MARLENE JONES         7975 DAYTON LIBERTY RD RT2                                                              NEW LEBANON        OH   45345‐9619
MARLENE JUDD          983 SUMMITVILLE DR                                                                      WEBSTER            NY   14580‐4135
MARLENE K HOLLISTER   901 BOULEVARD ST                                                                        SYRACUSE           NY   13211‐1806
MARLENE KACZMARCZYK   5070 LAMOR RD                                                                           HERMITAGE          PA   16148‐6530
MARLENE KERRY         1694 PRADO CORTE                                                                        RIO RICO           AZ   85648
MARLENE KILBURN       2857 CARTERS CREEK STATION RD                                                           COLUMBIA           TN   38401‐7307
MARLENE KNAPPS        PO BOX 3142                                                                             RANCHO CUCAMONGA   CA   91729‐3142
MARLENE KNAUS         920 N DORCHESTER AVE                                                                    ROYAL OAK          MI   48067‐2167
MARLENE KNEALE        43351 NAPA DR                                                                           STERLING HEIGHTS   MI   48314‐1937
MARLENE KOHLMEYER     10787 W DEXTER TRL                                                                      FOWLER             MI   48835‐9243
MARLENE KOHN          4554 S VERMONT AVE                                                                      SAINT FRANCIS      WI   53235‐5759
MARLENE KOPKO         41040 GLENLEVEN CT                                                                      CLINTON TWP        MI   48038‐5855
MARLENE KUEHN         140 COUNTRY FOREST DR                                                                   FORT WAYNE         IN   46818‐1478
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Name                  Address1                        Address2                       Address3             Address4           City            State Zip
MARLENE KUHNS         1296 MIDDLEBURY RD                                                                                     KENT             OH 44240‐3373
MARLENE KUZMA         7298 E DODGE RD                                                                                        MOUNT MORRIS     MI 48458‐9717
MARLENE L CLEVELAND   PO BOX 596                                                                                             FLINT            MI 48501‐0596
MARLENE L SMITH       3221 COTTAGE ROAD                                                                                      MORAINE          OH 45439‐1301
MARLENE LAKER         63 N 5TH AVE                                                                                           BEECH GROVE      IN 46107‐1325
MARLENE LAMBERT       1292 SARANAC DR                                                                                        TRANSFER         PA 16154‐1928
MARLENE LANE          488 LAURELWOOD DR SE                                                                                   WARREN           OH 44484‐2415
MARLENE LAPORT        2376 WIENEKE RD                                                                                        SAGINAW          MI 48603‐3687
MARLENE LAW           8164 HIGHPOINT BLVD                                                                                    BROOKSVILLE      FL 34613‐7361
MARLENE LEE           309 C ST                                                                                               CARBON            IA 50839‐7502
MARLENE LONDON        4040 COIT AVE NE                                                                                       GRAND RAPIDS     MI 49525‐2126
MARLENE LUHRSEN       C/O COONEY AND CONWAY           120 NORTH LASALLE 30TH FLOOR                                           CHICAGO           IL 60602
MARLENE LUSCOMBE      1315 PLEASANT VALLEY RD                                                                                NILES            OH 44446‐4410
MARLENE LYNCH         1111 SMALL PL                                                                                          YPSILANTI        MI 48197‐5169
MARLENE M FOBES       4969 RIDGE                                                                                             CORTLAND         OH 44410‐9730
MARLENE M HELSLEY     210 EARL DR NW                                                                                         WARREN           OH 44483‐1112
MARLENE M JORDAN      138 MILFORD STREET                                                                                     ROCHESTER        NY 14615‐1807
MARLENE M SOLOWAY     64 W FAIRMOUNT AVE                                                                                     PONTIAC          MI 48340‐2732
MARLENE MAGNO         1725 KERR ST                                                                                           NEW CASTLE       PA 16101‐1317
MARLENE MALAVARCA     25 RUBY LN                                                                                             EAST HANOVER     NJ 07936‐3435
MARLENE MARINO        10244 CORNERSTONE DR 12                                                                                WASHINGTON       MI 48095
MARLENE MARIOTTI      1440 WINDWARD WAY                                                                                      NILES            OH 44446‐3547
MARLENE MARRANCA      96 ULLMAN ST 96                                                                                        BUFFALO          NY 14207
MARLENE MARTINS       9141 W WATERFORD SQ N                                                                                  GREENFIELD       WI 53228‐2252
MARLENE MASON         8344 E VESTABURG RD                                                                                    VESTABURG        MI 48891‐9452
MARLENE MATTIS        7543 ABRAHAM CT                                                                                        DAYTON           OH 45414‐1719
MARLENE MAYNARD       304 S MAIN ST                                                                                          FAIRMOUNT        IN 46928‐1927
MARLENE MC MASTER     511 BAYSHORE DR APT 705                                                                                FT LAUDERDALE    FL 33304‐3987
MARLENE MCCLELLAND    205 AVENIDA SALVADOR                                                                                   SAN CLEMENTE     CA 92672‐2229
MARLENE MCCLURG       149 E WOOD ST                                                                                          VERSAILLES       OH 45380‐1443
MARLENE MCDANIEL      536 BEECHWOOD ST                                                                                       RIVER ROUGE      MI 48218‐1021
MARLENE MCKENNEY      3591 SE RIVER RD                                                                                       HILLSBORO        OR 97123‐9271
MARLENE MCKIMMY       9660 ST. RT. 7 N.E.BOX 64                                                                              KINSMAN          OH 44428
MARLENE MEZEIVTCH     1821 TILLMAN DR                                                                                        N VERSAILLES     PA 15137
MARLENE MILLER        3003 COOMER RD                                                                                         NEWFANE          NY 14108‐9679
MARLENE MOISAN        180 SCOTT RD                    APRT 247                                                               WATERBURY        CT 06705
MARLENE MULDER        221 LAKE DR                                                                                            SIX LAKES        MI 48886‐8741
MARLENE MURDOCK       3376 NORRIS RD                                                                                         WATERFORD        MI 48329‐3235
MARLENE MURPHY        15096 PINEWOOD TRL                                                                                     LINDEN           MI 48451‐9124
MARLENE MUSCARELLA    49 CAMPBELL RD                                                                                         CHEEKTOWAGA      NY 14215‐2905
MARLENE NIESE         13‐614 RD 4 ROUTE 3                                                                                    LEIPSIC          OH 45856
MARLENE NORRIS        4965 VERMONT ST                                                                                        GARY             IN 46409
MARLENE O'HEY         7 ARBOR LANE                                                                                           LEVITTOWN        PA 19055‐1201
MARLENE O'SHIELDS     1104 SHEPPARD RD                                                                                       BURKBURNETT      TX 76354‐3104
MARLENE OLLERTON      2209 BRIAR LN                                                                                          BURTON           MI 48509‐1232
MARLENE OLSZEWSKI     218 NESBIT RD                                                                                          OAKDALE          PA 15071
MARLENE OSTRANDER     2480 BONNIE MAE RD                                                                                     HARRISON         MI 48625‐9535
MARLENE P ARNDERFER   412 24TH AVENUE                                                                                        SAN FRANCISCO    CA 94121
MARLENE P BULFORD     929 PINECREST RD                                                                                       GIRARD           OH 44420‐2177
MARLENE P JONES       ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS       707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON        IL 62024
                                                      ANGELIDES & BARNERD LLC
MARLENE PARKER        4220 WHITBY LN                                                                                         BATH             MI 48808‐9412
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Name                    Address1                         Address2            Address3         Address4            City                    State Zip
MARLENE PATTERSON       3177 PRESCOTT DR                                                                          HOWELL                   MI 48843‐6975
MARLENE PAYNE           252 W YPSILANTI AVE                                                                       PONTIAC                  MI 48340‐1877
MARLENE PEACOCK         6440 W G AVE                                                                              KALAMAZOO                MI 49009‐8522
MARLENE PEARCE          440 OBERMIYER RD                                                                          BROOKFIELD               OH 44403‐9703
MARLENE PHILLIPS        2042 WOODCREST DR                                                                         OREGON                   OH 43618‐1058
MARLENE PHILLIPS        1033 GAMBLE GAP RD                                                                        TELLICO PLAINS           TN 37385‐5302
MARLENE PLETCHER        8125 ELLIS RD                                                                             MILLINGTON               MI 48746‐9402
MARLENE POOCK           9611 MASON RD                                                                             CASTALIA                 OH 44824‐9280
MARLENE POUPORE         1137 ARROWHEAD DR                                                                         BURTON                   MI 48509‐1421
MARLENE POWELL          2015 GOODRICH AVE                                                                         FLINT                    MI 48503‐3948
MARLENE PRICE           9086 TAVISTOCK DR                                                                         PLYMOUTH                 MI 48170‐4721
MARLENE PRICE           5828 SUNSET RDG                                                                           GALLOWAY                 OH 43119‐8438
MARLENE PRUET
MARLENE R CALDWELL      1080 NORTH RD SE                                                                          WARREN                  OH   44484
MARLENE R DONCHESS      419 WENDEMERE DR                                                                          HUBBARD                 OH   44425‐2621
MARLENE R KNAUS         920 N DORCHESTER AVE                                                                      ROYAL OAK               MI   48067‐2167
MARLENE R WASHKO        #7 FERNCREEK DR                                                                           ROLLING HILLS ESTATES   CA   90274
MARLENE RAUSCH          2824 C ST                                                                                 MCKEESPORT              PA   15133‐2524
MARLENE RICHARDSON      7104 DALEGARD ST                                                                          INDIANAPOLIS            IN   46241‐1406
MARLENE RIDGWAY         17 HIGHLAND TER                                                                           WHITE LAKE              MI   48386‐1948
MARLENE RILEY           2753 ALDER CREEK DR S APT 3                                                               NORTH TONAWANDA         NY   14120
MARLENE RIVERA          19928 CHASE ST UNIT 13                                                                    WINNETKA                CA   91306‐1677
MARLENE ROBINSON        1481 HUNTERS RIDGE CT                                                                     DAVISON                 MI   48423‐2207
MARLENE ROCK            7400 ALEXANDER ST                                                                         MOUNT MORRIS            MI   48458‐2927
MARLENE RODE            8907 BEULAH CHURCH RD                                                                     FERN CREEK              KY   40291‐2734
MARLENE S LAMBERT       1292 SARANAC DR                                                                           TRANSFER                PA   16154‐1928
MARLENE S SLETVOLD      5075 ROCKWELL AVE                                                                         YOUNGSTOWN              OH   44515‐1744
MARLENE SALINARDI       375 ABERDEEN CT UNIT 1                                                                    BARTLETT                IL   60103‐7459
MARLENE SAMS            18465 WESTPHALIA ST                                                                       DETROIT                 MI   48205‐2642
MARLENE SANDY           12345 RAYMOND DR                                                                          CLIO                    MI   48420‐1016
MARLENE SCHAAF          7785 REDBANK LN                                                                           HUBER HEIGHTS           OH   45424‐2150
MARLENE SCHAEFER        7564 GLENCOE DR                                                                           CEDARBURG               WI   53012‐9786
MARLENE SCHALDENBRAND   46615 SUGARBUSH RD                                                                        CHESTERFIELD            MI   48047‐5240
MARLENE SCHIEBER        8900 N PROSPECT AVE                                                                       KANSAS CITY             MO   64156‐1218
MARLENE SCHNEIDER       10644 S AUSTIN ST                                                                         OAK CREEK               WI   53154‐6404
MARLENE SCHROYER        162 MAPLE ST                                                                              FRIENDSVILLE            MD   21531‐2123
MARLENE SCHUCH          119 E HART ST                                                                             BAY CITY                MI   48706‐3832
MARLENE SCHWIND         6274 MIDDLEBROOK BLVD                                                                     BROOK PARK              OH   44142‐3839
MARLENE SEELYE          7503 GROVE ST                                                                             SWARTZ CREEK            MI   48473‐1474
MARLENE SHEEHAN         5895 HORSTMEYER RD                                                                        LANSING                 MI   48911‐6492
MARLENE SHIELDS         1357 BLACK FOREST DR                                                                      DAYTON                  OH   45449‐2361
MARLENE SMITH           2430 HIGHWAY 1545                                                                         RUSSELL SPRINGS         KY   42642‐9589
MARLENE SMITH           8129 VENICE HEIGHTS DR NE                                                                 WARREN                  OH   44484‐1515
MARLENE SMITH           107 TRENTWOOD DR                                                                          CROSSVILLE              TN   38558‐6585
MARLENE SMITH           PO BOX 445                                                                                LESLIE                  MI   49251‐0445
MARLENE SNOWDEN         912 SCIOTO ST                                                                             YOUNGSTOWN              OH   44505‐3754
MARLENE SOMMERS         9103 N UNION ST LOT 30                                                                    TECUMSEH                MI   49286‐1043
MARLENE SPENCER         4010 AUTUMN HUE LN                                                                        DAVISON                 MI   48423‐8975
MARLENE STAVROS         210 W FAIRFIELD AVE                                                                       LANSING                 MI   48906‐3116
MARLENE STEFKE          RAIFFEISENSTR 8                                                       GOLLHOFFEN 97258
                                                                                              GERMANY
MARLENE STENBERG        7515 NORTH STURTEVANT ROAD                                                                WHITEWATER              WI 53190‐3405
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Name                    Address1                       Address2            Address3         Address4         City               State Zip
MARLENE STEWART         PO BOX 194                                                                           MAPLE RAPIDS        MI 48853‐0194
MARLENE STUCKEY         4201 WILLOW RD                                                                       WILSON              NY 14172‐9712
MARLENE SUBJOC          10804 MOUNTVIEW AVE                                                                  GARFIELD HEIGHTS    OH 44125‐3135
MARLENE T CLINE         7039 CHESTNUT RIDGE RD.SE                                                            HUBBARD             OH 44425‐3208
MARLENE TAYLOR          53 E ORANGE ST                                                                       CHAGRIN FALLS       OH 44022‐2732
MARLENE THIEKE          427 N CARTER ST                                                                      GREENTOWN           IN 46936‐1030
MARLENE THOMAS          4157 MUCHMORE RD                                                                     CINCINNATI          OH 45227‐3905
MARLENE TYRRELL         28 LONGS AVE                                                                         TONAWANDA           NY 14150‐2342
MARLENE ULAKOVICH       1794 WARNER AVE                                                                      MINERAL RIDGE       OH 44440‐9564
MARLENE URBANEK         5597 EAGLE CREEK RD                                                                  LEAVITTSBURG        OH 44430‐9416
MARLENE VANCE           11216 PATRICK CT                                                                     FRANKFORT            IL 60423‐8188
MARLENE VANDERMOLEN     5603 KNOX DR                                                                         PORT ORANGE         FL 32127‐6251
MARLENE VANDERMOLEN     9241 E FRANCIS                                                                       HESPERIA            MI 49421‐8511
MARLENE VANSTEENBURGH   6178 MEREDITH GRADE RD                                                               HARRISON            MI 48625‐9665
MARLENE VREELAND        PO BOX 282                                                                           SARANAC             MI 48881‐0282
MARLENE W LANE          488 LAURELWOOD                                                                       WARREN              OH 44484‐2415
MARLENE WASHINGTON      17003 KENYON RD                                                                      SHAKER HTS          OH 44120‐3740
MARLENE WATERSON        512 RANDOLF STREET                                                                   MASON               MI 48854
MARLENE WEAVER          5520 COUNTYLINE RD                                                                   MIDDLEPORT          NY 14105‐9631
MARLENE WEIR            10307 TWIN LAKE RD                                                                   MANCELONA           MI 49659‐9515
MARLENE WHITMAN         1014 LOFTON DR                                                                       CLAYTON             OH 45315‐8741
MARLENE WHITTEN         129 E RIDGE ST                                                                       CARLISLE            PA 17013‐3928
MARLENE WILCOX          11340 CALKINS RD                                                                     FLUSHING            MI 48433‐9731
MARLENE WILEY           4465 FREE PIKE                                                                       DAYTON              OH 45416‐1219
MARLENE WILLIAMS        1223 CURZON CT APT 201                                                               HOWELL              MI 48843‐6102
MARLENE WILLIAMS        3244 ARBUTUS DR                                                                      INDIANAPOLIS        IN 46224‐2009
MARLENE WOODS           1138 GRANDVIEW DR                                                                    NEW LENOX            IL 60451‐2331
MARLENE WOODS           1977 W SPINNINGWHEEL LN                                                              BLOOMFIELD HILLS    MI 48304‐1067
MARLENE WOODSIDE        20 MEADOWLARK CT                                                                     GRANITE CITY         IL 62040‐5217
MARLENE WYSK            31529 CARION DR                                                                      WARREN              MI 48092‐1387
MARLENE Y BAILEY        3157 BENCHWOOD RD                                                                    DAYTON              OH 45414‐2318
MARLENE YOUNG           2188 KANE RD                                                                         STOCKBRIDGE         MI 49285‐9760
MARLENE ZELECKI         8569 CENTRAL                                                                         CENTER LINE         MI 48015‐1549
MARLENE ZELENKA‐FREAS   12189 DENTONVIEW DR                                                                  FENTON              MI 48430‐2503
MARLENE ZUBER           17656 KUECKEN ST                                                                     CLINTON TWP         MI 48038‐1764
MARLENIS E PORTILLO     11209 TIDEWATER TRL                                                                  FREDERICKSBRG       VA 22408‐2040
MARLER, ANITA           587 ROTELLINI                                                                        MIAMISBURG          OH 45342‐5342
MARLER, BETTY J         5210 LOWER ROSWELL RD                                                                MARIETTA            GA 30068‐4425
MARLER, BEULAH P        POST OFFICE BOX 19                                                                   IRONDALE            MO 63648‐0019
MARLER, BEULAH P        PO BOX 19                                                                            IRONDALE            MO 63648‐0019
MARLER, CAROL           963 PINE NEEDLES DR                                                                  DAYTON              OH 45458‐3332
MARLER, CLIFF L         10109 CASA LINDA                                                                     OKLAHOMA CITY       OK 73139‐5414
MARLER, DEBORAH J       10109 CASA LINDA                                                                     OKLAHOMA CITY       OK 73139‐5414
MARLER, EARL B          606 S DESLOGE DR                                                                     DESLOGE             MO 63601‐3622
MARLER, FREDA           PO BOX 1193                                                                          MOUNT VERNON        KY 40456‐1193
MARLER, JAMES R         8903 W 48TH TARRECE                                                                  MERRIAM             KS 66203
MARLER, JUDITH E        2275 CHERRY WOOD DR                                                                  BRIGHTON            MI 48116‐6769
MARLER, LYMAN A         2051 LYNN DR                                                                         KOKOMO              IN 46902‐6505
MARLER, NORMAN L        17209 STATE HIGHWAY U                                                                MINERAL POINT       MO 63660‐9552
MARLER, RACHEL ISABEL   419 CLEVELAND AVE                                                                    ST BERNARD          OH 45217‐1331
MARLER, ROBERT G        PO BOX 306                                                                           BONNE TERRE         MO 63628‐0306
MARLER, VERNON J        10290 SKAGGS RD                                                                      POTOSI              MO 63664‐5621
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Name                                 Address1                         Address2                      Address3   Address4         City            State Zip
MARLER, VERNON S                     804 N MISSOURI ST                                                                          POTOSI           MO 63664‐1678
MARLESE DAVENPORT                    3977 PALACE AVE                                                                            CANTON           MI 48188‐7205
MARLESS COMBS                        5266 ROCKPORT AVE                                                                          DAYTON           OH 45427‐2235
MARLET, BEVERLY S                    4605 STEFFENS RD                                                                           ARCADIA          MI 49613‐9718
MARLET, JESSIE L                     2173 S CENTER RD APT 114                                                                   BURTON           MI 48519‐1807
MARLET, RICHARD E                    4605 STEFFENS RD                                                                           ARCADIA          MI 49613‐9718
MARLETA BINNINGER                    2531 TULIP DR                                                                              INDIANAPOLIS     IN 46227‐5105
MARLETA TURNEY                       8767 FM 512                                                                                WOLFE CITY       TX 75496
MARLETAE LAVAWN LEWIS                2811 MCCALL STREET                                                                         DAYTON           OH 45417‐2029
MARLETT, CARLIN S                    1884 FRONTIER ST SW                                                                        WYOMING          MI 49509‐9509
MARLETT, CHAD E                      10557 JO ANN LN                                                                            PLYMOUTH         MI 48170‐3851
MARLETT, CHESTER                     24636 MCDONALD ST                                                                          DEARBORN HTS     MI 48125‐1810
MARLETT, CURTIS H                    7001 S STATE ROAD 67 67                                                                    MUNCIE           IN 47302
MARLETT, JOHN E                      82 GALLATIN AVE                                                                            BUFFALO          NY 14207‐2126
MARLETT, JOSEPH R                    4198 CAMPBELL ST                                                                           DEARBORN HTS     MI 48125‐2721
MARLETT, JOSEPH RICHARD              4198 CAMPBELL ST                                                                           DEARBORN HTS     MI 48125‐2721
MARLETT, LUCY M                      1313 64TH STREET SOUTHWEST                                                                 BYRON CENTER     MI 49315‐8689
MARLETT, NAOMI M.                    4017 GRAY POND CT.                                                                         INDIANPOLIS      IN 46237‐4700
MARLETT, STEPHEN M                   1313 64TH ST SW                                                                            BYRON CENTER     MI 49315‐8689
MARLETT, WILLIAM C                   31575 PINTO DR                                                                             WARREN           MI 48093‐7626
MARLETT, WILLIAM H                   31575 PINTO DR                                                                             WARREN           MI 48093‐7626
MARLETTA FOSTER‐HUNT                 9243 KELLY HWY                                                                             VERMONTVILLE     MI 49096‐8775
MARLETTA, MARINA M                   521 WESTON PL                    C/O ANGELA NAGELE                                         DEBARY           FL 32713‐4909
MARLETTE REGIONAL HO                 PO BOX 307                                                                                 MARLETTE         MI 48453‐0307
MARLETTE TOWNSHIP                    4090 BUTLER RD                                                                             MARLETTE         MI 48453‐9320
MARLETTE, CLARA U                    6968 HOLLY HILL COURT SW                                                                   BYRON CENTER     MI 49315
MARLETTE, FRANK                      4029 N OKETO AVE                                                                           NORRIDGE          IL 60706‐1106
MARLETTE, GERALD A                   1103 SEMINOLE DR                                                                           LINCOLNTON       GA 30817‐3719
MARLETTE, GERALD C                   PO BOX 303                                                                                 CORNVILLE        AZ 86325‐0303
MARLETTE, LARRY H                    6968 HOLLY HILL CT SW                                                                      BYRON CENTER     MI 49315‐8362
MARLETTE, ROBERT R                   595 MARTINSVILLE FORD RD                                                                   BOWLING GREEN    KY 42103‐7715
MARLETTE, VICKY L                    6968 HOLLY HILL CT SW                                                                      BYRON CENTER     MI 49315‐8362
MARLETTE, WALTER T                   2275 BRICKTON STA                                                                          BUFORD           GA 30518‐6033
MARLETTO ANTHONY                     1514 UPPER ROCK CREEK RD                                                                   PHILIPSBURG      MT 59858‐9536
MARLETTO, FRANK N                    1145 HADLEY DR                                                                             SHARON           PA 16146‐3527
MARLEY EDWARD (ESTATE OF) (641985)   HOWARD BRENNER & GARRIGAN‐NASS   1608 WALNUT ST , 17TH FLOOR                               PHILADELPHIA     PA 19103

MARLEY HERALD                        1246 LEXINGTON ONTARIO RD                                                                  MANSFIELD       OH   44903‐7704
MARLEY, ALBERT                       1122 CABRIOLET BLVD                                                                        AUBURN          IN   46706‐1331
MARLEY, ANNA M                       8150 RUBECK RD                                                                             POLAND          IN   47868‐7423
MARLEY, APRIL D                      2208 CANTERBURY DR                                                                         KOKOMO          IN   46902‐3175
MARLEY, APRIL DAWN                   2208 CANTERBURY DR                                                                         KOKOMO          IN   46902‐3175
MARLEY, DENNIS R                     4127 SHENANDOAH PKWY                                                                       BRUNSWICK       OH   44212‐2979
MARLEY, ERNEST C                     5148 LARKSPUR LN                                                                           MASON           OH   45040‐8157
MARLEY, ERNEST CECIL                 5148 LARKSPUR LANE                                                                         MASON           OH   45040‐8157
MARLEY, GARY                         12480 CALLIE DR                                                                            MOORESVILLE     IN   46158‐8452
MARLEY, GARY W                       102 MANANA DR                                                                              GRAND PRAIRIE   TX   75050‐6538
MARLEY, HELEN                        5 FAWN RDG                                                                                 FAIRFAX         CA   94930‐2021
MARLEY, JAMES A                      1245 E 54TH ST                                                                             MARION          IN   46953‐6221
MARLEY, JAMES C                      645 S 700 E                                                                                ELWOOD          IN   46036‐8403
MARLEY, MARIE J                      5160 S BIRCH LN                                                                            BEAVERTON       MI   48612‐8553
MARLEY, MICHAEL R                    6769 N E00W                                                                                MARION          IN   46952
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Name                              Address1                         Address2                Address3     Address4               City               State Zip
MARLEY, MICHAEL S                 315 E WALKER ST                                                                              JONESBORO           IN 46938‐1646
MARLEY, PAUL E                    2017 TIMBER COVE COURT                                                                       WEATHERFORD         TX 76087‐3826
MARLEY, ROSARY M                  2310 CROMWELL DR                                                                             ARLINGTON           TX 76018‐2560
MARLEY, ROSE                      3005 SOUTH MC CLURERD                                                                        MARION              IN 46953‐4039
MARLEY, SHARON B                  410 PEBBLE CT                                                                                RUSSIAVILLE         IN 46979‐9157
MARLEY, WILLIAM S                 6701 NE 46TH TER                                                                             KANSAS CITY         MO 64117‐1514
MARLIE WELCH                      PO BOX 753                                                                                   EDMORE              MI 48829‐0753
MARLIENE ALLEN                    329 NE 60TH ST                                                                               OKLAHOMA CITY       OK 73105‐1621
MARLIES BUMMER                    Z.H. PETER BOK                   H.V. HOHERLOKE STR. 7                D37980 BAD
                                                                                                        MERGENTHEIM, GERMANY
MARLIES ELLEFREDT                 AMSELWEG 33                      33415 VERL
MARLIES OSTERTAG                  HINTER DEN H╓FEN 9A
MARLIES OSTERTAG                  HINTER DEN HOEFEN 9A                                                                         EGESTORF                21272
MARLIN & ALLYSON BYERS            645 ROSE ST                                                                                  APOLLO             PA   15613
MARLIN & NANCY J REHM             530 RED MILL RD                                                                              ETTERS             PA   17319
MARLIN ANTHONY                    10595 N BARNARD RD                                                                           PENDLETON          IN   46064‐9409
MARLIN BRITTIAN                   2576 E LAPOINT DR                                                                            MILFORD            IN   46542‐9708
MARLIN C. SEACE                   3121 JOLINE DRIVE                                                                            SARASOTA           FL   34239
MARLIN CHRISTENSEN                306 PAULDINE WAY                                                                             GRANTS PASS        OR   97527‐9216
MARLIN CLAUDIA                    2849 LARKSPUR AVE                                                                            BREA               CA   92821‐4712
MARLIN D JACOBSON AND PAULINE E   PO BOX 86                                                                                    BOWBELLS           ND   58721
JACOBSON
MARLIN D KIMBREW                  250 A. C. R. 2611                                                                            TENN COLONY        TX   75861
MARLIN DEEMER                     8459 LAKE RD                                                                                 BARKER             NY   14012‐9608
MARLIN DEMPS                      2026 SEYMOUR AVE                                                                             FLINT              MI   48503‐4343
MARLIN E FALKNOR                  333 N. HARRISON ST.                                                                          NEW MADISON        OH   45346‐9775
MARLIN EMERY                      35 BARRINGTON DR                                                                             SAINT PETERS       MO   63376‐4509
MARLIN F FOULDS                   142 STATE RTE 147                                                                            DALMATIA           PA   17017
MARLIN FALKNOR                    333 N HARRISON ST                                                                            NEW MADISON        OH   45346‐9775
MARLIN FLANNERY                   17603 ZUBRICK RD                                                                             ROANOKE            IN   46783‐8743
MARLIN FORD                       6850 TOD AVE SW                                                                              WARREN             OH   44481‐8628
MARLIN FOUSE                      7249 ORINOCO AVE                                                                             INDIANAPOLIS       IN   46227‐5362
MARLIN GEHRI                      PO BOX 21                        106 CENTER ST                                               WONEWOC            WI   53968‐0021
MARLIN GILBERT                    720 SPERRY RD                                                                                ALLENTON           MI   48002‐3818
MARLIN GILLIAM                    35900 WOODRIDGE CIRCLE                                                                       FARMINGTON HILLS   MI   48335
MARLIN GOLDSBERRY                 PO BOX 393                                                                                   WALTON             IN   46994‐0393
MARLIN GOODING                    9165 NW OAK ST                                                                               ALEXANDRIA         IN   46001‐8380
MARLIN GORMAN                     128 W RING FACTORY RD APT 1245                                                               BEL AIR            MD   21014‐5496
MARLIN GRIDER                     3088 S 200 E                                                                                 ANDERSON           IN   46017‐9760
MARLIN GRIFFIN                    34193 SUMMERHILL LN                                                                          CHESTERFIELD       MI   48047‐4180
MARLIN GUINN                      4966 LONSBERRY RD                                                                            COLUMBIAVILLE      MI   48421‐9151
MARLIN HAMILTON                   6985 ANKNEYTOWN RD                                                                           BELLVILLE          OH   44813‐9092
MARLIN HARDING                    11389 JARVIS HWY                                                                             DIMONDALE          MI   48821‐9706
MARLIN HENDRICKS                  3851 CHESTERFIELD RD                                                                         ORION              MI   48359‐1528
MARLIN HOLDING CO.
MARLIN HOUCHIN                    1174 QUAIL RUN                                                                               MITCHELL           IN   47446‐6217
MARLIN I WORSTELL                 1516 PRIMROSE AVE                                                                            TOLEDO             OH   43612‐4029
MARLIN INDUSTRIAL DIV INC         100 KENNA DR                                                                                 NEW HAVEN          CT   06513
MARLIN J FALKNOR                  6609 CLARK RD                                                                                ARCANUM            OH   45304
MARLIN J FINKLEY                  1403 REPUBLIC AVE.                                                                           YOUNGSTOWN         OH   44505
MARLIN JACKSON                    45340 VISTA VERDE                                                                            TEMECULA           CA   92592‐9284
MARLIN JAMES                      14745 DUNN RD                                                                                HASLETT            MI   48840‐9232
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Name                        Address1                        Address2                     Address3   Address4         City            State Zip
MARLIN JODWAY               105 LUKESPORT DR                                                                         QUINCY           MI 49082‐9596
MARLIN JOHNSON              BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH 44236
MARLIN KAUTZ                35200 SIMS ST APT 1106          WAYNE TOWER APARTMENTS                                   WAYNE            MI 48184‐1288
MARLIN KIMBREW              250 A. C. R. 2611                                                                        TENN COLONY      TX 75861
MARLIN L MIERS              PO BOX 732                                                                               BEECH GROVE      IN 46107‐0732
MARLIN L MURRAY             455 BEECH STREET EXT                                                                     REYNOLDSVILLE    PA 15851
MARLIN L TACKETT            1223 E 2ND ST APT 16                                                                     FRANKLIN         OH 45005‐1966
MARLIN L WHALEN             10109 FRANCES ROAD                                                                       FLUSHING         MI 48433‐9200
MARLIN LAMBERT              RR 3 BOX 186                                                                             PRINCETON        WV 24740‐9435
MARLIN LESTER               3670 GENESEE RD                                                                          LAPEER           MI 48446‐2916
MARLIN LINGENFELTER         3920 BRANTLEY DR                                                                         AUSTELL          GA 30106‐1556
MARLIN LLOYD                901 JAMES CT                                                                             SALISBURY        MD 21804‐8510
MARLIN M SUCHEY             78292 KENSINGTON AVE                                                                     PALM DESERT      CA 92211
MARLIN MANUFACTURING CORP   12800 CORPORATE DR                                                                       CLEVELAND        OH 44130‐9311
MARLIN MC QUEEN             1001 W HIGHWAY 4                                                                         CENTURY          FL 32535‐2758
MARLIN MERRICK              12968 LAKESIDE DR                                                                        GREENFIELD       OH 45123‐9438
MARLIN MEYERS               2710 STANTON HILL RD                                                                     CAMERON          NC 28326‐7934
MARLIN MFG/CLEVELAND        12404 TRISKETT RD                                                                        CLEVELAND        OH 44111‐2500
MARLIN MIERS                1123 GROVEWOOD DR               PO BOX #732                                              BEECH GROVE      IN 46107‐2492
MARLIN MILES                APT 4                           411 MEADOW DRIVE                                         TROY              IL 62294‐1078
MARLIN MILLER               9474 SEVEN COURTS DR                                                                     NOTTINGHAM       MD 21236‐4788
MARLIN MOYER JR             13648 ARGYLE ST                                                                          SOUTHGATE        MI 48195‐1929
MARLIN MURRAY               455 BEECH STREET EXT                                                                     REYNOLDSVILLE    PA 15851‐5813
MARLIN NELSON               8080 ELDRED AVE NE                                                                       ROCKFORD         MI 49341‐8543
MARLIN NICHOLAS             6479 E COUNTY ROAD 700 N                                                                 MOORELAND        IN 47360‐9708
MARLIN R SUTTON             2189 STATE ROUTE 132                                                                     CLARKSVILLE      OH 45113
MARLIN RIDDLE               6702 RUSSETT CT                                                                          FLINT            MI 48504‐1675
MARLIN RINEHART             PO BOX 3370                                                                              JANESVILLE       WI 53547‐3370
MARLIN RONAN                1711 ARBOR DR                                                                            BELOIT           WI 53511‐3112
MARLIN ROOT                 809 LAKESIDE DR                                                                          KOKOMO           IN 46901‐7037
MARLIN SPROUTS              129 SUNNYSIDE DR                                                                         ROCHESTER        NY 14623‐1335
MARLIN STAVELY              863 ROSS BRANCH RD                                                                       ERIN             TN 37061‐6673
MARLIN TACKETT              1223 E 2ND ST APT 16                                                                     FRANKLIN         OH 45005‐1966
MARLIN TAYLOR               6315 ORIOLE DR                                                                           FLINT            MI 48506‐1748
MARLIN THROWER              1601 WOODMONT AVE                                                                        ARNOLD           PA 15068‐4138
MARLIN TURBETT              27501 S HILL RD                                                                          NEW HUDSON       MI 48165‐9566
MARLIN TURNER               18901 N LITTLE JOHN LN                                                                   MUNCIE           IN 47303‐9783
MARLIN WARDWELL             W6453 19TH ST W                                                                          NECEDAH          WI 54646‐7501
MARLIN WHALEN               10109 FRANCES ROAD                                                                       FLUSHING         MI 48433‐9200
MARLIN WILEY                915 WASHINGTON BLVD APT 204                                                              KANSAS CITY      KS 66101‐2131
MARLIN WILSON               8101 CRESTON DR                                                                          FREELAND         MI 48623‐8722
MARLIN WILSON               6668 N BLUE RIVER RD                                                                     ARLINGTON        IN 46104‐9471
MARLIN WOLFORD              BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS       OH 44236
MARLIN YOUNGE               3029 DALEY RD                                                                            LAPEER           MI 48446‐8347
MARLIN ZASTROW              7939 CHESTNUT RIDGE RD                                                                   GASPORT          NY 14067‐9277
MARLIN ZOMBECK              2135 RAY RD                                                                              FENTON           MI 48430‐9709
MARLIN, ALICE V             3225 DAKOTA AVE                                                                          FLINT            MI 48506‐3040
MARLIN, CHESTER M           408 WATERLEAF CT                                                                         MARCO ISLAND     FL 34145‐2704
MARLIN, GAIL                213 E OAK ST                                                                             SAINT CHARLES    MI 48655
MARLIN, JOAN L              916 BROKEN RIDGE DR                                                                      LANSING          MI 48917‐7830
MARLIN, JOE A               112 MERREL ST                                                                            ETHRIDGE         TN 38456‐2023
MARLIN, JOE ANTHONY         112 MERREL ST                                                                            ETHRIDGE         TN 38456‐2023
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Name                              Address1                          Address2          Address3         Address4                City             State Zip
MARLIN, LISSA M                   8232 WOODVIEW RD                                                                             CLARKSTON         MI 48348‐4058
MARLIN, MARION F                  1207 WILLOW SPRINGS BLVD                                                                     BROWNSBURG        IN 46112‐1858
MARLIN, OMMILEE                   PO BOX 11193                                                                                 INDIANAPOLIS      IN 46201‐0193
MARLIN, RAYMOND C                 5900 GLENS CT                                                                                SEBRING           FL 33876‐6301
MARLIN, RAYMOND C                 5900 GLENS COURT                                                                             SEBRING           FL 33876‐3876
MARLIN, RAYMOND CLINTON           5900 GLENS CT                                                                                SEBRING           FL 33876‐6301
MARLIN, STEPHEN F                 24 ALPINE CIR                                                                                SANDY HOOK        CT 06482‐1259
MARLINA D FRAZIER                 2228 FALMOUTH AVE                                                                            DAYTON            OH 45406
MARLING & ASSOCIATES INC          20882 HARPER AVE                                                                             HARPER WOODS      MI 48225‐1142
MARLING, CHARLES S                50833 ROSE ST                                                                                NEW BALTIMORE     MI 48047‐2471
MARLING, CHARLES S & ASSOCIATES   20882 HARPER AVE                                                                             HARPER WOODS      MI 48225‐1142
MARLING, GILBERT R                1826 QUEEN AVE                                                                               SEBRING           FL 33875‐6020
MARLING, JAMES W                  17770 SE 86TH OAK LEAF TERRANCE                                                              THE VILLAGES      FL 32162
MARLING, LYNN A                   259 N CENTER ST                                                                              PLAINFIELD        IN 46168‐1118
MARLING, MILDRED S                9066 NATURE DR N                                                                             INDIANAPOLIS      IN 46278‐1055
MARLING, RONALD D                 2419 N 300 E                                                                                 ANDERSON          IN 46012‐9781
MARLING, SYLVIA J                 1826 QUEEN AVE                                                                               SEBRING           FL 33875‐6020
MARLINGA, ANTOINETTEM             32 VALOIS ST                                                                                 PITTSBURGH        PA 15205‐2021
MARLINGA, ELEANORE G              7937 BRIDGE VALLEY                                                                           CLARKSTON         MI 48348
MARLINGA, ELEANORE G              7937 BRIDGE VLY                                                                              CLARKSTON         MI 48348‐4350
MARLINGA, ELEONAR                 374 WASHTENAW ST                                                                             HENDERSON         NV 89012‐4842
MARLINGHAUS, HANS G               158 ANDERSON STREET                                                                          LIMESTONE         TN 37681‐2539
MARLION RATLIFF                   1153 LANSDALE CT                                                                             DAYTON            OH 45414‐2189
MARLION RATLIFF                   1163 LANSDALE CT                                                                             DAYTON            OH 45414‐2189
MARLIS H SPADA                    137 CORLEY DR                                                                                ROCHESTER         NY 14622‐1209
MARLIS HUERTER                    NEUSTR 10‐16                                                         D‐56727 MAYEN GERMANY
MARLIS SPADA                      137 CORLEY DR                                                                                ROCHESTER        NY 14622‐1209
MARLISE BIENTZ‐HAJEK              1, RUE DU H╔RON                                                      F‐57570 CATTENOM
                                                                                                       FRANCE EUROPE
MARLMAN, DANIEL L                 3515 LAKESHORE DR                                                                            NEWPORT          MI 48166‐9028
MARLN HARBARTH                    KART─USERSTR. 138                                                                            FREIBURG            79102
MARLO HEIN                        950 HEATHER LAKE DR                                                                          CLARKSTON        MI 48348‐3650
MARLO L WILLINGHAM                411 WEST 29TH STREET 16D                                                                     ANNISTON         AL 36201
MARLO M RICE                      1606 BAKER AVE.                                                                              EAST GADSDEN     AL 35903‐3481
MARLO MILLIGAN                    2961 E DAY DR                                                                                ANDERSON         IN 46017‐9772
MARLO SPEARS                      428 ANNIS RD                                                                                 SOUTH AMHERST    OH 44001‐3026
MARLO THRONSON                    2076 CHRISTNER ST                                                                            BURTON           MI 48519‐1002
MARLO WARNER                      13006 ALEXANDRIA DRIVE APT 311                                                               OPA LOCKA        FL 33054‐4740
MARLO, SIDELKO L                  15810 BEECH DALY RD TRLR 359                                                                 TAYLOR           MI 48180‐6121
MARLON ANGEL                      1436 PENNVILLE RD                                                                            CAMBRIDGE CITY   IN 47327‐9424
MARLON ANGEL                      2 ALDERSHOT DR                                                                               NEWARK           DE 19713‐4009
MARLON BROWN                      2347 GARDNER DR                                                                              SAINT LOUIS      MO 63136‐5420
MARLON BROWN                      112 WEST 20TH STREET                                                                         WILMINGTON       DE 19802‐4807
MARLON BROWN                      6180 PALMETTO DR                                                                             MOUNT MORRIS     MI 48458‐2830
MARLON CHATMAN                    1924 TEBO ST                                                                                 FLINT            MI 48503‐4431
MARLON CLAY                       105 BOWEN DRIVE                                                                              ABERDEEN         MS 39730
MARLON DAVIS                      22345 LE RHONE ST APT 814                                                                    SOUTHFIELD       MI 48075‐4057
MARLON E ANGEL                    1436 PENNVILLE ROAD                                                                          CAMBRIDGE CITY   IN 47327
MARLON EDWARDS                    404 ALLSTON COURT                                                                            YPSILANTI        MI 48198‐8474
MARLON FOUT                       6302 E PRINCESS DR                                                                           MESA             AZ 85205‐4547
MARLON G TERRY                    966 PERKINS WOOD RD                                                                          HARTSELLE        AL 35640‐5735
MARLON GRIFFIN                    5274 HORGER ST                                                                               DEARBORN         MI 48126‐5012
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Name                       Address1                        Address2                      Address3   Address4         City               State Zip
MARLON HARVILL             18049 CAPTIVA WAY                                                                         NOBLESVILLE         IN 46062‐7641
MARLON HENRY               2344 COMANCHE TRL                                                                         GRAND PRAIRIE       TX 75052‐8595
MARLON JEFFERIES           2025 BARKS ST                                                                             FLINT               MI 48503‐4305
MARLON K CARTER            868 OSMOND AVE.                                                                           DAYTON              OH 45407‐1239
MARLON KENNEDY             74 YACHT CLUB RD                                                                          SCOTTSVILLE         KY 42164‐9249
MARLON L KINNEY            4133 SHENANDOAH                                                                           DAYTON              OH 45417‐1154
MARLON L WELLS             229 PINE ISLAND DRIVE                                                                     JACKSON             MS 39206‐3238
MARLON LOWE                4293 W COURT ST                                                                           FLINT               MI 48532‐4325
MARLON MEGANCK             9170 E BROOKS RD                                                                          LENNON              MI 48449‐9639
MARLON MUNIAN              485 GRAMATAN AVE APT 3A                                                                   MOUNT VERNON        NY 10552‐2918
MARLON NORMAN              350 S MARSHALL ST                                                                         PONTIAC             MI 48342‐3432
MARLON R HENRY             2344 COMANCHE TRL                                                                         GRAND PRAIRIE       TX 75052‐8595
MARLON SMITH               APT 732                         3570 OAK HARBOR BOULEVARD                                 SLIDELL             LA 70461‐5659
MARLON TERRY               966 PERKINS WOOD RD                                                                       HARTSELLE           AL 35640‐5735
MARLON WHEAT               508 44TH AVE E LOT Q10                                                                    BRADENTON           FL 34203‐3570
MARLOS PETTAS              19133 RUTHERFORD ST                                                                       DETROIT             MI 48235‐2346
MARLOW BREWER              2484 NORTH BELSAY ROAD                                                                    BURTON              MI 48509‐1330
MARLOW INDUSTRIES INC      PO BOX 97983                                                                              DALLAS              TX 75397‐0001
MARLOW INDUSTRIES INC      10451 VISTA PARK RD                                                                       DALLAS              TX 75238‐1645
MARLOW INDUSTRIES, INC.    10451 VISTA PARK RD                                                                       DALLAS              TX 75238‐1645
MARLOW JOHNSON             2313 LAUREL AVE                                                                           JANESVILLE          WI 53548‐3341
MARLOW JR, FELIX           308 MARLOW RD                                                                             UNION SPRINGS       AL 36089
MARLOW JR, HERMAN          PO BOX 5                                                                                  LA CANADA           CA 91012‐0005
MARLOW JR, JOHNIE B        4510 LIPPINCOTT BLVD                                                                      BURTON              MI 48519‐1156
MARLOW LUTHER N (429373)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                           STREET, SUITE 600
MARLOW SR, PAUL A          5988 DELANO RD                                                                            OXFORD             MI   48371‐1228
MARLOW TERRY               125 N HARRIS ST                                                                           PAW PAW            MI   49079‐1003
MARLOW WASHINGTON          37643 LITTLE MACK AVE APT 202                                                             CLINTON TOWNSHIP   MI   48036‐2365
MARLOW, AIMEE J            1144 S GENESEE RD                                                                         BURTON             MI   48509‐1822
MARLOW, AIMEE JO           208 E NORTH ST                                                                            OWOSSO             MI   48857‐1821
MARLOW, ALICE J            1105 COCHISE TRL                                                                          CROSSVILLE         TN   38572‐6325
MARLOW, ANNABELLE          10970 N COUNTY RD 200 WEST                                                                BRAZIL             IN   47834‐6909
MARLOW, ARNOLD J           PO BOX 606                                                                                PINE KNOT          KY   42635‐0606
MARLOW, BILLY              335 MCDEERMAN RD                                                                          JACKSBORO          TN   37757‐4201
MARLOW, CANDACE A          313 MISSION HILL DR                                                                       FORT WAYNE         IN   46804‐6434
MARLOW, CECIL W            12180 JASON DR                                                                            MEDWAY             OH   45341
MARLOW, CHERRYL P          7757 POPLAR SPRINGS DR                                                                    MERIDIAN           MS   39305‐8914
MARLOW, CHRISTINE          13921 NEWTON ST APT 602                                                                   OVERLAND PARK      KS   66223‐3168
MARLOW, CHRISTOPHER P      3269 SOPHIA ST                                                                            WAYNE              MI   48184‐1113
MARLOW, CLAYMON H          10340 SPUR RD                                                                             CALIFORNIA         KY   41007‐8865
MARLOW, DEBRA              4510 LIPPINCOTT BLVD                                                                      BURTON             MI   48519‐1156
MARLOW, DONALD R           2630 SOUTH PALMEDEN DRIVE                                                                 LAKELAND           FL   33803‐3832
MARLOW, DORALEEN           5358 GRAND BANKS BOULEVARD                                                                GREENACRES         FL   33463‐5951
MARLOW, DORIS J            532 S VIRGINIA AVE                                                                        BELLEVILLE         IL   62220‐3683
MARLOW, DORIS J            532 SOUTH VIRGINIA                                                                        BELLEVILLE         IL   62220‐3683
MARLOW, DOVEANNA M         135 VALLEYBROOK AVE                                                                       BOWLING GREEN      KY   42101‐5030
MARLOW, ELDRED L           104 N WINTER DR                                                                           NEW CASTLE         IN   47362‐8939
MARLOW, ERNEST S           9501 E HIGHLAND RD APT 158                                                                HOWELL             MI   48843‐9085
MARLOW, FRED J             4000 CALLE DEL SOL                                                                        THOUSAND OAKS      CA   91360‐6912
MARLOW, FRED J             2253 NORTH ST                                                                             MILFORD            MI   48380‐2234
MARLOW, HAROLD D           7157 IRON KETTLE DRIVE                                                                    HAMILTON           OH   45011‐5583
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Name                    Address1                         Address2                      Address3   Address4         City              State Zip
MARLOW, HARRY C         844 SHADOWOOD LANE S.E.,                                                                   WARREN             OH 44484‐4484
MARLOW, HELEN           4459 ASHWOOD DR W                                                                          SAGINAW            MI 48603‐1002
MARLOW, HELEN           831 E. 49 TH ST.                 3RD FL                                                    CHICAGO             IL 60615
MARLOW, HELEN           831 E 49TH ST FL 3                                                                         CHICAGO             IL 60615‐1609
MARLOW, JACKIE G        1137 W 300 N                                                                               ANDERSON           IN 46011‐9747
MARLOW, JAMES           9271 BIG TREE RD.                                                                          HEMLOCK            NY 14466‐9662
MARLOW, JAMES C         PO BOX 494613                                                                              PORT CHARLOTTE     FL 33949‐4613
MARLOW, JAMES D         1332 CARPATHIAN WAY                                                                        CLIO               MI 48420‐2147
MARLOW, JAMES E         4468 KIRK RD                                                                               VASSAR             MI 48768‐9789
MARLOW, JAMES E         4771 CLAYTON RD                                                                            BROOKVILLE         OH 45309‐8313
MARLOW, JAMES EDWARD    4771 CLAYTON RD                                                                            BROOKVILLE         OH 45309‐8313
MARLOW, JAMES F         7112 PRESTWICK CT                                                                          UNIVERSITY PARK    FL 34201‐2310
MARLOW, JEFFREY A       11591 AIR HILL RD                                                                          BROOKVILLE         OH 45309‐9358
MARLOW, JEFFREY ALLEN   11591 AIR HILL RD                                                                          BROOKVILLE         OH 45309‐9358
MARLOW, JERRY L         6657 CELESTINE ST.                                                                         HUBER HEIGHTS      OH 45424‐5424
MARLOW, JERRY R         978 BRIARWOOD DR                                                                           GREENWOOD          IN 46142‐3714
MARLOW, JO A            6657 CELESTINE ST                                                                          HUBER HEIGHTS      OH 45424‐3505
MARLOW, JO A.           6657 CELESTINE ST                                                                          HUBER HEIGHTS      OH 45424‐3505
MARLOW, JOHN E          11005 GLACIER VIEW AVENUE                                                                  LAS VEGAS          NV 89134‐7244
MARLOW, JUANITA M       604 TAYLOR RD                                                                              SANDUSKY           OH 44870‐8343
MARLOW, JUDITH          508 CAMERON DR                                                                             RED BUD             IL 62278‐1462
MARLOW, JUDITH          6007 SMOOT LN                                                                              EVANSVILLE          IL 62242‐1123
MARLOW, JUNIOR E        14484 LULU RD                                                                              IDA                MI 48140‐9530
MARLOW, JUSTIN J        11600 PANSING ROAD                                                                         BROOKVILLE         OH 45309‐9687
MARLOW, KENNETH R       1670 INDIAN RD                                                                             LAPEER             MI 48446‐8053
MARLOW, LAREN DEAN      BOONE ALEXANDRA                  205 LINDA DR                                              DAINGERFIELD       TX 75638‐2107
MARLOW, LEONARD L       1148 YOCKEY RD                                                                             MITCHELL           IN 47446‐6920
MARLOW, LUTHER N        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                         STREET, SUITE 600
MARLOW, M J             4584 WONDER VALLEY TRL                                                                     DECATUR           GA   30034‐2530
MARLOW, MARILYN K       3764 LAKE LAPEER DRIVE                                                                     METAMORA          MI   48455‐9724
MARLOW, MARJORIE G      992 WAKEFIELD RD                                                                           LEAVITTSBURG      OH   44430‐9640
MARLOW, MARK E          588 BISCAYNE DR                                                                            MANSFIELD         OH   44903‐9649
MARLOW, MARK S          3900 BRADWOOD DR                                                                           DAYTON            OH   45405‐2001
MARLOW, MARVIN C        2517 OLD PEACHTREE RD                                                                      DULUTH            GA   30097‐5145
MARLOW, MEARL E         313 MISSION HILL DR                                                                        FORT WAYNE        IN   46804‐6434
MARLOW, MEARL EUGENE    313 MISSION HILL DR                                                                        FORT WAYNE        IN   46804‐6434
MARLOW, MELVIN D        1802 IRVIN ST                                                                              NEW CASTLE        IN   47362‐2356
MARLOW, MICHAEL F       5 RENNIE ST                                                                                MALONE            NY   12953‐1113
MARLOW, MICHAEL W.      4830 POCONO XING                                                                           FORT WAYNE        IN   46808‐3569
MARLOW, NORMAN          GUY WILLIAM S                    PO BOX 509                                                MCCOMB            MS   39649‐0509
MARLOW, NYLE R          240 NIKKI LN                                                                               PARIS             TN   38242‐9160
MARLOW, PATRICIA        135 VALLEYBROOK AVE                                                                        BOWLING GREEN     KY   42101‐5030
MARLOW, ROBERT H        5765 S KARNS RD                                                                            WEST MILTON       OH   45383‐8768
MARLOW, ROBERT W        12537 MENTZ DR                                                                             BRUCE TWP         MI   48065‐4462
MARLOW, RUSSELL         1972 MACK RD                                                                               DOUGLASVILLE      GA   30135‐1116
MARLOW, SANDRA L        APT 12                           1113 RAMSGATE ROAD                                        FLINT             MI   48532‐3125
MARLOW, STEVEN V        6853 N SAGEBRUSH AVE                                                                       ALEXANDRIA        IN   46001‐8858
MARLOW, SUSAN           5358 GRAND BANKS BLVD                                                                      GREENACRES        FL   33463‐5951
MARLOW, TIM K           5408 E 65TH PL                                                                             TULSA             OK   74136‐2056
MARLOW, VIRGINIA G      7760 FARLEY                                                                                PINCKNEY          MI   48169‐9155
MARLOW, VIRGINIA G      7760 FARLEY RD                                                                             PINCKNEY          MI   48169‐9155
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Name                              Address1                         Address2          Address3         Address4         City            State Zip
MARLOW, WILLIAM R                 8127 BAY CT                                                                          TEMPERANCE       MI 48182‐9157
MARLOW, WILLIE D                  1956 KINGSBURY DR                                                                    MONTGOMERY       AL 36106‐3410
MARLOW, WILLIE J                  135 VALLEYBROOK AVE                                                                  BOWLING GREEN    KY 42101‐5030
MARLOW, WINFORD H                 49 DOGWOOD LN                                                                        BOWDON           GA 30108‐3424
MARLOW‐WERNER PONTIAC‐BUICK‐GMC   PO BOX 511034                                                                        PUNTA GORDA      FL 33951‐1034
TRU
MARLOW‐WERNER PONTIAC‐BUICK‐GMC   PO BOX 511034                                                                        PUNTA GORDA      FL   33951‐1034
TRUCK, INC.
MARLOW‐WERNER PONTIAC‐BUICK‐GMC   GEORGE WERNER                    PO BOX 511034                                       PUNTA GORDA      FL   33951‐1034
TRUCK, INC.
MARLOWE, BETSY S                  401 PARK LAKE LN # 401                                                               NORCROSS        GA    30092‐2298
MARLOWE, BILLY G                  2294 PIERCE RD                                                                       PHENIX CITY     AL    36867‐7342
MARLOWE, COLE D                   502 KALER ST                                                                         MCKEESPORT      PA    15133‐2539
MARLOWE, DALE L                   3330 WALLINGFORD DR                                                                  GRAND BLANC     MI    48439‐7933
MARLOWE, DANA E                   8308 HAIST RD                                                                        PIGEON          MI    48755‐9556
MARLOWE, DANIEL J                 52 GATEWAY RD                                                                        ROCHESTER       NY    14624‐4438
MARLOWE, DEBORAH                  3160 HOWELL MILL RD NW APT 523                                                       ATLANTA         GA    30327‐2105
MARLOWE, DENNIS C                 10203 HODGE RD                                                                       CLAYTON         IN    46118‐9168
MARLOWE, DOROTHY A                1232 CALKINS RD                                                                      ROCHESTER       NY    14623‐4606
MARLOWE, DOROTHY A                1232 CALKINS ROAD                                                                    ROCHESTER       NY    14623‐4606
MARLOWE, JANICE E                 91 CORTVIEW DRIVE                                                                    CORTLAND        OH    44410‐4410
MARLOWE, JENNIFER E               3197 CRESTVIEW AVE SOUTHEAST                                                         WARREN          OH    44484‐3204
MARLOWE, JO ANN M                 INDIAN LAKE T/H APT#190‐         D                                                   NORTHPORT       AL    35476
MARLOWE, JOHN E                   1718 ACREVIEW DR                                                                     CINCINNATI      OH    45240‐3400
MARLOWE, JUANITA                  604 N WESTERN AVE                                                                    MARION          IN    46952‐3404
MARLOWE, KENNETH E                723 E SWAYZEE ST                                                                     MARION          IN    46952‐2916
MARLOWE, LEE N                    PO BOX 24                        23 ELBOW ST                                         MALONE          NY    12953‐0024
MARLOWE, LEE NORRIS               PO BOX 24                        23 ELBOW ST                                         MALONE          NY    12953‐0024
MARLOWE, MARLENE                  3330 WALLINGFORD DR                                                                  GRAND BLANC     MI    48439‐7933
MARLOWE, ROGER P                  106 LAUREL CREST RD                                                                  MADISON         CT    06443‐3324
MARLOWE, RONALD S                 2945 COSTA MESA RD                                                                   WATERFORD       MI    48329‐2442
MARLOWE, WILLIAM F                3877 HULBERTON RD                                                                    HOLLEY          NY    14470‐9320
MARLYN BRIDGES                    5158 VIA EL MOLINO                                                                   THOUSAND OAKS   CA    91320‐6996
MARLYN BUGGS                      5909 WILLOWBROOK DR                                                                  SAGINAW         MI    48638‐5488
MARLYN D WALLACE                  734 WARNER RD                                                                        VIENNA          OH    44473‐9720
MARLYN DEACON                     1452 WOODHAVEN CT APT 5                                                              WATERFORD       MI    48327‐4214
MARLYN E CULAJAY                  10235 S. MALLISON                                                                    SO. GATE        CA    96280
MARLYN FARNUM                     PO BOX 214152                                                                        AUBURN HILLS    MI    48321‐4152
MARLYN HAGEMEISTER                4332 LAKE PLEASANT RD                                                                NORTH BRANCH    MI    48461‐8987
MARLYN J BUGGS                    5909 WILLOWBROOK DR                                                                  SAGINAW         MI    48638‐5488
MARLYN MARVEL                     3504 S STATE ST                                                                      CAMDEN          DE    19934‐1813
MARLYN MCCULLOUGH                 1019 E POST RD                                                                       ANDERSON        IN    46012‐2705
MARLYN MICHAL                     828 WAGON WHEEL TRL                                                                  GEORGETOWN      TX    78628‐2467
MARLYN MILLS                      8005 WALLACE RD                                                                      DUNDALK         MD    21222‐2608
MARLYN MORRILL JR                 1502 DUNFORD WAY                                                                     ROSEVILLE       CA    95747‐6001
MARLYN RAGSDALE                   78 SPRINGBROOK RD                                                                    AFTON           TN    37616‐6054
MARLYN REED                       20095 PIERSON ST                                                                     DETROIT         MI    48219‐1356
MARLYN SHUPERT                    509 WOOD ST                                                                          MAYSVILLE       KY    41056‐1543
MARLYN SULLIVAN                   PO BOX 83                                                                            THOMPSON        OH    44086‐0083
MARLYN WEST                       409 N CONDE ST                                                                       TIPTON          IN    46072‐1304
MARLYNE L COXSON                  1515 CHARLES ST                                                                      HERMITAGE       PA    16148
MARLYNN BORTLE                    4104 E COLDWATER RD                                                                  FLINT           MI    48506‐1050
                        09-50026-mg             Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
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Name                    Address1                        Address2                      Address3                    Address4         City                 State Zip
MARLYNN PETERS          2614 CUNNINGHAM RD                                                                                         SALEM                 OH 44460‐9481
MARLYNNE BOONE          7275 SANDY BEACH DR                                                                                        WATERFORD             MI 48329‐2847
MARLYNNE Y BOONE        7275 SANDY BEACH DR                                                                                        WATERFORD             MI 48329‐2847
MARLYS BARKER           1845 RIVERVIEW DR                                                                                          HURON                 SD 57350‐4264
MARLYS HORNSTEIN        5419 N COUNTY ROAD              200 EAST                                                                   KOKOMO                IN 46901
MARLYS PRUNTEK          88 HAVENWOOD DR                                                                                            POMPANO BEACH         FL 33064‐5214
MARMAC CO, THE          1231 BELLBROOK AVE              PO BOX 157                                                                 XENIA                 OH 45385‐4015
MARMAC COMPANY          1231 BELLBROOK AVE                                                                                         XENIA                 OH 45385‐4015
MARMADUKE, SHARON L     3064 MORNINGVIEW TER                                                                                       BLOOMFIELD VILLAGE    MI 48301‐2552
MARME JR, RONALD        2538 LAKERIDGE DR                                                                                          COLUMBIA              TN 38401‐7426
MARME, DEBORA L         11062 HILL RD                                                                                              SWARTZ CREEK          MI 48473‐8523
MARME, DEBORA LEE       11062 HILL RD                                                                                              SWARTZ CREEK          MI 48473‐8523
MARME, LARRY W          5246 JACKSON AVE                                                                                           LAKE                  MI 48632‐8932
MARME, RONALD L         706 TORREY PINES AVE                                                                                       SUN CITY CENTER       FL 33573‐5544
MARMINO, HILDA          3817 SUMMIT RIDGE CR                                                                                       DEPOE BAY             OR 97341‐9764
MARMION, HARRY J        1111 PENORA ST                                                                                             DEPEW                 NY 14043‐4523
MARMION, JOHN W         1232 BLUETICK LN                                                                                           SAINT HELEN           MI 48656‐9436
MARMO, JOSEPHINE        60 BRIGHTON AVE                                                                                            BELLEVILLE            NJ 07109‐1230
MARMO, WILLIAM          177 WHITE PLAINS RD APT 53A                                                                                TARRYTOWN             NY 10591‐5529
MARMOLEJO, MARTHA       8903 N. E. 106TH PLACE                                                                                     KANSAS CITY           MO 64157
MARMOLEJO, MARTHA       8903 NE 106TH PL                                                                                           KANSAS CITY           MO 64157‐9757
MARMON GROUP, INC.      DAVID MOELLER‐225               DETROIT STEEL PRODUCTS INC.   RANGE LINE ROAD/RR #1 BOX                    MT STERLING           KY 40353
                                                                                      285
MARMON HOLDINGS INC     DAVE STEPHENS                   PERFECTION CLUTCH             100 PERFECTION WAY                           ROSEVILLE            MI 48066
MARMON HOLDINGS INC     DAVID MOELLER‐225               DETROIT STEEL PRODUCTS INC.   RANGE LINE ROAD/RR #1 PO                     MT STERLING          KY 40353
                                                                                      BOX 285
MARMON HOLDINGS INC     RTE 144 S                       PO BOX 388                                                                 BELLEFONTE           PA    16823
MARMON HOLDINGS INC     225 W WASHINGTON ST STE 1900                                                                               CHICAGO              IL    60606‐3562
MARMON, EARL F          939 SUNSET DR                                                                                              ANDERSON             IN    46011‐1618
MARMON, ELLA M          2565 FINLEY AVENUE                                                                                         BENSALEM             PA    19020‐5223
MARMON, PATRICIA        1962 E MCINTOSH RD                                                                                         GRIFFIN              GA    30223‐6524
MARMOR LLC              PO BOX 4134                                                                                                SCOTTSDALE           AZ    85261‐4134
MARMUZIEWICZ, STANLEY   721 W FLINT ST                                                                                             DAVISON              MI    48423‐1009
MARN, ALBERT E          812 CHARLES ST                                                                                             WILLOWICK            OH    44095‐4302
MARN, WILLIAM F         1217 NAILS CREEK RD                                                                                        DICKSON              TN    37055‐9001
MARNA GERMAN            432 W 17TH ST                                                                                              ANDERSON             IN    46016‐4100
MARNA HALEY             8187 CALLEE CT                                                                                             DAVISON              MI    48423‐8720
MARNE MILLER            3673 ELMLAWN DR                                                                                            TOLEDO               OH    43614‐3566
MARNEEF, MARK G         12121 ROHN RD                                                                                              FENTON               MI    48430‐9460
MARNER ERIC             MARNER, ERIC                    STATE FARM                    SUBROGATION SERVICES PO                      BLOOMINGTON          IL    61702
                                                                                      BOX 2371
MARNER, ERIC            STATE FARM                      PO BOX 2371                                                                BLOOMINGTON           IL   61702‐2371
MARNER, ERIC            2640 JESSAMINE WAY                                                                                         YORK                 PA    17408‐4072
MARNER, EUGENE          5267 N. ROAD 200 E.                                                                                        KOKOMO               IN    46901
MARNER, LAVONA L        1400 RED BIRD CT                                                                                           KOKOMO               IN    46902‐5800
MARNETTE HARRELL        219 CLINTON ST                                                                                             ROANOKE RAPIDS       NC    27870‐4314
MARNEY SHAFFER          6305 ROBERTSON DR                                                                                          BOISE                ID    83709‐2174
MARNEY SR, T E          901 GLENNS FARM WAY                                                                                        GRAYSON              GA    30017‐4925
MARNEY, DEAN M          4216 N ELMWOOD AVE                                                                                         KANSAS CITY          MO    64117‐1912
MARNEY, NANCY C         4216 N ELMWOOD AVE                                                                                         KANSAS CITY          MO    64117‐1912
MARNICH, JOSEPH A       2537 CONCORD CIR                                                                                           LAFAYETTE            CO    80026‐3415
MARNIE BISHOP           639 MARKET ST                                                                                              BROOKVILLE           OH    45309‐1825
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Name                      Address1                           Address2                   Address3   Address4             City               State Zip
MARNIE K BISHOP           639 MARKET ST                                                                                 BROOKVILLE          OH 45309‐1825
MARNIE KOPYTEK            AUTO‐OWNERS INSURANCE COMPANY      PO BOX 1080                                                LAPEER              MI 48446
MARNISHA B BRAGGS         282 E BETHUNE ST                                                                              DETROIT             MI 48202‐2813
MARNON JR, EDWARD T       81500 COLE ST                      P O BOX 594                                                MEMPHIS             MI 48041‐4478
MARNON, DONALD            17645 FOX                                                                                     REDFORD             MI 48240‐2311
MARNON, EDWARD            15529 WOODWORTH                                                                               REDFORD             MI 48239‐3968
MARNON, EDWARD T          3725 S 28TH ST                                                                                KALAMAZOO           MI 49048‐8624
MARNON, JACQUELINE A      44130 TUDOR CT                                                                                CANTON              MI 48187‐2849
MARNON, JOHN B            20483 KINLOCH                                                                                 REDFORD             MI 48240‐1116
MARNON, JOSEPH T          40366 LAFAYETTE DR                                                                            STERLING HTS        MI 48313‐3948
MARNON, RICHARD H         44130 TUDOR CT                                                                                CANTON              MI 48187‐2849
MARNORA LEWIS             1413 BENJAMIN AVE NE                                                                          GRAND RAPIDS        MI 49505‐5401
MARO AMBROSIO             7 RESERVOIR RD                                                                                NEWTOWN             CT 06470‐1534
MARO AZZI                 16358 ANGORA LN                                                                               MACOMB              MI 48044‐3933
MARO PRECISION TOOL CO.   12400 MERRIMAN RD                                                                             LIVONIA             MI 48150‐1918
MARO ROSSI                VIA ROMA                                                                                      MILANO                   20100
MARO, JOHN J              4042 NEW CASTLE RD                                                                            LOWELLVILLE         OH 44436‐9706
MARO, PATRICK M           2623 REXFORD RD                                                                               YOUNGSTOWN          OH 44511‐2129
MAROCCIA, VICTORIA R      105 MAINE AVE                                                                                 CHERRY HILL         NJ 08002‐3052
MAROCCO, MARIANNE         24665 26 MILE RD.                                                                             RAY                 MI 48096
MAROCCO, THERESE A        61838 SPRING CIRCLE TRL            TRAIL                                                      WASHINGTON          MI 48094‐1146
MAROCCO, THERESE ANNE     61838 SPRING CIRCLE TRL            TRAIL                                                      WASHINGTON          MI 48094‐1146
MAROCHAK, GEORGE          3850 MEMORY DR                                                                                ELIZABETH           PA 15037‐3214
MAROCHAK, LUKE            PO BOX 616                                                                                    WEST ELIZABETH      PA 15088‐0616
MAROHN, VICKY D           257 HOMER LN                                                                                  COOPERSVILLE        MI 49404‐1162
MAROHN, VICKY D.          257 HOMER LN                                                                                  COOPERSVILLE        MI 49404‐1162
MAROHNIC, LILLIAN MARY    6931 PARKVIEW DR                                                                              DOWNERS GROVE        IL 60516‐3629
MAROK, RICHARD A          9977 WHITEFORD CENTER RD                                                                      OTTAWA LAKE         MI 49267‐9722
MAROK, RICHARD ALAN       9977 WHITEFORD CENTER RD                                                                      OTTAWA LAKE         MI 49267‐9722
MAROK, THOMAS A           7931 WISEMAN RD                                                                               LAMBERTVILLE        MI 48144‐9682
MAROKI, RAAD D            2170 LIMESTONE CT                                                                             STERLING HEIGHTS    MI 48314‐3779
MAROL JAMES A (502009)    ANGELOS PETER G LAW OFFICE         1300 N MARKET ST STE 212                                   WILMINGTON          DE 19801‐1813
MAROL, JAMES A            ANGELOS PETER G LAW OFFICE         1300 N MARKET ST STE 212                                   WILMINGTON          DE 19801‐1813
MAROLD ESTABLISHMENT      BALICKA 182                                                              KRAKOW PL 30‐149
                                                                                                   POLAND (REP)
MAROLD, CHRISTOPHER E     1976 THOMAS AVE                                                                               BERKLEY            MI   48072‐3233
MAROLD, FRANK C           536 TERRACE PLZ                                                                               WILLOWICK          OH   44095‐4202
MAROLF, ROBERT P          4061 NW 82ND ST                                                                               KANSAS CITY        MO   64151‐1817
MAROLT, CLARA M           2 SOUTH MELROSE AVE                                                                           ELGIN              IL   60123‐6011
MAROLT, RUDOLPH A         230 DENNIS ST                                                                                 ELIZABETH          PA   15037‐2510
MAROLYN BERRYMAN          16864 STARKE RD BOX 42                                                                        ARCADIA            MI   49613
MAROLYN GULLETT           26623 ESCAPADE LN                                                                             WARSAW             MO   65355‐4353
MAROLYN J MELTON          367 WHISPER LANE                                                                              XENIA              OH   45385
MAROLYN JEFFERS           14458 N 790 EAST RD                                                                           FAIRMOUNT          IL   61841‐6329
MAROLYN MELTON            367 WHISPER LN                                                                                XENIA              OH   45385‐4872
MAROLYN SNYDER            1700 BUTLER PIKE APT 14E                                                                      CONSHOHOCKEN       PA   19428‐1257
MAROLYN THOMAS            3952 N 1200 E                                                                                 GREENTOWN          IN   46936‐8881
MARON BRIGITTE            AUFELDSTRASSE 12A/15                                                     3071 B╓HEIMKIRCHEN
                                                                                                   AUSTRIA
MARON, CAROL L            64 CANDLELIGHT LN                                                                             BLUFFTON           SC 29909‐6074
MARON, EILEEN J           2322 CUMBERLAND                                                                               LANSING            MI 48906‐3723
MARONA, ROBERT B          6420 N STERLING AVE                                                                           OKLAHOMA CITY      OK 73132‐6803
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Name                               Address1                       Address2             Address3     Address4         City              State Zip
MARONDA C BASSETT                  675 SEWARD ST APT 304                                                             DETROIT            MI 48202‐2443
MARONE, LYNDA A.                   12935 PENNERSVILLE RD                                                             WAYNESBORO         PA 17268‐9319
MARONEK, BARBARA J                 43591 INGLENOOK CT                                                                STERLING HTS       MI 48314‐1921
MARONEN, HEATHER A                 14150 COUNTRY VIEW CIR C                                                          COLUMBIANA         OH 44408
MARONEN, JOSEPH L                  6530 WOODRIDGE WAY SOUTHWEST                                                      WARREN             OH 44481‐9626
MARONEY DEBORAH                    4320 COBBLESTONE DR                                                               COPLEY             OH 44321‐2927
MARONEY JR, VAN B                  4132 12TH AVENUE NORTHEAST                                                        NAPLES             FL 34120‐8901
MARONEY JR, VAN BUREN              4132 12TH AVENUE NORTHEAST                                                        NAPLES             FL 34120‐8901
MARONEY, ALLEN L                   PO BOX 216                                                                        WALTON             IN 46994‐0216
MARONEY, BARBARA                   124 CLYBURN ST                                                                    BECKLEY            WV 25801‐3520
MARONEY, BOBBY L                   52 FLORACK ST                                                                     ROCHESTER          NY 14621‐5520
MARONEY, GEORGE E                  4953 COLUMBINE RD                                                                 AUXVASSE           MO 65231‐1239
MARONEY, GEORGE P                  200 ROBERTS AVE                                                                   OAK HILL           WV 25901‐2706
MARONEY, MABLE L                   1314 NORVAL AVE                                                                   LIMA               OH 45804‐1960
MARONEY, MICHAEL J                 1944 GUY WAY                                                                      BALTIMORE          MD 21222‐4751
MARONEY, ROGER                     11430 SUNBURST ST                                                                 OMAHA              NE 68164‐2243
MARONEY, SHERYL L                  4132 12TH AVE NE                                                                  NAPLES             FL 34120
MARONEY‐WILLIAMS, ELLA A           5299 LYNDALE CIR                                                                  FOREST PARK        GA 30297‐2737
MARONI, ETTA R                     1565 REDWOOD CT LOT 157                                                           ADRIAN             MI 49221
MARONIC, JOHN M                    6135 BELMONT RD                                                                   DOWNERS GROVE       IL 60516‐1641
MARONIC, THOMAS O                  616 SHEFFIELD LN                                                                  BOLINGBROOK         IL 60440‐1024
MARONICH, FRANK J                  710 ASHTON AVE                                                                    ROMEOVILLE          IL 60446‐1602
MARONICH, RUBY J                   8800 S HARLEM AVE TRLR 1861                                                       BRIDGEVIEW          IL 60455
MARONTATE, CORA M                  35560 TALL PINE RD APT 103                                                        FARMINGTON         MI 48335
MARONTO C WATSON                   2530 SARA JANE PKWY APT 532                                                       GRAND PRAIRIE      TX 75052‐8606
MARONTO WATSON                     2530 SARA JANE PKWY APT 532                                                       GRAND PRAIRIE      TX 75052‐8606
MARONTO, JOSEPH D                  6913 W 96TH PL                                                                    OAK LAWN            IL 60453‐2017
MARONY, LILLIAN                    29450 HERITAGE LN                                                                 SOUTHFIELD         MI 48076‐5041
MAROON BUSH                        19280 ADDISON DR                                                                  SOUTHFIELD         MI 48075‐2419
MAROON RAYMOND H JR
MAROONE CADILLAC                   2101 45TH ST                                                                      WEST PALM BEACH    FL   33407‐3296
MAROONE CHEVROLET                  1111 LINTON BLVD                                                                  DELRAY BEACH       FL   33444‐1105
MAROONE CHEVROLET FT. LAUDERDALE, MICHAEL MAROONE                 1300 N FEDERAL HWY                                 FORT LAUDERDALE    FL   33304‐1428
INC.
MAROONE CHEVROLET INC/NATIONAL RAC 8600 PINES BLVD                                                                   PEMBROKE PINES     FL   33024‐6534

MAROONE CHEVROLET OF DELRAY       1111 LINTON BLVD                                                                   DELRAY BEACH       FL   33444‐1105
MAROONE CHEVROLET OF FORT         1300 N FEDERAL HWY                                                                 FORT LAUDERDALE    FL   33304‐1428
LAUDERDAL
MAROONE CHEVROLET OF FORT         1300 N FEDERAL HWY                                                                 FORT LAUDERDALE    FL   33304‐1428
LAUDERDALE
MAROONE CHEVROLET OF FORT         MICHAEL MAROONE                 1300 N FEDERAL HWY                                 FORT LAUDERDALE    FL   33304‐1428
LAUDERDALE
MAROONE CHEVROLET OF GREENACRE                                                                                       GREENACRES         FL   33463‐3207
MAROONE CHEVROLET OF GREENACRES   5757 LAKE WORTH RD                                                                 GREENACRES         FL   33463‐3207

MAROONE CHEVROLET OF MIAMI                                                                                           MIAMI              FL   33134‐2656
MAROONE CHEVROLET OF MIAMI        4181 SW 8TH ST                                                                     CORAL GABLES       FL   33134‐2656
MAROONE CHEVROLET OF PEMBROKE                                                                                        PEMBROKE PINES     FL   33024‐6534
MAROONE CHEVROLET OF PEMBROKE     8600 PINES BLVD                                                                    PEMBROKE PINES     FL   33024‐6534
PINES
MAROONE CHEVROLET OF WEST DADE    1201 NW 89TH CT                                                                    DORAL              FL   33172‐3015
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Name                                 Address1                           Address2                        Address3   Address4         City              State Zip
MAROONE CHEVROLET, BUICK, PONTIAC,   1300 N FEDERAL HWY                                                                             FORT LAUDERDALE    FL 33304‐1428

MAROONE CHEVROLET, BUICK, PONTIAC,   1300 N FEDERAL HWY                                                                             FORT LAUDERDALE    FL   33304‐1428
GMC FORT LAUDERDALE
MAROONE CHEVROLET, INC.              8600 PINES BLVD                                                                                PEMBROKE PINES     FL   33024‐6534
MAROONE CHEVROLET, INC./AVIS WORLD   8600 PINES BLVD                                                                                PEMBROKE PINES     FL   33024‐6534
HEADQUARTERS
MAROONE CHEVROLET, LLC               MICHAEL MAROONE                    8600 PINES BLVD                                             PEMBROKE PINES     FL   33024‐6534
MAROONE CHEVROLET/ALAMO RAC          5301 NW 33RD AVE                                                                               FORT LAUDERDALE    FL   33309‐6313
MAROONE CHEVROLET/BUDGET RENT A      8600 PINES BLVD                                                                                PEMBROKE PINES     FL   33024‐6534
CAR
MAROONE CHEVROLET/ENTERPRISE RAC     8600 PINES BLVD                                                                                PEMBROKE PINES     FL   33024‐6534

MAROONE CHEVROLET/MISCELLANEOUS      8600 PINES BLVD                                                                                PEMBROKE PINES     FL   33024‐6534

MAROONE CHEVROLET/NATIONAL RAC       7700 FRANCE AVENUE SOUTH                                                                       MINNEAPOLIS       MN 55435

MAROSE, ERVIN W                      2066 LAKE CT                                                                                   HIGHLAND          MI    48356‐1850
MAROSE, JOSEPH W                     STE 2                              17 RIVERSIDE AVENUE                                         BRISTOL           CT    06010‐8822
MAROSE, KENNETH O                    11030 COUNTY HWY N                                                                             DRUMMOND          WI    54832‐3613
MAROSZ, LOTTIE J                     33 SUGARLOAF TERRACE                                                                           ROCKFALL          CT    06481‐2053
MAROTSKE, CHARLES W                  5406 SOMERSET LN S                                                                             GREENFIELD        WI    53221‐3247
MAROTTA AND RAMOS                    12440 FIRESTONE BLVD STE 208                                                                   NORWALK           CA    90650‐9317
MAROTTA ANGELO (493044)              BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH    44067
                                                                        PROFESSIONAL BLDG
MAROTTA CONTROLS INC                 78 BOONTON AVE                                                                                 MONTVILLE         NJ 07045
MAROTTA, ANGELO                      BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD        OH 44067
                                                                        PROFESSIONAL BLDG
MAROTTA, ANTHONY D                   1227 GALLEY AVE                                                                                MANAHAWKIN        NJ    08050‐2230
MAROTTA, FRANK D                     4629 ORMOND RD                                                                                 DAVISBURG         MI    48350‐3315
MAROTTA, JOHN C                      4212 LAKE AVE                                                                                  LOCKPORT          NY    14094‐1163
MAROTTA, KENNETH L                   16889 RENEE DR                                                                                 MACOMB            MI    48042‐2325
MAROTTA, LOUIS J                     233 ABBINGTON AVE                                                                              KENMORE           NY    14223‐1660
MAROTTA, ROBERT                      124 PRINCEVILLE                                                                                WILLIAMSBURG      VA    23188‐9214
MAROTTA, SALVATORE                   477 N ADAM ST                                                                                  LOCKPORT          NY    14094‐1455
MAROTTI, BEATRICE                    27 SILVER BIRCH DR APT E                                                                       ROCHESTER         NY    14624‐1527
MAROTZ, EDWIN A                      573 ROLLING HILLS LN                                                                           LAPEER            MI    48446‐2888
MAROTZ, ELIZABETH                    121 W COLUMBIA                                                                                 PONTIAC           MI    48340
MAROTZ, HERMAN F                     2361 HUNTERS CREEK RD                                                                          METAMORA          MI    48455‐9351
MAROTZ, RALPH E                      121 W COLUMBIA AVE                                                                             PONTIAC           MI    48340‐1811
MAROTZ, TERESA M                     9442 HORTON RD                                                                                 GOODRICH          MI    48438‐9419
MAROTZ, TERESA MAY                   9442 HORTON RD                                                                                 GOODRICH          MI    48438‐9419
MAROUF KAS‐MIKHA                     28413 RED LEAF LN                                                                              SOUTHFIELD        MI    48076‐2922
MAROULITSAS, EVGENIOS                3811 REDWOOD DR                                                                                HOLIDAY           FL    34691‐3543
MAROUN, ANTHONY L                    7416 COLDWATER RD                                                                              FLUSHING          MI    48433‐1120
MAROUN, ELIAS Y                      478 CROWNCLOVER AVE                                                                            ORLANDO           FL    32828
MAROUN, GARY F                       1402 HOBNAIL CT                                                                                DAVISON           MI    48423‐2204
MAROUN, ROCHELLE L                   7416 COLDWATER RD                                                                              FLUSHING          MI    48433‐1120
MAROUSEK JR, ROBERT L                2204 SEQUOIA AVE                                                                               SIMI VALLEY       CA    93063‐2706
MAROUSEK, JAMES R                    8200 PALOMA DR                                                                                 ORLAND PARK       IL    60462‐1853
MAROUSEK, NORINE C                   1905 OLDE MILL RD                                                                              PLAINFIELD        IL    60586‐8649
MAROVICH GARY R                      MAROVICH, GARY R
                                09-50026-mg                Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                            Address1                             Address2                Address3   Address4             City             State Zip
MAROVICH, GARY R                1453 S KNIGHT RD                                                                             MUNGER            MI 48747‐9702
MAROVICH, NICK                  7866 AMERICANA CIR APT 101                                                                   GLEN BURNIE       MD 21060‐5444
MAROVICH, VIRGINIA E.           6338 ADAIR DR                                                                                BROOKPARK         OH 44142
MAROWILL CORPORATION            64010 NW 82 ND AVE. 0#0037                                                                   MIAMI             FL 33166
MAROYCE B CRAWLEY               490 CRANDALL AVE                                                                             YOUNGSTOWN        OH 44504
MARPLE, EUGENE W                204 HOLLY CT                                                                                 BEAR              DE 19701‐1389
MARPLE, FRED A                  1329 BENTON ROAD                                                                             SALEM             OH 44460‐7621
MARPLE, GARY A                  3330 BOXWOOD DR                                                                              FAIRBORN          OH 45324‐2204
MARPLE, HAYWARD A               4042 PLEASANT HILL RD                                                                        IRELAND           WV 26376
MARPLE, HAYWARD A               HC 72 BOX 57                                                                                 IRELAND           WV 26376‐9518
MARPLE, HOMER H                 LEE WILLIAM L JR                     PO BOX 14047                                            JACKSON           MS 39236‐4047
MARPLE, JAMES D                 2303 E ANCHOR DR                                                                             GILBERT           AZ 85234‐3872
MARPLE, JOHNNY L                320 CREEKVIEW MEADOWS ROAD                                                                   SPRINGTOWN        TX 76082‐6082
MARPLE, MARY E                  1801 SAM MASON RD                                                                            BUNKER HILL       WV 25413‐3253
MARPLE, MATTHEW L               1913 WEST 3RD STREET                                                                         WATERLOO           IA 50701‐2901
MARPLE, SAMUEL I                3330 BOXWOOD DR                                                                              FAIRBORN          OH 45324‐2204
MARPOSS                         ELIO NACINOVICH                      3300 CROSS CREEK PKWY                                   AUBURN HILLS      MI 48326‐2758
MARPOSS CANADA CORP             333 DENISON ST UNIT 21                                                  MARKHAM ON L3R 1B7
                                                                                                        CANADA
MARPOSS CANADA CORP             2885 LAUZON PKY UNIT 102                                                WINDSOR ON N8T 3H5
                                                                                                        CANADA
MARPOSS CANADA CORPORATION
MARPOSS CANADA CORPORATION      333 DENISON STREET UNIT 21                                              MARKHAM CANADA ON
                                                                                                        L3R 1B7 CANADA
MARPOSS CORP                    3300 CROSS CREEK PKWY                                                                        AUBURN HILLS     MI 48326‐2758
MARPOSS CORPORATION             3300 CROSS CREEK PKWY                                                                        AUBURN HILLS     MI 48326‐2758
MARPOSS CORPORATION             ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 67000                                            DETROIT          MI 48267‐0002
                                AGENT
MARPOSS SPA                     3300 CROSS CREEK PKWY                PO BOX 215710                                           AUBURN HILLS     MI   48326‐2758
MARPOSS/AUBURN HILLS            3300 CROSS CREEK PKWY                                                                        AUBURN HILLS     MI   48326‐2758
MARPOSS/CHARLOTTE               8510 MCALPINE PARK DRIVE                                                                     CHARLOTTE        NC   28211
MARQ APEL                       8512 COUNTRY MANOR DR                                                                        BRUCE TWP        MI   48065‐2531
MARQUA, RICHARD P               8561 EVERGLADE DR                                                                            SACRAMENTO       CA   95826‐3616
MARQUAND, BRUCE                 11 FERRIS DR                                                                                 OLD GREENWICH    CT   06870‐1407
MARQUAND, JACK E                1500 PONTIAC DR                                                                              KOKOMO           IN   46902‐2557
MARQUAND, SARAH                 2709 EAST LYNN                                                                               ANDERSON         IN   46016‐5546
MARQUAND, SARAH                 2709 E LYNN ST                                                                               ANDERSON         IN   46016‐5546
MARQUAND, TERESA W              222 W CHESTNUT ST                                                                            JEFFERSONVILLE   IN   47130
MARQUARD, ROGER J               291 110TH AVE                                                                                PLAINWELL        MI   49080‐9507
MARQUARDT ANDREW                MARQUARDT, ANDREW                    4857 WHITE SWAN DR                                      WEST BEND        WI   53095
MARQUARDT BUICK, INC.           KURT MARQUARDT                       1421 S BARRINGTON RD                                    BARRINGTON       IL   60010‐5205
MARQUARDT CONTRACTING COMPANY   52360 BRIGGS CT                                                                              SHELBY TWP       MI   48316

MARQUARDT DANIEL R (628549)     WILENTZ GOLDMAN & SPITZER            PO BOX 10                                               WOODBRIDGE       NJ   07095‐0958
MARQUARDT OF BARRINGTON         KURT MARQUARDT                       1421 S BARRINGTON RD                                    BARRINGTON       IL   60010‐5205
MARQUARDT OF BARRINGTON         1421 S BARRINGTON RD                                                                         BARRINGTON       IL   60010‐5205
MARQUARDT TRANSPORTATION INC    PO BOX 1040                                                                                  YANKTON          SD   57078‐1040
MARQUARDT, ALICIA               8551 VENTANA DR UNIT 4414                                                                    OAK CREEK        WI   53154‐0342
MARQUARDT, AMBER D              2221 SUGARLOAF RESERVE DRIVE                                                                 DULUTH           GA   30097‐5206
MARQUARDT, ANDREW               430 ELLIS AVENUE                                                                             MANKATO          MN   56001‐6008
MARQUARDT, BONNIE L             PO BOX 238                                                                                   BULLS GAP        TN   37711‐0238
MARQUARDT, CARL D               1003 E GARFIELD AVE                                                                          MILWAUKEE        WI   53212
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Name                       Address1                        Address2                      Address3               Address4         City                State Zip
MARQUARDT, CARL D          8551 VENTANA DR UNIT 4414                                                                             OAK CREEK            WI 53154‐8342
MARQUARDT, CHARLES R       2615 WORBACH DR                                                                                       EAU CLAIRE           WI 54703‐0781
MARQUARDT, DANIEL H        6302 ORCHARD GROVE AVE                                                                                CLEVELAND            OH 44144‐1539
MARQUARDT, DANIEL L        461 ELK LAKE ROAD                                                                                     ATTICA               MI 48412‐9807
MARQUARDT, DANIEL R        C/O LYNNE KIZIS, ESQ            WILENTZ, GOLDMAN, & SPITZER   90 WOODBRIDGE CENTER                    WOODBRIDGE           NJ 07095
                                                                                         DRIVE
MARQUARDT, DANIEL R        WILENTZ GOLDMAN & SPITZER       PO BOX 10                                                             WOODBRIDGE          NJ   07095‐0958
MARQUARDT, DEBORAH A.      1064 PEACH BLOSSOM CIR                                                                                BURTON              MI   48509‐2383
MARQUARDT, ELAINE          23410 IRWIN RD                                                                                        ARMADA              MI   48005‐2106
MARQUARDT, ELAINE          23410 IRWIN                                                                                           ARMADA              MI   48005‐2106
MARQUARDT, ERIC F          19320 DAVIN DRIVE                                                                                     CLEVELAND           OH   44135
MARQUARDT, EVELYN L        11137 COUNTRY RD 9510                                                                                 WEST PLAINS         MO   65775
MARQUARDT, FRED M          2450 BEVIN CT                                                                                         COMMERCE TOWNSHIP   MI   48382‐2000
MARQUARDT, GAIL A          7042 SHALIMAR DR NE                                                                                   COMSTOCK PARK       MI   49321‐9643
MARQUARDT, GARY W          1205 SW 118TH PL                                                                                      OKLAHOMA CITY       OK   73170‐4419
MARQUARDT, GAYLORD E       127 PARKHURST RD                                                                                      DAYTON              OH   45440‐3516
MARQUARDT, HAROLD A        108 STUART PL                                                                                         GRAYLING            MI   49738‐7024
MARQUARDT, HAZEL           12234 TONAWANDA CR. RD                                                                                AKRON               NY   14001‐9651
MARQUARDT, JAMES F         715 HUNTERHILL WAY                                                                                    ROSWELL             GA   30075‐3311
MARQUARDT, JOSEPH J        26913 HEATHERWOOD CIR                                                                                 OLMSTED FALLS       OH   44138‐1171
MARQUARDT, K A             925 HORMELL RD                                                                                        WILMINGTON          OH   45177‐5177
MARQUARDT, K. A            925 HORMELL RD                                                                                        WILMINGTON          OH   45177‐9004
MARQUARDT, KATHRYN J       1205 SW 118TH PL                                                                                      OKLAHOMA CITY       OK   73170‐4419
MARQUARDT, LEON H          5448 FENWICK DR                                                                                       TOLEDO              OH   43623‐1771
MARQUARDT, LYNNETTE K      612 NORTH RANDALL AVE SUITE A                                                                         JANESVILLE          WI   53545
MARQUARDT, PATRICIA J      7686 RIDGEVIEW WAY                                                                                    CHANHASSEN          MN   55317‐4507
MARQUARDT, PHYLLIS A       557 KATHYS WAY                                                                                        XENIA               OH   45385‐4884
MARQUARDT, REBECCA J       2450 BEVIN CT                                                                                         COMMERCE TOWNSHIP   MI   48382‐2000
MARQUARDT, RICHARD A       8500 SILVER CREEK DR                                                                                  NOVELTY             OH   44072‐9643
MARQUARDT, ROGER E         1626 LORKAY DR                                                                                        MANSFIELD           OH   44905‐2948
MARQUARDT, THEODOR C       5448 FENWICK DRIVE                                                                                    TOLEDO              OH   43623‐1771
MARQUARDT, THEODORE C      422 MONROE ST                                                                                         DELTA               OH   43515‐1056
MARQUARDT, THEODORE CARL   422 MONROE ST                                                                                         DELTA               OH   43515‐1056
MARQUARDT, WILLIAM G       5507 BOGART RD W                                                                                      CASTALIA            OH   44824‐9459
MARQUART, CHARLES E        6498 LOTUS CT                                                                                         NEWARK              CA   94560‐4921
MARQUART, LOLA M           1817 LAKE FOREST DR                                                                                   HURON               OH   44839‐2288
MARQUATA COMBS             4258 GREEN LAKE RD                                                                                    ORCHARD LAKE        MI   48323‐1139
MARQUE AMBULANCE           1110 D I DR                                                                                           ELKHART             IN   46514‐8231
MARQUE INC                 1110 D I DR                                                                                           ELKHART             IN   46514‐8231
MARQUEDANT, GAIL L         8401 S KOLB RD UNIT 203                                                                               TUCSON              AZ   85756‐9618
MARQUELL, JERRY M          11 EMS T‐48B LANE                                                                                     SYRACUSE            IN   46567
MARQUELL, JONATHAN A       4412 WEST PEACHTREE LANE                                                                              MUNCIE              IN   47304‐4129
MARQUELL, JONATHAN A       4412 W PEACHTREE LN                                                                                   MUNCIE              IN   47304‐4129
MARQUELL, THOMAS J         PO BOX 433                                                                                            EATON               IN   47338‐0433
MARQUERITE ADKINS          4144 STRAIGHT LINE RD                                                                                 FREEDOM             IN   47431‐7299
MARQUERITE COLLINS         3316 WASHINGTON ST                                                                                    KINGSTON            MI   48741‐8734
MARQUERITE FUHRY           2964 GARFIELD AVE                                                                                     LAKE                MI   48632‐8947
MARQUERITE MADDOX          901 PALLISTER ST APT 313                                                                              DETROIT             MI   48202‐2679
MARQUERITE WASHINGTON      2362 NOLEN DR                                                                                         FLINT               MI   48504‐5201
MARQUES BELLO              3238 ANDERSON AVE APT 2                                                                               KANSAS CITY         MO   64123‐1647
MARQUES COLEMAN            4315 GREENBROOK LN                                                                                    FLINT               MI   48507‐2227
MARQUES J BELLO            3238 ANDERSON AVE APT 2                                                                               KANSAS CITY         MO   64123‐1647
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Name                                 Address1                           Address2                      Address3                 Address4                  City            State Zip
MARQUES LEWIS                        PO BOX 1811                                                                                                         SAGINAW          MI 48605‐1811
MARQUES MENDES & ASSOCIADOS          AV ENG DUARTE PACHECO              19 12‐1070‐100 LISBOA                                  LISBOA 1070‐10 PORTUGAL
MARQUES MENDES & ASSOCLANDOS         AV ENG DUARTE PACHECO 19‐12        LISBOA 1070‐100                                        LISBOA 1070‐10 PORTUGAL
MARQUES PERKINS JR                   27 KEHR ST                                                                                                          BUFFALO         NY 14211‐1516
MARQUES SIDNEY (429374)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                      NORFOLK         VA 23510
                                                                        STREET, SUITE 600
MARQUES, ANA M                       101 HIGHLAND ST                                                                                                     MILFORD         MA   01757‐1851
MARQUES, ANTONIO M                   17 ROCKING HORSE DR.                                                                                                PALM COAST      FL   32164‐5960
MARQUES, GRACE I                     702 51ST ST E                      APT 1116A                                                                        BRADENTON       FL   34208‐8508
MARQUES, JAIME R                     784 MAY AVE                                                                                                         PERTH AMBOY     NJ   08861‐1617
MARQUES, JOAO P                      219 VALLEY RD                                                                                                       CLARK           NJ   07066‐1813
MARQUES, JOAO S                      101 HIGHLAND ST                                                                                                     MILFORD         MA   01757‐1851
MARQUES, LAWRENCE                    15935 AMBER VALLEY DR                                                                                               WHITTIER        CA   90604‐3704
MARQUES, MANUEL                      258 WOODLAND AVE                                                                                                    YONKERS         NY   10703‐2319
MARQUES, MARIA                       69 GLEN RD APT 1D                                                                                                   EASTCHESTER     NY   10709‐3148
MARQUES, ORLY                        EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                                              DETROIT         MI   48265‐2000

MARQUES, SIDNEY                      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                      NORFOLK         VA 23510‐2212
                                                                        STREET, SUITE 600
MARQUESE HERRON                      900 STANLEY AVE                                                                                                     PONTIAC         MI   48340‐2560
MARQUESS, JAMES O                    201 LINTON WAY APT 103                                                                                              PRINCETON       KY   42445‐1272
MARQUESS, WILLIAM D                  22377 NIXON AVE                                                                                                     BROWNSTOWN      MI   48193‐8251
MARQUETTA BASISTA                    7346 JENNINGS RD                                                                                                    SWARTZ CREEK    MI   48473‐8873
MARQUETTA DOUGLAS                    5191 RIDGEBEND DRIVE                                                                                                FLINT           MI   48507‐6335
MARQUETTA HAWKINS                    2787 SWEETBRIAR LN                                                                                                  GRAND PRAIRIE   TX   75052‐8548
MARQUETTA R HAWKINS                  2787 SWEETBRIAR LN                                                                                                  GRAND PRAIRIE   TX   75052‐8548
MARQUETTA THOMPSON                   13859 LIPPAZAN CT                                                                                                   VICTORVILLE     CA   92394‐7366
MARQUETTE DONALD                     6601 LANMAN DR                                                                                                      WATERFORD       MI   48329‐2933
MARQUETTE FUNDING INC                36705 TREASURY CTR                                                                                                  CHICAGO         IL   60694‐6700
MARQUETTE FUNDING INC                ASSIGNEE TIMELY INTEGRATED INC     PO BOX 599                    13006 GATEWAY EAST                                 CLINT           TX   79836‐0599
MARQUETTE FUNDING INC                PO BOX 398                                                                                                          RAVENSWOOD      WV   26164‐0398
MARQUETTE FUNDING INC                24500 CENTER RIDGE RD STE 235                                                                                       WESTLAKE        OH   44145‐5603
MARQUETTE FUNDING INC                18600 NORTHVILLE RD STE 900                                                                                         NORTHVILLE      MI   48168‐3552
MARQUETTE GRO/GROSSE                 222 NE MONROE                      8TH FLOOR                                                                        PEORIA          IL   61602
MARQUETTE I I I, DAVID L             609 W JEFFERSON ST                                                                                                  NEW CARLISLE    OH   45344‐1617
MARQUETTE III, DAVID L               609 W JEFFERSON ST                                                                                                  NEW CARLISLE    OH   45344‐1617
MARQUETTE III, ERNIE A               11 E PARKWAY S APT 8                                                                                                MEMPHIS         TN   38104‐4356
MARQUETTE JAMES                      150 WILDWOOD DR                                                                                                     DESOTO          TX   75115‐7560
MARQUETTE PUBLIC SERVICE GARAGE      919 W BARAGA AVE                                                                                                    MARQUETTE       MI   49855‐4028
MARQUETTE PUBLIC SERVICE GARAGE      JOHN VEIHT                         919 W BARAGA AVE                                                                 MARQUETTE       MI   49855‐4028
MARQUETTE TRANSPORTATION             FINANCE INC                        PO BOX 838                    1155 STOOPS FERRY ROAD                             MOON TOWNSHIP   PA   15108‐0838
MARQUETTE UNIVERSITY                 PO BOX 1881                        CONTINUING EDUCATION DEPT                                                        MILWAUKEE       WI   53201‐1881
MARQUETTE UNIVERSITY OFFICE OF       PO BOX 1881                        TOWER HALL 1ST FLOOR                                                             MILWAUKEE       WI   53201‐1881
BURSAR
MARQUETTE UNIVERSITY OFFICE OF THE   PO BOX 184                                                                                                          MILWAUKEE       WI 53278‐0184
BURSAR
MARQUETTE, CHARLES E                 2260 SAXTONS RIVER RD                                                                                               HENDERSON       NV   89044‐1036
MARQUETTE, DAVID M                   2394 S LACEY LAKE RD                                                                                                BELLEVUE        MI   49021‐9425
MARQUETTE, EILEEN E                  607 WEST JEFFERSON STREET                                                                                           NEW CARLISLE    OH   45344‐1617
MARQUETTE, GAIL J                    42489 WILLSHARON ST                                                                                                 STERLING HTS    MI   48314‐3077
MARQUETTE, KAREN A                   2394 S LACEY LAKE RD                                                                                                BELLEVUE        MI   49021‐9425
MARQUETTE, KAREN ANN                 2394 S LACEY LAKE RD                                                                                                BELLEVUE        MI   49021‐9425
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Name                                Address1                         Address2                        Address3   Address4              City               State Zip
MARQUETTE, KENNETH F                PO BOX 1153                                                                                       INDIAN RIVER        MI 49749‐1153
MARQUETTE, MARY E                   1858 RUSSET AVE                                                                                   DAYTON              OH 45410‐3447
MARQUETTE, MARY E                   5374 LAKESIDE DR                                                                                  GREENDALE           WI 53129‐1925
MARQUETTE, RICHARD L                3091 S HILLSDALE RD                                                                               HILLSDALE           MI 49242‐9571
MARQUETTE, ROGER C                  1694 LEAH DR                                                                                      N TONAWANDA         NY 14120‐3020
MARQUETTE, RONALD J                 296 E PITTSFIELD ST                                                                               PENNSVILLE          NJ 08070‐1922
MARQUEZ JESUS (660914)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA 23510
                                                                     STREET, SUITE 600
MARQUEZ JUAN (ESTATE OF) (659533)   COON BRENT & ASSOCIATES          3550 FANNIN ST                                                   BEAUMONT            TX   77701‐3805
MARQUEZ MANUEL JR                   MARQUEZ, MANUEL                  4809 COLE AVE STE 212                                            DALLAS              TX   75205‐5598
MARQUEZ MARK                        543 BOSQUE VISTA                                                                                  SAN ANTONIO         TX   78258‐3246
MARQUEZ OMAR                        4141 NE 2ND AVE STE 201                                                                           MIAMI               FL   33137‐3592
MARQUEZ OMAR                        PAEZ, NIURKA                     MIAMI DESIGN DISTRICT 4141 NE                                    MIAMI               FL   33137
                                                                     2ND AVENUE SUITE 201
MARQUEZ RIVERA, CHRISTIAN PAOLA
MARQUEZ RIVERA, FELIPE ANTONIO
MARQUEZ ROBERT SR (481887)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA 23510
                                                                     STREET, SUITE 600
MARQUEZ, ALVARO                     1150 N ROXBORO ST                                                                                 ANAHEIM            CA 92805‐1641
MARQUEZ, BRENDA R                   53 E NEWPORT AVE                                                                                  PONTIAC            MI 48340‐1254
MARQUEZ, BRENDA RENE'               53 E NEWPORT AVE                                                                                  PONTIAC            MI 48340‐1254
MARQUEZ, CECILIO
MARQUEZ, CHRISTINA                  1465 E MARSHALL BLVD                                                                              SAN BERNARDINO     CA    92404‐2706
MARQUEZ, DAVID F                    10552 LONGWORTH AVE                                                                               SANTA FE SPRINGS   CA    90670‐4144
MARQUEZ, DOLORES                    13333 SAYRE ST                                                                                    SYLMAR             CA    91342‐2528
MARQUEZ, ESPERANZA M                920 CLOVER HILL LN                                                                                CEDAR HILL         TX    75104‐7919
MARQUEZ, ESPERANZA MOYA             920 CLOVER HILL LN                                                                                CEDAR HILL         TX    75104‐7919
MARQUEZ, FRANCIS U                  10819 CHADSEY DR                                                                                  WHITTIER           CA    90604‐1320
MARQUEZ, FRANK                      2039 MONROE ST                                                                                    SANTA CLARA        CA    95050‐3575
MARQUEZ, FRANK                      9345 STANWIN AVE                                                                                  ARLETA             CA    91331‐5609
MARQUEZ, FREDDIE                    710 PIPER DR                                                                                      SAGINAW            MI    48604‐1816
MARQUEZ, GEORGE M                   642 E MANSFIELD AVE                                                                               PONTIAC            MI    48340‐2946
MARQUEZ, GILBERT D                  PO BOX 41                                                                                         OLD STATION        CA    96071‐0041
MARQUEZ, GREGORY A                  1327 DUNROVIN DR                                                                                  NEW ALBANY         OH    43054‐9416
MARQUEZ, GUADALUPE F.               6360 JOLIET RD APT D50                                                                            COUNTRYSIDE        IL    60525
MARQUEZ, HENRY                      13809 LANCELOT AVE                                                                                NORWALK            CA    90650‐4446
MARQUEZ, HIPOLITO                   744 CEDAR KNOLL DR N                                                                              LAKELAND           FL    33809‐2343
MARQUEZ, IGNACIO                    1457 DELAWARE AVENUE                                                                              FLINT              MI    48506‐3317
MARQUEZ, JESUS                      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA    23510‐2212
                                                                     STREET, SUITE 600
MARQUEZ, JOANN                      4 HUNTERS RIDGE DR                                                                                SAGINAW            MI    48609‐9318
MARQUEZ, JOSE G                     6140 S 75TH AVE                                                                                   ARGO               IL    60501‐1629
MARQUEZ, JUAN                       COON BRENT & ASSOCIATES          215 ORLEANS ST                                                   BEAUMONT           TX    77701‐2221
MARQUEZ, JUAN M                     4052 CHEVY CHASE DR APT 1                                                                         LOS ANGELES        CA    90039‐1256
MARQUEZ, JUANA                      8940 NW 153RD TER                                                                                 HIALEAH            FL    33018‐1333
MARQUEZ, LEO                        12770 TABEAUD ROAD                                                                                PINE GROVE         CA    95665‐9750
MARQUEZ, LUIS M                     33444 5TH ST                                                                                      UNION CITY         CA    94587‐2417
MARQUEZ, MANUEL                     MCELROY B THOMAS                 3333 LEE PKWY STE 500                                            DALLAS             TX    75219‐5117
MARQUEZ, MANUEL J                   1508 S BLISS AVE                                                                                  DUMAS              TX    79029‐5624
MARQUEZ, MARGARITA                  1459 STANDIFORD AVE ‐ #91                                                                         MODESTO            CA    95350‐0701
MARQUEZ, MARIA                      J ENRIQUE RODO NUMERO 2726                                                  LOMAS DE GUEVARA GL
                                                                                                                44640 MEXICO
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Name                    Address1                          Address2                      Address3   Address4         City               State Zip
MARQUEZ, MARIA ESTELA   BELLAS & WACHOWSKI                15 N NORTHWEST HWY                                        PARK RIDGE           IL 60068‐3339
MARQUEZ, MARTIN         279 W PRINCETON AVE                                                                         PONTIAC             MI 48340‐1739
MARQUEZ, MICHAEL        PIUS JOSEPH                       595 E COLORADO BLVD STE 801                               PASADENA            CA 91101‐2001
MARQUEZ, NAZARIO R      53 E NEWPORT AVE                                                                            PONTIAC             MI 48340‐1254
MARQUEZ, OMAR           PO BOX 110285                                                                               HIALEAH             FL 33011‐0285
MARQUEZ, OMAR           ALTERS BOLDT BROWN RASH CULMO     4141 NE 2ND AVE STE 201                                   MIAMI               FL 33137
MARQUEZ, RALPH A        957 S AIRPORT WAY                                                                           MANTECA             CA 95337‐8210
MARQUEZ, RAUL           2327 QUINCY DR                                                                              BAKERSFIELD         CA 93306‐4037
MARQUEZ, ROBERT         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                          STREET, SUITE 600
MARQUEZ, ROBERT         HOFFMAN & OSORIO LLP              3350 WILSHIRE BLVD STE 855                                LOS ANGELES        CA   90010‐1832
MARQUEZ, ROBERT         PIUS JOSEPH                       595 E COLORADO BLVD STE 801                               PASADENA           CA   91101‐2001
MARQUEZ, RODOLFO        336 HEMLOCK AVE                                                                             ROMEOVILLE         IL   60446‐1657
MARQUEZ, SERVANDO       22804 ENGLEMAN RD                                                                           MONTE ALTO         TX   78538‐3287
MARQUEZ, THERESA        9345 STANWIN AVE                                                                            ARLETA             CA   91331‐5609
MARQUEZ, THOMAS         1015 O STREET #C103                                                                         BAKERSFIELD        CA   93304
MARQUEZ, VICTORIA L     4765 CHANDLER STREET                                                                        SANTA BARBARA      CA   93110‐1911
MARQUEZ,BENITO          741 PARK AVE APT 1R                                                                         BROOKLYN           NY   11206
MARQUIADEZ MARTINEZ     1514 UTAH AVE                                                                               FLINT              MI   48506‐2767
MARQUIS BOLEY           769 HACKBERRY DR                                                                            BOSSIER CITY       LA   71111‐5177
MARQUIS D MOORE         29209 MANOR DRIVE                                                                           WATERFORD          WI   53185
MARQUIS EVANS           PO BOX 80771                                                                                LANSING            MI   48908‐0771
MARQUIS FETZ            3883 W 900 N                                                                                FRANKTON           IN   46044‐9372
MARQUIS GUYNN           213 ORCHARD LN                                                                              KOKOMO             IN   46901‐5147
MARQUIS HARRIS JR       9391 ALLEN RD                                                                               CLARKSTON          MI   48348‐2728
MARQUIS HOBSON          7026 BELLE POINTE DR                                                                        BELLEVILLE         MI   48111‐5355
MARQUIS HUDSON          1119 ALEXANDRIA DR                                                                          LANSING            MI   48917‐4805
MARQUIS JR, HOMER L     2005 S BROOKWOOD DR                                                                         SHREVEPORT         LA   71118‐2744
MARQUIS JR, JACK L      852 SUNSET DR                                                                               ENGLEWOOD          OH   45322‐2217
MARQUIS RICHARDSON      5 SHELBURNE STREET                                                                          BURLINGTON         NJ   08016‐4308
MARQUIS SNODGRASS       360 S COUNTY ROAD 525 W                                                                     DANVILLE           IN   46122‐8077
MARQUIS, CAROL D        75 FURNACE LN                                                                               PEMBROKE           MA   02359‐3146
MARQUIS, ELIZABETH J    23841 DONCASTER DR                                                                          MORENO VALLEY      CA   92553‐5668
MARQUIS, HOMER L        101 PINE PL                                                                                 BATESVILLE         MS   38606‐9343
MARQUIS, HOWARD R       PO BOX 1041                                                                                 HOOD RIVER         OR   97031‐0035
MARQUIS, MARJORIE M     3121 N PRINCESS LN                                                                          PRESCOTT VALLEY    AZ   86314‐2942
MARQUIS, PAUL R         26585 RIDGETRAIL DRIVE                                                                      WARRENTON          MO   63383‐6534
MARQUIS, RICHARD C      PO BOX 160                                                                                  MINERAL            VA   23117‐0160
MARQUIS, TODD C         R 1 BX 211                                                                                  MATTAWAN           MI   49071
MARQUISE HODGES         8669 GRAYFIELD ST                                                                           DEARBORN HTS       MI   48127‐1541
MARQUITA ADAMS          5406 KERMIT ST                                                                              FLINT              MI   48505‐2586
MARQUITA BANKS          3016 LUDWIG ST                                                                              BURTON             MI   48529‐1038
MARQUITA CAROLL         308 HARVARD AVE                                                                             SOUTH PLAINFIELD   NJ   07080‐3243
MARQUITA CHERRY         202 CHRISTY LN                                                                              KOKOMO             IN   46901‐3805
MARQUITA COLLINS        840 W ALMA AVE                                                                              FLINT              MI   48505‐1944
MARQUITA DECKARD        1886 COVEYVILLE RD                                                                          BEDFORD            IN   47421‐7262
MARQUITA DRAKE          536 KENDON DR                                                                               LANSING            MI   48910‐5429
MARQUITA FLYE           3259 DORAL CT                                                                               ROCHESTER HLS      MI   48309‐1240
MARQUITA HENRY          3311 E 68TH ST                                                                              KANSAS CITY        MO   64132‐3025
MARQUITA MEDLEY         2027 WYNDHURST RD                                                                           TOLEDO             OH   43607‐1372
MARQUITA WILLIAMS       12704 E 11670 N RD                                                                          BEECHER            IL   60401
MARQUITA Y COLEMAN      110 S MERRIMAC ST                                                                           PONTIAC            MI   48340‐2507
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Name                                Address1                            Address2                       Address3     Address4         City              State Zip
MARQUITTA T JONES                   1106 N JACKSON ST                                                                                BAY CITY           MI 48708‐5920
MARQUITTA TROTTER                   4035 N WASHINGTON RD                                                                             FORT WAYNE         IN 46804‐1819
MARQUITZ MOTOR CO.                  DENNIS MARQUITZ                     142 FRENCHMAN BLUFF RD                                       TROY               MO 63379‐2019
MARQUITZ PONTIAC‐CADILLAC‐BUICK‐GMC 142 FRENCHMAN BLUFF RD                                                                           TROY               MO 63379‐2019

MARQUITZ PONTIAC‐CADILLAC‐BUICK‐GMC 142 FRENCHMAN BLUFF RD                                                                           TROY              MO 63379‐2019
TRUCK
MARQUITZ, ANTHONY J                 10050 SETTLEMENT HOUSE RD                                                                        CENTERVILLE       OH 45458‐9668
MARR                                7699 N PENNSYLVANIA ST                                                                           INDIANAPOLIS      IN 46240‐2803
MARR CHARLES (439763)               GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                 SAGINAW           MI 48604‐2602
                                                                        260
MARR FREDERICK III                  402 S 15TH ST APT 906                                                                            ALLENTOWN         PA   18102‐4573
MARR III, FREDERICK H               402 S 15TH ST APT 906                                                                            ALLENTOWN         PA   18102‐4573
MARR JACK FREDERICK                 C/O EDWARD O MOODY P A              801 WEST 4TH ST                                              LITTLE ROCK       AR   72201
MARR JR, ARTHUR J                   3515 LIMERICK DR                                                                                 TALLAHASSEE       FL   32309‐3138
MARR JR, FRANK W                    458 SPRING ST                                                                                    STRUTHERS         OH   44471‐1272
MARR JR, WILLIAM L                  3779 LAUREL RD                                                                                   BRUNSWICK         OH   44212‐3668
MARR JR., ALEXANDER R               27129 ALGER ST                                                                                   MADISON HTS       MI   48071‐3248
MARR JR., ALEXANDER R               2830 LOWER RIDGE DR APT 15                                                                       ROCHESTER HILLS   MI   48307‐4466
MARR RICHARD                        22510 EDGEWATER RD                                                                               ELKHORN           NE   68022‐3510
MARR, ADRIAN W                      3392 KIESEL RD                                                                                   BAY CITY          MI   48706‐2471
MARR, ALAN S                        PO BOX 62                                                                                        ALGER             MI   48610‐0062
MARR, ALBERT C                      3357 MCKEE AVE SW                                                                                GRAND RAPIDS      MI   49509‐3029
MARR, BERNICE T                     200 WHITE HAMPTON LN APT 102                                                                     PITTSBURGH        PA   15236‐1546
MARR, CHARLES A                     2660 WAYNESVILLE JAMESTOWN RD                                                                    XENIA             OH   45385‐9662
MARR, CHARLES E                     2853 MISTY ROCK CV                                                                               DACULA            GA   30019
MARR, CURTIS D                      317 CHURCH ST                                                                                    LAINGSBURG        MI   48848‐9689
MARR, EDGAR                         9222 GARRISON DRIVE                 APT 205                        BUILDING 2                    INDIANAPOLIS      IN   46240
MARR, FLORA                         8 GOLF ST APT B                                                                                  ASHEVILLE         NC   28801
MARR, FRANK C                       2518 S RYBOLT AVE                                                                                INDIANAPOLIS      IN   46241‐5242
MARR, FRANK CLIFFORD                2518 S RYBOLT AVE                                                                                INDIANAPOLIS      IN   46241‐5242
MARR, GARROLD E                     PO BOX 139                                                                                       PARADISE          MI   49768‐0139
MARR, HELEN L                       11309 PINE LILLY PL                                                                              LAKEWOOD RANCH    FL   34202‐1843
MARR, JACK FREDERICK                MOODY EDWARD O                      801 W 4TH ST                                                 LITTLE ROCK       AR   72201‐2107
MARR, JAMES J                       PO BOX 1238                                                                                      OCKLAWAHA         FL   32183‐1238
MARR, JAMES M                       436 CHARLES AVE                                                                                  CORTLAND          OH   44410‐1302
MARR, JARED                         PO BOX 3146                                                                                      OAKHURST          CA   93644‐3146
MARR, JEFFREY A                     1541 JEFFERSON AVE                                                                               BRUNSWICK         OH   44212‐3323
MARR, JOANNE E                      8424 PARKHURST HWY                                                                               ADDISON           MI   49220‐9734
MARR, JOSEPH C                      10315 WEBSTER RD                                                                                 FREELAND          MI   48623‐9732
MARR, JUANITA                       2311 FISHER RD                                                                                   INDIANAPOLIS      IN   46239‐8789
MARR, JUANITA                       2311 SOUTH FISHER RD                                                                             INDIANAPOLIS      IN   46239‐8789
MARR, KAREN S                       11209 PAR CT                                                                                     KOKOMO            IN   46901‐9551
MARR, LAWRENCE W                    16471 PRETTY VIEW DR                                                                             PLYMOUTH          IN   46563
MARR, LEO J                         PO BOX 313                                                                                       MAYVILLE          MI   48744
MARR, LLOYD J                       PO BOX 191                                                                                       HARVEST           AL   35749‐0191
MARR, LORRAINE V                    6009 WESTKNOLL DR APT 626                                                                        GRAND BLANC       MI   48439‐4987
MARR, LORRAINE V                    6009 W KNOLL DR                     APT 626                                                      GRAND BLANK       MI   48439
MARR, MAURICE D                     144 E 6TH ST                                                                                     SMITHS GROVE      KY   42171‐8257
MARR, MICHAEL E                     7370 TOWNLINE RD                                                                                 BRIDGEPORT        MI   48722‐9772
MARR, MURIEL J                      3357 MCKEE AVE SW                                                                                GRAND RAPIDS      MI   49509‐3029
MARR, PAUL D                        1390 S UNION RD                                                                                  DAYTON            OH   45427‐1628
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Name                       Address1                        Address2                      Address3   Address4         City              State Zip
MARR, PAUL D               6315 MACK FARM LN                                                                         INDIANAPOLIS       IN 46237‐6000
MARR, PAUL R               3 C ST                                                                                    LAKE LOTAWANA      MO 64086‐9727
MARR, ROBIN R              2526 PARKVIEW AVE                                                                         TOLEDO             OH 43606‐4120
MARR, RONALD D             3591 CLARKSVILLE RD                                                                       PORTLAND           MI 48875‐9737
MARR, RONALD D             159 HERMITAGE CIRCLE                                                                      LIGONIER           PA 15658‐2419
MARR, RUSSELL B            3301 W ROCKPORT PARK DR                                                                   JANESVILLE         WI 53548‐7607
MARR, SAM S                45 OTTARI RD                                                                              ASHEVILLE          NC 28804‐2538
MARR, SCOTT G              14342 CHARIOTS WHISPER DR                                                                 WESTFIELD          IN 46074‐8200
MARR, STANLEY L            4543 HESS AVE                                                                             SAGINAW            MI 48601‐6734
MARR, STEVE D              9455 BRISTOL RD                                                                           SWARTZ CREEK       MI 48473‐8592
MARR, TERRY                3400 MASSIEVILLE ROAD                                                                     CHILLICOTHE        OH 45601‐8760
MARR, WAYNE D              4327 FAIRWOOD DR                                                                          BURTON             MI 48529‐1912
MARR, WILLIAM E            25 RAINTREE TRL                                                                           LEBANON            OH 45036‐1476
MARR, WILLIAM L            4917 W 82ND ST                                                                            OAK LAWN            IL 60459‐2109
MARRA ANTONIO C (411207)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                           STREET, SUITE 600
MARRA PAT                  107 BLUE WILLOW DR                                                                        HOUSTON           TX 77042‐1105
MARRA, ANTONIO C           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                           STREET, SUITE 600
MARRA, DAWN M              1527 SPENCER ST                                                                           LANSING           MI   48915‐1269
MARRA, EDDA P              1202 GREENTREE RD                                                                         NEWARK            DE   19713‐3333
MARRA, EDDA P              1202 GREEN TREE RD                                                                        NEWARK            DE   19713‐3333
MARRA, FRANK A             2529 VALLEYVIEW DR                                                                        TROY              MI   48098‐2307
MARRA, FRANK ANTHONY       2529 VALLEYVIEW DR                                                                        TROY              MI   48098‐2307
MARRA, JOSEPH J            2436 BELL RD                                                                              MONTGOMERY        AL   36117‐2417
MARRA, KATHRYN A           1015 SEAGER ST                                                                            COMMERCE TWP      MI   48390‐1264
MARRA, KERRY E             1311 GREENLEE LN APT 12                                                                   JELLICO           TN   37762
MARRA, MARIE D             153 N UNION ST APT 6                                                                      LAMBERTVILLE      NJ   08530‐1652
MARRA, MARIE T             315 RAINBOW RDG                                                                           CINCINNATI        OH   45215‐6600
MARRA, MARIE T             315 RAINBOW RIDGE                                                                         CINCINATTI        OH   45215‐6600
MARRA, MARY                216 BUNGALOW AVE                                                                          WILMINGTON        DE   19805‐5012
MARRA, SHIRLEY A           9302 CLARIDGE DR                                                                          DAVISON           MI   48423‐8708
MARRA, THOMAS              MICHAEL D'ONOPRIO
MARRABLE JR, WILLIAM       2452 WEDGEWOOD DR                                                                         MANSFIELD         OH   44903‐9319
MARRABLE, MONIQUE S        4652 MIDWAY AVE                                                                           DAYTON            OH   45417‐1354
MARRACINO, FRANK A         133 BARBADOS DR                                                                           CHEEKTOWAGA       NY   14227‐2505
MARRAFFINO, ARMOND         60 MORROW AVE                                                                             SCARSDALE         NY   10583‐4660
MARRAH, JANANNE A          235 N. COUNTY RD 820 W.                                                                   KOKOMO            IN   46901
MARRALI, FRANCESCO         APT D                           10 GEORGIAN LANE                                          BUFFALO           NY   14221‐2191
MARRANCA, CHARLES          205 HILLPINE RD                                                                           CHEEKTOWAGA       NY   14227‐2274
MARRANCA, CHARLES A        598 KAYMAR DRIVE                                                                          BUFFALO           NY   14228‐3459
MARRANCA, KATHERINE L      5403 MAIN ST APT 109                                                                      WILLIAMSVILLE     NY   14221‐5342
MARRANCA, KATHERINE L      5403 MAIN STREET APT #109                                                                 BUFFALO           NY   14221
MARRANCA, MARLENE          CREEK SIDE APTS.                96 ULLMAN ST 96                                           BUFFALO           NY   14207
MARRANCA, MARLENE          96 ULLMAN ST                                                                              BUFFALO           NY   14207‐1114
MARRANCA, MICHAEL R        56 WILMA DR                                                                               LANCASTER         NY   14086‐2718
MARRANCA, ROBERT F         1629 S BEND LN                                                                            LAKE VIEW         NY   14085‐9302
MARRANCA, ROBERT F.        1629 S BEND LN                                                                            LAKE VIEW         NY   14085‐9302
MARRANCO, JOSEPHINE G      28 COLUMBIA AVENUE                                                                        TRENTON           NJ   08618‐5815
MARRANCO, MICHAEL J        643 LINDEN AVE                                                                            BUFFALO           NY   14216‐2716
MARRANGONI, JAMES          6552 OAK HILL DR                                                                          WEST FARMINGTON   OH   44491‐9752
MARRARA, DIANE K           521 CHAMPION AVE E                                                                        WARREN            OH   44483‐1506
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Name                                  Address1                        Address2                       Address3   Address4                 City              State Zip
MARRARO, JOSEPH                       10 SIMPSON PL                                                                                      METUCHEN           NJ 08840‐2535
MARRAS MAURO                          VIA VITTORIO EMANUELE 147                                                                          ALGHERO             IL 07041
MARRAY CONCOURSE 100 INC              1901 6TH AVE N STE 2520                                                                            BIRMINGHAM         AL 35203
MARRAZZO RUDOLPH T SR (477246)        WEITZ & LUXENBERG               180 MAIDEN LANE                                                    NEW YORK           NY 10038
MARRAZZO, RUDOLPH T                   WEITZ & LUXENBERG               180 MAIDEN LANE                                                    NEW YORK           NY 10038
MARRE, DANIEL L                       117 COLE WALK                                                                                      MCDONOUGH          GA 30252‐7099
MARRE, DANIEL LEWARD                  117 COLE WALK                                                                                      MCDONOUGH          GA 30252‐7099
MARREIROS, JOHN P                     #1                              12 REGENCY MANOR DRIVE                                             NEW BRUNSWICK      NJ 08901‐1666
MARRELL PUTMAN                        1070 KETTERING ST                                                                                  BURTON             MI 48509‐2350
MARRELL, MORRIS                       4045 RIVERSHELL LN                                                                                 LANSING            MI 48911‐1906
MARRELL, ROBERT L                     736 E PINE FOREST DR                                                                               LYNN HAVEN         FL 32444‐4322
MARRELLA, SHARON A.                   6734 S 79TH AVE                                                                                    BRIDGEVIEW          IL 60455‐1013
MARRELLO, METTA M                     9541 SOUTH MANSFIELD                                                                               OAK LAWN            IL 60453‐2810
MARRELLO, METTA M                     9541 MANSFIELD AVE                                                                                 OAK LAWN            IL 60453‐2810
MARREN, NANCY                         195 SENTINEL HILL RD                                                                               DERBY              CT 06418‐2425
MARRENA HALL                          503 WEAVER DRIVE                                                                                   GOLDSBORO          NC 27530‐6956
MARRENA HALL                          503 WEAVER DR                                                                                      GOLDSBORO          NC 27530‐6956
MARRERO JR, GABRIEL M                 PO BOX 3383                                                                                        SHREVEPORT         LA 71133‐3383
MARRERO JR, GABRIEL MALDONADO         PO BOX 3383                                                                                        SHREVEPORT         LA 71133‐3383
MARRERO OLGA E (ESTATE OF) (644868)   LANIER LAW FIRM                 6810 FM 1960 WEST SUITE 1550                                       HOUSTON            TX 77069

MARRERO, AMANDA                       9215 WOODMAN AVE                                                                                   ARLETA            CA   91331‐6408
MARRERO, ANGELO R                     PO BOX 1847                                                                                        MOROVIS           PR   00687‐1847
MARRERO, BENJAMIN                     PO BOX 772226                                                                                      OCALA             FL   34477‐2226
MARRERO, CARLOS                       725 PROSPECT AVE                                                                                   BRONX             NY   10455
MARRERO, CAROL A                      1749 ETHAN LN                                                                                      BRENTWOOD         TN   37027‐2618
MARRERO, ISABEL                       48 N MT VIEW MOBILE HOME PARK                                                                      STONY POINT       NY   10980‐2342
MARRERO, ISABEL                       48 MT. VIEW MOBILE HOME PARK                                                                       STONY PT          NY   10980
MARRERO, JAMES                        2 HUMMING BIRD LN                                                                                  STONY POINT       NY   10980‐2220
MARRERO, JOSE                         113 WHITEHALL RD                                                                                   ELKTON            MD   21921‐6043
MARRERO, JOSE                         10548 DANUBE AVE                                                                                   GRANADA HILLS     CA   91344‐7218
MARRERO, JUNE L                       5101 CARLISLE CT                                                                                   NEW ORLEANS       LA   70131‐7231
MARRERO, LYDIA                        PO BOX 921                                                                                         AGUADA            PR   00602‐0921
MARRERO, OLGA E                       LANIER LAW FIRM                 6810 FM 1960 WEST SUITE 1550                                       HOUSTON           TX   77069
MARRERO, ROBERT M                     9157 LEE VISTA BLVD APT 203                                                                        ORLANDO           FL   32829‐8315
MARRERO, ROBERTO                      983 ELK MILLS RD                                                                                   ELKTON            MD   21921‐3805
MARRERO, ROLANDO                      1749 ETHAN LN                                                                                      BRENTWOOD         TN   37027‐2618
MARRERO, ROLANDO L                    1749 ETHAN LN                                                                                      BRENTWOOD         TN   37027‐2618
MARRERO, URSULA                       98 CHARTER CIR APT D                                                                               OSSINING          NY   10562‐6070
MARRERO, URSULA                       98D CHARTER CIRCLE                                                                                 OSSINING          NY   10562
MARRERO, WILLIAM                      7 SCHOOL ST                                                                                        CORTLANDT MANOR   NY   10567‐1003
MARRERO, ZOILO B                      2 CHELSEA CT                                                                                       DAYTON            NJ   08810
MARRESE, ALFONSO J                    221 BELVIDERE AVE                                                                                  FANWOOD           NJ   07023‐1605
MARRESE, RONALD M                     43783 LEELANAU TRL                                                                                 CLINTON TWP       MI   48038‐4412
MARRETTA, JOSEPH                      450 INWOOD RD                                                                                      LINDEN            NJ   07036‐5324
MARRI DANILO                          VIA ALDO MORO, 21                                                         42013 CASALGRANDE (RE)
                                                                                                                ITALY
MARRI,SAI CHAITHANYA                  528 CARLYLE LK                                                                                     DECATUR           GA   30033
MARRIAN L DIXON                       1364 PHILADELPHIA DRIVE                                                                            DAYTON            OH   45406‐4644
MARRICAL SR, ANTHONY R                3067 SILVERSTONE LN                                                                                WATERFORD         MI   48329‐4540
MARRICLE, PATRICIA A                  6301 WOODWAY DR APT 201                                                                            FORT WORTH        TX   76133‐4027
MARRIE LEE                            4633 TALLMAN ST                                                                                    FORT WORTH        TX   76119‐4831
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Name                                   Address1                             Address2                         Address3               Address4         City           State Zip
MARRIE, MARY C                         1400 EDGEHILL AVE SE                                                                                          WARREN          OH 44484‐4520
MARRIE, MARY C                         1400 EDGEHILL S E                                                                                             WARREN          OH 44484
MARRIE, TERRENCE P                     3908 WINDSOR CT                                                                                               HERMITAGE       PA 16148‐5302
MARRIETTA GENTRY                       2324 S ARAGON AVE                                                                                             KETTERING       OH 45420‐3504
MARRIETTA STRUIK                       8300 BUSH DR NE                                                                                               ROCKFORD        MI 49341‐9348
MARRILL LYNCH CAPITAL‐EQUIPMENT        500 W MONROE ST                      FL 10                                                                    CHICAGO          IL 60661‐3688
FINANCE
MARRILL LYNCH CAPITAL‐EQUIPMENT        ATTN: CORPORATE OFFICER/AUTHORIZED   500 W MONROE ST FL 10                                                    CHICAGO         IL   60661‐3688
FINANCE                                AGENT
MARRIN KENNETH E                       MARRIN, KENNETH E                    700 S BABCOCK STREET SUITE 402                                           MELBOURNE      FL    32901
MARRINAN MICHAEL                       101 RIO LEON CV                                                                                               GEORGETOWN     TX    78633‐5064
MARRINAN, TERESA F                     2032 WILLOWGROVE AVE                                                                                          DAYTON         OH    45409‐2034
MARRINE ELLIS                          9654 HARTWELL ST                                                                                              DETROIT        MI    48227‐3472
MARRINER R & BETTY I BAILEY TRUST      8 HORTON HILL                                                                                                 CHITTENDEN     VT    05737
MARRINER, SUNAKO                       5402 WESTERN ROAD                                                                                             FLINT          MI    48506‐1357
MARRINER, SUNAKO                       5402 WESTERN RD                                                                                               FLINT          MI    48506‐1357
MARRINER, WILLIAM A                    7556 SCROGGS RD                                                                                               LISBON         OH    44432‐8333
MARRINO, GEORGE H                      168 HORNE WAY                                                                                                 MILLBURY       MA    01527‐1961
MARRIO N SIMS                          1407 WALNUT ST                                                                                                GADSDEN        AL    35901‐3866
MARRION F REDD                         23083 RIVERSIDE DR                                                                                            SOUTHFIELD     MI    48033‐3304
MARRION REDD                           23083 RIVERSIDE DR 3806                                                                                       SOUTHFIELD     MI    48033
MARRION, MARION V                      9921 ROCKLAND                                                                                                 REDFORD        MI    48239‐2248
MARRIOT AIR/ST LOUIS                   I‐70 AT LALMBERT INTL AIRPORT                                                                                 SAINT LOUIS    MO    63134
MARRIOT, ASHLEY MORIE                  2916 W 600 S                                                                                                  ANDERSON       IN    46013‐9799
MARRIOTT /WALNUT CRK                   2355 N MAIN ST                                                                                                WALNUT CREEK   CA    94596‐3547
MARRIOTT AIRP/PITTSB                   100 ATEN ROAD                                                                                                 CORAOPOLIS     PA    15108
MARRIOTT AT CENTERPOINT                3600 CENTERPOINT PKWY                                                                                         PONTIAC        MI    48341‐3164
MARRIOTT AT GLENPOINTE                 100 W BURR BOULEVARD                                                                                          TEANECK        NJ    07666
MARRIOTT ATL AIR/GA                    4711 BEST RD                                                                                                  ATLANTA        GA    30337‐5606
MARRIOTT BRENDAN E (ESTATE OF)         GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                              NORFOLK        VA    23510
(636581)                                                                    STREET, SUITE 600
MARRIOTT CHAR/CHARLO                   100 W TRADE ST                                                                                                CHARLOTTE      NC    28202‐2133
MARRIOTT COPL/BOSTON                   110 HUNTINGTON AVE                                                                                            BOSTON         MA    02116‐5706
MARRIOTT CORPORATION                   1 MARRIOTT DR                                                                                                 WASHINGTON     DC    20058‐0001
MARRIOTT COUR/INDIAN                   2602 FORTUNE CIR E                                                                                            INDIANAPOLIS   IN    46241‐5531
MARRIOTT COURT/WAYNE                   1100 DRUMMERS LN                                                                                              WAYNE          PA    19087‐1567
MARRIOTT DALLAS LAS COLINAS            223 WEST LAKE COLINAS BLVD                                                                                    IRVING         TX    75039
MARRIOTT DETROIT METRO                 30559 FLYNN DR                                                                                                ROMULUS        MI    48174‐2239
MARRIOTT HOTELS & RESORTS              MARRIOTT INTERNATIONAL               PO BOX 402642                                                            ATLANTA        GA    30384‐2642
MARRIOTT HOUST/HOUST                   18700 JOHN F KENNEDY BLVD                                                                                     HOUSTON        TX    77032‐5022
MARRIOTT INT/PISCATA                   8001 INTERNATIONAL DRIVE                                                                                      PISCATAWAY     NJ    08854
MARRIOTT INTERNATIONAL                 RENAISSANCE CENTER                                                                                            DETROIT        MI    48243
MARRIOTT INTERNATIONAL                 PO BOX 402841                                                                                                 ATLANTA        GA    30384‐2841
MARRIOTT INTERNATIONAL                 PO BOX 402642                                                                                                 ATLANTA        GA    30384‐2642
MARRIOTT INTERNATIONAL                 PO BOX 402745                                                                                                 ATLANTA        GA    30384‐2745
MARRIOTT INTERNATIONAL                 PO BOX 403003                                                                                                 ATLANTA        GA    30384‐3003
MARRIOTT INTERNATIONAL                 PO BOX 402751                                                                                                 ATLANTA        GA    30384‐2751
MARRIOTT INTERNATIONAL                 ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 402841                                                            ATLANTA        GA    30384‐2841
                                       AGENT
MARRIOTT INTL., INC ON BEHALF OF THE   & SPA ‐ ATT ANDRONIKI ALAHOUZOS‐     MARRIOTT INTERNATIONAL INC       MARRIOTT DRIVE, DEPT                    WASHINGTON     DC 20058
JW MARRIOTT STARR PASS RESORT          COLLECTIONS ADMINISTRATOR                                             52/923.21
                                    09-50026-mg            Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                                Address1                       Address2                      Address3   Address4         City              State Zip
MARRIOTT LAX/LOS ANG                5855 W CENTURY BLVD                                                                      LOS ANGELES        CA 90045‐5614
MARRIOTT LONG ISLAND                101 JAMES DOOLITTLE BLVD                                                                 UNIONDALE          NY 11553‐3637
MARRIOTT MARQ/NEW YK                1535 BROADWAY                                                                            NEW YORK           NY 10036‐4077
MARRIOTT MEMPHIS                    2625 THOUSAND OAKS BLVD                                                                  MEMPHIS            TN 38118‐2410
MARRIOTT METRO CENTER               WASTEWISE ANNUAL CONFERENCE    775 12TH ST NW                                            WASHINGTON         DC 20005‐3901
MARRIOTT NEWARK/NJ                  NEWARK INTERNATIONAL AIRPORT                                                             NEWARK             NJ 07114
MARRIOTT PERI/ATLANT                246 PERIMETER CENTER PKWY NE   ATTN: VIVIAN REINOSO                                      ATLANTA            GA 30346‐2302
MARRIOTT RANCH SPECIAL EVENTS       5305 MARRIOTT LN                                                                         HUME               VA 22639‐1750
MARRIOTT ROCH/W. HEN                5257 W. HENRIETTA ROAD                                                                   ROCHESTER          NY 14602
MARRIOTT SCH/SCHAUMB                50 N MARTINGALE RD                                                                       SCHAUMBURG          IL 60173‐2065
MARRIOTT TYSN/VIENNA                8028 LEESBURG PIKE                                                                       VIENNA             VA 22182‐2719
MARRIOTT UNI/UNINDAL                101 JAMES DOOLITTLE BLVD                                                                 UNIONDALE          NY 11553‐3637
MARRIOTT WEST/W CONS                111 CRAWFORD AVE                                                                         CONSHOHOCKEN       PA 19428‐2909
MARRIOTT YPSILANTI AT EAGLE CREST   1275 S HURON ST                                                                          YPSILANTI          MI 48197‐7020
MARRIOTT, AIDA                      373 SOUTH BROADWAY                                                                       YONKERS            NY 10705‐2013
MARRIOTT, BONNIE L                  707 MEADOWWOOD DR S W                                                                    GRAIN VALLEY       MO 64029‐8129
MARRIOTT, BONNIE L                  707 SW MEADOWOOD DR                                                                      GRAIN VALLEY       MO 64029‐8129
MARRIOTT, BRENDAN E                 GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                   STREET, SUITE 600
MARRIOTT, CRAIG D                   675 LANGLEY BLVD                                                                         CLAWSON           MI   48017‐1335
MARRIOTT, CRAIG DAVID               675 LANGLEY BLVD                                                                         CLAWSON           MI   48017‐1335
MARRIOTT, DAVID A                   837 BROOKWOOD LN E                                                                       ROCHESTER HILLS   MI   48309‐1545
MARRIOTT, DONNA J                   10100 ROSSMAN HWY                                                                        EATON RAPIDS      MI   48827‐9337
MARRIOTT, GARY S                    2688 DANSBURY CT                                                                         LAKE ORION        MI   48360‐1604
MARRIOTT, JAMES R                   2625 CHESTERFIELD PL                                                                     ANDERSON          IN   46012‐4439
MARRIOTT, JAMES R                   18 TERESA DR                                                                             LACKAWANNA        NY   14218‐2719
MARRIOTT, JAMES RICHARD             18 TERESA DR                                                                             LACKAWANNA        NY   14218‐2719
MARRIOTT, JEANNETTE                 46 CONCORD LN                                                                            PONTIAC           MI   48340‐1212
MARRIOTT, JEANNETTE                 46 CONCORD LANE                                                                          PONTIAC           MI   48340‐1212
MARRIOTT, JEFFREY A                 131 SOUTHVIEW DR                                                                         TROY              OH   45373
MARRIOTT, JEWELL ANN                2437 BINGHAM RD                                                                          CLIO              MI   48420‐1971
MARRIOTT, JOAN                      501 HADLEY WEST DR APT 204                                                               HAVERHILL         MA   01832‐3635
MARRIOTT, JOANNE                    4384 SMITHVILLE RD                                                                       EATON RAPIDS      MI   48827‐9733
MARRIOTT, JOHN P                    410 N CONGRESS ST                                                                        HASTINGS          MI   49058‐1108
MARRIOTT, KAREN A                   62 VILLAGE WALK                                                                          SPENCERPORT       NY   14559‐1453
MARRIOTT, LARRY C                   7068 CALABRIA PL                                                                         DUBLIN            OH   43016
MARRIOTT, LEE R                     122 PEARL DR                                                                             CARLISLE          PA   17013‐1044
MARRIOTT, MILDRED                   23159 HIGHWAY TT                                                                         VERSAILLES        MO   65084‐5428
MARRIOTT, PETER M                   893 LAKEVIEW DR                                                                          LAKE ORION        MI   48362‐2238
MARRIOTT, ROBERT C                  1712 SCOTTIES PL                                                                         NOKOMIS           FL   34275‐2950
MARRIOTT, ROGER A                   118 BELLECLAIR DR                                                                        ROCHESTER         NY   14617‐2304
MARRIOTT, STEWART W                 10125 S 300 W                                                                            PENDLETON         IN   46064‐9521
MARRIOTT, TODD ALLEN                35830 MALIBU DRIVE                                                                       STERLING HTS      MI   48312‐4056
MARRIOTT, WICHITA/KS                9100 E CORPORATE HILLS DR                                                                WICHITA           KS   67207‐1317
MARRIOTT‐DETROIT PONTIAC            ATTN: STEVE SINES              3600 CENTERPOINT PKWY                                     PONTIAC           MI   48341‐3164
MARRIOTT‐SAN FRAN/CA                1800 BAYSHORE HWY                                                                        BURLINGAME        CA   94010‐1203
MARRIOTT‐ST LOUIS/MO                I‐70                           @ LAMBERT INTERNATIONAL                                   SAINT LOUIS       MO   63134
                                                                   AIRPORT
MARRIOTT/ATLANTA NE                 2000 CENTURY CENTER BLVD.                                                                ATLANTA           GA   30345
MARRIOTT/BLOOMINGTON                2020 AMERICAN BLVD E                                                                     BLOOMINGTON       MN   55425‐1239
MARRIOTT/COLUMBUS                   6500 DOUBLETREE AVE                                                                      COLUMBUS          OH   43229‐1111
MARRIOTT/DEERFIELD                  2 PARKWAY N                                                                              DEERFIELD         IL   60015‐2544
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Name                          Address1                         Address2              Address3       Address4                  City                    State Zip
MARRIOTT/EAST LANSNG          300 M A C AVENUE                                                                                EAST LANSING             MI 48823
MARRIOTT/FALLS CHRCH          3111 FAIRVIEW PARK DR                                                                           FALLS CHURCH             VA 22042‐4550
MARRIOTT/HOUSTON              1750 WEST LOOP S                                                                                HOUSTON                  TX 77027‐3004
MARRIOTT/INDIANAPOLI          7202 E 21ST ST                                                                                  INDIANAPOLIS             IN 46219‐1717
MARRIOTT/IRVING               8440 FREEPORT PKWY                                                                              IRVING                   TX 75063‐2521
MARRIOTT/KANSAS CITY          775 BRASILIA AVE                                                                                KANSAS CITY              MO 64153‐1153
MARRIOTT/NASHVILLE            600 MARRIOTT DR                                                                                 NASHVILLE                TN 37214‐5046
MARRIOTT/ONTARIO              2200 E. HOLT ROAD                                                     ONTARIO 91761 CANADA
MARRIOTT/ORANGE VILL          3695 ORANGE PL                                                                                  BEACHWOOD               OH   44122‐4401
MARRIOTT/OVERLANDPAR          10800 METCALF AVE                                                                               OVERLAND PARK           KS   66210‐2320
MARRIOTT/PITTSBURGH           101 RADISSON DR                                                                                 PITTSBURGH              PA   15205‐4356
MARRIOTT/ROCHESTER            3257 W HENRIETTA ROAD                                                                           ROCHESTER               NY   14623
MARRIOTT/ST. LOUIS            660 MARYVILLE CENTRE DR                                                                         SAINT LOUIS             MO   63141‐5816
MARRIOTT/SYRACUSE             6301 ROUTE 298                                                                                  EAST SYRACUSE           NY   13057
MARRIOTT/WASHINGTON           DULLES INTERNATIONAL AIRPORT                                                                    WASHINGTON              DC   20041
MARRIS TYE                    867 BROAD BLVD                                                                                  KETTERING               OH   45419‐2024
MARRIS, CINDRA S              PO BOX 20                                                                                       WEST LIBERTY            OH   43357‐0020
MARRIS, EWIN F                92 PINE DRIVE                                                                                   MUNCY VALLEY            PA   17758‐8700
MARRISCELLA JACKSON           762 COTTAGE ST                                                                                  PONTIAC                 MI   48342‐3330
MARRISON, BARBARA A           5283 OAKRIDGE DR                                                                                BEAVERTON               MI   48612‐8592
MARRISON, KENNETH I           3123 DELTA RIVER DR                                                                             LANSING                 MI   48906‐3454
MARRISON, MARK P              9456 WHITE CEDAR DR                                                                             LAKE                    MI   48632‐8887
MARRISON, MARY                5232 E. BROADWAY                 # 201                                                          MT PLEASANT             MI   48858
MARRISON, MARY                5232 E BROADWAY RD LOT 201                                                                      MT PLEASANT             MI   48858‐7903
MARRISON, RAYMOND E           518 S MADISON ST                                                                                ADRIAN                  MI   49221‐3114
MARRISON, WILLIAM B           4127 CHANCELLOR DR                                                                              THOMPSONS STATION       TN   37179‐5311
MARROCCO, ARMAND R            22593 STATLER ST                                                                                ST CLAIR SHRS           MI   48081‐2367
MARROCCO, JOSEPH C            21007 STRAWBERRY HILLS DR                                                                       MACOMB                  MI   48044‐2276
MARROCCO, LINA                2679 FARMDALE DR                                                                                STERLING HTS            MI   48314‐3869
MARROCCO, MARIA L             48311 SEAWIND CT                                                                                SHELBY TOWNSHIP         MI   48315‐4318
MARROITT WESTCHESTER          670 WHITE PLAINS RD                                                                             TARRYTOWN               NY   10591‐5104
MARRON, DAVID J               1924 S 29TH ST                                                                                  KANSAS CITY             KS   66106‐2974
MARRON, GRACE M               31823 JOSEPH DR                                                                                 CHESTERFIELD            MI   48047‐3039
MARRON, ROBERT D              628 MOUL RD                                                                                     HILTON                  NY   14468‐9508
MARRONE SIPONTA MARIA LUISA   C/O UFF POSTALE DI TRINITAPOLI   CASELLA POSTALE 91                   71049 TRINITAPOLI ITALY
MARRONE, ALBERT J             65 MIDDLE HILL RD                                                                               COLONIA                 NJ   07067‐4119
MARRONE, ANTHONY              56 HOLLYBROOK DR                                                                                LITTLE EGG HARBOR TWP   NJ   08087‐1844
MARRONE, ANTHONY F            55 HOLLYBROOK DR                                                                                LITTLE EGG HARBOR TWP   NJ   08087‐1846
MARRONE, GIOSEPPE A           50723 PARSONS DR                                                                                SHELBY TOWNSHIP         MI   48317‐1165
MARRONE, PAUL R               280 DIVINITY ST # 6                                                                             BRISTOL                 CT   06010‐6017
MARRONE, WILLIAM              45 LAKEVIEW DR                                                                                  TABERNACLE              NJ   08088‐9136
MARROQUIN RALPH               MARROQUIN, RALPH                 805 E MAIN ST                                                  PINCKNEY                MI   48169‐8147
MARROQUIN, ANA MARIA F        10586 TAMARACK AVE                                                                              PACOIMA                 CA   91331‐3043
MARROQUIN, ANDREW LEONICIO
MARROQUIN, EMILY              2414 BELLE GROVE DRIVE                                                                          BOSSIER CITY            LA   71111‐2413
MARROQUIN, ESTELA             1604 BRENTWOOD DR                                                                               FALLSTON                MD   21047‐1607
MARROQUIN, MARIA T            PO BOX 950206                                                                                   MISSION HILLS           CA   91395‐0206
MARROQUIN, RAFAEL             6561 HIGHVIEW ST                                                                                DEARBORN HEIGHTS        MI   48127‐2126
MARROQUIN, RALPH              FETT & FIELDS                    805 E MAIN ST                                                  PINCKNEY                MI   48169‐8147
MARROSO, MARK A               5145 GLEN COVE LN                                                                               FLINT                   MI   48507‐4518
MARROU & COMPANY              405‐407 ST JAMES ST                                                                             GONZALES                TX   78629
MARROU & COMPANY              JAMES GRAY                       405‐407 ST JAMES ST                                            GONZALES                TX   78629
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Name                          Address1                         Address2                      Address3      Address4         City                  State Zip
MARROW FOUNDATION             8001 BROADWAY ST NE STE 100                                                                   MINNEAPOLIS            MN 55413‐2196
MARROW, CAROL                 1624 DOE LANE                                                                                 ODESSA                 TX 79762
MARROW, CAROL                 1624 DOE LN                                                                                   ODESSA                 TX 79762‐4451
MARROW, DIANNE S              12324 NANTUCKET DR                                                                            SOUTH LYON             MI 48178‐8517
MARROW, JAMES B               12324 NANTUCKET DR                                                                            SOUTH LYON             MI 48178‐8517
MARROW, JOSEPH D              24871 PARKLANE DR                                                                             FLAT ROCK              MI 48134‐1903
MARROW, JOSEPH DANIEL         24871 PARKLANE DR                                                                             FLAT ROCK              MI 48134‐1903
MARROW, PAULA L               24871 PARKLANE DR                                                                             FLAT ROCK              MI 48134‐1903
MARROW, PAULA LEE             24871 PARKLANE DR                                                                             FLAT ROCK              MI 48134‐1903
MARROW, ROBERT                1624 DOE LN                                                                                   ODESSA                 TX 79762‐4451
MARROW, ROBERT                1624 DOE LANE                                                                                 ODESSA                 TX 79762
MARRS JR, WILLIE C            433 MCCLESKY DR                                                                               FORREST CITY           AR 72335‐2949
MARRS RAWLEY D (481888)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK                VA 23510
                                                               STREET, SUITE 600
MARRS, BRANDON EDWARD         2633 BELL ROAD                                                                                NEWBURGH              IN   47630‐9347
MARRS, CHARLES E              174 RIVERSIDE DR                                                                              DETROIT               MI   48215‐3009
MARRS, CHARLES F              1509 MAYO DR                                                                                  DEFIANCE              OH   43512‐3319
MARRS, CYRIL J                4 MESETA LN                                                                                   HOT SPRINGS VILLAGE   AR   71909‐3342
MARRS, DENVER                 7384 BENNETT LAKE RD                                                                          FENTON                MI   48430‐8993
MARRS, DENVER L               7384 BENNETT LAKE RD                                                                          FENTON                MI   48430‐8993
MARRS, EARL B                 18 FORREST AVE                                                                                WILMINGTON            DE   19805‐5017
MARRS, JOEL N                 170 HENNEPIN RD                                                                               GRAND ISLAND          NY   14072
MARRS, JUSTIN DENVER          8394 BENNETT LAKE ROAD                                                                        FENTON                MI   48430
MARRS, MICHAEL G              6706 197TH ST E                                                                               BRADENTON             FL   34211‐7276
MARRS, MICHAEL R              411 WALNUT ST.                   BOX 3859                                                     GREEN COVE SPRINGS    FL   32043
MARRS, ORVAL B                4402 W ORLANDO ST                                                                             BROKEN ARROW          OK   74011‐1323
MARRS, PAMELA S               703 E COLUMBIA DR                                                                             DURAND                MI   48429‐1309
MARRS, RAWLEY D               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK               VA   23510
                                                               STREET, SUITE 600
MARRS, ROBERT BRADLEY         2633 BELL ROAD                                                                                NEWBURGH              IN   47630‐9347
MARRS, ROBERT L               323 S MAIN ST                                                                                 FAIRMOUNT             IN   46928‐1928
MARRS, RODNEY D               399 BISTINEAU LAKE RD                                                                         RINGGOLD              LA   71068‐3414
MARRS, RODNEY DALE            399 BISTINEAU LAKE RD                                                                         RINGGOLD              LA   71068‐3414
MARRS, ROY J                  9890 WOOSTER PIKE RD                                                                          SEVILLE               OH   44273‐9155
MARRS, SHIRLEY A              PO BOX 1654                                                                                   GRANBURY              TX   76048‐8654
MARRS, THOMAS W               59272 MOUNTAIN ASH CT                                                                         WASHINGTON TOWNSHIP   MI   48094‐3752
MARRUFFO, JO ANN              117 CALLE TAMEGA                                                                              CAMARILLO             CA   93012‐8609
MARRUFO, GUADALUPE            56 ALEXANDER AVENUE                                                                           SAN JOSE              CA   95116‐1801
MARRUQUIN, ROBERT G           1384 GAGE RD                                                                                  TOLEDO                OH   43612‐4020
MARRUQUIN, ROBERT GAMEZ       1384 GAGE RD                                                                                  TOLEDO                OH   43612‐4020
MARRY MORROW                  1204 W STATE ROAD 16                                                                          DENVER                IN   46926‐9176
MARRY, JOHN R                 5380 S MERIDIAN RD                                                                            HUDSON                MI   49247‐8237
MARRY, SANDRA A               14251 SQUAWFIELD RD                                                                           HUDSON                MI   49247‐9240
MARRYN F SHIFTAR              1337 MOORINGS DR                                                                              LACROSSE              WI   54603‐1684
MARS & CO CONSULTING CO LLC   124 MASON ST                                                                                  GREENWICH             CT   06830‐6629
MARS & CO CONSULTING LLC      124 MASON ST                                                                                  GREENWICH             CT   06830‐6629
MARS CATHERINE                MARS, CATHERINE                  STATE FARM                    PO BOX 8014                    BALLSTON SPA          NY   12020
MARS CHRISTOPHER J            MARS, CHRISTOPHER J              30 E BUTLER AVE                                              AMBLER                PA   19002‐4514
MARS DAN                      3348 SHADDICK RD                                                                              WATERFORD             MI   48328‐2559
MARS HILL COLLEGE             BUSINESS OFFICE                                                                               MARS HILL             NC   28754
MARS SNACKFOOD US             JANIS CASEY                      800 HIGH ST                                                  HACKETTSTOWN          NJ   07840‐1552
MARS THORNTON                 BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS            OH   44236
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Name                         Address1                          Address2            Address3         Address4         City               State Zip
MARS TRUCKING INC            7350 ASSOCIATE AVE                                                                      BROOKLYN            OH 44144‐1101
MARS, CATHERINE              STATE FARM                        PO BOX 8014                                           BALLSTON SPA        NY 12020‐8014
MARS, CATHERINE
MARS, DANIEL A               3348 SHADDICK RD                                                                        WATERFORD          MI   48328‐2559
MARS, DENNIS B               418 SPRINGHOUSE CT                                                                      FRANKLIN           TN   37067‐5837
MARS, EDITH L                5182 N MCKINLEY RD                                                                      FLUSHING           MI   48433‐1152
MARS, GERALD C               14001 OAK RD                                                                            BIG RAPIDS         MI   49307‐8888
MARS, JAMES F                10061 SHARP RD                                                                          SWARTZ CREEK       MI   48473‐9154
MARS, JAMES L                8275 BROADMOOR AVE SE                                                                   CALEDONIA          MI   49316‐8389
MARS, JANICE L               2355 UTLEY RD                                                                           FLINT              MI   48532‐4966
MARS, JOHN E                 7374 N JENNINGS RD                                                                      MOUNT MORRIS       MI   48458‐9305
MARS, JOHN EDWARD            7374 N JENNINGS RD                                                                      MOUNT MORRIS       MI   48458‐9305
MARS, LISA K                 1720 ORION RD                                                                           OAKLAND            MI   48363
MARS, MARK A                 2644 BARCOO BEND                                                                        NEW LENOX          IL   60451‐3737
MARS, ROBERT S               8480 TURNER RD                                                                          FENTON             MI   48430‐9081
MARS, ROBERT S               5182 N MCKINLEY RD                                                                      FLUSHING           MI   48433‐1152
MARS, ROSLYN                 PO BOX 720‐356                                                                          NORMAN             OK   73070
MARS, ROSLYN                 POST OFFICE BOX 720‐356                                                                 NORMAN             OK   73070‐4262
MARS, SAMUEL
MARS, STELLA M               33 CARDINAL LN                                                                          NORTH TONAWANDA    NY   14120‐1375
MARS, WILDA PAULINE          8375 BRUDY RD                                                                           WOLVERINE          MI   49799‐9431
MARS, WILDA PAULINE          8375 BRUDY ROAD                                                                         WOLVERINE          MI   49799‐9431
MARSA, CARL L                4297 RISEDORPH ST                                                                       BURTON             MI   48509‐1168
MARSA, IRVING M              925 W FANNETTA ST                                                                       DEXTER             MO   63841‐1826
MARSAC JR, ARTHUR H          3402 NOTTINGHAM RD                                                                      BAY CITY           MI   48706‐1593
MARSAC, CHARLES L            353 HIGH ST                                                                             ELYRIA             OH   44035
MARSAC, DAVID F              8583 CORY DR                                                                            DELTON             MI   49046‐8757
MARSAC, MATHEW G             PO BOX 1                                                                                ALMYRA             AR   72003
MARSACK, ANDREA B            28749 APOLLO DR                                                                         CHESTERFIELD       MI   48047‐4801
MARSACK, ANDREA BETH         28749 APOLLO DR                                                                         CHESTERFIELD       MI   48047‐4801
MARSACK, CAROL B             537 HARTNELL PL                                                                         SACRAMENTO         CA   95825‐6617
MARSACK, DON J               12354 CANTERBURY DR                                                                     WARREN             MI   48093‐1842
MARSACK, DON JOSEPH          12354 CANTERBURY DR                                                                     WARREN             MI   48093‐1842
MARSACK, MILTON E            33054 GRENNADA ST                                                                       LIVONIA            MI   48154‐4171
MARSACK, REGINALD E          33054 GRENNADA ST                                                                       LIVONIA            MI   48154
MARSAI, ROSE L               6596 NORWOOD AVENUE                                                                     ALLEN PARK         MI   48101‐2411
MARSAILIS D BRYANT           447 ANTOINETTE ST APT 8                                                                 DETROIT            MI   48202‐3453
MARSALA JR, JOSEPH           174 BLUEBIRD LN                                                                         RUSTON             LA   71270‐8797
MARSALA JR, JOSEPH A         174 BLUEBIRD LN                                                                         RUSTON             LA   71270‐8797
MARSALA, ANTHONY J           727 MORNINGSIDE DR                                                                      GRAND BLANC        MI   48439‐2304
MARSALA, BARBARA             32 PATTON RD                                                                            TONAWANDA          NY   14150‐5226
MARSALA, BARBARA A.          32 PATTON ROAD                                                                          TONAWANDA          NY   14150‐5226
MARSALA, BARBARA A.          32 PATTON RD                                                                            TONAWANDA          NY   14150‐5226
MARSALA, JOSEPH A            8582 STATE ROUTE 36                                                                     ARKPORT            NY   14807‐9754
MARSALA, JOSEPH P            145 MASCOT DR                                                                           ROCHESTER          NY   14626‐1703
MARSALA, PHILIP A            8321 WEST SAHARA AVE APT 1032                                                           LAS VEGAS          NV   89117
MARSALA, VINCENT J           921 LINDEN WAY                                                                          AUBURN HILLS       MI   48326‐3890
MARSALAS MAIL SERVICE INC    3624 38TH ST                                                                            LONG ISLAND CITY   NY   11101‐1622
MARSALIS, ROMANNIE LASALLE   177 STANTON HALL LN                                                                     FRANKLIN           TN   37069‐8461
MARSALIS, SARAH R            105 MADDOX ST.                                                                          MCCOMB             MS   39648
MARSALIS, TONY W             5817 TIMBERWOLFE LN                                                                     FORT WORTH         TX   76135‐5211
MARSANO, JORGE A             3395 S JONES BLVD                 #150                                                  LAS VEGAS          NV   89146
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Name                        Address1                         Address2                      Address3   Address4              City            State Zip
MARSAT, INC.                JOSE MARINA                      7830 E 91ST ST                                                 TULSA            OK 74133‐6018
MARSAU'S                    203 S 2ND ST                                                                                    STERLING         CO 80751‐4201
MARSAU'S                                                     203 S 2ND ST                                                                    CO 80751
MARSAUS                     203 S 2ND ST                                                                                    STERLING         CO 80751‐4201
MARSAW, NANCY JOAN          4434 PINE CREEK DR                                                                              BURTON           MI 48519‐1200
MARSCH JR, EDWARD G         3515 SILVERTREE LN                                                                              PENSACOLA        FL 32504‐4975
MARSCH, PATRICIA B          1965 INNWOOD                                                                                    YOUNGSTOWN       OH 44515‐4841
MARSCH, PATRICIA B          1965 INNWOOD DR                                                                                 YOUNGSTOWN       OH 44515‐4841
MARSCHALL, KRISTINE A       6350 N DELBERT AVE                                                                              FRESNO           CA 93722‐2406
MARSCHALL, LOIS D           15423 W HERITAGE DR                                                                             SUN CITY WEST    AZ 85375‐6660
MARSCHALL, MARK E           22683 CLEARWATER CT APT 106                                                                     NOVI             MI 48375‐4651
MARSCHALL, SUSAN L          1953 HERITAGE DR                                                                                SHAKOPEE         MN 55379‐2786
MARSCHAND, BILL C           1353 S 1038 E                                                                                   GREENTOWN        IN 46936‐9433
MARSCHAND, CONNIE L         PO BOX 521                                                                                      WALTON           IN 46994‐0521
MARSCHAND, ELLEN J          8692 S US HIGHWAY 35                                                                            STAR CITY        IN 46985‐9097
MARSCHAND, JENNIFER J       1353 S 1038 E                                                                                   GREENTOWN        IN 46936‐9433
MARSCHAND, NORMA A          12354 S PAYTON RD                                                                               GALVESTON        IN 46932‐8774
MARSCHKE, ALVIN F           320 N US HIGHWAY 31                                                                             WHITELAND        IN 46184‐1474
MARSCHKE, CHARLES W         320 N US HIGHWAY 31                                                                             WHITELAND        IN 46184‐1474
MARSCHKE, DAVID R           265 VINE ST                                                                                     CLYDE            OH 43410‐1529
MARSCHNER, MARGIE J         1956 COLONY COURT                APT 5                                                          BELOIT           WI 53511
MARSCHNER, MARGIE J         APT 5                            1956 COLONY COURT                                              BELOIT           WI 53511‐1895
MARSCHNER, STEVEN H         26877 CORONATION DR                                                                             WOODHAVEN        MI 48183‐5820
MARSCIANO PAUL J (627976)   HOWARD BRENNER & GARRIGAN‐NASS   1608 WALNUT ST , 17TH FLOOR                                    PHILADELPHIA     PA 19103

MARSCIANO, PAUL J           HOWARD BRENNER & GARRIGAN‐NASS   1608 WALNUT ST, 17TH FLOOR                                     PHILADELPHIA    PA 19103

MARSCIO, JOSEPH A           3862 BELLWOOD DR SE                                                                             WARREN          OH 44484‐2939
MARSDEN & MCGAIN P/L        PO BOX 233                                                                RESERVOIR VIC 3073
                                                                                                      AUSTRALIA
MARSDEN JR, JOHNNIE         468 E 79TH ST                                                                                   SHREVEPORT      LA   71106‐5014
MARSDEN JR, ROBERT ARTHUR   PO BOX 468                                                                                      THREE FORKS     MT   59752‐0468
MARSDEN PAULA & JERRY       3834 STONE CANYON AVE                                                                           SHERMAN OAKS    CA   91403‐4537
MARSDEN, BERTHA B           2804 LAND HBR                                                                                   NEWLAND         NC   28657‐7939
MARSDEN, DUANE D            16300 SILVER PKWY APT 302                                                                       FENTON          MI   48430‐4422
MARSDEN, ESTHER             4415 S RUESS RD                                                                                 OWOSSO          MI   48867‐9269
MARSDEN, JEAN A             1297 BRENNER PASS                                                                               CLIO            MI   48420‐2148
MARSDEN, JOSEPH T           14533 KENTFIELD ST                                                                              DETROIT         MI   48223‐2110
MARSDEN, LEE R              5003 MEDIA DR                                                                                   INDIANAPOLIS    IN   46228‐2933
MARSDEN, LORRAINE K         504 HUT WEST DR                                                                                 FLUSHING        MI   48433‐1319
MARSDEN, LORRAINE KAYE      504 HUT WEST DR                                                                                 FLUSHING        MI   48433‐1319
MARSDEN, MARILYN J          1016 CRAWFORD ST                                                                                FLINT           MI   48507‐5310
MARSDEN, MARY H             27 COMBERTON RD SHELDON                                                   BIRMINGHAM UNITED
                                                                                                      KINGDOM B262TE
MARSDEN, RHONDA E           1177 HARTMAN ST                                                                                 MOUNT MORRIS    MI   48458‐2520
MARSDEN, ROBBIE M           3575 LAKEVIEW DR                                                                                HIGHLAND        MI   48356‐2378
MARSDEN, RONALD R           1454 W CASS AVE                                                                                 FLINT           MI   48505‐1157
MARSDEN, RONALD RUSSELL     1454 W CASS AVE                                                                                 FLINT           MI   48505‐1157
MARSEE, BRUCE E             3020 PATRIOT SQ                                                                                 DAVISBURG       MI   48350‐2241
MARSEE, CHARLIE E           31640 YORK ST                                                                                   FRASER          MI   48026‐3649
MARSEE, GEORGE A            1219 S TIBBS AVE                                                                                INDIANAPOLIS    IN   46241‐4127
MARSEE, IVEY                20044 STACY RD                                                                                  METAMORA        IN   47030‐9603
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Name                             Address1                             Address2                       Address3   Address4             City               State Zip
MARSEE, IVEY                     20044 STACEY RD                                                                                     METAMORA            IN 47030‐0072
MARSEE, KENNETH R                2028 NORTH FRANKLIN STREET                                                                          DEARBORN            MI 48128‐1030
MARSEE, KERRY B                  1603 CALIFORNIA AVE SOUTHWEST                                                                       SEATTLE             WA 98116‐1610
MARSEE, PRINCE D                 30556 SAINT ONGE CIR                                                                                WARREN              MI 48088‐5954
MARSEE, RAYMOND L                1614 CAMPOS DR                                                                                      LADY LAKE           FL 32162‐9583
MARSEE, RICK E                   2587 BLANCHE ST                                                                                     MELVINDALE          MI 48122‐1913
MARSEE, SHANNON L                2028 NORTH FRANKLIN STREET                                                                          DEARBORN            MI 48128‐1030
MARSEE, SHARON L                 3020 PATRIOT SQ                                                                                     DAVISBURG           MI 48350‐2241
MARSEGLIA JOHN J (136688)        PERLBERGER LAW ASSOCIATES            401 E CITY AVE STE 200                                         BALA CYNWYD         PA 19004‐1117
MARSEGLIA, JOHN J                PAUL REICH & MYERS PC                1608 WALNUT ST                 STE 500                         PHILADELPHIA        PA 19103‐5446
MARSEGLIA, JOHN J                PERLBERGER LAW ASSOCIATES            401 E CITY AVE STE 200                                         BALA CYNWYD         PA 19004‐1117
MARSEILLES, HARLEY D             7650 W TUSCOLA RD                                                                                   FRANKENMUTH         MI 48734‐9530
MARSELE, SOPHIE                  7000 ASTON GARDEN DRIVE              #B303                                                          VENICE              FL 34292
MARSELENE SIRBU                  15500 18 MILE RD APT 117                                                                            CLINTON TOWNSHIP    MI 48038‐5837
MARSELIS, DEMETRIOS              11384 SILVERLAKE CT                                                                                 SHELBY TWP          MI 48317‐2647
MARSELLA FRANK ‐ MONACO COACH    MONACO COACH CORPORATION             2 PPG PL STE 400                                               PITTSBURGH          PA 15222‐5402
CORPORATION
MARSELLA KEWISH                  3458 KNEELAND CIR                                                                                   HOWELL             MI 48843‐4504
MARSELLA, FRANK                  HAMBURG RUBIN MULLIN MAXWELL &       375 MORRIS RD                                                  LANSDALE           PA 19446‐5605
                                 LUPIN
MARSELLA, MAUREEN
MARSELLA, TONY                   92 RENNER AVENUE                                                                                    BLOOMFIELD         NJ   07003‐5445
MARSELLA, YOLANDA                72 COUNTY RIDGE DR RYE                                                                              RYEBROOK           NY   10573
MARSELLE, SANDRA A               1405 DEERHURST CT                                                                                   ROCHESTER HILLS    MI   48307‐3322
MARSELLI PRECISION AUTOMOTIVE    179 COMMERCE WAY                                                                                    SOUTH WINDSOR      CT   06074‐1152
MARSENA BURGESS                  G2112 N MORRISH RD                                                                                  FLUSHING           MI   48433
MARSENA WASHBURN                 9004 W LONE BEECH DR                                                                                MUNCIE             IN   47304‐9334
MARSEY, WILLIAM P                20 GATES CIR                                                                                        HOCKESSIN          DE   19707‐9686
MARSH        N, MAYME R          RR 2 BOX 94                                                                                         PIKEVILLE          TN   37367‐9516
MARSH & MCLENNAN COMPANIES INC   1111 NEWTON ST                                                                                      GRETNA             LA   70053‐6339
MARSH & MCLENNAN, INC.           1166 AVENUE OF THE AMERICAS FL 2                                                                    NEW YORK           NY   10036‐2740
MARSH BARBARA A & JOHN H         4375 TAHITIAN GARDENS CIR APT 53 H                                                                  HOLIDAY            FL   34691
MARSH BUILDING PRODUCTS          ATTN: DOUG CUNNINGHAM                2111 N WEBSTER ST                                              KOKOMO             IN   46901‐5859
MARSH CANADA LIMITED             POSTAL STATION A                     P.O. BOX 9741                             TORONTO ON M5W 1R6
                                                                                                                CANADA
MARSH CARL J (470265)            WEITZ & LUXENBERG P.C.               180 MAIDEN LANE                                                NEW YORK           NY 10038
MARSH DONALD (436896)            ANGELOS PETER G LAW OFFICE           115 BROADWAY FRNT 3                                            NEW YORK           NY 10006‐1638
MARSH EDWIN L (407564)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                      STREET, SUITE 600
MARSH GERALD H (404569)          GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                      STREET, SUITE 600
MARSH GLOBAL PLACEMENT           PO BOX HM 2444                       HAMILTON HMJX                             BERMUDA
BERMUDALTD
MARSH GLOBAL PLACEMENT           CRAIG APPIN HOUSE                    PO BOX HM 2444 HAMILTON HMJX              BERMUDA
BERMUDALTD
MARSH GREG W LAW OFFICES OF      731 S 7TH ST                                                                                        LAS VEGAS          NV 89101‐6907
CHARTERED
MARSH JACQUELINE                 MARSH, ALBERT J                      760 MARKET ST STE 745                                          SAN FRANCISCO      CA   94102‐2308
MARSH JACQUELINE                 MARSH, JACQUELINE                    760 MARKET ST STE 745                                          SAN FRANCISCO      CA   94102‐2308
MARSH JESSOP, DORIS L            3005 LAFAYETTE CIR                                                                                  LANSING            MI   48906‐2415
MARSH JR, GERALD J               123 MOSHER DR                                                                                       TONAWANDA          NY   14150‐5246
MARSH JR, HAROLD S               850 BLUE WATER TRL                                                                                  SPRING CITY        TN   37381‐6117
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Name                         Address1                          Address2                       Address3          Address4               City                State Zip
MARSH JR, JOHN C             5291 DAYTON LIBERTY RD                                                                                    DAYTON               OH 45418‐1951
MARSH JR, LEONARD            3741 COUNTY ROAD 45                                                                                       LISMAN               AL 36912‐1907
MARSH JR, SAMUEL             522 WHITE ST                                                                                              FLINT                MI 48505‐4132
MARSH JR, TALCUM             3201 JANES AVE                                                                                            SAGINAW              MI 48601‐6359
MARSH JR, WILLIAM            231 SAYERSVILLE RD                                                                                        WARSAW               KY 41095‐9144
MARSH JR, WILLIAM W.         231 SAYERSVILLE RD                                                                                        WARSAW               KY 41095‐9144
MARSH KIMBERLY               MARSH, KIMBERLY                   300 NAPIER BRANCH ROAD                                                  HAZARD               KY 41701‐7279
MARSH LOWELL L (355281)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                             NORFOLK              VA 23510
                                                               STREET, SUITE 600
MARSH LTD                    UK OPERATIONS                     VICTORIA HOUSE ‐ QUEENS ROAD   NORWICH NR1 3QQ   UNITED KINGDOM GREAT
                                                                                                                BRITAIN
MARSH LTD UK OPERATIONS      VICTORIA HOUSE ‐ QUEENS ROAD      NORWICH NR1 3QQ                                  UNITED KINGDOM GREAT
                                                                                                                BRITAIN
MARSH MARINE & ENERGY        600 RENAISSANCE CTR STE 2100                                                                              DETROIT             MI 48243‐1809
MARSH NANCY A                30800 MUNGER ST                                                                                           LIVONIA             MI 48154‐6242
MARSH ROBERT D (481889)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                             NORFOLK             VA 23510
                                                               STREET, SUITE 600
MARSH SUPERMARKET            ATTN: DIANNA WRIGHT               1401 N WASHINGTON ST                                                    KOKOMO              IN   46901‐2212
MARSH SUPERMARKET PHARMACY   1920 S HOYT AVE                                                                                           MUNCIE              IN   47302‐3041
MARSH SUPERMARKETS, LLC      CHAD BEEMAN                       333 S FRANKLIN RD                                                       INDIANAPOLIS        IN   46219
MARSH THOMPSON JR            3202 PEARCE CT                                                                                            LITHONIA            GA   30038‐4805
MARSH TINA RENEE             MARSH, KARL                       120 COLLEGE ST                                                          ASHEVILLE           NC   28801‐3011
MARSH TINA RENEE             MARSH, TINA RENEE                 120 COLLEGE ST                                                          ASHEVILLE           NC   28801‐3011
MARSH USA INC                PO BOX 73376                                                                                              CHICAGO             IL   60673‐0001
MARSH USA INC DETROIT        600 RENAISSANCE CTR STE 2100                                                                              DETROIT             MI   48243‐1809
MARSH USA, INC.              LESLIE A. KRESS                   6 PPG PL STE 300                                                        PITTSBURGH          PA   15222‐5406
MARSH USA, INC.              600 RENAISSANCE CTR STE 2100                                                                              DETROIT             MI   48243‐1809
MARSH WILLIAM                2368 20 1/4 ST                                                                                            RICE LAKE           WI   54868‐9783
MARSH, ALBERT E              67 VAN RIPER AVE                                                                                          CLIFTON             NJ   07011‐1325
MARSH, ALBERT J              DONOHOE LAW OFFICES OF KAN TUNG   345 FRANKLIN ST # 202                                                   SAN FRANCISCO       CA   94102‐4427
MARSH, ALEXANDER             9124 N ELMS RD                                                                                            CLIO                MI   48420‐8509
MARSH, ALFONSO               4725 N 49TH ST                                                                                            MILWAUKEE           WI   53218‐5128
MARSH, ALONZO                PORTER & MALOUF PA                4670 MCWILLIE DR                                                        JACKSON             MS   39206‐5621
MARSH, ALVY J                45 SCHAEFER ROAD                                                                                          BUFFALO             NY   14218‐3725
MARSH, ANTHONY M             12313 E COUNTY RD 300 S                                                                                   GREENTOWN           IN   46936
MARSH, BARBARA L             580 STAFFORD AVE APT 9C                                                                                   BRISTOL             CT   06010‐4679
MARSH, BETH HAWKINS          4029 E COUNTY ROAD 67                                                                                     ANDERSON            IN   46017‐9548
MARSH, BETH HAWKINS          4029 E CR 67                                                                                              ANDERSON            IN   46017‐9548
MARSH, BETTY J               2765 MOREL DR                                                                                             HIGHLAND            MI   48356‐2770
MARSH, BETTY J               2605 MILTON LN                                                                                            THOMPSONS STATION   TN   37179‐5037
MARSH, BOBBI J               3206 DOVE DR SW                                                                                           WARREN              OH   44481‐9205
MARSH, CARL J                WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                         NEW YORK            NY   10038
MARSH, CARL L                195 FRIENDSHIP RD                                                                                         LAUREL              MS   39443‐9487
MARSH, CAROL E               4616 TURTLE RD                                                                                            TURNER              MI   48765‐9512
MARSH, CHARLES H             4901 GEORGIAN DR                                                                                          KETTERING           OH   45429‐5635
MARSH, CLARKE C              1357 DYE KREST CIR                                                                                        FLINT               MI   48532‐2224
MARSH, CLIFFORD J            2955 SETLAK RD                                                                                            STANDISH            MI   48658‐9152
MARSH, CLYDE O               2355 MIAMI BEACH DR                                                                                       FLINT               MI   48507‐1030
MARSH, DALE A                7757 ROCK CRK                                                                                             AVON                IN   46123‐7206
MARSH, DALLIS C              3555 MURD RD                                                                                              SYLVANIA            OH   43560‐9790
MARSH, DANIEL J              7348 MILHOUSE RD                                                                                          INDIANAPOLIS        IN   46221‐4429
MARSH, DANIEL JOE            7348 MILHOUSE RD                                                                                          INDIANAPOLIS        IN   46221‐4429
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Name                    Address1                           Address2                      Address3   Address4         City               State Zip
MARSH, DANIEL P         3827 TURKEYFOOT RD                                                                           WESTMINSTER         MD 21158‐2008
MARSH, DANNY L          2314 BELAIRE DR                                                                              LANSING             MI 48911‐1611
MARSH, DARBIE L         1108 WILLOW BEND DR                                                                          MEDINA              OH 44256‐4127
MARSH, DARRYL V         15723 GOLFVIEW DR                                                                            RIVERVIEW           MI 48193‐8093
MARSH, DAVID B          122 S WILDWOOD XING APT 4                                                                    LUDINGTON           MI 49431‐8744
MARSH, DAVID G          3713 BARN MEADOW CT                                                                          LAKE ORION          MI 48362‐2065
MARSH, DAVID J          11310 LINDEN RD                                                                              FENTON              MI 48430‐8906
MARSH, DAVID L          6039 W VIENNA RD                                                                             CLIO                MI 48420
MARSH, DAVID M          299 WILLOWBY LN                                                                              PINCKNEY            MI 48169‐9160
MARSH, DAVID W          14200 CLINTONIA RD                                                                           GRAND LEDGE         MI 48837‐9513
MARSH, DEBORAH A        14131 WINCHESTER ST                                                                          OAK PARK            MI 48237‐4109
MARSH, DELORES V        65 THREE BEE DR                                                                              KINGSTREE           SC 29556‐4999
MARSH, DEXTER L         720 EWING AVE APT 134                                                                        GADSDEN             AL 35901‐2594
MARSH, DON D            330 AUTUMN LN SW                                                                             DECATUR             AL 35601‐6830
MARSH, DONALD           12099 M‐68 HWY                                                                               MILLERSBURG         MI 49759
MARSH, DONALD           ANGELOS PETER G LAW OFFICE         115 BROADWAY FRNT 3                                       NEW YORK            NY 10006‐1638
MARSH, DONALD J         1327 DELTONA BLVD                                                                            SPRING HILL         FL 34606‐4410
MARSH, DONALD L         44 HOLLAND LN                                                                                WINDSOR             VA 23487
MARSH, DONALD M         761 HUNT ST APT 1                                                                            LOWELL              MI 49331‐1900
MARSH, DONALD M         PO BOX 916                                                                                   ADA                 MI 49301‐0916
MARSH, DOROTHY L        5816 BUICK DR                                                                                SPEEDWAY            IN 46224‐5321
MARSH, DOUGLAS C        7054 ROOT ST # 250C                                                                          MOUNT MORRIS        MI 48458
MARSH, EARL E           8215 N ELMS RD                                                                               FLUSHING            MI 48433‐8815
MARSH, EDWARD W         21909 MIDDLEBELT RD                                                                          FARMINGTON HILLS    MI 48336‐4930
MARSH, EDWIN L          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                           STREET, SUITE 600
MARSH, EILEEN           6663 E 19TH ST                                                                               INDIANAPOLIS       IN   46219‐2617
MARSH, ELLEN B          2820 BREAKERS CREEK DR                                                                       LAS VEGAS          NV   89134‐7312
MARSH, ELMER            3806 S 7TH ST                                                                                ONAWAY             MI   49765‐8616
MARSH, ERNEST D         2565 PEACH LAKE RD                                                                           WEST BRANCH        MI   48661‐9360
MARSH, EVELYN M         219 TRUMAN ST                                                                                HOUGHTON LAKE      MI   48629‐9654
MARSH, FLORENCE C       222 E MULBERRY ST                                                                            ANDERSON           IN   46012‐2428
MARSH, FLOYD G          1959 INDIAN LK                                                                               NATIONAL CITY      MI   48748
MARSH, FRANCES          1864 COLONIAL VILLAGE WAY UNIT#1                                                             WATERFORD          MI   48328‐1954
MARSH, FRANCES D        816 LINCOLN RD                                                                               GROSSE POINTE      MI   48230‐1287
MARSH, FRANK A          1506 CAMPBELL ST                                                                             SANDUSKY           OH   44870‐3403
MARSH, FRED A           919 CANDELA LN                                                                               GRAND LEDGE        MI   48837‐2240
MARSH, FREDERICK A      19 STEPHENVILLE ST                                                                           MASSENA            NY   13662‐2705
MARSH, GARY E           611 NE AMORY RD                                                                              SMITHVILLE         MO   64089‐8445
MARSH, GARY L           411 MERRITT ST                                                                               CHARLOTTE          MI   48813‐1986
MARSH, GARY R           7299 GRANDWOOD DR                                                                            SWARTZ CREEK       MI   48473‐9416
MARSH, GENE             7902 BIRCH DR                                                                                HAMMOND            IN   46324‐3329
MARSH, GEORGE JERRILL   SIMON JEFFREY B                    1201 N WATSON RD STE 145                                  ARLINGTON          TX   76006‐6223
MARSH, GEORGE L         11838 S JUSTINE ST                                                                           CHICAGO            IL   60643‐5016
MARSH, GEORGE W         4405 ARCO AVE                                                                                SAINT LOUIS        MO   63110‐1601
MARSH, GERALD E         456 SANDS RD                                                                                 ORTONVILLE         MI   48462‐8808
MARSH, GERALD H         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                           STREET, SUITE 600
MARSH, GLEN C           1707 MILLVILLE RD                                                                            LAPEER             MI   48446‐7709
MARSH, GORDON D         2789 SANDICREST DR                                                                           CANTONMENT         FL   32533‐7662
MARSH, GRACIA E         PO BOX 205                                                                                   AUBURN             MI   48611‐0205
MARSH, HAROLD           1266 W GREENWOOD RD                                                                          ALGER              MI   48610‐9609
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Name                 Address1                            Address2                 Address3   Address4         City            State Zip
MARSH, HAROLD L      1530 ROXIE AVE                                                                           FAYETTEVILLE     NC 28304‐1616
MARSH, HAROLD N      516 E COTTAGE AVE                                                                        W CARROLLTON     OH 45449‐1352
MARSH, HARRIET E     10800 N CASSEL RD                                                                        VANDALIA         OH 45377‐9429
MARSH, IDERS         25 SOUTH DR                                                                              AMHERST          NY 14226‐4119
MARSH, IRENE W       GOLDENBERG, MILLER, HELLER &        PO BOX 959                                           EDWARDSVILLE      IL 62025‐0959
                     ANTOGNOLI
MARSH, IRENE W       C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                               EDWARDSVILLE     IL   62025
                     ROWLAND PC
MARSH, IRMA A        24780 PICARA DR                     C/O CHERYL ANN KOHRING                               NOVI            MI    48374‐2972
MARSH, JACK R        901 E PINE ST APT B                                                                      HARRISONVILLE   MO    64701‐2782
MARSH, JACQUELINE    DONOHOE LAW OFFICES OF KAN TUNG     345 FRANKLIN ST # 202                                SAN FRANCISCO   CA    94102‐4427
MARSH, JAMES A       1217 WINDSOR DR                                                                          HATTIESBURG     MS    39402
MARSH, JAMES A       199 FRIENDSHIP RD                                                                        LAUREL          MS    39443‐9487
MARSH, JAMES F       3771 BRYANT DR                                                                           YOUNGSTOWN      OH    44511‐1151
MARSH, JAMES L       4000 WESTEND AVE                                                                         OKLAHOMA CITY   OK    73160‐4009
MARSH, JEAN B        5345 FAUSSETT RD                                                                         HOWELL          MI    48855‐9239
MARSH, JEFFREY M     9680 GEIST WOODS CT                                                                      INDIANAPOLIS    IN    46256‐9632
MARSH, JERRY G       4616 TURTLE RD                                                                           TURNER          MI    48765‐9512
MARSH, JERRY L       8052 PINCKNEY RD                                                                         PINCKNEY        MI    48169‐8552
MARSH, JOHN          702 COUNTY 556                                                                           POPLAR BLUFF    MO    63901
MARSH, JOHN A        9560 WARWICK ST                                                                          DETROIT         MI    48228‐1323
MARSH, JOHN E        143 FOX POND LN                                                                          OCILLA          GA    31774‐3281
MARSH, JOHN W        PO BOX 464444                                                                            LAWENCEVILLE    GA    30044
MARSH, JOSEPH D      2413 W SHEFFIELD DR                                                                      MUNCIE          IN    47304‐1444
MARSH, JOSEPH W      100 SANDIRON CT                                                                          BALDWINSVILLE   NY    13027‐3363
MARSH, JOSEPHINE S   337 EASTLAND AVE SE                                                                      WARREN          OH    44483‐6316
MARSH, JOSETTE M     995 ARLENE CT                                                                            FOWLERVILLE     MI    48836‐9401
MARSH, JOYCE J       572 SHARON ST                                                                            WATERFORD       MI    48328‐2149
MARSH, JUDITH        3115 MEGAN DR                                                                            WATERFORD       MI    48328‐2587
MARSH, JUDITH E      188 SPICEWOOD LN                                                                         POWELL          OH    43065
MARSH, JUDITH E      1115 DECHANT CT                                                                          COLUMBUS        OH    43229‐5502
MARSH, KAREN         5202 COTO PL                                                                             VALRICO         FL    33596‐8264
MARSH, KARL          C/O LOVINS LAW FIRM PA              120 COLLEGE ST                                       ASHEVILLE       NC    28801‐3011
MARSH, KATHERINE W   850 BLUE WATER TRL                                                                       SPRING CITY     TN    37381‐6117
MARSH, KATHLEEN A    1002 DELAWARE RD                                                                         BUFFALO         NY    14223‐1008
MARSH, KATHRYN M     526 CLYDE PL                                                                             VANDALIA        OH    45377‐1825
MARSH, KENNETH       28 SWAN LN                                                                               LEVITTOWN       PA    19055‐2224
MARSH, KENNETH A     44 W COUNTY ROAD 1000 S                                                                  CLAYTON         IN    46118‐9267
MARSH, KENNETH E     904 TOM OSBORNE RD                                                                       COLUMBIA        TN    38401‐6737
MARSH, KENNETH J     133 FRIENDSHIP RD                                                                        LAUREL          MS    39443‐9432
MARSH, KENNETH L     551 PARK DRIVE                                                                           KENILWORTH      IL    60043‐1004
MARSH, KENNETH M     3518 PHEASANT RUN NE                C/O PATSY MARSH AHONEN                               BLAINE          MN    55449‐6007
MARSH, KIMBERLY      300 NAPIER BRANCH RD                                                                     HAZARD          KY    41701‐7279
MARSH, KYLE A        1917 VOULL ST APT 15                                                                     NILES           OH    44445‐4024
MARSH, KYLE A        1479 SALT SPRINGS RD                                                                     NILES           OH    44446‐1347
MARSH, LARRY L       1632 LEXINGTON AVE APT 21                                                                MANSFIELD       OH    44907‐2943
MARSH, LARRY L       8820 W US 36                                                                             MIDDLETOWN      IN    47356
MARSH, LARRY M       630 FOREST AVE                                                                           GREENWOOD       IN    46143‐1747
MARSH, LAURIE L      36729 WEIDEMAN ST                                                                        CLINTON TWP     MI    48035‐1667
MARSH, LAWRENCE C    2582 BELLE VIEW DR                                                                       SHELBY TWP      MI    48316‐2927
MARSH, LAWRENCE C    20350 PARKE RST                                                                          LIVONIA         MI    48152‐4228
MARSH, LEON J        19 OAKHURST LN                                                                           HOLLISTON       MA    01746‐2435
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Name                    Address1                           Address2                      Address3   Address4         City              State Zip
MARSH, LEWIS E          4425 W 30TH ST                                                                               INDIANAPOLIS       IN 46222‐1568
MARSH, LINDA            1204 ALEXANDRIA PIKE                                                                         ANDERSON           IN 46012‐2611
MARSH, LIO R            PO BOX 241                                                                                   DIMONDALE          MI 48821‐0241
MARSH, LORRAINE E       481 REAGAN RD                                                                                WINTHROP           NY 13697‐3118
MARSH, LORRAINE V       726 WEST JEFFERSON ST              APT 4                                                     GRAND LEDGE        MI 48837
MARSH, LORRAINE V       216 S CLINTON ST                   APT 508                                                   GRAND LEDGE        MI 48837‐2057
MARSH, LOWELL L         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                           STREET, SUITE 600
MARSH, LUCILLE M        110 REA                                                                                      WATERFORD         MI   48328‐3055
MARSH, LYNNE A          1773 REDWOOD LN                                                                              MIDDLEBURG        FL   32068‐6817
MARSH, MAC A            110 BLOSSOM LN                                                                               NILES             OH   44446‐2031
MARSH, MAE              3311 FULTON ST                                                                               SAGINAW           MI   48601
MARSH, MARIE            5239 ARGYLE                                                                                  DEARBORN          MI   48126‐3184
MARSH, MARIE            5239 ARGYLE ST                                                                               DEARBORN          MI   48126‐3184
MARSH, MARJORIE A       4185 ASHGROVE DR                                                                             GROVE CITY        OH   43123‐3377
MARSH, MARJORIE G       5708 W 164TH ST                    C/O JUDY A. WHITNEY                                       STILWELL          KS   66085‐9180
MARSH, MARJORIE J
MARSH, MARLENE M        19 OAKHURST LN                                                                               HOLLISTON         MA   01746‐2435
MARSH, MARSHALL         65 THREE BEE DR,                                                                             KINGS TREE        SC   29556
MARSH, MARY             12020 ASHTON AVE                                                                             DETROIT           MI   48228‐1139
MARSH, MARY L           6686 LAMBERT RD                                                                              ORIENT            OH   43146‐9216
MARSH, MARY L           1836 BIERSTAD DR                                                                             POWELL            OH   43065‐9014
MARSH, MARY L           5316 COBLE ST                                                                                OKLAHOMA CITY     OK   73135‐1514
MARSH, MARY L           110 BLOSSOM LN                                                                               NILES             OH   44446‐2031
MARSH, MATTHEW A        299 RINEHART ROAD                                                                            BELLVILLE         OH   44813‐9176
MARSH, MAURICE          2542 CORNELL DR                                                                              LAPEER            MI   48446‐3412
MARSH, MICHAEL D        1777 N HICKORY RIDGE TRL                                                                     MILFORD           MI   48380‐3137
MARSH, MICHAEL DAVID    1777 N HICKORY RIDGE TRL                                                                     MILFORD           MI   48380‐3137
MARSH, MICHAEL E        813 LENORE AVE                                                                               LANSING           MI   48910‐2766
MARSH, MICHAEL E        7010 DELLBANK DR                                                                             CLEVELAND         OH   44144‐1627
MARSH, MICHAEL E        2515 PHALANX MILLS HERNER RD                                                                 SOUTHINGTON       OH   44470‐9515
MARSH, MICHAEL J        7295 CRESTMORE ST                                                                            WEST BLOOMFIELD   MI   48323‐1315
MARSH, MICHAEL J        4637 N 200 E                                                                                 ANDERSON          IN   46012‐9515
MARSH, MICHAEL JOSEPH   4637 N 200 E                                                                                 ANDERSON          IN   46012‐9515
MARSH, MICHAEL L        PO BOX 251                         100 BENNETT DRIVE                                         MARKLEVILLE       IN   46056‐0251
MARSH, MICHAEL W        2096 DARKS MILL RD                                                                           COLUMBIA          TN   38401‐7261
MARSH, MURIEL L         275 MULFORD LN                                                                               ROSELLE           IL   60172‐1859
MARSH, MURRAY S         8495 BRIDGE HWY                                                                              DIMONDALE         MI   48821‐9726
MARSH, NANCY
MARSH, NANCY A          30800 MUNGER ST                                                                              LIVONIA           MI   48154‐6242
MARSH, NORMA L          7879 KENDALL RD                                                                              COLUMBUS          MI   48063‐2703
MARSH, PATRICIA         11 BRONX RIVER RD APT 2C                                                                     YONKERS           NY   10704‐4418
MARSH, PATRICIA A       G3367 MACKIN RD                                                                              FLINT             MI   48504‐3280
MARSH, PATRICK S        3991 W KENTUCKY AVE                                                                          DENVER            CO   80219‐3251
MARSH, PAUL K           117 OLD NICHOLS CIR                                                                          AUBURNDALE        FL   33823‐9276
MARSH, PAUL R           1551 PINECREST RD                                                                            FORT MYERS        FL   33919‐6429
MARSH, PAUL R           11285 LAKELAND CIRCLE                                                                        FORT MYERS        FL   33913‐6923
MARSH, PAULA            1723 INDIAN LAKES RD                                                                         CEDAR SPRINGS     MI   49319‐9443
MARSH, PAULA J          1723 INDIAN LAKES RD                                                                         CEDAR SPRINGS     MI   49319‐9443
MARSH, PAULINE          ROUTE 1 BOX 165 D                                                                            TYNER             KY   40486
MARSH, PEGGY K          7832 HERITAGE DR APT 2                                                                       LANSING           MI   48917‐6802
MARSH, PHYLLIS P        4959 BEECHWOOD CIR                                                                           AVON              IN   46123‐4621
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Name                         Address1                          Address2                      Address3   Address4         City               State Zip
MARSH, PLYDE P               110 PINE NEEDLE RD                                                                          FITZGERALD          GA 31750‐8456
MARSH, RAYMOND J             8190 STANLEY RD                                                                             FLUSHING            MI 48433‐1110
MARSH, RENEE                 48 BRIAR LN                                                                                 BEECH GROVE         IN 46107‐1622
MARSH, RICARDO               811 RAINBOW DR                                                                              KOKOMO              IN 46902‐3699
MARSH, RICHARD A             32344 MAYFAIR LN                                                                            BEVERLY HILLS       MI 48025‐2921
MARSH, RICHARD G             9565 MOON RD                                                                                SALINE              MI 48176‐9448
MARSH, RICHARD K             51196 FORSTER LN                                                                            SHELBY TOWNSHIP     MI 48316‐3874
MARSH, RICHARD L             4811 PALMYRA RD SW                                                                          WARREN              OH 44481‐9784
MARSH, RICHARD L             4254 PALMYRA RD SW                                                                          WARREN              OH 44481‐9709
MARSH, ROBERT B              2804 VIRGINIA AVE SE                                                                        WARREN              OH 44484‐3268
MARSH, ROBERT D              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                               STREET, SUITE 600
MARSH, ROBERT E              901 LAYTON RD                                                                               ANDERSON           IN   46011‐1525
MARSH, ROBERT E              4539 12TH STREET CT E                                                                       ELLENTON           FL   34222‐2754
MARSH, ROBERT L              1324 ARROW SHEATH DR                                                                        W CARROLLTON       OH   45449‐2309
MARSH, ROBERT W              3817 MARMION AVE                                                                            FLINT              MI   48506‐4241
MARSH, ROBERT WILLIAM        3817 MARMION AVE                                                                            FLINT              MI   48506‐4241
MARSH, RONALD                11084 EFFIE DR                                                                              EVART              MI   49631‐9658
MARSH, RONALD C              1782 NSE BOUTELL RD                                                                         ESSEXVILLE         MI   48732
MARSH, RONALD T              10065 E STANLEY RD                                                                          DAVISON            MI   48423‐9376
MARSH, ROSE M.               41 ARKANSAS ST                                                                              BUFFALO            NY   14213‐1746
MARSH, ROSE M.               41 ARKANSAS ST.                                                                             BUFFALO            NY   14213‐1746
MARSH, ROSEMARY LYNN         W17500 APT 49 WHISPERING PINE                                                               CURTIS             MI   49820
MARSH, ROSEMARY LYNN         # 49                              W17500 WHISPERING PINE ROAD                               CURTIS             MI   49820‐9627
MARSH, ROSETTA M             3431 W PRIMROSE ST                                                                          SPRINGFIELD        MO   65807‐8239
MARSH, RUTH                  8740 TRENTON DR                                                                             WHITE LAKE         MI   48386‐4377
MARSH, SAMUEL                G3367 MACKIN RD                                                                             FLINT              MI   48504‐3280
MARSH, SAMUEL                602 S POPLAR AVE                                                                            ANDREWS            SC   29510‐2867
MARSH, SHIRLEY R             3109 E LYNN ST                                                                              ANDERSON           IN   46016‐5639
MARSH, SHIRLEY R             7142 N BRAY RD                                                                              MOUNT MORRIS       MI   48458‐8989
MARSH, SONJA R               9776 N COUNTY LINE RD                                                                       BROOKVILLE         OH   45309‐9525
MARSH, SR., ESQ.,WILLIAM F   36729 WEIDEMAN ST                                                                           CLINTON TOWNSHIP   MI   48035‐1667
MARSH, STEPHEN D             2450 KROUSE RD LOT 439                                                                      OWOSSO             MI   48867‐8113
MARSH, STEPHEN W             10004 E 35TH TER S                                                                          INDEPENDENCE       MO   64052‐1108
MARSH, STEVE M               216 THUNDERBIRD DR.                                                                         HARVEST            AL   35749‐9605
MARSH, STEVEN A              9514 ROSSMAN HWY                                                                            EATON RAPIDS       MI   48827‐8335
MARSH, STEVEN A              1034 PAMELA DR                                                                              PLAINFIELD         IN   46168‐9279
MARSH, STEVEN ALLEN          9514 ROSSMAN HWY                                                                            EATON RAPIDS       MI   48827‐8335
MARSH, STUART                207 CHEROKEE DR                                                                             BURNEYVILLE        OK   73430‐9645
MARSH, SUE B                 516 E COTTAGE AVE                                                                           W CARROLLTON       OH   45449‐1352
MARSH, TERRY L               5006 HAYS DR                                                                                COLUMBIA           TN   38401‐5072
MARSH, THOMAS                5122 GAULT RD                                                                               NORTH JACKSON      OH   44451‐9764
MARSH, THOMAS C              9050 WARWICK ST                                                                             DETROIT            MI   48228‐1731
MARSH, THOMAS G              1864 COLONIAL VILLAGE WAY APT 1                                                             WATERFORD          MI   48328‐1954
MARSH, THOMAS H              1723 INDIAN LAKES RD                                                                        CEDAR SPRINGS      MI   49319‐9443
MARSH, THOMAS M              329 E 35TH ST                                                                               ANDERSON           IN   46013‐4625
MARSH, TIMOTHY               PO BOX 50241                                                                                MIDWEST CITY       OK   73140‐5241
MARSH, TIMOTHY J             21210 REDCREST MANOR DR.                                                                    RICHMOND           TX   77406‐3775
MARSH, TIMOTHY J             26172 ROCKRIDGE CT                                                                          FLAT ROCK          MI   48134‐1894
MARSH, TINA                  904 TOM OSBORNE RD                                                                          COLUMBIA           TN   38401‐6737
MARSH, TINA RENEE            C/O LOVINS LAW FIRM PA            120 COLLEGE ST                                            ASHEVILLE          NC   28801‐3011
MARSH, VAN R                 PO BOX 531                                                                                  ELM GROVE          WI   53122‐0531
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Name                     Address1                           Address2                   Address3           Address4         City            State Zip
MARSH, VICKI S           4637 N 200 E                                                                                      ANDERSON         IN 46012
MARSH, VINCENT C         213 S COVENTRY DR                                                                                 ANDERSON         IN 46012‐3216
MARSH, VINCENT CROUSE    213 S COVENTRY DR                                                                                 ANDERSON         IN 46012‐3216
MARSH, VIOLA L           2307 W JEFFERSON ST APT D332                                                                      KOKOMO           IN 46901‐4156
MARSH, VIRGIL A          4806 S HIGH RIDGE TER                                                                             HOMOSASSA        FL 34446‐1923
MARSH, W P               5575 OLD ORCHARD RD                                                                               PRUDENVILLE      MI 48651‐9312
MARSH, WALTER F          9 MAPLE ST                                                                                        OXFORD           MI 48371‐4642
MARSH, WALTER M          2433 TOWNSEND ST                                                                                  DETROIT          MI 48214‐1728
MARSH, WANDA J           7864 MEADOWCREEK DRIVE                                                                            CINCINNATI       OH 45244‐2964
MARSH, WANDA J           7864 MEADOW CREEK DR                                                                              CINCINNATI       OH 45244
MARSH, WARREN            855 LANE WEST RD SW                                                                               WARREN           OH 44481‐9753
MARSH, WILLIAM A         32885 SORRENTO LN                  SORRENTO                                                       AVON LAKE        OH 44012‐2388
MARSH, WILLIAM B         PO BOX 313                                                                                        WILBERFORCE      OH 45384‐0313
MARSH, WILLIAM C         702 CIMARRON AVE                                                                                  LADY LAKE        FL 32159‐9490
MARSH, WILLIAM G         5575 OLD ORCHARD RD                                                                               PRUDENVILLE      MI 48651‐9312
MARSH, WILLIAM H         304 NORTHLAND AVE                                                                                 BUFFALO          NY 14208‐1235
MARSH, WILLIAM R         4375 E BENNINGTON RD                                                                              DURAND           MI 48429‐9146
MARSH, WYMAN L           3424 S COUNTY ROAD 475 E                                                                          PLAINFIELD       IN 46168‐8327
MARSH, YVONNE D.         PO BOX 142                                                                                        SUNFIELD         MI 48890‐0142
MARSH‐BOBIER, BRENDA S   112 WARWICK CT                                                                                    ELYRIA           OH 44035‐4626
MARSH‐LINDSEY, CHARLES   PO BOX 27                                                                                         TEMPERANCE       MI 48182‐0027
MARSHA A AHLANDER        4333 POST DR                                                                                      FLINT            MI 48532‐2673
MARSHA A BELLAMY         3841 N BENNINGTON AVE                                                                             KANSAS CITY      MO 64117‐7803
MARSHA A BROWN           197 E BRYANT ST                                                                                   FRANKLIN         OH 45005‐1507
MARSHA A CARSON          403 BURKE AVE SE                                                                                  ATTALLA          AL 35954‐3624
MARSHA A EASTWOOD        13947 NE 10TH ST                                                                                  CHOCTAW          OK 73020‐8116
MARSHA A GARDNER         4165 HIGHWAY 169                                                                                  MOORINGSPORT     LA 71060‐9413
MARSHA A GIBSON‐BEMER    4550 N FLOWING WELLS RD UNIT 170                                                                  TUCSON           AZ 85705‐2381
MARSHA A GILBERT         907 WEBSTER STREET                                                                                DAYTON           OH 45404
MARSHA A GREINER TTEE    HERBERT & MARSHA GREINER TR UAD    FBO ELIZABETH ANNE KIRBY   332 LAKE ERIE DR                    MULBERRY         FL 33860‐7537
                         7/11/94
MARSHA A MCCULLOUGH      4018 MIDDLEHURST LANE                                                                             DAYTON          OH   45406
MARSHA A SCOTT           1169 EVERETT HULL ROAD                                                                            CORTLAND        OH   44410
MARSHA A WATERS          708 CLEVERLY RD                                                                                   DAYTON          OH   45417‐1211
MARSHA ADKINS            67 EISENHOWER DR                                                                                  DAYTON          OH   45431‐1307
MARSHA AHLANDER          4333 POST DR                                                                                      FLINT           MI   48532‐2673
MARSHA ANDERSON          2815 OSLER DR APT 1201                                                                            GRAND PRAIRIE   TX   75051‐1043
MARSHA ANTHONY           19710 HUNTINGTON RD                                                                               DETROIT         MI   48219‐2197
MARSHA B FALER           6018 DOWNS ROAD                                                                                   WARREN          OH   44481‐9417
MARSHA BAIN              816 SAVANNAH PLACE DR                                                                             FORT MILL       SC   29715‐7088
MARSHA BAIR              540 LIVE OAK AVE                                                                                  ORANGE CITY     FL   32763‐6727
MARSHA BARBER            8886 DIXIE HWY                                                                                    BIRCH RUN       MI   48415‐8928
MARSHA BEDFORD           5042 E RANCHO TIERRA DR                                                                           CAVE CREEK      AZ   85331‐5914
MARSHA BEMIS             7801 W ADARE DR                                                                                   MUNCIE          IN   47304‐9434
MARSHA BERGSTROM         ACCT OF ROGER O FARRINGTON         144 HAMPTON AVE                                                WEST POINT      IL   32742
MARSHA BERTRAM           4016 STANTON DR                                                                                   FORT WAYNE      IN   46815‐5044
MARSHA BLACKBURN         1253 SHADY VALLEY LN                                                                              CLAREMONT       NC   28610‐7402
MARSHA BOGGS             12 EMS B6C LN                                                                                     LEESBURG        IN   46538‐8969
MARSHA BREWER            10333 W TITTABAWASSEE RD                                                                          FREELAND        MI   48623‐9257
MARSHA BRILEY            5812 S HIGH SCHOOL RD                                                                             INDIANAPOLIS    IN   46221‐4016
MARSHA BROWN             9509 RIGGS ST                                                                                     SHAWNEE MSN     KS   66212‐1539
MARSHA BROZEWSKI         3545 KLENDER RD                                                                                   RHODES          MI   48652‐9736
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Name                Address1                        Address2                Address3   Address4         City             State Zip
MARSHA BUNTON       8962 BRISTOL CT                                                                     YPSILANTI         MI 48198‐3204
MARSHA BURKE        2360 MONTGOMERY AVE NW                                                              WARREN            OH 44485‐1420
MARSHA BUTTRAM      206 LOOKOUT DR                                                                      COLUMBIA          TN 38401‐6195
MARSHA C MANUS      219 PAULO DRIVE                                                                     WARREN            OH 44483
MARSHA CARTER       2217 PAMELA PL                                                                      LANSING           MI 48911‐1659
MARSHA CLASON       160 MANITOU LN APT 17A                                                              LAKE ORION        MI 48362‐1577
MARSHA CLEM         342 DANERN DR                                                                       BEAVERCREEK       OH 45430‐2005
MARSHA CLEMENTS     218 KEYSTONE ST                                                                     BUFFALO           NY 14211‐2546
MARSHA COFFEY       7278 6 MILE RD                                                                      NORTHVILLE        MI 48168‐9453
MARSHA CORNETT      1128 S CALUMET ST                                                                   KOKOMO            IN 46902‐1841
MARSHA COWART       6523 AMHERST WAY                                                                    ZIONSVILLE        IN 46077‐9144
MARSHA CRAWFORD     PO BOX 713                                                                          VANDALIA          OH 45377‐0713
MARSHA CREEK        2905 W MOSHER ST                                                                    BALTIMORE         MD 21216‐4202
MARSHA CROFT        2076 TIMBER CREEK DR E                                                              CORTLAND          OH 44410‐1809
MARSHA D ANDERSON   16 TOWN HOUSE CT.                                                                   DAYTON            OH 45406‐1533
MARSHA D CAMP       346 JORDAN AVE                                                                      ROCHESTER         NY 14606‐4118
MARSHA D CORNETT    1128 S CALUMET ST                                                                   KOKOMO            IN 46902‐1841
MARSHA DALY         8552 JASONVILLE CT SE                                                               CALEDONIA         MI 49316‐8125
MARSHA DAVIS        1085 TERREL CT                                                                      CANTON            MI 48187‐3465
MARSHA DESROCHERS   4212 LAKE KNOLLS DR                                                                 OXFORD            MI 48371‐5411
MARSHA DIXSON       549 EASTLOOK DR                                                                     SALINE            MI 48176‐1556
MARSHA DORSEY       556 MOTHER GASTON BLVD APT 3B                                                       BROOKLYN          NY 11212‐7366
MARSHA DRISCOLL     1240 RUSH SCOTTSVILLE RD                                                            RUSH              NY 14543‐9783
MARSHA DUNCAN       3052 W APPLEWOOD CT             APPLEWOOD PARK VILLAS                               MUNCIE            IN 47304‐7503
MARSHA E CREEK      2905 W MOSHER ST                                                                    BALTIMORE         MD 21216‐4202
MARSHA E FREEMAN    2742 OXFORD AVE                                                                     DAYTON            OH 45406‐4336
MARSHA E KNOWLES    5276 EDGEMERE DR                                                                    FLORISSANT        MO 63033‐7737
MARSHA E MOORE      2325 OAKRIDGE DR                                                                    DAYTON            OH 45417
MARSHA E PEOPLES    6080 LAKEVIEW RD APT 4207                                                           WARNER ROBINS     GA 31088‐9165
MARSHA E THOMPSON   1101 SUNNYVIEW STREET                                                               DAYTON            OH 45406
MARSHA EASLEY       2259 OXLEY DR                                                                       WATERFORD         MI 48328‐1834
MARSHA EASTWOOD     13947 NE 10TH ST                                                                    CHOCTAW           OK 73020‐8116
MARSHA ECHOLS       6417 S LANGLEY AVE FL 2                                                             CHICAGO            IL 60637‐3431
MARSHA EDELMAN      4202 OKALONA RD                                                                     SOUTH EUCLID      OH 44121‐3149
MARSHA EMMONS       175 CHESTNUT ST                                                                     WILSON            NY 14172‐9662
MARSHA ERKARD       18841 PEMBROKE AVE                                                                  DETROIT           MI 48219‐2130
MARSHA F ANTHONY    19710 HUNTINGTON RD                                                                 DETROIT           MI 48219‐2197
MARSHA FAIRCLOTH    8852 FM 603                                                                         CLYDE             TX 79510
MARSHA FALER        6018 DOWNS RD NW                                                                    WARREN            OH 44481‐9417
MARSHA FINES        PO BOX 1346                                                                         MUSKEGON          MI 49443‐1346
MARSHA FLENOY       1928 HURSTON CT                                                                     CLEVELAND         OH 44121‐1249
MARSHA FLETCHER     2200 W RHOBY RD                                                                     LAKE CITY         MI 49651‐9715
MARSHA FORSYTH      111 FAIRHAVEN DR                                                                    CROSSVILLE        TN 38558‐8694
MARSHA FRAZIER      7280 MEADOW POINT DR                                                                STONE MOUNTAIN    GA 30087‐6351
MARSHA FREDERICKS   PO BOX 1508                                                                         SOUTH DENNIS      MA 02660‐1602
MARSHA FULLER       797 STEWART RD                                                                      ANDERSON          IN 46012‐9609
MARSHA G DRISCOLL   1240 SCOTTSVILLE RD                                                                 RUSH              NY 14543
MARSHA G OUSLEY     1203 WHALEYS OVERLOOK                                                               KODAK             TN 37764
MARSHA G WELCH      214 W. BOITNOTT DR                                                                  UNION             OH 45322‐3207
MARSHA GARDNER      4165 HIGHWAY 169                                                                    MOORINGSPORT      LA 71060‐9413
MARSHA GEBHARDT     1122 GLENDALE ST                                                                    BURTON            MI 48509‐1938
MARSHA GEORGE       3700 PINTAIL DR                                                                     JANESVILLE        WI 53546‐1174
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Name                     Address1                           Address2           Address3      Address4         City                  State Zip
MARSHA GIBSON‐BEMER      4550 N FLOWING WELLS RD UNIT 170                                                     TUCSON                 AZ 85705‐2381
MARSHA GIDDENS           1129 W MAIN ST UNIT 25                                                               FRANKLIN               TN 37064‐3153
MARSHA GILDIN            66 OVERLOOK TERRACE                APT 5N                                            NEW YORK               NY 10040‐3827
MARSHA GIRDLEY           PO BOX 43                                                                            OWENSBURG              IN 47453‐0043
MARSHA GORDON            1711 LAKE SHORE DR APT G                                                             ANDERSON               IN 46012‐4954
MARSHA GREEN             152 WAKEFIELD AVE                                                                    BUFFALO                NY 14214‐2232
MARSHA GRIMSTAD          25779 KILREIGH CT                                                                    FARMINGTON HILLS       MI 48336‐1546
MARSHA GUAGLIANONE       5463 LENORE AVE                                                                      LIVERMORE              CA 94550‐2365
MARSHA H CHASTAIN        PO BOX 314                                                                           FLORA                  MS 39071
MARSHA H HOLSTEIN        585 FANTASY LN                                                                       ANDERSON               IN 46013‐1163
MARSHA HALL‐JENKINS      1059 MARIAN CT                                                                       GROSSE POINTE WOODS    MI 48236‐1254
MARSHA HARE              1613 THORNDALE ST                                                                    INDIANAPOLIS           IN 46214‐3263
MARSHA HENDERSON         1595 ZURICH DR                                                                       FLORISSANT             MO 63031‐8344
MARSHA HIGH              1924 BRIAR MEADOW DR                                                                 ARLINGTON              TX 76014‐2607
MARSHA HIPSHER           102 SKOKIAAN DR                                                                      FRANKLIN               OH 45005‐1542
MARSHA HOGERHEIDE        5499 WINDERMERE DR                                                                   GRAND BLANC            MI 48439‐9631
MARSHA HOLMON            7903 SHAKER CT                                                                       FORT WAYNE             IN 46804‐5709
MARSHA HOLSTEIN          585 FANTASY LN                                                                       ANDERSON               IN 46013‐1163
MARSHA HUBBARD           8609 DENNISON ASHTABULA RD                                                           NORTH BLOOMFIELD       OH 44450‐9732
MARSHA HUSER             5872 N PEPPEREEL WAY                                                                 MC CORDSVILLE          IN 46055‐6012
MARSHA HYDER             7648 KEMPTON PARK DR                                                                 SHREVEPORT             LA 71129‐3933
MARSHA ILG IRA ACCOUNT   MARSHA ILG                         1213 VIA VISALIA                                  SAN CLEMENTE           CA 92672
MARSHA INGRAM            1710 WESTVIEW AVE                                                                    DANVILLE                IL 61832‐1915
MARSHA INLOES            8432 MORRISH RD                                                                      FLUSHING               MI 48433‐8850
MARSHA IVY               11723 SPRING SONG DR                                                                 SAN ANTONIO            TX 78249‐2700
MARSHA J OTT             PO BOX 561                                                                           TAZEWELL               TN 37879
MARSHA J TERRA           15 WINFIELD AVE                                                                      LANCASTER              NY 14086
MARSHA J ZACKSCHEWSKI    2235 EDWARD DR                                                                       KOKOMO                 IN 46902‐6503
MARSHA JOHNSON           14521 MCGUIRE ST                                                                     TAYLOR                 MI 48180‐4468
MARSHA JOHNSON           1004 BARRY LN                                                                        CLEBURNE               TX 76031‐7761
MARSHA JOHNSON           PO BOX 251441                                                                        W BLOOMFIELD           MI 48325‐1441
MARSHA JOHNSON           1635 KINGS MILL CT                                                                   DAYTON                 OH 45406‐3572
MARSHA JOHNSTON          1204 N MCCANN ST                                                                     KOKOMO                 IN 46901‐2664
MARSHA K PARKS           15430 FITZGERALD ST                                                                  LIVONIA                MI 48154‐1804
MARSHA K WHITING         4945 SEVILLE DR                                                                      ENGLEWOOD              OH 45322‐3532
MARSHA KINCAID           PO BOX 235                                                                           EASTPOINTE             MI 48021‐0235
MARSHA KING              6206 BERMUDA LN                                                                      MOUNT MORRIS           MI 48458‐2625
MARSHA KLOBOVES          5230 COPELAND AVE NW                                                                 WARREN                 OH 44483‐1230
MARSHA KNOWLES           5276 EDGEMERE DR                                                                     FLORISSANT             MO 63033‐7737
MARSHA KOSKI             1621 WENONAH LN                                                                      SAGINAW                MI 48638‐4490
MARSHA KRAUSE            8152 LAFAYETTE AVE                                                                   CASHTON                WI 54619‐8165
MARSHA KROLIKOWSKI       37050 W ARAGONA DR                                                                   CLINTON TWP            MI 48036‐2009
MARSHA L AREHART         9647 VISTA DEL SOL                                                                   SPRING VALLEY          CA 91977
MARSHA L BERTRAM         4016 STANTON DR                                                                      FORT WAYNE             IN 46815‐5044
MARSHA L COFFEY          7278 6 MILE RD                                                                       NORTHVILLE             MI 48168‐9453
MARSHA L COWART          6523 AMHERST WAY                                                                     ZIONSVILLE             IN 46077
MARSHA L HYPES           3305 RAVINE PL                                                                       MAINVILLE              OH 45039
MARSHA L KOVACH          612 WYNDCLIFT CIR                                                                    AUSTINTOWN             OH 44515
MARSHA L LOPATIN         414 NICK ST                                                                          NEWARK                 DE 19702‐4158
MARSHA L LOREE           5055 MARILYN DR                                                                      FLINT                  MI 48506‐1578
MARSHA L MILIMAKI        83 PUTNAM AVE                                                                        PONTIAC                MI 48342‐1266
MARSHA L SJOBERG
                       09-50026-mg            Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                   Address1                          Address2          Address3        Address4         City            State Zip
MARSHA L SUKUP         2120 MILLER RD                                                                       FLINT            MI 48503‐4727
MARSHA L THOMAS        6161 HALIFAX DR                                                                      LANSING          MI 48911‐6455
MARSHA LECK TRUSTEE    14224 N CALUMET RD                                                                   CALUMET          OK 73014‐9009
MARSHA LEE CRAWFORD    P O BOX 713                                                                          VANDALIA         OH 45377‐713
MARSHA LEWIS           819 HAWTHORNE PL                                                                     EDMOND           OK 73003‐5017
MARSHA LISBY           2203 HUMMINGBIRD LN                                                                  ALEXANDRIA       IN 46001‐8086
MARSHA LOGAN           208 SWORD LILY DRIVE                                                                 O FALLON         MO 63366‐7593
MARSHA LOGAN           5040 W 80 S                                                                          KOKOMO           IN 46901‐8899
MARSHA LOPATIN         414 NICK ST                                                                          NEWARK           DE 19702‐4158
MARSHA LOREE           5055 MARILYN DR                                                                      FLINT            MI 48506‐1578
MARSHA LUKASAVICH      15414 N 176TH LN                                                                     SURPRISE         AZ 85388‐1789
MARSHA LYNN MILSTEAD   R.W. MILSTEAD OR LYNN MILSTEAD    2653 ANNETTE ST                                    FLAGLER BEACH    FL 32136
MARSHA LYONS           3234 COUNTRY LN                                                                      DELAND           FL 32724‐1412
MARSHA M BROZEWSKI     3545 KLENDER RD                                                                      RHODES           MI 48652‐9736
MARSHA M KOSKI         1621 WENONAH LN                                                                      SAGINAW          MI 48638‐4490
MARSHA M POUNDS        PO BOX 2594                                                                          DETROIT          MI 48202‐0594
MARSHA MABSON          352 BROOK LEA CV                                                                     LAWRENCEVILLE    GA 30044‐3451
MARSHA MANNING         576 W DRAYTON ST                                                                     FERNDALE         MI 48220‐2764
MARSHA MANUS           219 PAULO DR NE                                                                      WARREN           OH 44483‐4665
MARSHA MARSHALL        1954 MACKENZIE DR                                                                    COLUMBUS         OH 43220‐2934
MARSHA MARTIN          PO BOX 476                                                                           SANGER           TX 76266‐0476
MARSHA MARTIN          2440 CHICKASAW DR                                                                    JANESVILLE       WI 53545‐2293
MARSHA MAY             4725 ALDUN RIDGE AVE NW APT 102                                                      COMSTOCK PARK    MI 49321‐9047
MARSHA MCCONNELL       87 LYLE DR                                                                           DECATUR          AL 35603‐6146
MARSHA MCFARLAND       3964 SHADOW HILL CT                                                                  GREENWOOD        IN 46142‐8449
MARSHA MCKINLEY        2763 E 625 N                                                                         GREENFIELD       IN 46140‐9055
MARSHA MCQUINN         200 TURNBROOK LN                                                                     FRANKLIN         TN 37064‐5533
MARSHA MILIMAKI        83 PUTNAM AVE                                                                        PONTIAC          MI 48342‐1266
MARSHA MILLER          2920 S BAY DR APT K15                                                                WESTLAKE         OH 44145‐6004
MARSHA MILLER          500 W PAYTON ST                                                                      GREENTOWN        IN 46936
MARSHA N BROWN         9509 RIGGS ST                                                                        OVERLAND PARK    KS 66212‐1539
MARSHA NAIL            13343 TUSCOLA RD                                                                     CLIO             MI 48420‐1850
MARSHA NEWELL          821 RAYMOND RD                                                                       OWOSSO           MI 48867‐1547
MARSHA NEWHOUSE        PO BOX 2694                                                                          MONROE           LA 71207‐2694
MARSHA NICHOLS         718 W STATE ST                                                                       BELDING          MI 48809‐9214
MARSHA NILES           9948 CEDAR SHRS                                                                      WHITE LAKE       MI 48386‐2820
MARSHA NOLLER          1760 CRISTO LOOP                                                                     LILLIAN          AL 36549‐5242
MARSHA NOVAK           2162 LEWIS RD                                                                        SOUTH WALES      NY 14139‐9796
MARSHA OCHODNICKY      14107 LANDINGS WAY                                                                   FENTON           MI 48430‐1315
MARSHA OGDEN           16505 TURNER ST                                                                      DETROIT          MI 48221‐2979
MARSHA OHLER           5219 PEARL ST                                                                        ANDERSON         IN 46013‐4867
MARSHA ORLANS          5965 STRATHDON WAY                                                                   WATERFORD        MI 48327‐2056
MARSHA OUSLEY          1203 WHALEYS OVERLOOK                                                                KODAK            TN 37764‐2604
MARSHA OWENS           4397 HUNTING TRL                                                                     LAKE WORTH       FL 33467‐3505
MARSHA P BURROUGHS     8244 FAIRHILL DR NE                                                                  WARREN           OH 44484
MARSHA PARKS           15430 FITZGERALD ST                                                                  LIVONIA          MI 48154‐1804
MARSHA PEOPLES         2802 VINEWOOD ST                                                                     DETROIT          MI 48216‐1085
MARSHA PITTSNOGLE      59 ROME DR                                                                           MARTINSBURG      WV 25403‐1472
MARSHA PORTER          858 E CHURCH ST                                                                      XENIA            OH 45385‐3018
MARSHA PRICE           PO BOX 980713                                                                        YPSILANTI        MI 48198‐0713
MARSHA R BLACKBURN     1253 SHADY VALLEY LN                                                                 CLAREMONT        NC 28610‐7402
MARSHA R HEWLETT       2247 ONTARIO AVE                                                                     DAYTON           OH 45414‐5633
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Name                  Address1                         Address2                     Address3   Address4         City              State Zip
MARSHA R HOLMON       7903 SHAKER CT                                                                            FORT WAYNE         IN 46804‐5709
MARSHA RAINEY         654 N HICKORY ST                                                                          OWOSSO             MI 48867‐2330
MARSHA REED           4232 MELLEN DR                                                                            ANDERSON           IN 46012‐5049
MARSHA REINISCH       1601 16TH AVE E                                                                           WEST FARGO         ND 58078‐3438
MARSHA RICHARDSON     17530 SORRENTO ST                                                                         DETROIT            MI 48235‐1436
MARSHA ROBINSON       1435 CRYSTALAIRE CT SE                                                                    CALEDONIA          MI 49316‐9758
MARSHA ROGERS         5321 N RICHMOND AVE                                                                       KANSAS CITY        MO 64119‐4067
MARSHA ROTUNDO        878 KEITH ST                                                                              OXFORD             MI 48371‐4537
MARSHA S ASHLEY       5426 PARK RD                                                                              LEAVITTSBURG       OH 44430‐9706
MARSHA S CLEM         342 DANERN DRIVE NORTH                                                                    BEAVERCREEK        OH 45430‐2005
MARSHA S PORTER       858 E CHURCH STREET                                                                       XENIA              OH 45385
MARSHA S STEELE       314 NORMAGENE                                                                             LIVINGSTON         TX 77351‐8295
MARSHA SCHACK         4069 E CRONK RD                                                                           OWOSSO             MI 48867‐9619
MARSHA SCHELBERT      1201 NORTH MORRISON STREET                                                                KOKOMO             IN 46901‐2761
MARSHA SCOTT          1169 EVERETT HULL RD                                                                      CORTLAND           OH 44410‐9313
MARSHA SCOTT          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH 44236
MARSHA SHAW           12205 N ELMS RD                                                                           CLIO               MI 48420‐9467
MARSHA SHELMAN        29007 LEROY ST                                                                            ROMULUS            MI 48174‐3098
MARSHA SHERIDAN       947 CORNWALLIS LN                                                                         MUNSTER            IN 46321‐2878
MARSHA SHIPMAN        813 SLACK DR                                                                              ANDERSON           IN 46013‐3619
MARSHA SJOBERG        6645 SYLVAN WOODS DR                                                                      SANFORD            FL 32771‐6448
MARSHA SMITH          606 W ALMA AVE                                                                            FLINT              MI 48505‐2022
MARSHA SMITH          7185 KINGS WAY                                                                            FLUSHING           MI 48433‐2288
MARSHA SONDAY         3229 PEPPERKORN DR                                                                        GRAND LEDGE        MI 48837‐9452
MARSHA SPEAR          243 PONCHARTRAIN DR                                                                       FENTON             MI 48430‐1700
MARSHA SPIES          120 CRESTFIELD PL                                                                         FRANKLIN           TN 37069‐1842
MARSHA STAHL          2347 LYNN DR                                                                              KOKOMO             IN 46902‐6507
MARSHA STEPHENS
MARSHA STOUTENBERG    8384 N BRAY RD                                                                            MOUNT MORRIS      MI   48458‐8929
MARSHA SUKUP          2458 S VASSAR RD                                                                          BURTON            MI   48519‐1350
MARSHA TAWNEY         3548 STROUP RD                                                                            ROOTSTOWN         OH   44272‐9500
MARSHA THOMAS         6161 HALIFAX DR                                                                           LANSING           MI   48911‐6455
MARSHA THOMPSON       1101 SUNNYVIEW AVE                                                                        DAYTON            OH   45406‐1963
MARSHA THOMPSON       2167 N FAIRVIEW LN                                                                        ROCHESTER HILLS   MI   48306‐3929
MARSHA TOMLINSON      1166 W 700 N                                                                              ALEXANDRIA        IN   46001‐8225
MARSHA TOWNLEY        3711 JEFFERSON RD                                                                         NORTH BRANCH      MI   48461‐8982
MARSHA VAUGHN         735 WALDMAN AVE                                                                           FLINT             MI   48507‐1767
MARSHA W BAIR         540 LIVE OAK AVE                                                                          ORANGE CITY       FL   32763‐6727
MARSHA W HUBBARD      8609 DENNISON ASHTABULA,NE                                                                N. BLOOMFIELD     OH   44450‐9732
MARSHA W MABSON       352 BROOK LEA CV                                                                          LAWRENCEVILLE     GA   30044‐3451
MARSHA WAGNER         163 INDIAN TRL                                                                            COLUMBIAVILLE     MI   48421‐9725
MARSHA WEINSTEIN      9539 WELDON CIRCLE               APT 404F                                                 TAMARAC           FL   33321
MARSHA WELLS          11649 POMPANO DR                                                                          INDIANAPOLIS      IN   46236‐8819
MARSHA WENDLING       8103 REED RD                                                                              NEW LOTHROP       MI   48460‐9721
MARSHA WEYCKER        25660 IMPATIENS CT                                                                        BONITA SPRINGS    FL   34135‐9412
MARSHA WHITE          9771 JEFFERSON HWY APT 152                                                                BATON ROUGE       LA   70809‐2709
MARSHA WHITESELL      541 W SOUTH ST                                                                            WINCHESTER        IN   47394‐2033
MARSHA WHITING        4945 SEVILLE DR                                                                           ENGLEWOOD         OH   45322‐3532
MARSHA WHITMORE       571 S BROADWAY                                                                            PERU              IN   46970‐2832
MARSHA WOOD           831 N PONTIAC TRL LOT 24                                                                  WALLED LAKE       MI   48390‐3203
MARSHA ZACKSCHEWSKI   2235 EDWARD DR                                                                            KOKOMO            IN   46902‐6503
MARSHA ZANARDELLI     37143 ALMONT DR W                                                                         STERLING HTS      MI   48310‐4028
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Name                             Address1                        Address2                         Address3                      Address4         City           State Zip
MARSHAL BUFFALO CITY COURT       50 DELAWARE AVENUE                                                                                              BUFFALO         NY 14202
MARSHAL BURNS                    275 HEIGHTS ROAD                                                                                                LAKE ORION      MI 48362‐2726
MARSHAL CROSSAN AND BARABARA     12655 AUTO MALL CIR                                                                                             FOLSOM          CA 95630
CROSSAN
MARSHAL DREWRY                   390 MCQUILLER RD                                                                                                MONROE         LA   71203‐9359
MARSHAL EUBANKS                  PO BOX 421                                                                                                      CALHOUN        LA   71225‐0421
MARSHAL HUDSON                   24 WILD ORCHID LN                                                                                               RABUN GAP      GA   30568
MARSHAL LA CTY MUNICIPAL CTS     ACCT OF LYNN J SHAW             300 E OLIVE AVE                                                                 BURBANK        CA   91502‐1215
MARSHAL MANLOVE
MARSHAL OF MUNICIPAL COURTS      ACCT OF ROBERT M PEDDYCOART     14400 ERWIN ST MALL                                                             VAN NUYS       CA 91401
MARSHAL RICHARD G SCHNEIDER      ACCT OF WILLIAM R MANGANO       99 EXCHANGE BLVD STE 1           INDEX# 92 12532                                ROCHESTER      NY 14614‐2127
MARSHAL RICHARD G SCHNEIDER      ACCT OF JAMES WYNN              FILE #                           RM 1 HL OF JUST 99 EXCHNG                      ROCHESTER      NY 05432
                                                                                                  ST
MARSHAL RICHARD G SCHNEIDER      ACCT OF JAMES WYNN SR           INDEX #93‐9005                   RM 1 HL OF JUST 99 EXCNG ST                    ROCHESTER      NY 05432

MARSHAL RICHARD G SCHNEIDER      ACCT OF JAMES I WYNN SR         99 EXCHANGE BLVD STE 1           INDEX# 14444                                   ROCHESTER      NY 14614‐2127
MARSHAL RICHARD G SHCNEIDER      ACCT OF DARLENE L COOPER        99 EXCHANGE BLVD STE 1           INDEX#                                         ROCHESTER      NY 14614‐2127
MARSHAL ROBNSON
MARSHAL WILLIAM H LAMBERT        ACCT OF WILLIAM R MANGANO       PO BOX 16601                     INDEX# 93136/03 51372                          ROCHESTER      NY   14616‐0601
MARSHAL WILLIAM H LAMBERT        ACCT OF WOODRUFF L HUDSON       PO BOX 16601                                                                    ROCHESTER      NY   14616‐0601
MARSHAL WILLIAMS                 NIX, PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT         205 LINDA DRIVE                                DAINGERFIELD   TX   75638
MARSHAL, CITY COURT OF BUFFALO   ACCT OF FRED L HOWARD           50 DELAWARE AVE                                                                 BUFFALO        NY   14202
MARSHAL, CITY COURT OF BUFFALO   ACCT OF GARY OLIVER             50 DELAWARE AVE                                                                 BUFFALO        NY   14202
MARSHAL, ORANGE COUNTY           ACCT OF ANA JUAREZ              1275 NORTH BERKELEY RM 360                                                      FULLERTON      CA   92832
MARSHAL,CITY COURT OF BUFFALO    ACCT OF GARY OLIVER             50 DELAWARE AVE                                                                 BUFFALO        NY   14202
MARSHAL‐CITY COURT OF BUFFALO    ACCT OF FRED L HOWARD           50 DELAWARE AVE                                                                 BUFFALO        NY   14202
MARSHALEK, DEANNA T              3195 WOODPINE CT                                                                                                ROCHESTER      MI   48306‐1161
MARSHALKO, DONALD S              28035 LIME CITY RD                                                                                              PERRYSBURG     OH   43551‐4146
MARSHALL                         9700 GARFIELD BLVD                                                                                              CLEVELAND      OH   44125
MARSHALL & ILSLEY BANK           FOR DEPOSIT IN THE ACCOUNT OF   PO BOX 2045                      A LASSEN                                       MILWAUKEE      WI   53201‐2045
MARSHALL & MARY RAGSDALE         731 CHAPEL RIDGE RD                                                                                             TIMONIUM       MD   21093
MARSHALL & MELHORN               FOUR SEAGATE                    EIGHTH FLOOR                     ATTN: MELISSA J. DETRICK                       TOLEDO         OH   43604
MARSHALL & WELLS CO              424 PLYMOUTH AVE NE                                                                                             GRAND RAPIDS   MI   49505‐5028
MARSHALL & WELLS COMPANY         424 PLYMOUTH AVE NE                                                                                             GRAND RAPIDS   MI   49505‐6028
MARSHALL A MCGARITY              1180 CARSLEY RD                                                                                                 JACKSON        MS   39209
MARSHALL A MUMPHREY              906 CLOVER HILL LN                                                                                              CEDAR HILL     TX   75104‐4774
MARSHALL ABRAM                   1714 E HINES ST                                                                                                 MUNCIE         IN   47303‐3230
MARSHALL AFTON (402025)          SUTTER & ENSLEIN                1598 KANAWHA BLVD EAST , SUITE                                                  CHARLESTON     WV   25311
                                                                 200
MARSHALL ALEXANDER               19776 INDIAN                                                                                                    REDFORD        MI 48240‐1632
MARSHALL ALFONSO S (404892)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                     NORFOLK        VA 23510
                                                                 STREET, SUITE 600
MARSHALL ANDERSON                2860 IOSCO RD                                                                                                   DANSVILLE      MI   48819‐9775
MARSHALL ANDERSON                C/O THE MADEKSHO LAW FIRM       8866 GULF FREEWAY SUITE 440                                                     HOUSTON        TX   77017
MARSHALL ANGLE SR                16 PARKWOOD RD                                                                                                  WINTER HAVEN   FL   33881
MARSHALL ARBUCKLE                7717 S 200 W                                                                                                    MUNCIE         IN   47302
MARSHALL ARTIS                   201 W JOLLY RD APT 622                                                                                          LANSING        MI   48910‐6679
MARSHALL AUSTIN                  180 WANA CIR SE                                                                                                 MABLETON       GA   30126‐1939
MARSHALL B FAIRRES               21535 PINE RIDGE AVE                                                                                            APPLE VLY      CA   92307‐3938
MARSHALL BAIRD                   6159 S 3920 W                                                                                                   TAYLORSVILLE   UT   84118‐8113
MARSHALL BARNWELL                3725 NOGALES DR                                                                                                 SARASOTA       FL   34235‐3426
MARSHALL BATISTE                 NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT         205 LINDA DRIVE                                DAINGERFIELD   TX   75638
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Name                                 Address1                            Address2                         Address3          Address4         City           State Zip
MARSHALL BECOATS                     617 BRAM HALL DR                                                                                        ROCHESTER       NY 14626‐4368
MARSHALL BLAKELY JR                  4794 EVA ST                                                                                             SAGINAW         MI 48601‐6917
MARSHALL BOOSE                       2084 TATUM RD                                                                                           HICKORY         MS 39332‐3206
MARSHALL BOURDON                     922 N CHILSON ST                                                                                        BAY CITY        MI 48706‐3502
MARSHALL BRICKER                     6922 EASTON CT                                                                                          SARASOTA        FL 34238‐2609
MARSHALL BROADNAX                    1313 MCINTOSH DR                                                                                        FLINT           MI 48503‐1266
MARSHALL BROWN III                   463 LAND OR DRIVE                                                                                       RUTHER GLEN     VA 22546‐1224
MARSHALL BRUEHLER                    BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.     OH 44236
MARSHALL BRYANT JR                   C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                                           HOUSTON         TX 77007
                                     BOUNDAS LLP
MARSHALL BRZEZINSKI                  5041 CHINA SEA DR                                                                                       TAVARES        FL    32778‐9273
MARSHALL BUCHANAN                    6015 GANT RD                                                                                            BAXTER         TN    38544‐4723
MARSHALL BUCHANAN                    6015 GANT ROAD                                                                                          BAXTER         TN    38544‐4723
MARSHALL BUSSARD                     NIX PATTERSON & ROACH LLP           GM BANKRUPTCY DEPARTMENT         205 LINDA DRIVE                    DAINGERFIELD   TX    75638
MARSHALL C SMITH                     PO BOX 2533                                                                                             JACKSON        MS    39207‐2533
MARSHALL CALDWELL                    160 GLYNNSHIRE CT                                                                                       COVINGTON      GA    30016‐8196
MARSHALL CALLARD                     5167 BLOSS DR                                                                                           SWARTZ CREEK   MI    48473‐8908
MARSHALL CASTO                       2278 ROCKCASTLE RD                                                                                      ROCK CASTLE    WV    25245‐9747
MARSHALL CAUDLE                      221 10TH AVE NW                                                                                         DECATUR        AL    35601‐2003
MARSHALL CHANTELOIS                  21844 BEAUFORT RD W                                                                                     MICHIGAMME     MI    49861‐9043
MARSHALL CHARLES (459183)            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK        VA    23510
                                                                         STREET, SUITE 600
MARSHALL CHARLES A (644364)          MAZUR & KITTEL PLLC                 1490 FIRST NATIONAL BUILDING                                        DETROIT        MI 48226
MARSHALL CHARLES E JR (429375)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK        VA 23510
                                                                         STREET, SUITE 600
MARSHALL CHARTER                     5572 OAK PARK DRIVE                                                                                     CLARKSTON      MI    48346‐3273
MARSHALL CHASTAIN                    212 WHITEHALL RD                                                                                        ELKTON         MD    21921‐6426
MARSHALL CHEVROLET COMPANY           9 W CROSS ST                                                                                            WINCHESTER     IL    62694‐1269
MARSHALL CHEVROLET COMPANY           STEVEN RUETER                       9 W CROSS ST                                                        WINCHESTER     IL    62694‐1269
MARSHALL CHEVROLET II LLC LAWRENCE   MARSHALL CHEVROLET II LP LAWRENCE   11 GREENWAY PLAZA SUITE 2820                                        HOUSTON        TX    77046

MARSHALL CHEVROLET II LP LAWRENCE    GREEN WILLIAM T III                 ELEVEN GREENWAY PLAZA, SUMMIT                                       HOUSTON         TX   77046
                                                                         TOWER, SUITE 2820
MARSHALL CHEVROLET II LP LAWRENCE    GREEN, WILLIAM T                    11 GREENWAY PLZ STE 2820                                            HOUSTON         TX   77046‐1114

MARSHALL CHEVROLET LAWRENCE          GREEN WILLIAM T III                 ELEVEN GREENWAY PLAZA, SUMMIT                                       HOUSTON         TX   77046
                                                                         TOWER, SUITE 2820
MARSHALL CHEVROLET LAWRENCE          MARSHALL CHEVROLET II LP LAWRENCE   ELEVEN GREENWAY PLAZA , SUMMIT                                      HOUSTON         TX   77046
                                                                         TOWER, SUITE 2820
MARSHALL CHEVROLET LAWRENCE          ELEVEN GREENWAY PLAZA , SUMMIT                                                                          HOUSTON         TX   77046
                                     TOWER, SUITE 2820
MARSHALL CHEVROLET‐PONTIAC‐BUICK‐    1700 E STATE ROAD 163                                                                                   CLINTON         IN   47842‐7327
GM
MARSHALL CHEVROLET‐PONTIAC‐BUICK‐    DONALD MARSHALL                     1700 E STATE ROAD 163                                               CLINTON         IN   47842‐7327
GMC, INC.
MARSHALL CITY COURT OF BUFFALO       ACCT OF JOSEPH E MILLER JR          50 DELAWARE AVE                                                     BUFFALO        NY 14202
MARSHALL CITY TREASURER              1201 BROADWAY STE 1                                                                                     MARYSVILLE     KS 66508‐1844
MARSHALL CLARENCE A (429376)         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK        VA 23510
                                                                         STREET, SUITE 600
MARSHALL COLLEY                      750 3RD ST                                                                                              FENTON         MI 48430‐4117
MARSHALL COLLINS                     40187 MICHELLE ST                                                                                       FREMONT        CA 94538‐2917
MARSHALL COLLINS                     PO BOX 403                                                                                              WALTON         IN 46994‐0403
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Name                                Address1                             Address2                        Address3                Address4         City            State Zip
MARSHALL CONEY JR                   1285 STONINGTON DR                                                                                            YOUNGSTOWN       OH 44505‐1655
MARSHALL COOKE
MARSHALL COUNTY CLERK              1101 MAIN ST.                                                                                                  BENTON          KY   42025
MARSHALL COUNTY COLLECTOR          PO BOX 648                                                                                                     MOUNDSVILLE     WV   26041‐0648
MARSHALL COUNTY SHERIFF            52 JUDICIAL DR                                                                                                 BENTON          KY   42025‐1115
MARSHALL COUNTY TAX COLLECTOR      424 BLOUNT AVE                                                                                                 GUNTERSVILLE    AL   35976
MARSHALL COUNTY TREASURER          MARSHALL COUNTY COURTHOUSE                                                                                     MADILL          OK   73446
MARSHALL COUNTY TREASURER          112 W JEFFERSON ST STE 206                                                                                     PLYMOUTH        IN   46563‐1769
MARSHALL COUNTY TRUSTEE            1102 COURTHOUSE ANX                                                                                            LEWISBURG       TN   37091‐3353
MARSHALL CROSBY                    THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                                               HOUSTON         TX   77017
MARSHALL D GWIN                    C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY, STE 600                                                HOUSTON         TX   77007
                                   BOUNDAS LLP
MARSHALL DAVENPORT                 561 HALEYVILLE RD                                                                                              PORT NORRIS     NJ   08349‐2525
MARSHALL DAVIDSON                  4672 2 MILE RD                                                                                                 BAY CITY        MI   48706‐2738
MARSHALL DEAN                      C/O MOTLEY RICE LLC                  PO BOX 1792                                                               MT PLEASANT     SC   29465
MARSHALL DEBBIE                    306 STEELMAN LOOP RD                                                                                           FAYETTEVILLE    TN   37334‐5583
MARSHALL DENNEHEY WARNER COLEMAN ATTN WALTER F KAWALEC III & ERIC WEISS 1845 WALNUT STREET                                                        PHILADELPHIA    PA   19103‐4797
& GOGGIN                           ESQ
MARSHALL DINA                      MARSHALL, DINA                       3545 ROGERS AVENUE                                                        ELLICOTT CITY   MD   21043
MARSHALL DONALD                    GLASSER & GLASSER                    CROWN CENTER                     580 E MAIN ST STE 600                    NORFOLK         VA   23510
MARSHALL DONALD                    MARSHALL, DONALD                     640 S SAN VICENTE BLVD STE 230                                            LOS ANGELES     CA   90048‐4654
MARSHALL DWAYNE (456075)           WEITZ & LUXENBERG P.C.               180 MAIDEN LANE                                                           NEW YORK        NY   10038
MARSHALL E CAMPBELL CO             2975 LAPEER RD                                                                                                 PORT HURON      MI   48060‐2558
MARSHALL EILEEN NAACP 50TH ANNIV   1316 BROADWAY ST                                                                                               BAY CITY        MI   48708‐7802
MARSHALL ELECTRIC CORP             AMY J FLOOR                          STATE ROAD 25 N                                                           MULLINS         SC   29574
MARSHALL ELECTRIC CORPORATION      AMY J FLOOR                          STATE ROAD 25 N                                                           MULLINS         SC   29574
MARSHALL ELECTRIC CORPORATION      425 N STATE ROAD 25                  PO BOX 909                                                                ROCHESTER       IN   46975‐9700
MARSHALL ERDMAN & ASSOCIATES       KAREN MOEN                           1 ERDMAN PL                                                               MADISON         WI   53717‐2171
MARSHALL ERIK DANIEL               1376 EAST GRAND RIVER AVE                                                                                      EAST LANSING    MI   48823
MARSHALL EWING                     345 E MICHAEL DR                                                                                               ATLANTA         IN   46031‐9487
MARSHALL FARNELL                   SPOKANE COUNTY CHIEF EXECUTIVE       1116 W BROADWAY AVE                                                       SPOKANE         WA   99260‐2052
                                   OFFICER
MARSHALL FIELDS & CO               ACCT OF IAN C COMMON
MARSHALL FIKE                      4321 GYPSY RD                                                                                                  MARCELLUS       NY   13108‐9602
MARSHALL FINN                      KELLER, FISHBACK & JACKSON LLP       18425 BURBANK BLVD, STE 610                                               TARZANA         CA   91356
MARSHALL FISK                      150 22 MILE RD                                                                                                 SAND LAKE       MI   49343‐8775
MARSHALL FITZGERALD                3171 JOHANN DR                                                                                                 SAGINAW         MI   48609‐9707
MARSHALL FLAUGHERS                 BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS.     OH   44236
MARSHALL FLETCHER                  618 PEACOCK AVE                                                                                                PONTIAC         MI   48340‐2069
MARSHALL FORBES                    571 MONTCLAIR AVE                                                                                              ORANGE CITY     FL   32763‐4839
MARSHALL FRAKES                    10892 LOVERS LN                                                                                                CALEDONIA       MO   63631‐9528
MARSHALL GARY (ESTATE OF) (492617) BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD      OH   44067
                                                                        PROFESSIONAL BLDG
MARSHALL GARY (ESTATE OF) (492618) BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD      OH 44067
                                                                        PROFESSIONAL BLDG
MARSHALL GILBERT SR (ESTATE OF)    BRAYTON PURCELL                      PO BOX 6169                                                               NOVATO          CA 94948‐6169
(637678)
MARSHALL GILROY                    3909W MICHIBAY DR                                                                                              MANISTIQUE      MI   49854‐9134
MARSHALL GLENN                     1633 BABCOCK RD PMB 322                                                                                        SAN ANTONIO     TX   78229‐4725
MARSHALL GORDON ZEBOTT             MOTLEY RICE LLC                      28 BRIDGESIDE BLVD               PO BOX 1792                              MT PLEASANT     SC   29465
MARSHALL GOSS                      136 N 9TH ST                                                                                                   SAGINAW         MI   48601‐1703
MARSHALL GRANT                     45363 GREENBRIAR DR                                                                                            VAN BUREN TWP   MI   48111‐5135
                          09-50026-mg            Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
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Name                      Address1                          Address2                        Address3                 Address4         City               State Zip
MARSHALL GRASS JR         1846 BARKS ST                                                                                               FLINT               MI 48503‐4302
MARSHALL GREAR            304 MARK DR                                                                                                 FLUSHING            MI 48433‐2166
MARSHALL GREEN            PO BOX 682                                                                                                  YONKERS             NY 10710‐0682
MARSHALL GRIMES           133 FOX GLEN DR E                                                                                           PICKERINGTON        OH 43147‐7897
MARSHALL GRIMM            2335 PLACID WAY                                                                                             ANN ARBOR           MI 48105‐1295
MARSHALL GROUP            PO BOX 1074                                                                                                 FENTON              MI 48430‐5074
MARSHALL GROUP LLC, THE   PO BOX 1074                       845 E MANDOLINE AVE                                                       FENTON              MI 48430‐5074
MARSHALL GURSON           202 N LAUREL AVE                                                                                            BERKELEY SPGS       WV 25411‐5324
MARSHALL GUY G            3132 W EHRLINGER RD                                                                                         JANESVILLE          WI 53546‐8925
MARSHALL H OWENS          4532 SPRINGBORO RD                                                                                          LEBANON             OH 45036‐9608
MARSHALL HALL             1144 INVERNESS AVE                                                                                          YOUNGSTOWN          OH 44502‐2820
MARSHALL HALL             615 LOVING CHAPEL RD                                                                                        FRANKLIN            KY 42134‐6234
MARSHALL HALL JR          6043 WESLEYAN CHURCH RD                                                                                     ALEXANDRIA          OH 43001‐9727
MARSHALL HAMILTON JR
MARSHALL HANEY            ATTN ANDREW MCENANEY              C/O HISSEY KIENTZ HERRON PLLC   9442 CAPITAL OF TX HWY                    AUSTIN              TX   78759
                                                                                            NORTH SUITE 420
MARSHALL HARDING          22384 CASE CT                                                                                               MACOMB             MI    48044‐6216
MARSHALL HARRIS           3709 N SYDENHAM ST                                                                                          PHILADELPHIA       PA    19140‐3625
MARSHALL HARTSELL JR      1395 OAKHILL DR                                                                                             ALGER              MI    48610‐9372
MARSHALL HAYNES           PO BOX 175                                                                                                  FRENCH VILLAGE     MO    63036‐0175
MARSHALL HAYSLETT         BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS.        OH    44236
MARSHALL HENDRICKSON      7647 S COCHRAN RD                                                                                           OLIVET             MI    49076‐9443
MARSHALL HERRINGTON       5780 MCKEE RD                                                                                               NEWFANE            NY    14108‐9612
MARSHALL HOLDEN           1669 MERCER AVE                                                                                             HERMITAGE          PA    16148‐2312
MARSHALL HOOKS            C/O RICHARDSON PATRICK WESTBROOK & 1730 JACKSON STREET            PO BOX 1368                               BARNWELL           SC    29812
                          BRICKMAN LLC
MARSHALL HORTON           11500 BEL AIR PL                                                                                            OKLAHOMA CITY      OK    73120‐7914
MARSHALL HOULE            1488 COOK RD                                                                                                GROSSE POINTE      MI    48236‐2512
MARSHALL HOWARD           7860 CEDAR HILL DR                                                                                          HUBER HEIGHTS      OH    45424‐2369
MARSHALL HOWARD           7860 CEDAR HILL DR                                                                                          HUBER HEIGHTS      OH    45424‐2369
MARSHALL HUDSON           1262 FALLINGBROOK DR SE                                                                                     KENTWOOD           MI    49508‐6248
MARSHALL I I, VANCE G     10471 S LEELANAU WAY                                                                                        TRAVERSE CITY      MI    49684‐8432
MARSHALL III, WARREN G    3715 EATON GATE LN                                                                                          AUBURN HILLS       MI    48326‐3893
MARSHALL J COBB           1440 5TH ST SW                                                                                              WARREN             OH    44485‐3720
MARSHALL JACK             807 25TH AVE E                                                                                              TUSCALOOSA         AL    35404‐3142
MARSHALL JACKSON          23 WYNNWOOD                                                                                                 OXFORD             MI    48371‐6167
MARSHALL JASON            102 CONCORD DR                                                                                              COLUMBIA           TN    38401‐7200
MARSHALL JENNIFER         234 N 9TH ST APT 2C                                                                                         BROOKLYN           NY    11211‐2099
MARSHALL JOHN             5903 NATURE WAY PLACE                                                                                       MONROE             NC    28110‐8517
MARSHALL JOHN A           10930 LACKMAN RD                                                                                            LENEXA             KS    66219‐1232
MARSHALL JOHN JAMES       MARSHALL, JOHN JAMES
MARSHALL JOHNSON          5025 PEMBERTON LN # 74108                                                                                   THE COLONY         TX    75056
MARSHALL JON              42753 TESSMER DR                                                                                            STERLING HEIGHTS   MI    48314‐3079
MARSHALL JONES JR         156 FLINT ST                                                                                                ROCHESTER          NY    14608‐2823
MARSHALL JR, ALFRED       11358 MEMORIAL ST                                                                                           DETROIT            MI    48227‐1057
MARSHALL JR, CHEZ         730 N HARRISON ST                                                                                           RUSHVILLE          IN    46173‐1531
MARSHALL JR, CLEATUS W    1323 E VAN BUREN ST                                                                                         JANESVILLE         WI    53545‐4278
MARSHALL JR, CLEATUS W    8701 N HICKORY ST APT 1018                                                                                  KANSAS CITY        MO    54155‐4138
MARSHALL JR, COY          9342 CHARLOTTE HWY                                                                                          PORTLAND           MI    48875‐8415
MARSHALL JR, DIXIE        PO BOX 420488                                                                                               PONTIAC            MI    48342‐0488
MARSHALL JR, EDWIN E      1601 3RD ST                                                                                                 YOUNGSTOWN         OH    44509‐2515
MARSHALL JR, FORREST R    145 ANDERSON PL                                                                                             MARTINSVILLE       IN    46151‐1302
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Name                        Address1                         Address2                     Address3               Address4         City            State Zip
MARSHALL JR, GEORGE         29885 WOODLAND DR                                                                                     SOUTHFIELD       MI 48034‐1312
MARSHALL JR, GEORGE H       955 BERWICK BLVD                                                                                      PONTIAC          MI 48341‐2316
MARSHALL JR, JOHN F         38636 PINEBROOK DR                                                                                    STERLING HTS     MI 48310‐2911
MARSHALL JR, JOHN J         33 BONNIE BROOK DR                                                                                    CUMBERLAND        RI 02864‐2903
MARSHALL JR, LONNIE         3101 N CAMBRIDGE RD                                                                                   LANSING          MI 48911‐1018
MARSHALL JR, LOUIS J        4805 CLOVE DR SW                                                                                      MABLETON         GA 30126‐1186
MARSHALL JR, MONROE         1830 SAN GABRIEL AVE                                                                                  DECATUR          GA 30032‐4505
MARSHALL JR, NAMON          PO BOX 559                                                                                            FLINT            MI 48501‐0559
MARSHALL JR, NED L          1112 E 5TH ST                                                                                         MUNCIE           IN 47302‐3505
MARSHALL JR, RICHARD W      11429 PULVER RD MICH                                                                                  LAINGSBURG       MI 48848
MARSHALL JR, ROBERT E       10716 LAKERIDGE RUN                                                                                   OKLAHOMA CITY    OK 73170‐2421
MARSHALL JR, STANLEY O      246 ROOSEVELT DR                                                                                      DAVISON          MI 48423‐8550
MARSHALL JR, WILBERT J      2525 TERRYTOWN AVE                                                                                    HENDERSON        NV 89052‐6410
MARSHALL JR, WILLIS         441 LOCKMOOR CT                                                                                       GRAND BLANC      MI 48439‐1550
MARSHALL KELLEY             3410 W BROOKFIELD DR # 57                                                                             MUNCIE           IN 47302
MARSHALL KLINELINE          749 PETROS BROWNING RD                                                                                ROCKFIELD        KY 42274‐9755
MARSHALL KULOW              PO BOX 1135                                                                                           SHAWNEE          OK 74802‐1135
MARSHALL L FLETCHER         575 S MAIN ST STE 6                                                                                   PLYMOUTH         MI 48170‐1778
MARSHALL L MOORE            5600 E COUNTY ROAD 700 S                                                                              MUNCIE           IN 47302‐8447
MARSHALL L PULS             1018 BEDFORD WOODS                                                                                    TOLEDO           OH 43615‐4330
MARSHALL L ROLAND           337 SAINT THOMAS DR                                                                                   TOMS RIVER       NJ 08757‐4642
MARSHALL L STILLS           588 E 3RD ST                                                                                          XENIA            OH 45385‐3337
MARSHALL LACKEY             2965 SUGAR CREEK RD                                                                                   GAINESBORO       TN 38562‐5062
MARSHALL LACROSS            67920 FITZGERALD ST                                                                                   RICHMOND         MI 48062‐1620
MARSHALL LAIGLE             BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS.      OH 44236
MARSHALL LARRY S (441175)   ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                             WILMINGTON       DE 19801‐1813
MARSHALL LEANNE             #2                               103 5TH AVENUE                                                       BROOKLYN         NY 11217‐3228
MARSHALL LEE                2957 S 50TH ST                                                                                        MILWAUKEE        WI 53219‐3319
MARSHALL LEWIS              12 SESQUI DR                                                                                          ROCHESTER        NY 14624‐4054
MARSHALL LOHR               801 E MICHIGAN AVE                                                                                    AU GRES          MI 48703‐9608
MARSHALL LONDON JR          5011 ENNISMORE DR                                                                                     CLARKSTON        MI 48346‐3627
MARSHALL LUSE JR            1509 N MIDWEST BLVD APT 5                                                                             OKLAHOMA CITY    OK 73110‐3243
MARSHALL LYONS              511 S MEADE ST APT 11                                                                                 FLINT            MI 48503‐2290
MARSHALL M DIANE            MARSHALL, M DIANE
MARSHALL MARKETING &        2600 BOYCE PLAZA RD STE 210                                                                           PITTSBURGH       PA 15241‐3949
COMMUNICATIONS INC
MARSHALL MARSH              65 THREE BEE DR                                                                                       KINGSTREE       SC   29556‐4999
MARSHALL MARTIN             2462 N 41ST ST                                                                                        MILWAUKEE       WI   53210‐2932
MARSHALL MATIJEVICH         6220 E KLUG RD                                                                                        MILTON          WI   53563‐9316
MARSHALL MATNEY             258 COLGATE AVE                                                                                       DUNDALK         MD   21222‐4210
MARSHALL MAYNARD            1515 W BOWMAN ST                                                                                      MUNCIE          IN   47304‐2729
MARSHALL MCCOLLOM           6127 RIVA RIDGE DR                                                                                    INDIANAPOLIS    IN   46237‐5003
MARSHALL MCKINLEY           20400 N COUNTY ROAD 900 W                                                                             GASTON          IN   47342‐9052
MARSHALL MCNEIL JR          1040 QUEENS PL                                                                                        SPRING HILL     TN   37174‐2870
MARSHALL MD, DON A          3769 WALES DR                                                                                         DAYTON          OH   45405‐1848
MARSHALL MEADS              7523 LAWRENCE HWY                                                                                     VERMONTVILLE    MI   49096‐9533
MARSHALL MEDICAL CEN        PO BOX 1609                                                                                           LEWISBURG       TN   37091‐1609
MARSHALL MELHORN, LLC       ATTORNEY FOR FLUID ROUTING       ATTENTION: MELISSA DETRICK   FOUR SEAGATE, EIGHTH                    TOLEDO          OH   43604‐2638
                            SOLUTIONS, INC.                                               FLOOR
MARSHALL MELIKA             MARSHALL, MELIKA                 286 CONCORD TER                                                      MCDONOUGH       GA 30253‐3956
MARSHALL MERCHANT           6901 MIDDLEBROOKE CV                                                                                  MEMPHIS         TN 38141‐8561
MARSHALL MESECAR            7460 NOFFKE DR                                                                                        CALEDONIA       MI 49316‐8830
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Name                                Address1                              Address2                        Address3   Address4         City             State Zip
MARSHALL METZ                       HC 84 BOX 63                                                                                      KEYSER            WV 26726‐9703
MARSHALL MEYERS                     9870 DAVENPORT RD                                                                                 WOODLAND          MI 48897‐9736
MARSHALL MICHELLE S                 11 NORTHLAND COURT EAST                                                                           EDGEWOOD          NM 87015‐9068
MARSHALL MICKLASH                   3446 CICOTTE ST                                                                                   DETROIT           MI 48210‐2921
MARSHALL MIKE                       21740 SYLVAN AVE                                                                                  FLAT ROCK         MI 48134‐9001
MARSHALL MILLER                     9356 VAN BUREN RD                                                                                 FOWLERVILLE       MI 48836‐9230
MARSHALL MITCHELL                   18300 MOORESVILLE RD                                                                              ATHENS            AL 35613‐5418
MARSHALL MOORE                      5600 E COUNTY ROAD 700 S                                                                          MUNCIE            IN 47302‐8447
MARSHALL MOORE                      2853 HOLMES AVE                                                                                   DAYTON            OH 45406‐4329
MARSHALL MORRIS                     4118 GREENBLUFF RD                                                                                ZELLWOOD          FL 32798‐9018
MARSHALL MOULTRIE                   6631 KINGS GATE LOOP                                                                              MOBILE            AL 36618‐4677
MARSHALL MUMPHREY                   906 CLOVER HILL LN                                                                                CEDAR HILL        TX 75104‐4774
MARSHALL NELLIE                     356 W COLUMBIA AVE                                                                                PONTIAC           MI 48340‐1714
MARSHALL NICK                       24337 HASKELL ST                                                                                  TAYLOR            MI 48180‐2170
MARSHALL OF MUNICIPAL COURTS        ACCT OF JOSEPH N PARNELL              14400 ERWIN STREET MALL                                     VAN NUYS          CA 91401
MARSHALL OVERLANDER                 555 S OLD WOODWARD AVE APT 1205                                                                   BIRMINGHAM        MI 48009‐6677
MARSHALL OWENS                      110 OWENS HOLLOW RD                                                                               SPEEDWELL         TN 37870‐7255
MARSHALL OWENS                      4532 SPRINGBORO RD                                                                                LEBANON           OH 45036‐9608
MARSHALL PAMELA                     MARSHALL, PAMELA                      120 WEST MADISON STREET 10TH                                CHICAGO            IL 60602
                                                                          FLOOR
MARSHALL PASTER                     20401 SOLEDAD CANYON RD SPC 358                                                                   CANYON CNTRY     CA 91351‐7056
MARSHALL PATTERSON                  6589 DALE RD                                                                                      NEWFANE          NY 14108‐9737
MARSHALL PAYNE                      LAW OFFICES OF MICHAEL R BILBREY PC   8724 PIN OAK ROAD                                           EDWARDSVILLE     IL 62025

MARSHALL PEDERSON                   8460 KEISER ST SE                                                                                 ALTO             MI    49302‐9284
MARSHALL PETERSON                   THE MADEKSHO LAW FIRM                 8866 GULF FREEWAY SUITE 440                                 HOUSTON          TX    77017
MARSHALL POLAND                     50 SYCAMORE LN                                                                                    HANOVER          PA    17331‐4943
MARSHALL PONTIAC‐BUICK‐GMC TRUCK,   1700 E STATE ROAD 163                                                                             CLINTON          IN    47842‐7327
INC.
MARSHALL POWELL JR.                 2163 HURLBUT ST                                                                                   DETROIT          MI    48214‐3114
MARSHALL R DUNN                     8916 PERRY AVENUE                                                                                 MIDDLETOWN       OH    45042‐1326
MARSHALL R WHITFIELD                6537 BURKWOOD DR                                                                                  CLAYTON          OH    45315
MARSHALL R WHITFIELD, JR.           6537 BURKWOOD DR                                                                                  CLAYTON          OH    45315‐9602
MARSHALL RALSTON                    5259 TILMANN LN                                                                                   WEIDMAN          MI    48893‐8201
MARSHALL RAMEY                      25 URBANA AVE                                                                                     DAYTON           OH    45404‐2262
MARSHALL RANDY A                    MARSHALL, RANDY A                     2325 GRANT BUILDING 310 GRANT                               PITTSBURGH       PA    15219
                                                                          STREET
MARSHALL RAYMOND A (346101)         ANGELOS PETER G LAW OFFICES OF        100 N CHARLES STREET , ONE                                  BALTIMORE        MD 21202
                                                                          CHARLES CENTER 22ND FLOOR
MARSHALL REGIONAL ME                811 S WASHINGTON AVE                                                                              MARSHALL         TX    75670‐5336
MARSHALL REUTLINGER                 5852 MARLOW DR                                                                                    EAST SYRACUSE    NY    13057‐3022
MARSHALL RICE                       4610 CRISSMAN ST                                                                                  FLINT            MI    48505‐3575
MARSHALL RICHARD G SCHNEIDER        ACCT OF DOUGLAS J CHIRICO             99 EXCHANGE ST RM 1‐HALL JUST                               ROCHESTER        NY    14614
MARSHALL RIDER                      635 STANFORD AVE                                                                                  ELYRIA           OH    44035‐6676
MARSHALL ROBERSON                   PO BOX 5161                                                                                       OAKLAND          CA    94605‐0161
MARSHALL ROBERTS                    6639 WILLIAMS PL                                                                                  LAMBERTVILLE     MI    48144‐9466
MARSHALL ROBINSON & ASSOCIATESINC   806 N JEFFERSON AVE                                                                               MOUNT PLEASANT   TX    75455‐3258

MARSHALL RODERICK & ALEX            SIMANOVSKY & ASSOCIATES               2300 HENDERSON MILL RD NE STE                               ATLANTA          GA 30345‐2704
                                                                          300
MARSHALL ROLAND                     337 SAINT THOMAS DR                                                                               TOMS RIVER        NJ   08757‐4642
MARSHALL ROMAN                      192 NOVA SCOTIA HILL RD                                                                           WATERTOWN         CT   06795‐2027
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Name                                Address1                       Address2                        Address3   Address4               City                   State Zip
MARSHALL RONALD                     2025 CEDAR HOLLOW DR                                                                             LAPEER                  MI 48446‐9457
MARSHALL RONIN                      2497 DEPOT ST                                                                                    SPRING HILL             TN 37174‐2423
MARSHALL ROSS                       602 PICCADILLI RD                                                                                ANDERSON                IN 46013‐5062
MARSHALL S HALL                     6360 BUNTON RD APT 1                                                                             YPSILANTI               MI 48197‐7082
MARSHALL S HALL JR                  6043 WESLEYAN CHURCH RD                                                                          ALEXANDRIA              OH 43001‐9727
MARSHALL S HALL JR                  6043 WESLYAN CHURCH RD                                                                           ALEXANDRIA              OH 43001‐9727
MARSHALL SALE/DETROT                14359 MEYERS RD                                                                                  DETROIT                 MI 48227‐3923
MARSHALL SALES INC                  14359 MEYERS RD                                                                                  DETROIT                 MI 48227‐3923
MARSHALL SAMUELS                    3819 115TH STREET CT W                                                                           BRADENTON               FL 34210‐1131
MARSHALL SANDERSON                  PO BOX 128                                                                                       LAWTON                  MI 49065‐0128
MARSHALL SERVICE CENTRE             652 LORNE AVE E RR 4                                                      STRATFORD ON N5A 6S5
                                                                                                              CANADA
MARSHALL SHERMAN                    432 HOMESTEAD DRIVE                                                                              WEST CHESTER           PA   19382
MARSHALL SLAYDEN I I I              52106 POWDERHORN DR                                                                              MACOMB                 MI   48042‐3442
MARSHALL SMITH                      PO BOX 2533                                                                                      JACKSON                MS   39207‐2533
MARSHALL SMITH                      209 MOCCASIN SCHOOL RD                                                                           EDMONTON               KY   42129‐9225
MARSHALL SMITH                      19618 GLADSTONE RD                                                                               WARRENSVILLE HEIGHTS   OH   44122‐6634
MARSHALL SONJA                      MARSHALL, SONJA                1754 RICHMOND CIR SE APT 201G                                     ATLANTA                GA   30315‐5320
MARSHALL SPANG                      36500 MARQUETTE ST APT 701                                                                       WESTLAND               MI   48185‐3245
MARSHALL SPIKNER                    2210 W 12TH ST                                                                                   ANDERSON               IN   46016‐3013
MARSHALL SR, CLEATUS W              1156 9TH AVE                                                                                     FRIENDSHIP             WI   53934‐9775
MARSHALL SR, PERCY W                3906 STANDISH AVE                                                                                CINCINNATI             OH   45213‐2345
MARSHALL SR, ROGER P                2614 PEAKS MOUNTAIN RD                                                                           GALAX                  VA   24333‐3358
MARSHALL STEPANIE                   MARSHALL, STEPANIE             19571 AMBER WAY                                                   NOBLESVILLE            ID   46060
MARSHALL STEWARD JR                 5330 CULVER ST                                                                                   INDIANAPOLIS           IN   46226‐4757
MARSHALL STEWART                    909 EINWOOD                                                                                      ARLINGTON              TX   76010
MARSHALL STILLS                     588 E 3RD ST                                                                                     XENIA                  OH   45385‐3337
MARSHALL STREET                     1791 N VAN DYKE RD                                                                               IMLAY CITY             MI   48444‐9480
MARSHALL STRETCH                    16432 LOCUST HILL DR                                                                             ROCKVILLE              VA   23146‐1845
MARSHALL TANYA                      44 LOCH LOMOND STREET                                                                            BEAR                   DE   19701‐4712
MARSHALL TAPLIN                     4161 WOODCREEK LN                                                                                LANSING                MI   48911‐1932
MARSHALL TAYLOR                     4938 MALLARD VIEW DR                                                                             INDIANAPOLIS           IN   46226‐2189
MARSHALL TERRY                      21740 SYLVAN AVE                                                                                 BROWNSTOWN             MI   48134‐9001
MARSHALL THOMAS O                   65 HARRY TENNANT RD                                                                              WANA                   WV   26590
MARSHALL TINCHER, PENNY G           7006 MICHAEL ROAD                                                                                MIDDLETOWN             OH   45042‐1434
MARSHALL TOLBERT                    16752 FIELDSTONE RDG                                                                             MACOMB                 MI   48042‐1114
MARSHALL TOOL SERVICE               2700 LOWA STREET                                                                                 SAGINAW                MI   48601
MARSHALL UNIVERSITY OFFICE OF THE   1 JOHN MARSHALL DR                                                                               HUNTINGTON             WV   25755‐4200
BURSAR
MARSHALL VAN ANTWERP                2030 HASLETT RD                                                                                  WILLIAMSTON            MI   48895‐9624
MARSHALL VANNORTRICK                427 UNION ST                                                                                     GRAND LEDGE            MI   48837‐1262
MARSHALL W LEWIS                    12 SESQUI DR                                                                                     ROCHESTER              NY   14624‐4054
MARSHALL WALLACE                    5570 LINDA LN                                                                                    KALAMAZOO              MI   49004‐9521
MARSHALL WARD                       1116 LAMSON ST                                                                                   SAGINAW                MI   48601‐3450
MARSHALL WATKINS JR                 PO BOX 210545                                                                                    NORMANDY               MO   63121‐8545
MARSHALL WESTFALL JR                4761 E GRAND LAKE RD                                                                             PRESQUE ISLE           MI   49777‐8326
MARSHALL WETHY                      4775 DICKERSON AVE                                                                               WATERFORD              MI   48328‐2816
MARSHALL WILLIAM (459184)           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK                VA   23510
                                                                   STREET, SUITE 600
MARSHALL WILLIAM R SR (400531)      ANGELOS PETER G                100 N CHARLES STREET , ONE                                        BALTIMORE              MD 21201
                                                                   CHARLES CENTER
MARSHALL WILSON                     4070 PARKWAY                                                                                     WATERFORD              MI 48328‐4359
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MARSHALL WITTENBERG                 1509 EVERGREEN LN                                                                           WILMINGTON        DE 19810‐4431
MARSHALL WOODS                      PO BOX 357                                                                                  WATERS            MI 49797‐0357
MARSHALL YOUNG                      57 LYNN LEA ST                                                                              WILLIAMSVILLE     NY 14221‐3148
MARSHALL YOUNG                      BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS        OH 44236
MARSHALL'S GARAGE                   990 CAMPBELL AVE                                                                            WEST HAVEN        CT 06516‐2736
MARSHALL'S SERVICE CENTER           8128 E INDIAN SCHOOL RD                                                                     SCOTTSDALE        AZ 85251‐2735
MARSHALL'S SHELL SERVICE            1029 HOUGHTAILING ST                                                                        HONOLULU          HI 96817‐3301
MARSHALL'S TIRE & AUTOMOTIVE INC.   4609 MAHONING AVE NW                                                                        WARREN            OH 44483‐1418
MARSHALL, ADDIE L                   725 E 6TH ST                                                                                MUNCIE            IN 47302‐3419
MARSHALL, ADDIE L                   725 E 6 STREET                                                                              MUNCIE            IN 47302‐3419
MARSHALL, ADELIA J                  8407 N SEYMOUR RD                                                                           FLUSHING          MI 48433‐9266
MARSHALL, ALBERT L                  10839 W HOPE DR                                                                             SUN CITY          AZ 85351‐4033
MARSHALL, ALBERT P                  5436 MOUNT OLIVE ROAD                                                                       POLK CITY         FL 33868‐9074
MARSHALL, ALBERT PAUL               5436 MOUNT OLIVE ROAD                                                                       POLK CITY         FL 33868‐9074
MARSHALL, ALBERT T                  11696 S GOLDEN VALLEY DR                                                                    EMPIRE            MI 49630‐9615
MARSHALL, ALDEN J                   4984 WILLOW OVERLOOK                                                                        STONE MOUNTAIN    GA 30088‐3135
MARSHALL, ALEXANDER                 19776 INDIAN                                                                                REDFORD           MI 48240‐1632
MARSHALL, ALFONSO S                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510‐2212
                                                                    STREET, SUITE 600
MARSHALL, ALFONZO S                 16396 ALDRICH CT                                                                            LIVONIA          MI   48154‐1056
MARSHALL, ALFONZO SIMON             16396 ALDRICH CT                                                                            LIVONIA          MI   48154‐1056
MARSHALL, ALFRED B                  1079 W KURTZ AVE                                                                            FLINT            MI   48505‐1203
MARSHALL, ALFRED E                  11738 YELLOWSTONE ST                                                                        DETROIT          MI   48204‐1493
MARSHALL, ALFTON                    SUTTER & ENSLEIN                1598 KANAWHA BLVD EAST, SUITE                               CHARLESTON       WV   25311
                                                                    200
MARSHALL, ALICE R                   1106 S NEBRASKA ST                                                                          MARION           IN   46953‐2127
MARSHALL, ALICE W                   APT F                           3506 SUGAR CREST DRIVE                                      FLORISSANT       MO   63033‐8207
MARSHALL, ALICE WRIGHT              11028 SUGAR PINES CT APT H                                                                  FLORISSANT       MO   63033‐8261
MARSHALL, ALIDA                     2406 NEWPORT DR                                                                             LANSING          MI   48906‐3541
MARSHALL, ALLAN L                   4138 KEEPSAKE LN                                                                            LANSING          MI   48906‐9285
MARSHALL, ALLEN M                   19055 MOTT AVE                                                                              EASTPOINTE       MI   48021‐2745
MARSHALL, ALMA R                    34 LA CUMBRE CIR                                                                            SANTA BARBARA    CA   93105‐4442
MARSHALL, ALVIN G                   401 WHITTEMORE ST                                                                           WHITTEMORE       MI   48770‐9225
MARSHALL, ALVIN S                   7267 SADIE LN                                                                               BELLEVILLE       MI   48111‐5124
MARSHALL, ANDREW C                  27406 SUTHERLAND ST                                                                         SOUTHFIELD       MI   48076‐7433
MARSHALL, ANDREW D                  830 QUATRO LN                                                                               LEONARD          MI   48367‐2538
MARSHALL, ANDREW P                  2520 LAVENDER DR                                                                            FORT WAYNE       IN   46818‐9592
MARSHALL, ANDREW PATRICK            2520 LAVENDER DR                                                                            FORT WAYNE       IN   46818‐9592
MARSHALL, ANDREW Z                  25765 R DR N                                                                                OLIVET           MI   49076‐9592
MARSHALL, ANGELINE                  128 TIN TOP LN                                                                              VAUGHAN          MS   39179‐9505
MARSHALL, ANN M                     41 LAFITTE DR                                                                               NOKOMIS          FL   34275‐2249
MARSHALL, ANNIE                     818 OAK ST APT 132                                                                          KINGSPORT        TN   37660
MARSHALL, ANNIE L                   260 N LAKE CIR                                                                              EUPORA           MS   39744‐4005
MARSHALL, ANTHONY G                 4313 FOXCHAPEL RD                                                                           TOLEDO           OH   43607
MARSHALL, ANTHONY R                 1513 W PRINCETON AVE                                                                        FLINT            MI   48505‐1037
MARSHALL, ANTHONY RAY               1513 W PRINCETON AVE                                                                        FLINT            MI   48505‐1037
MARSHALL, ARTHUR L                  1661 OWENS RD                                                                               PLEASANT HILL    OH   45359‐8773
MARSHALL, AUBREY D                  PO BOX 483                                                                                  SOUTH BELOIT     IL   61080
MARSHALL, AUBREY D                  5714 OAK VILLAGE DR                                                                         ROSCOE           IL   61073‐7028
MARSHALL, AUREA                     PO BOX 131                                                                                  NEDROW           NY   13120‐0131
MARSHALL, BARBARA A                 3309 IROQUOIS AVE                                                                           FLINT            MI   48505‐4005
MARSHALL, BARBARA B                 PO BOX 963                                                                                  GARDEN GROVE     CA   92842
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Name                       Address1                              Address2                       Address3         Address4         City               State Zip
MARSHALL, BARBARA J        1901 N GLASSCOCK RD #63                                                                                MISSION             TX 78572‐3141
MARSHALL, BENJAMIN A       27 GINA LN                                                                                             ELKTON              MD 21921‐7200
MARSHALL, BERNARD T        3801 MARINER ST                                                                                        WATERFORD           MI 48329‐2274
MARSHALL, BERNICE          1088 ATHENS ST                                                                                         GAINESVILLE         GA 30501‐6938
MARSHALL, BERNICE          1088 ATHENS RD                                                                                         GAINESVILLE         GA 30501‐6938
MARSHALL, BERTHA M         127 APT 1 CARSON DRIVE                                                                                 JOHNSON CITY        TN 37601
MARSHALL, BETTY            2536 TANSEL RD                                                                                         INDIANAPOLIS        IN 46234‐9574
MARSHALL, BETTY J          6145 STEM LN                                                                                           MOUNT MORRIS        MI 48458‐2653
MARSHALL, BETTY J          1255 LAVENDER AVE                                                                                      FLINT               MI 48504‐3328
MARSHALL, BETTY J          215 IRVINGTON AVE                                                                                      SOMERSET            NJ 08873‐3021
MARSHALL, BETTY J          6145 STEM LANE                                                                                         MT. MORRIS          MI 48458‐2653
MARSHALL, BEVERLY J.       150 KUHN RD                                                                                            ROCHESTER           NY 14612‐1447
MARSHALL, BILL             GUY WILLIAM S                         PO BOX 509                                                       MCCOMB              MS 39649‐0509
MARSHALL, BILLIE L         2210 PARKLAKE PT 5                                                                                     VENICE              FL 34293
MARSHALL, BILLY D          3102 BROWNELL BLVD                                                                                     FLINT               MI 48504‐2504
MARSHALL, BILLY D          405 NE COUNTY RD E                                                                                     WARRENSBURG         MO 64093‐8256
MARSHALL, BILLY DONNER     3102 BROWNELL BLVD                                                                                     FLINT               MI 48504‐2504
MARSHALL, BLANCA L         7271 N FARMINGTON RD                                                                                   WESTLAND            MI 48185‐2300
MARSHALL, BOBBIE S
MARSHALL, BONNIE           1201 N FRONT ST APT 511                                                                                HARRISBURG         PA   17102‐2810
MARSHALL, BONNIE L         17088 FAIRHILL AVE                                                                                     FARMINGTON         MN   55024‐8847
MARSHALL, BONNIE M         5226 YAKIMA                                                                                            TACOMA             WA   98408‐5746
MARSHALL, BOOKER T         2831 CONCORD ST                                                                                        FLINT              MI   48504‐3043
MARSHALL, BRENDA E         11956 WASHBURN RD                                                                                      COLUMBIAVILLE      MI   48421‐9324
MARSHALL, BRENDA L         4835 COVENTRY PKWY                                                                                     FORT WAYNE         IN   46804‐7132
MARSHALL, BRIAN D          2834 ROGER DR                                                                                          STERLING HEIGHTS   MI   48310‐2449
MARSHALL, BYRON L          1078 CANTERBURY DR                                                                                     PONTIAC            MI   48341‐2339
MARSHALL, CALVIN           7718 TAUROMEE AVE                                                                                      KANSAS CITY        KS   66112‐2916
MARSHALL, CALVIN L         4028 CLEVELAND AVE                                                                                     KANSAS CITY        MO   64130‐1506
MARSHALL, CANDACE L        2616 ROLLING MDWS                                                                                      XENIA              OH   45385
MARSHALL, CANDISE M        600 1/2 NORTH OAK STREET                                                                               DURAND             MI   48429‐1226
MARSHALL, CARLON E         108 REDWOOD DR                                                                                         GREENVILLE         OH   45331‐2928
MARSHALL, CARLON ELSE      108 REDWOOD DR                                                                                         GREENVILLE         OH   45331‐2928
MARSHALL, CARMEN DESIREE   3129 MALLERY ST                                                                                        FLINT              MI   48504‐4100
MARSHALL, CAROL            1407 WOODBIRCH AVE                                                                                     AKRON              OH   44314‐1835
MARSHALL, CARRIE C         1421 SEGUNDO DR                                                                                        IRVING             TX   75060‐2617
MARSHALL, CARRIE P         10288 ATCHISON RD                                                                                      CENTERVILLE        OH   45458‐9212
MARSHALL, CATHERINE A      3100 CHURCH RD                                                                                         HAMLIN             NY   14464‐9750
MARSHALL, CELIA J          C/O COUNCIL ON AGING OF VOLUSIA CO,   GUARDIANSHIP DEPT              P. O . BOX 671                    DAYTONA BEACH      FL   32115
                           INC
MARSHALL, CHAD             APT 3                                 1117 RAMSGATE ROAD                                               FLINT              MI   48532‐3128
MARSHALL, CHAD             1292 KRSUL DR                                                                                          FLINT              MI   48532‐3545
MARSHALL, CHANEL           5755 GROVE PLACE XING SW                                                                               LILBURN            GA   30047‐8601
MARSHALL, CHARLENE P       9 CHALLANDER WAY                                                                                       BORDENTOWN         NJ   08505‐4280
MARSHALL, CHARLES          SIMON EDDINS & GREENSTONE             3232 MCKINNEY AVE STE 610                                        DALLAS             TX   75204‐8583
MARSHALL, CHARLES          GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510‐2212
                                                                 STREET, SUITE 600
MARSHALL, CHARLES A        MAZUR & KITTEL PLLC                   1490 FIRST NATIONAL BUILDING                                     DETROIT            MI   48226
MARSHALL, CHARLES A        2270 ROCKY LN                                                                                          EUGENE             OR   97401‐7432
MARSHALL, CHARLES A        APT 201                               1193 SOUTH HARRIS ROAD                                           YPSILANTI          MI   48198‐6570
MARSHALL, CHARLES C        7083 CARPENTER RD                                                                                      FLUSHING           MI   48433‐9031
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Name                          Address1                         Address2                      Address3   Address4         City               State Zip
MARSHALL, CHARLES E           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                               STREET, SUITE 600
MARSHALL, CHARLES E           201 HARBOR APPROACH                                                                        JOHNSON CITY       TN   37601‐3145
MARSHALL, CHARLES F           1907 PRO AM PL                                                                             INDIANAPOLIS       IN   46229‐4322
MARSHALL, CHARLES M           499 E DUBOIS                                                                               IDLEWILD           MI   49642
MARSHALL, CHARLES R           1540 RIDGE COURT LN                                                                        CHAPEL HILL        TN   37034‐2088
MARSHALL, CHARLES R           PO BOX 8032                                                                                CARLISLE           OH   45005‐8032
MARSHALL, CHARLES R           446 RICHMOND PARK E APT 618A                                                               RICHMOND HEIGHTS   OH   44143‐1869
MARSHALL, CHARLIE L           208 MERIWETHER RD                                                                          LYNCHBURG          VA   24503‐1800
MARSHALL, CHERYL              1678 DURANGO DR                                                                            DEFIANCE           OH   43512‐4007
MARSHALL, CHERYL M            2924 CADWALLADER SONK RD                                                                   CORTLAND           OH   44410‐9411
MARSHALL, CHRIS A             9339 PEAKE RD                                                                              PORTLAND           MI   48875‐8480
MARSHALL, CHRIS ALLEN         9339 PEAKE RD                                                                              PORTLAND           MI   48875‐8480
MARSHALL, CHRIS J             2080 STRUBLE RD                                                                            MUIR               MI   48860‐9764
MARSHALL, CHRISTINE           APT 203                          3015 MARTA CIRCLE                                         KISSIMMEE          FL   34741‐0753
MARSHALL, CINDY A             1380 AUTUMN DR                                                                             FLINT              MI   48532‐2601
MARSHALL, CLARENCE A          7401 ELMCREST AVE                                                                          MOUNT MORRIS       MI   48458‐1808
MARSHALL, CLARENCE A          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                               STREET, SUITE 600
MARSHALL, CLEO                172 PROSPECT AVE                                                                           DAYTON             OH   45415‐2234
MARSHALL, CLIM E              1509 WESTWOOD DR                                                                           FLINT              MI   48532‐2671
MARSHALL, COLEMAN L           2104 WILBERT ST                                                                            SANDUSKY           OH   44870‐1949
MARSHALL, COLEY R             PO BOX 14446                                                                               SAGINAW            MI   48601‐0446
MARSHALL, CONNIE L            9340 MOON RD                                                                               SALINE             MI   48176‐9411
MARSHALL, CONSTANCE G         1710 LUCRETIA DRIVE                                                                        GIRARD             OH   44420‐1251
MARSHALL, CORA                6219 APACHE CT                                                                             INDIANAPOLIS       IN   46254‐1971
MARSHALL, CORA                6219 W. APACHE CT.                                                                         INDIANAPOLIS       IN   46254
MARSHALL, COREY T             15604 MIDDLEBURY DR                                                                        DEARBORN           MI   48120‐1058
MARSHALL, CORNELIA            EISENBERG ROTHWEILER SCHLEIFER   1634 SPRUCE ST                                            PHILADELPHIA       PA   19103‐6719
                              WEINSTEIN AND WINKLER
MARSHALL, CRAIG W             5257 IRISH RD                                                                              GRAND BLANC        MI   48439‐9727
MARSHALL, CRAIG W             2841 BLACK EAGLE RDG                                                                       HOWELL             MI   48843‐6942
MARSHALL, CURTIS D            21430 CAMBRIDGE AVE                                                                        DETROIT            MI   48219‐1950
MARSHALL, CYNTHIA L           9225 E BRISTOL RD                                                                          DAVISON            MI   48423‐8780
MARSHALL, DANIEL              6323 SMOKEY HOLLOW RD                                                                      JAMESVILLE         NY   13078‐9548
MARSHALL, DANIEL B            2520 LAVENDER DR                                                                           FORT WAYNE         IN   46818‐9592
MARSHALL, DANIEL L            1355 POLO FIELDS LN                                                                        COLUMBIA           TN   38401‐7360
MARSHALL, DANNY E             18271 ROBERT ST                                                                            MELVINDALE         MI   48122‐1420
MARSHALL, DARRIAL W           276 MOUSETAIL LNDG                                                                         LINDEN             TN   37096‐5464
MARSHALL, DAVID               520 DEEDS AVENUE                                                                           DAYTON             OH   45404‐1730
MARSHALL, DAVID A             7710 BLUFF BLVD                                                                            ZOLFO SPRINGS      FL   33890‐3416
MARSHALL, DAVID K             53 GREENCLIFF DR                                                                           UNION              OH   45322‐3133
MARSHALL, DAVID R             2 GILLON ST                                                                                MILFORD            MA   01757‐1744
MARSHALL, DAVID S             3360 N LAKESIDE DR                                                                         SANFORD            MI   48657‐9473
MARSHALL, DEBRA               PO BOX 683                                                                                 ARITON             AL   36311‐0683
MARSHALL, DEBRA A             PO BOX 61                                                                                  LIBERTY            MS   39645‐0061
MARSHALL, DEBRA ANN           830 QUATRO LN                                                                              LEONARD            MI   48367‐2538
MARSHALL, DEBRA J             3032 ALBATROSS LN                                                                          DECATUR            GA   30034‐4210
MARSHALL, DELMAS R            246 W BYNUM PL                   VILLAGE OF CROFTON                                        BEAR               DE   19701‐1020
MARSHALL, DEMERICE            2136 STRUBLE RD                                                                            MUIR               MI   48860‐9764
MARSHALL, DENNEHEY, WARNER,   GOGGIN                           PO BOX 8888                                               WILMINGTON         DE   19899‐8888
COLEMAN &
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Name                          Address1                        Address2            Address3         Address4         City               State Zip
MARSHALL, DENNEHEY, WARNER,   ERIC A. WEISS                   1845 WALNUT ST      21ST FLOOR                        PHILADELPHIA        PA 19103‐4707
COLEMAN & COGGIN
MARSHALL, DENNEHEY, WARNER,   1220 MARKET ST.                 5TH FLOOR                                             WILMINGTON         DE 19801
COLEMAN AND
MARSHALL, DENNEHEY, WARNER,   1845 WALNUT ST                                                                        PHILADELPHIA       PA 19103‐4707
COLEMAN AND
MARSHALL, DENNIS L            108 S WARREN ST                                                                       PORTLAND           MI   48875‐1429
MARSHALL, DENNIS M            3420 REAMER RD                                                                        LAPEER             MI   48446
MARSHALL, DENNIS W            9225 E BRISTOL RD                                                                     DAVISON            MI   48423‐8780
MARSHALL, DEREK A             3660 LINCOLNSHIRE RD                                                                  WATERFORD          MI   48328‐3537
MARSHALL, DIANE M             4805 CLOVE DR SW                                                                      MABLETON           GA   30126‐1186
MARSHALL, DINA                3545 ROGERS AVE                                                                       ELLICOTT CITY      MD   21043‐4118
MARSHALL, DOLORES A           2409 GREENS MILL RD LOT 14                                                            COLUMBIA           TN   38401‐6191
MARSHALL, DON P               720 NW SCENIC DR                                                                      GRAIN VALLEY       MO   64029‐7323
MARSHALL, DONALD A            219 S PROSPECT ST                                                                     YPSILANTI          MI   48198‐7916
MARSHALL, DONALD ALLEN        219 S PROSPECT ST                                                                     YPSILANTI          MI   48198‐7916
MARSHALL, DONALD B            9 CHALLANDER WAY                                                                      BORDENTOWN         NJ   08505‐4280
MARSHALL, DONALD G            4787 BOYKIN DR                                                                        NORTH CHARLESTON   SC   29420
MARSHALL, DONALD I            5191 SW 178TH TER                                                                     DUNNELLON          FL   34432‐2140
MARSHALL, DONALD L            6230 W WILSON RD                                                                      CLIO               MI   48420‐9462
MARSHALL, DONALD R            12064 W 00 NS                                                                         RUSSIAVILLE        IN   46979‐9753
MARSHALL, DONALD W            3262 BROCK DR                                                                         TOLEDO             OH   43613‐1033
MARSHALL, DONN M              10200 HADLEY RD                                                                       CLARKSTON          MI   48348‐1918
MARSHALL, DONNA               PO BOX 432                                                                            ZAVALLA            TX   75980‐0432
MARSHALL, DORIS G             310 W ELM ST                                                                          FLORA              IN   46929‐1029
MARSHALL, DORIS G             310 W. ELM ST                                                                         FLORA              IN   46929‐1029
MARSHALL, DORIS J             378 SABO DR                                                                           MANSFIELD          OH   44905‐2608
MARSHALL, DORIS J             378 SABO DRIVE                                                                        MANSFIELD          OH   44905‐2608
MARSHALL, DOROTHY A           360 LORISH AVE                                                                        WILMINGTON         OH   45177
MARSHALL, DOROTHY I           6624 E 600 N                                                                          WILKINSON          IN   46186‐9770
MARSHALL, DOROTHY J           14870 STRATHMOOR ST                                                                   DETROIT            MI   48227‐2932
MARSHALL, DOROTHY J           1620 N 85TH ST                                                                        KANSAS CITY        KS   66112‐1784
MARSHALL, DOUGLAS D           6896 GALBRAITH LINE RD                                                                LEXINGTON          MI   48450‐9658
MARSHALL, DOUGLAS DEAN        6896 GALBRAITH LINE RD                                                                LEXINGTON          MI   48450‐9658
MARSHALL, DOUGLAS P           542 ARBOR LN                                                                          OSWEGO             IL   60543‐7512
MARSHALL, DOUGLAS W           545 UNIVERSITY PL                                                                     GROSSE POINTE      MI   48230‐1639
MARSHALL, DWAYNE              WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                       NEW YORK           NY   10038
MARSHALL, DWAYNE R            5053 FOX FOREST CIR SW                                                                LILBURN            GA   30047‐5570
MARSHALL, E C
MARSHALL, EBONY M             4808 WARRINGTON DR                                                                    FLINT              MI   48504‐2083
MARSHALL, EDRIS J             109 RIVER BIRCH DRIVE                                                                 FLETCHER           NC   28732‐8695
MARSHALL, EDWARD              PO BOX 14603                                                                          SAGINAW            MI   48601‐0603
MARSHALL, EDWARD              1517 N MIDWEST BLVD APT 6                                                             OKLAHOMA CITY      OK   73110
MARSHALL, EDWARD E            3636 7 MILE RD                                                                        BAY CITY           MI   48706‐9476
MARSHALL, EDWARD E            PO BOX 1049                                                                           PONTOTOC           MS   38863‐1049
MARSHALL, EDWARD F            13949 W BACON RD                                                                      ALBION             NY   14411‐9018
MARSHALL, EDWARD T            20967 W DEER RIDGE DR                                                                 WARRENTON          MO   63383‐6578
MARSHALL, EFFIE M             1170 KIRKWALL DR                                                                      FORT WORTH         TX   76134‐2219
MARSHALL, ELBERT              PO BOX 4287                                                                           HONOLULU           HI   96812‐4287
MARSHALL, ELIZABETH C         4135 BALLARD AVE                                                                      CINCINNATI         OH   45209‐1719
MARSHALL, ELLIS               1247 MARSH RD                                                                         PLAINWELL          MI   49080‐9308
MARSHALL, ELSIE C             1485 MERIDEN AVE                                                                      SOUTHINGTON        CT   06489‐4220
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Name                        Address1                         Address2                       Address3   Address4         City                State Zip
MARSHALL, ERIC F            408 E WALNUT ST                                                                             SUMMITVILLE          IN 46070‐9305
MARSHALL, ERMA K            PO BOX 207                                                                                  GRAMPIAN             PA 16838‐0207
MARSHALL, ERMA K            BOX 207                                                                                     GRAMPIAN             PA 16838‐0207
MARSHALL, ERNEST            4903 GOODNOW ROAD                                                                           BALTIMORE            MD 21206
MARSHALL, ERNEST F          3658 BADGER LN                                                                              SPENCER              IN 47460‐9129
MARSHALL, ERNEST FRANKLIN   3658 BADGER LANE                                                                            SPENCER              IN 47460‐9129
MARSHALL, ERNEST L          415 E MORSE ST                                                                              MARKLE               IN 46770‐9515
MARSHALL, ERNEST LEE        415 E MORSE ST                                                                              MARKLE               IN 46770‐9515
MARSHALL, ERNESTINE         12101 GREENLAWN AVE                                                                         OKLAHOMA CITY        OK 73170‐4843
MARSHALL, ESSIE M           PO BOX 14216                                                                                DETROIT              MI 48214‐0216
MARSHALL, ESSIE M           P.O BOX 14216                                                                               JEFFERSON STATION    MI 48214
MARSHALL, ESTHER NORENE     11301 FERNWOOD AVENUE                                                                       FONTANA              CA 92337‐0135
MARSHALL, EUNICE            116 S RIVER DR                                                                              CLARKSTON            MI 48346‐4150
MARSHALL, EUNICE I          6410 21ST AVE W #323                                                                        BRADENTON            FL 34209
MARSHALL, EUNICE M          855 BATES ST SE                                                                             GRAND RAPIDS         MI 49506‐2615
MARSHALL, EUNICE O          5116 SHERRILL DR                                                                            FORT WAYNE           IN 46806‐3544
MARSHALL, EVELYN            518 N OAK ST                                                                                EVART                MI 49631‐9584
MARSHALL, EVELYN F          35263 BRISTLECONE                                                                           CLINTON TWP          MI 48035‐2321
MARSHALL, EVERETT W         PO BOX 771226                                                                               SAINT LOUIS          MO 63177‐2226
MARSHALL, FANNIE L          550 MCDONALD AVE                                                                            GALION               OH 44833‐3148
MARSHALL, FRANCIS MAY       1090 CONCORD RD                                                                             RUSSELLVILLE         KY 42276‐6504
MARSHALL, FRED C            8472 MURRAY RIDGE RD                                                                        ELYRIA               OH 44035‐4749
MARSHALL, FREDA             45201 NORTHPOINTE BLVD APT 206                                                              UTICA                MI 48315‐5878
MARSHALL, FREDDIE L         1606 W HOME AVE                                                                             FLINT                MI 48504‐1618
MARSHALL, FREDDIE M         PO BOX 14428                                                                                SAGINAW              MI 48601‐0428
MARSHALL, GARY              32 PEACH RIDGE DR                                                                           MULLICA HILL         NJ 08062‐2910
MARSHALL, GARY              BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD           OH 44067
                                                             PROFESSIONAL BLDG
MARSHALL, GARY A            2815 S CANAL RD                                                                             EATON RAPIDS        MI   48827‐9392
MARSHALL, GARY A            58 HUDSON AVE                                                                               PONTIAC             MI   48342‐1243
MARSHALL, GARY L            225 FITZGERALD LN                                                                           DAVENPORT           FL   33837‐8464
MARSHALL, GARY R            31445 CONWAY DR                                                                             WESTLAND            MI   48185‐1645
MARSHALL, GARY W            18271 ROBERT ST                                                                             MELVINDALE          MI   48122‐1420
MARSHALL, GARY W            APT 64                           860 SOUTH DIXIE DRIVE                                      VANDALIA            OH   45377‐2652
MARSHALL, GAYLORD W         2578 WOODLAWN DR                                                                            ANDERSON            IN   46013‐9617
MARSHALL, GENE A            17328 WESTMORELAND RD                                                                       DETROIT             MI   48219‐3550
MARSHALL, GEORGE D          1339 COLLINS RD                                                                             MEDON               TN   38356‐9398
MARSHALL, GEORGE E          1874 PRATT ST                                                                               PHILADELPHIA        PA   19124‐2139
MARSHALL, GEORGE E          5758 STANLEY RD                                                                             COLUMBIAVILLE       MI   48421‐8912
MARSHALL, GEORGE EDWARD     5758 STANLEY RD                                                                             COLUMBIAVILLE       MI   48421‐8912
MARSHALL, GEORGE M          14249 E ARIZONA AVE                                                                         AURORA              CO   80012‐4645
MARSHALL, GEORGE W          3813 CLAIRMONT ST                                                                           FLINT               MI   48532‐5227
MARSHALL, GEORGE W          3268 JACQUE ST                                                                              FLINT               MI   48532‐3709
MARSHALL, GEORGIE F         3272 ELMERS DRIVE                                                                           SAGINAW             MI   48601‐6915
MARSHALL, GERALD A          3026 REESE DR                                                                               STERLING HTS        MI   48310‐3653
MARSHALL, GERALD A          1000 KINGS HIGH WAY # 339                                                                   PORT CHARLOTTE      FL   33980
MARSHALL, GERALD B          1811 MIMOSA LN                                                                              ANDERSON            IN   46011‐1136
MARSHALL, GERALD C          4504 THISTLE DR                                                                             DAYTON              OH   45427‐2836
MARSHALL, GERALD T          10958 RYAN RD                                                                               MEDINA              NY   14103‐9529
MARSHALL, GERALDINE         5399 EVANS RD                                                                               HOLLY               MI   48442‐8430
MARSHALL, GILBERT SR        BRAYTON PURCELL                  PO BOX 6169                                                NOVATO              CA   94948‐6169
MARSHALL, GLADYS M          611 HODAPP AVE                                                                              DAYTON              OH   45410‐2710
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Name                       Address1                        Address2           Address3        Address4         City                 State Zip
MARSHALL, GLADYS M         611 HODAPP AVENUE                                                                   DAYTON                OH 45410‐2710
MARSHALL, GLEN W           2612 PROSPECT ST                                                                    FLINT                 MI 48504‐3347
MARSHALL, GLORIA           PO BOX 11                                                                           WARREN                MI 48090‐0011
MARSHALL, GORDON W         1226 LEXINGTON PKWY                                                                 YPSILANTI             MI 48198‐3136
MARSHALL, GUY G            3132 W EHRLINGER RD                                                                 JANESVILLE            WI 53546‐8925
MARSHALL, GUY N            1202 BYDDING RD                                                                     ANN ARBOR             MI 48103‐3104
MARSHALL, HARLAN D         PO BOX 271                                                                          MARKLEVILLE           IN 46056‐0271
MARSHALL, HAROLD G         7116 CATALINA WAY                                                                   LAKE WORTH            FL 33467‐7751
MARSHALL, HAROLD L         2136 STRUBLE RD                                                                     MUIR                  MI 48860‐9764
MARSHALL, HAROLD R         5755 GROVE PLACE XING SW                                                            LILBURN               GA 30047‐8601
MARSHALL, HAROLD RICHARD   5755 GROVE PLACE XING SW                                                            LILBURN               GA 30047‐8601
MARSHALL, HAROLD RONALD    10303 ORCHARD HILLS CT                                                              TAMPA                 FL 33615‐2577
MARSHALL, HARVEY L         2030 E 171ST PL                                                                     SOUTH HOLLAND          IL 60473‐3718
MARSHALL, HELEN G          23603 MISSLICH DR                                                                   RICHLAND CENTER       WI 53581‐4408
MARSHALL, HELEN L.         PO BOX 89                                                                           SOUTH VIENNA          OH 45369‐0089
MARSHALL, HELEN M          702 BRYANT ST                                                                       MONROE                LA 71202‐4816
MARSHALL, HENRY A          4105 AUTUMN DR                                                                      JARRETTSVILLE         MD 21084‐1126
MARSHALL, HENRY B          39 VINCENT CT                                                                       SMYRNA                DE 19977‐7721
MARSHALL, HENRY C          5027 TEN OAKS RD                                                                    CLARKSVILLE           MD 21029‐1015
MARSHALL, HENRY C          1514 ISLAND GREEN DR                                                                DESTIN                FL 32550‐5878
MARSHALL, HENRY J          5031 ANGELIQUE DR                                                                   INDIANAPOLIS          IN 46254‐5761
MARSHALL, HERBERT F        875 W SEYBERT ST                                                                    PENDLETON             IN 46064‐9094
MARSHALL, HOWARD E         5830 CAROLINE DR                                                                    LAKEVIEW              MI 48850‐9679
MARSHALL, HOWARD L         PO BOX 382                                                                          BRINKLEY              AR 72021‐0382
MARSHALL, IDA B            16746 MANSFIELD ST                                                                  DETROIT               MI 48235‐3633
MARSHALL, IDA M            729 SAINT PETER BLVD                                                                SHREVEPORT            LA 71106‐5168
MARSHALL, IDA P            266 OXFORD VALLEY RD                                                                YARDLEY               PA 19067‐7702
MARSHALL, IRIS M           7116 CATALINA WAY                                                                   LAKE WORTH            FL 33467‐7751
MARSHALL, JA NAE N         7405 N MAIN ST                                                                      GLADSTONE             MO 64118‐1657
MARSHALL, JACK R           2300 AARON ST APT 304                                                               PORT CHARLOTTE        FL 33952‐5378
MARSHALL, JACKIE A         804 RUE DE LASALLE ST                                                               WAVELAND              MS 39576‐2836
MARSHALL, JACQUELINE R     797 OAKLAND PARK AVE                                                                COLUMBUS              OH 43224‐3255
MARSHALL, JAMES            PORTER & MALOUF PA              4670 MCWILLIE DR                                    JACKSON               MS 39206‐5621
MARSHALL, JAMES            83 BLUFF AVE                                                                        LA GRANGE              IL 60525‐2507
MARSHALL, JAMES            3837 CORPORATION CIR                                                                CHARLOTTE             NC 28216‐3418
MARSHALL, JAMES A          432 RIDGECREST ROAD NORTHEAST                                                       ATLANTA               GA 30307‐1870
MARSHALL, JAMES C          11365 FLINT ROCK DR                                                                 GRAND LEDGE           MI 48837‐9149
MARSHALL, JAMES D          1009 DOCKWAY DR                                                                     HURON                 OH 44839‐1952
MARSHALL, JAMES D          7420 NEW HAMPSHIRE DR                                                               DAVISON               MI 48423‐9512
MARSHALL, JAMES E          5225 PINE KNOB TRL                                                                  CLARKSTON             MI 48346‐4131
MARSHALL, JAMES E.         5225 PINE KNOB TRL                                                                  CLARKSTON             MI 48346‐4131
MARSHALL, JAMES GARFIELD   MOODY EDWARD O                  801 W 4TH ST                                        LITTLE ROCK           AR 72201‐2107
MARSHALL, JAMES H          25626 LILAC CT                                                                      BONITA SPGS           FL 34135‐6461
MARSHALL, JAMES L          7826 201ST ST SW                                                                    EDMONDS               WA 98026‐6840
MARSHALL, JAMES L          3547 W MI 36                                                                        PINCKNEY              MI 48169‐9611
MARSHALL, JAMES L          9501 HEMENGER CT                                                                    CLAY                  MI 48001‐4005
MARSHALL, JAMES M          308 MEADOWBROOK RD                                                                  ROBBINSVILLE          NJ 08691‐2503
MARSHALL, JAMES M          1043 ALLENDALE AVE                                                                  AKRON                 OH 44306‐2241
MARSHALL, JAMES S          440 BERRY LAKE DR                                                                   COMMERCE TOWNSHIP     MI 48390‐4500
MARSHALL, JAMES W          8221 TEWKSBERRY PL                                                                  GRAND BLANC           MI 48439‐9755
MARSHALL, JANE E.          2721 WESTLOCK DR                                                                    WILMINGTON            DE 19808‐2172
MARSHALL, JANE H           765 BEDFORD RD                                                                      GROSSE POINTE PARK    MI 48230
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Name                       Address1                        Address2                         Address3   Address4         City               State Zip
MARSHALL, JANET E          30616 PIERCE ST                                                                              GARDEN CITY         MI 48135‐1431
MARSHALL, JANET M          3102 BROWNELL BLVD                                                                           FLINT               MI 48504‐2504
MARSHALL, JANET MARIE      3102 BROWNELL BLVD                                                                           FLINT               MI 48504‐2504
MARSHALL, JANICE E         6510 MERTZ RD                                                                                MAYVILLE            MI 48744‐9548
MARSHALL, JANICE M         442 DRISKILL CIR                                                                             NEWPORT             TN 37821‐4523
MARSHALL, JASMINE D        19035 ASH AVE                                                                                EASTPOINTE          MI 48021‐2732
MARSHALL, JASON R          102 CONCORD DR                                                                               COLUMBIA            TN 38401‐7200
MARSHALL, JEANETTE         1295 CAMPBELL ST                                                                             JACKSON             TN 38301‐3554
MARSHALL, JEFFREY K        5 BONNIE CT N                                                                                HOMOSASSA           FL 34446‐4962
MARSHALL, JEFFREY R        432 RIVER ST # A                                                                             WOONSOCKET           RI 02895‐2935
MARSHALL, JEFFREY S        1235 RICHARDSON ST                                                                           JANESVILLE          WI 53545‐1029
MARSHALL, JEFFREY S        PO BOX 54                                                                                    WHITESTOWN          IN 46075
MARSHALL, JEFFREY V        CMR 420 BOX 614                                                                              APO                 AE 09063‐0614
MARSHALL, JEFFREY W        3745 BEAL RD                                                                                 FRANKLIN            OH 45005‐4619
MARSHALL, JERRY K          3573 BAYBROOK DR                                                                             WATERFORD           MI 48329‐3901
MARSHALL, JERRY L          11739 DOROTHY LN                                                                             WARREN              MI 48093‐8919
MARSHALL, JERRY L          2358 MIAMI VLLGE DR                                                                          MIAMISBURG          OH 45342
MARSHALL, JERRY R          14369 SWANEE BEACH DR                                                                        FENTON              MI 48430‐1463
MARSHALL, JERRY T          230 SUNSET RIDGE DR                                                                          JACKSON             MO 63755‐8371
MARSHALL, JERRY W          2304 RAINTREE DR                                                                             ANDERSON            IN 46011‐2643
MARSHALL, JESSICA S        18450 MARYLAND DR                                                                            SOUTHFIELD          MI 48075‐2518
MARSHALL, JESSIE           18634 ROSELAWN ST                                                                            DETROIT             MI 48221‐2118
MARSHALL, JESSIE L         8953 RUTHELEN ST                                                                             LOS ANGELES         CA 90047‐3545
MARSHALL, JEWELL E         420 W ANDRUS RD                                                                              NORTHWOOD           OH 43619‐1251
MARSHALL, JEWELL E         420 W. ANDRUS RD                                                                             NORTHWOOD           OH 43619‐1251
MARSHALL, JIM A            3314 N 155TH ST                                                                              BASEHOR             KS 66007‐9540
MARSHALL, JO ANN           5333 W GLADYS AVE                                                                            CHICAGO              IL 60644‐4710
MARSHALL, JOAN             2784 SLIGO RD                                                                                HAUGHTON            LA 71037‐8254
MARSHALL, JOAN E           145 FOREST POINT LN APT 901                                                                  AVON                IN 46123‐6675
MARSHALL, JODIE L          2171 HOLTON RD                                                                               GROVE CITY          OH 43123‐8982
MARSHALL, JOHANNA          6420 SAINT JAMES DR                                                                          INDIANAPOLIS        IN 46217‐3857
MARSHALL, JOHANNA          3027 W LUCIA DR                                                                              PHOENIX             AZ 85083‐5879
MARSHALL, JOHANNA          6420 ST JAMES DR                                                                             INDIANAPOLIS        IN 46217‐3857
MARSHALL, JOHN             3509 COACHLIGHT COMMON ST                                                                    LANSING             MI 48911‐4404
MARSHALL, JOHN A COMPANY   10930 LACKMAN RD                                                                             LENEXA              KS 66219‐1232
MARSHALL, JOHN D           PO BOX 38                                                                                    NINEVEH             IN 46164‐0038
MARSHALL, JOHN D           4411 S NEW COLUMBUS RD                                                                       ANDERSON            IN 46013‐3456
MARSHALL, JOHN G           42753 TESSMER DR                                                                             STERLING HEIGHTS    MI 48314‐3079
MARSHALL, JOHN M           3608 WINSTON CHURCHILL DR                                                                    DAYTON              OH 45432‐2277
MARSHALL, JOHN R           3665 WALTMAR DR                                                                              BRIDGEPORT          MI 48722‐9577
MARSHALL, JOHN T           10326 ABBEY RD                                                                               N ROYALTON          OH 44133‐2526
MARSHALL, JOHN T           1675 W PACKING PLANT RD                                                                      WILLCOX             AZ 85643
MARSHALL, JOHN W           9774 BURNING TREE DR                                                                         GRAND BLANC         MI 48439‐9568
MARSHALL, JOHN W           2536 TANSEL ROAD                                                                             INDIANAPOLIS        IN 46234‐9574
MARSHALL, JOHN W           APT 1022                        1200 WEST CHEYENNE AVENUE                                    N LAS VEGAS         NV 89030‐7830
MARSHALL, JOHNNIE          2807 PRINCETON AVE SW                                                                        DECATUR             AL 35603‐1183
MARSHALL, JOHNNY R         18 SHADOW CREEK DR                                                                           SAINT PETERS        MO 63376‐2357
MARSHALL, JONATHAN K       APT P                           5154 EAST PONCE DE LEON AVENUE                               STONE MTN           GA 30083‐1272

MARSHALL, JOSEPH M         11248 EBY ST                                                                                 OVERLAND PARK      KS 66210‐1793
MARSHALL, JOSEPH M         303 E LAKE ST                                                                                SUMMITVILLE        IN 46070‐9726
MARSHALL, JOSEPH P         340 ARBOR DR APT 1115                                                                        RIDGELAND          MS 39157‐4817
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Name                       Address1                       Address2                   Address3   Address4         City                 State Zip
MARSHALL, JOSEPH W         4338 TOWNLINE RD                                                                      LOCKPORT              NY 14094
MARSHALL, JUDY             8755 FOSTER ROAD                                                                      CLARKSTON             MI 48346‐1964
MARSHALL, JUDY             8755 FOSTER RD                                                                        CLARKSTON             MI 48346‐1964
MARSHALL, JUDY A           4138 AMELIA DR                                                                        SAGINAW               MI 48601‐5003
MARSHALL, JUNE             4541 PRAIRIE FORK RD                                                                  NEW HAVEN             MO 63068‐2510
MARSHALL, JUNE             615 SANTA MONICA DR                                                                   YOUNGSTOWN            OH 44505‐1143
MARSHALL, JUSTIN P         1295 SW 1ST ST                                                                        PAOLI                 IN 47454‐9102
MARSHALL, KAREN S          1634 AUTUMN BROOK DRIVE                                                               MARYVILLE             TN 37801‐8398
MARSHALL, KATHY M          1142 WORSHAM MILL RD # B                                                              RUFFIN                NC 27326‐9413
MARSHALL, KATHY S          299 PARK END DR                                                                       DAYTON                OH 45415‐3532
MARSHALL, KEITH A          1655 EASTWIND PL                                                                      YOUNGSTOWN            OH 44515‐5625
MARSHALL, KEITH A          3894 INDIAN RUN DR.                                                                   CANFIELD              OH 44406
MARSHALL, KENNETH D        3213 MONIDA CT                                                                        LEXINGTON             KY 40515
MARSHALL, KENNETH E        614 TYRONE AVE                                                                        WILMINGTON            DE 19804‐2222
MARSHALL, KIESHA N         608 W 3RD ST                                                                          WILMINGTON            DE 19801‐2322
MARSHALL, KIESHA NICOLE    608 W 3RD ST                                                                          WILMINGTON            DE 19801‐2322
MARSHALL, KIMBERLY M       PO BOX 8032                                                                           CARLISLE              OH 45005‐8032
MARSHALL, KING DAVID       COLOM LAW FIRM                 605 2ND AVE N                                          COLUMBUS              MS 39701‐4513
MARSHALL, KIRSTEN D        2776 SLIGO RD                                                                         HAUGHTON              LA 71037‐8254
MARSHALL, KRYSTYNA         2055 YEMANS ST                                                                        HAMTRAMCK             MI 48212‐3242
MARSHALL, KRYSTYNA         2055 YEMANS                                                                           HAMTRAMCK             MI 48212‐3242
MARSHALL, KYLE L           2300 AARON ST APT 304                                                                 PORT CHARLOTTE        FL 33952‐5378
MARSHALL, LA FERN M        6624 COLEMAN RD                                                                       EAST LANSING          MI 48823‐9477
MARSHALL, LAMOTTE W        30 BOOKER CIR PENN VALLEY                                                             NEW CASTLE            DE 19720
MARSHALL, LANNIE           1309 HASTINGS AVE                                                                     MIAMISBURG            OH 45342‐3526
MARSHALL, LANNIE H         1309 HASTINGS AVE                                                                     MIAMISBURG            OH 45342‐3526
MARSHALL, LARRY D          340 OAK HARBOR CP                                                                     HAINES CITY           FL 33844‐9624
MARSHALL, LARRY D          1414 BANBURY PL                                                                       FLINT                 MI 48505‐1927
MARSHALL, LARRY D          OAK HARBOR                     LOT 340                                                HAINES CITY           FL 33844
MARSHALL, LARRY DONALL     1414 BANBURY PL                                                                       FLINT                 MI 48505‐1927
MARSHALL, LARRY E          1334 PIRKLE RD                                                                        NORCROSS              GA 30093‐3928
MARSHALL, LARRY EDWIN      1334 PIRKLE RD                                                                        NORCROSS              GA 30093‐3928
MARSHALL, LARRY G          256 RAINBOW DR # 15625                                                                LIVINGSTON            TX 77399‐2056
MARSHALL, LARRY L          6105 CHIDESTER DR                                                                     CANFIELD              OH 44406‐9749
MARSHALL, LARRY S          ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                               WILMINGTON            DE 19801‐1813
MARSHALL, LAURA M          19935 PARKSIDE ST                                                                     SAINT CLAIR SHORES    MI 48080‐3366
MARSHALL, LAUREN MORAETH   5116 SHERRILL DR                                                                      FORT WAYNE            IN 46806‐3544
MARSHALL, LAURENCE R       38957 PLUMBROOK DR                                                                    FARMINGTON HILLS      MI 48331‐2970
MARSHALL, LAVONYA C        706 VERNON AVE                                                                        BELOIT                WI 53511‐6065
MARSHALL, LAWRENCE E       815 BURLINGAME ST                                                                     DETROIT               MI 48202‐1006
MARSHALL, LAWRENCE E       5116 SHERRILL DR                                                                      FORT WAYNE            IN 46806‐3544
MARSHALL, LAWRENCE J       5263 LONSBERRY RD                                                                     COLUMBIAVILLE         MI 48421‐9384
MARSHALL, LAWRENCE W       4260 HAPSBURG CT                                                                      DECATUR               GA 30034
MARSHALL, LEE V            5390 E MOUNT MORRIS RD                                                                MOUNT MORRIS          MI 48458
MARSHALL, LEE W            260 N LAKE CIR                                                                        EUPORA                MS 39744‐4005
MARSHALL, LEITHA           17 MILTON ST                                                                          DAYTON                OH 45403
MARSHALL, LELA C           2524 S MACEDONIA                                                                      MUNCIE                IN 47302‐5434
MARSHALL, LENDALE          5475 MCNAMARA LN                                                                      FLINT                 MI 48506‐2280
MARSHALL, LEON             6508 TRAYMORE AVE                                                                     BROOKLYN              OH 44144‐3749
MARSHALL, LEONARD R        507 W SUNNYBROOK DR                                                                   ROYAL OAK             MI 48073‐2568
MARSHALL, LEROY D          966 48TH ST SE                                                                        KENTWOOD              MI 49508‐4720
MARSHALL, LESLEY           62 CASCADE LN                                                                         WATERFORD             MI 48327‐3873
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Name                      Address1                         Address2            Address3         Address4         City                 State Zip
MARSHALL, LESLEY          62 CASCADE LANE                                                                        WATERFORD             MI 48327‐3873
MARSHALL, LILLIE          1028 WASHINGTON                                                                        KANSAS CITY           KS 66102‐6102
MARSHALL, LINDA C         27 GINA LN                                                                             ELKTON                MD 21921‐7200
MARSHALL, LINDA S         1307 S MAPLE ST                                                                        CENTRALIA              IL 62801‐5123
MARSHALL, LLOYD A         5001 W CONNIE DR                                                                       MUNCIE                IN 47304‐9065
MARSHALL, LLOYD ALLEN     5001 W CONNIE DR                                                                       MUNCIE                IN 47304‐9065
MARSHALL, LLOYD D         PO BOX 50306                                                                           MIDWEST CITY          OK 73140‐5306
MARSHALL, LORAINE A       1225 LINCOLN AVE                                                                       FLINT                 MI 48507‐1522
MARSHALL, LORES A         2618 ANTHONY AVE                                                                       JANESVILLE            WI 53546‐5610
MARSHALL, LORETTA A       828 AMHERST ST APT C                                                                   BUFFALO               NY 14216‐3100
MARSHALL, LORETTA G       29331 W CHANTICLEER DR                                                                 SOUTHFIELD            MI 48034‐1484
MARSHALL, LORETTA J       4556 E 200 S                                                                           MARION                IN 46953‐9134
MARSHALL, LOUIS J         3410 S TOWERLINE RD                                                                    BRIDGEPORT            MI 48722‐9542
MARSHALL, LOUIS T         3805 N GLENWOOD AVE                                                                    MUNCIE                IN 47304‐1820
MARSHALL, LUCILLE R       1432 GREENWICH LN                                                                      JANESVILLE            WI 53545‐1220
MARSHALL, LUCILLE V.      22804 AVON ST                                                                          SAINT CLAIR SHORES    MI 48082‐2014
MARSHALL, LURA            4534 VANCOUVER ST                                                                      DETROIT               MI 48204‐3670
MARSHALL, LYNETTE M       3406 STARWICK DR                                                                       CANFIELD              OH 44406‐8048
MARSHALL, MAEWETHERS      2901 N 75TH TER                                                                        KANSAS CITY           KS 66109‐1606
MARSHALL, MAGNOLIA        9103 GREENVIEW AVE                                                                     DETROIT               MI 48228‐1898
MARSHALL, MARGARET A      3306 JAY DR                                                                            ANDERSON              IN 46012‐1220
MARSHALL, MARIE           86 ARDMORE HWY                                                                         FAYETTEVILLE          TN 37334‐3704
MARSHALL, MARIE           503 CEDAR SPRING RD                                                                    BEL AIR               MD 21015
MARSHALL, MARION          81 JACKSON ST                                                                          SLOAN                 NY 14212‐2331
MARSHALL, MARION          81 JACKSON AVE                                                                         SLOAN                 NY 14212‐2331
MARSHALL, MARION          7674 KAYE DR                                                                           FRANKLIN              OH 45005‐3822
MARSHALL, MARION L        172 CHRIS DR                                                                           ENGLEWOOD             OH 45322‐1115
MARSHALL, MARITA R        1751 N COUNTY ROAD 600 W                                                               YORKTOWN              IN 47396‐9534
MARSHALL, MARK D          15125 COOK ROAD                                                                        LACHINE               MI 49753‐9465
MARSHALL, MARLIN E        9950 MUNFORD RD                                                                        HARBOR BEACH          MI 48441
MARSHALL, MARSHA G        1954 MACKENZIE DR                                                                      COLUMBUS              OH 43220‐2934
MARSHALL, MARTHA A        39123 BUCKINGHAM DR                                                                    ROMULUS               MI 48174‐6325
MARSHALL, MARVIN A        8809 IRONWOOD DR                                                                       BELLEVILLE            MI 48111‐7420
MARSHALL, MARVIN ANDREW   8809 IRONWOOD DR                                                                       BELLEVILLE            MI 48111‐7420
MARSHALL, MARY
MARSHALL, MARY A          1149 BIT PLACE                                                                         WEST CARROLLTON      OH   45449‐5449
MARSHALL, MARY A          1149 BIT PL                                                                            WEST CARROLLTON      OH   45449‐2115
MARSHALL, MARY A          25626 LILAC CT                                                                         BONITA SPGS          FL   34135‐6461
MARSHALL, MARY A          17684 STAHELIN AVE                                                                     DETROIT              MI   48219‐4241
MARSHALL, MARY B          2008 E 26TH ST                                                                         MUNCIE               IN   47302‐5967
MARSHALL, MARY E.         5290 PRICE                                                                             GAINESVILLE          GA   30506‐2368
MARSHALL, MARY E.         5290 PRICE RD                                                                          GAINESVILLE          GA   30506‐2368
MARSHALL, MARY I          104 PALMER DR                                                                          MONETT               MO   65708‐2768
MARSHALL, MARY J          1613 W KNIFE RIVER RD                                                                  TWO HARBORS          MN   55616‐8044
MARSHALL, MARY K          19925 WESTBROOK                                                                        DETROIT              MI   48219‐1348
MARSHALL, MARY L          8253 BIG HORN CT                                                                       DAYTON               OH   45424‐4414
MARSHALL, MARY L          8263 BIG HORN CT                                                                       DAYTON               OH   45424‐1320
MARSHALL, MARY LOUISE     1205 HIGHLAND DR                                                                       JACKSON              MO   63755‐2721
MARSHALL, MARY P          399 CAMP ST                                                                            N HUNTINGDON         PA   15642‐1347
MARSHALL, MARYANN B       20622 PINE MEADOW DR                                                                   CLINTON TOWNSHIP     MI   48036‐3804
MARSHALL, MAURICE W       230 PROGRESS RD APT 62                                                                 SHELBYVILLE          IN   46176‐1818
MARSHALL, MELIKA          286 CONCORD TER                                                                        MCDONOUGH            GA   30253‐3956
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Name                            Address1                         Address2                       Address3   Address4         City               State Zip
MARSHALL, MELODYLYN E           1269 TREMONT AVE                                                                            FLINT               MI 48505‐1421
MARSHALL, MELODYLYN ELIZABETH   1269 TREMONT AVE                                                                            FLINT               MI 48505‐1421
MARSHALL, MELVIN G              1112 SOUTHWEST 53RD STREET                                                                  OKLAHOMA CITY       OK 73109‐4110
MARSHALL, MEREDITH E            1620 N 85TH ST                                                                              KANSAS CITY         KS 66112‐1784
MARSHALL, MIA C                 1521 TERRACE DR                                                                             GADSDEN             AL 35903‐2625
MARSHALL, MICHAEL A             32840 SCONE ST                                                                              LIVONIA             MI 48154‐4140
MARSHALL, MICHAEL D             1892 HALL ST                                                                                HOLT                MI 48842‐1703
MARSHALL, MICHAEL E             4446 THORNHILL DR                                                                           AUBURN HILLS        MI 48326‐4316
MARSHALL, MICHAEL E             23011 ALBION AVE                                                                            FARMINGTON HILLS    MI 48336‐3609
MARSHALL, MICHAEL K             15351 NORWAY STREET                                                                         MONROE              MI 48161‐5423
MARSHALL, MICHAEL KELLY         15351 NORWAY                                                                                MONROE              MI 48161
MARSHALL, MICHAEL P             10731 WACOUSTA RD                                                                           DEWITT              MI 48820‐8071
MARSHALL, MICHAEL PATRICK       10731 WACOUSTA RD                                                                           DEWITT              MI 48820‐8071
MARSHALL, MICHEAL S             4473 ROBINDALE DR                                                                           BURTON              MI 48519‐1265
MARSHALL, MICHEAL STEVEN        4473 ROBINDALE DR                                                                           BURTON              MI 48519‐1265
MARSHALL, MIKE E                42 LAKE VALHALLA                                                                            EAST STROUDSBURG    PA 18301‐8713
MARSHALL, MILDRED               800 E COURT ST APT 220                                                                      FLINT               MI 48503‐6212
MARSHALL, MILTON                PO BOX 14566                                                                                SAGINAW             MI 48601‐0566
MARSHALL, MIRIAM                507 W SUNNYBROOK DR                                                                         ROYAL OAK           MI 48073‐2568
MARSHALL, MYRA M                12073 CHAPARRAL DR               C/O WILLIAM C MARSHALL JR.                                 BRIDGETON           MO 63044‐2824
MARSHALL, NANCY                 15003 KINGSBURY ST                                                                          MISSION HILLS       CA 91345‐2023
MARSHALL, NANCY C               15704 GARRISON LANE                                                                         SOUTHGATE           MI 48195
MARSHALL, NATALIE               2543 KEEL DR                                                                                BILLINGS            MT 59105‐3672
MARSHALL, NATHAN D              4110 OAKDELL AVE                                                                            DAYTON              OH 45432
MARSHALL, NATHAN DANIEL         2520 LAVENDER DR                                                                            FORT WAYNE          IN 46818‐9592
MARSHALL, NAWATHA J             1135 TROY ST APT 8                                                                          DAYTON              OH 45404‐2738
MARSHALL, NELLIE M              356 W COLUMBIA AVE                                                                          PONTIAC             MI 48340‐1714
MARSHALL, NORMAN A              323 JAYMAR BLVD                                                                             NEWARK              DE 19702‐2881
MARSHALL, NORMAN ARTHUR         323 JAYMAR BLVD                                                                             NEWARK              DE 19702‐2881
MARSHALL, NORMAN M              2957 MICHIGAN ST                                                                            SARASOTA            FL 34237‐7341
MARSHALL, O'NEAL                508 BOWMAN ST                                                                               MANSFIELD           OH 44903‐1207
MARSHALL, ODESSA A              2880 NORTHWEST BLVD. N.W.                                                                   WARREN              OH 44485‐2232
MARSHALL, OLIVER                1844 2ND ST                                                                                 RICHMOND            CA 94801‐1515
MARSHALL, ONDRA                 1934 S RIVERVIEW CIR                                                                        ALBANY              GA 31705‐1117
MARSHALL, ORA                   1535 GRIGSBY ST                                                                             SHREVEPORT          LA 71108
MARSHALL, OSCAR C               115 MENDY CT                                                                                ENGLEWOOD           OH 45322‐1166
MARSHALL, OTIS D                3214 PROSPECT ST                                                                            FLINT               MI 48504‐3290
MARSHALL, PAMELA                KROHN & MOSS ‐ IN                120 WEST MADISON STREET 10TH                               CHICAGO              IL 60602
                                                                 FLOOR
MARSHALL, PAMELA J              24517 WARD ST                                                                               TAYLOR             MI   48180‐2190
MARSHALL, PATRICIA              452 WEST RIVER PARK DRIVE                                                                   WEST BRANCH        MI   48661‐9279
MARSHALL, PATRICIA              452 W RIVER PARK DR                                                                         WEST BRANCH        MI   48661‐9279
MARSHALL, PATRICIA J            3635 BALMORAL DR                                                                            JANESVILLE         WI   53548‐9232
MARSHALL, PATRICIA R            2451 CUMBERLAND PKWY SOUTHEAST                                                              ATLANTA            GA   30339‐6136
MARSHALL, PATRICIA R            600 S SAGINAW ST                                                                            DURAND             MI   48429‐1602
MARSHALL, PATSY L               2722 DELL RD                                                                                HARRISON           MI   48625
MARSHALL, PAUL A                1610 W CRESTVIEW DR                                                                         MUNCIE             IN   47302‐8697
MARSHALL, PAUL H                10288 ATCHISON RD                                                                           CENTERVILLE        OH   45458‐9212
MARSHALL, PAULA F               3190 ROGERS ST                                                                              MARLETTE           MI   48453‐1356
MARSHALL, PAULETTE Y            2028 BIRCHDALE CT                                                                           THOUSAND OAKS      CA   91362‐1563
MARSHALL, PAULINE W.            5263 MAPLETON RD                                                                            LOCKPORT           NY   14094‐9293
MARSHALL, PEGGY A.              PO BOX 511                                                                                  BELOIT             WI   53512‐0511
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Name                       Address1                         Address2                    Address3   Address4         City            State Zip
MARSHALL, PENNIE K         9441 CREEK VIEW DR                                                                       FARWELL          MI 48622
MARSHALL, PHILIP           1270 NOBLE RD                                                                            LEONARD          MI 48367‐1646
MARSHALL, POLLY M          PO BOX 24321                                                                             LAS ANGLES       CA 90024
MARSHALL, PRESTON T        1710 16TH ST                                                                             NIAGARA FALLS    NY 14305‐2914
MARSHALL, RALPH F          342 HOLLY ST SW                                                                          WYOMING          MI 49548‐4247
MARSHALL, RAMONA           4631 E. CENTER ST APT B                                                                  MILLINGTON       MI 48746
MARSHALL, RANDALL C        513 NORTH 5TH STREET                                                                     ALLENTOWN        PA 18102‐2914
MARSHALL, RANDOLPH         75 LAGRANGE AVE                                                                          KILMARNOCK       VA 22482‐3112
MARSHALL, RANDY L          105 SIBYL CT                                                                             MERIDIANVILLE    AL 35759
MARSHALL, RASHARD B        1521 SANDY LN APT 117                                                                    FORT WORTH       TX 76112‐3566
MARSHALL, RAYMOND          14 NORTH AVE APT B2                                                                      ELIZABETH        NJ 07208‐2485
MARSHALL, RAYMOND          ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE        MD 21202
                                                            CHARLES CENTER 22ND FLOOR
MARSHALL, RAYMOND          965 LAFAYETTE ST                 SECOND FLOOR REAR                                       ELIZABETH       NJ   07201
MARSHALL, RAYMOND E        1142 WORSHAM MILL RD B                                                                   RUFFIN          NC   27326‐9413
MARSHALL, RAYMOND E        3960 WALDRON RD                                                                          NORTH ADAMS     MI   49262‐9730
MARSHALL, RAYMOND W        11828 124TH AVE                                                                          GRAND HAVEN     MI   49417‐8800
MARSHALL, RAYMOND W        4024 WALDON RD                                                                           LAKE ORION      MI   48360‐1634
MARSHALL, REGINA           621 WEST PARKWAY AVE                                                                     FLINT           MI   48505
MARSHALL, REX W            712 PLEASANT ST                                                                          ODESSA          MO   64076‐1327
MARSHALL, RICHARD C        PO BOX 49                                                                                VERMONTVILLE    MI   49096‐0049
MARSHALL, RICHARD E        9776 BAY HARBOR CIR APT 101                                                              FORT MYERS      FL   33919‐5753
MARSHALL, RICHARD E        352 HARRIS HILL RD                                                                       WILLIAMSVILLE   NY   14221‐7407
MARSHALL, RICHARD EDWARD   352 HARRIS HILL RD                                                                       WILLIAMSVILLE   NY   14221‐7407
MARSHALL, RICHARD F        8045 REESE RD                                                                            CLARKSTON       MI   48348‐4340
MARSHALL, RICHARD J        1710 LUCRETIA DR                                                                         GIRARD          OH   44420‐4420
MARSHALL, RICHARD L        211 APACHE CIR                                                                           PULASKI         TN   38478‐9549
MARSHALL, RICHARD L        1660 FAIRVIEW RD                                                                         GALION          OH   44833‐9720
MARSHALL, RICHARD L        207 TAYLOR RD                                                                            WILMINGTON      DE   19804‐1029
MARSHALL, RICHARD M        101 GRANDVIEW RD                 APT 5                                                   STATE COLLEGE   PA   16801‐7012
MARSHALL, RICHARD W        7271 N FARMINGTON RD                                                                     WESTLAND        MI   48185‐2300
MARSHALL, RICHARD W        8450 KIRBY LIONSDALE DR                                                                  LORTON          VA   22079‐5030
MARSHALL, RICKEY D         9340 MOON RD                                                                             SALINE          MI   48176
MARSHALL, RICKEY W         7945 SWAMP CREEK RD                                                                      LEWISBURG       OH   45338‐5338
MARSHALL, RICKY K          5869 SHADBURN FERRY RD                                                                   BUFORD          GA   30518‐2066
MARSHALL, ROBERT           1359 HOOP RD                                                                             XENIA           OH   45385‐8607
MARSHALL, ROBERT
MARSHALL, ROBERT           151 BUTLER AVE                                                                           BUFFALO         NY   14208‐1620
MARSHALL, ROBERT C         3573 BAYBROOK DR                                                                         WATERFORD       MI   48329‐3901
MARSHALL, ROBERT D         318 GLENDOVER RD                                                                         LEXINGTON       KY   40503‐2011
MARSHALL, ROBERT E         18021 ARDMORE ST                                                                         DETROIT         MI   48235‐2606
MARSHALL, ROBERT E         5320 UNIVERSITY DR                                                                       SANTA BARBARA   CA   93111‐1644
MARSHALL, ROBERT F         1308 NW 7TH CT                                                                           BOYNTON BEACH   FL   33426‐2928
MARSHALL, ROBERT G         102 CONCORD DR                                                                           COLUMBIA        TN   38401‐7200
MARSHALL, ROBERT G         45201 NORTHPOINTE BLVD APT 206                                                           UTICA           MI   48315‐5878
MARSHALL, ROBERT L         7096 CARPENTER RD                                                                        FLUSHING        MI   48433‐9031
MARSHALL, ROBERT L         39543 MEADOWOOD LOOP                                                                     ZEPHYRHILLS     FL   33542‐6714
MARSHALL, ROBERT L         4133 LEERDA ST                                                                           FLINT           MI   48504‐3714
MARSHALL, ROBERT M         PO BOX 14674                     3235 YAUCK RD                                           SAGINAW         MI   48601‐0674
MARSHALL, ROBERT M         19315 GALLAGHER ST                                                                       DETROIT         MI   48234‐1609
MARSHALL, ROBERT N         G3100 MILLER RD APT 32C                                                                  FLINT           MI   48507‐1336
MARSHALL, ROBERTA J        PO BOX 245                                                                               GOSPORT         IN   47433‐0245
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Name                      Address1                        Address2            Address3         Address4         City                 State Zip
MARSHALL, ROBIN L         11388 LAKE RD                                                                         OTISVILLE             MI 48463‐9799
MARSHALL, ROBIN LYNN      11388 LAKE RD                                                                         OTISVILLE             MI 48463‐9799
MARSHALL, RODNEY A        385 2ND AVE                                                                           PONTIAC               MI 48340‐2822
MARSHALL, RODNEY D        1205 MAPLE AVE                                                                        SANDUSKY              OH 44870‐9619
MARSHALL, ROGER L         18533 ORIENTAL OAK CT                                                                 NOBLESVILLE           IN 46062‐7576
MARSHALL, ROLAND          GUY WILLIAM S                   PO BOX 509                                            MCCOMB                MS 39649‐0509
MARSHALL, RONALD D        2025 CEDAR HOLLOW DR                                                                  LAPEER                MI 48446‐9457
MARSHALL, RONALD D        4355 S REED RD                                                                        DURAND                MI 48429‐9760
MARSHALL, RONALD D        PO BOX 143                                                                            MARKLE                IN 46770‐0143
MARSHALL, RONALD R        643 SCOTTS CHAPEL RD                                                                  JAMESTOWN             KY 42629‐7947
MARSHALL, RONALD ROMAN    10811 W CHURCH ST                                                                     FRANKLIN              WI 53132‐2101
MARSHALL, RONALD T        292 CEDARS GLEN CIR                                                                   VILLA RICA            GA 30180‐4481
MARSHALL, RONNIE D        10223 BROADWAY ST STE P # 307                                                         PEARLAND              TX 77584‐8417
MARSHALL, ROSANNE R       318 GLENDOVER RD                                                                      LEXINGTON             KY 40503‐2011
MARSHALL, ROSE W          13428 WENGATZ DR                                                                      MIDDLEBURG HEIGHTS    OH 44130‐5756
MARSHALL, ROSEMARY        PO BOX 129                                                                            BYRON CENTER          MI 49315
MARSHALL, ROSEMARY W      915 RANIKE DR                                                                         ANDERSON              IN 46012‐2735
MARSHALL, ROSIA L         7510 BRANCHWOOD WAY                                                                   SACRAMENTO            CA 95823‐6235
MARSHALL, ROY             211 ESTATES DR                                                                        CENTERVILLE           OH 45459‐2837
MARSHALL, RUBY            14249 E KANSAS PL APT 103                                                             AURORA                CO 80012
MARSHALL, RUSHELL         21420 CAMBRIDGE AVE                                                                   DETROIT               MI 48219‐1950
MARSHALL, RUSSELL P       114 ELM ST                                                                            GRAND LEDGE           MI 48837‐1244
MARSHALL, RUSSELL R       4230 COLUMBIA PIKE UNIT B                                                             FRANKLIN              TN 37064
MARSHALL, RUTH E          10663 JONES ROAD                                                                      CLARENCE              NY 14031‐2329
MARSHALL, SALLY L         1414 W OCOTILLO RD                                                                    QUEEN CREEK           AZ 85240‐9721
MARSHALL, SAMUEL R        141 LINDEN AVE SE                                                                     WARREN                OH 44483‐5921
MARSHALL, SAN JUANITA     3035 MANOR DR                                                                         PALMYRA               MI 49268‐9776
MARSHALL, SANDRA B        2303 CRESTRIDGE DR                                                                    DAYTON                OH 45414
MARSHALL, SANDRA M        4260 FAIRFAX ST                                                                       COCOA                 FL 32927‐3929
MARSHALL, SARAH A         G5191 WOODHAVEN CT APT 801                                                            FLINT                 MI 48532
MARSHALL, SARDESTER       3272 ELMERS DR                                                                        SAGINAW               MI 48601‐6915
MARSHALL, SARDESTER       3272 ELMERS DRIVE                                                                     SAGINAW               MI 48601
MARSHALL, SELEY E         4501 WINIFRED STREET                                                                  WAYNE                 MI 48184‐2207
MARSHALL, SELLOS          PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON               MS 39206‐5621
MARSHALL, SHANNON
MARSHALL, SHARON K        4680 WALDEN DR                                                                        TROY                 MI   48098‐4641
MARSHALL, SHEILA L        3500 W OXLEY DR                                                                       MUNCIE               IN   47304‐5971
MARSHALL, SHEILA R        3770 CLINTON RD                                                                       JACKSON              MI   49201‐8639
MARSHALL, SHERILYNN A     19580 VILLA DR S                                                                      SOUTHFIELD           MI   48076‐2439
MARSHALL, SHIRLEY M       3017 YOUNGSTOWN KINGSVILLE RD                                                         CORTLAND             OH   44410‐9427
MARSHALL, SHIRLEY M       3017 YOUNSTOWN‐KINGSVILLE RD.                                                         CORTLAND             OH   44410
MARSHALL, SHIRLEY P       5053 FOX FOREST CIR SW                                                                LILBURN              GA   30047‐5570
MARSHALL, SONJA           1754 RICHMOND CIR SE APT 201G                                                         ATLANTA              GA   30315
MARSHALL, SONYA L         21799 HIDDEN RIVERS DR N                                                              SOUTHFIELD           MI   48075‐1005
MARSHALL, SONYA LA'NISE   21799 HIDDEN RIVERS DR N                                                              SOUTHFIELD           MI   48075‐1005
MARSHALL, STANLEY         SHANNON LAW FIRM                100 W GALLATIN ST                                     HAZLEHURST           MS   39083‐3007
MARSHALL, STANLEY O       1414 W OCOTILLO RD                                                                    QUEEN CREEK          AZ   85240‐9721
MARSHALL, STANLEY O       11205 WASHBURN RD                                                                     OTISVILLE            MI   48463‐9731
MARSHALL, STANLEY R       3263 LELAND RD                                                                        LAINGSBURG           MI   48848‐9682
MARSHALL, STARRLEEN A     150 WARWICK AVE                                                                       ROCHESTER            NY   14611‐3014
MARSHALL, STELLA          5200 N JENNINGS RD                                                                    FLINT                MI   48504‐1116
MARSHALL, STEPANIE        19571 AMBER WAY                                                                       NOBLESVILLE          IN   46060‐6680
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Name                     Address1                        Address2            Address3         Address4         City               State Zip
MARSHALL, STEPHANIE M    9341 RIGGS ST                                                                         OVERLAND PARK       KS 56212‐1442
MARSHALL, STEPHANIE M    1323 E VAN BUREN ST                                                                   JANESVILLE          WI 53545‐4278
MARSHALL, STEPHEN E      1889 OKLAHOMA DR                                                                      XENIA               OH 45385‐4427
MARSHALL, STEVEN A       706 VERNON AVE                                                                        BELOIT              WI 53511‐6065
MARSHALL, STEVEN L       1587 NOTTINGHAM CT                                                                    MUSKEGON            MI 49445‐2055
MARSHALL, T H            PO BOX 185                                                                            CAMBRIDGE CTY       IN 47327‐0185
MARSHALL, T.L.           3818 SKYLINE DR                                                                       JACKSON             MS 39213‐6047
MARSHALL, TAUANNA M      441 LOCKMOOR CT                                                                       GRAND BLANC         MI 48439‐1550
MARSHALL, TERESA R       2618 ANTHONY AVE                                                                      JANESVILLE          WI 53546‐5610
MARSHALL, TERRY D        935 WHISPERING LAKE DR                                                                SHREVEPORT          LA 71107‐2925
MARSHALL, TERRY DWAYNE   935 WHISPERING LAKE DR                                                                SHREVEPORT          LA 71107‐2925
MARSHALL, TERRY E        545 HIGHWAY 89                                                                        PHIL CAMPBELL       AL 35581‐5424
MARSHALL, TERRY G        10187 FOXHOLLOW CT                                                                    PORTAGE             MI 49024‐6832
MARSHALL, TERRY M        21740 SYLVAN AVE                                                                      FLAT ROCK           MI 48134‐9001
MARSHALL, TERRY S        941 INDEPENDENCE CIR UNIT 11                                                          WHITE LAKE          MI 48386
MARSHALL, THELMA H       1930 SW 81ST AVE APT 103                                                              NORTH LAUDERDALE    FL 33068‐4767
MARSHALL, THELMA M       70 ANDREWS ST                                                                         PORT ORANGE         FL 32127‐5464
MARSHALL, THELMA M       70 ANDREWS STREET                                                                     PORT ORANGE         FL 32127‐5464
MARSHALL, THEODORE J     5850 AUGUSTA LN                                                                       GRAND BLANC         MI 48439‐9472
MARSHALL, THEODORE J     5850 AUGUSTA LANE                                                                     GRAND BLANC         MI 48439‐9472
MARSHALL, THOMAS J       14491 RONNIE LN                                                                       LIVONIA             MI 48154‐5261
MARSHALL, TIMOTHY B      725 NICHOLAS RD                                                                       IONIA               MI 48846‐9419
MARSHALL, TOM            1309 VARROW DR                                                                        HOLT                MI 48042‐0760
MARSHALL, TOM W          112 WHITE BLUFF RD                                                                    SOPCHOPPY           FL 32358‐6201
MARSHALL, TOMEKA D       9250 DEAN RD APT 722                                                                  SHREVEPORT          LA 71118‐2850
MARSHALL, TOMMY          57 SUNNY LN                                                                           SOUTH LEBANON       OH 45065‐1431
MARSHALL, TRAVIS C       1829 GALE                                                                             MOORE               OK 73160‐3508
MARSHALL, TROY N         5625 WHITBY RD                                                                        BALTIMORE           MD 21206‐2920
MARSHALL, TROY N.        5625 WHITBY RD                                                                        BALTIMORE           MD 21206‐2920
MARSHALL, VALERIE L      15886 MCCLELLAN RD                                                                    SPRINGPORT          MI 49284‐9755
MARSHALL, VALERIE L      5769 TUCKER RD                                                                        EATON RAPIDS        MI 48827‐9727
MARSHALL, VANCE G        5125 DYEMEADOW COURT                                                                  FLINT               MI 48532‐2313
MARSHALL, VELMA P        3710 RUE FORET APT 250                                                                FLINT               MI 48532‐2859
MARSHALL, VERLE E        70 W FACTORY RD                                                                       SPRINGBORO          OH 45066‐1212
MARSHALL, VERLE E        70 FACTORY RD                                                                         SPRINGBORO          OH 45066‐5066
MARSHALL, VERLIN E       232 WATER WHEEL DR                                                                    PORT DEPOSIT        MD 21904‐1482
MARSHALL, VERNIA R       18271 ROBERT ST                                                                       MELVINDALE          MI 48122‐1420
MARSHALL, VERNIA R       18271 ROBERT                                                                          MELVINDALE          MI 48122‐1420
MARSHALL, VERONICA       2626 PEARL ST                                                                         DETROIT             MI 48209‐3700
MARSHALL, VICKY L        1311 N COUNTY ROAD 160 E                                                              PAOLI               IN 47454‐9050
MARSHALL, VICTOR W       19145 WHITCOMB ST                                                                     DETROIT             MI 48235‐2056
MARSHALL, VICTORY M      2460 JEFFERSON LN #1335                                                               ARLINGTON           TX 76006
MARSHALL, VIOLA          1907 SEWARD STREET                                                                    DETROIT             MI 48206‐2661
MARSHALL, VIRGINIA L     1822 ARAPAHO TRL                                                                      MESQUITE            TX 75149‐6675
MARSHALL, VIRGINIA L     6761 BUCK ST                                                                          TAYLOR              MI 48180‐1682
MARSHALL, VIRGINIA L     1541 PUTTERS LN                                                                       LIMA                OH 45805‐3815
MARSHALL, VIRGINIA L     1541 PUTTERS LANE                                                                     LIMA                OH 45805‐3815
MARSHALL, VIRGINIA L     6761 BUCK                                                                             TAYLOR              MI 48180‐1682
MARSHALL, VIVIAN B       1349 E STATE RD                                                                       WEST BRANCH         MI 48661‐9763
MARSHALL, VIVIAN B       1349 STATE RD                                                                         WEST BRANCH         MI 48661‐9763
MARSHALL, WALTER B       3952 ROCKEY VALLEY DR                                                                 CONLEY              GA 30288‐1410
MARSHALL, WALTER L       1204 N CENTRAL AVE                                                                    MUNCIE              IN 47303‐3313
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Name                        Address1                        Address2                      Address3          Address4         City                State Zip
MARSHALL, WALTER R          2618 ANTHONY AVE                                                                                 JANESVILLE           WI 53546‐5610
MARSHALL, WANDA K           #8                              8101 BLACKBERRY CREEK                                            BURTON               MI 48519‐1947
MARSHALL, WANDA K           3105 3 BLACKBERRY CREEK DR                                                                       BURTON               MI 48519
MARSHALL, WANDALEE D        4817 LORE DR                                                                                     WATERFORD            MI 48329‐1642
MARSHALL, WAYNE C           PO BOX 122608                                                                                    ARLINGTON            TX 76012‐8608
MARSHALL, WILBUR            3552 WASHINGTON BLVD                                                                             CLEVELAND HEIGHTS    OH 44118‐2611
MARSHALL, WILLIAM           ANGELOS PETER G                 100 N CHARLES STREET, ONE                                        BALTIMORE            MD 21201‐3812
                                                            CHARLES CENTER
MARSHALL, WILLIAM           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA 23510
                                                            STREET, SUITE 600
MARSHALL, WILLIAM B         1525 PATTERSON ST                                                                                ANDERSON            IN   46012‐4164
MARSHALL, WILLIAM D         2123 HOWE RD                                                                                     BURTON              MI   48519‐1127
MARSHALL, WILLIAM R         5808 CRESTVIEW DR                                                                                GRAND PRAIRIE       TX   75052
MARSHALL, WILLIAM S         PO BOX 97                                                                                        BRISTOLVILLE        OH   44402‐0097
MARSHALL, WILLIAM T         4013 RACE ST                                                                                     FLINT               MI   48504‐2237
MARSHALL, WILLIAM W         225 BANBERRY N                                                                                   LANSING             MI   48906‐1799
MARSHALL, WILLIE L          9103 GREENVIEW AVE                                                                               DETROIT             MI   48228‐1898
MARSHALL, WILLIE T          13683 SIDONIE AVE                                                                                WARREN              MI   48089‐3345
MARSHALL, WILLIE T          4067 SEYBURN ST                                                                                  DETROIT             MI   48214‐1088
MARSHALL, WOLFORD           1715 LEO ST                                                                                      DAYTON              OH   45404‐1915
MARSHALL, YVONNE A          4430 E MOUNT MORRIS RD APT 7                                                                     MOUNT MORRIS        MI   48458‐8965
MARSHALL, YVONNE A          4430 E. MT. MORRIS RD           APT 7                                                            MT. MORRIS          MI   48458
MARSHALL, YVONNE D          2812 21ST STREET                                                                                 TUSCALOOSA          AL   35401‐4448
MARSHALL, YVONNE D          2812 21ST ST                                                                                     TUSCALOOSA          AL   35401‐4448
MARSHALL, ZACHARY B         530 MUNDY'S RD.                                                                                  JONESBORO           GA   30238
MARSHALL, ZACHARY BERNARD   530 MUNDY'S RD.                                                                                  JONESBORO           GA   30238
MARSHALL, ZOE J             11633 FERTIG RD                                                                                  POLAND              IN   47868‐7430
MARSHALL,JEFFREY W          3745 BEAL RD                                                                                     FRANKLIN            OH   45005‐4619
MARSHALL‐BUHL, BEATRICE E   5326 ROSE LANE                                                                                   FLINT               MI   48506‐1517
MARSHALL‐BUHL, BEATRICE E   5326 ROSE LN                                                                                     FLINT               MI   48506‐1517
MARSHALL‐EVANS, MAYNIE L    537 WINFIELD RD                                                                                  TOLEDO              OH   43610‐1157
MARSHALL‐LUTZ, KATHLEEN M   190 ISLAND VIEW DR                                                                               TRAVERSE CITY       MI   49686‐9313
MARSHALL‐SIMS, LYNNETTE     18118 STRASBURG ST                                                                               DETROIT             MI   48205‐2629
MARSHALL‐SLACK, BARBARA A   7255 RIVERSIDE DR                                                                                CLAY                MI   48001‐4249
MARSHALLS                   ATTN: JEFF BROWN                13200 MIDDLEBELT RD                                              LIVONIA             MI   48150‐2232
MARSHALS OF CITY COURT      ACCT OF JOEL D WILLIAMS         DOCKET# W17086                50 DELAWARE AVE                    BUFFALO             NY   14202
MARSHALS OF CITY COURT      ACCT OF JOEL D WILLIAMS         DOCKET# W22717                50 DELAWARE AVE                    BUFFALO             NY   14202
MARSHALS OF CITY COURT      ACCOUNT OF JOEL D WILLIAMS      DOCKET #W‐05825               50 DELAWARE AVE                    BUFFALO             NY   14202
MARSHAN JR, CHRISTOPHE M    5159 DURWOOD DR                                                                                  SWARTZ CREEK        MI   48473‐1123
MARSHAN, ARTYCE M           4204 CASTLE DR                                                                                   MIDLAND             MI   48640‐3427
MARSHAN, ARTYCE M           4204 CASTLE DRIVE                                                                                MIDLAND             MI   48640‐3427
MARSHAN, LEONA R            5159 DURWOOD DR                                                                                  SWARTZ CREEK        MI   48473‐1123
MARSHAROSE B TRIMACCO       821 IOWA AVE                                                                                     MC DONALD           OH   44437‐1623
MARSHAROSE B TRIMACCO       821 IOWA AVE.                                                                                    MCDONALD            OH   44437‐1623
MARSHAROSE TRIMACCO         821 IOWA AVE                                                                                     MC DONALD           OH   44437‐1623
MARSHAUS, MARY M            405 CARTER AVE APT 4                                                                             DEFIANCE            OH   43512‐1554
MARSHBANKS, SUE A           11406 SILVER LAKE RD                                                                             BYRON               MI   48418‐9051
MARSHE ARNOLD               613 CARLTON AVE                                                                                  BROOKLYN            NY   11238‐3806
MARSHEANNA MOORE
MARSHEK JR, JOHN J          497 DNR RD                                                                                       MITCHELL            IN 47446‐5912
MARSHEL I I, ROSHIER L      204 COTTONWOOD DR                                                                                ANDERSON            IN 46012‐1006
MARSHEL L BARBASH           717 CAYUGA ST                                                                                    YPSILANTI           MI 48198‐6192
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Name                           Address1                          Address2                      Address3                 Address4         City             State Zip
MARSHEL MARTIN                 1260 96TH AVE                                                                                             OAKLAND           CA 94603‐1424
MARSHEL WILSON                 5504 PATTERSON LN                                                                                         ANDERSON          IN 46017‐9568
MARSHEL, ELEANOR L             2705 W 38TH ST                                                                                            ANDERSON          IN 46011‐9038
MARSHEL, ELEANOR L             2705 W. 38TH ST.                                                                                          ANDERSON          IN 46011‐9038
MARSHEL, LENZY                 1400 W PURDUE AVE                                                                                         MUNCIE            IN 47304‐1545
MARSHELA CLARK                 9523 MANCHESTER AVE                                                                                       KANSAS CITY       MO 64134‐1626
MARSHELL HAMILTON              312 N MICHIGAN RD                                                                                         EATON RAPIDS      MI 48827‐8248
MARSHELL PAUL                  354 HIGHLAND LAKES DR                                                                                     RICHMOND          KY 40475
MARSHFIELD MOTOR CO.           14963 STATE HIGHWAY 38                                                                                    MARSHFIELD        MO 65706‐8949
MARSHFIELD MOTOR CO.           LARRY DORRIS                      14963 STATE HIGHWAY 38                                                  MARSHFIELD        MO 65706‐8949
MARSHFIELD, HAROLD R           568 COUNTY ROUTE 4                                                                                        BOMBAY            NY 12914‐2806
MARSHICK, LAWRENCE K           9801 GIROUX ST                                                                                            CLARKSTON         MI 48348‐1523
MARSHKE, JEROME G              521 PARK VW                                                                                               CLIO              MI 48420‐1473
MARSHKE, RAYMOND F             11387 SPENS LN                                                                                            LACHINE           MI 49753‐9693
MARSHMAN, KEVIN A              13649 GOLDEN RIDGE LN                                                                                     MC CORDSVILLE     IN 46055‐9648
MARSHMAN, THOMAS J             1015 OAKLAND PARK AVE                                                                                     COLUMBUS          OH 43224‐3313
MARSICANO EDITH M (433570)     WEITZ & LUXENBERG                 180 MAIDEN LANE                                                         NEW YORK          NY 10038
MARSICANO, EDITH M             WEITZ & LUXENBERG                 180 MAIDEN LANE                                                         NEW YORK          NY 10038
MARSICH, JERRY R               10902 GARRISON RD                                                                                         DURAND            MI 48429‐1831
MARSICK KELLY                  MARSICK, KELLY                    4108 TENNYSON LANE                                                      NORTH OLMSTEAD    OH 44070
MARSICK, KELLY                 4108 TENNYSON LN                                                                                          NORTH OLMSTED     OH 44070‐1900
MARSICK, KELLY                 C/O MITCHELL L. ALPERIN           ATTORNEY AT LAW               3690 ORANGE PL STE 575                    BEACHWOOD         OH 44122
MARSICK, KELLY                 C/O MITCHELL L. ALPERIN           3690 ORANGE PL STE 575                                                  BEACHWOOD         OH 44122
MARSICO, CARRIE L              637 BIRCH AVE                                                                                             EUCLID            OH 44132‐2142
MARSICO, CARRIE LYNN           637 BIRCH AVE                                                                                             EUCLID            OH 44132‐2142
MARSICO, GRACE                 3878 EDGEWATER DR                                                                                         VERMILION         OH 44089‐2228
MARSICO, JOSEPH N              3301 WARREN SHARON RD                                                                                     VIENNA            OH 44473‐9508
MARSICO, LEONARD P             6096 LEDGEWAY DR                                                                                          W BLOOMFIELD      MI 48322‐2441
MARSIE DOUGLAS                 806 ARLINGTON DR                                                                                          LANSING           MI 48917‐3912
MARSIGLIA JR, DOMINIC A        7967 ENGELHURST CT                                                                                        JENISON           MI 49428‐8517
MARSIGLIA, JOAN                16480 BRANDT                                                                                              ROMULUS           MI 48174‐3213
MARSIGLIA, JOAN                16480 BRANDT ST                                                                                           ROMULUS           MI 48174‐3213
MARSIGLIA, MARY E              8044 KIMBERLY RD                                                                                          BALTIMORE         MD 21222‐2601
MARSIGLIA, MICHAEL A           1939 KNOLLWOOD BND                                                                                        YPSILANTI         MI 48198‐9551
MARSIGLIA, MICHAEL ANTHONY     1939 KNOLLWOOD BND                                                                                        YPSILANTI         MI 48198‐9551
MARSIGLIA, RICHARD G           1590 NELSON ST                                                                                            MUSKEGON          MI 49441‐1034
MARSIGLIA, SIMON               16480 BRANDT ST                                                                                           ROMULUS           MI 48174‐3213
MARSIGLIA, SIMON C             7223 WILLOW CREEK DR                                                                                      YPSILANTI         MI 48197‐6111
MARSIGLIA, SIMON CHRISTOPHER   7223 WILLOW CREEK DR                                                                                      YPSILANTI         MI 48197‐6111
MARSIGLIO JR, JOSEPH J         957 WHITEGATE DR                                                                                          NORTHVILLE        MI 48167‐1075
MARSIGLIO, BARBARA G           957 WHITEGATE DR                                                                                          NORTHVILLE        MI 48167‐1075
MARSIK, ARTHUR J               15324 MUSKINGUM BLVD                                                                                      BROOK PARK        OH 44142‐2324
MARSIK, GEORGE L               7254 BENNETT LAKE RD                                                                                      FENTON            MI 48430‐9071
MARSIK, ROBERT                 3407 ELMWOOD AVE                                                                                          LUBBOCK           TX 79407‐4027
MARSILI, PHILIP R              APT 1                             282 CASSATT ROAD                                                        BERWYN            PA 19312‐1331
MARSILIO LOUIS F JR (429377)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                             NORFOLK           VA 23510
                                                                 STREET, SUITE 600
MARSILIO, HENRY D              4481 GREEN GLEN DR                                                                                        YOUNGSTOWN       OH 44511‐3611
MARSILIO, LOUIS F              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                             NORFOLK          VA 23510
                                                                 STREET, SUITE 600
MARSILOUS D HOSKINS            517 ODETTE ST                                                                                             FLINT            MI 48503‐5130
MARSILOUS HOSKINS              517 ODETTE ST                                                                                             FLINT            MI 48503‐5130
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Name                          Address1                        Address2                          Address3   Address4         City            State Zip
MARSING GARET & AMY           2003 E CANYON PL                                                                              CHANDLER         AZ 85249‐3227
MARSINGILL, RALPH M           2017 GLENALLAN AVE                                                                            SILVER SPRING    MD 20902‐1372
MARSINICK, RICKEY A           305 ORANGEWOOD RD                                                                             HURON            OH 44839‐1356
MARSINK, KAREN M              RR 3 344 E US HWY 34                                                                          MENDOTA           IL 61342
MARSINKO, MARY E              2103 CLEVELAND RD                                                                             SANDUSKY         OH 44870‐4404
MARSKE, WILLIAM H             5717 SKADDEN RD                                                                               SANDUSKY         OH 44870‐9651
MARSLAND, ISABELL L           503 ROUTE 148                                                                                 KILLINGWORTH     CT 06419
MARSLEY, FLORENCE M           PO BOX 6485                                                                                   LAWRENCEVILLE    NJ 08648‐0485
MARSLEY, FLORENCE M           P O BOX 6485                                                                                  LAWRENCEVILLE    NJ 08648‐0485
MARSMAN, MAYNARD J            PO BOX 72                                                                                     COOPERSVILLE     MI 49404‐0072
MARSO, JOSEPH R               7649 PISMO BEACH CIR                                                                          GOLETA           CA 93117‐2411
MARSOLAIS, LAURIE A           51651 SALVATORI DR                                                                            CHESTERFIELD     MI 48047‐5913
MARSOLINA MONTANEZ            2504 DEANIE LN                                                                                BOSSIER CITY     LA 71111‐5902
MARSON JOHN (662540)          COONEY & CONWAY                 120 NORTH LASALLE STREET , 30TH                               CHICAGO           IL 60602
                                                              FLOOR
MARSON SCOTT                  37 APPLE BLOSSOM PL                                                                           DAYTON          OH   45440‐3207
MARSON SCOTT                  37 APPLEBLOSSOM PL                                                                            DAYTON          OH   45440‐3207
MARSON, BETTE L               1985 AARONS RD                                                                                LEWISTON        MI   49756‐9067
MARSON, JOHN                  COONEY & CONWAY                 120 NORTH LASALLE STREET, 30TH                                CHICAGO         IL   60602
                                                              FLOOR
MARSON, MARY E                22326 SUNRISE BLVD                                                                            NOVI            MI   48375‐5057
MARSON, MICHAEL G             1900 RAMSEY CREEK RD                                                                          JAMESTOWN       KY   42629‐6520
MARSON, MICHAEL GORDON        1900 RAMSEY CREEK ROAD                                                                        JAMESTOWN       KY   42629‐6520
MARSON, PHILIP P              9746 SUNNYWOOD TRL                                                                            SOUTH LYON      MI   48178‐8155
MARSROW, GERALDINE C          APT 108                         4141 MCCARTY ROAD                                             SAGINAW         MI   48603‐9324
MARSROW, GERALDINE C          4141 MCCARTY RD                 APT 108                                                       SAGINAW         MI   48603‐9324
MARSTELLAR, MONICA J          3239 MAIN ST                                                                                  MINERAL RIDGE   OH   44440‐9748
MARSTELLAR‐LOWE, DONNA L      5203 OAKCREST AVE                                                                             AUSTINTOWN      OH   44515‐3945
MARSTELLER, ELINOR S          1829 IRENE AVE NE                                                                             WARREN          OH   44483‐3530
MARSTELLER, ELINOR S          1829 IRENE ST. N.E.                                                                           WARREN          OH   44483‐3530
MARSTELLER, JOYCE             439 ENGLISH HEIFER COVE R                                                                     FLAT ROCK       NC   28731
MARSTELLER, RALPH R           7556 BUCHANAN DR                                                                              BOARDMAN        OH   44512‐5701
MARSTELLER, ROBERT C          5243 MATTAWA DR                                                                               CLARKSTON       MI   48348‐3127
MARSTILLER, RUTH S            9980 BRIGHT DR                                                                                WINDHAM         OH   44288‐1416
MARSTON CHARLES J (358176)    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA   23510
                                                              STREET, SUITE 600
MARSTON JR, CHARLES R         14158 E AUSTIN RD                                                                             MANCHESTER      MI   48158‐8509
MARSTON JR, CHARLES RICHARD   14158 E AUSTIN RD                                                                             MANCHESTER      MI   48158‐8509
MARSTON V LEININGER           416 DEER PATH LN                                                                              GATLINBURG      TN   37738
MARSTON WIGLEY                13591 AL HIGHWAY 176                                                                          FORT PAYNE      AL   35967‐6732
MARSTON, CHARLES J            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA   23510‐2212
                                                              STREET, SUITE 600
MARSTON, EARLE G              APT D                           240 OAK STREET                                                MONTROSE        MI   48457‐9062
MARSTON, EMERET V             3970 BURNSIDE RD                                                                              NORTH BRANCH    MI   48461‐9704
MARSTON, ERIC T               232 WILMORE DR                                                                                MIDDLETOWN      DE   19709‐8359
MARSTON, KIETH                2964 VALENTINE RD                                                                             LAPEER          MI   48446‐9054
MARSTON, MARIAN Y             PO BOX 117                      3674 HADLEY RD                                                HADLEY          MI   48440‐0117
MARSTON, MARIAN Y             3674 HADLEY RD                  BOX 117                                                       HADLEY          MI   48440
MARSTON, SHUNKETAL C          3057 AMHERST ST                                                                               SHREVEPORT      LA   71108‐4401
MARSTON, WALTER C             11282 VIENNA RD                                                                               MONTROSE        MI   48457‐9702
MARSY JAMES G (355956)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA   23510
                                                              STREET, SUITE 600
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Name                       Address1                           Address2                      Address3   Address4         City              State Zip
MARSY, JAMES G             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                              STREET, SUITE 600
MARSYLA THERESA            3075 SWEETGRASS CIR                                                                          SHAKOPEE          MN   55379‐9646
MARSZAL, ALICE M           4108 E 76TH ST                                                                               CLEVELAND         OH   44105‐5013
MARSZAL, ELEANOR E         360 NEWBERRY LN                                                                              HOWELL            MI   48843‐9562
MARSZAL, KENNETH S         4108 E 76TH ST                                                                               CLEVELAND         OH   44105‐5013
MARSZALEK, LEONARD P       7979 S SHOREBIRD LN                                                                          EMPIRE            MI   49630‐9785
MARSZALKOWSKI, EDWARD W    4900 NE 58TH LN                                                                              HIGH SPRINGS      FL   32643‐6005
MARSZALKOWSKI, KENNETH E   9805 177TH RD                                                                                LIVE OAK          FL   32060
MART GORMAN                1605 N CHIPMAN RD                                                                            OWOSSO            MI   48867‐4807
MART HIMMA
MART WALKER                PO BOX 298                                                                                   FELICITY          OH   45120‐0298
MART, BEVERLY J            735 E 400 N                                                                                  ANDERSON          IN   46012‐9511
MART, CAROLYN L            9030 W STATE ROAD 236                                                                        MIDDLETOWN        IN   47356‐9336
MART, WILLIAM A            9030 W STATE ROAD 236                                                                        MIDDLETOWN        IN   47356‐9336
MARTA                                                         1600 PERRY BLVD NW                                                          GA   30318
MARTA                                                         277 LAREDO DR                                                               GA   30030
MARTA                                                         3385 HAMILTON BLVD SW                                                       GA   30354
MARTA                                                         3401 BROWNS MILL RD SE                                                      GA   30354
MARTA                                                         1040 BRADY AVE NW                                                           GA   30318
MARTA A LEWIS              477 BLOSSOM AVE.                                                                             CAMPBELL          OH   44405
MARTA ADORNO               222 TALMADGE ST                                                                              NEW BRUNSWICK     NJ   08901‐3037
MARTA BATSCHYNSKY          4397 GARBOR DR                                                                               WARREN            MI   48092‐5117
MARTA BOBILLO              4139 SHEFFIELD BLVD                                                                          LANSING           MI   48911‐1924
MARTA BOBILLO              1084 E NORMANDY BLVD                                                                         DELTONA           FL   32725‐6461
MARTA BROWN                6368 N DORT HWY                                                                              MOUNT MORRIS      MI   48458‐2561
MARTA C MARTINEZ           1916 WHITTENBURG DR                                                                          FORT WORTH        TX   76134‐3318
MARTA CALLAN               1703 N 75TH CT                                                                               ELMWOOD PARK      IL   60707‐4132
MARTA DACRUZ               3725 S OCEAN DR APT 1427                                                                     HOLLYWOOD         FL   33019
MARTA DOMINGUEZ            THE MADEKSHO LAW FIRM              8866 GULF FREEWAY SUITE 440                               HOUSTON           TX   77017
MARTA G GATICA             3607 DEARBORN AVE                                                                            FLINT             MI   48507‐1870
MARTA GATICA               3607 DEARBORN AVE                                                                            FLINT             MI   48507‐1870
MARTA GONZALEZ             1007 GAINES MILLS RD                                                                         GRAND PRAIRIE     TX   75052‐1657
MARTA GRAHAM               4468 HILL RD                                                                                 SWARTZ CREEK      MI   48473‐8846
MARTA HERDEN               336 ELM AVE                                                                                  RAHWAY            NJ   07065‐3243
MARTA I ADORNO             222 TALMADGE ST                                                                              NEW BRUNSWICK     NJ   08901
MARTA L. CAIN
MARTA LOIS                 1800 E WILKINSON RD                                                                          OWOSSO            MI   48867‐9605
MARTA M MASSARO            376 WHEELER PL                                                                               SHARON            PA   16146
MARTA MARTINEZ             1916 WHITTENBURG DR                                                                          FORT WORTH        TX   76134‐3318
MARTA MASSARO              376 WHEELER PL                                                                               SHARON            PA   16146‐1195
MARTA NIN                  3716 SEGOVIA ST                                                                              CORAL GABLES      FL   33134‐7035
MARTA ORTIZ                PO BOX 6822                                                                                  CAGUAS            PR   00726‐6822
MARTA PERLEJEWSKI          323 BEAVER LAKE SHORES DR                                                                    LACHINE           MI   49753
MARTA QUILES               1104 LUCAYA CIR                                                                              ORLANDO           FL   32824‐6201
MARTA R NIN                3716 SEGOVIA ST                                                                              CORAL GABLES      FL   33134‐7035
MARTA REZNICEK             3269 N 9TH ST                                                                                KALAMAZOO         MI   49009‐7526
MARTA RIVERO               13672 WINDEMERE ST                                                                           SOUTHGATE         MI   48195‐2427
MARTA SANDOVAL             2411 GALPIN AVE                                                                              ROYAL OAK         MI   48073‐3161
MARTA SIERADZAN            1651 KILBURN RD N                                                                            ROCHESTER HILLS   MI   48306‐3029
MARTA STRAKSYS             1558 25TH ST                                                                                 DETROIT           MI   48216‐1468
MARTA THOMAS               APT 6                              105 WEST SQUIRE DRIVE                                     ROCHESTER         NY   14623‐1743
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Name                              Address1                           Address2                      Address3                    Address4                 City                State Zip
MARTA TUCCI                       10257 PAINTBRUSH DR                                                                                                   KELLER               TX 76248‐6655
MARTA WIEZOREK                    10760 ROUND LAKE DR                                                                                                   MECOSTA              MI 49332‐9794
MARTA YURSA                       105 POUND RIDGE RD                                                                                                    BEDFORD              NY 10506‐1236
MARTA, HENRY A                    1662 TERRACINA DR                                                                                                     EL DORADO HILLS      CA 95762‐5408
MARTA, JOSEPHINE P                4046 S MEADOW LN                                                                                                      MOUNT MORRIS         MI 48458‐9310
MARTA‐CLAYTON COUNTY BUS GARAGE                                      7535 SOUTHLAKE PKWY                                                                                     GA 30236

MARTA‐SCHILLING, TAMRA L          3121 ROTTERDAM DR                                                                                                     CLIO                MI   48420‐2318
MARTA‐SCHILLING, TAMRA LYNN       3121 ROTTERDAM DR                                                                                                     CLIO                MI   48420‐2318
MARTABANO, JOHN A                 5515 LAKE RIDGE DR                                                                                                    BRIGHTON            MI   48116‐7736
MARTABANO, KAREN M                P O BOX 336 RT 35                                                                                                     CROSS RIVER         NY   10518
MARTALOCK, RANDY G                7016 E RYAN RD                                                                                                        MILTON              WI   53563‐9705
MARTARONA PAMELA                  MARTARONA, PAMELA                  PO BOX 2967                                                                        LAFAYETTE           LA   70502‐2967
MARTARONA PAMELA AND FRANK        RICHARD C DALTON                   844 COOLEY RD APT H                                                                DEQUINCY            LA   70633
MARTAUZ FRANK                     MARTAUZ, FRANK                     ZIEGLER & CARPENTER LLP       1600 HUNTINGTON CENTER 41                            COLUMBUS            OH   43215
                                                                     ATTORNEYS AT LAW              SOUTH HIGH STREET
MARTE FLORES                      604 W LAFAYETTE AVE                                                                                                   CHECOTAH            OK 74426
MARTE LTD                         C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT         2 RAFFLES LINK MARINA       SINGAPORE 039392
                                  LIMITED                                                          BAYFRONT
MARTE, ANN M                      27241 CRESTWOOD                                                                                                       WARREN              MI   48093
MARTE, FREDA W                    10532 WEST HIGHWOOD LANE                                                                                              SUN CITY            AZ   85373‐1975
MARTE, SATURNINO                  576 PAULISON AVE                                                                                                      CLIFTON             NJ   07011‐4119
MARTE, WILLIAM                    112 TREDMORE RD                                                                                                       BEL AIR             MD   21015‐8605
MARTEC AUSTRALIA PTY LTD          PO BOX 443                                                                                   MALVERN AUSTRALIA 3144
                                                                                                                               AUSTRALIA
MARTEC GROUP INC, THE             27777 FRANKLIN RD STE 675                                                                                             SOUTHFIELD          MI   48034‐8266
MARTEC GROUP THE                  27777 FRANKLIN RD STE 675                                                                                             SOUTHFIELD          MI   48034‐8266
MARTEENY, DONALD L                1830 E DAVISBURG RD                                                                                                   HOLLY               MI   48442‐8025
MARTEK, KENNETH T                 16245 COUNTRY KNOLL DR                                                                                                NORTHVILLE          MI   48168‐2375
MARTEK, KRIS S                    4093 POND RUN CT                                                                                                      CANTON              MI   48188‐2179
MARTEK, MARION J                  207 E WHITE ST                                                                                                        BAY CITY            MI   48706‐4677
MARTEK, TIMOTHY J                 2346 BULLOCK RD                                                                                                       BAY CITY            MI   48708‐9666
MARTEK, TIMOTHY JEROME            2346 BULLOCK RD                                                                                                       BAY CITY            MI   48708‐9666
MARTEL ALANA                      MARTEL ALANA                       ICO THE LANIER LAW FIRM PC    6810 FM 1960 WEST                                    HOUSTON             TX   77069
MARTEL ELECTRONICS                3 CORPORATE PARK DR UNIT 1                                                                                            DERRY               NH   03038‐2281
MARTEL, BRIAN J                   1560 ROBELL DR                                                                                                        COMMERCE TOWNSHIP   MI   48390‐2747
MARTEL, CARL M                    221 N GOLDEN BEACH DR                                                                                                 KEWADIN             MI   49648‐9217
MARTEL, CHRISTOPHER W             8041 WASCHULL DR                                                                                                      WASHINGTON          MI   48094‐2332
MARTEL, DONALD D                  8600 GLEN VIEW DR                                                                                                     HOWELL              MI   48843‐8111
MARTEL, FLORENCE ANN              27776 EDGEPARK DR                                                                                                     NORTH OLMSTED       OH   44070
MARTEL, FRANK                     707 E FOREST AVE                                                                                                      YPSILANTI           MI   48198‐3009
MARTEL, GERARD F                  2105 HAZEL AVE                                                                                                        KETTERING           OH   45420‐2125
MARTEL, GERARD F                  2105 HAZEL AVE.                                                                                                       KETTERING           OH   45420‐2125
MARTEL, JENNIFER                  RAYMOND BOTIFORD                   135 W CENTRAL BLVD STE 1100                                                        ORLANDO             FL   32801‐2478
MARTEL, JENNIFER                  2501 PINE NEEDLE TRL                                                                                                  KISSIMMEE           FL   34746‐3023
MARTEL, JOHN A                    11603 W 77TH ST                                                                                                       LENEXA              KS   66214‐1445
MARTEL, JOSEPH W                  16633 WEST 123RD STREET                                                                                               OLATHE              KS   66062‐1165
MARTEL, LUCILLE M                 5145 RICHFIELD RD                                                                                                     FLINT               MI   48506‐2158
MARTEL, OREDOR A                  502 JAMES P CASEY RD                                                                                                  BRISTOL             CT   06010‐2942
MARTEL, PATRICIA A                221 N GOLDEN BEACH DR                                                                                                 KEWADIN             MI   49648‐9217
MARTEL, PATRICIA A                1934 SUNDANCE RDG                                                                                                     HOWELL              MI   48843‐6911
MARTEL, PAUL E                    16453 DAWNLIGHT DRIVE                                                                                                 FENTON              MI   48430‐8956
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Name                           Address1                       Address2                     Address3   Address4               City               State Zip
MARTEL, RICHARD W              5 PRESTON RD                                                                                  SALEM               MA 01970‐4406
MARTEL, ROBERT R               47 WASHINGTON ST LOT 52                                                                       AUBURN              MA 01501‐3025
MARTEL, SANDRA J               2343 E ORANGEWOOD AVE                                                                         PHOENIX             AZ 85020‐4730
MARTEL, TIFFANY M              3208 CEDAR BEND DR                                                                            GRAND BLANC         MI 48439‐3409
MARTEL, WILLIAM J              7412 WOODLAND RD                                                                              SHAWNEE             KS 66218‐9700
MARTELL ALBERT                 MARTELL, ALBERT                7825 FAY AVE STE 200                                           LA JOLLA            CA 92037‐4270
MARTELL ALBERT                 MARTELL, TAFI                  7825 FAY AVE STE 200                                           LA JOLLA            CA 92037‐4270
MARTELL CONSTRUCTION COMPANY   2635 ROBERTS AVE                                                                              BRONX               NY 10461‐2634
MARTELL ERIC                   MARTELL, ERIC                  5055 WILSHIRE BLVD STE 300                                     LOS ANGELES         CA 90036‐6101
MARTELL HARRIS                 PO BOX 4961                                                                                   SAGINAW             MI 48601‐0961
MARTELL HENRY                  PO BOX 490292                                                                                 MIAMI               FL 33149‐0292
MARTELL J CROWDER              741 SEWARD ST RM 400                                                                          DETROIT             MI 48202‐2446
MARTELL JOHN                   3323 HIGHBRIDGE ROAD                                                                          FAIRFAX             VT 05454‐5494
MARTELL MECHANICAL INC         621 SE 82ND ST                                                                                OKLAHOMA CITY       OK 73149‐2916
MARTELL, BART D                409 S WINDING DR                                                                              WATERFORD           MI 48328‐4157
MARTELL, CURTISS A             2702 BIG MEADOW DR                                                                            CEDAR PARK          TX 78613‐5263
MARTELL, DEBORA D              561 HIGHWAY 469 N                                                                             FLORENCE            MS 39073‐8926
MARTELL, DONALD E              561 HIGHWAY 469 N                                                                             FLORENCE            MS 39073‐8926
MARTELL, DONALD EARL           561 HIGHWAY 469 N                                                                             FLORENCE            MS 39073‐8926
MARTELL, DOUGLAS D             69355 CAMPGROUND RD                                                                           BRUCE TWP           MI 48065‐4316
MARTELL, ERIC                  KROHN & MOSS ‐ CA,             5055 WILSHIRE BLVD STE 300                                     LOS ANGELES         CA 90036‐6101
MARTELL, FRANCIS C             202 RANDALL DR                                                                                SANDUSKY            OH 44870‐5774
MARTELL, GERALDINE J           155 W BROWN RD APT 251                                                                        MESA                AZ 85201‐3461
MARTELL, GREGORY G             9439 LEWIS RD                                                                                 MILLINGTON          MI 48746‐9529
MARTELL, HARRIETT J            3165 ANNA AVE                                                                                 TRENTON             MI 48183‐3502
MARTELL, JEAN M                32231 VERONA CIR                                                                              BEVERLY HILLS       MI 48025‐4273
MARTELL, JEAN W                145 APPLEWOOD COURT                                                                           DAVISON             MI 48423‐9137
MARTELL, KIRK                  14265 POLO CLUB DRIVE                                                                         STRONGSVILLE        OH 44136‐8909
MARTELL, M BERNICE             30344 LORAIN RD APT 243                                                                       NORTH OLMSTED       OH 44070‐3971
MARTELL, PEARL L               9643 MAHONING AVENUE                                                                          NORTH JACKSON       OH 44451
MARTELL, REYNALDO              42207 HAYES ST                                                                                BELLEVILLE          MI 48111‐1463
MARTELL, RUDOLPHE E            1021 YORKSHIRE PLACE                                                                          DAYTON              OH 45419‐3730
MARTELL, RUSSELL H             51 BROTHERS RD                                                                                NORFOLK             NY 13667‐3238
MARTELL, VIVIAN M              32352 HAZELWOOD                                                                               WESTLAND            MI 48186‐8935
MARTELL, WILLIAM A             40146 DIANE DR                                                                                STERLING HTS        MI 48313‐4004
MARTELLA, FULGENZIO            46 SHADYWOOD DR                                                                               ROCHESTER           NY 14606‐4940
MARTELLA, SAM                  PO BOX 296                                                                                    PENFIELD            NY 14526
MARTELLE, JAMES L              522 CORNELIA ST                                                                               JANESVILLE          WI 53545‐2416
MARTELLE, JOSEPH R             34332 CYPRESS CT                                                                              STERLING HEIGHTS    MI 48310‐6672
MARTELLI, MICHAEL A            670 GOLF VILLA DR                                                                             OXFORD              MI 48371‐3695
MARTELLI, PAT J                5596 MONTADALE ST                                                                             FITCHBURG           WI 53711‐5472
MARTELLO, ORAZIO G             2563 E 19TH ST                                                                                BROOKLYN            NY 11235‐3519
MARTELLOCK, HAROLD E           42264 W DESERT FAIRWAYS DR                                                                    MARICOPA            AZ 85238‐9378
MARTELO, SAM                   55 WELLINGTON CT                                                                              BUFFALO             NY 14221‐6751
MARTEMUCCI, CYNTHIA L          3945 N WATSON RD                                                                              SAINT JOHNS         MI 48879‐9094
MARTEMUCCI, DAN                2125 PAMELA PL                                                                                LANSING             MI 48911‐1694
MARTEMUCCI, DON M              3945 N WATSON RD                                                                              SAINT JOHNS         MI 48879‐9094
MARTEMUCCI, FRANK              1700 HOLLY WAY                                                                                LANSING             MI 48910‐2588
MARTEMUCCI, TOM D              12866 W MELODY RD                                                                             GRAND LEDGE         MI 48837‐8976
MARTEN HOWARD COMPANY LTD      900 DILLINGHAM RD                                                      PICKERING ON L1W 1Z6
                                                                                                      CANADA
MARTEN MODELS & MOLDS INC      18291 MIKE C CT                                                                               FRASER             MI 48026‐1613
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Name                                   Address1                         Address2                          Address3   Address4         City              State Zip
MARTEN MODELS/FRASER                   18291 MIKE C CT                                                                                FRASER             MI 48026‐1613
MARTEN R VEGTER                        3360 ROCKY POINT CT                                                                            GRANDVILLE         MI 49418‐3044
MARTEN TRANSPORT LTD                   129 MARTEN ST                                                                                  MONDOVI            WI 54755‐1733
MARTEN, BARRY G                        1 MARTIN ST                                                                                    MOUND HOUSE        NV 89706‐7714
MARTEN, DEBORAH G                      1001 HURON ST                                                                                  TECUMSEH           MI 49286‐1782
MARTEN, GLENN W                        1220 CRESTVIEW DR                                                                              BARABOO            WI 53913‐1826
MARTEN, HAROLD D                       309 CRESTVIEW DR                                                                               RICHMOND           MO 64085‐1112
MARTEN, JOHN R                         1167 BROWN RD                                                                                  ORION              MI 48359‐2265
MARTEN, PHYLLIS M                      1000 INDEPENDENCE AVE APT 28                                                                   FOSTORIA           OH 44830
MARTENA LOUIS                          599 CALIFORNIA AVE                                                                             PONTIAC            MI 48341‐2514
MARTENE BISHOP                         451 EDGEBROOK AVE                                                                              BROOKVILLE         OH 45309‐1334
MARTENE K BISHOP                       451 EDGEBROOK AVE                                                                              BROOKVILLE         OH 45309‐1334
MARTENE R THOMAS                       APT G108                         1901 SOUTH PARK ROAD                                          KOKOMO             IN 46902‐6149
MARTENE THOMAS                         APT G108                         1901 SOUTH PARK ROAD                                          KOKOMO             IN 46902‐6149
MARTENE, FRANKLIN E                    16 ELLICOTT CT                                                                                 TONAWANDA          NY 14150‐4718
MARTENEY, SANDRA K                     4415 HEMLOCK LOOP                                                                              CLARKSTON          MI 48348‐1356
MARTENEY, WILMA P                      2743 WESTVILLE LAKE ROAD                                                                       BELOIT             OH 44609‐9443
MARTENIES, DEBRA A                     4951 E LAKE RD                                                                                 SHEFFIELD LAKE     OH 44054‐1603
MARTENIS, AUDREY G                     9770 E LANSING RD                                                                              DURAND             MI 48429‐1045
MARTENS                                PO BOX 781667                                                                                  DALLAS             TX 75378‐1667
MARTENS CHEVROLET, INC.                1050 I ST                                                                                      REEDLEY            CA 93654‐2855
MARTENS CHEVROLET, INC.                JEREMY MARTENS                   1050 I ST                                                     REEDLEY            CA 93654‐2855
MARTENS ICE KLASS LEGGHIO AND ISRAEL   306 S WASHINGTON AVE STE 600                                                                   ROYAL OAK          MI 48067‐3837
PC
MARTENS JR, NIKOLAUS                   1308 WESTVIEW DR                                                                               SALEM             OH 44460‐1250
MARTENS ROBERT (515013)                COONEY & CONWAY                  120 NORTH LASALLE STREET , 30TH                               CHICAGO           IL 60602
                                                                        FLOOR
MARTENS SR, GARY L                     8181 GRANDVIEW BLVD                                                                            JOHANNESBURG      MI   49751‐9763
MARTENS SR, GARY LEROY                 8181 GRANDVIEW BLVD                                                                            JOHANNESBURG      MI   49751‐9763
MARTENS, ANNA M                        2188 MCCONNELL HWY                                                                             CHARLOTTE         MI   48813‐9721
MARTENS, CLIFFORD M                    517 W HODGE AVE                                                                                LANSING           MI   48910‐2916
MARTENS, CRAIG J                       130 OAKLANE DR                                                                                 ROCHESTER HILLS   MI   48306‐3424
MARTENS, DALE M                        6522 S FRANCIS RD                                                                              SAINT JOHNS       MI   48879‐9261
MARTENS, DANIEL L                      2188 MCCONNELL HWY                                                                             CHARLOTTE         MI   48813‐9721
MARTENS, DAVID A                       5066 LOCKWOOD DR                                                                               WASHINGTON        MI   48094‐2621
MARTENS, DAVID F                       6801 HATTERAS DR                                                                               LAKE WORTH        FL   33467‐7935
MARTENS, ERIC C                        507 W STATE ST                                                                                 SAINT JOHNS       MI   48879‐1449
MARTENS, GLEN R                        5385 N GLEN OAK DR                                                                             SAGINAW           MI   48603‐1724
MARTENS, GUNTER E                      5204 BIMINI DR                                                                                 BRADENTON         FL   34210‐2021
MARTENS, HELEN                         4203 SEMINOLE DR                                                                               ROYAL OAK         MI   48073‐6316
MARTENS, IDA R                         1608 PEACEFUL LN APT B                                                                         DUNEDIN           FL   34698‐5450
MARTENS, JAMES E                       PO BOX 250                                                                                     COOKSON           OK   74427‐0250
MARTENS, JANET K                       3800 S CANTABRIA CIR UNIT 1119                                                                 CHANDLER          AZ   85248‐4253
MARTENS, KENNETH H                     31835 WELLSTON DR                                                                              WARREN            MI   48093‐7646
MARTENS, KENNETH W                     1635 WISCONSIN AVE                                                                             BERWYN            IL   60402‐1624
MARTENS, LESTER D                      5724 PEMBROKE AVE                                                                              BAKERSFIELD       CA   93308‐4019
MARTENS, MARY J                        412 ESTES ST                                                                                   YELLVILLE         AR   72687‐9124
MARTENS, MATTHEW L                     7583 S FOREST HILL RD                                                                          SAINT JOHNS       MI   48879‐9247
MARTENS, PATRICIA                      4892 RIVERS EDGE DR                                                                            TROY              MI   48098‐5418
MARTENS, RICHARD P                     390 OUTER CIRCLE DR                                                                            PERRYVILLE        MO   63775‐8706
MARTENS, ROBERT                        COONEY & CONWAY                  120 NORTH LASALLE STREET, 30TH                                CHICAGO           IL   60602
                                                                        FLOOR
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Name                     Address1                         Address2            Address3         Address4         City               State Zip
MARTENS, ROBERT F        225 GARY AVE                                                                           OAK HILL            FL 32759‐9342
MARTENS, RONALD E        6850 H DR S                                                                            BATTLE CREEK        MI 49014‐9521
MARTENS, SALLY A         406 S WILLIAMS ST                                                                      BAY CITY            MI 48706
MARTENS, STUART W        13300 COUNTY ROAD 251A                                                                 SALIDA              CO 81201‐8567
MARTENS, TENNY           3 BENNINGTON WAY                                                                       CLIFTON PARK        NY 12065‐6561
MARTENS, TIMOTHY F       5324 ROBERTS DR                                                                        FLINT               MI 48506‐1590
MARTENSEN, HENRY C       6106 WESTKNOLL                                                                         FLINT               MI 48505
MARTER, CAROL A          420 N MC LELLAN ST                                                                     BAY CITY            MI 48708‐6786
MARTER, CAROL A          420 N MCLELLAN ST                                                                      BAY CITY            MI 48708‐6786
MARTER, OPAL M           36848 MAIN STREET                                                                      NEW BALTIMORE       MI 48047‐1617
MARTER, RICHARD H        5335 MCCARTY RD                                                                        SAGINAW             MI 48603‐9656
MARTERSTICH, BETTY S     3980 N WILMOTH HWY                                                                     ADRIAN              MI 49221‐8325
MARTERSTICH, WILLIAM E   3980 N WILMOTH HWY                                                                     ADRIAN              MI 49221‐8325
MARTESHA CHILDS          213 E GENESEE ST                                                                       FLINT               MI 48505‐4260
MARTESS MOTLEY           3566 BURNS ST                                                                          INKSTER             MI 48141‐2014
MARTH SR, RONALD E       3256 HIDDEN RD                                                                         BAY CITY            MI 48706‐1207
MARTH, BETTY J           34636 GREEN ARBOR ST                                                                   ZEPHYRHILLS         FL 33541‐1401
MARTH, GEORGE R          4265 8TH ST                                                                            ECORSE              MI 48229
MARTH, HEATHER C         22750 SODERBERG RD                                                                     SIREN               WI 54872‐9122
MARTH, NANCY ANNE        711 BAY RD                                                                             BAY CITY            MI 48706‐1931
MARTHA A ALLISON         3336 G.P.EASTERLY                                                                      W. FARMINGTON       OH 44491‐9767
MARTHA A BARTLOG         32A INDEPENDENCE PKWY                                                                  WHITING             NJ 08759‐1521
MARTHA A GERA            135 MILLERS RD                                                                         SCHRYLKILL HAVEN    PA 17972
MARTHA A GOMEZ DE LEON   1220 DENNISON AVE                                                                      DAYTON              OH 45408‐2506
MARTHA A GRIFFIN         3221 OUTDOOR RD                                                                        MORAINE             OH 45439‐1315
MARTHA A HOWARD          5272 COBBLEGATE BLVD             APT C                                                 MORAINE             OH 45439‐5197
MARTHA A JONES           324 MARTIN RD.                                                                         HAMLIN              NY 14464‐9738
MARTHA A JONES           607 MEADOW LANE                                                                        CLARKS SUMMIT       PA 18411
MARTHA A MARSHALL        39123 BUCKINGHAM DR                                                                    ROMULUS             MI 48174‐6325
MARTHA A MARTIN          2920 OLD TROY PIKE               APT 126                                               DAYTON              OH 45404‐2374
MARTHA A MCGREW          636 AUBURN DR SW                                                                       BOGUE CHITTO        MS 39629
MARTHA A MICKENS         207 WEST LAKEWOOD DR                                                                   HATTIESBURG         MS 39402‐9410
MARTHA A NEAL            3705 FOLEY GLEN CIR                                                                    FENTON              MI 48430‐3433
MARTHA A REID            100 N MILWAUKEE PL 602                                                                 WHEELING             IL 60090
MARTHA A RICE            4365 PARKWAY DR APT 9                                                                  DAYTON              OH 45416
MARTHA A SWANEY          817 CENTRAL AVE APT A                                                                  TILTON               IL 61833‐7980
MARTHA A THOMAS          121 DRESDEN AVE                                                                        PONTIAC             MI 48340‐2516
MARTHA A WALKER          628 ASHLEY LANE                                                                        SHREVEPORT          LA 71129
MARTHA A WASHINGTON      PO BOX 17625                                                                           DAYTON              OH 45417‐0625
MARTHA A WASHINGTON      P O BOX 17625                                                                          DAYTON              OH 45417‐‐ 06
MARTHA A YARBROUGH       1623 HOWELL AVE                                                                        DAYTON              OH 45402
MARTHA ABERCROMBIE       1041 PRINCE ST                                                                         MILFORD             MI 48381‐1774
MARTHA ADAMS             21 WILLIAMS AVE                                                                        GLOUSTER            OH 45732‐1000
MARTHA ADAMS             1218 IMPERIAL BLVD                                                                     KETTERING           OH 45419‐2436
MARTHA ADAMS             2211 CUMBERLAND RD                                                                     LANSING             MI 48906‐3722
MARTHA ADDISON           1103 E CARY ST                                                                         PAPILLION           NE 68046‐6187
MARTHA ALEXANDER         427 WALNUT ST                                                                          LOCKPORT            NY 14094‐3821
MARTHA ALEXIS            3456 VAN BUREN ST                                                                      INDIANAPOLIS        IN 46203‐3320
MARTHA ALGEE             2412 W ARBROOK BLVD                                                                    ARLINGTON           TX 76015‐3811
MARTHA ALLEN             3513 SADDLEBROOK DR                                                                    LOGANVILLE          GA 30052‐9104
MARTHA ALLEN             5545 OAK HILL DR NW                                                                    WARREN              OH 44481‐9019
MARTHA ALLEN             19 JIMMY MORRIS RD                                                                     SYLVA               NC 28779‐8026
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Name                     Address1                          Address2                        Address3   Address4         City              State Zip
MARTHA ALLEN             3936 ARABY CT                     C/O CINDY DIMERCURIO                                        HIGHLAND           MI 48356‐1100
MARTHA ALLEN             5816 DOWNING DR                                                                               INDIANAPOLIS       IN 46228‐1636
MARTHA ALLISON           3336 G P EASTERLY RD                                                                          WEST FARMINGTON    OH 44491‐9767
MARTHA ALRED             12826 LUCAS FERRY RD                                                                          ATHENS             AL 35611‐6031
MARTHA ALVAREZ           790 NW 114TH ST                                                                               MIAMI              FL 33168
MARTHA AMERSON           21314 PEMBROKE AVE                                                                            DETROIT            MI 48219‐1337
MARTHA ANDERSON          5518 S 39TH TER                                                                               SAINT JOSEPH       MO 64503‐2232
MARTHA ANDERSON          17308 INVERMERE AVE                                                                           CLEVELAND          OH 44128‐1656
MARTHA ANDERSON          2082 CHATFIELD LN                                                                             LAPEER             MI 48446‐8041
MARTHA ANDERSON          376 COUNTY ROAD 360                                                                           COILA              MS 38923‐7058
MARTHA ANDERSON          25612 E 130TH ST                                                                              GREENWOOD          MO 64034‐8906
MARTHA ANDERSON          358 OLIVE RD                                                                                  MORAINE            OH 45417‐7935
MARTHA ANDREGG           802 S 15TH ST UNIT 1804                                                                       SEBRING            OH 44672‐2070
MARTHA ANDREWS           31647 ECORSE RD                                                                               ROMULUS            MI 48174‐1923
MARTHA ANTEAU            210 MADISON ST                                                                                VASSAR             MI 48768‐1220
MARTHA ARMSTEAD          42603 ARGYLE CT                                                                               CANTON             MI 48187‐2319
MARTHA ARNETT            406 E EVERETTDALE AVE                                                                         LANSING            MI 48910‐5487
MARTHA ARROYO            5096 ARCHCREST WAY                                                                            SACRAMENTO         CA 95835‐1618
MARTHA ASBURY MCQUAIDE   C/O RUTH A STEWART                430 VILLAGE PL APT 318                                      LONGWOOD           FL 32779
MARTHA ASHLEY            45800 HULL RD                                                                                 BELLEVILLE         MI 48111‐3533
MARTHA ASHLEY            1375 MOUNT PISGAH RD                                                                          GADSDEN            AL 35904‐6928
MARTHA AULT              16370 WHITE HAVEN DR                                                                          NORTHVILLE         MI 48168‐2327
MARTHA AUSLEY            802 WOODLAWN DR                                                                               ANDERSON           IN 46012‐4564
MARTHA AVERY             156 PENNSYLVANIA AVE                                                                          ROCHESTER          NY 14609‐6011
MARTHA B ALLEN           5545 OAK HILL DR NW                                                                           WARREN             OH 44481‐9019
MARTHA B CARTER          2555 BELLFIELD ST                                                                             KETTERING          OH 45420
MARTHA B REAVES          775 FOUR MILE DR                                                                              ANNISTON           AL 36206
MARTHA B TUCKER          3124 ARIS ST. N.W.                                                                            WARREN             OH 44485‐1603
MARTHA B WILLIAMS        1709 DIFFORD DRIVE                                                                            NILES              OH 44446‐2833
MARTHA BAILEY            4866 E ALAMEDA CT                                                                             SPRINGFIELD        MO 65809‐3155
MARTHA BAKER             690 S STATE ST                    C/O INDIANA MASONIC HOME, INC                               FRANKLIN           IN 46131‐2553

MARTHA BALDWIN           15082 MICHAEL ST                                                                              TAYLOR            MI   48180‐5013
MARTHA BALL              677 MAPLEWOOD AVE                                                                             COLUMBUS          OH   43213‐1738
MARTHA BARBER            104 LAKELAND DR                                                                               SMITHVILLE        MO   64089‐8878
MARTHA BARD              4454 MAPLE CREEK DR                                                                           GRAND BLANC       MI   48439‐9054
MARTHA BARKER            1231 LEEDS RD                                                                                 ELKTON            MD   21921‐3613
MARTHA BARNES            13596 COUNTY ROAD 32                                                                          BELLEVUE          OH   44811‐9567
MARTHA BARNES            6650 TRENTON FRANKLIN RD APT 1C                                                               MIDDLETOWN        OH   45042‐1365
MARTHA BARNETT           PO BOX 398                                                                                    SPENCER           OK   73084‐0398
MARTHA BARTLETT          4165 FAWN TRL NE                                                                              WARREN            OH   44483‐3663
MARTHA BAUCHERT          244 N MERRILL ST                                                                              FORTVILLE         IN   46040‐1226
MARTHA BAUGHMAN          9037 SLOAN ST                                                                                 TAYLOR            MI   48180‐2708
MARTHA BAUSACK           PO BOX 192                                                                                    MOUNT MORRIS      MI   48458‐0192
MARTHA BAXTER            8108 HAWK'S WING WAY                                                                          KNOXVILLE         TN   37914
MARTHA BEARD             205 49TH AVE                                                                                  MERIDIAN          MS   39307‐6714
MARTHA BEARD             836 S 25TH ST                                                                                 SAGINAW           MI   48601‐6522
MARTHA BEARDEN           12 WALKER RD NW                                                                               CARTERSVILLE      GA   30121‐4929
MARTHA BEGBIE            422 N CASTELL AVE                                                                             ROCHESTER         MI   48307‐1821
MARTHA BEHRENDT          5390 N ELMS RD                                                                                FLUSHING          MI   48433‐9034
MARTHA BELL              3205 BAILEY AVE                                                                               SAINT LOUIS       MO   63107‐2400
MARTHA BENNER            9518 MARINERS COVE LN                                                                         FORT MYERS        FL   33919‐4204
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Name                 Address1                        Address2                    Address3           Address4         City               State Zip
MARTHA BENNETT       277 KENWOOD AVE                                                                                 ROCHESTER           NY 14611‐3033
MARTHA BENWAY        G4436 E CARPENTER RD                                                                            FLINT               MI 48506
MARTHA BENZ          C/O DR RUDOLF BENZ              IM WIDDUN 12                88090 IMMENSTAAD   GERMANY
MARTHA BERNARD       4262 E HIGHWAY 619                                                                              RUSSELL SPRINGS    KY    42642‐7932
MARTHA BERNDT        1600 S KINGS HWY                                                                                INDEPENDENCE       MO    64055‐1864
MARTHA BERRY         233 MUNTZ ST                                                                                    HILLSBORO          OH    45133‐1512
MARTHA BIGHAM        521 MOUNT VERONO DRIVE                                                                          CALHOUN            GA    30701
MARTHA BILIK         726 LOVEVILLE RD APT B15                                                                        HOCKESSIN          DE    19707‐1520
MARTHA BILLIDERE     47857 TILCH RD                                                                                  MACOMB             MI    48044‐2472
MARTHA BINGER        5305 N ELMS RD                                                                                  FLUSHING           MI    48433‐9027
MARTHA BINION        19440 DEQUINDRE ST                                                                              DETROIT            MI    48234
MARTHA BISHOP        27083 OAKWOOD CIR APT 108X                                                                      OLMSTED FALLS      OH    44138
MARTHA BIXLER        11313 E 62ND ST                                                                                 RAYTOWN            MO    64133‐4407
MARTHA BLACKBURN     2014 YOULL STREET                                                                               NILES              OH    44446‐4021
MARTHA BLADE         154 DEER HUNTERS LN                                                                             PROSPECT           TN    38477‐7526
MARTHA BLALOCK       APT 213                         4052 NORTH BELT LINE ROAD                                       IRVING             TX    75038‐5071
MARTHA BLEDSOE       3601 N LELAND AVE                                                                               INDIANAPOLIS       IN    46218‐1749
MARTHA BLEHM         109 W SPRUCE ST                                                                                 SAINT CHARLES      MI    48655‐1237
MARTHA BOBO          2209 LARK DR                                                                                    COLORADO SPRINGS   CO    80909‐1815
MARTHA BOLDREY       405 E WILBUR MILLS AVE APT 1                                                                    KENSETT            AR    72082‐3024
MARTHA BOLEN         860 CYNTHIA CT                                                                                  NILES              OH    44446‐2716
MARTHA BOLES         805 OAKSIDE LN                                                                                  UNIVERSITY PARK     IL   60466‐2816
MARTHA BONISA        4122 MELLEN DR                                                                                  ANDERSON           IN    46013‐5047
MARTHA BORDERS       432 ROCKWELL AVE                                                                                ROANOKE            IN    46783‐8874
MARTHA BORIES        3225 E SHORE DR                                                                                 COLUMBIAVILLE      MI    48421‐8919
MARTHA BOSTON        6376 JULIAN ST                                                                                  DETROIT            MI    48204‐3339
MARTHA BOULTON       11530 N HARDING AVE                                                                             HARRISON           MI    48625‐8677
MARTHA BOUSHELE      631 ‐ 43RD COURT                                                                                RAPID CITY         SD    57702
MARTHA BOWERS        500 SW 108TH AVE APT 204                                                                        PEMBROKE PINES     FL    33025‐7140
MARTHA BOWLING       21174 STATE ROUTE 18                                                                            DEFIANCE           OH    43512‐8213
MARTHA BOWMAN        3241 N 300 E                                                                                    KOKOMO             IN    46901‐8355
MARTHA BRADLEY       385 CANEY BRANCH RD                                                                             STEWART            TN    37175‐5635
MARTHA BRADLEY       2170 HOMEWOOD AVE                                                                               PADUCAH            KY    42003‐2126
MARTHA BRANDENBUR    413 S SUTPHIN ST                                                                                MIDDLETOWN         OH    45044‐4648
MARTHA BRANOFF       11126 RIDGE VIEW TRL                                                                            FENTON             MI    48430‐4002
MARTHA BREMER        213 SWEET BAY CT                                                                                HARVEST            AL    35749‐5809
MARTHA BRENDAHL      415 JADE DR                                                                                     LANSING            MI    48917‐3461
MARTHA BREWER        212 COVERT DR                                                                                   OAKWOOD            IL    61858‐9557
MARTHA BREWER        5517 CLOSSER CT                                                                                 INDIANAPOLIS       IN    46221‐4100
MARTHA BRIGGS‐HALL   561 CRAWFORD RD                                                                                 MONROE             LA    71202‐8512
MARTHA BROOKER       20975 GEORGE HUNT CIR APT 605                                                                   WAUKESHA           WI    53186‐2008
MARTHA BROOKS        2901 S HAMAKER ST                                                                               MARION             IN    46953‐3532
MARTHA BROWN         10901 GLASGOW RD                                                                                SMITHS GROVE       KY    42171‐9159
MARTHA BROWN         956 JENNETTE AVE NW                                                                             GRAND RAPIDS       MI    49504‐4381
MARTHA BROWN         PO BOX 87736                                                                                    CANTON             MI    48187‐0736
MARTHA BROWN         2333 E 560 N                                                                                    ANDERSON           IN    46012‐9525
MARTHA BROWN         2205 S VINE ST                                                                                  MUNCIE             IN    47302‐4229
MARTHA BROWN         208 ARDMORE DR                                                                                  MIDDLETOWN         OH    45042‐3511
MARTHA BROWN         9149 W TUMBLEWOOD DR                                                                            PEORIA             AZ    85382‐3592
MARTHA BROWNING      PO BOX 1438                                                                                     JESUP              GA    31598‐6438
MARTHA BUCKO         28147 MAVIS DR                                                                                  WARREN             MI    48088‐4758
MARTHA BURCH         21605 INDIAN HOLLOW RD                                                                          WELLINGTON         OH    44090‐9662
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Name                   Address1                       Address2                 Address3    Address4         City            State Zip
MARTHA BURCHETT        11442 S EMERALD AVE                                                                  CHICAGO           IL 60628‐5216
MARTHA BURGER          816 KNOX AVE NW                                                                      WARREN           OH 44483‐2133
MARTHA BURLESON        2033 S TOWPATH RD                                                                    COVINGTON        IN 47932‐8046
MARTHA BURNETT         1732 LAKEVIEW ST                                                                     TRENTON          MI 48183‐1727
MARTHA BURNS           C/O MARGARET DITTEON           PERSONAL RESOURCE                                     TERRE HAUTE      IN 47802
                                                      MANAGEMENT
MARTHA BURNS           10 ELMWOOD DR                                                                        SPRINGBORO      OH   45066‐1406
MARTHA BURRELLI        41 LATTAVO DR                                                                        NEW CASTLE      PA   16105‐1839
MARTHA BURROW          166 GARDEN OAKS DR                                                                   PRINCETON       WV   24740‐8513
MARTHA BURROWS         571 PENN LAKE DR                                                                     CHESTER         SC   29706‐8137
MARTHA BUTLER          26933 NEW YORK ST                                                                    INKSTER         MI   48141‐2523
MARTHA BUTLER          PO BOX 191                     200 N MAIL                                            PERRY           MI   48872‐0191
MARTHA BUTLER          282 PINELOFT LN                                                                      HUSTONTOWN      PA   17229‐9204
MARTHA BYERLY          7917 GATEWOOD LN                                                                     INDIANAPOLIS    IN   46219‐2420
MARTHA BYRD            2514 NORMANDY DR SE APT 205C                                                         GRAND RAPIDS    MI   49506‐7943
MARTHA BYRD            1845 STOCKTON WALK LN                                                                SNELLVILLE      GA   30078‐2365
MARTHA BYRON           1397 E 94TH ST                                                                       CLEVELAND       OH   44106‐1009
MARTHA C HALL          6453 LINDEN RD                                                                       SWARTZ CREEK    MI   48473‐8848
MARTHA C PATERNOSTER   30 AVANTI DR                                                                         ROCHESTER       NY   14606‐5839
MARTHA C RASAK         111 FOXPOINTE DR                                                                     SWARTZ CREEK    MI   48473‐8281
MARTHA CALDWELL        5712 RUSSELL AVE                                                                     FRANKLIN        OH   45005‐2824
MARTHA CAMPBELL        8735 BIG BEND RD                                                                     MARTINSVILLE    IN   46151‐7793
MARTHA CAMPBELL        1981 WHITE OAK LN                                                                    YPSILANTI       MI   48198‐9548
MARTHA CAMPBELL        2525 BLAKE ST                                                                        SAGINAW         MI   48602‐3835
MARTHA CAMPBELL        90 HOLLY CREEK DR              C/O CHARLES E CAMPBELL                                COVINGTON       GA   30016‐8712
MARTHA CAPPER          6680 W 1000 S‐90                                                                     MONTPELIER      IN   47359‐9519
MARTHA CARDIN          2924 SW 157TH ST                                                                     OKLAHOMA CITY   OK   73170‐8616
MARTHA CARLSON         2574 MILLER RD                                                                       METAMORA        MI   48455‐9262
MARTHA CARPENTER       5967 FOXHOLLOW DR                                                                    WINTER HAVEN    FL   33884‐2754
MARTHA CARROLL         1802 PRIMROSE LN                                                                     FAIRBORN        OH   45324‐9795
MARTHA CARTER          7669 SPRUCEWOOD AVE                                                                  WOODRIDGE       IL   60517‐2820
MARTHA CARTER          7110 DAYTON LIBERTY RD                                                               DAYTON          OH   45418‐1143
MARTHA CARTER          33909 RICHARD O DR                                                                   STERLING HTS    MI   48310‐6124
MARTHA CARTER          2555 BELLFIELD ST                                                                    KETTERING       OH   45420‐3519
MARTHA CARTER          22701 W EUCLID AVE                                                                   BUCKEYE         AZ   85326‐3243
MARTHA CARUTH          2312 E LAKE RD                                                                       CLIO            MI   48420‐9147
MARTHA CARVER          307 STRATMORE ST                                                                     NEW CARLISLE    OH   45344‐2844
MARTHA CASE            1115 COUNTY ROAD 18                                                                  MYRTLE          MS   38650‐8527
MARTHA CASH            594 TAYLOR DR SE                                                                     SMYRNA          GA   30080‐1062
MARTHA CASH            11312 MELISSA CT                                                                     CINCINNATI      OH   45251‐4541
MARTHA CASTANEDA       732 WAVERLY AVE                                                                      SAN ANTONIO     TX   78201‐6138
MARTHA CASTRO          4706 ELKWOOD LN                                                                      ARLINGTON       TX   76016‐1825
MARTHA CAUPP           10 WILMINGTON AVE APT 251W                                                           DAYTON          OH   45420‐4813
MARTHA CESTARE         1429 S BUCKEYE ST                                                                    KOKOMO          IN   46902‐6320
MARTHA CHAMBERLIN      18131 KIRKSHIRE AVE                                                                  BEVERLY HILLS   MI   48025‐3146
MARTHA CHANDLER        10295 HARTLAND RD                                                                    FENTON          MI   48430‐8706
MARTHA CHANEY STARR    53 RAMSEY RIDGE RD                                                                   BEDFORD         IN   47421
MARTHA CLANCY          4522 W 2ND ST                                                                        DAYTON          OH   45417‐1358
MARTHA CLARK           16401 LINDEN RD                                                                      LINDEN          MI   48451‐9035
MARTHA CLARK           3200 LINDBERG RD                                                                     ANDERSON        IN   46012‐9679
MARTHA CLIFTON         9016 SURREY DR                                                                       PENDLETON       IN   46064‐9336
MARTHA CLIFTON         1875 KNOWLES ST                                                                      E CLEVELAND     OH   44112‐3918
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Name                Address1                         Address2                  Address3   Address4         City                 State Zip
MARTHA CLINE        PO BOX 2639                                                                            DUNLAP                TN 37327‐2639
MARTHA CLUCKEY      5855 CHIPPEWA DR                                                                       HOWELL                MI 48843‐9119
MARTHA COBB         232 BAYVIEW DR                                                                         CORTLAND              OH 44410‐1924
MARTHA COBURN       6167 NATCHEZ DR                                                                        MOUNT MORRIS          MI 48458‐2701
MARTHA COFFMAN      STE 400                          444 SEABREEZE BOULEVARD                               DAYTONA BEACH         FL 32118‐3941
MARTHA COLE         PO BOX 385                                                                             KINSMAN               OH 44428‐0385
MARTHA COLEMAN      701 PAGE ST                                                                            JACKSON               MS 39213‐7748
MARTHA COLEMAN      1418 WISCONSIN AVE                                                                     BELOIT                WI 53511‐4524
MARTHA COLLINS      5088 WRIGHT RD                                                                         MILAN                 MI 48160‐8831
MARTHA CONNELL      5572 W COLUMBIA RD                                                                     MASON                 MI 48854‐9556
MARTHA CONNER       344 WEST AVE APT 108                                                                   CEDARTOWN             GA 30125‐3454
MARTHA COOK         2326 CHICKASAW ST                                                                      CINCINNATI            OH 45219‐1210
MARTHA COOK         1243 COUNTY ROAD 302                                                                   BELLEVUE              OH 44811‐9022
MARTHA COOLEY       PO BOX 942                                                                             DE KALB               MS 39328‐0942
MARTHA COOPER       3500 W ISLAND RD                                                                       SAINT JOHNS           MI 48879‐9422
MARTHA COOPER       1667 LONGFELLOW ST                                                                     DETROIT               MI 48206‐2049
MARTHA CORNELIUS    508 SHADOWOOD DR                                                                       VANDALIA              OH 45377‐1574
MARTHA COVE         2014 FOX HILL DR APT 1                                                                 GRAND BLANC           MI 48439‐5241
MARTHA COX          PO BOX 1329                                                                            LIBERTY               KY 42539‐1329
MARTHA CREASON      334 SW PAWNEE TRL                                                                      GREENSBURG            IN 47240‐7806
MARTHA CREECY       PO BOX 764                                                                             TRUMANN               AR 72472‐0764
MARTHA CRISLER      1304 W MADISON ST                                                                      ANN ARBOR             MI 48103‐4732
MARTHA CROCKER      10 REGAL WAY                                                                           LAWRENCEVILLE         GA 30044‐4478
MARTHA CROSS        256 JOHNSON RD                                                                         OXFORD                GA 30054‐2837
MARTHA CROUCH       2212 M ST APT 5G                                                                       BEDFORD               IN 47421‐4541
MARTHA CRUCE        2450 KROUSE RD LOT 522                                                                 OWOSSO                MI 48867‐8113
MARTHA CUMMINGS     3503 W BROOKFIELD DR                                                                   MUNCIE                IN 47302‐6900
MARTHA CUNNINGHAM   556 CEMBRA DR                                                                          GREENWOOD             IN 46143‐7689
MARTHA CUPPARI      4488 STATE ROUTE 116 E                                                                 FULTON                KY 42041‐7445
MARTHA CUSTER       1005 HALFACRE AVE                                                                      ENGLEWOOD             OH 45322‐2422
MARTHA D BREMER     213 SWEET BAY CT                                                                       HARVEST               AL 35749‐5809
MARTHA D BUCHANAN   508 DELLWOOD ST                                                                        TILTON                 IL 61833‐8017
MARTHA D DANIELS    43487 N TIMBERVIEW DR                                                                  BELLEVILLE            MI 48111‐3334
MARTHA D GATLIN     3246 CHELSEA CIR                                                                       ANN ARBOR             MI 48108‐2710
MARTHA D PHILLIPS   2229 ALLEN BLVD                                                                        GADSDEN               AL 35903
MARTHA DANIELS      43487 N TIMBERVIEW DR                                                                  BELLEVILLE            MI 48111‐3334
MARTHA DAVIS        6043 THUNDERBIRD DR                                                                    MENTOR ON THE LAKE    OH 44060‐3015
MARTHA DAVIS        PO BOX 327                                                                             TRINITY               AL 35673‐0003
MARTHA DAVIS        900 E MORNINGSIDE DR                                                                   FORT WORTH            TX 76104‐6818
MARTHA DAVIS        41826 BROWNSTONE DR                                                                    NOVI                  MI 48377‐4802
MARTHA DAVIS        8003 CANTON AVE                                                                        UNIVERSITY CITY       MO 63130‐1504
MARTHA DAWSON       8549 RUSHVIEW DR                                                                       PINCKNEY              MI 48169‐9113
MARTHA DEAL         2821 SW 109TH ST                                                                       OKLAHOMA CITY         OK 73170‐2461
MARTHA DECAPITE     1250 SALT SPRINGS RD                                                                   WARREN                OH 44481‐8624
MARTHA DECKER       6552 SETTLEMENT SQ                                                                     CLARKSTON             MI 48348‐4632
MARTHA DEHAVEN      STE 115                          2224 HIGH WHEEL DRIVE                                 XENIA                 OH 45385‐5385
MARTHA DEIDRICK     383 AMBLESIDE WAY                                                                      AMHERST               OH 44001‐3411
MARTHA DEL MONACO   3176 CLARK LN                                                                          SOUTH PLAINFIELD      NJ 07080‐5239
MARTHA DELONG       604 S CLINTON AVE                                                                      SAINT JOHNS           MI 48879‐2246
MARTHA DESHON       11 JACKS ST                                                                            GAS CITY              IN 46933‐2052
MARTHA DESSAUSURE   7876 CRABTREE ST                                                                       WESTLAND              MI 48185‐5685
MARTHA DEWALT       1325 LACLEDE RD                                                                        TOLEDO                OH 43612‐1644
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Name                                   Address1                         Address2               Address3      Address4                 City               State Zip
MARTHA DEWITT                          3893 E 650 N                                                                                   WINDFALL            IN 46076‐9246
MARTHA DICKEY                          3638 S CREEK DR                                                                                GREENVILLE          OH 45331‐3045
MARTHA DIMOND                          312 W 2ND ST                                                                                   DAVISON             MI 48423‐1317
MARTHA DIX                             1923 BYBEE CT                                                                                  BITELY              MI 49309‐9420
MARTHA DOHERTY                         304 N Z ST                                                                                     LOMPOC              CA 93436‐5015
MARTHA DOROW                           246 LAKEHIGHTS                                                                                 GRASS LAKE          MI 49240
MARTHA DOWDY                           895 BEAUFORD ST SE                                                                             KENTWOOD            MI 49508‐7075
MARTHA DOWDY                           4187 US HIGHWAY 45 W                                                                           KENTON              TN 38233‐3443
MARTHA DOWNEY                          8014 COOK RD                                                                                   MERIDIAN            MS 39305‐8882
MARTHA DOWNING                         12300 RT. 61                                                                                   BERLIN HEIGHTS      OH 44814
MARTHA DUDLEY                          1601 JEFFERSON AVE                                                                             MARSHALL            TX 75670‐1224
MARTHA DUDLEY                          3710 KELLAR AVE                                                                                FLINT               MI 48504‐2150
MARTHA DULIN                           487 REMBRANDT ST                                                                               MANSFIELD           OH 44902‐7016
MARTHA DUNAWAY                         911 FOX CT                                                                                     MORROW              OH 45152‐8461
MARTHA DUNN                            5027 DELBROOK AVE                                                                              LANSING             MI 48910‐5387
MARTHA DUNSON                          1676 HOPEWELL AVE                                                                              DAYTON              OH 45418‐2243
MARTHA DURSO                           3990 BEECHGROVE DR                                                                             WATERFORD           MI 48328‐3513
MARTHA DWIGGINS                        1034 SUNSET DR                   C/O LYLE E COX                                                ANDERSON            IN 46011‐1621
MARTHA DWORNICK                        26150 GRANDMONT ST APT 207                                                                     ROSEVILLE           MI 48066‐3291
MARTHA E ANDERSON                      712 DORSET AVE                                                                                 YPSILANTI           MI 48198‐6142
MARTHA E COBURN                        6167 NATCHEZ DR                                                                                MOUNT MORRIS        MI 48458‐2701
MARTHA E DAWKINS                       3102 LODWICK DR NW APT 1                                                                       WARREN              OH 44485
MARTHA E GREEN                         1001 S MAPLE AVE                                                                               FAIRBORN            OH 45324‐3734
MARTHA E HEMPHILL                      2716 WESLEY AVE                                                                                BERWYN               IL 60402‐2539
MARTHA E HENRY                         5217 GRANADA ST                                                                                ROELAND PARK        KS 66205‐2356
MARTHA E HOLGUIN ESTRADA               PASEO DEL VIVERO 2904            PASEOS DEL BOSQUE                    JUAREZ CHIHUAHUA 32542
                                                                                                             MEXICO
MARTHA E RHODES                        2231 S. E. RICH STREET                                                                         PORT ST LUCIE      FL 34984‐4725
MARTHA E WILLIAMS, JAMES K WILLIAMS,   3721 E MONROE                                                                                  SPRINGFIELD        MO 65809‐1358
& JULIE BRENNAN
MARTHA E WOJTALEWSKI                   7314 LANDSEND LN                                                                               LIVERPOOL          NY   13090‐1740
MARTHA EASTON                          PO BOX 168                                                                                     BRISTOLVILLE       OH   44402‐0168
MARTHA EATON                           104 E LAKE ST                                                                                  SUMMITVILLE        IN   46070‐9732
MARTHA EBNER                           1412 SANDUSKY ST                                                                               SANDUSKY           OH   44870‐3047
MARTHA ECHOLS                          PO BOX 6383                                                                                    HENDERSONVILLE     NC   28793‐6383
MARTHA EDDS                            6549 PRINCETON GLENDALE RD                                                                     LIBERTY TWP        OH   45011
MARTHA EDMONDSON                       1706 N NOLAND RD                                                                               INDEPENDENCE       MO   64050‐1644
MARTHA EDWARDS                         203 ALICE RITA ST                                                                              COLUMBUS           OH   43228‐1456
MARTHA EDWARDS                         45498 PARSONS RD                                                                               OBERLIN            OH   44074‐9604
MARTHA EDWARDS                         6696 RIVER RD                                                                                  FLUSHING           MI   48433‐2512
MARTHA EDWARDS                         1548 BELMAR DR SE                                                                              GRAND RAPIDS       MI   49508‐3567
MARTHA EICHBAUER                       14545 PATTERSON DR                                                                             SHELBY TOWNSHIP    MI   48315‐4930
MARTHA EISELE                          9 S. MAIN ST                                                                                   PLEASANT HILL      OH   45359
MARTHA ELLEMAN                         1227 CADILLAC DR E                                                                             KOKOMO             IN   46902‐2544
MARTHA ELLINGTON                       519 HIGH FALLS RD                                                                              JACKSON            GA   30233‐6225
MARTHA ELLIOTT                         4998 JOHN DARLING RD                                                                           CONEWANGO VALLEY   NY   14726‐9757
MARTHA ELLIS                           300 PARKWEST CT APT H‐4                                                                        LANSING            MI   48917‐2519
MARTHA ELLIS                           5420 E COMMONS DR                                                                              MOORESVILLE        IN   46158‐6795
MARTHA ELLIS                           536 RIDGE RD                     C/O PATRICIA PENNISI                                          CEDAR GROVE        NJ   07009‐1611
MARTHA EMBERTON                        4503 OLIVE BRANCH RD             C/O VICKIE POYNTER                                            GREENWOOD          IN   46143‐8627
MARTHA ESKRIDGE                        28 DEVALINDER DR                                                                               NEWARK             DE   19702‐4784
MARTHA ESTES                           6208 PRESTLEY MILL RD                                                                          DOUGLASVILLE       GA   30134‐2234
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Name                     Address1                        Address2            Address3         Address4         City               State Zip
MARTHA ESTRIDGE          3400 S MITCHELL RD                                                                    CHOCTAW             OK 73020‐5958
MARTHA EVANS             119 MALDEN AVE                                                                        DAYTON              OH 45427‐2905
MARTHA F HOGGE           2942 DWIGHT AVENUE                                                                    DAYTON              OH 45420‐2610
MARTHA FAIRCLOTH         420 E SHORE DR                                                                        SPARTANBURG         SC 29302‐3211
MARTHA FARLEY            955 HAMLET DR                                                                         XENIA               OH 45385‐1716
MARTHA FARROW            185 BYRON DRIVE                                                                       MEMPHIS             TN 38109‐5463
MARTHA FELIX             4649 N MARBLE TOP RD                                                                  CHICKAMAUGA         GA 30707‐3749
MARTHA FERGUSON          213 CASALON DR APT 1                                                                  O FALLON            MO 63366‐7730
MARTHA FERNSLER          5317 MULLIKEN RD                                                                      CHARLOTTE           MI 48813‐8890
MARTHA FERRELL           972 HEATHLAND DR                                                                      NEWPORT NEWS        VA 23602‐8812
MARTHA FINKBEINER        6641 LEISURE WAY DR SE                                                                CALEDONIA           MI 49316‐9028
MARTHA FINLEY            10483 ELMS RD                                                                         MONTROSE            MI 48457‐9137
MARTHA FISH              27767 HWY 00                                                                          WARSAW              MO 65355
MARTHA FISHER            19654 PROMISE RD                                                                      NOBLESVILLE         IN 46060‐9179
MARTHA FISHER            49 E OHIO AVE                                                                         MACCLENNY           FL 32063‐2138
MARTHA FITCH             PO BOX 55                                                                             GOLDSMITH           IN 46045
MARTHA FLINT             2130 LAFAYETTE ST                                                                     ANDERSON            IN 46012‐1638
MARTHA FLOOD             PO BOX 282                                                                            BUCKLEY             MI 49620‐0282
MARTHA FLORES            102 COTSWOLD COURT                                                                    LANSING             MI 48906‐1500
MARTHA FLOWNEY           2505 MALLERY ST                                                                       FLINT               MI 48504‐7346
MARTHA FLOYD             203 RIFE RD TRLR 45                                                                   EAST BERLIN         PA 17316‐9415
MARTHA FLOYD             3045 BRIDLEWOOD TRL                                                                   DANVILLE            IN 46122‐9117
MARTHA FLY               15109 CATHLEEN CV                                                                     MILAN               TN 38358‐6494
MARTHA FLYNN             629 E 100 N                                                                           HARTFORD CITY       IN 47348‐9074
MARTHA FORD              5441 BROOKWOOD DR                                                                     BURTON              MI 48509‐1331
MARTHA FOSTER            PO BOX 142                                                                            GREENEVILLE         TN 37744‐0142
MARTHA FOWLER            400 WILSON RD                                                                         BROWNSVILLE         PA 15417
MARTHA FOWLER‐MILAM      93 RAINBOW LN                                                                         EDINBURGH           IN 46124‐1132
MARTHA FOX               5845 N LAKE ROAD 52 W # 52 52                                                         MONTICELLO          IN 47960
MARTHA FRANCIS‐GLASGOW   1304 DANA DEBBIE ST                                                                   JONESBORO           AR 72401‐0520
MARTHA FREELS            2921 CHEROKEE DR APT 5                                                                WATERFORD           MI 48328‐3174
MARTHA FREEMAN           3006 MCKINLEY ST                                                                      ANDERSON            IN 46016‐5462
MARTHA FRENSLEY          29897 BROAD ST                                                                        BRUCETON            TN 38317‐2219
MARTHA FRIGY             6412 W FARRAND RD                                                                     CLIO                MI 48420‐8242
MARTHA FROST             343 MARY LANE CIR                                                                     SOUTH LEBANON       OH 45065‐1103
MARTHA FROST             PO BOX 172                      783 SHAWHAN ROAD                                      SOUTH LEBANON       OH 45065‐0172
MARTHA FROST             224 STRIETER DR                                                                       SAGINAW             MI 48609‐5210
MARTHA FRY               7018 BASS LAKE LANDING RD       HC 72, BOX 41                                         JOHANNESBURG        MI 49751‐9707
MARTHA FULLER            1600 SANDGATE RD                                                                      MIDLOTHIAN          VA 23113‐2448
MARTHA FUNK              7701 N RILEY RD                                                                       EDGERTON            WI 53534‐8853
MARTHA G DUNSON          1676 HOPEWELL AVE.                                                                    DAYTON              OH 45418‐2243
MARTHA G SHYNE           3602 MODENA ST                                                                        DAYTON              OH 45408‐2120
MARTHA G WEAVER          747 FISH HATCHERY RD                                                                  EASTABOGA           AL 36260
MARTHA GADLEY            107 ROHR ST                                                                           BUFFALO             NY 14211‐1530
MARTHA GAITER            13A GREENWOOD HTS                                                                     CONNELLSVILLE       PA 15425‐3929
MARTHA GALLARZO          2116 E VIRGINIA AVE                                                                   ANAHEIM             CA 92806‐4224
MARTHA GARDNER           220 TROPICAL SHORE WAY                                                                FORT MYERS BEACH    FL 33931‐3318
MARTHA GASKIN            2108 GEORGIA AVE                                                                      KANSAS CITY         KS 66104‐4522
MARTHA GAST              3051 WINSTON BLVD                                                                     TOLEDO              OH 43614‐3933
MARTHA GATLIN            3246 CHELSEA CIR                                                                      ANN ARBOR           MI 48108‐2710
MARTHA GATSON            535 S WARREN AVE APT 404                                                              SAGINAW             MI 48607‐1690
MARTHA GAYDOS            8163 DRAKE STATELINE RD NE                                                            BURGHILL            OH 44404‐9777
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Name                Address1                           Address2               Address3     Address4         City            State Zip
MARTHA GEORGE       2074 CRYSTAL WOOD TRL                                                                   FLUSHING         MI 48433‐3512
MARTHA GEORGE       MARTHA, GEORGE                     16544 BROOKLANE BLVD                                 NORTHVILLE       MI 48168
MARTHA GERTH HAYS   6851 E COUNTY ROAD 100 N                                                                AVON             IN 46123‐9398
MARTHA GIBBS        PO BOX 36                                                                               BRIDGEPORT       MI 48722‐0036
MARTHA GILLAM       2976 N SYMONDS CREEK RD                                                                 CAMBRIDGE CTY    IN 47327‐9710
MARTHA GILLESPIE    1751 E 600 N                                                                            ALEXANDRIA       IN 46001‐8784
MARTHA GLASSBURN    1037 MANCHESTER RD                                                                      LIBERTY          MO 64068‐2927
MARTHA GLEASON      495 SMITH RD                                                                            COLUMBUS         OH 43228‐1143
MARTHA GONDER       522 CHEROKEE ST APT 209                                                                 KALAMAZOO        MI 49006‐2849
MARTHA GONZALES     3768 BLACK HAWK AVE                                                                     MERCED           CA 95340‐8329
MARTHA GONZALES     8651 CAMELIA DR                                                                         RIVERSIDE        CA 92504‐2343
MARTHA GONZALEZ     25132 GATES LN                                                                          PLAINFIELD        IL 60585‐2223
MARTHA GOODPASTER   3818 SAINT CHARLES ST                                                                   ANDERSON         IN 46013‐5388
MARTHA GOUVAN       410 S 500 W ‐ 90                                                                        MARKLE           IN 46770
MARTHA GRABROVAC    519 CASE AVE                                                                            ELYRIA           OH 44035‐7201
MARTHA GRAHAM       7800 E JEFFERSON AVE APT 612                                                            DETROIT          MI 48214‐2588
MARTHA GRAHAM       2188 W STROOP RD                                                                        DAYTON           OH 45439‐2518
MARTHA GRAY         8215 LEONARDOS DR                                                                       SHREVEPORT       LA 71107‐9692
MARTHA GREEN        1001 S MAPLE AVE                                                                        FAIRBORN         OH 45324‐3734
MARTHA GREER        14250 HIGHWAY 45                                                                        LOUISVILLE        IL 62858‐2936
MARTHA GREGORY      PO BOX 254                                                                              CALHOUN          LA 71225‐0254
MARTHA GRESOCK      3299 W PARKWAY AVE                                                                      FLINT            MI 48504‐6946
MARTHA GRIFFITH     2121 RIVER AVE                                                                          SANDUSKY         OH 44870‐3955
MARTHA GRIGGS       132 NORTHRIDGE DR                                                                       MACON            GA 31220‐6641
MARTHA GRINNELL     1630 W MAIN ST                                                                          OWOSSO           MI 48867‐2001
MARTHA GROSS        5770 FREEWALD BLVD                                                                      MILLINGTON       MI 48746‐8802
MARTHA GROSS        1922 SWANEY RD                                                                          WALLED LAKE      MI 48390‐3253
MARTHA GULLY        3314 BANK ST                                                                            LOUISVILLE       KY 40212‐2128
MARTHA GUTHRIE      PO BOX 170494                                                                           ATLANTA          GA 30317‐0494
MARTHA GUZMAN       1921 COURT ST                                                                           SAGINAW          MI 48602‐3702
MARTHA H EASTON     P.O. BOX 168                                                                            BRISTOLVILLE     OH 44402‐0168
MARTHA H HERMAN     ROBERT W PHILLIPS, SIMMONS BROWDER 707 BERKSHIRE BLVD     PO BOX 521                    EAST ALTON        IL 62024
                    GIANARIS ANGELIDES & BARNERED LLC

MARTHA H MITCHELL   1140 BIKINI DR                                                                          LIMA            OH   45801‐2413
MARTHA H POWELL     2421 2ND AVE NE                                                                         TUSCALOOSA      AL   35406‐1953
MARTHA H PRICE      15010 VICTORY BLVD #102                                                                 VAN NUYS        CA   91411‐1817
MARTHA H WILKINS    5303 WOLF RIDGE RD                                                                      DAYTON          OH   45415
MARTHA HAASE        27938 EASTWICK SQ                                                                       ROSEVILLE       MI   48066‐4813
MARTHA HADDIX       624 INGLESIDE AVE                                                                       FLINT           MI   48507‐2556
MARTHA HALL         3011 JOHNSON RD                                                                         LOGANVILLE      GA   30052‐2986
MARTHA HALL         6453 LINDEN RD                                                                          SWARTZ CREEK    MI   48473‐8848
MARTHA HALL         216 SEMINOLE AVE                                                                        VALPARAISO      FL   32580‐1335
MARTHA HALSTEAD     6511 ASH HILL DR                                                                        TUSCALOOSA      AL   35405‐7828
MARTHA HAMILTON     PO BOX 165                                                                              ROGERS          KY   41365‐0165
MARTHA HAMMOND      1438 CHURCH ST APT 1402                                                                 DECATUR         GA   30030‐1579
MARTHA HANCHIN      5126 CALLA AVE NW                                                                       WARREN          OH   44483‐1220
MARTHA HANCZARUK    35330 EDMUNDS GRV                                                                       NEW BALTIMORE   MI   48047‐1149
MARTHA HANEY        3321 TRADE WINDS AVE                                                                    DAYTON          OH   45424‐6225
MARTHA HANN         13306 LAKESIDE LNDG                                                                     FENTON          MI   48430‐1132
MARTHA HANNA        7420 ANSLEY LN                                                                          HILLSDALE       MI   49242‐9670
MARTHA HANNA        1613 N HARRISON ST                                                                      ALEXANDRIA      IN   46001‐1015
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Name                 Address1                       Address2                  Address3   Address4         City             State Zip
MARTHA HANNAH        4830 DAWNWOOD DR                                                                     DAYTON            OH 45415‐1301
MARTHA HANNUM        4737 SPRING CREEK DR                                                                 HOWELL            MI 48843‐7308
MARTHA HARBERTS      2424 ELDERWOOD DR NW                                                                 GRAND RAPIDS      MI 49544‐1714
MARTHA HARDIN        3406 MANCHESTER RD                                                                   ANDERSON          IN 46012‐3919
MARTHA HARDING       15 CHESTNUT ST                                                                       WEAVERVILLE       NC 28787‐9495
MARTHA HARDY         4268 HARBORTOWNE DR APT 2                                                            SAGINAW           MI 48603‐1455
MARTHA HARLESS       2420 S F ST                                                                          ELWOOD            IN 46036‐2548
MARTHA HARMON        823 JORDAN DR                                                                        GREENWOOD         IN 46143‐8293
MARTHA HARMON        401 W CHURCH ST TRLR 12                                                              THORNTOWN         IN 46071‐1040
MARTHA HARRIS        3654 EAST 550 NORTH                                                                  MARION            IN 46952‐9123
MARTHA HARRIS        280 CARTER RD                                                                        DOWNSVILLE        LA 71234‐2722
MARTHA HARRIS        25190 FIR AVE                                                                        MORENO VALLEY     CA 92553‐2311
MARTHA HARRIS        3220 WATERWAY BLVD                                                                   ANDERSON          IN 46012‐8702
MARTHA HARRIS        9952 TERRY HWY                                                                       SAND CREEK        MI 49279‐9752
MARTHA HARRISON      1425 W 15TH ST                                                                       ANDERSON          IN 46016‐3321
MARTHA HART          363 BROWNING AVE                                                                     HUNTINGDON        TN 38344‐2601
MARTHA HARTL         4141 MCCARTY RD APT 304                                                              SAGINAW           MI 48603‐9330
MARTHA HARTLEY       2184 W 200 S                                                                         HARTFORD CITY     IN 47348‐9759
MARTHA HARVANEC      13675 NEWTON RD                                                                      CLEVELAND         OH 44130‐2735
MARTHA HARVEY        124 HALLECK ST                                                                       YOUNGSTOWN        OH 44505‐2520
MARTHA HASKIN        3117 ROCK CREEK DR                                                                   PORT CHARLOTTE    FL 33948‐5026
MARTHA HASTON        2323 E 39TH ST                                                                       ANDERSON          IN 46013‐2603
MARTHA HATTABAUGH    905 JOANN ST                                                                         MARSHFIELD        MO 65706‐2079
MARTHA HAWLEY        322 NORTH DEERFIELD AVENUE                                                           LANSING           MI 48917‐2909
MARTHA HAWORTH       APT 427                        334 SOUTH CHERRY STREET                               WESTFIELD         IN 46074‐8703
MARTHA HAWTHORNE     11807 ABLEWHITE AVE                                                                  CLEVELAND         OH 44108‐1509
MARTHA HAYDEN        98 CROCKETT ST                                                                       COVINGTON         IN 47932‐1164
MARTHA HAYES         28675 FRANKLIN RD APT 309                                                            SOUTHFIELD        MI 48034‐1604
MARTHA HEISS         1175 EMERSON ST APT 14                                                               LAKE ODESSA       MI 48849‐1106
MARTHA HEMPHILL      2716 WESLEY AVE                                                                      BERWYN             IL 60402‐2539
MARTHA HEMPHILL      2493 FM 344 E                                                                        BULLARD           TX 75757‐8401
MARTHA HENDERSHOT    5773 SHADY LANE RD                                                                   CASEVILLE         MI 48725‐9764
MARTHA HENDERSON     8729 JUNIPER ST                                                                      LANSING           MI 48917‐9631
MARTHA HENDRICKSON   2114 WALNUT ST                                                                       ANDERSON          IN 46016‐4460
MARTHA HENLEY        16597 S RAUCHOLZ RD                                                                  OAKLEY            MI 48649‐9765
MARTHA HENNESSY      9308 HARVARD ST                                                                      BELLFLOWER        CA 90706‐4425
MARTHA HENRY         5217 GRANADA ST                                                                      SHAWNEE MSN       KS 66205‐2356
MARTHA HENSLEY       152 TRAILS END                                                                       BROWNSBURG        IN 46112‐9245
MARTHA HERNANDEZ     526 JACK PINE CT                                                                     INDIANAPOLIS      IN 46224‐7100
MARTHA HERRELL       9834 DUDLEY ST                                                                       TAYLOR            MI 48180‐3751
MARTHA HERRING       3870 ANGUS LN                                                                        MORAINE           OH 45439‐1202
MARTHA HERRING       26739 LEHIGH ST                                                                      INKSTER           MI 48141‐3126
MARTHA HIGHWOOD      1000 N 16TH ST                                                                       NEW CASTLE        IN 47362‐4319
MARTHA HILL          51775 MAIN ST                                                                        JERUSALEM         OH 43747‐9731
MARTHA HILL          345 LUNDEE PL                                                                        MEMPHIS           TN 38111‐1818
MARTHA HILL          81 DOWNING ST APT 1                                                                  WORCESTER         MA 01610
MARTHA HILL          PO BOX 1421                                                                          MARION            IN 46952‐7821
MARTHA HILL          4702 PATRICIA ST                                                                     INDIANAPOLIS      IN 46222‐1554
MARTHA HINDS         4425 BRAVE LN                                                                        SAINT CLOUD       FL 34772‐8818
MARTHA HINNENKAMP    6379 STONEHEARTH PASS                                                                GRAND BLANC       MI 48439‐9022
MARTHA HOCHSTETLER   316 MEUSE ARGONNE ST                                                                 HICKSVILLE        OH 43526‐1144
MARTHA HOGGE         2942 DWIGHT AVE                                                                      DAYTON            OH 45420‐2610
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Name                    Address1                             Address2      Address3         Address4         City            State Zip
MARTHA HOLLINGSWORTH    1307 CLINT ST                                                                        CARROLLTON       TX 75006‐6314
MARTHA HOLMES           12187 ARROWOOD DR                                                                    OTISVILLE        MI 48483‐9751
MARTHA HOLT             12321 STANLEY RD                                                                     COLUMBIAVILLE    MI 48421‐8804
MARTHA HOPPE            1304 MERRILL AVE                                                                     LINCOLN PARK     MI 48146‐3357
MARTHA HORN             105 BEACON POINT PKWY S                                                              FLUSHING         MI 48433‐1888
MARTHA HORTON           1267 WORCESTER WAY                                                                   GREENFIELD       IN 46140‐7871
MARTHA HORVATH          2007 BOYNTON AVE                                                                     WESTFIELD        NJ 07090‐1710
MARTHA HORVATH          18761 MOORE AVE                                                                      ALLEN PARK       MI 48101‐1559
MARTHA HOSKINS          PO BOX 35                                                                            ADVANCE          IN 46102‐0035
MARTHA HOUNTZ           7547 N OLD MILAN RD                                                                  SUNMAN           IN 47041‐9596
MARTHA HOVIS            513 FAIRHAVEN CT                                                                     NASHVILLE        TN 37211‐7311
MARTHA HOWARD           5272 COBBLEGATE BLVD APT C                                                           MORAINE          OH 45439‐5197
MARTHA HOWARD           126 FRANCIE BLVD                                                                     MONTICELLO       KY 42633‐6361
MARTHA HOWARD           4600 S GARRISON CHAPEL RD                                                            BLOOMINGTON      IN 47403‐9763
MARTHA HOWARD           3906 REYNOLDS ST                                                                     FLINT            MI 48532‐5061
MARTHA HUDSON           724 SUMMIT ST APT 1                                                                  DEFIANCE         OH 43512‐3091
MARTHA HUDSON           10175 SPRING MOUNTAIN RD UNIT 1042                                                   LAS VEGAS        NV 89117‐8467

MARTHA HUFF             3336 W COUNTY ROAD 50 N                                                              GREENCASTLE     IN 46135‐7799
MARTHA HUFFORD          2520 COUNTY ROAD 575                                                                 FISK            MO 63940‐7181
MARTHA HULLEN           199 POLK ROAD 133                                                                    MENA            AR 71953‐8404
MARTHA HULS
MARTHA HUMAN            520 ELM                              PO BOX 1016                                     JEFFERSON       OR   97352
MARTHA HUNDLEY          614 N 8TH ST                                                                         MIDDLETOWN      IN   47356‐1029
MARTHA HUNTER           C/O MARCELLA MC DORMAN               975 W 150 S                                     RUSSIAVILLE     IN   46979
MARTHA HUNTER           120 BRIAN CIR                                                                        ANTIOCH         TN   37013‐4340
MARTHA HUSCHKE          5048 E GRAND RIVER RD                ROUTE 2                                         WEBBERVILLE     MI   48892‐9255
MARTHA HYYPIO‐IRWIN     4264 OWEN RD                                                                         FENTON          MI   48430‐9150
MARTHA INGRAM           2903 BETTY ST                                                                        BELLEVUE        NE   68147‐1916
MARTHA IVY              1505 ADELAIDE AVE SE                                                                 WARREN          OH   44484‐4928
MARTHA J ADAMS          9 SOUTH DR                                                                           ANDERSON        IN   46013‐4141
MARTHA J BROWN          956 JENNETTE AVE NW                                                                  GRAND RAPIDS    MI   49504‐4381
MARTHA J COTEREL        121 ZINFANDEL DR                                                                     ENGLEWOOD       OH   45322
MARTHA J FISHER         852 ONEIDA TRAIL                                                                     JAMESTOWN       OH   45335‐1025
MARTHA J LILE           1931 WARTRACE PIKE                                                                   SHELBYVILLE     TN   37160
MARTHA J LOYD           180 TRUSSELL CT LOT O                                                                BOAZ            AL   35957‐6520
MARTHA J MCCOY          110 SHENANDOAH DR.                                                                   FLORENCE        MS   39073‐9712
MARTHA J MITCHELL       6043 BARTHOLOMEW DR                                                                  HONEOYE         NY   14471‐9532
MARTHA J MURRELL        2814 OVERSTREET AVENUE                                                               JACKSON         MS   39213‐7120
MARTHA J OWENS          49 PARK ESTATES DR                                                                   BELLEVILLE      MI   48111‐6156
MARTHA J POWELL         63 FARMERSVILLE PIKE                                                                 GERMANTOWN      OH   45327
MARTHA J POWELL         1153 LINDSEY AVE                                                                     MIAMISBURG      OH   45342
MARTHA J RHODES         15777 COYLE ST                                                                       DETROIT         MI   48227‐2674
MARTHA J SMITH          7725 WOODWARD AVE                                                                    DETROIT         MI   48202‐2819
MARTHA J STEVENS        1955 SPRING GROVE LN                                                                 MIDDLETOWN      OH   45044‐2931
MARTHA J STRICKLAND     47 PINE HAVEN DRIVE                                                                  CARROLLTON      GA   30116‐9446
MARTHA J VAUGHN         1382 DAFLER RD.                                                                      W ALEXANDRIA    OH   45381
MARTHA J WALKER         2123 W SECOND ST                                                                     DAYTON          OH   45417‐2458
MARTHA J WARRICK        2017 SHORT ROAD                                                                      RAYMOND         MS   39154
MARTHA J WILDE‐MILLER   3795 WILDCAT RUN                                                                     LAKELAND        FL   33810
MARTHA J WILSON         103 W MAIN ST BLDG 2                 APT# 2                                          LEROY           NY   14482
MARTHA J WINEGARDNER    11600 WOODLAND HILL DR                                                               CHOCTAW         OK   73020‐8211
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Name                                Address1                        Address2                     Address3   Address4         City                 State Zip
MARTHA J. FARR                      7916 SHELLDALE WAY                                                                       CINCINNATI            OH 45242‐6431
MARTHA JACKSON                      13706 W JUNIPERO DR                                                                      SUN CITY WEST         AZ 85375‐6879
MARTHA JACKSON                      APT 221                         1246 EAST WALTON BOULEVARD                               PONTIAC               MI 48340‐1581
MARTHA JACKSON                      323 HOLFORD ST                                                                           RIVER ROUGE           MI 48218‐1127
MARTHA JAKUBOWSKI                   4665 E STRAWBERRY DR                                                                     GILBERT               AZ 85298‐8342
MARTHA JANE HIGH                    852 STUMPF HILL DR                                                                       LANCASTER             PA 17601
MARTHA JANE RUSSELL                 3034 ROCK RD                                                                             SHELBY                OH 44875‐9010
MARTHA JANE THIELTGES               1850 DRY GULCH DR                                                                        HELENA                MT 59601
MARTHA JARRARD                      354 HARRISON CIR                                                                         HIAWASSEE             GA 30546‐3918
MARTHA JEAN MEVERDEN                8 MONTGOMERY AVE                                                                         SYCACAUGA             AL 35150
MARTHA JENSEN                       8825 IROQUOIS RD                                                                         SAINT HELEN           MI 48656‐9746
MARTHA JERROLDS                     1388 ALCONA DR                                                                           BURTON                MI 48509‐2002
MARTHA JETT                         4252 RISING SUN AVE                                                                      KINGMAN               AZ 86401‐7327
MARTHA JOHNSON                      14 SUMMERFIELD DR                                                                        ARCANUM               OH 45304‐1498
MARTHA JOHNSON                      4328 RUTGERS DR                                                                          ANDERSON              IN 46013‐4439
MARTHA JONES                        810 W ROCHESTER AVE                                                                      MIDDLESBORO           KY 40965‐1439
MARTHA JONES                        324 MARTIN RD                                                                            HAMLIN                NY 14464‐9738
MARTHA JONES                        2765 WENTWORTH AVE              APT 519                                                  DAYTON                OH 45406
MARTHA K BLADE                      154 DEER HUNTERS LN                                                                      PROSPECT              TN 38477‐7526
MARTHA K BOLEN                      860 CYNTHIA CT                                                                           NILES                 OH 44446‐2716
MARTHA K BURGER                     816 KNOX AVE NW                                                                          WARREN                OH 44483‐2133
MARTHA K CHRISTIAN                  281 ROYAL OAKS DRIVE                                                                     FAIRBORN              OH 45324
MARTHA K MCKAY                      432 MERTLAND AVE                                                                         DAYTON                OH 45431‐1831
MARTHA K MORRISON                   4534 N FAIRGREEN AVE                                                                     DAYTON                OH 45416
MARTHA K YEUGER & ANNIE L SHUSTER   3801 MCCAIN PARK DR B                                                                    NORTH LITTLE ROCK     AR 72116
MARTHA KAUFMAN                      5609 PATRIOT AVE                                                                         ORIENT                OH 43146‐9323
MARTHA KEGARISE                     1187 LEDGEVIEW RD                                                                        MACEDONIA             OH 44056‐1315
MARTHA KEISER                       10627 BISSONETTE DR                                                                      OSCODA                MI 48750‐2312
MARTHA KELCHNER                     100 PRINCETON AVENUE                                                                     ALPENA                MI 49707‐1232
MARTHA KELLEY                       1324 DELAWARE AVE                                                                        YPSILANTI             MI 48198‐3122
MARTHA KELLEY                       1720 W 10TH ST                                                                           ANDERSON              IN 46016‐2709
MARTHA KENNEDY                      13753 CORNISHCREST RD                                                                    WHITTIER              CA 90605‐3343
MARTHA KENT                         344 VINEWOOD DR N                                                                        BROWNSBURG            IN 46112‐2040
MARTHA KERSHNER                     RR 1 BOX 181                                                                             AMSTERDAM             MO 64723‐8301
MARTHA KETTRON                      1143 CHARLESTON COMMONS DR                                                               ANDERSON              IN 46012‐4500
MARTHA KEY                          5770 W WHITELAND RD                                                                      BARGERSVILLE          IN 46106‐9084
MARTHA KEYSER                       PO BOX 1711                                                                              VASSAR                MI 48768‐0711
MARTHA KIDWELL                      8530 BIG BEND RD                                                                         MARTINSVILLE          IN 46151‐9205
MARTHA KILLARNEY                    PO BOX 44                                                                                JOHANNESBURG          MI 49751‐0044
MARTHA KILPATRICK                   104 MARSHALL AVE                                                                         FITZGERALD            GA 31750‐8505
MARTHA KINDELL                      2022 CASTLE LN                                                                           FLINT                 MI 48504‐2063
MARTHA KINER                        6452 BRIDLE LN                                                                           HIGHLAND              MI 48356‐1200
MARTHA KIRBY                        PO BOX 354                                                                               HUNTINGDON            TN 38344‐0354
MARTHA KIRK                         RR 7 BOX 321C                                                                            CHARLESTON            WV 25309‐9514
MARTHA KIRTOS                       5040 WINTHROP DR                                                                         YOUNGSTOWN            OH 44515‐3851
MARTHA KLYCE                        2487 LOTHROP ST                                                                          DETROIT               MI 48206‐2550
MARTHA KNEUVEN                      507 EAST 4TH STREET                                                                      BLUE RAPIDS           KS 66411‐1557
MARTHA KOBLOSH                      747 NORTH BROADWY 1C                                                                     HASTINGS ON HUDSON    NY 10706
MARTHA KOELLING                     110 ANCHOR DR                                                                            LAKE TAPAWINGO        MO 64015‐9651
MARTHA KOLAETIS                     38 GLORIA ST                                                                             CLARK                 NJ 07066‐2547
MARTHA KOLB                         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.           OH 44236
MARTHA KOPEC                        398 BELVEDERE AVE NE                                                                     WARREN                OH 44483‐5443
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Name                 Address1                           Address2            Address3    Address4         City             State Zip
MARTHA KOPLIN IRA    MARTHA KOPLIN                      1100 ALTA LOMA RD   #1401                        WEST HOLLYWOOD    CA 90069
MARTHA KOSEGI        PO BOX 649                                                                          ARLINGTON         OH 45814‐0649
MARTHA KOSTER        3832 14TH ST                                                                        WAYLAND           MI 49348‐9557
MARTHA KOVACS        16318 SUNSET WAY                                                                    LINDEN            MI 48451‐9640
MARTHA KOWALSKI      1201 29TH ST                                                                        BAY CITY          MI 48708‐7948
MARTHA KOWALSKI      110 FERNDALE AVE                                                                    KENMORE           NY 14217‐1045
MARTHA KOZACZKA      105 LAUREL RD                                                                       DAISYTOWN         PA 15427‐1053
MARTHA KRAJCI        19355 MANCHESTER DR                                                                 MOKENA             IL 60448‐7812
MARTHA KRICK         150 MIDDLE ST                                                                       LAKE MARY         FL 32746‐3406
MARTHA KROCHMAL      7258 EMERSON DR                                                                     CANTON            MI 48187‐2402
MARTHA KURELA        145 QUAIL RUN                                                                       HARPER            TX 78631‐9368
MARTHA KUSZA         36024 ANN ARBOR TR #310                                                             LIVONIA           MI 48150
MARTHA L ADAMS       1218 IMPERIAL BLVD                                                                  KETTERING         OH 45419‐2436
MARTHA L ANDERSON    376 CR 360                                                                          COILA             MS 38923
MARTHA L BROOKER     20975 GEORGE HUNT CIR #605                                                          WAUKESHA          WI 53186‐2008
MARTHA L BROWN       2225 FAIRVIEW ROAD                                                                  GADSDEN           AL 35904
MARTHA L BYNUM       1016 CHESTNUT ST                                                                    GADSDEN           AL 35901‐3918
MARTHA L ERWIN       7731 DOWNEY LN                                                                      TROTWOOD          OH 45426
MARTHA L GOANS       231 PARKDALE AVE                                                                    PONTIAC           MI 48340‐2555
MARTHA L GRAHAM      1560 BETHEL NEW RICHMOND RD                                                         NEW RICHMOND      OH 45157‐9506
MARTHA L GRIFFIN     46 SOUTH MONMOUTH STREET                                                            DAYTON            OH 45403‐2126
MARTHA L HOCH        9681 BAYVIEW DR APT 215                                                             YPSILANTI         MI 48197‐7026
MARTHA L MATHENEY    722 RESIDENZ PKWY                                                                   KETTERING         OH 45429‐6201
MARTHA L NORRIS      2743 CADILLAC STREET                                                                DAYTON            OH 45439‐1604
MARTHA L OSBORNE     9932 WEST THIRD ST                                                                  DAYTON            OH 45427‐1133
MARTHA L PASSAGE     9524 STOUT ST                                                                       DETROIT           MI 48228‐1524
MARTHA L WHITE       1118 WISCONSIN BLVD                                                                 DAYTON            OH 45408‐1945
MARTHA LACEY         7609 SAN DIEGO AVE                                                                  SAINT LOUIS       MO 63121‐2122
MARTHA LAFFERTY      2493 TANDY DR                                                                       FLINT             MI 48532‐4961
MARTHA LAMB          12036 PENROD ST                                                                     DETROIT           MI 48228‐1147
MARTHA LAMBERT       7160 S 400 E                                                                        MARKLEVILLE       IN 46056‐9752
MARTHA LAMBERT       PO BOX 97                                                                           WILLIAMSBURG      MI 49690‐0097
MARTHA LANDERS       70 HEIGHTS HOLLOW ST.                                                               ACWORTH           GA 30101
MARTHA LANGENHORST   1448 CARDINGTON RD                                                                  DAYTON            OH 45409‐1743
MARTHA LANGWELL      114 RED POND RD                                                                     BOWLING GREEN     KY 42103‐8591
MARTHA LANTZ         2409 GREYTWIG DR                                                                    KOKOMO            IN 46902‐4520
MARTHA LAPIERRE      117 N ROBY DR                                                                       ANDERSON          IN 46012‐3244
MARTHA LAPORTE       4621 CEDAR MILL RD                                                                  CHOCTAW           OK 73020‐3108
MARTHA LASLO         441 REED ST                                                                         SHARON            PA 16146‐2398
MARTHA LASTER        1951 MILLS RD                                                                       PRESCOTT          MI 48756‐9344
MARTHA LEAMING       4316 PENNLYN AVE 1                                                                  DAYTON            OH 45429
MARTHA LEE           PO BOX 584                                                                          KALKASKA          MI 49646‐0584
MARTHA LEE           4200 HORIZON NORTH PKWY APT 1124                                                    DALLAS            TX 75287‐2819
MARTHA LEFFLER       3091 BOWEN RD                                                                       ELMA              NY 14059‐9422
MARTHA LEGG          1426 SW 24TH ST                                                                     MOORE             OK 73170‐7497
MARTHA LEITER        312 HOME RD S                                                                       MANSFIELD         OH 44906‐2734
MARTHA LEPPANEN      1384 STATE HIGHWAY M28 E                                                            MARQUETTE         MI 49855‐9328
MARTHA LEY           3485 CUTLER DR                                                                      WATERFORD         MI 48329‐3226
MARTHA LINDSAY       282 ELMWOOD DR                                                                      MANSFIELD         OH 44906‐2508
MARTHA LINDSAY       PO BOX 1275                                                                         PALM SPRINGS      CA 92263‐1275
MARTHA LINDSEY       3301 DEARBORN AVE                                                                   FLINT             MI 48507‐1868
MARTHA LINK          4919 ARBOR WAY                                                                      SYLVANIA          OH 43560‐2605
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Name                            Address1                       Address2                    Address3         Address4         City            State Zip
MARTHA LINVILLE                 PO BOX 102                                                                                   AUGUSTA          KY 41002‐0102
MARTHA LIPPS                    318 N D ST                                                                                   HAMILTON         OH 45013‐3116
MARTHA LITTLE                   5735 E 400 S                                                                                 KOKOMO           IN 46902‐9219
MARTHA LIXEY                    292 SMITH ST APT 107                                                                         CLIO             MI 48420‐1388
MARTHA LOCKHART                 839 CATHAY ST                                                                                SAGINAW          MI 48601‐1320
MARTHA LOGAN                    9115 W TULIP TREE DR                                                                         MUNCIE           IN 47304‐8937
MARTHA LONG                     710 JEFFERSON ST                                                                             MOUNT MORRIS     MI 48458‐3209
MARTHA LOPEZ                    2507 E MAPLE GROVE AVE                                                                       FORT WAYNE       IN 46806‐3435
MARTHA LOPEZ                    50 E COLUMBIA AVE                                                                            PONTIAC          MI 48340‐2710
MARTHA LOU BOSWELL REV LIV TR   C/O MARTHA L BOSWELL           5498 BENEVA WOODS WAY                                         SARASOTA         FL 34233‐4127
MARTHA LOUNDER                  210 BETHS AVE                                                                                BRISTOL          CT 06010‐4837
MARTHA LOUTH                    6214 S HOLLISTER RD                                                                          OVID             MI 48866‐9605
MARTHA LOVETT                   PO BOX 5430                                                                                  FLINT            MI 48505‐0430
MARTHA LOWERY                   105 COUNTY ROAD 506                                                                          LAKE CITY        AR 72437‐9049
MARTHA LUCAS                    305 BAYOU OAKS DR                                                                            MONROE           LA 71203‐3305
MARTHA LUDTKE                   627 ELTON HILLS DR NW                                                                        ROCHESTER        MN 55901‐2405
MARTHA LUNA                     1256 CRYSTAL POINTE CIR                                                                      FENTON           MI 48430‐1695
MARTHA LUPER                    708 32ND ST W                                                                                BRADENTON        FL 34205‐3332
MARTHA LYLE                     PO BOX 405                                                                                   SMITHVILLE       MO 64089‐0405
MARTHA LYON                     18543 COMMON RD                                                                              ROSEVILLE        MI 48066‐2173
MARTHA LYONS                    85 GOODRIDGE DR                                                                              FLORENCE         KY 41042‐2130
MARTHA LYTH                     2101 E1 DOMINGO CIRCLE                                                                       LANCASTER        CA 93536
MARTHA M BRUCKNER TRUST         RI BRUCKNER TRUSTEE            DTD 6‐11‐92                 2160 ARCADE ST                    MAPLEWOOD        MN 55109‐2572
MARTHA M COBB                   232 BAYVIEW DRIVE                                                                            CORTLAND         OH 44410
MARTHA M COOPER                 3500 W ISLAND RD                                                                             SAINT JOHNS      MI 48879‐9422
MARTHA M HANNAH                 4830 DAWNWOOD DR                                                                             DAYTON           OH 45415‐1301
MARTHA M HARRELSON              C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                     HOUSTON          TX 77007
                                BOUNDAS L L P
MARTHA M HILDRETH               30 BUTTERFLY WAY                                                                             COVINGTON       GA   30016
MARTHA M KELLEY                 1720 W 10TH ST                                                                               ANDERSON        IN   46016‐2709
MARTHA M LOHR                   55 OLD ANTLERS WAY                                                                           BUFFALO         WY   82834
MARTHA M MEADE                  PO BOX 446                                                                                   WALESKA         GA   30183‐0446
MARTHA M MOISAN                 40340 LADENE LN                                                                              NOVI            MI   48375‐5326
MARTHA M THOMAS                 8457 SCHOOLGATE DR.                                                                          HUBER HEIGHTS   OH   45424‐1170
MARTHA M UELTSCHEY              2145 SHEFFIELD DRIVE                                                                         JACKSON         MS   39211
MARTHA M WALKER                 211 E MOLLOY RD APT 211                                                                      SYRACUSE        NY   13211‐1675
MARTHA M WENDLING               1009 ROMANUS DRIVE                                                                           VANDALIA        OH   45377‐1143
MARTHA M WILLIAMS               916 NORTH LIVINGSTON ROAD                                                                    RIDGELAND       MS   39157
MARTHA M. SCHMITT               1610 SQUAW CREEK DR                                                                          GIRARD          OH   44420‐3636
MARTHA MACK                     789 BEULAH CHURCH RD                                                                         APOLLO          PA   15613‐8933
MARTHA MACK                     354 MELROSE LN                                                                               GREENWOOD       IN   46142‐9238
MARTHA MACKEY                   212 FRENCH ST                                                                                BUFFALO         NY   14211‐1541
MARTHA MADLENER                 120 TALL TREES DR                                                                            AMELIA          OH   45102‐2186
MARTHA MAGILL‐ BIXLER           84 PRENTICE ST                                                                               LOCKPORT        NY   14094‐2122
MARTHA MAGOUIRK                 RTE BOX 327 # 1                                                                              PELHAM          TN   37366
MARTHA MAGUIRE                  921 N LYNN ST                                                                                INDEPENDENCE    MO   64050‐2901
MARTHA MAILAND                  524 CLEMENT RD                                                                               LANSING         MI   48917‐3647
MARTHA MALCOLM                  859 JIM DAWS RD                                                                              MONROE          GA   30656‐4863
MARTHA MALONE                   5069 BEWICK ST                                                                               DETROIT         MI   48213‐3315
MARTHA MANKIN                   19151 SE 15TH ST                                                                             HARRAH          OK   73045‐6377
MARTHA MANN                     123 E CIRCLE DR                                                                              NEW CASTLE      IN   47362‐9200
MARTHA MANN                     1565 SILVERSMITH PL                                                                          ORLANDO         FL   32818
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Name                                Address1                              Address2              Address3   Address4             City               State Zip
MARTHA MANNING                      9855 E IRVINGTON RD UNIT 86                                                                 TUCSON              AZ 85730‐5227
MARTHA MARDEUSZ                     4663 N CAMPBELL ST                                                                          DETROIT             MI 48210‐2522
MARTHA MARIAN                       1012 RABBIT EAR PASS                                                                        VICTOR              NY 14564‐9187
MARTHA MARKETTI                     10 BETH STACEY BLVD 106‐B             STONE EDGE                                            LEHIGH ACRES        FL 33936
MARTHA MARMOLEJO                    8903 NE 106TH PL                                                                            KANSAS CITY         MO 64157‐9757
MARTHA MARQUETTE, PERSONAL          C/O BRAYTON PURCELL                   222 RUSH LANDING RD                                   NOVATO              CA 94948‐6169
REPRESENTATIVE FOR JOHN W HEITMAN

MARTHA MARSHALL                     39123 BUCKINGHAM DR                                                                         ROMULUS            MI   48174‐6325
MARTHA MARTICH                      22951 MOSIER RD                                                                             SEDRO WOOLLEY      WA   98284‐7834
MARTHA MARTIN                       6938 HIGHWAY 557                                                                            WEST MONROE        LA   71292‐0337
MARTHA MARTIN                       70 MARKEY ST                                                                                BELLVILLE          OH   44813‐1044
MARTHA MARTIN                       2920 OLD TROY PIKE APT 126                                                                  DAYTON             OH   45404‐2374
MARTHA MATCHETT                     4386 W 1725 N                                                                               ELWOOD             IN   46036‐9296
MARTHA MATHENEY                     722 RESIDENZ PARKWAY                                                                        DAYTON             OH   45429‐6201
MARTHA MATLOCK                      219 E WALNUT ST                                                                             GREENTOWN          IN   46936‐1523
MARTHA MATTOS                       5236 40TH AVE SW                      C/O MR & MRS FOY                                      SEATTLE            WA   98136‐1219
MARTHA MAULE                        1170 KNOLLWOOD DRIVE                                                                        SAINT HELEN        MI   48656‐9534
MARTHA MAXEY                        308 WALTERS ST                                                                              MARTIN             TN   38237‐1524
MARTHA MAXWELL                      3715 WARRENSVILLE CENTER RD APT 330                                                         SHAKER HEIGHTS     OH   44122‐6369

MARTHA MAXWELL                      151 N LOCUST ST APT 513                                                                     INGLEWOOD          CA   90301‐5840
MARTHA MAYS                         4106 BLACKBERRY CRK                                                                         BURTON             MI   48519‐1939
MARTHA MC CROSKEY                   188 N SARWIL DR                                                                             CANAL WINCHESTER   OH   43110‐2013
MARTHA MC DUFFY                     15770 BELLAIRE BLVD APT 2006                                                                HOUSTON            TX   77083‐3009
MARTHA MC NEELY                     16300 E PACIFIC AVE                                                                         INDEPENDENCE       MO   64050‐4844
MARTHA MCBRAYER                     3408 RUCKLE ST                                                                              SAGINAW            MI   48601‐2456
MARTHA MCCOMAS                      48432 PANCAKE CLARKSON RD                                                                   ROGERS             OH   44455‐9724
MARTHA MCCONNELL                    23680 LAURA LEIGH LN                                                                        ATHENS             AL   35613‐6046
MARTHA MCCORD                       4707 SOUTHVIEW DR                                                                           ANDERSON           IN   46013‐4758
MARTHA MCCORD                       1846 HUNTERS COVE CIR                                                                       KOKOMO             IN   46902‐5181
MARTHA MCCOY                        110 SHENANDOAH DR                                                                           FLORENCE           MS   39073‐9712
MARTHA MCEOWEN                      8713 OXBO RD                                                                                CASTALIA           OH   44824‐9705
MARTHA MCFOLLINS                    2430 WATERFALL LN                                                                           COLUMBUS           OH   43209‐3317
MARTHA MCGRAW                       3586 W EDMONDS RD                                                                           LAKE CITY          MI   49651‐8300
MARTHA MCGRIFF                      2290 SHAWNEE TRL                      C/O JANE L MCGRIFF                                    OKEMOS             MI   48864‐2528
MARTHA MCGUIRE                      7616 DREW AVE                                                                               BURR RIDGE         IL   60527‐6918
MARTHA MCKAY                        432 MERTLAND AVE                                                                            DAYTON             OH   45431‐1831
MARTHA MCKINNEY                     16189 COYLE ST                                                                              DETROIT            MI   48235‐3849
MARTHA MCLAUGHLIN                   2804 VILLAGE CT                                                                             VERMILION          OH   44089‐9170
MARTHA MCNEELY                      4733 CROWS NEST CT                                                                          BRIGHTON           MI   48114‐9099
MARTHA MCQUEEN                      439 S MAIN ST                                                                               MIAMISBURG         OH   45342‐3101
MARTHA MCVEIGH                      3004 N MONROE ST                                                                            WILMINGTON         DE   19802‐3014
MARTHA MEADE                        PO BOX 446                                                                                  WALESKA            GA   30183‐0446
MARTHA MEIKLE                       3441 BENTWILLOW LA.                                                                         AUSTINTOWN         OH   44511
MARTHA MELEBECK                     3427 RADFORD DR                                                                             LANSING            MI   48911‐4400
MARTHA MENNINGHAUS                  GUTENBERGSTR 2C                                                        D 32756 DETMOLD,
                                                                                                           GERMANY
MARTHA MENNINGHAUS                  GUTENBERGSTR. 2C                      D 32756 DETMOLD
MARTHA MERSINO                      5170 EAGLE LAKE DR                                                                          WATERFORD          MI 48329‐1721
MARTHA METIVA                       509 SHEPARD ST                                                                              SAGINAW            MI 48604‐1231
MARTHA MEYER                        1700 WEST BENDER RD                                                                         GLENDALE           WI 53209
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Name                 Address1                          Address2         Address3         Address4         City             State Zip
MARTHA MICHAELS      125 WOODVINE STREET                                                                  JACKSBORO         TN 37757‐2326
MARTHA MIDYETT       4601 BUCKNER LN                                                                      PADUCAH           KY 42001‐6562
MARTHA MIKEL         794 DEER LAKE TRL                                                                    STONE MTN         GA 30087‐5463
MARTHA MILAN         493 UNION ST S                                                                       CONCORD           NC 28025‐5558
MARTHA MILANOVICH    PO BOX 461                                                                           CROSSNORE         NC 28616‐0461
MARTHA MILLER        74 HILLIARD ROME RD                                                                  COLUMBUS          OH 43228‐1123
MARTHA MILLER        575 BUENA VISTA RD                                                                   SOUTH VIENNA      OH 45369‐8765
MARTHA MILLIGAN      516 CRESTHAVEN DR                                                                    INDIANAPOLIS      IN 45217‐3280
MARTHA MINIATI       10321 ORANGE GROVE DRIVE                                                             TAMPA             FL 33618
MARTHA MINKO         8360 MENGE                                                                           CENTER LINE       MI 48015‐1619
MARTHA MINNICK       157 N 8TH ST                                                                         MIDDLETOWN        IN 47356‐1305
MARTHA MINO          6348 LANCASTER DR                                                                    SPRING HILL       TN 37174‐2435
MARTHA MITCHELL      6043 BARTHOLOMEW DR                                                                  HONEOYE           NY 14471‐9532
MARTHA MITCHELL      1140 BIKINI DR                                                                       LIMA              OH 45801‐2413
MARTHA MITCHELL      3559 SALEM RD LOT G10                                                                COVINGTON         GA 30016‐7221
MARTHA MITCHNER      9731 COMMERCE CENTER CT APT 425                                                      FORT MYERS        FL 33908‐1406
MARTHA MOHLER        3770 MESERTA LN                                                                      FLORISSANT        MO 63033‐2819
MARTHA MOISAN        40340 LADENE LN                                                                      NOVI              MI 48375‐5326
MARTHA MOK           18018 BREEZEWAY                                                                      FRASER            MI 48026‐2485
MARTHA MONGOLD       19735 MARIGOLD DR                                                                    HAGERSTOWN        MD 21742‐5513
MARTHA MONROE        6511 DUPONT ST                                                                       FLINT             MI 48505‐2068
MARTHA MOORE         3269 W LAKE RD                                                                       CLIO              MI 48420‐8819
MARTHA MOORE         4319 TRUMBULL DR                                                                     FLINT             MI 48504‐3756
MARTHA MOORE         738 MADISON ST                                                                       WAUKESHA          WI 53188‐3540
MARTHA MOORE         35116 CARLBRO ST                                                                     CLINTON TWP       MI 48035‐3121
MARTHA MOORE         412 MARTINGALE DR                                                                    FRANKLIN          TN 37067‐5016
MARTHA MOORE         2815 NORTHWIND DR                                                                    EAST LANSING      MI 48823‐5003
MARTHA MOORE         5604 MISSION RD                                                                      CONESUS           NY 14435‐9523
MARTHA MOREY         3494 WILLIAMSON RD                                                                   SAGINAW           MI 48601‐5663
MARTHA MORGAN        1603 CANCUN DR                                                                       MANSFIELD         TX 76063‐5994
MARTHA MORGANSTERN   9375 BRICKYARD RD. LOT 61                                                            SEAFORD           DE 19973
MARTHA MORRIS        1221 S CENTRAL AVE                                                                   LIMA              OH 45804‐2031
MARTHA MORRISON      3252 N. OFFUTT BRIDGE RD.                                                            RUSHVILLE         IN 46173
MARTHA MORRISON      2399 HOSMER RD                                                                       APPLETON          NY 14008‐9623
MARTHA MORRISSEY     4637 144TH PL SE                                                                     BELLEVUE          WA 98006‐3156
MARTHA MOSS          112 NE BEECH ST                                                                      PORTLAND          OR 97212‐2004
MARTHA MULLANEY      13890 HAROLD AVE                                                                     WARREN            MI 48089‐3673
MARTHA M▄LLER        HAUPTSTR. 5
MARTHA MURPHY        2717 S LAFOUNTAIN ST                                                                 KOKOMO           IN   46902‐3705
MARTHA MURRAY        3484 POTTERSVILLE RD                                                                 SPENCER          IN   47460‐5136
MARTHA MUSE          572 CLARK RD                                                                         SPENCER          IN   47460‐7015
MARTHA N COLE        PO BOX 385                                                                           KINSMAN          OH   44428
MARTHA N SMITH       742 SEWARD ST                                                                        DETROIT          MI   48202‐2427
MARTHA NADEAU        375 SMITH RD                                                                         THOMASTON        CT   06787‐1236
MARTHA NADZON        2355 MONTGOMERY ST                                                                   BETHLEHEM        PA   18017‐4851
MARTHA NALEPA        60 EMERSON RD                                                                        CLARK            NJ   07066‐1639
MARTHA NEAL          3705 FOLEY GLEN CIR                                                                  FENTON           MI   48430‐3433
MARTHA NEFF          7344 JAMAICA RD                                                                      MIAMISBURG       OH   45342‐2108
MARTHA NELSON        2100 CROWSNEST DR                                                                    PALM HARBOR      FL   34685‐1503
MARTHA NEWBERRY      PO BOX 1726                                                                          CUMMING          GA   30028‐1726
MARTHA NEWBROUGH     25 BUCHANAN CT                                                                       FREDERICKSBURG   VA   22406‐8403
MARTHA NEWCOMB       2586 W 600 S                                                                         ANDERSON         IN   46013‐9652
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Name                  Address1                          Address2             Address3        Address4         City              State Zip
MARTHA NEWELL         570 W DEPOT ST                                                                          PERRYSVILLE        IN 47974‐8106
MARTHA NEWSOM         2244 E MCLEAN AVE                                                                       BURTON             MI 48529‐1742
MARTHA NEWTH          9750 BOYER RD                                                                           CHARLOTTE          MI 48813‐8633
MARTHA NIEDZIELSKI    7406 HEIDE HILL TRCE                                                                    TALLAHASSEE        FL 32312‐5207
MARTHA NOLAND         7316 N STATE ROUTE 9                                                                    PARKVILLE          MO 64152‐2972
MARTHA NORDQUIST      8021 BRIDGE LAKE RD                                                                     CLARKSTON          MI 48348‐4146
MARTHA NOTTINGHAM     2622 WINDEMERE AVE                                                                      FLINT              MI 48503‐2297
MARTHA O IVY          1505 ADELAIDE S.E.                                                                      WARREN             OH 44484‐4928
MARTHA O NEIL         901 HURON ST                                                                            FLINT              MI 48507‐2554
MARTHA O'LEARY        BOX682 CENTER SOUTH RD                                                                  LEAVITTSBURG       OH 44430
MARTHA OATLEY         1112 S OHIO ST                                                                          KOKOMO             IN 46902‐1866
MARTHA OLESKY         766 HIGH ST                                                                             CALIFORNIA         PA 15419‐1426
MARTHA OLIVA          13010 SW 52ND ST                                                                        MIAMI              FL 33175‐5324
MARTHA ORKISZ         3506 OAK BEND DR                                                                        ARLINGTON          TX 76016‐3100
MARTHA ORR            2918 SILVERCLIFF DR                                                                     DAYTON             OH 45449‐3367
MARTHA OSTROWSKI      44940 TYLER RD                                                                          BELLEVILLE         MI 48111‐1359
MARTHA OUTEN          3442 S CENTER RD                                                                        BURTON             MI 48519‐1456
MARTHA OVERMAN        11213 N 200 E                                                                           ALEXANDRIA         IN 46001‐9052
MARTHA OVERSTREET     2902 VINEYARD DR                                                                        ARLINGTON          TX 76015‐2027
MARTHA OVERWEG        500 PARKSIDE DR APT 113                                                                 ZEELAND            MI 49464‐2052
MARTHA OWENS          916 W 1ST ST                                                                            ANDERSON           IN 46016‐2304
MARTHA P CASTOR       40 ROSEBAY LANE                                                                         CLAYTON            NC 27527
MARTHA P DECAPITE     1250 SALTSPRINGS RD. S.W.                                                               LORDSTOWN          OH 44481‐8624
MARTHA P GRAHAM       2188 W. STROOP RD.                                                                      DAYTON             OH 45439‐2518
MARTHA P STEVENS      3234 WINTERSET DR                                                                       DAYTON             OH 45440‐3630
MARTHA PACIOREK       295 CANTON ST                                                                           TONAWANDA          NY 14150‐5407
MARTHA PADDIE         716 RICHARDSON RD                                                                       STONEWALL          LA 71078‐8217
MARTHA PAGE           18 E FAIRMOUNT AVE                                                                      PONTIAC            MI 48340‐2726
MARTHA PAINTER        3566 EDMONTON TRL                                                                       WAYLAND            MI 49348‐1444
MARTHA PALLAY         418 N OSBORN AVE                                                                        YOUNGSTOWN         OH 44509‐1849
MARTHA PANKO          1611 GREEN BAY ST                                                                       LA CROSSE          WI 54601‐6572
MARTHA PARE           2651 QUEEN ST                                                                           DEARBORN           MI 48124‐3345
MARTHA PARKS          2971 THE MEADOWS WAY                                                                    COLLEGE PARK       GA 30349‐3749
MARTHA PARRISH        14075 WEST 141ST TERRACE                                                                OLATHE             KS 66062‐5869
MARTHA PASSAGE        9524 STOUT ST                                                                           DETROIT            MI 48228‐1524
MARTHA PATERNOSTER    30 AVANTI DR                                                                            ROCHESTER          NY 14606‐5839
MARTHA PATRICK        843 MAXWELTON LN                                                                        CENTERVILLE        OH 45459‐2966
MARTHA PATRICK        PO BOX 204                                                                              BUFORD             GA 30515‐0204
MARTHA PATTERSON      1044 NAST CHAPEL RD                                                                     MARTINSVILLE       IN 46151‐9046
MARTHA PATTERSON      PO BOX 2517                                                                             YOUNGSTOWN         OH 44507‐0517
MARTHA PAVLICK        9288 BRAKEMAN RD                                                                        CHARDON            OH 44024‐8204
MARTHA PAYDON         1170 NATURE RUN RD                C/O SHARON F. BALL                                    BATAVIA            OH 45103‐1040
MARTHA PEABODY        1100 SAN JOSE DR SE                                                                     GRAND RAPIDS       MI 49506‐3427
MARTHA PERRY FARRIS   UNIT 1701                         890 MACLAND ROAD                                      DALLAS             GA 30132‐5786
MARTHA PETERS         9100 E 43RD TER                                                                         KANSAS CITY        MO 64133‐1438
MARTHA PETTY          1808 N COUNTY ROAD 900 E                                                                AVON               IN 46123‐5369
MARTHA PETTY
MARTHA PHELPS         4216 STATE ROUTE 503 S                                                                  WEST ALEXANDRIA   OH   45381‐8313
MARTHA PHILLIPS       2620 WALTER ST                                                                          FLINT             MI   48504‐2737
MARTHA PHIPPS         1305 BALD EAGLE LAKE RD                                                                 ORTONVILLE        MI   48462‐9096
MARTHA PICKETT        1806 S INDIANA AVE                                                                      KOKOMO            IN   46902‐2060
MARTHA PIERSON        111 LARKSPUR LN                                                                         MICHIGAN CITY     IN   46360‐7808
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Name                Address1                              Address2                     Address3   Address4         City             State Zip
MARTHA PILGER       PO BOX 279                                                                                     NEW BAVARIA       OH 43548‐0279
MARTHA PILSON       498 BRICH WAY                                                                                  NEW KENSINGTN     PA 15068‐5038
MARTHA PITTMAN      186 CHURCH ST                                                                                  JONESBORO         GA 30236‐3578
MARTHA PITTMAN      850 WILKINSON TRCE APT 11                                                                      BOWLING GREEN     KY 42103‐2489
MARTHA POLK         PO BOX 274                                                                                     STRAWN            TX 76475‐0274
MARTHA PONELEIT     25528 CHAMPAIGN ST                                                                             TAYLOR            MI 48180‐2059
MARTHA PORTER       BEVAN & ASSOCIATES LPA INC            6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS        OH 44236
MARTHA POWELL       63 FARMERSVILLE PIKE                                                                           GERMANTOWN        OH 45327‐1026
MARTHA POWELL       2421 2ND AVE NE                                                                                TUSCALOOSA        AL 35406‐1953
MARTHA POWELL       14600 HUBBELL ST                                                                               DETROIT           MI 48227‐4809
MARTHA PRATER       3310 TREWHITT RD SE                                                                            CLEVELAND         TN 37323‐6135
MARTHA PRESLEY      145 FISHERMENS DR                                                                              BEE               VA 24217‐4549
MARTHA PRICHARD     601 S BROADWAY ST                                                                              PENDLETON         IN 46064‐1303
MARTHA PRIDE        C/O BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS        OH 44236
MARTHA PRING        7306 GULF BREEZE CIR                                                                           HUDSON            FL 34667
MARTHA PUCKETT      PO BOX 99                                                                                      TALMO             GA 30575‐0099
MARTHA PUGH         385 BROADUS RD                                                                                 CLEVELAND         GA 30528‐4527
MARTHA PURVIS       924 POLKSVILLE RD                                                                              SALT LICK         KY 40371‐8030
MARTHA PUTMAN       3023 DEBRA CT                                                                                  AUBURN HILLS      MI 48326‐2043
MARTHA PUZDER       4511 CHESTNUT RD                                                                               INDEPENDENCE      OH 44131‐3232
MARTHA QUEFFENNE    1715 COUNTY ROAD 223                                                                           DELTA             AL 36258‐9120
MARTHA R HARRISON   1386 E JULIAH AVE                                                                              FLINT             MI 48505‐1734
MARTHA R NOLEN      6132 DANIELS CREEK RD                                                                          MARTINSVILLE      VA 24112
MARTHA R VISNAW     132 E YOUNG ST                                                                                 CLIO              MI 48420‐1411
MARTHA R WALTERS    730 TIBBALS ST                                                                                 FRANKLIN          OH 45005‐2761
MARTHA R WARSING    401 W SEMINOLE BLVD                   APT 54                                                   SANFORD           FL 32771
MARTHA RALEIGH      331 E HIGH ST                                                                                  OWINGSVILLE       KY 40360‐2101
MARTHA RALSTON      2452 RAINBOW CT                                                                                CINCINNATI        OH 45230‐1423
MARTHA RAMSEY       4749 COULSON DR                                                                                DAYTON            OH 45418‐1972
MARTHA RANDOLPH     PO BOX 614                                                                                     PLEASANT HILL     TN 38578‐0614
MARTHA RASAK        111 FOXPOINTE DR                                                                               SWARTZ CREEK      MI 48473‐8281
MARTHA RAU          420 LELAND ST                                                                                  FLUSHING          MI 48433‐1343
MARTHA RAWLES       3320 DUBOIS ST                        C/O PHILLIP RAWLES                                       WEST LAFAYETTE    IN 47906‐1199
MARTHA RAYMOND      723 WISCONSIN RD                                                                               HOLLISTER         MO 65672‐5249
MARTHA REDDITT      20 DUNVALE RD APT 105                                                                          TOWSON            MD 21204‐2502
MARTHA REEVES       5444 FENWICK AVE APT 8                                                                         NORWOOD           OH 45212‐1108
MARTHA REFFETT      18311 VIA SERENA RD                                                                            SONORA            CA 95370‐8732
MARTHA REINHART     2736 QUEEN RIDGE DR                                                                            INDEPENDENCE      MO 64055‐2263
MARTHA RENNIE       35 WATERBURY DR                                                                                BOSSIER CITY      LA 71111‐8200
MARTHA RENTERIA     6620 AUTUMN WAY                                                                                SOMERSET          CA 95684‐9286
MARTHA REYNOLDS     280 E OXFORD ST                                                                                PONTOTOC          MS 38863‐2205
MARTHA RHODES       15520 MOORES LANDING RD                                                                        LACHINE           MI 49753‐9439
MARTHA RICE         393 S JESSIE ST                                                                                PONTIAC           MI 48341‐3016
MARTHA RICH         APT 1605                              2136 MURPHY DRIVE                                        BEDFORD           TX 76021‐5916
MARTHA RICKARD      832 JACKSON LN                                                                                 MIDDLETOWN        OH 45044‐6149
MARTHA RITTER       280 WALDEN WAY APT 313                                                                         DAYTON            OH 45440‐4403
MARTHA ROBBINS      502 N MILLER DR                                                                                EATON RAPIDS      MI 48827‐2308
MARTHA ROBERSON     2107 PRINCETON PL                                                                              RICHMOND HTS      MO 63117‐2424
MARTHA ROBERTS      2013 MURPHREE RD SE                                                                            DECATUR           AL 35601‐6180
MARTHA ROBICHEAUX   6201 BERT KOUNS INDUSTRIAL LOOP LOT                                                            SHREVEPORT        LA 71129‐5065
                    819
MARTHA ROBINSON     662 ROSS DR                                                                                    DANDRIDGE        TN 37725‐6360
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Name                                Address1                          Address2              Address3     Address4         City                 State Zip
MARTHA ROBINSON                     182 S COUNTY ROAD 550 E APT 124                                                       AVON                  IN 46123‐7058
MARTHA ROGAN                        65 W HENRY PL                                                                         ISELIN                NJ 08830‐1142
MARTHA ROGERS                       1753 DREXEL AVE NW                                                                    WARREN                OH 44485‐2121
MARTHA ROGERS                       3221 WILLIAMSBURG ST NW                                                               WARREN                OH 44485‐2258
MARTHA ROHR                         647 LAKE DEXTER CIR                                                                   WINTER HAVEN          FL 33884‐2215
MARTHA ROMANIUK                     10475 TIMBERHILL RD                                                                   MANCHESTER            MI 48158‐8739
MARTHA RONK                         210 EAST HOWARD STREET                                                                GALVESTON             IN 46932‐5013
MARTHA ROUGHTON                     132 E SAWDUST CORNERS RD                                                              LAPEER                MI 48446‐8675
MARTHA ROWELL                       835 JOHN ST                                                                           DANVILLE               IL 61832‐4104
MARTHA ROY                          402 LAKEWOOD DR                                                                       MONROE                LA 71203‐3320
MARTHA RUCKS                        521 NEVADA AVE                                                                        PONTIAC               MI 48341‐2552
MARTHA RULE PERSONAL                C/O BRAYTON PURCELL               222 RUSH LANDING RD                                 NOVATO                CA 94948‐6169
REPRESENTATIVE FOR GEORGE B RULE
MARTHA RUNYAN                       2194 N 100 E                                                                          KOKOMO                IN   46901‐8595
MARTHA RUNYAN                       2927 N 200 W                                                                          ANDERSON              IN   46011‐9259
MARTHA RUSHNOCK
MARTHA S JILES                      6321 RIVERBEND DR                                                                     DAYTON               OH    45415
MARTHA S PILGER                     PO BOX 279                                                                            NEW BAVARIA          OH    43548‐0279
MARTHA S ROGERS                     3221 WILLIAMSBURG ST NW                                                               WARREN               OH    44485‐2258
MARTHA SAMPSON                      PO BOX 2427                                                                           TRAVERSE CITY        MI    49685‐2427
MARTHA SAVAGE                       3544 WARRINGHAM AVE                                                                   WATERFORD            MI    48329‐1380
MARTHA SCHAWE                       8680 N LITTLE OAK LN                                                                  TUCSON               AZ    85704‐0939
MARTHA SCHMITT                      1610 SQUAW CREEK DR                                                                   GIRARD               OH    44420‐3636
MARTHA SCHRADER                     600 NORMAN WISEMAN RD                                                                 LYNCHBURG            TN    37352‐4836
MARTHA SCHWARZ                      320 S GRANT ST                                                                        PORTLAND             MI    48875‐1568
MARTHA SCHWARZWALDER                21901 AVALON ST                                                                       SAINT CLAIR SHORES   MI    48080‐2337
MARTHA SCOTT                        1506 LAMONT ST                                                                        LANSING              MI    48915‐1528
MARTHA SCROGGINS                    2400 E HIGHLAND AVE                                                                   MUNCIE               IN    47303‐3330
MARTHA SHAFER                       357 SYCAMORE GLEN DR                                                                  MIAMISBURG           OH    45342‐3667
MARTHA SHAFFER‐PLANT                3601 US ROUTE 422                                                                     SOUTHINGTON          OH    44470‐9578
MARTHA SHARP                        PO BOX 368                                                                            WAYNESVILLE          OH    45068‐0368
MARTHA SHARPS                       20230 VERNIER RD                                                                      HARPER WOODS         MI    48225‐1407
MARTHA SHAVER                       6461 TILIA PL UNIT 203                                                                CARLSBAD             CA    92011‐2760
MARTHA SHAW                         13133 WEST STELLA LANE                                                                LITCHFIELD PK        AZ    85340‐4076
MARTHA SHELTON                      102 OXMORE FLINT RD SW                                                                DECATUR              AL    35603‐4802
MARTHA SHERMAN                      2306 CARMEN RD                                                                        BARKER               NY    14012‐9668
MARTHA SHIECK                       7268 NORTHFIELD CIR                                                                   FLUSHING             MI    48433‐9427
MARTHA SHIMKUS                      321 WALLACE CT                                                                        CROWLEY              TX    76036‐3244
MARTHA SHOCKLEY & DONNA K BLAKE &   RT 1 BOX 46                                                                           EQUALITY             AL    36026
CLARE AUDRY DOYLE JTWROS
MARTHA SHORE                        311 REAGAN DR                                                                         LANSING              KS    66043‐1737
MARTHA SHORES                       522 SELKIRK DR                                                                        MOUNT MORRIS         MI    48458‐8919
MARTHA SHYNE                        3602 MODENA ST                                                                        DAYTON               OH    45408‐2120
MARTHA SIMMS                        1217 ETOWAH ST                                                                        BIRMINGHAM           AL    35217‐3416
MARTHA SISSICK                      59 JENSEN RD                                                                          SAYREVILLE           NJ    08872‐1969
MARTHA SKAGGS                       PO BOX 404                        210 EAST 6TH STREET                                 MATTHEWS             IN    46957‐0404
MARTHA SLIAUTER                     586 KENWOOD RD                                                                        FAYETTEVILLE         GA    30214‐3301
MARTHA SLODERBECK                   715 N MORTON ST                                                                       FAIRMOUNT            IN    46928‐1350
MARTHA SMALL                        701 SUNSHINE LN                                                                       SEBRING              FL    33875‐5451
MARTHA SMALLWOOD                    5262 SIOUX DR                                                                         FAIRFIELD            OH    45014‐3345
MARTHA SMILEY                       6 ALDESAN CT                                                                          SAINT PETERS         MO    63376‐2327
MARTHA SMITH                        3639 WIEMAN RD                                                                        BEAVERTON            MI    48612‐8865
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Name                               Address1                         Address2           Address3         Address4                City              State Zip
MARTHA SMITH                       5551 N RAIDER RD                                                                             MIDDLETOWN         IN 47356‐9383
MARTHA SMITH                       368 PROSPECT ST                                                                              PONTIAC            MI 48341‐3246
MARTHA SMITH                       99 PLEASANT WAY                                                                              ANDERSON           IN 46013‐1029
MARTHA SMITH                       375 MAPLEWOOD LN                                                                             PONTIAC            MI 48341‐3176
MARTHA SMITH                       7980 HIGHWAY 100                                                                             WASHINGTON         MO 63090‐5844
MARTHA SMITH                       17311 MARGATE AVE                                                                            LATHRUP VILLAGE    MI 48076‐4617
MARTHA SMOLY                       430 S YORK ST                                                                                DEARBORN           MI 48124‐1458
MARTHA SNYDER                      1530 NORTH ST                                                                                LOGANSPORT         IN 46947‐2825
MARTHA SORRELL                     1507 N BREIEL BLVD                                                                           MIDDLETOWN         OH 45042‐2908
MARTHA SORRELS                     1006 GRAHAM PL                                                                               LIMA               OH 45805‐1630
MARTHA SOSKI                       10008 STATE ROUTE 269                                                                        BELLEVUE           OH 44811‐9688
MARTHA SOWDER                      11394 WOLF CREEK PIKE            PO BOX 142                                                  BROOKVILLE         OH 45309
MARTHA SPAULDING                   1927 OWOSSO AVE                                                                              OWOSSO             MI 48867‐3942
MARTHA SPENCER                     1711 KINGS CT                                                                                KINGS MILLS        OH 45034‐9011
MARTHA STACY                       3630 W CROSS ST                                                                              ANDERSON           IN 46011
MARTHA STAES                       328 MOBILE GARDENS                                                                           ENGLEWOOD          FL 34224
MARTHA STANLEY                     523 HIGHWAY 24 EAST                                                                          MILLEDGEVILLE      GA 31061
MARTHA STARCHER                    57 STRATFORD RD                                                                              PAINESVILLE        OH 44077‐1526
MARTHA STARR                       509 MAPLE LEAF DRIVE                                                                         GREENCASTLE        IN 46135‐7209
MARTHA STEHLE                      14115 COLE RD                                                                                LINDEN             MI 48451‐9647
MARTHA STENGEL                     2320 E TERRACE DR                                                                            BLUFFTON           IN 46714‐9239
MARTHA STEPHENSON                  5124 PREAKNESS CT WILLOWLAC CR                                                               MUNCIE             IN 47304
MARTHA STERLING                    1200 MILLS AVE                                                                               BURLINGAME         CA 94010
MARTHA STEVENS                     3234 WINTERSET DR                                                                            DAYTON             OH 45440‐3630
MARTHA STEVENSON                   2700 ROSEDALE DR                                                                             MONROE             LA 71201‐3067
MARTHA STEWART                     3895 SHIPLEY RD                                                                              COOKEVILLE         TN 38501‐0709
MARTHA STEWART                     2635 TATUM ROAD                                                                              SAGINAW            MI 48601
MARTHA STEWART LIVING OMNIMEDIA,
INC.
MARTHA STEWART LIVING OMNIMEDIA,   ROBIN MARINO                     11 W. 42ND ST.                                              NEW YORK          NY 10036
INC.
MARTHA STIRGWOLT                   643 W CAMBOURNE ST                                                                           FERNDALE          MI   48220‐1261
MARTHA STOCKING                    16879 4TH SECTION RD                                                                         HOLLEY            NY   14470‐9719
MARTHA STOCKINGER                  3458 CLEARWATER DR                                                                           DAVISON           MI   48423‐8719
MARTHA STOJANOVIC                  6577 GALE DR                                                                                 SEVEN HILLS       OH   44131‐3130
MARTHA STOLZ                       PO BOX 75                                                                                    HILTON            NY   14468‐0075
MARTHA STONEBREAKER                13784 GLENRIO DR                                                                             STERLING HTS      MI   48313‐4200
MARTHA STOPCHINSKI                 32305 HAZELWOOD ST                                                                           WESTLAND          MI   48186‐8937
MARTHA STRAKA                      28527 STATE ROUTE 281                                                                        DEFIANCE          OH   43512‐6937
MARTHA STRAUCHMAN                  5329 HIGHLAWN WAY                                                                            BRIGHTON          MI   48114‐9005
MARTHA STREY                       21810 N CANTO LN                                                                             SUN CITY WEST     AZ   85375‐2121
MARTHA STRICKLAND                  47 PINE HAVEN DR                                                                             CARROLLTON        GA   30116‐9446
MARTHA STRONG                      4487 VIRGINIA CT                                                                             SWARTZ CREEK      MI   48473‐1489
MARTHA STRONG                      333 OVERLAND DR                                                                              RICHMOND          KY   40475‐1845
MARTHA STRONG                      3336 BEECHTREE LN                                                                            FALLS CHURCH      VA   22042‐4004
MARTHA STRUBE                      REINHARD STRUBE                  ZUM EBERSBERG 35                    31832 SPRINGE GERMANY
MARTHA STRZALKA                    1381 FORT PARK BLVD                                                                          LINCOLN PARK      MI   48146‐1644
MARTHA STUTZMAN                    10061 NEAMANTHIA TRAIL                                                                       TALLAHASSEE       FL   32312‐9682
MARTHA SUGGS                       2827 FISH POND RD                                                                            GAINESVILLE       GA   30507‐7935
MARTHA SULLIVAN                    803 MIAMI BLVD                                                                               KOKOMO            IN   46902‐5386
MARTHA SUMNER                      1184 FROMAN ST                                                                               GRAND BLANC       MI   48439‐9303
MARTHA SUTLIFF                     1400 STATE ROUTE 96 APT B23                                                                  WATERLOO          NY   13165‐9503
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Name                                 Address1                         Address2                  Address3                Address4         City              State Zip
MARTHA SUTTLES                       6403 BARTON ST                                                                                      DETROIT            MI 48210‐1144
MARTHA SUTTON                        5913 WINTHROP BLVD                                                                                  FLINT              MI 48505‐5150
MARTHA SUTTON JONES TRUST U/W QTIP   WILLIAM RUSSELL JONES JR &       K STUART GREGORY TSTEES   6161 RIVER RD UNIT 47                    RICHMOND           VA 23226‐3334
TRUST
MARTHA SVEHLA                        8222 CYRUS LN                                                                                       SAGAMORE HILLS    OH   44067‐3233
MARTHA SWAFFORD                      1819 N 400 E                                                                                        ANDERSON          IN   46012‐9469
MARTHA SWAN                          185 ARLINGTON DR                                                                                    DIMONDALE         MI   48821‐9780
MARTHA SWANEY                        817 CENTRAL AVE APT A                                                                               TILTON            IL   61833‐7980
MARTHA SWEANY                        8732 SILVER STRAND RD                                                                               LEVERING          MI   49755‐9101
MARTHA SWIFT                         453 1ST ST                                                                                          SUNFIELD          MI   48890‐9022
MARTHA SWINNEY                       26600 BURG RD APT 344                                                                               WARREN            MI   48089‐1054
MARTHA SYKES                         11009 WORDEN ST                                                                                     DETROIT           MI   48224‐4127
MARTHA T DENNY                       1486 DENNY RD.                                                                                      WILMINGTON        OH   45177‐8552
MARTHA T MORGAN                      1603 CANCUN DR                                                                                      MANSFIELD         TX   76063‐5994
MARTHA TACKETT                       169 BEULAH LOWE RD                                                                                  SMITHS GROVE      KY   42171‐9227
MARTHA TALLENT                       880 DORIS DR                                                                                        ARNOLD            MD   21012‐1446
MARTHA TATE                          1024 MADISON AVENUE                                                                                 PLAINFIELD        NJ   07060‐2320
MARTHA TATRO                         706 SW 10TH ST                                                                                      OKEECHOBEE        FL   34974‐5083
MARTHA TAYLOR                        1000 N PLUM ST                                                                                      UNION CITY        IN   47390‐1032
MARTHA TAYLOR                        4703 S PARK RD                                                                                      KOKOMO            IN   46902‐5052
MARTHA TAYLOR                        811 BRETTON RD                                                                                      LANSING           MI   48917‐2000
MARTHA TEMPLE                        2740 US 60 WEST                  RURAL BOX #2740                                                    MOREHEAD          KY   40351
MARTHA TEMPLETON                     620 W RIVER BLVD                                                                                    NEWTON FALLS      OH   44444‐1565
MARTHA TERRELL                       503 BAILEY SCALES RD                                                                                BEDFORD           IN   47421‐9398
MARTHA THOMAS                        PO BOX 125                                                                                          MIDDLESBORO       KY   40965‐0125
MARTHA THOMAS                        8457 SCHOOLGATE DR                                                                                  HUBER HEIGHTS     OH   45424‐1170
MARTHA THOMPSON                      145 DAFFODIL DR                                                                                     HEMPHILL          TX   75948‐9201
MARTHA THOMPSON                      5545 WELLS AVE APT 307                                                                              SAINT LOUIS       MO   63112‐4203
MARTHA THOMPSON                      1198 BISHOP AVE APT 8                                                                               HAMILTON          OH   45015‐2164
MARTHA THOMPSON                      121 PERSIMMON DR                                                                                    OXFORD            MI   48371‐4058
MARTHA THOMPSON                      46651 HEATHER LN                                                                                    CHESTERFIELD      MI   48051‐2887
MARTHA THORNTON                      301 5TH ST                                                                                          JELLICO           TN   37762‐2501
MARTHA THREATT                       1236 WRIGHTS MILL RD                                                                                COMMERCE          GA   30530‐7815
MARTHA TINKLER                       15308 PRICHARD ST                                                                                   LA PUENTE         CA   91744‐3838
MARTHA TOBIN                         420 IRON BRIDGE RD                                                                                  CICERO            IN   46034‐9436
MARTHA TOMAN                         417 CRESTWOOD DR                                                                                    DIMONDALE         MI   48821‐9770
MARTHA TOMASZEWSKI                   6894 WELLER AVE NE                                                                                  ROCKFORD          MI   49341‐9411
MARTHA TOMLINSON                     1601 N MORRISON RD                                                                                  MUNCIE            IN   47304‐5329
MARTHA TOVAR                         1210 SHELBY ST                                                                                      SANDUSKY          OH   44870‐3176
MARTHA TRAFALSKI                     151B BENNETT ROAD                                                                                   BUFFALO           NY   14227‐1460
MARTHA TRICE                         P O BOX 8902                                                                                        WARREN            OH   44484‐0902
MARTHA TRUEX                         3801 N 375 E                                                                                        ANDERSON          IN   46012‐9492
MARTHA TUCKER                        3124 ARIS ST NW                                                                                     WARREN            OH   44485‐1603
MARTHA TURNER                        PO BOX 214113                                                                                       AUBURN HILLS      MI   48321‐4113
MARTHA TURNER                        4757 GARLAND ST                                                                                     DETROIT           MI   48214‐1519
MARTHA TURNER                        5295 MARCIA PL                                                                                      WEST PALM BEACH   FL   33407‐1664
MARTHA TYLER                         224 BRIARCLIFF DR                C/O RITA ERMELING                                                  SAINT CHARLES     MO   63301‐0408
MARTHA U HANCHIN                     5126 CALLA AVE NW                                                                                   WARREN            OH   44483‐1220
MARTHA VALENTINE                     96 FRANK LN                                                                                         BRACEY            VA   23919‐1815
MARTHA VANNOY                        16740 TERREBONNE DR                                                                                 TYLER             TX   75703‐7782
MARTHA VANWAGONER                    27310 WARNER AVE                                                                                    BROOKSVILLE       FL   34602‐7316
MARTHA VANWUFFEN                     8449 CLYDE PARK AVE SW                                                                              BYRON CENTER      MI   49315‐8661
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Name                      Address1                       Address2                      Address3   Address4             City               State Zip
MARTHA VARIEUR            520 AUTUMN LN                                                                                ROSCOMMON           MI 48653‐8151
MARTHA VASQUEZ            117 W STRATHMORE AVE                                                                         PONTIAC             MI 48340‐2775
MARTHA VAUGHN             1610 E 45TH ST                                                                               ANDERSON            IN 46013‐2522
MARTHA VEATCH             1016 HARNEY DR                                                                               LEBANON             IN 46052‐1430
MARTHA VERNON             PO BOX 44386                                                                                 CHICAGO              IL 60644‐0386
MARTHA VISNAW             132 E YOUNG ST                                                                               CLIO                MI 48420‐1411
MARTHA VOGLER             JOSEF DABSCHSTRASSE 10/1/27                                             A‐2102 BISAMBERG
                                                                                                  AUSTRIA
MARTHA VOYLES             892 MONTE LN                                                                                 JEFFERSON          GA   30549‐6925
MARTHA VRIESENGA          37202 MANCHESTER DR APT 52                                                                   STERLING HEIGHTS   MI   48312‐2364
MARTHA W BENNETT          277 KENWOOD AVE                                                                              ROCHESTER          NY   14611‐3033
MARTHA W COLEMAN          701 PAGE ST                                                                                  JACKSON            MS   39213‐7748
MARTHA W TRICE            PO BOX 8902                                                                                  WARREN             OH   44484
MARTHA WADDELL            26431 ZEMAN AVE                                                                              EUCLID             OH   44132‐1942
MARTHA WADE               11030 12TH ST                                                                                NORTH BENTON       OH   44449‐9633
MARTHA WALKER             6028 ASHLEY LN                                                                               SHREVEPORT         LA   71129‐4352
MARTHA WALKER             2123 W 2ND ST                                                                                DAYTON             OH   45417‐2458
MARTHA WALKER             PO BOX 298                                                                                   BERLIN             MA   01503
MARTHA WALLACE            PO BOX 183                                                                                   CLINCHCO           VA   24226‐0183
MARTHA WALLEN             218 NATASHA DR                                                                               NOBLESVILLE        IN   46062‐8467
MARTHA WALTERS            730 TIBBALS ST                                                                               FRANKLIN           OH   45005‐2761
MARTHA WARD               308 W JEFFERSON ST                                                                           KIRKLIN            IN   46050‐9634
MARTHA WARDEN             5879 BEECHAM DR                                                                              DAYTON             OH   45424‐4207
MARTHA WARSING            APT 54                         401 WEST SEMINOLE BOULEVARD                                   SANFORD            FL   32771‐1279
MARTHA WASHINGTON         PO BOX 17625                                                                                 DAYTON             OH   45417‐0625
MARTHA WASKO              905 RIDGE AVE                                                                                JEANNETTE          PA   15644‐1645
MARTHA WATKINS            314 W FLINT ST                                                                               DAVISON            MI   48423‐1054
MARTHA WATSON             235 OLD PIONEER TRL                                                                          CANTON             GA   30115‐6513
MARTHA WATSON             PO BOX 105                                                                                   LOUDON             TN   37774‐0105
MARTHA WEBB               14430 FRANKFORT APTB2                                                                        DETROIT            MI   48224
MARTHA WEITZEL            11035 CONSTANTIA CV                                                                          ROANOKE            IN   46783‐8910
MARTHA WENDLING           1009 ROMANUS DR                                                                              VANDALIA           OH   45377‐1143
MARTHA WESLEY             1934 CHARLES ST                                                                              AVON               IN   46123‐8530
MARTHA WEST               318 SAN MARCO WAY                                                                            SAINT PETERS       MO   63304‐5653
MARTHA WHEATON            41 HIGHLAND DR                                                                               BLOOMFIELD HILLS   MI   48302‐0355
MARTHA WHITE              1909 N AUBURN ST                                                                             INDIANAPOLIS       IN   46224‐5714
MARTHA WHITE              147 DWIGGINS RD                                                                              ELSBERRY           MO   63343‐3113
MARTHA WHITFIELD          906 MARTIN ST                                                                                CLARKSVILLE        TN   37040‐4008
MARTHA WHITFIELD          PO BOX 1854                                                                                  BELLEVILLE         MI   48112‐1854
MARTHA WHITTEMORE         985 HEATHERWOOD DR                                                                           GREENWOOD          IN   46143‐6934
MARTHA WIDNER             1005 S WORTH AVE               C/O MELONY BURDINE                                            INDIANAPOLIS       IN   46241‐2132
MARTHA WIDNER             163 FAINS HATCHERY RD                                                                        EDISON             GA   39846‐4805
MARTHA WIGGINS            3917 STAGE RD LOT 48                                                                         IONIA              MI   48846‐9822
MARTHA WILKER             1168 SMITH AVE                                                                               BIRMINGHAM         MI   48009‐2031
MARTHA WILLIAMS           1709 DIFFORD DR                                                                              NILES              OH   44446‐2833
MARTHA WILLIAMS           14144 ASHTON RD                                                                              DETROIT            MI   48223‐3561
MARTHA WILLIAMS           769 GATES AVE                                                                                YPSILANTI          MI   48198‐6151
MARTHA WILLIAMS           22 W PARK ST                                                                                 TOLEDO             OH   43608‐1724
MARTHA WILLIAMS           5606 HUGHES RD                                                                               LANSING            MI   48911‐3513
MARTHA WILLIAMS           8823 BOOTH AVE                                                                               KANSAS CITY        MO   64138‐4432
MARTHA WILLIAMS ‐ COOKE   37 JUNIPER LN                                                                                CHEEKTOWAGA        NY   14227‐2365
MARTHA WILLS              1515 W 10TH ST                                                                               MUNCIE             IN   47302‐2142
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Name                       Address1                       Address2              Address3      Address4         City              State Zip
MARTHA WILSON              7615 LYNES CT                                                                       SAVANNAH           GA 31406‐6423
MARTHA WILSON              103 W MAIN ST BLDG 2           APT# 2                                               LE ROY             NY 14482
MARTHA WILSON              2007 GLADSTONE DR                                                                   FORT WAYNE         IN 46816‐3735
MARTHA WINN                2333 S TERM ST                                                                      BURTON             MI 48519‐1032
MARTHA WISE                684 TRENTICE STREET            LOT 37                                               CROSSVILLE         TN 38555
MARTHA WISNIEWSKI          1017 S HAMPTON ST                                                                   BAY CITY           MI 48708‐7554
MARTHA WOJTALEWSKI         7314 LANDSEND LN                                                                    LIVERPOOL          NY 13090‐1740
MARTHA WOLFE               113 POINSETTA DR                                                                    INTERLACHEN        FL 32148‐5015
MARTHA WOLSKI              3889 WATERBURY DR                                                                   DAYTON             OH 45439‐2440
MARTHA WOLSZON             4386 WHEELER RD                                                                     STANDISH           MI 48658
MARTHA WOOD                3776 HI VILLA DR                                                                    LAKE ORION         MI 48360‐2459
MARTHA WOOLWORTH           8752 S NEW LOTHROP RD                                                               DURAND             MI 48429‐9414
MARTHA WRIGHT              2611 MARYLAND AVE                                                                   FLINT              MI 48506‐2856
MARTHA WRIGHT              1920 LAWRENCE AVE              PO BOX 4                                             LOCKPORT            IL 60441‐4482
MARTHA WROBEL              4436 E CEDAR LAKE DR                                                                GREENBUSH          MI 48738‐9727
MARTHA Y BAUTISTA          6931 THELMA AVE.                                                                    BUENA PARK         CA 90620
MARTHA Y CHRISTOPHER       ACCT OF DONALD D CHRISTOPHER   13164 WOODSTOCK DR                                   NEVADA CITY        CA 95959
MARTHA YARBROUGH           1623 HOWELL AVE                                                                     DAYTON             OH 45402‐6920
MARTHA YARBROUGH           112 HARDWOOD CT                                                                     MAYSVILLE          GA 30558‐5649
MARTHA YORK                2786 BRIDGESTONE CIR                                                                KOKOMO             IN 46902‐7010
MARTHA YOUNG               PO BOX 14659                                                                        SAGINAW            MI 48601‐0659
MARTHA YOUNG               8550 N GRANBY AVE APT 291                                                           KANSAS CITY        MO 64154‐1239
MARTHA YOUNG               824 WOODLAWN DR                                                                     ANDERSON           IN 46012‐4564
MARTHA YOUNG               3 NORMAN DR                                                                         NEPTUNE            NJ 07753‐2725
MARTHA ZIELINSKI           N5155 SINISSIPPI POINT RD                                                           JUNEAU             WI 53039‐9304
MARTHA ZIMMERER            218 DISTON LN                                                                       SPRINGDALE         OH 45246‐2406
MARTHA ZIMMERMAN           6425 STRICKLER RD                                                                   CLARENCE           NY 14031‐1026
MARTHA ZIPAY               155 WAKEFIELD DRIVE                                                                 SHARPSVILLE        PA 16150‐1414
MARTHA ZIRKLE              5312 LIZ LN RR 8                                                                    ANDERSON           IN 46017
MARTHA ZORNES              2255 E STATE ROAD 38                                                                MARKLEVILLE        IN 46056‐9758
MARTHA'S MARKET            ATTN: MARTHA ORR               1023 N JOHNSON ST                                    BAY CITY           MI 48708‐6251
MARTHA, GEORGE             16544 BROOKLANE BLVD                                                                NORTHVILLE         MI 48168‐8418
MARTHA, ISSA K             16544 BROOKLANE BOULEVARD                                                           NORTHVILLE         MI 48168‐8418
MARTHA‐RHEA A LUSK         8292 WOODWARD AVE APT 3                                                             DETROIT            MI 48202‐2548
MARTHAGE, CHARLES M        52 GANNETT RD                                                                       FARMINGTON         NY 14425‐8911
MARTHAGE, JEAN C           355 N PARK DR APT 213                                                               ROCHESTER          NY 14609‐1021
MARTHAL GAFFNEY            623 BRADBURY AVE                                                                    SANTA BARBARA      CA 93101‐3307
MARTHALEEN OLIVER          5288 ROBINWOOD AVE                                                                  DAYTON             OH 45431‐2836
MARTHALER JR, RUFUS B      3800 HATTON SCHOOL RD                                                               MUSCLE SHOALS      AL 35661‐5303
MARTHALER, LARRY F         4726 WILMER CT                                                                      CINCINNATI         OH 45226‐2344
MARTHANN ALEXANDER         602 S OHIO ST                                                                       SHERIDAN           IN 46069‐1229
MARTHEA ACKERMAN‐RILEY     605 SAINT LAWRENCE AVE                                                              JANESVILLE         WI 53545‐4037
MARTHEA K ACKERMAN‐RILEY   605 SAINT LAWRENCE AVE                                                              JANESVILLE         WI 53545‐4037
MARTHEL A HENSLEY          9301 HIGHLAND DR               CLEARVIEW ACRES ADD                                  BROKEN ARROW       OK 74014
MARTHELL BURNEY            3221 LEXINGTON DR                                                                   SAGINAW            MI 48601‐4570
MARTHELLE PARKS            10101 E 74TH TER                                                                    RAYTOWN            MO 64133‐6755
MARTHENA STUBBS            252 ALPHONSE ST                                                                     ROCHESTER          NY 14621‐4819
MARTHENA WALKER            34307 CORTEZ BLVD                                                                   RIDGE MANOR        FL 33523‐8999
MARTHENIA MERRITT          3418 ITASKA ST                                                                      SAINT LOUIS        MO 63111‐1450
MARTHINA H KIM             2593 PINE RIDGE RD                                                                  WEST BLOOMFIELD    MI 48324
MARTHINA KIM               2593 PINE RIDGE RD                                                                  WEST BLOOMFIELD    MI 48324‐1956
MARTI D ROBINSON           1740 KIPLING DR.                                                                    DAYTON             OH 45406‐3914
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Name                           Address1                         Address2                         Address3   Address4                City              State Zip
MARTI FRANCESCO                VIA LIVIGNO 6                    TRAV VIA RAPOLLA                            73100 LECCE ITALY
MARTI FRANCISCO (499356)       LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                             MIAMI             FL    33143‐5163
MARTI HAROLD                   13365 HUGHES RD                                                                                      NEWARK            IL    60541‐9483
MARTI KEMRITE                  61 E N HAMPTON ST #514                                                                               WILKES BARRE      PA    18701
MARTI THELEN                   PO BOX 256                                                                                           WESTPHALIA        MI    48894‐0256
MARTI, AVA                     617 W NORTHRUP ST                                                                                    LANSING           MI    48911‐3713
MARTI, FRANCISCO               LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                             MIAMI             FL    33143‐5163
MARTI, FRANCISCO               THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD          SUITE 44                           CORAL GABLES      FL    33146
MARTI, JERRY R                 13054 BUCKEYE RD                                                                                     HIGHLAND          IL    62249‐4400
MARTI, KRISTIN A               1917 KIPLING DRIVE                                                                                   FLOWER MOUND      TX    75022‐4456
MARTI, ROCCO                   9895 ROOSEVELT ST                                                                                    TAYLOR            MI    48180‐3636
MARTI, YOLANDA CRIADO          3735 S FOX POINTE ST                                                                                 LANSING           MI    48911‐4450
MARTIA ANDERSON                4871 S GERA RD                                                                                       FRANKENMUTH       MI    48734‐9745
MARTIAL VIENS                  5255 GREENLEAF DR                                                                                    SWARTZ CREEK      MI    48473‐1133
MARTIAN ANITA M ESTATE OF      1106 MERIDIAN PLAZA                                                                                  ANDERSON          IN    46016
MARTIAN, STEVE                 604 5TH AVE NW                                                                                       MANDAN            ND    58554‐2903
MARTICH WILLIAM F              2201 AMBER RD                                                                                        OKLAHOMA CITY     OK    73170‐3210
MARTICH, DAN J                 36800 REEVES RD                                                                                      EASTLAKE          OH    44095‐1636
MARTICH, MARTHA L              22951 MOSIER RD                                                                                      SEDRO WOOLLEY     WA    98284‐7834
MARTICH, MICHAEL J             709 BALROYAL CT                                                                                      INDIANAPOLIS      IN    46234‐2204
MARTICH, WILLIAM F             2201 AMBER RD                                                                                        OKLAHOMA CITY     OK    73170‐3210
MARTICHUSKI, JONATHAN S        11365 MEADOWBROOK DR                                                                                 WARREN            MI    48093‐2524
MARTICIO, INOCENCIO B          5245 SPINNING WHEEL DR                                                                               GRAND BLANC       MI    48439‐4231
MARTICIO, KAY                  5245 SPINNING WHEEL              DR.                                                                 GRAND BLANC       MI    48439‐4231
MARTICIUC, ALEXANDER           4886 GERBBER PKWY                                                                                    HAMBURG           NY    14075‐1618
MARTIDA HUMPHREY               625 GREENING RD                                                                                      TOLEDO            OH    43607‐3514
MARTIE COTTON                  20231 SCHAEFER HWY                                                                                   DETROIT           MI    48235‐1593
MARTIE EDWARDS                 3788 S 300 E                                                                                         ANDERSON          IN    46017‐9766
MARTIE TAYLOR                  871 GARFIELD AVE                                                                                     MILFORD           OH    45150‐1660
MARTIE, FAYE F                 4764 ENGLESSON DR NW                                                                                 WARREN            OH    44485‐1234
MARTIEN JR, FRANK B            1 N AMERICAN AVE                                                                                     DOVER             DE    19901‐3865
MARTIKAINEN, ERNEST W          17 HARLOQUIN DR                                                                                      SMITHTOWN         NY    11787‐3309
MARTILLA BRYSON                3531 28TH ST                                                                                         DETROIT           MI    48210‐3103
MARTILLO ROBERT S (450558)     WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                     NEW YORK          NY    10038
MARTILLO, ROBERT S             WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                     NEW YORK          NY    10038
MARTIN
MARTIN                         2801 UNIVERSITY BLVD STE 200                                                                                            AL   35233‐2860
MARTIN                         8826 SANTA FE DR STE 218         JAMES E. MARTIN LAW OFFICES CH                                      OVERLAND PARK      KS   66212‐3674

MARTIN &LESLEY SKOTTKE         AM H▄HNERPFAD 11                 61191 ROSBACH
MARTIN HELIGMAN                1046 FERNWAY LN                                                                                      SAINT LOUIS       MO 63141‐6165
MARTIN & ANDREA RINGWALD       TALSTRASSE 34                                                                79215 ELZACH GERMANY
MARTIN & BESSIE BRINITZER      2559 SHADOWFAX LANE                                                                                  EL DORADO HILLS   CA    95762
MARTIN & BEVERLY KULJIS        105 HAWTHORN RD                                                                                      BELLINGHAM        WA    98225
MARTIN & GASS INC                                               6433 GENERAL GREEN WAY                                                                VA    22312
MARTIN & JOHANNA G VERHAEGH,   551 DORSET ST                                                                                        CAMBRIA           CA    93428‐3201
JTWROS
MARTIN & LAURA JACKSON         7217 NE 175TH ST                 APT 222                                                             BOTHELL           WA 98028
MARTIN & LESLEY SKOTTKE        AM H HNERPFAD 11                                                             61191 ROSBACH GERMANY
MARTIN & LINDA SIMONSON        11 CLARKE STREET                                                                                     BRENTWOOD         NY 11717
MARTIN & MARTIN LLP            3530 WILSHIRE BLVD STE 1650                                                                          LOS ANGELES       CA 90010‐2371
MARTIN & OLIVEIRA              100 NORTH ST STE 301                                                                                 PITTSFIELD        MA 01201‐5119
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Name                          Address1                        Address2                       Address3                Address4              City            State Zip
MARTIN & SEIBERT              PO BOX 1286                                                                                                  MARTINSBURG      WV 25402‐1286
MARTIN & SEIBERT              PO BOX 1085                                                                                                  MARTINSBURG      WV 25402‐1085
MARTIN & SEIBERT LC           ATTN CAROLE J RICE              1453 WINCHESTER AVE                                                          MARTINSBURG      WV 25405‐5022
MARTIN & SEIBERT, L.C. AT     1453 WINCHESTER AVE             P.O. BOX 1286                                                                MARTINSBURG      WV 25405‐5022
MARTIN 530008 GRIT 93198
MARTIN 538605 GRIT 93207
MARTIN A ABRAHAMS             184 KANSAS AVE                                                                                               YPSILANTI       MI 48198‐6025
MARTIN A ALTMAN               48 GRANT ST                                                                                                  BUTLER          OH 44822‐9644
MARTIN A ANDERSON             G PATTERSON KEAHEY PC           ONE INDEPENDENCE PLAZA SUITE                                                 BIRMINGHAM      AL 35209
                                                              612
MARTIN A BISCAN               8537 ELMWAY DR                                                                                               DAYTON          OH   45415‐1610
MARTIN A DUMOUCHEL            200 BREMAN AVE                                                                                               SYRACUSE        NY   13211‐1628
MARTIN A DUMOUCHEL            367 MATTY AVE                                                                                                MATTYDALE       NY   13211‐1662
MARTIN A KONTNIER             1801 PANAMA AVE.                                                                                             MIDDLETOWN      OH   45042‐2347
MARTIN A PUTNEY               9629 BAYVIEW DR APT 305                                                                                      YPSILANTI       MI   48197‐7031
MARTIN A RICHARDSON           12208 EDDYBURG RD NE                                                                                         NEWARK          OH   43055
MARTIN A ROMEL                PO BOX 2418                                                                                                  ANDREWS         NC   28901‐2418
MARTIN A RUMEL                PO BOX 2418                                                                                                  ANDREWS         NC   28901‐2418
MARTIN A VITALE               186 WARD STREET                                                                                              NEW BRUNSWICK   NJ   08901‐3015
MARTIN AARON SITE ACCOUNT     450 MONTBROOK LN                                                                                             KNOXVILLE       TN   37919‐2705
MARTIN ABERNATHY              8994 AMY LEIGH LN                                                                                            CLARENCE CTR    NY   14032‐9366
MARTIN ADAMS                  PO BOX 1034                                                                                                  GREENWOOD       IN   46142‐0998
MARTIN ADVERTISING            2801 UNIVERSITY BLVD STE 200                                                                                 BIRMINGHAM      AL   35233‐2860
MARTIN AGUILAR                7608 W 61ST PL                                                                                               SUMMIT          IL   60501‐1616
MARTIN AHLBRECHT              NEUER MARKT 5                   37574 EINBECK
MARTIN ALBERT A (343400)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                  NORFOLK         VA 23510
                                                              STREET, SUITE 600
MARTIN ALBERT INTERIORS INC   9 EAST 19TH ST                                                                                               NEW YORK        NY   10003
MARTIN ALBRECHT               1580 NEWMAN AVE                                                                                              LAKEWOOD        OH   44107‐5233
MARTIN ALICE                  340 N MAGEE ST                                                                                               SOUTHAMPTON     NY   11968‐2700
MARTIN ALLEN                  7989 MUNICH RD                                                                                               BARTELSO        IL   62218‐2206
MARTIN ALLSOPP                216 OKINAWA DR                                                                                               NEW CASTLE      PA   16105‐1631
MARTIN ALTBERGS               C/O EMBRY & NEUSNER             PO BOX 1409                                                                  GROTON          CT   06340
MARTIN ALTMAN                 PO BOX 35                                                                                                    BUTLER          OH   44822‐0035
MARTIN AMMAN                  16119 STUART RD                                                                                              CHESANING       MI   48616‐9747
MARTIN AMMON JR               1720 N 85TH ST                                                                                               KANSAS CITY     KS   66112‐1721
MARTIN AND CHRISTA GOERNER    TOLSTOISTR 47                                                                          D 90475 NUREMBERG
                                                                                                                     GERMANY
MARTIN AND MARGRET ENGELS     MUEHLENWEG 41B                  46519 ALPEN                    MARTIN.ENGELS@NORGREN.D 004928202‐2138
                                                                                             E
MARTIN AND MARGRET ENGELS     MUEHLENWEG 41B                                                                         46519 ALPEN GERMANY
MARTIN AND MARTIN             3530 WILSHIRE BLVD STE 1650                                                                                  LOS ANGELES     CA 90010‐2371
MARTIN AND RUTH QUINN         502 BERWICK ST                                                                                               WHITE HAVEN     PA 18661‐1002
MARTIN AND WALTRAUD KREEB     IN DEN MUEHLAECKERN 14          74196 NEUENSTADT
MARTIN AND WALTRAUD KREEB     IN DEN MUEHLAECKERN 14                                                                 74196 NEUENSTADT
                                                                                                                     GERMANY
MARTIN ANDREA                 MARTIN, ANDREA
MARTIN ANDREWS                PO BOX 33                                                                                                    RALPH           MI   49877‐0033
MARTIN ANTHONY JR             5289 N DYEWOOD DR                                                                                            FLINT           MI   48532‐3322
MARTIN ANTHONY M (654407)     ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                                             BETHLEHEM       PA   18018
MARTIN APRIL                  MARTIN, APRIL                   1344 BRIERY CREEK ROAD                                                       SCOTTSVILLE     VA   24590‐4114
MARTIN ARESTIE                1269 LAUREL WAY                                                                                              MONTEREY        TN   38574
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Name                            Address1                        Address2                         Address3                  Address4                  City              State Zip
MARTIN ARQUETTE                 11520 CHEYENNE WELLS TRL                                                                                             CANADIAN LAKES     MI 49346‐9791
MARTIN ARREDONDO                431 ANDRE ST                                                                                                         DUARTE             CA 91010‐3402
MARTIN ARY                      506 SPRING LN                                                                                                        COLUMBIA           TN 38401‐2252
MARTIN AUTOMOTIVE               2136 WASHINGTON RD                                                                                                   WASHINGTON          IL 61571‐1954
MARTIN AUTOMOTIVE GROUP         MARTIN AUTOMOTIVE GROUP INC     MARTIN AUTOMOTIVE GROUP INC      2948 US 90 E PO BOX 795                             LAKE CHARLES       LA 70601

MARTIN AUTOMOTIVE GROUP         MARTIN AUTOMOTIVE GROUP INC
MARTIN AUTOMOTIVE GROUP, INC.   EDWARD MARTIN                   2948 HIGHWAY 90 E                                                                    LAKE CHARLES      LA   70615‐3634
MARTIN AUTOMOTIVE INC.          729 S 8TH ST                                                                                                         SHEBOYGAN         WI   53081‐4407
MARTIN AUTOPARK                 516 S WASHINGTON AVE                                                                                                 CLEVELAND         TX   77327‐4858
MARTIN B LUGO                   217‐5 AVENUE 39                                                                                                      LOS ANGELES       CA   90031‐1510
MARTIN BACON & MARTIN PC        44 1ST ST                                                                                                            MOUNT CLEMENS     MI   48043‐2523
MARTIN BAHNSEN                  3803 E DENNIS DR                                                                                                     LKSID MARBLHD     OH   43440‐9703
MARTIN BAKER                    114 CREEKSIDE DR                                                                                                     COLUMBIA          TN   38401‐6525
MARTIN BALL JR                  329 OAK LEAF LN                                                                                                      HOWELL            MI   48855‐9706
MARTIN BARBARA                  8930 CEDARWOOD DR APT 907                                                                                            ORLAND HILLS      IL   60487‐4991
MARTIN BARNACK                  3927 ECKHARDT RD                                                                                                     HAMBURG           NY   14075‐6705
MARTIN BARRETT                  300 SILVERADO DR APT 222                                                                                             STOUGHTON         WI   53589‐5472
MARTIN BARTOS                   112 LAFAYETTE ST                                                                                                     ELYRIA            OH   44035‐3923
MARTIN BASKERVILLE              PO BOX 274                                                                                                           ORWELL            OH   44076‐0274
MARTIN BAUMANN                  1500 MCKINLEY AVE               APT 402                                                                              NILES             OH   44446
MARTIN BAUREIS                  3630 TREMONT DR                                                                                                      FLORISSANT        MO   63033‐3059
MARTIN BAZZANI SR               1373 SIOUX ST                                                                                                        GLADWIN           MI   48624‐8354
MARTIN BEAUBIEN                 3813 KIMBERLY OAKS                                                                                                   LAMBERTVILLE      MI   48144‐9720
MARTIN BECKTOLD                 9208 ARRID CIR                                                                                                       PT CHARLOTTE      FL   33981‐3109
MARTIN BELIK                    455 BEDFORD RD SE                                                                                                    BROOKFIELD        OH   44403‐9725
MARTIN BELL                     422 MARSH CREEK RD                                                                                                   VENICE            FL   34292‐5313
MARTIN BELSKY                   18 PARNELL DR                                                                                                        CHERRY HILL       NJ   08003
MARTIN BENAVIDEZ                606 E KUHN ST                                                                                                        EDINBURG          TX   78541
MARTIN BENCSIK                  9868 MELBOURNE AVE                                                                                                   ALLEN PARK        MI   48101‐1367
MARTIN BENDER                   3958 KIRK RD                                                                                                         VASSAR            MI   48768‐9771
MARTIN BENJAMIN                 1235 BRUNSWICK WAY                                                                                                   ANDERSON          IN   46012‐2619
MARTIN BENNINGTON               MARTIN BENNINGTON               CASCINO MICHAEL P                220 SOUTH ASHLAND AVE                               CHICAGO           IL   60607
MARTIN BERGIN                   71 SWEETHAVEN CT                                                                                                     AMHERST           NY   14228‐1881
MARTIN BERMAN                   4538 IDE RD                                                                                                          WILSON            NY   14172‐9643
MARTIN BERTHIAUME               2254 FLANDERS DR                                                                                                     ROCHESTER HILLS   MI   48307‐3712
MARTIN BIENZEISLER              10745 SODOM RD                                                                             NIAGARA FALLS ON L2E6S6
                                                                                                                           CANADA
MARTIN BIGELOW                  660 CTY RT 40‐‐W HATFIELD ST                                                                                         MASSENA           NY   13662
MARTIN BILLIN                   342 ARLINGTON DR                                                                                                     ROCHESTER HILLS   MI   48307‐2806
MARTIN BILLY                    258 THEO MARTIN RD                                                                                                   WESTMINSTER       SC   29693‐5343
MARTIN BILLY & ELOISE MARTIN    MARTIN BILLY & ELOISE MARTIN    ICO THE LANIER LAW FIRM PC       6810 FM 1960 WEST                                   HOUSTON           TX   77069
MARTIN BILLY (661256)           LANIER LAW FIRM                 6810 FM 1960 WEST SUITE 1550                                                         HOUSTON           TX   77069
MARTIN BINKOWSKI                10161 KINNEVILLE RD                                                                                                  EATON RAPIDS      MI   48827‐9590
MARTIN BISCHOFF TEMPLETON       LANGSLET & HOFFMAN              888 SW 5TH AVE 900 PIONEER TWR                                                       PORTLAND          OR   97204

MARTIN BISHOP                   665 RENFREW AVE                                                                                                      LAKE ORION         MI 48362‐2667
MARTIN BLAUMOSER                BIRKENSTRASSE 11                84453 M▄HLDORF
MARTIN BLAUMOSER                BIRKENSTRASSE 11                84453 MUEHLDORF
MARTIN BLAUMOSER                BIRKENSTRASSE 11                94453 MUEHLDORF
MARTIN BLOOMFIELD               5325 E 800 S                                                                                                         COLUMBIA CITY     IN 46725‐9248
MARTIN BOATMAN                  19410 GOLDWIN ST                                                                                                     SOUTHFIELD        MI 48075‐7222
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Name                             Address1                        Address2                        Address3   Address4              City            State Zip
MARTIN BOBBY JOE (488503)        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD       OH 44067
                                                                 PROFESSIONAL BLDG
MARTIN BOETSMA                   4841 72ND AVE                   RR #2                                                            ZEELAND         MI 49464‐9525
MARTIN BOJAJ                     3294 WATKINS LAKE RD                                                                             WATERFORD       MI 48328‐1538
MARTIN BOJOVIC
MARTIN BOLICK                    1712 W WOOD ST                                                                                   COAL TOWNSHIP   PA   17866‐2012
MARTIN BOLINGER                  11275 REID RD                                                                                    SWARTZ CREEK    MI   48473‐8516
MARTIN BONHAM                    1100 BELCHER RD S LOT 110                                                                        LARGO           FL   33771‐3411
MARTIN BONISH                    1625 YOUNGSTOWN WARREN S.E.                                                                      WARREN          OH   44484
MARTIN BONKOWSKI                 564 MOREL DR                                                                                     WIXOM           MI   48393‐4028
MARTIN BOTTAR                    4856 KING GRAVES RD                                                                              VIENNA          OH   44473‐9712
MARTIN BOYCE                     3287 SHERMAN RD                                                                                  MANSFIELD       OH   44903‐7543
MARTIN BRACKENS                  C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                        HOUSTON         TX   77007
                                 BOUNDAS LLP
MARTIN BRACY
MARTIN BRADLEY                   WEITZ & LUXENBERG P C           700 BROADWAY                                                     NEW YORK        NY 10003
MARTIN BRAND                     3770 CLAUDE BREWER RD                                                                            LOGANVILLE      GA 30052‐3938
MARTIN BREINAGER                 PO BOX 162                      4623 CENTER ST                                                   MILLINGTON      MI 48746‐0162
MARTIN BREITENB▄CHER             21 FERNCROFT AVENUE             LONDON NW37PG
MARTIN BREITENBUECHER            21 FERNCROFT AVENUE                                                        NW37PG LONDON GREAT
                                                                                                            BRITAIN
MARTIN BRENNER DEC'D & LINDA     2 LAKE DR                                                                                        LINWOOD         NJ   08221‐1303
BRENNER
MARTIN BRIAN GREGORY             MARTIN, BRIAN GREGORY           1950 SAWTELLE BLVD STE 245                                       LOS ANGELES     CA   90025‐7017
MARTIN BROS. CHEVROLET, INC.     DENNIS MARTIN                   613‐615 W MAIN ST                                                ARCADE          NY   14009
MARTIN BROS. CHEVROLET, INC.     613‐615 W MAIN ST                                                                                ARCADE          NY   14009
MARTIN BROWN                     29461 STATE HIGHWAY Y                                                                            JONESBURG       MO   63351‐2907
MARTIN BROZEK
MARTIN BRUNO                     2658 GENES DR                                                                                    AUBURN HILLS    MI   48326‐1902
MARTIN BRYANT                    PO BOX 892799                                                                                    OKLAHOMA CITY   OK   73189‐2799
MARTIN BUCHANAN                  2001 QUARTZ ISLE DR                                                                              SAGINAW         MI   48603
MARTIN BUCKLER                   7207 LAKEWOOD DR                                                                                 OSCODA          MI   48750‐8712
MARTIN BUDINSKI                  389 LAURA DR                                                                                     ROCHESTER       NY   14626‐2131
MARTIN BUFORD C (429378)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA   23510
                                                                 STREET, SUITE 600
MARTIN BUICK PONTIAC GMC, INC.   TIMOTHY MARTIN                  2303 N OAK DR                                                    PLYMOUTH        IN   46563‐3437
MARTIN BUICK PONTIAC GMC, INC.   2303 N OAK DR                                                                                    PLYMOUTH        IN   46563‐3437
MARTIN BURNS                     9994 S 7 1/2 RD                                                                                  CADILLAC        MI   49601‐9357
MARTIN BUSTAMANTE                2914 LEITH ST                                                                                    FLINT           MI   48506‐2945
MARTIN BUSTAMANTE JR             PO BOX 1148                                                                                      CEDAR HILL      TX   75106‐1148
MARTIN BUTLER                    2415‐52N AURELIUS RD                                                                             HOLT            MI   48842
MARTIN BUTT                      2035 FAHEY DR                                                                                    INDIANAPOLIS    IN   46280‐1581
MARTIN BYRON R (352834)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA   23510
                                                                 STREET, SUITE 600
MARTIN C DOWNING                 1723 E LINDSEY AVE                                                                               MIAMISBURG      OH   45342
MARTIN C MOON                    706 W OHIO ST                                                                                    BAY CITY        MI   48706‐4261
MARTIN C NOE                     306 ASPEN CT                                                                                     FRANKLIN        OH   45005
MARTIN C SIMS                    1206 PETTIBONE AVE                                                                               FLINT           MI   48507‐1532
MARTIN C VANDENLANGENBERG        2110 EXCALIBUR DR                                                                                JANESVILLE      WI   53546‐1134
MARTIN C VITALE                  186 WARD STREET                                                                                  NEW BRUNSWICK   NJ   08901
MARTIN CADILLAC                  12101 W OLYMPIC BLVD                                                                             LOS ANGELES     CA   90064‐1017
MARTIN CADILLAC                  1245 CENTRAL PARK AVE                                                                            YONKERS         NY   10704‐1001
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Name                                 Address1                         Address2                      Address3   Address4         City               State Zip
MARTIN CADILLAC COMPANY, INC.        DANA MARTIN                      12101 W OLYMPIC BLVD                                      LOS ANGELES         CA 90064‐1017
MARTIN CADILLAC DBA MARTIN PONTIAC   12101 W OLYMPIC BLVD                                                                       LOS ANGELES         CA 90064‐1017

MARTIN CADILLAC DBA MARTIN PONTIAC   12101 W OLYMPIC BLVD                                                                       LOS ANGELES        CA 90064‐1017
DBA MARTIN GMC TRUCK
MARTIN CADILLAC OF YONKERS LLC       1245 CENTRAL PARK AVE                                                                      YONKERS            NY   10704‐1001
MARTIN CADILLAC OF YONKERS, LLC      1245 CENTRAL PARK AVE                                                                      YONKERS            NY   10704‐1001
MARTIN CADILLAC OF YONKERS, LLC      TIMOTHY MARTIN                   1245 CENTRAL PARK AVE                                     YONKERS            NY   10704‐1001
MARTIN CADILLAC, LLC                 TIMOTHY MARTIN                   374 RTE 9W                                                ENGLEWOOD CLIFFS   NJ   07632
MARTIN CADILLAC, LLC                 374 RTE 9W                                                                                 ENGLEWOOD CLIFFS   NJ   07632
MARTIN CADILLAC, LLC
MARTIN CADILLAC‐PONTIAC                                                                                                         LOS ANGELES        CA   90064‐1082
MARTIN CADILLAC‐PONTIAC              12101 W OLYMPIC BLVD                                                                       LOS ANGELES        CA   90064‐1017
MARTIN CAMPBELL                      3432 SCOTS PINE WAY                                                                        PORTAGE            MI   49024‐3963
MARTIN CARABALLO, JOEL               1430 SW 98TH AVE                                                                           PEMBROKE PINES     FL   33025‐3633
MARTIN CARLSON JR                    1336 QUEENS DR                                                                             OXFORD             MI   48371‐5918
MARTIN CARTER                        3070 STOP 8 RD                                                                             DAYTON             OH   45414‐3132
MARTIN CARTER                        5642 LOGGINGTRAIL DR                                                                       SEARS              MI   49679‐8013
MARTIN CASE                          31707 BEECHWOOD DR                                                                         WARREN             MI   48088‐2087
MARTIN CAVERLY                       2053 E WILSON RD                                                                           CLIO               MI   48420‐7944
MARTIN CHAMBERS                      8631 E COUNTY ROAD 12                                                                      BLOOMVILLE         OH   44818‐9450
MARTIN CHAMP                         455 KINHAWK DR                                                                             NASHVILLE          TN   37211‐6816
MARTIN CHARLES                       58 RABBIT TRAIL DR                                                                         WASHINGTON         MO   63090‐5510
MARTIN CHARLES                       28 WATERFORD DR                                                                            NACOGDOCHES        TX   75965‐8703
MARTIN CHARLES (459185)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                      STREET, SUITE 600
MARTIN CHARLES ALBERT (439301)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                      STREET, SUITE 600
MARTIN CHENG                         10306 LINDEN RD                                                                            GRAND BLANC        MI   48439‐9363
MARTIN CHERYL                        140 LANFORD RD                                                                             PAULINE            SC   29374‐1811
MARTIN CHEVROLET                     23505 HAWTHORNE BLVD                                                                       TORRANCE           CA   90505‐4706
MARTIN CHEVROLET SALES, INC.         8800 GRATIOT RD                                                                            SAGINAW            MI   48609‐4809
MARTIN CHEVROLET SALES, INC.         WILLIAM MARTIN                   8800 GRATIOT RD                                           SAGINAW            MI   48609‐4809
MARTIN CHEVROLET, INC                JOHN MARTIN                      1315 REES ST                                              BREAUX BRIDGE      LA   70517‐4403
MARTIN CHEVROLET, INC                1315 REES ST                                                                               BREAUX BRIDGE      LA   70517‐4403
MARTIN CHEVROLET‐BUICK, INC.         SKIP MARTIN                      516 S WASHINGTON AVE                                      CLEVELAND          TX   77327‐4858
MARTIN CHEVROLET‐OLDSMOBILE INC      2135 S ROUTE 235                                                                           NEW CARLISLE       OH   45344
MARTIN CHEVROLET‐OLDSMOBILE, INC.    2135 S RTE 235                                                                             NEW CARLISLE       OH   45344

MARTIN CHEVROLET‐OLDSMOBILE, INC.    CORNELIUS MARTIN*                2135 S RTE 235                                            NEW CARLISLE       OH 45344

MARTIN CHINN                         5152 MUSHROOM RD                                                                           DECKER             MI 48426‐9774
MARTIN CHRISTEIN                     5817 DORA LN                                                                               CLARKSTON          MI 48348‐5119
MARTIN CICALLA
MARTIN CID                           21 WINDINGBROOK WAY                                                                        HOLMDEL            NJ   07733‐2332
MARTIN CIMINELLI                     781 CUNNINGHAM RD                                                                          SALEM              OH   44460‐9405
MARTIN CIURLIK                       9530 ELIZABETH LAKE RD                                                                     WHITE LAKE         MI   48386‐2722
MARTIN CLARK                         PO BOX 406                                                                                 WAYNE              OK   73095‐0406
MARTIN CLARK                         4510 WILSON CREEK RD                                                                       HALE               MI   48739‐8718
MARTIN CLAYTON                       114 RADCLIFFE DR                                                                           GETZVILLE          NY   14068‐1284
MARTIN CLEYPOOL                      61 WILLS DR                                                                                ALPHARETTA         GA   30009‐1813
MARTIN COHEN                         433 GRANTHAM B                                                                             DEERFIELDBEACH     FL   33442
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Name                               Address1                              Address2                     Address3        Address4               City             State Zip
MARTIN COLLYER                     3720 STROUP RD                                                                                            ROOTSTOWN         OH 44272‐9501
MARTIN CORDOVA JR                  124 W YALE AVE                                                                                            PONTIAC           MI 48340‐1862
MARTIN CORLEY JR                   PO BOX 506                                                                                                MARLBORO          NY 12542‐0506
MARTIN CORNEJO                     BEVAN & ASSOCIATES LPA INC            6555 DEAN MEMORIAL PARKWAY                                          BOSTON HEIGHTS    OH 44236
MARTIN CORTEZ                      7101 W 71ST ST                                                                                            CHICAGO            IL 60638‐5903
MARTIN COSSETTE
MARTIN COTTLE                      4925 CYPRESS GARDENS RD APT 46                                                                            WINTER HAVEN      FL   33884
MARTIN COUNTY                      3485 SE WILLOUGHBY BLVD                TAX COLLECTOR                                                      STUART            FL   34994‐5060
MARTIN COUNTY                      PO BOX 998                                                                                                STANTON           TX   79782‐0998
MARTIN COUNTY                      ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 3485 SE WILLOUGHBY BLVD     TAX COLLECTOR                          STUART            FL   34994‐5060

MARTIN COUNTY APPRAISAL DISTRICT   PO BOX 1349                                                                                               STANTON           TX   79782‐1349
MARTIN COUNTY BOARD OF COUNTY                                            2151 SE AVIATION WAY                                                                  FL   34996
COMMISSIONERS
MARTIN COUNTY SHERIFF              PO BOX 407                                                                                                INEZ             KY    41224‐0407
MARTIN COUNTY TAX COLLECTOR        PO BOX 9013                                                                                               STUART           FL    34995‐9013
MARTIN COUNTY VEHICLE MAINT.       2555 SE AVENGER CIR                                                                                       STUART           FL    34996‐4036
MARTIN COURNEYA                    CASCINO MICHAEL P                     220 SOUTH ASHLAND AVE                                               CHICAGO          IL    60607
MARTIN COURNEYA                    C/O CASCINO MICHAEL P                 220 SOUTH ASHLAND AVE                                               CHICAGO          IL    60607
MARTIN COX                         209 VICTORY AVE                                                                                           GREENWOOD        IN    46142‐1433
MARTIN CRAIG                       16337 WHITEHEAD DR                                                                                        LINDEN           MI    48451‐8775
MARTIN CREECH                      6689 W DELPHI PIKE                                                                                        SWAYZEE          IN    46986‐9761
MARTIN CROCKER                     25 ERIK ST                                                                                                MERRIMACK        NH    03054‐4572
MARTIN CRONKRIGHT                  1620 PENNSYLVANIA AVE                                                                                     FLINT            MI    48506‐3569
MARTIN CROWLEY                     855 NE PROCTORVILLE RD                                                                                    BRAYMER          MO    64624‐8513
MARTIN CULLEN I I I                807 WHITE OAK DR                                                                                          SPRINGFIELD      OH    45504‐4132
MARTIN CZERWINSKI                  608 S LINCOLN ST                                                                                          BAY CITY         MI    48708‐7411
MARTIN D AMBURGEY                  409 E ISRAEL ST                                                                                           EATON            OH    45320‐2331
MARTIN D DELOOFF                   8333 90TH AVE                                                                                             EVART            MI    49631‐8536
MARTIN D EISEN                     9516 SPRINGWATER LANE                                                                                     MIAMISBURG       OH    45342‐4550
MARTIN D EPPS                      7601 WOODWARD AVE                                                                                         DETROIT          MI    48202‐2808
MARTIN D NEWMAN II                 1090 E JULIAH AVE                                                                                         FLINT            MI    48505‐1604
MARTIN D ROBBINS                   PO BOX 338                                                                                                NEW CARLISLE     OH    45344
MARTIN D SIDES                     7978 S YOUNG RD                                                                                           FALMOUTH         MI    49632‐9519
MARTIN D SIDES                     7978 SOUTH YOUNG ROAD                                                                                     FALMOUTH         MI    49632‐9519
MARTIN D SNIDER                    609 NORTH FAIRFIELD RD                                                                                    BEAVERCREEK      OH    45430‐1733
MARTIN D SNYDER                    639 BRITTON LN                                                                                            MONROE           OH    45050
MARTIN D SOUTHERLAND               909 E. CENTRAL AVE.                                                                                       MIAMISBURG       OH    45342‐2553
MARTIN DAHM                        BUERRESHEIMER STRASSE 18A             56727 MAYEN
MARTIN DAMM                        8155 CAINE RD                                                                                             MILLINGTON       MI 48746‐9130
MARTIN DANIEL WOLLOSCHECK          BAHNHOFSTR 38                                                                      53505 ALTENAHR
MARTIN DANNY                       2705 BURGESS FALLS RD                                                                                     COOKEVILLE       TN    38506‐5641
MARTIN DANNY                       3585 82ND AVE SE                                                                                          JAMESTOWN        ND    58401‐9505
MARTIN DARDEN JR                   3 CRYSTAL BROOK CT                                                                                        MANSFIELD        TX    76063‐4825
MARTIN DARVICK                     1150 WESTWOOD DR                                                                                          BIRMINGHAM       MI    48009‐1058
MARTIN DAVIS                       100 W 5TH ST APT 404                                                                                      ROYAL OAK        MI    48067‐2560
MARTIN DAVIS                       2307 WICKLEY AVE                                                                                          STOW             OH    44224‐4161
MARTIN DAVIS                       9182 HOLMES ST                                                                                            WHITE LAKE       MI    48386‐4134
MARTIN DAVIS                       451 STONE CREST AVE                                                                                       BOWLING GREEN    KY    42101‐8868
MARTIN DAVIS
MARTIN DEANDRA                     4245 FOSSIL WOOD                                                                                          SAN ANTONIO       TX 78261‐3019
MARTIN DEBOER                      3759 OAK VALLEY AVE SW                                                                                    WYOMING           MI 49519‐3751
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Name                             Address1                           Address2                        Address3                   Address4               City              State Zip
MARTIN DEBORD                    4051 SHAWNEE TRL                                                                                                     JAMESTOWN          OH 45335‐1139
MARTIN DEBRA                     MARTIN, DEBRA                      30 E BUTLER AVE                                                                   AMBLER             PA 19002‐4514
MARTIN DEBRI                     3721 CHEYENNE DR SW                                                                                                  GRANDVILLE         MI 49418‐1827
MARTIN DECKER                    PO BOX 91                                                                                                            SWIFTON            AR 72471‐0091
MARTIN DELANEY                   THE MADEKSHO LAW FIRM              8866 GULF FREEWAY SUITE 440                                                       HOUSTON            TX 77017
MARTIN DELHEY                    RINGSTR 27                                                                                    47228 DUISBURG
MARTIN DELILAH                   MARTIN, DELILAH                    16255 VENTURA BLVD STE 1250                                                       ENCINO            CA 91436‐2315
MARTIN DELILAH                   1713 W 69TH ST                                                                                                       LOS ANGELES       CA 90047‐1929
MARTIN DELILAH J 2ND ACTION      MARTIN, DELILAH J                  13115 DALESIDE AVENUE                                                             GARDENA           CA 90249
MARTIN DELILAH J 2ND ACTION      MARTIN, DELILAH J
MARTIN DELOOFF                   8333 90TH AVE                                                                                                        EVART             MI 49631‐8536
MARTIN DENNING                   1124 TISDALE AVE                                                                                                     LANSING           MI 48910‐3526
MARTIN DENNIS                    MARTIN, DENNIS                     8117 PRESTON ROAD 800 PRESTON                                                     DALLAS            TX 75225
                                                                    COMMONS WEST
MARTIN DENNIS (492065)           BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                                     NORTHFIELD        OH 44067
                                                                    PROFESSIONAL BLDG
MARTIN DENVER L                  MARTIN, DENVER L                   PO BOX 790                                                                        WILLOUGHBY        OH   44096‐0790
MARTIN DERRICK                   178 WOLLASTON ST                                                                                                     SPRINGFIELD       MA   01119‐1640
MARTIN DERUSHA                   6604 PEACHWOOD CT                                                                                                    ARLINGTON         TX   76016‐4232
MARTIN DESIGN SERVICE            286 GASOLINE ALY STE F                                                                                               INDIANAPOLIS      IN   46222‐5922
MARTIN DEVOR                     10516 WASHBURN RD                                                                                                    ORTONVILLE        MI   48462
MARTIN DIAZ                      3314 W WRIGHTWOOD AVE                                                                                                CHICAGO           IL   60647‐1406
MARTIN DIAZ                      PO BOX 22                                                                                                            MAYVILLE          MI   48744‐0022
MARTIN DIERICH                   SCHLESISCHE STR. 15                                                                           GERMANY
MARTIN DINTZIS
MARTIN DIXON                     8554 CANFIELD DR APT 206                                                                                             DEARBORN HTS      MI   48127‐1033
MARTIN DOMINGUEZ                 5704 OLD PLACE RD                                                                                                    ARLINGTON         TX   76016
MARTIN DONAGHUE                  2022 HULLHOUSE DR                                                                                                    SUN CITY CENTER   FL   33573‐6393
MARTIN DONALD (446102)           BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                                     NORTHFIELD        OH   44067
                                                                    PROFESSIONAL BLDG
MARTIN DONNELLY                  1205 SILVERLEAF CT                                                                                                   NASHVILLE         TN 37221‐3346
MARTIN DONNER                    IN DEN ZEULAECKERN 7
MARTIN DOROTHY                   7083 ELKHORN DR                                                                                                      WEST PALM BEACH   FL   33411‐5718
MARTIN DOUGLAS                   1561 ELM AVE                                                                                                         LONG BEACH        CA   90813‐2022
MARTIN DOUGLAS (659853)          SIMMONS FIRM                       PO BOX 521                                                                        EAST ALTON        IL   62024‐0519
MARTIN DOUGLAS BUTT              ATTN ROBERT W PHILLIPS             C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                          EAST ALTON        IL   62024
                                                                    ANGELIDES & BARNERD LLC      521

MARTIN DOUMA                     2500 CROCKERY SHORES RD                                                                                              CASNOVIA          MI   49318‐9505
MARTIN DOYLE                     603 WEBB DR                                                                                                          BAY CITY          MI   48706‐3528
MARTIN DRABEK                    4317 N NEVINS RD                                                                                                     STANTON           MI   48888‐9631
MARTIN DRAGONE                   7304 VIVIAN ST                                                                                                       TAYLOR            MI   48180‐1599
MARTIN DRAVES                    2343 BELLE MEADE DR                                                                                                  DAVISON           MI   48423‐2058
MARTIN DRILLING                  4511 INDUSTRIAL ACCESS RD                                                                                            DOUGLASVILLE      GA   30134‐3992
MARTIN DRVODELIC                 BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                                        BOSTON HTS.       OH   44236
MARTIN DUFF                      3206 E FRANCES RD                                                                                                    CLIO              MI   48420‐9760
MARTIN DUNGEY                    3563 COACHLIGHT COMMON ST                                                                                            LANSING           MI   48911‐4404
MARTIN DUNN                      2377 CHERYL ANN DR                                                                                                   BURTON            MI   48519‐1327
MARTIN DUNZ                      3252 SOUTHWEST DR                                                                                                    INDIANAPOLIS      IN   46241‐6257
MARTIN DZON                      29328 JEFFERSON AVE                                                                                                  ST CLAIR SHRS     MI   48081‐2601
MARTIN E & MAE CAROLINE TURNER   892 6TH ST                                                                                                           PETALUMA          CA   94952
TRUST
                                  09-50026-mg             Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
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Name                             Address1                               Address2                      Address3   Address4               City                  State Zip
MARTIN E CAMPBELL                3569 RAMBLEHURST CT                                                                                    BEAVERCREEK            OH 45430
MARTIN E GLUCK                   2404 STILLWATER DR                                                                                     TECUMSEH               MI 49286‐7775
MARTIN E MUNDY                   2075 STUMPHOLE BRIDGE RD                                                                               WILLIAMS               IN 47470‐9009
MARTIN E PULLEY II               3410 E 5TH ST                                                                                          DAYTON                 OH 45403‐2745
MARTIN E TEUTSCH                 4257 CLARIDGE DR                                                                                       YOUNGSTOWN             OH 44511‐1011
MARTIN EBBERT                    PO BOX 381                                                                                             SHIRLEY                IN 47384‐0381
MARTIN ECKARDT‐DUFFHAUSS         MARTIN ECKARDT                         SCHARNHORSTSTRASSE 183                   28211 BREMEN GERMANY
MARTIN EDWIN R (459186)          GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                     NORFOLK               VA 23510
                                                                        STREET, SUITE 600
MARTIN EICHELMANN                HUMPISSTR. 5                                                                    88094 OBERTEURINGEN,
                                                                                                                 GERMANY
MARTIN EICHLER                   28643 ALVIN ST                                                                                         GARDEN CITY           MI 48135‐2732
MARTIN EISENBERG                 ATTY FOR VOITH AG AND ITS AFFILIATES   SUITE 1000 , 50 MAIN ST                                         WHITE PLAINS          NY 10606

MARTIN ELECTRIC DIVISION         AV ELECTRIC INC                        PO BOX 951                                                      BLOOMFIELD            MI   48303‐0951
MARTIN EMMA                      25 NORTHWOOD DRIVE                                                                                     MC KENZIE             TN   38201‐1617
MARTIN ENGELHARDT                11383 BLOCK RD                                                                                         BIRCH RUN             MI   48415‐9430
MARTIN ENGELMEYER                1915 DYER DR                                                                                           MOORE                 OK   73160‐6040
MARTIN ENGELS                    M▄HLENWEG, 41B                         46519 ALPEN
MARTIN ENGELS                    MUEHLENWEG, 41B                        46519 ALPEN
MARTIN ENGINEERING CO            US RT 34                               1 MARTIN PLACE                                                  NEPONSET              IL   61345
MARTIN ENGINEERING CO            1 MARTIN PL                                                                                            NEPONSET              IL   61345‐9766
MARTIN ENGINEERING MICHIGAN      VIBRATION SYSTEMS & SOLUTIONS          990 DEGURSE AVE                                                 MARINE CITY           MI   48039‐1589
MARTIN ENGINEERING MICHIGAN IN   990 DEGURSE AVE                                                                                        MARINE CITY           MI   48039‐1589
MARTIN ERICA                     MARTIN, ERICA                          30 E BUTLER AVE                                                 AMBLER                PA   19002‐4514
MARTIN ESQUIBEL                  6014 CHINOOK DR                                                                                        BURTCHVILLE           MI   48059‐4323
MARTIN EUGENE E (429379)         GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                     NORFOLK               VA   23510
                                                                        STREET, SUITE 600
MARTIN EVANS SR                  294 MOLLIE LN                                                                                          MARSHALL              TX   75672‐5972
MARTIN F BUDINSKI                389 LAURA DRIVE                                                                                        ROCHESTER             NY   14626‐2131
MARTIN F GRISANTI                605 EVERGREEN DR                                                                                       TONAWANDA             NY   14150‐4644
MARTIN F HAUER                   63701 PLACE RD                                                                                         LENOX                 MI   48050‐2238
MARTIN F HENDERSON               4012 ROSE MARIE RD                                                                                     FRANKLIN              OH   45005‐4847
MARTIN F WEISENBORN              833 ADAMS AVE NW                                                                                       WARREN                OH   44483
MARTIN FABIANA                   MARTIN, FABIANA                        9828 S. ARTESIAN AVENUE                                         EVERGREEN PARK        IL   60805
MARTIN FEENEY                    5572 MADRID DR                                                                                         AUSTINTOWN            OH   44515‐4155
MARTIN FELMLEE                   4848 W WESTGATE DR                                                                                     BAY CITY              MI   48706‐2634
MARTIN FENTNER                   1502 SHORE CLUB DR                                                                                     ST CLAIR SHRS         MI   48080‐1550
MARTIN FERMAN                    8710 LINCOLN DR                                                                                        HUNTINGTN WDS         MI   48070‐1266
MARTIN FERNBACK                  6146 WEST BLVD                                                                                         YOUNGSTOWN            OH   44512‐2745
MARTIN FIGURSKI                  1514 DORTHEN ST                                                                                        GROSSE POINTE WOODS   MI   48236‐2514
MARTIN FINK                      SALINENSTRASSE 81                                                               67098 BAD DURKHEIM
                                                                                                                 GERMANY
MARTIN FINK                      SALINEUSTRASSE 81                                                               67098 BAD D▄RKHEIM,
                                                                                                                 GERMANY
MARTIN FITCH                     209 SIPPLE AVE                                                                                         AMHERST               OH   44001‐1503
MARTIN FLAHERTY                  19 COOK STREET                                                                                         HUDSON                PA   18705
MARTIN FLEMINGER                 1161 ANDREW ST                                                                                         SAGINAW               MI   48638‐6500
MARTIN FLUID POWER CO            1221 E 14 MILE RD                                                                                      TROY                  MI   48083‐4656
MARTIN FOLGERS                   3140 CARPENTER LN                                                                                      SAINT CLOUD           FL   34769‐1912
MARTIN FOSKUHL                   PO BOX 1429                                                                                            ANDERSON              IN   46015‐1429
MARTIN FOSS                      2144 4TH ST                                                                                            BAY CITY              MI   48708‐6305
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Name                         Address1                              Address2                         Address3   Address4             City              State Zip
MARTIN FOSTER                50325 BELLAIRE DR                                                                                      CHESTERFIELD       MI 48047‐2016
MARTIN FOUKES                6490 GARRISON RD                                                                                       DURAND             MI 48429‐9723
MARTIN FOULKES               1743 W VIEW TRL                                                                                        HOWELL             MI 48843‐8126
MARTIN FOX                   1322 JENKINSBURG RD                                                                                    LOCUST GROVE       GA 30248‐5032
MARTIN FRANK                 6407 PORCHER DR                                                                                        MYRTLE BEACH       SC 29572‐3319
MARTIN FRANK                 C/O COONEY AND CONWAY                 120 NORTH LASALLE 30TH FLOOR                                     CHICAGO             IL 60602
MARTIN FRANKLIN              7209 MANSIONS DR APT Q4                                                                                CORPUS CHRISTI     TX 78414‐3730
MARTIN FRANKOVICH            PO BOX 72                             150 POWER LANE                                                   MORANN             PA 16663‐0072
MARTIN FREDRICKSON           4881 N AGUA FRIA DR                                                                                    PRESCOTT VALLEY    AZ 86314‐5119
MARTIN FREE                  2222 MCEWAN ST                                                                                         SAGINAW            MI 48602‐3543
MARTIN FREEDMAN              616 SPRINGVIEW DR                                                                                      ROCHESTER          MI 48307‐6070
MARTIN FREIGHT SERVICE INC   112 FRICK AVE                                                                                          WAYNESBORO         PA 17268
MARTIN FREIMAN               5053 BRISTOR DR # X                                                                                    STERLING HTS       MI 48310
MARTIN FRENCEL               5787 BRADLEY RD                                                                                        NORTH OLMSTED      OH 44070‐3860
MARTIN FRENCH                8355 S BEYER RD                                                                                        BIRCH RUN          MI 48415‐8421
MARTIN FRENCH
MARTIN FROLLO                1350 S BRENNAN RD                                                                                      HEMLOCK           MI   48626‐9772
MARTIN FRUGE                 3555 CEDAR CREEK DR APT 914                                                                            SHREVEPORT        LA   71118‐2349
MARTIN FUERST                4131 MARIANNE DR                                                                                       DAYTON            OH   45404‐1370
MARTIN FUNKHOUSER            108 GREEN ST                                                                                           TIPTON            IN   46072‐1631
MARTIN FURSETH               9423 W EHRLINGER RD                                                                                    ORFORDVILLE       WI   53576‐9674
MARTIN G ONDREJKO            1329 VERNON AVE NW                                                                                     WARREN            OH   44483‐3736
MARTIN G T (657425)          LAW OFFICES OF MICHAEL B SERLING      280 N OLD WOODWARD AVE STE                                       BIRMINGHAM        MI   48009‐5394
                                                                   406
MARTIN G WEITZEL JR          204 STEVENS RD                                                                                         BALTIMORE         MD 21220‐2818
MARTIN GABRIEL (496401)      GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH        PA 15219

MARTIN GAIL                  C/O MARTIN AUTOMOTIVE GROUP           1065 ASHLEY ST STE 100                                           BOWLING GREEN     KY   42103‐3400
MARTIN GALL                  6328 W COLDWATER RD                                                                                    FLUSHING          MI   48433‐9038
MARTIN GALLAHER              2223 E JUDD RD                                                                                         BURTON            MI   48529‐2406
MARTIN GALLIS JR             PO BOX 3                                                                                               STUMP CREEK       PA   15863‐0003
MARTIN GANNON                17 STUART DR                                                                                           NORRISTOWN        PA   19401
MARTIN GARCHOW               710 TULANE ST                                                                                          SAGINAW           MI   48604‐2251
MARTIN GARDYNIK JR           35967 SUMMERS ST                                                                                       LIVONIA           MI   48154‐5265
MARTIN GARLAND K (413514)    GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA   23510
                                                                   STREET, SUITE 600
MARTIN GARTNER               MOOSLACKENGASSE 25                    1190 WIEN                                                        VIENNA
MARTIN GARTNER               MOOSLG 23                             1008 WIEN                                                        VIENNA
MARTIN GARY A (456394)       SKAGGS JOHN H                         405 CAPITOL STREET ‐ SUITE 607                                   CHARLESTON        WV   25301
MARTIN GARY R                8604 BRAY RD                                                                                           VASSAR            MI   48768‐9647
MARTIN GARZA JR              1314 W DODGE RD                                                                                        CLIO              MI   48420‐1674
MARTIN GATLIN                133 HAWKINS ST                                                                                         YPSILANTI         MI   48197‐5347
MARTIN GEIERSBACH            1197 W NEBOBISH RD                                                                                     ESSEXVILLE        MI   48732‐1557
MARTIN GELERMAN IRA          7971 ROCKFORD RD                                                                                       BOYNTON BEACH     FL   33472
MARTIN GENDERS               EICHEN 60                             53940 HELLENTHAL
MARTIN GENDERS               EICHEN 60                                                                         53940 HELLENTHAL
                                                                                                               GERMANY
MARTIN GENDERS               EICHEN 60                             53940
MARTIN GETSOIAN              28510 CLEVELAND ST                                                                                     LIVONIA           MI   48150‐3174
MARTIN GEYER                 3325 N HURDS CORNER RD                                                                                 CARO              MI   48723‐9163
MARTIN GIBAUD                32710 PARDO ST                                                                                         GARDEN CITY       MI   48135‐1275
MARTIN GITTINS               148 W STAGER LAKE DR                                                                                   CRYSTAL FALLS     MI   49920‐9576
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Name                                Address1                         Address2                        Address3   Address4                City              State Zip
MARTIN GLASER                       320 E VIENNA ST                                                                                     CLIO               MI 48420‐1425
MARTIN GLENN                        PO BOX 297                                                                                          BECHTELSVILLE      PA 19505‐0297
MARTIN GLUCK                        2404 STILLWATER DR                                                                                  TECUMSEH           MI 49286‐7775
MARTIN GLYNN                        612 FALLON AVE                                                                                      WILMINGTON         DE 19804‐2112
MARTIN GMC TRUCK                    12101 W OLYMPIC BLVD                                                                                LOS ANGELES        CA 90064‐1017
MARTIN GORDON                       25945 CONTINENTAL CIR                                                                               TAYLOR             MI 48180‐3197
MARTIN GOVEDNIK                     700 LACLAR                                                                                          OFALLON            MO 63366
MARTIN GRANDY                       241 CANVASBACK DR                                                                                   HVRE DE GRACE      MD 21078‐4254
MARTIN GRANGER                      304 E HILL ST                                                                                       DAVISON            MI 48423‐1215
MARTIN GREEN                        8555 76TH ST SE                                                                                     ALTO               MI 49302‐9287
MARTIN GREGORY                      1025 W DECAMP ST                                                                                    FLINT              MI 48507‐3317
MARTIN GRIESE                       MATHILDSTR 13                                                               53359 RHEINBACH
                                                                                                                GERMANY
MARTIN GRIESE                       MATHILDESTR. 13                                                                                     53359 RHEINBACH
MARTIN GRILL                        416 N JACKSON ST                                                                                    IONIA             MI    48846‐1777
MARTIN GRISANTI                     605 EVERGREEN DR                                                                                    TONAWANDA         NY    14150‐4644
MARTIN GROUND                       411 BLOOMINGDALE RD                                                                                 AKRON             NY    14001‐1145
MARTIN GUNTHER                      2265 STONEFIELD CT                                                                                  FLUSHING          MI    48433‐2663
MARTIN GUY                          13031 SANGUINETTI RD                                                                                SONORA            CA    95370‐5205
MARTIN GUZMAN                       11983 LAKEPOINTE ST                                                                                 DETROIT           MI    48224‐4111
MARTIN H MILLER                     5132 GABLE RIDGE LA                                                                                 HOLLY SPRINGS     NC    27540‐9304
MARTIN HAAS                         11981 TRINKLE RD                                                                                    DEXTER            MI    48130‐9445
MARTIN HABER CONSULTING ENGINEERS   520 8TH AVE 17TH FL                                                                                 NEW YORK          NY    10018

MARTIN HAGER                        12751 NS 3590                                                                                       WEWOKA            OK    74884‐5410
MARTIN HAHN                         2715 GUN AND ROD CLUB RD                                                                            HOUSTON           DE    19954‐2606
MARTIN HALL                         6558 HORNCLIFFE DR                                                                                  CLARKSTON         MI    48346‐3079
MARTIN HALL                         3235 EDMUNTON DR                                                                                    ROCHESTER HILLS   MI    48306‐2901
MARTIN HALVERSON                    3301 GRANGE HALL RD., APT A‐4                                                                       HOLLY             MI    48442
MARTIN HANSON                       5401 W BUSINESS 83 UNIT 1023                                                                        HARLINGEN         TX    78552‐3686
MARTIN HANSON JR                    11397 MCGREGOR CT                                                                                   PINCKNEY          MI    48169‐9523
MARTIN HASS                         114 JOEL LN                                                                                         CAMILLUS          NY    13031‐1007
MARTIN HATHAWAY                     15409 LONGFELLOW DR                                                                                 BYRON             MI    48418‐9805
MARTIN HAUER                        63701 PLACE RD                                                                                      LENOX             MI    48050‐2238
MARTIN HAUGH                        15464 MURRAY RD                                                                                     BYRON             MI    48418‐9049
MARTIN HAWK                         3671 GOLDNER LN SW                                                                                  WARREN            OH    44481‐8604
MARTIN HAYES                        PO BOX 9022                      CO GM BANGALORE                                                    WARREN            MI    48090‐9022
MARTIN HEATH                        5510 HOUSTON RD                                                                                     EATON RAPIDS      MI    48827‐9503
MARTIN HEFTER                       140 WILLOW LAKE DR                                                                                  OXFORD            MI    48371‐6376
MARTIN HEINTZ                       11158 E ATHERTON RD                                                                                 DAVISON           MI    48423‐9200
MARTIN HEINZMANN                    14 POST SIDE LN                                                                                     PITTSFORD         NY    14534‐9411
MARTIN HELDMAN                      338 STONEYBROOK GROVE DR                                                                            GREENWOOD         IN    46142‐2113
MARTIN HEMPSTEAD                    108 JANNA LN                                                                                        UNIONVILLE        TN    37180‐8680
MARTIN HENDERSON                    4012 ROSE MARIE RD                                                                                  FRANKLIN          OH    45005‐4847
MARTIN HERBERT (403900)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA    23510
                                                                     STREET, SUITE 600
MARTIN HERMAN (506416)              BARON & BUDD                     PLAZA SOUTH TWO ‐ SUITE 200 ‐                                      CLEVELAND         OH 44130
                                                                     7261 ENGLE ROAD
MARTIN HERNANDEZ                    6051 NORSE                                                                                          SAN ANTONIO        TX   78240‐5711
MARTIN HERNANDEZ JR                 C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                          HOUSTON            TX   77007
                                    BOUNDAS, LLP
MARTIN HERZOG                       408 N DEER TRACKS TRL                                                                               SAINT PETERS      MO 63376‐5907
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Name                           Address1                          Address2                       Address3              Address4               City             State Zip
MARTIN HICKS                   12202 N 22ND ST APT 221                                                                                       TAMPA             FL 33612‐4970
MARTIN HILDA                   3614 N EMERSON AVE                                                                                            INDIANAPOLIS      IN 46218‐1736
MARTIN HILLARY                 MARTIN, KEITH                     KIMMEL & SILVERMAN             30 EAST BUTLER PIKE                          AMBLER            PA 19002
MARTIN HILLARY                 MARTIN, HILLARY                   30 E BUTLER AVE                                                             AMBLER            PA 19002‐4514
MARTIN HNATIUK                 10369 N WEBSTER RD                                                                                            CLIO              MI 48420‐8534
MARTIN HOCH                    998 HIGH VISTA TRL                                                                                            WEBSTER           NY 14580‐1814
MARTIN HOEFFEL                 1768 ARROWHEAD CT                                                                                             DEFIANCE          OH 43512‐3355
MARTIN HOFMANN III             7310 FLAMINGO ST                                                                                              CLAY              MI 48001‐4132
MARTIN HOGAN                   4250 LAKE STISON DR                                                                                           WHITE LAKE        MI 48383‐3800
MARTIN HOLLERN                 4011 CASTLE LN N                                                                                              LAKE ISABELLA     MI 48893‐9368
MARTIN HOLLIS                  205 W 4TH ST                                                                                                  TILTON             IL 61833‐7420
MARTIN HOLME                   ERDFAELLENSTR 46                                                                       D‐31812 BAD PYRMONT
                                                                                                                      GERMANY
MARTIN HOLME                   ERDFAELLENSTR 46                  D‐31812 BAD PYRMONT, GERMANY

MARTIN HOLT                    261 TORTOISE BAY RD                                                                                           HIGDEN           AR   72067‐9107
MARTIN HORNICK                 1038 N SAGINAW ST                                                                                             SAINT CHARLES    MI   48655‐1022
MARTIN HORNIKEL                430 NEBRASKA AVE                                                                                              MC DONALD        OH   44437‐1519
MARTIN HOSKINS                 5326 LUNSFORD CIR                                                                                             INDIANAPOLIS     IN   46237‐2307
MARTIN HOUSER JR               8433 E POTTER RD                                                                                              DAVISON          MI   48423‐8175
MARTIN HOWIE JR                4021 HOWARD ST                                                                                                YOUNGSTOWN       OH   44512‐1106
MARTIN HUMMEL                  781 S MAPLE ISLAND RD                                                                                         HESPERIA         MI   49421‐8509
MARTIN HUNT                    PO BOX 545                                                                                                    PASADENA         MD   21123‐0545
MARTIN HUNT                    24814 ROAD L                                                                                                  CLOVERDALE       OH   45827‐9740
MARTIN HUNTER                  1005 SW 22ND ST                                                                                               BLUE SPRINGS     MO   64015‐4753
MARTIN HYDORN                  2310 RANCH RD                                                                                                 HOLLY            MI   48442‐8015
MARTIN I I, ELVIN L            2129 W COUNTY ROAD 600 S                                                                                      MUNCIE           IN   47302‐9142
MARTIN I I, JAMES P            2482 GRAND TRAVERSE CIR                                                                                       GRAND ISLAND     FL   32735‐9709
MARTIN IDROGO                  2824 GILLESPIE LN                                                                                             GRAND PRAIRIE    TX   75052‐0727
MARTIN IGNASINSKI JR           10511 MONROE COURT                                                                                            LAKE WALES       FL   33898‐6914
MARTIN II, DONALD J            8447 WILSON RD                                                                                                MONTROSE         MI   48457‐9199
MARTIN II, EFREN               2805 YORKFIELD CT                                                                                             ARLINGTON        TX   76001‐6952
MARTIN II, ELVIN LESLIE        2129 W COUNTY ROAD 600 S                                                                                      MUNCIE           IN   47302‐9142
MARTIN II, JOHN M              4322 RIDGE RD                                                                                                 CORTLAND         OH   44410‐9728
MARTIN II, ROBERT M            8072 BALDWIN RD                                                                                               GOODRICH         MI   48438‐9014
MARTIN II, VICTORIA E          3331 ALDRINGHAM RD                                                                                            TOLEDO           OH   43606‐1815
MARTIN III, JOSEPH F           6345 WILLIAMSON ST                                                                                            DEARBORN         MI   48126‐2174
MARTIN III, ROBERT C           254 CROSS TIMBERS ST                                                                                          OXFORD           MI   48371‐4704
MARTIN III, THEODORE N         2241 PAULETTE DR                                                                                              WOLVERINE LAKE   MI   48390‐2435
MARTIN III, THEODORE NEVILLE   2241 PAULETTE DR                                                                                              WOLVERINE LAKE   MI   48390‐2435
MARTIN III, WILLIAM T          2504 ARROWHEAD RD                                                                                             OKEMOS           MI   48864‐2004
MARTIN IMHOF                   8493 SADDLEWOOD DR                                                                                            BRIGHTON         MI   48116‐5204
MARTIN IMMKE                   ZILLESTR. 99C                                                                          10585 BERLIN GERMANY
MARTIN INFANTE                 232 PARK DR                                                                                                   KENSINGTON       CT   06037‐3817
MARTIN INTERNATIONAL INC       PO BOX 522                                                                                                    FORT WAYNE       IN   46801‐0522
MARTIN IRWIN                   406 TENNYSON AVE                                                                                              FLINT            MI   48507‐2663
MARTIN ISAAC                   8153 SASHABAW RIDGE DR                                                                                        CLARKSTON        MI   48348‐2943
MARTIN J BOTTAR                4856 KING GRAVES RD                                                                                           VIENNA           OH   44473‐9712
MARTIN J CANGIALOSI            28 BRU MAR DR                                                                                                 ROCHESTER        NY   14606‐5343
MARTIN J CANGIALOSI            28 BRU MAR DR                                                                                                 ROCHESTER        NY   14606‐5343
MARTIN J CORZINE               359 E NORMANDY DR                                                                                             ADDISON          IL   60101‐3968
MARTIN J FLEMINGER             1161 ANDREW ST                                                                                                SAGINAW          MI   48638
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Name                                Address1                             Address2                           Address3     Address4         City               State Zip
MARTIN J GOLDMAN                    28 RIDGEWOOD CIRCLE                                                                                   WILMINGTON          DE 19809
MARTIN J HAGAN                      153 MAIN ENTRANCE DR                                                                                  PITTSBURGH          PA 15228
MARTIN J KOHRS                      5026 JOSHUA DR                                                                                        WENTZVILLE          MO 63385‐4655
MARTIN J LENHARD                    267 SUNSET DR                                                                                         HOLLEY              NY 14470
MARTIN J LETSCHER                   5218 ALVA ST. N.W.                                                                                    WARREN              OH 44483‐1212
MARTIN J MAHER                      136 ELMCROFT RD                                                                                       ROCHESTER           NY 14609‐7743
MARTIN J MCINERNEY                  1855 RATHMOR                                                                                          BLOOMFIELD HILLS    MI 48304
MARTIN J MCINERNEY IRA              1855 RATHMOR                                                                                          BLOOMFIELD HILLS    MI 48304
MARTIN J MONROY                     18 N CLINTON ST                                                                                       BALTIMORE           MD 21224‐1404
MARTIN J PLOWMAN                    9554 E EATON HWY                                                                                      MULLIKEN            MI 48861‐9646
MARTIN J VAUGHAN                    4650 LONDEL AVE                                                                                       NORTH PORT          FL 34287‐7380
MARTIN J VITTANDS                   3030 W GRAND BLVD SUITE 9‐600                                                                         DETROIT             MI 48202
MARTIN J WILLETTE                   305 M SOPHIA ST                                                                                       BAY CITY            MI 48706‐4036
MARTIN J WOLFE 3D                   PO BOX 320011                                                                                         FLINT               MI 48532‐0001
MARTIN J. & VELIA BRAMANTE          103 SHORELINE PKWY                   STE 100                                                          SAN RAFAEL          CA 94901‐5582
MARTIN J. WAY
MARTIN JACK                         MARTIN, JACK                         2012 WASHTINTON STREET                                           CHARLESTON         WV    25312‐1409
MARTIN JACKSON                      7217 NE 175TH ST                     APT 222                                                          BOTHELL            WA    98028
MARTIN JACKSON                      10933 EDLIE CIR                                                                                       DETROIT            MI    48214‐3203
MARTIN JACKSON                      1454 SAINT CLAIR ST                                                                                   DETROIT            MI    48214‐3131
MARTIN JAMES                        733 EAST UNIVERSITY DRIVE                                                                             MESA               AZ    85203
MARTIN JAMES                        PO BOX 5                                                                                              SCOBEY             MT    59263‐0005
MARTIN JAMES (446104)               BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD         OH    44067
                                                                         PROFESSIONAL BLDG
MARTIN JAMES (ESTATE OF) (492619)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
MARTIN JAMES A ‐ IN (403118)        YOUNG RILEY DUDLEY & DEBROTA         3815 RIVER CROSSING PKWY STE 340                                 INDIANAPOLIS        IN   46240‐7808

MARTIN JAMES E (439302)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA 23510
                                                                         STREET, SUITE 600
MARTIN JAMES R (472109)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA 23510
                                                                         STREET, SUITE 600
MARTIN JANAS                        8541 SHARI DR                                                                                         WESTLAND           MI 48185‐1617
MARTIN JANDRIS                      THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES                  22ND FLOOR                    BALTIMORE          MD 21201

MARTIN JANSSEN                      BURGHERRENSTR. 3                     12101 BERLIN
MARTIN JAN▀EN                       BURGHERRENSTR. 3                                                                                      BERLIN                   12101
MARTIN JAN▀EN                       BURGHERRENSTR. 3                     12101 BERLIN
MARTIN JARRARD                      1014 WOODSIDE DR                                                                                      FLINT              MI    48503‐2732
MARTIN JASIN                        14333 BRENTWOOD ST                                                                                    LIVONIA            MI    48154‐4547
MARTIN JASON                        MARTIN, JASON                        501 NEW KARNER                                                   ALBANY             NY    12205
MARTIN JASON                        PO BOX 23822                                                                                          ALEXANDRIA         VA    22304‐9382
MARTIN JAVIER                       43844 GOSHEN FARM CT                                                                                  LEESBURG           VA    20176‐1631
MARTIN JAVORSKY                     2419 STATE ROUTE 7                                                                                    FOWLER             OH    44418‐9772
MARTIN JEANNE                       2334 BELMONT AVE                                                                                      WASHINGTON         PA    15301‐1517
MARTIN JEANNINE                     MARTIN, JEANNINE                     28000 WOODWARD AVE STE 201                                       ROYAL OAK          MI    48067‐0962
MARTIN JEFFREY (486885)             WEITZ & LUXENBERG                    180 MAIDEN LANE                                                  NEW YORK           NY    10038
MARTIN JEGEN                        1924 SPRINGBROOK N UNIT C                                                                             WAUKESHA           WI    53186‐1221
MARTIN JENNIFER                     MARTIN, JENNIFER                     120 WEST MADISON STREET , 10TH                                   CHICAGO            IL    60602
                                                                         FLOOR
                                      09-50026-mg            Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
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Name                                  Address1                           Address2                        Address3            Address4         City              State Zip
MARTIN JERRY                          MARTIN, JERRY                      17295 CHESTERFIELD AIRPORT ROAD
                                                                         SUITE 200 CHESTERFIELD, MO

MARTIN JIMMY RAY & TERESA MARTIN      MARTIN JIMMY RAY & TERESA MARTIN   ICO THE LANIER LAW FIRM         6810 FM 1960 WEST                    HOUSTON            TX   77069
MARTIN JOAN                           1533 MARCY DR                                                                                           FRUIT COVE         FL   32259‐5480
MARTIN JOHN                           1422 OAKWOOD DR                                                                                         MODESTO            CA   95350‐4851
MARTIN JOHN                           3947 MEADOW WOOD DR                                                                                     EL DORADO HILLS    CA   95762‐7545
MARTIN JOHN                           6721 BULL CREEK RD                                                                                      CHARLESTOWN        IN   47111‐9768
MARTIN JOHN A (489139)                MOTLEY RICE                        PO BOX 1792                                                          MT PLEASANT        SC   29465‐1792
MARTIN JOHN L                         MARTIN, JOHN L                     2325 GRANT BUILDING 330 GRANT                                        PITTSBURGH         PA   15219
                                                                         STREET
MARTIN JOHN R                         DBA JACK MARTIN & ASSOCIATES       9422 S SAGINAW RD                                                    GRAND BLANC       MI 48439‐9500
MARTIN JOHNNIE (ESTATE OF) (446105)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD        OH 44067
                                                                         PROFESSIONAL BLDG
MARTIN JOHNSON                        680 CINDY LN                                                                                            CHEBOYGAN         MI    49721‐9086
MARTIN JOHNSON                        13441 N BRAY RD                                                                                         CLIO              MI    48420‐9108
MARTIN JOHNSON                        3215 BEAVER RD                                                                                          BAY CITY          MI    48706‐8116
MARTIN JONES                          102 E PIKE ST                                                                                           LAURA             OH    45337‐7706
MARTIN JONES                          2786 HALLOCK YOUNG RD SW                                                                                WARREN            OH    44481‐9268
MARTIN JORDAN                         6778 GREENVIEW AVE                                                                                      DETROIT           MI    48228‐3435
MARTIN JOSEPH                         1268 CAVALCADE DR                                                                                       YOUNGSTOWN        OH    44515‐3840
MARTIN JOSEPH                         MARTIN, JOSEPH                     828 OUTER LANE                                                       LAFAYETTE         TN    37083
MARTIN JOSEPH K (493979)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK           VA    23510
                                                                         STREET, SUITE 600
MARTIN JOYCE                          4606 JOHN HANCOCK CT APT 103                                                                            ANNANDALE         VA    22003‐4995
MARTIN JR, ABEL                       3844 WEBBER ST                                                                                          SAGINAW           MI    48601‐4142
MARTIN JR, ALBERT                     W18039 WOLFE RD                                                                                         GERMFASK          MI    49836‐9215
MARTIN JR, ALFRED                     6921 MINERAL RIDGE DR                                                                                   EL PASO           TX    79912‐7694
MARTIN JR, ARTHUR                     15410 NORMANDY ST                                                                                       DETROIT           MI    48238‐2828
MARTIN JR, ARTHUR H                   8431 WEBSTER RD                    APT 5                                                                FREELAND          MI    48623‐8438
MARTIN JR, BENJAMIN F                 234 GRANTWOOD DRIVE                                                                                     WEST CARROLLTON   OH    45449‐5449
MARTIN JR, BILLIE J                   1616 SUSSEX CT                                                                                          PALMDALE          CA    93550‐6998
MARTIN JR, CALDWELL                   1529 LEXINGTON AVE                                                                                      DAYTON            OH    45402‐5637
MARTIN JR, CARL E                     6546 HIGHBURY RD                                                                                        HUBER HEIGHTS     OH    45424‐3017
MARTIN JR, CHARLES                    P.O. 5518                                                                                               FLINT             MI    48505
MARTIN JR, CHARLES F                  860 N GREECE RD                                                                                         ROCHESTER         NY    14626‐1028
MARTIN JR, CHARLES K                  2690 W BERRY RD                                                                                         TWINING           MI    48766‐9760
MARTIN JR, CHARLES W                  35616 EASTMONT DR                                                                                       STERLING HTS      MI    48312‐3539
MARTIN JR, CLARENCE                   3419 KELLAR AVE                                                                                         FLINT             MI    48504‐2147
MARTIN JR, CLAUDE M                   3735 CRICKET COVE RD E                                                                                  JACKSONVILLE      FL    32224‐8401
MARTIN JR, CLYDE                      16875 LINDSAY ST                                                                                        DETROIT           MI    48235‐3312
MARTIN JR, DONALD L                   209 W JONQUIL AVE                                                                                       MCALLEN           TX    78501‐1874
MARTIN JR, DONALD L                   12839 TURNER RD                                                                                         PORTLAND          MI    48875‐9489
MARTIN JR, DONALD LEROY               12839 TURNER RD                                                                                         PORTLAND          MI    48875‐9489
MARTIN JR, EDGAR L                    1003 SAN ANTONIO LN                                                                                     THE VILLAGES      FL    32159‐9303
MARTIN JR, FRANK                      3430 JEWELL AVE                                                                                         LANSING           MI    48910‐4625
MARTIN JR, GEORGE                     2201 CAMPBELL ST                                                                                        SANDUSKY          OH    44870‐4819
MARTIN JR, GEORGE J                   56 OAK LN                                                                                               LINDENWOLD        NJ    08021‐3937
MARTIN JR, GEORGE L                   8020 SIERRA GARDENS DR                                                                                  JACKSONVILLE      FL    32219‐1989
MARTIN JR, GEORGE LEE                 8020 SIERRA GARDENS DRIVE                                                                               JACKSONVILLE      FL    32219‐1989
MARTIN JR, GRADY                      678 NORFOLK AVE                                                                                         BUFFALO           NY    14215‐2765
MARTIN JR, GRANVILLE W                1436 ZIMMERMAN PL                                                                                       OLIVETTE          MO    63132‐1510
                               09-50026-mg           Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                           Address1                      Address2            Address3         Address4         City              State Zip
MARTIN JR, HAROLD G            8612 HEMLOCK CT                                                                     YPSILANTI          MI 48198‐3219
MARTIN JR, HARRY L             306 WYOMING AVE                                                                     FAIRFIELD          OH 45014‐1658
MARTIN JR, HENRY R             42834 RAVENSBOURNE PARK ST                                                          FREMONT            CA 94538‐3984
MARTIN JR, HENRY W             7195 S GEECK RD                                                                     DURAND             MI 48429‐9102
MARTIN JR, HERMAN              1230 ADAMS RD                                                                       BURTON             MI 48509‐2358
MARTIN JR, HUGH                1226 LINCOLN AVE                                                                    TOLEDO             OH 43607‐1807
MARTIN JR, HURDY L             19770 SANTA BARBARA DR                                                              DETROIT            MI 48221‐1649
MARTIN JR, IRA                 1525 NAUTILUS LN                                                                    HANOVER PARK        IL 60133‐6156
MARTIN JR, IRA J               PO BOX 538                                                                          MC HENRY           MD 21541‐0538
MARTIN JR, JACK                51 HEMLOCK ST                                                                       FRANKLIN           OH 45005‐1720
MARTIN JR, JAMES               55 NEOME DR                                                                         PONTIAC            MI 48341‐1133
MARTIN JR, JAMES C             8175 COON CLUB RD                                                                   MEDINA             OH 44256‐9183
MARTIN JR, JAMES F             687 TRUMBULL AVE SE                                                                 WARREN             OH 44484‐4569
MARTIN JR, JAMES L             103 RUSTIC ST                                                                       ROCHESTER          NY 14609‐3510
MARTIN JR, JEFFREY H           2909 WARBLER WAY                                                                    WEST CARROLLTON    OH 45449‐3318
MARTIN JR, JERRY               1404 DEVONHURST DR                                                                  COLUMBUS           OH 43232‐1523
MARTIN JR, JOHN D              10714 E 63RD ST                                                                     RAYTOWN            MO 64133‐5308
MARTIN JR, JOHN R              6160 PORTERIDGE LN                                                                  CANTON             MI 48187‐2627
MARTIN JR, JOSEPH              9074 CLIPPERT ST                                                                    TAYLOR             MI 48180‐2827
MARTIN JR, JOSEPH F            1938 WAREHAM RD                                                                     BALTIMORE          MD 21222‐4626
MARTIN JR, JOSEPH L            2124 KIPLING DR                                                                     DAYTON             OH 45406‐2605
MARTIN JR, KENNETH R           703 HELEN ST                                                                        MOUNT DORA         FL 32757‐4877
MARTIN JR, LARRY               4248 DOUGLAS RD                                                                     TOLEDO             OH 43613‐3837
MARTIN JR, LAWRENCE L          2023 HAMELON STREET                                                                 LANSING            MI 48910‐4835
MARTIN JR, LEANDER             520 GREEN HAVEN DR                                                                  SWANSEA             IL 62226‐1801
MARTIN JR, LEWIS               4106 RANDOLPH RD                                                                    JANESVILLE         WI 53546‐4000
MARTIN JR, LLOYD V             PO BOX 94                                                                           OAKWOOD             IL 61858‐0094
MARTIN JR, MANUEL              5765 BROOKFARM DR SE                                                                KENTWOOD           MI 49508‐6575
MARTIN JR, MATTHEW             2208 SKYLINE DR                                                                     KALAMAZOO          MI 49006‐1420
MARTIN JR, NORBERT A           7573 FAIRVIEW DR                                                                    LOCKPORT           NY 14094‐1609
MARTIN JR, OTIS                715 17TH AVE                                                                        MIDDLETOWN         OH 45044‐5634
MARTIN JR, RAYMOND A           11 5 OAKS DR                                                                        SAGINAW            MI 48638‐5906
MARTIN JR, RICHARD C           203 WREN WAY                                                                        SIMPSONVILLE       SC 29681‐5833
MARTIN JR, ROBERT H            838 BAILEY ANDERSON RD                                                              LEAVITTSBURG       OH 44430‐9407
MARTIN JR, ROGER L             5015 N LAWN AVE                                                                     KANSAS CITY        MO 64119‐3755
MARTIN JR, ROY R               31565 JOHN HAUK ST                                                                  GARDEN CITY        MI 48135‐1412
MARTIN JR, STEVE G             16355 HEISER RD                                                                     BERLIN CENTER      OH 44401‐8711
MARTIN JR, THOMAS L            2218 N CENTER RD                                                                    BURTON             MI 48509‐1003
MARTIN JR, THOMAS L            1202 BROENING HWY                                                                   BALTIMORE          MD 21224‐5527
MARTIN JR, WALTER T            8338 PORT AUSTIN RD                                                                 SAND POINT         MI 48755‐9749
MARTIN JR, WILLIAM D           190 WESTVIEW COMMONS BLVD     APT E                                                 ROCHESTER          NY 14624
MARTIN JR, WILLIAM H           605 ALABASTER PL                                                                    CEDAR HILL         TX 75104‐1757
MARTIN JR, WILLIAM L           455 PRESTONWOOD DR                                                                  SHREVEPORT         LA 71115‐3723
MARTIN JR, WILLIAM L           915 S ROSEWOOD DR                                                                   MONETT             MO 65708‐1234
MARTIN JR, WILLIAM L           6405 GRAHAM CIR                                                                     KEITHVILLE         LA 71047‐8907
MARTIN JR, WILLIAM LAWERANCE   6405 GRAHAM CIR                                                                     KEITHVILLE         LA 71047‐8907
MARTIN JR., CALVIN             245 LINWOOD AVE APT 6C                                                              BUFFALO            NY 14209‐1817
MARTIN JR., CALVIN             245 COURTLAND AVE                                                                   BUFFALO            NY 14215‐3561
MARTIN JR., CHARLES L          350 IVY                                                                             BELLEVILLE         MI 48111‐1757
MARTIN JR., CHARLES LEROY      350 IVY                                                                             BELLEVILLE         MI 48111‐1757
MARTIN JR., MARVIN E           8984 SPRINGWOOD BLVD                                                                BELLEVILLE         MI 48111‐7400
MARTIN JR., MARVIN EARL        8984 SPRINGWOOD BLVD                                                                BELLEVILLE         MI 48111‐7400
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Name                        Address1                           Address2                        Address3   Address4               City              State Zip
MARTIN JR., PERRY           PO BOX 515                                                                                           SANTA CRUZ         CA 95061‐0515
MARTIN JR., THOMAS R        2333 ELMHURST AVE                                                                                    ROYAL OAK          MI 48073‐3862
MARTIN JUAREZ               10619 N CHARLOTTE ST                                                                                 KANSAS CITY        MO 64155‐1539
MARTIN JUDY                 MARTIN, JUDY                       27 BOBCAT LANE                                                    DAHLONEGA          GA 30533‐4719
MARTIN JULIAN               320 SCHOOLHOUSE RD                                                                                   FRANKLIN           IN 46131‐1133
MARTIN K CLARK              2812 IDLEWOOD AVE                                                                                    YOUNGSTOWN         OH 44511
MARTIN K MATSUI             APT 4A WOODLAND HEIGHTS                                                       2 WONG NAI CHUNG GAP
                                                                                                          HONG KONG CHINA
MARTIN K MAYER              4040 S DUCK CREEK RD                                                                                 NORTH JACKSON     OH   44451‐9783
MARTIN K WARNER             2078 SPRUCE WAY                                                                                      CLIO              MI   48420‐2408
MARTIN KAPUSTA              PO BOX 60                                                                                            SLICKVILLE        PA   15684‐0060
MARTIN KAREN                18223 SOLEDAD CANYON RD APT 4                                                                        CANYON COUNTRY    CA   91387‐3567
MARTIN KAREN L              MARTIN, KAREN L                    2325 GRANT BUILDING 310 GRANT                                     PITTSBURGH        PA   15219
                                                               STREET
MARTIN KATONA               PO BOX 399                                                                                           GENESEE           MI   48437‐0399
MARTIN KATTERHEINRICH       216 JOHNSON CIR                                                                                      DEFIANCE          OH   43512‐1766
MARTIN KEITH                PO BOX 4797                                                                                          PORTLAND          OR   97208‐4797
MARTIN KEITH                1789 SW BOYER RD                                                                                     EL DORADO         KS   67042‐8984
MARTIN KELSEY               11760 S US HIGHWAY 27                                                                                DEWITT            MI   48820‐8379
MARTIN KENLY                3102 GLENCAIRN AVE                                                                                   TOLEDO            OH   43614‐3816
MARTIN KENNEDY              1015 FOREST DR                                                                                       LINDEN            NJ   07036‐6003
MARTIN KENNETH R (411013)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
                                                               STREET, SUITE 600
MARTIN KENTON J (408886)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA 23510
                                                               STREET, SUITE 600
MARTIN KIDD                 5473 MILLINGTON RD                                                                                   MILLINGTON        MI 48746‐8700
MARTIN KILINSKI             32 JASMINE RD                      C/O ALEXANDER AND NORMA                                           ROCHESTER         NY 14624‐2952
                                                               KILINSKI
MARTIN KING                 3000 MOUNT HOPE RD LOT 19                                                                            GRASS LAKE        MI   49240‐8906
MARTIN KINSEY               9283 WOODSIDE TRL                                                                                    SWARTZ CREEK      MI   48473‐8565
MARTIN KIRSCH               6725 PENN AVE S                                                                                      RICHFIELD         MN   55423
MARTIN KITTNER              PO BOX 121                                                                                           TIONA             PA   16352
MARTIN KLEER                5623 80TH ST N APT 105                                                                               ST PETERSBURG     FL   33709‐5817
MARTIN KLEIMAN              PO BOX 212                                                                                           CROSS JUNCTION    VA   22625‐0212
MARTIN KLING                1495 WOODHAVEN RD                                                                                    HOWELL            MI   48855‐9306
MARTIN KLINK                DANZIGERSTR 2A                                                                63454 HANAU GERMANY
MARTIN KOENIG               87 ALTA VISTA RD                                                                                     DAHLONEGA         GA 30533‐5366
MARTIN KOHN                 OLOF PALME STR 7                                                              D‐60439 FRANKFURT
                                                                                                          GERMANY
MARTIN KOHRS                5026 JOSHUA DR                                                                                       WENTZVILLE        MO   63385‐4655
MARTIN KOLENKO              1173 DODGE RD                                                                                        GETZVILLE         NY   14068‐1386
MARTIN KOLISER SR           2373 INNWOOD DR                                                                                      AUSTINTOWN        OH   44515‐5153
MARTIN KOLM                 117 E FAUBLE ST                                                                                      DURAND            MI   48429‐1652
MARTIN KOOIMAN JR           3069 LINCOLN LAKE AVE NE                                                                             LOWELL            MI   49331‐9712
MARTIN KOTTHOFF             SCHEEWEG 2                                                                    57392 SCHMALLENBERG
                                                                                                          GERMANY
MARTIN KOTULA               174 JERSEY ST                                                                                        SOUTH AMBOY       NJ   08879‐2141
MARTIN KOZEN                4424 OLD SALEM RD                                                                                    ENGLEWOOD         OH   45322‐2638
MARTIN KRAMER               7262 INGOMAR LN                                                                                      CLARKSTON         MI   48348‐5402
MARTIN KRISTYN              MARTIN, KRISTYN                    2987 CLAIRMONT RD NE STE 130                                      ATLANTA           GA   30329‐1687
MARTIN KROETSCH             7501 RAUSCHELBACH ST                                                                                 SHELBY TOWNSHIP   MI   48317‐2368
MARTIN KROL                 2207 COLUMNS CIR                                                                                     SEMINOLE          FL   33772‐5349
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Name                              Address1                         Address2                     Address3         Address4             City              State Zip
MARTIN KRONITIS                   3469 TREE LN                                                                                        NORTH OLMSTED      OH 44070‐1682
MARTIN KRUEGER                    781 SNOWMASS DR                                                                                     ROCHESTER HILLS    MI 48309‐1326
MARTIN KRUMAR                     BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                         BOSTON HEIGHTS     OH 44236
MARTIN KUHLMAN                    8791 ROAD F6                                                                                        LEIPSIC            OH 45856‐9410
MARTIN KUR                        12740 TWIN PINES DR                                                                                 CHARLEVOIX         MI 49720‐8903
MARTIN KURILY                     6765 POWERS CT                                                                                      SHELBY TOWNSHIP    MI 48317‐2235
MARTIN KWIATKOWSKI                3351 LIGHTHOUSE POINT LN                                                                            JACKSONVILLE       FL 32250‐2343
MARTIN L AND ROSLYN H SCHECKNER   PO BOX 6658                                                                                         MIAMI              FL 33256
MARTIN L CHANDLER                 301 RED OAK RD                                                                                      MADISON            AL 35758‐1540
MARTIN L CLAREY                   15 GALWAY DR                                                                                        ROCHESTER          NY 14623‐5207
MARTIN L COLLINS                  125 KENSINGTON ST                                                                                   MIDDLETOWN         OH 45044
MARTIN L CULLEN                   903 GLORRY LANE                                                                                     NARVON             PA 17555
MARTIN L PALICH                   3236 YORK ST.                                                                                       FARMDALE           OH 44417
MARTIN L ROBERTS                  105 W WALKER ST                                                                                     GAINES             MI 48436‐9651
MARTIN L TREAT                    319 WHISPER LN                                                                                      XENIA              OH 45385
MARTIN L. SCHECKNER TRUSTEE       UA 02‐27‐05 FIRST AMENDMENT TO   ANN SCHECKNER LIVING TRUST   PO BOX 6058                           MIAMI              FL 33256
                                  AMENDED AND RESTATED
MARTIN LA VOY                     228 W 6TH ST                                                                                        MONROE            MI    48161‐2377
MARTIN LACHAPELLE                 8862 E MAIN ST                                                                                      GALESBURG         MI    49053‐9746
MARTIN LAFAYETTE                  17173 ORCHARD RIDGE RD                                                                              NORTHVILLE        MI    48168‐4370
MARTIN LAMB                       4684 17TH ST                                                                                        WYANDOTTE         MI    48192‐7030
MARTIN LAND DEVELOPMENT CORP      MARTIN MANAGEMENT GRP            ATTN LEE BECKMAN             1065 ASHLEY ST                        BOWLING GREEN     KY    42103
MARTIN LAND DEVELOPMENT           1065 ASHLEY STREET                                                                                  BOWLING GREEN     KY    42103
CORPORATION C/O MARTIN
MANAGEMENT GROUP
MARTIN LARRY & DARLENE            7601 HIGHLAND AVE SW                                                                                WARREN            OH    44481‐9637
MARTIN LAURENT                    1129 S SUMMIT RDG                                                                                   SANTA FE          NM    87501‐8321
MARTIN LAVERY                     PO BOX 454                                                                                          FOOTVILLE         WI    53537‐0454
MARTIN LAWRENCE                   7252 KATRIN DR                                                                                      WEST BLOOMFIELD   MI    48322‐3558
MARTIN LEACH                      341 W MOUNT MORRIS ST                                                                               MOUNT MORRIS      MI    48450‐1843
MARTIN LEANDER JR                 520 GREEN HAVEN DR                                                                                  SWANSEA            IL   62226‐1801
MARTIN LEE                        288 WILLOW ST APT 71                                                                                LOCKPORT          NY    14094‐5557
MARTIN LEITNER                    KONIGSBERGER STR 18                                                            D‐82319 STARNBERG
                                                                                                                 GERMANY
MARTIN LEOPOLD                    1120 CREEKWOOD WAY N                                                                                JACKSONVILLE      FL    32259‐2977
MARTIN LESHER                     23446 15 MILE RD                                                                                    BELLEVUE          MI    49021‐9512
MARTIN LESLIE                     804 EDWARDS DR                                                                                      FRANKLIN          TN    37064‐2011
MARTIN LESNAK                     7629 BUCHANAN DR                                                                                    BOARDMAN          OH    44512‐5704
MARTIN LETSCHER                   5218 ALVA AVE NW                                                                                    WARREN            OH    44483‐1212
MARTIN LEVALLEY                   4838 SPRUCE ST                                                                                      CASS CITY         MI    48726‐1023
MARTIN LEVEN                      6192 N SHORE DR                                                                                     WEST BLOOMFIELD   MI    48324‐2143
MARTIN LEVY                       1 CATALINA CT                                                                                       SUFFERN           NY    10901‐1801
MARTIN LIEPERT                    KARWENDELSTRASSE 38                                                            81369 MUENCHEN
                                                                                                                 GERMANY
MARTIN LIEPERT                    KARWENDELSTRA▀E 38               81369 M▄NCHEN
MARTIN LIGHT                      14707 LEADWELL ST                                                                                   VAN NUYS          CA    91405‐1810
MARTIN LINDER                     744 N HANOVER ST                                                                                    LEBANON           PA    17046‐3025
MARTIN LINDISH                    5000 W 122ND ST APT 2A                                                                              ALSIP             IL    60803‐3154
MARTIN LINDSEY                    5124 HEATHER DR W104                                                                                DEARBORN          MI    48126
MARTIN LINTON                     8222 FAIRWAY DR                                                                                     MERIDIAN          MS    39305‐8709
MARTIN LIPKOVICH                  3245 QUENTIN DR                                                                                     YOUNGSTOWN        OH    44511‐1203
MARTIN LISA                       1060 HIGHWAY 1383                                                                                   RUSSELL SPRINGS   KY    42642‐8750
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Name                              Address1                            Address2                       Address3   Address4               City               State Zip
MARTIN LISIECKI                   11176 WEALTHY LN                                                                                     BRUCE TWP           MI 48065‐5332
MARTIN LISS, IRA                  20 WEST 64 STREET APT 31L                                                                            NEW YORK            NY 10023
MARTIN LOCKHART                   203 E OTWAY ST APT 4A                                                                                ODESSA              MO 64076‐1197
MARTIN LOLLIE                     14103 HARRISON DR                                                                                    WARREN              MI 48088‐5134
MARTIN LOOK                       2189 FIRWOOD DR                                                                                      DAVISON             MI 48423‐9524
MARTIN LOPEZ                      14281 WILLIAMS RD                                                                                    DEFIANCE            OH 43512‐8830
MARTIN LOTT                       11310 MEADOWS DR                                                                                     FISHERS             IN 46038‐2933
MARTIN LOUTER                     JULIANAWEG 71A                                                                1949 AP WIJK AAN ZEE
                                                                                                                NETHERLANDS
MARTIN LOVE                       201 KENMORE AVE SE                                                                                   WARREN             OH    44483‐6146
MARTIN LOZANO                     1015 AVONDALE ST                                                                                     SAN JOSE           CA    95129‐2802
MARTIN LUANNE                     12784 FIELDS RD                                                                                      BANNING            CA    92220‐6933
MARTIN LUCAS                      700 N REDWOOD DR                                                                                     INDEPENDENCE       MO    64056‐1939
MARTIN LUDWIG                     720 W BROADWAY ST                                                                                    VIROQUA            WI    54665‐1017
MARTIN LUEKER                     6216 TURNER RD                                                                                       FLUSHING           MI    48433‐9231
MARTIN LUNDE                      6425 E KNOLL DRIVE APT#137                                                                           GRAND BLANC        MI    48439
MARTIN LUTHER COLLEGE             1995 LUTHER CT                                                                                       NEW ULM            MN    56073‐3965
MARTIN LUTHER KING COMMISSION     PO BOX 24112                                                                                         LANSING            MI    48909‐4112
MARTIN LUTHER KING JR CLUB        PO BOX 15694                                                                                         FORT WAYNE         IN    46885‐5694
MARTIN LUTZENKIRCHEN              4634 ARIEL DR                                                                                        LUDINGTON          MI    49431‐9014
MARTIN LYNCH                      6561 HURDS CORNER RD                                                                                 SILVERWOOD         MI    48760‐9703
MARTIN LYNDELL                    446 N BAILEY ST                                                                                      ROMEO              MI    48065‐4710
MARTIN M HEBERLING II             350 PENFIELD AVE                                                                                     ELYRIA             OH    44035‐3237
MARTIN M MEYERS                   128 DELLWOOD SQ S                                                                                    SAINT PAUL         MN    55128
MARTIN M PHILLIPS                 2426 E FRANCES RD                                                                                    CLIO               MI    48420‐9769
MARTIN M RORER                    1725 CARRIAGE LN                                                                                     LAPEER             MI    48446‐1276
MARTIN MAAS                       18012 TRUDY DR                                                                                       SPRING LAKE        MI    49456‐1559
MARTIN MAC                        912 LOWER CREEK DR NE                                                                                LENOIR             NC    28645‐4557
MARTIN MACDONALD                  1263 BAY HL                                                                                          WATERFORD          MI    48327‐1480
MARTIN MADSEN                     2228 NIAGARA AVE                                                                                     NIAGARA FALLS      NY    14305‐3026
MARTIN MAGENHEIMER                144 STEPHEN F AUSTIN DR                                                                              KERRVILLE          TX    78028‐8102
MARTIN MAGGIO                     133 HUDSON AVE                                                                                       NORTH MIDDLETOWN   NJ    07748‐5521
MARTIN MANAGEMENT GROUP           ATTN: LEE BECKMAN                   1065 ASHLEY STREET                                               BOWLING GREEN      KY    42103
MARTIN MANLEY                     1039 N OLD WOODWARD AVE             UNIT 5                                                           BIRMINGHAM         MI    48009‐5411
MARTIN MANN                       1804 SE 178TH AVE                                                                                    SILVER SPRINGS     FL    34488‐6152
MARTIN MANNING                    505 1ST ST                                                                                           LA FAYETTE         GA    30728‐2439
MARTIN MANOWSKY                   STEINESTR.71
MARTIN MANOWSKY                   STEINESTR.71                        71665 VAIHINGEN
MARTIN MANUEL P (468652)          WILENTZ GOLDMAN & SPITZER           88 PINE STREET , WALL STREET                                     NEW YORK           NY 10005
                                                                      PLAZA
MARTIN MARI/BX 2009               PO BOX 2009                                                                                          OAK RIDGE          TN    37831‐2009
MARTIN MARIETTA MATERIALS, INC.   JENNIFER WUELLNER                   2710 WYCLIFF RD                                                  RALEIGH            NC    27607‐3033
MARTIN MARKIEWICZ                 3509 CASCADE CIR                                                                                     ROCHESTER HILLS    MI    48307‐5172
MARTIN MARLIN                     PO BOX 11805                                                                                         FORT SMITH         AR    72917‐1805
MARTIN MARQUEZ                    279 W PRINCETON AVE                                                                                  PONTIAC            MI    48340‐1739
MARTIN MARSHALL                   3608 ROYAL FERN CIR                                                                                  DELAND             FL    32724‐1223
MARTIN MARTHA                     70 MARKEY ST                                                                                         BELLVILLE          OH    44813‐1044
MARTIN MARTINEZ                   1355 DALTON RD                                                                                       TOLEDO             OH    43612‐4208
MARTIN MARUSEWSKI                 44 MERRIMAC ST                                                                                       BUFFALO            NY    14214‐1109
MARTIN MARVIN D (429380)          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA    23510
                                                                      STREET, SUITE 600
MARTIN MARY                       1434 OLD GREENS RD                                                                                   HOUSTON             TX   77032‐1114
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Name                         Address1                       Address2                      Address3   Address4              City                State Zip
MARTIN MAURY G JR (429381)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                    NORFOLK              VA 23510
                                                            STREET, SUITE 600
MARTIN MAYER                 4040 S DUCK CREEK RD                                                                          NORTH JACKSON       OH    44451‐9783
MARTIN MC ALLISTER           354 ORCHARD RD                                                                                GRAND ISLAND        NY    14072‐3032
MARTIN MC GEOGH              2121 LAUREL OAK DR                                                                            HOWELL              MI    48855‐7676
MARTIN MC INTOSH             129 TWO BUMPS RD                                                                              ENNIS               MT    59729‐9162
MARTIN MCCARTY               4100 MIDLAND RD E                                                                             WATERFORD           MI    48329‐2038
MARTIN MCGAHA                546 HOLLERING HILL RD                                                                         CAMDEN WYO          DE    19934‐3029
MARTIN MCGINNIS              1633 WALDO ST SE                                                                              PALM BAY            FL    32909‐5912
MARTIN MCGOWEN               4236 LAKE KNOLLS DR                                                                           OXFORD              MI    48371‐5414
MARTIN MCKINZIE              31 LOGAN CROSSING CIR                                                                         O FALLON            MO    63366‐1497
MARTIN MCMAHON               5 TIBBETTS AVE                                                                                DANVERS             MA    01923‐3913
MARTIN MCMILLIN              605 SHADY CREEK DR                                                                            GREENWOOD           IN    46142‐1248
MARTIN MCNULTY               23 GARRY DR                                                                                   MEDFIELD            MA    02052‐3302
MARTIN MCSKULIN              122 SUMMIT DR                                                                                 LAPEER              MI    48446‐1400
MARTIN MCSWAIN               25426 VIRGINIA DR                                                                             WARREN              MI    48091‐3799
MARTIN MD                    4323 CAROTHERS PKWY STE 608                                                                   FRANKLIN            TN    37067‐5922
MARTIN MEEKER                500 LEXINGTON AVE                                                                             MANSFIELD           OH    44907‐1582
MARTIN MEEKS                 1190 E ALMA AVE                                                                               FLINT               MI    48505‐2314
MARTIN MEESMANN              IM POSTHOF 55                                                                                 N▄RNBERG                  90461
MARTIN MEIDA                 4798 ADAMS RD                                                                                 GLADWIN             MI    48624‐8921
MARTIN MEIER                 7 LONGVIEW DR                  RD 11 BOX 37                                                   MAHOPAC             NY    10541‐4854
MARTIN MELISSA               MARTIN, MELISSA                230 ALBERBURY COMMONS CT                                       WAKE FOREST         NC    27587‐5002
MARTIN MELODY LLC            44 SYCAMORE AVE STE 3A                                                                        LITTLE SILVER       NJ    07739‐1242
MARTIN MENDELSON I I I       26242 WOODINGHAM DR                                                                           WARREN              MI    48091‐6103
MARTIN MENDEZ                1761 PHILLIPS DR                                                                              NORTHGLENN          CO    80233‐1380
MARTIN MERSHON               PO BOX 121                                                                                    ALTUS               AR    72821
MARTIN MERZ                  3255 GREY RD                                                                                  FREELAND            MI    48623‐9473
MARTIN METHODIST COLLEGE     BUSINESS OFFICE                433 W MADISON ST                                               PULASKI             TN    38478‐2716
MARTIN METZGER               9882 MARBLE RD                                                                                DELEVAN             NY    14042‐9464
MARTIN MEYER                 ECKERKAMP 121                                                           22391 HAMBURG
MARTIN MEYER                 24765 EDGEMONT DR                                                                             SOUTHFIELD          MI 48033‐6436
MARTIN MEYERS                8653 AFTON RD                                                                                 AFTON               MI 49705‐9705
MARTIN MICHAEL DELHEY        GARYSTR. 96                                                                                   14195 BERLIN
MARTIN MICHELLE              MARTIN, MICHELLE               321 S HARVEY AVE                                               ST. LOUIS           MO    63135‐2509
MARTIN MIDDLER               2238 120TH ST                                                                                 LOWDEN               IA   52255‐9513
MARTIN MILLER                14200 S HAVEN RD                                                                              GRANDVIEW           MO    64030‐4059
MARTIN MILLER                C/O WEITZ & LUXENBERG PC       700 BROADWAY                                                   NEW YORK CITY       NY    10003
MARTIN MINARD                10440 PAMPLONA ST NW                                                                          ALBUQUERQUE         NM    87114‐5597
MARTIN MISSIG                34934 RICHARD ST                                                                              WAYNE               MI    48184‐2385
MARTIN MOELLMANN             GRUNIGERSTR 17                                                          33102 PADERBORN
                                                                                                     GERMANY
MARTIN MOLLOY                101 PONTIAC RD                                                                                QUINCY              MA    02169‐2423
MARTIN MONSEES               602 SAINT LOUIS AVE                                                                           EXCELSIOR SPRINGS   MO    64024‐2614
MARTIN MONTE                 2133 EARLMONT RD                                                                              BERKLEY             MI    48072‐1835
MARTIN MOON                  706 W OHIO ST                                                                                 BAY CITY            MI    48706‐4261
MARTIN MORA                  6186 MCCANDLISH RD                                                                            GRAND BLANC         MI    48439‐7431
MARTIN MORA                  22980 W HARRIS RD                                                                             BRANT               MI    48614‐8717
MARTIN MORALES               2441 ALCOTT ST                                                                                FLINT               MI    48509‐1143
MARTIN MORENO                7152 DODGE RD                                                                                 MONTROSE            MI    48457‐9136
MARTIN MORITZ JR             6020 S GRAHAM RD                                                                              SAINT CHARLES       MI    48655‐9535
MARTIN MORSE                 465 AMBERWOOD ST                                                                              AUBURN HILLS        MI    48326‐1127
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Name                               Address1                         Address2                        Address3                 Address4         City               State Zip
MARTIN MOSELEY                     385 CHARBRIDGE ARBOR                                                                                       LAPEER              MI 48446‐1749
MARTIN MOTOR SPORTS LLC            55390 LYON INDUSTRIAL DR                                                                                   NEW HUDSON          MI 48165‐8544
MARTIN MOTORS                      3105 N NEVADA ST                                                                                           SPOKANE             WA 99207‐2875
MARTIN MOTORSPORTS LLC             55390 LYON INDUSTRIAL DR                                                                                   NEW HUDSON          MI 48165‐8544
MARTIN MOWER                       4802 TEXAS RD                                                                                              WELLSVILLE          KS 66092‐8799
MARTIN M▄LLER                      K╓LNER STRASSE 15                                                                                          BERLIN
MARTIN MUNDY                       2075 STUMPHOLE BRIDGE RD                                                                                   WILLIAMS           IN    47470‐9009
MARTIN MURPHY                      28541 PINTO DR                                                                                             WARREN             MI    48093‐4208
MARTIN MURRAY                      1952 BLOOMFIELD OAKS DR                                                                                    W BLOOMFIELD       MI    48324‐1294
MARTIN MUSHLOCK                    103 S LAUREL CIR                                                                                           COLUMBIA           TN    38401‐2022
MARTIN MUSOLF                      1060 AARON DR APT 203                                                                                      DEWITT             MI    48820‐7973
MARTIN MYERS                       6675 KY HIGHWAY 2141                                                                                       HUSTONVILLE        KY    40437‐8601
MARTIN N BERMAN                    4538 IDE RD                                                                                                WILSON             NY    14172‐9643
MARTIN N GYOMBER                   30 SCENIC DR                                                                                               DENVER             PA    17517
MARTIN N SHALES                    2444 BAZETTA RD. N E                                                                                       WARREN             OH    44481
MARTIN NAGEL                       4390 INDIAN CAMP TRL                                                                                       HOWELL             MI    48855‐7707
MARTIN NANCY                       EXECUTRIX FOR HAROLD H MARTIN    14250 BROOKRIDGE BLVD                                                     BROOKSVILLE        FL    34613‐5705
MARTIN NATSUHARA                   37073 LASSEN ST                                                                                            FREMONT            CA    94536‐5723
MARTIN NEAL                        169 STONEWALL LN                                                                                           LA FOLLETTE        TN    37766‐5212
MARTIN NEISLER                     4344 E CARPENTER RD                                                                                        FLINT              MI    48506‐1087
MARTIN NGUYEN                      PO BOX 52621                                                                                               IRVINE             CA    92619‐2621
MARTIN NINO ORTIZ INDIVIDUALLY     ATTN JOSH W HOPKINS              SICO WHITE HOELSCHER & BRAUGH 802 NORTH CARANCAHUA STE                    CORPUS CHRISTI     TX    78470‐0116
                                                                    LLP                             900
MARTIN NINO ORTIZ, INDIVIDUALLY    ATTN: JOSH W HOPKINS             SICO, WHITE, HOELSCHER & BRAUGH 802 NORTH CARANCAHUA,                     CORPUS CHRISTI      TX   78470
                                                                    LLP                             SUITE 900
MARTIN NOVOTNY                     BRENT COON & ASSOCIATES          215 ORLEANS                                                               BEAUMONT           TX    77701
MARTIN NOWICKI                     37 OAKWOOD DR                                                                                              CHEEKTOWAGA        NY    14227‐3219
MARTIN O DOMINGUEZ                 5704 OLD PLACE RD                                                                                          ARLINGTON          TX    76016‐2737
MARTIN O LUJAN                     241 PREAKNESS CIR                                                                                          MANTECA            CA    95337‐8422
MARTIN O MCHUGH                    C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                                 HOUSTON            TX    77007
                                   BOUNDAS LLP
MARTIN O'LEARY                     1694 WEYHILL DR                                                                                            WIXOM              MI 48393‐1122
MARTIN OLDEN                       8100 S HARLEM AVE                BRIDGEVIEW HEALTH CARE CENTER                                             BRIDGEVIEW         IL 60455‐1690

MARTIN OLDSMOBILE CADILLAC INC     2201 SCOTTSVILLE RD                                                                                        BOWLING GREEN      KY    42104‐4105
MARTIN OLDSMOBILE‐CADILLAC, INC.   2201 SCOTTSVILLE RD                                                                                        BOWLING GREEN      KY    42104‐4105
MARTIN OLDSMOBILE‐CADILLAC, INC.   CORNELIUS MARTIN*                2201 SCOTTSVILLE RD                                                       BOWLING GREEN      KY    42104‐4105
MARTIN OLIVER L                    GLASSER & GLASSER                CROWN CENTER                    580 E MAIN ST STE 600                     NORFOLK            VA    23510
MARTIN OLOUGHLIN                   6780 JULIA DR                                                                                              LAMBERTVILLE       MI    48144‐9409
MARTIN ONDREJKO                    5247 COTTAGE DR                                                                                            CORTLAND           OH    44410‐9521
MARTIN ONTIVEROS                   1550 RIDGE COURT LN                                                                                        CHAPEL HILL        TN    37034‐2088
MARTIN ORTEGA                      5920 FRASER RD                                                                                             BAY CITY           MI    48706‐9729
MARTIN OSCAR P                     GLASSER & GLASSER                CROWN CENTER                    580 E MAIN ST STE 600                     NORFOLK            VA    23510
MARTIN OSWALD                      7610 SPRING GARDEN RD                                                                                      PARMA              OH    44129‐3628
MARTIN OWEN                        2395 TUBBS RD                                                                                              CHARLOTTE          MI    48813‐9154
MARTIN OWENS                       33284 SOMERSET DR                                                                                          STERLING HEIGHTS   MI    48312‐6060
MARTIN OXENDINE                    39716 CAMP ST                                                                                              HARRISON TWP       MI    48045‐1718
MARTIN P CLOSE                     67 ROXWOOD DR                                                                                              ROCHESTER          NY    14612‐3033
MARTIN P FARAIS                    BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS.        OH    44236
MARTIN P MCDONALD IRA              FCC AS CUSTODIAN                 IRA ROLLOVER                    150 OCEANSIDE                             ROCKAWAY POINT     NY    11697
MARTIN P MUSHLOCK                  103 S LAUREL CIR                                                                                           COLUMBIA           TN    38401‐2022
MARTIN P SANCHEZ                   139 W KENNETT RD                                                                                           PONTIAC            MI    48340‐2645
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Name                  Address1                         Address2                     Address3   Address4               City              State Zip
MARTIN PANTOJA JR     1304 CLAY ST                                                                                    MIDLAND            MI 48642‐5840
MARTIN PARASILITI     26741 CENTER RIDGE RD LOT 7                                                                     WESTLAKE           OH 44145‐4040
MARTIN PARIS          MARTIN, PARIS                    2280 PRICILLA STREET APT 2                                     ST PAUL            MN 55108
MARTIN PASADYN        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH 44236
MARTIN PASCALE        1113 WASHINGTON ST                                                                              PEEKSKILL          NY 10566‐5809
MARTIN PASSINO        3132 PRESCOTT DR                                                                                HOWELL             MI 48843‐6975
MARTIN PAULUS         52877 MUIRFIELD DR                                                                              CHESTERFIELD       MI 48051‐3665
MARTIN PAWLOS         54522 CONGAREE DR                                                                               MACOMB             MI 48042‐6144
MARTIN PEARSON        125 W 43RD ST                                                                                   MARION             IN 46953‐4962
MARTIN PEEHLER        51 CANTON ST                                                                                    TONAWANDA          NY 14150‐5401
MARTIN PELLERITO      15278 BUCKSKIN DR                                                                               MACOMB             MI 48042‐4021
MARTIN PENDER         2205 W NEWARK RD                                                                                LAPEER             MI 48446‐9494
MARTIN PEREZ          5273 ENGLISH RD                                                                                 CLIFFORD           MI 48727‐9500
MARTIN PEREZ JR       13750 BLIVEN RD                                                                                 BYRON              MI 48418‐8903
MARTIN PETERSON
MARTIN PFIFFNER       12 LONG MEADOW DR                                                                               FRANKLIN          OH 45005‐4580
MARTIN PHILIP         1808 WINDES DR                                                                                  ORANGE            CA 92869‐1042
MARTIN PHILLIP        MARTIN, JEANNE
MARTIN PHILLIP        MARTIN, PHILLIP
MARTIN PHILLIPS       2426 E FRANCES RD                                                                               CLIO              MI   48420‐9769
MARTIN PHILLIPS       PO BOX 490                                                                                      CLAYTON           IN   46118‐0490
MARTIN PIECHOWSKI     5429 HICKORY CIR                                                                                FLUSHING          MI   48433‐2466
MARTIN PILDNER        3854 S BRENNAN RD                                                                               HEMLOCK           MI   48626‐8752
MARTIN PINAZZO        6431 ALMOND LN                                                                                  CLARKSTON         MI   48346‐2205
MARTIN PIZUR          214 WHITE TAIL RUN                                                                              GRAND ISLAND      NY   14072‐3224
MARTIN PLOWMAN        9554 E EATON HWY                                                                                MULLIKEN          MI   48861‐9646
MARTIN POINDEXTER     988 N CLARKSVILLE RD                                                                            OREGONIA          OH   45054‐9730
MARTIN PONTIAC GMC    2948 HIGHWAY 90 E                                                                               LAKE CHARLES      LA   70615‐3634
MARTIN PORTER         21815 ROAD 122                                                                                  OAKWOOD           OH   45873‐9321
MARTIN POVIRK         25330 FRANKLIN PARK DR                                                                          FRANKLIN          MI   48025‐1213
MARTIN POWELL         3131 OTTO RD                                                                                    CHARLOTTE         MI   48813‐9722
MARTIN POWELL         9769 FULMER RD                                                                                  MILLINGTON        MI   48746‐9770
MARTIN POWELL JR      8968 KLEIN RD                                                                                   HILLMAN           MI   49746‐8704
MARTIN PRAKESCH       MADGEBURGES RING 41                                                      76344 EGGENSTEIN‐
                                                                                               LEOPDDSHAFEN GERMANY
MARTIN PRANTLER       NEUHABERLAND 16                  83416 SAALDORF‐SURHEIM
MARTIN PRICE          1000 JUDY LYNN DR                                                                               ARLINGTON         TX   76014‐2920
MARTIN PRING          2929 DOGWOOD LANE                                                                               BROOMALL          PA   19008‐1018
MARTIN PRIOR          2680 S ARBOR DR                                                                                 MARIETTA          GA   30066‐2270
MARTIN PROCTOR        4142 CAINE RD                                                                                   VASSAR            MI   48768‐9579
MARTIN PULLING        8227 SUNSET DR                                                                                  LYONS             MI   48851‐9696
MARTIN PUNG           1801 W MCCLELLAN ST                                                                             FLINT             MI   48504‐2587
MARTIN PYLVAINEN      2671 BAY DR                                                                                     WEST BLOOMFIELD   MI   48324‐2025
MARTIN Q GARRETT      13 MEADOWVIEW                                                                                   FRANKLIN          OH   45005
MARTIN R COUGHLIN     7320 LOBDELL RD                                                                                 LINDEN            MI   48451‐8765
MARTIN R GOVEDNIK     700 LE CLAR DR                                                                                  O FALLON          MO   63366‐1639
MARTIN R KALISCH      51437 FORSTER LN                                                                                SHELBY            MI   48316
MARTIN R RUTLEDGE     4854 BETHLEHEM PIKE                                                                             TELFORD           PA   19959‐1141
MARTIN R SANTALUCIA   108 WHITEHEAD AVE                                                                               SAYREVILLE        NJ   08872‐1139
MARTIN R SNYDER       813 N LINCOLN ST APT 2                                                                          BAY CITY          MI   48708‐6188
MARTIN RACHEL MARIE   MARTIN, LAWRENCE                 PO BOX 3626                                                    WEST PALM BEACH   FL   33402‐3626
MARTIN RACHEL MARIE   MARTIN, MARY SUE                 PO BOX 3626                                                    WEST PALM BEACH   FL   33402‐3626
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Name                              Address1                         Address2                        Address3   Address4         City              State Zip
MARTIN RACHEL MARIE ‐ ESTATE OF   ESTATE OF MARTIN, RACHEL MARIE   PO BOX 3626                                                 WEST PALM BEACH    FL 33402
MARTIN RACZ JR                    225 LAKESIDE DR                                                                              QUINCY             MI 49082‐8522
MARTIN RADELT                     7543 ROSS RD                                                                                 ALMONT             MI 48003‐8004
MARTIN RAHJA                      5802 PRENTICE RD                                                                             WATERFORD          MI 48327‐2658
MARTIN RAMIREZ                    3944 CIRCLE DR 20                                                                            MASON              MI 48854
MARTIN RAMIREZ                    368 WESTBROOK DR                                                                             O FALLON           MO 63366‐2463
MARTIN RAMIREZ                    11942 HIGHLAND ST                                                                            MOUNT MORRIS       MI 48458‐1409
MARTIN RANDOLPH                   111 SUTTON CT                                                                                WINCHESTER         VA 22601‐5742
MARTIN RASCH                      4408 NEWBURG RD                                                                              BANCROFT           MI 48414‐9798
MARTIN RATHSBURG                  9663 WESTWOOD CIR                                                                            CLARKSTON          MI 48348‐5408
MARTIN RAUH JR                    3811 CHAPMAN RD                                                                              SHELBY TOWNSHIP    MI 48316‐1405
MARTIN RAYMOND                    5360 PENNY LN                                                                                CUMMING            GA 30040‐0278
MARTIN RAYMOND C (667793)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                   STREET, SUITE 600
MARTIN REED                       585 BIMINI DR                                                                                SANDUSKY          OH   44870‐3991
MARTIN REILEY                     2372 HARLAN RD                                                                               COLUMBIA          TN   38401‐7301
MARTIN REINERTH JR                20015 N 94TH AVE                                                                             PEORIA            AZ   85382‐0999
MARTIN REIS                       PO BOX 459                                                                                   HAMLIN            NY   14464‐0459
MARTIN RETAIL GROUP               13249 COLLECTION CENTER DR                                                                   CHICAGO           IL   60693‐0132
MARTIN RETAIL GROUP LLC           2801 UNIVERSITY BLVD STE 200                                                                 BIRMINGHAM        AL   35233‐2860
MARTIN RETAIL GROUP, LLC.         2801 UNIVERSITY BLVD STE 200                                                                                   AL   35233‐2860
MARTIN REUBENS                    1307 TURTLE LAKE DR                                                                          BIRMINGHAM        AL   35242‐6524
MARTIN REVIS                      2333 W 300 S                                                                                 KOKOMO            IN   46902‐4753
MARTIN REYES                      40116 161ST ST E                                                                             PALMDALE          CA   93591‐3003
MARTIN RICE                       3715 MILLERS POND WAY                                                                        SNELLVILLE        GA   30039‐5253
MARTIN RICE                       9700 BAUDE DR                                                                                BRIGHTON          MI   48116‐8541
MARTIN RICHARD                    7250 PARKLANE DR                                                                             CLAY              MI   48001‐4222
MARTIN RICHARDSON                 PO BOX 202                                                                                   TECUMSEH          MI   49286‐0202
MARTIN RIDEAUX                    3547 PIONEER DR                                                                              BATON ROUGE       LA   70814‐5236
MARTIN RIDER                      1525 COLORADO AVE                                                                            FLINT             MI   48506‐2760
MARTIN RIENDEAU                   PO BOX 575                                                                                   CLIO              MI   48420‐0575
MARTIN RIES                       2503 ST RT #183                                                                              ATWATER           OH   44201
MARTIN RIES                       1845 CHAPELWOOD BLVD                                                                         MANSFIELD         OH   44907‐2293
MARTIN RIKER                      121 W WALNUT ST                                                                              CARSON CITY       MI   48811‐9432
MARTIN RILEY & MOCK INC           221 W BAKER ST                                                                               FORT WAYNE        IN   46802‐3413
MARTIN RILEY INC                  221 W BAKER ST                                                                               FORT WAYNE        IN   46802‐3413
MARTIN RIMLINGER                  25 CLEARVIEW DR                                                                              SPRINGBORO        OH   45066‐1049
MARTIN RINGELBERG                 1225 32ND ST SW                                                                              WYOMING           MI   49509‐2713
MARTIN RIOS                       3709 LUCY LN APT 99                                                                          FORT WORTH        TX   76133
MARTIN RIOS                       22 FOXCROFT DR                                                                               NANUET            NY   10954‐1211
MARTIN ROBERT                     123 E ILA AVE                                                                                DANVILLE          KY   40422‐9414
MARTIN ROBERT                     5272 HEIGHTSVIEW LN W APT 2422                                                               FORT WORTH        TX   76132‐5390
MARTIN ROBERT                     C\O IVA G WEESE                  2706 CARSON‐SALT SPRINGS                                    WARREN            OH   44481
MARTIN ROBERT (446107)            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH   44067
                                                                   PROFESSIONAL BLDG
MARTIN ROBERT G (405418)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510
                                                                   STREET, SUITE 600
MARTIN ROBERT J                   MARTIN, ROBERT T                 1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL       NJ 08003
MARTIN ROBERT JR                  11430 N LOOKOUT RDG                                                                          STANWOOD          MI 49346‐9730
MARTIN ROBERT T (360831)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510
                                                                   STREET, SUITE 600
MARTIN ROBERTS                    105 W WALKER ST                                                                              GAINES            MI 48436‐9651
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Name                             Address1                           Address2                           Address3                  Address4               City                  State Zip
MARTIN RODRIGUEZ                 3132 PINEHILL PL                                                                                                       FLUSHING               MI 48433‐2431
MARTIN ROGER SR (ESTATE OF)      GOLDENBERG, MILLER, HELLER &       2227 SOUTH STATE ROUTE 157         P.O. BOX 959                                     EDWARDSVILLE            IL 62025
                                 ANTOGNOLI
MARTIN ROGERS, LINDA             11816 IOWA AVE                                                                                                         CLEVELAND             OH   44108‐1563
MARTIN ROGNER                    10925 LANGE RD                                                                                                         BIRCH RUN             MI   48415‐9230
MARTIN ROMBERGER                 9920 GIBBS RD                                                                                                          CLARKSTON             MI   48348‐1510
MARTIN RORER                     1725 CARRIAGE LN                                                                                                       LAPEER                MI   48446‐1276
MARTIN ROSALIK JR                3987 ORION RD                                                                                                          OAKLAND               MI   48363‐3049
MARTIN ROSEN                     1120 MANATI AVE                                                                                                        CORAL GABLES          FL   33146
MARTIN ROSOL                     7469 PARADISE CT                                                                                                       GRAND BLANC           MI   48439‐7106
MARTIN ROTH                      985 NEWGARDEN AVE                                                                                                      SALEM                 OH   44460‐3605
MARTIN ROY C (446108)            CLIMACO LEFKOWITZ PECA WILCOX &    1228 EUCLID AVE , HALLE BLDG 9TH                                                    CLEVELAND             OH   44115
                                 GAROFOLI                           FL
MARTIN RUEFF                     9524 CARTER DR                                                                                                         OVERLAND PARK         KS   66212‐5010
MARTIN RURADE                    7256 HOLSUM ST                                                                                                         ENGLEWOOD             FL   34224‐6718
MARTIN RUSH                      PO BOX 34112                                                                                                           BERKELEY              MO   63134‐0112
MARTIN RUSSELL                   274 E HIGH ST                                                                                                          LONDON                OH   43140‐9794
MARTIN RUTHKOSKY                 43081 BOND CT                                                                                                          STERLING HEIGHTS      MI   48313‐1903
MARTIN RUTLEDGE                  4854 BETHLEHEM PIKE                                                                                                    TELFORD               PA   19989‐1141
MARTIN RYAN                      321 N CLINTON ST                                                                                                       COLLINSVILLE          IL   62234‐3437
MARTIN RYMARZ                    APT 16                             1001 SOUTH BRIDGE STREET                                                            LINDEN                MI   48451‐9065
MARTIN S KOZEN                   4424 OLD SALEM RD                                                                                                      ENGLEWOOD             OH   45322‐2638
MARTIN S. JENKINS                AS ABOVE                           N/A                                P.O. BOX 10386, THE TERRACE WELLINGTON NEW       WELLINGTON
B.E,DIP.BUS.STUDIES(FIN.)                                                                                                          ZEALAND
MARTIN SACKMAN                   2093 SNYDER RD                                                                                                         BUTLER                OH   44822‐9691
MARTIN SALTIEL                   1185 ROCKY RIDGE TRL                                                                                                   FLINT                 MI   48532‐2126
MARTIN SANTALUCIA                108 WHITEHEAD AVE                                                                                                      SAYREVILLE            NJ   08872‐1139
MARTIN SANTOS                    3400 FORT INDEPENDENCE ST APT 8J                                                                                       BRONX                 NY   10463‐4529
MARTIN SAROWSKI                  1338 HAMPTON RD                                                                                                        GROSSE POINTE WOODS   MI   48236‐1302
MARTIN SATURN OF ARIZONA, INC.   CORNELIUS MARTIN*                  7799 S AUTOPLEX LOOP                                                                TEMPE                 AZ   85284‐1021
MARTIN SAVAL                     NEUSTIFTGASSE 60/31                                                                                                    VIENNA
MARTIN SCHAEFER                  AM EICHWALD 1                      36043 FULDA
MARTIN SCHAEFER                  AM EICHWALD 1
MARTIN SCH─FER                   AM EICHWALD 1
MARTIN SCHAFFNER                 67 WILDEY ST                                                                                                           TARRYTOWN             NY   10591‐3105
MARTIN SCHEUER                   8800 FRAMEWOOD DR                                                                                                      NEWBURGH              IN   47630‐2342
MARTIN SCHIEFERSTEIN             BEVAN & ASSOCIATES, LPA, INC       6555 DEAN MEMORIAL PARKWAY                                                          BOSTON HTS            OH   44236
MARTIN SCHINDLER                 18784 ROAD C                                                                                                           CONTINENTAL           OH   45831‐9764
MARTIN SCHLICHT                  415 BUTLER ST                                                                                                          CLIO                  MI   48420‐1252
MARTIN SCHLOSSER                 BEATESTR. 11
MARTIN SCHMID                    N1763 SHADYBROOK LN                                                                                                    GREENVILLE            WI 54942
MARTIN SCHMIDL                   REISINGER STR. 19                                                                               80337 MUNICH GERMANY
MARTIN SCHNETTLER                5013 TURNER PINE DR                                                                                                    PRESCOTT              MI 48756‐9592
MARTIN SCHOENE                   WILHELM RAABE STR. 4               27474 CUXHAVEN
MARTIN SCHOLL                    34 HAMILTON BLVD                                                                                                       KENMORE               NY 14217‐1908
MARTIN SCH╓NE                    WILHELM RAABE STR. 4               27474 CUXHAVEN                     GERMANY
MARTIN SCHROERING                JANET SCHROERING                   15740 SOUTHERN GARDEN LN                                                            CHARLOTTE             NC   28278‐7247
MARTIN SCHROERING                15740 SOUTHERN GARDEN LN                                                                                               CHARLOTTE             NC   28278‐7247
MARTIN SCHULER                   2500 S SHERIDAN DR                                                                                                     MUSKEGON HEIGHTS      MI   49444‐2665
MARTIN SCHULTZ                   4570 MCINTOSH RD                                                                                                       BIRCH RUN             MI   48415‐8704
MARTIN SCHULTZ                   4865 DIEHL RD                                                                                                          METAMORA              MI   48455‐9615
MARTIN SCHUSTER                  8418 FAIRFAX DR                                                                                                        STERLING HTS          MI   48312‐5918
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Name                         Address1                         Address2                     Address3              Address4                 City            State Zip
MARTIN SCHWARTZ              C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS       OH 44236
MARTIN SCHWEIGER             7161 PALMS RD                                                                                                IRA              MI 48023‐2628
MARTIN SCHWEMMLE             SPORTPLATZSTR.6                  63773 GOLDBACH
MARTIN SCOTT                 MARTIN, SCOTT                    7699 E 400 S                                                                LAOTTO          IN   46763‐9787
MARTIN SCOTT                 4301 LAKEWOOD DR                                                                                             WATERFORD       MI   48329‐3818
MARTIN SCOTT                 MARTIN, SCOTT                    5055 WILSHIRE BLVD STE 300                                                  LOS ANGELES     CA   90036‐6101
MARTIN SECHAN                13771 BRAINBRIDGE AVE                                                                                        WARREN          MI   48089‐3623
MARTIN SEDLAR                8654 W. 26 MI RD                                                                                             MESICK          MI   49668
MARTIN SELL                  43272 MARINER CT                                                                                             CLINTON TWP     MI   48038‐5553
MARTIN SEVILLA               15400 LESURE ST                                                                                              DETROIT         MI   48227‐3258
MARTIN SEWECKE               1028 GEORGE ST                                                                                               SHARON          PA   16146‐3019
MARTIN SHAFER                4315 SW VIEW POINT TER                                                                                       PORTLAND        OR   97239‐4023
MARTIN SHARISKY              2366 BREEZEWOOD DR                                                                                           YOUNGSTOWN      OH   44515‐5105
MARTIN SHAWL                 25 CARRIER LN                                                                                                BAY CITY        MI   48706‐8126
MARTIN SHEEDY                2404 HOMEPLACE ST                                                                                            DEARBORN        MI   48124‐2451
MARTIN SHEELY                8450 WATERVILLE NEAPOLIS RD                                                                                  WATERVILLE      OH   43566‐9633
MARTIN SHEILA                23805 SECRETARIAT LN                                                                                         MONTEREY        CA   93940‐6529
MARTIN SHEPPARD FRASER LLP   ATTN: GARY ENSKAT                2‐4701 ST CLAIR AVE          PO BOX 900 STN MAIN   NIAGARA FALLS, ONTARIO
                                                                                                                 L2E 6V7
MARTIN SHEREETA              PO BOX 1182                                                                                                  TOCCOA          GA   30577‐1420
MARTIN SHERRY                14332 COUNTY ROAD 171                                                                                        DEFIANCE        OH   43512‐9327
MARTIN SHORES                23787 27 MILE RD                                                                                             SPRINGPORT      MI   49284‐9469
MARTIN SIDES                 7978 SOUTH YOUNG ROAD                                                                                        FALMOUTH        MI   49632‐9519
MARTIN SIEBEN
MARTIN SILER                 2498 CHESAPEAKE DR                                                                                           ADRIAN          MI   49221‐1672
MARTIN SIMEK                 4112 W FARRAND RD                                                                                            CLIO            MI   48420‐8243
MARTIN SIMS                  1206 PETTIBONE AVE                                                                                           FLINT           MI   48507‐1532
MARTIN SITKO                 4 MONTICELLO DR                                                                                              DYER            IN   46311‐1367
MARTIN SLOVAK JR.            5529 303RD ST                                                                                                TOLEDO          OH   43611‐2307
MARTIN SMALE                 559 NE GERALDINE DR                                                                                          HILLSBORO       OR   97124‐2173
MARTIN SMITH                 1155 TORI TRL                                                                                                CHARLOTTE       MI   48813‐7834
MARTIN SMITH                 2240 E MCLEAN AVE                                                                                            FLINT           MI   48529‐1742
MARTIN SMITH                 1403 LAKE AVE                                                                                                PORTAGE         MI   49002‐6335
MARTIN SMITH                 4401 STATE ROUTE 269 S                                                                                       CASTALIA        OH   44824‐9355
MARTIN SMITH                 7979 RHANBUOY RD                                                                                             SPRING HILL     FL   34606‐1952
MARTIN SMITH                 207 VISTA POINTE CT                                                                                          SAINT PETERS    MO   63376‐2286
MARTIN SMITH                 513 PROSPECT ST                                                                                              LOCKPORT        NY   14094‐2125
MARTIN SNEED JR              20752 CHAMPAIGN ST                                                                                           TAYLOR          MI   48180‐2960
MARTIN SNODGRASS             1049 GRAY SQUIRREL DR                                                                                        PENDLETON       IN   46064‐9169
MARTIN SNYDER                BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS      OH   44236
MARTIN SOCHE                 LEIMA                            3814 GSTEIGWILER                                   SWITZERLAND
MARTIN SOCHE                 LEIMA                                                                               3814 GSTEIGWILER
                                                                                                                 SWITZERLAND
MARTIN SOCHE                 LEIMA 140B                                                                                                   GSTEIGWILER        3814
MARTIN SOLANO                9405 CHARWOOD DR                                                                                             OKLAHOMA CITY   OK 73139‐8616
MARTIN SOVIS                 5279 DUFFIELD RD                                                                                             FLUSHING        MI 48433‐9786
MARTIN SR, ANDREW            5831 GUION LAKES DR                                                                                          INDIANAPOLIS    IN 46254‐1586
MARTIN SR, JAMES F           7096 SUNNYDELL DR.                                                                                           BROOKFIELD      OH 44403‐4403
MARTIN SROKA                 2883 DEERFIELD APT 206                                                                                       LAKE ORION      MI 48360‐2396
MARTIN STAHL                 BEETHOVENSTR. 11                                                                                             FRANKFURT          60325
MARTIN STANLEY JR            104 W 11TH ST                                                                                                LINDEN          NJ 07036‐4508
MARTIN STARKE                7741 S RAUCHOLZ RD                                                                                           SAINT CHARLES   MI 48655‐8706
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Name                           Address1                             Address2                         Address3         Address4               City               State Zip
MARTIN STASKO                  4905 PIEHL RD                                                                                                 OTTAWA LAKE         MI 49267‐8709
MARTIN STATES                  11910 SPENCER RD                                                                                              SAGINAW             MI 48609‐9776
MARTIN STAUB                   92 APPLE CREEK LN                                                                                             ROCHESTER           NY 14612‐3444
MARTIN STAUDE                  HESSSTRASSE 80                       80798 MUNICH
MARTIN STEFANIC                5925 HOWELL RD                                                                                                OTTER LAKE         MI   48464‐9767
MARTIN STEFFENS                7027 PARK STREET RD                                                                                           BENTON             IL   62812‐3950
MARTIN STEMPLE JR              1322 HILLCREST RD                                                                                             WELLSVILLE         OH   43968‐1850
MARTIN STEPHANIE               PO BOX 377                                                                                                    CLARKSTON          MI   48347‐0377
MARTIN STEPHANIE & DOUGLAS &   DAVID J GORBERG & ASSOCIATES         32 PARKING PLZ STE 700                                                   ARDMORE            PA   19003‐2440
MARTIN STEPHENS                1006 WOODSHIRE CIR                                                                                            SHREVEPORT         LA   71107‐2837
MARTIN STEVE                   APT 506                              221 NORTH FRONT STREET                                                   COLUMBUS           OH   43215‐2295
MARTIN STEVE                   10605 COAL CANYON ROAD                                                                                        SUNLAND            CA   91040‐1229
MARTIN STOCKARD
MARTIN STONHOUSE               8429 S DURAND RD                                                                                              DURAND             MI 48429‐9433
MARTIN STRASHEIM               MITTELSTR 32                                                                           35510 BUTZBACH
                                                                                                                      GERMANY
MARTIN STRASHEIM               MITTELSTRA▀E 32                                                                                               BUTZBACH                35510
MARTIN STRELECKI               1650 CONNELL RD                                                                                               ORTONVILLE         MI   48462‐9767
MARTIN STRIETER                936 JOHNSON AVE                                                                                               FLINT              MI   48532‐3843
MARTIN STRYKER JR              50403 FELLOWS HILL DR                                                                                         PLYMOUTH           MI   48170‐6351
MARTIN STUETZER                PO BOX 1565                                                                                                   CLARKSTON          MI   48347‐1565
MARTIN SUAREZ                  1302 TANNER AVE                                                                                               BURLINGTON         NJ   08016‐2346
MARTIN SUBA                    19617 HARBOR DR                                                                                               SMITHVILLE         MO   64089‐8303
MARTIN SUCHOSKI                6941 MONTGOMERY DR                                                                                            SHELBY TOWNSHIP    MI   48316‐4330
MARTIN SUDOL                   233 STEVENS AVE                                                                                               LAWRENCEVILLE      NJ   08648‐4005
MARTIN SULLIVAN                1 MISTLETOE LN                                                                                                LEVITTOWN          PA   19054‐2032
MARTIN SULLIVAN                19130 GEORGIA ST                                                                                              ROSEVILLE          MI   48066‐4108
MARTIN SUPPLY CO INC           2740 LOCH RAVEN RD                                                                                            BALTIMORE          MD   21218‐4729
MARTIN SURDAM                  9424 MARBLE RD                                                                                                MACHIAS            NY   14101‐9752
MARTIN SUSAN M                 14 KENDALL LN                                                                                                 HARWICH            MA   02645‐1610
MARTIN SWINDLE                 1824 ORIOLE ROAD #301                                                                                         GATLINBURG         TN   37738
MARTIN SZALKIEWICZ             34266 ZIMMER DR                                                                                               STERLING HTS       MI   48310‐6063
MARTIN T JONES                 102 EAST PIKE ST                                                                                              LAURA              OH   45337
MARTIN T POINDEXTER            988 N. CLARKVILLE RD.                                                                                         OREGONIA           OH   45054‐9730
MARTIN T SCHOLL                34 HAMILTON BLVD                                                                                              KENMORE            NY   14217‐1908
MARTIN T ULRICH & ELAINE M     ULRICH TRUSTEES MARTIN T &           ELAINE M ULRICH LIVING TRUST     13103 KINGSTON                          HUNTINGTON WOODS   MI   48070
                                                                    U/A/D 12/05/91
MARTIN T WNEK                  C/O T E JAHNKE 97SC4962              9094 BUCKEYE RD                                                          DITTMER            MO   63023
MARTIN TARLOWICZ               2444 ACADEMY ST                      C/O GENEVIEVE TARLOW                                                     DEARBORN           MI   48124‐2557
MARTIN TASSIN                  1577 MARSHBANK DR                                                                                             PONTIAC            MI   48340‐1073
MARTIN TEINERT                 2 EDSEL DR                                                                                                    ROSSVILLE          GA   30741‐7606
MARTIN TEPATTI                 20800 NUCCI DR                                                                                                CLINTON TWP        MI   48038‐5622
MARTIN TERBUSH                 PO BOX 37                                                                                                     FOSTORIA           MI   48435‐0037
MARTIN TEUTSCH                 4257 CLARIDGE DR                                                                                              YOUNGSTOWN         OH   44511‐1011
MARTIN THEODORE                4165 HOLT RD                                                                                                  HOLT               MI   48842‐1754
MARTIN THOMAS                  5595 HUBBARD TOWN RD                                                                                          CUMMING            GA   30028‐3465
MARTIN THOMAS                  MARTIN, THOMAS                       5 EVELYN PLACE                                                           CHESTER            NY   10918
MARTIN THOMAS G (472110)       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                              NORFOLK            VA   23510
                                                                    STREET, SUITE 600
MARTIN THOMAS L (494670)       BARON & BUDD                         3102 OAK LANE AVE , SUITE 1100                                           DALLAS             TX 75219
MARTIN THOMAS R                ATTN: CORPORATE OFFICER/AUTHORIZED   16273 MOCK RD                                                            BERLIN CENTER      OH 44401‐9795
                               AGENT
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Name                                Address1                         Address2                 Address3                  Address4               City             State Zip
MARTIN THOMPSON                     2117 BAUMEY ST                                                                                             WYANDOTTE         MI 48192‐3033
MARTIN THOMPSON                     10 LOST MEADOW CT                                                                                          SAINT CHARLES     MO 63303‐4427
MARTIN THOMSON                      36389 JOANNE ST                                                                                            LIVONIA           MI 48150‐3403
MARTIN TIGGES                       MARIENSTRASSE 1                                                                     31061 ALFELD GERMANY
MARTIN TIGGES                       MARIENSTRABE 1                                                                      31061 ALFELD GERMANY
MARTIN TODD                         MARTIN, MARIZABEL                JAFFE DOUGLAS            402 WEST BROADWAY ‐ 4TH                          SAN DIEGO        CA 92101
                                                                                              FLOOR
MARTIN TODD                         MARTIN, TODD                     402 W BROADWAY FL 4                                                       SAN DIEGO        CA   92101‐3554
MARTIN TORRES                       5339 MOREVILLE FARM                                                                                        SAN ANTONIO      TX   78228‐6623
MARTIN TOVAR                        77 N MERRIMAC ST                                                                                           PONTIAC          MI   48340‐2529
MARTIN TOWNSEND                     170 NORTH GREECE ROAD                                                                                      HILTON           NY   14468‐8902
MARTIN TRANSP 5402
MARTIN TRANSPN SYS INC              RICHARD M. DABNEY                7300 CLYDE PARK AVE SW                                                    BYRON CENTER     MI 49315‐8387
MARTIN TRANSPORT 530871
MARTIN TRANSPORT INC                PO BOX 191                                                                                                 KILGORE          TX   75663‐0191
MARTIN TRANSPORTATION               7300 CLYDE PARK AVE SW                                                                                     BYRON CENTER     MI   49315‐8387
MARTIN TRANSPORTATION               RON BOURQUE                      7300 CLYDE PARK AVE SW                                                    BYRON CENTER     MI   49315‐8387
MARTIN TRANSPORTATION SYSTEMS INC   RICHARD M. DABNEY                7300 CLYDE PARK AVE SW                                                    BYRON CENTER     MI   49315‐8387

MARTIN TRUCKING                     979 E 900 S                                                                                                KINGMAN          IN   47952‐8161
MARTIN TRUCKING                     PO BOX 1447                                                                                                HONAKER          VA   24260‐1447
MARTIN TRUCKING                     3130 KY HWY 128                                                                                            PRINCETON        KY   42445
MARTIN TUNE                         1435 MEINERSHAGEN RD                                                                                       FORISTELL        MO   63348‐1704
MARTIN TURNER                       11394 WAHL RD                                                                                              SAINT CHARLES    MI   48655‐9540
MARTIN TWORK                        6674 SEVERANCE RD                                                                                          CASS CITY        MI   48726‐9367
MARTIN UNIVERSAL DESIGN             4444 LAWTON ST                                                                                             DETROIT          MI   48208‐2162
MARTIN UNIVERSITY                   BUSINESS OFFICE                  2171 N AVONDALE PL                                                        INDIANAPOLIS     IN   46218‐3867
MARTIN V HAIGHT                     31 ALICE LANE                                                                                              BROCKPORT        NY   14420‐1402
MARTIN V SEWECKE                    1028 GEORGE ST                                                                                             SHARON           PA   16146
MARTIN VALENTINE                    2020 SHAGBARK LN                                                                                           OKEMOS           MI   48864‐3632
MARTIN VALLS                        38721 TRISTRAM DR                                                                                          STERLING HTS     MI   48310‐1780
MARTIN VAN DYK                      MARTIN VAN DYK                   379 HARRINGTON RD        379 HARRINGTON ROAD       FRANKFORD ON K0K 2C0
                                                                                                                        CANADA
MARTIN VANDEN BOSCH                 1047 WENTLAND DR                                                                                           MASON            MI   48854‐9323
MARTIN VANDENLANGENBERG             2110 EXCALIBUR DR                                                                                          JANESVILLE       WI   53546‐1134
MARTIN VAUGHAN                      4650 LONDEL AVE                                                                                            NORTH PORT       FL   34287‐7380
MARTIN VERDEV                       650 HICKORY HOLLOW RD                                                                                      WATERFORD        WI   53185‐2888
MARTIN VILLINES                     2640 SW KRISTA CT                                                                                          BLUE SPRINGS     MO   64015‐3350
MARTIN VINCENT M                    10562 CRIMSON DR                                                                                           MACHESNEY PARK   IL   61115‐1343
MARTIN VITALE                       186 WARD ST                                                                                                NEW BRUNSWICK    NJ   08901‐3015
MARTIN VOLKER (436933)              ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                       NEW YORK         NY   10006‐1638
MARTIN VON MALFER                   VIA LAURIN, 1                    BOLZANO, I‐39100
MARTIN VONLINSOWE JR                3244 E GRAND BLANC RD                                                                                      GRAND BLANC      MI   48439‐8117
MARTIN VOSCH JR                     5077 BIRCHCREST DR                                                                                         YOUNGSTOWN       OH   44515‐3920
MARTIN VOWELL                       29720 ORANGELAWN ST                                                                                        LIVONIA          MI   48150‐3083
MARTIN VYSKOCIL                     8284 PENINSULAR DR                                                                                         FENTON           MI   48430‐9123
MARTIN W CARTER                     3070 STOP 8 RD                                                                                             DAYTON           OH   45414‐3132
MARTIN W ENGELMEYER                 1915 DYER DR                                                                                               MOORE            OK   73160‐6040
MARTIN W FUERST                     4131 MARRIANNE DR.                                                                                         DAYTON           OH   45404‐1370
MARTIN W GALL                       6328 W COLDWATER RD                                                                                        FLUSHING         MI   48433‐9038
MARTIN W MCALLISTER                 354 ORCHARD RD                                                                                             GRAND ISLAND     NY   14072‐3032
MARTIN WAGMAN                       6040 BLUEGRASS DR                                                                                          BOYNTON BEACH    FL   33437
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Name                                Address1                            Address2                      Address3          Address4            City               State Zip
MARTIN WAGNER JR                    312 N HOLLY AVE                                                                                         SHERMAN             TX 75092‐7420
MARTIN WALKER                       1201 NORTON ST                                                                                          BURTON              MI 48529‐1156
MARTIN WALLACE L (409522)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA 23510
                                                                        STREET, SUITE 600
MARTIN WALSH                        6959 CARLYLE XING                                                                                       WEST BLOOMFIELD    MI 48322‐3083
MARTIN WALTER                       PO BOX 1636                                                                                             NICE               CA 95464‐1636
MARTIN WALTER                       900 N 4 MILE RUN                                                                                        YOUNGSTOWN         OH 44515
MARTIN WARFIELD
MARTIN WARNER                       2078 SPRUCE WAY                                                                                         CLIO               MI   48420‐2408
MARTIN WARNICK                      9260 WARNICK RD                                                                                         FRANKENMUTH        MI   48734‐9551
MARTIN WARREN                       348 MARBLEGATE CIR                                                                                      ALVATON            KY   42122‐8748
MARTIN WARREN & ALICE               FAMILY TRUST                        2554 ARLINGTON BLVD                                                 EL CERRITO         CA   94530‐1504
MARTIN WASHINGTON                   6540 HIVON RD                                                                                           CARLETON           MI   48117‐9547
MARTIN WASKOWSKI                    421 N KENWOOD AVE                                                                                       ROYAL OAK          MI   48067‐2309
MARTIN WAYNE                        2462 MADISON 2315                                                                                       HUNTSVILLE         AR   72740‐7300
MARTIN WEAVER                       1150 ALLARD ACRES TRL                                                                                   JOHANNESBURG       MI   49751‐8753
MARTIN WEBB
MARTIN WEBER                        6988 MIDDLEBROOK BLVD                                                                                   MIDDLEBRG HTS      OH   44130‐2677
MARTIN WEBSTER                      5881 DIXIE HGWY APT J 269                                                                               CLARKSTON          MI   48346
MARTIN WEIKEL                       2952 RAVENGLASS RD                                                                                      WATERFORD          MI   48329‐2647
MARTIN WEILER                       2309 MICHIGAN AVE                                                                                       BAY CITY           MI   48708‐8460
MARTIN WEISENBORN                   833 ADAMS AVE NW                                                                                        WARREN             OH   44483‐4701
MARTIN WEITZEL JR                   204 STEVENS RD                                                                                          BALTIMORE          MD   21220‐2818
MARTIN WELCH                        7510 W LEE HWY                                                                                          RURAL RETREAT      VA   24368‐2799
MARTIN WHITE                        3934 ROSEMONT RD                                                                                        NORTH JACKSON      OH   44451‐9720
MARTIN WHITE                        2922 RAVENGLASS RD                                                                                      WATERFORD          MI   48329‐2647
MARTIN WHITE                        106 VALLEY NORTH BLVD                                                                                   JACKSON            MS   39206‐3143
MARTIN WHITE                        144 N MERRIMAC ST                                                                                       PONTIAC            MI   48340‐2532
MARTIN WIENCEK                      48505 KINGS DR                                                                                          SHELBY TWP         MI   48315‐4025
MARTIN WIESMEIER                    ORTEREISTR 3                                                                        84453 MUEULDORF
                                                                                                                        GERMANY
MARTIN WILCOME                      2244 9 MILE RD NW                                                                                       GRAND RAPIDS       MI 49544‐9729
MARTIN WILLIAM N (407252)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA 23510
                                                                        STREET, SUITE 600
MARTIN WILLIAM T (410198)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA 23510
                                                                        STREET, SUITE 600
MARTIN WILLIAMS                     5064 13 MILE RD NE                                                                                      ROCKFORD           MI   49341‐8433
MARTIN WILLIAMS                     7860 HOLLY RIDGE DR                                                                                     HORN LAKE          MS   38637‐8118
MARTIN WILLIAMS                     8248 MAIN ST                                                                                            KINSMAN            OH   44428‐9574
MARTIN WILLIAMSON                   1217 GROVENBURG RD                                                                                      HOLT               MI   48842‐8612
MARTIN WILLIE (639377)              KELLER FISHBACK LLP                 28720 ROADSIDE DR STE 201                                           AGOURA HILLS       CA   91301‐3319
MARTIN WILSON                       103 PRINCE ERIC LN                                                                                      PALM COAST         FL   32164‐7194
MARTIN WILSON                       2450 LAYTON RD                                                                                          ANDERSON           IN   46011‐2938
MARTIN WINANS                       3522 PICKWICK PL                                                                                        LANSING            MI   48917‐1786
MARTIN WISE JR                      8705 KILLINGER RD                                                                                       FOWLERVILLE        MI   48836‐9339
MARTIN WIZYNAJTYS                   5489 PEAR TREE DR                                                                                       BURTON             MI   48519‐1574
MARTIN WOJTKIEWICZ                  21771 INDIAN CREEK DR                                                                                   FARMINGTON HILLS   MI   48335‐5534
MARTIN WOLF                         TRISTANSTRASSE 1                    68199 MANNHEIM
MARTIN WOLFE, AS ADMINISTRATOR OF   C/O ANTHONY STEFANON ATTORNEYS      ATTN: ANTHONY STEFANON        1847 CENTER ST.                       CAMP HILL          PA 17011
THE ESTATE OF PAMELA TUTKO
MARTIN WRIGHT                       3379 DESOTO BLVD                                                                                        PALM HARBOR        FL   34683‐1908
MARTIN WUSTMAN                      10132 E CIRCLESTONE CT                                                                                  GOLD CANYON        AZ   85218‐5865
                                  09-50026-mg              Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
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Name                              Address1                             Address2                     Address3                   Address4              City              State Zip
MARTIN YAFFE INTERNATIONAL LTD.
MARTIN YANIGLOS                   C/O BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS        OH 44236
MARTIN YANY                       THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                                       BALTIMORE         MD 21201

MARTIN YOUNG                      1625 W KALAMAZOO ST                                                                                                LANSING           MI    48915‐1164
MARTIN ZAREMBA                    8444 LITTO DR                                                                                                      STRONGSVILLE      OH    44136‐1812
MARTIN ZAREMBA                    28495 CUMBERLAND DR                                                                                                FARMINGTN HLS     MI    48334‐5123
MARTIN ZARNICK JR                 1708 SANTA FE TRL                                                                                                  HARTLAND          MI    48353‐7308
MARTIN ZDYBEL                     1126 LILAC AVE                                                                                                     EAST LANSING      MI    48823‐5123
MARTIN ZEHNER JR                  10043 W CUMBERLAND DR                                                                                              SUN CITY          AZ    85351‐4555
MARTIN ZIMMERMAN                  1401 SE 6TH ST                                                                                                     MOORE             OK    73160‐8218
MARTIN ZINK                       39006 STACEY DR                                                                                                    LIVONIA           MI    48154‐1069
MARTIN ZOFCHAK                    3141 TAMARRON DR                                                                                                   ROCHESTER HILLS   MI    48309‐1248
MARTIN ZOJER                      MAGDALENEUSTRABE 6/13                                                                        1060 VIENNA AUSTRIA
MARTIN ZUANICH AND MARY LOUISE    PO BOX 3437                                                                                                        SAN LUIS OBISPO    CA 93403
ZUANICH
MARTIN ZULICK                     611 WELLMAN AVE                                                                                                    GIRARD            OH    44420‐2337
MARTIN'S AUTO REPAIR              3636 N 16TH ST                                                                                                     PHOENIX           AZ    85016‐6422
MARTIN'S AUTOMOTIVE               1632 SOUTHEAST PKWY                                                                                                AZLE              TX    76020‐3923
MARTIN'S AUTOMOTIVE REPAIR &      9558 HELMS TRL STE 100                                                                                             FORNEY            TX    75126‐7599
MAINTENANCE
MARTIN'S AUTOMOTIVE REPAIR &      9550 HELMS TRL STE 200                                                                                             FORNEY             TX   75126‐7550
MAINTENANCE
MARTIN'S PASTRY SHOPPE, INC.                                           100 POTATO ROLL LANE         C/O MARION GARAGE                                                  PA    17201
MARTIN'S POTATO CHIPS INC.                                             5847 LINCOLN HWY W                                                                              PA    17364
MARTIN'S SERVICE STATION          309 CHARLES STREET                                                                                                 LA PLATA          MD    20646
MARTIN, A C                       129 SW 75TH ST                                                                                                     LAWTON            OK    73505‐6401
MARTIN, AARON W                   2020 MANOR DR                                                                                                      LEBANON           IN    46052‐1321
MARTIN, ABIGAIL T                 12654 HERRON ST                                                                                                    SYLMAR            CA    91342‐1954
MARTIN, ADA M                     17325 INVERMERE AVE                                                                                                CLEVELAND         OH    44128‐1655
MARTIN, ADAM E                    2720 MULBERRY DR                                                                                                   CLARKSTON         MI    48348‐5302
MARTIN, ADELE R                   1906 14TH ST                                                                                                       BEDFORD           IN    47421‐3639
MARTIN, AGNES A.                  2575 RUSSELLVILLE RD                                                                                               MORGANTOWN        KY    42261‐8505
MARTIN, ALAN B                    5333 36 MILE RD                                                                                                    BRUCE TWP         MI    48065‐1702
MARTIN, ALAN D                    4010 WATERLAND DR                                                                                                  METAMORA          MI    48455‐9610
MARTIN, ALBERT                    1317 ELDORADO DR                                                                                                   FLINT             MI    48504‐3238
MARTIN, ALBERT A                  GLASSER AND GLASSER                  CROWN CENTER                 580 EAST MAIN STREET STE                         NORFOLK           VA    23510
                                                                                                    600
MARTIN, ALBERT E                  1333 GENELLA ST                                                                                                    WATERFORD         MI    48328‐1340
MARTIN, ALBERT J                  3 LIGHTHOUSE POINTE                                                                                                FENTON            MI    48430
MARTIN, ALBERT J                  3916 TIMBERLANE RD NE                                                                                              WESSON            MS    39191‐6106
MARTIN, ALBERT L                  2842 GOODWILL RD                                                                                                   MINDEN            LA    71055‐7111
MARTIN, ALBERT LEE                2842 GOODWILL RD                                                                                                   MINDEN            LA    71055‐7111
MARTIN, ALBERT M                  1095 GRACE RD                                                                                                      FRANKFORT         MI    49635‐9438
MARTIN, ALBERTA                   429 MOORE ST                                                                                                       FLINT             MI    48505‐5373
MARTIN, ALFONSO                   2470 MURPHY RD                                                                                                     FLINT             MI    48504‐6554
MARTIN, ALFRED N                  3924 AZALEA CT                                                                                                     CLARKSTON         MI    48348‐1406
MARTIN, ALFREDA                   2886 COUNTY FARM RD                                                                                                HOWELL            MI    48843‐8973
MARTIN, ALICE                     GUY WILLIAM S                        PO BOX 509                                                                    MCCOMB            MS    39649‐0509
MARTIN, ALICE                     3375 STATE ROUTE 96 E                                                                                              SHELBY            OH    44875‐9452
MARTIN, ALICE                     3375 ST RT 96 E.                                                                                                   SHELBY            OH    44875‐9452
MARTIN, ALICE J                   806 N MCDONOUGH ST                                                                                                 JONESBORO         GA    30236‐3392
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Name                  Address1                          Address2                        Address3   Address4         City             State Zip
MARTIN, ALICE J       12595 W TUSCOLA RD                                                                            CLIO              MI 48420‐1087
MARTIN, ALICE J       12595 TUSCOLA RD                                                                              CLIO              MI 48420‐1087
MARTIN, ALICE M       3151 LAKE RD                                                                                  CUMMING           GA 30040‐7406
MARTIN, ALICE M       409 HARBOR LGTS                                                                               TINTON FALLS      NJ 07753‐7722
MARTIN, ALICE M       111 PILGRIM RD                                                                                TONAWANDA         NY 14150‐9027
MARTIN, ALICE M       3151 LAKE ROAD                                                                                CUMMING           GA 30040‐7406
MARTIN, ALICE M       111 PILGRIM ROAD                                                                              TONAWANDA         NY 14150‐9027
MARTIN, ALISA R       1907 TIERRA DEL SOL                                                                           KILGORE           TX 75662
MARTIN, ALLAN D       234 PONDEROSA RD                                                                              WINNSBORO         LA 71295‐5685
MARTIN, ALLAN W       1977 KETEGAWN RD                                                                              OWOSSO            MI 48867‐1529
MARTIN, ALLEN J       18265 BIRWOOD ST                                                                              DETROIT           MI 48221‐1931
MARTIN, ALLEN K       1716 JENNY LN                                                                                 WARSAW            IN 46580‐1803
MARTIN, ALOYS G       6653 MERWIN CHASE, N.E.                                                                       BROOKFIELD        OH 44403‐9762
MARTIN, ALVIN J       12029 W LENNON RD                                                                             LENNON            MI 48449‐9725
MARTIN, ALVIN W       5313 HIGHWAY 5                                                                                GLOSTER           LA 71030‐3059
MARTIN, ALYA D        1773 OAKWOOD RD                                                                               ORTONVILLE        MI 48462‐8671
MARTIN, AMBER
MARTIN, AMBROSE R     12108 MAIDSTONE AVE                                                                           NORWALK          CA   90650‐2326
MARTIN, AMY L         3234 PARKER DR                                                                                ROYAL OAK        MI   48073‐6917
MARTIN, AMY M         3688 PONDEROSA LANE                                                                           POWDER SPRINGS   GA   30127‐2076
MARTIN, ANASTACIA G   606 RIVERSHORE CT                                                                             EDGEWOOD         MD   21040‐3603
MARTIN, ANDREA        20955 HIGHWAY 77                                                                              GROSSE TETE      LA   70740‐3502
MARTIN, ANDREA        3635 HIGHWAY 169                                                                              MOORINGSPORT     LA   71060‐9403
MARTIN, ANDREA V      3635 HIGHWAY 169                                                                              MOORINGSPORT     LA   71060‐9403
MARTIN, ANDREW        3307 ELMDALE DRIVE                                                                            BETHEL PARK      PA   15102‐1105
MARTIN, ANGELA        910 EAST BAYVIEW DRIVE                                                                        SHELTON          WA   98584‐8126
MARTIN, ANGELA A      82 FOX TROTTER DR                                                                             O FALLON         MO   63368‐5608
MARTIN, ANGELA L      1044 KILANI AVE                                                                               WAHIAWA          HI   96786
MARTIN, ANGELA M      5297 SEYMOUR RD                                                                               SWARTZ CREEK     MI   48473‐1048
MARTIN, ANGELA M      11493 CASTLE CT                                                                               CLIO             MI   48420‐1716
MARTIN, ANGELINE E    5532 THRUSH DR                                                                                GRAND BLANC      MI   48439‐7940
MARTIN, ANGELIQUE
MARTIN, ANGELIQUE     HARDY FORD T JR                   839 SAINT CHARLES AVE STE 312                               NEW ORLEANS      LA   70130‐3756
MARTIN, ANGELIQUE Y   923 SYMPHONY DRIVE                                                                            AURORA           IL   60504‐5517
MARTIN, ANITA C       164 FARMHOUSE RD                                                                              MOUNT AIRY       GA   30563‐2918
MARTIN, ANN           8360 CLARENCE CENTER RD                                                                       EAST AMHERST     NY   14051‐1988
MARTIN, ANN M         2938 E 25 N                                                                                   HUNTINGTON       IN   46750‐9360
MARTIN, ANN MARIE     2938 E 25 N                                                                                   HUNTINGTON       IN   46750‐9360
MARTIN, ANN N         5153 BREWER RD                                                                                LAINGSBURG       MI   48848‐8765
MARTIN, ANNA G        9768 W MAIN ST                                                                                LAPEL            IN   46051‐9620
MARTIN, ANNA M        1926 MEADOW LN                                                                                JANESVILLE       WI   53546‐5369
MARTIN, ANNA T        6075 ROSS RD                                                                                  NEW CARLISLE     OH   45344‐8803
MARTIN, ANNABELLE     4541 VARSITY CIRCLE                                                                           LEHIGH ACERS     FL   33971‐2063
MARTIN, ANNAMARIE L   21105 NW 70TH AVE                                                                             ALACHUA          FL   32615‐7005
MARTIN, ANNE E        1200 SMITH RD                                                                                 XENIA            OH   45385‐8750
MARTIN, ANNETTA J     303 NW ST                                                                                     TIPTON           IN   46072‐1328
MARTIN, ANNETTA J     213 CANTERBURY CT                 APT 213                                                     TIPTON           IN   46072
MARTIN, ANNETTE       3280 FRANCES LN                                                                               KOKOMO           IN   46902‐9706
MARTIN, ANNETTE       6306 WINDCREST DR APT 2215                                                                    PLANO            TX   75024‐3029
MARTIN, ANNIE H       406 BROOKWOOD ESTATE                                                                          BYRAM            MS   39272
MARTIN, ANNIE R       3918 LAWNDALE AVE                                                                             FLINT            MI   48504‐3529
MARTIN, ANNIE RUTH    3918 LAWNDALE AVE                                                                             FLINT            MI   48504‐3529
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Name                  Address1                         Address2           Address3         Address4         City            State Zip
MARTIN, ANNIE T       G3100 MILLER RD.BUILDING 10 #A                                                        FLINT            MI 48507‐1362
MARTIN, ANTHONY       1006 MICHIGAN AVE NW                                                                  ATLANTA          GA 30314‐2804
MARTIN, ANTHONY C     523 SW 13TH ST                                                                        BLANCHARD        OK 73010‐7547
MARTIN, ANTHONY J     3138 SUMMIT RIDGE DR                                                                  ROCHESTER HLS    MI 48305‐2954
MARTIN, ANTHONY M     ANGELOS PETER G LAW OFFICES      60 WEST BROAD ST                                     BETHLEHEM        PA 18018
MARTIN, ANTHONY Q     2235 CATALPA DRIVE                                                                    DAYTON           OH 45406‐3002
MARTIN, ANTONIO G     16619 RAYEN ST                                                                        NORTH HILLS      CA 91343‐4018
MARTIN, APRIL         1344 BRIERY CREEK RD                                                                  SCOTTSVILLE      VA 24590‐4114
MARTIN, ARKIE V       PO BOX 21                                                                             COLLISON          IL 61831‐0021
MARTIN, ARLEIN M      203 S. LONETREE                  BOX 177                                              BLUNT            SD 57522
MARTIN, ARLENE E      5740 N WILLIAMSTON RD                                                                 WILLIAMSTON      MI 48895‐9623
MARTIN, ARLENE M      43921 GALWAY DR                                                                       NORTHVILLE       MI 48167‐3707
MARTIN, ARMETTA M     25951 DALE ST                                                                         ROSEVILLE        MI 48066‐5033
MARTIN, ARNOLD        1525 HOCHWALT AVE                                                                     DAYTON           OH 45408‐1841
MARTIN, ARNOLD        1525 HOCKWALT                                                                         DAYTON           OH 45408‐1841
MARTIN, ARNOLD        718 HIWASSEE DAM ACCESS RD                                                            MURPHY           NC 28906‐1849
MARTIN, ARNOLD L      471 FINNEY RD                                                                         GLASGOW          KY 42141‐8707
MARTIN, ARTHUR        605 HARRISON ST                                                                       ANDERSON         IN 46012‐3752
MARTIN, ARTHUR A      3143 W 84TH PL                                                                        CHICAGO           IL 60652‐3426
MARTIN, ARTHUR D      9412 NEW YORK AVE                LOT #335                                             HUDSON           FL 34667
MARTIN, ARTHUR J      17423 N PALO VERDE DR                                                                 SUN CITY         AZ 85373‐2139
MARTIN, ARTHUR L      175 SURREY PARK DR                                                                    FAYETTEVILLE     GA 30215‐2533
MARTIN, ARTHUR L      5740 N WILLIAMSTON RD                                                                 WILLIAMSTON      MI 48895‐9623
MARTIN, ARTHUR L      18453 LITTLEFIELD ST                                                                  DETROIT          MI 48235‐1350
MARTIN, ARTIE J       15753 KINGSTON DR                                                                     FRASER           MI 48026‐2381
MARTIN, ARVID L       2983 S BLACKS CORNERS RD                                                              IMLAY CITY       MI 48444‐9788
MARTIN, ARVIL J       7410 W 89TH ST                                                                        OVERLAND PARK    KS 66212‐2024
MARTIN, ASHLEY ROSE   4147 BRANCH RD                                                                        FLINT            MI 48506‐1901
MARTIN, AUDA L        2006 GOLDENROD LN                                                                     ARLINGTON        TX 76013‐3709
MARTIN, AUDREY N      5847 WESTHAVEN DR APT A                                                               FORT WORTH       TX 76132‐4811
MARTIN, B W           PORTER & MALOUF PA               4670 MCWILLIE DR                                     JACKSON          MS 39206‐5621
MARTIN, BARBARA       1002 WEST LAPEER STREET                                                               LANSING          MI 48915
MARTIN, BARBARA A     328 HONEY LOCUST PL                                                                   NORTH VERNON     IN 47265‐9059
MARTIN, BARBARA A     2729 WINDCREST TRL                                                                    ANTIOCH          TN 37013‐1474
MARTIN, BARBARA E     6111 N HARVEY ST                                                                      WESTLAND         MI 48185‐3165
MARTIN, BARBARA E     6111 HARVEY                                                                           WESTLAND         MI 48185‐3165
MARTIN, BARBARA J     100 S JEFFERSON #102                                                                  SAGINAW          MI 48607
MARTIN, BARBARA J     912 NORWOOD                                                                           TOLEDO           OH 43607‐2049
MARTIN, BARBARA J     101 LAKEWAY DR                                                                        BENBROOK         TX 76126‐3209
MARTIN, BARBARA J     13995 E 100 N 34                                                                      SWAYZEE          IN 46986
MARTIN, BARBARA J     8930 CEDARWOOD DR APT 907                                                             ORLAND HILLS      IL 60487‐4991
MARTIN, BARBARA N     15000 CAROLYN DRIVE                                                                   NEWALLA          OK 74857‐8527
MARTIN, BARBARA S     11176 BARRINGTON BLVD                                                                 PARMA HEIGHTS    OH 44130‐4413
MARTIN, BARBARA S     34676 MELTON ST                                                                       WESTLAND         MI 48186
MARTIN, BARNEY H      710 E RIVERVIEW DR                                                                    GLENCOE          AL 35905‐9020
MARTIN, BARRY D       13449 MAPLE RD                                                                        BIRCH RUN        MI 48415‐8710
MARTIN, BARRY H       6825 S COUNTY ROAD 25A                                                                TIPP CITY        OH 45371‐2435
MARTIN, BARRY J       PO BOX 122                       101 BORDEN                                           ABBOTT           TX 76621‐0122
MARTIN, BARRY K       115 COUNTRY WORLD DR E                                                                DAVENPORT        FL 33897‐7921
MARTIN, BASIL G       101 4TH AVE APT A101                                                                  TAWAS CITY       MI 48763‐9155
MARTIN, BASIL G       109 CHURCH ST                    APT 309                                              EAST TAWAS       MI 48730‐1156
MARTIN, BEATRICE      6339 BRIDGEPORT DR                                                                    CHARLOTTE        NC 28215‐2321
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Name                    Address1                       Address2                       Address3   Address4         City            State Zip
MARTIN, BEATRICE        6339 BRIDREPORT DR                                                                        CHARLOTTE        NC 28215‐2321
MARTIN, BEATRICE        1015 E LINCOLN ST APT 17                                                                  EAST TAWAS       MI 48730‐1679
MARTIN, BEATRICE A      740 COUNTY ROAD 212 LOT 33                                                                FREMONT          OH 43420‐8403
MARTIN, BEATRICE H      605 HARRISON ST                                                                           ANDERSON         IN 46012‐3752
MARTIN, BEATRICE M      38439 5TH AVE, #115                                                                       ZEPHYRHILLS      FL 33542
MARTIN, BEN A           5073 SHAKER RD                                                                            FRANKLIN         OH 45005‐5155
MARTIN, BENJAMIN        4355 JO DRIVE                                                                             SAGINAW          MI 48601‐5007
MARTIN, BENNIE E        10045 PLANTANA BLVD                                                                       FISHERS          IN 46038‐5529
MARTIN, BENNIE EDWARD   10045 PLANTANA BLVD                                                                       FISHERS          IN 46038‐5529
MARTIN, BENNIE L        17780 SW WASHINGTON DR                                                                    ALOHA            OR 97007‐1747
MARTIN, BERLA M         4732 PORTER ST                                                                            FREMONT          CA 94538‐2525
MARTIN, BERNA K         9103 N DALTON AVE                                                                         KANSAS CITY      MO 64154‐1925
MARTIN, BERNA KAY       9103 N DALTON AVE                                                                         KANSAS CITY      MO 64154‐1925
MARTIN, BERNARD H       704 CARSON CT                                                                             KOKOMO           IN 46902‐3915
MARTIN, BERTIE M        14120 TYSON TRL                                                                           CAMDEN           MI 49232‐9510
MARTIN, BERTRAM P       161 CRESTON RD                                                                            MANSFIELD        OH 44906‐2208
MARTIN, BERTRAND        18710 SHOSHONEE RD                                                                        APPLE VALLEY     CA 92307‐5995
MARTIN, BETHANY A       PO BOX 751                                                                                ORTONVILLE       MI 48462‐0751
MARTIN, BETTIE B        816 LONGFELLOW RD              C/O VIRGINIA A HAZELWOOD                                   ANDERSON         IN 46011‐1826
MARTIN, BETTIE B        C/O VIRGINIA A HAZELWOOD       816 LONGFELLOW RD                                          ANDERSON         IN 46011‐826
MARTIN, BETTY           1532 WINCHESTER                                                                           LINCOLN PARK     MI 48146‐3861
MARTIN, BETTY           12128 GRANT ST                                                                            OVERLAND PARK    KS 66213‐2507
MARTIN, BETTY           1296 S BRIDGETON RD                                                                       ROCKVILLE        IN 47872‐7001
MARTIN, BETTY ANN       1748 FAIRVIEW FARMS CIRCLE                                                                WENTZVILLE       MO 63385‐2763
MARTIN, BETTY C         500 N THE STRAND APT 69                                                                   OCEANSIDE        CA 92054
MARTIN, BETTY G         123 S WALNUT ST                                                                           FAIRMOUNT        IN 46928‐1743
MARTIN, BETTY J         N VERMILION ST                 14792 CATLIN TILTON RD                                     DANVILLE          IL 61832‐1175
MARTIN, BETTY J         PO BOX 89                                                                                 DANVILLE         IN 46122‐0089
MARTIN, BETTY J         VERMILION MANOR NURSING HOME   14792 CATLIN TILTON RD                                     DANVILLE          IL 61834
MARTIN, BETTY J         1201 W VALENCIA DR #168                                                                   FULLERTON        CA 92833‐3333
MARTIN, BETTY J.        11393 N MARTINDALE ST                                                                     DETROIT          MI 48204‐1656
MARTIN, BETTY L         5485 4TH MANOR                                                                            VERO BEACH       FL 32968‐1061
MARTIN, BETTY L         1219 51ST AVE E LOT 84                                                                    BRADENTON        FL 34203‐4813
MARTIN, BETTY M         614 NW 18TH ST                                                                            OKLAHOMA CITY    OK 73103‐1825
MARTIN, BETTY S         2785 WINGATE ST                                                                           EUGENE           OR 97408
MARTIN, BEVERLY ANN     522 POPLAR ST                                                                             CLIO             MI 48420‐1262
MARTIN, BILL            257 SPRINGFIELDS LN                                                                       JACKSBORO        TN 37757‐2235
MARTIN, BILLIE J        290 CLARK ST. APT# 3                                                                      MONTROSE         MI 48457
MARTIN, BILLIE J        290 CLARK ST APT 3                                                                        MONTROSE         MI 48457‐9462
MARTIN, BILLY           LANIER LAW FIRM                6810 FM 1960 WEST SUITE 1550                               HOUSTON          TX 77069
MARTIN, BILLY D         5267 BLAIR DR                                                                             TROY             MI 48085‐4034
MARTIN, BIRL M          2811 OAK ST                                                                               TUSCALOOSA       AL 35401‐5434
MARTIN, BLAINE N        10017 W 700 N                                                                             THORNTOWN        IN 46071‐9137
MARTIN, BLESSEN         18710 SHOSHONEE RD                                                                        APPLE VALLEY     CA 92307‐5995
MARTIN, BOBBIE J        115 LOVETT DR                                                                             CLINTON          MS 39056‐3045
MARTIN, BOBBY G         1704 JACKSON DR                                                                           ARLINGTON        TX 76013‐3625
MARTIN, BOBBY J         13102 HARBOR LANDINGS DR                                                                  FENTON           MI 48430‐3900
MARTIN, BOBBY W         25964 THACH RD                                                                            ATHENS           AL 35613‐3133
MARTIN, BONNIE S        2330 W WALTON BLVD                                                                        WATERFORD        MI 48329‐4432
MARTIN, BOYD C          1830 E YOSEMITE AVE SPC 66                                                                MANTECA          CA 95336‐5032
MARTIN, BRADLEY W       8170 MCCARTY RD                                                                           SAGINAW          MI 48603‐9618
MARTIN, BRENDA          6435 OLEA LN UNIT 106                                                                     CARLSBAD         CA 92011‐2744
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Name                    Address1                       Address2                     Address3                   Address4         City               State Zip
MARTIN, BRENDA          6435 OLEA LANE APT 106                                                                                  CARLSBAD            CA 92011
MARTIN, BRENDA A        407 W HARTFORD AVE                                                                                      UXBRIDGE            MA 01569‐1179
MARTIN, BRENDA J        506 HENLEY PERRY DR                                                                                     MARSHALL            TX 75670‐5354
MARTIN, BRENDA J        4544 COUNTY ROAD 217                                                                                    TRINITY             AL 35673‐3514
MARTIN, BRENDA JOYCE    COON BRENT W                   PO BOX 4905                                                              BEAUMONT            TX 77704‐4905
MARTIN, BRENDA N        155 AIKMAN PASS                                                                                         CONWAY              AR 72034‐5517
MARTIN, BRENDA R        2260 CASTLE ROYALE DR                                                                                   LAWRENCEVILLE       GA 30043‐2853
MARTIN, BRIAN A         685 PRESTON DR                                                                                          WAYNESVILLE         OH 45068‐8457
MARTIN, BRIAN GREGORY   CONSUMER LEGAL SERVICES        1950 SAWTELLE BLVD STE 245                                               LOS ANGELES         CA 90025‐7017
MARTIN, BRIAN J         1250 COLUMBIA ROAD                                                                                      BERKLEY             MI 48072‐1969
MARTIN, BRIAN J         44 W RALEIGH RD                                                                                         ASHEVILLE           NC 28803‐1124
MARTIN, BRIAN K         20017 N GREAT OAKS CIR                                                                                  CLINTON TWP         MI 48036‐2435
MARTIN, BRIAN K         516 HICKORY LANE                                                                                        SALEM               OH 44460‐1106
MARTIN, BRIAN W         7719 FULLER RD                                                                                          GREENVILLE          MI 48838‐9510
MARTIN, BRIANNA OLIM    714 SOUTHLAND APT C                                                                                     LANSING             MI 48910
MARTIN, BRIANNA OLIM    1777 HASLETT RD                APT 322                                                                  EAST LANSING        MI 48823‐2895
MARTIN, BRUCE A         1003 STERLING CT                                                                                        BAY CITY            MI 48706‐3974
MARTIN, BRUCE A         2132 PIER DR                                                                                            RUSKIN              FL 33570
MARTIN, BRUCE A         347 E 100 NORTH                                                                                         VEEDERSBURG         IN 47987
MARTIN, BRUCE A         1415 N MULBERRY ST                                                                                      HARTFORD CITY       IN 47348‐1439
MARTIN, BRUCE ALLEN     1415 N MULBERRY ST                                                                                      HARTFORD CITY       IN 47348‐1439
MARTIN, BRUCE P         37 PRESSLEY DR                                                                                          TOCCOA              GA 30577‐9315
MARTIN, BUFORD C        GLASSER AND GLASSER            CROWN CENTER                 580 EAST MAIN STREET STE                    NORFOLK             VA 23510
                                                                                    600
MARTIN, BYRON R         GLASSER AND GLASSER            CROWN CENTER                 580 EAST MAIN STREET STE                    NORFOLK            VA 23510
                                                                                    600
MARTIN, C W             357 S 9TH ST                                                                                            SAGINAW            MI   48601‐1827
MARTIN, C W             122 AVERY PL                                                                                            CHEEKTOWAGA        NY   14225‐3965
MARTIN, CALVIN          286 NORMAL AVE                                                                                          BUFFALO            NY   14213
MARTIN, CALVIN L        522 ANNA ST                                                                                             DAYTON             OH   45402‐5508
MARTIN, CAMILLE S       PO BOX 442031                                                                                           DETROIT            MI   48244‐2031
MARTIN, CAREEN          2339 121ST CIR NW                                                                                       COON RAPIDS        MN   55448‐2685
MARTIN, CARL A          4448 WEST GRAND RIVER AVENUE                                                                            HOWELL             MI   48855‐8711
MARTIN, CARL C          2144 INDIAN TRAIL RD                                                                                    CARLETON           MI   48117‐9313
MARTIN, CARL D          4111 AQUARINA ST                                                                                        WATERFORD          MI   48329‐2119
MARTIN, CARL F          3501 S STATE ROUTE 4                                                                                    ATTICA             OH   44807
MARTIN, CARL G          132 CHAMBERLIN DR                                                                                       HAMILTON           OH   45013‐2116
MARTIN, CARLETON E      PO BOX 96                                                                                               CHARLESTON         ME   04422‐0096
MARTIN, CARLON D        423 LILLARD RD STE B                                                                                    ARLINGTON          TX   76012‐3646
MARTIN, CAROL A         2030 BANBURY RD                                                                                         KALAMAZOO          MI   49001‐5206
MARTIN, CAROL A         PO BOX 223                                                                                              PORT ROYAL         VA   22535‐0223
MARTIN, CAROL C         12133 TWENTY ONE MILE ROAD                                                                              SHELBY TWP         MI   48315
MARTIN, CAROL J         38770 CHESHIRE DR                                                                                       NORTHVILLE         MI   48167‐9057
MARTIN, CAROLE A        PO BOX 4955                                                                                             TOLEDO             OH   43610‐0955
MARTIN, CAROLE ANN      7 JUAREZ LN                                                                                             PORT ST LUCIE      FL   34952‐8528
MARTIN, CAROLINE J      36891 FOX GLEN                                                                                          FARMINGTON HILLS   MI   48331‐1801
MARTIN, CAROLINE J      36891 FOX GLN                                                                                           FARMINGTON HILLS   MI   48331‐1801
MARTIN, CAROLYN         1310 BARBARA DR                                                                                         FLINT              MI   48505‐2594
MARTIN, CAROLYN A       PO BOX 11                                                                                               BURLINGTON         IN   46915‐0011
MARTIN, CAROLYN A       1861 CLAIRMONT RD APT 517                                                                               DECATUR            GA   30033‐3434
MARTIN, CAROLYN B       4005 APPLETON WAY                                                                                       WILMINGTON         NC   28412‐7307
MARTIN, CAROLYN C       401 MERRICK DR                                                                                          BEAVERCREEK        OH   45434‐5811
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Name                      Address1                          Address2                      Address3   Address4         City            State Zip
MARTIN, CAROLYN J         24223 CHARLEVOIX ST                                                                         BROWNSTOWN       MI 48134‐8049
MARTIN, CAROLYN L         143 WOODBURY ST                                                                             ELYRIA           OH 44035‐4011
MARTIN, CAROLYN M         120 W PINE                        PO BOX 427                                                WESTPHALIA       MI 48894‐9816
MARTIN, CARRAN M          387 BIRCHWOOD DR                                                                            LOCKPORT         NY 14094‐9158
MARTIN, CARRIE L          3809 FARMBROOK DR                                                                           SYLVANIA         OH 43560‐3513
MARTIN, CARRIE V          505 BORONIA RD                    C/0 JUANITA MARTIN WILLIS‐                                ARLINGTON        TX 76002‐4515
                                                            WOOTEN
MARTIN, CATHERINE         1488 DOWNING LN                                                                             NORCROSS        GA   30093‐1369
MARTIN, CATHERINE C       3110 PEACHTREE STREET                                                                       JANESVILLE      WI   53548‐3243
MARTIN, CATHERINE H       407 PAULDING BLVD                                                                           DALLAS          GA   30157‐0641
MARTIN, CATHERINE M       30781 N GREENBRIAR RD                                                                       FRANKLIN        MI   48025‐1456
MARTIN, CATHERINE MARIE   30781 N GREENBRIAR RD                                                                       FRANKLIN        MI   48025‐1456
MARTIN, CATHERINE P       2921 OCONEE CIRCLE                                                                          GAINESVILLE     GA   30507
MARTIN, CATHY A           225 BROOKFIELD DR                                                                           OXFORD          MI   48371‐4467
MARTIN, CATHY D           11615 BUCKBOARD LN                                                                          HARLAN          IN   46743‐9780
MARTIN, CATHY L           6825 COUNTY RD 25 A                                                                         TIPP CITY       OH   45371‐2435
MARTIN, CATHY L           6825 S COUNTY ROAD 25A                                                                      TIPP CITY       OH   45371‐2435
MARTIN, CECIL R           122 EUCLID AVE                                                                              PONTIAC         MI   48342‐1113
MARTIN, CECILY C          26794 ROYAL DR                                                                              WOODHAVEN       MI   48183‐5314
MARTIN, CEDRIC P          4325 GREENHILL WAY                                                                          ANDERSON        IN   46012‐9742
MARTIN, CELIA M           5185 PHEASANT RUN DR APT 3                                                                  SAGINAW         MI   48638‐6348
MARTIN, CHARLENE J        13959 E 49TH TERR, UNIT A                                                                   KANSAS CITY     MO   64133‐7727
MARTIN, CHARLENE S        8120 NAVONA LN                                                                              CLAY            NY   13041
MARTIN, CHARLENE S        1124 E 600 N                                                                                ALEXANDRIA      IN   46001‐8790
MARTIN, CHARLES           5805 HIGHWAY 133                                                                            COLUMBIA        LA   71418‐7375
MARTIN, CHARLES           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                            STREET, SUITE 600
MARTIN, CHARLES           1505 PROSPECT ST                                                                            FLINT           MI   48503‐1269
MARTIN, CHARLES           48882 TANGLEWOOD DR                                                                         MACOMB          MI   48044‐2316
MARTIN, CHARLES A         298 OLDHAM WAY                                                                              HUDSON          OH   44236‐2091
MARTIN, CHARLES A         1275 CEDAR OAK LN                                                                           LAWRENCEVILLE   GA   30043‐7228
MARTIN, CHARLES A         3457 LANDVIEW DR                                                                            ROCHESTER       MI   48306‐1154
MARTIN, CHARLES A         PO BOX 227                        400 LOCUST ST                                             JUNIOR          WV   26275‐0227
MARTIN, CHARLES ALBERT    C/O GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                            STREET, SUITE 600
MARTIN, CHARLES C         230 MASON MILL RD                                                                           DANIELSVILLE    GA   30633‐4084
MARTIN, CHARLES D         19015 ELSMERE AVE                                                                           EASTPOINTE      MI   48021
MARTIN, CHARLES D         12901 ELROND DR                                                                             OKLAHOMA CITY   OK   73170‐2082
MARTIN, CHARLES D         PO BOX 612                                                                                  READING         MI   49274‐0612
MARTIN, CHARLES D         405 GRAFTON AVE                   GRAFTON OAKS NURSING HOME                                 DAYTON          OH   45406‐5202
MARTIN, CHARLES E         1112 N JONES RD                                                                             INDEPENDENCE    MO   64056‐4426
MARTIN, CHARLES E         513 NE HANS DR                                                                              BLUE SPRINGS    MO   64014‐5918
MARTIN, CHARLES E         3449 MCGRAWAPT 1                                                                            DETROIT         MI   48208
MARTIN, CHARLES E         6981 STATE ROUTE 45                                                                         BRISTOLVILLE    OH   44402‐9778
MARTIN, CHARLES I         6044 N QUINELLA WAY                                                                         DAYTON          OH   45459‐2447
MARTIN, CHARLES J         3763 BOSTEDOR RD                                                                            EATON RAPIDS    MI   48827‐8060
MARTIN, CHARLES J         5317 UPPER MOUNTAIN RD                                                                      LOCKPORT        NY   14094‐1809
MARTIN, CHARLES K         3454 SEYBURN ST                                                                             DETROIT         MI   48214‐1721
MARTIN, CHARLES L         1402 CEDARHURST CT SW                                                                       DECATUR         AL   35603‐3130
MARTIN, CHARLES L         18414 HANFORD‐ARMONA ROAD                                                                   LEMOORE         CA   93245
MARTIN, CHARLES M         8832 WASHINGTON COLONY DR                                                                   CENTERVILLE     OH   45458‐3315
MARTIN, CHARLES M         5805 HIGHWAY 133                                                                            COLUMBIA        LA   71418‐7375
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Name                    Address1                      Address2             Address3        Address4         City            State Zip
MARTIN, CHARLES M       38 STUDIO DR                                                                        WABASH           IN 46992‐7600
MARTIN, CHARLES R       4377 GRAND BLANC RD                                                                 SWARTZ CREEK     MI 48473‐9150
MARTIN, CHARLES R       501 S GREENTREE LN APT 211                                                          FOLEY            AL 36535‐4505
MARTIN, CHARLES R       1941 MAINE ST                                                                       SAGINAW          MI 48602‐1715
MARTIN, CHARLES R       1660 GIDDINGS RD                                                                    PONTIAC          MI 48340‐1411
MARTIN, CHARLES R       157 VAN BROWN RD                                                                    CANON            GA 30520‐3819
MARTIN, CHARLES R       3528 MANOR CT                                                                       INDIANAPOLIS     IN 46218‐1645
MARTIN, CHARLES REED    4377 GRAND BLANC RD                                                                 SWARTZ CREEK     MI 48473‐9150
MARTIN, CHARLES S       809 MARK RD                   BRITTANY ESTATES                                      LEESBURG         FL 34748‐9140
MARTIN, CHARLES T       38439 5TH AVENUE, # 115                                                             ZEPHYRHILLS      FL 33542
MARTIN, CHARLOTTE D     2578 NEWBERRY LANE SE                                                               KENTWOOD         MI 49508‐8400
MARTIN, CHARLOTTE I     124 S ORLANDO AVE.;                                                                 OCEAN VIEW       DE 19970
MARTIN, CHERYL          9165 CHATWELL CLUB LN         APT 1                                                 DAVISON          MI 48423
MARTIN, CHERYL A        126 E FLINT PARK BLVD                                                               FLINT            MI 48505‐3440
MARTIN, CHERYL A        PO BOX 284                    391 GRANGE HALL RD                                    ORTONVILLE       MI 48462‐0284
MARTIN, CHERYL ANN      126 E FLINT PARK BLVD                                                               FLINT            MI 48505‐3440
MARTIN, CHERYL L        1500 W MARKLAND AVE LOT 71                                                          KOKOMO           IN 46901‐6136
MARTIN, CHERYL L        1847 OWEN STREET                                                                    FLINT            MI 48503‐4358
MARTIN, CHESTER T       9501 BUS#83                   LOT# 263                                              HARLINGEN        TX 78552
MARTIN, CHRIS           2421 KERRY ST APT 8                                                                 LANSING          MI 48912‐3654
MARTIN, CHRIS C         8964 HALL DR                                                                        LENEXA           KS 66219‐1186
MARTIN, CHRISTINE       2846 MONTEREY DR                                                                    DECATUR          GA 30032‐3528
MARTIN, CHRISTINE A     PO BOX 5766                                                                         SARASOTA         FL 34277‐5766
MARTIN, CHRISTINE Y     890 MACLAND RD 1602                                                                 DALLAS           GA 30132‐5785
MARTIN, CHRISTOPHE M    3217 PRESCOTT AVE                                                                   SAGINAW          MI 48601
MARTIN, CHRISTOPHER A   PO BOX 546                                                                          NORTH WEBSTER    IN 46555‐0546
MARTIN, CHRISTOPHER D   1309 ROSE ST                                                                        KEARNEY          MO 64060‐7547
MARTIN, CHRISTOPHER H   22596 KING RICHARD CT                                                               BEVERLY HILLS    MI 48025‐2504
MARTIN, CHRISTOPHER J   38 RAEMOOR DR                                                                       PALM COAST       FL 32164‐6853
MARTIN, CHRISTOPHER J   11037 HUBBARD ST                                                                    LIVONIA          MI 48150‐2783
MARTIN, CHRISTOPHER L   PO BOX 166                                                                          LENNON           MI 48449‐0166
MARTIN, CINDY A         42803 MOCCASIN TRL                                                                  SHAWNEE          OK 74804‐9566
MARTIN, CINDY A         184 S ROSLYN RD                                                                     WATERFORD        MI 48328‐3551
MARTIN, CINDY ANN       184 S ROSLYN RD                                                                     WATERFORD        MI 48328‐3551
MARTIN, CINTHIA A       10014 88TH ST NORTH                                                                 LARGO            FL 33777
MARTIN, CLARA           830 E 237TH ST                                                                      EUCLID           OH 44123‐2502
MARTIN, CLARA           3700 WALDON RD                                                                      LAKE ORION       MI 48360‐1628
MARTIN, CLARA           830 EAST 237 ST                                                                     EUCLID           OH 44123‐2502
MARTIN, CLARENCE        301 W. PASEDENA ST                                                                  FLINT            MI 48505
MARTIN, CLARENCE        9304 YELLOWSTONE ST                                                                 DETROIT          MI 48204‐4517
MARTIN, CLARENCE D      3708 SHIELDS DR                                                                     HARRISON         AR 72601‐6608
MARTIN, CLARENCE J      PO BOX 15                                                                           MANTON           MI 49663‐0015
MARTIN, CLARENCE J      41 ELIZABETH RD                                                                     BRISTOL          CT 06010‐4868
MARTIN, CLARENCE M      3715 OAK GROVE RD                                                                   LOGANVILLE       GA 30052‐2239
MARTIN, CLARENCE O      8883 E 200 N                                                                        MARION           IN 46952‐6750
MARTIN, CLARENCE W      1860 HILLANDALE AVE                                                                 COLUMBUS         OH 43229‐1415
MARTIN, CLARICE M       2936 LIBERTY TRL                                                                    PLAINFIELD       IN 46168‐8926
MARTIN, CLARK F         8291 TORREY RD                                                                      GRAND BLANC      MI 48439‐9331
MARTIN, CLARK M         12702 BUCKHARDT COURT                                                               CLINTON          MD 20735‐4553
MARTIN, CLAUDIA A       208 CLEARWOOD LN                                                                    SHREVEPORT       LA 71105‐4104
MARTIN, CLAYTON B       10381 SH 196                                                                        TEXARKANA        AR 71854
MARTIN, CLAYTON M       114 RADCLIFFE DR                                                                    GETZVILLE        NY 14068‐1284
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Name                    Address1                           Address2         Address3         Address4         City              State Zip
MARTIN, CLEDA J         573 MELROSE LN                                                                        MOUNT MORRIS       MI 48458‐8925
MARTIN, CLIFFORD B      816 CATALPA DRIVE                                                                     ANDERSON           IN 46013‐3926
MARTIN, CLIFFORD H      44590 FOREST TRAIL DR                                                                 CANTON             MI 48187‐1703
MARTIN, CLIFFORD N      9863 W. PRICE ROAD R #2                                                               FOWLER             MI 48835
MARTIN, CLIFTON         435 E PIERSON RD                                                                      FLINT              MI 48505‐3376
MARTIN, CLIFTON         700 CANEY BRANCH RD                                                                   MURPHY             NC 28906‐5536
MARTIN, CLYDE           GUY WILLIAM S                      PO BOX 509                                         MCCOMB             MS 39649‐0509
MARTIN, CONNIE G        PO BOX 51                                                                             HIGGINSPORT        OH 45131
MARTIN, CONSTANCE H     2513 DARLING DRIVE N W                                                                ALEXANDRIA         MN 56308‐8652
MARTIN, CONSTANCE J     2417 SHATTUCK RD                                                                      SAGINAW            MI 48603‐3339
MARTIN, CORA L          4816 SYLVESTER AVE                                                                    LANSING            MI 48911‐2845
MARTIN, CORNELIOUS      482 THORS ST                                                                          PONTIAC            MI 48342‐1967
MARTIN, COSSIE M        338 FAIRFIELD DR                                                                      JACKSON            MS 39206‐2607
MARTIN, CRAIG D         1649 CUMBERLAND RD                                                                    CLEVELAND          OH 44118
MARTIN, CRAIG S         15574 GALEMORE DR                                                                     MIDDLEBRG HTS      OH 44130‐3535
MARTIN, CRAIG W         7151 N ELMS RD                                                                        FLUSHING           MI 48433‐8802
MARTIN, CRAWFORD        721 CRESTMORE AVE                                                                     DAYTON             OH 45407‐1214
MARTIN, CRYSTAL L       15885 MCCLELLAN RD                                                                    SPRINGPORT         MI 49284‐9755
MARTIN, CRYSTAL LYNNE   15885 MCCLELLAN RD                                                                    SPRINGPORT         MI 49284‐9755
MARTIN, CURTIS G        8501 JENNINGS RD                                                                      SWARTZ CREEK       MI 48473‐9140
MARTIN, CURTIS L        2722 BOND PL                                                                          JANESVILLE         WI 53548‐3366
MARTIN, CYDNEY I        1668 CHELSEA CIR                                                                      HOWELL             MI 48843‐7104
MARTIN, CYNTHIA         122 MAPLE LEAF DR                                                                     YOUNGSTOWN         OH 44515‐2228
MARTIN, CYNTHIA E       1717 N PARKER DR                                                                      JANESVILLE         WI 53545‐0769
MARTIN, CYNTHIA MAY     146 APPLEWOOD CT                                                                      DAVISON            MI 48423‐9137
MARTIN, CYNTHIA P       2977 EAGLE DR                                                                         ROCHESTER HILLS    MI 48309‐2852
MARTIN, D L             4401 RICHARD DR                                                                       LOS ANGELES        CA 90032‐1225
MARTIN, DALE E          4615 MAYFIELD METROPOLIS RD                                                           PADUCAH            KY 42001‐9523
MARTIN, DALE E          2525 E EMELITA AVE                                                                    MESA               AZ 85204‐4606
MARTIN, DALE L          1529 EBERLY RD                                                                        FLINT              MI 48532‐4542
MARTIN, DALE L          2383 WINDMIRE WAY                                                                     ANDERSON           IN 46012‐9463
MARTIN, DALE O          2511 E FARRAND RD                                                                     CLIO               MI 48420‐9174
MARTIN, DAN C           3135 WEBBER ST                                                                        SAGINAW            MI 48601
MARTIN, DAN D           1465 PEACHWOOD DR                                                                     FLINT              MI 48507‐5632
MARTIN, DAN J           4885 S RIDGESIDE CIR                                                                  ANN ARBOR          MI 48105‐9403
MARTIN, DANIEL          20323 AVALON ST                                                                       ST CLAIR SHRS      MI 48080‐3722
MARTIN, DANIEL C        26059 ROGELL RD                                                                       NEW BOSTON         MI 48164‐9211
MARTIN, DANIEL C        909 COMSTOCK ST NW                                                                    WARREN             OH 44483‐3107
MARTIN, DANIEL CRAIG    26059 ROGELL RD                                                                       NEW BOSTON         MI 48164‐9211
MARTIN, DANIEL E        3575 EDWARDS RD                                                                       GREENWICH          OH 44837
MARTIN, DANIEL F        520 JAMES P CASEY RD                                                                  BRISTOL            CT 06010‐2942
MARTIN, DANIEL J        27 ELK RANCH PARK RD                                                                  ELKTON             MD 21921‐7507
MARTIN, DANIEL K        PO BOX 273                                                                            WHEATLAND          MO 65779‐0273
MARTIN, DANIEL M        5301 BIRCHCREST DR                                                                    SWARTZ CREEK       MI 48473‐1053
MARTIN, DANIEL T        1595 S LEAVITT RD SW                                                                  WARREN             OH 44481‐9163
MARTIN, DANIEL W        7500 SUMMER BREEZE TRL                                                                HOWELL             MI 48843‐9542
MARTIN, DANIEL W        8414 OLD PLANK RD                                                                     GRAND BLANC        MI 48439‐2043
MARTIN, DANNY E         9881 SELTZER ST                                                                       LIVONIA            MI 48150‐3253
MARTIN, DANNY G         5113 BONNYBRIDGE DR                                                                   INDIANAPOLIS       IN 46241‐9206
MARTIN, DANNY H         309 AUBURN DR SW                                                                      BOGUE CHITTO       MS 39629‐8920
MARTIN, DANNY J         585 MARTIN LUTHER KING JR BLVD N                                                      PONTIAC            MI 48342‐1624
MARTIN, DANNY L         617 E BRECKENRIDGE ST                                                                 FERNDALE           MI 48220‐1375
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Name                          Address1                       Address2            Address3         Address4         City               State Zip
MARTIN, DANNY L               5338 FLORIA DR                                                                       SWARTZ CREEK        MI 48473‐8839
MARTIN, DANNY R               925 W REDBUD DR                                                                      HURST               TX 76053‐6333
MARTIN, DANNY R               50 WALNUTWOOD DR                                                                     DAVISON             MI 48423‐8137
MARTIN, DARLENE               3122 E CHOLLA ST                                                                     PHOENIX             AZ 85028‐1920
MARTIN, DARLENE F             303 W CLEVELAND ST                                                                   DELPHOS             OH 45833‐1815
MARTIN, DARLENE L             6044 HAYTER AVE                                                                      LAKEWOOD            CA 90712‐1022
MARTIN, DARLENE P             1402 CEDARHURST CT SW                                                                DECATUR             AL 35603‐3130
MARTIN, DARREL E              2874 S ASTON RD                                                                      BELOIT              WI 53511
MARTIN, DARREL E              2874 S AFTON RD                                                                      BELOIT              WI 53511‐8665
MARTIN, DARRELL A             8049 W 950 N                                                                         DALEVILLE           IN 47334
MARTIN, DAVID A               19591 STRATFORD DR                                                                   MACOMB              MI 48044‐1266
MARTIN, DAVID A               6554 NEARPOINT DR SE                                                                 CALEDONIA           MI 49316‐8442
MARTIN, DAVID A               6366 LAURENTIAN CT                                                                   FLINT               MI 48532‐2039
MARTIN, DAVID E               20739 COLMAN ST                                                                      CLINTON TWP         MI 48035‐4034
MARTIN, DAVID E               727 W DAVISON LAKE RD                                                                OXFORD              MI 48371‐1528
MARTIN, DAVID E               36891 FOX GLN                                                                        FARMINGTON HILLS    MI 48331‐1801
MARTIN, DAVID E               10 SOUTHWAY PL                                                                       GREENWOOD           IN 46142‐9219
MARTIN, DAVID H               11434 HARBOR CV 113                                                                  FENTON              MI 48430
MARTIN, DAVID J               1313 OAKLAND AVE                                                                     JANESVILLE          WI 53545‐4242
MARTIN, DAVID J               8143 OLD US 23                                                                       FENTON              MI 48430‐9309
MARTIN, DAVID J               3136 CARLISLE HWY                                                                    CHARLOTTE           MI 48813‐9560
MARTIN, DAVID J               1500 HICKORY RD                                                                      WILMINGTON          DE 19805‐1243
MARTIN, DAVID L               1849 S LIDDESDALE ST                                                                 DETROIT             MI 48217‐1145
MARTIN, DAVID L               PO BOX 9022                                                                          WARREN              MI 48090
MARTIN, DAVID L               PO BOX 24                                                                            NORTH JACKSON       OH 44451‐0024
MARTIN, DAVID L               5028 W TROY AVE                                                                      INDIANAPOLIS        IN 46241‐6227
MARTIN, DAVID L               1724 CO RD# 436                                                                      HILLSBORO           AL 35643
MARTIN, DAVID M               10492 GREENWAY AVE                                                                   ENGLEWOOD           FL 34224‐8586
MARTIN, DAVID M               37534 MEADOW OAK WAY                                                                 ZEPHYRHILLS         FL 33541‐4257
MARTIN, DAVID M               303 E MAIN ST                                                                        DEWITT              MI 48820‐8973
MARTIN, DAVID N               5155 STANLEY RD                                                                      COLUMBIAVILLE       MI 48421‐8963
MARTIN, DAVID R               6058 HEWITT GIFFORD RD SW                                                            WARREN              OH 44481‐9112
MARTIN, DAVID R               22606 EDGEWOOD ST                                                                    ST CLAIR SHRS       MI 48080‐2189
MARTIN, DAVID S               6279 TANBARK CT                                                                      GALLOWAY            OH 43119‐8926
MARTIN, DAVID S               6279 TANBARK COURT                                                                   GALLOWAY            OH 43119‐8926
MARTIN, DAVID T               209 PINEVIEW DR                                                                      MOORESVILLE         IN 46158‐2772
MARTIN, DAVID W               2667 GRACE AVE                                                                       NEWFANE             NY 14108‐1105
MARTIN, DAVID W               9225 WATERGLEN LN                                                                    JACKSONVILLE        FL 32256‐9617
MARTIN, DAVID W               228 CHATUGA WAY                                                                      LOUDON              TN 37774‐2701
MARTIN, DAYMON                1700 INVERNESS AVE                                                                   LANSING             MI 48915‐1242
MARTIN, DC & SON SCALES INC   370 36TH ST SE                                                                       GRAND RAPIDS        MI 49548‐2253
MARTIN, DEBBIE A              482 COUNTY ROAD 412                                                                  KILLEN              AL 35645‐7821
MARTIN, DEBERAH J             7001 N 350 W                                                                         COLUMBIA CITY       IN 46725‐9167
MARTIN, DEBORAH               711 BREWER ST                                                                        SUCCESS             AR 72470‐8083
MARTIN, DEBORAH A             5099 33 MILE RD                                                                      BRUCE TWP           MI 48065‐3503
MARTIN, DEBORAH D             200 KNOBBY VW                                                                        HIGHLAND            MI 48357‐2353
MARTIN, DEBORAH DENISE        200 KNOBBY VW                                                                        HIGHLAND            MI 48357‐2353
MARTIN, DEBORAH G             11 FAIR LAKE CIR                                                                     HATTIESBURG         MS 39402
MARTIN, DEBORAH J             2903 W NEWBURG RD                                                                    CARLETON            MI 48117‐9181
MARTIN, DEBORAH J             2909 S 50TH ST                                                                       TAMPA               FL 33619‐6045
MARTIN, DEBORAH L.            1363 KETTERING ST                                                                    BURTON              MI 48509‐2403
MARTIN, DEBORAH M             4325 GREENHILL WAY                                                                   ANDERSON            IN 46012‐9742
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Name                    Address1                          Address2                       Address3   Address4         City           State Zip
MARTIN, DEBRA L         2216 S HAMILTON ST                                                                           SAGINAW         MI 48602‐1207
MARTIN, DEBRA LYNETTE   2216 S HAMILTON ST                                                                           SAGINAW         MI 48602‐1207
MARTIN, DEIRDRE G       13 MISTY MESA COURT                                                                          MANSFIELD       TX 76063‐4813
MARTIN, DEIRDRE GAIL    13 MISTY MESA COURT                                                                          MANSFIELD       TX 76063‐4813
MARTIN, DELBERT C       4 ELM ST                                                                                     YPSILANTI       MI 48197‐2719
MARTIN, DELBERT J       PO BOX 675                                                                                   VENEDOCIA       OH 45894‐0675
MARTIN, DELILAH J       13115 DALESIDE AVE                                                                           GARDENA         CA 90249‐1706
MARTIN, DELORES         15450 18 MILE RD                  APT 328                                                    CLINTON TWP     MI 48093‐5844
MARTIN, DELORES         3635 ASHBOURNE LANE                                                                          INDIANAPOLIS    IN 46205‐2523
MARTIN, DELORES         28103 IMPERIAL DR APT 209                                                                    WARREN          MI 48093
MARTIN, DELORES E       600 E BOULEVARD                                                                              KOKOMO          IN 46902‐2271
MARTIN, DELORES L       3580 S ETHEL ST                                                                              DETROIT         MI 48217‐1538
MARTIN, DELORIS F       3117 SWYGART RD                                                                              DAYTON          OH 45440‐2109
MARTIN, DENNIS          BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD      OH 44067
                                                          PROFESSIONAL BLDG
MARTIN, DENNIS A        6581 BRIGHAM SQ #1                                                                           CENTERVILLE    OH   45459‐5459
MARTIN, DENNIS ALLEN    6581 BRIGHAM SQ APT 1                                                                        CENTERVILLE    OH   45459‐6996
MARTIN, DENNIS C        PO BOX 7193                                                                                  FLINT          MI   48507‐0193
MARTIN, DENNIS C        5824 WALMORE RD                                                                              SANBORN        NY   14132‐9337
MARTIN, DENNIS CRAIG    PO BOX 7193                                                                                  FLINT          MI   48507‐0193
MARTIN, DENNIS D        13284 CALLENDER ST                                                                           SOUTHGATE      MI   48195‐1045
MARTIN, DENNIS E        320 CHARLOTTE ST                                                                             MULLIKEN       MI   48861‐8746
MARTIN, DENNIS EARL     320 CHARLOTTE ST                                                                             MULLIKEN       MI   48861‐8746
MARTIN, DENNIS G        3385 LUM RD                                                                                  LAPEER         MI   48446‐8342
MARTIN, DENNIS J        33708 MARQUETTE ST                                                                           GARDEN CITY    MI   48135‐1139
MARTIN, DENNIS J        9319 BLUE HORIZON RD                                                                         PRESQUE ISLE   MI   49777‐9084
MARTIN, DENNIS J        9337 MAPLE ST                                                                                NEW LOTHROP    MI   48460‐9811
MARTIN, DENNIS JOHN     9319 BLUE HORIZON RD                                                                         PRESQUE ISLE   MI   49777‐9084
MARTIN, DENNIS JON      33708 MARQUETTE ST                                                                           GARDEN CITY    MI   48135‐1139
MARTIN, DENNIS L        4376 W BALDWIN RD                                                                            GRAND BLANC    MI   48439‐9336
MARTIN, DENNIS L        3341 SHAWNEE LN                                                                              WATERFORD      MI   48329‐4349
MARTIN, DENNIS L        3525 COLUMBINE ST                                                                            MIDLAND        MI   48642‐7722
MARTIN, DENNIS L        10070 ANIANE ST                                                                              RENO           NV   89521‐3003
MARTIN, DENNIS R        2318 LAVELLE RD                                                                              FLINT          MI   48504‐2310
MARTIN, DENNIS T        8716 BROAD ST OFC                                                                            MENRICO        VA   23294‐5210
MARTIN, DENNIS TERELL   8716 W BROAD ST                   OFC                                                        HENRICO        VA   23294‐6210
MARTIN, DENVER          2903 W NEWBURG RD                                                                            CARLETON       MI   48117‐9181
MARTIN, DENZIL J        238 BRADEN RD                                                                                TUCKER         GA   30084‐1901
MARTIN, DEREK K         4304 APT. # A WILD TURKEY DRIVE                                                              ANDERSON       IN   46013
MARTIN, DEREK L         1595 S LEAVITT RD SW                                                                         WARREN         OH   44481‐9163
MARTIN, DEREK L         919 EMERSON ST                                                                               SAGINAW        MI   48607‐1708
MARTIN, DERREL L        1005 BUCCANEER DR                                                                            SCHAUMBURG     IL   60173
MARTIN, DERRICK A       922 N 4TH AVE                                                                                SAGINAW        MI   48601‐1015
MARTIN, DERRICK O       2632 E BINNER DR                                                                             CHANDLER       AZ   85225‐4158
MARTIN, DERYL G         14885 N COUNTY ROAD 500 W                                                                    GASTON         IN   47342‐9103
MARTIN, DERYL GLEN      14885 N COUNTY ROAD 500 W                                                                    GASTON         IN   47342‐9103
MARTIN, DIANA H         9659 HORN RD                                                                                 WINDHAM        OH   44288‐9753
MARTIN, DIANA H         9659 HORN RD.                                                                                WINDHAM        OH   44288‐9753
MARTIN, DIANA K         240 LANE 220 BIG TURKEY LK                                                                   HUDSON         IN   46747‐9320
MARTIN, DIANA KAY       240 LANE 220 BIG TURKEY LK                                                                   HUDSON         IN   46747‐9320
MARTIN, DIANA L         2716 E MARKLAND AVE                                                                          KOKOMO         IN   46901‐6666
MARTIN, DIANE           8739 W ST JOE HWY                                                                            LANSING        MI   48917‐8810
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Name                Address1                           Address2                       Address3   Address4         City              State Zip
MARTIN, DIANE M.    541 CHANTICLEER TRL                                                                           LANSING            MI 48917‐3014
MARTIN, DIANE S     6366 LAURENTIAN CT                                                                            FLINT              MI 48532‐2039
MARTIN, DIANNA H    15505 120TH AVENUE EAST                                                                       PUYALLUP           WA 98374‐9749
MARTIN, DIANNE F    34 EAGLE RIDGE RD                                                                             LAKE ORION         MI 48360‐2611
MARTIN, DIANTHA N   5382 APPLE HILL CT                                                                            FLUSHING           MI 48433‐2401
MARTIN, DICIE       4 VIRGINIA CT                                                                                 HUNTINGTON         WV 25701‐4110
MARTIN, DICK A      1244 EVERGREEN AVE                                                                            BELOIT             WI 53511‐4715
MARTIN, DIXIE B     1410 N PHILIPS ST                                                                             KOKOMO             IN 46901‐2677
MARTIN, DOE
MARTIN, DOLORES     180 SOUTH COLONY DR.               APT924                                                     SAGINAW           MI   48638
MARTIN, DOLORES     6898 SHERMAN RD                                                                               ATCHISON          KS   66002‐3173
MARTIN, DOLORES     180 S COLONY DR APT 924                                                                       SAGINAW           MI   48638‐6060
MARTIN, DOMINGO A   6256 S KINGSMILL CT                                                                           FONTANA           CA   92336‐5804
MARTIN, DON J       5402 BELSAY RD                                                                                GRAND BLANC       MI   48439‐9128
MARTIN, DON L       1715 BRANDENBURG DR                                                                           SAN ANTONIO       TX   78232‐4401
MARTIN, DONALD      BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD        OH   44067
                                                       PROFESSIONAL BLDG
MARTIN, DONALD A    1300 CUMBERLAND ST                                                                            GADSDEN           AL   35903‐2542
MARTIN, DONALD A    9767 S 250 E                                                                                  MARKLEVILLE       IN   46056‐9723
MARTIN, DONALD A    791 DAVIS ST                                                                                  SEBEWAING         MI   48759‐1331
MARTIN, DONALD E    2846 GREENWOOD LN                                                                             YOUNGSTOWN        NY   14174‐9607
MARTIN, DONALD E    249 N MADISON ST                   P.O. BOX 292                                               REPUBLIC          OH   44867‐9796
MARTIN, DONALD F    5288 MCCLELLAND RD                                                                            NEWFANE           NY   14108‐9629
MARTIN, DONALD F    PO BOX 301                                                                                    PENTWATER         MI   49449‐0301
MARTIN, DONALD G    43568 W ARBOR WAY DR APT 135                                                                  CANTON            MI   48188‐1872
MARTIN, DONALD G    2963 GREEN ST                                                                                 LINCOLN PARK      MI   48146‐3236
MARTIN, DONALD G    43568 ARBOR WAY #135                                                                          CANTON            MI   48188‐1872
MARTIN, DONALD H    4004 RICHMOND ST                                                                              LANSING           MI   48911‐2420
MARTIN, DONALD J    2753 CHICKADEE ST                                                                             ROCHESTER HILLS   MI   48309‐3433
MARTIN, DONALD J    PO BOX 120                                                                                    VERMONTVILLE      MI   49096‐0120
MARTIN, DONALD J    5590 AUTUMNWOOD COURT                                                                         CLARKSTON         MI   48346‐3106
MARTIN, DONALD L    7125 COLBATH ROAD                                                                             OSCODA            MI   48750‐9618
MARTIN, DONALD L    119 RUBY RD                                                                                   LIVERPOOL         NY   13088‐5431
MARTIN, DONALD L    7125 COLBATH RD                                                                               OSCODA            MI   48750‐9618
MARTIN, DONALD L    3293 S WRIGHT RD                                                                              FOWLER            MI   48835‐9110
MARTIN, DONALD R    406 WOODLAKE LANE                                                                             PONTIAC           MI   48340‐1185
MARTIN, DONALD R    3223 FOX TRAIL RD                                                                             EDMOND            OK   73034‐2253
MARTIN, DONALD R    3177 LODGEPOLE DR                                                                             WHITELAND         IN   46184‐9295
MARTIN, DONALD R    PO BOX 14754                                                                                  SAGINAW           MI   48601‐0754
MARTIN, DONALD R    100 HAROLEANS ST                                                                              HARAHAN           LA   70123‐4908
MARTIN, DONALD R    3820 VILLA ROSA DR                                                                            CANFIELD          OH   44406‐8071
MARTIN, DONALD R    8554 SNOWDEN AVE                                                                              ARLETA            CA   91331‐6341
MARTIN, DONALD S    766 OLD MOUNT PLEASANT SCHOOL RD                                                              ALVATON           KY   42122‐8624

MARTIN, DONNA A     210 E BROADWAY                                                                                COVINGTON         OH   45318‐1606
MARTIN, DONNA J     116 43RD ST NW                                                                                BRADENTON         FL   34209‐2032
MARTIN, DONNA K     5765 BROOKFARM DR SE                                                                          KENTWOOD          MI   49508‐6575
MARTIN, DONNA L     302 SAND DOLLAR LN                                                                            HAMPSTEAD         NC   28443‐2568
MARTIN, DONNA M     1144 KEBLE LN                                                                                 OXFORD            MI   48371‐5902
MARTIN, DONNA M     1144 KEBLE LANE                                                                               OXFORD            MI   48371‐5902
MARTIN, DONNA M.    384 GREEN ST                                                                                  PERRY             MI   48872‐9502
MARTIN, DONNA M.    384 GREEN                                                                                     PERRY             MI   48872‐9502
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Name                      Address1                         Address2                Address3     Address4         City             State Zip
MARTIN, DONNY W           3758 HWY 101                                                                           TOWN CREEK        AL 35672
MARTIN, DONWELL           31750 CHERRY HILL RD                                                                   GARDEN CITY       MI 48135‐1329
MARTIN, DORA A            2801 JEAN ST                                                                           HARRISON          MI 48625‐8995
MARTIN, DORALEE W         5864 DELLOR RD                                                                         BELLEVILLE        MI 48111‐1009
MARTIN, DOREEN R          655 S 28TH ST                                                                          SAGINAW           MI 48601‐6547
MARTIN, DORIS A           309 HIGHWAY 171 W                                                                      GODLEY            TX 76044
MARTIN, DORIS J           #B                               2805 CHAMBERLAIN ROAD                                 FAIRLAWN          OH 44333‐3460
MARTIN, DORIS J           14 MARCH AVE                                                                           BROOKVILLE        OH 45309‐1605
MARTIN, DORIS L           15271 PINE LAKE AVE                                                                    CEDAR SPRINGS     MI 49319‐9549
MARTIN, DORIS T           1007 COYNE PL                                                                          WILMINGTON        DE 19805‐4522
MARTIN, DOROTHY           1210 FAHLANDER DR N                                                                    COLUMBUS          OH 43229‐5104
MARTIN, DOROTHY           163 N END AVE                                                                          KENMORE           NY 14217‐1615
MARTIN, DOROTHY           1210 N FAHLANDER DRIVE                                                                 COLUMBUS          OH 43229‐5104
MARTIN, DOROTHY           163 N END                                                                              KENMORE           NY 14217‐1653
MARTIN, DOROTHY           1431 DESOTO AVE                                                                        YPSILANTI         MI 48198‐6259
MARTIN, DOROTHY A         763 BONNIE ST                                                                          CHARLOTTE         MI 48813‐1707
MARTIN, DOROTHY F         3014 CARLTON DR NW                                                                     WARREN            OH 44485‐1222
MARTIN, DOROTHY J         4472 CRICKET RIDGE DR APT 202                                                          HOLT              MI 48842‐2924
MARTIN, DOROTHY J         4472 CRICKET RIDGE DRIVE         APT. 202                                              HOLT              MI 48842‐2924
MARTIN, DOROTHY L         5840 E ALBANY                                                                          MESA              AZ 85205‐8808
MARTIN, DOROTHY L         137 COUNTY RD 839                                                                      VALLEY GRANDE     AL 36701‐0237
MARTIN, DOROTHY L         5840 E ALBANY ST                                                                       MESA              AZ 85205‐8808
MARTIN, DOROTHY L         137 COUNTY ROAD 839                                                                    VALLEY GRANDE     AL 36701‐0237
MARTIN, DOROTHY L         28728 HOLLYWOOD ST                                                                     ROSEVILLE         MI 48066‐2425
MARTIN, DOROTHY M         3280 FRANCES LN                                                                        KOKOMO            IN 46902‐9706
MARTIN, DOROTHY M         2080 DENTON LN                                                                         KINGSTON          OK 73439‐4009
MARTIN, DOROTHY M         620 N JAY ST                                                                           KOKOMO            IN 46901‐3028
MARTIN, DOROTHY V         2281 UNITY CHURCH CIRCLE                                                               MAYSVILLE         GA 30558‐2435
MARTIN, DOROTHY W         1806 VIDALIA CT                                                                        GREENWOOD         IN 46143‐6648
MARTIN, DOUGLAS           SIMMONS FIRM                     PO BOX 521                                            EAST ALTON         IL 62024‐0519
MARTIN, DOUGLAS A         8314 BIRCH RUN RD                                                                      MILLINGTON        MI 48746‐9701
MARTIN, DOUGLAS A         2916 RAVENGLASS RD                                                                     WATERFORD         MI 48329‐2647
MARTIN, DOUGLAS A         2207 E COUNTY ROAD 67                                                                  ANDERSON          IN 46017‐1915
MARTIN, DOUGLAS ARNOLD    2207 E COUNTY ROAD 67                                                                  ANDERSON          IN 46017‐1915
MARTIN, DOUGLAS C         2701 E WILDERMUTH RD                                                                   OWOSSO            MI 48867‐8600
MARTIN, DOUGLAS C         1294 FOUNTAIN VIEW CT                                                                  OXFORD            MI 48371‐6709
MARTIN, DOUGLAS CHARLES   2701 E WILDERMUTH RD                                                                   OWOSSO            MI 48867‐8600
MARTIN, DOUGLAS D         4207 HAMILTON DR                                                                       MIDLAND           MI 48642‐5876
MARTIN, DOUGLAS L         11206 W WELSH RD                                                                       JANESVILLE        WI 53548‐9146
MARTIN, DOUGLAS L         428 FOX DEN LN                                                                         WENTZVILLE        MO 63385‐2742
MARTIN, DOUGLAS L         11206 W WELCH RD                                                                       JANESVILLE        WI 53545‐9146
MARTIN, DOUGLAS R         635 HEINE ST                                                                           FRANKENMUTH       MI 48734‐1424
MARTIN, DOYLE L           1116 S SHELDON ST                                                                      CHARLOTTE         MI 48813
MARTIN, DREW A            111 S VIRGINIA AVE                                                                     GERMANTOWN        OH 45327‐1242
MARTIN, DUANE M           3890 RAILROAD RD                                                                       MARTINSVILLE      IN 46151‐8671
MARTIN, DUANE W           219 S HODGES                                                                           PERRINTON         MI 48871‐5103
MARTIN, DUDLEY E          11330 KINLOCH                                                                          DETROIT           MI 48239‐2161
MARTIN, DUSTIN            715 OAK LN                                                                             COLUMBIA          TN 38401‐8176
MARTIN, DWAYNE D          9071 COON LAKE RD                                                                      GREGORY           MI 48137‐9529
MARTIN, EARL              331 N 5TH AVE                                                                          SAGINAW           MI 48607‐1437
MARTIN, EARL E            113 CLIFF ST                                                                           WILLOW SPRINGS     IL 60480‐1340
MARTIN, EARL E            113 N CLIFF ST                                                                         WILLOW SPRING      IL 60480‐1340
                          09-50026-mg             Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                      Address1                              Address2                       Address3   Address4         City              State Zip
MARTIN, EARL F            2786 GRAVEL RIDGE DR                                                                             ROCHESTER HILLS    MI 48307‐4644
MARTIN, EARL L            7265 ORLEE ST SE                                                                                 CALEDONIA          MI 49316‐9536
MARTIN, EARL M            SHANNON LAW FIRM                      100 W GALLATIN ST                                          HAZLEHURST         MS 39083‐3007
MARTIN, EARLENE R         P.O. BOX 577                                                                                     RAYMOND            MS 39154‐0577
MARTIN, EARLENE R         PO BOX 577                                                                                       RAYMOND            MS 39154‐0577
MARTIN, EARLINE           PO BOX 85                                                                                        MARKHAM             IL 60428‐0085
MARTIN, EBONY C           44562 BAYVIEW AVE APT 13112                                                                      CLINTON TWP        MI 48038‐7057
MARTIN, EBONY CHARMAINE   44562 BAYVIEW AVE.                                                                               CLINTON TWP        MI 48038
MARTIN, EDDIE             19698 ROGGE ST                                                                                   DETROIT            MI 48234‐3029
MARTIN, EDDIE O           415 FREIDA AVE                                                                                   EIGHT MILE         AL 36613‐3526
MARTIN, EDDIE R           10105 S BEGOLE RD                                                                                PERRINTON          MI 48871‐9767
MARTIN, EDDY S            218 GENEVA RD                                                                                    DAYTON             OH 45417‐1426
MARTIN, EDDY S            218 GENEVA ROAD                                                                                  DAYTON             OH 45417‐1426
MARTIN, EDGAR H           PO BOX 1266                                                                                      WHITTIER           NC 28789‐1266
MARTIN, EDGAR H           37 CHURCH STREET                                                                                 WHITTIER           NC 28789‐6324
MARTIN, EDGAR V           PO BOX 36476                                                                                     GROSSE POINTE      MI 48236‐0476
MARTIN, EDITH             765 N FRED SHUTTLESWORTH CIR                                                                     CINCINNATI         OH 45229‐1809
MARTIN, EDITH             66 GAMBIER CIR                                                                                   CINCINNATI         OH 45218‐1427
MARTIN, EDITH             66 GAMBIER CIRCLE                                                                                CINCINNATI         OH 45218‐1427
MARTIN, EDITH             36303 SCHLEY                                                                                     WESTLAND           MI 48186‐8311
MARTIN, EDNA B            1247 LEXINGTON TRL                                                                               GREENFIELD         IN 46140‐7864
MARTIN, EDNA L            4992 US 50 EAST                                                                                  BEDFORD            IN 47421
MARTIN, EDNA M            2565 CEDARVILLE RD                    GM PENSION PLAN                                            GOSHEN             OH 45122‐9467
MARTIN, EDNA M            6807 WOODVALLEY DR LOT 14                                                                        MILLINGTON         MI 48746
MARTIN, EDNA M            GM PENSION PLAN                       2565 CEDARVILLE ROAD                                       GOSHEN             OH 45122‐9467
MARTIN, EDWARD            GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH         PA 15219

MARTIN, EDWARD            7708 HUNTERS PT 11                                                                               BRIGHTON          MI   48116
MARTIN, EDWARD            128 SUMNER AVE                                                                                   PLAINFIELD        NJ   07062‐1533
MARTIN, EDWARD D          309 HIGHWAY 171 W                                                                                GODLEY            TX   76044
MARTIN, EDWARD F          14172 MARY GROVE DR                                                                              STERLING HTS      MI   48313‐4348
MARTIN, EDWARD J          207 MANOR ST                                                                                     BONNE TERRE       MO   63628‐1409
MARTIN, EDWARD J          9400 HOPP RD                                                                                     SAINT JOHNS       MI   48879‐9243
MARTIN, EDWARD J          7416 BELMONT AVE                                                                                 BALTIMORE         MD   21224‐3228
MARTIN, EDWARD J          1417 GARFIELD AVE                                                                                BAY CITY          MI   48708
MARTIN, EDWARD M          3259 S GENESEE RD                                                                                BURTON            MI   48519‐1423
MARTIN, EDWARD T          5205 CORAL GLOW CT                                                                               LAS VEGAS         NV   89149
MARTIN, EDWIN R           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510‐2212
                                                                STREET, SUITE 600
MARTIN, EDWINA            705 POLEMAN RD                                                                                   SHREVEPORT        LA   71107‐3203
MARTIN, EDWINA            705 POLEMAN ROAD                                                                                 SHREVEPORT        LA   71107‐3203
MARTIN, EFREN P           901 BONANZA DR                                                                                   ARLINGTON         TX   76001‐8509
MARTIN, ELAINE H          519 CHERRYWOOD DR                                                                                FLUSHING          MI   48433‐1399
MARTIN, ELBERT R          228 TENSAW RD                                                                                    MONTGOMERY        AL   36117‐4128
MARTIN, ELDRIDGE E        16551 ARCHDALE ST                                                                                DETROIT           MI   48235‐3416
MARTIN, ELEANOR B         550 POWER AVE                                                                                    BUFORD            GA   30518‐3232
MARTIN, ELEANOR L         1101 NORTHWOOD DR.                                                                               ROCKVILLE         IN   47872‐1232
MARTIN, ELEANOR M         1085 GREEN HOLLY RD                                                                              SOUTH ABINGTON    PA   18411‐9490
                                                                                                                           TOWNSHIP
MARTIN, ELEANOR M         48660 ROMA VALLEY CIRCLE              APT J107                                                   SHELBY TOWNSHIP   MI 48317
MARTIN, ELIZABETH         11205 BEACH RD                                                                                   WHITE MARSH       MD 21162‐1623
MARTIN, ELIZABETH         3815 RIDGEWAY DR                      C/O SHERICA MIESHA NEAL                                    FORT SMITH        AR 72904‐6265
                       09-50026-mg             Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                  Address1                         Address2                      Address3   Address4         City            State Zip
MARTIN, ELIZABETH     APT 218                          12624 PAGELS DRIVE                                        GRAND BLANC      MI 48439‐2402
MARTIN, ELIZABETH     20231 BRAILE ST                                                                            DETROIT          MI 48219
MARTIN, ELIZABETH A   4248 KILLIAN ST                                                                            FORT WORTH       TX 76119‐3824
MARTIN, ELIZABETH A   7442 DIMMICK RD                                                                            WESTCHESTER      OH 45069‐4230
MARTIN, ELIZABETH E   8791 SOUTH FORDNEY ROAD                                                                    SAINT CHARLES    MI 48655‐9530
MARTIN, ELIZABETH P   20668 COUNTRY BARN DR                                                                      ESTERO           FL 33928
MARTIN, ELLA J        11209 LANGDON DR                                                                           CLIO             MI 48420‐1564
MARTIN, ELLEN W       6055 REDSTONE WAY                                                                          CUMMING          GA 30040‐5812
MARTIN, ELLIS E       1837 HARVEY STRAUGHN RD                                                                    TOWNSEND         DE 19734‐9646
MARTIN, ELMER         2058 HWY 721 MARTIN DR.                                                                    HAZARD           KY 41701
MARTIN, ELMER D       130 BRIAR HEATH CIR                                                                        DAYTON           OH 45415‐2601
MARTIN, ELMER L       68 EMS T36 LN                                                                              LEESBURG         IN 46538‐9168
MARTIN, ELVIS M       780 SAXON BLVD                                                                             DELTONA          FL 32725‐8601
MARTIN, ELZIE M       278 TALLOW TREE LN                                                                         KIAWAH ISLAND    SC 29455‐5799
MARTIN, EMMERY J      29155 POINTE ‐O‐WOOD             APT 208                                                   SOUTHFIELD       MI 48034
MARTIN, EMMETT H      7117 COUNTY ROAD 406                                                                       GRANDVIEW        TX 76050‐4200
MARTIN, ERICA         KIMMEL & SILVERMAN               30 E BUTLER AVE                                           AMBLER           PA 19002‐4514
MARTIN, ERICK
MARTIN, ERICKA
MARTIN, ERMA N        1027 KNICKERBOCKER                                                                         FLINT           MI   48505‐1411
MARTIN, ERNEST C      2809 N CHEVROLET AVE                                                                       FLINT           MI   48504‐2888
MARTIN, ERNEST R      6050 S KEYSTONE AVE                                                                        INDIANAPOLIS    IN   46227‐4764
MARTIN, ERNEST W      1216 WESCOTT DR                                                                            FORT WAYNE      IN   46818‐8438
MARTIN, ERNESTINE H   1400 KIMMEL LN                                                                             DAYTON          OH   45418‐2037
MARTIN, ERNESTINE M   4355 JO DRIVE                                                                              SAGINAW         MI   48601
MARTIN, ERVIN E       1815 TAYLOR CREEK DR                                                                       FRESNO          TX   77545‐9541
MARTIN, ESTHER L      187 MAPLE ST. P.O. BOX 120                                                                 VERMONTVILLE    MI   49096‐0120
MARTIN, ETHEL         21301 HOLLYWOOD ST                                                                         SOUTHFIELD      MI   48075‐4104
MARTIN, ETHEL D       1611 GRAY RD                                                                               LAPEER          MI   48446‐7795
MARTIN, ETHEL M       243 VIRGINIA LANE                #364‐9                                                    HOPWOOD         PA   15445
MARTIN, EUGENE        PO BOX 13                                                                                  GREENSBORO      IN   47344‐0013
MARTIN, EUGENE        5096 HIGHWAY 98 E                                                                          MCCOMB          MS   39648‐9614
MARTIN, EUGENE A      344 E SAGINAW ST                                                                           AU GRES         MI   48703‐9637
MARTIN, EUGENE B      6409 W 400 S                                                                               RUSSIAVILLE     IN   46979‐9704
MARTIN, EUGENE D      10535 S POPULAR ST                                                                         BUNKER HILL     IN   46914‐9811
MARTIN, EUGENE E      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                       STREET, SUITE 600
MARTIN, EUGENE E      4411 MEIGS AVE                                                                             WATERFORD       MI   48329‐1816
MARTIN, EUGENE F      2051 CAROL DR                                                                              LAPEER          MI   48446‐7743
MARTIN, EUGENE J      19 AMETHYST AVE                                                                            NAPLES          FL   34114‐8257
MARTIN, EUGENE J      252 E 300 N                                                                                ANDERSON        IN   46012‐1206
MARTIN, EUGENE R      2485 CHAMBERS DR                                                                           MARIETTA        GA   30066‐5307
MARTIN, EUGENE W      3622 GOODWIN RD                                                                            IONIA           MI   48846‐9437
MARTIN, EULA          710 S 3RD ST                                                                               CLINTON         MO   64735
MARTIN, EUNICE        8540 COUNTY ROAD 139B                                                                      GLEN ST MARY    FL   32040‐4146
MARTIN, EUNICE C      260 SOUTH BUHL FARM DR.          APT 231                                                   HERMITAGE       PA   16148‐6148
MARTIN, EUNICE C      260 S BUHL FARM DR APT 231                                                                 HERMITAGE       PA   16148‐2528
MARTIN, EVA S         10887 E GARRISON RD                                                                        DURAND          MI   48429‐1833
MARTIN, EVA S         10887 GARRISON RD                                                                          DURAND          MI   48429‐1833
MARTIN, EVELYN B      914 E TAYLOR ST                                                                            KOKOMO          IN   46901‐4786
MARTIN, EVELYN F      1404 DEVONHURST DR                                                                         COLUMBUS        OH   43232‐1523
MARTIN, EVELYN F      1409 ROMAN RIDGE WAY                                                                       BEL AIR         MD   21014‐1874
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Name                     Address1                          Address2                     Address3   Address4         City               State Zip
MARTIN, EVELYNE J.       239 COLUMBUS ST APT 205                                                                    LODI                WI 53555‐1145
MARTIN, EVELYNE J.       239 COLUMBUS                      APT 205                                                  LODI                WI 53555‐1145
MARTIN, EVERETT C        1174 DUNKIRK AVE                                                                           MOUNT MORRIS        MI 48458‐2570
MARTIN, EVON M           2604 AVE R NW                                                                              WINTERHAVEN         FL 33881
MARTIN, EVON M           2604 AVENUE R NW                                                                           WINTER HAVEN        FL 33881‐2075
MARTIN, FABIANA          9828 S ARTESIAN AVE                                                                        EVERGREEN PARK       IL 60805‐3214
MARTIN, FALISA L         17383 PINEHURST ST                                                                         DETROIT             MI 48221‐2312
MARTIN, FALISA LATRESE   17383 PINEHURST ST                                                                         DETROIT             MI 48221‐2312
MARTIN, FAY              PO BOX 2051                                                                                BELLEVILLE          MI 48112‐2051
MARTIN, FELICIA          408 SHAWNEE DR                                                                             COLUMBIA            TN 38401‐2531
MARTIN, FERNANDO         PO BOX 8511                                                                                MIAMI               FL 33255
MARTIN, FILLMAN D        2775 S STATE ROUTE 201                                                                     TROY                OH 45373‐9630
MARTIN, FLORENCE E       2409 WEST STANLEY ROAD                                                                     MOUNT MORRIS        MI 48458‐8258
MARTIN, FLORENCE E       2409 W STANLEY RD                                                                          MOUNT MORRIS        MI 48458‐8258
MARTIN, FLORENCE M       25 EAGLE POINT DRIVE                                                                       NEWTON FALLS        OH 44444‐1262
MARTIN, FLORENCE M       2376 CEDAR ST                                                                              SEAFORD             NY 11783‐2905
MARTIN, FLORENE L.       PO BOX 192                        84 SOUTH STREET                                          LITHOPOLIS          OH 43136‐0192
MARTIN, FLORENE L.       P.O. BOX 192                      84 SOUTH STREET                                          LITHOPOLIS          OH 43136‐0192
MARTIN, FRANCES          109 WEST 26TH                                                                              PINE BLUFF          AR 71601‐7820
MARTIN, FRANCES A        210 VILLAGE #24                                                                            CONVERSE            IN 46919
MARTIN, FRANCES K        810 SOUTH A ST                                                                             ELWOOD              IN 46036‐1931
MARTIN, FRANCES K        810 S A ST                                                                                 ELWOOD              IN 46036‐1931
MARTIN, FRANCES R        11330 KINLOCH                                                                              REDFORD TOWNSHIP    MI 48239‐2161
MARTIN, FRANCINE Z       2174 TIBBETTS‐WICK RD                                                                      GIRARD              OH 44420‐1227
MARTIN, FRANCINE Z       2174 TIBBETTS WICK RD                                                                      GIRARD              OH 44420‐1227
MARTIN, FRANCIS B        3730 FOX LAKE RD                                                                           TITUSVILLE          FL 32796‐4023
MARTIN, FRANCIS J        5729 S JONES RD                                                                            WESTPHALIA          MI 48894‐9102
MARTIN, FRANCIS O        50 S LUCILLE ST                                                                            BEVERLY HILLS       FL 34465‐3646
MARTIN, FRANCIS W        10348 MARTIN DR                                                                            ALEXANDRIA          KY 41001‐8985
MARTIN, FRANK
MARTIN, FRANK A          1500 S OCEAN BLVD                 UNIT 201                                                 POMPANO BEACH      FL   33062
MARTIN, FRANK A          7669 WINTERBERRY DR                                                                        YOUNGSTOWN         OH   44512‐4723
MARTIN, FRANK A          APT 201                           1500 SOUTH OCEAN BOULEVARD                               POMPANO BEACH      FL   33062‐7416
MARTIN, FRANK B          3088 GEHRING DR                                                                            FLINT              MI   48506‐2262
MARTIN, FRANK I          15535 GRATIOT RD                                                                           HEMLOCK            MI   48626‐8458
MARTIN, FRANK L          95 JEFFERSON AVE                                                                           ROCHESTER          NY   14611‐2329
MARTIN, FRANK R          6436 LOVEJOY RD                                                                            PERRY              MI   48872‐9127
MARTIN, FRANK V          PO BOX 5770                                                                                SUN CITY CNTR      FL   33571
MARTIN, FRANK W          7334 S BOYDEN RD                                                                           NORTHFIELD         OH   44067
MARTIN, FRANK W          27 MOUNTAIN ASH DR                                                                         HANOVER            PA   17331‐9297
MARTIN, FRANKIE L        1235 HARWOOD DR APT F                                                                      MANSFIELD          OH   44906‐2831
MARTIN, FRANKLIN D       4736 RYAN RD                                                                               CONLEY             GA   30288‐2216
MARTIN, FRANKLIN D       55 CRYSTAL SPRINGS RD                                                                      MURPHY             NC   28906‐6521
MARTIN, FRANKLIN R       465 CHURCH ST                                                                              YOUNGSTOWN         NY   14174‐1333
MARTIN, FRANKLIN W       221 RED BUD RD                                                                             CHILLICOTHE        OH   45601‐8798
MARTIN, FRAZIER          16911 WALDEN AVE                                                                           CLEVELAND          OH   44128‐1541
MARTIN, FRED             35265 TURNER DR                                                                            STERLING HEIGHTS   MI   48312‐3661
MARTIN, FRED C           2871 KY 1232                                                                               GRAY               KY   40734‐6540
MARTIN, FRED L           258 HELMAR CT                                                                              BENTON HARBOR      MI   49022‐7330
MARTIN, FRED W           50850 COUNTY ROAD 665                                                                      PAW PAW            MI   49079‐9372
MARTIN, FRED W           26 SHADOW LN                                                                               ROCHESTER          NY   14606‐4360
MARTIN, FREDDIE          THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD      SUITE 44                    CORAL GABLES       FL   33146
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Name                   Address1                             Address2                         Address3   Address4         City              State Zip
MARTIN, FREDDIE J      9140 S WOODLAWN AVE                                                                               CHICAGO             IL 60619‐7924
MARTIN, FREDDIE N      1278 E STANLEY RD                                                                                 MOUNT MORRIS       MI 48458‐2548
MARTIN, FREDDIE N      16575 ILENE ST                                                                                    DETROIT            MI 48221‐2813
MARTIN, FREDDY R       465 HARRISON RD                                                                                   MONROE             GA 30655‐7291
MARTIN, FREDERICK G    1339 SCHENECTADY AVE                                                                              BROOKLYN           NY 11203‐5809
MARTIN, FREDERICK T    3719 NEW COLONY WAY                                                                               WILMINGTON         NC 28412‐2045
MARTIN, FREDRIC R      PO BOX 324                           209 E MAIN ST                                                WESTPHALIA         MI 48894‐0324
MARTIN, FREDRICK H     820 PRINCETON RD                                                                                  JANESVILLE         WI 53546‐1712
MARTIN, G T
MARTIN, G T            LAW OFFICES OF MICHAEL B. SERLING     280 N OLD WOODWARD AVE STE                                  BIRMINGHAM         MI 48009‐5394
                                                             406
MARTIN, GABRIEL        GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                PITTSBURGH         PA 15219

MARTIN, GABRIEL L      124 WESTMORELAND DR                                                                               FLINT             MI 48505‐2604
MARTIN, GAIL L         1203 ALTON AVE                                                                                    FLINT             MI 48507
MARTIN, GARLAND K      GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510‐2212
                                                            STREET, SUITE 600
MARTIN, GARLAND L      2063 SIFIELD GREENS WAY                                                                           SUN CITY CENTER   FL   33573‐7169
MARTIN, GARLAND L      12103 BULEN PIERCE RD                                                                             LOCKBOURNE        OH   43137‐9655
MARTIN, GARNET B       117 N ELMA ST                                                                                     ANDERSON          IN   46012‐3137
MARTIN, GARY A         SKAGGS JOHN H                        405 CAPITOL STREET ‐ SUITE 607                               CHARLESTON        WV   25301
MARTIN, GARY B         6718 ELK TRL                                                                                      ARLINGTON         TX   76002‐3551
MARTIN, GARY D         116 N ST BOX 42                                                                                   TURNER            MI   48765
MARTIN, GARY E         933 GOLDEN GOOSE DR                                                                               EDWARDS           MO   65326‐2634
MARTIN, GARY J         7129 BURPEE RD                                                                                    GRAND BLANC       MI   48439‐7408
MARTIN, GARY J         14B F STREET                                                                                      ST AUGUSTINE      FL   32080‐6916
MARTIN, GARY L         558 DIRLAM LN                                                                                     MANSFIELD         OH   44904‐1721
MARTIN, GARY L         7001 N 350 W                                                                                      COLUMBIA CITY     IN   46725‐9167
MARTIN, GARY L         9470 ARBELA RD                                                                                    MILLINGTON        MI   48746‐9547
MARTIN, GARY L         3096 WHEELER RD                                                                                   BAY CITY          MI   48706‐9221
MARTIN, GARY L         PO BOX 43                                                                                         IONIA             MI   48846‐0043
MARTIN, GARY L         2303 TOMAHAWK TRL                                                                                 GAYLORD           MI   49735‐9027
MARTIN, GARY L         2258 W PARNALL RD                                                                                 JACKSON           MI   49201‐8659
MARTIN, GARY L         212 DEEP LAKE DR                                                                                  WILLIAMSTON       MI   48895‐9018
MARTIN, GARY P         9465 BAY HILL DR NE                                                                               WARREN            OH   44484‐6707
MARTIN, GARY R         10994 HENDERSON RD                                                                                CORUNNA           MI   48817‐9792
MARTIN, GARY R         8604 BRAY RD                                                                                      VASSAR            MI   48768‐9647
MARTIN, GARY R         5696 HEATHWOOD CT                                                                                 COVINGTON         KY   41015‐4327
MARTIN, GARY W         455 WOODLAWN DR.                                                                                  TIPP CITY         OH   45371‐5371
MARTIN, GARY W         5801 W 29TH ST                                                                                    PARMA             OH   44134
MARTIN, GARY W         109 HALIFAX PL                                                                                    ALBANY            GA   31721‐8723
MARTIN, GARY W         25377 SWEET SPRINGS RD                                                                            ELKMONT           AL   35620‐3426
MARTIN, GARY W         3513 DAVISON RD                                                                                   FLINT             MI   48506‐3936
MARTIN, GARY WAYNE     3513 DAVISON RD                                                                                   FLINT             MI   48506‐3936
MARTIN, GAYLE M        2770 CAROL LN                                                                                     BISHOP            CA   93514‐3022
MARTIN, GENE R         2920 CHEROKEE AVE                                                                                 CAMDEN            AR   71701‐6712
MARTIN, GENE RAYMOND   2920 CHEROKEE AVENUE                                                                              CAMDEN            AR   71701‐6712
MARTIN, GENEVA         24 HARMONY CT                                                                                     SAGINAW           MI   48601‐1380
MARTIN, GENEVA         24 HARMONY CRT                                                                                    SAGINAW           MI   48601‐1380
MARTIN, GENEVA L       2856 N BOGAN RD                                                                                   BUFORD            GA   30519‐3947
MARTIN, GENEVA L       2856 NO BOGAN ROAD                                                                                BUFORD            GA   30519‐3947
MARTIN, GENEVIEVE      16800 TELEGRAPH RD 126                                                                            DETROIT           MI   48219
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Name                 Address1                         Address2           Address3         Address4                 City            State Zip
MARTIN, GEORGE       323 NORTH GARNER ROAD                                                                         MILFORD          MI 48380‐3630
MARTIN, GEORGE       PO BOX 481                                                                                    SAGINAW          MI 48606‐0481
MARTIN, GEORGE A     16912 CREEKSIDE AVE                                                                           TINLEY PARK       IL 60487‐2234
MARTIN, GEORGE C     2616 N 85TH ST                                                                                KANSAS CITY      KS 66109‐2023
MARTIN, GEORGE E     6961 WEAVER RD                                                                                GERMANTOWN       OH 45327‐8363
MARTIN, GEORGE P     5899 SE CHIEFS RD                                                                             COWGILL          MO 64637‐8778
MARTIN, GEORGE V     3440 ELMHILL DR NW                                                                            WARREN           OH 44485‐1342
MARTIN, GEORGE W     113 WHITNEY WAY                                                                               MARTINSBURG      WV 25401‐4105
MARTIN, GEORGE W     117 N ELMA ST                                                                                 ANDERSON         IN 46012‐3137
MARTIN, GEORGE W     13603 W 78TH TER                                                                              LENEXA           KS 66216‐3071
MARTIN, GEORGIA J    407 ORANGE AVE E                                                                              SATSUMA          AL 36572
MARTIN, GEORGIA S    127 DICKERSON RD                                                                              HILLSBORO        TN 37342
MARTIN, GERALD       3781 DEMURA DR SE                                                                             WARREN           OH 44484‐3727
MARTIN, GERALD A     9643 MELVILLE                                                        WINDSOR ONT ON N8R 1B4
                                                                                          CANADA
MARTIN, GERALD A     9643 MELVILLE DR                                                     WINDSOR ON CANADA N8R‐
                                                                                          1B4
MARTIN, GERALD B     121 SAWYER ST                                                                                 GRAND BLANC     MI   48439‐1342
MARTIN, GERALD G     1037 PRINGLE ST                                                                               HENDERSON       KY   42420‐4173
MARTIN, GERALD H     28416 CHESTNUT RIDGE RD                                                                       DANVILLE        OH   43014‐9675
MARTIN, GERALD J     1272 VALLEY VIEW DR                                                                           BOARDMAN        OH   44512‐3746
MARTIN, GERALD L     1519 ESSLING ST                                                                               SAGINAW         MI   48601‐1335
MARTIN, GERALD W     4050 PROSPECT RD                                                                              PULASKI         TN   38478‐6627
MARTIN, GERALDINE    1300 E 276TH ST APT A                                                                         EUCLID          OH   44132‐3083
MARTIN, GERALDINE    22359 HERITAGE PASS PL                                                                        CHATSWORTH      CA   91311‐1263
MARTIN, GERARD J     2349 FAIRSKIES DR                                                                             SPRING HILL     FL   34606‐7257
MARTIN, GERARDO      6614 WHISPER CREST DR                                                                         ARLINGTON       TX   76002‐3659
MARTIN, GERRI LYNN   558 SANDWICH RD                                                                               EAST FALMOUTH   MA   02536‐4744
MARTIN, GERTRUDE A   5329 WILSON BURT RD                                                                           BURT            NY   14028‐9732
MARTIN, GERTRUDE M   640 BRIARWOOD DR                                                                              VASSAR          MI   48768‐1435
MARTIN, GEWNDOLYN    18710 SHOSHONEE RD                                                                            APPLE VALLEY    CA   92307‐5995
MARTIN, GILBERT J    285 JUSTICE DR                                                                                CARNEYS POINT   NJ   08069‐2608
MARTIN, GINA S       7905 OSBORNE DR                                                                               LOUISVILLE      KY   40222‐4474
MARTIN, GLEN A       18625 AL HIGHWAY 99                                                                           ATHENS          AL   35614‐5817
MARTIN, GLEN B       89 GRAND TETON DR                                                                             SAINT PETERS    MO   63376‐2082
MARTIN, GLENDA L     112 SKY HBR                                                                                   CIBOLO          TX   78108‐3238
MARTIN, GLENN D      11994 CHILLICOTHE LANCASTER RD                                                                AMANDA          OH   43102‐9312
MARTIN, GLENN E      7033 CEDAR LAKE RD                                                                            PINCKNEY        MI   48169‐8823
MARTIN, GLENN J      38722 GAINSBOROUGH DR                                                                         CLINTON TWP     MI   48038‐3225
MARTIN, GLENN R      708 DOWDELL AVE                                                                               XENIA           OH   45385‐5612
MARTIN, GLENNA G     24815 HIGHWAY 37 N                                                                            NEWPORT         AR   72112‐9742
MARTIN, GLENNA G     24815 HWY 37 N                                                                                NEWPORT         AR   72112‐9742
MARTIN, GLINDA       1850 OLT                                                                                      DAYTON          OH   45418‐1742
MARTIN, GLINDA       1850 OLT RD                                                                                   DAYTON          OH   45418‐1742
MARTIN, GLORIA       14837 MAYVIEW CT                                                                              SHELBY TWP      MI   48315‐4450
MARTIN, GLORIA C     333 EASTWOOD DR                                                                               BEDFORD         IN   47421‐3983
MARTIN, GLORIA D     639 AURORA DR                                                                                 YOUNGSTOWN      OH   44505‐1109
MARTIN, GLORIA N     19 WOOTTON RD                                                                                 SANDSTON        VA   23150‐2050
MARTIN, GORDON A     2419 ROBINSON DR                                                                              BELOIT          WI   53511‐2510
MARTIN, GORDON E     124 S ORLANDO AVE                                                                             OCEAN VIEW      DE   19970‐9758
MARTIN, GORDON H     15819 28 MILE RD                                                                              ALBION          MI   49224‐9495
MARTIN, GORDON H.    15819 28 MILE RD                                                                              ALBION          MI   49224‐9495
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Name                      Address1                          Address2              Address3     Address4                City               State Zip
MARTIN, GRACE E           715 RENAISSANCE DR                APT 304                                                    WILLAMVILLE         NY 14221‐8035
MARTIN, GRACE E           715 RENAISSANCE DR APT 304                                                                   WILLIAMSVILLE       NY 14221‐8035
MARTIN, GRACE L           3088 GEHRING DR                                                                              FLINT               MI 48506‐2262
MARTIN, GRADY W           13625 SHORE COVE CT                                                                          WESTFIELD           IN 46074‐8258
MARTIN, GRAHAM B          116 COLLEGE AVE                                                                              TORRINGTON          CT 06790‐2905
MARTIN, GREG T            PO BOX 3029                                                                                  OAK BLUFFS          MA 02557
MARTIN, GREGG             2844 CAMPO RASO                                                                              SAN CLEMENTE        CA 92673‐3546
MARTIN, GREGORY           1847 OWEN ST                                                                                 FLINT               MI 48503‐4358
MARTIN, GREGORY           1847 OWEN STREET                                                                             FLINT               MI 48503‐4358
MARTIN, GREGORY
MARTIN, GREGORY A         PO BOX 22                                                                                    ANTIOCH            TN   37011‐0022
MARTIN, GREGORY A         387 BEECHNUT HL                                                                              AKRON              OH   44333‐8312
MARTIN, GREGORY A         3113 RUSSELL RD                                                                              ALEXANDRIA         VA   22305‐1721
MARTIN, GREGORY A         1685 SAPPHIRE DR                                                                             GROVE CITY         OH   43123‐8358
MARTIN, GREGORY J         3592 BRIARBROOKE LN                                                                          OAKLAND TOWNSHIP   MI   48306‐4704
MARTIN, GREGORY J         15111 HEYER ST                                                                               LIVONIA            MI   48154‐4871
MARTIN, GREGORY K         22760 BERTRAM DR                                                                             NOVI               MI   48374‐3741
MARTIN, GREGORY L         5999 TIMBERGATE TRL                                                                          HUBER HEIGHTS      OH   45424‐1159
MARTIN, GREGORY M         PO BOX 496                                                                                   ANDERSON           IN   46015‐0496
MARTIN, GREGORY O         16230 PRINCETON ST                                                                           DETROIT            MI   48221‐3318
MARTIN, GREGORY ORLANDO   16230 PRINCETON ST                                                                           DETROIT            MI   48221‐3318
MARTIN, GREGORY P         8042 W WINSTON WAY                                                                           FRANKLIN           WI   53132‐9019
MARTIN, GROVER C          4415 DEAUVILLE WAY                                                                           PENSACOLA          FL   32505‐3005
MARTIN, GUSTAVIA          5726 STAHELIN AVE                                                                            DETROIT            MI   48228‐4733
MARTIN, GWENDOLYN S       704 CARSON CT                                                                                KOKOMO             IN   46902‐3915
MARTIN, HALEY             WILSON ENGSTROM CORUM & COULTER   PO BOX 71                                                  LITTLE ROCK        AR   72203‐0071

MARTIN, HALEY             WOLFE ARDIS PC ATTORNEYS AT LAW   5810 SHELBY OAKS DR                                        MEMPHIS            TN   38134‐7315
MARTIN, HARLEY E          2434 YOSEMITE ST                                                                             SAGINAW            MI   48603‐3355
MARTIN, HAROLD A          2293 WALNUT RD                                                                               AUBURN HILLS       MI   48326‐2553
MARTIN, HAROLD E          6501 HAZELWOOD AVE                                                                           BALTIMORE          MD   21237‐1905
MARTIN, HAROLD F          7701 COUNTY 416 J RD                                                                         GLADSTONE          MI   49837‐9058
MARTIN, HAROLD G          5207 BLACKJACK CIR                                                                           PUNTA GORDA        FL   33982‐9602
MARTIN, HAROLD J          327 LISA LN                                                                                  WILLIAMSTON        MI   48895‐9034
MARTIN, HAROLD L          2346 E LEGRANDE AVE                                                                          INDIANAPOLIS       IN   46203‐4162
MARTIN, HAROLD L          520 PARKS DR                                                                                 DESOTO             TX   75115
MARTIN, HAROLD M          23648 PLUMBROOKE DR                                                                          SOUTHFIELD         MI   48075‐3242
MARTIN, HAROLD S          4471 MONROE ST                                                                               DEARBORN HTS       MI   48125‐2518
MARTIN, HAROLD W          8121 CARPENTER RD                                                                            FLUSHING           MI   48433‐1361
MARTIN, HARRISON          214 E MASTERSON AVE                                                                          FORT WAYNE         IN   46803‐2329
MARTIN, HARRY E           800 S 7 MILE RD                                                                              MIDLAND            MI   48640‐9164
MARTIN, HARRY J           1773 OAKWOOD RD                                                                              ORTONVILLE         MI   48462‐8671
MARTIN, HARRY L           4090 HOMESTEAD DR APT 16                                                                     BURTON             MI   48529‐1657
MARTIN, HARRY T           2971 DELAWARE AVE APT 302                                                                    KENMORE            NY   14217‐2368
MARTIN, HARVEY D          15189 MARL DR                                                                                LINDEN             MI   48451‐9068
MARTIN, HARVEY DALE       15189 MARL DR                                                                                LINDEN             MI   48451‐9068
MARTIN, HARVEY E          125 OVERHILL RD                                                                              YOUNGSTOWN         OH   44512‐1418
MARTIN, HARVEY J          29250 ALBION RD                                                                              ALBION             MI   49224‐9765
MARTIN, HASKELL N         11 CALHOUN CEMETARY RD                                                                       LAUREL             MS   39443‐4931
MARTIN, HELEN J           23664 CARLINGTON ST                                                                          CLINTON TWP        MI   48036‐3108
MARTIN, HELEN M           4023 RIBSTOCK ROAD                                                   CRYSTAL BEACH ON L0S‐
                                                                                               1B0 CANADA
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Name                     Address1                        Address2                        Address3   Address4                 City              State Zip
MARTIN, HELEN P          28416 CHESTNUT RIDGE RD                                                                             DANVILLE           OH 43014‐9675
MARTIN, HELEN S          127 E CONCORD DR                C/O LINDA HARTENSTEIN                                               LEBANON            OH 45036‐2303
MARTIN, HELEN S          C/O LINDA HARTENSTEIN           127 EAST CONCORD DRIVE                                              LEBANON            OH 45036‐2303
MARTIN, HENRY            GUY WILLIAM S                   PO BOX 509                                                          MCCOMB             MS 39649‐0509
MARTIN, HENRY            480 SUNNY LN                                                                                        SELMA              AL 36701‐9704
MARTIN, HENRY C          PO BOX 6852                                                                                         YOUNGSTOWN         OH 44501‐6852
MARTIN, HENRY L          1582 WAGON WHEEL LN                                                                                 GRAND BLANC        MI 48439‐4815
MARTIN, HENRY M          1330 LAKEMONT DR                                                                                    ARNOLD             MO 63010‐4622
MARTIN, HENRY W          949 E JUDDVILLE RD                                                                                  OWOSSO             MI 48867‐9468
MARTIN, HERALD A         2277 SOUTH RD. APT. 712 SOUTH                                                                       YPSILANTI          MI 48198
MARTIN, HERALD A         1926 WASHTENAW RD APT 115                                                                           YPSILANTI          MI 48197
MARTIN, HERBERT          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA 23510‐2212
                                                         STREET, SUITE 600
MARTIN, HERBERT W        820 FARNSWORTH ST                                                                                   WHITE LAKE        MI 48386‐3222
MARTIN, HERMAN           3505 BELVIDERE ST                                                                                   DETROIT           MI 48214‐2069
MARTIN, HERMAN           BARON & BUDD                    PLAZA SOUTH TWO ‐ SUITE 200 ‐                                       CLEVELAND         OH 44130
                                                         7261 ENGLE ROAD
MARTIN, HETTIE M         1850 WESLEYAN RD                                                                                    DAYTON            OH   45406‐3945
MARTIN, HEYWARD L        6639 S BISHOP ST                                                                                    CHICAGO           IL   60636‐2805
MARTIN, HILDA L          3614 N EMERSON AVE                                                                                  INDIANAPOLIS      IN   46218‐1736
MARTIN, HOLLY H          5640 PILLSBURY AVE S                                                                                MINNEAPOLIS       MN   55419‐1809
MARTIN, HORACE           5116 TILLMAN ST                                                                                     DETROIT           MI   48208‐1942
MARTIN, HORACE W         4140 S LIVERPOOL WAY                                                                                AURORA            CO   80013‐7462
MARTIN, HOWARD           664 BRAZNELL RD                                                                                     GRINDSTONE        PA   15442‐1018
MARTIN, HOWARD E         401 MERRICK DR                                                                                      BEAVERCREEK       OH   45434‐5811
MARTIN, HOWARD E         601 ANTIOCH RD                                                                                      CEDARTOWN         GA   30125‐5438
MARTIN, HOWARD G         4367 E 350 N                                                                                        DANVILLE          IN   46122
MARTIN, HOWARD R         129 COGGINS RD                                                                                      ARDMORE           AL   35739‐9571
MARTIN, HUBERT F         1301 HIGH DR                                                                                        LEXINGTON         MO   64067‐1563
MARTIN, HUGH T           5605 N COUNTY ROAD 575 W                                                                            MIDDLETOWN        IN   47356‐9437
MARTIN, HUGH W           4400 RUDDER WAY                                                                                     NEW PORT RICHEY   FL   34652‐4430
MARTIN, HUSTON           23648 PLUMBROOKE DR                                                                                 SOUTHFIELD        MI   48075‐3242
MARTIN, IAN LTD          465 MORDEN RD 2ND FL                                                       OAKVILLE CANADA ON L6K
                                                                                                    3W6 CANADA
MARTIN, IDESSA           145 GOLF COURT                                                                                      TEANECK           NJ   07666‐5636
MARTIN, IDESSA           145 GOLF CT                                                                                         TEANECK           NJ   07666‐5636
MARTIN, ILEEN C          1223 N EDMONDSON AVE APT D12                                                                        INDIANAPOLIS      IN   46219‐3533
MARTIN, INEZ             677 TAHOE CIR                                                                                       STONE MTN         GA   30083‐4449
MARTIN, IRA E            937 EAST PARK AVENUE                                                                                COLUMBIANA        OH   44408‐1451
MARTIN, IRA K            8905 EVERGREEN AVENUE           #B120                                                               INDIANAPOLIS      IN   46240
MARTIN, IRENE CHAMBERS   P O BOX 332                                                                                         INKSTER           MI   48141‐0332
MARTIN, IRENE CHAMBERS   PO BOX 332                                                                                          INKSTER           MI   48141‐0332
MARTIN, IRENE H          3793 HOWLETT HILL RD                                                                                SYRACUSE          NY   13215‐9601
MARTIN, IRENE S          5897 ROBERT DRIVE                                                                                   TRAVERSE CITY     MI   49684‐8645
MARTIN, IRENE S          5897 ROBERT DR                                                                                      TRAVERSE CITY     MI   49684‐8645
MARTIN, IRIS J           720 SW 3RD ST                                                                                       MOORE             OK   73160‐2313
MARTIN, IRIS J           720 S.W. 3RD ST.                                                                                    MOORE             OK   73160‐2313
MARTIN, IVA M            9152 MELROSE CT                                                                                     INDINAPOLIS       IN   46239‐1474
MARTIN, IVA M            9152 MELROSE COURT                                                                                  INDIANAPOLIS      IN   46239‐1474
MARTIN, IVON O           11180 GILKEY RD                                                                                     PLAINWELL         MI   49080‐9018
MARTIN, IVONNE           22689 HIGHWAY 52                                                                                    IONIA             MO   65335‐3116
MARTIN, J A              4309 TAIT RD                                                                                        KETTERING         OH   45429‐1121
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Name                  Address1                       Address2                           Address3   Address4         City            State Zip
MARTIN, J B           24016 HIGHWAY 51                                                                              CRYSTAL SPGS     MS 39059‐9026
MARTIN, J D           1210 BAKER RD                                                                                 FENTON           MI 48430‐8527
MARTIN, J DAVID       1210 BAKER RD                                                                                 FENTON           MI 48430‐8527
MARTIN, J L           4324 BRIARWOOD DR                                                                             MINNETONKA       MN 55343‐6827
MARTIN, J W           532 S 29TH ST                                                                                 SAGINAW          MI 48601‐6427
MARTIN, J W           519 ALVIN CT                                                                                  FRANKLIN         OH 45005‐2001
MARTIN, JACK          2012 WASHTINTON STREET                                                                        CHARLESTON       WV 25312‐1409
MARTIN, JACK A        3442 COLUMBIA DR                                                                              WEST BRANCH      MI 48661
MARTIN, JACK A        C/O HILLERY E MARTIN           2103 W. HILLS AVE APT A                                        TAMPA            FL 33606‐4507
MARTIN, JACK L        2416 N WASHINGTON ST                                                                          KOKOMO           IN 46901‐5844
MARTIN, JACK M        7152 S 600 E                                                                                  WABASH           IN 46992‐8154
MARTIN, JACK R        10217 CLAREOLA AVE                                                                            LAKE             MI 48632‐9307
MARTIN, JACKIE        P O BOX 11491                                                                                 ROCHESTER        NY 14611
MARTIN, JACOB L       120 W EDDINGTON                                                                               FLINT            MI 48503
MARTIN, JAMES         6395 LEESVILLE RD                                                                             BEDFORD          IN 47421‐7315
MARTIN, JAMES         2311 PEBBLE ROCK WAY                                                                          DECATUR          GA 30035‐4219
MARTIN, JAMES         558 SANDWICH RD                                                                               EAST FALMOUTH    MA 02536‐4744
MARTIN, JAMES         GUY WILLIAM S                  PO BOX 509                                                     MCCOMB           MS 39649‐0509
MARTIN, JAMES         DEARIE & ASSOCIATES JOHN C     515 MADISON AVE RM 1118                                        NEW YORK         NY 10022‐5456
MARTIN, JAMES A       YOUNG RILEY DUDLEY & DEBROTA   3815 RIVER CROSSING PKWY STE 340                               INDIANAPOLIS     IN 46240‐7808

MARTIN, JAMES A       440 WATERVIEW BLVD                                                                            GREENFIELD      IN   46140‐1368
MARTIN, JAMES A       6517 AMY LN                                                                                   LOCKPORT        NY   14094‐6668
MARTIN, JAMES A       2303 RAINTREE DR                                                                              ANDERSON        IN   46011‐2644
MARTIN, JAMES A.      440 WATERVIEW BLVD                                                                            GREENFIELD      IN   46140‐1368
MARTIN, JAMES B       3333 N GLEANER RD                                                                             FREELAND        MI   48623‐8829
MARTIN, JAMES B       1803 E 12TH ST                                                                                CHOUTEAU        OK   74337‐3714
MARTIN, JAMES C       404 HOLLOW SPRING CT                                                                          BRENTWOOD       TN   37027‐7888
MARTIN, JAMES C       933 SILVER CREEK CIR                                                                          PRATTVILLE      AL   36066‐6177
MARTIN, JAMES C       560 STIRLING ST                                                                               PONTIAC         MI   48340‐3159
MARTIN, JAMES D       615 STOCKMAN LN                                                                               LINCOLN         CA   95648‐8380
MARTIN, JAMES D       591 LONGFIELD RD                                                                              LAKE CITY       TN   37769‐5310
MARTIN, JAMES D       5660 E KINSEL HWY                                                                             CHARLOTTE       MI   48813‐9324
MARTIN, JAMES D       142 GREENLEA DR                                                                               CORAOPOLIS      PA   15108‐2667
MARTIN, JAMES DAVID   5660 E KINSEL HWY                                                                             CHARLOTTE       MI   48813‐9324
MARTIN, JAMES E       516 HICKORY LN                                                                                SALEM           OH   44460‐1106
MARTIN, JAMES E       1949 HAINES RD                                                                                MADISON         OH   44057‐1718
MARTIN, JAMES E       123 MILLWOOD AVENUE                                                                           MUNROE FALLS    OH   44262‐1516
MARTIN, JAMES E       24 HUDSON AVENUE                                                                              FRANKLIN        OH   45005‐2725
MARTIN, JAMES E       1725 BRADSHAW RD                                                                              GRAND CANE      LA   71032‐6084
MARTIN, JAMES E       2145 DEER LAKE RD                                                                             HARRISON        MI   48625‐8931
MARTIN, JAMES E       23811 CANERWELL ST                                                                            NEWHALL         CA   91321‐3715
MARTIN, JAMES E       PO BOX 192                                                                                    LITHOPOLIS      OH   43136‐0192
MARTIN, JAMES E       602 KNOLL WOOD LN                                                                             GREENTOWN       IN   46936‐9617
MARTIN, JAMES E       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA   23510‐2212
                                                     STREET, SUITE 600
MARTIN, JAMES E       BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                   NORTHFIELD      OH 44067
                                                     PROFESSIONAL BLDG
MARTIN, JAMES F       226 HARRISON ST                                                                               PORT CLINTON    OH   43452‐1005
MARTIN, JAMES G       214 CLARK RD                                                                                  GRIFFIN         GA   30224‐5113
MARTIN, JAMES H       3534 LINGER LN                                                                                SAGINAW         MI   48601‐5621
MARTIN, JAMES I       3437 ARBELA RD                                                                                MILLINGTON      MI   48746‐9305
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Name                    Address1                        Address2                      Address3   Address4         City              State Zip
MARTIN, JAMES J         15 HARVEY CIR                                                                             OKLAHOMA CITY      OK 73139‐7405
MARTIN, JAMES K         155 MILL CREEK RD                                                                         NILES              OH 44446‐3209
MARTIN, JAMES L         16700 WESTMORELAND RD                                                                     DETROIT            MI 48219‐4040
MARTIN, JAMES L         13353 SHERIDAN RD                                                                         MONTROSE           MI 48457
MARTIN, JAMES L         228 SHEPARD ST.                                                                           NEW CARLISLE       OH 45344‐2916
MARTIN, JAMES L         228 SHEPARD ST                                                                            NEW CARLISLE       OH 45344‐2916
MARTIN, JAMES L         117 MAGNOLIA DR                                                                           PIEDMONT           MO 63957‐1054
MARTIN, JAMES L         PO BOX 385                                                                                STEELVILLE         MO 65565‐0385
MARTIN, JAMES L         1203 LAKE ST                                                                              ROSCOMMON          MI 48653‐8303
MARTIN, JAMES L         14534 FREELAND ST                                                                         DETROIT            MI 48227‐2802
MARTIN, JAMES L         494 GREATHOUSE RD                                                                         BOWLING GREEN      KY 42103‐9037
MARTIN, JAMES L         13353 S SHERIDAN RD                                                                       MONTROSE           MI 48457‐9392
MARTIN, JAMES L         2517 W WILLOW ST                                                                          SCOTT              LA 70583‐5217
MARTIN, JAMES M         34162 BEACONSFIELD ST                                                                     CLINTON TWP        MI 48035‐3302
MARTIN, JAMES M         PO BOX 159                                                                                THREE LAKES        WI 54562‐0159
MARTIN, JAMES MICHAEL   34162 BEACONSFIELD ST                                                                     CLINTON TWP        MI 48035‐3302
MARTIN, JAMES NORMAN    131 CANE CREEK RD                                                                         FARMERVILLE        LA 71241‐4037
MARTIN, JAMES O         33 SIDNEY ST                                                                              BUFFALO            NY 14211‐1134
MARTIN, JAMES O         721 N INDEPENDENCE ST BOX 222                                                             WINDFALL           IN 46076
MARTIN, JAMES P         102 W MARTINDALE RD                                                                       UNION              OH 45322‐3310
MARTIN, JAMES PAUL      BARON & BUDD                    THE CENTRUM, 3102 OAK LAWN                                DALLAS             TX 75219
                                                        AVE, STE 1100
MARTIN, JAMES R         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                        STREET, SUITE 600
MARTIN, JAMES R         1311 LIMITS N                                                                             MANCELONA         MI   49659‐9788
MARTIN, JAMES R         910 85TH ST APT 123                                                                       KENOSHA           WI   53143‐6562
MARTIN, JAMES R         3112 DICKINSON AVE              APT 3                                                     DICKINSON         TX   77539
MARTIN, JAMES R         7880 PINEWOOD RD                                                                          FAIRVIEW          TN   37062‐8722
MARTIN, JAMES R         40187 GILBERT ST                                                                          PLYMOUTH          MI   48170‐4555
MARTIN, JAMES R         1313 VALLEY ISLAND RD                                                                     SEBEWAING         MI   48759
MARTIN, JAMES R         21708 HIGHWAY 51                                                                          MALVERN           AR   72104‐7930
MARTIN, JAMES RICHARD   40187 GILBERT ST                                                                          PLYMOUTH          MI   48170‐4555
MARTIN, JAMES S         2281 UNITY CHURCH CIR                                                                     MAYSVILLE         GA   30558‐2435
MARTIN, JAMES T         115 SUMMERFIELD DR                                                                        MCDONOUGH         GA   30253‐5305
MARTIN, JAMES T         7635 ADLER RD                                                                             OTTAWA LAKE       MI   49267‐9533
MARTIN, JAMES T         1048 WOODLAND AVE                                                                         TOLEDO            OH   43607‐4069
MARTIN, JAMES THEO      7635 ADLER RD                                                                             OTTAWA LAKE       MI   49267‐9533
MARTIN, JAMES W         7612 ANDREW TURN                                                                          PLAINFIELD        IN   46168‐9384
MARTIN, JAMES W         182 BOAT YARD RD                                                                          CHESAPEAKE CITY   MD   21915‐1047
MARTIN, JAMES W         1353 WINDSOR ST                                                                           TAVARES           FL   32778‐2510
MARTIN, JAMES W         LAKE FOREST COLLEGE‐BOX         701                                                       LAKE FOREST       IL   60045
MARTIN, JAMES W         952 JIMSON DR SE                                                                          CONYERS           GA   30013‐2059
MARTIN, JANA            3545 ANDREWS LOOP UNIT A                                                                  PANAMA CITY       FL   32403‐4253
MARTIN, JANE            5606 N TEN MILE RD                                                                        MERIDIAN          ID   83646‐5106
MARTIN, JANE            11624 PINEDALE AVENUE                                                                     SEMINOLE          FL   33772
MARTIN, JANE E          1352 SOUTH PEARL ST                                                                       JANESVILLE        WI   53546‐5578
MARTIN, JANE E          1352 S PEARL ST                                                                           JANESVILLE        WI   53546‐5578
MARTIN, JANET           190 QUARRY HILLS ESTATE                                                                   AKRON             NY   14001
MARTIN, JANET           706 BROADWAY ST                                                                           YOUNGSTOWN        OH   44510‐1414
MARTIN, JANET E         HC 4 BOX 3V                                                                               STAR VALLEY       AZ   85541‐8515
MARTIN, JANET I         602 KNOLL WOOD LN                                                                         GREENTOWN         IN   46936‐9617
MARTIN, JANET J         5242 S BIRMINGHAM PL                                                                      TULSA             OK   74105‐6616
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Name                     Address1                           Address2                          Address3   Address4               City               State Zip
MARTIN, JANET M          1798 E MOORE RD                                                                                        SAGINAW             MI 48601‐9353
MARTIN, JANET M          1798 EAST MOORE ROAD                                                                                   SAGINAW             MI 48601‐9353
MARTIN, JANICE M         8070 COUNTRY PINE DR. SE                                                                               ALTO                MI 49302‐9142
MARTIN, JANNET K         3165 CAIRNCROSS DR                                                                                     OAKLAND             MI 48363‐2705
MARTIN, JASON            1465 PEACHWOOD DR                                                                                      FLINT               MI 48507‐5632
MARTIN, JASON            ROSE LAW FIRM PLLC ‐ NY            501 NEW KARNER                                                      ALBANY              NY 12205
MARTIN, JASON G          8604 BRAY RD                                                                                           VASSAR              MI 48768‐9647
MARTIN, JASON G          8604 BRAY ROAD                                                                                         VASSAR              MI 48768‐9647
MARTIN, JAY D            472 E 2100 N APT 5                                                                                     OGDEN               UT 84414‐3078
MARTIN, JAY S            2606 DUANE DR                                                                                          SAGINAW             MI 48603‐3014
MARTIN, JEAN E           10390 MORNING SUN RD                                                                                   COLLEGE CORNER      OH 45003‐9276
MARTIN, JEAN J           3110 PEACHTREE ST                                                                                      JANESVILLE          WI 53548‐3243
MARTIN, JEAN M           428 MALLOWBRANCH DR                                                                                    SAINT JOHNS         FL 32259‐4051
MARTIN, JEAN P           492 LAKES CT                                                                                           WESTMINSTER         MD 21158‐4197
MARTIN, JEAN P           15 BERGERON ST                                                                                         SEEKONK             MA 02771‐4201
MARTIN, JEAN P           492 LAKES COURT                                                                                        WESTMINSTER         MD 21158‐4197
MARTIN, JEAN P.          15 BERGERON ST                                                                                         SEEKONK             MA 02771‐4201
MARTIN, JEAN‐POL         RUE DE LA STATION 20                                                            7350 HEMSIES BELGIUM
MARTIN, JEANNE           YOUNG & YEARGIN LLC,               507 CANTON RD                                                       AKRON              OH   44312‐1647
MARTIN, JEANNETTE F      1815 TAYLOR CREEK DR                                                                                   FRESNO             TX   77545‐9541
MARTIN, JEANNETTE V      506 WILD CHERRY DR                                                                                     DELAND             FL   32724‐7887
MARTIN, JEFF J           6303 N AKRON DR                                                                                        ALEXANDRIA         IN   46001‐8639
MARTIN, JEFF L           RR 5 BOX 47AA                                                                                          BLOOMFIELD         IN   47424‐9527
MARTIN, JEFF R           11782 BEARDSLEE RD                                                                                     PERRY              MI   48872
MARTIN, JEFFERY          262 PARKWAY DR                                                                                         MANSFIELD          OH   44906
MARTIN, JEFFERY D        3364 FREMBES RD                                                                                        WATERFORD          MI   48329‐4019
MARTIN, JEFFERY D        22359 PROVINCIAL ST                                                                                    WOODHAVEN          MI   48183‐3703
MARTIN, JEFFERY L        9042 E 1050 S                                                                                          AMBOY              IN   46911‐9353
MARTIN, JEFFREY          637 ELLSWORTH ST                                                                                       INDIANAPOLIS       IN   46202‐6145
MARTIN, JEFFREY          WEITZ & LUXENBERG                  180 MAIDEN LANE                                                     NEW YORK           NY   10038
MARTIN, JEFFREY A        5593 PAUL TALBOTT CIR                                                                                  GROVE CITY         OH   43123‐9439
MARTIN, JEFFREY E        PO BOX 120                                                                                             CHAPEL HILL        TN   37034‐0120
MARTIN, JEFFREY J        86 COTTAGE RD                                                                                          ENFIELD            CT   06082‐2238
MARTIN, JEFFREY W        PO BOX 233                                                                                             MONTROSE           MI   48457‐0233
MARTIN, JEFFREY WAYNE    PO BOX 233                                                                                             MONTROSE           MI   48457‐0233
MARTIN, JENNIFER         7152 S 600 E                                                                                           WABASH             IN   46992‐8154
MARTIN, JENNIFER         2075 SPRINGMILL RD.                                                                                    COLUMBUS           OH   43201
MARTIN, JENNIFER         KROHN & MOSS ‐ FL                  120 WEST MADISON STREET, 10TH                                       CHICAGO            IL   44114
                                                            FLOOR
MARTIN, JENNIFER ELISE   291 VILLAGE CREEK CIR              APT A                                                               WINSTON SALEM      NC   27104‐4749
MARTIN, JENNINGS H       25 EAGLE POINT DR                                                                                      NEWTON FALLS       OH   44444‐1262
MARTIN, JERALD P         1144 KEBLE LN                                                                                          OXFORD             MI   48371‐5902
MARTIN, JERE E           5812 CLARK RD                                                                                          HARRISON           TN   37341‐5906
MARTIN, JEROME           8405 WHITEFIELD ST                                                                                     DEARBORN HEIGHTS   MI   48127‐1192
MARTIN, JERRY            4002 LEERDA ST                                                                                         FLINT              MI   48504‐2139
MARTIN, JERRY            2162 NASHVILLE RD                                                                                      BOWLING GREEN      KY   42101‐3849
MARTIN, JERRY            KAHN & ASSOCIATES                  17295 CHESTERFIELD AIRPORT ROAD                                     CHESTERFIELD       MO   63005
                                                            SUITE 200
MARTIN, JERRY D          42803 MOCCASIN TRL                                                                                     SHAWNEE            OK   74804‐9566
MARTIN, JERRY L          1120 CAROLYN DR                                                                                        MIDWEST CITY       OK   73110‐2424
MARTIN, JERRY L          PO BOX 28                          18897 HOXYVILLE                                                     WELLSTON           MI   49689‐0028
MARTIN, JERRY L          4230 CARTER AVE                                                                                        NORWOOD            OH   45212‐2908
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Name                   Address1                         Address2            Address3         Address4         City              State Zip
MARTIN, JERRY N        3500 BELL RD                                                                           GAINESVILLE        GA 30507‐8625
MARTIN, JERRY R        3440 HEMMETER RD                                                                       SAGINAW            MI 48603‐2026
MARTIN, JERRY W        PO BOX 291763                                                                          TAMPA              FL 33687‐1763
MARTIN, JESSE E        6517 EDINBURGH DR                                                                      NASHVILLE          TN 37221‐3707
MARTIN, JESSICA M      3246 OVERLOOK DRIVE                                                                    MCKEESPORT         PA 15133‐2220
MARTIN, JESSICA M      10421 E LAKESHORE DR                                                                   CARMEL             IN 46033‐4128
MARTIN, JETHRO C       1617 NOTTINGHAM PL                                                                     NASHVILLE          TN 37221
MARTIN, JETTIE M       PO BOX 88752                                                                           INDIANAPOLIS       IN 46208‐0752
MARTIN, JEWELL E       2144 INDIAN TRAIL RD                                                                   CARLETON           MI 48117‐9313
MARTIN, JIMMIE         2162 NASHVILLE RD                                                                      BOWLING GREEN      KY 42101‐3849
MARTIN, JIMMIE A       2240 DURHAM RD                                                                         SHELBY TOWNSHIP    MI 48317‐2721
MARTIN, JIMMY          105 SPENCER CT                                                                         BOWLING GREEN      KY 42101‐1116
MARTIN, JIMMY          3095 CHICKEN RD                                                                        LEBANON            TN 37090‐7625
MARTIN, JIMMY D        HC 62 BOX 175                                                                          OZONE              AR 72854‐9121
MARTIN, JIMMY M        827 NW PASSAGE BOX 15C                                                                 CREEDE             CO 81130
MARTIN, JIMMY SR       GORI JULIAN & ASSOCIATES P C     156 N MAIN ST                                         EDWARDSVILLE        IL 62025
MARTIN, JO ANN         25964 THATCH RD                                                                        ATHENS             AL 35613‐3133
MARTIN, JO ANN         25964 THACH RD                                                                         ATHENS             AL 35613‐3133
MARTIN, JOAN           8443 FARLEY ST                                                                         OVERLAND PARK      KS 66212‐4427
MARTIN, JOAN           8443 FARLEY                                                                            OVERLAND PARK      KS 66212‐4427
MARTIN, JOAN D         825 W. SAND BERNARDINO RD        ROOM 118                                              COVINA             CA 91722
MARTIN, JOAN R         3017 KIWATHA RD                                                                        YOUNGSTOWN         OH 44511
MARTIN, JOANN          103B E MATTHEWS ST                                                                     BROOKLAND          AR 72417‐8682
MARTIN, JOANN          103B EAST MATTHEWS                                                                     BROOKLAND          AR 72417‐8682
MARTIN, JOE A          100 CASALS PL APT 16B # 16                                                             BRONX              NY 10475‐3021
MARTIN, JOE B          13995 EAST 100 N34                                                                     SWAYZEE            IN 46986‐9736
MARTIN, JOE BRYAN      39025 975W                                                                             SWAYZEE            IN 46986
MARTIN, JOE D          1960 LUKE EDWARDS RD                                                                   DACULA             GA 30019‐2503
MARTIN, JOE D          13 MISTY MESA CT                                                                       MANSFIELD          TX 76063‐4813
MARTIN, JOE H          3950 SOMERSET AVE                                                                      DETROIT            MI 48224‐3461
MARTIN, JOEL P         27878 JEWELL RD                                                                        DEFIANCE           OH 43512‐9168
MARTIN, JOEL P.        27878 JEWELL RD                                                                        DEFIANCE           OH 43512‐9168
MARTIN, JOHN           6971 TICONDEROGA TRL                                                                   EDEN PRAIRIE       MN 55346‐2104
MARTIN, JOHN           24020 ONEIDA ST                                                                        OAK PARK           MI 48237‐3721
MARTIN, JOHN           GORI JULIAN & ASSOCIATES P C     156 N MAIN ST                                         EDWARDSVILLE        IL 62025
MARTIN, JOHN A         622 W OLDFIELD ST                                                                      ALPENA             MI 49707‐1812
MARTIN, JOHN A         MOTLEY RICE                      PO BOX 1792                                           MT PLEASANT        SC 29465‐1792
MARTIN, JOHN A         1003 N EDGEWORTH AVE                                                                   ROYAL OAK          MI 48067‐1500
MARTIN, JOHN A         1487 FARRINGTON DR                                                                     KETTERING          OH 45420‐1380
MARTIN, JOHN A         3782 SHALLOWAY DR                                                                      LIMA               OH 45805‐1565
MARTIN, JOHN B         1958 BURNING BUSH CT                                                                   ADRIAN             MI 49221‐1267
MARTIN, JOHN C         4197 S BELSAY RD                                                                       BURTON             MI 48519‐1730
MARTIN, JOHN C         5705 SAINT CHARLES AVE                                                                 NEW ORLEANS        LA 70115‐5051
MARTIN, JOHN CHARLES   1203 ALTON AVE                                                                         FLINT              MI 48507‐6237
MARTIN, JOHN D         522 POPLAR ST                                                                          CLIO               MI 48420‐1262
MARTIN, JOHN D         3017 ARIZONA AVE                                                                       FLINT              MI 48506‐2477
MARTIN, JOHN D         PO BOX 397                                                                             JEFFERSON          TX 75657‐0397
MARTIN, JOHN D         2891 SHILLING DR                                                                       COLUMBUS           OH 43232‐5550
MARTIN, JOHN D         693 BUFORD HWY                                                                         SUGAR HILL         GA 30518‐4812
MARTIN, JOHN E         PO BOX 1192                                                                            DAHLONEGA          GA 30533‐0020
MARTIN, JOHN E         70355 CANTERBURY DR                                                                    RICHMOND           MI 48062‐1047
MARTIN, JOHN E         323 SE 34TH ST                                                                         CAPE CORAL         FL 33904‐4839
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Name                  Address1                      Address2                 Address3    Address4         City              State Zip
MARTIN, JOHN E        228 E DANSVILLE RD                                                                  DANSVILLE          MI 48819‐9712
MARTIN, JOHN EDWARD   70355 CANTERBURY DR                                                                 RICHMOND           MI 48062‐1047
MARTIN, JOHN F        5614 MILLINGTON RD                                                                  MILLINGTON         MI 48746‐9538
MARTIN, JOHN G        11624 PINEDALE AVENUE                                                               SEMINOLE           FL 33772‐7018
MARTIN, JOHN H        801 CHERRY GROVE CH RD                                                              MORAVIAN FALLS     NC 28654
MARTIN, JOHN J        302 SAND DOLLAR LN                                                                  HAMPSTEAD          NC 28443‐2568
MARTIN, JOHN J        2746 HILLENDALE DR                                                                  ROCHESTER HILLS    MI 48309‐1923
MARTIN, JOHN J        101 FAIRWAY DRIVE                                                                   CORTLAND           OH 44410‐9700
MARTIN, JOHN K        730 N LUMBERJACK RD                                                                 SUMNER             MI 48889‐9793
MARTIN, JOHN L        1541 LEISURE DR APT F21                                                             BRADENTON          FL 34207
MARTIN, JOHN L        8792 HERBERT RD                                                                     CANFIELD           OH 44406‐9783
MARTIN, JOHN L        11 OAK PARK PL                                                                      SAVANNAH           GA 31405‐1018
MARTIN, JOHN L        107 STERLING ST                                                                     GREENVILLE         SC 29601‐3944
MARTIN, JOHN L        304 WILSON CEMETERY RD                                                              LEESVILLE          LA 71446‐7842
MARTIN, JOHN L        1215 COLLINGWOOD DR                                                                 INDIANAPOLIS       IN 46228‐1920
MARTIN, JOHN M        590 MEADOW SWEET CIR                                                                OSPREY             FL 34229‐8977
MARTIN, JOHN M        8162 CANOPY TER                                                                     PARKLAND           FL 33076‐4492
MARTIN, JOHN N        5156 BAXMAN RD                                                                      BAY CITY           MI 48706‐3054
MARTIN, JOHN N        3423 BAYRIDGE RD                                                                    LANTANA            FL 33462‐7202
MARTIN, JOHN R        195 LEAD MINE BROOK RD                                                              HARWINTON          CT 06791
MARTIN, JOHN R        901 N 3RD ST                                                                        PIEDMONT           MO 63957‐1111
MARTIN, JOHN R        2619 STARFORD DR                                                                    DUBLIN             OH 43016‐9097
MARTIN, JOHN V        54 BOND ST                                                                          DAYTON             OH 45405‐4201
MARTIN, JOHN W        5749 MARBLE DR                                                                      TROY               MI 48085‐3918
MARTIN, JOHN W        122 LUTHER LN                                                                       FRIERSON           LA 71027‐2262
MARTIN, JOHN W        548 COUNTY ROAD 125                                                                 TOWN CREEK         AL 35672‐7032
MARTIN, JOHN W        910 PENNY LN                                                                        BALLWIN            MO 63011‐2845
MARTIN, JOHN W        369 E KELLER HILL RD                                                                MOORESVILLE        IN 46158‐7271
MARTIN, JOHN W        10560 PLEASANT HOLLOW WA                                                            CORRYTON           TN 37721
MARTIN, JOHN WALTER   122 LUTHER LN                                                                       FRIERSON           LA 71027‐2262
MARTIN, JOHNNIE M     1015 PRAIRIE RD                                                                     MONROE             LA 71202‐7619
MARTIN, JOHNNIE M     1739 AVONLEA AVE                                                                    CINCINNATI         OH 45237
MARTIN, JOHNNY        2652 PRESTON DR                                                                     DECATUR            GA 30034‐1340
MARTIN, JOHNNY        2107 SANDHURST ST                                                                   BOSSIER CITY       LA 71111‐5649
MARTIN, JOHNNY        701 W BUCKINGHAM DR                                                                 MARION             IN 46952‐2023
MARTIN, JOHNNY E      4000 E COUNTY ROAD 1100 N                                                           EATON              IN 47338‐9558
MARTIN, JOHNNY L      230 W GALBRAITH RD 3301                                                             CINCINNATI         OH 45215‐5223
MARTIN, JOHNNY O      1716 PENNWAY PL                                                                     DAYTON             OH 45406‐3301
MARTIN, JOHNNY R      2410 REDBUD MEADOW LN                                                               DOUGLASVILLE       GA 30135‐7922
MARTIN, JOHNNY R      50 CASTLE HILL DR                                                                   ROANOKE            IN 46783‐9187
MARTIN, JOHNNY RAY    50 CASTLE HILL DR                                                                   ROANOKE            IN 46783‐9187
MARTIN, JON A         1826 BARTHELS RD                                                                    TWO RIVERS         WI 54241
MARTIN, JON B         3646 ESTATES DR                                                                     TROY               MI 48084‐1123
MARTIN, JON E         2115 KAPPEL DR                C/O NORTH VALLEY MANOR                                SAINT LOUIS        MO 63136‐4115
MARTIN, JONATHAN      PO BOX 1642                                                                         SAGINAW            MI 48605‐1642
MARTIN, JONATHAN D    521 RAINBOW DR                                                                      KOKOMO             IN 46902‐3723
MARTIN, JOSEFINE R    10201 N 99TH AVE LOT 167                                                            PEORIA             AZ 85345‐6121
MARTIN, JOSEFINE R    10201 N 99TH AVE              LOT 167                                               PEORIA             AZ 85345‐5121
MARTIN, JOSEPH        828 OUTER LANE                                                                      LAFAYETTE          TN 37083
MARTIN, JOSEPH
MARTIN, JOSEPH B      504 CLINTON ST                                                                      CAMBRIDGE         MD 21613‐2107
MARTIN, JOSEPH B      2333 WOODCREEK DR                                                                   BIRMINGHAM        AL 35226‐1642
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Name                     Address1                          Address2                      Address3   Address4         City               State Zip
MARTIN, JOSEPH F         7164 E BRISTOL RD                                                                           DAVISON             MI 48423‐2400
MARTIN, JOSEPH H         4799 WARWICK DR S                                                                           CANFIELD            OH 44406‐9241
MARTIN, JOSEPH J         185 THOMAS LN                                                                               TROY                MO 63379‐5663
MARTIN, JOSEPH J         21 SHORT HILLS DR                                                                           HILTON              NY 14468‐1120
MARTIN, JOSEPH K         C/O GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                           STREET, SUITE 600
MARTIN, JOSEPH L         PO BOX 213                                                                                  LAINGSBURG         MI   48848‐0213
MARTIN, JOSEPH L         7036 SLEEPY HOLLOW LN                                                                       EDEN PRAIRIE       MN   55346‐3102
MARTIN, JOSEPH N         1050 N WINTER DR                                                                            MARION             IN   46952‐1771
MARTIN, JOSEPH R         785 PREAKNESS LN                                                                            FLORISSANT         MO   63033‐3613
MARTIN, JOSEPH W         116 OAK ST                                                                                  JACKSBORO          TN   37757‐2230
MARTIN, JOSH L           10405 PECK LAKE RD                                                                          LOWELL             MI   49331‐9213
MARTIN, JOYCE A          PO BOX 280                                                                                  SUNFIELD           MI   48890‐0280
MARTIN, JOYCE A          153 AURAWOOD DRIVE                                                                          KINGSPORT          TN   37660‐6773
MARTIN, JOYCE D          16508 SIENNA CIR                                                                            CLINTON TOWNSHIP   MI   48038
MARTIN, JOYCE E          8745 LEWIS AVE APT A21                                                                      TEMPERANCE         MI   48182‐9148
MARTIN, JOYCE WILSON     119 IDLEWOOD DR                                                                             TONAWANDA          NY   14150‐6431
MARTIN, JUAN M           13371 SW 254TH TER                                                                          REDLAND            FL   33032‐5606
MARTIN, JUANA M          1445 S LIEBOLD ST                                                                           DETROIT            MI   48217‐1225
MARTIN, JUANITA          4020 GREEN ISLE WAY APT 3                                                                   SAGINAW            MI   48603‐1406
MARTIN, JUANITA          390 ALBERTA DR APT 1              APARTMENT 2                                               AMHERST            NY   14226‐1360
MARTIN, JUANITA          390 ALBERTA DR                    1ST FLOOR                                                 AMHURST            NY   14226
MARTIN, JUANITA          509 W LORADO AVE                                                                            FLINT              MI   48505‐2092
MARTIN, JUANITA L        PO BOX 182                                                                                  CULLODEN           WV   25510‐0182
MARTIN, JUDGE            2216 HAMMEL ST                                                                              SAGINAW            MI   48601‐2273
MARTIN, JUDITH A         13 BELLWOOD DR                                                                              SWARTZ CREEK       MI   48473‐8283
MARTIN, JUDITH H         LOT 115 CRESTWOOD PARK                                                                      MIDDLETOWN         IN   47356‐9322
MARTIN, JUDY             27 BOBCAT LN                                                                                DAHLONEGA          GA   30533‐4719
MARTIN, JUDY KATHERINE   6170 JANICE RD                                                                              MILLINGTON         MI   48746‐9591
MARTIN, JULIA A          121 LANSMERE WAY                                                                            ROCHESTER          NY   14624‐1166
MARTIN, JULIANA J        21400 DIX TOLEDO HWY APT 330                                                                BROWNSTOWN TWP     MI   48183‐1368
MARTIN, JULIE            308 BURBANK AVE                                                                             JANESVILLE         WI   53546‐3245
MARTIN, JULIE            308 W BURBANK AVE                                                                           JANESVILLE         WI   53546‐3245
MARTIN, JULIE L          8216 M.5 RD                                                                                 GLADSTONE          MI   49837‐9078
MARTIN, JULIO            773 SILVERCREEK CT NW                                                                       LILBURN            GA   30047‐3542
MARTIN, JULIUS L         98 RENFREW AVE                                                                              MOUNT MORRIS       MI   48458‐8856
MARTIN, JUNE M           1480 BELLE AVE                                                                              LAKEWOOD           OH   44107‐4202
MARTIN, JUNIOR R         4160 PENNYROYAL RD                                                                          FRANKLIN           OH   45005‐1026
MARTIN, JUSTIN           3545 ANDREWS LOOP UNIT A                                                                    PANAMA CITY        FL   32403‐4253
MARTIN, K A              7518 CONSOL SCHL RD                                                                         EDGERTON           WI   53534
MARTIN, K M              8788 KEYSTONE RD                                                                            WHITTEMORE         MI   48770‐9783
MARTIN, KAMIEON D        705 POLEMAN RD                                                                              SHREVEPORT         LA   71107‐3203
MARTIN, KAREN            250 WOODSTOCK CT                                                                            ZIONSVILLE         IN   46077‐1061
MARTIN, KAREN A          1004 DOVER RD                                                                               CLARKSVILLE        TN   37042‐6014
MARTIN, KAREN A          10394 HILLS LN DR                                                                           GOODRICH           MI   48438
MARTIN, KAREN A          1004 DOVER RD.                                                                              CLARKSVILLE        TN   37042‐7042
MARTIN, KAREN J          157 FLORENCE ST                                                                             WOODLAND           MI   48897‐9748
MARTIN, KAREN L          1342 14TH AVENUE                                                                            GREEN BAY          WI   54304‐3435
MARTIN, KARL E           617 LAURENS WAY                                                                             POTTERVILLE        MI   48876‐8786
MARTIN, KARL E           7046 TUCKAHOE CT                                                                            BARNHART           MO   63012‐1451
MARTIN, KARL H           421 WESTBROOK DR                                                                            O FALLON           MO   63366‐2466
MARTIN, KATHELINE G      162 FRENCH ST                                                                               BRISTOL            CT   06010‐5553
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Name                      Address1                         Address2                      Address3   Address4         City                State Zip
MARTIN, KATHERINE L       1190 ALTON AVE                                                                             FLINT                MI 48507‐4797
MARTIN, KATHERINE LYNN    1190 ALTON AVE                                                                             FLINT                MI 48507‐4797
MARTIN, KATHERINE M       2582 DEPEW DR                                                                              WEST BLOOMFIELD      MI 48324‐1728
MARTIN, KATHERINE R       APT 225                          17046 LLOYDS BAYOU DRIVE                                  SPRING LAKE          MI 49456‐9270
MARTIN, KATHLEEN K        1621 WALNUT DR SE                                                                          CONYERS              GA 30013‐1665
MARTIN, KATHLEEN L        27022 BOERNE FRST                                                                          BOERNE               TX 78006‐5223
MARTIN, KATHRYN J         9115 W 129TH ST                                                                            OVERLAND PARK        KS 66213
MARTIN, KATHY
MARTIN, KATHY J           6907 W 700 N                                                                               KOKOMO              IN   46902‐9314
MARTIN, KATHY L           711 W WENGER ROAD APT            161                                                       ENGLEWOOD           OH   45322
MARTIN, KATIE             PO BOX 351                                                                                 MORVEN              NC   28119‐0351
MARTIN, KEAIRA M          1826 WILLOWBROOK CIRCLE                                                                    FLINT               MI   48507‐1413
MARTIN, KEITH A           3405 LOWER BETHANY RD                                                                      BALL GROUND         GA   30107‐3632
MARTIN, KEITH F           2886 COUNTY FARM RD                                                                        HOWELL              MI   48843‐8973
MARTIN, KEITH FREDERICK   2886 COUNTY FARM RD                                                                        HOWELL              MI   48843‐8973
MARTIN, KEITH L           1663 SHERMAN AVE                                                                           BELOIT              WI   53511‐3801
MARTIN, KEITH M           10471 FARMBROOK DR                                                                         BRIGHTON            MI   48114‐7585
MARTIN, KELLY D STACEY
MARTIN, KENDALL G         6253 W COLDWATER RD                                                                        FLUSHING            MI   48433‐9016
MARTIN, KENDALL GRANT     6253 W COLDWATER RD                                                                        FLUSHING            MI   48433‐9016
MARTIN, KENNETH           1422 LITTLE SALT CREEK RUN                                                                 BEDFORD             IN   47421‐8018
MARTIN, KENNETH           8578 OLDENBURG DR                                                                          MOUNT PLEASANT      NC   28124‐8540
MARTIN, KENNETH A         PO BOX 122                                                                                 DUARTE              CA   91009‐0122
MARTIN, KENNETH A         1012 PORTOLA DR                                                                            DUARTE              CA   91010‐3754
MARTIN, KENNETH B         6773 E FM 916                                                                              GRANDVIEW           TX   76050‐3844
MARTIN, KENNETH D         3109 SKEETER CT                                                                            INDIANAPOLIS        IN   46214‐1961
MARTIN, KENNETH E         8650 HIGHLAND AVE                                                                          MINERAL RIDGE       OH   44440‐9779
MARTIN, KENNETH E         5287 HEGEL RD                                                                              GOODRICH            MI   48438‐9616
MARTIN, KENNETH J         3130 CASS CITY RD                                                                          CASS CITY           MI   48726‐9769
MARTIN, KENNETH J         788 DAKOTA                                                                                 ROCHESTER HILLS     MI   48307‐2877
MARTIN, KENNETH JOHN      788 DAKOTA                                                                                 ROCHESTER HILLS     MI   48307‐2877
MARTIN, KENNETH L         19 IKI DR APT 5                                                                            EDGERTON            WI   53534‐1042
MARTIN, KENNETH L         2525 N TRAIL CT                                                                            COMMERCE TOWNSHIP   MI   48390‐2758
MARTIN, KENNETH L         2273 HILLBRIAR DR                                                                          BUFORD              GA   30518‐3610
MARTIN, KENNETH LESLIE    2525 N TRAIL CT                                                                            COMMERCE TOWNSHIP   MI   48390‐2758
MARTIN, KENNETH R         751 MEADOW LN                                                                              HINCKLEY            IL   60520
MARTIN, KENNETH R         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                           STREET, SUITE 600
MARTIN, KENNETH W         1705 NW WEATHERSTONE DR                                                                    BLUE SPRINGS        MO 64015‐6318
MARTIN, KENNETH W         PO BOX 96                                                                                  MORRICE             MI 48857
MARTIN, KENTON J          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                           STREET, SUITE 600
MARTIN, KENYATTA A        20300 ASHTON AVE                                                                           DETROIT             MI   48219‐1565
MARTIN, KERRY A           129 KENNEDY LN                                                                             OWENS CROSS ROADS   AL   35763‐9031
MARTIN, KERRY ALAN        129 KENNEDY LN                                                                             OWENS CROSS ROADS   AL   35763‐9031
MARTIN, KEVIN D           5403 HIGHWAY 5                                                                             GLOSTER             LA   71030‐3047
MARTIN, KEVIN D           9405 MADISON DR                                                                            BELLEVILLE          MI   48111‐1681
MARTIN, KEVIN J           4637 DUGGER RD                                                                             CULLEOKA            TN   38451‐3127
MARTIN, KEVIN J           10107 BEERS RD                                                                             SWARTZ CREEK        MI   48473‐9160
MARTIN, KEVIN JAMES       10107 BEERS RD                                                                             SWARTZ CREEK        MI   48473‐9160
MARTIN, KEVIN W           PO BOX 7242                                                                                FLINT               MI   48507‐0242
MARTIN, KIMBERLY A        36990 GORDON LANE APT#260                                                                  MOUNT CLEMENS       MI   48045
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Name                      Address1                          Address2                       Address3   Address4         City               State Zip
MARTIN, KIMBERLY D        PO BOX 1764                                                                                  BARBOURVILLE        KY 40906‐5764
MARTIN, KIMBERLY D        411 GRANTS TRL                                                                               CENTERVILLE         OH 45459‐3117
MARTIN, KIMBERLY M
MARTIN, KIMBERLY S        10270 CARRIAGE WAY                                                                           DAVISON            MI   48423‐1464
MARTIN, KIMBERLY Y        6554 NEARPOINT DR SE                                                                         CALEDONIA          MI   49316‐8442
MARTIN, KIMBERLY YVETTE   6554 NEARPOINT DR SE                                                                         CALEDONIA          MI   49316‐8442
MARTIN, KLAUS PETER       6782 MOUNTAIN CT.                                                                            TROY               MI   48098
MARTIN, KRISTA B          1446 UNION GROVE RD                                                                          COLUMBIA           TN   38401‐8014
MARTIN, KRISTA BELUE      1446 UNION GROVE RD                                                                          COLUMBIA           TN   38401‐8014
MARTIN, KRISTINE K        13333 WINCHESTER AVE                                                                         HUNTINGTON WOODS   MI   48070‐1728
MARTIN, KRISTYN           SIMANOVSKY & ASSOCIATES           2987 CLAIRMONT RD NE STE 130                               ATLANTA            GA   30329‐1687
MARTIN, KYLE L            2450 HIGHWAY 41A NORTH                                                                       EAGLEVILLE         TN   37060‐4003
MARTIN, L G               1139 BIRNEY LN                                                                               CINCINNATI         OH   45230‐3720
MARTIN, LANCE F           2463 SHAWNEE TRL                                                                             OKEMOS             MI   48864‐2531
MARTIN, LANCE L           496 LENOIR AVE                                                                               RIVER ROUGE        MI   48218‐1135
MARTIN, LANDON            622 W PULASKI AVE                                                                            FLINT              MI   48505‐6205
MARTIN, LARONUS           7827 HOLLOW BLUFF LN                                                                         RICHMOND           TX   77407‐2533
MARTIN, LARRY A           2179 STATE ROAD 252                                                                          MARTINSVILLE       IN   46151‐6376
MARTIN, LARRY A           12325 LOCHNESS CT                                                                            PLYMOUTH           MI   48170‐6914
MARTIN, LARRY D           RTE 3 BOX 3020                                                                               DAWSONVILLE        GA   30534
MARTIN, LARRY D           1233 DOE RUN RD                                                                              NEWARK             DE   19711‐2408
MARTIN, LARRY F           1342 WEEDEN RD                                                                               CARO               MI   48723‐9585
MARTIN, LARRY G           8494 S 35 RD                                                                                 CADILLAC           MI   49601‐9735
MARTIN, LARRY L           160 EDGEWATER DR                                                                             YOUNGSTOWN         OH   44515‐2166
MARTIN, LARRY M           120 W ELLSWORTH RD                                                                           MORRICE            MI   48857‐9780
MARTIN, LARRY M           1786 HUNTERS COVE CIRCLE                                                                     KOKOMO             IN   46902‐5180
MARTIN, LARRY V           10830 1ST ST                                                                                 OTSEGO             MI   49078‐9501
MARTIN, LASSIE A          2670 HAMILTON CHASE                                                                          BUFORD             GA   30519‐6925
MARTIN, LAURA A           105 ELM ST                                                                                   FLUSHING           MI   48433‐1607
MARTIN, LAURA M           19725 SEMINOLE ST.                                                                           REDFORD            MI   48240
MARTIN, LAURA R           39 ARLINGTON DR                                                                              SOUTHINGTON        CT   06489‐3409
MARTIN, LAURIER           691 HAYNESVILLE WAY                                                                          THE VILLAGES       FL   32162‐3740
MARTIN, LAVERN G          2217 LEISURE SHORES CT                                                                       DEFIANCE           OH   43512‐8411
MARTIN, LAVERNE           170 CHEROKEE RD                                                                              PONTIAC            MI   48341‐2001
MARTIN, LAWRENCE          APT F108                          502 BLACKPATCH DRIVE                                       SPRINGFIELD        TN   37172‐4342
MARTIN, LAWRENCE          SEARCY DENNEY SCAROLA BARHART &   PO BOX 3626                                                WEST PALM BEACH    FL   33402‐3626
                          SHIPLEY PA
MARTIN, LAWRENCE A        633 VIA SANTA CRUZ                                                                           VISTA              CA   92081‐6336
MARTIN, LAWRENCE L        1595 S LEAVITT RD SW                                                                         WARREN             OH   44481‐9163
MARTIN, LAWRENCE L        2020 DUGGAN DR                                                                               HARRISON           MI   48625‐9434
MARTIN, LAWRENCE P        251 RARITAN ST                                                                               SOUTH AMBOY        NJ   08879‐1324
MARTIN, LAWRENCE R        14146 TAYLOR RD                                                                              MILLINGTON         MI   48746‐9230
MARTIN, LE BLANC          8511 MONROE AVE                                                                              MUNSTER            IN   46321
MARTIN, LEAH V            2802 ARCHES DR                                                                               PLAINFIELD         IL   60586‐2774
MARTIN, LEANN M           500 NORTH RD                                                                                 FENTON             MI   48430‐1841
MARTIN, LEATHA            5417 WINTHROP BLVD                                                                           FLINT              MI   48505‐5123
MARTIN, LEE A             2081 E 500 S                                                                                 LOGANSPORT         IN   46947‐9302
MARTIN, LEILA P           240 LIONS HILL RD # E302                                                                     STATE COLLEGE      PA   16803
MARTIN, LELTON            1878 COUNTY ROAD 284                                                                         COURTLAND          AL   35618‐3612
MARTIN, LELYN A           RR 3                                                                                         BURLINGTON         CT   06013
MARTIN, LENA S            480 PEALE CT                                                                                 COLUMBUS           OH   43230‐2218
MARTIN, LENA S            575 WICKHAM WAY                                                                              GAHANNA            OH   43230
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Name                     Address1                        Address2                    Address3   Address4         City               State Zip
MARTIN, LENNY L          16426 W SKINNER RD                                                                      BRODHEAD            WI 53520‐8959
MARTIN, LENOLA M         7315 BURNETTE ST                                                                        DETROIT             MI 48210‐3302
MARTIN, LEO R            36303 SCHLEY ST                                                                         WESTLAND            MI 48186‐8311
MARTIN, LEO R            504 E FAIRMONT ST                                                                       LONGVIEW            TX 75601‐3803
MARTIN, LEON             770 E BALTIMORE BLVD                                                                    FLINT               MI 48505‐3520
MARTIN, LEON             5092 MONTCLAIR ST                                                                       DETROIT             MI 48213‐3454
MARTIN, LEON B           2572 ASHCRAFT ROAD                                                                      DAYTON              OH 45414‐3402
MARTIN, LEONARD E        2891 DUCK CREEK RD                                                                      N JACKSON           OH 44451‐4451
MARTIN, LEONARD E        RR 1 BOX 181                                                                            MARION              AL 36756‐9128
MARTIN, LEONARD E        2891 S DUCK CREEK RD                                                                    NORTH JACKSON       OH 44451‐9661
MARTIN, LEONARD G        8619 TIMBERWOOD LN                                                                      HAUGHTON            LA 71037‐9378
MARTIN, LEONARD J        14441 COLONY CREEK CT                                                                   WOODBRIDGE          VA 22193‐3319
MARTIN, LEONARD W        1114 REYNOLDS ST                                                                        MADISON              IL 62060‐1250
MARTIN, LERA             4505 5TH ST                                                                             ECORSE              MI 48229‐1043
MARTIN, LERA             4505 FIFTH ST                                                                           ECORSE              MI 48229‐1043
MARTIN, LEROY            C/O MOODY                       801 WEST FOURTH ST                                      LITTLE ROCK         AR 72201
MARTIN, LESLIE M         23811 CANERWELL ST                                                                      NEWHALL             CA 91321‐3715
MARTIN, LESTER E         477 REICHARD DR                                                                         VANDALIA            OH 45377‐2521
MARTIN, LEVA S           1031 17TH ST                                                                            KOKOMO              IN 46902‐1923
MARTIN, LEWIS            260 SOUTH BUHL FARM DRIVE       APT 231                                                 HERMITAGE           PA 16148‐6148
MARTIN, LEWIS            260 S BUHL FARM DR APT 231                                                              HERMITAGE           PA 16148‐2528
MARTIN, LEWIS L          108 SARA AVENUE                                                                         SPANISH FORT        AL 36527
MARTIN, LEWIS R          3308 YANKEE RD                                                                          MIDDLETOWN          OH 45044‐8927
MARTIN, LEWIS S          405 W ALEXIS RD APT 3                                                                   TOLEDO              OH 43612‐3649
MARTIN, LIESELOTTE S     9501 BUS#83 BOX 263                                                                     HARLINGEN           TX 78552
MARTIN, LILLIAN          5669 BEDFORD ST                                                                         DEARBORN HTS        MI 48125‐3442
MARTIN, LILLIAN          343 BRITTANY PL                                                                         LIVERMORE           CA 94550‐6254
MARTIN, LILLIE M         20402 CHEYENNE ST                                                                       DETROIT             MI 48235‐1003
MARTIN, LILLIE M         175 SURREY PARK DR                                                                      FAYETTEVILLE        GA 30215‐2533
MARTIN, LINA CHRISTINE   12201 PARK VILLAGE CT                                                                   FAIRVIEW            TN 37062‐5118
MARTIN, LINDA            5120 TONAWANDA CREEK DR                                                                 TONAWANDA           NY 14120‐4120
MARTIN, LINDA A          2205 NE SCANDIA DR APT E‐411                                                            KANSAS CITY         MO 64118‐5823
MARTIN, LINDA C          732 71ST ST S                                                                           BIRMINGHAM          AL 35206‐5407
MARTIN, LINDA D          1668 CHELSEA CIR 161                                                                    HOWELL              MI 48843
MARTIN, LINDA E          13440 PARDEE RD                                                                         TAYLOR              MI 48180‐4741
MARTIN, LINDA F          1611 4TH AVE SW                                                                         DECATUR             AL 35601‐4811
MARTIN, LINDA L          22749 ROXANA AVE                                                                        EASTPOINTE          MI 48021‐1921
MARTIN, LINDA R          3127 N 21ST ST                                                                          MILWAUKEE           WI 53206‐1724
MARTIN, LINDA R          3127 NORTH 21 STREET                                                                    MILWAUKEE           WI 53206
MARTIN, LINDA S          4804 RONALD DR                                                                          NORTH RIDGEVILLE    OH 44039‐1769
MARTIN, LINDSEY          5124 HEATHER DR. W104                                                                   DEARBORN            MI 48126
MARTIN, LISA D           154 PITTSBURG AVE                                                                       GIRARD              OH 44420‐3626
MARTIN, LLOYD J          31873 GRIFFITH DR                                                                       GALENA              MD 21635‐1411
MARTIN, LLOYD R          2980 HAINES BAYSHORE RD         APT 149                                                 CLEARWATER          FL 33760‐1524
MARTIN, LLOYD R          APT 149                         2980 HAINES BAYSHORE ROAD                               CLEARWATER          FL 33760‐1524
MARTIN, LLOYD W          340 N PINE ST                                                                           NOWATA              OK 74048‐2646
MARTIN, LOIS             13797 S 500 W                                                                           KOKOMO              IN 46901‐7784
MARTIN, LOIS G           730 N VINEYARD CIR                                                                      PORT CLINTON        OH 43452‐4126
MARTIN, LOIS J           1707 BETHANY RD                                                                         ANDERSON            IN 46012‐9669
MARTIN, LOIS J           5 KING GEORGE III DR                                                                    FLINT               MI 48507‐5932
MARTIN, LOIS M           2014 LAKE VIEW DR                                                                       BELLE VERNON        PA 15012‐3611
MARTIN, LOIS W           126 MARTIN LN                                                                           POLK                PA 16342‐4124
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Name                                    Address1                           Address2                            Address3   Address4               City                State Zip
MARTIN, LONNA A                         797 ENOLA DR                                                                                             VANDALIA             OH 45377‐2819
MARTIN, LONNIE                          3961 PHILOMENA ST                                                                                        LAS VEGAS            NV 89129‐6439
MARTIN, LONNIE D                        5411 MEADOWLARK LN                                                                                       ANDERSON             IN 46011‐1440
MARTIN, LONNIE R                        29705 E OUTER BELT RD                                                                                    GREENWOOD            MO 64034‐8207
MARTIN, LORAINE G                       906 S OAK ST                                                                                             CALIFORNIA           MO 65018‐1349
MARTIN, LOREN H                         1513 BURRIES TER                                                                                         INDIANAPOLIS         IN 46229‐2436
MARTIN, LORRAINE                        5311 LANCASTER LN                                                                                        COMMERCE TOWNSHIP    MI 48382‐2883
MARTIN, LORRAINE D                      5361 FOREST RIDGE DR                                                                                     CLARKSTON            MI 48346‐3481
MARTIN, LORRAINE E                      6501 PINE VALLEY RD                                                                                      CLARKSTON            MI 48346‐2276
MARTIN, LOU E                           520 CREGO BLVD                                                                                           SAGINAW              MI 48601‐6212
MARTIN, LOUIE J                         3150 KIRK RD NW                                                                                          MONROE               GA 30656
MARTIN, LOUIS A                         19797 MAPLETON DR                                                                                        MACOMB               MI 48044‐6701
MARTIN, LOUIS A                         3735 HIBBARD RD                                                                                          CORUNNA              MI 48817‐9566
MARTIN, LOUIS A                         46552 MORNINGSIDE DR                                                                                     MACOMB               MI 48044‐3711
MARTIN, LOUIS E                         PO BOX 206                                                                                               COTTLEVILLE          MO 63338‐0206
MARTIN, LOUIS W                         340 ANTOINETTE DR                                                                                        ROCHESTER HILLS      MI 48309‐1112
MARTIN, LOUISE                          405 W BRECKENRIDGE ST                                                                                    FERNDALE             MI 48220‐1725
MARTIN, LOUISE J                        6265 STATE RD                                                                                            VASSAR               MI 48768‐9276
MARTIN, LOUISE S                        3104 E BROADWAY RD LOT 103                                                                               MESA                 AZ 85204‐1715
MARTIN, LOUISE S                        3104 E BRDWAY RD                   LOT 103                                                               MESA                 AZ 85204
MARTIN, LOWELL D                        APT C                              515 NORTH PUTNAM STREET                                               WILLIAMSTON          MI 48895‐1126
MARTIN, LOWELL W                        C/O2580 NORTH‐PORTAGE RD                                                                                 JACKSON              MI 49201
MARTIN, LUCY                            7864 N LINK PL                                                                                           MILWAUKEE            WI 53223
MARTIN, LUCY R                          917 FRIZELL AVE                                                                                          DAYTON               OH 45408
MARTIN, LUGENE                          MOODY EDWARD O                     801 W 4TH ST                                                          LITTLE ROCK          AR 72201‐2107
MARTIN, LUTHER E                        33 COUNTY ROAD 423                                                                                       TISHOMINGO           MS 38873‐8602
MARTIN, LUTZ, ROGGOW AND EUBANKS        ATTN: JAMES A. ROGGOW              PO DRAWER 1837                                                        LAS CRUCES           NM 88004‐1837
P.C. 401‐K PLAN & PROFIT SHARING PLAN

MARTIN, LYDA E                          2220 HUMMINGBIRD LN                                                                                      ALEXANDRIA          IN   46001‐8086
MARTIN, LYLBON F                        1337 VINES DR NE                                                                                         HARTSELLE           AL   35640‐2070
MARTIN, LYLIAN J                        3326 HIGHWAY 43                                                                                          SILVER CREEK        MS   39663‐2110
MARTIN, LYLIAN J                        3270 HWY 43A                                                                                             SILVER CREEK        MS   39663‐9663
MARTIN, LYNDELL M                       446 N BAILEY ST                                                                                          ROMEO               MI   48065‐4710
MARTIN, LYNN A                          1413 NEUBERT AVE                                                                                         FLINT               MI   48507‐1528
MARTIN, LYNN A                          30 NANTUCKET DR                                                                                          BLOOMFIELD HILLS    MI   48304‐3341
MARTIN, LYNN E                          2856 N BOGAN RD                                                                                          BUFORD              GA   30519‐3947
MARTIN, LYNN M                          4252 E ROLSTON RD                                                                                        LINDEN              MI   48451‐9444
MARTIN, M B                             3111 PICCADILLY                                                                                          BLOOMINGTON         IN   47401‐8691
MARTIN, M J                             29 CHEROKEE LANE                                                                  LEAMINGTON ON CANADA
                                                                                                                          N8H‐5H8
MARTIN, MACIE L                         2840 N 45TH TER                                                                                          KANSAS CITY         KS   66104‐2431
MARTIN, MACK                            1105 W 115TH ST                                                                                          CHICAGO             IL   60643‐4505
MARTIN, MACK L                          1668 N MAYFAIR RD                                                                                        FORT MYERS          FL   33919‐6419
MARTIN, MAE B                           9004 HEDGEROW WAY                                                                                        BALTIMORE           MD   21236‐1918
MARTIN, MALEC & LEOPOLD P.C.            ATTN: JAMES M. MARTIN              1007 OLIVE STREET, FIFTH FLOOR                                        ST. LOUIS           MO   63101
MARTIN, MANUEL                          6309 SEAFORD RD                                                                                          ARLINGTON           TX   76001‐7854
MARTIN, MANUEL P                        WILENTZ GOLDMAN & SPITZER          88 PINE STREET, WALL STREET PLAZA                                     NEW YORK            NY   10005

MARTIN, MARCELLA                        3375 N LINDEN RD APT 240           LOCKWOOD OF MT MORRIS                                                 FLINT               MI 48504‐5726
MARTIN, MARCELLA L                      4243 PARKWAY DRIVE                                                                                       DAYTON              OH 45439‐5439
MARTIN, MARCELLERS                      880 GOLF DR APT 301                                                                                      PONTIAC             MI 48341‐2396
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Name                   Address1                        Address2                  Address3   Address4              City               State Zip
MARTIN, MARCELLIOU O   2507 N MADISON ST                                                                          WILMINGTON          DE 19802‐3412
MARTIN, MARCELLUS      THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD   SUITE 44                         CORAL GABLES        FL 33146
MARTIN, MARCIA E       66511 WINDING RIVER RD                                                                     CONSTANTINE         MI 49042‐9696
MARTIN, MARGARET       10229 HOLLY RD                                                                             HOLLY               MI 48442‐9302
MARTIN, MARGARET       10229 N HOLLY RD                                                                           HOLLY               MI 48442‐9302
MARTIN, MARGARET       2303 RAINTREE DRIVE                                                                        ANDERSON            IN 46011‐2644
MARTIN, MARGARET       PO BOX 956                                                                                 UTOPIA              TX 78884‐0956
MARTIN, MARGARET A     6253 E FRANCES RD                                                                          MOUNT MORRIS        MI 48458‐9728
MARTIN, MARGARET A     6253 E FRANCIS RD                                                                          MT MORRIS           MI 48458‐9728
MARTIN, MARGARET A     8118 SAWYER BROWN RD # B                                                                   NASHVILLE           TN 37221‐1402
MARTIN, MARGARET C     8650 HIGHLAND AVE.                                                                         MINERAL RIDGE       OH 44440‐9779
MARTIN, MARGARET E     25636 EUREKA DR                                                                            WARREN              MI 48091‐1424
MARTIN, MARGARET L     9647 SHIPPY RD SW                                                                          FIFE LAKE           MI 49633‐9205
MARTIN, MARGARET L     39239 POLO CLUB DR APT 103                                                                 FARMINGTON HILLS    MI 48335‐5629
MARTIN, MARGARET L     9647 SHIPPY ROAD SOUTH WEST                                                                FIFE LAKE           MI 49633
MARTIN, MARGARET L     613 SUNNYSIDE DR RT 1                                                                      CHESANING           MI 48616
MARTIN, MARGARET M     3353 SOUTHGATE DR                                                                          FLINT               MI 48507‐3274
MARTIN, MARGARET R     466 SELKIRK DR                                                                             MOUNT MORRIS        MI 48458‐8918
MARTIN, MARGARET R     466 SELKIRK                                                                                MT MORRIS           MI 48458‐8918
MARTIN, MARGARET V     RT 4 BOX 455                                                                               HURRICANE           WV 25526‐9371
MARTIN, MARGARET V     12304 MARILLA RD                                                                           COPEMISH            MI 49625‐9737
MARTIN, MARGUERITE D   407‐11886 TECUMSEH RD E                                              TECUMSEH, ON CANADA
                                                                                            N8N‐3C2
MARTIN, MARGUERITE L   1341 N ESCONDIDO BLVD                                                                      ESCONDIDO          CA   92026‐2507
MARTIN, MARI A         PO BOX 132                                                                                 SOMERSET           IN   46984‐0132
MARTIN, MARI ANN       216 N SHELDON ST                                                                           CHARLOTTE          MI   48813‐1452
MARTIN, MARIAN J       1715 BRUCE AVE # 2                                                                         CINCINNATI         OH   45223
MARTIN, MARIBETH       312 TANGLEWOOD DR                                                                          ROCHESTER HILLS    MI   48309‐2217
MARTIN, MARIE E        310 N CANAL ST                                                                             CHESANING          MI   48616‐1514
MARTIN, MARIE E        7902 NW 19TH CT                                                                            MARGATE            FL   33063‐6829
MARTIN, MARIE E        310 N CANAL                                                                                CHESANING          MI   48616‐1514
MARTIN, MARIE E        2521 N PURDUM ST                                                                           KOKOMO             IN   46901‐1437
MARTIN, MARIE E.       3410 34TH ST                                                                               NITRO              WV   25143‐1633
MARTIN, MARIE E.       3410 34TH STREET                                                                           NITRO              WV   25143
MARTIN, MARIE L        6179 KING ARTHUR DR                                                                        SWARTZ CREEK       MI   48473‐8808
MARTIN, MARILYN A      46193 PAT ST                                                                               CHESTERFIELD       MI   48051‐3222
MARTIN, MARILYN J      PO BOX 120                      ROOM 312                                                   SPRINGFIELD        OH   45501‐0120
MARTIN, MARILYN S      3501 RIVER PARK DR                                                                         ANDERSON           IN   46012‐4643
MARTIN, MARILYN S      1568 LARCHMONT N.E.                                                                        WARREN             OH   44483‐3956
MARTIN, MARILYN S      3904 E STATE ROAD 236                                                                      ANDERSON           IN   45017‐9787
MARTIN, MARION A       12053 LOBLOLLY PINE DR                                                                     NEW PORT RICHEY    FL   34654‐1737
MARTIN, MARION E       7902 NW 19TH CT                                                                            MARGATE            FL   33063‐6829
MARTIN, MARION L       1481 GOLDEN ROD CT                                                                         BELCAMP            MD   21017‐1684
MARTIN, MARIZABEL      JAFFE DOUGLAS                   402 W BROADWAY FL 4                                        SAN DIEGO          CA   92101‐3554
MARTIN, MARJORIE A     3569 JASMINE DR                                                                            SEVEN HILLS        OH   44131‐5135
MARTIN, MARJORIE A     2309 N CALUMET ST                                                                          KOKOMO             IN   46901‐1667
MARTIN, MARJORIE A     2232 NICHOLS RD                                                                            FLUSHING           MI   48433‐9768
MARTIN, MARJORIE E     2105 INDIAN LAKE RD                                                                        NATIONAL CITY      MI   48748‐9512
MARTIN, MARJORIE E     1700 CEDARWOOD DR APT 335                                                                  FLUSHING           MI   48433‐3606
MARTIN, MARJORIE E     1800 E GRAVES AVE LOT 119                                                                  ORANGE CITY        FL   32763‐5616
MARTIN, MARJORIE E     1800 EAST GRAVES AVE LOT 119                                                               ORANGE CITY        FL   32763‐5616
MARTIN, MARJORIE L     611 W MAIN ST                                                                              THORNTOWN          IN   46071‐1137
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Name                  Address1                          Address2                      Address3   Address4         City               State Zip
MARTIN, MARK A        1919 CRESCENT LAKE ROAD                                                                     WATERFORD           MI 48327‐1315
MARTIN, MARK D        5323 JOSHUA TREE CIR                                                                        FREDERICKSBURG      VA 22407‐9335
MARTIN, MARK D        416 WESTFIELD RD                                                                            BALTIMORE           MD 21222‐2242
MARTIN, MARK J        20470 ANITA ST                                                                              HARPER WOODS        MI 48225‐1113
MARTIN, MARK O        808 LINDEN ST                                                                               CHARLOTTE           MI 48813
MARTIN, MARK P        14851 SENECA                                                                                REDFORD             MI 48239‐3027
MARTIN, MARK PAUL     14851 SENECA                                                                                REDFORD             MI 48239‐3027
MARTIN, MARK R
MARTIN, MARK S        14029 N BRAY RD                                                                             CLIO               MI   48420‐7906
MARTIN, MARK STEVEN   14029 N BRAY RD                                                                             CLIO               MI   48420‐7906
MARTIN, MARSHA A      2440 CHICKASAW DRIVE                                                                        JANESVILLE         WI   53545
MARTIN, MARSHA M      PO BOX 476                                                                                  SANGER             TX   76266‐0476
MARTIN, MARSHALL      2462 N 41ST ST                                                                              MILWAUKEE          WI   53210‐2932
MARTIN, MARSHALL E    12128 GRANT ST                                                                              OVERLAND PARK      KS   66213‐2507
MARTIN, MARSHEL N     1260 96TH AVE                                                                               OAKLAND            CA   94603‐1424
MARTIN, MARTHA        70 MARKEY ST                                                                                BELLVILLE          OH   44813‐1044
MARTIN, MARTHA A      2920 OLD TROY PIKE APT 126                                                                  DAYTON             OH   45404‐2374
MARTIN, MARTHA D      299 HICKORY LN                                                                              PAINESVILLE        OH   44077‐2736
MARTIN, MARTHA J      6938 HIGHWAY 557                                                                            WEST MONROE        LA   71292‐0337
MARTIN, MARTY D       3300 MORRISH RD                                                                             SWARTZ CREEK       MI   48473‐9761
MARTIN, MARVIN D      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                        STREET, SUITE 600
MARTIN, MARVIN N      3700 WALDON RD                                                                              LAKE ORION         MI   48360‐1628
MARTIN, MARVIN O      PO BOX 143                                                                                  WEBBERVILLE        MI   48892‐0143
MARTIN, MARY          28476 PARKWOOD ST                                                                           INKSTER            MI   48141‐1670
MARTIN, MARY          20739 COLMAN                                                                                CLYTON TOWNSHIP    MI   48035
MARTIN, MARY          81 WOODRIDGE CT                                                                             WHITE LAKE         MI   48386‐1985
MARTIN, MARY          82 WOODRIDGE CT                                                                             WHITE LAKE         MI   48386‐1985
MARTIN, MARY          20739 COLMAN ST                                                                             CLINTON TOWNSHIP   MI   48035‐4034
MARTIN, MARY A        202 PHYLLISAIRE CT                                                                          SAINT PETERS       MO   63376
MARTIN, MARY B        2140 LOVE RD                                                                                GRAND ISLAND       NY   14072‐2534
MARTIN, MARY B        2140 LOVE ROAD                                                                              GRAND ISLAND       NY   14072‐2534
MARTIN, MARY C        1224 S PENINSULA DR. UNIT 102                                                               DAYTONA BEACH      FL   32118‐4848
MARTIN, MARY C        6768 SNOW APPLE DR                                                                          CLARKSTON          MI   48346‐1633
MARTIN, MARY E        6303 SENTRY PT                                                                              SAN ANTONIO        TX   78233‐3963
MARTIN, MARY E        14 NASHUA LN                                                                                MIAMISBURG         OH   45342‐3163
MARTIN, MARY E        742 GAY DR                                                                                  MACON              GA   31210‐3434
MARTIN, MARY E        14 NASHUA LANE                                                                              MIAMISBURG         OH   45342‐3163
MARTIN, MARY E        1956 DENBURY DRIVE                                                                          BALTIMORE          MD   21222‐4601
MARTIN, MARY E        533 HAMILTON ST                                                                             MT MORRIS          MI   48458‐8714
MARTIN, MARY ELLEN    2775 SO. ST. RT. 201                                                                        TROY               OH   45373‐9630
MARTIN, MARY ELLEN    2775 S STATE ROUTE 201                                                                      TROY               OH   45373‐9630
MARTIN, MARY G        8059 HILL RD                                                                                SWARTZ CREEK       MI   48473‐7615
MARTIN, MARY H        423 ALISHA LN                                                                               FAIRBORN           OH   45324‐3363
MARTIN, MARY H        5238 BRIARCREST DR                                                                          FLINT              MI   48532‐2307
MARTIN, MARY J        1319 MEADOW LN                                                                              LIBERTY            MO   64068‐3427
MARTIN, MARY J        1529 LEXINGTON AVE                                                                          DAYTON             OH   45402‐5402
MARTIN, MARY J        3800 SUMMIT GLEN DRIVE                                                                      DAYTON             OH   45449‐5449
MARTIN, MARY K        3525 E HANNA AVE                                                                            INDIANAPOLIS       IN   46237‐1230
MARTIN, MARY K        PO BOX 53004                                                                                PETTISVILLE        OH   43553‐0004
MARTIN, MARY K        14017 BELSAY RD                                                                             MILLINGTON         MI   48746‐9215
MARTIN, MARY K        861 SHERYL DR                                                                               WATERFORD          MI   48328‐2368
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Name                  Address1                          Address2                      Address3   Address4         City               State Zip
MARTIN, MARY KAREN    14017 BELSAY RD                                                                             MILLINGTON          MI 48746‐9215
MARTIN, MARY L        306 WYOMING AVE                                                                             FAIRFIELD           OH 45014‐1658
MARTIN, MARY L        PO BOX 56                                                                                   VERNON              MI 48476‐0056
MARTIN, MARY L        1133 CANTON HWY                                                                             CUMMING             GA 30040‐7124
MARTIN, MARY L        401 W MAIN ST POB 56                                                                        VERNON              MI 48476‐0056
MARTIN, MARY L        22874 STATE ROUTE P                                                                         ST MARYS            MO 63673‐9045
MARTIN, MARY M        1424 MAZDA AVE NE                                                                           WARREN              OH 44483‐3966
MARTIN, MARY M        3770 SABAL SPRINGS BLVD                                                                     NORTH FORT MYERS    FL 33917‐2031
MARTIN, MARY M        1577 SOUTH 200 EAST                                                                         KOKOMO              IN 46902‐4126
MARTIN, MARY S        8820 LOTUS DR                                                                               HICKORY HILLS        IL 60457‐1260
MARTIN, MARY S        PO BOX 66                                                                                   BRADENTON           FL 34206
MARTIN, MARY S        2210 FOWLER ST                                                                              ANDERSON            IN 46012‐3627
MARTIN, MARY SUE      SEARCY DENNEY SCAROLA BARHART &   PO BOX 3626                                               WEST PALM BEACH     FL 33402‐3626
                      SHIPLEY PA
MARTIN, MATHEW        119 MAPLE AVENUE                                                                            HAMBURG            NY   14075‐4807
MARTIN, MATHEW        3770 STONE OAKS DRIVE                                                                       KANKAKEE           IL   60901‐8361
MARTIN, MATT          3501 S STATE ROUTE 4                                                                        ATTICA             OH   44807‐9597
MARTIN, MATTHEW J     615 CHERRY AVE                                                                              NILES              OH   44446‐2525
MARTIN, MATTHEW J     1110 BLANCHARD AVE                                                                          FLINT              MI   48503‐5304
MARTIN, MATTHEW J     3549 S STATE ROUTE 4                                                                        ATTICA             OH   44807‐9597
MARTIN, MATTHEW R     2938 E 25 N                                                                                 HUNTINGTON         IN   46750‐9360
MARTIN, MATTHEW RAY   2938 E 25 N                                                                                 HUNTINGTON         IN   46750‐9360
MARTIN, MAUDE A.      6581 BRIGHAM SQ APT 1                                                                       CENTERVILLE        OH   45459‐6996
MARTIN, MAUREEN       359 1/2 STATE PARK DR                                                                       BAY CITY           MI   48706
MARTIN, MAURICE A     5120 W MILES RD                                                                             JANESVILLE         WI   53545‐9081
MARTIN, MAURY G       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                        STREET, SUITE 600
MARTIN, MAX E         4950 SYLVANIA PETERSBURG RD                                                                 PETERSBURG         MI   49270‐9364
MARTIN, MAX ERNEST    4950 SYLVANIA PETERSBURG RD                                                                 PETERSBURG         MI   49270‐9364
MARTIN, MAX L         232 PETERS AVE                                                                              LANCASTER          OH   43130‐3660
MARTIN, MAXINE E      2470 CHERYLANN DR                                                                           BURTON             MI   48519‐1362
MARTIN, MAXINE E      2470 CHERYL ANN DR                                                                          BURTON             MI   48519‐1362
MARTIN, MAXINE R      2058 HWY 721 MARTIN DR.                                                                     HAZARD             KY   41701
MARTIN, MEDERISE A    290 PENNY LN                                                                                STANTON            MI   48888
MARTIN, MELBA ALEN    10144 BELLVIEW DR                                                                           MIDWEST CITY       OK   73130‐4642
MARTIN, MELINDA B     1113 DELHI STREET                                                                           BOSSIER CITY       LA   71111‐4622
MARTIN, MELINDA R     219 SUNSET DR                                                                               DETHALTO           IL   62010‐2233
MARTIN, MELISSA L     31 N CLOVER AVE                                                                             NILES              OH   44446‐1653
MARTIN, MELODY A      304 S LAKESIDE DR                                                                           MICHIGAN CTR       MI   49254‐1306
MARTIN, MELODYE H     10265 DODGE RD                                                                              MONTROSE           MI   48457‐9034
MARTIN, MELVENIA      515 SOUTH MAXINE MANOR                                                                      BROWNSBURG         IN   46112‐1534
MARTIN, MELVIN        2530 GREENWOOD CIR                                                                          EAST POINT         GA   30344‐2018
MARTIN, MELVIN        4316 CRITTENDEN AVE                                                                         INDIANAPOLIS       IN   46205‐2214
MARTIN, MELVIN        20484 MANOR ST                                                                              DETROIT            MI   48221‐1044
MARTIN, MELVIN        LEBLANC & WADDELL                 5353 ESSEN LN STE 420                                     BATON ROUGE        LA   70809‐0500
MARTIN, MELVIN B      3251 SHEFFIELD RD                                                                           DAYTON             OH   45449‐2752
MARTIN, MELVIN J      115 W MAPLE ST                                                                              VASSAR             MI   48768‐1203
MARTIN, MELVIN J      C/O RICHARD MCKENZIE              728 HAMILTON AVENUE                                       KINGSFORD          MI   49802‐4404
MARTIN, MELVIN Q      N13W5406 MCKINLEY CT                                                                        CEDARBURG          WI   53012‐2930
MARTIN, MELVIN R      9820 KENT ST                                                                                PORTLAND           MI   48875‐9734
MARTIN, MENDORA       24970 COLUMBUS RD                                                                           BEDFORD HEIGHTS    OH   44146‐2539
MARTIN, MERLE V       115 TOWERS BLVD                                                                             CHEEKTOWAGA        NY   14227‐3140
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Name                      Address1                        Address2                   Address3   Address4               City            State Zip
MARTIN, MERTHA B          1626 N PROSPECT AVE APT 503                                                                  MILWAUKEE        WI 53202‐2417
MARTIN, MIA M             2445 MORTON ST                                                                               ANDERSON         IN 46016‐5072
MARTIN, MICHAEL           9364 HOPP RD                                                                                 SAINT JOHNS      MI 48879‐9243
MARTIN, MICHAEL           8181 SE LYNCH RD                                                                             SHELTON          WA 98584‐8653
MARTIN, MICHAEL           PO BOX 332                                                                                   RIRIE            ID 83443‐0332
MARTIN, MICHAEL A         #4                              21845 INDIAN CREEK DRIVE                                     FARMINGTN HLS    MI 48335‐5535
MARTIN, MICHAEL A         PO BOX 134                                                                                   GASPORT          NY 14067‐0134
MARTIN, MICHAEL A         9850 W FAIRGROVE RD                                                                          REESE            MI 48757‐9513
MARTIN, MICHAEL A         1355 STATE ROUTE 7 NE                                                                        BROOKFIELD       OH 44403‐9785
MARTIN, MICHAEL ALAN      9850 W FAIRGROVE RD                                                                          REESE            MI 48757‐9513
MARTIN, MICHAEL D         1061 WOODS DR                                                                                TALLMADGE        OH 44278‐3353
MARTIN, MICHAEL D         1403 BELOIT AVE                                                                              JANESVILLE       WI 53546‐2632
MARTIN, MICHAEL D         393 S BRIARCLIFF DR                                                                          CANFIELD         OH 44406‐1016
MARTIN, MICHAEL D         5900 TIMBERGATE TRL                                                                          HUBER HEIGHTS    OH 45424‐1158
MARTIN, MICHAEL D         14017 BELSAY RD                                                                              MILLINGTON       MI 48746‐9215
MARTIN, MICHAEL DELBERT   14017 BELSAY RD                                                                              MILLINGTON       MI 48746‐9215
MARTIN, MICHAEL E         8565 COUNTY ROAD 236                                                                         TOWN CREEK       AL 35672‐6928
MARTIN, MICHAEL E         6179 KING ARTHUR DR                                                                          SWARTZ CREEK     MI 48473‐8808
MARTIN, MICHAEL E         7700 GREMECY PARK RD                                                                         KINGSVILLE       MD 21087‐1161
MARTIN, MICHAEL E.        7700 GREMECY PARK RD                                                                         KINGSVILLE       MD 21087‐1161
MARTIN, MICHAEL F         3549 HOPKINS DR                                                                              WILMINGTON       DE 19808‐2914
MARTIN, MICHAEL F         3907 NOE BIXBY RD                                                                            COLUMBUS         OH 43232‐6114
MARTIN, MICHAEL G         553 FOREST ST                                                                                WYANDOTTE        MI 48192‐6820
MARTIN, MICHAEL G         819 POPPYSEED LN                                                                             CORONA           CA 92881‐3528
MARTIN, MICHAEL G         270 W OAK ST                                                                                 SAGINAW          MI 48604‐2323
MARTIN, MICHAEL J         150 CRESTON DR                                                                               BOARDMAN         OH 44512‐6501
MARTIN, MICHAEL J         PO BOX 115                                                                                   VANDALIA         OH 45377‐0115
MARTIN, MICHAEL J         10457 WATERLOO MUNITH RD                                                                     GRASS LAKE       MI 49240‐9521
MARTIN, MICHAEL J         4416 LINCHMERE DR                                                                            DAYTON           OH 45415‐1811
MARTIN, MICHAEL J         6273 CORWIN CRES                                                      NIAGARA FALLS ONTARI
                                                                                                CANADA L2G‐2L9
MARTIN, MICHAEL J         875 MARY JO RD                                                                               SILEX           MO   63377‐3207
MARTIN, MICHAEL J         9415 CRAIGS CV                                                                               FORT WAYNE      IN   46804‐2439
MARTIN, MICHAEL J         PO BOX 1213                                                                                  MCLOUD          OK   74851‐1213
MARTIN, MICHAEL J         240 LANE 220 BIG TURKEY LK                                                                   HUDSON          IN   46747‐9320
MARTIN, MICHAEL J         9180 HILL RD                                                                                 WALES           MI   48027‐1800
MARTIN, MICHAEL J         GROUP 42 40 1                   PO BOX 1213                                                  MCLOUD          OK   74851
MARTIN, MICHAEL J         11968 SW HAMLIN CT                                                                           PALM CITY       FL   34990‐5807
MARTIN, MICHAEL J         8443 SOMERVILLE DR                                                                           INDIANAPOLIS    IN   46216‐2059
MARTIN, MICHAEL L         2910 NE 130TH AVE                                                                            VANCOUVER       WA   98682‐7990
MARTIN, MICHAEL L         6263 W COLUMBIA RD                                                                           MASON           MI   48854‐9517
MARTIN, MICHAEL L         1318 BARBARA DR                                                                              FLINT           MI   48505‐2594
MARTIN, MICHAEL M         139 IDAHO RD                                                                                 AUSTINTOWN      OH   44515‐2620
MARTIN, MICHAEL M         541 S MELBORN ST                                                                             DEARBORN        MI   48124‐1654
MARTIN, MICHAEL N         3408 LINCOLNSHIRE BOULEVARD                                                                  KALAMAZOO       MI   49001‐5015
MARTIN, MICHAEL O         2100 RENEGADE CT                                                                             CARMEL          IN   46032‐7118
MARTIN, MICHAEL R         22539 LE FEVER AVE                                                                           WARREN          MI   48091‐5239
MARTIN, MICHAEL RAY       22539 LE FEVER AVE                                                                           WARREN          MI   48091‐5239
MARTIN, MICHAEL S         PO BOX 40574                                                                                 INDIANAPOLIS    IN   46240‐0574
MARTIN, MICHAEL S         635 S SEYMOUR RD                                                                             FLUSHING        MI   48433‐2621
MARTIN, MICHAEL S         9222 GARRISON DR APT 308B       C/O SHARON E DOBBS                                           INDIANAPOLIS    IN   46240‐4244
MARTIN, MICHAEL S         2414 N MACEDONIA AVE                                                                         MUNCIE          IN   47303‐2343
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Name                    Address1                        Address2                   Address3   Address4         City            State Zip
MARTIN, MICHAEL S       2016 UNION MILL DR                                                                     AURORA            IL 60503‐5466
MARTIN, MICHAEL S       751 AVENUE C LOT 31                                                                    CHEYENNE         WY 82007‐2630
MARTIN, MICHAEL S       751 S AVE C                     LOT 31                                                 CHEYENNE         WY 82007
MARTIN, MICHAEL S       770 E BALTIMORE BLVD                                                                   FLINT            MI 48505‐3520
MARTIN, MICHAEL SCOTT   751 AVENUE                      C LOT 31                                               CHEVENNE         WV 82007‐2530
MARTIN, MICHAEL SHAWN   2016 UNION MILL DR                                                                     AURORA            IL 60503‐5466
MARTIN, MICHAEL W       4353 N IRISH RD                                                                        DAVISON          MI 48423‐8946
MARTIN, MICHAEL WAYNE   4353 N IRISH RD                                                                        DAVISON          MI 48423‐8946
MARTIN, MICHELE J       2051 CAROL DR                                                                          LAPEER           MI 48446‐7743
MARTIN, MICHELLE        321 S HARVEY AVE                                                                       ST. LOUIS        MO 63135‐2509
MARTIN, MICHELLE D      235 DUDLEY ROAD                                                                        ALTON            NH 03809‐5222
MARTIN, MIGUEL A        33 ALYEA ST                                                                            NEWARK           NJ 07105
MARTIN, MILDRED         ICO THE LANIER LAW FIRM PC      6810 FM 1960 WEST                                      HOUSTON          TX 77069
MARTIN, MILDRED B       7933 TRAFALGAR ST                                                                      TAYLOR           MI 48180‐2440
MARTIN, MILDRED C       245 27TH CT NW                                                                         BIRMINGHAM       AL 35215‐2425
MARTIN, MILDRED C       245‐27TH COURT N W                                                                     BIRMINGHAM       AL 35215‐2425
MARTIN, MILDRED L       PO BOX 174                                                                             BIG PINE         CA 93513‐0174
MARTIN, MILDRED L       P.O. BOX 174                                                                           BIG PINE         CA 93513‐0174
MARTIN, MILDRED L       734 CASSIUS AVE                                                                        YOUNGSTOWN       OH 44505‐3465
MARTIN, MILLARD L       8114 OSAGE AVE                                                                         ALLEN PARK       MI 48101‐2489
MARTIN, MILTON J        8631 INTERVALE ST                                                                      DETROIT          MI 48238‐2338
MARTIN, MIRANDA D       120 COLBY LN                                                                           SIBLEY           LA 71073‐5900
MARTIN, MIRIAM E        3064 MILLER RD APT 111                                                                 FLINT            MI 48503
MARTIN, MISCHA
MARTIN, MITCHELL S      1664 DAVENPORT RD                                                                      BRASELTON       GA   30517‐2036
MARTIN, MONA L          6755 HATCHERY RD                                                                       WATERFORD       MI   48327‐1130
MARTIN, MONA LYNN       6755 HATCHERY RD                                                                       WATERFORD       MI   48327‐1130
MARTIN, MONTE           14592 NORTHLINE RD APT 4                                                               SOUTHGATE       MI   48195‐2461
MARTIN, MONTE           14592 N LINE RD                 APT 4                                                  SOUTHGATE       MI   48195
MARTIN, MOSE            18477 ARDMORE ST                                                                       DETROIT         MI   48235‐2533
MARTIN, MOSES           COLOM LAW FIRM                  605 2ND AVE N                                          COLUMBUS        MS   39701‐4513
MARTIN, MURIEL          29 CHARLES ST                                                                          HOULTON         ME   04730‐2213
MARTIN, MURLE L         7662 NORTHWEST COUNTY LINE RD                                                          RIVERDALE       MI   48877‐8774
MARTIN, NANCY           818 N SCHOOL ST                                                                        GREENFIELD      IN   46140‐1254
MARTIN, NANCY A         10005 ROSE BROOK LN APT 112                                                            HUNTERSVILLE    NC   28078‐3380
MARTIN, NANCY A         222 FOREST RIDGE DRIVE                                                                 SAVANNAH        GA   31419‐1253
MARTIN, NANCY E         2311 WEALTHY ST SE APT 8                                                               GRAND RAPIDS    MI   49506‐3038
MARTIN, NANCY N         917 CREEKSIDE LN                                                                       PLAINFIELD      IN   46168‐2392
MARTIN, NAOMI B         301 W PASADENA AVE                                                                     FLINT           MI   48505‐4013
MARTIN, NAOMI F         4160 PENNYROYAL RD                                                                     FRANKLIN        OH   45005‐1026
MARTIN, NATHAN          153 LODEWYCK ST                                                                        MOUNT CLEMENS   MI   48043‐2233
MARTIN, NATHANIEL       4804 RONALD DR                                                                         N RIDGEVILLE    OH   44039‐1769
MARTIN, NEEDA M         PO BOX 696                                                                             BAY             AR   72411‐0696
MARTIN, NELLIE R        275 CLINTON RIVER DR                                                                   MOUNT CLEMENS   MI   48043‐2365
MARTIN, NELSON D        2847 LAGUNA DR                                                                         DECATUR         GA   30032‐3525
MARTIN, NELSON E        4086 PRIMROSE PATH                                                                     GREENWOOD       IN   46142‐8381
MARTIN, NEVA S          2378 HAVERFORD DRIVE                                                                   TROY            MI   48098‐2382
MARTIN, NOEL J          6761 W 100 S                                                                           SWAYZEE         IN   46986‐9740
MARTIN, NOEL M          STE 200                         2541 SOUTH INTERSTATE 35                               ROUND ROCK      TX   78664‐7357
MARTIN, NOEL NICOLE     9151 DIXIE                                                                             REDFORD         MI   48239
MARTIN, NOLA L          7611 JUNE AVE                                                                          SAINT HELEN     MI   48656
MARTIN, NORMA J         1716 JENNY LN                                                                          WARSAW          IN   46580‐1803
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Name                    Address1                          Address2         Address3         Address4              City           State Zip
MARTIN, NORMA M         4725 N RIDGELAWN PL                                                                       PEORIA           IL 61615‐3624
MARTIN, NORMA R.        5200 DUNBAR DR                                                                            LAFAYETTE       IN 47905‐7574
MARTIN, NORMAN B        9779 ELM RD                                                                               OVID            MI 48866‐9560
MARTIN, NORMAN C        577 QUAIL CREEK DR.               LOT 82                                                  GALLIPOLIS      OH 45631
MARTIN, NORMAN C        336 CLIFF OVERLOOK                                                                        NOBLESVILLE     IN 46062‐8477
MARTIN, NORMAN E        5757 KINGSMILL DR                                                                         BLOOMFIELD      MI 48301‐1043
MARTIN, NOVELLA         520 N PARKS DR                                                                            DESOTO          TX 75115‐4667
MARTIN, OLIVE E         5529 DEE ACRES DR                                                                         PHILPOT         KY 42366‐9720
MARTIN, OLLIE B         1312 CANFIELD AVE                                                                         DAYTON          OH 45406‐4309
MARTIN, OLLIE E         1356 HORTON NIXON CHAPEL RD                                                               HORTON          AL 35980‐8903
MARTIN, OLLIE M         2709 N LOCKE ST                                                                           KOKOMO          IN 46901‐1513
MARTIN, OMA             1744 HENRY RUFF RD                                                                        GARDEN CITY     MI 48135‐1460
MARTIN, ONEAL           5249 CLINTON BLVD                                                                         JACKSON         MS 39209‐3226
MARTIN, OTIS            5245 LIPPINCOTT BLVD                                                                      BURTON          MI 48519‐1251
MARTIN, OWEN D          PO BOX 826                                                                                DONIPHAN        MO 63935‐0826
MARTIN, OWEN E          6907 W 700 N                                                                              KOKOMO          IN 46902‐9314
MARTIN, P JEFF          MCGOUGAN LAW FIRM LLC             PO BOX 250                                              LITTLE RIVER    SC 29566‐0250
MARTIN, PAMELA S        815 WAVERLY RD                                                                            DIMONDALE       MI 48821‐9645
MARTIN, PAMELA SUE      815 WAVERLY RD                                                                            DIMONDALE       MI 48821‐9645
MARTIN, PARIS           1306 DANFORTH ST                                                                          SAINT PAUL      MN 55117‐4205
MARTIN, PATRICIA        4553 HAMLETS GROVE DR                                                                     SARASOTA        FL 34235‐2233
MARTIN, PATRICIA        6109 POINSETTIA DR                                                                        SAGINAW         MI 48603‐1030
MARTIN, PATRICIA        6601 FERDEN RD                                                                            CHESANING       MI 48616‐9733
MARTIN, PATRICIA A      5783 ODIN RD                                                                              HARTVILLE       MO 65667
MARTIN, PATRICIA A      152 SCHENCK BLVD                                                                          FLORAL PARK     NY 11001‐3737
MARTIN, PATRICIA A      104 SEQUOIA DR                                                                            NEWTOWN         PA 18940‐9238
MARTIN, PATRICIA C      18629 WHITCOMB ST                                                                         DETROIT         MI 48235‐2845
MARTIN, PATRICIA C      32515 N NORTH VALLEY PKWY APT 163                                                         PHOENIX         AZ 85085‐4208

MARTIN, PATRICIA C      1786 HUNTERS COVE CIRCLE                                                                  KOKOMO         IN   46902‐5180
MARTIN, PATRICIA J      G5063 CALKINS ROAD                                                                        FLINT          MI   48532
MARTIN, PATRICIA K      12137 SEYMOUR RD                                                                          MONTROSE       MI   48457‐9783
MARTIN, PATRICIA K      PO BOX 833                                                                                FENTON         MI   48430‐0833
MARTIN, PATRICIA KAY    12137 SEYMOUR RD                                                                          MONTROSE       MI   48457‐9783
MARTIN, PATRICIA S      3956 W STATE ROAD 128                                                                     FRANKTON       IN   46044‐9305
MARTIN, PATRICK S       5471 SHAMROCK LN                                                                          FLINT          MI   48506‐2248
MARTIN, PATRICK T       4350 S VERNON RD                                                                          DURAND         MI   48429‐9766
MARTIN, PATRICK T       48720 PARK PLACE DR                                                                       MACOMB         MI   48044‐2240
MARTIN, PATTY           221 PATTON HILL RD                                                                        BEDFORD        IN   47421‐8633
MARTIN, PATTY L         2267 HOWE RD                                                                              BURTON         MI   48519‐1129
MARTIN, PAUL            2693 ZEHRING RD.                                                                          FARMERSVILLE   OH   45325‐9287
MARTIN, PAUL A          341 TRUMBULL DR                                                                           NILES          OH   44446‐2052
MARTIN, PAUL A          204 W MAIN ST                                                                             HOPKINTON      MA   01748‐2109
MARTIN, PAUL C          1301 W 32ND ST                                                                            INDIANAPOLIS   IN   46208‐4538
MARTIN, PAUL C          3644 BRUNSWICK AVE                                                  RIDGEWAY ONTARIO
                                                                                            CANADA L0S‐1N0
MARTIN, PAUL CLIFFORD   3644 BRUNSWICK AVE.                                                 RIDGEWAY ON L0S 1N0
                                                                                            CANADA
MARTIN, PAUL DAVID      12060 W MOUNT MORRIS RD                                                                   FLUSHING       MI   48433‐9337
MARTIN, PAUL G          10860 WYSCARVER RD                                                                        CINCINNATI     OH   45241‐3064
MARTIN, PAUL H          15834 MANSFIELD ST                                                                        DETROIT        MI   48227‐1959
MARTIN, PAUL J          1443 W 2ND ST                                                                             WEST PLAINS    MO   65775‐2034
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Name                   Address1                          Address2                Address3   Address4         City              State Zip
MARTIN, PAUL K         6958 LINCOLN AVENUE EXT                                                               LOCKPORT           NY 14094
MARTIN, PAUL L         PO BOX 1922                                                                           TROY               MI 48099‐1922
MARTIN, PAUL L         1803 N VERMONT AVE                                                                    ROYAL OAK          MI 48073‐1922
MARTIN, PAUL M         3956 W STATE ROAD 128                                                                 FRANKTON           IN 46044‐9305
MARTIN, PAUL MATTHEW   PO BOX 166                        108 W MAIN STREET                                   VERNON             MI 48476‐0166
MARTIN, PAUL R         20275 STARR KING DR                                                                   SOULSBYVILLE       CA 95372‐9601
MARTIN, PAUL W         3021 MURPHY LAKE RD                                                                   MILLINGTON         MI 48746‐9621
MARTIN, PAUL W         30064 TRAIL CREEK DR                                                                  NEW BOSTON         MI 48164‐7803
MARTIN, PAULA C        48975 W HILLCREST CT                                                                  PLYMOUTH           MI 48170‐3239
MARTIN, PAULA L        16820 KK 6 LANE                                                                       WETMORE            MI 49895
MARTIN, PAULINE M      1753 CHAMBERLAIN WAY                                                                  HASLETT            MI 48840
MARTIN, PEGGY          1205 N MULBERRY                                                                       HARTFORD CITY      IN 47348‐1435
MARTIN, PELVIE         916 SOMERSET LN                                                                       FLINT              MI 48503‐2942
MARTIN, PENNY E        5234 RED HORIZON BLVD                                                                 INDIANAPOLIS       IN 46221‐3247
MARTIN, PENNY E        PO BOX 33277                                                                          INDIANAPOLIS       IN 46203‐0277
MARTIN, PENNY J        PO BOX 834                        449 FAIRWOOD                                        PINCKNEY           MI 48169‐0834
MARTIN, PENNY J        PO BOX 834 449 FAIRWOOD                                                               PINCKNEY           MI 48169
MARTIN, PENNY JO       PO BOX 834                        449 FAIRWOOD                                        PINCKNEY           MI 48169‐0834
MARTIN, PERCY          GUY WILLIAM S                     PO BOX 509                                          MCCOMB             MS 39649‐0509
MARTIN, PERRY          824 W ALMA AVE                                                                        FLINT              MI 48505‐1944
MARTIN, PERRY W        2628 S SAINT CLAIR RD                                                                 SAINT JOHNS        MI 48879‐9020
MARTIN, PETER          2659 RAMSAY RD                                                                        BEACHWOOD          OH 44122‐1761
MARTIN, PETER          12546 EAST RD                                                                         BURT               MI 48417‐2078
MARTIN, PETER W        4493 GAGER RD                                                                         FAIRGROVE          MI 48733‐9742
MARTIN, PHIL H         2081 E 500 S                                                                          LOGANSPORT         IN 46947‐9302
MARTIN, PHILIP G       PO BOX 993                                                                            WHEATLAND          WY 82201‐0993
MARTIN, PHILIP J       3415 TAFT AVE SW                                                                      WYOMING            MI 49519‐3359
MARTIN, PHILIP L       6734 THOMPSON LN                                                                      WHITE LAKE         MI 48383‐3071
MARTIN, PHILIP W       718 LONGFELLOW CIR                                                                    O FALLON           MO 63366‐7448
MARTIN, PHILLIP        YOUNG & YEARGIN LLC,              507 CANTON RD                                       AKRON              OH 44312‐1647
MARTIN, PHILLIP M      3949 EDINBURGH DR                                                                     YOUNGSTOWN         OH 44511‐1129
MARTIN, PHILLIPA       NELSON LEVINE DELUCA & HORST      4 SENTRY PKWY STE 300                               BLUE BELL          PA 19422‐2311
MARTIN, PHILLIS A      1673 APPLEBLOSSOM LANE                                                                SAGINAW            MI 48609‐8808
MARTIN, PHYLLIS H      900 BILBRO ST                                                                         GREENSBORO         NC 27406‐1215
MARTIN, PHYLLIS J      7126 W 1100 S                                                                         AMBOY              IN 46911
MARTIN, PHYLLIS J      1411 FAIRWOOD AVE                                                                     COLUMBUS           OH 43206‐3315
MARTIN, PHYLLIS J      1110 E SYCAMORE ST                                                                    KOKOMO             IN 46901‐4922
MARTIN, PHYLLIS J      384 N 600 E                                                                           GREENTOWN          IN 46936‐8770
MARTIN, PHYLLIS J      9031 S 800 W                                                                          FAIRMOUNT          IN 46928‐9370
MARTIN, PHYLLIS J      7577 SOUTH SHADY SIDE DRIVE                                                           BLOOMINGTON        IN 47401‐9552
MARTIN, PHYLLIS L      8 WESTERN AVE                                                                         JAMESTOWN          OH 45335‐1559
MARTIN, PHYLLIS L      8 WESTERN STREET                                                                      JAMESTOWN          OH 45335‐1559
MARTIN, PHYLLIS M      3654 DIAMONDALE DR E                                                                  SAGINAW            MI 48601‐5805
MARTIN, QUEVA E        913 N WALNUT ST                                                                       ROANOKE            TX 76262‐5008
MARTIN, QUEVA E        913 N. WALNUT                                                                         ROANOKE            TX 76262‐5008
MARTIN, RACHEL M       88 DOLPHIN POINT DR                                                                   BEAUFORT           SC 29907‐1717
MARTIN, RACHEL MARIE   SEARCY DENNEY SCAROLA BARHART &   PO BOX 3626                                         WEST PALM BEACH    FL 33402‐3626
                       SHIPLEY PA
MARTIN, RACHEL MARIE   905 LAKE LOTELA DRIVE                                                                 AVON PARK         FL   33825‐9732
MARTIN, RALPH G        8537 HEARNS POND RD                                                                   SEAFORD           DE   19973‐5709
MARTIN, RALPH G        444 POPLAR RD                                                                         PELLSTON          MI   49769‐9348
MARTIN, RALPH P        110 LANDSEER WAY                                                                      SANDY SPRINGS     GA   30350‐5420
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Name                      Address1                        Address2                      Address3   Address4         City              State Zip
MARTIN, RALPH R           33875 KIELY DR                  DUPLEX K2                                                 CHESTERFIELD       MI 48047
MARTIN, RALPH R           LOT 440                         6035 SOUTH TRANSIT ROAD                                   LOCKPORT           NY 14094‐6357
MARTIN, RALPH R           1151 CANTERBURY CT APT B                                                                  INDIANAPOLIS       IN 46260‐2239
MARTIN, RANDAL C          527 CONNER PL                                                                             RAHWAY             NJ 07065‐4307
MARTIN, RANDALL S         9101 HOLLOW RD                                                                            NEWALLA            OK 74857‐9142
MARTIN, RANDOLPH J        14883 ROBSON                                                                              DETROIT            MI 48227
MARTIN, RANDOLPH N        111 SUTTON CT                                                                             WINCHESTER         VA 22601‐5742
MARTIN, RANDOLPH NELSON   111 SUTTON CT                                                                             WINCHESTER         VA 22601‐5742
MARTIN, RAVEN             603 WOODLAWN AVE                                                                          BUFFALO            NY 14211‐1234
MARTIN, RAY               192 MARTIN HOLLOW RD                                                                      HARRIMAN           TN 37748
MARTIN, RAY               15766 ROSEMONT AVE                                                                        DETROIT            MI 48223‐1330
MARTIN, RAY L             1690 STAGE RD                                                                             IONIA              MI 48846‐9806
MARTIN, RAY S             5050 POST RD                                                                              CUMMING            GA 30040‐5234
MARTIN, RAYDEENA V        108 CHRISTY LN                                                                            CLAYTON            NC 27520‐7264
MARTIN, RAYMOND           654 N EXETER AVE                                                                          INDIANAPOLIS       IN 46222‐3420
MARTIN, RAYMOND           836 FAIRWAY DR                                                                            INDIANAPOLIS       IN 46260‐4159
MARTIN, RAYMOND C         2018 NE 17TH CT APT 22                                                                    FORT LAUDERDALE    FL 33305‐2550
MARTIN, RAYMOND C         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                          STREET, SUITE 600
MARTIN, RAYMOND L         2093 S TERM ST                                                                            BURTON            MI   48519‐1026
MARTIN, RAYMOND L         25337 MONARCH CT                                                                          LOXLEY            AL   36551‐7563
MARTIN, RAYMOND P         2825 US HIGHWAY 20                                                                        METAMORA          OH   43540‐9707
MARTIN, RAYMOND W         6447 COLUMBINE DR                                                                         INDIANAPOLIS      IN   46224‐2060
MARTIN, REBECCA           554 NORTHGATE DR                                                                          GREENWOOD         IN   46143‐1154
MARTIN, REBECCA A         8141 TROUP AVE APT 104                                                                    KANSAS CITY       KS   66112‐2094
MARTIN, REBECCA R         17945 SE 117TH TER                                                                        SUMMERFIELD       FL   34491‐8015
MARTIN, REBECCA S         838 BAILEY ANDERSON RD                                                                    LEAVITTSBURG      OH   44430‐9407
MARTIN, REGGIE G          13797 S 500 W                                                                             KOKOMO            IN   46901‐7784
MARTIN, REGINA A          11600 BAKER RD                                                                            JEROME            MI   49249‐8500
MARTIN, REGINA A          11600 N BAKER RD                                                                          JEROME            MI   49249‐8500
MARTIN, REGINA J          29 A ST                                                                                   NEW LEBANON       OH   45345‐1145
MARTIN, REGINALD D        2222 E WEST CONNECTOR APT 516                                                             AUSTELL           GA   30106
MARTIN, REID T            1616 PIEDMONT AVE NE APT M7                                                               ATLANTA           GA   30324‐5271
MARTIN, RENE R            202 SPRINGFALLS CT                                                                        MONROE            OH   45050‐2563
MARTIN, RENEE M           11330 GREENVIEW DR                                                                        FENTON            MI   48430‐2534
MARTIN, RENNARD J         4235 W ROME BLVD APT 1196                                                                 N LAS VEGAS       NV   89084‐5410
MARTIN, REXFORD L         34240 HARROUN ST                                                                          WAYNE             MI   48184‐2412
MARTIN, RHODA             177 BALLARD LN                                                                            COOKEVILLE        TN   38501‐9573
MARTIN, RHODA
MARTIN, RHONDA            508 BROWN STREET                                                                          WEST MONROE       LA   71292‐6715
MARTIN, RHONDA W          508 BROWN STREET                                                                          WEST MONROE       LA   71292‐6715
MARTIN, RICHARD           10401 N CAVE CREEK RD LOT 311                                                             PHOENIX           AZ   85020‐1601
MARTIN, RICHARD           10195 HALSEY RD                                                                           GRAND BLANC       MI   48439‐8208
MARTIN, RICHARD A         7250 PARKLANE DR                                                                          CLAY              MI   48001‐4222
MARTIN, RICHARD A         700 SANDPIPER ST                                                                          RAYMORE           MO   64083‐9268
MARTIN, RICHARD A         3464 SWAN CRK                                                                             DELAVAN           WI   53115‐3260
MARTIN, RICHARD A         340 CHURCH ST                                                                             BELLEVILLE        MI   48111‐2630
MARTIN, RICHARD A         511 BECKY WAY                                                                             TARPON SPRINGS    FL   34689‐6816
MARTIN, RICHARD A         1089 BLACKSHEAR DR APT D                                                                  DECATUR           GA   30033‐2640
MARTIN, RICHARD B         59 STANTON ST                                                                             CLARK             NJ   07066‐3220
MARTIN, RICHARD C         14580 MAKAH ST NW                                                                         ANDOVER           MN   55304‐2831
MARTIN, RICHARD C         360 WOODSIDE CT APT 67                                                                    ROCHESTER HILLS   MI   48307‐4171
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MARTIN, RICHARD D       787 MONTICELLO AVE                                                                         PONTIAC            MI 48340‐2323
MARTIN, RICHARD D       3401 TOWNLINE RD                                                                           ROSE CITY          MI 48654‐9728
MARTIN, RICHARD D       3301 S GOLDFIELD RD LOT 2067                                                               APACHE JUNCTION    AZ 85219‐4515
MARTIN, RICHARD D       5029 E FARRAND RD                                                                          CLIO               MI 48420‐9126
MARTIN, RICHARD D       49800 W HURON RIVER DR                                                                     BELLEVILLE         MI 48111‐2562
MARTIN, RICHARD D       11275 NORA DR                                                                              FENTON             MI 48430‐8710
MARTIN, RICHARD E       4375 S. COUNTRY RD.             SPRINGMEADE HEALTH CNTR                                    TIPP CITY          OH 45371
MARTIN, RICHARD E       2 WAVERLY RD                                                                               CHERRY HILL        NJ 08003‐1327
MARTIN, RICHARD E       25501 TROST BLVD 3‐59                                                                      BONITA SPRINGS     FL 34135
MARTIN, RICHARD E       1839 TOWNLINE AVE                                                                          BELOIT             WI 53511‐3251
MARTIN, RICHARD F       3344 E BLACK RIVER RD                                                                      BLACK RIVER        MI 48721‐9723
MARTIN, RICHARD G       615 GRAND VISTA TRL                                                                        LEESBURG           FL 34748‐8161
MARTIN, RICHARD G       959 ONTARIO DR                                                                             ROMEOVILLE          IL 60446‐3964
MARTIN, RICHARD G       2835 STONEBURY DR                                                                          ROCHESTER HILLS    MI 48307‐4568
MARTIN, RICHARD G       1244 SUGARLOAF LAKE RD                                                                     CHELSEA            MI 48118‐9004
MARTIN, RICHARD J       47634 MOUNT VESUVIUS DR                                                                    MACOMB             MI 48044‐2664
MARTIN, RICHARD J       903 COREY LN                                                                               PLAINFIELD         IN 46168‐2386
MARTIN, RICHARD J       1101 S LAKE VALLEY DR                                                                      FENTON             MI 48430‐1243
MARTIN, RICHARD J       7905 N COCHRAN RD                                                                          CHARLOTTE          MI 48813‐8690
MARTIN, RICHARD K       5582 ARROWHEAD DR                                                                          GREENFIELD         IN 46140‐8920
MARTIN, RICHARD K       303 CORONADA CIR                                                                           KOKOMO             IN 46901‐5681
MARTIN, RICHARD KEITH   5582 ARROWHEAD DR                                                                          GREENFIELD         IN 46140‐8920
MARTIN, RICHARD L       2598 LAKE VIEW BLVD                                                                        PORT CHARLOTTE     FL 33948‐3780
MARTIN, RICHARD L       604 HAMPTON ST                                                                             CHESANING          MI 48616‐1624
MARTIN, RICHARD L       6234 S HINMAN RD                                                                           WESTPHALIA         MI 48894‐9233
MARTIN, RICHARD L       22112 OAK DR                                                                               WELLSTON           MI 49689
MARTIN, RICHARD L       102 RIDGEWOOD RD                                                                           BALTIMORE          MD 21210‐2537
MARTIN, RICHARD L       1825 WILLIAMS AVE                                                                          NORWOOD            OH 45212‐3503
MARTIN, RICHARD L       2837 AVENIDA ALBERTO                                                                       LILLIAN            AL 36549‐5209
MARTIN, RICHARD L       401 N SHERWOOD DR                                                                          MUNCIE             IN 47304‐3412
MARTIN, RICHARD L       #3                              11411 ASHBURY AVENUE                                       CLEVELAND          OH 44106‐1309
MARTIN, RICHARD L       11411 ASHBURY AVE               APT 3                                                      CLEVELAND          OH 44106
MARTIN, RICHARD LARRY   6234 S HINMAN RD                                                                           WESTPHALIA         MI 48894‐9233
MARTIN, RICHARD S       PO BOX 47                                                                                  LANGLEY            KY 41645‐0047
MARTIN, RICHARD W       232 E 9TH ST                                                                               TRAVERSE CITY      MI 49684‐3204
MARTIN, RICHARD W       4967 BLOW ST                                                                               SAINT LOUIS        MO 63109‐4011
MARTIN, RICKIE C        1565 E 800 N                                                                               ALEXANDRIA         IN 46001‐8851
MARTIN, RICKIE CRAIG    1565 E 800 N                                                                               ALEXANDRIA         IN 46001‐8851
MARTIN, RICKY D         4520 BELLINGHAM TER APT 176                                                                INDIANAPOLIS       IN 46221‐3504
MARTIN, RICKY D         PO BOX 611                                                                                 FINCASTLE          VA 24090‐0611
MARTIN, RICKY E         3116 AMBERWOOD CT                                                                          EDMOND             OK 73003‐2131
MARTIN, RICKY R         340 ZOOK LN                                                                                BURLINGTON         IN 46915‐9391
MARTIN, RITA M          103 W CENTER ST                                                                            FARMERSVILLE       OH 45325‐1007
MARTIN, RITA M          19 IKI DR APT 5                                                                            EDGERTON           WI 53534‐1042
MARTIN, RITA MAE        PO BOX 35353                                                                               DETROIT            MI 48235‐0353
MARTIN, ROBBIE          5542 MONTCLAIR DR                                                                          ROCKLIN            CA 95677‐4418
MARTIN, ROBERT          39139 PINETREE ST                                                                          LIVONIA            MI 48150‐4553
MARTIN, ROBERT          8816 LARKSPUR DR                                                                           CORONA             CA 92883‐4177
MARTIN, ROBERT          32 HONEYSUCKLE DR                                                                          MONROE             LA 71202‐5131
MARTIN, ROBERT          BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD         OH 44067
                                                        PROFESSIONAL BLDG
MARTIN, ROBERT          803 HILLYER ST                                                                             GADSDEN            AL   35901‐2129
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Name                    Address1                         Address2                      Address3   Address4         City              State Zip
MARTIN, ROBERT A        3913 WENONAH AVE                                                                           BERWYN              IL 60402‐4106
MARTIN, ROBERT A        3122 S WASHBURN RD                                                                         DAVISON            MI 48423‐9118
MARTIN, ROBERT A        708 JUDGE MASON WAY                                                                        LA VERGNE          TN 37086‐4285
MARTIN, ROBERT A        23012 LESLIE ST                                                                            TAYLOR             MI 48180‐3565
MARTIN, ROBERT A        3149 SWIGART RD                                                                            KETTERING          OH 45440‐2109
MARTIN, ROBERT A        4120 LUM RD                                                                                ATTICA             MI 48412‐9377
MARTIN, ROBERT B        7935 RUTH CT                                                                               WEST CHESTER       OH 45069‐3739
MARTIN, ROBERT D        24 AQUA VISTA DR                                                                           ORMOND BEACH       FL 32176‐3109
MARTIN, ROBERT D        2736 W MINERAL BUTTE DR                                                                    QUEEN CREEK        AZ 85242
MARTIN, ROBERT D        1650 ZUBER RD                                                                              GROVE CITY         OH 43123‐9707
MARTIN, ROBERT D        PO BOX 342                                                                                 COLUMBIA           LA 71418‐0342
MARTIN, ROBERT D        2200 E BUDER AVE                                                                           BURTON             MI 48529‐1736
MARTIN, ROBERT D        1223 S MAGNOLIA ST                                                                         ROCKPORT           TX 78382‐2306
MARTIN, ROBERT E        368 CLARK CIR                                                                              BOWLING GREEN      KY 42103‐8500
MARTIN, ROBERT E        3938 CUMBERLAND DR                                                                         AUSTINTOWN         OH 44515‐4611
MARTIN, ROBERT E        7205 N US HIGHWAY 23                                                                       OSCODA             MI 48750‐9741
MARTIN, ROBERT E        1840 SOUTHEAST 169TH AVENUE RD                                                             SILVER SPGS        FL 34488‐5817
MARTIN, ROBERT E        2202 JOSHUA ST                                                                             STEVENSVILLE       MI 49127‐9565
MARTIN, ROBERT E        1216 SW 52ND ST                                                                            CAPE CORAL         FL 33914‐7001
MARTIN, ROBERT E        LOWENTHAL & ABRAMS, P.C.         555 CITY LINE AVENUE                                      BALA CYNSYC        PA 19004
MARTIN, ROBERT F        147 BLUFF VIEW                                                                             ALEDO              TX 76008‐4536
MARTIN, ROBERT F        8118 BRISTOL RD                                                                            SWARTZ CREEK       MI 48473‐8612
MARTIN, ROBERT F        6 BACCUS CT                                                                                HAMPTON            VA 23664‐2209
MARTIN, ROBERT FINLEY   8118 BRISTOL RD                                                                            SWARTZ CREEK       MI 48473‐8612
MARTIN, ROBERT G        10457 CLINGMAN ST                                                                          SPRING HILL        FL 34608‐5019
MARTIN, ROBERT G        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                         STREET, SUITE 600
MARTIN, ROBERT H        11190 FRANCES RD                                                                           FLUSHING          MI   48433‐9224
MARTIN, ROBERT H        235 LONG MEADOW LN                                                                         ALPHARETTA        GA   30004‐2592
MARTIN, ROBERT J        70 SWAN LAKE DR                                                                            ADRIAN            MI   49221‐9313
MARTIN, ROBERT J        PO BOX 421                                                                                 CONOVER           OH   45317‐0421
MARTIN, ROBERT J        3619 MEADOW LN                                                                             SALINE            MI   48176‐9061
MARTIN, ROBERT J        2738 WELLSPRING CT NW                                                                      GRAND RAPIDS      MI   49504‐8106
MARTIN, ROBERT J        505 E MAIN ST                                                                              FLUSHING          MI   48433‐2005
MARTIN, ROBERT J        2697 CANDLER DR SW                                                                         MARIETTA          GA   30064‐4265
MARTIN, ROBERT J        971 GREAT OAKS BLVD                                                                        ROCHESTER HILLS   MI   48307‐1015
MARTIN, ROBERT J        2286 ROSEWOOD CT                                                                           FLUSHING          MI   48433‐2278
MARTIN, ROBERT K        2648 SOUTHEAST 19TH PLACE                                                                  CAPE CORAL        FL   33904‐3225
MARTIN, ROBERT K        2648 SE 19TH PL                                                                            CAPE CORAL        FL   33904‐3225
MARTIN, ROBERT L        2400 MAIN ST                                                                               ELWOOD            IN   46036‐2104
MARTIN, ROBERT L        940 HOME CIR                                                                               SALEM             OH   44460‐3812
MARTIN, ROBERT L        HC 83 BOX 747                                                                              MEADOW BLUFF      WV   24977‐9703
MARTIN, ROBERT L        2412 SANDFALL CT SW                                                                        ATLANTA           GA   30331‐8472
MARTIN, ROBERT L        16 BRIDGETTE BLVD                                                                          LAKE WORTH        FL   33463‐4344
MARTIN, ROBERT L        703 W MACALAN DR                                                                           MARION            IN   46952‐2042
MARTIN, ROBERT M        13817 IDEAL CIR                                                                            HAGERSTOWN        MD   21742‐5334
MARTIN, ROBERT M        6321 BRUSH RUN                                                                             INDIANAPOLIS      IN   46268‐4030
MARTIN, ROBERT N        2094 BROKER RD                                                                             LAPEER            MI   48446‐9484
MARTIN, ROBERT N        328 E VAILE AVE                                                                            KOKOMO            IN   46901
MARTIN, ROBERT P        9845 CHATHAM RD                                                                            AXTON             VA   24054‐3778
MARTIN, ROBERT P        6910 TUSON BLVD APT 2A                                                                     CLARKSTON         MI   48346‐4307
MARTIN, ROBERT R        7336 PHEASANT RUN CT                                                                       HUDSONVILLE       MI   49426‐9371
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Name                   Address1                            Address2                        Address3   Address4         City              State Zip
MARTIN, ROBERT R       4103 COURTNEY DR                                                                                FLINT              MI 48504‐1352
MARTIN, ROBERT S       7305 HENRY DR                                                                                   FAIRVIEW           TN 37062‐8911
MARTIN, ROBERT S       436 EAST KENNEDALE PARKWAY                                                                      KENNEDALE          TX 76060‐3214
MARTIN, ROBERT S       1302 S 475 W                                                                                    COLUMBUS           IN 47201‐8951
MARTIN, ROBERT SHAWN   436 EAST KENNEDALE PARKWAY                                                                      KENNEDALE          TX 76060‐3214
MARTIN, ROBERT T       KIMMEL & SILVERMAN PC               1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL        NJ 08003
MARTIN, ROBERT T       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510‐2212
                                                           STREET, SUITE 600
MARTIN, ROBERT W       315 N PASADENA ST                                                                               INDIANAPOLIS      IN   46219‐6227
MARTIN, ROBERT W       PO BOX 320303                                                                                   KANSAS CITY       MO   64132‐0303
MARTIN, ROBERT W       1710 NORTHWEST 43RD AVENUE                                                                      CAPE CORAL        FL   33993‐3496
MARTIN, ROBERT W       11 SOUTH 136 KINGERY HWY                                                                        WILLOWBROOK       IL   60527
MARTIN, ROBIN M        5190 BIG WOLF LN                                                                                LEWISTON          MI   49756
MARTIN, ROBIN P        8925 SOUTHEAST BAHAMA CIRCLE                                                                    HOBE SOUND        FL   33455‐4312
MARTIN, ROBIN P        8925 SE BAHAMA CIR                                                                              HOBE SOUND        FL   33455‐4312
MARTIN, RODERICK B     4343 LUCINDA DR                                                                                 PRESCOTT          MI   48756‐9367
MARTIN, RODGER G       G4027 BROWN ST                                                                                  FLINT             MI   48532
MARTIN, RODGER GAIL    G4027 BROWN ST                                                                                  FLINT             MI   48532
MARTIN, RODGER T       5355 WHITE LAKE RD                                                                              WHITE LAKE        MI   48383‐1118
MARTIN, RODNEY         3916 TIMBERLANE RD NE                                                                           WESSON            MS   39191‐6106
MARTIN, RODNEY A       SHANNON LAW FIRM                    100 W GALLATIN ST                                           HAZLEHURST        MS   39083‐3007
MARTIN, ROGER          GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                  EDWARDSVILLE      IL   62025‐0959
                       ANTOGNOLI
MARTIN, ROGER B        6272 AURARIA RD                                                                                 DAWSONVILLE       GA 30534‐8279
MARTIN, ROGER D        465 STONEHAVEN CT 20                                                                            MILAN             MI 48160
MARTIN, ROGER D        C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                      EDWARDSVILLE      IL 62025
                       ROWLAND PC
MARTIN, ROGER M        10580 TILLMAN ROAD                                                                              CLARENCE          NY   14031‐2336
MARTIN, ROGER N        PO BOX 146                                                                                      SOMERSET          IN   46984‐0146
MARTIN, ROGER R        LEE WILLIAM L JR                    PO BOX 14047                                                JACKSON           MS   39236‐4047
MARTIN, ROHN           40 HEATHER GLEN CIR                                                                             CROSSVILLE        TN   38558‐6434
MARTIN, ROIS E         111 THORNBURY CT                                                                                JACKSON           GA   30233‐2770
MARTIN, ROLAND O       3797 WEYMOUTH RD                                                                                MEDINA            OH   44256‐9237
MARTIN, RONALD         4214 COGGINS AVE                                                                                FLINT             MI   48506‐1918
MARTIN, RONALD         12053 LOBLOLLY PINE DR                                                                          NEW PORT RICHEY   FL   34654‐1737
MARTIN, RONALD         4721 SUNDEW ST                                                                                  COMMERCE TWP      MI   48382‐2634
MARTIN, RONALD A       4531 SHERMAN RD                                                                                 SAGINAW           MI   48604‐1549
MARTIN, RONALD A       2400 S OCEAN DR APT 3214                                                                        FORT PIERCE       FL   34949
MARTIN, RONALD A       8267 S 300 E                                                                                    MARKLEVILLE       IN   46056‐9792
MARTIN, RONALD C       14420 QUAIL POINTE DR                                                                           CARMEL            IN   46032‐9780
MARTIN, RONALD D       10265 DODGE RD                                                                                  MONTROSE          MI   48457‐9034
MARTIN, RONALD D       17910 MAHRLE RD                                                                                 MANCHESTER        MI   48158‐8626
MARTIN, RONALD D       5310 W CR 200 NORTH                                                                             NEW CASTLE        IN   47362
MARTIN, RONALD D       4717 MOHAWK AVE                                                                                 CLARKSTON         MI   48348‐3548
MARTIN, RONALD E       PO BOX 132                                                                                      SOMERSET          IN   46984‐0132
MARTIN, RONALD E       3430 ADA DR                                                                                     BAY CITY          MI   48706‐1709
MARTIN, RONALD E       1 CROMWELL CT                                                                                   NEWARK            DE   19702‐4181
MARTIN, RONALD E       2008 S MISTYWOOD CT                                                                             DEFIANCE          OH   43512‐3489
MARTIN, RONALD F       11673 N OLDFIELD LN                                                                             MOORESVILLE       IN   46158‐6486
MARTIN, RONALD F       4554 CHESANING RD                                                                               CHESANING         MI   48616‐8422
MARTIN, RONALD J       10433 NICHOLS RD                                                                                GAINES            MI   48436‐8914
MARTIN, RONALD J       8202 HAWK DR                                                                                    FREELAND          MI   48623‐8678
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Name                   Address1                          Address2                          Address3   Address4         City             State Zip
MARTIN, RONALD L       PO BOX 4076                                                                                     SMITHVILLE        TN 37166‐4076
MARTIN, RONALD L       13165 SAN VINCENTE BLVD                                                                         FISHERS           IN 46038‐3447
MARTIN, RONALD L       28 ASCOT AVENUE                                                                                 WATERFORD         MI 48328‐3500
MARTIN, RONALD L       4558 NAVAJO TRL                                                                                 JAMESTOWN         OH 45335‐1427
MARTIN, RONALD L       4558 NAVAJO TR.                                                                                 JAMESTOWN         OH 45335‐1427
MARTIN, RONALD O       722 EVERGREEN LN                                                                                SAGINAW           MI 48604‐2340
MARTIN, RONALD R       4711 MEADOWBROOK AVE                                                                            CLARKSTON         MI 48348‐3546
MARTIN, RONALD R       6058 HEWITT GIFFORD RD SW                                                                       WARREN            OH 44481‐9112
MARTIN, RONALD R       11921 SEABREEZE COVE LN APT 203                                                                 FORT MYERS        FL 33908
MARTIN, RONALD W       132 OMAR ST                                                                                     STRUTHERS         OH 44471‐1552
MARTIN, RONALD W       51278 BLACKHAWK LN                                                                              MACOMB            MI 48042‐6000
MARTIN, RONALD W       132 E OMAR ST                                                                                   STRUTHER          OH 44471‐1552
MARTIN, RONALD W       9910 CREEKWOOD LN                                                                               FORT MYERS        FL 33905‐5121
MARTIN, RONNIE         17595 FLORA ST                                                                                  MELVINDALE        MI 48122‐1336
MARTIN, RONNIE G       16828 CIMARRON PASS                                                                             NOBLESVILLE       IN 46060‐4290
MARTIN, ROOSEVELT      15818 WARD ST                                                                                   DETROIT           MI 48227‐4061
MARTIN, ROOSEVELT      18042 BUFFALO ST                                                                                DETROIT           MI 48234‐2435
MARTIN, ROSALIE A.     25555 COUNTRY CLUB #11                                                                          NORTH OLMSTED     OH 44070‐4340
MARTIN, ROSE           13210 ROLLING HILLS LANE                                                                        DALLAS            TX 75240‐5538
MARTIN, ROSE L         107 SOUTH WASHINGTON              APT #519                                                      SAGINAW           MI 48607
MARTIN, ROSE L         107 S WASHINGTON AVE APT 519                                                                    SAGINAW           MI 48607‐1260
MARTIN, ROSE MARIE Z   10 PHEASANT DRIVE                                                                               MERIDEN           CT 06451‐3821
MARTIN, ROSE MARIE Z   10 PHEASANT DR                                                                                  MERIDEN           CT 06451‐3821
MARTIN, ROSEMARY       835 HILL RD                                                                                     ASTON             PA 19014‐1416
MARTIN, ROSEMARY B     4715 STILLWELL AVE                                                                              LANSING           MI 48911‐2840
MARTIN, ROSETTA        9560 BURT RD                                                                                    DETROIT           MI 48228‐1520
MARTIN, ROSEZETTA      115 LOVETT DR                                                                                   CLINTON           MS 39056‐3045
MARTIN, ROSHAWN L      343 VERONA RD                                                                                   DAYTON            OH 45417‐1328
MARTIN, ROSS A         PO BOX 9022                       C/O HOLDEN                                                    WARREN            MI 48090‐9022
MARTIN, ROSS C         2030 BRADBURY RD                                                                                ADAMS             TN 37010‐8963
MARTIN, ROY            8876 KINGSLEY DR                                                                                ONSTED            MI 49265‐9541
MARTIN, ROY C          CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                               CLEVELAND         OH 44115
                       GAROFOLI                          FL
MARTIN, ROY C          PO BOX 751                                                                                      ORTONVILLE       MI   48462‐0751
MARTIN, ROY E          3005 SUNNY CREEK WAY                                                                            KNOXVILLE        TN   37918
MARTIN, ROY E          30005 SUNNYCREEK WAY                                                                            KNOXVILLE        TN   37918
MARTIN, ROY J          2910 EAST GENESSEE ST                                                                           SAGINAW          MI   48601
MARTIN, ROY K          8303 S VAN DYKE RD                                                                              MARLETTE         MI   48453‐9160
MARTIN, ROY L          21 GREYSON RD                                                                                   ROCHESTER        NY   14623‐2009
MARTIN, ROY L          223 DAVIS LN                                                                                    BOLINGBROOK      IL   60440‐2333
MARTIN, ROY L          17212 GLENDALE AVE                                                                              CLEVELAND        OH   44128‐1552
MARTIN, ROY M          131 CHERRY HILLS MEADOWS DR                                                                     WILDWOOD         MO   63040‐1649
MARTIN, ROY P          7132 HIGHWAY 60                                                                                 GEORGETOWN       TN   37336‐4577
MARTIN, ROY V          4249 KILLIAN ST                                                                                 FORT WORTH       TX   76119‐3823
MARTIN, ROY W          7673 GREENBORO DR                                                                               WEST MELBOURNE   FL   32904‐1669
MARTIN, ROY W          9391 SYCAMORE CT                                                                                DAVISON          MI   48423‐1185
MARTIN, RUBY H         6918 BALES AVE                                                                                  KANSAS CITY      MO   64132‐3234
MARTIN, RUBY L         5311 NELSON BROGDON BLVD.                                                                       BUFORD           GA   30518‐6905
MARTIN, RUDESINDA      PO BOX 93203                      C/O MARTIN                                                    LOS ANGELES      CA   90093‐0203
MARTIN, RUSSELL A      6451 N NOTTAWA RD                                                                               FARWELL          MI   48622‐9223
MARTIN, RUSSELL E      369 BETHEL PURDY RD                                                                             BETHEL SPRINGS   TN   38315‐3531
MARTIN, RUSTY D        PO BOX 991                                                                                      HARRISONVILLE    MO   64701‐0991
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Name                     Address1                        Address2                     Address3   Address4         City              State Zip
MARTIN, RUTH A           517 CHRISTIAN CIR                                                                        SENOIA             GA 30276‐1574
MARTIN, RUTH A           18453 LITTLEFIELD ST                                                                     DETROIT            MI 48235‐1350
MARTIN, RUTH D           4120 BRETON ST                                                                           INDIANAPOLIS       IN 46222‐1322
MARTIN, RUTH M           5003 WELL FLEET DRIVE                                                                    TROTWOOD           OH 45426‐1417
MARTIN, RUTHANN R        1500 HICKORY RD                                                                          WILMINGTON         DE 19805
MARTIN, RUTHIE M         2404 SILVERBROOK LN APT 1304                                                             ARLINGTON          TX 76006‐6141
MARTIN, RUTHIE M         9250 DEAN RD APT 222                                                                     SHREVEPORT         LA 71118‐2868
MARTIN, RYAN C           4901 NORTH HICKORY ROAD                                                                  MUNCIE             IN 47303‐1038
MARTIN, RYAN CHRISTIAN   1012 S SUNSET DR                                                                         YORKTOWN           IN 47396‐9571
MARTIN, RYAN W           4503 OAK AVE                                                                             BROOKFIELD          IL 60513‐2405
MARTIN, SALLY A          4721 SUNDEW ST                                                                           COMMERCE TWP       MI 48382‐2634
MARTIN, SALLY M          3607 COURTNEY PL                                                                         TRAVERSE CITY      MI 49684‐8810
MARTIN, SAMMIE E         32201 AVONDALE ST                                                                        WESTLAND           MI 48186‐4903
MARTIN, SAMUEL           14381 TERRY ST                                                                           DETROIT            MI 48227‐5514
MARTIN, SAMUEL           2921 DREXEL AVE                                                                          FORT WAYNE         IN 46806‐1419
MARTIN, SAMUEL           2106 CASALOMA CT                                                                         FLINT              MI 48532‐2717
MARTIN, SAMUEL           681 CEDAR ROCK RD                                                                        GREENVILLE         GA 30222‐4163
MARTIN, SAMUEL D         2977 EAGLE DR                                                                            ROCHESTER HILLS    MI 48309‐2852
MARTIN, SANDI R          2129 W US HIGHWAY 36                                                                     PENDLETON          IN 46064‐9089
MARTIN, SANDRA           2200 E BUDER AVE                                                                         BURTON             MI 48529‐1736
MARTIN, SANDRA           10395 EASTON RD                 PO BOX 391                                               NEW LOTHROP        MI 48460‐9804
MARTIN, SANDRA K         10994 HENDERSON RD                                                                       CORUNNA            MI 48817‐9792
MARTIN, SANDRA K         1732 ROCK RD                                                                             MANSFIELD          OH 44903‐7350
MARTIN, SANDRA L         PO BOX 1061                                                                              SMYRNA             TN 37167‐1061
MARTIN, SARA S           12761 WOODRIDGE DR                                                                       NORTH ROYALTON     OH 44133
MARTIN, SARAH A          1525 WEST 25TH STREET                                                                    INDIANAPOLIS       IN 46208
MARTIN, SARAH A          49800 W HURON RIVER DR                                                                   BELLEVILLE         MI 48111‐2562
MARTIN, SARAH A          1525 W 25TH ST                                                                           INDIANAPOLIS       IN 46208‐5220
MARTIN, SARAH ANN        49800 W HURON RIVER DR                                                                   BELLEVILLE         MI 48111‐2562
MARTIN, SCOTT            7699 E 400 S                                                                             LAOTTO             IN 46763‐9787
MARTIN, SCOTT            KROHN & MOSS ‐ CA,              5055 WILSHIRE BLVD STE 300                               LOS ANGELES        CA 90036‐6101
MARTIN, SCOTT A          537 GOLDLEAF AVE                                                                         VANDALIA           OH 45377‐2531
MARTIN, SCOTT A          175 OSHAWA CIR                                                                           WATERFORD          MI 48328‐3241
MARTIN, SCOTT D          7573 BRIDGEWAY DR                                                                        TEMPERANCE         MI 48182‐9234
MARTIN, SCOTT V          2207 FISHER AVE                                                                          SPEEDWAY           IN 46224‐5032
MARTIN, SHAKA A          3640 RUE FORET APT 165                                                                   FLINT              MI 48532‐2850
MARTIN, SHARELL D        7033 CEDAR LAKE RD                                                                       PINCKNEY           MI 48169‐8823
MARTIN, SHARI V          510 N CENTER DR NW APT 2A                                                                GRAND RAPIDS       MI 49544
MARTIN, SHARON           10293 DICE RD                                                                            FREELAND           MI 48623‐8882
MARTIN, SHARON E         313 KELLOGG AVENUE                                                                       JANESVILLE         WI 53546‐2924
MARTIN, SHARON K         2805 CLAYTON DR                                                                          TROY               MI 48083‐2477
MARTIN, SHARON L         221 TURKEY SCRATCH RD                                                                    MONTECELLO         FL 32344
MARTIN, SHARON M         2A FOREST RD                                                                             GLEN BURNIE        MD 21060‐7558
MARTIN, SHARON M         6147 DANA ROSE DR                                                                        WASHINGTON         MI 48094‐1326
MARTIN, SHARON M         2222 NICHOLS RD                                                                          FLUSHING           MI 48433‐9768
MARTIN, SHAWNA M         6969 NORTH SKAGGS COURT                                                                  MONTICELLO         IN 47960‐7168
MARTIN, SHAWNA M.        6969 NORTH SKAGGS COURT                                                                  MONTICELLO         IN 47960‐7168
MARTIN, SHAWNA R         368 CLARK CIR                                                                            BOWLING GREEN      KY 42103‐8500
MARTIN, SHERRY A         4799 WARWICK DR S                                                                        CANFIELD           OH 44406‐9241
MARTIN, SHERYL D         2377 LAKESIDE RD                                                                         ERIE               MI 48133‐9524
MARTIN, SHIRLEY          2461 BRIAR CREEK LN                                                                      BURTON             MI 48509‐1396
MARTIN, SHIRLEY A        1100 N CENTER RD                                                                         SAGINAW            MI 48638‐5505
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Name                      Address1                       Address2                Address3     Address4            City               State Zip
MARTIN, SHIRLEY A         16689 EDMORE DR                                                                         DETROIT             MI 48205‐1513
MARTIN, SHIRLEY A         3989 NORTH MICHIGAN AVE.       APT. #7                                                  SAGINAW             MI 48604
MARTIN, SHIRLEY A         PO BOX 248                     407 E NORTH                                              EATON               IN 47338‐0248
MARTIN, SHIRLEY A         2416 N WASHINGTON ST                                                                    KOKOMO              IN 46901‐5844
MARTIN, SHIRLEY B         1210 NICOLET ST                                                                         JANESVILLE          WI 53546‐5810
MARTIN, SHIRLEY B         1010 W 3RD ST                                                                           ANDERSON            IN 46016‐2378
MARTIN, SHIRLEY C         1005 CLIFF SWALLOW DR                                                                   GRANBURY            TX 76048‐2654
MARTIN, SHIRLEY J         PO BOX 166                                                                              EAST TAWAS          MI 48730‐0166
MARTIN, SHIRLEY J         PO BOX 683                                                                              DALLAS              NC 28034‐0683
MARTIN, SHIRLEY M         11673 N OLDFIELD LN                                                                     MOORESVILLE         IN 46158‐6486
MARTIN, SHIRLEY M         2 MC NABB CIR                                                                           WICHITA FALLS       TX 76306
MARTIN, SHIRLEY R         209 E BALTIMORE BLVD                                                                    FLINT               MI 48505‐3384
MARTIN, SHIRLEY R         900 WITHERSPOON DR                                                                      KOKOMO              IN 46901‐1808
MARTIN, SHIRLEY R         11632 PLEASANT VIEW DR                                                                  PINCKNEY            MI 48169‐9559
MARTIN, SHURDAN A         189 GLENRIDGE AVE NW                                                                    PORT CHARLOTTE      FL 33952‐7913
MARTIN, SIDNEY E          4571 FOREST WOOD TRL                                                                    SARASOTA            FL 34241‐6254
MARTIN, SIMON D           3589 ACADEMY DR                                                     WINDSOR ONTARIO
                                                                                              CANADA N9E‐2H8
MARTIN, SONDRA B          1849 FAUVER AVE                                                                         DAYTON             OH   45420‐2504
MARTIN, SOPHIA J          1020 CORNELL DR                                                                         DAYTON             OH   45406‐5948
MARTIN, STACY L           1633 WILLIAM SMITH ROAD                                                                 ELBERTON           GA   30635‐4142
MARTIN, STACY M           9625 ROYALTON DR                                                                        SHREVEPORT         LA   71118‐4319
MARTIN, STACY MARIE       9625 ROYALTON DR                                                                        SHREVEPORT         LA   71118‐4319
MARTIN, STANLEY E         1315 GALINDO PL                                                                         LADY LAKE          FL   32159‐8597
MARTIN, STANLEY F         265 TURNBERRY PL APT E                                                                  SAINT PETERS       MO   63376‐4480
MARTIN, STANLEY J         G4634 FLUSHING RD                                                                       FLINT              MI   48504
MARTIN, STANTON L         1465 COUNTY ROAD Y                                                                      HATLEY             WI   54440‐9508
MARTIN, STELLA            995 CALEDONIA AVE                                                                       CLEVELAND HTS      OH   44112‐2323
MARTIN, STELLA            481 NE ELMORE ST                                                                        PORT ST LUCIE      FL   34983‐1727
MARTIN, STEPHANIE         PO BOX 377                                                                              CLARKSTON          MI   48347‐0377
MARTIN, STEPHEN A         4105 BOLD MDWS                                                                          OAKLAND TOWNSHIP   MI   48306‐1489
MARTIN, STEPHEN A         APT 303                        1224 6TH AVENUE SOUTH                                    EDMONDS            WA   98020‐4674
MARTIN, STEPHEN A         4101 MEADOWDALE DR                                                                      WILLIAMSTON        MI   48895‐9114
MARTIN, STEPHEN ARTHUR    4101 MEADOWDALE DR                                                                      WILLIAMSTON        MI   48895‐9114
MARTIN, STEPHEN E         37506 FOUNTAIN PK CR 309                                                                WESTLAND           MI   48185
MARTIN, STEPHEN J         1382 FLORENCE ST                                                                        NATIONAL CITY      MI   48748‐9677
MARTIN, STEPHEN R         8471 E POTTER RD                                                                        DAVISON            MI   48423‐8175
MARTIN, STEPHEN ROMUALD   8471 E POTTER RD                                                                        DAVISON            MI   48423‐8175
MARTIN, STEPHYN D         6371 N STATE ROAD 1                                                                     PENNVILLE          IN   47369‐9789
MARTIN, STEPHYN D         PO BOX 204                                                                              PENNVILLE          IN   47369‐0204
MARTIN, STEVE             1537 GRANT AVE                                                                          LINCOLN PARK       MI   48146‐2136
MARTIN, STEVE E           4165 PHEDORA ST NE                                                                      COVINGTON          GA   30014‐2532
MARTIN, STEVEN            28 ROCK CREST DR                                                                        CAPE ELIZABETH     ME   04107‐1658
MARTIN, STEVEN            B0X11 S MICHIGAN ST                                                                     BURLINGTON         IN   46915
MARTIN, STEVEN C          2384 PIONEER DR                                                                         BELOIT             WI   53511‐2549
MARTIN, STEVEN D          2440 CHICKASAW DR                                                                       JANESVILLE         WI   53545‐2293
MARTIN, STEVEN F          234 KING CHARLES RD                                                                     COLUMBIA           SC   29209
MARTIN, STEVEN J          1423 SHANNON LN                                                                         LANSING            MI   48917‐2059
MARTIN, STEVEN K          53 N MCGREGOR DR                                                                        LAKE ORION         MI   48362‐3724
MARTIN, STEVEN L          109 S WALL ST                                                                           COVINGTON          OH   45318‐1554
MARTIN, STEVEN M          4838 W OAKWOOD PARK DR                                                                  JANESVILLE         WI   53548‐9086
MARTIN, STEVEN R          PO BOX 343                                                                              DEFIANCE           OH   43512‐0343
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Name                    Address1                              Address2        Address3         Address4         City                   State Zip
MARTIN, STEVEN Z        15479 PROSPECT RD                                                                       STRONGSVILLE            OH 44149‐4857
MARTIN, STONIE J        1187 ORANGE BLSM LN                                                                     MOUNT MORRIS            MI 48458
MARTIN, SUE E           3395 WILLOUGHBY RD                                                                      HOLT                    MI 48842‐9738
MARTIN, SUSAN B         12060 W MOUNT MORRIS RD                                                                 FLUSHING                MI 48433‐9337
MARTIN, SUSAN B         12060 W. MOUNT MORRIS ROAD                                                              FLUSHING                MI 48433‐9337
MARTIN, SUSAN C         29955 RICHLAND ST                                                                       LIVONIA                 MI 48150‐3086
MARTIN, SUSAN G         8437 PINEVIEW LAKE DR                                                                   LINDEN                  MI 48451‐9770
MARTIN, SUSAN G         4787 LAKESHORE LOOP                                                                     OLDSMAR                 FL 34677
MARTIN, SUSAN K         1321 N WASHINGTON ST                                                                    JANESVILLE              WI 53548‐1566
MARTIN, SUSAN K         2870 E 25 N                                                                             HUNTINGTON              IN 46750‐9360
MARTIN, SUSAN M         14 KENDALL LN                                                                           HARWICH                 MA 02645‐1610
MARTIN, SUSAN M         34907 HARROUN ST                                                                        WAYNE                   MI 48184‐2379
MARTIN, SUSAN M         16578 WEATHERFIELD DR                                                                   NORTHVILLE              MI 48168‐2324
MARTIN, SUSAN MARIE     34907 HARROUN ST                                                                        WAYNE                   MI 48184‐2379
MARTIN, SUSIE           1582 WAGON WHEEL LN                                                                     GRAND BLANC             MI 48439‐4815
MARTIN, SUSIE           1582 WAGONWHEEL LANE                                                                    GRAND BLANC             MI 48439
MARTIN, SUZAN           221 N PENDLETON AVE                                                                     PENDLETON               IN 46064‐1025
MARTIN, SYBLE           PO BOX 396                            BOX 396                                           HONEA PATH              SC 29654‐0396
MARTIN, SYBLE J         3024 CHETWOOD DR                                                                        DEL CITY                OK 73115‐1929
MARTIN, SYLVIA          640 S LEXINGTON SPRINGMILL RD APT C                                                     MANSFIELD               OH 44906‐3300

MARTIN, SYLVIA          640 S. LEX‐SPRINGMILL RD.,UNIT C                                                        MANSFIELD              OH   44906‐3300
MARTIN, SYLVIA J        3648 KINGS MILLS RD                                                                     MASON                  OH   45040‐2305
MARTIN, TAD A           1446 UNION GROVE RD                                                                     COLUMBIA               TN   38401‐8014
MARTIN, TALTON BERTIS   15 WILLOW CT NW                                                                         CARTERSVILLE           GA   30120‐4817
MARTIN, TALTON BERTIS   15 WILLOW CRT                                                                           CARTERSVILLE           GA   30120‐0120
MARTIN, TAMARA M        4243 PARKWAY DRIVE                                                                      DAYTON                 OH   45416‐1664
MARTIN, TAMI            5606 N TEN MILE RD                                                                      MERIDIAN               ID   83646‐5106
MARTIN, TAVIS N         28940 AVONDALE STREET                                                                   INKSTER                MI   48141‐1644
MARTIN, TED R           209 HILLCREST ST                                                                        JACKSBORO              TX   76458‐2048
MARTIN, TEDDY D         1843 W 900 N                                                                            WAWAKA                 IN   46794‐9792
MARTIN, TEDDY J         1611 GRAY RD                                                                            LAPEER                 MI   48446‐7795
MARTIN, TEDDY T         2505 FOUNTAIN HEAD DR                                                                   PLANO                  TX   75023‐6416
MARTIN, TELATHA         7708 PLATINI PL                                                                         INDIANAPOLIS           IN   46214‐2360
MARTIN, TELBERT L       5229 MAHONING AVE NW                                                                    WARREN                 OH   44483‐1205
MARTIN, TEREN M         4243 PARKWAY DRIVE                                                                      DAYTON                 OH   45416‐1664
MARTIN, TERENCE J       995 SUNVIEW DR W                                                                        HAMILTON               OH   45013‐3711
MARTIN, TERRANCE L      1540 BROWNLEE RD                                                                        BIRMINGHAM             AL   35210‐4333
MARTIN, TERRENCE A      4256 E BABBLING BROOK DR                                                                TUCSON                 AZ   85712
MARTIN, TERRIA S        1548 HONEYBEE DR                                                                        DAYTON                 OH   45427‐3225
MARTIN, TERRIEA H       7366 CRYSTAL LAKE DR APT 6                                                              SWARTZ CREEK           MI   48473‐8949
MARTIN, TERRIEA HAYES   7366 CRYSTAL LAKE DR APT 6                                                              SWARTZ CREEK           MI   48473‐8949
MARTIN, TERRY           GRAY KEITH P                          3315 OLIVE ST                                     SAINT LOUIS            MO   63103‐1114
MARTIN, TERRY A         1675 S 475 W                                                                            COLUMBIA CITY          IN   46725‐9718
MARTIN, TERRY A         16669 W WESTERN RESERVE RD                                                              BERLIN CENTER          OH   44401‐9705
MARTIN, TERRY D         20322 RODEO CT                                                                          SOUTHFIELD             MI   48075‐1286
MARTIN, TERRY D         20012 CHESTERBROOK DR                                                                   MACOMB                 MI   48044
MARTIN, TERRY D         163 WHITNEY TRCE                      P.O. BOX 715                                      BRASELTON              GA   30517‐2368
MARTIN, TERRY D         6705 LARUE CIR                                                                          NORTH RICHLAND HILLS   TX   76180‐7923
MARTIN, TERRY D.        6705 LARUE CIR                                                                          NORTH RICHLAND HILLS   TX   76180‐7923
MARTIN, TERRY DOUGLAS   20322 RODEO CT                                                                          SOUTHFIELD             MI   48075
MARTIN, TERRY E         4132 TRUMPWOOD                                                                          BURTON                 MI   48519‐1495
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Name                    Address1                        Address2                        Address3   Address4         City              State Zip
MARTIN, TERRY E         7724 CRISP RD                                                                               WILLIAMSBURG       MI 49690‐9743
MARTIN, TERRY L         3464 N SUMMERS RD                                                                           IMLAY CITY         MI 48444‐8990
MARTIN, TERRY L         12963 MENOMINEE DR                                                                          DEWITT             MI 48820‐8659
MARTIN, TERRY L         1527 LEXINGTON AVE                                                                          DAYTON             OH 45402‐5637
MARTIN, TERRY L         4753 W M 21                                                                                 SAINT JOHNS        MI 48879‐9589
MARTIN, TERRY L         10952 S EMERALD ST                                                                          OLATHE             KS 66061‐2867
MARTIN, TERRY LEE       10952 S EMERALD ST                                                                          OLATHE             KS 66061‐2867
MARTIN, TERRY W         8747 S ROBERTS RD                                                                           HICKORY HILLS       IL 60457‐1576
MARTIN, TERRY W         5266 PIERCE RD NW                                                                           WARREN             OH 44481‐9378
MARTIN, THADDEUS A      324 N HENRY ST                                                                              CRESTLINE          OH 44827‐1631
MARTIN, THELMA L        650 GRANTS TRL                  C/O BARBARA L MARTIN                                        DAYTON             OH 45459‐3122
MARTIN, THEODORE A      6904 CORNELL ST                                                                             PORTAGE            MI 49024‐3416
MARTIN, THEODORE W      1726 BAY ST                                                                                 SAGINAW            MI 48602‐3922
MARTIN, THEODORE W      PO BOX 242                                                                                  HOUGHTON LAKE      MI 48629
MARTIN, THERESA         210 SAGAMORE PKWY                                                                           LA PORTE           IN 46350‐5273
MARTIN, THERESA         210 SAGAMORE PARKWAY                                                                        LAPORTE            IN 46350‐5273
MARTIN, THERESA K       2738 WELLSPRING CT NW                                                                       GRAND RAPIDS       MI 49504‐8106
MARTIN, THOMAS          352 ORWOOD PLACE                                                                            SYRACUSE           NY 13208
MARTIN, THOMAS          5 EVELYN PL                                                                                 CHESTER            NY 10918‐4421
MARTIN, THOMAS          289 WATERTREE DR                                                                            EAST SYRACUSE      NY 13057‐1938
MARTIN, THOMAS A        3676 HEMMETER RD                                                                            SAGINAW            MI 48603‐2023
MARTIN, THOMAS A        PO BOX 91                                                                                   COLLINSVILLE       MS 39325‐0091
MARTIN, THOMAS A        7091 DORWOOD RD                                                                             BIRCH RUN          MI 48415‐9027
MARTIN, THOMAS A        3801 198TH AVE SE                                                                           NOBLE              OK 73068‐6011
MARTIN, THOMAS A        522 PERRY ST                                                                                NANTICOKE          PA 18634‐4423
MARTIN, THOMAS ARTHUR   7091 DORWOOD RD                                                                             BIRCH RUN          MI 48415‐9027
MARTIN, THOMAS B        34 HART LN                                                                                  HERMANN            MO 65041
MARTIN, THOMAS C        5782 PINKERTON RD                                                                           VASSAR             MI 48768‐9668
MARTIN, THOMAS E        15691 BISHOP RD                                                                             CHESANING          MI 48616‐8419
MARTIN, THOMAS E        1487 RUSS ROY CT                                                                            WHITE LAKE         MI 48383‐3062
MARTIN, THOMAS EDWARD   15691 BISHOP RD                                                                             CHESANING          MI 48616‐8419
MARTIN, THOMAS F        3049 GEHRING DR                                                                             FLINT              MI 48506‐2259
MARTIN, THOMAS F        748 DUNLAP CIR                                                                              WINTER SPRINGS     FL 32708‐3817
MARTIN, THOMAS G        1352 CORNISH DR                                                                             VANDALIA           OH 45377‐1611
MARTIN, THOMAS G        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                        STREET, SUITE 600
MARTIN, THOMAS J        800 OAKMONT LN                                                                              UNION             MO   63084‐4491
MARTIN, THOMAS J        40 VINE ST                                                                                  SAUGUS            MA   01906
MARTIN, THOMAS J        4936 PENSACOLA BLVD                                                                         MORAINE           OH   45439‐2834
MARTIN, THOMAS J        11029 N LEWIS RD                                                                            CLIO              MI   48420‐7952
MARTIN, THOMAS J        7319 TOUCAN TRL                                                                             SPRING HILL       FL   34606‐2762
MARTIN, THOMAS J        4690 VENOY RD                                                                               SAGINAW           MI   48604‐1539
MARTIN, THOMAS J        2514 SUNSET DR                                                                              BELOIT            WI   53511‐2355
MARTIN, THOMAS J        7745 MOORISH RD                                                                             BRIDGEPORT        MI   48722‐9770
MARTIN, THOMAS L        2280 KENDALL ST                                                                             DETROIT           MI   48238‐2939
MARTIN, THOMAS L        BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                               DALLAS            TX   75219
MARTIN, THOMAS M        214 GRANADA AVE                                                                             YOUNGSTOWN        OH   44504‐1820
MARTIN, THOMAS N        49662 SHELBY CREEK DR                                                                       SHELBY TOWNSHIP   MI   48317‐1815
MARTIN, THOMAS P        #1                              1835 APOLLO                                                 HIGHLAND          MI   48356‐1705
MARTIN, THOMAS R        16273 MOCK RD                                                                               BERLIN CENTER     OH   44401‐9795
MARTIN, THOMAS R        535 E GARRISON RD                                                                           OWOSSO            MI   48867‐9760
MARTIN, THOMAS R        22512 LAVON ST                                                                              ST CLAIR SHRS     MI   48081‐2076
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Name                     Address1                        Address2              Address3       Address4         City                  State Zip
MARTIN, THOMAS ROBERT    535 E GARRISON RD                                                                     OWOSSO                 MI 48867‐9760
MARTIN, THOMAS W         3632 MUNNINGS KNL                                                                     LAND O LAKES           FL 34639‐8826
MARTIN, THOMAS W         568 MARSHALL DRIVE                                                                    XENIA                  OH 45385‐1739
MARTIN, THOMASE          GERGEL NICKLES & SOLOMON        PO BOX 1866                                           COLUMBIA               SC 29202‐1866
MARTIN, TIM W            3241 BROWN RD                                                                         SPRING HILL            TN 37174‐2100
MARTIN, TIMOTHY          554 ROSE COTTAGE CIR                                                                  GALLATIN               TN 37056‐2584
MARTIN, TIMOTHY E        PO BOX 834                                                                            PINCKNEY               MI 48169‐0834
MARTIN, TIMOTHY E        1924 SHEPARD DR SW                                                                    DECATUR                AL 35603‐2642
MARTIN, TIMOTHY EDMOND   1924 SHEPARD DR SW                                                                    DECATUR                AL 35603‐2642
MARTIN, TIMOTHY EUGENE   PO BOX 834                                                                            PINCKNEY               MI 48169‐0834
MARTIN, TIMOTHY J        2305 E RENEE AVE                                                                      MUNCIE                 IN 47303‐6305
MARTIN, TIMOTHY J        142 TERRY AVE                                                                         ROCHESTER              MI 48307‐1570
MARTIN, TIMOTHY J        418 E RIVERSIDE ST                                                                    WILLIAMSTON            MI 48895‐1147
MARTIN, TIMOTHY L        1915 COLON ST                                                                         FLINT                  MI 48506‐2345
MARTIN, TIMOTHY LEE      1915 COLON ST                                                                         FLINT                  MI 48506‐2345
MARTIN, TIMOTHY P        2721 PRESTONWOOD DR                                                                   GRIMESLAND             NC 27837‐8880
MARTIN, TIMOTHY R        5600 BRASSIE CT                                                                       GLADWIN                MI 48624‐8119
MARTIN, TIMOTHY RAY      5600 BRASSIE CT                                                                       GLADWIN                MI 48624‐8119
MARTIN, TIMOTHY W        3241 BROWN RD                                                                         SPRING HILL            TN 37174‐2100
MARTIN, TINA E           1240 MICHAEL AVE                                                                      LEWISVILLE             TX 75077‐3048
MARTIN, TINA O           1724 HAMMAN DRIVE                                                                     TROY                   MI 48085‐5039
MARTIN, TODD             JAFFE DOUGLAS                   402 W BROADWAY FL 4                                   SAN DIEGO              CA 92101‐3554
MARTIN, TOMMIE W         3057 INTREPID CLOSE                                                                   MARIETTA               GA 30062
MARTIN, TOMMY            1172 LOVING RD                                                                        BOWLING GREEN          KY 42101‐9526
MARTIN, TONIA S          6020 STONE BROKE RD                                                                   EL DORADO              CA 95623‐4936
MARTIN, TONY F           1785 HI ROC RD NE                                                                     CONYERS                GA 30012‐2337
MARTIN, TONY M           1450 S JEFFERSON ST                                                                   HUNTINGTON             IN 46750‐4019
MARTIN, TONYA M          3715 61FT DR E                                                                        BRADENTON              FL 34203
MARTIN, TRACEY L         5266 PIERCE RD NW                                                                     WARREN                 OH 44481‐9378
MARTIN, TRACINA D        2501 RIME VILLAGE DR                                                                  HOOVER                 AL 35216
MARTIN, TREVOR M         4292 SPRINGWOOD CT                                                                    FENTON                 MI 48430‐9177
MARTIN, TRISCEL E        1879 W DIVISION RD                                                                    KINGSVILLE             MO 64061‐9256
MARTIN, TWANA R          2278 GOLETA AVE                                                                       YOUNGSTOWN             OH 44504‐1353
MARTIN, UNITH L          905 UNIVERSITY DR                                                                     PONTIAC                MI 48342‐1863
MARTIN, V. ELOISE        326 W SPENCER AVE                                                                     UPLAND                 IN 46989‐9234
MARTIN, V. ELOISE        326 WEST SPENCER                                                                      UPLAND                 IN 46989‐0302
MARTIN, VADA MARIE       4888 HARDELL DR                                                                       FAIRFIELD              OH 45014‐1417
MARTIN, VALERIE P        56296 TROON N                                                                         SHELBY TWP             MI 48316‐5053
MARTIN, VANCE R          150 FULTON RD                                                                         CANONSBURG             PA 15317‐4805
MARTIN, VANESSA P        7074 HAWK WOODS DR                                                                    WEST BLOOMFIELD        MI 48322‐4581
MARTIN, VANESSA P        6898 BROOK HOLLOW CT                                                                  WEST BLOOMFIELD        MI 48322‐5206
MARTIN, VELDA R          345 KINGSFIELD CT                                                                     YELLOW SPRINGS         OH 45387‐1954
MARTIN, VELMA            100 BENJAMIN AVE SE                                                                   GRAND RAPIDS           MI 49506‐1630
MARTIN, VELMA            6074 MAD RIVER RD                                                                     DAYTON                 OH 45459‐1508
MARTIN, VELMA N          37 COLONY RD                    C/O DEBBIE HOPPES                                     ANDERSON               IN 46011‐2252
MARTIN, VERA I           435 S LIVERNOIS RD APT 325                                                            ROCHESTER HILLS        MI 48307‐2568
MARTIN, VERNETTA M       351 E BISHOP AVE                                                                      FLINT                  MI 48505‐3325
MARTIN, VERNON E         26 OCHAVO WAY                                                                         HOT SPRINGS VILLAGE    AR 71909‐6817
MARTIN, VICKI L          RR 4 BOX 139Z                                                                         CHARLESTON             WV 25312‐9379
MARTIN, VICTOR C         1132 HIDDEN SPIRIT TRL 26A                                                            LAWRENCEVILLE          GA 30045
MARTIN, VIOLA D          6977 N SKAGGS CT                                                                      MONTICELLO             IN 47960‐7168
MARTIN, VIOLET J         30 FIRESIDE                                                                           PONTIAC                MI 48340‐3155
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Name                     Address1                        Address2                      Address3   Address4         City            State Zip
MARTIN, VIRGIE           1355 SHAWHAN RD                                                                           MORROW           OH 45152‐9694
MARTIN, VIRGIL C         8512 CLARRIDGE RD                                                                         CLARKSTON        MI 48348‐2516
MARTIN, VIRGINIA B       7525 MARGARET ST                                                                          TAYLOR           MI 48180‐2407
MARTIN, VIRGINIA C       307 SOUTH OAKLEY AVENUE                                                                   COLUMBUS         OH 43204‐3219
MARTIN, VIRGINIA G       5092 BRADLEY LN                                                                           HAMBURG          NY 14075‐2902
MARTIN, VIRGINIA G       SOUTH 5092 BRADLEY LANE                                                                   HAMBURG          NY 14075
MARTIN, VIRGINIA M       20554 N 101 AVE                 #1026                                                     PEORIA           AZ 85382
MARTIN, VIRGINIA M       20554 N 101ST AVE APT 1026                                                                PEORIA           AZ 85382‐2598
MARTIN, VIRGINIA T       15485 LAKEVIEW PARK DR.                                                                   LINDEN           MI 48451
MARTIN, VIRLINE          18267 INDIAN                                                                              REDFORD          MI 48240‐2018
MARTIN, VIVIAN           4088 VALLEYVIEW DR BOX 339                                                                HARRISON         MI 48625
MARTIN, VIVIAN D         3723 RON LN                                                                               YOUNGSTOWN       OH 44505‐4344
MARTIN, VOLKER           ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                       NEW YORK         NY 10006‐1638
MARTIN, VONETTA S        3488 E COUNTY ROAD 285 S                                                                  KOKOMO           IN 46902
MARTIN, W D              317 S MCCARTY ST                                                                          FORTVILLE        IN 46040‐1453
MARTIN, WALLACE L        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                         STREET, SUITE 600
MARTIN, WALLACE S        3881 WOODMERE PARK BLVD APT 5                                                             VENICE          FL   34293
MARTIN, WALTER           255 YEAGER DR                                                                             WILLIAMSON      WV   25661‐9709
MARTIN, WALTER A         2074 JASPER WAY                                                                           THE VILLAGES    FL   32162‐3356
MARTIN, WALTER A         5114 NEWCASTLE LN                                                                         SAN ANTONIO     TX   78249‐1782
MARTIN, WALTER C         4167 N 60TH ST                                                                            MILWAUKEE       WI   53216‐1207
MARTIN, WALTER E         6458 HAVILAND DR                                                                          BROOK PARK      OH   44142‐3402
MARTIN, WALTER J         22533 DETOUR ST                                                                           ST CLAIR SHRS   MI   48082‐2428
MARTIN, WALTER K         710 GRANDVIEW AVE                                                                         FLORENCE        AL   35630‐3618
MARTIN, WALTER K         148 OAK VALLEY DR                                                                         SPRING HILL     TN   37174‐2590
MARTIN, WALTER R         1210 HERITAGE LN                                                                          BURTON          MI   48509‐2388
MARTIN, WALTER T         225 MIDDLETON PL                                                                          GRAYSON         GA   30017
MARTIN, WANDA            5406 WESTHALL AVE.                                                                        LOUISVILLE      KY   40214
MARTIN, WANDA C          PO BOX 957                                                                                DREXEL          NC   28619‐0957
MARTIN, WANDA E          4038 COLTER DR                                                                            KOKOMO          IN   46902‐4486
MARTIN, WANDA L          4108 LIBERTY ST                                                                           KOKOMO          IN   46902‐4860
MARTIN, WARREN & ALICE   2554 ARLINGTON BLVD                                                                       EL CERRITO      CA   94530‐1504
MARTIN, WARREN W         3861 CHILI AVE                                                                            CHURCHVILLE     NY   14428
MARTIN, WAYNE H          60 TEAKWOOD LN                                                                            TULLAHOMA       TN   37388‐6353
MARTIN, WAYNE M          407 W HARTFORD AVE                                                                        UXBRIDGE        MA   01569‐1179
MARTIN, WENDY            PO BOX 164                                                                                MCDOWELL        KY   41647‐0164
MARTIN, WENDY M          3001 YALE ST                                                                              FLINT           MI   48503‐4699
MARTIN, WESLEY J         1725 BRADSHAW RD                                                                          GRAND CANE      LA   71032‐6084
MARTIN, WESLEY JAMES     1725 BRADSHAW RD                                                                          GRAND CANE      LA   71032‐6084
MARTIN, WHITNEY W        101 TULIP LN                                                                              DAYTON          OH   45432‐3819
MARTIN, WILBERT          606 E STEWART AVE                                                                         FLINT           MI   48505‐5324
MARTIN, WILEY            10144 BELLVIEW DR                                                                         MIDWEST CITY    OK   73130‐4642
MARTIN, WILLIAM          4420 AVERY STREET                                                                         DETROIT         MI   48208‐2744
MARTIN, WILLIAM          2405 MONUMENT CT                                                                          LINCOLN         CA   95648‐8215
MARTIN, WILLIAM          NOT IN FILE
MARTIN, WILLIAM          2673 JACKSON PIKE                                                                         BATAVIA         OH   45103‐8448
MARTIN, WILLIAM A        34 HALF MOON CT                                                                           N TONAWANDA     NY   14120‐1809
MARTIN, WILLIAM A        12304 MARILLA RD                                                                          COPEMISH        MI   49625‐9737
MARTIN, WILLIAM A        60 W TENNYSON AVE                                                                         PONTIAC         MI   48340‐2668
MARTIN, WILLIAM C        4209 GLEN HOLLOW CIR                                                                      ARLINGTON       TX   76016‐4928
MARTIN, WILLIAM C        3588 BERNICE DR                                                                           SAGINAW         MI   48601‐5901
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Name                      Address1                       Address2                      Address3     Address4         City           State Zip
MARTIN, WILLIAM C         507 W LINCOLNWAY                                                                           MINERVA         OH 44657‐1420
MARTIN, WILLIAM C         46920 BRADLEY ST                                                                           FREMONT         CA 94539
MARTIN, WILLIAM D         BOX 1914                                                                                   ORACLE          AZ 85623‐1914
MARTIN, WILLIAM D         3651 SLATTERY RD                                                                           ATTICA          MI 48412‐9389
MARTIN, WILLIAM D         PO BOX 1914                                                                                ORACLE          AZ 85623‐1914
MARTIN, WILLIAM D         344 RIVER BEND ST                                                                          MANCHESTER      MI 48158‐9532
MARTIN, WILLIAM E         6147 DANA ROSE DR                                                                          WASHINGTON      MI 48094‐1326
MARTIN, WILLIAM E         7197 CAPAC RD                                                                              LYNN            MI 48097‐1503
MARTIN, WILLIAM E         607 GRAYHAWK CIR                                                                           WENTZVILLE      MO 63385‐3898
MARTIN, WILLIAM E         2615 CRABAPPLE RD                                                                          PARKVILLE       MD 21234‐5503
MARTIN, WILLIAM E         23044 VALERIE ST                                                                           SOUTH LYON      MI 48178‐1632
MARTIN, WILLIAM E         9914 VALLEY HWY                                                                            VERMONTVILLE    MI 49096‐9509
MARTIN, WILLIAM E         901 E LORDEMAN ST                                                                          KOKOMO          IN 46901‐2415
MARTIN, WILLIAM F         C/O ROGER L SHEPPARD‐          GREENBRIAR COUNTY SHERIFF     PO BOX 347                    LEWISBURG       WV 24901
MARTIN, WILLIAM F         6198 E COUNTY ROAD 200 N                                                                   AVON            IN 46123‐6140
MARTIN, WILLIAM G         PO BOX 13321                                                                               KANSAS CITY     KS 66113‐0321
MARTIN, WILLIAM G         4602 THORNCROFT AVE                                                                        ROYAL OAK       MI 48073‐1749
MARTIN, WILLIAM GEORGE    PO BOX 13321                                                                               KANSAS CITY     KS 66113‐0321
MARTIN, WILLIAM H         2 MITCHELL ST                                                                              GADSDEN         AL 35904‐1611
MARTIN, WILLIAM H         PO BOX 944                                                                                 WORTH            IL 60482‐0802
MARTIN, WILLIAM H         3355 SUFFOLK CT                                                                            GREENWOOD       IN 46143‐8448
MARTIN, WILLIAM H         32 CARLTON PL                                                                              LOCKPORT        NY 14094‐3805
MARTIN, WILLIAM H         5428 NEW HAVEN RD                                                                          TIRO            OH 44887‐9702
MARTIN, WILLIAM H         137 E MAIN ST                                                                              E PALESTINE     OH 44413‐2035
MARTIN, WILLIAM H         78 YORKTOWN RD                                                                             SNYDER          NY 14226‐4633
MARTIN, WILLIAM HASKELL   78 YORKTOWN RD                                                                             SNYDER          NY 14226‐4633
MARTIN, WILLIAM I         2502 LAKECREST DR                                                                          SHREVEPORT      LA 71109‐3005
MARTIN, WILLIAM J         16138 WEATHERFIELD DR                                                                      NORTHVILLE      MI 48168‐2355
MARTIN, WILLIAM J         7358 LAWRENCE ST                                                                           GRAND BLANC     MI 48439‐9341
MARTIN, WILLIAM J         PO BOX 18                                                                                  PARADISE        MI 49768‐0018
MARTIN, WILLIAM J         2417 E 38TH ST                                                                             ANDERSON        IN 46013‐2640
MARTIN, WILLIAM J         221 ENGELHARDT DR                                                                          BAY CITY        MI 48706‐2813
MARTIN, WILLIAM J         14 OVERLOOK DRIVE                                                                          SWEDESBORO      NJ 08085‐1830
MARTIN, WILLIAM J.        221 ENGELHARDT DR                                                                          BAY CITY        MI 48706‐2813
MARTIN, WILLIAM K         4532 CANDLEWOOD DR                                                                         LOCKPORT        NY 14094‐1249
MARTIN, WILLIAM L         18466 ROSELAWN ST                                                                          DETROIT         MI 48221‐2116
MARTIN, WILLIAM L         20668 COUNTRY BARN DR                                                                      ESTERO          FL 33928
MARTIN, WILLIAM L         7325 VERSAILLES LN                                                                         CHARLOTTE       NC 28277‐5550
MARTIN, WILLIAM L         23387 MARSHALL RD                                                                          OLIVET          MI 49076‐9503
MARTIN, WILLIAM M         1595 MULLANPHY RD                                                                          FLORISSANT      MO 63031‐4215
MARTIN, WILLIAM M         17502 DRUMMOND RD                                                                          SHAWNEE         OK 74801‐5618
MARTIN, WILLIAM M         15980 BROWNSFERRY RD                                                                       ATHENS          AL 35611‐6722
MARTIN, WILLIAM M         4645 CENTURY DR                                                                            SAGINAW         MI 48638‐5611
MARTIN, WILLIAM N         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510‐2212
                                                         STREET, SUITE 600
MARTIN, WILLIAM P         7 MONTAUK LN                                                                               LANCASTER      NY   14086‐2365
MARTIN, WILLIAM P         6627 TAYLORSVILLE RD                                                                       DAYTON         OH   45424‐3163
MARTIN, WILLIAM R         145 FERRO DR                                                                               VENTURA        CA   93001‐2604
MARTIN, WILLIAM R         1630 HIGHWAY 100                                                                           REAGAN         TN   38368‐6224
MARTIN, WILLIAM R         2082 PHILLIPS ST                                                                           LEWISBURG      TN   37091‐3030
MARTIN, WILLIAM R         1825 WILLIAMS AVE                                                                          NORWOOD        OH   45212‐3503
MARTIN, WILLIAM S         6969 N SKAGGS CT                                                                           MONTICELLO     IN   47960‐7168
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Name                                  Address1                              Address2                      Address3   Address4                 City               State Zip
MARTIN, WILLIAM T                     GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510‐2212
                                                                            STREET, SUITE 600
MARTIN, WILLIAM T                     318 IOWA                                                                                                MC DONALD          OH   44437‐4437
MARTIN, WILLIAM T                     318 IOWA AVE                                                                                            MC DONALD          OH   44437‐1924
MARTIN, WILLIE                        PORTER & MALOUF PA                    4670 MCWILLIE DR                                                  JACKSON            MS   39206‐5621
MARTIN, WILLIE A                      3755 SULENE DR                                                                                          COLLEGE PARK       GA   30349‐2617
MARTIN, WILLIE C                      19963 TERRACE LN                                                                                        BEND               OR   97702‐9023
MARTIN, WILLIE J                      3907 NOE BIXBY RD                                                                                       COLUMBUS           OH   43232‐6114
MARTIN, WILLIE M                      1397 S FM 706                                                                                           LUFKIN             TX   75904‐0244
MARTIN, WILLIE O                      121 LANSMERE WAY                                                                                        ROCHESTER          NY   14624‐1166
MARTIN, WILSON L                      P.O BOX 751931                        WASHINTON TWSP                                                    DAYTON             OH   45475‐5475
MARTIN, WILSON L                      10001 SETTLEMENT HOUSE RD                                                                               DAYTON             OH   45458
MARTIN, WINIFRED L                    401 WOOTEN ST                                                                                           MADISON            NC   27025‐1529
MARTIN, WINSTON                       PO BOX 214                                                                                              WARM SPRINGS       GA   31830‐0214
MARTIN, WINSTON                       5474 OAKLEY INDUSTRIAL BLVD APT 138                                                                     FAIRBURN           GA   30213

MARTIN, WINSTON H                     59 TAULBEE LN                                                                                           STANTON            KY   40380‐9788
MARTIN, WINSTON H                     5699 CAMPTON RD                                                                                         STANTON            KY   40380‐9786
MARTIN, WOLNEY L                      2156 BRANDYWOOD DR                                                                                      WILMINGTON         DE   19810‐2435
MARTIN, WOODARD L                     3963 FM 1999                                                                                            KARNACK            TX   75661‐2451
MARTIN, WOODARD L.                    3963 FM 1999                                                                                            KARNACK            TX   75661‐2451
MARTIN, YESENIA                       6614 WHISPER CREST DR                                                                                   ARLINGTON          TX   76002‐3659
MARTIN, YVON J                        21 SCENIC DR                                                                                            LEOMINSTER         MA   01453‐3448
MARTIN, YVONNE L                      13619 HARTEL RD                                                                                         GRAND LEDGE        MI   48837‐9301
MARTIN, YVONNE L                      2610 CHESAPEAKE BLVD                                                                                    NORFOLK            VA   23509‐1736
MARTIN, ZANE                          PO BOX 8535                                                                                             MANSFIELD          OH   44906‐8535
MARTIN,CHARLES E                      1007 MCKAVETT DR                                                                                        BURLESON           TX   76028‐9305
MARTIN,CHRISTOPHER H                  22596 KING RICHARD CT                                                                                   BEVERLY HILLS      MI   48025‐2504
MARTIN,GREGORY K                      22760 BERTRAM DR                                                                                        NOVI               MI   48374‐3741
MARTIN,SCOTT A                        537 GOLDLEAF AVE                                                                                        VANDALIA           OH   45377‐2531
MARTIN,WILLIAM C.                     1005 MULHOLLAND ST                                                                                      BAY CITY           MI   48708‐7646
MARTIN‐CARTER, SYLVIA                 560 BLOOMFIELD VILLAGE BLVD APT 12                                                                      AUBURN HILLS       MI   48326‐3591
MARTIN‐CULET, BARBARA K               3278 BELL SOUTH RD                                                                                      CORTLAND           OH   44410‐4410
MARTIN‐HILTI‐FAMILIEN‐TREUHANDGESEL   28190 SCHOOLCRAFT RD                                                                                    LIVONIA            MI   48150‐2205

MARTIN‐HILTI‐FAMILIEN‐TREUHANDGESEL 5400 S 122ND EAST AVE                   PO BOX 21148                                                      TULSA              OK 74146‐6007

MARTIN‐JONES, TAIVIA C                24251 RIDGEDALE ST                                                                                      OAK PARK           MI   48237‐4626
MARTIN‐KAHN, MARY                     18520 VALLEY VIEW DR                                                                                    JORDAN             MN   55352‐9100
MARTIN‐LANDERS CHEVROLET, LLC         SAMUEL LANDERS                        HWYS 69 & 9                                                       MELBOURNE          AR   72556
MARTIN‐MORGAN, BRENDA                 3716 ABBOTT ST                                                                                          FORT WAYNE         IN   46806‐4324
MARTIN‐MOULTRAY, RENEE R              134 AUCKLAND DR                                                                                         NEWARK             DE   19702‐4257
MARTIN‐OSZUST, GWENDOLINE             12613 THIRD ISLE                                                                                        HUDSON             FL   34667‐1923
MARTIN‐OSZUST, GWENDOLINE             12613 3RD ISLE                                                                                          HUDSON             FL   34667‐1923
MARTIN‐PALMER TOOL & DIE CO           90 VERMONT AVE                                                                                          DAYTON             OH   45404‐1521
MARTIN‐POPIEL, ELKE                   15845 MILTON PT                                                                                         ALPHARETTA         GA   30004
MARTIN‐ROBERTS, JUNE I                1514 3RD ST NE                                                                                          CANTON             OH   44704‐1708
MARTIN‐WORRELL, JOAN I                6730 SW 26TH ST                                                                                         MIRAMAR            FL   33023‐3808
MARTIN: C GWIN                        119 GLENADA COURT                                                                                       NEW LEBANON        OH   45345‐1437
MARTINA ADAMS                         8681 W ST JOE HWY                                                                                       LANSING            MI   48917‐8809
MARTINA ALYSSA                        13340 WINCHESTER AVE                                                                                    HUNTINGTON WOODS   MI   48070‐1729
MARTINA CESAR                         RUE DES TRIEUX 71                                                              6060 CHARLEROI BELGIUM
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Name                                Address1                           Address2                      Address3            Address4               City                State Zip
MARTINA DICKOPP                     AUF DEN DREIEN 30                                                                    50354 HUERTH GERMANY
MARTINA DICKOPP‐MOELLERS            AUF DEN DREIEN 30
MARTINA ESCHBACH                    TWISTERSTR. 11                     MARSBERG DE 34431
MARTINA ESCHBACH                    C/O DR. KLOKE & KOLLEGEN           BAHNSTR. 1                    MARSBERG DE 34431
MARTINA ESCHBACH‐WENSING            C/O DR KLOKE & KOLLEGEN            BAHNSTR 1                                         MARSBERG DE 34431
                                                                                                                         GERMANY
MARTINA HAZARD                      6370 E COLDWATER RD                                                                                         FLINT               MI    48506‐1214
MARTINA K SCOTT VOLUNTORY TRUST     MARTINA K SCOTT                    INGLEWOOD APT #202            405 N 8TH ST                               MT HOREB            WI    53572
MARTINA LANGELOH                    11754 LIBERTY WOODS DRIVE                                                                                   WASHINGTON          MI    48094‐2465
MARTINA MORENO                      908 EDISON AVE                                                                                              LANSING             MI    48910‐3340
MARTINA MORENO                      21888 STATE HIGHWAY 202                                                                                     TEHACHAPI           CA    93561‐8645
MARTINA MOSS                        228 BROOKLYN AVE                                                                                            DAYTON              OH    45417‐2239
MARTINA OVERWEG                     8176 36TH AVE                                                                                               HUDSONVILLE         MI    49426‐9709
MARTINA PILOTH                      WISBYER STRA▀E 37                                                                    13189 BERLIN GERMANY
MARTINA PILOTH                      WISBYER STRASSE 37
MARTINA QUILLEN                     137 W JACKSON BOX 640                                                                                       GALVESTON            IN   46932
MARTINA SCHULZE                     HAYDNSTR 20                                                                          70195 STUTTGART
                                                                                                                         GERMANY
MARTINA STUEBER                     REMBRANDTSTRASSE 6                                                                   D ‐ 56566 NEUWIED
                                                                                                                         GERMANY
MARTINA TAYLOR                     PO BOX 1065                                                                                                  MANSFIELD           OH 44901‐1065
MARTINA TOBIN                      99 ERIE AVE                                                                                                  FAIRBORN            OH 45324‐4409
MARTINA ULLRICH                    HEILIGENSTADTERSTRASSE 11/3/2/11                                                      VIENNA AUSTRIA
MARTINA VILLANUEVA                 905 MERRITT ST                                                                                               RIVER OAKS          TX    76114‐2943
MARTINA WILSON                     3568 ARTIST DR                                                                                               STOVER              MO    65078‐1348
MARTINA, LINDA L                   35 TERRACE HILL DR                                                                                           PENFIELD            NY    14526
MARTINA, LORI E                    1145 WASKOM ELYSIAN FIELDS RD                                                                                WASKOM              TX    75692‐6805
MARTINA, LORI ELLEN                1145 WASKOM ELYSIAN FIELDS RD                                                                                WASKOM              TX    75692‐6805
MARTINA, MICHAEL E                 1145 WASKOM ELYSIAN FIELDS RD                                                                                WASKOM              TX    75692‐6805
MARTINA, RON J                     26136 WEXFORD DR                                                                                             WARREN              MI    48091‐3987
MARTINACHE, MARGARET M             34141 PARKVIEW AVE                  C/O ROBERT C COOPER                                                      EUSTIS              FL    32736‐7230
MARTINAITIS, VIRGINIA T            1838 BLEDSOE DRIVE                                                                                           BELLBROOK           OH    45305‐1315
MARTINAK RUSS                      3580 FLANNERY CT                                                                                             COMMERCE TOWNSHIP   MI    48390‐1227
MARTINAK, RUSSELL D                3580 FLANNERY CT                                                                                             COMMERCE TOWNSHIP   MI    48390‐1227
MARTINATO PAOLO VITTORIO MARTINATO ALESSANDRO                          V LE CORTINA D AMPEZZO 135                        135 ROMA, RM, ITALY

MARTINCHEK, DAVID A                 39 CLEARVIEW DR                                                                                             SPENCERPORT         NY    14559‐1133
MARTINCHICK, MATTHEW J              36522 LANSBURY LN                                                                                           FARMINGTON          MI    48335‐2930
MARTINCIC, ALICE K                  11 NEPAHWIN DR                                                                                              TIMBERLAKE          OH    44095‐1938
MARTINCIC, FRANK                    16056 FOREST AVE                                                                                            EASTPOINTE          MI    48021‐1135
MARTINCIC, JACK A                   6884 WALL RD                                                                                                MONONGAHELA         PA    15063‐4539
MARTINCIC, WILLIAM J                274 MILLPORT RD                                                                                             WEST MIFFLIN        PA    15122‐2547
MARTINCIN, RICHARD R                4250 E RIVER RD                                                                                             SHEFFIELD VILLAGE   OH    44054‐2845
MARTINDALE BENJAMIN J (636582)      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                              NORFOLK             VA    23510
                                                                       STREET, SUITE 600
MARTINDALE CHEVROLET,               521 US HIGHWAY 61                                                                                           NEW MADRID          MO 63869‐1617
OLDSMOBILE,PO
MARTINDALE CHEVROLET,               521 US HIGHWAY 61                                                                                           NEW MADRID          MO 63869‐1617
OLDSMOBILE,PONTIAC, INC.
MARTINDALE CHEVROLET,               MARK KOLWYCK                       521 US HIGHWAY 61                                                        NEW MADRID          MO 63869‐1617
OLDSMOBILE,PONTIAC, INC.
MARTINDALE HUBBELL                  PO BOX 72470292                                                                                             PHILADELPHIA         PA 19170‐0001
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Name                       Address1                         Address2                         Address3   Address4                 City               State Zip
MARTINDALE, ARDIS R        6107 W LEROY AVE                                                                                      GREENFIELD          WI 53220‐3039
MARTINDALE, ARLA LUE       946 VIA LOS PADRES                                                                                    SANTA BARBARA       CA 93111‐1326
MARTINDALE, BARBARA A      4639 TOWERLINE RD                                                                                     HALE                MI 48739‐9053
MARTINDALE, BARBARA A      4639 N TOWERLINE                                                                                      HALE                MI 48739‐9053
MARTINDALE, BENJAMIN J     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA 23510
                                                            STREET, SUITE 600
MARTINDALE, BETTY L        9341 VALLEY ROAD NW                                                                                   RAPID CITY         MI    49676
MARTINDALE, BETTY L        40840 COUNTY RD 25               # 126                                                                LADY LAKE          FL    32159
MARTINDALE, BILL           BOONE ALEXANDRA                  205 LINDA DR                                                         DAINGERFIELD       TX    75638‐2107
MARTINDALE, CLAUDE C       3447 CRUSE LN                                                                                         MORGANTOWN         IN    46160‐8351
MARTINDALE, DANNY W        13443 MONTAGUE ST                                                                                     ARLETA             CA    91331‐5607
MARTINDALE, DARRELL E      3910 S ASHLEAF LANE                                                                                   BEAVERCREEK        OH    45440‐5106
MARTINDALE, DAVID A        5987 CARTER LN                                                                                        FRANKLIN           TN    37064‐6203
MARTINDALE, DONALD B       4211 KITRIDGE RD                                                                                      DAYTON             OH    45424‐5807
MARTINDALE, DONALD E       28836 ARMANDA DR                                                                                      WARREN             MI    48088‐4388
MARTINDALE, DONALD J       6890 FOLLIN RD                                                                                        BELLVILLE          OH    44813‐9342
MARTINDALE, DONALD JAMES   6890 FOLLIN RD                                                                                        BELLVILLE          OH    44813‐9342
MARTINDALE, ELAINE B       153 LAUDER AVE NW                                                                                     WARREN             OH    44483‐1434
MARTINDALE, ELAINE B       153 LAUDER AVE. N.W.                                                                                  WARREN             OH    44483‐1434
MARTINDALE, HAZEL F        6051 GORDON RD                                                                                        WATERFORD          MI    48327‐1739
MARTINDALE, JACK T         8020 BURLINGAME AVE SW                                                                                BYRON CENTER       MI    49315‐9334
MARTINDALE, JAMES I        9334 RLMD RD                                                                                          CLIO               MI    48420
MARTINDALE, KENNETH D      PO BOX 188                                                                                            GAYLORD            MI    49734‐0188
MARTINDALE, KENNETH D      7651 ROCKDALE                                                                                         REDFORD            MI    48239
MARTINDALE, LLOYD E        62 PARKVIEW STREET                                                                                    LEAVITTSBURG       OH    44430‐9704
MARTINDALE, LLOYD E        62 PARKVIEW CT                                                                                        LEAVITTSBURG       OH    44430‐9704
MARTINDALE, LYNDA D        4091 BOBBY JONES DR                                                                                   FLINT              MI    48506‐1403
MARTINDALE, MARJORIE L     8127 LENNON RD                                                                                        CORUNNA            MI    48817‐9519
MARTINDALE, MARY L         44 MAUREEN WAY                                                                                        BEAR               DE    19701‐6338
MARTINDALE, ROBERT A       136 HIGHLAND DR                                                                                       GLEN BEULAH        WI    53023
MARTINDALE, ROBERT D       2154 JONES CT                                                                                         WATERFORD          MI    48327‐1225
MARTINDALE, ROBERT E       5170 DOBBS DR                                                                                         DAYTON             OH    45440‐2255
MARTINDALE, STEVEN D       12016 W 92ND ST                                                                                       LENEXA             KS    66215‐3818
MARTINDALE, THEODORE J     7326 IRONDALE AVE                                                                                     CANOGA PARK        CA    91306‐2716
MARTINDALE, VICTORIA A     4661 BOULDER DR                                                                                       STERLING HEIGHTS   MI    48310‐3126
MARTINDALE, WILLIAM A      14950 11TH ST                                                                                         JOHANNESBURG       MI    49751‐9682
MARTINDELCAMPO, EDDIE      19239 RANIER ST                                                                                       CANYON CNTRY       CA    91351‐1212
MARTINDELCAMPO, ISABEL R   13967 DAVENTRY ST                                                                                     PACOIMA            CA    91331‐3513
MARTINDILL, IVAN           141 GRACELAND DR                                                                                      LANCASTER          OH    43130
MARTINE DUGRENIER          5512 SILVERSON                                                               COTE ST‐LUC QC H4V 2G6
                                                                                                        CANADA
MARTINE HENNING            39A TAHOE VILLAGE 2                                                                                   NEW HOPE           PA 18938
MARTINE MARCY              MARTINE, MARCY                   120 WEST MADISON STREET , 10TH                                       CHICAGO            IL 60602
                                                            FLOOR
MARTINE, GEORGE F          100 SHORE RD APT F1                                                                                   SOMERS POINT        NJ   08244‐2704
MARTINE, MARCY             KROHN & MOSS ‐ FL                120 WEST MADISON STREET, 10TH                                        CHICAGO             IL   44114
                                                            FLOOR
MARTINEAU MICHELLE         MARTINEAU, MICHELLE              2189 W 1000 N                                                        TREMENTON          UT    84337
MARTINEAU, BETTY J         1340 LAFAYETTE AVE                                                                                    NIAGARA FALLS      NY    14305‐1132
MARTINEAU, CHRISTINA P     508 PAXTON AVE                                                                                        GLENCOE            AL    35905‐1273
MARTINEAU, GERALD L        14114 S CHAPIN RD                                                                                     BRANT              MI    48614‐8700
MARTINEAU, LAWRENCE E      18189 ACKERMAN AVE                                                                                    PT CHARLOTTE       FL    33948‐9384
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Name                      Address1                         Address2            Address3         Address4         City                  State Zip
MARTINEAU, LORRAINE J     120 ANGELES RD                                                                         DEBARY                 FL 32713‐3416
MARTINEAU, LORRAINE J     33 SNOW ST                                                                             WOONSOCKET              RI 02895
MARTINEAU, LYNN           2189 W 1000 N                                                                          TREMONTON              UT 84337‐9362
MARTINEAU, MICHELLE       2189 W 1000 N                                                                          TREMONTON              UT 84337‐9362
MARTINEAU, RICHARD D      5110 MIDDLESEX ST                                                                      DEARBORN               MI 48126‐3105
MARTINEAU, SHARON         687 FLETCHER ST                                                                        TONAWANDA              NY 14150‐3613
MARTINEAU, SHARON B       687 FLETCHER ST                                                                        TONAWANDA              NY 14150‐3613
MARTINEC, DIANE H         34774 HALDANE DR                                                                       LIVONIA                MI 48152
MARTINEC, DON L           5309 GREENS DR                                                                         LADY LAKE              FL 32159‐6003
MARTINECK, CATHERINE E    2225 DEER RUN DR                                                                       SCHERERVILLE           IN 45375
MARTINECK, CATHERINE E    2225 DEAR RUN DRIVE                                                                    SCHERERVILLE           IN 46375
MARTINECK, JAMES M        217 LINDSAY PL                                                                         NORTH TONAWANDA        NY 14120‐4314
MARTINECK, MILAN G        2225 DEER RUN DR                                                                       SCHERERVILLE           IN 46375‐4488
MARTINEK, CHRISTOPHER M   PO BOX 72                                                                              HAWK POINT             MO 63349‐0072
MARTINEK, DANIEL J        PO BOX 85                                                                              HAWK POINT             MO 63349‐0085
MARTINEK, GERALD F        123 JOSEPH                                                                             HAWK POINT             MO 63349‐2204
MARTINEK, JOHN D          796 PRENTICE RD NW                                                                     WARREN                 OH 44481‐9472
MARTINEK, JUDITH          22 ELAINE ST                                                                           WEBSTER                MA 01570‐3647
MARTINEK, JUDY            490 E HOME AVE                                                                         PALATINE                IL 60074‐7059
MARTINEK, MURIEL L        UNIT A                           4904 TOWER ROAD                                       GREENSBORO             NC 27410‐5727
MARTINEK, PAUL E          1360 EAGLE RIDGE DRIVE                                                                 THE VILLAGES           FL 32162‐7733
MARTINEK, RHONDA E        PO BOX 72                                                                              HAWK POINT             MO 63349‐0072
MARTINEK, RICHARD M       225 W LINCOLN ST                                                                       BIRMINGHAM             MI 48009‐1959
MARTINELLE, NICHOLAS J    36 N DEQUINCY ST                                                                       INDIANAPOLIS           IN 46201
MARTINELLI JR., ANDRE F   53 FAIRCHILD PL                                                                        BUFFALO                NY 14216‐2726
MARTINELLI MARIE          2031 S 19TH ST                                                                         PHILADELPHIA           PA 19145‐2918
MARTINELLI, ANDRE F       53 FAIRCHILD PL                                                                        BUFFALO                NY 14216‐2726
MARTINELLI, ANTHONY D     620 S UNION AVE                                                                        SALEM                  OH 44460‐2351
MARTINELLI, CONCETTA      7119 PHOEBE PL                                                                         PHILADELPHIA           PA 19153‐3009
MARTINELLI, DINO S        39380 RYAN RD                                                                          STERLING HTS           MI 48310‐2682
MARTINELLI, DOMINICK      640 S BRADY RD APT 503                                                                 DEARBORN               MI 48124‐2329
MARTINELLI, ERNEST H      236 MASONS T                     APT 1                                                 WOONSOCKET              RI 02895‐8607
MARTINELLI, ERNEST J      642 RATHBUN ST                                                                         BLACKSTONE             MA 01504‐2054
MARTINELLI, JEFFREY C     PO BOX 614                                                                             HIGHLAND               MI 48357‐0614
MARTINELLI, KAREN         6629 WAYLAND RD                                                                        RAVENNA                OH 44266‐8504
MARTINELLI, LORI A        14010 ELLSWORTH ROAD                                                                   BERLIN CENTER          OH 44401‐9749
MARTINELLI, MARK J        14010 ELLSWORTH RD                                                                     BERLIN CENTER          OH 44401‐9749
MARTINELLI, NANCY S       22096 KNUDSEN DR                                                                       GROSSE ILE             MI 48138‐1395
MARTINELLI, RONALD A      16105 SW TURTLEDOVE LN                                                                 BEAVERTON              OR 97007‐8393
MARTINELLI, STEVEN A      63537 MONTICELLO E                                                                     WASHINGTON TOWNSHIP    MI 48095‐2455
MARTINES, CARMELA         11 DENNIS ST                     C/O ORCHID                                            GARDEN CITY PARK       NY 11040‐5001
MARTINES, JAMES J         1514 PARKER DR                                                                         MAYFIELD HTS           OH 44124‐3623
MARTINES, KEITH P         9394 ISABELLA LN                                                                       DAVISON                MI 48423‐2860
MARTINES, KENNETH W       3140 RISEDORPH AVE                                                                     FLINT                  MI 48506‐3047
MARTINES, ROBERT A        1424 E REID RD                                                                         GRAND BLANC            MI 48439
MARTINES, WAYNE K         159 W CLYDESDALE ST                                                                    MOUNT MORRIS           MI 48458
MARTINESCU, RADUCAN S     4855 MOUNT READ BLVD                                                                   ROCHESTER              NY 14616‐1129
MARTINETTE F JOHNSON      12607 WILSHIRE DR                                                                      DETROIT                MI 48213
MARTINETTE JOHNSON        12607 WILSHIRE DR                                                                      DETROIT                MI 48213
MARTINETTI, JOSEPH A      PO BOX 3933                                                                            HUNTINGTON BEACH       CA 92605‐3933
MARTINEZ                  PO BOX 52119                                                                           SHREVEPORT             LA 71135‐2119
MARTINEZ ADAM             7401 BAY CHASE DR                                                                      ARLINGTON              TX 76016‐5053
                                       09-50026-mg             Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
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Name                                   Address1                         Address2                          Address3                Address4         City               State Zip
MARTINEZ AFILIO (167668)               WYSOKER GLASSNER & WEINGARTNER   340 GEORGE ST                                                              NEW BRUNSWICK       NJ 08901‐2011
MARTINEZ ALFONSO M (440331)            PAUL REICH & MYERS               1608 WALNUT ST STE 500                                                     PHILADELPHIA        PA 19103‐5446
MARTINEZ AMANDA                        MARTINEZ, AMANDA                 1950 SAWTELLE BLVD STE 245                                                 LOS ANGELES         CA 90025‐7017
MARTINEZ ANICETO (400335)              WEITZ & LUXENBERG                180 MAIDEN LANE                                                            NEW YORK            NY 10038
MARTINEZ ANICETO (400335) ‐ MARTINEZ   WEITZ & LUXENBERG                180 MAIDEN LANE                                                            NEW YORK            NY 10038
MARILYNN
MARTINEZ ANTHONY                       MARTINEZ, ANTHONY                120 WEST MADISON STREET , 10TH                                             CHICAGO             IL   60602
                                                                        FLOOR
MARTINEZ BERTHA GENEVIVE
MARTINEZ BIRITA (349903)               WEITZ & LUXENBERG                180 MAIDEN LANE                                                            NEW YORK           NY 10038
MARTINEZ CARL                          MARTINEZ, CARL                   317 COMMERCIAL NE SECOND                                                   ALBUQUERQUE        NM 87102
                                                                        FLOOR
MARTINEZ CARL                          PROGRESSIVE NORTHERN INSURANCE   317 COMMERCIAL NE SECOND                                                   ALBUQUERQUE        NM 87102
                                       COMPANY                          FLOOR
MARTINEZ CECILIO S (667794)            SHEPARD LAW FIRM, PC             10 HIGH STREET, SUITE 1100                                                 BOSTON             MA 02110
MARTINEZ CHRISTOPHER                   1606 RESACA BLVD                                                                                            AUSTIN             TX 78738‐5379
MARTINEZ DAVID L                       MARTINEZ, DAVID L                8550 WEST GRAND RIVER AVENUE                                               BRIGHTON           MI 48116

MARTINEZ DAVID L                       MARTINEZ, DAVID L                1760 S TELEGRAPH RD STE 300                                                BLOOMFIELD HILLS   MI 48302‐0183
MARTINEZ ELSIS M                       MARTINEZ, ELSIS M                1950 SAWTELLE BLVD STE 245                                                 LOS ANGELES        CA 90025‐7017
MARTINEZ EZEKIAL M (493980)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                NORFOLK            VA 23510
                                                                        STREET, SUITE 600
MARTINEZ FERNANDEZ                     5121 KENILWORTH AVE                                                                                         BALTIMORE          MD 21212‐4335
MARTINEZ FRANCISCO                     MARTINEZ, FRANCISCO              522 S SEPULVEDA BLVD STE 112                                               LOS ANGELES        CA 90049‐3538
MARTINEZ FRANK JOHN (467017)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                NORFOLK            VA 23510
                                                                        STREET, SUITE 600
MARTINEZ GARRETT                       1115 MULE DEER DR                                                                                           ARLINGTON          TX    76002‐3071
MARTINEZ GILBERT                       MARTINEZ, GILBERT                KEVIN ADLEY ‐ ADLEY LAW FIRM      4900 WOODWAY STE 1000                    HOUSTON            TX    77056
MARTINEZ GONZALEZ, SAUL                46419 WHITE CAP DR                                                                                          MACOMB             MI    48044‐5757
MARTINEZ GROUP                         47008 CIDER MILL DR                                                                                         NOVI               MI    48374‐2960
MARTINEZ GUADALUPE                     MARTINEZ, MIGUEL                 445 SOUTH FIGUEROA STREET SUITE                                            LOS ANGELES        CA    90071
                                                                        2700
MARTINEZ GUILLERMO                     MARTINEZ, ALEJANDRA              1665 E 4TH ST STE 101                                                      SANTA ANA          CA    92701‐5139
MARTINEZ GUILLERMO                     MARTINEZ, GUILLERMO              1665 E 4TH ST STE 101                                                      SANTA ANA          CA    92701‐5139
MARTINEZ III, RUDOLFO                  19002 29 1/2 MILE RD                                                                                        SPRINGPORT         MI    49284‐9459
MARTINEZ JACQUELINE                    MARTINEZ, JACQUELINE             110 BROADWAY ST STE 370                                                    SAN ANTONIO        TX    78205‐1992
MARTINEZ JAVIER                        313 HARRISON AVE                                                                                            LAS VEGAS          NV    89106‐3012
MARTINEZ JOE                           MARTINEZ, JANA                   4510 BULL CREEK RD                                                         AUSTIN             TX    78731‐5502
MARTINEZ JOE                           MARTINEZ, JOE                    4510 BULL CREEK RD                                                         AUSTIN             TX    78731‐5502
MARTINEZ JONATHAN M                    MARTINEZ, JONATHAN M             8840 WARNER AVE STE 301                                                    FOUNTAIN VALLEY    CA    92708‐3234
MARTINEZ JOSE                          MARTINEZ, JOSE                   2001 US HIGHWAY 46 STE 310                                                 PARSIPPANY         NJ    07054‐1315
MARTINEZ JR, ADAM                      7401 BAY CHASE DR                                                                                           ARLINGTON          TX    76016‐5053
MARTINEZ JR, ANSELMO                   144 PRINCE PHILLIP DR                                                                                       ST AUGUSTINE       FL    32092‐1746
MARTINEZ JR, ANTONIO                   3475 HICKORY LN                                                                                             SARANAC            MI    48881‐9483
MARTINEZ JR, AUGUSTINE                 3317 S TOWERLINE RD                                                                                         BRIDGEPORT         MI    48722‐9542
MARTINEZ JR, CIPRIANO                  5390 ROBIN DR                                                                                               GRAND BLANC        MI    48439‐7925
MARTINEZ JR, CLIFTON                   563 CATHERINE DR                                                                                            LIBERTY CTR        OH    43532‐9781
MARTINEZ JR, DAVID                     3830 BERKELEY DR                                                                                            TOLEDO             OH    43612‐1229
MARTINEZ JR, ELFEGO                    36595 OAK ST                                                                                                FREMONT            CA    94536‐4812
MARTINEZ JR, EMILIO                    19145 FREELAND ST                                                                                           DETROIT            MI    48235‐1902
MARTINEZ JR, FELIX                     1182 SW ARROWHEAD CT                                                                                        PALM CITY          FL    34990‐2167
MARTINEZ JR, FRANCISCO                 43 SHARON RD APT 3                                                                                          WATERBURY          CT    06705‐4014
                               09-50026-mg                Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                           Address1                           Address2                          Address3   Address4         City               State Zip
MARTINEZ JR, GEORGE            12124 RIDGEFAIR PL                                                                               FARMERS BRANCH      TX 75234‐7804
MARTINEZ JR, GILBERT           2614 W WASHTENAW ST                                                                              LANSING             MI 48917‐3866
MARTINEZ JR, GILBERTO          25273 BRIDLEPATH LN                                                                              FARMINGTON HILLS    MI 48335‐1701
MARTINEZ JR, GUADALUPE A       PO BOX 24                                                                                        MELROSE             OH 45861‐0024
MARTINEZ JR, GUADALUPE AMARO   PO BOX 24                                                                                        MELROSE             OH 45861‐0024
MARTINEZ JR, HILARIO           PO BOX 443                                                                                       BRIDGEPORT          MI 48722‐0443
MARTINEZ JR, JOSEPH            113 HUDSON RD                                                                                    ETHRIDGE            TN 38456‐5802
MARTINEZ JR, LUPE R            4695 MEIGS AVE                                                                                   WATERFORD           MI 48329‐1822
MARTINEZ JR, MANUEL            HC 30 BOX 1A                                                                                     PELSOR              AR 72856‐9601
MARTINEZ JR, MANUEL G          2576 MOONGLOW DR                                                                                 SAGINAW             MI 48603‐2532
MARTINEZ JR, NICODEMO G        1517 PHEASANT RUN DRIVE                                                                          FLINT               MI 48532‐4347
MARTINEZ JR, PEDRO             2004 PAULETTE RD APT 201                                                                         BALTIMORE           MD 21222‐5848
MARTINEZ JR, ROBERTO           7454 JENNINGS RD                                                                                 SWARTZ CREEK        MI 48473‐8865
MARTINEZ JR, ROBERTO           7627 LIONS GATE PKWY                                                                             DAVIDSON            MI 48423‐3709
MARTINEZ JR, RUDOLFO I         3406 ESTERBROOK DR                                                                               HOUSTON             TX 77082‐1421
MARTINEZ JR, SANTIAGO          512 MAGNOLIA AVE                                                                                 ROYAL OAK           MI 48073‐4016
MARTINEZ JR, URBANO F          300 CURTIS ST                                                                                    BAY CITY            MI 48706‐3990
MARTINEZ JR,ADAM               7401 BAY CHASE DR                                                                                ARLINGTON           TX 76016‐5053
MARTINEZ JR., EUGENE           9100 WALKER RD APT J12                                                                           SHREVEPORT          LA 71118‐2918
MARTINEZ JR., PORFIRIO         23143 BRENTWOOD DR                                                                               TRENTON             MI 48183‐3291
MARTINEZ JUAN CARLOS           MARTINEZ, JESUS                    BURNETT PLAZA SUITE 801 CHERRY                                FORT WORTH          TX 76102
                                                                  ST UNIT 3430
MARTINEZ JUAN CARLOS           MARTINEZ, JESUS                    3811 TURTLE CREEK BLVD STE 1400                               DALLAS              TX   75219‐4492

MARTINEZ JUAN CARLOS           MARTINEZ, SANTIAGO                 224 S 2ND ST                                                  ROGERS             AR 72756‐4544
MARTINEZ JUAN CARLOS           MARTINEZ, SANTIAGO                 BURNETT PLAZA SUITE 801 CHERRY                                FORT WORTH         TX 76102
                                                                  ST UNIT 3430
MARTINEZ JUAN CARLOS           MARTINEZ, ADRIAN                   3811 TURTLE CREEK BOULEVARD                                   DALLAS              TX   75219
                                                                  SUITE 1400
MARTINEZ JUAN CARLOS           MARTINEZ, CESAR                    3811 TURTLE CREEK BOULEVARD                                   DALLAS              TX   75219
                                                                  SUITE 1400
MARTINEZ JUAN CARLOS           MARTINEZ, EDGAR                    3811 TURTLE CREEK BOULEVARD                                   DALLAS              TX   75219
                                                                  SUITE 1400
MARTINEZ JUAN CARLOS           MARTINEZ, JUAN CARLOS              3811 TURTLE CREEK BOULEVARD                                   DALLAS              TX   75219
                                                                  SUITE 1400
MARTINEZ JUAN CARLOS           MARTINEZ, MARIA SANTOS             3811 TURTLE CREEK BOULEVARD                                   DALLAS              TX   75219
                                                                  SUITE 1400
MARTINEZ JUAN CARLOS           MARTINEZ, MARTIN                   3811 TURTLE CREEK BOULEVARD                                   DALLAS              TX   75219
                                                                  SUITE 1400
MARTINEZ JUAN CARLOS           MARTINEZ, RAUL                     3811 TURTLE CREEK BOULEVARD                                   DALLAS              TX   75219
                                                                  SUITE 1400
MARTINEZ JUAN CARLOS           MARTINEZ, SANTIAGO                 3811 TURTLE CREEK BOULEVARD                                   DALLAS              TX   75219
                                                                  SUITE 1400
MARTINEZ JUAN CARLOS           MARTINEZ, YULIANA                  3811 TURTLE CREEK BOULEVARD                                   DALLAS              TX   75219
                                                                  SUITE 1400
MARTINEZ JUAN F (625060)       COON & ASSOCS BRENT                917 FRANKLIN ST STE 210                                       HOUSTON            TX 77002‐1751
MARTINEZ JULIAN G (429382)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                  STREET, SUITE 600
MARTINEZ KEVIN                 PO BOX 2                                                                                         ZWOLLE             LA    71486‐0002
MARTINEZ LIZET                 MARTINEZ, LIZET                    RESIDENCIAL LA CRUZ EDIFICION B                               MOCAE              PR    00676
                                                                  APT B
MARTINEZ LORENZO               1199 WESTLAKE RD                                                                                 RENO               NV 89523‐1719
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Name                              Address1                        Address2                          Address3                Address4             City            State Zip
MARTINEZ LORENZO                  MARTINEZ, LORENZO               150 MARKET ST                                                                  LYNN             MA 01901‐1529
MARTINEZ LUIS                     MARTINEZ, LUIZ                  522 S SEPULVEDA BLVD STE 112                                                   LOS ANGELES      CA 90049‐3538
MARTINEZ LUIS                     MARTINEZ, LUIS                  PARCELLA 1172                                                                  SAVAN SECA       PR 00952
MARTINEZ MANUEL                   4427 EDGEMONT DR SW                                                                                            WYOMING          MI 49519‐4215
MARTINEZ MARIA                    MARTINEZ, MARIA                 805 SOUTH WALNUT                                                               LAMONT           MO 65337
MARTINEZ MARK                     3691 HIGHWAY 482                                                                                               NOBLE            LA 71462‐3007
MARTINEZ MARU                     14414 MAQUILA LOOP                                                                                             LAREDO           TX 78045‐7950
MARTINEZ MONIQUE                  MARTINEZ, MONIQUE               5055 WILSHIRE BLVD STE 300                                                     LOS ANGELES      CA 90036‐6101
MARTINEZ ODELL & CALABRIA         BANCO POPULAR CENTER STE 1600                                                                                  HATO REY         PR 00918
MARTINEZ OFELIA                   2307 W 47TH PL                                                                                                 CHICAGO           IL 60609‐4006
MARTINEZ OSCAR                    MARTINEZ, OSCAR                 4929 RECONTELEATEON DR                                                         RALEIGH          NC 27603
MARTINEZ PEDRO (408893)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                    NORFOLK          VA 23510
                                                                  STREET, SUITE 600
MARTINEZ PETE R (432984)          KHERKER STEVEN JOSEPH           8441 GULF FWY STE 600                                                          HOUSTON         TX   77017‐5051
MARTINEZ RALPH                    MARTINEZ, RALPH                 4768 PARK GRANADA STE 212                                                      CALABASAS       CA   91302‐3349
MARTINEZ RAMIRO                   1213 REGINA ST                                                                                                 ROCKLIN         CA   95765‐5418
MARTINEZ RICHARD                  305 NELSON PARK CIR                                                                                            MOORE           OK   73160‐8118
MARTINEZ ROBERT                   SIMMONS FIRM                    707 BERKSHIRE BLVD                P O BOX 521                                  EAST ALTON      IL   62024
MARTINEZ ROSARIO                  885 LAKE ROAD                                                                                                  BELDEN          MS   38826‐9671
MARTINEZ ROY G (360832)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                    NORFOLK         VA   23510
                                                                  STREET, SUITE 600
MARTINEZ RUBEN                    MARTINEZ, RUBEN                 230 ANDERSON ST                                                                WILMER          TX 75172
MARTINEZ RUDY B (472111)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                    NORFOLK         VA 23510
                                                                  STREET, SUITE 600
MARTINEZ SAMUEL GONZALEZ          MARTINEZ, SAMUEL GONZALEZ       16855 WEST BERNARDO DRIVE SUITE                                                SAN DIEGO       CA 92127
                                                                  380
MARTINEZ SR, FRANCISCO S          5534 TIMOTHY LN                                                                                                BATH            MI 48808‐9790
MARTINEZ SR., DAVID               10309 NEIDERHOUSE RD                                                                                           PERRYSBURG      OH 43551‐9040
MARTINEZ THOMAS J JR (409629)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                    NORFOLK         VA 23510
                                                                  STREET, SUITE 600
MARTINEZ THOMAS J SR (409480)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                    NORFOLK         VA 23510
                                                                  STREET, SUITE 600
MARTINEZ THOMAS JOSEPH JR         GLASSER & GLASSER               CROWN CENTER                      580 E MAIN ST STE 600                        NORFOLK         VA   23510
MARTINEZ TONI                     MARTINEZ, TONI                  218 SOUTH AVENUE                                                               TOLEDO          OH   43609‐3406
MARTINEZ TRACEY                   MARTINEZ, TRACEY                4450 TOWNSHIP DRIVE APT 48B                                                    OAKWOOD         GA   30566
MARTINEZ VINCENT L (467018)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                    NORFOLK         VA   23510
                                                                  STREET, SUITE 600
MARTINEZ WILLIAM                  MARTINEZ, WILLIAM               515 MADISON AVE RM 1118                                                        NEW YORK        NY 10022‐5456
MARTINEZ WILLIAM                  MARTINEZ, WILLIAM               319 BROADWAY                                                                   NEW YORK        NY 10007
MARTINEZ WOLFGANG                 OBERTHOEHLAU NR 34                                                                        95615 MARKTREDWITZ
                                                                                                                            GERMANY
MARTINEZ WOLFGANG UND CHRISTINE   OBERTHOLAU NO 34                                                                          95615 MARKTREDWITZ
                                                                                                                            GERMANY
MARTINEZ WYLIE, MARSHA ANN        TRACY FIRM                      5473 BLAIR RD STE 200                                                          DALLAS          TX   75231‐4168
MARTINEZ ZACHARY                  11890 N HIGHWAY 88                                                                                             LODI            CA   95240‐9323
MARTINEZ, A J                     1415 E LEXINGTON AVE #223                                                                                      EL CAJON        CA   92019
MARTINEZ, A R                     3934 MORRIS ST                                                                                                 SAGINAW         MI   48601‐4236
MARTINEZ, AARON                   397 FOREST RIDGE DR                                                                                            LA VERGNE       TN   37086‐2062
MARTINEZ, ADAM                    7401 BAY CHASE DR                                                                                              ARLINGTON       TX   76016‐5053
MARTINEZ, ADNALOY                 PO BOX 332                                                                                                     ST CLR SHORES   MI   48080‐0332
MARTINEZ, ADOLFO                  1941 DON PEDRO RD                                                                                              CERES           CA   95307‐3515
MARTINEZ, ADRIAN                  112 BUDLONG ST                                                                                                 ADRIAN          MI   49221‐1942
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Name                  Address1                            Address2                      Address3   Address4         City              State Zip
MARTINEZ, ADRIANA
MARTINEZ, AFILIO      WYSOKER GLASSNER & WEINGARTNER      340 GEORGE ST                                             NEW BRUNSWICK     NJ    08901‐2011
MARTINEZ, AGAPITO     3508 S LESLIE AVE                                                                             INDEPENDENCE      MO    64055‐3450
MARTINEZ, ALBERT      41 GLENN ROAD                       B17                                                       EAST HARTFORD     CT    06118
MARTINEZ, ALBERT B    41288 ELLEN ST                                                                                FREMONT           CA    94538‐3389
MARTINEZ, ALBERT G    2816 N ASHLAND AVE                                                                            CHICAGO           IL    60657‐4002
MARTINEZ, ALBERTO
MARTINEZ, ALEJANDRA   SMITH MICHAEL F                     1665 E 4TH ST STE 101                                     SANTA ANA          CA 92701‐5139
MARTINEZ, ALEJANDRO   2267 CALLEJON CHECO                 VILLA PALMERAS                                            SANTURCE           PR 00915‐2537
MARTINEZ, ALEX
MARTINEZ, ALFILIO     PO BOX 1757                                                                                   NEW BRUNSWICK     NJ    08903‐1757
MARTINEZ, ALFONSO     1215 PARK PASS WAY                                                                            SUWANEE           GA    30024‐4514
MARTINEZ, ALFONSO G   705 HERITAGE CT                                                                               FRANKLIN          TN    37067‐3037
MARTINEZ, ALFONSO M   C/O PAUL REICH & MYERS              1608 WALNUT ST STE 500                                    PHILADELPHIA      PA    19103‐5446
MARTINEZ, ALFRED S    25 SUENO DE VIGIL RD                                                                          ESPANOLA          NM    87532‐9488
MARTINEZ, ALFREDO     ERNSTER CLETUS P III                2700 POST OAK BLVD STE 1350                               HOUSTON           TX    77056‐5785
MARTINEZ, ALFREDO     38 STANLEY ST                                                                                 DORCHESTER        MA    02125‐2459
MARTINEZ, ALFREDO R   2506 KUERBITZ DR                                                                              LANSING           MI    48906‐3429
MARTINEZ, ALICE       3417 BENT OAK HWY                                                                             ADRIAN            MI    49221‐9598
MARTINEZ, ALONZO      3445 HOLLAND AVE APT 10J                                                                      BRONX             NY    10467‐6138
MARTINEZ, AMANDA      CONSUMER LEGAL SERVICES             1950 SAWTELLE BLVD STE 245                                LOS ANGELES       CA    90025‐7017
MARTINEZ, ANA M       1102 ALEXANDRIA CT                                                                            RICHMOND          TX    77406‐2225
MARTINEZ, ANA R       34 WALNUT AVE                                                                                 MASSENA           NY    13662‐2021
MARTINEZ, ANA R.      34 WALNUT AVE                                                                                 MASSENA           NY    13662‐2021
MARTINEZ, ANATOLIO    3476 LEROY LN                                                                                 BAY CITY          MI    48706‐1643
MARTINEZ, ANDRES      3589 MAZZONE AVE APT D                                                                        RENO              NV    89502‐6870
MARTINEZ, ANDREW      BOONE ALEXANDRA                     205 LINDA DR                                              DAINGERFIELD      TX    75638‐2107
MARTINEZ, ANDREW M    1170 WINTERGREEN DR                                                                           HOLLAND           MI    49424‐2508
MARTINEZ, ANDREZ      11841 N HAGGERTY RD                                                                           PLYMOUTH          MI    48170‐4415
MARTINEZ, ANGEL       4841 ACADEMY ST APT 42                                                                        NEW YORK          NY    10034
MARTINEZ, ANGEL       151 WAGNER RD                                                                                 BAY CITY          MI    48708
MARTINEZ, ANGEL L     3506 MUSTANG RD                                                                               JOLIET             IL   60435‐8761
MARTINEZ, ANICETO     WEITZ & LUXENBERG                   180 MAIDEN LANE                                           NEW YORK          NY    10038
MARTINEZ, ANN         620 RILEY ST                                                                                  ATCHISON          KS    66002‐1858
MARTINEZ, ANTHONY     1512 SW 22ND ST                                                                               BLUE SPRINGS      MO    64015‐5229
MARTINEZ, ANTONIA     250 BARRINGTON CIR                                                                            ORION             MI    48360‐1331
MARTINEZ, ANTONIA     221 N 4TH                                                                                     SAGINAW           MI    48607‐1408
MARTINEZ, ANTONIO     213 SMOKEY DR                                                                                 COLUMBIA          TN    38401‐6125
MARTINEZ, ANTONIO     1115 OAKVIEW AVENUE                                                                           HAYWARD           CA    94541‐2148
MARTINEZ, ANTONIO     585 3RD AVE                                                                                   PONTIAC           MI    48340‐2005
MARTINEZ, ANTONIO     2527 WALNUT DR                                                                                IONIA             MI    48846‐9733
MARTINEZ, ANTONIO     3406 KONKLE ST                                                                                KALAMAZOO         MI    49001‐7912
MARTINEZ, ANTONIO B   330 60TH ST SE                                                                                KENTWOOD          MI    49548‐6808
MARTINEZ, ANTONIO J   594 LAIRD AVE NE                                                                              WARREN            OH    44483‐5201
MARTINEZ, APRIL J     4201 BRIGHTON DR                                                                              LANSING           MI    48911‐2132
MARTINEZ, ARIEL M     15046 BLEDSOE ST                                                                              SYLMAR            CA    91342‐2707
MARTINEZ, ARMANDO     302 BRIARWOOD LN                                                                              SMYRNA            TN    37167‐5073
MARTINEZ, ARTHUR      121 COUNTY ROAD 84F                                                                           SANTA FE          NM    87506‐8732
MARTINEZ, ARTHUR A    7148 COLDWATER CANYON AVE APT 207                                                             NORTH HOLLYWOOD   CA    91605‐4950

MARTINEZ, ARTURO      4280 RAMSEY RD                                                                                OXFORD             MI 48371‐3930
MARTINEZ, ARTURO      361 BIDDLE AVE APT 9                                                                          WYANDOTTE          MI 48192‐2543
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Name                        Address1                              Address2                     Address3   Address4         City               State Zip
MARTINEZ, ARTURO M          7235 N VILLAGE DR                                                                              CLARKSTON           MI 48346‐1997
MARTINEZ, ARTURO P          12937 ROBIN LN                                                                                 CHINO               CA 91710‐3808
MARTINEZ, AUGUSTINE         8143 TAMARACK CT                                                                               BIRCH RUN           MI 48415‐8536
MARTINEZ, AUSENCIO C        1517 EMILY ST                                                                                  SAGINAW             MI 48601‐3037
MARTINEZ, AZUCENA           6303 PARRISH AVE                                                                               HAMMOND             IN 46323‐1265
MARTINEZ, BALTAZAR          802 S BRAND BLVD                                                                               SAN FERNANDO        CA 91340‐4204
MARTINEZ, BEATRICE          611 CHURCH ST                                                                                  MILAN               MI 48160‐1025
MARTINEZ, BECKY M           901 KARNES AVE.                                                                                DEFIANCE            OH 43512‐3017
MARTINEZ, BECKY M           901 KARNES AVE                                                                                 DEFIANCE            OH 43512‐3017
MARTINEZ, BECKY S           33 PINE DR W                                                                                   MASON               MI 48854‐9231
MARTINEZ, BEN
MARTINEZ, BENJAMIN          CARCIONE JOSEPH W JR LAW OFFICES OF   PO BOX 3389                                              REDWOOD CITY       CA 94064‐3389

MARTINEZ, BILLIE J          3284 N 2ND ST BOX 104                                                                          WEIDMAN            MI   48893
MARTINEZ, BILLY J           11801 E ANDRE DR                                                                               GRAND LEDGE        MI   48837‐2177
MARTINEZ, BIRITA            WEITZ & LUXENBERG                     180 MAIDEN LANE                                          NEW YORK           NY   10038
MARTINEZ, BRICIO            325 MAGNOLIA DR. LOT 3                                                                         MAYLENE            AL   35114‐6008
MARTINEZ, BRICIO            325 MAGNOLIA LN LOT 3                                                                          MAYLENE            AL   35114‐6008
MARTINEZ, BRICIO RUIZ       BRICIO MARTINEZ                       325 MAGNOLIA LN LOT 3                                    MAYLENE            AL   35114
MARTINEZ, BRUNO             1301 E BUTLER ST                                                                               FORT WORTH         TX   76115‐1607
MARTINEZ, CARINA R
MARTINEZ, CARL              GALLAGHER CASADOS & MANN PC           317 COMMERCIAL ST NE FL 2                                ALBUQUERQUE        NM 87102‐3456
MARTINEZ, CARL
MARTINEZ, CARLA
MARTINEZ, CARLOS A          96 PARKVIEW AVE                                                                                DALY CITY          CA   94014‐3868
MARTINEZ, CARLOS F          2192 PERSHING CIR                                                                              EAGLE PASS         TX   78852‐5794
MARTINEZ, CARLOS S          406 1/2 SARATOGA ST                                                                            FILLMORE           CA   93015‐1532
MARTINEZ, CARMEN M          345 PLANET ST                                                                                  ROCHESTER          NY   14606‐3044
MARTINEZ, CARMEN M          10515 BLUCHER AVE                                                                              GRANADA HILLS      CA   91344‐7210
MARTINEZ, CAROLYN E         5445 KATHERINE CT                                                                              SAGINAW            MI   48603
MARTINEZ, CATALINA
MARTINEZ, CATALINA B        1362 HIGHWOOD BLVD                                                                             PONTIAC            MI   48340‐1926
MARTINEZ, CATALINA V        507 SOL DORADO ST                                                                              MISSION            TX   78572‐6882
MARTINEZ, CATHERINE K       40019 GULLIVER DR                                                                              STERLING HTS       MI   48310‐6932
MARTINEZ, CAYETANA R        2576 MOONGLOW DR                                                                               SAGINAW            MI   48603‐2532
MARTINEZ, CEASEAR           5011 38TH ST                                                                                   LONG ISLAND CITY   NY   11101‐1901
MARTINEZ, CECILIO S         SHEPARD LAW FIRM, PC                  10 HIGH STREET, SUITE 1100                               BOSTON             MA   02114
MARTINEZ, CELESTINO         17236 W MOHAVE ST                                                                              GOODYEAR           AZ   85338‐1788
MARTINEZ, CELSO S           211 WAVERLEY AVE                                                                               ROYAL OAK          MI   48067‐1336
MARTINEZ, CHARLIE P         APT 3A                                9901 EAST EVANS AVENUE                                   DENVER             CO   80247‐3547
MARTINEZ, CHRISTINA         1217 S BRIGGS ST                                                                               JOLIET             IL   60433‐9595
MARTINEZ, CHRISTION ANGEL   2374 BARNSBURY RD                                                                              EAST LANSING       MI   48823‐7769
MARTINEZ, CLADIO            2688 OAK LN                                                                                    LAYTON             UT   84040‐7922
MARTINEZ, CLAUDIO N         2315 E 4000 N                                                                                  FILER              ID   83328‐5501
MARTINEZ, CLIFTON C         537 HIGH ST                                                                                    NAPOLEON           OH   43545‐1512
MARTINEZ, CLIFTON CHAD      537 HIGH ST                                                                                    NAPOLEON           OH   43545‐1512
MARTINEZ, CONSUELO I        98 LUELLA DRIVE                                                                                PLEASANT HILL      CA   94523‐2906
MARTINEZ, CORINNE
MARTINEZ, CRISTOBAL         1533 DELGADO AVE                                                                               CORAL GABLES       FL   33146‐2414
MARTINEZ, CRUZ E            920 S WILLIAMS RD                                                                              SAN BENITO         TX   78586‐2767
MARTINEZ, DANIEL            3020 NORTHWEST DR                                                                              SAGINAW            MI   48603‐2350
MARTINEZ, DANIEL            10781 ROAD 87                                                                                  PAULDING           OH   45879‐9164
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Name                         Address1                        Address2                 Address3    Address4         City            State Zip
MARTINEZ, DANIEL             1812 RING ST                                                                          SAGINAW          MI 48602‐1143
MARTINEZ, DANIEL             4710 S LATROBE AVE                                                                    CHICAGO           IL 60638‐1811
MARTINEZ, DANIEL             624 BLUEJAY DR                                                                        SAGINAW          TX 76131‐4890
MARTINEZ, DANIEL             1352 CHIPPENDALE RD                                                                   HOUSTON          TX 77018‐5236
MARTINEZ, DANIEL B           33 E RUTGERS AVE                                                                      PONTIAC          MI 48340‐2749
MARTINEZ, DANIEL C           GENERAL DELIVERY                                                                      SALINAS          CA 93907‐9999
MARTINEZ, DANIEL F           7780 SAN RAFAEL DR                                                                    BUENA PARK       CA 90620‐2375
MARTINEZ, DANIEL R           28006 DECLARATION RD                                                                  NOVI             MI 48377‐2558
MARTINEZ, DANIELLE A         1225 LEWIS ST                                                                         DECATUR          IN 46733‐1009
MARTINEZ, DANIELLE ANNETTE   1225 LEWIS ST                                                                         DECATUR          IN 46733‐1009
MARTINEZ, DAVID              2913 E PIERSON RD                                                                     FLINT            MI 48506‐1359
MARTINEZ, DAVID              545 SANDY LN                                                                          COLUMBIAVILLE    MI 48421
MARTINEZ, DAVID              1435 DEERFIELD CIR                                                                    ROSEVILLE        CA 95747‐7425
MARTINEZ, DAVID              SCHEINTHAL SCOTT L              PO BOX 310337                                         HOUSTON          TX 77231‐0337
MARTINEZ, DAVID              4320 HUGGINS ST                                                                       SAN DIEGO        CA 92122‐2604
MARTINEZ, DAVID              12TH ST SPACE #41                                                                     WILLIAMS         CA 95987
MARTINEZ, DAVID D            5485 CARRIAGE LN                                                                      MEDINA           OH 44256‐6518
MARTINEZ, DAVID EDWARD
MARTINEZ, DAVID R            2421 MARTIN ANTHONY CT                                                                TRACY           CA   95377‐6628
MARTINEZ, DEBRA J            5909 WESTLAKE DR                # 56                                                  NEW PRT RCHY    FL   34653‐4418
MARTINEZ, DENNIS C           3047 KARLA CIR                                                                        SHREVEPORT      LA   71118‐2409
MARTINEZ, DENNIS CRAIG       3047 KARLA CIR                                                                        SHREVEPORT      LA   71118‐2409
MARTINEZ, DIMAS F            6225 WILSHIRE RD                                                                      SAGINAW         MI   48601‐9643
MARTINEZ, DOLORES            6215 DARTMOUTH AVE                                                                    ALTA LOMA       CA   91737‐3632
MARTINEZ, DONALD P           22111 CLEVELAND ST APT 209                                                            DEARBORN        MI   48124‐3461
MARTINEZ, DONNA J            PO BOX 7057                                                                           DEFIANCE        OH   43512‐7057
MARTINEZ, DORIS              1477 GRAND CONCOURSE #6                                                               BRONX           NY   10452
MARTINEZ, EDELMIRA           4379 SAINT JAMES ST                                                                   DETROIT         MI   48210‐2044
MARTINEZ, EDELMIRA           4379 ST JAMES ST                                                                      DETROIT         MI   48210
MARTINEZ, EDUARDO            205 EDMUNDSON CT                                                                      ARLINGTON       TX   76002‐3305
MARTINEZ, EDWARD             1308 VERMONT AVE                                                                      LANSING         MI   48906‐4957
MARTINEZ, EDWARD P           219 PROSPECT AVE                                                                      JANESVILLE      WI   53545‐3027
MARTINEZ, EDWIN A            APT 4                           1546 NORTH 23RD AVENUE                                MELROSE PARK    IL   60160‐1849
MARTINEZ, EFRAIN             27 YALE PL                                                                            BUFFALO         NY   14210‐2325
MARTINEZ, EFRAIN             1283 ROBERT ST                                                                        HILLSIDE        NJ   07205‐2425
MARTINEZ, ELADIO             PO BOX 532214                                                                         GRAND PRAIRIE   TX   75053‐2214
MARTINEZ, ELAINE M           27953 CANDLEWOOD PL                                                                   HAYWARD         CA   94545‐4729
MARTINEZ, ELEANOR G          15222 MONTE ST                                                                        SYLMAR          CA   91342‐1349
MARTINEZ, ELEAZAR            2374 BARNSBURY RD                                                                     EAST LANSING    MI   48823‐7769
MARTINEZ, ELIAS              4910 S WASHINGTON RD                                                                  SAGINAW         MI   48601‐7208
MARTINEZ, ELIJIO             2635 BATTLE CREEK RD                                                                  CHARLOTTE       MI   48813‐8531
MARTINEZ, ELIZABETH
MARTINEZ, ELOY H             111 JEFFERSON ST.                                                                     CASTALIA        OH   44824
MARTINEZ, ELSA P             425 MADRID CT                                                                         SAN BENITO      TX   78586‐5429
MARTINEZ, ELSIE S            716 BUNTING LN                  C/O ALISIA OKUNO                                      NEWMAN          CA   95360‐9512
MARTINEZ, ELVA               4021 SOUTHEASTERN AVE                                                                 INDIANAPOLIS    IN   46203‐1562
MARTINEZ, EMILDA P           4809 KYLE RD                                                                          FORT WAYNE      IN   46809‐1527
MARTINEZ, EMILY              998 ELLIOTT DR                                                                        LEWISTON        NY   14092‐2018
MARTINEZ, EMILY              998 ELLIOTT DRIVE                                                                     LEWISTON        NY   14092‐2018
MARTINEZ, ENEDELIA           2052 S 13TH ST                                                                        MILWAUKEE       WI   53204‐3842
MARTINEZ, ENOCH E            18947 TUBA ST                                                                         NORTHRIDGE      CA   91324‐1231
MARTINEZ, ENOCH EUGENE       18947 TUBA ST                                                                         NORTHRIDGE      CA   91324‐1231
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Name                      Address1                            Address2                       Address3   Address4            City              State Zip
MARTINEZ, ENRIQUE         3539 WEISS ST                                                                                     SAGINAW            MI 48602‐3326
MARTINEZ, ENRIQUE G       8506 ARIZONA TRL                                                                                  WILLOW SPGS         IL 60480‐1074
MARTINEZ, ERASMO          5185 STRATEMEYER DR                                                                               ORLANDO            FL 32839‐2984
MARTINEZ, ERASTO          5331 S AUSTIN AVE                                                                                 CHICAGO             IL 60638‐2631
MARTINEZ, ERIK NOAH
MARTINEZ, ERNEST J        9 REDWOOD DR                                                                                      ORLANDO           FL    32807‐4462
MARTINEZ, ERNEST S        11805 CHELSEA CHASE                                                                               OKLAHOMA CITY     OK    73170‐3623
MARTINEZ, ESTER           4150 MC KEE ST                                                                                    LE GRAND          CA    95333‐9763
MARTINEZ, ESTER           4150 S MC KEE ST                                                                                  LE GRAND          CA    95333‐9763
MARTINEZ, ESTHER          15646 STONE CROSSING DR                                                                           SOUTHFIELD        MI    48075‐3682
MARTINEZ, ESTHER G        1340 RING RD APT 510                BLDG 2                                                        CALUMET CITY      IL    60409‐5424
MARTINEZ, EVANGELINA      12937 ROBIN LN                                                                                    CHINO             CA    91710‐3808
MARTINEZ, EVANGELINA E    10938 TAMARACK AVE                                                                                PACOIMA           CA    91331‐2815
MARTINEZ, EVELIA
MARTINEZ, EVELYN S        213 CLEMMENSEN AVE                                                                                MADERA            CA 93637‐5405
MARTINEZ, EZEKIAL M       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA 23510‐2212
                                                              STREET, SUITE 600
MARTINEZ, FELIPE P        2705 SIERRA RD                                                                                    SAN JOSE          CA 95132‐2642
MARTINEZ, FERDINAND       6114 PINE CREEK CT                                                                                GRAND BLANC       MI 48439‐9768
MARTINEZ, FERNANDO        LYTAL REITER CLARK FOUNTAIN &       515 N. FLAGLER DRIVER,                                        WEST PALM BEACH   FL 33401
                          WILLIAMS                            NORTHBRIDGE CENTER ‐ 10TH
                                                              FLOOR
MARTINEZ, FETUS           2221 S STATE ST APT 17                                                                            UKIAH              CA   95482‐6749
MARTINEZ, FIDEL           3704 HUNTLEY RD                                                                                   SAGINAW            MI   48601‐5135
MARTINEZ, FLAVIO          5919 EDITH AVE                                                                                    KANSAS CITY        KS   66104‐1421
MARTINEZ, FRANCES L       1827 REX ST                                                                                       LANSING            MI   48910‐3627
MARTINEZ, FRANCISCA       COL ESTANZUELA BLDK D #7            DEPARTMENT LA LIBERTAD                    QUEZALTEPEQUE EL
                                                                                                        SALVADOR
MARTINEZ, FRANCISCA       CADDELL & CHAPMAN                   1331 LAMAR ST STE 1070                                        HOUSTON            TX 77010‐3036
MARTINEZ, FRANCISCA       2811 DAVENPORT AVE APT 305                                                                        SAGINAW            MI 48602
MARTINEZ, FRANCISCO       JUSTMAN APC LAW OFFICES OF JONATHAN 522 S SEPULVEDA BLVD STE 112                                  LOS ANGELES        CA 90049‐3538
                          S
MARTINEZ, FRANCISCO J     11 BUTLER RIDGE CT                                                                                SAINT PETERS      MO    63376‐2258
MARTINEZ, FRANCISCO M     1422 W COURT ST                     FAMILY SERVICE AGENCY                                         FLINT             MI    48503‐5008
MARTINEZ, FRANK C         36096 BETTENCOURT ST                                                                              NEWARK            CA    94560‐1506
MARTINEZ, FRANK D         52 VERNON PL                                                                                      BUFFALO           NY    14214‐2014
MARTINEZ, FRANK JOHN      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA    23510‐2212
                                                              STREET, SUITE 600
MARTINEZ, FRANK L         10102 SHADOWRIDGE DR                                                                              OKLAHOMA CITY     OK    73159‐7531
MARTINEZ, FRANK W         17170 GRESHAM ST                                                                                  NORTHRIDGE        CA    91325‐3206
MARTINEZ, FRANK W         1711 CORONADO STREET                                                                              ALLEN             TX    75013‐4938
MARTINEZ, FRANKLIN        1235 BRADFORD AVE APT 3D                                                                          BRONX             NY    10461‐5963
MARTINEZ, FRED R          6385 GALLETTA DR                                                                                  NEWARK            CA    94560‐3708
MARTINEZ, FREDDIE J       20221 WINFRED DR                                                                                  TANNER            AL    35671‐3534
MARTINEZ, GABRIEL R       2600 CHANDLER DR APT 518                                                                          BOWLING GREEN     KY    42104‐6240
MARTINEZ, GABRIEL RUBEN   2600 CHANDLER DR APT 518                                                                          BOWLING GREEN     KY    42104‐6240
MARTINEZ, GEORGE V        213 CAMBRIDGE ST                                                                                  BAY CITY          MI    48708‐6990
MARTINEZ, GEORGINA O      1028 MADISON AVENUE                                                                               DEFIANCE          OH    43512‐3122
MARTINEZ, GERARDO         5414 MOUNT DRIVE                                                                                  SCHERERVILLE      IN    46375‐3376
MARTINEZ, GILBERT         4640 SHERBOURNE AVE                                                                               WATERFORD         MI    48327‐3255
MARTINEZ, GILBERT         100 BARCELONA DR                    APT 108                                                       FOSTORIA          OH    44830
MARTINEZ, GILBERT         KEVIN ADLEY ‐ ADLEY LAW FIRM        4900 WOODWAY DR STE 1000                                      HOUSTON           TX    77056‐1853
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Name                           Address1                         Address2                Address3     Address4         City              State Zip
MARTINEZ, GILBERT L            6430 ORION RD                                                                          ROCHESTER HILLS    MI 48306‐3440
MARTINEZ, GILBERT M            634 ELMWOOD DR                                                                         SAN ANTONIO        TX 78212‐2114
MARTINEZ, GILBERTO             5187 SOARD ST.                                                                         FORT WORTH         TX 76119
MARTINEZ, GILBERTO E           2614 W WASHTENAW ST                                                                    LANSING            MI 48917‐3866
MARTINEZ, GILBERTO G           2720 SONORA AVE                                                                        MCALLEN            TX 78503‐7948
MARTINEZ, GILDARDO             12257 SATICOY ST                                                                       N HOLLYWOOD        CA 91605‐3027
MARTINEZ, GLEN R               7328 BELLE MEADE ST                                                                    YPSILANTI          MI 48197‐1865
MARTINEZ, GLORIA               2816 N ASHLAND AVE                                                                     CHICAGO             IL 60657‐4002
MARTINEZ, GLORIA               PO BOX 274                                                                             BRIDGEPORT         MI 48722
MARTINEZ, GLORIA               227 HOLLEY DR APT 213                                                                  BOWLING GREEN      OH 43402‐3432
MARTINEZ, GLORIA               2816 NORTH ASHLAND AVENUE                                                              CHICAGO             IL 60657‐4002
MARTINEZ, GREGORIO R           3143 N JENNINGS RD                                                                     FLINT              MI 48504‐1766
MARTINEZ, GUADALUPE            3605 COLOSSEUM WAY                                                                     GRAND PRAIRIE      TX 75052‐7007
MARTINEZ, GUADALUPE            PO BOX 7057                                                                            DEFIANCE           OH 43512‐7057
MARTINEZ, GUADALUPE
MARTINEZ, GUADALUPE G          10113 E OSAGE AVE                                                                      MESA              AZ   85212‐2363
MARTINEZ, GUILLERMIN           9731 SW 32ND ST                                                                        MIAMI             FL   33165‐3027
MARTINEZ, GUILLERMO            SMITH MICHAEL F                  1665 E 4TH ST STE 101                                 SANTA ANA         CA   92701‐5139
MARTINEZ, GUILLERMO            664 WASHINGTON AVE                                                                     TYRONE            PA   16686‐1341
MARTINEZ, GUILLERMO            622 S PHILADELPHIA ST                                                                  ANAHEIM           CA   92805‐4743
MARTINEZ, GUSTAVO P            13840 BROMWICH ST                                                                      ARLETA            CA   91331
MARTINEZ, HAYDEE               PO BOX 527                                                                             BRONX             NY   10468‐0527
MARTINEZ, HECTOR               1902 COLLINGWOOD AVE                                                                   SAGINAW           MI   48601‐3617
MARTINEZ, HECTOR M             2674 SHIRLEY DR                                                                        INDIANAPOLIS      IN   46222‐1476
MARTINEZ, HECTOR M             6852 SW 20TH ST                                                                        POMPANO BEACH     FL   33068‐4842
MARTINEZ, HENRIETTA            5413 W 89TH ST                                                                         OAK LAWN          IL   60453‐1258
MARTINEZ, HENRIETTA            5413 WEST 89TH STREET                                                                  OAK LAWN          IL   60453‐1258
MARTINEZ, HENRY                9262 LEV AVE                                                                           ARLETA            CA   91331‐4720
MARTINEZ, HENRY H              3205 PENROSE AVENUE                                                                    TOLEDO            OH   43614‐5339
MARTINEZ, HIPOLITO H           41795 RIGGS RD                                                                         BELLEVILLE        MI   48111‐3081
MARTINEZ, HOWARD C             22977 VALLEY VIEW DR                                                                   SOUTHFIELD        MI   48033‐3126
MARTINEZ, HUMBERTO             728 PARIS DR                                                                           KISSIMMEE         FL   34759‐7017
MARTINEZ, IGNACIO M            4320 W COLONY RD                                                                       SAINT JOHNS       MI   48879‐9714
MARTINEZ, ILDEFONSO S          11370 AUTUMN BREEZE TRL                                                                CLIO              MI   48420‐1592
MARTINEZ, ILDEFONSO SANTIAGO   11370 AUTUMN BREEZE TRL                                                                CLIO              MI   48420‐1592
MARTINEZ, IPOLITO E            22823 ELM AVENUE                                                                       TORRANCE          CA   90505‐2927
MARTINEZ, IRENE A              24709 RIVERCHASE DR 2409                                                               VALENCIA          CA   91355‐1441
MARTINEZ, ISAIAH
MARTINEZ, ISMAEL               15573 DEEP CANYON LANE                                                                 VICTORVILLE       CA   92394‐2394
MARTINEZ, ISMENIA              645 CENTRAL AVE 2A                                                                     BROOKLYN          NY   11207
MARTINEZ, IVAN F               1362 HIGHWOOD BLVD                                                                     PONTIAC           MI   48340‐1926
MARTINEZ, JACKIE J             1884 OLIVEWOOD AVE                                                                     MANTECA           CA   95336‐2870
MARTINEZ, JAIME
MARTINEZ, JAMES                2383 W LAKE RD                                                                         CLIO              MI   48420‐8838
MARTINEZ, JAMES A              1625 MARSHBANK DR                                                                      PONTIAC           MI   48340
MARTINEZ, JANELL D             PO BOX 67601                                                                           ALBUQUERQUE       NM   87193‐7601
MARTINEZ, JASON                2011 COE CT                                                                            PERRYSBURG        OH   43551‐5601
MARTINEZ, JAVIER               345 PLANET ST                                                                          ROCHESTER         NY   14606‐3044
MARTINEZ, JENNAFER MARIE
MARTINEZ, JENNIE M             315 S MONROE                                                                           BAY CITY          MI 48708‐7210
MARTINEZ, JENNIFER
MARTINEZ, JESSE M              1019 MADRID LN                                                                         WEIDMAN            MI 48893‐8824
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Name                       Address1                         Address2                  Address3   Address4         City              State Zip
MARTINEZ, JESSE N          265 HAZEN ST                                                                           MILPITAS           CA 95035‐2847
MARTINEZ, JESUS            16711 CLUB DR                                                                          SOUTHGATE          MI 48195‐6509
MARTINEZ, JESUS L          2633 PORTER ST                                                                         DETROIT            MI 48216‐1737
MARTINEZ, JESUS V          620 J ST                                                                               BEDFORD            IN 47421‐2334
MARTINEZ, JOAQUIN          1709 CLEVELAND AVE SW                                                                  WYOMING            MI 49509‐1368
MARTINEZ, JOBETA           7726 N SHANNON AVE                                                                     KANSAS CITY        MO 64152‐4218
MARTINEZ, JOBETA           7726 NORTH SHANNON                                                                     KANSAS CITY        MO 64152‐4218
MARTINEZ, JODI R           3149 WOLF CREEK HWY                                                                    ADRIAN             MI 49221
MARTINEZ, JOE              8921 NIVER AVE                                                                         ALLEN PARK         MI 48101‐1539
MARTINEZ, JOE I            1605 HOTEL CIR S, B 204                                                                SAN DIEGO          CA 92108
MARTINEZ, JOE M            56 COUNTRY RD 122                                                                      ESPANOLA           NM 87532
MARTINEZ, JOE P            26147 EVERGREEN DR                                                                     HAYWARD            CA 94544‐2737
MARTINEZ, JOE R            6850 V V JONES RD                                                                      VENUS              TX 76084‐4636
MARTINEZ, JOE R            1243 W DUBLIN ST                                                                       CHANDLER           AZ 85224‐3534
MARTINEZ, JOHN             449 MAYFLOWER AVE                                                                      LINCOLN PARK       MI 48146‐3037
MARTINEZ, JOHN             2133 SUNSET LN                                                                         SAGINAW            MI 48604‐2443
MARTINEZ, JOHN             1003 S WINTER ST                                                                       ADRIAN             MI 49221‐3854
MARTINEZ, JOHN A           9500 W RIDGEVILLE RD                                                                   MORENCI            MI 49256‐9533
MARTINEZ, JOHN E           9720 NW OVERHILL DR                                                                    PARKVILLE          MO 64152‐2654
MARTINEZ, JOHN E           3909 CHETWOOD DR                                                                       DEL CITY           OK 73115‐2805
MARTINEZ, JOHN G           493 N JOHNSON ST                                                                       PONTIAC            MI 48342‐1254
MARTINEZ, JOHN J           6758 E JEFFERSON RD                                                                    BRECKENRIDGE       MI 48615‐9738
MARTINEZ, JOHN K           534 OSPREY LAKES CIRCLE                                                                CHULUOTA           FL 32766‐6658
MARTINEZ, JOHN L           2933 FORT PARK BLVD                                                                    LINCOLN PARK       MI 48146‐3307
MARTINEZ, JOHN L           22185 CHURCHVIEW DR                                                                    TRENTON            MI 48183‐5253
MARTINEZ, JOHNNIE M        1855 DAYTON ST                                                                         SAGINAW            MI 48601‐4941
MARTINEZ, JOHNNIE MANUEL   1855 DAYTON ST                                                                         SAGINAW            MI 48601‐4941
MARTINEZ, JOHNNY S         14530 FILMORE ST                                                                       ARLETA             CA 91331‐5015
MARTINEZ, JON R            10434 MOUNTAIN GLEN TER                                                                SAN DIEGO          CA 92131‐1352
MARTINEZ, JONATHAN M       WHITWORTH JIM O LAW OFFICES OF   8840 WARNER AVE STE 301                               FOUNTAIN VALLEY    CA 92708‐3234
MARTINEZ, JORGE            2000 BATHGATE AVE                                                                      BRONX              NY 10457‐4412
MARTINEZ, JORGE C          2211 SKYLARK DR                                                                        ARLINGTON          TX 76010‐8111
MARTINEZ, JOSE             321 WEBBER ST                                                                          SAGINAW            MI 48601‐4849
MARTINEZ, JOSE             PO BOX 70827                                                                           RIVERSIDE          CA 92513‐0827
MARTINEZ, JOSE             142 COMET ST                                                                           MOUNT CLEMENS      MI 48043‐1505
MARTINEZ, JOSE             302 W MAYBERRY ST                                                                      LAREDO             TX 78041‐3158
MARTINEZ, JOSE             315 MARVIN AVE                                                                         HACKENSACK         NJ 07601‐1835
MARTINEZ, JOSE A           600 MRG DR                                                                             SAN BENITO         TX 78586
MARTINEZ, JOSE A           1901 JOSLIN ST                                                                         SAGINAW            MI 48602‐1124
MARTINEZ, JOSE A           275 W GRAND BLVD APT 117                                                               DETROIT            MI 48216‐1799
MARTINEZ, JOSE E           27109 DARTMOUTH ST                                                                     MADISON HEIGHTS    MI 48071
MARTINEZ, JOSE F           74 E NEWPORT AVE                                                                       PONTIAC            MI 48340‐1253
MARTINEZ, JOSE I           3100 BRIGHTON AVE                                                                      WALL TOWNSHIP      NJ 07719‐4438
MARTINEZ, JOSE J           3843 S ALBANY AVE                                                                      CHICAGO             IL 60632‐2338
MARTINEZ, JOSE J           6758 E JEFFERSON RD                                                                    BRECKENRIDGE       MI 48615‐9738
MARTINEZ, JOSE M           2800 DUNLAP ST                                                                         LANSING            MI 48911‐1721
MARTINEZ, JOSE P
MARTINEZ, JOSE R           8918 BRAE VIS                                                                          SAN ANTONIO       TX   78249‐4151
MARTINEZ, JOSE R           4515 OCEAN VIEW BLVD APT A                                                             SAN DIEGO         CA   92113‐1919
MARTINEZ, JOSE S           2400 LEXINGTON DR                                                                      ARLINGTON         TX   76014‐1325
MARTINEZ, JOSE S           7500 SW 97TH AVE                                                                       MIAMI             FL   33173‐3203
MARTINEZ, JOSE T           6611 MAMMOTH AVE                                                                       VAN NUYS          CA   91405‐4813
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Name                      Address1                         Address2                      Address3   Address4         City               State Zip
MARTINEZ, JOSE W          14091 CHAMBERLAIN ST                                                                       SAN FERNANDO        CA 91340‐3846
MARTINEZ, JOSEFINA        3536 JERREE ST                                                                             LANSING             MI 48911‐2632
MARTINEZ, JOSEPH A        3830 W MONTE VISTA AVE                                                                     VISALIA             CA 93277‐7057
MARTINEZ, JOSEPH D        6835 CHURCH ST                                                                             RIVERDALE           GA 30274‐2307
MARTINEZ, JOSEPH F        21304 E 4TH ST S                                                                           INDEPENDENCE        MO 64056‐3728
MARTINEZ, JOSEPH M        3250 BEATTIE RD                                                                            HOWELL              MI 48843‐8834
MARTINEZ, JOSEPH M        195 CRANBROOK DR                                                                           HOWELL              MI 48843‐7828
MARTINEZ, JOSEPH P        5716 STAHELIN AVE                                                                          DETROIT             MI 48228‐4733
MARTINEZ, JOSEPH R        465 SANTA MONICA                                                                           SAN LEANDRO         CA 94579‐1946
MARTINEZ, JOSEPH W        PO BOX 200942                                                                              ARLINGTON           TX 76006‐0942
MARTINEZ, JOSHUA          2885 W SNOVER RD                                                                           MAYVILLE            MI 48744‐9772
MARTINEZ, JOSIE R         3003 GEORGE ST                                                                             BACLIFF             TX 77518‐2036
MARTINEZ, JOSIE RUBIO     3003 GEORGE ST                                                                             BACLIFF             TX 77518‐2036
MARTINEZ, JR.,SAMUEL      4627 MOURNING DOVE LN                                                                      WICHITA FALLS       TX 76305‐5227
MARTINEZ, JUAN            4404 POPLAR BROOK DR                                                                       COLORADO SPRINGS    CO 80922‐2452
MARTINEZ, JUAN            2002 GRANDE CT APT 114                                                                     KISSIMMEE           FL 34743‐3546
MARTINEZ, JUAN            PO BOX 561243                                                                              GUAYANILLA          PR 00656‐3243
MARTINEZ, JUAN            PO BOX 171040                                                                              KANSAS CITY         KS 66117‐0040
MARTINEZ, JUAN            1025 N GILBERT ST                                                                          DANVILLE             IL 61832‐3848
MARTINEZ, JUAN
MARTINEZ, JUAN A          3319 TOWN CROSSING DR SW                                                                   GRANDVILLE         MI   49418‐3159
MARTINEZ, JUAN A          9877 FREEDOMS WAY                                                                          KEITHVILLE         LA   71047‐9229
MARTINEZ, JUAN A          1476 MUSTANG DRIVE                                                                         DEFIANCE           OH   43512‐1384
MARTINEZ, JUAN CARLOS     23 E J ST                                                                                  SPARKS             NV   89431
MARTINEZ, JUAN CARLOS
MARTINEZ, JUAN D          1804 LOST CROSSING TRL                                                                     ARLINGTON          TX   76002‐3634
MARTINEZ, JUAN F          COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                   HOUSTON            TX   77002‐1751
MARTINEZ, JUAN J          1411 CHATEAU LN                                                                            MANSFIELD          TX   76063‐6232
MARTINEZ, JUAN J          8754 S MARQUETTE AVE                                                                       CHICAGO            IL   60617‐2418
MARTINEZ, JUAN M          10601 CAPTAIN VALTR ST                                                                     EL PASO            TX   79924‐1806
MARTINEZ, JUAN M          4005 CARMEN AVE                                                                            RANCHO VIEJO       TX   78575‐9552
MARTINEZ, JUAN R          2325 WEILER BLVD                                                                           FORT WORTH         TX   76112‐5041
MARTINEZ, JUAN R          1500 MARYDALE AVE                                                                          MIDWEST CITY       OK   73130‐1144
MARTINEZ, JUAN S          7404 COLDWATER RD                                                                          FLUSHING           MI   48433‐1120
MARTINEZ, JUANA           9602 DEBRA JOY LANE                                                                        SHREVEPORT         LA   71106‐7511
MARTINEZ, JULIAN G        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                           STREET, SUITE 600
MARTINEZ, JULIAN S        10101 SE 45TH ST                                                                           OKLAHOMA CITY      OK   73150‐4405
MARTINEZ, KAROL L         1503 E BURT RD                                                                             BURT               MI   48417‐9432
MARTINEZ, KAROL L         1503 EASTBURT RD                                                                           BURT               MI   48417
MARTINEZ, KATHERINE       PO BOX 204                                                                                 CARROLLTON         MI   48724‐0204
MARTINEZ, KATHERINE       PO BOX 204                       3534 MADISON                                              CARROLLTON         MI   48724‐0204
MARTINEZ, KATHY           2785 CHURCHILL RD                                                                          AUBURN HILLS       MI   48326‐2903
MARTINEZ, KAY L           38582 FRIENDLY AVE                                                                         PALMDALE           CA   93550‐3819
MARTINEZ, KEITH M         APT 17212                        6758 LAKEVIEW BOULEVARD                                   WESTLAND           MI   48185‐6607
MARTINEZ, KIMBERLY        405 SILVERWOOD CT                                                                          SAINT PETERS       MO   63376‐7339
MARTINEZ, LARRY S         4955 DENVER ST                                                                             MONTCLAIR          CA   91763
MARTINEZ, LAURA           5187 SOARD ST.                                                                             FORT WORTH         TX   76119
MARTINEZ, LAURA C         615 JULIA ST                                                                               LANSING            MI   48910‐5427
MARTINEZ, LAURA NARVAEZ
MARTINEZ, LEANDRO         2116 MAPLEWOOD AVE                                                                         SAGINAW            MI 48601‐3603
MARTINEZ, LEO             3435 LANFRANCO ST                                                                          LOS ANGELES        CA 90063‐2910
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Name                         Address1                                Address2                Address3   Address4         City               State Zip
MARTINEZ, LEO                448 B STREET                                                                                FILLMORE            CA 93015‐1215
MARTINEZ, LESLIE E           27674 LA PORTE AVE                                                                          HAYWARD             CA 94545‐4743
MARTINEZ, LESLIE E           27674 LAPORTE AVE                                                                           HAYWARD             CA 94545‐4743
MARTINEZ, LINDA S            85 3RD STREET                                                                               DEERBORN HEIGHTS    MI 48127
MARTINEZ, LINDA S            85 3RD ST                                                                                   DEARBORN HEIGHTS    MI 48127‐1932
MARTINEZ, LIONEL V           12607 TELEPHONE AVE                                                                         CHINO               CA 91710‐3422
MARTINEZ, LISA               9635 STATE RD                                                                               MILLINGTON          MI 48746‐9482
MARTINEZ, LIZET              RESIDENCIAL LA CRUZ EDIFICION B APT B                                                       MOCAE               PR 00676

MARTINEZ, LORENZO            647 BEXAR DRIVE                                                                             SAN ANTONIO        TX   78228‐4108
MARTINEZ, LORENZO            PO BOX 2170                                                                                 LYNN               MA   01903‐2170
MARTINEZ, LORENZO F          1199 WESTLAKE RD                                                                            RENO               NV   89523‐1719
MARTINEZ, LORI A             PO BOX 3592                                                                                 BAYTOWN            TX   77522‐3592
MARTINEZ, LORI ANN           PO BOX 3592                                                                                 BAYTOWN            TX   77522‐3592
MARTINEZ, LOUIS J            478 FORT GRAY DR                                                                            LEWISTON           NY   14092‐1940
MARTINEZ, LOUIS O            6536 STONEBROOK LN                                                                          FLUSHING           MI   48433‐2593
MARTINEZ, LOUIS OMAR         6536 STONEBROOK LN                                                                          FLUSHING           MI   48433‐2593
MARTINEZ, LUCINDO W          1913 WILDER ST                                                                              RENO               NV   89512‐1939
MARTINEZ, LUCIO              2716 N SAINT LOUIS AVE                                                                      CHICAGO            IL   60647‐1229
MARTINEZ, LUIS
MARTINEZ, LUIS               PARCELLA 1172                                                                               SAVAN SECA         PR   00952
MARTINEZ, LUIS               911 S 4TH ST                                                                                MILWAUKEE          WI   53204‐1726
MARTINEZ, LUIS H             11202 FORBES AVE                                                                            GRANADA HILLS      CA   91344‐4233
MARTINEZ, LUIS HENRY         11202 FORBES AVE                                                                            GRANADA HILLS      CA   91344‐4233
MARTINEZ, LUIS N             13827 DAVENTRY ST                                                                           PACOIMA            CA   91331‐1805
MARTINEZ, LUIS S             550 40TH ST                                                                                 UNION CITY         NJ   07087‐2603
MARTINEZ, LUPE R             11946 MOLETTE ST                                                                            NORWALK            CA   90650‐6549
MARTINEZ, LUPE R             11946 MOLLETTE ST                                                                           NORWALK            CA   90650‐6549
MARTINEZ, LUSIA A            796 GEORGIA                                                                                 BELLEVILLE         MI   48111‐9088
MARTINEZ, LYDIA              4020 CALLE PUEBLA                                                                           LAREDO             TX   78048‐8768
MARTINEZ, LYDIA E            707 S THACKER AVE                                                                           KISSIMMEE          FL   34741‐6223
MARTINEZ, M                  25891 MADELINE LN                                                                           HAYWARD            CA   94545‐2915
MARTINEZ, MANUEL             9154 NICHOLS RD                                                                             MONTROSE           MI   48457‐9111
MARTINEZ, MANUEL             718 HOYT AVE                                                                                SAGINAW            MI   48607‐1714
MARTINEZ, MANUEL A           344 GLEN WAY                                                                                FILLMORE           CA   93015‐1743
MARTINEZ, MANUEL O           PO BOX 2642                                                                                 EAGLE PASS         TX   78853‐2642
MARTINEZ, MANUEL T           4508 NW APACHE DR                                                                           RIVERSIDE          MO   64150‐9707
MARTINEZ, MARCO J            2501 KLEM AVE                                                                               LINDEN             NJ   07036‐1343
MARTINEZ, MARCOS E           3181 KING RD                                                                                SAGINAW            MI   48601‐5831
MARTINEZ, MARCUS M           3341 BRONSON LAKE RD                                                                        LAPEER             MI   48446‐9001
MARTINEZ, MARGARET J         12601 HADDON AVE                                                                            SYLMAR             CA   91342‐3639
MARTINEZ, MARGARET M         1917 BROARDFORD DR                                                                          FOLSOM             CA   95630
MARTINEZ, MARGARITA          4736 NOTH KILPATRICK                                                                        CHICAGO            IL   60630
MARTINEZ, MARGARITA          861 CLIFTON AVE                         1ST FLOOR                                           NEWARK             NJ   07104
MARTINEZ, MARGARITO          2945 W BRIDGEPORT AVE                                                                       ANAHEIM            CA   92804‐2049
MARTINEZ, MARGARITO RIVERA
MARTINEZ, MARI               4115 NORFOLK CT 3                                                                           LANSING            MI   48910
MARTINEZ, MARIA              1506 WESTGATE DR                                                                            DEFIANCE           OH   43512‐3253
MARTINEZ, MARIA              TRACY E TODD                            5473 BLAIR RD STE 200                               DALLAS             TX   75231‐4168
MARTINEZ, MARIA              805 S WALNUT ST                                                                             LA MONTE           MO   65337‐1241
MARTINEZ, MARIA A            1939 S CENTRAL AVE                                                                          CICERO             IL   60804‐2233
MARTINEZ, MARIA A.           4707 VALLEY CREST DR APT 208                                                                MIDLOTHIAN         VA   23112‐2666
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Name                         Address1                         Address2                   Address3   Address4         City              State Zip
MARTINEZ, MARIA E            660 NW 217TH WAY                                                                        PEMBROKE PINES     FL 33029‐1020
MARTINEZ, MARIA E            660 N W 217TH WAY                                                                       PEMBROOKE PINES    FL 33029‐1020
MARTINEZ, MARIA ELIA         1308 WHITTIER                    WATERFORD                                              WATERFORD          MI 48327‐1644
MARTINEZ, MARIA ELIA         1308 WHITTIER DR                 WATERFORD                                              WATERFORD          MI 48327‐1644
MARTINEZ, MARIA FELICITAS    MILLER MICHAEL LAW OFFICES OF    926 CHULIE DR                                          SAN ANTONIO        TX 78216‐6522
MARTINEZ, MARIA I            6070 PRIORY STREET                                                                      BELL GARDENS       CA 90201
MARTINEZ, MARIA I            6070 PRIORY ST                                                                          BELL GARDENS       CA 90201‐4720
MARTINEZ, MARIA J            23843 WEST HIDALGO AVENUE                                                               BUCKEYE            AZ 85326‐7008
MARTINEZ, MARIA J            23843 W HIDALGO AVE                                                                     BUCKEYE            AZ 85326‐7008
MARTINEZ, MARIA R            3611 W 56TH ST                                                                          CHICAGO             IL 60629‐3816
MARTINEZ, MARIA V            137 FILLMORE PL                                                                         BAY CITY           MI 48708‐5562
MARTINEZ, MARIA Y            111 VIENTO DORADO ST                                                                    MISSION            TX 78572
MARTINEZ, MARIANO M          1227 FRASER AVE                                                                         LOS ANGELES        CA 90022‐3809
MARTINEZ, MARIE B            8040 LAMPHERE                                                                           DETROIT            MI 48239‐1114
MARTINEZ, MARILYN S          5 WALLGREN CT                                                                           SAGINAW            MI 48602‐3483
MARTINEZ, MARILYNN           WEITZ & LUXENBERG                180 MAIDEN LANE                                        NEW YORK           NY 10038
MARTINEZ, MARINDA I          369 RICHARDS ROAD                                                                       BAY CITY           MI 48706‐1843
MARTINEZ, MARINDA I          369 RICHARDS RD                                                                         BAY CITY           MI 48706‐1843
MARTINEZ, MARIO              730 N CYRESS ST #302                                                                    LYNWOOD            CA 90262
MARTINEZ, MARIO C            2608 PEBBLEBROOK ST                                                                     ARLINGTON          TX 76014‐1035
MARTINEZ, MARIO CRUZ         2608 PEBBLEBROOK ST                                                                     ARLINGTON          TX 76014‐1035
MARTINEZ, MARIO H            PO BOX 233                                                                              CARROLLTON         MI 48724‐0233
MARTINEZ, MARIO L            212 39TH ST                                                                             BAY CITY           MI 48708‐8269
MARTINEZ, MARIO LUIS         212 39TH ST                                                                             BAY CITY           MI 48708‐8269
MARTINEZ, MARISSA
MARTINEZ, MARISSA MICHELLE
MARTINEZ, MARITZA            811 FONDREN DR                                                                          ARLINGTON         TX   76001‐7591
MARTINEZ, MARK L             10211 EVENING TRAIL DR                                                                  RIVERVIEW         FL   33569
MARTINEZ, MARQUIADEZ         1514 UTAH AVE                                                                           FLINT             MI   48506‐2767
MARTINEZ, MARTA C            1916 WHITTENBURG DR                                                                     FORT WORTH        TX   76134‐3318
MARTINEZ, MARTH
MARTINEZ, MARTHA             1352 CHIPPENDALE RD                                                                     HOUSTON           TX   77018‐5236
MARTINEZ, MARTIN C           1355 DALTON RD                                                                          TOLEDO            OH   43612‐4208
MARTINEZ, MARTIN CRUZ        1355 DALTON RD                                                                          TOLEDO            OH   43612‐4208
MARTINEZ, MARVIN W           6065 TONZI RD                                                                           IONE              CA   95640‐9553
MARTINEZ, MARY
MARTINEZ, MARY               20221 WINFRED DR                                                                        TANNER            AL   35671‐5671
MARTINEZ, MARY               PO BOX 30350                     OBO MARY MARTINEZ                                      LANSING           MI   48909‐7850
MARTINEZ, MARY J             APT 216                          3131 NORTH SQUIRREL ROAD                               AUBURN HILLS      MI   48326‐3951
MARTINEZ, MARY J             527 E WOODWORTH ST                                                                      BAD AXE           MI   48413‐1544
MARTINEZ, MARY JEAN          38017 VALLEJO ST                                                                        FREMONT           CA   94536‐1745
MARTINEZ, MARY L             131 LORBERTA LN                                                                         WATERFORD         MI   48328‐3042
MARTINEZ, MARY R             15380 RYAN STREET                                                                       SYLMAR            CA   91342‐3650
MARTINEZ, MARY T             24341 CHRISTIAN DR                                                                      FLAT ROCK         MI   48134‐9110
MARTINEZ, MARYANNE A         518 ORMSEY ST                                                                           ADRIAN            MI   49221‐2344
MARTINEZ, MARYANNE A         615 MAUMEE AVE                                                                          TOLEDO            OH   43609‐3313
MARTINEZ, MATEO              216 UNION AVE                                                                           PEEKSKILL         NY   10566‐3433
MARTINEZ, MELISSA            902 E AVENUE C                                                                          ROBSTOWN          TX   78380‐3119
MARTINEZ, MELISSA
MARTINEZ, MELISSA            902 AVE C                                                                               ROBSTOWN          TX 78380
MARTINEZ, MELVIN G           HC 64 BOX 21‐15                                                                         SANTA CRUZ        NM 87567‐9705
MARTINEZ, MERCEDES           2 PINE ST                                                                               CARTERET          NJ 07008‐2117
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Name                      Address1                           Address2                     Address3   Address4                City            State Zip
MARTINEZ, MICHAEL
MARTINEZ, MICHAEL         4605 BEACH RIDGE RD                                                                                LOCKPORT         NY   14094‐9612
MARTINEZ, MICHAEL         1327 W COMMERCE ST                                                                                 LEWISBURG        TN   37091‐3127
MARTINEZ, MICHAEL A       3722 CALMONT                                                                                       FORT WORTH       TX   76107
MARTINEZ, MICHAEL D       205 W HOUSTONIA AVE                                                                                ROYAL OAK        MI   48073‐4189
MARTINEZ, MICHAEL M       3050 MERWOOD DR                                                                                    MOUNT MORRIS     MI   48458‐8208
MARTINEZ, MIGUEL          3811 HALLIE AVE                                                                                    SAN ANTONIO      TX   78210‐5761
MARTINEZ, MIGUEL          PARK JAMES J LAW OFFICES OF        445 S FIGUEROA ST STE 2700                                      LOS ANGELES      CA   90071‐1632
MARTINEZ, MIGUEL A        HC‐03 BOX 11966                                                            JUANA DIAZ 00795‐9565
                                                                                                     PUERTA RICO
MARTINEZ, MIGUEL D        PO BOX 67601                                                                                       ALBUQUERQUE     NM    87193‐7601
MARTINEZ, MIKE            3901 KENDALWOOD DR                                                                                 LANSING         MI    48911‐2140
MARTINEZ, MIKE            35602 FLORANE STREET                                                                               WESTLAND        MI    48186‐4144
MARTINEZ, MIKE A          6320 N CENTER RD                                                                                   SAGINAW         MI    48604‐9761
MARTINEZ, MIKE C          195 W ROSEWOOD AVE APT 35                                                                          DEFIANCE        OH    43512‐3468
MARTINEZ, MIKE J          1529 N FRIES AVE                                                                                   WILMINGTON      CA    90744‐2035
MARTINEZ, MILTON          1923 OAKBROOKE DR APT 4                                                                            HOWELL          MI    48843‐6322
MARTINEZ, MIRIAM G        9602 DEBRA JOY LN                                                                                  SHREVEPORT      LA    71106‐7511
MARTINEZ, MONA C          7814 E PALM LN                                                                                     MESA            AZ    85207
MARTINEZ, MYRA
MARTINEZ, NANCY           480 22ND ST                                                                                        NIAGARA FALLS    NY   14303‐1728
MARTINEZ, NANCY           480 22ND STREET                                                                                    NIAGARA FALLS    NY   14303‐1728
MARTINEZ, NAVE            2232 CALIFORNIA AVE                                                                                SAGINAW          MI   48601‐5306
MARTINEZ, NICOLAS         4733 KAREL JEAN CT SW                                                                              WYOMING          MI   49519
MARTINEZ, NICOLAS         1038 LEE ST SW                                                                                     GRAND RAPIDS     MI   49509‐1360
MARTINEZ, NORMA           414 EXECUTIVE CENTER BLVD 10                                                                       EL PASO          TX   79902
MARTINEZ, NORMA GENE
MARTINEZ, NORMA J         2959 SANFORD AVE SW                                                                                GRANDVILLE       MI   49418‐1327
MARTINEZ, NORMA P         3701 HAVENLAKE DR                                                                                  FLOWER MOUND     TX   75022‐8470
MARTINEZ, NORMA S         PO BOX 1493                        901 CANYON DR                                                   LEBEC            CA   93243‐1457
MARTINEZ, NUBIA           5105 S 33RD ST                                                                                     MCALLEN          TX   78503‐7434
MARTINEZ, OCTAVIANO       1011 MADRID LN                     PO BOX 104                                                      WEIDMAN          MI   48893‐8824
MARTINEZ, OFELIA
MARTINEZ, OFELIA          2307 W 47TH PL                                                                                     CHICAGO          IL   60609‐4006
MARTINEZ, OLGA            2834 HAMPSHIRE                                                                                     SAGINAW          MI   48601‐4563
MARTINEZ, OLGA            7624 RADFORD AVENUE                                                                                N HOLLYWOOD      CA   91605‐2857
MARTINEZ, ORALIA          30 GARDENIA DR                                                                                     DYER             IN   46311‐1376
MARTINEZ, ORALIA C        812 S PLATE ST                                                                                     KOKOMO           IN   46901
MARTINEZ, ORLANDO D       1211 TRENTON LN                                                                                    EULESS           TX   76040‐6367
MARTINEZ, ORLANDO DELIS   1211 TRENTON LN                                                                                    EULESS           TX   76040‐6367
MARTINEZ, OSCAR           4929 RECONTELEATEON DR                                                                             RALEIGH          NC   27603
MARTINEZ, OSCAR F         5300 WASHINGTON ST. BLD F APT116                                                                   HOLLYWOOD        FL   33021
MARTINEZ, OTHONIEL        5562 S SAGINAW RD                                                                                  FLINT            MI   48507‐4421
MARTINEZ, OTHONIEL        876 WILLOW DR                                                                                      SHREVEPORT       LA   71118‐4146
MARTINEZ, PABLO J         4159 GUERNSEY ST                                                                                   ADRIAN           MI   49221‐1012
MARTINEZ, PABLO J         3050 WESTWIND RD                   C/O RITA MARTINEZ                                               LAS VEGAS        NV   89146‐6859
MARTINEZ, PATRICK L       543 WOODBRIDGE CIR                                                                                 WATERFORD        MI   48327‐2876
MARTINEZ, PAUL C          1905 BURLINGTON CIR                                                                                COLUMBIA         TN   38401‐6809
MARTINEZ, PAUL J          PO BOX 642                                                                                         SEIAD VALLEY     CA   96086‐0642
MARTINEZ, PAULA C         PO BOX 7188                                                                                        CHICAGO          IL   60680‐7188
MARTINEZ, PAULA C         P O BOX 7188                                                                                       CHICAGO          IL   60680‐7188
MARTINEZ, PAULINE A       14738 LEE ST                                                                                       CEDAR LAKE       IN   46303‐9606
                          09-50026-mg            Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                      Address1                          Address2                      Address3   Address4         City              State Zip
MARTINEZ, PAULINE A       14738 LEE STREET                                                                            CEDAR LAKE         IN 46303
MARTINEZ, PAULINE S       PO BOX 180314                                                                               DALLAS             TX 75218‐0314
MARTINEZ, PEDRO           608 MAPLERIDGE                                                                              CARROLLTON         MI 48724
MARTINEZ, PEDRO           2727 EATON PL                                                                               FLINT              MI 48506‐1315
MARTINEZ, PEDRO           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                            STREET, SUITE 600
MARTINEZ, PEDRO E         39430 REGENCY WAY                                                                           PALM DESERT       CA   92211
MARTINEZ, PEDRO M         PO BOX 1771                                                                                 BROWNSVILLE       TX   78522‐1771
MARTINEZ, PEDRO S         14608 HIAWATHA ST                                                                           MISSION HILLS     CA   91345‐2218
MARTINEZ, PETE            KHERKER STEVEN JOSEPH             8441 GULF FWY STE 600                                     HOUSTON           TX   77017‐5051
MARTINEZ, PRISCILLA       2374 BARNSBURY RD                                                                           EAST LANSING      MI   48823‐7769
MARTINEZ, R C             1562 CHARTER OAK DR 116                                                                     ROCHESTER HILLS   MI   48309
MARTINEZ, RACHEL F        2881 2 MILE RD                                                                              BAY CITY          MI   48706‐1246
MARTINEZ, RAFAEL A        1517 BAYTREE DR                                                                             ROMEOVILLE        IL   60446‐4984
MARTINEZ, RALPH           STARR ROBERT L                    4768 PARK GRANADA STE 212                                 CALABASAS         CA   91302‐3349
MARTINEZ, RALPH M         19039 PLEASANTDALE ST                                                                       SANTA CLARITA     CA   91351‐3331
MARTINEZ, RAMIRO S        111 HUISACHE ST                                                                             MISSION           TX   78572‐5511
MARTINEZ, RAMON E         26183 ANNAGROVE LN                                                                          CHESTERFIELD      MI   48051‐2644
MARTINEZ, RAMON P         1540 SUNGATE DR                                                                             CERES             CA   95307‐9395
MARTINEZ, RAMONITA        3506 MUSTANG RD                                                                             JOLIET            IL   60435‐8761
MARTINEZ, RAUL            601 FAIRVIEW DR                                                                             MISSION           TX   78574‐7613
MARTINEZ, RAUL            NO ADDRESS
MARTINEZ, RAUL G          2920 TORREYA DR                                                                             MCKINNEY          TX   75071‐6264
MARTINEZ, RAY             1560 EIFERT RD LOT 37                                                                       HOLT              MI   48842‐1969
MARTINEZ, RAY A           501 BRINKBY AVE APT 1005                                                                    RENO              NV   89509‐4402
MARTINEZ, RAY A.          APT 1005                          501 BRINKBY AVENUE                                        RENO              NV   89509‐4402
MARTINEZ, RAYMOND L       19110 AVENUE OF THE OAKS UNIT D                                                             NEWHALL           CA   91321‐5385
MARTINEZ, RAYMUND         42025 W COLBY DR                                                                            MARICOPA          AZ   85238‐8644
MARTINEZ, RENE            16601 GARFIELD AVE SPC 85         GOLDEN STATE PARK                                         PARAMOUNT         CA   90723‐6391
MARTINEZ, RICARDO         604 E WALKER ST APT A                                                                       SAINT JOHNS       MI   48879
MARTINEZ, RICARDO A       3149 WOLF CREEK HWY                                                                         ADRIAN            MI   49221‐9120
MARTINEZ, RICHARD         13360 WESTMINISTER ST                                                                       SOUTHGATE         MI   48195‐3085
MARTINEZ, RICHARD         6569 PECK RD                                                                                BROWN CITY        MI   48416‐9014
MARTINEZ, RICHARD         1288 PINTO PASS                                                                             ALVIN             TX   77511‐4844
MARTINEZ, RICHARD B       760 SCOTTWOOD ST                                                                            PONTIAC           MI   48340‐3151
MARTINEZ, RICHARD D       1250 CHAPMANS RETREAT DR                                                                    SPRING HILL       TN   37174‐7131
MARTINEZ, RICHARD F       1402 MONROE ST                                                                              CARLETON          MI   48117‐9069
MARTINEZ, RICHARD FRANK   1402 MONROE ST                                                                              CARLETON          MI   48117‐9069
MARTINEZ, RICHARD I       305 NELSON PARK CIRCLE                                                                      MOORE             OK   73160‐8118
MARTINEZ, RICHARD J       85 SALZBURG RD                                                                              BAY CITY          MI   48706‐3476
MARTINEZ, RICHARD P       935 PACKARD DR                                                                              ARLINGTON         TX   76001‐7495
MARTINEZ, RICHARD R       1601 FAIRFIELD CT                                                                           NORMAL            IL   61761
MARTINEZ, RICHARD V       2231 MCCREE AVE                                                                             BISHOP            CA   93514‐1936
MARTINEZ, RICKY G         1513 EMILY ST                                                                               SAGINAW           MI   48601‐3037
MARTINEZ, RITA M          82 MAYER AVE                                                                                BUFFALO           NY   14207‐2131
MARTINEZ, ROBERT          SIMMONS FIRM                      PO BOX 521                                                EAST ALTON        IL   62024‐0519
MARTINEZ, ROBERT          5102 CLOVEDALE DR                                                                           WOODBURN          IN   46797‐9641
MARTINEZ, ROBERT          PO BOX 66                                                                                   MC CORDSVILLE     IN   46055‐0066
MARTINEZ, ROBERT          235 COUNTRYSIDE CIR APT 64E                                                                 KNOXVILLE         TN   37923‐6917
MARTINEZ, ROBERT          7111 RISING BROOK DR                                                                        CYPRESS           TX   77433‐2202
MARTINEZ, ROBERT A        PO BOX 2307                                                                                 PORTOLA           CA   96122‐2307
MARTINEZ, ROBERT A        7523 MEADOW GREEN ST                                                                        SAN ANTONIO       TX   78251‐1418
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Name                        Address1                         Address2                      Address3   Address4         City            State Zip
MARTINEZ, ROBERT F          22028 IRON HORSE PL                                                                        SANTA CLARITA    CA 91390‐5293
MARTINEZ, ROBERT J          38582 FRIENDLY AVE                                                                         PALMDALE         CA 93550‐3819
MARTINEZ, ROBERT L          4648 COLUMBUS ST APT B                                                                     BAKERSFIELD      CA 93306‐1366
MARTINEZ, ROBERT L          1224 MOONBEAM WAY                                                                          MILPITAS         CA 95035‐6222
MARTINEZ, ROBERT N          14981 FLORENTINE ST                                                                        SYLMAR           CA 91342‐5054
MARTINEZ, ROBERT T          12061 MARBEL AVE                                                                           DOWNEY           CA 90242‐2657
MARTINEZ, ROBERT T          304 S LINN ST                                                                              BAY CITY         MI 48706‐4945
MARTINEZ, ROBERTO           707 S THACKER AVE                                                                          KISSIMMEE        FL 34741‐6223
MARTINEZ, ROBERTO           3642 E STAGE RD                                                                            IONIA            MI 48846‐9798
MARTINEZ, ROBERTO           1601 SUNDOWN LN                                                                            SAN JOSE         CA 95127‐4558
MARTINEZ, ROBERTO           2581 LANIER DR                                                                             LANSING          MI 48911‐6414
MARTINEZ, ROBERTO           22426 FOXCROFT ST                                                                          WOODHAVEN        MI 48183‐1466
MARTINEZ, ROBERTO G         5178 DEWBERRY DR                                                                           SAGINAW          MI 48603‐1107
MARTINEZ, ROBERTO R         6355 ARMY ST                                                                               DETROIT          MI 48209‐2339
MARTINEZ, RODOLFO C         1 LEE PL                                                                                   PALM COAST       FL 32137‐9743
MARTINEZ, RODOLFO O         6150 W MICHIGAN AVE APT U17                                                                LANSING          MI 48917‐2436
MARTINEZ, RODOLFO OCHOA     6150 W MICHIGAN AVE APT U17                                                                LANSING          MI 48917‐2436
MARTINEZ, ROGELIO           812 S PLATE ST                                                                             KOKOMO           IN 46901‐5676
MARTINEZ, ROLAND H          1939 S CENTRAL AVE                                                                         CICERO            IL 60804‐2233
MARTINEZ, ROLAND S          2445 MEADOW VW                                                                             BEDFORD          TX 76021‐4929
MARTINEZ, ROSA M            PO BOX 2368                                                                                DEARBORN         MI 48123‐2368
MARTINEZ, ROSALINDA D       4407 LAMSON                                                                                SAGINAW          MI 48601
MARTINEZ, ROSALIO           13560 KAY ST                                                                               PAULDING         OH 45879‐8863
MARTINEZ, ROSARIO
MARTINEZ, ROSE              14462 SAYRE ST                                                                             SYLMAR          CA 91342‐5140
MARTINEZ, ROSEANNA
MARTINEZ, ROSEMARY          521 MARYLINN DR                                                                            MILPITAS        CA    95035‐4128
MARTINEZ, ROSENDO           1835 LAKESHORE DRIVE                                                                       FENNVILLE       MI    49408‐9781
MARTINEZ, ROSIE             7848 BACK AVE                                                                              NO HOLLYWOOD    CA    91605‐2609
MARTINEZ, ROY G             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA    23510‐2212
                                                             STREET, SUITE 600
MARTINEZ, RUBEN             230 ANDERSON ST                                                                            WILMER          TX    75172‐1038
MARTINEZ, RUBEN             4237 OAKCREST DR                                                                           LANSING         MI    48917‐4213
MARTINEZ, RUBEN             2804 S KOSTNER AVE                                                                         CHICAGO         IL    60623‐4220
MARTINEZ, RUBEN             3138 W FRANCES RD                                                                          CLIO            MI    48420‐8530
MARTINEZ, RUBEN V           4750 PASEO FORTUNA                                                                         PALMDALE        CA    93551‐2602
MARTINEZ, RUDOLPH G         1119 COLUMBUS AVE                                                                          LEHIGH ACRES    FL    33972‐3539
MARTINEZ, RUDOLPH Q         40893 CAMELLIA DR                                                                          HEMET           CA    92544‐7498
MARTINEZ, RUDY B            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA    23510‐2212
                                                             STREET, SUITE 600
MARTINEZ, RUDY D            7924 KATIE LN                                                                              WATAUGA         TX    76148‐1511
MARTINEZ, RUDY L            4320 HARDY ST                                                                              FORT WORTH      TX    76106‐2947
MARTINEZ, SAM               PO BOX 2172                                                                                ALBUQUERQUE     NM    87103‐2172
MARTINEZ, SAMUEL            1550 WINTER PARK LN                                                                        LEWISVILLE      TX    75077‐2405
MARTINEZ, SAMUEL GONZALEZ   MCGEE WILLIAM R LAW OFFICES OF   16855 W BERNARDO DR STE 380                               SAN DIEGO       CA    92127‐1626
MARTINEZ, SANDY J           5919 EDITH AVE                                                                             KANSAS CITY     KS    66104‐1421
MARTINEZ, SANJUANA
MARTINEZ, SANTIAGO          3517 WATERTON CV                                                                           FORT WAYNE       IN   46804‐8600
MARTINEZ, SANTOS J          2048 CANON PRESIDO CT                                                                      ATWATER          CA   95301‐4082
MARTINEZ, SANTOS J          2658 N SALFORD BLVD                                                                        NORTH PORT       FL   34286‐6937
MARTINEZ, SAUL              46419 WHITE CAP DR                                                                         MACOMB           MI   48044‐5757
MARTINEZ, SAVANNAH R        1106 COURTSIDE DRIVE                                                                       ARLINGTON        TX   76002‐5537
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Name                      Address1                         Address2                      Address3   Address4         City            State Zip
MARTINEZ, SELIA A         1827 REX ST                                                                                LANSING          MI 48910‐3627
MARTINEZ, SERGIO R        13966 FOX ST                                                                               SAN FERNANDO     CA 91340‐3724
MARTINEZ, SERVANDO P      803 N 11TH ST                                                                              DECATUR          IN 46733‐1109
MARTINEZ, SILA            17175 HARMAN ST                                                                            MELVINDALE       MI 48122‐1008
MARTINEZ, SOCORRO A       25891 MADELINE LN                                                                          HAYWARD          CA 94545‐2915
MARTINEZ, SOCORRO F       14414 CHATSWORTH DR                                                                        SAN FERNANDO     CA 91340‐4309
MARTINEZ, SOFIA G         431 CLAY ST                                                                                FILLMORE         CA 93015‐1517
MARTINEZ, SOFIA G         431 CLAY STREET                                                                            FILLMORE         CA 93015‐1517
MARTINEZ, SOPHIA          24401 CHRISTIAN DR                                                                         BROWNSTOWN       MI 48134‐9111
MARTINEZ, STACEY A        112 LORNA LN                                                                               TONAWANDA        NY 14150‐2807
MARTINEZ, STACY M         4776 W 100 N                                                                               KOKOMO           IN 46901‐3744
MARTINEZ, STACY MICHAEL   4776 W 100 N                                                                               KOKOMO           IN 46901‐3744
MARTINEZ, STELLA J        8619 BELMAR AVE                                                                            NORTHRIDGE       CA 91324‐4108
MARTINEZ, STEPHEN A       1920 MEADOW RANCH RD                                                                       MCKINNEY         TX 75071
MARTINEZ, STEPHEN R       8388 EATON RD                                                                              DAVISBURG        MI 48350‐1501
MARTINEZ, SUSAN J         2909 PINCH HWY                                                                             CHARLOTTE        MI 48813‐8703
MARTINEZ, SUSANA V        3702 SALINAS                                                                               LAREDO           TX 78041‐4271
MARTINEZ, SUSANA V        3702 SALINAS AVE                                                                           LAREDO           TX 78041‐4271
MARTINEZ, SUSANNA
MARTINEZ, SUZANNE
MARTINEZ, SYLVIA          17461 GOLFVIEW                                                                             LIVONIA         MI   48152‐2934
MARTINEZ, TAMMI           2307 PARKWOOD AVE                                                                          SAGINAW         MI   48601‐3512
MARTINEZ, TERESA P        704 N TRUMBULL STREET                                                                      BAY CITY        MI   48708‐6817
MARTINEZ, TERESA P        13518 S BURLEY AVE                                                                         CHICAGO         IL   60633
MARTINEZ, THERESA         1115 N HENRY ST                                                                            BAY CITY        MI   48706‐3640
MARTINEZ, THERESA C       902 AMES ST                                                                                SAGINAW         MI   48602‐4101
MARTINEZ, THOMAS J        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                           STREET, SUITE 600
MARTINEZ, TIARA           APT 103                          2745 NORTH FANCHER ROAD                                   RACINE          WI   53406‐1640
MARTINEZ, TINA            14460 HAWES ST                                                                             WHITTIER        CA   90604‐1155
MARTINEZ, TOMAS V         15925 DUNDEE BLVD                                                                          DUNDEE          MI   48131‐9760
MARTINEZ, TOMASITA L      18960 HAMBURG ST                                                                           DETROIT         MI   48205‐2147
MARTINEZ, TOMASITA L      18960 HAMBURG                                                                              DETROIT         MI   48205‐2147
MARTINEZ, TOMMY P         284 E LAKE MEAD PKWY STE C‐167                                                             HENDERSON       NV   89015‐6453
MARTINEZ, TONI            218 SOUTH AVENUE                                                                           TOLEDO          OH   43609‐3406
MARTINEZ, TONI            218 SOUTH AVE                                                                              TOLEDO          OH   43609‐3406
MARTINEZ, TONY P          18932 FELBRIDGE ST                                                                         CANYON CNTRY    CA   91351‐2839
MARTINEZ, TRACEY          4450 TOWNSHIP DRIVE APT 48B                                                                OAKWOOD         GA   30566
MARTINEZ, VELLIA          PO BOX 3146                                                                                MELVINDALE      MI   48122
MARTINEZ, VERONICA        2374 BARNSBURY RD                                                                          EAST LANSING    MI   48823‐7769
MARTINEZ, VICENTE         9731 SW 32ND ST                                                                            MIAMI           FL   33165‐3027
MARTINEZ, VICKIE L        11805 CHELSEA CHASE                                                                        OKLAHOMA CITY   OK   73170‐3623
MARTINEZ, VICTOR          617 COOPER LN                                                                              KENNEDALE       TX   76060‐5813
MARTINEZ, VICTOR R        518 GARNSEY AVE                                                                            JOLIET          IL   60432‐1942
MARTINEZ, VICTORIA        SIMMONS FIRM                     PO BOX 521                                                EAST ALTON      IL   62024‐0519
MARTINEZ, VICTORINO       2029 GATES ST                                                                              LOS ANGELES     CA   90031‐3107
MARTINEZ, VINCENT L       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                           STREET, SUITE 600
MARTINEZ, VIVIANO L       5435 CRUSE AVE                                                                             WATERFORD       MI   48327‐2547
MARTINEZ, WILFRED A       31505 CHERRY DR                                                                            CASTAIC         CA   91384‐2548
MARTINEZ, WILLIAM         DURST LAW FIRM PC                319 BROADWAY                                              NEW YORK        NY   10007
MARTINEZ, WILLIAM         DEARIE & ASSOCIATES JOHN C       515 MADISON AVE RM 1118                                   NEW YORK        NY   10022‐5456
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Name                                   Address1                            Address2                         Address3   Address4         City            State Zip
MARTINEZ, WILLIAM D                    919 S CHIPMAN ST                                                                                 OWOSSO           MI 48867‐4155
MARTINEZ, WILLIAM DAVID                919 S CHIPMAN ST                                                                                 OWOSSO           MI 48867‐4155
MARTINEZ, YOLANDA                      1901 JOSLIN ST                                                                                   SAGINAW          MI 48602
MARTINEZ,JOSEPH M                      3250 BEATTIE RD                                                                                  HOWELL           MI 48843‐8834
MARTINEZ‐COOPER, CLARISSA R            1319 HAMMOND ST                                                                                  LANSING          MI 48910‐1246
MARTINEZ‐EASTWOOD, DORIS B             3 COURAGEOUS ST                                                                                  CLOVER           SC 29710
MARTINEZ‐GUTTIEREZ ISAIAS              2716 STAPLETON DR                                                                                ANTIOCH          CA 94509‐4434
MARTINEZ‐MORRIS EMMA & KIMMEL &        30 EAST BULTER PIKE                                                                              AMBLER           PA 19002
SILVERMAN PC
MARTINEZ‐ROLLINS, LISA K               1463 LARAMIE CIRCLE                                                                              MELBOURNE       FL    32940‐6372
MARTINHO, JOSE A                       33 LUCERNE LN                                                                                    MANAHAWKIN      NJ    08050‐4621
MARTINHO, LUIS                         1451 NW 104TH AVE                                                                                PLANTATION      FL    33322‐6635
MARTINHO, NANCY M                      129 W BOLIVAR AVE                                                                                MILWAUKEE       WI    53207‐4939
MARTINHO, SARMENTO J                   4580 ANDOVER WAY, B‐106                                                                          NAPLES          FL    34112
MARTINI BEN & HELEN J                  5887 MACKEREL RD                                                                                 BOKEELIA        FL    33922‐2824
MARTINI DENNIS                         MARTINI, DENNIS                     55 PUBLIC SQ STE 650                                         CLEVELAND       OH    44113‐1909
MARTINI JR., JAMES M                   7536 JOHN WHITE RD                                                                               HUBBARD         OH    44425‐9792
MARTINI MIKE W (400351) ‐ DELAUGHTER   WATKINS ASHLEY & BARLOW MELINDA H   360 PLACE OFFICE PARK , 1201 N                               ARLINGTON       TX    76006
JAMES MADISON                                                              WATSON ‐ STE 145
MARTINI MIKE W (400351) ‐ ROWE JOHN    WATKINS ASHLEY & BARLOW MELINDA H   360 PLACE OFFICE PARK , 1201 N                               ARLINGTON        TX   76006
THOMAS                                                                     WATSON ‐ STE 145
MARTINI MIKE W (400351) ‐ SCHWEND      WATKINS ASHLEY & BARLOW MELINDA H   360 PLACE OFFICE PARK , 1201 N                               ARLINGTON        TX   76006
GORDON ROSS                                                                WATSON ‐ STE 145
MARTINI TIZIANA                        VIA VIVALDI
MARTINI'S AUTOMOTIVE                   4032 N EL DORADO ST                                                                              STOCKTON        CA    95204‐2103
MARTINI, ALBERT                        8769 SOUTH ST SE                                                                                 WARREN          OH    44484‐2333
MARTINI, ALBINO                        1511 HEMLOCK DR                                                                                  LAREDO          TX    78041‐6820
MARTINI, AMIE L                        PO BOX 9022                         C/O SHANGHAI                                                 WARREN          MI    48090‐9022
MARTINI, ANTHONY W                     6000 N COUNTY ROAD 925 WEST                                                                      YORKTOWN        IN    47396‐9467
MARTINI, ARNOLD R                      PO BOX 132                                                                                       GRINDSTONE      PA    15442‐0132
MARTINI, ARNOLD R                      BOX 132                                                                                          GRINDSTONE      PA    15442‐0132
MARTINI, BARBARA J                     18318 DAVENTRY CT                                                                                HUDSON          FL    34667‐5729
MARTINI, DANIEL C                      4442 N MALLARD CV                                                                                MASON           OH    45040‐9041
MARTINI, DENNIS J                      1505 CLEVELAND AVE                                                                               LINCOLN PARK    MI    48146‐2336
MARTINI, DENNIS JOHN                   1505 CLEVELAND AVE                                                                               LINCOLN PARK    MI    48146‐2336
MARTINI, DONALD                        PO BOX 502                                                                                       CHARDON         OH    44024‐0502
MARTINI, DONALD E                      1163 EAGER PINES CT                                                                              HOWELL          MI    48843‐6867
MARTINI, DOROTHY L                     4887 CANTERBURY CT                                                                               VASSAR          MI    48768‐1571
MARTINI, FRED                          39 RAYMALEY RD                                                                                   HARRISON CITY   PA    15636‐1320
MARTINI, GARY W                        6000 N, 925 W                                                                                    YORKTOWN        IN    47396
MARTINI, GERALD D                      1515 EDGEWOOD ST NE                                                                              WARREN          OH    44483‐4123
MARTINI, HELEN B                       5552 LONDON DR                                                                                   AUSTINTOWN      OH    44515‐4148
MARTINI, JOHN D                        1490 JOLSON AVE                                                                                  BURTON          MI    48529‐2030
MARTINI, JOHN DAVID                    1490 JOLSON AVE                                                                                  BURTON          MI    48529‐2030
MARTINI, JOHN P                        5568 MADRID DR                                                                                   YOUNGSTOWN      OH    44515‐4155
MARTINI, JOHN R                        37910 UTICA RD                                                                                   STERLING HTS    MI    48312‐1751
MARTINI, JOSEPH                        13497 MARK ST                                                                                    SOUTHGATE       MI    48195‐2422
MARTINI, KEVIN M                       PO BOX 9022                         C/O SHANGHAI                                                 WARREN          MI    48090‐9022
MARTINI, LOUANN                        4 REGINA DR                                                                                      ROCHESTER       NY    14606‐3508
MARTINI, MARIO J                       4 REGINA DR                                                                                      ROCHESTER       NY    14606‐3508
MARTINI, PATRICIA                      4 FULTON STREET                                                                                  NANUET          NY    10954‐1107
MARTINI, PATRICIA A                    8286 SUNNYSIDE CR                                                                                FREELAND        MI    48623
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Name                              Address1                       Address2                      Address3   Address4         City                State Zip
MARTINI, PAUL F                   1051 N MCKINLEY RD                                                                       FLUSHING             MI 48433‐9450
MARTINI, PAUL FRANCIS             1051 N MCKINLEY RD                                                                       FLUSHING             MI 48433‐9450
MARTINI, PAULINE E                1490 JOLSON AVE                                                                          BURTON               MI 48529‐2030
MARTINI, RICKY L                  5552 LONDON DR                                                                           AUSTINTOWN           OH 44515‐4148
MARTINI, RONALD K                 4618 HIGH SPRING RD                                                                      CASTLE ROCK          CO 80104‐7719
MARTINI, RYAN D                   412 E KENILWORTH AVE                                                                     ROYAL OAK            MI 48067‐3744
MARTINI, STEVEN M                 4261 STONEYBROOK DR SE                                                                   WARREN               OH 44484
MARTINI, VICKI S                  6000 N COUNTY ROAD 925 W                                                                 YORKTOWN             IN 47396‐9467
MARTINI, VINCENT J                1877 LANCASTER DR                                                                        YOUNGSTOWN           OH 44511‐1068
MARTINICH, ANTON D                5075 RHOADS AVE APT A                                                                    SANTA BARBARA        CA 93111‐2679
MARTINICH, DENNIS J               5440 RIVER BEND CIR                                                                      GRAND LEDGE          MI 48837‐8937
MARTINICH, GREGORY O              W161S7071 OLIVE CIRCLE                                                                   MUSKEGO              WI 53150‐8065
MARTINICO, CHRISTINE A            333 INDIANWOOD RD                                                                        LAKE ORION           MI 48362‐1514
MARTINIQUE GRICE                  6727 BARRED OWL RD                                                                       ARLINGTON            TX 76002‐3673
MARTINIQUE I GRICE                6727 BARRED OWL RD                                                                       ARLINGTON            TX 76002‐3673
MARTINKA, ELEANOR A               3291 LAHRING ROAD                                                                        LINDEN               MI 48451‐9434
MARTINKA, GERALD                  4331 BRAYAN DR                                                                           SWARTZ CREEK         MI 48473‐8823
MARTINKA, GUS D                   7269 BARKLEY RD                                                                          VASSAR               MI 48768‐9633
MARTINKA, GUS DAVID               7269 BARKLEY RD                                                                          VASSAR               MI 48768‐9633
MARTINKA, MICHAEL G               7224 SLAFTER RD                                                                          VASSAR               MI 48768‐9653
MARTINKIEWICZ, DAVID T            8973 ROUTE 219                                                                           WEST VALLEY          NY 14171‐9738
MARTINKO, EDWARD L                2117 BELMONT DR                                                                          LANSING              MI 48910‐2424
MARTINKO, JOHN J                  3608 MEANDER RESERVE CIR                                                                 CANFIELD             OH 44406‐8014
MARTINKO, JOSEPH M                775 LARKRIDGE AVE                                                                        YOUNGSTOWN           OH 44512‐3132
MARTINKO, MICHAEL S               19824 SCENIC HARBOUR DR                                                                  NORTHVILLE           MI 48167‐1980
MARTINKOSKI, JAMES J              W221 W LAKE SHORE DR                                                                     BURLINGTON           WI 53105‐2821
MARTINKOVIC, CHRISTOPHEJ          5930 KYLES STATION RD                                                                    LIBERTY TWP          OH 45011‐8418
MARTINO BINNIE PURSER             AKRON COURT REPORTERS          580 MESSINA DR                                            WADSWORTH            OH 44281
MARTINO GIOVAGNOLI                3649 LENORE ST                                                                           MELVINDALE           MI 48122‐1165
MARTINO JENNIFER                  1721 MORSE AVE                                                                           CLOVIS               NM 88101‐8622
MARTINO PONTIAC BUICK GMC, INC.   INTERCOMPANY
MARTINO PONTIAC‐GMC, INC.         387 SHUMAN BLVD                STE 235W                                                  NAPERVILLE          IL 60563‐8127
MARTINO SAMUEL W (ESTATE OF)      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
(459187)                                                         STREET, SUITE 600
MARTINO TIRE GRIFFIN RD           4699 VOLUNTEER RD                                                                        SOUTHWEST RANCHES   FL   33330‐2131
MARTINO'S ITALIAN VILLA           ATTN: ANGIE MARTINO            1929 N WASHINGTON ST                                      KOKOMO              IN   46901‐2203
MARTINO, ANTHONY A                29 HUTCHINS ST                                                                           BATAVIA             NY   14020‐3605
MARTINO, ANTONIO M                22409 BEA CT                                                                             SANTA CLARITA       CA   91350‐4315
MARTINO, CARMEL G                 265 COLLIGNON WAY APT 5A                                                                 RIVERVALE           NJ   07675‐6358
MARTINO, CARMEN R                 4044 SANDVIEW DR                                                                         MEDINA              OH   44256‐7229
MARTINO, DAVID J                  1782 HUTH RD                                                                             GRAND ISLAND        NY   14072
MARTINO, DENNIS                   36524 SCOTTSDALE DR                                                                      GRAND ISLAND        FL   32735‐8491
MARTINO, DONALD C                 1 S HILLSIDE AVE                                                                         ELMSFORD            NY   10523‐3602
MARTINO, DOROTHY J                6703 DICKINSON TER                                                                       PORT ST LUCIE       FL   34952‐8256
MARTINO, EDWARD D                 115 W MAIN ST                                                                            TIPP CITY           OH   45371‐1814
MARTINO, ELIZABETH A              5566 HUNTER ROAD                                                                         BEAVERTON           MI   48612‐8515
MARTINO, FRANK C                  PO BOX 407                                                                               STONEWALL           LA   71078‐0407
MARTINO, FRED                     12 FOSTER DR                                                                             NEW MIDDLETOWN      OH   44442‐9711
MARTINO, GERALD G                 81 LINDEN AVE APT 212                                                                    ROCHESTER           NY   14610‐3555
MARTINO, GLORIA                   503 WEST 140 ST #10                                                                      NEW YORK            NY   10031‐6170
MARTINO, GLORIA                   503 W 140TH ST APT 10                                                                    NEW YORK            NY   10031‐6170
MARTINO, JAMES F                  429 LAKESIDE RD                                                                          ANGOLA              NY   14006‐9552
                                     09-50026-mg             Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                                    Exhibit B
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Name                                Address1                              Address2                         Address3                   Address4                 City              State Zip
MARTINO, JUNE M                     10 KETTLE WAY                                                                                                              DRACUT             MA 01826
MARTINO, MARIO C                    2023 MARSHALL ST                                                                                                           TARENTUM           PA 15084‐8431
MARTINO, MARY M                     3301 LINCOLN ST                                                                                                            DEARBORN           MI 48124‐3507
MARTINO, MARY M                     3301 LINCOLN                                                                                                               DEARBORN           MI 48124‐3507
MARTINO, MARY PATRICIA              618 PENNRIDGE RD                                                                                                           PITTSBURGH         PA 15211‐1420
MARTINO, MICHAEL                    215 W MAPLE ST APT 610                                                                                                     MILWAUKEE          WI 53204
MARTINO, MICHAEL D                  1290 WELLAND DR                                                                                                            ROCHESTER          MI 48306‐4825
MARTINO, MICHAEL F                  9617 GREAT HILLS TRL APT 1614                                                                                              AUSTIN             TX 78759‐5384
MARTINO, NUNZIO J                   14 SONIA DR                                                                                                                MARLBOROUGH        MA 01752‐4927
MARTINO, SAMUEL W                   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                          NORFOLK            VA 23510‐2212
                                                                          STREET, SUITE 600
MARTINO, STANLEY M                  61 S KINGMAN RD                                                                                                            SOUTH ORANGE      NJ   07079‐2649
MARTINO, THELMA J.                  365 FARNSWORTH DR                                                                                                          DAYTON            OH   45449‐2128
MARTINOLICH, LINDA                  4213 LEMON ST                                                                                                              METAIRIE          LA   70006‐2663
MARTINOVICH, CARMEN                 14122 BERRYKNOLL DR                                                                                                        SHELBY TOWNSHIP   MI   48315‐6820
MARTINOVICH, SINISHA                14122 BERRYKNOLL DR                                                                                                        SHELBY TOWNSHIP   MI   48315‐6820
MARTINREA AUTOMOTIVE SYS            MICHIGAN ASSEMBLY DIVISION            175 NATIONAL PARK DR                                                                 FOWLERVILLE       MI   48836‐9677
MARTINREA AUTOMOTIVE SYSTEMS        ROCCO MARINACCIO                      2003 OAKLAND PKWY                                                                    COLUMBIA          TN   38401‐6530
MARTINREA AUTOMOTIVE SYSTEMS        ROCCO MARINACCIO                      2003 OAKLAND PARKWAY                                                                 LEBANON           TN   37087
MARTINREA AUTOMOTIVE SYSTEMS C      JANE WALTERS                          MARTINREA INTERNATIONAL INC.     3820 COMMERCE ROAD         MISSISSAUGA ON CANADA

MARTINREA AUTOMOTIVE SYSTEMS        3820 COMMERCE RD                                                                                  LONDON ON N6N 1P6
CANADA                                                                                                                                CANADA
MARTINREA AUTOMOTIVE SYSTEMS        3820 COMMERCE RD                                                                                  LONDON CANADA ON N6N
CANADA LTD                                                                                                                            1P6 CANADA
MARTINREA AUTOMOTIVE SYSTEMS INC    2003 OAKLAND PKWY                                                                                                          COLUMBIA          TN 38401‐6530

MARTINREA AUTOMOTIVE SYSTEMS LLC    175 NATIONAL PARK DR                                                                                                       FOWLERVILLE       MI 48836‐9677

MARTINREA AUTOMOTIVE SYSTEMS LLC    TENNESSEE ASSEMBLY DIV                2003 OAKLAND PKWY                FRMLY BV CHASSIS SYSTEMS                            COLUMBIA          TN 38401‐6530
                                                                                                           LLC
MARTINREA AUTOMOTIVE SYSTEMS USA 2003 OAKLAND PKWY                        FRMLY THYSSENKRUPP BUDD                                                              COLUMBIA          TN 38401‐6530
LLC                                                                       SYSTEM
MARTINREA DEVELOPMENT DE MEXICO SA AV INDUSTRIAS DE LA TRANS#3131         PAR IND RAMOS ARIZPE COAH25900                              RAMOS ARIZPE COAH
DE CV                                                                                                                                 25900 MEXICO
MARTINREA DEVELOPMENTS DE MEX      HUGO ESPINOZA                          IND. DE LA TRANSFORMACION 3131                              TOLUCA EM 50010 MEXICO

MARTINREA DEVELOPMENTS DE MEXI      HUGO ESPINOZA 0115                    CENTRO INDUSTRIAL FILIBERTO                                 TLALNEPANTLA TL 54030
                                                                                                                                      MEXICO
MARTINREA DEVELOPMENTS DE MEXICO    INDUSTRIA DE LA TRANSFORMACION 3131                                                               RAMOS ARIZPE CZ 25900
SA                                                                                                                                    MEXICO
MARTINREA FAB/SCH SP                850 DIVISION ROAD                                                                                 WINDSOR ON N9A 6P7
                                                                                                                                      CANADA
MARTINREA FABCO (RIDGETOWN)         WILMA HAY                             99 GOLF COURSE DRIVE                                        RIDGETOWN ON NOP 2C0
                                                                                                                                      CANADA
MARTINREA FABCO (WINDSOR)           LISA CORDIERO                         850 DIVISION RD.                                            WINDSOR ON N9A 6P7
                                                                                                                                      CANADA
MARTINREA FABCO AUTOMOTIVE          STRUCTURES USA INC                    1 FABCO DR                       FRMLY TKA FABCO INC                                 SPRINGFIELD       TN 37172‐6843
MARTINREA FABCO AUTOMOTIVE          1 FABCO DR                                                                                                                 SPRINGFIELD       TN 37172‐6843
STRUCTUR
MARTINREA FABCO AUTOMOTIVE          MEL PELADEAU                          1 FABCO DR                                                                           SPRINGFIELD       TN 37172‐6843
STRUCTURE SPRINGFIELD
                                     09-50026-mg            Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
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Name                                Address1                        Address2                   Address3                   Address4                 City              State Zip
MARTINREA FABCO AUTOMOTIVE USA INC‐ 323 C D F BLVD                                                                                                 SHANNON            MS 38868‐8767
MISSISSIPPIO DIVISION
MARTINREA FABCO HOT STAMPINGS INC 19200 GLENDALE ST                                                                                                DETROIT           MI 48223‐3459

MARTINREA FABCO METALLIC CANAD      JOE GRECO                       99 GOLF COURSE DRIVE                                  WINDSOR ON CANADA
MARTINREA FABCO METALLIC CANADA INC 1130 WELLINGTON ST                                                                    DRESDEN ON N0P 1M0
                                                                                                                          CANADA
MARTINREA FABCO METALLIC CANADA INC 850 DIVISION RD                                                                       WINDSOR ON N9A 6P7
                                                                                                                          CANADA
MARTINREA FABCO METALLIC CANADA INC 99 GOLF COURSE DR                                                                     RIDGETOWN ON N0P 2C0
                                                                                                                          CANADA
MARTINREA FABCO/ON                   99 GOLF COURSE DRIVE                                                                 RIDGETOWN ON N0P 2C0
                                                                                                                          CANADA
MARTINREA HEAVY STAMPING             MEL PELADEAU                   1000 OLD BRUNERSTOWN RD                                                        SHELBYVILLE        KY   40065‐9132
MARTINREA HEAVY STAMPING INC         1000 OLD BRUNERSTOWN RD                                                                                       SHELBYVILLE        KY   40065‐9132
MARTINREA HEAVY STAMPING INC         305 PATILLO RD RR 1                                                                  TECUMSEH ON N8N 2
                                                                                                                          CANADA
MARTINREA HEAVY STAMPINGS INC        RICHARD TAYLOR                 1000 OLD BRUNERSTOWN RD                                                        SHELBYVILLE        KY   40065‐9132
MARTINREA HEAVY STAMPINGS INC        RICHARD TAYLOR                 1000 OLD BURNERSTOWN RD                               BRAMPTON ON CANADA
MARTINREA HEAVY STAMPINGS INC        1000 OLD BRUNERSTOWN RD                                                                                       SHELBYVILLE        KY   40065‐9132
MARTINREA HOPKINSVILLE               SEBASTIAN DECOSTNER            1500 FRANK YOST LANE                                  SRODA SLASKA POLAND
                                                                                                                          (REP)
MARTINREA HOPKINSVILLE               RON SHELTON                    1500 FRANK YOST LN                                                             HOPKINSVILLE       KY   42240‐6818
MARTINREA HOPKINSVILLE LLC           1500 FRANK YOST LN                                                                                            HOPKINSVILLE       KY   42240‐6818
MARTINREA INDUSTIRES INC
MARTINREA INDUSTRIES                 ERICA COMISKEY                 10501 MI STATE ROAD 52                                                         MANCHESTER        MI    48158‐9432
MARTINREA INDUSTRIES                 ERICA COMISKEY                 2319 BISHOP CIRCLE EAST                                                        ROCHESTER HILLS   MI    48306
MARTINREA INDUSTRIES                 MARTINREA BISHOP DIV           7931 GRAND ST                                                                  DEXTER            MI    48130‐1325
MARTINREA INDUSTRIES                 MARTINREA CONCENTRATION        10501 MI STATE ROAD 52                                                         MANCHESTER        MI    48158‐9432
MARTINREA INDUSTRIES                 MARTINREA BISHOP DIV           10501 MI STATE ROAD 52                                                         MANCHESTER        MI    48158‐9432
MARTINREA INDUSTRIES INC             BISHOP CIRCLE ASSEMBLY         PO BOX 67000                                                                   DETROIT           MI    48267‐1839
MARTINREA INDUSTRIES INC             NORTH VERNON DIVISION          505 INDUSTRIAL DRIVE                                                           NORTH VERNON      IN    47265
MARTINREA INDUSTRIES INC             603 E CHURCH AVE                                                                                              REED CITY         MI    49677‐9102
MARTINREA INDUSTRIES INC             MIKE ZAJCHOWSKI                GRAND STREET DIVISION      7931 GRAND STREET          GUELPH ON CANADA
MARTINREA INDUSTRIES INC             10501 MI STATE ROAD 52                                                                                        MANCHESTER        MI    48158‐9432
MARTINREA INDUSTRIES INC             1500 FRANK YOST LN                                                                                            HOPKINSVILLE      KY    42240‐6818
MARTINREA INDUSTRIES INC             505 INDUSTRIAL DR                                                                                             NORTH VERNON      IN    47265
MARTINREA INDUSTRIES, INC            BEN DUNHAMX216                 NORTH VERNON DIVISION      505 INDUSTRIAL DRIVE                                WINESBURG         OH    44690
MARTINREA INDUSTRIES, INC.           CRAIG BAKER                    MARTINREA‐CLARE DIVISION   500 INDUSTRIAL DRIVE                                FAIRVIEW          MI    48621
MARTINREA INDUSTRIES, INC.           CRAIG BAKER                    10501 MI STATE ROAD 52     MARTINREA‐CLARE DIVISION                            MANCHESTER        MI    48158‐9432

MARTINREA INTERNATIONAL              BILL GRUBER X3033              1995 WILLIAMS PKY E                                   BRACEBRIDGE ON CANADA
MARTINREA INTERNATIONAL              30 AVIVA PARK DR                                                                     VAUGHAN ON L4L 9C7
                                                                                                                          CANADA
MARTINREA INTERNATIONAL INC          ERICA COMISKEY                 10501 MI STATE ROAD 52                                                         MANCHESTER        MI 48158‐9432
MARTINREA INTERNATIONAL INC          650 FINLEY AVE                                                                       AJAX ON L1S 6N1 CANADA
MARTINREA INTERNATIONAL INC                                         30 AVIVA PARK DR                                      VAUGHAN,ON,L4L
                                                                                                                          9C7,CANADA
MARTINREA INTERNATIONAL INC          JOE GRECO                      99 GOLF COURSE DRIVE                                  WINDSOR ON CANADA
MARTINREA INTERNATIONAL INC          JOHN PERRIN                    260 GAIGE ST               TIMERLAND OFFICE PARK                               JONESVILLE        MI 49250‐9431
MARTINREA INTERNATIONAL INC          MEL PELADEAU                   1000 OLD BRUNERSTOWN RD                                                        SHELBYVILLE       KY 40065‐9132
MARTINREA INTERNATIONAL INC          MIKE ZAJCHOWSKI                GRAND STREET DIVISION      7931 GRAND STREET          GUELPH ON CANADA
                               09-50026-mg           Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                                       Exhibit B
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Name                          Address1                              Address2                         Address3                   Address4                   City              State Zip
MARTINREA INTERNATIONAL INC   MONICA MITU X 241                     ALFIELD INDUSTRIAL               30 AVIVA PARK DR           VAUGHAN ON CANADA
MARTINREA INTERNATIONAL INC   NATHAN BASCHUK                        CARRETERA ANTIGUA A ARTEAGA                                 SALTILLO COAHUILA CZ
                                                                                                                                25310 MEXICO
MARTINREA INTERNATIONAL INC   PAT VALERIOTE                         1011 HOMER WATSON BLVD.                                     KITCHENER ON CANADA
MARTINREA INTERNATIONAL INC   RICH CARPENE X244                     1130 WELLINGTON ST.                                         KINGSBURY PQ CANADA
MARTINREA INTERNATIONAL INC   RICHARD TAYLOR                        1000 OLD BRUNERSTOWN RD                                                                SHELBYVILLE        KY   40065‐9132
MARTINREA INTERNATIONAL INC   RICHARD TAYLOR                        1000 OLD BURNERSTOWN RD                                     BRAMPTON ON CANADA
MARTINREA INTERNATIONAL INC   ROCCO MARINACCIO                      2003 OAKLAND PARKWAY                                                                   LEBANON            TN 37087
MARTINREA INTERNATIONAL INC   ROCCO MARINACCIO                      2003 OAKLAND PKWY                                                                      COLUMBIA           TN 38401‐6530
MARTINREA INTERNATIONAL INC   RON SHELTON                           1500 FRANK YOST LN                                                                     HOPKINSVILLE       KY 42240‐6818
MARTINREA INTERNATIONAL INC   SEBASTIAN DECOSTNER                   1500 FRANK YOST LANE                                        SRODA SLASKA POLAND
                                                                                                                                (REP)
MARTINREA INTERNATIONAL INC   720 PORTER ST                                                                                                                LANSING            MI 48906
MARTINREA INTERNATIONAL INC   7405 TRANMERE DR                                                                                  MISSISSAUGA ON L5S 1L4
                                                                                                                                CANADA
MARTINREA INTERNATIONAL INC   850 DIVISION RD                                                                                   WINDSOR ON N9A 6P7
                                                                                                                                CANADA
MARTINREA INTERNATIONAL INC   99 GOLF COURSE DR                                                                                 RIDGETOWN ON N0P 2C0
                                                                                                                                CANADA
MARTINREA INTERNATIONAL INC   APRIL NAKAMURA                      ROLLSTAR METAL FORMING             6655 NORTHWEST DRIVE       MISSISSAUGA ON CANADA
MARTINREA INTERNATIONAL INC   BEN DUNHAMX216                      NORTH VERNON DIVISION              505 INDUSTRIAL DRIVE                                  WINESBURG         OH 44690
MARTINREA INTERNATIONAL INC   BILL GRUBER X3033                   1995 WILLIAMS PKY E                                           BRAMPTON ON CANADA
MARTINREA INTERNATIONAL INC   CARRETERA ANTIGUA A ARTEAGA NO 2653                                                               SALTILLO COAHUILLA 25310
                                                                                                                                MEXICO
MARTINREA INTERNATIONAL INC   COLLEEN MOORMANN                      260 GAIGE ST                     TIMERLAND OFFICE PARK                                 JONESVILLE         MI 49250‐9431
MARTINREA INTERNATIONAL INC   CRAIG BAKER                           500 INDUSTRIAL DR                MARTINREA‐CLARE DIVISION                              CLARE              MI 48617‐9160

MARTINREA INTERNATIONAL INC   CRAIG BAKER                           MARTINREA‐CLARE DIVISION         500 INDUSTRIAL DRIVE                                  FAIRVIEW           MI 48621
MARTINREA INTERNATIONAL INC   DARIN PHIPPS                          2190 LANDMARK AVE NE                                                                   CORYDON            IN 47112‐2016
MARTINREA INTERNATIONAL INC   DARREN LAFOUNTAINE                    P.O. BOX 1060/850 DIVISION                                  WINDSOR ON CANADA
MARTINREA INTERNATIONAL INC   DAVID TRAIL X122                      260 GAIGE ST                                                                           JONESVILLE         MI 49250‐9431
MARTINREA INTERNATIONAL INC   MEL PELADEAU                          1 FABCO DR                                                                             SPRINGFIELD        TN 37172‐6843
MARTINREA INTERNATIONAL INC
MARTINREA INTERNATIONAL INC   30 AVIVA PARK DR                      VAUGHAN ON L4L 9C7                                          CANADA
MARTINREA INTERNATIONAL INC   1 FABCO DR                                                                                                                   SPRINGFIELD        TN 37172‐6843
MARTINREA INTERNATIONAL INC   1000 OLD BRUNERSTOWN RD                                                                                                      SHELBYVILLE        KY 40065‐9132
MARTINREA INTERNATIONAL INC   ERICA COMISKEY                        2319 BISHOP CIRCLE EAST                                                                ROCHESTER HILLS    MI 48306
MARTINREA INTERNATIONAL INC   HUGO ESPINOZA                         IND. DE LA TRANSFORMACION 3131                              TOLUCA EM 50010 MEXICO

MARTINREA INTERNATIONAL INC   HUGO ESPINOZA 0115                    CENTRO INDUSTRIAL FILIBERTO                                 TLALNEPANTLA TL 54030
                                                                                                                                MEXICO
MARTINREA INTERNATIONAL INC   INDUSTRIA DE LA TRANSFORMACION 3131                                                               RAMOS ARIZPE CZ 25900
                                                                                                                                MEXICO
MARTINREA INTERNATIONAL INC   IRENA GRETCHKOVA‐554                  FLUID MOTION TECHNOLOGIES        2565 RENA ROAD             MISSISSAUGA ON CANADA
MARTINREA INTERNATIONAL INC   JANE WALTERS                          MARTINREA INTERNATIONAL INC.     3820 COMMERCE ROAD         MISSISSAUGA ON CANADA

MARTINREA INTERNATIONAL INC   JOE DICINTIO                          ANTOMAX AUTOMOTIVE               7405 TRANMERE DRIVE        MISSISSAUGA ON CANADA
                                                                    TECHNOLOGIE
MARTINREA INTERNATIONAL INC   2190 LANDMARK AVE NE                                                                                                         CORYDON            IN   47112‐2016
MARTINREA INTERNATIONAL INC   2565 RENA RD                                                                                      MISSISSAUGA ON L4T 1G6
                                                                                                                                CANADA
MARTINREA INTERNATIONAL INC   260 GAIGE ST                                                                                                                 JONESVILLE         MI 49250‐9431
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Name                             Address1                         Address2                   Address3                Address4                 City           State Zip
MARTINREA INTERNATIONAL INC      305 PATILLO RD RR 1                                                                 TECUMSEH ON N8N 2L9
                                                                                                                     CANADA
MARTINREA INTERNATIONAL INC      3820 COMMERCE RD                                                                    LONDON ON N6N 1P6
                                                                                                                     CANADA
MARTINREA INTERNATIONAL INC      505 INDUSTRIAL DR                                                                                            NORTH VERNON    IN 47265
MARTINREA INTERNATIONAL INC      603 E CHURCH AVE                                                                                             REED CITY       MI 49677‐9102
MARTINREA INTERNATIONAL INC      2003 OAKLAND PKWY                                                                                            COLUMBIA        TN 38401‐6530
MARTINREA INTERNATIONAL INC      1011 HOMER WATSON BLVD                                                              KITCHENER ON N2G 1L8
                                                                                                                     CANADA
MARTINREA INTERNATIONAL INC      10501 MI STATE ROAD 52                                                                                       MANCHESTER      MI 48158‐9432
MARTINREA INTERNATIONAL INC      1130 WELLINGTON ST                                                                  DRESDEN ON N0P 1M0
                                                                                                                     CANADA
MARTINREA INTERNATIONAL INC      1500 FRANK YOST LN                                                                                           HOPKINSVILLE    KY 42240‐6818
MARTINREA INTERNATIONAL INC      19200 GLENDALE ST                                                                                            DETROIT         MI 48223‐3459
MARTINREA INTERNATIONAL INC      MARIJANA VUJCIC X327             ATLAS FLUID SYSTEMS DIV.   10 ATLAS CT             STRATFORD, ONT. CA ON
                                                                                                                     CANADA
MARTINREA INTERNATIONAL INC      MARK HUBBS                       2190 LANDMARK AVE NE       CORYDON DIVISION                                 CORYDON        IN 47112‐2016
MARTINREA INTERNATIONAL INC      MARK HUBBS                       CORYDON DIVISION           2190 LANDMARK AVE.                               WOODVILLE      WI 54028
MARTINREA INTERNATIONAL INC      ZORAN RISTIC                     19200 GLENDALE STREET                                                       CANTON         OH 44707
MARTINREA INTERNATIONAL INC      10 ATLAS CRT                                                                        BRAMPTON ON L6T 5
                                                                                                                     CANADA
MARTINREA INTERNATIONAL INC      189 SUMMERLEA RD                                                                    BRAMPTON ON L6T 4
                                                                                                                     CANADA
MARTINREA INTERNATIONAL INC      1995 WILLIAMS PKY                                                                   BRAMPTON ON L6S 6
                                                                                                                     CANADA
MARTINREA INTERNATIONAL INC      30 AVIVA PARK DR                                                                    VAUGHAN ON L4L 9C7
                                                                                                                     CANADA
MARTINREA INTERNATIONAL INC      60 TRAVAIL RD                                                                       MARKHAM ON L3S 3
                                                                                                                     CANADA
MARTINREA INTERNATIONAL INC      6655 NORTHWEST DR                                                                   MISSISSAUGA ON L4V 1
                                                                                                                     CANADA
MARTINREA INTERNATIONAL INC.     JOE DICINTIO                     ANTOMAX AUTOMOTIVE         7405 TRANMERE DR        MISSISSAUGA ON L5S 1L4
                                                                  TECHNOLOGIE                                        CANADA
MARTINREA JONESVILLE LLC         DAVID TRAIL X122                 260 GAIGE ST                                                                COMPTON         CA   90222
MARTINREA JONESVILLE LLC         260 GAIGE ST                                                                                                 JONESVILLE      MI   49250‐9431
MARTINREA METAL INDUSTRIES INC   SHAWN ADELSBERGER                                                                                                            KY   40065
MARTINREA‐JONESVILLE             COLLEEN MOORMANN                 260 GAIGE ST               TIMERLAND OFFICE PARK                            JONESVILLE      MI   49250‐9431
MARTINREA‐JONESVILLE             JOHN PERRIN                      260 GAIGE ST               TIMERLAND OFFICE PARK                            JONESVILLE      MI   49250‐9431
MARTINREA/3820 COMME             3820 COMMERCE ROAD                                                                  LONDON ON N6N 1P6
                                                                                                                     CANADA
MARTINREA/COLUMBIA               2003 OAKLAND PKWY                                                                                            COLUMBIA        TN 38401‐6530
MARTINREA/INDIANA                2190 LANDMARK AVE NE                                                                                         CORYDON         IN 47112‐2016
MARTINREA/MEXICO                 BLVD INDUSTRIAS DE LA            TRANSFORMACION NO 3131                             RAMOS ARIZPE MX 25900
                                                                                                                     MEXICO
MARTINREA/N VERNON               505 INDUSTRIAL DRIVE                                                                                         NORTH VERNON    IN   47265
MARTINREA/ONTARIO                7405 TRANMERE DRIVE                                                                 MISSISSAUGA ON L5S 1L4
                                                                                                                     CANADA
MARTINREA/ONTARIO                60 TRAVAIL RD                                                                       MARKHAM ON L3S 3J1
                                                                                                                     CANADA
MARTINS AUTO SERVICE             2150 MILL ST                                                                                                 RENO           NV 89502‐1515
MARTINS FLAG SHOP INC            127 TWEEDWOOD DR                                                                                             NEW HAVEN      IN 46774‐1580
MARTINS JR, ALFRED T             7330 GUNPOWDER RD                                                                                            BALTIMORE      MD 21220‐1159
                              09-50026-mg                Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                          Address1                           Address2                      Address3   Address4            City               State Zip
MARTINS LEASING CO            3236 S DYE RD                                                                                   FLINT               MI 48507‐1006
MARTINS, ADELINA              11212 PFLUMM RD                                                                                 LENEXA              KS 66215‐4811
MARTINS, ARMANDO              16 JOHNSON RD                                                                                   LAGRANGEVILLE       NY 12540‐5708
MARTINS, CARLOS               40 WATSON AVE                                                                                   OSSINING            NY 10562‐5114
MARTINS, CARLOS A             229 SOMMERVILLE PL                                                                              YONKERS             NY 10703‐2210
MARTINS, DYAN                 3909 IRIS DR                                                                                    WATERFORD           MI 48329‐1118
MARTINS, FERNANDO             35266 GLENGARY CIR                                                                              FARMINGTON HILLS    MI 48331‐2620
MARTINS, FRANCELINO R         12 FILMORE AVE                                                                                  DANBURY             CT 06811
MARTINS, JOAQUIM              RUA RAMALHO ORTIGAO # 7                                                     CALDAS DA RAINHA
                                                                                                          PORTUGAL 2500247
MARTINS, JOAQUIM M            84 BORMAN AVE                                                                                   AVENEL              NJ   07001‐2109
MARTINS, JOSE A               ESTRADA DO VALE NO 10                                                       SERRA DO BOURO
                                                                                                          PORTUGAL 2500715
MARTINS, JOSEPH               240 S BROADWAY                                                                                  TARRYTOWN          NY    10591
MARTINS, JULIO J              73 PROSPECT AVE                                                                                 OSSINING           NY    10562‐4316
MARTINS, LILLIE H             34980 SOUTH VIX POINT RD                                                                        DRUMMOND ISLAND    MI    49726
MARTINS, LILLIE H             34980 S DIX POINT RD                                                                            DRUMMOND ISLAND    MI    49726‐9465
MARTINS, LUIS A               17 WOODLAND TER                                                                                 YONKERS            NY    10701‐1927
MARTINS, MANUEL               25313 FOREST OAK CT                                                                             LEESBURG           FL    34748‐1810
MARTINS, MANUEL A             11212 PFLUMM RD                                                                                 LENEXA             KS    66215‐4811
MARTINS, MANUEL A             11212 PFLUMM ROAD                                                                               LENEXA             KS    66215‐4811
MARTINS, MARIA F              33 CHERRY ROAD                                                                                  FRAMINGHAM         MA    01701‐7842
MARTINS, MARIA F              33 CHERRY RD                                                                                    FRAMINGHAM         MA    01701‐7842
MARTINS, MARLENE M            9141 W WATERFORD SQ N                                                                           GREENFIELD         WI    53228‐2252
MARTINS, RICHARD M            13005 EVERETT CT                                                                                KANSAS CITY        KS    66109‐5311
MARTINS, RICHARD MANUEL       13005 EVERETT CT                                                                                KANSAS CITY        KS    66109‐5311
MARTINSBURG GAS AND HEATING   130 WEST KING STREET                                                                            MARTINSBURG        WV    25401
COMPANY, INC.
MARTINSEN JEFF                2400 VALLEY AVENUE                                                                              WINCHESTER         VA    22601
MARTINSKI JR, PAUL S          8935 E PICTURESQUE DR                                                                           GREENWOOD          LA    71033‐3399
MARTINSKI, DONALD G           3300 E MONROE RD                                                                                MIDLAND            MI    48642‐7246
MARTINSKI, ELIZABETH I        14580 SHARON RD.                                                                                CHESANING          MI    48616
MARTINSKI, JOHN W             1991 W OLSON RD                                                                                 SANFORD            MI    48657‐9621
MARTINSKI, VICTOR A           14580 SHARON RD                                                                                 CHESANING          MI    48616‐9409
MARTINSKY, MARTIN F           4357 POND RUN                                                                                   CANTON             MI    48188‐2177
MARTINSON HAROLD B (667795)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA    23510
                                                                 STREET, SUITE 600
MARTINSON SCOTT               1092ND AVE SW                                                                                   LONSDALE           MN    55046
MARTINSON TRACY               MARTINSON, TRACY                   403 N UNIVERSITY AVE                                         BEAVER DAM         WI    53916‐1841
MARTINSON, ARLENE N           4150 IDLE HOUR CIR                                                                              DAYTON             OH    45415‐3316
MARTINSON, BONNIE J           5232 TAHQUAMENON TRAIL                                                                          FLUSHING           MI    48433‐1242
MARTINSON, CHUCK              1004 MEANDERING WAY                                                                             FRANKLIN           TN    37067‐4042
MARTINSON, CLIFFORD H         72 HILLSIDE DR                                                                                  CLAYTON            GA    30525‐5609
MARTINSON, CLIFFORD H         9640 SWITZER BLVD                                                                               ROSCOMMON          MI    48653
MARTINSON, GARY L             3952 BLUE SPRUCE DR                                                                             DEWITT             MI    48820‐9259
MARTINSON, GAYLE L            1750 NEW LOTHROP R                                                                              LENNON             MI    48449‐9660
MARTINSON, GAYLE L            1750 N NEW LOTHROP RD                                                                           LENNON             MI    48449‐9660
MARTINSON, GERALD L           16 CONVERSE DR                                                                                  LAPEER             MI    48446‐3342
MARTINSON, GREG               935 14TH STREET WEST                                                                            GRAFTON            ND    58237
MARTINSON, GREGORY D          THOMPSON DAVID C                   PO BOX 5235                                                  GRAND FORKS        ND    58206‐5235
MARTINSON, HAROLD B           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA    23510
                                                                 STREET, SUITE 600
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Name                          Address1                          Address2                          Address3   Address4         City             State Zip
MARTINSON, JOAN B             39433 DUNDEE RD                                                                                 ZEPHYRHILLS       FL 33542‐4734
MARTINSON, KATHERINE          33 VILLAGE PKWY UNIT 238                                                                        CIRCLE PINES      MN 55014‐4416
MARTINSON, KATHERINE          C/O FARMERS INSURANCE GROUP       PO BOX 268992                                                 OKLAHOMA CITY     OK 73126‐8992
MARTINSON, KATHERINE          33 VILLAGE PARKWAY #424                                                                         CIRCLE PINES      MN 55014
MARTINSON, KATHRYN            2917 92ND ST                                                                                    URBANDALE          IA 50322‐4211
MARTINSON, LEE C              85 FISHING BROOK RD                                                                             WESTBROOK         CT 06498‐1470
MARTINSON, LOREN L            SHADY ACRES TRAILOR PK            4615 WESTERN RD                   LOT 24                      FLINT             MI 48506
MARTINSON, MARY K             33904 COLFAX DR                                                                                 STERLING HTS      MI 48310‐6051
MARTINSON, PAUL               479 W WILDSPRING RD                                                                             ROUND LAKE         IL 60073‐4208
MARTINSON, ROBERT D           6721 LANMAN DR                                                                                  WATERFORD         MI 48329‐2935
MARTINSON, SANDRA J           6721 LANMAN DR                                                                                  WATERFORD         MI 48329‐2935
MARTINSON, THOMAS C           13321 SUMMER LN                                                                                 GRAND LEDGE       MI 48837‐9280
MARTINSON, TODD J             1936 LAKESHORE DR                                                                               FENNVILLE         MI 49408‐9719
MARTINSON, TRACY              403 N UNIVERSITY AVE                                                                            BEAVER DAM        WI 53916‐1841
MARTINSON, WAYNE G            117 SURFWOOD CT                                                                                 PRUDENVILLE       MI 48651‐9406
MARTINSON, WAYNE G                                                                                                            PRUDENVILLE       MI 48651
MARTINSONS, DAINIS O          3746 CHILTON DR                                                                                 SAGINAW           MI 48603‐3126
MARTINSVILLE CITY TREASURER   PO BOX 1023                                                                                     MARTINSVILLE      VA 24114‐1023
MARTINSVILLE SPEEDWAY         PO BOX 3311                                                                                     MARTINSVILLE      VA 24115‐3311
MARTINUS, ANNE C              4077 CARMANWOOD DR                                                                              FLINT             MI 48507‐5501
MARTINUS, ANNE C              11520 E POTTER RD                                                                               DAVISON           MI 48423‐8158
MARTINUS, DENNIS L            5105 MACON HWY                                                                                  TECUMSEH          MI 49286‐9618
MARTINUS, ELIZABETH A         13343 DIXIE HWY                                                                                 BIRCH RUN         MI 48415‐9319
MARTINUS, ELIZABETH A         13343 N DIXIE HWY                                                                               BIRCH RUN         MI 48415‐9319
MARTINY, ETHEL M              1320 WISCONSIN ST                                                                               HUDSON            WI 54016‐1861
MARTION, CHARLES A            205 E PHILADELPHIA BLVD                                                                         FLINT             MI 48505‐3327
MARTIRE, KATHLEEN M           966 PARKHURST BLVD                                                                              TONAWANDA         NY 14150
MARTIRE, KELLY J              15022 E BROAD AVE                                                                               SPOKANE VALLEY    WA 99216‐3001
MARTIS, PAMELA M              195 CATALPA DR                                                                                  BIRMINGHAM        MI 48009‐1712
MARTIS, ROBERTO               2204 CONDOR ST                                                                                  GRAND PRAIRIE     TX 75052‐2280
MARTISOFSKI, JOHN D           218 E UNION ST                                                                                  BURLINGTON        NJ 08016‐1717
MARTLAGE II, HERMAN L         1080 PLANTATION CT                                                                              MARTINSVILLE      IN 46151‐8679
MARTLAGE, BONITA R            204 WOODLAND DRIVE                                                                              NEW WHITELAND     IN 46184‐1428
MARTLAGE, MICHELLE M          11260 S 375 W                                                                                   FAIRMOUNT         IN 46928‐9522
MARTLEW, TAMARA M             10094 SHADYBROOK LN                                                                             GRAND BLANC       MI 48439‐8317
MARTLEY TAYA                  MARTLEY, TAYA                     17295 CHESTERFIELD AIRPORT ROAD
                                                                SUITE 200 CHESTERFIELD, MO

MARTLOCK, ROBERT G            60 PADDOCK LN                                                                                   TRYON            NC   28782‐3761
MARTNICK, RUTH C              1921 LIBERTY AVE                                                                                LINCOLN PARK     MI   48146‐3428
MARTNICK, RUTH C              1921 LIBERTY                                                                                    LINCOLN PARK     MI   48146
MARTOCELLO, SUE L             8 BRENTWOOD DR                                                                                  ROCHESTER        NY   14624‐3602
MARTOF, CAROL L               2070 DEER HAVEN TRAIL                                                                           FOWLER           OH   44418‐4418
MARTOF, LEONARD               8125 GRAHAM RD                                                                                  CHATTANOOGA      TN   37421‐3219
MARTON PAUL M                 6203 NELWOOD RD                                                                                 CLEVELAND        OH   44130‐2333
MARTON, PATRICIA A            6510 N WILLIAMS RD                                                                              SAINT JOHNS      MI   48879‐8401
MARTON, PAUL M                6203 NELWOOD RD                                                                                 CLEVELAND        OH   44130‐2333
MARTONE FRANK (626642)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA   23510
                                                                STREET, SUITE 600
MARTONE, ANTHONY J            35 FRANCINE DR                                                                                  ROCHESTER        NY 14606‐3342
MARTONE, CHARLES E            105 BRUCE ST                                                                                    SCOTIA           NY 12302‐2302
MARTONE, CHRISTOPHER J        1302 WELLAND DR                                                                                 ROCHESTER        MI 48306‐4825
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Name                          Address1                         Address2                      Address3   Address4                   City               State Zip
MARTONE, CONSTANCE M          1 APPLEWOOD CT                   BON AYRE                                                            HOCKESSIN           DE 19707‐1330
MARTONE, CONSTANCE MCDORMAN   1 APPLEWOOD CT                   BON AYRE                                                            HOCKESSIN           DE 19707‐1330
MARTONE, DOROTHEA             912 POMPTON AVE STE A2           C/O PETER H. DORMAN                                                 CEDAR GROVE         NJ 07009‐1264
MARTONE, FRANK                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA 23510
                                                               STREET, SUITE 600
MARTONE, JAMES J              3279 OSPREY LN                                                                                       PORT CHARLOTTE     FL   33953‐4624
MARTONE, JOHN E               18222 SOUTH DR APT 107                                                                               SOUTHFIELD         MI   48076‐1129
MARTONE, JOHN J               100 HUFFER RD                                                                                        HILTON             NY   14468‐9537
MARTONE, JOSEPH J             705 4TH ST                                                                                           LYNDHURST          NJ   07071‐3203
MARTONE, LINDA                3905 W 20TH ST                                                                                       CLEVELAND          OH   44109‐2937
MARTONE, MARGARET             23 ROBBINS AVE                                                                                       ELMSFORD           NY   10523‐3310
MARTOR SPA                    VIA NICOLAO CENA 65                                                       BRANDIZZO IT 10032 ITALY
MARTOR USA                    1235 S KIMPS CT UNIT 29                                                                              GREEN BAY          WI 54313‐8947
MARTORANA, ALFONSO            VIA PIAZZA VECCHIA 7             REALMONTE                                SICILY ITALY 92100
MARTORANA, ROBIN S            2273 HYDE SHAFFER RD                                                                                 BRISTOLVILLE       OH   44402‐9747
MARTORANA, ROBIN S.           2273 HYDE SHAFFER RD                                                                                 BRISTOLVILLE       OH   44402‐9747
MARTORELLI, JOSEPH M          25 BURR ST                                                                                           NEW HAVEN          CT   06512‐3907
MARTORELLI, MARY A            905 SUNSHINE CT                                                                                      LOCKPORT           IL   60441‐4516
MARTORINA, IGNAZIO            137 SUMMIT CT                                                                                        WESTFIELD          NJ   07090‐2834
MARTOS, CARLOS                11027 OLD RIVER SCOOL RD                                                                             DOWNEY             CA   90241‐4252
MARTOVICH, SUSAN K            118 BOWERS HILL RD                                                                                   OXFORD             CT   06478‐1757
MARTOVITZ, DEBORAH D          5603 NORTHCLIFF AVE                                                                                  CLEVELAND          OH   44144‐4026
MARTOVITZ, EDWARD M           3193 W 120TH ST                                                                                      CLEVELAND          OH   44111‐1743
MARTOVITZ, JILLIAN D          5603 NORTHCLIFF AVE                                                                                  CLEVELAND          OH   44144‐4026
MARTOVITZ, VICTORIA           3193 W 120TH ST                                                                                      CLEVELAND          OH   44111‐1743
MARTOVITZ, VICTORIA           3193 W 120TH                                                                                         CLEVELAND          OH   44111‐1743
MARTOYSIA CHATMAN             2901 HARWICK DR APT 3                                                                                LANSING            MI   48917‐2354
MARTRAY, ROBERT W             542 BROADFORD RD                                                                                     CONNELLSVILLE      PA   15425‐6102
MARTRE' T WILLIAMS            108 CHINN DR                                                                                         CANTON             MS   39046‐5303
MARTRIC HARRIS                2301 NEBRASKA AVE                                                                                    SAGINAW            MI   48601‐5328
MARTRICE WOODS                663 FORD LN                                                                                          MONROE             LA   71202‐9243
MARTS JR, LEONARD A           8277 LEE RD                                                                                          ATCHISON           KS   66002‐4544
MARTS, BOYD C                 511 ELBOW BEND BLVD                                                                                  GREENWOOD          IN   46142‐8307
MARTS, BRIAN S                919 PERRY WOODS CV                                                                                   FORT WAYNE         IN   46845‐2329
MARTS, ROBERT A               18325 81ST AVE W                                                                                     EDMONDS            WA   98026
MARTT, GOLDIA M               1355 HANDY ROAD                                                                                      HARRODSBURG        KY   40330‐8789
MARTT, GOLDIA M               RR 1 BOX 268                                                                                         WALLINGFORD        KY   41093
MARTTILA, BENJAMIN R          2823 WOODMEADOW PL SE                                                                                GRAND RAPIDS       MI   49546‐8005
MARTTILA, CLIFFORD M          1273 DRIFTWOOD DR                                                                                    NORTH FORT MYERS   FL   33903‐3634
MARTTILA, MARVIN B            1920 CALLIS RD                                                                                       LAPEER             MI   48446‐7789
MARTTILA, NANCY A             1920 CALLIS RD                                                                                       LAPEER             MI   48446‐7789
MARTUCCI ANTHONY              126 NEWMARKET SQ                                                                                     BOSTON             MA   02118‐2603
MARTUCCI, ANTHONY S           2003 E COUNTY LINE RD                                                                                MINERAL RIDGE      OH   44440‐9595
MARTUCCI, DOMINIC A           2581 NEWTON FALLS RD                                                                                 NEWTON FALLS       OH   44444‐9603
MARTUCCI, JOSEPHINE           83 PARK EDGE                                                                                         BERKELEY HEIGHTS   NJ   07922‐1282
MARTUCCI, JOSEPHINE           83 PARKK EDGE                                                                                        BERKELEY HEIGHTS   NJ   07922‐1282
MARTUCCI, MURIEL R            2506 GREEN VIEW WAY                                                                                  TOMS RIVER         NJ   08753‐7332
MARTUCCI, VIOLET              3114 BANCROFT ROAD                                                                                   AKRON              OH   44333‐3224
MARTUCCIO, NICK J             600 WILCOX RD                                                                                        AUSTINTOWN         OH   44515‐4258
MARTUCH JR, JAMES H           2928 LONGSTREET AVE SW                                                                               WYOMING            MI   49509‐2924
MARTUCH, BARBARA J            491 W F 30                                                                                           MIKADO             MI   48745‐9717
MARTUCH, BARBARA J            491 WEST F 30                                                                                        MIKADO             MI   48745
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Name                            Address1                         Address2                         Address3   Address4         City               State Zip
MARTUCH, GREG P                 1211 VISTA DR                                                                                 FENTON              MI 48430‐1753
MARTUCH, JOHN D                 PO BOX 475                                                                                    ONEKAMA             MI 49675‐0475
MARTUCH, LILLIAN R              668 ZEHNDER DR                                                                                FRANKENMUTH         MI 48734‐9705
MARTUCH, ROBERT J               6814 BROWNFIELD DR                                                                            PARMA               OH 44129‐4018
MARTUCH, ROSEMARY               3354 BLUEBIRD DR                                                                              SAGINAW             MI 48601‐5706
MARTUL, ANTONIO                 1375 MEADOWS DR                                                                               HAMMOND             WI 54015‐9672
MARTURANO, NELLA M              4 HILLCREST RD                                                                                MANALAPAN           NJ 07726‐4204
MARTUS, FREDERICK J             10095 HEARTWOOD RD                                                                            CLARKSTON           MI 48348‐1927
MARTUSCELLI, DIDEM B            52010 FINCH CT                                                                                SHELBY TOWNSHIP     MI 48315‐6948
MARTUSCELLI, JOHN A             52010 FINCH CT                                                                                SHELBY TWP          MI 48315‐6948
MARTUSCIELLO, FIORAVANTE        3979 TRAILS END DRIVE                                                                         DANSVILLE           NY 14437‐9228
MARTUSCIELLO, GUY R             3408 REDMOND ROAD                                                                             NUNDA               NY 14517‐9780
MARTUSCIELLO, GUY R             3408 REDMOND RD                                                                               NUNDA               NY 14517‐9780
MARTUSIEWICZ, JOHN              3402 LEVEE ST                                                                                 WATERFORD           MI 48329‐2250
MARTUSIS, CONCETTA M            NURSING CARE CENTER OF BRISTOL   61 BELLEVUE AVE                                              BRISTOL             CT 06010
MARTUSIS, CONCETTA M            61 BELLEVUE AVE                  NURSING CARE CENTER OF BRISTOL                               BRISTOL             CT 06010‐5815

MARTUSIS, JOHN W                1302 CYPRESS DRIVE                                                                            DANBURY            CT   06811‐2678
MARTWICK, MARK J                50 FOX HOLLOW LN                                                                              EOLIA              MO   63344‐2234
MARTY ALBERT                    3658 ZENITH AVE                                                                               THOUSAND OAKS      CA   91360‐6261
MARTY ALDRICH                   1201 BELLEAU LAKE DR                                                                          O FALLON           MO   63366‐3117
MARTY ALICH                     MARTY ALICH                      109 ASH AVE                                                  FORRESTON          IL   61030
MARTY ALLEN                     1416 WESTERRACE DR                                                                            FLINT              MI   48532‐2438
MARTY ANDERSON                  1114 MAPLE CREEK RDG                                                                          LOGANVILLE         GA   30052‐7103
MARTY BASTIEN                   4441 CATLIN RD                                                                                COLUMBIAVILLE      MI   48421‐8979
MARTY BLYTHE                    1411 BRIDGEWATER PL                                                                           ATHENS             AL   35611‐4040
MARTY BRUSCO                    312 TREEMOSS CIR                                                                              PICKERINGTON       OH   43147‐7947
MARTY C COLLINS                 230 BAKER LN                                                                                  CARLISLE           OH   45005
MARTY CAIN                      PO BOX 1043                                                                                   OAKWOOD            GA   30566‐0018
MARTY CALHOUN SR                2715 SWEET BRIAR BLF                                                                          HAUGHTON           LA   71037‐7713
MARTY CHOVANEC                  7018 BRISTOL RD                                                                               SWARTZ CREEK       MI   48473‐7905
MARTY COGHLAN                   5868 WELLINGTON FARM DR                                                                       SAINT CHARLES      MO   63304‐4505
MARTY D PHILLIPS                2931 FROST DR SW                                                                              DECATUR            AL   35603‐4530
MARTY D WOODARD                 15816 PARKSIDE ST                                                                             DETROIT            MI   48238‐4104
MARTY DALY                      PO BOX 2516                                                                                   MARTINSBURG        WV   25402‐2516
MARTY DEAN                      600 SKYLINE DR S                                                                              LEWISBURG          TN   37091‐4047
MARTY FARAIS                    BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS.        OH   44236
MARTY FELDMAN CHEVROLET         42355 GRAND RIVER AVE                                                                         NOVI               MI   48375‐1839
MARTY FELDMAN CHEVROLET, INC.   42355 GRAND RIVER AVE                                                                         NOVI               MI   48375‐1839
MARTY FELDMAN CHEVROLET, INC.   MARLA FELDMAN                    42355 GRAND RIVER AVE                                        NOVI               MI   48375‐1839
MARTY FOLZ                      40360 RYAN RD                                                                                 STERLING HEIGHTS   MI   48310‐1756
MARTY FRANCISCO                 8435 SW 76TH TER                                                                              MIAMI              FL   33143‐3750
MARTY G FELLERS                 110 E 7TH ST                                                                                  TILTON             IL   61833‐7804
MARTY G JORDAN                  APT 327                          9250 DEAN ROAD                                               SHREVEPORT         LA   71118‐2869
MARTY GNAU                      31 WARSEN AVE                                                                                 WENTZVILLE         MO   63385‐4812
MARTY GRETTENBERGER             3165 ORCHARD DR                                                                               NORTH FORT MYERS   FL   33917‐1566
MARTY H ROBERTS                 PO BOX 355                                                                                    SUMMIT             MS   39666
MARTY HEATH                     1023 TERRACEWOOD DR                                                                           ENGLEWOOD          OH   45322‐2457
MARTY HELDT                     PO BOX 193                                                                                    LAKEVILLE          MI   48366‐0193
MARTY HULL                      16114 CREST DR                                                                                LINDEN             MI   48451‐8718
MARTY J CAIN                    PO BOX 1043                                                                                   OAKWOOD            GA   30566‐0018
MARTY JORDAN                    203 MONA PL                                                                                   DALLAS             GA   30132‐8198
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Name                                 Address1                      Address2                  Address3   Address4         City               State Zip
MARTY K STROUP                       4295 FLOWERS RD                                                                     MANSFIELD           OH 44903‐7712
MARTY KEEGAN
MARTY KROBOTH                        3617 PARK ST                                                                        WHITEHALL          PA   18052
MARTY L HEATH                        1023 TERRACEWOOD DR                                                                 ENGLEWOOD          OH   45322
MARTY LADWIG RACING                  8922 TIMBER PARK ST                                                                 SAN ANTONIO        TX   78250‐4129
MARTY LIU                            13966 BASILISCO CHASE DR                                                            SHELBY TWP         MI   48315‐4248
MARTY M DURFEY                       1330 W ALEXIS RD LOT 136                                                            TOLEDO             OH   43612‐4281
MARTY MARCUM                         570 KIRKWOOD DR                                                                     W JEFFERSON        OH   43162‐1119
MARTY MCCAGHREN                      1530 APPLE GROVE RD                                                                 SOMERVILLE         AL   35670‐5611
MARTY MCGUIRE                        1809 EASTMAN AV.              NONE                                                  MIDLAND            MI   48640
MARTY MEMMER                         13303 RITA ST                                                                       PAULDING           OH   45879‐8865
MARTY P GRAY                         718 PATRICK RD                                                                      SPRINGFIELD        OH   45503‐5027
MARTY PASSENGER                      1345 RUSSELL ST                                                                     YPSILANTI          MI   48198‐5952
MARTY PATTISON                       6609 S 150 E                                                                        JONESBORO          IN   46938‐9630
MARTY PETERSON                       5408 WELLINGTON CIR                                                                 MC FARLAND         WI   53558‐8937
MARTY PHILLIPS                       2931 FROST DRIVE SOUTHWEST                                                          DECATUR            AL   35603‐4530
MARTY R BALLARD                      683 RALDE CIRCLE                                                                    RIDGELAND          MS   39157‐3922
MARTY R PRESSON                      1430 PERSHING BLVD                                                                  DAYTON             OH   45410‐3115
MARTY ROBERTS                        PO BOX 355                                                                          SUMMIT             MS   39666‐0355
MARTY ROGERS                         405 HARBOR LN                                                                       HICKORY CREEK      TX   75065‐7543
MARTY SHOPE                          8104 ONEIDA RD                                                                      GRAND LEDGE        MI   48837‐9426
MARTY STARKEY                        1609 COUNTY ROAD 129                                                                WEDOWEE            AL   36278‐7220
MARTY STROUP                         4295 FLOWERS RD                                                                     MANSFIELD          OH   44903‐7712
MARTY T GNAU                         31 WARSEN AVE                                                                       WENTZVILLE         MO   63385‐4812
MARTY TATUM                          4185 GREGORY RD                                                                     ORION              MI   48359‐2027
MARTY URECHE                         54168 S GENTZLER DR                                                                 THREE RIVERS       MI   49093‐9602
MARTY VANICH AUTOMOTIVE REPAIR       2629 JUNIPER LN                                                                     SACRAMENTO         CA   95825‐1909
MARTY WELCH                          5531 MARY SUE ST                                                                    CLARKSTON          MI   48346‐3243
MARTY WHEETLEY                       830 HUNTERS RUN AVE                                                                 BOWLING GREEN      KY   42104‐7207
MARTY WOODARD                        15816 PARKSIDE ST                                                                   DETROIT            MI   48238‐4104
MARTY'S AUTO WORKS                   154 MINGO TRL                                                                       LONGWOOD           FL   32750‐5143
MARTY'S BUICK PONTIAC GMC            5 INDEPENDENCE MALL WAY                                                             KINGSTON           MA   02364‐3023
MARTY'S GMC SALES & SERVICE CO/ARI   9000 MIDLANTIC DR                                                                   MOUNT LAUREL       NJ   08054‐1539

MARTY'S SERVICE CENTER               326 MIDDLEFIELD ST                                                                  MIDDLETOWN         CT   06457‐3569
MARTY'S, INC.                        CHRISTINE ALICANDRO           5 INDEPENDENCE MALL WAY                               KINGSTON           MA   02364‐3023
MARTY, CHAD                          5634 CINNAMON LAKE DR                                                               BAYTOWN            TX   77521‐7860
MARTY, DELMAR W                      810 26TH ST                                                                         MONROE             WI   53566‐3259
MARTY, HAZEL M                       200 N GORDY APT 2‐2                                                                 EL DORADO          KS   67042‐1939
MARTY, JOSEPH W                      4615 IRENE ST                                                                       FORT SMITH         AR   72904‐2019
MARTY, LEAH C                        1830 227TH AVENUE NORTHWEST                                                         BETHEL             MN   55005‐9529
MARTY, LORRAINE                      2269 TROY PL                                                                        MERRICK            NY   11566‐3815
MARTY, RAMONA J                      10926 LARIMORE AVE                                                                  OMAHA              NE   68164‐2133
MARTY, RODNEY H                      PO BOX 481                                                                          NEW GLARUS         WI   53574‐0481
MARTY, STANLEY W                     14205 81ST DR                                                                       DYER               IN   46311‐2666
MARTYAK ROBERT J                     4775 TOPPER HILL DR                                                                 HUBBARD            OH   44425‐3329
MARTYAK, ROBERT J                    4775 TOPPER HILL DR                                                                 HUBBARD            OH   44425‐3329
MARTYKA, LEONARD J                   5721 MAYBURN ST                                                                     DEARBORN HEIGHTS   MI   48127‐3207
MARTYKA, PATRICK J                   11906 HALL RD                                                                       WHITMORE LAKE      MI   48189‐9765
MARTYKA, PATRICK JOSEPH              11906 HALL RD                                                                       WHITMORE LAKE      MI   48189‐9765
MARTYN JR, DANIEL E                  2222 MEMORY LN                                                                      WESTLAKE VILLAGE   CA   91361‐5523
MARTYN, DANIEL E                     18 BRIARCLIFF LN                                                                    GLEN COVE          NY   11542‐3100
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Name                           Address1                            Address2                      Address3   Address4         City               State Zip
MARTYN, DOUGLAS E              115 S 5TH ST                                                                                  GRAND HAVEN         MI 49417‐1409
MARTYN, ELIZABETH J            7351 GRANDWOOD DR                                                                             SWARTZ CREEK        MI 48473‐9416
MARTYN, KAREN R                2222 MEMORY LN                                                                                WESTLAKE VILLAGE    CA 91361‐5523
MARTYN, KIM E                  4485 BRIAR LN                                                                                 BURTON              MI 48509‐1226
MARTYN, RONALD R               2580 E GLENWOOD CT                                                                            MIDLAND             MI 48640‐8970
MARTYN, TED I                  344 N RANSOM RD                                                                               ITHACA              MI 48847‐9428
MARTYN, WILLIAM A              1311 SAVOY LN                                                                                 SAGINAW             MI 48604‐1022
MARTYNE, WILLIAM M             702 TWIN OAKS RD                                                                              DEERFIELD           OH 44411‐9717
MARTYNIAK NORA                 MARTYNIAK, NORA                     323 WASHINGTON ST STE 1                                   WESTWOOD            MA 02090‐1801
MARTYNIAK, CATHERINE           29250 US 19N LOT 183                                                                          CLEARWATER          FL 33761‐2113
MARTYNIAK, CATHERINE           29250 US HIGHWAY 19 N LOT 183                                                                 CLEARWATER          FL 33761‐2113
MARTYNIAK, JACQUELINE M        30179 LORRAINE AVE UNIT 3                                                                     WARREN              MI 48093‐2259
MARTYNIAK, JAMES L             1025 KESSLER BOULEVARD EAST DR                                                                INDIANAPOLIS        IN 46220‐2615
MARTYNIAK, JOHN P              29751 WESTBROOK AVE                                                                           WARREN              MI 48092‐5430
MARTYNIAK, JOHN PAUL           29751 WESTBROOK AVE                                                                           WARREN              MI 48092‐5430
MARTYNIAK, LEONARD R           11399 MAE AVE                                                                                 WARREN              MI 48089‐1037
MARTYNIAK, NORA                LAW OFFICE KEVIN F GILLIS           323 WASHINGTON ST STE 1                                   WESTWOOD            MA 02090‐1801
MARTYNIAK, NORA
MARTYNIAK, STEPHEN             THE LAW OFFICES OF KEVIN F GILLIS   323 WASHINGTON ST STE 1                                   WESTWOOD           MA   02090‐1801
MARTYNIUK, ERNEST T            747 JAMAICA DR                                                                                TROY               MI   48083‐1009
MARTYNOWICZ, ALPHONSE G        2263 OAKLEY PL                                                                                LAKE VIEW          NY   14085‐9728
MARTYNOWICZ, ALPHONSE GROVER   2263 OAKLEY PL                                                                                LAKE VIEW          NY   14085‐9728
MARTYNOWICZ, CINDY             PO BOX 105                                                                                    WEST WARREN        MA   01092‐0105
MARTYNOWICZ, STANLEY J         4903 NEWTON RD                                                                                HAMBURG            NY   14075‐5434
MARTYNOWICZ, TIMOTHY F         6817 COLONY CT                                                                                DERBY              NY   14047‐9557
MARTYNSKI, THOMAS E            3162 S 23RD ST                                                                                MILWAUKEE          WI   53215‐4409
MARTZ BARRY R                  721 ELM ST                                                                                    IRWIN              PA   15642‐3909
MARTZ ESQ., WILLIAM N          24870 WOODRIDGE DR                                                                            FARMINGTON HILLS   MI   48335‐2212
MARTZ JAMES H SR (400970)      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                   STREET, SUITE 600
MARTZ JR, DONALD               433 ELM TWIN CT                                                                               LINTHICUM          MD   21090‐2158
MARTZ JR, JOHN E               11558 E LOMITA AVE                                                                            MESA               AZ   85209‐1381
MARTZ LARRY                    MARTZ, LARRY                        3706 DRIFTWOOD DRIVE                                      CADILLAC           MI   49601‐9031
MARTZ, ADELE H                 36780 CHESAPEAKE RD                                                                           FARMINGTON HILLS   MI   48335‐1130
MARTZ, BARBARA J               1548 HAZEL ST                                                                                 BIRMINGHAM         MI   48009‐6802
MARTZ, BARRY R                 721 ELM ST                                                                                    IRWIN              PA   15642‐3909
MARTZ, BONNIE J                6469 CRESTVIEW DR                                                                             HOLLY              MI   48442‐8437
MARTZ, CHRISTINA M             46 DIVISION ST HANOVER TOWNSHP                                                                WILKES BARRE       PA   18702
MARTZ, CRAIG A                 41417 BERNARD DR                                                                              STERLING HTS       MI   48313‐3410
MARTZ, DALLAS P                2941 LITTLE RIVER RD                                                                          MADISON            GA   30650‐5723
MARTZ, DERRICK R               6121 F0TH                                                                                     TOLEDO             OH   43613
MARTZ, DOROTHY K               2540 CLUSTER AVE                                                                              DAYTON             OH   45439‐2908
MARTZ, FRANCES K               1344 BLUEWATER DR                                                                             SUN CITY CENTER    FL   33573‐6220
MARTZ, GILBERT A               21100 YALE ST                                                                                 ST CLAIR SHRS      MI   48081‐1869
MARTZ, HOWARD E                220 FAIRMOUNT AVE                                                                             FAIRMOUNT          IN   46928‐1803
MARTZ, JACK A                  4497 W MAIN ST                                                                                EDINBURG           PA   16116‐1423
MARTZ, JAMES H                 GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                   STREET, SUITE 600
MARTZ, JAMES K                 356 CENTER ST                                                                                 HUNTINGTON         IN   46750
MARTZ, JEROME A                1253 WOODNOLL DR                                                                              FLINT              MI   48507‐4715
MARTZ, JERRY J                 5371 E 200 S                                                                                  KOKOMO             IN   46902‐9237
MARTZ, KENNETH W               3566 PINERIDGE LN                                                                             BRIGHTON           MI   48116‐7406
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Name                                Address1                        Address2                        Address3   Address4                City           State Zip
MARTZ, KURT F                       4155 ENGLAND BEACH RD                                                                              WHITE LAKE      MI 48383‐1720
MARTZ, LARRY                        3706 DRIFTWOOD DR                                                                                  CADILLAC        MI 49601‐9031
MARTZ, LARRY E                      5718 N LAGRO RD                                                                                    MARION          IN 46952‐9735
MARTZ, MARGARET                     39 PINE ST                                                                                         CARY            MS 39054
MARTZ, MARJORIE                     2169 WINDSOR RD                                                                                    MANSFIELD       OH 44905‐1762
MARTZ, MARY HAZEL                   5124 W SHORE DR SW                                                                                 CONYERS         GA 30094‐4751
MARTZ, MICHAEL O                    20802 TWISTING TRL                                                                                 LEANDER         TX 78645‐6421
MARTZ, MICHAEL O                    2141 W ROSE CENTER RD                                                                              HOLLY           MI 48442‐8983
MARTZ, NORMAN J                     3154 BROOKS RD                                                                                     ORANGE PARK     FL 32003‐7001
MARTZ, PAUL L                       2169 WINDSOR RD                                                                                    MANSFIELD       OH 44905‐1762
MARTZ, RALPH L                      PO BOX 161                                                                                         MARION          IN 46952‐0161
MARTZ, RICHARD C                    4241 E COOK RD                                                                                     GRAND BLANC     MI 48439‐8346
MARTZ, ROBERT                       3144 HOBART AVENUE                                                                                 KETTERING       OH 45429‐3914
MARTZ, ROBERT D                     5933 MIDWEST AVE                                                                                   TOLEDO          OH 43613‐1103
MARTZ, ROBERT W                     27 HUNTING SPG                                                                                     ROCHESTER       NY 14624
MARTZ, RONALD W                     1922 ASCOT TER NW                                                                                  ACWORTH         GA 30102‐7982
MARTZ, SANDRA                       1480 LYLE ST                                                                                       BURTON          MI 48509‐1641
MARTZ, STEVEN E                     7817 SHENK RD                                                                                      DELPHOS         OH 45833‐9525
MARTZ, STEVEN EUGENE                7817 SHENK RD                                                                                      DELPHOS         OH 45833‐9525
MARTZ, SUSAN M                      859 WELLINGTON CT                                                                                  CANTON          MI 48187‐4834
MARTZ, TAMARA C                     5888 W NORTH DR                                                                                    FRANKTON        IN 46044‐9485
MARTZ, TIMOTHY                      2601 ANTIOCH CHURCH RD                                                                             CLARKSVILLE     TN 37040
MARTZ, TROY M                       3954 MONROE RD                                                                                     TIPTON          MI 49287‐9800
MARTZ, VIRGINIA L                   117 GRANDISON RD                                                                                   GREENFIELD      IN 46140‐1215
MARTZ, WILLIAM L                    1540 STATE ROUTE 444                                                                               VICTOR          NY 14564‐9360
MARTZEN, JANEAN M                   10395 NORTHLAND DR              APT 2                                                              BIG RAPIDS      MI 49307‐8718
MARTZEN, JANEAN M                   10395 NORTHLAND DR APT 2                                                                           BIG RAPIDS      MI 49307
MARTZKE, JAMES L                    3313 W MOUNT HOPE AVE APT 30                                                                       LANSING         MI 48911‐1209
MARTZKE, LARRY L                    12906 W MELODY RD                                                                                  GRAND LEDGE     MI 48837‐8965
MARTZKE, RAYMOND L                  11540 NIXON RD                                                                                     GRAND LEDGE     MI 48837‐9407
MARTZOLF GEORGE HENRY (481890)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510
                                                                    STREET, SUITE 600
MARTZOLF, GEORGE H                  GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK        VA 23510‐2212
                                                                    STREET, SUITE 600
MARTZOLF, NEIL J                    PO BOX 224                                                                                         GLENROCK       WY   82637‐0224
MARTZOLFF, BRETT A                  2232 DEXTER AVE APT 203                                                                            ANN ARBOR      MI   48103‐4047
MARTZOWKA, NEAL J                   707 PIPER DR                                                                                       SAGINAW        MI   48604‐1815
MARTZOWKA, VERNE W                  2637 EDDY ST                                                                                       SAGINAW        MI   48604‐2408
MARUBENI AMER/STHFLD                2000 TOWN CTR STE 2150                                                                             SOUTHFIELD     MI   48075‐1310
MARUBENI AMERICA CORP               ATTN INDSTL MACHINERY DEV 36F   515 S FIGUEROA ST               STE 2000                           LOS ANGELES    CA   90071‐3306
MARUBENI ITOCHU STEEL AMERICA INC   450 LEXINGTON AVE FL 34                                                                            NEW YORK       NY   10017‐3914

MARUBENI STEEL/PORTL                104 WESTERN DR                                                                                     PORTLAND       TN   37148‐2017
MARUBENI‐ ITOCHU STEEL AMERICA      MARK ALTIMIER                   9050 CENTRE POINTE DR STE 130                                      WEST CHESTER   OH   45069‐4893
MARUBENI‐ITOCHU STEEL AMERICA       450 LEXINGTON AVE                                                                                  NEW YORK       NY   10017
MARUBENI‐ITOCHU STEEL INC           450 LEXINGTON AVE                                                                                  NEW YORK       NY   10017
MARUBENI‐ITOCHU STEEL INC           MARK ALTIMIER                   9050 CENTRE POINTE DR STE 130                                      WEST CHESTER   OH   45069‐4893
MARUBENI‐ITOCHU STEEL INC           NIHOMBASHI 1 CHOME BLDG 17F                                                CHIYODA‐KU TOKYO 103‐
                                                                                                               0027 JAPAN
MARUCA, MICHAEL                     777 AIRPORT RD NW                                                                                  WARREN         OH 44481‐9409
MARUCCI, LINDA                      4218 GRACETON RD                                                                                   PYLESVILLE     MD 21132‐1327
MARUCCI, RONNIE H                   16720 APPLE LN. N.                                                                                 RAY            MI 48095‐4107
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Name                          Address1                         Address2                         Address3   Address4               City              State Zip
MARUCCI, RONNIE H             57065 BERKSHIRE CT                                                                                  WASHINGTON TWP     MI 48094‐3546
MARUE, ELIZABETH L            806 ROEBLING AVE                                                                                    TRENTON            NJ 08611‐1024
MARUF SALMACI                 PO BOX 7385                                                                                         DEARBORN           MI 48121‐7385
MARUICE L LAWRENCE            C/O BRAYTON PURCELL              222 RUSH LANDING RD                                                NOVATO             CA 94948‐6169
MARUIZI CORDOVA               VIA XXZXX LO
MARUKIC, ANNA M               78 RUE MADELEINE                                                                                    AMHERST           NY   14221‐3233
MARUKIC, ANNE P               32 TAYLOR DR                                                                                        TONAWANDA         NY   14150‐5915
MARUKIC, ANNE P               32 TAYLOR DR.                                                                                       TONAWANDA         NY   14150‐5915
MARUNA, RICHARD A             2104 N HARMONY DR                                                                                   JANESVILLE        WI   53545‐0520
MARUNA, ROSALIA M             2104 N HARMONY DR                                                                                   JANESVILLE        WI   53545‐0520
MARUNIAK, DORIS               490 ERICKSON AVE                                                                                    WHITEHALL         OH   43213‐2837
MARUNIAK, WALTER              APT 209                          4100 WESTBROOK DRIVE                                               CLEVELAND         OH   44144‐1256
MARUNOWSKI MICHAEL & DIANN    5061 FOOTVILLE RICHMOND RD                                                                          ANDOVER           OH   44003‐9432
MARUS, JAMES D                606 N CENTER ST                                                                                     ROYAL OAK         MI   48067‐1712
MARUS, WILLIAM E              APT 322                          13900 LAKESIDE BOULEVARD NORTH                                     SHELBY TWP        MI   48315‐6048

MARUS, WILLIAM E              13900 LAKESIDE BLV NORTH         APRT B322                                                          SHELBY TOWNSHIP   MI   48315
MARUSA, JOHN A                1851 GREEN ACRES DR                                                                                 PARMA             OH   44134‐6834
MARUSAK, JAMES W              38659 COVINGTON DR                                                                                  WAYNE             MI   48184‐1079
MARUSAK, STANLEY J            10 KEARNEY DR                                                                                       NEW MONMOUTH      NJ   07748‐1135
MARUSEK, LOUIS S              5318 LAKESHORE RD                                                                                   BOYNE CITY        MI   49712‐9754
MARUSEK, THOMAS S             84 PRESTON ST                                                                                       COLDWATER         MI   49036‐2142
MARUSEWSKI, MARTIN            44 MERRIMAC ST                                                                                      BUFFALO           NY   14214‐1109
MARUSIC, JAGICA               14716 ASPEN HILLS LN                                                                                BURTON            OH   44021‐9310
MARUSKA, DENNIS L             346 LAKE SIDE DR                                                                                    SWEDESBORO        NJ   08085‐1590
MARUSKA, JACQUELINE           346 LAKE SIDE DR                                                                                    SWEDESBORO        NJ   08085‐1590
MARUSKA, MICHAEL K            4441 OMEGA DR                                                                                       MIDLOTHIAN        TX   76065‐4564
MARUSKIN, RAYMOND G           107 OXFORD ST                                                                                       CAMPBELL          OH   44405‐1912
MARUSZCZAK, TIMOTHY P         101 MILLTOWN RD                                                                                     WILMINGTON        DE   19808‐3109
MARUSZKO, ALDONA K            1219 S IRENA AVE                                                                                    REDONDO BEACH     CA   90277‐5133
MARUTIAK PATRICK J            MARUTIAK, PATRICK J
MARUTIAK PATRICK J            SATURN OF OKEMOS
MARUYAMA, SAM O               856 ELGIN ST                                                                                        SAN LORENZO       CA   94580‐1217
MARUYASU INDUSTRIES CO LTD    665 METTS DR                                                                                        LEBANON           KY   40033‐1909
MARUYASU INDUSTRIES CO LTD    RICH FARK X219                   PO BOX 1081                                                        TRACY             CA   95378‐1081
MARV GOODMAN                  MARV GOODMAN                     PO BOX 74                                                          EAST BRUNSWICK    NJ   08816‐0074
MARV'S AUTO REPAIR            6015 NE 88TH ST                                                                                     VANCOUVER         WA   98665‐0957
MARV'S HOMETOWN TIRE & AUTO   1370 BELLEVUE ST                                                                                    GREEN BAY         WI   54311‐5600
MARV'S PLACE                  411 22ND ST W                                                                SASKATOON SK S7M 5T3
                                                                                                           CANADA
MARVA ALI                     4912 MAPLE AVE                                                                                      SAINT LOUIS       MO   63113‐2004
MARVA ALLGOOD                 BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.       OH   44236
MARVA B SMITH                 397 1ST ST SW                                                                                       WARREN            OH   44485‐3823
MARVA BAGWELL                 2228 KIM DR                                                                                         CLARKSVILLE       TN   37043‐1920
MARVA BARNETT                 934 HOYT AVE                                                                                        SAGINAW           MI   48607‐1718
MARVA BARRON                  102 ROME DR                                                                                         MARTINSBURG       WV   25403‐1473
MARVA BERNARD                 7159 FULHAM DR                                                                                      INDIANAPOLIS      IN   46250‐2773
MARVA BRADY                   30 ANNA DR                                                                                          COVINGTON         GA   30014‐8926
MARVA CAYWOOD                 2042 LINWOOD CT                                                                                     ELYRIA            OH   44035‐8026
MARVA CLEVENGER               115 E MCCUTCHEON ST                                                                                 WEBSTER SPRINGS   WV   26288‐1129
MARVA CONNOR                  6270 E DODGE RD                                                                                     MOUNT MORRIS      MI   48458‐9716
MARVA DAVIS                   5637 ELGIN ROOF ROAD                                                                                DAYTON            OH   45426‐1815
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Name                       Address1                         Address2                     Address3   Address4             City               State Zip
MARVA DUDERO               2520 GRANDVIEW BLVD                                                                           KANSAS CITY         KS 66102‐4640
MARVA DUKES                1104 WHITINGHAM DR                                                                            FLINT               MI 48503‐2904
MARVA ELDER                1316 WOLFORD RD                                                                               MANSFIELD           OH 44903‐9262
MARVA ELLIS                608 CENTER ST                                                                                 CHESANING           MI 48616‐1614
MARVA FANT                 25639 LARKINS ST                                                                              SOUTHFIELD          MI 48033‐4850
MARVA FLOWERS              7442 WOODVIEW ST APT 4                                                                        WESTLAND            MI 48185‐5919
MARVA FURMAN               4187 WENDELL RD                                                                               W BLOOMFIELD        MI 48323‐3146
MARVA GARDNER              12309 E 48TH ST S                                                                             INDEPENDENCE        MO 64055‐5613
MARVA GRIFFIN              35015 MICHELLE DR                                                                             ROMULUS             MI 48174‐3424
MARVA H HARPER             51 HOUSTON ANDREWS RD                                                                         TYLERTOWN           MS 39667
MARVA HARRIS               1807 SENECA ST                                                                                FLINT               MI 48504‐2937
MARVA HILL                 127 SURGE STONE LN                                                                            STOCKBRIDGE         GA 30281‐4311
MARVA HUNTER‐WALTON        2642 BEACON HILL DR APT 311                                                                   AUBURN HILLS        MI 48326‐3727
MARVA I VAUGHN             1482 WAGON WHEEL LN                                                                           GRAND BLANC         MI 48439‐4868
MARVA J COSBY              5785 SWAN DR.                                                                                 CLAYTON             OH 45315‐9616
MARVA J MCCULLOUGH         18506 CONCORD ST                                                                              DETROIT             MI 48234‐2911
MARVA JOHNSON              2800 CRYSTAL ST APT H‐8                                                                       ANDERSON            IN 46012‐1448
MARVA JOHNSON              1134 PATRICIA DR                                                                              GIRARD              OH 44420‐2119
MARVA JOHNSON              PO BOX 4592                                                                                   FLINT               MI 48504‐0392
MARVA JOHNSON              2027 CAMPBELL ST APT B5                                                                       SANDUSKY            OH 44870‐4814
MARVA JONES                2021 BLAINE ST APT 215                                                                        DETROIT             MI 48206‐2256
MARVA L HARRIS             1807 SENECA ST                                                                                FLINT               MI 48504‐2937
MARVA L JOHNSON            2800 CRYSTAL ST APT H‐8                                                                       ANDERSON            IN 46012‐1448
MARVA LEVERETT ‐ THIAM     PO BOX 2834                                                                                   SOUTHFIELD          MI 48037‐2834
MARVA MCCULLOUGH           18506 CONCORD ST                                                                              DETROIT             MI 48234‐2911
MARVA NEELEY               117 E VAN WAGONER AVE                                                                         FLINT               MI 48505‐3763
MARVA PORTER               G4121 BEECHER RD                                                                              FLINT               MI 48532‐2707
MARVA PROFFER              5565 PARKWOOD BLVD                                                                            CLARKSTON           MI 48346‐3104
MARVA R ANDERSON           P.O. BOX 87                                                                                   NORTH BLOOMFIELD    OH 44450‐0087
MARVA SMITH                397 1ST ST SW                                                                                 WARREN              OH 44485‐3823
MARVA SMITH                BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS          OH 44236
MARVA SR, PAUL A           542 GREENBRIAR DR                                                                             RAVENNA             OH 44266‐8753
MARVA STEANS               2527 PALOMINO CT                                                                              ANDERSON            IN 46012‐4486
MARVA STEPHENS             PO BOX 7402                                                                                   FLINT               MI 48507‐0402
MARVA TOWLES               705 CENTRAL AVE                                                                               BELOIT              WI 53511‐5513
MARVA VAUGHN               1482 WAGON WHEEL LN                                                                           GRAND BLANC         MI 48439‐4868
MARVA VLASZ                6230 MANSFIELD DR                                                                             SWARTZ CREEK        MI 48473‐7957
MARVA WALLACE              C/O MARVA L LUKE‐PARKER          10450 LOTTSFORD ROAD                                         MITCHELLVILLE       MD 20721
MARVADINE BARROW           PO BOX 31                                                                                     BEAVER DAM          KY 42320‐0031
MARVAL OFARRELL & MAIRAL   928 LEANDRO N ALEM                                                       BUENOS AIRES 1001
                                                                                                    ARGENTINA
MARVAL, MARIO J            1695 HUNTINGTON PARK E                                                                        ROCHESTER HILLS    MI   48309
MARVALA J LYONS            1373 DREXEL AVE NW                                                                            WARREN             OH   44485‐2113
MARVALEE GRAHAM            2636 NEW BLOCKHOUSE RD                                                                        MARYVILLE          TN   37803‐3441
MARVALINE COLLINS          2826 GAMBLE ST                                                                                SAINT LOUIS        MO   63106‐2219
MARVAR, ANNELIESE          7019 COBBLESTONE LN                                                                           MENTOR             OH   44060‐6674
MARVAR, JOHN C             1835 RIVA RIDGE DR                                                                            MANSFIELD          OH   44904‐2127
MARVE, ARTHELDA            3130 MALLERY ST                                                                               FLINT              MI   48504
MARVE, DOROTHY M           8498 YARROW LN                                                                                RIVERSIDE          CA   92508‐2959
MARVE, HARVEY J            6111 HARWOOD RD                                                                               MOUNT MORRIS       MI   48458‐2719
MARVE, JONATHAN A          PO BOX 1105                                                                                   FLINT              MI   48501‐1105
MARVE, MARGARET L          1158 CARTER DR                                                                                FLINT              MI   48532‐2714
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Name                          Address1                           Address2                     Address3   Address4         City               State Zip
MARVE, MICHAEL E              6342 STONEGATE PKWY                                                                         FLINT               MI 48532‐2152
MARVE, ROBERT W               1158 CARTER DR                                                                              FLINT               MI 48532‐2714
MARVE, ROMULUS R              1107 CONRAD LN                                                                              SHOREWOOD            IL 60404‐8165
MARVE, SHARON F               1107 CONRAD LN                                                                              SHOREWOOD            IL 60404‐8165
MARVE, TONY K                 1301 CARRIAGE CREEK DR                                                                      DESOTO              TX 75115‐3638
MARVEL BOYD                   15851 ENGLEWOOD AVE                                                                         ALLEN PARK          MI 48101‐1763
MARVEL BRIGGS                 1314 RUBY ANN DR                                                                            SAGINAW             MI 48601‐9761
MARVEL ENGINEERING CO DEL     2085 N HAWTHORNE AVE                                                                        MELROSE PARK         IL 60160‐1173
MARVEL FERGUSON               10946 MURDOCK GOSHEN RD                                                                     GOSHEN              OH 45122‐9661
MARVEL FILTER COMPANY         2085 N HAWTHORNE AVE                                                                        MELROSE PARK         IL 60160‐1105
MARVEL FISHER                 406 JOSEPHINE ST                                                                            FLINT               MI 48503‐1067
MARVEL GIBBS                  BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
MARVEL HANNA                  404 MCKOWN DR                                                                               MANSFIELD           TX 76063‐2122
MARVEL HAYSLETT JR            HC 61 BOX 51A                                                                               WILEYVILLE          WV 26581‐9704
MARVEL HORKMAN                PO BOX 889                                                                                  RAVENSDALE          WA 98051‐0889
MARVEL MANUFACTURING CO INC   3501 MARVEL DR                                                                              OSHKOSH             WI 54902‐7115
MARVEL MATHIS                 1950 E 24TH ST LOT 161                                                                      YUMA                AZ 85365‐3148
MARVEL MOORE                  APT A                              513 NORTH NEWLIN STREET                                  VEEDERSBURG         IN 47987‐1138
MARVEL MURPHY                 28156 BERKSHIRE DR                                                                          SOUTHFIELD          MI 48076‐5425
MARVEL NELSON, MARY           614 FOXHALL RD                                                                              BLOOMFIELD HILLS    MI 48304‐1912
MARVEL PRICE                  450 S NICOLET ST                                                                            MACKINAW CITY       MI 49701‐9657
MARVEL SZOT                   209 MYERS RD                                                                                LAPEER              MI 48446‐3151
MARVEL, EDDIE D               1301 CENTERVILLE STA RD                                                                     DAYTON              OH 45459‐5526
MARVEL, EDDIE D               1301 E CENTERVILLE STATION RD                                                               DAYTON              OH 45459‐5526
MARVEL, GEORGE W              27305 DOGWOOD LANE                                                                          MILLSBORO           DE 19966‐1666
MARVEL, JAMES E               95 LAKE SMART DR                                                                            WINTER HAVEN        FL 33881‐9653
MARVEL, JOHN E                771 E 800 S                                                                                 FAIRMOUNT           IN 46928‐9216
MARVEL, MARLYN S              3504 S STATE ST                                                                             CAMDEN              DE 19934‐1813
MARVEL, MARLYN S              3504 S. STATE STREET                                                                        CAMDEN              DE 19934‐1813
MARVEL, RANDY S               1630 MOULD AVE                                                                              NILES               MI 49120‐4637
MARVEL, THOMAS J              1707 BETHANY RD APT 229                                                                     ANDERSON            IN 46012
MARVELEAN ALEXANDER           19551 NORTHLAWN ST                                                                          DETROIT             MI 48221‐1609
MARVELEEN BEJARANO            108 LORENE DR                                                                               O FALLON            MO 63366‐1411
MARVELINE MEREDITH            4776 HIDALE                                                                                 PINCKNEY            MI 48169
MARVELL CONNER                101 S WOODWARD AVE                                                                          DAYTON              OH 45417‐2148
MARVELL D CONNER              101 S WOODWARD AVE                                                                          DAYTON              OH 45417‐2148
MARVELL JACKSON               513 PERRY ST                                                                                SAGINAW             MI 48602‐1419
MARVELL O TAUHEED             2420 HOMESTEAD AVE                                                                          YOUNGSTOWN          OH 44502‐2315
MARVELL TAUHEED               2420 HOMESTEAD AVE                                                                          YOUNGSTOWN          OH 44502‐2315
MARVELL, JAMES J              2900 E 200 N                                                                                ANDERSON            IN 46012‐9403
MARVELLA A JOHNSON            9805 BRICKLEBERRY LN APT 203                                                                CHARLOTTE           NC 28262
MARVELLA BOWLES               706 DOUGLAS ST                                                                              COOKEVILLE          TN 38501‐3606
MARVELLA D HUNLEY             1450 N STATE HIGHWAY 360 APT 378                                                            GRAND PRAIRIE       TX 75050‐4110
MARVELLA HUNLEY               1450 N STATE HIGHWAY 360 APT 378                                                            GRAND PRAIRIE       TX 75050‐4110
MARVELLA KIMM                 3431 FOREST TER                                                                             ANDERSON            IN 46013‐5257
MARVELLA PEEBLES              7020 N 75TH AVE                    APT 108                                                  GLENDALE            AZ 85303‐2501
MARVELLE JONES                1312 PAVILION LN                                                                            HORSESHOE BEND      AR 72512‐1320
MARVELLE SKIPPER              855 DORA ST                                                                                 BEDFORD             TX 76022‐7331
MARVELLE VITO                 1301 JORPARK CIR                                                                            SPENCERPORT         NY 14559‐2603
MARVELLOUS J THOMPSON         142 SANTA CLARA AVE APT 4                                                                   DAYTON              OH 45405
MARVELOUS PERSELL             586 MELBOURNE ST                                                                            DETROIT             MI 48202‐2514
MARVEN, DAVID A               1715 DECATUR CIR                                                                            FRANKLIN            TN 37067‐6500
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Name                              Address1                        Address2                   Address3          Address4         City             State Zip
MARVENE HARDY                     20828 ALLIGER RD LOT 37                                                                       MONROEVILLE       IN 46773‐9382
MARVERN M MERCER                  21 THUNDERBIRD CIRCLE                                                                         PINEHURST         NC 28374
MARVES, HORACE                    THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD    SUITE 44                           CORAL GABLES      FL 33146
MARVETTA HOWARD                   1318 S DEACON ST                                                                              DETROIT           MI 48217‐1685
MARVETTA KILLINGS                 1942 LYNWOOD DR                                                                               KOKOMO            IN 46901‐1833
MARVICSIN, BETTY                  3810 LAWRENCE AVE                                                                             HURON             OH 44839
MARVICSIN, DARRELL M              997 RAMSEY DR                                                                                 MANSFIELD         OH 44905
MARVICSIN, JASON T                8807 ANTIOCH RD                                                                               OVERLAND PARK     KS 56212‐3553
MARVICSIN, JASON T                958 FLEMING FALLS RD                                                                          MANSFIELD         OH 44905‐1337
MARVICSIN, SAMUEL J               12 BRENTWOOD RD                                                                               MANSFIELD         OH 44907‐1602
MARVICSIN, STEVEN                 3807 DEERPATH DR                                                                              SANDUSKY          OH 44870‐6071
MARVIENE JAMESON                  PO BOX 634                                                                                    WENTZVILLE        MO 63385‐0634
MARVIENE L JAMESON                PO BOX 634                                                                                    WENTZVILLE        MO 63385‐0634
MARVIL LA BAR                     623 CLINTON ST                                                                                FLINT             MI 48507‐2538
MARVILE WISNER                    11267 AL HIGHWAY 157                                                                          CULLMAN           AL 35057‐6747
MARVILL ADKISSON                  613 E 13TH ST                                                                                 GEORGETOWN         IL 61846‐1221
MARVIN & ELEANOR DON              29 SURREY ST                                                                                  ROCK HILL         NY 12775
MARVIN & ROBERTA ADKINS JTWROS    RT 2 BOX 2499                                                                                 WAYNE             WV 25570‐9762
MARVIN & RUTH DUBIN               2801 STANBRIDGE ST              TIMBERLAKE APTS A620                                          EAST NORRITON     PA 19401
MARVIN ( MCCRAY                   P.O. BOX 26441                                                                                DAYTON            OH 45426‐0441
MARVIN ( WINTON                   4275 FOXTON CT                                                                                DAYTON            OH 45414‐3953
MARVIN A COLLINS                  38791 US HIGHWAY 19 N           LOT 232                                                       TARPON SPRINGS    FL 34689‐9438
MARVIN A SCHOENHEIT               3568 BARNARD RD                                                                               SAGINAW           MI 48603‐2507
MARVIN A SCHULTZ                  164 SACKETT RD                  APT 906                                                       AVON              NY 14414
MARVIN AARSTAD                    2119 S GRANT AVE                                                                              JANESVILLE        WI 53546‐5914
MARVIN ACKLEY                     10403 S FRANCIS RD                                                                            DEWITT            MI 48820‐9171
MARVIN ALEXANDER                  1901 PINGREE AVE                                                                              FLINT             MI 48503‐4333
MARVIN ALEXANDER                  8074 BUNKER HILL RD                                                                           LOCKPORT          NY 14094‐9052
MARVIN ALLEN                      7875 N 600 W                                                                                  FAIRLAND          IN 46126‐9742
MARVIN ALLEN                      240 W BARTON ST                                                                               NEWAYGO           MI 49337‐8839
MARVIN AMES                       PO BOX 492                                                                                    CROSSWICKS        NJ 08515‐0492
MARVIN AMICK                      8735 SKILES PL                                                                                INDIANAPOLIS      IN 46234‐8510
MARVIN AMUNDSON                   4033 DEVEREAUX DR                                                                             JANESVILLE        WI 53546‐1461
MARVIN AND ELAINE FITZER JTWROS   MARVIN FITZER                   8040 ROYAL BIRKDALE CIR                                       LAKEWOOD RANCH    FL 34202
MARVIN ANDERSON                   11621 MIDWAY RD.                                                                              RAYMOND           MS 39154
MARVIN ANDERSON                   2475 ADAMS CT                                                                                 ADRIAN            MI 49221‐4101
MARVIN ANDREWS                    1113 INDALE PL SW                                                                             ATLANTA           GA 30310‐3720
MARVIN ANSPAUGH                   1919 LARKSPUR DR                                                                              LIBERTY           MO 64068‐3206
MARVIN ANTHONY                    701 CALVERT ST                                                                                DETROIT           MI 48202‐1221
MARVIN ANTONIDES                  7312 CATBOAT CT                                                                               FISHERS           IN 46038‐2681
MARVIN ARLINE                     6885 14TH WAY S                                                                               ST PETERSBURG     FL 33705‐6019
MARVIN ARNETT                     120 W MARKET ST                                                                               WEST MILTON       OH 45383‐1517
MARVIN ARNOLD                     1701 W STEWART ST                                                                             OWOSSO            MI 48867‐4074
MARVIN ARNOLD                     844 OAKLEAF DR                                                                                DAYTON            OH 45408‐1544
MARVIN ASBURY                     5903 N SILVERY LN                                                                             DEARBORN HTS      MI 48127‐3126
MARVIN ASBURY                     2796 QUAIL RUN CT                                                                             LEXINGTON         OH 44904‐1360
MARVIN ASHBY                      343 E 1ST AVE                                                                                 ALEXANDRIA        IN 46001‐9010
MARVIN ASHE JR                    1928 REVIS PL                                                                                 CHESTER           SC 29706‐9574
MARVIN ASHMORE                    NIX, PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD      TX 75638
MARVIN ASHTON                     1512 HOLLAND AVE                                                                              PORT HURON        MI 48060‐1511
MARVIN ATCHISON                   409 LOCUST RD                                                                                 BEDFORD           IN 47421‐7635
MARVIN ATKINSON                   2214 REFSET DR                                                                                JANESVILLE        WI 53545‐0561
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Name                  Address1                      Address2                      Address3   Address4         City                  State Zip
MARVIN AUKER          1515 KINGS BRIDLE TRL                                                                   GRAND BLANC            MI 48439‐8717
MARVIN AUSTERMILLER   K‐510 RD 11B                                                                            MALINTA                OH 43535
MARVIN AUSTIN         107 CLARISSA LN                                                                         HOUGHTON LAKE          MI 48629‐8964
MARVIN B ROBERTS      1226 ISAAC PK RD                                                                        LOUISA                 KY 41230‐5936
MARVIN BACON          2919 N CENTENNIAL ST                                                                    INDIANAPOLIS           IN 46222‐2236
MARVIN BAILEY SR      10 E HIGH ST                                                                            EDGERTON               WI 53534‐2108
MARVIN BAKER          3119 WOLCOTT ST                                                                         FLINT                  MI 48504‐3257
MARVIN BAKER          1409 BRAMBLE WAY                                                                        ANDERSON               IN 46011‐2832
MARVIN BAKER          414 MARYJANE                                                                            CHARLOTTE              MI 48813‐8432
MARVIN BALSBAUGH      1405 NORTH MANOR DRIVE                                                                  MARION                 IN 46952‐1933
MARVIN BANNER         4068 JEFFERSON ST                                                                       BURTON                 MI 48509‐1443
MARVIN BARBER         1344 AUDREY ST                                                                          BURTON                 MI 48509‐2103
MARVIN BARCZAK        1076 RUNWAY DR SW                                                                       BYRON CENTER           MI 49315‐9446
MARVIN BARKER         2876 W 250 N                                                                            ANDERSON               IN 46011‐9254
MARVIN BARKER         956 PRAIRIE CREEK RD                                                                    IONIA                  MI 48846‐8717
MARVIN BARNES         163 TULIP ST # 6                                                                        PAW PAW                MI 49079
MARVIN BARNES         18620 RESTOR AVE                                                                        CLEVELAND              OH 44122‐6915
MARVIN BARROWS        2929 HEMLOCK PL                                                                         LANSING                MI 48910‐2538
MARVIN BASINGER       20750 BELVIDERE AVE                                                                     CLEVELAND              OH 44126‐1411
MARVIN BASS           5309 NORTHMOOR DR                                                                       DALLAS                 TX 75229‐3037
MARVIN BATCHELDER     PO BOX 133                                                                              BALDWIN                MI 49304‐0133
MARVIN BATES          104 W SPRINGFIELD RD                                                                    HIGH POINT             NC 27263‐1724
MARVIN BAUCOM         643 PINE BROW TRL                                                                       CHATTANOOGA            TN 37421‐4597
MARVIN BAYLIS         2818 LONGWOOD AVE                                                                       KANSAS CITY            KS 66104‐4135
MARVIN BEAM JR        1708 E MAIN ST                                                                          MOORE                  OK 73160‐8122
MARVIN BEAUPRE JR     692 PEAR TREE LN                                                                        GROSSE POINTE WOODS    MI 48236‐2723
MARVIN BEEKMAN        2288 PIERSON RD                                                                         OXFORD                 OH 45056‐9139
MARVIN BELAND         13128 BLACKWOOD DR                                                                      DEWITT                 MI 48820‐9671
MARVIN BELANGER       13168 NETHERWOOD ST                                                                     SOUTHGATE              MI 48195‐1013
MARVIN BELCHER        RR 1 BOX 2185                                                                           NAYLOR                 GA 31641‐9700
MARVIN BELL           3841 PARNELL WAY                                                                        ELLENWOOD              GA 30294‐6607
MARVIN BELL           134 DAVIDSON AVE                                                                        BUFFALO                NY 14215‐2308
MARVIN BELL           6335 W U AVE                                                                            SCHOOLCRAFT            MI 49087‐8455
MARVIN BELL           2888 SPARTA DR                                                                          TROY                   MI 48083‐6403
MARVIN BELL           5853 CHANWICK DR                                                                        GALLOWAY               OH 43119‐9026
MARVIN BELL           233 MAPLE DR                                                                            NEW ROME               OH 43228‐1150
MARVIN BENEDETTI      10056 SILVER LAUREL WAY                                                                 ORLANDO                FL 32832‐5842
MARVIN BENNETT        2224 BREEZEWAY DR                                                                       LEXINGTON              OH 44904‐1405
MARVIN BENNETT        14141 IRVINGTON DR                                                                      WARREN                 MI 48088‐3818
MARVIN BENTON         3613 LIPPINCOTT BLVD                                                                    FLINT                  MI 48507‐2029
MARVIN BERRY          1916 NORTHWEST 27TH STREET                                                              CAPE CORAL             FL 33993‐8361
MARVIN BICKMEYER      PO BOX 553                                                                              WARRENTON              MO 63383‐0553
MARVIN BIGGS          PO BOX 332                    151 WALLACE ROAD                                          ODESSA                 DE 19730‐0332
MARVIN BIGGS I I I    PO BOX 475                    5938 SUMMIT BRIDGE RD                                     TOWNSEND               DE 19734‐0475
MARVIN BIRCHMEIER     G4295 W MAPLE ROAD                                                                      FLINT                  MI 48507
MARVIN BISCAMP        C/O THE MADEKSHO LAW FIRM     8866 GULF FREEWAY SUITE 440                               HOUSTON                TX 77017
MARVIN BISHOP JR      929 CANNON FARM RD SW                                                                   OXFORD                 GA 30054‐3409
MARVIN BIXLER         335 ANDERSON ST NE                                                                      LAKE PLACID            FL 33852‐6039
MARVIN BLANKENSHIP    1923 CORWIN RD                                                                          OREGONIA               OH 45054‐9768
MARVIN BLUE           831 REGINA PKWY                                                                         TOLEDO                 OH 43612‐3331
MARVIN BLUNT          438 ORLO LANE                                                                           YOUNGSTOWN             OH 44512‐1726
MARVIN BOATWRIGHT     4817 APPLETON AVE                                                                       KANSAS CITY            MO 64133‐2326
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Name                Address1                         Address2                     Address3   Address4         City               State Zip
MARVIN BOBZIEN      659 E LIMERICK LN                                                                         BELOIT              WI 53511‐6520
MARVIN BOECKER      RR 2                                                                                      CLOVERDALE          OH 45827
MARVIN BOGIN        MARVIN BOGIN IRA                 134 LAKESHORE DR APT T‐13                                NORTH PALM BEACH    FL 33408
MARVIN BOLDEN       1037 WARREN ST                                                                            ROSELLE             NJ 07203‐2733
MARVIN BOLSER       10559 W ROSTED RD                                                                         LAKE CITY           MI 49651‐8202
MARVIN BONKOWSKI    695 PLEASANT RDG                                                                          LAKE ORION          MI 48362‐3435
MARVIN BOOKOUT      2800 S ANDREWS RD LOT 13                                                                  YORKTOWN            IN 47396‐9696
MARVIN BOSJOLIE     499 HEL MAR DR                                                                            MITCHELL            IN 47446‐8136
MARVIN BOSWELL      419 9TH STREET NORTHEAST                                                                  CARBON HILL         AL 35549‐4023
MARVIN BOSWORTH     12464 HOGAN RD                                                                            GAINES              MI 48436‐9776
MARVIN BOTT         11421 S FENMORE RD                                                                        BRANT               MI 48614‐9764
MARVIN BOURNE       3037 CANTERBURY LN                                                                        FLINT               MI 48504‐1801
MARVIN BOWEN JR     8460 ELMHURST CIR APT 2                                                                   BIRCH RUN           MI 48415‐9274
MARVIN BOWERS       3707 NORTH DR                                                                             GREENVILLE          OH 45331‐3062
MARVIN BOWLING      205 GROVE PARK CT                                                                         WENTZVILLE          MO 63385‐1161
MARVIN BOYD         1385 E SIEBENTHALER AVE                                                                   DAYTON              OH 45414‐5357
MARVIN BRADFORD     9317 WOODSIDE TRL                                                                         SWARTZ CREEK        MI 48473‐8534
MARVIN BRAEKEVELT   16230 21 MILE RD                                                                          MACOMB              MI 48044‐2502
MARVIN BRAGG        15765 HENLEY RD                                                                           E CLEVELAND         OH 44112‐4019
MARVIN BRALLEY      1620 RUE ROYALE DR S                                                                      KOKOMO              IN 46902‐6022
MARVIN BRANHAM      918 CASE AVE                                                                              ELYRIA              OH 44035‐7210
MARVIN BRANHAM      BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
MARVIN BRANTLEY     12306 JACKSON AVE                                                                         GRANDVIEW           MO 64030‐1523
MARVIN BREEDLOVE    3028 VINE LN                                                                              SEBRING             FL 33870‐5255
MARVIN BREWSTER     104 TUPELO DR                                                                             SUMMERVILLE         SC 29485‐4916
MARVIN BRIDGES      9370 JOT‐EM‐DOWN RD                                                                       GAINESVILLE         GA 30506
MARVIN BRIOLET      3457 VICTORIA STA                                                                         DAVISON             MI 48423‐8585
MARVIN BRISBIN      13171 HOPKINS FOREST DR                                                                   BEAR LAKE           MI 49614‐9506
MARVIN BRITT JR     7100 N JENNINGS RD                                                                        MOUNT MORRIS        MI 48458‐9482
MARVIN BRITTON      407 CLEVELAND AVE                                                                         OWOSSO              MI 48867‐1369
MARVIN BROACH       141 PROSPECT NE                                                                           GRAND RAPIDS        MI 49503
MARVIN BROACH       141 PROSPECT AVE NE APT 3                                                                 GRAND RAPIDS        MI 49503‐5638
MARVIN BROOKS       71 RUSSELL LN                                                                             CROSSVILLE          TN 38555‐8460
MARVIN BROTT        15401 ARCHWOOD ST                                                                         VAN NUYS            CA 91406‐6305
MARVIN BROWN        575 SAN FERNANDO DR SE                                                                    SMYRNA              GA 30080‐1433
MARVIN BROWN        1168 E VIENNA RD                                                                          CLIO                MI 48420‐1835
MARVIN BROWN        219 RHODES DR                                                                             EMORY               TX 75440‐2209
MARVIN BROWN SR     2629 SHRIVER AVE                                                                          INDIANAPOLIS        IN 46208‐5668
MARVIN BRUMFIELD    848 W 103RD ST APT 201                                                                    CHICAGO              IL 60643‐2334
MARVIN BRUNNER      368 OAKHILL AVE                                                                           EAST LANSING        MI 48823‐3244
MARVIN BUE          2905 WESTWOOD DR                                                                          JANESVILLE          WI 53548‐3266
MARVIN BUGBEE JR    2905 EPSILON TRAIL                                                                        FLINT               MI 48506‐1835
MARVIN BUNDRAGE     3990 JAILETTE RD                                                                          COLLEGE PARK        GA 30349‐1867
MARVIN BUNDY        511 NELSON HOLLOW RD                                                                      SOMERVILLE          AL 35670‐5705
MARVIN BUNN         5992 12 MILE RD NE                                                                        ROCKFORD            MI 49341‐9702
MARVIN BURDEN JR    1209 WISNER STREET                                                                        SAGINAW             MI 48601‐3848
MARVIN BURGESS      12150 COLDWATER RD                                                                        COLUMBIAVILLE       MI 48421‐8809
MARVIN BURK         21865 W BALDWIN RD                                                                        BANNISTER           MI 48807‐9330
MARVIN BURKS SR     122 SULLIVAN PLACE                                                                        MONROE              LA 71202‐5126
MARVIN BYRD         161 ENCHANTED DR                                                                          SOMERSET            KY 42503‐6247
MARVIN C BERTLEFF   3391 TOD AVE NW                                                                           WARREN              OH 44485
MARVIN C EVANS      2902 PEASE LN                                                                             SANDUSKY            OH 44870‐5927
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Name                    Address1                        Address2                      Address3          Address4         City              State Zip
MARVIN C FREEMAN        2735 ATER DRIVE                                                                                  BEVERCREEK         OH 45434‐6501
MARVIN C GROSS          PO BOX 672                                                                                       BEATTYVILLE        KY 41311‐0672
MARVIN C HINTON         2555 STURTEVANT ST                                                                               DETROIT            MI 48206
MARVIN C JACOBS         7362 COLBY LAKE RD                                                                               LAINGSBURG         MI 48848‐8770
MARVIN C OWENS          34800 MELTON ST                                                                                  WESTLAND           MI 48186‐9721
MARVIN C STACY          237 S TECUMSEH RD                                                                                SPRINGFIELD        OH 45506
MARVIN C VANCE          C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                        HOUSTON            TX 77007
                        BOUNDAS LLP
MARVIN C WHITE          620 GILL ST                                                                                      YPSILANTI         MI   48198‐6129
MARVIN C. WATSON        345 BRIDGEPORT RD                                                                                MOUNT PLEASANT    PA   15666
MARVIN CAFFEE           3501 HIGHLAND AVENUE                                                                             NIAGARA FALLS     NY   14305‐2053
MARVIN CAINES           15328 HARRIET ST                                                                                 ROMULUS           MI   48174‐3085
MARVIN CALDWELL         1158 LEEDS RD                                                                                    ELKTON            MD   21921‐3615
MARVIN CAMPBELL         14727 SW 112TH CIR                                                                               DUNNELLON         FL   34432‐5637
MARVIN CANCE            162 GRAND CASTLE TER                                                                             BATTLE CREEK      MI   49014‐8223
MARVIN CARLSON          10260 WAKE ROBIN DR                                                                              GRAND BLANC       MI   48439‐9354
MARVIN CARMANY          1880 E 900 S                                                                                     MARKLEVILLE       IN   46056‐9716
MARVIN CARPENTER        529 GRAY ST                                                                                      PLAIN CITY        OH   43064‐1013
MARVIN CARPENTER        5788 PINE BREEZE DR                                                                              CLARKSTON         MI   48346‐4089
MARVIN CARPENTER        THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                      HOUSTON           TX   77017
MARVIN CARRICK          2751 HATTON RD                                                                                   AUBURN HILLS      MI   48326‐1914
MARVIN CARROLL          5190 DON SHENK DR                                                                                SWARTZ CREEK      MI   48473‐1208
MARVIN CARTER           1316 W WINONA AVE                                                                                MARION            IN   46952‐3430
MARVIN CASTONGUAY       39020 IRONSTONE DR                                                                               STERLING HTS      MI   48310‐2641
MARVIN CATALDI          2765 DELTA RD                                                                                    BROGUE            PA   17309‐9172
MARVIN CAUDILL          PO BOX 226                                                                                       GAS CITY          IN   46933‐0226
MARVIN CAYER            8231 ROCKWOOD AVE                                                                                MOUNT MORRIS      MI   48458‐1311
MARVIN CENTERS          5932 OLDHAM ST                                                                                   TAYLOR            MI   48180‐1190
MARVIN CHAMBERS         3622 E 300 N                                                                                     ANDERSON          IN   46012‐9784
MARVIN CHAMBERS         1720 REID RD                                                                                     ONEONTA           AL   35121‐8244
MARVIN CHARLES ANGELL   C/O NIX PATTERSON & ROACH LLP   GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                    DAINGERFIELD      TX   75638
MARVIN CHOYCE           4625 LAURIE LN                                                                                   LANSING           MI   48910‐5326
MARVIN CHRISTAL         PO BOX 175                                                                                       EAGLE LAKE        TX   77434‐0175
MARVIN CHRISTOFFERSON   THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                      HOUSTON           TX   77017
MARVIN CLAPP            2466 HANALAND DR                                                                                 FLINT             MI   48507‐3817
MARVIN CLARK            2001 KNOLLWOOD ST                                                                                AUBURN HILLS      MI   48326‐3120
MARVIN CLARK            690 S COUNTY ROAD 125 W                                                                          GREENCASTLE       IN   46135‐7864
MARVIN CLARK            3423 LINGER LN                                                                                   SAGINAW           MI   48601‐5622
MARVIN CLARK            10831 FARM ROAD 137                                                                              PARIS             TX   75460‐8124
MARVIN CLAWSON          6807 INDUSTRIAL PARK RD                                                                          MT PLEASANT       TN   38474‐1094
MARVIN CLAYTON          4335 STAFFORD TER                                                                                WELLSVILLE        KS   66092‐8775
MARVIN CLEVENGER        PO BOX 47                                                                                        FARMLAND          IN   47340‐0047
MARVIN CLEVENGER        2313 W CAMBRIDGE DR                                                                              MUNCIE            IN   47304‐1408
MARVIN CLORE            50770 ASHLEY ST                                                                                  NEW BALTIMORE     MI   48047‐2500
MARVIN CLUBB            614 PERRINE RD                                                                                   FARMINGTON        MO   63640‐2031
MARVIN CLUTTER          2437 REPLETE RD                                                                                  HACKER VALLEY     WV   26222‐8849
MARVIN COBB             1690 DAKOTA PL                                                                                   DEFIANCE          OH   43512‐4020
MARVIN COBB             143 BLUE ROUND RD                                                                                GEORGIANA         AL   36033‐4113
MARVIN COCKERHAM        1368 BEACH RD                                                                                    BOWIE             TX   76230‐9021
MARVIN COCKRELL         1102 14TH ST                                                                                     WASCO             CA   93280‐2518
MARVIN COHEN            77 MARKHAM D                                                                                     DEERFIELD BEACH   FL   33442‐2752
MARVIN COHEN            19 PIERCE RD                                                                                     EGG HARBOR TWP    NJ   08234
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Name                  Address1                        Address2                       Address3            Address4         City             State Zip
MARVIN COLE           4127 E WEIDMAN R1                                                                                   ROSEBUSH          MI 48878
MARVIN COLE           605 WINCHESTER RD                                                                                   NEW CONCORD       KY 42076‐9111
MARVIN COLE           PO BOX 1446                                                                                         PALISADE          CO 81526‐1446
MARVIN COLE           BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.       OH 44236
MARVIN COLEMAN JR     BARON & BUDD P C                THE CENTRUM SUITE 1100         3102 OAK LAWN AVE                    DALLAS            TX 75219‐4281
MARVIN COLLINS        38791 US HIGHWAY 19 N LOT 232                                                                       TARPON SPRINGS    FL 34689‐9438
MARVIN COLLOM         8222 E PARKVIEW DR                                                                                  ROCKVILLE         IN 47872‐7725
MARVIN COMBS          3585 EATON LEWISBURG RD                                                                             EATON             OH 45320‐9712
MARVIN COMPTON        409 EDGEWOOD ST                                                                                     CHURCH HILL       TN 37642‐4224
MARVIN COPENHAVER     1540 S COOLIDGE AVE                                                                                 HARRISON          MI 48625‐9545
MARVIN COPENHAVER     701 BLAIR ST                                                                                        FLINT             MI 48504‐4633
MARVIN CORKERN        24934 DRIVE #1                                                                                      ASTOR             FL 32102
MARVIN CORNETT        400 DITCH GAP RD                                                                                    WHITWELL          TN 37397‐5768
MARVIN COTEREL        5276 STRAIGHT CREEK RD                                                                              WAVERLY           OH 45690‐9781
MARVIN COTTRELL       4675 MCCLINTOCKSBURG RD                                                                             NEWTON FALLS      OH 44444‐9202
MARVIN COUCH          9070 S 625 W                                                                                        KNIGHTSTOWN       IN 46148
MARVIN COVINGTON      19363 SUSSEX ST                                                                                     DETROIT           MI 48235‐2050
MARVIN COWDEN         7857 HILL AVE                                                                                       HOLLAND           OH 43528‐8111
MARVIN COY            6590 CRESTLINE DR                                                                                   GRAND LEDGE       MI 48837‐8955
MARVIN CRAION         415 N 19TH ST                                                                                       SAGINAW           MI 48601‐1408
MARVIN CRAMER         2280 N CLARK RD                                                                                     WOODLAND          MI 48897‐9775
MARVIN CRANE          1939 TAMARISK DR                                                                                    EAST LANSING      MI 48823‐1453
MARVIN CRESSEY        1136 STATE PARK RD                                                                                  LEWISTON          MI 49756‐8115
MARVIN CRIM           2100 W 3RD ST LOT 10                                                                                YUMA              AZ 85364‐1725
MARVIN CROOKS         6346 W LAKE RD                                                                                      CLIO              MI 48420‐8241
MARVIN CROOKS I I     6267 CAINE RD                                                                                       VASSAR            MI 48768‐9518
MARVIN CROOP          3098 EWINGS RD                                                                                      NEWFANE           NY 14108‐9672
MARVIN CROSS          4162 GREEN CORNERS RD                                                                               METAMORA          MI 48455‐9644
MARVIN CROSS          PO BOX 797                      25850 RIVER PINES RD                                                AGUILAR           CO 81020‐0797
MARVIN CUMMINGS       49 MUNDELL ESTS                                                                                     HELTONVILLE       IN 47436‐8531
MARVIN CUMPTON        PO BOX 7914                                                                                         JACKSON           TN 38302‐7914
MARVIN CUNDIFF        5936 BROWNSVILLE RD                                                                                 BROWNSVILLE       KY 42210‐9438
MARVIN CUPP           1403 HIGHWAY 1137 LOT 31                                                                            CAWOOD            KY 40815
MARVIN CURL           1950 FRENCH RD                                                                                      CARO              MI 48723‐9779
MARVIN CUSHINGBERRY   312 DICKENSON ST                                                                                    ROMEO             MI 48065‐4727
MARVIN CUTHRELL       PO BOX 612                      5015 HAMILTON RD                                                    ALPENA            MI 49707‐0612
MARVIN D BURNS        160 LONGFELLOW                                                                                      DETROIT           MI 48202‐1563
MARVIN D CORNETT      400 DITCH GAP RD                                                                                    WHITWELL          TN 37397‐5768
MARVIN D CRONE        MOTLEY RICE LLC                 28 BRIDGESIDE BLVD             PO BOX 1792                          MT PLEASANT       SC 29465
MARVIN D GHIGSBY      G PATTERSON KEAHY PC            ONE INDEPENDENCE PLAZA SUITE                                        BIRMINGHAM        AL 35209
                                                      612
MARVIN D GROOMS       925 ALEXANDRA LANE                                                                                  XENIA            OH   45385‐9473
MARVIN D HARMON       3245 SHEFFIELD RD                                                                                   DAYTON           OH   45449‐2752
MARVIN D HOPKINS      6313 CARNATION RD                                                                                   DAYTON           OH   45449‐3057
MARVIN D KEMERLY      204 N WASHINGTON ST                                                                                 MARION           IN   46952‐2708
MARVIN D LAMB         1145 N WEBB RD                                                                                      WILMINGTON       OH   45177
MARVIN D LEHMAN       4320 ANDERSON RD                                                                                    MORROW           OH   45152‐8133
MARVIN D LEWIS        PO BOX 414                                                                                          MONTICELLO       MS   39654‐0414
MARVIN D MC DERMOTT   501 CHERRY HILL DR                                                                                  MIAMISBURG       OH   45342
MARVIN D MCDERMOTT    904 PLEASANT VALLEY AVE N                                                                           RIVER SIDE       OH   45404‐2442
MARVIN D SCALES       C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                           HOUSTON          TX   77007
                      BOUNDAS LLP
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Name                  Address1                         Address2                     Address3   Address4         City              State Zip
MARVIN D SINGLETON    278 W. FUNDERBURG ROAD                                                                    FAIRBORN           OH 45324‐2337
MARVIN D STRICKLAND   242 ELMHURST ROAD                                                                         DAYTON             OH 45417‐1421
MARVIN D WALKER       1200 E JULIAH AVE                                                                         FLINT              MI 48505‐1631
MARVIN D WILLIAMS     24 HATFIELD ST                                                                            DAYTON             OH 45417
MARVIN DALE NELSON    1531 KINGLET DR                                                                           PUNTA GORDA        FL 33950
MARVIN DALLAS         406 6TH AVE                                                                               CRYSTAL CITY       MO 63019‐1524
MARVIN DALLAS         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH 44236
MARVIN DARBY          29752 DONNELY DR                                                                          MADISON            AL 35756‐3426
MARVIN DAVIS          1718 WILD CIR                                                                             CLARKSTON          GA 30021‐1480
MARVIN DAVIS          657 E PEARL ST                                                                            TOLEDO             OH 43608‐1334
MARVIN DAVIS          674 E HARRISON RD                                                                         ALMA               MI 48801‐9737
MARVIN DAVIS          311 IRIS AVE                                                                              LANSING            MI 48917‐2642
MARVIN DAVIS          20037 GILCHRIST ST                                                                        DETROIT            MI 48235‐2438
MARVIN DAVIS          2410 JOSSMAN RD                                                                           HOLLY              MI 48442‐8205
MARVIN DAVIS          320 HARMONY CT                                                                            ANDERSON           IN 46013‐1052
MARVIN DAVIS          1315 JO FRAN DR                                                                           VICKSBURG          MI 49097‐9740
MARVIN DAVIS          2932 BARON CT SW                                                                          WYOMING            MI 49418‐9708
MARVIN DAVIS
MARVIN DAWSON         1819 LANECOURT DR                                                                         SAINT LOUIS       MO   63136‐3017
MARVIN DE HAAN        865 KINNEY AVE NW                                                                         GRAND RAPIDS      MI   49534‐3470
MARVIN DE RAAD        6613 TOWNLINE LAKE RD.                                                                    LAKEVIEW          MI   48850
MARVIN DE VRIES       4877 12TH AVE SW                                                                          GRANDVILLE        MI   49418‐9696
MARVIN DEAN           1542 VANELM ST                                                                            COLUMBUS          OH   43228‐7043
MARVIN DEATON         11 HORIZON HILL CT                                                                        ALEXANDRIA        KY   41001‐1122
MARVIN DEER           872 ENGLEWOOD AVE APT 13                                                                  BUFFALO           NY   14223‐2343
MARVIN DELOACH        666 MARSTON ST                                                                            DETROIT           MI   48202‐2575
MARVIN DEVANEY        3120 NILES CARVER RD                                                                      MC DONALD         OH   44437‐1223
MARVIN DEW            12170 BUNTON RD                                                                           WILLIS            MI   48191‐9724
MARVIN DEWITT         9761 REESE RD                                                                             BIRCH RUN         MI   48415‐9606
MARVIN DEXTER         2021 HOLCOMB ST                                                                           SAGINAW           MI   48602‐2728
MARVIN DIERKS         101 PAUL DR                                                                               CHESTER           IL   62233‐2127
MARVIN DISMUKE        2414 S STATE ST                                                                           SYRACUSE          NY   13205‐1541
MARVIN DORSEY         7356 HANOVER ST                                                                           DETROIT           MI   48206‐2648
MARVIN DOUGLAS        5733 LAKE HURON DR                                                                        FAIRFIELD         OH   45014‐4409
MARVIN DRAGER         24100 DAYTON RD                                                                           ARMADA            MI   48005‐2753
MARVIN DRAPER         1040 W GRAND BLANC RD                                                                     GRAND BLANC       MI   48439‐9333
MARVIN DUCHARME       RR 2 BOX 348                                                                              SOLSBERRY         IN   47459‐8206
MARVIN DULLE          870 WALNUT ST                                                                             NEW BAVARIA       OH   43548
MARVIN DUMAS          2006 MASSACHUSETTS AVENUE                                                                 LANSING           MI   48906‐4204
MARVIN DUX            4921 N BRENTWOOD DR                                                                       MILTON            WI   53563‐8893
MARVIN DYBOWSKI       25302 WEXFORD AVE                                                                         WARREN            MI   48091‐1345
MARVIN E BECK         ANNE P BECK                      735 PARK RD 1‐C                                          SMITHVILLE        TX   78957
MARVIN E CAROTHERS    4130 COLEMERE CIR                                                                         DAYTON            OH   45415
MARVIN E HUFFMAN      2824 KINGSTON TER                                                                         EAST POINT        GA   30344‐3840
MARVIN E JAMES        5019 ORMAND RD                                                                            DAYTON            OH   45449‐2748
MARVIN E SHEPHERD     4551 MIDWAY AVE.                                                                          DAYTON            OH   45417
MARVIN E SMITH        1206 WILSON DRIVE                                                                         DAYTON            OH   45407‐1621
MARVIN E TICKEL       1116 BIT PLACE                                                                            WEST CARROLLTON   OH   45449
MARVIN E TOMLINSON    1504 VANCE AVE                                                                            FORT WAYNE        IN   46805‐2246
MARVIN E WATERS       946 KILBY RD.                                                                             CLARKRANGE        TN   38553‐5403
MARVIN EARLES         4913 W BEECHER ST                                                                         INDIANAPOLIS      IN   46241‐4608
MARVIN EBAUGH         25252 HASKELL ST                                                                          TAYLOR            MI   48180‐2082
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Name                               Address1                            Address2                        Address3   Address4         City             State Zip
MARVIN EBERLINE JR                 13406 US 223                                                                                    MANITOU BEACH     MI 49253
MARVIN EBERT                       7590 HALF MOON CT                                                                               MELBOURNE         FL 32940‐7977
MARVIN ECHOLS                      207 NORTHDALE PL                                                                                LAWRENCEVILLE     GA 30045‐4580
MARVIN ECHOLS                      PO BOX 2211                                                                                     BAY CITY          MI 48707
MARVIN EDGE                        227 WOODLAND AVE                                                                                SYRACUSE          NY 13205‐1145
MARVIN EDGIN                       7836 NE 18TH ST                                                                                 OKLAHOMA CITY     OK 73141‐1409
MARVIN EDIE (ESTATE OF) (446113)   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                                       PROFESSIONAL BLDG
MARVIN EDWARDS                     136 ANITA ST                                                                                    NEW HAVEN        CT    06511‐7126
MARVIN EDWARDS                     2109 RANKIN ST                                                                                  SAVANNAH         GA    31415‐1043
MARVIN ELKINS JR                   5447 PEAR TREE DR                   C/O DOUGLAS ELKINS                                          BURTON           MI    48519‐1574
MARVIN EMERY                       818 LINGLE AVE                                                                                  OWOSSO           MI    48867
MARVIN EMERY                       4643 VAN COUVER AVE SOUTHWEST                                                                   WYOMING          MI    49519‐4590
MARVIN EPPS                        823 SUNLIGHT AVE                                                                                DAYTON           OH    45427‐3156
MARVIN ERBES                       69 CROOKED ISLAND CIR                                                                           MURRELLS INLET   SC    29576‐5740
MARVIN EVANS                       1305 WASHINGTON AVE APT 114                                                                     BAY CITY         MI    48708
MARVIN EVANS                       PO BOX 144                                                                                      HAYESVILLE       NC    28904‐0144
MARVIN EVANS                       6204 NORBURN WAY                                                                                LANSING          MI    48911‐6000
MARVIN EVERSHED                    3964 LYELL RD                                                                                   ROCHESTER        NY    14606‐4305
MARVIN EVON                        15370 EDERER RD                                                                                 HEMLOCK          MI    48626‐9714
MARVIN F DAWLEY                    15459 RIDGE RD W                                                                                ALBION           NY    14411‐9775
MARVIN F HALLER                    C/O MERCY SIENNA RETIREMENT COMM    6125 N MAIN ST                                              DAYTON           OH    45415

MARVIN F POER & COMPANY            12700 HILLCREST RD STE 125                                                                      DALLAS           TX    75230‐2009
MARVIN F SCHRAUBEN                 10055 E GRAND RIVER AVE                                                                         PORTLAND         MI    48875‐9433
MARVIN F SWIFT                     2775 N CHURCHILL WAY                                                                            HERNANDO         FL    34442‐5419
MARVIN F. WOODS                    PERSHING LLC OR CURRENT CUSTODIAN   18114 CLEARBROOK CIRCLE                                     BOCA RATON       FL    33498

MARVIN FAITH                       105 RAINBOW CIR                                                                                 RAYMORE          MO    64083‐9247
MARVIN FARRINGTON                  2212 E BUDER AVE                                                                                BURTON           MI    48529‐1736
MARVIN FELGER                      143 FAIRFIELD AVE                                                                               TONAWANDA        NY    14223‐2817
MARVIN FERRIL                      309 S HOUSTON ST                                                                                SHAMROCK         TX    79079‐2509
MARVIN FIELDS                      PO BOX 248                                                                                      LAWTON           MI    49065‐0248
MARVIN FIELDS                      1413 S ARCH ST                                                                                  JANESVILLE       WI    53546‐5561
MARVIN FIELDS
MARVIN FIELDS JR                   401 MONTGOMERY DR                                                                               WESTFIELD         IN   46074‐8811
MARVIN FIELDS SR.
MARVIN FINNLEY                     2323 W 239TH ST                                                                                 TORRANCE         CA    90501‐5924
MARVIN FISCHER                     332 RIDGE RD                                                                                    TROY             MO    63379‐5440
MARVIN FISHER                      449 RANDLER AVE                                                                                 VANDALIA         OH    45377‐1403
MARVIN FISHER                      18040 TAYLOR LAKE RD                                                                            HOLLY            MI    48442‐9146
MARVIN FLORENCE                    18237 BILTMORE ST                                                                               DETROIT          MI    48235‐3223
MARVIN FLOWERS                     9027 FIELDING ST                                                                                DETROIT          MI    48228‐1670
MARVIN FLOWERS                     3727 HIGHWAY 82                                                                                 STEWART          MS    39767‐9514
MARVIN FOGUTH                      3447 ARDRETH DR                                                                                 WATERFORD        MI    48329‐3203
MARVIN FOLEY                       1675 W SHORE DR                                                                                 MARTINSVILLE     IN    46151‐8885
MARVIN FORRESTER                   2012 E 9TH STREET                   #4612                                                       ANDERSON         IN    46012
MARVIN FOSTER                      11302 COLDWATER RD                                                                              FLUSHING         MI    48433‐9748
MARVIN FOSTER                      7205 CHADWICK RD                                                                                LAINGSBURG       MI    48848‐9455
MARVIN FRAME                       1433 ROBBINS AVE                                                                                NILES            OH    44446‐3752
MARVIN FRAME                       BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS.      OH    44236
MARVIN FRANKLIN                    8300 N DOVIN GATE RD                                                                            MUNCIE           IN    47303‐9371
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Name                         Address1                       Address2                      Address3   Address4         City                 State Zip
MARVIN FRAYER                4820 OAK RUN                                                                             FARWELL               MI 48622‐9621
MARVIN FREDRICK MCLAUGHLIN   206 PARKWAY DRIVE                                                                        ST MARY               OH 45885‐‐ 12
MARVIN FRITZ                 114 PINE ST                                                                              NORTH TONAWANDA       NY 14120‐4614
MARVIN FRY                   6686 WISTERMAN RD                                                                        LOCKPORT              NY 14094‐9353
MARVIN FULLER                337 GALENA BOX 216                                                                       FOOTVILLE             WI 53537
MARVIN FULLER                2986 W CHERRY LN                                                                         MIO                   MI 48647‐9787
MARVIN FULLER                4408 IDA WAY                                                                             FORT WORTH            TX 76119‐4030
MARVIN FULTON                133 BEAVER DAM RD                                                                        TRAVELERS REST        SC 29690‐8941
MARVIN FUQUA                 1003 N PIEDMONT AVE                                                                      ROCKMART              GA 30153‐2525
MARVIN G LUMMIS              4872 STIVERSVILLE RD                                                                     CULLEOKA              TN 38451‐2420
MARVIN G SMITH               4454 BLUEHAVEN DR                                                                        DAYTON                OH 45406‐3333
MARVIN G WIESER              6260 PETZOLDT DR                                                                         TIPP CITY             OH 45371
MARVIN GABALSKI              PO BOX 1447                                                                              DUNLAP                TN 37327‐1447
MARVIN GADDIS                361 E COUNTY ROAD 650 N                                                                  SPRINGPORT            IN 47386‐9733
MARVIN GALLO                 3126 PINTO PASS                                                                          SAN ANTONIO           TX 78247‐2826
MARVIN GALLOWAY              640 HAMLET RD                                                                            REIDSVILLE            NC 27320‐8747
MARVIN GARDNER               6418 OAKHURST PL                                                                         DAYTON                OH 45414‐2866
MARVIN GARRETT               4664 BRYANT QUARTER RD                                                                   GILLSVILLE            GA 30543‐3110
MARVIN GATES                 16710 DARWIN PL                                                                          MIDDLEBURG HEIGHTS    OH 44130‐8358
MARVIN GAVIN                 8945 W KELLY RD                                                                          LAKE CITY             MI 49651‐8663
MARVIN GEESLIN               19672 STATE ROUTE 136                                                                    WINCHESTER            OH 45697‐9470
MARVIN GENSTERBLUM           1239 COLETA AVE                                                                          PORTLAND              MI 48875‐1655
MARVIN GEORGE                8483 TANYA DR                                                                            GREENWOOD             LA 71033‐3337
MARVIN GERBIG JR             3302 HERRINGTON DR                                                                       HOLLY                 MI 48442‐1903
MARVIN GERHART               6351 DURBIN RD                                                                           BELLVILLE             OH 44813
MARVIN GEROW                 3361 HOMEWOOD DR                                                                         BRIDGEPORT            MI 48722‐9526
MARVIN GIBSON                12235 E P AVE                                                                            CLIMAX                MI 49034‐9725
MARVIN GIBSON                210 TABOR FOREST DR                                                                      OXFORD                GA 30054‐4144
MARVIN GILBERT               11996 W WASHINGTON AVE                                                                   MOUNT MORRIS          MI 48458‐1508
MARVIN GILBY                 3931 SEARS RD                                                                            COLUMBUS              GA 31907‐1712
MARVIN GILLAM                12459 SE 91ST TERRACE RD                                                                 SUMMERFIELD           FL 34491‐9796
MARVIN GILLESPIE             1728 COUNTY ROAD 327                                                                     DANVILLE              AL 35619‐8557
MARVIN GILLIS                749 E DUFFY ST                                                                           SAVANNAH              GA 31401‐6615
MARVIN GIRARDIN              1617 BOMAN RD                                                                            ALGER                 MI 48610‐9597
MARVIN GLADEN                2727 SUMMIT DR                                                                           SEBRING               FL 33870‐2312
MARVIN GLASER                25 GREENTREE ROAD                                                                        TONAWANDA             NY 14150‐6407
MARVIN GOINS                 738 KERCHER ST                                                                           MIAMISBURG            OH 45342‐1822
MARVIN GOOCH                 14242 PROVIDENCE PIKE                                                                    BROOKVILLE            OH 45309‐9709
MARVIN GOODING               4637 RAU RD                                                                              WEST BRANCH           MI 48661‐9129
MARVIN GOWARD                39007 OLA AVE                                                                            ZEPHYRHILLS           FL 33542‐1722
MARVIN GRAVES                28431 BLANCHARD RD                                                                       DEFIANCE              OH 43512‐8077
MARVIN GRAY                  7020 INDUSTRIAL AVE                                                                      FLINT                 MI 48505‐2284
MARVIN GREENE                3110 SAVOY ST                                                                            BALTIMORE             MD 21230‐2858
MARVIN GREENFIELD            PO BOX 367                                                                               KEARNEYSVILLE         WV 25430‐0367
MARVIN GREIN                 THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                               HOUSTON               TX 77017
MARVIN GRIFFIN               24210 GARDNER ST                                                                         OAK PARK              MI 48237‐1512
MARVIN GRIFFIN               9127 EAST RD                                                                             BURT                  MI 48417‐9647
MARVIN GRINDLE               3003 BAYFIELD DR                                                                         HURON                 OH 44839‐3200
MARVIN GROCE                 PO BOX 295                                                                               STOCKBRIDGE           GA 30281‐0295
MARVIN GROOMS                925 ALEXANDRA LN                                                                         XENIA                 OH 45385‐9473
MARVIN GROSS                 PO BOX 672                                                                               BEATTYVILLE           KY 41311‐0672
MARVIN GROTE                 615 W MAIN ST APT F                                                                      BELLEVUE              OH 44811‐1937
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Name                 Address1                          Address2                     Address3          Address4         City             State Zip
MARVIN GRUBB         1552 ROCKY POINT SCHOOL RD                                                                        WILLIAMSBURG      KY 40769‐9579
MARVIN GULLEY        1804 S PENNSYLVANIA ST                                                                            MARION            IN 46953‐2506
MARVIN GUNNING       3296 GLENGARY RD                                                                                  SANTA YNEZ        CA 93460‐9602
MARVIN GURLEY        1123 JULIA ST NW                                                                                  HUNTSVILLE        AL 35816‐3754
MARVIN H BARNES SR   HELEN H BARNES JTTEN              548 TURLINGTON RD                                               SUFFOLK           VA 23434
MARVIN H LEE         308 GARFIELD ST                                                                                   EAST ROCHESTER    NY 14445
MARVIN H MORSE       NIX PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD      TX 75638
MARVIN H SANDVICK    1114 WESTSIDE DR                                                                                  POLK CITY          IA 50226‐1011
MARVIN HACKEL        9293 HAKEN RD RT 1                                                                                ALPENA            MI 49707
MARVIN HAHN          2602 OLD ALABAMA RD SW                                                                            MC DONALD         TN 37353‐5520
MARVIN HALEY         1350 POPLAR POINTE SE                                                                             SMYRNA            GA 30082‐2213
MARVIN HALL          PO BOX 118                                                                                        BEAVER            OH 45613‐0118
MARVIN HALL          316 POWELL ST                                                                                     DEFIANCE          OH 43512‐3321
MARVIN HALL          3822 CLAIBORNE AVE                                                                                SHREVEPORT        LA 71109‐4404
MARVIN HALL          11209 PRESTWICK DR                                                                                LANSING           MI 48917‐7869
MARVIN HALLER        720 S MIAMI ST                                                                                    WEST MILTON       OH 45383‐1302
MARVIN HAM           21800 E 299TH ST                                                                                  HARRISONVILLE     MO 64701‐6324
MARVIN HAMILTON      3520 S 650 E                                                                                      LOGANSPORT        IN 46947
MARVIN HAMMERSMITH   15113 COUNTY ROAD 1510                                                                            ODEM              TX 78370‐4262
MARVIN HARDENBURG    6067 CENTER RD                                                                                    GRAND BLANC       MI 48439‐7949
MARVIN HARE          1396 W DELTA DR                                                                                   SAGINAW           MI 48638‐4616
MARVIN HARKNESS      608 E SOUTH ST                                                                                    ITHACA            MI 48847‐1544
MARVIN HARMON        113 MEADOWBROOK DR                                                                                EATON             OH 45320‐2270
MARVIN HARPER        360 WESTLAWN DR                                                                                   MANSFIELD         OH 44906‐2314
MARVIN HARRIS        8554 BELLE CHASE DR                                                                               DAYTON            OH 45424‐1045
MARVIN HARRIS JR     571 CRAIG RD                                                                                      COMMERCE          GA 30530‐7067
MARVIN HARRISON      PO BOX 3436                                                                                       CROSSVILLE        TN 38557‐3436
MARVIN HARROD        1125 SW 127TH PL                                                                                  OKLAHOMA CITY     OK 73170‐6949
MARVIN HART          5778 N IRONS RD                                                                                   IRONS             MI 49644‐8808
MARVIN HARVEY        6304 S LORRY LN                                                                                   PENDLETON         IN 46064‐8835
MARVIN HASTY         105 GOLDEN SANDS CT                                                                               HOUGHTON LAKE     MI 48629‐9375
MARVIN HATFIELD      7311 EASTWIND DR                                                                                  GODFREY            IL 62035‐3232
MARVIN HAULOTTE      3225 HOTTIS RD                                                                                    WHITTEMORE        MI 48770‐9415
MARVIN HAYDEN        PO BOX 101                                                                                        COVINGTON         IN 47932‐0101
MARVIN HAYDEN        15514 ARCHDALE ST                                                                                 DETROIT           MI 48227‐1506
MARVIN HAYES         9824 CADILLAC DR                                                                                  LAKE              MI 48632‐8853
MARVIN HEAD          PO BOX 596                                                                                        LAKESIDE          AZ 85929‐0596
MARVIN HEARD         PO BOX 4194                                                                                       CANTON            GA 30114‐0206
MARVIN HELMER        10487 S FRANCIS RD                                                                                DEWITT            MI 48820‐9171
MARVIN HELWIG        2118 N LEXINGTON DR                                                                               JANESVILLE        WI 53545‐0538
MARVIN HENDERSON     15700 PROVIDENCE DR               APT 807                                                         SOUTHFIELD        MI 48075‐3129
MARVIN HENDERSON     17342 COLLINSON AVENUE                                                                            EASTPOINTE        MI 48021‐3106
MARVIN HENGESBACH    10561 W SAINT JOE HWY                                                                             VERMONTVILLE      MI 49096‐8703
MARVIN HENSLEY       BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                      BOSTON HEIGHTS    OH 44236
MARVIN HERBERT JR    3318 BRIAR CREST DR                                                                               JANESVILLE        WI 53546‐9653
MARVIN HERRON        182‐3 BLUFF BLVD                                                                                  CAMDENTON         MO 65020
MARVIN HESKETT       860 NATHAN DR                                                                                     COLUMBIA          TN 38401‐6768
MARVIN HEYDINGER     130 ST RT 314S R 12                                                                               MANSFIELD         OH 44903
MARVIN HICKS         6125 MOUNT ZION RD                                                                                EAST BERNSTADT    KY 40729‐7327
MARVIN HILAND        182 S COUNTY ROAD 550 E APT 213                                                                   AVON              IN 46123‐7059
MARVIN HILDEBRANDT   11509 CRYSTAL LAKE DR                                                                             JEROME            MI 49249‐9853
MARVIN HILGENDORF    10069 CLARK RD                                                                                    DAVISON           MI 48423‐8523
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Name                Address1                         Address2                     Address3   Address4         City            State Zip
MARVIN HILL         3101 FOREST GROVE AVE                                                                     DAYTON           OH 45406‐3902
MARVIN HINES        11646 THORNAPPLE DR                                                                       JACKSONVILLE     FL 32223‐1609
MARVIN HINTON       723 N CRISSEY RD                                                                          HOLLAND          OH 43528‐8831
MARVIN HINTON       2616 S HOLT RD                                                                            INDIANAPOLIS     IN 46241‐5737
MARVIN HOFFMAN      4145 N PHEASANT RD                                                                        LINCOLN          MI 48742‐9672
MARVIN HOLBROOK     BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH 44236
MARVIN HOLDEN       12819 MEADOWDALE DR                                                                       SAINT LOUIS      MO 63138‐1544
MARVIN HOLDORF      6402 STONEHEARTH PASS                                                                     GRAND BLANC      MI 48439‐9000
MARVIN HOLDWICK     3725 GUNTER TRL                                                                           GRAYLING         MI 49738‐7799
MARVIN HOLFORD      5292 DIVISION AVE N                                                                       COMSTOCK PARK    MI 49321‐9586
MARVIN HOOPER       3125 WYOMING AVE                                                                          FLINT            MI 48506‐2559
MARVIN HOOVER       1919 ALBANY ST                                                                            BEECH GROVE      IN 46107‐1405
MARVIN HOPKINS      6313 CARNATION RD                                                                         DAYTON           OH 45449‐3057
MARVIN HORNE        3412 BEGOLE ST                                                                            FLINT            MI 48504‐2410
MARVIN HORTON       248 LAKEVIEW RD                                                                           BOWLING GREEN    KY 42101‐9328
MARVIN HOST         1774 ALPINE CHURCH RD NW                                                                  COMSTOCK PARK    MI 49321‐9742
MARVIN HOTKIEWICZ   717 TANGLEWOOD LN                                                                         FRANKFORT         IL 60423‐1047
MARVIN HOWE         10061 CANADA RD                                                                           BIRCH RUN        MI 48415‐9217
MARVIN HUBER        PO BOX 815                                                                                ASHLAND          OH 44805‐0815
MARVIN HUFF         2824 E WOOD TRL                                                                           MILTON           WI 53563‐9181
MARVIN HUFF         237 MILLICENT AVE                                                                         BUFFALO          NY 14215‐2984
MARVIN HUFFMAN      13585 LONGACRE ST                                                                         DETROIT          MI 48227‐1337
MARVIN HUFFMAN JR   2824 KINGSTON TER                                                                         EAST POINT       GA 30344‐3840
MARVIN HUMMEL       645 CHURCH ST                                                                             GRAND LEDGE      MI 48837‐1239
MARVIN HUNT         16071 COUNTY ROAD 451                                                                     HILLMAN          MI 49746‐9514
MARVIN HUNTER       5263 TORREY RD                                                                            FLINT            MI 48507‐3807
MARVIN HURST        PO BOX 2158                                                                               INDIAN RIVER     MI 49749‐2158
MARVIN INGRAHAM     1299 WILCOX RD                                                                            GREENVILLE       MS 38703‐9200
MARVIN ISLAND       1535 WELLSTON PL APT 137                                                                  SAINT LOUIS      MO 63133‐2438
MARVIN IVEY         PO BOX 25                                                                                 SOCIAL CIRCLE    GA 30025‐0025
MARVIN J CEGLIO     C/O WEITZ & LUXENBERG P C        700 BROADWAY                                             NEW YORK         NY 10003
MARVIN J CHAPPELL   888 PALLISTER ST APT 712                                                                  DETROIT          MI 48202‐2672
MARVIN J COX        102 SQUIRE STREET                                                                         W CARROLLTON     OH 45449‐1155
MARVIN J EVON       15370 EDERER RD                                                                           HEMLOCK          MI 48626‐9714
MARVIN J JOHNSON    6801 EDISON AVE                                                                           SAINT LOUIS      MO 63121‐5307
MARVIN J KRINKE     2329 GRESHAM AVE N                                                                        OAKDALE          MN 55128
MARVIN J MARTIN     229 MARSTON ST                                                                            DETROIT          MI 48202‐2541
MARVIN J MOORE      HC89 BOX 393                                                                              WILLOW           AK 99688
MARVIN J SMITH      351 WABASH AVE                                                                            KENMORE          NY 14217‐2205
MARVIN J STAFFORD   5709 DEARTH ROAD                                                                          FRANKLIN         OH 45066‐7773
MARVIN J ZEMEL      126 HIGHLEDGE DR                                                                          PENFIELD         NY 14526‐2449
MARVIN JACKSON      1712 CASPIAN DR                                                                           CULLEOKA         TN 38451‐2079
MARVIN JACKSON      10097 SW 88TH TER                                                                         OCALA            FL 34481‐8924
MARVIN JACKSON      1220 AMOS ST                                                                              PONTIAC          MI 48342‐1804
MARVIN JACKSON      6403 WOODSIDE CT                                                                          BELLEVILLE       MI 48111‐5142
MARVIN JACKSON      8200 HERLONG RD                                                                           JACKSONVILLE     FL 32210‐2324
MARVIN JACKSON      3700 S POST RD                                                                            MUNCIE           IN 47302‐4980
MARVIN JACOBS       1540 E 193RD ST APT 608                                                                   EUCLID           OH 44117‐1359
MARVIN JACOBS       7362 COLBY LAKE RD                                                                        LAINGSBURG       MI 48848‐8770
MARVIN JAMES        1420 CARAWAY ST                                                                           LEBANON          IN 46052‐3307
MARVIN JENNINGS     321 COUNTY ROAD 3673                                                                      PARADISE         TX 76073‐4504
MARVIN JENNINGS     5428 MOUNT MARIA RD                                                                       HUBBARD LAKE     MI 49747‐9408
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Name                                 Address1                        Address2                      Address3             Address4           City               State Zip
MARVIN JENNINGS MCFARLAND            ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON           IL 62024
                                                                     ANGELIDES & BARNERD LLC
MARVIN JOHNSON                       16610 JUDSON DR                                                                                       CLEVELAND          OH   44128‐2231
MARVIN JOHNSON                       7738 CROCKETT HWY                                                                                     BLISSFIELD         MI   49228‐9732
MARVIN JOHNSON                       8719 28TH AVENUE DR E                                                                                 PALMETTO           FL   34221‐1604
MARVIN JOHNSON                       9039 SLATTERY ROAD                                                                                    CLIFFORD           MI   48727‐9724
MARVIN JOHNSON                       1060 W VASSAR RD                                                                                      REESE              MI   48757‐9307
MARVIN JOHNSON                       PO BOX 60054                                                                                          FORT WORTH         TX   76115‐8054
MARVIN JOHNSON                       6801 EDISON AVE                                                                                       SAINT LOUIS        MO   63121‐5307
MARVIN JOHNSON                       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.        OH   44236
MARVIN JOHNSON                       C/O THE MADEKSHO LAW FIRM       8866 GULF FREEWAY SUITE 440                                           HOUSTON            TX   77017
MARVIN JOHNSON JR                    4129 E 169TH ST                                                                                       CLEVELAND          OH   44128‐2256
MARVIN JONES                         19510 VAN BUREN BLVD STE F3                                                                           RIVERSIDE          CA   92508‐9458
MARVIN JORDAN                        8515 YALE ST APT 104                                                                                  WESTLAND           MI   48185‐2128
MARVIN JR, EARL                      1027 BRIDGE ST                                                                                        DAYTON             OH   45402‐5624
MARVIN JR, ROY G                     2710 EAGLECLIFF DR                                                                                    ESTES PARK         CO   80517‐8120
MARVIN JUERGENS                      7423 W 58TH PL                                                                                        SUMMIT             IL   60501‐1425
MARVIN K BROWN SAAB                  1441 CAMINO DEL RIO S                                                                                 SAN DIEGO          CA   92108‐3521
MARVIN K JONES                       C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                             HOUSTON            TX   77007
                                     BOUNDAS LLP
MARVIN K. BROWN AUTO CENTER, INC.    JAMES BROWN                     1441 CAMINO DEL RIO S                                                 SAN DIEGO          CA 92108‐3581

MARVIN K. BROWN CADILLAC‐BUICK‐GMC 1441 CAMINO DEL RIO S                                                                                   SAN DIEGO          CA 92108‐3521

MARVIN K. BROWN CADILLAC‐BUICK‐GMC   1441 CAMINO DEL RIO S                                                                                 SAN DIEGO          CA 92108‐3521
TRUCKS‐HUMMER
MARVIN K. BROWN HUMMER               1441 CAMINO DEL RIO S                                                                                 SAN DIEGO          CA   92108‐3521
MARVIN K. BROWN SAAB                 BROWN, JAMES E                  1441 CAMINO DEL RIO S                                                 SAN DIEGO          CA   92108‐3521
MARVIN KASTEL                        10030 WHITEFORD                                                                                       OTTAWA LAKE        MI   49267
MARVIN KAVAN                         416 LAKE CIR                                                                                          COLUMBIA           TN   38401‐8879
MARVIN KAY                           897 SHREWSBURY DR                                                                                     CLARKSTON          MI   48348‐3680
MARVIN KEENAN                        1414 CEDAR LN                                                                                         BISMARCK           MO   63624‐9620
MARVIN KEENLANCE                     425 LINN ST                                                                                           JANESVILLE         WI   53548‐5135
MARVIN KELLY                         1117 PETRONIA ST                                                                                      NORTH PORT         FL   34286‐4219
MARVIN KEMERLY                       2370 SCOTTSPINE DR                                                                                    ANDERSON           IN   46013
MARVIN KENWORTHY                     4130 S 300 W                                                                                          KOKOMO             IN   46902‐9559
MARVIN KERN                          101 CALICO DR                                                                                         CLIMAX SPRINGS     MO   65324‐2430
MARVIN KEYS                          141 JONES CHAPEL RD                                                                                   COLLINS            MS   39428‐5868
MARVIN KING                          205 KAYLEE LOOP ROAD                                                                                  HARTSELLE          AL   35640
MARVIN KING                          146 LYNHURST DR                                                                                       CROSSVILLE         TN   38558‐6461
MARVIN KING                          34 JARVIS PL                                                                                          EAST SAINT LOUIS   IL   62207‐2550
MARVIN KING                          12496 DRESDEN ST                                                                                      DETROIT            MI   48205‐3843
MARVIN KIPP                          866 DORAL DR                                                                                          OXFORD             MI   48371‐6503
MARVIN KLEIN                         13505 ONEIDA RD                                                                                       GRAND LEDGE        MI   48837‐9704
MARVIN KLINGENSMITH                  3632 E FENWICK RD                                                                                     FENWICK            MI   48834‐9759
MARVIN KNAPP                         131 SNOWFLAKE WAY                                                                                     HOUGHTON LAKE      MI   48629‐9152
MARVIN KNOTTS                        607 W WASHINGTON ST                                                                                   ALEXANDRIA         IN   46001‐1830
MARVIN KNUCKLES                      MOTLEY RICE LLC                 28 BRIDGESIDE BLVD            PO BOX 1792                             MT PLEASANT        SC   29465
MARVIN KOCHERSPERGER                 9377 NEFF RD                                                                                          ARCANUM            OH   45304‐9710
MARVIN KOLIN                         46323 GAINSBOROUGH DR                                                                                 CANTON             MI   48187‐1563
MARVIN KOSLOWSKI                     20492 WAKENDEN                                                                                        REDFORD            MI   48240‐1122
MARVIN KRUEGER                       3215 GREENWOOD DR                                                                                     ROCHESTER HLS      MI   48309‐3926
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Name                                   Address1                             Address2                   Address3   Address4         City                 State Zip
MARVIN KUCH                            2041 CARTER RD                                                                              MIDLAND               MI 48642‐9228
MARVIN KUSTER                          6451 COLEMAN ST                                                                             DEARBORN              MI 48126‐2023
MARVIN L BURGESS                       12150 COLDWATER RD                                                                          COLUMBIAVILLE         MI 48421‐8809
MARVIN L COMBS                         3585 EATON LEWISBURG RD                                                                     EATON                 OH 45320‐9712
MARVIN L COTEREL                       5276 STRAIGHT CREEK                                                                         WAVERLY               OH 45690‐9781
MARVIN L EPPS                          823 SUNLIGHT AVE                                                                            DAYTON                OH 45427
MARVIN L ERBES                         69 CROOKED ISLAND CR                                                                        MURRELLS INLET        SC 29576‐5740
MARVIN L FAILER                        ACCT OF JOHN HINDS                   G‐6258 WEST PIERSON ROAD                               FLUSHING              MI 36742
MARVIN L FISHER                        449 RANDLER AVE                                                                             VANDALIA              OH 45377‐1403
MARVIN L GOINS                         738 KERCHER ST                                                                              MIAMISBURG            OH 45342‐1822
MARVIN L HOTKIEWICZ                    717 TANGLEWOOD LN                                                                           FRANKFORT              IL 60423‐1047
MARVIN L KAPLAN MD                     1548 GALAXY DR                                                                              NEWPORT BEACH         CA 92660
MARVIN L LOGAN                         405 1ST ST SW                                                                               WARREN                OH 44485
MARVIN L LYONS                         10406 SUNLIGHT LANE                                                                         LOUISVILLE            KY 40272
MARVIN L MITCHELL                      426 MC BEE ROAD                                                                             BELLBROOK             OH 45305‐8794
MARVIN L MORRIS                        1151 CHARLWOOD AVE                                                                          DAYTON                OH 45432‐1701
MARVIN L PIPER                         5760 E U V AVE                                                                              VICKSBURG             MI 49097
MARVIN L PROCTOR                       10 MANHATTAN SQUARE DR APT 7A                                                               ROCHESTER             NY 14607‐3981
MARVIN L REYNOLDS                      1900 W. SHERIDAN AVENUE                                                                     MILWAUKEE             WI 53209‐5030
MARVIN L TOWNSEND                      7405 DODGE RD                                                                               MONTROSE              MI 48457‐9193
MARVIN L TYLER                         6242 RICK ST                                                                                YPSILANTI             MI 48197‐8231
MARVIN L WARWICK                       1516 S HAMLIN AVE U                                                                         CHICAGO                IL 60623
MARVIN L. A/K/A MARVIN HURON AND       733 ORANGE GROVE AVE                                                                        SAN FERNANDO          CA 91340‐1945
MERLE E. FAULCONER
MARVIN LAMB                            912 BRENTWOOD DR                                                                            KOKOMO               IN   46901‐1524
MARVIN LAMB                            1145 N WEBB RD                                                                              WILMINGTON           OH   45177‐8435
MARVIN LAMBERT                         39 SAINT STANISLAUS CT                                                                      FLORISSANT           MO   63031‐6540
MARVIN LAMBERT                         6060 WEDGEWOOD RD                                                                           MEDINA               OH   44256‐8828
MARVIN LANGLEY                         10002 TRAFFORD WAY                                                                          SHREVEPORT           LA   71118‐4834
MARVIN LASH                            1070 CRESTVIEW DR                                                                           CRESTLINE            OH   44827‐9616
MARVIN LAWSON                          2610 E 1000 S                        C/O CYNTHIA LAWSON                                     WARREN               IN   46792‐9411
MARVIN LAWSON                          3984 SILVER VALLEY DR                                                                       ORION                MI   48359‐1650
MARVIN LAY                             8234 ALAN DR                                                                                CAMBY                IN   46113‐9428
MARVIN LAYCOCK                         45 E OAK ST BOX 78                                                                          ORESTES              IN   46063
MARVIN LEAZENBY                        3105 MOORE RD                                                                               ANDERSON             IN   46011‐4630
MARVIN LEBLANC                         166 CHERRY DR                                                                               OAKLAND              MI   48363‐1512
MARVIN LECUREUX                        5333 N BURKHART RD                                                                          HOWELL               MI   48855‐8721
MARVIN LEDERER                         7322 N SWEDE RD                                                                             RHODES               MI   48652‐9605
MARVIN LEE                             2171 NEW YORK AVE                                                                           LINCOLN PARK         MI   48146‐3476
MARVIN LEE                             2245 E CHERRY ST APT 2                                                                      PARIS                TX   75460‐1471
MARVIN LEEDOM                          62 DORCHESTER DR                                                                            SOUTHAMPTON          NJ   08088‐1327
MARVIN LEHMAN                          4320 ANDERSON RD                                                                            MORROW               OH   45152‐8133
MARVIN LEMANSKI                        39420 VINNIE CT                                                                             CLINTON TWP          MI   48038‐4022
MARVIN LEMASTER                        1574 EVAN DR                                                                                DEFIANCE             OH   43512‐3520
MARVIN LESPERANCE                      39800 WILLIS RD                                                                             BELLEVILLE           MI   48111‐8709
MARVIN LETTENMAIER                     8 RIVER CHASE TER                                                                           PALM BEACH GARDENS   FL   33418‐6817
MARVIN LEVAN                           13670 HANCHETT RD                                                                           SAINT CHARLES        MI   48655‐9526
MARVIN LEVELS                          554 S RACCOON RD H33                                                                        AUSTINTOWN           OH   44515
MARVIN LEVICK EDR ASSOCIATES PSP AND   TRS FBO EDR ASSOCIATES PSP & TRUST   140 FENWICK DR                                         PITTSBURGH           PA   15235‐5014
TRUST
MARVIN LEWIS                           1090 MEADOWBROOK CT                                                                         OXFORD               MI 48371‐3246
MARVIN LEWIS                           PO BOX 253                           122 W MAIN ST                                          BIG RUN              PA 15715‐0253
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Name                  Address1                         Address2                     Address3   Address4         City            State Zip
MARVIN LEWIS          42884 KENT DR                                                                             BELLEVILLE       MI 48111‐1659
MARVIN LLOYD          2250 GARLAND ST                                                                           SYLVAN LAKE      MI 48320‐1618
MARVIN LLOYD          1452 STATE ROUTE 156                                                                      WATERLOO          IL 62298‐6102
MARVIN LOCKHART       6052 WILD TURKEY RD                                                                       GRAND BLANC      MI 48439‐7980
MARVIN LOGAN          405 1ST ST SW                                                                             WARREN           OH 44485‐3823
MARVIN LOLMAUGH       PO BOX 225                                                                                ONAWAY           MI 49765‐0225
MARVIN LONDON         235 HIGHLAND ST                                                                           NEWTON FALLS     OH 44444‐9775
MARVIN LONG           300 KENNELY RD APT 224                                                                    SAGINAW          MI 48609‐7705
MARVIN LOUCKS         14402 TUSCOLA RD                                                                          CLIO             MI 48420‐8849
MARVIN LOVEGROVE      5575 FINDLAY RD                                                                           SAINT JOHNS      MI 48879‐8523
MARVIN LOVELACE       2944 BARBERINI DR                                                                         GRAND PRAIRIE    TX 75052‐8718
MARVIN LOVELESS       14201 W DIVISION RD                                                                       DALEVILLE        IN 47334‐9616
MARVIN LOWE           14253 SMITH GOVER RD                                                                      ATHENS           AL 35614‐5029
MARVIN LUCAS          357 DANIELS CREEK RD                                                                      SANFORD          NC 27330‐0738
MARVIN LUETJEN        4926 BIRCH ST                                                                             ROELAND PARK     KS 66205‐1127
MARVIN LUMMIS         4872 STIVERSVILLE RD                                                                      CULLEOKA         TN 38451‐2420
MARVIN LUNDY JR       2020 PLUM ST                                                                              NEW CASTLE       IN 47362‐3143
MARVIN LUSK           55 CLARK RD                                                                               PERRYVILLE       MD 21903‐1211
MARVIN LYONS          120 PORTER CT                                                                             BOWLING GREEN    KY 42103‐8546
MARVIN M TRICK        11745 W VERSAILLES RD                                                                     COVINGTON        OH 45318‐8823
MARVIN MAFFETT        489 SUNRISE DR                                                                            KENT             OH 44240‐1621
MARVIN MAHER          1613 MORGAN RD                                                                            CLIO             MI 48420‐1866
MARVIN MAILEY         512 S OLD MILL RD                                                                         DOVER            DE 19901‐6204
MARVIN MAIN           560 LAUREL DR                                                                             GLADWIN          MI 48624‐8080
MARVIN MAINES         3076 HESS RD                                                                              APPLETON         NY 14008‐9635
MARVIN MALCZEWSKI     30041 ALETA CIR                                                                           WARREN           MI 48093‐3030
MARVIN MARCH          14007 POWER DAM RD                                                                        DEFIANCE         OH 43512‐8815
MARVIN MARLOW         2517 OLD PEACHTREE RD                                                                     DULUTH           GA 30097‐5145
MARVIN MARSHALL       8809 IRONWOOD DR                                                                          BELLEVILLE       MI 48111‐7420
MARVIN MARTIN         PO BOX 143                                                                                WEBBERVILLE      MI 48892‐0143
MARVIN MARTIN JR.     8984 SPRINGWOOD BLVD                                                                      BELLEVILLE       MI 48111‐7400
MARVIN MARTTILA       1920 CALLIS RD                                                                            LAPEER           MI 48446‐7789
MARVIN MASON          2626 GROSVENOR DR                                                                         CINCINNATI       OH 45231‐1836
MARVIN MASTERS        9484 N LEWIS RD                                                                           CLIO             MI 48420‐9781
MARVIN MAY            23610 COLUMBUS AVE                                                                        WARREN           MI 48089‐4436
MARVIN MAY            7204 E GRAND RIVER AVE LOT 25                                                             PORTLAND         MI 48875‐8760
MARVIN MAY            C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS       OH 44236
MARVIN MAYER          1116 RITCHIE RD                                                                           GLADWIN          MI 48624‐9720
MARVIN MAYS           8465 CLIPPERT ST                                                                          TAYLOR           MI 48180‐2831
MARVIN MC CRAY        PO BOX 26441                                                                              DAYTON           OH 45426‐0441
MARVIN MC GINNIS      5434 N VASSAR RD                                                                          FLINT            MI 48506‐1232
MARVIN MC GREW        10218 E MN AVE                                                                            GALESBURG        MI 49053‐9640
MARVIN MC INTOSH MD   8620 SCHWARTZ ROAD                                                                        KANSAS CITY      KS 66111
MARVIN MC LEMORE      14254 NORTHLAWN ST                                                                        DETROIT          MI 48238‐2439
MARVIN MCALLISTER     7129 OLD MORGANTOWN RD                                                                    MARTINSVILLE     IN 46151‐7194
MARVIN MCCALLISTER    10034 W 55 S                                                                              FARMLAND         IN 47340‐8933
MARVIN MCCOY          2778 E 100 N                                                                              ANDERSON         IN 46012‐9263
MARVIN MCCOY          47716 LINCOLN ST                                                                          E LIVERPOOL      OH 43920‐9135
MARVIN MCCREADY       5947 BLOSSMAN RD                                                                          TOLEDO           OH 43617‐1001
MARVIN MCCREADY I I   12182 DOHONEY RD                                                                          DEFIANCE         OH 43512‐8842
MARVIN MCCULLOUGH     BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS       OH 44236
MARVIN MCDERMOTT      904 N PLEASANT VALLEY AVE                                                                 DAYTON           OH 45404‐2442
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Name                  Address1                            Address2        Address3         Address4         City             State Zip
MARVIN MCDOUGLE       2875 ROAD 22                                                                          CONTINENTAL       OH 45831‐9466
MARVIN MCELWAIN       600 SW WILLIAMS ST                                                                    LEES SUMMIT       MO 64081‐2622
MARVIN MCINTOSH       300 OAK RIDGE RD LOT 93                                                               FREDERICKSBURG    TX 78624‐8249
MARVIN MCKIBBEN       418 LAUREL DR                                                                         MONROE            MI 48161‐5766
MARVIN MCKINNEY       131 TWEEDY LN                                                                         KOOSKIA           ID 83539‐5174
MARVIN MCKINNEY       11545 SOMERSET AVE                                                                    DETROIT           MI 48224‐4103
MARVIN MCLAUGHLIN     206 PARKWAY DR                                                                        SAINT MARYS       OH 45885‐1245
MARVIN MCNEELEY       1487 S HOLLY RD                                                                       FENTON            MI 48430‐8525
MARVIN MCVICKER I I   3602 N AVERILL AVE                                                                    FLINT             MI 48506‐2512
MARVIN MEACHAM        4380 PINE STREET                                                                      COLUMBIAVILLE     MI 48421‐8977
MARVIN MELLON         4615 N HOLLAND SYLVANIA RD APT 12                                                     TOLEDO            OH 43623‐2560
MARVIN MELLOTT        18511 KENT AVE                                                                        HAGERSTOWN        MD 21740‐9557
MARVIN MESSING        1209 HUMMER LAKE RD                                                                   ORTONVILLE        MI 48462‐9732
MARVIN MEYERS         PO BOX 37                                                                             AFTON             MI 49705‐0037
MARVIN MICHAEL        PO BOX 343                                                                            PERRYVILLE        KY 40468‐0343
MARVIN MICHAEL JR     55 TAMMY LN                                                                           MARTINSBURG       WV 25405‐5867
MARVIN MICHAELSON     873 N 300 W                                                                           HUNTINGTON        IN 46750‐9107
MARVIN MILLER         816 MILLERTOWN RD                                                                     TEMPLE            GA 30179‐2936
MARVIN MILLER         1303 25TH ST                                                                          BEDFORD           IN 47421‐5021
MARVIN MILLER         8191 FOUNTAIN VIEW DR                                                                 FLUSHING          MI 48433‐2198
MARVIN MILLIMAKI      187 W RUTGERS AVE                                                                     PONTIAC           MI 48340‐2761
MARVIN MILLS          1021 ARCHAMBAULT LN                                                                   VESTABURG         MI 48891‐9432
MARVIN MINGS          7422 RICHARDS DR                                                                      SHAWNEE           KS 66216‐4122
MARVIN MINTO          460 N MIDLAND ST                                                                      MERRILL           MI 48637‐9415
MARVIN MITCHELL       7701 SOUTHBRIDGE LN                                                                   ARLINGTON         TX 76002‐4157
MARVIN MITCHELL       6441 BENNETT LAKE RD                                                                  FENTON            MI 48430‐9093
MARVIN MITCHELL       426 MCBEE RD                                                                          BELLBROOK         OH 45305‐8794
MARVIN MITCHELL       PO BOX 241                          6 MAPLE ST                                        NORFOLK           NY 13667‐0241
MARVIN MOBLEY         2335 E M72                                                                            GRAYLING          MI 49738
MARVIN MOCK           PO BOX 386                                                                            PARKER CITY       IN 47368‐0386
MARVIN MOLDENHAUER    11881 N DOBBS RD                                                                      LUTHER            OK 73054‐9460
MARVIN MONTGOMERY     6368 TIMBER CREEK TRL                                                                 DAHLONEGA         GA 30533‐6709
MARVIN MOORE          4113 BROWNELL BLVD                                                                    FLINT             MI 48504‐3752
MARVIN MOORE          5725 ATHENS ST                                                                        LULA              GA 30554‐3010
MARVIN MOORE          461 S SALEM WARREN RD                                                                 NORTH JACKSON     OH 44451‐9701
MARVIN MOORE          11500 S 900 W 35                                                                      MARION            IN 46952‐9517
MARVIN MOORE          3172 EARLY RD                                                                         DAYTON            OH 45415‐2703
MARVIN MORAN          PO BOX 302                                                                            LYNCHBURG         OH 45142‐0302
MARVIN MORGAN         138 CHRISTMASVILLE RD                                                                 TRENTON           TN 38382‐8406
MARVIN MORGAN         10301 GOLDEN DR                                                                       NOBLESVILLE       IN 46060‐6133
MARVIN MORGAN         2011 N 43RD ST                                                                        KANSAS CITY       KS 66104‐3405
MARVIN MORGAN         4404 BROOKDALE CT                                                                     ORLANDO           FL 32826‐2638
MARVIN MORRIS         1151 CHARLWOOD AVE                                                                    DAYTON            OH 45432‐1701
MARVIN MORROW         6060 BENT OAK HWY                                                                     ADRIAN            MI 49221‐9672
MARVIN MOSS           128 MONTCLAIR AVE                                                                     BUFFALO           NY 14215‐2126
MARVIN MOTYCKA        9709 W O AVE                                                                          KALAMAZOO         MI 49009‐9640
MARVIN MUELLER        1061 W 9TH ST                                                                         WASHINGTON        MO 63090‐1730
MARVIN MULDER         11833 JAMES ST APT B25                                                                HOLLAND           MI 49424‐7717
MARVIN MULLENIX       1210 S WEBSTER AVE                                                                    INDIANAPOLIS      IN 46203‐2661
MARVIN MULLINS        6168 BASS HWY                                                                         SAINT CLOUD       FL 34771‐8627
MARVIN MUSGRAVE       110 W 5TH ST APT 11                                                                   CLAY CITY         IN 47841‐1141
MARVIN MYERS          4459 EASTWOOD DR                                                                      SWARTZ CREEK      MI 48473‐8802
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Name                           Address1                            Address2                       Address3          Address4         City               State Zip
MARVIN N MCKINNEY              11545 SOMERSET AVE                                                                                    DETROIT             MI 48224‐4103
MARVIN NANCE                   AARYN GIBLIN, ATTORNEY FOR MARVIN   PROVOST UMPHREY LAW FIRM LLP   490 PARK STREET                    BEAUMONT            TX 77701
                               NANCE
MARVIN NAPIER                  2456 GRAND RIVER ROAD                                                                                 BANCROFT           MI   48414‐9731
MARVIN NEHER                   1901 S GOYER RD APT 50                                                                                KOKOMO             IN   46902‐2740
MARVIN NELSON                  3526 LAKESHORE DR                                                                                     GLADWIN            MI   48624‐8361
MARVIN NELSON                  5430 DELAND RD                                                                                        FLUSHING           MI   48433‐2902
MARVIN NELSON                  2741 W AVALON RD                                                                                      JANESVILLE         WI   53546‐8990
MARVIN NEUENFELDT              1308 PACELLI ST                                                                                       SAGINAW            MI   48638‐6559
MARVIN NEUMANN III             45830 LOOKOUT DR                                                                                      MACOMB             MI   48044‐6236
MARVIN NEWLAND                 1213 BAUER RD                                                                                         SPENCER            IN   47460‐6764
MARVIN NEWSOME                 50153 N HORST CT                                                                                      CHESTERFIELD       MI   48047‐4662
MARVIN NEWSON JR               17633 EDINBOROUGH RD                                                                                  DETROIT            MI   48219‐4216
MARVIN NICHOLS                 6151 WILLARD RD                                                                                       BIRCH RUN          MI   48415‐8609
MARVIN NINE                    457 N MONROE ST                                                                                       BLISSFIELD         MI   49228‐1083
MARVIN NORRIS                  3406 NICHOLS RD                                                                                       AUBURN HILLS       MI   48326‐3834
MARVIN NORTON                  1185 ALICE DR                                                                                         LAPEER             MI   48446‐3002
MARVIN NOWLAND                 4054 N IRISH RD                                                                                       DAVISON            MI   48423‐8945
MARVIN O HERZOG FAMILY TRUST   TERESA HERZOG SUCCESSOR TRUSTEE     5736 MAPLE RD                                                     FRANKENMUTH        MI   48734‐9716
MARVIN OFSTUN                  604 CORNELIA ST                                                                                       JANESVILLE         WI   53545‐2418
MARVIN OHLRICH                 18024 EASTLAND ST                                                                                     ROSEVILLE          MI   48066‐4682
MARVIN OLIVER                  20301 SOUTHEAST 39TH STREET                                                                           HARRAH             OK   73045‐6024
MARVIN OLSON                   45 N 8 MILE RD                                                                                        LINWOOD            MI   48634‐9541
MARVIN ORR                     1000 NE 60TH TER                                                                                      GLADSTONE          MO   64118‐5148
MARVIN OSTRANDER               4200 S STATE RD                                                                                       DURAND             MI   48429‐9152
MARVIN OWEN                    2810 SILVER FOX DR SW                                                                                 WARREN             OH   44481‐9236
MARVIN OWEN                    2060 S STEWART RD                                                                                     CHARLOTTE          MI   48813‐9310
MARVIN OWENS                   34800 MELTON ST                                                                                       WESTLAND           MI   48186‐9721
MARVIN OWENS                   107 W 100 S                                                                                           FRANKLIN           IN   46131‐8464
MARVIN P BOYD                  1385 E SIEBENTHALER AVE                                                                               DAYTON             OH   45414‐5357
MARVIN PACE                    1275 DORCHESTER AVE                                                                                   BLOOMFIELD HILLS   MI   48302‐0020
MARVIN PACER                   3401 BIRD RD                                                                                          ORTONVILLE         MI   48462‐9084
MARVIN PARKER                  BRAYTON PURCELL                     PO BOX 6169                                                       NOVATO             CA   94948‐6169
MARVIN PARROTT                 8343 BELLARINE DR                                                                                     SHELBY TWP         MI   48316‐3609
MARVIN PARSONS                 825 NOTRE DAME DR                                                                                     O FALLON           MO   63366‐1785
MARVIN PAULSON                 27 W LAKESHORE DR                                                                                     CHEROKEE VILLAGE   AR   72529‐4211
MARVIN PEARMON                 17 CHAPMAN ST                                                                                         PONTIAC            MI   48341‐2175
MARVIN PEPLINSKI               7616 E HIGGINS LAKE DR                                                                                ROSCOMMON          MI   48653‐9353
MARVIN PERKINS                 105 E LOCKWOOD ST                                                                                     MIDDLETOWN         DE   19709‐1126
MARVIN PERSINGER               2301 DONNA DR                                                                                         ANDERSON           IN   46017‐9513
MARVIN PETERS                  9109 NOBLET RD                                                                                        DAVISON            MI   48423‐8714
MARVIN PETERS                  5278 GREENPOINT DR                                                                                    STONE MTN          GA   30088‐3811
MARVIN PHILLIPS                6259 N BOWMAN RD                                                                                      ROANN              IN   46974‐9446
MARVIN PICCARD                 11400 WINDSOR DR NE                                                                                   SPARTA             MI   49345‐8516
MARVIN PICKERING               2006 KERRI LYNN LN                                                                                    KOKOMO             IN   46902‐7409
MARVIN PIERCE                  7237 W STATE ROAD 38                                                                                  NEW CASTLE         IN   47362‐9750
MARVIN PIKE                    5006 CHINOOK LN                                                                                       CROSSVILLE         TN   38572‐6728
MARVIN PILLOW                  8993 N CLARENDON ST                                                                                   DETROIT            MI   48204‐2353
MARVIN PING                    639 E HIGHWAY 1248                                                                                    SOMERSET           KY   42503‐4753
MARVIN PIPER                   5760 E U V AVE                                                                                        VICKSBURG          MI   49097
MARVIN PITTMAN                 1533 BRADSHAW DR                                                                                      COLUMBIA           TN   38401‐8647
MARVIN PLAS                    3540 WATERGATE DR SW                                                                                  WYOMING            MI   49519‐3122
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Name                             Address1                       Address2              Address3      Address4         City              State Zip
MARVIN PLOTZKA                   5749 CRANDALL RD                                                                    HOWELL             MI 48855‐7706
MARVIN POLAND                    201 STAR LAKE DR                                                                    HAWTHORNE          FL 32640‐6312
MARVIN POOLE                     1021 BARNES CHAPEL RD                                                               BLUE RIDGE         GA 30513‐3215
MARVIN POTTENGER                 4663 WEST S.R. 16                                                                   DENVER             IN 46926
MARVIN POWELL                    PO BOX 171                                                                          STEWARTSVILLE      MO 64490‐0171
MARVIN POWELL                    28125 TAPERT DR                                                                     SOUTHFIELD         MI 48076‐2417
MARVIN PRIKASKY                  3690 N UNION RD                                                                     ALMA               MI 48801‐9740
MARVIN PRIME                     7231 N BRAY RD                                                                      MOUNT MORRIS       MI 48458‐8989
MARVIN PRINCE                    PO BOX 443                                                                          ELMORE CITY        OK 73433‐0443
MARVIN PUCKETT                   200 BEAR CREEK DR APT 139                                                           EULESS             TX 76039‐2059
MARVIN PUPETER                   15611 BETHANY COURT                                                                 SOUTH BELOIT        IL 61080‐9718
MARVIN QUILLEN                   1034 BUD IKERD RD                                                                   BEDFORD            IN 47421‐7975
MARVIN R AND JULIA MAE STEWART   3625 E LOCUST CIRCLE                                                                PROSPECT           KY 40059
MARVIN R ANTHONY                 1895 JEFF RD NW                                                                     HUNTSVILLE         AL 35806
MARVIN R BREWER                  6856 CASTLEBROOK DR                                                                 FRANKLIN           OH 45005
MARVIN R COLLINS                 7761 NUMBER NINE RD                                                                 BROOKVILLE         OH 45309
MARVIN R GILLAM                  12459 SE 91ST TERRACE RD                                                            SUMMERFIELD        FL 34491‐9796
MARVIN R HARMON                  113 MEADOWBROOK DRIVE                                                               EATON              OH 45320‐2270
MARVIN R MURPHY                  4049 N WEST ST APT 115                                                              JACKSON            MS 39206
MARVIN R SMITH                   1338 CROYDON RD                                                                     TROY               OH 45373‐2418
MARVIN RAFFLER                   10890 E CARLTON CENTER RD                                                           WOODLAND           MI 48897‐9670
MARVIN RAHMAN                    10804 COBBLESTONE DR                                                                BENBROOK           TX 76126‐4502
MARVIN RAMSEY JR                 8008 MACNAUGHTON DR                                                                 JACKSONVILLE       FL 32244‐5589
MARVIN RAMSEYER                  3046 THORNAPPLE LANE                                                                BAY CITY           MI 48706
MARVIN RANDALL                   5829 COLEMAN ST                                                                     NORTH LAS VEGAS    NV 89031‐1159
MARVIN RANISZEWSKI               4441 E MICHIGAN AVE                                                                 AU GRES            MI 48703‐9464
MARVIN RANTA                     20227 MILBURN ST                                                                    LIVONIA            MI 48152‐1618
MARVIN RAUPP                     284 DANNY DR                                                                        BROOKLYN           MI 49230‐9045
MARVIN RAY                       PO BOX 467                                                                          PIGGOTT            AR 72454‐0467
MARVIN RAY COUCH                 FOSTER & SEAR, LLP             817 GREENVIEW DRIVE                                  GRAND PRAIRIE      TX 75050
MARVIN REED                      629 GARFIELD AVE                                                                    MOUNT MORRIS       MI 48458‐1521
MARVIN REED                      1001 GLEN GARDEN DR                                                                 FORT WORTH         TX 76104‐6857
MARVIN REID                      1713 CHRISTOPHER DR                                                                 FORT WORTH         TX 76140‐5198
MARVIN REIDEL                    85 LA VENTA DR                                                                      FLORISSANT         MO 63031‐5221
MARVIN REIMCHE                   9701 WOODROCK CT                                                                    MIDWEST CITY       OK 73130‐5411
MARVIN REINHARDT                 PO BOX 215                                                                          TROY               MI 48099‐0215
MARVIN REISER JR                 1334 W SARATOGA ST                                                                  FERNDALE           MI 48220‐1658
MARVIN RHODES JR                 27369 SUTHERLAND ST                                                                 SOUTHFIELD         MI 48076‐3563
MARVIN RICH                      5419 PLAIN RD                                                                       SILVERWOOD         MI 48760‐9716
MARVIN RICHARDSON                PO BOX 51                                                                           FILLMORE           IN 46128‐0051
MARVIN RICHMOND                  5766 BLAINE AVE SE                                                                  KENTWOOD           MI 49508‐6220
MARVIN RICKEY                    CASCINO MICHAEL P              220 S ASHLAND AVE                                    CHICAGO             IL 60607
MARVIN RIFE                      9568 OLD STATE RD                                                                   CHARDON            OH 44024‐9259
MARVIN ROAM                      3223 BURTON PL                                                                      ANDERSON           IN 46013‐5239
MARVIN ROBART                    7489 VOLKMER RD                                                                     CHESANING          MI 48616‐9749
MARVIN ROBERTS                   2378 OLD NEWPORT HWY                                                                SEVIERVILLE        TN 37876‐2156
MARVIN ROBERTS                   1226 ISSAC PARK RD                                                                  LOUISA             KY 41230‐5936
MARVIN ROBERTS JR                10105 DUFFIELD RD                                                                   GAINES             MI 48436‐9701
MARVIN ROBERTS SR                3491 CARRIAGE WAY                                                                   EAST POINT         GA 30344‐6018
MARVIN ROBERTSON                 12686 PLEASANTVIEW PARK ROAD                                                        LODI               WI 53555
MARVIN ROBESON                   5771 OAK VALLEY RD                                                                  KETTERING          OH 45440‐2325
MARVIN ROBINSON                  3865 REEDS VALLEY RD                                                                CASTLEWOOD         VA 24224‐7341
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Name                                Address1                                Address2                     Address3          Address4         City               State Zip
MARVIN ROBINSON                     43145 WILLIS RD                                                                                         BELLEVILLE          MI 48111‐8720
MARVIN ROBINSON JR                  41 LAKESIDE DR BLDG #33                                                                                 BRISTOL             CT 06010
MARVIN ROLAND                       5290 VAN SLYKE RD                                                                                       FLINT               MI 48507‐3956
MARVIN ROLLYSON                     BEVAN & ASSOCIATES LPA INC              6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS          OH 44236
MARVIN ROPER                        4311 EATON HWY R1                                                                                       SUNFIELD            MI 48890
MARVIN ROPER                        1160 BRABBS ST                                                                                          BURTON              MI 48509‐1920
MARVIN ROSENBERGER JR               1628 CUMBERLAND AVE SE                                                                                  LOWELL              MI 49331‐9639
MARVIN ROTHERY                      559 CHATHAM WAY                                                                                         GALLOWAY            NJ 08205‐6607
MARVIN RUBENSTEIN
MARVIN RYE                          PO BOX 1542                                                                                             HAMILTON           AL   35570‐1542
MARVIN S ARNOLD                     844 OAKLEAF DR                                                                                          DAYTON             OH   45408‐1544
MARVIN S HILL                       3101 FOREST GROVE AVE                                                                                   DAYTON             OH   45406‐3902
MARVIN S HILL SR                    7500 TUSCOLA DR                                                                                         TROTWOOD           OH   45426‐3830
MARVIN S OLIVO JR                   NIX PATTERSON & ROACH LLP               GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD       TX   75638
MARVIN S WEIN/FRMNGT                31091 HUNTERS WHIP LN                                                                                   FARMINGTON HILLS   MI   48331‐1538
MARVIN SACKS                        3315 N GLEBE RD                                                                                         ARLINGTON          VA   22207‐4234
MARVIN SALES                        APT E                                   6211 NORTH LONDON AVENUE                                        KANSAS CITY        MO   64151‐4786
MARVIN SALMONS                      1551 CHAMPLIN DR                                                                                        SAINT LOUIS        MO   63136‐2115
MARVIN SALVO                        36664 BONITO DR                                                                                         FREMONT            CA   94536‐6417
MARVIN SAMMONS                      739 SURFWOOD LN                                                                                         DAVISON            MI   48423‐1224
MARVIN SANDERS                      14621 NORTHLAWN ST                                                                                      DETROIT            MI   48238‐1890
MARVIN SARGENT                      6556 CHRISTIANSON PKWY S                                                                                FARGO              ND   58104‐3326
MARVIN SARY                         329 GREEN LN                                                                                            EWING              NJ   08638‐1717
MARVIN SAUL                         1425 CHIMNEY HILL RD                                                                                    FELTON             DE   19943‐4611
MARVIN SCARBOROUGH                  2434 SUNFLOWER DR                                                                                       ARLINGTON          TX   76014‐1851
MARVIN SCHAFER                      7726 OBRIEN RD                                                                                          HUBBARDSTON        MI   48845‐9512
MARVIN SCHLICHT                     1025 N WALNUT ST                                                                                        JANESVILLE         WI   53548‐1558
MARVIN SCHLISSLER                   3824 GLENARM AVE                                                                                        BALTIMORE          MD   21206‐2406
MARVIN SCHOENHEIT                   3568 BARNARD RD                                                                                         SAGINAW            MI   48603‐2507
MARVIN SCHOENHERR                   115 TELFORD DR                                                                                          TROY               MI   48085‐1584
MARVIN SCHOLTEN                     7354 12TH AVE                                                                                           JENISON            MI   49428‐7101
MARVIN SCHRAUBEN                    10055 E GRAND RIVER AVE                                                                                 PORTLAND           MI   48875‐9433
MARVIN SCHREDER                     491 AVALON RD                                                                                           VENICE             FL   34293‐1555
MARVIN SCHRIER                      17250 BOCA CLUB BLVD APT 104                                                                            BOCA RATON         FL   33487‐1087
MARVIN SCHULTE                      187 SOUTH CHERRY STREET                                                                                 BREESE             IL   62230‐1810
MARVIN SCHULTZ                      164 SACKETT RD APT 906                                                                                  AVON               NY   14414‐1314
MARVIN SCHWARTZ & FRAN A SCHWARTZ   C/O AMERIPRISE FINANCIAL SERVICES INC   401 FRANKLIN AVE STE 101                                        GARDEN CITY        NY   11530

MARVIN SCOTT                        29129 JOHNSTON RD                                                                                       DADE CITY          FL   33523
MARVIN SEALEY                       7704 LAUMER AVE                                                                                         CLEVELAND          OH   44105‐5916
MARVIN SELDEN                       5222 BALDWIN RD                                                                                         SWARTZ CREEK       MI   48473‐9175
MARVIN SELLERS                      6572 TUCKER RD                                                                                          EATON RAPIDS       MI   48827‐9701
MARVIN SEVERN                       11589 JOHNSTONE RD                                                                                      NEW LOTHROP        MI   48460‐9624
MARVIN SEVERSON                     210 CARTERS CREEK PIKE                                                                                  COLUMBIA           TN   38401‐7254
MARVIN SEWAR                        3010 W KALAMO HWY                                                                                       CHARLOTTE          MI   48813‐9538
MARVIN SHAFFER                      BEVAN & ASSOCIATES LPA INC              6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS         OH   44236
MARVIN SHAW                         1936 STAFFORD FARM ROAD                                                                                 KERNERSVILLE       NC   27284‐3952
MARVIN SHEELY                       PO BOX 404                                                                                              LANDIS             NC   28088‐0404
MARVIN SHORT                        4927 ALEXANDRIA PIKE                                                                                    ANDERSON           IN   46012‐9795
MARVIN SHORTER                      258 SAMBURU ST                                                                                          PONTIAC            MI   48341‐1064
MARVIN SHOWALTER                    1568 VALENCIA DR                                                                                        LILLIAN            AL   36549‐5256
MARVIN SHUCK                        C/O JOSEPH F SHIKANY                    OLD BAILEY BUILDING                                             INDIANAPOLIS       IN   46202
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Name                                 Address1                           Address2                     Address3              Address4         City            State Zip
MARVIN SIEBER                        APT 30                             164 BARNSTEAD DRIVE                                                 SPRINGVILLE      NY 14141‐1086
MARVIN SIEWERT                       17954 SWANSON RD                                                                                       BEAR LAKE        MI 49614‐9630
MARVIN SILVER                        417 W MAIN ST                                                                                          WAXAHACHIE       TX 75165‐3233
MARVIN SIMMONS                       1851 SCHIEFFELIN PL APT 2E                                                                             BRONX            NY 10466‐5712
MARVIN SIMS                          165 GILFORD RANCH RD                                                                                   ROSE CITY        MI 48654‐9512
MARVIN SIMS                          330 W BC RHOME AVE                                                                                     RHOME            TX 76078‐3752
MARVIN SIMS JR                       459 COUNTY ROAD 1483                                                                                   YANTIS           TX 75497‐4669
MARVIN SINGER JR                     PO BOX 484                                                                                             HONEOYE FALLS    NY 14472‐0484
MARVIN SINGER JR                     BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS       OH 44236
MARVIN SINGLETON                     PO BOX 239                                                                                             BURNSVILLE       WV 26335‐0239
MARVIN SINGLETON                     278 W FUNDERBURG RD                                                                                    FAIRBORN         OH 45324‐2337
MARVIN SIPES                         506 MOCCOSIN RD                                                                                        GREENWOOD        IN 46142‐7310
MARVIN SIVER PERSONAL REP FOR DAVE   MARVIN SIVER                       C/O BRAYTON PURCELL          222 RUSH LANDING RD                    NOVATO           CA 94948‐6169
SIVER
MARVIN SIVIL                         10095 STANLEY RD                                                                                       FLUSHING        MI   48433‐9204
MARVIN SMITH                         351 WABASH AVE                                                                                         KENMORE         NY   14217‐2205
MARVIN SMITH                         2818 PARK RD                                                                                           ANDERSON        IN   46011‐4635
MARVIN SMITH                         673 MISTY PINE DRIVE                                                                                   VENICE          FL   34292‐4499
MARVIN SMITH                         8 LINDEN AVE                                                                                           BUFFALO         NY   14214‐1502
MARVIN SMITH                         3345 POPLAR DR                                                                                         LAWRENCEVILLE   GA   30044‐4134
MARVIN SMITH                         6426 MADDOX RD                                                                                         MORROW          GA   30260‐2710
MARVIN SMITH                         2072 DESERT GREENS DR                                                                                  LAS CRUCES      NM   88011‐4994
MARVIN SMITH                         4454 BLUEHAVEN DR                                                                                      DAYTON          OH   45406‐3333
MARVIN SMITH                         100 WOODMONT DR                                                                                        GRIFFIN         GA   30224‐5207
MARVIN SMITH                         4452 WAYMIRE AVE                                                                                       DAYTON          OH   45406‐2415
MARVIN SMITH                         7400‐61 LAKEVIEW DR                                                                                    CHARLEVOIX      MI   49720‐9046
MARVIN SMITH                         407 WESTCHESTER CT                                                                                     MURFREESBORO    TN   37129‐5293
MARVIN SMITH                         4408 OBERLIN RD                                                                                        GLADWIN         MI   48624‐8954
MARVIN SMITH                         7309 NINE MILE BRIDGE RD                                                                               FORT WORTH      TX   76135‐9269
MARVIN SMITH                         2207 THISTLEWOOD DR                                                                                    BURTON          MI   48509‐1241
MARVIN SMITH                         18413 TWELVE OAKS TER                                                                                  DEXTER          MO   63841‐9743
MARVIN SMITH                         1339 BROWNING RD                                                                                       BROWNSVILLE     KY   42210‐9401
MARVIN SMITH                         4452 WAYMIRE                                                                                           DAYTON          OH   45406‐2415
MARVIN SMITH I I                     4203 SHANNONDOAH DR.                                                                                   DAYTON          OH   45417
MARVIN SMOKOSKA                      2503 S JEFFERSON ST                                                                                    BAY CITY        MI   48708‐8752
MARVIN SNIDER                        1465 GRENADIER CT SW                                                                                   WYOMING         MI   49509‐5016
MARVIN SOMERS                        10329 DODGE RD                                                                                         MONTROSE        MI   48457‐9121
MARVIN SPENS                         69211 PARKER ST                                                                                        RICHMOND        MI   48062‐1811
MARVIN SPERLING                      427 CHURCHGROVE RD                                                                                     FRANKENMUTH     MI   48734‐9704
MARVIN SPERRY                        5797 S AIRPORT RD                                                                                      SAINT JOHNS     MI   48879‐9266
MARVIN SPITZLEY                      3695 S SPAULDING RD                                                                                    WESTPHALIA      MI   48894‐9705
MARVIN SPOHN                         1323 N WALNUT ST                                                                                       LANSING         MI   48906‐4753
MARVIN SPRING
MARVIN SPRUILL SR                    13113 TREES EDGE CT                                                                                    FLORISSANT      MO   63033‐4571
MARVIN STAMPER                       7101 SPARR RD                                                                                          GAYLORD         MI   49735‐9738
MARVIN STAMPER JR                    5221 W FRANCES RD                                                                                      CLIO            MI   48420‐8514
MARVIN STANBERRY                     109 MAKEPEACE DR                                                                                       CHESTERFIELD    IN   46017‐1214
MARVIN STANFORD                      3274 SHERIDAN RD                                                                                       FLUSHING        MI   48433‐9715
MARVIN STANLEY                       555 E HAZELWOOD AVE APT 431                                                                            RAHWAY          NJ   07065‐5436
MARVIN STEIN                         2323 MARCIA DR                                                                                         BELLBROOK       OH   45305‐1723
MARVIN STELMAN                       16445 ROSEMARY                                                                                         FRASER          MI   48026‐3224
MARVIN STEPHENS                      6656 FOUNTAINS BLVD UNIT 4                                                                             W CHESTER       OH   45069‐6127
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Name                   Address1                           Address2          Address3      Address4         City                State Zip
MARVIN STEVENS         1408 MADISON AVE                                                                    WASHINGTON           MO 63090‐4810
MARVIN STEWARD         3713 BEECHWOOD AVE                                                                  FLINT                MI 48506‐3122
MARVIN STEWART         1284 COUNTY ST UNIT 2                                                               ATTLEBORO            MA 02703‐6174
MARVIN STILL           1400 S ROYCE ST                                                                     SIOUX CITY            IA 51106‐1862
MARVIN STINSON         6710 FLEMING RD                                                                     FLINT                MI 48504‐1679
MARVIN STINSON         807 N 4TH ST                                                                        DE SOTO              MO 63020‐1421
MARVIN STOKES          3401 NE RUSSELL RD                                                                  KANSAS CITY          MO 64117‐2246
MARVIN STUBBS JR       4737 COUNTRYSIDE DR                                                                 FLOWERY BRANCH       GA 30542‐3675
MARVIN SUBLETT         4452 WILTSHIRE DR                                                                   HOWELL               MI 48843‐6620
MARVIN SULLIVAN        403 RAYS RD                                                                         STONE MOUNTAIN       GA 30083‐4246
MARVIN SUNDAY          28489 FOUNTAIN ST                                                                   ROSEVILLE            MI 48066‐4763
MARVIN SUSKI           7191 BALFOUR AVE                                                                    ALLEN PARK           MI 48101‐2201
MARVIN SWAN            1286 DISCOVERY ST SPC 75                                                            SAN MARCOS           CA 92078‐4043
MARVIN SWANSON         1419 COLONY DR                                                                      SALINE               MI 48176‐1097
MARVIN SWARTZ          4005 NORTH BELLAIRE AVENUE                                                          MUNCIE               IN 47303‐1496
MARVIN SWENSON         535 S RANDALL AVE APT 16                                                            JANESVILLE           WI 53545‐4263
MARVIN SWIFT           2775 N CHURCHILL WAY                                                                HERNANDO             FL 34442‐5419
MARVIN SWINFORD        4223 S 100 W                                                                        ANDERSON             IN 46013‐3631
MARVIN SYDNOR          RICHARDSON, PATRICK, WESTBROOK AND 1730 JACKSON ST   PO BOX 1368                    BARNWELL             SC 29812
                       BRICKMAN LLC
MARVIN T BLANKENSHIP   1923 CORWIN RD                                                                      OREGONIA            OH   45054
MARVIN T BOWERS        3707 NORTH DRIVE                                                                    GREENVILLE          OH   45331‐3062
MARVIN T EDWARDES      2412 CHRISTIAN CT                                                                   PINOLE              CA   94564‐2801
MARVIN T MORAN         BOX 302                                                                             LYNCHBURG           OH   45142‐0302
MARVIN TABOR           1327 PEACHWOOD DR                                                                   FLINT               MI   48507‐5629
MARVIN TALBOT          1409 S OCOTILLO DR                                                                  APACHE JUNCTION     AZ   85220‐6193
MARVIN TARJEFT         2843 HARBORVIEW ST                                                                  MONROE              MI   48162‐4355
MARVIN TARJEFT         2812 LUNA PIER RD.                                                                  ERIE                MI   48133
MARVIN TATE            36532 WICK RD                                                                       ROMULUS             MI   48174‐1344
MARVIN TAYLOR          530 CUMBERLAND DR                                                                   BRONSTON            KY   42518‐8533
MARVIN TAYLOR          7902 REGENT CIR SW APT 1                                                            HUNTSVILLE          AL   35802‐1420
MARVIN TAYLOR          6082 SIMMONS TRL                                                                    NORTH BRANCH        MI   48461‐8143
MARVIN TAYLOR          3023 HOLBEN DR                                                                      ORION               MI   48360‐1670
MARVIN TEAGUE          893 REYNOLDS RD                                                                     FOLKSTON            GA   31537‐8147
MARVIN TEMPLE          159 GREENHOUSE RD                                                                   NOTTINGHAM          PA   19362‐9209
MARVIN TEN HOOPEN      17124 WINONA LN                                                                     HOWARD CITY         MI   49329‐9340
MARVIN TESCHKE         38115 VILLA MAR ST                                                                  HARRISON TOWNSHIP   MI   48045‐6200
MARVIN TESTER          209 AL FAN CT                                                                       WINCHESTER          KY   40391‐2316
MARVIN THADDIES        180 SOUTH LILY ROSE ROAD                                                            OAKVALE             MS   39656
MARVIN THIEDE          701 WILLOW SPRINGS DR                                                               OWOSSO              MI   48867‐2133
MARVIN THOMAS          376 MOUNTAIN VIEW LN                                                                SNEEDVILLE          TN   37869‐4459
MARVIN THOMPSON        2907 LOOMIS RD                                                                      SAINT JOHNS         MI   48879‐9285
MARVIN THOMSON         1480 EPLEY RD                                                                       WILLIAMSTON         MI   48895‐9473
MARVIN THURMAN         13504 BRANGUS RD                                                                    SHAWNEE             OK   74804‐9380
MARVIN TICKEL          1116 BIT PLACE                                                                      DAYTON              OH   45449‐2116
MARVIN TIGGETT SR      2713 BEAL ST NW                                                                     WARREN              OH   44485‐1207
MARVIN TIMM            6033 SADDLE RDG                                                                     PORTAGE             WI   53901‐9102
MARVIN TINKLENBERG     4771 BARNETT AVE R.R. 2                                                             SHARPSVILLE         IN   46068
MARVIN TINSLEY         16070 FREEMANVILLE RD                                                               ALPHARETTA          GA   30004‐2764
MARVIN TODD            16614 OAKDALE RD                                                                    ATHENS              AL   35613‐7058
MARVIN TOMLINSON       1504 VANCE AVE                                                                      FORT WAYNE          IN   46805‐2246
MARVIN TORAN           927 YELLOW LAKE DR                                                                  FORT WAYNE          IN   46804‐5941
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Name                   Address1                        Address2                    Address3   Address4         City              State Zip
MARVIN TOUZEAU         11784 STONERIDGE CT                                                                     SOUTH LYON         MI 48178‐6662
MARVIN TOWNSEND        7405 DODGE RD                                                                           MONTROSE           MI 48457‐9193
MARVIN TRAYLOR         500 W KUMP ST                                                                           BONNER SPRINGS     KS 66012‐1440
MARVIN TRICE           PO BOX 131                                                                              ORESTES            IN 46063‐0131
MARVIN TRICK           11745 W VERSAILLES RD                                                                   COVINGTON          OH 45318‐8823
MARVIN TROTTER         18609 E 27TH ST S                                                                       INDEPENDENCE       MO 64057‐1511
MARVIN TURNBOW JR      4438 N GENESEE RD                                                                       FLINT              MI 48506‐1519
MARVIN TURNER          3301 MACKIN RD                                                                          FLINT              MI 48504‐3288
MARVIN VAN DER KOLK    3108 OTTOGAN ST                                                                         HUDSONVILLE        MI 49426‐9620
MARVIN VANDE VELDE     APT 193                         8250 EAST GOLF LINKS ROAD                               TUCSON             AZ 85730‐1237
MARVIN VANDEN BRINK    PO BOX 306                                                                              SOUTH MILWAUKEE    WI 53172‐0306
MARVIN VANDERWALL      2827 BRIDGESIDE DR. SE                                                                  CALEDONIA          MI 49316‐8926
MARVIN VANKAMPEN JR.   5125 GROSVENOR ST                                                                       SAND LAKE          MI 49343‐9210
MARVIN VENNIX          1437 E LINWOOD RD                                                                       LINWOOD            MI 48634‐9519
MARVIN VODKA           427 N CAROLYN DR                                                                        CHOCTAW            OK 73020‐7481
MARVIN VRIEZEN         N3426 MARLWOOD DR                                                                       WAUTOMA            WI 54982‐7049
MARVIN W HART          5778 N IRONS RD                                                                         IRONS              MI 49644‐8808
MARVIN WADDLE          104 HANNAH BROOK LN                                                                     CLEVELAND          GA 30528‐3174
MARVIN WALDBIESER      PO BOX 145                                                                              CENTERPOINT        IN 47840‐0145
MARVIN WALENTOWSKI     2030 WOODLAND DR                                                                        TEMPERANCE         MI 48182‐1321
MARVIN WALLACE         495 CASH DR                                                                             DRY RIDGE          KY 41035‐8272
MARVIN WALLING         PO BOX 3321                                                                             MUNCIE             IN 47307‐3321
MARVIN WALSH           9790 66TH ST LOT 87                                                                     PINELLAS PARK      FL 33782‐2802
MARVIN WALTON          379 ABBA CHURCH RD                                                                      FITZGERALD         GA 31750‐6004
MARVIN WAMBLE          108 HEATHER ST                                                                          BERTRAND           MO 63823‐9766
MARVIN WARBLE          3706 SWIFT RUN CT                                                                       ABINGDON           MD 21009‐3006
MARVIN WARD            11400 LONGACRE ST                                                                       DETROIT            MI 48227‐1088
MARVIN WARE            5067 N GEORGETOWN RD                                                                    GRAND BLANC        MI 48439‐8771
MARVIN WASHINGTON      7651 YELLOW IRIS CT                                                                     FONTANA            CA 92336‐0730
MARVIN WATERBURY       829 CORUNNA AVE                                                                         OWOSSO             MI 48867‐3729
MARVIN WATERS          946 KILBY RD                                                                            CLARKRANGE         TN 38553‐5403
MARVIN WATKINS         700 HOGARTH AVE                                                                         WATERFORD          MI 48328‐4129
MARVIN WATSON          4412 ARCO AVE                                                                           SAINT LOUIS        MO 63110‐1602
MARVIN WEAKLEY         4201 S UNION ST                                                                         INDEPENDENCE       MO 64055‐4559
MARVIN WEAVER          3877 FRANCES SLOCUM TRL                                                                 MARION             IN 46952‐9204
MARVIN WEBER           2125 S JONES RD                                                                         PEWAMO             MI 48873‐9635
MARVIN WEDDLE          3822 HERRING DR                                                                         CORPUS CHRISTI     TX 78418‐3016
MARVIN WEEMS           113 ROBINHOOD DR                                                                        CASSVILLE          MO 65625‐1074
MARVIN WEISSER         6600 LYNDALE AVE S APT 508                                                              RICHFIELD          MN 55423‐3386
MARVIN WEKING          KREUZKRUG 65                    31603 RADDESTORF                                        RADDESTORF              31603
MARVIN WELLS           1285 S STEWART RD                                                                       CHARLOTTE          MI 48813‐8347
MARVIN WERTHEIMER      4 SPLITROCK RD                                                                          LIVINGSTON         NJ 07039
MARVIN WESLEY          2650 NORTHRIDGE PL                                                                      FLORISSANT         MO 63033‐2324
MARVIN WEST            2933 DIMPLE RD                                                                          MORGANTOWN         KY 42261‐9614
MARVIN WESTMORELAND    15756 S LOWELL RD                                                                       LANSING            MI 48906‐9393
MARVIN WETZEL          702 SHELBY ONTARIO RD                                                                   MANSFIELD          OH 44906‐1036
MARVIN WHALEY          9201 MULQUEEN DR                                                                        FRENCH VILLAGE     MO 63036‐1328
MARVIN WHITEHOUSE      3709 FAIRFIELD LN                                                                       ANDERSON           IN 46012‐9629
MARVIN WHITEMAN        PO BOX 8325                                                                             RED BLUFF          CA 96080‐8325
MARVIN WHITEMAN        1295 W SILVERBELL RD                                                                    LAKE ORION         MI 48359‐1345
MARVIN WHITENACK       12525 EASTERN AVE                                                                       BALTIMORE          MD 21220‐1201
MARVIN WHITING         PO BOX 430694                                                                           PONTIAC            MI 48343‐0694
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Name                  Address1                      Address2            Address3         Address4         City               State Zip
MARVIN WIGGINS        3639 WOODSDALE RD APT I                                                             ABINGDON            MD 21009‐2134
MARVIN WIITANEN       18712 232ND AVE NW                                                                  BIG LAKE            MN 55309‐9618
MARVIN WILBER         2222 VERMONTVILLE HWY. R. 1                                                         CHARLOTTE           MI 48813
MARVIN WILEY          9080 W COUNTY ROAD 950 N                                                            MIDDLETOWN          IN 47356‐9340
MARVIN WILLIAMS       114 HUNTER DR                                                                       HOSCHTON            GA 30548‐2434
MARVIN WILLIAMS       823 PRENTICE ROAD NORTHWEST                                                         WARREN              OH 44481‐9473
MARVIN WILLIAMS       119 PRESTWICK TRL                                                                   HIGHLAND            MI 48357‐4763
MARVIN WILLIAMSON     PO BOX 241                                                                          BETSY LAYNE         KY 41605‐0241
MARVIN WILLIS         819 RIDGECREST ROAD                                                                 LUTTRELL            TN 37779‐2517
MARVIN WILSON         4106 FLAMINGO AVE SW                                                                WYOMING             MI 49509‐4318
MARVIN WILSON         904 S WHITNEY RD                                                                    MUNCIE              IN 47302‐8657
MARVIN WILSON         240 HILLTOP CIR                                                                     CARYVILLE           TN 37714‐3110
MARVIN WILT           42 EVERGREEN DR                                                                     MARTINSBURG         WV 25405‐6184
MARVIN WOHLFERT       9650 S HINMAN RD                                                                    EAGLE               MI 48822‐9757
MARVIN WOLF           36411 BERNARD DR                                                                    RICHMOND            MI 48062‐1232
MARVIN WOLFF JR       709 CENTRAL WAY                                                                     ANDERSON            IN 46011‐1807
MARVIN WOOD           18871 AMBER CT                                                                      LIVONIA             MI 48152‐1964
MARVIN WOODRUFF       66837 POWELL RD                                                                     WASHINGTON          MI 48095‐2121
MARVIN WOODZELL       321 STONEYBROOK DRIVE                                                               DAYTON              OH 45429‐5351
MARVIN WOPAT JR       35 W MAPLE LN                                                                       MILTON              WI 53563‐1643
MARVIN WRIGHT         4352 S US HIGHWAY 27                                                                SAINT JOHNS         MI 48879‐9105
MARVIN YATES          33004 ALLENTON CT                                                                   WESTLAND            MI 48186‐5450
MARVIN YENGLIN        1352 N WAGNER RD                                                                    ESSEXVILLE          MI 48732‐9532
MARVIN YOUNG          12253 FRUIT RIDGE RD                                                                DEFIANCE            OH 43512‐9097
MARVIN ZEMEL          126 HIGHLEDGE DR                                                                    PENFIELD            NY 14526‐2449
MARVIN ZINK           17000 S GRAHAM RD                                                                   PLEASANT HILL       MO 64080‐8307
MARVIN ZOCH           4238 ANGELINE DR                                                                    STERLING HTS        MI 48310‐5002
MARVIN ZUMFELDE       8‐826 P‐R5                                                                          NAPOLEON            OH 43545
MARVIN ZUREK JR       2752 FOXGROVE DR                                                                    HIGHLAND            MI 48356‐2468
MARVIN'S AUTO CARE    18 COMMERCE ST # 22                                                                 CHATHAM             NJ 07928
MARVIN, BERNARD K     315 S 7TH ST                                                                        CEDAR SPRINGS       MI 49319‐9482
MARVIN, BONNIE L      280 DEHOFF DR                                                                       AUSTINTOWN          OH 44515‐3909
MARVIN, BRIGITTE      4126 SARATOGA AVE                                                                   KALAMAZOO           MI 49048‐1037
MARVIN, CARSON H      741 HOMEWOOD S.E.                                                                   WARREN              OH 44484‐4224
MARVIN, CARSON H      741 HOMEWOOD AVE SE                                                                 WARREN              OH 44484‐4224
MARVIN, CHESTER G     9639 WOODBINE                                                                       REDFORD             MI 48239‐1695
MARVIN, DAVID L       4126 SARATOGA AVE                                                                   KALAMAZOO           MI 49048‐1037
MARVIN, DAWN M        8250 CLAY CT                                                                        STERLING HEIGHTS    MI 48313‐4602
MARVIN, ELMER J       410 RUBY ST                                                                         IRON RIVER          MI 49935
MARVIN, ELSIE R       942 BENTWOOD LN                                                                     PORT ORANGE         FL 32127‐4814
MARVIN, HENRY M       1018 LANGLEY BLVD                                                                   CLAWSON             MI 48017‐1056
MARVIN, II,BARRY D    630 SAN BERNARDINO TRL                                                              UNION               OH 45322‐3029
MARVIN, IRENE E.      1073 PEBBLECREEK DR                                                                 MOUNTAIN HOME       AR 72653‐5795
MARVIN, JUDITH M      9378 WOODSIDE TRL                                                                   SWARTZ CREEK        MI 48473‐8534
MARVIN, L J           2635 WOODRIDGE DR                                                                   JENISON             MI 49428‐8719
MARVIN, LARRY T       12200 LONDON GROVE CT                                                               MOORPARK            CA 93021‐3121
MARVIN, MARGARET A.   PO BOX 47033                                                                        WICHITA             KS 67201
MARVIN, MATTHEW G     896 SUN VALLEY DR                                                                   N TONAWANDA         NY 14120‐1951
MARVIN, MELVIN D      9647 WILBUR HWY                                                                     EATON RAPIDS        MI 48827‐8350
MARVIN, MICHAEL T     9378 WOODSIDE TRAIL                                                                 SWARTZ CREEK        MI 48473
MARVIN, MILTON D      307 E ALLEN ST                                                                      ALEXANDRIA          IN 46001‐9226
MARVIN, NORMA J       430 KINGS HWY C‐16                                                                  DOVER               DE 19901
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Name                          Address1                          Address2               Address3      Address4                 City               State Zip
MARVIN, PEGGY Y               APT 104                           8099 LACY DRIVE                                               MANASSAS            VA 20109‐7793
MARVIN, PHILIP D              5354 JERRY ST                                                                                   GLADWIN             MI 48624
MARVIN, RHONDA M.             4491 S MERIDIAN RD                                                                              LAINGSBURG          MI 48848‐9678
MARVIN, RHONDA M.             4491 MERIDIAN RD                                                                                LAINGSBURG          MI 48848‐9678
MARVIN, ROBERT D              244 AVAWAM DR                                                                                   RICHMOND            KY 40475‐9197
MARVIN, ROSE V                7244 LINCOLN AVENUE EXT                                                                         LOCKPORT            NY 14094‐6214
MARVIN, SAMUEL R              1243 ALLEN ST                                                                                   BURTON              MI 48529‐1103
MARVIN, SHIRLEY K             18596 HIGHWAY Y                                                                                 WILLOW SPRINGS      MO 65793‐8949
MARVIN, THOMAS C              1 CAROLE LN                                                                                     FRONTENAC           MO 63131‐2539
MARVIN, THOMAS E              817 LINCOLN AVE                                                                                 ADRIAN              MI 49221‐3227
MARVIN, TIMOTHY J             35029 WOOD ST                                                                                   LIVONIA             MI 48154‐2436
MARVIN, WANDA L               505 WEST MARTINDALE RD                                                                          UNION               OH 45322‐5322
MARVIN, WANDA L               505 W MARTINDALE RD                                                                             UNION               OH 45322‐3008
MARVIN, WILLIE C              4850 NORTHGATE CT                                                                               DAYTON              OH 45416‐1127
MARVINE MCGEE                 3005 WESLEYAN DR                                                                                FORT WORTH          TX 76105‐4723
MARVINE SHEFFIELD             880 BELLEVUE AVE                                                                                TRENTON             NJ 08618‐4408
MARVINS AUTO SERVICE          1400 E 8TH ST                                                                                   NEW ALBANY          IN 47150‐3343
MARVION LEMONS                1210 JOE TILLMAN RD                                                                             DECATURVILLE        TN 38329‐4604
MARVIS BRADLEY                867 HOLLYWOOD LN                                                                                MANSFIELD           OH 44907‐2011
MARVIS C COMBS                758 REDWAY CR                                                                                   TROTWOOD            OH 45426
MARVIS CHAPDELAINE            4360 S 100 W                                                                                    ANDERSON            IN 46013‐3634
MARVIS COMBS                  758 REDWAY CIR                                                                                  TROTWOOD            OH 45426‐2753
MARVIS RASCH                  9132 SW 192ND COURT RD                                                                          DUNNELLON           FL 34432‐2780
MARVIS SPELLS                 APT 105                           3475 BOULEVARD PLACE                                          INDIANAPOLIS        IN 46208‐4400
MARVIS SUMMERS                5340 MILLWOOD DR                                                                                FLINT               MI 48504‐1130
MARVIS WEBB                   3432 BRUNER CT                                                                                  NASHVILLE           TN 37211‐7515
MARVITA COLE                  689 HAMLET RD                                                                                   AUBURN HILLS        MI 48326‐3523
MARVLIN TUCKER                6018 NORTHLAND RD                                                                               INDIANAPOLIS        IN 46228‐1058
MARVON THORPE                 8373 E IMLAY CITY RD                                                                            IMLAY CITY          MI 48444‐9462
MARVOSH, DAISY P              939 CHERRY VALLE LN                                                                             WILLIAMSTON         MI 48895‐9057
MARVOSH, DAVID                833 MALZAHN ST                                                                                  SAGINAW             MI 48602‐2936
MARVUGLIO, WANDA GAYLE        18 DECOU AVE                                                                                    EWING               NJ 08628‐2907
MARVYN SCHLACKMAN AND JOAN    8796 VIA TUSCANY DR                                                                             BOYNTON BEACH       FL 33472‐7144
SCHLACKMAND JT WROS
MARWAH, ROMESH                1504 APACHE DR                                                                                  NAPERVILLE          IL   60563‐1202
MARWAN A. QATOUM
MARWAN MUHAMED EL BASSIOUNY
MARWAYNE KEHL                 3660 S PENNSYLVANIA ST                                                                          INDIANAPOLIS       IN    46227‐1224
MARWEDE, E D                  2839 OAK TRAIL DR                                                                               STERLING HEIGHTS   MI    48314‐3881
MARWEDE, E DENNIS             2839 OAK TRAIL DR                                                                               STERLING HEIGHTS   MI    48314‐3881
MARWEDE, SHARLENE R           2839 OAK TRAIL DR                                                                               STERLING HEIGHTS   MI    48314‐3881
MARWIL BOOKS/DETROIT          4870 CASS AVE                                                                                   DETROIT            MI    48201‐1204
MARWIL INC                    JOHN WHITAKER                     MAREMONT CORP          287 ELM ST                             FORT LORAMIE       OH    45845
MARWIL INC                    62 ELM ST                                                                                       FORT LORAMIE       OH    45845
MARWIL PRODUCTS CO            JOHN WHITAKER                     MAREMONT CORP          287 ELM ST                             BURBANK            CA    91502
MARWIN HENRY R                3096 MYDDLETON DRIVE                                                                            TROY               MI    48084‐1223
MARWIN, HENRY R               3096 MYDDLETON DR                                                                               TROY               MI    48084‐1223
MARWOOD MET/TILLSONB          35 SPRUCE STREET                                                       TILLSONBURG ON N4G 5C4
                                                                                                     CANADA
MARWOOD METAL FABRICATION     35 SPRUCE STREET                                                       TILLSONBURG CANADA ON
                                                                                                     N4G 5C4 CANADA
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Name                            Address1                            Address2                Address3   Address4               City               State Zip
MARWOOD METAL FABRICATION LTD   35 TOWNLINE RD                                                         TILLSONBURG ON N4G 4H3
                                                                                                       CANADA
MARWOOD METAL FABRICATION LTD
MARWOOD METAL FABRICATION LTD   STACEY HARRIS X239                  35 SPRUCE STREET                                          STERLING HEIGHTS    MI   48312
MARX CHEVROLET‐BUICK            ATTN: JEFFRY P. TONE, ESQ.          100 N ALMADEN AVE                                         SAN JOSE            CA   95110‐2437
MARX CHEVROLET‐BUICK            100 N ALMADEN AVE                                                                             SAN JOSE            CA   95110‐2437
MARX CHEVROLET‐BUICK            ATTN: HARRY MARX                    100 N ALMADEN AVE                                         SAN JOSE            CA   95110‐2437
MARX FERDINANDE                 200 ROUTE DE TREVES                                                    L 2630 LUXEMBOURG
MARX GROUP LLC, THE             2111 JEFFERSON DAVIS HWY APT 303N                                                             ARLINGTON          VA    22202‐5210
MARX JERRY                      3610 29TH ST                                                                                  CHESAPEAKE BEACH   MD    20732‐9250
MARX JR, FRANCIS J              PO BOX 538                                                                                    SWARTZ CREEK       MI    48473‐0538
MARX JR, LEO F                  11399 HIDDEN OAKS DR                                                                          CLIO               MI    48420‐2904
MARX KRISTEK                    1950 59TH AVE N APT 306                                                                       ST PETERSBURG      FL    33714‐1556
MARX LENORE                     3716 CYPRESS CLUB DR APT C309                                                                 CHARLOTTE          NC    28210‐2487
MARX, ANNE MARIE                5950 LAKE GEORGE ROAD                                                                         LEONARD            MI    48367‐1014
MARX, BARBARA                   621 LAUREL LK DR APTB201                                                                      COLUMBUS           NC    28722
MARX, BETTY L                   PO BOX 337                                                                                    HIGGINS LAKE       MI    48627
MARX, CHESTER F                 11281 DOGWOOD LN                                                                              FORT MYERS BEACH   FL    33931‐7124
MARX, DAWN M                    PO BOX 471                          N ‐ 14113 WOODRUFF ST                                     GRAND MARAIS       MI    49839‐0471
MARX, DONALD A                  1047 N DYE RD                                                                                 FLINT              MI    48532‐2213
MARX, EDWARD E                  PO BOX 14                                                                                     GRAND MARAIS       MI    49839‐0014
MARX, EDWIN J                   1828 VALLEY VIEW DR S                                                                         KOKOMO             IN    46902‐5074
MARX, ELSIE                     1656 KERN RD                                                                                  REESE              MI    48757
MARX, ELSIE H                   1656 KERN RD                                                                                  REESE              MI    48757‐9454
MARX, ELSIE H                   1656 KERN RD.                                                                                 REESE              MI    48757‐9454
MARX, ERIC P                    2460 BANDON DR                                                                                GRAND BLANC        MI    48439‐8152
MARX, GERALD T                  43985 DUNHAM CT                                                                               CLINTON TWP        MI    48038‐1517
MARX, HILDE                     24111 CIVIC CENTER DR APT 609                                                                 SOUTHFIELD         MI    48033‐7438
MARX, J W                       10125 FIELDFARE CT                                                                            DALLAS             TX    75229‐6220
MARX, JAMES A                   7925 LUANN ST                                                                                 SAGINAW            MI    48609‐4918
MARX, JAMES L                   6152 RIVERSIDE DR                                                                             WAKE FOREST        NC    27587
MARX, JEFFREY A                 1920 WEIGL RD                                                                                 SAGINAW            MI    48609‐7051
MARX, JOHN L                    618 2ND ST                                                                                    PORT CARBON        PA    17965‐1430
MARX, JOSEPH A                  23551 ANNAPOLIS ST                                                                            DEARBORN HTS       MI    48125‐2250
MARX, JULIUS J                  548 NOTTINGHAM RD EAST              LOT #37                                                   GAYLORD            MI    49735
MARX, KEITH A                   6505 SWAN CREEK RD                                                                            SAGINAW            MI    48609‐7038
MARX, LISA M                    310 WILDWOOD CIRCLE                                                                           TECUMSEH           MI    49286‐8706
MARX, MADGE S                   10876 WEST RD                                                                                 HARRISON           OH    45030‐2040
MARX, MARGUERITE E              1047 NORTH DYE RD.                                                                            FLINT              MI    48532
MARX, MARY ANNE                 2557 HERMANSAU ST                                                                             SAGINAW            MI    48602‐5829
MARX, MICHAEL V                 13105 BELSAY RD                                                                               MILLINGTON         MI    48746‐9226
MARX, RAYMOND J                 142 STARLING PL                     SILVERMEAD                                                FREEHOLD           NJ    07728‐3418
MARX, ROGER E                   33062 MORRISON DR                                                                             STERLING HTS       MI    48312‐6548
MARX, SHIRLEY E                 8190 MEDALLION DR                                                                             SAGINAW            MI    48609‐4853
MARX, SHIRLEY M                 9737 MASON RD                                                                                 OVID               MI    48866‐9590
MARX, SHIRLEY M                 9737 W. MASON RD.                                                                             OVID               MI    48866‐9590
MARX, SUSAN Y                   8201 SHERIDAN RD                                                                              MILLINGTON         MI    48746
MARX, SUSAN Y                   618 MAPLE VISTA ST                                                                            IMLAY CITY         MI    48444‐1400
MARX, THEODORE A                12159 N JENNINGS RD                                                                           CLIO               MI    48420‐9401
MARX, THOMAS G                  3312 BLOOMFIELD PARK DR                                                                       WEST BLOOMFIELD    MI    48323‐3514
MARX, URSULA E                  11383‐113 DRIVE                                                                               YOUNGTOWN          AZ    85363‐1553
MARX, WILLIAM C                 210 MOUNTAIN REST RD                                                                          NEW PALTZ          NY    12561‐2824
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Name                       Address1                         Address2                      Address3   Address4         City              State Zip
MARX, WILLIAM J            80 RENAUD ROAD                                                                             GROSSE POINTE      MI 48236‐1742
MARXEN JOSEPH J (429383)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                            STREET, SUITE 600
MARXEN, JOSEPH J           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                            STREET, SUITE 600
MARXER, EDWARD E           308 HELENE AVE                                                                             ROYAL OAK         MI   48067‐3904
MARXER, LINDA KAY          6752 POMANDER AVE.                                                                         NEW PORT RICHIE   FL   34653
MARY & IRVING NORKIN       162 MARIGOLD LANE                                                                          MILFORD           PA   18337
MARY A ADAMS               437 BRIARWOOD AVENUE                                                                       DAYTON            OH   45403‐1540
MARY A ADAMS               7815 N MAIN ST APT 18                                                                      DAYTON            OH   45415
MARY A ALDRICH             291 ARMSTRONG RD                                                                           ROCHESTER         NY   14612‐4263
MARY A ALEXANDER           1039 E PRINCETON AVE                                                                       FLINT             MI   48505‐1513
MARY A ALLAN               979 GIBSON ST                                                                              OXFORD            MI   48371‐4524
MARY A BANKS               7310 LAKE FRONT TRL                                                                        ARLINGTON         TX   76002‐4751
MARY A BATES               106 BROOK DR.                                                                              BROOKFIELD        OH   44403‐9638
MARY A BONCORE             194 DUPONT AVE                                                                             TONAWANDA         NY   14150‐7859
MARY A BORHAM              PO BOX 1477                                                                                SULPHUR SPRINGS   TX   75483‐1477
MARY A BRIDENBAKER         512 BOSTON RD                                                                              SYRACUSE          NY   13211‐1213
MARY A BROOKSHIRE          1162 TEMPLE AVE                                                                            MOUNT MORRIS      MI   48458‐2582
MARY A CALDWELL            654 LELAND AVE                                                                             DAYTON            OH   45417‐1548
MARY A CAPASSO             211 MATCHAPONIX AVE                                                                        MONROE TWP        NJ   08831
MARY A CHATMON             8625 GRANDVILLE AVE                                                                        DETROIT           MI   48228‐3011
MARY A CIMINO              57 SHADYWOOD DR                                                                            ROCHESTER         NY   14606‐4941
MARY A COMPTON             1450 JOHN GLENN ROAD                                                                       DAYTON            OH   45410‐3113
MARY A COOPER              305 CLARK ST SW                                                                            DECATUR           AL   35601‐6366
MARY A COPENHAVER          5348 MAHONING AVENUE                                                                       WARREN            OH   44483‐1132
MARY A CROCE               603 SOUTH LINCOLN RD                                                                       E ROCHESTER       NY   14445‐1523
MARY A CUNNINGHAM          7500 CARTER DR                                                                             WAYNESVILLE       OH   45068‐‐ 87
MARY A DAHLBERG            212 BREMAN AVE                                                                             SYRACUSE          NY   13211‐1628
MARY A DANTZLER‐GRACE      4344 CAYUGA TRL                                                                            FLINT             MI   48532‐3582
MARY A DARBY               1319 S HAMILTON ST                                                                         SAGINAW           MI   48602‐1402
MARY A DAVIDSON            4522 COLLEGE VIEW DR                                                                       DAYTON            OH   45427
MARY A DAVIS               128 PARK AVE.                                                                              CORTLAND          OH   44410‐1045
MARY A DEAN                7415 STATE ROUTE 46                                                                        CORTLAND          OH   44410
MARY A DENSON              3317 MAYFLOWER LN                                                                          SOUTHSIDE         AL   35907
MARY A DIEHL               6045 N MAIN ST APT 344                                                                     DAYTON            OH   45415
MARY A DILLARD             3025 BARTH ST                                                                              FLINT             MI   48504‐2983
MARY A DIXON               PO BOX 2770                                                                                ANDERSON          IN   46018‐2770
MARY A DUCRE               3054 SOUTHFIELD DR                                                                         SAGINAW           MI   48501‐5640
MARY A ESHETT              291 2ND ST SW                                                                              WARREN            OH   44483
MARY A FERGUSON            519 S GEBHART CHURCH RD                                                                    MIAMISBURG        OH   45342
MARY A FIAL                48 B CREEKSIDE DRIVE APT. B                                                                CHEEKTOWAGA       NY   14227
MARY A FIAL                48B CREEKSIDE DR                                                                           CHEEKTOWAGA       NY   14227‐1710
MARY A FIELDER             629 DOGWOOD ST                                                                             PULASKI           TN   38478‐4539
MARY A FLIPPIN             3009 VIA BRUNO                                                                             ANAHEIM           CA   92806‐3513
MARY A FLOYD               17227 MITCHELL ST                                                                          DETROIT           MI   48212‐1549
MARY A FOSTER              PO BOX 420307                                                                              PONTIAC           MI   48342‐0307
MARY A FOSTER              135 N ARDMORE AVE                                                                          DAYTON            OH   45417
MARY A FOSTER              202 S MERRIMAC ST                                                                          PONTIAC           MI   48340‐2541
MARY A FULTON              29 MAPLE AVENUE                                                                            NILES             OH   44446‐5015
MARY A GABIL               1401 3RD ST                                                                                BAY CITY          MI   48708‐6127
MARY A GABOR               3810 N. WOODS CT, N.E. UNIT 1                                                              WARREN            OH   44483‐4574
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Name                  Address1                        Address2            Address3         Address4         City              State Zip
MARY A GALARDI        P.O. BOX 60174                                                                        ROCHESTER          NY 14606
MARY A GINTER         2250 PASADENA AVE.                                                                    NEWTON FALLS       OH 44444‐1880
MARY A GIVENS         PO BOX 2927                                                                           DETROIT            MI 48202‐0957
MARY A GLADYSZ        314 MC KENNEY AVE                                                                     SYRACUSE           NY 13211‐1736
MARY A GORMLEY‐KING   14040 MOFFETT DR                                                                      FENTON             MI 48430‐1424
MARY A GROSS          512 PETERSBURG PLACE                                                                  WENTZVILLE         MO 63385
MARY A GULLATTE       1901 BENSON DR                                                                        DAYTON             OH 45406‐4405
MARY A HATFIELD       11200 WILLARD RD.                                                                     MONTROSE           MI 48457
MARY A HENRY          616 COLERIDGE AVE                                                                     TROTWOOD           OH 45426
MARY A HENRY          1657 BALL AVE NE                                                                      GRAND RAPIDS       MI 49505‐5617
MARY A HILL           835 DENNISON AVE                                                                      DAYTON             OH 45408‐1620
MARY A HIMES          717 HULL ST.                                                                          SHARON             PA 16146‐3302
MARY A HITCHINGS      616 BRADFIELD DRIVE                                                                   DAYTON             OH 45426‐2502
MARY A HOLCOLM        4026 PARK FOREST DR                                                                   FLINT              MI 48507‐2259
MARY A HOSKINS        5200 S BISCAYNE DR APT 27                                                             NORTH PORT         FL 34287
MARY A HOWARD         12670 138TH LA. N.                                                                    LARGO              FL 33774‐2405
MARY A HUFFMAN        662 BATTLES AVE                                                                       NILES              OH 44446
MARY A JAMES          90 ACHILLA TER                                                                        MARTINSBURG        WV 25404‐3457
MARY A JEDLOWSKI      6361 WOLVERINE TRL                                                                    GAYLORD            MI 49735‐8700
MARY A JOHNSON        276 MARSHALL NW                                                                       WARREN             OH 44483
MARY A JONES          888 PALLISTER ST APT 304                                                              DETROIT            MI 48202‐2670
MARY A KEITH          30 EAST ADAMS STREET                                                                  JAMESTOWN          OH 45335‐1635
MARY A KNIGHT         RT. 1 BOX 236B                                                                        EDWARDS            MS 39066‐9801
MARY A KUEHNE         1242 BADGER ST                                                                        JANESVILLE         WI 53545‐1802
MARY A LACEY          511 SHERMAN DR                                                                        FRANKLIN           OH 45005‐7102
MARY A LEEWORTHY      1505 SEEDLING ST.                                                                     WENDELL            NC 27591
MARY A LENTINE        343 SPRINGBROOK DR NE           BLD 2‐55                                              WARREN             OH 44484
MARY A MACK           PO BOX 451                                                                            MATTAWAN           MI 49071‐0451
MARY A MAPES          4313 CLINGMAN DR                                                                      SHREVEPORT         LA 71105‐3207
MARY A MARCINKOWSKI   916 GLEASON STREET                                                                    LEHIGH ACRES       FL 33974‐0519
MARY A MARCINKOWSKI   916 GLEASON ST                                                                        LEHIGH ACRES       FL 33974‐0519
MARY A MARSHALL       1149 BIT PLACE                                                                        WEST CARROLLTON    OH 45449
MARY A MATHIS         610 KIRBY PL                                                                          SHREVEPORT         LA 71104
MARY A MCCALISTER     629 CRESTMORE AVE                                                                     DAYTON             OH 45417‐1535
MARY A MCELROY        4146 OLD RIVERSIDE DR #B                                                              DAYTON             OH 45405‐‐ 14
MARY A MCKERCHIE      7240 SMITH RD                                                                         GAINES             MI 48436‐9750
MARY A MCKNIGHT       6834 HIGHWAY 1                                                                        SHREVEPORT         LA 71107‐8754
MARY A MEADOWS        5273 SR#303, N.W.                                                                     NEWTON FALLS       OH 44444‐9522
MARY A MIDDLETON      1297 CRETE LN NW                                                                      BROOKHAVEN         MS 39601
MARY A MILIARD        125 ARROWHEAD RIDGE                                                                   HEDGESVILLE        WV 25427‐5346
MARY A MILLER         1979 EAST ROAD BOX 2                                                                  WATERPORT          NY 14571‐0002
MARY A MILLER         6571 BEAVER CRK                                                                       WASHINGTON         MI 48094‐3523
MARY A MOORE          26641 MCNEILL LAKE RD                                                                 WAGRAM             NC 28396‐9223
MARY A MOORE          103 LAKE HARDIN RD                                                                    GADSDEN            AL 35904‐9793
MARY A MORLEY         1330 W ALEXIS RD LOT 90                                                               TOLEDO             OH 43612‐4268
MARY A MORN           159 HOMEWOOD AVE SE                                                                   WARREN             OH 44483
MARY A MURSCH         KIRKHAVEN NURSING HOME          254 ALEXANDER ST                                      ROCHESTER          NY 14607
MARY A NEMETHY        812 N.E. 16TH TERRACE #1                                                              FT LAUDERDALE      FL 33304‐5418
MARY A NEVELS         5140 TAYLORSVILLE RD                                                                  DAYTON             OH 45424‐2450
MARY A NUNN           3435 DUFFER                                                                           COLUMBUS           IN 47203
MARY A O'NEIL         13380 RIDGE RD                                                                        N HUNTINGDON       PA 15642‐2161
MARY A O'NEILL        801 SEWARD ST                                                                         DETROIT            MI 48202‐2304
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Name                 Address1                         Address2                   Address3                    Address4         City            State Zip
MARY A ODUNUGA       2623 BEDFORD RD                                                                                          LANSING          MI 48911‐1704
MARY A OLIVER        19744 STAHELIN AVE                                                                                       DETROIT          MI 48219
MARY A PAGE          1916 SAIL FISH DR                                                                                        MANSFIELD        TX 76063‐5992
MARY A PARENTI       12969 E CANAL DR                                                                                         CONNEAUT LAKE    PA 16316‐5703
MARY A PARRISH       1620 VALLEY DRIVE                                                                                        ATTALLA          AL 35954‐8580
MARY A PAWCIO        4638 VERONA N.W.                                                                                         WARREN           OH 44483‐1739
MARY A PENROD        821 OLD MAIN STREET                                                                                      MIAMISBURG       OH 45342‐3136
MARY A PIERLEONI     6 FOX RUN                                                                                                ROCHESTER        NY 14606‐5408
MARY A POLIC         ATTN ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD PO BOX                    EAST ALTON        IL 62024
                                                      ANGELIDES & BARNERD LLC    521
MARY A POWELL        7067 N BRAY RD                                                                                           MOUNT MORRIS    MI   48458‐8988
MARY A REDDITT       874 LOTHROP RD                                                                                           DETROIT         MI   48202‐2736
MARY A REIS          1614 S HARRISON ST                                                                                       SAGINAW         MI   48602‐1367
MARY A RICHARDS      2820 GERMAIN DR                                                                                          SAGINAW         MI   48601‐5607
MARY A ROBERTSON     15855 PLAINVIEW AVE                                                                                      DETROIT         MI   48223‐1234
MARY A ROY           519 DESOTO AVE                                                                                           YPSILANTI       MI   48198‐6117
MARY A SAGOR         207 WESTWOOD AVE                                                                                         MATTYDALE       NY   13211‐1623
MARY A SANTOLI       901 EMBURY RD                                                                                            PENFIELD        NY   14526‐9705
MARY A SHEPHERD      240 WARD RD                                                                                              FLORENCE        MS   39073
MARY A SIMMONS       413 S 24TH ST                                                                                            SAGINAW         MI   48601‐6406
MARY A SMALLEY       228 ANNA STREET                                                                                          DAYTON          OH   45417‐2319
MARY A SMITH         611 HAYES ST                                                                                             YPSILANTI       MI   48198‐8000
MARY A SOLOMON       1300 E HUMPHREY AVE                                                                                      FLINT           MI   48505‐1761
MARY A SPENCER       1281 ROSEWOOD DR NE                                                                                      WARREN          OH   44484‐1450
MARY A STEARNS       4734 BLAIR FIELD DRIVE                                                                                   COLUMBUS        OH   43214
MARY A STEPHENS      1345 CASTILLION DR.              N.E.                                                                    WARREN          OH   44484‐1472
MARY A STEWART       127 E BEVERLY AVE                                                                                        PONTIAC         MI   48340‐2615
MARY A STRALKO       129 CLARKSVILLE ST                                                                                       GREENVILLE      PA   16125‐2365
MARY A STURGILL      1082 HAMILTON RD                                                                                         NANCY           KY   42544‐9620
MARY A SULLIVAN      157 COTTAGE STATE APT. # 3                                                                               LOCKPORT        NY   14094
MARY A SYRJALA       1949 DIVINE HWY                                                                                          LYONS           MI   48851‐9776
MARY A TALBOT        2 MILLWOOD DR                                                                                            MIDDLETOWN      DE   19709‐8882
MARY A TIMM          5133 BROBECK ST                                                                                          FLINT           MI   48532‐4102
MARY A TYLER         10908 DEERFIELD DR                                                                                       FREDERICKSBRG   VA   22407‐6329
MARY A VALENZA       90 SHILOH CT                                                                                             ROCHESTER       NY   14612‐2376
MARY A VINEY         20 KENDALL ST                                                                                            LONDON          OH   43140
MARY A WALKER        1614 3RD ST                                                                                              BAY CITY        MI   48708‐6132
MARY A WALTON        227 HAYES LN                                                                                             REX             GA   30273‐1552
MARY A WALWORTH      4289 SPRINGBROOK DR                                                                                      SWARTZ CREEK    MI   48473‐1706
MARY A WEAVER        1104 SUNCREST DR                                                                                         FLINT           MI   48504‐8111
MARY A WHITTINGTON   5516 KNOLLCREST DR                                                                                       SHREVEPORT      LA   71129‐3608
MARY A WILKERSON     190 N GILNA RD                                                                                           CORUNNA         MI   48817‐9541
MARY A WILLIAMS      PO BOX 671081                                                                                            MARIETTA        GA   30066‐0135
MARY A WILLIAMS      342 TIMBERLAKE DR                                                                                        DAYTON          OH   45414
MARY A WILLIAMS      3124 N. 46TH STREET                                                                                      MILWAUKEE       WI   53216‐3306
MARY A WILSON        2474 E STANLEY RD                                                                                        MOUNT MORRIS    MI   48458‐8979
MARY A WOODS         4041 PEDLEY RD 65                                                                                        RIVERSIDE       CA   92509‐2827
MARY A YOUSOF        521 ONANDAGO ST                                                                                          YPSILANTI       MI   48198‐6112
MARY ABEL            8183 WINDING DR SW                                                                                       BYRON CENTER    MI   49315‐8946
MARY ABEL            303 BELMONT DR                                                                                           MARSHALL        TX   75672‐2277
MARY ABERNATHY       700 PINCH HWY                                                                                            CHARLOTTE       MI   48813‐9718
MARY ABNER           325 LUTHERAN DR                                                                                          EATON           OH   45320‐1621
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Name                   Address1                        Address2                     Address3   Address4         City             State Zip
MARY ABNEY             314 MARVIEW AVE                                                                          VANDALIA          OH 45377‐2229
MARY ABOU‐EID          13 SIAS LN                                                                               SPENCERPORT       NY 14559‐1907
MARY ABRAHAM           2094 E DODGE RD                                                                          CLIO              MI 48420‐9701
MARY ABRAM             RR 1 BOX 82                                                                              BLOOMFIELD        IN 47424‐9561
MARY ABRO              107 CEDAR ST                                                                             FRAMINGHAM        MA 01702‐6907
MARY ACH               9347 ALLAN RD                   C/O MARILYN J SINGAFOOSE                                 NEW LOTHROP       MI 48460‐9795
MARY ACKERMAN          2323 LINDEN AVE                                                                          JANESVILLE        WI 53548‐2373
MARY ACQUISTO          87 DEUMANT TER                                                                           BUFFALO           NY 14223‐2733
MARY ACRI              370 S BON AIR AVE                                                                        YOUNGSTOWN        OH 44509‐3006
MARY ADAIR             2847 INDIANAPOLIS AVE                                                                    INDIANAPOLIS      IN 46208‐5163
MARY ADAMETZ           7221 NW DONOVAN DR APT 1308                                                              KANSAS CITY       MO 64153‐3101
MARY ADAMS             23634 WHITTAKER DR                                                                       FARMINGTON        MI 48335‐3363
MARY ADAMS             60 QUAKER HIGHWAY                                                                        UXBRIDGE          MA 01569‐1628
MARY ADAMS             2421 DOVER ST                                                                            ANDERSON          IN 46013‐3127
MARY ADAMS             5406 KERMIT ST                                                                           FLINT             MI 48505‐2586
MARY ADAMS             2147 S 380 E                                                                             ANDERSON          IN 46017‐9727
MARY ADAMS             2724 JEFFERSON ST                                                                        PADUCAH           KY 42001
MARY ADAMS             3103 CAMELOT DR                                                                          FLINT             MI 48507‐3415
MARY ADAMS             4765 W COUNTY LINE RD                                                                    JACKSON           MS 39209‐9534
MARY ADAMS             47 HALSTEAD ST                                                                           NEWARK            NJ 07106‐1101
MARY ADAMS             1905 MACKENNA AVE                                                                        NIAGARA FALLS     NY 14303‐1719
MARY ADAMS             APT 206                         32407 HAMILTON COURT                                     SOLON             OH 44139‐4850
MARY ADAMS             1429 S PATRICIA ST                                                                       DETROIT           MI 48217‐1233
MARY ADAMS             42 PEARL ST                                                                              OXFORD            MI 48371‐4963
MARY ADAMS             96 THOMAS AVE                                                                            MANTENO            IL 60950‐3409
MARY ADAMS             6230 GARDENIA AVE                                                                        LANSING           MI 48911‐5634
MARY ADAMS             2350 LAWNDALE ST                                                                         DETROIT           MI 48209‐1016
MARY ADAMS             3571 MONTE VISTA DR                                                                      BRUNSWICK         OH 44212‐3649
MARY ADAMS             506 CR‐715 MAIDEN CHOICE LN                                                              CATONSVILLE       MD 21228‐2819
MARY ADAMS             5415 CHESTNUT AVE                                                                        KANSAS CITY       MO 64130‐3738
MARY ADAMS             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH 44236
MARY ADDAMS            1617 DOUGLAS ST                                                                          JOLIET             IL 60435‐5721
MARY ADDI‐LAYTON       8640 BUNCOMBE RD                                                                         SHREVEPORT        LA 71129‐9766
MARY ADDISON           6305 SHAFTSBURY DR                                                                       KNOXVILLE         TN 37921‐3835
MARY ADELINE GRAVELY   MARY A GRAVELY                  PO BOX 981                                               MILTON            WV 25541
MARY ADKINS            6 SUNSET ST                                                                              NEW LEBANON       OH 45345‐1433
MARY ADKINS            4935 ITA CT APT 201                                                                      SWARTZ CREEK      MI 48473‐1368
MARY AGARWAL           585 N OLD WOODWARD AVE                                                                   BIRMINGHAM        MI 48009‐3868
MARY AGIUS             8110 S KIMBERLY CIR                                                                      FLORAL CITY       FL 34436‐2630
MARY AGNEW             3318 S. KESWICK TER                                                                      PHILADELPHIA      PA 19114
MARY AGUINAGA          741 CAWOOD ST                                                                            LANSING           MI 48915‐1314
MARY AILSTOCK          1106 ROBINWOOD RD APT J                                                                  GASTONIA          NC 28054‐6656
MARY AKERLEY           2039 KNOLLWOOD ST                                                                        LAKE ANGELUS      MI 48326‐3120
MARY AKINS             842 ORLANDO AVE                                                                          PONTIAC           MI 48340‐2355
MARY ALBA              1 QUICK LN                                                                               PLAINSBORO        NJ 08536‐1424
MARY ALBERT            3832 E 123RD ST                                                                          CLEVELAND         OH 44105‐2965
MARY ALBERTELLI        602 SW NATURA BLVD APT E                                                                 DEERFIELD BCH     FL 33441‐3200
MARY ALBIN             2759 COUNTRY BREEZE BLVD                                                                 NAVARRE           FL 32566‐7940
MARY ALBINIAK          S68W12622 WOODS RD                                                                       MUSKEGO           WI 53150‐3541
MARY ALBRIGHT          18606 BRIGGS CIR                                                                         PORT CHARLOTTE    FL 33948‐9600
MARY ALCHAS            611 STRATFORD RD                                                                         N BALDWIN         NY 11510
MARY ALCINI            8306 N SENECA DR                                                                         MUNCIE            IN 47303‐9041
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Name                                 Address1                       Address2             Address3       Address4         City             State Zip
MARY ALDENDORF                       2750 S BERWICK AVE                                                                  INDIANAPOLIS      IN 46241‐5303
MARY ALDRICH                         2090 ROCK SPRINGS RD                                                                COLUMBIA          TN 38401‐7421
MARY ALDRICH                         291 ARMSTRONG RD                                                                    ROCHESTER         NY 14612‐4263
MARY ALDRIDGE                        1320 YOUNG ST                                                                       MIDDLETOWN        OH 45044‐5857
MARY ALDRIDGE                        20 AL MAR DR                                                                        BARGERSVILLE      IN 46106‐9701
MARY ALEKSA                          3554 HUBBARD W MIDDLESEX RD                                                         WEST MIDDLESEX    PA 16159
MARY ALEXANDER                       631 W STEWART AVE                                                                   FLINT             MI 48505‐3286
MARY ALEXANDER                       1241 E YORK AVE                                                                     FLINT             MI 48505‐2334
MARY ALEXANDER                       126 W 900 N                                                                         ALEXANDRIA        IN 46001‐8388
MARY ALEXANDER                       916 CAROLINE AVE                                                                    JOLIET             IL 60433‐9582
MARY ALEXANDER                       4027 WOODCREEK LN                                                                   LANSING           MI 48911‐1930
MARY ALEXANDER                       1011 DECKER ST                                                                      FLINT             MI 48503‐4849
MARY ALEXANDRES                      207 EDWARDS AVE                                                                     CANFIELD          OH 44406‐1413
MARY ALGER                           944 BOSTON DRIVE                                                                    KOKOMO            IN 46902‐6909
MARY ALI                             2720 PINE ISLAND RD                                                                 SUNRISE           FL 33322
MARY ALI                             1809 3RD AVE APT 3A                                                                 NEW YORK          NY 10029‐6108
MARY ALICE DOOLEY                    23336 LIBERTY ST                                                                    FARMINGTON        MI 48335‐4148
MARY ALICE HANSEN                    1090 EAST 700 SOUTH #20                                                             ST GEORGE         UT 84790
MARY ALICE LEFEBVRE                  6982 COUNTY ROAD 441                                                                HAWKS             MI 49743‐9627
MARY ALICE MOONEY                    1134 FAWCETT AVE                                                                    WHITE OAK         PA 15131
MARY ALICE SMITH                     8261‐1 GRAND PALM DR                                                                FORT MYERS        FL 33967
MARY ALICE SMITH CGM IRA CUSTODIAN   MARY ALICE SMITH               9097 E 580 ROAD                                      CATOOSA           OK 74015‐6179

MARY ALKEMA                          2440 US HIGHWAY 10                                                                  SEARS            MI   49679‐8075
MARY ALKEMA                          14277 SONNY LN                                                                      WILLIAMSBURG     OH   45176‐9102
MARY ALLAMON                         57 BROADWAY ST                                                                      SHELBY           OH   44875‐1230
MARY ALLEN                           919 COLONIAL DR                                                                     YOUNGSTOWN       OH   44505‐2215
MARY ALLEN                           189 APOLLO AVE                                                                      FLUSHING         MI   48433‐9324
MARY ALLEN                           1768 W KALAMO HWY                                                                   CHARLOTTE        MI   48813‐9596
MARY ALLEN                           118 EFFIE ALLEN LN                                                                  HILHAM           TN   38568‐5857
MARY ALLEN                           2966 VALLEYVIEW DR                                                                  FAIRBORN         OH   45324‐2254
MARY ALLEN                           1503 WESLEY CHAPEL RD                                                               MITCHELL         IN   47446‐6653
MARY ALLEN                           214 WATERFORD CT                                                                    AVON             IN   46123‐8771
MARY ALLEN                           35755 BEVERLY RD                                                                    ROMULUS          MI   48174‐1722
MARY ALLEN                           11096 N WEBSTER RD                                                                  CLIO             MI   48420‐8208
MARY ALLEN                           1208 S WEADOCK AVE                                                                  SAGINAW          MI   48601‐2714
MARY ALLEN                           3305 N RILEY AVE                                                                    INDIANAPOLIS     IN   46218‐2352
MARY ALLEN                           APT 6                          3674 HESS AVENUE                                     SAGINAW          MI   48601‐4076
MARY ALLEY                           PO BOX 1802                                                                         WINTER PARK      FL   32790‐1802
MARY ALLEY                           5225 COUNCIL RING BLVD                                                              KOKOMO           IN   46902‐5427
MARY ALLISON                         227 SHIELDS ST                                                                      WINDER           GA   30680‐2307
MARY ALLISON                         7 COLONY DR                                                                         TRENTON          NJ   08619‐1001
MARY ALLSHOUSE                       54 PARKSIDE CIR                                                                     BUFFALO          NY   14227‐2358
MARY ALMOND                          2195 CHIPPEWA DR                                                                    RIVERDALE        GA   30296‐1714
MARY ALOISI                          1785 SCARLETT DR                                                                    PITTSBURGH       PA   15241‐3111
MARY ALTAVELA                        107 EVERCLAY DR                                                                     ROCHESTER        NY   14616‐4127
MARY AMABILE                         50 GORGINIO DR                                                                      TOMS RIVER       NJ   08757‐4265
MARY AMBORSKI                        11236 SUZANNE LN                                                                    ORLANDO          FL   32836‐6132
MARY AMBROSE                         12256 SAMOLINE AVE                                                                  DOWNEY           CA   90242‐2354
MARY AMEN                            3717 BENNETT AVE                                                                    FLINT            MI   48506‐3105
MARY AMIDON                          3872 WINEGAR RD                                                                     BANCROFT         MI   48414‐9604
MARY AMOS                            NORTH PARK RETIREMENT CENTER   14801 HOLLAND ROAD                                   BROOK PARK       OH   44142
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Name                        Address1                       Address2                    Address3   Address4         City              State Zip
MARY AND ARTHUR IOVINO      846 DUNCAN DRIVE                                                                       WESTBURY           NY 11590
MARY ANDERSON               3708 HIGHWAY 19 N                                                                      DAHLONEGA          GA 30533‐7911
MARY ANDERSON               5543 LAUREL LN NW                                                                      LILBURN            GA 30047‐6133
MARY ANDERSON               11489 N JENNINGS RD                                                                    CLIO               MI 48420‐1568
MARY ANDERSON               829 E MOORE ST                                                                         FLINT              MI 48505‐3907
MARY ANDERSON               43248 DONLEY DR                                                                        STERLING HTS       MI 48314‐3521
MARY ANDERSON               203 10TH AVE N                                                                         DECHERD            TN 37324‐3761
MARY ANDERSON               371 SW 1201ST RD                                                                       HOLDEN             MO 64040‐8269
MARY ANDERSON               531 CARPENTER RD                                                                       WHITINSVILLE       MA 01588‐1345
MARY ANDERSON               5005 ARROWHEAD BLVD                                                                    KOKOMO             IN 46902‐5316
MARY ANDERSON               4531 WOODHURST DR APT 6                                                                YOUNGSTOWN         OH 44515‐3723
MARY ANDERSON               2829 S MERIDIAN ST                                                                     INDIANAPOLIS       IN 46225‐2362
MARY ANDERSON               5893 KLAM RD                                                                           COLUMBIAVILLE      MI 48421‐9342
MARY ANDERSON               3101 KNOTTINGHAM DR                                                                    FLINT              MI 48507‐3423
MARY ANDERSON               901 DANBURY DR                                                                         KOKOMO             IN 46901‐1565
MARY ANDERSON               PO BOX 336                                                                             MOUNT MORRIS       MI 48458‐0336
MARY ANDERSON‐JONES         OFC                            366 PARADISE ISLAND DRIVE                               DEFUNIAK SPGS      FL 32433‐7191
MARY ANDRES                 1000 W PERRY ST APT 701                                                                SALEM              OH 44460‐3572
MARY ANDREWS                169 TRAVERSE BLVD                                                                      BUFFALO            NY 14223‐1013
MARY ANDREWS                PO BOX 385                     5410 ELK ST                                             PECK               MI 48466‐0385
MARY ANDREWS                610 MASONIC BLVD                                                                       JEFFERSON          WI 53549‐1099
MARY ANDREWS                706 N MARION ST                                                                        HINTON             OK 73047‐9120
MARY ANDREWS                2148 WARRINGTON RD                                                                     ROCHESTER HLS      MI 48307‐3770
MARY ANDRYKOVICH            4436 REID RD                                                                           SWARTZ CREEK       MI 48473‐8858
MARY ANDRYSZCZYK            4141 MCCARTY RD APT 215                                                                SAGINAW            MI 48603‐9325
MARY ANGLIN                 5468 ASBURY LN                                                                         SHREVEPORT         LA 71129‐2656
MARY ANGUS‐ WALTERS         2727 SANLAN RANCH DR LOT 5A                                                            LAKELAND           FL 33812‐4297
MARY ANN ADKINS             82 QUARTERDECK PLACE                                                                   ROCHESTER          NY 14612
MARY ANN BAILEY             10191 SCIOTO DARBY RD                                                                  ORIENT             OH 43146‐9711
MARY ANN BEARDEN            9 W TUSCALOOSA AVE                                                                     GADSDEN            AL 35904
MARY ANN BERNIER            707 RADIAL DR                                                                          BETHANY BEACH      DE 19930
MARY ANN BITTERS            3547 POPLAR AVE                                                                        PITTSBURGH         PA 15234
MARY ANN BRANCA             104 ACORN WAY                                                                          JEFFERSONVILLE     PA 19403‐2873
MARY ANN BRITT              71337 WELDING RD                                                                       RICHMOND           MI 48062‐4835
MARY ANN BROWN              7404 SHERWOOD CREEK CT                                                                 WEST BLOOMFIELD    MI 48322‐3169
MARY ANN BRYAN              3001 DUPREE CIRCLE                                                                     HUNTSVILLE         AL 35801
MARY ANN CARDONI            11107 LANCASTER ST                                                                     WESTCHESTER         IL 60154‐4913
MARY ANN CARMICHAEL         THE MADEKSHO LAW FIRM          8866 GULF FREEWAY STE 440                               HOUSTON            TX 77017
MARY ANN CASEY              5683 GREENWOOD CIR                                                                     NAPLES             FL 34112‐7116
MARY ANN CLARK              8700 S HEMLOCK RD                                                                      SAINT CHARLES      MI 48655‐9712
MARY ANN CONLON             22D CRESTWOOD PKWY                                                                     WHITING            NJ 08759‐3572
MARY ANN D'EMIDIO           102 FILMORE STREET                                                                     BRISTOL            PA 19007‐5417
MARY ANN DAVID              12 TREEHAVEN DR                                                                        LOCKPORT           NY 14094‐5913
MARY ANN DAVIS              2516 GUERNSEY DELL AVE                                                                 DAYTON             OH 45404
MARY ANN DEMESKO            PO BOX 271                                                                             STRUTHERS          OH 44471‐0271
MARY ANN DESALVO‐BEACHNER   190 LIDA LN                                                                            ROCHESTER          NY 14616‐4133
MARY ANN DESALVO‐BEACHNER   190 LIDA LANE                                                                          ROCHESTER          NY 14616‐4133
MARY ANN DETRICK            861 E MCMURRAY RD                                                                      VENETIA            PA 15367‐1029
MARY ANN DI BICCARO         152 FAIRWAY PL NW                                                                      WARREN             OH 44483‐1752
MARY ANN DI CHRISTOPHER     57 HARBOUR LN                                                                          CHEEKTOWAGA        NY 14225‐3707
MARY ANN ESSER              2184 STATE ROUTE 705                                                                   NEW WESTON         OH 45348‐9744
MARY ANN FERRARO            160 WEST 71ST STREET           APT # PHH                                               NEW YORK           NY 10023
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Name                             Address1                         Address2           Address3         Address4         City              State Zip
MARY ANN FOX                     56 WALNUT ST                                                                          LEETONIA           OH 44431‐1151
MARY ANN FOYLE IRA               383 W THORNHILL PLACE                                                                 FREDERICK          MD 21703‐6171
MARY ANN FRANK                   11280 WINDY RIDGE TRL                                                                 FENTON             MI 48430‐9057
MARY ANN FRANKENFIELD            920 W BANNISTER DR                                                                    MARION             IN 46953‐5701
MARY ANN FRANKLIN                1640 JACKSON ST SW                                                                    WARREN             OH 44485‐3548
MARY ANN FRANKLIN                9410 GRACE LAKE DR                                                                    DOUGLASVILLE       GA 30135‐1757
MARY ANN FREEMAN                 4294 ALLENWOOD DR SE                                                                  WARREN             OH 44484‐2931
MARY ANN G MORENO                12715 NORRIS AVENUE                                                                   SYLMAR             CA 91342‐4616
MARY ANN GASPER                  332 RAVENNA RD                                                                        NEWTON FALLS       OH 44444‐1513
MARY ANN GERMANO                 428 W DRINKER ST                                                                      SCRANTON           PA 18509
MARY ANN GOTT                    11755 BURT RD                                                                         RILEY              MI 48041‐1322
MARY ANN GUZYLAK                 284 APPLEWOOD DR                                                                      ROCHESTER          NY 14612‐3550
MARY ANN HALL                    PO BOX 402                                                                            ABBEVILLE          GA 31001‐0402
MARY ANN HARP                    1855 OWENDALE DR                                                                      DAYTON             OH 45439
MARY ANN HELGE                   67 TEXAS RD                                                                           MONROE TWP         NJ 08831‐9655
MARY ANN HULL                    PO BOX 128                                                                            SIX LAKES          MI 48886‐0128
MARY ANN JARVIS                  901 MARTINTOWN RD                                                                     NEW ALBANY         MS 38652‐1905
MARY ANN JONES                   939 HIGHWAY 136                                                                       STERLINGTON        LA 71280‐3114
MARY ANN KAPICA                  105 COUNTRY CIR                                                                       COLUMBUS           NJ 08022‐1053
MARY ANN KASPRZAK                134 TEMPLE DR                                                                         CHEEKTOWAGA        NY 14225‐5214
MARY ANN MACDONALD               2841 MILLER RD                                                                        FLINT              MI 48503‐4617
MARY ANN MACHE                   PO BOX 101                                                                            WILLIAMSVILLE      NY 14221
MARY ANN MAHONEY                 273 SANDALWOOD DR                                                                     ROCHESTER HILLS    MI 48307‐3461
MARY ANN MALINICH                4059 E BRISTOL RD                                                                     BURTON             MI 48519‐1401
MARY ANN MALINOWSKI              3476 LYON PARK CT                                                                     WOODBRIDGE         VA 22192‐1022
MARY ANN MANCINE                 183 PHEASANT RUN RD., S.E                                                             WARREN             OH 44484‐2318
MARY ANN MARKS                   1717 MILLER AVE                                                                       MONROEVILLE        PA 15146‐4035
MARY ANN MASTNY                  1640 MAPLEWOOD DR APT 10                                                              STREETSBORO        OH 44241‐5674
MARY ANN MCCABE                  66 2ND AVE                                                                            N TONAWANDA        NY 14120‐6626
MARY ANN MOIR                    33371 CANTERBURY RD                                                                   AVON LAKE          OH 44012‐1289
MARY ANN MORENO                  12715 NORRIS AVENUE                                                                   SYLMAR             CA 91342‐4616
MARY ANN MROZ & SUSAN KNOWLING   MARY ANN MROZ                    6218 LYMAN AVE                                       DOWNERS GROVE       IL 60516

MARY ANN MURBERGER               10140 STRUTHERS RD                                                                    NEW MIDDLETOWN    OH   44442‐7743
MARY ANN NEWLAND                 4550 FLANDERS HILL CT                                                                 TOLEDO            OH   43623‐1239
MARY ANN OMERZO                  131 AMY PL                                                                            CORTLAND          OH   44410‐1314
MARY ANN OMERZO                  131 AMY PLACE                                                                         CORTLAND          OH   44410‐1314
MARY ANN PACILLI                 34 FERNCLIFF ROAD                                                                     BLOOMFIELD        NJ   07003‐5414
MARY ANN PELLEGRINI              6223 W 94TH ST APT 3SE                                                                OAK LAWN          IL   60453‐1477
MARY ANN PICCIRILLO IRA          RBC CAPITAL MARKETS CORP CUST    1000 WALNUT AVE                                      DUBOIS            PA   15801‐2840
MARY ANN PINTAR                  7155 OLD COACH TRL                                                                    WASHINGTON        MI   48094‐2156
MARY ANN RINGKAMP                2330 W FALMOUTH AV                                                                    ANAHEIM           CA   92801
MARY ANN ROMANOVICH              270 SHADMORE DR                                                                       ROCHESTER         NY   14626‐1018
MARY ANN RUCKAUF                 11A KINGERY QUARTER APT 103                                                           WILLOWBROOK       IL   60527‐6538
MARY ANN SANCHEZ                 4410 W KINNICKINNIC RIVER PKWY                                                        MILWAUKEE         WI   53219
MARY ANN SAUNDERS
MARY ANN SCHMIDT                 312 3RD ST N                                                                          OSCODA            MI   48750‐1250
MARY ANN SCHROEDER               1866 NW WASHINGTON BLVD APT 8                                                         HAMILTON          OH   45013‐1766
MARY ANN SHIDAKER                26994 RUSSELL LN                                                                      WARRENTON         MO   63383‐5754
MARY ANN SMITH                   544 N SAGINAW ST APT 604                                                              LAPEER            MI   48446‐2342
MARY ANN SMITH                   5 BEECHCRAFT DR                                                                       ROCHESTER         NY   14606‐5819
MARY ANN SMITH                   6336 FORESTDALE AVE                                                                   DAYTON            OH   45417‐7915
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Name                           Address1                               Address2                     Address3   Address4         City              State Zip
MARY ANN SNODGRASS             4480 N PLACITA QUERETARO                                                                        TUCSON             AZ 85749
MARY ANN STEELE                5159 CENTREVILLE                                                                                GRAND BLANC        MI 48439‐8747
MARY ANN STROKA                8273 GRAND OAKS CT                                                                              WASHINGTON TWP     MI 48095‐2912
MARY ANN SUMNERS               747 SANDY HILL CIR                                                                              PT ORANGE          FL 32127‐7795
MARY ANN TRAXEL                2810 W UPHAM AVE                                                                                GREENFIELD         WI 53221‐3748
MARY ANN TREBONIAK             BEVAN & ASSOCIATES, LPA, INC.          6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH 44236
MARY ANN USAVAGE               12218 FORESTVIEW DR                                                                             ORLAND PARK         IL 60467‐1004
MARY ANN WALTERS               11447 MARTIN RD                                                                                 WARREN             MI 48093‐4409
MARY ANN WASHINGTON            89 KENWICK DR                                                                                   ROCHESTER          NY 14623
MARY ANN WEISHUHN              8241 STANDISH RD                                                                                BENTLEY            MI 48613‐9613
MARY ANN WELDEN                4874 RIVERCHASE DR                                                                              TROY               MI 48098
MARY ANN WILSON                18813 GILL RD                                                                                   LIVONIA            MI 48152‐3060
MARY ANN WORNSTAFF             4324 GORMAN AVE                                                                                 ENGLEWOOD          OH 45322‐2528
MARY ANN Y FRANKLIN            1640 JACKSON ST SW                                                                              WARREN             OH 44485
MARY ANN YAKYMOVITCH           146 WOODRIDGE CT APT8                                                                           ROCHESTER          NY 14622
MARY ANN YERK                  107 W BROAD ST                                                                                  SOUDERTON          PA 18964
MARY ANN YOST                  103 BUTTONWOOD ST APT C                                                                         TRENTON            NJ 08619‐3500
MARY ANN Z FREEMAN             4294 ALLENWOOD DR SE                                                                            WARREN             OH 44484
MARY ANNA GRIESENAUER          6915 LAKE PARK CIR                                                                              AFFTON             MO 63123‐1600
MARY ANNA LEE                  5103 W COLDWATER RD                                                                             FLINT              MI 48504‐1034
MARY ANNA NIEBRZYDOWSKI        31727 HOOVER RD APT 22                                                                          WARREN             MI 48093‐1758
MARY ANNA PAKE                 302 WISE ST                                                                                     ESSEXVILLE         MI 48732‐1177
MARY ANNE BARANEK              44238 GIBSON DR                                                                                 STERLING HTS       MI 48313‐1034
MARY ANNE DECKER               2149 MAPLE LN                                                                                   WILCOX             PA 15870‐5321
MARY ANNE DECKER               2149 MAPLE LANE                                                                                 WILCOX             PA 15870
MARY ANNE HENRY                1657 BALL AVE NE                                                                                GRAND RAPIDS       MI 49505‐5617
MARY ANNE JOHNSTON DR
MARY ANNE MEADE                1704 LINWOOD AVE                                                                                ROYAL OAK         MI   48067‐1064
MARY ANNE NOONAN               3918 MENGEL DR                                                                                  DAYTON            OH   45429
MARY ANNE REED                 206 W WATER ST                         APT 206                                                  GREENVILLE        OH   45331‐1456
MARY ANNE SURRETTE             3031 LYNDHURST J                                                                                DEERFIELD BEACH   FL   33442
MARY ANNE TARANTINO            5B NOB HILL                                                                                     ROSELAND          NJ   07068‐3800
MARY ANTHONY                   2601 WINONA ST                                                                                  FLINT             MI   48504‐2775
MARY ANTHONY                   PO BOX 420519                                                                                   PONTIAC           MI   48342‐0519
MARY ANTHONY                   18 N PADDOCK ST                                                                                 PONTIAC           MI   48342‐2617
MARY ANTHONY‐JAMES             429 MEADOWLARK LN                                                                               EATON             OH   45320‐1959
MARY ANTONIO                   7656 HIGHLAND DR                                                                                GASPORT           NY   14067‐9264
MARY ANTOR                     1216 CASTLE DR LOT 32                                                                           FREMONT           MI   49412‐1843
MARY ANTOS                     7510 BELMONT AVE                                                                                BALTIMORE         MD   21224‐3202
MARY APPLE                     690 MEMORIAL DR                                                                                 XENIA             OH   45385‐9026
MARY ARCAMONE                  348 BIRCH HOLLOW DR                                                                             BORDENTOWN        NJ   08505‐4230
MARY ARCHER                    3371 PONDEROSA RD                                                                               SPENCER           IN   47460‐9274
MARY AREBAUGH                  393 WILDFLOWER LN                                                                               LAPEER            MI   48446‐7655
MARY ARELLANO                  410 E 2ND ST                                                                                    SAN JUAN          TX   78589‐3101
MARY AREMIA‐VANALST            2006 MOUNTAIN AVE                                                                               FLINT             MI   48503‐2244
MARY ARENDASH                  440 CATHY DR                                                                                    MUNROE FALLS      OH   44262‐1219
MARY ARING                     27755 CLARK RD                                                                                  WELLINGTON        OH   44090‐9942
MARY ARIS                      9457 W PIERSON RD                                                                               FLUSHING          MI   48433‐9717
MARY ARKI                      51 FRANCES ST                                                                                   TONAWANDA         NY   14150‐4016
MARY ARMENTROUT ON BEHALF OF   C/O LAW OFFICES OF MICHAEL R BILBREY   8724 PIN OAK ROAD                                        EDWARDSVILLE      IL   62025
EDWARD ARMENTROUT              PC
MARY ARMSTRONG                 1710 BRISTOL COURT DRIVE                                                                        MOUNT MORRIS       MI 48458‐2185
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Name                Address1                           Address2                 Address3   Address4         City                    State Zip
MARY ARMSTRONG      PO BOX 322                                                                              POCAHONTAS               VA 24635‐0322
MARY ARMSTRONG      1233 OAKTREE DR                                                                         GREENVILLE               OH 45331‐2662
MARY ARMSTRONG      146 SHAMROCK CIR APT 8                                                                  PENDLETON                IN 46064‐8557
MARY ARMSTRONG      351 S PARKER AVE                                                                        INDIANAPOLIS             IN 46201‐4351
MARY ARMSTRONG      4509 REDWOOD ST                                                                         WINTER HAVEN             FL 33880‐1634
MARY ARNETT         51 ROWAN RD                                                                             WHITE SULPHUR SPRINGS    WV 24986‐2033
MARY ARNEY          12100 HOLLINGSWORTH RD                                                                  KANSAS CITY              KS 66109‐2913
MARY ARNOLD         611 BURTON DR                                                                           PITTSBURGH               PA 15235‐4423
MARY ARNOLD         640 ADEE AVENUE                                                                         BRONX                    NY 10467
MARY ARNOLD         3937 SABLE RIDGE DRIVE                                                                  BELLBROOK                OH 45305‐8728
MARY ARNOLD         1940 PAT COLWELL RD                                                                     BLAIRSVILLE              GA 30512‐0244
MARY ARNOLD         518 MCARAS CT                                                                           FLINT                    MI 48504‐5204
MARY ARNOLD         11752 NEW BRITAIN DR                                                                    SPRING HILL              FL 34609‐9250
MARY ARNOLD         PO BOX 108                                                                              FAIRDEALING              MO 63939‐0108
MARY ARNONE         23750 HIGHLAND VALLEY RD APT 412                                                        DIAMOND BAR              CA 91765‐1196
MARY ARRIOLA        3724 S AHMEDI AVE                                                                       SAINT FRANCIS            WI 53235‐4104
MARY ARTIBEE        215 N CANAL RD LOT 166                                                                  LANSING                  MI 48917‐8673
MARY ARTMAYER       1442 FIELDCREST CT                                                                      CINCINNATI               OH 45231
MARY ASHER          PO BOX 543                         409 N BROADWAY ST                                    SWEETSER                 IN 46987‐0543
MARY ASHTENEAU      35148 SCHOOL FLOOR 1                                                                    WESTLAND                 MI 48185
MARY ASPOSITO       580 HULL ST                                                                             SPARTA                   MI 49345‐8452
MARY ASTON          337 PROSPECT AVE                                                                        AVENEL                   NJ 07001‐1156
MARY ATCHISON       211 LAZY BAR S RD                                                                       SOMERVILLE               TX 77879‐5791
MARY ATER           868 SWEETING AVE                                                                        COLUMBUS                 OH 43229‐5040
MARY ATKINS         2623 MACKIN RD                                                                          FLINT                    MI 48504‐3368
MARY ATKINSON       209 W RILEY RD                                                                          NEW CASTLE               IN 47362‐1145
MARY ATWOOD         1670 BRENDA RD SE                                                                       RIO RANCHO               NM 87124‐2724
MARY AUBEL          RR 1 BOX 1154                                                                           CARBON DALE              PA 18407
MARY AUBREY         13049 CHIPPEWA DR                                                                       WARREN                   MI 48088‐1851
MARY AUBUCHON       APT 213                            8660 GRANT ROAD                                      SAINT LOUIS              MO 63123‐1038
MARY AUKERMAN       5861 RYAN RD                                                                            MEDINA                   OH 44256‐8897
MARY AUKERMAN       414 LINCOLN ST                                                                          EATON                    OH 45320‐1869
MARY AUSTIN         1421 S 16TH ST                                                                          NOBLESVILLE              IN 46060‐3907
MARY AUSTIN         1351 N BALLENGER HWY                                                                    FLINT                    MI 48504‐7532
MARY AUSTIN         95 LOUISIANA AVE                                                                        EWING                    NJ 08638‐2534
MARY AUSTIN         APT 2506                           25675 OVERLOOK PARKWAY                               SAN ANTONIO              TX 78260‐2513
MARY AUTH           56 HEADLEY PLACE                                                                        MAPLEWOOD                NJ 07040
MARY AVERY          504 REDBUD DR                                                                           JUNCTION CITY            KS 55441‐3342
MARY AYALA          120 DENISE DR                                                                           KERRVILLE                TX 78028‐7511
MARY AYOLA          8900 W 91ST PL                                                                          HICKORY HILLS             IL 60457‐1632
MARY AZAR           C/O DIANA MERCIER                  19475 ARGYLE CRES                                    DETROIT                  MI 48203
MARY AZUA           36 W BEVERLY AVE                                                                        PONTIAC                  MI 48340‐2616
MARY B AARON        140 DUPONT AVE                                                                          TONAWANDA                NY 14150‐7815
MARY B ABEL         12179 NEW ZION RD                                                                       CRYSTAL SPGS             MS 39059
MARY B ALEKSA       3554 HUBBARD W MIDDLESEX RD                                                             WEST MIDDLESEX           PA 16159‐2310
MARY B ARMENTROUT   125 RIPPLING RUN RD                                                                     KINGSPORT                TN 37663
MARY B BARLOW       237 STATE ST                                                                            HAZLEHURST               MS 39083
MARY B BEAVERS      5317 HAMMOND AVE                                                                        DAYTON                   OH 45427‐2924
MARY B BURTON       434 YORK ST                                                                             N BLOOMFIELD             OH 44450‐9521
MARY B COOK         2317 FIELDS AVE                                                                         KETTERING                OH 45420
MARY B CORNETTE     6609 PARK LANE                                                                          HILLSBORO                OH 45133‐9398
MARY B CURRIE       301 ARCARO ST.                                                                          COURTLAND                OH 44410
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Name                 Address1                       Address2            Address3         Address4         City               State Zip
MARY B DAHLGREN      200 COUNTRY CLUB DR                                                                  ATTALLA             AL 35954‐2606
MARY B DIXIE         147 HARMONY LANE                                                                     TOLEDO              OH 43615
MARY B FRITZ         3629 WOODBINE AVE                                                                    DAYTON              OH 45420‐2470
MARY B GURNIAK       1011 BOULEVARD ST                                                                    SYRACUSE            NY 13211‐1843
MARY B HALL‐HOBSON   4221 LANTERMAN RD                                                                    AUSTINTOWN          OH 44515‐1432
MARY B HETZ          1405 E HATCH ST                                                                      STURGIS             MI 49091‐1249
MARY B HOLMES        3603 ALBEMARLE RD.                                                                   JACKSON             MS 39213‐5552
MARY B ISBELL        701 BROKEN ARROW DR                                                                  GADSDEN             AL 35901
MARY B KALISH        7937 STATE ROUTE 45                                                                  NORTH BLOOMFIELD    OH 44450‐9763
MARY B KANCYAN       34575 MULVEY                                                                         FRASER              MI 48026‐1959
MARY B KEISER        92 DOGWOOD LANE                                                                      GLEN MILLS          PA 19342
MARY B KOENIG        3882 VALACAMP S.E.                                                                   WARREN              OH 44484‐3313
MARY B KOLESAR       88 WINCHESTER ST                                                                     ROCHESTER           NY 14615‐2334
MARY B KORCZ         1000 WALDEN CK TRACE #24 1‐B                                                         SPRING HILL         TN 37174
MARY B LACELLA       204 S ASPEN COURT              #3                                                    WARREN              OH 44484‐1066
MARY B LARKIN        1616 2ND ST                                                                          BAY CITY            MI 48708‐5106
MARY B MCALEES       356 GOLFVIEW ROAD APT#508                                                            NORTH PALM BEACH    FL 33408‐3552
MARY B MCFARLAND     140 BROOK DRIVE R.D.#2                                                               BROOKFIELD          OH 44403‐9638
MARY B MOORE         252 BELLAIRE DR                                                                      FAIRBORN            OH 45324‐4149
MARY B MORRIS        656 DOVER SW                                                                         WARREN              OH 44485‐4110
MARY B MURRAY        7939 VENICE DR. N.E.                                                                 WARREN              OH 44484‐1511
MARY B NOBLE         5466 N. PARK AVENUE                                                                  BRISTOLVILLE        OH 44402‐9702
MARY B PAUKOVICH     1263 HOWLAND WILSON RD                                                               WARREN              OH 44484‐1656
MARY B REILLY        1635 PROSPECT ST                                                                     MINERAL RIDGE       OH 44440
MARY B RICHIE        254 DEVONSHIRE ST                                                                    YPSILANTI           MI 48198‐6021
MARY B ROMBALL       850 DELMAR DOWNS RD            APT 341                                               SOLANA BEACH        CA 92075
MARY B SCHULLER      2463 WILSHIRE DRIVE                                                                  CORTLAND            OH 44410‐9226
MARY B SENEDIAK      1462 STANLEY ST                                                                      GIRARD              OH 44420‐1351
MARY B SICKLE        114 BLUEBERRY DR.                                                                    CLINTON             MS 39056
MARY B TOOLE         9667 BAYVIEW DR APT 214                                                              YPSILANTI           MI 48197‐7027
MARY B VANLEEUWEN    229 CLARANNA                                                                         DAYTON              OH 45419
MARY B WEBSTER       327 ASPEN TRAIL                                                                      WARREN              OH 44483
MARY B WELLS         1215 W 3RD AVE                                                                       FLINT               MI 48504
MARY B WILTROUT      737 LINCOLN AVE                                                                      NILES               OH 44446‐3161
MARY B ZOLMAN        10 WILMINGTON PL               APT 105C                                              DAYTON              OH 45420
MARY BAAR            9258 FITCH STREET              BOX 186                                               NUNDA               NY 14517
MARY BABBITT         2018 ARDMORE AVE APT 96                                                              FORT WAYNE          IN 46802‐4835
MARY BACHA           1308 E LAKEVIEW AVE                                                                  PENSACOLA           FL 32503‐5328
MARY BACHAND         338 WILLIAMS ST                                                                      ONEIDA              NY 13421‐1123
MARY BACHELDER       361 OAK HAVEN DR                                                                     MELBOURNE           FL 32940‐1842
MARY BACHHOFER       21427 HIGHWAY 102                                                                    TECUMSEH            OK 74873‐5369
MARY BACHOROWSKI     8147 PELHAM RD                                                                       ALLEN PARK          MI 48101‐2285
MARY BACK            852 NORDEN ST NW                                                                     PALM BAY            FL 32907‐8242
MARY BACK            2511 S SEMORAN BLVD APT 1515                                                         ORLANDO             FL 32822‐2731
MARY BADEN           10901 BEAVER RD                                                                      SAINT HELEN         MI 48656‐9610
MARY BADER           3133 ROTTERDAM DR                                                                    CLIO                MI 48420‐2318
MARY BAERWOLF        10592 YALE RD                                                                        BROCKWAY            MI 48097‐3009
MARY BAHR            9716 BAHR RD                                                                         STE GENEVIEVE       MO 63670‐8462
MARY BAILEY          3570 E 151ST ST                                                                      CLEVELAND           OH 44120‐4934
MARY BAILEY          2912 NORTHWESTERN ST                                                                 DETROIT             MI 48206‐2559
MARY BAILEY          1135 CECILTON WARWICK RD                                                             WARWICK             MD 21912‐1305
MARY BAILEY          1827 S ARLINGTON AVE                                                                 INDEPENDENCE        MO 64052‐1930
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Name                             Address1                               Address2                     Address3                  Address4         City              State Zip
MARY BAILEY                      3011 FAIRVIEW DR # B                                                                                           JONESBORO          AR 72401‐6315
MARY BAILOR                      PO BOX 265                                                                                                     ODESSA             DE 19730‐0265
MARY BAKER                       3443 S STATE RD                                                                                                DAVISON            MI 48423‐8751
MARY BAKER                       4615 CARTER AVE                                                                                                NORWOOD            OH 45212‐2539
MARY BAKER                       6308 BURKWOOD DR                                                                                               CLAYTON            OH 45315‐9752
MARY BAKER                       6490 WAYWIND DR                                                                                                DAYTON             OH 45426‐1114
MARY BAKER                       584 SUMMIT DR                                                                                                  PLAINFIELD         IN 46168‐1063
MARY BAKER                       1281 HARDY CIRCLE                                                                                              DALLAS             GA 30157‐3379
MARY BAKER                       3220 N RIVER RD                                                                                                SAGINAW            MI 48609‐9639
MARY BAKER                       12215 BROOKFIELD AVE                                                                                           CLEVELAND          OH 44135‐2215
MARY BAKER                       2333 LEDYARD ST                                                                                                SAGINAW            MI 48601‐2446
MARY BAKER                       8743 OAK DRIVE                                                                                                 GERMANTOWN         OH 45327‐8321
MARY BAKER                       1797 SOLON RD                                                                                                  DEWITT             MI 48820‐9017
MARY BAKER                       10604 GREEN MEADOW LN                                                                                          PORT RICHEY        FL 34668‐3069
MARY BAKER                       4279 PRIMO RD                                                                                                  FESTUS             MO 63028‐4505
MARY BAKER                       3171 SUNNYSIDE CT                                                                                              LAKE ORION         MI 48360‐1743
MARY BAKER                       8743 OAK DR                                                                                                    GERMANTOWN         OH 45327‐8321
MARY BAKER INDIVIDUALLY AND ON   ALL STATUTORY BENEFICIARIES OF JEANINE C/O LINDA B WILLIAMSON ESQ   2700 N CENTRAL AVE, STE                    PHOENIX            AZ 85004
BEHALF OF                        BAKER                                                               1400
MARY BAKO                        22750 HILLIARD BLVD                                                                                            ROCKY RIVER       OH   44116‐3057
MARY BALABANIAN                  205 REIF ST                                                                                                    FRANKENMUTH       MI   48734‐1552
MARY BALAN                       123 SENTINEL CT                                                                                                SIMPSONVILLE      SC   29681‐3606
MARY BALANDIS                    1106 W ST GEORGE AVE                                                                                           LINDEN            NJ   07036
MARY BALDA                       1539 INDIAN MEADOWS DR                                                                                         FRANKLIN          TN   37064‐9623
MARY BALDWIN                     1633 WILD CHERRY LN                                                                                            LAPEER            MI   48446‐8714
MARY BALDWIN                     2506 FRIEND DR                                                                                                 FLINT             MI   48507‐3235
MARY BALDYGA                     19954 GASPER RD                                                                                                CHESANING         MI   48616‐9760
MARY BALES                       1415 HONEYSUCKLE DR                                                                                            LIBERTY           MO   64068‐7771
MARY BALIEM                      PO BOX 5805                                                                                                    HILLSIDE          NJ   07205‐5805
MARY BALL                        3379 MAIN ST                           BRIARFIELD AT THE RIDGE                                                 MINERAL RIDGE     OH   44440‐9735
MARY BALL                        2651 BROWN RD                                                                                                  GROVE CITY        OH   43123‐1603
MARY BALLANCE                    G 3361 W LYNDON AVE                                                                                            FLINT             MI   48504
MARY BALLARD                     1716 COVENTRY RD                                                                                               DAYTON            OH   45420‐2402
MARY BALLINGER                   PO BOX 93                                                                                                      MOUNT VERNON      KY   40456‐0093
MARY BALLS                       PO BOX 3562                                                                                                    SAGINAW           MI   48505‐3562
MARY BALMAS                      31025 ROSSLYN AVE                                                                                              GARDEN CITY       MI   48135‐1367
MARY BALSER                      4310 VANTAGE CIR                                                                                               SEBRING           FL   33872‐3412
MARY BALTES                      980 JEFFERSON ST                                                                                               VERMILION         OH   44089‐1120
MARY BALTHAZOR                   10960 S 60TH ST                                                                                                FRANKLIN          WI   53132‐8833
MARY BAMBER                      10325 SPERRY ROAD                                                                                              WILLOUGHBY        OH   44094‐9519
MARY BANACH                      4421 LUTZ DR                                                                                                   WARREN            MI   48092‐1750
MARY BANDY                       415 BILTMORE ST                                                                                                INKSTER           MI   48141‐1389
MARY BANEY                       3604 N NEW YORK AVE                                                                                            MUNCIE            IN   47304‐1869
MARY BANGERTER                   5299 FLAMINGO CT                                                                                               DAYTON            OH   45431‐2832
MARY BANISTER                    171 COUNTY ROAD 1755                                                                                           HOLLY POND        AL   35083‐5154
MARY BANKS                       534 BIDDLE ST                                                                                                  CHESAPEAKE CITY   MD   21915‐1035
MARY BANKS                       159 CHARIOT DR                                                                                                 ANDERSON          IN   46013‐1043
MARY BANKS                       420 CHURCH ST                                                                                                  NEW LEXINGTON     OH   43764‐1307
MARY BANKS                       4919 RAND AVE                                                                                                  DALLAS            TX   75216‐6865
MARY BANKS                       1307 ANGLICAN DR                                                                                               ARLINGTON         TX   76002‐3740
MARY BANKS                       30 WAVERLY AVE                                                                                                 DAYTON            OH   45405‐2227
MARY BANKS                       2320 S HACKLEY ST                                                                                              MUNCIE            IN   47302‐4245
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Name                    Address1                        Address2                 Address3            Address4         City                State Zip
MARY BANKSTON           2331 N PINE LEA DR                                                                            JACKSON              MS 39209‐9672
MARY BANNISTER          11354 APPLETON                                                                                REDFORD              MI 48239‐1442
MARY BANNON             14 WOODBERRY CT                                                                               WOLCOTT              CT 06716‐2869
MARY BAQUE              APT 204                         2155 MONTCLAIR ROAD                                           CLEARWATER           FL 33763‐4282
MARY BARBER             81 S EDISON DR                  PO BOX 482                                                    MILAN                OH 44846‐9314
MARY BARBER             1030 HALBEDEL DR                                                                              UPPER SANDUSKY       OH 43351‐9608
MARY BARBOZA            693 COMMUNIPAW AVE                                                                            JERSEY CITY          NJ 07304‐1951
MARY BARCIO             5425 KINGSBRIDGE RD                                                                           WINSTON SALEM        NC 27103‐5995
MARY BARCOMB            179 BRONZE LEAF TRL                                                                           ROCHESTER            NY 14612‐6210
MARY BARDA              2665 W SPRAGUE RD                                                                             BROADVIEW HEIGHTS    OH 44147‐1046
MARY BARGEMAN           2013 WILLOWICK ST                                                                             LAKE CHARLES         LA 70607‐2017
MARY BARGEON            636 RUDY RD                                                                                   MANSFIELD            OH 44903‐8039
MARY BARINKA‐FEATHERS   3218 ONONDAGA AVE                                                                             KALAMAZOO            MI 49004‐1684
MARY BARKER             310 HARRIET ST                                                                                FLINT                MI 48505‐4630
MARY BARKER             PO BOX 213                                                                                    TIPTON               IN 46072‐0213
MARY BARKER             1351 WARWICK DR                                                                               MIAMISBURG           OH 45342‐3264
MARY BARKER             7577 CINNAMON WOODS DR                                                                        WEST CHESTER         OH 45069‐1038
MARY BARKER             2400 HART RD                                                                                  LEBANON              OH 45036‐9159
MARY BARKER             7140 COUNTY ROAD 47                                                                           LEXINGTON            OH 44904‐9601
MARY BARKHIMER          1208 WYOMING WAY                                                                              ANDERSON             IN 46013‐2479
MARY BARKHOLZ           PO BOX 3522                                                                                   TRENTON              NJ 08629‐0522
MARY BARKLEY            121 SCHUELE AVE                                                                               BUFFALO              NY 14215‐4037
MARY BARLOW             258 LINE RD                                                                                   KENNETT SQUARE       PA 19348‐2232
MARY BARLOW             26425 RIALTO ST                                                                               MADISON HEIGHTS      MI 48071‐3766
MARY BARNES             198 GRAVEL ST                                                                                 MERIDEN              CT 06450‐4612
MARY BARNES             5917 EDWARDS AVE                                                                              FLINT                MI 48505‐5161
MARY BARNES             8751 PEARL ST UNIT E3                                                                         THORNTON             CO 80229‐4741
MARY BARNES             232 BARNES LN                                                                                 PINNACLE             NC 27043‐9084
MARY BARNETT            68 RUSSELL AVE                                                                                PLAINVILLE           CT 06062‐2818
MARY BARNETT            PO BOX 14254                                                                                  SAGINAW              MI 48601‐0254
MARY BARNETT            3243 FRANCES LN                                                                               KOKOMO               IN 46902‐9706
MARY BARNETT            6850 ORINOCO CIR                                                                              BLOOMFIELD HILLS     MI 48301‐2935
MARY BARNETTE           BARON & BUDD P C                THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                    DALLAS               TX 75219‐4281
MARY BARNHARDT          610 S MAIN ST                                                                                 ARCANUM              OH 45304‐1232
MARY BARNHART           4058 E SHANNON ST                                                                             GILBERT              AZ 85295‐7737
MARY BARNHART           200 W ATKINSON AVE APT 16                                                                     BUTLER               MO 64730‐2084
MARY BARONE             391 LAKE BREEZE RD                                                                            ANGOLA               NY 14006‐9653
MARY BARRA              41692 HEMPSHIRE ST                                                                            NOVI                 MI 48375‐4792
MARY BARRETT            332 FOREST HILL IRENE RD S                                                                    CORDOVA              TN 38018‐4830
MARY BARRETT            1459 LILLIAN ST                                                                               WESTLAND             MI 48186‐4973
MARY BARRETT            163 EAST ST                                                                                   COOPERSVILLE         MI 49404‐1210
MARY BARRETT            88 MARBETH CT                                                                                 BUFFALO              NY 14220‐1314
MARY BARRETT            26 PECAN TER                                                                                  GREENVILLE           SC 29605‐3731
MARY BARRETT            3250 WALTON AVENUE                                                                            FLINT                MI 48504‐4232
MARY BARRON             10494 LINDEN RD                                                                               GRAND BLANC          MI 48439‐9351
MARY BARRONE            56743 CHIPPEWA DR                                                                             THREE RIVERS         MI 49093‐8014
MARY BARRONS            116 REID WAY                                                                                  WHITE HOUSE          TN 37188‐9426
MARY BARTA              185 HAZELWOOD AVE SE                                                                          WARREN               OH 44483‐6133
MARY BARTCZAK           172 JENNIFER LN                                                                               CALUMET CITY          IL 60409‐1415
MARY BARTECK            122 MOORE ST                                                                                  WESTVILLE             IL 61883‐1208
MARY BARTEL             1163 W SOLON RD                                                                               DEWITT               MI 48820‐8655
MARY BARTKOWSKI         319 MYRON RD                                                                                  SYRACUSE             NY 13219‐1227
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Name                Address1                         Address2                     Address3   Address4         City                State Zip
MARY BARTLETT       101 N TYRONE DR APT 7                                                                     MUNCIE               IN 47304‐3129
MARY BARTLETT       7350 RT. 609 NE                                                                           BURGHILL             OH 44404
MARY BARTO          3759 BRADLEY BROWNLEE RD                                                                  CORTLAND             OH 44410‐9732
MARY BARTOLUCCI &   ETTORE BARTOLUCCI                29 GREENVIEW DR                                          PEQUANNOCK           NJ 07440
MARY BARTON         3282 FULS RD                                                                              FARMERSVILLE         OH 45325‐8207
MARY BARTON         2056 CAP ROCK LANE                                                                        GRAND PRAIRIE        TX 75052‐8871
MARY BARTON         423 S BROAD ST                                                                            MONROE               GA 30655‐2121
MARY BARTON         4850 WOODBROOK DR SW                                                                      MABLETON             GA 30126‐1234
MARY BARTON         317 ROOSEVELT DR                                                                          SHELBYVILLE          IN 46176‐2221
MARY BARTON         80 N RACCOON RD APT 69                                                                    AUSTINTOWN           OH 44515‐2711
MARY BARTOSIK       620 BEECHWOOD RD                                                                          LINDEN               NJ 07036‐5316
MARY BASHANS        828 EMERSON ST                                                                            SAGINAW              MI 48607‐1705
MARY BASKETT        685 PREAKNESS LN                                                                          FLORISSANT           MO 63033‐3611
MARY BASS           205 SCHILLING ST                                                                          ATHENS               AL 35611‐2923
MARY BASS           2009 NORTHVIEW BLVD                                                                       KOKOMO               IN 46901‐2539
MARY BASS           4109 N AUDUBON RD                                                                         INDIANAPOLIS         IN 46226‐4742
MARY BASSAR         RIVERVIEW APARTMENTS             171 LAUREL STREET                                        BRISTOL              CT 06010
MARY BASSETT        3261 E FISHER RD                                                                          BAY CITY             MI 48706‐3225
MARY BASTIN         1688 WESTWOOD ST                                                                          GREENWOOD            IN 46143‐8397
MARY BATCHLER       19509 SUNSET STRIP                                                                        ALTOONA              FL 32702‐9218
MARY BATCKE         2925 REPPUHN DR                                                                           SAGINAW              MI 48603‐3179
MARY BATEMAN        30080 WILD BROOK DR                                                                       SOUTHFIELD           MI 48034
MARY BATEMAN        3300 KINGSWAY                                                                             HIGHLAND             MI 48356
MARY BATES          106 BROOK DR                                                                              BROOKFIELD           OH 44403‐9638
MARY BATES          3114 MCCLEARY JACOBY RD                                                                   CORTLAND             OH 44410‐1718
MARY BATES          PO BOX 204                                                                                AVALON               TX 76623‐0204
MARY BATES          11843 COMMERCE RD                                                                         MILFORD              MI 48380‐1249
MARY BATES          3527 APPLEWOOD LN                                                                         GRAND BLANC          MI 48439‐3446
MARY BATES          16201 S STEEL RD                                                                          OAKLEY               MI 48649‐9753
MARY BATESON        623 MAIN STREET                                                                           GROVEPORT            OH 43125‐1420
MARY BATTLE         1701 WOODSLEA DR                                                                          FLINT                MI 48507‐1848
MARY BATVINSKAS     2972 NW 200TH TER                                                                         MIAMI GARDENS        FL 33056‐2003
MARY BAUER          4542 E STATE ROUTE #73                                                                    WAYNESVILLE          OH 45068
MARY BAUER          7550 EDERER RD                                                                            SAGINAW              MI 48609‐5382
MARY BAUER          12352 TUCKAWAY CT                                                                         FISHERS              IN 46037‐3999
MARY BAUER          400 N MAIN ST                                                                             HICKSVILLE           OH 43526‐1125
MARY BAUER‐FABER    9365 EASTWIND DR                                                                          LIVONIA              MI 48150‐4523
MARY BAUMAN         1156 S ALSTOTT DR                                                                         HOWELL               MI 48843‐7825
MARY BAUMGARDNER    38650 CONGRESSIONAL LN                                                                    WILLOUGHBY           OH 44094‐8074
MARY BAUMGART       395 CREDITON ST                                                                           LAKE ORION           MI 48362‐2025
MARY BAYSINGER      215 E 55TH ST                                                                             ANDERSON             IN 46013‐1743
MARY BAZZARELLI     2239 LARCHMONT DR                                                                         WICKLIFFE            OH 44092‐2437
MARY BEADLE         1804 CHARLES ST                                                                           ANDERSON             IN 46013‐2724
MARY BEADY          7 OAKLAND DRIVE                                                                           WHITE HSE STA        NJ 08889‐3652
MARY BEAM           59 MIAMI DR                                                                               NOBLESVILLE          IN 46062‐8817
MARY BEAM           3777 DAVISON RD                                                                           LAPEER               MI 48446‐2865
MARY BEAMAN         525 WALNUT ST                                                                             TIPTON               IN 46072‐1616
MARY BEARD          1827 POPES CHAPEL RD                                                                      THOMPSONS STATION    TN 37179‐9792
MARY BEARD          1608 S BOOTS ST                                                                           MARION               IN 46953‐2227
MARY BEARD          193 BURNS RD                                                                              ELYRIA               OH 44035‐1531
MARY BEARD          1020 E COLONIAL PARK DR                                                                   GRAND LEDGE          MI 48837‐2210
MARY BEARD          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.          OH 44236
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Name                 Address1                           Address2                      Address3   Address4         City            State Zip
MARY BEARDSLEE       2601 NE 14TH STREET CSWY APT 129                                                             POMPANO BEACH    FL 33062‐8302
MARY BEARDSLEY       775 REX BLVD NW                                                                              WARREN           OH 44483‐3162
MARY BEASLEY         1320 W MAIN ST                                                                               UNION            MO 63084‐1084
MARY BEAVER          3966 LENORA CHURCH RD                                                                        SNELLVILLE       GA 30039‐5208
MARY BEAVERS         5317 HAMMOND AVE                                                                             DAYTON           OH 45427‐2924
MARY BECHILL         2988 FARMERS CREEK RD                                                                        METAMORA         MI 48455‐9708
MARY BECK            PO BOX 302                                                                                   GEORGETOWN        IL 61846‐0302
MARY BECK            51 APOLLO AVE                                                                                FLUSHING         MI 48433‐9234
MARY BECKER          3420 MACKINAW ST                                                                             SAGINAW          MI 48602‐3251
MARY BECKER          6614 LONGWORTH DR                                                                            WATERFORD        MI 48329‐1343
MARY BECKMAN         10121 UPPER 205TH ST W                                                                       LAKEVILLE        MN 55044‐8847
MARY BECKNER         1634 W NORTH ST                                                                              KOKOMO           IN 46901‐1951
MARY BECKNER         1333 W MAIN ST                     PRINCETON HEALTH CARE MANOR                               PRINCETON        KY 42445‐6211

MARY BECRAFT         8661 FENTON RD                                                                               GRAND LEDGE     MI   48837
MARY BEDFORD         509 DEBBIE ST                                                                                HAUGHTON        LA   71037‐8969
MARY BEE             1417 GERALD MILLER RD                                                                        WEST BRANCH     MI   48661‐9059
MARY BEER            414 LANE E                                                                                   HAZLET          NJ   07730‐6000
MARY BEERS           1000 WALKER ST LOT 365                                                                       HOLLY HILL      FL   32117‐2560
MARY BEETS           24450 HOSPITAL DR                                                                            PAOLA           KS   66071‐5391
MARY BEGLEY          306 INDIAN MOUND CIR                                                                         JACKSBORO       TN   37757‐2111
MARY BEHELER         219 2ND ST                                                                                   TIPTON          IN   46072‐1811
MARY BELANGEE        1229 SURREY CT APT 4                                                                         GODFREY         IL   62035‐4101
MARY BELASCO         352 RANDOLPH ST                                                                              YOUNGSTOWN      OH   44509‐1124
MARY BELCHER         132 DANIEL AVE                                                                               WESTLAND        MI   48186‐8996
MARY BELEAL          291 RIVER ST                                                                                 ROCHESTER       NY   14612‐4717
MARY BELILL‐TAYLOR   4605 PYLES RD                                                                                CHAPEL HILL     TN   37034‐2638
MARY BELL            740 CENTRAL AVE                                                                              GLENSIDE        PA   19038‐1701
MARY BELL            1642 WOODVIEW LN                                                                             ANDERSON        IN   46011‐1049
MARY BELL            329 E GENESEE ST                                                                             FLINT           MI   48505‐4215
MARY BELL            613 MAYFAIR LN                                                                               NEPTUNE         NJ   07753‐4259
MARY BELL            3806 WASHINGTON BLVD                                                                         UNIVERSITY HT   OH   44118‐3108
MARY BELL            3117 SHABAY DR                                                                               FLUSHING        MI   48433‐2488
MARY BELL            5163 TYLER DR                                                                                TROY            MI   48085‐3497
MARY BELLINGER       1818 N WILLIAMS RD                 C/O KATHLEEN A. MOORE                                     SAINT JOHNS     MI   48879‐8501
MARY BELLISARIO      245 S TILDEN ST                                                                              PONTIAC         MI   48341‐1864
MARY BEMBRY          4843 WESTCHESTER DR APT 303                                                                  YOUNGSTOWN      OH   44515‐2561
MARY BENARD          619 WATERCREST DR                                                                            HAINES CITY     FL   33844‐6343
MARY BENCIVENGO      7221 NORTHVIEW DR                                                                            BROOKFIELD      OH   44403‐9670
MARY BENDER          2226 MASONIC DR                                                                              SEWICKLEY       PA   15143
MARY BENDER          493 BULLIS RD                                                                                WEST SENECA     NY   14224‐2511
MARY BENKERT         3399 SHANE CT                                                                                FREELAND        MI   48623‐8822
MARY BENNETT         608 LONSVALE DR                                                                              ANDERSON        IN   46013‐3215
MARY BENNETT         34106 FOUNTAIN BLVD                                                                          WESTLAND        MI   48185‐9425
MARY BENNETT         707 ASH ST                                                                                   OWOSSO          MI   48867‐3366
MARY BENNETT         3401 NATHAN CIR                                                                              SHREVEPORT      LA   71108‐5343
MARY BENNETT         2641 FLINT RIVER RD                                                                          LAPEER          MI   48446‐9100
MARY BENNETT         107 3RD AVE NW                                                                               WINCHESTER      TN   37398‐1661
MARY BENNETT         2717 OLIVER ST                                                                               FORT WAYNE      IN   46806‐3727
MARY BENOWSKJ        1322 JAMES ST                                                                                BALTIMORE       MD   21223‐3618
MARY BENSON          1221 KESSLER BOULEVARD EAST DR                                                               INDIANAPOLIS    IN   46220‐2685
MARY BENTLEY         22151 WESTHAMPTON ST                                                                         OAK PARK        MI   48237‐3805
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Name                 Address1                      Address2            Address3         Address4         City             State Zip
MARY BENTLEY         436 PIEDMONT RD                                                                     HULL              GA 30646‐4025
MARY BENTLEY         761 IDLEWOOD AVE                                                                    SHEFFIELD LAKE    OH 44054‐1226
MARY BENTON          5505 HIGHWAY 197 S                                                                  CLARKESVILLE      GA 30523‐6515
MARY BENTS           2413 HILLFORD DR                                                                    BALTIMORE         MD 21234‐2641
MARY BERARDI         133 CONGRESS AVE                                                                    ROCHESTER         NY 14611‐4031
MARY BERENDS         9475 IVANREST AVE SW                                                                BYRON CENTER      MI 49315‐8551
MARY BERENDSEN       225 6TH AVE                                                                         DAYTON            KY 41074‐1113
MARY BERG            316 CLUSTER ST                                                                      FOLEY             AL 36535‐2337
MARY BERGEN          8 TRENTON AVE                                                                       MERCERVILLE       NJ 08619‐1923
MARY BERGMAN         1601 W GILFORD RD B300                                                              CARO              MI 48723
MARY BERGMANN        186 HOSMER ST                                                                       MARLBOROUGH       MA 01752‐2382
MARY BERKEMEYER      1013 CLEARVUE DR                                                                    ALDEN             NY 14004‐9562
MARY BERNAL          9301 W 55TH ST                                                                      MC COOK            IL 60525‐3214
MARY BERNER          115 DAWSON ST                                                                       MASON             OH 45040‐1907
MARY BERNER          338 MICHIGAN ST                                                                     LOCKPORT          NY 14094‐1725
MARY BERRY           1743 OAK DRIVE                                                                      SARDIS CITY       AL 35956‐2603
MARY BERTKE          2120 EMMONS AVE                                                                     DAYTON            OH 45420‐2808
MARY BERTKE          807 CARLISLE AVE                                                                    DAYTON            OH 45410‐2901
MARY BESANCON        4850 S DUCK LAKE RD                                                                 COMMERCE TWP      MI 48382‐1336
MARY BESAW‐HAYWOOD   7035 ROSEWOOD DR                                                                    FLUSHING          MI 48433‐2280
MARY BEST            2345 RADER RIDGE RD                                                                 ANTIOCH           TN 37013‐1832
MARY BEST            703 N 650 W                                                                         ANDERSON          IN 46011‐9310
MARY BESTER          3202 ROON THE BEN                                                                   ANN ARBOR         MI 48108‐2085
MARY BETETTE         7 MERRYDALE DR                                                                      ROCHESTER         NY 14624‐2915
MARY BETH COBBS      660 WOODWARD AVE STE 1650                                                           DETROIT           MI 48226‐3519
MARY BETH FEE        2904 VAN WYE ST SE                                                                  WARREN            OH 44484‐5417
MARY BETH FUNKE      28689 WALES                                                                         CHESTERFIELD      MI 48047
MARY BETH NATOLI     1010 HAWKS LANDING DR                                                               LAKE ST LOUIS     MO 63367‐1833
MARY BETH POLIDOR    1530 PRATT RD                                                                       METAMORA          MI 48455‐8917
MARY BETH SIEMSEN    4993 THOMPSON RD                                                                    HERMANTOWN        MN 55811
MARY BETH SLOAN      1100 17TH AVE UNIT 104                                                              SEATTLE           WA 98122‐4608
MARY BETTISON        5647 WAKESHIRE CT                                                                   TROTWOOD          OH 45426‐1109
MARY BETTYS          PO BOX 6036                                                                         MOORE             OK 73153‐0036
MARY BEVELAQUA       PO BOX 237                                                                          GIRARD            OH 44420‐0237
MARY BEVERAGE        8941 DORAL DR                                                                       MENTOR            OH 44060‐2104
MARY BEVERLY         51 TUGALO PT                                                                        LAVONIA           GA 30553‐2478
MARY BEVINGTON       348 LEISURE DR APT 4                                                                BROOKVILLE        OH 45309‐1240
MARY BEY             4427 LESLEY AVE                                                                     INDIANAPOLIS      IN 46226‐3357
MARY BEYERS          5179 HAUGHEY AVE SW                                                                 WYOMING           MI 49548‐5665
MARY BEZOKAS         49 BOSTON RD APT 11A                                                                SOUTHBOROUGH      MA 01772‐1657
MARY BIANCA          72 BECKER AVE                                                                       KENSINGTON        CT 06037‐1330
MARY BIBUS           435 EAST EDWARDS AVENUE                                                             BLACKWELL         OK 74631‐4953
MARY BICK            1269 COUNTY ROAD 12                                                                 FREMONT           OH 43420‐8619
MARY BICKERS         24200 LATHRUP BLVD APT 105                                                          SOUTHFIELD        MI 48075‐2858
MARY BIDDLE          4308 BROWN ST                                                                       ANDERSON          IN 46013‐4451
MARY BIDINGER        528 BARBARA WAY                                                                     TARPON SPRINGS    FL 34689‐6811
MARY BIEGANOWSKI     1225 NOTTINGHAM DR                                                                  LAPEER            MI 48446‐1563
MARY BIELER          1 COUNTRY LN RM L101                                                                BROOKVILLE        OH 45309‐7208
MARY BIGENHO         51147 STATE ST                                                                      BELLEVILLE        MI 48111‐4423
MARY BIGGS           636 SO. MIAMI ST APT 1‐5                                                            WEST MILTON       OH 45383
MARY BIGSBY          575 JONES RD                                                                        AUBURNDALE        FL 33823‐2408
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Name                    Address1                          Address2                           Address3    Address4          City             State Zip
MARY BILAND             APT 208                           1205 SAINT CLAIR RIVER DRIVE APT                                 ALGONAC           MI 48001‐1469
                                                          208
MARY BILBREY            6565 S MILL RD                                                                                     SPICELAND        IN   47385‐9611
MARY BILLETT            8393 COURT AVE                                                                                     HAMLIN           WV   25523‐1327
MARY BILLINGS           13269 LAKE POINT BLVD                                                                              BELLEVILLE       MI   48111
MARY BILLINGTON         1139 WOODLOW ST                                                                                    WATERFORD        MI   48328‐1359
MARY BINDSCHATEL        3478 LAUREL AVE                                                                                    BURTON           MI   48529‐1368
MARY BIRD               PO BOX 681                                                                                         GREENFIELD       IN   46140‐0681
MARY BIRGE              501 N MADISON ST                                                                                   FORTVILLE        IN   46040‐1148
MARY BIRKES             10448 MOVILLA HILLS DR                                                                             SAND SPRINGS     OK   74063‐8346
MARY BIROS              924 PINECREST RD                                                                                   GIRARD           OH   44420‐2153
MARY BITTINGER          333 S FENTON AVE                                                                                   INDIANAPOLIS     IN   46219‐7810
MARY BIVINS             51 S NAPOLEON AVE APT B                                                                            COLUMBUS         OH   43213‐1663
MARY BLACK              109 WIDMER ST                                                                                      DEFIANCE         OH   43512‐1843
MARY BLACK              4503 SUPERIOR RD                                                                                   INDIANAPOLIS     IN   46221‐2582
MARY BLACKBURN          1504 BURNSIDE RD                                                                                   NORTH BRANCH     MI   48461‐9737
MARY BLACKBURN          426 WILLINGHAM ROAD                                                                                MORRISVILLE      NC   27560‐7475
MARY BLACKBURN          7313 W 89TH TER                                                                                    OVERLAND PARK    KS   66212‐2030
MARY BLACKBURN          1508 LAYDEN COVE WAY                                                                               VIRGINIA BEACH   VA   23454
MARY BLACKSTOCK         5680 TIPSICO LAKE RD                                                                               HOLLY            MI   48442‐9126
MARY BLAIR              447 W MEYERS AVE                                                                                   HAZEL PARK       MI   48030‐3515
MARY BLAIR              167 JORDAN AVE                                                                                     LONDON           KY   40744‐6302
MARY BLAIR              1015 DARLING ST                                                                                    FLINT            MI   48532‐5032
MARY BLAIR              PO BOX 53                         109 GROVE ST                                                     FREDONIA         KY   42411‐0053
MARY BLAIR              2732 MEADOW PARK DR                                                                                DAYTON           OH   45440‐1441
MARY BLAIR              104 SE 2ND ST                                                                                      BLUE SPRINGS     MO   64014‐3100
MARY BLAIR              258 GOVERNOR ST APT 3                                                                              PATERSON         NJ   07501
MARY BLAKE              700 TAPESTRY LN                                                                                    DAYTON           OH   45426‐3734
MARY BLAKE              5731 N. 25TH DR.                                                                                   PHOENIX          AZ   85017
MARY BLAKE              5731 N. 25TH DR.                  MYADDRESS2                         MYADDRESS   MYADDRESS         PHOENIX          AZ   85017
MARY BLAKELY            1520 W MAIN ST                                                                                     GATESVILLE       TX   76528‐1025
MARY BLAKENEY
MARY BLANCHE CASHMORE   14915 WOODBRIAR DRIVE                                                                              DALLAS           TX   75248
MARY BLAND              19 SHADOWBROOK DR                                                                                  POPLAR BLUFF     MO   63901‐8753
MARY BLANGY             7535 W 00NS                                                                                        KOKOMO           IN   46901
MARY BLANKENSHIP        351 KIRKWOOD DR                                                                                    VANDALIA         OH   45377‐1940
MARY BLANKENSHIP        1706 DIAMOND DR                                                                                    ORLANDO          FL   32807‐6320
MARY BLANKENSHIP        3075 DIX HWY TRLR A37                                                                              LINCOLN PARK     MI   48146‐4815
MARY BLASIUS            20380 VILLA GRANDE CIR                                                                             CLINTON TWP      MI   48038‐5310
MARY BLASSINGALE        1385 E 95TH ST                                                                                     CLEVELAND        OH   44106‐4002
MARY BLASSINGAME        1505 S FRANKLIN AVE                                                                                FLINT            MI   48503‐6417
MARY BLAVATT            45785 MEADOWS CIR W                                                                                MACOMB           MI   48044‐3910
MARY BLAZINAR           BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.      OH   44236
MARY BLEDSOE            1203 NE 72ND TER                                                                                   GLADSTONE        MO   64118‐2112
MARY BLEDSOE            759 HILLCREST AVE                                                                                  CARLISLE         OH   45005‐3363
MARY BLENK              58 SATINWOOD DR                                                                                    CHEEKTOWAGA      NY   14225‐3716
MARY BLEVINS            807 AUBURN ST                                                                                      MIDDLETOWN       OH   45042‐2245
MARY BLEVINS            51 B SHAKER RUN ROAD                                                                               LEBANON          OH   45036
MARY BLEVINS            PO BOX 340                        C/O ENGLEWOOD MANOR                                              ENGLEWOOD        OH   45322‐0340
MARY BLEVINS            534 W DUNTON AVE                                                                                   ORANGE           CA   92865‐2148
MARY BLEVINS            8471 COOK RD                                                                                       SWARTZ CREEK     MI   48473‐9194
MARY BLISS              12635 CHAREST ST                                                                                   DETROIT          MI   48212‐2280
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Name                   Address1                          Address2                      Address3   Address4         City              State Zip
MARY BLISSETT          4280 HINDSBURG RD                                                                           HOLLEY             NY 14470‐9012
MARY BLOCKER           PO BOX 313                                                                                  VAIDEN             MS 39176‐0313
MARY BLOCKSMA          1101 5TH ST                                                                                 BAY CITY           MI 48708‐6031
MARY BLOOD             1755 W 35TH ST                                                                              STEGER              IL 60475‐1494
MARY BLOOMER           1439 MULLANE ST                                                                             DETROIT            MI 48209‐3429
MARY BLOSS             2265 E LAKE RD                                                                              CLIO               MI 48420‐9175
MARY BLOUGH            4 LESLIE CT                                                                                 FLEMINGTON         NJ 08822‐3411
MARY BLOUNT            42 SPRUCE ST                                                                                VIBURNUM           MO 65566‐8612
MARY BLY               408 BEACHSIDE BLVD                                                                          CHIPPEWA LAKE      OH 44215‐9720
MARY BOARDWINE         BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.        OH 44236
MARY BOBERG            950 W DAVISON LAKE RD                                                                       OXFORD             MI 48371‐1120
MARY BOCOOK            4036 TURKEY FOOT RD                                                                         WHEELERSBURG       OH 45694‐8610
MARY BODIFORD          1120 N JENISON AVE                                                                          LANSING            MI 48915‐1414
MARY BODKIN            1150 SWOPE ST APT A                                                                         GREENFIELD         IN 46140‐1395
MARY BODKIN            57 CENTER ST                      LOWER MIDDLE                                              LACKAWANNA         NY 14218‐1307
MARY BODKIN            650 SHERRIE LN                                                                              LORAIN             OH 44053‐3853
MARY BODNAR            3441 W PLEASANT VALLEY RD                                                                   PARMA              OH 44134‐5909
MARY BOGGAN            820 N CLYDE MORRIS BLVD                                                                     DAYTONA BEACH      FL 32117‐4594
MARY BOGGS             1638 GONDERT AVE                                                                            DAYTON             OH 45403‐3330
MARY BOHLAND           1075 MAUMEE AVE                                                                             MANSFIELD          OH 44906‐2947
MARY BOHLENDER         RTR 280 WALDENWAY APT 513                                                                   DAYTON             OH 45440
MARY BOHN              23411 CIVIC CENTER DR                                                                       SOUTHFIELD         MI 48033‐2653
MARY BOLAND ROTH IRA   C/O MARY BOLAND                   34111 STAGECOACH BLVD                                     EVERGREEN          CO 80439
MARY BOLDEN            131 GOODING ST                                                                              LOCKPORT           NY 14094‐2203
MARY BOLEDOUIC         6540 GRAYFRIAR DR                                                                           BROOK PARK         OH 44142‐1255
MARY BOLES             520 N 25TH ST                                                                               ELWOOD             IN 46036‐1645
MARY BOLIN             2121 N APPERSON WAY                                                                         KOKOMO             IN 46901‐1421
MARY BOLINGER          10206 EAST 100 SOUTH                                                                        LAFAYETTE          IN 47905‐9466
MARY BOLLING           2647 KERRIA DR                                                                              HOWELL             MI 48855‐6456
MARY BOLOGNA           14048 ELLEN DR                                                                              LIVONIA            MI 48154‐5347
MARY BOLT              2214 FAIRFAX RD                                                                             LANSING            MI 48910‐2418
MARY BOLTON            109 WAVEWOOD CT                                                                             PRUDENVILLE        MI 48651‐9419
MARY BOND              6163 E FALMOUTH RD                                                                          FALMOUTH           MI 49632‐9671
MARY BOND              310 PROVIDENCE DR                                                                           MATTESON            IL 60443‐1194
MARY BONDANK           4911 KIMBALL AVE                                                                            KANSAS CITY        KS 66104‐2341
MARY BONDARCHUK        802 S.E. 7TH STREET, APT.E 203                                                              DEERFIELD BCH      FL 33441
MARY BONNER            2565 PYRAMID PINES DR                                                                       HENDERSON          NV 89052‐5603
MARY BONNER            APT 228                           3085 NORTH GENESEE ROAD                                   FLINT              MI 48506‐2192
MARY BONNER            5571 FAIRVIEW ST                                                                            DETROIT            MI 48213‐3410
MARY BONNEY            3755 AUBURN AVE NE                                                                          GRAND RAPIDS       MI 49525‐2237
MARY BOOKER            3 FERNRIDGE DR                                                                              SAINT PETERS       MO 63376‐3017
MARY BOOKMAN           3612 CHILDRESS ST                                                                           FORT WORTH         TX 76119‐3538
MARY BOOTH             406 BROOK STREET                                                                            EATON RAPIDS       MI 48827‐1114
MARY BOOTS‐WATSON      4666 COUNTRY CT                                                                             ANDERSON           IN 46012‐9700
MARY BORDERS           2850 SPRINGDALE RD SW             SUN BRIDGE CARE & REHAB FOR                               ATLANTA            GA 30315‐7802
                                                         ATLANTA
MARY BORHAM            PO BOX 1477                                                                                 SULPHUR SPRINGS   TX   75483‐1477
MARY BOROUGHF          2320 BARSTOW RD                                                                             LANSING           MI   48906‐3772
MARY BORR              3828 DIVISION ST                                                                            WAYLAND           MI   49348‐9753
MARY BORROR            HC 32 BOX 445                                                                               PETERSBURG        WV   26847‐9612
MARY BOSBEN            544 S MAIN ST                                                                               JANESVILLE        WI   53545‐4848
MARY BOSCARINO         307 OVERVIEW CIR                                                                            GREENSBURG        PA   15601‐1275
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Name               Address1                        Address2            Address3         Address4         City               State Zip
MARY BOSLETT       4220 N BOND ST                                                                        KINGMAN             AZ 86409‐2575
MARY BOSLEY        BOX 14918 CLIFTON AVE                                                                 BATAVIA             NY 14021
MARY BOSWELL       4290 WALT STEPHENS RD                                                                 STOCKBRIDGE         GA 30281‐4215
MARY BOTTOMS       7411 BROCKWAY ST                                                                      MOUNT MORRIS        MI 48458‐2924
MARY BOUCKAERT     5440 N HURON RD                                                                       PINCONNING          MI 48650‐6400
MARY BOULDEN       1520 N 200 E                                                                          NORTH LOGAN         UT 84341‐2394
MARY BOURGET       3500 W JEFFERSON AVE TRLR 36                                                          TRENTON             MI 48183‐4214
MARY BOUTWELL      1005 27TH ST                                                                          NICEVILLE           FL 32578‐2718
MARY BOUWMA        426 OTTER CREEK DR                                                                    VENICE              FL 34292‐5321
MARY BOVARD        4205 NW 57TH TER                                                                      KANSAS CITY         MO 64151‐2605
MARY BOWDEN        1400 CEDAR CIR                                                                        LENOIR CITY         TN 37772‐5908
MARY BOWEN         1313 HELEN AVE                                                                        LIMA                OH 45801‐2717
MARY BOWENS        3660 NW 28TH CT                                                                       LAUDERDALE LAKES    FL 33311‐1839
MARY BOWER         5370 MARTUS RD                                                                        NORTH BRANCH        MI 48461‐8577
MARY BOWLES        PO BOX 326                                                                            SCARBRO             WV 25917‐0326
MARY BOWLING       3629 MAIN ST                                                                          ANDERSON            IN 46013‐4247
MARY BOWMAN        PO BOX 814                                                                            YOUNGSTOWN          OH 44501‐0814
MARY BOWMAN        437 NEW BURLINGTON RD                                                                 WILMINGTON          OH 45177‐9660
MARY BOWMAN        3100 SOUTH KINNEY RD            #14                                                   TUCSON              AZ 85713
MARY BOWSER        425 ARLINGTON RD APT 14         ARLINGTON ARMS                                        BROOKVILLE          OH 45309‐1134
MARY BOX           2469 HEATHER GLEN CT APT 7                                                            DAYTON              OH 45431‐5630
MARY BOYD          3460 MONTVALE DR                                                                      GAINESVILLE         GA 30506‐1033
MARY BOYD          1842 N 32ND ST                                                                        KANSAS CITY         KS 66104‐4330
MARY BOYD          1906 EDGEWOOD DR                                                                      DEFIANCE            OH 43512‐3627
MARY BOYD          2806 JEROME AVE                                                                       DAYTON              OH 45408‐1135
MARY BOYER         PO BOX 324                                                                            INGALLS             IN 46048‐0324
MARY BOYER         18220 CHERRYLAWN ST                                                                   DETROIT             MI 48221‐2014
MARY BOYER         5628 HARSCHEL DR                                                                      TOLEDO              OH 43623‐1726
MARY BOYER         3924 WALNUT ST                                                                        ANDERSON            IN 46013‐4610
MARY BOYER         9281 SUE LN                                                                           SWARTZ CREEK        MI 48473‐8548
MARY BOZARD        2102 KYRA DRIVE                 APT 1                                                 LAFAYETTE           IN 47909
MARY BOZZO         1148 SARKIES DR NE                                                                    WARREN              OH 44483‐4258
MARY BRABOY        34934 DONNELLY ST                                                                     WESTLAND            MI 48185‐3511
MARY BRACKENRICH   7625 ATHLONE DR                                                                       BRIGHTON            MI 48116‐8847
MARY BRADFORD      409 N EDGEWAY DR                                                                      ALEXANDRIA          IN 46001‐1605
MARY BRADLEY       7532 CAMELBACK DR                                                                     INDIANAPOLIS        IN 46250‐1834
MARY BRADSHAW      4517 POWELL RD                                                                        DAYTON              OH 45424‐5840
MARY BRADSHAW      PO BOX 452                                                                            BRIDGEPORT          MI 48722‐0452
MARY BRADY         3993 W US HIGHWAY 12 APT 1                                                            CLINTON             MI 49236‐8706
MARY BRADY         3085 N GENESEE RD APT 232                                                             FLINT               MI 48506‐2192
MARY BRADY         2264 GREENWOOD RD                                                                     LUPTON              MI 48635‐9790
MARY BRANCH        2089 W COLDWATER RD                                                                   FLINT               MI 48505‐4803
MARY BRANCH        624 N JUNIPER AVE                                                                     MIDWEST CITY        OK 73130‐2605
MARY BRANCO        21235 HATHAWAY AVE                                                                    HAYWARD             CA 94541‐3730
MARY BRANDON       39107 NOTTINGHAM DR                                                                   ROMULUS             MI 48174‐6326
MARY BRANNIGAN     2501 STATE RD                                                                         CROYDON             PA 19021‐6952
MARY BRANSFORD     6205 65TH CT E                                                                        PALMETTO            FL 34221‐9316
MARY BRANTLEY      4153 VAN CLEAVE ROAD                                                                  MURRAY              KY 42071‐6011
MARY BRASHEAR      9601 VIEW HIGH DR                                                                     KANSAS CITY         MO 64134‐2344
MARY BRASS         1970 DODGE RD                                                                         EAST AMHERST        NY 14051‐1304
MARY BRASS         302 N LINCOLN ST                                                                      GALVESTON           IN 46932‐9787
MARY BRATTEN       1908 RUSSELL COURT                                                                    MIAMISBURG          OH 45342‐6796
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Name                                Address1                          Address2                     Address3              Address4              City               State Zip
MARY BRAUER CONNELLY                MARY BRAUER‐CONNELLY TTEE         MARY BRAUER‐CONNELLY TRUST   U/A DTD 3/17/97 AMA   5112 W TIMBERVUE CT   PEORIA               IL 61615‐2204
                                                                                                   ACCOUNT
MARY BRAY                             6240 GARBER RD                                                                                           DAYTON             OH   45415‐2010
MARY BRAZASKI                         3443 MINNIE AVE SW                                                                                       WYOMING            MI   49519‐3380
MARY BRAZIEL                          1248 NEBRASKA AVE                                                                                        TOLEDO             OH   43607‐4156
MARY BRAZLE                           8135 VANADIA DR                                                                                          MOUNT MORRIS       MI   48458‐9710
MARY BRDEK                            455 CHAMPION‐BRISTOL RD                                                                                  BRISTOLVILLE       OH   44402
MARY BRECHUE                          261 LOCK ST                                                                                              LOCKPORT           NY   14094‐2255
MARY BREEDEN                          665 OLD 49 HWY                                                                                           ERIN               TN   37061‐5263
MARY BREIDENBAUGH                     761 W SPRING VALLEY PIKE                                                                                 CENTERVILLE        OH   45458‐3620
MARY BRENNAN                          58 FOXWOOD DR                                                                                            SOMERSET           NJ   08873‐1726
MARY BRENNAN                          5628 S MILLER ST                                                                                         WINAMAC            IN   46996‐8576
MARY BRENNAN                          28899 WESTFIELD ST                                                                                       LIVONIA            MI   48150‐3136
MARY BRENNAN                          PO BOX 15                                                                                                NORWALK            OH   44857‐0015
MARY BRESLER                          1769 CICOTTE AVE                                                                                         LINCOLN PARK       MI   48146‐1304
MARY BRETT                            409 MELLOWOOD DR                                                                                         INDIANAPOLIS       IN   46217‐4979
MARY BREWER                           804 AERONCA ST                                                                                           MIDDLETOWN         OH   45042‐3330
MARY BREWER                           4513 COMMONWEALTH DR APT A                                                                               INDIANAPOLIS       IN   46220‐4747
MARY BREWER                           4910 MARCY RD                                                                                            W CARROLLTON       OH   45449‐2745
MARY BREWER                           561 HILL AVE                                                                                             FAIRFIELD          OH   45014‐1021
MARY BREWSTER                         5057 SHANKS PHALANX RD                                                                                   NEWTON FALLS       OH   44444‐9572
MARY BRICE                            169 VICTORY DR                                                                                           PONTIAC            MI   48342‐2564
MARY BRICKEY                          8145 BURN CT                                                                                             INDIANAPOLIS       IN   46217‐4974
MARY BRIDGEMAN                        116 MEADOW DR APT 4C                                                                                     CUMMING            GA   30040‐2668
MARY BRIDGES                          24236 NORFOLK ST                                                                                         DETROIT            MI   48219‐1056
MARY BRIDGES                          162 SFC 116                                                                                              PALESTINE          AR   72372‐8801
MARY BRIDGES                          30149 HANOVER BLVD                                                                                       WESTLAND           MI   48186‐7328
MARY BRIDGES LIVING TRUST DTD 3/11/99 MARY BRIDGES TTEE               5000 CENTRAL AVENUE #25                                                  HOT SPRINGS        AR   71913‐9612

MARY BRIERLY TTEE DELUCCHI FAMILY   MARY BRIERLY                      4618 HERON LAKES DR                                                      STOCKTON           CA 95219
CREDIT SHELTER TRUST
MARY BRIGGS                         6405 JACKSON ST                                                                                            INDIANAPOLIS       IN   46241‐1028
MARY BRIGHT                         9 ONEIDA DR                                                                                                FORT MYERS BEACH   FL   33931‐2413
MARY BRIGHT                         355 JENNINGS MILL PKWY APT 1302                                                                            ATHENS             GA   30606‐7282
MARY BRIGHT                         12294 W 250 S                                                                                              RUSSIAVILLE        IN   46979‐9767
MARY BRIGOLIN                       17104 PENROD DR                                                                                            CLINTON TOWNSHIP   MI   48035‐1237
MARY BRILL                          260 LOWER RD                                                                                               CONSTANTIA         NY   13044‐2617
MARY BRINCKO                        8409 SOUTH AVE                                                                                             YOUNGSTOWN         OH   44514‐3619
MARY BRINGOLD                       4608 S ISABELLA RD APT 102                                                                                 MT PLEASANT        MI   48858‐7059
MARY BRINK                          W5315 EMERSON RD                                                                                           MAUSTON            WI   53948‐9286
MARY BRINKLEY                       833 FRANK ST                                                                                               FLINT              MI   48504‐4858
MARY BRISTOL‐BUTLER                 2022 CRESTVIEW ST                                                                                          JANESVILLE         WI   53546‐5743
MARY BRITA                          21 TREMONT ST                                                                                              MARLBOROUGH        MA   01752‐4124
MARY BRITTON                        3925 E 550 S                                                                                               LEBANON            IN   46052‐8137
MARY BROCK                          PO BOX 1893                                                                                                BOWLING GREEN      KY   42102‐1893
MARY BROCKELL                       355 JOERSCHKE DR                  C/O SPRING HILL MANOR                                                    GRASS VALLEY       CA   95945‐5288
MARY BRODWOLF                       1031 CHASE AVE                                                                                             HAMILTON           OH   45015‐1818
MARY BRODZINSKI                     54770 BURLINGTON DR                                                                                        SHELBY TWP         MI   48315‐1603
MARY BROLINSKI                      4275 PURDY RD                                                                                              LOCKPORT           NY   14094‐1033
MARY BRONSON                        424 OLIVE AVE                                                                                              FREMONT            CA   94539‐5266
MARY BRONSON                        13182 42ND AVE                                                                                             CHIPPEWA FALLS     WI   54729
MARY BROO                           PO BOX 164                        1555 N MAIN ST                                                           FRANKFORT          IN   46041‐0164
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Name              Address1                        Address2             Address3        Address4         City               State Zip
MARY BROOKS       1691 ROCKBRIDGE RD                                                                    STONE MOUNTAIN      GA 30087‐3324
MARY BROOKS       4841 CASA BONITA CT                                                                   BONITA              CA 91902
MARY BROOKS       2324 BRADFORD DR                                                                      FLINT               MI 48507‐4404
MARY BROOKS       20211 DERBY ST                                                                        DETROIT             MI 48203‐1188
MARY BROOKS       134 ROBINS BRANCH RD.                                                                 ALTOONA             AL 35952
MARY BROOM        5918 PERSHING AVE                                                                     SAINT LOUIS         MO 63112‐1514
MARY BROOMFIELD   156 LAWRENCE ST APT 28          WOODLAWN COMMONS                                      SARATOGA SPRINGS    NY 12866‐1349
MARY BROUGHTON    71 MAPLE TER                                                                          BATTLE CREEK        MI 49017‐4713
MARY BROWER       41 THERESA CIR                                                                        EATON               OH 45320‐1051
MARY BROWN        13533 STONEGATE DR APT 3                                                              STERLING HEIGHTS    MI 48312‐6483
MARY BROWN        1485 S SCHUMAN ST                                                                     WESTLAND            MI 48186‐4566
MARY BROWN        880 ROSE CIR SW                                                                       ATLANTA             GA 30310‐2736
MARY BROWN        PO BOX 81112                                                                          LANSING             MI 48908‐1112
MARY BROWN        16107 HAUSS AVE                                                                       EASTPOINTE          MI 48021‐1178
MARY BROWN        11269 NE 37TH PL                                                                      BELLEVUE            WA 98004‐7594
MARY BROWN        2124 HOWARD AVE                                                                       FLINT               MI 48503‐5809
MARY BROWN        PO BOX 214256                                                                         AUBURN HILLS        MI 48321‐4256
MARY BROWN        18572 DALE ST                                                                         DETROIT             MI 48219‐2242
MARY BROWN        1711 MAPLE SHADE LN                                                                   RICHMOND            VA 23227‐4316
MARY BROWN        6773 WILLOW CREEK DR                                                                  DAYTON              OH 45424‐2490
MARY BROWN        4104 LARKSPUR DR                                                                      DAYTON              OH 45406‐3421
MARY BROWN        936 SHADY LN                                                                          WARSAW              IN 46580‐5043
MARY BROWN        714 E NORTH ST                                                                        KOKOMO              IN 46901‐3053
MARY BROWN        2238 BENSLEY ST                                                                       HENDERSON           NV 89044‐0185
MARY BROWN        10157 DELAWARE PARK                                                                   OZAWKIE             KS 66070‐5164
MARY BROWN        PO BOX 444                                                                            SPRINGFIELD         SC 29146‐0444
MARY BROWN        451 E COLLEGE ST                                                                      OBERLIN             OH 44074‐1318
MARY BROWN        2290 CHELMSFORD CT                                                                    DULUTH              GA 30096‐5664
MARY BROWN        PO BOX 144                                                                            LA BELLE            PA 15450‐0144
MARY BROWN        9929 W CAMDEN AVE                                                                     SUN CITY            AZ 85351‐4519
MARY BROWN        1126 ELDERON DR                                                                       WILMINGTON          DE 19808‐1923
MARY BROWN        143 BASIL AVE                                                                         CHESAPEAKE CITY     MD 21915‐1108
MARY BROWN        124 PEDDLERS LANE               PO BOX 75                                             EARLEVILLE          MD 21919
MARY BROWN        2704 STEWART AVE                                                                      KANSAS CITY         KS 66104‐4312
MARY BROWN        6601 W 128TH ST APT 108                                                               OVERLAND PARK       KS 66209‐3891
MARY BROWN        931 NW US HIGHWAY 50                                                                  CENTERVIEW          MO 64019‐9271
MARY BROWN        1909 PLYMOUTH DR N                                                                    IRVING              TX 75061‐2016
MARY BROWN        13022 RAMBLING OAK                                                                    SAN ANTONIO         TX 78232‐5162
MARY BROWN        1208 NEAPOLITAN RD                                                                    PORT CHARLOTTE      FL 33983‐6108
MARY BROWN        1500 HAMPSHIRE PIKE APT F2                                                            COLUMBIA            TN 38401‐5699
MARY BROWN        PO BOX 25                                                                             FREDONIA            KY 42411‐0025
MARY BROWN        1100 HAVENWOOD LN                                                                     LAKE FOREST          IL 60045
MARY BROWN        3800 LENOX DR                                                                         KETTERING           OH 45429‐1540
MARY BROWN        2128 FRUEH ST                                                                         SAGINAW             MI 48601‐4107
MARY BROWN        111 TOWER RD NE APT 726                                                               MARIETTA            GA 30060‐6998
MARY BROWN        449 S. MAIN                                                                           LIMA                OH 45804
MARY BROWN        207 GARDEN PARK DR                                                                    NICHOLASVILLE       KY 40356‐2047
MARY BROWN        2832 SHERER AVE                                                                       DAYTON              OH 45414‐4934
MARY BROWN        2721 CANDLER PT SW                                                                    MARIETTA            GA 30064‐4268
MARY BROWN, LLP   RYAN C. GREEN                   71 S. WACKER DRIVE                                    CHICAGO              IL 60606
MARY BRUCE        2420 WHITTIER ST                                                                      SAGINAW             MI 48601‐2449
MARY BRUCE        3320 MONTEREY ST                                                                      DETROIT             MI 48206‐1041
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Name               Address1                       Address2                       Address3   Address4         City              State Zip
MARY BRUCE         4020 NORTHWEST AVE APT 310                                                                BELLINGHAM         WA 98226‐9088
MARY BRUEGGEMAN    46 MAYVILLE AVE                                                                           KENMORE            NY 14217‐1821
MARY BRUMETTE      2901 BANNING RD APT 10                                                                    CINCINNATI         OH 45239
MARY BRUMLEY       3930 BINGHAM DR                                                                           HARRAH             OK 73045‐5966
MARY BRUNETTE      4 LORRAINE PL                                                                             ROCHESTER          NY 14606‐1143
MARY BRUNO         1575 ERB DR                                                                               ASTON              PA 19014‐1010
MARY BRUNO         29 HILLCREST AVE                                                                          CORTLANDT MANOR    NY 10567‐1147
MARY BRUNTON       3184 ROSELAWN DR                                                                          NILES              OH 44446‐1338
MARY BRUSH         228 LAKEVIEW CT                                                                           BEAVERTON          MI 48612
MARY BRUTTO        408 KINGS HWY                                                                             WYANDOTTE          MI 48192‐2410
MARY BRYAN         APT 103                        25720 SOUTHFIELD ROAD                                      SOUTHFIELD         MI 48075‐1842
MARY BRYANT        128 ALLEN LN                                                                              GREENFIELD         IN 46140‐1303
MARY BRYANT        204 N BOWMAN AVE                                                                          DANVILLE            IL 61832‐5924
MARY BRYANT        647 TALLMADGE RD                                                                          CUYAHOGA FALLS     OH 44221‐4011
MARY BRYANT        11 WOODBURY DR                                                                            MONROE             LA 71202‐5134
MARY BRYANT        900 87TH AVE                                                                              OAKLAND            CA 94621‐1646
MARY BRYANT        3338 DUNES CIR                                                                            MONTGOMERY         TX 77356‐5387
MARY BRYANT        336 OLYMPIC AVE                                                                           BUFFALO            NY 14215‐2747
MARY BRYANT        210 CIRCLE AVE APT 305                                                                    FOREST PARK         IL 60130‐1363
MARY BRYANT        1884 VIOLA                     BOX 565                                                    ORTONVILLE         MI 48462
MARY BRZECZEK      10716 CRESTVIEW RD                                                                        COUNTRYSIDE         IL 60525‐4803
MARY BUCHANAN      1101 DIAMANTE                                                                             RIO VISTA          CA 94571‐5146
MARY BUCHLER       771 HILLCREST DR                                                                          BOON               MI 49618‐9728
MARY BUCK          1525 S MAPLE AVE                                                                          FAIRBORN           OH 45324‐3426
MARY BUCK          302 E YORK AVE                                                                            FLINT              MI 48505‐2149
MARY BUCK          5852 PEERY AVE                                                                            KANSAS CITY        MO 64126‐2044
MARY BUCKNER       903 CASTALIA ST                                                                           BELLEVUE           OH 44811‐1126
MARY BUCKNER       PO BOX 311101                                                                             FLINT              MI 48531‐1101
MARY BUCKNER       35 W WESTFIELD ST                                                                         ECORSE             MI 48229‐1535
MARY BUCZEK        4081 DAYBROOK DR                                                                          BAY CITY           MI 48706‐2421
MARY BUDA          C/O STEPHEN R BUDA             HARRIS HILL NURSING FACILITY                               WILLIAMSVILLE      NY 14221
MARY BUFFINGTON    3224 HANNA RANCH BLVD                                                                     FORT WORTH         TX 76140‐8635
MARY BUGER WISER   1936 WASHINGTON ST                                                                        HUNTINGDON         PA 16652
MARY BUICE         15695 BIRMINGHAM HWY                                                                      ALPHARETTA         GA 30004‐2600
MARY BULLINS       1024 GILBERT MEMORIAL HWY                                                                 PINEVILLE          KY 40977‐9406
MARY BULLOCK       302 MOCKINGBIRD LN                                                                        WEATHERFORD        TX 76086‐6012
MARY BULLY         1047 E GRAND BLVD                                                                         FLINT              MI 48505‐1505
MARY BUNCE         2466 PFISTER HWY                                                                          ADRIAN             MI 49221‐9452
MARY BUNCH         2071 LAKEWOOD DR APT C                                                                    DAYTON             OH 45420‐2047
MARY BUNCH         4420 W 194TH ST APT 107                                                                   CLEVELAND          OH 44135‐1080
MARY BUNDY         158 GREENBANK RD                                                                          FREDERICKSBRG      VA 22406‐6233
MARY BUNKLEY       16539 SAN JUAN DR                                                                         DETROIT            MI 48221‐2920
MARY BUONAGURIO    8220 JAMES GRAYSON DR                                                                     LAS VEGAS          NV 89145‐4551
MARY BUR           10216 E US HIGHWAY 23                                                                     CHEBOYGAN          MI 49721‐8958
MARY BURALLI       6506 CONRAD AVE                                                                           HODGKINS            IL 60525‐7612
MARY BURBACK       300 KENNELY RD APT 204                                                                    SAGINAW            MI 48609‐7704
MARY BURDEN        517 N PENDLETON AVE                                                                       PENDLETON          IN 46064‐8975
MARY BURGAN        671 MOHLEY BEND RD                                                                        CORBIN             KY 40701
MARY BURGESS       139 W FARRELL AVE APT A7                                                                  TRENTON            NJ 08618
MARY BURGETT       PO BOX 1292                                                                               MIAMISBURG         OH 45343‐1292
MARY BURIK         1728 JAMES ST                                                                             MONROEVILLE        PA 15146‐3814
MARY BURK          11334 MORNINGSTAR DR                                                                      SAGINAW            MI 48609‐8801
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Name                 Address1                          Address2                   Address3          Address4         City            State Zip
MARY BURKE           4421 WAGARVILLE ROAD                                                                            GLADWIN          MI 48624‐9632
MARY BURKE           103 W 4TH ST                                                                                    DANVILLE          IL 61832‐6620
MARY BURKHAMMER      3237 UNIT D PHEASANT RUN                                                                        CORTLAND         OH 44410
MARY BURLEIGH        443 11TH ST                                                                                     PORT HURON       MI 48060‐4458
MARY BURNETTE        409 ALAMEDA AVE                                                                                 YOUNGSTOWN       OH 44504‐1428
MARY BURNHAM         4851 CANADA RD                                                                                  BIRCH RUN        MI 48415‐8925
MARY BURNS           2568 NOTTINGHAM RD                                                                              COLUMBUS         OH 43221‐1120
MARY BURNS           526 TRIPLE COVE DR                                                                              WILKESBORO       NC 28697
MARY BURNS           21 BRADBURN ST                                                                                  ROCHESTER        NY 14619‐1905
MARY BURNS           557 WILCOX RD APT B               C/O LAYTON                                                    AUSTINTOWN       OH 44515‐6204
MARY BURNS           PO BOX 3102                                                                                     SHREVEPORT       LA 71133‐3102
MARY BURNS           34239 DENNON CHPL RD                                                                            EDWARDS          MO 65326
MARY BURR            401 ADGER CT                                                                                    FAYETTEVILLE     NC 28314‐0900
MARY BURRIS          9833 W MAIN ST                                                                                  LAPEL            IN 46051‐9754
MARY BURRIS          1962 PARKER DR                                                                                  WAYLAND          MI 49348‐9065
MARY BURRIS          NIX PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD     TX 75638
MARY BURROUGHS       9 HEWITT RD                                                                                     LAMBERTVILLE     NJ 08530‐2606
MARY BURROUGHS       4608 ORLANDO CIR                                                                                BRADENTON        FL 34207‐2052
MARY BURROWS         18040 CHERRYLAWN ST                                                                             DETROIT          MI 48221‐2510
MARY BURRUS          1567 HOWELL DR                                                                                  INDIANAPOLIS     IN 46231‐1085
MARY BURSEY          732 E PIKE ST                                                                                   PONTIAC          MI 48342‐2980
MARY BURTIS          4101 S SHERIDAN RD LOT 597                                                                      LENNON           MI 48449‐9432
MARY BURTON          16980 DEER PATH DR                                                                              STRONGSVILLE     OH 44136‐6262
MARY BURTON          6720 WILLIAMS RD                                                                                DIMONDALE        MI 48821‐8798
MARY BURTON          307 S 7TH ST                                                                                    DEEPWATER        MO 64740‐9161
MARY BURTON          434 YORK ST                                                                                     N BLOOMFIELD     OH 44450‐9521
MARY BURTON          2510 CHURCHILL AVE                                                                              FLINT            MI 48506‐3680
MARY BUSCHMANN       3875 NEW RD                                                                                     RANSOMVILLE      NY 14131‐9650
MARY BUSH            2702 SINCLAIR AVE                                                                               WATERFORD        MI 48328‐2751
MARY BUSH            1408 ELIAS ST                                                                                   WESTLAND         MI 48186‐4919
MARY BUSH            18 SUNSET RIDGE CIR                                                                             POMONA           CA 91766‐4940
MARY BUSHKO          141 WELLES ST                                                                                   NANTICOKE        PA 18634‐4317
MARY BUSIC           4200 MUNSON STREET NORTHWEST                                                                    CANTON           OH 44718‐2981
MARY BUSJAHN         618 ROOSEVELT AVE                                                                               JANESVILLE       WI 53546‐3103
MARY BUSLER          3601 CLOISTER WAY                                                                               KNOXVILLE        TN 37912‐4873
MARY BUSSING         5121 W 16TH ST                                                                                  SPEEDWAY         IN 46224‐6417
MARY BUTCH           2960 N RIVER RD NE APT D17                                                                      WARREN           OH 44483‐3037
MARY BUTCHER         814 E NORTH ST                                                                                  PORTLAND         IN 47371‐1606
MARY BUTCHER         1810 E 2ND AVENUE                 SANDERS                                                       BLOOMINGTON      IN 47401
MARY BUTCHKO         5228 CALLA AVE NW                                                                               WARREN           OH 44483‐1222
MARY BUTLER          114 WESTFIELD AVE                                                                               DEFIANCE         OH 43512‐1434
MARY BUTLER          428 CARLWOOD DR                                                                                 MIAMISBURG       OH 45342‐3515
MARY BUTLER          1060 GLASER DR                                                                                  TROY             MI 48085‐4941
MARY BUTLER          40 MITCHELL RD                                                                                  EAST AURORA      NY 14052‐9710
MARY BUTLER          PO BOX 131                                                                                      KILMARNOCK       VA 22482‐0131
MARY BUTLER          8633 S 600 W                                                                                    CLAYPOOL         IN 46510‐9213
MARY BUTLER          1023 SPATZ CT                                                                                   SAGINAW          MI 48602‐5755
MARY BUTLER          6607 CAMARILLO CT                                                                               INDIANAPOLIS     IN 46278‐2940
MARY BUTLER          3667 VAGO LN                                                                                    FLORISSANT       MO 63034‐2374
MARY BUTLER          2479 N MASON MONTGOMERY RD UNIT                                                                 MASON            OH 45040‐8413
                     102
MARY BUTLER‐ARLINE   6885 14TH WAY S                                                                                 ST PETERSBURG    FL   33705‐6019
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Name                         Address1                            Address2                      Address3            Address4         City               State Zip
MARY BUTTS                   17275 15 MILE RD APT 101                                                                               CLINTON TOWNSHIP    MI 48035‐6209
MARY BUTTS                   216 PROSPECT ST                                                                                        VASSAR              MI 48768‐1612
MARY BUTZOW                  13107 N BECKS GROVE CT                                                                                 CAMBY               IN 46113‐8374
MARY BUXTON                  615 NW JACOB DR APT 216                                                                                LEES SUMMIT         MO 64081‐1215
MARY BUYCKS                  2385 CEDAR PARK DR APT 205                                                                             HOLT                MI 48842‐3114
MARY BUZIN                   1183 PATRICIA DR                                                                                       GIRARD              OH 44420‐2120
MARY BUZINSKY                347 FETTER AVE                                                                                         TRENTON             NJ 08610‐3222
MARY BYAKOWSKI               15474 NORTHVILLE FOREST DR APT 95                                                                      PLYMOUTH            MI 48170‐4930
MARY BYARD                   4916 RT 422                                                                                            SOUTHINGTON         OH 44470
MARY BYBEE                   PO BOX 2025                                                                                            ANDERSON            IN 46018‐2025
MARY BYERLY                  2341 DAVIS ACADEMY RD                                                                                  RUTLEDGE            GA 30663‐2733
MARY BYERS                   3839 N DURAND RD                                                                                       CORUNNA             MI 48817‐9797
MARY BYERS                   4402 N BOLTON AVE                                                                                      INDIANAPOLIS        IN 46226‐3325
MARY BYOUS                   3512 SOUTHLEA DR                                                                                       KOKOMO              IN 46902‐3646
MARY BYRD                    PO BOX 101                                                                                             CANTON              GA 30169‐2460
MARY BYRD                    15340 FIELDING ST                                                                                      DETROIT             MI 48223‐1617
MARY BYRD                    ROUTE 3                                                                                                BUTLER              MO 64730
MARY BYRUM                   1207 SUGAR PINE DR                                                                                     ANDERSON            IN 46012‐5500
MARY C & RICHARD J DICENSO   15 KILEY DR                                                                                            RANDOLPH            MA 02368‐5521
MARY C ALLEN                 708 OXFORD AVE APT 2                                                                                   DAYTON              OH 45402
MARY C ANTHONY‐JAMES         429 MEADOWLARK LANE                                                                                    EATON               OH 45320
MARY C BARGA                 437 RADER DR                                                                                           VANDALIA            OH 45377‐2515
MARY C BATES                 3114 MCCLEARY JACOBY RD                                                                                CORTLAND            OH 44410‐1718
MARY C BERKLEY TRUSTEE       DR MARY C BERKLEY                   7508 N SAN MANUEL                                                  SCOTTSDALE          AZ 85258
MARY C BROWN                 165 EMERSON STREET                                                                                     ROCHESTER           NY 14613‐2501
MARY C BROWN                 6221 AMBLEWOOD DR                                                                                      JACKSON             MS 39213
MARY C BROWN                 PO BOX 81112                                                                                           LANSING             MI 48908‐1112
MARY C BUSCH                 144 DUNLOP AVE                                                                                         TONAWANDA           NY 14150‐7811
MARY C CAMERON               829 SPRING VALLEY DR                                                                                   ANDERSON            IN 46011‐2355
MARY C CINTRON               3029 WARREN AVE                                                                                        MC DONALD           OH 44437
MARY C COFFEY                4028 SAN MARINO ST                                                                                     KETTERING           OH 45440‐1316
MARY C COMPTON               3727 ST RT 502                                                                                         GREENVILLE          OH 45331‐9406
MARY C COTTON                113 OWENS ST                                                                                           CLINTON             MS 39056‐3217
MARY C COTTON                113 OWENS RD                                                                                           CLINTON             MS 39056‐3217
MARY C CRAIG                 4691 POWELL RD                                                                                         DAYTON              OH 45424‐5862
MARY C CURRY                 9200 W VERNOR HWY APT 229                                                                              DETROIT             MI 48209‐1463
MARY C DACK                  7630 RTE 408                                                                                           MT MORRIS           NY 14510‐9422
MARY C DALTON                559 EUGENE ST                                                                                          YPSILANTI           MI 48198‐6172
MARY C DIBUONO               4435 HARRIS HILL RD                                                                                    WILLIAMSVILLE       NY 14221‐6231
MARY C DICENSO               15 KILEY DR                                                                                            RANDOLPH            MA 02368‐5521
MARY C DOWNS                 2980 STATE ROUTE 193                                                                                   JEFFERSON           OH 44047‐8461
MARY C ESCHMAN               8517 STONEWOODS LANE                                                                                   POWELL              OH 43065‐8318
MARY C FAIRCHILDS            6412 ROLLING GLEN DR.                                                                                  HUBER HEIGHTS       OH 45424‐1354
MARY C FORTUNATO             213 FRANK ST                                                                                           MEDINA              NY 14103‐1716
MARY C FOSTER                4463 WAYMIRE AVE                                                                                       DAYTON              OH 45406‐2416
MARY C GARRISON              123 ST. ANDREWS                                                                                        CORTLAND            OH 44410‐‐ 87
MARY C HERNANDEZ             1011 S BOOTS ST                                                                                        MARION              IN 46953‐2216
MARY C HESS                  236 INDIAN COVE DR                                                                                     DAWSONVILLE         GA 30534
MARY C HINCKLEY TRUST        MARY C HINCKLEY TTEE                8975‐402 LAWRENCE WELK DR                                          ESCONDIDO           CA 92026
MARY C KANTOR TRUSTEE        MARY C KANTOR FRANK S KANTOR TTEE   THE KANTOR FAMILY TRUST U/A   617 CARPENTER WAY                    AUBURN              AL 36830‐7820
                                                                 DTD 08/19/2004
MARY C LANDERS               305 BREMAN AVE                                                                                         SYRACUSE           NY 13211‐1532
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Name                   Address1                           Address2                    Address3   Address4                 City            State Zip
MARY C LARMAN          123 OHIO AVE                                                                                       NILES            OH 44446‐1122
MARY C LOGUE           1522 SPRUCE COURT                                                                                  NILES            OH 44446‐3828
MARY C MARRERO         1609 SALT ST                                                                                       SAGINAW          MI 48602‐1254
MARY C MARRIE          1400 EDGEHILL AVE SE                                                                               WARREN           OH 44484‐4520
MARY C MARTIN          1224 S PENINSULA DR. UNIT 102                                                                      DAYTONA BEACH    FL 32118‐‐ 48
MARY C MASCIANGELO     4100 N RIVER ROAD                  APT#103                                                         WARREN           OH 44484
MARY C MCROBERTS       725 BIG BRUSHY RD.                                                                                 MOREHEAD         KY 40351‐9193
MARY C MEDLEY          1649 EMERALD POINTE LN                                                                             KNOXVILLE        TN 37918‐9610
MARY C MERDICH         829 DRAVIS STREET                                                                                  GIRARD           OH 44420‐2019
MARY C MIKULA          115 AUTUMN TRAIL                                                                                   COATESVILLE      PA 19320
MARY C MOORE‐TURNER    233 THISTLEWOOD CT                 APT 225                                                         VAN WERT         OH 45881‐1382
MARY C NORRIS          3112 OAKMONT DRIVE                                                                                 AVON PARK        FL 33825
MARY C PALERMO         192 OLDE HARBOUR TR                                                                                ROCHESTER        NY 14612‐2935
MARY C PATE            207 S L ST                                                                                         TILTON            IL 61833‐7832
MARY C PETTIS          C/O CASSANDRA KARAMANOS            1034 CHAPEL FORGE CT                                            LANCASTER        PA 17601
MARY C PINKARD         C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                       HOUSTON          TX 77007
                       BOUNDAS LLP
MARY C PINTER          5980 STODDARD HAYES RD B                                                                           FARMDALE        OH    44417
MARY C REINHART        4191 CUSTER ORANGEVILLE RD NE                                                                      BURGHILL        OH    44404
MARY C ROBINSON        46 TEMPLE ROAD                                                                                     HENRIETTA       NY    14467‐8910
MARY C SCHAFFER        500 E HIGHLAND AVE                                                                                 SIERRA MADRE    CA    91024‐2127
MARY C SMIDA           52 VILLA CHRISTINA                                                                                 LALUZ           NM    88337
MARY C SNYDER          708 KINGSDALE AVE                                                                                  TILTON           IL   61833‐7954
MARY C SPENCER         3041 BENCHWOOD RD                                                                                  DAYTON          OH    45414
MARY C STARKE          PO BOX 402                                                                                         SUFFERN         NY    10902
MARY C STINER          3400 WEST MARKET ST                APT B                                                           WARREN          OH    44485
MARY C WEIDNER         7735 REDBANK LN                                                                                    DAYTON          OH    45424
MARY C WOLFE           442 ALAMEDA AVE                                                                                    YOUNGSTOWN      OH    44504
MARY C ZABINSKI        242 HUNTINGTON N.W.                                                                                WARREN          OH    44481‐9136
MARY C ZANGARI         2938 LYELL RD                                                                                      ROCHESTER       NY    14606‐4919
MARY CABIL             1508 MT ZION DR                                                                                    ARLINGTON       TX    76018‐3091
MARY CABIN             35 BLAIR ST                                                                                        MOUNT MORRIS    MI    48458‐8845
MARY CADENA            1505 NORTH AVE NE                                                                                  GRAND RAPIDS    MI    49505‐5016
MARY CAHL              235 LOUISIANA AVE                                                                                  ELYRIA          OH    44035‐3428
MARY CAHUE             1856 CAROL LYNN DR                                                                                 KOKOMO          IN    46901‐3279
MARY CAIN              461 MAGNOLIA ST                                                                                    ROCHESTER       NY    14611‐3749
MARY CAIN              17227 ROBERTS DR                                                                                   DAVISBURG       MI    48350‐1116
MARY CAIRNS            1285 N STEWART RD                                                                                  MANSFIELD       OH    44903‐9794
MARY CAIRNS TTEE F/T   MARY CAIRNS LV TR DTD 04/14/2000   FLAT #5 DANNY HOUSE                    BN69BB HURSPIERPOINT W
                                                                                                 SYSSEX ENGLAND
MARY CALABRESE         56 STANDISH RD                                                                                     BUFFALO         NY    14216‐2016
MARY CALDERWOOD        9391 WENDOVER CT                                                                                   JONESBORO       GA    30236‐6266
MARY CALDWELL          654 LELAND AVE                                                                                     DAYTON          OH    45417‐1548
MARY CALDWELL          1210 N CENTRAL AVE                                                                                 MUNCIE          IN    47303‐3313
MARY CALDWELL          478 VALARIE LN                                                                                     PIGGOTT         AR    72454‐3401
MARY CALGARO           7632 HUGHES DR                                                                                     DELTON          MI    49046‐8492
MARY CALL              407 SUMMIT ST                                                                                      DEFIANCE        OH    43512‐2238
MARY CALL              2543 WALFORD DR                                                                                    DAYTON          OH    45440‐2229
MARY CALLIS            314 HIGH SCHOOL RD                                                                                 GREENTOWN       IN    46936‐1421
MARY CALLOWAY          3426 COUNTY ROAD 221                                                                               MOULTON         AL    35650‐6308
MARY CALOGERO          2112 ACACIA PARK DR APT 316                                                                        LYNDHURST       OH    44124‐3850
MARY CALVERT           2430 W COLLIER AVE SE                                                                              GRAND RAPIDS    MI    49546‐6115
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Name                 Address1                            Address2             Address3   Address4         City                State Zip
MARY CAMEL           310 S HARRISON ST APT 705                                                            SAGINAW              MI 48602‐2148
MARY CAMERON         829 SPRING VALLEY DR                                                                 ANDERSON             IN 46011‐2355
MARY CAMIRE          1001 PEARCE DR APT 101                                                               CLEARWATER           FL 33764
MARY CAMMACK         917 GENEVA RD                                                                        DAYTON               OH 45417‐1112
MARY CAMMARATA       4200 W UTICA RD APT 230                                                              SHELBY TWP           MI 48317‐4768
MARY CAMPANELLA      2157 STATE ROUTE 534                                                                 SOUTHINGTON          OH 44470‐9513
MARY CAMPBELL        1615 GREENVIEW AVE                                                                   PORTAGE              MI 49024‐3324
MARY CAMPBELL        14202 EASTVIEW DR                                                                    FENTON               MI 48430‐1306
MARY CAMPBELL        915 MILLER RD                                                                        ALLENTON             MI 48002‐3917
MARY CAMPBELL        355 NELSON ST                                                                        PONTIAC              MI 48342‐1545
MARY CAMPBELL        1708 STOKESLEY RD                                                                    BALTIMORE            MD 21222‐4837
MARY CAMPBELL        1817 BAYBERRY LN                                                                     FLINT                MI 48507‐1429
MARY CAMPBELL        6073 E STATE ROUTE 73                                                                WAYNESVILLE          OH 45068‐9405
MARY CAMPBELL TTEE   C JOHN CAMPBELL TTEE FAMILY TRUST   7121 LILLOOET LOOP                               ABERDEEN             WA 98520
                     U/A/O 09/28/89
MARY CANADA          PO BOX 674                                                                           MANSFIELD           OH   44901‐0674
MARY CANADA          2983 N BANKERS DR                                                                    BLOOMINGTON         IN   47408‐1021
MARY CANCLER         1010 PROSPECT AVE SE                                                                 GRAND RAPIDS        MI   49507‐1111
MARY CANDILLO        3126 KARNES BLVD                                                                     KANSAS CITY         MO   64111‐3653
MARY CANFIELD        16834 RAVENNA RD                                                                     CHAGRIN FALLS       OH   44023‐9336
MARY CANIDATE        PO BOX 746                                                                           THOMASTON           GA   30286‐0010
MARY CANNADY         267 S PADDOCK ST                                                                     PONTIAC             MI   48342‐3137
MARY CANNON          6026 ROCKINGHAM DR                                                                   LANSING             MI   48911‐4323
MARY CANO            117 E MELTON PARK DR                                                                 MERCEDES            TX   78570‐4605
MARY CANTLEBERRY     892 EXPRESSVIEW DR                                                                   MANSFIELD           OH   44905‐1536
MARY CANTRELL        402 PARKVIEW DR                                                                      QUINCY              IL   62301‐1514
MARY CAPEL           861 1/2NEWGARDEN AVE                                                                 SALEM               OH   44460
MARY CAPORAL         1917 LAKEVIEW DR                                                                     PORTAGE             MI   49002‐6926
MARY CAPPELLI        4589 SHEFFIELD DR                                                                    AUSTINTOWN          OH   44515‐5355
MARY CARABALLO       500 INDEPENDENCE DRIVE              APT 524                                          LUMBERTON TWP       NJ   08048
MARY CARACO          1624 PALM ST UNIT 156                                                                LAS VEGAS           NV   89104‐4713
MARY CARDIN          1004 NW 6TH PL                                                                       MOORE               OK   73160‐1802
MARY CAREY           8603 ALLAMANDA ST                                                                    HUDSON              FL   34667‐2907
MARY CAREY           1322 LAKEVIEW DR                                                                     ALPENA              MI   49707‐4227
MARY CAREY           160 WAGNER ST                                                                        BUFFALO             NY   14206‐2412
MARY CAREY           11000 FORRER CT                                                                      STERLING HTS        MI   48312‐4612
MARY CARIOTO         5560 E 141ST ST                                                                      MAPLE HEIGHTS       OH   44137‐3204
MARY CARL            4879 WILCOX RD                                                                       HOLT                MI   48842‐1939
MARY CARLISLE        622 S HAYFORD AVE                                                                    LANSING             MI   48912‐3824
MARY CARLSEN         3013 BARKMAN DR                                                                      WATERFORD           MI   48329‐2529
MARY CARNEVALE       35250 FREEDOM RD APT 109                                                             FARMINGTON HILLS    MI   48335‐4050
MARY CARNEY          10390 SUMMIT AVE NE                                                                  ROCKFORD            MI   49341‐8203
MARY CAROL           2516 DOW PL                                                                          SAGINAW             MI   48602‐3541
MARY CARPENTER       2614 HUGH ST                                                                         PARKERSBURG         WV   26101‐9037
MARY CARPENTER       1012 E HAVENS ST                                                                     KOKOMO              IN   46901‐3120
MARY CARPENTER       2500 CRESTWELL PL                                                                    KETTERING           OH   45420‐3733
MARY CARPENTER       41 OXFORD AVE                                                                        BUFFALO             NY   14209‐1405
MARY CARPENTER       8224 W COOLEY ST                                                                     YORKTOWN            IN   47396‐1427
MARY CARPENTER       3517 CHAMBERS ST                                                                     FLINT               MI   48507‐2134
MARY CARPENTER       2568 MILTON LN                                                                       THOMPSONS STATION   TN   37179‐5049
MARY CARR            538 HAWTHORNE AVE                                                                    ANDERSON            IN   46011‐2116
MARY CARR            577 ALMA HILL RD                                                                     WELLSVILLE          NY   14895‐9361
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Name                      Address1                       Address2                 Address3    Address4         City               State Zip
MARY CARRADINE            5071 PRESTWOOD DR                                                                    FLINT               MI 48504‐1235
MARY CARRERO              6670 BEAR RIDGE RD                                                                   LOCKPORT            NY 14094‐9212
MARY CARRIER              3795 N US RT 42                                                                      WAYNESVILLE         OH 45068
MARY CARROLL              112 PEACHTREE LN                                                                     BELLEVILLE          MI 48111‐5388
MARY CARROLL              1712 OVERLOOK AVE                                                                    YOUNGSTOWN          OH 44509‐2101
MARY CARROLL              486 CORNWALL AVE                                                                     TONAWANDA           NY 14150‐7104
MARY CARROW               1308 BALDWIN RD                                                                      LAPEER              MI 48446‐9702
MARY CARSON               7457 E SAGINAW HWY                                                                   GRAND LEDGE         MI 48837‐9173
MARY CARSON               3577 BERNARD RD                                                                      STERLING            MI 48659‐9433
MARY CARSON               12914 S GREEN ST                                                                     CHICAGO              IL 60643‐6610
MARY CARTER               27636 STATE ROUTE 1                                                                  DANVILLE             IL 61834‐6007
MARY CARTER               112 MUSTANG CREEK DRIVE                                                              WAXAHACHIE          TX 75165‐1404
MARY CARTER               PO BOX 14711                                                                         SAGINAW             MI 48601‐0711
MARY CARTER               3201 NE 66TH TER                                                                     GLADSTONE           MO 64119‐1514
MARY CARTER               1115 KINGSMILL DR                                                                    ANDERSON            IN 46012‐2623
MARY CARTER               10024 RIDGEFIELD DR                                                                  INDIANAPOLIS        IN 46235‐2335
MARY CARTER               2001 E 10TH ST                                                                       ANDERSON            IN 46012‐4215
MARY CARTER               211 WINTERPORT ST                                                                    HENDERSON           NV 89074‐7845
MARY CARTO                2287 VALLEY VISTA DR                                                                 DAVISON             MI 48423‐8369
MARY CARVER               11482 POPP RD                                                                        DERBY               IN 47525‐9683
MARY CARVER               1255 GOLDEN HILLS RD                                                                 COLORADO SPRINGS    CO 80919‐7934
MARY CARWILE              3435 EASTDALE DR                                                                     FLINT               MI 48506‐2263
MARY CARY                 46154 LOVELAND DR                                                                    MACOMB              MI 48044‐3190
MARY CASANOVA             4734 DOANE HWY                                                                       POTTERVILLE         MI 48876‐8743
MARY CASCADDON            155 WALLACES GRANT DR                                                                MOORESVILLE         NC 28115‐9348
MARY CASHIN               12316 FORDLINE ST                                                                    SOUTHGATE           MI 48195‐2304
MARY CASIDA               5807 W 78TH TER                                                                      PRAIRIE VILLAGE     KS 66208‐4622
MARY CASSEL               2435 COLUMBIANA RD APT 208                                                           BIRMINGHAM          AL 35216‐2546
MARY CASSIDY              212 N CHILLICOTHE ST           RT. =1                                                SOUTH CHARLESTON    OH 45368‐9774
MARY CASSIDY              6801 HOLLY RD                                                                        WAYNESVILLE         OH 45068
MARY CASSIDY              32404 WILLOWICK DR                                                                   WILLOWICK           OH 44095‐3809
MARY CASTELLANOS          655 W SAGINAW BOX 84                                                                 MERRILL             MI 48637
MARY CASTELLO             27013 JENNINGS WAY                                                                   HAYWARD             CA 94544‐4341
MARY CASTER               1805 106TH AVE                                                                       OAKLAND             CA 94603‐3949
MARY CASTIGLIONE          90 MILFORD ST                                                                        BUFFALO             NY 14220‐1616
MARY CASTIGLIONI          31729 NORTHWOOD                                                                      FRASER              MI 48026‐2497
MARY CASTILLO             3632 MAY ST                                                                          FORT WORTH          TX 76110‐5337
MARY CASTILLO             200 REEF CT                                                                          IRVING              TX 75060‐6621
MARY CASTILLO             2003 JANES AVE                                                                       SAGINAW             MI 48601‐1857
MARY CASTLE               206 FUNSTON AVE                                                                      NEW CARLISLE        OH 45344‐1331
MARY CASTLES              4156 MOULTON DR                                                                      FLINT               MI 48507‐5547
MARY CASWELL              4063 MEIGS AVE                                                                       WATERFORD           MI 48329‐2172
MARY CATALANO             7307 BOXWOOD CT                                                                      IRVING              TX 75063‐5515
MARY CATHCART             PO BOX 3043                                                                          FREMONT             CA 94539‐0304
MARY CATHERINE L STOFAN   1030 OAKDALE RD                                                                      OAKDALE             PA 15071
MARY CATT                 2541 N ARMSTRONG ST                                                                  KOKOMO              IN 46901‐5808
MARY CAUCCI               24180 NORMANDY DR                                                                    OLMSTED FALLS       OH 44138‐2822
MARY CAUDILL              PO BOX 5713                                                                          LIGHTHOUSE PT       FL 33074‐5713
MARY CAVALIERE            60 HIGHLAND RD                 MANOR CARE BETHEL PARK                                BETHEL PARK         PA 15102‐1806
MARY CAVES                1902 SPECK DR                                                                        HOLIDAY             FL 34691‐5314
MARY CAVLOVIC             18678 153RD ST                                                                       BASEHOR             KS 66007‐5137
MARY CAVNESS              465 ORION RD                                                                         ROCHESTER HILLS     MI 48306
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Name                Address1                          Address2            Address3         Address4               City               State Zip
MARY CAYTON         227 W JAMIESON ST                                                                             FLINT               MI 48505‐6615
MARY CECIL          428 ELMCREST DR                                                                               NORMAN              OK 73071‐7053
MARY CEFALU         7685 BUCHANAN DR                                                                              BOARDMAN            OH 44512‐5704
MARY CERDA          3400 SE 47TH ST                                                                               OKLAHOMA CITY       OK 73135‐1308
MARY CERESIA        8800 SHIPMAN RD                                                                               CORUNNA             MI 48817‐9733
MARY CERILLI        36526 DEERHURST N                                                                             WESTLAND            MI 48185‐6978
MARY CERIO          110 FAY PARK DR                                                                               SYRACUSE            NY 13212‐3536
MARY CHACKO         2212 FALLING SPRINGS LN                                                                       YUKON               OK 73099‐5761
MARY CHAMBERLAIN    818 ISABELLE DR                                                                               ANDERSON            IN 46013‐1640
MARY CHAMBERLAIN    2434 HENN HYDE RD                                                                             CORTLAND            OH 44410‐9446
MARY CHAMBERS       1110 N MARKET ST #39                                                                          GALION              OH 44833
MARY CHAMNESS       1 COWTRAIL RD                                                                                 SHAWNEE             OK 74801‐5613
MARY CHAMPLIN       PO BOX 40518                                                                                  REDFORD             MI 48240‐0518
MARY CHANCEY        308 OAKWOOD AVE                                                                               MARIETTA            OH 45750‐2428
MARY CHANEY         3177 W CASS AVE                                                                               FLINT               MI 48504‐1246
MARY CHAPIN         2604 PALMER AVE                                                                               BRISTOL             PA 19007‐5803
MARY CHAPMAN        3486 W COLDWATER RD                                                                           MOUNT MORRIS        MI 48458‐9400
MARY CHAPMAN        PO BOX 104                                                                                    HOLLY               MI 48442‐0104
MARY CHAPPLE        6614 ROBINHOOD DR                                                                             ANDERSON            IN 46013‐9501
MARY CHARCHAN       398 MEADOWVIEW DR                                                                             ATTICA              MI 48412‐9688
MARY CHARGO         PO BOX 67434                                                                                  ROCHESTER           NY 14617‐7434
MARY CHARLES        14620 CLOVERLINE STREET                                                                       DETROIT             MI 48238
MARY CHARLES        467 MOORE STREET                                                                              PONTIAC             MI 48342‐1962
MARY CHARNIGA       408 REMSEN AVE                                                                                AVENEL              NJ 07001‐1142
MARY CHARNOK        168 VALLEY AVE                                                                                MONONGAHELA         PA 15063‐1042
MARY CHARRON        35446 SILVANO ST                                                                              CLINTON TWP         MI 48035‐2687
MARY CHASNIS        816 N WOODBRIDGE ST                                                                           SAGINAW             MI 48602‐4596
MARY CHASTAIN       202034 PLAZA DRIVE                APT 217                                                     BEDFORD             IN 47421
MARY CHASTAIN       3150 HERITAGE HILLS DR                                                                        BLAIRSVILLE         GA 30512‐1951
MARY CHATMAN        12733 WILSHIRE DR                                                                             DETROIT             MI 48213‐1851
MARY CHATMON        8625 GRANDVILLE AVE                                                                           DETROIT             MI 48228‐3011
MARY CHEEK          8073 RAYMOND RD                                                                               BROOKVILLE          IN 47012‐8108
MARY CHEESMAN       PO BOX 6071                                                                                   TILTON               IL 61833‐6071
MARY CHEROL         1935 HIGHLAWN AVE                                                                             YOUNGSTOWN          OH 44509‐2219
MARY CHERVEN        206 BROWN ST                                                                                  BROWNSVILLE         PA 15417‐8704
MARY CHESHER        4814 W LINCOLN RD                                                                             ANDERSON            IN 46011‐1420
MARY CHESLEK        11198 ALGOMA AVE NE                                                                           ROCKFORD            MI 49341‐9135
MARY CHIAVOLA       8544 PINE ST                                                                                  ORLAND PARK          IL 60462‐1652
MARY CHICK          1820 RIDGELAWN AVE                                                                            YOUNGSTOWN          OH 44509‐2114
MARY CHILDRES       1216 W STEWART AVE                                                                            FLINT               MI 48504‐2278
MARY CHINCHIC       4127 NEW RD                                                                                   YOUNGSTOWN          OH 44515‐4630
MARY CHIRONIS IRA   16 PONDEROSA DR                                                                               MELVILLE            NY 11747
MARY CHOI           8 STARLING BLVD                                                        WOODBRIDGE ON CANADA
                                                                                           L4H 2H1
MARY CHRISTENSEN    7207 WINDBURY LN                                                                              FLINT              MI   48507‐0512
MARY CHRISTENSEN    5964 SUTHERLAND DR                                                                            WATERFORD          MI   48327‐2061
MARY CHRISTENSEN    106 BASSWOOD DR                                                                               DAVISON            MI   48423‐8140
MARY CHRISTIAN      9051 QUAIL CREEK DR                                                                           TAMPA              FL   33647‐2226
MARY CHRISTIAN      4373 W 145TH ST                                                                               CLEVELAND          OH   44135‐2081
MARY CHRISTIAN      PO BOX 823                                                                                    TWIN CITY          GA   30471‐0823
MARY CHRISTIAN      29594 COLONY CIRCLE DR                                                                        FARMINGTON HILLS   MI   48334‐1914
MARY CHRISTIAN      10151 DORRELL LN UNIT 1087                                                                    LAS VEGAS          NV   89165‐1031
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Name                  Address1                         Address2                     Address3   Address4         City               State Zip
MARY CHRISTISEN       1355 PCR 600                                                                              PERRYVILLE          MO 63775‐7134
MARY CHRISTOPHER      150 W WARREN ST TRLR 22                                                                   PERU                IN 46970‐2758
MARY CHUBB            7818 OLD M‐78                                                                             EAST LANSING        MI 48823
MARY CHURCH           PO BOX 85                                                                                 GLENGARY            WV 25421‐0085
MARY CHURCHILL        6215 BRITTANY TREE DR                                                                     TROY                MI 48085‐1087
MARY CHYLINSKI        11340 GALLAGHER ST                                                                        HAMTRAMCK           MI 48212‐3150
MARY CICCIARELLI      4213 JOHNSON RD                                                                           LOCKPORT            NY 14094‐1247
MARY CICH             30 NORTHWOOD DR                                                                           DEPEW               NY 14043‐4542
MARY CICIRIELLO       810 MILTON AVE                                                                            SYRACUSE            NY 13204‐1618
MARY CIMINO           57 SHADYWOOD DR                                                                           ROCHESTER           NY 14606‐4941
MARY CIMPERMAN        6114 LAUSCHE AVE                                                                          CLEVELAND           OH 44103‐1590
MARY CIVILS           2132 BANNER DR SW                                                                         WYOMING             MI 49509‐1924
MARY CIZEWSKI         HC 87 BOX 155                                                                             POCONO LAKE         PA 18347‐9737
MARY CLARK            9819 SWEETWATER AVE                                                                       BRADENTON           FL 34202‐4043
MARY CLARK            7326 E ATHERTON RD                                                                        DAVISON             MI 48423‐2408
MARY CLARK            2712 N MILTON ST                                                                          MUNCIE              IN 47303‐5353
MARY CLARK            7009 FERHOODLE DR                                                                         MOUNT MORRIS        MI 48458‐8546
MARY CLARK            2909 CAMPBELLTON RD SW APT 29A                                                            ATLANTA             GA 30311‐4533
MARY CLARK            4717 SOUTH COUNTRYSIDE DRIVE                                                              MUNCIE              IN 47302‐9069
MARY CLARK            4424 DERWENT DR                                                                           DAYTON              OH 45431‐1010
MARY CLARK            127 QUARRY HILL EST                                                                       AKRON               NY 14001‐9787
MARY CLARK            6528 COOPER RD                                                                            LANSING             MI 48911‐5559
MARY CLARK            3507 WILDBERRY WAY                                                                        VALRICO             FL 33594
MARY CLARK            1568 GREENVILLE RD                                                                        COLUMBUS            OH 43223‐3510
MARY CLARK            800 TOM TIM DR                                                                            PAULDING            OH 45879‐9243
MARY CLARK            210 JEFFERSON AVE APT 402                                                                 BUFFALO             NY 14204‐1965
MARY CLARK            4409 N NEW YORK AVE                                                                       MUNCIE              IN 47304‐1159
MARY CLARK            7687 CORTLAND AVE                                                                         ALLEN PARK          MI 48101‐2213
MARY CLARK            700 E 6TH ST APT 51                                                                       WILLOW SPRINGS      MO 65793‐1246
MARY CLARK            1007 ASHLEY DR                                                                            KALAMAZOO           MI 49048‐2229
MARY CLARK            3523 HARRIS DR                                                                            BATON ROUGE         LA 70816‐8959
MARY CLARK            2514 E 4TH ST                                                                             ANDERSON            IN 46012‐3760
MARY CLARK THOMPSON   11231 WAHRMAN ST                                                                          ROMULUS             MI 48174
MARY CLASE            5466 CORUNNA RD                                                                           FLINT               MI 48532‐4017
MARY CLAY             8858 COLLINSVILLE RD                                                                      COLLINSVILLE        MS 39325‐9118
MARY CLAY             3714 LOCHMOOR DR                                                                          LANSING             MI 48911‐2611
MARY CLAY             8769 RIDGE RD                                                                             GASPORT             NY 14067‐9414
MARY CLAY             BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
MARY CLAYPOOL         4944 N 375 E                                                                              ALEXANDRIA          IN 46001‐8713
MARY CLAYPOOL         5 HOPE AVE                                                                                STEEP FALLS         ME 04085‐6017
MARY CLAYTON          21 YACHT CLUB DRIVE                                                                       NORTH PALM BEACH    FL 33408‐3984
MARY CLEM             PO BOX 56                                                                                 WINDFALL            IN 46076‐0056
MARY CLEM             22242 MERLOT DR                                                                           ATHENS              AL 35613‐2324
MARY CLEMENS          217 BORMAN AVE                                                                            FLUSHING            MI 48433‐9330
MARY CLEMENT          PO BOX 126                                                                                PICKFORD            MI 49774‐0126
MARY CLEMENT          2474 STONEFIELD LN                                                                        JANESVILLE          WI 53546‐4338
MARY CLEMMONS         44925 JUDD RD                                                                             BELLEVILLE          MI 48111‐9109
MARY CLEMONS          455 CROSSGATES BLVD APT 215                                                               BRANDON             MS 39042‐2561
MARY CLENDENEN        5007 PARK RD                                                                              ANDERSON            IN 46011‐9428
MARY CLENDENNIN       1495 BERKSHIRE ST                                                                         WESTLAND            MI 48186‐5365
MARY CLEVELAND        2109 S HOWELL ST                                                                          MUNCIE              IN 47302‐1966
MARY CLIFFORD         4511 60TH ST W                                                                            BRADENTON           FL 34210‐2733
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Name                  Address1                        Address2            Address3         Address4         City            State Zip
MARY CLIFTON          335 MUIRWOOD DR                                                                       LONDON           OH 43140‐2121
MARY CLINE            7154 N LINDEN RD                                                                      MOUNT MORRIS     MI 48458‐9342
MARY CLINES           16238 ASHEBORO CT                                                                     FORT MYERS       FL 33908‐3517
MARY CLOSE            4544 GRASS LAKE RD                                                                    WHITE LAKE       MI 48383‐2100
MARY CLOUSE           510 HOPKINS RD                                                                        CUMBERLAND       IN 46229‐3243
MARY CLUFF            PO BOX 648                      285 NORTH MAIN ST                                     LYNCHBURG        OH 45142‐0648
MARY COBB             1408 GREENBRIAR CIRCLE UNIT 4                                                         PIKESVILLE       MD 21208
MARY COBB             PO BOX 438                                                                            GIRDLER          KY 40943‐0438
MARY COBB             5615 HARBOURSIDE DR                                                                   MASON            OH 45040‐8364
MARY COCHRAN          27415 W HURON RIVER DR                                                                FLAT ROCK        MI 48134‐9703
MARY COCHRAN          5243 HIGHWAY 19 S                                                                     MERIDIAN         MS 39301‐9525
MARY COCHRANE         1109 3RD AVENUE SOUTH                                                                 ESCANABA         MI 49829‐3304
MARY COCHRANE         60 CROCETTI LN                                                                        LYNCHBURG        VA 24501‐5919
MARY COCKERHAM        2851 S DECATUR BLVD APT 70                                                            LAS VEGAS        NV 89102‐8912
MARY COCKING          712 E ATHERTON RD                                                                     FLINT            MI 48507‐2811
MARY COCKRELL         5440 HECKATHORN RD                                                                    BROOKVILLE       OH 45309‐8304
MARY COFFEY           6972 E MAHALASVILLE RD                                                                MORGANTOWN       IN 46160‐9342
MARY COFFINBARGER     212 ROCK CLIFF DR                                                                     MARTINSBURG      WV 25401‐2836
MARY COGAN            2228 SWEDISH DR APT 8                                                                 CLEARWATER       FL 33763‐2741
MARY COGBURN          2265 GLENFIELD DR                                                                     BELLEVILLE        IL 62221‐5113
MARY COGEOS           110 LAUREL HILL RD                                                                    CROTON HDSN      NY 10520‐1213
MARY COKER            2806 N DECATUR RD APT 326                                                             DECATUR          GA 30033‐5985
MARY COLACCHIO        27 WESTBORO RD                                                                        MARLBOROUGH      MA 01752‐3144
MARY COLBERT‐CURTIS   646 DANA DR                                                                           COLUMBIA          IL 62236‐1552
MARY COLCLOUGH        4328 BURKHARDT AVE                                                                    DAYTON           OH 45431‐1865
MARY COLE             213 E RIVER DR                                                                        ANDERSON         IN 46016‐6807
MARY COLE             1915 GA HIGHWAY 34                                                                    FRANKLIN         GA 30217‐6011
MARY COLE             31356 PEBBLE AVE                                                                      WARSAW           MO 65355‐7103
MARY COLE             1532 KINGSWAY DR                                                                      ARNOLD           MO 63010‐1122
MARY COLE             9110 LAFAYETTE ROAD                                                                   INDIANAPOLIS     IN 46278‐1045
MARY COLEMAN          668 EMGE RD                                                                           O FALLON         MO 63366‐2115
MARY COLEMAN          304 LINDY LN                                                                          SAINT JOHNS      MI 48879‐2302
MARY COLEMAN          4130 GRANDVIEW DR                                                                     FLUSHING         MI 48433‐2316
MARY COLEMAN          197 PEACH TREE                                                                        BRANDON          MS 39047
MARY COLEMAN          12772 STATE ROUTE 7                                                                   LISBON           OH 44432‐9597
MARY COLEMAN          1811 SAGINAW ST                                                                       NATIONAL CITY    MI 48748‐9590
MARY COLEMAN          1480 PRAIRIE OAKS DR                                                                  SAINT CLOUD      FL 34771‐8875
MARY COLEMAN          880 WOODHILL RD                                                                       DAYTON           OH 45431‐2887
MARY COLES            6382 S TIMBERIDGE DR                                                                  AUSTINTOWN       OH 44515‐5615
MARY COLES            304 SAGEBRUSH DR                                                                      CLAYTON          OH 45315‐8737
MARY COLGAN           1164 SHORTY BARNES RD                                                                 CROSSVILLE       TN 38571‐3705
MARY COLLALTO         499 PINEVIEW DR                                                                       WEBSTER          NY 14580‐1122
MARY COLLETT          1754 COVENTRY RD                                                                      DAYTON           OH 45420‐2402
MARY COLLEY           1658 32ND ST SW                                                                       WYOMING          MI 49519‐3305
MARY COLLIER          PO BOX 65                                                                             FORSYTH          GA 31029‐0065
MARY COLLIER          1801 BEN JONES RD                                                                     CLARKESVILLE     GA 30523‐3111
MARY COLLIER          3085 N GENESEE RD APT 320                                                             FLINT            MI 48506‐2194
MARY COLLIER‐HALL     2689 LIBERTY VALLEY RD                                                                LEWISBURG        TN 37091‐7073
MARY COLLING          24000 BORDMAN RD                                                                      ARMADA           MI 48005‐1502
MARY COLLINS          1004 NAVAJO TRL                                                                       MARSHALL         TX 75672‐4560
MARY COLLINS          7685 STATE ROUTE 5                                                                    RAVENNA          OH 44266‐9209
MARY COLLINS          6057 MEADOWWOOD LN                                                                    GRAND BLANC      MI 48439‐9174
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Name            Address1                       Address2                  Address3   Address4         City               State Zip
MARY COLLINS    6137 FLOWERDAY DR                                                                    MOUNT MORRIS        MI 48458‐2811
MARY COLLINS    1519 PATRIOT AVE                                                                     PARIS               TN 38242‐5019
MARY COLLINS    1705 STEVENSON ST                                                                    FLINT               MI 48504‐4015
MARY COLLINS    11348 WINSTON                                                                        REDFORD             MI 48239‐1622
MARY COLLINS    92 FOUGERON ST                                                                       BUFFALO             NY 14211
MARY COLLINS    21007 CUPPS CHAPEL RD                                                                METAMORA            IN 47030‐9767
MARY COLLINS    5850 FORESTVIEW DR                                                                   COLUMBUS            OH 43213‐2112
MARY COLLOM     PO BOX 493                                                                           RIDGE FARM           IL 61870‐0493
MARY COLNAR     3003 COVERED BRIDGE WAY                                                              JOLIET               IL 60435‐0614
MARY COLON      2634 SENECA ST                                                                       FLINT               MI 48504‐7133
MARY COLON      1456 DEERING AVE                                                                     SPRING HILL         FL 34609‐4609
MARY COLOSIMO   7577 ELAINE DR                                                                       NORTH HUNTINGDON    PA 15642‐2729
MARY COLTON     718 DEARBORN AVE                                                                     DAYTON              OH 45408‐1266
MARY COLWELL    2497 NW WELCH RD                                                                     ELGIN               OK 73538‐9672
MARY COMBS      2414 MOORE RD                                                                        HAMILTON            OH 45013‐9539
MARY COMER      383 INAH AVE APT 222                                                                 COLUMBUS            OH 43228‐1792
MARY COMER      3002 HILLCREST DR                                                                    NEW CASTLE          IN 47362‐2055
MARY COMER      1263 HIGHWAY 226                                                                     SAVANNAH            TN 38372‐5954
MARY COMMON     394 S NORMA ST                                                                       WESTLAND            MI 48186‐3822
MARY COMMONS    400 SHANEY RD                  APT 402                                               SMYRNA              TN 37167
MARY COMPOSTO   26 KENMORE RD                                                                        WALTHAM             MA 02453‐6526
MARY COMPTON    3127 CAMELOT DR # 10                                                                 FLINT               MI 48507
MARY COMPTON    1450 JOHN GLENN RD                                                                   DAYTON              OH 45410‐3113
MARY COMPTON    3727 STATE ROUTE 502                                                                 GREENVILLE          OH 45331‐9406
MARY CONACHAN   1001 11TH ST                                                                         BAY CITY            MI 48708‐6548
MARY CONDIFF    6175 STATE ROAD 37                                                                   MITCHELL            IN 47446‐5380
MARY CONFER     25 CANTERBURT COURT                                                                  ANDERSON            IN 46012‐0442
MARY CONGRESS   19801 GREENFIELD RD APT 18                                                           DETROIT             MI 48235‐2019
MARY CONIBEAR   5431 BRIDLE LN                                                                       HIGHLAND            MI 48356‐1201
MARY CONIGLIO   82 BRONX DR                                                                          CHEEKTOWAGA         NY 14227‐3244
MARY CONLEY     107 BEECHLAWN DR                                                                     FRANKLIN            TN 37064‐5002
MARY CONLEY     19 ABEEL ST APT 2E                                                                   YONKERS             NY 10705‐3400
MARY CONLEY     336 WEHRLE DR                                                                        CHEEKTOWAGA         NY 14225‐1154
MARY CONLEY     2316 SAWMILL CT APT 104                                                              BURLINGTON          KY 41005‐8897
MARY CONLEY     9355 WILDEMERE ST                                                                    DETROIT             MI 48206‐1975
MARY CONNELLY   700 N BENTSEN PALM DR LOT 99                                                         MISSION             TX 78572‐9456
MARY CONNELLY   2680 S MABANE ROAD APT 219                                                           BURLINGTON          NC 27215
MARY CONNER     18230 STRATHMOOR ST                                                                  DETROIT             MI 48235‐2560
MARY CONNOR     145 SIMMONS ST                                                                       HENDERSON           TN 38340‐5396
MARY CONRAD     12190 ROAD 325                                                                       UNION               MS 39365‐8043
MARY CONRAD     1218 PALMETTO DR                                                                     LADY LAKE           FL 32159‐2449
MARY CONRAD     9261 SUNRISE LAKES BLVD        PHASE 3 BLDG 97 APT 205                               SUNRISE             FL 33322
MARY CONRAD     330 EVANS ST                                                                         COVINGTON           IN 47932‐1082
MARY CONROY     MARY C CONROY                  170 LOCUST ST                                         JACKSON             OH 45640
MARY CONTI      PO BOX 393                     10950 SISSON HWY                                      NORTH COLLINS       NY 14111‐0393
MARY CONVERSO   3025 COOMER RD                                                                       NEWFANE             NY 14108‐9679
MARY CONWELL    1613 W BOULEVARD                                                                     KOKOMO              IN 46902‐6170
MARY COOGAN     24731 COLGATE ST                                                                     DEARBORN HTS        MI 48125‐1607
MARY COOK       3349 HERON AVE SW                                                                    WYOMING             MI 49509‐3449
MARY COOK       449 MAIN ST APT 208                                                                  ANDERSON            IN 46016‐1187
MARY COOK       3141 DEER RUN DR NE                                                                  PALM BAY            FL 32905‐4317
MARY COOK       1030 W 32ND ST                                                                       INDIANAPOLIS        IN 46208‐4503
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Name               Address1                      Address2            Address3         Address4         City              State Zip
MARY COOK          3129 SADDLEBACK MOUNTAIN RD                                                         MARIETTA           GA 30062‐1343
MARY COOK          2208 MACINTOSH CIR                                                                  DAYTON             OH 45426‐5019
MARY COOK          213 SERENITY CIR                                                                    ANDERSON           IN 46013‐1093
MARY COOK          5783 E GOLDEN HILL RD ‐202                                                          MONTICELLO         IN 47960
MARY COOK          2877 HYANNIS DR                                                                     CINCINNATI         OH 45251‐2258
MARY COOK          8975 FERRY RD                                                                       WAYNESVILLE        OH 45068‐8947
MARY COOK          628 GENEVA LN SE                                                                    OLYMPIA            WA 98513‐6605
MARY COOK          6300 EAST WOODSIDE ROAD                                                             ALBANY             IN 47320‐9157
MARY COOK          6402 MICHELLE DR                                                                    LOCKPORT           NY 14094‐1135
MARY COOK          2102 CHAPEL RD                                                                      HAVRE DE GRACE     MD 21078‐1816
MARY COOK          5601 BAY BLVD APT 403                                                               PORT RICHEY        FL 34668‐6016
MARY COOK          6171 SURREY LN                                                                      BURTON             MI 48519‐1315
MARY COOK          3840 HICKORY HOLLOW DR                                                              YPSILANTI          MI 48197‐9793
MARY COOK          450 N ELM ST APT 251                                                                WEST CARROLLTON    OH 45449‐1264
MARY COOK          756 E PHILADELPHIA BLVD                                                             FLINT              MI 48505‐3553
MARY COOKSON       1922 CODD AVE                                                                       BALTIMORE          MD 21222‐4706
MARY COOLEY        1111 ROYALCREST DR                                                                  FLINT              MI 48532‐3244
MARY COOMER        PO BOX 397                                                                          CAVE CITY          KY 42127‐0397
MARY COOPER        108 W 29TH ST                                                                       WILMINGTON         DE 19802‐3107
MARY COOPER        9064 CHELMSFORD DR                                                                  SWARTZ CREEK       MI 48473‐1170
MARY COOPER        300 RIVERFRONT DR APT 14B                                                           DETROIT            MI 48226‐4519
MARY COOPER        3012 SHERMAN ST                                                                     ANDERSON           IN 46016‐5918
MARY COOPER        305 CLARK ST SW                                                                     DECATUR            AL 35601‐6366
MARY COOPER        119 JENNIFER CT                                                                     VALLEJO            CA 94591‐4212
MARY COOPER        10511 FRUIT RIDGE AVE NW                                                            SPARTA             MI 49345‐9727
MARY COOPER        100 MASON POINTE STE 101                                                            MAYSVILLE          KY 41056
MARY COOPER        786 ROYAL RIDGE DR APT A                                                            WEST CARROLLTON    OH 45449‐5318
MARY COPELAND      2441 N ARSENAL AVE                                                                  INDIANAPOLIS       IN 46218‐3434
MARY COPENHAVER    5348 MAHONING AVE NW                                                                WARREN             OH 44483‐1132
MARY COPOULOS      328 MARINA VIEW LN                                                                  WEBSTER            NY 14580‐1756
MARY CORBIN        3305 BROWNELL BLVD                                                                  FLINT              MI 48504‐2596
MARY CORBITT       8340 WILLINGHAM LN                                                                  SOUTH BRANCH       MI 48761‐9636
MARY CORIELL       134 RIEGEL RIDGE RD                                                                 JACKSON            OH 45640‐9362
MARY CORMACK       1086 CABLE AVE                                                                      COLUMBUS           OH 43222‐1202
MARY CORMIER       810 WOLCOTT ST                                                                      BRISTOL            CT 06010‐5976
MARY CORNELIUS     129 CROWLEY AVE                                                                     BUFFALO            NY 14207‐1535
MARY CORNELL       208 WESTFIELD DR                                                                    BATTLE CREEK       MI 49015‐3612
MARY CORNETT       PO BOX 115                                                                          SWEETSER           IN 46987‐0115
MARY CORNETTE      6609 PARK LN                                                                        HILLSBORO          OH 45133‐9398
MARY CORNING       297 EMILY WAY                                                                       WHITE LAKE         MI 48386‐4702
MARY CORNISH       PO BOX 238                                                                          CHASE              MD 21027‐0238
MARY CORONA        1411 JEAN AVE                                                                       FLINT              MI 48503
MARY CORRION       24700 31 MILE RD                                                                    RAY TWP            MI 48096‐1509
MARY CORRISTON     8930 COTTONWOOD ST APT 3                                                            LENEXA             KS 66215‐5406
MARY CORSER        302 HASTINGS ST                                                                     BOCA RATON         FL 33487‐3238
MARY CORTINAS      520 LAKE FOREST DR                                                                  COPPELL            TX 75019‐2878
MARY COSLETT       10420 E COUNTY ROAD 200 S                                                           AVON               IN 46123‐1860
MARY COSTELLO      8998 BRIARBROOK DR NE                                                               WARREN             OH 44484‐1741
MARY COSTELLO      4553 CATLIN RD                                                                      COLUMBIAVILLE      MI 48421‐8970
MARY COSTELLO      1927 CARMANBROOK PKWY                                                               FLINT              MI 48507
MARY COSTON        1107 N 18TH ST                                                                      ELWOOD             IN 46036‐1117
MARY COSTOPOULOS   17627 VINCENNES ST                                                                  NORTHRIDGE         CA 91325‐2349
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Name             Address1                         Address2                     Address3   Address4         City           State Zip
MARY COTTEN      1600 MEDFORD DR                                                                           CHARLOTTE       NC 28205‐4120
MARY COTTER      30611 YOUNG DR                                                                            ROCKWOOD        MI 48173‐9568
MARY COTTON      113 OWENS RD                                                                              CLINTON         MS 39056‐3217
MARY COTTON      1525 CHERBONEAU PL APT 9B                                                                 DETROIT         MI 48207‐2842
MARY COUCH       250 RANKIN BROTHERS RD                                                                    SEAMAN          OH 45679
MARY COUGHLIN    9076 RICHFIELD PARK RD                                                                    DAVISON         MI 48423‐8903
MARY COULTER     7117 CLEON DR                                                                             SWARTZ CREEK    MI 48473‐9444
MARY COULTER     3454 HOLLAND LAKE RD                                                                      SHERIDAN        MI 48884‐9324
MARY COUNCE      642 YOUAL GIBSON RD                                                                       HOLLADAY        TN 38341‐6404
MARY COUNTS      404 WISLER ST                                                                             DAVISON         MI 48423‐3006
MARY COURSEY     PO BOX 218                                                                                GLASGOW         KY 42142‐0218
MARY COVELL      19613 E 9TH ST S                                                                          INDEPENDENCE    MO 64056
MARY COWART      708 W JACKSON ST                                                                          ALEXANDRIA      IN 46001‐1317
MARY COWELL      6789 YANKEE RD                                                                            OTTAWA LAKE     MI 49267‐9553
MARY COX         2406 E COURT ST                                                                           FLINT           MI 48503‐2866
MARY COX         18 ALVERNA CT                                                                             CROWLEY         TX 76036‐2001
MARY COX         7351 W 84TH PL                                                                            BRIDGEVIEW       IL 60455‐1700
MARY COX         RR 1 BOX 934                                                                              GENOA           WV 25517‐9749
MARY COX         74 GAPING ROCK RD                                                                         LEVITTOWN       PA 19057‐3410
MARY COX         2310 ESTABROOK AVE NW                                                                     WARREN          OH 44485‐1947
MARY COX         PO BOX 326                       LILES DRIVE                                              LAKE CITY       TN 37769‐0326
MARY COX         130 TALSMAN DR UNIT 3                                                                     CANFIELD        OH 44406‐1916
MARY COYLE       10098 E SUNDANCE TRL                                                                      SCOTTSDALE      AZ 85262‐5198
MARY COYLE       19410 N. M33                                                                              ATLANTA         MI 49709
MARY COYLE       685 COUNTRY CLUB RD                                                                       INDIANAPOLIS    IN 46234‐2631
MARY CRABTREE    BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.     OH 44236
MARY CRAFT       8180 HENDERSON RIDGE DR                                                                   MOORESVILLE     IN 46158‐7205
MARY CRAGO       1648 KINGSLEY DRIVE                                                                       ANDERSON        IN 46011‐1012
MARY CRAIG       4691 POWELL RD                                                                            DAYTON          OH 45424‐5862
MARY CRAIG       4842 N LAGRO RD                                                                           MARION          IN 46952‐9639
MARY CRAIG       16884 SUSSEX ST                                                                           DETROIT         MI 48235‐3718
MARY CRAIG       6337 GARDEN OAKS DR                                                                       SHREVEPORT      LA 71129‐3301
MARY CRAIG       1210 RANIKE DR                                                                            ANDERSON        IN 46012‐2742
MARY CRAIL       PO BOX 334                       230 S INDIANA                                            ATLANTA         IN 46031
MARY CRAMBLETT   4161 STANDISH DR                                                                          INDIANAPOLIS    IN 46221‐2438
MARY CRAMER      104 CAPRI ISLES BLVD APT 307                                                              VENICE          FL 34292‐3060
MARY CRAMER      5221 SPORTSCRAFT DR                                                                       DAYTON          OH 45414‐3653
MARY CRANDALL    PO BOX 72                        240C E OAK ST                                            MONTROSE        MI 48457‐0072
MARY CRAUDER     5633 LIEBOLD DR                                                                           DAYTON          OH 45424‐3832
MARY CRAWFORD    2655 NEBRASKA AVE APT 462                                                                 PALM HARBOR     FL 34684‐2666
MARY CRAWFORD    638 HOLLY GLENN ROAD                                                                      PITTSBORO       NC 27312‐6583
MARY CRAWFORD    6203 BRIGGS AVE                                                                           BURTON          MI 48509‐2333
MARY CRAWFORD    4020 N CAPITOL AVE                                                                        INDIANAPOLIS    IN 46208‐3811
MARY CRAWFORD    2388 AVA                                                                                  HOWELL          MI 48843‐8496
MARY CRAWLEY     8822 S PAULINA ST                                                                         CHICAGO          IL 60620‐4944
MARY CREECH      1628 N LELAND AVE                                                                         INDIANAPOLIS    IN 46218‐4774
MARY CREEL       1226 POWDER SPRINGS RD                                                                    SEVIERVILLE     TN 37876‐0742
MARY CRENSHAW    5229 GLADSTONE BLVD                                                                       KANSAS CITY     MO 64123‐1420
MARY CRESTA      9221 SNYDER LN                                                                            PERRY HALL      MD 21128‐9413
MARY CRICK       107 RAMBLEWOOD DR                                                                         HATTIESBURG     MS 39402‐2219
MARY CRISS       4605 REED ST                                                                              FORT WORTH      TX 76119‐2143
MARY CRISTEA     4906 GERALD ST                                                                            WARREN          MI 48092‐3479
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Name               Address1                           Address2                Address3   Address4         City              State Zip
MARY CRITCHETT     1324 TERRACE BLUFF DR                                                                  TRAVERSE CITY      MI 49686‐5099
MARY CRITTENDEN    32 MIDWAY AVE                                                                          BUFFALO            NY 14215‐2228
MARY CROCKETT      12729 RICHMOND AVE                                                                     GRANDVIEW          MO 64030‐2160
MARY CROFOOT       PO BOX 686                                                                             FOWLERVILLE        MI 48836‐0686
MARY CROGHAN       472 E GRAND BLVD                                                                       YPSILANTI          MI 48198‐4129
MARY CROOK         672 DEVITT AVE                                                                         CAMPBELL           OH 44405‐1519
MARY CROOK         8005 STORIE RD                                                                         ARLINGTON          TX 76001‐2926
MARY CROOKS        3973 CLOVER CREEK RD                                                                   MARTINSBURG        PA 16662‐7211
MARY CROOKSTON     16 ADAMS HILL RD                                                                       CROSS RIVER        NY 10518‐1512
MARY CROSBY        9031 LISCOM RD                                                                         GOODRICH           MI 48438‐8835
MARY CROSBY        10321 KREPPS RD                                                                        DEWITT             MI 48820‐8447
MARY CROSBY        1716 HOGAN DR                      C/O REBECCA A LEPPER                                KOKOMO             IN 46902‐5078
MARY CROSBY        PO BOX 24204                                                                           LANSING            MI 48909‐4204
MARY CROSBY        APT 204                            3240 SOUTH ADAMS ROAD                               AUBURN HILLS       MI 48326‐3384
MARY CROSE         3353‐A MORTON ST                                                                       ANDERSON           IN 46016
MARY CROSS         1800 WELCH BLVD                                                                        FLINT              MI 48504‐3014
MARY CROSS         948 COLRAIN ST SW                                                                      GRAND RAPIDS       MI 49509‐2862
MARY CROSS         519 CHESTNUT ST                                                                        FLUSHING           MI 48433‐1437
MARY CROSSLAND     1894 N IOWA ST                                                                         CHANDLER           AZ 85225‐7070
MARY CROSSMAN      14119 W GREEN HOLLOW TER                                                               LITCHFIELD PARK    AZ 85340‐5033
MARY CROTEAU       43650 WESTMINISTER WAY                                                                 CANTON             MI 48187‐3157
MARY CROWE         80 N RACCOON RD APT 78                                                                 YOUNGSTOWN         OH 44515‐2712
MARY CROWE         1323 E 3RD ST                                                                          LONG BEACH         CA 90802‐3696
MARY CROWE         76 JORDAN DR                                                                           LAWRENCEVILLE      GA 30044‐4442
MARY CROWE         88 MILL RD                                                                             EASTCHESTER        NY 10709‐1500
MARY CROWLEY       2772 COLVIN BLVD                                                                       TONAWANDA          NY 14150‐4409
MARY CRUICKSHANK   12701 SE SUNSET HARBOR RD LOT 43                                                       WEIRSDALE          FL 32195‐2324
MARY CRUSE         2059 GLENCOE RD                                                                        CULLEOKA           TN 38451‐2149
MARY CRUTCHFIELD   162 9TH ST                                                                             BRITTON            MI 49229‐9517
MARY CULLEN        419 BALSAM DR                                                                          DAVISON            MI 48423‐1801
MARY CULPEPPER     8345 HUBBARD LAKE RD                                                                   ALPENA             MI 49707‐9567
MARY CUMMINGS      10101 HEROLD HWY                                                                       ADDISON            MI 49220‐9302
MARY CUMMINGS      13465 10TH RD                                                                          GARDEN             MI 49835‐9463
MARY CUNDIFF       PO BOX 212                                                                             CONVERSE           IN 46919‐0212
MARY CUNNINGHAM    98 MADISON ST                                                                          ISELIN             NJ 08830‐1917
MARY CUNNINGHAM    501 S WARMAN AVE                                                                       INDIANAPOLIS       IN 46222‐4050
MARY CUNNINGHAM    628 SUSAN DR                                                                           ANN ARBOR          MI 48103‐3447
MARY CUNNINGHAM    458 CLAYTON PKWY                                                                       MONTGOMERY         AL 36104‐3904
MARY CUNNINGHAM    12 COURTLAND DR                                                                        MONTGOMERY         AL 36105
MARY CUNNINGHAM    1330 EASTLAND AVE SE                                                                   WARREN             OH 44484‐4546
MARY CUNNINGHAM    2734 CEDARBROOK WAY                                                                    BEAVERCREEK        OH 45431‐7706
MARY CUNNINGHAM    11128 PINEHURST RD                                                                     PLYMOUTH           MI 48170‐5844
MARY CUNNINGHAM    1504 LEXINGTON DR                                                                      BOSSIER CITY       LA 71111‐2086
MARY CUNNINGHAM    1429 E MILWAUKEE ST                                                                    JANESVILLE         WI 53545‐2635
MARY CUNNINGHAM    606 NORTH OAKS AVE                                                                     HARTFORD           SD 57033
MARY CURL          1030 BROOKVIEW DR APT 11                                                               TOLEDO             OH 43615‐8514
MARY CURRAN        8201 S KENTUCKY AVE                                                                    OKLAHOMA CITY      OK 73159‐5229
MARY CURRIE        15835 SUSSEX ST                                                                        DETROIT            MI 48227‐2660
MARY CURRY         1414 W BROADWAY ST                                                                     KOKOMO             IN 46901‐1915
MARY CURRY         9200 W VERNOR HWY APT 229                                                              DETROIT            MI 48209‐1463
MARY CURRY         947 FRANKLIN ST SE                                                                     GRAND RAPIDS       MI 49507‐1324
MARY CURRY         1429 SANTA ANNA ST                                                                     SAINT CHARLES      MO 63303‐5156
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Name                                  Address1                           Address2        Address3         Address4         City               State Zip
MARY CURT                             3027 KISDON HILL DR                                                                  WAUKESHA            WI 53188‐3933
MARY CURTIS                           2395 HARBOR BLVD APT 309A                                                            PORT CHARLOTTE      FL 33952‐5036
MARY CURTIS                           5363 E S AVE                                                                         VICKSBURG           MI 49097‐8475
MARY CURTIS                           1425 WESTBURY DR                                                                     DAVISON             MI 48423
MARY CURTISS                          9153 CHATWELL CLUB LN APT 15                                                         DAVISON             MI 48423‐2859
MARY CURYLO                           8268 ZIBLUT CT                                                                       NIAGARA FALLS       NY 14304‐5503
MARY CUTHBERT                         3404 RAINTREE DR                                                                     GAUTIER             MS 39553‐5057
MARY CUTRIGHT                         6257 TELEGRAPH RD APT 128                                                            BLOOMFIELD HILLS    MI 48301‐1641
MARY CUTTER                           7491 CHESTNUT RIDGE RD                                                               LOCKPORT            NY 14094‐3505
MARY CUZZOLINI                        852 WOODVIEW DR                                                                      ASHLAND             OH 44805‐9140
MARY CYMBALISTY                       194 BAIRD ST                                                                         ROCHESTER           NY 14621‐2649
MARY CZADANKIEWICZ                    14445 INKSTER RD                                                                     LIVONIA             MI 48154‐3936
MARY CZAP                             4134 S BROAD ST APT D7                                                               YARDVILLE           NJ 08620‐2007
MARY CZARNECKI                        6205 CABRINI LN                                                                      SEVEN HILLS         OH 44131‐2848
MARY CZERNIK                          73 BOONE RD                                                                          MEDINA              TN 38355‐9784
MARY D ACRI                           370 S. BONAIR AVE.                                                                   YOUNGSTOWN          OH 44509‐3006
MARY D ANTONIO                        1 BLUE BELL LN                                                                       MIDDLETOWN          CT 06457‐5033
MARY D CORSON                         51 MOONGLOW DRIVE                                                                    BIRMINGHAM          AL 35215‐7007
MARY D DOWELL                         1008 BIRCHWOOD LANE                                                                  JACKSONVILLE        NC 28546
MARY D FONCE                          1435 PEPPERWOOD DR                                                                   NILES               OH 44446‐3542
MARY D GARZA                          8763 23 MILE RD                                                                      SHELBY TWP          MI 48316‐4515
MARY D HAYNES                         225 ELIZABETH LAKE RD                                                                PONTIAC             MI 48341‐1012
MARY D HERYCYK                        9756 DELTONA DR                                                                      NEW MIDDLETWN       OH 44442
MARY D JENKINS                        1131 E MAIN ST                                                                       TROTWOOD            OH 45426
MARY D JONES                          429 S STEFFLER ST APT 9                                                              RANTOUL              IL 61866‐3130
MARY D MATTISON                       PO BOX 186                                                                           TWISP               WA 98856
MARY D MCFADDEN REV TST DTD 04/20/9   984 EUREKA RD                                                                        SPRINGFIELD         VT 05156‐9106

MARY D MCKENZIE                       2031 SURFWOOD CIR SW                                                                 WARREN             OH   44485‐3974
MARY D MORGAN                         224 GRANADA AVE                                                                      YOUNGSTOWN         OH   44504
MARY D MORROW                         7272 SERPENTINE DRIVE                                                                HUBER HEIGHTS      OH   45424‐2316
MARY D NANCE                          202 WASHINGTON STREET NORTH WEST                                                     WARREN             OH   44483

MARY D PATTERSON                      PO BOX 29161                                                                         SHREVEPORT         LA   71149‐9161
MARY D PERIMAN                        75 W. STATE ST                                                                       SPRINGBORO         OH   45066
MARY D PETIYA                         115 TURQUOISE TRAIL                                                                  CORTLAND           OH   44410‐1933
MARY D ROGERS                         74 HALEY LN APT 1                                                                    BUFFALO            NY   14227‐3696
MARY D ROSS                           888 PALLISTER ST APT 611                                                             DETROIT            MI   48202‐2672
MARY D SANDERSON                      3350 EAGLE HARBOR WATERPORT RD                                                       ALBION             NY   14411‐9067
MARY D SIMS                           7750 MARS HILL RD                                                                    CARTHAGE           MS   39051
MARY D SPALA                          1924 BONNIE BRAE N.E.                                                                WARREN             OH   44483‐3516
MARY D STRICKLAND                     24 EDGEWATER LN                                                                      WILLINGBORO        NJ   08046‐2325
MARY D TONEY                          1805 FAUVER AVE                                                                      DAYTON             OH   45420
MARY D WALCHAK                        1747 MORRIS ST                                                                       MINERAL RIDGE      OH   44440
MARY D WHITE                          119 SYKES AVE                                                                        FLORENCE           MS   39073
MARY D WHITTAKER                      804 HURON AVE.                                                                       DAYTON             OH   45402‐5324
MARY D WIGGINS                        14893 GREENVIEW RD                                                                   DETROIT            MI   48223‐2328
MARY D'ANDREA                         1410 E COOKE RD                                                                      COLUMBUS           OH   43224‐7005
MARY D'ANDREA                         508 SHAPE CHARGE RD                                                                  MARTINSBURG        WV   25404‐6953
MARY D'ANGELO                         6231 TONAWANDA CREEK RD            APT 109                                           LOCKPORT           NY   14094‐7806
MARY D'ARCANGELIS                     610 MALL DR APT 105                                                                  PORTAGE            MI   49024‐2898
MARY DABLAIN                          21 HARWINTON HEIGHTS RD                                                              HARWINTON          CT   06791‐2016
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Name                  Address1                         Address2           Address3         Address4         City             State Zip
MARY DADY             2426 MILAM RD                                                                         OAK GROVE         MO 64075‐8395
MARY DAGNAN           2808 SAMUEL DRIVE                                                                     SAGINAW           MI 48601‐7016
MARY DAGONESE         759 AMHERST ST                                                                        BUFFALO           NY 14216‐3101
MARY DAILEY           811 BELMONT AVE                                                                       FLINT             MI 48503‐2730
MARY DAILEY           54 E WESTERN RESERVE RD UNIT 1                                                        POLAND            OH 44514‐4377
MARY DAILEY           6988 MCKEAN RD LOT 68            SWAN CREEK                                           YPSILANTI         MI 48197‐9784
MARY DAILY            1151 S DELPHOS ST                                                                     KOKOMO            IN 46902‐1728
MARY DALLE            1640 MAIDEN LN                                                                        ROCHESTER         NY 14626
MARY DALMAN           4154 CHAUCER CIR                                                                      HOLT              MI 48842‐1855
MARY DALTON           165 JOHN DEERE LN                                                                     EASLEY            SC 29640‐7752
MARY DALTON           7352 ALBION RD                                                                        NORTH ROYALTON    OH 44133‐1706
MARY DAMEC            PO BOX 331                                                                            SPEEDWELL         TN 37870‐0331
MARY DAMUTH           1907 NELSON SE                                                                        GRAND RAPIDS      MI 49507
MARY DANAHO           4190 MARIANNE DR                                                                      FLUSHING          MI 48433‐2363
MARY DANALS           4915 LANCE RIDGE LN                                                                   WINSTON SALEM     NC 27127‐7604
MARY DANCY            1436 ROE HUNT RD                                                                      LAUREL SPRINGS    NC 28644‐8657
MARY DANES            2658 BLACK OAK DRIVE                                                                  NILES             OH 44446‐4469
MARY DANHOFF          560 E M‐55 #307                                                                       TAWAS CITY        MI 48763
MARY DANICIC          255 VILLAGE DR                                                                        SEVEN HILLS       OH 44131‐5706
MARY DANIEL           4905 MIAMI SHORES DR                                                                  MORAINE           OH 45439‐1141
MARY DANIEL           15270 BRINGARD DR                                                                     DETROIT           MI 48205‐1304
MARY DANIEL           19581 HECKMAN ST                                                                      CLINTON TWP       MI 48035‐3978
MARY DANIEL           113 W. SUNSET DR.                APT 10D                                              HALE              MO 64643
MARY DANIELS          7254 FARNUM ST                                                                        ROMULUS           MI 48174‐2115
MARY DANIELS          7593 N 28TH ST                                                                        RICHLAND          MI 49083‐9774
MARY DANIELS          2864 ROUNDTREE DR                                                                     TROY              MI 48083‐2342
MARY DANIELS          949 STEWART AVE                                                                       XENIA             OH 45385‐2645
MARY DANIELS          2115 COLLADAY CT                                                                      FLINT             MI 48506‐3758
MARY DANKO            PO BOX 10182                                                                          DETROIT           MI 48210‐0182
MARY DANKO            1432 HEDGEWOOD CIR                                                                    NORTH PORT        FL 34288‐3352
MARY DANTZLER         3624 EVERGREEN PKWY                                                                   FLINT             MI 48503‐4530
MARY DANTZLER‐GRACE   4344 CAYUGA TRL                                                                       FLINT             MI 48532‐3582
MARY DANULES          265 CLIPPER BAY DR                                                                    ALPHARETTA        GA 30005‐4224
MARY DAPPRICH         12363 FORD HWY                                                                        CLINTON           MI 49236‐9527
MARY DARBY            PO BOX 529                                                                            BIRCH RUN         MI 48415‐0529
MARY DARK             1601 US HIGHWAY 441 SE LOT 45                                                         OKEECHOBEE        FL 34974‐7363
MARY DARLAK           9752 LOUGHBOROUGH WAY                                                                 CLARENCE          NY 14031‐2516
MARY DARLAND          5022 E ATHERTON RD                                                                    BURTON            MI 48519‐1528
MARY DARROW           9944 REYNOLDS RD                                                                      BELLEVUE          MI 49021‐9708
MARY DASILVA          44 EVERETT AVE                                                                        BRISTOL            RI 02809
MARY DATRES           11546 WOODGLEN WAY                                                                    JACKSONVILLE      FL 32223‐7453
MARY DATZ             9306 COUNTRY CLUB LN                                                                  DAVISON           MI 48423‐8357
MARY DAVENPORT        10450 HARRIS RD                                                                       CHESANING         MI 48616‐9408
MARY DAVENPORT        40 EAST ST                                                                            AVON              MA 02322‐1913
MARY DAVID            6020 LAYNE HILLS CT                                                                   ENGLEWOOD         OH 45322‐3518
MARY DAVIDSON         4522 COLLEGE VIEW DR                                                                  DAYTON            OH 45427‐2811
MARY DAVIDSON         2121 CHESTNUT ST                                                                      COLUMBUS          IN 47201
MARY DAVIDSON         661 GEOFFREY CT                                                                       INKSTER           MI 48141‐1095
MARY DAVIDSON         551 W MAIN ST APT 12                                                                  PIGGOTT           AR 72454
MARY DAVIES           1892 MEADOWLARK LN                                                                    NILES             OH 44446‐4133
MARY DAVIES           255 N BOTHWELL ST                                                                     PALATINE           IL 60067‐5055
MARY DAVIS            193 THOREAU LN                                                                        XENIA             OH 45385‐2757
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Name              Address1                      Address2            Address3                   Address4         City               State Zip
MARY DAVIS        PO BOX 14428                                                                                  CLEVELAND           OH 44114‐0428
MARY DAVIS        1420 CEDAR ST                                                                                 LIMA                OH 45804‐2538
MARY DAVIS        15815 ARCADE AVE                                                                              CLEVELAND           OH 44110‐1629
MARY DAVIS        865 WILLOW CREEK WAY                                                                          TROY                OH 45373‐8757
MARY DAVIS        4121 THE ALAMEDA                                                                              BALTIMORE           MD 21218‐1359
MARY DAVIS        106 SEA STEPPES CT                                                                            JUPITER             FL 33477
MARY DAVIS        2703 WHITES MILL CT                                                                           DECATUR             GA 30034‐1067
MARY DAVIS        835 CAYENNE CT                                                                                TROY                OH 45373‐8749
MARY DAVIS        475 POTTER ST                                                                                 MULLIKEN            MI 48861‐9781
MARY DAVIS        1117 ADA ST                   C/0 BEATRICE EPKE                                               OWOSSO              MI 48867‐1609
MARY DAVIS        8750 OTTO ST                                                                                  DETROIT             MI 48204‐2762
MARY DAVIS        2935 HEDGEROW PASS                                                                            FORT WAYNE          IN 46804‐7851
MARY DAVIS        1106 WAMAJO DR                                                                                SANDUSKY            OH 44870‐4368
MARY DAVIS        732 COUNTY RD # 447                                                                           HEFLIN              AL 36264
MARY DAVIS        PO BOX 250‐985                                                                                HOLLY HILL          FL 32125
MARY DAVIS        1865 VALLEY BLVD                                                                              NILES               OH 44446‐2824
MARY DAVIS        128 PARK AVE                                                                                  CORTLAND            OH 44410‐1045
MARY DAVIS        1532 WALTON ST                                                                                ANDERSON            IN 46016‐3148
MARY DAVIS        7843 SEBRING DR                                                                               DAYTON              OH 45424‐2231
MARY DAVIS        485 TOWNVIEW CIR E                                                                            MANSFIELD           OH 44907‐1133
MARY DAVIS        1147 W SCHUMACHER AVE                                                                         FLINT               MI 48507‐3617
MARY DAVIS        2005 INDICA TRL                                                                               ALBANY              GA 31721‐5234
MARY DAVIS        220 DAVIS LN                                                                                  LEXINGTON           AL 35648‐3755
MARY DAVIS        3312 W 29TH ST                                                                                MUNCIE              IN 47302‐4935
MARY DAVIS        241 BA WOOD LN                                                                                JANESVILLE          WI 53545‐0705
MARY DAVIS        7447 ENGLISH IVY W                                                                            OLIVE BRANCH        MS 38654‐7161
MARY DAVIS        21789 VIRGINIA ST                                                                             SOUTHFIELD          MI 48076‐6011
MARY DAVIS        51129 SHADYWOOD DR                                                                            MACOMB              MI 48042‐4295
MARY DAVIS        PO BOX 1250                                                                                   TAYLOR              MI 48180‐5650
MARY DAVIS        11740 LANSTOWN                                                                                DETROIT             MI 48224
MARY DAWKINS      19680 SHREWSBURY RD                                                                           DETROIT             MI 48221‐1895
MARY DAWSON       6800 BRIGANTINE WAY                                                                           DAYTON              OH 45414‐5913
MARY DAWSON       2345 FERNDALE ST                                                                              SYLVAN LAKE         MI 48320‐1617
MARY DAWSON       PO BOX 340323                 C/O JOHN D DOBBS                                                DAYTON              OH 45434‐0323
MARY DAWSON       6827 MARSHWOOD DR SW APT 1A                                                                   BYRON CENTER        MI 49315‐9279
MARY DAWSON       PO BOX 615                                                                                    LAKEBAY             WA 98349
MARY DAWSON       C/O RBC WEALTH MANAGEMENT     FBO MARY DAWSON     3312 ROSEDALE ST STE 201                    GIG HARBOR          WA 98335
MARY DE CROES     717 LAKESIDE DR                                                                               KOKOMO              IN 46901‐7034
MARY DE FREITAS   4693 AMBERWOOD CT                                                                             ROCHESTER           MI 48306‐1482
MARY DE FRIESE    315 JANA DR                                                                                   FLORISSANT          MO 63031‐1620
MARY DE GIORGIO   29593 ASPEN DR                                                                                FLAT ROCK           MI 48134‐1330
MARY DE LA ROSA   20228 ALMY RD                                                                                 HOWARD CITY         MI 49329‐9749
MARY DE LELLA     77 RED LEAF DR                                                                                ROCHESTER           NY 14624‐3803
MARY DE LISLE     8223 S ESTON RD                                                                               CLARKSTON           MI 48348‐4020
MARY DE LORENZO   11352 WALDEN LOOP                                                                             PARRISH             FL 34219‐7563
MARY DE LUCIA     3481 ALMERINDA DR                                                                             CANFIELD            OH 44406‐9203
MARY DEAL         1035 E HOLLAND AVE                                                                            SAGINAW             MI 48601‐2625
MARY DEAN         1434 TAMARACK LN                                                                              JANESVILLE          WI 53545‐1257
MARY DEAR         1615 POUND DR                                                                                 FLINT               MI 48532‐4559
MARY DEARING      25 FAIRLAWN AVE                                                                               BOARDMAN            OH 44512‐1506
MARY DEARY        34342 COMMONS CT                                                                              FARMINGTON HILLS    MI 48331‐1410
MARY DEASON       55524 YUCCA TRL SPC 9                                                                         YUCCA VALLEY        CA 92284‐2560
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Name                   Address1                       Address2            Address3         Address4         City                 State Zip
MARY DEATON            276 ELKS ST                                                                          WINDER                GA 30680‐3918
MARY DEATON
MARY DEAVER            1825 FLETCHER ST                                                                     ANDERSON             IN   46016‐2007
MARY DEAVER            4110 WHITMAN LN                                                                      GRAND PRAIRIE        TX   75052‐3912
MARY DEBOSE            4117 AMALFI DR                                                                       PALMDALE             CA   93552‐5111
MARY DECALUWE          1123 COURTNEY CT                                                                     OXFORD               MI   48371‐5964
MARY DECARTERET        31154 W CHELTON DR                                                                   BEVERLY HILLS        MI   48025‐5145
MARY DECATUR           2938 LAURIA RD                                                                       KAWKAWLIN            MI   48631‐9103
MARY DECK              11597 W STATE ROAD 42                                                                STILESVILLE          IN   46180‐9664
MARY DECKER            11130 STRATFORD DR APT 319                                                           OKLAHOMA CITY        OK   73120‐7243
MARY DECKER            23008 GARY LN                                                                        ST CLAIR SHRS        MI   48080‐2714
MARY DECKER            8828 BURLINGTON AVE                                                                  BROOKFIELD           IL   60513‐2105
MARY DECKER            5134 ROBERTS DR                                                                      FLINT                MI   48506‐1591
MARY DECKER‐JOHNSON    119 CENTRAL AVE                                                                      EWING                NJ   08628‐2903
MARY DEDYNE            1842 DAVIS AVE                                                                       LANSING              MI   48910‐9004
MARY DEEB              22807 NEWBERRY ST                                                                    SAINT CLAIR SHORES   MI   48080‐1924
MARY DEERING           4178 MEIGS AVE                                                                       WATERFORD            MI   48329‐2030
MARY DEES              PO 634 313 WATER ST                                                                  CECILTON             MD   21913
MARY DEFILIPPO         19 BRIGHT ST                                                                         LOCKPORT             NY   14094‐4103
MARY DEFILIPPO         59 CLEVELAND PL                                                                      LOCKPORT             NY   14094‐3119
MARY DEGG              2318 OAK RD                                                                          PINCONNING           MI   48650‐9747
MARY DEGRAAF           3490 WENTWORTH DR SW                                                                 GRAND RAPIDS         MI   49519‐3160
MARY DEIBEL            PO BOX 206                                                                           BUFFALO              NY   14226‐0206
MARY DEICHLER          325 N LA ARBOLETA DR                                                                 GILBERT              AZ   85234‐6407
MARY DEKORT            2225 ADVENTURE TRL                                                                   DURHAM               NC   27703‐9242
MARY DELAGARZA         13680 S HINMAN RD                                                                    EAGLE                MI   48822‐9637
MARY DELANEY           307 LONGFIELD ROAD                                                                   GLENSIDE             PA   19038‐7338
MARY DELANO            APT 18                         565 CLARK AVENUE                                      BRISTOL              CT   06010‐4052
MARY DELAURA           29223 WHALEBONE WAY                                                                  HAYWARD              CA   94544‐6426
MARY DELAWTER          432 MOLLY LN                                                                         ANDERSON             IN   46016‐5092
MARY DELAY             103 CATESBY CIRCLE                                                                   COLUMBIA             SC   29206‐4964
MARY DELGADO           644 BLUFF CANYON CR BOX 4                                                            EL PASO              TX   79912
MARY DELK              2630 LORIS DR                                                                        DAYTON               OH   45449‐3225
MARY DELL              549 SPRING LN                                                                        FLUSHING             MI   48433‐1928
MARY DELL              3388 BELL RD # 415                                                                   AUBURN               CA   95603‐9242
MARY DELLE DONNE       1005 N FRANKLIN ST APT 1001                                                          WILMINGTON           DE   19806‐4551
MARY DELMONTIE         14915 TERRY ST                                                                       DETROIT              MI   48227‐5401
MARY DELOACH           7504 ROGER THOMAS DR                                                                 MOUNT MORRIS         MI   48458‐8934
MARY DELOATCH‐PETTIT   11 HICKORY RIDGE CT                                                                  CATONSVILLE          MD   21228‐2419
MARY DELPH             6247 RIVER RD                                                                        HEBRON               KY   41048‐8711
MARY DELUCA            2703 PARKWAY LANE                                                                    VAN BUREN            AR   72956‐6931
MARY DELUCIA           4470 GREEN GLEN DRIVE                                                                YOUNGSTOWN           OH   44511‐3612
MARY DEMARCO           3267 PHEASANT RUN RD UNIT C                                                          CORTLAND             OH   44410‐9128
MARY DEMLER            3134 CARPENTER LN                                                                    SAINT CLOUD          FL   34769‐1912
MARY DEMMONS           234 MARAVISTA AVE                                                                    TEATICKET            MA   02536‐7356
MARY DEMOND            415 GODIER ST                                                                        PRAIRIE DU ROCHER    IL   62277‐2119
MARY DEMPSEY           127 LAFAYETTE AVE                                                                    CANASTOTA            NY   13032‐4271
MARY DENLINGER         1660 TABOR AVE                                                                       DAYTON               OH   45420‐2175
MARY DENNEY            10771 KINA CIR                                                                       KEITHVILLE           LA   71047‐7019
MARY DENNING           2600 PINK ACRES ST                                                                   CARY                 NC   27518‐6840
MARY DENNIS            2319 COGSWELL DR                                                                     LANSING              MI   48906‐3614
MARY DENNIS            1531 E JEFFERSON ST                                                                  KOKOMO               IN   46901‐4973
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Name                Address1                      Address2            Address3         Address4         City            State Zip
MARY DENNISON       PO BOX 454                                                                          OXFORD           GA 30054‐0454
MARY DENORCY        917 MINERAL SPRINGS RD                                                              WEST SENECA      NY 14224‐1036
MARY DENSON         648 S UNION ST                                                                      LIMA             OH 45804‐1368
MARY DENSON         21019 CHESTNUT PL                                                                   WARRENTON        MO 63383‐5521
MARY DENT           14741 COMMERCIAL POINT RD                                                           ASHVILLE         OH 43103‐9608
MARY DEPASCALE      709 CHURCHILL RD                                                                    GIRARD           OH 44420‐2122
MARY DEPASQUALE     190 BURRITT RD                                                                      HILTON           NY 14468‐9702
MARY DEPIETRO       3104 MEANDERWOOD DR                                                                 CANFIELD         OH 44406‐9620
MARY DEPOTTEY       8702 MURPHY LAKE RD                                                                 VASSAR           MI 48768‐9631
MARY DERR           6599 SARANAC DR                                                                     TRANSFER         PA 16154‐8955
MARY DERRINGER      3221 W WASHINGTON ST                                                                ANDERSON         IN 46011‐8774
MARY DESONIA        4185 FOUR LAKES AVE                                                                 LINDEN           MI 48451‐9445
MARY DETAMORE       1017 BONANZA DR                                                                     ARLINGTON        TX 76001‐8537
MARY DETOMA         52 CALLE DE LAGOS                                                                   FORT PIERCE      FL 34951‐2803
MARY DETTERICH      1201 ANDERSON RD                                                                    DULUTH           MN 55811‐5417
MARY DEVEAU         30 VILLAGE LN                                                                       BURLINGTON       CT 06013‐1403
MARY DEVER          112 ANTLER DR                                                                       INMAN            SC 29349‐7721
MARY DEVERS         PO BOX 46                                                                           CARSON CITY      MI 48811‐0046
MARY DEVINE         25 COTTAGE GROVE CIRCLE                                                             NORTH CHILI      NY 14514‐1257
MARY DEVITT         70 S MAIN ST                                                                        LAMBERTVILLE     NJ 08530‐1828
MARY DEVOTA         11350 NIBLOCK RD                                                                    CHESANING        MI 48616‐9443
MARY DEWEESE        6651 SHAFFER RD NW                                                                  WARREN           OH 44481‐9407
MARY DEWS           6314 GRACELAND AVE                                                                  CINCINNATI       OH 45237‐4808
MARY DI BUONO       4435 HARRIS HILL RD                                                                 WILLIAMSVILLE    NY 14221‐6231
MARY DI CIOCCIO     17 GLENSIDE AVE                                                                     BUFFALO          NY 14223‐2531
MARY DI FRANCO      1331 GENESEE ST                                                                     TRENTON          NJ 08610‐6204
MARY DI LUCIDO      36 WILSON ST                                                                        LAMBERTVILLE     NJ 08530‐1814
MARY DI MAIO        305 BOSTON RD                                                                       SYRACUSE         NY 13211‐1511
MARY DI STASIO      26 MARBLE CIR                                                                       ROCHESTER        NY 14615‐1338
MARY DIAL           2101 N D ST                                                                         ELWOOD           IN 46036‐1636
MARY DIANA          1305 YO‐KINGSVILLE RD                                                               VIENNA           OH 44473
MARY DIATCHUN       244 CRANBERRY BEACH BLVD                                                            WHITE LAKE       MI 48386‐1940
MARY DIAZ           PO BOX 4517                                                                         WATERBURY        CT 06704‐0517
MARY DIAZ           PO BOX 296                                                                          VERNON           MI 48476‐0296
MARY DIAZ           2865 WEST RIDGEVIEW DRIVE                                                           SNOWFLAKE        AZ 85937
MARY DIBARTOLOMEO   8595 OLD FREDERICK RD                                                               ELLICOTT CITY    MD 21043‐1917
MARY DICAIRANO      7407 SANDALWOOD DR                                                                  PORT RICHEY      FL 34668‐5749
MARY DICE           10631 WINDSMONT CT                                                                  LEHIGH ACRES     FL 33936‐7268
MARY DICKAU         54 ARTISAN ST                                                                       BRISTOL          CT 06010‐5401
MARY DICKERSON      PO BOX 3081                                                                         ANDERSON         IN 46018‐3081
MARY DICKERSON      522 PICCADILLI RD                                                                   ANDERSON         IN 46013‐5060
MARY DICKEY         377 AUGSBURG PATH APT 101                                                           SAINT JOSEPH     MI 49085‐8317
MARY DICKINSON      712 BEACH BUGGY LN                                                                  LINDEN           MI 48451‐9663
MARY DIEHL          6045 N MAIN ST APT 344                                                              DAYTON           OH 45415‐3184
MARY DIEHM          5332 NEWTON ST                                                                      OVERLAND PARK    KS 66202‐1160
MARY DIENER         8378 S TAYLOR AVE                                                                   MC BAIN          MI 49657‐9627
MARY DIETRICK       3916 E PERKINS AVE # 107L                                                           HURON            OH 44839
MARY DIETSCH        332 LONDON RD                                                                       W JEFFERSON      OH 43162‐1344
MARY DIETZ          PO BOX 10                                                                           HINSDALE         NY 14743‐0010
MARY DIETZ          5750 BOWMILLER RD                                                                   LOCKPORT         NY 14094‐9051
MARY DIFFIN         1830 W M 21                                                                         OWOSSO           MI 48857‐9310
MARY DILL           529 S BROAD ST                                                                      TRENTON          NJ 08611‐1819
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Name                  Address1                       Address2                   Address3             Address4           City               State Zip
MARY DILLARD          3025 BARTH ST                                                                                     FLINT               MI 48504‐2983
MARY DILLINGER        700 N PALMETTO ST              LRMC NURSING CENTER                                                LEESBURG            FL 34748‐4419
MARY DILLON           2121 CHRISTOPHER STREET                                                                           ADRIAN              MI 49221‐9475
MARY DILLON           2273 N HUBBARD RD                                                                                 HUBBARD             OH 44425‐9614
MARY DILLY            705 E REAGAN PKWY APT 155                                                                         MEDINA              OH 44256‐1240
MARY DIMAGGIO         1058 GLORIA DR                                                                                    HEMET               CA 92545‐1587
MARY DIMOFF           812 G ST SE                                                                                       WASHINGTON          DC 20003
MARY DINATALE         C/O ANGELINE WEBB              63 BARKER STREET                                                   BUFFALO             NY 14209
MARY DINH‐VENTURI     3017 HARRAH DR                                                                                    SPRING HILL         TN 37174‐8285
MARY DINITTO          36 RIVERSIDE RD                                                                                   MASHPEE             MA 02649‐4527
MARY DIROCCO          22220 SW 248TH ST                                                                                 HOMESTEAD           FL 33031‐1405
MARY DISHMAN          400 BRUNSWICK LN                                                                                  DANVILLE             IL 61832‐7912
MARY DISHMAN          450 FALLING WATER RD                                                                              COOKEVILLE          TN 38506‐6827
MARY DIXON            PO BOX 2770                                                                                       ANDERSON            IN 46018‐2770
MARY DIXON            13779 EATON PIKE                                                                                  NEW LEBANON         OH 45345‐9297
MARY DIXON            205 BUD NALLEY DR RM 55                                                                           EASLEY              SC 29642‐3580
MARY DIXON            6134 BERMUDA LN                                                                                   MOUNT MORRIS        MI 48458‐2623
MARY DIXON            507 BUXTON ROAD                                                                                   TOMS RIVER          NJ 08755
MARY DOBBINS          1618 HILL ST                                                                                      ANDERSON            IN 46012‐2426
MARY DOBBINS          3633 GRUBER RD                                                                                    MONROE              MI 48162‐9455
MARY DOBEK            27253 BONNIE DR                                                                                   WARREN              MI 48093‐4687
MARY DOBOS            375 W 5TH ST                                                                                      IMLAY CITY          MI 48444‐1038
MARY DOBSON           3608 HUNT RD                                                                                      LAPEER              MI 48446‐2943
MARY DODARO           809 PERSIMMON LN APT C                                                                            MT PROSPECT          IL 60056‐6326
MARY DODD             1290 NATIONAL RD APT 406                                                                          WHEELING            WV 26003‐5752
MARY DODD             17841 PEPPARD DR                                                                                  FORT MYERS BEACH    FL 33931‐7148
MARY DODDS            2424 RUTLEDGE RD                                                                                  TRANSFER            PA 16154‐8520
MARY DODSON           1274 SPRING CREEK ROAD                                                                            LEBANON             TN 37087‐1405
MARY DOGGETT          5108 SANTA FE DR                                                                                  DAYTON              OH 45414‐3630
MARY DOHERTY          152 SYLVAN LAKE BLVD                                                                              BAYVILLE            NJ 08721‐1970
MARY DOLENGA          49297 GLENVILLE CT                                                                                SHELBY TWP          MI 48315‐3931
MARY DOLETSKI         15 DELLWOOD LN                                                                                    SOMERSET            NJ 08873‐1551
MARY DOLL             2092 PAINTED POST DR                                                                              FLUSHING            MI 48433‐2562
MARY DOLLAR           2204 COTTONWOOD DR                                                                                ANDERSON            IN 46012‐2810
MARY DOLSETTI         6541 SW 8TH ST                                                                                    NORTH LAUDERDALE    FL 33068‐2611
MARY DOMANSKI         462 CLAIR ST                                                                                      GARDEN CITY         MI 48135‐2620
MARY DOMANSKI         4403 ANDRE STREET                                                                                 MIDLAND             MI 48642‐3776
MARY DOMBROWSKI       46727 SHELBY CT                                                                                   SHELBY TOWNSHIP     MI 48317‐4235
MARY DOMBY            10997 E LANSING RD                                                                                DURAND              MI 48429‐1823
MARY DOMINICK         PO BOX 47                      155 SONNIE DR                                                      CRABTREE            PA 15624‐0047
MARY DOMINICK         3901 W 31ST ST                                                                                    MUNCIE              IN 47302‐6527
MARY DONCHATZ         1398 TOMILU DR                                                                                    GIRARD              OH 44420‐1454
MARY DONELSON         447 W 550 N                                                                                       KOKOMO              IN 46901‐9185
MARY DONERSON         1891 BEEISFORD STREET                                                                             EAST CLEVELAND      OH 44112
MARY DONHAM           3885 HERITAGE OAKS DR                                                                             AMELIA              OH 45102‐1027
MARY DONNA DEOMA      ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON           IL 62024
                                                     ANGELIDES & BARNERD LLC
MARY DONNELLY         4782 MOUNT MORRIS RD                                                                              COLUMBIAVILLE      MI   48421‐8945
MARY DONNELLY         PO BOX 90505                                                                                      BURTON             MI   48509‐0505
MARY DONOGHUE SMITH   871 LIDO                                                                                          ROCHESTER HILLS    MI   48307‐6805
MARY DONOHUE          248 RICHLAND AVE                                                                                  SAN FRANCISCO      CA   94110‐5842
MARY DONOHUE          530 VICTORIA SQ                                                                                   BRIGHTON           MI   48116‐1107
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Name                   Address1                             Address2                   Address3   Address4         City               State Zip
MARY DOOL              100 OLIVER ST APT 213                                                                       NORTH TONAWANDA     NY 14120‐5436
MARY DOOLEY            512 ELIZABETH ST                     C/O MARY M CURRY                                       ROCHESTER           MI 48307‐2104
MARY DORAN             PO BOX 66                                                                                   LIMA                NY 14485‐0066
MARY DORAN             1458 S OVERLAND DR                                                                          LENNON              MI 48449‐9626
MARY DOREY             2508 N OAKLEY ST                                                                            SAGINAW             MI 48602‐5427
MARY DORIEAN           937 W HAMPTON RD                                                                            ESSEXVILLE          MI 48732‐9719
MARY DORIO             115 HILLSDALE RD                                                                            EAST BRUNSWICK      NJ 08816‐4326
MARY DOROBISH          15911 MAPLEWOOD AVE                                                                         MAPLE HEIGHTS       OH 44137‐3934
MARY DORRIS            8455 DEER FIELD DR                                                                          DAVISON             MI 48423‐2129
MARY DORSEY            302 TARRAGON WAY SW                                                                         ATLANTA             GA 30331‐4118
MARY DORTCH            4410 SKYVIEW DR                                                                             ARNOLD              MO 63010‐3426
MARY DOSKOCIL          2525 HIGHWAY 360 APT 1335                                                                   EULESS              TX 76039
MARY DOTSON            2450 KROUSE RD LOT 336                                                                      OWOSSO              MI 48867‐8113
MARY DOTSON            337 BIG PARK CREEK ROAD                                                                     LAUREL SPRINGS      NC 28644
MARY DOUBLESTEIN       5508 PERCHERON PL SE                                                                        CALEDONIA           MI 49316‐7850
MARY DOUGHTEN          111 MAIN STREET                                                                             HOLCOMB             MO 63852‐7109
MARY DOUGHTY           4181 S STATE RD                                                                             DAVISON             MI 48423‐8785
MARY DOUGLAS           161 MARINE ST                        PERILION RM 604                                        ST AUGUSTINE        FL 32084‐5154
MARY DOUGLAS           7891 KRISDALE DR                                                                            SAGINAW             MI 48609‐4933
MARY DOUGLAS           3909 N HARTFORD DR                                                                          SAGINAW             MI 48603‐7225
MARY DOUGLAS           19588 BEAVERLAND ST                                                                         DETROIT             MI 48219‐5506
MARY DOUGLAS           9055 GRAYTRAX RD                                                                            GRAND BLANC         MI 48439‐8328
MARY DOUGLAS           PO BOX 414042                                                                               KANSAS CITY         MO 64141‐4042
MARY DOUGLAS           2908 SHERMAN ST                                                                             ANDERSON            IN 46016‐5916
MARY DOUGLAS           9603 IDLEWOOD DR                                                                            BROOKLYN            OH 44144‐3122
MARY DOUGLAS           35648 CONGRESS RD                    C/O BETTY DOUGLAS THOMAS                               FARMINGTON HILLS    MI 48335‐1220
MARY DOUGLAS           6102 RIPPLEWOOD DR                                                                          SHREVEPORT          LA 71107‐9582
MARY DOUSE             816 S MAIN ST                                                                               MT HOLLY            NC 28120‐2039
MARY DOWDY             7428 NEW HAMPSHIRE DR.                                                                      DAVISON             MI 48423‐9512
MARY DOWDY             PO BOX 716                                                                                  CLEVELAND           GA 30528‐0012
MARY DOWNEY            2044 N. HWY 55                                                                              JAMESTOWN           KY 42629
MARY DOWNING           1293 CAMBRIDGE LN                                                                           CARO                MI 48723‐1252
MARY DOWNS             1544 NORTHWINDS ESTATES DR APT 222                                                          SAINT LOUIS         MO 63136‐1834

MARY DOWNS             1834 CHELAN ST                                                                              FLINT              MI   48503‐4308
MARY DOWNS             2980 STATE ROUTE 193 N                                                                      JEFFERSON          OH   44047‐8461
MARY DOWNS             781 S MAIN ST                                                                               MONROE             OH   45050‐1610
MARY DOYLE             PO BOX B732                                                                                 ROSE HILL          VA   24281
MARY DOYLE             3881 TOWER HILL RD                                                                          HOUGHTON LAKE      MI   48629‐9072
MARY DOYLE‐LASSEIGNE   1862 HICKORY BARK LN                                                                        BLOOMFIELD         MI   48304‐1116
MARY DOZIER            1810 TIMBERLANE DR                                                                          FLINT              MI   48507‐1411
MARY DRAKE             6010 MOUNT CARMEL RD                                                                        BULLS GAP          TN   37711‐3214
MARY DRAKE             20059 HEYDEN ST                                                                             DETROIT            MI   48219‐2012
MARY DRAKE             601 W JAMIESON ST                                                                           FLINT              MI   48505‐4059
MARY DRAKE             517 DELRAY ST                                                                               KOKOMO             IN   46901‐7039
MARY DRAPER            6766 AMBLING ST                                                                             SAN ANTONIO        TX   78238‐2115
MARY DREFFS            SOUTH PORTER RD                                                                             ONAWAY             MI   49765
MARY DREGER            9340 ISLAND RD                                                                              N RIDGEVILLE       OH   44039‐4406
MARY DREW              4824 WATERMAN RD                                                                            VASSAR             MI   48768‐9778
MARY DRISCOLL          9236 ASHTON AVE                                                                             DETROIT            MI   48228‐1806
MARY DRISKILL‐PATTON   1615 E 43RD ST                                                                              ANDERSON           IN   46013‐2509
MARY DRIVER            3233 SHETLAND RD                                                                            BEAVERCREEK        OH   45434‐6051
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Name                    Address1                       Address2            Address3         Address4         City             State Zip
MARY DROTAR             3643 NILES CARVER RD                                                                 MINERAL RIDGE     OH 44440‐9522
MARY DROWN              7419 BROCKWAY ST                                                                     MOUNT MORRIS      MI 48458‐2924
MARY DROZDOWSKI         6639 NOB HL                                                                          WASHINGTON        MI 48094‐2145
MARY DRUBA              911 BROADMOOR LANE                                                                   SAINT CHARLES     MO 63301‐6200
MARY DRURY              14864 PARIS CT                                                                       ALLEN PARK        MI 48101‐3083
MARY DUCRE              3054 SOUTHFIELD DR                                                                   SAGINAW           MI 48601‐5640
MARY DUDLEY             3002 TRUMBULL AVE                                                                    FLINT             MI 48504‐2503
MARY DUDZINSKI          605 WORTH DR                                                                         MOREHEAD CITY     NC 28557‐3059
MARY DUEHRING           5511 RUSHMORE PASS                                                                   GRAND BLANC       MI 48439‐9149
MARY DUFFY              140 SHEPARD ST                                                                       ROCHESTER         NY 14620‐1818
MARY DUFFY              140 SHEPARD ST                                                                       ROCHESTER         NY 14620‐1818
MARY DUFORT             1505 NEBOBISH AVE                                                                    ESSEXVILLE        MI 48732‐1609
MARY DUGAN              220 LINCOLN AVE 5                                                                    BROWNSBURG        IN 46112
MARY DUGAS              2226 S OAK RD                                                                        DAVISON           MI 48423‐9152
MARY DUKES              C/O RUTH A JEWELL              RT 2                                                  THAYER            MO 65791
MARY DULIN              1229 OLD DICKERSON RD LOT D2                                                         GOODLETTSVILLE    TN 37072‐4150
MARY DULL               1910 GREEN VALLEY DR APT 1                                                           JANESVILLE        WI 53546‐4115
MARY DULLER             534 N WALNUT ST                                                                      JANESVILLE        WI 53548‐2858
MARY DUMONT             41951 N 113TH WAY                                                                    SCOTTSDALE        AZ 85262‐3522
MARY DUNAHOO            1523 E 2ND ST                                                                        MISSION           TX 78572
MARY DUNCAN             3614 ESTHER ST                                                                       FLINT             MI 48505‐3858
MARY DUNCAN             6734 E 50 N                                                                          GREENTOWN         IN 46936‐9418
MARY DUNCAN             1214 GLENN ST                                                                        LANSING           MI 48915‐2118
MARY DUNCAN             PO BOX 1315                                                                          FLINT             MI 48501‐1315
MARY DUNCAN‐VARNER      9532 GREENFIELD CT                                                                   GRAND BLANC       MI 48439‐8077
MARY DUNCKEL            832 E 2ND ST                                                                         DEFIANCE          OH 43512‐2326
MARY DUNGAN‐KLEMME      1624 OSAGE DR                                                                        KOKOMO            IN 46902‐3247
MARY DUNIGAN            8089 N SEYMOUR RD                                                                    FLUSHING          MI 48433‐9202
MARY DUNKLE             4727 FOXDALE DR                                                                      KETTERING         OH 45429‐5713
MARY DUNLAP             20423 WOODSIDE ST                                                                    HARPER WOODS      MI 48225‐2261
MARY DUNN               5736 PACKARD HWY                                                                     CHARLOTTE         MI 48813‐9349
MARY DUNN               3408 ROYALTON AVE                                                                    SAINT LOUIS       MO 63114‐2822
MARY DUNN               8021 EVERETT CT                                                                      KANSAS CITY       KS 66112‐2132
MARY DUNNEBACK          30564 MARY FRANCIS CT                                                                CHESTERFIELD      MI 48051‐1251
MARY DUNSCOMB           2159 RIVIERA ST                                                                      INDIANAPOLIS      IN 46260‐4346
MARY DUNWOODIE          3199 WINDMILL DR                                                                     BEAVERCREEK       OH 45432‐2554
MARY DUPREY             6210 FAIRVIEW AVE                                                                    DOWNERS GROVE      IL 60516‐2015
MARY DURAN              5465 N LINDEN RD                                                                     FLINT             MI 48504‐1105
MARY DURAN              1299 MOONLIGHT DR                                                                    CERES             CA 95307‐7230
MARY DURAND             47 BUSH GDNS                                                                         ALDEN             NY 14004‐9451
MARY DURGAN             PO BOX 552                                                                           OLCOTT            NY 14126‐0552
MARY DURHAM             29840 NEWPORT DR                                                                     WARREN            MI 48088‐3643
MARY DURKIN             2676 INVITATIONAL DR                                                                 OAKLAND           MI 48363‐2455
MARY DUSSEAU            2408 LOCH LOMOND DR                                                                  HIGHLAND          MI 48357‐3748
MARY DUSUTE             8971 BARNES RD                                                                       MILLINGTON        MI 48746‐9574
MARY DUTCHER            7 DEWEY DR                                                                           CENTRAL SQUARE    NY 13036‐3119
MARY DUTKA              83 E CAVALIER DR                                                                     BUFFALO           NY 14227‐3503
MARY DUTTON ‐ TALASKI   8306 164TH CT                                                                        TINLEY PARK        IL 60477‐1292
MARY DYKES              4731 TOD AVE SW                                                                      WARREN            OH 44481‐9744
MARY DYSART             1928 ONTARIO AVE                                                                     DAYTON            OH 45414‐5529
MARY DZIKOWSKI          115 CRAIG ST                                                                         SYRACUSE          NY 13208‐2920
MARY DZUBA              PO BOX 12                                                                            LAKE LEELANAU     MI 49653‐0012
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Name                     Address1                       Address2                          Address3                Address4         City              State Zip
MARY E & WALTER NACHUM   CO TTEE MARY E NACHUM TR       U/A DTD 10/10/95                  10992 WASHINGTONIA PALM                  BOYNTON BEACH      FL 33437‐8229
                                                                                          CT APT B
MARY E ADAMS             3103 CAMELOT DR                                                                                           FLINT             MI 48507‐3415
MARY E ADKINS            MCKENNA & ASSOCIATES PC        436 BOULEVARD OF THE ALLIES STE                                            PITTSBURGH        PA 15219‐1331
                                                        500
MARY E ALLEN             2700 ODIN CT                                                                                              DAYTON            OH   45439
MARY E ANDERSON          107 W VINE ST                                                                                             SHIREMANSTOWN     PA   17011
MARY E ASHER             PO BOX 543                                                                                                SWEETSER          IN   46987‐0543
MARY E BACK              6236 LAKE DR                                                                                              YPSILANTI         MI   48197‐7047
MARY E BAGWELL           1050 LORI ST                                                                                              YPSILANTI         MI   48198‐6268
MARY E BAILEY            947 5 OAKS AVE 947                                                                                        DAYTON            OH   45406
MARY E BAKER             6490 WAYWIND DR                                                                                           DAYTON            OH   45426‐1114
MARY E BARRETT           53 BELLMAWR DRIVE                                                                                         ROCHESTER         NY   14624‐4626
MARY E BERGDORF          BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HEIGHTS    OH   44236
MARY E BEVELAQUA         PO BOX 237                                                                                                GIRARD            OH   44420‐0237
MARY E BIDINGER          528 BARBARA WAY                                                                                           TARPON SPRINGS    FL   34689‐6811
MARY E BLAKE             700 TAPESTRY LN                                                                                           TROTWOOD          OH   45426‐3734
MARY E BONHAM            4529 W. NATIONAL RD                                                                                       SPRINGFIELD       OH   45504
MARY E BOWMAN            P.O. BOX 814                                                                                              YOUNGSTOWN        OH   44501‐814
MARY E BRADLEY           N 13412 YALE RD                                                                                           MEAD              WA   99021
MARY E BRESOWAR          2723 GOLDMOR CIRCLE                                                                                       BIRMNINGHAM       AL   35244
MARY E BRINCKO           8409 SOUTH AVE                                                                                            YOUNGSTOWN        OH   44514‐3619
MARY E BRUMMETT          7395 DAYTON FARMERSVILLE RD                                                                               DAYTON            OH   45418‐1309
MARY E BRUNK             7400 TROY MANOR RD                                                                                        HUBER HEIGHTS     OH   45424
MARY E BUTLER            2479 MASON MONTGOMERY LT 102                                                                              MASON             OH   45040
MARY E BUTLER            4348 DINNER LAKE BLVD                                                                                     LAKE WALES        FL   33859‐‐ 21
MARY E CADE              3402 HABERER AVE                                                                                          DAYTON            OH   45408
MARY E CALDWELL          1210 N CENTRAL AVE                                                                                        MUNCIE            IN   47303‐3313
MARY E CANTRELL          402 PARKVIEW DR                                                                                           QUINCY            IL   62301‐1514
MARY E CAUDILL           P O BOX 5713                                                                                              LIGHTHOUSE PT     FL   33074‐5713
MARY E CLARK             1460 BUTTERFIELD CIR                                                                                      NILES             OH   44446
MARY E COLLIER‐HALL      2689 LIBERTY VALLEY RD                                                                                    LEWISBURG         TN   37091‐7073
MARY E COOK              550 DUBIE RD                                                                                              YPSILANTI         MI   48198‐6106
MARY E COTTON            1525 CHERBONEAU PL APT 9B                                                                                 DETROIT           MI   48207‐2842
MARY E CRAGO             3880 NILES CARVER RD                                                                                      MINERAL RIDGE     OH   44440
MARY E CRAMER            5221 SPORTSCRAFT DR                                                                                       DAYTON            OH   45414‐3653
MARY E CRAMER            5221 SPORTSCRAFT                                                                                          DAYTON            OH   45414‐3653
MARY E CUNNINGHAM        2734 CEDARBROOK WAY                                                                                       BEAVERCREEK       OH   45431‐7706
MARY E DOWLER            201 E VINE ST                                                                                             LIBERTY           IN   47353
MARY E DROTLEFF          4595 BUTLER GRANGE RD                                                                                     SALEM             OH   44460‐9546
MARY E FANCHER           C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                  HOUSTON           TX   77007
                         BOUNDAS LLP
MARY E FEAGIN            5540 N FAIRMOUNT AVE                                                                                      KANSAS CITY       MO   64118‐4080
MARY E FLANIGAN          31 N QUENTIN AVE                                                                                          DAYTON            OH   45403‐1728
MARY E FLEETWOOD         3832 WALES DR                                                                                             DAYTON            OH   45405
MARY E FORD              9 RICE ST                                                                                                 SHREWSBURY        MA   01545‐5038
MARY E FORTNEY           1304 S. ELM ST.                                                                                           WEST CARROLLTON   OH   45449‐2340
MARY E FRANCIS           3035 E ST RT 55                                                                                           TROY              OH   45373‐7756
MARY E GLAZER            2686 E RIDGE RD                                                                                           ROCHESTER         NY   14622‐3022
MARY E GRAYSON           9641 HARBOUR COVE CT                                                                                      YPSILANTI         MI   48197‐6901
MARY E GRIFFIN           4354 FLANDERS ST                                                                                          DENVER            CO   80249
MARY E HAIRSTON          PO BOX 993                                                                                                MANSFIELD         OH   44901‐0993
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Name                      Address1                       Address2                    Address3              Address4         City            State Zip
MARY E HALCOMB            1312 E HARVARD AVE                                                                                FLINT            MI 48505‐1759
MARY E HALL               2915 DWIGHT AVE                                                                                   DAYTON           OH 45420
MARY E HAMILTON           7847 LOIS CIR APT 201                                                                             CENTERVILLE      OH 45459‐3695
MARY E HAMILTON           1407 5TH ST                                                                                       BAY CITY         MI 48708‐6139
MARY E HICKMAN            2853 ORIOLE DR                                                                                    BEAVERCREEK      OH 45434
MARY E HOHN               2197 HAYWARD ST                                                                                   CLIO             MI 48420‐1815
MARY E HOLLOWAY‐STANLEY   142 GOULDING AVE                                                                                  BUFFALO          NY 14208‐1606
MARY E HOLT               14603 GRIGGS ST                                                                                   DETROIT          MI 48238‐1665
MARY E HOPKINS            11669 CRANE CT                                                                                    MORENO VALLEY    CA 92557‐6203
MARY E HUTCHERSON         901 PALLISTER ST APT 204                                                                          DETROIT          MI 48202‐2679
MARY E JAKUBOWSKI         ACCT OF RYSZARD JAKUBOWSKI
MARY E JOHNSON            102C SUSAN LN                                                                                     ROCHESTER       NY   14616‐4916
MARY E JONES              2050 WESLEYAN RD                                                                                  DAYTON          OH   45406‐3835
MARY E JONES              2050 WESLEYAN RD                                                                                  DAYTON          OH   45406‐3835
MARY E JONES              PO BOX 2594                                                                                       SANDUSKY        OH   44871‐2594
MARY E KAISER             17024 CADBURY CIRCLE           APT# 237                                                           LEWES           DE   19958‐7055
MARY E KELLER             247 E MITHOFF ST                                                                                  COLUMBUS        OH   43206
MARY E KREBS              1751 OLDE HALEY DR                                                                                DAYTON          OH   45458‐6053
MARY E LANGHARDT          2484 S STATE ROUTE 721                                                                            LAURA           OH   45337‐9700
MARY E LAWSON             4039 HIGHWAY 441                                                                                  MIDDLESBORO     KY   40965‐8699
MARY E LEWIS              1606 AVENUE A                                                                                     FLINT           MI   48503‐1485
MARY E LUNDEBERG          1711 RANDOLPH RD                                                                                  JANESVILLE      WI   53545‐0923
MARY E MAYS               PO BOX 371                                                                                        NEW CARLISLE    OH   45344‐0371
MARY E MCCRAE             46547 DUNNELLON DR E                                                                              MACOMB          MI   48044‐3697
MARY E MCLEAN             2210 TYRRELL RD                                                                                   BANCROFT        MI   48414‐9706
MARY E MCMILLAN           C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                          HOUSTON         TX   77007
                          BOUNDAS LLP
MARY E MCNAMEE TRUSTEE    15 LONGVIEW AVE                                                                                   SAN ANSELMO     CA   94960
MARY E MIDDLETON          120 PLYMOUTH AVE S                                                                                MATTYDALE       NY   13211‐1836
MARY E MIKEL              5998 STERLING CT.                                                                                 TIPP CITY       OH   45371‐2234
MARY E MIKEL              5998 STERLING CT                                                                                  TIPP CITY       OH   45371‐2234
MARY E MITCHELL           150 SPANISH TRL APT D                                                                             ROCHESTER       NY   14612‐4618
MARY E MITCHELL           150D SPANISH TRAIL                                                                                ROCHESTER       NY   14612
MARY E MOORE              142 HIDDEN FOREST RD                                                                              BATTLE CREEK    MI   49014‐7851
MARY E MYERS              3404 W LINCOLNSHIRE BLVD                                                                          TOLEDO          OH   43606‐1225
MARY E NETTLETON          CGM IRA CUSTODIAN              377 WATERGATE CONDOS        115 E KINGS HIGHWAY                    MAPLE SHADE     NJ   08052‐3434
MARY E NOLAN              277 BILL NOLAN RD                                                                                 FARMERVILLE     LA   71241‐5031
MARY E NOWELL             17396 WEST LANE                                                                                   MENA            AR   71953
MARY E O'BRYANT           2810 S VALLEY RD                                                                                  SOUTHSIDE       AL   35907‐8046
MARY E PALUMBO            1972 LYNN AVE                                                                                     YOUNGSTOWN      OH   44514‐1121
MARY E PARRISH            538 UNGER AVE                                                                                     ENGLEWOOD       OH   45322‐2027
MARY E PFAFF              14147 STATE ROUTE B                                                                               STE GENEVIEVE   MO   63670‐9123
MARY E PIETILA            114 DRESDEN AVE APT 204                                                                           PONTIAC         MI   48340‐2543
MARY E POWERS             250 NANTUCKET ROAD                                                                                ROCHESTER       NY   14626‐2326
MARY E RHEINGANS          8909 E VALLEY LN                                                                                  LENNON          MI   48449‐9674
MARY E RICKELS            7853 TIMBER HILL DR                                                                               HUBER HEIGHTS   OH   45424‐1933
MARY E RIEDER             13700 CR9                                                                                         EYOTA           MN   55934
MARY E RODRIGUEZ          54 E ROBINSON                                                                                     FRESNO          CA   93704
MARY E ROFF               103 TIMBER LANE                                                                                   JUPITER         FL   33458
MARY E SAGE               6935 NW 29TH CT                                                                                   MARGATE         FL   33063‐2056
MARY E SAYLORS            38 VIRGINIA AVE.                                                                                  GERMANTOWN      OH   45327
MARY E SHEFFER            1110 N BIRNEY ST                                                                                  BAY CITY        MI   48708‐6152
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Name                   Address1                        Address2            Address3         Address4         City               State Zip
MARY E SHERMAN         2566 BROOKVIEW RD                                                                     TROY                OH 45373‐9311
MARY E SHUMWAY         1700 BRANDONHALL DRIVE                                                                MIAMISBURG          OH 45342
MARY E SMITH           1219 HENRY RD                                                                         NEW VIENNA          OH 45159‐9718
MARY E SMITH           CGM IRA CUSTODIAN               2000 N PETTY RD                                       MUNICIE             IN 47304‐4294
MARY E SMITH           6501 OXLEY DR                                                                         FLINT               MI 48504‐1681
MARY E ST AUBIN        6270 THICKET LAKE LN                                                                  MAINEVILLE          OH 45039
MARY E STAMPER         7 N MAIN ST                                                                           WEST ALEXANDRIA     OH 45381
MARY E STEPHENS        833 LOPEZ LN                                                                          MONROE              GA 30655‐8487
MARY E STINER          495 MILL ST                                                                           WILLIAMSVILLE       NY 14221‐5150
MARY E THALMAN         1100 BELCHER RD S #770                                                                LARGO               FL 33771
MARY E THOMAS          5759 NASHVILLE HWY                                                                    CHAPEL HILL         TN 37034‐2521
MARY E THOMAS          19321 117TH RD                                                                        SAINT ALBANS        NY 11412‐3461
MARY E THOMPSON        10 WILMINGTON AVE               APT 253W                                              DAYTON              OH 45420‐4813
MARY E THOMSON         1490 WEKIVA DR                                                                        MELBOURNE           FL 32940
MARY E THORNTON        1424 MONCLAIR RD                ROOM 1                                                BRIMINGHAM          AL 35210
MARY E TOBIAS          4625 SANTA ANITA PL                                                                   DAYTON              OH 45424‐3697
MARY E TUCKER          165 S JACKSON ST                                                                      YOUNGSTOWN          OH 44506‐1646
MARY E WASHINGTON      16740 MURRAY HILL ST                                                                  DETROIT             MI 48235‐3638
MARY E WATSON          4820 COULSON DRIVE                                                                    DAYTON              OH 45418‐1958
MARY E WHITT‐DINKINS   18687 GEORGE WASHINGTON DR                                                            SOUTHFIELD          MI 48075‐2505
MARY E WILLIAMS        1461 TRIPODI CIRCLE                                                                   NILES               OH 44446‐3564
MARY E WILLIAMS        1625 US ROUTE 68 N                                                                    XENIA               OH 45385
MARY E WILLIAMS        5136 INLAND ST                                                                        FLINT               MI 48505‐1713
MARY E WRIGHT          3436 BLOSSOM LN                                                                       BLOOMFIELD HILLS    MI 48302‐1305
MARY E ZILL            1128 CHURCHILL RD                                                                     GIRARD              OH 44420‐2129
MARY E. GARRISON       7204 N MANNING                                                                        PEORIA               IL 61614‐1916
MARY E. KRAMER
MARY EADDY             77 N SANFORD ST                                                                       PONTIAC            MI   48342‐2755
MARY EADS              159 NURSERY RD                                                                        ANDERSON           IN   46012‐3177
MARY EALY              5 NORWICK LN                                                                          WILLINGBORO        NJ   08046‐1329
MARY EARL              15410 12TH AVE NE                                                                     SEATTLE            WA   98155‐7120
MARY EARLY             9378 WOODSIDE TRL                                                                     SWARTZ CREEK       MI   48473‐8534
MARY EASLEY            6194 WOODLAND DR                                                                      GRAND BLANC        MI   48439‐4819
MARY EASLEY            2941 EASTLAND WAY                                                                     SNELLVILLE         GA   30078‐3457
MARY EASLEY            1206 HOLLYHOCK DR                                                                     GRAND BLANC        MI   48439‐8878
MARY EAST              2458 TROY SMITH RD                                                                    MONROE             GA   30656‐4546
MARY EASTMAN           400 W BUTTERFIELD RD APT 107                                                          ELMHURST           IL   60126‐5910
MARY EASTMAN           20833 GRANDVILLE RD                                                                   BIG RAPIDS         MI   49307‐8842
MARY EATON             244 PIEDMONT PARK AVE                                                                 DAVENPORT          FL   33897‐8244
MARY EATON             1649 MEDLAR DR                                                                        TUSCALOOSA         AL   35405‐6514
MARY EBER              3610 NORTH NORFOLK STREET                                                             INDIANAPOLIS       IN   46224‐1433
MARY EBERSTEIN         115 MORNINGSIDE DR                                                                    BATTLE CREEK       MI   49015‐4615
MARY ECHOLS            715 W JACKSON ST                                                                      PAULDING           OH   45879‐1355
MARY ECK               9668 MAGLEDT RD                                                                       BALTIMORE          MD   21234‐1849
MARY ECKERT            8100 CLYO RD                    ST LEONARD CENTER                                     CENTERVILLE        OH   45458‐2720
MARY ECKERT            407 PROVIDENCE ST                                                                     DELTA              OH   43515‐1307
MARY ECKERT N          2155 BICKMORE AVE                                                                     DAYTON             OH   45404‐2277
MARY ECKHARDT          822 SHELLBARK RD                                                                      ANDERSON           IN   46011‐2421
MARY ECKLER            87 LAKEWOOD VLG                                                                       MEDINA             NY   14103‐1846
MARY EDEN              3226 S 54TH ST                                                                        MILWAUKEE          WI   53219‐4421
MARY EDENSTROM         19201 N SHORE DR                                                                      SPRING LAKE        MI   49456‐9109
MARY EDING             311 E SOPHIA ST                                                                       MAUMEE             OH   43537‐2837
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Name                             Address1                           Address2                   Address3             Address4           City               State Zip
MARY EDMONDS                     2439 MARJORIE LN                                                                                      CLIO                MI 48420‐9152
MARY EDWARDS                     2722 ELIZABETH DR SW                                                                                  WARREN              OH 44481‐8603
MARY EDWARDS                     302 N CONDE ST                                                                                        TIPTON              IN 46072‐1301
MARY EDWARDS                     12114 N STATE ROAD 15                                                                                 N MANCHESTER        IN 46962‐8689
MARY EDWARDS                     86 SUCCESS DR                                                                                         BOLTON              MS 39041‐9442
MARY EDWARDS                     1228 COUNTY ROAD 115                                                                                  BLUE MOUNTAIN       MS 38610‐9622
MARY EDWARDS                     5 YAWMETER DR                                                                                         BALTIMORE           MD 21220‐4541
MARY EDWARDS                     3783 W 1400 N                                                                                         ALEXANDRIA          IN 46001‐8540
MARY EDWARDS                     3566 PAXTON DR                                                                                        HILLIARD            OH 43026‐1824
MARY EDWARDS                     613 N LINCOLN ST                                                                                      DURAND              MI 48429‐1108
MARY EGERER                      319 N WHEELER ST                                                                                      SAGINAW             MI 48602‐2753
MARY EGGERT                      3430 E MAPLE AVE                                                                                      FLINT               MI 48507‐4569
MARY EGLOFF                      9221 S LAKE RD                                                                                        CORFU               NY 14036‐9581
MARY EGRES                       2790 SIRHAL DR APT 114                                                                                EAST LANSING        MI 48823‐7904
MARY EHLER                       507 MARION LANE                                                                                       LEXINGTON           MO 64067
MARY EHLERT                      12738 DORWOOD ROAD                                                                                    BURT                MI 48417‐9417
MARY EICHHOLTZ                   1811 MAPLE DR                                                                                         TRAVERSE CITY       MI 49686‐9148
MARY EIGHMEY                     311 FALLING BROOK DR                                                                                  TROY                MI 48098‐4696
MARY EILER                       PO BOX 224                                                                                            SAWYERVILLE          IL 62085‐0224
MARY EITNER                      32466 WEST RD                                                                                         BARNESVILLE         OH 43713‐9479
MARY EKERS                       2015 FARMBROOK CIR N                                                                                  GROVE CITY          OH 43123‐9495
MARY EKORN                       2551 SOUTHCREST DR                                                                                    ROSCOMMON           MI 48653‐9213
MARY ELDER                       128 CALLIE RD                                                                                         GRIFFIN             GA 30223‐6422
MARY ELDER                       3310 LIBERTY ELLERTON RD                                                                              DAYTON              OH 45418‐1350
MARY ELIA                        1075 LEISURE DR                                                                                       FLINT               MI 48507‐4058
MARY ELIAS                       9116 ROCKROSE DR                                                                                      TAMPA               FL 33647‐2800
MARY ELIASON                     14600 HOLLOW CREEK CT                                                                                 SHELBY TOWNSHIP     MI 48315‐4316
MARY ELIZABETH CHRISTINE DRURY   C/O ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON           IL 62024
                                                                    ANGELIDES & BARNERD LLC
MARY ELIZABETH COLOMBO           448 DICKSON AVE                                                                                       PITTSBURGH         PA   15202
MARY ELIZABETH HARDY             53 B BURROUGHS ST                                                                                     JAMAICA PLAIN      MA   02130
MARY ELIZABETH STANG             7838 TEAHEN RD                                                                                        BRIGHTON           MI   48116‐9108
MARY ELIZONDO                    623 COMMONWEALTH AVE                                                                                  FLINT              MI   48503‐2255
MARY ELKIN                       294 WAGON TRL                                                                                         BOWLING GREEN      KY   42103‐9010
MARY ELKINS                      9300 MATTHEWS HWY                                                                                     TECUMSEH           MI   49286‐8708
MARY ELLEN BOLLMAN
MARY ELLEN BYRD IRA              383 MEADOWS OF WILDWOOD CT                                                                            WILDWOOD           MO 63040‐1022
MARY ELLEN CENZI                 1045 GALLUP RD                                                                                        SPENCERPORT        NY 14559
MARY ELLEN GOEBEL
MARY ELLEN HABETLER              1114 HAMPTON HBR                                                                                      SCHAUMBURG         IL   60193‐4220
MARY ELLEN HREBEN                4141 18 1/2 MILE RD                                                                                   STERLING HEIGHTS   MI   48314‐2903
MARY ELLEN MARTIN                2775 S STATE ROUTE 201                                                                                TROY               OH   45373‐9630
MARY ELLEN MARTIN                2775 SO. ST. RT. 201                                                                                  TROY               OH   45373‐9630
MARY ELLEN WICKLIN               9505 KINGCROFT TERRACE             UNIT N                                                             PERRY HALL         MD   21128‐9467
MARY ELLEN WILLIAMS              1844 RALEIGH AVE APT 2                                                                                LAPEER             MI   48446‐4160
MARY ELLEN ZERKLE                ROBERT W PHILLIPS                  SIMMONS BROWDER GIANARIS   707 BERSKHIRE BLVD   PO BOX 521         EAST ALTON         IL   62024
                                                                    ANGELIDES & BARNERD LLC
MARY ELLIOTT                     3329 W 130TH ST                                                                                       CLEVELAND          OH   44111‐2508
MARY ELLIOTT                     907 E FRANKLIN ST                                                                                     TROY               OH   45373‐3715
MARY ELLIOTT                     9427 GENESEE ST                                                                                       NEW LOTHROP        MI   48460‐9799
MARY ELLIOTT                     36828 HIGHWAY T                                                                                       ORRICK             MO   64077‐8227
MARY ELLIOTT                     743 HARVEY ST                                                                                         BALTIMORE          MD   21230‐5114
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Name                  Address1                         Address2                   Address3   Address4         City                 State Zip
MARY ELLIOTT          90 GRANADA DR                                                                           WHITE LAKE            MI 48386‐3433
MARY ELLIOTT‐MEYER    720 13 MILE RD NW                                                                       SPARTA                MI 49345‐9570
MARY ELLIS            PO BOX 22667                                                                            INDIANAPOLIS          IN 46222‐0667
MARY ELLIS            21204 E 50TH TERRACE DR S                                                               BLUE SPRINGS          MO 64015‐2256
MARY ELLIS            8320 E JEFFERSON PL                                                                     FAIRMOUNT             IN 46928‐9186
MARY ELLIS            PO BOX 3002                                                                             JANESVILLE            WI 53547‐3002
MARY ELLIS            4366 CAPTAINS LN                                                                        FLINT                 MI 48507‐5603
MARY ELLIS            590 MIDDLE RD                                                                           CALEDONIA             NY 14423‐9625
MARY ELLIS            509 S 8TH ST                                                                            CAYUGA                IN 47928‐8120
MARY ELLIS            7191 71ST ST                                                                            PINELLAS PARK         FL 33781‐3825
MARY ELLIS            590 SUNSET VIEW DR                                                                      AKRON                 OH 44320‐2042
MARY ELLISON          4642 BLACKMORE RD                                                                       LESLIE                MI 49251‐9727
MARY ELROD            547 TALUCAH RD                                                                          VALHERMOSO SPRINGS    AL 35775‐7207
MARY ELY              #1                               4211 EAST MILLERTON ROAD                               FOUNTAIN              MI 49410‐9704
MARY ELZERMAN         335 LAKE FOREST                                                                         ROCHESTER HILLS       MI 48309
MARY EMBY             3029 RILEY PIKE ROAD                                                                    BROOKVILLE            IN 47012
MARY EMELANDER        6749 PLEASANTVIEW ST NE                                                                 ROCKFORD              MI 49341‐8176
MARY EMMONS           2524 E 8TH ST                                                                           ANDERSON              IN 46012
MARY ENGARD           3057 VALLEYWOOD DR                                                                      KETTERING             OH 45429‐3829
MARY ENGEL            2619 BABBLE CREEK LN                                                                    O FALLON              MO 63368‐8338
MARY ENGELKING        1128 MERIMAN DR                                                                         GREENWOOD             IN 46143‐6922
MARY ENGLAND          1 I AVE                                                                                 GAINESVILLE           GA 30504‐7111
MARY ENGLAND          5631 SATEL DR                    C/O STANLEY R ENGLAND                                  ORLANDO               FL 32810‐4953
MARY ENGLE            6234 WALKER ST                                                                          PHILADELPHIA          PA 19135
MARY ENGLEMAN         314 COLUMBIA AVE                                                                        TIPTON                IN 46072‐1221
MARY ENGLISH          260 UNION LAKE RD                                                                       WHITE LAKE            MI 48386‐3166
MARY ENGLISH          14 S FOSTER ST                                                                          MANSFIELD             OH 44902‐8652
MARY ENGLISH‐DECKER   23319 WATSON RD                                                                         DEFIANCE              OH 43512‐8734
MARY ENRIQUEZ         2469 BEWICK ST                                                                          SAGINAW               MI 48601‐6722
MARY ENSOR            851 SUNWISE CT                                                                          BOYNTON BEACH         FL 33436‐2016
MARY EPHARDT          14140 35TH AVE N                                                                        PLYMOUTH              MN 55447‐5300
MARY ERB              9721 SILVER BELL CT                                                                     PIKE ROAD             AL 36064‐2357
MARY ERICKSON         3 ALAN O KELL PL                                                                        CRANFORD              NJ 07016‐3331
MARY ERICKSON         1068 RANDALL WAY                                                                        BROWNSBURG            IN 46112‐1867
MARY ERION            917 GOLFVIEW DR                                                                         HAMILTON              OH 45013‐3814
MARY ERLE             118 FOREST PARK                                                                         VICTOR                NY 14564‐9627
MARY ERLI             210 N 2ND ST                                                                            MIDDLETOWN            IN 47356‐1404
MARY ERVANS           4515 N SAGINAW RD                                                                       MIDLAND               MI 48640
MARY ERVIN            26020 PENN ST                                                                           INKSTER               MI 48141‐2639
MARY ERWIN            13154 SE 93RD TERRACE RD                                                                SUMMERFIELD           FL 34491‐9343
MARY ESCH             1260 BUTH DR NE                                                                         COMSTOCK PARK         MI 49321‐9501
MARY ESCHMAN          8517 STONEWOODS LN                                                                      POWELL                OH 43065‐8318
MARY ESLICK           9 DUANE ST                                                                              PONTIAC               MI 48340‐1230
MARY ESPARZA          748 HARRISON AVE                                                                        DEFIANCE              OH 43512‐2024
MARY ESPINOZA         9341 E NARANJA AVE                                                                      MESA                  AZ 85209‐1172
MARY ESTEP            8528 DEANO                                                                              NEWPORT               MI 48166‐9261
MARY ESTES            2152 SHILOH HILLS DR SE                                                                 GRAND RAPIDS          MI 49546‐8284
MARY ETHERINGTON      1433 PEPPERWOOD DR                                                                      NILES                 OH 44446‐3542
MARY ETHERTON         36575 LODGE DR                                                                          STERLING HEIGHTS      MI 48312‐3319
MARY ETHRIDGE         3501 N PONTIAC AVE                                                                      CHICAGO                IL 60634‐2849
MARY ETIENNE          4714 COCO PALM DR                                                                       SEBRING               FL 33870‐5301
MARY ETTINGER         4480 CRICKET RIDGE DR APT 104                                                           HOLT                  MI 48842‐2926
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Name                Address1                           Address2                     Address3     Address4         City              State Zip
MARY EUTZ           12001 LA PADERA LN                                                                            FLORISSANT         MO 63033‐7924
MARY EVANS          2102 ROBERT T LONGWAY BLVD                                                                    FLINT              MI 48503‐2122
MARY EVANS          12537 GREENHILL DR                                                                            GRAND BLANC        MI 48439‐1818
MARY EVANS          3052 CANTERBURY LN                                                                            FLINT              MI 48504‐1802
MARY EVANS          1163 PEACHTREE DR                                                                             MOUNT MORRIS       MI 48458‐2833
MARY EVANS          2830 VASSAR ST                                                                                DEARBORN           MI 48124‐3479
MARY EVANS          2402 N KENYON ST                                                                              INDIANAPOLIS       IN 46219‐1618
MARY EVANS          204 N ELLIS RD                                                                                MUNCIE             IN 47303‐4410
MARY EVANS          7620 THOMPSON RD                                                                              SYRACUSE           NY 13212‐1834
MARY EVERETT        3096 VAN BIBBER LAKE EST # H‐2                                                                GREENCASTLE        IN 46135‐8905
MARY EVERETTE       523 CAMPBELL ST                                                                               RIVER ROUGE        MI 48218‐1065
MARY EVERGREEN      6065 WINANS DR                                                                                BRIGHTON           MI 48116‐5219
MARY EVERHART       1434 NOTTINGHAM ST NW                                                                         WARREN             OH 44485‐2020
MARY EVERSGERD      7042 BRISTOL RD                                                                               SWARTZ CREEK       MI 48473‐7905
MARY EVERSOLE       317 SYCAMORE GLEN DR APT 223                                                                  MIAMISBURG         OH 45342‐5708
MARY EWER           5070 ELINOR ROAD                                                                              JACKSONVILLE       FL 32257‐6113
MARY EWING          905 S STATE ROAD 29                                                                           FLORA              IN 46929‐9383
MARY EWING          8515 OXFORD LN                                                                                SAINT LOUIS        MO 63147‐1234
MARY EWING          83 ROUTE 88 MOBILE PARK                                                                       CARMICHAELS        PA 15320‐1170
MARY F ADAMS        1429 S PATRICIA ST                                                                            DETROIT            MI 48217‐1233
MARY F BEARD        1608 S BOOTS ST                                                                               MARION             IN 46953‐2227
MARY F BOCOOK       4036 TURKEY FOOT RD                                                                           WHEELERSBURG       OH 45694‐8610
MARY F BRANDT IRA   HILLIARD LYONS CUST FOR MARY F     12011 N COUNTY ROAD 1250 E                                 SEYMOUR            IN 47274‐9714
                    BRANDT IRA
MARY F BUNT         FOBERT W PHILLIPS, SIMMONS BROWDER 707 BERKSHIRE BLVD           PO BOX 521                    EAST ALTON         IL   62024
                    GIANARIS ANGELIDES & BARNERD LLC

MARY F CARLISLE     622 S HAYFORD AVE                                                                             LANSING           MI    48912‐3824
MARY F COLGAN       1164 SHORTY BARNES RD                                                                         CROSSVILLE        TN    38571
MARY F COX          2310 ESTABROOK AVE NW                                                                         WARREN            OH    44485‐1947
MARY F FRYDRYCH     3410 SANDALWOOD LN.                                                                           YOUNGSTOWN        OH    44511‐2531
MARY F GALEZYNSKI   1020 GEORGETOWN DR                                                                            READING           PA    19605
MARY F HANCOCK      1822 HILDRETH DR.                                                                             BEAVERCREEK       OH    45432‐1818
MARY F HARMON       604 S 27TH ST                                                                                 SAGINAW           MI    48601‐6538
MARY F HATOSKY      1447 DEN JEAN N.E                                                                             WARREN            OH    44483‐4180
MARY F HILL         119 SANDHURST DRIVE                                                                           DAYTON            OH    45405‐2411
MARY F JACKSON      1670 CATALPA RD                                                                               CLEVELAND         OH    44112‐1007
MARY F JOHNSON      1300 W FRY RD                                                                                 GOSPORT           IN    47433‐9528
MARY F JOHNSON      776 HOMEWOOD AVE. S.E.                                                                        WARREN            OH    44484‐4223
MARY F LAMBERT      841 SHAWNEE RUN                    APT A                                                      WEST CARROLLTON   OH    45449
MARY F LARGE        BETHANY VILLAGE                    6451 FAR HILLS AVE                                         DAYTON            OH    45459
MARY F MANSON       1634 E. FRUIT ST.                                                                             SANTA ANA         CA    92701‐3252
MARY F MOORE        93 SEWARD ST APT 803                                                                          DETROIT           MI    48202‐4427
MARY F NAPLES       584 GRANADA AVE                    APT 106                                                    YOUNGSTOWN        OH    44505‐2424
MARY F NESE         317 EDSTAN WAY                                                                                PARAMUS           NJ    07656
MARY F PACHECO      C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                  HOUSTON           TX    77007
                    BOUNDAS LLP
MARY F RAYFORD      512 CROSSKEYS DRIVE                                                                           CLINTON           MS    39056
MARY F RELEFORD     477921 OLD US HIGHWAY 64                                                                      MULDROW           OK    74948‐5813
MARY F SCHILLER     7062 STATE ROUTE 609 NE                                                                       BURGHILL          OH    44404
MARY F SHERRELL     280 OLD PLEASANT VALLEY RD                                                                    ATTALLA           AL    35954
MARY F SMITH        4430 WEST HILLCREST AVE                                                                       DAYTON            OH    45406‐2309
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Name                         Address1                          Address2                      Address3   Address4         City               State Zip
MARY F SMITH                 4006 BRYNFORD PL                                                                            DAYTON              OH 45426‐2312
MARY F SMITH                 2250 N CANTON CENTER RD           APT 226                                                   CANTON              MI 48187‐2947
MARY F THOMPSON              2917 12 OAKS DR                                                                             CHARLOTTE           MI 48813‐8372
MARY F THOMPSON‐BALANOWSKI   2917 12 OAKS DR                                                                             CHARLOTTE           MI 48813‐8372
MARY F TUCKER                1521 MIDWAY RD                                                                              CLINTON             MS 39056‐9617
MARY F WALKER                34 FOREST HILL DR.                                                                          HUBBARD             OH 44425‐2164
MARY F WANTLAND              210 E 5TH ST                                                                                TILTON               IL 61833‐7425
MARY F WAYS                  3636 WALES DR                                                                               DAYTON              OH 45405‐1845
MARY FABER                   602 WOODLAND ESTATES AVE LOT 48                                                             RUSKIN              FL 33570
MARY FABER                   9078 MERCEDES                                                                               REDFORD             MI 48239‐2314
MARY FABRY                   477 WHITING RD                                                                              SHARPSVILLE         PA 16150‐9697
MARY FACEMIRE                205 NORTH ADAMS STREET                                                                      NEW CARLISLE        OH 45344‐1804
MARY FACEN                   47151 HARBOUR POINTE CT                                                                     BELLEVILLE          MI 48111‐1027
MARY FADELY                  5731 N 100 E                                                                                ALEXANDRIA          IN 46001‐8795
MARY FAGAN                   PO BOX 276                                                                                  BUCHANAN            NY 10511‐0276
MARY FAILOR‐HUGHES           424 FRUITHURST DR                                                                           PITTSBURGH          PA 15228‐2473
MARY FAIN                    APT 405                           1046 NORTH JEFFERSON STREET                               MEDINA              OH 44256‐1112
MARY FAIRCHILD               888 WHISPERWOOD TRL                                                                         FENTON              MI 48430‐2276
MARY FAIRCHILD               9969 LARK AVE                                                                               SAINT LOUIS         MO 63125‐2966
MARY FAIRCHILDS              6412 ROLLING GLEN DR                                                                        HUBER HEIGHTS       OH 45424‐1354
MARY FALBO                   28 NEWGATE RD                                                                               AMHERST             NY 14226‐1513
MARY FALCHECK                158 WOODRIDGE CT APT 3                                                                      ROCHESTER           NY 14622‐2966
MARY FALCONE                 4808 DEEP POINT DR                                                                          PORTAGE             MI 49002‐5914
MARY FALCONER                4919 DETROIT ST                                                                             DEARBORN HTS        MI 48125‐3219
MARY FALKNER                 6497 W CIMARRON TRL                                                                         FLINT               MI 48532‐2022
MARY FANELLO                 1697 MADISON LN                                                                             THE VILLAGES        FL 32162‐6048
MARY FANNING                 2404 N 100TH ST                                                                             KANSAS CITY         KS 66109‐4522
MARY FANNON                  4160 RENWOOD DR                                                                             KETTERING           OH 45429‐4648
MARY FANSLER                 44 W. US 136                                                                                LIZTON              IN 46149
MARY FARLEY                  5819 COFFMAN BEND DR                                                                        CLIMAX SPRINGS      MO 65324
MARY FARLEY                  2366 HIDDEN TRAIL DR                                                                        STERLING HEIGHTS    MI 48314‐3740
MARY FARMER                  2850 N LAKESHORE RD                                                                         CARSONVILLE         MI 48419‐9735
MARY FARMER                  260 MILL RUN DR APT 64                                                                      PLAINFIELD          IN 46168‐1193
MARY FARR                    37014 LAKEWOOD DR                                                                           ZEPHYRHILLS         FL 33542‐5145
MARY FARRELL                 2607 FALCON DR                                                                              INDIANAPOLIS        IN 46222‐1443
MARY FARROW                  1001 E ALEX BELL RD                                                                         CENTERVILLE         OH 45459‐2637
MARY FARRUGIA                28450 WEXFORD DR                                                                            WARREN              MI 48092‐2508
MARY FAUGHNER                5809 FLOWERDALE AVE                                                                         CLEVELAND           OH 44144‐4238
MARY FAULKNER                30 WILDBROOK DR                                                                             RUTLAND             MA 01543
MARY FAULKNER                ROUTE 1 WILCOX RD                                                                           LAGRANGE            GA 30241
MARY FAULKNER                7640 WICKFIELD DR                                                                           INDIANAPOLIS        IN 46256‐4034
MARY FAULKNER                4550 N 30TH ST                                                                              MILWAUKEE           WI 53209‐6048
MARY FAUNT                   14374 HUBBARD ST                                                                            LIVONIA             MI 48154‐4146
MARY FAUNTLEROY              7124 WILLOW WOOD DR                                                                         SAINT LOUIS         MO 63121‐2730
MARY FAUST                   106 ASHBROOK TRL                                                                            FARMERSVILLE        OH 45325‐1226
MARY FAUST                   2209 EXECUTIVE DR                                                                           KOKOMO              IN 46902‐3024
MARY FEAGIN                  5540 N FAIRMOUNT AVE                                                                        KANSAS CITY         MO 64118‐4080
MARY FEAZELL                 4204 ARETHA AVE                                                                             DETROIT             MI 48201‐1555
MARY FEDERICK                25608 S KANSAS AVE R 84                                                                     SUN LAKES           AZ 85248
MARY FEDORYSHYN              114 WOODGATE TERRACE                                                                        ROCHESTER           NY 14625‐1735
MARY FEHIR                   45755 FAIRCHILD RD                                                                          MACOMB              MI 48042‐5428
MARY FEIST                   APT 245W                          10 WILMINGTON AVENUE                                      DAYTON              OH 45420‐4813
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Name                Address1                         Address2                Address3                     Address4         City              State Zip
MARY FEIST          310 WATERTONS WAY                                                                                      JOPPA              MD 21085‐5427
MARY FEITH          56 HARDING AVE                                                                                         CLARK              NJ 07066‐2514
MARY FELBER         3708 AMHERST CT                                                                                        BETHLEHEM          PA 18020
MARY FELDMAN        2204 S PALM ST                                                                                         JANESVILLE         WI 53546‐6117
MARY FELLER         910 NORTH TAWAS LAKE ROAD        APT C30                                                               EAST TAWAS         MI 48730
MARY FELSKE         524 FIR ST APT 501                                                                                     BOULDER CITY       NV 89005‐2440
MARY FELTON         2345 SHATTUCK RD                                                                                       SAGINAW            MI 48603‐3336
MARY FENDT          18215 AUDETTE ST                                                                                       DEARBORN           MI 48124‐4218
MARY FERENCE        391 UTAH AVE                                                                                           WEST MIFFLIN       PA 15122‐4071
MARY FERGUESON      4816 HAYES ST                                                                                          WAYNE              MI 48184‐2278
MARY FERGUS         1116 WASHBURN PL W                                                                                     SAGINAW            MI 48602‐2978
MARY FERGUSON       15618 JANAS DR                                                                                         HOMER GLEN          IL 60491‐7445
MARY FERRARA        150 GAINSBORO RD                                                                                       TRENTON            NJ 08648‐3916
MARY FERRARI        50 HILLCREST AVE                                                                                       ARDSLEY            NY 10502‐2521
MARY FERRELL        236 JOHN MILLER RD                                                                                     BOWLING GREEN      KY 42101‐8514
MARY FERRON         5092 STATE ROUTE 521                                                                                   DELAWARE           OH 43015‐9007
MARY FEUERBORN      PO BOX 134                                                                                             GREELEY            KS 66033‐0134
MARY FEUSTEL        8463 BYERS RD                                                                                          MIAMISBURG         OH 45342‐3723
MARY FEW            1299 BRIARWOOD DR APT 307                                                                              SAN LUIS OBISPO    CA 93401‐5967
MARY FIAL           48B CREEKSIDE DR                                                                                       CHEEKTOWAGA        NY 14227‐1710
MARY FICK           6245 FRENCHLINE RD                                                                                     MARLETTE           MI 48453‐8517
MARY FICK           PO BOX 1503                                                                                            PORTAGE            MI 49081‐1503
MARY FIELDER        629 DOGWOOD STREET                                                                                     PULASKI            TN 38478‐4539
MARY FIELDS         1936 W JEFFERSON ST                                                                                    KOKOMO             IN 46901‐4128
MARY FIELDS         1990 RYAN RD                                                                                           ST AUGUSTINE       FL 32092
MARY FIELDS         5455 S IDDINGS RD                                                                                      WEST MILTON        OH 45383‐8749
MARY FIFE           210 GRAND AVE                                                                                          TROTWOOD           OH 45426‐3335
MARY FILL           109 ANDREWS ST                                                                                         BRISTOL            CT 06010‐6607
MARY FINCH          42039 CAMINO SANTA BARBARA                                                                             FREMONT            CA 94539‐4705
MARY FINDLAY        1133 WILSON SCHOOL RD                                                                                  CHAPEL HILL        TN 37034‐2654
MARY FINGER         7436 CROSS CREEK DR                                                                                    SWARTZ CREEK       MI 48473‐1497
MARY FINK TRUST A   FBO LEE ANN RUNKLE, U/A 6‐2‐89   GARY M SELIG, TRUSTEE   1416 N PENNSYLVANIA STREET                    INDIANAPOLIS       IN 46202

MARY FINK TRUST B   FBO BETTY LEHNER                 GARY M SELIG TR         1416 N PENNSYLVANIA ST                        INDIANAPOLIS      IN   46202
MARY FINLEY         46000 GEDDES RD TRLR 310                                                                               CANTON            MI   48188‐1910
MARY FINNEGAN       2404 SE CUVIER ST                                                                                      TECUMSEH          KS   66542‐9446
MARY FIORANI        42412 KINGSLEY DR                                                                                      CLINTON TWP       MI   48038‐1675
MARY FIORITO        1145 OGDEN PARMA TOWN LINE RD                                                                          SPENCERPORT       NY   14559‐9517
MARY FISCANTE       3110 N ALTADENA AVE                                                                                    ROYAL OAK         MI   48073‐3517
MARY FISCHER
MARY FISH           2133 E BERGIN AVE                                                                                      BURTON            MI   48529‐1703
MARY FISHEL         1377 HYDE SHAFFER RD                                                                                   BRISTOLVILLE      OH   44402‐9798
MARY FISHER         6476 SANDY KNL                                                                                         LINDEN            MI   48451‐8519
MARY FISHER         PO BOX 859                                                                                             PORT ARANSAS      TX   78373‐0859
MARY FISHER         1263 OCONEE FOREST DRIVE                                                                               WATKINSVILLE      GA   30677‐2491
MARY FISHER         1009 SPRINGFIELD RD APT 16S                                                                            OWENSVILLE        MO   65066
MARY FISHER         1420 STYER AVE                                                                                         KOKOMO            IN   46902‐6059
MARY FISHER         8809 RIVER RUN DR                                                                                      WHITE LAKE        MI   48386‐4610
MARY FISHER         8363 HEDGEWAY DRIVE                                                                                    UTICA             MI   48317
MARY FISK           RR #2                            8389 MC BRIDE RD                                                      EDMORE            MI   48829
MARY FITZPATRICK    1170 MAPLE ST                                                                                          PLYMOUTH          MI   48170‐1547
MARY FITZWATER      2300 CARTER RD                                                                                         MOSCOW MILLS      MO   63362‐2016
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Name            Address1                         Address2                     Address3   Address4         City            State Zip
MARY FLAGG      14 W 36TH ST                                                                              BAYONNE          NJ 07002
MARY FLAJOLE    2017 ROSELAND AVE                                                                         ROYAL OAK        MI 48073‐5014
MARY FLANDERS   5 ROOSEVELT DR                                                                            LOCKPORT         NY 14094‐5018
MARY FLATT      1811 MAIN ST                                                                              ANDERSON         IN 46016‐1857
MARY FLATY      4205 E 400 S                                                                              KOKOMO           IN 46902‐9371
MARY FLEMING    3305 N KEYSTONE AVE                                                                       INDIANAPOLIS     IN 46218‐2029
MARY FLEMING    833 PADDOCK WAY                                                                           BOWLING GREEN    KY 42104‐4240
MARY FLESHER    RR1                                                                                       RIDGEVILLE       IN 47380
MARY FLINT      1339 S WASHINGTON ST                                                                      JANESVILLE       WI 53546‐5548
MARY FLIPPEN    3449 BRIMFIELD DR                                                                         FLINT            MI 48503‐2944
MARY FLIPPIN    32384 FERTILE RD                                                                          WARSAW           MO 65355‐4762
MARY FLOOK      PO BOX 267                                                                                CORTEZ           FL 34215‐0267
MARY FLORA      1692 N CO RD 750 W                                                                        KOKOMO           IN 46901
MARY FLORES     876 W FIREBAUGH AVE                                                                       EXETER           CA 93221‐1452
MARY FLORES     10347 WALNUT AVE                                                                          SOUTH GATE       CA 90280‐6929
MARY FLORES     408 SANDY RIDGE DRIVE                                                                     LEAGUE CITY      TX 77573
MARY FLOREZ     928 COUNTY LINE ROAD                                                                      KANSAS CITY      KS 66103
MARY FLORY      3387 S STATE ROUTE 48                                                                     LUDLOW FALLS     OH 45339‐9701
MARY FLOWERS    1534 FERNDALE AVE SW                                                                      WARREN           OH 44485‐3947
MARY FLOWERS    3327 PADDINGTON CT                                                                        ROCHESTER HLS    MI 48309‐3596
MARY FLOYD      2006 W 12TH ST                                                                            ANDERSON         IN 46016‐3008
MARY FLOYD      280 CLAUDE WILCHER RD                                                                     WOODBURY         TN 37190‐5916
MARY FLOYD      915 NW 5TH ST                                                                             MOORE            OK 73160‐2109
MARY FLYNT      9186 MENDOTA ST                                                                           DETROIT          MI 48204‐2649
MARY FOGARTY    10749 GEORGIA AVE                                                                         KANSAS CITY      KS 66109‐5033
MARY FOGEL      8239 DARTMOUTH DR                                                                         WARREN           MI 48093‐2814
MARY FOLDETTA   325 ANDOVER PL                                                                            ROBBINSVILLE     NJ 08691‐3436
MARY FOLEY      1820 N MADISON AVE                                                                        ANDERSON         IN 46011‐2144
MARY FOLEY      16040 MORAN DR                                                                            LINDEN           MI 48451‐8715
MARY FOLEY      2069 S LAYTON STATION RD                                                                  COVINGTON        IN 47932‐8168
MARY FOLK       APT 136                          1915 BALDWIN AVENUE                                      PONTIAC          MI 48340‐3406
MARY FOLSOM     1984 ORCHARD PARK DR                                                                      OCOEE            FL 34761‐7698
MARY FOLTS      3316 DALE AVE                                                                             FLINT            MI 48506‐4710
MARY FONCE      1435 PEPPERWOOD DR                                                                        NILES            OH 44446‐3542
MARY FONTENOT   3810 DAWSON RD                                                                            SHREVEPORT       LA 71119‐9783
MARY FOOR       2146 VAUGHN RD                                                                            ALTOONA          AL 35952‐7701
MARY FORD       5071 SIMPSON LN                                                                           COLUMBIA         TN 38401‐9551
MARY FORD       3325 BUNKER HILL DR                                                                       FOREST HILL      TX 76140‐1903
MARY FORD       556 GARLAND DR                                                                            NILES            OH 44446‐1109
MARY FORD       19 BAY CT                                                                                 RIVERDALE        GA 30296‐1384
MARY FORD       6118 WEBBER COLE RD              P.O. BOX 383                                             KINSMAN          OH 44428‐9760
MARY FORD       1857 CONNER ST                                                                            NOBLESVILLE      IN 46060‐3013
MARY FORD       7034 STEADMAN ST                                                                          DEARBORN         MI 48126‐1757
MARY FOREMAN    3358 N CHESTER AVE                                                                        INDIANAPOLIS     IN 46218‐2233
MARY FORGO      4181 RICHFIELD RD                                                                         FLINT            MI 48506‐2026
MARY FORREST    3569 BIRCHVIEW COURT SOUTHEAST                                                            GRAND RAPIDS     MI 49546‐5921
MARY FORREST    16844 LOCH CIRCLE                                                                         NOBLESVILLE      IN 46060‐4483
MARY FORSTNER   5050 S STATE ROUTE 53                                                                     TIFFIN           OH 44883‐9252
MARY FORTE      PO BOX 4021                                                                               FLINT            MI 48504‐0021
MARY FORTIER    5741 LIVERNOIS RD                                                                         TROY             MI 48098‐3131
MARY FORTIN     # 209                            1233 SOUTH ATLANTIC AVENUE                               DAYTONA BEACH    FL 32118‐4801
MARY FORTIN     15077 LAKE DR                                                                             FENTON           MI 48430
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Name                          Address1                            Address2                   Address3   Address4         City               State Zip
MARY FORTNER                  218 SOL DR                                                                                 COMMERCE            GA 30529‐6384
MARY FORTNEY                  1304 S ELM ST                                                                              WEST CARROLLTON     OH 45449‐2340
MARY FORTUNATO                213 FRANK ST                                                                               MEDINA              NY 14103‐1716
MARY FOSS                     1099 OLD LEAKE CT                                                                          HOLLY               MI 48442‐1384
MARY FOSTER                   425 LINDA VISTA DR                                                                         PONTIAC             MI 48342‐1745
MARY FOSTER                   20542 GILL RD                                                                              LIVONIA             MI 48152‐1144
MARY FOSTER                   4463 WAYMIRE AVE                                                                           DAYTON              OH 45406‐2416
MARY FOSTER                   900 AQUA ISLES BLVD LOT B21                                                                LABELLE             FL 33935‐4385
MARY FOSTER                   97 WEBSTER RD                                                                              SPENCERPORT         NY 14559‐1525
MARY FOSTER                   243 HOLLYWOOD DR                                                                           TRENTON             NJ 08609‐1803
MARY FOSTER                   2105 CHESTNUT HILL CIR                                                                     DECATUR             GA 30032‐6116
MARY FOSTER                   1700 LILY POND RD                                                                          ALBANY              GA 31701‐7761
MARY FOSTER                   106 CARDINAL LN                                                                            ALEXANDRIA          IN 46001‐8105
MARY FOSTER                   1406 WEST VAN TREES STREET                                                                 WASHINGTON          IN 47501‐2310
MARY FOSTER                   PO BOX 420307                                                                              PONTIAC             MI 48342‐0307
MARY FOSTER                   HC 4 BOX 555                                                                               DONIPHAN            MO 63935‐9323
MARY FOSTER                   3385 S KEARSLEY BLVD                                                                       FLINT               MI 48506‐2044
MARY FOURNIER                 2646 GILBERT RD                                                                            LANSING             MI 48911‐6437
MARY FOURNIER                 5277 VINEYARD LN                                                                           FLUSHING            MI 48433‐2437
MARY FOWLER                   2251 TEMPLE LN                                                                             SAINT CLOUD         FL 34769‐6408
MARY FOWLER                   6117 BERMUDA DR                                                                            SAINT LOUIS         MO 63135‐3208
MARY FOWLER                   2138 S 450 E                                                                               ANDERSON            IN 46017‐9359
MARY FOX                      1330 S WASHBURN RD                                                                         DAVISON             MI 48423‐9124
MARY FOX                      5836 BALFOUR RD                                                                            SYLVANIA            OH 43560‐1505
MARY FOX                      1475 BAECHTEL RD., APT# G 2                                                                WILLITS             CA 95490
MARY FOXALL                   1047 LAKEVIEW ST                                                                           WATERFORD           MI 48328‐3818
MARY FRAGASSI                 936 GREENOCK BUENA VISTA RD APT 4                                                          MCKEESPORT          PA 15135‐2339
MARY FRAIM                    4354 9TH ST                                                                                ECORSE              MI 48229‐1132
MARY FRALEY                   409 CEDAR LN                                                                               LEBANON             OH 45036‐1601
MARY FRANCES CULLOP           32142 ROBIN LANE                                                                           WALLER              TX 77484
MARY FRANCES GUARNIERI        7855 HOSPITAL RD                                                                           FREELAND            MI 48623‐8695
MARY FRANCES HOLDEN           4837 SPRUCE PINE WAY                                                                       NORTH RIDGEVILLE    OH 44039
MARY FRANCIS JACKLYN DUNSON   FOR ACCT OF E E DUNSON              100 N HOUSTON CIVIL CRTS                               FORT WORTH          TX 00000
MARY FRANGOS                  1965 S OCEAN BLVD ‐ #306                                                                   POMPANO BEACH       FL 33062
MARY FRANK                    514 HYATT ST                                                                               JANESVILLE          WI 53545‐2410
MARY FRANK                    145 OAKLEY AVE                                                                             BOARDMAN            OH 44512‐3420
MARY FRANKLIN                 PO BOX 9126                                                                                PINE BLUFF          AR 71611‐9126
MARY FRANKS                   30458 HIGHWAY 104 S                                                                        REAGAN              TN 38368‐6216
MARY FRANKS                   4896 PHILLIPS RICE RD                                                                      CORTLAND            OH 44410‐9673
MARY FRANKS                   2727 CROWN POINTE CIR APT 125                                                              ANDERSON            IN 46012‐3265
MARY FRANZEN                  6013 RIVERS 22ND RD                                                                        GLADSTONE           MI 49837‐8942
MARY FRANZESE                 240 PEEKSKILL HOLLOW RD                                                                    PUTNAM VALLEY       NY 10579‐3219
MARY FRAZEE                   6 CHAMBORD CT                                                                              MANCHESTER          NJ 08759‐6153
MARY FRAZHO                   8771 ARTESIA BEACH RD                                                                      SAINT HELEN         MI 48656‐9537
MARY FRAZIER                  115 CEDAR RD                                                                               COVINGTON           GA 30016‐5107
MARY FREDENBURG               8118 W 575 N                                                                               MIDDLETOWN          IN 47356
MARY FREDERICK                3103 N PARTRIDGE HOLLOW DR                                                                 JANESVILLE          WI 53548‐9317
MARY FREDERICK                1185 E 145TH ST                                                                            CLEVELAND           OH 44110‐3664
MARY FREDERICKS               820 OREGON AVE                                                                             MC DONALD           OH 44437‐1626
MARY FREE                     14 DWIGHT ST                                                                               JERSEY CITY         NJ 07305‐4110
MARY FREE                     9976 S 750 W                                                                               FORTVILLE           IN 46040‐9206
MARY FREE BED HOSPIT          235 WEALTHY ST SE                                                                          GRAND RAPIDS        MI 49503‐5247
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Name                  Address1                       Address2              Address3       Address4         City            State Zip
MARY FREE BED ORTHO   235 WEALTHY ST SE                                                                    GRAND RAPIDS     MI 49503‐5247
MARY FREEMAN          4616 KIMESVILLE RD                                                                   BURLINGTON       NC 27215‐8672
MARY FREEMAN          3209 HOMESTEAD DR                                                                    WATERFORD        MI 48329‐2705
MARY FREEMAN          3620 LAWRENCE COVE RD                                                                EVA              AL 35621‐7818
MARY FREEMAN          219 COUNTY ROAD 325                                                                  TRINITY          AL 35673‐4304
MARY FRENCH           3007 BRANDED CT W                                                                    KOKOMO           IN 46901‐7005
MARY FRENCH           434 WELLINGTON AVE                                                                   BATTLE CREEK     MI 49037‐1241
MARY FRENCH           12109 HILL RD                                                                        GOODRICH         MI 48438‐9742
MARY FRENCH           RR 3 3737 HOWELL RD.                                                                 MASON            MI 48854
MARY FRENCH           209 MORNING DEW CT                                                                   SAINT PETERS     MO 63376‐3864
MARY FRENCH           1343 JAMES ST                                                                        NOKOMIS          FL 34275‐3710
MARY FRENCH           1066 TUPPER LAKE ST                                                                  LAKE ODESSA      MI 48849‐1140
MARY FRENCH           3514 BERGMAN AVE                                                                     LANSING          MI 48910‐4604
MARY FRESCH           35063 HAMMOND DR                                                                     CLINTON TWP      MI 48035‐2246
MARY FRESORGER        PO BOX 183                                                                           AU GRES          MI 48703‐0183
MARY FREUND           PO BOX 758                                                                           FLOWERY BR       GA 30542‐0013
MARY FREUND           451 QUEENSTON ST                                                                     PITTSBURGH       PA 15210‐4143
MARY FRIDDLE          310 E MAIN ST                                                                        REDKEY           IN 47373‐9405
MARY FRIEND           2822 LAWNDALE RD                                                                     FINKSBURG        MD 21048‐1522
MARY FRITZ            3629 WOODBINE AVE                                                                    DAYTON           OH 45420‐2470
MARY FROESE           PO BOX 381                                                                           CORONA           NM 88318‐0381
MARY FROMAN           482 HOLLY WAY                                                                        MILPITAS         CA 95035‐5932
MARY FROST            305 BARD STREET                UNIT #508                                             PORT HURON       MI 48060
MARY FROST            11294 ARMSTRONG DR S                                                                 SAGINAW          MI 48609‐9621
MARY FROST            16300 SILVER PKWY APT 326                                                            FENTON           MI 48430‐4428
MARY FRY              405 E 35TH ST                                                                        ANDERSON         IN 46013‐4627
MARY FRY              3809 WHITTIER AVE                                                                    FLINT            MI 48506‐3160
MARY FRYATT           31731 MIDDLEBORO ST                                                                  LIVONIA          MI 48154‐4280
MARY FRYDRYCH         3410 SANDALWOOD LN                                                                   YOUNGSTOWN       OH 44511‐2531
MARY FRYE             2002 ALBANY ST                 BEACH GROVE MEADOWS                                   BEECH GROVE      IN 46107‐1408
MARY FRYE             1300 FAIRWAY DR                                                                      KOKOMO           IN 46901‐9779
MARY FRYE             7783 W 900 S                                                                         PENDLETON        IN 46064‐9753
MARY FUGATE           5000 DENTON HWY APT 707                                                              HALTOM CITY      TX 76117‐1468
MARY FUGATE           171 CORNETT HILL DR                                                                  HAZARD           KY 41701‐5445
MARY FUJIWARA         1331 BAY ST APT 314                                                                  STATEN ISLAND    NY 10305‐3145
MARY FULK             172 FAIRVIEW DR                                                                      ASHLAND          OH 44805‐1400
MARY FULLER           15777 BOLESTA RD LOT 61                                                              CLEARWATER       FL 33760‐3443
MARY FULLER           20261 MANSFIELD ST                                                                   DETROIT          MI 48235‐2154
MARY FULLER           1863 SOUTHEAST BOWIE STREET                                                          PORT ST LUCIE    FL 34952‐7153
MARY FULMER           8361 CRIPPLE KRK DR                                                                  FRISCO           TX 75034
MARY FULTON           3361 TUCKER RD                                                                       LUCAS            OH 44843‐9749
MARY FULTON           N7376 LAKE BLVD                                                                      ENGADINE         MI 49827‐9514
MARY FULTON           29 MAPLE ST                                                                          NILES            OH 44446‐5015
MARY FULTZ            4502 STATE ROUTE 269 S                                                               CASTALIA         OH 44824‐9356
MARY FULTZ            528 DEWEY AVE APT 228                                                                BRIDGEVILLE      PA 15017
MARY FUNDERBURG       1008 BELVEDERE CIR W                                                                 MOBILE           AL 36606‐2513
MARY FUNTA            206 LONGRIDGE DR                                                                     SEVEN HILLS      OH 44131‐1702
MARY FURLETTE         PO BOX 320824                                                                        FLINT            MI 48532‐0015
MARY FURLONG          16 PRISCILLA LN                                                                      LOCKPORT         NY 14094‐3323
MARY FURNESS          6089 WHITE SWAN LN                                                                   ANN ARBOR        MI 48108‐9570
MARY FURNEY           8030 DEEN STILL RD E                                                                 POLK CITY        FL 33868
MARY FUWELL           13141 STATE ROAD CC                                                                  FESTUS           MO 63028‐3842
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Name                Address1                          Address2          Address3       Address4         City             State Zip
MARY FYFFE          3199 LANCASTER DR                                                                   FAIRBORN          OH 45324‐2117
MARY G ANDERSON     109 RUBICON STREET                                                                  DAYTON            OH 45409‐2720
MARY G BATES        PO BOX 204                                                                          AVALON            TX 76623‐0204
MARY G BUTCH        2960 N.RIVER RD. #17D                                                               WARREN            OH 44483‐3037
MARY G CASANOVA     4734 DOANE HWY                                                                      POTTERVILLE       MI 48876‐8743
MARY G DERR         6599 SARANAC DRIVE                                                                  TRANSFER          PA 16154‐8955
MARY G DIXON        13779 EATON PIKE                                                                    NEW LEBANON       OH 45345‐9297
MARY G ELDER        3310 LIBERTY ELLERTON RD.                                                           DAYTON            OH 45418‐1350
MARY G ENGARD       3057 VALLEYWOOD DRIVE                                                               KETTERING         OH 45429‐3829
MARY G GEARING      06444 FORT LORAMIE SWANDERS RD.                                                     MINSTER           OH 45865‐9325
MARY G GOLDMAN DO   ATTN: MARY G GOLDMAN              50 N PERRY ST                                     PONTIAC           MI 48342‐2217
MARY G IVORY        415 ETHEL AVE                                                                       DAYTON            OH 45408
MARY G JACKSON      200 LAUREL LAKE ROAD                                                                MADISONVILLE      TN 37354
MARY G KELLAR       2094 REEVES RD NE                                                                   WARREN            OH 44483
MARY G MARTIN       8059 HILL RD                                                                        SWARTZ CREEK      MI 48473‐7615
MARY G MILBY        1044 LINWOOD DR                                                                     TROY              OH 45373‐1810
MARY G MUSTAKE      763 SYME ST                                                                         MASURY            OH 44438‐1665
MARY G MYERS        1307 DEFOREST RD S.E.                                                               WARREN            OH 44484‐3503
MARY G REEVE        5415 PALMYRA RD SW                                                                  WARREN            OH 44481‐9785
MARY G RICHARDSON   303 MAGNOLIA ST                                                                     EDWARDS           MS 39066
MARY G SAAVEDRA     11046 CHARLESWORTH RD                                                               SANTA FE SPGS     CA 90670‐2700
MARY G SANDLIN      5160 MALLET CLUB DR                                                                 DAYTON            OH 45439‐4216
MARY G SHEPHERD     4015 MARKS ROAD                   CONDO 6‐D                                         MEDINA            OH 44256
MARY G SPROW        1047 NANTUCKET DR                                                                   HERMITAGE         PA 16148‐3685
MARY G WILLIAMS     145 FASHION XING                                                                    MCDONOUGH         GA 30252‐1604
MARY GABEL          353 WILCOX #5                                                                       AUSTINTOWN        OH 44515
MARY GABIOUD        11838 CLARENCE CENTER RD                                                            AKRON             NY 14001‐9490
MARY GABLE          386 KELLY LOOP RD                                                                   BUCHANAN          GA 30113‐3466
MARY GABOR          3810 NORTHWOODS CT NE UNIT 1                                                        WARREN            OH 44483‐4574
MARY GABRYSH        608 EMMONS AVE                                                                      BIRMINGHAM        MI 48009‐2020
MARY GADBERRY       6623 N MERCER CT                                                                    TERRE HAUTE       IN 47805‐1310
MARY GADDIS         14180 FAIRMOUNT DR                                                                  DETROIT           MI 48205‐1272
MARY GADZO          23241 S 223RD ST                                                                    QUEEN CREEK       AZ 85242‐4930
MARY GAGEL          7763 PONTIAC LAKE RD                                                                WATERFORD         MI 48327‐1430
MARY GAGNE          44 PLUMB AVE                                                                        MERIDEN           CT 06450‐6539
MARY GAINES         5341 ROSA CT                                                                        SWARTZ CREEK      MI 48473‐8833
MARY GAINES         12909 WEDGEWOOD WAY APT B                                                           BAYONET POINT     FL 34667‐2184
MARY GAINES         9215 SORRENTO ST                  C/O DARREN HORN                                   DETROIT           MI 48228‐2638
MARY GAINES         182 STRAIGHT ST                                                                     FORSYTH           GA 31029‐5108
MARY GAINES         5325 OAKGROVE RD                                                                    PRESCOTT          MI 48756‐9119
MARY GAINES P       8900 E JEFFERSON AVE APT 620                                                        DETROIT           MI 48214‐2859
MARY GAITHER        1660 E VERA DR                                                                      BLOOMINGTON       IN 47401‐9529
MARY GALARDI        PO BOX 60174                                                                        ROCHESTER         NY 14606‐0174
MARY GALEA          4118 CORNELL ST                                                                     DEARBORN HTS      MI 48125‐2108
MARY GALKOWSKI      2040 CARLISLE ST                                                                    ALGONQUIN          IL 60102‐4122
MARY GALL           8947 SAN JOSE                                                                       REDFORD           MI 48239‐2317
MARY GALLAGHER      30302 FAIRWAY BLVD                                                                  WILLOWICK         OH 44095‐4646
MARY GALLAGHER
MARY GALLIHER       2935 MCKINLEY ST                                                                    ANDERSON         IN   46016‐5461
MARY GALLO          4700 KINGSWOOD LANE                                                                 HAMBURG          NY   14075‐2523
MARY GAMBICHLER     36 TRAVERSE RD                                                                      LAKE PEEKSKILL   NY   10537‐1407
MARY GAMBLE         3940 NORLEDGE DR                                                                    DAYTON           OH   45414‐5031
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Name                      Address1                        Address2             Address3      Address4         City               State Zip
MARY GAMBLE               411 9TH ST                                                                          MONONGAHELA         PA 15063‐2705
MARY GAMBLE               12413 SANTA ROSA DR                                                                 DETROIT             MI 48204‐5319
MARY GAMBLE               505 CENTRAL AVE APT 102                                                             WHITE PLAINS        NY 10606‐1516
MARY GANDY                116 CAVALCADE DR                                                                    FRANKLIN            TN 37069‐1800
MARY GANG                 821 S MARKET ST                                                                     KOKOMO              IN 46901‐5451
MARY GANGL                1032 CARRIAGE LN                                                                    CASPER              WY 82609
MARY GANNON               67 PENELOPE CT                                                                      ROSEVILLE           CA 95678‐6008
MARY GARCIA               7140 MOTTS PLACE RD                                                                 CANAL WNCHSTR       OH 43110‐9431
MARY GARCIA               2946 CLAYBURN RD                                                                    SAGINAW             MI 48603‐3190
MARY GARDINALE            5414 HANKINS RD                                                                     MIDDLETOWN          OH 45044‐9782
MARY GARDNER              111 E HIGH ST                                                                       ELKTON              MD 21921‐5624
MARY GARDNER              6179 HILTON LN                                                                      MOUNT MORRIS        MI 48458‐2631
MARY GARDNER              300 JH WALKER DR                                                                    PENDLETON           IN 46064‐8730
MARY GARDNER              2533 MYAKKA DR                                                                      ORLANDO             FL 32839‐5269
MARY GARDNER              564 JET STREAM BLVD                                                                 WESTFIELD           IN 46074‐9799
MARY GARGANO              PO BOX 427                                                                          WARREN              OH 44482‐0427
MARY GARMAN               RR 2 BOX 340A                                                                       TYRONE              PA 16686‐9718
MARY GARNER               8348 WOODGROVE CT                                                                   CENTERVILLE         OH 45458‐1823
MARY GARNER               16617 MANSFIELD ST                                                                  DETROIT             MI 48235‐3663
MARY GARNER               516B CHAMBERS STREET                                                                GALLATIN            TN 37066‐2263
MARY GARONE               369 WILLIAMS AVE                                                                    DAYTONA BEACH       FL 32118
MARY GARRETT              3707 WASHINGTON PARK BLVD                                                           NEWBURGH HEIGHTS    OH 44105‐3133
MARY GARRETT              428 N CLARK ST                                                                      CHESANING           MI 48616‐1121
MARY GARRETT              PO BOX 330                                                                          MILLINGTON          MI 48746‐0330
MARY GARRETT              110 S MAIN ST                                                                       WEST ALEXANDRIA     OH 45381‐1218
MARY GARRETT              811 GREENFIELD DR                                                                   LIVINGSTON          TN 38570‐1344
MARY GARRETT              PO BOX 57                                                                           WINDFALL            IN 46076‐0057
MARY GARRETT              19974 ORLEANS ST                                                                    DETROIT             MI 48203‐1354
MARY GARRETT              2014 EASTWOOD WAY                                                                   ANDERSON            IN 46017‐9630
MARY GARRISON             123 SAINT ANDREWS                                                                   CORTLAND            OH 44410‐8721
MARY GARRISON             261 PRICE RD                                                                        CARROLLTON          GA 30116‐8308
MARY GARRISON             2816 ROYALSTON AVE                                                                  KETTERING           OH 45419‐1951
MARY GARRISON             10222 PIERPONT AVE                                                                  CLEVELAND           OH 44108‐3251
MARY GARTH                3978 E 188TH ST                                                                     CLEVELAND           OH 44122‐6761
MARY GARTIN               3889 E 500 S                                                                        CUTLER              IN 46920‐9474
MARY GARZA                8763 23 MILE RD                                                                     SHELBY TWP          MI 48316‐4515
MARY GASTON               575 SENECA DR RR 1                                                                  MONTPELIER          OH 43543
MARY GASTON               875 PARKSIDE PL UNIT A401                                                           OSAGE BEACH         MO 65065‐2997
MARY GATTNER              7322 DAVIS HWY                                                                      CHARLOTTE           MI 48813‐9339
MARY GAUSE                1545 WOODWARD AVE APT 707                                                           DETROIT             MI 48226‐2014
MARY GAWLAK               17 BOYLSTON ST N                                                                    MERIDEN             CT 06450‐4739
MARY GAY                  612 LINDA VISTA DR                                                                  PONTIAC             MI 48342‐1649
MARY GAYESKI              174 GEORGE ST                                                                       MIDDLETOWN          CT 06457‐3516
MARY GAYHEART             310 WALDON RD                                                                       ORION               MI 48359‐1356
MARY GAZO REV LVG TRUST   C/O MARY GAZO                   13410 CANE POLE CT                                  HUDSON              FL 34667‐1484
MARY GEARHART             37625 NEWBURGH PARK CIR 11                                                          LIVONIA             MI 48152
MARY GEARING              6444 FORT LORAMIE SWANDERS RD                                                       MINSTER             OH 45865‐9325
MARY GEDDIS               PO BOX 13                       58 PROVIDENCE RD                                    LINWOOD             MA 01525‐0013
MARY GEDERT               641 FAIRLEDGE ST                                                                    LAKE ORION          MI 48362‐2609
MARY GEDRO                2940 MERTZ RD                                                                       CARO                MI 48723‐9537
MARY GEE                  1451 N BELLEVIEW PL                                                                 INDIANAPOLIS        IN 46222‐2845
MARY GEE                  1310 37TH STREET E, APT 52                                                          TUSCALOOSA          AL 35405‐0522
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Name               Address1                            Address2                     Address3    Address4         City              State Zip
MARY GEHLHAUSEN    125 WELCOME WAY E BLVD APT 307C                                                               INDIANAPOLIS       IN 46214
MARY GEIGER        1150 N DELAWARE DR LOT 43                                                                     APACHE JUNCTION    AZ 85220‐2508
MARY GEITER        1028 S WASHINGTON ST                                                                          KOKOMO             IN 46902‐6345
MARY GELENCSER     18889 HARMAN ST                                                                               MELVINDALE         MI 48122
MARY GENOVESE      357 LAKESHORE POINTE DR                                                                       HOWELL             MI 48843‐6772
MARY GEORGE        2030 GRAND AVE                                                                                NEW CASTLE         IN 47362‐2568
MARY GEORGE        11328 MINOCK ST                                                                               DETROIT            MI 48228‐1310
MARY GEORGE        2161 OLD BISMARCK RD                                                                          PARK HILLS         MO 63601‐8103
MARY GEORGE        7048 ROSEWOOD DR                                                                              FLUSHING           MI 48433‐2276
MARY GERACE        373 HAMMOCK DUNES PL                                                                          ORLANDO            FL 32828‐8507
MARY GERARD        1299 S SHIAWASSEE ST APT G209                                                                 OWOSSO             MI 48867‐8995
MARY GERARD        RUE DES CHAMPS N░15                 7190 ECAUSSINNES             BELGIQUES
MARY GERBA         PO BOX 361                                                                                    BROOKFIELD        OH   44403‐0361
MARY GERHARD       PO BOX 24                                                                                     QUAKAKE           PA   18245‐0024
MARY GERHARDT      595 QUEENSBRIDGE DRIVE                                                                        LAKE MARY         FL   32746‐6456
MARY GERKE         521 LASALLE BLVD                                                                              LANSING           MI   48912‐4221
MARY GERLACH       2113 CORUNNA RD                                                                               FLINT             MI   48503‐3306
MARY GERTIS        3030 CLINTON STREET                                                                           BUFFALO           NY   14224‐1373
MARY GERVAIS       619 W 9TH ST                                                                                  COLUMBIA          TN   38401‐3112
MARY GIBBS         6551 KENTWOOD DR                                                                              HOLLY             MI   48442‐8745
MARY GIBBS         PO BOX 1691                                                                                   SAGINAW           MI   48605‐1691
MARY GIBSON        1350 CHESTNUT DR APT E                                                                        TIPP CITY         OH   45371‐3301
MARY GIBSON        163 CROWTHERS DR                                                                              HAMILTON          OH   45013‐1779
MARY GIBSON        503 E OSTERHOUT AVE                                                                           PORTAGE           MI   49002‐7124
MARY GIBSON        PO BOX 177                                                                                    BIRCH RUN         MI   48415‐0177
MARY GIBSON        4568 MAYO DR                                                                                  COLUMBUS          GA   31909‐2014
MARY GIBSON        312 RUSSELL ST                                                                                PONTIAC           MI   48342‐3345
MARY GIBSON        28311 UNION HILL RD                                                                           ANDERSON          AL   35610‐3527
MARY GIBSON        PO BOX 15                                                                                     YOUNGSTOWN        OH   44501‐0015
MARY GIBSON        BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.       OH   44236
MARY GICZI         2456 CLAYWARD DR                                                                              BURTON            MI   48509‐1058
MARY GIDDENS       3013 HAZELWOOD DR                                                                             WYLIE             TX   75098‐7652
MARY GIDDENS       2447 S BEATRICE ST                                                                            DETROIT           MI   48217‐1630
MARY GIDDINGS      52 N PEARL ST                                                                                 BUFFALO           NY   14202‐1412
MARY GIGLIO        60 SCHOONER DR 60                                                                             PALM HARBOR       FL   34683
MARY GILBERT       577 BRUNSTETTER RD SW                                                                         WARREN            OH   44481‐9600
MARY GILBERT       3113 SHAWNEE AVE                                                                              FLINT             MI   48507‐1901
MARY GILBERT       19 PRENTICE ST                                                                                LOCKPORT          NY   14094‐2119
MARY GILBERT       218 WHITTIER ST                                                                               SOUTH LYON        MI   48178‐1446
MARY GILBERTSON    38452 KINGSBURY ST                                                                            LIVONIA           MI   48154‐1344
MARY GILES         190 PARK AVE                                                                                  TRION             GA   30753‐1253
MARY GILL          20 PAULA PL APT T1                                                                            BALTIMORE         MD   21237‐7158
MARY GILLAM        4115 SOUTH 00 EW                                                                              KOKOMO            IN   46902‐5204
MARY GILLAM        2816 FAIRVIEW AVE SE                                                                          WARREN            OH   44484‐3211
MARY GILLELAND     504 LEE RD                                                                                    ELIZABETHTOWN     KY   42701‐2310
MARY GILLEM        2108 COBBLESTONE DR                                                                           KOKOMO            IN   46902‐5864
MARY GILLIAM       101 ELLIOTT CT                                                                                COLUMBIA          TN   38401‐5500
MARY GILLILAND     896 BRUCKNER RD                                                                               COLUMBUS          OH   43207‐3950
MARY GILLIS        84 W YPSILANTI AVE                                                                            PONTIAC           MI   48340‐1872
MARY GILMAN TTEE   MARY GILMAN TR U/A DTD 08/13/1998   3800 BRADFORD ST SPC 193                                  LA VERNE          CA   91750‐3149
MARY GINTER        2250 PASADENA AVE                                                                             NEWTON FALLS      OH   44444‐1880
MARY GIOVENGO      3207 BISTINEAU DR                                                                             BOSSIER CITY      LA   71112‐2841
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Name               Address1                        Address2                  Address3   Address4         City                State Zip
MARY GIPE          14 WILFRED CT                                                                         BALTIMORE            MD 21204‐2705
MARY GIRDNER       5230 ALBANY RD                                                                        SHREVEPORT           LA 71107‐2111
MARY GIST          1300 S PINCKNEY ST APT 111                                                            UNION                SC 29379‐3069
MARY GIULVEZAN     17330 CURRY LN                                                                        CHAGRIN FALLS        OH 44023‐5577
MARY GLADSON       11150 PHEASANT RIDGE DR                                                               CLINTON              MI 49236‐8804
MARY GLASGOW       6480 TUTTLE HILL RD                                                                   YPSILANTI            MI 48197‐9449
MARY GLASS         827 N MAIN ST                                                                         TIPTON               IN 46072‐1046
MARY GLASSBROOK    2183 ARCH RD                                                                          EATON RAPIDS         MI 48827‐9231
MARY GLATZHOFER    6711 SALERNO ST NW                                                                    CANTON               OH 44718‐3772
MARY GLEASON       9790 66TH ST LOT 369                                                                  PINELLAS PARK        FL 33782‐2808
MARY GLEASON       829 HYATT ST                                                                          EATON RAPIDS         MI 48827‐1405
MARY GLENN         6117 FOUNTAIN VIEW DR                                                                 SWARTZ CREEK         MI 48473‐8251
MARY GLENN         3898 LEE HEIGHTS BLVD                                                                 CLEVELAND            OH 44128‐1754
MARY GLORIOSO      PO BOX 681                                                                            PLAINVILLE           CT 06062‐0681
MARY GLOVER        10551 WHITE OAK DR                                                                    KEITHVILLE           LA 71047‐7225
MARY GLOVER        4 WINDSONG DR                                                                         NEWNAN               GA 30265‐1104
MARY GMUTZA        24 ABBINGTON DR NW                                                                    WARREN               OH 44481‐9002
MARY GNIEWEK       42461 LILLEY POINTE DR                                                                CANTON               MI 48187‐3844
MARY GOBLE         88 HANFORD ST                                                                         COLUMBUS             OH 43206‐3630
MARY GOCHA         6091 BELLINGHAM CT                                                                    BURTON               MI 48519‐1613
MARY GODDEN        3091 W HOUGHTON AVE                                                                   WEST BRANCH          MI 48661‐9601
MARY GODFREY       PO BOX 18071                                                                          RIVER ROUGE          MI 48218‐0071
MARY GODLEWSKI     415 BREWER RD                                                                         PERRYOPOLIS          PA 15473‐1097
MARY GOEMPEL       2344 COUCH LN                                                                         COLUMBIA             TN 38401‐7132
MARY GOFF          18903 RIDGELEIGH LN                                                                   LOUISVILLE           KY 40245‐6231
MARY GOKEY         4314 8TH ST                                                                           ECORSE               MI 48229‐1157
MARY GOLDEN        608 S KINGSWOOD ST                                                                    DURAND               MI 48429‐1743
MARY GOLDEN        RR 1 BOX 12                                                                           ROCKVILLE            IN 47872
MARY GOLDSCHMIDT   PO BOX 385                                                                            VANDALIA             OH 45377‐0385
MARY GOLDYNIA      2319 LYLE RD                    C/O E.KRAWCZAK/L.ROGERS                               BEAVERTON            MI 48612‐8648
MARY GOMBOSI       1700 CEDARWOOD DR APT 311                                                             FLUSHING             MI 48433‐3605
MARY GOMEZ         71 E CENTER ST                                                                        SAGINAW              MI 48601‐3299
MARY GONZAGOWSKI   12 CROYDON DR                                                                         DEPEW                NY 14043‐4417
MARY GONZALES      582 LAYMAN CREEK CIR                                                                  GRAND BLANC          MI 48439‐1394
MARY GONZALES      824 W ELM ST                                                                          KOKOMO               IN 46901‐2739
MARY GONZALES      9704 WEEMS AVENUE SOUTHWEST                                                           ALBUQUERQUE          NM 87121‐2275
MARY GONZALES      1482 ORANGE GROVE ST                                                                  UPLAND               CA 91786‐1514
MARY GONZALEZ      14010 LUCERNE                                                                         REDFORD              MI 48239‐2914
MARY GOODE         5417 RADECKE AVE                                                                      BALTIMORE            MD 21206‐4442
MARY GOODMAN       2586 N 350 W                                                                          ANDERSON             IN 46011‐8719
MARY GOODRICH      9780 MIDLAND RD                                                                       FREELAND             MI 48623‐9724
MARY GOODRICH      319 CRANE AVE                                                                         ROYAL OAK            MI 48067‐1717
MARY GOODRICH      2196 TIBBETTS WICK RD           C/O MARK A. DAVIDSON                                  GIRARD               OH 44420‐1227
MARY GOODWIN       2310 GALE PL                                                                          EL DORADO            AR 71730‐3032
MARY GOODWIN       1019 VILLAGE CIRCLE DR                                                                GREENWOOD            IN 46143‐8464
MARY GOOLSBY       4952 MONTAUK TRL SE                                                                   OWENS CROSS ROADS    AL 35763‐8736
MARY GORDINIER     102 RYE RD                                                                            ROCHESTER            NY 14626‐3606
MARY GORDON        PO BOX 204                                                                            DEEPWATER            MO 64740‐0204
MARY GORDON        5901 SHREVEPORT BLANCHARD HWY                                                         SHREVEPORT           LA 71107‐8682
MARY GORDON        9900 VAUGHAN ST                                                                       DETROIT              MI 48228‐1334
MARY GORDON        6130 TANAGER WAY                                                                      W CARROLLTON         OH 45449‐3256
MARY GORE          541 MCKEIGHAN AVE                                                                     FLINT                MI 48507‐2751
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Name               Address1                        Address2            Address3         Address4         City              State Zip
MARY GORETSKI      27642 BRETTONWOODS ST                                                                 MADISON HEIGHTS    MI 48071‐3212
MARY GORNY         2824 DENISE DR                                                                        TROY               MI 48085‐3956
MARY GOROL         995 PALMETTO DR                                                                       HUBBARD            OH 44425‐1368
MARY GORSKI        5246 CHRISTIE AVE SE                                                                  KENTWOOD           MI 49508‐6059
MARY GORTON        4486 LAPEER RD                                                                        BURTON             MI 48509‐1803
MARY GORZKIEWICZ   278 ELM ST                                                                            DUNDEE             MI 48131‐1003
MARY GOSS          22 MAYBERRY DR W                                                                      BUFFALO            NY 14227‐3020
MARY GOSS          28 SUNSET MANOR DR                                                                    MARTINSVILLE       IN 46151‐3339
MARY GOSS          1114 E MOUNT MORRIS ST 1                                                              MOUNT MORRIS       MI 48458
MARY GOSSETT       9996 FULMER ROAD                                                                      MILLINGTON         MI 48746‐9704
MARY GOUBEAUX      813 FALLVIEW AVE                                                                      ENGLEWOOD          OH 45322‐1815
MARY GOULD         4505 SHELDON LN                                                                       FLINT              MI 48507‐3536
MARY GOULD         4405 ADAMS CIR                                                                        WAYNE              MI 48184‐2709
MARY GOULD         1506 SAN MARCO DR APT 102                                                             ORMOND BEACH       FL 32174‐0623
MARY GOVEIA        20178 LEROY DR                                                                        CASTRO VALLEY      CA 94546‐4206
MARY GOZDZIALSKI   6133 HARTWELL ST                                                                      DEARBORN           MI 48126‐2243
MARY GRABER        APT 1                           837 SETON AVENUE                                      CINCINNATI         OH 45205‐2604
MARY GRABLE        PO BOX 714                                                                            MAMMOTH SPRING     AR 72554‐0714
MARY GRACE         7500 CLARK RD                                                                         GRAND LEDGE        MI 48837‐8219
MARY GRACE BAUER
MARY GRACZYK       892 W BORTON RD                                                                       ESSEXVILLE        MI   48732‐9656
MARY GRADY         1901 W 11TH ST                                                                        ANDERSON          IN   46016‐2730
MARY GRADY         817 BALES CT                                                                          KANSAS CITY       MO   64124‐2622
MARY GRAHAM        3204 WOODVALLEY DR                                                                    FLUSHING          MI   48433‐2266
MARY GRAHAM        61 ROUND HILL RD                                                                      MERIDEN           CT   06450‐2540
MARY GRAHAM        2709 TRANSIT RD                 NEWFANE RHCC                                          NEWFANE           NY   14108‐9701
MARY GRAHAM        1284 MAURER AVE                                                                       PONTIAC           MI   48342‐1960
MARY GRAHAM        6069 BEECHWOOD ST                                                                     DETROIT           MI   48210‐1201
MARY GRAHAM        3628 JERREE ST                                                                        LANSING           MI   48911‐2634
MARY GRAHAM        860 COUNTY ROAD 834 # A                                                               BLUE MOUNTAIN     MS   38610‐9760
MARY GRAHAM        303 IRVING WAY                                                                        PENDLETON         IN   46064‐9051
MARY GRAHAM        2454 N 400 W                                                                          KOKOMO            IN   46901‐8380
MARY GRAHAM        8133 LAKE AVE APT B3                                                                  LOUISVILLE        KY   40222‐7306
MARY GRAHAM        PO BOX 7202                                                                           BLOOMFIELD        MI   48302‐7202
MARY GRANDISON     PO BOX 174                                                                            MARKLEVILLE       IN   46056‐0174
MARY GRANGER       3537 COUNTY ROAD 16                                                                   CANANDAIGUA       NY   14424‐2446
MARY GRANO         7826 HERMITAGE RD                                                                     PAINESVILLE       OH   44077‐9114
MARY GRANT         2745 BIRCHCREST DR SE APT 304                                                         GRAND RAPIDS      MI   49506‐5456
MARY GRANT‐TRUSS   APT 105                         26600 SCHOOLCRAFT                                     REDFORD           MI   48239‐4623
MARY GRASIEWICZ    2845 SE HICKORY AVE                                                                   WHITE CLOUD       MI   49349‐8557
MARY GRASSI        239 BRUSH HOLLOW RD                                                                   ROCHESTER         NY   14626‐3022
MARY GRAVES        PO BOX 882                                                                            BROWNSBORO        TX   75756‐0882
MARY GRAVES        16866 MENDOTA ST                                                                      DETROIT           MI   48221‐2829
MARY GRAVES        1005 GRENOBLE DR APT C                                                                LANSING           MI   48917
MARY GRAVES        5084 N 1175 W                                                                         KEMPTON           IN   46049‐9325
MARY GRAVES        18229 CHERRYLAWN ST                                                                   DETROIT           MI   48221‐2013
MARY GRAVES        15118 CHETWYN DR                                                                      LANSING           MI   48906‐1314
MARY GRAVES        120 LIMETREE PARK DR                                                                  BONITA SPRINGS    FL   34135‐4358
MARY GRAY          2399 WAYBURN AVE                                                                      MOUNT MORRIS      MI   48458‐8203
MARY GRAY          1928 E 49TH ST                                                                        ANDERSON          IN   46013‐2806
MARY GRAY          2334 E 2ND ST                                                                         ANDERSON          IN   46012‐3130
MARY GRAY          1807 LAKE SHORE DR APT B                                                              ANDERSON          IN   46012‐4905
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Name              Address1                         Address2                     Address3   Address4         City            State Zip
MARY GRAY         208 W PINE DR                                                                             PEARL            MS 39208‐5628
MARY GRAY         PO BOX 397                                                                                ALEXANDRIA       KY 41001‐0397
MARY GRAY         11271 EATON RAPIDS RD                                                                     SPRINGPORT       MI 49284‐9739
MARY GRAY         210 BAKER LN                                                                              CARLISLE         OH 45005‐3794
MARY GRAZES       566 NEVADA AVE                                                                            PONTIAC          MI 48341‐2553
MARY GRAZIANI     1409 E PERKINS AVE                                                                        SANDUSKY         OH 44870‐5125
MARY GRAZIANO     PO BOX 335                                                                                MAYWOOD           IL 60153
MARY GREATHOUSE   4790 BOTTOM LN                                                                            HILLSBORO        OH 45133‐7714
MARY GREEN        1285 EDWARDS DR                                                                           TIPP CITY        OH 45371‐9206
MARY GREEN        9 TAVERNIER DR                   CASTLE HILLS                                             NEW CASTLE       DE 19720‐3533
MARY GREEN        36085 N MIRANDESA DR                                                                      QUEEN CREEK      AZ 85243‐5743
MARY GREEN        7325 NORTON AVE                                                                           KANSAS CITY      MO 64132‐2085
MARY GREEN        9876 CHENLOT ST                                                                           DETROIT          MI 48204
MARY GREEN        9938 GROVER ST                                                                            SAINT HELEN      MI 48656‐9673
MARY GREEN        92 PAIGE ST                                                                               ROCHESTER        NY 14619‐1945
MARY GREEN        8923 EMPIRE AVE                                                                           CLEVELAND        OH 44108‐2868
MARY GREEN        1415 LITTLE CREEK RD                                                                      CHERRY LOG       GA 30522‐3129
MARY GREEN        1421 S H ST                                                                               ELWOOD           IN 46036‐2369
MARY GREEN        44 LAKEVIEW TERRACE DR #F3                                                                ALTOONA          FL 32702
MARY GREEN        1392 NOLTA RD                                                                             WALLED LAKE      MI 48390‐3127
MARY GREEN        1657 LEFTY GARCIA WAY                                                                     HENDERSON        NV 89002‐9365
MARY GREEN        1814 N LEXINGTON DR                                                                       JANESVILLE       WI 53545‐0956
MARY GREEN        PO BOX 30192                                                                              MIDWEST CITY     OK 73140‐3192
MARY GREENE       805 W MARKET ST                                                                           PIERCETON        IN 46562‐9453
MARY GREENE       12181 S SAGINAW ST APT 15                                                                 GRAND BLANC      MI 48439‐1426
MARY GREENE       9 VIRGINIA LN                                                                             ROCHESTER        NY 14624‐4108
MARY GREENE       866 COMMODORE DR NW                                                                       ATLANTA          GA 30318‐6336
MARY GREENHALGH   3522 WESSEX LN                                                                            PHILADELPHIA     PA 19114‐1818
MARY GREENLEAF    18721 DICE RD                                                                             MERRILL          MI 48637‐9544
MARY GREENLIEF    413 BRITTANY LN                                                                           ELYRIA           OH 44035‐4172
MARY GREENLIEF    BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH 44236
MARY GREER        512 W BROADWAY ST                                                                         ALEXANDRIA       IN 46001‐1719
MARY GREGORIO     239 ALLENHURST RD                                                                         BUFFALO          NY 14226‐3007
MARY GREGORY      2852 RUSSELL DR                                                                           HEBRON           KY 41048‐9685
MARY GREGORY      18254 SANTA ROSA DR                                                                       DETROIT          MI 48221‐2243
MARY GREGORY      5988 S RED BUD LN‐57                                                                      COLUMBIA CITY    IN 46725‐9400
MARY GRESS        PO BOX 355                                                                                BISMARCK          IL 61814‐0355
MARY GREWE        5801 JASSAMINE DR                                                                         DAYTON           OH 45449‐2942
MARY GREY         28261 MARCIA AVE                                                                          WARREN           MI 48093‐2830
MARY GREYTOCK     736 N PENNSYLVANIA AVE                                                                    WILKES BARRE     PA 18705‐2407
MARY GRGURAS      1565 LINCOLN AVE                                                                          LINCOLN PARK     MI 48146‐2349
MARY GRICAR       113 WHITE OAK DR                                                                          WHITE OAK        PA 15131‐1935
MARY GRIESHOP     4060 LUTHERAN CHURCH RD                                                                   GERMANTOWN       OH 45327
MARY GRIETSELL    29766 BAYVIEW DR                                                                          GIBRALTAR        MI 48173‐9760
MARY GRIFFES      2865 E SHERWOOD RD                                                                        WILLIAMSTON      MI 48895‐9629
MARY GRIFFIN      4802 SIMONDS DR                                                                           OWINGS MILLS     MD 21117‐5823
MARY GRIFFIN      97 S EDITH ST                                                                             PONTIAC          MI 48342‐2940
MARY GRIFFIN      5747 ALLISONVILLE RD             C/O SHERRY GRIFFIN‐LEE                                   INDIANAPOLIS     IN 46220‐5523
MARY GRIFFIN      1415 JEFFREY DR                                                                           ANDERSON         IN 46011‐1578
MARY GRIFFIN      744 HIGHWAY 142 TRLR 30                                                                   POPLAR BLUFF     MO 63901‐7400
MARY GRIFFIN      4220 HIGHWAY                                                                              NEW AUGUSTA      MS 39462
MARY GRIFFITH     6076 MIDDLEBROOK BLVD                                                                     BROOK PARK       OH 44142‐3220
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Name                  Address1                       Address2                   Address3   Address4         City             State Zip
MARY GRIFFITH         30949 BROWN ST                                                                        GARDEN CITY       MI 48135‐1421
MARY GRIGAL           8 B WAVECREST AVE                                                                     WINFIELD PARK     NJ 07036
MARY GRIGGS           2651 BIDDLE AVE APT 304                                                               WYANDOTTE         MI 48192‐5253
MARY GRIGSBY          809 NE 7TH ST                                                                         SUMMERDALE        AL 36580‐3604
MARY GRIMES           4999 SANDY RUN RD                                                                     SPARTA            GA 31087‐6851
MARY GRIMES           2445 PEBBLE RIDGE CT                                                                  DAVISON           MI 48423‐8621
MARY GRIMES           5732 BUNKERS AVE                                                                      BURLINGTON        KY 41005‐6538
MARY GRINER           14299 NECTARINE ST                                                                    BROOKSVILLE       FL 34613‐5949
MARY GRINSTEAD        3543 DOGWOOD DR                                                                       ANDERSON          IN 46011‐3011
MARY GRISHA           156 5TH AVE                                                                           BROOKLYN          NY 11217
MARY GRISHAM          7337 GLEN DR                                                                          WATAUGA           TX 76148‐1230
MARY GROGAN           345 E MARSHALL ST                                                                     FERNDALE          MI 48220‐2526
MARY GROSS            347 S RANDALL AVE                                                                     JANESVILLE        WI 53545‐4250
MARY GROSS            10607 W 56TH TER                                                                      SHAWNEE           KS 66203‐2305
MARY GROSS‐CONLEY     2961 N TANNER 1                                                                       WINAMAC           IN 46996‐7766
MARY GROSSKLAUS       5166 KIMBERLY DR                                                                      GRAND BLANC       MI 48439‐5156
MARY GROVE            G1055 EAST ROWLAND ST                                                                 FLINT             MI 48507
MARY GROVE            15725 GROVE RD                                                                        LANSING           MI 48906‐9354
MARY GRUBBS           4146 WOODMERE DR                                                                      YOUNGSTOWN        OH 44515‐3517
MARY GRUDEN           1000 FANFARE WAY APT 6207                                                             ALPHARETTA        GA 30009‐5517
MARY GRUND            509 W LAWN BLVD                                                                       MANITOWOC         WI 54220
MARY GUASTELLA        2188 BANNER DR SW                                                                     WYOMING           MI 49509‐1924
MARY GUDONIS‐CHAPIN   686 MARSHALL RD                                                                       ROCHESTER         NY 14624‐4805
MARY GUERRERO         6676 N 51ST ST                                                                        MILWAUKEE         WI 53223‐6035
MARY GUESS            14831 LITTLEFIELD ST                                                                  DETROIT           MI 48227‐3655
MARY GUFFEY           3515 LAURISTON DR                                                                     NEW CASTLE        IN 47362‐1721
MARY GUFFEY           4939 FLETCHER ST                                                                      ANDERSON          IN 46013‐4814
MARY GUIDO            66 HOYT ST                                                                            BUFFALO           NY 14213‐1621
MARY GUITAR           2422 HAVERFORD DR                                                                     TROY              MI 48098‐2378
MARY GULASH           259 FAIRCHANCE RD                                                                     MORGANTOWN        WV 26508
MARY GULLATTE         1901 BENSON DR                                                                        DAYTON            OH 45406‐4405
MARY GULLET           14208 FORRER ST                                                                       DETROIT           MI 48227‐2145
MARY GULLETT          10269 NIXON RD                                                                        GRAND LEDGE       MI 48837‐9404
MARY GUNN             395 N WINDSONG LN                                                                     GREENWOOD         IN 46142‐7267
MARY GUNNOE           PO BOX 318                                                                            OAK HARBOR        OH 43449‐0318
MARY GUNTER           180 RAILROAD LN                                                                       CENTREVILLE       AL 35042‐5778
MARY GUNTNER          8306 NUNLEY DR APT D                                                                  BALTIMORE         MD 21234‐4523
MARY GURAL            80‐22 222ND ST                                                                        QUEENS VILLAGE    NY 11427‐1221
MARY GURLEY           4925 W VERMONT ST                                                                     INDIANAPOLIS      IN 46224‐8825
MARY GURRAN           870 STRYKERS RD                                                                       PHILLIPSBURG      NJ 08865
MARY GURSKY           APT D                          1046 SHEFFIELD BOULEVARD                               LONDON            OH 43140‐2139
MARY GUSIE            5544 CHATHAM LN                                                                       GRAND BLANC       MI 48439‐9742
MARY GUSTOVICH        716 TRUMBULL AVE SE                                                                   WARREN            OH 44484‐4570
MARY GUTEK            339 SW 132ND TER                                                                      NEWBERRY          FL 32669‐3096
MARY GUTHRIE          22824 FAIN RD                                                                         ELKMONT           AL 35620‐4440
MARY GUTIA            3330 BRADFORDS GATE                                                                   ROCKY RIVER       OH 44116‐3802
MARY GUTIERREZ        1122 S CLINTON ST                                                                     DEFIANCE          OH 43512‐2707
MARY GUTOWSKI         433 N 2ND ST                                                                          EAST NEWARK       NJ 07029‐2701
MARY GUTTMAN          904 ESSEX AVE                                                                         BALTIMORE         MD 21221‐3429
MARY GUY              550 PEARSALL AVE                                                                      PONTIAC           MI 48341‐2663
MARY GUZIAK           4191 MAINEST                                                                          OAKLEY            MI 48649
MARY GUZYLAK          6650 NECKEL ST                                                                        DEARBORN          MI 48126‐4509
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Name                         Address1                      Address2            Address3         Address4         City             State Zip
MARY H ANDERSON              4531 WOODHURST APT 6                                                                YOUNGSTOWN        OH 44515
MARY H ARCHIE‐STEWART        4128 EL PASO ST                                                                     JACKSON           MS 39206‐4738
MARY H BANKS                 30 WAVERLY AVE                                                                      DAYTON            OH 45405‐2227
MARY H BICK, GERALD D BICK   9275 BICK RD                                                                        WINCHESTER        OH 45697
MARY H BLACKBURN             426 WILLINGHAM ROAD                                                                 MORRISVILLE       NC 27560
MARY H BREWSTER              5057 SHANKS PHALANX RD                                                              NEWTON FALLS      OH 44444‐9572
MARY H BRUNETTE              4 LORRAINE PL                                                                       ROCHESTER         NY 14606‐1143
MARY H BUCK                  1525 S MAPLE AVE                                                                    FAIRBORN          OH 45324‐3426
MARY H BURNETT               146 THIRD STREET                                                                    ROCHESTER         NY 14605‐2445
MARY H CEFALU                7685 BUCHANAN DR                                                                    BOARDMAN          OH 44512‐5704
MARY H DEAL                  2062 AYERS AVE                                                                      AKRON             OH 44313‐7245
MARY H DROTAR                3643 NILES CARVER RD                                                                MINERAL RIDGE     OH 44440‐9522
MARY H GACH                  926 ACADEMY HEIGHTS DR                                                              GREENSBURG        PA 15601‐1439
MARY H GORSUCH               2881 PARKMAN RD NW #156                                                             WARREN            OH 44485‐1652
MARY H HAGAN                 60 FAIRVIEW AVE                                                                     NILES             OH 44446
MARY H JONES                 PO BOX 46291                                                                        MOUNT CLEMENS     MI 48046‐6291
MARY H MAGER                 P O BOX 5232                                                                        DELTONA           FL 32728‐5232
MARY H MCDONALD              15 DICKENS CT                                                                       JACKSON           MS 39206‐2436
MARY H MENGES                1201 CARRIAGE DR                                                                    TECUMSEH          MI 49286‐7757
MARY H MERRILL               321 BEVERLY HILL DR                                                                 YOUNGSTOWN        OH 44505‐1111
MARY H MITCHELL              P.O. BOX 2654                                                                       YOUNGSTOWN        OH 44507‐0654
MARY H MORDENT               116 MORELAND RD.                                                                    NILES             OH 44446‐3216
MARY H MORMANDO              358 WAINWOOD DR SE                                                                  WARREN            OH 44484‐4650
MARY H MUNOZ                 2300 MARTIN RD                                                                      BEAVERTON         MI 48612‐8211
MARY H NARD                  1504 TERRAWENDA DR                                                                  DEFIANCE          OH 43512‐3245
MARY H NATT                  122 DEERFIELD DR                                                                    COLUMBIA          TN 38401‐5252
MARY H REYNOLDS              5586 COLUMBUS CIRCLE                                                                WILDWOOD          FL 34785‐8120
MARY H RICHBURG              160 PHEASANT RUN RD SE                                                              WARREN            OH 44484‐2317
MARY H SCOTT                 P O BOX 833                                                                         YOUNGSTOWN        OH 44501‐0833
MARY H THORNTON              3653 N WABASH ST                                                                    JACKSON           MS 39213
MARY H WILSON                5009 PENSACOLA BLVD                                                                 MORAINE           OH 45439‐2940
MARY H YUNGBLUTH             3578 CADWALLADER SONK RD                                                            CORTLAND          OH 44410
MARY H ZARBAUGH              1262 NORTH PARK DRIVE                                                               BROOKFIELD        OH 44403‐9515
MARY HABERMAN                972 SUNNYVIEW ROAD            TRAILER                                               OSHKOSH           WI 54901
MARY HACKLEY                 912 N EDGEWORTH AVE                                                                 ROYAL OAK         MI 48067‐2102
MARY HADDEN                  2235 M A C DR                                                                       WAYLAND           MI 49348
MARY HADLEY                  841 CAPE HAZE LN                                                                    NAPLES            FL 34104‐4115
MARY HAFERKAMP               1121 KENT RD                                                                        MEXICO            MO 65265‐1136
MARY HAFFNER                 233 WEXFORD DR                                                                      FUQUAY VARINA     NC 27526‐7048
MARY HAGEMEISTE              6804 CEMETERY RD                                                                    CLIFFORD          MI 48727‐9534
MARY HAGER                   4112 LOTUS DR                                                                       WATERFORD         MI 48329‐1232
MARY HAGGE                   6469 JAMIE LN                                                                       GRAND BLANC       MI 48439‐9663
MARY HAGLER                  2519 WAVERLY ST                                                                     DETROIT           MI 48238‐3591
MARY HAGOOD                  1300 WRAY BRANCH RD                                                                 MINOR HILL        TN 38473‐5412
MARY HAHN                    304 N EDGEWAY DR                                                                    ALEXANDRIA        IN 46001‐1604
MARY HAHNE                   104 E MAIN ST                                                                       CHESTERFIELD      IN 46017‐1213
MARY HAINES                  PO BOX 193                                                                          FALLING WATERS    WV 25419‐0193
MARY HAIRSTON                PO BOX 993                                                                          MANSFIELD         OH 44901‐0993
MARY HAIRSTON                614 W LORADO AVE                                                                    FLINT             MI 48505‐2018
MARY HAIRSTON                322 DEWEY AVE                                                                       BUFFALO           NY 14214‐2534
MARY HAIT                    15716 BIRCHWOOD ST                                                                  LA MIRADA         CA 90638‐2456
MARY HAKES                   654 LORETTA ST                                                                      TONAWANDA         NY 14150‐8716
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Name                  Address1                         Address2              Address3    Address4         City            State Zip
MARY HALCOMB          G 1312 E HARVARD                                                                    FLINT            MI 48505
MARY HALE             4769 S PARADISE RD                                                                  FALMOUTH         MI 49632‐9611
MARY HALECKI          155 GOLDEN POND ESTATE                                                              AKRON            NY 14001‐9554
MARY HALES            2042 KINDIG RD N                                                                    ALGER            MI 48610‐9105
MARY HALEY            837 VILLAGE LN                                                                      DEFIANCE         OH 43512‐3748
MARY HALEY            624 SOUTH GRAND TRAVERSE                                                            FLINT            MI 48502
MARY HALL             3449 PINE RIVER RD                                                                  STANDISH         MI 48658‐9712
MARY HALL             11076 HIGHWAY 167                                                                   SHERIDAN         AR 72150
MARY HALL             3380 OLD FEDERAL ROAD SOUTH                                                         CHATSWORTH       GA 30705‐4723
MARY HALL             601 E RIDGEWAY AVE                                                                  FLINT            MI 48505‐2963
MARY HALL             208 E KING ST                                                                       CORUNNA          MI 48817‐1431
MARY HALL             4467 KINGS MILL RD                                                                  NORTH BRANCH     MI 48461‐8993
MARY HALL             301 4TH AVE                                                                         PONTIAC          MI 48340‐2852
MARY HALL             11134 MCENRUE RD                                                                    SWARTZ CREEK     MI 48473‐8506
MARY HALL             204 AVALON WAY                                                                      RIVERDALE        GA 30274‐4413
MARY HALL             126 WEST COOPER ROAD                                                                SANDUSKY         MI 48471‐9230
MARY HALL             1932 SPRINGFIELD BLVD                                                               KANSAS CITY      KS 66101
MARY HALL             53 CHILI WHEATLAND TOWNLINE RD                                                      SCOTTSVILLE      NY 14546‐9630
MARY HALL             2915 DWIGHT AVE                                                                     DAYTON           OH 45420‐2609
MARY HALL             110 CHESTNUT AVE                                                                    CARLISLE         OH 45005‐5802
MARY HALL             820 N TURNER ST                                                                     MUNCIE           IN 47303‐4042
MARY HALL             1267 N 250 W                                                                        TIPTON           IN 46072‐8543
MARY HALL             2018 KINGSWOOD DR                                                                   FLINT            MI 48507‐3523
MARY HALL             249 CHESTNUT ST APT 101                                                             WYANDOTTE        MI 48192‐5135
MARY HALL             1955 THETA PIKE                                                                     COLUMBIA         TN 38401‐1370
MARY HALL             7905 MUNGER RD                                                                      YPSILANTI        MI 48197‐9324
MARY HALL‐HOBSON      4221 LANTERMAN RD                                                                   AUSTINTOWN       OH 44515‐1432
MARY HALLER           THORNTON PLACE                   3010 SE AQUARIUS DR                                TOPEKA           KS 66605‐1876
MARY HALUTICK         6160 BRAMBLEWOOD PL                                                                 MENTOR           OH 44060‐3339
MARY HAM              7620 W MOORESTOWN RD                                                                MANTON           MI 49663‐9009
MARY HAMELIN          4958 SPRING MEADOW DR                                                               CLARKSTON        MI 48348‐5157
MARY HAMER            2105 ARROW AVE                                                                      ANDERSON         IN 46016‐3842
MARY HAMILLA          120 VIENNA CT                    C/O JANET AUGUSTINE                                HOUGHTON LAKE    MI 48629‐9389
MARY HAMILTON         50 HARDING HEIGHTS BLVD                                                             MANSFIELD        OH 44906‐1316
MARY HAMILTON         136 LONSDALE RD                                                                     BUFFALO          NY 14208‐1530
MARY HAMILTON         8161 N COUNTY ROAD 175 E                                                            SPRINGPORT       IN 47386‐9504
MARY HAMILTON         20478 WARD ST                                                                       DETROIT          MI 48235‐1143
MARY HAMILTON         61508 GLENWOOD TRL                                                                  WASHINGTON       MI 48094‐1522
MARY HAMILTON         5487 WESTCHESTER DR                                                                 FLINT            MI 48532‐4054
MARY HAMILTON         142 HAMILTON HILL RD                                                                LYNNVILLE        TN 38472‐5550
MARY HAMILTON         13911 S DEER CREEK AVE           C/O NICKI KAUFMAN                                  KOKOMO           IN 46901‐9438
MARY HAMILTON         6273 S DELAND ST                                                                    BRIMLEY          MI 49715‐9296
MARY HAMILTON         PO BOX 2514                                                                         DETROIT          MI 48202‐0514
MARY HAMLIN           4139 CHAPEL VIEW CIR             C/O PEGGY K HAMLIN                                 BRIGHTON         MI 48114‐8659
MARY HAMLIN           10951 CUMBERLAND FALLS HWY                                                          CORBIN           KY 40701‐7820
MARY HAMM             PO BOX 115                                                                          BEAVERTON        MI 48612‐0115
MARY HAMMEL           PO BOX 668                                                                          ROCHELLE          IL 61068‐0668
MARY HAMMER           PO BOX 421                                                                          ATHENS           AL 35612‐0421
MARY HAMMER           236 W PORTAL AVE                                                                    SAN FRANCISCO    CA 94127
MARY HAMMER           3659 MEADOWBROOK ACRES                                                              N TONAWANDA      NY 14120‐1247
MARY HAMMER           C/O ZONA GALE SWEETANOS          1082 CARODON DR                                    RUCKERSVILLE     VA 22968
MARY HAMMERS‐PIERCE   2545 S CENTRAL WAY                                                                  ANDERSON         IN 46011‐4524
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Name                                 Address1                               Address2            Address3   Address4         City               State Zip
MARY HAMMOCK                         1205 LOUISE ST                                                                         ANDERSON            IN 46016‐3047
MARY HAMMOND                         8373 NW 12TH CT                                                                        OCALA               FL 34475‐7637
MARY HAMMOND                         708 E MADISON ST                                                                       DANVILLE             IL 61832‐5916
MARY HAMMONDS                        452 OAK LAWN DR                                                                        FAIRBORN            OH 45324‐2731
MARY HAMMONS                         3865 WILLOWBROOK DR                                                                    DOUGLASVILLE        GA 30135‐3441
MARY HAMPTON                         6563 BARLUM ST                                                                         DETROIT             MI 48210‐1633
MARY HAMPTON                         7416 DILLON LN                                                                         MAGNOLIA            MS 39652‐9368
MARY HAMRICK                         9676 GEORGETOWN ST                                                                     LOUISVILLE          OH 44641‐9675
MARY HAMROCK                         4609 DEER CREEK CT APT 11                                                              YOUNGSTOWN          OH 44515‐5439
MARY HANAFIN                         2751 ERNA DR APT 4                                                                     SAGINAW             MI 48603‐5306
MARY HANDLEY                         724 WILBERFORCE DR                                                                     FLINT               MI 48503‐5235
MARY HANES                           13134 TALBOT AVE                                                                       HUNTINGTON WOODS    MI 48070‐1024
MARY HANEY                           320 GOODING ST                                                                         LOCKPORT            NY 14094‐2304
MARY HANKS                           828 HOLMES DR                                                                          GRENADA             MS 38901‐8320
MARY HANKUS                          12755 LINCOLN ST                                                                       BLUE ISLAND          IL 60406‐2213
MARY HANNA                           258 PARKVIEW DR                                                                        AURORA              OH 44202‐9216
MARY HANNA                           522 N 6TH ST                                                                           MIDDLETOWN          IN 47356‐1014
MARY HANNON                          11400 LAKE RD                                                                          OTISVILLE           MI 48463‐9770
MARY HANSBROUGH                      2 GRIGGS CT                                                                            DANVILLE             IL 61832‐4122
MARY HANSEN                          2175 N STATE HIGHWAY 360 APT 113                                                       GRAND PRAIRIE       TX 75050‐1041
MARY HANSEN                          114 DELONEY AVE SW                                                                     GRAND RAPIDS        MI 49504‐6211
MARY HANSON                          703 CLAYTON AVE                                                                        LEHIGH ACRES        FL 33972‐7606
MARY HANSON                          702 E 12 MILE RD                                                                       ROYAL OAK           MI 48073‐4229
MARY HARBERT                         378 FOUR SEASONS DR                                                                    LAKE ORION          MI 48360‐2649
MARY HARDENBURGH                     3125 HARBOR CT                                                                         WATERFORD           MI 48328‐2594
MARY HARDIGREE                       2150 MALCOM BRIDGE RD                                                                  BOGART              GA 30622‐2333
MARY HARDIN                          3350 GRANDVIEW DR                                                                      MONROE              MI 48162‐4420
MARY HARDING                         3325 WINDHAM DR                                                                        GREENWOOD           IN 46143‐8357
MARY HARDING                         109 FOREST VIEW DR                                                                     WINSTON SALEM       NC 27104‐3639
MARY HARDMEIER ON BEHALF OF ROBERT   C/O LAW OFFICES OF MICHAEL R BILBREY   8724 PIN OAK ROAD                               EDWARDSVILLE         IL 62025
HARDMEIER                            PC
MARY HARDY                           7233 LAMSON RD                                                                         OAKWOOD VILLAGE    OH   44146‐5804
MARY HARDY                           9611 E 33RD ST S                                                                       INDEPENDENCE       MO   64052‐1008
MARY HARHAY                          20030 SPEIDEL AVE                                                                      FAIRVIEW PARK      OH   44126‐3415
MARY HARKELRODE                      4592 PALMYRA RD SW                                                                     WARREN             OH   44481‐9710
MARY HARKLESS                        7298 BROOKWOOD DR APT 208                                                              BROOKFIELD         OH   44403‐9707
MARY HARLESS                         3078 W 1100 S                                                                          PENDLETON          IN   46064‐9406
MARY HARMON                          4330 ONONDAGA BLVD                     ROOM 44                                         SYRACUSE           NY   13219
MARY HARMON                          604 S 27TH ST                                                                          SAGINAW            MI   48601‐6538
MARY HARMON                          3729 BRIGHTON DR                                                                       LANSING            MI   48911‐2124
MARY HARMON                          4475 S KANITA CV                                                                       MEMPHIS            TN   38125‐3333
MARY HARMON                          3147 BRETTON ST NW APT D                                                               NORTH CANTON       OH   44720‐8377
MARY HARMOR                          75 LANDAU DR                                                                           ROCHESTER          NY   14606‐5823
MARY HARMS                           8120 S 950 E                                                                           UPLAND             IN   46989‐9723
MARY HARNER                          1887 HILLTOP RD                                                                        XENIA              OH   45385‐8572
MARY HARNESS                         3448 CREEKSIDE BLVD                                                                    BURTON             MI   48519‐2821
MARY HARNISH                         2707 N CONWAY AVE UNIT 600                                                             MISSION            TX   78574‐2139
MARY HARPER                          105 S GRANDE AVE                                                                       MUNCIE             IN   47303‐5503
MARY HARPER                          1116 HIGHWAY 3048                                                                      RAYVILLE           LA   71269‐4042
MARY HARPER                          3601 MAYFAIR ST                                                                        DEARBORN           MI   48124‐3825
MARY HARPER                          744 JOHNSON PLANK RD NE                                                                WARREN             OH   44481‐9326
MARY HARPER                          6175 S MISSION RD                                                                      MOUNT PLEASANT     MI   48858
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Name               Address1                         Address2           Address3        Address4         City              State Zip
MARY HARPER        4721 CARITA WOODS WAY                                                                LEXINGTON          KY 40515‐6266
MARY HARPER        6110 NATURES CV                                                                      GRAND BLANC        MI 48439‐9444
MARY HARRELL       7153 S ARLINGTON AVE                                                                 INDIANAPOLIS       IN 46237‐9723
MARY HARRIGAN      87 SHERBROOK ST                                                                      BRISTOL            CT 06010‐7251
MARY HARRINGTON    APT A                            1304 WINESAP WAY                                    ANDERSON           IN 46013‐5551
MARY HARRIS        701 SUMMIT AVE APT 59                                                                NILES              OH 44446‐3653
MARY HARRIS        PO BOX 311211                                                                        ATLANTA            GA 31131‐1211
MARY HARRIS        800 BURROUGHS AVE                                                                    MUSCLE SHOALS      AL 35661‐1804
MARY HARRIS        14454 ZIEGLER ST                                                                     TAYLOR             MI 48180‐5323
MARY HARRIS        904 SE 8TH ST                                                                        MOORE              OK 73160‐7209
MARY HARRIS        115 W CHICAGO AVE                                                                    PONTIAC            MI 48340‐1134
MARY HARRIS        1038 HOMEWOOD AVE SE                                                                 WARREN             OH 44484‐4909
MARY HARRIS        PO BOX 63                                                                            WAYLAND            OH 44285‐0063
MARY HARRIS        309 CORNWALL AVE                                                                     BUFFALO            NY 14215‐3101
MARY HARRIS        48856 OAK ARBOR CT                                                                   SHELBY TOWNSHIP    MI 48317‐2534
MARY HARRIS        10605 E 98TH TER APT 2A                                                              KANSAS CITY        MO 64134‐2409
MARY HARRIS        1419 W 26TH ST                                                                       INDIANAPOLIS       IN 46208‐5221
MARY HARRISON      557 JAMES RD                                                                         LAWRENCEVILLE      GA 30044‐3403
MARY HARRISON      61 RUNNY MEADE EST                                                                   O FALLON           MO 63366
MARY HARRISON      5334 TIMBERWOOD POINT DR                                                             FLINT              MI 48532‐2266
MARY HARRISON      6724 LAMBERT ST                                                                      INDIANAPOLIS       IN 46241‐2950
MARY HARRISON      411 CARRICK DR                                                                       DAYTON             OH 45458‐4183
MARY HARRISON      9015 SW 104TH LN                                                                     OCALA              FL 34481‐9420
MARY HARRISON      4424 MICHAELS DR                                                                     FRANKLIN           OH 45005‐1930
MARY HARROLD       6239 NORTHEAST LAKESHORE DRIVE                                                       MACY               IN 46951‐8556
MARY HARROLD       15473 N 200 E                                                                        SUMMITVILLE        IN 46070‐9641
MARY HARROUN       3472 ARDRETH DR                                                                      WATERFORD          MI 48329‐3202
MARY HARRY         7800 S COUNTY ROAD 400 W                                                             MUNCIE             IN 47302‐8104
MARY HART          11 RAMBLER ST                                                                        BRISTOL            CT 06010‐3210
MARY HART          17600 FLORA ST                                                                       MELVINDALE         MI 48122‐2315
MARY HART          PO BOX 158                                                                           SAINT CHARLES      MI 48655‐0158
MARY HARTMAN       3100 WILDWOOD DR                                                                     SAGINAW            MI 48603‐1637
MARY HARTMAN       34117 W 263RD ST                                                                     PAOLA              KS 66071‐4223
MARY HARTNETT      431 DAVISON ST                                                                       JOLIET              IL 60433‐2151
MARY HARTWICK      5549 BRADEN RD                                                                       BYRON              MI 48418‐8818
MARY HARVEY        616 E SEMINARY ST                                                                    DANVILLE            IL 61832‐4825
MARY HARVEY        3951 MIDDLEHURST LN                                                                  DAYTON             OH 45406‐3437
MARY HARVEY        33764 LYNDON ST                                                                      LIVONIA            MI 48154‐5441
MARY HARVEY        633 S 10TH ST                                                                        SAGINAW            MI 48601‐1904
MARY HARVEY        6B RIDGE CT                                                                          LEBANON            OH 45036‐1346
MARY HARVILLE      8099 COUNTY ROAD 236                                                                 TOWN CREEK         AL 35672‐6920
MARY HARWELL       7562 HOWARD DEAN LN                                                                  PENSACOLA          FL 32526‐8832
MARY HASKINS       21 HIGH ST NE PLUMWOOD                                                               LONDON             OH 43140
MARY HASSELBRING   13997 S SANFORD RD                                                                   MILAN              MI 48150‐9777
MARY HASSFURDER    2720 GLADIOLA LN                                                                     MADISON            IN 47250‐4004
MARY HASTEDT       2045 W GRAND BLANC RD                                                                GRAND BLANC        MI 48439‐9312
MARY HASTINGS      639 LAKE DEXTER CIR                                                                  WINTER HAVEN       FL 33884‐2213
MARY HASTINGS      9059 TESSARRI DR                                                                     JEROME             MI 49249‐9641
MARY HATHORN       2121 CORNELL AVE                                                                     JANESVILLE         WI 53545‐2001
MARY HATMAKER      572 PEARMAN RD                                                                       CUMBERLAND GAP     TN 37724‐4214
MARY HATOSKY       1447 DEN JEAN DR NE                                                                  WARREN             OH 44483‐4311
MARY HATTALA       317 LANSDOWNE RD                                                                     SYRACUSE           NY 13214‐2128
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Name                Address1                           Address2            Address3     Address4         City             State Zip
MARY HATTON         1842 BUCHANAN ST                                                                     SANDUSKY          OH 44870‐4563
MARY HAUGABOOK      14610 PREST ST                                                                       DETROIT           MI 48227‐2246
MARY HAUN           5425 CHERRYCROFT LANE                                                                OLCOTT            NY 14126
MARY HAUN           3202 GERRARD AVE                                                                     INDIANAPOLIS      IN 46224‐2362
MARY HAUSER         5903 HILL RD                                                                         BERLIN HEIGHTS    OH 44814‐9460
MARY HAWES          981 CAMPBELL LANE                  ROOM 127                                          BOWLING GREEN     KY 42104
MARY HAWES          17290 S RAUCHOLZ RD                                                                  OAKLEY            MI 48649‐9746
MARY HAWK           9077 COOLEY RD                                                                       RAVENNA           OH 44266‐9762
MARY HAWKINS        13194 WOERNER RD                                                                     MANITOU BEACH     MI 49253‐9789
MARY HAWKINS        3317 GROVE LN                                                                        AUBURN HILLS      MI 48326‐3979
MARY HAWKINS        4012 CASTLE LN N                                                                     LAKE ISABELLA     MI 48893‐9368
MARY HAWKINS‐LOVE   2962 BABY RUTH LN UNIT 4                                                             ANTIOCH           TN 37013‐2382
MARY HAWN           185 W CHERRY ST                                                                      CAYUGA            IN 47928‐8017
MARY HAWTHORNE      1120 WASHINGTON BLVD                                                                 KANSAS CITY       KS 66102‐2964
MARY HAY            PO BOX 413                                                                           PLAIN CITY        OH 43064‐0413
MARY HAYDEN         418 W MAIN ST                                                                        DURAND            MI 48429‐1532
MARY HAYDEN         4501 N WHEELING AVE                BLDG 11A UNIT 102                                 MUNCIE            IN 47304
MARY HAYES          1540 WITTMER RD                                                                      MANSFIELD         OH 44903‐9431
MARY HAYES          38 VAN GORDER ST                                                                     BUFFALO           NY 14214‐2818
MARY HAYES          2493 ERIE CHURCH RD                                                                  BEDFORD           IN 47421‐7608
MARY HAYES          625 ANDERSON ST                                                                      GREENCASTLE       IN 46135‐1833
MARY HAYES          2015 TARAMACK RD                                                                     ANDERSON          IN 46011
MARY HAYGOOD        1278 E 90TH ST                                                                       CLEVELAND         OH 44108‐3315
MARY HAYMAKER       7647 W ROAD 350 N                                                                    BARGERSVILLE      IN 46106‐9339
MARY HAYNES         225 ELIZABETH LAKE RD                                                                PONTIAC           MI 48341‐1012
MARY HAYNES         19207 MONTROSE ST                                                                    DETROIT           MI 48235‐2310
MARY HAYNES         3700 TAHOE DR                                                                        WARREN            MI 48091‐3923
MARY HAYOSH         22511 VAN ST                                                                         ST CLAIR SHRS     MI 48081‐3901
MARY HAYS           8025 ST. RT. #7                                                                      ROGERS            OH 44455
MARY HAYS           267 RUE ORLEANS                                                                      BONNE TERRE       MO 63628‐9233
MARY HAYWOOD        73 ANDOVER AVE                                                                       BUFFALO           NY 14215‐2709
MARY HAZELBAKER     127 JOHNSON HOLLOW RD                                                                FAYETTE CITY      PA 15438‐1049
MARY HAZLETT        4343 QUEEN AVE                                                                       FRANKLIN          OH 45005‐1147
MARY HAZZARD        2219 N CAROLINA ST                                                                   SAGINAW           MI 48602‐3870
MARY HEAD           7260 HARVARD AVE                                                                     MOUNT MORRIS      MI 48458‐2143
MARY HEADLEY        1414 S BRITTON ST                                                                    MARION            IN 46953‐1708
MARY HEADRICK       4399 SAINT MARTINS DR                                                                FLINT             MI 48507‐3728
MARY HEALEY         708 OAKLAND AVE                                                                      BIRMINGHAM        MI 48009‐5755
MARY HEAPS          1545 BERKLEY ST SW                                                                   DECATUR           AL 35603‐3176
MARY HEARL          5454 RUSHMORE PASS                                                                   GRAND BLANC       MI 48439‐9148
MARY HEARN          2228 CHIPPEWA ST                                                                     FLINT             MI 48505‐4330
MARY HEARNTON       1407 DICKEY ST                                                                       CORINTH           MS 38834‐6226
MARY HEATER         1140 SHARE AVE                                                                       YPSILANTI         MI 48198‐6489
MARY HEATH          1366 N MERLIN TER                                                                    CRYSTAL RIVER     FL 34429‐5727
MARY HEATH          10782 PIONEER RD                                                                     EAGLE             MI 48822‐9795
MARY HEATON         90 E LAKE DR                                                                         BRASELTON         GA 30517
MARY HEBERT         38 VAN DUYN DR                                                                       EWING             NJ 08618‐1018
MARY HECKE          11014 KAW DR                                                                         EDWARDSVILLE      KS 66111‐1166
MARY HEDGES         1098 NE INDEPENDENCE AVE APT 204                                                     LEES SUMMIT       MO 64086‐5898
MARY HEFFLER        1711 HIGHWAY 17 S UNIT 831                                                           SURFSIDE BEACH    SC 29575‐4445
MARY HEFFNER        715 RIVERSIDE DR                                                                     LINDEN            MI 48451‐8957
MARY HEGEDUS        427 WASHINGTON AVE                                                                   LINDEN            NJ 07036‐2863
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Name                Address1                           Address2                  Address3   Address4         City               State Zip
MARY HEIDE          8800 MACOMB ST APT 213                                                                   GROSSE ILE          MI 48138‐1985
MARY HEIMAN         3016 WYNDHAM DR                                                                          FLUSHING            MI 48433‐3700
MARY HEIMERICKS     9532 MARGO ANN LN                                                                        SAINT LOUIS         MO 63134‐3943
MARY HELDMAN        5200 SUMMERFIELD XING                                                                    GREENWOOD           IN 46143‐7942
MARY HELE GUZMAN    635 KENILWORTH AVE                                                                       PONTIAC             MI 48340‐3237
MARY HELEN GARCIA   20731 PARK PINE DR                                                                       KATY                TX 77450‐2811
MARY HELLEMS        1742 CLASSEN BLVD APT 1                                                                  NORMAN              OK 73071‐4683
MARY HELLENTHAL     55350 BROUGHTON RD                                                                       MOUNT CLEMENS       MI 48044
MARY HELMBERGER     11583 E STATE ROAD 28                                                                    FRANKFORT           IN 46041‐8921
MARY HELMREICH      1525 M‐15 1                                                                              MUNGER              MI 48747
MARY HELTERBRAND    305 CLARK ST APT 4                                                                       RICHMOND            MO 64085‐1962
MARY HELTON         21015 KATHY LN                                                                           SPICEWOOD           TX 78669‐6796
MARY HELTON         5011 BALDWIN HILLS DR                                                                    ENGLEWOOD           OH 45322‐3511
MARY HELTSLEY       562 E TENNYSON AVE                                                                       PONTIAC             MI 48340‐2954
MARY HELZER         715 JOYCEIL DR                                                                           WATERFORD           MI 48328‐2334
MARY HENAGAN        640 DIVISION ST                                                                          ADRIAN              MI 49221‐3339
MARY HENCYE         1471 BELVO ESTATES DR                                                                    MIAMISBURG          OH 45342‐3891
MARY HENDERSHOT     11031 GRANGE AVE                   C/O PATRICIA VANDERHYDE                               SPARTA              MI 49345‐9451
MARY HENDERSON      1320 LISCUM DR                                                                           DAYTON              OH 45418‐1978
MARY HENDERSON      3017 N CHEVROLET AVE                                                                     FLINT               MI 48504‐2601
MARY HENDERSON      2206 ANJOU CT                                                                            KOKOMO              IN 46902‐2901
MARY HENDERSON      1750 N 750 W                                                                             KOKOMO              IN 46901‐8512
MARY HENDERSON      PO BOX 5037                                                                              MONROE              LA 71211‐5037
MARY HENDERSON      PO BOX 761                                                                               FLINT               MI 48501‐0761
MARY HENDERSON      9345 SANER CT                                                                            SYLVANIA            OH 43560‐9206
MARY HENDERSON      1175 CABOT DR                                                                            FLINT               MI 48532‐2635
MARY HENDERSON      6226 VANCE AVE                                                                           FORT WAYNE          IN 46815‐6262
MARY HENDERSON      180 S COLONY DR APT 504                                                                  SAGINAW             MI 48638‐6058
MARY HENDON         84 CANDLELITE LN                                                                         PONTIAC             MI 48340‐1604
MARY HENDRICH       680 JONETTE AVE                                                                          BRADLEY              IL 60915‐1122
MARY HENDRICK       65 N TRENTON ST                                                                          DAYTON              OH 45417‐1724
MARY HENDRICKS      4953 N GRANDVIEW DR                                                                      MILTON              WI 53563‐8854
MARY HENDRIX        391 PARKS RD                                                                             ZEBULON             GA 30295‐3219
MARY HENIGE         21769 HAMPSTEAD ST                                                                       BEVERLY HILLS       MI 48025‐3652
MARY HENNIG         PO BOX 624                                                                               BELLAIRE            MI 49615‐0624
MARY HENNING        450 S NICOLET                      #231                                                  MACKINAW CITY       MI 49701
MARY HENNING        716 BALLENTINE RD                                                                        MENOMONIE           WI 54751‐3701
MARY HENNINGER      PO BOX 501                         6192 BAER RD                                          SANBORN             NY 14132‐0501
MARY HENRY          1621 EXETER CT                                                                           OKLAHOMA CITY       OK 73159‐7613
MARY HENRY          3550 GRACELAND AVE                                                                       INDIANAPOLIS        IN 46208‐4411
MARY HENRY          9 FOX ST                                                                                 BERKELEY SPRINGS    WV 25411‐5375
MARY HENRY          2003 ROLLINGSTONE DR                                                                     KOKOMO              IN 46902‐5868
MARY HENRY          14516 DOHONEY RD RR 8                                                                    DEFIANCE            OH 43512
MARY HENRY          1008 E GANO ST                                                                           KOKOMO              IN 46901‐1634
MARY HENRY          222 DOROTHY STREET                                                                       SIKESTON            MO 63801‐2804
MARY HENRY          616 COLERIDGE AVE                                                                        TROTWOOD            OH 45426‐2534
MARY HENSLEY        124 BRADFORD LN                                                                          WHITEVILLE          NC 28472‐9624
MARY HENSLEY        100 LIMERICK CIR                                                                         SUMMERVILLE         SC 29483‐5279
MARY HENSLEY        PO BOX 930598                                                                            WIXOM               MI 48393‐0598
MARY HENSLEY        G‐4237 W COURT ST APT 53                                                                 FLINT               MI 48532
MARY HENSON         3836 BENNETT RD                                                                          CINCINNATI          OH 45245‐2712
MARY HENSON         409 COON CLUB LN                                                                         DYERSBURG           TN 38024‐6899
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Name                Address1                      Address2                   Address3          Address4         City               State Zip
MARY HERBERT        1948 LINCOLN PL               C/O NORA LAIBOWITZ                                            OSSINING            NY 10562‐5233
MARY HERBLET        12640 HOLLY RD APT A103                                                                     GRAND BLANC         MI 48439‐1854
MARY HERBSTREIT     4114 EAGLE COVE WEST DR                                                                     INDIANAPOLIS        IN 46254‐3239
MARY HERDER         315 AUGLAIZE ST                                                                             DEFIANCE            OH 43512‐2202
MARY HERDIECH       15116 ASTER AVE                                                                             ALLEN PARK          MI 48101‐1613
MARY HERGENREDER    6415 PERRY RD                                                                               GRAND BLANC         MI 48439‐9702
MARY HERLEMAN       2416 GOLDEN RAIN RD 7‐E16                                                                   WALNUT CREEK        CA 94595
MARY HERMAN         PO BOX 16                                                                                   KINSMAN             OH 44428‐0016
MARY HERMAN         6450 WOODVILLE DR                                                                           DAYTON              OH 45414‐2850
MARY HERNANDEZ      1218 SOUTH PARK                                                                             SAGINAW             MI 48601
MARY HERRICK        342 LOCH TAY DR                                                                             MOUNT MORRIS        MI 48458‐8876
MARY HERRINGTON     3485 N COUNTY LINE RD E                                                                     GOSPORT             IN 47433‐7847
MARY HESGARD        3325 MONZA DR                                                                               SEBRING             FL 33872‐2014
MARY HETCHLER       10052 HOGAN RD                                                                              SWARTZ CREEK        MI 48473‐9119
MARY HETZ           1701 1 MILE RD                                                                              FULTON              MI 49052‐9612
MARY HETZEL         6053 BIG ROCK DR                                                                            GRAND BLANC         MI 48439‐7993
MARY HEUGH          229 BELVEDERE AVE APT 7                                                                     CHARLEVOIX          MI 49720‐1445
MARY HEUSSNER       W8844 LAKE LORRAINE RD                                                                      DELAVAN             WI 53115‐2500
MARY HEWITT         11635 S 700 W 35                                                                            MARION              IN 46952‐9505
MARY HEYDEN         4775 VILLAGE DR APT 226                                                                     GRAND LEDGE         MI 48837‐8121
MARY HIBBITTS       APT 110                       14800 KING ROAD                                               RIVERVIEW           MI 48193‐7953
MARY HICHMAN        20848 WHITLOCK DR                                                                           DEARBORN HEIGHTS    MI 48127‐2671
MARY HICK           3393 MCKELVEY RD APT 132                                                                    BRIDGETON           MO 63044‐2543
MARY HICKEY         37 BARRISTER LN                                                                             MANALAPAN           NJ 07726
MARY HICKS          20506 ROSELAWN ST                                                                           DETROIT             MI 48221‐1194
MARY HICKS          1144 N WASHINGTON ST                                                                        MARION              IN 46952‐2202
MARY HICKS          197 WASHINGTON AVE                                                                          CAMDEN              TN 38320‐1129
MARY HICKS          2429 DERBY DRIVE                                                                            SHELBYVILLE         IN 46176‐8869
MARY HICKS          1527 S H ST                                                                                 ELWOOD              IN 46036‐2310
MARY HICKS          3480 BREEZE KNOLL DR                                                                        YOUNGSTOWN          OH 44505‐1976
MARY HICKS          1914 N WAUGH ST                                                                             KOKOMO              IN 46901‐2402
MARY HICKS          851 UNIVERSITY DR                                                                           PONTIAC             MI 48342‐1763
MARY HICKS          APT 13H                       400 2ND AVENUE                                                NEW YORK            NY 10010‐4016
MARY HICKS          1412 KILLIAN DR                                                                             BEECH GROVE         IN 46107‐2547
MARY HICKS          129 GODFROY                                                                                 SOMERSET            IN 46984
MARY HICKS‐TIBBS    876 BOUTELL DR                                                                              GRAND BLANC         MI 48439‐1943
MARY HIGGINBOTHAM   3072 QUAYSIDE CT              APT 107                                                       MELBOURNE           FL 32935
MARY HIGGINS        1235 ANGIERS DR                                                                             DAYTON              OH 45408‐2410
MARY HIGGS          4710 COTTAGE RD                                                                             GASPORT             NY 14067‐9267
MARY HIGGS          NIX PATTERSON & ROACH LLP     GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD        TX 75638
MARY HIGHERS        2922 E 8TH ST                                                                               ANDERSON            IN 46012‐4552
MARY HIGLEY         17827 ROBUSTA DR                                                                            RIVERSIDE           CA 92503‐7073
MARY HILAS          3093 MEADOW LN NE                                                                           WARREN              OH 44483‐2631
MARY HILBERT        1304 AVENUE L                                                                               KENTWOOD            LA 70444
MARY HILDEBRAND     300 DEHOFF DR                                                                               YOUNGSTOWN          OH 44515‐3911
MARY HILDENBRAND    529 EVAN AVE                                                                                ANDERSON            IN 46016‐5098
MARY HILGERS        2434 S MURRAY RD                                                                            JANESVILLE          WI 53548‐9197
MARY HILL           2163 ROCK MOUNTAIN LAKE DR    C/O ANDREA L HORTON                                           MC CALLA            AL 35111‐3760
MARY HILL           2511 ERIC CT                                                                                ANDERSON            IN 46012‐4475
MARY HILL           3991 N COOPER LAKE RD SE                                                                    SMYRNA              GA 30082‐3325
MARY HILL           5947 TOWERLINE RD                                                                           OSCODA              MI 48750‐9270
MARY HILL           836 KAY ST                                                                                  DAVISON             MI 48423‐1064
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Name             Address1                        Address2              Address3       Address4         City                State Zip
MARY HILL        10 CYCLAMEN CT W                                                                      HOMOSASSA            FL 34445‐5214
MARY HILL        4072 HESSEN CASSEL RD                                                                 FORT WAYNE           IN 46806‐4593
MARY HILL        PO BOX 8                                                                              SUNRISE BEACH        MO 65079‐0008
MARY HILL        108 OAKMONT DR                                                                        FRANKLIN             TN 37069‐7008
MARY HILL        4124 GLADMAN AVE                                                                      GROVE CITY           OH 43123‐3303
MARY HILL        5294 S PINE ST                                                                        BEAVERTON            MI 48612‐8580
MARY HILL        723 VENUS DR                                                                          COCOA                FL 32926‐5336
MARY HILL        417 SENECA PL                                                                         CADILLAC             MI 49601‐9230
MARY HILL        512 SUNSET DR                                                                         MALVERN              AR 72104‐5046
MARY HILLERY     3554 SHERBROOKE WAY SW                                                                ATLANTA              GA 30331‐5408
MARY HILLIGOSS   846 BRIARWOOD DR                                                                      ANDERSON             IN 46012‐9803
MARY HILLMAN     485 BANCROFT ST                                                                       IMLAY CITY           MI 48444‐1105
MARY HILLMAN     74 ROGERS AVE                                                                         LOCKPORT             NY 14094‐2550
MARY HIMES       717 HULL ST                                                                           SHARON               PA 16146‐3302
MARY HINCHLEY    207 WHITNEYS WAY #3C                                                                  EDGERTON             WI 53534
MARY HINES       3127 BEGOLE ST                                                                        FLINT                MI 48504‐2984
MARY HINES       4632 SAINT ANTOINE ST                                                                 DETROIT              MI 48201‐1920
MARY HINES       37 HINES RD                                                                           MANGHAM              LA 71259‐5266
MARY HINKLE      1310 E CENTERVILLE STATION RD                                                         CENTERVILLE          OH 45459‐5527
MARY HINMAN      406 MURPHY LN                                                                         BROWNSBURG           IN 46112‐1129
MARY HINTON      3417 BURCHFIELD DR                                                                    LANSING              MI 48910‐4401
MARY HINTON      PO BOX 2163                                                                           DETROIT              MI 48202‐0163
MARY HIRT        1329 HOLLYWOOD ST NE                                                                  GRAND RAPIDS         MI 49505‐3841
MARY HITCHINGS   616 BRADFIELD DR                                                                      DAYTON               OH 45426‐2502
MARY HITT        5302 W DODGE RD                                                                       CLIO                 MI 48420‐8535
MARY HITTE       7239 BROOKSTONE DR                                                                    FRANKLIN             OH 45005‐2968
MARY HITTSON     3113 S PHILLIP DR                                                                     MUNCIE               IN 47302‐3953
MARY HLAVIN      53 BRAEMAR DR                                                                         ELK GROVE VILLAGE     IL 60007‐3915
MARY HNAT        409 E OXFORD ST                                                                       NEWBERG              OR 97132‐1074
MARY HNATIW      2330 W HENRIETTA RD                                                                   ROCHESTER            NY 14623‐1343
MARY HOAGLAND    603 KARNS DR DTR                                                                      VANDALIA             OH 45377
MARY HOBBS       18444 ALBION ST                                                                       DETROIT              MI 48234‐3804
MARY HOBSON      120 HOBSON CIR                                                                        BRANDON              MS 39047‐9211
MARY HODGE       11480B OLD HIGHWAY 80 W                                                               MERIDIAN             MS 39307‐9535
MARY HODGES      1505 DURAND ST                                                                        FLINT                MI 48503‐3517
MARY HODGES      1806 W RUNDLE AVE                                                                     LANSING              MI 48910‐8734
MARY HODGES      4096 W COLDWATER RD                                                                   FLINT                MI 48504‐1102
MARY HODGES      344 S YORK RD APT 2B                                                                  BENSENVILLE           IL 60106‐2670
MARY HODGSON     104 DOGTOWN CT                                                                        NAUVOO               AL 35578‐3229
MARY HODSON      12064 W 00 N S                                                                        RUSSIAVILLE          IN 46979
MARY HODSON      5926 S 475 E                                                                          MARKLEVILLE          IN 46056‐9724
MARY HOFF        8920 ACORNE AVE                                                                       MILAN                MI 48160‐9750
MARY HOFFMAN     4480 SMITHVILLE RD                                                                    EATON RAPIDS         MI 48827‐9740
MARY HOFFMANN    LOT 431                         10420 US HIGHWAY 31                                   TANNER               AL 35671‐3555
MARY HOFFMANN    2615 GOOSE CREEK BYP                                                                  FRANKLIN             TN 37064‐1203
MARY HOGAN       403 WOODSIDE LN                                                                       BAY CITY             MI 48708‐5550
MARY HOGAN       4785 W SCHOOL RD                                                                      ROSCOMMON            MI 48653‐9216
MARY HOGANSON    4675 CULVER RD                                                                        BRIGHTON             MI 48114‐6012
MARY HOGG        43 BARBARA ST                                                                         MOUNT CLEMENS        MI 48043‐2466
MARY HOHN        2197 HAYWARD ST                                                                       CLIO                 MI 48420‐1815
MARY HOLBROOK    282 NEW HOPE RD                                                                       LAWRENCEVILLE        GA 30045‐5893
MARY HOLCOLM     4026 PARK FOREST DR                                                                   FLINT                MI 48507‐2259
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Name                    Address1                          Address2                       Address3   Address4         City             State Zip
MARY HOLDINSKI          24146 ROSEWOOD AVE                                                                           TAYLOR            MI 48180
MARY HOLICKI            36 BLAIR HIGHLAND TRAILE                                                                     MOUNT MORRIS      MI 48458
MARY HOLIDAY            515 SW SALINE ST                                                                             TOPEKA            KS 66606‐1921
MARY HOLIFIELD          2552 W BRITTON RD                                                                            PERRY             MI 48872‐9603
MARY HOLLAND            605 GALBARTH                                                                                 HENDERSON         TN 38340
MARY HOLLAND            1177 CARMAN ST                                                                               BURTON            MI 48529‐1117
MARY HOLLAND            479 E PACES FERRY RD NE APT 304                                                              ATLANTA           GA 30305‐3308
MARY HOLLEY             7706 S ROYSTON RD                                                                            EATON RAPIDS      MI 48827‐8597
MARY HOLLIDAY           396 WOODLAKE DR                                                                              BRIGHTON          MI 48116‐2061
MARY HOLLIDAY           14685 ROSELAWN ST                                                                            DETROIT           MI 48238‐1893
MARY HOLLIDAY           1215 BERCLAIR RD                                                                             MEMPHIS           TN 38122‐1732
MARY HOLLIE             3715 GIDDINGS AVE SE                                                                         GRAND RAPIDS      MI 49508‐5534
MARY HOLLIS             329 S 28TH ST                                                                                SAGINAW           MI 48601‐6343
MARY HOLLOWAY           294 N FRONT AVE                   P.O.BOX 296                                                PIGGOTT           AR 72454‐2030
MARY HOLLOWAY‐STANLEY   142 GOULDING AVE                                                                             BUFFALO           NY 14208‐1606
MARY HOLMAN             805 TROPHYWAY HUNTER RUN                                                                     BEAR              DE 19701
MARY HOLMES             29 ENTER TURN                                                                                WILLINGBORO       NJ 08046‐2333
MARY HOLMES             9556 OAKLAND ST                                                                              DETROIT           MI 48211‐1040
MARY HOLMES             17 GABLEWING CIR                                                                             NEWTOWN           PA 18940‐3316
MARY HOLMES             4750 ROCKWELL PLACE DR                                                                       TOBACCOVILLE      NC 27050‐9594
MARY HOLMES             1917 SUNNY RIDGE RD S                                                                        DAYTON            OH 45414‐2334
MARY HOLMES             15069 WHITCOMB ST                                                                            DETROIT           MI 48227‐2607
MARY HOLMES             3603 ALBERMARLE RD                                                                           JACKSON           MS 39213‐5552
MARY HOLMES             189 HENDERSON ST                                                                             COLUMBIA          LA 71418‐3505
MARY HOLSWORTH          PO BOX 452                                                                                   VESTABURG         MI 48891‐0452
MARY HOLT               14603 GRIGGS ST                                                                              DETROIT           MI 48238‐1665
MARY HOLT               225 N LAKEVIEW AVE                                                                           STURGIS           MI 49091‐1198
MARY HOLT               3102 SHORT WAY                    RIVERVIEW REHABILITATION AND                               DUNDELAK          MD 21222
                                                          HEALTH CENTER
MARY HOMAN              1005 E LINDEN AVE                                                                            MIAMISBURG       OH   45342‐3463
MARY HONES‐BURR         950 LONG LAKE DR                                                                             BRIGHTON         MI   48114‐7605
MARY HONINGS TTEE       MARY HONINGS REV TRUST            1243 BEACH PARK BLVD                                       FOSTER CITY      CA   94404
MARY HOOD               PO BOX 141                                                                                   MCLOUD           OK   74851‐0141
MARY HOOK               1203 N BOSART AVE                                                                            INDIANAPOLIS     IN   46201‐2815
MARY HOOK               6031 MERWIN CHASE RD                                                                         BROOKFIELD       OH   44403‐9781
MARY HOOK               BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS.      OH   44236
MARY HOOLE              2518 PAVICH DR                                                                               COUNCIL BLUFFS   IA   51501‐7576
MARY HOOPAUGH           336 GREENWOOD DR NW                                                                          LILBURN          GA   30047‐5934
MARY HOOPER             16190 SUNSET WAY                                                                             LINDEN           MI   48451‐9704
MARY HOOVER             9379 WOODSIDE TRL                                                                            SWARTZ CREEK     MI   48473‐8534
MARY HOOVER             26 WESTWOOD DR                                                                               NEW LONDON       OH   44851‐1011
MARY HOOVER             18122 FM 471 S                                                                               NATALIA          TX   78059‐5516
MARY HOOVER             617 COUNTY ROAD 901                                                                          MIDWAY           AR   72651‐9254
MARY HOOVER             8970 CHURCH ST BOX 4                                                                         TUSCOLA          MI   48769
MARY HOOVER             10191 JUDD RD                                                                                WILLIS           MI   48191‐9748
MARY HOPKINS            11461 N MERIDIAN RD                                                                          MERRILL          MI   48637‐9623
MARY HOPPER             9612 LOG CABIN TRL                                                                           WHITE LAKE       MI   48386‐3024
MARY HOPPER             915 COUNTY ROAD 1030                                                                         CULLMAN          AL   35057‐6215
MARY HOPPES             828 GREEN ST                                                                                 PORTLAND         MI   48875‐1309
MARY HORAN              4065 LOCKPORT RD                                                                             SANBORN          NY   14132‐9107
MARY HOREJS             105 BEACH ST                                                                                 JOLIET           IL   60436‐1701
MARY HORIGAN            2256 KENYA LN                                                                                PUNTA GORDA      FL   33983‐2673
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Name                     Address1                         Address2                     Address3   Address4         City              State Zip
MARY HORNADAY            10814 W STATE ROAD 42                                                                     STILESVILLE        IN 46180‐9687
MARY HORNBY              4102 OAK WOODS RD                                                                         HARRISON           MI 48625‐8406
MARY HORNING             3504 WHITE RIVER CT                                                                       ANDERSON           IN 46012‐4650
MARY HORNSBY             106 N PLEASANT ST                                                                         NORWALK            OH 44857‐1248
MARY HORR                2 HEALTH ST                                                                               DANSVILLE          NY 14437‐1308
MARY HORTON              4107 PARK FOREST DR                                                                       FLINT              MI 48507‐2270
MARY HORTON              3707 HUNT ST                                                                              DETROIT            MI 48207‐3234
MARY HORTON              BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH 44236
MARY HORVATH             5113 GLENIS ST                                                                            DEARBORN HTS       MI 48125‐1320
MARY HOSEY               2350 GRANITE TER                                                                          BELOIT             WI 53511‐6712
MARY HOSKINS             1729 FLORINE BLVD                                                                         SAINT CHARLES      MO 63303‐5451
MARY HOSKINS             5302 AMSDEN AVE                                                                           TOLEDO             OH 43613‐2633
MARY HOSMER              PO BOX 293                                                                                STERLING           MI 48659‐0293
MARY HOSNER              4 NIXON DR                                                                                DAVISON            MI 48423‐8539
MARY HOSTETLER           1925 HARDEN BLVD LOT 192                                                                  LAKELAND           FL 33803‐1849
MARY HOSTETLER           8499 EAST M71                    LOT 125                                                  DURAND             MI 48429
MARY HOTMINSKY           21 ARGONNE AVE                                                                            YARDVILLE          NJ 08620‐1601
MARY HOUF                36523 MAPLE LEAF DR                                                                       NEW BALTIMORE      MI 48047‐5580
MARY HOULIHAN            16058 MORNINGSIDE                                                                         NORTHVILLE         MI 48168‐6704
MARY HOUSE               1714 MICHIGAN AVE                                                                         SOUTH MILWAUKEE    WI 53172‐2311
MARY HOUSER              12011 BLOOM ST                                                                            DETROIT            MI 48212‐2876
MARY HOUSTON             1737 CAMDEN FORREST TRL                                                                   RIVERDALE          GA 30296‐2982
MARY HOUSTON             PO BOX 377                                                                                SHADY SPRING       WV 25918‐0377
MARY HOVANEC             16140 MUSKINGUM BLVD                                                                      BROOK PARK         OH 44142‐2238
MARY HOVEN               103 WEST BURKE ST                2ND FLOOR                                                EASTON             PA 18042
MARY HOVERMALE           PO BOX 256                                                                                CONVERSE           IN 46919‐0256
MARY HOWARD              12670 138TH LN                                                                            LARGO              FL 33774‐2405
MARY HOWARD              935 ROSEWOOD DR                                                                           GALION             OH 44833‐2332
MARY HOWARD              907 DAVISON AVE                                                                           MUSCLE SHOALS      AL 35661‐2321
MARY HOWARD              600 MAIN ST APT 122                                                                       ANDERSON           IN 46016‐1534
MARY HOWARD              6132 COLUMBIA ST                                                                          HASLETT            MI 48840‐8267
MARY HOWARD              5402 GLENN AVE                                                                            FLINT              MI 48505‐5148
MARY HOWARD              210 12TH ST SE                                                                            NORTON             VA 24273‐2840
MARY HOWARD              1542 HIAWATHA DR                 DRIVE                                                    OWOSSO             MI 48867‐1460
MARY HOWARD              240 SOUTH BENTON STREET                                                                   CPE GIRARDEAU      MO 63703‐6150
MARY HOWARD              303 S HIGH ST                                                                             ARCANUM            OH 45304‐1211
MARY HOWE                113 FLORENCE STREET                                                                       COLUMBUS           MS 39702‐5415
MARY HOWELL              6 ECHLES DRIVE NORTHEAST                                                                  ROME               GA 30161‐8657
MARY HOWELL              240 WHITE ACRES DR                                                                        STOCKBRIDGE        GA 30281‐2261
MARY HOWELL              503B GRINDLE AVE                                                                          SELMA              AL 36703‐7714
MARY HOWELL              4200 HELENE ST                                                                            BOSSIER CITY       LA 71112‐4318
MARY HOWERTON            2013 PEARL ST                                                                             ANDERSON           IN 46016‐4450
MARY HOY                 2507 N ORANGEWOOD ST                                                                      AVON PARK          FL 33825‐8085
MARY HROMEK              10448 W LENNON RD                                                                         LENNON             MI 48449‐9312
MARY HRYWNAK             126 NORRAN DR                                                                             ROCHESTER          NY 14609‐2118
MARY HUBBARD‐TOMLINSON   3162 SHERBROOK DR                                                                         UNIONTOWN          OH 44685‐9704
MARY HUBBERT             2944 WELLAND DR                                                                           SAGINAW            MI 48601‐6941
MARY HUCKELBY            49 ROLLING HILLS DR                                                                       SOMERSET           KY 42503‐4663
MARY HUDDLESTON          PO BOX 5323                                                                               FLINT              MI 48505‐0323
MARY HUDDLESTON          5577 N COUNTY ROAD 850 W                                                                  MIDDLETOWN         IN 47356‐9726
MARY HUDECEK             6405 S GRAHAM RD                                                                          SAINT CHARLES      MI 48655‐9579
MARY HUDOCK              81 TALBOT DR                                                                              BEDFORD            OH 44146‐2815
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Name                    Address1                        Address2                       Address3   Address4         City               State Zip
MARY HUDSON             19 SPORTSMAN WAY                                                                           ROTONDA WEST        FL 33947‐1913
MARY HUDSON             6100 CARSTEN RD                                                                            MEDINA              OH 44256‐9197
MARY HUDSON             411 ANSLEY CT                                                                              INDIANAPOLIS        IN 46234‐2602
MARY HUDSON             APT A                           2012 MEADOWLAWN WAY                                        FAIRFIELD           OH 45014‐3186
MARY HUDSON             8639 LAKE ST BOX 94                                                                        LONG LAKE           MI 48743
MARY HUDSON             281 N COLONY DR APT 2B                                                                     SAGINAW             MI 48638‐7107
MARY HUELSKAMP          1369 HILLSIDE DR                                                                           GREENVILLE          OH 45331‐2728
MARY HUERTA             5555 S MASON AVE                                                                           CHICAGO              IL 60638‐2702
MARY HUFFMAN            3026 NORCOTT DRIVE                                                                         KEEGO HARBOR        MI 48320‐1065
MARY HUFFMAN            273 W INDIANA AVE                                                                          UPLAND              IN 46989‐9028
MARY HUFFMAN            305 EATON ROAD                                                                             ANDERSON            IN 46012‐3908
MARY HUFFORD            7017 WINTER FOREST DR                                                                      PORTAGE             MI 49024‐4240
MARY HUFFSTETLER        1024 BUTTERFLY COVE WAY                                                                    LOCUST GROVE        GA 30248‐6616
MARY HUGENSCHMIDT       3405 POHL RD                                                                               ALDEN               NY 14004‐8504
MARY HUGHES             1403 S TERRACE ST                                                                          JANESVILLE          WI 53546‐5540
MARY HUGHES             237 CLINTON ST                                                                             LOCKPORT            NY 14094‐2440
MARY HUGHES             2665 VALE DR                                                                               KETTERING           OH 45420‐3544
MARY HUGHES             PO BOX 214                                                                                 FRANKTON            IN 46044‐0214
MARY HUGHES             2314 FOXTAIL DR                                                                            PLAINFIELD          IN 46168‐4776
MARY HUGHES             612 LUTHER AVE                                                                             PONTIAC             MI 48341‐2531
MARY HUISKEN            1973 BERLIN FAIR DR                                                                        MARNE               MI 49435‐9780
MARY HUIZEN             3314 CALVIN CT SW                                                                          GRANDVILLE          MI 49418‐2468
MARY HULL               179 JOHN COX RD                                                                            GRAY                TN 37615‐4526
MARY HULLS              6317 PERRY TWP ROAD 88                                                                     BELLVILLE           OH 44813
MARY HUMATE             6501 S CASS AVE                                                                            WESTMONT             IL 60559‐3200
MARY HUMBLE‐ALUMBAUGH   3318 S CLAY AVE                                                                            SPRINGFIELD         MO 65807‐5081
MARY HUMPHREY           1796 S. M‐13                                                                               LENNON              MI 48449
MARY HUMPHREY           6919 RICHFIELD CT                                                                          FORT WAYNE          IN 46816‐4175
MARY HUMPHREY           3860 SUGAR PIKE ROAD                                                                       CANTON              GA 30115‐8461
MARY HUMPHREY           43 VICTORY DR                                                                              PONTIAC             MI 48342‐2562
MARY HUMPHRIES          GREEN TREE 2800 S DIXON RD      APT 109                                                    KOKOMO              IN 46902
MARY HUMPHRIES          1624 LUTHER LN                                                                             KISSIMMEE           FL 34746
MARY HUNT               553 WELBROOK RD                                                                            BALTIMORE           MD 21221‐3410
MARY HUNT               411 PINE KNOLL CT APT 1A                                                                   BATTLE CREEK        MI 49014‐7701
MARY HUNT               625 E WATER ST APT 3                                                                       PENDLETON           IN 46064‐9378
MARY HUNT               PO BOX 118                                                                                 KNIGHTSVILLE        IN 47857‐0118
MARY HUNT               PO BOX 110052                                                                              ATLANTA             GA 30311‐0952
MARY HUNT               APT B                           20 GALVESTON PLACE SOUTHWEST                               WASHINGTON          DC 20032‐2000

MARY HUNT               36030 SCHLEY ST                                                                            WESTLAND           MI   48186‐8309
MARY HUNT               30245 W 13 MILE RD APT 252                                                                 FARMINGTON HILLS   MI   48334‐2234
MARY HUNTER             15105 BLACKBERRY CRK                                                                       BURTON             MI   48519‐1922
MARY HUNTER             PO BOX 5153                                                                                FLINT              MI   48505‐0153
MARY HUNTER             1202 HURON ST                                                                              FLINT              MI   48507‐2328
MARY HUNTER             2301 SACRAMENTO ST                                                                         BERKELEY           CA   94702‐2127
MARY HUNTER             45 SW 1451ST RD                                                                            HOLDEN             MO   64040‐9438
MARY HUNTINGTON         2843 SW 174TH AVE                                                                          MIRAMAR            FL   33029‐5549
MARY HUNTLEY            2173 S CENTER RD APT 420                                                                   BURTON             MI   48519‐1806
MARY HURD               308 WESTWOOD CT                                                                            MADISON            MS   39110
MARY HURM               5712 BLUFF RD                                                                              INDIANAPOLIS       IN   46217‐3686
MARY HURST              108 ROSE LN                                                                                GREENWOOD          IN   46143‐2442
MARY HURT               1020 BETHEL RD                                                                             CHESAPEAKE CY      MD   21915‐1209
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Name               Address1                         Address2                    Address3                 Address4         City                 State Zip
MARY HUSTON        645 W NORTHFIELD AVE                                                                                   PONTIAC               MI 48340‐1330
MARY HUTCHENS      536 W SONOMA AVE                                                                                       HAZEL PARK            MI 48030‐2921
MARY HUTCHERSON    3736 PASADENA ST                                                                                       DETROIT               MI 48238‐2630
MARY HUTCHERSON    442 DOLLIE DR                                                                                          VILLA RIDGE           MO 63089‐2286
MARY HUTCHINSON    16261 CRUSE ST                                                                                         DETROIT               MI 48235‐4002
MARY HUTSON        153 CK LEWALLEN DR                                                                                     ONEIDA                TN 37841‐3563
MARY HUTT          302 ILLINOIS AVE                                                                                       WESTVILLE              IL 61883‐1708
MARY HUTT          109 E ELM                                                                                              IOLA                   IL 62838‐3651
MARY HUTTON        708 HIGH ST APT A                                                                                      ANDERSON              IN 46012‐3046
MARY HYDE          1527 SW FELLOWS ST                                                                                     MCMINNVILLE           OR 97128‐5861
MARY HYDE          PO BOX 1563                                                                                            ROGUE RIVER           OR 97537‐1563
MARY HYMES         2715 S WESTPORT RD                                                                                     INDEPENDENCE          MO 64052‐1360
MARY HYNES         PO BOX 4395                                                                                            HOMOSASSA SPRINGS     FL 34447‐4395
MARY I CASH        3401 E. 5TH ST                                                                                         DAYTON                OH 45403‐2744
MARY I CRAFT       1200 REX AVE                                                                                           FLINT                 MI 48505‐1639
MARY I GABIOUD     11838 CLARENCE CENTER RD                                                                               AKRON                 NY 14001‐9490
MARY I GOURLEY     SCHOLARSHIP FOUNDATION           2630 2 POLARIS DRIVE                                                  FORT WORTH            TX 76137‐4803
MARY I GOURLEY     SCHOLARSHIP FOUNDATION           2630 S POLARIS DRIVE                                                  FORT WORTH            TX 76137‐4803
MARY I HIGGINS     1235 ANGIERS DR                                                                                        DAYTON                OH 45408‐2410
MARY I HIGGINS     1235 ANGIER DRIVE                                                                                      DAYTON                OH 45408‐2410
MARY I PYTLIK      5748 SARAH AVE.                                                                                        WARREN                OH 44483‐1159
MARY I THOMAS      2921 TELHURST CT                                                                                       MORAINE               OH 45439‐1418
MARY IACOBELLIS    8125 REINHARDT RD                                                                                      CARLETON              MI 48117‐9347
MARY IANNOLI       16 CHAPEL ST UNIT B                                                                                    NEWPORT                RI 02840‐3254
MARY ICE           1582 E 1700 N                                                                                          SUMMITVILLE           IN 46070‐9163
MARY IDA TOWNSON   STANDING CHAPTER 13 TRUSTEE      100 PEACHTREE ST STE 2700   THE EQUITABLE BUILDING                    ATLANTA               GA 30303‐1934
MARY IHRKE         689 LAKEVIEW DR                                                                                        WHITE LAKE            MI 48386
MARY ILER          1637 OLD COLUMBUS RD                                                                                   BOWDON                GA 30108‐3305
MARY ILLYES        6846 BANNER ST                                                                                         TAYLOR                MI 48180‐1678
MARY IMBIROWICZ    5340 MILLS DR                                                                                          PRESCOTT              MI 48756‐9106
MARY IMBRUGLIA     89 PARKVIEW AVE                                                                                        BUFFALO               NY 14210‐2412
MARY IMOEHL        15100 W CLEVELAND AVE APT 290                                                                          NEW BERLIN            WI 53151‐3769
MARY IMPERL        3044 W GRAND BLVD SUITE 10‐101                                                                         DETROIT               MI 48202
MARY INDERRIEDEN   153 FINSBURY LN                                                                                        TROY                  OH 45373‐1553
MARY INGRAM        249 RAY ST                                                                                             MONTROSE              MI 48457‐9788
MARY INGRAM        2717 BURTON AVE                                                                                        FORT WORTH            TX 76105‐4710
MARY INGRAM        6012 BOULDER DRIVE                                                                                     ANDERSON              IN 46013‐3766
MARY INGRAM        47 VALLEYVIEW RD                                                                                       WARREN                NJ 07059‐5452
MARY INGRAM        6717 ARLINGTON DR                                                                                      WEST BLOOMFIELD       MI 48322‐2718
MARY INGRAM        5951 72D ST NORTH                                                                                      ST PETERSBURG         FL 33709
MARY INGRAM        2411 LAKEVIEW ST                                                                                       WEST BRANCH           MI 48661‐9567
MARY INMAN         22 TERRENCE CT                                                                                         WEST CARROLLTON       OH 45449‐1372
MARY INSALACO      191 LIMA RD                                                                                            GENESEO               NY 14454‐1149
MARY INTERLICHIA   7 SUDBURY DR                                                                                           ROCHESTER             NY 14624‐2618
MARY IRBY          306 RELIANCE WAY                                                                                       DACULA                GA 30019‐6589
MARY IRELAND       5291 E 300 S                                                                                           KOKOMO                IN 46902‐9381
MARY IRICK         616 W 38TH ST                                                                                          ANDERSON              IN 46013‐4022
MARY IRVAN         21749 SHARE ST                                                                                         SAINT CLAIR SHORES    MI 48082‐1273
MARY IRVIN         12 ALBA ST                                                                                             EWING                 NJ 08638‐2308
MARY IRVINE        9875 W AIRPORT RD                                                                                      SAINT HELEN           MI 48656‐9704
MARY IRWIN         3605 OAKHURST DR                                                                                       KOKOMO                IN 46902‐3614
MARY IRWIN         3310 CHAMBERS ST                                                                                       FLINT                 MI 48507‐2131
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Name                    Address1                       Address2            Address3         Address4         City               State Zip
MARY ISAMAN             501 W 4TH ST APT 9                                                                   HYDRO               OK 73048‐8733
MARY ISBELL             288 COURTNEYS PL                                                                     LAPEER              MI 48446‐7624
MARY ISENBARG           42 E YPSILANTI AVE                                                                   PONTIAC             MI 48340‐1977
MARY ISON               4736 COBDEN LN                                                                       CLARKSTON           MI 48346‐3610
MARY ISSAC              5330 GLENWOOD CREEK DR.                                                              CLARKSTON           MI 48348
MARY ITOFE              30032 HAZELWOOD ST                                                                   INKSTER             MI 48141‐1546
MARY J APPLE            690 MEMORIAL DR                                                                      XENIA               OH 45385‐9026
MARY J BANKS            2320 S HACKLEY ST                                                                    MUNCIE              IN 47302‐4245
MARY J BETTISON         5647 WAKESHIRE CT                                                                    TROTWOOD            OH 45426‐1109
MARY J BETTYS           PO BOX 6036                                                                          MOORE               OK 73153‐0036
MARY J BRISTOL‐BUTLER   2022 CRESTVIEW ST                                                                    JANESVILLE          WI 53546‐5743
MARY J BUCHLER          771 HILLCREST DR                                                                     BOON                MI 49618‐9728
MARY J CARRERO          6670 BEAR RIDGE RD                                                                   LOCKPORT            NY 14094‐9212
MARY J CHARRON          111 MARIAN DR                                                                        MATTYDALE           NY 13211‐1825
MARY J COLES            304 SAGEBRUSH DR.                                                                    CLAYTON             OH 45315‐‐ 87
MARY J COLOSIMO         7577 ELAINE DR                                                                       NORTH HUNTINGDON    PA 15642‐2729
MARY J DANKO            PO BOX 10182                                                                         DETROIT             MI 48210‐0182
MARY J DAUGHERTY        4600 E 184TH ST                                                                      BELTON              MO 64012‐8323
MARY J DIGERONIMO       270 MARIN BLVD 17D                                                                   JERSEY CITY         NJ 07302
MARY J DORAN            PO BOX 66                                                                            LIMA                NY 14485‐0066
MARY J DULL             1910 GREEN VALLEY DR APT 1                                                           JANESVILLE          WI 53546‐4115
MARY J FLINT            733 TARRYTOWN TRAIL                                                                  PORT ORANGE         FL 32127‐4916
MARY J FOSTER           97 WEBSTER RD                                                                        SPENCERPORT         NY 14559‐1525
MARY J GANTZ            145 HOWLAND WILSON RD NE                                                             WARREN              OH 44484
MARY J GOULD            109 PLYMOUTH AVE S                                                                   SYRACUSE            NY 13211‐1848
MARY J GRASBY           39 ELM ST                                                                            LEROY               NY 14482‐1521
MARY J GRAVES           18229 CHERRYLAWN ST                                                                  DETROIT             MI 48221‐2013
MARY J GRAY             2399 WAYBURN AVE                                                                     MOUNT MORRIS        MI 48458‐8203
MARY J HAMPTON          7416 DILLON LN                                                                       MAGNOLIA            MS 39652‐9368
MARY J HAMPTON          7416 DILLON LANE                                                                     MAGNOLIA            MS 39652
MARY J HAWKINS          13194 WOERNER RD                                                                     MANITOU BEACH       MI 49253‐9789
MARY J HENSLEY          G‐4237 W COURT ST APT 53                                                             FLINT               MI 48532
MARY J HOLSTINE         PO BOX 321263                                                                        FLINT               MI 48532‐0022
MARY J HOUSTON          917 BUCKEYE DR.                                                                      SHARPSVILLE         PA 16150
MARY J HUFFMAN          3483 PIEDMONT AVE.                                                                   DAYTON              OH 45416
MARY J JEFFERSON        1320 SUMMIT STREET                                                                   RACINE              WI 53404‐2976
MARY J JONES            6563 PAXTON COURT                                                                    YUCCA VALLEY        CA 92284‐5840
MARY J KING             5745 LINKSVIEW WAY                                                                   GLADWIN             MI 48624
MARY J KIRTLAND         715 NARCISSUS AVE                                                                    CORONA DEL MAR      CA 92625
MARY J KOHLER           5631 E FARROW AVE                                                                    PORT CLINTON        OH 43452‐3615
MARY J KURTZ            2352 WILLIAMS DR                                                                     CORTLAND            OH 44410
MARY J LAMB             1174 E YALE AVE                                                                      FLINT               MI 48505‐1519
MARY J LAMB             2166 MILLER RD                                                                       TAWAS CITY          MI 48763‐9642
MARY J LEROY            3452 N HAMLIN AVE                                                                    CHICAGO              IL 60618
MARY J LUMMER           3533 BLOCKER DR                                                                      DAYTON              OH 45420‐1017
MARY J LUNDINE          138 S HARRIS RD                                                                      YPSILANTI           MI 48198‐5934
MARY J LYTLE            5460 RIDGE RD                                                                        CORTLAND            OH 44410
MARY J MARTIN           1529 LEXINGTON AVE                                                                   DAYTON              OH 45402
MARY J MARTIN           817 SE 13TH ST                                                                       MOORE               OK 73160‐7257
MARY J MATHIS           561 PERSIMMON DRIVE                                                                  SHARPSBURG          GA 30277
MARY J MAY              2817 KENNEDY AVE                                                                     DAYTON              OH 45420‐3020
MARY J MAYO             3545 LIONS HEAD LN                                                                   SAGINAW             MI 48601‐7034
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Name                                  Address1                      Address2                Address3     Address4         City               State Zip
MARY J MCLEAN                         1186 E WILLARD RD                                                                   CLIO                MI 48420
MARY J MCMURCHY                       50 E WREN CIR                                                                       DAYTON              OH 45420
MARY J MIDDLETON                      285 EVERGREEN DR                                                                    SPRINGBORO          OH 45066‐‐ 97
MARY J MILES                          721 W PETERS RD                                                                     WEST BRANCH         MI 48661‐9531
MARY J MINNICH                        5284 BAY POINTE DR                                                                  MASON               OH 45040
MARY J MINOTTI                        127 WILLIAMS ST                                                                     NILES               OH 44445‐1736
MARY J MUNDO                          2180 HOWLAND WILSON RD NE                                                           WARREN              OH 44484‐3921
MARY J OWENS                          43 CLOVER ST.                                                                       DAYTON              OH 45410
MARY J PALSGROVE                      297 MILLICAN RD                                                                     SPARTA              TN 38583
MARY J PANNUNZIO                      211 KINGS LANE                                                                      CANFIELD            OH 44406‐1681
MARY J PISARSKI                       33 HULL RD                                                                          BURLINGTON          CT 06013‐2103
MARY J PLUNKETT                       12882 WASHINGTONVILLE RD.                                                           SALEM               OH 44460‐9247
MARY J PRICE                          708 RED WAY CIRCLE                                                                  DAYTON              OH 45426
MARY J QUIRK                          17 LAKE SPRINGS DR                                                                  MCLOUD              OK 74851‐8961
MARY J ROSE                           430 WEST GROVE RD                                                                   LEXINGTON           NC 27295
MARY J ROWLEY                         206 BELEY AVE                                                                       SYRACUSE            NY 13211‐1528
MARY J SCHWEIGER                      2760 SAINT ELMO DR                                                                  RIALTO              CA 92376‐5342
MARY J SHAFFER                        200 FLORIDA RD S                                                                    SYRACUSE            NY 13211‐1815
MARY J SHAYLOR                        1633 QUARTON RD                                                                     BIRMINGHAM          MI 48009
MARY J SMEDLEY BYPASS TRUST           SUSAN JENKINS TRUSTEE         368 N RED BRDIGE RD                                   ROSWELL             NM 88201‐9519
MARY J SMITH                          256 HARTSHORN DR                                                                    VANDALIA            OH 45377‐2947
MARY J STEVERSON                      420 BROOKLYN AVE.                                                                   DAYTON              OH 45417
MARY J SUGGS                          3343 TRADE WINDS AVE.                                                               DAYTON              OH 45424‐6239
MARY J THIERRY                        3841 NORTHWOODS CT NE APT 6                                                         WARREN              OH 44483
MARY J TODA                           3627 LIBERTY AVE., S.E.                                                             HUBBARD             OH 44425‐2537
MARY J VANATTA                        804 NIGHTINGALE CIRCLE                                                              XENIA               OH 45385
MARY J VISCARDI                       77 LEDGEROCK LN                                                                     ROCHESTER           NY 14618
MARY J WEST                           2076 S 68 LOT 17                                                                    WILMINGTON          OH 45177
MARY J WIK                            38201 W 14 MILE RD                                                                  FARMINGTON HILLS    MI 48331‐5958
MARY J WILLIAMS                       1899 KEEFER RD.                                                                     GIRARD              OH 44420‐1439
MARY J WOOD                           2626 E GRAND LEDGE HWY                                                              GRAND LEDGE         MI 48837‐9787
MARY J WOOD IRA                       MARY J WOOD                   2007 LAKESIDE CT                                      CHAMPAIGN            IL 61821
MARY J WYLIE                          525 MACINTOSH HOLLOW                                                                RAVENNA             KY 40472‐8833
MARY J YIU                            11 TRENT LA                                                                         SMITHTOWN           NY 11787‐1214
MARY J YOUNG RICHARD E YOUNG JT TEN   8520 SWEET BIRCH DR                                                                 INDIANAPOLIS        IN 46239‐7737

MARY J ZATYKO                         78 DUNLOP AVE                                                                       TONAWANDA          NY   14150‐7809
MARY J ZUPP                           1227 LAIRD AVE NE                                                                   WARREN             OH   44483‐4161
MARY JABLONSKI                        650 NORTH LAKE HOWARD DR.     APT 230                                               WINTER HAVEN       FL   33881
MARY JABLONSKI                        328 E 320TH ST                                                                      WILLOWICK          OH   44095‐3540
MARY JACEK                            188 AFTON ST                                                                        ROCHESTER          NY   14612‐5104
MARY JACKSON                          49 ERICSON AVE                                                                      BUFFALO            NY   14215‐3807
MARY JACKSON                          2885 E SQUARE LAKE RD                                                               TROY               MI   48085‐3977
MARY JACKSON                          457 CO RD WEST 400 S                                                                KOKOMO             IN   46902
MARY JACKSON                          1501 PARKSIDE AVE             EAST GATE APPARTMENTS                                 EWING              NJ   08638‐2627
MARY JACKSON                          1670 CATALPA RD                                                                     CLEVELAND          OH   44112‐1007
MARY JACKSON                          200 LAUREL LAKE CIR                                                                 MADISONVILLE       TN   37354‐6858
MARY JACKSON                          13109 WADE ST                                                                       DETROIT            MI   48213‐2079
MARY JACKSON                          27205 SHERWOOD RD                                                                   BELLEVILLE         MI   48111‐8802
MARY JACKSON                          1345 DEN HERTOG ST SW                                                               WYOMING            MI   49509‐2727
MARY JACKSON                          165 CHARLES LN                                                                      PONTIAC            MI   48341‐2928
MARY JACKSON                          1936 GRANT ST                                                                       BELOIT             WI   53511‐2836
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Name                               Address1                             Address2                     Address3     Address4         City               State Zip
MARY JACKSON                       2269 UNALIYI TRL                                                                                MACON               GA 31220‐3631
MARY JACKSON                       PO BOX 871                                                                                      SPRINGFIELD         OH 45501‐0871
MARY JACKSON                       5188 SCENICVUE DR                                                                               FLINT               MI 48532‐2356
MARY JACKSON                       PO BOX 462                                                                                      MONTROSE            MI 48457‐0462
MARY JACKSON                       7505 NATHAN DR                                                                                  WEST PADUCAH        KY 42086‐9647
MARY JACKSON                       3048 REVLON DR                                                                                  KETTERING           OH 45420‐1245
MARY JACKSON                       1214 CASIMIR ST                                                                                 SAGINAW             MI 48601‐1225
MARY JACKSON                       281 FISHER AVE                                                                                  PONTIAC             MI 48341‐2417
MARY JACOBS                        2081 W GERMAN RD                                                                                BAY CITY            MI 48708‐9607
MARY JACOBS                        5095 HIGHPOINT DR                                                                               SWARTZ CREEK        MI 48473‐8914
MARY JAENICKE                      1033 WEST COUNTY RD 400 S                                                                       KOKOMO              IN 46902
MARY JAMES                         2012 S WINDING WAY                                                                              ANDERSON            IN 46011‐3865
MARY JAMES                         229 E MULBERRY ST                                                                               ANDERSON            IN 46012‐2427
MARY JAMES                         90 ACHILLA TER                                                                                  MARTINSBURG         WV 25404‐3457
MARY JAMES                         33 ROCA LN                           APT 6                                                      MARTINSBURG         WV 25401
MARY JAMES                         78 BERLIN ST                                                                                    ROCHESTER           NY 14621‐4708
MARY JAMISON                       3487 W DEFFENBAUGH RD‐50 S                                                                      KOKOMO              IN 46902
MARY JAMISON                       2116 KEENAN AVE                                                                                 DAYTON              OH 45414‐4639
MARY JAMISON                       4045 MERRIMAC AVE                                                                               DAYTON              OH 45405‐2317
MARY JANE BIELL                    2544 MATTERHORNE DRIVE                                                                          WEXFORD             PA 15090
MARY JANE DARRENKAMP               2679 BEECH LANE                                                                                 LANCASTER           PA 17601‐2267
MARY JANE DEMPLER                  33716 PINE RIDGE DR W                                                                           FRASER              MI 48026
MARY JANE DUKE                     10 ROSEMONT DR                                                                                  AMHERST             NY 14226
MARY JANE ELLIOTT                  ACCT OF M R BLUE                     24300 KARIM BLVD                                           NOVI                MI 48375
MARY JANE ELLIOTT                  ACCT OF RONALD H PICKENS             24300 KARIM BLVD                                           NOVI                MI 48375
MARY JANE FILARECKI                6066 LONG ST                                                                                    CLARENCE CENTER     NY 14032‐9726
MARY JANE FLOWER & GIFT SHOP INC   621 W 11 MILE RD                                                                                ROYAL OAK           MI 48067‐2201
MARY JANE G LAMBERT                343 EAST KLINE ST.                                                                              GIRARD              OH 44420‐2625
MARY JANE GEORGE                   12510 MIDDLE RD                                                                                 SARDINIA            NY 14134‐9703
MARY JANE GRUBBS                   13932 SUNRISE DR                                                                                HAGERSTOWN          MD 21740‐1605
MARY JANE HANDLEY                  32 RICHMOND AVENUE                                                                              BERGENA             NY 14416‐9770
MARY JANE HOWARD                   4899 WINDING LN                                                                                 CLARENCE            NY 14031‐1546
MARY JANE KARAM                    838 WESTPORT DRIVE                                                                              BOARDMAN            OH 44511
MARY JANE KELLY                    1039 SERRILL AVENUE                                                                             YEADON              PA 19050‐3809
MARY JANE KLECKNER                 66 SHELBOURNE COURT                                                                             CHESTERBROOK        PA 19089‐5723
MARY JANE KRUGMAN                  C/O BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS          OH 44236
MARY JANE L BOWEN                  57 CRITTENDEN RD                                                                                ROCHESTER           NY 14623‐1011
MARY JANE LAMBERT                  343 E KLINE ST                                                                                  GIRARD              OH 44420‐2625
MARY JANE LAUBACKER                5436 SAUND SETTLMT                                                                              LOCKPORT            NY 14094
MARY JANE LONG                     109 DAIRY LANE                                                                                  CLEARFIELD          PA 16830
MARY JANE M ELLIOTT                FOR ACCT OF TIMOTHY REGAN            24300 KARIM BLVD                                           NOVI                MI 48375
MARY JANE M ELLIOTT                ACCT OF BARBARA STANDBERRY           35925 FORD RD                                              WESTLAND            MI 48185‐2204
MARY JANE M ELLIOTT PC P32732      24300 KARIM BLVD                                                                                NOVI                MI 48375‐2942
MARY JANE MCCAULEY                 41293 LORE DR                                                                                   CLINTON TOWNSHIP    MI 48038‐2088
MARY JANE MIKOTACZYK               10 RAVENS ROCK RD                                                                               MANAHAWKIN          NJ 08050‐6042
MARY JANE ORR                      THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                    BALTIMORE           MD 21201

MARY JANE POTEET                   4540 PENSACOLA BLVD                                                                             MORAINE            OH   45439
MARY JANE PRODUCTIONS INC          C/O GELFANO RENNERT & FELDMAN        360 HAMILTON AVE STE 100     LLP                           WHITE PLAINS       NY   10601‐1847
MARY JANE RADLIFF                  802 S 90TH ST                                                                                   WEST ALLIS         WI   53214‐2830
MARY JANE SCHAAR                   237 CLAMAR AVE                                                                                  HAVERTOWN          PA   19083
MARY JANE SCHANZ                   7760 S 51ST ST UNIT 309                                                                         FRANKLIN           WI   53132‐9097
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Name                      Address1                        Address2                     Address3   Address4         City               State Zip
MARY JANE SCHILDTKNECHT   950 ROMINE RD                                                                            ANDERSON            IN 46011‐8781
MARY JANE SEEGMILLER      15306 DOYLE RD                                                                           HEMLOCK             MI 48626‐9473
MARY JANE SOCIA           1901 S SHERMAN ST                                                                        BAY CITY            MI 48708‐8194
MARY JANE VELLUCCI        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MARY JANES                1234 S 300 E                                                                             ANDERSON            IN 46017‐1908
MARY JANES                909 N GOULD ST                                                                           OWOSSO              MI 48867‐1960
MARY JANIK                75 CRESTHAVEN DR                                                                         CHEEKTOWAGA         NY 14225‐1119
MARY JANIS                13527 ANGELA DR                                                                          WARREN              MI 48088‐6668
MARY JANKA                2132 N OAKLEY AVE                                                                        CHICAGO              IL 60647‐3268
MARY JANOSIK              PO BOX 850                                                                               RENSSELAER          IN 47978‐0850
MARY JAPUNCHA             8174 ENGLEWOOD ST NE                                                                     WARREN              OH 44484‐1967
MARY JAREMA               817 SE 13TH ST                                                                           MOORE               OK 73160‐7257
MARY JARRARD              134 ABBY LN                     C/O FREDDA COLLINS                                       BYRDSTOWN           TN 38549‐4466
MARY JARRETT              150 CEDAR CIR                                                                            CORTLAND            OH 44410‐1365
MARY JARRETT              6469 E 650 N                                                                             WILKINSON           IN 46186‐9746
MARY JARRETT              4406 COUNTY LINE RD                                                                      LENOX               MI 48050‐2606
MARY JAYNE MARINO         3853 MAHONING AVE NW                                                                     WARREN              OH 44483‐1921
MARY JAYNE S MARINO       3853 MAHONING AVE NW                                                                     WARREN              OH 44483‐1921
MARY JAZINSKI             5400 NO 31                                                                               MCALLEN             TX 78504
MARY JEAN                 11633 BRADLEY DR                                                                         JEROME              MI 49249‐9829
MARY JEAN KAROLY          JAMES T BRADLEY                 421 PICKETT CT                                           FT WRIGHT           KY 41011
MARY JEAN MUSTO           625 WILSON AVE                                                                           PITTSTON            PA 18643‐7162
MARY JEAN WESLEY          C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                      LITTLE ROCK         AR 72201
MARY JEANNE FLAHERTY      630 SNOWBALL RD                                                                          MONROEVILLE         PA 15146
MARY JEDELE               109 ENGELHARDT DRIVE                                                                     BAY CITY            MI 48706‐2838
MARY JEDLOWSKI            6361 WOLVERINE TRL                                                                       GAYLORD             MI 49735‐8700
MARY JEFFERS              6113 WINDSTONE LN                                                                        CLARKSTON           MI 48346‐5012
MARY JEFFERSON            13508 CLAIBORNE RD                                                                       E CLEVELAND         OH 44112‐3154
MARY JEFFREY              PO BOX 40                                                                                HARTLAND            MI 48353‐0040
MARY JEFFREY              12186 LAKE RD                                                                            MONTROSE            MI 48457‐9442
MARY JEFFRIES             135 INDEPENDENCE ST                                                                      PERRYOPOLIS         PA 15473‐5383
MARY JEKEL                8288 HIDDEN CREEK DR                                                                     FLUSHING            MI 48433‐9430
MARY JEMISON              184 NORTHLAND AVE                                                                        BUFFALO             NY 14208‐1229
MARY JENDRITZ             14692 ALMA DR                                                                            STERLING HEIGHTS    MI 48313‐3604
MARY JENITIS              1815 CALVERT DR                                                                          CUYAHOGA FALLS      OH 44223‐1020
MARY JENKINS              409 N WESTERN AVE                                                                        MARTINSBURG         WV 25404‐5585
MARY JENKINS              10745 KINGSBURY BLVD                                                                     CLEVELAND           OH 44104‐5475
MARY JENKINS              4519 W ROTAMER RD                                                                        JANESVILLE          WI 53546‐1025
MARY JENKINS              PO BOX 872                                                                               BAY SPRINGS         MS 39422‐0872
MARY JENKINS              3111 FERRIS AVE                                                                          ROYAL OAK           MI 48073‐3524
MARY JENKINS              19940 STEEL ST                                                                           DETROIT             MI 48235‐1133
MARY JENKINS              55 MAYFIELD RD SE                                                                        CARTERSVILLE        GA 30120‐6873
MARY JENKINS              2526 SCIOTO TRL                                                                          PORTSMOUTH          OH 45662‐2539
MARY JENKINS              1410 S JACKSON AVE                                                                       DEFIANCE            OH 43512‐3209
MARY JENKS                4206 TOBACCO RD                                                                          HARRISON            MI 48625‐7334
MARY JENNINGS             5724 NW 45TH ST                                                                          WARR ACRES          OK 73122‐4204
MARY JENSEN
MARY JEROME               39045 MEMORY LN                                                                          HARRISON TWP       MI   48045‐1747
MARY JETT                 406 ORCHARD LN                                                                           GREENWOOD          IN   46142‐3022
MARY JETTON               18909 FLEMING ST                                                                         DETROIT            MI   48234‐1310
MARY JEWETT               379 LEISURE DR APT 1                                                                     BROOKVILLE         OH   45309‐1248
MARY JEWETT               23836 RIDGE POINT CT                                                                     MORENO VALLEY      CA   92557‐2935
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Name                  Address1                           Address2                   Address3   Address4         City              State Zip
MARY JEWETT           44 LAKEVIEW DR                                                                            GLADWIN            MI 48624‐8384
MARY JO ADKINS        8272 AURORA PEAK AVE                                                                      LAS VEGAS          NV 89131
MARY JO ASHENFELTER   1╜ EARLES LANE                                                                            NEWTOWN SQUARE     PA 19073‐2618
MARY JO BAILEY        71 E LINWOOD AVE                                                                          AKRON              OH 44301
MARY JO BEEMER        55710 EBERLY PL                                                                           ELKHART            IN 46516‐1235
MARY JO E SIMON       2642 LITTLE YORK RD                                                                       DAYTON             OH 45414‐1632
MARY JO GRAMMATICO    31157 NELSON DR                                                                           WARREN             MI 48088‐1866
MARY JO HOLLOMAN      15 LANYARD AVE                                                                            TROTWOOD           OH 45426‐3044
MARY JO NOLAN         602 11TH ST SW                                                                            AUSTIN             MN 55912
MARY JO SMITH         955 WILLANA ST                                                                            MILAN              MI 48160‐1051
MARY JO THOLEN        1957 TIMBER RIDGE DRIVE SE                                                                ADA                MI 49301
MARY JO WEHMHOFF      1940 FOUNTAIN VIEW DR PMB 146                                                             HOUSTON            TX 77057‐3206
MARY JO WHITMAN       3301 HIDDEN RIDGE DR                                                                      DEWITT             MI 48820‐7725
MARY JOBE             2319 COOL WOODS COURT                                                                     JARRETTSVILLE      MD 21084‐1840
MARY JOHNIKEN         2216 CANDY LN                                                                             DEL CITY           OK 73115‐4016
MARY JOHNS            54781 CHIPPEWA CT                                                                         SHELBY TWP         MI 48315‐1120
MARY JOHNS            224 S WOODWARD AVE                                                                        WILMINGTON         DE 19805‐2359
MARY JOHNS            44 CHATEAU BLVD APT 217                                                                   BATESVILLE         IN 47006‐5747
MARY JOHNSON          49414 FERRISBURG CT                HERITAGE WEST CONDONIUMS                               SHELBY TOWNSHIP    MI 48315‐3922
MARY JOHNSON          11800 NASHVILLE ST                                                                        DETROIT            MI 48205‐3374
MARY JOHNSON          235 TOUCAN ST                                                                             ROCHESTER HILLS    MI 48309‐3462
MARY JOHNSON          102 SUSAN LN APT C                                                                        ROCHESTER          NY 14616‐4917
MARY JOHNSON          42355 FOUNTAIN PARK DR N APT 138                                                          NOVI               MI 48375‐2542
MARY JOHNSON          2485 CRANWOOD DR SW                                                                       WARREN             OH 44485‐3306
MARY JOHNSON          216 VILLA LN                                                                              ST CLAIR SHRS      MI 48080‐2760
MARY JOHNSON          1300 W FRY RD                                                                             GOSPORT            IN 47433‐9528
MARY JOHNSON          4490 LIPPINCOTT RD                                                                        LAPEER             MI 48446‐7816
MARY JOHNSON          14842 FIELDING ST                                                                         DETROIT            MI 48223‐2016
MARY JOHNSON          300 BOGIE LAKE RD                                                                         WHITE LAKE         MI 48383‐2701
MARY JOHNSON          18437 ASBURY PARK                                                                         DETROIT            MI 48235‐3006
MARY JOHNSON          11 LA SALLE CT                                                                            FRANKLIN PARK      NJ 08823‐1744
MARY JOHNSON          235 GATEWAY DR APT 216                                                                    CLARE              MI 48617‐1138
MARY JOHNSON          2181 AMBLESIDE DR A301                                                                    CLEVELAND          OH 44106
MARY JOHNSON          491 WYOMING AVE                                                                           BUFFALO            NY 14215‐3135
MARY JOHNSON          776 HOMEWOOD AVE SE                                                                       WARREN             OH 44484‐4223
MARY JOHNSON          2139 BLUE CREEK CT                                                                        CONLEY             GA 30288‐1432
MARY JOHNSON          42797 FRET RD                                                                             BELLEVILLE         MI 48111‐3061
MARY JOHNSON          4713 REED DR                                                                              ANDERSON           IN 46013‐1332
MARY JOHNSON          1758 E 500 S                                                                              SHARPSVILLE        IN 46068‐9609
MARY JOHNSON          339 E MORGAN ST                                                                           KNIGHTSTOWN        IN 46148‐1036
MARY JOHNSON          410 MIRAGE DR                                                                             KOKOMO             IN 46901‐7035
MARY JOHNSON          147 LLOYD GUESSFORD RD                                                                    TOWNSEND           DE 19734‐9665
MARY JOHNSON          3267 HEMLOCK HL APT 2                                                                     MACEDON            NY 14502‐8614
MARY JOHNSON          9411 SHADECREEK PL                                                                        FORT WAYNE         IN 46835‐9488
MARY JOHNSON          36 POST ST                                                                                SHELBY             OH 44875‐1136
MARY JOHNSON          556 E PEARL ST                                                                            MIAMISBURG         OH 45342‐2356
MARY JOHNSON          341 S 2ND AVE                                                                             MOUNT VERNON       NY 10550‐4205
MARY JOHNSON          2251 W AUBURN RD                                                                          ROCHESTER HILLS    MI 48309‐3630
MARY JOHNSON          13811 STRATHCONA ST APT 135                                                               SOUTHGATE          MI 48195‐1695
MARY JOHNSON          11550 HWY # 36                                                                            COVINGTON          GA 30209
MARY JOHNSON          2888 PORTER ST SW                                                                         GRANDVILLE         MI 49418‐1145
MARY JOHNSON          3300 N.TAYANA WY BLD 29 #1113                                                             LAS VEGAS          NV 89129
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Name                   Address1                              Address2                     Address3   Address4         City               State Zip
MARY JOHNSON           609 N MORTON ST LOT 85                                                                         SAINT JOHNS         MI 48879‐1287
MARY JOHNSON           1809 N. DAVIDSON ROAD ROUTE 1                                                                  INDEPENDENCE        MO 64058
MARY JOHNSON           8785 S 79TH ST                                                                                 FRANKLIN            WI 53132‐9765
MARY JOHNSON           2383 HILLIS DR                                                                                 ROSCOMMON           MI 48653‐9154
MARY JOHNSON           6777 FLOYD ST                                                                                  DETROIT             MI 48210‐3402
MARY JOHNSON           12219 HYFIELD RD                                                                               DE SOTO             MO 63020‐3158
MARY JOHNSON           2010 HOWARD AVE                                                                                FLINT               MI 48503‐4210
MARY JOHNSON           1031 REID AVE                                                                                  XENIA               OH 45385‐2739
MARY JOHNSON           PO BOX 3941                                                                                    JOLIET               IL 60434‐3941
MARY JOHNSON‐RODGERS   1 JOB ST                                                                                       SEBRING             FL 33870‐6831
MARY JOHNSTON          PO BOX 1641                                                                                    TAYLOR              MI 48180‐6641
MARY JOHNSTON          C/O LAW OFFICES OF SAMUEL I BERNSTEIN 31731 NORTHWESTERN HWY STE                               FARMINGTON HILLS    MI 48334‐1669
                                                             333
MARY JOHNSTONE         209 E HIGHLAND AVE APT 2                                                                       MARION             IN   46952‐2172
MARY JOHNSTONE         2946 JAMES RD                                                                                  AUBURN HILLS       MI   48326‐2112
MARY JOLLY             472 CREEKWAY DR                                                                                CROSSVILLE         TN   38555‐8442
MARY JOLLY             6000 TOWNVISTA DR APT 605                                                                      CINCINNATI         OH   45224‐1764
MARY JONAS             PO BOX 750848                         C/O ROGER A. BUNN                                        DAYTON             OH   45475‐0848
MARY JONES             741 HENRY RUFF RD                                                                              INKSTER            MI   48141‐1013
MARY JONES             PO BOX 554                                                                                     FORT GAINES        GA   39851‐0554
MARY JONES             958 S 24TH ST                                                                                  SAGINAW            MI   48601‐6514
MARY JONES             1515 DODSON DR SW                                                                              ATLANTA            GA   30311‐3725
MARY JONES             2050 WESLEYAN RD                                                                               DAYTON             OH   45406‐3835
MARY JONES             1709 BEACON DR                                                                                 SAGINAW            MI   48602‐1011
MARY JONES             5135 JACKSON RD                                                                                FLINT              MI   48506‐1017
MARY JONES             308 NW OBRIEN RD                                                                               LEES SUMMIT        MO   64063‐2115
MARY JONES             1417 ELDORADO DR                                                                               FLINT              MI   48504‐3221
MARY JONES             104 PIMA ST                                                                                    CLINTON            MS   39056‐3032
MARY JONES             1818 HAVERHILL DR                                                                              DAYTON             OH   45406‐4632
MARY JONES             PO BOX 2594                                                                                    SANDUSKY           OH   44871‐2594
MARY JONES             1503 ANEMONE CT                                                                                INDIANAPOLIS       IN   46219‐3943
MARY JONES             3120 WALLACE AVE                                                                               INDIANAPOLIS       IN   46218‐2358
MARY JONES             PO BOX 1952                                                                                    NEWPORT            NC   28570‐1952
MARY JONES             2381 SHAKER LN APT C                                                                           LEBANON            IN   46052‐3166
MARY JONES             429 S STEFFLER ST APT 9                                                                        RANTOUL            IL   61866‐3130
MARY JONES             1316 W 8TH ST APT C                                                                            ANDERSON           IN   46016‐2626
MARY JONES             12821 GLENFIELD ST                                                                             DETROIT            MI   48213‐4027
MARY JONES             536 CLIFTON BLVD                                                                               TOLEDO             OH   43607‐2220
MARY JONES             9470 FRANCES RD                                                                                OTISVILLE          MI   48463‐9461
MARY JONES             PO BOX 46291                                                                                   MOUNT CLEMENS      MI   48046‐6291
MARY JONES             30415 SHERIDAN ST                                                                              GARDEN CITY        MI   48135‐1318
MARY JONES             3349 HEMMETER RD                                                                               SAGINAW            MI   48603‐2024
MARY JONES             1304 E BUTLER ST                                                                               MUNCIE             IN   47303‐3931
MARY JONES             33050 MYRNA DR                                                                                 LIVONIA            MI   48154‐2914
MARY JONES             606 E GRACELAWN AVE                                                                            FLINT              MI   48505
MARY JONES             6839 HARTEL RD                                                                                 POTTERVILLE        MI   48876‐8739
MARY JONES             400 DAUNER HAUS RD.                   APT# 504                                                 FENTON             MI   48430
MARY JONES             2650 ARGYLE RD                                                                                 ARGYLE             MI   48410
MARY JONES             3051 WESTBROOK ST                                                                              SAGINAW            MI   48601‐6946
MARY JONES             323 WARREN RD                                                                                  NEWTON FALLS       OH   44444
MARY JONES             2505 HOOVER AVE                                                                                DAYTON             OH   45402‐5531
MARY JONES             2417 W MONROE ST                                                                               PHOENIX            AZ   85009‐5111
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Name                                   Address1                         Address2                     Address3   Address4         City               State Zip
MARY JONES                             104 NORTH DIXON ROAD                                                                      KOKOMO              IN 46901‐4154
MARY JONES                             PO BOX 1067                                                                               SALEM               NJ 08079‐5067
MARY JONES                             385 EDGECOMBE AVE APT 52                                                                  NEW YORK            NY 10031‐1330
MARY JONES                             39 GLENWOOD AVE                                                                           BUFFALO             NY 14209‐1701
MARY JONES                             4800 UNIVERSITY PL                                                                        DETROIT             MI 48224‐1426
MARY JONES                             107 SHEPPARD AVE                                                                          FLUSHING            MI 48433‐9215
MARY JONES                             8475 HONEYSUCKLE DR                                                                       COLLINSVILLE        MS 39325‐9037
MARY JONES CHILCOTE                    1 BRATENAHL PLACE #1410                                                                   CLEVELAND           OH 44108‐1156
MARY JONES‐CROSSLEY                    3506 PICKWICK PL                                                                          LANSING             MI 48917‐1786
MARY JORDAN                            27 GLOVER AVE                                                                             NORWALK             OH 44857‐1039
MARY JORDAN                            243 DAY RD                                                                                MONROE              LA 71203‐8602
MARY JORDAN                            2966 VILLA ESTA DR                                                                        CHAMBLEE            GA 30341‐3710
MARY JORDAN                            733 DAVIS ST                                                                              MONROE              GA 30655
MARY JORDAN                            34615 SHOREWOOD ST                                                                        CHESTERFIELD        MI 48047‐2022
MARY JORDAN                            4273 E MOUNT MORRIS RD                                                                    MOUNT MORRIS        MI 48458‐8960
MARY JORDAN                            502 NORMAN ST                                                                             WESTVILLE            IL 61883‐6054
MARY JORDAN                            1249 E PRINCETON AVE                                                                      FLINT               MI 48505‐1754
MARY JOSEPH                            15961 FOCH ST                                                                             LIVONIA             MI 48154‐3462
MARY JOSEPHINE FORD                    2152 NORTH SEMINOLE TRAIL                                                                 MADISON             VA 22727
MARY JOSTOCK                           2586 FARNSWORTH RD                                                                        LAPEER              MI 48446‐8717
MARY JOYCE                             18 DEBORAH DR                                                                             WALPOLE             MA 02081‐2317
MARY JUANITA ROWE                      RR1 BOX 305                                                                               JASONVILLE          IN 47438
MARY JUBERA                            4069 GLENCAIRN GRV                                                                        STOW                OH 44224‐2271
MARY JUHASZ                            4728 SW 12TH PL                                                                           DEERFIELD BEACH     FL 33442‐8221
MARY JULIEN                            2359 NELSON AVE SE                                                                        GRAND RAPIDS        MI 49507‐3751
MARY JUNGEBLUT                         18906 E POWAHATAN PL                                                                      INDEPENDENCE        MO 64056
MARY JURISCH                           232 ALBERT ST                                                                             NEWTON FALLS        OH 44444‐1049
MARY JUSTICE                           1772 SW ALEGRE ST                                                                         PORT ST LUCIE       FL 34953‐1515
MARY JUSTIS                            1659 MORRIS ST                                                                            MINERAL RIDGE       OH 44440‐9797
MARY K ALI                             1809 THIRD AVE APT # 3 A                                                                  NEW YORK            NY 10029
MARY K ALLEN                           5034 LOUNSBURY DRIVE                                                                      DAYTON              OH 45418‐2041
MARY K BONUTTI                         2787 ALDGATE DR                                                                           BLOOMFIELD HILLS    MI 48304‐1787
MARY K BRYANT                          175 KESLING DR                                                                            SPRINGBORO          OH 45066‐1207
MARY K BURNS                           557 B WILCOX RD                  C/O LAYTON                                               AUSTINTOWN          OH 44515
MARY K CARDINAL                        424 14TH ST                                                                               TELL CITY           IN 47586
MARY K CARTER                          4849 OAKWOOD TRAIL                                                                        INDIANAPOLIS        IN 46268‐2423
MARY K CERESIA                         8800 SHIPMAN RD                                                                           CORUNNA             MI 48817‐9733
MARY K COPPER                          RT.2 DAILY ROAD                                                                           EATON               OH 45320‐9802
MARY K CURTIS                          1495 WESTBURY DR C                                                                        DAVISON             MI 48423
MARY K DONALDSON                       305 PLYMOUTH AVE                                                                          SYRACUSE            NY 13211‐1536
MARY K FANNON                          4160 RENWOOD DR                                                                           KETTERING           OH 45429
MARY K FISH, PERSONAL REPRESENTATIVE   C/O BRAYTON PURCELL              222 RUSH LANDING RD                                      NOVATO              CA 94948‐6169
FOR ROBERT D FISH
MARY K FOGARTY                         10749 GEORGIA AVE                                                                         KANSAS CITY        KS   66109‐5033
MARY K FUGATE                          318 YOUNG ST                                                                              PIQUA              OH   45356
MARY K GARCIA                          7140 MOTTS PLACE RD                                                                       CANAL WNCHSTR      OH   43110‐9431
MARY K GRACE                           120 DELANO DR                                                                             JACKSON            MS   39209‐2113
MARY K GRIMES                          2445 PEBBLE RIDGE CT                                                                      DAVISON            MI   48423‐8621
MARY K GURGOVITS                       158 DRUMMOND AVE                                                                          HUBBARD            OH   44425‐1147
MARY K HAMILTON                        5487 WESTCHESTER DR                                                                       FLINT              MI   48532‐4054
MARY K HARTSON                         9444 PARK AVE                                                                             N BLOOMFIELD       OH   44450‐9754
MARY K HLYWIAK                         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH   44236
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Name                              Address1                         Address2                     Address3   Address4         City                 State Zip
MARY K HOOK                       6031 MERWIN CHASE RD.                                                                     BROOKFIELD            OH 44403‐9781
MARY K HUNT                       1506 2ND ST                                                                               BAY CITY              MI 48708‐6126
MARY K IVORY                      706 TROY STREET                                                                           DAYTON                OH 45404‐1851
MARY K JURISCH                    232 ALBERT STREET                                                                         NEWTON FALLS          OH 44444‐1049
MARY K JUSTIS                     1659 MORRIS AVE.                                                                          MINERAL RIDGE         OH 44440‐9797
MARY K MAH                        157 CINNABAR WAY                                                                          HERCULES              CA 94547
MARY K MARTIN                     14017 BELSAY RD                                                                           MILLINGTON            MI 48746‐9215
MARY K MCCLELLAN                  2151 MT. CARMEL ROAD                                                                      JAMESTOWN             OH 45335‐9758
MARY K MILLER                     522 E PEARL ST                                                                            MIAMISBURG            OH 45342
MARY K MOEBIUS                    3353 PHILLIP AVE                                                                          FLINT                 MI 48507‐3302
MARY K PENNINGTON                 341 LOGAN AVE. N.E.                                                                       WARREN                OH 44483‐5127
MARY K POPE                       BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS            OH 44236
MARY K ROLEKE                     96 GALLOPING HILL RD                                                                      COLTS NECK            NJ 07722
MARY K ROSE                       808 CHANDLER DR                                                                           TROTWOOD              OH 45426‐2512
MARY K SATHER                     PO BOX 3772                                                                               MORIARTY              NM 87035‐3772
MARY K SCHOTTMILLER               38 BRIGHT OAKS DR                                                                         ROCHESTER             NY 14624‐4736
MARY K SHIPP                      100 KAREN COURT                                                                           GARDENDALE            AL 35071
MARY K SHUMAKER                   4574 N FLETCHER RD                                                                        COVINGTON             OH 45318‐8718
MARY K SMITH                      4505 SHANKS PHALANX RD.                                                                   SOUTHINGTON           OH 44470‐9405
MARY K SMITH                      818 WABASH ST                                                                             BERNE                 IN 46711‐2069
MARY K SZANTO                     5118 OLD DUBLIN CT                                                                        DAYTON                OH 45415‐3171
MARY K TOTTEN                     2337 WILSON‐SHARPSVILLE RD                                                                CORTLAND              OH 44410‐9304
MARY K VANNELLI                   2278 HIGH ST. NW                                                                          WARREN                OH 44483
MARY K VIEGELAHN HAMLIN           CHAPTER 13 TRUSTEE               PO BOX 635268                                            CINCINNATI            OH 45263‐5268
MARY K WALMAR TTEE                MARY K WALMAR                    4912 145TH AVE SE                                        BELLEVUE              WA 98006
MARY K WOOD                       384 AFTON AVE                                                                             YOUNGSTOWN            OH 44512‐2310
MARY K WOODIE                     2042 BICKMORE AVE                                                                         DAYTON                OH 45404‐2175
MARY K YACKEL AND GARY J YACKEL   C/O GARY YACKEL                  2080 KENNELY RD                                          SAGINAW               MI 48609
MARY KABABIK                      1255 W GERMAN RD                                                                          BAY CITY              MI 48708‐9643
MARY KAESSER                      83 LOST DUTCHMAN DR                                                                       SAINT PETERS          MO 63376‐2537
MARY KAFFENBARG                   5011 WOODLAND HILLS BLVD                                                                  DAYTON                OH 45414‐4757
MARY KAKISH                       5204 STATE ROUTE 5                                                                        NEWTON FALLS          OH 44444‐9543
MARY KALAR                        677 DEWEY ST APT 312                                                                      LAPEER                MI 48446‐1747
MARY KALENICK                     23755 CLARK RD                                                                            BELLEVILLE            MI 48111‐9648
MARY KALIHER                      APT 338                          6125 14TH STREET WEST                                    BRADENTON             FL 34207‐4609
MARY KALKMAN                      10300 BRADLEY RD                                                                          FRANKENMUTH           MI 48734‐9739
MARY KALWASINSKI                  13063 OLYMPUS WAY                                                                         STRONGSVILLE          OH 44149‐3240
MARY KANCYAN                      34575 MULVEY                                                                              FRASER                MI 48026
MARY KANE                         PO BOX 253                                                                                ELWOOD                IN 46036‐0253
MARY KANIPE                       211 ATWATER ST APT 205                                                                    LAKE ORION            MI 48362‐3360
MARY KAPCIA                       3171 COVENTRY DR                                                                          WATERFORD TOWNSHIP    MI 48329‐3213
MARY KAPLENK                      1116 W DELAVAN DR                                                                         JANESVILLE            WI 53546‐5302
MARY KAPSULIS                     45 CREED CIR                                                                              CAMPBELL              OH 44405‐1249
MARY KARACZ                       40 LARKSPUR DR                                                                            MARLTON               NJ 08053‐5537
MARY KARAS                        PO BOX 7                                                                                  ATTICA                MI 48412‐0007
MARY KARBO                        14247 BLACKBURN ST                                                                        LIVONIA               MI 48154‐4246
MARY KARCHER                      3214 MILAN RD                                                                             SANDUSKY              OH 44870‐5677
MARY KARKLEL                      1381 WOLF HILL RD                                                                         CHESHIRE              CT 06410‐1750
MARY KARMAZIN                     8822 THREE CHOPT RD APT D                                                                 RICHMOND              VA 23229‐4748
MARY KARMILOVICH                  988 DALTON AVE                                                                            BALTIMORE             MD 21224‐3315
MARY KARR                         2023 S VASSAR RD                                                                          VASSAR                MI 48768‐9711
MARY KARRICK                      3725 HAWKINS RD                                                                           JACKSON               MI 49201‐9681
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Name                        Address1                       Address2            Address3         Address4         City               State Zip
MARY KARWOWSKI              4700 LAKESHIRE CT                                                                    HOWELL              MI 48843‐7899
MARY KASEM                  6172 WIREGRASS CT                                                                    GRAND BLANC         MI 48439‐2680
MARY KASMISKE               524 N WILLARD AVE                                                                    JANESVILLE          WI 53548‐2744
MARY KASPRZYK               1549 BESSINGER RD                                                                    TURNER              MI 48765‐9713
MARY KATHLEEN RODERWALD     245 KOHL AVE                                                                         LAKE BLUFF           IL 60044‐1307
MARY KATHRYN WILLIAMS       13637 HWY 93                                                                         BACONTON            GA 31716
MARY KATTLER                5191 LIBERTY LN APT B                                                                WILLOUGHBY          OH 44094‐3376
MARY KAUK                   28150 W TRAIL WAY                                                                    CALDWELL            ID 83607‐8829
MARY KAY                    112 CARDINAL LN                                                                      ALEXANDRIA          IN 46001‐8105
MARY KAY COSMETICS          8787 N STEMMONS FWY                                                                  DALLAS              TX 75247‐3702
MARY KAY FITZWATER          17 MYERS RD                                                                          NEWARK              DE 19713‐2316
MARY KAY GRAVES             8815 E 15TH ST                                                                       INDIANAPOLIS        IN 46219
MARY KAY INC                16251 DALLAS PKWY                                                                    ADDISON             TX 75001‐6801
MARY KAY INC                PO BOX 799045                                                                        DALLAS              TX 75379‐9045
MARY KAY INC                16251 DALLAS PARKWAY                                                                 DALLAS              TX 75379
MARY KAY INC.               JOHN DE LUNA                   PO BOX 799045                                         DALLAS              TX 75379‐9045
MARY KAY ROHDE              2835 SPEAR AVE                                                                       ARDSLEY             PA 19038
MARY KAY THOMPSON ‐ KELLY   5418 N GALE RD                                                                       DAVISON             MI 48423‐8913
MARY KAY, INC.              16251 DALLAS PKWY                                                                    ADDISON             TX 75001‐6801
MARY KEANE                  35 OGDEN CENTER RD                                                                   SPENCERPORT         NY 14559‐2021
MARY KEATING                2080 OAK DR                                                                          ARNOLD              MO 63010‐2422
MARY KEATING                283 LAKE DR                                                                          NOKOMIS             FL 34275‐1559
MARY KEEHN                  9664 23 MILE RD                                                                      MARION              MI 49665‐8021
MARY KEEL                   APT 2057                       1570 PASEO GRANDE                                     BULLHEAD CITY       AZ 86442‐8532
MARY KEEN                   3836 OAK HARBOR LN                                                                   INDIANAPOLIS        IN 46237‐3849
MARY KEENE                  9271 WESTCHESTER PARK CT                                                             WEST CHESTER        OH 45069‐3791
MARY KEENE                  2021 WESTLAKE DR                                                                     PLANO               TX 75075‐8509
MARY KEENE                  1316 RAMBLING RD                                                                     YPSILANTI           MI 48198‐3157
MARY KEENER                 37850 ROGERS RD                                                                      WILLOUGHBY HILLS    OH 44094‐9407
MARY KEETON                 528 LANDERS ST                                                                       MONROE              GA 30655‐3017
MARY KEFFER                 3855 E JOHN L AVE                                                                    KINGMAN             AZ 86409‐2332
MARY KEHLER                 PO BOX 9858                                                                          TRENTON             NJ 08650‐1858
MARY KEHUS                  5161 N GEORGETOWN RD                                                                 GRAND BLANC         MI 48439‐8778
MARY KEIE                   3450 ERNEST ST                                                                       SAGINAW             MI 48604‐1708
MARY KEISH                  2708 RIDGEVILLE CT                                                                   KETTERING           OH 45440‐1402
MARY KEITH                  2110 DEXTER RD                                                                       AUBURN HILLS        MI 48326‐2304
MARY KEITH                  12893 NICHOLS RD                                                                     BURT                MI 48417‐7708
MARY KELLAR                 2094 REEVES RD NE                                                                    WARREN              OH 44483‐4345
MARY KELLER                 4214 MYRTLE AVE                                                                      CINCINNATI          OH 45236‐2410
MARY KELLER                 431 OTT RD                                                                           BAY CITY            MI 48706‐9429
MARY KELLERMAN              1181 EVERETT HULL RD                                                                 CORTLAND            OH 44410‐9313
MARY KELLEY                 2087 ELDRIDGE RD                                                                     COTTONDALE          FL 32431‐6807
MARY KELLEY                 228 W FAIRMOUNT AVE                                                                  PONTIAC             MI 48340‐2740
MARY KELLY                  16869 FREELAND ST                                                                    DETROIT             MI 48235‐4060
MARY KELLY                  2826 BRIDGESTONE CIR                                                                 KOKOMO              IN 46902‐7008
MARY KELLY                  13277 IRISH RD                                                                       MILLINGTON          MI 48746‐9222
MARY KELLY                  1337 WOOD TRL                                                                        OXFORD              MI 48371‐6065
MARY KELLY                  9414 S 83RD AVE                                                                      HICKORY HILLS        IL 60457‐1926
MARY KELLY                  9 FIREBUSH RD                                                                        LEVITTOWN           PA 19056‐1813
MARY KELLY                  10209 VISCOUNT DR                                                                    SAINT LOUIS         MO 63136‐5639
MARY KELLY                  9326 ISLAND DR                                                                       GOODRICH            MI 48438‐9097
MARY KELLY                  PO BOX 579                                                                           FLINT               MI 48501‐0579
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Name              Address1                        Address2                Address3     Address4         City               State Zip
MARY KEMP         2909 W BARCELONA ST APT 1112                                                          TAMPA               FL 33629‐7445
MARY KEMPER       2012 MATTIS DR                                                                        DAYTON              OH 45439‐2614
MARY KENDRICK     912 AUTUMN GLEN WAY                                                                   DACULA              GA 30019‐4810
MARY KENNEDY      2616 OLD ELK NECK RD                                                                  NORTH EAST          MD 21901
MARY KENNEDY      369 DAWSON ST                                                                         VONORE              TN 37885‐2421
MARY KENNEDY      3424 N IRISH RD                                                                       DAVISON             MI 48423‐9501
MARY KENNEDY      4396 FAIRWOOD DR                                                                      BURTON              MI 48529‐1914
MARY KENNEDY      13304 W TOWNSEND RD                                                                   EVANSVILLE          WI 53536‐8656
MARY KENNEDY      4201 CYPRESS AVE                                                                      KANSAS CITY         MO 64130‐1535
MARY KENNEDY      2705 CEMETERY RD                                                                      GLADWIN             MI 48624‐9220
MARY KENNEDY      6350 WRECKENRIDGE RD                                                                  FLINT               MI 48532‐3233
MARY KENNEDY      1431 S WASHINGTON ST                                                                  KOKOMO              IN 46902‐6354
MARY KENNEDY      108 MOYER AVE                                                                         ALMA                MI 48801‐2443
MARY KENNEY       14746 RICHFIELD ST                                                                    LIVONIA             MI 48154‐5915
MARY KENYON       APT 12                          1220 MERTENSIA ROAD                                   FARMINGTON          NY 14425‐1021
MARY KENYON       711 53RD AVENUE DR W                                                                  BRADENTON           FL 34207‐3338
MARY KERL         6207 SHADOW RIDGE RUN                                                                 FORT WAYNE          IN 46804‐4288
MARY KERNS        173 LITTLE SHANNON RUN RD                                                             MOUNT MORRIS        PA 15349‐3328
MARY KERR         861 SHADY SHORE DR                                                                    BAY CITY            MI 48706‐1953
MARY KERRIDGE     3701 WATERLOO DR                                                                      SAGINAW             MI 48603‐2076
MARY KERRIGAN     218 N DELAWANDA AVE                                                                   MUNCIE              IN 47303‐5133
MARY KERSTEN      6575 GOLDFINCH LN                                                                     CLARKSTON           MI 48346‐2922
MARY KESLER       476 E GLASS RD                                                                        ORTONVILLE          MI 48462‐8878
MARY KESLER       PO BOX 132                      254 SOUTH MAIN STREET                                 WHEATCROFT          KY 42463‐0132
MARY KESTER       4256 E 400 S                                                                          MIDDLETOWN          IN 47356
MARY KETTERMAN    202 ROSE GARDEN WAY                                                                   RED OAK             TX 75154‐8865
MARY KETTLE       10430 WHITE HALL CT                                                                   FORT WAYNE          IN 46845‐1642
MARY KETTLE       3231 CRABAPPLE LN                                                                     JANESVILLE          WI 53548‐3226
MARY KETTNER      1427 SYCAMORE ST                                                                      WYANDOTTE           MI 48192‐5513
MARY KETVIRTIS    6648 EASTLAWN AVE                                                                     CLARKSTON           MI 48346‐2139
MARY KEUSCH       1209 WOODBINE AVE                                                                     LANSING             MI 48910‐2674
MARY KEY          MADISON TOWERS                  27777 DEQUINDRE ROAD                                  MADISON HEIGHTS     MI 48071
MARY KEYES        7124 LINDALE DR                                                                       MOUNT MORRIS        MI 48458‐9738
MARY KEYS         9321 HENDERSON RD                                                                     OTISVILLE           MI 48463‐9743
MARY KEYZER
MARY KIDD         6592 RUSTIC RIDGE TRL                                                                 GRAND BLANC        MI   48439‐4955
MARY KIDD         4815 BUTTERCUP WAY                                                                    ANDERSON           IN   46013‐1519
MARY KIDD         1469 LANDIS CIRCLE                                                                    BEL AIR            MD   21015‐8406
MARY KIELPINSKI   5292 HERNER RD                                                                        RHODES             MI   48652‐9729
MARY KIETZMAN     PO BOX 345                                                                            MEXICO             IN   46958‐0345
MARY KIKENDALL    300 KING ST APT 103                                                                   EATON RAPIDS       MI   48827‐1269
MARY KILBURN      714 LIBERTY CHURCH RD                                                                 KINGSPORT          TN   37663‐4609
MARY KILLORAN
MARY KILMER       2832 CALGARY LN                                                                       JANESVILLE         WI   53545‐0642
MARY KIMBROUGH    6082 HALF DOME DR                                                                     FONTANA            CA   92336‐5308
MARY KIME         60251 LESTER LN                                                                       COLON              MI   49040‐9717
MARY KIMM         1168 W 550 S                                                                          ANDERSON           IN   46013‐9775
MARY KINCAID      46 ESTATES DR                                                                         VILLA RICA         GA   30180‐4822
MARY KINCER       3018 BOBO SECTION RD                                                                  HAZEL GREEN        AL   35750‐8302
MARY KINDER       6670 DOLPHIN ST                                                                       DEARBORN HEIGHTS   MI   48127‐2582
MARY KINDERMAN    5634 LOWE AVE                                                                         WARREN             MI   48092‐3197
MARY KINDRED      418 LAURA CT                                                                          SPRING LAKE        NC   28390
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Name                       Address1                           Address2            Address3     Address4         City                  State Zip
MARY KING                  4037 LAS VEGAS DR                                                                    NEW PORT RICHEY        FL 34653‐5820
MARY KING                  410 E JEFFERSON ST                                                                   KOKOMO                 IN 46901‐4778
MARY KING                  3912 WALTON DR                                                                       LANSING                MI 48910‐4367
MARY KING                  348 ALBERTA ST                                                                       AUBURN HILLS           MI 48326‐1106
MARY KING                  5745 LINKSVIEW WAY                                                                   GLADWIN                MI 48624‐8125
MARY KING                  611 FLETCHER RD                                                                      ANDALUSIA              AL 36421‐2043
MARY KING                  6136 W 1550 N                                                                        ELWOOD                 IN 46036‐9144
MARY KING                  677 ESSEX ST                                                                         PLAINFIELD             NJ 07060‐2045
MARY KING                  14040 MOFFETT DR                                                                     FENTON                 MI 48430‐1424
MARY KING                  1908 EUCLID ST                                                                       LINCOLN PARK           MI 48146‐1480
MARY KING                  G3510 CONCORD ST                                                                     FLINT                  MI 48504‐6537
MARY KING                  401 S ROSEMARY ST                                                                    LANSING                MI 48917
MARY KING                  3977 RUSS CT                                                                         SANTA SUSANA           CA 93063‐1048
MARY KING                  13583 DEL MAR DR                                                                     WARSAW                 MO 65355‐4719
MARY KING                  300 HUGULEY BLVD APT 102                                                             BURLESON               TX 76028‐7521
MARY KINGSLEY              PO BOX 412                                                                           INDIAN LAKE            NY 12842‐0412
MARY KINGSTON              21306 LITTLESTONE RD                                                                 HARPER WOODS           MI 48225‐2300
MARY KINLEY                PO BOX 2792                                                                          ANDERSON               IN 46018‐2792
MARY KINNEY                6129 LANSING RD                                                                      PERRY                  MI 48872‐9800
MARY KINSER                3 CORIA TRCE                                                                         HOT SPRINGS VILLAGE    AR 71909‐7417
MARY KIRK                  30742 CENTER RD                                                                      ARMINGTON               IL 61721‐9444
MARY KIRKPATRICK           15802 W CLEAR CANYON DR                                                              SURPRISE               AZ 85374‐4516
MARY KIRKUM                PO BOX 7                                                                             COMINS                 MI 48619‐0007
MARY KIRKWOOD              12800 W PARKWAY ST                                                                   DETROIT                MI 48223‐3018
MARY KIRSCHNER             1866 BONKIRK DR                                                                      DELTONA                FL 32738‐9586
MARY KIRTLEY               10 E COLLEGE AVE                                                                     BROWNSBURG             IN 46112‐1205
MARY KISBY                 500 3RD ST S APT 103                                                                 WAITE PARK             MN 56387‐2305
MARY KISZKA                612 E MAIN ST                                                                        FLUSHING               MI 48433‐2008
MARY KITAY                 412 WOODLAND RD                                                                      SYRACUSE               NY 13219‐2944
MARY KITKOWSKI             1948 S 73RD ST                                                                       WEST ALLIS             WI 53219‐1209
MARY KITTLE                510 EMERALD POINTE TRAIL                                                             MONROE                 GA 30655
MARY KITZMILLER            221 W CATOOSA CANYON DR                                                              CROSSVILLE             TN 38571‐0349
MARY KLASS                 2987 HOAGLAND BLACKSTUB RD APT B                                                     CORTLAND               OH 44410‐9186
MARY KLEIN                 2309 TAOS TRL                                                                        OKEMOS                 MI 48864‐3581
MARY KLEIN                 3342 OHARA DR                                                                        DAYTON                 OH 45434‐7301
MARY KLEINHANS             6996 PEPPER TREE CT                PINE GROVE ESTATE                                 LOCKPORT               NY 14094‐9668
MARY KLEMASZEWSKI          197 CHRISTY DR                                                                       GREENWOOD              IN 46143‐1014
MARY KLESCH‐YOUNG          1 PEACH ST                                                                           OLMSTED FALLS          OH 44138‐2954
MARY KLINE                 2506 WOODROW AVE                                                                     FLINT                  MI 48506‐3469
MARY KLINGLER              390 HILLFIELD RD                                                                     AUBURN HILLS           MI 48326‐2939
MARY KLINGSPOHN‐DANOWSKI   3578 DEERSKIN RD                                                                     PHELPS                 WI 54554‐9238
MARY KLITZMAN              17120 WAPPES RD                                                                      CHURUBUSCO             IN 46723‐9026
MARY KLOEPPEL              1112 SUNHAVEN DR APT C3                                                              SAINT LOUIS            MO 63129
MARY KLOSE                 2030 RHODE ST                                                                        SANDUSKY               OH 44870‐5055
MARY KNAPP                 2905 WOODGROVE DR                                                                    GROVE CITY             OH 43123‐3525
MARY KNESS                 82 WARGO RD                                                                          JIM THORPE             PA 18229‐3525
MARY KNIGHT                3206 E BARNHART RD                                                                   DENAIR                 CA 95316‐8501
MARY KNIGHTEN              10623 LINNELL DR                                                                     SAINT LOUIS            MO 63136‐5709
MARY KNILANS               6047 S US HIGHWAY 51                                                                 JANESVILLE             WI 53546‐9426
MARY KNIPP                 1313 FREDERICK DR                                                                    OKLAHOMA CITY          OK 73159‐5313
MARY KNISLEY               284 JAMISON RD NW                                                                    WASHINGTON COURT       OH 43160‐9509
                                                                                                                HOUSE
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Name              Address1                       Address2                 Address3    Address4         City               State Zip
MARY KNOERLE      APT 2A                         785 NEEB ROAD                                         CINCINNATI          OH 45233‐4628
MARY KNOLL        1808 E BEVENS RD                                                                     CARO                MI 48723‐8905
MARY KNORR        1201 FAIRCHILD AVENUE                                                                JOLIET               IL 60432‐1311
MARY KNOTTS       900 W CROSS ST                                                                       ANDERSON            IN 46011‐2110
MARY KNOWLES      4200 ROUND LAKE RD                                                                   LAINGSBURG          MI 48848‐9415
MARY KNOWLTON     8475 BELLA VIEW DR                                                                   FENTON              MI 48430‐9076
MARY KNOX         4 THOREAU RD                                                                         TRENTON             NJ 08690‐2117
MARY KNOX         4402 LIPPINCOTT BLVD                                                                 BURTON              MI 48519‐1158
MARY KNOX         73 SUMMER STREET EXTION                                                              WESTBOROUGH         MA 01581
MARY KNOX         8217 PEMBROKE AVE                                                                    DETROIT             MI 48221‐1159
MARY KNUCKLES     618 W YORK AVE                                                                       FLINT               MI 48505‐2032
MARY KNUDSON      701 KENWOOD AVE APT 30                                                               BELDING             MI 48809‐1467
MARY KOBRIN       11495 STAGE RD                                                                       AKRON               NY 14001‐9415
MARY KOCH         PO BOX 271                                                                           ALBANY              WI 53502‐0271
MARY KOCHANNY     2008 S SHERMAN ST                                                                    BAY CITY            MI 48708‐3817
MARY KOEHLER      416 N DEERFIELD AVE                                                                  LANSING             MI 48917‐2986
MARY KOENIG       3882 VALACAMP AVE SE                                                                 WARREN              OH 44484‐3313
MARY KOGER        23616 LONDON CR APT 1612                                                             SOUTHFIELD          MI 48033‐3320
MARY KOHLER       7100 S ABBOTT RD                                                                     HAMBURG             NY 14075‐6633
MARY KOHLER       5631 E FARROW AVE                                                                    PORT CLINTON        OH 43452‐3615
MARY KOKUBO       43 CANTERBURY TRAIL DR                                                               ROCHESTER HILLS     MI 48309‐2002
MARY KOLAKOWSKI   407 W LAKE AVE                                                                       NEW CARLISLE        OH 45344‐1727
MARY KOLEC        3932 GRAYTON ST                                                                      DETROIT             MI 48224‐4002
MARY KOMLOSI      5960 MCGUIRE ST                                                                      TAYLOR              MI 48180‐1189
MARY KONDRICH     16557 SILVERADO DR                                                                   SOUTHGATE           MI 48195‐3926
MARY KOOK         5216 HOAGLAND BLACKSTUB RD                                                           CORTLAND            OH 44410‐9519
MARY KOONTZ       2031 E DOC MITCHELL ST                                                               BLOOMINGTON         IN 47401‐9065
MARY KOPCZYK      14302 LENORE                                                                         REDFORD             MI 48239‐3347
MARY KOPCZYNSKI   98 S MEADOW DR                                                                       N TONAWANDA         NY 14120‐4823
MARY KOPICKI      15991 PHEASANT RIDGE CT                                                              MACOMB              MI 48044‐3917
MARY KORCZ        1000 WALDEN CK TRACE #24 1‐B                                                         SPRING HILL         TN 37174
MARY KORDES       STE 200                        197 WEST MARKET STREET                                WARREN              OH 44481‐1024
MARY KOSIS        203 MEADOW LN                                                                        SEWICKLEY           PA 15143‐1142
MARY KOSTIW       113 CIRCLE RD                                                                        NORTH SYRACUSE      NY 13212‐4032
MARY KOSTKA       2476 NANTUCKET HARBOR LOOP                                                           SUN CITY CENTER     FL 33573‐7128
MARY KOURI        24873 RAVEN AVE                                                                      EAST DETROIT        MI 48021‐1452
MARY KOVAC        431 TIMBER DR                                                                        TRAFFORD            PA 15085‐1207
MARY KOVACEK      840 WALTER RD                                                                        MEDINA              OH 44256‐1515
MARY KOVACH       13150 ZANE RD                                                                        LORE CITY           OH 43755‐9611
MARY KOVACS       34787 MAPLE LANE DR                                                                  STERLING HTS        MI 48312‐5220
MARY KOWALSKI     28303 FRANKLIN RD APT A219                                                           SOUTHFIELD          MI 48034‐5549
MARY KOWALYSZYN   30555 AUSTIN DR                                                                      WARREN              MI 48092‐1831
MARY KOZAR        1114 VINEWOOD AVE                                                                    WILLOW SPGS          IL 60480‐1358
MARY KOZIOL       5315 SOUTH MONITOR AVENUE                                                            CHICAGO              IL 60638‐2715
MARY KOZLOWSKI    11128 MCKINLEY ST                                                                    TAYLOR              MI 48180‐4273
MARY KOZMA        1700 CEDARWOOD DR APT 117                                                            FLUSHING            MI 48433‐3600
MARY KRAATZ       PO BOX 588                                                                           OSSIAN              IN 46777‐0588
MARY KRAFT        8207 MCCLURG RD                                                                      HONEOYE             NY 14471‐9762
MARY KRAJEWSKI    16431 MILLSTONE CIR UNIT 103                                                         FORT MYERS          FL 33908‐6651
MARY KRAJEWSKI    210 CONNECTICUT ST                                                                   FORT MYERS BEACH    FL 33931‐3704
MARY KRAKOWIAK    53 LENNON AVE                                                                        YONKERS             NY 10701‐5935
MARY KRAMER       2724 STAUFFER DR                                                                     BEAVERCREEK         OH 45434‐6243
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Name               Address1                       Address2                Address3     Address4         City               State Zip
MARY KRANTZ        929 N FRENCH RD                                                                      AMHERST             NY 14228‐1978
MARY KRANZ         G6330 ORIOLE DR                                                                      FLINT               MI 48506
MARY KRANZ         1929 11 MILE RD                C/O E KIRKER KRANZ                                    AUBURN              MI 48611‐9731
MARY KRASZEWSKI    8974 W SCENIC LAKE DR                                                                LAINGSBURG          MI 48848‐8789
MARY KRATZ         7516 LAWRENCE RD                                                                     BALTIMORE           MD 21222‐3112
MARY KRAUSE        2154 CALIFORNIA AVE                                                                  SAGINAW             MI 48601‐5304
MARY KRAVARIK      20 BETSY ROSS DR                                                                     FREEHOLD            NJ 07728‐1378
MARY KRENZ         2955 MIDLAND RD                                                                      SAGINAW             MI 48603‐2775
MARY KREPAK        9804 AMBERTON PKWY                                                                   DALLAS              TX 75243‐2016
MARY KRESKO        PO BOX 664 US #130                                                                   BORDENTOWN          NJ 08505
MARY KRICHBAUM     721 N THOMAN ST                                                                      CRESTLINE           OH 44827‐1046
MARY KRIEG         835 CLUB HILLS DR                                                                    EUSTIS              FL 32726‐5236
MARY KRING         6124 CHERI LYNNE DR                                                                  DAYTON              OH 45415‐2106
MARY KRISANDA      6 10TH AVE                                                                           ROEBLING            NJ 08554‐1508
MARY KRISH         2271 S VASSAR RD                                                                     DAVISON             MI 48423‐2301
MARY KRISHER       1165 ELLSWORTH BAILEY RD SW                                                          WARREN              OH 44481‐9778
MARY KRIST         9009 N BRAY RD                                                                       CLIO                MI 48420‐9779
MARY KRISTOFF      926 SANDCREST DR                                                                     PORT ORANGE         FL 32127‐4823
MARY KRISTOFF      7899 FREEDOM RD                                                                      WINDHAM             OH 44288‐9738
MARY KRNEL         8741 WILD FLOWER WAY                                                                 MENTOR              OH 44060‐1572
MARY KROL          177 HORNERTOWN RD                                                                    SCOTTDALE           PA 15683‐2605
MARY KROPP         1758 S MT NEBO RD                                                                    MARTINSVILLE        IN 46151‐6191
MARY KRSTEVICH     47436 ARBOR TRL                                                                      NORTHVILLE          MI 48168‐8500
MARY KRUG          8309 INWOOD AVE                                                                      DAYTON              OH 45415‐1620
MARY KRUPA         3706 SHERRY DR                                                                       FLINT               MI 48506‐2684
MARY KRUPANSKY     62072 YORKTOWN DR UNIT 3                                                             SOUTH LYON          MI 48178‐1714
MARY KRUPP         3214 LAUREUMONT LANE                                                                 KATY                TX 77494‐4537
MARY KRYSTOSIAK    100 MUIRFIELD RD APT 220                                                             JACKSON             NJ 08527‐2594
MARY KRZYWICKI     808 ADOBE DR                                                                         SANTA ROSA          CA 95404‐2707
MARY KUBIAK        79 OLIVER ST                                                                         LOCKPORT            NY 14094‐4615
MARY KUBIRA        16661 W 145TH PL                                                                     LOCKPORT             IL 60441‐2339
MARY KUBITSKEY     576 PARK ST                                                                          BIRMINGHAM          MI 48009‐3425
MARY KUCHLER       4091 GEVALIA DR                                                                      BROOKSVILLE         FL 34604‐5805
MARY KUCIC         6443 CLARENDON HILLS RD        UNIT 209 L                                            WILLOWBROOK          IL 60527
MARY KUDYBA        8944 ALTURA DR NE                                                                    WARREN              OH 44484‐1730
MARY KUEHNE        1242 BADGER ST                                                                       JANESVILLE          WI 53545‐1802
MARY KUGLER        55 HI POINT DR                                                                       LOCKPORT            NY 14094‐5008
MARY KUKAN         5016 BLUFF ST                                                                        PITTSBURGH          PA 15236‐2254
MARY KUKLENSKI     3039 N 100 W                                                                         ANDERSON            IN 46011‐9516
MARY KULESKY       4 BEAVER ST                                                                          HULMEVILLE          PA 19047‐5545
MARY KUNA          6287 GREEN VIEW CIR #101                                                             SARASOTA            FL 34231‐8205
MARY KUNTZ         PO BOX 84                                                                            BRYANT               IL 61519‐0084
MARY KURECKA       5809 THISTLE DR                                                                      SAGINAW             MI 48638‐4365
MARY KURISCAK      253 EDWARD ST                                                                        N TONAWANDA         NY 14120‐4025
MARY KURTZ         PO BOX 215                                                                           LAKE HAVASU CITY    AZ 86405‐0215
MARY KURTZ         2352 WILLIAMS RD                                                                     CORTLAND            OH 44410‐9307
MARY KURTZ         PO BOX 9022                    C/O ADAM OPEL (33‐02)                                 WARREN              MI 48090‐9022
MARY KURZ          12314 E YATES CENTER RD                                                              LYNDONVILLE         NY 14098‐9680
MARY KUSOWSKI      1047 N FROST DR                                                                      SAGINAW             MI 48638‐5451
MARY KUZMA         S2517 FOUR ROD RD                                                                    EAST AURORA         NY 14052
MARY KWIATKOWSKI   90 EAGLE ST                                                                          LYNDONVILLE         NY 14098‐9764
MARY KYRIAKIDES    960 SPENCE ST                                                                        PONTIAC             MI 48340‐3061
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Name                                 Address1                         Address2                    Address3              Address4         City            State Zip
MARY KYSER                           11048 KASTEEL CT                                                                                    CLIO             MI 48420‐2314
MARY L ABO‐KURSHIEN                  1385 CONWAY ST                                                                                      FLINT            MI 48532‐4308
MARY L ALEXANDER                     1241 E YORK AVE                                                                                     FLINT            MI 48505‐2334
MARY L ALLEN                         89 JERICHO RD                                                                                       SALEM            NJ 08079‐3120
MARY L ALLEY                         141 N. BROWNSCHOOL RD.                                                                              VANDALIA         OH 45377‐2840
MARY L ALTHOUSE                      993 BON AIR DR.                                                                                     SHARON           PA 16146
MARY L AMATO                         PO BOX 24                                                                                           W FARMINGTON     OH 44491
MARY L ANDERSON                      PO BOX 336                                                                                          MOUNT MORRIS     MI 48458‐0336
MARY L ANDERSON                      1208 WELCH BLVD                                                                                     FLINT            MI 48504‐7349
MARY L ANDERSON                      5893 KLAM RD                                                                                        COLUMBIAVILLE    MI 48421‐9342
MARY L ANDERSON‐JONES                OFC                              366 PARADISE ISLAND DRIVE                                          DEFUNIAK SPGS    FL 32433‐7191
MARY L BAKER                         1522 GRANGE HALL RD                                                                                 BEAVERCREEK      OH 45432‐2049
MARY L BANNISTER                     11354 APPLETON                                                                                      REDFORD          MI 48239‐1442
MARY L BARINKA‐FEATHERS              3218 ONONDAGA AVE                                                                                   KALAMAZOO        MI 49004‐1684
MARY L BARTO                         3759 BRADLEY‐BROWNLEE RD.                                                                           CORTLAND         OH 44410‐9732
MARY L BEAGLE                        5893 KLAM RD                                                                                        COLUMBIAVILLE    MI 48421‐9342
MARY L BENNETT                       3401 NATHAN CIR                                                                                     SHREVEPORT       LA 71108‐5343
MARY L BLANKENSHIP                   351 KIRKWOOD DR                                                                                     VANDALIA         OH 45377‐1940
MARY L BOOKER                        3 FERNRIDGE DR                                                                                      SAINT PETERS     MO 63376‐3017
MARY L BRADLEY                       34W23137 CIRCLE RIDGE RD 11                                                                         PEWAUKEE         WI 53072
MARY L BREAKFIELD                    901 PALLISTER ST APT 1406                                                                           DETROIT          MI 48202‐2677
MARY L BURGEN                        204 MATTY AVE                                                                                       SYRACUSE         NY 13211‐1633
MARY L BURKHAMMER                    3237 UNIT D PHEASANT RUN                                                                            CORTLAND         OH 44410
MARY L BUTLER                        PO BOX 131                                                                                          KILMARNOCK       VA 22482‐0131
MARY L BYRD                          15340 FIELDING ST                                                                                   DETROIT          MI 48223‐1617
MARY L CAMELIO                       161 FRISBEE HILL RD                                                                                 HILTON           NY 14468‐8962
MARY L CAMMACK                       917 GENEVA RD                                                                                       DAYTON           OH 45417‐1112
MARY L CHANDLER                      901 PALLISTER ST APT 1111                                                                           DETROIT          MI 48202‐2676
MARY L COLE                          364 EDISON                                                                                          DAYTON           OH 45407‐2509
MARY L COLLINS                       7685 STATE ROUTE 5                                                                                  RAVENNA          OH 44266‐9209
MARY L COOK                          2208 APPLETREE DR                                                                                   TROTWOOD         OH 45426
MARY L COOK                          218 W 3RD ST                                                                                        TILTON            IL 61833‐7413
MARY L CORNETT                       7200 HILL RD                                                                                        HILLSBORO        OH 45133
MARY L CURRAN                        8201 S KENTUCKY AVE                                                                                 OKLAHOMA CITY    OK 73159‐5929
MARY L CURRY                         1414 W BROADWAY ST                                                                                  KOKOMO           IN 46901‐1915
MARY L DANIEL                        4905 MIAMI SHORES DR                                                                                MORAINE          OH 45439‐1141
MARY L DAVID                         6020 LAYNE HILLS COURT                                                                              ENGLEWOOD        OH 45322
MARY L DAVIS PERSONAL REPRESENTATIVE MARY L DAVIS                     C/O BRAYTON PURCELL         222 RUSH LANDING RD                    NOVATO           CA 94948‐6169
FOR PAUL D DAVIS
MARY L DENLINGER                     1660 TABOR AVE                                                                                      DAYTON          OH   45420‐2175
MARY L DENLINGER                     1660 TABOR AVE.                                                                                     DAYTON          OH   45420‐‐ 21
MARY L DEVER                         112 ANTLER DRIVE                                                                                    INMAN           SC   29349
MARY L DICKENS                       2977 BERKLEY ST                                                                                     KETTERING       OH   45409
MARY L DILLON                        2273 N. HUBBARD RD.                                                                                 HUBBARD         OH   44425‐9614
MARY L DRAKE                         113 MITCHELL BLVD                                                                                   GADSDEN         AL   35904‐3971
MARY L DROUILLARD                    1216 4TH ST                                                                                         BAY CITY        MI   48708‐6024
MARY L DUBAJ                         RR 4 BOX 198                                                                                        NEW CASTLE      PA   16101‐9615
MARY L ECKERT                        407 PROVIDENCE ST                                                                                   DELTA           OH   43515‐1307
MARY L ELLISON                       4642 BLACKMORE RD                                                                                   LESLIE          MI   49251‐9727
MARY L ETHERINGTON                   1433 PEPPERWOOD DRIVE                                                                               NILES           OH   44446‐3542
MARY L ETTINGER                      4480 CRICKET RIDGE DR APT 104                                                                       HOLT            MI   48842‐2926
MARY L EVANS                         2102 ROBERT T LONGWAY BLVD                                                                          FLINT           MI   48503‐2122
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Name                  Address1                            Address2             Address3    Address4         City               State Zip
MARY L FREDERICKS     820 OREGON AVE                                                                        MCDONALD            OH 44437
MARY L FUGATE         5000 DENTON HWY APT 707                                                               HALTOM CITY         TX 76117‐1468
MARY L GMUTZA         24 ABBINGTON ST.                                                                      WARREN              OH 44481
MARY L GRIFFITH       238 MANSELL DR                                                                        YOUNGSTOWN          OH 44505
MARY L HARDAWAY       363 HAYWARD AVE                                                                       ROCHESTER           NY 14609
MARY L HARRIS         701 SUMMIT AVE APT 59                                                                 NILES               OH 44446‐3653
MARY L HARRIS         800 BURROUGHS AVE                                                                     MUSCLE SHOALS       AL 35661‐1804
MARY L HARRIS         PO BOX 311211                                                                         ATLANTA             GA 31131‐1211
MARY L HARRISON       6724 LAMBERT ST                                                                       INDIANAPOLIS        IN 46241‐2950
MARY L HARVEY         3951 MIDDLEHURST LN                                                                   DAYTON              OH 45406‐3437
MARY L HILDEBRAND     300 DEHOFF DR.                                                                        YOUNGSTOWN          OH 44515‐3911
MARY L HINES          4632 SAINT ANTOINE ST                                                                 DETROIT             MI 48201‐1920
MARY L HUDDLESTON     PO BOX 5323                                                                           FLINT               MI 48505‐0323
MARY L IRELAND        3662 ARK AVE                                                                          DAYTON              OH 45416‐2003
MARY L JOHNSON        11800 NASHVILLE ST                                                                    DETROIT             MI 48205
MARY L JONES          2505 HOOVER AVE                                                                       DAYTON              OH 45402‐5531
MARY L JUSTICE        1772 S W ALEGRE ST                                                                    PORT ST LUCIE       FL 34953‐1515
MARY L KAPCIA         3171 COVENTRY DR                                                                      WATERFORD           MI 48329‐3213
MARY L KERR           861 SHADY SHORE DR                                                                    BAY CITY            MI 48706‐1953
MARY L KIDD           6592 RUSTIC RIDGE TRL                                                                 GRAND BLANC         MI 48439‐4955
MARY L KLINGER &      MARY L KLINGER & ROBERT J KLINGER   3701 WOODBRIDGE DR                                HARRISBURG          PA 17110
                      JTWROS
MARY L KRICHBAUM      413 PLYMOUTH AVE                                                                      SYRACUSE           NY   13211‐1538
MARY L LATTY          402 SW 21ST ST                                                                        BLUE SPRINGS       MO   64015‐4028
MARY L LEGGETT        1590 S MEADOW LN                                                                      BOLIVAR            MO   65613‐3375
MARY L LEWIS          3066 GARVIN RD.                                                                       DAYTON             OH   45405
MARY L LEWIS          PO BOX 532                                                                            CLINTON            MS   39060
MARY L LEWIS          4632 COMMINGS COURT                                                                   DAYTON             OH   45417
MARY L LINDSEY        6240 N BELSAY RD                                                                      FLINT              MI   48506‐1250
MARY L LOURO          45 JESTER ST STT                                                                      BEAR               DE   19701
MARY L MARSH          5316 COBLE ST                                                                         OKLAHOMA CITY      OK   73135‐1514
MARY L MARSH          110 BLOSSOM LN                                                                        NILES              OH   44446‐2031
MARY L MARTIN (IRA)   212 S SHERRIN AVE                                                                     LOUISVILLE         KY   40207‐3853
MARY L MATHERS        2323 LAVELLE RD                                                                       FLINT              MI   48504‐2309
MARY L MAYS           5843 TROYVILLA BLVD                                                                   DAYTON             OH   45424
MARY L MEFFORD        4183 77ND WAY N.                    LOT 47                                            SAINT PETERSBURG   FL   33709
MARY L MILLER         807 SOUTH BELLE VISTA AVE                                                             YOUNGSTOWN         OH   44509
MARY L MOMINEE        4201 REFLECTIONS DRIVE                                                                SLERLING HEIGHTS   MI   48314
MARY L MOOCHLER       8697 N STREET RD                                                                      LE ROY             NY   14482‐9122
MARY L MOORE          335 KENILWORTH AVE                                                                    TOLEDO             OH   43610‐1457
MARY L MOOREFIELD     112 WEST PINE DRIVE                                                                   LADY LAKE          FL   32159
MARY L MURRAY         5605 S JAY DR                                                                         LITTLETON          CO   80123‐3517
MARY L MYERS          1002 HAZEL AVE                                                                        ENGLEWOOD          OH   45322‐2425
MARY L NORTON         1408 5TH ST                                                                           BAY CITY           MI   48708‐6140
MARY L NUNNARI        498 WALNUT ST                                                                         LOCKPORT           NY   14094‐3112
MARY L OROZCO         1514 S NIAGARA ST                                                                     SAGINAW            MI   48602‐1338
MARY L OSBORNE        6863 OAK HILL DR.                                                                     W. FARMINGTON      OH   44491‐9755
MARY L PARISI         1675 ROOSEVELT                                                                        NILES              OH   44446‐4107
MARY L PARKER         208 DEAN DR                                                                           FARMERSVILLE       OH   45325‐1200
MARY L PARKS          6288 SQUIRE LAKE DR                                                                   FLUSHING           MI   48433‐2377
MARY L PASCUCCI       1481 JAY STREET                                                                       ROCHESTER          NY   14611‐1027
MARY L PECK           1527 BUFFALO STREET                                                                   DAYTON             OH   45432‐3244
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Name                 Address1                       Address2                    Address3   Address4         City              State Zip
MARY L PERSINO       3560 BROOKSIDE DRIVE N.W.                                                              WARREN             OH 44483‐2031
MARY L PHILLIPS      4903 BLOOMFIELD DR.                                                                    DAYTON             OH 45426
MARY L POESCHEL      803 AUTH ST                                                                            DURAND             WI 54736‐1805
MARY L PORTER        19 SHADY LN                                                                            MANSFIELD          OH 44906‐3013
MARY L POWELL        6 NATCHEZ CV                                                                           CLINTON            MS 39056
MARY L PUGH          1405 JEFFREY LN                                                                        INKSTER            MI 48141‐1505
MARY L PUTNAM        1163 NORMANDY TERRACE DR                                                               FLINT              MI 48532‐3550
MARY L RAWLS         779 FOX AVE                                                                            YPSILANTI          MI 48198‐6197
MARY L RHODES        4124 VILLAGE CREEK RD                                                                  FORT WORTH         TX 76119‐4137
MARY L RICHARDSON    52 PORTLAND CT APT 2                                                                   ROCHESTER          NY 14621‐2851
MARY L RICHARDSON    52 PORTLAND CT.                APT. 2                                                  ROCHESTER          NY 14621
MARY L ROBERTS       10 THAMES CT                                                                           FAIRFIELD GLADE    TN 38558‐6878
MARY L ROBERTS       808 W ALMA AVE                                                                         FLINT              MI 48505‐1944
MARY L ROBINSON      5908 MAPLEBROOK LN                                                                     FLINT              MI 48507‐4136
MARY L ROGERS        POST OFFICE BOX 1343                                                                   MANCHESTER         TN 37349‐1343
MARY L ROMANO        8408 MURRAY RIDGE RD                                                                   ELYRIA             OH 44035‐4749
MARY L ROONEY        202 SUMMERWOOD CT                                                                      MOSCOW MILLS       MO 63362‐1622
MARY L ROUSER        138 W TENNYSON AVE                                                                     PONTIAC            MI 48340‐2672
MARY L SCOTT         5134 IT'S IT ROAD              BOX F10                                                 CELINA             OH 45822
MARY L SHINOSKY      3117 MEANDERWOOD DR.                                                                   CANFIELD           OH 44406
MARY L SICURO        1059 BRIST CHAMP TL RD                                                                 BRISTOLVILLE       OH 44402
MARY L STEPHENS      15959 BRIDGE RD                                                                        KENT               NY 14477‐9773
MARY L STONE         1204 SENECA DR                                                                         DAYTON             OH 45407‐1617
MARY L STRAUB        9855 JOAN CIR                                                                          YPSILANTI          MI 48197‐8295
MARY L STULOCK       730 YOUNGSTOWN‐WARREN RD       SUITE 316                                               NILES              OH 44446
MARY L SULLIVAN      C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                               HOUSTON            TX 77007
                     BOUNDAS LLP
MARY L SULLIVAN      11734 EAST 450 NORTH                                                                   GREENTOWN         IN   46936‐9541
MARY L SUTTON        1156 REX AVE                                                                           FLINT             MI   48505‐1639
MARY L TAYLOR        1023 NILES CORTLAND RD SE                                                              WARREN            OH   44484
MARY L THOMPSON      2128 CADIE AVE                                                                         DAYTON            OH   45414
MARY L TIMS          PO BOX 27213                                                                           DETROIT           MI   48227‐0213
MARY L TOWNER        RR 1 BOX 253A                                                                          WEST UNION        WV   26456‐9733
MARY L TUCK          12 S. OSCEOLA                                                                          BEVERLY HILLS     FL   34465‐3650
MARY L VINCE         5295 ASHLEY CIRCLE                                                                     AUSTINTOWN        OH   44515
MARY L VOSLER        1508 5TH ST                                                                            BAY CITY          MI   48708‐6142
MARY L WALKER        1220 N ROAD NE APT 12                                                                  WARREN            OH   44483‐‐ 45
MARY L WARD          4876 VIRGINIA CIR                                                                      TUSCALOOSA        AL   35401‐6119
MARY L WASH          5057 N JENNINGS RD                                                                     FLINT             MI   48504‐1113
MARY L WAUGH         442 CENTER ST., W.                                                                     WARREN            OH   44481‐9383
MARY L WEISGARBER    2413 DELCOURT DR                                                                       DAYTON            OH   45439
MARY L WEST          1412 WOODSIDE AVE                                                                      BAY CITY          MI   48708‐5478
MARY L WHITE         512 E. KINGS #2                                                                        SHREVEPORT        LA   71104
MARY L WHITE         1705 ENOCH DR                                                                          FORT WORTH        TX   76112‐4437
MARY L WILLIAMS      200 BENT TREE TRL                                                                      BURLESON          TX   76028‐1234
MARY L WILLIAMS      7894 SEBRING DRIVE                                                                     HUBER HEIGHTS     OH   45424‐2232
MARY L WILLIAMSON    8322 STONY CREEK RD                                                                    YPSILANTI         MI   48197‐6612
MARY L WINGARD       7628 PEGOTTY DR NE                                                                     WARREN            OH   44484
MARY L WYREMBELSKI   2385 CEDAR PARK DR APT 321                                                             HOLT              MI   48842‐3112
MARY L YOUNG         PO BOX 4014                                                                            FLINT             MI   48504‐0014
MARY L ZELLERS       8806 WASHINGTON COLONY DR                                                              CENTERVILLE       OH   45458
MARY L'ABBATE        28 GOLFSHIRE DR                                                                        ROCHESTER         NY   14626‐3504
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Name                  Address1                      Address2             Address3        Address4         City                 State Zip
MARY L. WENTZEL       1382 NEWTOWN‐LANGHORNE RD     D‐110                                                 NEWTOWN               PA 18940‐2401
MARY LA FORCE         619 RIVERSIDE AVE                                                                   DEFIANCE              OH 43512‐2842
MARY LA MONICA        9 RAMBLEWOOD DR                                                                     NORTH CHILI           NY 14514‐1007
MARY LABBATO          5234 GRAHAM DR                                                                      LYNDHURST             OH 44124‐1042
MARY LACEK            8201 W 130TH ST                                                                     N ROYALTON            OH 44133‐1003
MARY LACELLA          204 S ASPEN CT UNIT 3                                                               WARREN                OH 44484‐1066
MARY LACHAJEWSKI      8505 SHARI DR                                                                       WESTLAND              MI 48185‐1617
MARY LACKEY           182 COTTAGE ST                                                                      CAMDEN                OH 45311‐1059
MARY LACOURE          3906 CALDERWOOD DR                                                                  SHREVEPORT            LA 71119‐7107
MARY LACROSS          9308 VAN BUREN ST                                                                   SAINT HELEN           MI 48656‐9631
MARY LACY             5390 S. 450E                                                                        MIDDLETOWN            IN 47356
MARY LAFATA           2875 OAKWOOD ROAD                                                                   ORTONVILLE            MI 48462‐9763
MARY LAFRANCE         232 ROUND HILL RD                                                                   BRISTOL               CT 06010‐9022
MARY LAHEY            1721 CHURCH REAR ST                                                                 GALVESTON             TX 77550
MARY LAHIFF           34342 FOUNTAIN BLVD                                                                 WESTLAND              MI 48185‐9427
MARY LAIN             910 OWEN ST                                                                         SAGINAW               MI 48601‐2546
MARY LAIRD            1313 VERMILYA AVE                                                                   FLINT                 MI 48507‐4800
MARY LAKE             404 E LEXINGTON RD                                                                  EATON                 OH 45320‐1227
MARY LAMAR            9523 SOLOMON DR APT 814                                                             FORT WORTH            TX 76108‐5980
MARY LAMB             2166 MILLER RD                                                                      TAWAS CITY            MI 48763‐9642
MARY LAMBE            6645 DENHOFF RD               PO BOX # 223                                          KINGSTON              MI 48741‐9748
MARY LAMBERT          841 SHAWNEE RUN APT A                                                               WEST CARROLLTON       OH 45449‐3936
MARY LAMBERT          949 KATHY CIR                                                                       FLINT                 MI 48506‐5249
MARY LAMCZAK          3043 COUNTRY GREEN CT APT C                                                         FLORISSANT            MO 63033‐3834
MARY LAMKIN           2199 EDGESTONE DR                                                                   STERLING HEIGHTS      MI 48314‐3776
MARY LAND             2211 HAYES AVE                                                                      RACINE                WI 53405‐4223
MARY LAND             4436 HIDDEN BRANCH DR                                                               DOUGLASVILLE          GA 30134‐3915
MARY LANDAZZI         1504 E JARVIS AVE                                                                   HAZEL PARK            MI 48030‐1990
MARY LANDRETH         1121 WAVERLY PL                                                                     JOLIET                 IL 60435‐4555
MARY LANDSEADEL       1193 W 400 S                                                                        TIPTON                IN 46072‐8930
MARY LANE             221 EMILY LN                                                                        MAGNOLIA              DE 19962‐1876
MARY LANE             PO BOX 427                                                                          PITTSBURG             KY 40755‐0427
MARY LANE             7330 RIVER WALK DR APT J                                                            INDIANAPOLIS          IN 46214‐4659
MARY LANE             3109 YORK RD                                                                        ROCHESTER HILLS       MI 48309‐3944
MARY LANE             1111 TOM LN                                                                         MARIETTA              GA 30066‐6469
MARY LANE             8477 RONDALE DR                                                                     GRAND BLANC           MI 48439‐8009
MARY LANE ‐ POTTS     8207 S COUNTY ROAD 825 E                                                            PLAINFIELD            IN 46168‐9133
MARY LANGDON          5176 N MCKINLEY RD                                                                  FLUSHING              MI 48433‐1152
MARY LANGEVIN         379 WASHINGTON AVE                                                                  RUTHERFORD            NJ 07070‐1041
MARY LANGFORD         1618 COUNTY ROAD 384                                                                NACOGDOCHES           TX 75961‐7150
MARY LANGFORD         906 S INDIANA AVE                                                                   ALEXANDRIA            IN 46001‐2219
MARY LANGIEWICZ       23205 AVON ST                                                                       SAINT CLAIR SHORES    MI 48082‐2021
MARY LANGLEY          992 MACON KESSINGER RD                                                              MUNFORDVILLE          KY 42765‐9530
MARY LANSDOWN         638 W MARENGO AVE                                                                   FLINT                 MI 48505‐6314
MARY LAPAN            8190 MARSHALL RD              C/O ROBERT L LAPAN                                    BIRCH RUN             MI 48415‐8730
MARY LAPINSKI         18 E 46TH ST                                                                        BAYONNE               NJ 07002‐4026
MARY LAPRES‐BILBREY   7641 TOWERING PINES DR                                                              BRIGHTON              MI 48116‐5127
MARY LAREAU           416 DONALD AVE                                                                      CLAWSON               MI 48017‐2110
MARY LARFFARELLO      7124 AVALON DR                                                                      WILMINGTON            MA 01887‐1167
MARY LARGE            6451 FAR HILLS AVE            BETHANY VILLAGE                                       DAYTON                OH 45459‐2725
MARY LARIVIERE        253 PROSPECT ST                                                                     PLANTSVILLE           CT 06479‐1001
MARY LARKIN           6617 STEWART RD                                                                     CINCINNATI            OH 45236‐4105
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Name                  Address1                           Address2                   Address3   Address4         City               State Zip
MARY LARMAN           123 OHIO AVE                                                                              NILES               OH 44446‐1122
MARY LAROCK           12265 WILLARD RD                                                                          BURT                MI 48417‐2417
MARY LARR             1041 HEDDING JACKSONVILLE RD                                                              BORDENTOWN          NJ 08505‐4108
MARY LARRABEE         130 GILLCREST DR                                                                          ALBANY              IN 47320‐1346
MARY LARSEN           8439 CREEKRIDGE CIR                                                                       CITRUS HEIGHTS      CA 95610‐3271
MARY LARSON           6728 NORBORNE AVE                                                                         DEARBORN HTS        MI 48127‐2083
MARY LARSUEL          1661 VILLAGE PLACE CIR NE                                                                 CONYERS             GA 30012‐7109
MARY LARUFFA          250 WINDERMERE RD                                                                         LOCKPORT            NY 14094‐3434
MARY LASHUA           5537 BARMILVIAN PKWY                                                                      LEXINGTON           MI 48450‐8830
MARY LASSITER         627 N BENTALOU ST                                                                         BALTIMORE           MD 21216‐4830
MARY LASSITER         27605 S KUERSTEN RD                                                                       MONEE                IL 60449‐9113
MARY LASTER           545 MARTIN LUTHER KING JR BLVD N                                                          PONTIAC             MI 48342‐1718
MARY LATESSA          16515 GLENPOINTE DR                                                                       CLINTON TOWNSHIP    MI 48038‐3589
MARY LATIMER          1811 WADSWORTH WAY                                                                        BALTIMORE           MD 21239‐3110
MARY LATOSKI          411 S GROVER AVE LOT 64                                                                   ALMA                MI 48801‐2569
MARY LAUER            6383 BRISTOL RD                                                                           SWARTZ CREEK        MI 48473‐7920
MARY LAUGEL           716 CEDAR ST                                                                              WILLOW SPGS          IL 60480‐1508
MARY LAVAIR           114 JOEL LN                                                                               CAMILLUS            NY 13031‐1007
MARY LAVALLEE         5998 ALAN DR. #25                                                                         BRIGHTON            MI 48116
MARY LAW              3119 W 300 S                                                                              TRAFALGAR           IN 46181‐9118
MARY LAWLER           PO BOX 494                                                                                ANDERSON            IN 46015‐0494
MARY LAWRENCE         17 BARTELL PL                                                                             CLARK               NJ 07066‐2401
MARY LAWRENCE         PO BOX 431535                                                                             PONTIAC             MI 48343‐1535
MARY LAWRENCE         39485 S MCKENZIE POINT RD                                                                 DRUMMOND ISLAND     MI 49726‐9571
MARY LAWRENCE         13097 N PADDOCK RD                                                                        CAMBY               IN 46113‐8558
MARY LAWRENCE         221 MATTY AVE                                                                             MATTYDALE           NY 13211‐1632
MARY LAWS             APT 102                            204 ROMAIN ROAD                                        CARO                MI 48723‐9122
MARY LAWSON           84 MAYRE ST                                                                               JANE LEW            WV 26378‐8512
MARY LAWSON           3259 KNOXVILLE HWY                                                                        WARTBURG            TN 37887‐3017
MARY LAWSON           2943 E 100 S                                                                              ANDERSON            IN 46017‐1805
MARY LAWSON           3793 RIVERDOWNS CT                                                                        HAMILTON            OH 45011‐8022
MARY LAWSON           RR 3 BOX 485                                                                              MIDDLESBORO         KY 40965‐9465
MARY LAWSTON          6815 CRANWOOD DR                                                                          FLINT               MI 48505‐1956
MARY LAWTON           57 GREENPARK BLVD                                                                         HOMOSASSA           FL 34446‐5939
MARY LAWTON           5257 FOSTORIA ST                                                                          CUDAHY              CA 90201‐6013
MARY LAY              1485 HARRISON SCHOOL RD                                                                   SCOTTSVILLE         KY 42164‐7508
MARY LAYNE            706 PISTOL RD                                                                             OLYMPIA             KY 40358‐8521
MARY LE CLERC         3211 PARTRIDGE POINT RD                                                                   ALPENA              MI 49707‐5175
MARY LEACH            1245 SANFORD DR                                                                           DAYTON              OH 45432‐1546
MARY LEACH            2245 UNION RD SW                                                                          ATLANTA             GA 30331‐8018
MARY LEADBETTER       1694 E NORTH ST # 450                                                                     KOKOMO              IN 46901
MARY LEADER           241 WESTCHESTER AVE: PO 149                                                               VERPLANCK           NY 10596
MARY LEAKE            29477 LAUREL WOODS DR APT 202                                                             SOUTHFIELD          MI 48034‐4659
MARY LEDESMA          APT 1216                           7900 EAST PRINCESS DRIVE                               SCOTTSDALE          AZ 85255‐5862
MARY LEE              161 S CO RD ‐ 950 E                                                                       GREENTOWN           IN 46936
MARY LEE              1230 E 69TH ST                                                                            LOS ANGELES         CA 90001‐1634
MARY LEE              5202 WOODHAVEN DR                                                                         FLINT               MI 48504‐1265
MARY LEE              19197 KLINGER ST                                                                          DETROIT             MI 48234‐1760
MARY LEE              269 MEADOWVIEW DR APT 46                                                                  PERU                IN 46970‐6929
MARY LEE              PO BOX 215                                                                                THONOTOSASSA        FL 33592‐0215
MARY LEE STIEGLER     185 ASYLUM ST FL 27                                                                       HARTFORD            CT 06103‐3452
MARY LEGGAT‐HEFFNER   4689 MERRICK DR                                                                           DRYDEN              MI 48428‐9369
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Name                Address1                          Address2                     Address3   Address4         City             State Zip
MARY LEGGETT        1590 S MEADOW LN                                                                           BOLIVAR           MO 65613‐3375
MARY LEGUE          BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH 44236
MARY LEHMAN         4655 ST RT 422                                                                             SOUTHINGTON       OH 44470
MARY LEINBERGER     419 LELAND ST                                                                              FLUSHING          MI 48433‐1342
MARY LEKOWSKI IRA   3300 GREENHURST DR                                                                         WEDDINGTON        NC 28104‐0408
MARY LELAND         1888 NORTH VILLA COURT                                                                     ESSEXVILLE        MI 48732‐1830
MARY LEMASTER       3305 NEVADA DRIVE                                                                          ANDERSON          IN 46012‐5520
MARY LEMMER         8482 EVERETT WAY UNIT D                                                                    ARVADA            CO 80005‐2338
MARY LEMOND         905 BLUEBIRD CT                                                                            MOUNT JULIET      TN 37122‐7434
MARY LEMONDS        C/O MAGNOLIA MANOR                2010 WARM SPRINGS ROAD                                   COLUMBUS          GA 31904
MARY LEMPERGEL      503 PARKWAY DR                                                                             FAIRLESS HILLS    PA 19030‐3217
MARY LENHART        PO BOX 255                                                                                 PRUDENVILLE       MI 48651‐0255
MARY LENIHAN        118 OLD NIAGARA RD APT 1                                                                   LOCKPORT          NY 14094‐1520
MARY LENK           1695 S DIAMOND MILL RD                                                                     NEW LEBANON       OH 45345‐9340
MARY LENNOX         1094 HUDSON AVE                                                                            ROCHESTER         NY 14621‐3549
MARY LENTINE        343 SPRINGBROOK DR NE             # BLD2‐55                                                WARREN            OH 44484‐5029
MARY LEONARD        93 SIMPKINS DR                                                                             BRISTOL           CT 06010‐2651
MARY LEONE          2906 MOSS POINT DR                                                                         SHREVEPORT        LA 71119‐2615
MARY LEONE          6161 E LONGVIEW DR                                                                         E LANSING         MI 48823‐9738
MARY LERMA          831 MORRIS AVE                                                                             LANSING           MI 48917
MARY LESNIOWSKI     42 JUDITH DR                                                                               CHEEKTOWAGA       NY 14227‐3428
MARY LESTER         3670 GENESEE RD                                                                            LAPEER            MI 48446‐2916
MARY LESTER         34209 LAKE RD                                                                              SHAWNEE           OK 74801‐2489
MARY LESTER         240 S BROADWAY APT 20C                                                                     TARRYTOWN         NY 10591‐4526
MARY LESTER         8422 MCEWEN ROAD                                                                           DAYTON            OH 45458‐2043
MARY LETSON         678 WILLIAMS CT                                                                            MANITOU BEACH     MI 49253‐9700
MARY LEVANDOWSKI    6969 S 855 E                                                                               MIDVALE           UT 84047‐1494
MARY LEWANDOWSKI    11 LAURA CT                                                                                CHEEKTOWAGA       NY 14227‐1809
MARY LEWANDOWSKI    1506 S LINCOLN ST                                                                          BAY CITY          MI 48708‐8120
MARY LEWIS          85 CEDAR LN                                                                                BEDFORD           IN 47421‐8616
MARY LEWIS          253 LOWELL RD                                                                              XENIA             OH 45385‐2727
MARY LEWIS          4589 QUAIN RD                                                                              EMMETT            MI 48022‐2311
MARY LEWIS          203 E WILSON AVE                                                                           PONTIAC           MI 48341‐3266
MARY LEWIS          614 N GRANT ST                                                                             DANVILLE           IL 61832‐4405
MARY LEWIS          37453 FOUNTAIN PARK CIR APT 526                                                            WESTLAND          MI 48185‐5611
MARY LEWIS          1182 DUDLEY AVE                                                                            PONTIAC           MI 48342‐1929
MARY LEWIS          5037 NORTHLAND AVE                                                                         SAINT LOUIS       MO 63113‐1014
MARY LEWIS          1472 SENECA RD                                                                             N BRUNSWICK       NJ 08902‐1434
MARY LEWIS          4632 CUMMINGS CT                                                                           DAYTON            OH 45417‐1400
MARY LEWIS          189 LEATHERWOOD LAKE RD                                                                    STEWART           TN 37175‐4073
MARY LEWIS          163 WOODLAWN AVE                                                                           COLUMBUS          OH 43228‐1821
MARY LEWIS          1441 N CO RD 700 E                                                                         KOKOMO            IN 46901
MARY LEWIS          447 B J BOULEVARD                                                                          BEDFORD           IN 47421‐9142
MARY LEWIS          19205 PEARL ROAD                  310                                                      STRONGSVILLE      OH 44136
MARY LEWIS          801 S COOPER ST                                                                            KOKOMO            IN 46901‐5635
MARY LEWIS          1606 AVENUE A                                                                              FLINT             MI 48503‐1485
MARY LEWIS          8640 MACARTHUR BLVD                                                                        YPSILANTI         MI 48198‐3339
MARY LEWIS          6350 SQUIRE LAKE DR                                                                        FLUSHING          MI 48433‐2381
MARY LEWIS          7017 S SHORE DR                                                                            HOLLY             MI 48442‐8701
MARY LEWIS          412 S BURRIS ROAD                 #11 WHITE OAKS                                           FLORENCE          SC 29501
MARY LEWMAN         6910 CHAUNCEY DRIVE                                                                        INDIANAPOLIS      IN 46221‐4813
MARY LEXA           W3270 MIDDLE JUDA RD                                                                       JUDA              WI 53550‐9773
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Name               Address1                        Address2             Address3        Address4         City           State Zip
MARY LIBBY         16325 W CAIN LIBBY RD                                                                 EVANSVILLE      WI 53536‐9162
MARY LIBERT        6918 FAIRVIEW RD                                                                      YOUNGSTOWN      OH 44515‐4315
MARY LICAVOLI      3475 S MILLER RD                                                                      SAGINAW         MI 48609‐9146
MARY LIDDELL       4631 S GREGORY ST                                                                     SAGINAW         MI 48601‐6625
MARY LIDDELL       307 E ACADEMY ST                                                                      LOUISVILLE      MS 39339‐3005
MARY LIDDY         28 CANARY HILL DR                                                                     ORION           MI 48359‐1812
MARY LIEFFERS      7542 ASHLEY AVE NE                                                                    BELDING         MI 48809‐9341
MARY LIEFFERS      5949 GILLINGHAM DR              C/O J HOLLINGBECK                                     SYLVANIA        OH 43560‐1142
MARY LIHOTA        5753 N COLLEGE AVE                                                                    INDIANAPOLIS    IN 46220‐2573
MARY LIJEWSKI      1067 MIDLAND RD                                                                       BAY CITY        MI 48706‐9422
MARY LILLY         MOTLEY RICE LLC                 28 BRIDGESIDE BLVD   PO BOX 1792                      MT PLEASANT     SC 29465
MARY LIMBACH       1708 S RANDOLPH ST                                                                    INDIANAPOLIS    IN 46203‐2943
MARY LIMBAUGH      4011 E WINDSONG ST                                                                    SPRINGFIELD     MO 65809‐3536
MARY LINDEN        3924 TRUMAN ST                                                                        CONKLIN         MI 49403‐8742
MARY LINDHOLM      622 CEDAR DR                                                                          CORTLAND        OH 44410‐1326
MARY LINDSAY       2002 JAMES ST                                                                         NILES           OH 44446‐3980
MARY LINDSEY       215 N MAIN ST                                                                         LEWISBURG       OH 45338‐6707
MARY LINDSEY       6240 N BELSAY RD                                                                      FLINT           MI 48506‐1250
MARY LINDSEY       5801 SEVEN GABLES AVE                                                                 TROTWOOD        OH 45426
MARY LINDZY        4222 CLARK ST                                                                         ANDERSON        IN 46013‐2420
MARY LINEBARGER    420 PLUM ST                                                                           WESTLAND        MI 48186‐6875
MARY LINEBERRY     2007 ROLLINGSTONE DR                                                                  KOKOMO          IN 46902‐5868
MARY LINEBRINK     35624 BRUSH ST                                                                        WAYNE           MI 48184‐1604
MARY LINGLE        3851 BEEBE RD                                                                         NEWFANE         NY 14108‐9661
MARY LINSEMAN      6400 PINE KNOB RD                                                                     CLARKSTON       MI 48348‐5135
MARY LINVILLE      PO BOX 250                                                                            PECULIAR        MO 64078‐0250
MARY LITTLE        2040 LARCHMONT DR                                                                     DELAND          FL 32724‐8323
MARY LITTLE        22414 FOXCROFT ST                                                                     WOODHAVEN       MI 48183‐1466
MARY LITTLE        3015 TUMBLEWEED DR                                                                    KOKOMO          IN 46901‐7054
MARY LITZINGER     1443 STAFFORD AVE NE                                                                  WARREN          OH 44483‐4339
MARY LIVERMORE     3324 AVALON ST                                                                        LANSING         MI 48911‐1807
MARY LIVESAY       12257 MARGARET DR                                                                     FENTON          MI 48430‐8805
MARY LIVINGSTON    202 GAULT RD                                                                          DAWSON          PA 15428‐1151
MARY LIVINGSTON    1746 NW 16TH ST                                                                       NEWCASTLE       OK 73065‐5924
MARY LIVINGSTON    PO BOX 7632                                                                           ROMEOVILLE       IL 60446‐0632
MARY LLORCA        2013 COBB DR                                                                          COLUMBIA        TN 38401‐5076
MARY LLOYD         6808 WOODALE DR                                                                       WATAUGA         TX 76148‐2152
MARY LLOYD         1215 EAST COURT STREET                                                                TARPON SPGS     FL 34689‐5410
MARY LO PICCOLO    903 NIAGARA ST                                                                        BUFFALO         NY 14213‐2116
MARY LOAR‐WEST     1996 FARMBROOK CIR N                                                                  GROVE CITY      OH 43123‐9492
MARY LOASCHING     3745 N CRYSTAL SPRINGS RD                                                             JANESVILLE      WI 53545‐9691
MARY LOBODZINSKI   12474 FIELD RD                                                                        CLIO            MI 48420‐8246
MARY LOCHER        9805 FAUST DR                                                                         DEWITT          MI 48820‐7506
MARY LOCHER        7735 MACEDAY LAKE RD                                                                  WATERFORD       MI 48329‐1030
MARY LOCKE         305 STILLWATER CV                                                                     WOODSTOCK       GA 30188‐5957
MARY LOCKHART      5210 BROADWAY APT 2H                                                                  BRONX           NY 10463‐7614
MARY LOCKLIN       3700 CORDELL WYNN CIR                                                                 TUSCALOOSA      AL 35401‐5127
MARY LOCKWOOD      11836 TALLTREE DR                                                                     PLYMOUTH        MI 48170‐3724
MARY LOGAN         508 BEETHOVEN ST                                                                      MANSFIELD       OH 44902‐7013
MARY LOGAN         3740 LAWNDALE AVE                                                                     FORT WORTH      TX 76133‐2938
MARY LOGAN         16701 E 53RD ST S                                                                     INDEPENDENCE    MO 64055‐6393
MARY LOGUE         1522 SPRUCE CT                                                                        NILES           OH 44446‐3828
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Name                     Address1                          Address2                         Address3                   Address4         City                  State Zip
MARY LOHMAN              8276 DELAMATER RD                                                                                              ANGOLA                 NY 14006‐9721
MARY LOIS YOUNG          99 ROLLING OAKS DR                                                                                             HUMBOLDT               TN 38343‐8586
MARY LOKEY R             EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                               NEW HAVEN              CT 06510
                                                           265 CHURC
MARY LOKEY R ESTATE OF   EARLY LUDWICK & SWEENEY LLC       ONE CENTURY TOWER 11TH FLOOR                                                 NEW HAVEN              CT   06510
                                                           265 CHURCH STREET
MARY LOLLI               8445 E COURT ST                                                                                                DAVISON               MI    48423‐3397
MARY LOMBARDO            116 MEGAN ST                                                                                                   SPRING HILL           TN    37174‐2168
MARY LONCAR              350 CLEMENTS RD                                                                                                PITTSBURGH            PA    15239‐1402
MARY LONCAR              8311 E EMELITA AVE                                                                                             MESA                  AZ    85208‐4628
MARY LONDON              15467 WESTBROOK ST                                                                                             DETROIT               MI    48223‐1657
MARY LONERGAN            8608 LAKELAND BLVD                                                                                             FORT PIERCE           FL    34951‐1339
MARY LONG                2402 COOLIDGE HWY APT 101                                                                                      TROY                  MI    48084‐3639
MARY LONG                720 BEACH BUGGY LN                                                                                             LINDEN                MI    48451‐9663
MARY LONGENDELPHER       625 WEST MAIN STREET                                                                                           COLDWATER             OH    45828‐1610
MARY LOOS                510 FIFTH AVE #1                                                                                               OWEGO                 NY    13827
MARY LOOSVELT            384 RIDGEMONT RD                                                                                               GROSSE POINTE FARMS   MI    48236‐3136
MARY LOPEZ               3649 N PAGE AVE                                                                                                CHICAGO               IL    60634‐2016
MARY LOPEZ               169 FILLMORE PL                                                                                                BAY CITY              MI    48708‐5562
MARY LOPEZ               2719 CEDAR KEY DR                                                                                              LAKE ORION            MI    48360‐1894
MARY LOPEZ               7499 GREEN VALLEY DR                                                                                           GRAND BLANC           MI    48439‐8144
MARY LOPEZ               3998 HARLOW AVE                                                                                                ALLEN PARK            MI    48101‐3520
MARY LOPEZ               BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                                   BOSTON HTS            OH    44236
MARY LORAM               23386 DAVEY AVE                                                                                                HAZEL PARK            MI    48030‐1610
MARY LORANT              2640 DECAMP RD                                                                                                 YOUNGSTOWN            OH    44511‐1238
MARY LOSEY               5101 W M‐21                                                                                                    OWOSSO                MI    48867
MARY LOSEY               1400 RUM STILL CIR                                                                                             NICEVILLE             FL    32578‐1661
MARY LOU                 4165 IVANHOE DRIVE                APT #501                                                                     MONROEVILLE           PA    17366
MARY LOU CARR            385 MCKINLEY AVE                                                                                               MORRISVILLE           PA    19067‐2359
MARY LOU DAILEY          33 WINTHROP PL                                                                                                 DOVER                 NJ    07801
MARY LOU DREESE          BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                   BOSTON HTS.           OH    44236
MARY LOU DRUM            10500 BERGTOLD RD APT 225                                                                                      CLARENCE              NY    14031‐2151
MARY LOU IHLE            BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                   BOSTON HTS.           OH    44236
MARY LOU KERWIN          497 BRAXMAR RD                                                                                                 TONAWANDA             NY    14150‐8161
MARY LOU KRAYNAK         20 PLUM ST                                                                                                     STAFORD               PA    15777
MARY LOU LANDIS          1313 SANDTRAP DRIVE                                                                                            FT MYERS              FL    33919‐6331
MARY LOU LESTERSON       11 COUNTY ROAD 130                                                                                             WALNUT                MS    38683
MARY LOU MCELROY         PO BOX 11                                                                                                      LAGRANGE              TX    78945
MARY LOU OMALLEY         2300 PLAZA AVE NE APT 623                                                                                      WARREN                OH    44483
MARY LOU ROBERTS         10 THAMES COURT                                                                                                CROSSVILLE            TN    38558
MARY LOU ROTHE           19023 MARISA DR                                                                                                CLINTON TOWNSHIP      MI    48038‐2273
MARY LOU SABIN           18148 PORT SALEM DR                                                                                            MACOMB                MI    48044‐6115
MARY LOU SPITZ MD        1368 MILL CREEK DR                                                                                             WATERFORD             MI    48327‐3091
MARY LOU STRICKLIN       7393 N LIMA RD                                                                                                 POLAND                OH    44514‐2680
MARY LOU WINELAND        24542 DIETZ DRIVE                                                                                              BONITA SPGS           FL    34135‐7078
MARY LOU WOMMACK         299 BUNKER HILL RD                                                                                             SILEX                 MO    63377‐2445
MARY LOUDON              1220 MOUND ST                                                                                                  SALEM                 OH    44460‐3931
MARY LOUISE BAGWELL      GLASSER AND GLASSER               CROWN CENTER                     580 EAST MAIN STREET STE                    NORFOLK               VA    23510
                                                                                            600
MARY LOUISE BRUCE        2420 WHITTIER ST                                                                                               SAGINAW               MI 48601‐2449
MARY LOUISE FIORDALICE   1065 REMINGTON DR                                                                                              NORTH TONAWANDA       NY 14120‐2978
MARY LOUISE GARRETT      2920 DOW CIRCLE                                                                                                DEER PARK             TX 77536
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Name                      Address1                       Address2                      Address3   Address4         City               State Zip
MARY LOUISE GUNNOE        3808 MEADOWLARK CIR                                                                      PORT ST LUCIE       FL 34952‐3144
MARY LOUISE MORRIS TTEE   MARY L MORRIS                  3799 CADBURY CIRCLE APT 819                               VENICE              FL 34293‐5390
MARY LOURO                45 JESTER ST                                                                             BEAR                DE 19701‐4849
MARY LOVE                 512 W 22ND ST                                                                            ANDERSON            IN 46016‐4130
MARY LOVE                 HERRITAGE PLACE                3701 15TH ST                                              DETROIT             MI 48208
MARY LOVE                 1382 RUE DEAUVILLE BLVD                                                                  YPSILANTI           MI 48198‐7550
MARY LOVE GUTHRIE         PO BOX 698                                                                               NEVADA              MO 64772
MARY LOVELESS             74605 DEQUINDRE RD                                                                       LEONARD             MI 48367‐3106
MARY LOVELL               2408 BRIAR RD                                                                            ANDERSON            IN 46011‐2806
MARY LOVELY               14727 ROSE CT                                                                            WARREN              MI 48088‐3321
MARY LOVERME              7264 NASH RD                                                                             NORTH TONAWANDA     NY 14120‐1508
MARY LOWE                 167 WEBSTER CT                                                                           NEWINGTON           CT 06111‐5126
MARY LOWE                 10873 JAMIE AVE                                                                          PACOIMA             CA 91331‐1654
MARY LOWE                 275 ROSEWAE AVE                                                                          CORTLAND            OH 44410‐1237
MARY LOWE                 2811 HARWICK DR                                                                          LANSING             MI 48917‐2350
MARY LOWE                 PO BOX 391                                                                               FAIRDALE            KY 40118‐0391
MARY LOWER                2590 WILSON SHARPSVILLE RD                                                               CORTLAND            OH 44410‐9406
MARY LOWER                730 N ALLEN RD                                                                           INDEPENDENCE        MO 64050‐1404
MARY LOWERY               5675 NEIL RD                                                                             LONDON              OH 43140‐9255
MARY LOYAL                4090 HODGES BLVD APT 3508                                                                JACKSONVILLE        FL 32224‐4231
MARY LOZO                 1882 E BEAVER RD                                                                         KAWKAWLIN           MI 48631‐9122
MARY LUBERTI              22845 RENFORD ST                                                                         NOVI                MI 48375‐4530
MARY LUCAS                3901 W PEARL AVE                                                                         TAMPA               FL 33611‐3518
MARY LUCAS                59 E LAKE ST                                                                             SKANEATELES         NY 13152‐1320
MARY LUCAS                92 MOUNT VERNON RD                                                                       PLANTSVILLE         CT 06479‐1218
MARY LUCENTE              151 CENTENNIAL AVE APT B                                                                 MERIDEN             CT 06451‐3728
MARY LUCILLE CLARK        4525 HOLLEY BYRON RD           ROUTE 3                                                   HOLLEY              NY 14470‐9073
MARY LUCKE                10201 TORREY RD                                                                          FENTON              MI 48430‐9711
MARY LUCKEY               800 IRIS CIR                                                                             COLUMBIA            TN 38401‐4608
MARY LUDY                 4541 KAPP DR                                                                             HUBER HEIGHTS       OH 45424‐5920
MARY LUEDER               N714 MCINTYRE RD                                                                         FORT ATKINSON       WI 53538‐8618
MARY LUKACZYK             1023 KINNE ST                                                                            EAST SYRACUSE       NY 13057‐1732
MARY LUMMER               3533 BLOCKER DR                                                                          DAYTON              OH 45420‐1017
MARY LUMZY                136 ANITA DR                                                                             HATTIESBURG         MS 39401‐8410
MARY LUNDEBERG            1711 RANDOLPH RD                                                                         JANESVILLE          WI 53545‐0923
MARY LUNDER               120 AMY PL                                                                               CORTLAND            OH 44410‐1314
MARY LUNDY                5701 S DONNA LN                                                                          OKLAHOMA CITY       OK 73150‐4135
MARY LUNSFORD             700 MCDONOUGH ST                                                                         SAINT CHARLES       MO 63301‐2937
MARY LUPO                 1618 ALGIERS DR                                                                          MAYFIELD HTS        OH 44124‐3326
MARY LUSK                 1221 BRUNSWICK DR                                                                        BATTLE CREEK        MI 49015‐2827
MARY LUTCHKA              219 W MAIN ST                                                                            WESTVILLE            IL 61883‐1571
MARY LUTES                PO BOX 284                                                                               SILVA               MO 63964‐0284
MARY LUTES                33 HICKORY CT                                                                            DEARBORN HEIGHTS    MI 48127‐2494
MARY LUTON                32150 VENTANAS CIR                                                                       AVON LAKE           OH 44012‐1977
MARY LUTYNSKI             1087 ALLENDALE DR                                                                        SAGINAW             MI 48638‐5404
MARY LUTZ                 5325 STROEBEL RD                                                                         SAGINAW             MI 48609‐5281
MARY LUTZ                 1702 BORTON AVE                                                                          ESSEXVILLE          MI 48732‐1312
MARY LUZI                 246 RAMBLER ST                                                                           BRISTOL             CT 06010‐3326
MARY LYBERG               9741 KLAIS RD                                                                            CLARKSTON           MI 48348‐2340
MARY LYLES                1526 N KENWOOD AVE                                                                       BALTIMORE           MD 21213‐3822
MARY LYLES                209 COSBY DR                                                                             LAGRANGE            GA 30241‐1835
MARY LYMAN                PO BOX 441                                                                               LA FAYETTE          GA 30728‐0441
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Name                  Address1                       Address2            Address3         Address4         City            State Zip
MARY LYN FLEDDERMAN
MARY LYNCH            10528 INDIAN RIDGE DR                                                                FORT WAYNE      IN    46814‐9090
MARY LYNN             3003 E MEMORIAL DR                                                                   MUNCIE          IN    47302‐4759
MARY LYNN             PO BOX 380                                                                           VIENNA          OH    44473‐0380
MARY LYNN AKEY        1108 VISTA DEL MONTE PL                                                              BELEN           NM    87002
MARY LYON             8 LA CASTA CT                                                                        TOMS RIVER      NJ    08757‐5919
MARY LYONS            501 NW MOORE ST APT 112                                                              LEES SUMMIT     MO    64081‐1418
MARY LYONS            322 UNION ST                                                                         MONROE          MI    48161‐1638
MARY M ASHER          530 E PEARL ST                                                                       MIAMISBURG      OH    45342‐2356
MARY M BEARDSLEE      2601 NE 14TH ST #129                                                                 POMPANO BEACH   FL    33062‐8302
MARY M BETETTE        7 MERRYDALE DR                                                                       ROCHESTER       NY    14624‐2915
MARY M BOWER          83 CATULLO DRIVE                                                                     GUILFORD        CT    06437
MARY M CALL           2543 WALFORD                                                                         DAYTON          OH    45440‐2229
MARY M CARPENTER      2500 CRESTWELL PL                                                                    KETTERING       OH    45420‐3733
MARY M CONDINELLI     5926 TROY VILLA BOUL                                                                 DAYTON          OH    45424
MARY M CONRAD         1218 PALMETTO DRIVE                                                                  LADY LAKE       FL    32159‐2449
MARY M CROUCH         217 S WOODHAMS ST                                                                    PLAINWELL       MI    49080‐1752
MARY M DARROW         9944 REYNOLDS RD                                                                     BELLEVUE        MI    49021‐9708
MARY M DAVIS          241 BA WOOD LN                                                                       JANESVILLE      WI    53545‐0705
MARY M DAVIS          4762 MICHIGAN BLVD                                                                   YOUNGSTOWN      OH    44505‐1231
MARY M DE LUCA        2703 PARKWAY LN                                                                      VAN BUREN       AR    72956‐6931
MARY M DEPASCALE      709 CHURCHHILL ROAD                                                                  GIRARD          OH    44420‐2122
MARY M DEPIETRO       3104 MEANDERWOOD DR.                                                                 CANFIELD        OH    44406
MARY M DRAKE          20059 HEYDEN ST                                                                      DETROIT         MI    48219‐2012
MARY M FRANK          541 MISTY DR APT 7                                                                   LANCASTER       PA    17603
MARY M FRANKS         340 ORANGE DR APT 2                                                                  HERMITAGE       PA    16148‐1204
MARY M GOLDSCHMIDT    PO BOX 385                                                                           VANDALIN        OH    45377‐0385
MARY M GOLDSCHMIDT    PO BOX 122                                                                           TIPP CITY       OH    45371‐0122
MARY M GRAY           208 WEST PINE DR                                                                     PEARL           MS    39208‐5628
MARY M HAHN           909 BOULEVARD ST                                                                     SYRACUSE        NY    13211‐1806
MARY M HARDY SMITH    19 GREENKNOLL DR                                                                     BROOKFIELD      CT    06804
MARY M HARKLESS       7298 BROOKWOOD DR APT 208                                                            BROOKFIELD      OH    44403‐9707
MARY M HOWARD         2312 STORM ST                                                                        AMES             IA   50014
MARY M IRELAND        170 SUNRISE DR                                                                       PLATTSBURGH     NY    12901
MARY M JANICKO        4615 BOWES AVE                                                                       WEST MUFFLIN    PA    15122
MARY M KRUSZEWSKI     40295 PLYMOUTH RD APT 101                                                            PLYMOUTH        MI    48170‐4217
MARY M LAWLER         PO BOX 494                                                                           ANDERSON        IN    46015‐0494
MARY M MARTIN         1424 MAZDA AVE NE                                                                    WARREN          OH    44483‐3966
MARY M MASELLO        416 COOLIDGE DR                                                                      HERMITAGE       PA    16148
MARY M MCGUIRE        4028 SYLVIA LANE                                                                     YOUNGSTOWN      OH    44511
MARY M MCKEEVER       120 GLACIER AVE                                                                      YOUNGSTOWN      OH    44509‐2826
MARY M MCMAHON
MARY M MCMAHON        MARY M MCMAHON                 1515 OGDEN ST. NW                                     WASHINGTON      DC    20010
MARY M MEYERS         328 MOSLEY RD                                                                        ROCHESTER       NY    14616‐2948
MARY M MILLER         PO BOX 408                                                                           BUFFALO         NY    14207‐0408
MARY M MULLEN         2525 58TH ST NW                                                                      ROCHESTER       MN    55901
MARY M MULLINS        3624 CHARLENE DRIVE                                                                  DAYTON          OH    45432‐2204
MARY M NISONGER       3999 RAYMOND DR                                                                      ENON            OH    45323‐1424
MARY M NOVAKOWSKI     10810 SW 81 COURT RD                                                                 OCALA           FL    34481‐5718
MARY M ORWIG          828 SEVENTH ST. S.W.                                                                 WARREN          OH    44485‐4063
MARY M PATTERSON      55 LYONS LN                                                                          SACRAMENTO      KY    42372
MARY M PETERS         101 W BROAD ST                                                                       NEW HOLLAND     PA    17557
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Name                                 Address1                          Address2                   Address3                     Address4         City              State Zip
MARY M POZZUOLO                      570 CHAMBERS ST                                                                                            SPENCERPORT        NY 14559‐9725
MARY M QUINN                         408 VALLEY ROAD                                                                                            SANFORD            NC 27330
MARY M REED                          46537 ECORSE RD TRLR 11                                                                                    BELLEVILLE         MI 48111‐1100
MARY M SCHOOLEY TRUST DTD 11‐30‐1994 C/O MARY M SCHOOLEY               5801 SUN LAKES BLVD #236                                                 BANNING            CA 92220

MARY M SHAFFER                       164 WESTGATE DR                                                                                            NEWTON FALL       OH   44444
MARY M SHUMATE                       355 SOUTH PINEGROVE AVENUE                                                                                 WATERFORD         MI   48327‐2848
MARY M SIGMAN                        P.O. BOX 515                                                                                               CORTLAND          OH   44410‐‐ 05
MARY M STRAHLER                      6360 MILLBANK DRIVE                                                                                        CENTERVILLE       OH   45459‐2245
MARY M SUTPHIN                       7110 SE LILLIAN CT                                                                                         STUART            FL   34997‐2229
MARY M TAMAYO                        PO BOX 2082                                                                                                BEAUMONT          TX   77704‐2082
MARY M TREHAN                        393 PARISH AVE                                                                                             HUBBARD           OH   44425‐1958
MARY M VERMILLION                    6089 S DERBY DR                                                                                            COLUMBIA CITY     IN   46725‐9280
MARY M WHITAKER                      3603 CONNIE DR                                                                                             FRANKLIN          OH   45005
MARY M WHITE                         5741 7 GABLES AVE                                                                                          DAYTON            OH   45426
MARY M WRIGHT                        303 HAYES AVE                                                                                              MC DONALD         OH   44437‐1813
MARY MAC DONALD                      9395 WILLOWWOOD DR                                                                                         CLARENCE          NY   14031‐1229
MARY MAC INNES                       2048 HUNTINGTON AVE                                                                                        FLINT             MI   48507‐3517
MARY MAC KEEVER                      13045 PLUM LAKE DR                C/O LOIS A. MALLABER                                                     MINNEOLA          FL   34715‐6279
MARY MACCONNEL                       3604 E CEDAR LAKE DR                                                                                       GREENBUSH         MI   48738‐9720
MARY MACDONALD                       10463 RUNYAN LAKE PT                                                                                       FENTON            MI   48430‐2499
MARY MACEDO                          17123 LOS BANOS ST                                                                                         HAYWARD           CA   94541‐1033
MARY MACEK                           2911 TUXEDO AVE                                                                                            PARMA             OH   44134‐1330
MARY MACFARLAND                      233 ALPINE RD                                                                                              WEST PALM BEACH   FL   33405‐4725
MARY MACHUL                          670 W SALZBURG RD                                                                                          AUBURN            MI   48611‐9554
MARY MACIAS                          615 E MATHIAS ST                                                                                           LEIPSIC           OH   45856‐9223
MARY MACIAS                          32176 CHAMPLAIN ST                                                                                         HAYWARD           CA   94544‐8114
MARY MACIOLEK                        7480 SAINT MARYS ST                                                                                        DETROIT           MI   48228‐3657
MARY MACK                            1850 BRALY LN                                                                                              PULASKI           TN   38478‐9285
MARY MACK                            42 W CHURCH ST                                                                                             LAKE ORION        MI   48362‐3126
MARY MACK                            2897 HARTLAND CENTER RD                                                                                    COLLINS           OH   44826‐9708
MARY MACK                            PO BOX 451                                                                                                 MATTAWAN          MI   49071‐0451
MARY MACK                            2426 PHOENIX ST                                                                                            SAGINAW           MI   48601‐2463
MARY MACK                            515 ENGLEWOOD ST                                                                                           DETROIT           MI   48202‐1108
MARY MACK                            353 S EDITH ST                                                                                             PONTIAC           MI   48342‐3417
MARY MACKEY                          4223 W BALDUF RD                                                                                           PORT CLINTON      OH   43452‐9043
MARY MADDEN                          1018 DECKER ST                                                                                             FLINT             MI   48503‐4850
MARY MADDEN                          305 CONCHAL CT                                                                                             MURRELLS INLET    SC   29576‐7548
MARY MADDIFORD                       720 HANCOCK ST                                                                                             SAGINAW           MI   48602‐4227
MARY MADDOX                          590 HENDERSON AVE                                                                                          WASHINGTON        PA   15301
MARY MAEDEL                          68411 OAK ST                                                                                               RICHMOND          MI   48062‐1238
MARY MAEDER                          4481 W LAKE RD                                                                                             CLIO              MI   48420‐8829
MARY MAEGLI                          1922 SAVOY DR APT 98                                                                                       ARLINGTON         TX   76006‐6894
MARY MAES                            150 DALE AVE                                                                                               PIEDMONT          CA   94610‐1014
MARY MAGADELENE CASTLE               ATTN: ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD, PO BOX                    EAST ALTON        IL   62024
                                                                       ANGELIDES & BARNERD LLC    521
MARY MAGALLON                        4008 VERNON WAY                                                                                            KELLER            TX   76248‐7673
MARY MAGDALENE HUDSON                NIX PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                               DAINGERFIELD      TX   75638
MARY MAGER                           PO BOX 5232                                                                                                DELTONA           FL   32728‐5232
MARY MAGERS                          3571 LINDSEY RD                                                                                            LEXINGTON         OH   44904‐9717
MARY MAGERS                          5118 E TANGLEWOOD CIR                                                                                      CAVE CREEK        AZ   85331‐5120
MARY MAGIERA                         406 E JERSEY ST                                                                                            ELIZABETH         NJ   07206‐1306
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Name                Address1                        Address2                     Address3   Address4         City               State Zip
MARY MAGLIOCCA      1944 OVERLOOK AVE                                                                        YOUNGSTOWN          OH 44509‐2201
MARY MAHAFFEY       2634 N RIVER RD NE                                                                       WARREN              OH 44483‐2640
MARY MAHAN          209 N FRANKLIN ST                                                                        SAGINAW             MI 48604‐1209
MARY MAHER          6241 ASHWOOD DR N                                                                        SAGINAW             MI 48603‐1091
MARY MAHONE         77 HAMLIN RD                                                                             BUFFALO             NY 14208‐1537
MARY MAHY           1643 S LINK AVE                                                                          SPRINGFIELD         MO 65804‐1805
MARY MAIKE          10699 PEET RD                                                                            CHESANING           MI 48616‐9501
MARY MAIN           1717 SUNSET DR                                                                           KEARNEY             MO 64060‐7552
MARY MAJORS         203 HAMER RD                                                                             MICHIGAN CITY       MS 38647‐8740
MARY MALATINSKY     15136 PINEHURST DR                                                                       LANSING             MI 48906‐1325
MARY MALDONADO      1879 DIFFORD DR                                                                          NILES               OH 44446‐2802
MARY MALDONADO      1561 MOLLIE ST                                                                           YPSILANTI           MI 48198‐6596
MARY MALENCZUK      4857 GLENFIELD DR                                                                        SYRACUSE            NY 13215‐1901
MARY MALICK         PO BOX 773362                                                                            OCALA               FL 34477‐3362
MARY MALLERY        20 EASTGATE DR                                                                           MEDINA              OH 44256‐2650
MARY MALLETT        2305 BURTON ST SE APT 433                                                                GRAND RAPIDS        MI 49506‐4644
MARY MALLOY         3601 S 147TH ST APT 116                                                                  NEW BERLIN          WI 53151‐4490
MARY MALLUL         950 S GARCIA‐87                                                                          PORT ISABEL         TX 78578
MARY MALONE         491 CENTRAL AVE                                                                          PONTIAC             MI 48341‐3300
MARY MALSON         3741 SARAZEN DR                                                                          NEW PRT RCHY        FL 34655‐2027
MARY MALUSEK        10544 LAINGSBURG RD                                                                      LAINGSBURG          MI 48848‐9323
MARY MANCE          31 SOUTH WOODS DRIVE                                                                     PINE BLUFF          AR 71603
MARY MANCHESTER     2279 STATE ROUTE 11B                                                                     NORTH BANGOR        NY 12966‐1831
MARY MANCINE        183 PHEASANT RUN RD SE                                                                   WARREN              OH 44484‐2318
MARY MANDLY         14883 STATE ROUTE 249                                                                    NEY                 OH 43549‐9740
MARY MANET‐VALOS    2001 E 22ND ST                                                                           MUNCIE              IN 47302‐5469
MARY MANGINI        600 LINCOLN PARK E              CRANFORD HALL NURSING HOME                               CRANFORD            NJ 07016‐3125
MARY MANGLIERS      430 DARBEE CT                                                                            CLAWSON             MI 48017‐1425
MARY MANION         101 VERNON WOODS                                                                         LAGRANGE            GA 30240
MARY MANNA          683 ALLEGHENY DR                                                                         SUN CITY CENTER     FL 33573‐5112
MARY MANNING        35750 LITTLE MACK AVE                                                                    CLINTON TOWNSHIP    MI 48035‐2642
MARY MANNING        615 LEWIS GRINDLE RD                                                                     DAHLONEGA           GA 30533‐4237
MARY MANNING        9803 CAMDEN ST                                                                           LIVONIA             MI 48150‐3157
MARY MANNS          6504 BRANTFORD RD                                                                        DAYTON              OH 45414‐2302
MARY MANNS          410 MARQUETTE ST                                                                         FLINT               MI 48504‐7709
MARY MANOR          2195 E LABO RD                                                                           CARLETON            MI 48117‐9377
MARY MANSHIP        791 E VIA ESCUELA                                                                        PALM SPRINGS        CA 92262‐3101
MARY MANSUR         5901 SAINT JOHN AVE                                                                      KANSAS CITY         MO 64123‐1919
MARY MANUEL         411 N 6TH ST PMB 2202                                                                    EMERY               SD 57332‐2124
MARY MAPES          4313 CLINGMAN DR                                                                         SHREVEPORT          LA 71105‐3207
MARY MAR            5102 MOBILE DR                                                                           FLINT               MI 48507‐3834
MARY MARCHBANKS     1451 LAND ROAD                                                                           COLUMBUS            MS 39705‐0985
MARY MARCHELYA      4424 CENTER AVE                                                                          LYONS                IL 60534‐1922
MARY MARCHETTI      63 BACON ST                                                                              MERIDEN             CT 06451‐2919
MARY MARCHLEWICZ    2433 KOSCIUSZKO AVE                                                                      BAY CITY            MI 48708‐7610
MARY MARCIAK        PO BOX 417                                                                               FAYETTE CITY        PA 15438
MARY MARCINIAK      APT 2918                        930 JOHN R ROAD                                          TROY                MI 48083‐4325
MARY MARCINIAK      3805 HILLSDALE DR                                                                        AUBURN HILLS        MI 48326‐1889
MARY MARCINKOWSKI   916 GLEASON ST                                                                           LEHIGH ACRES        FL 33974‐0519
MARY MARCO          804 WYLIE AVE                                                                            JEANNETTE           PA 15644‐2653
MARY MARCOT         10463 SEYMOUR RD                                                                         MONTROSE            MI 48457‐9015
MARY MARCUM         713 PEREZ PL                                                                             THE VILLAGES        FL 32159‐8776
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Name                      Address1                        Address2                   Address3         Address4            City               State Zip
MARY MARFINETZ            4150 LOS ALTOS CT                                                                               NAPLES              FL 34109‐1312
MARY MARGARET TOTH TTFF   MARY MARGARET TOTH REV          LIV TRUST U/A/D 10‐19‐94   2519 PIERCE ST                       FLINT               MI 48503‐2834
MARY MARINE               4926 SW 33RD TER                                                                                FT LAUDERDALE       FL 33312‐7934
MARY MARINES              5728 HILLIARD RD                                                                                LANSING             MI 48911‐4924
MARY MARINO               122 WESTWOOD LN                                                                                 MIDDLETOWN          CT 06457‐1962
MARY MARINO               850 REYBOLD DR                                                                                  NEW CASTLE          DE 19720‐4617
MARY MARINO               42348 BAYBERRY                  PARK RIDGE CONDO                                                CLINTON TWP         MI 48038‐5047
MARY MARINO               5091 WAH‐TA‐WAH                                                                                 CLARKSTON           MI 48348
MARY MARINO               5180 PERRY RD                                                                                   GRAND BLANC         MI 48439‐1633
MARY MARKEL               76 PULASKI ST                                                                                   BUFFALO             NY 14206‐3224
MARY MARKER               2094 WASHINGTON JACKSON RD                                                                      EATON               OH 45320‐9667
MARY MARKER               4883 ORANGE TREE PL                                                                             VENICE              FL 34293‐4241
MARY MARKLEY              200 S STATE ST                                                                                  GASSAWAY            WV 26624‐1029
MARY MARKS                9911 116TH ST SW                                                                                LAKEWOOD            WA 98498‐1617
MARY MARKS                4720 SHADY HILL DR                                                                              FOREST HILL         TX 76119‐7547
MARY MARKS                123 E YOUNG ST                                                                                  CLIO                MI 48420‐1411
MARY MARPLE               1801 SAM MASON RD                                                                               BUNKER HILL         WV 25413‐3253
MARY MARQUETTE            5374 LAKESIDE DR                                                                                GREENDALE           WI 53129‐1925
MARY MARRA                216 BUNGALOW AVE                                                                                WILMINGTON          DE 19805‐5012
MARY MARRIE               1400 EDGEHILL AVE SE                                                                            WARREN              OH 44484‐4520
MARY MARRISON             5232 E BROADWAY RD LOT 201                                                                      MT PLEASANT         MI 48858‐7903
MARY MARSDEN              27 COMBERTON RD SHELDON                                                     BIRMINGHAM GREAT
                                                                                                      BRITAIN B262TE
MARY MARSH                5316 COBLE ST                                                                                   OKLAHOMA CITY      OK   73135‐1514
MARY MARSH                110 BLOSSOM LN                                                                                  NILES              OH   44446‐2031
MARY MARSHALL             17684 STAHELIN AVE                                                                              DETROIT            MI   48219‐4241
MARY MARSHALL             1149 BIT PL                                                                                     WEST CARROLLTON    OH   45449‐2115
MARY MARSHALL             19925 WESTBROOK ST                                                                              DETROIT            MI   48219‐1348
MARY MARSHALL             399 CAMP ST                                                                                     N HUNTINGDON       PA   15642‐1347
MARY MARSHALL             8253 BIG HORN CT                                                                                DAYTON             OH   45424
MARY MARSHALL             2008 EAST 26TH STREET                                                                           MUNCIE             IN   47302‐5967
MARY MARSHALL             5290 PRICE RD                                                                                   GAINESVILLE        GA   30506‐2368
MARY MARSHALL             104 PALMER DR                                                                                   MONETT             MO   65708‐2768
MARY MARSHALL             1205 HIGHLAND DR                                                                                JACKSON            MO   63755‐2721
MARY MARSHAUS             405 CARTER AVE APT 4                                                                            DEFIANCE           OH   43512‐1554
MARY MARSINKO             2103 CLEVELAND RD                                                                               SANDUSKY           OH   44870‐4404
MARY MARTIN               PO BOX 53004                                                                                    PETTISVILLE        OH   43553‐0004
MARY MARTIN               1424 MAZDA AVE NE                                                                               WARREN             OH   44483‐3966
MARY MARTIN               1224 S PENINSULA DR APT 102                                                                     DAYTONA BEACH      FL   32118‐4848
MARY MARTIN               2210 FOWLER ST                                                                                  ANDERSON           IN   46012‐3627
MARY MARTIN               PO BOX 56                                                                                       VERNON             MI   48476‐0056
MARY MARTIN               20739 COLMAN ST                                                                                 CLINTON TOWNSHIP   MI   48035‐4034
MARY MARTIN               28476 PARKWOOD ST                                                                               INKSTER            MI   48141‐1670
MARY MARTIN               8059 HILL RD                                                                                    SWARTZ CREEK       MI   48473‐7615
MARY MARTIN               14017 BELSAY RD                                                                                 MILLINGTON         MI   48746‐9215
MARY MARTIN               1577 SOUTH 200 EAST                                                                             KOKOMO             IN   46902‐4126
MARY MARTIN               8820 LOTUS DR                                                                                   HICKORY HILLS      IL   60457‐1260
MARY MARTIN               6768 SNOW APPLE DR                                                                              CLARKSTON          MI   48346‐1633
MARY MARTIN               861 SHERYL DR                                                                                   WATERFORD          MI   48328‐2368
MARY MARTIN               2140 LOVE RD                                                                                    GRAND ISLAND       NY   14072‐2534
MARY MARTIN               1133 CANTON HWY                                                                                 CUMMING            GA   30040‐7124
MARY MARTIN               1956 DENBURY DR                                                                                 BALTIMORE          MD   21222‐4601
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Name                              Address1                        Address2            Address3         Address4         City               State Zip
MARY MARTIN                       22874 STATE ROUTE P                                                                   SAINT MARY          MO 63673‐9045
MARY MARTIN                       14 NASHUA LN                                                                          MIAMISBURG          OH 45342‐3163
MARY MARTIN                       3800 SUMMIT GLEN RD                                                                   DAYTON              OH 45449‐3647
MARY MARTIN                       81 WOODRIDGE CT                                                                       WHITE LAKE          MI 48386‐1985
MARY MARTIN                       533 HAMILTON ST                                                                       MOUNT MORRIS        MI 48458‐8714
MARY MARTIN                       3525 E HANNA AVE                                                                      INDIANAPOLIS        IN 46237‐1230
MARY MARTINDALE                   44 MAUREEN WAY                                                                        BEAR                DE 19701‐6338
MARY MARTINDALE                   WILMINGTON PETTY CASH           PO BOX 1512                                           WILMINGTON          DE 19899‐1512
MARY MARTINEZ                     24341 CHRISTIAN DR                                                                    FLAT ROCK           MI 48134‐9110
MARY MARTINEZ                     15380 RYAN STREET                                                                     SYLMAR              CA 91342‐3650
MARY MARTINO                      3301 LINCOLN ST                                                                       DEARBORN            MI 48124‐3507
MARY MARX                         2557 HERMANSAU ST                                                                     SAGINAW             MI 48602‐5829
MARY MARY                         606 S 29TH ST                                                                         SAGINAW             MI 48601‐6548
MARY MASCIANGELO                  4100 N RIVER ROAD               APT#103                                               WARREN              OH 44484
MARY MASCIOLI                     44540 MATHISON DR                                                                     STERLING HEIGHTS    MI 48314‐1587
MARY MASCITTI                     553 MCHENRY RD APT 261                                                                WHEELING             IL 60090‐9239
MARY MASELLO                      416 COOLIDGE DR                                                                       HERMITAGE           PA 16148‐9317
MARY MASH                         115 JONATHAN ST APT 401                                                               HAGERSTOWN          MD 21740‐3317
MARY MASHBURN                     317 JIM BERRY RD                                                                      FRANKLIN            NC 28734‐2011
MARY MASON                        1115 THEODORE ST                                                                      LANSING             MI 48915‐2146
MARY MASON                        1714 BARBARA DR                                                                       FLINT               MI 48504‐3621
MARY MASON                        1336 PEACHWOOD DR                                                                     FLINT               MI 48507‐5637
MARY MASON                        1315 W STATE ST APT 7D                                                                TRENTON             NJ 08618‐5236
MARY MASON‐ DARRAH                10608 N CLARK AVE                                                                     ALEXANDRIA          IN 46001
MARY MASOTTO                      773 LEXINGTON DR                                                                      HERMITAGE           PA 16148‐3702
MARY MASSEY                       PO BOX 337                                                                            NEWARK              TX 76071‐0337
MARY MASSEY                       2508 E 10TH ST                                                                        ANDERSON            IN 46012‐4410
MARY MASSEY‐HALL                  162 HUGHES AVE                                                                        BUFFALO             NY 14208‐1047
MARY MASTERS                      2770 PATRICK HENRY ST APT 913                                                         AUBURN HILLS        MI 48326‐2256
MARY MASTERS                      342 S 700 E                                                                           ELWOOD              IN 46036‐8402
MARY MATHERS                      2323 LAVELLE RD                                                                       FLINT               MI 48504‐2309
MARY MATHEWS                      3071 BARKWAY DR                                                                       STERLING HEIGHTS    MI 48310‐1722
MARY MATHEWS                      4184 OLD STATE ROAD 37 N                                                              BEDFORD             IN 47421‐7437
MARY MATHEWS                      151 WATKINS PL APT 301                                                                BAD AXE             MI 48413‐1039
MARY MATHIS                       610 KIRBY PL                                                                          SHREVEPORT          LA 71104‐3120
MARY MATHIS                       561 PERSIMMON DR                                                                      SHARPSBURG          GA 30277‐4650
MARY MATIASEK                     14610 GARRETT AVE APT 343                                                             APPLE VALLEY        MN 55124‐8480
MARY MATIS                        2206 AVERY CT                                                                         SOMERSET            NJ 08873‐6089
MARY MATTHEWS                     386 MAIN ST                                                                           SAYREVILLE          NJ 08872‐1165
MARY MATTHEWS                     171 DWIGGINS RD                                                                       ELSBERRY            MO 63343‐3113
MARY MATTHEWS                     19963 FERGUSON ST                                                                     DETROIT             MI 48235‐2432
MARY MATTHEWS IOVINO AND ARTHUR   846 DUNCAN DR                                                                         WESTBURY            NY 11590
IOVINO
MARY MATTICE                      64 STATE HIGHWAY 37C                                                                  MASSENA            NY   13662‐3242
MARY MATTINGLY                    4426 LOUISE CT                                                                        GENESEE            MI   48437‐7715
MARY MATTISON FAMILY, LLC         PO BOX 852                                                                            LYNDEN             WA   98264
MARY MATTO                        463 BECADO PL                                                                         FREMONT            CA   94539
MARY MATTOX                       6612 E PICCADILLY RD                                                                  MUNCIE             IN   47303‐4547
MARY MATTSON                      903 N CEDAR LAKE RD                                                                   STANTON            MI   48888‐9579
MARY MATUSIK                      140 E TOBIAS ST                                                                       FLINT              MI   48503‐3971
MARY MATUSZEWSKI                  3516 CRANSTON AVE                                                                     WILMINGTON         DE   19808‐6105
MARY MAUCH                        5725 HAVERFORD AVE                                                                    INDIANAPOLIS       IN   46220‐2768
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Name              Address1                         Address2          Address3         Address4         City            State Zip
MARY MAULDIN      PO BOX 422                                                                           WELLSTON         OK 74881‐0422
MARY MAUS         278 CARIBOU RUN                                                                      DUNDEE           MI 48131‐9567
MARY MAUSER       3060 VALLEY FARMS RD APT 318                                                         INDIANAPOLIS     IN 46214‐1594
MARY MAXWELL      3106 AUBURN RD #A                                                                    AUBURN HILLS     MI 48326‐3216
MARY MAY          51 APPLE TREE CIR                                                                    FISHERS          IN 46038‐1111
MARY MAY          8533 CHINKAPIN CIR                                                                   CICERO           NY 13039‐7856
MARY MAY          523 PEARL ST                                                                         DEFIANCE         OH 43512‐1625
MARY MAYBERRY     7349 ULMERTON RD LOT 1377                                                            LARGO            FL 33771‐4859
MARY MAYBERRY     4207 SLATTERY RD                                                                     NORTH BRANCH     MI 48461‐8941
MARY MAYER        125 BISHOP HOLLOW RD                                                                 NEWTOWN SQ       PA 19073‐3220
MARY MAYER        44484 LARCHWOOD DR                                                                   NORTHVILLE       MI 48168‐4372
MARY MAYHEW       3421 WILDER RD                                                                       BAY CITY         MI 48706‐2363
MARY MAYNARD      1115 W MONROE ST                                                                     ALEXANDRIA       IN 46001‐8112
MARY MAYNARD      1123 N EDMONDSON AVE APT A21                                                         INDIANAPOLIS     IN 46219‐3580
MARY MAYO         3545 LIONS HEAD LN                                                                   SAGINAW          MI 48601‐7034
MARY MAYS         5843 TROY VILLA BOULEVARD                                                            DAYTON           OH 45424‐2649
MARY MAYS         22980 ROAD 148                                                                       OAKWOOD          OH 45873‐9113
MARY MAYS         PO BOX 371                                                                           NEW CARLISLE     OH 45344‐0371
MARY MAZAR        111 MINNA AVE                                                                        AVENEL           NJ 07001‐1206
MARY MAZUR        280 AVENUE C                                                                         BAYONNE          NJ 07002‐2543
MARY MAZZA        4958 STATE ROUTE 4                                                                   BELLEVUE         OH 44811‐9713
MARY MAZZANTI     2655 APT 2 SYCAMORE GLEN DRIVE                                                       SPARKS           NV 89434
MARY MAZZONE      219 S STREET EXT                                                                     BRISTOL          CT 06010‐6414
MARY MC ARTHUR    50 LEONARD AVE                                                                       LEONARDO         NJ 07737‐1556
MARY MC BREEN     19313 SURREY LN                                                                      NORTHVILLE       MI 48167‐3143
MARY MC BRIEN     300 CRESTVIEW DR                                                                     RICHMOND         MO 64085‐1113
MARY MC CANN      530 BENSON AVE                                                                       MILFORD          MI 48381‐1803
MARY MC CANS      5143 WOLF CREEK RD                                                                   SPRING CITY      TN 37381‐4845
MARY MC CARTHY    2757 JOHN WARREN DR                                                                  W BLOOMFIELD     MI 48324‐2139
MARY MC CARTY     5345 SCOTT ROAD                                                                      MOUNT MORRIS     MI 48458‐9724
MARY MC CLELLAN   820 GOLF DR APT 202                                                                  PONTIAC          MI 48341‐2368
MARY MC CLURE     2016 FOUR LAKES DR                                                                   BLANCHARD        OK 73010‐8980
MARY MC CLURE     6851 LANSING RD                                                                      PERRY            MI 48872‐8707
MARY MC COMAS     14768 LL RD                                                                          WETMORE          MI 49895‐9534
MARY MC COY       47151 HARBOUR POINTE CT                                                              BELLEVILLE       MI 48111‐1027
MARY MC COY       5123 OLD STATE RD                                                                    NORTH BRANCH     MI 48461‐9789
MARY MC CRAY      501 HICKORY STREET                                                                   BUFFALO          NY 14204‐1363
MARY MC CULLOCH   2607 STROSCHEIN RD                                                                   MONROEVILLE      PA 15146‐3010
MARY MC DANIEL    12003 S SAGINAW ST APT 1                                                             GRAND BLANC      MI 48439‐1463
MARY MC DANIEL    PO BOX 163                                                                           KEEGO HARBOR     MI 48320‐0163
MARY MC DERMOTT   6 MILL ST                                                                            MIDDLEPORT       NY 14105‐1010
MARY MC DONALD    2428 N MCKINLEY RD                                                                   FLUSHING         MI 48433‐9459
MARY MC DONALD    39899 MEMORY LN                                                                      HARRISON TWP     MI 48045‐1763
MARY MC EACHRAN   13919 DUNDEE ST                                                                      RIVERVIEW        MI 48193‐7533
MARY MC GAUGHEY   PO BOX 516                                                                           UNION LAKE       MI 48387‐0516
MARY MC GEE       6233 E POTTER RD                                                                     DAVISON          MI 48423‐9584
MARY MC GOVERN    12965 METTETAL ST                                                                    DETROIT          MI 48227‐1289
MARY MC GOWAN     1117 NORTH ST                                                                        IOLA             KS 66749‐1753
MARY MC GOWAN     14130 PINEHURST ST                                                                   DETROIT          MI 48238‐2238
MARY MC GREGOR    5005 DELBROOK AVE                                                                    LANSING          MI 48910‐5387
MARY MC HALE      14 ASHWOOD LN                                                                        BASKING RIDGE    NJ 07920‐3207
MARY MC INTOSH    1131 E CENTRAL AVE                                                                   MIAMISBURG       OH 45342‐2557
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Name               Address1                         Address2                        Address3   Address4         City                  State Zip
MARY MC INTOSH     121 STONEQUARRY RD                                                                           VANDALIA               OH 45377‐9510
MARY MC INTYRE     1744 PEPPERMILL RD                                                                           LAPEER                 MI 48446‐3246
MARY MC IVER       1545 HICKORY LEVEL RD                                                                        VILLA RICA             GA 30180‐4834
MARY MC JUNKINS    7500 CALLAGHAN RD APT 208                                                                    SAN ANTONIO            TX 78229‐2835
MARY MC KEE        528 SW 68TH ST                                                                               OKLAHOMA CITY          OK 73139‐4308
MARY MC LEAN       105 MILDRED                                                                                  BEEBE                  AR 72012‐9418
MARY MC LEMORE     739 HOLLISTER ST                                                                             PONTIAC                MI 48340‐2429
MARY MC LEOD       1497 TENNYSON DR                                                                             TEMPERANCE             MI 48182‐3206
MARY MC MAHON      6821 ARTESIA BEACH RD                                                                        SAINT HELEN            MI 48656‐9226
MARY MC MASTER     6450 HARRIETT ST.                                                                            WATERFORD              MI 48327
MARY MC MILLIAN    1121 SAM LEE RD                                                                              SCRANTON               SC 29591‐5454
MARY MC MULLEN     7617 W 158TH CT                                                                              ORLAND PARK             IL 60462‐5070
MARY MC MULLIN     70 ARDMORE RD                                                                                NEEDHAM                MA 02494‐1833
MARY MC NALL       2850 AMSDELL RD APT 7                                                                        HAMBURG                NY 14075‐7800
MARY MC NAMARA     9015 DE VICENZO CT                                                                           DESERT HOT SPRINGS     CA 92240‐1134
MARY MC OMBER      228 WOODRIDGE AVE                                                                            CHEEKTOWAGA            NY 14225‐1548
MARY MC WILLIAMS   PO BOX 813                                                                                   FRANKTON               IN 46044‐0813
MARY MCALEES       356 GOLFVIEW RD APT 508                                                                      NORTH PALM BEACH       FL 33408‐3552
MARY MCALLISTER    21443 TIMBERIDGE ST                                                                          ST CLAIR SHRS          MI 48082‐2258
MARY MCALLISTER    APT C                            21 WETZEL CIRCLE                                            CLINTON                MO 64735‐3406
MARY MCANANY       12560 N BUDD RD                                                                              BURT                   MI 48417‐9421
MARY MCANINCH      3010 E 400 S                                                                                 BRINGHURST             IN 46913‐9570
MARY MCANINCH      605 S BELL ST APT 710                                                                        KOKOMO                 IN 46901‐5567
MARY MCBEE         425 ARTHUR RD                                                                                CUMBERLAND GAP         TN 37724‐4126
MARY MCBRIDE       2979 BURLINGAME AVE SW APT 1B                                                                WYOMING                MI 49509‐2624
MARY MCCAIN        425 P ST                                                                                     BEDFORD                IN 47421‐2132
MARY MCCALISTER    629 CRESTMORE AVE                                                                            DAYTON                 OH 45417‐1535
MARY MCCALL        133 S 19TH ST                                                                                SAGINAW                MI 48601‐1442
MARY MCCALLISTER   406 THORS ST                                                                                 PONTIAC                MI 48342‐1967
MARY MCCALLUM      6060 SHORE BLVD S APT 103                                                                    GULFPORT               FL 33707
MARY MCCARTHY      124 VALLEY ST APT 8I                                                                         SLEEPY HOLLOW          NY 10591‐2872
MARY MCCARTHY      37316 VARGO ST                                                                               LIVONIA                MI 48152‐2784
MARY MCCARTY       790 HAMMES STREET BOX 1216                                                                   KANKAKEE                IL 60901
MARY MCCASKILL     PO BOX 1023                                                                                  SAGINAW                MI 48606‐1023
MARY MCCASLIN      4604 MIRROR LIGHT PL                                                                         FORT WAYNE             IN 46804‐6537
MARY MCCAULEY      1540 BROWNLEE AVE                                                                            YOUNGSTOWN             OH 44514‐1010
MARY MCCLAIN       167 POST BR                                                                                  FENTON                 MI 48430‐8602
MARY MCCLAY        4928 HICKORY WOODS TRL                                                                       DAYTON                 OH 45432‐3223
MARY MCCLELLAND    2030 LAFAYETTE ST                                                                            ANDERSON               IN 46012‐1636
MARY MCCLENNAN     7092 HIGHLAND RD BOX 163                                                                     WATERFORD              MI 48327
MARY MCCLOUD       1503 LAUREL ST                                                                               ANDERSON               IN 46016‐3348
MARY MCCLOUD       APT 1                            74 HALEY LANE                                               BUFFALO                NY 14227‐3696
MARY MCCLURE       14918 HONORE AVE                                                                             HARVEY                  IL 60426‐2007
MARY MCCOLLOUGH    784 SHERWOOD DR                                                                              JONESBORO              GA 30236‐1822
MARY MCCORD        1256 N 400 W                                                                                 MARION                 IN 46952‐9236
MARY MCCORKLE      3220 CRYSTAL SPGS                C/O DALE MCCORKLE                                           BEDFORD                TX 76021‐3921
MARY MCCOY         3150 STARLITE DR NW                                                                          WARREN                 OH 44485‐1618
MARY MCCOY         C/O SHIRLEY A WOLFENBERGER       7160 MINGO NORTH LEWISBERG RD                               NORTH LEWISBURG        OH 43060

MARY MCCOY         10006 GRAYSTONE DR                                                                           UPPER MARLBORO        MD 20772‐4745
MARY MCCOY         3000 GRAHAM RD APT 206                                                                       STOW                  OH 44224
MARY MCCOY         18900 ALSTER                                                                                 GROSSE POINTE WOODS   MI 48236
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Name              Address1                        Address2            Address3         Address4         City               State Zip
MARY MCCOY        1190 SOUTH MARYLIN STREET                                                             MARTINSVILLE        IN 46151‐2839
MARY MCCRAE       46547 DUNNELLON DR E                                                                  MACOMB              MI 48044‐3697
MARY MCCRARY      20024 STANSBURY STREET                                                                DETROIT             MI 48235‐1563
MARY MCCROCKLIN   1928 WOODBINE DR                                                                      ANDERSON            IN 46011‐2624
MARY MCCULLOUGH   12990 LULU RD                                                                         IDA                 MI 48140‐9718
MARY MCCULLOUGH   1128 WAR VALLEY RD                                                                    ROGERSVILLE         TN 37857‐5621
MARY MCCURRY      86 MARQUETTE ST                                                                       PONTIAC             MI 48342‐1526
MARY MCCUTCHEON   500 E 4TH ST APT 205                                                                  SALEM               OH 44460‐2948
MARY MCDANIEL     10567 E 1100 N                                                                        MARKLEVILLE         IN 46056‐9614
MARY MCDANIEL     3935 N MICHIGAN AVE APT 13                                                            SAGINAW             MI 48604‐1876
MARY MCDILL       5304 SANDY LK E                                                                       LITHONIA            GA 30038‐3942
MARY MCDOLE       18111 DURBIN RD                                                                       NOBLESVILLE         IN 46060
MARY MCDONALD     101 HYDE PARK                                                                         LOCKPORT            NY 14094‐4750
MARY MCDONALD     11185 MCKINLEY ROAD                                                                   MONTROSE            MI 48457‐9006
MARY MCDONNELL    3309 CONGRESS AVE                                                                     SAGINAW             MI 48602‐3109
MARY MCDOUGAL     250 N LIBERTY ST APT 203                                                              BELLEVILLE          MI 48111‐2663
MARY MCDOUGAL     24562 NAPLES DR                                                                       NOVI                MI 48374‐2980
MARY MCELFRESH    14013 S PEEBLY RD                                                                     NEWALLA             OK 74857‐9425
MARY MCELFRESH    2016 S ROSEMONT AVE                                                                   MUNCIE              IN 47302‐4751
MARY MCELFRESH    114 EXCALIBUR BLVD                                                                    TROY                MO 63379‐2539
MARY MCELROY      4146 OLD RIVERSIDE DR APT B                                                           DAYTON              OH 45405‐1427
MARY MCFADDEN     130 E DARTMOUTH ST                                                                    FLINT               MI 48505‐4955
MARY MCFALL       424 N 20TH ST                                                                         ELWOOD              IN 46036‐1607
MARY MCFARLAN     988 MANN AVE                                                                          FLINT               MI 48503‐4944
MARY MCFARLAND    4343 GREGOR ST                                                                        GENESEE             MI 48437‐7701
MARY MCFARLAND    140 BROOK DRIVE R.D.#2                                                                BROOKFIELD          OH 44403
MARY MCFARLIN     1485 BEAR CORBITT RD                                                                  BEAR                DE 19701‐1500
MARY MCFERRAN     11594 N 100 E                                                                         ALEXANDRIA          IN 46001‐9093
MARY MCGAFFICK    816 JORDAN SPRINGS RD                                                                 STEPHENSON          VA 22656‐1912
MARY MCGARY       223 N 8TH ST APT A                                                                    MAYFIELD            KY 42066‐1858
MARY MCGEE        12010 MOENART ST                                                                      DETROIT             MI 48212‐2868
MARY MCGEE        3302 COMANCHE AVE                                                                     FLINT               MI 48507‐1859
MARY MCGILL       64 SHENANGO ST                                                                        GREENVILLE          PA 16125‐2019
MARY MCGIRT       1650 MOWBRY LN                                                                        SAINT LOUIS         MO 63136‐2036
MARY MCGOWAN      1382 CRANBROOK DR                                                                     SAGINAW             MI 48638‐5468
MARY MCGUIRE      401 S VERLINDEN AVE                                                                   LANSING             MI 48915‐1154
MARY MCHALE       49740 LONDON BRIDGE DR                                                                MACOMB              MI 48044‐1898
MARY MCHENRY      916 N WESTERN AVE                                                                     MARION              IN 46952‐2506
MARY MCINERNEY    2800 SARAH CT                                                                         BAY CITY            MI 48708‐8464
MARY MCINERNEY    12807 TAMARACK DR                                                                     BURT                MI 48417‐2405
MARY MCINTOSH     940 N IROQUOIS AVE                                                                    ANAHEIM             CA 92801‐3505
MARY MCINTOSH     26024 HOFFMAN RD                                                                      DEFIANCE            OH 43512‐8934
MARY MCIVER       29 ABERDEEN RD                                                                        QUINCY              MA 02171‐1314
MARY MCKAY        1850 LARKMOOR BLVD                                                                    BERKLEY             MI 48072‐1732
MARY MCKAY        3098 COUNTY ROAD 165                                                                  MOULTON             AL 35650‐7628
MARY MCKEEVER     120 GLACIER AVE                                                                       YOUNGSTOWN          OH 44509‐2826
MARY MCKEIRNAN    9801 S BURR OAK CIR                                                                   DE SOTO             KS 66018‐9030
MARY MCKELVEY     29431 LAUREL DR                                                                       FARMINGTON HILLS    MI 48331‐2831
MARY MCKENNA      6305 NW CRYSTAL POOL DR                                                               PLATTE WOODS        MO 64151‐1559
MARY MCKENZIE     2031 SURFWOOD CIR SW                                                                  WARREN              OH 44485‐3974
MARY MCKERCHIE    7240 SMITH RD                                                                         GAINES              MI 48436‐9750
MARY MCKIM        RR 6 BOX 87                                                                           IUKA                MS 38852
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Name                   Address1                           Address2                   Address3   Address4             City               State Zip
MARY MCKINNEY          5538 NORTH FAIRMOUNT AVE                                                                      KANAS CITY          MO 64118
MARY MCKINNEY          19210 COACHWOOD CT                                                                            RIVERVIEW           MI 48193‐7890
MARY MCKNIGHT          6834 HIGHWAY 1                                                                                SHREVEPORT          LA 71107‐8754
MARY MCLAIN            902 S DIVISION ST                                                                             CAYUGA              IN 47928‐8141
MARY MCLAUGHLIN        908 W 15TH ST                                                                                 MUNCIE              IN 47302‐3064
MARY MCLAUGHLIN        10071 W RIDGE RD                                                                              ELYRIA              OH 44035‐6830
MARY MCLEAN            2210 TYRRELL RD                                                                               BANCROFT            MI 48414‐9706
MARY MCLEAN            1186 E WILLARD RD                                                                             CLIO                MI 48420‐8812
MARY MCLEARN           587 HAMILTON STREET                                                                           MOUNT MORRIS        MI 48458‐8939
MARY MCLEE             14 N HILLSIDE AVE                                                                             ELMSFORD            NY 10523‐3104
MARY MCMAHON           347 RARITAN RD                                                                                LINDEN              NJ 07036‐5136
MARY MCMAHON           7696 FM 9 S                                                                                   WASKOM              TX 75692‐6422
MARY MCMANUS           1220 BROADACRE AVE                                                                            CLAWSON             MI 48017‐1438
MARY MCNABB            295 MILAN HWY                                                                                 TRENTON             TN 38382‐9212
MARY MCNALLY           3434 MELLS RD                                                                                 DORSET              OH 44032‐9750
MARY MCNEAL            409 W JAMIESON ST                                                                             FLINT               MI 48505‐4057
MARY MCNEIL            9837 PRINCESS LN                                                                              HUDSON              FL 34667‐3855
MARY MCNEILL           300 OAKWOOD AVE APT 5L                                                                        ORANGE              NJ 07050‐3254
MARY MCNEZER           107 GOLDEN EAGLE LN                                                                           HEPHZIBAH           GA 30815‐7515
MARY MCNICHOLS         6602 JESSE JACKSON AVE                                                                        SAINT LOUIS         MO 63121‐5709
MARY MCNUTT            14653 BURR ST                                                                                 TAYLOR              MI 48180‐4505
MARY MCROBERTS         725 BIG BRUSHY RD                                                                             MOREHEAD            KY 40351‐9193
MARY MCTAGGART         6960 WENTWORTH RD                                                                             OSCODA              MI 48750‐9009
MARY MCTAGGART         APT 56                             38045 10TH STREET EAST                                     PALMDALE            CA 93550‐1939
MARY MCTARGETT         9380 OLD STATE ROAD 37 N                                                                      MARTINSVILLE        IN 46151‐7661
MARY MCVEY             APT 406                            5430 NORTH SHERIDAN ROAD                                   CHICAGO              IL 60640‐1994
MARY MEAD              9415 BIVENS RD                                                                                NASHVILLE           MI 49073‐9701
MARY MEADOR            608 STEVENS AVE                    C/O GLENDA CREWS                                           MUSCLE SHOALS       AL 35661‐3446
MARY MEADOR            3674 SANFORD DR                                                                               BRUNSWICK           OH 44212‐2645
MARY MEADORS           4240 RYANS CREEK RD                                                                           WILLIAMSBURG        KY 40769‐9536
MARY MEADOWS           607 NORTH LOCK AVENUE                                                                         LOUISA              KY 41230‐1027
MARY MEADOWS           5273 SR#303, N.W.                                                                             NEWTON FALLS        OH 44444
MARY MEADOWS           2002 POND MEADOW RD                                                                           SOMERSET            KY 42503‐2802
MARY MEADOWS           8711 SAWYER BROWN RD                                                                          NASHVILLE           TN 37221‐1415
MARY MEDEL             5414 COLE RD                                                                                  SAGINAW             MI 48601‐9760
MARY MEDER             3221 E BALDWIN RD APT 403                                                                     GRAND BLANC         MI 48439‐7357
MARY MEDINA            GERHARD‐ KOPPELMANN STR. 10        48465 SCHUETTORF
MARY MEDINA            2017 E CORNWELL ST                                                                            PHILADELPHIA        PA 19134‐3214
MARY MEDINA BANKEN     GERHARD‐KOPPELMANNSTR 10                                                 48465 SCHUETTORF
                                                                                                GERMANY
MARY MEDLEY            1621 S 49TH ST                                                                                KANSAS CITY        KS   66106‐2309
MARY MEDLEY            1649 EMERALD POINTE LN                                                                        KNOXVILLE          TN   37918‐9610
MARY MEDLIN            21808 S MAJOR RD                                                                              PECULIAR           MO   64078‐8729
MARY MEDLIN            1015 FIVE FORKS RD                                                                            HILLSVILLE         VA   24343‐3756
MARY MEDROW            9120 W HIGHLAND PARK AVE APT 346                                                              FRANKLIN           WI   53132‐8002
MARY MEEHAN            1187 ORCHARD PARK RD APT 139                                                                  WEST SENECA        NY   14224‐3962
MARY MEEKS             PO BOX 64                                                                                     PULASKI            IL   62976‐0064
MARY MEFFORD           6735 54TH AVE N LOT 71                                                                        SAINT PETERSBURG   FL   33709‐1458
MARY MEGLIN            10006 EDGEWATER DR                                                                            CLEVELAND          OH   44102‐6118
MARY MEHALYAK          8 PINEWOOD DR                                                                                 TRENTON            NJ   08690‐3346
MARY MEKRAS            904 RHODES ST NW                                                                              HARTSELLE          AL   35640‐4439
MARY MELANCON‐O'DOWD   1418 SPRINGWOOD LN                                                                            ROCHESTER HILLS    MI   48309‐2609
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Name                Address1                       Address2                     Address3   Address4         City                State Zip
MARY MELIA          2630 VIENNA ESTATES DR                                                                  DAYTON               OH 45459‐1388
MARY MELICHAR       1104 N LINDA LN                                                                         LAKE CITY            MI 49651‐9378
MARY MELLODGE       PO BOX 372                                                                              STOCKTON             NJ 08559‐0372
MARY MELLOR         977 ADAMS CASTLE DR                                                                     BLOOMFIELD HILLS     MI 48304‐3714
MARY MELTON         2619 NORTHVIEW AVE                                                                      INDIANAPOLIS         IN 46220‐3517
MARY MELTON         6402 MORTON ST                                                                          DETROIT              MI 48210‐2464
MARY MELVIN         803 4TH ST                                                                              CINCINNATI           OH 45215‐4829
MARY MENARD         721 ROBINWOOD ST                                                                        PONTIAC              MI 48340‐3141
MARY MENDEZ         533 DEER HAVEN DR                                                                       WEBSTER              NY 14580‐4068
MARY MENDYK         216 E OAK ST                                                                            SAINT CHARLES        MI 48655‐1117
MARY MENEESE        35 SEVERANCE CIR APT 517                                                                CLEVELAND HEIGHTS    OH 44118‐1517
MARY MENGES         1201 CARRIAGE DR                                                                        TECUMSEH             MI 49286‐7757
MARY MENZEL         N 8300 DEADWOOD BEACH RD                                                                FOND DU LAC          WI 54935
MARY MERCER         204 NE BRISTOL CT                                                                       LEES SUMMIT          MO 64086‐6346
MARY MERCIER        1449 BENVENUE ST                                                                        SYLVAN LAKE          MI 48320‐1715
MARY MERCK          840 E MCCARTY ST                                                                        SANDERSVILLE         GA 31082‐4779
MARY MERCURIO       1904 HAYWOOD ST                                                                         FARRELL              PA 16121‐1309
MARY MERDICH        829 DRAVIS ST                                                                           GIRARD               OH 44420‐2019
MARY MEREDITH       8256 LEE DAVIS RD                                                                       MECHANICSVILLE       VA 23111‐7003
MARY MERGUCZ        PO BOX 534                                                                              PORT AUSTIN          MI 48467‐0534
MARY MERKLE         232 S YALE AVE                                                                          ADDISON               IL 60101‐3956
MARY MERLANO        33919 OAKWOOD DR                                                                        STERLING HTS         MI 48312‐6907
MARY MERRILL        321 BEVERLY HILLS DR                                                                    YOUNGSTOWN           OH 44505‐1111
MARY MERRITT        70274 CAMPGROUND RD                                                                     BRUCE TWP            MI 48065‐4328
MARY MERSINO        1319 WOOLEY RD                                                                          OXFORD               MI 48371‐3325
MARY MERTA          PO BOX 74584                                                                            ROMULUS              MI 48174‐0584
MARY MERTZBACHER    350 69TH ST APT 6                                                                       MIAMI BEACH          FL 33141‐3122
MARY MERWIN         258 HEIGHTS RD                                                                          LAKE ORION           MI 48362‐2725
MARY MESLER         BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS       OH 44236
MARY MESSER         1765 PIPER LN APT 104                                                                   DAYTON               OH 45440‐5091
MARY MESSERLY       5475 BRISTOL PARKE DR                                                                   CLARKSTON            MI 48348‐4801
MARY MESSIER        21 STAR ST                                                                              PAWTUCKET             RI 02860
MARY METIVA         217 S FRANKLIN ST                                                                       SAGINAW              MI 48604‐1350
MARY MEYER          906 ARTHUR ST                                                                           ROCHESTER            IN 46975‐2400
MARY MEYER          PO BOX 30027                                                                            JEWELL               OH 43530‐0027
MARY MEYER          932 N 9TH ST                                                                            BREESE                IL 62230‐1355
MARY MEYERS         328 MOSLEY RD                                                                           ROCHESTER            NY 14616‐2948
MARY MEYERS         298 MURRAY ST                                                                           MERIDEN              CT 06450‐4439
MARY MEYETTE        5935 SHATTUCK RD APT 68                                                                 SAGINAW              MI 48603‐6911
MARY MICHA          116 GARWOOD DR                                                                          CANFIELD             OH 44406‐1123
MARY MICHAEL        1643 SOMERS GRATIS RD                                                                   CAMDEN               OH 45311‐8845
MARY MICHALAK       2218 OLD HIGHWAY 54                                                                     PITTSVILLE           WI 54466
MARY MICHALEC       902 STATE ST                                                                            OWOSSO               MI 48867‐4249
MARY MICHALUK       4284 HIGHCREST DR                                                                       BRIGHTON             MI 48116
MARY MICKALICH      56249 PARKVIEW DR                                                                       SHELBY TOWNSHIP      MI 48316‐1002
MARY MIDDLEBROOKS   466 KOONS AVE                                                                           BUFFALO              NY 14211‐2318
MARY MIDDLETON      478 DEFOE DR                                                                            DAYTON               OH 45431‐1907
MARY MIDDLETON      2986 MAIN ST                                                                            CALEDONIA            NY 14423‐1214
MARY MIDDLETON      1147 E 77TH TER                                                                         KANSAS CITY          MO 64131‐1940
MARY MIER           1496 W M‐55                                                                             WEST BRANCH          MI 48661
MARY MIHALEC        10131 CRABB RD                                                                          TEMPERANCE           MI 48182‐9347
MARY MIKEL          5998 STERLING CT                                                                        TIPP CITY            OH 45371‐2234
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Name              Address1                          Address2          Address3         Address4         City               State Zip
MARY MIKLAS       831 AUBURN HILLS DR UNIT B                                                            BOARDMAN            OH 44512‐7719
MARY MIKO         39785 MOUNT ELLIOTT DR                                                                CLINTON TOWNSHIP    MI 48038‐4041
MARY MIKOL        6811 TANGLEWOOD BAY DR APT 2503                                                       ORLANDO             FL 32821‐9380
MARY MIKOLOWSKI   49753 SERENITY LN                                                                     SHELBY TOWNSHIP     MI 48315‐7001
MARY MILBY        1044 LINWOOD DR                                                                       TROY                OH 45373‐1810
MARY MILES        721 W PETERS RD                                                                       WEST BRANCH         MI 48661‐9531
MARY MILES        2719 DELK CT                                                                          BALTIMORE           MD 21222‐1610
MARY MILIARD      125 ARROWHEAD RDG                                                                     HEDGESVILLE         WV 25427‐5346
MARY MILINSKI     22679 COACHLIGHT CIR                                                                  TAYLOR              MI 48180‐6380
MARY MILLAGE      6620 ROBINHOOD DR                                                                     ANDERSON            IN 46013‐9501
MARY MILLAR       678 OLDE IVY LN                                                                       HOWELL              MI 48843‐8134
MARY MILLAR
MARY MILLER       2043 TOWNHALL TER APT 6                                                               GRAND ISLAND       NY   14072‐1754
MARY MILLER       PO BOX 408                                                                            BUFFALO            NY   14207‐0408
MARY MILLER       27 ONTARIO ST 1                                                                       BUFFALO            NY   14207
MARY MILLER       30 LAFAYETTE AVE                                                                      BUFFALO            NY   14213‐1346
MARY MILLER       606 DORWOOD PARK                                                                      RANSOMVILLE        NY   14131‐9671
MARY MILLER       108 S HAZELWOOD AVE                                                                   YOUNGSTOWN         OH   44509‐2717
MARY MILLER       4331 HUNTERS CHASE LN                                                                 WOOSTER            OH   44691‐7301
MARY MILLER       1853 LONGWOOD AVE                                                                     COLUMBUS           OH   43223‐3721
MARY MILLER       60 ALEX CT                                                                            WEST CARROLLTON    OH   45449‐1906
MARY MILLER       5529 COLUMBIA DR S                                                                    FRESNO             CA   93727‐6021
MARY MILLER       56 MACKINAW CT                                                                        SAGINAW            MI   48602‐3341
MARY MILLER       37834 VIA ROSALIE ST                                                                  CLINTON TWP        MI   48036‐2973
MARY MILLER       2605 SENECA ST                                                                        FLINT              MI   48504‐7132
MARY MILLER       3095 LINDEN LN APT 410                                                                FLINT              MI   48507‐1134
MARY MILLER       5933 SARATOGA DR                                                                      OXFORD             MI   48371‐1078
MARY MILLER       265 KRATZ PL                                                                          HEMLOCK            MI   48626‐9311
MARY MILLER       118 SAVOY AVE                                                                         WEST CARROLLTON    OH   45449‐1725
MARY MILLER       PO BOX 334                                                                            LOUISVILLE         MS   39339‐0334
MARY MILLER       840 S PERU ST                                                                         CICERO             IN   46034‐9609
MARY MILLER       155 MARKET RD                                                                         TIPTON             IN   46072‐1051
MARY MILLER       2898 N MECHANICSBURG RD                                                               SHIRLEY            IN   47384‐9653
MARY MILLER       603 SAINT JOSEPH DR APT 120                                                           KOKOMO             IN   46901‐4190
MARY MILLER       11301 WEBB AVE NE                                                                     ALLIANCE           OH   44601‐1445
MARY MILLER       15756 APPOLINE ST                                                                     DETROIT            MI   48227‐4010
MARY MILLER       7253 SCARLET OAK DR                                                                   ROANOKE            VA   24019‐2134
MARY MILLER       807 S BELLE VISTA AVE                                                                 YOUNGSTOWN         OH   44509‐2141
MARY MILLER       14623 THORNLAKE AVE                                                                   NORWALK            CA   90650‐6060
MARY MILLER       2987 N BISCAYNE DR                                                                    NORTH PORT         FL   34291‐3806
MARY MILLER       5710 FARMBROOK ST                                                                     DETROIT            MI   48224‐1350
MARY MILLER       2019 KENWOOD DRIVE                                                                    FLINT              MI   48532‐4033
MARY MILLER       12362 PARKIN LN                                                                       FENTON             MI   48430‐8726
MARY MILLER       2032 NC HIGHWAY 67                                                                    JONESVILLE         NC   28642‐9143
MARY MILLER       2635 N GUNNELL RD                                                                     EATON RAPIDS       MI   48827‐9342
MARY MILLER       57 SIMEON DR                                                                          HEDGESVILLE        WV   25427‐7048
MARY MILLER       522 E PEARL ST                                                                        MIAMISBURG         OH   45342‐2356
MARY MILLER       4257 OLD CLAIRTON RD                                                                  PITTSBURGH         PA   15227‐2601
MARY MILLER       5243 COURTNEY RD                                                                      MONTROSE           MI   48457‐9612
MARY MILLER       6571 BEAVER CRK                                                                       WASHINGTON         MI   48094‐3523
MARY MILLER       309 KIMBERLY DR                                                                       COLUMBIA           TN   38401‐6909
MARY MILLICAN     327 ASTER RIDGE TRL                                                                   PEACHTREE CITY     GA   30269‐3047
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Name                   Address1                         Address2                     Address3   Address4         City               State Zip
MARY MILLS             1640 LITTLETON DR                                                                         LOUDON              TN 37774‐4716
MARY MILLS             6 SEVEN ESTATES DR                                                                        WINFIELD            MO 63389‐2508
MARY MILLS             5803 COOL HOLLOW WAY                                                                      INDIANAPOLIS        IN 46237‐7304
MARY MILLS             131 HINMAN AVE                                                                            BUFFALO             NY 14216‐1109
MARY MILLS             28 HEWARD AVE                                                                             BUFFALO             NY 14207‐1411
MARY MILLS             6702 CREEK BAY DR APT D                                                                   INDIANAPOLIS        IN 46217‐3046
MARY MILSOM            PO BOX 188                       450 MAPLE                                                WASHINGTONVILLE     OH 44490‐0188
MARY MIMS              1159 DUDLEY AVE                                                                           PONTIAC             MI 48342‐1931
MARY MIMS              2012 S WASHINGTON AVE                                                                     SAGINAW             MI 48601‐3227
MARY MINCER            4852 E HERITAGE CIR                                                                       MUNCIE              IN 47303‐2694
MARY MINCEY            518 DUNAHOO RD                                                                            WINDER              GA 30680‐3105
MARY MINK              17858 DENNIS ST                                                                           ROMULUS             MI 48174‐9679
MARY MINTER            1728 LAKEVIEW AVE                                                                         LORAIN              OH 44053‐1020
MARY MIRANDA           1750 CORTE VISTA STREET                                                                   BRENTWOOD           CA 94513‐6512
MARY MIRENDA           33321 FAIRPORT DR                                                                         AVON LAKE           OH 44012‐2377
MARY MIRENDA           22 FEDERAL CITY RD               C/O MARGARET NESTAR                                      EWING               NJ 08638‐1308
MARY MISNER            201 E LAKE ST                                                                             SAND LAKE           MI 49343‐9402
MARY MISTER            3041 EBBTIDE DR                                                                           EDGEWOOD            MD 21040‐2901
MARY MITCHELL          5204 DONCASTER AVE                                                                        JACKSONVILLE        FL 32208‐1620
MARY MITCHELL          5315 E MAPLE AVE                                                                          GRAND BLANC         MI 48439‐8626
MARY MITCHELL          214 E 37TH ST                                                                             ANDERSON            IN 46013‐4638
MARY MITCHELL          2308 S I ST                                                                               ELWOOD              IN 46036‐2562
MARY MITCHELL          2614 S KILDARE AVE                                                                        CHICAGO              IL 60623‐4345
MARY MITCHELL          48429 JOY RD                                                                              CANTON              MI 48187‐1214
MARY MITCHELL          8604 E 92ND PL                                                                            KANSAS CITY         MO 64138‐4660
MARY MITCHELL          423 N MAIN ST                                                                             TIPTON              IN 46072‐1317
MARY MITCHELL          35119 MCCULLOUGHS LEAP                                                                    ZEPHYRHILLS         FL 33541‐8312
MARY MITCHELL          PO BOX 2654                                                                               YOUNGSTOWN          OH 44507‐0654
MARY MITCHELL          PO BOX 21                                                                                 WILLIAMSBURG        IN 47393‐0021
MARY MITCHELL          150 SPANISH TRL APT D                                                                     ROCHESTER           NY 14612‐4618
MARY MITCHELL          32444 BARKLEY ST                                                                          LIVONIA             MI 48154‐3577
MARY MITCHELL          2073 MORRISH ROAD                                                                         SWARTZ CREEK        MI 48473‐9753
MARY MITCHELL          2068 PONDSVILLE KEPLER RD                                                                 SMITHS GROVE        KY 42171‐6226
MARY MITCHELL          4835 DREON CT                                                                             STERLING HEIGHTS    MI 48310‐2627
MARY MITCHELL‐TUTROW   420 WATERVIEW BLVD                                                                        GREENFIELD          IN 46140‐1368
MARY MITROFF           4308 IVY LN                      C/O YVONNE SHU                                           GLENVIEW             IL 60026‐1087
MARY MIZGALSKI         14511 COUNTRY CLUB DR                                                                     LIVONIA             MI 48154‐5140
MARY MOATS             1 OAKTREE LN APT F                                                                        WILLIAMSPORT        MD 21795‐1243
MARY MOBLEY            12216 E 49TH TER S                                                                        INDEPENDENCE        MO 64055‐5719
MARY MOBLEY            112 SHERMAN ST                                                                            DAYTON              OH 45403‐2534
MARY MOCARSKI          6 BRIAN CT                       C/O CAROL ANN GIERSCH                                    STEVENS             PA 17578‐9513
MARY MOCERI            2317 BONNIE VIEW DR                                                                       ORMOND BEACH        FL 32176‐2813
MARY MOCHTAK           18 KENNETH PL                                                                             CLARK               NJ 07066‐1721
MARY MOCK              6411 NIGHTSHADE DRIVE                                                                     INDIANAPOLIS        IN 46237‐4465
MARY MODE              PO BOX 2793                                                                               NAPA                CA 94558‐0279
MARY MOEBIUS           3353 PHILLIP AVE                                                                          FLINT               MI 48507‐3302
MARY MOFFETT           524 E 11TH ST                                                                             LAUREL              MS 39440‐3102
MARY MOHR              1725 VERMONT ST                                                                           SAGINAW             MI 48602‐1745
MARY MOHR              BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MARY MOLASCON          12771 TECUMSEH                                                                            DETROIT             MI 48239‐2740
MARY MOLLOY            23018 LAMBRECHT AVE                                                                       EAST DETROIT        MI 48021‐1865
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Name                Address1                       Address2             Address3        Address4         City               State Zip
MARY MOLLOY         793 DUKE PLZ                                                                         WASHINGTON COURT    OH 43160‐2303
                                                                                                         HOUSE
MARY MOLNER         9020 E CEDAR WAXWING DR                                                              SUN LAKES          AZ   85248‐7466
MARY MOMINEE        4201 REFLECTIONS DRIVE                                                               STERLING HTS       MI   48314‐1943
MARY MONHOLLEN      4162 ROUTT LN                                                                        FRANKLIN           OH   45005‐4648
MARY MONROE         PO BOX 1342                                                                          NILAND             CA   92257‐1342
MARY MONROE         4431 N 38TH ST                                                                       MILWAUKEE          WI   53209‐5911
MARY MONTAGUE       8100 CLYD RD                   APT AL                                                CENTERVILLE        OH   45458‐2720
MARY MONTELEONE     1192 BURLINGTON AVENUE                                                               BRISTOL            CT   06010‐2423
MARY MONTEZ         8670 MINOAN CT                                                                       ELK GROVE          CA   95624‐3442
MARY MONTGOMERY     6370 KEEFER HWY                                                                      PORTLAND           MI   48875‐9630
MARY MONTGOMERY     145 RYE BLUFF RD APT 106                                                             BLK RIVER FALLS    WI   54615‐1924
MARY MONTGOMERY     5483 MCNAMARA LN                                                                     FLINT              MI   48506‐2280
MARY MONTOYA        6635 W TONOPAH DR                                                                    GLENDALE           AZ   85308‐6628
MARY MONTPAS        6223 WESTVIEW DR                                                                     GRAND BLANC        MI   48439‐9783
MARY MOODY          6260 PEARL RD APT 221                                                                PARMA HEIGHTS      OH   44130‐3038
MARY MOODY          1343 HAMMERBERG CT             APT #5B                                               FLINT              MI   48507
MARY MOOK           PO BOX 1224                    254 CLEVELAND AVE.                                    ANDOVER            OH   44003‐1224
MARY MOON           13660 PEARSON ST                                                                     OAK PARK           MI   48237‐2760
MARY MOON           204 MARION DR                                                                        JEFFERSON          GA   30549‐1396
MARY MOONEY         107 DRIFTWOOD CIR                                                                    PRUDENVILLE        MI   48651‐9403
MARY MOONEY         1570 WINTON ROAD SOUTH                                                               ROCHESTER          NY   14618‐3910
MARY MOONEY         5314 WESTERN RD                                                                      FLINT              MI   48506‐1358
MARY MOORE          6303 HERITAGE PT                                                                     AFTON              OK   74331‐8702
MARY MOORE          3748 OTTERBEIN AVENUE                                                                DAYTON             OH   45406‐3631
MARY MOORE          888 S DIAMOND MILL RD                                                                NEW LEBANON        OH   45345‐9150
MARY MOORE          243 CONNECTICUT ST                                                                   HIGHLAND PARK      MI   48203‐3556
MARY MOORE          236 CHARLES LN                                                                       PONTIAC            MI   48341‐2929
MARY MOORE          330 CURRENT RIVER TRAIL                                                              MAYNARD            AR   72444‐9399
MARY MOORE          3254 JANET AVE                                                                       WARREN             MI   48092‐3544
MARY MOORE          26641 MCNEILL LAKE RD                                                                WAGRAM             NC   28396‐9223
MARY MOORE          6883 MS HIGHWAY 9                                                                    WALTHALL           MS   39771‐5521
MARY MOORE          4300 S 50 E                                                                          KOKOMO             IN   46902‐9782
MARY MOORE          833 N MARKWELL AVE                                                                   MOORE              OK   73160‐1956
MARY MOORE          504 WELLINGTON RD                                                                    INDIANAPOLIS       IN   46260‐4622
MARY MOORE          PO BOX 6604                                                                          KOKOMO             IN   46904‐6604
MARY MOORE          533 CATHY JO CIR                                                                     NASHVILLE          TN   37211‐3233
MARY MOORE          10640 W COUNTY ROAD 500 S                                                            DALEVILLE          IN   47334‐9782
MARY MOORE          7840 BROOKS BEND CT                                                                  CANAL WINCHESTER   OH   43110‐8247
MARY MOORE          4630 ROOSEVELT AVE NE                                                                CANTON             OH   44705‐2953
MARY MOORE          211 HANDY ST                                                                         NEW BRUNSWICK      NJ   08901‐2903
MARY MOORE          936 FITTING AVE                                                                      LANSING            MI   48917‐2233
MARY MOORE          252 BELLAIRE DR                                                                      FAIRBORN           OH   45324‐4149
MARY MOORE          142 HIDDEN FOREST RD                                                                 BATTLE CREEK       MI   49014‐7851
MARY MOORE          3818 DONNELLY ST                                                                     FLINT              MI   48504‐3555
MARY MOORE          8615 HARTWELL ST                                                                     DETROIT            MI   48228‐2794
MARY MOORE          1404 KERR LAB RESEARCH DR                                                            ADA                OK   74820‐9794
MARY MOORE          335 KENILWORTH AVE                                                                   TOLEDO             OH   43610‐1457
MARY MOORE          704 PARK CT                                                                          SAINT CHARLES      MO   63303‐2707
MARY MOORE‐TURNER   2333 THISTLEWOOD CT            APT 225                                               VAN WERT           OH   45881‐1382
MARY MOOREFIELD     112 W PINE DR                                                                        LADY LAKE          FL   32159‐3255
MARY MORDAS         66 SURREY DR                                                                         BRISTOL            CT   06010‐7619
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Name             Address1                           Address2                    Address3   Address4         City              State Zip
MARY MORDENT     116 MORELAND RD                                                                            NILES              OH 44446‐3216
MARY MOREARTY    3031 STILES RD                                                                             BROWN CITY         MI 48416‐9125
MARY MOREHOUSE   4700 KING ST APT 56                                                                        GREENVILLE         TX 75401‐5504
MARY MORELAND    11086 COBIA PL                                                                             NOBLESVILLE        IN 46060‐6001
MARY MORELL      7825 UNION SCHOOLHOUSE RD                                                                  DAYTON             OH 45424‐5222
MARY MORENO      PO BOX 14413                                                                               SAGINAW            MI 48601‐0413
MARY MORETTONI   PO BOX 311                                                                                 GRAND GORGE        NY 12434‐0311
MARY MORGAN      812 MELLEN DR                                                                              ANDERSON           IN 46013‐5043
MARY MORGAN      1983 HARDING AVE                                                                           YPSILANTI          MI 48197‐4416
MARY MORGAN      349 BLACKWELL LN                                                                           EOLIA              MO 63344‐2312
MARY MORGAN      2648 AUBREY DR                                                                             LAKE ORION         MI 48360‐1999
MARY MORGAN      513 ANDOVER RD                                                                             ANDERSON           IN 46013‐4120
MARY MORGAN      800 S HUTTIG AVE                                                                           INDEPENDENCE       MO 64053‐1834
MARY MORGAN      1708 HENDRICKS RD                                                                          ROBERTSVILLE       MO 63072‐3101
MARY MORGAN      3192 GRANT RD                                                                              ROCHESTER HILLS    MI 48309‐4109
MARY MORGERA     101 LINSTONE AVE                                                                           NEW CASTLE         DE 19720‐2026
MARY MORIN       23 PINE ST                                                                                 MASSENA            NY 13662‐1140
MARY MORITZ      1129 W DOROTHY LN                                                                          KETTERING          OH 45409‐1306
MARY MORMANDO    358 WAINWOOD DR SE                                                                         WARREN             OH 44484‐4650
MARY MORN        159 HOMEWOOD AVE SE                                                                        WARREN             OH 44483‐6001
MARY MOROS       168 MERCIER AVE                                                                            BRISTOL            CT 06010‐3725
MARY MORR        753 PULVER LIST RD                                                                         MANSFIELD          OH 44905‐2546
MARY MORRIS      23 FRANKFORT AVE                                                                           BUFFALO            NY 14211‐1411
MARY MORRIS      8862 CAGLE DR                                                                              NAVARRE            FL 32566‐2128
MARY MORRIS      2160 BELLEEK LN                                                                            COLUMBUS           OH 43219‐4003
MARY MORRIS      1875 N MICHAEL DR                                                                          MARION             IN 46952‐8600
MARY MORRIS      1003 W MAIN ST                                                                             ODESSA             MO 64076‐1325
MARY MORRIS      13824 E 49TH TER UNIT C                                                                    KANSAS CITY        MO 64133‐1366
MARY MORRIS      140 PLANTATION PL                                                                          FLORENCE           AL 35633‐7726
MARY MORRIS      16001 LAKESHORE VILLA DR APT 329                                                           TAMPA              FL 33613‐1308
MARY MORRIS      656 DOVER ST SW                                                                            WARREN             OH 44485‐4110
MARY MORRISON    361 COVINA ST                                                                              DAYTON             OH 45431‐2223
MARY MORRISON    110 TWIN OAKS DR                                                                           LAPEER             MI 48446‐7630
MARY MORRISON    290 JENNY LN                                                                               MARTIN             TN 38237‐5711
MARY MORROW      3131 KINGS BROOK DR                                                                        FLUSHING           MI 48433‐2408
MARY MORSE       3052 W WILSON RD                                                                           CLIO               MI 48420‐1933
MARY MORTENSEN   140 ELIOT ST                                                                               ASHLAND            MA 01721‐2420
MARY MORUA       512 CITRUS ST                                                                              SANTA PAULA        CA 93060‐1715
MARY MOSER       880 SAGITTARIUS AVENUE                                                                     FRANKLIN           IN 46131‐7098
MARY MOSER       2134 W 86TH ST APT C                                                                       INDIANAPOLIS       IN 46260‐2067
MARY MOSES       8938 SORRENTO                                                                              DETROIT            MI 48228
MARY MOSES       3717 CANTON ST                                                                             DETROIT            MI 48207‐2553
MARY MOSLEY      2145 N PARK AVE                                                                            INDIANAPOLIS       IN 46202‐1640
MARY MOSLEY      5101 HORTON AVE                                                                            FLINT              MI 48505‐3019
MARY MOSLEY      PO BOX 23                                                                                  HILLSBORO          AL 35643‐0023
MARY MOSLEY      PO BOX 297                         2761 THOMAS JEFFERSON HWY                               CHARLOTTE C H      VA 23923‐0297
MARY MOSLEY      15892 PETOSKEY AVE                                                                         DETROIT            MI 48238‐1391
MARY MOSS        19709 FENELON ST                                                                           DETROIT            MI 48234‐2281
MARY MOSS        2021 COASTAL DR                                                                            PRINCETON          LA 71067‐9338
MARY MOSS        39288 COMMONS DR                                                                           ROMULUS            MI 48174‐5314
MARY MOSS        210 COLLEGE ST                                                                             GLENVILLE          WV 26351‐1112
MARY MOTTORN     3641 BEEBE RD                                                                              NEWFANE            NY 14108‐9619
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Name              Address1                         Address2                     Address3   Address4         City               State Zip
MARY MOYE         65 EASTON AVE                                                                             BUFFALO             NY 14215‐3317
MARY MOYE         C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MARY MOYER        239 CASS RIVER DR                                                                         CARO                MI 48723‐1234
MARY MOZE         23020 HARMS RD                                                                            RICHMOND HEIGHTS    OH 44143‐1638
MARY MUELLER      511 CAYUGA CT                                                                             BOULDER CITY        NV 89005‐2817
MARY MUELLER      6900 HAZELDELL DR                                                                         TEMPERANCE          MI 48182‐1223
MARY MUENZEL      351 EAST PALM DR                 UNIT 118                                                 PLACENTIA           CA 92870
MARY MULLANEY     448 EVERGREEN DR                 THE WOODLANDS                                            LOCKPORT            NY 14094‐9175
MARY MULLEDY      13 SPRUCE CT                                                                              HILTON HEAD         SC 29928‐7147
MARY MULLENS      9858 E PRAIRIE AVE                                                                        GALVESTON           IN 46932‐8526
MARY MULLIN       240 WAVERLY PL APT 32                                                                     NEW YORK            NY 10014‐2240
MARY MULLINS      3624 CHARLENE DR                                                                          DAYTON              OH 45432‐2204
MARY MULLINS      236 VICTORY ST                                                                            DANVILLE             IL 61832‐6514
MARY MULVEY       52 WHITMAN AVE                                                                            SYOSSET             NY 11791‐5040
MARY MUMFORD      1914 GRANGE VIEW DR                                                                       DAYTON              OH 45432‐2032
MARY MUNDO        2180 HOWLAND WILSON RD NE                                                                 WARREN              OH 44484‐3921
MARY MUNKACSY     3570 E ARBUTUS DR                                                                         OKEMOS              MI 48864‐4061
MARY MUNOZ        2300 MARTIN RD                                                                            BEAVERTON           MI 48612‐8211
MARY MURCKO       220 BURKE ST                                                                              ARCHBOLD            OH 43502‐1647
MARY MURDOCK      6508 CLOVERTON DR                                                                         WATERFORD           MI 48329‐1200
MARY MURGAS
MARY MURINGER     10900 PAGELS RD                                                                           BIRCH RUN          MI   48415‐9433
MARY MURPHY       14919 HUMMEL RD APT 114                                                                   BROOK PARK         OH   44142‐2052
MARY MURPHY       7424 PARK AVE                                                                             CINCINNATI         OH   45231‐4271
MARY MURPHY       515 SHERMAN                                                                               BAY CITY           MI   48708
MARY MURPHY       24 KING AVE                                                                               EWING              NJ   08638‐2120
MARY MURPHY       507 MEADOW DR                                                                             KOKOMO             IN   46902‐3719
MARY MURPHY       415 W STATE ST                                                                            PENDLETON          IN   46064‐1039
MARY MURRAY       7939 VENICE HEIGHTS DR NE                                                                 WARREN             OH   44484‐1511
MARY MURRAY       1164 BLOSSOM WAY NORTHEAST                                                                CORYDON            IN   47112‐1677
MARY MURRAY       2009 CLARKSON‐PARMA TWN LN RD    C/O SANDRA CUDDEBACA                                     BROCKPORT          NY   14420
MARY MURSCH       254 ALEXANDER ST                 KIRKHAVEN NURSING HOME                                   ROCHESTER          NY   14607‐2515
MARY MUSCARELLA   88 GRANT ST                                                                               LOCKPORT           NY   14094‐5006
MARY MUSCAT       27 ROBERTSON CT                                                                           CLARKSTON          MI   48346‐1547
MARY MUSCATO      81 BRISTOL ST                                                                             CANANDAIGUA        NY   14424‐1644
MARY MUSE         4765 LAMME ROAD                                                                           MORAINE            OH   45439‐3049
MARY MUSE         2760 N STATE ROAD 13                                                                      ANDERSON           IN   46011‐9763
MARY MUSGRAVE     3547 COUNTY ROAD 31                                                                       GALION             OH   44833‐9686
MARY MUSGROVE     6967 CORNER RANCH CV                                                                      WALLS              MS   38680‐8502
MARY MUSIC        PO BOX 84                                                                                 EAST POINT         KY   41216
MARY MUSICK       3100 EAST KENDALL LANE                                                                    MUNCIE             IN   47303‐9291
MARY MUSSON       16091 HOCKING BLVD                                                                        BROOK PARK         OH   44142‐2732
MARY MUSTAKE      763 SYME ST                                                                               MASURY             OH   44438‐1665
MARY MYERS        239 WALLACE DR                                                                            BEREA              OH   44017‐2668
MARY MYERS        3404 W LINCOLNSHIRE BLVD                                                                  TOLEDO             OH   43606‐1225
MARY MYERS        1307 DEFOREST RD SE                                                                       WARREN             OH   44484‐3503
MARY MYERS        405 EDGEWATER DR                                                                          KOKOMO             IN   46902‐3525
MARY MYERS        415 S DIXON RD                                                                            KOKOMO             IN   46901‐5038
MARY MYERS        5802 PRATT RD                                                                             LAPEER             MI   48446‐9601
MARY MYERS        95 W TOULON DR                                                                            CHEEKTOWAGA        NY   14227‐2409
MARY MYGRANT      5180 N 400 W                                                                              PERU               IN   46970‐8101
MARY MYNAR        5117 EUGENE AVE                                                                           BALTIMORE          MD   21206‐5014
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Name                Address1                       Address2                   Address3   Address4         City            State Zip
MARY N BURNS        PO BOX 3102                                                                           SHREVEPORT       LA 71133‐3102
MARY N CUNNINGHAM   1330 EASTLAND S.E.                                                                    WARREN           OH 44484‐4546
MARY N FISHER       624 BANKS DR                                                                          PEVELY           MO 63070‐2911
MARY N MONTGOMERY   7241 MESQUITE TREE ST                                                                 LAS VEGAS        NV 89131‐2049
MARY N SALTZMANN    PO BOX 11                                                                             FARMDALE         OH 44417
MARY N SOLLEY       27 ANDREA BLVD.                                                                       NILES            OH 44446‐3223
MARY N WELLS        6631 PRESIDENTIAL DR                                                                  JACKSON          MS 39213‐2410
MARY NABAL          467 OLYMPIC AVE                                                                       HAVERTOWN        PA 19083‐5122
MARY NAGEL          275 SALEM RD                                                                          UNION            NJ 07083‐9219
MARY NALBONE        140 MILLER ST                                                                         TRENTON          NJ 08638‐4130
MARY NANCE          202 WASHINGTON ST NW                                                                  WARREN           OH 44483‐4735
MARY NAPIER         3763 MCINTYRE RD                                                                      FELICITY         OH 45120‐9641
MARY NAPIER         1765 STEWART AVE                                                                      LINCOLN PARK     MI 48146‐3554
MARY NAPIER         90 TWINBROOK DR                                                                       HAMILTON         OH 45013‐2159
MARY NAPLES         584 GRANADA AVE                APT 106                                                YOUNGSTOWN       OH 44505‐2424
MARY NARD           1504 TERRAWENDA DR                                                                    DEFIANCE         OH 43512‐3245
MARY NASH           PO BOX 2038                                                                           BEDFORD          IN 47421‐7038
MARY NATALE         11 MOLTEG DR                                                                          PARLIN           NJ 08859‐2183
MARY NATHAN         136 ONTARIO ST                                                                        ROCHESTER        NY 14605‐2618
MARY NATT           122 DEERFIELD DR                                                                      COLUMBIA         TN 38401‐5252
MARY NAU            1116 W BOATFIELD AVE                                                                  FLINT            MI 48507‐3608
MARY NEAL           1633 E THOMPSON RD                                                                    INDIANAPOLIS     IN 46227‐4270
MARY NEAL           PO BOX 254                                                                            KNIGHTSTOWN      IN 46148‐0254
MARY NEAL           35 WIND CHIME DRIVE                                                                   SOMERSET         KY 42503‐3790
MARY NEAL           213 W ROLLIN ST                                                                       EDGERTON         WI 53534‐1117
MARY NEAL JAMES     NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT                               DAINGERFIELD     TX 75638
MARY NEAS           4129 SARATOGA AVE APT 109                                                             DOWNERS GROVE     IL 60515‐2022
MARY NEAVINS        864 GLENDALE AVE                                                                      PONTIAC          MI 48341‐1515
MARY NEDZBALA       5 REGAL DR                                                                            NASHUA           NH 03063‐1214
MARY NEELIN         6845 ALDRIDGE RD                                                                      VICTOR           NY 14564‐9339
MARY NEELY          1003 W ANCHOR LN                                                                      MOORE HAVEN      FL 33471‐5667
MARY NEES           981 W MAIN ST                                                                         GREENWOOD        IN 46142‐1921
MARY NEIDERQUILL    1607 MAINE ST                                                                         SAGINAW          MI 48602‐1719
MARY NEIDRICK       PO BOX 365                                                                            MAYFIELD         MI 49666‐0365
MARY NEIDY          2507 WINDEMERE RD                                                                     BIRMINGHAM       MI 48009‐7521
MARY NELSON         1122 SPALDING DR UNIT H                                                               BEL AIR          MD 21014‐1885
MARY NELSON         1873 W GRAND BLVD                                                                     DETROIT          MI 48208‐1005
MARY NELSON         9304 S 83RD AVE                                                                       HICKORY HILLS     IL 60457‐1924
MARY NELSON         22 NEW COACH LN                                                                       WILLINGBORO      NJ 08046‐1906
MARY NELSON         2718 PRESIDENT LN                                                                     KOKOMO           IN 46902‐3025
MARY NELSON         7205 E BOWERS LAKE RD                                                                 MILTON           WI 53563‐9788
MARY NELSON         5012 RICHMOND ST                                                                      LANSING          MI 48911‐2954
MARY NELSON         579 DOCKSIDE CIR                                                                      HOLLY            MI 48442‐2026
MARY NELSON         3140 E BLUEWATER HWY                                                                  IONIA            MI 48846‐8733
MARY NEMERGUT       16162 REGINA AVE                                                                      ALLEN PARK       MI 48101‐1946
MARY NEMES          6360 ELMDALE RD                EAST PARK RETIREMENT                                   BROOK PARK       OH 44142‐4075
                                                   COMMUNITY
MARY NEPH           304 ORCHARD COVE CIR                                                                  OTISVILLE       MI   48463‐9617
MARY NESBY GREEN    3203 MARTHAROSE CT                                                                    FLINT           MI   48504‐1271
MARY NEUMAN         2564 DE LAAT AVE SW                                                                   WYOMING         MI   49519‐2242
MARY NEUMAN         2463 BOWENTON PL SW                                                                   WYOMING         MI   49519‐4747
MARY NEUMAN         918 S 6TH ST                                                                          SAINT CHARLES   MO   63301‐2421
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Name                     Address1                      Address2              Address3      Address4         City              State Zip
MARY NEUMEYER            11369 IDLEWOOD DRIVE                                                               FISHERS            IN 46037‐4195
MARY NEWCOMBE            14075 STATE HIGHWAY 37                                                             MASSENA            NY 13662‐3157
MARY NEWKIRK             6 N PARADE AVE                                                                     BUFFALO            NY 14211‐1209
MARY NEWLAND             84 SPRINGDALE AVE                                                                  WHEELING           WV 26003‐5499
MARY NEWLAND             6568 E ROSEBUD LN                                                                  MOORESVILLE        IN 46158‐6354
MARY NEWMAN              106 VIRGINIA ST                                                                    WESTFIELD          NJ 07090‐1735
MARY NEWMAN              234 LAUREL DR                                                                      BATTLE CREEK       MI 49017‐4633
MARY NEWMAN              240 S MAIN ST                                                                      LONDON             OH 43140‐1509
MARY NEWMAN              201 TEXAS AVE                                                                      ROCHESTER HILLS    MI 48309‐1577
MARY NEWSOM              645 FOREST AVE                                                                     PLYMOUTH           MI 48170‐1715
MARY NEWSOME             3405 SILVER STREAM WAY NW                                                          KENNESAW           GA 30144‐1066
MARY NEWTON              13495 W LEE RD                                                                     ALBION             NY 14411‐9238
MARY NICHOLAS            45 POPLAR AVE                                                                      NILES              OH 44446‐3929
MARY NICHOLS             16 SKYVIEW WAY                                                                     NEWTOWN            PA 18940‐1184
MARY NICHOLS             PO BOX 4153                                                                        FLINT              MI 48504‐0153
MARY NICHOLS             6330 GEORGELAND ST                                                                 DETROIT            MI 48204‐1211
MARY NICHOLS             16430 PARK LAKE RD LOT 132                                                         EAST LANSING       MI 48823‐9464
MARY NICHOLS             7329 STANLEY RD                                                                    FLUSHING           MI 48433‐9062
MARY NICKELS             12645 SCHLEWEIS RD                                                                 MANCHESTER         MI 48158‐9611
MARY NICKOL              PO BOX 129                                                                         FELICITY           OH 45120‐0129
MARY NICULA              5077 STATE ROUTE 305                                                               FOWLER             OH 44418‐9702
MARY NIEDZWIECKI         1408 N HURON RD                                                                    TAWAS CITY         MI 48763‐9428
MARY NIKIAS              12125 VILLAGE WOODS DR                                                             SHARONVILLE        OH 45241‐6068
MARY NINKE               1843 PARKAMO AVE                                                                   HAMILTON           OH 45011‐4656
MARY NISONGER            3999 RAYMOND DR                                                                    ENON               OH 45323‐1424
MARY NISWONGER           303 SMITH ST APT 102                                                               CLIO               MI 48420‐1353
MARY NOAH                205 SONOMA VALLEY DR                                                               CARY               NC 27518‐5304
MARY NOBLE               5466 N PARK AVE                                                                    BRISTOLVILLE       OH 44402‐9702
MARY NOCKS               10523 FARMLAND DR                                                                  HARRISON           OH 45030‐1774
MARY NOEL                2002 N C ST                                                                        ELWOOD             IN 46036‐1616
MARY NOIRUT              PO BOX 53                                                                          MILLER CITY        OH 45864‐0053
MARY NOLAN               4245 E ELM GROVE RD                                                                BLUFFTON           IN 46714‐9312
MARY NOLAN               277 BILL NOLAN RD                                                                  FARMERVILLE        LA 71241‐5031
MARY NOLAND              4025 YEAGER DR                                                                     BURTON             MI 48519‐1418
MARY NOLAND              1112 MASON DR                                                                      HURST              TX 76053‐4516
MARY NOLES               15814 S 3RD ST                                                                     SCHOOLCRAFT        MI 49087‐9115
MARY NOON                6339 TRALEE AVE                                                                    NEW PORT RICHEY    FL 34653‐1045
MARY NOONAN              5814 WOODSIDE TRL UNIT D                                                           TOLEDO             OH 43623‐1289
MARY NORDEEN‐HUFF        100 SHERWIN DR                                                                     TONAWANDA          NY 14150‐4738
MARY NORDQUIST           4651 EUCLID BLVD                                                                   BOARDMAN           OH 44512‐1635
MARY NORDSTROM           4165 MAPLEWOOD MEADOWS AVE                                                         GRAND BLANC        MI 48439‐3501
MARY NORFLEET            5 WOODLAND DR                                                                      TENNESSEE RIDGE    TN 37178‐5161
MARY NORFLEET SIZEMORE   6461 GARBER RD                                                                     DAYTON             OH 45415‐2014
MARY NORMAN              15402 LAKEVIEW PARK DR                                                             LINDEN             MI 48451‐8923
MARY NORMAND             141 MOUNT ELMIRA RD UNIT 72                                                        SHEPHERDSVILLE     KY 40165‐9795
MARY NORMENT             APT B204                      28305 FRANKLIN ROAD                                  SOUTHFIELD         MI 48034‐5553
MARY NORRIS              PO BOX 775                                                                         FRANKLIN           KY 42135‐0775
MARY NORRIS              320 GATEWOOD DR 06                                                                 LANSING            MI 48917
MARY NORTH               4350 BLACK RIVER RD                                                                CROSWELL           MI 48422‐9470
MARY NORTH               3485 JOHANN DR                                                                     SAGINAW            MI 48609‐9761
MARY NORTHCUTT           1586 RIDGE RD                                                                      YPSILANTI          MI 48198‐3304
MARY NORTON              30 KAY CIR                                                                         COVINGTON          GA 30014‐1693
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Name                                Address1                        Address2                          Address3   Address4         City              State Zip
MARY NOTO                           10118 PORTER RD                                                                               POTOSI             MO 63664‐1699
MARY NOTTINGHAM‐BABB                2819 RUTLEDGE AVE                                                                             JANESVILLE         WI 53545‐1397
MARY NOVAJOSKY                      10415 BUFFTON CT                                                                              CHARLOTTE          NC 28277‐2582
MARY NOWAK                          1561 MONICA CT                                                                                ROCHESTER HLS      MI 48306‐3645
MARY NOWELL                         17396 WEST LN                                                                                 MENA               AR 71953‐8935
MARY NOWLIN                         2602 SCENIC DR SE                                                                             HUNTSVILLE         AL 35801
MARY NUGENT                         36734 STRAND DR                                                                               ZEPHYRHILLS        FL 33542‐1930
MARY NUNNARI                        498 WALNUT ST                                                                                 LOCKPORT           NY 14094‐3112
MARY NUTBOURNE                      78 DENNISON ST                                                                                OXFORD             MI 48371‐4815
MARY NUTT                           1739 W WALNUT ST                                                                              KOKOMO             IN 46901‐4209
MARY NUTTER                         8425 COUNTRY VIEW LN                                                                          PLAIN CITY         OH 43064‐8401
MARY O BRIEN                        659 ADAMS RD                                                                                  MONTICELLO         WI 53570‐9733
MARY O CHICK                        1820 RIDGELAWN                                                                                YOUNGSTOWN         OH 44509‐2114
MARY O HARKELRODE                   4592 PALMYRA RD. S.W.                                                                         WARREN             OH 44481‐9710
MARY O LEARY                        717 WAVELAND RD                                                                               JANESVILLE         WI 53548‐6716
MARY O MALLEY                       117 RENFREW AVE                                                                               MOUNT MORRIS       MI 48458‐8894
MARY O MOCK AND MARY ANN BURNS JT   512 STUART CT                                                                                 SAVANNAH           GA 31405‐5460
TEN
MARY O'BRIEN                        1586 REDCOAT DRIVE                                                                            MARYLAND HTS      MO   63043‐2823
MARY O'CALLAGHAN                    3E BRIGHAM CIR APT 2                                                                          HUDSON            MA   01749‐2441
MARY O'CONNOR                       1196 LORD DUNMORE DR                                                                          VIRGINIA BEACH    VA   23464‐5446
MARY O'DANIEL                       10235 ANDERSONVILLE RD                                                                        DAVISBURG         MI   48350‐3146
MARY O'NEAL                         2760 DOGWOOD CREEK PARKWAY                                                                    DULUTH            GA   30096‐4093
MARY O'NEIL                         10454 SMITH RD                                                                                GAINES            MI   48436‐9752
MARY O'NEIL                         13380 RIDGE RD                                                                                N HUNTINGDON      PA   15642‐2161
MARY O'NEILL                        72320 LASSIER RD                                                                              BRUCE TWP         MI   48065‐3526
MARY O'NEILL                        CLIFFORD LAW OFFICES PC         120 N LASALLE STREET 31ST FLOOR                               CHICAGO           IL   60602

MARY OCAMPO                         1743 W MICHIGAN AVE                                                                           SAGINAW           MI   48602‐1136
MARY OCCHIUTO                       6580 AUTUMN COVE DR                                                                           ORLANDO           FL   32822‐3050
MARY OCENASEK                       11645 HERON BAY DR                                                                            FENTON            MI   48430‐8612
MARY OCENASEK                       PO BOX 67                                                                                     FOREMAN           AR   71836‐0067
MARY OCKOMON                        10 W 41ST ST                                                                                  ANDERSON          IN   46013
MARY OCONNOR                        1423 92ND STREET R R 3                                                                        BYRON CENTER      MI   49315
MARY ODDO                           212 SMITH AVE                                                                                 BELLEVUE          OH   44811‐1863
MARY ODETTE                         639 ARBUTUS DR                                                                                CADILLAC          MI   49601‐8965
MARY ODNEAL                         204 CEDARDALE AVE                                                                             PONTIAC           MI   48341‐2724
MARY ODOM                           PO BOX 417                                                                                    COLLINSVILLE      MS   39325‐0417
MARY ODUNUGA                        PO BOX 27184                                                                                  LANSING           MI   48909‐7184
MARY OEFFNER                        450 S NICOLET ST                                                                              MACKINAW CITY     MI   49701‐9657
MARY OETTINGER                      W164N9091 WATER ST APT 406                                                                    MENOMONEE FALLS   WI   53051‐7938
MARY OFFRINK                        1770 E MADGE AVE                                                                              HAZEL PARK        MI   48030‐2116
MARY OGDEN                          2500 WHISPERING HILLS CT                                                                      WASHINGTON        MI   48094‐1037
MARY OGLETREE                       11642 ASHTON AVE                                                                              DETROIT           MI   48228‐1138
MARY OLDS                           5112 CHICKASAW TRL                                                                            FLUSHING          MI   48433‐1079
MARY OLEFF                          4729 E 86TH ST                                                                                GARFIELD HTS      OH   44125‐1331
MARY OLEJAR                         7211 NORTHFIELD CIR                                                                           FLUSHING          MI   48433‐9427
MARY OLINIK                         65 MEYERHILL CIR W                                                                            ROCHESTER         NY   14617‐5113
MARY OLIVER                         6036 PROTHROW ST                                                                              FORT WORTH        TX   76112‐7929
MARY OLIVER                         9007 GUTHRIE AVE                                                                              BERKELEY          MO   63134‐3425
MARY OLIVER                         842 SE DAMASK AVE                                                                             PORT ST LUCIE     FL   34983‐4011
MARY OLIVER                         185 PETERSON DR                                                                               VINCENT           AL   35178‐6504
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Name                   Address1                       Address2             Address3        Address4         City               State Zip
MARY OLIVER            PO BOX 14                                                                            OOLITIC             IN 47451‐0014
MARY OLIVER            3146 N 60TH ST                                                                       FAIRMONT CITY        IL 62201‐2404
MARY OLIVER            14860 DOLPHIN ST                                                                     DETROIT             MI 48223‐1835
MARY OLIVER            1048 S MEADOW LN                                                                     MUSTANG             OK 73064‐4217
MARY OLIVER‐MITCHELL   23619 PARKLAWN ST                                                                    OAK PARK            MI 48237‐3605
MARY OLSEN             9910 US HIGHWAY 23 S                                                                 OSSINEKE            MI 49766‐8702
MARY OLSEWSKI          329 LAFAYETTE ST                                                                     LINDEN              NJ 07036‐5061
MARY OLSON             22 6TH STREET NORTHEAST                                                              LE MARS              IA 51031‐3268
MARY OLSZEWSKI         16171 CHATHAM DR                                                                     CLINTON TOWNSHIP    MI 48035‐1117
MARY ONDER             8683 WARWICK RD SE                                                                   WARREN              OH 44484‐3060
MARY ONIGKEIT          25900 EUCLID AVE APT 713                                                             EUCLID              OH 44132‐2741
MARY OPIOLALA          6633 OAKRIDGE RD                                                                     SAN DIEGO           CA 92120‐2155
MARY ORDING            3387 N MICHIGAN RD                                                                   DIMONDALE           MI 48821‐8749
MARY ORDWAY            11107 STATE ROUTE 18                                                                 HOLGATE             OH 43527‐9587
MARY ORENDECKA         26390 WESTPHAL ST APT 101      CARRIAGE HILL APTS                                    DEARBORN HEIGHTS    MI 48127‐3773
MARY ORLEY             246 EDISON AVE                                                                       JANESVILLE          WI 53546‐3231
MARY ORNE LAW          1 LUDWELL PL                                                                         DURHAM              NC 27705
MARY OROSZ             4 MEINZER ST                                                                         AVENEL              NJ 07001‐1702
MARY OROURKE           353 GOLFVIEW CT                                                                      MURFREESBORO        TN 37127‐7132
MARY OROZCO            1514 S NIAGARA ST                                                                    SAGINAW             MI 48602‐1338
MARY ORR               5042 MCLAIN ST                                                                       SWARTZ CREEK        MI 48473‐1215
MARY ORR               3930 PHALANX MILLS HERNER RD                                                         SOUTHINGTON         OH 44470‐9708
MARY ORR               37698 COLONIAL DRIVE                                                                 WESTLAND            MI 48185‐7596
MARY ORR               608 WASHINGTON ST APT B413                                                           CAPE MAY            NJ 08204‐2370
MARY ORRELL            618 N JEFFERSON ST                                                                   KNIGHTSTOWN         IN 46148‐1028
MARY ORTIZ             576 MORAY WAY                                                                        PATTERSON           CA 95363‐9115
MARY ORTNER            2614 TIFFIN AVE LOT 103                                                              SANDUSKY            OH 44870‐5380
MARY ORWIG             828 7TH ST SW                                                                        WARREN              OH 44485‐4063
MARY OSBORNE           6863 OAK HILL DR                                                                     WEST FARMINGTON     OH 44491‐9755
MARY OSBORNE           2432 TENNESSEE DR                                                                    XENIA               OH 45385‐4765
MARY OSBORNE           2624B CLOVER LN                                                                      BEDFORD             IN 47421‐5240
MARY OSBORNE           2136 BONNIEDALE DR                                                                   BELLBROOK           OH 45305‐1515
MARY OSLEY             19150 ROBSON ST                                                                      DETROIT             MI 48235‐1949
MARY OSMAN             462 W MAIN ST                                                                        GRAND LEDGE         MI 48837‐1040
MARY OSS               3340 BERKSHIRE DR                                                                    BLOOMFIELD          MI 48301‐3306
MARY OSTERLOH          1948 HILL RD                                                                         WENTZVILLE          MO 63385‐2615
MARY OUTLAND           115 HENNESSEE ST                                                                     LAKELAND            FL 33805‐2019
MARY OVIATT            8501 LONDON GROVEPORT RD                                                             GROVE CITY          OH 43123‐9765
MARY OWEN              2841 MARATHON RD                                                                     COLUMBIAVILLE       MI 48421‐8992
MARY OWEN              PO BOX 214                                                                           URICH               MO 64788‐0214
MARY OWEN              925 SAWMILL RD                                                                       NEW WHITELAND       IN 46184‐1148
MARY OWENS             12686 N 600 W                                                                        ELWOOD              IN 46036‐8992
MARY OWENS             PO BOX 437‐A                                                                         WARDELL             MO 63879
MARY OWENS             4420 LIBERTY LOOP RD                                                                 MARTINSVILLE        IN 46151‐8768
MARY OWENS             730 PARK VW                                                                          CLIO                MI 48420‐2305
MARY OWENS             1523 CAMBRIDGE DR SE                                                                 GRAND RAPIDS        MI 49506‐3945
MARY OWENS             17334 BELAND ST                                                                      DETROIT             MI 48234‐3834
MARY OWSLEY            2932 CAROLINE AVE                                                                    INDIANAPOLIS        IN 46218‐2715
MARY OXLEY             15423 BLAIR AVE                                                                      BROOKSVILLE         FL 34604‐8503
MARY OXLEY             4929 W CALEB CT                                                                      MUNCIE              IN 47302‐8948
MARY OZANA             2532 N OAKLEY ST                                                                     SAGINAW             MI 48602‐5427
MARY P ALEXANDER       631 W STEWART AVE                                                                    FLINT               MI 48505‐3286
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Name                   Address1                       Address2            Address3         Address4                City                 State Zip
MARY P BIROS           924 PINECREST                                                                               GIRARD                OH 44420‐2153
MARY P CURTIS          2395 HARBOR BLVD APT 309A                                                                   PORT CHARLOTTE        FL 33952‐5036
MARY P DINCHER         4926 JACKS HOLLOW RD                                                                        SOUTH WILLIAMSPORT    PA 17702
MARY P GOODWIN         1012 DUNNAWAY ST APT 1                                                                      MIAMISBURG            OH 45342‐7881
MARY P GREWE           5801 JASSAMINE DR.                                                                          DAYTON                OH 45449
MARY P HAMMER          3659 MEADOWBROOK ACRES                                                                      NORTH TONAWANDA       NY 14120‐1247
MARY P HARDIN          6413 RT 5                                                                                   KINSMAN               OH 44428
MARY P HOUSER          2901 WALNUT ST                                                                              ORLANDO               FL 32806‐1634
MARY P JACKSON         4811 KILKULLEN PL                                                                           JACKSON               MS 39209
MARY P KENYON          1220 MERTENSIA RD APT 12                                                                    FARMINGTON            NY 14425‐1021
MARY P MASOTTO         773 LEXINGTON DR.                                                                           HERMITAGE             PA 16148‐3702
MARY P MERCURIO        1904 HAYWOOD ST.                                                                            FARRELL               PA 16121
MARY P NUTTER          8425 COUNTRY VIEW LN                                                                        PLAIN CITY            OH 43064‐8401
MARY P ORLEY           246 EDISON AVE                                                                              JANESVILLE            WI 53546‐3231
MARY P POPE            844 KUMLER AVE                                                                              DAYTON                OH 45402
MARY P ROSCOE          2654 MYRICK LANE                                                                            TWINSBURG             OH 44087‐2919
MARY P SAKONY          1013 HEINZ AVE.                                                                             SHARON                PA 16146‐2438
MARY P SHRODEK         3548 KIMBERLY DR N E                                                                        WARREN                OH 44483‐4547
MARY P SMITH           701 BROOKWOOD DR                                                                            BROOKHAVEN            MS 39601
MARY P THORNTON        803 SHADY PINE DR                                                                           CLINTON               MS 39056
MARY P TRUHAN          7841 BROOKWOOD N.E.                                                                         WARREN                OH 44484‐1544
MARY PACE              1140 HEDGES RD                                                                              XENIA                 OH 45385‐9214
MARY PACE              PO BOX 52                                                                                   GREEN RIDGE           MO 65332‐0052
MARY PACHECO           10950 CHURCH ST APT 3514                                                                    RANCHO CUCAMONGA      CA 91730‐9096
MARY PACILIO           20936 UNIVERSAL AVE                                                                         EAST DETROIT          MI 48021‐2906
MARY PACKARD           740 BISHOP RD                                                                               LEAVITTSBURG          OH 44430‐9682
MARY PACZKOWSKI        PO BOX 9022                                                                                 WARREN                MI 48090‐9022
MARY PADGETT           5450 LITTLE BLUE CREEK RD                                                                   MC EWEN               TN 37101‐4255
MARY PADGETT           1537 STUMPHOLE BRIDGE RD                                                                    WILLIAMS              IN 47470‐9008
MARY PADGETT           2467 S 28TH ST                                                                              KALAMAZOO             MI 49048‐8617
MARY PAGANONI          13421 TALL PINES LN                                                                         PLAINFIELD             IL 60544‐7480
MARY PAGE              1916 SAIL FISH DR                                                                           MANSFIELD             TX 76063‐5992
MARY PAGE              1208 EDWARD ST                                                                              LANSING               MI 48910‐1225
MARY PAINTER           6194 SUN VALLEY DR                                                                          GRAND BLANC           MI 48439‐9168
MARY PAJONAS           129 BALDWIN DR                                                                              BRISTOL               CT 06010‐3091
MARY PALERMO           37917 POINTE ROSA ST                                                                        HARRISON TOWNSHIP     MI 48045‐2756
MARY PALINSKY‐HANSON   11304 EASTON RD                                                                             NEW LOTHROP           MI 48460‐9760
MARY PALMER            200 ASHWOOD DR APT 238                                                                      PENDLETON             IN 46064‐0017
MARY PALMER            206 N GREGG DR                                                                              MARION                IN 46952‐3108
MARY PALMER            211 SANDY LN                                                                                NEW SMYRNA BEACH      FL 32168‐6027
MARY PALMER            4211 KEENE DR                                                                               GRAND BLANC           MI 48439‐7906
MARY PALMER            1446 WALNUT VIEW               BUILDING 3                                                   FLINT                 MI 48532
MARY PALMORE           137 S WALLER AVE APT 1C                                                                     CHICAGO                IL 60644‐3900
MARY PALSGROVE         297 MILLICAN RD                                                                             SPARTA                TN 38583
MARY PALUMBO           1972 LYNN AVE                                                                               YOUNGSTOWN            OH 44514‐1121
MARY PANGMAN           G‐4606 BEECHER RD              APT#J‐1                                                      FLINT                 MI 48532
MARY PANKEY            101 LONG ACRE CT                                                                            FREDERICK             MD 21702‐4054
MARY PANNUNZIO         211 KINGS LN                                                                                CANFIELD              OH 44406‐1681
MARY PANONE            14744 BIDFORD CT               SITE 209A                                                    SHELBY TWP            MI 48315‐3742
MARY PANTONE           1027 DORIS DR                                                                               HUBBARD               OH 44425‐1211
MARY PAPANICOLAOU      221 DRESDEN AVE                                                     TMR QC H3P 2B9 CANADA
MARY PAPAZIAN          223 REDWINE DRIVE                                                                           HOUGHTON LAKE         MI 48629‐9135
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Name                    Address1                         Address2                     Address3   Address4               City               State Zip
MARY PAPE               1074 DEVON ST                                                                                   PLAINWELL           MI 49080‐1056
MARY PAPEIKA            11 CHARLES ST                                                                                   PLAINS              PA 18705‐1909
MARY PAPESH             806 ROSELLE ST                                                                                  LINDEN              NJ 07036‐2521
MARY PAPP               5275 E FRANCES RD                                                                               MOUNT MORRIS        MI 48458‐9751
MARY PAPPAS             2882 BARKER RD                                                                                  WHITMORE LAKE       MI 48189‐9515
MARY PARADIS            3179 MAC AVE                                                                                    FLINT               MI 48506‐2123
MARY PARADISE           2880 BARNES ST                                                                                  SIMI VALLEY         CA 93065‐3902
MARY PARENTI            12969 E CANAL DR                                                                                CONNEAUT LAKE       PA 16316‐5703
MARY PARIS              101 REAGAN CIR                                                                                  FRANKLIN            IN 46131‐7286
MARY PARISI             1675 ROOSEVELT AVE                                                                              NILES               OH 44446‐4107
MARY PARKER             1488 GARFIELD AVE                                                                               LINCOLN PARK        MI 48146‐2386
MARY PARKER             16095 VERONICA AVE                                                                              EASTPOINTE          MI 48021‐2957
MARY PARKER             8155 WOODSCAPE DR APT E                                                                         CHARLOTTE           NC 28212‐0236
MARY PARKER             24400 CIVIC CENTER DR APT 315                                                                   SOUTHFIELD          MI 48033‐2541
MARY PARKER             4216 E 188TH ST                                                                                 CLEVELAND           OH 44122‐6910
MARY PARKER             409 PARK ST                                                                                     MILLEN              GA 30442‐1757
MARY PARKER             2706 E 15TH ST                                                                                  LEHIGH ACRES        FL 33972‐2572
MARY PARKER             708 DORN DR                                                                                     SANDUSKY            OH 44870‐1668
MARY PARKER             1492 WINTER DR                                                                                  FREEPORT             IL 61032‐3775
MARY PARKER             632 PRIVATE ROAD 5881                                                                           YANTIS              TX 75497‐6350
MARY PARKS              319 WAGES RD                                                                                    AUBURN              GA 30011‐2854
MARY PARKS              1035 S UNION ST                                                                                 KOKOMO              IN 46902
MARY PARKS              302 S KEELER ST                                                                                 OLATHE              KS 66061‐4720
MARY PARKS              6288 SQUIRE LAKE DR                                                                             FLUSHING            MI 48433‐2377
MARY PARLOW             15450 18 MILE RD APT 110                                                                        CLINTON TOWNSHIP    MI 48038‐5877
MARY PARNELL‐STURGEON   2918 MOORE RD                                                                                   ANDERSON            IN 46011‐4627
MARY PARRISH            538 UNGER AVE                                                                                   ENGLEWOOD           OH 45322‐2027
MARY PARSLEY            8644 RAHKE RD                                                                                   INDIANAPOLIS        IN 46217‐5083
MARY PARSLEY            RR 1 BOX 99                                                                                     WILLIAMSON          WV 25661
MARY PARTLOW            BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH 44236
MARY PASCOE             4 CHYROSE ROAD                   ST DAY REDRUTH                          CORNWALL TR165 GREAT
                                                                                                 BRITAIN
MARY PASCUCCI           1481 JAY ST                                                                                     ROCHESTER          NY   14611‐1027
MARY PASQUALI           2804 WHITEHOUSE DR                                                                              KOKOMO             IN   46902‐3062
MARY PAT PARKER         9117 LAHRING RD                                                                                 GAINES             MI   48436‐9769
MARY PATE               10723 MCAFEE RD                                                                                 SODDY DAISY        TN   37379‐5426
MARY PATITUCCI          4617 PINEGROVE AVE                                                                              AUSTINTOWN         OH   44515‐4848
MARY PATRENETS          25113 W LOOMIS RD                                                                               WIND LAKE          WI   53185‐1421
MARY PATRICK            G6286 CALKINS RD                                                                                FLINT              MI   48532
MARY PATRICK            34950 HIDDEN PINE DR APT 126                                                                    FRASER             MI   48026‐2051
MARY PATRICK            1 BILLY CIR                                                                                     FAIRFIELD          OH   45014‐2037
MARY PATTAN             130 N MELITA RD                                                                                 STERLING           MI   48659‐9758
MARY PATTERSON          92 ROCKLEDGE AVE                                                                                MOUNT VERNON       NY   10550‐4949
MARY PATTERSON          3601 GLENCAIRN LN                                                                               INDIANAPOLIS       IN   46205‐2533
MARY PATTERSON          982 CUMBERLAND HEIGHTS RD                                                                       CLARKSVILLE        TN   37040‐6901
MARY PATTERSON          484 VALENCIA DR                                                                                 PONTIAC            MI   48342‐1769
MARY PATTERSON          27877 J B MAGNUSSON DR                                                                          TONEY              AL   35773‐8370
MARY PATTERSON          PO BOX 29161                                                                                    SHREVEPORT         LA   71149‐9161
MARY PATTON             PO BOX 237                                                                                      CAMPTON            KY   41301‐0237
MARY PATYKIEWICZ        24 SAHARA DR                                                                                    ROCHESTER          NY   14624‐2254
MARY PAUKOVICH          1263 HOWLAND WILSON RD NE                                                                       WARREN             OH   44484‐1656
MARY PAUL GRAHAM        1009 S ANN DR                                                                                   MARSHALL           MO   65340‐2857
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Name               Address1                         Address2                        Address3   Address4         City                State Zip
MARY PAULEY        3514 HUGGINS AVE                                                                             FLINT                MI 48506‐2695
MARY PAULEY        PO BOX 71                                                                                    FOREST HILLS         KY 41527‐0071
MARY PAULS         713 SHEFFEY SCHOOL RD                                                                        WYTHEVILLE           VA 24382
MARY PAULSON       1208 SW SUMMIT HILL DR                                                                       LEES SUMMIT          MO 64081‐3270
MARY PAVESE        424 E BALDWIN RD LOT D                                                                       PANAMA CITY          FL 32405‐4252
MARY PAVICH        6035 EAST AVE                                                                                HODGKINS              IL 60525‐4124
MARY PAVLICH       11805 VERNON AVE                                                                             CHINO                CA 91710‐1964
MARY PAVLIK        126 SLEEPY HOLLOW RD             C/O PAUL R PAVLIK                                           PITTSBURGH           PA 15216‐1728
MARY PAVLISCAK     2725 W LILY LAKE RD                                                                          HARRISON             MI 48625‐9528
MARY PAVLOVITS     12003 RIVERVIEW DR                                                                           SAINT LOUIS          MO 63138‐3616
MARY PAWCIO        4638 VERONA ST NW                                                                            WARREN               OH 44483‐1739
MARY PAWLAK        4746 KOCOT RD                                                                                STERLING             MI 48659‐9401
MARY PAYNE         407 1ST AVE NW                                                                               RUSKIN               FL 33570‐3912
MARY PAYNE         2316 KINGS RD                                                                                JACKSONVILLE         FL 32209‐5242
MARY PAYNE         19259 SEARAY DR                                                                              NOBLESVILLE          IN 46060‐6046
MARY PAYNE         2709 TRANSIT RD                  NEWFANE REHABILITATION CENTER                               NEWFANE              NY 14108‐9701

MARY PEAK          1810 W 7TH ST                                                                                ANDERSON            IN   46016‐2502
MARY PEARCE        PO BOX 152                                                                                   GALENA              MD   21635‐0152
MARY PEARSALL      35 ABEGALE SNOW RD                                                                           WEST BARNSTABLE     MA   02668‐1378
MARY PEARSALL      6135 MARCY ST                                                                                BRIGHTON            MI   48116‐2110
MARY PEARSALL      50743 HARBOUR VIEW DR S                                                                      NEW BALTIMORE       MI   48047‐4347
MARY PEARSON       543 N EAST ST                                                                                TIPTON              IN   46072‐1430
MARY PEARSON       298 FOREST AVE                                                                               GLEN RIDGE          NJ   07028‐1808
MARY PEART         842 DUKES DR                                                                                 MORRISVILLE         PA   19067‐3178
MARY PEASLEY       2013 RIVER RD TRLR 15                                                                        NIAGARA FALLS       NY   14304‐3726
MARY PECK          1527 BUFFALO ST                                                                              DAYTON              OH   45432‐3244
MARY PECK          3628 N OXFORD ST                                                                             INDIANAPOLIS        IN   46218‐1250
MARY PECK          2118 DONNELL DR                                                                              CHOCTAW             OK   73020‐2907
MARY PEEBLES       198 ROCKLAND DR                                                                              WILLINGBORO         NJ   08046‐4028
MARY PEERCY        206 LAWNDALE AVE                                                                             LEBANON             OH   45036‐1332
MARY PEGG          729 PEGGY DR                                                                                 EATON               OH   45320‐1236
MARY PEGG          7403 CHELLMAR DR                                                                             LANSING             MI   48917‐9100
MARY PEGGY HANES   5553 PLEASANT DR                                                                             WATERFORD           MI   48329‐3335
MARY PELCHA        5842 BRYSON ST                                                                               CINCINNATI          OH   45228‐1239
MARY PELLEGRINO    3034 SILVERSTONE LN                                                                          WATERFORD           MI   48329‐4539
MARY PELLERITO     3583 SEYMOUR LAKE RD                                                                         ORTONVILLE          MI   48462‐9133
MARY PELLETTERI    323 LAFAYETTE ST                                                                             BRISTOL             PA   19007‐5217
MARY PELTIER       8925 GITTINS ‐ R 1                                                                           COMMERCE TOWNSHIP   MI   48382
MARY PELTONEN      9950 HART LAKE RD RT 1                                                                       OTTER LAKE          MI   48464
MARY PEMBERTON     20443 E 2350 RD                                                                              LACYGNE             KS   66040‐9198
MARY PENA          4859 CARLISLE HWY                                                                            CHARLOTTE           MI   48813‐8502
MARY PENDLETON     376 WELLS STREET                                                                             HAWKINS             TX   75765‐2921
MARY PENN          PO BOX 9541                                                                                  JACKSON             MS   39286‐9541
MARY PENNINGTON    14521 SW 35TH TERRACE RD                                                                     OCALA               FL   34473‐2417
MARY PENNINGTON    45 W BANTA RD                                                                                INDIANAPOLIS        IN   46217‐3809
MARY PENOZA        1040 PARKWAY TRL 5                                                                           BLOOMFIELD HILLS    MI   48302
MARY PEOPLES       1807 W HOBSON AVE                                                                            FLINT               MI   48504‐7043
MARY PEPPERDINE    2064 WEBBER AVENUE                                                                           BURTON              MI   48529‐2412
MARY PERDUE        724 W 37TH ST                                                                                ANDERSON            IN   46013‐4008
MARY PERES         339 SANDY BROOK DR                                                                           HAMLIN              NY   14464‐9125
MARY PEREZ         1201 JUNIPER DR APT D                                                                        GILROY              CA   95020‐4789
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Name             Address1                           Address2           Address3      Address4         City           State Zip
MARY PERILLO     281 DALEVIEW DR                                                                      YARDLEY         PA 19067‐3404
MARY PERKINS     18479 BURT RD                                                                        DETROIT         MI 48219‐2442
MARY PERKINS     3730 PINEBROOK CIR APT 106                                                           BRADENTON       FL 34209‐8072
MARY PERKINS     4349 WOODROW AVE                                                                     BURTON          MI 48509‐1125
MARY PERKINS     9233 INDEPENDENCE BLVD APT 106                                                       CLEVELAND       OH 44130
MARY PERNA       PO BOX 129                                                                           NORTHVILLE      MI 48167‐0129
MARY PEROTTI     665 E GARFIELD AVE                                                                   HAZEL PARK      MI 48030‐1202
MARY PERREIRA    16420 SOUTHEAST MCGILLIVRAY BLVD   BOX 566                                           VANCOUVER       WA 98683
MARY PERRI       16 W HOLLY ST                      C/O DENNIS PERRI                                  CRANFORD        NJ 07016‐2129
MARY PERRY       91 STEVEN DR                                                                         CHEEKTOWAGA     NY 14227‐3627
MARY PERRY       232 OLE ROCKING CHAIR WAY                                                            CLOVERDALE      IN 46120‐8847
MARY PERRY       2371 S BRANDYWINE CT                                                                 GREENFIELD      IN 46140‐2579
MARY PERRY       930 HATTIE DRIVE                                                                     ANDERSON        IN 46013‐1636
MARY PERRY       11438 BALTMR PHLPSBRG RD                                                             BROOKVILLE      OH 45309
MARY PERSINO     3560 BROOKSIDE DR NW                                                                 WARREN          OH 44483‐2031
MARY PERUN       3176 LEHMAN ST                                                                       HAMTRAMCK       MI 48212‐3526
MARY PESCHL      305 MOHAWK RD                                                                        JANESVILLE      WI 53545‐2283
MARY PESCI       PO BOX 6                                                                             LAVALLETTE      NJ 08735‐0006
MARY PESHEK      541 WILCOX RD APT B                                                                  AUSTINTOWN      OH 44515‐6212
MARY PESIK       11921 EAST CORUNNA RD              PO BOX 55                                         LENNON          MI 48449
MARY PETERS      105 SUNNY BROOK DR                                                                   ATHENS          GA 30605‐3347
MARY PETERS      34437 RICHARD ST                                                                     WAYNE           MI 48184‐2329
MARY PETERS      9692 W STATE ROAD 250                                                                DEPUTY          IN 47230‐8941
MARY PETERS      1937 PEACH ST                                                                        SAINT PETERS    MO 63376‐6735
MARY PETERS      24221 SQUATTERS WAY                                                                  WARSAW          MO 65355‐6604
MARY PETERS      3907 HESTERTOWN RD NE                                                                MADISON         GA 30650‐2534
MARY PETERS      1015 HOLLY DR APT 801                                                                GAINESVILLE     GA 30501
MARY PETERS      420 S MAIN ST                                                                        CORNERSVILLE    TN 37047‐4401
MARY PETERSEN    26617 S TRURO DR                                                                     SUN LAKES       AZ 85248‐7142
MARY PETERSEN    5165 WOOD SHADE CT                                                                   WEST JORDAN     UT 84081‐3645
MARY PETERSON    11177 WESTLAWN DR                                                                    STANWOOD        MI 49346‐8956
MARY PETERSON    37633 BAYLOR DR                                                                      STERLING HTS    MI 48310‐4040
MARY PETERSON    31284 MACKENZIE DR                                                                   WESTLAND        MI 48185‐1682
MARY PETERSON    1919 N 1100 E                                                                        GREENTOWN       IN 46936‐9018
MARY PETERSON    2781 CRANSTON RD                                                                     MOREHEAD        KY 40351‐8978
MARY PETERSON    16 MORRIS RD                                                                         NEW CASTLE      DE 19720‐1726
MARY PETERSON    2895 W QUIMBY RD/ OAK VIEW                                                           HASTINGS        MI 48058
MARY PETERSON    20086 5 MILE RD                                                                      REED CITY       MI 49677‐8368
MARY PETHUNIS    9964 W 153RD ST APT 1E                                                               ORLAND PARK      IL 60462‐3240
MARY PETIYA      115 TURQUOISE DR                                                                     CORTLAND        OH 44410‐1933
MARY PETRI       PO BOX 1212                                                                          MADISONVILLE    KY 42431‐0025
MARY PETRIE      130 RENFREW AVE                                                                      MOUNT MORRIS    MI 48458‐8896
MARY PETRIN      3 MANOR PL                                                                           AVENEL          NJ 07001‐1406
MARY PETROVISH   PO BOX 2554                                                                          MONROE          MI 48161‐7554
MARY PETRY       1304 W 8TH ST APT D                                                                  ANDERSON        IN 46016‐2623
MARY PETRY       55 BOND ST                                                                           MILAN           OH 44846‐9701
MARY PETTIFORD   180 SUMPTER ST                                                                       BROOKLYN        NY 11233
MARY PETTIGREW   4703 GLENEAGLE DR                                                                    ANDERSON        IN 46013‐4767
MARY PETTIT      6511 DALTON DR                                                                       FLUSHING        MI 48433‐2313
MARY PETTY       224 CRUTCHER CIR                                                                     ATHENS          AL 35611‐4773
MARY PEYTON      5529 CAPERS AVE                                                                      FORT WORTH      TX 76112‐7607
MARY PHAM        316 S BOUZIDEN DR                                                                    MOORE           OK 73160‐7134
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Name                 Address1                      Address2                  Address3   Address4         City              State Zip
MARY PHARES          APT 403                       317 SYCAMORE GLEN DRIVE                               MIAMISBURG         OH 45342‐5709
MARY PHARRIS         553 CHAUCER RD                                                                      DAYTON             OH 45431‐2010
MARY PHELAN          2908 N HARRISON ST                                                                  WILMINGTON         DE 19802‐2935
MARY PHELPS          2600 DALE DR                  PO BOX 109                                            SIX LAKES          MI 48886‐9799
MARY PHILHOWER       4722 ANTHONY WAYNE AVE                                                              FAIRFIELD          OH 45014‐1700
MARY PHILLEO         35 MANKO LN APT 2                                                                   CHEEKTOWAGA        NY 14227‐1960
MARY PHILLIPPI       186 ANDERS DR                                                                       BOWLING GREEN      KY 42103‐9575
MARY PHILLIPS        3729 MORRISWOOD DRIVE                                                               HARVEY             LA 70058‐1932
MARY PHILLIPS        524 HUT WEST DR                                                                     FLUSHING           MI 48433‐1319
MARY PHILLIPS        34424 EUCLID AVE LOT 231                                                            WILLOUGHBY         OH 44094‐3379
MARY PHILLIPS        2226 LAWRENCE AVE                                                                   INDIANAPOLIS       IN 46227‐8634
MARY PHILLIPS        4903 BLOOMFIELD DR                                                                  DAYTON             OH 45426‐1601
MARY PHILLIPS        9186 RUTHERFORD ST                                                                  DETROIT            MI 48228‐2171
MARY PHILLIPS        1317 SCARLETT DR                                                                    ANDERSON           IN 46013‐2859
MARY PIASECKI        29298 LUND AVE                                                                      WARREN             MI 48093‐2498
MARY PICARD          5247 CITADEL ROAD                                                                   VENICE             FL 34293‐6408
MARY PICHEY          PO BOX 1206                                                                         LOCKPORT           NY 14095‐1206
MARY PICKELSIMER     7264 40TH ST                                                                        NEWAYGO            MI 49337‐8202
MARY PICKENS         30547 BURLINGTON ST                                                                 WESTLAND           MI 48186‐5035
MARY PICKENS         2836 ALKAY DR                                                                       SHREVEPORT         LA 71118‐2512
MARY PICKETT         160 VORN LN                                                                         BLOOMFIELD         MI 48301‐2422
MARY PICKLE          934 VANDYKE CROVE                                                                   PARIS              TN 38242
MARY PICONE          33 PEIRCE ST                  C/O ANGELINA PARRELLA                                 WALTHAM            MA 02453‐6030
MARY PIECEK          540 WARREN AVE                                                                      FLUSHING           MI 48433‐1462
MARY PIERCE          702 BIGGS TER                                                                       ARLINGTON          TX 76010‐4433
MARY PIERCE          10536 SHAWNEE RD              C/O CHRISTINE J KRILEY                                BROOKSVILLE        FL 34614‐2502
MARY PIERCE          6737 ROAD 176                                                                       ANTWERP            OH 45813‐9505
MARY PIERLEONI       6 FOX RUN                                                                           ROCHESTER          NY 14606‐5408
MARY PIERSANTI       933 MCCAULEY MOUNTAIN LN                                                            CHARLOTTESVILLE    VA 22903‐7725
MARY PIERSON         6405 SMOKE RISE TRL                                                                 GRAND BLANC        MI 48439‐4859
MARY PIETROSKY       4 GRAPE ST                                                                          ALVA               FL 33920‐5587
MARY PIJASZEK        2408 25TH ST                                                                        BAY CITY           MI 48708‐7618
MARY PIKE            5167 CENTER ST                                                                      FAIRGROVE          MI 48733‐9703
MARY PINDER          G 6319 N BELSEY ROAD                                                                FLINT              MI 48506
MARY PIORKOWSKI      31756 RUSH ST                                                                       GARDEN CITY        MI 48135‐1758
MARY PIPA            135 CALHOUN STREET                                                                  TORRINGTON         CT 06790‐3707
MARY PIPENGER        451 CIRCLE DR                                                                       GREENVILLE         OH 45331‐2872
MARY PIPER           7109 FOREST DR SE                                                                   COVINGTON          GA 30014‐3235
MARY PIRES           35 W SUMNER AVE APT 201                                                             UNION              NJ 07083‐9415
MARY PIROCH          2531 S CENTER ST                                                                    NEWTON FALLS       OH 44444‐9417
MARY PISARSKI        33 HULL RD                                                                          BURLINGTON         CT 06013‐2103
MARY PITCH           10727 MCCRUMB RD                                                                    PORTLAND           MI 48875‐9412
MARY PITTENGER       1384 WALKER AVE E                                                                   MANSFIELD          OH 44905‐3029
MARY PITTS           MEADOWVIEW APTS #B‐6                                                                LAWRENCEBURG       TN 38464
MARY PITTS           4442 BUCKS SCHOOL HOUSE RD                                                          ROSEDALE           MD 21237‐3311
MARY PITTSENBARGER   811 W JOHNSON ST                                                                    GALLATIN           MO 64640‐1276
MARY PLACE           12428 S WRIGHT RD                                                                   EAGLE              MI 48822‐9504
MARY PLACENCIO       11139 CHIMINEAS AVE                                                                 NORTHRIDGE         CA 91326‐2506
MARY PLANTE          7590 WOODVIEW ST APT 3                                                              WESTLAND           MI 48185‐5932
MARY PLATT           21456 E CHIPMUNK TRL                                                                WOODHAVEN          MI 48183‐5213
MARY PLEMONS         460 NORTHWOOD DR              F5                                                    CENTRE             AL 35960
MARY PLIESKATT       1700 CEDARWOOD DR APT 203                                                           FLUSHING           MI 48433‐3602
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Name                Address1                           Address2                     Address3   Address4         City               State Zip
MARY PLONKA         10052 MICHAEL STREET                                                                        TAYLOR              MI 48180‐3209
MARY PLOTZ          2939 ROUNDTREE DR                                                                           TROY                MI 48083‐2335
MARY PLOUCHA        347 E STATE ST                     PO BOX 484                                               MONTROSE            MI 48457‐9005
MARY PLOWMAN        49 MORRISON LAKE GDNS                                                                       SARANAC             MI 48881‐9705
MARY PLSEK          41130 FOX RUN ROAD                 207                                                      NOVI                MI 48377
MARY PLUIM          2115 84TH ST SW                    BLDG 1, ROOM 9                                           BYRON CENTER        MI 49315‐8668
MARY PLUNKETT       12882 WASHINGTONVILLE RD                                                                    SALEM               OH 44460‐9247
MARY POE            824 E CENTER RD                                                                             KOKOMO              IN 46902‐5367
MARY POE            120 HALL RD                                                                                 STONEWALL           LA 71078‐8801
MARY POFF           4660 MEIGS AVE                                                                              WATERFORD           MI 48329
MARY POFFENBERGER   247 S HEINCKE RD                                                                            MIAMISBURG          OH 45342‐3558
MARY POFFENBERGER   247 S. HEINCKE RD                                                                           MIAMISBURG          OH 45342
MARY POGROW         530 MILL RD                                                                                 ROCHESTER           NY 14626‐1041
MARY POGUE          15067 AUBURN ST                                                                             DETROIT             MI 48223‐2139
MARY POINTER        2915 S RANGELINE RD                                                                         ANDERSON            IN 46017‐1928
MARY POINTER        15055 METTETAL ST                                                                           DETROIT             MI 48227‐1939
MARY POLETTI        19600 S OAKLEY RD                                                                           OAKLEY              MI 48649‐9705
MARY POLICK         50 HILLCREST AVE                                                                            MERIDEN             CT 06450
MARY POLK           2016 COLLINGWOOD ST                                                                         DETROIT             MI 48206‐1536
MARY POLLACK        3386 JAMES ST                                                                               HERMITAGE           PA 16148‐3517
MARY POLLARD        5265 OAKHILL DR                                                                             SWARTZ CREEK        MI 48473‐8607
MARY POLLITT        492 MAPLEPORT WAY APT D                                                                     CINCINNATI          OH 45255‐5903
MARY POMAN          1160 STEARNS ST                                                                             BRUNSWICK           OH 44212‐2839
MARY POMERLEAU      318 BERLIN ST                      C/O MARSHA KOBYLENSKI                                    SOUTHINGTON         CT 06489‐3805
MARY POMPEI         8350 PLUMBROOK RD APT 175                                                                   STERLING HEIGHTS    MI 48313‐4733
MARY PONDER         5910 HUNTERS VIEW LN                                                                        DALLAS              TX 75232‐2508
MARY POOLE          12817 ABINGTON AVE                                                                          DETROIT             MI 48227‐1203
MARY POORE          14190 HOEFT RD                                                                              BELLEVILLE          MI 48111‐4275
MARY POPE           1313 UNIT 102 VILLA MARBELLA CT                                                             MYRTLE BEACH        SC 29572
MARY POPE           844 KUMLER AVE                                                                              DAYTON              OH 45402‐5912
MARY POPE           213 CAMPBELL                                                                                BAY CITY            MI 48708‐5412
MARY POPOLIZIO      44 ELECTRIC AVE                                                                             ROCHESTER           NY 14613‐1107
MARY POPOVICH       5419 HOLLY RD                                                                               BEDFORD HTS         OH 44146‐1507
MARY PORCYNALUK     2018 MUSKET RIDGE DR                                                                        RICHMOND            TX 77406‐6825
MARY PORECA         606 ESSEX AVE                                                                               BALTIMORE           MD 21221‐4720
MARY PORTE          791 WREN RD                                                                                 FRANKENMUTH         MI 48734‐9300
MARY PORTER         10410 PFLUM RD NE                                                                           MANCELONA           MI 49659‐9250
MARY PORTER         63 PARKDALE AVE                                                                             PONTIAC             MI 48340‐2545
MARY PORTER         32757 LANCASTER DR                                                                          WARREN              MI 48088‐6132
MARY PORTER         1100 HUNTERS CROSSING DR APT 106                                                            ELYRIA              OH 44035‐8945
MARY PORTER         19 SHADY LN                                                                                 MANSFIELD           OH 44906‐3013
MARY PORTER         7610 NE 75TH TER                                                                            KANSAS CITY         MO 64158‐1064
MARY PORTER         BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MARY PORTERFIELD    793 WINDING RIVER DR                                                                        WILLIAMSTON         MI 48895‐9024
MARY PORTNER        4521 DUBOIS BLVD                                                                            BROOKFIELD           IL 60513‐2225
MARY POSAK          5732 SPRINGBORN ROAD                                                                        CHINA               MI 48054‐3906
MARY POTCHATEK      23216 ALEXANDER RD                                                                          NORTH OLMSTED       OH 44070‐1108
MARY POULOS         5401 VANDEWATER AVE                                                                         CLARKSTON           MI 48346‐3446
MARY POULSEN        3 INDIANA AVE                                                                               JACKSON             NJ 08527‐2110
MARY POUNDS         3238 JACQUE ST                                                                              FLINT               MI 48532‐3707
MARY POUNDS         44 LAVENDON CIRCLE DR                                                                       BELLA VISTA         AR 72714‐3130
MARY POWELL         1842 HUNTERS COVE CIR                                                                       KOKOMO              IN 46902‐5181
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Name               Address1                          Address2              Address3                   Address4         City            State Zip
MARY POWELL        1340 S HONEYBEE CT                                                                                  WARSAW           IN 46580‐6127
MARY POWELL        3035 SAINT PAUL ST                                                                                  NIAGARA FALLS    NY 14305‐2261
MARY POWELL        136 RUPERT DR                                                                                       DANDRIDGE        TN 37725‐6869
MARY POWELL        2910 OLD MARION RD                                                                                  MERIDIAN         MS 39301‐1655
MARY POWERS        135 HEATHERSETT DR                                                                                  FRANKLIN         TN 37064‐4920
MARY POWERS        100 S JEFFERSON AVE STE 102                                                                         SAGINAW          MI 48607‐1274
MARY POWERS        12090 WEIMAN DR                                                                                     PINCKNEY         MI 48169‐9018
MARY POWESKI       404 WESTCHESTER DR SE                                                                               WARREN           OH 44484‐2174
MARY POWLEDGE      C/O ANGEL HAGMAIER & DAX FAUBUS   ATTORNEY AT LAW       211 E PARKWOOD AVE SUITE                    FRIENDSWOOD      TX 77546
                                                                           107
MARY POWLEDGE      2319 PILGRIMS BEND                                                                                  FRIENDSWOOD     TX   77546
MARY POZZUOLO      570 CHAMBERS ST                                                                                     SPENCERPORT     NY   14559‐9725
MARY PRAGMAN       363 HIGHWAY OO                                                                                      ODESSA          MO   64076‐6406
MARY PRAHIN        22115 GRATIOT RD RT 1                                                                               MERRILL         MI   48637
MARY PRATCHER      105 HALLER AVE                                                                                      BUFFALO         NY   14211‐2703
MARY PRATER        4424 LOUISIANA AVE                                                                                  SAINT LOUIS     MO   63111‐1006
MARY PRATT         3001 S KOLDYKE DR                                                                                   MARION          IN   46953‐3819
MARY PRATT         3320 GRANT ST                                                                                       SAGINAW         MI   48601‐4727
MARY PRATT         608 N RIVER AVE                                                                                     ALMA            MI   48801‐1731
MARY PRECOPIA      1113 HUSTON DR                                                                                      WEST MIFFLIN    PA   15122‐3103
MARY PRENTICE      159 PAINTER ROCK RD                                                                                 SOMERSET        PA   15501‐8414
MARY PRESCOTT      2222 S MONROE ST                                                                                    BAY CITY        MI   48708‐8777
MARY PRESSEL       1 PATRICK ST                                                                                        TROTWOOD        OH   45426‐3452
MARY PRESSLEY      4158 ARIKAREE CT                                                                                    JACKSONVILLE    FL   32223‐2003
MARY PRESTI        55 GAYLORD ST APT 703                                                                               BRISTOL         CT   06010‐5630
MARY PRETZER       2043 N RAUCHOLZ RD                                                                                  HEMLOCK         MI   48626‐8464
MARY PREWETT       9500 N WHEELING AVE LOT 61                                                                          MUNCIE          IN   47304‐9156
MARY PREWITT       870 OBERLIN DR                                                                                      FAIRFIELD       OH   45014‐2833
MARY PRICE         3 ORCHID LN                                                                                         BRADENTON       FL   34208‐1800
MARY PRICE         13412 S 1000 E                                                                                      GALVESTON       IN   46932
MARY PRICE         708 REDWAY CIR                                                                                      DAYTON          OH   45426‐2753
MARY PRIDEMORE     2530 MARX AVE                                                                                       WATERFORD       MI   48328‐3236
MARY PRIEBE        1773 STANFORD RD                                                                                    BERKLEY         MI   48072‐3059
MARY PRIEBE        4317 E HAMILTON AVE                                                                                 EAU CLAIRE      WI   54701‐8287
MARY PRIEUR        2309 EAST COURT STREET                                                                              FLINT           MI   48503‐2881
MARY PRIORI        82 ROUTE 31 N                                                                                       PENNINGTON      NJ   08534‐3606
MARY PROCTOR       35493 OAKDALE ST                                                                                    LIVONIA         MI   48154‐2235
MARY PROFFITT      737 S HOSPITAL RD                                                                                   WATERFORD       MI   48327‐3903
MARY PROFFITT      37442 FOUNTAIN PK CIRCLE          BLDG 12A APT 402                                                  WESTLAND        MI   48185
MARY PROKES        8908 FERNHILL AVE                                                                                   PARMA           OH   44129‐2024
MARY PROKOPOVICH   7005 STADIUM DRIVE                                                                                  BRECKSVILLE     OH   44141
MARY PROKOPP       1846 LITTLEFIELD RD                                                                                 FARWELL         MI   48622‐9741
MARY PROPER        1231 ANDOVER CT                                                                                     WIXOM           MI   48393‐1599
MARY PRYBOLSKY     8 FALMOUTH RD                                                                                       ISELIN          NJ   08830‐2407
MARY PRYOR         773 OWEGO DR                                                                                        PONTIAC         MI   48341‐1158
MARY PRYOR         3634 PARK LAWN DR                                                                                   SAINT LOUIS     MO   63125‐2461
MARY PRZEKOP       1017 JAMAICA BLVD                                                                                   TOMS RIVER      NJ   08757‐3742
MARY PSIHOUNTAS    8663 E DOANE PL                                                                                     DENVER          CO   80231‐4551
MARY PUCHALSKI     1461 LAMBERT ST                                                                                     RAHWAY          NJ   07065‐2022
MARY PUCKETT       815 IVES RD                       C/O JAMES W LEASURE                                               MASON           MI   48854‐9614
MARY PUCKETT       1443 E MIZE RD                                                                                      DEMOREST        GA   30535‐5328
MARY PUFF          5893 WEST JACKSON STREET                                                                            LOCKPORT        NY   14094‐1735
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Name                  Address1                           Address2               Address3   Address4               City            State Zip
MARY PUGH             2720 OTTELLO AVE                                                                            DAYTON           OH 45414‐4818
MARY PUGH             3650 SILVER SANDS DR                                                                        WATERFORD        MI 48329‐4258
MARY PUGH             1405 JEFFREY LN                                                                             INKSTER          MI 48141‐1505
MARY PULCINI          13244 CANOPY DR                                                                             STERLING HTS     MI 48313‐1192
MARY PULICE           1412 OLD WYOMISSING RD                                                                      READING          PA 19610‐2506
MARY PULLEN           3505 BRENTWOOD DR                                                                           FLINT            MI 48503‐2350
MARY PULLY            606 SUNSET AVE                                                                              ELKHART          IN 46514‐3448
MARY PUPILLO          1807 GILPIN AVE                                                                             WILMINGTON       DE 19806‐2305
MARY PURDOM           350 WADESBORO RD                                                                            PADUCAH          KY 42003‐1074
MARY PURINTUN         2702 N FELLOWS RD                                                                           EVANSVILLE       WI 53536‐9524
MARY PURNELL          593 LAKE RIDGE DR                                                                           LIMA             OH 45804‐3672
MARY PURPORA          5580 SCARFF RD                                                                              NEW CARLISLE     OH 45344‐8667
MARY PYLES            30700 DROUILLARD RD LOT 238                                                                 WALBRIDGE        OH 43465‐1557
MARY PYTLIK           5748 SARAH AVE NW                                                                           WARREN           OH 44483‐1159
MARY QUAGLIATA        70 THISTLEDOWN DR                                                                           ROCHESTER        NY 14617‐3019
MARY QUALLS           217 WILSON ST                                                                               KENNETT          MO 63857‐1656
MARY QUEEN            707 S BROAD ST                                                                              MONROE           GA 30655‐2127
MARY QUICK            40 MARIE AVE                                                                                CHEEKTOWAGA      NY 14227‐1410
MARY QUICK            1070 WEST JEFFERSON STREET                                                                  FRANKLIN         IN 46131‐2179
MARY QUIG             810 RIVER ACRES                                                      BROCKVILLE ON K6V5T1
                                                                                           CANADA
MARY QUILES           4040 S HOWELL AVE                                                                           MILWAUKEE       WI   53207‐4408
MARY QUIMBY           201 MALL DR S APT 100                                                                       LANSING         MI   48917‐3272
MARY QUIRK            17 LAKE SPRINGS DR                                                                          MCLOUD          OK   74851‐8961
MARY R BAKER          6308 BURKWOOD DR                                                                            CLAYTON         OH   45315‐9752
MARY R BAKER          6308 BURKWOOD DR                                                                            CLAYTON         OH   45315‐9752
MARY R COLES          6382 S TIMBERIDGE AVE                                                                       AUSTINTOWN      OH   44515‐5615
MARY R CROTHERS       5821 IVV HILL RD                                                                            HILLSBORO       OH   45133‐9605
MARY R DEMARCO        3267 PHEASANT RUN RD UNIT C                                                                 CORTLAND        OH   44410‐9128
MARY R FIORITO        1145 OGDEN PARMA T L ROAD                                                                   SPENCERPORT     NY   14559
MARY R FLEMING        1310 CHARLES STREET                                                                         GADSDEN         AL   35904‐1215
MARY R GALGOSZY       2280 NILES CORTLAND RD NE                                                                   CORTLAND        OH   44410‐9404
MARY R GREENE         2154 WEST ALEUTS DR                                                                         BEVERLY HILLS   FL   34465
MARY R GREENE         9 VIRGINIA LN                                                                               ROCHESTER       NY   14624‐4108
MARY R HNATIW         2330 WEST HENRIETTA RD                                                                      ROCHESTER       NY   14623‐1343
MARY R HOSKINS        1047 LITTLE DOGWOOD RD                                                                      KINGSTON        TN   37763
MARY R ISBELL         288 COURTNEYS PL                                                                            LAPEER          MI   48446‐7624
MARY R JAPUNCHA       8174 ENGLEWOOD N.E.                                                                         WARREN          OH   44484‐1967
MARY R MALDONADO      1879 DIFFORD DR                                                                             NILES           OH   44446‐2802
MARY R MARTIN (IRA)   6631 SHINNECOCK HILLS CIR                                                                   HOUSTON         TX   77069
MARY R MARTINEZ       15380 RYAN STREET                                                                           SYLMAR          CA   91342‐3650
MARY R MOORE          39 DUPONT AVE                                                                               TONAWANDA       NY   14150‐7701
MARY R MURPHY         PO BOX 320495                                                                               FLINT           MI   48532‐0009
MARY R MUSE           4765 LAMME RD                                                                               DAYTON          OH   45439‐3049
MARY R MUSHINSKI      C/O CHARLES SCHWAB & CO INC CUST IRA 13406 SUNDOWNER DR                                     HOUSTON         TX   77041‐6569
                      ROLLOVER
MARY R NEWMAN         234 LAUREL DR                                                                               BATTLE CREEK    MI   49017‐4633
MARY R OSBORNE        2432 TENNESSEE DR                                                                           XENIA           OH   45385‐4765
MARY R RANDLE         1841 LAUREL OAK DR                                                                          FLINT           MI   48507‐2253
MARY R RECKARD        801 SUNSHINE RUN                                                                            ARNOLDS PARK    IA   51331
MARY R ROSCOE         7861 ST/ ROUTE 609                                                                          BURGHILL        OH   44404‐9730
MARY R SEMKO          3961 NEWROAD                                                                                YOUNGSTOWN      OH   44515‐4628
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Name               Address1                            Address2            Address3         Address4         City             State Zip
MARY R SMITH       160 IVANHOE N.E.                                                                          WARREN            OH 44483‐3411
MARY R SMITH       160 IVANHOE ST NE                                                                         WARREN            OH 44483‐3411
MARY R STANAFORD   3800 SUMMIT GLEN RD                                                                       DAYTON            OH 45449‐3647
MARY R WHITTAKER   920 HIGHRIDGE AVENUE                                                                      DAYTON            OH 45420‐2741
MARY R WILTROUT    1433 KEARNEY                                                                              NILES             OH 44446‐3841
MARY RABIDEAU      1010 ELK ST                                                                               GLADWIN           MI 48624‐1300
MARY RABOLD        831 FAIRWAY CT                                                                            MIAMISBURG        OH 45342‐3315
MARY RACHUNAS      317 LIBOUREL RD.                                                                          S. PLAINFIELD     NJ 07080‐4113
MARY RADEBACH      5615 S BLACKMOOR DR                                                                       MURRELLS INLET    SC 29576‐8943
MARY RADEER        401 SW 4TH AVE APT 604                                                                    FT LAUDERDALE     FL 33315‐1036
MARY RADEMACHER    5535 W PARKS RD                                                                           SAINT JOHNS       MI 48879‐9558
MARY RADEMACHER    11136 COBBLESTONE LN                                                                      GRAND LEDGE       MI 48837‐9116
MARY RADER         6970 N 100 W                                                                              HARTFORD CITY     IN 47348‐9221
MARY RADFORD       3216 GRUNDY RD                                                                            SOMERSET          KY 42501‐5022
MARY RADGIN        2645 RIVERSIDE DR APT 811                                                                 TRENTON           MI 48183‐2839
MARY RADICAN       21631 PRIDAY AVE                                                                          EUCLID            OH 44123‐2680
MARY RADLICK       1220 41ST AVENUE EAST                                                                     ELLENTON          FL 34222‐2540
MARY RADOVIC       2120 ROBBINS AVE APT 412                                                                  NILES             OH 44446‐3964
MARY RADTKE        236 10 MILE RD NW                                                                         SPARTA            MI 49345‐8300
MARY RAEBURN       7842 CASTLE ROCK DR NE                                                                    WARREN            OH 44484‐1409
MARY RAGON         2314 DOUBLE EAGLE DR                                                                      MISSION           TX 78572‐9873
MARY RAIA          2826 COUNTRY CLUB BLVD                                                                    SUGARLAND         TX 77478
MARY RAICHE        1311 W DELAVAN DR                                                                         JANESVILLE        WI 53546‐5376
MARY RAINBOW       161 E LORAIN ST                                                                           OBERLIN           OH 44074‐1211
MARY RAINES        1210 OPEN FORK RD                                                                         MOREHEAD          KY 40351‐7662
MARY RAINES        7506 W 450 N                                                                              SHARPSVILLE       IN 46068‐8944
MARY RAINES        1007 HIGHLAND ROAD                                                                        EASLEY            SC 29640
MARY RAINWATER     2212 N 250 E LOT 91                                                                       KOKOMO            IN 46901‐3482
MARY RAJEWSKI      2515 22ND ST                                                                              BAY CITY          MI 48708‐7612
MARY RAKES         541 ASHER PASS                                                                            MILAN             MI 48160‐1580
MARY RALEIGH       10848 EASTON RD                                                                           NEW LOTHROP       MI 48460‐9714
MARY RAMIREZ       11147 BLUCHER AVE                                                                         GRANADA HILLS     CA 91344‐4310
MARY RAMMACHER     12782 WATERVIEW ST                                                                        GOWEN             MI 49326‐9778
MARY RAMON         1311 STATE ST                                                                             BAY CITY          MI 48706‐3672
MARY RAMSEY        PO BOX 202474                                                                             CLEVELAND         OH 44120‐8124
MARY RAMSEY        413 BERWYN AVE                                                                            EWING             NJ 08618‐2527
MARY RAMSEY        373 WRIGHT LN                       C/O JOYCE RAMSEY                                      PIONEER           TN 37847‐2461
MARY RAMSEYER      4492 W 250 S                                                                              RUSSIAVILLE       IN 46979‐9454
MARY RANALLO       6251 SE HIGHWAY 33                                                                        HOLT              MO 64048‐8351
MARY RANDALL       1860 N COOPER ST APT B7                                                                   ARLINGTON         TX 76011
MARY RANDALL       7128 GROVELAND DR                                                                         SAINT LOUIS       MO 63121‐2719
MARY RANDLE        1841 LAUREL OAK DR                                                                        FLINT             MI 48507‐2253
MARY RANELLA       38740 BYRIVER ST                                                                          CLINTON TWP       MI 48036‐1813
MARY RAPP          1769 ROCKWELL DR                                                                          XENIA             OH 45385‐3844
MARY RAPPLEY       14360 SWAN CREEK RD                                                                       HEMLOCK           MI 48626‐9745
MARY RAPTOSH       1613 OAKVIEW DR                                                                           CANTON            MI 48187‐3139
MARY RASLICH       6333 BUELL RD                                                                             VASSAR            MI 48768‐9614
MARY RASMUSSEN     254 MANALAPAN RD                                                                          SPOTSWOOD         NJ 08884‐1816
MARY RASMUSSEN     866 CARLSON RD                                                                            MANISTEE          MI 49660
MARY RATHBUN       1404 S SWEGLES ST                                                                         SAINT JOHNS       MI 48879‐2326
MARY RATKOVICH     1 PATTON VW                                                                               BEDFORD           IN 47421‐8627
MARY RATLEDGE      4 ENCLAVE                                                                                 PARAGOULD         AR 72450‐6010
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Name                Address1                         Address2                 Address3   Address4         City             State Zip
MARY RATLIFF        2343 KY ROUTE 3224 3224 322                                                           RIVER             KY 41254
MARY RATLIFF        PO BOX 57                                                                             MOOREFIELD        WV 26836‐0057
MARY RATTAY         29722 CITATION CIR APT 23202                                                          FARMINGTON HLS    MI 48331
MARY RATTY          4022 SHANNON DR                                                                       FORT WAYNE        IN 46835‐2155
MARY RAU            925 CHURCH ST                                                                         JANESVILLE        WI 53548‐2308
MARY RAU            7338 N JENNINGS RD                                                                    MOUNT MORRIS      MI 48458‐9305
MARY RAU            1133 DEWITT ST                                                                        SEBRING           FL 33872‐4384
MARY RAY            303 GREENFIELD BLVD                                                                   GREENVILLE        NC 27834‐1112
MARY RAY            1816 WHITNEY AVE                                                                      NIAGARA FALLS     NY 14301‐1336
MARY RAY            3379 BEAVER RD                                                                        BAY CITY          MI 48706‐1165
MARY RAYMER         12100 SEMINOLE BLVD LOT 133                                                           LARGO             FL 33778‐2818
MARY RAYMOND        3477 SOUTHGATE DR                                                                     FLINT             MI 48507‐3222
MARY RAYMOND        2038 CARTIER ST                                                                       FLINT             MI 48504‐4864
MARY RAZUM          200 PALMER CIR NE                                                                     WARREN            OH 44484‐5547
MARY READY TAYLOR   115 WENTWORTH AVE                                                                     NASHVILLE         TN 37215
MARY REAL           204 KNOB ROAD                                                                         LEBANON           TN 37087‐3237
MARY REBENNACK      5450 S KEYSTONE AVE                                                                   INDIANAPOLIS      IN 46227‐4566
MARY REBER          5353 DUNSTER RD                                                                       GRAND BLANC       MI 48439‐9752
MARY RECKNAGER      441 ALGENE ST                                                                         LAKE ORION        MI 48362‐2701
MARY RECOLLET       7826 WILLIAMS RD                                                                      LANSING           MI 48911‐3047
MARY REDD           2014 S 57TH ST                                                                        PHILADELPHIA      PA 19143‐5616
MARY REDDING        1438 UPLAND DR                                                                        GRIFFIN           GA 30223‐1241
MARY REDDING        3329 TWINFLOWER RD                                                                    ALBANY            GA 31701‐7511
MARY REDER          86 COMMONWEALTH BLVD                                                                  NEW CASTLE        DE 19720‐3418
MARY REDICK         4234 RED ARROW RD                                                                     FLINT             MI 48507‐5443
MARY REDWITZ        2403 TUSCOLA ST                                                                       FLINT             MI 48503‐2135
MARY REED           1616 SPRUCE ST                                                                        SAGINAW           MI 48601‐2855
MARY REED           300 W NORTH UNION ST                                                                  BAY CITY          MI 48706‐3522
MARY REED           206 W WATER ST                   APT 206                                              GREENVILLE        OH 45331
MARY REED           210 S SUMMIT RD                                                                       GREENVILLE        PA 16125‐9292
MARY REED           740 EASTERN AVE NE                                                                    GRAND RAPIDS      MI 49503‐1813
MARY REED           926 GRAYSON TRL                                                                       BROWNSBURG        IN 46112
MARY REED           5467 KAREN ISLE DR                                                                    WILLOUGHBY        OH 44094‐4355
MARY REED           5538 LIEBOLD DR                                                                       DAYTON            OH 45424‐3831
MARY REED           APT 520                          15700 PROVIDENCE DRIVE                               SOUTHFIELD        MI 48075‐3128
MARY REED           8213 TAMARACK CT                                                                      BIRCH RUN         MI 48415‐8539
MARY REEDY          2502 MARTIN LUTHER KING BLVD E                                                        SAGINAW           MI 48601‐7454
MARY REESE          61 BIRCH PL                                                                           BUFFALO           NY 14215‐3002
MARY REESE          3501 S SHERWOOD RD SE APT B                                                           SMYRNA            GA 30082‐2822
MARY REESE          PO BOX 87109                                                                          COLLEGE PARK      GA 30337‐0109
MARY REEVES         2252 PLAZA DR W                                                                       CLIO              MI 48420‐2106
MARY REEVES         1109 JACKSON ST APT 1103                                                              ANDERSON          IN 46016‐1473
MARY REEVES         3834 GANGES FIVE POINTS RD       ROUTE 1                                              MANSFIELD         OH 44903‐8816
MARY REGAN          6840 S CORAL GABLE DR                                                                 CHANDLER          AZ 85249‐4388
MARY REGELLO        923 ESSARY RD                                                                         TAZEWELL          TN 37879‐4414
MARY REGER          5103 DUFFIELD RD                                                                      FLUSHING          MI 48433‐9711
MARY REID           2829 WOODWAY AVE                                                                      DAYTON            OH 45405‐2750
MARY REID           6080 LAWRENCE HWY                                                                     CHARLOTTE         MI 48813‐9553
MARY REIGLE         N6521 NORWEGIAN RD                                                                    ALBANY            WI 53502‐9751
MARY REILLY         1635 PROSPECT ST                                                                      MINERAL RIDGE     OH 44440‐9734
MARY REIMER         730 LEISURE WORLD                                                                     MESA              AZ 85206‐2481
MARY REINHARDT      5877 NORTH JACK ROAD                                                                  MIDLAND           MI 48642‐8433
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Name              Address1                       Address2           Address3         Address4         City                 State Zip
MARY REISTER      9637 48TH AVE                                                                       ALLENDALE             MI 49401‐8439
MARY REITH        APT 15                         100 NORTH STREET                                     MEDINA                NY 14103‐1366
MARY RELEFORD     477921 OLD US HIGHWAY 64                                                            MULDROW               OK 74948‐5813
MARY RELIFORD     3537 KENSINGTON AVE                                                                 KANSAS CITY           MO 64128‐2763
MARY RELUE        21096 POWERS RD                                                                     DEFIANCE              OH 43512‐9069
MARY REMINGTON    1202 LOCUST ST                                                                      FRANKTON              IN 46044‐9748
MARY REMPALA      15587 HANFOR AVE                                                                    ALLEN PARK            MI 48101‐2709
MARY RENDA        1553 ILLINOIS AVE                                                                   FLINT                 MI 48506‐3552
MARY RENDALL      6134 DEAN ST                                                                        TAYLOR                MI 48180‐1100
MARY RENFRO       PO BOX 732                                                                          LINCOLN PARK          MI 48146‐0732
MARY RENO         5049 GREAT LAKES DR S                                                               EVANSVILLE            IN 47715‐3027
MARY REPENNING    6436 BRIGHTON DR                                                                    NORTH OLMSTED         OH 44070‐4828
MARY RESLER       16395 HEATHER LN APT 203                                                            MIDDLEBRG HTS         OH 44130‐8327
MARY RESSLER      5383 FLORA DR                                                                       LEWISBURG             OH 45338‐7722
MARY RESTAINO     11234 SPRING CREEK LN                                                               ORLAND PARK            IL 60467‐7304
MARY RETHLAKE     7887 W 00 NS                                                                        KOKOMO                IN 46901‐8817
MARY RETSEL       4382 LOTUS DR                                                                       WATERFORD             MI 48329‐1236
MARY RETZLOFF     6077 THORNCLIFF DR                                                                  SWARTZ CREEK          MI 48473‐8853
MARY REUTER       1606 CEDAR AVE                                                                      JEFFERSON CITY        TN 37760
MARY REVAK        6743 BRISTLEWOOD DR UNIT 3                                                          BOARDMAN              OH 44512‐5119
MARY REWA         4020 JUPITER AVE NE                                                                 GRAND RAPIDS          MI 49525‐1850
MARY REYES        3315 JOHANN DR                 C/O MARGO REYES                                      SAGINAW               MI 48609‐9760
MARY REYNOLDS     5586 COLUMBUS CIR                                                                   WILDWOOD              FL 34785‐8120
MARY REYNOLDS     3501 FLEMING RD                                                                     FLINT                 MI 48504‐3745
MARY REYNOLDS     2962 COWBOY DR                                                                      DALLAS                TX 75237‐3245
MARY REYNOLDS     9875 PALMOOR ST                                                                     WHITE LAKE            MI 48386‐2841
MARY REYNOLDS     806 N 25TH ST                                                                       SAINT JOSEPH          MO 64506‐2706
MARY REYNOLDS     2250 OLD MOODY BLVD LOT 46                                                          BUNNELL               FL 32110‐8412
MARY REYNOLDS     509 DAVIS DR                                                                        DESOTO                TX 75115‐4303
MARY REZAK        5911 THUNDERBIRD DR                                                                 MENTOR ON THE LAKE    OH 44060‐3051
MARY RHINEBOLT    5323 ENGLISH RD                                                                     CLIFFORD              MI 48727‐9500
MARY RHOADES      651 S SPRUCE ST                                                                     GARDNER               KS 66030‐1497
MARY RHODES       2410 W 15TH ST                                                                      ANDERSON              IN 46016‐3106
MARY RHODES       2210 N BRADY ST                                                                     MUNCIE                IN 47303‐2312
MARY RHODES       12113 COUNTY ROAD I                                                                 BRYAN                 OH 43506‐9411
MARY RHODES       4124 VILLAGE CREEK RD                                                               FORT WORTH            TX 76119‐4137
MARY RHODES       4491 HILLCREST RD                                                                   ARNOLD                MO 63010‐3333
MARY RICCIO       10000 W RIDGEWOOD DR APT 625                                                        PARMA HEIGHTS         OH 44130‐4061
MARY RICCIUTI     5150 WILLIAMS DR                                                                    VIENNA                OH 44473‐9624
MARY RICE         5625 HARVEY POINTE LN                                                               MEMPHIS               TN 38125‐4211
MARY RICE         3291 PINNACLE PARK DR                                                               MORAINE               OH 45418‐2983
MARY RICE         424 WINTERHAWK DR                                                                   INDIANAPOLIS          IN 46241‐1063
MARY RICH         906 BLOOD RD                                                                        TECUMSEH              MI 49286‐9575
MARY RICH         3062 NORTHVILLE DR NE                                                               GRAND RAPIDS          MI 49525‐1353
MARY RICHARD      905 E ALMA AVE                                                                      FLINT                 MI 48505‐2295
MARY RICHARDS     224 N EAST ST                                                                       BETHEL                OH 45106‐1204
MARY RICHARDS     2820 GERMAIN DR                                                                     SAGINAW               MI 48601‐5607
MARY RICHARDS     1441 BISHOP RD                                                                      SPRING HILL           FL 34608‐5707
MARY RICHARDSON   158 CREEKWOOD CIR                                                                   LINDEN                MI 48451‐8935
MARY RICHARDSON   PO BOX 64704                                                                        ROCHESTER             NY 14624‐7104
MARY RICHARDSON   303 MAGNOLIA ST                                                                     EDWARDS               MS 39066‐9770
MARY RICHCREEK    2310 N JAY ST                                                                       KOKOMO                IN 46901‐1678
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Name                   Address1                       Address2                Address3     Address4         City             State Zip
MARY RICHESON          3743 W 10TH ST                                                                       INDIANAPOLIS      IN 46222‐3326
MARY RICHEY            5102 RIDGE DR                                                                        SOUTHSIDE         AL 35907‐5321
MARY RICHEY            817 MONROE AVE                                                                       ASHLAND           OH 44805‐1124
MARY RICHIE            254 DEVONSHIRE ST                                                                    YPSILANTI         MI 48198‐6021
MARY RICHWAY           34902 HAMILTON DR                                                                    FRASER            MI 48026‐2045
MARY RICKETSON         1046 CHASE RD                                                                        CORNELIA          GA 30531
MARY RICKEY            C/O CASCINO MICHAEL P          220 SOUTH ASHLAND AVE                                 CHICAGO            IL 60607
MARY RICKKERS          32987 CHAPMAN CIR                                                                    WESTLAND          MI 48185‐9419
MARY RICKMAN           5014 MALLARD VIEW DR                                                                 INDIANAPOLIS      IN 46226‐2100
MARY RICKNER           3689 CRANBROOK DR                                                                    LAMBERTVILLE      MI 48144‐9519
MARY RICKSGERS         16315 BIRD RD                                                                        LINDEN            MI 48451‐9649
MARY RIDER             5068 ISLAND VIEW DR                                                                  LINDEN            MI 48451‐9031
MARY RIDGEWAY          231 E COURT ST                                                                       PIGGOTT           AR 72454‐2714
MARY RIDGEWAY          4120 11TH ST                                                                         ECORSE            MI 48229‐1221
MARY RIDGEWAY          2190 TAMPICO TRL                                                                     BELLBROOK         OH 45305‐1463
MARY RIDGLEY           1 BENTWOOD LN, LAMAR           HCO4 BOX 108                                          ROCKPORT          TX 78382
MARY RIEFEL            706 DAYTON AVE                                                                       KALAMAZOO         MI 49048‐2102
MARY RIFFELL           5539 HAHN RD                                                                         GREENVILLE        OH 45331‐9653
MARY RIGGLE            2251 S WALLICK RD                                                                    PERU              IN 46970‐7354
MARY RIGGS             8620 MONROE AVE                                                                      CINCINNATI        OH 45242‐7938
MARY RIGLEY            24614 DARTMOUTH ST                                                                   DEARBORN          MI 48124‐3141
MARY RIGNEY            8649 FLORES CT.D                                                                     FORT MYERS        FL 33907
MARY RIGNOLA           10 EIMER ST                                                                          PATCHOGUE         NY 11772‐1109
MARY RILEY             19690 N HIGHWAY 99 UNIT 125                                                          ACAMPO            CA 95220‐9552
MARY RILEY             1318 WASHINGTON AVE NW                                                               RUSSELLVILLE      AL 35653‐1536
MARY RILEY             7116 BRITTWOOD LN                                                                    FLINT             MI 48507‐4622
MARY RILEY             19303 GAYLORD                  C/O RICHARD E. RILEY                                  REDFORD           MI 48240‐2616
MARY RINGER            1104 CANTERBURY ROAD                                                                 GAINESVILLE       GA 30504‐2623
MARY RINGLER           6388 MICHAEL DR                                                                      BROOK PARK        OH 44142‐3814
MARY RINKER            108 TOWER RD                                                                         ANDERSON          IN 46011‐1752
MARY RIORDAN           1226 9 MILE RD NW                                                                    SPARTA            MI 49345‐9744
MARY RIOS              6020 APPOLINE ST                                                                     DEARBORN          MI 48126‐2320
MARY RIPPA             2048 W 11TH ST                                                                       BROOKLYN          NY 11223‐3541
MARY RISMILLER         3616 CLEVELAND AVE                                                                   DAYTON            OH 45410‐3204
MARY RISOLDI           285 PARKER ST                                                                        NEWARK            NJ 07104‐1212
MARY RISTAU            156 BIRCHWOOD DR                                                                     PINE BUSH         NY 12566‐7320
MARY RITA HIGDON IRA   330 VALLEY LN                                                                        LEBANON           KY 40033
MARY RITCHIE           9 KING ST                                                                            PIEDMONT          SC 29673‐1307
MARY RITTER            APT L                          10303 SUNNYLAKE PLACE                                 COCKEYSVILLE      MD 21030‐5350
MARY RITZ              480 PROSPECT ST                                                                      LOCKPORT          NY 14094‐2159
MARY RITZEL            309 S PARKWAY                  APT L101                                              BROOMALL          PA 19008
MARY RIVERA            #1 BETSY'S FLAG CT.                                                                  O FALLON          MO 63366
MARY RIVERA            PO BOX 1264                                                                          BRADY             TX 76825‐1264
MARY RIVERS            79 WALDORF AVE                                                                       ROCHESTER         NY 14606‐3731
MARY RIVERS            17219 SAINT AUBIN ST                                                                 DETROIT           MI 48212‐1581
MARY ROACH             26600 SCHOOLCRAFT APT 308                                                            REDFORD           MI 48239‐4625
MARY ROACH             521 NEIGHBORS LN                                                                     DUFFIELD          VA 24244‐4414
MARY ROACH             105 NOAHS COURT                                                                      MARTINSBURG       WV 25404‐5459
MARY ROARK             16588 SAN TOMAS DR                                                                   SAN DIEGO         CA 92128‐2706
MARY ROBB              47 BRADFORD RD                                                                       PITTSFORD         NY 14534‐2535
MARY ROBBINS           215 COMPTON RD                                                                       JEFFERSONVILLE    KY 40337‐9404
MARY ROBBINS           2032 MORRISH STREET                                                                  BURTON            MI 48519‐1021
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Name                             Address1                               Address2                      Address3                   Address4                 City                   State Zip
MARY ROBBINS                     915 HACIENDA PL                                                                                                          GREENWOOD               IN 46143‐2618
MARY ROBBINS                     918 COWPENS DR                         C/O JOEL P ROBBINS                                                                MONTEREY                TN 38574‐7083
MARY ROBERSON                    423 GARDEN AVE                                                                                                           MOUNT VERNON            NY 10553‐2015
MARY ROBERSON                    1400 PLYMOUTH AVE S APT 511                                                                                              ROCHESTER               NY 14611‐3914
MARY ROBERTS                     10 THAMES CT                                                                                                             CROSSVILLE              TN 38558‐6878
MARY ROBERTS                     8734 ELLIS RD                                                                                                            RAVENNA                 MI 49451‐9432
MARY ROBERTS                     2301 NORTH CARRIAGE LANE                                                                                                 MUNCIE                  IN 47304‐9599
MARY ROBERTS                     4612 SAINT CHARLES ST                                                                                                    ANDERSON                IN 46013‐2458
MARY ROBERTS                     1950 ECKLEY AVE                                                                                                          FLINT                   MI 48503‐4571
MARY ROBERTS                     1429 LASALLE AVE                                                                                                         BURTON                  MI 48509‐2407
MARY ROBERTS                     1827 W 52ND ST                                                                                                           CLEVELAND               OH 44102‐3337
MARY ROBERTS                     14317 3/4 KINSMAN RD.                                                                                                    CLEVELAND               OH 44120
MARY ROBERTS                     G1356 LOUIS AVENUE                                                                                                       FLINT                   MI 48505
MARY ROBERTS                     4811 AMSLER RD                                                                                                           ELLENWOOD               GA 30294‐2019
MARY ROBERTS                     6250 ROSEWOOD DR APT 2003                                                                                                NORTH RICHLAND HILLS    TX 76180‐4977
MARY ROBERTS                     PO BOX 1406                                                                                                              ALVARADO                TX 76009‐1406
MARY ROBERTS                     612 MARY CT                                                                                                              FENTON                  MI 48430‐1415
MARY ROBERTS                     35037 STELLWAGEN STREET                                                                                                  WAYNE                   MI 48184‐2355
MARY ROBERTS                     9283 LYTHAM DR                                                                                                           SHREVEPORT              LA 71129‐4835
MARY ROBERTS                     148 BRANDI WAY                                                                                                           WINCHESTER              TN 37398‐1477
MARY ROBERTS                     2352 BUCKINGHAM AVE                                                                                                      BIRMINGHAM              MI 48009‐5869
MARY ROBERTSON                   1113 BASS ST                                                                                                             MADISON                 NC 27025‐9340
MARY ROBERTSON                   19165 SAN JUAN DR                                                                                                        DETROIT                 MI 48221‐1711
MARY ROBERTSON                   12937 HEIMBERGER RD                    C/O DONNIE K ROBERTSON                                                            BALTIMORE               OH 43105‐9451
MARY ROBERTSON                   15855 PLAINVIEW AVE                                                                                                      DETROIT                 MI 48223‐1234
MARY ROBERTSON                   4907 S PARK RD                                                                                                           KOKOMO                  IN 46902‐5002
MARY ROBERTSON                   6545 GLENDALE DR                                                                                                         TROY                    MI 48098‐1713
MARY ROBESON, WILLIAM ROBESON,   RICHARD ROBESON, INDIV & AS HEIRS OF   ATTN: IAN P CLOUD C/O HEARD   CLOUD BLACK & LUBEL, LLP   9 GREENWAY PLZ, STE 2300 HOUSTON                 TX 77046
DAVID ROBESON &                  WILLIAM S ROBESON JR, DECD             ROBINS
MARY ROBINETTE                   1717 "B" STREET LOT 49                                                                                                  ANDERSON                IN   46016
MARY ROBINSON                    16706 GLENDALE AVE                                                                                                      CLEVELAND               OH   44128‐1452
MARY ROBINSON                    27361 OSMUN ST                                                                                                          MADISON HEIGHTS         MI   48071‐3335
MARY ROBINSON                    5606 N 19TH ST                                                                                                          PHOENIX                 AZ   85016‐3007
MARY ROBINSON                    23542 W BENTLEY DR                                                                                                      PLAINFIELD              IL   60586‐9204
MARY ROBINSON                    2496 MAYBURY ST                                                                                                         WEST BLOOMFIELD         MI   48324‐3653
MARY ROBINSON                    902 SALLY CIR                                                                                                           WICHITA FALLS           TX   76301‐7230
MARY ROBINSON                    4259 FRY ST                                                                                                             FORT WORTH              TX   76115‐1520
MARY ROBINSON                    634 LORSING ROAD                                                                                                        SUGAR LAND              TX   77479
MARY ROBINSON                    PO BOX 492                                                                                                              FRANKTON                IN   46044‐0492
MARY ROBINSON                    1824 THORNHILL PASS SE                                                                                                  CONYERS                 GA   30013‐6322
MARY ROBINSON                    46 TEMPLE RD                                                                                                            HENRIETTA               NY   14467‐8910
MARY ROBINSON                    708 DORCHESTER RD                                                                                                       BALTIMORE               MD   21229‐4400
MARY ROBINSON                    BEVAN & ASSOCIATES LPA INC             6555 DEAN MEMORIAL PARKWAY                                                       BOSTON HTS              OH   44236
MARY ROBINSON                    28212 AMABLE                                                                                                            MISSION VIEJO           CA   92692‐2603
MARY ROBISON                     5532 GINA DR                                                                                                            SWARTZ CREEK            MI   48473‐8829
MARY ROCHA                       15632 PRIMERA RD                                                                                                        HARLINGEN               TX   78552‐1933
MARY ROCK                        2491 N MAIN ST APT 3                                                                                                    OSHKOSH                 WI   54901‐1688
MARY ROCKEL                      38 SYCAMORE TRL                                                                                                         DELTA                   PA   17314‐8740
MARY RODDIE                      3765 CRANE ST                                                                                                           DETROIT                 MI   48214‐1232
MARY RODENFELS                   1390 SHANLEY DR X                                                                                                       COLUMBUS                OH   43224
MARY RODGERS                     9172 N GENESEE RD                                                                                                       MOUNT MORRIS            MI   48458‐9758
MARY RODGERS                     234 TRAILWIND ST                                                                                                        GUN BARREL CITY         TX   75156
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Name                Address1                       Address2             Address3        Address4         City               State Zip
MARY RODGERS        6516 HEMINGWAY RD                                                                    DAYTON              OH 45424‐3416
MARY RODGERS        1325 CHENE ST APT 301          ELMWOOD TOWERS APT                                    DETROIT             MI 48207‐3847
MARY RODGERS        69 TANAGER RD                                                                        SEEKONK             MA 02771‐2707
MARY RODKEY         403 SUMMER ST                                                                        BUFFALO             NY 14213‐2666
MARY RODRIGUEZ      1518 SOUTHWICK DR                                                                    TECUMSEH            MI 49286‐1638
MARY ROGERS         PO BOX 1343                                                                          MANCHESTER          TN 37349‐1343
MARY ROGERS         3914 HUNT RD APT 138                                                                 TAMPA               FL 33614‐1573
MARY ROGERS         2822 STENNETT ST                                                                     KEEGO HARBOR        MI 48320‐1138
MARY ROGERS         6443 S CENTRAL AVE                                                                   CHICAGO              IL 60638‐5540
MARY ROGERS         4162 MINERVA DR                                                                      FLINT               MI 48504‐1431
MARY ROGERS         126 WILLOW ST                                                                        MT STERLING         KY 40353‐1262
MARY ROGERS         133 DOVER RD NW                                                                      CARTERSVILLE        GA 30120‐4637
MARY ROHLF          4536 WORTH RD                                                                        STANDISH            MI 48658‐9444
MARY ROHMER         87 BONNIE BRIDGE CIR                                                                 MYRTLE BEACH        SC 29579‐8230
MARY ROHR           3716 REGENTS PARK LANE                                                               GREENSBORO          NC 27455‐2618
MARY ROKOSA         52 SHEILA CT APT 230                                                                 BRISTOL             CT 06010‐4741
MARY ROLLINS        12065 KIPP RD                                                                        GOODRICH            MI 48438‐9099
MARY ROMANO         41155 POND VIEW DR APT 124                                                           STERLING HTS        MI 48314‐3893
MARY ROMANOWSKI     5216 E BROOKFIELD DR                                                                 EAST LANSING        MI 48823‐4758
MARY ROMINE         261 VILLA OAKS LN                                                                    GAHANNA             OH 43230‐6774
MARY ROOK           2824 S WASHINGTON ST                                                                 MARION              IN 46953‐3634
MARY ROONEY         202 SUMMERWOOD CT                                                                    MOSCOW MILLS        MO 63362‐1622
MARY ROOT           8151 BRIARWOOD DR                                                                    BIRCH RUN           MI 48415‐8523
MARY RORABAUGH      3713 W HOLMES RD                                                                     LANSING             MI 48911‐2106
MARY ROSACRANS      121 BURT ST                                                                          TECUMSEH            MI 49286‐1123
MARY ROSALES        1301 WOODLANE DR                                                                     ALPENA              MI 49707
MARY ROSATELLI      223 WASHBURN DR                                                                      EAST SYRACUSE       NY 13057‐1633
MARY ROSCOE         7861 STATE ROUTE 609                                                                 BURGHILL            OH 44404‐9730
MARY ROSCOE         2654 MYRICK LN                                                                       TWINSBURG           OH 44087‐2919
MARY ROSE           808 CHANDLER DR                                                                      TROTWOOD            OH 45426‐2512
MARY ROSE           2015 WILLOWDALE AVE                                                                  CLEVELAND           OH 44109‐2838
MARY ROSE KEACH     PO BOX 1007                                                                          CHEPACHET            RI 02814‐0902
MARY ROSE SMITH     5791 KAY DR                                                                          RUSSELLVILLE        TN 37860‐8987
MARY ROSE SPACHER   40 NORTH AVE                                                                         ROCHESTER           NY 14626‐1002
MARY ROSEBUD        4312 FLORA AVE                                                                       KANSAS CITY         MO 64110‐1426
MARY ROSENTHAL      56 MONTANA AVE                                                                       BUFFALO             NY 14211‐1639
MARY ROSS           130 W MAIN ST                  PO BOX 223                                            ELSIE               MI 48831‐5106
MARY ROSS           425 BEECHCROFT RD                                                                    SPRING HILL         TN 37174‐2405
MARY ROSS           2203 OLD HICKORY BLVD                                                                DAVISON             MI 48423‐2045
MARY ROSS           4720 TIPTON DR                                                                       TROY                MI 48098‐4467
MARY ROSSER         PO BOX 3326                                                                          HUEYTOWN            AL 35023‐0326
MARY ROSSER         106 SANDPIPER BLVD                                                                   SAINT AUGUSTINE     FL 32080‐6757
MARY ROSSITER       2761 LYMAN DR                                                                        CLINTON             OH 44216‐9768
MARY ROSSON         1834 E LEGRANDE AVE                                                                  INDIANAPOLIS        IN 46203‐4158
MARY ROTH           208 ASHWOOD RD                                                                       BALTIMORE           MD 21222‐2301
MARY ROTTERT        10350 WEST RD UNIT 26                                                                HARRISON            OH 45030‐2115
MARY ROUND          43133 RIGGS RD                                                                       BELLEVILLE          MI 48111‐3085
MARY ROUNKE         35950 LARCHWOOD ST                                                                   CLINTON TOWNSHIP    MI 48035‐2738
MARY ROUSH          6818 DELAWARE ST                                                                     ANDERSON            IN 46013‐3707
MARY ROUSSEAU       14253 N BRAY RD                                                                      CLIO                MI 48420‐7943
MARY ROWE           1800 FLETCHER ST                                                                     ANDERSON            IN 46016‐2008
MARY ROWE           5301 S 27TH ST                                                                       PARAGOULD           AR 72450‐5064
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Name                        Address1                       Address2                       Address3   Address4         City               State Zip
MARY ROWE                   800 E LIBERTY ST APT 15C                                                                  FARMINGTON          MO 63640‐1366
MARY ROWELL                 390 W SEIDLERS RD                                                                         KAWKAWLIN           MI 48631‐9708
MARY ROWLAND                6511 N CHARLESWORTH ST                                                                    DEARBORN HEIGHTS    MI 48127‐3905
MARY ROY                    519 DESOTO AVE                                                                            YPSILANTI           MI 48198‐6117
MARY ROY                    11355 S 600 E                                                                             LA FONTAINE         IN 46940‐9220
MARY ROYAL                  4024 CLAYBORN RD                                                                          LANSING             MI 48911‐2600
MARY ROYER                  1213 W MEMORIAL DR D                                                                      MUNCIE              IN 47302
MARY ROYSTER                1500 TAIT RD SW                                                                           WARREN              OH 44481‐9644
MARY ROYSTON                317 E GRAND RIVER AVE          APT D                                                      LANSING             MI 48906‐4440
MARY RUCKER                 126 CARDINAL DR                                                                           BEECHER              IL 60401‐9501
MARY RUCKER                 1129 HARRISON AVE                                                                         BELOIT              WI 53511‐5443
MARY RUDD                   106 E SHEFFIELD AVE                                                                       PONTIAC             MI 48340‐1966
MARY RUDDY                  PO BOX 572                                                                                GENESEE             MI 48437‐0572
MARY RUDOLF                 151 ELKHORN CT                                                                            FRANKFORT           KY 40601‐3203
MARY RUDOLPH                4488 WOODCREEK DR SE           C/O MARCIA SCOLLON                                         GRAND RAPIDS        MI 49546‐7912
MARY RUF                    9299 PREBLE COUNTY LINE RD                                                                GERMANTOWN          OH 45327‐9416
MARY RUFENCACHT             6219 S US HIGHWAY 51           LOT 14                                                     JANESVILLE          WI 53546‐9503
MARY RUFF                   1401 31ST STREET ENSLEY                                                                   BIRMINGHAM          AL 35218‐3313
MARY RUIZ                   11466 LAUREL CANYON BLVD                                                                  SAN FERNANDO        CA 91340‐4176
MARY RUNYON                 4007 INDEPENDENCE DR                                                                      KOKOMO              IN 46902‐4917
MARY RUPERT                 980 WILMINGTON AVE APT 628                                                                DAYTON              OH 45420‐1622
MARY RUPERT                 8840 WELLS SPRING PT                                                                      CENTERVILLE         OH 45458‐2856
MARY RUSCANSKY              99 RAINWATER LN                                                                           DALLAS              GA 30157‐1096
MARY RUSH                   316 N COLLEGE ST APT 225                                                                  PIQUA               OH 45356‐1966
MARY RUSHIN                 8232 DODGE RD                                                                             OTISVILLE           MI 48463‐9485
MARY RUSKOVIC               703 DOWNER AVENUE                                                                         LANSING             MI 48912‐4301
MARY RUSSELL                9501 SHORE DR APT 10                                                                      MYRTLE BEACH        SC 29572‐5134
MARY RUSSELL                555 FOXWORTH BLVD APT 523                                                                 LOMBARD              IL 60148‐6441
MARY RUSSELL                2900 N APPERSON WAY TRLR 263                                                              KOKOMO              IN 46901
MARY RUSSELL                150 OLD LIVERPOOL RD APT 301                                                              LIVERPOOL           NY 13088‐6380
MARY RUSSO                  27 WINDWOOD RD                                                                            TRENTON             NJ 08648‐3622
MARY RUSSO                  310 PINE ST                                                                               LOCKPORT            NY 14094‐4929
MARY RUSTOWICZ              417 DETROIT ST                                                                            IRVING              NY 14081‐9310
MARY RUTECKI                262 TOLLGATE RD                CRESTVIEW NORTH NURSING HOME                               LANGHORNE           PA 19047‐1377

MARY RUTH                   917 LARRIWOOD AVE                                                                         KETTERING          OH   45429‐4748
MARY RUTHERFORD             6030 CROSBY RD                                                                            LOCKPORT           NY   14094‐9508
MARY RUZZA                  34082 SUMMERHILL LN                                                                       CHESTERFIELD       MI   48047‐4179
MARY RYAN                   643 SCARBOROUGH ST                                                                        BISHOPVILLE        SC   29010‐1271
MARY RYBAK                  3075 S CASCADE PL                                                                         CHANDLER           AZ   85248‐3504
MARY RYBAK                  217 GORDON AVE                                                                            MATTYDALE          NY   13211‐1819
MARY RYDER                  322 N ORANGE ST                                                                           HAVANA             IL   62644‐1121
MARY RYMARZ                 9649 ROGERS RD                                                                            ALANSON            MI   49706‐9631
MARY RYSZAWA                13900 LAKESIDE BLVD N          APT 128                                                    UTICA              MI   48315‐6064
MARY RYZAK                  12220 BEECHER RD                                                                          FLUSHING           MI   48433‐9730
MARY S BERIDON              401 LEGENDS OF HUTTO TRL                                                                  HUTTO              TX   78634‐4397
MARY S BROAD IRA FIDELITY   MARY S. BROAD                  4412 CHESAPEAKE AVE                                        HAMPTON            VA   23669
MANAGEMENT TRUST COMPANY
CUSTODIAN
MARY S CLAY                 21700 HIGHWAY 18                                                                          RAYMOND            MS 39154
MARY S COCKRELL             5440 HECKATHORN RD.                                                                       BROOKVILLE         OH 45309‐8304
MARY S COPP                 814 ADAMS HILL                                                                            GRAYSON            KY 41143‐7335
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Name                         Address1                         Address2                       Address3           Address4         City            State Zip
MARY S DAVIS                 7843 SEBRING DR                                                                                     DAYTON           OH 45424‐2231
MARY S DAWSON                C/O JOHN D DOBBS                 P O BOX 340323                                                     DAYTON           OH 45434‐323
MARY S DEICHLER              325 NORTH LA ARBOLETA DR                                                                            GILBERT          AZ 85234
MARY S DORSCHEL              405 BREMAN AVE                                                                                      SYRACUSE         NY 13211‐1534
MARY S EDWARDS               2722 ELIZABETH ST SW                                                                                WARREN           OH 44481‐8603
MARY S FREEMAN               2551 ASPINWALL AVE NE                                                                               WARREN           OH 44483
MARY S GARY                  BONNIE S BONNER CONSERVATOR      1006 DENNY RD                                                      COLUMBIA         SC 29203
MARY S GARY                  BONNIE S BONNER CONSERVATOR      1006 DENNY ST                                                      COLUMBIA         SC 29203
MARY S GEDERT                641 FAIRLEDGE ST                                                                                    LAKE ORION       MI 48362‐2609
MARY S GERBA                 PO BOX 361                                                                                          BROOKFIELD       OH 44403‐0361
MARY S GILL                  20 PAULA PL APT T1                                                                                  ROSEDALE         MD 21237‐7158
MARY S HARMAN                95 MAPLE DRIVE                                                                                      SPRINGBORO       OH 45066‐1210
MARY S HARPER                744 JOHNSON PLANK ROAD                                                                              WARREN           OH 44481‐9326
MARY S HEMME KASSEL TTEE     FBO THE MARY S HEMME KETTLER     TRUST DTD 3/4/94               4972 LL ROAD                        WATERLOO          IL 62298
MARY S HOLMES                660 SEWARD ST APT 114                                                                               DETROIT          MI 48202‐4436
MARY S HORTON                822 EAST EDGEMONT AVENUE                                                                            PHOENIX          AZ 85006
MARY S JARRETT               150 CEDAR CIR                                                                                       CORTLAND         OH 44410‐1365
MARY S JARRETTE              2821 RED FOX RUN DRIVE           NW                                                                 WARREN           OH 44485
MARY S JENNINGS              144 CLARKSVILLE ST.                                                                                 GREENVILLE       PA 16125‐2366
MARY S KOLISCHAK REV TRUST   MARY B KOLISCHAK AND             MICHAEL J KOLISCHAK CO‐TTEES   3000 MAGAZINE DR                    WINSTON SALEM    NC 27106
MARY S KOOK                  5216 HOAGLAND BLACKSTUB RD                                                                          CORTLAND         OH 44410‐9519
MARY S KOVAL                 1922 CRANBROOK DR                                                                                   YOUNGSTOWN       OH 44511‐1230
MARY S MAGLIOCCA             1944 OVERLOOK AVE                                                                                   YOUNGSTOWN       OH 44509‐2201
MARY S MAHAFFEY              2634 NORTH RIVER RD.                                                                                WARREN           OH 44483
MARY S MOBLEY                112 SHERMAN ST                                                                                      DAYTON           OH 45403‐2534
MARY S REED                  11 W FACTORY RD                                                                                     SPRINGBORO       OH 45066‐1271
MARY S RUCKER                126 CARDINAL DR                                                                                     BEECHER           IL 60401‐9501
MARY S RUPERT                980 WILMINGTON AVE #628                                                                             DAYTON           OH 45420‐1622
MARY S SANDLIN               304 E PIKE ST                                                                                       SO LEBANON       OH 45065
MARY S SCHNEIDER‐VIERS       502 DUNDEE CIR                                                                                      DAYTON           OH 45431‐2120
MARY S SIMONS                10430 GILBERT ROAD                                                                                  NEWTON FALLS     OH 44444‐9206
MARY S STUBER                127 TURQUOISE DR                                                                                    COURTLAND        OH 44410‐1908
MARY S WORLEY                626 NATHAN PL                                                                                       DAYTON           OH 45409‐‐ 29
MARY S YOUNG                 516 CHASE ST                                                                                        FLINT            MI 48503‐2679
MARY S ZRELIAK               3597 ORANGEVILLE RD.                                                                                MASURY           OH 44438‐9726
MARY S. HYER                 JAY HYER                         P O BOX 1031                                                       WINTER HAVEN     FL 33882
MARY S. HYER                 P O BOX 1031                                                                                        WINTER HAVEN     FL 33882
MARY S. HYER JAY HYER        P O BOX 1031                                                                                        WINTER HAVEN     FL 33882
MARY SAAVEDRA                11046 CHARLESWORTH RD                                                                               SANTA FE SPGS    CA 90670‐2700
MARY SABADOS                 3808 SIOUX AVE                                                                                      SAN DIEGO        CA 92117‐5723
MARY SABATULA                25929 HIGHLAND RD                                                                                   RICHMOND HTS     OH 44143‐2743
MARY SABO                    24355 S OXFORD OVAL                                                                                 NORTH OLMSTED    OH 44070‐1318
MARY SABO                    C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS       OH 44236
MARY SABOL                   406 WALNUT ST APT 219            TRINITY MANOR                                                      YONKERS          NY 10701‐6552
MARY SABOLCHY                714 SLIPPERY ROCK DR                                                                                EDWARDSVILLE      IL 62025‐2695
MARY SACCO                   JAMES ST                         918 JAMES STREET                                                   SYRACUSE         NY 13203‐2464
MARY SACKS                   8396 S 475 W                                                                                        WINAMAC          IN 46996‐8321
MARY SADOWSKI                4869 BERMUDA WAY N                                                                                  MYRTLE BEACH     SC 29577‐5430
MARY SADOWSKI                209 MOUNTAIN AVE                                                                                    SUMMIT           NJ 07901‐3215
MARY SAFFOLD                 5875 OCEAN VIEW DR                                                                                  OAKLAND          CA 94618‐1534
MARY SAGODIC                 5615 S OAK PARK AVE                                                                                 CHICAGO           IL 60638‐3227
MARY SAIN                    PO BOX 14                                                                                           GRANDVIEW        TX 76050‐0014
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Name             Address1                         Address2                   Address3   Address4         City                   State Zip
MARY SAKE        154 CHESTNUT AVE NE                                                                     WARREN                  OH 44483‐5803
MARY SAKONY      1013 HEINZ AVE                                                                          SHARON                  PA 16146‐2438
MARY SALANSKY    14336 GREATER PINES BLVD                                                                CLERMONT                FL 34711‐6557
MARY SALERNO     87 BUCKINGHAM DR                                                                        ALBANY                  NY 12208‐1312
MARY SALERNO     16216 WHITTAKER RD                                                                      LINDEN                  MI 48451‐9096
MARY SALIJ       5581 NORTHCREST VILLAGE DR                                                              CLARKSTON               MI 48346‐2798
MARY SALIM       1891 CALVIN AVE                  1455 LOUMILEN DR                                       MUSKEGON                MI 49445‐1583
MARY SALINAS     704 W LUCILLE ST                                                                        HEBBRONVILLE            TX 78361‐3035
MARY SALMON      PO BOX 2157                                                                             BEDFORD                 IN 47421‐7157
MARY SALO        2630 S BRADFORD RD                                                                      REESE                   MI 48757‐9212
MARY SALO        15722 LEIGH ELLEN AVE                                                                   CLEVELAND               OH 44135‐1342
MARY SALVATI     35 GAYLA DR                                                                             ROCHESTER               NY 14626‐3010
MARY SALVATORE   208 TORREY PINES DRIVE                                                                  TOMS RIVER              NJ 08757‐5909
MARY SALYERS     5342 MAPLE AVE                                                                          SWARTZ CREEK            MI 48473‐8207
MARY SAMORAY     41069 LORE DR                                                                           CLINTON TWP             MI 48038‐2085
MARY SAMPSON     2925 LONGVIEW AVE                                                                       SAGINAW                 MI 48601‐7603
MARY SAMPSON     7415 LIBERTY WOODS LN APT 119                                                           CENTERVILLE             OH 45459‐3944
MARY SAMS        843 N 11TH ST                                                                           MIAMISBURG              OH 45342‐1923
MARY SAMSA       1430 CAMINO ROBLES WAY                                                                  SAN JOSE                CA 95120‐4904
MARY SANCHEZ     350 N BALDWIN RD                                                                        CLARKSTON               MI 48348‐2201
MARY SANCHEZ     3379 US HIGHWAY 31 N                                                                    KEWADIN                 MI 49648‐9786
MARY SANCHEZ     621 LINCOLN AVE                                                                         PAULDING                OH 45879‐1123
MARY SANDACZ     42948 RICHARDS CT                                                                       NORTHVILLE              MI 48167‐1937
MARY SANDBORN    56 PLEASANT CIR                                                                         PLANT CITY              FL 33565‐8716
MARY SANDERFER   6146 SUN VALLEY DR                                                                      GRAND BLANC             MI 48439‐9167
MARY SANDERS     1634 THUNDERBIRD DRIVE                                                                  SAGINAW                 MI 48609‐4243
MARY SANDERS     1208 N COUNTRY CLUB RD                                                                  MUNCIE                  IN 47303‐2648
MARY SANDERS     501 S 5TH ST                                                                            ODESSA                  MO 64076‐1429
MARY SANDERS     753 E WALTON BLVD                                                                       PONTIAC                 MI 48340‐1362
MARY SANDERS     231 CHARLES LN                                                                          PONTIAC                 MI 48341‐2930
MARY SANDERS     3125 DOT AVE                                                                            FLINT                   MI 48506‐2147
MARY SANDERS     15881 ASBURY PARK                                                                       DETROIT                 MI 48227‐1551
MARY SANDERSON   3350 EAGLE HARBOR WATERPORT RD                                                          ALBION                  NY 14411‐9067
MARY SANDERSON   319 S DENNY DR                                                                          NEW CASTLE              IN 47362‐9137
MARY SANDIDGE    2175 W SHERIDAN ST                                                                      OLATHE                  KS 66061‐6022
MARY SANDLIN     5160 MALLET CLUB DR                                                                     DAYTON                  OH 45439‐4216
MARY SANDS       7625 DEAVER DR                                                                          NORTH RICHLAND HILLS    TX 76180‐6277
MARY SANDY       17 KALDENBERG PL                                                                        TARRYTOWN               NY 10591‐3609
MARY SANE        5874 LEON RD                                                                            ANDOVER                 OH 44003‐9449
MARY SANFORD     2966 JUNE APPLE DR                                                                      DECATUR                 GA 30034‐4529
MARY SANFORD     ATTORNEY: MANDY R STEELE PC
MARY SANFORD     ATTORNEY: MANDY R STEELE PC      ATTN: CORPORATE
                                                  OFFICER/AUTHORIZED AGENT
MARY SANMARCO    69 REGENT ST                     C/O LINDA HALL                                         LOCKPORT               NY   14094‐5016
MARY SANNER      PO BOX 3732                                                                             OXFORD                 AL   36203‐0732
MARY SANTOLI     901 EMBURY RD                                                                           PENFIELD               NY   14526‐9705
MARY SANTOS      6745 PITTSFORD PALMYRA RD                                                               FAIRPORT               NY   14450‐3343
MARY SANTOYA     9805 N US HIGHWAY 281                                                                   PLEASANTON             TX   78064‐6445
MARY SATHER      PO BOX 3772                      43 SANDIA ST                                           MORIARTY               NM   87035‐3772
MARY SATKOWIAK   169 PHEASANT CT                                                                         GRAND BLANC            MI   48439‐8191
MARY SATTLER     7917 PAMALANE CT                                                                        BRIGHTON               MI   48116‐6265
MARY SAUER       422 JAMAICA BLVD                                                                        TOMS RIVER             NJ   08757‐4225
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Name                   Address1                       Address2            Address3         Address4         City               State Zip
MARY SAUNDERS          60 BOSTON POST RD                                                                    OLD SAYBROOK        CT 06475‐1503
MARY SAUNDERS          1734 GAY LN                                                                          LANSING             MI 48912‐4514
MARY SAUR              11065 GREAT WESTERN LN W                                                             JACKSONVILLE        FL 32257‐3319
MARY SAVAGE            9590 RUTLAND ST                                                                      DETROIT             MI 48227‐1021
MARY SAVAGE            1420 S F ST                                                                          ELWOOD              IN 46036‐2342
MARY SAVAGE            18286 PINEHURST ST                                                                   DETROIT             MI 48221‐1955
MARY SAVILLE           1213 GARY DR                                                                         BALTIMORE           MD 21228‐5125
MARY SAWADE            6716 DOUGLAS RD                                                                      LAMBERTVILLE        MI 48144‐9426
MARY SAWICKI           3592 BARBARA DR                                                                      STERLING HEIGHTS    MI 48310‐6102
MARY SAWYER            28775 ALTON RD                                                                       WICKLIFFE           OH 44092‐2511
MARY SAWYER            22426 BANNER SCHOOL RD                                                               DEFIANCE            OH 43512‐9719
MARY SAYEN             7030 WESTSIDE SAGINAW RD                                                             BAY CITY            MI 48706‐9362
MARY SAYRE             837 OLD ORCHARD RD                                                                   ANDERSON            IN 46011‐2414
MARY SCALF             PO BOX 915                                                                           WEST LIBERTY        KY 41472‐0915
MARY SCARBERRY         3870 STATE ROUTE 7                                                                   NEW WATERFORD       OH 44445‐9784
MARY SCARBOROUGH       11519 BEARCREEK RD LOT 17                                                            DUNCANVILLE         AL 35456
MARY SCARPELLI         4755 E FLORIAN CIR                                                                   MESA                AZ 85206‐2730
MARY SCHADEWALD        208 FERN ST APT 1009                                                                 WEST PALM BEACH     FL 33401‐5625
MARY SCHAEFER          2530 PRIVATE ROAD 59                                                                 COULTERVILLE         IL 62237‐3437
MARY SCHAEFFER         1 KENT DR                                                                            FORKED RIVER        NJ 08731‐5617
MARY SCHAFFER          164 TREEHAVEN ST                                                                     GAITHERSBURG        MD 20878‐5747
MARY SCHAJATOVIC       5366 ROYAL ST                                                                        MAPLE HEIGHTS       OH 44137‐1077
MARY SCHAPPERT         2 OAK ST                                                                             BRADENTON           FL 34208‐1769
MARY SCHARIBONE        16413 61ST PL N                                                                      LOXAHATCHEE         FL 33470‐3397
MARY SCHARNOWSKE       2906 N 300 E                                                                         ANDERSON            IN 46012‐9413
MARY SCHARRER          3044 KERRY ST                                                                        MOUNT MORRIS        MI 48458‐8210
MARY SCHEI             1418 HOUSTON DR                                                                      SWARTZ CREEK        MI 48473‐9712
MARY SCHEITLER         2422 SEYMOUR RD                                                                      SWARTZ CREEK        MI 48473‐9752
MARY SCHEPPER          7087 N COUNTY ROAD 425 W                                                             BRAZIL              IN 47834‐7257
MARY SCHERBING         6445 ANDERSONVILLE RD                                                                WATERFORD           MI 48329‐1412
MARY SCHERER           3328 FOREST TERRACE                                                                  ANDERSON            IN 46013‐5254
MARY SCHIMMEL          22720 MIDDLEBELT RD                                                                  NEW BOSTON          MI 48164‐9481
MARY SCHIMMEL          125 S HOUGHTON ST                                                                    MILFORD             MI 48381‐2411
MARY SCHIMPF           3735 DELAWARE AVE              APT 521                                               BUFFALO             NY 14217‐1063
MARY SCHLITT           6130 DEL RIO DR                                                                      PORT ORANGE         FL 32127‐9506
MARY SCHMID            615 N STONE AVE                                                                      LA GRANGE PARK       IL 60526‐5525
MARY SCHMIDT           14314 CEDAR COVE DR            EAST BAY PARK                                         FENTON              MI 48430‐1356
MARY SCHMIDT           14 PARADISE COURT                                                                    FAIRPORT HBR        OH 44077‐5717
MARY SCHMIDT           4567 JEFFERSON RD                                                                    NORTH BRANCH        MI 48461‐8542
MARY SCHMIDT           1801 TAM‐O‐SHANTER COURT                                                             KOKOMO              IN 46902
MARY SCHMITTLE         5478 WATERLOO RD                                                                     ATWATER             OH 44201‐9776
MARY SCHNEGGENBURGER   336 KINSEY AVE                                                                       KENMORE             NY 14217‐1817
MARY SCHNEIDER         103 PARKVIEW PL                                                                      BELLEVUE            OH 44811‐9057
MARY SCHNEIDER         13750 STURGIS RD                                                                     ATLANTA             MI 49709‐9009
MARY SCHNEIDER         21605 OTTER RD                                                                       BELLEVILLE          MI 48111‐9665
MARY SCHOELLES         6370 CLOVERLEAF CIRCLE                                                               EAST AMHERST        NY 14051‐2049
MARY SCHOEPFLIN        8831 KINGSWOOD RD                                                                    SOUTHPORT           FL 32409‐1860
MARY SCHROEDER         1524 KATHY LN                                                                        MIAMISBURG          OH 45342‐2622
MARY SCHUCH            5083 ESTA DR                                                                         FLINT               MI 48506‐1546
MARY SCHUELER          1592 ROYALTON CT                                                                     O FALLON            MO 63366‐1167
MARY SCHULLER          2463 WILSHIRE RD                                                                     CORTLAND            OH 44410‐9226
MARY SCHULTZ           1713 BOCA RATON BLVD                                                                 KOKOMO              IN 46902‐3158
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Name                    Address1                       Address2               Address3      Address4         City            State Zip
MARY SCHULTZ            APT 213                        175 SHADY LANE DRIVE                                  NORWALK          OH 44857‐2711
MARY SCHULTZ            3240 LOCKPORT OLCOTT RD                                                              NEWFANE          NY 14108‐9604
MARY SCHULTZ            8818 ROBERTS RD                                                                      MANCELONA        MI 49659‐8658
MARY SCHULTZ            4406 WEISS ST                                                                        SAGINAW          MI 48603‐4150
MARY SCHULZE            10 CEDAR HILL ROAD                                                                   BALTIMORE        MD 21225‐3902
MARY SCHUTZ             224 SO. BROADWAY                                                                     TARRYTOWN        NY 10591
MARY SCHWARTZENBERGER   4928 WILDERNESS TRL                                                                  GRAYLING         MI 49738‐6413
MARY SCHWARZ            310 HARROW LN                                                                        SAGINAW          MI 48563‐6050
MARY SCHWEIGER          3026 GARRISON STREET                                                                 SAN DIEGO        CA 92106‐2212
MARY SCHWEIGER          5980 NE 21ST CIR                                                                     FT LAUDERDALE    FL 33308‐2508
MARY SCIRCLE            653 CAMBRIDGE DR                                                                     KOKOMO           IN 46902‐6912
MARY SCOBEY             5214 BLOSS DR                                                                        SWARTZ CREEK     MI 48473‐8875
MARY SCONCE             744 SNYDER RD                                                                        TROY             MO 63379‐4538
MARY SCONCE             12664 STATE ROAD CC                                                                  FESTUS           MO 63028‐3822
MARY SCOTT              1308 TANEY ST                                                                        GARY             IN 46404‐2036
MARY SCOTT              9200 N COUNTY ROAD 300 E                                                             MUNCIE           IN 47303‐9179
MARY SCOTT              19619 PIKE #308                                                                      BOWLING GREEN    MO 63334
MARY SCOTT              100 GREY FOX RUN                                                                     ROCKINGHAM       NC 28379‐9490
MARY SCOTT              17071 NEW JERSEY ST                                                                  SOUTHFIELD       MI 48075‐2979
MARY SCOTT              PO BOX 833                                                                           YOUNGSTOWN       OH 44501‐0833
MARY SCOTT              3716 NEW HUDSON RD                                                                   ORWELL           OH 44076‐9724
MARY SCOTT              5134 IT'S IT ROAD              BOX F10                                               CELINA           OH 45822
MARY SCOTT              186 MEADOWBROOK DR                                                                   DEFIANCE         OH 43512‐1329
MARY SCOTT              16268 SEYMOUR ROAD                                                                   LINDEN           MI 48451‐9736
MARY SCOTT              NORMAN TOWERS                  810 WEST ELM STREET                                   MONROE           MI 48162
MARY SCOTT              PO BOX 195                                                                           TIPTON           IN 46072‐0195
MARY SCOTT              6519 S 150 E                                                                         JONESBORO        IN 46938‐9616
MARY SCOTT              4528 N 550 E                                                                         PORTLAND         IN 47371‐7956
MARY SCOTT              27321 CAPSHAW RD                                                                     ATHENS           AL 35613‐7508
MARY SCOVEL             3331 CANADAY DR                                                                      ANDERSON         IN 46013‐2214
MARY SCRUGGS            2329 E 9TH ST                                                                        ANDERSON         IN 46012‐4308
MARY SCUKANEC           3113 PENCOMBE PL                                                                     FLINT            MI 48503‐5412
MARY SEABOLT            701 SE CHALOUPE AVE                                                                  PORT ST LUCIE    FL 34983‐2713
MARY SEAL               7419 W 8TH STREET RD                                                                 ANDERSON         IN 46011‐9715
MARY SEARCY             886 WEBB RD                                                                          MINERAL RIDGE    OH 44440‐9333
MARY SECHRIST           2915 FERGUSON VALLEY RD                                                              MC VEYTOWN       PA 17051‐9536
MARY SEDLACEK           12875 THOMPSON HWY                                                                   BLISSFIELD       MI 49228‐9724
MARY SEELY              37 FARNSWORTH RD N                                                                   ROCHESTER        NY 14623‐4703
MARY SEGARS             27690 VERMONT ST                                                                     SOUTHFIELD       MI 48076‐4884
MARY SEIBERT            27765 WATSON RD                                                                      DEFIANCE         OH 43512‐6845
MARY SEIGO              4029 CANEY CREEK LN                                                                  CHAPEL HILL      TN 37034‐2076
MARY SEKULICH           74 MASON AVE                                                                         DELAWARE         OH 43015‐1235
MARY SELINAS            38150 TAMARAC BLVD #114                                                              WILLOUGHBY       OH 44094
MARY SELL               314 ROUTE 216                                                                        STORMVILLE       NY 12582‐5052
MARY SELLERS            17906 PUMPKIN CENTER RD                                                              DANVILLE          IL 61834‐7840
MARY SELOVER            44 AUGUSTA AVE                                                                       BUFFALO          NY 14226‐2203
MARY SELVARAJ           4164 COLORADO LN                                                                     W BLOOMFIELD     MI 48322‐4421
MARY SELVIG             1156 REGINA TRL                                                                      WAYLAND          MI 49348‐1414
MARY SEMAK              222 ARCH ST                                                                          SYRACUSE         NY 13206‐3106
MARY SEMKO              3961 NEW RD                                                                          YOUNGSTOWN       OH 44515‐4628
MARY SENEDIAK           1462 STANLEY ST                                                                      GIRARD           OH 44420‐1351
MARY SENKOWSKI          6729 BELL RD                                                                         BIRCH RUN        MI 48415‐9048
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Name                 Address1                       Address2                       Address3   Address4         City              State Zip
MARY SENTER          631 TRICE ST                                                                              HENDERSON          TN 38340‐2761
MARY SEPPANEN        PO BOX 183                                                                                MIO                MI 48647‐0183
MARY SERAFIN         14685 WINDMILL CT                                                                         SHELBY TOWNSHIP    MI 48315‐4310
MARY SERDOZ          945 E 224TH ST                                                                            EUCLID             OH 44123‐3305
MARY SERGENT         6110 HAMMEL AVE                                                                           CINCINNATI         OH 45237‐4902
MARY SEROTKO         6300 HIGHLAND                                                                             WARREN             OH 44481‐8611
MARY SERRANO         127 4TH ST SW                                                                             WARREN             OH 44483‐6501
MARY SESOCK          106 FRANKLIN ST                                                                           BEREA              OH 44017
MARY SESTITO         5553 SPRING HILL RD                                                                       GROVE CITY         OH 43123‐8907
MARY SETLIFF         LANIER LAW FIRM                6810 FM 1960 WEST SUITE 1550                               HOUSTON            TX 77069
MARY SETNOR          CASCINO MICHAEL P              220 SOUTH ASHLAND AVE                                      CHICAGO             IL 60607
MARY SEVERSON        PO BOX 671                                                                                JANESVILLE         WI 53547‐0671
MARY SEVY            14912 PINE VIEW DR                                                                        GRANDVIEW          MO 64030‐4500
MARY SEWELL          4135 SYLVAN DR                                                                            DAYTON             OH 45417‐1224
MARY SEXTON          1140 SWOPE ST APT B                                                                       GREENFIELD         IN 46140‐1394
MARY SHACKELFORD     9325 GUENTHARDT ROAD                                                                      MANISTEE           MI 49660‐9478
MARY SHADLEY         PO BOX 133                                                                                WALDRON            IN 46182‐0133
MARY SHAFFER         2034 BIRCHWOOD AVE                                                                        TOLEDO             OH 43614‐3826
MARY SHAFFER         764 ZEHNDER DR                                                                            FRANKENMUTH        MI 48734‐9798
MARY SHAFFO          47 TWIN OAKS DR                                                                           MILAN              OH 44846‐9482
MARY SHANHOLTZ       626 3RD ST                                                                                MARTINSBURG        WV 25404‐4550
MARY SHAPPELL        3562 JEFFERSON HWY                                                                        GRAND LEDGE        MI 48837‐9750
MARY SHARP           623 WARNER DR                                                                             LINDEN             MI 48451‐9659
MARY SHARP           3821 CORNELL ST                                                                           DEARBORN           MI 48124‐3272
MARY SHARP           427 E 3RD ST                                                                              PERU               IN 46970‐2501
MARY SHARP           3313 PRINCETON DR                                                                         GRANITE CITY        IL 62040‐3647
MARY SHARP           206 W NORTH ST                                                                            SPRING HILL        KS 66083‐4069
MARY SHAUGHNESSY     8 KOHLHEPP AVE                                                                            MILLTOWN           NJ 08850‐1414
MARY SHAVER          1505 NE 34TH ST                                                                           OKLAHOMA CITY      OK 73111‐4801
MARY SHAW            443 COLUMBIA AVE                                                                          ROCHESTER          NY 14611‐3638
MARY SHAW            8235 SAINT MARYS ST                                                                       DETROIT            MI 48228‐1958
MARY SHAW            13739 BEAVER LN NE                                                                        KALKASKA           MI 49646‐9760
MARY SHAW            61 DEVONWOOD DR                                                                           MOORESVILLE        IN 46158‐1001
MARY SHAW            9352 VARODELL DR 27                                                                       DAVISON            MI 48423
MARY SHAYLOR         1633 QUARTON RD                                                                           BIRMINGHAM         MI 48009‐1037
MARY SHEEHAN         11 COOPER AVE                                                                             WALLINGFORD        CT 06492‐3913
MARY SHEETS          860 NOVELLY DR                                                                            RENO               NV 89503‐3505
MARY SHEETS          852 VILLAGE LN                                                                            DEFIANCE           OH 43512‐3747
MARY SHEETS          2318 PITT ST                                                                              ANDERSON           IN 46016‐4648
MARY SHEFFER         8745 N COUNTY ROAD 900 E                                                                  FOREST             IN 46039‐9676
MARY SHEFLIN         2463 AVON GENESEO RD                                                                      AVON               NY 14414‐9753
MARY SHEHL           8678 STATION ST                                                                           MENTOR             OH 44060‐4316
MARY SHEIPLINE       2458 ISLAND VIEW DR                                                                       WEST BLOOMFIELD    MI 48324‐1440
MARY SHELBY          6609 FLEMING RD                                                                           FLINT              MI 48504‐1660
MARY SHELBY          820 WARRIOR RDG                                                                           WARRENTON          MO 63383‐2350
MARY SHELLENBARGER   5317 LILY PAD LN                                                                          INDIANAPOLIS       IN 46237‐8492
MARY SHELLMAN        3648 MEADOW VIEW DR                                                                       KOKOMO             IN 46902‐5070
MARY SHELTON         1109 BURLINGTON DR                                                                        FLINT              MI 48503‐2928
MARY SHELTON         450 SANDPIPER TRL SE                                                                      WARREN             OH 44484‐2477
MARY SHELTON         16005 W 139TH ST                                                                          LOCKPORT            IL 60491‐7491
MARY SHENEMAN        7683 N STRAITS HWY                                                                        CHEBOYGAN          MI 49721‐9017
MARY SHEPARD         1010 N 2ND AVE                                                                            SAGINAW            MI 48601‐1003
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Name                   Address1                       Address2              Address3       Address4         City               State Zip
MARY SHEPARD           1200 JESS WINN RD.                                                                   GREENVILLE          KY 42345
MARY SHEPHERD          PO BOX 112                     1315 ARBOR DR                                         LAKE GEORGE         MI 48633‐0112
MARY SHEPHERD          C/O PAULINE HARDY              109‐87 202ND STREET                                   HOLLIS              NY 11412
MARY SHEPHERD          296 EAGLES NEST LANDING RD                                                           TOWNSEND            DE 19734‐9736
MARY SHEPHERD          7550 BISCAYNE BLVD                                                                   PARMA               OH 44134‐6602
MARY SHEPPARD          C/O SUSAN BAKER                6085 MAIN RD RT 5                                     STAFFORD            NY 14143
MARY SHERER            8251 BENT TREE DR                                                                    WEST CHESTER        OH 45069‐1915
MARY SHERMAN           2566 BROOKVIEW RD                                                                    TROY                OH 45373‐9311
MARY SHERMAN           PO BOX 134                                                                           MILLERSBURG         MI 49759‐0134
MARY SHERMAN           653 EAST PREDA DRIVE                                                                 WATERFORD           MI 48328‐2026
MARY SHERMAN           31634 BLANTON LN                                                                     TAVARES             FL 32778‐4544
MARY SHERRILL          15361 COYLE ST                                                                       DETROIT             MI 48227‐2619
MARY SHERRY            15 STARLITE DR                                                                       ROCHESTER           NY 14624‐4320
MARY SHERWOOD          18670 DALE AVE                                                                       ALLEN PARK          MI 48101‐1407
MARY SHERWOOD          1305 BERGEN CT                                                                       MANSFIELD           TX 76063‐2500
MARY SHETTERLY         2102 TARTAN RD                                                                       ANDERSON            IN 46012‐9650
MARY SHEWARD           HWY 128 EAST                                                                         FRANKTON            IN 46044
MARY SHIELDS           432 EAST CLARK STREET          APT 16                                                DAVISON             MI 48423
MARY SHIER             2001 GEORGETOWN BLVD                                                                 LANSING             MI 48911‐5433
MARY SHIFLET           5328 W 250 S                                                                         RUSSIAVILLE         IN 46979‐9412
MARY SHIJKA            4510 MIDLAND RD                                                                      SAGINAW             MI 48603‐9667
MARY SHINABARGER       214 S MARCY TER                                                                      LECANTO             FL 34461‐8065
MARY SHINN             702 W 14TH ST                                                                        NEW CASTLE          DE 19720‐4946
MARY SHINNERS          38 COOLIDGE ROAD                                                                     BUFFALO             NY 14220‐2024
MARY SHIPLEY           105 WATER STREET                                                                     LUDINGTON           MI 49431‐2535
MARY SHIPLEY           3228 HILHAM HWY                                                                      HILHAM              TN 38568‐5614
MARY SHIPMAN           415 N MARKET ST                                                                      HOOPESTON            IL 60942‐1321
MARY SHIPP             1274 E WALNUT ST                                                                     SUMMITVILLE         IN 46070‐9636
MARY SHIRLEY           2494 NORTH LEBANON STREET                                                            LEBANON             IN 46052‐1111
MARY SHIVERDECKER      6138 PYRMONT RD                                                                      LEWISBURG           OH 45338‐9769
MARY SHOCKEY           4281 BAYWOOD DR                                                                      TRAVERSE CITY       MI 49686‐3801
MARY SHORT             10489 N BRAY RD                                                                      CLIO                MI 48420‐9775
MARY SHORT             119 ED SHORT DR                                                                      MAGEE               MS 39111‐4275
MARY SHORTER           1857 WESTSIDE LN                                                                     SPRING GROVE        PA 17362‐7800
MARY SHOUP             11250 STATE ROUTE 185                                                                BRADFORD            OH 45308
MARY SHOUSE            8329 BIRCHSTONE CT                                                                   WEST CHESTER        OH 45069‐3773
MARY SHREVE            4828 CENTER ST                                                                       MILLINGTON          MI 48746‐9666
MARY SHREVE            1101 COOLIDGE DR                                                                     FLINT               MI 48507‐4226
MARY SHRODEK           3548 KIMBERLY DR NE                                                                  WARREN              OH 44483‐4547
MARY SHUFFORD          3089 COURTZ ISLE APT 1                                                               FLINT               MI 48532‐4213
MARY SHULTERS          2142 PAULINE #202                                                                    ANN ARBOR           MI 48103
MARY SHUMAKER          4574 N FLETCHER RD                                                                   COVINGTON           OH 45318‐8718
MARY SHUMAKER          325 WILKINSON ST APT 117                                                             CHELSEA             MI 48118‐1395
MARY SHUMAN            11816 GLAMER DR                                                                      PARMA               OH 44130‐5927
MARY SHUMWAY           1700 BRANDONHALL DR                                                                  MIAMISBURG          OH 45342‐6343
MARY SHUNKWILER        20917 OUTER DR                                                                       DEARBORN            MI 48124‐4710
MARY SHUSTER‐SWEENEY   29 FOXGLOVE DR APT 8D                                                                GREENSBURG          PA 15601‐1183
MARY SICARD            PO BOX 767                                                                           LOCKPORT            NY 14095‐0767
MARY SICILIANO         6809 MAYFIELD RD APT 560                                                             MAYFIELD HEIGHTS    OH 44124‐2263
MARY SICKINGER         13114 W ESSEX LN                                                                     HUNTLEY              IL 60142‐7705
MARY SICURO            1059 BRIST CHAMP TL RD                                                               BRISTOLVILLE        OH 44402
MARY SIDLOWSKI         3060 BORDENTOWN AVE                                                                  PARLIN              NJ 08859‐1167
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Name               Address1                         Address2        Address3         Address4         City              State Zip
MARY SIEGGREEN     9 WILTSE CT                                                                        SAGINAW            MI 48603‐3270
MARY SIENKO        2485 RED ROSE LN NE                                                                ROCKFORD           MI 49341‐7971
MARY SIGMAN        PO BOX 515                                                                         CORTLAND           OH 44410‐0515
MARY SIGMON        230 HARVEY BR                                                                      GRAYSON            KY 41143‐8644
MARY SIGMON        20941 SHERMAN AVE                                                                  SOUTHFIELD         MI 48033‐6663
MARY SIKES         22438 STATLER ST                                                                   ST CLAIR SHRS      MI 48081‐2322
MARY SIKTBERG      829 S 500 W                                                                        ANDERSON           IN 46011‐9064
MARY SILER         4394 W 300 N                                                                       PERU               IN 46970‐7554
MARY SILPE         2638 GATELY DR E APT 72                                                            WEST PALM BEACH    FL 33415‐7985
MARY SILVAROLI     465 MCCALL RD                                                                      ROCHESTER          NY 14616‐5248
MARY SILVERS       50 E. 5057 N.                                                                      KOKOMO             IN 46901
MARY SILVESTRI     3272 ORAN DR                                                                       YOUNGSTOWN         OH 44511‐2128
MARY SIMANKOWICZ   2183 AMY ST                                                                        BURTON             MI 48519‐1107
MARY SIMMERLEIN    4549 PIKE ST                                                                       UBLY               MI 48475‐9791
MARY SIMMONS       3384 DEXTER SHORES DR SE                                                           WINTER HAVEN       FL 33884‐2434
MARY SIMMONS       6680 W STATE ROAD 28                                                               ELWOOD             IN 46036‐8939
MARY SIMMONS       1530 W AVENUE K8 APT 60                                                            LANCASTER          CA 93534‐6308
MARY SIMMONS       413 S 24TH ST                                                                      SAGINAW            MI 48601‐6406
MARY SIMMONS       1279 CAMELLIA DR                                                                   MOUNT MORRIS       MI 48458‐2803
MARY SIMMONS       10509 SEVILLA DR APT 202                                                           FORT MYERS         FL 33913‐7029
MARY SIMMONS       15114 MINOCK ST                                                                    DETROIT            MI 48223‐2274
MARY SIMMS         6600 W ROOSEVELT RD                                                                OAK PARK            IL 60304
MARY SIMMS         210 WEYMOUTH ST                                                                    UPPER MARLBORO     MD 20774‐1830
MARY SIMON         23 MICHAELIAN WAY                                                                  LAKE RONKONKOMA    NY 11779‐2267
MARY SIMON         660A AZALEA PLZ                                                                    MONROE TOWNSHIP    NJ 08831‐5212
MARY SIMON         2161 LEONARD ST NW                                                                 GRAND RAPIDS       MI 49504‐3829
MARY SIMON         26880 SLEEPY HOLLOW DR                                                             WESTLAKE           OH 44145‐3237
MARY SIMONDS       PO BOX 930365                                                                      NORCROSS           GA 30003‐0365
MARY SIMONS        10430 GILBERT RD                                                                   NEWTON FALLS       OH 44444‐9206
MARY SIMPKINS      15933 MILLFIELD RD                                                                 MILLFIELD          OH 45761‐9789
MARY SIMPSON       7283 CLUBHOUSE CT                                                                  WEST CHESTER       OH 45069‐4601
MARY SIMPSON       1101 WELCH BOULEVARD                                                               FLINT              MI 48504‐7348
MARY SIMPSON       5940 BUMCOMB‐PUNCHEON CREEK RD   CREEK ROAD                                        EUBANK             KY 42567
MARY SIMPSON       2921 CONCORD ST                                                                    FLINT              MI 48504‐3039
MARY SIMS          1418 W OTTAWA ST                                                                   LANSING            MI 48915‐1736
MARY SIMS          2217 LA BELLE ST                                                                   DETROIT            MI 48238‐2943
MARY SIMS          PO BOX 174                                                                         LUDLOW             MS 39098‐0174
MARY SINGLETON     1321 ORLEANS ST APT 1212W                                                          DETROIT            MI 48207‐2985
MARY SINGLEY       447 POST OFFICE RD                                                                 DENNARD            AR 72629‐7332
MARY SIPES         2626 BROWNING DR                                                                   LAKE ORION         MI 48360‐1816
MARY SISCO         14754 SHENANDOAH DR              BUILDING 25                                       RIVERVIEW          MI 48193
MARY SITKIEWICZ    3927 ROBERTSON DR                                                                  WARREN             MI 48092‐4117
MARY SIX           1561 HILTON AVE                                                                    COLUMBUS           GA 31906‐2034
MARY SIZELOVE      306 E 500 N                                                                        ANDERSON           IN 46012‐9504
MARY SIZELOVE      1617 E 47TH ST                                                                     ANDERSON           IN 46013‐2709
MARY SIZEMORE      6461 GARBER RD                                                                     DAYTON             OH 45415‐2014
MARY SKIDMORE      28 MARTY LN                                                                        WEST ALEXANDRIA    OH 45381‐1164
MARY SKINNER       220 DAKOTA ST                                                                      YPSILANTI          MI 48198‐6016
MARY SKIPPER       6206 STEM LN                                                                       MOUNT MORRIS       MI 48458‐2656
MARY SKIVER        4172 REID RD                                                                       SWARTZ CREEK       MI 48473‐8973
MARY SKOLNICKI     421 GREENLAWN DRIVE                                                                AMHERST            OH 44001‐1023
MARY SKONIECZNY    50785 JEFFERSON AVE APT 120                                                        NEW BALTIMORE      MI 48047‐4366
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Name              Address1                        Address2               Address3      Address4         City            State Zip
MARY SKONIECZNY   209 CHIPPEWA TRL                                                                      PRUDENVILLE      MI 48651
MARY SKYM         1202 WALNUT ST                                                                        OWOSSO           MI 48867‐4329
MARY SLAGLE       7176 NEW HORIZON AVE                                                                  ENON             OH 45323‐1535
MARY SLAVEN       1711 SHAWNEE DR                                                                       ELLETTSVILLE     IN 47429‐1927
MARY SLEET        830 CHURCH ST                                                                         ANDERSON         IN 46013‐1606
MARY SLEIGHT      1750 GRANADA AVE N UNIT 27                                                            OAKDALE          MN 55128‐4268
MARY SLESICKI     41 SCHROBACK RD                                                                       PLYMOUTH         CT 06782‐2000
MARY SLONAKER     16 SPARTAN DR                   C/O WALTER L LEWIS                                    MARTINSBURG      WV 25403‐1467
MARY SLONCZKA     539 GREENWICH LN                                                                      GRAND BLANC      MI 48439‐1024
MARY SMALL        1500 N MAIN ST TRLR 1                                                                 FAIRMOUNT        IN 46928‐1029
MARY SMALL        3942 MERWIN ST                                                                        SHREVEPORT       LA 71109‐4723
MARY SMEJKAL      145 STANLEY DR                                                                        CORUNNA          MI 48817‐1152
MARY SMICK        8803 ASHFORD RD                                                                       PARKVILLE        MD 21234‐2913
MARY SMIDA        52 VILLA CHRISTINA                                                                    LA LUZ           NM 88337‐9539
MARY SMIGALSKI    338 PINE ST                                                                           BUFFALO          NY 14204‐1418
MARY SMILEY       452 VALENCIA DR                                                                       PONTIAC          MI 48342‐1769
MARY SMITH        100 SUMMER ST APT 202                                                                 HOLLISTON        MA 01746‐2264
MARY SMITH        95 DECKER ST                                                                          BUFFALO          NY 14215‐3222
MARY SMITH        230 STOLLE ROAD                                                                       ELMA             NY 14059‐9352
MARY SMITH        54 GERARD RD                                                                          HAMILTON         NJ 08620‐1552
MARY SMITH        RR 1 BOX 196‐A                                                                        BUFFALO MILLS    PA 15534
MARY SMITH        303 MAIDEN CHOICE LN APT 316                                                          CATONSVILLE      MD 21228‐6112
MARY SMITH        1050 E PHILADELPHIA BLVD                                                              FLINT            MI 48505‐3643
MARY SMITH        819 CREEK VIEW DR                                                                     LAWRENCEVILLE    GA 30044‐3778
MARY SMITH        PO BOX 813                      205 N UNION                                           FELICITY         OH 45120‐0813
MARY SMITH        1219 HENRY RD                                                                         NEW VIENNA       OH 45159‐9718
MARY SMITH        7195 LAKEVIEW AVE                                                                     NEWPORT          MI 48166‐9187
MARY SMITH        134 OAKWOOD DR                                                                        AVON LAKE        OH 44012‐1946
MARY SMITH        613 N JACKSON ST                                                                      RUSHVILLE        IN 46173‐1534
MARY SMITH        1749 N MCVICKER AVE                                                                   CHICAGO           IL 60639‐3905
MARY SMITH        9194 WELLSTON DR                                                                      INDIANAPOLIS     IN 46234‐2436
MARY SMITH        105 E VINYARD ST                                                                      ANDERSON         IN 46012‐2520
MARY SMITH        21795 CHESTER                                                                         RAY              MI 48096‐3103
MARY SMITH        3100 CLUB DR APT 337                                                                  LAWRENCEVILLE    GA 30044‐2596
MARY SMITH        GENERAL DELIVERY                                                                      LAS VEGAS        NV 89125
MARY SMITH        322 ISBELL ST                                                                         HOWELL           MI 48843‐2031
MARY SMITH        818 WABASH ST                                                                         BERNE            IN 46711‐2069
MARY SMITH        7150 VAN VLEET RD                                                                     SWARTZ CREEK     MI 48473‐8576
MARY SMITH        73 WATER PLANT RD                                                                     LILY             KY 40740‐3063
MARY SMITH        50 CEDARVIEW DR                                                                       ALEXANDRIA       KY 41001‐9564
MARY SMITH        2947 ROUNDTREE BLVD APT B2                                                            YPSILANTI        MI 48197‐4836
MARY SMITH        207 E COLLEGE ST APT 7                                                                FARMINGTON       MO 63640‐1519
MARY SMITH        25663 WALKER SANDERS RD                                                               MANTEE           MS 39751‐9672
MARY SMITH        11316 NIGHTINGALE CV                                                                  ROANOKE          IN 46783‐8798
MARY SMITH        PO BOX 2272                                                                           ROBERTSDALE      AL 36567‐2272
MARY SMITH        4365 BELL OAK RD                                                                      WILLIAMSTON      MI 48895‐9553
MARY SMITH        6336 FORESTDALE AVE                                                                   DAYTON           OH 45427‐1815
MARY SMITH        PO BOX 855                                                                            DRAIN            OR 97435‐0855
MARY SMITH        2511 TONAWANDA CREEK RD                                                               AMHERST          NY 14228‐1426
MARY SMITH        3517 IDLECREEK DR                                                                     DECATUR          GA 30034‐4948
MARY SMITH        1920 CLEVELAND RD W APT107                                                            HURON            OH 44839
MARY SMITH        APT 9                           2222 SHERWOOD AVENUE                                  TOLEDO           OH 43614‐4354
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Name                       Address1                            Address2             Address3    Address4         City               State Zip
MARY SMITH                 4430 W HILLCREST AVE                                                                  DAYTON              OH 45406‐2309
MARY SMITH                 160 IVANHOE ST NE                                                                     WARREN              OH 44483‐3411
MARY SMITH                 3906 FOREST TRL                                                                       MARSHALL            TX 75672‐2426
MARY SMITH                 2250 N. CANTON CENTER RD, APT 226                                                     CANTON              MI 48187‐2947
MARY SMITH                 6501 OXLEY DR                                                                         FLINT               MI 48504‐1681
MARY SMITH                 437 MARQUETTE AVE                                                                     CALUMET CITY         IL 60409‐2324
MARY SMITH                 3210 S LIDDESDALE ST                                                                  DETROIT             MI 48217‐1178
MARY SMITH                 1813 DILLMAN RD                                                                       MARTINSVILLE        IN 46151‐9024
MARY SMITH                 3101 E BANTA RD                                                                       INDIANAPOLIS        IN 46227‐7601
MARY SMITH                 14737 S GALLATIN BLVD                                                                 BROOK PARK          OH 44142‐2441
MARY SMITH                 256 HARTSHORN DR                                                                      VANDALIA            OH 45377‐2947
MARY SMITH                 6826 HENDRICKS ST                                                                     ANDERSON            IN 46013‐3606
MARY SMITH                 921 WAYSIDE LN                                                                        ANDERSON            IN 46011‐2327
MARY SMITH                 253 RAPID ST                                                                          PONTIAC             MI 48341‐2256
MARY SMITH                 1822 NEW YORK AVE 388                                                                 FLINT               MI 48506
MARY SMITH                 747 WALTHAM DR                                                                        MOUNT MORRIS        MI 48458‐8715
MARY SMITH                 7979 RHANBUOY RD                                                                      SPRING HILL         FL 34606‐1952
MARY SMITH                 8301 LINDA ST                                                                         WARREN              MI 48093‐7205
MARY SMITH                 386 MAPLEWOOD LN                                                                      PONTIAC             MI 48341‐3175
MARY SMITH                 4006 BRYNFORD PL                                                                      DAYTON              OH 45426‐2312
MARY SMITH                 1400 CROWNWOOD RD                                                                     VIOLA               AR 72583‐9555
MARY SMITH                 979 ASPEN VALLEY AVE                                                                  LAS VEGAS           NV 89123‐3198
MARY SMITH                 5029 ESTA DR                                                                          FLINT               MI 48506‐1572
MARY SMITH                 5609 JUNIPER LN                                                                       FLINT               MI 48505‐2757
MARY SMITH                 PO BOX 107                                                                            BLOOMFIELD          MO 63825‐0107
MARY SMITH                 1220 SOUTH DR                                                                         SAINT CHARLES       MO 63303‐3924
MARY SMITH                 33230 FOREST PARK DR                                                                  WAYNE               MI 48184‐3311
MARY SMITH                 1540 71ST ST                                                                          DOWNERS GROVE        IL 60516‐3138
MARY SMITH ‐ RODENBUCHER   6262 AGAPE CT SE                                                                      OLALLA              WA 98359‐7513
MARY SMITHLEY              1101 OLYNGER RD APT 50                                                                GAS CITY            IN 46933‐1639
MARY SMOLAREK              18100 JOS. CAMPAU                                                                     DETROIT             MI 48234
MARY SMOLKO                7206 BIRCH AVE                                                                        BALTIMORE           MD 21222‐1212
MARY SMOOT                 1213 BARBARA DR                                                                       FLINT               MI 48505‐2547
MARY SMOOT                 14839 KENTUCKY ST                                                                     DETROIT             MI 48238‐1759
MARY SMOOT                 PO BOX 15                                                                             CEDARVILLE          WV 26611‐0015
MARY SMYRL                 1194 SOUTH FM RD                                                                      LUFKIN              TX 75904
MARY SNEDDEN               2561 BEECHWOOD RD                                                                     NEW WILMNGTN        PA 16142‐5011
MARY SNEED                 41 MALDEN AVE                                                                         DAYTON              OH 45427‐2903
MARY SNEED                 3505 W COUNTY ROAD 850 N                                                              MIDDLETOWN          IN 47356‐9466
MARY SNELSON               2039 E 47TH ST                                                                        ANDERSON            IN 46013‐2717
MARY SNIADACH              7503 DURWOOD RD                                                                       BALTIMORE           MD 21222‐1333
MARY SNODDY                1065 ROSE ST                                                                          ROGERSVILLE         AL 35652‐7701
MARY SNYDER                33051 RAPHAEL RD                    C/O JOYCE Y MOGILL                                FARMINGTON HILLS    MI 48336‐1771
MARY SNYDER                210 N MARKET ST                                                                       HUDSON              MI 49247‐1028
MARY SNYDER                2670 CAMELOT DR                                                                       COLUMBIANA          OH 44408‐9478
MARY SNYDER                223 SHERRY ST                                                                         WOODBRIDGE          NJ 07095‐1741
MARY SNYDER                2415 AURELIUS RD APT 23                                                               HOLT                MI 48842‐2120
MARY SOBECK                913 VALLEY RD                                                                         NEW CANAAN          CT 06840‐2814
MARY SOBEY                 3642 WESTERN RD                                                                       FLINT               MI 48506‐2332
MARY SOCIA                 26407 TOM ALLEN DR                                                                    WARREN              MI 48089‐3521
MARY SODIA                 1935 H ST APT C                                                                       LAS VEGAS           NV 89106‐2551
MARY SOEDER                4572 FOREST EDGE DR                                                                   BROOKLYN            OH 44144‐2641
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Name                Address1                         Address2                     Address3   Address4         City               State Zip
MARY SOFSKY         PO BOX 134                                                                                BERLIN CENTER       OH 44401‐0134
MARY SOGOIAN‐KLEI   47078 SOUTHGATE CT                                                                        CANTON              MI 48188‐3226
MARY SOLES          1141 BEDFORD PL                                                                           JOPLIN              MO 64804
MARY SOLLEY         27 ANDREA BLVD                                                                            NILES               OH 44446‐3223
MARY SOLOMON        5636 WAKESHIRE CT                                                                         TROTWOOD            OH 45426‐1109
MARY SOLOMON        3627 WOODCLIFF DR                                                                         KALAMAZOO           MI 49008‐2513
MARY SOLTIS         2968 N CENTER RD                                                                          SAGINAW             MI 48603‐2971
MARY SOMERS         4460 SUNDERLAND PL                                                                        FLINT               MI 48507‐3720
MARY SOMERS         6775 WHITEFORD CENTER RD                                                                  LAMBERTVILLE        MI 48144‐9731
MARY SOMERVILLE     928 CRAFT AVE                                                                             KALAMAZOO           MI 49048‐1157
MARY SOMES          2005 S JULIA CT                                                                           SPOKANE             WA 99223‐5456
MARY SOMICH         244 JERSEY ST                                                                             TRENTON             NJ 08611‐3112
MARY SOMMERS        317 BLAIR PIKE                   PO BOX 124                                               PERU                IN 46970‐1507
MARY SONTAG         11053 LAKE RD                                                                             OTISVILLE           MI 48463‐9779
MARY SONTAG         4151 CASTLEMOOR DR                                                                        JANESVILLE          WI 53546‐9380
MARY SOPER          712 WILLOUGHBY LN                                                                         BOWLING GREEN       KY 42101‐9206
MARY SORG           2009 ENGELBERG RD                                                                         POCAHONTAS          AR 72455‐8341
MARY SOROKA         226 S 4TH ST                                                                              SHARPSVILLE         PA 16150‐1308
MARY SORRELLS       1739 TEAMON RD                   APT B                                                    GRIFFIN             GA 30223‐5830
MARY SORTMAN        2717 DELMONTE AVE                                                                         KETTERING           OH 45419‐1921
MARY SOSA           1405 SOUTH BLVD W                                                                         TROY                MI 48098‐1784
MARY SOUTHARD       716 N EDGEWOOD DR                                                                         SPARTA              TN 38583‐1104
MARY SOWARD         1122 LAREDO AVE                                                                           SAINT LOUIS         MO 63138‐3003
MARY SOWERS         315 N COLLEGE ST                                                                          PIQUA               OH 45356‐1911
MARY SPADER         612 LINCOLN AVE                                                                           LINCOLN PARK        MI 48146‐2820
MARY SPALA          1924 BONNIE BRAE AVE NE                                                                   WARREN              OH 44483‐3516
MARY SPANOPOULOS    12546 12 MILE RD                                                                          SOUTH LYON          MI 48178‐9118
MARY SPARKS         323 EAST ST                                                                               MILFORD             MI 48381‐1932
MARY SPARKS         5176 N IRISH RD                                                                           DAVISON             MI 48423‐8911
MARY SPARR          103 FONRO DR                                                                              BRIGHTON            MI 48114‐9620
MARY SPEAR          708 S COUNTY ROAD 200 E                                                                   KOKOMO              IN 46902
MARY SPEAR          6165 CLOVER WAY N                                                                         SAGINAW             MI 48603‐4222
MARY SPELLACY       BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MARY SPELLACY       C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MARY SPENCE         7653 ACACIA AVE                                                                           MENTOR              OH 44060‐6061
MARY SPENCE         2450 DORA AVE                                                                             TAVARES             FL 32778
MARY SPENCE         3435 CURWOOD ST                                                                           WATERFORD           MI 48329‐4013
MARY SPENCER        11 W GOODMAN DR                                                                           FAIRBORN            OH 45324‐3413
MARY SPENCER        1710 LILLIAN DR                                                                           NATIONAL CITY       MI 48748‐9683
MARY SPENCER        4384 OAKVISTA AVE                                                                         CLARKSTON           MI 48346‐3813
MARY SPENCER        2936 COTTONWOOD A                                                                         WATERFORD           MI 48328
MARY SPENN          11 FAIRWAY LN                                                                             DEPEW               NY 14043‐1065
MARY SPICKLER       524 INGLESIDE AVE                                                                         FLINT               MI 48507‐2518
MARY SPIECE         5495 N WELLING RD                                                                         SAINT JOHNS         MI 48879‐9439
MARY SPIEKER        17491 SKYLINE LN                                                                          HUNTINGTON BEACH    CA 92647‐6237
MARY SPINA          651 CORNELL AVE                                                                           WENONAH             NJ 08090‐1119
MARY SPINELLA       BEECHTREE MANOR APT 1N           100 DANBURY ROAD                                         RIDGEFIELD          CT 06877
MARY SPITERI        33474 VARGO DR                                                                            LIVONIA             MI 48152‐3126
MARY SPIVEY         3313 OLD CHATSWORTH HWY SE                                                                DALTON              GA 30721‐6658
MARY SPIVEY         3941 N 75TH ST                                                                            MILWAUKEE           WI 53216‐1911
MARY SPRADLIN       1195 GLOVER DR                                                                            XENIA               OH 45385‐2511
MARY SPRAGUE        8511 E PRIOR RD                                                                           DURAND              MI 48429‐9437
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Name                 Address1                         Address2                  Address3   Address4         City                 State Zip
MARY SPRECHINI       154 PASSAIC AVE                                                                        BELLEVILLE            NJ 07109‐1958
MARY SPRING          6463 S FORDNEY RD                                                                      SAINT CHARLES         MI 48655‐9765
MARY SPRINGER        117 SANCTUARY DR                                                                       DARDENNE PRAIRIE      MO 63368‐8274
MARY SPRINGER        448 SWISHERS MILL RD                                                                   WEST MANCHESTER       OH 45382‐9717
MARY SPROUL          APT 326                          9000 BRIARCROFT LANE                                  LAUREL                MD 20708‐1367
MARY SPROW           1047 NANTUCKET DR                                                                      HERMITAGE             PA 16148‐3685
MARY SPURGEON        410 SHORT ST                                                                           LYNCHBURG             OH 45142
MARY SPYCH           210 THROPP AVE                                                                         TRENTON               NJ 08610‐3523
MARY SQ RICHARDSON   303 WEIL LANE                                                                          NICHOLSVILLE          KY 40356
MARY ST CLAIR        3674 OAKLEAF DR                                                                        WEST BLOOMFIELD       MI 48324‐2544
MARY ST CLAIR        1823 KENT DR                                                                           ARLINGTON             TX 76010‐4633
MARY STABILE         515 MAIN ST APT 305                                                                    EVANSTON               IL 60202‐4553
MARY STACK           RR 1 BOX 170A                                                                          ELIZABETHTOWN          IL 62931‐9720
MARY STACKS          1324 LEISURE DR                                                                        FLINT                 MI 48507‐4054
MARY STAFFORD        9031 AUTUMN LN                                                                         WARRIOR               AL 35180‐2647
MARY STAFFORD        6805 MUNGER RD                                                                         YPSILANTI             MI 48197‐8891
MARY STAFFORD        PO BOX 968                                                                             HAWKINS               TX 75765‐0968
MARY STAFFORD        1761 SCOTT LAKE RD                                                                     WATERFORD             MI 48328‐1653
MARY STAHL           10 STOREY LN                     C/O VIRGINIA A. HOLCOMB                               BATESVILLE            AR 72501‐8378
MARY STALEY          9012 W 128TH ST                  C/O MICHEAL STALEY                                    OVERLAND PARK         KS 66213‐3044
MARY STALL           33 NEW ST                                                                              GREENWICH             OH 44837‐1001
MARY STALLARD        PO BOX 283                                                                             MAYSVILLE             OK 73057‐0283
MARY STALNAKER       13400 PAWNEE TRL                 C/O KATHLEEN DIVELLA                                  MIDDLEBURG HEIGHTS    OH 44130‐5750
MARY STAMPER         307 CENTRAL AVE                                                                        BATESVILLE            IN 47006‐8971
MARY STAMPER         5901 MARION DR                                                                         MARION                MS 39342‐9403
MARY STAMPS          210 W DRAHNER RD APT 127                                                               OXFORD                MI 48371‐5087
MARY STAMPSKI        1444 W CUTLER RD                                                                       DEWITT                MI 48820‐8450
MARY STANA           678 STANA LN                                                                           RUFFS DALE            PA 15679‐1207
MARY STANAFORD       7660 PARAGON COMMONS CIR                                                               CENTERVILLE           OH 45459‐4057
MARY STANCHER        1022 ROBBINS AVE                                                                       NILES                 OH 44446‐3349
MARY STANEK          42 STONEYKIRK DR                                                                       PINEHURST             NC 28374‐9046
MARY STANEK          291 LOTHROP RD                                                                         GROSSE POINTE         MI 48236‐3405
MARY STANFORD        1810 PILGRIM MILL RD                                                                   CUMMING               GA 30041‐4848
MARY STANG           7060 E STATE ROUTE 571                                                                 TIPP CITY             OH 45371‐8309
MARY STANICH         2234 PHILLIPS RD                                                                       AUBURN HILLS          MI 48326‐2447
MARY STANIORSKI      # 150                            700 NORTHAMPTON STREET                                KINGSTON              PA 18704‐3424
MARY STANLEY         2574 EDGEVALE DR                                                                       WATERFORD             MI 48329‐3929
MARY STANLEY         306 W HOUSTONIA AVE                                                                    ROYAL OAK             MI 48073‐4054
MARY STANTON         106 STUBBS DR                                                                          TROTWOOD              OH 45426‐3020
MARY STAPERT         C/O S HUFFMAN 132 MAPLELEAF DR                                                         CATLIN                 IL 61817
MARY STAPLES         516 GREENHILL DR                                                                       UPPER CHICHESTER      PA 19061‐2902
MARY STARINSKY       1242 CHARLESTON CT                                                                     NORTHVILLE            MI 48167‐3308
MARY STARK           15409 COLLEGE AVE                                                                      GEORGETOWN             IL 61846‐6134
MARY STARK           4141 MCCARTY RD APT 209                                                                SAGINAW               MI 48603‐9325
MARY STASIK          597 HOLLY LN                                                                           NORTH BRUNSWICK       NJ 08902‐2509
MARY STATEN          4300 HOLYOKE DR SE                                                                     GRAND RAPIDS          MI 49508‐3768
MARY STEED           460 WINDMILL DR., APT 1                                                                MARYSVILLE            OH 43040
MARY STEELE          1511 EASTLAND ST                                                                       BOWLING GREEN         KY 42104‐3313
MARY STEELE          MARY STEELE                      217 CHURCH RD                                         YORKTOWN              VA 23690‐4273
MARY STEELE          3100 BELL WICK RD                C/O KAREN L. BANIC                                    HUBBARD               OH 44425‐3135
MARY STEELE          1685 N 400 E                                                                           WARSAW                IN 46582‐5618
MARY STEELE          3850 ANVIL BLOCK RD                                                                    ELLENWOOD             GA 30294‐3705
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Name               Address1                               Address2                  Address3   Address4         City            State Zip
MARY STEFANIC      1917 CANTERBURY CIR                                                                          FORT WORTH       TX 76112
MARY STEFANIC      1980 DRIFTWOOD TRAILS DR                                                                     FLORISSANT       MO 63031‐7430
MARY STEHNEY       200 PENNEMAN AVE                                                                             ELIZABETH        PA 15037‐1638
MARY STEIGLEDER    6369 CALLE BODEGA                                                                            CAMARILLO        CA 93012
MARY STEIN         28512 BARTON ST                                                                              GARDEN CITY      MI 48135‐2702
MARY STEINHILBER   5433 W STATE ROAD 46                   HERITAGE AT LAKE FOREST                               SANFORD          FL 32771‐9236
MARY STEINMETZ     26951 DRAKEFIELD AVE                                                                         EUCLID           OH 44132‐2010
MARY STEMPLE       1305 EDGEHILL AVE SE                                                                         WARREN           OH 44484‐4519
MARY STENNIS       23677 MERRILL AVE                                                                            SOUTHFIELD       MI 48075‐3421
MARY STEPHENS      15959 BRIDGE RD                                                                              KENT             NY 14477‐9773
MARY STEPHENS      833 LOPEZ LN                                                                                 MONROE           GA 30655‐8487
MARY STEPHENS      1345 CASTILLION DR NE                  N.E.                                                  WARREN           OH 44484‐1472
MARY STEPHENS      107 JOHNSON ST                                                                               BUFFALO          NY 14212‐1000
MARY STEPHENS      6 FLAGLER LN                                                                                 HOLLY HILL       FL 32117
MARY STEPHENS      8693 E PRIOR RD                                                                              DURAND           MI 48429‐9468
MARY STEPHENS      3781 EASTERN HILLS LN APT 501                                                                CINCINNATI       OH 45209‐2342
MARY STEPHENSON    52370 WASHINGTON ST                                                                          NEW BALTIMORE    MI 48047‐1504
MARY STEPHENSON    132 CONRADT AVE                                                                              KOKOMO           IN 46901‐5254
MARY STERLING      2211 COUNTRY CLUB AVE NW APT 207                                                             HUNTSVILLE       AL 35816
MARY STERNBERG     706 N ILLINOIS AVE                                                                           SALEM             IL 62881‐1107
MARY STERNBERG     7447 KARLOV AVE                                                                              SKOKIE            IL 60076‐3813
MARY STEUERNAGEL   236 N HARVEST ST                                                                             AMHERST          NY 14221‐6642
MARY STEVENS       PO BOX 65                                                                                    DECATUR          AL 35602‐0065
MARY STEVENS       8004 HAVILAND BEACH DR                                                                       LINDEN           MI 48451‐8868
MARY STEVENS       719 W LAKE AVE                                                                               NEW CARLISLE     OH 45344‐1733
MARY STEVENS       2395 HARMON AVE                                                                              DANVILLE         KY 40422‐9750
MARY STEVENS       12601 RATTALEE LAKE RD                                                                       DAVISBURG        MI 48350‐1228
MARY STEVENSON     2182 WHITE AVE                                                                               INDIANAPOLIS     IN 46202‐1139
MARY STEVENSON     241 SW 140TH ST                                                                              OKLAHOMA CITY    OK 73170‐6853
MARY STEWART       18 BRANDY HILLS DR                                                                           PORT ORANGE      FL 32129‐3631
MARY STEWART       1060 KENTON AVENUE                                                                           HAMILTON         OH 45013‐2810
MARY STEWART       3530 WINNEBAGO ST APT 205                                                                    SAINT LOUIS      MO 63118‐2586
MARY STEWART       PO BOX 143                                                                                   TRAVERSE CITY    MI 49685‐0143
MARY STEWART       1350 SNAKE NATION RD                                                                         BLUE RIDGE       GA 30513‐5627
MARY STEWART       2228 S F ST                                                                                  ELWOOD           IN 46036‐2544
MARY STEWART       69 SUMMAR DR                                                                                 JACKSON          TN 38301‐4252
MARY STEWART       2429 BRATTON AVE                                                                             BLOOMFIELD       MI 48302‐0419
MARY STEWART       127 E BEVERLY AVE                                                                            PONTIAC          MI 48340‐2615
MARY STEWART       29343 W CHANTICLEER DR                                                                       SOUTHFIELD       MI 48034‐1484
MARY STEWART       120 W 38TH ST                                                                                WILMINGTON       DE 19802‐2726
MARY STEWART       7125 E SUPERSTITION SPRINGS BLVD APT                                                         MESA             AZ 85209‐4034
                   1019
MARY STEWART       9071 SADDLE HORN DR                                                                          FLUSHING        MI   48433‐1211
MARY STICKLER      89 CRANBERRY BEACH BLVD                                                                      WHITE LAKE      MI   48386‐1915
MARY STICKNEY      1367 COLE ST                                                                                 BIRMINGHAM      MI   48009‐7048
MARY STIGALL       8603 E 85TH ST                                                                               RAYTOWN         MO   64138‐3120
MARY STILES        4615 INGHAM ST                                                                               LANSING         MI   48911‐2959
MARY STILLINGER    10840 PALMER RD                                                                              MEDINA          NY   14103‐9628
MARY STILLWELL     1050 104TH AVE                                                                               OAKLAND         CA   94603‐3169
MARY STINER        495 MILL ST                                                                                  WILLIAMSVILLE   NY   14221‐5150
MARY STINER        3400 W MARKET ST APT B                                                                       WARREN          OH   44485‐3086
MARY STINER        1904 S WEBSTER ST                                                                            KOKOMO          IN   46902
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Name                Address1                           Address2                       Address3   Address4         City              State Zip
MARY STINNETT       202 W MARENGO AVE                                                                             FLINT              MI 48505‐3261
MARY STINNETT       15231 FIELDING RD                                                                             ATHENS             AL 35611‐8028
MARY STINSON        2515 LORENTZ DR                                                                               SUMTER             SC 29154‐7073
MARY STINSON        4024 RALPH LN S                                                                               FRESNO             CA 93727‐7558
MARY STITES         5895 MARSH RD APT 122                                                                         HASLETT            MI 48840‐8847
MARY STITH          9061 CYPRESS DR S                                                                             FORT MYERS         FL 33967‐3230
MARY STIVERS        3220 CANON BAY DRIVE                                                                          CUMMING            GA 30041
MARY STOCKTON       7911 DONNA ST                                                                                 WESTLAND           MI 48185‐2420
MARY STODOL         12032 MORAN ST                                                                                HAMTRAMCK          MI 48212‐2756
MARY STOECKER       C/O COONEY AND CONWAY              120 NORTH LASALLE 30TH FLOOR                               CHICAGO             IL 60602
MARY STOFFREGEN     494 OLD ROUND POND LN                                                                         ADVANCE            MO 63730‐9030
MARY STOIA          PO BOX 313                                                                                    CAMBY              IN 46113‐0313
MARY STOKES         18236 GLASTONBURY ROAD                                                                        DETROIT            MI 48219‐2944
MARY STOKES         538 PARKGATE AVENUE                                                                           INDIANAPOLIS       IN 46239‐6885
MARY STOKES         2984 CHAPEL RIDGE CIR                                                                         DECATUR            GA 30034‐3547
MARY STOKES         18484 HARLOW ST                                                                               DETROIT            MI 48235‐3273
MARY STONE          1821 WEST GRAND AVENUE                                                                        DAYTON             OH 45402‐5721
MARY STONE          1204 SENECA DR                                                                                DAYTON             OH 45402‐5617
MARY STORIE         331690 E MEADOWOOD DR                                                                         WELLSTON           OK 74881‐9036
MARY STOTTLEMYER    43 HEATH DR NW                                                                                WARREN             OH 44481‐9001
MARY STOUT          501 N 17TH AVE                                                                                BEECH GROVE        IN 46107‐1169
MARY STOUT          4534 TRUMBULL DR                                                                              FLINT              MI 48504‐3759
MARY STOVALL        2022 GEORGE AVE                                                                               YPSILANTI          MI 48198‐6613
MARY STOWE          3010 ARTHUR RD                                                                                SPRINGFIELD        OH 45502‐8524
MARY STRAHLER       6360 MILLBANK DR                                                                              CENTERVILLE        OH 45459‐2245
MARY STRAIGHT       27 DEER TRL                                                                                   SAGINAW            MI 48638‐7374
MARY STRAIT         313 E CENTER ST                                                                               DUNKIRK            IN 47336‐1339
MARY STRALKO        129 CLARKSVILLE ST                                                                            GREENVILLE         PA 16125‐2365
MARY STRAWDER       216 FISHER AVE                                                                                PONTIAC            MI 48341‐2414
MARY STRAWSER       HC 67 BOX 40                                                                                  HUNDRED            WV 26575‐9705
MARY STRAYER        3918 STATE ROUTE 113 E                                                                        MILAN              OH 44846‐9431
MARY STRECK         6385 JOSEPH PL                                                                                CENTERVILLE        OH 45459‐2504
MARY STREETER       929 E YORK AVE                                                                                FLINT              MI 48505‐6002
MARY STRICKLAND     11348 DUNLAP RD                                                                               MEDINA             NY 14103‐9589
MARY STRICKLAND     1901 FM 424                                                                                   CROSSROADS         TX 76227‐7289
MARY STRICKLAND     24 EDGEWATER LN                                                                               WILLINGBORO        NJ 08046‐2325
MARY STRINGER       9030 N BRAY RD                                                                                CLIO               MI 48420‐9721
MARY STRINGER       1300 WAVERLY DR                                                                               WHITE LAKE         MI 48386‐4548
MARY STROHMEYER     1444 E 8TH ST                                                                                 KANSAS CITY        MO 64106‐1712
MARY STROM          1292 WOODNOLL DR                                                                              FLINT              MI 48507‐4716
MARY STRONG         3960 E 190TH ST                                                                               CLEVELAND          OH 44122‐6705
MARY STRONG         3627 BETSY ROSS DR                                                                            ROYAL OAK          MI 48073‐6401
MARY STROUD         3468 BURNT MILL CREEK RD                                                                      LAURENS            SC 29360‐8604
MARY STROUP         4237 POND VIEW DR                                                                             WHITE BEAR LAKE    MN 55110‐4156
MARY STRUKEL        9339 W HOWARD AVE APT 119                                                                     GREENFIELD         WI 53228‐1665
MARY STUART         1037 WINDSOR DR                                                                               PROVO              UT 84604‐5395
MARY STUBBLEFIELD   345 FLORAWOOD BLVD                                                                            WATERFORD          MI 48327‐2432
MARY STUBER         127 TURQUOISE DR                                                                              CORTLAND           OH 44410‐1908
MARY STUCKY         152 BELLEVUE AVE                                                                              LAKE ORION         MI 48362‐2704
MARY STUHR          2720 CODY ESTEY RD                                                                            RHODES             MI 48652‐9516
MARY STULOCK        730 YOUNGSTOWN WARREN RD APT 316                                                              NILES              OH 44446‐3581
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Name                        Address1                        Address2                       Address3            Address4         City             State Zip
MARY STUMPF                 6100 NW COOKINGHAM RD                                                                               KANSAS CITY       MO 64164‐1026
MARY STYLES                 APT 6                           1212 BROOKLINE AVE SOUTHWEST                                        DECATUR           AL 35603‐2064

MARY SUCHOMEL               479 SAPPHIRE DRIVE                                                                                  CARMEL           IN   46032‐7412
MARY SUE ACKER              1156 S ALSTOTT DR                                                                                   HOWELL           MI   48843‐7825
MARY SUE HAYES              675 MOSSY OAK AVE                                                                                   BATON ROUGE      LA   70810‐4850
MARY SUE MOORE              131 E LAKEVIEW AVE                                                                                  FLINT            MI   48503‐4152
MARY SUGGS                  3343 TRADE WINDS AVE                                                                                DAYTON           OH   45424‐6239
MARY SULENSKI               735 KINGSTON AVE                                                                                    KENILWORTH       NJ   07033‐1705
MARY SULJAK                 17933 157TH ST                                                                                      BONNER SPRINGS   KS   66012‐7386
MARY SULLIVAN               157 COTTAGE STATE               APT. 3                                                              LOCKPORT         NY   14094
MARY SULLIVAN               154 REDSTONE ST                                                                                     BRISTOL          CT   06010‐7935
MARY SULLIVAN               38 HIGHLAND DR                                                                                      LOCKPORT         NY   14094‐1704
MARY SULLIVAN               11734 E 450 N                                                                                       GREENTOWN        IN   46936‐9541
MARY SULLIVAN               141 CITRUS RD NE                                                                                    LAKE PLACID      FL   33852‐6044
MARY SULLIVAN               15544 WABASH ST                                                                                     DETROIT          MI   48238‐1534
MARY SUMILA                 815 S STATE ST                                                                                      WESTVILLE        IL   61883‐1743
MARY SUMMERFIELD            4456 ESTA DR                                                                                        FLINT            MI   48506‐1454
MARY SUMMERS                PO BOX 954                                                                                          E BERNSTADT      KY   40729‐0954
MARY SUMMERS                714 COUNTY ROAD 570                                                                                 ROGERSVILLE      AL   35652‐5527
MARY SUMMITS                422 W SUNNYBROOK DR                                                                                 ROYAL OAK        MI   48073‐2534
MARY SUMNER                 2531 BARRYKNOLL ST                                                                                  KETTERING        OH   45420‐3513
MARY SUMNER                 10141 CORNING STREET                                                                                OAK PARK         MI   48237‐3914
MARY SURMAN                 1943 CARLTON AVE NE                                                                                 GRAND RAPIDS     MI   49505‐5464
MARY SUSAN PERKINS‐SHARON   BARON & BUDD PC                 THE CENTRUM SUITE 1100         3102 OAK LAWN AVE                    DALLAS           TX   75219‐4281
MARY SUTPHIN                7110 SE LILLIAN CT                                                                                  STUART           FL   34997‐2229
MARY SUTTLE                 196 HILLCREST DR                                                                                    JEFFERSON        TX   75657‐3666
MARY SUTTLES                5166 JOHNSON ST                                                                                     GREENWOOD        IN   46143‐8965
MARY SUTTON                 13345 N LINDEN RD R #2                                                                              CLIO             MI   48420
MARY SUTTON                 PO BOX 465                                                                                          BRIDGEPORT       MI   48722‐0465
MARY SUTTON                 2660 ELMWOOD AVE APT 7                                                                              KENMORE          NY   14217‐1962
MARY SVEOM                  1801 E MILWAUKEE ST APT 301                                                                         JANESVILLE       WI   53545‐2686
MARY SWABON                 6451 RIDGEVIEW DRIVE                                                                                MORRISON         CO   80465‐2704
MARY SWAIM                  137 YALE LN                                                                                         FALLING WATERS   WV   25419‐4038
MARY SWANSON                2518 KENNEDY RD                                                                                     JANESVILLE       WI   53545‐0413
MARY SWARTZ                 3227 AINWICK RD                                                                                     COLUMBUS         OH   43221‐1801
MARY SWARTZ                 126 GREGORY PL                                                                                      WINCHESTER       VA   22603‐4857
MARY SWARTZ                 441 DERRER RD                                                                                       COLUMBUS         OH   43204‐1130
MARY SWEATLAND              13495 HANCHETT RD                                                                                   SAINT CHARLES    MI   48655‐8507
MARY SWEENEY SMITH          7152 TOURNAMENT DR                                                                                  SAINT LOUIS      MO   63129‐5296
MARY SWEETEN                1838 BOOT DR                                                                                        CAMDENTON        MO   65020‐4124
MARY SWEITZER               152 W HOLLAND LAKE DR                                                                               SHERIDAN         MI   48884‐9305
MARY SWERDAN                321 IMPALA DR                                                                                       YOUNGSTOWN       OH   44515‐3329
MARY SWICK                  5303 AUGSPURGER RD              C/O JOHNNIE P SWICK JR                                              HAMILTON         OH   45011‐9550
MARY SWICK                  251 TROY RD                                                                                         DELAWARE         OH   43015‐1527
MARY SWIMS                  934 E BUNDIT                                                                                        FLINT            MI   48505
MARY SWINGLE                71 DEWEY AVE                                                                                        BATAVIA          NY   14020‐2941
MARY SWINTON                2825 WIENEKE RD APT 4                                                                               SAGINAW          MI   48603‐2603
MARY SWISHER                4231 W RIVER RD                                                                                     PERU             IN   46970‐7960
MARY SWISS                  6605 STRATHERN CT                                                                                   DUBLIN           OH   43016‐6019
MARY SWITLICKI              23259 HOLLANDER ST                                                                                  DEARBORN         MI   48128‐1303
MARY SWITZER                59 JULIETTE ST                                                                                      HOPELAWN         NJ   08861‐2223
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Name                                Address1                            Address2                 Address3                   Address4               City             State Zip
MARY SWITZER                        5508 NORA CT                                                                                                   BELLEVILLE         IL 62223‐7943
MARY SYRJALA                        1949 DIVINE HWY                                                                                                LYONS             MI 48851‐9776
MARY SZABO                          24699 WOODLAND DR                                                                                              FLAT ROCK         MI 48134‐9258
MARY SZANTO                         5118 OLD DUBLIN CT                                                                                             DAYTON            OH 45415‐3171
MARY SZCODRONSKI                    10544 SUNSET DR                     C/O EDWARD SZCODRONSKI                                                     ATLANTA           MI 49709‐8902
MARY SZCZESNIAK                     46 VERN LN                                                                                                     BUFFALO           NY 14227‐1340
MARY SZECSODI                       2353 E FRANCES RD                                                                                              CLIO              MI 48420‐9769
MARY SZELINGOSKI                    750 WHITEHORSE HAMILTON SQUARE RD                                                                              TRENTON           NJ 08610‐1110

MARY SZLUK                          34500 WILLOW ROAD                                                                                                NEW BOSTON     MI    48164‐9393
MARY SZRAMA                         124 MCNAUGHTON AVE                                                                                               CHEEKTOWAGA    NY    14225‐4543
MARY SZUMSKI                        1339 MARION AVE                                                                                                  LINCOLN PARK   MI    48146‐2026
MARY SZURA                          6514 NECKEL ST                                                                                                   DEARBORN       MI    48126‐1837
MARY SZYMKOWIAK                     10525 LINDERHOF AVE                                                                                              LAS VEGAS      NV    89135‐2134
MARY T ABNER                        8850 MAIN ST.                                                                                                    GERMANTOWN     OH    45327‐1510
MARY T ADAMS                        4765 W COUNTY LINE RD                                                                                            JACKSON        MS    39209
MARY T ARNOLD                       C/O MORGAN STANLEY SMITH BARNEY     ATTN FEDLMAN/DOYLE       FFC: MARY T ARNOLD #642‐   1775 EYE ST NW SUITE 200 WASHINGTON     DC    20006
                                                                                                 092536
MARY T DUPONT                       1773 PENFIELD ROAD                                                                                             PENFIELD         NY    14526‐2139
MARY T HYNES                        105 FLORIDA RD S                                                                                               SYRACUSE         NY    13211‐1812
MARY T KRANZ                        51‐D AIRPARK DR                                                                                                EAST FALMOUTH    MA    02586‐8502
MARY T KUDYBA                       8944 ALTURA DR NE                                                                                              WARREN           OH    44484‐1730
MARY T MC INTOSH                    121 STONEQUARRY RD                                                                                             VANDALIA         OH    45377‐9510
MARY T MOORE                        108 WILSHIRE DR                                                                                                GLENN HEIGHTS    TX    75154‐2040
MARY T NYESTE                       2841 NESMITH LAKE BLVD                                                                                         AKRON            OH    44314
MARY T SAMUELS                      435 N. HEINCKE RD. APT. A                                                                                      MIAMISBURG       OH    45342‐2669
MARY T ZIEGLER                      2893 RANDOLPH ST NW                                                                                            WARREN           OH    44485
MARY T. KAUFMANN FAMILY TRUST       2 LORCA DR. EAST                                                                                               RANCHO MIRAGE    AK    92270
MARY T. KAUFMANN FAMILY TRUST       2 LORCA DR. EAST                                                                                               RANCHO MIRAGE    AK    92270
MARY T.
MARY T. KAUFMANN FAMILY TRUST, MARY 2 LORCA DR. EAST                                                                                               RANCHO MIRAGE     AK   92270
T. KAUFMANN, TRUSTEE
MARY TABOIKA                        7748 WILLIAM ST                                                                                                MENTOR           OH    44060‐3671
MARY TACKER                         4280 SPRINGBROOK DR                                                                                            SWARTZ CREEK     MI    48473‐1706
MARY TACKETT                        11 W GOODMAN DR                                                                                                FAIRBORN         OH    45324‐3413
MARY TADDEO                         27 ANGELA VILLA LN                                                                                             ROCHESTER        NY    14626‐1765
MARY TAFOYA                         1401 S DYE RD                                                                                                  FLINT            MI    48532‐4120
MARY TALARICO                       6 TAMAR DR                                                                                                     VLY COTTAGE      NY    10989‐1327
MARY TALBERT                        PO BOX 36                                                                                                      IDLEWILD         MI    49642‐0036
MARY TALBOT                         2 MILLWOOD DR                                                                                                  MIDDLETOWN       DE    19709‐8882
MARY TALLAR                         5726 W COUNTY ROAD 200 S                                                                                       DANVILLE         IN    46122‐8825
MARY TAMAYO                         2615 EVALON ST                                                                                                 BEAUMONT         TX    77702‐1236
MARY TAMBURRINO                     727 ALDWORTH RD                                                                                                BALTIMORE        MD    21222‐1305
MARY TAMPA                          44505 FORD RD APT 215                                                                                          CANTON           MI    48187‐5034
MARY TANK                           137 RIVER RD                                                                                                   ELKHORN CITY     KY    41522‐8327
MARY TANNER                         13676 IRIS LN                                                                                                  CEDAR SPRINGS    MI    49319‐8231
MARY TAPPEN                         521 N WASHINGTON ST                                                                                            CHARLOTTE        MI    48813‐1137
MARY TARASKY                        715 PARKVIEW TER                                                                                               MT PLEASANT      PA    15666‐1717
MARY TARTER                         36 POWHATTON DR                                                                                                MILFORD          OH    45150‐1622
MARY TARVER                         4016 CATAMARAN DR                   C/O KIRK TARVER                                                            YUKON            OK    73099‐3280
MARY TARVER                         26 HULL DR                                                                                                     PLATTE CITY      MO    64079‐9642
MARY TATE                           606 NEWT HOOD RD                                                                                               COLUMBIA         TN    38401‐6748
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Name                   Address1                          Address2                    Address3   Address4         City            State Zip
MARY TATE              10016 CHAMBERS HILL DR                                                                    SAINT LOUIS      MO 63136‐2000
MARY TATE              8 SHERWOOD AVE                                                                            LOCK HAVEN       PA 17745‐3933
MARY TATE              3719 MOUNT LAUREL RD                                                                      CLEVELAND HTS    OH 44121‐1330
MARY TATE              3732 PROVIDENCE ST                                                                        FLINT            MI 48503‐4549
MARY TATOM             331 N GARLAND AVE                                                                         DAYTON           OH 45403‐1642
MARY TATRO             842 ROMINE RD                                                                             ANDERSON         IN 46011‐8704
MARY TATU              10359 KING RD                                                                             DAVISBURG        MI 48350‐1903
MARY TATUM             4750 S SWIFT AVE                                                                          CUDAHY           WI 53110‐1553
MARY TATUM             3171 BELL SOUTH RD                                                                        CORTLAND         OH 44410‐9408
MARY TAUTKUS           PO BOX 227                                                                                EBEN JUNCTION    MI 49825‐0227
MARY TAYLOR            496 MONROE BLVD                                                                           PAINESVILLE      OH 44077‐2836
MARY TAYLOR            13976 WINTHROP ST                                                                         DETROIT          MI 48227‐1719
MARY TAYLOR            2716 MAIN AVE                                                                             NORTHPORT        AL 35476‐3619
MARY TAYLOR            4800 PALMER AVE                                                                           KANSAS CITY      MO 64129‐2057
MARY TAYLOR            10014 MINOCK ST                                                                           DETROIT          MI 48228‐1344
MARY TAYLOR            51 NIAGARA AVE                                                                            PONTIAC          MI 48341‐1917
MARY TAYLOR            277 MAYNARD DR                                                                            AMHERST          NY 14226‐2932
MARY TAYLOR            5405 CARLETON LAKE DR                                                                     LOCKPORT         NY 14094‐5375
MARY TAYLOR            10928 GOLDEN HARVEST PL                                                                   INDIANAPOLIS     IN 46229‐4926
MARY TAYLOR            4722 S CO RD 750 E                                                                        KOKOMO           IN 46902
MARY TAYLOR            2473 TOHOPE BLVD                                                                          KISSIMMEE        FL 34741‐1646
MARY TAYLOR            2750 MARBACH WAY                                                                          SAINT CHARLES    MO 63301‐4205
MARY TAYLOR            1174 COOL RIDGE DR                                                                        GRAND BLANC      MI 48439‐4972
MARY TAYLOR            1508 KENHILL AVE                                                                          BALTIMORE        MD 21213‐3820
MARY TAYLOR            626 EPPS RD                                                                               PALMER           TX 75152‐8065
MARY TAYLOR            16535 STANSBURY ST                                                                        DETROIT          MI 48235‐4016
MARY TAYLOR            3931 KENTRIDGE DR SE                                                                      GRAND RAPIDS     MI 49508‐2693
MARY TAYLOR
MARY TEASLEY           497 ARTHUR AVE                                                                            PONTIAC         MI   48341‐2501
MARY TEDROW            30 MYRTLE DR                                                                              SHELBY          OH   44875‐1805
MARY TELYCHAN          133 HARDING AVE                                                                           EDISON          NJ   08820‐2526
MARY TEMPLE            3110 RALEIGH ST                                                                           LINCOLN         NE   68516‐4642
MARY TEMPLETON         PO BOX 693                                                                                OLNEY           IL   62450‐0693
MARY TEREBA            20439 E CRESTLINE DR                                                                      WALNUT          CA   91789‐4633
MARY TERPSTRA          8146 FAIRFIELD CIR                                                                        CLARKSTON       MI   48346‐1118
MARY TERRY             770 SOUTHVIEW CIR                                                                         KODAK           TN   37764‐1879
MARY TERRY             511 E BOSTON AVE                                                                          MONMOUTH        IL   61462
MARY TESSLER           4465 ORKNEY DR                                                                            FLINT           MI   48507‐3445
MARY TESTER            2099 E FRANCES RD                                                                         CLIO            MI   48420‐9724
MARY THACKABERRY       ESSINGTON PLACE                   901 ESSINGTON RD APT #123                               JOLIET          IL   60435
MARY THACKER           1219 FRANCES LN                                                                           ANDERSON        IN   46012‐4521
MARY THERRIEN          15221 S VISTA LN                                                                          PLAINFIELD      IL   60544‐2165
MARY THICK             1145 MAPLEWOOD ST RT 4                                                                    BEAVERTON       MI   48612
MARY THOM VANDERCOOK   3409 SPRINGBROOK DR                                                                       NASHVILLE       TN   37204‐3402
MARY THOMANN           1352 STATE RD                                                                             WEBSTER         NY   14580‐9341
MARY THOMAS            123 MERILINE AVE                                                                          LAWRENCEVILLE   NJ   08648‐3860
MARY THOMAS            3226 ROBIN RD                                                                             DECATUR         GA   30032‐3720
MARY THOMAS            44 INGLEWOOD DR                                                                           ROCHESTER       NY   14619‐1402
MARY THOMAS            3307 FRANCES LN                                                                           KOKOMO          IN   46902‐9709
MARY THOMAS            150 LOQUAT RD NE                                                                          LAKE PLACID     FL   33852‐9743
MARY THOMAS            PO BOX 142                                                                                MAPLE RAPIDS    MI   48853‐0142
MARY THOMAS            5759 NASHVILLE HWY                                                                        CHAPEL HILL     TN   37034‐2521
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Name                       Address1                         Address2                     Address3   Address4           City                   State Zip
MARY THOMAS                PO BOX 720774                                                                               BYRAM                   MS 39272‐0774
MARY THOMAS                19533 LAKESHORE DR.                                                                         LYNWOOD                  IL 60411
MARY THOMAS                1565 TOWNSEND AVE APT 5 B                                                                   BRONX                   NY 10452
MARY THOMAS                10137 W WHEELER RD                                                                          EVANSVILLE              WI 53536‐8338
MARY THOMAS                13045 STRATHERN ST                                                                          NORTH HOLLYWOOD         CA 91605‐1720
MARY THOMAS                29W072 FOREST AVE                                                                           WEST CHICAGO             IL 60185‐3625
MARY THOMAS                217 MEADOW LN                                                                               CARTERSVILLE            GA 30120‐2027
MARY THOMASON              17804 BESSEMER ST                                                                           ENCINO                  CA 91316‐7211
MARY THOMPSON              10 WILMINGTON AVE APT 253W                                                                  DAYTON                  OH 45420‐4813
MARY THOMPSON              PO BOX 185                                                                                  MONROEVILLE             AL 36461‐0185
MARY THOMPSON              1808 COLONY PARK DR                                                                         PEARL                   MS 39208‐6361
MARY THOMPSON              7332 REVERE ST                                                                              PHILADELPHIA            PA 19152‐4408
MARY THOMPSON              2556 LOCH LOMOND DR                                                                         HIGHLAND                MI 48357‐3749
MARY THOMPSON              903 RON AVE                                                                                 BOAZ                    AL 35956‐5333
MARY THOMPSON              2221 NORWOOD DR                                                                             ANDERSON                IN 46012‐1836
MARY THOMPSON              2128 CADIE AVE                                                                              DAYTON                  OH 45414‐3325
MARY THOMPSON              4421 W CARPENTER RD                                                                         FLINT                   MI 48504‐1122
MARY THOMPSON              613 RIDGE RD APT 306                                                                        NEWTON FALLS            OH 44444‐1086
MARY THOMPSON              15823 KINGS CYPRESS LN                                                                      CYPRESS                 TX 77429‐1555
MARY THOMPSON‐BALANOWSKI   2917 12 OAKS DR                                                                             CHARLOTTE               MI 48813‐8372
MARY THORNTON              600 TURNEY RD APT 118                                                                       BEDFORD                 OH 44146‐3300
MARY THORNTON              701 SHERRILL ST APT E4                                                                      UNION CITY              TN 38261
MARY THORNTON              550 SHELDEN RD                                                                              GROSSE POINTE SHORES    MI 48236‐2623
MARY THORPE                PO BOX 34                                                                                   ELBERTA                 MI 49628
MARY THRASHER              681‐102 FRONT RD S                                                       AMHERSTBURG ON
                                                                                                    N9VOB4 CANADA
MARY THRASHER              114 KIMMER RD                                                                               PEACHTREE CITY         GA   30269‐3633
MARY THREAT                2592 BROWN CITY RD                                                                          IMLAY CITY             MI   48444‐9417
MARY THROESCH              779 LAKE DR                                                                                 POCAHONTAS             AR   72455‐1414
MARY THUMME                4159 BRADFORD DR                                                                            SAGINAW                MI   48603‐3076
MARY THURMAN               17585 SUSSEX ST                                                                             DETROIT                MI   48235‐2811
MARY THURMAN               5870 S EAST POE DR                                                                          JONESBORO              IN   46938‐1513
MARY THURSTON              9194 W 600 S                                                                                KEMPTON                IN   46049‐9399
MARY THURSTON              BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS             OH   44236
MARY TICE                  5085 TOMLINSON RD                                                                           KINDE                  MI   48445‐9793
MARY TIGNER                PO BOX 178                                                                                  FRANKENMUTH            MI   48734‐0178
MARY TILK                  3543 SPRINGDALE DRIVE                                                                       LAMBERTVILLE           MI   48144‐9688
MARY TILLMAN               502 WHITMORE AVE                                                                            DAYTON                 OH   45417‐1250
MARY TILTON                50785 JEFFERSON AVE APT 116                                                                 NEW BALTIMORE          MI   48047‐4366
MARY TIMKO                 2220 ELIZABETH WAY                                                                          DUNEDIN                FL   34698‐9441
MARY TIMM                  5133 BROBECK ST                                                                             FLINT                  MI   48532‐4102
MARY TIMS                  PO BOX 27213                                                                                DETROIT                MI   48227‐0213
MARY TINER                 APT 130                          6101 GRAND COURT RD          APT 268                       SAN ANGELO             TX   76901‐9618
MARY TINKER                8307 CAMELOT CT                                                                             MOUNT MORRIS           MI   48458‐8827
MARY TINKER                1009 AVERY CREEK DR                                                                         WOODSTOCK              GA   30188‐2313
MARY TINSLEY               5950 LIVINGSTON DR                                                                          TOLEDO                 OH   43613‐1710
MARY TIPMORE               5914 BRADSTON WAY                                                                           INDIANAPOLIS           IN   46237‐2719
MARY TIREY                 PO BOX 546                                                                                  MOREHEAD               KY   40351‐0546
MARY TISI
MARY TOBIAS                4625 SANTA ANITA PLACE                                                                      DAYTON                 OH 45424‐3697
MARY TOBIAS                300 KENNELY RD APT 215                                                                      SAGINAW                MI 48609‐7704
MARY TOCCO                 9138 RIDGEFIELD DR                                                                          BRIGHTON               MI 48114‐4982
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Name               Address1                      Address2                      Address3   Address4         City               State Zip
MARY TODA          3627 LIBERTY AVE                                                                        HUBBARD             OH 44425‐2537
MARY TOKARSKY      34 RIDGE LN                                                                             MURPHY              NC 28906
MARY TOLIVER       5753 EDEN VILLAGE WAY                                                                   INDIANAPOLIS        IN 46254‐5196
MARY TOLSON        8634 DORR ST                                                                            TOLEDO              OH 43617‐1920
MARY TOMASOVICH    1011 BERKSHIRE AVE                                                                      PITTSBURGH          PA 15226‐2218
MARY TOMBLIN       2352 PENNY LN                                                                           YOUNGSTOWN          OH 44515‐4939
MARY TOMECAL       701 GRANDVIEW ST                                                                        NOEL                MO 64854‐9760
MARY TOMKO         9395 DORAL DR SE                                                                        WARREN              OH 44484‐2152
MARY TOMKOVICH     5 OMAHA DR                                                                              CRANFORD            NJ 07016‐3317
MARY TOMPKINS      2204 FENNIGAN COURT                                                                     LEAGUE CITY         TX 77573‐4948
MARY TONEY         1805 FAUVER AVENUE                                                                      DAYTON              OH 45420‐2504
MARY TONNE         7128 CROSSCUT CT                                                                        FORT WAYNE          IN 46804‐8301
MARY TONNE         12200 LAFAYETTE CENTER RD     MC 467‐122‐100                                            ROANOKE             IN 46783‐9628
MARY TONNEBERGER   2911 PEERLESS AVE                                                                       WATERFORD           MI 48328‐2649
MARY TOOLE         9667 BAYVIEW DR APT 214                                                                 YPSILANTI           MI 48197‐7027
MARY TOPP          26601 COOLIDGE HWY            C/O GUARDIAN CARE INC                                     OAK PARK            MI 48237‐1135
MARY TORRES        2610 CARLTON AVE NE                                                                     GRAND RAPIDS        MI 49505‐3850
MARY TOTH          15245 COLLEGE AVE                                                                       ALLEN PARK          MI 48101‐3042
MARY TOTH          14067 SWANEE BEACH DR                                                                   FENTON              MI 48430‐1468
MARY TOTTEN        2337 WILSON SHARPSVILLE RD                                                              CORTLAND            OH 44410‐9304
MARY TOTTINGHAM    1284 FLORENCE AVE                                                                       WATERFORD           MI 48328
MARY TOWERY        373 BROWN BRIDGE RD                                                                     AUBURN              GA 30011‐3331
MARY TOWNE         411 ROOSEVELT DR                                                                        GREENFIELD          IN 46140‐1872
MARY TOWNSEND      4035 MYRON AVE                                                                          DAYTON              OH 45416‐1657
MARY TOWNSEND      29511 THOMAS CT                                                                         INKSTER             MI 48141‐2812
MARY TRABERT       2870 LOWELL DR                                                                          COLUMBUS            OH 43204‐2138
MARY TRACY         1401 S 24TH ST                                                                          ELWOOD              IN 46036‐3018
MARY TRACY         PO BOX 193                                                                              ATLAS               MI 48411‐0193
MARY TRADER        56 S QUENTIN AVE                                                                        DAYTON              OH 45403‐2261
MARY TRAEYE        13326 BRIDGEWALK LN                                                                     HOUSTON             TX 77041‐5889
MARY TRAGESSER     169 W 100 S                                                                             TIPTON              IN 46072‐8758
MARY TRAPP         320 N 13TH ST                                                                           SAGINAW             MI 48601‐1607
MARY TRAVIS        7276 FORD AVE                                                                           WARREN              MI 48091‐3086
MARY TREADWELL     706 BELLVIEW CT NE                                                                      LEESBURG            VA 20176‐4932
MARY TREHAN        393 PARISH AVE                                                                          HUBBARD             OH 44425‐1958
MARY TRENT         1430 NORTH ROCHESTER AVENUE                                                             INDIANAPOLIS        IN 46222‐2949
MARY TRENT         200 W GREEN MEADOWS DR        REGENCY PLACE OF GREENFIELD                               GREENFIELD          IN 46140‐1014
MARY TRENT         200 WALKER RD                                                                           MC MINNVILLE        TN 37110‐5354
MARY TREPANIER     3085 N GENESEE RD APT 210                                                               FLINT               MI 48506‐2191
MARY TREZIL        4171 SYRACUSE ST                                                                        DEARBORN HEIGHTS    MI 48125‐2118
MARY TRICE         452 LYNCH AVE                                                                           PONTIAC             MI 48342‐1955
MARY TRICE         3575 SOUTHFIELD DR                                                                      SAGINAW             MI 48601‐5652
MARY TRIER         8274 SUNNYSIDE CIR                                                                      FREELAND            MI 48623‐8659
MARY TRIMBLE       1180 DRAWBRIDGE DR                                                                      RIVERDALE           GA 30296‐7300
MARY TRIMBLE       1607 PRAIRIE DR                                                                         PONTIAC             MI 48340‐1085
MARY TRINDEL       2808 TAMRA LN                                                                           ANDERSON            IN 46012‐9497
MARY TRINH         105 TWIN LAKE DR                                                                        FREDERICKSBRG       VA 22401‐7034
MARY TRIPLETT      1171 MAIN ST APT 4C                                                                     RAHWAY              NJ 07065‐5070
MARY TRIPP         5427 SAND CREEK HWY                                                                     ADRIAN              MI 49221‐8771
MARY TRISSEL       1202 E MAPLE ST                                                                         FRANKTON            IN 46044‐9350
MARY TROMBLY       33118 MULBERRY RD                                                                       DADE CITY           FL 33523‐9210
MARY TROUT         PO BOX 151543                                                                           ARLINGTON           TX 76015‐7543
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Name                Address1                           Address2                    Address3   Address4         City               State Zip
MARY TROUT          PO BOX 521                                                                                 WARREN              IN 46792‐0521
MARY TROXELL        7013 GREENLEE ST                                                                           FORT WORTH          TX 76112‐5603
MARY TRUEBLOOD      9694 S STATE ROAD 9                                                                        PENDLETON           IN 46064‐9510
MARY TRUESDELL      172 BITTERSWEET DR                                                                         GALLIPOLIS          OH 45631‐9601
MARY TRUHAN         7841 BROOKWOOD ST NE                                                                       WARREN              OH 44484‐1544
MARY TRUMBLE        12226 ITHACA RD APT 19                                                                     SAINT CHARLES       MI 48655‐9561
MARY TRUMBLE        90 SMOKETREE AVE S                                                                         LAKE HAVASU CITY    AZ 86403‐6703
MARY TRUMPH         25002 DORIS CT                                                                             REDFORD             MI 48239‐1627
MARY TRUNNELL       119 LEGEND CT                                                                              FAIRVIEW HEIGHTS     IL 62208‐3960
MARY TRZONKOWSKI    2016 N MICHIGAN ST                                                                         TOLEDO              OH 43611‐3721
MARY TSACOUMANGOS   5335 STANDISH DR                                                                           TROY                MI 48085‐6700
MARY TUBRIDY        221 KNOWLTON AVE                   C/O CHEVROLET ‐ TONAWANDA                               KENMORE             NY 14217‐2813
MARY TUCCI          3796 WINDING BROOK CIR 12                                                                  ROCHESTER HILLS     MI 48309
MARY TUCK           12 S OSCEOLA ST                                                                            BEVERLY HILLS       FL 34465‐3650
MARY TUCKER         222 DASH LEWIS DR                                                                          DECATUR             GA 30034‐1682
MARY TUCKER         RR 3                                                                                       ASHLAND             OH 44805
MARY TUCKER         412 S ST                                                                                   BEDFORD             IN 47421‐1912
MARY TUCKER         305 S 20TH ST                                                                              SAGINAW             MI 48601‐1526
MARY TUCKER         4387 SULGRAVE DR                                                                           SWARTZ CREEK        MI 48473‐8277
MARY TUCKER         1521 N MIDWAY RD                                                                           CLINTON             MS 39056‐9617
MARY TUGGLE         9020 HAZELTON                                                                              REDFORD             MI 48239‐1136
MARY TULOWITZKY     1611 N K ST                                                                                ELWOOD              IN 46036‐1142
MARY TUNE           5430 SUNROSE AVE                                                                           LANSING             MI 48911‐3783
MARY TURAY          74 OAKWOOD TER                                                                             N TONAWANDA         NY 14120‐3323
MARY TURDO          12273 W SUNSET LN                  C/O LEO R TURDO                                         GREENFIELD          WI 53228‐2496
MARY TURI           1016 LORRAINE AVE                                                                          UNION               NJ 07083‐7007
MARY TURK           3446 CAROLYN ST                                                                            GAINESVILLE         GA 30504‐5402
MARY TURNBOW        3159 S TERM ST                                                                             BURTON              MI 48529‐1019
MARY TURNER         1670 S 450 E                                                                               ANDERSON            IN 46017‐9579
MARY TURNER         PO BOX 982                                                                                 BEDFORD             IN 47421‐0982
MARY TURNER         324 RIDGE WAY                                                                              BRASELTON           GA 30517‐1877
MARY TURNER         2400 S 23RD ST                                                                             SAGINAW             MI 48601‐4213
MARY TURNER         4005 DARBY ST                                                                              SAINT LOUIS         MO 63120‐1421
MARY TURNER         6164 HAMILTON RICHMOND RD                                                                  SOMERVILLE          OH 45064‐9711
MARY TURNER         5348 WORCHESTER DR                                                                         SWARTZ CREEK        MI 48473‐1114
MARY TURNER         1483 SEED TICK RD                                                                          DAWSONVILLE         GA 30534‐5448
MARY TURNER         2002 ROCKPORT RD                                                                           JANESVILLE          WI 53548‐4438
MARY TURNER         3897 140TH AVENUE                                                                          HOLLAND             MI 49424‐9454
MARY TURNER         1521 PAXTON TER                                                                            PORT CHARLOTTE      FL 33952‐2713
MARY TURNEY         2809 BARRY KNOLL WAY                                                                       FORT WAYNE          IN 46845‐1944
MARY TUSSET         1000 W ARBOR RIDGE DR                                                                      GREEN VALLEY        AZ 85614‐3215
MARY TUTHILL        19 VOGE ST                                                                                 WEST ALEXANDRIA     OH 45381‐1133
MARY TUTTLE         254 N BURGESS ST APT 1                                                                     WEST BRANCH         MI 48661‐1108
MARY TWITCHELL      8655 W HERBISON RD                                                                         EAGLE               MI 48822‐9524
MARY TYLER          816 SIMONEAU ST                                                                            SAGINAW             MI 48601‐2314
MARY TYLER          10908 DEERFIELD DR                                                                         FREDERICKSBRG       VA 22407‐6329
MARY TYLER          112 E STEWART AVE                  C/O BEVERLY JACKSON                                     FLINT               MI 48505‐3418
MARY TYLER          525 W WESTCHESTER PKWY APT 526                                                             GRAND PRAIRIE       TX 75052‐2829
MARY TYLER          1306 PARKVIEW DR                                                                           DANVILLE             IL 61832‐7012
MARY TYLER‐ALLEN    7064 TIMBERVIEW TRL                                                                        W BLOOMFIELD        MI 48322‐3352
MARY TYLUS          4452 JENA LN                                                                               FLINT               MI 48507‐6220
MARY TYREE          21000 FATHER HURLEY BLVD APT 218                                                           GERMANTOWN          MD 20874‐5910
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Name                    Address1                       Address2                  Address3   Address4         City                   State Zip
MARY TYSON              1336 LIBERTY RD                                                                      YOUNGSTOWN              OH 44505‐3945
MARY U KLASS            2987 BAZETTA RD.,#B APT.                                                             CORTLAND                OH 44410‐9397
MARY UDELL              1341 BROOKVIEW DR NE APT 39                                                          GRAND RAPIDS            MI 49505‐3455
MARY ULAM               1590 BONNIE BRAE AVE NE                                                              WARREN                  OH 44483‐3931
MARY ULSHAFER           G3401 BEGOLE ST                                                                      FLINT                   MI 48504‐2486
MARY UNION              125 E CLARIDGE ST                                                                    SATELLITE BEACH         FL 32937‐2227
MARY UPTEGRAFF          6222 ELRO STREET                                                                     BURTON                  MI 48509‐2444
MARY UPTON              1025 N TAGGART AVE                                                                   CLARKSVILLE             IN 47129‐1845
MARY URIANI             1805 N MARKET ST APT 304                                                             WILMINGTON              DE 19802‐4841
MARY URSHA              12457 E RICHFIELD RD                                                                 DAVISON                 MI 48423‐8518
MARY URSO               6920 N INKSTER RD APT 109F                                                           DEARBORN HTS            MI 48127‐1820
MARY URTEL              356 BIRCHWOOD DR                                                                     LOCKPORT                NY 14094‐9156
MARY UTT                16170 ASPEN HOLW                                                                     FENTON                  MI 48430‐9159
MARY UTTERBACK          734 P ST                                                                             BEDFORD                 IN 47421‐2139
MARY V CRAWFORD         638 HOLLY GLENN ROAD                                                                 PITTSBORO               NC 27312‐6583
MARY V DONCHATZ         1398 TOMILU DR.                                                                      GIRARD                  OH 44420‐1454
MARY V JONES            2978 HIGHWAY 77                                                                      ATTALLA                 AL 35954
MARY V MAHLICH          340 PENFIELD AVE                                                                     ELYRIA                  OH 44035‐3237
MARY V MCCLELLAND       2030 LAFAYETTE ST                                                                    ANDERSON                IN 46012‐1636
MARY V MCGILL           64 SHENAGO STREET                                                                    GREENVILLE              PA 16125
MARY V MICHALIK         5247 S MOODY AVE                                                                     CHICAGO                  IL 60638‐1434
MARY V WILKINS          4111 AURELIUS RD                                                                     LANSING                 MI 48910‐4814
MARY V WILLIAMS (COX)   7743 TRISA CT                                                                        INDIANAPOLIS            IN 46227‐5688
MARY VAISANEN           E5346 STATE HIGHWAY M94                                                              MUNISING                MI 49862‐8850
MARY VALENTINO          51 LOCUST ST                                                                         BRISTOL                 CT 06010‐6249
MARY VALENZA            90 SHILOH CT                                                                         ROCHESTER               NY 14612‐2376
MARY VALERIO            4685 BLACKMORE RD                                                                    LESLIE                  MI 49251‐9727
MARY VALEVICH           1701 FRICK RD                                                                        LEONARD                 MI 48367‐3185
MARY VALLEY             879 SUTHERLAND AVE                                                                   JANESVILLE              WI 53545‐1629
MARY VALLEZ             7883 SCHIRRA DR                                                                      SAGINAW                 MI 48609‐4238
MARY VALLONE            43 HECLA ST                                                                          BUFFALO                 NY 14216‐1629
MARY VALORE             4642 PATRICIA DR                                                                     NIAGARA FALLS           NY 14305‐1148
MARY VAN BENNEKOM       358 HICKORY RIDGE DR                                                                 SEBRING                 FL 33876‐6619
MARY VAN CONETT         3818 APOLLO DR                                                                       MIDLAND                 MI 48642‐6085
MARY VAN DYKE           3483 N WEST BRANCH DR                                                                GLADWIN                 MI 48624‐7932
MARY VAN ETTEN          104 CLINGSTONE WAY                                                                   HOT SPRINGS NATIONAL    AR 71901
                                                                                                             PARK
MARY VAN HORN           APT 611                        306 SOUTH WALNUT STREET                               BAY CITY               MI   48706‐4983
MARY VAN HOVE           5411 WEBSTER RD                                                                      FLINT                  MI   48504‐1008
MARY VAN KUREN          4484 BELSAY ROAD                                                                     GRAND BLANC            MI   48439‐9120
MARY VAN SLYKE          3663 BADGER AVE SW                                                                   WYOMING                MI   49509‐4008
MARY VAN WINKLE         1667 SHERIDAN RD # 28                                                                NOBLESVILLE            IN   46062
MARY VAN WORMER         4334 GREGOR ST BOX 31                                                                GENESEE                MI   48437
MARY VANABLE            7239 S ROCKWELL ST                                                                   CHICAGO                IL   60629‐2029
MARY VANALLEN           2235 CHRISTNER ST                                                                    BURTON                 MI   48519‐1005
MARY VANANZO            260 TEMPLE DR                                                                        BEL AIR                MD   21015‐8910
MARY VANATTA            804 NIGHTINGALE CIR                                                                  XENIA                  OH   45385‐7261
MARY VANCE              10910 E. 500 S.                                                                      SELMA                  IN   47383
MARY VANDELENE          5985 WALDORF PL APT 2                                                                PORTAGE                IN   46368‐4928
MARY VANDEN BOSCH       2380 AURORA POND DRIVE SW                                                            WYOMING                MI   49519
MARY VANDENBOOM         1009 E MUNGER RD                                                                     MUNGER                 MI   48747‐9745
MARY VANDERBILT         684 RILEY ST                                                                         BUFFALO                NY   14211‐1222
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Name                         Address1                      Address2                       Address3               Address4              City            State Zip
MARY VANDERKOLK              7272 W MAIZE DR NE                                                                                        BELMONT          MI 49306‐9782
MARY VANDIVIER               PO BOX 353                                                                                                PITTSBORO        IN 46167‐0353
MARY VANEE                   4339 18TH ST                                                                                              DORR             MI 49323‐9770
MARY VANMATRE                106 SOUTH WOODWORTH AVE       LOT 5 SOUTH                                                                 FRANKTON         IN 46044
MARY VANSICKLE               329 ASHWOOD DR                                                                                            BONAIRE          GA 31005‐3106
MARY VANTIEM                 4428 E FAIRWAY CT                                                                                         MONTICELLO       IN 47960‐7606
MARY VANWYCK                 2273 SCHIMPERLE DR NE                                                                                     GRAND RAPIDS     MI 49525‐2034
MARY VARCHETTO               1338 S 50TH CT                                                                                            CICERO            IL 60804‐1337
MARY VARGA                   17504 FORT ST                                                                                             RIVERVIEW        MI 48193
MARY VARGO                   5468 CRESTONE CIR                                                                                         BOULDER          CO 80301‐3519
MARY VARGO                   1409 SHOMAN ST                                                                                            WATERFORD        MI 48327
MARY VARNER                  20011 DEERING ST                                                                                          LIVONIA          MI 48152‐2309
MARY VARNER                  2757 PINEDALE ST                                                                                          JACKSON          MS 39204‐5132
MARY VASINKO                 1231 PLAINFIELD RD                                                                                        SOUTH EUCLID     OH 44121‐2509
MARY VASSALLO                15757 N 90TH PL APT 1071                                                                                  SCOTTSDALE       AZ 85260‐2005
MARY VAUGHN                  10203 POTTER RD                                                                                           FLUSHING         MI 48433‐9722
MARY VAUTAW                  1605 CHERRY HILL LN                                                                                       KOKOMO           IN 46902‐3129
MARY VEGA                    6741 LUANA AVE                                                                                            ALLEN PARK       MI 48101‐2406
MARY VELAT                   7121 W VIENNA RD                                                                                          CLIO             MI 48420‐9465
MARY VELIZ                   PO BOX 192                                                                                                CASTALIA         OH 44824‐0192
MARY VELLA‐SMITH             107 VILLAGE WAY                                                                                           CANTON           MI 48188‐3449
MARY VELLENOWETH             102 LIBRARY LN APT 1004                                                                                   JASPER           GA 30143‐1357
MARY VELTRI                  27593 JEAN RD                                                                                             WARREN           MI 48093‐4402
MARY VENANZI                 201 CROSSWICKS ST APT M206                                                                                BORDENTOWN       NJ 08505
MARY VENDITTI                189 20TH AVE                                                                                              BRICK            NJ 08724
MARY VENNETTI                BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS       OH 44236
MARY VENTIMIGLIA             PO BOX 404                                                                                                LAKE             MI 48632‐0404
MARY VERESH                  5417 MARSH RD                                                                                             HASLETT          MI 48840‐8604
MARY VERMILLION              6089 S DERBY DR                                                                                           COLUMBIA CITY    IN 46725‐9280
MARY VERSEY‐LANDRUM          22160 WESTHAMPTON ST                                                                                      OAK PARK         MI 48237‐3804
MARY VIA                     1010 MILLTOWN RD                                                                                          WILMINGTON       DE 19808‐2240
MARY VICKERY                 59 WOOD PL                                                                                                ROSWELL          GA 30075‐3539
MARY VICKERY                 6975 ROBY                                                                                                 WATERFORD        MI 48327‐3862
MARY VIDA                    46731 BARRINGTON CT                                                                                       PLYMOUTH         MI 48170‐3403
MARY VIDITO                  7512 FOWLERVILLE RD           PO BOX 593                                                                  FOWLERVILLE      MI 48836‐8744
MARY VILLANI                 29 IADAROLA AVE                                                                                           MILFORD          MA 01757‐2341
MARY VILLARREAL              4804 E MICHIGAN AVE                                                                                       FRESNO           CA 93703‐1655
MARY VILLEGAS                1728 HAAS DR                                                                                              KANSAS CITY      KS 66106‐2981
MARY VINCE                   1717 CHURCHILL RD                                                                                         GIRARD           OH 44420‐2437
MARY VINCENT                 1924 SNAPFINGER RD                                                                                        DECATUR          GA 30035‐2604
MARY VINCENT                 882 COUNTY ROUTE 57                                                                                       PHOENIX          NY 13135‐2197
MARY VINES                   3711 CUMBERLAND CIR                                                                                       AUSTINTOWN       OH 44515‐4608
MARY VINEY                   20 KENDALL ST                                                                                             LONDON           OH 43140‐1502
MARY VIRAG                   5470 BRAINARD RD                                                                                          SOLON            OH 44139‐1110
MARY VIRGIL                  PO BOX 109                                                                                                IRON RIVER       MI 49935‐0109
MARY VIRGINIA HARRIS TRUST   WALTER WAYNE BURTON TRUSTEE   OF THE RESIDUAM TRUST U/W OF   MARY VIRGINIA HARRIS   712 FORBES ST         FALMOUTH         VA 22405
MARY VIRGINIA MARTZ          200 DANIELS DR                                                                                            YORKTOWN         VA 23690
MARY VOGEL                   2807 WYANDOTTE AVE                                                                                        KANSAS CITY      KS 66106‐2927
MARY VOGELS                  1665 PLOVER CT                                                                                            CARLSBAD         CA 92011‐5032
MARY VOGT                    5667 CATHEDRAL DR                                                                                         SAGINAW          MI 48603‐2869
MARY VOGTMANN                5970 RED FEATHER DR                                                                                       BAY CITY         MI 48706‐3490
MARY VOLANTE                 3656 LOCKFORTH CT                                                                                         THOUSAND OAKS    CA 91360
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Name                 Address1                       Address2              Address3      Address4         City            State Zip
MARY VOLKMAN         4614 SOUTH RD                  C/O DAVID W VOLKMAN                                  HARRISBURG       PA 17109‐2922
MARY VONMETER        410 QUEENS LINE                                                                     NOBLESVILLE      IN 46060
MARY VORUS           14115 WOODMONT AVE                                                                  DETROIT          MI 48227‐1325
MARY VOYLES          404 SHOEPEG WAY                                                                     CANTON           GA 30114‐4257
MARY W ABNEY         314 MARVIEW AVE                                                                     VANDALIA         OH 45377‐2229
MARY W ALEXANDER     16327 DEWDROP LANE                                                                  HOUSTON          TX 77095‐1507
MARY W APPLE         3889 MAYWOOD DR S                                                                   FRESNO           CA 93703‐3325
MARY W BANKSTON      2331 N. PINE LEA DR.                                                                JACKSON          MS 39209‐9672
MARY W BARTLETT      7350 RT. 609 NE                                                                     BURGHILL         OH 44404‐9754
MARY W BROWN         6773 WILLOW CREEK DR                                                                HUBER HEIGHTS    OH 45424‐2490
MARY W CHAMBERLAIN   2434 HENN HYDE                                                                      CORTLAND         OH 44410‐9446
MARY W CHAMBERLAIN   2434 HENN HYDE RD                                                                   CORTLAND         OH 44410‐9446
MARY W FRANKS        4896 PHILLIPS RICE RD.                                                              CORTLAND         OH 44410‐9673
MARY W GARGANO       P O BOX 427                                                                         WARREN           OH 44482‐0427
MARY W GIBSON        28311 UNION HILL RD                                                                 ANDERSON         AL 35610‐3527
MARY W GREENE        866 COMMODORE DR NW                                                                 ATLANTA          GA 30318‐6336
MARY W LYNN          P.O. BOX 380                                                                        VIENNA           OH 44473‐0380
MARY W MILLER        5079 SODOM HUTCHINGS RD                                                             FARMDALE         OH 44417
MARY W MOORE         74 BROOKHAVEN DR                                                                    TROTWOOD         OH 45426
MARY W NICHOLAS      45 POPLAR AVE                                                                       NILES            OH 44446‐3929
MARY W ORR           3930 PHALANX MILLS HERNER RD                                                        SOUTHINGTON      OH 44470‐9708
MARY W PANTONE       1027 DORIS DR                                                                       HUBBARD          OH 44425‐1211
MARY W REYNOLDS      108 LOYD ST.                                                                        PEARL            MS 39208
MARY W SECHRIST      2915 FERGUSON VALLEY RD                                                             MCVEYTOWN        PA 17051‐‐ 95
MARY W SOLOMON       5636 WAKESHIRE CT                                                                   TROTWOOD         OH 45426‐1109
MARY W STOWE         3010 ARTHUR RD                                                                      SPRINGFIELD      OH 45502‐8524
MARY W WOMACK        309B LONESOME BEND RD                                                               GLENCOE          AL 35905‐1429
MARY WABLER          3121 GRIST MILL CT                                                                  DAYTON           OH 45409‐1109
MARY WACHTER         1613 MORNINGSIDE DR APT 2                                                           JANESVILLE       WI 53546‐1273
MARY WADE            53 AUTUMN LEA RD                                                                    DEPEW            NY 14043‐2701
MARY WADE            1347 BEVERLY AVE                                                                    SPRINGFIELD      OH 45504‐1959
MARY WADE            1330 SLICKBACK RD                                                                   BENTON           KY 42025‐5466
MARY WAGASY          26919 SIBLEY RD                                                                     ROMULUS          MI 48174
MARY WAGER           7334 BRANDON DR                                                                     BAY CITY         MI 48706‐8324
MARY WAGERS          119 WORTHINGTON DR                                                                  GERMANTOWN       OH 45327‐8350
MARY WAGLE           7106 BRIGHT CREEK DR                                                                SARASOTA         FL 34231‐5526
MARY WAGNER          3349 BEREA RD                                                                       CLEVELAND        OH 44111‐2426
MARY WAGNER          830 SOUTHWESTERN RUN UNIT 72                                                        POLAND           OH 44514‐3684
MARY WAGONER         6786 APPROACH RD               UNIT #35 COMP #9                                     SARASOTA         FL 34238‐5176
MARY WAHL            1714 MAHALA ST                                                                      OREGON           OH 43616‐3728
MARY WAHL            124 S 2ND ST                                                                        EVANSVILLE       WI 53536‐1338
MARY WAKEFORD        16 LINMOUTH RD                                                                      MALVERNE         NY 11565‐2203
MARY WALACHOWSKI     123 14TH ST                                                                         LAKEWOOD         NJ 08701‐1831
MARY WALCHAK         1747 MORRIS ST                                                                      MINERAL RIDGE    OH 44440‐9798
MARY WALDO           630 SUNSET                                                                          WHITE LAKE       MI 48383‐2865
MARY WALDRIP         8397 GULLEY ST                                                                      TAYLOR           MI 48180‐2046
MARY WALDRON         1201 CADILLAC DR W                                                                  KOKOMO           IN 46902‐2551
MARY WALKER          9495 W 49TH AVE                                                                     WHEAT RIDGE      CO 80033‐2277
MARY WALKER          338 S 7TH ST                                                                        SAGINAW          MI 48601‐1823
MARY WALKER          4487 TOWNSEND ST                                                                    DETROIT          MI 48214‐1031
MARY WALKER          1350 N EDWARDS ST                                                                   KALAMAZOO        MI 49007‐2523
MARY WALKER          34 FOREST HILL DR                                                                   HUBBARD          OH 44425‐2164
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Name                Address1                       Address2                     Address3   Address4         City             State Zip
MARY WALKER         1380 E ROSEMARY TRL                                                                     CASA GRANDE       AZ 85222‐1157
MARY WALKER         1220 NORTH RD NE APT 12                                                                 WARREN            OH 44483‐4568
MARY WALKER         1016 W HAVENS ST                                                                        KOKOMO            IN 46901‐2635
MARY WALKER         4281 E HOUGHTON LAKE DR                                                                 HOUGHTON LAKE     MI 48629‐9345
MARY WALKER         33940 SLEEPY HOLLOW ST                                                                  LIVONIA           MI 48150‐2608
MARY WALKER         4038 SPRUCE ST                                                                          INKSTER           MI 48141‐2924
MARY WALKER         5889 FALKENBURY RD                                                                      NORTH BRANCH      MI 48461‐9779
MARY WALKUSH        12859 MANCHESTER DR                                                                     CHESTERLAND       OH 44026‐2918
MARY WALL           5080 YOUNG RD                                                                           GAINESVILLE       GA 30506‐2742
MARY WALLACE        8616 BROOKHILL CT                                                                       INDIANAPOLIS      IN 46234‐1790
MARY WALLACE        4852 SOUTHFIELD ST                                                                      DEARBORN HTS      MI 48125‐3337
MARY WALLACE        14841 CLEVELAND AVE                                                                     ALLEN PARK        MI 48101‐2109
MARY WALLER         2029 WINANS AVE                                                                         FLINT             MI 48503‐4204
MARY WALLIS         5389 S 900 W                                                                            ANDREWS           IN 46702‐9726
MARY WALLS          5156 ALTRIM RD                                                                          DAYTON            OH 45418‐2018
MARY WALSH          1807 ROSEWOOD ST                                                                        POCAHONTAS        AR 72455‐1734
MARY WALSH          6100 17TH ST                                                                            ZEPHYRHILLS       FL 33542‐2693
MARY WALTER         50 SUGAR CREEK RD                                                                       CEDAR MOUNTAIN    NC 28718‐9097
MARY WALTER         850 GILMORE AVE                                                                         LAKELAND          FL 33801‐1865
MARY WALTERS        1123 SUMMIT LN                                                                          BEDFORD           IN 47421‐2549
MARY WALTERS        PO BOX 2018                                                                             WINDER            GA 30680‐7018
MARY WALTERS        326 N PARK ST                  C/O RICHARD H CODDE                                      OWOSSO            MI 48867‐3044
MARY WALTERS        1301 WEST 7TH STREET                                                                    WASHINGTON        MO 63090‐1725
MARY WALTERS        114 CAMROSE DR                                                                          NILES             OH 44446‐2130
MARY WALTERS        1208 POWELL VIEW DR                                                                     DEFIANCE          OH 43512‐3035
MARY WALTERS‐PUCA   3687 VERONA CANEY RD                                                                    LEWISBURG         TN 37091‐6635
MARY WALTON         227 HAYES LN                                                                            REX               GA 30273‐1552
MARY WALTON         15774 MANOR ST                                                                          DETROIT           MI 48238‐1673
MARY WALWORTH       4289 SPRINGBROOK DR                                                                     SWARTZ CREEK      MI 48473‐1706
MARY WALZ           125 FITCH BLVD UNIT 284                                                                 AUSTINTOWN        OH 44515‐2246
MARY WAMPLER        9080 STATE ROUTE 55                                                                     LUDLOW FALLS      OH 45339‐9713
MARY WARCHAL        6401 W 85TH PL                                                                          BURBANK            IL 60459‐2314
MARY WARD           4876 VIRGINIA CIR                                                                       TUSCALOOSA        AL 35401‐6119
MARY WARD           2765 W COUNTY ROAD 400 S                                                                NEW CASTLE        IN 47362‐9607
MARY WARD           6573 KINGS POINTE RD                                                                    GRAND BLANC       MI 48439‐8798
MARY WARD           14321 MANSFIELD ST                                                                      DETROIT           MI 48227‐1829
MARY WARD           3801 N LANCASTER DR                                                                     MUNCIE            IN 47304‐1720
MARY WARD           300 SUNNYSIDE DR                                                                        ROCHESTER         NY 14623‐1340
MARY WARDLOW        11900 FREMONT AVE                                                                       GRANDVIEW         MO 64030‐1232
MARY WARE           4617 W CATBRIER CT                                                                      JACKSONVILLE      FL 32259‐4523
MARY WARE           8312 EPWORTH ST                                                                         DETROIT           MI 48204‐3574
MARY WARE           1220 S RACE ST                                                                          MARION            IN 46953‐2123
MARY WARE           BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS    OH 44236
MARY WARES          PO BOX 382                                                                              NEW LOTHROP       MI 48460‐0382
MARY WARGO          161 FAYETTEVILLE COXTON RD                                                              WILLIAMS          IN 47470‐9629
MARY WARGON         23 BURROUGHS AVE                                                                        TITUSVILLE        NJ 08560‐1627
MARY WARM           2556 W BROADWAY                                                                         BUNKER HILL       IN 46914‐9487
MARY WARMOUTH       719 OSWEGO AVE                                                                          YPSILANTI         MI 48198‐8018
MARY WARMOUTH       751 OSWEGO AVE                                                                          YPSILANTI         MI 48198‐8018
MARY WARNER         2000 N TAMIAMI TRL # 150                                                                N FT MYERS        FL 33903‐2803
MARY WARNER         5001 E MAIN ST LOT 1535                                                                 MESA              AZ 85205‐1336
MARY WARNER         10701 N 99TH AVE LOT 163                                                                PEORIA            AZ 85345‐5442
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Name                                Address1                               Address2                  Address3   Address4         City              State Zip
MARY WARREN                         37 COUNTRY CREEK DR                                                                          SAINT PETERS       MO 63376‐3045
MARY WARREN                         384 CLYDETON RD                                                                              WAVERLY            TN 37185‐1133
MARY WARREN                         1918 WOODSLEA DR APT 9                                                                       FLINT              MI 48507‐5236
MARY WARREN                         1000 WALDEN CREEK TRCE                                                                       SPRING HILL        TN 37174‐6502
MARY WARREN                         534 SWEET HOME RD                                                                            BUFFALO            NY 14226‐2220
MARY WARREN                         PO BOX 882                                                                                   CANTONMENT         FL 32533‐0882
MARY WARRICK                        1719 S ELM ST                          C/O FREDRIC E FOXWORTHY                               CRAWFORDSVILLE     IN 47933‐3794
MARY WARSTLER                       702 E STATE ST                                                                               SAINT JOHNS        MI 48879‐1661
MARY WASH                           5057 N JENNINGS RD                                                                           FLINT              MI 48504‐1113
MARY WASHINGTON                     209 E YORK AVE                                                                               FLINT              MI 48505‐2146
MARY WASHINGTON                     6709 DUPONT ST                                                                               FLINT              MI 48505‐2072
MARY WASHINGTON                     16740 MURRAY HILL ST                                                                         DETROIT            MI 48235‐3638
MARY WASHINGTON                     2631 TAYLOR ST                                                                               DETROIT            MI 48206‐1964
MARY WASHINGTON                     5353 CENTERBROOK DR                                                                          WEST BLOOMFIELD    MI 48322‐3815
MARY WASHINGTON                     6056 CONCORD PASS                                                                            FLINT              MI 48506‐1643
MARY WASHINGTON                     8657 GRANDVILLE AVE                                                                          DETROIT            MI 48228‐3011
MARY WASHINGTON COLLEGE OFFICE OF   1301 COLLEGE AVE                                                                             FREDERICKSBRG      VA 22401‐5300
STUDENT ACCOUNTS
MARY WASHINGTON HOSP                2300 FALL HILL AVE STE 313                                                                   FREDERICKSBURG    VA   22401‐3343
MARY WASHINGTON HOSPITAL            ACCT OF JANET MINOR                    PO BOX 180                                            FREDERICKSBURG    VA   22404‐0180
MARY WASHINGTON HOSPITAL            LEN DUPILKA                            2300 FALL HILL AVENUE                                 FREDERICKSBURG    VA   22401
MARY WASHINGTON HOSPITAL            2600 MARY WASHINGTON BLVD                                                                    FREDERICKSBURG    VA   22401‐4438
FOUNDATION
MARY WASIK                          APT 116                                400 LOU ANN DRIVE                                     HERRIN            IL   62948‐3769
MARY WASIK                          1804 BRENTWOOD DR                                                                            TROY              MI   48098‐2622
MARY WASNEY                         1920 CALDWELL ST                                                                             SAGINAW           MI   48601‐6841
MARY WASSERMAN                      5160 OAKVIEW DR                                                                              SWARTZ CREEK      MI   48473‐1252
MARY WATEROUS                       11202 PINEHURST LN                                                                           GRAND BLANC       MI   48439‐2630
MARY WATERS                         PO BOX 1043                                                                                  OWOSSO            MI   48867‐6043
MARY WATERS                         4450 OLD HAMILTON MILL RD                                                                    BUFORD            GA   30518‐8813
MARY WATERS                         303 SOUTH CLAY STREET                                                                        LOUISA            KY   41230‐1302
MARY WATERSTRADT                    9118 BEECH DALY RD                                                                           REDFORD           MI   48239‐1706
MARY WATKINS                        1306 COTTAGE COURT DR                                                                        FAIRBORN          OH   45324‐5748
MARY WATKINS
MARY WATSON                         7405 NW 103RD TER                                                                            OKLAHOMA CITY     OK   73162‐4455
MARY WATSON                         4820 COULSON DR                                                                              DAYTON            OH   45418‐1958
MARY WATSON                         3525 MAYBEL ST                                                                               LANSING           MI   48911‐2830
MARY WATSON                         14422 CORNERSTONE VILLAGE DR APT 224                                                         HOUSTON           TX   77014‐1291

MARY WATSON                         1759 GREYSTONE LN                                                                            LOGANVILLE        GA   30052‐4528
MARY WATSON                         55139 CR 388 BOX 65                                                                          GRAND JCT         MI   49056
MARY WATSON                         PO BOX 648                                                                                   JOSHUA            TX   76058‐0648
MARY WATSON                         2012 UNIVERSITY AVE                                                                          FLINT             MI   48504‐6218
MARY WATSON                         1622 PETTIBONE AVE                                                                           FLINT             MI   48507‐1516
MARY WATSON                         2045 MCAVOY ST                                                                               FLINT             MI   48503‐4206
MARY WATSON                         6416 E MILLSBOROUGH CIR                                                                      LANSING           MI   48917‐9748
MARY WATTERS                        17 INGRAHAM ST                                                                               BRISTOL           CT   06010‐4111
MARY WATTS                          14585 GRANDVILLE AVENUE                                                                      DETROIT           MI   48223‐2230
MARY WATTS                          1110 WARREN AVE APT 2‐313                                                                    DOWNERS GROVE     IL   60515
MARY WATZ                           925 RECTOR RD                                                                                CROSSVILLE        TN   38571‐2514
MARY WAUGH                          442 CENTER ST W                                                                              WARREN            OH   44481‐9383
MARY WAYMIRE                        5126 E 69TH ST                                                                               INDIANAPOLIS      IN   45220‐3830
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Name                  Address1                         Address2                Address3     Address4         City               State Zip
MARY WAYNE            2833 WALTER RD                                                                         NORTH OLMSTED       OH 44070‐1066
MARY WAYNE            2637 N EARLY ST                                                                        KANSAS CITY         KS 66101‐1241
MARY WAYS             3636 WALES DR                    C/O IRIS WINBURN                                      DAYTON              OH 45405‐1845
MARY WAYS             3636 WALES DRIVE                                                                       DAYTON              OH 45405
MARY WEACHOCK         1810 RIDGEWOOD RD                                                                      ORWIGSBURG          PA 17961‐9526
MARY WEATHERBEE       10435 COOLIDGE RD                                                                      GOODRICH            MI 48438‐9772
MARY WEATHERFORD      1522 WYOMING AVE                                                                       FLINT               MI 48506‐2784
MARY WEAVER           5939 SHADY LANE CIR                                                                    FOREST PARK         GA 30297‐3243
MARY WEAVER           8746 PEDIGO RD                                                                         POWELL              TN 37849‐2731
MARY WEAVER           504 W JEFFERSON ST                                                                     ALEXANDRIA          IN 46001‐1729
MARY WEAVER           792 KING CIR                                                                           LAKE ORION          MI 48362‐2782
MARY WEAVER           402 N HIGH ST                                                                          MARTINSBURG         WV 25404‐4521
MARY WEAVER           2929 E 25TH ST                                                                         GRANITE CITY         IL 62040‐5937
MARY WEAVER           1104 SUNCREST DR                                                                       FLINT               MI 48504‐8111
MARY WEAVER           12503 WILLOW TREE AVE                                                                  HUDSON              FL 34669‐2798
MARY WEAVER           6811 ROSEMARY ST                                                                       DEARBORN HEIGHTS    MI 48127‐1928
MARY WEBB             124 W DEWEY ST                                                                         FLINT               MI 48505‐4034
MARY WEBB             220 DORAL PARK DR                                                                      KOKOMO              IN 46901‐7016
MARY WEBB             2142 CLINTON ST                                                                        TOLEDO              OH 43607‐1656
MARY WEBB             PO BOX 2067                                                                            CUMMING             GA 30028
MARY WEBB             2022 FLAMINGO WAY                                                                      FRANKLIN            IN 46131‐7971
MARY WEBB             75 ONEIDA ST                                                                           PONTIAC             MI 48341‐1624
MARY WEBB             4702 CLOVERLAWN DR                                                                     FLINT               MI 48504‐2062
MARY WEBB             6971 WOLFF ST                                                                          WESTMINSTER         CO 80030‐5748
MARY WEBBER           PO BOX 605205                                                                          CLEVELAND           OH 44105‐0205
MARY WEBER            5912 KING AVE                                                                          MAYWOOD             CA 90270‐3214
MARY WEBER            105 W JEFFERSON ST                                                                     PEWAMO              MI 48873‐8701
MARY WEBER            4118 MILLER RD                                                                         STERLING            MI 48659‐9445
MARY WEBER            7327 RIDGE RD                                                                          LOCKPORT            NY 14094‐9458
MARY WEBER            6519 LAKE RD                                                                           APPLETON            NY 14008‐9608
MARY WEBSTER          327 ASPEN DR NW                                                                        WARREN              OH 44483‐1185
MARY WEBSTER          PO BOX 104                                                                             SODA SPRINGS        ID 83276‐0104
MARY WEDDINGTON       4018 CEDARDALE RD                                                                      BALTIMORE           MD 21215‐7225
MARY WEEKS            107 W TAWAS LAKE RD                                                                    EAST TAWAS          MI 48730‐9749
MARY WEHR             3700 E HIAWATHA DR                                                                     OKEMOS              MI 48864‐4056
MARY WEIBEL           19334 SKYLINE ST                                                                       ROSEVILLE           MI 48066‐4544
MARY WEIDA            12554 EAST 340 SOUTH                                                                   GREENTOWN           IN 46936‐9767
MARY WEIKEL           16 N LOTELA AVE                                                                        AVON PARK           FL 33825‐3211
MARY WEIS             2234 CULVER RD                                                                         ROCHESTER           NY 14609‐2747
MARY WEIS             1918 FAUVER AVE                                                                        DAYTON              OH 45420‐2507
MARY WELCH            1809 SAINT GEORGE LANE                                                                 JANESVILLE          WI 53545‐0689
MARY WELDEN           4874 RIVERCHASE DR                                                                     TROY                MI 48098‐4185
MARY WELDON           535 GREENWOOD ST                                                                       INKSTER             MI 48141‐3302
MARY WELLHOFF         5620 HATCHERY RD                                                                       WATERFORD           MI 48329‐3445
MARY WELLS            1215 W 3RD AVE                                                                         FLINT               MI 48504
MARY WELLS            316 CASA GRANDE ST                                                                     WEST MONROE         LA 71291‐7043
MARY WELLS            3921 TROY AVE                                                                          JACKSON             MS 39213‐5960
MARY WELLS ‐ DOZIER   46050 NEESON ST                                                                        NORTHVILLE          MI 48167‐1716
MARY WELSH            3134 MONTANA AVE                                                                       FLINT               MI 48506‐2540
MARY WENDELL          1221 ORCHARD PARK DR             C/O BARBARA A. MCGRAW                                 ROCKY RIVER         OH 44116‐2045
MARY WENDLING         16358 LINCOLN RD                                                                       CHESANING           MI 48616‐9723
MARY WENDT            2600 CREECY HOLLOW RD                                                                  PULASKI             TN 38478‐6031
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Name                 Address1                       Address2           Address3         Address4         City              State Zip
MARY WENDT           5292 N STATE RD                                                                     DAVISON            MI 48423‐8414
MARY WENTWORTH       436 SOUTHBROOK DR                                                                   GREENVILLE         OH 45331‐1156
MARY WENTZ           318 MINNESOTA AVE                                                                   SAINT CLOUD        FL 34769‐2236
MARY WERNER          5N619 E EAGLE CT                                                                    SAINT CHARLES       IL 60175‐6176
MARY WERNY           781 LONGFORD DR                                                                     ROCHESTER HILLS    MI 48309‐2420
MARY WERT            408 W RENSSELAER ST                                                                 BUCYRUS            OH 44820‐2110
MARY WESELI          711 DUKE ST                                                                         RICE LAKE          WI 54868‐1409
MARY WESLEY          130 S 15TH ST                                                                       SAGINAW            MI 48601‐1844
MARY WESLEY HARVEY   406 TUCKAHOE DRIVE                                                                  GREENVILLE         NC 27858
MARY WESSELER        1123 N EDMONDSON AVE APT C11                                                        INDIANAPOLIS       IN 46219‐3524
MARY WEST            MONASTERY MANOR NO 2                                                                YONKERS            NY 10703
MARY WEST            2245 SHENANDOAH DR                                                                  TROY               OH 45373‐9576
MARY WEST            17031 MCGUIRE RIDGE RD                                                              LAUREL             IN 47024‐9731
MARY WEST            5110 WALNUT POINTE LN                                                               CARMICHAEL         CA 95608‐3093
MARY WEST            42245 SPRUCE LN                                                                     CLINTON TWP        MI 48038‐2197
MARY WEST            77276 LONDON RD                                                                     COTTAGE GROVE      OR 97424‐9349
MARY WEST            3521 FAIRBURN PL NW                                                                 ATLANTA            GA 30331‐1419
MARY WESTERVELT      2414 HOOPER AVE                                                                     BRICK              NJ 08723‐6224
MARY WETHERBEE       17 WREN WAY CT                                                                      STAFFORD           VA 22554‐3992
MARY WETHINGTON      225 CORONADO RD                                                                     INDIANAPOLIS       IN 46234‐2531
MARY WEYDECK         2104 CEDAR DR                                                                       HIGH RIDGE         MO 63049‐2658
MARY WEYER           4101 W UNION HILLS DR          APT 1087                                             GLENDALE           AZ 85308‐1752
MARY WHALEY          9237 W FOREST HILL AVE                                                              FRANKLIN           WI 53132‐9702
MARY WHALEY          8755 HISER RD                                                                       MILAN              MI 48160‐9262
MARY WHATLEY         2335 N MADISON AVE             APT 411                                              ANDERSON           IN 46011
MARY WHATLEY         224 CHEYENNE RUN                                                                    HALLSVILLE         TX 75650‐5015
MARY WHEELER         1712 WALTON ST                                                                      ANDERSON           IN 46016‐3152
MARY WHEELER         1020 RIVERVIEW DR                                                                   ALMA               MI 48801‐2126
MARY WHEELER         3720 COLIN CT                                                                       SAINT ANN          MO 63074‐2701
MARY WHITE           PO BOX 2185                                                                         MILLSTONE          KY 41838‐2185
MARY WHITE           PO BOX 1745                                                                         CASEVILLE          MI 48725‐1745
MARY WHITE           1807 HORTON DR                                                                      ANDERSON           IN 46011‐4001
MARY WHITE           8721 MARYGROVE DR                                                                   DETROIT            MI 48221‐2946
MARY WHITE           5505 DUPONT ST                                                                      FLINT              MI 48505‐2652
MARY WHITE           11290 WOOD CREEK DR                                                                 CARMEL             IN 46033‐3729
MARY WHITE           31 SOFT HICKORY CT                                                                  MARTINSBURG        WV 25404‐4077
MARY WHITE           1237 MELANIE CT                                                                     STONE MOUNTAIN     GA 30087‐3011
MARY WHITE           38 CHERRYGROVE ST                                                                   ECORSE             MI 48229‐1711
MARY WHITE           3208 W 43RD ST                                                                      CLEVELAND          OH 44109‐1060
MARY WHITE           915 E COURT ST APT 308                                                              FLINT              MI 48503‐2084
MARY WHITE           G4349 VAN SLYKE RD                                                                  FLINT              MI 48507‐3543
MARY WHITE           119 MAIN RD NE                                                                      HUNTSVILLE         AL 35811‐2503
MARY WHITE           3214 MILLER RD                                                                      FLINT              MI 48503‐6803
MARY WHITE           1705 ENOCH DR                                                                       FORT WORTH         TX 76112‐4437
MARY WHITE           3105A NORWOOD AVE                                                                   SAINT LOUIS        MO 63115‐1037
MARY WHITE           512 E KINGS HWY APT 2                                                               SHREVEPORT         LA 71105
MARY WHITE           3085 N. 900 E.                                                                      BROWNSBURG         IN 46112
MARY WHITE           149 STILWELL CT                                                                     PITTSBURGH         PA 15228‐1791
MARY WHITEMAN        2409 S PARK RD                                                                      KOKOMO             IN 46902‐3373
MARY WHITFIELD       15990 HARMONY WAY                                                                   APPLE VALLEY       MN 55124‐7125
MARY WHITFIELD       1400 WOODSIDE AVE                                                                   BAY CITY           MI 48708‐5478
MARY WHITLEY         10485 OVERHILL DR                                                                   BRIGHTON           MI 48114‐7579
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Name                 Address1                     Address2                   Address3   Address4         City                State Zip
MARY WHITMAN         APT 718                      20311 PEMBERVILLE ROAD                                 PEMBERVILLE          OH 43450‐9416
MARY WHITMAN         5355 WATERFORD RD                                                                   CLARKSTON            MI 48346‐3548
MARY WHITNEY         1039 SAINT LOUIS AVE                                                                EXCELSIOR SPRINGS    MO 64024‐2691
MARY WHITSON         4004 N GENESEE RD                                                                   FLINT                MI 48506‐2104
MARY WHITT‐DINKINS   18687 GEORGE WASHINGTON DR                                                          SOUTHFIELD           MI 48075‐2505
MARY WHITTAKER       4781 BRITTON RD                                                                     PERRY                MI 48872‐9805
MARY WHITTAKER       920 HIGHRIDGE AVE                                                                   DAYTON               OH 45420‐2741
MARY WHITTAKER       804 HURON AVE                                                                       DAYTON               OH 45402‐5324
MARY WHITTAKER       1379 CORNISH DR              C/O CYNTHIA JANE BRABANT                               VANDALIA             OH 45377‐1610
MARY WHITTEN         24029 HIGHWAY W                                                                     BARNETT              MO 65011‐3806
MARY WHITTINGTON     5516 KNOLLCREST DR                                                                  SHREVEPORT           LA 71129‐3608
MARY WIBLE           4361 QUAIL RIDGE WAY                                                                NORCROSS             GA 30092‐1331
MARY WICK            198 CHURCH ST                                                                       LOCKPORT             NY 14094‐2217
MARY WICKER          433 S 24TH ST                                                                       SAGINAW              MI 48601‐6406
MARY WIEBER          6450 CHESHIRE DR                                                                    DIMONDALE            MI 48821‐9407
MARY WIECZORKOWSKI   7329 KIRTLEY RD                                                                     BALTIMORE            MD 21224‐3324
MARY WIEDMAN X       2320 COTTAGE DR                                                                     AUBURN               CA 95603‐2727
MARY WIELAND         9222 CHESTERFIELD DR                                                                SWARTZ CREEK         MI 48473‐1000
MARY WIENHOLD        6759 LANCELOT CT                                                                    FORT WORTH           TX 76133‐5002
MARY WIESEN          30000 GREGORY ST                                                                    GRAND BLANC          MI 48439‐7211
MARY WIGGINS         14893 GREEN VL                                                                      DETROIT              MI 48222‐0001
MARY WIGGS           404A W HUNTINGTON ST                                                                NORTH WEBSTER        IN 46555‐9367
MARY WIJKOWSKI       243 MARYLAND AVE                                                                    WILMINGTON           DE 19804‐3040
MARY WIK             38201 W 14 MILE RD                                                                  FARMINGTON HILLS     MI 48331‐5958
MARY WILBOR          10835 MACOMBER DR                                                                   GREENVILLE           MI 48838‐9361
MARY WILBORN         680 BISHOP TRCE                                                                     FAIRBURN             GA 30213‐2636
MARY WILBUR          15 GREENLEAF TER                                                                    MILFORD              MA 01757‐1624
MARY WILBURN         170 MAPLE DR                                                                        SPRINGBORO           OH 45066‐1251
MARY WILCOX          111 ORCHARD AVE                                                                     HUBBARD              OH 44425‐1725
MARY WILCZYNSKI      13250 N JENNINGS RD                                                                 CLIO                 MI 48420‐8826
MARY WILDER          493 CHAHOKIA DR                                                                     RUTLEDGE             TN 37861‐4963
MARY WILDER          123 N KENDALL DR                                                                    INDEPENDENCE         MO 64056‐1734
MARY WILEY           7106 CHESTER ST                                                                     ANDERSON             IN 46013‐3929
MARY WILHOYTE        5386 SEAVIEW STREET APT K9                                                          WATERFORD            MI 48327
MARY WILKERSON       2440 E HILLS DR                                                                     MOORE                OK 73160‐8944
MARY WILKERSON       190 N GILNA RD                                                                      CORUNNA              MI 48817‐9541
MARY WILKERSON       3113 SHICK DR                                                                       INDIANAPOLIS         IN 46218‐2354
MARY WILKES          1135 DOVER RD                                                                       PONTIAC              MI 48341‐2352
MARY WILKINS         4111 AURELIUS RD                                                                    LANSING              MI 48910‐4814
MARY WILKINS         13227 KOZAK DR                                                                      STERLING HEIGHTS     MI 48312‐3244
MARY WILKINSON       36049 EW 1280                                                                       WEWOKA               OK 74884‐8807
MARY WILLE           32902 FOWLER CIR                                                                    WARRENVILLE           IL 60555‐3949
MARY WILLEFORD       312 MADISON DR W                                                                    W JEFFERSON          OH 43162‐1312
MARY WILLETT         4210 SHERRY CT                                                                      BAY CITY             MI 48706‐2262
MARY WILLHELM        4062 SEYMOUR RD                                                                     SWARTZ CREEK         MI 48473‐8568
MARY WILLIAMS        PO BOX 59                                                                           DAMASCUS             OH 44619
MARY WILLIAMS        565 STATE ROUTE 61                                                                  NORWALK              OH 44857‐9381
MARY WILLIAMS        250 MILLICENT AVE                                                                   BUFFALO              NY 14215‐2985
MARY WILLIAMS        343 CORNWALL AVE                                                                    BUFFALO              NY 14215‐3101
MARY WILLIAMS        3439 SOCIETY HILL CT         C/O WILLA M BROWN                                      COLUMBUS             OH 43219‐3082
MARY WILLIAMS        1350 ADDISON RD APT 220                                                             CLEVELAND            OH 44103‐2718
MARY WILLIAMS        1649 DOSWELL TOWN RD                                                                MEHERRIN             VA 23954‐2110
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Name                Address1                       Address2                    Address3   Address4         City            State Zip
MARY WILLIAMS       5006 SEYBURN ST                                                                        DETROIT          MI 48213‐2846
MARY WILLIAMS       2912 E 102ND ST                                                                        CLEVELAND        OH 44104‐4971
MARY WILLIAMS       PO BOX 54                                                                              SUWANEE          GA 30024‐0054
MARY WILLIAMS       PO BOX 1                                                                               SHUQUALAK        MS 39361‐0001
MARY WILLIAMS       19714 GALWAY AVE                                                                       CARSON           CA 90746‐2321
MARY WILLIAMS       PO BOX 26                                                                              SALTILLO         TX 75478‐0026
MARY WILLIAMS       538 N 24TH ST                                                                          SAGINAW          MI 48601‐6203
MARY WILLIAMS       125 N 40TH ST                                                                          LOUISVILLE       KY 40212‐2819
MARY WILLIAMS       1464 N M 52 APT 48                                                                     OWOSSO           MI 48867‐1263
MARY WILLIAMS       4549 HIGHWAY 14 E                                                                      LOUISVILLE       MS 39339‐8338
MARY WILLIAMS       551 NEVADA AVE                                                                         PONTIAC          MI 48341‐2554
MARY WILLIAMS       7118 AMERICAN WAY APT B                                                                INDIANAPOLIS     IN 46256‐2630
MARY WILLIAMS       101 E PERRY ST                                                                         DURAND           MI 48429‐1633
MARY WILLIAMS       1916 OAKFIELD ST                                                                       ORTONVILLE       MI 48462‐8875
MARY WILLIAMS       8505 MINERAL RIDGE WAY                                                                 CHARLOTTE        NC 28269‐9140
MARY WILLIAMS       2770 S DUCK CREEK RD                                                                   NORTH JACKSON    OH 44451‐9661
MARY WILLIAMS       23998 TWILIGHT HILLS DR                                                                CICERO           IN 46034
MARY WILLIAMS       2150 OHARA PL SE                                                                       ATLANTA          GA 30315‐7614
MARY WILLIAMS       PO BOX 671081                                                                          MARIETTA         GA 30066‐0135
MARY WILLIAMS       3797 PRENTISS DR                                                                       DECATUR          GA 30034‐6046
MARY WILLIAMS       314 QUAKER SPRINGS RD                                                                  WASHINGTON       GA 30673‐4872
MARY WILLIAMS       145 FASHION XING                                                                       MCDONOUGH        GA 30252‐1604
MARY WILLIAMS       1899 KEEFER RD                                                                         GIRARD           OH 44420‐1439
MARY WILLIAMS       1461 TRIPODI CIR                                                                       NILES            OH 44446‐3564
MARY WILLIAMS       698 GREENTREE RD H V L                                                                 LAWRENCEBURG     IN 47025
MARY WILLIAMS       4252 MULLIGAN WAY                                                                      INDIANAPOLIS     IN 46268‐7707
MARY WILLIAMS       1802 BLOOMFIELD DR SOUTHEAST                                                           GRAND RAPIDS     MI 49508‐6669
MARY WILLIAMS       318 COUNTY ROAD 801                                                                    ETOWAH           TN 37331‐5213
MARY WILLIAMS       516 DELRAY ST                                                                          KOKOMO           IN 46901‐7038
MARY WILLIAMS       7894 SEBRING DR                                                                        HUBER HEIGHTS    OH 45424‐2232
MARY WILLIAMS       221 E DARTMOUTH ST                                                                     FLINT            MI 48505‐4954
MARY WILLIAMS       200 BENT TREE TRL                                                                      BURLESON         TX 76028‐1234
MARY WILLIAMS       PO BOX 4413                                                                            FLINT            MI 48504‐0413
MARY WILLIAMS       2840 BISHOP AVE                                                                        JACKSON          MS 39213‐6601
MARY WILLIAMS       38755 NAVAJO CT                                                                        ROMULUS          MI 48174‐4074
MARY WILLIAMS       15081 PENNSYLVANIA AVE                                                                 ALLEN PARK       MI 48101‐1376
MARY WILLIAMS       THE MADEKSHO LAW FIRM          8866 GULF FREEWAY STE 440                               HOUSTON          TX 77017
MARY WILLIAMS       201 PARK STONE WAY                                                                     MARIETTA         GA 30066
MARY WILLIAMSON     8322 STONY CREEK RD                                                                    YPSILANTI        MI 48197‐6612
MARY WILLIAMSON     18710 MONTE VISTA ST                                                                   DETROIT          MI 48221‐1989
MARY WILLIAMSON     3312 PARK RD                                                                           ANDERSON         IN 46011‐4640
MARY WILLIE BANKS   14 WOODLAND DR                                                                         NEWMAN           GA 30263
MARY WILLINGHAM     PO BOX 1228                                                                            FLINT            MI 48501‐1228
MARY WILLIS         915 S HEINCKE RD                                                                       MIAMISBURG       OH 45342‐3856
MARY WILLIS         6911 DUPONT ST                                                                         FLINT            MI 48505‐2070
MARY WILLIS         4619 ABOITE LAKE DR                                                                    FORT WAYNE       IN 46804‐4022
MARY WILLIS         3556 BAGSHAW DR                                                                        SAGINAW          MI 48601‐5253
MARY WILLIS         310 HARRISON ST APT 502                                                                SAGINAW          MI 48602
MARY WILLIS         892 SHEFFIELD RD                                                                       AUBURN HILLS     MI 48326‐3533
MARY WILLS          924 S BEACH ST                                                                         DAYTONA BEACH    FL 32114‐5504
MARY WILLSON        PO BOX 177                                                                             GLADWIN          MI 48624‐0177
MARY WILSON         2474 E STANLEY RD                                                                      MOUNT MORRIS     MI 48458‐8979
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Name                Address1                             Address2                        Address3   Address4         City           State Zip
MARY WILSON         418 HOLLAND RD                                                                                   FLUSHING        MI 48433‐2131
MARY WILSON         426 N 17TH ST                                                                                    SEBRING         OH 44672‐1210
MARY WILSON         1115 SYCAMORE ST                                                                                 ANDERSON        IN 46016‐2829
MARY WILSON         5839 OLD MORGANTOWN RD                                                                           MARTINSVILLE    IN 46151‐9336
MARY WILSON         1277 N MILLER RD                                                                                 SAGINAW         MI 48609‐4867
MARY WILSON         3867 ANOKA DR                                                                                    WATERFORD       MI 48329‐2101
MARY WILSON         199 MURRAY LN                                                                                    HUNTINGDON      TN 38344‐2819
MARY WILSON         1737 NELSON AVE SE                                                                               GRAND RAPIDS    MI 49507‐2148
MARY WILSON         1108 MONTPIER DR                                                                                 FRANKLIN        TN 37069‐4740
MARY WILSON         10262 WHITE HOUSE PKWY                                                                           WOODBURY        GA 30293‐3102
MARY WILSON         PO BOX 122                                                                                       EMERSON         GA 30137‐0122
MARY WILSON         638 E LORADO AVE                                                                                 FLINT           MI 48505‐2169
MARY WILSON         5079 FOXWOOD PLACE                                                                               HAMILTON        OH 45011‐9759
MARY WILSON         5002 DAVENPORT ROAD                                                                              SYLVANIA        OH 43560‐2601
MARY WILSON         2830 PINE ST                                                                                     ABBEVILLE       LA 70510‐5626
MARY WILSON         10023 CHARJEAN DR                                                                                SAINT ANN       MO 63074‐3616
MARY WILSON         2001 BURR BLVD                                                                                   FLINT           MI 48503‐4209
MARY WILSON         4078 N HEMLOCK LN                                                                                MOUNT MORRIS    MI 48458‐9308
MARY WILSON         17303 COUNTY ROAD Y                                                                              HOLGATE         OH 43527‐9510
MARY WILT           1867 RUSS RD                                                                                     JACKSON         OH 45640‐9240
MARY WILTROUT       737 LINCOLN AVE                                                                                  NILES           OH 44446‐3161
MARY WILTROUT       1433 KEARNEY ST                                                                                  NILES           OH 44446‐3841
MARY WIMPLE         864 WOODVIEW CT                                                                                  VANDALIA        OH 45377‐1655
MARY WINANS         7130 BRITTWOOD LN                                                                                FLINT           MI 48507‐4622
MARY WINBURN        1150 PLYMOUTH AVE NE APT 203                                                                     GRAND RAPIDS    MI 49505‐6423
MARY WINFREY        747 E PRICE CREEK RD                                                                             JASPER          GA 30143‐2217
MARY WINGARD        7528 PEGOTTY DR NE                                                                               WARREN          OH 44484‐1400
MARY WINGARD        6303 N LINDEN RD                                                                                 MOUNT MORRIS    MI 48458‐9453
MARY WINGATE        259 JEROLD ST                                                                                    ROCHESTER       NY 14609‐3404
MARY WINGERT        ACCT OF WAYNE L WINGERT JR           CAN CREEK RANCH 22479 DOWSETT                               ATLANTA         MI 36436

MARY WININGER       103 WAGON TRAIL CT                                                                               MOORESVILLE    IN   46158‐1071
MARY WINSTEAD       1500 LEONARD RD                                                                                  MANCELONA      OH   48659‐8734
MARY WINTER         55 N 7TH ST                                                                                      BREESE         IL   62230‐1243
MARY WINTERKORN     96 TRAVERSE BLVD                                                                                 BUFFALO        NY   14223‐1091
MARY WINTERS        520 BLOOMFIELD VILLAGE BLVD APT 15                                                               AUBURN HILLS   MI   48326‐3589
MARY WINTERS‐JOHR   43726 SIMSBURY ST                                                                                CANTON         MI   48187‐2732
MARY WISE           1317 JUBILEE LN                                                                                  MCDONOUGH      GA   30253‐9042
MARY WISE           6549 S 200 E                                                                                     MARKLEVILLE    IN   46056‐9704
MARY WISE           467 S LOUISVILLE ST RT 2                                                                         ACKERMAN       MS   39735
MARY WISE           394 DAHLIA RD                                                                                    OCILLA         GA   31774‐2212
MARY WISE           7668 HORATIO DR                                                                                  SAINT LOUIS    MO   63121‐4719
MARY WITBRODT       3336 S TAMMY ST                                                                                  BAY CITY       MI   48706‐1767
MARY WITHEM         3720 EARL AVE                                                                                    COLUMBUS       OH   43219‐3618
MARY WITHERSPOON    2928 KENWICK CIR APT 5                                                                           LANSING        MI   48912‐4914
MARY WITHROW        1287 SOUTHERN HILLS BLVD                                                                         HAMILTON       OH   45013‐3735
MARY WITTBRODT      309 PLUMMER ST                                                                                   ESSEXVILLE     MI   48732‐1135
MARY WODKA          16607 RUSTIC MEADOWS DRIVE                                                                       DALLAS         TX   75248‐2126
MARY WODZIAK        16970 AUTUMN DR                                                                                  TINLEY PARK    IL   60477‐2915
MARY WOFFORD        1702 S LAUREL DR                                                                                 MARION         IN   46953‐2905
MARY WOJEWSKI       430 SIMCO DR                                                                                     COLDWATER      MI   49036‐8597
MARY WOJTOWICZ      4270 SHEVA LN                                                                                    HAMBURG        NY   14075‐1339
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Name                      Address1                      Address2                        Address3   Address4         City               State Zip
MARY WOLCOTT              368 EARLE DRIVE                                                                           CARLETON            MI 48117‐9585
MARY WOLD                 1165 S LATSON RD APT 2                                                                    HOWELL              MI 48843‐7528
MARY WOLF                 4 GATEWAY APT 220                                                                         EUCLID              OH 44119‐2453
MARY WOLFE                8106 LINDA RD                                                                             LOUISVILLE          KY 40219‐3982
MARY WOLFE                R1 18801 FOWLER RD                                                                        OAKLEY              MI 48649
MARY WOLFE                105 CRACKED WALNUT WAY                                                                    MARTINSBURG         WV 25404‐4074
MARY WOLFE                2310 FAULKNER DR              APT 208                                                     HOPKINSVILLE        KY 42240
MARY WOLFE                3575 S 675 E                                                                              BRINGHURST          IN 46913‐9689
MARY WOLFE                9185 COUNTY ROAD 46                                                                       GALION              OH 44833‐9664
MARY WOLFINGER            624 RIDGEWOOD AVE                                                                         LANSING             MI 48910‐4652
MARY WOLFORD              1303 WESTBROOK DR                                                                         KOKOMO              IN 46902‐3234
MARY WOLOS                1717 KELLOGG RD                                                                           BRIGHTON            MI 48114‐8771
MARY WOLOSCHAK            1537 N NEWTON FALLS RD                                                                    NORTH JACKSON       OH 44451‐9623
MARY WOLOWIEC             8450 EAGLE RD                                                                             DAVISBURG           MI 48350‐2808
MARY WOMACK               205 LOCH LOOP                                                                             YUKON               OK 73099‐6649
MARY WOMBOLD              888 E. RUSS RD.               #880‐4                                                      GREENVILLE          OH 45331
MARY WONG                 3556 KISKRIDGE ST                                                                         SANTA ROSA          CA 95403
MARY WONSETLER‐ CAUTHON   102 E HULETT ST               PO BOX 92                                                   EDGERTON            KS 66021‐2213
MARY WOOD                 PO BOX 496                    330 PHILADEPHIA                                             NASHVILLE           MI 49073‐0496
MARY WOOD                 2626 E GRAND LEDGE HWY                                                                    GRAND LEDGE         MI 48837‐9787
MARY WOOD                 24275 EASY ST                                                                             ENGLISH             IN 47118‐7535
MARY WOOD                 3064 ORCHID RD                                                                            LAKE PLACID         FL 33852‐8685
MARY WOOD                 17115 COBBS HWY                                                                           ONAWAY              MI 49765
MARY WOOD                 15252 RUDLAND ST                                                                          ROSEVILLE           MI 48066‐1497
MARY WOOD                 10385 N ATHEY AVE                                                                         HARRISON            MI 48625‐8794
MARY WOOD                 300 AFTON DR                                                                              BRANDON             MS 39042
MARY WOODALL              38501 WABASH ST                                                                           ROMULUS             MI 48174‐1147
MARY WOODARD              PO BOX 84                     7711 N HANNA ST                                             MC CORDSVILLE       IN 46055‐0084
MARY WOODARD              242 CRANBERRY BEACH BLVD                                                                  WHITE LAKE          MI 48386‐1940
MARY WOODARD              PO BOX 108                                                                                SHARPSVILLE         IN 46068‐0108
MARY WOODARD              729 W GRAND AVE APT 208                                                                   DAYTON              OH 45406‐5332
MARY WOODARD              729 WEST GRAND AVE            #208                                                        DAYTON              OH 45406
MARY WOODFORD             2624 W WEBSTER RD                                                                         ROYAL OAK           MI 48073‐3743
MARY WOODS                48 VAN GORDER ST                                                                          BUFFALO             NY 14214‐2818
MARY WOODS                580 LOCUST ST                 C/O LAW OFFICES OF WISEHART &                               MIDDLETOWN          IN 47356‐1435
                                                        PH
MARY WOODS                126 COUNTY ROAD 358                                                                       FLORENCE           AL   35634‐6242
MARY WOODS                13912 HIGHLAND MEADOW RD                                                                  CHARLOTTE          NC   28273
MARY WOODS                APT 506                       5916 CULZEAN DRIVE                                          DAYTON             OH   45426‐1246
MARY WOODS                7583 LINCOLN AVENUE EXT                                                                   LOCKPORT           NY   14094‐9087
MARY WOODS                APT 205                       500 SOUTH PINE STREET                                       LANSING            MI   48933‐2235
MARY WOODS                PO BOX 2924                                                                               LOGANVILLE         GA   30052‐1967
MARY WOODS                2701 64TH AVE APT 311                                                                     OAKLAND            CA   94605‐2041
MARY WOODS                836 E WASHINGTON ST                                                                       SHREVEPORT         LA   71104‐3707
MARY WOODS                11282 BAKERSFIELD DR                                                                      FRISCO             TX   75035‐2390
MARY WOODY                17711 EDDON ST                                                                            MELVINDALE         MI   48122‐1227
MARY WOODYARD             3614 CASSIUS ST                                                                           FLINT              MI   48505‐4015
MARY WOOLEY               2614 GLENROSE ST                                                                          AUBURN HILLS       MI   48326‐1907
MARY WOOLSEY              36453 OAKSHIRE ST                                                                         CLINTON TOWNSHIP   MI   48035
MARY WORDEN               11210 N VANDECAR RD                                                                       FARWELL            MI   48622‐9202
MARY WORKMAN              8661 STATE RD APT A2                                                                      MILLINGTON         MI   48746‐9687
MARY WORKMAN              27112 URSULINE STREET                                                                     ST CLR SHORES      MI   48081‐3463
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Name                    Address1                        Address2                 Address3    Address4         City                 State Zip
MARY WOZNIAK            10477 CLINGMAN ST                                                                     SPRING HILL           FL 34608‐5019
MARY WRANICH            604 BROOKWOOD ST                                                                      LANSING               KS 66043‐2212
MARY WRIGHT             3265 PENNYROYAL RD                                                                    FRANKLIN              OH 45005‐1010
MARY WRIGHT             113 E LINCOLN DR                                                                      GREENVILLE            OH 45331‐2339
MARY WRIGHT             604 N BUCKINGHAM CT                                                                   ANDERSON              IN 46013‐4473
MARY WRIGHT             4338 WILLOW GLEN LN APT B                                                             BEECH GROVE           IN 46107‐2737
MARY WRIGHT             5641 W STATE ROAD 234                                                                 JAMESTOWN             IN 46147‐9337
MARY WRIGHT             APT 102                         2055 POTTERY AVENUE                                   PORT ORCHARD          WA 98366‐2052
MARY WRIGHT             22185 CAMINITO VINO                                                                   LAGUNA HILLS          CA 92653‐1634
MARY WRIGHT             8588 LASHBROOK RD                                                                     WALES                 MI 48027‐3107
MARY WRIGHT             6024 PIPER AVE                                                                        LANSING               MI 48911‐4620
MARY WRIGHT             18272 MENDOTA ST                                                                      DETROIT               MI 48221‐1945
MARY WRIGHT             516 WILLIAM G DR                                                                      CAPAC                 MI 48014‐3045
MARY WRIGHT             1286 CAMPBELL RD                                                                      ROSE CITY             MI 48654
MARY WRIGHT             STE C                           112 SOUTH MAIN STREET                                 ANN ARBOR             MI 48104‐1953
MARY WRIGHT             5714 CATHEDRAL DR                                                                     SAGINAW               MI 48603‐2876
MARY WRIGHT             2157 HONEYSUCKLE LN SW                                                                ATLANTA               GA 30311‐3936
MARY WRIGHT             303 HAYES AVE                                                                         MC DONALD             OH 44437‐1913
MARY WRIGHT             1143 S MORGANTOWN RD                                                                  GREENWOOD             IN 46143‐8812
MARY WROBLEWSKI         4924 LOOK KINNEY CIR                                                                  LIVERPOOL             NY 13088‐4125
MARY WSZOLEK            3504 CHARLWOOD DR                                                                     ROCHESTER             MI 48306‐3616
MARY WURZ               1037 PEPPERMILL RUN                                                                   GREENWOOD             IN 46143‐9053
MARY WYATT              3140 UPPER MOUNTAIN RD                                                                SANBORN               NY 14132‐9103
MARY WYLIE              525 MCINTOSH HOLW                                                                     RAVENNA               KY 40472‐8833
MARY WYLUCKI            1254 96TH ST                                                                          NIAGARA FALLS         NY 14304‐2658
MARY WYNIEMKO           APT 1004                        42500 CHERRY HILL ROAD                                CANTON                MI 48187‐3990
MARY WYNN               4412 MIDWAY AVE                                                                       DAYTON                OH 45417‐1350
MARY WYNNE              37 VISTA GARDENS TRL APT 104                                                          VERO BEACH            FL 32962‐1737
MARY WYREMBELSKI        2385 CEDAR PARK DR APT 321                                                            HOLT                  MI 48842‐3112
MARY WYSONG             505 N 6TH ST                                                                          MIAMISBURG            OH 45342‐2405
MARY Y MACK             1850 BRALY LN                                                                         PULASKI               TN 38478‐9285
MARY Y PENN             P. O. BOX 9541                                                                        JACKSON               MS 39286‐9541
MARY Y POLLACK          3386 JAMES STREET                                                                     HERMITAGE             PA 16148‐3517
MARY Y STEWART‐GRIGGS   1253 E HARVARD AVE                                                                    FLINT                 MI 48505‐1758
MARY Y WILLIAMS         2840 BISHOP                                                                           JACKSON               MS 39213‐6601
MARY YAKLIN             3857 PEET RD                                                                          NEW LOTHROP           MI 48460‐9645
MARY YAKLIN             2460 MEADOWBROOK LN                                                                   CLIO                  MI 48420‐1950
MARY YAMBRICK           10353 E 40 1/2 RD                                                                     CADILLAC              MI 49601‐8569
MARY YANCEY             16209 HIGHVIEW DR                                                                     CLEVELAND             OH 44128‐3801
MARY YANCEY             4365 GERMANTOWN PIKE                                                                  DAYTON                OH 45418‐2121
MARY YANDELL            29867 HERITAGE PKWY                                                                   WARREN                MI 48092‐4691
MARY YARBROUGH          16802 PALDA DR                                                                        CLEVELAND             OH 44128‐3329
MARY YARSEVICH          8901 ROUND LAKE RD                                                                    LAINGSBURG            MI 48848‐9403
MARY YASHER             114 GARFIELD RD                                                                       MT PLEASANT           PA 15666‐3629
MARY YATES              2722 N A ST                                                                           ELWOOD                IN 46036‐1738
MARY YBARRA             824 CHESTNUT ST                                                                       ADRIAN                MI 49221‐2424
MARY YEAGER             PO BOX 33                                                                             PRUDENVILLE           MI 48651‐0033
MARY YEE                222 COUNTRY CLUB DR                                                                   SAINT CLAIR SHORES    MI 48082‐1057
MARY YERIAN             1511 YOUNES                                                                           OWOSSO                MI 48867
MARY YERICH             13316 SPRUCE RUN DR APT 103                                                           NORTH ROYALTON        OH 44133‐4256
MARY YOHO               2153 LAYER RD                                                                         LEAVITTSBURG          OH 44430‐9733
MARY YONTS              181 MYERS RD                                                                          NAUVOO                AL 35578‐5608
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Name                               Address1                         Address2                     Address3   Address4         City                 State Zip
MARY YORK                          37897 HIGHWAY HH                                                                          DIXON                 MO 65459‐6223
MARY YORK                          5309 E BUTTE ST                                                                           MESA                  AZ 85205‐8135
MARY YOUKER                        545 POPLAR STREET                                                                         CLIO                  MI 48420‐1261
MARY YOUNG                         17215 JED CT                                                                              CLINTON TWP           MI 48038‐2059
MARY YOUNG                         PO BOX 705                                                                                CLEVELAND             GA 30528‐0012
MARY YOUNG                         11708 N STATE ROAD 3             C/O D L YOUNG                                            MUNCIE                IN 47303‐9705
MARY YOUNG                         PO BOX 2243                                                                               HUNTERSVILLE          NC 28070‐2243
MARY YOUNG                         15735 POWER DAM RD                                                                        DEFIANCE              OH 43512‐6811
MARY YOUNG                         1634 MERSHON ST                                                                           SAGINAW               MI 48602‐4947
MARY YOUNG                         102 AMHERST ST #1                                                                         BUFFALO               NY 14207
MARY YOUNG                         PO BOX 456                                                                                BRIDGEPORT            MI 48722‐0456
MARY YOUNG                         620 DANCY RD                                                                              FROSTPROOF            FL 33843‐8123
MARY YOUNG                         800 E COURT ST APT 330                                                                    FLINT                 MI 48503‐6215
MARY YOUNG                         730 SEA PINES LN                                                                          LAS VEGAS             NV 89107‐2066
MARY YOUNG                         220 GAYWOOD DR                                                                            CHESTERFIELD          IN 46017‐1324
MARY YOUNG                         516 CHASE ST                                                                              FLINT                 MI 48503‐2679
MARY YOUNG                         105 N. GIFFORD ST APT 2N                                                                  ELGIN                  IL 60120
MARY YOUNG                         PO BOX 4014                                                                               FLINT                 MI 48504‐0014
MARY YOUNG‐BROWN                   C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS            OH 44236
MARY YOUNT                         2350 WATKINS LAKE RD APT 107                                                              WATERFORD             MI 48328‐1426
MARY YUNGBLUTH                     3578 CADWALLADER SONK RD                                                                  CORTLAND              OH 44410‐9412
MARY Z DANKO                       1432 HEDGEWOOD CIRCLE                                                                     NORTH PORT            FL 34288
MARY Z EDWARDS & ANDREW P ZACHOS   570 WHITTINGHAM PL                                                                        LAKE MARY             FL 32746

MARY Z EVERHART                    1434 NOTTINGHAM N W                                                                       WARREN               OH   44485‐2020
MARY Z GABEL                       353 WILCOX #5                                                                             AUSTINTOWN           OH   44515‐‐ 42
MARY ZABINSKI                      242 HUNTINGTON DR NW                                                                      WARREN               OH   44481‐9136
MARY ZABOROWSKI                    285 BRIGHTON CT                                                                           MERIDEN              CT   06450‐8115
MARY ZACHARY                       1364 OAKLEY DR                                                                            BATON ROUGE          LA   70806‐8617
MARY ZACHOLSKI                     3203 HICKOX RD                                                                            HAMBURG              NY   14075‐6726
MARY ZACKEROFF                     6711 FOREST GREEN DR                                                                      WAXHAW               NC   28173‐8171
MARY ZAGAR                         5987 HIGHLAND RD                                                                          HIGHLAND HTS         OH   44143‐2011
MARY ZAHABI                        3168 CRYSTAL CT                                                                           LAMBERTVILLE         MI   48144‐8677
MARY ZALOKAR                       3500 SHAD DR E                                                                            MANSFIELD            OH   44903‐9128
MARY ZAMBRANO                      223 HILL LN                                                                               RED OAK              TX   75154‐4033
MARY ZAMMIT                        34852 GROVE DR                                                                            LIVONIA              MI   48154‐2443
MARY ZANDER                        330 SAVANNAH RIVER DR                                                                     SUMMERVILLE          SC   29485‐8991
MARY ZANGARI                       2938 LYELL RD                                                                             ROCHESTER            NY   14606‐4919
MARY ZANGER                        114 BLOSSOM HEATH BLVD                                                                    SAINT CLAIR SHORES   MI   48080‐1364
MARY ZANOTTO                       139 LIGONIER LN                                                                           NEW KENSINGTN        PA   15068‐9300
MARY ZARBAUGH                      1262 N PARK DR                                                                            BROOKFIELD           OH   44403‐9515
MARY ZARCONE                       200 TERRACE HILL BOULEVARD                                                                DEBARY               FL   32713
MARY ZAWACKI                       496 N HINTZ RD                                                                            OWOSSO               MI   48867‐9689
MARY ZELLER                        PO BOX 144                                                                                WARRENSBURG          MO   64093‐0144
MARY ZELLERS                       8806 WASHINGTON COLONY DR                                                                 CENTERVILLE          OH   45458‐3315
MARY ZELNO                         303 BURNS ST                                                                              ESSEXVILLE           MI   48732‐1666
MARY ZEMLA                         3686 WILSON CAMBRIA ROAD                                                                  WILSON               NY   14172‐9715
MARY ZERBE                         16950 W 68TH ST APT 312                                                                   SHAWNEE              KS   66217‐9646
MARY ZIEGLER                       3440 GALBRAITH LINE RD                                                                    YALE                 MI   48097‐4761
MARY ZIELENIEWSKI                  30550 ADAMS DR                                                                            GIBRALTAR            MI   48173‐9592
MARY ZIELINSKI                     25950 DALE ST                                                                             ROSEVILLE            MI   48066‐5034
MARY ZIELINSKI                     141 SAINT FELIX AVE                                                                       CHEEKTOWAGA          NY   14227‐1227
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Name                          Address1                        Address2            Address3         Address4         City                 State Zip
MARY ZIEPFEL                  2317 CASTLE PINES CT                                                                  HAMILTON              OH 45013‐7010
MARY ZILKO                    12 COURTNEY CT                                                                        MERIDEN               CT 06450‐3587
MARY ZILL                     1128 CHURCHILL RD                                                                     GIRARD                OH 44420‐2129
MARY ZIMMERMAN                11425 PALMER AVE                                                                      KANSAS CITY           MO 64134‐3553
MARY ZINVELI                  2117 DAVIE BLVD APT 120                                                               FT LAUDERDALE         FL 33312‐3123
MARY ZIOMEK                   21 LONE OAK AVE                                                                       WOLCOTT               CT 06716‐1518
MARY ZISSLER                  109 JEFFERSON DR                                                                      FRANKLIN              TN 37064‐2031
MARY ZLATEC                   2466 N VASSAR RD                                                                      DAVISON               MI 48423‐9587
MARY ZNIDARSIC                8926 BILLINGS RD                                                                      KIRTLAND              OH 44094‐9572
MARY ZOLMAN                   10 WILMINGTON AVE APT 105C                                                            DAYTON                OH 45420‐4800
MARY ZORNES                   125 SHERMAN ST                                                                        DAYTON                OH 45403‐2533
MARY ZORNES                   1004 OMARD DR R                                                                       XENIA                 OH 45385
MARY ZRELIAK                  3597 ORANGEVILLE RD                                                                   MASURY                OH 44438‐9726
MARY ZUNNER                   2912 DRUM RD                                                                          MIDDLEPORT            NY 14105‐9732
MARY ZUPPA                    454 HOMECREST DR                                                                      AMHERST               NY 14226‐1219
MARY ZUREK                    458 WINDERMERE BLVD                                                                   BUFFALO               NY 14226‐2825
MARY ZWAS                     30 EDGEMOOR RD                                                                        ROCHESTER             NY 14618‐1206
MARY ZWAS                     30 EDGEMOOR ROAD                                                                      ROCHESTER             NY 14618
MARY ZWENG                    1072 S VENOY RD                                                                       WESTLAND              MI 48186‐4836
MARY ZYROWSKI                 987 E FARNUM AVE                                                                      MADISON HTS           MI 48071‐3426
MARY, MARY E                  606 SO 29TH ST                                                                        SAGINAW               MI 48601‐6548
MARY, MARY E                  606 S 29TH ST                                                                         SAGINAW               MI 48601‐6548
MARY, STIRLING,               202 E. BLVD DR.                 STE 3                                                 FLINT                 MI 48503
MARY‐ANN CULLISON             299 SHAMROCK AVE                                                                      GREENTOWN             IN 46936‐9300
MARY‐ELLEN BENNETT            2491 POPLAR DR                                                                        KAWKAWLIN             MI 48631‐9135
MARY‐JO NANNI                 27936 GREATER MACK AVE                                                                SAINT CLAIR SHORES    MI 48081‐2958
MARY‐LYN HALL                 319 CLAYBURN BLVD                                                                     WATERFORD             MI 48327‐2617
MARYAL DEBNAR                 1406 GORDON AVE                                                                       LANSING               MI 48910‐2613
MARYALICE BRANDER             224 W LAKE ST                                                                         SAND LAKE             MI 49343‐9512
MARYALICE FREDRICK            5906 TIFFIN AVE                                                                       CASTALIA              OH 44824‐9447
MARYALICE MCCLENDON           1241 LINCOLN AVE                                                                      CHICAGO HEIGHTS        IL 60411‐2839
MARYALICE SHOEMAKER           2620 N WASHINGTON ST TRLR 97                                                          KOKOMO                IN 46901‐5766
MARYAM HAMEED                 17204 ELDAMERE AVE                                                                    CLEVELAND             OH 44128‐1524
MARYAM MUHAMMAD               3911 COMSTOCK AVE                                                                     FLINT                 MI 48504‐3749
MARYAN D DAHMER & SUEANNA L   HC 32 BOX 11                                                                          UPPER TRACT           WV 26866‐9601
CZARNIK JT‐TEN
MARYANA CALLAS                1371 N JUSTIN CT                                                                      ADDISON              IL   60101‐5703
MARYANN ADAMS                 49058 PLUM TREE CT                                                                    PLYMOUTH             MI   48170‐3233
MARYANN AGEE                  65 E END AVE                                                                          PENNS GROVE          NJ   08069‐2249
MARYANN AMATO                 186 GENESEE PARK BLVD                                                                 ROCHESTER            NY   14619‐2406
MARYANN ANDERSON              2124 N VILLAGE DR                                                                     BONHAM               TX   75418‐2010
MARYANN BANASZEWSKI           24161 BLACKMAR AVE                                                                    WARREN               MI   48091‐1748
MARYANN BECK                  2101 S MERIDIAN RD LOT 433                                                            APACHE JUNCTION      AZ   85220‐7213
MARYANN BEEBE                 714 N CAMPBELL RD                                                                     ROYAL OAK            MI   48067‐2161
MARYANN BISHAY                1384 LAKEVIEW DR                                                                      ROCHESTER HILLS      MI   48306‐4574
MARYANN BORKOWSKI             448 CHARTER DR                                                                        LONGS                SC   29568‐8847
MARYANN CARPENTER             248 E MAIN ST                   PO BOX 7                                              VERMONTVILLE         MI   49096‐9304
MARYANN CARR                  1337 SEAGULL DR                                                                       ENGLEWOOD            FL   34224‐4635
MARYANN CHABICA               8940 MONROE RD APT C6                                                                 DURAND               MI   48429‐1022
MARYANN CHATMAN               11689 FAUST AVE                                                                       DETROIT              MI   48228‐1145
MARYANN CHILDS                15 KINNIE RD                                                                          MASSENA              NY   13662‐3220
MARYANN COMBS                 PO BOX 240                                                                            SPEEDWELL            TN   37870‐0240
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Name                    Address1                            Address2           Address3     Address4         City            State Zip
MARYANN COOPER          6 HEMLOCK LN                                                                         MILFORD          MA 01757‐1304
MARYANN CULLEN          4418 ASHLAWN DR                                                                      FLINT            MI 48507‐5656
MARYANN DALE            27 PLUM TREE DR                                                                      SAINT PETERS     MO 63376‐2704
MARYANN DAVIS           9250 HARRISON AVE                                                                    FARWELL          MI 48622‐8449
MARYANN DUBRAVCAK       417 EARL DR NW                                                                       WARREN           OH 44483‐1115
MARYANN E STROUP        456 NEWCASTLE LN                                                                     ROMEO            MI 48065‐4825
MARYANN ELIOPOULOS      5938 TROJAN ST                                                                       LOUISVILLE       OH 44641‐9218
MARYANN FANELLI         27 FLORENCE TOLLGATE PL UNIT 6                                                       FLORENCE         NJ 08518‐3201
MARYANN FINCH           209 EPWORTH AVE                                                                      WILMORE          KY 40390‐1171
MARYANN FONTAINE        357 BLUEBERRY POND DR                                                                BREWSTER         MA 02631‐2045
MARYANN FRANKLIN        283 UTICA ST                                                                         TONAWANDA        NY 14150‐5433
MARYANN GISEWHITE       3911 CIRCLE DR                                                                       FLINT            MI 48507‐2716
MARYANN GUADIANA        2650 S FORUM DR APT 5204                                                             GRAND PRAIRIE    TX 75052‐7030
MARYANN GUADIANA        2650 S FORUM DRIVE                  APT 4103                                         GRAND PRAIRIE    TX 75052‐7029
MARYANN GUYON           PO BOX 510                                                                           WYANDOTTE        MI 48192‐0510
MARYANN HALLA           1409 SIENNA DR                                                                       ARLINGTON        TX 76002‐3668
MARYANN HAMMOND         115 LLEWELLYN AVE                                                                    WESTERVILLE      OH 43081‐1711
MARYANN HAY             6709 GREGG MILL RD                                                                   LONDON           OH 43140‐9469
MARYANN HERGT           1131 COUNTRY DR                                                                      TROY             MI 48098‐6500
MARYANN HERNANDEZ       9318 RAWSONVILLE RD                                                                  BELLEVILLE       MI 48111‐9205
MARYANN JEFFERY         7761 PUTTYGUT RD                                                                     CASCO            MI 48064‐2115
MARYANN JONES           1610 OLD NUMBER ONE RD                                                               DICKSON          TN 37055‐5250
MARYANN JONES           9010 CAIN DR NE                                                                      WARREN           OH 44484‐1705
MARYANN K DUBRAVCAK     417 EARL DR. NW                                                                      WARREN           OH 44483‐1115
MARYANN K NEZBETH       5914 MT. HOLLY‐ HUNTERSVILLE RD.                                                     CHARLOTTE        NC 28216
MARYANN KAPINOS         3392 N BOSWELL TERRANCE                                                              HERNANDO         FL 34442
MARYANN KILGORE         1959 CUSTER ORANGEVILLE RD                                                           MASURY           OH 44438‐9755
MARYANN KONRAD          13511 STRATFORD PLACE CIR APT 104                                                    FORT MYERS       FL 33919‐5132
MARYANN KOPERSKI        629 38TH ST                                                                          NIAGARA FALLS    NY 14301‐2614
MARYANN KUJAWA          5387 E RIVER RD                     C/O RANDY KUJAWA                                 GRAND ISLAND     NY 14072‐1132
MARYANN LAZOR           278 PEARSON LN                                                                       ROCHESTER        NY 14612‐3540
MARYANN LIND            1613 HAWTHORNE DR                                                                    ARLINGTON        TX 76012‐2230
MARYANN LIPKEN          8545 GLACIER POINT DR                                                                STOCKTON         CA 95212‐3463
MARYANN LONGROY         3511 PIPER LAKE RD                                                                   WEST BRANCH      MI 48661‐9459
MARYANN LORENC          543 LUCE AVE                                                                         FLUSHING         MI 48433‐1405
MARYANN M MCKENZIE      120 MEMORIAL LANE                                                                    MT LAUREL        NJ 08054‐2032
MARYANN MAYO            17941 LINCOLN DRIVE                                                                  ROSEVILLE        MI 48066‐7431
MARYANN MC NICHOLS      14308 COOLBANK DR                                                                    LA MIRADA        CA 90638‐2053
MARYANN MCCRACKEN       8071 PINE FOREST CT                                                                  DAVISBURG        MI 48350‐2041
MARYANN MCGUIRE‐KOLAK   287 DONAHUE BEACH DR                                                                 BAY CITY         MI 48706‐1812
MARYANN MCLEMORE        4025 S IRISH RD                                                                      DAVISON          MI 48423‐8627
MARYANN MIKA            2911 STRATFORD DR                                                                    BAY CITY         MI 48706‐1529
MARYANN NEZBETH         5914 MOUNT HOLLY HUNTERSVILLE RD                                                     CHARLOTTE        NC 28216‐8684
MARYANN PATCHOFSKY      912 JOHNSTON AVE                                                                     TRENTON          NJ 08629‐1142
MARYANN PESTA           638 AUGRES RIVER DR                                                                  AU GRES          MI 48703‐9540
MARYANN PETERS          5964 HAZEL ST                                                                        TAYLOR           MI 48180‐1010
MARYANN PETRICK         1541 ANTHONY AVE                                                                     JANESVILLE       WI 53546‐6009
MARYANN PETRILL         8315 HIDDEN CREEK CT                                                                 FLUSHING         MI 48433‐9429
MARYANN PRICE           117 E EVERS AVE                                                                      BOWLING GREEN    OH 43402‐2008
MARYANN REEVES          5582 WHITES BRIDGE RD                                                                BELDING          MI 48809‐9237
MARYANN RESSEGUIE       2415 BAY RIDGE DR                                                                    AU GRES          MI 48703‐9484
MARYANN RUDZIEWICZ      12 CANDLEWYCK WAY                                                                    CHERRY HILL      NJ 08003‐1227
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Name                      Address1                        Address2            Address3         Address4         City               State Zip
MARYANN S GOTSCH          27 WEST AVENUE                                                                        OLD BRIDGE          NJ 08857‐3823
MARYANN SABO              11166 NICHOLS RD                                                                      MONTROSE            MI 48457‐9113
MARYANN SAKOWSKI          310 JEROME AVE                                                                        BURLINGTON          CT 06013‐2425
MARYANN SCHLIE            19186 DEVONSHIRE ST                                                                   BEVERLY HILLS       MI 48025‐3946
MARYANN SCHMITZ           20 LUCENA DR.                                                                         ROCHESTER           NY 14606‐4002
MARYANN SCHUMACHER        5211 N VAN DYKE RD                                                                    KINDE               MI 48445‐9602
MARYANN SMADES            2895 DELAND RD                                                                        WATERFORD           MI 48329‐3421
MARYANN SMIGIEL           38597 DELTA ST                                                                        CLINTON TOWNSHIP    MI 48036‐1711
MARYANN SMITH             8108 COVENTRY ST                                                                      WESTLAND            MI 48185‐1833
MARYANN SMITH             107 ELMS DR                                                                           TRASFORD            PA 15085
MARYANN STEWART           2905 BUCKINGHAM AVE                                                                   WESTCHESTER          IL 60154‐5114
MARYANN STROUP            456 NEWCASTLE LN                                                                      ROMEO               MI 48065‐4825
MARYANN SYTEK             2436 CHERYL ANN DR                                                                    BURTON              MI 48519‐1362
MARYANN T AVELLI          50 APPIAN DRIVE                                                                       ROCHESTER           NY 14606‐4722
MARYANN TARRANT           5098 BLAZED TRL                                                                       ROSCOMMON           MI 48653‐9760
MARYANN THOMAS            12619 STONERIDGE LN APT 102                                                           SOUTH ROCKWOOD      MI 48179‐9579
MARYANN THOMAS            745 PARK PL                                                                           NIAGARA FALLS       NY 14301‐1027
MARYANN TOWNSEND
MARYANN VERZILLO          295 ROBERT QUIGLEY DR                                                                 SCOTTSVILLE        NY   14546‐1036
MARYANN WAGNER            878 ECORSE RD                                                                         YPSILANTI          MI   48198‐5876
MARYANN WALTERS           PO BOX 904                                                                            WHITLEY CITY       KY   42653‐0904
MARYANN WASHKO            19230 FORD RD APT 405                                                                 DEARBORN           MI   48128‐2005
MARYANN WEATHERLY         1721 SO 5TH AVE                                                                       MAYWOOD            IL   60153
MARYANN WHALEN            713 FRANKLIN DR                                                                       PERTH AMBOY        NJ   08861‐1815
MARYANN WILK              243 ASPEN DR NW                                                                       WARREN             OH   44483‐1184
MARYANN WUJCIAK           1417 SUNSET BLVD                                                                      FLINT              MI   48507‐4062
MARYANN ZAGURSKI          4328 NEMO AVE                                                                         NORTH PORT         FL   34287‐3905
MARYANN ZAMECKI           393 WALDON RD                                                                         ORION              MI   48359‐1360
MARYANNA ZARICK           118 LOUISIANA AVE                                                                     BRISTOL            CT   06010‐4452
MARYANNE DALLAIRE         PO BOX 156                                                                            TORRINGTON         CT   06790‐0156
MARYANNE DUNGEROW         213 E MAPLE ST                                                                        BYRON              MI   48418
MARYANNE DURA             15937 BRADFORD DR                                                                     CLINTON TWP        MI   48038‐1000
MARYANNE E BUCHINSKY      1701 LINCOLN HWY                                                                      EDISON             NJ   08817‐3462
MARYANNE G DUNGEROW       213 E MAPLE ST                                                                        BYRON              MI   48418
MARYANNE HAYTON           23 BRANDI STREET                                                                      BELLEVILLE         MI   48111‐6154
MARYANNE JAMIOLKOWSKI     92 MIRAGE BLVD                                                                        BARNEGAT           NJ   08005‐5535
MARYANNE KASO             1624 WESTHAMPTON DRIVE                                                                YOUNGSTOWN         OH   44515‐3859
MARYANNE KELLY            27 VAN LEER AVE                                                                       MEDIA              PA   19063
MARYANNE MARTINEZ         518 ORMSBY ST                                                                         ADRIAN             MI   49221‐2344
MARYANNE R PALMIERI       JOSEPH V PALMIERI JT/WROS       17 POLLY DR                                           HUNTINGTON         NY   11743
MARYANNE SILMAN           5401 ALVA AVE NW                                                                      WARREN             OH   44483‐1215
MARYANNE TORNER           455 HARMON ST                                                                         BIRMINGHAM         MI   48009‐1348
MARYANNE WAGNER           519 MAYFIELD RD                                                                       CLINTON            KY   42031‐1433
MARYBELL KILLION          217 TENNESSEE AVE                                                                     DANVILLE           IL   61832‐6542
MARYBELL KNOTTS           4755 FROST AVE                                                                        COLUMBUS           OH   43228‐1978
MARYBELLE BUTLER          2118 N 114TH TER                                                                      KANSAS CITY        KS   66109‐7504
MARYBELLE KEYSOR          4484 SHASTA DR                                                                        SAGINAW            MI   48603‐1046
MARYBELLE MOORE           215 WELCOME WAY BLVD E. DR.     APT 201 B                                             INDIANAPOLIS       IN   46214
MARYBELLE PARKER          204 ANDERSON ST                                                                       DANVILLE           IL   61832
MARYBELLE TOMASOVIC       10862 ALBION RD                                                                       N ROYALTON         OH   44133‐2553
MARYBETH GODLESKY‐SNELL   1020 MUIRLAND DR                                                                      FLUSHING           MI   48433‐1434
MARYBETH J RICHARDSON     3315 S S R 13                                                                         LAPEL              IN   46051
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Name                            Address1                         Address2                     Address3   Address4         City               State Zip
MARYBETH JOHNSON                PO BOX 9382                                                                               KANSAS CITY         MO 64133‐0182
MARYBETH KUDERIK                1805 STANLEY BLVD                                                                         BIRMINGHAM          MI 48009‐4149
MARYBETH LAZOR                  54 OLIVER RD.                                                                             TALLMADGE           OH 44278‐2215
MARYBETH MACDONALD              PO BOX 9022                      C/O GM KOREA                                             WARREN              MI 48090‐9022
MARYBETH MENAKER                1145 N OGDEN DR APT 209                                                                   WEST HOLLYWOOD      CA 90046‐5336
MARYBETH RICHARDSON             3315 S S.R. 13                                                                            LAPEL               IN 46051
MARYBETH STANCHER               1022 ROBBINS AVE                                                                          NILES               OH 44446‐3349
MARYBETH VOELKL                 22 LAKE LEA RD                                                                            ROCHESTER           NY 14617‐1926
MARYDEANE PARKER                1570 EDENDALE RD                                                                          DAYTON              OH 45432‐3644
MARYE STALEY                    1408 W MAPLE AVE                                                                          FLINT               MI 48507‐5614
MARYE, JANE E                   9690 N PLEASANT DR                                                                        FAIRLAND            IN 46126‐9555
MARYE, JANE ELIZABETH           9690 N PLEASANT DR                                                                        FAIRLAND            IN 46126‐9555
MARYELLA COLE                   1316 S MICHIGAN RD                                                                        EATON RAPIDS        MI 48827‐9260
MARYELLEN BEALS                 521 W 2ND ST                                                                              CHARLOTTE           MI 48813‐2153
MARYELLEN BOEHRINGER            7775 W M 72                                                                               CURRAN              MI 48728‐9704
MARYELLEN BROGDON               350 OHIO ST                                                                               FRANKLIN            IN 46131‐1814
MARYELLEN EDWARDS               BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
MARYELLEN GABBARD               2826 BUTTON WILLOW PKWY                                                                   ABILENE             TX 79606‐3518
MARYELLEN HOUSEWRIGHT           6055 CABOTAGE RD                                                                          DULUTH              GA 30097‐8476
MARYELLEN JACKSON               22417 WALSINGHAM DR                                                                       FARMINGTN HLS       MI 48335‐3865
MARYELLEN LALONDE               7291 GRANDWOOD DR                                                                         SWARTZ CREEK        MI 48473‐9416
MARYELLEN MEYER                 125 RIDGE DR                                                                              LAPEER              MI 48446‐2825
MARYELLEN RASCH‐HALL            620 S 3RD ST W APT 2                                                                      MISSOULA            MT 59801‐2516
MARYELLEN SMITH                 3765 VAN ATTA RD                                                                          OKEMOS              MI 48864‐4138
MARYELLEN WILSON                158 LORELEE DR                                                                            TONAWANDA           NY 14150‐4325
MARYETTA DEWITT                 1242 LESLIE ST                                                                            LANSING             MI 48912‐2512
MARYETTA FOX                    5242 W CRYSTAL ST                                                                         CHICAGO              IL 60651‐1466
MARYETTA SIMMONS                2861 N OLNEY ST                                                                           INDIANAPOLIS        IN 46218‐2916
MARYGROVE AWNING CO INC         12700 MERRIMAN RD                                                                         LIVONIA             MI 48150‐1818
MARYGROVE AWNINGS               12700 MERRIMAN RD                                                                         LIVONIA             MI 48150‐1818
MARYGROVE COLLEGE               8425 W MCNICHOLS RD                                                                       DETROIT             MI 48221‐2546
MARYIA PRZYBYLEK                139 LAKEVIEW AVE                                                                          SOUTH PLAINFIELD    NJ 07080‐3421
MARYJANE BUNKER                 26660 BEAMER ST                                                                           HARRISON TWP        MI 48045‐2516
MARYJANE CHERRY                 29 BUCKINGHAM ST APT 5                                                                    WATERBURY           CT 06710‐1959
MARYJANE J ROBINSON             929 JEFFERSON ST APT 607                                                                  KANSAS CITY         MO 64105‐1390
MARYJANE NOWAK                  328 KIRBY POE RD                                                                          ALVATON             KY 42122‐7623
MARYJANE RIVETTE                9050 FROST RD                                                                             SAGINAW             MI 48609‐9308
MARYJANE ROBINSON               186 ANN LN                                                                                STONEWALL           LA 71078‐9639
MARYJANE SKINNER                12 MONROE AVE                                                                             SHELBY              OH 44875‐1622
MARYJANE VER BURG               C/O PATRICIA K WARD              760 WEST V.W. AVE                                        SCHOOLCRAFT         MI 49087
MARYJANE ZGODA                  633 COLUMBIA AVE                                                                          LANCASTER           NY 14086‐1239
MARYJEAN EIDMAN                 3151 PARKER RD                                                                            MARION              NY 14505‐9625
MARYJO GOSLIN                   230 E SHARPSTEEN ST                                                                       SEBEWAING           MI 48759‐1023
MARYJO KALER                    8920 WILLOW GROVE DR                                                                      FORT WAYNE          IN 46804‐2655
MARYJO OHLIN                    5204 CRAIG AVE NW                                                                         WARREN              OH 44483‐1238
MARYK GARDNER                   1360 S 750 E                                                                              ANDREWS             IN 46702‐9603
MARYKAY KEITH                   15032 STATE RD                                                                            SPRING LAKE         MI 49456‐9588
MARYKNOLL FATHERS & BROTHERS    PO BOX 304                                                                                MARYKNOLL           NY 10545‐0304
MARYLAND AUTOMOBILE INSURANCE   JOHN BANGHART                    1750 FOREST DR                                           ANNAPOLIS           MD 21401‐4211
FUND (MAIF)
MARYLAND BERRY                  32905 REDBUD CIR                                                                          CHESTERFIELD       MI 48047‐1475
MARYLAND C.S.A.                 PO BOX 17396                                                                              BALTIMORE          MD 21297‐1396
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Name                                Address1                              Address2                      Address3                     Address4         City            State Zip
MARYLAND CHILD SUPPORT AC COUNT     PO BOX 17396                                                                                                      BALTIMORE        MD 21297‐1396
MARYLAND CHILD SUPPORT ACCOUNT      PO BOX 17396                                                                                                      BALTIMORE        MD 21297‐1396
MARYLAND CHILD SUPPORT ACT          PO BOX 17396                                                                                                      BALTIMORE        MD 21297‐1396
MARYLAND COLLIER                    12037 LULU RD                                                                                                     IDA              MI 48140‐9711
MARYLAND COMPTROLLER OF THE         301 W PRESTON ST                      RETAIL SALES TAX DIVISION                                                   BALTIMORE        MD 21201‐2385
TREASURY
MARYLAND COMPTROLLER OF TREASURY

MARYLAND COMPTROLLERÆS OFFICE       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 301 W PRESTON ST                                                           BALTIMORE       MD 21201‐2385

MARYLAND COMPTROLLERÆS OFFICE       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 80 CALVERT STREET                                                          ANNAPOLIS       MD 21401

MARYLAND COMPTROLLERÆS OFFICE       301 W PRESTON ST                                                                                                  BALTIMORE       MD 21201‐2385
MARYLAND COMPTROLLERÆS OFFICE
MARYLAND DEPARTMENT OF BUSINESS &   217 EAST REDWOOD ST.                                                                                              BALTIMORE       MD 21202
ECONOMIC DEVELOPMENT

MARYLAND DEPARTMENT OF NATURAL      REGION 3                              TAWES STATE OFFICE BUILDING   580 TAYLOR AVENUE                             ANNAPOLIS       MD 21401
RESOURCES
MARYLAND DEPARTMENT OF THE          REGION 3                              1800 WASHINGTON BLVD.         SUITE 625                                     BALTIMORE       MD 21230
ENVIRONMENT
MARYLAND DEPARTMENT OF THE          2500 BROENING HWY                                                                                                 BALTIMORE       MD 21224‐6601
ENVIRONMENT
MARYLAND DEPARTMENT OF THE          ATTN: CORPORATE OFFICER/AUTHORIZED    PO BOX 1417                                                                 BALTIMORE       MD 21203‐1417
ENVIRONMENT                         AGENT
MARYLAND DEPARTMENT OF              MOTOR VEHICLE DIVISION                MVA, BL&CS, RM. 146           6601 RITCHIE HIGHWAY                          GLEN BURNIE     MD 21062
TRANSPORTATION
MARYLAND ECONOMIC DEVELOPMENT       ATTN: GENERAL COUNSEL                 WORLD TRADE CENTER            401 EAST PRATT STREET                         BALTIMORE       MD 21202
CORPORATION
MARYLAND ECONOMIC DEVELOPMENT       ATTN: HANS F. MAYER EXECUTIVE         36 SOUTH CHARLES STREET                                                     BALTIMORE       MD 21201
CORPORATION                         DIRECTOR
MARYLAND FARM/BRNTWD                5101 MARYLAND WAY                                                                                                 BRENTWOOD       TN 37027‐7509
MARYLAND GRAIN PRODUCERS            53 SLAMA RD                                                                                                       EDGEWATER       MD 21037‐1423
UTILIZATION BOARD
MARYLAND GROUP/BRENT                100 WESTWOOD PL STE 333                                                                                           BRENTWOOD       TN   37027‐5044
MARYLAND INDUSTRIAL GROUP           THE GARRETT BUILDING                  233 EAST REDWOOD STREET                                                     BALTIMORE       MD   21202
MARYLAND INDUSTRIAL GROUP           233 E REDWOOD ST                                                                                                  BALTIMORE       MD   21202
MARYLAND INSTITUTE COLLEGE OF ART   1300 W MOUNT ROYAL AVE                                                                                            BALTIMORE       MD   21217‐4134

MARYLAND MOTOR VEHICLE ADM         BUSINESS LICENSING & CONSUMER         SERVICES                       6601 RITCHIE HWY NE                           GLEN BURNIE     MD   21062‐0001
MARYLAND NATIONAL BANK             INCOME TAX DIVISION                                                                                                ANNAPOLIS       MD   21411‐0001
MARYLAND NATIONAL BANK             FRANK LAGO                            25 SOUTH CHARLES ST                                                          BALTIMORE       MD   21201
MARYLAND PLUMBING HEATING‐ COOLING 10176 BALTIMORE NATIONAL PIKE STE 205                                                                              ELLICOTT CITY   MD   21042‐3652
CONTRACT INC
MARYLAND SAND & GRAVEL FUND        CLEAN SITES INC ATTN D SANDERS        635 SLATERS LN STE 130                                                       ALEXANDRIA      VA 22314
MARYLAND SAND & GRAVEL FUND        CLEAN SITES ENVIRON SVCS              46161 WESTLAKE DR STE 230B                                                   POTOMAC FALLS   VA 20165‐5871
MARYLAND SAND & GRAVEL FUND        CLEAN SITE ENVIRON SVS INC            ATTN: SCOTT MILLER             46161 WESTLAKE DR STE 230‐                    POTOMAC FALLS   VA 20165
                                                                                                        B
MARYLAND SAND AND GRAVEL FUND      CLEAN SITES INC‐BETTY L MAY            1199 N FAIRFAX ST STE 400                                                   ALEXANDRIA      VA 22314‐1448
MARYLAND STATE DEPT OF ASSESSMENTS 301 W PRESTON ST                       PERSONAL PROPERTY DIVISION                                                  BALTIMORE       MD 21201‐2385
& TAXATION
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Name                              Address1                          Address2                      Address3   Address4         City            State Zip
MARYLAND STATE HWY ADMINISTRATION                                   660 WEST RD                                                                MD 21801

MARYLAND STATE POLICE             7749 WASHINGTON BLVD                                                                        JESSUP          MD 20794‐9305
MARYLAND VIOLATION PROCESSING     PO BOX 5100                                                                                 BALTIMORE       MD 21224‐0100
CENTER
MARYLAND, CAROLYN D               2403 PICADILLY LN                                                                           WICHITA FALLS   TX 76309
MARYLAND, STATE OF                301 W PRESTON ST                  COMPTROLLER OF THE TREASURY                               BALTIMORE       MD 21201‐2385
MARYLAND‐NATIONAL CAPITAL PARK                                      4200 RITCHIE MARLBORO RD                                                  MD 20772
COMMISSION
MARYLEE GERVIN                    8459 PEACEFUL VALLEY                                                                        CLARKSTON       MI   48348‐2671
MARYLEE MORRILL                   6376 WINDRIDGE PL                                                                           LEXINGTON       OK   73051‐9475
MARYLEE WALKER                    9117 LOUISE ST                                                                              LIVONIA         MI   48150‐4079
MARYLENE FORCE                    G 9015 CORUNNA RD                                                                           FLINT           MI   48532
MARYLENE TUCKER                   2305 DELON AVE                                                                              KOKOMO          IN   46901‐5002
MARYLHURST UNIVERSITY             PO BOX 261                                                                                  MARYLHURST      OR   97036‐0261
MARYLIN ADAMS                     4550 PATTERSON RD                                                                           MIDDLEVILLE     MI   49333‐8704
MARYLIN EUBANK                    112 N MONTGOMERY ST                                                                         UNION           OH   45322
MARYLIN HALL                      117 E MAIN ST                                                                               PENN YAN        NY   14527
MARYLIN HASTON                    105 NURSERY RD                                                                              ANDERSON        IN   46012‐3121
MARYLIN KAULILI                   PO BOX 10                                                                                   KUALAPUU        HI   96757‐0010
MARYLIN LAWSON                    6512 TURF WAY                                                                               ANDERSON        IN   46013‐9588
MARYLIN MAREK                     200 BEAUMONT CIR APT H                                                                      BROWNSBURG      IN   46112‐7818
MARYLIN MAZZA                     13 OVERLOOK BLUFF                                                                           MARLBORO        NY   12542
MARYLIN MCLAUGHLIN                PO BOX 33                         6803 W ST                                                 NORTH BRANCH    MI   48461‐0033
MARYLIN REPPUHN                   2277 PAULINE DR                                                                             WATERFORD       MI   48329‐3759
MARYLIN S ADAMS                   4550 PATTERSON RD                                                                           MIDDLEVILLE     MI   49333‐8704
MARYLIN WARE                      241 MARY ST                                                                                 FLINT           MI   48503‐1454
MARYLIN WILEN                     28 HAMLET DR                                                                                PLAINVIEW       NY   11803
MARYLIS PRZEPIORA                 1505 S SHERIDAN ST                                                                          BAY CITY        MI   48708‐8125
MARYLN JOHNSON                    315 HENLEY DR                                                                               PLAINFIELD      IN   46168‐1248
MARYLOU BABBITT                   P O 7437                                                                                    FLINT           MI   48507
MARYLOU BABBITT                   PO BOX 7437                                                                                 FLINT           MI   48507‐0437
MARYLOU BIELAK                    3802 WINDING PINE DR                                                                        METAMORA        MI   48455‐8905
MARYLOU BORNHORST                 11021 CONOVER RD                                                                            VERSAILLES      OH   45380‐9477
MARYLOU BUDREAU                   108 WINTER DR                                                                               GEORGETOWN      TX   78633‐5108
MARYLOU CAVANAUAGH                7447 VICTORIA DR                                                                            LAINGSBURG      MI   48848‐9287
MARYLOU DERIDDER                  2922 WALING WOODS DR                                                                        HIGHLAND        MI   48356‐2171
MARYLOU E HELMS                   40 LAKEFRONT AVE.                                                                           GADSDEN         AL   35904
MARYLOU GOMEZ                     847 PARK ST                                                                                 TURLOCK         CA   95380‐4609
MARYLOU H WILKINS                 3310 NORTH ROAD                                                                             GENESEO         NY   14454‐9716
MARYLOU HERSL                     110 LESLIE AVE                                                                              BALTIMORE       MD   21236‐4309
MARYLOU MESI                      7065 ACADEMY LN                                                                             LOCKPORT        NY   14094‐5356
MARYLOU POLLARD                   24755 MARY ST                                                                               TAYLOR          MI   48180‐2178
MARYLOU STRAUB                    9855 JOAN CIRCLE                  LOT 73                                                    YPSILANTI       MI   48197
MARYLOU WEAVER                    7412 CHESTNUT RIDGE RD                                                                      LOCKPORT        NY   14094‐3514
MARYLOU WEBSTER                   PO BOX 430054                                                                               BIG PINE KEY    FL   33043‐0054
MARYLOU WITTKOPP                  211 W TOWNLINE RD                                                                           AUBURN          MI   48611‐9738
MARYLOUISE H POLOZNIK             62 NORMANDALE DR                                                                            ROCHESTER       NY   14624‐1716
MARYLOUISE KENNEALLY              2325 GOLETA AVE                                                                             YOUNGSTOWN      OH   44504‐1329
MARYLYN BUFFINGTON                7130 CRONIN DR                                                                              DEARBORN HTS    MI   48127‐4613
MARYLYN DICKEY                    502 S LAFAYETTE ST                                                                          FRANKTON        IN   46044‐9364
MARYLYN G DORSKY                  1120 BEACON PKWY E #511                                                                     BIRMINGHAM      AL   35209
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Name                               Address1                            Address2                    Address3                    Address4         City              State Zip
MARYLYN HEFFELFINGER               305 GAME DR                                                                                                  MUNROE FALLS       OH 44262‐1705
MARYLYN PAUL                       14911 DITCH RD.                     2748 FLORENCE DR APT 103                                                 PIGEON FORGE       TN 37863‐3367
MARYLYNN FREDRICKSON               G1480 E SCHUMACHER                                                                                           BURTON             MI 48529
MARYMAN, VALERIE J                 18984 BIRCHCREST DR                                                                                          DETROIT            MI 48221‐2227
MARYMARGARET TULLER                PO BOX 66017                                                                                                 NEWPORT            MI 48166
MARYMOUNT COLLEGE                  TARRYTOWN                           100 MARYMOUNT AVE                                                        TARRYTOWN          NY 10591‐3704
MARYMOUNT HOSPITAL                 PO BOX 73581                                                                                                 CLEVELAND          OH 44193‐1155
MARYMOUNT MANHATTAN COLLEGE        221 E 71ST ST                                                                                                NEW YORK           NY 10021‐4532
MARYMOUNT UNIVERSITY               2807 N GLEBE RD                                                                                              ARLINGTON          VA 22207‐4224
MARYN L MACKEY                     6808 STATE RT 45 NW                                                                                          BRISTOLVILLE       OH 44402
MARYNELL BROWN                     2133 E BRISTOL RD                                                                                            BURTON             MI 48529‐1320
MARYNIEWSKI, DANIEL C              4 PETAN DR                                                                                                   CHEEKTOWAGA        NY 14225‐4237
MARYON WILLIAMS
MARYON, JOSEPH J                 619 MICHIGAN AVE                                                                                               MARYSVILLE        MI   48040‐1113
MARYON, JOSEPH J.                619 MICHIGAN AVE                                                                                               MARYSVILLE        MI   48040‐1113
MARYON, MARGARET                 252 QUAIL PKWY                                                                                                 OROVILLE          CA   95966‐5710
MARYPERINA SPRINGER              126 W 9TH ST                                                                                                   NEW CASTLE        DE   19720‐6077
MARYROSE WOODWORTH               7221 LEWIS RD                                                                                                  MOUNT MORRIS      MI   48458‐2229
MARYROSE ZELLERS                 504 MONTICELLO DR                                                                                              VINCENNES         IN   47591‐5111
MARYSE LAPLANTE                  1378 WILLOWBROOK DR SW                                                                                         MARIETTA          GA   30064‐4151
MARYSTEL APPLETON TTEE           WILLIAM APPLETON REV TRUST SHARE #1   2103 HARRISBURG RD                                                       JONESBORO         AR   72401
                                 DTD 04/03/01
MARYSUE LASZACS                  1444 BLUNT ST                                                                                                  MINERAL RIDGE     OH   44440‐9705
MARYSUE M LASZACS                1444 BLUNT STREET                                                                                              MINERAL RIDGE     OH   44440
MARYSVILLE CAR CARE              2929 GRATIOT BLVD                                                                                              MARYSVILLE        MI   48040‐1487
MARYSVILLE PLASTICS              SHEILA SOLECZAK                       BLUE WATER PLASTICS, INC.   315 CUTTLE ROAD                              FINDLAY           OH   45840
MARYSVILLE PLASTICS              SHEILA SOLECZAK                       315 CUTTLE RD               BLUE WATER PLASTICS, INC.                    MARYSVILLE        MI   48040‐1804
MARYSVILLE TIRE & AUTO INC.      291 RANGE RD                                                                                                   SMITHS CREEK      MI   48074‐4542
MARYSVILLE TIRE & AUTO INC.      281 RANGE RD                                                                                                   SMITHS CREEK      MI   48074
MARYSVILLE/1513 BUSH             1513 BUSHA HWY.                                                                                                MARYSVILLE        MI   48040
MARYVALE SCHOOL SYSTEM COMMUNITY 777 MARYVALE DR                                                                                                BUFFALO           NY   14225‐2712
EDUCATION
MARYVILLE COLLEGE                502 E LAMAR ALEXANDER PKWY                                                                                     MARYVILLE         TN 37804‐5907
MARYVILLE UNIVERSITY             650 MARYVILLE UNIVERSITY DR                                                                                    SAINT LOUIS       MO 63141‐5849
MARYVILLE UNIVERSITY OFFICE OF   650 MARYVILLE UNIVERSITY DR                                                                                    SAINT LOUIS       MO 63141‐5849
STUDENT ACCOUNTS
MARYWOOD UNIVERSITY              CASHIERS OFFICE                                                                                                SCRANTON          PA   18509
MARZ II, RONALD L                3974 MILDRED ST                                                                                                WAYNE             MI   48184‐1913
MARZ, CHARLES F                  35800 ASH RD                                                                                                   NEW BOSTON        MI   48164‐9634
MARZ, HERBERT L                  14015 PEE DEE RD S                                                                                             GALIVANTS FERRY   SC   29544‐9053
MARZ, MICHAEL D                  8895 RACHAEL DR                                                                                                DAVISBURG         MI   48350‐1726
MARZ, MICHELLE I                 133 N PLEASANT AVE                                                                                             NILES             OH   44446‐1136
MARZ, RENE C                     1837 HAVERHILL DR                                                                                              LAPEER            MI   48446‐9792
MARZ, ROBERT W                   133 N PLEASANT AVE                                                                                             NILES             OH   44446‐1136
MARZ, RONALD L                   14148 CONOVER PL                                                                                               ROMULUS           MI   48174‐1027
MARZAHL, LESLIE D                670 SKYVIEW DR                                                                                                 MILTON            WI   53563‐1657
MARZAHN CODY                     MARZAHN, CODY                         1218 W 1ST ST                                                            REDFIELD          SD   57469‐1612
MARZAHN, CODY                    1218 W 1ST ST                                                                                                  REDFIELD          SD   57469‐1612
MARZANO A                        PO BOX 178                                                                                                     JUNE LAKE         CA   93529‐0178
MARZANO VINCENT M SR (489843)    WEITZ & LUXENBERG                     180 MAIDEN LANE                                                          NEW YORK          NY   10038
MARZANO, ANTHONY                 7063 PAXTON RD                                                                                                 YOUNGSTOWN        OH   44512‐4802
MARZANO, FLORENCE M              415 KINGSTON DR.                                                                                               NEW LENOX         IL   60451‐1526
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Name                        Address1                        Address2           Address3        Address4         City            State Zip
MARZANO, FRED               32689 STEFANO DR                                                                    BROWNSTOWN       MI 48173‐8631
MARZANO, JORDAN             415 KINGSTON DR                                                                     NEW LENOX         IL 60451‐1526
MARZANO, VINCE              4690 LEFFINGWELL RD                                                                 CANFIELD         OH 44406‐9130
MARZANO, VINCENT L          4690 LEFFINGWELL RD                                                                 CANFIELD         OH 44406‐9130
MARZANO, VINCENT M          WEITZ & LUXENBERG               180 MAIDEN LANE                                     NEW YORK         NY 10038
MARZANO, YVONNE             4690 LEFFINGWELL RD                                                                 CANFIELD         OH 44406‐9130
MARZANO, YVONNE M           4690 LEFFINGWELL RD                                                                 CANFIELD         OH 44406‐9130
MARZARI, LAURENCE A         228 W ANAPAMU ST APT N                                                              SANTA BARBARA    CA 93101‐3643
MARZBAN, ABRAHAM S          4500 LOHR RD                                                                        ANN ARBOR        MI 48108‐9532
MARZEC RICHARD J (475165)   ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                    BETHLEHEM        PA 18018
MARZEC, ANGELINE L          413 KOONS AVENUE                                                                    BUFFALO          NY 14211‐2315
MARZEC, ANGELINE L          413 KOONS AVE                                                                       BUFFALO          NY 14211‐2315
MARZEC, CANDACE P           2061 MONTANA AVE                                                                    SAGINAW          MI 48601‐5312
MARZEC, DANIEL P            2424 BLACKMORE ST                                                                   SAGINAW          MI 48602‐3513
MARZEC, DANIEL PAUL         2424 BLACKMORE ST                                                                   SAGINAW          MI 48602‐3513
MARZEC, DEBRA L             14521 IDLEBROOK CT                                                                  MANASSAS         VA 20112‐4045
MARZEC, DOUGLAS J           8080 ROSEVILLE LN                                                                   EAST AMHERST     NY 14051‐1902
MARZEC, DOUGLAS JAMES       8080 ROSEVILLE LN                                                                   EAST AMHERST     NY 14051‐1902
MARZEC, ELLEN M             5936 STUMPH RD APT 211                                                              PARMA            OH 44130‐1759
MARZEC, FLORENCE            100 S JEFFERSON AVE STE 102     NAW COUNTY INC                                      SAGINAW          MI 48607‐1274
MARZEC, FRANCES T           8531 APPLE BLOSSOM LN                                                               FLUSHING         MI 48433‐1113
MARZEC, JESSE P             25 GLENDALE TERRACE                                                                 ORCHARD PARK     NY 14127‐2333
MARZEC, JOSEPH S            3538 CEDARDALE CT                                                                   TOLEDO           OH 43623‐1826
MARZEC, RAYMOND P           57 HACKETT DR                                                                       TONAWANDA        NY 14150‐5238
MARZEC, RENEE               110 FAIRELM LN                                                                      BUFFALO          NY 14227‐1366
MARZEC, RICHARD J           ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                    BETHLEHEM        PA 18018
MARZEC, STEVEN R            30 CHEROKEE DR                                                                      WEST SENECA      NY 14224‐4736
MARZEC, STEVEN RON          30 CHEROKEE DR                                                                      WEST SENECA      NY 14224‐4736
MARZEC, THOMAS J            7560 JACKMAN ROAD                                                                   TEMPERANCE       MI 48182‐9278
MARZEC, THOMAS JOSEPH       7560 JACKMAN ROAD                                                                   TEMPERANCE       MI 48182‐9278
MARZEC, VIRGINIA            42477 LILLEY POINT                                                                  CANTON           MI 48187
MARZEE CANNON               1070 KENILWORTH AVE SOUTHEAST                                                       WARREN           OH 44484‐4915
MARZEE O CANNON             3073 EDISON N.W.                                                                    WARREN           OH 44483‐2217
MARZELL BROWN               7020 MONTE CARLO DR                                                                 ENGLEWOOD        OH 45322
MARZELL MOZINGO             4624 DEVER DR                                                                       MARTINEZ         GA 30907‐4213
MARZELL SMITH               910 DAVIS RD                                                                        ALBERTVILLE      AL 35951‐7838
MARZELL SR, HOWARD          343 E QUEEN WAY                                                                     SPARKS           NV 89431‐1267
MARZELL UNDERWOOD           3741 EDGEWATER DR                                                                   NASHVILLE        TN 37217‐4619
MARZELL, JOHN A             13 CANNON HILL RD                                                                   ROCHESTER        NY 14624‐4222
MARZELLA FENNER             1903 FAIRVIEW ST                                                                    ANDERSON         IN 46016‐4141
MARZELLA THOMAS             17352 WISCONSIN ST                                                                  DETROIT          MI 48221‐2502
MARZELLA, UGO               1245 DERBY                                                                          BIRMINGHAM       MI 48009
MARZELLE MC DONALD          20491 BALFOUR ST APT 2                                                              HARPER WOODS     MI 48225‐1557
MARZEN TOWING & AUTO        1105 S GRAND AVE                                                                    CHARLES CITY      IA 50616‐3738
MARZETT, ANNETTE            PO BOX 214                                                                          FLINT            MI 48501‐0214
MARZETT, JAMIE S            1801 E 16TH ST                                                                      KANSAS CITY      MO 64127‐2513
MARZETT, JAMIE STEWART      1801 E 16TH ST                                                                      KANSAS CITY      MO 64127‐2513
MARZETT, JANET              1801 E 16TH ST                                                                      KANSAS CITY      MO 64127‐2513
MARZETT, JANET              1801 E 16TH                                                                         KANSAS CITY      MO 64127‐2513
MARZETT, ROSEMARY M         PO BOX 6868                                                                         DETROIT          MI 48206‐0868
MARZETTA SHELTON            1560 N FREEMAN                                                                      MESA             AZ 85201‐2612
MARZETTA, KEVIN M           597 DOUGLAS WAY                                                                     TIPP CITY        OH 45371‐1240
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Name                          Address1                        Address2                          Address3   Address4         City            State Zip
MARZETTE RYAN                 218 BLACK ROCK SCHOOL RD                                                                      CHERRYVILLE      NC 28021‐9520
MARZETTE, DORIS J             141 LISCUM DR                                                                                 DAYTON           OH 45427‐2802
MARZETTE, GERALDINE           PO BOX 991                                                                                    FLINT            MI 48501‐0991
MARZETTE, JOANN               609 W PATERSON ST                                                                             FLINT            MI 48503‐5161
MARZETTE, JOHNNY I            3718 RACE ST                                                                                  FLINT            MI 48504
MARZETTE, LUELLA              3718 RACE ST                                                                                  FLINT            MI 48504
MARZETTE, OLLIE               60 W ADAMS ST                                                                                 LONG BEACH       CA 90805‐2102
MARZETTE, ROBERT P            609 W PATERSON ST                                                                             FLINT            MI 48503‐5161
MARZETTI, EULA M              3724 NICHOLAS RD                                                                              DAYTON           OH 45408‐2325
MARZEWSKI, RODERICK S         17340 WALL STREET                                                                             MELVINDALE       MI 48122‐1286
MARZI, BARBARA J              5373 COURTNEY RD                                                                              MONTROSE         MI 48457‐9612
MARZI, SANDRA M               71 HICKORY RDG                                                                                DAVISON          MI 48423‐9167
MARZIA FATEMA                 159 GLENSHIRE DR                                                                              TROY             MI 48085‐5542
MARZIAN THEODORE J (429384)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA 23510
                                                              STREET, SUITE 600
MARZIAN, THEODORE J           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510‐2212
                                                              STREET, SUITE 600
MARZIANI, ERCOLE              332 E KLINE ST                                                                                GIRARD          OH   44420‐2624
MARZIANI, JOSHUA              408 BRUNSTETTER RD SW                                                                         WARREN          OH   44481‐9639
MARZIELLA CERRETO             142 STONEHENGE TER                                                                            CLARK           NJ   07066‐2033
MARZION, JOHN B               1849 MISTY MEADOW LN                                                                          LAPEER          MI   48446‐9403
MARZLUFT, JAMES V             2405 S BRENNAN RD                                                                             HEMLOCK         MI   48626‐8748
MARZO, SHEILA A               5057 ESCARPMENT DRIVE                                                                         LOCKPORT        NY   14094
MARZOCCO, EVA MAY             60 N GRANT AVE                                                                                COLONIA         NJ   07067‐2225
MARZOLF, ALLEN J              4607 CHESTNUT RIDGE RD APT E                                                                  AMHERST         NY   14228‐3330
MARZOLF, ROLAND E             801 ISLAND DR APT 324                                                                         ALAMEDA         CA   94502‐6765
MARZOLO, DOLORES A            1938 BEAVER                                                                                   DEARBORN        MI   48128‐1405
MARZONE JOHNSON               404 S DIVISION ST                                                                             CAYUGA          IN   47928‐8158
MARZONIE, FRANCES C           8535 GALLANT FOX TRL                                                                          FLUSHING        MI   48433‐8804
MARZONIE, MICHAEL W           2209 BLACKTHORN DR                                                                            BURTON          MI   48509‐1203
MARZOUQ, ANGEAL               28841 BOSTON ST                                                                               ST CLAIR SHRS   MI   48081‐1096
MARZOUQ, KHADER G             18992 BONDIE DR                                                                               ALLEN PARK      MI   48101‐1229
MARZOUQ, MICHAEL O            8688 VIRGIL ST                                                                                DEARBORN HTS    MI   48127‐1524
MARZOVILLA, JENNIE M          189 BEECHWOOD DR                                                                              ROCHESTER       NY   14606‐5507
MARZOVILLA, KEVIN N           128 ATWELL ST                                                                                 ROCHESTER       NY   14612
MARZOVILLA, PAUL C            46 GLEN OAKS DR                                                                               ROCHESTER       NY   14624‐1444
MARZOVILLA, VICTOR P          61 LANDSTONE TER                                                                              ROCHESTER       NY   14606‐4358
MARZULA DO                    30 ERIE CANAL DRIVE                                                                           ROCHESTER       NY   14626
MARZULLI, FELIX               276 MERRICK RD                                                                                FARMINGDALE     NJ   07727‐3586
MARZULLO JEANNE M             MARZULLO, JEANNE M              463 SEVENTH AVENUE , 16TH FLOOR                               NEW YORK        NY   10118

MARZULLO, BENJAMIN M          311 HIGHGATE AVE                                                                              BUFFALO         NY   14215‐1025
MARZULLO, JOSEPH              83 HICKORY GROVE LANE                                                                         BUFFALO         NY   14227‐3387
MARZULLO, JOSEPH              285 CRESTMOUNT AVENUE           APT 146                                                       TONAWANDA       NY   14150
MARZULLO, TODD A              2320 STRAWFORK DRIVE                                                                          FORT COLLINS    CO   80525‐3525
MARZUQ RAHMAAD                8215 E POTTER RD                                                                              DAVISON         MI   48423‐8186
MAS AIR SYSTEMS LLC           2008 COUNTY LINE RD                                                                           NEW CASTLE      PA   16101‐3012
MAS INC                       PO BOX 526                      2718 BRECKSVILLE RD                                           RICHFIELD       OH   44286‐0526
MAS INC                       2718 BRECKSVILLE RD             PO BOX 526                                                    RICHFIELD       OH   44286‐9735
MASA'S FOREIGN CAR SERVICE    1736 HAKUAINA PL                                                                              HONOLULU        HI   96819‐1645
MASA'S FOREIGN CAR SERVICE    244 KALIHI ST                                                                                 HONOLULU        HI   96819‐3928
MASACEK, RONALD A             364B BEN ALBERT RD                                                                            COTTONTOWN      TN   37048‐5152
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Name                         Address1                        Address2                          Address3   Address4         City               State Zip
MASAITIS, ALBERT J           993 S.ALBRIGHT‐MCKAY                                                                          BROOKFIELD          OH 44403‐4403
MASAITIS, ALBERT J           993 ALBRIGHT MCKAY RD SE                                                                      BROOKFIELD          OH 44403‐9772
MASAITIS, ALEXANDER A        22077 BEECH ST APT 1103                                                                       DEARBORN            MI 48124‐2858
MASAITIS, BETTIE P           993 ALBRIGHT MCKAY SOUTH EAST                                                                 BROOKFIELD          OH 44403‐4403
MASAITIS, DIANE H            2154 KNAPP DR                                                                                 CORTLAND            OH 44410‐1763
MASAITIS, GREGORY A          1794 BEECHWOOD ST. NE                                                                         WARREN              OH 44483‐4483
MASAITIS, GREGORY A          2154 KNAPP DR                                                                                 CORTLAND            OH 44410‐1763
MASAJI KAJIKI                9269 TELFAIR AVE                                                                              SUN VALLEY          CA 91352‐1328
MASAK, GWENDOLYN A           11111 RIVER HILLS DR APT 308                                                                  BURNSVILLE          MN 55337‐3273
MASAKI'S AUTO REPAIR         2211 S BERETANIA ST                                                                           HONOLULU            HI 96826‐1409
MASAKI, ICHIRO               73 GUGGINS LN                                                                                 BOXBOROUGH          MA 01719
MASAKO KEENER                1218 BAY CT                                                                                   HOLLY               MI 48442‐1908
MASAKOWSKI, HENRY            37761 ANDREW DR                                                                               STERLING HEIGHTS    MI 48312‐1823
MASALKOSKI, RONALD E         4645 DONCASTER AVE                                                                            HOLT                MI 48842‐2084
MASALMEH, JAMAL A            15355 SW GREENFIELD DR                                                                        PORTLAND            OR 97224‐3816
MASAMI SAKITA
MASANO, RAYMOND A            169 RUTLEDGE AVE                                                                              HAWTHORNE          NY   10532
MASANO, RAYMOND A            604 LAKEVIEW CT                                                                               SPRING HILL        TN   37174‐2585
MASANZ, BERNIECE K           3455 E RUTH ELLEN LN                                                                          OAK CREEK          WI   53154‐4140
MASANZ, DAVID                2600 RICE CREEK TER                                                                           NEW BRIGHTON       MN   55112‐5039
MASANZ, GEORGE E             9448 W MITCHELL ST                                                                            WEST ALLIS         WI   53214‐4153
MASAOKA, MARK T              3060 ST GEORGE ST                                                                             LOS ANGELES        CA   90027‐2517
MASAR, ALFRED D              2276 E RIDGE RD                                                                               PRESCOTT           MI   48756‐9117
MASAR, KAY E                 2513 HIGHLAND TRL                                                                             WEST BRANCH        MI   48661‐9334
MASAR, LAURA                 4361 LOCHS LN                                                                                 BRUNSWICK          OH   44212‐6815
MASAREK, STEPHEN             101 HOMESTEAD VLG APT 46                                                                      FAIRHOPE           AL   36532‐2977
MASARICK, EDITH B            3376 E MARKET ST                                                                              WARREN             OH   44484‐4630
MASARICK, EDITH B            1144 DODGE DR NW                                                                              WARREN             OH   44485‐1966
MASARIK I I I, JOSEPH S      403 MATTHES AVE                                                                               WILMINGTON         DE   19804‐1426
MASARIK, DAVID W             1000 N CLINTON AVE                                                                            SAINT JOHNS        MI   48879‐1042
MASARIK, KELLY               607 PARKVIEW DR                                                                               SAINT JOHNS        MI   48879‐2185
MASARIK, ROSS A              607 PARKVIEW DR                                                                               SAINT JOHNS        MI   48879‐2185
MASARIK, RUDOLPH W           200 FLORAL AVE                                                                                SAINT JOHNS        MI   48879‐1048
MASARRAT HUSAIN & D ZOBERI   4084 NOBLEMAN POINT                                                                           DULUTH             GA   30097
MASARU MONJI                 2507 MICHAEL DR                                                                               NEWBURY PARK       CA   91320‐3235
MASARWEH, SAMIR T            14667 LOYOLA ST                                                                               MOORPARK           CA   93021‐2557
MASASHI OHTSUBO
MASBAH AHMMED                1122 SADDLEBROOK CT N                                                                         SAINT CHARLES      MO   63304‐2420
MASCARELLA DONALD (507563)   COON BRENT W                    PO BOX 4905                                                   BEAUMONT           TX   77704‐4905
MASCARELLA, AUDREY           2515 HESSING ST                                                                               RIVER GROVE        IL   60171‐1727
MASCARELLA, AUDREY           2515 N HESSING ST                                                                             RIVER GROVE        IL   60171‐1727
MASCARELLA, DONALD           COON BRENT W                    PO BOX 4905                                                   BEAUMONT           TX   77704‐4905
MASCARELLA, MICHAEL C        4299 HEATHERSTONE DR                                                                          WATERFORD          MI   48329‐2391
MASCARELLA, ROSE W           2467 DATSON AVE                                                                               YOUNGSTOWN         OH   44505‐3623
MASCARELLO, JOHN J           18989 LAUREL DR                                                                               LIVONIA            MI   48152‐4801
MASCARENA, CARMEN            133 NORTH CANTON ROAD                                                                         CANTON             NC   28716‐3113
MASCARI LINDA (639378)       BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                   WILMINGTON         DE   19899‐2165
MASCARI, JOHN H              102 SMITH ST                                                                                  WESTVILLE          IL   61883‐6083
MASCARI, LINDA               BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                   WILMINGTON         DE   19899‐2165
MASCARI, TERRY K             102 SMITH ST                                                                                  WESTVILLE          IL   61883‐6083
MASCARO DONNA                MASCARO, DONNA                  30 EAST BUTLER PIKE , SUITE 310                               AMBLER             PA   19002
MASCARO, DONNA               KIMMEL & SILVERMAN PC           30 EAST BUTLER PIKE, SUITE 310                                AMBLER             PA   19002
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Name                              Address1                        Address2                  Address3   Address4         City               State Zip
MASCARO‐PORTER & CO               CALLE SEGARRA ESQ BLAY                                                                OLD SAN JUAN        PR 00902
MASCELLA, ANDREW M                5263 MELODY LN                                                                        WILLOUGHBY          OH 44094‐4315
MASCELLA, STEVE G                 235 SAINT LAWRENCE BLVD                                                               EASTLAKE            OH 44095‐1134
MASCENIK, EDWARD                  22 BEAR ISLAND DR                                                                     BARNEGET            NJ 08005
MASCENIK, EDWARD                  10703 PEARL BAY CIR                                                                   ESTERO              FL 33928‐2481
MASCERI                           2422 BRISTOL RD                                                                       BENSALEM            PA 19020‐6002
MASCH JR, LOUIS F                 11117 GRENADA DR                                                                      STERLING HTS        MI 48312‐4955
MASCH, DAVID R                    20730 KENNOWAY CIR                                                                    BEVERLY HILLS       MI 48025‐3846
MASCH, JOYCE M                    208 WHITE ST                                                                          BLISSFIELD          MI 49228‐1344
MASCH, ROGER W                    5216 88TH ST E                                                                        BRADENTON           FL 34211‐3714
MASCHAK, ANDREW N                 4360 DIXON DR                                                                         SWARTZ CREEK        MI 48473‐8222
MASCHAS, MARILYN S                2124 WATERCREST CIR                                                                   LAWRENCEVILLE       GA 30043‐5469
MASCHAS, MARILYN S                1000 DULUTH HWY APT 503                                                               LAWRENCEVILLE       GA 30043‐7085
MASCHER, STEVEN L                 5620 S MERIDIAN ST                                                                    INDIANAPOLIS        IN 46217‐2711
MASCHGAN, BRYAN N                 1515 CELIA CT                                                                         NILES               OH 44446‐3805
MASCHGER, DANIEL J                1905 SW 4TH ST                                                                        LEES SUMMIT         MO 64081‐2331
MASCHGER, DANIEL JOSEPH           1905 SW 4TH ST                                                                        LEES SUMMIT         MO 64081‐2331
MASCHHOFF, JEFFREY A              420 RANDLE ST                                                                         EDWARDSVILLE         IL 62025
MASCHING, GARY J                  20477 STAFFORD ST                                                                     CLINTON TOWNSHIP    MI 48035‐4065
MASCHINO, CHARLOTT                1516 HERON RIDGE BLVD                                                                 GREENWOOD           IN 46143‐7891
MASCHINO, EARL D                  6545 RIDGEWAY DR                                                                      MOORESVILLE         IN 46158‐8764
MASCHINO, ROBERT B                12483 KNIFFEN RD                                                                      BRITTON             MI 49229‐9780
MASCHKE DARELL G                  MASCHKE, DARELL G               2000 TOWN CTR STE 900                                 SOUTHFIELD          MI 48075‐1142
MASCHKE DARRELL                   16 CAVANAUGH LAKE RD                                                                  CHELSEA             MI 48118‐9732
MASCHKE, DARRELL G                16 CAVANAUGH LAKE RD                                                                  CHELSEA             MI 48118‐9732
MASCHKE, HERBERT C                3899 HARMON DR                                                                        FREMONT             MI 49412‐7717
MASCHKE, VIVIAN                   2461 S BELSAY RD                                                                      BURTON              MI 48519‐1217
MASCHLER, JAMES E                 1714 NE CLUB HOUSE DR APT 301                                                         KANSAS CITY         MO 64116‐3128
MASCHO, CLYDE J                   7000 W ST JOE HWY                                                                     LANSING             MI 48917‐9647
MASCHO, LARRY G                   3 MORRISON LAKE GDNS                                                                  SARANAC             MI 48881‐9705
MASCHO, LARRY GILBERT             3 MORRISON LAKE GDNS                                                                  SARANAC             MI 48881‐9705
MASCHOFF DESIGN ENGINEERING IN    1325 KENILWORTH DR                                                                    SAINT PAUL          MN 55125‐2354
MASCHOFF DESIGN ENGINEERING INC   1325 KENILWORTH DR                                                                    WOODBURY            MN 55125‐2354
MASCHOFF, DAVID T                 5544 NORTHCREST VILLAGE DR                                                            CLARKSTON           MI 48346‐2795
MASCHOFF, GEORGE T                35 BRANTLEY WAY                                                                       PENFIELD            NY 14526‐2858
MASCHUCK, JOHN                    156 FREDRICK RD                                                                       PAXINOS             PA 17860‐9710
MASCHUCK, JOHN                    156 FREDERICK RD                                                                      PAXINOS             PA 17860‐7228
MASCI MICHAEL                     MASCI, MICHAEL                  3131 MEETING HOUSE ROAD                               BOOTHWYN            PA 19061
MASCI, MICHAEL                    3131 MEETINGHOUSE RD APT W13                                                          UPPER CHICHESTER    PA 19061
MASCIA, DOMINIC                   44115 MEADOWLAKE DR                                                                   STERLING HTS        MI 48313‐1136
MASCIA, RITA A                    78 JOSEPH ST                                                                          CHEEKTOWAGA         NY 14225‐4406
MASCIANGELO, ALFRED P             7744 SUTTON PL NE                                                                     WARREN              OH 44484‐1455
MASCIANGELO, MARY C               4100 N RIVER ROAD               APT#103                                               WARREN              OH 44484
MASCIANGELO, NICHOLAS             107 CAMROSE DR                                                                        NILES               OH 44446‐2129
MASCIANTONIO, ANGELO              319 HARVEY CIR                                                                        KENNETT SQ          PA 19348‐3454
MASCIANTONIO, FRANCESCO S         205 CENTER ST                                                                         KENNETT SQ          PA 19348‐3207
MASCIARELLI, ALICE M              26131 STILLWATER CIR                                                                  PUNTA GORDA         FL 33955‐4730
MASCIBRODA, DANIEL J              714 BEAUMONT RD                                                                       FAIRLESS HILLS      PA 19030‐2422
MASCIO, ANTHONY                   9386 NORTH PARKWOOD DRIVE                                                             DAVISON             MI 48423
MASCIO, DELORES F                 9386 PARKWOOD N                                                                       DAVISON             MI 48423‐1753
MASCIO, JAMES                     10021 HARPFER DR                                                                      HARRISON            MI 48625‐8700
MASCIO, PASQUALE                  10031 HARPFER DR                                                                      HARRISON            MI 48625‐8700
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Name                                Address1                          Address2                          Address3   Address4               City               State Zip
MASCIOLI, MARY                      44540 MATHISON DRIVE                                                                                  STERLING HEIGHTS    MI 48314‐1587
MASCIOVECCHIO, LESLIE J             25907 FRANCES LN                                                                                      NEW BOSTON          MI 48164‐9176
MASCITTI AMEDEO (328923)            BROOKMAN ROSENBERG BROWN &        17TH FLR, ONE PENN SQUARE WEST,                                     PHILADELPHIA        PA 19102
                                    SANDLER                           30 SOUTH 15TH STREET
MASCITTI, AMENDO                    BROOKMAN ROSENBERG BROWN &        17TH FLR, ONE PENN SQUARE WEST,                                     PHILADELPHIA       PA 19102
                                    SANDLER                           30 SOUTH 15TH STREET
MASCITTI, MARY                      553 MCHENRY #261                                                                                      WHEELING           IL   60090‐3899
MASCO CORP                          21001 VAN BORN RD                                                                                     TAYLOR             MI   48180‐1340
MASCO CORPORATION                   21001 VAN BORN RD                                                                                     TAYLOR             MI   48180‐1340
MASCO CORPORATION & SUBSIDIARIES    NEIL O'DONNELL                    21001 VAN BORN RD                                                   TAYLOR             MI   48180‐1340

MASCO CORPROATION                   21001 VAN BORN RD                                                                                     TAYLOR             MI   48180‐1340
MASCO FORM/MINERVA                  9312 ARROW RD NW                  DIV. OF MASCO INDUSTRIES, INC.                                      MINERVA            OH   44657‐8742
MASCO TECH/AUBURN HI                275 REX BLVD                                                                                          AUBURN HILLS       MI   48326‐2954
MASCOLA EDWARD (464960)             EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                             NEW YORK           NY   10017‐6530
MASCOLA, EDWARD                     EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                             NEW YORK           NY   10017‐6530
MASCOLO, VINCENZA A                 6 HILLSIDE CIR                                                                                        BROOKFIELD         CT   06804‐1915
MASCOMA CORPORATION                 67 ETNA RD #300                                                                                       LEBANON            NH   03766‐1466
MASCOMA CORPORATION                 1380 SOLDIERS FIELD ROAD                                                                              BOSTON             MA   02135
MASCORENO FERRELL                   18315 WARWICK ST                                                                                      DETROIT            MI   48219‐2817
MASCORRO, ELEAZAR                   3821 W 63RD PL                                                                                        CHICAGO            IL   60629‐4752
MASCORRO, PEDRO                     4300 W 53RD ST                                                                                        CHICAGO            IL   60632‐4607
MASCORRO, ROGELIO                   1213 CLARENCE ST                                                                                      FORT WORTH         TX   76117‐6220
MASCORRO, SALLY                     5656 SOUTH S. HOMAN                                                                                   CHICAGO            IL   60629
MASCORRO, SUSAN H                   6490 EASTLAWN AVE                                                                                     CLARKSTON          MI   48346‐2422
MASCOTECH INDUSTRIAL COMPONENTS     21800 HAGGERTY RD STE 110                                                                             NORTHVILLE         MI   48167‐9051

MASCOTECH MARK/AUBUR                1972 BROWN RD                                                                                         AUBURN HILLS       MI 48326‐1701
MASCOTECH SINTERED COMPONENT S DE   BLVD INDUSTRIAS DE LA             TRANSFORMACION 3120 PARQUE                   RAMO ARIZPE CZ 25900
R                                                                     INDSTRL                                      MEXICO
MASCOTECH/ROYAL OAK                 2727 W 14 MILE RD                                                                                     ROYAL OAK          MI   48073‐1712
MASCOTECH/WARREN                    26700 HAGGERTY RD                 INALFA‐HOLLANDIA INC.                                               FARMINGTON HILLS   MI   48331‐5714
MASCOW, CYNTHIA V                   1804 BRENTWOOD DR                                                                                     TROY               MI   48098‐2622
MASCULOSKELETAL INST                1500 LINE AVE STE 204                                                                                 SHREVEPORT         LA   71101‐4648
MASDEN KENNETH S (467019)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA   23510
                                                                      STREET, SUITE 600
MASDEN, KENNETH S                   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA 23510
                                                                      STREET, SUITE 600
MASEDA, ROBERT
MASEK RAYMOND J                     183 W MARKET ST STE 300                                                                               WARREN             OH   44481
MASEK, BARBARA P                    6539 TAMARACK DR                                                                                      TROY               MI   48098‐1903
MASEK, GLADYS K                     1138 LOCUST CT                    C/O GORDON J STEPANEK                                               BARTLETT           IL   60103‐1662
MASEK, JESSIE M                     4476 CALLE MAPACHE                                                                                    CAMARILLO          CA   93012‐0941
MASEK, OTTO J                       PO BOX 1996                                                                                           RCHO SANTA FE      CA   92067‐1996
MASEK, WILLIAM                      7234 NORMANDY DR                                                                                      PARMA              OH   44134‐5436
MASELES, VIOLET E                   3625 CUMMINGS AVE                                                                                     BERKLEY            MI   48072‐3103
MASELL, JOHN E                      1712 DUBLIN CT                                                                                        SPRING HILL        TN   37174‐9506
MASELLA'S AUTO REPAIR               823 US 41 BYPASS SOUTH                                                                                VENICE             FL   34285
MASELLA, CONCETTINA C               3 JOHN PLACE                                                                                          PORTLAND           CT   06480‐1208
MASELLA, CONCETTINA C               3 JOHN PL                                                                                             PORTLAND           CT   06480‐1208
MASELLA, DINO A                     3209 YELLOWSTONE CT                                                                                   LAKE ORION         MI   48360‐1044
MASELLA, NINO                       45626 CUMBERLAND ST                                                                                   SHELBY TOWNSHIP    MI   48317‐4606
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Name                            Address1                      Address2               Address3      Address4         City            State Zip
MASELLA, PATRICIA               15870 CHESTNUT                                                                      ROSEVILLE        MI 48066‐2732
MASELLI SR, DONALD J            1550 NORTHCREST AVE                                                                 COLUMBUS         OH 43220
MASELLI, ANTHONY J              2601 LANCE RIDGE WAY                                                                BUFORD           GA 30519‐2299
MASELLI, DANNY A                2715 HARBINS MILL DR                                                                DACULA           GA 30019‐1992
MASELLO'S AUTO SERVICE          1201 BURNET AVE                                                                     SYRACUSE         NY 13203‐3211
MASELLO, ANTHONY V              4839 COUNTY LINE RD                                                                 NEW CASTLE       PA 16101‐8387
MASELLO, ESTELLE                1316 IROQUOIS AVE                                                                   MAYFIELD HTS     OH 44124‐1543
MASELLO, MARY M                 416 COOLIDGE DR                                                                     HERMITAGE        PA 16148‐9317
MASEN, RACHAEL J                5990 BORDMAN RD                                                                     LEONARD          MI 48367‐1442
MASENGALE, BRANDEN              527 KING ST                                                                         IONIA            MI 48846‐1034
MASENGALE, BRENT S              PO BOX 320                                                                          IONIA            MI 48846‐0320
MASENGALE, BRIAN R              1810 WELCH RD                                                                       IONIA            MI 48846‐9637
MASENGALE, JOYCE E              1261 KELLOGG RD                                                                     IONIA            MI 48846‐9636
MASENGALE, RAYMOND T            2306 PURSER RD                                                                      DAYTON           TN 37321‐5149
MASER, DANIEL J                 3464 THOMPSON RD                                                                    FENTON           MI 48430
MASER, JANET L                  7790 SAUNDERS                                                                       BENTLEY          MI 48613‐9622
MASER, JANET L                  7790 SAUNDERS RD                                                                    BENTLEY          MI 48613‐9622
MASER, JOHN P                   874 N LEROY ST                                                                      FENTON           MI 48430‐2740
MASER, JOHN W                   12126 JENNINGS RD                                                                   LINDEN           MI 48451‐9476
MASESSA, CHARLOTTE              128 SCHOOL STREET             APT 2G                                                UNITY            ME 04988
MASEY, LILLIAN                  615 SOMERSET DRIVE                                                                  FLUSHING         MI 48433‐1926
MASH RANDALL                    MASH, RANDALL                 PO BOX 1635                                           JEFFERSON        NC 28640‐1635
MASH RANDALL                    PINNO PONTIAC BUICK INC       PO BOX 20                                             OXFORD           PA 19363‐0020
MASH, CLARENCE K                2889 US HIGHWAY 67 APT 7                                                            FARMINGTON       MO 63640‐9194
MASH, EDNA J                    1335 OPAL CIR                                                                       LAWRENCEVILLE    GA 30043‐5877
MASH, LILA J                    9538 GENESEE RD                                                                     MILLINGTON       MI 48746‐9731
MASH, MARY E                    115 JONATHAN ST APT 401                                                             HAGERSTOWN       MD 21740‐3317
MASH, MARY E                    115 N. JONATHAN ST.           APT. 401                                              HAGERSTOWN       MD 21740‐3767
MASH, ODIE W                    3354 JEROME LN                ATRIUM HEALTH CENTER                                  CAHOKIA           IL 62206‐2604
MASH, PERCY A                   9538 GENESEE RD                                                                     MILLINGTON       MI 48746‐9731
MASH, RANDALL                   PO BOX 1635                                                                         JEFFERSON        NC 28640‐1635
MASHAK, MARK M                  1700 JESSOP RD                                                                      DANSVILLE        MI 48819‐9615
MASHAL, ISSAM M                 5288 WINDMILL DR                                                                    TROY             MI 48085‐6731
MASHATT, RICHARD K              2158 LAKEVIEW DR APT 262                                                            YPSILANTI        MI 48198‐6739
MASHAW JR, MINOR E              6349 GARDEN OAKS DR                                                                 SHREVEPORT       LA 71129‐3301
MASHAW, RICHARD A               1051 CARROLLTON AVENUE                                                              METAIRIE         LA 70005‐2351
MASHBERN HERSCHEL               6714 HICKORY MANOR CIR                                                              CHATTANOOGA      TN 37421‐7003
MASHBURN I V, JAMES W           1808 NORTHWOOD DR                                                                   ALBANY           GA 31721‐2169
MASHBURN IV, JAMES WASHINGTON   1808 NORTHWOOD DR                                                                   ALBANY           GA 31721‐2169
MASHBURN JR, FRANCIS D          22517 W STATE HIGHWAY D                                                             MARTINSVILLE     MO 64467‐8193
MASHBURN LUCILLE A              1258 NW WOODBURY PL                                                                 GRAIN VALLEY     MO 64029‐8616
MASHBURN, ARLENE C              4651 WREN DR                                                                        BLAIRSVILLE      GA 30512‐1337
MASHBURN, DANIEL W              4651 WREN DR                                                                        BLAIRSVILLE      GA 30512‐1337
MASHBURN, DELMAR L              300 HUNTERS TRACE CIR NE                                                            ATLANTA          GA 30328‐1773
MASHBURN, DONALD                70 DIXIE MEADOWS                                                                    CARROLLTON       GA 30117
MASHBURN, DWIGHT C              543 OLD HIGHWAY 31                                                                  PROSPECT         TN 38477‐6054
MASHBURN, FRANCIS D             500 SW FOOT HILL DR                                                                 GRAIN VALLEY     MO 64029‐8426
MASHBURN, GARY L                1724 OAKWAY CIR                                                                     COLUMBIA         TN 38401‐9077
MASHBURN, GLADYS                5325 MASHBURN DR                                                                    CUMMING          GA 30041‐9216
MASHBURN, GREGORY T             1120 NW HEATHERWOOD DR                                                              BLUE SPRINGS     MO 64015‐6448
MASHBURN, JOEL W                3141 JAMES AVE                                                                      FORT WORTH       TX 76110‐3725
MASHBURN, KATHYLEEN E           22517 W STATE HIGHWAY D                                                             MARTINSVILLE     MO 64467‐8193
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Name                    Address1                         Address2                        Address3   Address4         City               State Zip
MASHBURN, LARRY W       3054 PATTON RD                                                                               GRIFFIN             GA 30224‐7380
MASHBURN, LUCILLE A     1258 NW WOODBURY PL                                                                          GRAIN VALLEY        MO 64029‐8616
MASHBURN, MARY          317 JIM BERRY RD                                                                             FRANKLIN            NC 28734
MASHBURN, ORELL A       16252 COVE DR                                                                                LINDEN              MI 48451‐8717
MASHBURN, ROYCE W       5391 GRAND BLANC RD                                                                          SWARTZ CREEK        MI 48473‐9413
MASHBURN, VIRVAL W      PO BOX 4                                                                                     RICHLAND            MO 65556‐0004
MASHBURN, WILLIAM H     5325 MASHBURN DR                                                                             CUMMING             GA 30041‐9216
MASHEFF, LUBEN          15761 RIVERSIDE ST                                                                           LIVONIA             MI 48154‐2337
MASHEK, COLLETTE K      5746 E EAGLE DR                                                                              MILTON              WI 53563‐9772
MASHHOUD SOHEIL         MASHHOUD, SOHEIL                 5055 WILSHIRE BLVD STE 300                                  LOS ANGELES         CA 90036‐6101
MASHHOUR, ALI M         575 ROSEMARY ST                                                                              DEARBORN HEIGHTS    MI 48127‐3627
MASHIGIAN, HARRY S      4633 SHADOW RIDGE DR                                                                         FRISCO              TX 75034‐6851
MASHIKIAN, RAFFI        8816 ARCTURUS WAY                                                                            SAN DIEGO           CA 92126‐1438
MASHINO, DAVID J        3611 ALBRIGHT RD                                                                             KOKOMO              IN 46902‐4475
MASHINSKI, PATRICIA T   10478 S CLINT LOOP                                                                           FLORAL CITY         FL 34436‐4816
MASHIONE, FRANK J       14734 ELROND DR                                                                              STERLING HTS        MI 48313‐5625
MASHNI, DAVID B         13636 DRIFTWOOD CT                                                                           PLYMOUTH            MI 48170‐5248
MASHNI, SIMON W         30200 JOY RD                                                                                 LIVONIA             MI 48150‐3969
MASHNI, VICTOR W        1700 N FAIRVIEW LN                                                                           ROCHESTER HILLS     MI 48306‐4020
MASHONDA PARKER         1801 E 21ST ST                                                                               MUNCIE              IN 47302‐5459
MASHORDA, DAWN          2217 HAMILTON AVE                                                                            POLAND              OH 44514‐1728
MASHRAH ALI (493045)    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                         PROFESSIONAL BLDG
MASHUR H ILAYAN         26636 LAWRENCE DR                                                                            DEARBORN HEIGHTS   MI   48127
MASHUR ILAYAN           26636 LAWRENCE DR                                                                            DEARBORN HTS       MI   48127‐3347
MASI JR, JAMES P        70 NORTH HAMPTON LN.1B                                                                       PLAINVILLE         CT   06062
MASI JR, JOSEPH D       66 EMMETT ST TRLR 16                                                                         BRISTOL            CT   06010‐6627
MASI, ANTHONY N         30 JASMINE AVENUE                                                                            PALMETTO           FL   34221‐1914
MASI, CARLO             22220 BRYWOOD CT                                                                             CLINTON TOWNSHIP   MI   48036‐4802
MASI, CARMELLA B        400 N MAIN ST.                                                                               BRISTOL            CT   06010
MASI, CARMELLA B        400 NORTH MAIN STREET                                                                        BRISTOL            CT   06010‐4923
MASI, FLORENCE M        22220 BRYWOOD COURT                                                                          CLINTON TOWNSHIP   MI   48036
MASI, GREG              9200 BLUE GRASS RD                                                                           PHILADELPHIA       PA   19114‐2300
MASI, IRENE F           94 PARISIAN DR                                                                               TOMS RIVER         NJ   08753‐1505
MASI, LOUIS E           6309 MURPHY DR                                                                               VICTOR             NY   14564‐9218
MASI, MARGARET D        216 PARK ST                                                                                  BRISTOL            CT   06010‐6028
MASI, MARGARET D        216 PARK STREET                                                                              BRISTOL            CT   06010‐6028
MASIAK, CLARA           38728 SUTTON DR                                                                              STERLING HTS       MI   48310‐2872
MASIAK, JAMES E         677 AUGUSTA DR                                                                               ROCHESTER HILLS    MI   48309‐1531
MASIAN, RONALD N        1322 FREDERICK ST                                                                            NILES              OH   44446‐3232
MASIAS, JOHN A          PO BOX 341                                                                                   LA FAYETTE         NY   13084‐0341
MASICA, DORIS A         4635 BAKER RD                                                                                BRIDGEPORT         MI   48722‐9596
MASICA, DORIS A         4635 BAKER ROAD                                                                              BRIDGEPORT         MI   48722‐9596
MASICH JR, PETER        12459 GENESEE RD                                                                             EAST CONCORD       NY   14055‐9727
MASICH, JOSEPH          20367 MIDWAY BLVD                                                                            PORT CHARLOTTE     FL   33952‐4038
MASICH, JOSEPH G        941 ERIE AVE                                                                                 NORTH TONAWANDA    NY   14120‐3502
MASICH, PAUL D          39 HYLAND AVE                                                                                N TONAWANDA        NY   14120‐4611
MASICH, PAULETTE        799 EDGEWATER DR                                                                             AMHERST            NY   14228‐3025
MASICH, ROBERT T        11618 POTRANCO                   APT #2                                                      SAN ANTONIO        TX   78253
MASID CHEVROLET CO.     W HWY 26 & COUNTY RD                                                                         MORRILL            NE   69358
MASID CHEVROLET CO.     SAMMY MASID                      W HWY 26 & COUNTY RD                                        MORRILL            NE   69358
MASIE CENTER            PO BOX 397                                                                                   SARATOGA SPRINGS   NY   12866‐0397
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Name                    Address1                          Address2                        Address3   Address4         City              State Zip
MASIE, MARGARET A       50 S ROCKY RIVER DR APT 502                                                                   BEREA              OH 44017‐2541
MASIEL, ROBERT M        PO BOX 783                                                                                    SAN JACINTO        CA 92581‐0783
MASIELLO ANN            531 INDEPENDENCE AVE                                                                          TRENTON            NJ 08610‐5723
MASIELLO, ANTHONY D     10 DEBBIE LN                                                                                  BROCKPORT          NY 14420‐9400
MASIELLO, JOSEPHINE A   171 FAIRFIELD AVE                                                                             BUFFALO            NY 14223‐2847
MASIER, MARGARET        271 HEMPSTEAD RD                                                                              RIDGEWOOD          NJ 07450
MASIERO MARIO           BUTTRIO                           VIA MANZONI 22                                              UDINE
MASIERO, ROBERT         C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                               EDWARDSVILLE      IL   62025
MASIH, ANIL A           605 S KENWOOD AVE                                                                             ROYAL OAK         MI   48067‐4053
MASILIONIS RHONDA       12509 NOLAND ST                                                                               OVERLAND PARK     KS   66213‐5032
MASILIVNAS, PETER       GUY WILLIAM S                     PO BOX 509                                                  MCCOMB            MS   39649‐0509
MASIMORE, HENRY E       2342 CADWALLADER SONK RD.                                                                     CORTLAND          OH   44410‐9410
MASIN ROBERT (446114)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH   44067
                                                          PROFESSIONAL BLDG
MASIN, ROBERT           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD        OH 44067
                                                          PROFESSIONAL BLDG
MASINA, IVO             6969 TRAYMORE CT                                                                              MENTOR            OH   44060‐3929
MASINDA, KATHLEEN G     PO BOX 339                        9786 ZUKEY RD.                                              LAKELAND          MI   48143‐0339
MASINI, JON G           55140 PARKVIEW DR                                                                             SHELBY TOWNSHIP   MI   48316‐1066
MASINO, JOSEPH A        3857 PINECREST WAY                                                                            LEXINGTON         KY   40514‐1771
MASINO, JOSEPHINE L     423 RAMBLEWOOD PARK                                                                           HOUSTON           TX   77094‐1138
MASINO, KATHRYN A       10408 BRYSON AVE.                                                                             SOUTH GATE        CA   90280‐6757
MASIONGALE, J T         402 W. CARPENTER                                                                              NEW CARLISLE      OH   45344‐2532
MASIONGALE, J T         402 W CARPENTER DR                                                                            NEW CARLISLE      OH   45344‐2532
MASIULIONIS, VITAS      49 DARTWOOD DR                                                                                CHEEKTOWAGA       NY   14227‐3121
MASIULIS, DONNA M       2391 PLAINVIEW DR                                                                             FLUSHING          MI   48433‐9416
MASIWCHUK JR, HENRY     53540 HAWALD DR                                                                               SHELBY TWP        MI   48316‐3768
MASK BEVERLY            MASK, BEVERLY                     311 MAGNOLIA AVENUE P O BOX                                 PANAMA CITY       FL   32401
                                                          1186
MASK LONNIE             MASK, LONNIE                      5975 W SUNRISE BLVD STE 215                                 PLANTATION        FL   33313‐6813
MASK, BEN L             2635 CLIFFDALE ST                                                                             HOUSTON           TX   77091‐3017
MASK, BEVERLY           2788 JACKSON BLUFF RD                                                                         MARIANNA          FL   32448
MASK, BEVERLY           SYFRETT & DYKES LAW OFFICES PA    PO BOX 1186                                                 PANAMA CITY       FL   32402‐1186
MASK, BOBBY C           20 ROYAL OAKS DR                                                                              TROY              IL   62294‐2724
MASK, DEANNA C          2117 WILLOW OAK DR                                                                            EDGEWATER         FL   32141
MASK, HARRY S           4616 GORDON REYNOLDS RD                                                                       COVINGTON         GA   30014‐0656
MASK, MICHAEL R         2760 MALLARD DR                                                                               WOODBURY          MN   55125‐3845
MASK, PHILLIP H         629 N FRANCIS AVE                                                                             LANSING           MI   48912‐4214
MASK, RONALD            170 LASALLE ST                                                                                MANSFIELD         OH   44906‐2433
MASK, WILBERN D         4400 GERARD CT                                                                                FLINT             MI   48507‐3510
MASKA, RICHARD A        2822 E 950 N                                                                                  ROANOKE           IN   46783‐8858
MASKE, KAY A            5515 FAIRVISTA DR                                                                             CHARLOTTE         NC   28269‐0633
MASKE, WANDA A          7824 GLENCANNON DRIVE                                                                         CHARLOTTE         NC   28227‐8227
MASKELL JR, MELVIN D    4656 SUNSET ST                                                                                OSCODA            MI   48750‐9512
MASKELL, LOIS A         29305 W JEFFERSON APT #9                                                                      GIBRALTAR         MI   48173
MASKER CLEMONS JR       1416 BLOOMFIELD BLVD                                                                          SAGINAW           MI   48601‐5104
MASKER, F D             12 WILLIS AVE                                                                                 KEANSBURG         NJ   07734‐1723
MASKER, PAUL E          548 FRANCONIAN DR E                                                                           FRANKENMUTH       MI   48734‐1004
MASKER, PAUL EDWARD     548 FRANCONIAN DR E                                                                           FRANKENMUTH       MI   48734‐1004
MASKER, SCOTT D         513 61ST ST                                                                                   NIAGARA FALLS     NY   14304‐3102
MASKER, WILLIAM B       208 W MAPLE ST                                                                                SAINT CHARLES     MI   48655‐1222
MASKILL DENIS           1457 PEBBLE CRK                                                                               METAMORA          MI   48455‐8923
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Name                         Address1                         Address2            Address3         Address4               City               State Zip
MASKILL, DENIS S             1457 PEBBLE CRK                                                                              METAMORA            MI 48455‐8923
MASKIN, ARCHIE               10600 SONGBIRD LN                                                                            MIDWEST CITY        OK 73130‐7017
MASKO, ANDY                  7750 VENICE DR.N.E.                                                                          WARREN              OH 44484‐4484
MASKO, ANDY                  7750 VENICE HEIGHTS DR NE                                                                    WARREN              OH 44484‐1506
MASKO, BETTY I               5201 BRANCH                                                                                  FLINT               MI 48506‐1382
MASKOVICH, STEVE C           7496 DAWN HAVEN DR                                                                           PARMA               OH 44130‐5961
MASLACH, BOGUSLAW            5711 PATTERSON DR                                                                            TROY                MI 48085‐3927
MASLAK, STANLEY P            3229 TAUROMEE AVE                                                                            KANSAS CITY         KS 66102‐3832
MASLAND ACOUSTIC COM INC     PO BOX 40                                                                                    CARLISLE            PA 17013‐0040
MASLAND OF WIS/PLYMO         47660 HALYARD DR                 ATTN: MARK GODLEW                                           PLYMOUTH            MI 48170‐2453
MASLANIK, THEODORE J         PO BOX 4                                                                                     LAPEER              MI 48446‐0004
MASLANKA, HELEN              23850 EDWARD                                                                                 DEARBORN            MI 48128‐1224
MASLANKA, HELEN              820 3RD AVE                                                                                  WOODRUFF            WI 54569‐9785
MASLANKA, JEFFREY T          13539 DONALD DR                                                                              BROOK PARK          OH 44142‐3206
MASLANKA, RAYMOND R          51919 PULVER RD                                                                              THREE RIVERS        MI 49093‐9735
MASLANKA‐CAMPANA, LENORE E   13852 BELLBROOK DR                                                                           BROOK PARK          OH 44142‐2621
MASLANKOWSKI, JOSEPH R       53 BLVD EAST                                                                                 CLIFFWOOD BCH       NJ 07735‐6138
MASLANKOWSKI, JOSEPH R       53 BOULEVARD E                                                                               KEYPORT             NJ 07735‐6138
MASLAR TERRI                 1202B 103RD PL SW                                                                            EVERETT             WA 98204‐8715
MASLAR, CARL J               30888 PRIMROSE DR                                                                            WARREN              MI 48088‐5944
MASLAR, CECELIA T            34450 SYCAMORE DR                                                                            FRASER              MI 48026‐2058
MASLAR, PAUL                 864 EAST SCOTT ST                                                                            OLYPHANT            PA 18447
MASLEN, JEANE I              84 HENDRICKS BLVD                                                                            BUFFALO             NY 14226‐3217
MASLEN, VERONICA             1010 MACON RD                                                                                WINTER HAVEN        FL 33884‐2864
MASLEY, PAULINE              1100 E WINDHAVEN RD                                                                          PITTSBURGH          PA 15205‐8702
MASLEY, PAULINE              1100 EAST WINDHAVEN RD                                                                       PITTSBURGH          PA 15205‐8702
MASLEY, PHILLIP A            401 QUAIL MEADOW CT                                                                          DEBARY              FL 32713‐4503
MASLEY, PHILLIP A            450 LAMBERT AVENUE                                                                           FLAGLER BEACH       FL 32136‐3215
MASLIN, SYLVIA J             7414 WESTWAY DR                                                                              ROWLETT             TX 75089‐2084
MASLO, LEROI A               563 WILLOUGHBY LN                                                                            BOWLING GREEN       KY 42101‐9055
MASLO, LEROI ANTHONY         563 WILLOUGHBY LN                                                                            BOWLING GREEN       KY 42101‐9055
MASLONA, STANLEY             8101 MEADE AVE                                                                               BURBANK              IL 60459‐1943
MASLOSKY, ROBERT L           21 ORCHARD DR                                                                                WAPPINGERS FALLS    NY 12590‐4322
MASLOVICH, RANDY J           4511 GAPAM COURT                                                      WINDSOR ON N9G 2W5
                                                                                                   CANADA
MASLOW, EUGENE               44 FOREST GLEN AVE                                                                           DAYTON             OH   45405‐2729
MASLOW, FREDERIC             1616 KEN KLARE DR                                                                            BEAVERCREEK        OH   45432‐1912
MASLOW, TIMOTHY A            8504 S ELIZABETH DR                                                                          MAPLE CITY         MI   49664‐9800
MASLOWSKI, IRENE             29250 HERMITAGE PKWY APT 248                                                                 WARREN             MI   48092‐6358
MASLOWSKI, IRENE             28649 PANAMA ST                                                                              WARREN             MI   48092‐2363
MASLOWSKI, JAMES S           2042 BIRCH DR NW                                                                             GRAND RAPIDS       MI   49504‐4769
MASLOWSKI, LEONARD           208 SAINT DAVID DR                                                                           MOUNT LAUREL       NJ   08054‐2906
MASLOWSKI, LINDA M           1702 JOSLIN ST                                                                               SAGINAW            MI   48602‐1121
MASLOWSKI, MARIE L           41 LEXINGTON CT.                 ROOM #105                                                   LOCKPORT           NY   14094‐5224
MASLOWSKI, PATRICIA A        35339 BRISTLECONE                                                                            CLINTON TWP        MI   48035‐2331
MASLOWSKI, R M               BOX 1714 GPO                     MELBOURNE                            MELBOURNE AUSTRALIA
MASLOWSKI, RICHARD M         #2 DONALD ROAD 3150                                                   WHEELERS HILL VIC HI
                                                                                                   AUSTRALIA
MASLOWSKI, SOPHIA K          1682 BRIDLE CREEK STREET SE                                                                  KENTWOOD           MI   49508‐4933
MASLOWSKI, THOMAS J          PO BOX 69                                                                                    HENDERSONVILLE     NC   28793‐0069
MASLOWSKI, WILMA M           182 BONA VISTA DR NW                                                                         GRAND RAPIDS       MI   49504‐5982
MASLOWSKY, WALTER            3826 SHOEMAKER ROAD                                                                          ALMONT             MI   48003‐7914
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Name                                  Address1                        Address2                         Address3                Address4         City               State Zip
MASLUK TERRY & BARBARA                246 N DUCK CREEK RD                                                                                       NORTH JACKSON       OH 44451‐9612
MASLUK, CAROL L                       10128 BEECHWOOD                                                                                           PINCKNEY            MI 48169‐8943
MASLUK, JAMES W                       125 ASPEN DR NW                                                                                           WARREN              OH 44483‐1182
MASLUK, MARK J                        2401 SW LAMB AVE                                                                                          PORT SAINT LUCIE    FL 34953
MASLUK, NORMA D                       711 GARY DR.                                                                                              HUBBARD             OH 44425‐1232
MASLUK, NORMA D                       711 GARY DR                                                                                               HUBBARD             OH 44425‐1232
MASLUK, SHIRLEY H                     125 ASPEN DRIVE NORTH WEST                                                                                CHAMPION            OH 44483‐4483
MASLUK, SHIRLEY H                     125 ASPEN DR NW                                                                                           WARREN              OH 44483‐1182
MASLYK, FELICIA                       9376 SIOUX                                                                                                REDFORD             MI 48239‐2328
MASLYN, ANDREW J                      310 PINEBROOK DR                                                                                          ROCHESTER           NY 14616‐1654
MASNER, MARIA E                       8268 GARRISON ST                                                                                          SPRING HILL         FL 34606‐5147
MASNEY AUTO LOGISTICS INC             945 MAGUIRE RD                                                                                            OCOEE               FL 34761‐2917
MASNY, PAUL J                         2 JEWELBERRY DR                                                                                           WEBSTER             NY 14580
MASNYJ, STANLEY                       185 CRAWFORD ST                                                                                           PINE BUSH           NY 12566‐6744
MASO, JILL                            3917 NW 85TH TER APT H                                                                                    KANSAS CITY         MO 64154
MASO, JOSEPH A                        120 BEAR CLAW DR                                                                                          WENTZVILLE          MO 63385‐3526
MASOLA, JOAN R                        22289 BLOSSOM DR                                                                                          ROCKY RIVER         OH 44116‐2019
MASON & DIXON LINES INC               12225 STEPHENS RD                                                                                         WARREN              MI 48089‐2010
MASON & MEFFORD INC                   3705 N SHUN PIKE RD                                                                                       MADISON             IN 47250‐7866
MASON ‐ SHARP, HELEN R                7584 BUCHANAN DR.                                                                                         YOUNGSTOWN          OH 44512‐5752
MASON ACCOUNTING INC                  ATTN: KRIS MASON                PO BOX 158                                                                BEDFORD             IN 47421‐0158
MASON ALLEN
MASON AND DIXON LINES                 WAYNE FRAZIER                   11355 STEPHENS RD                                                         WARREN             MI   48089‐1802
MASON ASPIN                           7609 TRINKLEIN RD                                                                                         SAGINAW            MI   48609‐5309
MASON BEASLEY                         6151 SKYLINE DR                                                                                           EAST LANSING       MI   48823‐1604
MASON BETTY                           1490 COUNTY ROAD 500                                                                                      VALLEY             AL   36854‐8120
MASON BILL (446115)                   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD         OH   44067
                                                                      PROFESSIONAL BLDG
MASON BLACKBURN                       550 S SCHENLEY AVE                                                                                        YOUNGSTOWN         OH   44509‐3026
MASON BURKETT                         121 LEATHERWOOD CREEK ESTS                                                                                BEDFORD            IN   47421‐9264
MASON CARRIE                          35 KIRKLAND AVE                                                                                           TRENTON            NJ   08638
MASON CHARLES JR                      499 WHITE SCHOOL RD                                                                                       GREENSBURG         PA   15601‐8541
MASON CHERYL                          4103 LEHIGH DR                                                                                            MIDLAND            TX   79707‐3523
MASON CITY SCHOOLS                                                    5025 ENTERPRISE DR                                                                           OH   45040
MASON CLYDE E (429385)                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                               NORFOLK            VA   23510
                                                                      STREET, SUITE 600
MASON COHAN                           MICHAEL COHAN C/F MASON COHAN   PO BOX 229                       450 TILTON RD STE 220                    NORTHFIELD         NJ   08225
MASON COUNTY SHERIFF                  PO BOX 502                                                                                                MAYSVILLE          KY   41056‐0502
MASON COUNTY TREASURER                PO BOX 429                                                                                                SHELTON            WA   98584‐0429
MASON CURRY                           6521 PARR AVE                                                                                             BALTIMORE          MD   21215‐2006
MASON CURTIS L (ESTATE OF) (488182)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD         OH   44067
                                                                      PROFESSIONAL BLDG
MASON DAVID F (456420)                SKAGGS JOHN H                   405 CAPITOL STREET ‐ SUITE 607                                            CHARLESTON         WV 25301
MASON DEBRA KATHLEEN                  MASON, DEBRA KATHLEEN           NORTHBRIDGE CENTER, 10TH FLOOR                                            WEST PALM BEACH    FL 33401
                                                                      515 N. FLAGLER DRIVE
MASON DEMLAND                         600 OGEN ST                                                                                               HICKSVILLE         OH   43526‐1419
MASON DIXON LINES INC                 PO BOX 2122                                                                                               WARREN             MI   48090‐2122
MASON DIXON TANK LINES                P O BOX 969                                                                                               KINGSPORT          TN   37662
MASON DONALD (446116)                 BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD         OH   44067
                                                                      PROFESSIONAL BLDG
MASON DONALD PAUL (411043)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                               NORFOLK            VA 23510
                                                                      STREET, SUITE 600
                                       09-50026-mg             Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                                  Address1                         Address2                        Address3       Address4         City                    State Zip
MASON ELKINS                          2137 W PORTER AVE                                                                                FULLERTON                CA 92833‐3661
MASON ELKINS                          2137 W PORTER                                                                                    FULLERTON                CA 92833‐3661
MASON ELZIE                           1806 CRESCENT DR                                                                                 MONROE                   LA 71202‐3022
MASON FLOYD, ELAINE M                 371 SHERMAN PL                                                                                   MANSFIELD                OH 44903‐1733
MASON FREDERICK L SR (466523) ‐       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                      BALTIMORE                MD 21202
FREDERICK MASON                                                        CHARLES CENTER 22ND FLOOR
MASON GAITHEL (ESTATE OF)             BRAYTON PURCELL                  222 RUSH LANDING ROAD           P O BOX 6169                    NOVATO                  CA 94948
MASON GARTRELL                        2108 DREW VALLEY RD NE                                                                           ATLANTA                 GA 30319‐3918
MASON GERALDINE                       MASON, GERALDINE                 1109 MOUNT HOLLY STREET                                         ELDORADO                AR 71730
MASON GRINE                           NO ADDRESS ON FILE
MASON HELEN                           MASON, HELEN                     10000 LINCOLN DR E STE 201                                      MARLTON                 NJ 08053‐3105
MASON HOWARD C (ESTATE OF) (459188)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK                 VA 23510
                                                                       STREET, SUITE 600
MASON HURLEY                          13411 NW MOHAWK RD                                                                               KANSAS CITY             MO    64152‐1014
MASON I I I, CHARLES R                215 RIVER DR                                                                                     MILLSBORO               DE    19966‐1123
MASON I I I, FRANK                    6261 GRAND BLANC RD                                                                              SWARTZ CREEK            MI    48473‐9443
MASON I I, JOSEPH J                   4319 WILLYS PKWY                                                                                 TOLEDO                  OH    43612‐2129
MASON II, JOSEPH J                    4319 WILLYS PKWY                                                                                 TOLEDO                  OH    43612‐2129
MASON III, FRANK                      6261 GRAND BLANC RD                                                                              SWARTZ CREEK            MI    48473‐9443
MASON III, WILLIAM F                  5640 S HEMLOCK RD                                                                                HEMLOCK                 MI    48626‐9768
MASON ISAACSON & MACIK PA             104 E AZTEC AVE                                                                                  GALLUP                  NM    87301‐6256
MASON ISABELLE                        180 BOSTIC RD                                                                                    GURLEY                  AL    35748‐9488
MASON J MENDENHALL                    316 ROLLING HILLS AVE                                                                            EATON                   OH    45320‐1977
MASON JACKSON                         4019 OLD HWY. 24 EXT                                                                             MAGNOLIA                MS    39652
MASON JAMES (446118)                  BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD              OH    44067
                                                                       PROFESSIONAL BLDG
MASON JEANETTE                        PO BOX 462                                                                                       PINOPOLIS               SC 29469‐0462
MASON JESSICA A                       1997 PALMER DR                                                                                   NORRISTOWN              PA 19403‐2865
MASON JOHN H JR (429386)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK                 VA 23510
                                                                       STREET, SUITE 600
MASON JOSEPH R SR (ESTATE OF) (640777) GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                      EDWARDSVILLE             IL   62025‐0959
                                       ANTOGNOLI
MASON JOSHUA K                         694 E 1150 N                                                                                    LOGAN                   UT    84341‐2546
MASON JR, CALVIN B                     46985 N TERRITORIAL RD                                                                          PLYMOUTH                MI    48170‐3065
MASON JR, CATO Y                       4 TUDOR LN APT 5                                                                                LOCKPORT                NY    14094‐3990
MASON JR, CHARLES W                    3669 NORTHWOOD DR SE                                                                            WARREN                  OH    44484‐4484
MASON JR, CLIFFORD                     1948 RED FOREST LN                                                                              GALLOWAY                OH    43119‐8302
MASON JR, DONALD T                     3217 GLENCAIRN DR                                                                               FORT WAYNE              IN    46815‐5948
MASON JR, GEORGE J                     31023 DAWSON ST                                                                                 GARDEN CITY             MI    48135‐1922
MASON JR, HAROLD A                     1791 RIVER CREST WAY                                                                            LAWRENCEVILLE           GA    30045‐2745
MASON JR, JAMES                        16162 ROLLING MEADOWS DR                                                                        LINDALE                 TX    75771
MASON JR, JOSEPH                       36 KRON ST                                                                                      ROCHESTER               NY    14619‐2036
MASON JR, LEDFORD                      2837 CADILLAC ST                                                                                MORAINE                 OH    45439‐1606
MASON JR, MARION M                     8161 LAURA LYNNE LN                                                                             INDIANAPOLIS            IN    46217‐4926
MASON JR, PAUL E                       5711 HEMPLE RD                                                                                  MIAMISBURG              OH    45342‐1005
MASON JR, PAUL E                       5711 HEMPLE RD.                                                                                 MIAMISBURG              OH    45342‐5342
MASON JR, RAYBURN M                    625 DANIELS ST                                                                                  TRUTH OR CONSEQUENCES   NM    87901‐3321

MASON JR, RAYMOND E                   2615 RIO TIBER DR                                                                                PUNTA GORDA             FL    33950‐6388
MASON JR, ROGER L                     1402 GLENGARRY BLVD                                                                              CANTON                  MI    48188‐3237
MASON JR, WILLIAM L                   6822 WHISPER OAKS CT                                                                             INDIANAPOLIS            IN    46214‐1917
MASON LAWRENCE (184603)               WYSOKER GLASSNER & WEINGARTNER   340 GEORGE ST                                                   NEW BRUNSWICK           NJ    08901‐2011
                                      09-50026-mg             Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                                  Address1                         Address2                        Address3                Address4         City            State Zip
MASON LEROY (348574)                  ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                               BALTIMORE        MD 21202
                                                                       CHARLES CENTER 22ND FLOOR
MASON MARIA                           MASON, MARIA                     FARM BUREAU                     7373 WEST SAGINAW HWY                    LANSING         MI 48909‐7900
                                                                                                       BOX 30400
MASON MARY (446119)                   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                            NORTHFIELD      OH 44067
                                                                       PROFESSIONAL BLDG
MASON MCCARTY                         BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS      OH   44236
MASON MENDENHALL                      316 ROLLING HILLS AVE                                                                                     EATON           OH   45320‐1977
MASON MILLER                          4506 TRUMBULL DR                                                                                          FLINT           MI   48504‐3759
MASON MILLER                          4016 GRAND PRAIRIE RD                                                                                     KALAMAZOO       MI   49006‐1437
MASON MYREE JR                        15777 VAUGHAN ST                                                                                          DETROIT         MI   48223‐1248
MASON OUTLAW JR                       6929 GLENMORE AVE                                                                                         SAINT LOUIS     MO   63121‐5111
MASON PAM                             PO BOX 156                                                                                                CLARENDON       TX   79226‐0156
MASON PAUL                            4311 E BIGHORN AVE                                                                                        PHOENIX         AZ   85044‐6735
MASON RALPH                           1608 SARATOGA WAY                                                                                         EDMOND          OK   73003‐3550
MASON RAMSEY                          2980 HOYLE FARM DR SW                                                                                     MARIETTA        GA   30064‐7531
MASON RHODEN                          236 E HIGH ST                                                                                             HICKSVILLE      OH   43526‐1109
MASON RICHARD I (415480)              SIMMONS FIRM                     PO BOX 559                                                               WOOD RIVER      IL   62095‐0559
MASON ROBERT                          14706 BRENLY DR                                                                                           CYPRESS         TX   77429‐5336
MASON ROBINSON                        3966 CALIFORNIA AVENUE                                                                                    JACKSON         MS   39213‐6006
MASON ROBINSON                        2074 WOVEN HEART DR                                                                                       HOLT            MI   48842‐1093
MASON RONALD (459189)                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK         VA   23510
                                                                       STREET, SUITE 600
MASON SAMUEL (491224)                 BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                            NORTHFIELD      OH 44067
                                                                       PROFESSIONAL BLDG
MASON SCHILLING & MASON               PO BOX 498367                    5181 NATORP BLVD SUITE 202                                               CINCINNATI      OH   45249‐7367
MASON SR, CHARLES M                   324 SW HARRIS ST                                                                                          BURLESON        TX   76028‐5309
MASON SR, JOHN L                      331 MARSTON ST                                                                                            DETROIT         MI   48202‐2571
MASON SR, JOHN LAVON                  331 MARSTON ST                                                                                            DETROIT         MI   48202‐2571
MASON STREET GARAGE                   1302 MASON ST NE                                                                                          GRAND RAPIDS    MI   49503‐1340
MASON SUSAN E                         19551 BURLINGTON DR                                                                                       DETROIT         MI   48203‐1453
MASON W RICH & ARLENE V RICH REV TR   ARLENE RICH TTEE                 90TH HILL DR                                                             LAKE ORION      MI   48360‐2426

MASON WANDA                           MASON, MELVIN                    PO BOX 12290                                                             OVERLAND PARK   KS   66282‐2290
MASON WANDA                           MASON, WANDA                     PO BOX 12290                                                             OVERLAND PARK   KS   66282‐2290
MASON WILLIAMS                        6786 REEDER RD                                                                                            LYONS           MI   48851‐9749
MASON, A                              1130 3RD AVE APT 404                                                                                      HUNTINGTON      WV   25701‐1546
MASON, ALAN L                         2700 EATON RAPIDS RD LOT 218                                                                              LANSING         MI   48911‐6326
MASON, ALAN R                         9473 WAITE DR                                                                                             FENTON          MI   48430‐8407
MASON, ALBERT L                       25109 THORNRIDGE DRIVE                                                                                    GRAND BLANC     MI   48439‐9277
MASON, ALBERTA                        18137 DEQUINDRE ST                                                                                        DETROIT         MI   48234‐1201
MASON, ALFRED W                       208 RITA AVE                                                                                              LANSING         MI   48910‐4631
MASON, ALICE S                        1209 TRENTON LN                                                                                           EULESS          TX   76040‐6367
MASON, ALICE SIDES                    1209 TRENTON LN                                                                                           EULESS          TX   76040‐6367
MASON, ALICIA
MASON, ALLEN R                        1916 BEAVER TRL                                                                                           MINERAL RIDGE   OH 44440‐9556
MASON, ALLYSON
MASON, ANDERSON                       255 W 69TH ST                    ALDEN PRINCETON                                                          CHICAGO         IL   60621‐3767
MASON, ANGELA A                       8103 NW BLUE GRASS DR                                                                                     PARKVILLE       MO   64152‐3008
MASON, ANNA L                         8297 CLEVELAND ST W                                                                                       COOPERSVILLE    MI   49404‐8421
MASON, ANNETTA C                      2553 TEXOMA DR                                                                                            OKLAHOMA CITY   OK   73119‐4638
MASON, ANNIE L                        310 GLENSIDE CT                                                                                           TROTWOOD        OH   45426‐2774
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Name                  Address1                           Address2                       Address3   Address4         City               State Zip
MASON, ARCELIA        2007 SAINT MADELEINE DR.                                                                      DARDENNE PRAIRIE    MO 63368
MASON, ARCHIE         1616 W MAYFIELD RD                                                                            ARLINGTON           TX 76015‐2253
MASON, ARDELLA L      PO BOX 11                                                                                     THOMPSONVILLE       MI 49683‐0011
MASON, ARLAN R        1250 PLEASANT VALLEY DR                                                                       WARREN              OH 44483‐4551
MASON, ARLENE W       1250 PLEASANT VALLEY DR                                                                       WARREN              OH 44483‐4551
MASON, ARTHUR D       703 E 83RD ST                                                                                 LOS ANGELES         CA 90001‐3603
MASON, ARTHUR W       6515 15TH ST E L 20                                                                           SARASOTA            FL 34243
MASON, ASHELEY
MASON, ASHTYN
MASON, BARBARA A      1766 STATE LINE RD                                                                            HUBBARD            OH   44425‐9604
MASON, BARBARA A      1766 STATELINE RD.                                                                            HUBBARD            OH   44425‐9604
MASON, BARBARA C      3621 WEST LITTLE TURTLE TRAIL                                                                 CRAWFORDSVLLE      IN   47933‐6926
MASON, BARBARA J      2224 FALCON CREEK DR                                                                          FRANKLIN           TN   37067‐4098
MASON, BARBARA K      4204 FAIRMONT AVE                                                                             MEMPHIS            TN   38108‐3627
MASON, BARRY A        2850 REGENT ST                                                                                KETTERING          OH   45409‐1633
MASON, BENJAMIN D     3256 AMANDA DR                                                                                TROTWOOD           OH   45406‐1101
MASON, BERNARD J      2635 CENTERVILLE RD                                                                           DALLAS             TX   75228‐2636
MASON, BERNICE C      20360 NUCLEAR PLANT RD                                                                        TANNER             AL   35671‐3560
MASON, BEVERLY J      305 N EAST ST                                                                                 INDIANAPOLIS       IN   46202‐3610
MASON, BILL           BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD         OH   44067
                                                         PROFESSIONAL BLDG
MASON, BILL J         LUTHER TOWERS                      1201 NORTH HARRISON STREET     APT. 903                    WILMINGTON         DE   19806
MASON, BILL L         PO BOX 103                                                                                    VERMONTVILLE       MI   49096‐0103
MASON, BILLY          PORTER & MALOUF PA                 4670 MCWILLIE DR                                           JACKSON            MS   39206‐5621
MASON, BOBBY          562 E MANSFIELD AVE                                                                           PONTIAC            MI   48340‐2942
MASON, BOBBY J        637 WATERSONWAY CIR                                                                           INDIANAPOLIS       IN   46217‐3669
MASON, BONNIE L       20 HILLBROOK CIR                                                                              PITTSFORD          NY   14534‐1002
MASON, BOYD L         1310 ARBOR AVE                                                                                MONROE             MI   48162‐3020
MASON, BRENDA L       9750 ASPEN LN                                                                                 YPSILANTI          MI   48198‐9002
MASON, BRET W         6287 TONBRIDGE CT                                                                             BEDFORD HTS        OH   44146‐4064
MASON, BRETT E        401 BRETTS WAY                                                                                BURLESON           TX   76028‐5667
MASON, BRIAN S        15 WOODLAND ST APT 915                                                                        HARTFORD           CT   06105
MASON, BRIAN S        1441 N DUVAL                                                                                  MESA               AZ   85207‐4332
MASON, CALVIN H       1913 SOUTHWEST BLVD SW                                                                        WARREN             OH   44485‐3973
MASON, CAMREN
MASON, CARDELL        2453 FLINTRIDGE ST                                                                            ORION              MI   48359‐1531
MASON, CARL J         8832 PECKINS RD                                                                               LYONS              MI   48851‐9745
MASON, CARL L         1469 CLAIRWOOD DR                                                                             BURTON             MI   48509‐1509
MASON, CARL LEE       1469 CLAIRWOOD DR                                                                             BURTON             MI   48509‐1509
MASON, CAROL A        621 BEAR TAVERN RD                                                                            EWING              NJ   08628
MASON, CAROLE E       807 N SPENCER ST                                                                              RUSHVILLE          IN   46173‐1070
MASON, CAROLYN D      1826 WOODALL RD SW                                                                            DECATUR            AL   35603‐4314
MASON, CARRIE L       35 KIRKBRIDE AVE                                                                              EWING              NJ   08638‐4527
MASON, CATHERINE G    11405 TULIP DR                                                                                PLAINFIELD         IN   46168‐2631
MASON, CATHERINE G    11405 TULIP DRIVE                                                                             PLAINFIELD         IN   46168‐2631
MASON, CHAD M         814 VERNAL LN                                                                                 SHREVEPORT         LA   71118‐4126
MASON, CHAD MICHAEL   814 VERNAL LN                                                                                 SHREVEPORT         LA   71118‐4126
MASON, CHARLES A      2919 APPLEWOOD PARK COURT                                                                     MUNCIE             IN   47304
MASON, CHARLES A      19738 FIELDING ST                                                                             DETROIT            MI   48219‐2069
MASON, CHARLES E      440 HESS RD                                                                                   MARTINSVILLE       IN   46151‐7806
MASON, CHARLES E      3701 LAWNDALE AVE                                                                             FLINT              MI   48504‐2250
MASON, CHARLES E      6771 WEALTHY ST                                                                               CLARKSTON          MI   48346‐2182
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Name                    Address1                       Address2                         Address3                      Address4         City               State Zip
MASON, CHARLES E        814 HARRISBURG PIKE                                                                                            COLUMBUS            OH 43223‐2161
MASON, CHARLES L        3105 CONCORD ST                                                                                                FLINT               MI 48504‐2987
MASON, CHARLES L        7764 LONGBOURNE ST                                                                                             DAYTON              OH 45418‐1130
MASON, CHARLES P        491 CENTRAL AVE                                                                                                PONTIAC             MI 48341‐3300
MASON, CHARLES R        435 WATERVLIET AVE                                                                                             DAYTON              OH 45420‐2466
MASON, CHARLES T        5914 OAKLAND GARDENS CT                                                                                        LIBERTY TWP         OH 45011‐9367
MASON, CHARLOTTE N      401 NICHOLSON DRIVE                                                                                            POTOSI              MO 63664‐1242
MASON, CHERYL L         667 SIMBURY ST                                                                                                 COLUMBUS            OH 43228‐2530
MASON, CHEYENNE S       104 NE 29TH ST                                                                                                 OAK ISLAND          NC 28465‐5909
MASON, CHEYENNE S       4208 E OAK ISLAND DR                                                                                           OAK ISLAND          NC 28465‐5507
MASON, CHRISTIAN A      1731 PILGRIM LN                                                                                                LAPEER              MI 48446‐1266
MASON, CHRISTINE D      34501 W HIGHWAY 66                                                                                             BRISTOW             OK 74010‐2387
MASON, CLARA B          1500 CANFIELD AVENUE                                                                                           DAYTON              OH 45406‐4207
MASON, CLARENCE B       PO BOX 657                                                                                                     GRANTVILLE          GA 30220‐0657
MASON, CLARK T          6660 LA BLANC RD                                                                                               WATERFORD           MI 48329‐1213
MASON, CLIFFORD E       PO BOX 420320                                                                                                  PONTIAC             MI 48342‐0320
MASON, CLIFFORD E       PO BOX 431789                                                                                                  PONTIAC             MI 48343‐1789
MASON, CLYDE C          633 LAKENGREN DRIVE                                                                                            EATON               OH 45320‐2614
MASON, CLYDE E          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                     NORFOLK             VA 23510
                                                       STREET, SUITE 600
MASON, CLYTHUS          GUY WILLIAM S                  PO BOX 509                                                                      MCCOMB             MS   39649‐0509
MASON, DALE E           2830 W DESHONG DR                                                                                              PENDLETON          IN   46064‐9529
MASON, DALE L           49 PIONEER LN                                                                                                  EDWARDS            MO   65326‐2611
MASON, DALE M           34841 AVONDALE ST                                                                                              WESTLAND           MI   48186‐4342
MASON, DANIEL W         7643 WOODVIEW DR                                                                                               WOODRIDGE          IL   60517‐2703
MASON, DANIELLE B       248 N INDIAN WELLS DR                                                                                          OLATHE             KS   66061‐6028
MASON, DANNY C          315 N PINE ST                                                                                                  FOWLER             MI   48835‐9293
MASON, DANNY K          308 SHELLBOURNE DR                                                                                             ROCHESTER HILLS    MI   48309‐1158
MASON, DARLENE R        38575 PALM MEADOW DR                                                                                           CLINTON TOWNSHIP   MI   48036‐1986
MASON, DARRELL E        10208 SOUTHRIDGE TER                                                                                           OKLAHOMA CITY      OK   73159‐7325
MASON, DARRIN S         5711 HEMPLE RD                                                                                                 MIAMISBURG         OH   45342‐1005
MASON, DAVE F           567 STEVENS BLVD 2                                                                                             EASTLAKE           OH   44095
MASON, DAVID A          3585 BOWERS RD                                                                                                 ATTICA             MI   48412‐9404
MASON, DAVID A          294 N MAIN ST                                                                                                  WEST MILTON        OH   45383‐1828
MASON, DAVID A          260 N ROAD 750 W                                                                                               BARGERSVILLE       IN   46106‐9024
MASON, DAVID C          1027 WOODS VIEW CT                                                                                             MIAMISBURG         OH   45342‐3888
MASON, DAVID CARR       1027 WOODS VIEW CT                                                                                             MIAMISBURG         OH   45342‐3888
MASON, DAVID F          SKAGGS JOHN H                  405 CAPITOL STREET ‐ SUITE 607                                                  CHARLESTON         WV   25301
MASON, DAVID L          10583 ROLLING SPRINGS DR                                                                                       INDIANAPOLIS       IN   46234‐8911
MASON, DAVID L          118 DEERPARK DR                                                                                                WASKOM             TX   75692‐4006
MASON, DAVID L          PO BOX 1108                                                                                                    SPRING HILL        TN   37174‐1108
MASON, DAVID L          16111 AIRPORT RD                                                                                               GREENWOOD          MO   64034‐9402
MASON, DAVID L          1811 ALLEGAN ST                                                                                                SAGINAW            MI   48602‐2620
MASON, DAVID L          980 N 700 W                                                                                                    KOKOMO             IN   46901‐9768
MASON, DAVID L          501 JADA LN                                                                                                    MOORESVILLE        IN   46158‐6996
MASON, DAVID LANE       118 DEERPARK DR                                                                                                WASKOM             TX   75692‐4006
MASON, DEBORAH          4283 LAPEER STREET                                                                                             COLUMBIAVILLE      MI   48421‐9389
MASON, DEBORAH          14633 ELMAR BLVD                                                                                               BURTON             OH   44021‐9503
MASON, DEBRA            11605 154TH RD N                                                                                               JUPITER            FL   33478‐6791
MASON, DEBRA KATHLEEN   ATTN FARRAH C FUGGETT MULLEN   LYTAL REITER CLARK FOUNTAIN &    515 N FLAGLER DR SUITE 1000                    WEST PALM BEACH    FL   33401
                                                       WILLIAMS
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Name                    Address1                        Address2                       Address3   Address4         City              State Zip
MASON, DEBRA KATHLEEN   LYTAL REITER CLARK FOUNTAIN &   NORTHBRIDGE CENTER, 10TH FLOOR                             WEST PALM BEACH    FL 33401
                        WILLIAMS                        515 N. FLAGLER DRIVE
MASON, DELLA            PO BOX 93                                                                                  ELVERTA           CA   95626‐0093
MASON, DELORES A.       21240 ROAD 166                                                                             OAKWOOD           OH   45873‐9101
MASON, DELORES A.       21240 COUNTY RD 166                                                                        OAKWOOD           OH   45873‐9101
MASON, DENISE           359 E JACKSON AVE                                                                          FLINT             MI   48505‐4963
MASON, DENNIE W         11078 N 1175 W                                                                             MONTICELLO        IN   47960‐8172
MASON, DENNIS H         3238 S WENDOVER CIR                                                                        YOUNGSTOWN        OH   44511‐2606
MASON, DIANA L          412 E 2ND ST                                                                               BYRON             IL   61010‐9643
MASON, DIANE M          1744 GYPSY LN                                                                              NILES             OH   44446‐3206
MASON, DONALD E         814 HARRISBURG PIKE                                                                        COLUMBUS          OH   43223‐2161
MASON, DONALD G         15474 MCCOMB CIR                                                                           PT CHARLOTTE      FL   33981‐3200
MASON, DONALD L         2805 APACHE DR                                                                             ANDERSON          IN   46012‐1403
MASON, DONALD P         311 W TILDEN DR                                                                            BROWNSBURG        IN   46112‐1541
MASON, DONALD P         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510
                                                        STREET, SUITE 600
MASON, DONALD P         2535 SE 6TH AVE                                                                            OKEECHOBEE        FL   34974‐3215
MASON, DONALD R         PO BOX 280854                                                                              KANSAS CITY       MO   64128‐0854
MASON, DONALD R         7057 TARRYTOWN DR                                                                          SPRING HILL       FL   34606‐4957
MASON, DONNA J.         6144 WHITEFORD CENTER RD                                                                   TOLEDO            OH   43613‐1070
MASON, DONNA M          5507 WOODVIEW PASS                                                                         MIDLAND           MI   48642‐3147
MASON, DONNA M          4026 BERTRAND RD                                                                           INDIANAPOLIS      IN   46222‐4610
MASON, DONNA MAE        4026 BERTRAND RD                                                                           INDIANAPOLIS      IN   46222‐4610
MASON, DONNIE G         6090 DORCHESTER CIR                                                                        KEITHVILLE        LA   71047‐9212
MASON, DORIS I          315 NICKLAUS BLVD                                                                          N FT MYERS        FL   33903‐2612
MASON, DORIS J          1135 ST PATRICE LANE                                                                       FLORISSANT        MO   63031‐7923
MASON, DORIS J          1135 SAINT PATRICE LN                                                                      FLORISSANT        MO   63031‐7923
MASON, DORIS K          4061 N WOOD RD                                                                             LINCOLN           MI   48742‐9611
MASON, DORIS K          4061 WOOD                                                                                  LINCOLN           MI   48742‐9611
MASON, DOROTHY L        7142 EAGLE COVE N. DR.                                                                     INDIANAPOLIS      IN   46254‐4685
MASON, DOUGLAS E        6716 ESTATE DR SW                                                                          BYRON CENTER      MI   49315‐9490
MASON, DOUGLAS I        99 WOODLOT CT                                                                              FLINT             MI   48506‐5295
MASON, DOUGLAS IRVING   99 WOODLOT COURT                                                                           FLINT             MI   48506‐5295
MASON, DOYCE C          PO BOX 181                                                                                 TANNER            AL   35671‐0181
MASON, E C              3516 S PARK DR                                                                             FORT WAYNE        IN   46806‐4271
MASON, E E              6854 CASTILE DE ORO                                                                        SAN ANTONIO       TX   78239‐3604
MASON, EARL L           8344 E VESTABURG RD                                                                        VESTABURG         MI   48891‐9452
MASON, EARL L           11200 W RIVER RD                                                                           REMUS             MI   49340‐9411
MASON, EBERT R          PO BOX 624                                                                                 ALEXANDRIA        IN   46001‐0624
MASON, EDD W            109 E VAN WAGONER AVE                                                                      FLINT             MI   48505‐3763
MASON, EDD WINDELL      109 E VAN WAGONER AVE                                                                      FLINT             MI   48505‐3763
MASON, EDITH A          933 WAUREGAN DR                                                                            HOPE              MI   48628‐9713
MASON, EDITH E          3033 CONTINENTAL                COLONY PKWY SW                 APT 808                     ATLANTA           GA   30331
MASON, EDNA             98 ARGUS ST                                                                                BUFFALO           NY   14207‐1230
MASON, EDNA             98 ARGUS ST.                                                                               BUFFALO           NY   14207‐1230
MASON, EDNA B           1010 STATE ST PO BOX 405                                                                   STERLING          MI   48659‐0405
MASON, EDNA B           4982 WESTCHESTER RD                                                                        GLADWIN           MI   48624‐6900
MASON, EDWARD R         8 BROAD PL                                                                                 BRISTOL           CT   06010‐7011
MASON, EDWARD R         14471 RUSSELL RD                                                                           BRIDGEVILLE       DE   19933‐4269
MASON, EDWARD W         448 MISTWOOD CT                                                                            SPRING HILL       FL   34609‐9621
MASON, EDWIN R          13685 STATE ROUTE 56 SE                                                                    MT STERLING       OH   43143‐9109
MASON, EILEEN M         3359D EAGLES LOFT                                                                          PORTLAND          OH   44410‐4410
                         09-50026-mg           Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                     Address1                           Address2                  Address3   Address4         City               State Zip
MASON, EILEEN M          3359 EAGLES LOFT UNIT D                                                                  CORTLAND            OH 44410‐9112
MASON, EILEEN T          PO BOX 1275                                                                              NORTH TONAWANDA     NY 14120‐9275
MASON, ELAINE M          1404 MONTGOMERY ST                                                                       EATON RAPIDS        MI 48827‐1927
MASON, ELIJAH M          45745 LAKEVIEW CT APT 12207                                                              NOVI                MI 48377‐3845
MASON, ELIJAH M          20040 BLACKSTONE ST                                                                      DETROIT             MI 48219‐1314
MASON, ELIZABETH J       807 1/2 W 5TH ST #1/2                                                                    CHESTER             PA 19013‐3604
MASON, ELIZABETH J       130 WASHINGTON                                                                           SPARTA              MI 49345‐1324
MASON, ELIZABETH M       1551 S BERETANIA ST APT‐515                                                              HONOLULU            HI 96826‐1144
MASON, ELLEN             21601 JEFFREY AVE.                                                                       SAUK VILLAGE         IL 60411
MASON, ELLEN             22449 BROOKWOOD DR                                                                       CHICAGO HTS          IL 60411‐5840
MASON, ELLEN P           2126 CHERRY LN                                                                           DECATUR             GA 30032‐5341
MASON, ERIC              2114 PLEASANT VIEW AVE                                                                   LANSING             MI 48910‐0350
MASON, ERMA L            P O BOX 92                                                                               EARLE               AR 72331‐0092
MASON, ERNEST C          APT 101                            555 REMINGTON POINT                                   GREENWOOD           IN 46143‐8046
MASON, ERNEST C          555 REMINGTON PT APT 101                                                                 GREENWOOD           IN 46143‐8046
MASON, EUGENE            29165 SOUTHGATE DR                                                                       SOUTHFIELD          MI 48076‐1720
MASON, EUGENE            8709 WEST COUNTY RD 00 NORTH SOU                                                         KOKOMO              IN 46901
MASON, EUGENE L          3095 WALDON PARK DR                                                                      ORION               MI 48359‐1335
MASON, EUGENE L          71 MICHIGAN AVE                                                                          ENGLEWOOD           FL 34223‐3433
MASON, EUGENE LAWRENCE   3095 WALDON PARK DR                                                                      ORION               MI 48359‐1335
MASON, EUNICE J          4400 MCGUFFEY RD.                                                                        LOWELLVILLE         OH 44436‐9746
MASON, EVELYN E          8400 ESTERO BLVD APT 103                                                                 FORT MYERS BEACH    FL 33931‐5131
MASON, EVIE W            268 DOGWOOD HEIGHTS DR                                                                   TAZEWELL            TN 37879‐4504
MASON, FAYE E            5720 S LAKESHORE DR APT 1501                                                             SHREVEPORT          LA 71119
MASON, FRANCES A.        14922 WHITCOMB ST                                                                        DETROIT             MI 48227‐2279
MASON, FRANCES L         527 SIR ARTHUR CT                                                                        APOPKA              FL 32712‐3618
MASON, FRANK C           3862 BROADWAY ST                                                                         INDIANAPOLIS        IN 46205‐2710
MASON, FRANK O           SHANNON LAW FIRM                   100 W GALLATIN ST                                     HAZLEHURST          MS 39083‐3007
MASON, FRANKLIN D        4119 FIRESIDE AVE                                                                        PORTAGE             MI 49002‐5837
MASON, FREDERICK C       2229 SW 25TH ST                                                                          CAPE CORAL          FL 33914‐3937
MASON, FREDERICK J       303 S CHERRY ST                                                                          EATON               OH 45320‐2317
MASON, FREDERICK W       6219 MORELAND LN                                                                         SAGINAW             MI 48603‐2726
MASON, GABRIEL           300 PRICE RD                                                                             MOSCOW              TN 38057‐6610
MASON, GABRIEL           300 PRICE ROAD                                                                           MOSCOW              TN 38057‐6610
MASON, GAIL S            9233 MEADOWVIEW DR                                                                       DAVISON             MI 48423‐7812
MASON, GAIL SUE          9233 MEADOWVIEW DR                                                                       DAVISON             MI 48423‐7812
MASON, GAITHEL           BRAYTON PURCELL                    PO BOX 6169                                           NOVATO              CA 94948‐6169
MASON, GARY              P O BOX 3523                                                                             MUNICE              IN 47307
MASON, GARY D            402 15TH ST                                                                              BRODHEAD            WI 53520‐1728
MASON, GARY E            RR 1 BOX 167E                                                                            ORFORDVILLE         WI 53576
MASON, GARY L            5800 MASON LN                                                                            MARTINSVILLE        IN 46151‐7863
MASON, GARY R            4478 S GRIFFIN AVE                                                                       MILWAUKEE           WI 53207‐5028
MASON, GARY W            11491 N PADDOCK RD S                                                                     MOORESVILLE         IN 46158‐6319
MASON, GENEVA            2917 SOUTHWOOD DR                                                                        DALLAS              TX 75233‐2737
MASON, GENEVIEVE M       3362 SASHABAW RD                                                                         WATERFORD           MI 48329‐4050
MASON, GEORGE            DEARIE & ASSOCIATES JOHN C         515 MADISON AVE RM 1118                               NEW YORK            NY 10022‐5456
MASON, GEORGE W          3938 KNOB CREEK OVERLOOK                                                                 INDIANAPOLIS        IN 46234‐1310
MASON, GEORGE W          10463 WHITE ST                                                                           GOSHEN              OH 45122‐9614
MASON, GERALDINE         9405 GENERAL WAY APT 208                                                                 INDIANAPOLIS        IN 46216
MASON, GERALDINE         1109 MOUNT HOLLY RD                                                                      EL DORADO           AR 71730‐4327
MASON, GERALDINE         9405 GENERAL WAY                   APARTMENT 208                                         INDIANAPOLIS        IN 46216
MASON, GLORIA J          4470 CRICKET RIDGE DR APT 101                                                            HOLT                MI 48842‐2925
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Name                  Address1                          Address2                       Address3   Address4               City                 State Zip
MASON, GLORIA J       APT 101                           4470 CRICKET RIDGE DRIVE                                         HOLT                  MI 48842‐2925
MASON, GRACY L        2639 HALLECK DR                                                                                    COLUMBUS              OH 43209‐3221
MASON, GREGORY M      817 GARY AVE                                                                                       GIRARD                OH 44420‐1919
MASON, GRETELL C      133 EXTON AVE                                                                                      TRENTON               NJ 08618‐4113
MASON, GWEN D         3662 ISLAND LAKE RD N W                                                                            KALKASKA              MI 49646‐8972
MASON, HAROLD         510 PINEGROVE LN APT F                                                                             FORT WAYNE            IN 46807‐3652
MASON, HARRY L        1011 HOSBINE ST SE                                                                                 PALM BAY              FL 32909‐3870
MASON, HARVEY R       4814 SIPPLE AVE                                                                                    BALTIMORE             MD 21206‐5604
MASON, HATTIE         28922 HERNDONWOOD DR                                                                               FARMINGTON HILLS      MI 48334‐5256
MASON, HELEN C        6077 COHOLAN ST                                                             NIAGARA FALLS ON
                                                                                                  CANADA L2J‐1K7
MASON, HELEN C        4613 PORTAGE RD                   APT 11                                    NIAGARA FALLS ON CAN
                                                                                                  L2E 6A9
MASON, HELEN M        51241 HELMAN AVE                                                                                   SOUTH BEND           IN   46637‐1962
MASON, HERBERT R      3405 CREEK RD                                                                                      SUNBURY              OH   43074‐8383
MASON, HOMER          12110 ALTON DR                                                                                     GRAFTON              OH   44044‐9529
MASON, HOWARD C       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK              VA   23510‐2212
                                                        STREET, SUITE 600
MASON, HOWARD M       183 THIRD AVE APT 626                                                                              CHULA VISTA          CA   91910
MASON, IRMA J         3044 9TH                                                                                           MONROE               MI   48162‐4805
MASON, IRMA J         7001 HOLLY HILL CT SW                                                                              BYRON CENTER         MI   49315‐8365
MASON, IRMA J         3044 9TH ST                                                                                        MONROE               MI   48162‐4805
MASON, ISAAC C        43 GREEN OAK CIR                                                                                   NASH                 TX   75569‐2200
MASON, IVOR H         20213 E 8 MILE RD #4                                                                               SAINT CLAIR SHORES   MI   48080
MASON, IZUMI Y        9351 LAKEBLUFF DR                                                                                  CLARKSTON            MI   48348‐4184
MASON, J L            7101 CATHEDRAL DR                                                                                  BLOOMFIELD HILLS     MI   48301‐3731
MASON, JACK A         5195 48 MILE RD                                                                                    CADILLAC             MI   49601
MASON, JACK A         4503 HOLE‐IN‐ONE CT                                                                                LEESBURG             FL   34748
MASON, JACK D         7642 PARKTOWN DR                                                                                   WEST CHESTER         OH   45069‐3311
MASON, JACKIE W       1229 CORNERSVILLE HWY                                                                              LEWISBURG            TN   37091‐4345
MASON, JACQUELYN L    1920 PAGE AVE                                                                                      FULLERTON            CA   92833‐4436
MASON, JAETTA         4106 S 580 W                                                                                       RUSSIAVILLE          IN   46979‐9797
MASON, JAMES          138 E 120TH ST                                                                                     CHICAGO              IL   60628‐6251
MASON, JAMES          DRAZIN HOSTEN & HAKIM             2000 TOWN CTR STE 810                                            SOUTHFIELD           MI   48075‐1306
MASON, JAMES          BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD           OH   44067
                                                        PROFESSIONAL BLDG
MASON, JAMES A        4055 HARALSON MILL RD NE                                                                           CONYERS              GA   30012‐1505
MASON, JAMES A        7473 COCHISE ST                                                                                    WESTLAND             MI   48185‐2345
MASON, JAMES ALAN     7473 COCHISE ST                                                                                    WESTLAND             MI   48185‐2345
MASON, JAMES B        8205 US RT 40                                                                                      NEW CARLISLE         OH   45344
MASON, JAMES C        17716 W PEET RD                                                                                    OAKLEY               MI   48649‐9750
MASON, JAMES C        1308 PARKVIEW MEADOWS DR                                                                           BALLWIN              MO   63011‐4204
MASON, JAMES E        APT N                             10351 NORTH LYNN CIRCLE                                          MIRA LOMA            CA   91752‐1320
MASON, JAMES H        5837 KATHRYN LN                                                                                    MATTESON             IL   60443‐1242
MASON, JAMES HAROLD   G5464 W COURT ST                                                                                   FLINT                MI   48532
MASON, JAMES L        UNIT 1011                         2150 WEST ALAMEDA ROAD                                           PHOENIX              AZ   85085‐1901
MASON, JAMES M        380 CHESTNUT ST                                                                                    MARION               OH   43302‐2941
MASON, JAMES N        5376 CROOKED STICK CT                                                                              GREENWOOD            IN   46142‐9105
MASON, JAMES P        1602 SHADY LANE ROAD                                                                               CRITTENDEN           KY   41030
MASON, JAMES P        6545 STEADMAN ST                                                                                   DEARBORN             MI   48126‐1752
MASON, JAMES R        2861 SHANNON DR                                                                                    OAKLAND              MI   48363‐2848
MASON, JAMES R        6651 MOUNT FOREST DR                                                                               SAN JOSE             CA   95120‐1930
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Name                 Address1                          Address2                      Address3   Address4         City              State Zip
MASON, JAN B         1754 SAN BENITO DR                                                                          HEMET              CA 92545‐6831
MASON, JANELL        285 WELLINGTON AVE                                                                          ROCHESTER          NY 14611‐3039
MASON, JANET M       1737 BROADWAY ST                                                                            ANDERSON           IN 46012‐2446
MASON, JANICE I      34841 AVONDALE ST                                                                           WESTLAND           MI 48186‐4342
MASON, JANICE K      225 THE RANCH RD                                                                            DEL VALLE          TX 78617‐5654
MASON, JANICE S      10400 E PEWAMO RD LOT 3                                                                     PEWAMO             MI 48873
MASON, JANIS C       13723 HARVEST LN                                                                            BATH               MI 48808‐8492
MASON, JAQUELINE F   817 JULIA ST                                                                                RAYVILLE           LA 71269
MASON, JARED
MASON, JAY E         3248 GREENBRIAR RD                                                                          ANDERSON          IN   46011‐2344
MASON, JEFFREY D     PO BOX 1487                       4224 RIVERSIDE DRIVE                                      EVANS             GA   30809‐1487
MASON, JEFFREY W     4700 S CRYSLER AVE                                                                          INDEPENDENCE      MO   64055‐5725
MASON, JENNIFER L    RR 3 BOX 558                                                                                VANDALIA          IL   62471‐9590
MASON, JERRY L       PO BOX 297                                                                                  BLAND             MO   65014‐0297
MASON, JESSE L       7111 JENNIFER LN                                                                            PRINCETON         LA   71067‐9152
MASON, JOANN R       5900 W 69TH ST                                                                              OVERLAND PARK     KS   66204‐1513
MASON, JOE E         6266 LINKWOOD CIR                                                                           INDIANAPOLIS      IN   46236‐7722
MASON, JOE L         6405 HIGHWAY 59                                                                             SOMERVILLE        TN   38068‐5001
MASON, JOHN          1548 N CAREY ST                                                                             BALTIMORE         MD   21217‐2806
MASON, JOHN
MASON, JOHN A        14264 VIEW DR                                                                               CAMDEN            MI   49232‐9539
MASON, JOHN A        2336 KEYLON DR                                                                              WEST BLOOMFIELD   MI   48324‐1333
MASON, JOHN A        1403 SUNSET BLVD                                                                            FLINT             MI   48507‐4062
MASON, JOHN ALLEN    14264 VIEW DR                                                                               CAMDEN            MI   49232‐9539
MASON, JOHN B        3410 TRAVERA PL                                                                             CENTRALIA         WA   98531‐9324
MASON, JOHN B        11241 22 MILE RD                                                                            MARSHALL          MI   49068‐9772
MASON, JOHN E        408 E 66TH ST                                                                               ANDERSON          IN   46013‐3513
MASON, JOHN E        217 CATALPA ST                                                                              NEW KENSINGTN     PA   15068‐5601
MASON, JOHN E        707 W MARKET ST                                                                             WARSAW            IN   46580‐2518
MASON, JOHN E        115 PENINSULA POINT RD                                                                      STARR             SC   29684
MASON, JOHN ERIC     707 W MARKET ST                                                                             WARSAW            IN   46580‐2518
MASON, JOHN G        11950 BIG SPRING RD                                                                         CLEAR SPRING      MD   21722‐1925
MASON, JOHN H        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                       STREET, SUITE 600
MASON, JOHN K        2199 DOVE ST                                                                                NEWTON            NC   28658‐8432
MASON, JOHN L        1220 LEMPI DR                                                                               DAVISON           MI   48423‐2884
MASON, JOHN L        21700 BROOKSIDE NORTH DR                                                                    MACOMB            MI   48044‐5447
MASON, JOHN M        8485 SCHREPFER ROAD                                                                         HOWELL            MI   48855‐8306
MASON, JOHN O        9709 E 79TH TER                                                                             RAYTOWN           MO   64138‐1915
MASON, JOHN O        1609 SPRINGLAKE RD                                                                          WICHITA FALLS     TX   76305‐5155
MASON, JOHN P        601 CHINOOK DR                                                                              DEFIANCE          OH   43512‐3353
MASON, JOHN R        36 RANDOLPH ST                                                                              HUNTINGTON        IN   46750‐2113
MASON, JONATHAN      TRIOLA JANE L                     64242 HIGHWAY 41                                          PEARL RIVER       LA   70452‐3602
MASON, JONATHAN      RUSSELL RANDY                     70439 COURTANO DR                                         COVINGTON         LA   70433‐5277
MASON, JONATHAN
MASON, JONATHAN      1492 FREMAUX AVE                                                                            SLIDELL           LA   70458‐3170
MASON, JOSEPH B      1408 LONGREACH DR                                                                           BAKERSFIELD       CA   93314‐9150
MASON, JOSEPH E      1430 E 64TH ST                                                                              LONG BEACH        CA   90805‐2537
MASON, JOSEPH R      GOLDENBERG, MILLER, HELLER &      PO BOX 959                                                EDWARDSVILLE      IL   62025‐0959
                     ANTOGNOLI
MASON, JOSEPH R      13723 HARVEST LN                                                                            BATH              MI 48808‐8492
MASON, JOSEPH S      81 VIKING DR                                                                                EATON             OH 45320‐2635
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Name                    Address1                         Address2                    Address3   Address4         City                State Zip
MASON, JOSEPHINE M      1777 WINCHESTER                                                                          LINCOLN PARK         MI 48146‐3846
MASON, JOSHUA           694 E 1150 N                                                                             LOGAN                UT 84341
MASON, JOYCE A          1812 S STEEL RD                                                                          MERRILL              MI 48637
MASON, JOYCE A          1812 SOUTH STEEL ROAD                                                                    MERRILL              MI 48637‐9521
MASON, JOYCE A          3248 GREENBRIAR RD                                                                       ANDERSON             IN 46011‐2344
MASON, JOYCE ANN        3248 GREENBRIAR RD                                                                       ANDERSON             IN 46011‐2344
MASON, JOYCE M          3428 COUNTRY FARMS RD                                                                    OREGON               OH 43616‐4164
MASON, JOYCE W          20391 SECLUDED LN                                                                        SOUTHFIELD           MI 48075‐3820
MASON, JR., CHARLES W   9067 BRIARBROOK DR NE                                                                    WARREN               OH 44484‐1745
MASON, JUANITA I        9726 TREVOR DR                                                                           DALLAS               TX 75243‐2316
MASON, JUANITA M        710 SAINT CHRISTINA LN                                                                   FLORISSANT           MO 63031‐6843
MASON, JUDITH A         2229 SW 25TH ST                                                                          CAPE CORAL           FL 33914‐3937
MASON, JULIA            1564 HAZEL ST                                                                            BIRMINGHAM           MI 48009‐6802
MASON, JULIA V          3913 WISNER ST                                                                           FLINT                MI 48504‐3708
MASON, JUNE E           5811 TUSSIC ST                                                                           WESTERVILLE          OH 43082‐9096
MASON, JUNE E           5811 TUSSIC ROAD                                                                         WESTERVILLE          OH 43082‐9096
MASON, JURLDEEN         PO BOX 6243                                                                              CINCINNATI           OH 45206‐0243
MASON, KATHLEEN         3087 KING ROAD                                                                           SAGINAW              MI 48601‐5831
MASON, KATHLEEN E       6710 ELLENTON‐GILLETTE RD.       #356                                                    PALMETTO             FL 34221‐8620
MASON, KATHLEEN E       6710 36TH AVE E LOT 356                                                                  PALMETTO             FL 34221‐8620
MASON, KATHLEEN M       14786 LANCELOT LN E N                                                                    NORTH ROYALTON       OH 44133
MASON, KATHLEEN P       539 ARVANA ST                                                                            HOUSTON              TX 77034‐2110
MASON, KATHY L          12633 SABAL PARK DR APT 108                                                              PINEVILLE            NC 28134
MASON, KEITH D          2700 BIRD RD                                                                             ORTONVILLE           MI 48462‐8464
MASON, KENDRA           NO ADDRESS GIVEN FOR CLMT
MASON, KENNETH D        5191 JASON DR                                                                            FLINT               MI   48507
MASON, KENNETH E        1327 THREE RUN RD                                                                        BUNKER HILL         WV   25413‐2711
MASON, KENNETH L        1300 102ND AVE                                                                           PLAINWELL           MI   49080‐9758
MASON, KENNETH M        207 MADISON RIDGE RD                                                                     VICKSBURG           MS   39180
MASON, KENNETH P        1070 GRANDYS LN APT 333                                                                  LEWISVILLE          TX   75077‐2861
MASON, KENNETH W        3862 BROADWAY ST                                                                         INDIANAPOLIS        IN   46205‐2710
MASON, KENNETH W        103 OAK LEAF TRL                                                                         BENTON              LA   71006‐9600
MASON, KENNETH WAYNE    103 OAK LEAF TRL                                                                         BENTON              LA   71006‐9600
MASON, KEVIN D          9397 NIGHT HARBOR DR SE                                                                  LELAND              NC   28451
MASON, KEVIN W          1039 8TH ST                                                                              CASSELBERRY         FL   32707
MASON, LARRY G          20575 LONG LAKE RD                                                                       HILLMAN             MI   49746‐9588
MASON, LARRY J          633 CANDLEWOOD TRL APT B                                                                 MANSFIELD           OH   44905‐2589
MASON, LARRY W          1329 LAWN ST                                                                             VALLEY CITY         OH   44280‐9350
MASON, LARUE            1828 NORFOLK AVE                                                                         SUPERIOR TWP        MI   48198‐3648
MASON, LAURA R          1913 SOUTHWEST BLVD SW                                                                   WARREN              OH   44485‐3973
MASON, LAURENCE G       PO BOX 1254                                                                              AULT                CO   80610‐1254
MASON, LAWRENCE         WYSOKER GLASSNER & WEINGARTNER   340 GEORGE ST                                           NEW BRUNSWICK       NJ   08901‐2011
MASON, LAWRENCE A       426 TWIN LAKES BLVD                                                                      LITTLE AGG HARBOR   NJ   08087‐8087
MASON, LAWRENCE E       5 ROSEMARY LN                                                                            SANTA BARBARA       CA   93108‐1738
MASON, LENORE I         12038 THORNRIDGE ST HIGH POINT                                                           BROOKSVILLE         FL   34613‐5552
MASON, LEOTRIA          6477 RUSTIC RIDGE TRL                                                                    GRAND BLANC         MI   48439‐4950
MASON, LEROY            ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE           MD   21202
                                                         CHARLES CENTER 22ND FLOOR
MASON, LETA M           201 W JOLLY RD APT 424                                                                   LANSING             MI   48910
MASON, LEVI             1856 PALMWOOD AVE                                                                        TOLEDO              OH   43607‐1759
MASON, LILA L           303 S. CHERRY ST                                                                         EATON               OH   45320‐2317
MASON, LISA C           1791 RIVER CREST WAY                                                                     LAWRENCEVILLE       GA   30045
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Name                  Address1                          Address2                       Address3   Address4         City              State Zip
MASON, LLOYD          1243 THURNRIDGE DR                                                                           READING            OH 45215‐3941
MASON, LOIS J         PO BOX 20683                                                                                 INDIANAPOLIS       IN 46220‐0683
MASON, LOIS M         1005 RIVERCHASE ROAD SOUTHEAST                                                               HUNTSVILLE         AL 35803‐2327
MASON, LONA M         817 FRANKLIN ST                                                                              SPOONER            WI 54801‐1022
MASON, LORI
MASON, LOU ANN        1035 KATIE LN                                                                                CICERO            IN   46034‐9398
MASON, LOWELL W       4912 TINCHER RD                                                                              INDIANAPOLIS      IN   46221‐3781
MASON, LUTHER J       500 MITCHELL LAKE RD                                                                         ATTICA            MI   48412‐9720
MASON, LYDIA          KIMMEL & SILVERMAN                30 E BUTLER AVE                                            AMBLER            PA   19002‐4514
MASON, M ELAINE       5827 PENN AVE                                                                                DAYTON            OH   45432‐1730
MASON, MAE B          250 COUNTY ROAD 2244                                                                         IVANHOE           TX   75447‐4137
MASON, MARGARET       160 DILWORTH ST                                                                              ELYRIA            OH   44035‐3908
MASON, MARGARET A     3527 S STATE ROAD 104                                                                        BRODHEAD          WI   53520‐9751
MASON, MARGARET A     11 BENTWOOD LN                                                                               LEVITTOWN         PA   19054‐2119
MASON, MARGARET M     2306 GREYTWIG DR                                                                             KOKOMO            IN   46902‐4558
MASON, MARGUERITE     5550 HARVEST HILL                 APT 301 EAST                                               DALLAS            TX   75230
MASON, MARGUERITE L   5337 B 5 CHARLOTTE                                                                           NEW PORT RICHEY   FL   34652
MASON, MARIA
MASON, MARIAN         300 MCCANDLESS ST                                                                            LINDEN            NJ   07036‐2325
MASON, MARIAN H       3872 NORTHWOOD SE                                                                            WARREN            OH   44484‐2642
MASON, MARILYN J      4140 TIDELAND                                                                                BRIDGETON         MO   63044‐3441
MASON, MARILYN J      4140 TIDELAND DR                                                                             BRIDGETON         MO   63044‐3441
MASON, MARILYN JANE   8833 BENSON CT                                                                               INDIANAPOLIS      IN   46217‐5072
MASON, MARINE V       23671 RADCLIFT ST                                                                            OAK PARK          MI   48237‐1931
MASON, MARK C         430 CEDARWOOD CT                                                                             FLUSHING          MI   48433‐1855
MASON, MARK CLAYTON   430 CEDARWOOD CT                                                                             FLUSHING          MI   48433‐1855
MASON, MARK E         390 MITCHELL LAKE RD                                                                         ATTICA            MI   48412‐9720
MASON, MARK R         3359 OLD KAWKAWLIN RD                                                                        BAY CITY          MI   48706‐1616
MASON, MARLENE Y      8344 E VESTABURG RD                                                                          VESTABURG         MI   48891‐9452
MASON, MARLIN E       29940 MARSHALL ST                 C/O MERENDA RUTLEDGE                                       SOUTHFIELD        MI   48076‐5847
MASON, MARTHA         140 BEECHCREEK RD                                                                            COLUMBUS          OH   43213
MASON, MARVIN         2626 GROSVENOR DR                                                                            CINCINNATI        OH   45231‐1836
MASON, MARY           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD        OH   44067
                                                        PROFESSIONAL BLDG
MASON, MARY A         1714 BARBARA DR                                                                              FLINT             MI   48504‐3621
MASON, MARY E         1315 W STATE ST APT 7D                                                                       TRENTON           NJ   08618‐5236
MASON, MARY J         1115 THEODORE                                                                                LANSING           MI   48915‐2146
MASON, MARY J         1115 THEODORE ST                                                                             LANSING           MI   48915‐2146
MASON, MARY L         1336 PEACHWOOD DR                                                                            FLINT             MI   48507‐5637
MASON, MAURICE F      11719 ASBURY PARK                                                                            DETROIT           MI   48227‐1182
MASON, MAX M          1551 KERN RD                                                                                 REESE             MI   48757‐9439
MASON, MAXINE S       703 S ROGERS ST APT 5                                                                        MASON             MI   48854‐1779
MASON, MELDA J        27 VIEUX CARRE CT                                                                            MISSOURI CITY     TX   77459‐2584
MASON, MELVIN         WALLACE SAUNDERS AUSTIN BROWN &   PO BOX 12290                                               OVERLAND PARK     KS   66282‐2290
                      ENOCHS
MASON, MERIDEE R      6102 KERRY AVE                                                                               CHEYENNE          WY   82009‐3514
MASON, MICHAEL E      2607 SAINT JAMES CHURCH RD                                                                   WILMINGTON        DE   19808‐4033
MASON, MICHAEL H      5406 EMERSON WAY                                                                             ANDERSON          IN   46017‐9648
MASON, MILAN J        16657 E STREET RD                                                                            MONTROSE          MI   48457‐9370
MASON, MILAN JOSEPH   16657 E STREET RD                                                                            MONTROSE          MI   48457‐9370
MASON, MILBURN N      25769 WESTWOOD RD                                                                            WESTLAKE          OH   44145‐4721
MASON, MILBURN N      25769 W. WOOD ROAD                                                                           WESTLAKE          OH   44145‐4721
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Name                  Address1                         Address2           Address3        Address4         City             State Zip
MASON, MOLLY          8759 MONROE RD                                                                       BRITTON           MI 49229‐9786
MASON, MOLLY          8759 E MONROE RD                                                                     BRITTON           MI 49229‐9786
MASON, MORGAN         1205 S STEWART RD                                                                    CHARLOTTE         MI 48813‐8347
MASON, MYRTLE         15513 FLORWOOD AVE                                                                   LAWNDALE          CA 90260
MASON, MYRTLE J       2440 WATERWORKS RD                                                                   HUNTINGTON        IN 46750‐4144
MASON, MYRTLE JOANN   2440 WATERWORKS RD                                                                   HUNTINGTON        IN 46750‐4144
MASON, NANCY J        2232 CELESTIAL DR NE                                                                 WARREN            OH 44484‐3903
MASON, NANCY L        111 FREEDOM LN                                                                       HEDGESVILLE       WV 25427
MASON, NATHANIEL E    304 GLENSHANE PASS                                                                   BEAR              DE 19701
MASON, NATHANIEL E    12321 E 56TH ST                                                                      KANSAS CITY       MO 64133‐3082
MASON, NORMA          1616 E 30TH ST                                                                       ANDERSON          IN 46016‐5611
MASON, NORMAN E       24004 E STRODE RD                                                                    BLUE SPRINGS      MO 64015‐9628
MASON, ORLANDO D      2608 JACQUELINE DR APT G20       BRANDYWINE APTS.                                    WILMINGTON        DE 19810‐2028
MASON, ORLANDO DALE   2608 JACQUELINE DR APT G20       BRANDYWINE APTS.                                    WILMINGTON        DE 19810‐2028
MASON, P B            306 PERSIMMON ST                                                                     ENGLEWOOD         FL 34223‐6155
MASON, P E            WILLOW APT 1242 BELTLINE RD SW   APT 404                                             DECATUR           AL 35601
MASON, P E            PO BOX 39                                                                            COURTLAND         AL 35618‐0039
MASON, PAMELA         9890 N POMONA AVE LOT 207                                                            KANSAS CITY       MO 64153‐1989
MASON, PAMELA         8890 N POMONA AVE LOT 207                                                            KANSAS CITY       MO 64153‐1989
MASON, PATRICIA A     W831 TAYLOR TRL                                                                      BRODHEAD          WI 53520‐9536
MASON, PATRICIA A     608 VAUGHANS GAP RD                                                                  SPRING HILL       TN 37174‐2582
MASON, PATRICIA D     PO BOX 344                                                                           COURTLAND         AL 35618‐0344
MASON, PATRICIA F     4620 ROYAL COVE DR                                                                   SHELBY TWP        MI 48316‐1500
MASON, PATRICIA K     1205 S STEWART RD                                                                    CHARLOTTE         MI 48813‐8347
MASON, PATRICIA S     2219 KOHLER ST                                                                       WATERFORD         MI 48329‐3753
MASON, PEARL          2422 TINCHTOWN RD                                                                    JAMESTOWN         TN 38556‐5403
MASON, PERRY L        12309 ROCKWOOD AVE                                                                   OKLAHOMA CITY     OK 73170‐3426
MASON, PHILIP J       12153 KIPP RD                                                                        GOODRICH          MI 48438‐9743
MASON, PHILLIP A      1535 SOUTH EAGLE STREET                                                              AURORA            CO 80012‐5773
MASON, PHYLLIS L      6281 W. VIENNA RD                                                                    CLIO              MI 48402
MASON, PHYLLIS L      6281 W VIENNA RD                                                                     CLIO              MI 48420‐9455
MASON, PRESTON        635 S 24TH ST                                                                        SAGINAW           MI 48601
MASON, PRESTON J      635 S 24TH ST                                                                        SAGINAW           MI 48601‐6509
MASON, RALPH D        131 BROMWICH LN                                                                      TOLEDO            OH 43615‐5507
MASON, RALPH DUANE    131 BROMWICH LN                                                                      TOLEDO            OH 43615‐5507
MASON, RALPH L        122 NW 12TH ST                                                                       OAK ISLAND        NC 28465‐7025
MASON, RANDY G        34501 W HIGHWAY 66                                                                   BRISTOW           OK 74010‐2387
MASON, RAYANN         1324 SWEITZER ST LOT D9                                                              GREENVILLE        OH 45331‐3303
MASON, RAYMOND C      9012 N GOLFVIEW DR                                                                   CITRUS SPRINGS    FL 34434‐4856
MASON, REBA C         502 GRACE AVE                                                                        BAXTER            TN 38544‐4430
MASON, REBECCA A      23 GREER RD                                                                          JAYESS            MS 39641‐8238
MASON, RHONDA E       PO BOX 1051                                                                          VALLEY            AL 36854‐1051
MASON, RICHARD        SIMMONS FIRM                     PO BOX 559                                          WOOD RIVER         IL 62095‐0559
MASON, RICHARD A      17 CITATION ST                                                                       HOWELL            NJ 07731‐1166
MASON, RICHARD C      2341 MAPLEWOOD ST                                                                    SYLVAN LAKE       MI 48320‐1646
MASON, RICHARD E      5405 LANCASTER HILLS DR APT 43                                                       CLARKSTON         MI 48346‐4426
MASON, RICHARD E.     5405 LANCASTER HILLS DR APT 43                                                       CLARKSTON         MI 48346‐4426
MASON, RICHARD G      3463 W CLARICE AVE                                                                   HIGHLAND          MI 48356‐2325
MASON, RICHARD G      319 MAPLE LN                                                                         WHITE LAKE        MI 48383
MASON, RICHARD L      381 BLAKELY DR                                                                       LAFAYETTE         IN 47905‐0626
MASON, RICHARD L      1616 E 30TH ST                                                                       ANDERSON          IN 46016‐5611
MASON, RICHARD L      PO BOX 2763                                                                          HUNTSVILLE        AL 35804‐2763
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Name                    Address1                         Address2                         Address3   Address4         City             State Zip
MASON, RICHARD L        1545 ORR RD                                                                                   CARO              MI 48723‐9492
MASON, RICHARD L        2144 AMY ST                                                                                   BURTON            MI 48519‐1108
MASON, RICHARD R        17860 GARVEY RD                                                                               CHELSEA           MI 48118‐9774
MASON, RICHARD W        PO BOX 1111                                                                                   NILES             MI 49120‐8011
MASON, RICK D           11028 CHELSEA CT                                                                              NORTH ROYALTON    OH 44133‐2974
MASON, RICKEY J         9443 BEECHER RD                                                                               FLUSHING          MI 48433‐9769
MASON, RICKEY JAMES     9443 BEECHER RD                                                                               FLUSHING          MI 48433‐9769
MASON, RITA
MASON, RITA JEAN        MARSH RICKARD BRYAN              800 SHADES CREEK PKWY STE 600D                               BIRMINGHAM        AL   35209‐4562

MASON, RITA W           21150 FOXTAIL DR                                                                              MOKENA           IL    60448
MASON, ROBERT A         20360 NUCLEAR PLANT RD                                                                        TANNER           AL    35671‐3560
MASON, ROBERT B         PO BOX 2976                                                                                   KOKOMO           IN    46904‐2976
MASON, ROBERT D         6219 WOODSDALE DR                                                                             GRAND BLANC      MI    48439‐8513
MASON, ROBERT D         W831 TAYLOR TRL                                                                               BRODHEAD         WI    53520‐9536
MASON, ROBERT D         2343 N STATE ROUTE 560                                                                        URBANA           OH    43078‐3078
MASON, ROBERT DALE      6219 WOODSDALE DR                                                                             GRAND BLANC      MI    48439‐8513
MASON, ROBERT E         3740 PENEDOS DRIVE                                                                            LAS VEGAS        NV    89147‐1088
MASON, ROBERT E         3867 E 1900 N                                                                                 SUMMITVILLE      IN    46070‐9034
MASON, ROBERT G         3951 LITTLE YORK RD                                                                           DAYTON           OH    45414‐2411
MASON, ROBERT G         PO BOX 275                                                                                    LAKE MILTON      OH    44429‐0275
MASON, ROBERT KENNETH   BOONE ALEXANDRA                  205 LINDA DR                                                 DAINGERFIELD     TX    75638‐2107
MASON, ROBERT L         8 PARKVIEW LN                                                                                 WILLIFORD        AR    72482‐7044
MASON, ROBERT L         2226 BANCROFT ST                                                                              SAGINAW          MI    48601‐2072
MASON, ROBERT M         310 N MARGUERITE AVE                                                                          SAINT LOUIS      MO    63135‐1853
MASON, ROBERT P         6372 EDGEHURST DR                                                                             BROOK PARK       OH    44142‐3720
MASON, ROBERT S         PO BOX 172966                                                                                 ARLINGTON        TX    76003‐2966
MASON, ROBERT S         5700 W 6TH ST APT 209                                                                         LOS ANGELES      CA    90036‐3699
MASON, ROBERT T         4034 NEVERMIND WAY                                                                            GREENWOOD        IN    46142‐9252
MASON, ROBERT T         5950 DE GIVERVILLE AVE                                                                        SAINT LOUIS      MO    63112‐1604
MASON, ROBERT W         9233 MEADOWVIEW DR                                                                            DAVISON          MI    48423‐7812
MASON, ROBERT W         11906 LENACRAVE AVE                                                                           CLEVELAND        OH    44105‐4337
MASON, RONALD           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA    23510‐2212
                                                         STREET, SUITE 600
MASON, RONALD D         64 ELF TRL                                                                                    BASSETT          VA 24055‐3086
MASON, RONALD R         11655 SHELL BARK LN                                                                           GRAND BLANC      MI 48439‐1382
MASON, ROOSEVELT        5300 ROXBURY RD                                                                               INDIANAPOLIS     IN 46226‐1548
MASON, ROSEMARY
MASON, ROY B            28921 PARDO ST FL 2                                                                           GARDEN CITY      MI    48135
MASON, ROY L            7870 PICKERING ST                                                                             PORTAGE          MI    49024‐4848
MASON, ROY O            3424 WEDDE RD                                                                                 BARNHART         MO    63012‐1825
MASON, ROYCE C          2010 COUNTY ROAD 508                                                                          RECTOR           AR    72461‐8013
MASON, RUDAWSON         4101 PASADENA ST                                                                              DETROIT          MI    48238‐2631
MASON, RUSSELL J        1336 PEACHWOOD DR                                                                             FLINT            MI    48507‐5637
MASON, RUTH A           401 MERION DRIVE                                                                              NEWTOWN          PA    18940‐1610
MASON, SABRINA          7678 FOX HUNT DR E                                                                            OLIVE BRANCH     MS    38654‐4105
MASON, SAMUEL S         118 TIMBERLAND DR                                                                             COLUMBIA         TN    38401‐7763
MASON, SAMUEL W         2193 WILL BUTCHEE RD                                                                          LAUDERDALE       MS    39335‐9656
MASON, SANDRA A         1475 FLAMINGO DR LOT 266                                                                      ENGLEWOOD        FL    34224
MASON, SARAH A          1407 N PHILIPS ST                                                                             KOKOMO           IN    46901‐2678
MASON, SCOTT P          7644 PAYNE AVE                                                                                DEARBORN         MI    48126‐1035
MASON, SHANE C          10837 ZIMMERMAN LN                                                                            INDIANAPOLIS     IN    46231‐2002
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Name                   Address1                            Address2            Address3         Address4         City              State Zip
MASON, SHANNON S       537 S MAPLELEAF RD                                                                        LAPEER             MI 48446‐3515
MASON, SHEILA R        14853 W LANG RD                                                                           ORFORDVILLE        WI 53576‐9697
MASON, SHERRI L        3137 SW 93RD ST                                                                           OKLAHOMA CITY      OK 73159‐6542
MASON, SHIRELLE G      400 WALLINGFORD AVE                                                                       MEDIA              PA 19063‐3912
MASON, SHIRLEY A       524 SOMERSET DR                                                                           KOKOMO             IN 46902‐3336
MASON, SHIRLEY A       122 NW 12TH ST                                                                            OAK ISLAND         NC 28465‐7025
MASON, SHIRLEY J       12 BRAZOS RIVER CIR                                                                       BROWNSVILLE        TX 78520‐9560
MASON, SIDNEY S        1219 SW 48TH TER APT 104                                                                  CAPE CORAL         FL 33914‐7327
MASON, SIDNEY SCOTT    1219 SW 48TH TER APT 104                                                                  CAPE CORAL         FL 33914‐7327
MASON, STEFON          4452 GAELIC WAY                                                                           SNELLVILLE         GA 30039‐8462
MASON, STEPHEN A       2901 ARIES CT                                                                             CINCINNATI         OH 45251‐2601
MASON, STEPHEN D       2440 WATERWORKS RD                                                                        HUNTINGTON         IN 46750‐4144
MASON, STEVEN A        19519 BRETTON DR                                                                          DETROIT            MI 48223‐1268
MASON, STEVEN J        244 WOODBRIAR RD                                                                          NOBLE              OK 73068
MASON, STEVEN J        103 N CREEKDALE DR                                                                        NORMAN             OK 73072‐4633
MASON, STEVEN L        W300 HALFWAY TREE RD                                                                      BRODHEAD           WI 53520‐9108
MASON, STEVEN R        814 VERNAL LN                                                                             SHREVEPORT         LA 71118‐4126
MASON, STEVEN RONALD   814 VERNAL LN                                                                             SHREVEPORT         LA 71118‐4126
MASON, SUSAN E         19551 BURLINGTON DR                                                                       DETROIT            MI 48203‐1453
MASON, SUSAN F         11950 BIG SPRING RD                                                                       CLEAR SPRING       MD 21722‐1925
MASON, SUSAN K         2793 LECLAIR TRL                                                                          HALE               MI 48739‐9187
MASON, SYLVIA S        115 PENINSULA POINT RD                                                                    STARR              SC 29684
MASON, TALMADGE S      4730 S LANGLEY AVE                                                                        CHICAGO             IL 60615‐1514
MASON, TERRY A         608 VAUGHANS GAP RD                                                                       SPRING HILL        TN 37174‐2582
MASON, TERRY J         7075 E FRANCES RD                                                                         MOUNT MORRIS       MI 48458‐9714
MASON, THERON L        5332 LAPEER RD                                                                            BURTON             MI 48509‐2228
MASON, THOMAS D        504 RIVERA DR                                                                             SAINT SIMONS IS    GA 31522‐1743
MASON, THOMAS O        32689 PALMER RD                                                                           WESTLAND           MI 48186‐4700
MASON, THOMAS O        29 SKYVIEW DR                                                                             SEVEN HILLS        OH 44131‐2813
MASON, THOMAS P        1388 HUNTER RD                                                                            FRANKLIN           TN 37064‐9605
MASON, THOMAS R        3286 CATHERINE ST                                                                         VIENNA             OH 44473‐9539
MASON, THOMAS R        1585 SPINNAKER DR                                                                         ALPHARETTA         GA 30005‐4207
MASON, THOMAS S        3686 DEMURA DR SE                                                                         WARREN             OH 44484‐3722
MASON, THURMAN L       11 LAKE ST                                                                                PONTIAC            MI 48341‐2121
MASON, THYRA C         516 SE 4TH ST LOT 35                                                                      OKEECHOBEE         FL 34974‐4454
MASON, THYRA C         516 S. E. 4TH ST. LOT #35                                                                 OKECHOBEE          FL 34974‐4454
MASON, TIMOTHY         PO BOX 24733                                                                              SAINT LOUIS        MO 63115‐0633
MASON, TONYA R         5812 WALTERS WAY                                                                          LANSING            MI 48917‐5139
MASON, VERNON L        7385 ERBIE ST                                                                             DETROIT            MI 48213‐2345
MASON, VICKIE
MASON, VIOLA E         17259 MAINE ST                                                                            DETROIT           MI    48212‐1529
MASON, VIOLA V         2083 NEWMARK DR                                                                           DELTONA           FL    32738‐6117
MASON, VIOLET O        16568 LENORE                                                                              DETROIT           MI    48219‐3646
MASON, VIVIAN M        5745 W 550 N                                                                              SHARPSVILLE       IN    46068‐9305
MASON, WALLACE D       566 DAVIS RD                                                                              STOCKBRIDGE       GA    30281‐3149
MASON, WALTON A        204 WOBURN                                                                                WILLIAMSBURG      VA    23188‐8932
MASON, WANDA
MASON, WANDA           WALLACE SAUNDERS AUSTIN BROWN &     PO BOX 12290                                          OVERLAND PARK      KS   66282‐2290
                       ENOCHS
MASON, WARREN L        1945 CLARK RD                                                                             SPEEDWAY          IN 46224‐5330
MASON, WARREN W        PO BOX 8458                                                                               OLIVETTE          MO 63132‐0458
MASON, WAYNE E         4181 RUTH DR                                                                              ROOTSTOWN         OH 44272‐9614
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Name                            Address1                     Address2                 Address3    Address4         City             State Zip
MASON, WAYNE E                  2713 W CLARK RD                                                                    LANSING           MI 48906‐9308
MASON, WAYNE S                  7547 RIDGE RD                                                                      GASPORT           NY 14067‐9425
MASON, WESLEY K                 1350 N LAKE AVE LOT 142                                                            AVON PARK         FL 33825‐2440
MASON, WILBERT L                1310 WINDEMERE AVE                                                                 BALTIMORE         MD 21218‐3015
MASON, WILBUR F                 410 E WATER ST                                                                     PENDLETON         IN 46064‐1050
MASON, WILFORD A                14254 VERNON RD                                                                    BYRON             MI 48418‐9744
MASON, WILLIAM                  419 SHORT ST                                                                       DANVILLE           IL 61832‐4828
MASON, WILLIAM                  2919 BROUSE AVE                                                                    INDIANAPOLIS      IN 46218‐2710
MASON, WILLIAM C                7601 WOLFPEN GLEN CT                                                               PROSPECT          KY 40059‐7112
MASON, WILLIAM D                130 WASHINGTON ST                                                                  SPARTA            MI 49345‐1324
MASON, WILLIAM D                418 SW WINDMILL LN                                                                 LEES SUMMIT       MO 64082‐4625
MASON, WILLIAM E                226 WEST MARENGO AVENUE                                                            FLINT             MI 48505‐3261
MASON, WILLIAM E                226 W MARENGO AVE                                                                  FLINT             MI 48505‐3261
MASON, WILLIAM H                18920 WILDEMERE ST                                                                 DETROIT           MI 48221‐2217
MASON, WILLIAM J                38 EAGLE GREENS CT                                                                 PLAINWELL         MI 49080‐9129
MASON, WILLIAM J                1016 BRUNSWICK WAY                                                                 ANDERSON          IN 46012‐2616
MASON, WILLIAM J                752 S FAIRVIEW AVE                                                                 ELMHURST           IL 60126‐4233
MASON, WILLIAM JAMES            752 S FAIRVIEW AVE                                                                 ELMHURST           IL 60126‐4233
MASON, WILLIAM L                8712 BASS CREEK AVE N                                                              BROOKLYN PARK     MN 55428‐2643
MASON, WILLIAM L                7009 112TH AVE                                                                     PRINCETON         MN 55371‐7004
MASON, WILLIAM LAWRENCE         7009 112TH AVE                                                                     PRINCETON         MN 55371‐7004
MASON, WILLIAM M                356 E 271ST ST                                                                     EUCLID            OH 44132‐1608
MASON, WILLIE                   SHANNON LAW FIRM             100 W GALLATIN ST                                     HAZLEHURST        MS 39083‐3007
MASON, WILLIE E                 528 S 31ST ST                                                                      SAGINAW           MI 48601‐6435
MASON, WILLIE J                 3508 W HOBSON AVE                                                                  FLINT             MI 48504‐1454
MASON, WILLIE L                 5036 CARNEGIE ST                                                                   SAGINAW           MI 48601‐6807
MASON, WILLIE O                 PO BOX 253                                                                         PLEASANT PLN      OH 45162‐0253
MASON, WILLIE O                 9290 MORROW‐WOODVILLE RD                                                           PLEASANT PLAIN    OH 45162
MASON, WILMA J                  1416 HUTCHINS DR                                                                   KOKOMO            IN 46901‐1976
MASON, WOODROW W                111 FREEDOM LN                                                                     HEDGESVILLE       WV 25427
MASON,MARTHA                    109 E LAKEVIEW AVE                                                                 COLUMBUS          OH 43202‐1216
MASON,SHERRI L                  3137 SW 93RD ST                                                                    OKLAHOMA CITY     OK 73159‐6542
MASON‐ DARRAH, MARY E           10608 N CLARK AVE                                                                  ALEXANDRIA        IN 46001‐9023
MASON‐ DARRAH, MARY E           216 EAST 5TH STREET                                                                ALEXANDRIA        IN 46001‐2603
MASON‐CHENEY, LINDA R           2303 TAMARACK RD                                                                   ANDERSON          IN 46011‐2608
MASON‐DEAN, CYNTHIA E           PO BOX 1872                                                                        IMPERIAL BCH      CA 91933‐1872
MASON‐KARAS DIST/DET            8140 GREENFIELD RD                                                                 DETROIT           MI 48228‐2291
MASON‐STEPP, CRISTINA D         4100 SEAWAY DR                                                                     LANSING           MI 48911‐2553
MASONIC LEARING CTR FOR CHILD   614 CENTER AVE                                                                     BAY CITY          MI 48708‐5947
MASONRY, JB                     BLUMENTHAL & MARKHAM         2255 CALLE CLARA                                      LA JOLLA          CA 92037‐3107
MASONS ADULT FOSTER CARE
MASOOD ABDULLAH                 PO BOX 9022                  ADAM OPEL RUESSELSHEIM                                WARREN           MI   48090‐9022
MASOOD, SAQIB S                 1124 MILBROOK RD                                                                   CANTON           MI   48188‐5088
MASOPUST, HELEN B               218 HIGH ST                                                                        THOMASTON        CT   06787‐1520
MASOPUST, HELEN B               218 HIGH STREET                                                                    THOMASTON        CT   06787‐1520
MASOTTI SR, RICHARD J           161 MAXINE RD                                                                      BRISTOL          CT   06010‐2355
MASOTTI, DIANE V                46 CHERRY ST                                                                       BRISTOL          CT   06010‐6103
MASOTTI, JOSEPH P               116 MAUREEN DR                                                                     BRISTOL          CT   06010‐2920
MASOTTO, JACQUELINE             16639 CORKWOOD DR                                                                  TAMPA            FL   33626
MASOTTO, MARY P                 773 LEXINGTON DR.                                                                  HERMITAGE        PA   16148‐3702
MASOUD AMIN‐JAVAHERI            PO BOX 9022                  ADAM OPEL                                             WARREN           MI   48090‐9022
MASOUD M NAGI                   2861 ROULO ST                                                                      DEARBORN         MI   48120‐1546
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Name                               Address1                              Address2                       Address3                   Address4               City                State Zip
MASOUD NAGI                        2861 ROULO ST                                                                                                          DEARBORN             MI 48120‐1546
MASOUD SATTARIPOUR                 PO BOX 80044                                                                                                           ROCHESTER            MI 48308‐0044
MASOUD ZETOUNA                     5119 GREENBRIAR DR                                                                                                     W BLOOMFIELD         MI 48323‐2325
MASOURIDIS, PATRICIA E             6291 MEISNER RD                                                                                                        CHINA                MI 48054‐3208
MASOWICH, ANDREW                   6401 WINTERHAVEN DR                                                                                                    MADISON              OH 44057‐3408
MASQUAT, FRANCIS J                 15411 VICTORY BLVD                                                                                                     VAN NUYS             CA 91406‐6239
MASRI, JAMAL O                     26847 VAN BUREN RD                                                                                                     DEARBORN HEIGHTS     MI 48127‐1079
MASS BAY AUTOMOTIVE, LLC           700 PROVIDENCE HIGHWAY                                                                                                 NORWOOD              MA
MASS ELECTRONICS (FORMERLY         40 EAST PEARCE ST                                                                               RICHMOND HILL ON L4B
MASSCOMP & MASS)                                                                                                                   1B7 CANADA
MASS ELECTRONICS LTD               40 EAST PEARCE STREET                                                                           RICHMOND HILL CANADA
                                                                                                                                   ON L4B 1B7 CANADA
MASS GROUP INC                     21601 DEVONSHIRE ST STE 108                                                                                            CHATSWORTH          CA   91311‐8403
MASS INDUSTRIAL SUPPLY             208 BROADWAY                                                                                                           CHELSEA             MA   02150‐2738
MASS, CLARENCE                     775 WEST CAREY LANE                                                                                                    AVON PARK           FL   33825‐2378
MASS, JAMES A                      223 GRANADA AVE                                                                                                        YOUNGSTOWN          OH   44504‐1819
MASS, JEFFREY D                    873 SAND LAKE DR                                                                                                       ZEELAND             MI   49464‐9174
MASS, WANDA J                      775 WEST CAREY LANE                                                                                                    AVON PARK           FL   33825‐2378
MASSA GARY R                       MASSA, GARY                           9047 FLOWER ST                                                                   BELLFLOWER          CA   90706‐5605
MASSA, ANTHONY P                   231 SUSSEX L                                                                                                           WEST PALM BEACH     FL   33417
MASSA, DELLA S                     2234 W KING ST                                                                                                         KOKOMO              IN   46901‐5025
MASSA, DENISE M                    1365 BETH LN                                                                                                           ORTONVILLE          MI   48462‐9752
MASSA, DOROTHY G                   12097 CARMELA DR 36                                                                                                    FENTON              MI   48430
MASSA, GREGORY R                   859 RAMBLEWOOD DR                                                                                                      ROCHESTER           MI   48307‐6067
MASSA, JUDY B                      488 WINDMEADOWS STREET                                                                                                 ALTAMONTE SPRINGS   FL   32701
MASSA, JULIA                       520 GOLDEN BEAR DR                                                                                                     AUSTIN              TX   78738
MASSA, KIRSTEN E                   3327 VARDON DR                                                                                                         ROCHESTER HILLS     MI   48307‐5254
MASSA, LORNA J                     35558 ANN ARBOR TRL                                                                                                    LIVONIA             MI   48150‐3596
MASSA, MICHAEL G                   1365 BETH LN                                                                                                           ORTONVILLE          MI   48462‐9752
MASSA, NICHOLAS D                  30797 PRIMROSE DR                                                                                                      WARREN              MI   48088‐5943
MASSA, PIERINO                     235 HUNTINGTON AVE                                                                                                     BRONX               NY   10465‐3231
MASSA, TIMOTHY A                   3749 HIGHWAY Z                                                                                                         HILLSBORO           MO   63050‐3714
MASSA, WILLIE C                    PO BOX 513                                                                                                             MIDLOTHIAN          VA   23113‐0513
MASSAC RENTAL INC                  PO BOX 629                                                                                                             MURRAY              KY   42071‐0010
MASSACHUSETTES INSTITUTE OF        77 MASSACHUSETTS AVE                  STUDENT SERVICE CTR 11 120                                                       CAMBRIDGE           MA   02139‐4301
TECHNOLOGY
MASSACHUSETTS AUTO BODY            20 EAST ST                                                                                                             HANOVER             MA 02339
ASSOCIATION INC
MASSACHUSETTS BAY COMMUNITY        50 OAKLAND ST                                                                                                          WELLESLEY           MA 02481‐5307
COLLEGE
MASSACHUSETTS BAY TRANSPORTATION   36 ARLINGTON AVE                                                                                                       CHARLESTOWN         MA 02129‐1008
AUTHORITY
MASSACHUSETTS COLLEGE OF ART       621 HUNTINGTON AVE                                                                                                     BOSTON              MA 02115‐5801
MASSACHUSETTS CONVENTION CENTER    415 SUMMER ST                                                                                                          BOSTON              MA 02210‐1719
AUTHORITY
MASSACHUSETTS DEPARTMENT OF        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 205B LOWELL ST                                                                  WILMINGTON          MA 01887‐2941
ENVIRONMENTAL PROTECTION
MASSACHUSETTS DEPARTMENT OF        CAROL IANCU ASSISTANT ATTORNEY         MASSACHUSETTS OFFICE OF THE   ONE ASHBURTON PLACE 18TH                          BOSTON              MA 02108
ENVIRONMENTAL PROTECTION           GENERAL                                ATTORNEY GENERAL              FLOOR
MASSACHUSETTS DEPARTMENT OF        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. P.O. BOX 7039                                                                   BOSTON              MA 02204‐7039
REVENUE
                                   09-50026-mg            Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
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Name                              Address1                               Address2                        Address3              Address4              City           State Zip
MASSACHUSETTS DEPARTMENT OF       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 7010                                                                 BOSTON          MA 02204‐7010
REVENUE
MASSACHUSETTS DEPARTMENT OF       PO BOX 7010                                                                                                        BOSTON         MA 02204‐7010
REVENUE
MASSACHUSETTS DEPARTMENT OF       P.O. BOX 7039                                                                                                      BOSTON         MA 02204‐7039
REVENUE
MASSACHUSETTS DEPT OF REVENUE     PO BOX 7025                                                                                                        BOSTON         MA 02204‐7025
MASSACHUSETTS DEPT OF REVENUE     ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 7025                                                                 BOSTON         MA 02204‐7025

MASSACHUSETTS DEPT OF REVENUE     PO BOX 7010                                                                                                        BOSTON         MA   02204‐7010
MASSACHUSETTS ELECTRIC                                                  161 MULBERRY ST                                                                             MA   02302
MASSACHUSETTS INSTITUTE OF TEC    77 MASSACHUSETTS AVE RM E19‐75                                                                                     CAMBRIDGE      MA   02139
MASSACHUSETTS INSTITUTE OF TECH   77 MASSACHUSETTS AVE RM E19‐75                                                                                     CAMBRIDGE      MA   02139
MASSACHUSETTS INSTITUTE OF        238 MAIN ST STE 200                                                                                                CAMBRIDGE      MA   02142‐1016
TECHNOLOGY
MASSACHUSETTS INSTITUTE OF        20 AMES ST                            MEDIA LAB SMART CITIES E15‐001                                               CAMBRIDGE      MA 02142‐1308
TECHNOLOGY
MASSACHUSETTS INSTITUTE OF        OFFICE OF TREASURER                   77 MASSACHUSETTS AVE E40 315                                                 CAMBRIDGE      MA 02139
TECHNOLOGY
MASSACHUSETTS INSTITUTE OF        77 MASSACHUSETTS AVE                  ROOM 35‐210                                                                  CAMBRIDGE      MA 02139
TECHNOLOGY
MASSACHUSETTS INSTITUTE OF        35 237 77 MASS AVE                                                                                                 CAMBRIDGE      MA 02139
TECHNOLOGY
MASSACHUSETTS INSTITUTE OF        77 MASSACHUSETTES AVE                                                                                              CAMBRIDGE      MA
TECHNOLOGY
MASSACHUSETTS INSTITUTE OF        77 MASSACHUSETTS AVE                                                                                               CAMBRIDGE      MA 02139‐4301
TECHNOLOGY RM 11 120
MASSACHUSETTS INSTUTE OF TECH     SLOAN SCHOOL OF MANAGEMENT            77 MASSACHUSETTS AVE           ATTN ANNMARIE LEBLANC                         CAMBRIDGE      MA 02139‐4301
MASSACHUSETTS INSTUTITE OF        TRANSPORTATION & LOGISTICS            77 MASSACHUSETTS AVE RM E40273                                               CAMBRIDGE      MA 02139
TECHNOLOGY CENTER FOR
MASSACHUSETTS MARITIME ACADEMY    101 ACADEMY DR                                                                                                     BUZZARDS BAY   MA 02532‐3405
MASSACHUSETTS MUTUAL LIFE         ATTN SECURITIES INVESTMENT DIVISION   1295 STATE STREET                                                            SPRINGFIELD    MA 01111
INSUARNCE CO
MASSACHUSETTS MUTUAL LIFE         C/O DAVID L BABSON & COMPANY INC      ATTN SECURITIES INVESTMENT       1295 STATE STREET                           SPRINGFIELD    MA 01111
INSURANCE CO                                                            DIVISION
MASSACHUSETTS SCHOOL OF LAW       500 FEDERAL ST                                                                                                     ANDOVER        MA   01810‐1017
MASSACHUSETTS STATE POLICE        490 WORCESTER RD                                                                                                   FRAMINGHAM     MA   01702‐5309
MASSACHUSETTS TURNPIKE AUTH       FAST LANE VIOLATION PROC CNTR         PO BOX 8001                                                                  AUBURN         MA   01501‐8001
MASSACHUSETTS WATER RESOURCE                                            2 GRIFFIN WAY                                                                               MA   02150
AUTHORITY
MASSACHUSETTS WATER RESOURCES     97 E HOWARD ST #14                                                                                                 QUINCY         MA 02169
AUTH
MASSACHUSETTS WATER RESOURCES     100 FIRST AVENUE                      CHARLESTOWN NAVY YARD            BLDG 39                                     BOSTON         MA 02129
AUTHORITY
MASSACHUSETTS, UNIVERSITY OF      408 GOODELL BLDG                                                                                                   AMHERST        MA 01003
MASSACHUSSETTS INSTITUE OF        CTR FOR TRANS & LOGISTICS             77 MASSACHUSETTS AVE RM E40276                                               CAMBRIDGE      MA 02139
TECHNOLOGY
MASSAD FAMILY LLC                 C/O DIAMOND CHEVROLET                 520 PARK AVE                                                                 WORCESTER      MA 01603‐2535
MASSAGE THERAPEUTIC               160 NORTH ST                                                                                                       BUFFALO        NY 14201‐1525
MASSAHOS, SUE E                   8216 KENTUCKY CIR                                                                                                  BLOOMINGTON    MN 55438‐1249
MASSAIA FRANCESCO                 VIA MAGENTA 35                                                                               BRA‐CN‐ITALY 12042
MASSAR, JAMES J                   633 PERRY CREEK DR                                                                                                 GRAND BLANC    MI 48439‐1479
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Name                          Address1                         Address2                        Address3   Address4                City              State Zip
MASSAR, JOSEPHINE J           2336 GREENWOOD LANE                                                                                 GRAND BLANC        MI 48439‐4322
MASSARA, DANIEL A             552 VEREDA DEL CIERVO                                                                               GOLETA             CA 93117‐5306
MASSARELLI, PAT               1425 ALEXANDER DR                                                                                   HAMILTON           OH 45013‐5146
MASSARELLO, JACK S            47320 MABEN RD                                                                                      CANTON             MI 48187‐5427
MASSARI, FRANK J              2009 HIGHLAND AVE                                                                                   GREENSBURG         PA 15601‐5514
MASSARI, JOSEPH               654 HILL RD                                                                                         TOMS RIVER         NJ 08753‐5507
MASSARO DOMINICK (481242)     KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                      CLEVELAND          OH 44114
                                                               BOND COURT BUILDING
MASSARO JR, LOUIS P           576 WOODSIDE TRAILS DR                                                                              BALLWIN           MO   63021
MASSARO TOM                   333 MIDDLE TPKE W                                                                                   MANCHESTER        CT   06040‐3834
MASSARO, ANGELO J             43 POPPY ST                                                                                         ROCHESTER         NY   14617‐2614
MASSARO, BEATRICE A           1047 GUINEVERE DR                                                                                   ROCHESTER         NY   14626‐4365
MASSARO, CLARA M              2525 ROYAL PINE CR               UNIT L                                                             CLEARWATER        FL   33763‐1114
MASSARO, DANIEL               24 COLONY ST                                                                                        BRISTOL           CT   06010‐6146
MASSARO, DOMINICK             KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                       CLEVELAND         OH   44114
                                                               BOND COURT BUILDING
MASSARO, ELIZABETH A          8228 POINT DR                                                                                       WIND LAKE         WI   53185
MASSARO, ELOISE M             978 COUNTY ROUTE 43                                                                                 FT COVINGTON      NY   12937‐3019
MASSARO, FABIAN J             4798 CREW HOOD RD                                                                                   GIRARD            OH   44420‐1320
MASSARO, JACQUELYN N          3303 STRALEY LN                                                                                     YOUNGSTOWN        OH   44511‐3358
MASSARO, JAMES F              28 JEROME AVE                                                                                       BURLINGTON        CT   06013‐2407
MASSARO, JOSEPH G             7 WHITNEY LN                                                                                        GRAND ISLAND      NY   14072‐2639
MASSARO, MARTA M              376 WHEELER PL                                                                                      SHARON            PA   16146‐1195
MASSARO, NATALIE T            169 BUTTERNUT LANE                                                                                  SOUTHINGTON       CT   06489‐3840
MASSARO, RANDALL L            16915 RIMWOOD DR                                                                                    WHITTIER          CA   90603‐1745
MASSARO, RITA M               150 CAMROSE DR                                                                                      NILES             OH   44446‐2130
MASSARO, RITA M               150 CAMROSE                                                                                         NILES             OH   44446‐2130
MASSARO, ROBERT J             8228 POINT DR                                                                                       WIND LAKE         WI   53185‐1476
MASSARO, SANDRA N             393 CLARK ST                                                                                        SHARON            PA   16146
MASSARO, SHIRLEY E            2319 GLENMORE CIR 316                                                                               SUN CITY CENTER   FL   33573
MASSARO, TERRY R              2203 79TH ST W                                                                                      BRADENTON         FL   34209‐5215
MASSARO, VINCENT A            5994 LAKE LANIER HEIGHTS RD                                                                         BUFORD            GA   30518‐1248
MASSAROTTO, NICHOLAS P        110 GLENVIEW PKWY                                                                                   SYRACUSE          NY   13219‐2735
MASSARSKY, GERTRUDE           8‐260D GLEN ROAD                                                                                    MONROE TWP        NJ   08831
MASSART, NEVA L               5400 ROSCOMMON RD                                                                                   DUBLIN            OH   43017
MASSARY, ARMAND N             338 WASHINGTON N.E.                                                                                 WARREN            OH   44483‐4929
MASSASOIT COMMUNITY COLLEGE   BUSINESS OFFICE                  1 MASSASOIT BLVD                                                   BROCKTON          MA   02302‐3900
MASSBERG, ROBERT W            304 SOUTHAMPTON BLVD                                                                                AUBURNDALE        FL   33823‐5626
MASSCOMP ELECTRONICS LTD      40 EAST PEARCE STREET                                                       RICHMOND HILL CANADA
                                                                                                          ON L4B 1B7 CANADA
MASSE, CRYSTAL
MASSE, JAMES C                PO BOX 538                                                                                          LAKE              MI 48632‐0538
MASSE, JANET                  1774 CAILLE AVE                                                             BELLE RIVER ONTARIO
                                                                                                          CANADA N0R‐1A0
MASSE, JASON                  4183 CHARTER OAK DR                                                                                 FLINT             MI 48507‐5551
MASSE, JEANNINE M             31955 QUARTZ LN                                                                                     CASTAIC           CA 91384‐3107
MASSE, LOUIS L                2109 N REAR RD                                                              COMBER ON CANADA N0P‐
                                                                                                          1J0
MASSE, MARGRETT P             716 LINCOLN AVE                                                                                     FLINT             MI   48507‐1752
MASSE, MICHAEL W              2310 PUMPKIN CREEK LN                                                                               SPRING HILL       TN   37174‐7502
MASSE, NORA A                 1844 RANDOLPH ST                                                                                    DELANO            CA   93215‐1525
MASSE, ROLAND A               357 TUCSON ST                                                                                       AURORA            CO   80011‐8440
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Name                               Address1                      Address2                         Address3   Address4         City               State Zip
MASSE, ROSE F                      924 CRAWFORD ST                                                                            FLINT               MI 48507‐2465
MASSEAU, GARY L                    1770 E WEBB RD                                                                             DEWITT              MI 48820‐8365
MASSEAU, MICHEL A                  2783 CENTURY CT                                                                            ATLANTA             GA 30340‐3222
MASSEAU, THOMAS M                  304 N CATHERINE ST                                                                         LANSING             MI 48917‐2930
MASSELLA, MICHELINA E              186 WHITE SHADOW COURT                                                                     LAS VEGAS           NV 89123‐9123
MASSEN, RICHARD C                  16016 W DORNER RD                                                                          BRODHEAD            WI 53520‐9049
MASSENA ALUMINUM HISTORICAL        1100 MORDEN BLUSH LN          APT C                                                        WEBSTER             NY 14580‐4507
ASSOCIATION
MASSENA AREA SOAP BOX DERBY        19 DOVER ST                                                                                MASSENA            NY   13662‐1627
MASSENA BASKETBALL ASSOCIATION     PO BOX 735                                                                                 MASSENA            NY   13662‐0735
MASSENA BOYS VARSITY BASKETBALL    84 NIGHTENGALE AVE            C/O T MILLER LEARY JR HIGH SCH                               MASSENA            NY   13662‐2538
MASSENA CENTRAL FOUNDRY            48 COURT STREET                                                                            CANTON             NY   13617
MASSENA CENTRAL SCHOOL             84 NIGHTENGALE AVE                                                                         MASSENA            NY   13662‐2538
MASSENA CHAMBER OF COMMERCE        50 MAIN ST                                                                                 MASSENA            NY   13662
MASSENA COUNTRY CLUB               PO BOX 248                                                                                 MASSENA            NY   13662‐0248
MASSENA ELECTRIC DEPT              PO BOX 209                                                                                 MASSENA            NY   13662‐0209
MASSENA GIRLS BASKETBALL           MASSENA CENTRAL HIGH SCHOOL   84 NIGHTENGALE AVE                                           MASSENA            NY   13662‐2538
MASSENA GIRLS SOCCER               NIGHTENGALE AVENUE                                                                         MASSENA            NY   13662
MASSENA LITTLE LEAGUE              PO BOX 5063                                                                                MASSENA            NY   13662‐5063
MASSENA MEALS ON WHEELS            70 E HATFIELD ST                                                                           MASSENA            NY   13662‐2610
MASSENA MEML HOSP                  1 HOSPITAL DR                                                                              MASSENA            NY   13662‐1056
MASSENA MEMORIAL HOSPITAL          1 HOSPITAL DR                                                                              MASSENA            NY   13662‐1056
FOUNDATION
MASSENA MINOR HOCKEY               PO BOX 702                    HARTE HAVEN PLAZA                                            MASSENA            NY   13662‐0702
MASSENA NEIGHBORHOOD CENTER        61 BEACH ST                   STE 103                                                      MASSENA            NY   13662‐1361
MASSENA RECREATION COMMISSION      180 HARTE HAVEN PLZ           MASSENA ARENA                                                MASSENA            NY   13662‐2608
MASSENA ROBOTICS TEAM              MASSENA CENTRAL HIGH SCHOOL   84 NIGHTENGALE AVE                                           MASSENA            NY   13662‐2538
MASSENBERG, JAMES C                10220 CEDARHURST DR                                                                        SAINT LOUIS        MO   63136‐5616
MASSENBERG, MILLARD F              30047 HIGHMEADOW RD                                                                        FARMINGTON HILLS   MI   48334‐3013
MASSENBURG, CHESTER B              14902 RHODES CIR                                                                           LENEXA             KS   66215‐6112
MASSENGALE ENTERTAINMENT           SOURCE                        PO BOX 5102                                                  GREENSBORO         NC   27435‐0102
MASSENGALE JR, L                   7911 COPPOCK RD                                                                            CORRYTON           TN   37721‐2701
MASSENGALE, JAMES D                1714 BARCLAY DR                                                                            RICHARDSON         TX   75081‐2002
MASSENGALE, L S                    11820 PEED RD                                                                              RALEIGH            NC   27614‐9253
MASSENGALE, MANUEL                 583 ALGER ST                                                                               DETROIT            MI   48202‐2105
MASSENGALE, MICHAEL H              11411 S 500 E                                                                              FAIRMOUNT          IN   46928‐9127
MASSENGALE, MICHAEL HENRY          11411 S 500 E                                                                              FAIRMOUNT          IN   46928‐9127
MASSENGALE, NIKKI M                1145 OAKDALE AVE F                                                                         DAYTON             OH   45420
MASSENGALE, ROBERT D               939 COUNTY ROAD 75 S                                                                       HONORAVILLE        AL   36042‐5239
MASSENGALE, SANDRA K               PO BOX 84                                                                                  IRMO               SC   29063
MASSENGILE, VERNON                 1526 JACOBS RD                                                                             YOUNGSTOWN         OH   44505‐4566
MASSENGILL DENNIS WAYNE (497716)   BARON & BUDD                  PLAZA SOUTH TWO ‐ SUITE 200 ‐                                CLEVELAND          OH   44130
                                                                 7261 ENGLE ROAD
MASSENGILL JR, JAMES C             81 N PARKER RD                                                                             DEXTER             MI   48130‐9743
MASSENGILL'S AUTO SERVICE, INC     715 RIGSBEE AVE                                                                            DURHAM             NC   27701‐2138
MASSENGILL, BILLY E                3260 FLINTWOOD DR                                                                          COLUMBUS           IN   47203‐2820
MASSENGILL, BONNIE K               603 N GAINSBOROUGH                                                                         ROYAL OAK          MI   48067‐1938
MASSENGILL, CAROL A                81 N PARKER RD                                                                             DEXTER             MI   48130‐9743
MASSENGILL, CONLEY S               PO BOX 571                                                                                 BIG STONE GAP      VA   24219‐0571
MASSENGILL, DALE A                 2811 W BOULEVARD                                                                           KOKOMO             IN   46902‐5976
MASSENGILL, DENNIS WAYNE           BARON & BUDD                  PLAZA SOUTH TWO ‐ SUITE 200 ‐                                CLEVELAND          OH   44130
                                                                 7261 ENGLE ROAD
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Name                           Address1                         Address2                         Address3   Address4         City                  State Zip
MASSENGILL, FRED T             3159 SUBURBAN DRIVE                                                                           BEAVERCREEK            OH 45432‐2523
MASSENGILL, GEORGIA H          8759 WEDDEL ST                                                                                TAYLOR                 MI 48180‐2915
MASSENGILL, JAMES L            106 FAWN LAKE RD                                                                              COFFEEVILLE            MS 38922‐9563
MASSENGILL, JAMES M            301 KING JAMES DR                                                                             DALLAS                 GA 30157‐5924
MASSENGILL, JANIS I            3030 ALBRIGHT RD                                                                              KOKOMO                 IN 46902‐3909
MASSENGILL, JERLAINE           P.O. BOX 241                                                                                  LAWRENCEBURG           KY 40342‐0241
MASSENGILL, JERLAINE           PO BOX 241                                                                                    LAWRENCEBURG           KY 40342‐0241
MASSENGILL, MARK A             3391 23RD ST                                                                                  WYANDOTTE              MI 48192‐6014
MASSENGILL, MARK ANDREW        3391 23RD ST                                                                                  WYANDOTTE              MI 48192‐6014
MASSENGILL, RESSIE E.          4002 WATERVIEW CT                                                                             UTICA                  MI 48316‐1464
MASSENGILL, RESSIE E.          1881 N. CUSTER                                                                                MONROE                 MI 48162‐3249
MASSENGILL, TERRY R            970 VINCENT EAST                                                                              VENICE                 FL 34285‐6330
MASSENGILL, THELMA             210 HAWTHORNE OAKS WAY                                                                        POWELL                 TN 37849‐5444
MASSENZIO, LAURA               517C CROOKED LAKE LANE HIGH PT                                                                FT PIERCE              FL 34982‐6790
MASSER, BECKY S                29330 BONNIE DR                                                                               WARREN                 MI 48093‐3576
MASSER, BECKY SUE              29330 BONNIE DR                                                                               WARREN                 MI 48093‐3576
MASSER, KENNETH R              14336 STATE ROUTE 249                                                                         NEY                    OH 43549‐9739
MASSER, MICHAEL R              29330 BONNIE DR                                                                               WARREN                 MI 48093‐3576
MASSERANG, FLORENCE S          6706 MOCCASIN ST                                                                              WESTLAND               MI 48185‐2809
MASSERANG, JUDITH H            20104 E BALLANTYNE CT                                                                         GROSSE POINTE WOODS    MI 48236‐2471
MASSERANG, LAWRENCE J          255 MAYER RD APT 225C                                                                         FRANKENMUTH            MI 48734‐1493
MASSERANT, BRENT M             8253 N DIXIE HWY                                                                              NEWPORT                MI 48166‐9778
MASSERANT, BRENT MICHAEL       8253 N DIXIE HWY                                                                              NEWPORT                MI 48166‐9778
MASSERANT, LAWRENCE T          1321 WESTBEND DR                                                                              O FALLON               MO 63368‐8827
MASSERANT, RICHARD M           8450 ARMSTRONG RD                                                                             NEWPORT                MI 48166‐9324
MASSERANT, RONALD G            6223 SIGLER RD                                                                                SOUTH ROCKWOOD         MI 48179‐9517
MASSERIO, JOHN D               548 PONTE VEDRA BOULEVARD                                                                     PONTE VEDRA            FL 32082‐2316
MASSETH, JAMES E               2058 PEBBLEVIEW DR                                                                            VICTOR                 NY 14564‐9247
MASSETT, ANNE                  31 WOODVIEW DR                                                                                WILMINGTON             OH 45177
MASSEY AUTOMOTIVE, INC.        600 W BYPASS                                                                                  ANDALUSIA              AL 36420‐4731
MASSEY AUTOMOTIVE, INC.        JAMES MASSEY                     600 W BYPASS                                                 ANDALUSIA              AL 36420‐4731
MASSEY BUICK, INC.             WILLIAM GRAY                     2685 W LIBERTY AVE                                           PITTSBURGH             PA 15216‐3407
MASSEY BUICK‐GMC TRUCKS/AT&T   ONE WEST PENNSYLVANIA AVENUE                                                                  TOWSON                 MD 21204
AUTOMOTIVE SERVICES, INC.
MASSEY CADILLAC                4241 N JOHN YOUNG PKWY                                                                        ORLANDO               FL   32804
MASSEY CADILLAC                24600 GRAND RIVER AVE                                                                         DETROIT               MI   48219‐3058
MASSEY CADILLAC                8819 S ORANGE BLOSSOM TRL                                                                     ORLANDO               FL   32809‐7913
MASSEY CADILLAC                11675 LYNDON B JOHNSON FWY                                                                    GARLAND               TX   75041‐3803
MASSEY CADILLAC OF SANFORD     3700 S HWY 17‐92                                                                              SANFORD               FL   32773
MASSEY CADILLAC, INC.          B. SCOTT SMITH                   24600 GRAND RIVER AVE                                        DETROIT               MI   48219‐3058
MASSEY CHEVROLET, INC.         JAMES MASSEY                     18300 S 3RD ST                                               CITRONELLE            AL   36522‐2618
MASSEY CHEVROLET, INC.         18300 S 3RD ST                                                                                CITRONELLE            AL   36522‐2618
MASSEY CHRIS                   MASSEY, CHRIS
MASSEY CHRIS                   VOLUNTEER LEASING & SALES LLC
MASSEY CURTIS E                1040 BETTINA CT SW                                                                            MABLETON              GA   30126‐4047
MASSEY ENERGY COMPANY          MACS HALL                        300 MORGAN MASSEY DRIVE                                      JULIAN                WV
MASSEY GLORIA                  APT 318                          200 PATTERSON AVENUE                                         SAN ANTONIO           TX   78209‐6266
MASSEY HAULING INC             PO BOX 566                                                                                    ONEONTA               AL   35121‐0007
MASSEY HENRY ALLEN (473105)    BARON & BUDD                     3102 OAK LANE AVE , SUITE 1100                               DALLAS                TX   75219
MASSEY HUGH                    6278 KIDRON PL                                                                                BIRMINGHAM            AL   35235‐2100
MASSEY III, WILLIAM J          2821 INNISWOOD CIR                                                                            ARLINGTON             TX   76015‐2234
MASSEY JAMES                   7036 S FRANKLIN RD                                                                            INDIANAPOLIS          IN   46259‐9603
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Name                                 Address1                              Address2                        Address3        Address4                City                State Zip
MASSEY JAMES (446121)                BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                           NORTHFIELD           OH 44067
                                                                           PROFESSIONAL BLDG
MASSEY JOHN D (460021)               DUFFY & ASSOCS JOHN J                 23823 LORAIN RD                                                         NORTH OLMSTED       OH 44070
MASSEY JOSEPH                        INTERINSURANCE EXCHANGE OF THE        2601 S FIGUEROA ST                                                      LOS ANGELES         CA 90007‐3254
                                     AUTOMOBILE CLUB
MASSEY JOSEPH                        MASSEY, JOSEPH                        2601 S FIGUEROA ST                                                      LOS ANGELES         CA   90007‐3254
MASSEY JR, CHARLES E                 800 MADONNA BLVD                      UNIT 2                                                                  TIERRA VERDE        FL   33715
MASSEY JR, CHARLES E                 800 MADONNA BLVD                                                                                              ST PETERSBURG       FL   33715
MASSEY JR, EDWARD                    391 HARVEY                                                                                                    PONTIAC             MI   48341
MASSEY JR, GLEN A                    7349 COLDWATER RD                                                                                             FLUSHING            MI   48433‐9061
MASSEY JR, OSCAR D                   1240 N COUNTY ROAD 500 W                                                                                      NORTH VERNON        IN   47265‐7991
MASSEY JR, WILLIE                    3602 SHERRY DR                                                                                                FLINT               MI   48506‐2659
MASSEY JR, WILLIE JAMES              3119 ALLEN ST                                                                                                 INKSTER             MI   48141‐2282
MASSEY KEVIN                         1834 S TARA FALLS CT                                                                                          WICHITA             KS   67207‐6569
MASSEY LAMBARD                       8606 BAY VIEW DRIVE                                                                                           FOLEY               AL   36535
MASSEY LAMBARD                       8606 BAYVIEW DR                                                                                               FOLEY               AL   36535
MASSEY RONALD L (516889)             JACOBS & CRUMPLAR P.A.                PO BOX 1271                     2 EAST 7TH ST                           WILMINGTON          DE   19899‐1271
MASSEY SAAB OF ORLANDO               4241 N JOHN YOUNG PKWY                                                                                        ORLANDO             FL   32804
MASSEY SAAB OF ORLANDO               SMITH, B. SCOTT                       4241 N. JOHN YOUNG PKWY                                                 ORLANDO             FL   32804
MASSEY SERVICES                      315 GROVELAND ST                                                                                              ORLANDO             FL   32804‐4052
MASSEY SERVICES INC                  315 GROVELAND ST                                                                                              ORLANDO             FL   32804‐4052
MASSEY SERVICES, INC.                ERIC HERNANDEZ                        315 GROVELAND ST                                                        ORLANDO             FL   32804‐4052
MASSEY'S AUTOMOTIVE REPAIR SERVICE   33155 SOUTH FRASER WAY                                                                ABBOTSFORD BC V2S 2B1
                                                                                                                           CANADA
MASSEY, ALBERT R                     APT 512                               403 NORTHWEST 68TH AVENUE                                               PLANTATION          FL   33317‐7587
MASSEY, ALBERT W                     13225 N FOUNTAIN HILLS BLVD APT 208                                                                           FOUNTAIN HILLS      AZ   85268‐3835

MASSEY, ANGELINE                     104 CIRCLE DR                                                                                                 ETOWAH              TN   37331‐1002
MASSEY, ANGELINE                     104 CIRCLE DR.                                                                                                ETOWAH              TN   37331
MASSEY, ARBON G                      6220 TOWER DR                                                                                                 HUDSON              FL   34667‐1714
MASSEY, ASHLEY NICOLE                1707 N LINCOLN ST                                                                                             BLOOMINGTON         IN   47408
MASSEY, BARRY D                      1066 E PINE AVE                                                                                               MOUNT MORRIS        MI   48458‐1626
MASSEY, BENJAMIN J                   5416 TANGERINE DR                                                                                             NEW PORT RICHEY     FL   34652‐4242
MASSEY, BETTY A                      8142 OUTLOOK LN                                                                                               PRAIRIE VILLAGE     KS   66208‐4838
MASSEY, BETTY J                      1156 CAMELLIA DR                                                                                              MOUNT MORRIS        MI   48458‐2802
MASSEY, BEVERLY A                    5338 ALVA AVE NW                                                                                              WARREN              OH   44483‐1266
MASSEY, BILLY D                      1517 WIGGINS RD                                                                                               MAYPEARL            TX   76064‐2014
MASSEY, BILLY W                      3201 CRANBROOK CIR                                                                                            FLINT               MI   48507‐1448
MASSEY, BRANDON C                    816 SAN JUAN CIR                                                                                              FORT WAYNE          IN   46815‐7551
MASSEY, BRANDON CHAD                 816 SAN JUAN CIR                                                                                              FORT WAYNE          IN   46815‐7551
MASSEY, CALVIN E                     7488 PARADISE DR                                                                                              GRAND BLANC         MI   48439‐7100
MASSEY, CARL I                       902 GILDER DR                                                                                                 NEW CASTLE          DE   19720‐7638
MASSEY, CARRI M                      PO BOX 4028                                                                                                   GADSDEN             AL   35904‐0028
MASSEY, CHARLES G                    10323 MAGNOLIA BLOSSOM AVE                                                                                    GREENWELL SPRINGS   LA   70739‐4970
MASSEY, CHARLES T                    2820 ATLANTA HWY                                                                                              CUMMING             GA   30040‐6372
MASSEY, CURRY E                      RR 4 BOX 160                                                                                                  BUTLER              MO   64730‐9453
MASSEY, CURTIS E                     1040 BETTINA CT SW                                                                                            MABLETON            GA   30126‐4047
MASSEY, DANIEL D                     7533 DOWN HILL DR                                                                                             FORT WORTH          TX   76120‐2441
MASSEY, DANIEL E                     389 OLD PORTER PIKE                                                                                           BOWLING GREEN       KY   42103‐8507
MASSEY, DANIEL EUGENE                389 OLD PORTER PIKE                                                                                           BOWLING GREEN       KY   42103‐8507
MASSEY, DANNY P
MASSEY, DANNY P                      365 VAUGHN DR                                                                                                 GADSDEN             AL   35904‐8507
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Name                  Address1                         Address2                        Address3   Address4         City               State Zip
MASSEY, DARLENE       2227 BATES RD                                                                                MOUNT MORRIS        MI 48458‐2603
MASSEY, DAVID         2012 MORRIS AVENUE                                                                           COLUMBIA            TN 38401‐3922
MASSEY, DAVID L       3610 BURTON PL                                                                               ANDERSON            IN 46013‐5246
MASSEY, DEBORAH J     3500 S 450 W                                                                                 RUSSIAVILLE         IN 46979‐9455
MASSEY, DELTA M       20706 KAHUNA CT                                                                              ESTERO              FL 33928‐2732
MASSEY, DENNIS B      295 RUSTY TRL                                                                                ENON VALLEY         PA 16120‐2849
MASSEY, DENNIS R      11099 MERRILL RD                                                                             WHITMORE LAKE       MI 48189‐9754
MASSEY, DENNIS R      63 LAS ROBLAS GRANDE DRIVE                                                                   SANTA RSA BCH       FL 32459‐7160
MASSEY, DERRYL        GUY WILLIAM S                    PO BOX 509                                                  MCCOMB              MS 39649‐0509
MASSEY, DONALD G      33361 WESTLAKE DR                                                                            STERLING HEIGHTS    MI 48312‐6336
MASSEY, DONALD K      14 PEGUES PL                                                                                 LONGVIEW            TX 75601‐4661
MASSEY, DONALD R      4845 LESLEY AVE                                                                              INDIANAPOLIS        IN 46226‐2211
MASSEY, DONNA         937 W CHERRY CREEK RD                                                                        MIO                 MI 48647‐9389
MASSEY, DONNA M       PO BOX 144                                                                                   DAVISON             MI 48423
MASSEY, EARL G        8819 STONEHAVEN RD                                                                           RANDALLSTOWN        MD 21133‐4223
MASSEY, EDITH J       1059 MOUNT BENEVOLENCE RD                                                                    NEWTON              NJ 07860
MASSEY, EDWARD        6807 PARK HEIGHTS AVE                                                                        BALTIMORE           MD 21215
MASSEY, EDWARD E      539 W CLINTON ST                                                                             NAPOLEON            OH 43545‐1542
MASSEY, EDWARD L      113 BLUE BONNET CIR                                                                          JUSTIN              TX 76247‐5814
MASSEY, ELBA M        6820 BALMORAL TER                                                                            CLARKSTON           MI 48346‐4511
MASSEY, ERIC          225 AVRA CT                                                                                  COLUMBIA            TN 38401‐2695
MASSEY, ETHEL W       132 SELMAN DR                                                                                MONROE              LA 71203‐4741
MASSEY, FLORENCE      1005 BROOKHAVEN CT                                                                           KOKOMO              IN 46901‐3613
MASSEY, FREDA M       6230 W RIVER RD S                                                                            ELYRIA              OH 44035
MASSEY, GENE R        44 FISHER ST                                                                                 BUFFALO             NY 14211‐1918
MASSEY, GEORGE W      814 NORTH ST                                                                                 MOUNT MORRIS        MI 48458‐1741
MASSEY, GWENDOLYN     3602 SHERRY DR                                                                               FLINT               MI 48506‐2659
MASSEY, HARRY E       1539 LEMONTREE DRIVE                                                                         CINCINNATI          OH 45240‐2841
MASSEY, HATTIE D      2621 E HIGHLAND VIEW CIR SE                                                                  GRAND RAPIDS        MI 49506‐5454
MASSEY, HAZEL E       3944 CHURCH ST                                                                               WILLOUGHBY          OH 44094‐6204
MASSEY, HELEN         20674 CRESTVIEW DR                                                                           REED CITY           MI 49677‐8510
MASSEY, HELEN E       16260 MAYFAIR DR APT 101                                                                     SOUTHFIELD          MI 48075‐5919
MASSEY, HENRY A       6343 E 56TH ST                                                                               INDIANAPOLIS        IN 46226‐1635
MASSEY, HENRY ALLEN   BARON & BUDD                     3102 OAK LANE AVE, SUITE 1100                               DALLAS              TX 75219
MASSEY, HERMAN        4233 OLD MILFORD MILL RD                                                                     BALTIMORE           MD 21208‐6032
MASSEY, IRA R         2402 TATE AVE                                                                                CLEVELAND           OH 44109‐4330
MASSEY, IVY J         PO BOX 485                                                                                   COLLINSVILLE        AL 35961‐0485
MASSEY, J
MASSEY, JAMES C       6361 SMITH RD                                                                                BROOK PARK         OH   44142‐3712
MASSEY, JAMES L       9427 N 800 W                                                                                 MIDDLETOWN         IN   47356
MASSEY, JAMES L       13875 GRATIOT RD                                                                             HEMLOCK            MI   48626‐9415
MASSEY, JAMES W       525 E UNIVERSITY DR APT 1006                                                                 ROCHESTER          MI   48307‐2179
MASSEY, JEANNETTE W   12300 HEDGECOTH LN                                                                           OCEAN SPRINGS      MS   39565‐7346
MASSEY, JEN
MASSEY, JERRY         9302 SORRENTO                                                                                DETROIT            MI   48228‐2676
MASSEY, JERRY         9302 SORRENTO ST                                                                             DETROIT            MI   48228‐2676
MASSEY, JERRY L       5466 KK RD                                                                                   WATERLOO           IL   62298‐3420
MASSEY, JIMMIE N      PO BOX 384                                                                                   HILLSBORO          MO   63050‐0384
MASSEY, JIMMIE N      P O BOX 384                                                                                  HILLSBORO          MO   63050‐0384
MASSEY, JIMMY F       HC4 BOX 536                                                                                  DONITHAN           MO   63935
MASSEY, JIMMY F       HC 4 BOX 536                                                                                 DONIPHAN           MO   63935‐9322
MASSEY, JIMMY R       PO BOX 90251                                                                                 BURTON             MI   48509‐0251
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Name                 Address1                         Address2              Address3      Address4         City             State Zip
MASSEY, JOHANNA J    7488 PARADISE DR                                                                      GRAND BLANC       MI 48439‐7100
MASSEY, JOHN D       DONALDSON & BLACK                208 W WENDOVER AVE                                   GREENSBORO        NC 27401‐1307
MASSEY, JOHN D       DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                      NORTH OLMSTED     OH 44070
MASSEY, JOHN E       13505 W BOLERO DR                                                                     SUN CITY WEST     AZ 85375‐4707
MASSEY, JOHN R       2322 WOODBRIDGE AVE                                                                   EDISON            NJ 08817‐5532
MASSEY, JOHN W       179 SUMMIT RIDGE DR                                                                   FORSYTH           MO 65653‐5429
MASSEY, JOHNNY M     1947 ROMINE RD                                                                        ANDERSON          IN 46011‐8712
MASSEY, JOSEPH       327 WEST AVE APT 1                                                                    ROCHESTER         NY 14611‐2563
MASSEY, JOSEPH
MASSEY, JOSEPH G     3254 YUKON DR                                                                         PORT CHARLOTTE   FL   33948‐6130
MASSEY, JOSEPH G     3254 YUKON DR.                                                                        PORT CHARLOTTE   FL   33948‐6130
MASSEY, JOYCE A      3502 WINDRIDGE DR                                                                     MARIETTA         GA   30066‐2657
MASSEY, JOYCE A      1323 W 400 S                                                                          KOKOMO           IN   46902‐5034
MASSEY, JOYCE C      11904 SKY WEST DR                                                                     AUSTIN           TX   78758‐2248
MASSEY, JULIA A      8365 VILLA MANOR DR                                                                   GREENTOWN        IN   46936‐1446
MASSEY, JULIUS       600 GREENSFERRY AVE SW APT 309                                                        ATLANTA          GA   30314
MASSEY, JUNE K       170 N 2ND ST                                                                          WEST BRANCH      MI   48661‐1240
MASSEY, K J          1273 CARTER DR                                                                        FLINT            MI   48532‐2715
MASSEY, K JEROME     1273 CARTER DR                                                                        FLINT            MI   48532‐2715
MASSEY, KATHLEEN M   7224 JOY MARIE LN                                                                     WATERFORD        WI   53185‐1867
MASSEY, KAY B        206 PINE BLUFF AVE                                                                    DELAND           FL   32724‐6977
MASSEY, KENNETH W    317 S 5TH ST                                                                          OKEMAH           OK   74859‐3810
MASSEY, KENNETH W    305 NORTH 9TH STREET                                                                  OKEMAH           OK   74859‐2225
MASSEY, KIM A        601 HERITAGE DR APT 108                                                               CANTON           GA   30114
MASSEY, LAPAMA B     62 HILLCREST RD                                                                       COVINGTON        GA   30016
MASSEY, LARRY        148 RED WALNUT DR                                                                     STATESVILLE      NC   28677‐2748
MASSEY, LARRY        411 N 6TH ST APT 2651                                                                 EMERY            SD   57332
MASSEY, LARRY A      3461 MERWIN RD                                                                        LAPEER           MI   48446‐7803
MASSEY, LARRY D      14560 WHITE AVE                                                                       ALLEN PARK       MI   48101‐2137
MASSEY, LEON         1515 E RENO RD                                                                        AZLE             TX   76020‐6115
MASSEY, LINDA L      PO BOX 2433                                                                           SOUTHFIELD       MI   48037‐2433
MASSEY, LIZZIE M     3500 MEADOWBROOK DR                                                                   LORAIN           OH   44053‐2744
MASSEY, LORENZO E    13535 LONGACRE ST                                                                     DETROIT          MI   48227‐1337
MASSEY, LORY A       923 UNION AVE                                                                         BUCYRUS          OH   44820‐3347
MASSEY, LULA F       200 BEALL DRIVE                                                                       GASSAWAY         WV   26624
MASSEY, MACK         182 VIRGIL RD                                                                         COLUMBIA         LA   71418‐3948
MASSEY, MARGRETT     14830 RUTHERFORD ST                                                                   DETROIT          MI   48227‐1808
MASSEY, MARY         PO BOX 337                                                                            NEWARK           TX   76071‐0337
MASSEY, MARY         P.O BOX 337                                                                           NEWARK           TX   76071
MASSEY, MARY A       9705 WHITE CLOUD DR                                                                   LAS VEGAS        NV   89134‐7840
MASSEY, MARY F       2508 E 10TH ST                                                                        ANDERSON         IN   46012
MASSEY, MAURICE R    11721 SHROYER DR                                                                      OKLAHOMA CITY    OK   73170‐5661
MASSEY, MAYNARD A    2710 FREMBES RD                                                                       WATERFORD        MI   48329‐3615
MASSEY, MICHAEL E    2690 BAYBERRY CT LOT 13                                                               BROOKLYN         MI   49230
MASSEY, MICHAEL E    # 13                             2690 BAYBERRY COURT                                  BROOKLYN         MI   49230‐9248
MASSEY, MICHAEL E    2690 BAYBERRY CT                 LOT 13                                               BROOKLYN         MI   49230
MASSEY, MICHAEL H    3852 WOODCLIFFE DR                                                                    NEW HAVEN        IN   46774‐3240
MASSEY, MIFORD       3576 COLLEGE RD                                                                       FARMINGTON       MO   63640‐7213
MASSEY, MILDRED H    4029 104TH AVE                                                                        ALLEGAN          MI   49010
MASSEY, MILDRED I    747 SEALS RD                                                                          DALLAS           GA   30157
MASSEY, MILDRED W    1272 HISTORIC HOMER HWY                                                               HOMER            GA   30547‐2737
MASSEY, MILLIS       PO BOX 95                                                                             ROCKY HILL       KY   42163‐0095
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Name                    Address1                        Address2                  Address3   Address4         City              State Zip
MASSEY, MORRIS A        PO BOX 1060                                                                           FLINT              MI 48501‐1060
MASSEY, MORRIS ANDREW   PO BOX 1060                                                                           FLINT              MI 48501‐1060
MASSEY, NANCY E         4482 S 50 E                                                                           BRINGHURST         IN 46913‐9804
MASSEY, NORMA L         910 RALEIGH RD                                                                        ANDERSON           IN 46012‐2646
MASSEY, ODIS R          6490 STONY CREEK RD                                                                   YPSILANTI          MI 48197‐6608
MASSEY, OPAL D          44 ROCKY RD NW                                                                        ADAIRSVILLE        GA 30103‐5924
MASSEY, OPAL D          44 ROCKY RD, NW                                                                       ADAIRSVILLE        GA 30103‐5924
MASSEY, OTIS            17 LAKE ST                                                                            PONTIAC            MI 48341‐2121
MASSEY, OUIDA E         2108 WAYNEWOOD DR                                                                     PICAYUNE           MS 39466‐2140
MASSEY, PATE            140 KAY CIR                                                                           COVINGTON          GA 30014‐1694
MASSEY, PATRICIA A      311 HAWK PL SE                                                                        CANTON             OH 44707‐3827
MASSEY, PAULETTE        PO BOX 72                                                                             JASPER             GA 30143‐0072
MASSEY, PAULETTE        P O BOX 72, HARMONY SCHOOL RD                                                         JASPER             GA 30143‐0072
MASSEY, PEATHON         910 CARTON ST                                                                         FLINT              MI 48505‐5511
MASSEY, PHYLLIS P       MILLHAUS APTS #502              134 MAIN ST                                           WEST UPTON         MA 01568‐1623
MASSEY, PHYLLIS P       134 MAIN ST                     MILLHAUS APTS #502                                    UPTON              MA 01568‐1657
MASSEY, RANDALL G       3737 EL JOBEAN ROAD             #M‐14                                                 PORT CHARLOTTE     FL 33953
MASSEY, RANDALL GLEEN   3737 EL JOBEAN RD # M‐14                                                              PORT CHARLOTTE     FL 33953
MASSEY, RAY E           4202 GERTRUDE ST                                                                      DEARBORN HTS       MI 48125‐2820
MASSEY, RICHARD A       1059 MANGUMS TRL                                                                      BLUE RIDGE         GA 30513
MASSEY, RICHARD J       39729 LYNN ST                                                                         CANTON             MI 48187‐4219
MASSEY, ROBBIE C        147 LONGFORD DR                                                                       ROCHESTER HILLS    MI 48309‐2029
MASSEY, ROBERT          4465 IROQUOIS ST                                                                      DETROIT            MI 48214‐1221
MASSEY, ROBERT C        2228 W 10TH ST                                                                        MUNCIE             IN 47302‐1642
MASSEY, ROBERT L        1889 KIRKBRIDGE CT                                                                    COLUMBUS           OH 43227‐3717
MASSEY, ROBERT L        8900 MILTON CARLISLE RD                                                               NEW CARLISLE       OH 45344‐9088
MASSEY, ROBERT P        7880 BUSCH RD                                                                         BIRCH RUN          MI 48415‐8752
MASSEY, ROBERTA T       1704 CENTRAL AVE                                                                      ANDERSON           IN 46016‐1816
MASSEY, ROLLIE G        3549 E 300 N                                                                          ANDERSON           IN 46012‐9784
MASSEY, RONALD D        2929 E 8TH ST                                                                         ANDERSON           IN 46012‐4551
MASSEY, ROSA M          PO BOX 192                                                                            BLOOMFIELD         MI 48303‐0192
MASSEY, ROSALEE A       270 HOMINY HILL RD                                                                    FAUBUSH            KY 42544‐6511
MASSEY, RUBIN O         1714 E TUCKER BLVD                                                                    ARLINGTON          TX 76010‐5944
MASSEY, RUBY V          800 MADONNA BLVD.                                                                     ST PETERSBURG      FL 33715
MASSEY, RUSSELL E       937 W CHERRY CREEK RD                                                                 MIO                MI 48647‐9389
MASSEY, SAMUEL S        45 HIBERNATION HOLLOW CT                                                              WENTZVILLE         MO 63385‐3696
MASSEY, SANDRA F        14112 WALKERS CROSSING DR       DRIVE                                                 CHARLOTTE          NC 28273‐9119
MASSEY, SARAH CLARESE   108 LOCKWOOD STREET                                                                   FORT WORTH         TX 76108‐2130
MASSEY, SCOTT P         11306 DOUGHERTY RUN                                                                   FORT WAYNE         IN 46845‐2131
MASSEY, SHIRLEY A       411 N 6TH ST                    PO BOX 2651                                           EMERY              SD 57332‐2124
MASSEY, SHIRLEY J.      2302 SLOAN AVE                                                                        INDIANAPOLIS       IN 46203‐4850
MASSEY, SHIRLEY J.      2302 S. SLOAN AVE.                                                                    INDIANAPOLIS       IN 46203‐4850
MASSEY, SHURLIA M       1066 E PINE AVE                                                                       MOUNT MORRIS       MI 48458‐1626
MASSEY, SIDNEY J        607 NAVIGATORS WAY                                                                    EDGEWATER          FL 32141‐5919
MASSEY, SONNIE          3609 EVERGREEN PKWY                                                                   FLINT              MI 48503‐4529
MASSEY, STANLEY E       1365 SHEFFIELD DR                                                                     SAGINAW            MI 48638‐5546
MASSEY, STEPHEN
MASSEY, STEPHEN D       WENDLER & EZRA                  850 VANDALIA ST STE 310                               COLLINSVILLE      IL   62234‐4068
MASSEY, STEPHEN E       4004 GLENROSE DR                                                                      COLUMBIA          TN   38401‐5013
MASSEY, SUSAN L         1086 N 200 E                                                                          ANDERSON          IN   46012‐9641
MASSEY, SUSAN L         1086 NORTH 200 EAST                                                                   ANDERSON          IN   46012
MASSEY, SUZANNE         2929 EAST 8TH ST                                                                      ANDERSON          IN   46012
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Name                                Address1                             Address2                          Address3   Address4         City               State Zip
MASSEY, SUZANNE                     2929 E 8TH ST                                                                                      ANDERSON            IN 46012‐4551
MASSEY, SUZANNE J                   512 WHISPERING PINE LN                                                                             NAPLES              FL 34103‐2424
MASSEY, TAMIKA                      181 VIRGIL RD                                                                                      COLUMBIA            LA 71418‐3949
MASSEY, TAMIKA D                    181 VIRGIL RD                                                                                      COLUMBIA            LA 71418‐3949
MASSEY, TERRY                       3371 WINGFIELD CHURCH RD                                                                           BOWLING GREEN       KY 42101‐8570
MASSEY, TERRY M                     10864 E SIAM CT                                                                                    BROOKLYN            MI 49230
MASSEY, TODD A                      105 WAGON WHEEL RD                                                                                 SPARTA              NJ 07871‐1756
MASSEY, TODD A                      STEVEN PONTELL (VERDE, STEINBERG &   1 PARKER PLZ                                                  FORT LEE            NJ 07024‐2920
                                    PONTELL, LLC)
MASSEY, TRAVIS A                    3550 BINYON AVE                                                                                    FORT WORTH          TX   76133‐1410
MASSEY, TRAVIS AARON                3550 BINYON AVE                                                                                    FORT WORTH          TX   76133‐1410
MASSEY, VEDA M                      320 E FAUST ST                       C/O THORBURN FINANCIAL SERVICES                               NEW BRAUNFELS       TX   78130‐4645

MASSEY, VELMA A                     806 E WARING ST APT G71                                                                            WAYCROSS           GA    31501‐7997
MASSEY, VIOLET                      4399 DITNEY TRL                                                                                    PIONEER            TN    37847‐2384
MASSEY, VIOLET                      4399 DITNEY TRAIL                                                                                  PIONEER            TN    37847‐2384
MASSEY, VIRGINA J                   2111 KERRI LYNN LN                                                                                 KOKOMO             IN    46902‐7408
MASSEY, WANDA                       3111 RAINBOW FOREST CIR APT E                                                                      DECATUR            GA    30034‐1660
MASSEY, WILLIAM E                   400 UNIVERSITY PARK DR APT 343                                                                     BIRMINGHAM         AL    35209‐6777
MASSEY, WILLIAM G                   PO BOX 121                                                                                         NEWTON FALLS       OH    44444‐0121
MASSEY, WILLIAM H                   30008 E COUNTY LINE RD                                                                             PLEASANT HILL      MO    64080‐8621
MASSEY, WYONNIE O                   3625 CLIFMAR RD                                                                                    GWYNN OAK          MD    21244‐3115
MASSEY, ZADDIE B                    5528 ANDERSON ST                                                                                   FORT WORTH         TX    76119‐1505
MASSEY‐HALL, MARY                   162 HUGHES AVE                                                                                     BUFFALO            NY    14208‐1047
MASSEY‐HALL, MARY                   162 HUGHES AVENUE                                                                                  BUFFALO            NY    14208‐1047
MASSHAW REALTY COMPANY, INC.        75 STATE                             SUITE 245                                                     BOSTON             MA    02109
MASSI ALBERT                        3202 W CHARLESTON BLVD                                                                             LAS VEGAS          NV    89102‐1932
MASSI, ROBERT J                     3838 MANTEO CIR                                                                                    ORLANDO            FL    32837‐5852
MASSIATT, JUANITA                   1894 MOUNT PELLIER ST                                                                              TRACY              CA    95304
MASSIC, JOHN C                      10222 STATE HIGHWAY 37                                                                             OGDENSBURG         NY    13669‐3167
MASSIC, REBECCA A                   10222 STATE HIGHWAY 37                                                                             OGDENSBURG         NY    13669‐3167
MASSIE HERBERT (466600)             ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                    BALTIMORE          MD    21202
                                                                         CHARLES CENTER 22ND FLOOR
MASSIE JAMES (ESTATE OF) (489141)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
MASSIE KENNETH L                    C/O MCKENNA & CHIODO                 436 BOULEVARD OF THE ALLIES ‐                                 PITTSBURGH         PA 15219
                                                                         SUITE 500
MASSIE KENNETH L (507032)           (NO OPPOSING COUNSEL)
MASSIE, AUGUSTUS                    3514 ISABELLE ST                                                                                   INKSTER            MI    48141‐2114
MASSIE, CHARLES N                   275 PARK PLACE DR                                                                                  WADSWORTH          OH    44281‐8788
MASSIE, CYNTHIA A                   14801 E MAGUIRE RD                                                                                 NOBLE              OK    73068‐6739
MASSIE, DEBRA J                     3646 STATE ROUTE 124                                                                               LATHAM             OH    45646‐9726
MASSIE, DIEON E                     115 W WILLOW ST                      PO BOX 353                                                    PERRY              MI    48872‐8132
MASSIE, GOMER L                     10961 SE 171ST STREET RD                                                                           SUMMERFIELD        FL    34491‐0810
MASSIE, HERBERT                     ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET, ONE                                     BALTIMORE          MD    21202
                                                                         CHARLES CENTER 22ND FL
MASSIE, JAMES F                     4405 E GALBRAITH RD                                                                                CINCINNATI         OH 45236‐2715
MASSIE, JAMES M                     100 STAUNTON JASPER RD SW                                                                          WASHINGTON COURT   OH 43160‐9674
                                                                                                                                       HOUSE
MASSIE, JAMES S                     4106 GARDENVIEW DR                                                                                 BEAVERCREEK        OH 45431‐1618
MASSIE, JAMES S                     4106 GARDERVIEW                                                                                    BEAVERCREEK        OH 45432‐5432
MASSIE, JEANETTE W                  1010 WILDWOOD DRIVE                                                                                LAWRENCE           KS 66049‐3752
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Name                        Address1                         Address2                        Address3   Address4               City                State Zip
MASSIE, JIMMIE L            1477 S SUTTON ST                                                                                   WESTLAND             MI 48186‐3862
MASSIE, JOANNE              4405 E. GALBRAITH RD.                                                                              CINCINNATI           OH 45236‐2715
MASSIE, KELLI M             1025 HIGHRIDGE AVE                                                                                 DAYTON               OH 45420‐2742
MASSIE, KENNETH D           10500 FENT RD NW                                                                                   JEFFERSONVILLE       OH 43128
MASSIE, KENNETH L           THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD         SUITE 44                          CORAL GABLES         FL 33146
MASSIE, KENNETH L           MCKENNA & CHIDO                  436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH           PA 15219
                                                             SUITE 500
MASSIE, L S                 R 2 BOX 10                                                                                         SUMMITVILLE         IN   46070‐9409
MASSIE, LANZETTA            1422 WEST COURT STREET                                                                             FLINT               MI   48503‐5008
MASSIE, LARRY A             14801 E MAGUIRE RD                                                                                 NOBLE               OK   73068‐6739
MASSIE, LARRY A.            14801 E MAGUIRE RD                                                                                 NOBLE               OK   73068‐6739
MASSIE, LARRY R             16617 N 150 E                                                                                      SUMMITVILLE         IN   46070‐9115
MASSIE, LESTER M            2291 HOWE RD                                                                                       BURTON              MI   48519‐1129
MASSIE, LOIS L              270 HAMPTON TRL                                                                                    SPRINGFIELD         OH   45502‐8495
MASSIE, LOIS L              270 HAMPTON TRAIL                                                                                  SPRINGFIELD         OH   45502
MASSIE, MARK A              2120 WINSTON DR                                                                                    COMMERCE TOWNSHIP   MI   48382‐4875
MASSIE, MICHAEL D           PO BOX 292464                                                                                      KETTERING           OH   45429‐0464
MASSIE, MICHAEL E           3646 STATE ROUTE 124                                                                               LATHAM              OH   45646‐9726
MASSIE, MICHAEL E           3646 STATE RT. 124                                                                                 LATHAM              OH   45646‐5646
MASSIE, MICHAEL L           410 W. LINDEN AVE.                                                                                 MIAMISBURG          OH   45342‐2230
MASSIE, MICHAEL L           4325 N IRVINGTON AVE                                                                               INDIANAPOLIS        IN   46226
MASSIE, MICHAEL L           410 W LINDEN AVE                                                                                   MIAMISBURG          OH   45342‐2230
MASSIE, MILDRED T           2247 FORESTDEAN CT.                                                                                DAYTON              OH   45459‐5459
MASSIE, ROBERT E            515 W HAMILTON AVE                                                                                 FLINT               MI   48503‐5154
MASSIE, ROBERT G            1105 E PERE CHENEY RD                                                                              ROSCOMMON           MI   48653‐7512
MASSIE, SHIRLEY A           376 BROWN RD                                                                                       WILMINGTON          OH   45177‐8945
MASSIE, TERRENCE G          6699 HIBBARD RD                                                                                    LAINGSBURG          MI   48848‐9631
MASSIE, TERRY L             509 N VINE ST                                                                                      WINCHESTER          TN   37398‐1345
MASSIE, THOMAS A
MASSIE, TOMMY J             2218 S GHARKEY ST                                                                                  MUNCIE              IN 47302‐4067
MASSIE, WILLIAM G           PO BOX 273                                                                                         HAMBURG             MI 48139‐0273
MASSIF TRANSPORT INC        2190 BLVD HYMUS                                                             DORVAL CANADA PQ H9P
                                                                                                        1J7 CANADA
MASSILLON MUNICIPAL COURT   ACCT OF JACQUELINE KIEFER        TWO JAMES DUNCAN PLAZA                                            MASSILLON           OH 44646
MASSILLON MUNICIPAL COURT   ACCT OF JACQUELINE A KIEFFER
MASSIMI, PAUL L             238 EVANE DR                                                                                       DEPEW               NY 14043‐1217
MASSIMI, PAUL S             238 EVANE DR                                                                                       DEPEW               NY 14043‐1217
MASSIMILIA CARONE           2711 SHROYER RD                                                                                    OAKWOOD             OH 45419‐1863
MASSIMILIANO BENEDETTO      VIALE MATTEOTTI, 8
MASSIMILIANO BERTACCHINI    VIA DELLA PALMAROLA NUOVA, 48                                                                      ROMA                     00135
MASSIMILIANO MORELLI        VIA SONDRIO 13/H                 10144 TORINO
MASSIMILIANO ROSSI          VIA DEL CASTELLO 8                                                                                 GOSSOLENGO               29020
MASSIMILIANO TOLONE         VIA MONTEBELLO 84                50123                           FIRENZE
MASSIMILLA, JEFFREY P       3169 KATIE LN                                                                                      MILFORD             MI   48380‐2021
MASSIMILLA, JENNIFER K      3169 KATIE LN                                                                                      MILFORD             MI   48380‐2021
MASSIMILLA, PAUL J          915 S LILLEY RD                                                                                    CANTON              MI   48188‐1106
MASSIMILLA, STEVEN P        3804 SAMUEL AVE                                                                                    ROCHESTER HLS       MI   48309‐4256
MASSIMINO III, JOSEPH       7101 WILLIAM JOHN CT                                                                               SWARTZ CREEK        MI   48473‐9735
MASSIMINO, ANN              5550 HICKORY CIR                                                                                   FLUSHING            MI   48433
MASSIMINO, JACK             1101 N MEADE ST APT 1                                                                              FLINT               MI   48506
MASSIMINO, JACK L           6849 N LAKE RD                                                                                     OTTER LAKE          MI   48464‐9780
MASSIMINO, JOSEPH L         PO BOX 3034                                                                                        MONTROSE            MI   48457‐0734
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Name                         Address1                       Address2                     Address3             Address4                    City            State Zip
MASSIMINO, MARIROSE          4039 N MEADOW LN LOT #454                                                                                    MOUNT MORRIS     MI 48458
MASSIMINO, MARK              3388 OAKLAND DR                                                                                              FLINT            MI 48507‐4532
MASSIMO ACETI                VIA DELLA PEDICA 282                                                                                         GROTTAFERRATA    MT 00046
MASSIMO BOFFA                VIA ALDO MANUZIO, 17                                                             20124 MILANO ITALY
MASSIMO CHIODI               VIA BOGGIA 10                                                                    6900 PARADISO
                                                                                                              SWITZERLAND
MASSIMO DEANGELI             P. ZZA M.L. KING 1                                                               28100 NOVARA ITALY
MASSIMO DELLE MACCHIE        VIA BRADANO 26
MASSIMO GALLESI              VIA SARAGOZZA 44                                                                                             BOLOGNA          IA   40123
MASSIMO GHELFI               VIA DEL CARMINE, 6                                                                                           TORINO                10122
MASSIMO INNOCENTI            VIA LONGA 7                    ANZOLA DELL'EMILIA (BO)
MASSIMO INNOCENTI            VIA LONGA 7                                                                      ANZOLA DELL'EMILIA (BO)
                                                                                                              ITALY
MASSIMO MAGNANI              VIA GARAMPA, 5988                                                                47521 CESENA (FC) ITALY
MASSIMO MASSIMO GALLINA      VIA CARSO, 74                                                                                                VERCELLI        AK    13100
MASSIMO MULLER
MASSIMO NERI                 VIA MONTEBELLO N.49                                                                                          FIRENZE         NY 50123
MASSIMO NERI                 VIA MONTEBELLO N.49            FIRENZE 50123 ITALY
MASSIMO OSELLA               5837 FOLKSTONE DR                                                                                            TROY            MI 48085‐3148
MASSIMO PETRAROTA            VIA BADIA DI CAVA                                                                                            ROMA
MASSIMO ROSSI                VIA NETTUNO 4                                                                    47839 RICCIONE (RN) ITALY
MASSIMO SACCA                2 MONTVIEU CT                                                                                                COCKEYSVILLE    MD 21030‐2646
MASSIMO TOMASETTI            ELISABETTA CIORRA              VIA RENATO CESARINI, 85                           00142 ROME ‐ ITALY
MASSIMO TURSINI              VIA CATONE 27                                                                    20158 MILANO ITALY
MASSIMO ZAMPATTI             VIA TREMOGGE 21                                                                                              SONDRIO               23037
MASSIMO ZIRONI               VIALE EUROPA 1                                                                                               FLORENCE        AK    50126
MASSING, LOIS G              1852 STANHOPE DRIVE            APT A                                                                         NEWARK          OH    43055
MASSING, LOIS G              1852 STANHOPE DR APT A                                                                                       NEWARK          OH    43055‐7300
MASSINGALE JR, LESLIE W      3884 MONTGOMERY CO. LINE RD.                                                                                 UNION           OH    45322
MASSINGALE, ANN M            2423 OAK DR.                                                                                                 CLAYTON         IN    46118‐9403
MASSINGALE, ANN M            2423 OAK DR                                                                                                  CLAYTON         IN    46118‐9403
MASSINGALE, ARTHUR R         5772 S YORK HWY                                                                                              CLARKRANGE      TN    38553‐5131
MASSINGALE, GARY L           2423 OAK DRIVE                                                                                               CLAYTON         IN    46118‐9403
MASSINGALE, MELISSA P        2204 MONARCH ST                                                                                              BOSSIER CITY    LA    71111
MASSINGILL I I I, SAMUEL A   PO BOX 292465                                                                                                DAVIE           FL    33329‐2465
MASSINGILL, ALVIN C          200159 RIDGE DR                                                                                              GERING          NE    69341‐8525
MASSINGILL, AMANDA J         3180 W CLAY ST APT 513                                                                                       SAINT CHARLES   MO    63301‐1083
MASSINGILL, GLADYS L         1503 N MAIN ST                                                                                               MANSFIELD       TX    76063‐3963
MASSINGILL, GLADYS L         1503 NORTH MAIN                                                                                              MANSFIELD       TX    76063‐3963
MASSINGILL, JERRY E          P. O. BOX 26                                                                                                 SPRINGBORO      OH    45066‐0026
MASSINGILL, JERRY E          PO BOX 26                                                                                                    SPRINGBORO      OH    45066‐0026
MASSINGILL, VERNON P         255 W SUTTON RD                                                                                              METAMORA        MI    48455‐9677
MASSINGILL, WILLIAM C        704 JAMESPORT DRIVE                                                                                          O FALLON        MO    63366‐4399
MASSINGILLE, DARRYL L        14001 GREENBRIAR ST                                                                                          OAK PARK        MI    48237‐2737
MASSINGILLE, SAUNDRA M       14001 GREENBRIAR ST                                                                                          OAK PARK        MI    48237‐2737
MASSION RICHARD              DIERENER STR 11                                                                  D‐31303 BURGDORF
                                                                                                              GERMANY
MASSIRONI GIUSEPPE           C/O LA SCALA                   STUDIO LEGALE E TRIBUTARIO   CORSO MAGENTA N 42   20123 MILANO ITALY
MASSIV DIE FORM              7655 BRAMALEA RD.                                                                BRAMPTON ON L6T4Y
                                                                                                              CANADA
MASSIV DIE FORM RACKTEC      78 WALKER DR                                                                     BRAMPTON ON L6T 4H6
                                                                                                              CANADA
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Name                             Address1                       Address2                        Address3          Address4                 City              State Zip
MASSIV DIE FORM/BRAM             7655 BRAMALEA RD.                                                                BRAMPTON ON L6T4Y5
                                                                                                                  CANADA
MASSMAN IRREV TRUST #1           UAD 11/18/1991                 GRETCHEN I MASSMAN TRUSTEE      1311 E HAYS WAY                            BOISE              ID   83712‐7420
MASSMAN IRREV TRUST #2           UAD 5/08/1992                  GRETCHEN I MASSMAN TRUSTEE      1311 E HAYS WAY                            BOISE              ID   83712‐7420
MASSMAN IRREV TRUST #3           UAD 5/8/1992                   GRETCHEN I MASSMAN, TRUSTEE     1311 E HAYS WAY                            BOISE              ID   83712‐7420
MASSMAN, DAVID L                 3706 WEISS ST                                                                                             SAGINAW            MI   48602‐3329
MASSMAN, DUANE R                 257 FERN LOOP                                                                                             LAKE LURE          NC   28746‐9285
MASSMAN, SHIRLEY A               257 FERN LOOP                                                                                             LAKE LURE          NC   28746‐9285
MASSMAN, SHIRLEY M               3706 WEISS ST                                                                                             SAGINAW            MI   48602
MASSOGLIA, RANDY P               930 W MADISON AVE                                                                                         MILTON             WI   53563‐1038
MASSOLINI SPA                    73 VIA ITALIA                                                                    PAITONE IT 25080 ITALY
MASSOLINI SPA                    WELLINTON MENEGUELLO           73 VIA ITALIA                                                              NICHOLASVILLE      KY
MASSOLL, CHARLES A               PO BOX 566                                                                                                MILFORD            MI 48381‐0566
MASSOLL, STANLEY R               7409 WHEATFIELD RD                                                                                        GARLAND            TX 75044‐2061
MASSOMGA, KEVIN
MASSOMGA, KEVIN                  4403 PENDOT LN                                                                                            FRIENDSWOOD        TX   77546‐4232
MASSON ANDREW F                  2856 LANERGAN DR                                                                                          TROY               MI   48084‐1085
MASSON SUE                       PO BOX 132                                                                                                VERSAILLES         KY   40383‐0132
MASSON, CHRISTIAN G              5019 OAK BLUFF CT                                                                                         HOWELL             MI   48843‐7861
MASSON, CHRISTOPHER W            18625 CAMBRIDGE BLVD                                                                                      LATHRUP VILLAGE    MI   48076‐3364
MASSON, DANIEL F                 ROUTE 1 BOX 391                                                                                           BEAN STATION       TN   37708
MASSON, DONALD C                 2421 S SHERIDAN RD                                                                                        LENNON             MI   48449‐9728
MASSON, KIMBERLY S               4640 HAMLET DR N                                                                                          SAGINAW            MI   48603
MASSON, YVONNE M                 9386 ISABELLA LN                                                                                          DAVISON            MI   48423‐2860
MASSONNE, JILL S                 9018 LINCOLNCREEK CIR                                                                                     INDIANAPOLIS       IN   46234‐1316
MASSOOMI, MANI                   16 SKYVIEW TER                                                                                            CLIFTON            NJ   07013‐1382
MASSOP, ANTHONY G                264 SUNDRIDGE DR                                                                                          AMHERST            NY   14228‐1807
MASSOP, RICHARD A                7654 TEAL POND CT                                                                                         HUDSONVILLE        MI   49426‐8643
MASSOS, PETER                    4503 HILLCREST AVE                                                                                        ROYAL OAK          MI   48073‐1798
MASSOTH, BETTY JANE              8210 COBBLESTONE CT.           APT. 1D                                                                    PALOS HILLS        IL   60465‐3204
MASSOTH, BETTY JANE              8210 COBBLESTONE DR UNIT 1D                                                                               PALOS HILLS        IL   60465‐3204
MASSOUD NAGIA NICHOLE            MASSOUD, NAGIA NICHOLE
MASSOW, BRUCE M                  456 E CHEYENNE RD                                                                                         QUEEN CREEK       AZ    85243‐3886
MASSOW, LOUISE C                 380 CROWN ST                                                                                              MERIDEN           CT    06450‐6484
MASSPORT PARKING VIOLATIONS BU   PO BOX 51067                                                                                              BOSTON            MA    02205‐1067
MASSU, GEORGE M                  7781 RICH RD                                                                                              FOSTORIA          MI    48435
MASSUCCI ANTHONY                 MASSUCCI, ANTHONY
MASSUCCI, ANTHONY                GARIN, JOSEPH P                7887 E BELLEVIEW AVE STE 1100                                              GREENWOOD VLG     CO    80111‐6097
MASSUCCI, ANTHONY A              134 BONITA ST UNIT C                                                                                      ARCADIA           CA    91006‐3670
MASSUCCI, BELINDA M              10331 ENDICOTT ST                                                                                         BELLEVILLE        MI    48111‐1249
MASSUCCI, BELINDA MARIE          10331 ENDICOTT ST                                                                                         BELLEVILLE        MI    48111‐1249
MASSUCCI, CARLA S                789 HOMEWOOD AVE SE                                                                                       WARREN            OH    44484‐4224
MASSUCCI, CARLA S                789 HOMEWOOD                                                                                              WARREN            OH    44484‐4224
MASSUCCI, GRACE J                10331 ENDICOTT ST                                                                                         BELLEVILLE        MI    48111‐1249
MASSULLO, ALFRED J               2071 BIRCH TRACE DR                                                                                       YOUNGSTOWN        OH    44515‐4906
MAST ALLEN & BERTHA              RR 2                                                                                                      ANDOVER           OH    44003
MAST AMBULANCE                                                  6750 EASTWOOD TRFY                                                                           MO    64129
MAST DON E (626643)              GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                NORFOLK           VA    23510
                                                                STREET, SUITE 600
MAST HENRY A (634222)            ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                                                   WILMINGTON         DE 19801‐1813
MAST ROLLAND                     4386 CREEK VIEW DR                                                                                        HUDSONVILLE        MI 49426‐1920
MAST SERVICE LLC                 G5200 CLIO RD STE 10                                                                                      FLINT              MI 48504‐1200
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Name                             Address1                          Address2                      Address3   Address4         City             State Zip
MAST SERVICES LLC                14237 FRAZHO RD                                                                             WARREN            MI 48089‐1476
MAST, BILLY G                    2321 BURNINGTREE LN                                                                         KOKOMO            IN 46902‐3168
MAST, BONNIE J.                  ROUTE 2 BOX 08735 CHRISTY RD.                                                               DEFIANCE          OH 43512‐9802
MAST, CARL J                     4559 WESTFIELD CT                                                                           BAY CITY          MI 48706‐2725
MAST, CAROLYN A                  86 S 200 E                                                                                  KOKOMO            IN 46902‐2664
MAST, CHRIS A                    1302 ST RD 128 EAST                                                                         FRANKTON          IN 46044
MAST, CRAIG A                    5245 N PARK AVENUE EXT                                                                      WARREN            OH 44481‐9395
MAST, CRAYTON W                  22 OWAISSA DR                                                                               TIMBERLAKE        OH 44095‐1950
MAST, CYNTHIA S                  2924 E 500 S                                                                                CUTLER            IN 46920‐9412
MAST, DANZA E                    12 S CHERRY ST                    C/O ROBERT A MCCARTHY                                     TROY              OH 45373‐3206
MAST, DEANNE                     31624 N MARGINAL DR APT F                                                                   WILLOWICK         OH 44095‐4422
MAST, DELMER E                   1900 FORGE CREEK RD                                                                         MOUNTAIN CITY     TN 37683‐5114
MAST, DON E                      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                                   STREET, SUITE 600
MAST, ELHANAN B                  7074 RAY RD                                                                                 BRIDGEVILLE      DE   19933‐3153
MAST, HENRY A                    ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                                  WILMINGTON       DE   19801‐1813
MAST, JESSE                      PO BOX 477                                                                                  FAYETTE CITY     PA   15438‐0477
MAST, JOSEPH S                   107 CEDAR LAKE DR                                                                           WENTZVILLE       MO   63385‐5425
MAST, KEVIN                      6574 E COUNTY ROAD 500 N                                                                    KOKOMO           IN   46901
MAST, KIRK E                     1709 WINDWOOD DR                                                                            BEDFORD          IN   47421‐3941
MAST, LEONARD L                  4985 N 600 E                                                                                KOKOMO           IN   46901‐8480
MAST, MARILYN L                  4985 N 600 E                                                                                KOKOMO           IN   46901‐8480
MAST, MAX D                      2924 E 500 S                                                                                CUTLER           IN   46920‐9412
MAST, RHODALEE J                 2321 BURNINGTREE LN                                                                         KOKOMO           IN   46902‐3168
MAST, RICHARD G                  7137 TURNER RD                                                                              WESTPOINT        IN   47992‐9286
MAST, RICHARD N                  22041 SURFRIDER LN                                                                          HUNTINGTN BCH    CA   92646‐8344
MAST, RICK E                     11918 DUTCH SETTLEMENT RD                                                                   MARCELLUS        MI   49067‐9512
MAST, ROBERT A                   31624 NORTH MARGINAL RD CONDO F                                                             WILLOWICK        OH   44095
MAST, ROBERT V                   820 W HAVENS STREET                                                                         KOKOMO           IN   46901‐2724
MAST, RONALD R                   5264 BRICKYARD RD                                                                           TWIN LAKE        MI   49457‐9725
MAST, RUTH E                     291 4TH ST S                                                                                NAPLES           FL   34102‐6316
MAST, SUSAN K                    8185 MAST TRL                                                                               SPRINGPORT       MI   49284‐9325
MAST, SUSAN K                    163 CR 2474 S                                                                               HONDO            TX   78861
MAST, THOMAS H                   950 MOCK RD                                                                                 BELLVILLE        OH   44813‐9197
MAST, VIRGIE D                   3300 LOVELAND BLVD UNIT 1703                                                                PORT CHARLOTTE   FL   33980‐6710
MASTA LEO (653716) ‐ MASTA LEO   BIFFERATO GENTILOTTI & BIDEN      PO BOX 2165                                               WILMINGTON       DE   19899‐2165
MASTA, DEBRA D                   36884 GREENBUSH RD                                                                          WAYNE            MI   48184‐1155
MASTA, DONALD J                  2638 DANBURY CIR                                                                            SPRING HILL      TN   37174‐8280
MASTA, GENE                      407 WOODSIDE RD                                                                             ROYAL OAK        MI   48073‐2651
MASTAKO, RANDY J                 24690 NOTTINGHAM DR                                                                         NOVI             MI   48374‐2756
MASTALINSKI, ELEANOR A           65 GROTE ST                                                                                 BUFFALO          NY   14207‐2417
MASTALINSKI, STEVE W             PO BOX 376                        194 LEIPTRANDT                                            PIGEON           MI   48755‐0376
MASTALSKI, JULIA                 7 MORNING GLORY LN                FAIRWAYS LAKE RIDGE                                       LAKEWOOD         NJ   08701‐5718
MASTALSKI, JULIA                 7 MORNGING GLORY LANE             FAIRWAYS LAKE RIDGE                                       LAKEWOOD         NJ   08701
MASTANDREA, ANNE M               6404 KEE LN                                                                                 HARRISBURG       NC   28075‐7472
MASTANDREA, DOMINICK D           5812 NORTHFIELD PKWY                                                                        TROY             MI   48098‐5124
MASTANDREA, FLORA                47 ELMWOOD AVENUE                                                                           WEST HARRISON    NY   10604
MASTANDREA, FLORA                47 ELMWOOD AVE                                                                              WEST HARRISON    NY   10604‐2513
MASTANDREA, ROBERT               657 MARIN AVE                                                                               LYNDHURST        NJ   07071‐2528
MASTAW, BARBARA A                15635 HANFOR AVE                                                                            ALLEN PARK       MI   48101‐2784
MASTBAUM, GERALD L               3720 LISBON ST                                                                              KETTERING        OH   45429‐4247
MASTBAUM, RUBY M                 270 LINDEN DR                                                                               CENTERVILLE      OH   45459‐4566
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Name                              Address1                         Address2                    Address3   Address4              City                 State Zip
MASTBROOK, SHARON A               3412 WALTON AVE                                                                               FORT WORTH            TX 76133‐2230
MASTECH INC                       763 WAVERLY ST                                                                                FRAMINGHAM            MA 01702
MASTECH INC                       5985 WALL ST                                                                                  STERLING HEIGHTS      MI 48312‐1074
MASTECK                                                            4433 LESTON ST                                                                     TX 75247
MASTEL, STEVEN G                  1704 243RD PL SE                                                                              BOTHELL               WA 98021‐8879
MASTELLONE ROBERT                 350 MICHELE PL                                                                                CARLSTADT             NJ 07072‐2304
MASTELLONE, MICHAEL S             4102 WOODRIDGE DR                                                                             SANDUSKY              OH 44870‐7054
MASTEN, ARMELLA C                 7611 BARRETT RD                                                                               SANDUSKY              OH 44870
MASTEN, BARBARA J                 4311 TODD DR                                                                                  SYLVANIA              OH 43560‐3298
MASTEN, DAVID A                   30 KNOLLBROOK RD APT 6                                                                        ROCHESTER             NY 14610‐2157
MASTEN, DONALD K                  8 EDGEMONT RD                                                                                 NEWARK                DE 19711‐7628
MASTEN, JAMES E                   6102 GLADE AVE                                                                                CINCINNATI            OH 45230‐2709
MASTEN, LESLIE C                  505 UPPER 8TH AVE S                                                                           JACKSONVILLE BEACH    FL 32250‐5263
MASTEN, RONALD L                  204 E SANDSTONE                                                                               BLUE SPRINGS          MO 64015
MASTEN, WILLIAM L                 4311 TODD DR                                                                                  SYLVANIA              OH 43560‐3298
MASTENBROOK, ROGER                6929 W N AVE                                                                                  KALAMAZOO             MI 49009‐9508
MASTER AUTO                       1027 BROADWAY                                                                                 REVERE                MA 02151‐1308
MASTER AUTO REPAIR                11909 HIGHWAY 87                                                                              LUBBOCK               TX 79423‐7425
MASTER AUTO REPAIR                1939 UNION RD                                                                                 SAINT LOUIS           MO 63125‐2348
MASTER AUTOMATIC                  40485 SCHOOLCRAFT RD                                                                          PLYMOUTH              MI 48170‐2706
MASTER AUTOMATIC INC              12355 WORMER                                                                                  DETROIT               MI 48239‐2463
MASTER AUTOMATIC MACHINE CO INC   40485 SCHOOLCRAFT RD                                                                          PLYMOUTH              MI 48170‐2706
MASTER AUTOMOTIVE                 215 N MAIN ST                                                                                 ELKHART               IN 46516‐3036
MASTER CAR CARE                   2402 BLODGETT ST                                                                              HOUSTON               TX 77004‐5238
MASTER CHEMICAL CORP              501 W BOUNDARY ST                                                                             PERRYSBURG            OH 43551‐6029
MASTER CRAFT CARPET SERVICE       12870 INKSTER RD                                                                              REDFORD               MI 48239‐3046
MASTER CRAFT ENGINEERING, INC.    DANNY KEY                        SOUTHWELL BLVD. IND. PARK                                    LANSING               MI 48917
MASTER CUT TOOL CO                30440 INDUSTRIAL RD              PO BOX 510595                                                LIVONIA               MI 48150‐2020
MASTER DEED                       NOT AVAILABLE
MASTER DISTRIBUTORS               4202 TECHNOLOGY DR                                                                            SOUTH BEND           IN   46628‐9772
MASTER DISTRIBUTORS               842 S 7TH ST                                                                                  LOUISVILLE           KY   40203‐2149
MASTER ENGINEERING INC            985 OLD PRESTON HWY S            PO BOX 705                                                   SHEPHERDSVILLE       KY   40165
MASTER FINLEY                     1928 W KEM RD                                                                                 MARION               IN   46952‐1548
MASTER FORM                       HEINZ ROTH                       4814 PERSIMMON CT                                            MONROE               NC   28110‐9313
MASTER FORM                       HEINZ ROTH                       6520 S STATE RD                                              GOODRICH             MI   48438‐8710
MASTER FORM INC                   4814 PERSIMMON CT                                                                             MONROE               NC   28110‐9313
MASTER FORM/BURKLAND              JOHN CLARK                       6520 S STATE RD                                              GOODRICH             MI   48438‐8710
MASTER GAGE & TOOL CO             112 MAPLEWOOD ST                 PO BOX 3305                                                  DANVILLE             VA   24540‐1312
MASTER GAGE & TOOL CO             112 MAPLEWOOD ST                                                                              DANVILLE             VA   24540‐1312
MASTER GROUP INC                  7130 NIGHTHAWK DR                                                                             FORT WAYNE           IN   46835‐9395
MASTER INTERNATIONAL CORP         842 S 7TH ST                                                                                  LOUISVILLE           KY   40203‐2149
MASTER LOCK CO                    2816 BRISTOL CIR                                                        OAKVILLE ON L6H 5S7
                                                                                                          CANADA
MASTER LOCK CO
MASTER LOCK CO                    PAUL PEOT                        137 W FOREST HILL AVE                                        OAK CREEK            WI   53154‐2901
MASTER LOCK CO                    2600 N 32ND ST                   PO BOX 100367                                                MILWAUKEE            WI   53210‐2506
MASTER LOCK CO                    137 W FOREST HILL AVE                                                                         OAK CREEK            WI   53154‐2901
MASTER LOCK CO.                   PAUL PEOT                        137 W FOREST HILL AVE                                        OAK CREEK            WI   53154‐2901
MASTER LOCK COMPANY INC           137 W FOREST HILL AVE                                                                         OAK CREEK            WI   53154‐2901
MASTER MACH/BOX 1627              PO BOX 1627                                                                                   HUTCHINSON           KS   67504‐1627
MASTER MACHINE TOOL SERVICES      PO BOX 380561                                                                                 CLINTON TOWNSHIP     MI   48038‐0067
MASTER MAGNETICS INC              747 S GILBERT ST                                                                              CASTLE ROCK          CO   80104‐2262
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Name                              Address1                          Address2             Address3        Address4                 City               State Zip
MASTER MAGNETICS INC              747 S GOLBERT ST                                                                                CASTLE ROCK         CO 80104‐2252
MASTER MANUF/EVANSVI              4703 OHARA DR                                                                                   EVANSVILLE          IN 47711‐2401
MASTER MANUFACTURING              TIM CHANCELLOR                    4703 OHARA DR                                                 EVANSVILLE          IN 47711‐2401
MASTER MANUFACTURING              TIM CHANCELLOR                    4703 O'HARA DRIVE                                             MORRISTOWN          IN
MASTER MANUFACTURING CO INC       4703 OHARA DR                                                                                   EVANSVILLE          IN 47711‐2401
MASTER MANUFACTURING CO INC       TIM CHANCELLOR                    4703 OHARA DR                                                 EVANSVILLE          IN 47711‐2401
MASTER MANUFACTURING CO INC       TIM CHANCELLOR                    4703 O'HARA DRIVE                                             MORRISTOWN          IN
MASTER MANUFACTURING INC          2636 DREW RD                                                           MISSISSAUGA ON L4T 3M5
                                                                                                         CANADA
MASTER MECHANIC                   2465 EAGLE ST N RR 32                                                  CAMBRIDGE ON N3H 4R7
                                                                                                         CANADA
MASTER MECHANIC                   432 NORFOLK ST S                                                       SIMCOE ON N3Y 2X2
                                                                                                         CANADA
MASTER MECHANIC                   77 MATHESON BLVD E                                                     MISSISSAUGA ON L4Z 2Y5
                                                                                                         CANADA
MASTER MECHANIC BURLINGTON        1201 FAIRVIEW ST                                                       BURLINGTON ON L7S 1Y5
                                                                                                         CANADA
MASTER MECHANIC INC.              1305 LEMAIRE ST                                                                                 NEW IBERIA         LA   70560‐4853
MASTER MECHANIX AUTOMOTIVE        7321 AUTOPARK DR                                                                                HUNTINGTON BEACH   CA   92648‐1248
MASTER MFG INC                    675 S GLASPIE ST                                                                                OXFORD             MI   48371‐5135
MASTER MOLDED PRODUCTS            1000 DAVIS RD                                                                                   ELGIN              IL   60123‐1314
MASTER MOLDED PRODUCTS            JOHN E. HENNER                    1000 DAVIS ROAD                                               TROY               MI   48083
MASTER MOLDED PRODUCTS CORP       JOHN E. HENNER                    1000 DAVIS ROAD                                               TROY               MI   48083
MASTER MOLDED PRODUCTS CORP       1000 DAVIS RD                                                                                   ELGIN              IL   60123‐1383
MASTER MUFFLER & BRAKE            9430 MCCOMBS ST                                                                                 EL PASO            TX   79924
MASTER MUFFLER LTD. (MIDAS AUTO   349 GEORGE STREET                                                      SYDNEY NS B1P 1J5
SERVICE)                                                                                                 CANADA
MASTER PNEUMATIC DETROIT INC      PO BOX 55                         134A                                                          DETROIT            MI   48255‐0001
MASTER PNEUMATIC‐DETROIT INC      6701 18 MILE RD                                                                                 STERLING HEIGHTS   MI   48314‐4217
MASTER PNEUMATICS‐DETROIT INC     6701 18 MILE RD                                                                                 STERLING HEIGHTS   MI   48314‐4217
MASTER PONTIAC BUICK GMC, INC.    3710 WASHINGTON RD                                                                              AUGUSTA            GA   30907‐2867
MASTER PONTIAC BUICK GMC, INC.    WILLIAM SCHAFER                   3710 WASHINGTON RD                                            AUGUSTA            GA   30907‐2867
MASTER PREC/GREENVIL              1212 E FAIRPLAINS ST              P.O. BOX 520                                                  GREENVILLE         MI   48838‐2809
MASTER PREC/LIVONIA               19892 HAGGERTY ROAD               NORTH BUILDING                                                LIVONIA            MI   48152
MASTER PREC/SCARBRGH              330 FINCHDENE SQUARE                                                   SCARBOROUGH ON M1X
                                                                                                         1A5 CANADA
MASTER PRECISION MOLDS INC        1212 E FAIRPLAINS ST              PO BOX 190                                                    GREENVILLE         MI 48838‐2809
MASTER PRECISION MOLDS INC        1212 E FAIRPLAINS ST                                                                            GREENVILLE         MI 48838‐2809
MASTER PRINT
MASTER PRODUCTS                   JEFF WALTERS X223                 6400 PARK AVENUE                                              PINCONNING         MI   48650
MASTER PRODUCTS CO, THE           JEFF WALTERS X223                 6400 PARK AVENUE                                              PINCONNING         MI   48650
MASTER RADIATOR                   2293 ELIZABETH LAKE RD                                                                          WATERFORD          MI   48328‐3307
MASTER TECH                       2152 GLENWOOD DYER RD                                                                           LYNWOOD            IL   60411
MASTER TECH                       202 SW 15TH ST                                                                                  FORT LAUDERDALE    FL   33315‐1705
MASTER TECH AUTO                  4325 NW GATEWAY AVE                                                                             RIVERSIDE          MO   64150‐9717
MASTER TECH AUTO                  12771 METRO PKWY STE 2                                                                          FORT MYERS         FL   33966‐1369
MASTER TECH AUTO                  90 E CANDLER ST STE E&F                                                                         WINDER             GA   30680
MASTER TECH AUTO CARE INC.        10042 ARTESIA PL STE E                                                                          BELLFLOWER         CA   90706
MASTER TECH AUTO CENTER           1927 S CURRY PIKE                                                                               BLOOMINGTON        IN   47403‐3103
MASTER TECH AUTOMOTIVE INC        3301 RUTHERFORD RD                                                                              TAYLORS            SC   29687‐2131
MASTER TECH SERVICE CENTER        605 E HURST BLVD                                                                                HURST              TX   76053‐8029
MASTER TECHS INC                  17111 F DR S                                                                                    MARSHALL           MI   49068‐8228
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Name                               Address1                               Address2                      Address3                   Address4               City                State Zip
MASTER TIRE & ACCESSORIES          905 W COLUMBIA ST                                                                                                      EVANSVILLE           IN 47710‐1551
MASTER TOOL CO                     210 RIVER ST                                                                                                           GRAND RIVER          OH
MASTER TOOL CORP                   210 RIVER ST                                                                                                           GRAND RIVER          OH 44045
MASTER UNIT/BOX 520                PO BOX 520                                                                                                             GREENVILLE           MI 48838‐0520
MASTER WORKS/CLAWSON               PO BOX 427                                                                                                             CLAWSON              MI 48017‐0427
MASTER, HELEN M                    16925 HIERBA DR APT 208                                                                                                SAN DIEGO            CA 92128‐2660
MASTER, LARRY E                    223 ROYAL PKWY E                                                                                                       WILLIAMSVILLE        NY 14221‐6405
MASTER, RAJESH N                   43641 LANCASTER CT                                                                                                     CANTON               MI 48187‐2230
MASTER, ROBERT J                   7300 MUSTANG DR                                                                                                        CLARKSTON            MI 48346‐2624
MASTERACK
MASTERACK                          905 MEMORIAL DR SE                                                                                                     ATLANTA             GA 30316‐1434
MASTERACK ‐ CROWN NORTH            101 ANN AVE                                                                                                            ESSEX               MD 21221‐3606
AMERICA/DIV OF LEGETT
MASTERACK DIV OF LEGGETT & PLATT   ELLIOTT LYONS                          905 MEMORIAL DR SE            PO BOX 100055                                     ATLANTA             GA   30316‐1434
MASTERCARD                         LAW DEPARTMENT, JACK WILSON            2000 PURCHASE ST                                                                PURCHASE            NY   10577‐2405
MASTERCARD INC INTERNATIONAL       LOCKBOX PROCESSING CENTER              4 CHASE METROTECH CTR         7TH FL EAST LOCKBOX 9084                          BROOKLYN            NY   11245‐0002
MASTERCARD INTERNATIONAL INC       2000 PURCHASE ST                                                                                                       PURCHASE            NY   10577‐2405
MASTERCRAFT BOAT CO                ATTN JOHN RECH                         100 CHEROKEE COVE DR                                                            VONORE              TN   37885‐2129
MASTERCRAFT ENGINEERING INC        323 SOUTHWELL BLVD                                                                                                     TIFTON              GA   31794‐8828
MASTERCRAFT ENGINEERING INC        DANNY KEY                              SOUTHWELL BLVD. IND. PARK                                                       TIFTON              GA   31794
MASTERCRAFT ENGINEERS PVT LTD      PLOT NO 126 & 127 4TH PHASE            BOMMASANDRA IND JIGN                                     560 099 INDIA INDIA
                                                                          BANGALORE
MASTERGUARD                        FLEX N GATE                            1200 E 8TH ST DR                                                                VEEDERSBURG         IN   47987
MASTERGUARD/FLEX‐N‐GATE            KELLY CLAYBURN                         1200 E 8TH ST                                                                   VEEDERSBURG         IN   47987‐8316
MASTERING COMPUTERS INC            11000 N SCOTTSDALE RD STE 260                                                                                          SCOTTSDALE          AZ   85254‐6200
MASTERLEASE LIMITED                INTERNATIONAL HOUSE, BICKENHILL LANE                                                            BIRMINGHAM B377HQ
                                                                                                                                   GREAT BRITAIN
MASTERLEASE LIMITED                INTERNATIONAL HOUSE, ELDMONT           BICKENHILL LANE                                          BIRMINGHAM B37 7HQ
                                   TRADING ESTATE                                                                                  GREAT BRITAIN
MASTERLINE DESIGN & MFG            41580 PRODUCTION DR                                                                                                    SELFRIDGE ANGB      MI   48045‐1357
MASTERLINE DESIGN & MFG INC        41580 PRODUCTION DR                                                                                                    HARRISON TOWNSHIP   MI   48045‐1357
MASTERNAK, EDWARD J                18750 28 1/2 MILE ROAD                                                                                                 SPRINGPORT          MI   49284‐9435
MASTERNAK, JAMES A                 3942 ANDERSON DR                                                                                                       ALBION              MI   49224‐8501
MASTERNAK, JASON JAMES             3942 ANDERSON DR                                                                                                       ALBION              MI   49224‐8501
MASTERNAK, MARIA                   17 GRAY ST                                                                                                             CHESTER             PA   19013‐5003
MASTERNAK, MARIA                   17 W GRAY ST                                                                                                           CHESTER             PA   19013‐5003
MASTERPIECE MONOGRAMMING           ATTN: KATHY JACKSON                    G4440 S SAGINAW ST                                                              BURTON              MI   48529‐2086
MASTERPOLE JENNIFER                225 MELBOURNE AVE                                                                                                      SYRACUSE            NY   13224‐1636
MASTERS ANGUS JR (463726)          ANGELOS PETER G LAW OFFICES OF         100 N CHARLES STREET , ONE                                                      BALTIMORE           MD   21202
                                                                          CHARLES CENTER 22ND FLOOR
MASTERS AUTO INC.                  4463 STATE RD                                                                                                          CLEVELAND           OH   44109‐4781
MASTERS COLLEGE                    21726 PLACERITA CANYON RD                                                                                              SANTA CLARITA       CA   91321‐1235
MASTERS DEBBIE                     2381 NELSON SIDING RD                                                                                                  CLE ELUM            WA   98922‐9474
MASTERS I, JERRY P                 130 GREMILLION LN                      C/O TERRY GREMILLION                                                            MONROE              LA   71203‐9552
MASTERS III, JAMES C               4208 N JANNEY AVE                                                                                                      MUNCIE              IN   47304‐1523
MASTERS JR, ATHWARD H              3351 MAHOPAC DR                                                                                                        LAKE ORION          MI   48360‐1525
MASTERS JR, JAMES D                2906 OLD JOPPA RD                                                                                                      JOPPA               MD   21085‐2708
MASTERS JR, ROBERT R               1245 BOOKWALTER AVE                                                                                                    NEW CARLISLE        OH   45344‐2709
MASTERS LIMITED                    467                                                                                             HAMILTON 5 BERMUDA
MASTERS PROPERTY MANAGEMENT        1366 OTTER AVE                                                                                                         WATERFORD           MI 48328‐4759
MASTERS RALPH W JR (429387)        GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                                     NORFOLK             VA 23510
                                                                          STREET, SUITE 600
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Name                                  Address1                              Address2                        Address3                Address4         City               State Zip
MASTERS ROBERT JOHN                   18526 BEATRICE ST                                                                                              CLINTON TOWNSHIP    MI 48036‐2010
MASTERS TRANSPORTATION INC            15211 S US HIGHWAY 71                                                                                          GRANDVIEW           MO 64030‐4433
MASTERS VIOLET (ESTATE OF) (492620)   BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                            NORTHFIELD          OH 44067
                                                                            PROFESSIONAL BLDG
MASTERS WARREN R SR                   GLASSER & GLASSER                     CROWN CENTER                    580 E MAIN ST STE 600                    NORFOLK            VA 23510
MASTERS WILLIAM F (663297)            ANGELOS PETER G LAW OFFICES           60 WEST BROAD ST                                                         BETHLEHEM          PA 18018
MASTERS, ANGUS                        ANGELOS PETER G LAW OFFICES OF        100 N CHARLES STREET, ONE                                                BALTIMORE          MD 21202
                                                                            CHARLES CENTER 22ND FLOOR
MASTERS, ANTHONY R                    7829 NW ROANRIDGE RD APT B                                                                                     KANSAS CITY        MO   64151‐1383
MASTERS, ANTHONY R                    300 ROYAL OAKS BLVD APT 1707                                                                                   FRANKLIN           TN   37067‐4445
MASTERS, BARBARA A                    6620 RITA DR                                                                                                   ENON               OH   45323‐1237
MASTERS, BARBARA JUANITA              109 MADDOX RD # B                                                                                              BUFORD             GA   30518‐3654
MASTERS, BARRY G                      1109 W 1ST ST                                                                                                  ANDERSON           IN   46016‐2376
MASTERS, BETTIE S                     4208 N JANNEY AVE                                                                                              MUNCIE             IN   47304‐1523
MASTERS, BILLY R                      6596 MASSERANT RD                                                                                              NEWPORT            MI   48166‐9751
MASTERS, BOB G                        17006 NE 184TH ST                                                                                              HOLT               MO   64048‐8806
MASTERS, CAROL L                      325 N 5TH ST                                                                                                   MIDDLETOWN         IN   47356‐1001
MASTERS, CAROL L                      325 N 5TH STREET                                                                                               MIDDLETOWN         IN   47356‐1001
MASTERS, CAROLE A                     976 SUNNY BEACH BLVD                                                                                           WHITE LAKE         MI   48386‐2083
MASTERS, CAROLE A                     976 SUNNYBEACH BLVD                                                                                            WHITE LAKE         MI   48386‐2083
MASTERS, CATHERINE L                  3808 STONEGATE DR                                                                                              WICHITA FALLS      TX   76310‐1414
MASTERS, CHALUS S                     122 AVALON LN                                                                                                  ANDERSON           IN   46017‐1304
MASTERS, CHARLES C                    194 STATE HIGHWAY 32                                                                                           BUFFALO            MO   65622‐4178
MASTERS, CHARLES R                    6600 S WEAVERS NEEDLE TRL                                                                                      GOLD CANYON        AZ   85218‐4751
MASTERS, CHARLES W                    1910 3RD ST                                                                                                    BAY CITY           MI   48708‐6215
MASTERS, CHARLOTTE D                  7710 EVANWOOD CT                                                                                               FORT WAYNE         IN   46816‐2657
MASTERS, CHESTER A                    GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                             PITTSBURGH         PA   15219

MASTERS, CHRIS K                      6043 CLOVER WAY N                                                                                              SAGINAW            MI   48603‐4220
MASTERS, CLIFFORD H                   10135 BANNISTER ST                                                                                             SPRING HILL        FL   34608‐6604
MASTERS, CONSTANCE L                  411 S PORTER ST                                                                                                SAGINAW            MI   48602‐2327
MASTERS, DALE A                       1010 BALDWIN ST                                                                                                JENISON            MI   49428‐9716
MASTERS, DANIEL J                     2020 FREEMAN ST                                                                                                WESTLAND           MI   48186‐4426
MASTERS, DARLENE K                    1555 CHARLES RD                                                                                                JAMESTOWN          OH   45335‐9753
MASTERS, DAVID M                      3500 CANYON RIDGE ARC                                                                                          LAS CRUCES         NM   88011‐0945
MASTERS, DAVID W                      2297 HENPECK LN                                                                                                FRANKLIN           TN   37064‐5206
MASTERS, DAVID W                      744 CLINTON AVE                                                                                                HAMILTON           OH   45015‐1825
MASTERS, DIANE K                      1228 CARLISLE HWY                                                                                              CHARLOTTE          MI   48813‐9578
MASTERS, DIANE R                      3854 RIATA DR                                                                                                  BAY CITY           MI   48706‐2149
MASTERS, DOAK D                       8805 PAINTERS CREEK                                                                                            ARCANUM            OH   45304
MASTERS, DOLORES J                    7809 CRESCENT BEACH RD                                                                                         PIGEON             MI   48755‐9751
MASTERS, DON F                        7809 CRESCENT BEACH RD                                                                                         PIGEON             MI   48755‐9751
MASTERS, DONALD E                     122 LOCUST DR                                                                                                  GAS CITY           IN   46933‐1133
MASTERS, DONALD L                     2010 HILLCREST DR                                                                                              ANDERSON           IN   46012‐4225
MASTERS, DONALD W                     8844 SHEPHERD RD                                                                                               ONSTED             MI   49265‐9523
MASTERS, DOROTHY A                    2110 ARCH RD                                                                                                   EATON RAPIDS       MI   48827‐9231
MASTERS, DOROTHY L                    210 WINDSOR WAY                                                                                                NICHOLASVILLE      KY   40356‐2500
MASTERS, DOYLE W                      213 S WARREN DR                                                                                                WINFIELD           MO   63389‐3336
MASTERS, EDDIE W                      8534 CLASSIC OAKS LN                                                                                           SAN ANTONIO        TX   78255‐3506
MASTERS, EDITH M                      18201 PAVER BARNES RD                                                                                          MARYSVILLE         OH   43040‐9153
MASTERS, EDWARD G                     1900 S K ST                                                                                                    ELWOOD             IN   46036
MASTERS, EDWARD J                     5327 CLOISTER DR                                                                                               TROY               MI   48085‐4088
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Name                      Address1                      Address2            Address3         Address4         City             State Zip
MASTERS, EDWARD R         3151 OLD ORCHARD DR                                                                 BRIGHTON          MI 48114‐8115
MASTERS, EDWIN E          9500 BRIDGE LAKE RD                                                                 CLARKSTON         MI 48348‐1619
MASTERS, ELDON D          2583 VARNER DR NE                                                                   ATLANTA           GA 30345‐1571
MASTERS, ELEANOR S        8364 N 400 E                                                                        GREENFIELD        IN 46140‐9048
MASTERS, ELEANOR S        8364 NORTH 400 EAST                                                                 GREENFIELD        IN 46140‐9048
MASTERS, EMILY LUCILLE    8092 FOX HOLLOW                                                                     GOODRICH          MI 48438‐9233
MASTERS, ERIC R           5662 MATTHEWS RD                                                                    OLIVET            MI 49076‐9681
MASTERS, ERIC ROBERT      5662 MATTHEWS RD                                                                    OLIVET            MI 49076‐9681
MASTERS, EUGENE T         109 MADDOX RD # B                                                                   BUFORD            GA 30518‐3654
MASTERS, EVADNE I         721 SW 100TH AVE                                                                    PEMBROKE PINES    FL 33025‐1005
MASTERS, FRED R           15316 FULLER AVE                                                                    GRANDVIEW         MO 64030‐4559
MASTERS, GARY C           76 S TRUMBULL RD                                                                    BAY CITY          MI 48708‐9120
MASTERS, GEORGE E         10909 WINDHAM PARKMAN RD.                                                           GARRETTSVILLE     OH 44231‐9712
MASTERS, GERALD C         10241 E RICHFIELD RD                                                                DAVISON           MI 48423‐8441
MASTERS, GERALD CHARLES   10241 E RICHFIELD RD                                                                DAVISON           MI 48423‐8441
MASTERS, GLENN E          3420 EAGLE DR                                                                       TROY              MI 48083‐5633
MASTERS, GRANT            PO BOX 156                    24 A ST                                               WILKINSON         IN 46186‐0156
MASTERS, GRANT T.         24 A ST                       PO BOX 156                                            WILKINSON         IN 46186
MASTERS, GREGORY A        7716 E 150 N                                                                        GREENFIELD        IN 46140‐9453
MASTERS, GREGORY S
MASTERS, HAROLD           PO BOX 878                                                                          SWANNANOA        NC   28778
MASTERS, HARRY W          PO BOX 577                                                                          GILLETT          AR   72055‐0577
MASTERS, HELEN            51690 NORTH AVE                                                                     MACOMB           MI   48042‐4416
MASTERS, HENRY E          4909 DAVISON RD                                                                     LAPEER           MI   48446‐3507
MASTERS, HORACE E         2679 GOLDEN AVE                                                                     DACULA           GA   30019‐1447
MASTERS, IDA B            7094 WARD RD                                                                        N TONAWANDA      NY   14120‐1417
MASTERS, JACK K           4218 US ROUTE 40                                                                    TIPP CITY        OH   45371‐9282
MASTERS, JACK L           4957 N COUNTY ROAD 325 W                                                            GREENCASTLE      IN   46135‐8414
MASTERS, JACK W           4601 GOLFCREST DR                                                                   ANDERSON         IN   46011‐1501
MASTERS, JACK WAYNE       4601 GOLFCREST DR                                                                   ANDERSON         IN   46011‐1501
MASTERS, JAMES C          2848 WINTON DR                                                                      KETTERING        OH   45419‐2317
MASTERS, JAMES E          569 S GALLERY DR                                                                    EATON RAPIDS     MI   48827‐1762
MASTERS, JAMES E          85 NEIL RD                                                                          ELLISVILLE       MS   39437‐9087
MASTERS, JANICE K         16246 158TH ST                                                                      BONNER SPRINGS   KS   66012‐7240
MASTERS, JENNY N          21624 NE 172ND ST                                                                   HOLT             MO   64048‐8735
MASTERS, JENNY NICOLE     21624 NE 172ND ST                                                                   HOLT             MO   64048‐8735
MASTERS, JEREMY J         21624 NE 172ND ST                                                                   HOLT             MO   64048‐8735
MASTERS, JEREMY JAMES     21624 NE 172ND ST                                                                   HOLT             MO   64048‐8735
MASTERS, JIMMY D          879 HOWARD BROWN RD                                                                 WEST MONROE      LA   71292‐0227
MASTERS, JOHN B           2624 MIDVALE ST                                                                     DAYTON           OH   45420‐3532
MASTERS, JOHN C           554 CARDWELL ST                                                                     GARDEN CITY      MI   48135‐3143
MASTERS, JOHN W           2739 STILL RD                                                                       LOGANVILLE       GA   30052‐3732
MASTERS, JOHNIE D         307 TIMBER LN                                                                       ANDERSON         IN   46017‐9693
MASTERS, KATHLEEN B       2856 COLLINGWOOD DR                                                                 BAY CITY         MI   48706‐1509
MASTERS, KEITH            2209 WRENWOOD ST SW                                                                 WYOMING          MI   49519
MASTERS, KELLY K          599 ORCHARD RIDGE DR                                                                LAKE ORION       MI   48362‐3900
MASTERS, KENNETH G        3793 WINDING PINE DR                                                                METAMORA         MI   48455‐8969
MASTERS, KEVIN W          9861 E CLEMENTS CIR                                                                 LIVONIA          MI   48150‐3207
MASTERS, LAMAR W          2594 MASTERS RD                                                                     DACULA           GA   30019‐1914
MASTERS, LARRY L          RR 4                                                                                CHARLOTTE        MI   48813
MASTERS, LAURA C          1524 DOWNEY ST                                                                      LANSING          MI   48906‐2817
MASTERS, LEHMAN L         426 NE 23RD ST                                                                      NEWCASTLE        OK   73065‐6388
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Name                     Address1                           Address2                      Address3   Address4         City             State Zip
MASTERS, LINDA S         7549 SADDLER KROHLER ROAD                                                                    FARMDALE          OH 44417‐4417
MASTERS, MARCIA A        9861 E CLEMENTS CIR                                                                          LIVONIA           MI 48150‐3207
MASTERS, MARGARET R      411 STURBRIDGE ROAD                                                                          COLUMBUS          OH 43228‐1251
MASTERS, MARILYN         PORTER & MALOUF PA                 4670 MCWILLIE DR                                          JACKSON           MS 39206‐5621
MASTERS, MARILYN N       973 N 600 W                                                                                  ANDERSON          IN 46011‐8796
MASTERS, MARVIN P        9484 N LEWIS RD                                                                              CLIO              MI 48420‐9781
MASTERS, MARVIN W
MASTERS, MARY J          2770 PATRICK HENRY DR.             APT# 913                                                  AUBURN HILLS     MI   48326‐2249
MASTERS, MARY J          2770 PATRICK HENRY ST APT 913                                                                AUBURN HILLS     MI   48326‐2256
MASTERS, MARY M          342 S 700 E                                                                                  ELWOOD           IN   46036‐8402
MASTERS, MELISSA L       220 S POLK ST                                                                                WINCHESTER       IN   47394‐1519
MASTERS, MELVIN C        3081 HILLGROVE AVE                                                                           COLUMBUS         OH   43223‐3643
MASTERS, MICHAEL E       3301 W 28TH ST                                                                               MUNCIE           IN   47302
MASTERS, MONTE L         INDIAN VILLAGE                     4557 COVENTRY PKWY #58                                    FORT WAYNE       IN   46804‐7109
MASTERS, MURL T          187 THORNE LN                                                                                COOKEVILLE       TN   38506‐7757
MASTERS, NORMAN C        2058 WEIR RD NE                                                                              WARREN           OH   44483‐2819
MASTERS, NORMAN E        3027 HIGHWAY 95                                                                              COUNCIL          ID   83612‐5105
MASTERS, PALMIRA C       ATTN: BUSINESS OFFICE              MONROE COMMUNITY HOSPITAL                                 ROCHESTER        NY   14620‐4620
MASTERS, PATRICIA        269 EVERGREEN                                                                                ELMHURST         IL   60126‐2649
MASTERS, PATRICIA        269 N EVERGREEN AVE                                                                          ELMHURST         IL   60126‐2649
MASTERS, PATRICIA M      1125 TREESHADE DR                                                                            SAINT PETERS     MO   63376‐3890
MASTERS, PAUL R          9343 NEFF RD                                                                                 CLIO             MI   48420‐1660
MASTERS, PHILLIP L       4000 CORONADO PKWY APT 103                                                                   CAPE CORAL       FL   33904‐7301
MASTERS, RALPH E         7549 SADDLER KROHLER RD                                                                      FARMDALE         OH   44417
MASTERS, RALPH E         6849 S DIXIE HWY                                                                             FRANKLIN         OH   45005‐2843
MASTERS, RALPH W         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                            STREET, SUITE 600
MASTERS, RANDALL A       11010 CONSTANTIA CV                                                                          ROANOKE          IN   46783‐8910
MASTERS, RANDALL ALLEN   11010 CONSTANTIA CV                                                                          ROANOKE          IN   46783‐8910
MASTERS, RAYMOND         6466 NIGHTINGALE ST                                                                          DEARBORN HTS     MI   48127‐2131
MASTERS, RICHARD A       2706 S JEFFERSON ST                                                                          BAY CITY         MI   48708‐3700
MASTERS, RICK A          1820 WILLOW POINT DR                                                                         SHREVEPORT       LA   71119‐4110
MASTERS, RICK ADAM       1820 WILLOW POINT DR                                                                         SHREVEPORT       LA   71119‐4110
MASTERS, ROBERT B        2712 DALEWOOD TER                                                                            NORMAN           OK   73071‐4303
MASTERS, ROBERT C        3300 MONROE ST                                                                               DEARBORN         MI   48124‐3656
MASTERS, ROBERT J        18526 BEATRICE ST                                                                            CLINTON TWP      MI   48036‐2010
MASTERS, ROBERT JOHN     18526 BEATRICE ST                                                                            CLINTON TWP      MI   48036‐2010
MASTERS, ROGER A         2258 SPRING CREEK CIR NE                                                                     PALM BAY         FL   32905‐4037
MASTERS, ROGER W         1320 STRINGTOWN PIKE                                                                         CICERO           IN   46034‐9421
MASTERS, ROY L           5900 GRANADA ST                                                                              FAIRWAY          KS   66205‐3139
MASTERS, RUBY C          1625 GLORIA ST                                                                               WESTLAND         MI   48186‐8926
MASTERS, RUTHANN         8281 DAYTON OXFORD RD                                                                        FRANKLIN         OH   45005‐3016
MASTERS, RUTHANN         8281 DAYTON‐OXFORD RD                                                                        FRANKLIN         OH   45005‐3016
MASTERS, SANDRA J        881 AUGUSTA BLVD                                                                             LOVELAND         OH   45140‐8392
MASTERS, SANDRA K.       5751 PARVIEW DR APT 1                                                                        CLARKSTON        MI   48346‐2859
MASTERS, TED E           16246 158TH ST                                                                               BONNER SPRNGS    KS   66012‐7240
MASTERS, TED G           108 BELVEDERE LN                                                                             PEACHTREE CITY   GA   30269‐3278
MASTERS, THOMAS E        115 COUNTY ROAD 651                                                                          ATHENS           TN   37303‐6240
MASTERS, THOMAS L        342 S 700 E                                                                                  ELWOOD           IN   46036‐8402
MASTERS, TIMOTHY L       PO BOX 514                                                                                   HOBBS            IN   46047‐0514
MASTERS, TONY            2338 NORTH RD                                                                                MURFREESBORO     TN   37128‐6332
MASTERS, VICKIE          611 SOUTH PINE STREET                                                                        NOWATA           OK   74048‐4021
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Name                      Address1                           Address2              Address3       Address4         City               State Zip
MASTERS, VINCENT J        56 W AMY LN                                                                              ROCHESTER           NY 14626‐3773
MASTERS, WESLEY J         838 WESLEYAN DR                                                                          FAIRFIELD           OH 45014‐2924
MASTERS, WILLIAM F        ANGELOS PETER G LAW OFFICES        60 WEST BROAD ST                                      BETHLEHEM           PA 18018
MASTERS,JAMES C           2848 WINTON DR                                                                           KETTERING           OH 45419‐2317
MASTERS‐WILMOTH, LARI L   4900 WASHINGTON AVE                                                                      LORAIN              OH 44052‐5722
MASTERSON HARRY           381 MASTERSON RD                                                                         CLE ELUM            WA 98922‐9225
MASTERSON, AMY A          9924 W STATE ROAD 11                                                                     JANESVILLE          WI 53548‐9132
MASTERSON, ARTHUR C       3117 GROVELAND RD                                                                        ORTONVILLE          MI 48462‐9007
MASTERSON, BERNARD P      5200 EAGLE RD                                                                            WHITE LAKE          MI 48383‐1205
MASTERSON, CHARLES D      3003 COUNTY ROAD 136                                                                     TOWN CREEK          AL 35672‐6325
MASTERSON, CHARLES E      6060 SIPES LN                                                                            FLINT               MI 48532‐5319
MASTERSON, CHRISTINE
MASTERSON, DANIEL P       14299 OAKLAND PARK DR                                                                    STRONGSVILLE       OH   44136‐1821
MASTERSON, DANIEL T       641 KAYSER ROAD                                                                          LEAVITTSBURG       OH   44430‐9625
MASTERSON, DOLORES E      223 SUMMIT AVENUE                                                                        FT WASHINGTON      PA   19034‐1525
MASTERSON, DOLORES S.     945 N PASADENA                     UNIT 43                                               MESA               AZ   85201‐4311
MASTERSON, DOLORES S.     945 N PASADENA UNIT 43                                                                   MESA               AZ   85201‐4311
MASTERSON, EDWARD J       2697 BASELINE RD APT 107                                                                 GRAND ISLAND       NY   14072‐1670
MASTERSON, ETHEL J        527 CANARY DR                                                                            NEWARK             DE   19702‐4278
MASTERSON, EVA C          6281 WEYBRIDGE DR                                                                        TROTWOOD           OH   45426‐1441
MASTERSON, FRANCES L      128 19TH ST NW                                                                           RUSKIN             FL   33570‐2957
MASTERSON, IRIS E         1315 S ARMSTRONG ST                                                                      KOKOMO             IN   46902‐6308
MASTERSON, JACQUELINE     1798 W 1000 N                                                                            FOUNTAINTOWN       IN   46130‐9734
MASTERSON, JAMES A        4149 ROOSEVELT BLVD                                                                      DEARBORN HTS       MI   48125‐2532
MASTERSON, JAMES E        15 NORWOOD AVE APT B5                                                                    SUMMIT             NJ   07901‐1916
MASTERSON, JAMES H        6281 WEYBRIDGE DR                                                                        TROTWOOD           OH   45426‐1441
MASTERSON, JOAN R         336 MCCONKEY DR                                                                          BUFFALO            NY   14223‐1034
MASTERSON, JOHN ISAAC     6220 HOWARDSTOWN RD                                                                      NEW HAVEN          KY   40051‐6207
MASTERSON, JOHN M         7230 4TH ST N LOT 1201                                                                   SAINT PETERSBURG   FL   33702‐5849
MASTERSON, JOHN M         484 MOORE AVE                                                                            TN OF TONA         NY   14223‐1757
MASTERSON, JOHN MICHAEL   484 MOORE AVE                                                                            TN OF TONA         NY   14223‐1757
MASTERSON, KEVIN          1797 BEAR CAVE SW                                                                        LILBURN            GA   30047‐2501
MASTERSON, LEWIS E        2063 CO RD# 129                                                                          RUSSELLVILLE       AL   35654
MASTERSON, LILLYAN        437 DUPLIN ST                                                                            VIRGINIA BEACH     VA   23452‐4140
MASTERSON, MARGARET       1741 ROBINSON POINT RD             C/O KENNETH J RAMOS                                   MOUNTAIN HOME      AR   72653‐7213
MASTERSON, MARION E       1741 ROBINSON POINT RD             C/O KENNETH J RAMOS                                   MOUNTAIN HOME      AR   72653‐7213
MASTERSON, MARJORIE E     11 LEISURE LANE                                                                          LEVITTOWN          PA   19054‐3911
MASTERSON, MARK           289 ALDRICH RD                                                                           AUSTINTOWN         OH   44515‐3908
MASTERSON, MARK E         4220 REVERE DR                                                                           PLAINFIELD         IN   46168‐8809
MASTERSON, MICHAEL D
MASTERSON, MICHAEL J      9924 W STATE ROAD 11                                                                     JANESVILLE         WI   53548‐9132
MASTERSON, MICHAEL J      9924 W STATE RD 11                                                                       JANESVILLE         WI   53545
MASTERSON, RAY J          2658 COUNTY ROAD 135                                                                     TOWN CREEK         AL   35672‐6308
MASTERSON, RICHARD B      721 COUNTY ROAD 2600 N                                                                   BURNT PRAIRIE      IL   62820‐2011
MASTERSON, ROBERT P       27854 KNICKERBOCKER RD                                                                   BAY VILLAGE        OH   44140‐2149
MASTERSON, RONALD R       285 FORTH AVENUE                                                                         WOONSOCKET         RI   02895
MASTERSON, RONNIE G       PO BOX 176                                                                               COURTLAND          AL   35618‐0176
MASTERSON, SCOTT E        5400 SILVERTON DR                                                                        GRAND BLANC        MI   48439‐4342
MASTERSON, SCOTT EDWARD   5400 SILVERTON DR                                                                        GRAND BLANC        MI   48439‐4342
MASTERSON, THOMAS J       2135 E MEMORIAL DR                                                                       JANESVILLE         WI   53545‐2048
MASTERSON, THOMAS L       26615 ALGER ST                                                                           MADISON HTS        MI   48071‐3561
MASTERSON, VICTOR M       125 BRIDY RD                                                                             SUMMERTOWN         TN   38483‐7109
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Name                                  Address1                        Address2                   Address3   Address4         City                  State Zip
MASTERSON, VIVIAN                     125 BRIDY RD                                                                           SUMMERTOWN             TN 38483‐7109
MASTERSON, WILLAIM R                  PO BOX 1228                                                                            TUCKER                 GA 30085‐1228
MASTERSON, WILLIAM E                  18932 RIVERBEND LOOP                                                                   FOLEY                  AL 36535‐3998
MASTERSON, WILLIAM G                  829 FERNWOOD CT                                                                        INDIANAPOLIS           IN 46234‐2102
MASTERTECH                            611 N ROSELLE RD                                                                       ROSELLE                 IL 60172‐4900
MASTERTECH                            2233 WESTERN AVE                                                                       PLYMOUTH               IN 46563‐1063
MASTERTECH                            16109 MANCHESTER RD                                                                    ELLISVILLE             MO 63011
MASTERTECH AUTO REPAIR                3925 DUNCAN DR                                                                         HARRISON               AR 72601‐9713
MASTERTECH AUTOCARE                   1513 ALEXANDRIA PIKE                                                                   FORT THOMAS            KY 41075‐2529
MASTERTECH AUTOMOTIVE                 201 W WASHINGTON ST                                                                    SLINGER                WI 53086‐9563
MASTERTECH AUTOMOTIVE                 1717 S STATE ST                                                                        SALT LAKE CITY         UT 84115‐1931
MASTERTON ESTATE OF, CLIFFORD SCOTT

MASTERTON, KEVIN KEAUN
MASTERTON, LINDA GAIL                 NEWSOME & DIDIER                20 N ORANGE AVE STE 800                                ORLANDO               FL   32801‐4641
MASTICK, JOYCE                        1371 FAIRFIELD WAY                                                                     GLADWIN               MI   48624‐8527
MASTICK, STANLEY A                    PO BOX 1200                                                                            YOUNTVILLE            CA   94599
MASTIE, MARK L                        443 LEXINGTON RD                                                                       GROSSE POINTE FARMS   MI   48236‐2820
MASTIN, A C                           3601 DEARBORN AVE                                                                      FLINT                 MI   48507‐1870
MASTIN, BETTY L                       PO BOX 473                                                                             DAVISON               MI   48423‐0473
MASTIN, BRIAN S                       LOT 50                          2800 WEST MEMORIAL DRIVE                               MUNCIE                IN   47302‐6441
MASTIN, BRIAN SCOTT                   LOT 50                          2800 WEST MEMORIAL DRIVE                               MUNCIE                IN   47302‐6441
MASTIN, CECILIA A                     800 E COURT ST                  APT 304                                                FLINT                 MI   48503
MASTIN, CHARLES K                     BOX 31                                                                                 FAYETTVILLE           OH   45118‐0031
MASTIN, CHARLES K                     PO BOX 31                                                                              FAYETTEVILLE          OH   45118‐0031
MASTIN, DEBORAH L                     4501 CLOVERLAWN DR                                                                     FLINT                 MI   48504‐2057
MASTIN, DEBORAH LOUISE                4501 CLOVERLAWN DR                                                                     FLINT                 MI   48504‐2057
MASTIN, DOROTHY V                     3502 SUSAN LEWIS DRIVE                                                                 ERLANGER              KY   41018‐2405
MASTIN, JACK O                        1698 SHERMAN AVE                                                                       NORWOOD               OH   45212‐2544
MASTIN, JAMES A                       20439 E 12 MILE RD                                                                     ROSEVILLE             MI   48066‐2203
MASTIN, JAMES A                       20439 12 MILE RD                                                                       ROSEVILLE             MI   48066‐2203
MASTIN, MARY E                        2425 W RIVER RD N APT 126                                                              ELYRIA                OH   44035‐2243
MASTIN, MAURICE A                     3601 DEARBORN AVE                                                                      FLINT                 MI   48507‐1870
MASTIN, MINNIE E                      3510 BROWNELL BLVD                                                                     FLINT                 MI   48504‐3716
MASTIN, PHILIP O                      651 HOLLY PT 52                                                                        FENTON                MI   48430
MASTIN, RICHARD S                     14751 CROFTON DR                                                                       SHELBY TWP            MI   48315‐4421
MASTIN, RICHARD SCOTT                 14751 CROFTON DR                                                                       SHELBY TWP            MI   48315‐4421
MASTIN, ROBERT L                      14216 N IBSEN DR APT B                                                                 FOUNTAIN HILLS        AZ   85268
MASTIN, ROBERT L                      9164 EMILY DR                                                                          DAVISON               MI   48423‐2889
MASTIN, RONNIE E                      4017 BROWNELL BLVD                                                                     FLINT                 MI   48504‐2124
MASTIN, SANDRA S                      10325 SLOUGH RD                                                                        DEFIANCE              OH   43512‐9760
MASTIN, STEVEN M                      20993 DEXTER BLVD                                                                      WARREN                MI   48089‐3472
MASTIN, STEVEN MICHAEL                20993 DEXTER BLVD                                                                      WARREN                MI   48089‐3472
MASTIN, TIMOTHY G                     10701 OLDE TUSCANY RD                                                                  OKLAHOMA CITY         OK   73173‐7327
MASTIN, WILLIAM E                     50 ALTA VISTA DR                                                                       WALTON                KY   41094‐1056
MASTNEY, EDWARD R                     21406 W SYCAMORE DR                                                                    PLAINFIELD            IL   60544‐6373
MASTNY, DAVID L                       269 HUNTERS RILL                                                                       OXFORD                MI   48371‐5288
MASTNY, EMMA G                        320 FOWLES RD                                                                          BEREA                 OH   44017‐2134
MASTNY, JON J                         5229 KING HENRY CIR                                                                    GLADWIN               MI   48624‐8204
MASTNY, MARY ANN                      1640 MAPLEWOOD APT 10                                                                  STREETSBORO           OH   44241‐5674
MASTNY, TAUNJA J                      9079 GOTTS CT 121                                                                      WILLIS                MI   48191
MASTNY, WILLIAM P                     56821 FEATHER CT                C/O BRUCE E MASTNY                                     THREE RIVERS          MI   49093‐9653
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Name                                  Address1                          Address2              Address3       Address4         City            State Zip
MASTON, BERNICE M                     11 BAKOS BLVE APT 127                                                                   BUFFALO          NY 14211
MASTON, DEIDRE'                       1709 W HOME AVE                                                                         FLINT            MI 48504‐1619
MASTON, JOE                           501 EAST STREET SOUTH                                                                   TALLADEGA        AL 35160‐2612
MASTON, JOE                           501 EAST ST S                                                                           TALLADEGA        AL 35160‐2612
MASTORIDES, ERNEST                    1973 BECKETT LAKE DR                                                                    CLEARWATER       FL 33763‐4408
MASTORIDES, MELISSA A                 PO BOX 1976                                                                             VALRICO          FL 33595‐1976
MASTORIDES, MELISSA A                 2373 VIOLET PL                                                                          PALM HARBOR      FL 34685‐2130
MASTORIO JR, SAMUEL                   229 RICHARD CT                                                                          SPOTSWOOD        NJ 08884‐1569
MASTORIO, CHRISTINE                   1254 MURRAY ST                                                                          FORTY FORT       PA 18704‐4112
MASTORIO, DONNA M                     8 PULASKI AVE                                                                           SAYREVILLE       NJ 08872‐1648
MASTORIO, FRANK A                     975 LILY COURT                                                                          MORGANVILLE      NJ 07751‐1801
MASTORIO, JOSEPH                      59 OCEAN BLVD                                                                           KEYPORT          NJ 07735‐6060
MASTORIO, MARGARET                    7 E 2ND ST                                                                              PORT READING     NJ 07064‐1506
MASTORIO, MARGARET                    7 SECOND ST                                                                             PORT READING     NJ 07064‐1506
MASTORIO, MICHAEL                     8 PULASKI AVE                                                                           SAYREVILLE       NJ 08872‐1648
MASTORIO, ROY                         2 BEECH CT                                                                              PARLIN           NJ 08859‐1178
MASTORIO, TRACIE A                    1822 BASIL AVE                                                                          POLAND           OH 44514‐1314
MASTORIO, VERNA                       178 KENNETH CT                                                                          SPOTSWOOD        NJ 08884‐1533
MASTORIO, VERNA                       178 KENNETH COURT                                                                       SPOTSWOOD        NJ 08884
MASTOROVICH, STEVE                    905 LILAC LN                                                                            MURRYSVILLE      PA 15668‐8920
MASTOS, CURT L                        61315 TIMBERLANE DR                                                                     JONES            MI 49061‐8748
MASTOS, CURT LOUIS                    61315 TIMBERLANE DR                                                                     JONES            MI 49061‐8748
MASTOS, PAUL L                        6283 RAPIDFALL DR NE                                                                    BELMONT          MI 49306‐9751
MASTOS, RUTH A                        PO BOX 479                                                                              CARROLLTON       MI 48724
MASTRANDREA, CARMELA                  710 REVERE AVE #1                                                                       BRONX            NY 10465
MASTRANGELO, ERNEST J                 501 QUENTIN RD                                                                          EASTLAKE         OH 44095‐2743
MASTRANGELO, JAMES J                  4169 ALLEGHENY DR                                                                       TROY             MI 48085‐3641
MASTRANGELO, RICHARD J                611 KENSINGTON DR                                                                       WESTFIELD        NJ 07090‐3604
MASTRANTONIO, BENNY A                 3517 CORNELL ST                                                                         DEARBORN         MI 48124‐3231
MASTRANTONIO, BENNY ANGELO            3517 CORNELL ST                                                                         DEARBORN         MI 48124‐3231
MASTRANTUONO GIOVANNI (351679)        ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                   NEW YORK         NY 10006‐1638
MASTRANTUONO, GIOVANNI                ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                   NEW YORK         NY 10006‐1638
MASTRAPA, LEONARD                     6440 SHERIDAN ST                                                                        HOLLYWOOD        FL 33024‐4139
MASTRAPA, LUZ S                       196 BIRCH HILL RD                                                                       CRARYVILLE       NY 12521‐5059
MASTRAPA, RAUL A                      777 S FEDERAL HWY APT D204                                                              POMPANO BEACH    FL 33062‐5975
MASTRELLA, KIMBERLY A                 34 N UNION ST                                                                           SPENCERPORT      NY 14559‐1245
MASTRELLA, LOUISE M                   23 INGRAM DR                                                                            ROCHESTER        NY 14624‐2906
MASTRELLA, ROSE M                     376 FETZNER RD                                                                          ROCHESTER        NY 14626‐2250
MASTRES JR, JOHN D                    25 STONEHEDGE LN                                                                        MADISON          NJ 07940‐2721
MASTRIA BUI‐PON‐GMC CO INC            RICHARD MASTRIA                   1525 ROUTE 44                                         RAYNHAM          MA 02767‐1045
MASTRIA BUICK‐PONTIAC‐GMC TRUCK CO.   RICHARD MASTRIA                   1525 ROUTE 44                                         RAYNHAM          MA 02767‐1045

MASTRIA BUICK‐PONTIAC‐GMC TRUCK CO., 1525 ROUTE 44                                                                            RAYNHAM         MA 02767‐1045
INC.
MASTRIA BUICK‐PONTIAC‐GMC TRUCK‐CAD 1525 ROUTE 44                                                                             RAYNHAM         MA 02767‐1045

MASTRIA BUICK‐PONTIAC‐GMC TRUCK‐      RICHARD MASTRIA                   1525 ROUTE 44                                         RAYNHAM         MA 02767‐1045
CADILLAC, CO., INC.
MASTRIANIA JR, JOHN L                 PO BOX 214                                                                              NORTH BEND      PA   17760‐0214
MASTRIANIA, MARTHA                    PO BOX 214                                                                              NO BEND         PA   17760‐0214
MASTRIANNI, HELEN L                   673 SEVEN GABLES CIRCLE                                                                 PALM BAY        FL   32909
MASTRIANNI, KAREN A                   2240 SEYMOUR LAKE RD                                                                    ORTONVILLE      MI   48462‐9266
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Name                             Address1                         Address2                      Address3   Address4         City            State Zip
MASTRIANNI, KAREN ANN            2240 SEYMOUR LAKE RD                                                                       ORTONVILLE       MI 48462‐9266
MASTRIANNI, LYNN H               8 COOK CIR                                                                                 GANSEVOORT       NY 12831‐2427
MASTRIANNI, LYNN M               4057 ELMHURST RD                                                                           WATERFORD        MI 48328‐4026
MASTRIANNI, LYNN MARIE           4057 ELMHURST RD                                                                           WATERFORD        MI 48328‐4026
MASTRIANO, ANGELA C              200 CLAYTON MANOR DR S APT 4                                                               LIVERPOOL        NY 13088‐5496
MASTRILLI, JUDITH L              295 DOLORES DR                                                                             PLEASANT LAKE    MI 49272‐9792
MASTRILLI, JUDITH L              295 DOLOROES DRIVE                                                                         PLEASENT LAKE    MI 49272
MASTRIPPOLITO, ANGELO P          415 MAGNOLIA ST                                                                            KENNETT SQ       PA 19348‐3219
MASTRO JERRY T (429388)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                  STREET, SUITE 600
MASTRO, JERRY T                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                                  STREET, SUITE 600
MASTRO, JOAN E                   100 CONSTITUTION BLVD                                                                      WHITING         NJ   08759‐1904
MASTRO, JOHN B                   15310 BRAUN CT                                                                             MOORPARK        CA   93021‐3217
MASTRO, KENNETH W                PO BOX 846                                                                                 TONGANOXIE      KS   66086‐0846
MASTROBATTISTA MICHAEL J         MASTROBATTISTA, MICHAEL J        7777 ALVARADO RD STE 515                                  LA MESA         CA   91941‐3706
MASTROBATTISTA, MICHAEL J        FOSTER & WALSH LLP               7777 ALVARADO RD STE 515                                  LA MESA         CA   91942‐8306
MASTROBERARDINO, LISA            460 W HARVEY ST                                                                            STRUTHERS       OH   44471‐1335
MASTROBERARDINO, LISA            460 W. HARVEY                                                                              STRUTHERS       OH   44471‐1335
MASTROBUONO CARMINE L (478858)   PAUL REICH & MYERS P.C.          1608 WALNUT ST STE 500                                    PHILADELPHIA    PA   19103‐5446
MASTROBUONO, CARMINE L           C/O PAUL REICH & MYERS P.C.      1608 WALNUT ST STE 500                                    PHILADELPHIA    PA   19103‐5446
MASTROCOVO, NICHOLAS J           59 NANCYCREST LN                                                                           BUFFALO         NY   14224‐3831
MASTRODONATO, ALFRED A           4077 7TH ST                                                                                FRANKFORT       MI   49635‐9419
MASTRODONATO, FRANK J            77 MAIDA DR                                                                                SPENCERPORT     NY   14559‐1733
MASTRODONATO, PAUL J             4418 FRUITLAND DR                                                                          PARMA           OH   44134‐4533
MASTROENI, GENO C                5734 MASTROENI TRL                                                                         GRAYLING        MI   49738‐7356
MASTROENI, JOHN J                PO BOX 211                       7434 HILLCREST AVENUE                                     HIGGINS LAKE    MI   48627‐0211
MASTROENI, JOHN J                7434 HILLCREST AVENUE            P O BOX 211                                               HIGGINS LAKE    MI   48627‐0211
MASTROFRANCESCO, EDDA M          18637 STAMFORD                                                                             LIVONIA         MI   48152‐3033
MASTROGIOVANNI, ALFONSO E        22436 SOCIA ST                                                                             ST CLAIR SHRS   MI   48082‐2496
MASTROGIOVANNI, ANGELO M         43 KNOWLES ST                                                                              AUBURN          MA   01501‐2227
MASTROGIOVANNI, GRACE L          435 EAST HENRIETTA RD.                                                                     ROCHESTER       NY   14620‐4629
MASTROGIOVANNI, GRACE L          435 E HENRIETTA RD                                                                         ROCHESTER       NY   14620‐4629
MASTROIANNI, LAURA A             1521 NEWBERRY AVENUE                                                                       LA GRANGE PK    IL   60526‐1256
MASTROIANNI, RALPH A             PO BOX 274                                                                                 MILFORD         MA   01757‐0274
MASTROLONARDO, ANTHONY P         39 HOMES PARK AVE                                                                          ISELIN          NJ   08830‐2229
MASTROLONARDO, JOSEPH J          2727 FRONTAGE RD                                                                           DAVENPORT       FL   33837
MASTROMARINO, MARGARET A         9 WINKLE CT                                                                                MANCHESTER      NJ   08759‐5173
MASTROMATTEO VINCENT (512073)    COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                   HOUSTON         TX   77002‐1751
MASTROMATTEO, THERESA            3821 RIDGEWAY PL                                                                           TRAVERSE CITY   MI   49684‐8955
MASTROMATTEO, VINCENT            COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                   HOUSTON         TX   77002‐1751
MASTROMONICO, BETTY J            PO BOX 36                                                                                  WATERPORT       NY   14571‐0036
MASTRONARDI ANTHONY              4 HIDDEN KNOLLS CIR                                                                        MONROE          CT   06468‐2718
MASTRONARDI PRODUCE              ATTN: DON MASTRONARDI            6505 COGSWELL ST # 200                                    ROMULUS         MI   48174‐4170
MASTROPIETRO, JOSEPH J           2408 WOODLAND HILLS DR                                                                     NEW CASTLE      PA   16101‐5558
MASTROPIETRO, RAFFAELA F         22629 N 41ST ST                                                                            PHOENIX         AZ   85050‐8709
MASTROPOLO, MICHELLE             1590 NEPPERHAN AVE                                                                         YONKERS         NY   10703‐1048
MASTRORILLI, JAMES M             4109 SENECA PKWY                                                                           NIAGARA FALLS   NY   14304‐1140
MASTRORILLI, JAMES MICHAEL       4109 SENECA PKWY                                                                           NIAGARA FALLS   NY   14304‐1140
MASTRORILLI, VIOLET M            899 UPPER MOUNTAIN RD                                                                      LEWISTON        NY   14092
MASTROSIMONE, COSIMA             284 WAHL RD                                                                                ROCHESTER       NY   14609‐1865
MASTROSIMONE, DOLORES F          101 ROBIN RD                                                                               EWING           NJ   08628‐2709
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Name                                   Address1                            Address2                        Address3                       Address4                 City             State Zip
MASTROSIMONE, LOUIS V                  120 CHESTNUT RIDGE RD                                                                                                       ROCHESTER         NY 14624‐3928
MASTROSIMONE, MONICA K                 120 C WESTVIEW COMMONS BLVD                                                                                                 ROCHESTER         NY 14624‐5905
MASTROSIMONE, MONICA K                 120C WESTVIEW COMMONS BLVD                                                                                                  ROCHESTER         NY 14624‐5905
MASTROSIMONE, SALVATORE                298 WAHL RD                                                                                                                 ROCHESTER         NY 14609‐1865
MASTROSIMONE, VINCENT M                12 ASCOT DR                                                                                                                 ROCHESTER         NY 14624‐4411
MASTROTOTARO, ELAINE                   78 FORTFIELD AVE                                                                                                            YONKERS           NY 10701‐5611
MASTROTOTARO, NAT J                    78 FORTFIELD AVE                                                                                                            YONKERS           NY 10701‐5611
MASTROTRA BARBARA                      MASTROTRA, BARBARA                  55 PUBLIC SQ STE 650                                                                    CLEVELAND         OH 44113‐1909
MASTROVITO, MICHAEL J                  13900 CLEAR CREEK DR                                                                                                        LOWELL            MI 49331
MASTY JR, ANDREW J                     13040 CABERFAE HWY                                                                                                          WELLSTON          MI 49689‐9357
MASUCCI, ANTHONY J                     PAUL REICH & MYERS PC               1608 WALNUT ST                  STE 500                                                 PHILADELPHIA      PA 19103‐5446
MASUCCI, LOUIS R                       7918 WISE AVE                                                                                                               BALTIMORE         MD 21222‐3341
MASUCCIO, ANTONETTA                    2002 ALBANY ST                                                                                                              BEECH GROVE       IN 46107‐1408
MASUCCIO, S                            9802 SUNNY MEADE LN                                                                                                         INDIANAPOLIS      IN 46280‐1862
MASUCH, CHARLOTTE A                    4316 FISHER ST                                                                                                              KANSAS CITY       KS 66103‐3221
MASUDA, FUNAI, EIFERT & MITCHELL, LTD. ATTY FOR RYOBI LTD. AND RYOBI DIE   ATTN: REIN F. KRAMMER           203 N. LASALLE STREET, SUITE                            CHICAGO            IL 60601‐1262
                                       CASTING (USA), INC                                                  2500
MASUDA, KOJI                           2‐3‐10‐1806 ATAGOHAMA NISHIKU                                                                      FUKUOKA 81900‐03 JAPAN
MASUDA, KOJI                           3‐16‐31                             SASAOKA, CHUOKU                                                                         FUKUOKA, JAPAN   MI   81000
MASULIT SHANNON                        6957 S NEWLAND ST                                                                                                           LITTLETON        CO   80128‐4522
MASULLO, ANDREW A                      1 FLAMETREE CT                                                                                                              PALM COAST       FL   32137‐8310
MASUR TRUCKING INC                     4848 INTERSTATE DR                                                                                                          CINCINNATI       OH   45246‐1114
MASUR, JOSEPH A                        35028 CHERRY HILL RD                                                                                                        WESTLAND         MI   48185‐4309
MASZATICS, STEVEN                      4943 LATHROP ST                                                                                                             TRENTON          MI   48183‐4740
MASZK, ROBERT T                        13403 W GEMSTONE DR                                                                                                         SUN CITY WEST    AZ   85375‐5333
MASZLEWSKI, ROBERT M                   5225 GREENHILL ST                                                                                                           PORTAGE          MI   49024‐5629
MASZTAK JR, CHESTER W                  6285 PARADISE ISLAND CT                                                                                                     PORT ORANGE      FL   32128‐6962
MAT BROOKS                             4320 BIELEFELD DR                                                                                                           FLORISSANT       MO   63033‐4258
MATA ESTATE OF, ROBERTO CHRISTIAN

MATA III, JOSE                         5355 W VIENNA RD                                                                                                            CLIO             MI   48420‐9460
MATA JOANN                             8755 CANDLELIGHT ST                                                                                                         APPLE VALLEY     CA   92308‐9160
MATA JR, JOSE J                        9451 GRAND BLANC RD                                                                                                         GAINES           MI   48436‐9793
MATA JR, JOSE JESUS                    9451 GRAND BLANC RD                                                                                                         GAINES           MI   48436‐9793
MATA MCKINNEY                          702 S DONNYBROOK AVE                                                                                                        TYLER            TX   75701
MATA OSCAR                             MATA, MIRELLA
MATA OSCAR                             MATA, OSCAR
MATA OSCAR                             MATA, MIRELLA                       LOPEZ LAW OFFICES OF VIRGINIA   345 W. NINTH AVE., STE. 200                             ESCONDIDO        CA 92025

MATA OSCAR                             MATA, OSCAR                         LOPEZ LAW OFFICES OF VIRGINIA   345 W. NINTH AVE., STE. 200                             ESCONDIDO        CA 92025

MATA SR, DAVID G                       613 MORLEY AVE                                                                                                              FLINT            MI 48503‐3845
MATA, ARTURO
MATA, CARMEN                           1318 JOHNSON                                                                                                                SAGINAW          MI   48601‐1730
MATA, CARMEN                           1318 JOHNSON ST                                                                                                             SAGINAW          MI   48601‐1730
MATA, COLLEEN J                        5110 BERNEDA DR                                                                                                             FLINT            MI   48506‐1588
MATA, CRYSTAL M.                       3019 NEBRASKA AVE LOT 94                                                                                                    TOLEDO           OH   43607‐3185
MATA, CRYSTAL M.                       3019 NEBRASKA AVE.                  LOT 94                                                                                  TOLEDO           OH   43607
MATA, DALE A                           354 HORSESHOE CT                                                                                                            GRAND BLANC      MI   48439‐7080
MATA, DOMINGO BARBOSA                  WATTS LAW FIRM                      300 CONVENT STREET BANK OF                                                              SAN ANTONIO      TX   78205
                                                                           AMERICA PLAZA SUITE 100
MATA, EDMUND R                         7540 WHITMORE ST                                                                                                            ROSEMEAD         CA 91770‐2258
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Name                                 Address1                        Address2                        Address3   Address4             City               State Zip
MATA, EDUARDO                        8057 OHARA DR                                                                                   DAVISON             MI 48423‐9531
MATA, ESTHER                         4434 MARTIN RD                                                                                  MUSSEY              MI 48014‐2911
MATA, FRANCISCO                      5070 BERNEDA DR                                                                                 FLINT               MI 48506‐1502
MATA, GILBERTO                       3724 FOREST TER                                                                                 ANDERSON            IN 46013‐5262
MATA, GUADALUPE                      36350 PARK PLACE DRIVE                                                                          STERLING HEIGHTS    MI 48310
MATA, HECTOR A                       319 ANDY AVE                                                                                    PORTAGE             MI 49002‐0442
MATA, JAVIER B                       3055 LANNING DR                                                                                 FLINT               MI 48506‐2050
MATA, JAVIER BENITO                  3055 LANNING DR                                                                                 FLINT               MI 48506‐2050
MATA, JESSE B                        576 SMALLEY AVE APT 9                                                                           HAYWARD             CA 94541‐4950
MATA, JOE R                          14572 SESHASTA LANE                                                                             HAPPY VALLEY        OR 97236
MATA, JOSE GABRIEL
MATA, JOSE R                         11125 CHEYENNE TRL APT 101                                                                      PARMA HEIGHTS      OH   44130‐9030
MATA, JUAN A                         38350 PARK PLACE DR                                                                             STERLING HEIGHTS   MI   48310
MATA, JULIA                          5520 LA BARBA CIR                                                                               DALLAS             TX   75227‐1204
MATA, KAREN L                        3055 LANNING DR                                                                                 FLINT              MI   48506‐2050
MATA, LETICIA
MATA, MARIA                          2514 ALPHA WAY                                                                                  FLINT              MI   48506‐1829
MATA, MILDRED H                      3724 FOREST TER                                                                                 ANDERSON           IN   46013‐5262
MATA, PABLO D                        PO BOX 781                                                                                      UNION CITY         CA   94587‐0781
MATA, PEDRO B                        3055 LANNING DRIVE                                                                              FLINT              MI   48506‐2050
MATA, PETER J                        334 RIVERBANK ST                                                                                WYANDOTTE          MI   48192‐2669
MATA, PETER JOHN                     334 RIVERBANK ST                                                                                WYANDOTTE          MI   48192‐2669
MATA, RACHEL E                       PO BOX 3392                                                                                     SANTA FE SPGS      CA   90670‐1392
MATA, SALVADOR                       3489 CITRUS ST                                                                                  OXNARD             CA   93036‐1330
MATA, STEPHANIE D                    1207 WEBBER ST                                                                                  SAGINAW            MI   48601‐3421
MATA, STEPHEN M                      7144 E RICHFIELD RD                                                                             DAVISON            MI   48423‐8976
MATA, V                              1534 N 29TH ST                                                                                  SAGINAW            MI   48601
MATACHOSKY, ANDREW P                 PO BOX 155                                                                                      TWIN ROCKS         PA   15960‐0155
MATACIA JIM                          3909 BUCKNER CT                                                                                 BEDFORD            TX   76021‐2408
MATACIA, JAMES J                     3909 BUCKNER CT                                                                                 BEDFORD            TX   76021‐2408
MATACIC, JOHN J                      358 PRESTIGE LN                                                                                 RANCHO CORDOVA     CA   95670‐4316
MATAGA BUICK‐PONTIAC‐GMC             3261 AUTO CENTER CIR                                                                            STOCKTON           CA   95212‐2838
MATAGA FAMILY LIMITED PARTNERSHIP LP 3261 AUTO CENTER CIR                                                                            STOCKTON           CA   95212‐2838

MATAGA FAMILY PARTNERSHIP LP         3261 AUTO CENTER CIR            C/O MATAGA OLDS‐CAD‐GMC TRUCK                                   STOCKTON           CA 95212‐2838

MATAGA OLDSMOBILE‐CADILLAC‐GMC       YOSHIKAZU MATAGA                3261 AUTO CENTER CIR                                            STOCKTON           CA 95212‐2838
TRUCK, INC.
MATAGA OLDSMOBILE‐CADILLAC‐GMC       3261 AUTO CENTER CIR                                                                            STOCKTON           CA 95212‐2838
TRUCK, INC.
MATAGORDA COUNTY TAX A\C             1700 7TH ST RM 203                                                                              BAY CITY           TX   77414‐5034
MATAICH, ELSIE                       308 E 280TH ST                                                                                  EUCLID             OH   44132‐1310
MATAICH, ELSIE                       308 EAST 280TH ST                                                                               EUCLID             OH   44132‐1310
MATAICHY JACOB                       10725 MILWAUKEE RD                                                                              BRITTON            MI   49229‐9543
MATALONE, JOSEPH E                   117 E COLUMBUS AVE                                                                              NESQUEHONING       PA   18240‐1103
MATAMOROS AUTOS, S.A. DE C.V.        PROLONGACION GONZALEZ NO.                                                  MATAMOROS EM 87350
                                                                                                                MEXICO
MATAN PROPERTY MANAGEMENT, INC.      PRISCILLA M. FORD               20251 CENTURY BLVD STE 100                                      GERMANTOWN         MD 20874‐1195

MATAN PROPERTY MANAGEMENT, INC.      4600 WEDGEWOOD BLVD STE A                                                                       FREDERICK          MD 21703‐7167

MATAN PROPERTY MANGEMENT             4600 WEDGEWOOD BLVD STE A                                                                       FREDERICK          MD 21703‐7167
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Name                                  Address1                              Address2                       Address3   Address4         City               State Zip
MATANDY STEEL & METAL PRODUCTSLLC     PO BOX 1186                                                                                      HAMILTON            OH 45012‐1186

MATANIC, MILAN D                      6910 FOGELMAN RD                                                                                 MAPLE PLAIN        MN   55359‐9469
MATANZO, EDELMIRA                     301 ROYAL OAK BLVD. #2015                                                                        FRANKLIN           TN   37067
MATAR, NIANG                          1417 PHILADELPHIA DR                                                                             DAYTON             OH   45406‐4646
MATAR, ROBERT A                       35420 WOOD ST                                                                                    LIVONIA            MI   48154‐2274
MATARAGAS, KENNETH                    418 OLD FARMINGDALE RD                                                                           WEST BABYLON       NY   11704‐6424
MATARAZZO, EDWARD                     137 LEGION CIR                                                                                   ROCHESTER          NY   14616‐3111
MATARAZZO, WILLIAM                    5930 TWO NOTCH RD                                                                                LEESVILLE          SC   29070‐8212
MATARO, RUTH A.                       11264 SW 77TH COURT                                                                              OCALA              FL   34476
MATAS, ALBERT                         1476 VIENNA RD                                                                                   NILES              OH   44446‐3531
MATAS, CAROL J                        4527 NUTWOOD AVE NW                                                                              WARREN             OH   44483‐1616
MATAS, CLARA                          3630 MITCHELL RD                                                                                 LAPEER             MI   48446‐9631
MATAS, EDWARD                         10393 GILBERT RD                                                                                 NEWTON FALLS       OH   44444‐9206
MATAS, PATRICIA Y                     2380 ROBINWOOD BLVD                                                                              NEWTON FALLS       OH   44444‐1166
MATASIC PAUL F (ESTATE OF) (487585)   GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH         PA   15219

MATASIC, PAUL F                       GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH         PA 15219

MATAUTIA, NAOMI                       1565 JUPITER DR                                                                                  MILPITAS           CA   95035‐5823
MATAVA JOHN                           MATAVA, JOHN                          9 GEORGE DRIVE                                             VERNON             CT   06066‐2210
MATAVA, JOHN                          9 GEORGE DR                                                                                      VERNON             CT   06066‐2210
MATAWITZ, DORIS M                     10603 CRARY LN DR                                                                                WILLOUGHBY         OH   44094‐9521
MATCH LOGIC/LOUISVIL                  400 S. MC CASLIN BLVD                                                                            LOUISVILLE         CO   80027
MATCH MAKER                           PO BOX 13259                                                                                     FLORENCE           SC   29504‐3259
MATCHEN, CHARLES H                    3501 WOODWARD AVE APT 706                                                                        DETROIT            MI   48201‐2436
MATCHETT, DAVID M                     925 S LUICK AVE                                                                                  MUNCIE             IN   47302‐2807
MATCHETT, DONALD J                    1912 S LAFOUNTAIN ST                                                                             KOKOMO             IN   46902‐2224
MATCHETT, GERALD R                    8705 W RED BUD LN                                                                                MUNCIE             IN   47304‐9318
MATCHETT, LALA                        6132 HECLA ST                                                                                    DETROIT            MI   48208‐1336
MATCHETT, LALA                        6132 HECLA ST.                                                                                   DETROIT            MI   48208‐1336
MATCHETT, LEWIS E                     8105 N WILLIAMSON RD                                                                             MUNCIE             IN   47303‐9163
MATCHETT, MARTHA H                    4386 W 1725 N                                                                                    ELWOOD             IN   46036‐9296
MATCHETT, MAX M                       4386 W 1725 N                                                                                    ELWOOD             IN   46036‐9296
MATCHETT, MELVIN L                    4236 W 1650 N                                                                                    SUMMITVILLE        IN   46070‐9668
MATCHETT, MICHAEL D                   1210 E COOPER RD                                                                                 MUNCIE             IN   47303‐9450
MATCHETT, PAUL W                      4431 W 1725 N                                                                                    ELWOOD             IN   46036‐9295
MATCHETT, REBECCA L                   4282 W 1725 N                                                                                    ELWOOD             IN   46036
MATCHETT, ROBERT E                    1468 POTTER BLVD                                                                                 BURTON             MI   48509‐2155
MATCHETTE EDDY                        DBA ED MATCHETTE PHOTOGRAPHY          PO BOX 842071                                              HOUSTON            TX   77284‐2071
MATCHKO, RALPH R                      1908 KEPPEN BLVD                                                                                 LINCOLN PARK       MI   48146‐1486
MATCHKO, RICHARD A                    6664 PARDEE RD                                                                                   TAYLOR             MI   48180‐1736
MATCHMAKER INTERNATIONAL              ATTN: NANCY SCHOOLHAMMER              1289 S LINDEN RD # D                                       FLINT              MI   48532‐3499
MATCHO, THOMAS W                      7066 BERESFORD AVE                                                                               PARMA HEIGHTS      OH   44130‐5050
MATCHURET, RICHARD L                  620 MAIN ST                                                                                      EAST TAWAS         MI   48730‐1340
MATCHWOOD TOWNSHIP TREASURER          25195 OLD M‐28                                                                                   EWEN               MI   49925
MATCHYNSKI, MARK L                    16124 GOLFVIEW ST                                                                                LIVONIA            MI   48154‐2132
MATCHYNSKI,MARK L                     16124 GOLFVIEW ST                                                                                LIVONIA            MI   48154‐2132
MATCON/STERLING HTS                   42350 YEARGO DR                                                                                  STERLING HEIGHTS   MI   48314
MATCOR AUTO/DEWITT                    1307 COUNTRY LN                                                                                  DEWITT             MI   48820‐9262
MATCOR AUTOMOTIVE INC                 1307 COUNTRY LANE                                                                                DEWITT             MI   48820
MATCOR AUTOMOTIVE INC
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Name                             Address1                        Address2                           Address3   Address4               City            State Zip
MATCOR AUTOMOTIVE INC                                            1620 STEELES AVE E                            BRAMPTON,ON,L6T
                                                                                                               1A5,CANADA
MATCOR AUTOMOTIVE INC            MICHAEL ONGENA                  1620 STEELES AVE                              LONDON ON CANADA
MATCOR AUTOMOTIVE INC            MICHAEL ONGENA                  7297‐7299 E DANBRO CRES                       WOODBRIDGE ON CANADA
MATCOR AUTOMOTIVE INC            1620 STEELES AVE E                                                            BRAMPTON ON L6T 1A4
                                                                                                               CANADA
MATCOR AUTOMOTIVE INC            7299 EAST DANBRO CRES                                                         MISSISSAUGA ON L5N 6P8
                                                                                                               CANADA
MATCOR AUTOMOTIVE INC.           DAVID SANTO                     1620 STEELES AVE E                            BRAMPTON ON L6T 1A4
                                                                                                               CANADA
MATCOR AUTOMOTIVE INC. (MATSU)   DAVID SANTO                     7299 EAST DANBRO CRES                         MISSISSAUGA ON L5N 6P8
                                                                                                               CANADA
MATCOR AUTOMOTIVE MISSISSAUGA    7299 EAST DANBRO CRES                                                         MISSISSAUGA CANADA ON
                                                                                                               L5N 6P8 CANADA
MATCOR AUTOMOTIVE, INC.          MICHAEL ONGENA                  7297‐7299 E DANBRO CRES                       WOODBRIDGE ON CANADA
MATCOR AUTOMOTIVE‐               BRAMPTON                        1620 STEELES AVE EAST                         BRAMPTON CANADA ON
                                                                                                               L6T 1A5 CANADA
MATCOR/BRAMPTON                  1620 STEELES AVE E                                                            BRAMPTON ON L6T 1A5
                                                                                                               CANADA
MATCOR/MISSISSAUGA               7299 EAST DANBRO CRES                                                         MISSISSAUGA ON L5N 6P8
                                                                                                               CANADA
MATCZAK, JON B                   116 CRYSTAL POINT DR                                                                                 CENTERVILLE     OH 45459‐4160
MATE AZHAR                       MATE, AZHAR                     23011 W BIG BEAVER RD SUITE 318                                      TROY            MI 48084

MATE II, DAVID A                 12822 LOVERS LANE RD                                                                                 SPENCER         OH    44275‐9509
MATE JR, JOSEPH A                32161 DIXIE MANOR RD                                                                                 ROCKWOOD        MI    48173‐9647
MATE, JAMES R                    512 SW FIFER AVE                                                                                     PORT ST LUCIE   FL    34953‐3870
MATE, JOSEPH A                   15379 DRAKE ST                                                                                       SOUTHGATE       MI    48195‐3249
MATE, JOSEPH F                   6403 BLUEJAY DR                                                                                      FLINT           MI    48506‐1766
MATE, JULIUS S                   PO BOX 407                                                                                           VERNON          MI    48476‐0407
MATEC                            MA TECH CO LTD                  922‐11 WEOLAM‐DONG DALSEO‐GU                  DAEGU KOREA SOUTH
                                                                                                               KOREA
MATECHIK, RONALD J               34 JANE LN                                                                                           DEPEW            NY   14043‐1910
MATECKI'S SERVICE CENTER, LLC.   91 JACKSON ST                                                                                        SOUTH RIVER      NJ   08882‐1511
MATECKI, EDMUND G                3829 16TH ST                                                                                         WAYLAND          MI   49348‐9555
MATECKI, TIMOTHY M               12280 PENNINGTON AVE                                                                                 SPARTA           MI   49345‐9518
MATECZUN, FRANCES E              2699 WEHRLE DR                  C/O HARRIS HILL NURSING FACILITY                                     WILLIAMSVILLE    NY   14221‐7332

MATEEN, AMIN                     2258 GLENDALE DR                                                                                     DECATUR          GA   30032‐5810
MATEEN, HUETTA                   860 LAMBERT CHAPEL RD                                                                                SILER CITY       NC   27344‐7451
MATEEN, HUETTA                   2109 MARTIN LUTHER KING DR                                                                           GREENSBORO       NC   27406
MATEEN, RALPH A                  127 W NEWALL ST                                                                                      FLINT            MI   48505‐4133
MATEER, JOSEPH E                 3085 PINECREST WAY                                                                                   AUBURN HILLS     MI   48326‐1854
MATEER, KENNETH R                1001 LEGACY HILLS DR                                                                                 FRANKLIN         TN   37064‐4703
MATEI HERTY                      14240 MANHATTAN ST                                                                                   OAK PARK         MI   48237‐1170
MATEIEVIC, ALEKSANDAR            8061 WHITTAKER ST                                                                                    DETROIT          MI   48209‐1528
MATEJCAK, PATRICIA A             612 KUNGS WAY APT 2S                                                                                 JOLIET           IL   60435
MATEJCEK, ANITA S                11094 NORTH BELSAY ROAD                                                                              CLIO             MI   48420‐9709
MATEJCEK, ARTHUR G               16990 HIGHWAY 141 N                                                                                  LAFE             AR   72436‐9146
MATEJCEK, BERNIECE A             4061 LAPEER RD                                                                                       BURTON           MI   48509‐1707
MATEJCEK, BERNIECE A             4061 LAPEER ROAD                                                                                     BURTON           MI   48509‐1707
MATEJCEK, DAVID P                6221 MCCANDLISH RD                                                                                   GRAND BLANC      MI   48439‐9555
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Name                       Address1                              Address2                            Address3               Address4                 City               State Zip
MATEJCEK, DONNA L          6221 MCCANDLISH RD                                                                                                        GRAND BLANC         MI 48439‐9555
MATEJCEK, DOROTHY M        PO BOX 7761                                                                                                               FLINT               MI 48507‐0761
MATEJCEK, DOROTHY MARIE    PO BOX 7761                                                                                                               FLINT               MI 48507‐0761
MATEJCEK, JACK D           938 BARRIE AVE                                                                                                            FLINT               MI 48507‐1661
MATEJCIC, NERINA           14734 ASPEN HILLS LN                                                                                                      BURTON              OH 44021‐9310
MATEJEK, FRANK             8856 WOODSMAN DR                                                                                                          WASHINGTON          MI 48094‐1630
MATEJEWSKI, JOHN S         708 S KINGSWOOD ST                                                                                                        DURAND              MI 48429‐1736
MATEJEWSKI, TERRANCE F     13870 HARBOUR CT                                                                                                          STERLING HEIGHTS    MI 48312‐4360
MATEJIC, MILOS R           6340 AMERICAN DR.                                                                                                         WILLOWBROOK          IL 60527
MATEJKA FRANK J (355307)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                         NORFOLK             VA 23510
                                                                 STREET, SUITE 600
MATEJKA, CAROL K           33091 CEDAR BRANCH CIR                                                                                                    NORTH RIDGEVILLE   OH 44039‐2379
MATEJKA, EDWARD J          7487 S ROUNDHOUSE RD                                                                                                      SWARTZ CREEK       MI 48473‐1419
MATEJKA, FRANK J           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                         NORFOLK            VA 23510‐2212
                                                                 STREET, SUITE 600
MATEJKA, RICHARD P         129 WALDEN LN                                                                                                             BULL SHOALS        AR    72619‐2710
MATEJKA, SUZETTE K         8361 QUIGLEY ST                                                                                                           WESTMINSTER        CO    80031‐6915
MATEJOVITZ, BERNARD L      6583 GLEN HOLLOW DR SE                                                                                                    CALEDONIA          MI    49316‐8957
MATEKEL, HARRY A           5363 BAINES DR                                                                                                            SAGINAW            MI    48638‐5710
MATEKUNAS, FREDERIC A      2858 CREEK BEND DR                                                                                                        TROY               MI    48098‐2323
MATELL, LYNN C             4475 CHLOE CT                                                                                                             WATERFORD          MI    48329‐4724
MATELOCK, MARIE M          1401 N HIGH ST APT 2016                                                                                                   FRANKLIN           VA    23851‐1249
MATELSKE, NANCY E          3116 COLCHESTER RD                                                                                                        LANSING            MI    48906‐3407
MATEN, JOHN R              2902 ELMHURST AVE                                                                                                         ROYAL OAK          MI    48073‐3099
MATEN, MICHAEL A           1975 ENTERPRISE DR                                                                                                        TROY               MI    48083‐1816
MATEO FRAUSTO              2638 LOMBARD AVE                                                                                                          SAN JOSE           CA    95116‐2610
MATEO MARTINEZ             216 UNION AVE                                                                                                             PEEKSKILL          NY    10566‐3433
MATEO, ANGEL               70 E 115TH ST APT 6C                                                                                                      NEW YORK           NY    10029‐1116
MATEO, CIPIRANO
MATEO, JULIO C             2045 BERT KOUNS INDUSTRIAL LOOP APT                                                                                       SHREVEPORT          LA   71118‐3303
                           243
MATEO, PATRICIA            6202 FARMSWOOD DR APT 2B                                                                                                  FORT WAYNE         IN    46804‐8319
MATEO, ROSEL V.            8739 N 7TH ST                                                                                                             FRESNO             CA    93720‐1845
MATEOS, LUIS A             PO BOX 501484                                                                                                             INDIANAPOLIS       IN    46250‐6484
MATER DEI COLLEGE          5428 STATE HIGHWAY 37                                                                                                     OGDENSBURG         NY    13669‐4211
MATER, LINDEN D            6180 GRANGER HWY                                                                                                          MULLIKEN           MI    48861‐9742
MATER, PAMELA E            856 FOXHALL RD                                                                                                            BLOOMFIELD         MI    48304‐1918
MATER, PAMELA E            25495 WAREHAM DR                                                                                                          HUNTINGTON WOODS   MI    48070‐1603
MATERA, ANGELO A           2551 STANMOOR DR                                                                                                          WATERFORD          MI    48329‐2365
MATERA, MARIAN M           14951 EDMORE                                                                                                              DETROIT            MI    48205‐1346
MATERA, MARIAN M           20421 KENMORE AVE                                                                                                         HARPER WOODS       MI    48225‐1718
MATERA, PASQUALE           21 S MANOR DR                                                                                                             WHITE PLAINS       NY    10603‐1903
MATERA, RICHARD P          10528 INDIAN RIDGE DR                                                                                                     FORT WAYNE         IN    46814‐9090
MATERA, ROBERT W           52 LIVINGSTON AVE                                                                                                         EDISON             NJ    08820‐2360
MATERA, ROSE M             16484 VERONICA                                                                                                            EAST POINTE        MI    48021‐3056
MATERASSO, STEVEN          C/O LYNNE KIZIS, ESQ                  WILENTZ, GOLDMAN, & SPITZER         90 WOODBRIDGE CENTER                            WOODBRIDGE         NJ    07095
                                                                                                     DRIVE
MATERASSO, STEVEN          WILENTZ GOLDMAN & SPITZER             88 PINE STREET, WALL STREET PLAZA                                                   NEW YORK           NY 10005

MATERIA MASSIMO            VIA CORRADO ALVARO LOTTO SAMA                                                                    CROTONE KR 88900 ITALY
MATERIA, KENNETH A         1429 HIGHLAND MDWS                                                                                                        FLINT              MI 48532‐2065
MATERIAL CONTROL INC       130 SELTZER RD                        PO BOX 168                                                                          CROSWELL           MI 48422‐9180
                                      09-50026-mg               Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                                  Address1                          Address2               Address3      Address4         City                State Zip
MATERIAL DELIVERY SERVICE INC         334 BUSINESS CIR                  STE C                                                 PELHAM               AL 35124‐1793
MATERIAL HAN/110390                   PO BOX 110390                                                                           NASHVILLE            TN 37222‐0390
MATERIAL HAN/BLMFLD                   2525 S TELEGRAPH RD STE 100                                                             BLOOMFIELD HILLS     MI 48302‐0287
MATERIAL HAN/TN                       1967 NOLENSVILLE PIKE                                                                   NASHVILLE            TN 37211‐2018
MATERIAL HANDLING EQUIPMENT           PO BOX 2166                                                                             NAPLES               FL 34106‐2166
ERECTORS INC
MATERIAL HANDLING SUPPLY INC          SANTA FE SPRINGS BRANCH           12900 FIRESTONE BLVD                                  SANTA FE SPRINGS    CA 90670‐5405
MATERIAL HANDLING SYSTEMS INC         1602 STAR BATT DR                                                                       ROCHESTER HILLS     MI 48309‐3705
MATERIAL HANDLING TECHNOLOGIESINC     7488 ROUND POND RD                                                                      NORTH SYRACUSE      NY 13212‐3376

MATERIAL HANDLING TECHNOLOGY          9023 MARINE CITY HWY                                                                    IRA                 MI 48023‐1220
MATERIAL MANAGEMENT SERVICES I        400 DIETZ RD NE                                                                         WARREN              OH 44483‐2749
MATERIAL MANAGEMENT SERVICES INC      400 DIETZ RD NE                                                                         WARREN              OH 44483‐2749

MATERIAL MANAGEMENT SERVICES INC      PO BOX 30                                                                               WARREN              OH 44482‐0030

MATERIAL RECOVERY & TRANSFER          ATTN: JACK WILLEY                 4020 WINCHESTER AVE                                   KANSAS CITY         MO 64129‐1823
MATERIAL RESEARCH SOCIETY
MATERIAL SALES COMP INC               25885 W 8 MILE RD                                                                       DETROIT             MI   48240‐1047
MATERIAL SCIENCES CORP                2200 PRATT BLVD                                                                         ELK GROVE VILLAGE   IL   60007‐5917
MATERIAL SCIENCES CORPORATION         PO BOX 80320                                                                            LANSING             MI   48908‐0320
MATERIAL SCIENCES CORPORATION         DAVID DIPPOLITI                   30610 E BROADWAY ST                                   WALBRIDGE           OH   43465‐9561
MATERIAL SCIENCES CORPORATION         1650 KENDALE                                                                            EAST LANSING        MI   48823
MATERIAL STOR/VALDST                  1555 M.E. THOMPSON DRIVE                                                                VALDOSTA            GA   31601
MATERIAL TESTING TECHNOLOGY CO        1676 S WOLF RD                                                                          WHEELING            IL   60090‐6516
MATERIALISE USA LLC                   3009 MILLER RD                                                                          ANN ARBOR           MI   48103‐2122
MATERIALS & CHEMISTRY LABORATORY IN

MATERIALS & CHEMISTRY LABORATORY      PO BOX 5808                                                                             OAK RIDGE           TN 37831‐5808
INC
MATERIALS HANDLING ASSOCIATES         ATTN COREY KOPER                  3020 AIRPARK DR S                                     FLINT               MI   48507‐3477
MATERIALS HANDLING EQUIPMENT          3880 PENDLETON WAY STE 100                                                              INDIANAPOLIS        IN   46226‐7604
MATERIALS HANDLING EQUIPMENT C        3880 PENDLETON WAY STE 100                                                              INDIANAPOLIS        IN   46226‐7604
MATERIALS HANDLING EQUIPMENT CORP     7433 US HIGHWAY 30 E                                                                    FORT WAYNE          IN   46803‐3259

MATERIALS MGMT/VT                     PO BOX 239                                                                              THETFORD CENTER     VT   05075‐0239
MATERIALS PROCESSING INC              TONY FIRMANI                      600 HUMPHREY           P.O. BOX 23                    ESCANABA            MI   49829
MATERIALS PROCESSING INC              TONY FIRMANI                      600 HUMPHREY ST        P.O. BOX 23                    LOGANSPORT          IN   46947‐4949
MATERIALS PROCESSING INC              600 HUMPHREY ST                                                                         LOGANSPORT          IN   46947‐4949
MATERIALS PROCESSING INC              MIKE WALTERS                      600 HUMPHREY                                          ESCANABA            MI   49829
MATERIALS PROCESSING INC              MIKE WALTERS                      600 HUMPHREY ST                                       LOGANSPORT          IN   46947‐4949
MATERIALS RESEARCH SOCIETY            ATTN DONNA J GILLESPIE            506 KEYSTONE DR                                       WARRENDALE          PA   15086‐7537
MATERKOWSKI, JOHN P                   147 NORTHFIELD RD                                                                       MERIDEN             CT   06450‐6929
MATERNA BILL                          4865 WHISPERING PINES DR                                                                SHELBY TOWNSHIP     MI   48316‐1564
MATERNA, JOHN R                       360 COUNTY ROAD 3339                                                                    CLARKSVILLE         AR   72830‐6727
MATERNA, WILLIAM S                    4865 WHISPERING PINES DR                                                                SHELBY TOWNSHIP     MI   48316‐1564
MATERNE, BEN A                        5845 LAKE OAK LNDG E                                                                    CUMMING             GA   30040‐9566
MATERNOWSKI, DOROTHY M                9501 W LOOMIS RD APT110                                                                 FRANKLIN            WI   53132‐9657
MATERO, AUSTIN                        26270 TAWAS ST                                                                          MADISON HEIGHTS     MI   48071‐3746
MATES LORRAINE                        57491 HIDDEN TIMBERS DR                                                                 SOUTH LYON          MI   48178‐8701
MATES, ANDREW T                       6081 UPPER AFTON RD                                                                     WOODBURY            MN   55125‐1141
MATES, DEAN E                         498 W SCHLEIER ST                                                                       FRANKENMUTH         MI   48734‐1057
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Name                      Address1                       Address2               Address3      Address4         City              State Zip
MATES, IMA J              1720 E MEMORIAL DR             APT 205                                               JANESVILLE         WI 53545‐1982
MATES, IMA J              1720 E MEMORIAL DR APT 205                                                           JANESVILLE         WI 53545‐1982
MATESA, INA               6001 BARRIE ST                 C/O PATRICIA PERETTO                                  DEARBORN           MI 48126‐2031
MATESIC, KARL             13241 HOGAN RD                                                                       LINDEN             MI 48451‐8734
MATESIC, ZLATKO           4186 W COURT ST                                                                      FLINT              MI 48532‐3521
MATESICK, BARBARA         3439 PROVIDENCE CIR                                                                  LIMA               OH 45801‐1745
MATESICK, MICHAEL D       6606 NO TERRITORIAL RD 78                                                            GREEN SPRINGS      OH 44836
MATEUSZ NOWAK             9 ABINGTON LN                                                                        DEARBORN           MI 48120‐1101
MATEVICH, PATRICIA        384 ALICE ST                                                                         EAST PALESTINE     OH 44413‐2509
MATEWICZ, DONALD N        263 BEDLINGTON DR                                                                    ROCHESTER HLS      MI 48307‐3520
MATEWICZ, MICHELLE C      263 BEDLINGTON DR                                                                    ROCHESTER HILLS    MI 48307‐3520
MATEWICZ, STELLA S        49246 PENINSULAR DRIVE                                                               BELLEVILLE         MI 48111‐4975
MATEY, ANDREW G           920 SAINT MARKS WALK                                                                 SUWANEE            GA 30024‐6616
MATEY, FERN D             6602 BROWNFIELD DR                                                                   PARMA              OH 44129‐4014
MATEYAK, JOHN J           2651 LAKE BLUFF TERR                                                                 SAINT JOSEPH       MI 49085‐9204
MATEYAK, JOHN J           1162 COLUMBIA RD                                                                     BERKLEY            MI 48072‐1950
MATFIN, KATHLEEN R        28080 SHERIDAN ST                                                                    GARDEN CITY        MI 48135‐3179
MATH PROS INC             PO BOX 102                                                                           NATICK             MA 01760‐0002
MATH PROS INC             13 GARDEN ROAD                 SUITE 200                                             NATICK             MA 01760
MATH WORKS INC            3 APPLE HILL DR                                                                      NATICK             MA 01760
MATHA DUMAS               2105 JUNIPER DR                                                                      ALBANY             GA 31721‐5239
MATHA H JONES             208 TRAILWOOD DR                                                                     CLINTON            MS 39056
MATHA JONES               208 TRAILWOOD DR                                                                     CLINTON            MS 39056‐5845
MATHA TAYLOR              75 S MILFORD DR APT 114                                                              FRANKLIN           IN 46131
MATHAI MATHEW             438 EASTERN BLVD                                                                     BAYVILLE           NJ 08721‐3234
MATHAI ZACHARIAH          2833 BRIARWOOD DR                                                                    TROY               MI 48085‐1153
MATHAUER, MARGARETANN     1453 W KEMPER RD                                                                     CINCINNATI         OH 45240‐1630
MATHAUER, SHARON E        411 BREWER PL                                                                        GREENWOOD          IN 46142
MATHAW, LAWANDA           17207 BIRWOOD                                                                        DETROIT            MI 48221‐2316
MATHAW, LAWANDA           17207 BIRWOOD ST                                                                     DETROIT            MI 48221‐2316
MATHAY, CHARLES E         1687 EVERGREEN PARK DR                                                               COSHOCTON          OH 43812‐3130
MATHCOUNTS                1420 KING ST                                                                         ALEXANDRIA         VA 22314
MATHCOUNTS FOUNDATION     1420 KING ST                                                                         ALEXANDRIA         VA 22314
MATHE MAI BOND            WEITZ & LUXENBERG PC           700 BROADWAY                                          NEW YORK CITY      NY 10003
MATHE, ELMER L            8479 NEFF RD                                                                         MOUNT MORRIS       MI 48458‐1045
MATHE, MILDRED F          8479 NEFF ROAD                                                                       MT MORRIS          MI 48458‐1045
MATHE, MILDRED F          8479 NEFF RD                                                                         MOUNT MORRIS       MI 48458‐1045
MATHE, RUTH A             209 TIGER LILLY DR                                                                   PARRISH            FL 34219‐9092
MATHEIS, DENNIS P         3160 TONAWANDA CREEK RD                                                              AMHERST            NY 14228‐1503
MATHEIS, KENNETH P        6035 S TRANSIT RD LOT 16                                                             LOCKPORT           NY 14094‐6321
MATHEIS, THOMAS           8200 PEPPER CIR                                                                      BUENA PARK         CA 90620‐4042
MATHEIS, VERNA M          18 CHERRY ST                                                                         LOCKPORT           NY 14094‐4718
MATHEL NEHLSEN            148 NORTHWEST LABOCA                                                                 NORTH PORT         FL 33595
MATHENA, DELORES I        24 PINEHURST CT                                                                      EAST AMHERST       NY 14051‐1230
MATHENA, JAY D            941 MEADOWCREST RD                                                                   LA GRANGE PARK      IL 60526‐1530
MATHENA, MOSES C          8 SAROY DR                                                                           SAINT LOUIS        MO 63367
MATHENA, RACHEL           3810 NORTH 75 WEST                                                                   FRANKLIN           IN 46131‐8346
MATHENA, ROSANNA          3977 N 75 W                                                                          FRANKLIN           IN 46131‐8345
MATHENEY JR, CORDELL J    74 VANDERGRIFT DR                                                                    DAYTON             OH 45431‐1355
MATHENEY, CHRISTOPHER J   33 COLIN KELLY DR                                                                    DAYTON             OH 45431
MATHENEY, ELIZABETH A     702 WILFRED AVE                                                                      DAYTON             OH 45410‐5410
MATHENEY, GEORGIA L       216 BRICKER AVENUE                                                                   DAYTON             OH 45427‐1709
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Name                           Address1                         Address2                     Address3   Address4         City             State Zip
MATHENEY, MARTHA L             722 RESIDENZ PKWY                                                                         DAYTON            OH 45429
MATHENEY, MARTHA L             722 RESIDENZ PARKWAY                                                                      DAYTON            OH 45429‐6201
MATHENEY, ROY G                4100 ARCADIA BLVD                                                                         DAYTON            OH 45420‐2818
MATHENEY, SALLIE H             PO BOX 101                                                                                CASTALIA          OH 44824‐0101
MATHENIA, ALVIN L              2272 BLACKTHORN DR                                                                        BURTON            MI 48509‐1238
MATHENIA, DOROTHY E            3420 LEITH ST                                                                             FLINT             MI 48506‐3100
MATHENIA, JANET M              232 HIGH ST                                                                               GRAND BLANC       MI 48439‐1337
MATHENIA, KENNY R              232 HIGH ST                                                                               GRAND BLANC       MI 48439‐1337
MATHENY MOTOR TRUCK COMPANY    315 ANN ST                                                                                PARKERSBURG       WV 26101
MATHENY MOTOR TRUCK COMPANY    315 ANN STREET                                                                            PARKERSBURG       WV 26101
MATHENY MOTOR TRUCK COMPANY    TIMOTHY MATHENY                  315 ANN ST                                               PARKERSBURG       WV 26101
MATHENY, ANTHONY W             3338 PARIS DR                                                                             MORAINE           OH 45439‐1220
MATHENY, BILLY B               3303 B TRAPPERS TRAIL                                                                     CORTLAND          OH 44410‐4410
MATHENY, BILLY B               3303 TRAPPERS TRL UNIT B                                                                  CORTLAND          OH 44410‐9148
MATHENY, CHRISTINE             1046 TRUXELL DR                                                                           MANSFIELD         OH 44906‐1529
MATHENY, DAVID E               1722 DACULA OAKS TRL                                                                      DACULA            GA 30019‐1188
MATHENY, DAVID L               5650 GANDER RD E                                                                          DAYTON            OH 45424‐4528
MATHENY, DAVID V               4709 WILLOWVIEW DR                                                                        MORAINE           OH 45439‐1155
MATHENY, DEAN D                3181 BEVERLY LN                                                                           MANSFIELD         OH 44903‐9270
MATHENY, DEBRA L               4709 WILLOWVIEW DRIVE                                                                     MORAINE           OH 45439‐1155
MATHENY, DONNA M               3181 BEVERLY LN                                                                           MANSFIELD         OH 44903‐9270
MATHENY, DONNA M               3181 BEVERLY LANE                                                                         MANSFIELD         OH 44903‐9270
MATHENY, ERNEST D              971 W 575 S                                                                               PENDLETON         IN 46064‐9590
MATHENY, GILBERT D             5949 ARCOLA ST                                                                            GARDEN CITY       MI 48135‐2524
MATHENY, GLADYS M              486 HARLAN AVE                                                                            JELLICO           TN 37762‐2226
MATHENY, GUY L                 1015 S GERMANIA RD BOX 106                                                                MARLETTE          MI 48453
MATHENY, HARRY P               1722 YARDLEY CIR                                                                          CENTERVILLE       OH 45459‐6916
MATHENY, HERBERT E             3321 COTTAGE RD                                                                           MORAINE           OH 45439‐1303
MATHENY, JAMES H               8848 HOLLOW SPRINGS RD                                                                    BRADYVILLE        TN 37026‐5150
MATHENY, JOSEPH C              HC 78 BOX 37                                                                              TROY              WV 26443‐9604
MATHENY, KENNETH L             1364 JERSEY ST                                                                            LAKE MILTON       OH 44429‐9702
MATHENY, LEON                  95 HUDDLESTON LOOP                                                                        DAWSON SPRINGS    KY 42408‐9630
MATHENY, MARK T                495 S NEWMAN RD                                                                           LAKE ORION        MI 48362‐2132
MATHENY, MICHAEL E             389 CLARK DR APT 34                                                                       CIRCLEVILLE       OH 43113‐1875
MATHENY, MICHAEL S             1208 CLAYTOR CT                                                                           CHESAPEAKE        VA 23320‐8183
MATHENY, PATRICIA              3341 FAWCETT RD                                                                           PEEBLES           OH 45660‐5660
MATHENY, PATRICIA L            5041 NELSON CT                                                                            WADSWORTH          IL 60083‐8937
MATHENY, TOMMY A               4018 W 26TH ST                                                                            MUNCIE            IN 47302‐4984
MATHENY, WALTER H              1025 CORDELL HULL DR.                                                                     BYRDSTOWN         TN 38549
MATHER CHARLES E SR (431807)   ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST , THE                               PHILADELPHIA      PA 19107
                                                                WANAMAKER BUILDING
MATHER LARRY L                 2995 HENDERSON LAKE RD                                                                    PRESCOTT         MI   48756‐9697
MATHER PATRICK T               4611 DARTMOUTH CIRCLE                                                                     MANLIUS          NY   13104‐2524
MATHER, ALAN J                 9204 MCWAIN RD                                                                            GRAND BLANC      MI   48439‐8006
MATHER, CAROLYN A              10762 GALANT FOX CT                                                                       INDIANAPOLIS     IN   46234‐7659
MATHER, CHARLES                ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST, THE                                PHILADELPHIA     PA   19107
                                                                WANAMAKER BUILDING
MATHER, DORIS A.               9394 SYCAMORE CT                                                                          DAVISON          MI   48423‐1185
MATHER, DUANE H                4737 HICKS HWY                                                                            OLIVET           MI   49076‐9473
MATHER, JAMES H                2910 PIN OAK DR                                                                           BARDSTOWN        KY   40004‐9159
MATHER, JANE H                 60 QUESADA DR                                                                             ROCHESTER        NY   14612‐3720
MATHER, JOHN                   G4326 BRANCH RD                                                                           FLINT            MI   48506‐1344
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Name                     Address1                         Address2                         Address3   Address4         City              State Zip
MATHER, KATHLEEN G       58 TENNEY ST                                                                                  YARMOUTH           ME 04096‐7963
MATHER, KENDALL L        PO BOX 679                                                                                    GRAND BLANC        MI 48480‐0679
MATHER, KENNETH I        6924 BEECH RD                                                                                 RACINE             WI 53402‐1312
MATHER, LARRY L          2995 HENDERSON LAKE RD                                                                        PRESCOTT           MI 48756‐9697
MATHER, LAURA A          20900 LOCKWOOD ST                                                                             TAYLOR             MI 48180‐2978
MATHER, LELAND L         G3275 N CENTER RD                                                                             FLINT              MI 48506‐2073
MATHER, LORI A           3700 STEMPEK LN                                                                               PINCONNING         MI 48650
MATHER, PATRICIA J       1469 STATE HIGHWAY 2                                                                          SHENANDOAH          IA 51601‐9802
MATHER, RICHARD L        1413 RIPLEY RD                                                                                LINDEN             MI 48451‐9420
MATHER, ROBERT K         PO BOX 709                                                                                    GRAND BLANC        MI 48480‐0709
MATHER, ROBERT KENDALL   PO BOX 709                                                                                    GRAND BLANC        MI 48480‐0709
MATHERAL JEFFRIES        287 CEDARWOOD TERR                                                                            ROCHESTER          NY 14609‐6406
MATHERLEY, JAMES E       1342 MCEWEN ST                                                                                BURTON             MI 48509‐2129
MATHERLY, ARVIN K        1483 HARBOR DR                                                                                WALLED LAKE        MI 48390‐3633
MATHERLY, GARLAND        15610 UNION CHAPEL RD                                                                         NOBLESVILLE        IN 46060‐9186
MATHERLY, GARY R         3724 S MORGANTOWN RD                                                                          GREENWOOD          IN 46143‐8876
MATHERLY, JAMES C        3408 LINKWOOD DR                                                                              JOHNSON CITY       TN 37601‐1212
MATHERLY, PAUL A         1612 MOCKINGBIRD LN                                                                           ANDERSON           IN 46013‐9644
MATHERLY, VINA           35941 PERTH                                                                                   LIVONIA            MI 48154‐5259
MATHERLY, VINA           35941 PERTH ST                                                                                LIVONIA            MI 48154‐5259
MATHERNE DAVID           MATHERNE, DAVID                  ONE LAKESHORE DRIVE SUITE 1800                               LAKE CHARLES       LA 70629

MATHERNE, DAVID          CHESSON, CHRISTIAN D             1 LAKESHORE DR STE 1800                                      LAKE CHARLES      LA   70629‐0123
MATHERS, AUBREY E        13507 S HORRELL RD                                                                            FENTON            MI   48430‐1012
MATHERS, EDDIE E         331 RICHARD AVE                                                                               LANSING           MI   48917‐2717
MATHERS, ELIZABETH J     4012 LEBANON CHURCH RD                                                                        WEST MIFFLIN      PA   15122‐2715
MATHERS, JAMES A         32829 CROWN VALLEY RD                                                                         ACTON             CA   93510‐1719
MATHERS, JAMES E         4012 LEBANON CHURCH RD                                                                        WEST MIFFLIN      PA   15122‐2715
MATHERS, LAVINA I        3039 DEVONSHIRE                                                                               FLINT             MI   48504‐4305
MATHERS, LISA M          13819 MAIN ST                                                                                 BATH              MI   48808‐9703
MATHERS, MARY L          2323 LAVELLE RD                                                                               FLINT             MI   48504‐2309
MATHERS, THEODORE A      42263 50TH ST W PMB #308                                                                      QUARTZ HILL       CA   93536
MATHERS, THOMAS F        450 W MAIN ST LOT 25                                                                          DELTA             OH   43515
MATHERS, WAHNETTA        5363 STIMSON RD                                                                               DAVISON           MI   48423‐8668
MATHES JR, EDWARD A      9986 E EDGEWOOD AVE                                                                           INDIANAPOLIS      IN   46239‐1861
MATHES JR, JAMES R       PO BOX 778                                                                                    EATON             OH   45320‐0778
MATHES JR, MILO B        77 BEECH ST                                                                                   BRISTOL           CT   06010‐3529
MATHES MARK              1184 RUBY AVE                                                                                 ROCHESTER HILLS   MI   48309‐4346
MATHES SUSAN             1184 RUBY AVE                                                                                 ROCHESTER HILLS   MI   48309‐4346
MATHES, ARDITH V         3041 CARLY CT                                                                                 AUBURN HILLS      MI   48326‐2011
MATHES, ARLENE S         1020 PAIGE CRT                                                                                NEWTON FALLS      OH   44444‐8774
MATHES, ARLENE S         1020 PAIGE CT                                                                                 NEWTON FALLS      OH   44444‐8774
MATHES, BILLY J          3437 SEEBALDT AVE                                                                             WATERFORD         MI   48329
MATHES, BOBBIE L         16 PERRY PLACE DR                                                                             PONTIAC           MI   48340‐2176
MATHES, BOBBY J          4920 LA CHENE CT                                                                              WARREN            MI   48092‐1926
MATHES, DANIEL B         32728 MARQUETTE ST                                                                            GARDEN CITY       MI   48135‐1232
MATHES, DAVID P          405 BETSY LN                                                                                  ORTONVILLE        MI   48462‐8473
MATHES, DENIS G          5327 WILMINGTON PIKE                                                                          DAYTON            OH   45440‐2252
MATHES, DIANA L          5620 DETROIT                                                                                  DEARBORN HTGS     MI   48125‐3201
MATHES, DIANA L          5620 DETROIT ST                                                                               DEARBORN HTS      MI   48125‐3201
MATHES, ELEANOR M        37501 JOY RD APT 18                                                                           WESTLAND          MI   48185‐5797
MATHES, ELEANOR M        37501 JOY RD.                    APT 18                                                       WESTLAND          MI   48185‐5797
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Name                       Address1                           Address2                      Address3   Address4               City              State Zip
MATHES, FRANCES            609 W C ST                                                                                         JENKS              OK 74037‐2710
MATHES, JIMMY G            12392 CARDWELL ST                                                                                  LIVONIA            MI 48150‐2354
MATHES, MARK M             1184 RUBY AVE                                                                                      ROCHESTER HLS      MI 48309‐4346
MATHES, RICHARD J          1289 WOODCREEK DR                                                                                  GREENWOOD          IN 46142‐8377
MATHES, ROBERT L           12542 HAND ST                                                                                      CARLETON           MI 48117‐9133
MATHES, ROBERT L           100 KINGSBROOKE BLVD                                                                               GLEN CARBON         IL 62034‐1571
MATHES, ROBERT LEE         12542 HAND ST                                                                                      CARLETON           MI 48117‐9133
MATHES, SANDRA K           18687 YORKSHIRE DR                                                                                 LIVONIA            MI 48152‐3394
MATHES, SUSAN K            1184 RUBY AVE                                                                                      ROCHESTER HLS      MI 48309‐4346
MATHES, TERRANCE R         31764 BROWN ST                                                                                     GARDEN CITY        MI 48135‐1417
MATHESEN, SIGNE            OMDAL VANSE                                                                 VANSE FA 4560 NORWAY
MATHESON DALE (459190)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA 23510
                                                              STREET, SUITE 600
MATHESON INSTRUMENTS       166 KEYSTONE DR                                                                                    MONTGOMERYVILLE   PA 18936‐9637
MATHESON TRI GAS INC       959 ROUTE 46 EAST 3RD FL                                                                           PARSIPPANY        NJ 07054
MATHESON, DALE             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA 23510‐2212
                                                              STREET, SUITE 600
MATHESON, DENNIS           4056 E FARRAND RD                                                                                  CLIO              MI   48420‐9131
MATHESON, DENNIS N         54 FAWN DR                                                                                         SEDONA            AZ   86336‐7047
MATHESON, EDNA E           2577 CONIFER DR                                                                                    COLUMBIAVILLE     MI   48421‐8987
MATHESON, ELANOR R         45100 THORNAPPLE LANE                                                                              NORTHVILLE        MI   48168‐8808
MATHESON, FREDERIC N       6651 AHEKOLO CIR                                                                                   DIAMONDHEAD       MS   39525‐3403
MATHESON, JOHN A           18 FALLING LEAF DR                                                                                 O FALLON          MO   63367‐6441
MATHESON, JOHN ALEXANDER   18 FALLING LEAF DR                                                                                 O FALLON          MO   63367‐6441
MATHESON, JOHN O           3044 STOCKBRIDGE ST                                                                                FLINT             MI   48506‐2165
MATHESON, LAURA L          4056 E FARRAND RD                                                                                  CLIO              MI   48420‐9131
MATHESON, LOUISE E.        1747 MAYFIELD RD                                                                                   LAPEER            MI   48446‐7773
MATHESON, NEAL A           782 W SILVER KING RD                                                                               QUEEN VALLEY      AZ   85218‐9085
MATHESON, PAUL E           4131 S DEWITT RD                                                                                   SAINT JOHNS       MI   48879‐9208
MATHESON, RANDY O          4373 E BRISTOL RD                                                                                  BURTON            MI   48519‐1407
MATHESON, RANDY OWEN       4373 E BRISTOL RD                                                                                  BURTON            MI   48519‐1407
MATHESON, ROBERT G         2099 LAC DU MONT APT C1                                                                            HASLETT           MI   48840‐9526
MATHESON, ROBERT H         PO BOX 1072                                                                                        ALLEN PARK        MI   48101‐5072
MATHESON, RODNEY K         5 FALLING LEAF DR                                                                                  LAKE ST LOUIS     MO   63367‐6433
MATHESON, RODNEY KENNETH   5 FALLING LEAF DR                                                                                  LAKE ST LOUIS     MO   63367‐6433
MATHESON, ROY C            602 SCATAWAY RD                                                                                    HIAWASSEE         GA   30546‐2755
MATHESON, WILLIAM V        472 HULSEY RD                                                                                      CLEVELAND         GA   30528‐6965
MATHEUS, LOIS              1519 W 31ST ST                                                                                     MARION            IN   46953‐3450
MATHEUS, MILTON D          1519 W 31ST ST                                                                                     MARION            IN   46953
MATHEW A HAMPER            3333 PENCOMBE PL                                                                                   FLINT             MI   48503‐2337
MATHEW ANDREWS             2601 MCNICHOLS ST                  UNIT B1                                                         DETROIT           MI   48221
MATHEW BARNHARDT           1030 LARKENS WAY                                                                                   MEDINA            OH   44256‐1276
MATHEW BETTS               962 DRESSLER LN                                                                                    ROCHESTER HILLS   MI   48307‐3352
MATHEW BRINITZER           2561 SHADOWFAX LANE                                                                                EL DORADO HILLS   CA   95762
MATHEW BURTON              5119 SW KINGFISHER DR                                                                              LEES SUMMMIT      MO   64082‐4531
MATHEW CHAVIS              PO BOX 451                                                                                         BOWLING GREEN     KY   42102‐0451
MATHEW CLARK               11938 CARL ST                                                                                      LAKE VIEW TER     CA   91342‐6429
MATHEW COBB                PO BOX 24                                                                                          EAGAN             TN   37730‐0024
MATHEW DILLEY              1121 MONTEREY LN                                                                                   JANESVILLE        WI   53546‐5370
MATHEW EBOSELE             516 CASELTON CT                                                                                    FRANKLIN          TN   37069‐4311
MATHEW EMEOTT              585 LAKESHORE CIR APT 202                                                                          AUBURN HILLS      MI   48326‐4511
MATHEW HAMPER              3333 PENCOMBE PL                                                                                   FLINT             MI   48503‐2337
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Name                 Address1                           Address2                     Address3               Address4            City               State Zip
MATHEW HASLEM        8347 RONDALE DR                                                                                            GRAND BLANC         MI 48439‐8009
MATHEW HERBER        3613 VICARI AVE                                                                                            TOMS RIVER          NJ 08755‐2324
MATHEW HERNANDEZ     5708 MICHAEL DR                                                                                            BAY CITY            MI 48706‐3166
MATHEW J HUBINGER    1985 CHEVROLET ST                                                                                          YPSILANTI           MI 48198‐6232
MATHEW J VOGEL       59 CASTLETON ROAD                                                                                          ROCHESTER           NY 14616‐4028
MATHEW JACOBS        503 LINWOOD DRIVE                                                                                          ALLIANCE            OH 44601‐4832
MATHEW JOHNSON       1001 WESTVIEW DR                                                                                           LYNCHBURG           VA 24502‐1752
MATHEW KAMERAD       3338 WINTERBERRY DR                                                                                        WEST BLOOMFIELD     MI 48324‐2463
MATHEW KINNARD       4619 TIGER LILY TRL                                                                                        CLARKSTON           MI 48346‐4982
MATHEW KRIZSNYAK     11G PARKWOOD DR                                                                                            SO AMBOY            NJ 08879
MATHEW KVINTUS JR    4495 CALKINS RD                    APT 335                                                                 FLINT               MI 48532‐3578
MATHEW L RAWLINGS    108 JOELLA LN                                                                                              SWEETWATER          TN 37874
MATHEW LEINEKE       5396 FOREST RIDGE DR                                                                                       CLARKSTON           MI 48346‐3479
MATHEW MAREK         1139 DEGROFF ST                                                                                            GRAND LEDGE         MI 48837‐2150
MATHEW MAZUREK       11206 BROADWAY ST                                                                                          ALDEN               NY 14004‐9509
MATHEW MCEWEN        325 W GENESEE ST                                                                                           FLINT               MI 48505‐4037
MATHEW MCKENNA       2917 KEELEY CT                                                                                             WATERFORD           MI 48328‐2631
MATHEW MILLER        1870 HOLLOWBROOK DR                                                                                        HOLT                MI 48842‐8639
MATHEW MONCZYNSKI    14 TREMONT AVE                                                                                             KENMORE             NY 14217‐2332
MATHEW MORISON       2020 CONC. RD. 10                                                                      OSHAWA ON L0B 1B0
                                                                                                            CANADA
MATHEW NASSOIY       12294 WILL MILL DR                                                                                         MILFORD            MI   48380‐2679
MATHEW NEHLS         3834 RUGER AVE                                                                                             JANESVILLE         WI   53546‐2071
MATHEW NIESE         207 BLANCHARD AVE                                                                                          OTTAWA             OH   45875‐8663
MATHEW OBRIEN        3721 S COUNTY ROAD D                                                                                       JANESVILLE         WI   53548‐8526
MATHEW PERSHA        1950 E 5TH ST # 110                                                                                        LONG BEACH         CA   90802‐2023
MATHEW PLEVRAKIS     38264 MILLENIUM CT                                                                                         NORTH RIDGEVILLE   OH   44039‐1064
MATHEW POTTER        11342 N RIDGE RD                                                                                           EDGERTON           WI   53534‐9073
MATHEW RADKE         4577 CLEARVIEW DR                                                                                          CLARKSTON          MI   48348‐4005
MATHEW RAWLUSZKI     875 S DELANO RD                                                                                            AU GRES            MI   48703‐9400
MATHEW REEVES JR     708 LAWRENCE ST                                                                                            DETROIT            MI   48202‐1043
MATHEW RUSIN         115 14TH AVE                                                                                               N TONAWANDA        NY   14120‐3207
MATHEW S CLARK       11938 CARL ST                                                                                              LAKE VIEW TER      CA   91342‐6429
MATHEW S LAPIERRE    MARC S ALPERT                      MARC S ALPERT PC             15 COURT SQUARE #940                       BOSTON             MA   02108
MATHEW SCHATZ        PO BOX 228                                                                                                 MILLERSBURG        MI   49759‐0228
MATHEW SELBY         102 MEDOWS DR                                                                                              TRUSSVILLE         AL   35235
MATHEW SERVICE       11519 BENTON RD                                                                                            GRAND LEDGE        MI   48837‐9728
MATHEW SMALLWOOD     111 APPALACHIAN TRAL                                                                                       DALLAS             GA   30132
MATHEW SNYDER        6776 BIG CREEK PKWY                                                                                        CLEVELAND          OH   44130‐2601
MATHEW ZALIZNY       9302 EMILY DR                                                                                              DAVISON            MI   48423‐2867
MATHEW ZENE          BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS         OH   44236
MATHEW, BENJAMIN A   22177 HORACE HARDING EXPY UNIT 2                                                                           OAKLAND GARDENS    NY   11364‐2320
MATHEW, GARY L       5512 W HOLMBROOK DR                                                                                        MUNCIE             IN   47304‐5055
MATHEW, JACOB        26225 ROSS DR                                                                                              REDFORD            MI   48239‐2964
MATHEW, JOY C        6012 SOUTHEAST 56TH COURT                                                                                  OKLAHOMA CITY      OK   73135‐5425
MATHEW, LLOYD J      9 READING DR APT 40                                                                                        WERNERSVILLE       PA   19565‐2022
MATHEW, MANOJ        19679 LIVERPOOL AVE                                                                                        LIVONIA            MI   48152‐4007
MATHEW, MATHAI K     438 EASTERN BLVD                                                                                           BAYVILLE           NJ   08721‐3234
MATHEW, PAVAN        8966 CAVELL AVE                                                                                            LIVONIA            MI   48150‐4158
MATHEW, PERRY S      PO BOX 625                                                                                                 MASONTOWN          WV   26542‐0625
MATHEW, ROBERT W     42258 JO ED DR                                                                                             STERLING HEIGHTS   MI   48314‐3031
MATHEW, SANDRA G     PO BOX 32                                                                                                  GAY                WV   25244‐0032
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Name                               Address1                         Address2                         Address3   Address4         City             State Zip
MATHEWS AUTOMOTIVE CLINIC, INC.    4708 S IRVING AVE                                                                             TUCSON            AZ 85714‐2112
MATHEWS COUNTY TREASURER           PO BOX 305                                                                                    MATHEWS           VA 23109‐0305
MATHEWS DICKEY BOYS CLUB           4245 N KINGSHIGHWAY BLVD                                                                      SAINT LOUIS       MO 63115‐1238
MATHEWS DOLORES JEAN (ESTATE OF)   LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                                 HOUSTON           TX 77069
(660515)
MATHEWS EARL                       1832 CIRCLE DR                                                                                EL DORADO        KS 67042‐4007
MATHEWS EDWARD L (413852)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510
                                                                    STREET, SUITE 600
MATHEWS ELIZABETH                  PO BOX 7                                                                                      SECTION          AL   35771‐0007
MATHEWS GARLINGTON MATHEWS         & CHESNIN                        1001 N NOYES DR                                              SILVER SPRING    MD   20910
MATHEWS GARY                       MATHEWS, GARY                    P.O. BOX 384                                                 HIGDON           AL   35979‐0384
MATHEWS GIRARD (428316)            GEORGE & SIPES                   151 N DELAWARE ST STE 1700                                   INDIANAPOLIS     IN   46204‐2503
MATHEWS GLENN                      625 DEE DEE DR                                                                                CHRISTIANSBURG   VA   24073‐4127
MATHEWS HUMPHREY                   9361 EVERGREEN AVE                                                                            DETROIT          MI   48228‐1776
MATHEWS I I, JOHN M                5158 POWDERMILL RD                                                                            KENT             OH   44240‐7082
MATHEWS I I, KENNETH L             455 EMERICK ST                                                                                YPSILANTI        MI   48198‐5741
MATHEWS II, DON J                  604 GENESEE AVE NE                                                                            WARREN           OH   44483‐5504
MATHEWS II, JOHN M                 5158 POWDERMILL RD                                                                            KENT             OH   44240‐7082
MATHEWS II, KENNETH L              455 EMERICK ST                                                                                YPSILANTI        MI   48198‐5741
MATHEWS JOHN                       4209 SHERMAN RD                                                                               KENT             OH   44240‐6849
MATHEWS JOHN                       14 DOUGLASTON COURT                                                                           RIDGE            NY   11961‐1609
MATHEWS JR, BEN                    PO BOX 296                                                                                    OTTER LAKE       MI   48464‐0296
MATHEWS JR, JAMES H                413 NEW LIDO DR                                                                               LAKEWAY          TX   78734‐5122
MATHEWS JR, ROBERT S               9400 HAMILTON RD                                                                              HARRISON         MI   48625‐9306
MATHEWS JR, WALTER J               16520 DIXIE HWY                                                                               DAVISBURG        MI   48350‐1045
MATHEWS JR, WILLIE J               1828 NORTH AVE APT 4                                                                          NIAGARA FALLS    NY   14305‐2947
MATHEWS JR., DONALD L              3357 US ROUTE 422                                                                             SOUTHINGTON      OH   44470‐9303
MATHEWS KENNETH (434338)           GEORGE & SIPES                   151 N DELAWARE ST STE 1700                                   INDIANAPOLIS     IN   46204‐2503
MATHEWS MARK A                     1716 LAKEWOOD CIR                                                                             LAPEER           MI   48446‐3228
MATHEWS MD                         3973 KNOX AVE                                                                                 ROSAMOND         CA   93560‐6417
MATHEWS NOEL E (360833)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA   23510
                                                                    STREET, SUITE 600
MATHEWS PHILLIP                    PO BOX 684                                                                                    POST             TX   79356‐0684
MATHEWS RONNIE GENE (505249)       BARON & BUDD                     3102 OAK LANE AVE , SUITE 1100                               DALLAS           TX   75219
MATHEWS SHERRY L                   MATHEWS, JOSHUA P                111 PARK WEST DRIVE                                          SCOTT            LA   70583
MATHEWS SHERRY L                   MATHEWS, SHERRY L                111 PARK WEST DRIVE                                          SCOTT            LA   70583
MATHEWS SR, CARL D                 2114 STEWART DR NW                                                                            WARREN           OH   44485‐2343
MATHEWS SR, WALTER J               2354 MONTROYAL AVE                                                                            WATERFORD        MI   48328‐1728
MATHEWS THOMAS EDWARD (405708)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA   23510
                                                                    STREET, SUITE 600
MATHEWS TROY                       700 WILLIAMS ST                                                                               FORT SMITH       AR   72908‐7956
MATHEWS WILLIAM D                  576 KENWOOD ST                                                                                THOUSAND OAKS    CA   91320‐4113
MATHEWS, A                         3367 SHERIDAN AVE                                                                             SAGINAW          MI   48601‐4454
MATHEWS, AGNES M                   4115 SW HOMESTEAD DR                                                                          LEES SUMMIT      MO   64082‐8216
MATHEWS, AGNES M                   4115 S.W. HOMESTEAD DR                                                                        LEES SUMMIT      MO   64082
MATHEWS, ALICE                     4701 KEPPLER PL                                                                               TEMPLE HILLS     MD   20748‐2100
MATHEWS, ANTHONY                   1226 ROBBINS RUN CT                                                                           DAYTON           OH   45458
MATHEWS, ANTHONY P                 4540 VARSITY CIR DR                                                                           LEHIGH ACRES     FL   33971
MATHEWS, BARBARA A                 31389 LAKEVIEW CT                                                                             FORISTELL        MO   63348‐2683
MATHEWS, BARBARA A                 3821 WOODSIDE AVE                                                                             DAYTON           OH   45402‐4129
MATHEWS, BARBARA J                 19815 MURRAY HILL ST                                                                          DETROIT          MI   48235‐2458
MATHEWS, BETTY J                   1945 PEMBRIDGE PL                                                                             DETROIT          MI   48207‐3815
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Name                     Address1                           Address2                       Address3   Address4         City               State Zip
MATHEWS, BETTY S         6356 W GOWAN RD                                                                               LAS VEGAS           NV 89108‐4945
MATHEWS, BOBBIE J        PO BOX 194                                                                                    DEARBORN            MI 48121‐0194
MATHEWS, BOBBIE J        10821 W WIKIEUP LN                                                                            SUN CITY            AZ 85373‐3370
MATHEWS, BOBBY E         2111 WALKER CT                                                                                PHENIX CITY         AL 36867‐7451
MATHEWS, BRENDA S        12232 S COUNTY LINE RD W                                                                      ROANOKE             IN 46783‐9611
MATHEWS, BRUCE N         956 AUSTIN CT                                                                                 WEATHERFORD         TX 76086‐6345
MATHEWS, C.T.            333O CYRUS CREEK ROAD                                                                         BARBOURSVILLE       WV 25504
MATHEWS, CAREY T         4684 ROMEO LN                                                                                 NORTHVILLE          MI 48167‐8699
MATHEWS, CARL B          PO BOX 28                                                                                     ALBANY              KY 42602‐0028
MATHEWS, CAROLE A        6244 HILLSDALE LN                                                                             WEST CHESTER        OH 45069‐3169
MATHEWS, CATHY J         5901 COUNCIL RING BLVD                                                                        KOKOMO              IN 46902‐5515
MATHEWS, CHARLES         700 NORTH RD SE                                                                               WARREN              OH 44484‐4834
MATHEWS, CHARLES E       12254 MAIDEN ST                                                                               DETROIT             MI 48213‐1714
MATHEWS, CHARLES L       4346 PHEASANT RUN                  C/O DUANE L COOPER                                         JANESVILLE          WI 53546‐9325
MATHEWS, CHARLES L       PO BOX 103                                                                                    MILTON              WI 53563‐0103
MATHEWS, CHARLES R       46500 NOBLE RIDGE RD                                                                          CALDWELL            OH 43724‐8944
MATHEWS, CHARLES T       1004 LAKEVIEW ST                                                                              WATERFORD           MI 48328‐3817
MATHEWS, CHERYL          2287 FIELDSTONE CURV                                                                          SAINT PAUL          MN 55129
MATHEWS, CHERYL A        3970 BRIGHTGOLD LN                                                                            CANAL WINCHESTER    OH 43110‐8316
MATHEWS, CHRIS
MATHEWS, CLARENCE R      8030 MILLSBORO RD                                                                             GALION             OH   44833‐9711
MATHEWS, CLINTON E       6566 MONTCLAIR DRIVE                                                                          TROY               MI   48085‐1615
MATHEWS, CORINE          9355 RAYNA DR                                                                                 DAVISON            MI   48423‐2853
MATHEWS, DANIEL G        7046 E RYAN RD                                                                                MILTON             WI   53563‐9705
MATHEWS, DAVID B         4047 TRUXTON LN                                                                               LANSING            MI   48911‐4329
MATHEWS, DAVID C         530 E ELLENDALE RD UNIT 202                                                                   EDGERTON           WI   53534‐8435
MATHEWS, DAVID C         530 ELLENDALE ROAD                 202                                                        EDGERTON           WI   53534
MATHEWS, DAVID S         4462 LILY DR                                                                                  HOWELL             MI   48843‐8120
MATHEWS, DAVID STEWART   4462 LILY DR                                                                                  HOWELL             MI   48843‐8120
MATHEWS, DENISE C        612 CAMPBELL ST                                                                               FLINT              MI   48507‐2421
MATHEWS, DENNIS E        1055 SEABURY DR                                                                               LAKE ORION         MI   48362‐1961
MATHEWS, DENNIS EDWARD   1055 SEABURY DR                                                                               LAKE ORION         MI   48362‐1961
MATHEWS, DENNIS P        4322 N MASON AVE                                                                              CHICAGO            IL   60634‐1623
MATHEWS, DIXIE           6566 MONTCLAIR DRIVE                                                                          TROY               MI   48085‐1615
MATHEWS, DOLORES A       4921 STARR AVE                                                                                LANSING            MI   48910‐5001
MATHEWS, DOLORES JEAN    ICO THE LANIER LAW FIRM PC         6810 FM 1960 WEST                                          HOUSTON            TX   77069
MATHEWS, DOLORES JEAN    LANIER LAW FIRM                    6810 FM 1960 WEST SUITE 1550                               HOUSTON            TX   77069
MATHEWS, DON J           4787 EVERETT HULL RD                                                                          CORTLAND           OH   44410‐9774
MATHEWS, DON J           4787 EVERETT‐HULL RD                                                                          CORTLAND           OH   44410‐9774
MATHEWS, DONALD G        320 MULBERRY LN                                                                               MC CORMICK         SC   29835‐3326
MATHEWS, DONALD L        9536 KALE PLACE                                                                               DIAMONDHEAD        MS   39525‐9525
MATHEWS, DONALD L        9536 KALE PL                                                                                  DIAMONDHEAD        MS   39525‐4113
MATHEWS, DONALD R        1014 CASTLETON CT                                                                             GRAYSLAKE          IL   60030‐9306
MATHEWS, DONALD R        3909 GREENBROOK LN                                                                            FLINT              MI   48507‐2266
MATHEWS, DORIS L         1130 SHADOW RIDGE DR                                                                          NILES              OH   44446‐3559
MATHEWS, DORIS M         722 NORTHSHORE BLVD                                                                           ANDERSON           IN   46011‐1222
MATHEWS, DOROTHY B       1131 ALTA VISTA BLVD                                                                          JACKSON            MS   39209‐7107
MATHEWS, DOUG RUSSEL     6237 ROAD 87                                                                                  PAULDING           OH   45879‐9511
MATHEWS, EDDIE E         3776 W 500 N                                                                                  HUNTINGTON         IN   46750‐8019
MATHEWS, EDWARD L        C/O GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510‐2212
                                                            STREET, SUITE 600
MATHEWS, ELIZABETH E     1315 CHESACO AVE APT 235                                                                      BALTIMORE          MD 21237‐1539
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Name                        Address1                            Address2                     Address3   Address4         City              State Zip
MATHEWS, ERMA J             3357 US ROUTE 422                                                                            SOUTHINGTON        OH 44470‐9303
MATHEWS, ERVIN J            3234 S 70TH ST                                                                               MILWAUKEE          WI 53219‐4010
MATHEWS, ERWIN M            7594 PEGOTTY DR NE                                                                           WARREN             OH 44484‐1428
MATHEWS, EUGENE M           99 WASHINGTON ST LOWR                                                                        N TONAWANDA        NY 14120‐6543
MATHEWS, EVON               5793 ROCKY RD                                                                                KALAMAZOO          MI 49004‐9173
MATHEWS, FLORENCE E         9739 SUNBEAM DR                                                                              NEW PORT RICHEY    FL 34654‐2527
MATHEWS, GARY               PO BOX 384                                                                                   HIGDON             AL 35979‐0384
MATHEWS, GARY D             9937 N STATE ROAD 59                                                                         MILTON             WI 53563‐9153
MATHEWS, GARY W             G3281 AUGUSTA ST                                                                             FLINT              MI 48532‐5107
MATHEWS, GENE R             31 MAVIS DR                                                                                  ETHRIDGE           TN 38456‐5069
MATHEWS, GEORGE C           105 W LOVES DR                                                                               ROSCOMMON          MI 48653‐9406
MATHEWS, GERALDINE A        11349 S ROBERTS RD APT L                                                                     PALOS HILLS         IL 60465‐2644
MATHEWS, GERALDINE G        628 CARPENTER RD                    C/O TERRY MATHEWS                                        FLUSHING           MI 48433‐1359
MATHEWS, GIRARD             GEORGE & SIPES                      151 N DELAWARE ST STE 1700                               INDIANAPOLIS       IN 46204‐2503
MATHEWS, GLADIS A           1308 MONTGOMERY LN                                                                           SOUTHLAKE          TX 76092
MATHEWS, GLORIA J           880 STARWICK DR                                                                              ANN ARBOR          MI 48105‐1226
MATHEWS, HARRY A            3013 COURTLANDT AVE                                                                          KALAMAZOO          MI 49004‐1625
MATHEWS, HAZEL E            15316 HOCKING BLVD                                                                           BROOK PARK         OH 44142‐2918
MATHEWS, HUMPHREY J         9361 EVERGREEN AVE                                                                           DETROIT            MI 48228‐1776
MATHEWS, HUMPHREY JEROME    9361 EVERGREEN AVE                                                                           DETROIT            MI 48228‐1776
MATHEWS, IRENE W            5740 JORDAN ROAD                                                                             WOODLAND           MI 48897‐9718
MATHEWS, JAMES A            PO BOX 9224                                                                                  RIVERSIDE          MO 64168‐9224
MATHEWS, JAMES D            2155 BEVERLY ROAD                                                                            FLINT              MI 48532
MATHEWS, JAMES H            603 GARDEN CITY DR                                                                           MONROEVILLE        PA 15146‐1113
MATHEWS, JAMES M            2040 DELHI ST NE                                                                             HOLT               MI 48842‐1840
MATHEWS, JAMES M            2040 DELHI STREET NORTHEAST                                                                  HOLT               MI 48842‐1840
MATHEWS, JENNIE L           1213 FALLEN TIMBERS DR                                                                       DEFIANCE           OH 43512‐1370
MATHEWS, JESSIE             3638 DENLINGER RD                                                                            TROTWOOD           OH 45426‐2324
MATHEWS, JIMMY L            893 MOSELEY DR                                                                               STOCKBRIDGE        GA 30281
MATHEWS, JOANN              3924 ELIZABETH DR                                                                            TROY               MI 48084‐1757
MATHEWS, JOHN D             1747 ARTHUR DR NW                                                                            WARREN             OH 44485‐1806
MATHEWS, JOHN E             2709 S OUTER DR                                                                              SAGINAW            MI 48601‐6651
MATHEWS, JOHN F             6515 NAPIER RD                                                                               PLYMOUTH           MI 48170‐5092
MATHEWS, JOHN M             4209 SHERMAN RD                                                                              KENT               OH 44240‐6849
MATHEWS, JOHN N             9595 E COUNTY ROAD 1000 N                                                                    BROWNSBURG         IN 46112‐9638
MATHEWS, JOSEPH ROY         PARKS CHRISTOPHER M                 1 PLAZA SQUARE                                           PORT ARTHUR        TX 77642
MATHEWS, JOSHUA P           DALTON & ASSOCIATES LLC             111 PARK WEST DR                                         SCOTT              LA 70583‐8902
MATHEWS, JUDY               1624 COUNTY ROAD 630 WEST‐M8                                                                 FROSTPROOF         FL 33843
MATHEWS, JUDY K.            440 DUFFEY ST                                                                                PLAINFIELD         IN 46168‐1618
MATHEWS, KAYLEEN A          6074 LUCAS RD                                                                                FLINT              MI 48506‐1218
MATHEWS, KENNETH            PO BOX 48183                                                                                 OAK PARK           MI 48237‐5883
MATHEWS, KENNETH            GEORGE & SIPES                      151 N DELAWARE ST STE1700                                INDIANAPOLIS       IN 46204‐2503
MATHEWS, KENNETH E          4421 SILVER HILL DR                                                                          GREENWOOD          IN 46142‐9665
MATHEWS, KENNETH W          3148 SUTTON RD                                                                               DRYDEN             MI 48428‐9641
MATHEWS, LAKEISHA RENA      4416 SILVER RIDGE WAY                                                                        AUSTELL            GA 30106‐2134
MATHEWS, LARRY W            6074 LUCAS RD                                                                                FLINT              MI 48506‐1218
MATHEWS, LAURA G            612 CAMPBELL ST                                                                              FLINT              MI 48507‐2421
MATHEWS, LAWRENCE EARL      C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                   EDWARDSVILLE        IL 62025
                            ROWLAND PC
MATHEWS, LEE EQUIPMENT CO   318 BROADWAY ST                                                                              KANSAS CITY       MO 64105‐1105
MATHEWS, LEE R              5 BEAR CREEK RD                                                                              GOLDEN            MS 38847‐7719
MATHEWS, LINDA K            247 WATERS EDGE LN                                                                           MADISON           AL 35758‐2587
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Name                    Address1                          Address2                        Address3                 Address4             City               State Zip
MATHEWS, LORETTA G      1781 VICTOR ST                                                                                                  YPSILANTI           MI 48198‐6661
MATHEWS, LORRAINE       339 NORTH WALNUT STREET                                                                                         JANESVILLE          WI 53548
MATHEWS, LOWELL G       52295 MATTERHORN DRIVE                                                                                          MACOMB              MI 48042‐5653
MATHEWS, LUTHER A       1337 CLEGHORN VALLEY RD                                                                                         MARION              VA 24354‐6066
MATHEWS, M D            3973 KNOX AVE                                                                                                   ROSAMOND            CA 93560‐6417
MATHEWS, MAE O          3013 COURTLANDT AVENUE                                                                                          KALAMAZOO           MI 49004‐1625
MATHEWS, MAJA           VICOLO DEI CONTI 6                                                                         BREGANZONA
                                                                                                                   SWITZERLAND 6932
MATHEWS, MARIE          4050 W CHAMPERRET DR              C/O ROGER L MATHEWS                                                           BOYNE CITY         MI 49712‐8800
MATHEWS, MARILYN        SUTTER & ENSLEIN                  1598 KANAWHA BLVD EAST, SUITE                                                 CHARLESTON         WV 25311
                                                          200
MATHEWS, MARK A         11615 DIEHL DR                                                                                                  STERLING HEIGHTS   MI   48313
MATHEWS, MARK E         287 BARDEN RD                                                                                                   BLOOMFIELD HILLS   MI   48304‐2712
MATHEWS, MARY A         294 SUNSET DR                                                                                                   HOLLEY             NY   14470
MATHEWS, MARY A         UNITY LIVING CENTER               C/O CHUCK ALBANESE              89 GENESEE ST APT 3121                        ROCHESTER          NY   14611
MATHEWS, MARY E         123‐6 MARSHALL DR                                                                                               WEST LAFAYETTE     IN   47906
MATHEWS, MARY E         4184 OLD STATE RD 37 NORTH                                                                                      BEDFORD            IN   47421‐7437
MATHEWS, MARY F         151 WATKINS PL APT 301                                                                                          BAD AXE            MI   48413‐1039
MATHEWS, MARY T         3071 BARKWAY DR                                                                                                 STERLING HEIGHTS   MI   48310‐1722
MATHEWS, MARY THOMAS    3071 BARKWAY DR                                                                                                 STERLING HEIGHTS   MI   48310‐1722
MATHEWS, MATT           LEBLANC & WADDELL                 5353 ESSEN LN STE 420                                                         BATON ROUGE        LA   70809‐0500
MATHEWS, MATTHEW Z      281 KINSEY AVE                                                                                                  KENMORE            NY   14217‐1801
MATHEWS, MELBA F        1263 ELMBROOK DR                                                                                                KENNEDALE          TX   76060‐6040
MATHEWS, MELVIN         9079 NORTHLAWN ST                                                                                               DETROIT            MI   48204‐2791
MATHEWS, MICHAEL        306 PANORAMA CT                                                                                                 BENICIA            CA   94510‐1500
MATHEWS, MICHAEL F      31520 VAN BORN RD APT 101                                                                                       WAYNE              MI   48184‐2664
MATHEWS, MICHAEL F      31520 VANBORN RD                  APT 101                                                                       WAYNE              MI   48184
MATHEWS, MICHAEL J      2174 LONDON BRIDGE DR                                                                                           ROCHESTER          MI   48307‐4231
MATHEWS, MICHAEL L      720 PINE TREE RD                                                                                                LAKE ORION         MI   48362
MATHEWS, MICHAEL M      5 DRYBRIDGE RD                                                                                                  MEDWAY             MA   02053‐2164
MATHEWS, MICHAEL M.     5 DRYBRIDGE RD                                                                                                  MEDWAY             MA   02053‐2164
MATHEWS, MILDRED        9536 KALE PL                                                                                                    DIAMONDHEAD        MS   39525‐4113
MATHEWS, MILDRED        9536 KALE PLACE                                                                                                 DIAMONDHEAD        MS   39525‐9525
MATHEWS, NADINE         2902 MARGEAUX DR                                                                                                LANCASTER          TX   75134‐4930
MATHEWS, NANCY J        1414 KINGSLAKE DR                                                                                               CANTONMENT         FL   32533‐6834
MATHEWS, NATHAN E       1263 ELMBROOK DR                                                                                                KENNEDALE          TX   76060‐6040
MATHEWS, NICHOLAS A     12232 S COUNTY LINE RD W                                                                                        ROANOKE            IN   46783‐9611
MATHEWS, NINA R         130 ELMRIDGE RD                                                                                                 MANSFIELD          OH   44907
MATHEWS, NOEL E         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA   23510‐2212
                                                          STREET, SUITE 600
MATHEWS, OTTIS          PORTER & MALOUF PA                4670 MCWILLIE DR                                                              JACKSON            MS   39206‐5621
MATHEWS, PATRICIA A     123‐18 BELLA VISTA                                                                                              GRAND BLANC        MI   48439‐1587
MATHEWS, PATRICIA A     123 BELLA VISTA DR APT 18                                                                                       GRAND BLANC        MI   48439‐1587
MATHEWS, PATRICIA ANN   932 MARION AVE                                                                                                  FORT WORTH         TX   76104‐6537
MATHEWS, PAUL D         1542 POPE RD                                                                                                    IVANHOE            VA   24350‐3617
MATHEWS, PAULA F        11207 N 38TH AVE                                                                                                PHOENIX            AZ   85029‐3113
MATHEWS, PAULINE J      780 FITTING AVENUE                                                                                              LANSING            MI   48917‐2281
MATHEWS, PENNY M        PO BOX 250                                                                                                      NEW MADISON        OH   45346‐0250
MATHEWS, RANDY O        PO BOX 134                                                                                                      CASSTOWN           OH   45312‐0134
MATHEWS, REGINALD       JOHNSON JULIUS & ASSOCIATES INC   2235 LAKE AVE STE 213                                                         ALTADENA           CA   91001‐6035
MATHEWS, RICHARD B      31389 LAKEVIEW CT                                                                                               FORISTELL          MO   63348‐2683
MATHEWS, RICHARD B      1237 SURREY DR                                                                                                  MILTON             WI   53563‐1803
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Name                     Address1                         Address2                        Address3   Address4         City               State Zip
MATHEWS, RICHARD L       5758 ALFIE PL                                                                                COLUMBUS            OH 43213‐3505
MATHEWS, RICKY D         2254 LODGE RD                                                                                FLINT               MI 48532‐4956
MATHEWS, RITA M          122 MECCA AVE                                                                                EUGENE              OR 97404‐1709
MATHEWS, ROBERT E        203 W WOODSIDE AVE                                                                           BUFFALO             NY 14220‐2163
MATHEWS, ROBERT F        8357 CONSTITUTION BLVD APT 102                                                               STERLING HEIGHTS    MI 48313‐3866
MATHEWS, ROBERT W        PO BOX 4458                                                                                  FORT SMITH          AR 72914‐4458
MATHEWS, ROBERT W        2506 RINGLING BLVD                                                                           SARASOTA            FL 34237‐6213
MATHEWS, RODNEY R        4081 SHADY CREEK LN                                                                          JACKSONVILLE        FL 32223‐4006
MATHEWS, RONALD L        939 HACKER DR                                                                                MARTINSVILLE        IN 46151‐3019
MATHEWS, RONNIE GENE     BARON & BUDD                     3102 OAK LANE AVE, SUITE 1100                               DALLAS              TX 75219
MATHEWS, RUTH D          4396 PALMYRA ROAD SW                                                                         WARREN              OH 44481‐9709
MATHEWS, RUTH D          4396 PALMYRA RD SW                                                                           WARREN              OH 44481‐9709
MATHEWS, SANDRA D        72613 SORREL DR                                                                              ROMEO               MI 48065‐3933
MATHEWS, SHERRY          4829 KOKOSING RD.                                                                            HALE                MI 48739‐8945
MATHEWS, SHERRY L        DALTON & ASSOCIATES LLC          111 PARK WEST DR                                            SCOTT               LA 70583‐8902
MATHEWS, SHERRY L
MATHEWS, SHIRLEY J       1381 LIBERTY ST N                                                                            CANTON             MI   48188‐8001
MATHEWS, STANLEY C       8517 JANIS ST                                                                                SHELBY TOWNSHIP    MI   48317‐5321
MATHEWS, STANLEY E       215 LAKE BY DR                                                                               KEMP               TX   75143‐8687
MATHEWS, STEVEN B        370 RAYMOND AVE NW                                                                           WARREN             OH   44483
MATHEWS, TERESA A        455 EMERICK ST                                                                               YPSILANTI          MI   48198‐5741
MATHEWS, TERRY L         628 CARPENTER RD                                                                             FLUSHING           MI   48433‐1359
MATHEWS, TERRY LEE       628 CARPENTER RD                                                                             FLUSHING           MI   48433‐1359
MATHEWS, TERRY R         PO BOX 250                                                                                   NEW MADISON        OH   45346‐0250
MATHEWS, THELMA J        1539B RICHMOND RD                                                                            COLUMBIA           TN   38401‐9083
MATHEWS, THELMA J        2970 JACKSON RD                                                                              SPRING HILL        TN   37174‐5110
MATHEWS, THOMAS          26 TARA DR                                                                                   POMONA             NY   10970‐3210
MATHEWS, THOMAS EDWARD   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                          STREET, SUITE 600
MATHEWS, THOMAS J        6237 ROAD 87                                                                                 PAULDING           OH   45879‐9511
MATHEWS, THOMAS L        28016 S CLEMENTS CIR                                                                         LIVONIA            MI   48150‐3255
MATHEWS, TIMOTHY A       11411 S FORTUNA RD STE 105                                                                   YUMA               AZ   85367‐7825
MATHEWS, VELMA E         3602 FULTON ST E APT 207                                                                     GRAND RAPIDS       MI   49546‐1321
MATHEWS, VERNON B        82 PEAT BED RD                                                                               HANNIBAL           NY   13074‐2361
MATHEWS, VICKIE L        PO BOX 1043                                                                                  EAST PALATKA       FL   32131‐1043
MATHEWS, VIOLET B        6039 PINE ST                     PO BOX 253                                                  MAYVILLE           MI   48744‐0253
MATHEWS, VIRGINIA M      8936 N CLEAR LAKE RD                                                                         MILTON             WI   53563‐8921
MATHEWS, WAYNE A         957 E ALAURA DR                                                                              ALDEN              NY   14004‐9524
MATHEWS, WAYNE J         339 N WALNUT ST                                                                              JANESVILLE         WI   53548‐3527
MATHEWS, WENDY B         736 HUNTER HL                                                                                BRANDON            MS   39047‐8678
MATHEWS, WILLARD L       187 OLD BUDDHA RD                                                                            BEDFORD            IN   47421‐7748
MATHEWS, WILLARD W       379 FOSTER DR NE                                                                             WARREN             OH   44483‐4435
MATHEWS, WILLIAM C       125 RIVERVIEW ADD. RD.                                                                       BEDFORD            IN   47421
MATHEWS, WILLIAM D       576 KENWOOD ST                                                                               THOUSAND OAKS      CA   91320‐4113
MATHEWS, WILLIAM E       205 NUNN WHEELER RD                                                                          MC INTYRE          GA   31054‐2339
MATHEWS, WILLIAM L       320 JEFFERSON AVE                                                                            JANESVILLE         WI   53545‐4133
MATHEWS, WILLIAM R       2553 NORTH RIVER RD. N.E.                                                                    WARREN             OH   44483‐2637
MATHEWS, WILLIAM R       2553 N RIVER RD NE                                                                           WARREN             OH   44483‐2637
MATHEWS, WILLIAM W       323 MILL CREEK RD                                                                            CHILHOWIE          VA   24319‐3676
MATHEWS, WILLIE B        3829 ROCKEY VALLEY DR                                                                        CONLEY             GA   30288‐1400
MATHEWS, WILLIE D        18300 NEFF RD                                                                                CLEVELAND          OH   44119‐2648
MATHEWS, WILMER          1120 E MORNINGSIDE DR                                                                        FORT WORTH         TX   76104‐6822
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Name                           Address1                          Address2                        Address3                    Address4                City           State Zip
MATHEWS, ZELBIE E              253 MOUNT VERNON DR                                                                                                   VENICE          FL 34293‐4018
MATHEWS‐CARTER, WILLIAM        4232 GLENBURNE BLVD                                                                                                   LANSING         MI 48911‐2541
MATHEWS‐PANEK, LINDA L         314 ASHTON PL                                                                                                         MCDONOUGH       GA 30253‐8906
MATHEWSON ALFRED (446130)      BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                       NORTHFIELD      OH 44067
                                                                 PROFESSIONAL BLDG
MATHEWSON I I, ROBERT C        4783 LAKEVIEW BLVD                                                                                                    CLARKSTON      MI   48348‐3869
MATHEWSON'S AUTOMOTIVE         271 RAINIER AVE N                                                                                                     RENTON         WA   98057‐5323
MATHEWSON, CHRISTY G           443 SHELL RD                                                                                                          ANGOLA         NY   14006‐9746
MATHEWSON, DAVID L             2256 SPANISH DR APT 46                                                                                                CLEARWATER     FL   33763‐2932
MATHEWSON, DUANE R             5236 S CARVER RD                                                                                                      ORFORDVILLE    WI   53576‐9801
MATHEWSON, EDWARD A            3612 WATERLOO DR                                                                                                      SAGINAW        MI   48603‐2075
MATHEWSON, JANET M             3294 ELWOOD AVE SW                                                                                                    GRANDVILLE     MI   49418
MATHEWSON, JANETT M            892 TOWNSEND DRIVE                                                                                                    OXFORD         MI   48371‐3591
MATHEWSON, JANETTE             3455 S 200 E                                                                                                          ALBION         IN   46701‐9639
MATHEWSON, JANETTE L           3455 S 200 E                                                                                                          ALBION         IN   46701‐9639
MATHEWSON, JOAN E              5807 CROSS CREEK CIRCLE                                                                                               TYLER          TX   75703‐0506
MATHEWSON, KACIE               1414 AIRPORT AVE                                                                                                      GREENVILLE     IL   62246‐3519
MATHEWSON, KIM I               2470 E HIGHLAND RD                                                                                                    HOWELL         MI   48843‐8478
MATHEWSON, LEROY A             3455 S 200 E                                                                                                          ALBION         IN   46701‐9639
MATHEWSON, MARK R              1715 MAPLERIDGE RD                                                                                                    SAGINAW        MI   48604‐1719
MATHEWSON, MAUREEN H           6178 E LAKE RD                                                                                                        BURT           NY   14028‐9705
MATHEWSON, RAYMOND L           2627 S HIGH CREST RD                                                                                                  BELOIT         WI   53511‐2163
MATHEWSON, ROBERT A            42 NANCY PL                                                                                                           CHEEKTOWAGA    NY   14227‐3536
MATHEWSON, RONALD C            148 BARNABAS DR                                                                                                       DEPEW          NY   14043‐1933
MATHEWSON, WAYNE J             PO BOX 2424                                                                                                           BUFFALO        NY   14240‐2424
MATHEWSON‐NOBLE, ANGELA M      5614 BAYSIDE DRIVE                                                                                                    DAYTON         OH   45431‐2206
MATHEWSWS, DAWN                5713 9TH ST                                                                                                           ZEPHYRHILLS    FL   33542
MATHEY, DANIEL G               2916 CARLTON DR NW                                                                                                    WARREN         OH   44485‐1220
MATHEY, DANIEL S               9650 SHERIDAN RD                                                                                                      BURT           MI   48417‐9715
MATHEY, DANIEL STEVEN          9650 SHERIDAN RD                                                                                                      BURT           MI   48417‐9715
MATHEY, DANNY K                3390 S GLEANER RD                                                                                                     SAGINAW        MI   48609‐9709
MATHEY, DANNY KAYE             3390 S GLEANER RD                                                                                                     SAGINAW        MI   48609‐9709
MATHEY, DAVID J                695 E WEST RESV 1704                                                                                                  POLAND         OH   44514
MATHEY, JENNIFER A             9650 SHERIDAN RD                                                                                                      BURT           MI   48417‐9715
MATHEY, JENNIFER ANN           9650 SHERIDAN RD                                                                                                      BURT           MI   48417‐9715
MATHEY, KENNETH G              17721 FAIRVIEW AVE                                                                                                    BELOIT         OH   44609‐9525
MATHIAK, GARY A                70353 FISHER RD                                                                                                       BRUCE TWP      MI   48065‐4121
MATHIAK, LAWRENCE H            3755 BALMONY RD                                                                                                       COMMERCE TWP   MI   48382‐1782
MATHIAK, ROBERT A              519 S MARIE ST                                                                                                        WESTLAND       MI   48186‐8065
MATHIAK, ROBERT ALAN           519 S MARIE ST                                                                                                        WESTLAND       MI   48186‐8065
MATHIAS ABBE                   WALDSTRASSE 5                                                                                 91336 HEROLDSBACH
                                                                                                                             GERMANY
MATHIAS ARBEITER               4529 WOODSIDE RD                                                                                                      LAWTONS        NY 14091‐9617
MATHIAS CHRISTOPHER KOENIG     ATTN ROBERT W PHILLIPS            SIMMONS BROWDER GIANARIS        707 BERKSHIRE BLVD PO BOX                           EAST ALTON     IL 62024
                                                                 ANGELIDES & BARNERD LLC         521
MATHIAS DONALD P (442232)      SIMMONS FIRM                      PO BOX 559                                                                          WOOD RIVER     IL 62095‐0559
MATHIAS DORE                   3468 W 132ND ST                                                                                                       CLEVELAND      OH 44111‐2558
MATHIAS FISCHLER               6603 NIGHT VISTA DR                                                                                                   PARMA          OH 44129‐6372
MATHIAS FROSCH                 SECHSAECKER 32                                                                                34246 VELLMAR GERMANY
MATHIAS GERALD N SR (626644)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                         NORFOLK        VA 23510
                                                                 STREET, SUITE 600
MATHIAS HUPFER JR              30253 BOEWE DR                                                                                                        WARREN         MI 48092‐1987
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Name                            Address1                        Address2                      Address3   Address4             City             State Zip
MATHIAS J GREEN JR              8979 N LOOP RD                                                                                SLATINGTON        PA 18080‐3609
MATHIAS KAVAS                   9180 PRELOG LN                                                                                KIRTLAND          OH 44094‐5182
MATHIAS KLINKE                  FLURSTRASSE 7                                                            WIESBADEN GERMANY
                                                                                                         65205
MATHIAS KOENIG                  SIMMONS FIRM                    PO BOX 521                                                    EAST ALTON        IL   62024‐0519
MATHIAS KREMESEC
MATHIAS KUHN                    10276 SHORT RD                                                                                HARRISON         OH 45030‐1849
MATHIAS LAUER                   14831 W ANTELOPE DR                                                                           SUN CITY WEST    AZ 85375‐5739
MATHIAS LEONARD B SR (341100)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA 23510
                                                                STREET, SUITE 600
MATHIAS LOCK & KEY INC          1795 WELTON ST                                                                                DENVER           CO 80202‐3939
MATHIAS MERKLER                 3611 IMLAY CITY RD                                                                            ATTICA           MI 48412‐9505
MATHIAS PROKOP                  KONINGINNEWEG 2A                                                         1217KW               HILVERSUM           1217K
MATHIAS WILL                    NUSSAECKER STR 36                                                        74096 BAD RAPPENAU
                                                                                                         GERMANY
MATHIAS, CHAD A                 PO BOX 352                                                                                    ARLINGTON        TX    76004‐0352
MATHIAS, CHAD ALLEN             PO BOX 352                                                                                    ARLINGTON        TX    76004‐0352
MATHIAS, CHARLES M              13790 LORETTA DR                                                                              N HUNTINGDON     PA    15642‐1733
MATHIAS, CHARLES W              523 NORTH ST                                                                                  CHESTERFIELD     IN    46017‐1125
MATHIAS, DONALD E               204 VERNEDALE DR                                                                              MOUNT VERNON     OH    43050‐2920
MATHIAS, DONALD P               SIMMONS FIRM                    PO BOX 559                                                    WOOD RIVER       IL    62095‐0559
MATHIAS, GARY D                 600 MILL RACE DR                                                                              MARTINSBURG      WV    25401‐9279
MATHIAS, GERALD N               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA    23510‐2212
                                                                STREET, SUITE 600
MATHIAS, JAMES A                1448 OAKWOOD AVE                                                                              NAPOLEON         OH    43545‐1065
MATHIAS, JOHN A                 8 GLEDDALE BLVD                                                                               GALION           OH    44833‐2304
MATHIAS, JOHNNY L               2108 W 12TH ST                                                                                MARION           IN    46953‐1215
MATHIAS, LEONARD B              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA    23510
                                                                STREET, SUITE 600
MATHIAS, MARK F                 12 RYDER CUP CIR                                                                              PITTSFORD        NY    14534‐1082
MATHIAS, NEAL P                 11421 NORTHRIDGE DR                                                                           EVANSVILLE       IN    47720
MATHIAS, PAMELA J               3184 ROBINA AVE                                                                               BERKLEY          MI    48072‐3814
MATHIAS, PAMELA JEAN            3184 ROBINA AVE                                                                               BERKLEY          MI    48072‐3814
MATHIAS, RICHARD A              5130 YALE DR                                                                                  ALIQUIPPA        PA    15001‐4920
MATHIAS, RICHARD E              7024 ALTERNATE STATE ROUTE 49                                                                 ARCANUM          OH    45304‐9601
MATHIAS, RONALD L               1770 GLENMAR DR                                                                               LANCASTER        OH    43130‐1544
MATHIAS, STEPHANIE R            1110 N LAFONTAINE ST                                                                          HUNTINGTON       IN    46750‐1816
MATHIAS, STEPHEN W              1110 N LAFONTAINE ST                                                                          HUNTINGTON       IN    46750‐1816
MATHIAS, THOMAS O               4744 OAK GLEN DR                                                                              TOLEDO           OH    43613‐3046
MATHIAS, THOMAS OWEN            4744 OAK GLEN DR                                                                              TOLEDO           OH    43613‐3046
MATHIAS, THOMAS P               843 TRINWAY DR                                                                                TROY             MI    48085‐3184
MATHIAS, TRENDA A               112 HARDING HEIGHTS BLVD                                                                      MANSFIELD        OH    44906‐1318
MATHIAS, TRENDA A               PO BOX 239                                                                                    BONNER SPRINGS   KS    55012
MATHIASCH JR, CARL              549 REED ST                                                                                   LIBERTY          MO    64068‐2231
MATHIASEN, EDNA V               2023 BERKSHIRE DR.                                                                            LANSING          MI    48910‐2423
MATHIEA, RONALD E               23475 VALLEY VIEW DR                                                                          SOUTHFIELD       MI    48033‐7702
MATHIES, AMY                    PO BOX 75                                                                                     WATKINS          MN    55389‐0075
MATHIES, AUDREY M               59 GOULD AVENUE                                                                               BEDFORD          OH    44146‐2643
MATHIES, AUDREY M               59 GOULD AVE                                                                                  BEDFORD          OH    44146‐2643
MATHIES, RUTH M                 5153 W GEORGE ST                                                                              CHICAGO          IL    60641‐5026
MATHIESEN, ELIZABETH D          12 N DRAKE CIR                                                                                KANSAS CITY      MO    64119‐3162
MATHIESON, DAVID M              RD3 372 FOREST PARK                                                                           WALLKILL         NY    12589
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Name                        Address1                             Address2                     Address3   Address4            City                  State Zip
MATHIESON, DENNIS           2852 HEMLOCK FARMS                                                                               HAWLEY                 PA 18428‐9097
MATHIESON, ELEANORE T       24020 SENECA ST                                                                                  OAK PARK               MI 48237‐3725
MATHIESON, ERIC A           809 LUDLOW AVE                                                                                   ROCHESTER              MI 48307‐1311
MATHIESON, HELEN L          39 HOVEY ST                                                                                      OXFORD                 MI 48371‐4826
MATHIESON, JOHN N           1574 CASTLEVIEW                                                                                  GLADWIN                MI 48624‐8640
MATHIESON, JOHN P           9309 S ORANGE BLOSSOM TRL APT 134F                                                               ORLANDO                FL 32837

MATHIESON, KIER M           261 STEPHENS RD                                                                                  GROSSE POINTE FARMS   MI   48236‐3409
MATHIESON, KRISTY           STEWART C CRAWFORD & ASSOCIATES      223 N MONROE ST                                             MEDIA                 PA   19063‐3019
MATHIESON, LUCILLE T        75 BARNES RD                                                                                     TARRYTOWN             NY   10591‐4303
MATHIESON, ROBERT           STEWART C CRAWFORD & ASSOCIATES      223 N MONROE ST                                             MEDIA                 PA   19063‐3019
MATHIESON, ROBERT           18 FAIRFIELD DR                                                                                  NEWARK                DE   19711‐2767
MATHIESON, WILLIAM M        75 BARNES RD                                                                                     TARRYTOWN             NY   10591‐4303
MATHIEU BOIMARE             5147 PROVINCIAL DR                                                                               BLOOMFIELD            MI   48302‐2529
MATHIEU GOUSSE
MATHIEU, PAUL               1401 W HIGHWAY 50 LOT 121                                                                        CLERMONT              FL 34711‐2033
MATHIEU, ROY J              229 SAXON CT                                                                                     ROCHESTER HILLS       MI 48307‐3161
MATHIEWS, WILMA S           12200 SW 26TH ST                                                                                 YUKON                 OK 73099‐7086
MATHILDA BROSSMANN          NEUMARKTER STR. 83                   90478 N▄RNBERG
MATHILDA BROSSMANN          NEUMARKTER STR 83                                                            90478 NUERNBERG
                                                                                                         GERMANY
MATHILDA DORAN              4 BURROW COURT                       PORTMARNOCK                             DUBLIN IRELAND
MATHILDA GIOIA              25 RYAN ST                                                                                       BUFFALO               NY   14210‐2308
MATHILDA ROBERGE            1662 SWEETWOOD DR                                                                                MELBOURNE             FL   32935‐4591
MATHILDA ROWLERY            PO BOX 13566                                                                                     FLINT                 MI   48501‐3566
MATHILDE CASTRO             24201 ONEIDA ST                                                                                  OAK PARK              MI   48237‐1749
MATHILDE GEIBACH            14195 SUSANNA ST                                                                                 LIVONIA               MI   48154‐5913
MATHILDE SCHEIDHACKER       BERNER STR 85                                                                81476 MUENCHEN
                                                                                                         GERMANY
MATHIOUS, VERNETTA D        422 S 29TH                                                                                       SAGINAW               MI   48601
MATHIOWETZ DIANNE           1131 EDEN AVE SE                                                                                 ATLANTA               GA   30316‐2584
MATHIOWETZ, DIANNE M        1131 EDEN AVE SE                                                                                 ATLANTA               GA   30316‐2584
MATHIS & MARSH PC           1999 BROADWAY STE 2605                                                                           DENVER                CO   80202‐3050
MATHIS & MARSH PC           PO BOX 8281                                                                                      DENVER                CO   80201‐8281
MATHIS BAISDEN              305 CEDARCREEK DR                                                                                NASHVILLE             TN   37211‐6651
MATHIS CLINTON B (627042)   ANGELOS PETER G LAW OFFICES OF       100 PENN SQUARE EAST , THE                                  PHILADELPHIA          PA   19107
                                                                 WANAMAKER BUILDING
MATHIS FRANK (465086)       BILBREY & HYLIA                      8724 PIN OAK RD                                             EDWARDSVILLE          IL   62025‐6822
MATHIS II, ROBERT F         378 TURNBERRY CT                                                                                 AVON                  IN   46123‐8400
MATHIS III, JOHN            2716 S THOMAS RD                                                                                 SAGINAW               MI   48609‐9703
MATHIS ISD                  PO BOX 1179                                                                                      MATHIS                TX   78368‐1179
MATHIS JANINE               MATHIS, JANINE                       48611 DEQUINDRE                                             ROCHESTER HILLS       MI   48307
MATHIS JR, GEORGE A         396 HAMPTON BLVD                                                                                 ROCHESTER             NY   14612‐4274
MATHIS JR, MICHAEL A        3857 HASSFURT DR                                                                                 FAIRFIELD             OH   45011‐9786
MATHIS LAW FIRM PC          1999 BROADWAY STE 2605                                                                           DENVER                CO   80202‐3050
MATHIS PAUL C               MATHIS, PAUL C
MATHIS TERENCE K            MATHIS, TERENCE K                    33159 FORD RD                                               GARDEN CITY           MI   48135‐1153
MATHIS TERRY                2391 S LAKE PLEASANT RD                                                                          ATTICA                MI   48412‐9791
MATHIS, ABNER E             705 REICHARDT ST                                                                                 LITTLE ROCK           AR   72202‐2962
MATHIS, ABNER EUGENE        COON BRENT W                         PO BOX 4905                                                 BEAUMONT              TX   77704‐4905
MATHIS, ALBERTA             1944 FULLERTON ST                                                                                DETROIT               MI   48238‐3633
MATHIS, ALICE R             4642 BESSIE AVENUE                                                                               ST LOUIS              MO   63115‐2424
                         09-50026-mg              Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
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Name                     Address1                         Address2                    Address3   Address4         City             State Zip
MATHIS, AMOS E           19265 SHIAWASSEE DR APT 108                                                              DETROIT           MI 48219‐1777
MATHIS, ANTHONY J        1302 TYLER LN                                                                            GREENWOOD         MO 64034‐8624
MATHIS, ANTHONY J        434 NUGGETT DR                                                                           LANSING           MI 48917‐2409
MATHIS, ARNOLD           6463 GLENMONT DRIVE                                                                      HAMILTON          OH 45011‐5016
MATHIS, AUGUSTINE O      4711 PENNSWOOD DR                                                                        HUBER HEIGHTS     OH 45424‐5428
MATHIS, BESSIE           114 EASTFIELD RD                                                                         NEWARK            DE 19713‐2708
MATHIS, BETTY E          5228 PICKETT DRIVE                                                                       JACKSONVILLE      FL 32219‐5317
MATHIS, BETTY S          7523 ABRAHAM CT                                                                          DAYTON            OH 45414‐1719
MATHIS, BOBBY            2226 GLENSIDE AVENUE                                                                     CINCINNATI        OH 45212‐1142
MATHIS, BOYZIE L         1955 NOCTURNE DR UNIT 3208                                                               ALPHARETTA        GA 30009‐4829
MATHIS, BOYZIE L         10950 BRACEBRIDGE RD                                                                     ALPHARETTA        GA 30022‐6406
MATHIS, BOYZIE LEE       1955 NOCTURNE DR UNIT 3208                                                               ALPHARETTA        GA 30009‐4829
MATHIS, BRACY C          151 MATHIS RD                                                                            DOVER             TN 37058‐6903
MATHIS, CALVIN L         222 E 29TH ST                                                                            WILMINGTON        DE 19802‐3632
MATHIS, CARL W           561 PERSIMMON DR                                                                         SHARPSBURG        GA 30277‐4650
MATHIS, CARLOS J         2381 WYMORE PL                                                                           DAYTON            OH 45459‐3658
MATHIS, CAROLE A         6917 LEEDALE DR                                                                          SAINT LOUIS       MO 63121‐5226
MATHIS, CAROLYN          159 MATHIS LN                                                                            LINDEN            TN 37096‐6079
MATHIS, CECILIA T        14138 GARAVOGUE AVE                                                                      ORLAND PARK        IL 60467‐1152
MATHIS, CHARLES R        6507 CARNATION RD                                                                        DAYTON            OH 45449‐3053
MATHIS, CHARLOTTE M      2630 FRED INMAN RD                                                                       HOLLADAY          TN 38341‐6413
MATHIS, CHRISTINA M      13495 PEAR ST                                                                            CARLETON          MI 48117‐9435
MATHIS, CHRISTOPHER C    820 HOWARD ST                                                                            MARINA DEL REY    CA 90292
MATHIS, CLINTON B        ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST, THE                               PHILADELPHIA      PA 19107
                                                          WANAMAKER BUILDING
MATHIS, CONSTANCE A      2020 29TH                                                                                BEDFORD          IN   47421‐5304
MATHIS, CONSTANCE A      2020 29TH ST                                                                             BEDFORD          IN   47421‐5304
MATHIS, DANNY R          108 SW 139TH ST                                                                          OKLAHOMA CITY    OK   73170‐6835
MATHIS, DAVID            1637B BARNETT ROAD                                                                       COLUMBUS         OH   43227‐3524
MATHIS, DAVID            1637 BARNETT RD                                                                          COLUMBUS         OH   43227‐3524
MATHIS, DAVID L          11515 TORREY ROAD                                                                        FENTON           MI   48430‐9631
MATHIS, DAVID L          11515 TORREY RD                                                                          FENTON           MI   48430‐9631
MATHIS, DEIDREE B        901 JORDAN DR                                                                            TROY             MI   48098‐5629
MATHIS, DEIDREE BROOKS   901 JORDAN DR                                                                            TROY             MI   48098‐5629
MATHIS, DELBERT W        308 MERTLAND AVE                                                                         DAYTON           OH   45431‐1829
MATHIS, DIANA            108 SW 139TH STREET                                                                      OKLAHOMA CITY    OK   73170‐6835
MATHIS, DIANA M          222 E 29TH ST                                                                            WILMINGTON       DE   19802‐3632
MATHIS, DIANE MARIE      11612 SILVER LAKE RD                                                                     BYRON            MI   48418‐9046
MATHIS, DIANE MARIE      11612 E SILVER LAKE RD                                                                   BYRON            MI   48418‐9115
MATHIS, DONALD R         PO BOX 15338                                                                             FORT WORTH       TX   76119
MATHIS, DONALD R         4228 LITTLEJOHN AVE                                                                      FORT WORTH       TX   76105‐4245
MATHIS, DONNA E          348 N GALLOWAY ST                                                                        XENIA            OH   45385‐2306
MATHIS, DONNA M          12125 N ELMS RD                                                                          CLIO             MI   48420‐9426
MATHIS, DWIGHT R         333 N UPLAND AVE                                                                         DAYTON           OH   45417‐1661
MATHIS, ELAINE           2114 PLEASANT VIEW AVE                                                                   LANSING          MI   48910‐0350
MATHIS, ELEANOR J        8155 E FAIRMOUNT DR              UNIT 2016                                               DENVER           CO   80230‐6838
MATHIS, ERNEST K         42211 JUDD RD                                                                            BELLEVILLE       MI   48111‐9122
MATHIS, ERNEST K         1241 REDLEAF LN                                                                          YPSILANTI        MI   48198
MATHIS, ERNEST KEITH     42211 JUDD RD                                                                            BELLEVILLE       MI   48111‐9122
MATHIS, ERNESTINE J      UNIT B221                        9508 EAST RIGGS ROAD                                    SUN LAKES        AZ   85248‐7527
MATHIS, ERNESTINE J      9508 E RIGGS RD                  UNIT B221                                               SUN LAKES        AZ   85248‐7527
MATHIS, EVERLEE W        ROUTE 1, BOX 4                   SADIE JOHNSON RD                                        NEWVILLE         AL   36353‐9801
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Name                   Address1                           Address2            Address3         Address4         City              State Zip
MATHIS, FRANCES B      1872 STEPHENSON RD                                                                       COFFEE SPRINGS     AL 36318‐4844
MATHIS, FRANK          BILBREY & HYLIA                    8724 PIN OAK RD                                       EDWARDSVILLE        IL 62025‐6822
MATHIS, FRANKLIN D     5521 MEADOWCREST DR                                                                      FLINT              MI 48532‐4042
MATHIS, GEORGE D       1406 W VAN TREES ST                                                                      WASHINGTON         IN 47501‐2310
MATHIS, GEORGE E       3904 ALAMIDA                                                                             BALTIMORE          MD 21218
MATHIS, GEORGE E       4175 OLD SUWANEE RD                                                                      BUFORD             GA 30518‐4908
MATHIS, GEORGE P       3138 ESTHER DR                                                                           GAINESVILLE        GA 30504‐5531
MATHIS, GEORGIA M      11223 W 64TH TER APT 504                                                                 SHAWNEE            KS 66203‐3374
MATHIS, GLENN L        950 SHERWOOD CIR                                                                         FOREST PARK        GA 30297‐3060
MATHIS, GURTIS         2002 NELLE ST                                                                            ANDERSON           IN 46016‐3750
MATHIS, GWYN R         3491 SOUTHGATE DR                                                                        FLINT              MI 48507‐3222
MATHIS, H L            GUY WILLIAM S                      PO BOX 509                                            MCCOMB             MS 39649‐0509
MATHIS, HAZEL          1166 CARPENTER RD                                                                        FLINT              MI 48505‐2306
MATHIS, HAZEL R.       2379 DAVIS RIDGE RD                                                                      RINGGOLD           GA 30736‐5977
MATHIS, HELEN G        549 BO SMITH RD                                                                          LAMAR              SC 29069‐9247
MATHIS, INEZ           1339 DILLON                                                                              SAGINAW            MI 48601‐1327
MATHIS, JAMES C        18600 MACKINAW TRL                                                                       TUSTIN             MI 49688
MATHIS, JAMES D        10048 DUFFIELD RD                                                                        GAINES             MI 48436‐9785
MATHIS, JAMES F        1010 WATER ST                                                                            CAHOKIA             IL 62206‐1641
MATHIS, JAMES L        109 DONCASTER LN                                                                         BLUFFTON           SC 29909‐6003
MATHIS, JAMES M        39 CASCADE DR                                                                            PENFIELD           NY 14526‐1939
MATHIS, JAMES R        115 YAGER RD                                                                             CLINTON            OH 44216‐9468
MATHIS, JANINE         48611 DEQUINDRE RD                                                                       ROCHESTER HILLS    MI 48307‐4309
MATHIS, JANINE M       48611 DEQUINDRE RD                                                                       ROCHESTER HILLS    MI 48307‐4309
MATHIS, JERALD M       12227 DUFFIELD RD                                                                        GAINES             MI 48436‐9715
MATHIS, JERRY          128 JONES ST                                                                             MOUNT CLEMENS      MI 48043‐5725
MATHIS, JIM E          25008 LEHIGH ST                                                                          DEARBORN HTS       MI 48125‐1639
MATHIS, JIMMY L        19133 JOANN ST                                                                           DETROIT            MI 48205‐2209
MATHIS, JOAN M         3984 W ROSE CITY RD                                                                      WEST BRANCH        MI 48661‐8430
MATHIS, JOAN M         17515 LEAL AVE                                                                           CERRITOS           CA 90703‐8613
MATHIS, JOHN H         109 HOOVER AVE                                                                           KENMORE            NY 14217‐2517
MATHIS, JOHN W         2630 FRED INMAN RD                                                                       HOLLADAY           TN 38341‐6413
MATHIS, JOHNNIE        1401 W GENESEE ST                                                                        FLINT              MI 48504‐2576
MATHIS, JOHNNY C       391 OAK GROVE RD                                                                         DAWSONVILLE        GA 30534
MATHIS, KAREN S        308 MERTLAND AVE                                                                         DAYTON             OH 45431‐1829
MATHIS, KATHIE         8101 CANTALOUPE AVE                                                                      PANORAMA CITY      CA 91402‐5410
MATHIS, KATHLEEN G     5521 MEADOWCREST DR                                                                      FLINT              MI 48532‐4042
MATHIS, KENNETH L      17584 ARDMORE ST                                                                         DETROIT            MI 48235‐2603
MATHIS, LANNY L        1715 PIPER LN APT 103                                                                    DAYTON             OH 45440‐5095
MATHIS, LARRY W        521 WHEATON WAY                                                                          EDDYVILLE          KY 42038‐8866
MATHIS, LAWRENCE L     6462 ROYAL CLUB DR                                                                       FLUSHING           MI 48433‐3536
MATHIS, LILLIAN        441 HUNTER AVE                                                                           SCOTCH PLAINS      NJ 07076
MATHIS, LINDA M        11870 OAKLAND AVENUE                                                                     MOUNT MORRIS       MI 48458‐1471
MATHIS, LINDA M        133 FIRESIDE LN                                                                          CAMILLUS           NY 13031‐1939
MATHIS, LINDER MARIE
MATHIS, LULA M         7707 KLEINGREEN LANE                                                                     SPRING            TX   77379‐7227
MATHIS, MABEL C        PO BOX 1005                                                                              GAINESBORO        TN   38562‐8562
MATHIS, MARGARET A     4820 NE 13TH ST                    PINERIDGE ESTATE                                      OCALA             FL   34470‐1116
MATHIS, MARGARET L     25 CARLTON DR                                                                            HAMILTON          OH   45015‐2180
MATHIS, MARIE J        2644 ARROWOOD DR                                                                         EAST POINT        GA   30344‐3810
MATHIS, MARILYN        916 WORTHINGTON DR,                                                                      DE SOTO           TX   75115‐3473
MATHIS, MARVEL J       1950 E 24TH ST SP 161                                                                    YUMA              AZ   85365‐3148
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Name                    Address1                      Address2                    Address3          Address4         City           State Zip
MATHIS, MARY A          610 KIRBY PL                                                                                 SHREVEPORT      LA 71104‐3120
MATHIS, MARY J          561 PERSIMMON DRIVE                                                                          SHARPSBURG      GA 30277‐0277
MATHIS, MATTIE C        2006 GEORGETOWN BLVD          APT 11                                                         LANSING         MI 48910
MATHIS, MATTIE C        2006 GEORGETOWN BLVD APT 11                                                                  LANSING         MI 48911‐5470
MATHIS, MATTIE C        APT 11                        2006 GEORGETOWN BOULEVARD                                      LANSING         MI 48911‐5470
MATHIS, MICHAEL J       12125 N ELMS RD                                                                              CLIO            MI 48420‐9426
MATHIS, MICHAEL JOHN    12125 N ELMS RD                                                                              CLIO            MI 48420‐9426
MATHIS, NORMAN          7523 ABRAHAM CT                                                                              DAYTON          OH 45414‐1719
MATHIS, NORMAN G        6103 JACKSON AVE                                                                             BERKELEY        MO 63134‐2119
MATHIS, ONEAL E         1000 LORILEA DR E                                                                            NORTHPORT       AL 35473‐7670
MATHIS, PAUL            2204 FAIRPORT AVE                                                                            DAYTON          OH 45406‐2536
MATHIS, PAUL C          42416 BROWNSTONE DR                                                                          NOVI            MI 48377‐2885
MATHIS, PAUL E          8271 WEST V‐W AVENUE                                                                         SCHOOLCRAFT     MI 49087
MATHIS, PEARL S         7311 LA MESA DR                                                                              HOUSTON         TX 77083‐4200
MATHIS, PHILLIP N       4920 PARK AVE                                                                                KANSAS CITY     MO 64130‐2632
MATHIS, PLENTY Q        44 W CHICAGO AVE                                                                             PONTIAC         MI 48340‐1129
MATHIS, QUEEN           PO BOX 14291                                                                                 MERRILLVILLE    IN 46411‐4291
MATHIS, RANDALL         4419 SKINNER LAKE RD                                                                         LAPEER          MI 48446‐9097
MATHIS, RICHARD L       18968 BARLOW ST                                                                              DETROIT         MI 48205‐2143
MATHIS, RICKY ARTHUR    11870 OAKLAND AVE                                                                            MOUNT MORRIS    MI 48458‐1471
MATHIS, ROBERT A        901 JORDAN DR                                                                                TROY            MI 48098‐5629
MATHIS, ROBERT B        1008 COURTSIDE DR                                                                            ARLINGTON       TX 76002‐5536
MATHIS, ROBERT BRYANT   1008 COURTSIDE DR                                                                            ARLINGTON       TX 76002‐5536
MATHIS, ROBERT C        14807 BENWOOD AVE                                                                            CLEVELAND       OH 44128‐1121
MATHIS, ROBERT E        2650 ROBINWOOD BLVD                                                                          NEWTON FALLS    OH 44444‐1172
MATHIS, ROBERT F        443 MCLAREN LN                C/O KATHLEEN A SAEGER       & KAREN A SWARD                    CARMEL          IN 46032‐9198
MATHIS, RODERICK E      APT 1905                      4520 NAUTILUS CIRCLE                                           FORT WORTH      TX 76106‐2460
MATHIS, RUBEN           356 GRANT ST                                                                                 SAGINAW         MI 48604‐2010
MATHIS, RUBY            8893 MONSANTO DR                                                                             CINCINNATI      OH 45231‐4641
MATHIS, RUSSELL G       129 W. POPLAR STREET          P.O. BOX 475                                                   PHILLIPSBURG    OH 45354‐5354
MATHIS, RUSSELL G       PO BOX 475                    129 W. POPLAR STREET                                           PHILLIPSBURG    OH 45354‐0475
MATHIS, S K             6253 14TH AVE                                                                                MERIDIAN        MS 39305‐1234
MATHIS, SANDRA L        12934 MEMORIAL ST                                                                            DETROIT         MI 48227‐1295
MATHIS, STANLEY         909 LINFIELD RD                                                                              NEWARK          DE 19713‐2410
MATHIS, STEPHANIE R     1908 FIELDSTONE DR                                                                           COLUMBIA        TN 38401‐6852
MATHIS, STEVE M         365 S SHERIDAN AVE                                                                           INDIANAPOLIS    IN 46219‐7412
MATHIS, STEVE MICHAEL   365 S SHERIDAN AVE                                                                           INDIANAPOLIS    IN 46219
MATHIS, SYLVIA          THE TRACY FIRM                5473 BLAIR RD STE 200                                          DALLAS          TX 75231‐4168
MATHIS, TERRY L         2391 S LAKE PLEASANT RD                                                                      ATTICA          MI 48412‐9791
MATHIS, THERESA A       311 JONES ST                                                                                 LANSING         MI 48912‐1738
MATHIS, THOMAS E        8358 GALLANT FOX TRL                                                                         FLUSHING        MI 48433‐8826
MATHIS, THOMAS R        25710 MULROY DR                                                                              SOUTHFIELD      MI 48033‐2716
MATHIS, TIMOTHY         4909 MIAMI LN                                                                                FLINT           MI 48504‐2075
MATHIS, TOMMIE L        3540 ESPACE CT                                                                               FLORISSANT      MO 63034‐2230
MATHIS, TRACEY B        825 TINTERN ABBOTT CT                                                                        NASHVILLE       TN 37211‐7146
MATHIS, TRESEA A        2650 ROBINWOOD BLVD                                                                          NEWTON FALLS    OH 44444‐1172
MATHIS, VERDELL         18910 FILMORE ST                                                                             SOUTHFIELD      MI 48075‐7205
MATHIS, VERNON          6648 CENTER ST                                                                               MENTOR          OH 44060‐4119
MATHIS, VIRGINIA M      90 OLD OAK LN                                                                                LOUISBURG       NC 27549‐7550
MATHIS, WALTER N        24 LOTT AVE SE                                                                               MARIETTA        GA 30067‐7425
MATHIS, WESLEY M        205 N OLIVE ST                                                                               COLE CAMP       MO 65325‐1233
MATHIS, WILLIE E        2002 NELLE ST                                                                                ANDERSON        IN 46016
                                   09-50026-mg              Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                               Address1                              Address2                    Address3   Address4         City               State Zip
MATHIS, WILLIE E                   PO BOX 203050                                                                                 ARLINGTON           TX 76006‐9150
MATHIS, WILMA J                    1429 SNOWBIRD LANE                                                                            OFALLON             MO 63366‐3202
MATHIS, WILMA W                    1637 BARNETT RD                                                                               COLUMBUS            OH 43227‐3524
MATHISEN MECHANICAL INC            MATHISEN CO                           1359 OAK RIDGE RD                                       OXFORD              MI 48371‐3544
MATHISON, CLARENCE O               10274 S 400 W                                                                                 PENDLETON           IN 46064‐9516
MATHISON, DEBRA
MATHISON, GERALD C                 14851 JEFFREY RD SPC 39                                                                       IRVINE             CA   92618‐8039
MATHISON, GUSTAV I                 11334 SCHULTZ DR                                                                              DELTON             MI   49046‐8674
MATHISON, JAMES A                  355 HOOK RD.                                                                                  PENNSVILLE         NJ   08070
MATHISON, JOHN E                   7221 LAUR RD                                                                                  NIAGARA FALLS      NY   14304‐5415
MATHISON, JUDY K                   34515 CHOPE PL                                                                                CLINTON TWP        MI   48035‐3321
MATHISON, MACKLIN L                15294 STATE ROAD 238 E                                                                        FISHERS            IN   46037‐6829
MATHISON, TODD C                   2126 HIGH RIDGE TRL APT 303                                                                   FITCHBURG          WI   53713‐3609
MATHISON, TODD C                   2290 HIGH RIDGE TRL                                                                           MADISON            WI   53713‐3626
MATHLEY, ALEXANDER                 C/O ROBERT LEE MATHLEY                8528 LAKE CLEARWATER LANE   APT 1028                    INDIANAPOLIS       IN   46240
MATHON, ANTHONY                    192‐23 104TH AVENUE                                                                           HOLLIS             NY   11412
MATHPROS, INC.                     13 GARDEN ROAD                        SUITE 200                                               NATICK             MA   01760
MATHSOFT ENGINEERING & EDUCATION   101 MAIN ST                                                                                   CAMBRIDGE          MA   02142
INC
MATHSON, GAIL A                    1411 EAST GAYLORD STREET                                                                      MT PLEASANT        MI   48858‐3626
MATHUES, THOMAS O                  1930 SLEDD CREEK RD                                                                           GILBERTSVILLE      KY   42044‐8814
MATHUES, THOMAS P                  718 NORTH ELM STREET                                                                          CRESTON            IA   50801‐1435
MATHUR                             2112 BEL AIR RD STE 1                                                                         FALLSTON           MD   21047‐2786
MATHUR AMIT                        50 AVALON DR UNIT 7234                                                                        MILFORD            CT   06460‐8957
MATHUR, BHAVNA                     24483 CAVENDISH AVE E                                                                         NOVI               MI   48375‐2361
MATHUR, PRAGATI                    50465 EAGLES NEST                                                                             NORTHVILLE         MI   48168‐6808
MATHURA, GHARBHARAN R              3925 LAKE OAKLAND SHORES DR                                                                   WATERFORD          MI   48329‐2160
MATHURA, NANCY A                   3925 LAKE OAKLAND SHORES DR                                                                   WATERFORD          MI   48329‐2160
MATHURA, RAVI R                    4026 LAKE OAKLAND SHORES DR           DRIVE                                                   WATERFORD          MI   48329‐2161
MATHURIN, EGBERT K                 27203 WINTERSET CIR                                                                           FARMINGTON HILLS   MI   48334‐4065
MATHURIN, EGBERT K P               27203 WINTERSET CIR                                                                           FARMINGTON HILLS   MI   48334‐4065
MATHUS, ROBERT L                   2497 10TH STREET                                                                              MONROE             MI   48162‐4332
MATHUS, THURMAN J                  PO BOX 430541                                                                                 PONTIAC            MI   48343‐0541
MATHWORKS INC THE                  39555 ORCHARD HILL PL STE 280                                                                 NOVI               MI   48375‐5538
MATHWORKS INC, THE                 39555 ORCHARD HILL PL STE 280                                                                 NOVI               MI   48375‐5538
MATHWORKS INC, THE                 3 APPLE HILL DR                                                                               NATICK             MA   01760‐2081
MATHWORKS THE/MA                   3 APPLE HILL DR                                                                               NATICK             MA   01760‐2081
MATHWORKS, INC
MATHWORKS, INC.                    ATTN: OFFICE OF THE GENERAL COUNSEL   3 APPLE HILL DR                                         NATICK             MA 01760‐2081

MATHWORKS, INC.                    RENEE RICE                            3 APPLE HILL DR                                         NATICK             MA   01760‐2081
MATHY, DENNIS R                    8977 DELIN THOMAS RD                                                                          KINSMAN            OH   44428‐9544
MATHYS, DIANNE                     21039 STRAWBERRY HILLS DR                                                                     MACOMB             MI   48044‐2276
MATHYS, JERRY J                    21039 STRAWBERRY HILLS DR                                                                     MACOMB             MI   48044‐2276
MATHYS, LEE L                      1609 E 2ND ST                                                                                 DEFIANCE           OH   43512‐2443
MATIA CHEVROLET INC JACK           JANIK DORMAN & WINTER LLP             9200 S HILLS BLVD STE 300                               CLEVELAND          OH   44147‐3524
MATIA, EILEEN R                    5354 GUADELOUPE WAY                                                                           NAPLES             FL   34119‐9577
MATIANA DELVALLE                   3345 SUNNYVIEW DR                                                                             SAGINAW            MI   48604‐1737
MATIAS BERNAEZ                     1008 WHEATSHEAF RD                                                                            LINDEN             NJ   07036‐2919
MATIAS CAMPOS                      1721 SE 5TH TER                                                                               LEES SUMMIT        MO   64063‐6124
MATIAS GARZA                       7449 W. 55TH ST.                                                                              SUMMIT             IL   60501
MATIAS GILBERTO                    7403 E KNOXVILLE ST                                                                           BROKEN ARROW       OK   74014‐2845
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Name                        Address1                        Address2                      Address3   Address4                  City              State Zip
MATIAS LOUIS                2500 E GRAND BLVD                                                                                  DETROIT            MI 48211‐2006
MATIAS PONCE                1319 E 8TH ST                                                                                      ANDERSON           IN 46012‐5753
MATIAS RIVERA               THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                        HOUSTON            TX 77017
MATIAS, BERTHA E            6004 KOMNSKY ST                                                                                    CHICAGO             IL 60629
MATIAS, EVELYN              P.O. BOX 1568                                                            AGUADA PR 00602‐1568
                                                                                                     PUERTO RICO
MATIAS, HARRY               1830 E YOSEMITE AVE SPC 239                                                                        MANTECA           CA 95336‐5016
MATIAS, ISAURA M            34 WOOD AVE                                                                                        FRAMINGHAM        MA 01702‐7236
MATIAS, LOUIS
MATIAS, LOUIS M             1931 LONE WOLF LN                                                                                  CANTON            MI   48188‐2070
MATIAS, RECARDO P           2767 BELLE MEADE PL                                                                                COLUMBIA          TN   38401‐7289
MATIASEK, FRANK R           183 CLAREMONT DR                                                                                   BELTON            TX   76513‐6920
MATIASEK, MARY              14610 GARRETT AVE APT 343                                                                          APPLE VALLEY      MN   55124‐8480
MATIBAG, MINERVA            R INHAMBU,390                   ED SANT GERMAIN                          SAO PAULO BRAZIL 04520‐
                                                                                                     010
MATIC, GEORGE T             4 SPYGLASS HL                                                                                      FAIRPORT          NY   14450‐4306
MATIC, GORDANA              6246 MCCANDLISH RD                                                                                 GRAND BLANC       MI   48439‐9555
MATIC, GREGORY J            4831 WESTCHESTER DR APT 212                                                                        YOUNGSTOWN        OH   44515
MATIC, ROBERT M             38552 TEE TIME RD                                                                                  DADE CITY         FL   33525‐0853
MATIC, SOFIJA               9175 PRELOG LN                                                                                     KIRTLAND          OH   44094‐5182
MATICA JR, JOHN S           2792 ELECTRIC ST                                                                                   WYANDOTTE         MI   48192‐4919
MATICA, DONNA J             P.O. 530662                                                                                        LIVONIA           MI   48153
MATICE, DANNY W             4115 E TAFT RD                                                                                     SAINT JOHNS       MI   48879‐9158
MATICE, FRANK E             1685 GREVEL CT                                                                                     MUSKEGON          MI   49444‐7750
MATICE, FREDERICK O         3541 GLENBURN CT                                                                                   NEW PORT RICHEY   FL   34655‐2601
MATICE, VIEANNA S           4191 JOAN DR                                                                                       DORR              MI   49323‐9413
MATICE, VIEANNA STAR        4191 JOAN DR                                                                                       DORR              MI   49323‐9413
MATICE, ZACHARY L           10343 NORTHRIDGE CT                                                                                WHITE LAKE        MI   48386‐2641
MATICH ‐ KOST, VERONICA C   724 HENRY RUFF RD                                                                                  WESTLAND          MI   48186‐5051
MATICH I I, JACK M          2298 JONES RD                                                                                      WATERFORD         MI   48327‐1226
MATICH II, JACK M           2298 JONES RD                                                                                      WATERFORD         MI   48327‐1226
MATICH JACK                 2298 JONES RD                                                                                      WATERFORD         MI   48327‐1226
MATICH, BEULAH L            1026 DUNDEE CIRCLE                                                                                 LEESBURG          FL   34788‐7683
MATICH, NICHOLAS P          790 GALLANT FOX LN                                                                                 UNION             KY   41091‐9055
MATICH, NORMA J             284 DOREMUS AVE                                                                                    WATERFORD         MI   48328‐2820
MATICH, PAUL B              16715 ENGLISH GARDEN DR                                                                            MACOMB            MI   48042‐1199
MATICH, THEODORE            1026 DUNDEE CIR                                                                                    LEESBURG          FL   34788‐7683
MATICHUK, THOMAS E          5181 WESTMORELAND DR                                                                               TROY              MI   48085‐6401
MATICS, RONALD J            32 MOUNT DASHAN LN                                                                                 TOMS RIVER        NJ   08753‐1533
MATIE L OSTRUM              4631 BROUSSEAU RD                                                                                  OSSINEKE          MI   49766
MATIE OSTRUM                4631 BROUSSEAU RD                                                                                  OSSINEKE          MI   49766‐9753
MATIE SCOTT                 PO BOX 96                                                                                          FRENCHMAN BYU     AR   72338‐0096
MATIELLA, DAVID             5810 SANTA MARIA AV             SUITE 205 83‐102                                                   LAREDO            TX   78041
MATIENZO IRMA               13540 SW 59TH LN                                                                                   MIAMI             FL   33183
MATIEVICH, STEVE            1172 BANCROFT ST                                                                                   DELTONA           FL   32725‐5819
MATIJAKOVIC, ANTON          9187 YORK RD                                                                                       NORTH ROYALTON    OH   44133‐1515
MATIJEGA, EDWARD P          5170 N GARFIELD RD                                                                                 PINCONNING        MI   48650‐8944
MATIJEGA, EVELYN MARIE      101 W WHITEFEATHER RD                                                                              PINCONNING        MI   48650‐7948
MATIJEGA, LEWIS             1611 W CODY ESTEY RD                                                                               PINCONNING        MI   48650‐8953
MATIJEGA, STELLA            326 E 3RD STREET                                                                                   PINCONNING        MI   48650‐9630
MATIJEGA, STELLA            326 E 3RD ST                                                                                       PINCONNING        MI   48650‐9630
MATIJEGA, STEVE A           234 E WHITEFEATHER RD                                                                              PINCONNING        MI   48650‐8919
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Name                       Address1                        Address2           Address3         Address4            City               State Zip
MATIJEVIC, BRANKO          523 JOHNSON PLANK RD NE                                                                 WARREN              OH 44481‐8805
MATIJEVIC, DIANA R         3340 EVERETT HULL RD.                                                                   CORTLAND            OH 44410‐4410
MATIJEVIC, LUCIA           2877 LAMPLIGHT LN                                                                       WILLOUGHBY HILLS    OH 44094‐9147
MATIJEVIC, MICHAELENE R    PO BOX 293                                                                              WEST MIDDLESEX      PA 16159‐0293
MATIJEVIC, NANCY L         523 JOHNSON PLANK ROAD NE                                                               WARREN              OH 44481‐8805
MATIJEVIC, STEVE           3340 EVERETT HULL RD                                                                    CORTLAND            OH 44410‐9706
MATIJEVIC, STIJEPAN        2877 LAMPLIGHT LN                                                                       WILLOUGHBY HILLS    OH 44094‐9147
MATIJEVIC, ZORA            8310 BRIDLEHURST TRL                                                                    KIRTLAND            OH 44094‐5134
MATIJEVIC‐FLANNERY, MAJA   1116 TUDOR RD                                                                           DAYTON              OH 45419‐3723
MATIJEVICH, MARSHALL J     6220 E KLUG RD                                                                          MILTON              WI 53563‐9316
MATIJEVICH, MILAN          159 ROMAIN RD                                                                           PULASKI             PA 16143‐1219
MATIJEVICH, SUSAN          1425 S OAKHILL AVE                                                                      JANESVILLE          WI 53546‐5574
MATIJIW, IRENE             75 ECHO HILL DR                                                                         ROCHESTER           NY 14609‐1441
MATILDA ASTON              9525 KELLINGWORTH CT                                                                    SACRAMENTO          CA 95827‐1078
MATILDA BAKER              1225 HANNON RD                                                                          MOBILE              AL 36605‐3642
MATILDA BARTA              7930 ROYAL HART DR              DEER PARK                                               NEW PORT RICHEY     FL 34653‐5051
MATILDA BOLASH             572 HILLIARD RD                                                                         ELYRIA              OH 44035‐3740
MATILDA BOLDUC             396 S POST RD                                                                           WEST WINDSOR        NJ 08550‐3211
MATILDA BOUFFORD           3618 CLARENCE ST                                                                        MELVINDALE          MI 48122‐1174
MATILDA DEBOER             2042 GORDON ST NW                                                                       GRAND RAPIDS        MI 49504‐3822
MATILDA GARCIA             2001 W MOUNHOPE AVE             APT 316                                                 LANSING             MI 48910
MATILDA GIBSON             5547 E BAYWOOD AVE                                                                      MESA                AZ 85206‐1429
MATILDA GRUBBS             9900 N COUNTY ROAD 525 W                                                                GASTON              IN 47342‐8967
MATILDA HALASH             18232 ROBERT ST                                                                         MELVINDALE          MI 48122
MATILDA HAMITER            PO BOX 690561                                                                           ORLANDO             FL 32869‐0561
MATILDA HAYNES             5917 CANDLEWOOD LN                                                                      SHREVEPORT          LA 71119‐6303
MATILDA HELM               3935 GREEN CREST DRIVE                                                                  HOUSTON             TX 77082
MATILDA J HALASH           18232 ROBERT ST                                                                         MELVINDALE          MI 48122
MATILDA J SMITHERS         3412 N BUCHANAN ST                                                                      ARLINGTON           VA 22207
MATILDA J TRAMMELL         8642 BLUEBIRD CT                                                                        WEST CHESTER        OH 45069
MATILDA JAROUS             716 MAYCROFT RD                                                                         LANSING             MI 48917‐2051
MATILDA JOHNSON            3358 SHANNON RD                                                                         BURTON              MI 48529‐1831
MATILDA KAMINSKI           333 RIDGELAND CIR                                                                       HOWARD              OH 43028‐8301
MATILDA L DUDLEY           772 N PAUL LAURENCE DUNBAR ST                                                           DAYTON              OH 45402
MATILDA LOWE               6987 PROSPERITY CIR                                                                     SARASOTA            FL 34238‐1509
MATILDA M LEE              901 PALLISTER ST APT 1015                                                               DETROIT             MI 48202‐2676
MATILDA MAES               5493 CLAREMONT AVE APT 1                                                                OAKLAND             CA 94618‐1153
MATILDA PAVLIK             6125 MICHAEL DR                                                                         BROOK PARK          OH 44142‐3009
MATILDA RAMIREZ            21552 BIRCH HILL DR                                                                     DIAMOND BAR         CA 91765‐3101
MATILDA RANDALL            180 S COLONY DR APT 301                                                                 SAGINAW             MI 48638‐6057
MATILDA TREMPER            PO BOX 614                                                                              PASADENA            MD 21123‐0614
MATILDA VANDYKE            9515 HIDDEN SPRINGS RD                                                                  HOPEWELL            OH 43746‐9765
MATILDA WEISENBORN         679 MCCLURE AVE                                                                         SHARON              PA 16146‐4111
MATILDA Z WEISENBORN       679 MCCLURE AVE                                                                         SHARON              PA 16146‐4111
MATILDE ALVARADO           1449 ROOSEVELT AVE                                                                      LANSING             MI 48915‐2237
MATILDE CORONADO           10256 68TH AVE                                                                          ALLENDALE           MI 49401‐8359
MATILDE ESTRADA            2803 FRANKEL ST                                                                         LAKEWOOD            CA 90712‐3637
MATILDE FRAGOSO            4504 S SAWYER AVE                                                                       CHICAGO              IL 60632‐2906
MATILDE GOSGNACH           596 HANFORD DR                                                                          HIGHLAND HTS        OH 44143‐2055
MATILDE HARDIMAN           240 LEMYRA ST SE                                                                        WYOMING             MI 49548‐1246
MATILDE HEINDEL            DORFSTRASSE 11                                                      14552 WILDENBRUCH
                                                                                               GERMANY
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Name                          Address1                        Address2                        Address3                    Address4         City               State Zip
MATILDE LIPIEJKO              12263 WOODLEY AVE                                                                                            GRANADA HILLS       CA 91344‐2848
MATILDE NINO, INDIVIDUALLY    JOSH W HOPKINS                  SICO WHITE HOELSCHER & BRAUGH   802 N CARANCAHUA SUITE                       CORPUS CHRISTI      TX 78470
                                                              LLP                             900
MATILDE NINO, INDIVIDUALLY    ATTN: JOSH W HOPKINS            SICO WHITE HOELSCHER & BRAUGH   802 NORTH CARANCAHUA, STE                    CORPUS CHRISTI      TX   78470
                                                              LLP                             900
MATILDE SILVAS                APT 6                           330 STATE STREET                                                             CHARLOTTE          MI 48813‐1742
MATILE MELVIN DEAN (429389)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA 23510
                                                              STREET, SUITE 600
MATILE, MELVIN DEAN           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA 23510‐2212
                                                              STREET, SUITE 600
MATINREA FABEO HOT            STAMPINGS INC                   19200 GLENDALE ST               FRMLY MILFORD FABRICATING                    DETROIT            MI 48223‐3459

MATIS, ANNA                   6260 W 54TH ST                                                                                               PARMA              OH    44129‐4732
MATIS, BERNARD S              6260 W 54TH ST                                                                                               PARMA              OH    44129‐4732
MATIS, DONALD A               919 ONAGER CT                                                                                                ENGLEWOOD          FL    34223‐5603
MATIS, HELEN                  66 MAIN ST                                                                                                   ROEBLING           NJ    08554‐1218
MATIS, JEFFREY S              5303 STONE RIDGE CIR                                                                                         BEREA              OH    44017‐3115
MATIS, JOHN J                 39 SUNSET LN                                                                                                 COLUMBUS           NJ    08022‐1109
MATIS, MARY                   2206 AVERY CT                                                                                                SOMERSET           NJ    08873‐6089
MATIS, MARY                   2206 AVERY COURT                                                                                             SUMMERSET          NJ    08873
MATIS, RICHARD J              793 TURBEVILLE TER                                                                                           THE VILLAGES       FL    32162‐1455
MATISCIK, RODNEY H            7101 VIRGINIA PKWY APT 1318                                                                                  MCKINNEY           TX    75071‐5763
MATISIAK, WALTER S            602 FRONT ST                                                                                                 LISLE              IL    60532‐2206
MATISON, JAMES D              4704 GENOA DR                                                                                                FERNANDINA BEACH   FL    32034‐5507
MATISSE, CARL A               7348 STONEVALLEY BLF                                                                                         CLARKSTON          MI    48348
MATISZ, IDA A                 8440 ERICSON DRIVE                                                                                           WILLIAMSVILLE      NY    14221‐6225
MATIUKAS, BARBARA             564 EMBURY RD                                                                                                ROCHESTER          NY    14625‐1214
MATIUKAS, BARBARA             564 EMBURY ROAD                                                                                              ROCHESTER          NY    14625‐1214
MATIYA, HELEN G               7457 W 775 N                                                                                                 CULVER             IN    46511‐9334
MATIYA, JOHN A                11346 S OAK PARK AVE                                                                                         WORTH              IL    60482‐2150
MATIYA, JOHN G                11835 E 50 N                                                                                                 KNOX               IN    46534‐9668
MATIYA, LUCILLE A             PO BOX 891                                                                                                   SOLDOTNA           AK    99669‐0891
MATIYA, MICHAEL JACOB         10407 THATCHER CT                                                                                            FORT WAYNE         IN    46845‐1092
MATIYA, THOMAS J              10407 THATCHER CT                                                                                            FORT WAYNE         IN    46845‐1092
MATJAZ MILAC                  PERICEVA 13                     LJUBLJANA
MATKINS, EDGAR S              5236 EDGEMERE DR                                                                                             FLORISSANT         MO    63033‐7735
MATKINS, EUGENE G             611 S BUCKINGHAM CT                                                                                          ANDERSON           IN    46013‐4465
MATKINS, EVELYN M             56 SOVEREIGN CIR APT O                                                                                       PUEBLO             CO    81005‐1836
MATKOVIC, MARIJA              1623 INVERNESS AVE                                                                                           LANSING            MI    48915‐1286
MATKOVIC, MARIJAN             1623 INVERNESS AVE                                                                                           LANSING            MI    48915‐1286
MATKOVIC, MARIO               9358 CHESAPEAKE DR                                                                                           N ROYALTON         OH    44133‐1775
MATKOVICH, ANTHONY J          5615 S NEVA AVE                                                                                              CHICAGO            IL    60638‐3126
MATKOVICH, DARLINE G          6237 BLUE LAKE RD NE                                                                                         KALKASKA           MI    49646‐9352
MATKOVICH, JOHN A             6447 THUNDERBIRD DR                                                                                          INDIAN HEAD PARK   IL    60525‐4362
MATKOVICH, SHARON L           1997 BEATTY DR.                                                                                              HUBBARD            OH    44425‐9710
MATKOVICH, SHARON L           1997 BEATTY RD                                                                                               HUBBARD            OH    44425‐9710
MATKOWSKI ROBERT              7 BROOKSIDE DR                                                                                               LINCOLN            RI    02865‐3726
MATKOWSKI, HELEN M            59 BROADWAY                                                                                                  BAYONNE            NJ    07002‐3406
MATLA, BERTON J               821 CORUNNA AVE                                                                                              OWOSSO             MI    48867‐3729
MATLA, BERTON JAMES           821 CORUNNA AVE                                                                                              OWOSSO             MI    48867‐3729
MATLA, DIANE L                6 PARK AVE                                                                                                   OAKFIELD           NY    14125‐1026
MATLA, FRANCES                6 PARK AVE                                                                                                   OAKFIELD           NY    14125‐1026
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Name                       Address1                         Address2                        Address3   Address4         City              State Zip
MATLA, KATHRYN D           9242 LAWNCREST RD                                                                            CLIO               MI 48420‐9763
MATLA, PATRICIA J          57 PINEWOOD KNL                                                                              ROCHESTER          NY 14624
MATLACK INC                PO BOX 8789                      ONE ROLLINS PLAZA                                           WILMINGTON         DE 19899‐8789
MATLACK, ERIC W            11228 MATTHEW LN                                                                             HARTLAND           MI 48353‐2637
MATLAGE, BERNARD J         2909 TUCSON DR                                                                               JOLIET              IL 60432‐9605
MATLAK, HELEN M.           620 GARFIELD ST                                                                              CARNEGIE           PA 15106‐3915
MATLAKOSKI, EILEEN         TOWN VILLAGE STERLING HIEGHTS    2841 MAPLE DR                                               PLOVER             WI 54467‐3662
MATLAS, GARY A             55432 KINGSWAY DR                                                                            SHELBY TOWNSHIP    MI 48316‐1079
MATLES, RICHARD C          263 E MARYKNOLL RD                                                                           ROCHESTER HILLS    MI 48309‐1956
MATLEWSKI, JOHN O          1593 RYAN ST                                                                                 FLINT              MI 48532‐5067
MATLEWSKI, NANCY J         1593 RYAN ST                                                                                 FLINT              MI 48532‐5067
MATLEY, RICHARD H          17721 W PLEASANT LAKE RD                                                                     MANCHESTER         MI 48158‐8529
MATLICK, GARETH O          8380 NUZUM RD                                                                                WEEKI WACHEE       FL 34613‐4543
MATLINGA, MARK S           111 S BASSETT RD                                                                             LAPEER             MI 48446‐2833
MATLOCK BARBARA            5694 SOUTHWEST 40TH PLACE                                                                    OCALA              FL 34474‐9590
MATLOCK JIMMIE (635640)    WATERS & KRAUSE                  300 CONTINENTAL BLVD STE 500                                EL SEGUNDO         CA 90245‐5050
MATLOCK JR, MICHAEL J      3113 STATE ROAD 580 LOT 118                                                                  SAFETY HARBOR      FL 34695‐5911
MATLOCK JR, MICHAEL J      PO BOX 565                                                                                   GRAND ISLAND       NY 14072‐0565
MATLOCK JR, MICHAEL J      3113 ST RD 580                   LOT 118                                                     SAFETY HARBOR      FL 34695
MATLOCK STANLEY (491646)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                            PROFESSIONAL BLDG
MATLOCK STEPHEN A          5116 OVERLOOK PT                                                                             HAMBURG           NY   14075‐3410
MATLOCK, ALVIS             12309 SAINT JOHN AVE                                                                         CLEVELAND         OH   44111‐5141
MATLOCK, BERNADINE W       21430 WINCHESTER ST                                                                          SOUTHFIELD        MI   48076‐5679
MATLOCK, BOBBY             PORTER & MALOUF PA               4670 MCWILLIE DR                                            JACKSON           MS   39206‐5621
MATLOCK, CALEF J           19188 SNOWDEN ST                                                                             DETROIT           MI   48235
MATLOCK, CHRISTINA M       1492 SUNNY ACRES DR                                                                          BEDFORD           IN   47421‐7827
MATLOCK, DELMER R          4520 BELSAY RD                                                                               GRAND BLANC       MI   48439‐9120
MATLOCK, DELMER REX        4520 BELSAY RD                                                                               GRAND BLANC       MI   48439‐9120
MATLOCK, DENISE            594 QUARRY LANE NORTHEAST                                                                    WARREN            OH   44483‐4535
MATLOCK, DONALD L          937 MARION ST                                                                                DAYTONA BEACH     FL   32114‐6005
MATLOCK, DONALD L          1038 EAST RICHMOND STREET                                                                    KOKOMO            IN   46901‐3116
MATLOCK, DOROTHY S         34350 SHADEWOOD CIR                                                                          LEESBURG          FL   34788‐8586
MATLOCK, DOUGLAS L         73 CRAWFORD ST                   APT 2A                                                      OXFORD            MI   48371‐4907
MATLOCK, GARRICK L         594 QUARRY LANE NORTHEAST                                                                    WARREN            OH   44483‐4535
MATLOCK, GARY L            84 CARPENTER DR                                                                              MITCHELL          IN   47446‐6603
MATLOCK, GENTRY L          3855 LONGHILL DR SE                                                                          WARREN            OH   44484
MATLOCK, GEORGE W          17303 TEPPERT ST                                                                             DETROIT           MI   48234‐3843
MATLOCK, HAROLD E          1398 CHISSOM TRL                                                                             FLINT             MI   48532‐2308
MATLOCK, JAMES R           48265 MIDDLE RIDGE RD                                                                        AMHERST           OH   44001‐9788
MATLOCK, JAMES W           PO BOX 85                                                                                    DOVER             ID   83825
MATLOCK, JANE
MATLOCK, JIMMIE            WATERS & KRAUSE                  300 CONTINENTAL BLVD STE 500                                EL SEGUNDO        CA   90245‐5050
MATLOCK, JOHN              11 SADDLER CRT                                                                               BEDFORD           IN   47421
MATLOCK, JOHNNY L          206 TIMBER CREEK DRIVE                                                                       TUTTLE            OK   73089‐8522
MATLOCK, JOSEPH            28980 HAZELWOOD ST                                                                           INKSTER           MI   48141‐1660
MATLOCK, KAREN L           4630 W 2ND ST                                                                                DAYTON            OH   45417‐1360
MATLOCK, KATHERINE         3525 LYON AVE APT BA                                                                         OAKLAND           CA   94601‐3874
MATLOCK, KATHERINE         3525 LYON AVE                                                                                OAKLAND           CA   94601
MATLOCK, KENNETH L         8033 CLOVERLAWN STREET                                                                       DETROIT           MI   48204‐3225
MATLOCK, KENNETH L         119 ELIZABETH ST                                                                             OWOSSO            MI   48867‐1715
MATLOCK, KIM               809 N EPPINGTON DR                                                                           TROTWOOD          OH   45426‐2521
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Name                         Address1                       Address2            Address3         Address4                 City              State Zip
MATLOCK, LATISHA N           1321 REDBLUFF DR APT 10                                                                      WEST CARROLLTON    OH 45449‐3122
MATLOCK, LELAND              3876 COVENTRY VALLEY DR                                                                      WATERFORD          MI 48329‐3920
MATLOCK, LETITIA V           38 WEST ST                                                                                   BORDENTOWN         NJ 08505‐1750
MATLOCK, LOIS E              10491 SHERIDAN AVE                                                                           MONTROSE           MI 48457‐9002
MATLOCK, MARTHA J            219 E WALNUT STREET                                                                          GREENTOWN          IN 46936
MATLOCK, MICHELLE M          324 HILLCREST AVE                                                                            TRENTON            NJ 08618‐2510
MATLOCK, MORRISON H          7973 W HYLAND AVE                                                                            DAYTON             OH 45424‐4431
MATLOCK, MORRISON H          7973 HYLAND AVE                                                                              DAYTON             OH 45424‐4431
MATLOCK, NILE R              PO BOX 199                                                                                   MORRISTOWN         IN 46161‐0199
MATLOCK, ODIE L              4086 HALWORTH RD                                                                             DAYTON             OH 45405‐1501
MATLOCK, OPHELIA             971 SALISBURY AVE                                                                            FLINT              MI 48532‐3860
MATLOCK, OTIS N              PO BOX 112                                                                                   PIGGOTT            AR 72454‐0112
MATLOCK, OVETA               5521 AUTUMN WOODS DR APT 7                                                                   DAYTON             OH 45426
MATLOCK, PATRICIA J          3525 JANRUE CT                                                                               FORT WORTH         TX 76117‐3512
MATLOCK, QUINTIN G           PO BOX 148                     103 DENI DR                                                   UNION LAKE         MI 48387‐0148
MATLOCK, RICHARD S           MOODY EDWARD O                 801 W 4TH ST                                                  LITTLE ROCK        AR 72201‐2107
MATLOCK, RUBY                MOODY EDWARD O                 801 W 4TH ST                                                  LITTLE ROCK        AR 72201‐2107
MATLOCK, RUSSELL E           8060 LAND O LAKES DR                                                                         KALAMAZOO          MI 49048‐9315
MATLOCK, RUTH C              498 HIDDEN VALLEY LANE                                                                       O'FALLON           MO 63366‐1372
MATLOCK, SAMUEL H            1328 S BANNER AVE                                                                            INDIANAPOLIS       IN 46241‐2910
MATLOCK, SARAH J             133 E ELDRIDGE                                                                               FLINT              MI 48505‐3431
MATLOCK, SHIRLEE A           189 RAINBOW DR PMB 8948                                                                      LIVINGSTON         TX 77399‐1089
MATLOCK, SHIRLEY A           4086 HALWORTH RD                                                                             DAYTON             OH 45405‐1501
MATLOCK, ST C                11806 E 59TH TER                                                                             RAYTOWN            MO 64133‐4305
MATLOCK, ST CLAIR            11806 E 59TH TER                                                                             KANSAS CITY        MO 64133‐4305
MATLOCK, STANLEY D           47841 HUGHES RD                                                                              WELLINGTON         OH 44090‐8901
MATLOCK, STEPHEN A           5116 OVERLOOK PT                                                                             HAMBURG            NY 14075‐3410
MATLOCK, STEPHEN ANTHONY     5116 OVERLOOK PT                                                                             HAMBURG            NY 14075‐3410
MATLOCK, TONEY L             5505 MOOREFIELD DR                                                                           HUBER HEIGHTS      OH 45424‐3834
MATLOCK, VERONICA            5734 BANCROFT DR                                                                             INDEPENDENCE       OH 44131‐2002
MATLOCK, WILLIAM E           PO BOX 4504                                                                                  FLINT              MI 48504‐0504
MATLOCK,KAREN L              4630 W 2ND ST                                                                                DAYTON             OH 45417‐1360
MATLOSZ, MARGUERITE L        207 SANDY CV                                                                                 TINTON FALLS       NJ 07753‐7741
MATLOSZ, MARGUERITE L        207 SANDY COVE                                                                               TINTON FALLS       NJ 07753
MATLYN MAINTENANCE LTD       9236 97 AVE                                                         GRANDE PRAIRIE AB T8V
                                                                                                 4P6 CANADA
MATMOROS AUTOS SA DE CV      CARRETARA A PIEDRAS NEGRAS                                          RAMOS ARIZPE MEXICO EM
                                                                                                 00000 MEXICO
MATNEY CONSTRUCTION CO INC   PO BOX 1196                                                                                  VANSANT           VA   24656‐1196
MATNEY FRED                  MATNEY, FRED                   3 BARLOW CT                                                   DEFIANCE          OH   43512
MATNEY, ANNETTE              732 WHITE PINE DR                                                                            BLAND             VA   24315‐5449
MATNEY, BERNICE              4526 COUNTY ROAD 29,                                                                         GALION            OH   44833
MATNEY, BOBBY J              7026 E PASTURE LN                                                                            MAUMEE            OH   43537‐9217
MATNEY, BRADLEY E            401 SOUTH FILLMORE STREET                                                                    MOUNT AYR         IA   50854‐2105
MATNEY, CARL D               1014 STEVENSON RD                                                                            XENIA             OH   45385‐7022
MATNEY, CHARLES D            1058 S W BREZZZY POINT                                                                       DUNNELLON         FL   34431‐2782
MATNEY, CHARLES D            1058 SW BREEZY POINT DR                                                                      DUNNELLON         FL   34431‐2782
MATNEY, CHARLES R            2790 HUNTINGTON DR                                                                           TROY              OH   45373‐8219
MATNEY, DARRELL W            307 W CAROLINE ST                                                                            FENTON            MI   48430‐2809
MATNEY, FARRIS R             6039 CYPRESS GARDENS BLVD      NO. 298                                                       WINTER HAVEN      FL   33884‐4115
MATNEY, FARRIS R             6039 CYPRESS GARDEN BLVD       NO 298                                                        WINTERHAVEN       FL   33884‐4115
MATNEY, FRED                 3 BARLOW CT                                                                                  DEFIANCE          OH   43512
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Name                     Address1                        Address2            Address3         Address4         City            State Zip
MATNEY, FRED             C/O CENTRAL INSURANCE CO        PO BOX 353                                            VAN WERT         OH 45891‐9938
MATNEY, FREDDY W         3 BARLOW CT                                                                           DEFIANCE         OH 43512‐8862
MATNEY, HERMAN C         225 HARMONS CREEK RD                                                                  POCA             WV 25159‐9083
MATNEY, INEZ L           PO BOX 985                                                                            FAIRBORN         OH 45324‐0985
MATNEY, JAMES L          2351 E 1100 S                                                                         FAIRMOUNT        IN 46928‐9335
MATNEY, JAMES S          405 NORTON AVE                                                                        SARALAND         AL 36571‐2315
MATNEY, JEANETTE V       4173 MISSION TRACE BLVD                                                               TALLAHASSEE      FL 32303‐1739
MATNEY, JOSEPH           6550 AUBURN ST                                                                        DETROIT          MI 48228‐3988
MATNEY, KENNETH R        9107 SHARP RD                                                                         SWARTZ CREEK     MI 48473‐9179
MATNEY, LARRY R          5980 GOSHEN ROAD                                                                      GOSHEN           OH 45122‐9428
MATNEY, LARRY R          5980 GOSHEN RD                                                                        GOSHEN           OH 45122‐9428
MATNEY, LILLIAN C        118 CANADIAN DR                                                                       SCOTTSBORO       AL 35769‐6041
MATNEY, MARJORIE M       3106 E 7TH ST                                                                         ANDERSON         IN 46012‐3832
MATNEY, MARSHALL P       258 COLGATE AVE                                                                       DUNDALK          MD 21222‐4210
MATNEY, MYRON E          7915 S MAPLE DR                                                                       DALEVILLE        IN 47334‐9131
MATNEY, NORMA J          6090 BEN CREEK ROAD                                                                   SAINT LEONARD    MD 20685‐2021
MATNEY, ODIS F           2461 N LONG LAKE RD                                                                   FENTON           MI 48430‐8839
MATNEY, PAM              702 BELFAST ST                                                                        LEWISBURG        TN 37091‐3418
MATNEY, PATRICIA J       102 BUFFALO RD                                                                        LAWRENCEBURG     TN 38464‐3106
MATNEY, PATRICIA JOYCE   102 BUFFALO RD                                                                        LAWRENCEBURG     TN 38464‐3106
MATNEY, PAUL             8375 DODGE RD                                                                         MONTROSE         MI 48457‐9133
MATNEY, ROBERT L         4526 COUNTY ROAD 29                                                                   GALION           OH 44833‐9648
MATNEY, SANFORD          470 RATCLIFF LN                                                                       CEDAR BLUFF      VA 24609‐8759
MATNEY, SANFORD          135 SAMUEL RATCLIFF DR                                                                CEDAR BLUFF      VA 24609
MATNEY‐DAHLIE, WENDY A   14150 HIGHLAND CENTER RD                                                              DEFIANCE         OH 43512‐8847
MATO GRACIC              568 STRUMBLY DR                                                                       HIGHLAND HTS     OH 44143‐1952
MATO OBRADOVIC           8315 S 79TH AVE                                                                       JUSTICE           IL 60458‐2339
MATO PENGA               PO BOX 7644                                                                           TAHOE CITY       CA 96145‐7644
MATO ZAKIC               5415 S MCVICKER AVE                                                                   CHICAGO           IL 60638‐2635
MATOLA, RUDOLPH M        5678 MOUNT EVERETT RD                                                                 HUBBARD          OH 44425‐3105
MATONAK, EMMA VISTINS    7550 PLEASANT HILL DR                                                                 PARMA            OH 44130
MATONE MUSIC LLC         3075 SAND WEDGE CIR NW                                                                KENNESAW         GA 30144‐2073
MATONE, LILLIE           28416 MARSHALL ST                                                                     SOUTHFIELD       MI 48076‐3018
MATONEK, MARK G          3316 VAN BUREN                                                                        REESE            MI 48757
MATONI, RICHARD F        1030 BOHEMIA MILL RD                                                                  MIDDLETOWN       DE 19709‐8860
MATONIS, JULIUS D        8033 NAGLE AVE                                                                        BURBANK           IL 60459‐1727
MATORA, FRED R           25760 YORK RD                                                                         ROYAL OAK        MI 48067‐3020
MATOS HECTOR             236 W ANN ARBOR AVE                                                                   PONTIAC          MI 48340‐1804
MATOS, ADA M             19 LOUIS ST                                                                           PARLIN           NJ 08859‐1903
MATOS, DOMINGO           71 CHATHAM LN                                                                         YOUNGSTOWN       OH 44505‐4807
MATOS, FLOR M            CALLE 9 EE6 URB BORINGUEN                                                             CABO ROJO        PR 00623
MATOS, GLORIA E          5631 W COLTER ST APT 1112                                                             GLENDALE         AZ 85301‐6848
MATOS, HECTOR            236 W ANN ARBOR AVE                                                                   PONTIAC          MI 48340‐1804
MATOS, JOSE L            113 ARGUS ST                                                                          BUFFALO          NY 14207‐1231
MATOS, JOSE LOUIS        113 ARGUS ST                                                                          BUFFALO          NY 14207‐1231
MATOS, JOSE M            30 LORING ST                                                                          HUDSON           MA 01749‐2328
MATOS, LUIS A            URB VISTA ALLEGRE CALLE 114                                                           VILLA ALBA       PR 00766
MATOS, LUIS A            HC 1 BOX 5335                                                                         VILLALBA         PR 00766‐9855
MATOS, LUIS A            URB VISTA ALLEGRE               114 CALLE AMAPOLA                                     VILLALVA         PR 00766
MATOS, MARCELLO M        21055 YACHT CLUB DR             AP 1009                                               AVENTURA         FL 33180
MATOS, MARIA A           2 CLEARVIEW DR                                                                        SANDY HOOK       CT 06482‐1334
MATOS, MARIA A           2 CLEARVIEW DRIVE                                                                     SANDY HOOK       CT 06482‐1334
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Name                                   Address1                          Address2                        Address3   Address4               City                State Zip
MATOS, NICHOLS J                       1055 EVA HARBOR RD                                                                                  EVA                  TN 38333‐6025
MATOS, RAMON A                         PO BOX 22081                                                                                        TRENTON              NJ 08607‐0081
MATOSH, VICTOR G                       7336 PINEHURST ST                                                                                   DEARBORN             MI 48126‐1512
MATOSHERNANDEZ, JOSE                   HC6 BOX 61 605                                                                                      CAMUY                PR 00627
MATOSIC JR, PAUL M                     25 TEMPLE ST APT 608                                                                                NEWBURYPORT          MA 01950‐2736
MATOSKI, ZAGORKA                       54207 IROQUOIS LN                                                                                   SHELBY TOWNSHIP      MI 48315‐1127
MATOSKY JR, JOHN W                     5071 LITTLE RICHMOND RD                                                                             TROTWOOD             OH 45426‐3207
MATOSKY, MARGARET W                    260 W EVANSTON RD 387                                                                               TIPP CITY            OH 45371
MATOSSIAN RAFFEE MD                    881 BRADFORD AVE                                                                                    WESTFIELD            NJ 07090‐3006
MATOUKA, JOANN                         54577 COVENTRY LN                                                                                   SHELBY TWP           MI 48315‐1621
MATOUKA, JOANN M                       54577 COVENTRY LN                                                                                   SHELBY TWP           MI 48315‐1621
MATOUKA, MICHAEL F                     54577 COVENTRY LN                                                                                   SHELBY TOWNSHIP      MI 48315‐1621
MATOUQ, REGINA L                       17102 LOUISE CT                                                                                     DAVISBURG            MI 48350‐3908
MATOUQ, REGINA LYNN                    17102 LOUISE CT                                                                                     DAVISBURG            MI 48350‐3908
MATOUSEK, GEORGE J                     3218 S 43RD ST                                                                                      MILWAUKEE            WI 53219‐4803
MATOUSEK, JOHN E                       301 EDA CT                                                                                          ESSEXVILLE           MI 48732‐1125
MATOVICH DONALD (ESTATE OF) (489142)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD           OH 44067
                                                                         PROFESSIONAL BLDG
MATOVICH, THEODORE D                   1705 DANNLEY DR                                                                                     BRUNSWICK           OH   44212‐3913
MATOVSKI, JAGODA                       5736 STONEY PL S                                                                                    SHELBY TOWNSHIP     MI   48316‐4929
MATOVSKI, KOCE                         58953 CARRIAGE LN                                                                                   SOUTH LYON          MI   48178‐1570
MATOWSKI, FRANK                        4541 ALURA PL                                                                                       SAGINAW             MI   48604‐1031
MATRACIA, MICHAEL A                    1294 E COONPATH RD                                                                                  SPENCER             IN   47460‐6797
MATRANGA SR., PAUL J                   147 BRIAN DR                                                                                        EPHRATA             PA   17522‐9416
MATRANGA, ANGELINA                     CEDAR MANOR NURSING HOME          CEDAR LANE                                                        OSSINING            NY   10562
MATRANGA, CAROL P                      6802 SANTA SUSANA PASS RD                                                                           SIMI VALLEY         CA   93063‐4906
MATRANGA, GLORIA J                     1040 VIOLET AVE LOT 2                                                                               HYDE PARK           NY   12538‐1966
MATRANGA, JOE                          17830 CONTADOR DR                                                                                   ROWLAND HEIGHTS     CA   91748‐4326
MATRAS, HELEN                          26354 ANN ARBOR TRAIL                                                                               DEARBORN            MI   48127‐1104
MATRE, DONALD C                        6703 CINCINNATI DAYTON RD                                                                           LIBERTY TOWNSHIP    OH   45044‐9134
MATREJEK, ALBERTA A                    3225 FRANCES SLOCUM TRL                                                                             MARION              IN   46952‐9796
MATRHEW ZITO                           CAROLE ZITO                       2120 HARBOURSIDE DR             APT 651                           LONG BOAT KEY       FL   34228
MATRICARDI, DONALD J                   7208 FOREST HILL AVE                                                                                POLAND              OH   44514‐3729
MATRIE MORGAN                          8314 DALLASBURG RD                                                                                  MORROW              OH   45152‐9527
MATRILLE, BERNARD A                    1685 NE 46TH ST                                                                                     OAKLAND PARK        FL   33334‐5627
MATRISCIANO, WILMAGENE L               651 N ROSE DR APT D302                                                                              PLACENTIA           CA   92870‐7563
MATRISCIANO, WILMAGENE L               651 NORTH ROSE DRIVE #D302                                                                          PLACENTIA           CA   92870‐2870
MATRISIAN, ANNA                        3438 CALERA DR                                                                                      HOLIDAY             FL   34690‐2309
MATRISS BENEDICT                       MATRISS, BENEDICT                 1930 E MARLTON PIKE SUITE Q29                                     CHERRY HILL         NJ   08003
MATRISS, BENEDICT                      KIMMEL & SILVERMAN PC             1930 E MARLTON PIKE SUITE Q29                                     CHERRY HILL         NJ   08003
MATRIX 053001 01 02 2008
MATRIX BOOKS INC                       C/O PROMETHEUS NEMESIS BOOK C     2186 PINAR PL                                                     DEL MAR             CA   92014‐3348
MATRIX DES/ALGONQUIN                   2413 W ALGONQUIN RD               #311                                                              ALGONQUIN           IL   60102
MATRIX DOCUMENT IMAGING INC            527 E ROWLAND ST STE 215                                                                            COVINA              CA   91723‐3267
MATRIX ENGR LTD                        1241 JARVIS AVE                   LOF ADDRESS CHANGE 4/14/93                                        ELK GROVE VILLAGE   IL   60007‐2301
MATRIX EXPEDITED SERVICE LLC           4268 HOLIDAY DR                                                                                     FLINT               MI   48507‐3515
MATRIX EXPEDITED SERVICE LLC           MATT HARE                         4268 HOLIDAY DR                                                   FLINT               MI   48507‐3515
MATRIX HUMAN SERVICES                  120 PARSONS ST                                                                                      DETROIT             MI   48201‐2002
MATRIX INTERNATIONAL LTD               EAST MILL RD                                                                 BRECHIN ANGUS GB DD9
                                                                                                                    7EP GREAT BRITAIN
MATRIX IV INC                          610 E JUDD ST                                                                                       WOODSTOCK           IL 60098‐3424
MATRIX IV INC                          SANDY STANLEY                     610 E JUDD ST                                                     MADISON HEIGHTS     MI 48071
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Name                              Address1                        Address2                      Address3   Address4         City               State Zip
MATRIX IV INC.                    SANDY STANLEY                   610 E JUDD ST                                             MADISON HEIGHTS     MI 48071
MATRIX METALCRAFT                 24601 MAPLEHURST DR                                                                       CLINTON TOWNSHIP    MI 48036‐1326
MATRIX METALCRAFT INC             RYAN WILLETTE                   24601 MAPLEHURST                                          FINDLAY             OH 45840
MATRIX ONE, INC.                  ATTN: GENERAL COUNSEL           900 CHELMSFORD ST             FL 5                        LOWELL              MA 01851‐8111
MATRIX PAIN MANAGEME              4450 FASHION SQUARE BLVD                                                                  SAGINAW             MI 48603‐1251
MATRIX REHABILITATIO              PO BOX 11407                    DRWR 0981                                                 BIRMINGHAM          AL 35246‐81
MATRIX REHABILITATIO              PO BOX 11407                    DRWR 1029                                                 BIRMINGHAM          AL 35246‐29
MATRIX ROCKSCAP                   5093 MENDIP ST                                                                            OCEANSIDE           CA 92057‐1852
MATRIX SCIENTIFIC                 PO BOX 25067                                                                              COLUMBIA            SC 29224‐5067
MATRIX SOLUTIONS INC              114 MAIN ST STE 201                                                                       MOUNT AIRY          MD 21771‐5430
MATRIX SOLUTIONS INC              116 S MAIN ST                                                                             MOUNT AIRY          MD 21771
MATRIX SYSTEMS & SOLUTIONS        6341 INDUCON DR E                                                                         SANBORN             NY 14132‐9016
MATRIX SYSTEMS INC                6341 INDUCON DR E                                                                         SANBORN             NY 14132‐9016
MATRIX TOOL & MACHINE INC         7870 DIVISION DR                                                                          MENTOR              OH 44060‐4874
MATRIXONE INC                     900 CHELMSFORD ST               FL 5                                                      LOWELL              MA 01851‐8111
MATRIXONE INC
MATRIXONE INC                     ATTN: GENERAL COUNSEL           900 CHELMSFORD ST             FL 5                        LOWELL             MA    01851‐8111
MATRONA, ROBERT W                 11318 PLATTNER DR                                                                         MOKENA             IL    60448‐9227
MATRONE, JOHN P                   9130 TRAVENER CIR                                                                         FREDERICK          MD    21704‐7823
MATRY, LEO F                      1021 GIDDINGS STREET                                                                      DANVILLE           IL    61832‐3416
MATSCHIKOWSKI, BARBARA J          2610 S RIVER RD                                                                           BEAVERTON          MI    48612‐9407
MATSEN, LINDA L                   233 AVONDALE LN                                                                           BOSSIER CITY       LA    71112‐4266
MATSEN, LINDA LOU                 233 AVONDALE LN                                                                           BOSSIER CITY       LA    71112‐4266
MATSEY, THERESA                   713 PARKVIEW TERRACE                                                                      MT PLEASANT        PA    15666‐1717
MATSIL STEVEN                     4701 BONNIE CT                                                                            WEST BLOOMFIELD    MI    48322‐4467
MATSIL, STEVEN                    4701 BONNIE CT                                                                            W BLOOMFIELD       MI    48322‐4467
MATSKO, BETTY L                   2376 FARNSWORTH RD                                                                        LAPEER             MI    48446‐8717
MATSKO, BRENT                     6016 CREEKSIDE DR                                                                         SWARTZ CREEK       MI    48473‐8235
MATSKO, DANIEL J                  10544 LONGVIEW TRL                                                                        CHAGRIN FALLS      OH    44023‐6164
MATSKO, JAMES G                   1525 SUZANNE CT                                                                           FLUSHING           MI    48433‐1863
MATSKO, JUDITH R                  8518 S JENNINGS                                                                           SWARTZ CREEK       MI    48473‐9140
MATSKO, JUDITH R                  8518 JENNINGS RD                                                                          SWARTZ CREEK       MI    48473‐9140
MATSKO, ROBERT M                  1501 FLUSHING RD                                                                          FLUSHING           MI    48433‐2230
MATSKO, RONALD J                  4054 S FERNPARK TER                                                                       INVERNESS          FL    34452‐7608
MATSKO, SHERYL                    14046 LAKESHORE DR                                                                        STERLING HTS       MI    48313‐2137
MATSLER JAMES IRVING (429390)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA    23510
                                                                  STREET, SUITE 600
MATSLER, B S                      PO BOX 1431                     201 DREAM SPIRIT DR                                       SANTA TERESA       NM 88008‐1431
MATSLER, JAMES IRVING             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                  STREET, SUITE 600
MATSON                            PO BOX 899                                                                                HONOLULU            HI   96808‐0899
MATSON (NEW CAR CARRIER)
MATSON ANDREW G (629577)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                  STREET, SUITE 600
MATSON JR, ROBERT W               1354 SHADY PINE WAY APT F2                                                                TARPON SPRINGS     FL    34688‐6404
MATSON JR, ROBERT WENDELL         1043 LASK DR                                                                              FLINT              MI    48532‐3632
MATSON MARGARET                   155 XENIA CT                                                                              MONROE             OH    45050‐1185
MATSON NAVIGATION CO              MORGAN LEWIS & BOCKIUS LLP      ONE MARKET STREET TOWER                                   SAN FRANCISCO      CA    94105
MATSON NAVIGATION COMPANY INC     4605 E ELWOOD ST STE 500                                                                  PHOENIX            AZ    85040‐1978
MATSON NAVIGATION COMPANY, INC.   DAVID HOPPES                    555 12TH STREET                                           OAKLAND            CA    94607
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Name                                Address1                        Address2                      Address3               Address4              City                  State Zip
MATSON WAYNE L (429391)             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                NORFOLK                VA 23510
                                                                    STREET, SUITE 600
MATSON, ANDREW G                    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                NORFOLK               VA 23510‐2212
                                                                    STREET, SUITE 600
MATSON, BILLY J                     4155 PLEASANT VIEW AVENUE                                                                                  DAYTON                OH   45420‐2834
MATSON, CALVIN M                    15920 SE KELLER RD                                                                                         DAMASCUS              OR   97089‐8835
MATSON, CAROLYN B                   42472 WOODWARD AVE APT A1                                                                                  BLOOMFIELD            MI   48304‐5141
MATSON, CHRISTINE A                 13642 ILLINOIS ST                                                                                          WESTMINSTER           CA   92683‐2636
MATSON, DATTIE                      1354 SHADY PINE WAY F‐2                                                                                    TARPON SPRINGS        FL   34688‐6404
MATSON, DAVID M                     409 SAGITTARIUS ST                                                                                         MISSION               TX   78572‐6311
MATSON, DEBRA A                     13882 OSPREY LINKS RD APT 76                                                                               ORLANDO               FL   32837
MATSON, EDWARD C                    2610 NEW RD                                                                                                RANSOMVILLE           NY   14131‐9647
MATSON, ELIZABETH I                 APT 503                         32 WHITE BRIDGE ROAD                                                       NASHVILLE             TN   37205‐1465
MATSON, ELIZABETH I                 32 WHITE BRIDGE RD              # 503                                                                      NASHVILLE             TN   37205
MATSON, FRANK J                     1231 YOSEMITE BLVD                                                                                         BIRMINGHAM            MI   48009‐6599
MATSON, ISOBEL M                    493 STONE FALLS DR SE           APT 103                                                                    ADA                   MI   49301‐7946
MATSON, JAMES G                     4202 ROLLING GATE ROAD                                                                                     FORT COLLINS          CO   80526‐3397
MATSON, JOANNE E                    4202 ROLLING GATE ROAD                                                                                     FORT COLLINS          CO   80526‐3397
MATSON, JODY M                      569 SOUTH COLUMBUS STREET                                                                                  XENIA                 OH   45385‐5699
MATSON, JOHN H                      APT 3                           205 NORTH WISCONSIN STREET                                                 CONRAD                MT   59425‐1656
MATSON, KENNETH L                   14212 TIJUANA TRL                                                                                          HASLET                TX   76052‐4894
MATSON, KENNETH L                   6600 WILLEM DR                                                                                             FINLEYVILLE           PA   15332‐1546
MATSON, KIM                         11017 W CHURCH ST                                                                                          FRANKLIN              WI   53132‐2105
MATSON, MARK A                      3705 RISEDORPH AVE                                                                                         FLINT                 MI   48506‐3127
MATSON, MARK E                      5337 HILLTOP TRL                                                                                           PERRY                 MI   48872‐9169
MATSON, MICHAEL D                   4445 DIXON DR                                                                                              SWARTZ CREEK          MI   48473‐8279
MATSON, NOLAN J                     106 TRUAX RD BOX 8A                                                                                        CLOVERDALE            OH   45827
MATSON, ROBERT F                    36 PINEHURST PL                                                                                            SPRINGBORO            OH   45066‐9518
MATSON, ROBERT H                    PO BOX 1250                                                                                                WELCHES               OR   97067‐1250
MATSON, ROLLAND J                   32370 US 36                                                                                                WALHONDING            OH   43843
MATSON, ROLLIN L                    11387 HARTEL RD                                                                                            GRAND LEDGE           MI   48837‐9164
MATSON, SCOTT                       34 MARAVILLA WAY                                                                                           HOT SPRINGS VILLAGE   AR   71909‐7985
MATSON, SHERYL                      205 SOUTH FOURTH ST                                                                                        YOUNGWOOD             PA   15697
MATSON, URSULA                      106 TRUAX RD BOX 8A                                                                                        CLOVERDALE            OH   45827‐9766
MATSON, VIOLA S                     32370 US 36                                                                                                WALHONDING            OH   43843‐9703
MATSON, WAYNE L                     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                NORFOLK               VA   23510‐2212
                                                                    STREET, SUITE 600
MATSOS, PAUL E                      26 KINTORE CT                                                                                              BALTIMORE             MD   21234‐3456
MATSOURIS WILLIAM & LUCILLE         1695 N DUCK CREEK RD                                                                                       NORTH JACKSON         OH   44451‐9658
MATSUCHITA                          MIRANDA CROSS                   C/O PLASTIKON INDUSTRIES      688 SANDOVAL WAY                             DEXTER                MI   48130
MATSUDA, WALLACE C                  701 RYAN ST                                                                                                OWOSSO                MI   48867‐3433
MATSUMURA, ALICE K                  13 SPRING LN                                                                                               MORGAN HILL           CA   95037‐6112
MATSUO, LILLIAN S                   4125 PAKOLU PL                                                                                             HONOLULU              HI   96816‐3930
MATSURA, ROBERT J                   5510 CASPER DR                                                                                             TROY                  MI   48085‐3304
MATSUSHITA                          RACHEL SANTORO                  C/O BROWN CORPORATION         314 S. STEELE STREET   OAKVILLE ON CANADA
MATSUSHITA ELECTRIC                 2 PANASONIC WAY                                                                                            SECAUCUS              NJ   07094‐2917
MATSUSHITA ELECTRIC CORP            DAVID SULLIVAN                  PANASONIC DE TAMAULIPAS       LOTE 3 MANZANZ 6 AVE   CD REYNOSA TM 88730
                                                                                                  INDUSRTIA              MEXICO
MATSUSHITA ELECTRIC CORP OF AM      1101 JOAQUIN CAVAZOS BLVD                                                                                  LOS INDIOS            TX 78567
MATSUSHITA ELECTRIC CORP OF AM      776 HIGHWAY 74 S                                                                                           PEACHTREE CITY        GA 30269‐3004
MATSUSHITA ELECTRIC CORP OF AMERICA 776 HIGHWAY 74 S                                                                                           PEACHTREE CITY        GA 30269‐3004
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Name                                Address1                              Address2                     Address3                 Address4                   City              State Zip
MATSUSHITA ELECTRIC CORP OR AMERICA 26455 AMERICAN DR                     PANASONIC AUTOMOTIVE SYSTEMS                                                     SOUTHFIELD         MI 48034‐6114

MATSUSHITA ELECTRIC IND CO LTD        PANASONIC AUTOMOTIVE SYS CO         SSF PANASONIC TOWER 4‐12‐4     HIGASHI‐SHINAGAWA KU   140‐8587 JAPAN JAPAN
                                                                                                         TOKYO
MATSUSHITA ELECTRIC INDUSTRIAL        4‐12‐4 HIGASHISHINAGAWA                                                                   SHINAGAWA KU TOKYO JP
                                                                                                                                140‐0002 JAPAN
MATSUSHITA ELECTRIC WORKS LTD         1‐2‐1 NISHI 25 JO KITA                                                                    OBIHIRO HOKKAIDO 080‐
                                                                                                                                2465 JAPAN
MATSUSHITA ELECTRIC WORKS LTD         CENTINERA 1729 KM 10.5              PARQUE INDUSTRIAL CACHANILLA                          MEXICALI BJ 21600 MEXICO

MATSUSHITA ELECTRIC WORKS LTD         RASTKO JOVANOVIC                    1777 STERGIOS ROAD STE. 6                                                        LA VERNE          CA 91750
MATSUSHITA ELECTRONIC COMPONEN        AV INDUSTRIAL DEL NORTE MZ 6 L                                                            REYNOSA TM 88730
                                                                                                                                MEXICO
MATSUSHITA ELECTRONIC COMPONEN        TOM MODRELL                         PANASONIC                      5105 NATIONAL DR.                                 UBLY              MI 48475
MATSUSHITA ELECTRONIC COMPONEN        TOM MODRELL                         5105 NATIONAL DR               PANASONIC                                         KNOXVILLE         TN 37914‐6518
MATSUSHITA ELECTRONIC COMPONENTS      5105 NATIONAL DR                                                                                                     KNOXVILLE         TN 37914‐6518

MATSUSHITA ELECTRONIC COMPONENTS      AV INDUSTRIAL DEL NORTE MZ 6 LT 3                                                         REYNOSA TM 88730
DE                                                                                                                              MEXICO
MATSUURA, ALVIN M                     1613 N HALE AVE                                                                                                      FULLERTON         CA 92831‐1218
MATSYUK, OSTAP                        30 W 56TH PL                                                                                                         WESTMONT          IL 60559‐2305
MATT
MATT BARTKOWIAK                       5312 ARGIANO XING                                                                                                    FORT WAYNE        IN 46845‐8873
MATT BELILL                           824 HOLLY BUSH DR                                                                                                    HOLLY             MI 48442‐1370
MATT BLATT AUTO SERVICES              1210 DELSEA DR N                                                                                                     GLASSBORO         NJ 08028‐1446
MATT BRILL
MATT BURKINSHAW
MATT BURTON
MATT BURTON JR                        4010 BURGESS ST                                                                                                      FLINT             MI    48504‐2233
MATT CHUBKA                           1150 CAMBRIDGE RD                                                                                                    BERKLEY           MI    48072‐1936
MATT CROXTON JR                       25568 SHIAWASSEE RD APT 681                                                                                          SOUTHFIELD        MI    48033‐3711
MATT CROXTON, JR.                     25568 SHIAWASSEE RD APT 681                                                                                          SOUTHFIELD        MI    48033‐3711
MATT DAVID                            MATT, DAVID                         173 INTREPID LN                                                                  SYRACUSE          NY    13205‐2548
MATT DICKERSON
MATT DILLARD
MATT DIXON                            2
MATT DIXON
MATT E ENGEL                          210 BENSON ST                                                                                                        TILTON             IL   61833‐7904
MATT FLEETWOOD
MATT FRUCHEY
MATT G CARSON                         3280 FRITZ COURT                                                                                                     BEAVERCREEK       OH 45434‐5871
MATT GARDINER
MATT GARRIS                           2295 CHALET DR                                                                                                       ROCHESTER HILLS   MI 48309‐2050
MATT GAY CHEVROLET OLDSMOBILE, INC.   DAVID GAY                           PO BOX 1526                                                                      SYLVANIA          GA 30467‐1526

MATT GAY CHEVROLET OLDSMOBILE, INC. PO BOX 541                                                                                                             SYLVANIA          GA 30467‐0541

MATT GAY CHEVROLET OLDSMOBILE, INC. ATT: DAVID GAY                        PO BOX 541                                                                       SYLVANIA          GA 30467‐0541

MATT GAY CHEVROLET OLDSMOBILE, INC. DAVID GAY                             PO BOX 541                                                                       SYLVANIA          GA 30467‐0541

MATT GOHLKE                           9893 OAK VALLEY DR                                                                                                   CLARKSTON         MI 48348‐4173
                                  09-50026-mg             Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
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Name                              Address1                         Address2                     Address3             Address4           City               State Zip
MATT GREEN                        2120 SPRING ST LOT 59                                                                                 NEW CASTLE          IN 47362‐3851
MATT HASIJA                       4660 SAMPSON DR                                                                                       YOUNGSTOWN          OH 44505‐1244
MATT HEARNS                       6995 LIMERICK LN                                                                                      TROY                MI 48098‐2136
MATT HELD                         305 SATELLITE BLVD NW            REINACH, SWITZERLAND                                                 SUWANEE             GA 30024‐7124
MATT HERRICK                      333 CLOVERDALE PL                                                                                     FLINT               MI 48503‐2346
MATT HILL
MATT HOKETT                       122 STARKY RD                                                                                         HARTSELLE          AL   35640‐8260
MATT HUNT                         1849 PAINTER RD                                                                                       FREDERICKTOWN      OH   43019‐9102
MATT ISSERSTEDT                   719 CARTERS CREEK PIKE                                                                                COLUMBIA           TN   38401‐7246
MATT J BARR                       1920 CARLSBAD CIRCLE APT 302                                                                          NAPERVILLE         IL   60563
MATT J HUNTER                     2124 S MICHIGAN AVE                                                                                   SAGINAW            MI   48602‐1233
MATT J SENICA                     ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON         IL   62024
                                                                   ANGELIDES & BARNERD LLC
MATT K THOMAS                     155 HECKATHORN RD                                                                                     BROOKVILLE         OH 45309
MATT KACZMAREK
MATT KOUDIJS                      914 MOUNT LEBANON CHURCH RD                                                                           ALVATON            KY   42122‐9682
MATT L PAULSON                    1050 E HUMPHREY AVE                                                                                   FLINT              MI   48505‐1510
MATT LAWSON JR                    808 OREN CT                                                                                           GLADWIN            MI   48624‐8372
MATT LUST                         251 LUTHER AVE                                                                                        PONTIAC            MI   48341‐2778
MATT MCDONALD
MATT MEYER                        11296 WILLIAMS CENTER CECIL RD                                                                        SHERWOOD           OH   43556‐9759
MATT MODRCIN                      7021 LATHROP AVE                                                                                      KANSAS CITY        KS   66109‐1820
MATT MONTGOMERY, INC.             RICHARD MONTGOMERY               9000 HIGHWAY 44 E                                                    MOUNT WASHINGTON   KY   40047‐7309
MATT MORAVEK                      3394 BUCKSKIN RD                                                                                      KALAMAZOO          MI   49048
MATT NOVAK                        555 W CORUNNA AVE                                                                                     CORUNNA            MI   48817‐1215
MATT O WEBB                       1108 S GENEVA DR                                                                                      DEWITT             MI   48820‐9537
MATT OLLILA                       3550 APACHE RD                                                                                        VASSAR             MI   48768‐9562
MATT PALOMBO
MATT PRENTICE RESTAURANT GROUP    ATTN MARIANNE                    30100 TELEGRAPH ROAD                                                 BINGHAM FARMS      MI 48025
MATT PRESTON
MATT RAHIJA
MATT REASONS                      609 S WOOD AVE                                                                                        FREDERICKTOWN      MO 63645‐1329
MATT RUSSYN                       BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS         OH 44236
MATT STEIGER
MATT STRICKLING                   6930 DIVINE HWY                                                                                       PORTLAND           MI   48875‐1296
MATT SWINDLE                      38 W WASHINGTON ST                                                                                    MOORESVILLE        IN   46158‐1519
MATT T ROBERTSON                  702 LAWNDALE AVE                                                                                      TILTON             IL   61833‐7964
MATT THOMPSON JR                  231 W DARTMOUTH ST                                                                                    FLINT              MI   48505‐6606
MATT THUL
MATT TURNER AUTOMOTIVE            2109 ROANOKE AVE                                                                                      DALLAS             TX 75235‐3224
MATT VIDETICH                     30015 STOCKTON AVE                                                                                    FARMINGTON HILLS   MI 48336‐3440
MATT WEBB                         1108 S GENEVA DR                                                                                      DEWITT             MI 48820‐9537
MATT WEBER
MATT WEIDENBACH                   2624 BLANCHARD AVE                                                                                    MORAINE            OH 45439‐2132
MATT WIMBLE
MATT'S CADDY SHACK                1475 N MAGNOLIA AVE                                                                                   EL CAJON           CA 92020‐1621
MATT'S DELIVERIES
MATT'S QUICK LUBE                 700 E ELM AVE                                                                                         COALINGA           CA   93210‐1517
MATT'S TRANSMISSION REPAIR INC.   1026 PUUWAI ST                                                                                        HONOLULU           HI   96819‐4330
MATT, DAVID                       GREENE & REID                    173 INTREPID LN                                                      SYRACUSE           NY   13205‐2550
MATT, EUGENE E                    5982 GOSHEN RD                                                                                        GOSHEN             OH   45122‐9428
MATT, INUS L                      5657 HERBERT STREET                                                                                   WESTLAND           MI   48185‐2216
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Name                          Address1                           Address2                     Address3                       Address4                 City                 State Zip
MATT, JAMES R                 RUA JOAQUIM J ESTEVES,60           APTO 61                                                     SAO PAULO SP 04740‐000
                                                                                                                             BRAZIL
MATT, KAREN H                 1556 W BOLIVAR AVE                                                                                                      MILWAUKEE            WI    53221‐2330
MATT, MICHAEL A               537 EAST ST                                                                                                             MILFORD              MI    48381‐1635
MATT, MILDRED C               3722 TOWER BEACH RD                                                                                                     PINCONNING           MI    48650‐9736
MATT, MILDRED C               3722 N TOWER BEACH RD                                                                                                   PINCONNING           MI    48650‐9736
MATT, MYRNA F                 297 N MAIN ST                                                                                                           CAMDEN               OH    45311‐1122
MATT, ROOSEVELT               732 DOVER GLEN DR                                                                                                       ANTIOCH              TN    37013‐1862
MATTA BLAIR, PLC              ATTY FOR CHARTER TOWNSHIP OF       ATT: STEVEN A. MATTA, ESQ.   4145 DUBLIN DRIVE, SUITE 100                            BLOOMFIELD HILLS     MI    48302
                              YPSILANTI, MICHIGAN
MATTA DON                     3393 OTHERDAY CIR                                                                                                       SHAKOPEE             MN 55379‐9615
MATTA FENCE CO                PO BOX 129                                                                                                              NORTH VERSAILLES     PA 15137‐0129
MATTA FRANCESCO MELIS MARIA   1769510                            VIA DIEGO GREGORIO CADELLO                                  9121 CAGLIARI CA ITALY
ASSUNTA                                                          16/18
MATTA, CHARLES E              14321 RIDGE RD                                                                                                          N HUNTINGDON         PA    15642‐6102
MATTA, DAVID R                61372 WEDGEWOOD DR                                                                                                      WASHINGTON           MI    48094‐1578
MATTA, DOLORES A              2390 CRANEWOOD DR                                                                                                       FENTON               MI    48430‐1049
MATTA, IVETTE M               285 E ROYAL COVE CIR                                                                                                    DAVIE                FL    33325‐6775
MATTA, JOHN J                 748 OCEAN PKWY                                                                                                          BERLIN               MD    21811‐1726
MATTA, MICHAEL E              1672 HANES RD                                                                                                           BEAVERCREEK          OH    45432‐5432
MATTACHIONE, FRANK A          3229 W 54TH ST                                                                                                          CLEVELAND            OH    44102‐5758
MATTALIANO, ALFRED M          14518 GOLF RD                                                                                                           ORLAND PARK          IL    60462‐7425
MATTALIANO, GRACE M           9501 W OAK RIDGE DR                                                                                                     SUN CITY             AZ    85351‐2042
MATTALIANO, MICHAEL A         PO BOX 58                                                                                                               WILMINGTON           MA    01887
MATTALIANO, RITA M            4 CORAL DR                                                                                                              MERCERVILLE          NJ    08619‐1514
MATTALYN L HAMMONDS           506 PLAINVILLE DRIVE SOUTHWEST                                                                                          ATLANTA              GA    30331‐4324
MATTANA, KIRK                 1086 MARYLAND ST                                                                                                        GROSSE POINTE PARK   MI    48230‐1347
MATTANA, KIRK W               1086 MARYLAND ST                                                                                                        GROSSE POINTE PARK   MI    48230‐1347
MATTANA, WILLIAM A            37863 SEAWAY CT                                                                                                         HARRISON TWP         MI    48045‐2760
MATTANZA ULISSE               VIA BARCO
MATTAR RITA                   26 N SAGEBRUSH CIR                                                                                                      WICHITA               KS   67230
MATTAR, ELAINE ESTER E        616 SOMERSET DR                                                                                                         FLUSHING              MI   48433‐927
MATTAR, JOSEPH A              53680 WOODBRIDGE DR                                                                                                     SHELBY TWP            MI   48316‐2167
MATTAR, KHALED M              PO BOX 9022                                                                                                             WARREN                MI   48090‐9022
MATTARELLA, BETTY A           6085 COVENTRY DR                                                                                                        SWARTZ CREEK          MI   48473‐8822
MATTARELLA, DAVID W           7297 CENTER RD                                                                                                          MAYVILLE              MI   48744‐9575
MATTARELLA, JOSEPH            6085 COVENTRY DR                                                                                                        SWARTZ CREEK          MI   48473‐8822
MATTARELLA, SAMUEL P          7192 CALKINS RD                                                                                                         FLINT                 MI   48532‐3008
MATTARELLA, WILLIAM J         2710 NATIONAL CITY RD                                                                                                   HALE                  MI   48739‐9580
MATTAS, DIXIE R               2929 15TH AVE                                                                                                           LINDSBORG             KS   67456‐6010
MATTAVI, JAMES N              420 CAYUGA DR                                                                                                           LOUDON                TN   37774‐2164
MATTE MONT‐TREMBLANT          1950 CH. DU VILLAGE                                                                            MONT‐TREMBLANT QC J8E
                                                                                                                             1K4 CANADA
MATTE TROY                    LOUISIANA FARM BUREAU              704 CARONDELET ST                                                                    NEW ORLEANS           LA   70130‐3706
MATTE TROY                    MATTE, TROY                        704 CARONDELET ST                                                                    NEW ORLEANS           LA   70130‐3706
MATTE, BRYAN C                3044 BLUE GRASS LN                                                                                                      SWARTZ CREEK          MI   48473‐7930
MATTE, CRYSTAL SHARP          HOUCK & RIGGLE LLC                 PO BOX 1958                                                                          RUSTON                LA   71273‐1958
MATTE, DAVID G                5148 NORTH SEYMOUR ROAD                                                                                                 FLUSHING              MI   48433‐1065
MATTE, GREGORY P              7800 WILDCAT RD                                                                                                         OVID                  MI   48866‐9656
MATTE, GREGORY PAUL           7800 WILDCAT RD                                                                                                         OVID                  MI   48866‐9656
MATTEA WYNN                   65 STOVER RD                                                                                                            ROCHESTER             NY   14624
MATTEA, RICHARD N             8798 SQUIRE TRL                                                                                                         BELLEVUE              MI   49021
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Name                                Address1                                  Address2                Address3   Address4                    City                  State Zip
MATTEAU, HAROLD J                   54 RIDGE ST                                                                                              EASTCHESTER            NY 10709‐1704
MATTEAU, MARY LOU T                 204 WOODHAVEN DR                                                                                         SEVEN FIELDS           PA 16046‐7826
MATTEAUX, KEVIN                     PO BOX 764                                                                                               SOUTH ORANGE           NJ 07079‐0764
MATTEI STEVE                        16157 COLORADO DR                                                                                        MACOMB                 MI 48042‐2347
MATTEI, ALFEA                       8804 BIRKHILLE                                                                                           STERLING HGTS          MI 48314‐2501
MATTEI, ALFEA                       8804 BIRKHILL DR                                                                                         STERLING HTS           MI 48314‐2501
MATTEI, BRUCE L                     54691 CHIPPEWA CT                                                                                        SHELBY TOWNSHIP        MI 48315‐1119
MATTEI, DEBBY LYNN                  5095 WHITEWAY DR                                                                                         MEMPHIS                TN 38117‐7234
MATTEI, ELIZABETH A                 57081 CURTIS ST                                                                                          WASHINGTON TOWNSHIP    MI 48094‐3844
MATTEI, KENNETH J                   36331 DUKE CT                                                                                            CLINTON TOWNSHIP       MI 48035‐1035
MATTEI, MARIE                       54243 NICHOLAS                                                                                           MACOMB                 MI 48042‐2248
MATTEI, PETER L                     4516 SOUTHSHORE DR                                                                                       METAIRIE               LA 70002‐1429
MATTEI, STEVEN A                    16157 COLORADO DR                                                                                        MACOMB                 MI 48042‐2347
MATTEI, THOMAS A                    156 ELTON AVE                                                                                            YARDVILLE              NJ 08620‐1622
MATTEL INC
MATTEL INC                          333 CONTINENTAL BLVD MI‐0846                                                                             EL SEGUNDO            CA   90245
MATTELIANO                          PO BOX 2719                                                                                              BUFFALO               NY   14240‐2719
MATTELIANO, ANDREW A                28 SWEETWOOD STREET                                                                                      AMHERST               NY   14228
MATTELIANO, SALVATORE V             151 MAPLEVIEW DR                                                                                         AMHERST               NY   14226‐2849
MATTEN, CATHERINE                   918 CONTINENTAL BLVD                                                                                     TOLEDO                OH   43607‐2255
MATTEN, EDDIE H                     1941 GILMARTIN ST                                                                                        FLINT                 MI   48503‐4411
MATTEN, IDA M                       1941 GILMARTIN ST                                                                                        FLINT                 MI   48503‐4411
MATTEO ACCIARI                      VICOLO SANTA LUCIA 1 BOLOGNA 40124

MATTEO CICALO                       13100 BUECHE RD                                                                                          MONTROSE              MI 48457‐9357
MATTEO CIPRIANO                     146 GLENGARRY LN                                                                                         HAINESPORT            NJ 08036‐2260
MATTEO D'ALESSIO                    RIPA DI PORTA TICINESE 57, 20143 MILANO

MATTEO FRANCHI                      VIA BADIA, 82                             25127 BRESCIA ‐ ITALY
MATTEO GURGOGLIONE                  VIA CAVOUR 38                             2059 VIMERCATE          MILANO
MATTEO GURGOGLIONE                  VIA CAVOUR, 38                            20059 VIMERCATE (MI)
MATTEO LOPICCOLO                    46435 BUTTE DR                                                                                           MACOMB                MI   48044‐3148
MATTEO, JOSEPH J                    2284 ORAN DR                                                                                             YOUNGSTOWN            OH   44511‐2239
MATTEO, VINCENT R                   64 ASPEN CIR                                                                                             ALBANY                NY   12208‐1328
MATTEOCCI, LUIGI                    9060 MAPLE RIDGE DR                                                                                      NEWPORT               MI   48166‐9285
MATTEONI PAOLO & STEINER ANNE MARIE C/O MATTEONI PAOLO                        VIALE BRUNO BUOZZI 8               47838 RICCIONI (RN) ITALY

MATTEOTTI, ALBERT                   4135 WINTHROP CIR                                                                                        SOUTHPORT             NC   28461‐8495
MATTER, DEAN A                      2613 W BOGART RD                                                                                         SANDUSKY              OH   44870‐7201
MATTER, ELDON L                     3711 GARY DR                                                                                             CASTALIA              OH   44824‐9715
MATTER, EUGENE E                    82 JUDITH DR                                                                                             CHEEKTOWAGA           NY   14227‐3428
MATTER, EUGENE G                    24 MUSKET LN                                                                                             WHITING               NJ   08759‐1538
MATTER, JILL S                      2605 WILLIAMS RD                                                                                         ST. JOHNS             MI   48879
MATTER, NEAL D                      82 JUDITH DR                                                                                             CHEEKTOWAGA           NY   14227‐3428
MATTER, ROBERT C                    2915 SONATA CT                                                                                           WEST LAFAYETTE        IN   47906‐1415
MATTER, STEVEN L                    PO BOX 84                                                                                                CASTALIA              OH   44824‐0084
MATTERA, ANTHONY J                  2922 SE 8TH PL                                                                                           CAPE CORAL            FL   33904‐3511
MATTERA, MIKE P                     5687 MARTIN RD                                                                                           WARREN                MI   48092‐2634
MATTERN JOHN                        18171 MULBERRY ST                                                                                        RIVERVIEW             MI   48193‐7628
MATTERN, HEATHER                    24725 CREEKSIDE DR                                                                                       FARMINGTON HILLS      MI   48336‐2017
MATTERN, JOHN J                     18171 MULBERRY ST                                                                                        RIVERVIEW             MI   48193‐7628
MATTERN, ROBERT J                   8424 BRIDGE RD                                                                                           GROSSE ILE            MI   48138‐1020
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Name                         Address1                          Address2                     Address3   Address4             City             State Zip
MATTERN, RODGER E            1841 SMOKE BELLEW RD                                                                           LIVERMORE         CA 94550‐8693
MATTERN, SUSAN M             18171 MULBERRY ST                                                                              RIVERVIEW         MI 48193‐7628
MATTERN, THOMAS J            18171 MULBERRY ST                                                                              RIVERVIEW         MI 48193‐7628
MATTES ELMER SR (440816)     ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                   BALTIMORE         MD 21202
                                                               CHARLES CENTER 22ND FLOOR
MATTES HOLDERIED             KARLSTR 91                                                                72351 GEISLINGEN
                                                                                                       GERMANY
MATTES JR, RICHARD C         7565 TOTMAN RD                                                                                 N SYRACUSE       NY   13212‐2533
MATTES, BARBARA D            4123 N MILTON SHOPIERE RD                                                                      MILTON           WI   53563‐9759
MATTES, BERNARD C            37 TOGGLE ST                                                                                   HENDERSON        NV   89012‐2485
MATTES, CAROLE J             4258 KEMPTON RD                                                                                OAKLAND          MD   21550‐6003
MATTES, DENNIS J             2734 JILL PL                                                                                   PORT HUENEME     CA   93041
MATTES, DONALD L             4123 N MILTON SHOPIERE RD                                                                      MILTON           WI   53563‐9759
MATTES, DUANE W              1532 GILMORE DR                                                                                CLAIRTON         PA   15025‐2706
MATTES, ELMER                ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                    BALTIMORE        MD   21202
                                                               CHARLES CENTER 22ND FLOOR
MATTES, FREDERICK A          8312 N WEBSTER RD                                                                              CLIO             MI   48420‐8520
MATTES, KIMBERLY A           64 WILLISON RD                                                                                 GROSSE POINTE    MI   48236‐1563
MATTES, MARY JO C            6123 THISTLE DRIVE                                                                             SAGINAW          MI   48638‐4369
MATTES, PATRICIA             8312 N WEBSTER RD                                                                              CLIO             MI   48420‐8520
MATTES, PAUL F               RR 4 BOX 541                                                                                   KEYSER           WV   26726‐9442
MATTES, PAULINE S            6932 GUNDER AVE                                                                                MIDDLE RIVER     MD   21220‐1075
MATTES, WILLIAM W            1401 MONFORTE DR                  C/O WILLIAM W MATTES JR                                      DAVIDSONVILLE    MD   21035‐1157
MATTESON DAVID               NEED BETTER ADDRESS 11/16/06CP    11853 108TH COURT                                            SEMINOLE         FL   33778
MATTESON EVELINE             PO BOX 873492                                                                                  WASILLA          AK   99687
MATTESON I I I, WINFIELD S   12021 MARSH RD                                                                                 SHELBYVILLE      MI   49344‐9635
MATTESON JESSICA             6775 WEST MONONA DRIVE                                                                         GLENDALE         AZ   85308‐8985
MATTESON JR, JAMES R         PO BOX 36                                                                                      RANSOMVILLE      NY   14131‐0036
MATTESON JR, RICHARD F       5042 CEDAR LAKE RD                                                                             GLADWIN          MI   48624‐9746
MATTESON JR, WINFIELD S      12147 MARSH RD                                                                                 SHELBYVILLE      MI   49344‐9636
MATTESON SERVICE CENTER      419 MULVAIN ST                                                                                 DURAND           IL   61024
MATTESON, BRYAN S            3615 E SADDLE DR                                                                               FORT WAYNE       IN   46804‐3921
MATTESON, CARL W             10058 BUCKSKIN RD                                                                              MARK CENTER      OH   43536‐9723
MATTESON, DALE E             8231 PINE LAKE DR                                                                              DAVISBURG        MI   48350‐2045
MATTESON, DAN H              17902 CHEROKEE DR                                                                              SPRING LAKE      MI   49456‐9019
MATTESON, DARL J             5877 WINDWARD CT                                                                               CLARKSTON        MI   48346‐2776
MATTESON, DAVID W            4685 ORMOND RD                                                                                 DAVISBURG        MI   48350‐3315
MATTESON, DAVID W            106 DUBONNET DR                                                                                DEPEW            NY   14043‐4775
MATTESON, DAVID WESTLY       106 DUBONNET DR                                                                                DEPEW            NY   14043‐4775
MATTESON, E P
MATTESON, EDWARD L           213 ARBOUR LAKE DRIVE                                                                          CANTON           GA   30115‐3839
MATTESON, EVELINE            PO BOX 873492                                                                                  WASILLA          AK   99687
MATTESON, FREDERICK A        96 GILMORE AVENUE                                                                              BINGHAMTON       NY   13901‐1613
MATTESON, GLENN R            993 SCARLET HAZE AVE                                                                           LAS VEGAS        NV   89183‐6374
MATTESON, GLORIA A           9243 E AVENUE R12                                                                              LITTLEROCK       CA   93543‐1241
MATTESON, GLORIA A           9243 E AVE R 12                                                                                LITTLEROCK       CA   93543‐1241
MATTESON, LOUIS A            17109 DIANE DR                                                                                 DAVISBURG        MI   48350‐3934
MATTESON, M P                PO BOX 509                                                                                     CANADIAN LAKES   MI   49346‐0509
MATTESON, MARKAEL T          1233 N OAK RD                                                                                  DAVISON          MI   48423‐9157
MATTESON, MICHAEL R          514 E VAN BUREN ST                                                                             JANESVILLE       WI   53545‐4050
MATTESON, MICHELE L          11608 N 25TH PL                                                                                PHOENIX          AZ   85028‐1838
MATTESON, MICHELLE C         14274 CRYSTAL COVE DR S                                                                        JACKSONVILLE     FL   32224‐3802
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Name                      Address1                       Address2                    Address3   Address4         City               State Zip
MATTESON, ORRIN P         582 E MADISON AVE                                                                      PONTIAC             MI 48340‐2932
MATTESON, PAUL A          2825 S 6TH ST                                                                          KALAMAZOO           MI 49009‐9435
MATTESON, RICHARD F       1488 FOX POINTE CIR                                                                    ANN ARBOR           MI 48108‐8940
MATTESON, SANDRA K        2139 BYRNES DR                                                                         CLIO                MI 48420‐9118
MATTESON, SHIRLEY         1903 PAGE RD. APT.116                                                                  LONGVIEW            TX 75601‐3440
MATTESON, SHIRLEY         1903 PAGE RD APT 116                                                                   LONGVIEW            TX 75601‐3440
MATTESON, STEPHEN D       UNIT D                         2127 HIDDEN MEADOWS DRIVE                               WALLED LAKE         MI 48390‐2578
MATTESON, TERESA          503 CROOKED CREEK RD APT 12                                                            EDGEWOOD            TX 75117‐3342
MATTESON, THOMAS J        4366 EASTPORT DR                                                                       BRIDGEPORT          MI 48722‐9608
MATTESON, THOMAS JAMES    4366 EASTPORT DR                                                                       BRIDGEPORT          MI 48722‐9608
MATTESON, TRACY L         1233 N OAK RD                                                                          DAVISON             MI 48423‐9157
MATTESON, VIRGINIA H      1237 STANLEY AVE                                                                       PONTIAC             MI 48340‐1744
MATTESON, VIVIAN D        12903 E 35TH TER S                                                                     INDEPENDENCE        MO 64055‐3119
MATTESON, WILLIAM D       920 THORNECREST DR                                                                     JANESVILLE          WI 53546‐1786
MATTESON‐RIDOLFI INC      14450 KING RD                                                                          RIVERVIEW           MI 48193‐7939
MATTEUCCI VINCENT T       MATTEUCCI, VINCENT T           13638 ARMSTEAD DRIVE                                    ST LOUIS            MO 63131
MATTEUCCI VINCENT T       MATTEUCCI, VINCENT T
MATTEUCCI, ALBA A         67 FROTHINGHAM ST                                                                      PITTSTON           PA   18640‐3720
MATTEUCCI, LEO C          15448 W CYPRESS POINT DR                                                               SURPRISE           AZ   85374‐2066
MATTEUCCI, THOMAS C       1330 GROVE AVE                                                                         BERWYN             IL   60402‐1222
MATTEUCCI, VINCENT T      13638 ARMSTEAD DR                                                                      SAINT LOUIS        MO   63131‐1513
MATTEUS, HELEN            7337 LARES ST                                                                          PORT CHARLOTTE     FL   33981‐2634
MATTEY, JAMES G           76 ISUHDAVGA CT                                                                        BREVARD            NC   28712‐9221
MATTHAEI, DOROTHY H       801 WEST LONGLAKE ROAD         APT. E‐ 6                                               BLOOMFIELD HILLS   MI   48302
MATTHAI, CHARLES G        5113 WAPITI DR                                                                         FORT WAYNE         IN   46804‐4947
MATTHAI, CHARLES G        3203 DOVE VALLEY LN                                                                    MANSFIELD          TX   76063‐5826
MATTHAI, CHARLES GEORGE   3203 DOVE VALLEY LN                                                                    MANSFIELD          TX   76063‐5826
MATTHAI, JASON C          805 RAMBIN RD                                                                          STONEWALL          LA   71078‐4407
MATTHAI, KATHE            7969 W TROPICANA                                                                       HOLLYWOOD          FL   33023‐2435
MATTHAI, TAMMY L          805 RAMBIN RD                                                                          STONEWALL          LA   71078‐4407
MATTHEIS JR, HENRY G      1237 CROOKED LAKE RD                                                                   FENTON             MI   48430‐1215
MATTHEIS, ARNOLD J        1301 CORRINNE ST                                                                       MIDLAND            MI   48642‐6128
MATTHEIS, BETTY J         7650 SANDYRIDGE,                                                                       PORTAGE            MI   49024
MATTHEIS, CAROL V         7355 SPRING MOUNTAIN DR                                                                EAST SYRACUSE      NY   13057‐3204
MATTHEIS, DANNIE G        PO BOX 10394                                                                           FORT MOHAVE        AZ   86427‐0394
MATTHEIS, EDWARD          6215 COUNTRY WAY N                                                                     SAGINAW            MI   48603‐4218
MATTHEIS, JOHN L          7650 SANDYRIDGE ST                                                                     PORTAGE            MI   49024‐5028
MATTHEIS, LEWIS W         19121 MINT RD                                                                          VICKSBURG          MI   49097
MATTHES, ARTHUR R         11020 MOORISH RD R#5                                                                   BIRCH RUN          MI   48415
MATTHES, DONALD R         2474 N SILVERLEAF WAY                                                                  MERIDIAN           ID   83646‐3966
MATTHES, GEORGE J         1778 COLLEEN DR                                                                        CANYON LAKE        TX   78133‐5314
MATTHES, KLAUS H          2949 THUNDERBIRD DR                                                                    BAY CITY           MI   48706‐3121
MATTHES, LINDA L          2685 E BURT RD                                                                         BURT               MI   48417‐9701
MATTHES, MAX R            1005 N FRANKLIN ST APT 207                                                             WILMINGTON         DE   19806‐4541
MATTHES, ROBERT E         36117 BOYCE DR                                                                         CLINTON TWP        MI   48035‐1414
MATTHES, ROBERT J         2685 E BURT RD                                                                         BURT               MI   48417‐9701
MATTHES, RONALD A         11020 MOORISH RD                                                                       BIRCH RUN          MI   48415‐8577
MATTHES, SUE A            PO BOX 28                                                                              BIRCH RUN          MI   48415‐0028
MATTHES, WILLIAM R        18582 BRIGGS CIR                                                                       PORT CHARLOTTE     FL   33948‐9600
MATTHES, WILLIAM R        46841 ROSELANE DR                                                                      CHESTERFIELD       MI   48047‐5153
MATTHESS, BARBARA J       3030 N GENESEE RD                                                                      FLINT              MI   48506‐2152
MATTHEU, MAURICE P        910 CATHERINE AVE                                                                      ESSEX              MD   21221‐3412
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Name                       Address1                         Address2                     Address3   Address4         City              State Zip
MATTHEW
MATTHEW 6.26 GALLERY INN   ATTN: DENISE ANN JANCZEWSKI      909 CENTER AVE # D                                       BAY CITY          MI    48708‐5102
MATTHEW A BLANKENSHIP      4431 OTTERBEIN‐ITHACA RD                                                                  ARCANUM           OH    45304
MATTHEW A BURROUGHS        8244 FAIRHILL DR                                                                          WARREN            OH    44484‐1915
MATTHEW A CRABILL          1828 KING AVE.                                                                            DAYTON            OH    45420
MATTHEW A DUNN             1231 AVDENE                                                                               MIAMISBURG        OH    45342
MATTHEW A FERRELL          3501 S AVENIDA DE LAS PALMAS                                                              TUCSON            AZ    85730‐2601
MATTHEW A GATES            1417 FOREST LN                                                                            FAIRBORN          OH    45324‐2005
MATTHEW A GRICE            57 DWINELL CT.                                                                            FRANKLIN          OH    45005
MATTHEW A HUELSMAN         11471 WESTON COURSE LOOP LO                                                               RIVERVIEW         FL    33579
MATTHEW A JAMES            3658 KIPP CT                                                                              DAYTON            OH    45416‐2108
MATTHEW A KILGORE          274 COUNTY ROAD 642                                                                       MENTONE           AL    35984‐2907
MATTHEW A KRISTA           848 CREIGHTON                                                                             DAYTON            OH    45410‐2921
MATTHEW A KRZEMINSKI       508 BREMAN AVE                                                                            SYRACUSE          NY    13211‐1230
MATTHEW A MALNAR           3494 BIG SPRUCE                                                                           OTWAY             OH    45657‐8804
MATTHEW A PFEIFFER         23211 REPUBLIC AVE                                                                        OAK PARK          MI    48237‐2355
MATTHEW A ROARK            18 MADISON ST                                                                             NORWALK           OH    44857
MATTHEW A ROBERTS          368 FRANKLIN ROAD                                                                         WAYNESVILLE       OH    45068‐9473
MATTHEW A ROHLING          405 BRAMLAGE LN                                                                           UNION             OH    45322
MATTHEW A SELF             LOWR                             4639 WEBBERDALE DRIVE                                    HOLLY             MI    48442‐8930
MATTHEW A THOMPSON         1864 BARCLAY MESSERLY RD                                                                  LEAVITTSBURG      OH    44430‐9762
MATTHEW A WILSON           2921 KNOLLRIDGE DR               APT D                                                    DAYTON            OH    45449‐3447
MATTHEW ABRAMOWICZ         6753 N LATSON RD                                                                          HOWELL            MI    48855‐9243
MATTHEW ADAMS              346 SKILLEN ST                                                                            BUFFALO           NY    14207‐1349
MATTHEW ADDISON            7271 NIGHTINGALE ST                                                                       DEARBORN HTS      MI    48127‐1718
MATTHEW ADKINS             239 E WATER ST                                                                            OAK HARBOR        OH    43449‐1453
MATTHEW ALAMPI             653 FAIRLEDGE ST                                                                          LAKE ORION        MI    48362‐2609
MATTHEW ALBEE              APT 432                          2174 LAKEVIEW DRIVE                                      YPSILANTI         MI    48198‐6773
MATTHEW ALCANTAR           17625 OAKBROOK CT                                                                         RENO              NV    89508‐4023
MATTHEW ALLARD             2103 DIAMOND AVE                                                                          FLINT             MI    48532‐4535
MATTHEW ALLEN              26 W TROTWOOD BLVD                                                                        TROTWOOD          OH    45426‐3352
MATTHEW ALLEN              287 N COATS RD                                                                            OXFORD            MI    48371‐3505
MATTHEW ALLEN
MATTHEW ALVIS ARTO JR      MATTHEW, ALVIS ARTO              1502 W HWY 54 SUITE 201                                  DURHAM            NC    27707
MATTHEW ANATRA             236 WIMBLEDON DR                                                                          MANSFIELD         OH    44906‐2451
MATTHEW ANDERSON           9134 PARKSIDE DR                                                                          GRAND BLANC       MI    48439‐7458
MATTHEW ANDERSON           3406 CASA GRANDE DR                                                                       BATON ROUGE       LA    70814‐4813
MATTHEW ANDRESINO          15 WILLIAMSTOWNE CT APT 5                                                                 CHEEKTOWAGA       NY    14227‐2143
MATTHEW ANDREWS            675 BIRCH PL                                                                              COLUMBIAVILLE     MI    48421‐9731
MATTHEW ANTHONY JR         2021 DWIGHT AVE                                                                           FLINT             MI    48503‐4048
MATTHEW ARBOGAST           5615 W COUNTY ROAD 900 N                                                                  GASTON            IN    47342‐9031
MATTHEW ARBOGAST           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH    44236
MATTHEW ARBUCKLE           6849 W MAPLE GROVE RD                                                                     HUNTINGTON        IN    46750‐8926
MATTHEW ARMSTRONG          48461 BINGHAMPTON DR                                                                      NORTHVILLE        MI    48168‐9649
MATTHEW ARNOLD             27556 AUDREY AVE                                                                          WARREN            MI    48092‐2679
MATTHEW ARVIN              39 PELCZAR AVE                                                                            BALTIMORE         MD    21221‐3720
MATTHEW ASHURST            7502 HESSLER DR NE                                                                        ROCKFORD          MI    49341‐9509
MATTHEW ATTUTIS            1178 PINHOOK RD                                                                           BEDFORD           IN    47421‐8834
MATTHEW B FORD             1440 HORLACHER AVE.                                                                       DAYTON            OH    45420
MATTHEW B PRAIN            32 E. MAIN ST.                                                                            WEST CARROLLTON   OH    45449
MATTHEW B SAVAGE           303 WAYNE ST                                                                              SAGINAW           MI    48602‐1437
MATTHEW B TAYLOR           4311 WITHROW RD                                                                           HAMILTON          OH    45011‐8434
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Name                      Address1                          Address2                       Address3   Address4         City                State Zip
MATTHEW BACHMAN           6425 N 100 E                                                                                 MARION               IN 46952‐6637
MATTHEW BAJEK             515 W 4TH ST                                                                                 ROYAL OAK            MI 48067‐2401
MATTHEW BAKER             122 COLLETT VIEW DR                                                                          BOWLING GREEN        KY 42104‐7824
MATTHEW BANDILLA          1736 PRIVATEER DR                                                                            TITUSVILLE           FL 32796‐1500
MATTHEW BANKS JR          19937 BLACKSTONE ST                                                                          DETROIT              MI 48219‐1371
MATTHEW BARANCIK          10475 DITCH ROAD RTE 1                                                                       CHESANING            MI 48616
MATTHEW BARIL             391 CORKWOOD DR                                                                              OXFORD               MI 48371‐4054
MATTHEW BARKMAN           4265 TOMMY ARMOUR DR                                                                         FLINT                MI 48506‐1427
MATTHEW BAUER             7247 BRISTOL RD                                                                              SWARTZ CREEK         MI 48473‐7911
MATTHEW BAYERL            217 ASHLYNN CT                                                                               NEWTON FALLS         OH 44444‐8768
MATTHEW BEAGLE            736 FIELDS RD                                                                                DANSVILLE            MI 48819‐9793
MATTHEW BEATTY            4136 AUBURN DR                                                                               ROYAL OAK            MI 48073‐6339
MATTHEW BEAVER
MATTHEW BEAZOR            418 S WALNUT STREET                                                                          CARROLL              IA   51401‐3148
MATTHEW BECKER
MATTHEW BEERS III         424 87TH AVE N                                                                               SAINT PETERSBURG    FL    33702‐3118
MATTHEW BEHR              4967 CLEARVIEW DR                                                                            CLARKSTON           MI    48348‐3932
MATTHEW BELANGER          32 W FAIRMOUNT AVE                                                                           PONTIAC             MI    48340‐2732
MATTHEW BENDER & CO INC   PO BOX 72470178                                                                              PHILADELPHIA        PA    19170‐0001
MATTHEW BENEDICT          242 CAREY RD                                                                                 MASSENA             NY    13662‐3366
MATTHEW BENJAMIN          681 LEGENDS CREST DR                                                                         FRANKLIN            TN    37069‐4658
MATTHEW BENNE             770 DEBBY LN E                                                                               MANSFIELD           OH    44906‐1005
MATTHEW BERING            6409 WAILEA CT                                                                               GRAND BLANC         MI    48439‐8586
MATTHEW BEUTEL            83 JEWELBERRY DR                                                                             WEBSTER             NY    14580‐2479
MATTHEW BISAHA            6026 LUCAS RD                                                                                FLINT               MI    48506‐1218
MATTHEW BLACKMAN          119 ROBINWOOD ST                                                                             HOT SPRINGS         AR    71901‐6457
MATTHEW BLEVINS           C/O COONEY AND CONWAY             120 NORTH LASALLE 30TH FL                                  CHICAGO             IL    60602
MATTHEW BOGART            18 POPLAR RD                                                                                 RINGOES             NJ    08551‐1223
MATTHEW BOGGS             661 PEMBROAKE LN                                                                             FRANKLIN            TN    37064‐5331
MATTHEW BOMBARD           10863 ABBEY DR                                                                               BRIGHTON            MI    48114‐9042
MATTHEW BOURRET           J770 STATE ROUTE 109                                                                         MALINTA             OH    43535‐9733
MATTHEW BOWEN             225 E QUINCY ST                                                                              DIMONDALE           MI    48821‐9628
MATTHEW BOWERMAN          6300 W FARRAND RD                                                                            CLIO                MI    48420‐8242
MATTHEW BOYD              PO BOX 121                                                                                   SAINT GEORGE        SC    29477‐0121
MATTHEW BOYLE             22892 SAINT ANDREWS DR                                                                       SOUTH LYON          MI    48178‐9444
MATTHEW BRANNON           2150 S OAK RD                                                                                DAVISON             MI    48423‐9105
MATTHEW BREWSTER          4940 FOX HAVEN DR                                                                            MEDINA              OH    44256‐6705
MATTHEW BRIDGE            350 ROSEBERRY CIR                                                                            BOWLING GREEN       KY    42104‐6526
MATTHEW BRIDGE            50348 SHENANDOAH DR                                                                          MACOMB              MI    48044‐1377
MATTHEW BRISKEY           3809 NW HIDDEN POINTE DR                                                                     BLUE SPRINGS        MO    64015‐7010
MATTHEW BROADWICK         37995 SEAWAY CT                                                                              HARRISON TOWNSHIP   MI    48045‐2761
MATTHEW BRODY
MATTHEW BROWN             2806 FOX CV                                                                                  OXFORD              MI 48370‐1108
MATTHEW BROWN             51842 BLACK HILLS LN                                                                         MACOMB              MI 48042‐4251
MATTHEW BROWN             1026 VANDERBILT RD                                                                           LEXINGTON           OH 44904‐8608
MATTHEW BRUNO
MATTHEW BRYANT            11435 WILSON RD                                                                              OTISVILLE           MI    48463‐9733
MATTHEW BUCHANAN          5115 MOCERI LN                                                                               GRAND BLANC         MI    48439‐4376
MATTHEW BUCKLEY           951 OCEANFRONT ST APT 5                                                                      LONG BEACH          NY    11561‐1401
MATTHEW BUECKER           C/O COONEY AND CONWAY             120 NORTH LASALLE 30TH FLOOR                               CHICAGO             IL    60602
MATTHEW BUNKER            9820 RILTON                                                                                  CLARKSTON           MI    48348‐2442
MATTHEW BURK              11370 WAHL RD                                                                                SAINT CHARLES       MI    48655‐9540
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MATTHEW BURKS JR       PO BOX 61179                        DAYTON VIEW STATION                               DAYTON                 OH 45406‐9179
MATTHEW BURT           PO BOX 522                                                                            UNION LAKE             MI 48387‐0522
MATTHEW BURTON         8215 W COLONY DR                                                                      YORKTOWN               IN 47396‐1015
MATTHEW BUSH           690 SANDSTONE DR                                                                      ROCHESTER HILLS        MI 48309‐1642
MATTHEW BUTCHER        2503 W WILSON RD                                                                      CLIO                   MI 48420‐1693
MATTHEW BYUS           2382 WEDGEWOOD DR                                                                     MANSFIELD              OH 44903‐7400
MATTHEW C BEAM         1763 MAINS T                        APT 154                                           DUNEDIN                FL 34698‐6409
MATTHEW C BENNETT      106 S RITTER AVE APT 3                                                                INDIANAPOLIS           IN 46219
MATTHEW C CURTO        1749 CENTRAL PARKWAY AVE SE                                                           WARREN                 OH 44484‐5228
MATTHEW C FRY          434 E MILWAUKEE ST                                                                    DETROIT                MI 48202‐3236
MATTHEW C HOUGAN       9031 WILSON RD                                                                        WAYNESVILLE            OH 45068
MATTHEW C JONES        1425 SW 54TH ST                                                                       OKLAHOMA CITY          OK 73119‐6211
MATTHEW C MORGANN      502 COUNTRY SQUIRE CT                                                                 CENTERVILLE            OH 45458‐4006
MATTHEW C SMITH        818 E YORK AVE                                                                        FLINT                  MI 48505‐2268
MATTHEW C SPRAUER      1956 GAYHART DR.                                                                      XENIA                  OH 45385‐4825
MATTHEW C STONE        721 S. ST. RT. 123                                                                    LEBANON                OH 45036‐9633
MATTHEW CALOVICH       1405 INDIANA TER                                                                      PRINCETON              KS 66078‐9102
MATTHEW CAMARATI       3440 ABINGTON CT                                                                      BRUNSWICK              OH 44212‐4603
MATTHEW CAMPBELL       13291 BYRON RD                                                                        BYRON                  MI 48418‐9754
MATTHEW CAMPBELL       300 VAN BUREN CIR                                                                     DAVISON                MI 48423‐8528
MATTHEW CANALES        17904 DANIELSON ST, APT 103                                                           CANYON COUNTRY         CA 91387‐6090
MATTHEW CANNAMELA
MATTHEW CANTERBURY     1013 W TOBIAS RD                                                                      CLIO                  MI   48420‐1770
MATTHEW CARENA         2186 WILLOW BEND DR                                                                   TEMPERANCE            MI   48182‐1150
MATTHEW CAREY          3991 OLIVENE CV                                                                       NEW HAVEN             IN   46774‐2072
MATTHEW CARLISLE JR    1027 HUNTERS CREEK DR                                                                 DESOTO                TX   75115‐4712
MATTHEW CARROLL        1381 OXFORD RD                                                                        GROSSE POINTE WOODS   MI   48236‐1802
MATTHEW CAULEY         4810 SALINE WATERWORKS RD                                                             SALINE                MI   48176‐8807
MATTHEW CEBULSKI       20124 SHADY LANE AVE                                                                  ST CLAIR SHRS         MI   48080‐1750
MATTHEW CEGLARZ        26924 VAN BUREN RD                                                                    DEARBORN HTS          MI   48127‐1078
MATTHEW CHAPKO         3945 E PARKS RD                                                                       SAINT JOHNS           MI   48879‐8002
MATTHEW CHARLTON       4755 CARLS LN                                                                         METAMORA              MI   48455‐9758
MATTHEW CHELSEY        48307 MARION DR                                                                       MACOMB                MI   48044‐5932
MATTHEW CHETCUTI       7298 APPLE GROVE LN                                                                   TEMPERANCE            MI   48182‐1568
MATTHEW CHOJNACKI JR   4128 VILLAGER DR                                                                      ORION                 MI   48359‐1886
MATTHEW CHOLEWKA       7230 LILAC CT                                                                         NORTH OLMSTED         OH   44070‐6310
MATTHEW CLAPPER        384 LEE LN                                                                            MANSFIELD             OH   44905‐2720
MATTHEW CLARK          9912 WINEGAR RD                                                                       LAINGSBURG            MI   48848‐9325
MATTHEW CLINKSCALE     1805 E WESTERN RESERVE RD UNIT 21                                                     POLAND                OH   44514‐5264
MATTHEW COATS          37570 FOUNTAIN PARK CIR APT 326                                                       WESTLAND              MI   48185‐5626
MATTHEW COLBERT        3813 TULIP LN                                                                         KOKOMO                IN   46902‐4365
MATTHEW COLLINS        2100 S ANDREWS RD                                                                     YORKTOWN              IN   47396‐1414
MATTHEW COLOMBO        31707 CLOVERLY CT                                                                     WARREN                MI   48092‐1434
MATTHEW COLOSKY        6051 SCOTCH RD                                                                        VASSAR                MI   48768‐9236
MATTHEW COMERFORD      23706 BEVERLY ST                                                                      SAINT CLAIR SHORES    MI   48082‐2132
MATTHEW COPE           8418 STATE ROUTE 45                                                                   NORTH BLOOMFIELD      OH   44450‐9765
MATTHEW CORBAT         3207 E ASHMAN ST                                                                      MIDLAND               MI   48642‐4007
MATTHEW COSNER         11690 PLAZA DR APT 11                                                                 CLIO                  MI   48420‐1741
MATTHEW COSTANZO       1910 GETTYSBURG LN                                                                    COLUMBIA              TN   38401‐6812
MATTHEW COSTELLO       7085 BRISTOL RD                                                                       SWARTZ CREEK          MI   48473‐7905
MATTHEW COUGHLAN       17543 ROAD 5                                                                          PANDORA               OH   45877‐9772
MATTHEW COURTS         1238 WRECKENRIDGE RD                                                                  FLINT                 MI   48532‐3231
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MATTHEW CRABILL       1828 KING AVE                                                                             DAYTON              OH 45420‐2447
MATTHEW CRABTREE      309 SWYNFORD CT                                                                           BRENTWOOD           TN 37027‐8273
MATTHEW CRANE         4614 OLD SPARTANBURG RD APT 10                                                            TAYLORS             SC 29687‐4148
MATTHEW CRAWFORD      1703 PISGAH CHURCH RD                                                                     GREENSBORO          NC 27455‐3205
MATTHEW CREASIA       PO BOX 192                                                                                MENDON              MA 01756‐0192
MATTHEW CRIMM         4360 REGENCY RD                                                                           SWARTZ CREEK        MI 48473‐8807
MATTHEW CRIPPEN       15918 TURNER RD                                                                           LANSING             MI 48906‐1142
MATTHEW D CAMPBELL    1307 N MCLELLAN ST                                                                        BAY CITY            MI 48708‐6119
MATTHEW D CLARK       318 SIGNALFIRE DR                                                                         DAYTON              OH 45458
MATTHEW D CLARK       9912 WINEGAR RD                                                                           LAINGSBURG          MI 48848‐9325
MATTHEW D EUCKER      2862 STATE ROUTE 7                                                                        FOWLER              OH 44418‐9773
MATTHEW D FERGUSON    876 NORTH MAIN STREET                                                                     FRANKLIN            OH 45005‐1649
MATTHEW D GADNIS      13799 PARK BLVD PMB 234                                                                   SEMINOLE            FL 33776‐3402
MATTHEW D GAULDIN     5028 DINSMORE RD                                                                          DAYTON              OH 43449
MATTHEW D JOHNSON     1041 SPINNING RD                 APT 1                                                    DAYTON              OH 45432‐1603
MATTHEW D KARNS       4123 KING BIRD LN 2A                                                                      MIAMISBURG          OH 45342
MATTHEW D KNEE        8727 SYCAMORE TRAILS                                                                      SPRINGBORO          OH 45066‐9664
MATTHEW D MCGINNIS    5900 BRIDGE RD APT 711                                                                    YPSILANTI           MI 48197‐7011
MATTHEW D MURRELL     140 B CALM LAKE CIRCLE                                                                    ROCHESTER           NY 14612‐2510
MATTHEW D RAWLINGS    357 AMBLESIDE LN                                                                          ABERDEEN            MD 21001‐1850
MATTHEW D WACKLER     8125 N STATE ROUTE 721                                                                    BRADFORD            OH 45308‐9710
MATTHEW DAGUANNO      547 STANFORD RD                                                                           FAIRLESS HILLS      PA 19030‐4021
MATTHEW DANDRIDGE     1652 VIRGINIA PARK ST                                                                     DETROIT             MI 48206‐2420
MATTHEW DANKERT       9140 #6 CHATWELL CLUB DR.                                                                 DAVISON             MI 48423
MATTHEW DANNA         6565 FOXRIDGE DR APT 3103                                                                 MISSION             KS 66202‐1398
MATTHEW DARIN         3063 HIDDEN TIMBER DR                                                                     LAKE ORION          MI 48359‐1579
MATTHEW DAVIDSON      PO BOX 83                                                                                 OLNEY               MO 63370‐0083
MATTHEW DAVIS         PO BOX 33                                                                                 MOUNT MORRIS        MI 48458‐0033
MATTHEW DEAN          40 HOME RD S                                                                              MANSFIELD           OH 44906‐2330
MATTHEW DEFEVER       21754 LUNDY DR                                                                            FARMINGTON HILLS    MI 48336‐4639
MATTHEW DEFFENBAUGH   7725 SUMMERFIELD RD TRLR 30                                                               LAMBERTVILLE        MI 48144‐8681
MATTHEW DELANEY       1816 BUCKLEW DR                                                                           TOLEDO              OH 43613‐5437
MATTHEW DELGROSSO     BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
MATTHEW DEMPSEY       444 FOX HILLS DR N APT 6                                                                  BLOOMFIELD HILLS    MI 48304‐1329
MATTHEW DEMUZZIO
MATTHEW DENNEE        4342 MOUNT VERNON PASS                                                                    SWARTZ CREEK       MI 48473‐8240
MATTHEW DESHONG
MATTHEW DEWITT        2329 FAWN LN                                                                              JANESVILLE         WI   53548‐8538
MATTHEW DEWITZ        10119 SADDLE BRIDGE DR N                                                                  WHITEHOUSE         OH   43571‐9306
MATTHEW DICKINSON     4499 JOAN DR                                                                              CLIO               MI   48420‐9406
MATTHEW DILLON        3878 PETERS RD                                                                            COLUMBIAVILLE      MI   48421‐9304
MATTHEW DIX           17109 NOLLAR LN                                                                           MANCHESTER         MI   48158‐9475
MATTHEW DOCHODA       7385 MACOMBER CT                                                                          ANN ARBOR          MI   48103‐9336
MATTHEW DOESCHER      3047 WAKEFIELD RD                                                                         BERKLEY            MI   48072‐3519
MATTHEW DONNELL       9352 BATH RD                                                                              LAINGSBURG         MI   48848‐9302
MATTHEW DOOLEY        1763 PUMPKIN HILL RD                                                                      MILLERTON          PA   16936‐9492
MATTHEW DOOZAN        3270 SUNNYVIEW DR                                                                         SAGINAW            MI   48604‐1657
MATTHEW DORTCH        9382 N WEBSTER RD                                                                         CLIO               MI   48420‐8545
MATTHEW DOWNER        9432 SANDY HOLLOW LN                                                                      DAVISON            MI   48423‐8434
MATTHEW DOYLE         6468 E STATE ROAD 144                                                                     MOORESVILLE        IN   46158‐6234
MATTHEW DRINKARD      3375 MELVIN AVE                                                                           ROCHESTER          MI   48307‐4845
MATTHEW DUBIE         2005 MILES RD                                                                             LAPEER             MI   48446‐8080
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MATTHEW DUFFY            211 BURLINGTON DR                                                                                      FREDERICKSBURG      VA 22407‐6305
MATTHEW DURR             702 E 14TH PL                                                                                          EUDORA              KS 66025‐7910
MATTHEW DZURINDA         731 OREGON AVE                                                                                         MC DONALD           OH 44437‐1667
MATTHEW E ALLEN          26 W TROTWOOD BLVD.                                                                                    TROTWOOD            OH 45426‐3352
MATTHEW E CROSS          1008 E STEWART ST                                                                                      DAYTON              OH 45410‐2127
MATTHEW E HICKEY         1287 WILLOWRIDGE DR                                                                                    DAYTON              OH 45434‐6753
MATTHEW E HOFFMAN        5221 WEST 88TH STREET                                                                                  OAKLAWN              IL 60453
MATTHEW E MODROVSKY      PO BOX 1293                                                                                            BOWLING GREEN       KY 42102‐1293
MATTHEW E RUF            1449 W JEFFERSON ST                                                                                    SPRINGFIELD         OH 45506‐1221
MATTHEW EBENHOEH         PO BOX 316                                                                                             NEW LOTHROP         MI 48460‐0316
MATTHEW EBINGER          534 PRINCESS AVE                                                                                       CROYDON             PA 19021‐6024
MATTHEW ECKER
MATTHEW EDMISTON         5660 RIVER PARK DR                                                                                     LIBERTYVILLE       IL 60048‐4204
MATTHEW EDMONDS          20201 PLYMOUTH RD APT 813                                                                              DETROIT            MI 48228‐1259
MATTHEW EDWARD RICKMAN
MATTHEW EINHEUSER        3099 WOODLAND DR                                                                                       METAMORA           MI 48455‐9732
MATTHEW ELASIVICH        8434 JACLYN ANN DR                                                                                     FLUSHING           MI 48433‐2912
MATTHEW EMMERSON ALLEN                                                                                    GREAT BRITAIN
MATTHEW ERDEY            1928 WARBLER CT                                                                                        TROY               MI   48084‐1477
MATTHEW ERICKSEN         6362 OAK LEAF TRL                                                                                      LINDEN             MI   48451‐8634
MATTHEW ERICKSON         7191 S VASSAR RD                                                                                       VASSAR             MI   48768‐9660
MATTHEW ERICKSON         3868 13TH ST                                                                                           MICCO              FL   32976‐2833
MATTHEW ESCKILSEN        15453 POWER DAM RD                                                                                     DEFIANCE           OH   43512‐8817
MATTHEW ESSA             5501 SQUIRE LN                                                                                         FLINT              MI   48506‐2235
MATTHEW ESSMANN          3287 PIN OAK DR                                                                                        LAKE ORION         MI   48359‐1169
MATTHEW EVERETT
MATTHEW F ALLARD         2103 DIAMOND AVE                                                                                       FLINT              MI 48532‐4535
MATTHEW F DAGUANNO       547 STANFORD RD                                                                                        FAIRLESS HILLS     PA 19030‐4021
MATTHEW F. FITZSIMMONS   ATTY FOR STATE OF CONNECTICUT   ATTN: ASSISTANT ATTORNEY    110 SHERMAN STREET                         HARTFORD           CT 06105
                                                         GENERAL
MATTHEW FAY              70 MERCHANTS RD                                                                                        ROCHESTER          NY   14609‐7801
MATTHEW FELDPAUSCH       2116 HALEY WAY                                                                                         CHARLOTTE          MI   48813‐8572
MATTHEW FENDERSON        4470 23RD ST                                                                                           DETROIT            MI   48208‐1852
MATTHEW FERRELLI JR      23 STAGECOACH DR                                                                                       ASHLAND            MA   01721‐1841
MATTHEW FIELDER          6719 CHIPPEWA TRL                                                                                      INDIAN RIVER       MI   49749‐8703
MATTHEW FINCH            2804 MAPLE CIR                                                                                         THOMPSONS STN      TN   37179‐9287
MATTHEW FISH             2242 BAPTIST CHURCH RD                                                                                 CULLEOKA           TN   38451‐2101
MATTHEW FITZPATRICK      3058 ANDERSON RD                                                                                       MANSFIELD          OH   44903‐9751
MATTHEW FORD             21542 OLD HWY 40                                                                                       HIGGINSVILLE       MO   64037‐8311
MATTHEW FORD             C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                              HOUSTON            TX   77007
                         BOUNDAS LLP
MATTHEW FOSTER           2415 GARLAND ST                                                                                        SYLVAN LAKE        MI   48320‐1626
MATTHEW FOSTER           860 ASPEN TRL                                                                                          GLADWIN            MI   48624‐8081
MATTHEW FOURNIER         1995 W DEAN RD                                                                                         TEMPERANCE         MI   48182‐9427
MATTHEW FOX              PO BOX 12                                                                                              IONIA              MI   48846‐0012
MATTHEW FRAME            36341 HEDGEROW PARK DR                                                                                 NORTH RIDGEVILLE   OH   44039‐8555
MATTHEW FRANCK           5678 LADDERBACK                                                                                        HOLT               MI   48842‐8689
MATTHEW FRAYRE           5331 SUNROSE AVE                                                                                       LANSING            MI   48911‐3752
MATTHEW FREDERICK        1103 WASHINGTON AVE                                                                                    DEFIANCE           OH   43512‐2824
MATTHEW FREIMARK         512 ASHER PASS                                                                                         MILAN              MI   48160‐1578
MATTHEW FRIAR            2846 BLUEWATER LN SW                                                                                   GRANDVILLE         MI   49418‐1113
MATTHEW FRONK            66 QUAKER MEETING HOUSE RD                                                                             HONEOYE FALLS      NY   14472‐9351
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Name                      Address1                         Address2                     Address3   Address4         City             State Zip
MATTHEW FURSETH           1361 ASH STREET                                                                           PRESCOTT          WI 54021‐1066
MATTHEW G DOYLE           6468 E STATE ROAD 144                                                                     MOORESVILLE       IN 46158‐6234
MATTHEW G GREATHOUSE      5025 CROFTSHIRE DRIVE                                                                     KETTERING         OH 45440‐2401
MATTHEW G LEVECK          553 BROOKWOOD CT                                                                          DAYTON            OH 45405‐1901
MATTHEW G ORNER           126 SPRINGHOUSE DR                                                                        ENGLEWOOD         OH 45322
MATTHEW G OSMAN           3880 BANYAN GROVE LN             APT 102                                                  VIRGINIA BEACH    VA 23462
MATTHEW GADNIS            13799 PARK BLVD PMB 234                                                                   SEMINOLE          FL 33776‐3402
MATTHEW GADSON            1877 KENNEDY DR                                                                           WICKLIFFE         OH 44092‐1615
MATTHEW GADZIALA          PO BOX 48135                                                                              ATLANTA           GA 30362‐1135
MATTHEW GALLIGAN          8895 OAK HILL RD                                                                          CLARKSTON         MI 48348‐1042
MATTHEW GARRETT           4379 PLANO RD                                                                             BOWLING GREEN     KY 42104‐7485
MATTHEW GARVEY            8401 LINDEN RD                                                                            FENTON            MI 48430‐9357
MATTHEW GASPER            8819 BLITZEN RD NW                                                                        NORTH CANTON      OH 44720‐4681
MATTHEW GASPER            9994 STATE RD                                                                             MILLINGTON        MI 48746‐9430
MATTHEW GEDRIS            600 FOREST AVE                                                                            ROYAL OAK         MI 48067‐4210
MATTHEW GIBBARD           4129 AUSTIN CT                                                                            LAPEER            MI 48446‐3654
MATTHEW GIBSON            5103 HIGHPOINT DR                                                                         SWARTZ CREEK      MI 48473‐8903
MATTHEW GILLIS            320 E 85TH ST APT 4H                                                                      NEW YORK          NY 10028‐5472
MATTHEW GLAZA             8272 BALDWIN RD                                                                           GOODRICH          MI 48438‐9476
MATTHEW GLEW              1790 W KING ST                                                                            OWOSSO            MI 48867‐9504
MATTHEW GLISZCZYNSKI      2979 HILLBROOK DR                                                                         EDEN              NY 14057‐1250
MATTHEW GLOVER            4378 SUNNYMEAD AVE                                                                        BURTON            MI 48519‐1244
MATTHEW GLOVER            1269 ROZELLE AVE                                                                          E CLEVELAND       OH 44112‐4168
MATTHEW GOEBEL            61539 BROOKWAY DR                                                                         SOUTH LYON        MI 48178‐7056
MATTHEW GRAHAM            3054 APPLE KNOLL LN                                                                       MIDDLETOWN        OH 45044‐7991
MATTHEW GRAHAM            6356 GRAND POINT RD                                                                       PRESQUE ISLE      MI 49777‐8342
MATTHEW GRAVES            9050 RAY RD                                                                               GAINES            MI 48436‐9717
MATTHEW GRAY              1700 SE 5TH ST                                                                            LEES SUMMIT       MO 64063‐6036
MATTHEW GREEN JR          3146 MYSYLVIA DR                                                                          SAGINAW           MI 48601‐6929
MATTHEW GREEN JR          10799 STEWART RD                                                                          TANNER            AL 35671‐3545
MATTHEW GREENE            1943 LYNWOOD DR                                                                           KOKOMO            IN 46901‐1878
MATTHEW GREGERSON         209 PROSPECT AVE                                                                          JANESVILLE        WI 53545‐3027
MATTHEW GRIFFEN           APT 312                          16 SOUTH PLAZA BOULEVARD                                 ROCHESTER HLS     MI 48307‐3940
MATTHEW GRIFFIN           3417 ERIE AVE APT 420                                                                     CINCINNATI        OH 45208‐1755
MATTHEW GRIFFITHS         3531 TOBE ROBERTSON RD                                                                    COLUMBIA          TN 38401‐7506
MATTHEW GRODSKI           HOPEWELL GARDENS                 725 DENOW RD                                             PENNINGTON        NJ 08534
MATTHEW GROSS             32501 E REBER RD                                                                          SIBLEY            MO 64088‐9169
MATTHEW GROSS             4298 MOUNT VERNON PASS                                                                    SWARTZ CREEK      MI 48473‐8240
MATTHEW GROVES JR         3830 SEYMOUR LAKE RD                                                                      ORTONVILLE        MI 48462‐9156
MATTHEW GRUBBA            166 GROSVENOR DR                                                                          ROCHESTER HLS     MI 48307‐3164
MATTHEW GRUSLER           4105 HAMPTON LN                                                                           SHREVEPORT        LA 71107
MATTHEW GRZELAK           2191 BEDELL RD APT 8                                                                      GRAND ISLAND      NY 14072‐3102
MATTHEW GUALDONI          1234 MILLERS COURT                                                                        NOBLESVILLE       IN 46060‐1639
MATTHEW GUENTHNER         6225 W STANLEY RD                                                                         MOUNT MORRIS      MI 48458‐9429
MATTHEW H QUINN           115 UTE LN                                                                                ESTES PARK        CO 80517
MATTHEW H QUINN           115 UTE LANE                                                                              ESTES PARK        CO 80517
MATTHEW H QUINN BEN IRA   115 UTE LN                                                                                ESTES PARK        CO 80517
MATTHEW HAAS              4306 VENICE RD                                                                            SANDUSKY          OH 44870‐8112
MATTHEW HALE              1814 S BUCKEYE ST                                                                         KOKOMO            IN 46902‐2143
MATTHEW HALLER            BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH 44236
MATTHEW HALLWOOD          10312 PRESSLER ST                                                                         FENTON            MI 48430‐8700
MATTHEW HAM               2556 WINDER DR                                                                            FRANKLIN          TN 37064‐4939
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Name                    Address1                         Address2                     Address3   Address4         City                State Zip
MATTHEW HAMILTON        4782 W 200 N                                                                              DECATUR              IN 46733‐9581
MATTHEW HAMILTON        306 KIMBERLY DR                                                                           COLUMBIA             TN 38401‐6908
MATTHEW HAMILTON        43345 WINDMILL CT                                                                         NOVI                 MI 48375‐4720
MATTHEW HAMLIN          3601 ORCHID LN                                                                            HOLT                 MI 48842‐8741
MATTHEW HAMMOND         6918 S MORRICE RD                                                                         OWOSSO               MI 48867‐8701
MATTHEW HAMPTON         2929 AMHERST ST                                                                           INDIANAPOLIS         IN 46268‐3271
MATTHEW HANDLON         42716 EASTWIND DR.                                                                        CLINTON TWP          MI 48038
MATTHEW HANKINSON       PO BOX 365                                                                                CADOGEN              PA 16212‐0365
MATTHEW HANNEMAN        10273 FM 1130                                                                             ORANGE               TX 77632
MATTHEW HARBISON        119 CROCKET CREEK DR                                                                      WENTZVILLE           MO 63385‐4464
MATTHEW HARDENBROOK     42631 STATE ROUTE 517                                                                     COLUMBIANA           OH 44408‐9620
MATTHEW HARDIN          999 DEWEY ST                                                                              PONTIAC              MI 48340‐2635
MATTHEW HARLEY          736 SANDS RD                                                                              ORTONVILLE           MI 48462‐8866
MATTHEW HARRISON JR     17 RIO GRANDE AVE                                                                         TROTWOOD             OH 45426‐2918
MATTHEW HARTLEY         2551 W STATE ROAD 14                                                                      COLUMBIA CITY        IN 46725‐8012
MATTHEW HARTWICK
MATTHEW HARWOOD         739 WOODBINE DR                                                                           FENTON              MI 48430‐1422
MATTHEW HASELEY         9102 POST OAK DR                                                                          ARLINGTON           TX 76002‐4618
MATTHEW HASSLOCH
MATTHEW HATTEN JR       522 NORTHAMPTON ST                                                                        BUFFALO             NY   14208‐2523
MATTHEW HAUSER          34 SEMINOLE PKWY                                                                          CHEEKTOWAGA         NY   14225‐4233
MATTHEW HAWKINS         132 S ROSLYN RD                                                                           WATERFORD           MI   48328‐3551
MATTHEW HEATON          80 SUNSET DR LOT 19                                                                       BLUFFTON            IN   46714‐1230
MATTHEW HEGER           1138 IRWIN DR                                                                             WATERFORD           MI   48327‐2021
MATTHEW HEIN            2520 N 131ST ST                                                                           KANSAS CITY         KS   66109‐3327
MATTHEW HELLDOERFER     BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH   44236
MATTHEW HENIGE          5403 N STATE RD                                                                           OWOSSO              MI   48867‐9091
MATTHEW HERITIER        2446 PLAINVIEW DR                                                                         SAGINAW             MI   48603‐2536
MATTHEW HERNANDEZ III   6815 KINGSWOOD BLVD                                                                       FORT WAYNE          IN   46804‐4623
MATTHEW HERRMANN        1120 GENESEE DR                                                                           ROYAL OAK           MI   48073‐2029
MATTHEW HERRON          2605 OAKVIEW RD APT 5                                                                     FORT SMITH          AR   72908‐8664
MATTHEW HESSLER         3627 THREE OAKS DR                                                                        FORT WAYNE          IN   46809‐1957
MATTHEW HEYNEN          2318 133RD AVE                                                                            HOPKINS             MI   49328‐9705
MATTHEW HICKS           6652 WILLIAMS LAKE RD                                                                     WATERFORD           MI   48329‐2981
MATTHEW HIGHSTROM       APT 160                          31055 PENDLETON                                          NEW HUDSON          MI   48165‐9454
MATTHEW HILL            2332 W 900 N                                                                              ALEXANDRIA          IN   46001‐9492
MATTHEW HILL            12855 DORWOOD RD                                                                          BURT                MI   48417‐9436
MATTHEW HIMES           2034 LOCUST DR SW                                                                         WARREN              OH   44481
MATTHEW HINDS           5072 WHISPERING GLEN TRL                                                                  HOLLY               MI   48442‐9356
MATTHEW HOBSON I I I    505 GRACELYN CT SW                                                                        ATLANTA             GA   30331‐9204
MATTHEW HODGE           547 WITBECK DR                                                                            CLARE               MI   48617‐9722
MATTHEW HOEF            935 DRAKESHIRE DR                                                                         COMMERCE TOWNSHIP   MI   48390‐2937
MATTHEW HOFFMAN         9122 PEMBROOK DR                                                                          DAVISON             MI   48423‐8427
MATTHEW HOLDER          2120 DOUGLAS BLVD #4                                                                      LOUISVILLE          KY   40205
MATTHEW HOLLWEDEL       50 WEST ROAD                                                                              SOUTH SALEM         NY   10590
MATTHEW HOLYFIELD       27141 NORFOLK ST                                                                          INKSTER             MI   48141‐2305
MATTHEW HOPSON          9392 JAMES DR                                                                             COLLINSVILLE        MS   39325‐9687
MATTHEW HORNER          2890 S DUCK CREEK RD                                                                      NORTH JACKSON       OH   44451‐9661
MATTHEW HORTOP          14 CRICKET HILL DR                                                                        PITTSFORD           NY   14534‐2151
MATTHEW HOTRA           2654 FOX CHASE DR                                                                         TROY                MI   48098‐2331
MATTHEW HOUSNER         4411 W ROTAMER RD                                                                         JANESVILLE          WI   53546‐1023
MATTHEW HOVEY           226 MILL HOUSE DR                                                                         OAKLAND             MI   48363‐1614
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Name                                Address1                         Address2                       Address3   Address4         City               State Zip
MATTHEW HUBBARD                     6535 RUSTIC RIDGE TRL                                                                       GRAND BLANC         MI 48439‐4954
MATTHEW HUBBERT                     C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                  HOUSTON             TX 77007
                                    BOUNDAS, LLP
MATTHEW HUBERTS                     7524 56TH AVE                                                                               HUDSONVILLE        MI   49426‐9731
MATTHEW HURLEY                      4070 BROOKSTONE CT                                                                          HOWELL             MI   48843‐7509
MATTHEW I JOHNSON                   8159 CARPENTER RD                                                                           FLUSHING           MI   48433‐1361
MATTHEW INGRAM JR                   20625 BALFOUR ST APT 3                                                                      HARPER WOODS       MI   48225‐1576
MATTHEW INMAN JR                    35 LAFAYETTE ST                                                                             MOUNT CLEMENS      MI   48043‐1655
MATTHEW ISENBERG
MATTHEW J BINDER                     1601 4TH ST                                                                                BAY CITY           MI   48708‐6137
MATTHEW J DIETL                      8612 HUNTERS TRL SE                                                                        WARREN             OH   44484‐2411
MATTHEW J ELLIOTT                    6179 KING GRAVES RD                                                                        FOWLER             OH   44418‐‐ 97
MATTHEW J FRANZ                      1217 DONSON DR                                                                             DAYTON             OH   45429‐5711
MATTHEW J FRENCH                     318 E. WESTBROOK RD                                                                        BROOKVILLE         OH   45309
MATTHEW J GOECKE                     2622 SPRINGMONT AVE.                                                                       DAYTON             OH   45420‐3040
MATTHEW J GREMILLION                 1154 KING RICHARD PKWY                                                                     DAYTON             OH   45449‐2222
MATTHEW J GUSTIN                     615 E. MONTGOMERY                                                                          MIAMISBURG         OH   45342‐2957
MATTHEW J HEINLY                     203 BOSTON RD # 1                                                                          SYRACUSE           NY   13211‐1615
MATTHEW J HEITZMAN                   7727 DAYTON‐FARMERSVILLE RD.                                                               DAYTON             OH   45418
MATTHEW J HOLLWEDEL                  50 WEST RD                                                                                 SOUTH SALEM        NY   10590
MATTHEW J HUGHES                     3500 LYELL RD                                                                              ROCHESTER          NY   14606
MATTHEW J KAPRUTUS                   325 E LEISURE AVENUE APT #12                                                               NEW CASTLE         PA   16101
MATTHEW J KLOHE                      4659 W. NATIONAL RD                                                                        SPRINGFIELD        OH   45504‐‐ 35
MATTHEW J KUMAR                      4687 WHITTUM RD                                                                            EATON RAPIDS       MI   48827‐8036
MATTHEW J LAMBERT                    4226 SOUTHERN BLVD                                                                         YOUNGSTOWN         OH   44512
MATTHEW J MABILE                     1080 PRICEDALE DR SE                                                                       BOGUE CHITTO       MS   39629‐4116
MATTHEW J MARTIN                     220 E 5TH ST                                                                               TILTON             IL   61833‐7425
MATTHEW J MERCURI                    2873 CIRCLEWOOD LANE                                                                       DAYTON             OH   45458‐9440
MATTHEW J MILLER                     227 E LEGRAND ST                                                                           HOWELL             MI   48843‐2529
MATTHEW J MOLLOSEAU                  1133 BRABBS ST                                                                             BURTON             MI   48509‐1919
MATTHEW J POTEETE                    PO BOX 25                                                                                  MCLOUD             OK   74851‐0025
MATTHEW J SCHAEFER                   PO BOX 21841                                                                               TAMPA              FL   33522‐1841
MATTHEW J STROHM                     808 SOUTHEND CT                                                                            MANCHESTER         NJ   08759‐4600
MATTHEW J SWAIN                      39 EVANS AVE                                                                               AUSTINTOWN         OH   44515‐1622
MATTHEW J THORNE                     1205 W HAMPTON RD                                                                          ESSEXVILLE         MI   48732‐9703
MATTHEW J TRUITT                     184 LINDELL DR                                                                             GERMANTOWN         OH   45327‐‐ 16
MATTHEW J VAN HOOSE                  8433 OREGONIA RD                                                                           WAYNESVILLE        OH   45068
MATTHEW J WYATT                      845 N MCKNIGHT RD A                                                                        SAINT LOUIS        MO   63132
MATTHEW J ZAROSL                     370 OAK ST                                                                                 LEWISTON           NY   14092
MATTHEW J. DAGON PG , SENIOR PROJECT AMEC EARTH & ENVIRONMENTAL      PAN AM PLAZA, 201 S. CAPITOL                               INDIANAPOLIS       IN   46225
MANAGER                                                              AVENUE, SUITE 200
MATTHEW JAMES                        1420 LYNETTE ST                                                                            LIBERTY            MO   64068‐9111
MATTHEW JAMES                        9399 W PIERSON RD                                                                          FLUSHING           MI   48433‐9717
MATTHEW JANEWAY                      4371 KINNEVILLE RD                                                                         ONONDAGA           MI   49264‐9765
MATTHEW JANNING                      755 HERRMAN CT                                                                             LIBERTY            MO   64068‐3190
MATTHEW JANNUZZI                     4502 W BUFFALO ST                                                                          CHANDLER           AZ   85226‐4828
MATTHEW JEFFERSON                    94 ADENA RD                                                                                WEST NEWTON        MA   02465‐1221
MATTHEW JENKINS                      1219 OAKRIDGE DR                                                                           LAPEER             MI   48446‐3729
MATTHEW JERINSKY                     42947 UTICA RD                                                                             STERLING HEIGHTS   MI   48314‐3580
MATTHEW JESHURUN                     145 DENNIS ST                                                                              GLADWIN            MI   48624‐8383
MATTHEW JESSIE                       W15077 STATE ROAD 121                                                                      HIXTON             WI   54635‐8524
MATTHEW JOHNSON                      40482 PINETREE DR                                                                          PLYMOUTH           MI   48170‐4444
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MATTHEW JOHNSON       8159 CARPENTER RD                                                                           FLUSHING           MI 48433‐1361
MATTHEW JOLLY         230 GREENBRIAR BLUFFS DR                                                                    SAINT PETERS       MO 63376‐7742
MATTHEW JONES         1425 SW 54TH ST                                                                             OKLAHOMA CITY      OK 73119‐6211
MATTHEW JONES         1224 JOAL DR                                                                                FLINT              MI 48532‐2645
MATTHEW JOYCE         3312 N STOCKWELL RD                                                                         EVANSVILLE         IN 47715‐1382
MATTHEW JR, PAUL      6286 193RD PL                                                                               LIVE OAK           FL 32060‐7851
MATTHEW JR, WILLIAM   57 LELAND FARM RD                                                                           ASHLAND            MA 01721‐2340
MATTHEW JUNE          6056 HOPKINS RD                                                                             FLINT              MI 48506‐1656
MATTHEW JUNE          PO BOX 952                                                                                  MORRISVILLE        PA 19067‐0952
MATTHEW K HAMILTON    3520 E 4TH ST                                                                               DAYTON             OH 45403
MATTHEW K WOODS       PO BOX 603                                                                                  STOCKBRIDGE        GA 30281‐0603
MATTHEW KAAKE         2316 MEADOWLANE CT                                                                          BURTON             MI 48519‐1279
MATTHEW KACERSKI      675 THERESA AVE APT 101                                                                     HERMITAGE          PA 16148‐5505
MATTHEW KALASKY       2451 MAPLEWOOD AVE                                                                          ROYAL OAK          MI 48073‐3832
MATTHEW KALINOWSKI    960 BROWN CITY RD                                                                           IMLAY CITY         MI 48444‐9419
MATTHEW KAPRUTUS      203 E GARFIELD AVE                                                                          NEW CASTLE         PA 16105‐2539
MATTHEW KARABA        733 WOODLEIGH WAY                                                                           OXFORD             MI 48371‐5173
MATTHEW KARDOS        10434 N GENESEE RD                                                                          MOUNT MORRIS       MI 48458‐9722
MATTHEW KAUFER        13084 N HOLLY RD                                                                            HOLLY              MI 48442‐9502
MATTHEW KECK          5265 SASHABAW RD                                                                            CLARKSTON          MI 48346‐3870
MATTHEW KELSEY        538 DEER PATH TRL                                                                           WATERFORD          MI 48327‐4338
MATTHEW KENWORTHY     8435 JORDAN RD                                                                              GRAND BLANC        MI 48439‐9757
MATTHEW KETELS        576 SYLVANWOOD DR                                                                           TROY               MI 48085‐3126
MATTHEW KILLEN        1824 BEACH BLVD                                                                             JACKSONVILLE       FL 32250
MATTHEW KILTS         8291 OXFORD LANE                                                                            GRAND BLANC        MI 48439‐7448
MATTHEW KIMBALL       1856 VILLAGE GREEN BLVD APT 206                                                             ROCHESTER HILLS    MI 48307‐5691
MATTHEW KINDERMANN    4220 FOREST ST                                                                              LEONARD            MI 48367‐1913
MATTHEW KING          2929 BIRCHWOOD DR                                                                           WATERFORD          MI 48329‐3495
MATTHEW KING          230 COTTONWOOD DR                                                                           WILLIAMSVILLE      NY 14221‐1609
MATTHEW KING          THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                               HOUSTON            TX 77017
MATTHEW KINGSBERRY    8357 LAKESHORE TRAIL EAST DRIVE   APT 1722                                                  INDIANAPOLIS       IN 46250‐4656
MATTHEW KIRKLIN       478 MARSH RD                                                                                PITTSFORD          NY 14534‐2440
MATTHEW KIRSCH        7294 WILLIAM DR                                                                             SHELBY TOWNSHIP    MI 48316‐5342
MATTHEW KLANAC        4930 SPRING MEADOW DR                                                                       CLARKSTON          MI 48348‐5156
MATTHEW KLAVER        2400 BRIARHILL DR                                                                           LANSING            MI 48917‐9742
MATTHEW KLEMMER       1815 LYSTER LN                                                                              TROY               MI 48085‐1415
MATTHEW KNOTH         7016 DORAL SOUTH DR APT A                                                                   INDIANAPOLIS       IN 46250‐4106
MATTHEW KOCH          42256 OLD BEDFORD RD                                                                        NORTHVILLE         MI 48168‐2084
MATTHEW KOLBE         1548 WILD CHERRY LN                                                                         LAPEER             MI 48446‐8706
MATTHEW KOLLER        2812 JOLIET ST                                                                              JANESVILLE         WI 53546‐5451
MATTHEW KOVAC         528 DICK STATION ROAD                                                                       IRWIN              PA 15642‐7619
MATTHEW KOVACIC       29 KILLDEER LN                                                                              FAIRPORT           NY 14450‐8935
MATTHEW KOZLOWSKI     7596 VILLAGE DR                                                                             WASHINGTON         MI 48094‐3535
MATTHEW KRAMER        8409 OLD HBR                                                                                GRAND BLANC        MI 48439‐8061
MATTHEW KROMER        1440 MARINA POINTE BLVD                                                                     LAKE ORION         MI 48362‐3905
MATTHEW KUEHN         4630 CEDAR LAKE RD                                                                          HOWELL             MI 48843‐7619
MATTHEW KULPA         6450 COUNTRY LANE DR                                                                        DAVISBURG          MI 48350‐2948
MATTHEW KUNZ          60882 LAKE EDGE                                                                             WASHINGTON         MI 48094‐2320
MATTHEW L BEFFREY     1403 2ND ST                                                                                 BAY CITY           MI 48708‐6123
MATTHEW L BEHR        4967 CLEARVIEW DR                                                                           CLARKSTON          MI 48348‐3932
MATTHEW L ECKLEY      17 INDIANA AVE                                                                              DAYTON             OH 45410‐2307
MATTHEW L ESHBAUGH    915 BRIGHTON DR                                                                             GREENVILLE         OH 45331
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Name                                  Address1                       Address2                       Address3   Address4         City              State Zip
MATTHEW L HUTCHINSON                  8559 TOWSON BLVD                                                                          MIAMISBURG         OH 45342‐‐ 37
MATTHEW L JONES                       650 OLD FANNIN RD APT L3                                                                  FLOWOOD            MS 39232
MATTHEW L MCCALE                      5022 W WESTERN RESERVE RD                                                                 CANFIELD           OH 44406
MATTHEW L NOSKY                       3540 BOWEN RD                                                                             LANCASTER          NY 14086‐9649
MATTHEW L SAVAGE                      716 KERCHER ST                                                                            MIAMISBURG         OH 45342
MATTHEW L SAZY                        10356 LAPEER RD                                                                           DAVISON            MI 48423‐8159
MATTHEW L STRECK PERSONAL             C/O BRAYTON PURCELL            222 RUSH LANDING RD                                        NOVATO             CA 94948‐6169
REPRESENTATIVE FOR FREDERICK O STRECK

MATTHEW L THOMPSON                   238 SHADMORE DRIVE                                                                         ROCHESTER         NY   14626‐1018
MATTHEW LABA                         3793 RED MAPLE CT                                                                          OAKLAND           MI   48363‐2669
MATTHEW LAKE                         112 PLAYERS DR                                                                             EASLEY            SC   29642‐3100
MATTHEW LALEMAN                      1564 N KNIGHT RD                                                                           ESSEXVILLE        MI   48732‐9648
MATTHEW LALONDE                      7238 E MAPLE AVE                                                                           GRAND BLANC       MI   48439‐9762
MATTHEW LAMMERS                      208 MONTPELIER DR                                                                          DOWNINGTOWN       PA   19335‐1286
MATTHEW LANDRY                       840 N SASHABAW RD                                                                          ORTONVILLE        MI   48462‐9187
MATTHEW LANG                         84 BRIDGEMAN RD                                                                            CHURCHVILLE       NY   14428‐9509
MATTHEW LANGWORTHY                   PO BOX 8527                                                                                MANSFIELD         OH   44906‐8527
MATTHEW LARAMIE                      PO BOX 2276                                                                                APACHE JUNCTION   AZ   85217‐2276
MATTHEW LAVIGNE                      1576 STONECREST DR                                                                         ROCHESTER HILLS   MI   48307‐3470
MATTHEW LAZAROFF TTEE                MATTHEW LAZAROFF                915 AZTEC TRAIL                                            MERCER            PA   16137
MATTHEW LEAVITT                      9820 CLEARWATER DR                                                                         GRANT             MI   49327‐9309
MATTHEW LEE                          4506 WIMBLETON WAY                                                                         KALAMAZOO         MI   49009‐2405
MATTHEW LEE                          11528 TORREY RD                                                                            FENTON            MI   48430‐9631
MATTHEW LEE JR                       136 AMBERFIELD CT                                                                          BOWLING GREEN     KY   42104‐8590
MATTHEW LENHARD                      4831 EASTLAWN DR                                                                           LANSING           MI   48910‐8310
MATTHEW LEON                         580 IRIS CT                                                                                CRYSTAL LAKE      IL   60014‐6992
MATTHEW LEONARD                      WEITZ & LUXENBERG PC            700 BROADWAY                                               NEW YORK CITY     NY   10003
MATTHEW LESIAK                       14 BLACKSTONE ST                                                                           BLACKSTONE        MA   01504‐1603
MATTHEW LEVERENZ                     2873 BIRCHWOOD DR                                                                          WATERFORD         MI   48329‐3494
MATTHEW LEWICKI                      5362 WHITEHALL CT                                                                          FLUSHING          MI   48433‐2452
MATTHEW LEWIS                        5761 CHESTNUT RIDGE RD                                                                     HUBBARD           OH   44425‐2806
MATTHEW LEZYNSKI                     33 GARDENVILLE ON THE GRN                                                                  WEST SENECA       NY   14224‐6310
MATTHEW LIGNITZ                      12152 E POTTER RD                                                                          DAVISON           MI   48423‐8147
MATTHEW LIMINA JR                    7379 BALLA DR                                                                              NORTH TONAWANDA   NY   14120‐1470
MATTHEW LINEBAUGH                    424 FAWN RUN DR                                                                            TROY              MO   63379‐2582
MATTHEW LINN                         5311 CRESTWOOD DR                                                                          GRAND BLANC       MI   48439‐4319
MATTHEW LISSEY                       4357 CARTEE AVE                                                                            SPRING HILL       FL   34608‐3508
MATTHEW LITTLE                       725 SCHOOL ST APT 2121                                                                     RAHWAY            NJ   07065‐3568
MATTHEW LONDON                       11923 SILICA RD                                                                            NORTH JACKSON     OH   44451‐9674
MATTHEW LONG                         9132 W 100 S                                                                               ANDREWS           IN   46702‐9739
MATTHEW LOOMIS                       PO BOX 206                                                                                 GAINES            MI   48436‐0206
MATTHEW LUDWIG                       47410 BELL SCHOOL RD                                                                       E LIVERPOOL       OH   43920‐9792
MATTHEW M EVANS                      10234 VIRGINIA LEE DR.                                                                     CENTERVILLE       OH   45458‐4423
MATTHEW M GANTT                      2032 E RAHN RD                                                                             KETTERING         OH   45440‐2535
MATTHEW M HEATON                     80 SUNSET DR LOT 19                                                                        BLUFFTON          IN   46714‐1230
MATTHEW M VAN SCHAIK                 2929 SHIVELY CT                                                                            KETTERING         OH   45420
MATTHEW MACARTHUR, ESTATE OF         1135 MEYERS ST                  C/O CATHERINE WILLARD, CONS.                               FREELAND          MI   48623‐9073
MATTHEW MACKOS                       3605 CHURCHILL AVE                                                                         FLINT             MI   48506‐4737
MATTHEW MAGARY                       BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS        OH   44236
MATTHEW MAGINLEY                     41900 BANBURY RD                                                                           NORTHVILLE        MI   48168‐2343
MATTHEW MAGRYTA                      7168 TOWER RD                                                                              SOUTH LYON        MI   48178‐9649
                       09-50026-mg             Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                   Address1                         Address2                     Address3   Address4         City           State Zip
MATTHEW MAHLER
MATTHEW MAIHER         3004 SUNSET HILLS LN                                                                      COLUMBIA       TN    38401‐7379
MATTHEW MALIK          2650 BAY VISTA DR                                                                         HIGHLAND       MI    48357‐4970
MATTHEW MANNIKKA       100 RIVERFRONT DR                APT 410                                                  DETROIT        MI    48226‐4535
MATTHEW MANNING        904 W MAIN ST                                                                             BRIGHTON       MI    48116‐1336
MATTHEW MANSFIELD      2817 WALL ST                                                                              KEEGO HARBOR   MI    48320‐1137
MATTHEW MANZ           2701 LATONIA BLVD                                                                         TOLEDO         OH    43606‐3623
MATTHEW MARION         5350 PONTIAC LAKE RD                                                                      WATERFORD      MI    48327‐2471
MATTHEW MARTENS        7583 S FOREST HILL RD                                                                     SAINT JOHNS    MI    48879‐9247
MATTHEW MARTIN         3549 S STATE ROUTE 4                                                                      ATTICA         OH    44807‐9597
MATTHEW MARTIN         1110 BLANCHARD AVE                                                                        FLINT          MI    48503‐5304
MATTHEW MARTIN         615 CHERRY AVE                                                                            NILES          OH    44446‐2525
MATTHEW MARTIN         2938 E 25 N                                                                               HUNTINGTON     IN    46750‐9360
MATTHEW MARTIN JR      2208 SKYLINE DR                                                                           KALAMAZOO      MI    49006‐1420
MATTHEW MARTINCHICK    36522 LANSBURY LN                                                                         FARMINGTON     MI    48335‐2930
MATTHEW MARTINI        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS     OH    44236
MATTHEW MAXIM          3369 COSEYBURN RD                                                                         WATERFORD      MI    48329‐4301
MATTHEW MAYER          4812 NEBRASKA AVE                                                                         DAYTON         OH    45424‐6006
MATTHEW MAZURCO        50596 KNIGHTSBRIDGE DR                                                                    MACOMB         MI    48044‐6339
MATTHEW MC CALL        10800 WAYCROFF DR                                                                         SAINT LOUIS    MO    63114‐1822
MATTHEW MC CLELLAND    4885 E CLOVERDALE RD                                                                      HASTINGS       MI    49058‐9340
MATTHEW MC INTYRE JR   1007 W HILLSDALE ST                                                                       LANSING        MI    48915‐1645
MATTHEW MC LAUGHLIN    PO BOX 9022                      C/O KOREA                                                WARREN         MI    48090‐9022
MATTHEW MC LEAN        1159 WIGGINS LAKE RD                                                                      GLADWIN        MI    48624‐7623
MATTHEW MCBRIDE        602 COLLIER RD                                                                            PONTIAC        MI    48340‐1310
MATTHEW MCCORD         25507 LAFAYETTE DR                                                                        RHOADESVILLE   VA    22542‐8511
MATTHEW MCCOY          19373 ELKHART ST                                                                          HARPER WOODS   MI    48225‐2159
MATTHEW MCCULLOUGH     1478 TERRAWENDA DR                                                                        DEFIANCE       OH    43512‐3210
MATTHEW MCCUNE         5287 BIXLER RD                                                                            BELLVILLE      OH    44813‐9021
MATTHEW MCELROY        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS     OH    44236
MATTHEW MCGILL         1118 OAKLAND DRIVE                                                                        ANDERSON       IN    46012‐4536
MATTHEW MCGRAW         54 HARTLEY ST                                                                             LAPEER         MI    48445‐2547
MATTHEW MCGUIRE        2427 SHADOW‐WOOD LN                                                                       MANSFIELD      OH    44903
MATTHEW MCINTYRE       4229 E HILL RD                                                                            GRAND BLANC    MI    48439‐7971
MATTHEW MCKEE          19001 WESTMORE ST                                                                         LIVONIA        MI    48152‐4440
MATTHEW MCKINNON       5103 TIMBERLINE LN                                                                        BRIGHTON       MI    48116‐9737
MATTHEW MCLAUGHLIN     239 HEMLOCK DR                                                                            ELYRIA         OH    44035‐1445
MATTHEW MCMAHAN        9345 GOLFCREST CIR                                                                        DAVISON        MI    48423‐8370
MATTHEW MCNAMARA       12341 NICHOLS RD                                                                          MONTROSE       MI    48457‐9763
MATTHEW MCWILLIAMS
MATTHEW MEADE          12334 N ELMS RD                                                                           CLIO           MI    48420‐9486
MATTHEW MENDY          13504 NE 84TH ST                 SUITE 103‐282                                            VANCOUVER      WA    98682
MATTHEW MERRELLI       51700 SASS RD                                                                             CHESTERFIELD   MI    48047‐3032
MATTHEW MERRITT        5575 CANONSBURG RD                                                                        GRAND BLANC    MI    48439‐9133
MATTHEW METIVA         5170 SHERMAN RD                                                                           SAGINAW        MI    48604‐1145
MATTHEW MEYER          981 COVENTRY CT                                                                           OXFORD         MI    48371‐6723
MATTHEW MICHAL         2317 STARR RD APT 325                                                                     ROYAL OAK      MI    48073‐2237
MATTHEW MICHALSKI      4873 E SAINT JOE HWY                                                                      GRAND LEDGE    MI    48837‐9491
MATTHEW MIGA           3003 LAKESHORE RD                                                                         LEXINGTON      MI    48450‐9217
MATTHEW MILLER         3625 N BANCROFT ST                                                                        INDIANAPOLIS   IN    46218‐1708
MATTHEW MILLER         1505 THREAD VLY                                                                           HOLLY          MI    48442‐9606
MATTHEW MILLER         227 E LEGRAND ST                                                                          HOWELL         MI    48843‐2529
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Name                              Address1                          Address2                     Address3   Address4         City                   State Zip
MATTHEW MILLER                    2141 STATE ROUTE 179                                                                       JEROMESVILLE            OH 44840‐9745
MATTHEW MILLER                    5499 E 00 W                                                                                MARION                  IN 46952
MATTHEW MILLER                    412                               SOUTH                        MADISON                     MARSHALL                MI 49068
MATTHEW MILLHOUSE                 PO BOX 46108                                                                               BEDFORD                 OH 44146‐0108
MATTHEW MILLS                     311 W BURT DR                                                                              COLUMBIA                TN 38401‐2073
MATTHEW MINES                     107 LINCOLN AVE                                                                            NILES                   OH 44446‐3122
MATTHEW MITCHELL                  C/0 BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS              OH 44236
MATTHEW MOBLEY                    803B STATE ROUTE 725 E                                                                     CAMDEN                  OH 45311‐7916
MATTHEW MODROVSKY                 PO BOX 1293                                                                                BOWLING GREEN           KY 42102‐1293
MATTHEW MOGIELSKI                 8840 WHITLOCK AVE                                                                          DEARBORN                MI 48126‐4703
MATTHEW MOGILSKI                  57 CLAY ST                                                                                 BUFFALO                 NY 14207‐2817
MATTHEW MOLITOR                   1917 N PRESIDENT ST                                                                        WHEATON                  IL 60187‐3328
MATTHEW MOLLOSEAU                 1133 BRABBS ST                                                                             BURTON                  MI 48509‐1919
MATTHEW MONDEN                    31096 QUAIL RUN DR                                                                         CHESTERFIELD            MI 48047‐3529
MATTHEW MONROE                    3815 LINDSLEY DR                                                                           METAMORA                MI 48455‐9765
MATTHEW MOORE JR                  3762 TREE BARK TRL                                                                         DECATUR                 GA 30034‐2122
MATTHEW MORRISSEY                 5654 SEYMOUR RD                                                                            JACKSON                 MI 49201‐9607
MATTHEW MOSELEY                   109 MALDON DRIVE                                                                           CARY                    NC 27513‐1753
MATTHEW MOSSBURG                  18689 TERESA DR                                                                            MACOMB                  MI 48044‐1682
MATTHEW MOULTRUP                  4807 ECKLES ST                                                                             CLARKSTON               MI 48346‐3516
MATTHEW MRAKOVICH                 3442 JOHNSON FARM DR                                                                       CANFIELD                OH 44406‐9246
MATTHEW MULLONE                   3930 AVENUE J                                                                              FORT WORTH              TX 76105‐2525
MATTHEW N WOLOSZYN                919 WOODSTOCK AVENUE                                                                       TONAWANDA               NY 14150‐5541
MATTHEW NAEF                      1279 BALD EAGLE LAKE RD                                                                    ORTONVILLE              MI 48462‐9096
MATTHEW NARANJO                   2457 GRAND RIVER ROAD                                                                      BANCROFT                MI 48414‐9731
MATTHEW NELSON                    62055 KIM CT                                                                               WASHINGTON              MI 48094‐1016
MATTHEW NEVISON                   109 CULVER RD                                                                              COLUMBIA                TN 38401‐6619
MATTHEW NEVISON                   1271 OLD HIGHWAY 99                                                                        LEWISBURG               TN 37091‐6638
MATTHEW NEWMAN                    9108 NEWMAN DR                                                                             PORTLAND                MI 48875‐8491
MATTHEW NICKELS                   6303 PHEASANT VALLEY RD                                                                    DAYTON                  OH 45424
MATTHEW NICOSIA                   5383 W LAKE RD                                                                             BURT                    NY 14028‐9730
MATTHEW NIEMI                     5800 SILVER BIRCH RD                                                                       ORTONVILLE              MI 48462‐9519
MATTHEW NOEL                      8 N LONG ST                                                                                SHELBY                  OH 44875‐1409
MATTHEW NOONE                     2598 TOPSHAM DR                                                                            ROCHESTER HILLS         MI 48306‐3057
MATTHEW NORRIS                    1004 LINCOLN RD                                                                            GROSSE POINTE SHORES    MI 48230‐1208
MATTHEW NORTON                    5045 EAGLEVILLE PIKE                                                                       CHAPEL HILL             TN 37034‐2426
MATTHEW NOSKY                     3540 BOWEN RD                                                                              LANCASTER               NY 14086‐9649
MATTHEW NOWAK                     5650 SHEFFIELD DR                                                                          CLARKSTON               MI 48346‐3067
MATTHEW NUGENT                    206 CYPRESS CT                                                                             O FALLON                MO 63366‐1631
MATTHEW NYLIN                     3536 ELMHURST AVE                                                                          ROYAL OAK               MI 48073‐2344
MATTHEW OETJENS                   6592 GLENDALE DR                                                                           TROY                    MI 48098‐1714
MATTHEW OHL, U.S. ENVIRONMENTAL   77 WEST JACKSON BOULEVARD, S‐6J                                                            CHICAGO                  IL 60604‐3590
PROTECTION AGENCY, REGION 5
MATTHEW OLIN                      6715 BRIDLE TRAIL LN                                                                       HIGH RIDGE             MO   63049‐2061
MATTHEW OLIN SR                   3707 FALCON RIDGE DR                                                                       JANESVILLE             WI   53548
MATTHEW OLIVER                    5759 RED PINE TRL                                                                          DRYDEN                 MI   48428‐9402
MATTHEW ORDIWAY                   237 HUME BLVD                                                                              LANSING                MI   48917‐4243
MATTHEW OREL                      3832 STONECREST RD                                                                         WEST BLOOMFIELD        MI   48322‐1744
MATTHEW ORR                       1921 STEVEN AVE APT 450                                                                    BEDFORD                IN   47421‐3648
MATTHEW ORR                       4716 SHERMAN ST                                                                            ONONDAGA               MI   49264‐9785
MATTHEW OSBORNE                   2801 SCHLEY AVE APT 2B                                                                     BRONX                  NY   10465‐2700
MATTHEW OSTERBERG                 815 THOMAS ST                                                                              FLUSHING               MI   48433‐1761
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Name                    Address1                       Address2                     Address3    Address4         City                State Zip
MATTHEW P EISMANN       1421 SHERWOOD FOREST DR.                                                                 WEST CARROLLTON      OH 45449
MATTHEW P LERMAN        454 BEACH 143RD STREET                                                                   NEPONSIT             NY 11694‐1111
MATTHEW P MCALEER       116 FOREST CREEK DR                                                                      STRUTHERS            OH 44471‐2187
MATTHEW P SHACKELFORD   1727 SOMERS‐GRATIS RD                                                                    CAMDEN               OH 45311‐8844
MATTHEW P SPANISH       5204 CLEVELAND AVE                                                                       NEWTON FALLS         OH 44444‐1822
MATTHEW P SPANISH       5204 CLEVELAND AVE                                                                       NEWTON FALLS         OH 44444‐1822
MATTHEW PALERMO         327 WHITTIER RD                                                                          SPENCERPORT          NY 14559‐2257
MATTHEW PAPPAS          815 W BRECKENRIDGE ST                                                                    FERNDALE             MI 48220‐1259
MATTHEW PARKER          1087 S SEYMOUR RD                                                                        FLINT                MI 48532‐5516
MATTHEW PARKER          11357 BALFOUR RD                                                                         DETROIT              MI 48224‐1110
MATTHEW PARSONS         9731 FOUNTAIN LN                                                                         FOWLERVILLE          MI 48836‐9662
MATTHEW PATTERSON       28691 PALM BEACH DR                                                                      WARREN               MI 48093‐2629
MATTHEW PATTERSON       1501 STATE ST                                                                            CALUMET CITY          IL 60409
MATTHEW PATTERSON       103 SOUTH DR                                                                             ANDERSON             IN 46013‐4143
MATTHEW PATTERSON       PO BOX 2184                                                                              ANDERSON             IN 46018‐2184
MATTHEW PAWLICKI        PO BOX 11                                                                                TROY                 MI 48099‐0011
MATTHEW PEABODY         54251 ALGONQUIN DR                                                                       SHELBY TWP           MI 48315‐1105
MATTHEW PEAIRE          777 S. HARBOUR ISLAND BLVD     SUITE 500                                                 TAMPA                FL 33602
MATTHEW PEAIRE          C/O MATTHEW W. PEAIRE, ESQ.    777 S. HARBOUR ISLAND BLVD   SUITE 500                    TAMPA                FL 33602
MATTHEW PEARSON         1421 CLOVER LN                                                                           FORT WORTH           TX 76107‐2424
MATTHEW PECK            1183 NOTTINGHAM FOREST TRL                                                               WILLIAMSTON          MI 48895‐9203
MATTHEW PEDEN           3806 ETTMAN ST                                                                           SHRUB OAK            NY 10588‐1009
MATTHEW PERNOT          60 WESTMAR DR                                                                            ROCHESTER            NY 14624‐2541
MATTHEW PERRY           7089 LITTLE DRY CREEK RD                                                                 PULASKI              TN 38478‐8678
MATTHEW PETERSON        2409 PIERCE ST                                                                           FLINT                MI 48503‐2807
MATTHEW PFEIFFER        23211 REPUBLIC AVE                                                                       OAK PARK             MI 48237‐2355
MATTHEW PHILLIPS        202 CLARENCE ST                                                                          HOLLY                MI 48442‐1416
MATTHEW PIAZZA          PO BOX 1916                                                                              WARREN               MI 48090‐1916
MATTHEW PIERRE          61 GARLAND LN                                                                            WILLINGBORO          NJ 08046‐3011
MATTHEW PINTO           3915 NORTHWOOD DR SE                                                                     WARREN               OH 44484‐2645
MATTHEW PION            5696 MARSHALL RD                                                                         OLIVET               MI 49076‐9452
MATTHEW PLUMMER         28817 DEF PUT COUNTY LINE                                                                CONTINENTAL          OH 45831
MATTHEW PLUNKETT        658 COUNTY ROAD 25                                                                       CROSSVILLE           AL 35962‐3724
MATTHEW PLY             46655 MEADOWVIEW DR                                                                      SHELBY TOWNSHIP      MI 48317‐4154
MATTHEW POTEETE         PO BOX 25                                                                                MCLOUD               OK 74851‐0025
MATTHEW POTOCKI         617 PARK ST                                                                              HILLSBORO             IL 62049‐1924
MATTHEW POUNDS          7718 STATE ROUTE 42 S                                                                    LEXINGTON            OH 44904‐9401
MATTHEW POXON           2088 GULLIVER DR                                                                         TROY                 MI 48085‐1032
MATTHEW PRANTERA        1159 WORTHINGTON RD                                                                      BIRMINGHAM           MI 48009‐3097
MATTHEW PRAY            6218 SHARP RD                                                                            SWARTZ CREEK         MI 48473‐9463
MATTHEW PRICE           5344 N HENDERSON RD                                                                      DAVISON              MI 48423‐8402
MATTHEW PROKES          MATT PROKES                    9758 HAMLET AVE S                                         COTTAGE GROVE        MN 55016
MATTHEW PRUSKI          6589 WILSON DR                                                                           BRIGHTON             MI 48116‐2021
MATTHEW PRZYBYLSKI      5123 TREEHILL RD                                                                         GRAND BLANC          MI 48439‐2053
MATTHEW PUNG            PO BOX 215                                                                               MIDDLETON            MI 48856‐0215
MATTHEW PURDY           2911 N BLAIR AVE                                                                         ROYAL OAK            MI 48073‐3518
MATTHEW PUSSEHL         65755 CAMPGROUND RD                                                                      WASHINGTON           MI 48095‐1813
MATTHEW QUATRINE        4640 REED RD                                                                             THOMPSONS STATION    TN 37179‐5251
MATTHEW QUEHL           5805 CALETA DR                                                                           LANSING              MI 48911‐6471
MATTHEW R DANNA         6565 FOXRIDGE DR APT 3103                                                                MISSION              KS 66202‐1398
MATTHEW R HALE          2995 HALE RD                                                                             WILMINGTON           OH 45177
MATTHEW R JACOBS        6263 SETON HILL                                                                          CENTERVILLE          OH 45459‐2926
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Name                            Address1                         Address2          Address3         Address4         City                  State Zip
MATTHEW R MAHAFFEY              1329 ROCHELLE AVE                                                                    KETTERING              OH 45429
MATTHEW R PEASE                 114 N CLINTON AVE                                                                    ELMHURST                IL 60126
MATTHEW R PETRARCA              712 N.WARD AVE.                                                                      GIRARD                 OH 44420
MATTHEW R RIOTTO                62 HERITAGE WOODS CT                                                                 ROCHESTER              NY 14615‐1024
MATTHEW R WALDNER               1134 HOLLYWOOD AVE                                                                   GROSSE POINTE WOODS    MI 48236‐1368
MATTHEW R WHEELER               1213 OPAL AVENUE                                                                     MIAMISBURG             OH 45342‐1941
MATTHEW R WOODHULL              6035 LAKE DR                                                                         YPSILANTI              MI 48197‐7015
MATTHEW RABY                    5961 HIGH POINT CT                                                                   BRIGHTON               MI 48116‐8065
MATTHEW RADKOWSKI               50 PHILADELPHIA ST                                                                   BUFFALO                NY 14207‐1626
MATTHEW RAHBAR HAKIMI           912 COAST RANGE DR                                                                   SCOTTS VALLEY          CA 95066
MATTHEW RASH                    1057 W SHELLY LN                                                                     ALEXANDRIA             IN 46001‐8373
MATTHEW RATLIFF                 8909 SPRING VIEW DR                                                                  FORT WAYNE             IN 46804‐5964
MATTHEW RAWLINGS                357 AMBLESIDE LN                                                                     ABERDEEN               MD 21001‐1850
MATTHEW RAWLS                   511 COUNTRY LN                                                                       EWING                  NJ 08628‐3309
MATTHEW REANEY                  925 THORNE DR                                                                        WEST CHESTER           PA 19382‐7578
MATTHEW REARDON                 3802 IVEY LN SW                                                                      LILBURN                GA 30047‐2134
MATTHEW REED                    12500 SHAKER BLVD APT 705                                                            CLEVELAND              OH 44120‐2059
MATTHEW REID                    20220 FAUST AVE                                                                      DETROIT                MI 48219‐1552
MATTHEW REILAND                 1067 WOODBRIAR DR                                                                    OXFORD                 MI 48371‐6069
MATTHEW RENS JR                 1685 INNWOOD N                                                                       INTERLOCHEN            MI 49643‐9717
MATTHEW RHODES                  96 W 44TH ST                                                                         BAYONNE                NJ 07002‐2011
MATTHEW RIGG                    3733 S FENMORE RD                                                                    MERRILL                MI 48637‐9649
MATTHEW RIZOR                   1501 MILLER RD                                                                       LAKE ORION             MI 48362‐3756
MATTHEW RIZZO                   30144 WARLEY CT                                                                      NOVI                   MI 48377‐2193
MATTHEW ROBERGE                 5719 N HIGHLAND ST                                                                   DEARBORN HTS           MI 48127‐3249
MATTHEW ROBERTS                 6511 EL RANCHO RD                                                                    SHREVEPORT             LA 71129‐3813
MATTHEW ROGERS                  1961 MORRIS RD                                                                       LAPEER                 MI 48446‐9323
MATTHEW ROLA                    1155 MINERS RUN                                                                      ROCHESTER              MI 48306‐4801
MATTHEW ROMBACH                 6897 COUNTRY LANE DR                                                                 DAVISBURG              MI 48350‐2939
MATTHEW ROSSER                  303 SKIPPER PL NW APT A                                                              ATLANTA                GA 30318‐0702
MATTHEW ROSSNEY                 72 JULIANE DR                                                                        ROCHESTER              NY 14624‐1453
MATTHEW ROUSE                   731 W BRANNAN ISLAND RD SPC 24                                                       ISLETON                CA 95641‐9775
MATTHEW ROUSSEL                 300 STONEHAM DR                                                                      HOCKESSIN              DE 19707‐1417
MATTHEW ROY                     2682 SHADY HOLLOW DR                                                                 WHITE LAKE             MI 48383‐1849
MATTHEW ROYAL                   239 ALDRICH RD                                                                       AUSTINTOWN             OH 44515‐3908
MATTHEW ROZEN                   7319 LOBDELL RD                                                                      LINDEN                 MI 48451‐8765
MATTHEW RUDNICK                 1860 BIRMINGHAM BLVD                                                                 BIRMINGHAM             MI 48009‐1992
MATTHEW RUSSELL                 7270 MCGUIRE RD                                                                      FENTON                 MI 48430‐9043
MATTHEW RUTHENBERG              61501 N RIDGE TRL                                                                    WASHINGTON             MI 48094‐1131
MATTHEW RYAN                    87 S CALDER WAY                                                                      PHOENIXVILLE           PA 19460
MATTHEW S AND CAROL F KRYCZKO   16 PENNYBROOK LN                                                                     MIDDLETOWN             NJ 07748
MATTHEW S BULLMAN               340 E MAIN ST                                                                        WEST CARROLLTON        OH 45449
MATTHEW S CALLAHAN              8539 UPPER MIAMISBURG RD                                                             MIAMISBURG             OH 45342
MATTHEW S FREEMAN               5506 SAVINA AVE                                                                      DAYTON                 OH 45415
MATTHEW S GRZELAK               2191 BEDELL RD.                                                                      GRAND ISLAND           NY 14072
MATTHEW S JEFFERS               6032 CURSON DR                                                                       TOLEDO                 OH 43612‐4013
MATTHEW S KETELS                576 SYLVANWOOD DR                                                                    TROY                   MI 48085‐3126
MATTHEW S LOBIONDO              1126 EXCELSIOR AVE                                                                   OAKLAND                CA 94610‐2829
MATTHEW S MATTINGLY             200 S MAIN ST                                                                        ENGLEWOOD              OH 45322‐‐ 13
MATTHEW S MCINTOSH              1613 LAMBERTON ST                                                                    MIDDLETOWN             OH 45044‐6417
MATTHEW S MITCHELL              429 EMERSON AVENUE                                                                   NEW LEBANON            OH 45345
MATTHEW S SCHOOL                102 WOODLAND TRACE                                                                   CORTLAND               OH 44410
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Name                 Address1                        Address2                   Address3   Address4         City               State Zip
MATTHEW S STAMPER    7330 COSNER DR.                                                                        HUBER HEIGHTS       OH 45424
MATTHEW S WILLIAMS   16182 MILTON AVE                                                                       LAKE MILTON         OH 44429
MATTHEW SANDERS
MATTHEW SANDNER      38133 MEDVILLE DR                                                                      STERLING HEIGHTS   MI   48312‐1258
MATTHEW SATCHELL     1018 MEADOWCREST DR                                                                    WATERFORD          MI   48327‐2936
MATTHEW SAZY         10356 LAPEER RD                                                                        DAVISON            MI   48423‐8159
MATTHEW SCARLETT     1706 N PLEASANT ST                                                                     ROYAL OAK          MI   48067‐4339
MATTHEW SCHERBA      13065 SAM HILL LN                                                                      FENTON             MI   48430‐9548
MATTHEW SCHLINKER    919 KENSINGTON AVE                                                                     FLINT              MI   48503‐5311
MATTHEW SCHLIS       4289 WILDERNESS CT                                                                     GRAND BLANC        MI   48439‐9636
MATTHEW SCHNEIDER    APT 183                         30985 DORCHESTER                                       NEW HUDSON         MI   48165‐9448
MATTHEW SCHROEDER    PO BOX 9022                     C/O SHANGHAI                                           WARREN             MI   48090‐9022
MATTHEW SCHUCKER     9711 ADAMS ST                                                                          LIVONIA            MI   48150‐2422
MATTHEW SCOTT        5190 PIERCE RD NW                                                                      WARREN             OH   44481‐9309
MATTHEW SCOTT        G5505 DETROIT ST                                                                       FLINT              MI   48505‐1243
MATTHEW SCRASE       6900 WESTAWAY DR                                                                       TROY               MI   48085‐1550
MATTHEW SCRIMIZZI    410 RIDGELAWN AVE                                                                      HAMILTON           OH   45013‐3021
MATTHEW SEDLARIK     3185 DUFFIELD RD                                                                       FLUSHING           MI   48433‐9793
MATTHEW SEETERLIN    575 LAKESHORE CIR APT 103                                                              AUBURN HILLS       MI   48326‐4514
MATTHEW SEITZ        APT 310                         13103 HAMPTON CLUB DRIVE                               N ROYALTON         OH   44133‐7428
MATTHEW SELF         LOWR                            4639 WEBBERDALE DRIVE                                  HOLLY              MI   48442‐8930
MATTHEW SERAFIN      41 TRENTWOOD TRL                                                                       LANCASTER          NY   14086‐1465
MATTHEW SESERA       4 FERN DRIVE                                                                           SARASOTA SPRINGS   NY   12866‐8929
MATTHEW SHANNON      1818 STATE ROUTE 257 S                                                                 DELAWARE           OH   43015‐8592
MATTHEW SHARP        1330 WRIGLEY LN                                                                        PERRIS             CA   92571‐0819
MATTHEW SHEARER      6501 JUNIOR CT                                                                         FRANKLLIN          OH   45005‐4145
MATTHEW SHELBURNE    8624 MONROEVILLE RD                                                                    HOAGLAND           IN   46745‐9733
MATTHEW SHELL        2280 BRADSHIRE RD                                                                      MIAMISBURG         OH   45342‐5286
MATTHEW SHERMAN      1039 OLD LEAKE CT                                                                      HOLLY              MI   48442‐1387
MATTHEW SHERWOOD     G 6044 S DORT HWY                                                                      GRAND BLANC        MI   48439
MATTHEW SHINE        51213 ASSEMBLY ST                                                                      BELLEVILLE         MI   48111‐4245
MATTHEW SIERADSKI    118 BRIDGEWATER TRL                                                                    HUDSON             WI   54016‐7778
MATTHEW SIMMONS      833 FROST RD APT 2302                                                                  STREETSBORO        OH   44241‐4798
MATTHEW SIMONIN      2415 GALWAY DR                                                                         DAVISON            MI   48423‐9505
MATTHEW SIMONINI     2135 MILLSTREAM DR                                                                     WIXOM              MI   48393‐1747
MATTHEW SISSON       106 TOWERING OAKS CIR                                                                  WEST MONROE        LA   71291‐4743
MATTHEW SKERJANCE    10051 SHARP RD                                                                         SWARTZ CREEK       MI   48473‐9154
MATTHEW SLADE        12253 GALE RD                                                                          OTISVILLE          MI   48463‐9432
MATTHEW SLEEMAN      350 1ST ST                                                                             SUNFIELD           MI   48890‐9020
MATTHEW SLOWEY       1205 RICHARDSON ST                                                                     JANESVILLE         WI   53545‐1029
MATTHEW SMITH        3648 STONECREEK DR                                                                     SPRING HILL        TN   37174‐2197
MATTHEW SMITH        5808 WOODVIEW DR                                                                       STERLING HTS       MI   48314‐2068
MATTHEW SMITH        22941 PLEASANT ST                                                                      ST CLR SHORES      MI   48080‐3447
MATTHEW SMITH        54408 QUEENS ROW                                                                       SHELBY TOWNSHIP    MI   48316‐1528
MATTHEW SMITH        2983 HIDDEN TIMBER DR                                                                  ORION              MI   48359‐1577
MATTHEW SMITH        14365 WEBSTER RD                                                                       BIRCH RUN          MI   48415‐8601
MATTHEW SMITH        369 SALEM DR S                                                                         ROMEO              MI   48065‐5051
MATTHEW SMITH        8401 DELAND RD                                                                         BROOKLYN           MI   49230‐8941
MATTHEW SMITH        12530 BENDER DR                                                                        STERLING HTS       MI   48313‐3300
MATTHEW SMUCKER      12718 CRATER LAKE CT                                                                   HUMBLE             TX   77346‐3092
MATTHEW SNIDER       2604 BONNY BROOK DR                                                                    HOWELL             MI   48843‐8376
MATTHEW SNYDER       2825 S 337 E                                                                           KOKOMO             IN   46902‐9520
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Name                 Address1                         Address2                     Address3   Address4         City            State Zip
MATTHEW SOBOTA       5529 OAKDALE DR                                                                           OAK LAWN          IL 60453‐4614
MATTHEW SOLAK        19620 SWITZER RD                                                                          DEFIANCE         OH 43512‐9730
MATTHEW SOLARZ       6326 HARTLAND RD                                                                          FENTON           MI 48430‐9522
MATTHEW SOMERS       PO BOX 235                                                                                REXFORD          MT 59930‐0235
MATTHEW SOWINSKI     13 BEACON CIR                                                                             MILLSBORO        DE 19966
MATTHEW SPANISH      5204 CLEVELAND AVE                                                                        NEWTON FALLS     OH 44444‐1822
MATTHEW SPROUL       402 CLEARVIEW DR                                                                          HOUGHTON LAKE    MI 48629‐9408
MATTHEW SPRUIT       710 S MAIN ST                                                                             MILFORD          MI 48381‐2362
MATTHEW SQUIRE       980 WATER VIEW LN                                                                         FENTON           MI 48430‐4160
MATTHEW STACK        47737 WALDEN RD                                                                           MACOMB           MI 48044‐5008
MATTHEW STAPLETON    8006 MEAGHAN LEIGH DR                                                                     EDMOND           OK 73034‐1503
MATTHEW STARK        6300 AIKEN RD                                                                             LOCKPORT         NY 14094‐9618
MATTHEW STEDMAN      5040 VASSAR RD                                                                            GRAND BLANC      MI 48439‐9176
MATTHEW STEPHENS     838 QUIGLEY ST                                                                            HOLLAND          OH 43528‐8583
MATTHEW STERK        5224 HALLEY VIEW RUN                                                                      FORT WAYNE       IN 46814‐9500
MATTHEW STERNER      14 QUAY ST                                                                                DANSVILLE        NY 14437‐1714
MATTHEW STITTS       16551 DRAKE RD                                                                            STRONGSVILLE     OH 44136‐7309
MATTHEW STOKES       12839 CIMARRON DR                                                                         BIRCH RUN        MI 48415‐9315
MATTHEW STONER       23376 ST. RT 34‐1                                                                         STRYKER          OH 43557
MATTHEW STRIZAK      14101 REVERE CIR                                                                          CLEVELAND        OH 44130‐7033
MATTHEW STRNIC       8010 SAWMILL CREEK DR                                                                     DARIEN            IL 60561‐4916
MATTHEW STROHM       808 SOUTHEND CT                                                                           MANCHESTER       NJ 08759‐4600
MATTHEW STROY        3601 MILTON ST                                                                            SHREVEPORT       LA 71109‐3327
MATTHEW SUMMERS      300 EAST LOMBARD STREET                                                                   BALTIMORE        MD 21202
MATTHEW SUNDAY       13245 RITA ST                                                                             PAULDING         OH 45879‐8865
MATTHEW SWAIN        39 EVANS AVE                                                                              AUSTINTOWN       OH 44515‐1622
MATTHEW SWAIN        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS       OH 44236
MATTHEW SWEENEY      PO BOX 212                                                                                SEVILLE          OH 44273‐0212
MATTHEW SWIDERSKI    16430 SHARON CT                                                                           ORLAND PARK       IL 60467‐5592
MATTHEW SWITRAS      3828 HAZELTON AVE                                                                         ROCHESTER HLS    MI 48307‐5118
MATTHEW SZYMONIAK    840 SHORE GROVE CIR APT 307                                                               AUBURN HILLS     MI 48326
MATTHEW T BEYRAU     302 WRIGHT AVE                                                                            SYRACUSE         NY 13211‐1546
MATTHEW T COBLER     1252 HOLLYHILL AVE                                                                        MIAMISBURG       OH 45342‐1937
MATTHEW T HASTINGS   3234 SHEFFIELD RD                                                                         W CARROLLTON     OH 45449‐2753
MATTHEW T HOLDEMAN   5426 MONTGOMERY SQUARE DR.                                                                KETTERING        OH 45440‐2933
MATTHEW T HOMAN      3101 REGENT ST                                                                            KETTERING        OH 45409‐1419
MATTHEW T JENKINS    7255 BARD RD                                                                              TIPP CITY        OH 45371
MATTHEW T KECK       5265 SASHABAW RD                                                                          CLARKSTON        MI 48346‐3870
MATTHEW T LAMB       2064 OGDEN RD                                                                             WILMINGTON       OH 45177
MATTHEW T MEISEL     1306 4TH ST                                                                               BAY CITY         MI 48708‐6026
MATTHEW T NOTEBOOM   1842 S 11TH ST 1D‐S                                                                       KALAMAZOO        MI 49009
MATTHEW T PERKINS    1811 REBERT PK                                                                            SPRINGFIELD      OH 45506‐2825
MATTHEW T SMITH      212 E GRAND RIVER AVE                                                                     LANSING          MI 48906‐4328
MATTHEW T SWITRAS    3828 HAZELTON AVE                                                                         ROCHESTER HLS    MI 48307‐5118
MATTHEW T WEBSTER    4043 SONORA RD                                                                            LEWISBURG        OH 45338‐9532
MATTHEW TABELSKI     408 EAGLE ST                                                                              MEDINA           NY 14103‐1117
MATTHEW TANAKA       1303 NEHOA ST #14                                                                         HONOLULU         HI 96822
MATTHEW TAYLOR       334 DELIA ST                                                                              FLINT            MI 48505‐4618
MATTHEW TAYLOR       1279 HIDDEN VIEW DR                                                                       LAPEER           MI 48446‐9325
MATTHEW TEACHENOR    10088 IRISH RD                                                                            GOODRICH         MI 48438‐9096
MATTHEW THOMAS       68 WEBER AVENUE                                                                           HILLSBOROUGH     NJ 08844‐7039
MATTHEW THOMAS       7548 KILKENNY DR                                                                          BRIGHTON         MI 48116‐8848
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Name                                 Address1                         Address2                Address3                Address4             City                  State Zip
MATTHEW THOMPSON                     1864 BARCLAY MESSERLY RD                                                                              LEAVITTSBURG           OH 44430‐9762
MATTHEW THORNE                       1205 W HAMPTON RD                                                                                     ESSEXVILLE             MI 48732‐9703
MATTHEW THORPE                       2181 HARDWOOD DR                                                                                      DAVISON                MI 48423‐9568
MATTHEW TILLSON                      1018 LONG REACH DR                                                                                    TIKI ISLAND            TX 77554‐6162
MATTHEW TRANNON                      2430 FOX LN                                                                                           FLINT                  MI 48507‐2017
MATTHEW TREINEN                      220 N MARION AVE                                                                                      JANESVILLE             WI 53548‐3350
MATTHEW TREMONTI                     14929 COUNTRY CLUB DR                                                                                 LIVONIA                MI 48154‐5144
MATTHEW TRIMM                        3500 MAYBEE RD                                                                                        ORION                  MI 48359‐1410
MATTHEW TROYER                       14481 N CENTER RD                                                                                     CLIO                   MI 48420‐7934
MATTHEW TSIEN                        287 ORANGE LAKE DR                                                                                    BLOOMFIELD HILLS       MI 48302‐1162
MATTHEW TUCKER                       3728 LENA                                                                                             CHALMETTE              LA 70043
MATTHEW TURNER                       2403 TWIN OAKS DR                                                                                     HARRISONVILLE          MO 64701‐2900
MATTHEW TURNER                       4136 FORBUSH AVE                                                                                      W BLOOMFIELD           MI 48323‐1033
MATTHEW UDELL                        6067 EAST AVE                                                                                         NEWFANE                NY 14108‐1303
MATTHEW UPTMOR                       6361 LEUEN RD                                                                                         SAGINAW                MI 48604‐9741
MATTHEW V HALLER
MATTHEW VACHON                       12568 BENDER DR                                                                                       STERLING HEIGHTS      MI   48313‐3300
MATTHEW VAN HOOSE                    8433 OREGONIA RD                                                                                      WAYNESVILLE           OH   45068‐8576
MATTHEW VAN RAEMDONCK                11455 BEECHER RD                                                                                      FLUSHING              MI   48433‐9773
MATTHEW VANDERGRIFF                  11538 E HIGHWAY E                                                                                     CADET                 MO   63630
MATTHEW VANMETER                     10821 N CARTHAGE PIKE                                                                                 CARTHAGE              IN   46115‐9578
MATTHEW VARHOLA                      871 LINCOLN BLVD                                                                                      BEDFROD               OH   44146
MATTHEW VAUGHN                       PO BOX 9022                      C/O PORT ELIZABETH                                                   WARREN                MI   48090‐9022
MATTHEW VITALE                       15572 HARVEST LN                                                                                      SOUTHGATE             MI   48195‐6835
MATTHEW VOSS                         18 WOODWARD HEIGHTS BOULEVARD                                                                         PLEASANT RDG          MI   48069‐1247
MATTHEW VOSS                         5321 N GEORGETOWN RD                                                                                  GRAND BLANC           MI   48439‐8774
MATTHEW VREELAND                     1009 BUTCHER RD                                                                                       FENTON                MI   48430‐1201
MATTHEW W BEHNKE                     321 S HARRIS RD                                                                                       YPSILANTI             MI   48198‐5937
MATTHEW W CAMPBELL                   100 OAKRIDGE CV                                                                                       CLINTON               MS   39056‐6263
MATTHEW W HUSSEY, PERSONAL           C/O BRAYTON PURCELL              222 RUSH LANDING RD                                                  NOVATO                CA   94948‐6169
REPRESENTATIVE FOR THOMAS J HUSSEY

MATTHEW W MOBLEY                     803B STATE ROUTE 725 E                                                                                CAMDEN                OH   45311‐7916
MATTHEW W MORGAN SR                  439 ENXING AVENUE                                                                                     WEST CARROLLTON       OH   45449
MATTHEW W SCOTT                      1207 E JULIAH AVE                                                                                     FLINT                 MI   48505‐1630
MATTHEW WALDNER                      1134 HOLLYWOOD AVE                                                                                    GROSSE POINTE WOODS   MI   48236‐1368
MATTHEW WALKER                       6827 ELLINWOOD DR                                                                                     WHITE LAKE            MI   48383‐3087
MATTHEW WALL                         223 LAKE HURON DR                                                                                     MULBERRY              FL   33860‐8551
MATTHEW WALLS                        41721 EHRKE DR                                                                                        CLINTON TOWNSHIP      MI   48038‐1860
MATTHEW WARDIE                       16241 WHITEHEAD DR                                                                                    LINDEN                MI   48451‐8774
MATTHEW WARREN INC                   MATTHEW NICHOLS‐26               500 E OTTAWA ST         SPRINGS AND STAMPINGS                        LOGANSPORT            IN   46947‐2610
MATTHEW WARREN INC                   MATTHEW NICHOLS‐26               SPRINGS AND STAMPINGS   500 E OTTAWA            MATAMOROS TM 87499
                                                                                                                      MEXICO
MATTHEW WARREN INCORPORATED          SPRING & STAMPING OPERATION      PO BOX 631086                                                        CINCINNATI            OH   45263‐1086
MATTHEW WARREN/IN                    500 E OTTAWA ST                  P.O. BOX 7008                                                        LOGANSPORT            IN   46947‐2610
MATTHEW WASHINGTON                   13800 FAIRHILL RD APT 309                                                                             SHAKER HTS            OH   44120‐1291
MATTHEW WATERMAN                     6011 ARCOLA ST                                                                                        GARDEN CITY           MI   48135‐2526
MATTHEW WATT                         168 ISBELL RD                                                                                         ALVATON               KY   42122‐9702
MATTHEW WEIL                         1830 PARKER RD                                                                                        HOLLY                 MI   48442‐8539
MATTHEW WEISS                        439 KENWAY DR                                                                                         LANSING               MI   48917‐3040
MATTHEW WEITHMAN                     421 JEFFREY DR                                                                                        NEW WASHINGTN         OH   44854‐9783
MATTHEW WENGER                       3135 WENDOVER RD                                                                                      TROY                  MI   48084‐1256
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Name                   Address1                           Address2                  Address3   Address4              City            State Zip
MATTHEW WERTZ          7594 W CALLA RD                                                                               CANFIELD         OH 44406‐9454
MATTHEW WESOLOWSKI     6533 HUNTERS CREEK RD                                                                         SOUTH WALES      NY 14139‐9512
MATTHEW WHISENANT      41559 WILD TURKEY LN                                                                          CANTON           MI 48188‐2080
MATTHEW WHITNEY        142 DREXEL DR                                                                                 SEVERNA PARK     MD 21146‐1008
MATTHEW WHITTON        2129 CRISTINA ANNE CT                                                                         HOWELL           MI 48855‐6309
MATTHEW WHYBRA         5331 W WILLOUGHBY RD                                                                          LANSING          MI 48911‐6636
MATTHEW WIESCHOWSKI    15606 CENTRALIA                                                                               REDFORD          MI 48239‐3810
MATTHEW WILCOX ARNDT   11 RUE FRANTZ SEIMETZ                                                   L‐2531
                                                                                               LUXEMBOURG/LUXEMBOU
                                                                                               RG
MATTHEW WILES          403 E MARYLAND AVE                                                                            ROYAL OAK       MI   48067‐3751
MATTHEW WILLIAMS       68 WESTMINSTER RD                                                                             WEST SENECA     NY   14224‐1926
MATTHEW WILLIAMS       7471 IRONWOOD DR                                                                              SWARTZ CREEK    MI   48473‐9451
MATTHEW WILLIAMS       8101 ROUND LAKE RD                                                                            VERMONTVILLE    MI   49096‐9714
MATTHEW WILLIAMS       5541 LAKESIDE DRIVE                BLDG 1 APT 101                                             MARGATE         FL   33063
MATTHEW WILLIAMS       15796 LITTLEFIELD ST                                                                          DETROIT         MI   48227‐3620
MATTHEW WILLIAMS II    9254 SEMINDALE                                                                                CLARKSTON       MI   48346‐1853
MATTHEW WILLMANN       7681 E 100 S                                                                                  HARTFORD CITY   IN   47348‐9029
MATTHEW WILSON JR      11290 ASHCROFT LN                                                                             SAINT LOUIS     MO   63136‐6109
MATTHEW WINEMILLER     745 LARRY CT                                                                                  MANSFIELD       OH   44906‐1072
MATTHEW WIRWICKI       4645 WEST JACOBS ROAD                                                                         PERRY           MI   48872‐9317
MATTHEW WOODS          39105 SALEM DR                                                                                CLINTON TWP     MI   48038‐2856
MATTHEW WOODS          910 W BROOK ST                                                                                MITCHELL        IN   47446‐1327
MATTHEW WOPAT          2922 AUTUMN LN                                                                                JANESVILLE      WI   53546‐4351
MATTHEW WORTHMAN       1945 HICKORY AVE                                                                              HUNTINGTON      IN   46750‐7832
MATTHEW WRIGHT         518 WILLIAM G DR                                                                              CAPAC           MI   48014‐3045
MATTHEW WRIGHT         PO BOX 1984                                                                                   SAGINAW         MI   48605‐1984
MATTHEW WROBLEWSKI     25195 PINE VIEW AVE                                                                           WARREN          MI   48091‐1564
MATTHEW WROBLEWSKI     426 N HARVEY ST                                                                               WESTLAND        MI   48185‐3443
MATTHEW WRONSKI        9826 PEARSON RD                                                                               MIDDLEPORT      NY   14105‐9705
MATTHEW YARD           9060 FRANCES RD                                                                               OTISVILLE       MI   48463‐9411
MATTHEW YORK           3981 APACHE CT                                                                                OXFORD          MI   48370‐2901
MATTHEW YOST           0‐4555 LEONARD                                                                                LAMONT          MI   49430
MATTHEW YOUNG          1851 MARQUIS ST                                                                               LAPEER          MI   48446‐7724
MATTHEW YOUNG          PO BOX 88                                                                                     GRAND BLANC     MI   48480‐0088
MATTHEW Z ZINKIEWICZ   5347 HAVERFIELD RD                                                                            DAYTON          OH   45432
MATTHEW ZACHARY        4455 BRIDGEMAN TRL                                                                            SWARTZ CREEK    MI   48473‐8805
MATTHEW ZAMORA         4722 CRESTBROOK LN                                                                            FLINT           MI   48507‐2286
MATTHEW ZANARDELLI     17515 MACARTHUR                                                                               REDFORD         MI   48240‐2265
MATTHEW ZAPINSKI       1011 MICHIGAN BLVD                                                                            LINCOLN PARK    MI   48146‐4228
MATTHEW ZAROSL         370 OAK ST                                                                                    LEWISTON        NY   14092‐1216
MATTHEW ZAYAC          1366 CUTLER ST                                                                                BURTON          MI   48509‐2115
MATTHEW ZEMAITIS       109 OAK ST                                                                                    BROCKTON        MA   02301‐1301
MATTHEW ZIMMERMANN     1604 PROSPECT VILLAGE DR                                                                      LAKE ST LOUIS   MO   63367‐1027
MATTHEW ZISSLER        6285 E CARPENTER RD                                                                           FLINT           MI   48506‐1248
MATTHEW ZOLLER         1803 W FARNUM AVE                                                                             ROYAL OAK       MI   48067‐1581
MATTHEW, ALLISON A     902 W INDIANA ST                                                                              BAY CITY        MI   48706‐4236
MATTHEW, ALLISON ANN   902 W INDIANA ST                                                                              BAY CITY        MI   48706‐4236
MATTHEW, ALVIS ARTO    HUGGINS, MARGUERITE E              1502 W HWY 54 SUITE 201                                    DURHAM          NC   27707
MATTHEW, CLARENCE V    P.O. 8154                                                                                     BLOOMINGTON     IN   47407
MATTHEW, GARY R        815 LAWRENCE AVE                                                                              INDIANAPOLIS    IN   46227‐1525
MATTHEW, GARY R        812 W BUNKERHILL RD                                                                           MOORESVILLE     IN   46158‐6814
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Name                                 Address1                          Address2                      Address3           Address4         City              State Zip
MATTHEW, GLORIA                      12509 80TH AVE E                                                                                    PUYALLUP           WA 98373‐4836
MATTHEW, JOEL D                      2820 SARAH CT                                                                                       BAY CITY           MI 48708‐8464
MATTHEW, KELLEY K                    3059 SEDGEFIELD RD SW                                                                               ROANOKE            VA 24015‐4433
MATTHEW, RAYMOND                     875 SHEFFIELD RD                                                                                    AUBURN HILLS       MI 48326‐3532
MATTHEW, REGINA
MATTHEW‐WARREN INC                   500 E OTTAWA ST                                                                                     LOGANSPORT        IN   46947‐2610
MATTHEWS & BRANSCOMB                 106 S ST MARYS STREET SUITE 700                                                                     SAN ANTONIO       TX   78205
MATTHEWS & WEST, D.O., PA            505 CHESTNUT STREET                                                                                 ROSELLE PARK      NJ   07204
MATTHEWS ALVIN (657154)              BRAYTON PURCELL                   PO BOX 6169                                                       NOVATO            CA   94948‐6169
MATTHEWS BARNETTE, PAULETTE
MATTHEWS CARLTON T (409485)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA 23510
                                                                       STREET, SUITE 600
MATTHEWS CHARLES H                   MATTHEWS, CHARLES H               300 CAROLINA AVE                                                  CHESTER           WV   26034‐1128
MATTHEWS CHARLES H                   MATTHEWS, MERLE                   300 CAROLINA AVE                                                  CHESTER           WV   26034‐1128
MATTHEWS CHEVROLET                   313 MARKET ST                                                                                       BRILLIANT         OH   43913
MATTHEWS CHEVROLET                   2545 VESTAL PKWY E                                                                                  VESTAL            NY   13850‐2020
MATTHEWS CHEVROLET                   THEODORE MATTHEWS                 313 MARKET ST                                                     BRILLIANT         OH   43913
MATTHEWS CHEVROLET, INC.             PO BOX 1130                                                                                         VESTAL            NY   13851‐1130
MATTHEWS CLAYTON                     MATTHEWS, CLAYTON                 910 1/2 SUNSET CT                                                 SCOTT             LA   70583
MATTHEWS COLES                       PO BOX 37                                                                                           MINTER            AL   36761‐0037
MATTHEWS DARREN                      14269 BLUE SKIES ST                                                                                 LIVONIA           MI   48154‐4998
MATTHEWS ENTERPRISES PARTNERSHIP     FAMILY LIMITED                    ATTN LELAND MATTHEWS          380 ENGLEWOOD ST                    KERRVILLE         TX   78028

MATTHEWS GMC                         3721 VESTAL RD                                                                                      VESTAL            NY 13850‐2228
MATTHEWS HA/2020 BEL                 PARTS DEPARTMENT                  2020 BELLAIRE                                                     ROYAL OAK         MI 48067
MATTHEWS HUGH (ESTATE OF) (640575)   BRAYTON PURCELL                   PO BOX 6169                                                       NOVATO            CA 94948‐6169

MATTHEWS III, JOHN A                 15619 EASTWOOD STREET                                                                               DETROIT           MI   48205‐2939
MATTHEWS III, WILLIAM S              2009 MUNSTER BOULEVARD                                                                              MERAUX            LA   70075‐2414
MATTHEWS INTERNATIONAL CORP          2 N SHORE CTR STE 100                                                                               PITTSBURGH        PA   15212‐5838
MATTHEWS JOHN                        MATTHEWS, JOHN                    172 E KING ST                                                     ZANESVILLE        OH   43701
MATTHEWS JOHN HORACE (411038)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
                                                                       STREET, SUITE 600
MATTHEWS JOICE                       MATTHEWS, JOICE                   985 GRAND CALLOU ROAD                                             HOURMA            LA   70363
MATTHEWS JR, CHARLES H               403 VIRGINIA AVE                                                                                    MOREHEAD CITY     NC   28557‐2663
MATTHEWS JR, CHARLES M               4441 FENOR RD                                                                                       BALTIMORE         MD   21227‐4805
MATTHEWS JR, CHESTER                 83 BRAXTON CT                                                                                       DECATUR           AL   35603
MATTHEWS JR, COOPER W                5157 MEADOWHILL TRL                                                                                 GRAND BLANC       MI   48439‐8339
MATTHEWS JR, EDDIE                   19305 DEQUINDRE ST                                                                                  DETROIT           MI   48234‐1209
MATTHEWS JR, JAMES C                 7111 EDINBOROUGH                                                                                    WEST BLOOMFIELD   MI   48322‐4027
MATTHEWS JR, JOHN                    18909 MARIA DR                                                                                      CLINTON TWP       MI   48036‐2165
MATTHEWS JR, KERMIT                  1311 AVENUE N W                                                                                     GLEN BURNIE       MD   21061
MATTHEWS JR, LEWIS C                 921 E PHILADELPHIA BLVD                                                                             FLINT             MI   48505‐3583
MATTHEWS JR, O B                     PO BOX 1092                                                                                         SAGINAW           MI   48606‐1092
MATTHEWS JR, ONIOUS                  3412 FULTON ST                                                                                      SAGINAW           MI   48601‐3116
MATTHEWS JR, ONIOUS                  671 WESTFIELD ST                                                                                    SAGINAW           MI   48602‐2749
MATTHEWS JR, ROBERT B                1883 LUDLOW RD                                                                                      LUDLOW            ME   04730‐7822
MATTHEWS JR, ROBERT N                170 MARSH RD                                                                                        LITCHFIELD        CT   06759‐3011
MATTHEWS JR, TIMOTHY                 APT 108                           715 WALNUT DRIVE                                                  DARIEN            IL   60561‐4749
MATTHEWS JR, WILLIAM R               20301 PARKER ST                                                                                     LIVONIA           MI   48152‐1363
MATTHEWS JR, WILLIAM S               3800 SHAMROCK DR                                                                                    CHARLOTTE         NC   28215‐3220
MATTHEWS JUDY                        733 RIVERCREST DR                                                                                   ABILENE           TX   79605‐2838
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Name                              Address1                        Address2                       Address3   Address4         City               State Zip
MATTHEWS KATHLEEN                 2103 ISLAND ESTATES DR                                                                     PARRISH             FL 34219‐2306
MATTHEWS MARIA                    25196 INDEPENDENCE TRL                                                                     WARREN              MI 48089‐2087
MATTHEWS NATALIE                  196 DIXIEANNA DR                                                                           WINSTON SALEM       NC 27107‐8875
MATTHEWS PONTIAC‐CADILLAC, INC.   JAMES MATTHEWS                  3721 VESTAL RD                                             VESTAL              NY 13850‐2228
MATTHEWS PONTIAC‐CADILLAC, INC.   JAMES MATTHEWS                  3733 VESTAL RD                                             VESTAL              NY 13850‐2228
MATTHEWS RONALD J                 3265 RISHER RD SW                                                                          WARREN              OH 44481‐9120
MATTHEWS SAAB                     3721 VESTAL RD                                                                             VESTAL              NY 13850‐2228
MATTHEWS SAAB                     MATTHEWS, JAMES F.              3721 VESTAL RD                                             VESTAL              NY 13850‐2228
MATTHEWS SAMUEL LAMAR (644365)    GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                 EDWARDSVILLE         IL 62025‐0959
                                  ANTOGNOLI
MATTHEWS SOFTWARE INVENTIONS      26150 GREYTHORNE TRL                                                                       FARMINGTON HILLS   MI   48334‐4814
MATTHEWS SR, LEE F                1577 SHEFFIELD DR                                                                          YPSILANTI          MI   48198‐3664
MATTHEWS SR, RICHARD H            1182 S 2ND AVE                                                                             MANSFIELD          TX   76063‐7400
MATTHEWS TAMMY                    3924 OLD US 421                                                                            LILLINGTON         NC   27546‐8298
MATTHEWS THOMAS D                 9281 KINGSLEY DR                                                                           ONSTED             MI   49265‐9420
MATTHEWS TIRE AND AUTO            W3092 VAN ROY RD                                                                           APPLETON           WI   54915‐9428
MATTHEWS TISHA                    MATTHEWS, TISHA                 3931 SANDRA DR                                             YORK               PA   17402‐5113
MATTHEWS WALTER Y (400385)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510
                                                                  STREET, SUITE 600
MATTHEWS WILLIAM C (456562)       BILMS KEVIN P                   430 CRAWFORD ST STE 202                                    PORTSMOUTH         VA   23704‐3813
MATTHEWS, ADAM M                  1112 N WOOD ST                                                                             GRIFFITH           IN   46319‐2352
MATTHEWS, AGNES G                 1822 BARKS ST                                                                              FLINT              MI   48503‐4302
MATTHEWS, ALANA                   1478 WEBBER                                                                                BURTON             MI   48529‐2038
MATTHEWS, ALANA                   1478 WEBBER AVE                                                                            BURTON             MI   48529‐2038
MATTHEWS, ALBERT M                665 BARBADOS DR APT 5                                                                      INDIANAPOLIS       IN   46227‐2277
MATTHEWS, ALLEN                   KEASKE LAW FIRM                 1301 W 25TH ST STE 406                                     AUSTIN             TX   78705‐4236
MATTHEWS, ALVIN                   BRAYTON PURCELL                 PO BOX 6169                                                NOVATO             CA   94948‐6169
MATTHEWS, ANDREW                  2502 CALVERT ST                                                                            DETROIT            MI   48206‐1586
MATTHEWS, ANNETTE F               5712 SAVOY DR                                                                              WATERFORD          MI   48327‐2667
MATTHEWS, ANTHONY                 2086 VIEW DR                                                                               SOUTH WEBER        UT   84405‐9421
MATTHEWS, ANTOINETTE L            PO BOX 365                                                                                 BRIDGEPORT         MI   48722‐0365
MATTHEWS, APRIL                   1816 PARIS AVE                                                                             LINCOLN PARK       MI   48146‐1332
MATTHEWS, ARLENE                  16540 ILENE                                                                                DETROIT            MI   48221‐2814
MATTHEWS, ARNOLD E                23595 LEE LN                                                                               SOUTHFIELD         MI   48033‐3101
MATTHEWS, ARNOLD EDWARD           23595 LEE LN                                                                               SOUTHFIELD         MI   48033‐3101
MATTHEWS, ARTHUR M                1645 VIA SANTIAGO               APT E                                                      COORONA            CA   92882‐2769
MATTHEWS, AUDRA K                 9246 BRADLEY RD                                                                            FRANKENMUTH        MI   48734‐9729
MATTHEWS, BARBARA H               23371 BLUE WATER CIR APT C325                                                              BOCA RATON         FL   33433‐7089
MATTHEWS, BARBARA J               7129 PROSPECT RD                                                                           PROSPECT           TN   38477‐6258
MATTHEWS, BARBARA J               6325 BRANCH RD.                                                                            FLINT              MI   48506‐1356
MATTHEWS, BARBARA J               6325 BRANCH RD                                                                             FLINT              MI   48506‐1356
MATTHEWS, BEATRICE S              1431 AUTUMN DR                                                                             FLINT              MI   48532‐2604
MATTHEWS, BENJAMIN G              4627 CHAMBLEE TUCKER RD                                                                    TUCKER             GA   30084‐2502
MATTHEWS, BENJAMIN P              1532 MEADOWLANE ST                                                                         INKSTER            MI   48141‐1583
MATTHEWS, BERNARD C               5821 EMELINE ST                                                                            DETROIT            MI   48212‐2406
MATTHEWS, BERNARD G               1200 ROXBORO RD                                                                            ROSEDALE           MD   21237‐1800
MATTHEWS, BERNARD J               731 LEE RD                                                                                 ROCHESTER          NY   14606‐4240
MATTHEWS, BERNARD J               731 LEE RD                      PER AFC TONY ZERILLI EXT5153                               ROCHESTER          NY   14606‐4240
MATTHEWS, BETTY J                 1141 WILLOWOOD RD                                                                          KNOXVILLE          TN   37922‐5994
MATTHEWS, BETTY J                 19347 FERGUSON                                                                             DETROIT            MI   48235‐2416
MATTHEWS, BETTY K                 19 KENT LN                                                                                 SILEX              MO   63377‐2550
MATTHEWS, BETTY R                 917 OGONTZ ST                                                                              SANDUSKY           OH   44870‐4024
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Name                      Address1                         Address2                      Address3   Address4         City              State Zip
MATTHEWS, BEVERLY         6188 LISMORE CIR                                                                           GRAND BLANC        MI 48439‐2320
MATTHEWS, BEVERLY         154 ABBEY DRIVE                                                                            SPRINGBORO         OH 45066‐8410
MATTHEWS, BEVERLY         154 ABBEY DR                                                                               SPRINGBORO         OH 45066‐8410
MATTHEWS, BILL W          2845 OLD ELM LN                                                                            GERMANTOWN         TN 38138‐7628
MATTHEWS, BILLY J         600 W 4TH ST                                                                               PALMYRA            NJ 08065‐2448
MATTHEWS, BOBBIE D        200 EMERY ST                                                                               JOLIET              IL 60436‐1215
MATTHEWS, BOBBY           GUY WILLIAM S                    PO BOX 509                                                MCCOMB             MS 39649‐0509
MATTHEWS, BOBBY L         4029 CRAGGY PERCH                                                                          DOUGLASVILLE       GA 30135‐8710
MATTHEWS, BONNIE R        1242 COTTAGE AVE                                                                           MIDDLETOWN         IN 47356‐1730
MATTHEWS, BRUCE S         585 THORNRIDGE DR                                                                          ROCHESTER HILLS    MI 48307‐2856
MATTHEWS, BRYAN E         6043 GWYNN OAK AVE                                                                         BALTIMORE          MD 21207‐6001
MATTHEWS, CARLTON T       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                           STREET, SUITE 600
MATTHEWS, CECELIA C       14807 PIERCE RD                                                                            BYRON             MI   48418‐8882
MATTHEWS, CHANDLER W      7 SOUTHWICK CT 95                                                                          ANN ARBOR         MI   48105
MATTHEWS, CHARLES         PORTER & MALOUF PA               4670 MCWILLIE DR                                          JACKSON           MS   39206‐5621
MATTHEWS, CHARLES G       7220 SANDY BEACH DR                                                                        WATERFORD         MI   48329‐2846
MATTHEWS, CHARLES H       975 CENTER RD                                                                              LYNDEBOROUGH      NH   03082‐6101
MATTHEWS, CHARLES H       521 BROOKSIDE AVE 3                                                                        BIRMINGHAM        MI   48009
MATTHEWS, CHARLES H       MANYPENNY J PERRY & ASSOCIATES   300 CAROLINA AVE                                          CHESTER           WV   26034‐1128
MATTHEWS, CHARLES R       3862 RUTHLAND DR                                                                           TROY              MI   48084‐1715
MATTHEWS, CHARLIE R       PO BOX 109                                                                                 MOUNT AIRY        NC   27030‐0109
MATTHEWS, CHERYL L        19182 AVON AVE                                                                             DETROIT           MI   48219‐2750
MATTHEWS, CHESTER O       2775 DUNWOOD LN                                                                            ACWORTH           GA   30102‐5820
MATTHEWS, CHRISTA L       4197 MARR RD                                                                               PULASKI           PA   16143‐3709
MATTHEWS, CHRISTOPHER W   13752 CANYON RANCH RD                                                                      WESTLAKE          TX   76262‐4574
MATTHEWS, CLAIRE B        1205 PINHORN DR                                                                            BRIDGEWATER       NJ   08807‐3575
MATTHEWS, CLAIRE M        1696 PARKRIDGE DR                                                                          SALT LAKE CITY    UT   84121‐4755
MATTHEWS, CLARENCE L      5645 MONTILLY CIR                                                                          COLLEGE PARK      GA   30349‐3803
MATTHEWS, CLAUDE          PORTER & MALOUF PA               4670 MCWILLIE DR                                          JACKSON           MS   39206‐5621
MATTHEWS, CLAUDE G        71 LOWER BROWNSVILLE RD                                                                    JACKSON           TN   38301‐5646
MATTHEWS, CLAYTON         910 1/2 SUNSET ST                                                                          SCOTT             LA   70583‐5130
MATTHEWS, CLINTON         5821 EMELINE ST                                                                            DETROIT           MI   48212‐2406
MATTHEWS, COLEY L         434 S 11TH ST                                                                              SAGINAW           MI   48601‐1945
MATTHEWS, CYNTHIA         2328 W NORTH BEND RD                                                                       CINCINNATI        OH   45239‐6810
MATTHEWS, D L             6522 TAMARACK DR                                                                           TROY              MI   48098‐1900
MATTHEWS, D LEE           6522 TAMARACK DR                                                                           TROY              MI   48098‐1900
MATTHEWS, DALE E          4783 DEER PARK CT                                                                          ROCHESTER         MI   48306‐4734
MATTHEWS, DANIEL B        1310 PENNINGTON DR                                                                         LAPEER            MI   48446‐1586
MATTHEWS, DANIEL F        2602 BEDFORD RD                                                                            LANSING           MI   48911‐1703
MATTHEWS, DANIEL J        4126 HELENA AVE                                                                            YOUNGSTOWN        OH   44512‐1205
MATTHEWS, DANIEL J        507 W SOUTHPORT RD                                                                         INDIANAPOLIS      IN   46217‐4163
MATTHEWS, DANNY J         1316 PARK HEIGHTS STREET                                                                   MIAMI             OK   74354‐3225
MATTHEWS, DARNELL         2379 PARK ESTATES DR                                                                       SNELLVILLE        GA   30078‐6852
MATTHEWS, DAROLD D        PO BOX 233                                                                                 DALLAS            GA   30132‐0005
MATTHEWS, DARREN J        PO BOX 558                       9519 CRESTLINE                                            LAKELAND          MI   48143‐0558
MATTHEWS, DARREN JAMES    PO BOX 558                       9519 CRESTLINE                                            LAKELAND          MI   48143‐0558
MATTHEWS, DARRYLL D       3487 E COOK RD                                                                             GRAND BLANC       MI   48439‐8378
MATTHEWS, DARRYLL DEAN    3487 E COOK RD                                                                             GRAND BLANC       MI   48439‐8378
MATTHEWS, DAVID G         6827 CHARLOTTESVILLE ROW                                                                   FORT WAYNE        IN   46804‐2208
MATTHEWS, DAVID G         1622 PERCHERON DR                                                                          TRINITY           FL   34655‐4502
MATTHEWS, DAVID J         7821 DANVERS STREET                                                                        DOWNEY            CA   90240‐2665
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Name                       Address1                        Address2            Address3         Address4         City            State Zip
MATTHEWS, DAVID L          300 W 29TH ST                                                                         WILMINGTON       DE 19802‐3111
MATTHEWS, DAVID L          214 MONTICELLO ST                                                                     NOVI             MI 48377‐2059
MATTHEWS, DAVID L          709 W 27TH ST                                                                         WILMINGTON       DE 19802‐3467
MATTHEWS, DAVID LEE        214 MONTICELLO ST                                                                     NOVI             MI 48377‐2059
MATTHEWS, DEAN H           613 LAKE AVENUE                                                                       EDGEWOOD         MD 21040‐2123
MATTHEWS, DEAN H           1911 NW 1ST AVE                                                                       POMPANO BEACH    FL 33060‐5003
MATTHEWS, DEAN H           642 ELDORADO ST                 APT 1                                                 FORT PIERCE      FL 34949
MATTHEWS, DEAN R           7909 GRANT DR                                                                         GLENARDEN        MD 20706‐1727
MATTHEWS, DEBORAH A        508 N WICKSHIRE LN                                                                    DURAND           MI 48429‐1433
MATTHEWS, DEBORAH ANN      508 N WICKSHIRE LN                                                                    DURAND           MI 48429‐1433
MATTHEWS, DEBORAH L        18215 FIELDING ST                                                                     DETROIT          MI 48219‐2597
MATTHEWS, DEJUANA L        PO BOX 1244                                                                           FLINT            MI 48501‐1244
MATTHEWS, DELEON L         3185 MANOR DR                                                                         PALMYRA          MI 49268‐9777
MATTHEWS, DELEON LYLE      3185 MANOR DR                                                                         PALMYRA          MI 49268‐9777
MATTHEWS, DENNIS
MATTHEWS, DENNIS C         15893 BROOK RD                                                                        LANSING         MI   48906‐1476
MATTHEWS, DENNIS M         9065 FOSTORIA RD                                                                      FOSTORIA        MI   48435‐9707
MATTHEWS, DENNIS MICHAEL   9065 FOSTORIA RD                                                                      FOSTORIA        MI   48435‐9707
MATTHEWS, DENNIS R         PO BOX 814                                                                            BLAKESLEE       PA   18610‐0814
MATTHEWS, DEREK L          3808 THREE OAKS DR                                                                    FORT WAYNE      IN   46809‐9524
MATTHEWS, DEREK LEVON      3808 THREE OAKS DR                                                                    FORT WAYNE      IN   46809‐9524
MATTHEWS, DIANE            6480 W MEYER CT                                                                       MORROW          GA   30260‐8126
MATTHEWS, DON P            10170 TALLMADGE RD                                                                    DIAMOND         OH   44412‐9799
MATTHEWS, DONALD E         33 MILL ST                                                                            FAWN GROVE      PA   17321‐9658
MATTHEWS, DONALD T         PO BOX 546                                                                            GALLOWAY        OH   43119‐0546
MATTHEWS, DONALD W         PO BOX 606                                                                            MANILA          AR   72442‐0606
MATTHEWS, DONNA M          10796 SE 29TH AVE                                                                     MILWAUKIE       OR   97222‐7656
MATTHEWS, DORIS E          2725 NORBERT STREET                                                                   FLINT           MI   48504
MATTHEWS, DORIS M          304 ALEXANDER DR                                                                      LYNN HAVEN      FL   32444‐4703
MATTHEWS, DORIS M.         10 HARTLEY ST #3                                                                      LEWISTON        ME   04240‐3749
MATTHEWS, DORIS M.         10 HARTLEY ST APT 3                                                                   LEWISTON        ME   04240‐3749
MATTHEWS, DOUGLAS L        PO BOX 551                                                                            CARROLLTON      MI   48724
MATTHEWS, DOUGLAS L        744 HICKORY                                                                           CARROLLTON      MI   48724
MATTHEWS, DUNIVAN H        6055 HONEYGATE DRIVE                                                                  HUBER HEIGHTS   OH   45424‐1127
MATTHEWS, DWAYNE R         520 MARQUETTE ST                                                                      FLINT           MI   48504‐7711
MATTHEWS, DWAYNE RAY       520 MARQUETTE ST                                                                      FLINT           MI   48504‐7711
MATTHEWS, EARNEST          4214 S WASHINGTON RD                                                                  SAGINAW         MI   48601‐5163
MATTHEWS, EDDIE            734 E ALMA AVE                                                                        FLINT           MI   48505‐2224
MATTHEWS, EDDIE M          1501 BROOKWOOD AVE                                                                    FLINT           MI   48503‐2722
MATTHEWS, EDDIE MICHAEL    1501 BROOKWOOD AVE                                                                    FLINT           MI   48503‐2722
MATTHEWS, EDNA D           306 WINCHESTER                                                                        FLIPPIN         AR   72634‐8144
MATTHEWS, EDNA D           6585 SCENIO DR S                                                                      SAGINAW         MI   48603‐9536
MATTHEWS, EDSEL D          5852 BAYPOINTE BLVD                                                                   CLARKSTON       MI   48346‐3113
MATTHEWS, EDWARD           35434 SMITH RD                                                                        ROMULUS         MI   48174‐4106
MATTHEWS, EDWARD H         1414 N STONEYHAVEN LN                                                                 ANAHEIM         CA   92801‐1329
MATTHEWS, EDWARD L         PO BOX 413                                                                            BELLWOOD        IL   60104‐0413
MATTHEWS, EILEEN           609 W YORK                                                                            FLINT           MI   48505‐2031
MATTHEWS, ELAINE           4825 COLUMBUS AVE                                                                     ANDERSON        IN   46013‐5131
MATTHEWS, ELDEN H          3204 OHIO AVE                                                                         MIDDLETOWN      OH   45042‐2621
MATTHEWS, ELEANOR M        2098 DELANEY ST.                                                                      BURTON          MI   48509
MATTHEWS, ELIZABETH A      532 BECKWITH ST SW                                                                    ATLANTA         GA   30314‐4178
MATTHEWS, ELIZABETH E      736 KENNETTE DR                                                                       GRAHAM          NC   27253
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Name                     Address1                       Address2             Address3        Address4         City              State Zip
MATTHEWS, EMMITT T       PO BOX 28976                                                                         KANSAS CITY        MO 64188‐8976
MATTHEWS, ERSKIN L       3110 CENTRAL PKWY SW                                                                 DECATUR            AL 35603‐1612
MATTHEWS, ETHEL J        16150 MURRAY HILL                                                                    DETROIT            MI 48235‐3635
MATTHEWS, EUGENE         2296 UNION RD LOT 10                                                                 CHEEKTOWAGA        NY 14227‐2730
MATTHEWS, EUGENE D       4832 CHAMBERS RD RR#1                                                                MAYVILLE           MI 48744
MATTHEWS, EUGENE H       6268 S INWOOD RD                                                                     SHREVEPORT         LA 71119‐7217
MATTHEWS, EUGENE H       2842 HOYTE DR                                                                        SHREVEPORT         LA 71118
MATTHEWS, EUGENE HUGH    6268 S INWOOD RD                                                                     SHREVEPORT         LA 71119‐7217
MATTHEWS, EUNICE I       5017 NICKLESON HILL RD                                                               HUBBARD LAKE       MI 49747
MATTHEWS, EVELYN L.      717 MISSISSIPPI AVE APT B20                                                          COLUMBIA           MS 39429‐3576
MATTHEWS, EVELYN M       12243 CROSSRIDGE AVE NW        C/O BARBARA BEAGLE                                    SILVERDALE         WA 98383‐8095
MATTHEWS, FLORENCE M     37 BOSSE LN                                                                          WEST SENECA        NY 14224‐1625
MATTHEWS, FRANK C        25336 KATHY DR                                                                       FLAT ROCK          MI 48134‐9414
MATTHEWS, FRANK P        7191 BIRCHWOOD DR                                                                    MOUNT MORRIS       MI 48458‐8977
MATTHEWS, FRANKLIN I     5017 NICHOLSON HILL RD                                                               HUBBARD LAKE       MI 49747‐9509
MATTHEWS, FRED L         110 E OAK ST                                                                         ANDERSON           IN 46012‐2509
MATTHEWS, FREDERICK T    912 RANDY LN                                                                         SAINT JOHNS        MI 48879‐9753
MATTHEWS, FREIDA M       19732 STATE ROAD 37 NORTH                                                            NOBLESVILLE        IN 46060
MATTHEWS, G H            2916 SILVER OAK WAY                                                                  HEMET              CA 92545‐8116
MATTHEWS, GARY L         4024 OBRIEN RD                                                                       VASSAR             MI 48768‐8948
MATTHEWS, GARY L         2215 WAGONHAMMER LN                                                                  GILLETTE           WY 82718‐5319
MATTHEWS, GAYLE A        2134 S NICHOLS RD                                                                    LENNON             MI 48449
MATTHEWS, GENEVA M       2602 BEDFORD RD                                                                      LANSING            MI 48911‐1703
MATTHEWS, GEORGE E       5012 TOWERS ST                                                                       TORRANCE           CA 90503‐1452
MATTHEWS, GERALD E       4114 SCHUBERT RD                                                                     FLOWERY BR         GA 30542‐3060
MATTHEWS, GINA M         523 SOUTH BLACKHAWK STREET                                                           JANESVILLE         WI 53545‐4203
MATTHEWS, GLENN          9743 E VERMONTVILLE HWY                                                              DIMONDALE          MI 48821‐8747
MATTHEWS, GLENN          PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621
MATTHEWS, GLENN A        4670 ROSS DR                                                                         WATERFORD          MI 48328‐1040
MATTHEWS, GLENN E        8506 NE 107TH TER                                                                    KANSAS CITY        MO 64157‐9215
MATTHEWS, GLENWOOD P     7026 SOLLERS POINT RD                                                                BALTIMORE          MD 21222‐3000
MATTHEWS, GLORIA F       6021 EVERGREEN LN                                                                    GRAND BLANC        MI 48439‐9643
MATTHEWS, GLORIA G       3999 LONGVIEW RD.                                                                    W MIDDLESEX        PA 16159‐6159
MATTHEWS, GORDON D       66417 BURG RD                                                                        STURGIS            MI 49091‐9345
MATTHEWS, GREGORY M      7848 NEW BATTLE GROVE RD                                                             BALTIMORE          MD 21222‐3559
MATTHEWS, GREGORY M      1400 COVE LN                                                                         SAINT LOUIS        MO 63138‐2408
MATTHEWS, GREGORY P      6021 BEACHWOOD DR                                                                    WEST BLOOMFIELD    MI 48324‐1389
MATTHEWS, GREGORY PAUL   6021 BEACHWOOD DR                                                                    WEST BLOOMFIELD    MI 48324‐1389
MATTHEWS, HARLEY W       250 SOUTHCREEK DR                                                                    MOUNT MORRIS       MI 48458‐9105
MATTHEWS, HAROLD         1111 CALIFORNIA ST                                                                   SAN FRANCISCO      CA 94108‐2252
MATTHEWS, HARRY R        5149 FAIRWAY DR                                                                      AVON               IN 46123‐4608
MATTHEWS, HARTFORD H     20833 STAHELIN RD                                                                    SOUTHFIELD         MI 48075‐7153
MATTHEWS, HELEN R        2018 MCPHAIL ST                                                                      FLINT              MI 48503‐4330
MATTHEWS, HENRY C        835 KENDAL DR                                                                        BROADVIEW HTS      OH 44147‐4430
MATTHEWS, HORACE L       2008 WAGON WHEEL CT                                                                  ANDERSON           IN 46017‐9695
MATTHEWS, HOWARD D       PO BOX 618                                                                           NEW CASTLE         PA 16103‐0618
MATTHEWS, HUGH           BRAYTON PURCELL                PO BOX 6169                                           NOVATO             CA 94948‐6169
MATTHEWS, IDELL J        338 ROBBIE LN                                                                        FLINT              MI 48505‐2100
MATTHEWS, J D            6325 BRANCH RD                                                                       FLINT              MI 48506‐1356
MATTHEWS, JACQUELINE J   21675 SUNFLOWER RD                                                                   NOVI               MI 48375‐5349
MATTHEWS, JAMES          1662 VYSE AVE APT 4F                                                                 BRONX              NY 10460
MATTHEWS, JAMES          17612 DEFOREST AVE                                                                   CLEVELAND          OH 44128‐2606
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Name                    Address1                        Address2                      Address3   Address4         City              State Zip
MATTHEWS, JAMES A       10111 E MADISON RD                                                                        WHEELER            MI 48662‐9735
MATTHEWS, JAMES B       4197 MARR RD                                                                              PULASKI            PA 16143‐3709
MATTHEWS, JAMES C       533 S VERLINDEN AVE                                                                       LANSING            MI 48915‐1153
MATTHEWS, JAMES D       26103 GODDARD RD                                                                          TAYLOR             MI 48180‐3971
MATTHEWS, JAMES E       7733 S WOLCOTT AVE                                                                        CHICAGO             IL 60620‐5230
MATTHEWS, JAMES E       1172 DUDLEY AVE                                                                           PONTIAC            MI 48342‐1929
MATTHEWS, JAMES E       PO BOX 396                      824 FOREST                                                LAKE GEORGE        MI 48633‐0396
MATTHEWS, JAMES H       SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST         MS 39083‐3007
MATTHEWS, JAMES H       16371 PAINT CREEK CIR                                                                     MACOMB             MI 48042‐3520
MATTHEWS, JAMES M       4912 EASTBROOKE PL                                                                        WILLIAMSVILLE      NY 14221‐4124
MATTHEWS, JAMES S       PO BOX 87                       31 MT MORRIS ROAD                                         LEICESTER          NY 14481‐0087
MATTHEWS, JAMES T       3914 ARQUETTE DR                                                                          INDIANAPOLIS       IN 46235‐1617
MATTHEWS, JAMES W       14269 BLUE SKIES ST                                                                       LIVONIA            MI 48154‐4998
MATTHEWS, JAMES W       14807 PIERCE RD                                                                           BYRON              MI 48418‐8882
MATTHEWS, JANE B        3487 E COOK RD                                                                            GRAND BLANC        MI 48439‐8378
MATTHEWS, JANE B        3487 COOK ROAD                                                                            GRAND BLANC        MI 48439
MATTHEWS, JANE I        835 KENDAL DR                                                                             BROADVIEW HTS      OH 44147‐4430
MATTHEWS, JANET K       712 E DORCHESTER DR                                                                       JACKSONVILLE       FL 32259‐6286
MATTHEWS, JANET L       8400 SHERIDAN RD                                                                          KENOSHA            WI 53143‐6327
MATTHEWS, JANICE S      3204 OHIO AVE                                                                             MIDDLETOWN         OH 45042‐2621
MATTHEWS, JANIE J       PO BOX 218                                                                                SULPHUR SPRINGS    IN 47388‐0218
MATTHEWS, JEAN T        6059 JOHNSON RD                                                                           FLUSHING           MI 48433‐1105
MATTHEWS, JEAN V        782 GORDON CT                                                                             DELTONA            FL 32725‐3222
MATTHEWS, JERRY E       26394 LONGHORN DR                                                                         BLANCHARD          OK 73010‐3716
MATTHEWS, JERRY W       5096 EMMONS RD                                                                            OREGONIA           OH 45054‐9752
MATTHEWS, JIMMY L       313 N FAIRVIEW ST                                                                         MINDEN             LA 71055‐3807
MATTHEWS, JIMMY LEE     313 N FAIRVIEW ST                                                                         MINDEN             LA 71055‐3807
MATTHEWS, JOAN A        5852 BAYPOINTE BLVD                                                                       CLARKSTON          MI 48346‐3113
MATTHEWS, JOANN         COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                   HOUSTON            TX 77002‐1751
MATTHEWS, JOCELYN D     4833 COLUMBUS AVENUE                                                                      ANDERSON           IN 46013‐5131
MATTHEWS, JOE N         8033 PIERSON ST                                                                           DETROIT            MI 48228‐2825
MATTHEWS, JOEN          394 NO PROBLEM DR                                                                         LAS CRUCES         NM 88005‐3951
MATTHEWS, JOHN          7230 CLANCY WAY                                                                           WESTERVILLE        OH 43082‐9497
MATTHEWS, JOHN          26 MAPLE AVE                                                                              THOMASTON          CT 06787‐1901
MATTHEWS, JOHN D        4 GOLDEN GATE CT                                                                          SAINT PETERS       MO 63376‐5233
MATTHEWS, JOHN D        5916 MAPLE ST                                                                             PARK HILLS         MO 63601‐8166
MATTHEWS, JOHN E        226 EAST MARINGO STR.                                                                     FLINT              MI 48505
MATTHEWS, JOHN H        232 S CHESTNUT                                                                            REED CITY          MI 49677‐1259
MATTHEWS, JOHN H        22505 N VIA TERCERO                                                                       SUN CITY WEST      AZ 85375‐2733
MATTHEWS, JOHN HORACE   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                        STREET, SUITE 600
MATTHEWS, JOHN I        4245 CORRIGAN DR                                                                          FREMONT           CA   94536‐5906
MATTHEWS, JOHN S        3804 3RD AVE                                                                              SOUTH MILWAUKEE   WI   53172‐4006
MATTHEWS, JOHN T        4833 COLUMBUS AVE                                                                         ANDERSON          IN   46013‐5131
MATTHEWS, JOHN W        40822 LENOX PARK DR                                                                       NOVI              MI   48377‐2342
MATTHEWS, JOHN W        3343 W WILSON RD                                                                          CLIO              MI   48420‐1929
MATTHEWS, JOICE         985 GRAND CALLOU ROAD                                                                     HOURMA            LA   70363
MATTHEWS, JOSEPH        226 EAST MARINGO STR.                                                                     FLINT             MI   48505
MATTHEWS, JOSEPH A      897 UNIVERSITY DR                                                                         PONTIAC           MI   48342‐1765
MATTHEWS, JOSEPH L      8640 GREY BIRCH DR                                                                        BALDWINSVILLE     NY   13027‐1732
MATTHEWS, JOSEPH W      APT 201                         2302 NORFOLK                                              ROCHESTER HLS     MI   48309‐3177
MATTHEWS, JOYCE E       8356 ROSELAWN ST                                                                          DETROIT           MI   48204‐5508
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Name                      Address1                         Address2                     Address3   Address4               City              State Zip
MATTHEWS, JUDITH A        4 JUNGLEPLUM CT E                                                                               HOMOSASSA          FL 34446‐4540
MATTHEWS, JUDITH A        4 JUNGLE PLUM COURT E                                                                           HOMOSAFFA          FL 34446
MATTHEWS, KAREN           527 WELLMOOR STREET                                                                             SAVANNA             IL 61074‐1742
MATTHEWS, KAREN M.        527 WELLMOOR AVE                                                                                SAVANNA             IL 61074
MATTHEWS, KAREN M.        527 WELLMOOR ST                                                                                 SAVANNA             IL 61074‐1742
MATTHEWS, KAREN S         3862 RUTHLAND DR                                                                                TROY               MI 48084‐1715
MATTHEWS, KARL D          4095 E STANLEY RD                                                                               MOUNT MORRIS       MI 48458
MATTHEWS, KATHLEEN M      4095 E STANLEY RD                                                                               MOUNT MORRIS       MI 48458‐8806
MATTHEWS, KENNETH R       PO BOX 4241                                                                                     FLINT              MI 48504‐0241
MATTHEWS, KENNETH W       PO BOX 96                                                                                       TAYLOR SPRINGS      IL 62089‐0096
MATTHEWS, KENNETH W       BOX 96                                                                                          TAYLOR SPRING       IL 62089‐0096
MATTHEWS, KENT R          360 LANE 650AB SNOW LK                                                                          FREMONT            IN 46737‐9012
MATTHEWS, KIMBERLY D      PO BOX 430225                                                                                   PONTIAC            MI 48343‐0225
MATTHEWS, L W EQUIPMENT   35 CLAIREVILLE DR                                                        ETOBICOKE ON M9W 5Z7
                                                                                                   CANADA
MATTHEWS, LARRY D         546 W STEWART AVE                                                                               FLINT             MI   48505‐3208
MATTHEWS, LARRY J         2 BAILEY ST PO 32                                                                               SAVANNAH          OH   44874
MATTHEWS, LARRY R         7880 S TIPP COWLESVILLE RD                                                                      TIPP CITY         OH   45371‐9267
MATTHEWS, LARRY R         7880 S TIPP‐COWLESVLLE RD                                                                       TIPP CITY         OH   45371‐9267
MATTHEWS, LAURA L         20009 GREYDALE                                                                                  DETROIT           MI   48219‐1226
MATTHEWS, LAWRENCE B      11292 WINDHURST ST                                                                              WHITE LAKE        MI   48386‐3682
MATTHEWS, LAWRENCE J      10716 BAKER RD                                                                                  GREENVILLE        MI   48838‐9451
MATTHEWS, LEO J           2163 OVERBROOK AVE N                                                                            BELLEAIR BLUFFS   FL   33770‐2022
MATTHEWS, LEON K          1142 ECKMAN AVE                                                                                 PONTIAC           MI   48342‐1933
MATTHEWS, LEONA A         7220 SANDY BEACH DR                                                                             WATERFORD         MI   48329‐2846
MATTHEWS, LETA            3017 PICKETT PARK HWY                                                                           JAMESTOWN         TN   38556‐5878
MATTHEWS, LETA            3017 PICKETT PK HWY                                                                             JAMESTOWN         TN   38556‐5878
MATTHEWS, LINDA           386 SOUTHSHORE LN                                                                               DALLAS            GA   30157‐4101
MATTHEWS, LINDA           27758 JOHNSON RD                                                                                GROSSE ILE        MI   48138‐2017
MATTHEWS, LINDA J         4307 HOBART RD.                                                                                 GAGETOWN          MI   48735‐9749
MATTHEWS, LINDA J         4307 HOBART RD                                                                                  GAGETOWN          MI   48735‐9749
MATTHEWS, LISA A          96 OAK VALLEY DR                                                                                SPRING HILL       TN   37174‐2596
MATTHEWS, LLOYD           18130 MARGATE AVE                                                                               LATHRUP VLG       MI   48076‐4508
MATTHEWS, LOLA MAE        613 W PULASKI AVE                                                                               FLINT             MI   48505‐6206
MATTHEWS, LOLA MAE        613 W PULASKI                                                                                   FLINT             MI   48505‐6206
MATTHEWS, LORETTA         614 HOLBROOK                                                                                    FLINT             MI   48505
MATTHEWS, LOVIE LEE       19305 DEQUINDRE ST                                                                              DETROIT           MI   48234‐1209
MATTHEWS, LUCILLE M       6401 AUSTIN RD                                                                                  LAINGSBURG        MI   48848‐9723
MATTHEWS, LUKE            3112 SLOAN STREET                                                                               FLINT             MI   48504‐3242
MATTHEWS, MABEL           303 W 5TH ST                                                                                    ENGLISH           IN   47118
MATTHEWS, MADELINE M      110 WINDSOR PARK DR              # 1358                                                         CAROL STREAM      IL   60188‐1985
MATTHEWS, MAIRENE         APT 1                            145 EAST SIERRA MADRE BLVD                                     SIERRA MADRE      CA   91024‐2560
MATTHEWS, MARGARET H      514 WINDSOR PL                                                                                  NORTH PORT        FL   34287‐1546
MATTHEWS, MARIA           25196 INDEPENDENCE TRL                                                                          WARREN            MI   48089‐2087
MATTHEWS, MARILEE KAY     APT 201                          2302 NORFOLK                                                   ROCHESTER HLS     MI   48309‐3177
MATTHEWS, MARJORIE A      433 MORNINGSIDE AVE                                                                             JEANNETTE         PA   15644‐1954
MATTHEWS, MARJORIE M      897 UNIVERSITY DR                                                                               PONTIAC           MI   48342‐1765
MATTHEWS, MARK M          7477 COLDWATER RD                                                                               FLUSHING          MI   48433‐1119
MATTHEWS, MARVINIA C      PO BOX 622                                                                                      CONYERS           GA   30012‐0622
MATTHEWS, MARY D          308 CADE RD                                                                                     TEN MILE          TN   37880‐2150
MATTHEWS, MARY E          19963 FERGUSON                                                                                  DETROIT           MI   48235
MATTHEWS, MARY K          4201 SAINT JAMES CHURCH RD                                                                      RALEIGH           NC   27604‐4362
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Name                       Address1                         Address2                Address3   Address4         City                 State Zip
MATTHEWS, MARY K           1951 FLINT GLENN LN              C/O CHRISTINE PARSONS                               CHARLOTTE             NC 28262‐9139
MATTHEWS, MARY L           1536 MIMS ST SW                                                                      BIRMINGHAM            AL 35211‐4716
MATTHEWS, MARY L           171 DWIGGINS ROAD                                                                    ELSBERRY              MO 63343‐3113
MATTHEWS, MARY M           5152 OLD LAKE ROAD                                                                   GENEVA ON THE LAKE    OH 44041‐4041
MATTHEWS, MARY T           386 MAIN ST                                                                          SAYREVILLE            NJ 08872‐1165
MATTHEWS, MAUDINE          9495 SHYRE CIRCLE                                                                    DAVISON               MI 48423
MATTHEWS, MAUDINE          9495 SHYRE CIR                                                                       DAVISON               MI 48423‐8625
MATTHEWS, MAURICE          4537 NORTH DOVER, APT            8                                                   CHICAGO                IL 60640
MATTHEWS, MELISSA          1595 MADISON AVE 19‐13                                                               NEW YORK              NY 10029
MATTHEWS, MELVIN           16906 BRIARGATE DR                                                                   CNTRY CLB HLS          IL 60478‐2142
MATTHEWS, MELVIN C         514 WINDSOR PL                                                                       NORTH PORT            FL 34287‐1546
MATTHEWS, MELVIN G         5455 MARSH VIEW CT APT 58                                                            SHELBY TOWNSHIP       MI 48316
MATTHEWS, MELVIN J         3704 COURTLEIGH DR                                                                   RANDALLSTOWN          MD 21133‐4809
MATTHEWS, MELVIN N         3429 FULLER AVE SE                                                                   GRAND RAPIDS          MI 49508‐2452
MATTHEWS, MELVIN R         96 OAK VALLEY DR                                                                     SPRING HILL           TN 37174‐2596
MATTHEWS, MERLE            MANYPENNY J PERRY & ASSOCIATES   300 CAROLINA AVE                                    CHESTER               WV 26034‐1128
MATTHEWS, MICHAEL          1326 BEACH ST                                                                        CRYSTAL LAKE           IL 60014
MATTHEWS, MICHAEL A        1507 RUTHERFORD STREET                                                               UNION CITY            TN 38261‐5980
MATTHEWS, MICHAEL G        4042 WESTWAY ST                                                                      TOLEDO                OH 43612‐1637
MATTHEWS, MICHAEL GEORGE   4042 WESTWAY ST                                                                      TOLEDO                OH 43612‐1637
MATTHEWS, MICHAEL R        6029 ELAINE ST                                                                       SPEEDWAY              IN 46224‐3032
MATTHEWS, MICHELE          1904 SAVANNAH PL SE                                                                  WASHINGTON            DC 20020‐2106
MATTHEWS, MILTON A         1312 LYNCH ST                                                                        SIMPSONVILLE          SC 29681
MATTHEWS, MIRANDA L        9065 FOSTORIA RD                                                                     FOSTORIA              MI 48435‐9707
MATTHEWS, MIRANDA LEE      9065 FOSTORIA RD                                                                     FOSTORIA              MI 48435‐9707
MATTHEWS, MOLLIE J         691 WOODCLIFF RD                                                                     MONTEREY              TN 38574‐1374
MATTHEWS, MURIEL J         1924 N WESTWOOD AVE                                                                  TOLEDO                OH 43607
MATTHEWS, NANCY C          142 CHAMBERLYN LN                                                                    HIRAM                 GA 30141‐2755
MATTHEWS, NELVA D          5404 HOOPER DR                                                                       WICHITA FALLS         TX 76306‐1407
MATTHEWS, NOVELLA          4629 NORTHWOOD DR                                                                    BALTIMORE             MD 21239‐3943
MATTHEWS, OLLA B           233 W BAKER ST                                                                       FLINT                 MI 48505‐4155
MATTHEWS, OMEGA            1133 WISCONSIN BLVD                                                                  DAYTON                OH 45408‐1944
MATTHEWS, ONASSIS          24031 BROADMOOR PARK LN                                                              NOVI                  MI 48374‐4317
MATTHEWS, OPAL P           4928 COLUMBUS AVE                                                                    ANDERSON              IN 46013‐5132
MATTHEWS, ORA M            1460 LOVEDAY LANE                                                                    SEVIERVILLE           TN 37876
MATTHEWS, OTHA             126 W ELDRIDGE AVE                                                                   FLINT                 MI 48505‐3211
MATTHEWS, P.L.             SHANNON LAW FIRM                 100 W GALLATIN ST                                   HAZLEHURST            MS 39083‐3007
MATTHEWS, PAMELA E         1044 ROLLING PARK LN                                                                 FORT MILL             SC 29715‐7086
MATTHEWS, PAMELA I         2628 W 39TH ST                                                                       ANDERSON              IN 46011‐5027
MATTHEWS, PAMELA J         408 W MARBLE ST                                                                      WYLIE                 TX 75098‐4329
MATTHEWS, PAMELA K         6077 BENSCH CT                                                                       ALGER                 MI 48610‐8501
MATTHEWS, PATRICIA A       PO BOX 7647                                                                          BLOOMFIELD HILLS      MI 48302‐7647
MATTHEWS, PAUL D           1212 IVYWOOD CT                                                                      NEW CASTLE            IN 47362‐1660
MATTHEWS, PAUL E           2957 BELDING RD                                                                      ORLEANS               MI 48865‐9732
MATTHEWS, PAUL G           PO BOX 771                                                                           NEW BOSTON            MI 48164‐0771
MATTHEWS, PAUL J           902 STATE RD                                                                         FENTON                MI 48430‐2225
MATTHEWS, PAULA            1705 OLD TOWN RD SE                                                                  GRAND RAPIDS          MI 49508
MATTHEWS, PAULA M          38700 YALE CT                                                                        NORTHVILLE            MI 48167‐9067
MATTHEWS, PEGGY MARTIN     3400 FLO LOR DR APT 12                                                               YOUNGSTOWN            OH 44511‐2729
MATTHEWS, PEGGY MARTIN     3400 FLO‐LOR DRIVE               APT. 12                                             YOUNGSTOWN            OH 44511
MATTHEWS, PHILLIP          617 E PARKWAY AVE                                                                    FLINT                 MI 48505‐2959
MATTHEWS, PHILLIP A        412 CORNELL ST                                                                       BAY CITY              MI 48708‐6923
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Name                     Address1                         Address2            Address3         Address4            City               State Zip
MATTHEWS, PHILLIP D      6401 S AUSTIN R 1                                                                         LAINGSBURG          MI 48848
MATTHEWS, PHILLIP G      6035 1ST ST                                                                               MAYVILLE            MI 48744‐5127
MATTHEWS, PHYLLIS R      4143 MOLDEN                                                                               MOSS POINT          MS 39563
MATTHEWS, RAE J          8309 ELANDER DR                                                                           AUSTIN              TX 78750‐7842
MATTHEWS, RALPH D        15046 STRATHMOOR ST                                                                       DETROIT             MI 48227‐2934
MATTHEWS, RALPH E        171 DWIGGINS RD                                                                           ELSBERRY            MO 63343‐3113
MATTHEWS, RALPH O        257 BURGESS AVE                                                                           DAYTON              OH 45415‐2629
MATTHEWS, RANDY J        114 WILSON AVE                                                                            RISING SUN          MD 21911‐2147
MATTHEWS, REBA J         804 W MICHIGAN AVE APT 3                                                                  YPSILANTI           MI 48197‐5224
MATTHEWS, REBECCA A.     1656 BRENTWOOD DR                                                                         TROY                MI 48098‐2706
MATTHEWS, REGINALD       PO BOX 6923                                                                               ARLINGTON           TX 76005‐6923
MATTHEWS, REGINALD
MATTHEWS, REGINALD       2232 MADRID CT                                                                            ARLINGTON           TX   76013
MATTHEWS, RENEE          3 RUE DES ARQUEBUSIERS                                                STRASBOURG 67000
                                                                                               FRANCE
MATTHEWS, RICHARD        19407 NORWOOD ST                                                                          DETROIT            MI    48234‐1873
MATTHEWS, RICHARD E      4602 ASPEN LEAF LANE                                                                      HUMBLE             TX    77396‐6112
MATTHEWS, RICHARD L      2955 POPLAR SPRINGS CHURCH RD                                                             GAINESVILLE        GA    30507‐8308
MATTHEWS, ROBERT         9005 FREEPORT DRIVE                                                                       DENTON             TX    76207‐6785
MATTHEWS, ROBERT A       2628 W 39TH ST                                                                            ANDERSON           IN    46011‐5027
MATTHEWS, ROBERT D       501 W MAIN ST                                                                             HUDSON             MI    49247‐1005
MATTHEWS, ROBERT E       971 MANCHESTER DRIVE                                                                      GREENVILLE         OH    45331‐2485
MATTHEWS, ROBERT J       740 ABBEY MILL CT SE                                                                      ADA                MI    49301‐7714
MATTHEWS, ROBERT W       5307 WILLIAMSON ST                                                                        CLARKSTON          MI    48346‐3560
MATTHEWS, RODGER DALE    SHANNON LAW FIRM                 100 W GALLATIN ST                                        HAZLEHURST         MS    39083‐3007
MATTHEWS, RODNEY D       309 GRAND DD SE                                                                           FAUCETT            MO    64448‐7134
MATTHEWS, ROGER D        1451 WHITE STONE QUARRY RD                                                                BOWLING GREEN      KY    42101‐9026
MATTHEWS, ROMAN J        707 W WAVELAND AVE APT 811                                                                CHICAGO            IL    60613‐4180
MATTHEWS, RONALD E       15151 COUNTY ROAD 19                                                                      FORT MORGAN        CO    80701‐7112
MATTHEWS, RONALD K       43747 WOODWARD AVE                                                                        BLOOMFIELD HILLS   MI    48302‐5003
MATTHEWS, RONALD KEITH   43747 WOODWARD AVE                                                                        BLOOMFIELD HILLS   MI    48302‐5003
MATTHEWS, RONALD W       2453 TOBY RD                                                                              ORION              MI    48359‐1573
MATTHEWS, RONNIE J       1523 BROOKHILL TER                                                                        GLEN BURNIE        MD    21061‐2130
MATTHEWS, ROSALEE Y      518 QUEEN ST                                                                              WESTBURY           NY    11590‐1339
MATTHEWS, ROSEMARY       15 EAST ST BOX 564                                                                        CEDARVILLE         OH    45314
MATTHEWS, ROSIE L        4213 MARIANNE DR                                                                          FLUSHING           MI    48433‐2328
MATTHEWS, ROY            18650 LAUDER ST                                                                           DETROIT            MI    48235‐2758
MATTHEWS, ROY T          13505 WOODSIDE DR                                                                         HUDSON             FL    34667‐6985
MATTHEWS, RUBY N         734 E ALMA AVE                                                                            FLINT              MI    48505‐2224
MATTHEWS, RUSSELL R      129 LANDFILL RD                                                                           PARK HILLS         MO    63601‐9304
MATTHEWS, RUTH C         9161 ROCKLAND                                                                             DETROIT            MI    48239‐1834
MATTHEWS, RUTH H         4003 CEDAR GATE RD NW                                                                     HUNTSVILLE         AL    35810‐1124
MATTHEWS, RUTH JEAN      PO BOX 546                                                                                GALLOWAY           OH    43119‐0546
MATTHEWS, RUTH L         1415 E 94TH ST                                                                            CLEVELAND          OH    44106‐1011
MATTHEWS, SALLIE R       35434 SMITH RD                                                                            ROMULUS            MI    48174
MATTHEWS, SAMMIE L       9495 CHYRE CIRCLE                                                                         DAVISON            MI    48423
MATTHEWS, SAMUEL E       54881 WALNUT DR                                                                           NEW HUDSON         MI    48165‐9500
MATTHEWS, SAMUEL J       23233 KARR ROAD                                                                           BELLEVILLE         MI    48111‐9340
MATTHEWS, SAMUEL LAMAR   GOLDENBERG, MILLER, HELLER &     PO BOX 959                                               EDWARDSVILLE       IL    62025‐0959
                         ANTOGNOLI
MATTHEWS, SANDRA         2410 N MONROE ST                                                                          WILMINGTON         DE 19802‐3442
MATTHEWS, SANDY          12737 ABINGTON AVE                                                                        DETROIT            MI 48227‐1293
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Name                         Address1                         Address2                      Address3   Address4         City               State Zip
MATTHEWS, SHARLEEN           8057 PINEHURST ST                                                                          DETROIT             MI 48204‐3157
MATTHEWS, SHELDON            4121 AMELIA DR                                                                             SAGINAW             MI 48601‐5004
MATTHEWS, SHIRLEY A          14949 LINDSAY ST                                                                           DETROIT             MI 48227‐4401
MATTHEWS, SILVIA P           15760 E MUSTANG DR                                                                         FOUNTAIN HILLS      AZ 85268‐5314
MATTHEWS, SOCORRO G          3712 CARLIN                                                                                LYNWOOD             CA 90262‐5101
MATTHEWS, SOCORRO G          3712 CARLIN AVE                                                                            LYNWOOD             CA 90262‐5101
MATTHEWS, SONDRA K           1520 CROSTON DR                                                                            PLANO               TX 75075‐2725
MATTHEWS, STARLING           106 ELMWOOD AVE                                                                            DANVILLE             IL 61832‐6508
MATTHEWS, STEVEN G           1501 LINDSEY LN                                                                            CHAPEL HILL         TN 37034‐4031
MATTHEWS, STEVEN L           5255 VASSAR RD                                                                             GRAND BLANC         MI 48439‐9176
MATTHEWS, STEVEN P           54138 ACADIA DR                                                                            MACOMB              MI 48042‐6117
MATTHEWS, TASHA R            6942 KNOLLWOOD DR                                                                          MORROW              GA 30260‐3213
MATTHEWS, TERASA D           325 JOSEPHINE ST                                                                           FLINT               MI 48503‐1053
MATTHEWS, TERRENCE J         7749 HONEYSUCKLE LN                                                                        MAUMEE              OH 43537‐9187
MATTHEWS, THELMA L           4506 JAKE SPOON DR                                                                         KILLEEN             TX 76549‐3106
MATTHEWS, THERESA E          13505 WOODSIDE DR                                                                          HUDSON              FL 34667‐6985
MATTHEWS, THOMAS             375 ATWOOD ST NW                                                                           WARREN              OH 44483‐2116
MATTHEWS, THOMAS D           9281 KINGSLEY DR                                                                           ONSTED              MI 49265‐9420
MATTHEWS, TIMOTHY E          44259 HIGHGATE DR                                                                          CLINTON TOWNSHIP    MI 48038‐1488
MATTHEWS, TIMOTHY R          3420 S EMERY ST                                                                            INDEPENDENCE        MO 64055‐2563
MATTHEWS, TINA D             18475 WINSTON ST                                                                           DETROIT             MI 48219‐3022
MATTHEWS, TISHA              3931 SANDRA DR                                                                             YORK                PA 17402‐5113
MATTHEWS, TOMMIE J           5706 MIMIKA AVE                                                                            SAINT LOUIS         MO 63136‐4912
MATTHEWS, TONY L             112 W BOGART RD                                                                            SANDUSKY            OH 44870‐5894
MATTHEWS, TROY E             1011 WELCH BLVD                                                                            FLINT               MI 48504‐7329
MATTHEWS, TYRE M             2807 W 2ND ST                                                                              WILMINGTON          DE 19805‐1806
MATTHEWS, VALASKA B          4753 N 19TH ST                                                                             MILWAUKEE           WI 53209‐6434
MATTHEWS, VELMA I            2365 MCCOMB                                                                                CLIO                MI 48420‐1055
MATTHEWS, VELMA I            2365 MCCOMB DR                                                                             CLIO                MI 48420‐1055
MATTHEWS, VERA B             255 ELLISON RD                                                                             TYRONE              GA 30290‐2506
MATTHEWS, VERLIN             165 S OPDYKE RD LOT 68                                                                     AUBURN HILLS        MI 48326‐3155
MATTHEWS, VICTORIA M         1101 KENSINGTON AVENUE                                                                     FLINT               MI 48503
MATTHEWS, VICTORIA M         5902 GLENN AVE                                                                             FLINT               MI 48505‐5160
MATTHEWS, VICTORIA MICHELE   5902 GLENN AVE                                                                             FLINT               MI 48505‐5160
MATTHEWS, WALTER J           5912 MAGNOLIA ST                                                                           PHILADELPHIA        PA 19144‐1114
MATTHEWS, WALTER Y           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                              STREET, SUITE 600
MATTHEWS, WANDRA B           1721 BRIER ST SE                                                                           WARREN             OH   44484‐5312
MATTHEWS, WAYNE L            1330 BROENING HWY                                                                          BALTIMORE          MD   21224‐5529
MATTHEWS, WILLIAM A          11123 ABBEYWOOD                                                                            OKLAHOMA CITY      OK   73170‐3208
MATTHEWS, WILLIAM C          BILMS KEVIN P                    430 CRAWFORD ST STE 202                                   PORTSMOUTH         VA   23704‐3813
MATTHEWS, WILLIAM G          17103 N UNION RD                                                                           LAWSON             MO   64062‐7001
MATTHEWS, WILLIAM P          925 WINDING BROOK PKWY APT C                                                               INDIANAPOLIS       IN   46234‐2323
MATTHEWS, WILLIAM R          13314 LILLIAN LN                                                                           STERLING HEIGHTS   MI   48313‐2640
MATTHEWS, WILLIAM V          3863 WALLINGFORD RD                                                                        SOUTH EUCLID       OH   44121‐1917
MATTHEWS, WILLIE G           4640 SEEBALDT ST                                                                           DETROIT            MI   48204‐4230
MATTHEWS, WILLIE S           5057 KIMBERLY CT                                                                           BRIDGEPORT         MI   48722‐9578
MATTHEWS, WINVERT J          2412 TAPLEY LN                                                                             WILMINGTON         DE   19808‐4132
MATTHEWS, WOODFORD G         188 APPALOOSA DR                                                                           DALLAS             GA   30132‐1905
MATTHEWS, YOLANDA E          140 W 3RD SOUTH                                                                            SODA SPRINGS       ID   83276‐3276
MATTHEWS, YOLANDA E          140 W 3RD S                                                                                SODA SPRINGS       ID   83276‐1525
MATTHEWS, YVONNE D           734 E ALMA AVE                                                                             FLINT              MI   48505‐2224
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Name                            Address1                         Address2                       Address3      Address4                 City                 State Zip
MATTHEWS‐HARGREAVES CHEVROLET   2000 E 12 MILE RD                                                                                      ROYAL OAK             MI 48067‐1503
COMPA
MATTHEWS‐HARGREAVES CHEVROLET   2000 E 12 MILE RD                                                                                      ROYAL OAK            MI 48067‐1503
COMPANY
MATTHEWS‐HARGREAVES CHEVROLET   LAWRENCE BURR                    2000 E 12 MILE RD                                                     ROYAL OAK            MI 48067‐1503
COMPANY
MATTHEWS‐TORRENCE, BERTHA M     12237 TARPON DR                                                                                        FLORISSANT           MO 63033‐4763
MATTHEY, ROBERT W               2614 IDA AVE                                                                                           NORWOOD              OH 45212‐4214
MATTHIAS & JOHANNA LIESEN       AUF DEM HAEHNCHEN 6                                                           D 53894 MECHERNICH
                                                                                                              GERMANY
MATTHIAS BACK                   WALTER‐VON‐VILBELL‐STR. 8        67127 R╓DERSHEIM‐GRONAU
MATTHIAS BACK                   WALTER‐VON VILBELL‐STR. 8        67127 R╓DERSHEIM‐GRONAU
MATTHIAS BARTH                  MITTELFELDSTR. 2                 71263 WEIL DER STADT
MATTHIAS BAUER                  PLANTAGENPLATZ 1                                                                                       POTSDAM                   14482
MATTHIAS BECKER                 ABC                                                                                                    DEF                  DE
MATTHIAS BLUEMEL                HIMPFELSHOFSTR. 14                                                            NURNBERG 90429
                                                                                                              GERMANY
MATTHIAS BONK                   BRUNOWSTRASSE 47                 13507 BERLIN                   GERMANY
MATTHIAS BONK                   BRUNOWSTRASSE 47                                                              13507 BERLIN GERMANY
MATTHIAS DREYER                 AN DER KATHOL KIRCHE 7                                                        15366 HOPPEGARTEN
                                                                                                              GERMANY
MATTHIAS EIERMANN               AMEISENBERGSTR 68                                                             70188 STUTTGART
                                                                                                              GERMANY
MATTHIAS ETZOLD                 740 HARCOURT RD                                                                                        GROSSE POINTE PARK   MI 48230‐1832
MATTHIAS FENGLER                WESTENDPLATZ 42                                                               60325 FRANKFURT
                                                                                                              GERMANY
MATTHIAS FLORIAN UELPENICH      IM KLOSTERTAL 22                                                              D‐53881 EUSKIRCHEN
                                                                                                              GERMANY
MATTHIAS GREINER                STOCK─CKERSTR. 8                 96450 COBURG
MATTHIAS GREINER                STOCKAECKERSTR. 8                96450 COBURG
MATTHIAS GROH                   SCHNEEBERGER STR 45                                                           D‐08107 KIRCHBERG
                                                                                                              GERMANY
MATTHIAS HAUSDORF               HUBBERGWEG 8                                                                  69469 WEINHEIM
MATTHIAS HEINZEMANN             OBERE WEINBERGSTRA▀E 14          34292 AHNATAL                  DEUTSCHLAND
MATTHIAS HERRMANN               AUF DEM STEIN 17                                                              D 53501 GRAFSCHAFT
                                                                                                              GERMANY
MATTHIAS ILLIG                  HERTELSTR. 24                    01307 DRESDEN
MATTHIAS INNERKOFLER            VIA BARLETTA 8
MATTHIAS INNERKOFLER            VIA BARLETTA                     8 IT‐39100                                   BOLZANO (ITALY)
MATTHIAS J TAYLOR               448 BROOKSIDE DR                                                                                       DAYTON               OH 45406
MATTHIAS KLEIN                  AUF SCHNOES 13                                                                54457 WINCHERINGEN
                                                                                                              GERMANY
MATTHIAS KOEHLER                CLAUDIUSSTR. 6                                                                40668                    MEERBUSCH
MATTHIAS K╓HLER                 CLAUDIUSSTR. 6                                                                40668                    MEERBUSCH
MATTHIAS KOOP                   SCHUBERSTR. 19                   78054 VILLINGEN‐SCHWENNINGEN

MATTHIAS KOOP                   SCHUBERTSTR. 19                                                               78054 VILLINGEN‐
                                                                                                              SCHWENNINGEN GERMANY
MATTHIAS KORDT                  K╓NIGSBACHER STR. 25                                                                                   PFINZTAL             DE 76327
MATTHIAS KORDT                  K╓NIGSBACHER STR. 25             76327 PFINZTAL
MATTHIAS KORDT                  KOENIGSBACHER STR 25                                                          76327 PFINZTAL GERMANY
MATTHIAS LIESEN                 AUF DEM H─HNCHEN 6               53894 MECHERNICH
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Name                          Address1                         Address2                        Address3   Address4               City           State Zip
MATTHIAS M PFAB               21614 S BERNICE AVE                                                                                TORRANCE        CA 90503‐6312
MATTHIAS MAY                  MUEHLENWEG 16                    59872 MESCHEDE
MATTHIAS MAY                  M▄HLENWEG 16
MATTHIAS MONSCHEIN            BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS     OH 44236
MATTHIAS PFAB                 21614 BERNICE AVE                                                                                  TORRANCE       CA 90503‐6312
MATTHIAS POLLMANN‐SCHULT      KRIEMILDSTR. 10                                                                                    BIELEFELD         33615
MATTHIAS POLLMANN‐SCHULT      KRIEMHILDSTR. 10                                                                                   BIELEFELD         33615
MATTHIAS POLLMANN‐SCHULT      KRIEMHILDSTR. 10                 33615 BIELEFELD
MATTHIAS SCHMIDT              ELLERBRUCH 5 B                                                                                     HAMBURG             20537
MATTHIAS SCHUETTE             HELLWEG 10                                                                  49811 LINGEN GERMANY
MATTHIAS SCH▄TTE              HELLWEG 10
MATTHIAS SCH▄TTE              HELLWEG 10                       49811 LINGEN
MATTHIAS STIHL                FLIEDERSTR. 5                                                                                      GOTTMADINGEN        78244
MATTHIAS STIHL                FLIEDERSTR 5                                                                73244 GOTTHADINGEN
                                                                                                          GERMANY
MATTHIAS VOLKERT              FRITZ‐BOCKIUS‐STR 6                                                         55122 MAINZ GERMANY
MATTHIAS, BERNICE             3309 DECATUR AVE                                                                                   BRONX          NY 10467‐3401
MATTHIAS, GILBERT
MATTHIAS, KAHUNA A            1814 HARVARD DR                                                                                    RICHARDSON     TX   75081‐3152
MATTHIAS, LEROY               3309 DECATUR AVE                                                                                   BRONX          NY   10467‐3401
MATTHIAS, MARK A              3213 LINDBERGH DR                                                                                  INDIANAPOLIS   IN   46227‐6688
MATTHIAS, MARK ALAN           3213 LINDBERGH DR                                                                                  INDIANAPOLIS   IN   46227‐6688
MATTHIAS, TODD                11 YORK AVE                                                                                        RYE            NY   10580
MATTHIE, TROY D               98 COUNTY ROUTE 43                                                                                 MASSENA        NY   13662‐4113
MATTHIES JR, OTTO W           16367 TUCKER RD # 1                                                                                HOLLY          MI   48442
MATTHIES JR, OTTO WILHELM     16367 TUCKER RD # 1                                                                                HOLLY          MI   48442
MATTHIES, ARTHUR F            8236 OLD POST RD E                                                                                 EAST AMHERST   NY   14051‐1583
MATTHIESEN, GARY R            2631 STORM LAKE DR                                                                                 SAINT LOUIS    MO   63129‐5430
MATTHIEU JR, EDSON            50 CANYON CT                                                                                       WEST MILTON    OH   45383‐1773
MATTHIEU JR, EDSON            50 CANYON COURT                                                                                    WEST MILTON    OH   45383‐5383
MATTHIEU, PAUL E              7538 RANGELINE RD R 1                                                                              UNION          OH   45322
MATTHIS I, EDWARD F           566 WESLEY AVENUE                                                                                  MANSFIELD      OH   44905‐1447
MATTHIS I, EDWARD F           566 WESLEY AVE                                                                                     MANSFIELD      OH   44905‐1447
MATTHIS SHARPLESS             PO BOX 1437                                                                                        JACKSONVILLE   NC   28541‐1437
MATTHIS WILLIAM JR (632839)   BRAYTON PURCELL                  PO BOX 6169                                                       NOVATO         CA   94948‐6169
MATTHIS, JULIUS               735 BARRATTS CHAPEL RD                                                                             FELTON         DE   19943‐5541
MATTHIS, NATHAN L             17 TACOMA AVE                                                                                      BUFFALO        NY   14216‐2212
MATTHIS, NATHAN LOUIS         17 TACOMA AVE                                                                                      BUFFALO        NY   14216‐2212
MATTHIS, ODESSA               APT 10                           2301 TIMBERBROOK DR SOUTHEAST                                     GRAND RAPIDS   MI   49546‐8101

MATTHIS, ODESSA               2301 TIMBERBROOK DR SE APT 10                                                                      GRAND RAPIDS   MI   49546‐9101
MATTHIS, WILLIAM              BRAYTON PURCELL                  PO BOX 6169                                                       NOVATO         CA   94948‐6169
MATTHUS JOSHUA                2355 CANOE CIRCLE DR                                                                               LAKE ORION     MI   48360‐1882
MATTHYSSE, ALLAN J            940 MONROE AVE NW APT 426                                                                          GRAND RAPIDS   MI   49503‐1487
MATTHYSSE, ARIE               105 RAVENSWOOD ST SW                                                                               GRANDVILLE     MI   49418‐2182
MATTHYSSE, DONALD L           1823 ELIZABETH LN                                                                                  JENISON        MI   49428‐7726
MATTI, MARTA K                33 DANIEL DR                                                                                       GRIFFIN        GA   30223
MATTI, MIKE G                 5355 S RAINBOW BLVD APT 169                                                                        LAS VEGAS      NV   89118‐1845
MATTI, SUSAN L                32536 HENNEPIN ST                                                                                  GARDEN CITY    MI   48135‐1299
MATTIA BARILE                 93 MOUNTAINDALE RD                                                                                 YONKERS        NY   10710‐3523
MATTIA, MICHAEL J             1201 WEST AVE                                                                                      HILTON         NY   14468‐9751
MATTIAS SOMROWSKI             WITTERINGSTRA▀E 91               45130 ESSEN
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Name                        Address1                              Address2                     Address3   Address4         City             State Zip
MATTICE JR, ALVIN E         2205 DAKOTA AVE                                                                                FLINT             MI 48506‐2803
MATTICE'S SERVICE STATION   1025 ALTAMONT AVE                                                                              SCHENECTADY       NY 12303‐1830
MATTICE, CRAIG A            343 CENTER GROVE RD                                                                            RANDOLPH          NJ 07869‐2016
MATTICE, DONALD C           621 COONEY RD                                                                                  CALEDONIA         NY 14423‐9772
MATTICE, JULIA              1897 STATE RT 420                                                                              MASSENA           NY 13662
MATTICE, MARCIA             12061 CARDWELL                                                                                 LAVONIA           MI 48150
MATTICE, MARY               64 STATE HIGHWAY 37C                                                                           MASSENA           NY 13662‐3242
MATTICE, PATRICK G          7602 S PATTON RD                                                                               BLOOMINGTON       IN 47401‐9333
MATTICE, PATRICK R          68445 KNOLLSIDE CT                                                                             WASHINGTON TWP    MI 48095‐1394
MATTICE, RICHARD E          104 EASY ST                                                                                    ONEONTA           NY 13820‐6596
MATTICE, ROSEMARY B         68445 KNOLLSIDE CT                                                                             WASHINGTON TWP    MI 48095‐1394
MATTICE, STEVEN O           875 MORTON RD                                                                                  HORTON            MI 49246‐9741
MATTICE, WILLIAM G          9561 CHESTNUT ST                                                                               BREWERTON         NY 13029‐9408
MATTICK ROBERT              14500 N FRANK LLOYD WRIGHT BLVD APT                                                            SCOTTSDALE        AZ 85260
                            243
MATTICK, BARBARA A          2737 N 300 W                                                                                   GREENFIELD       IN   46140‐8480
MATTIE ADAMS                3969 LINCOLN BLVD                                                                              DEARBORN HTS     MI   48125‐2563
MATTIE ALEXANDER            4432 INDIANA AVE                                                                               KANSAS CITY      MO   64130‐2034
MATTIE ANDERSEN             578 S LAKE PLEASANT RD                                                                         ATTICA           MI   48412‐9676
MATTIE ANDERSON             APT 28‐14                             9000 EAST JEFFERSON AVENUE                               DETROIT          MI   48214‐2940
MATTIE ANDREWS              6186 TITAN RD                                                                                  MOUNT MORRIS     MI   48458‐2616
MATTIE ANDREWS              3300 WABASH AVE                                                                                KANSAS CITY      MO   64109‐2176
MATTIE ATKINS               1743 PINEWALK LN                                                                               RIVERDALE        GA   30296‐2561
MATTIE B SMITH              1215 GAIL ST.                                                                                  TUSCUMBIA        AL   35674
MATTIE BAILEY               1571 ZETUS RD NW                                                                               BROOKHAVEN       MS   39601‐9480
MATTIE BEACHUM              402 N COMMONS ST E APT 4                                                                       TUSCUMBIA        AL   35674‐1325
MATTIE BELLE                340 S BROADWAY ST                                                                              DAYTON           OH   45402‐8212
MATTIE BENARD               279 CEDARDALE AVE                                                                              PONTIAC          MI   48341‐2727
MATTIE BERRYHILL            8602 W ST JOE HWY                                                                              LANSING          MI   48917‐8809
MATTIE BOND                 1207‐A SWEETBRIAR                                                                              NASHVILLE        TN   37212
MATTIE BOND                 3254 GLASBY ST                                                                                 SAGINAW          MI   48601‐4775
MATTIE BONE                 8076 MIDDLEPOINT ST                                                                            DETROIT          MI   48204‐3132
MATTIE BONNER               530 BARNES ST                                                                                  TUPELO           MS   38804‐2150
MATTIE BRAZELL              19947 CHAPEL ST                                                                                DETROIT          MI   48219‐1360
MATTIE BRIDGES              173 FULTON ST                                                                                  PONTIAC          MI   48341‐2758
MATTIE BRIGHT               180 WARDEN AVE                                                                                 ELYRIA           OH   44035‐2558
MATTIE BROWN                3530 LUCKY ST                                                                                  JACKSON          MS   39213‐5744
MATTIE BROWN                782 5TH ST SW                                                                                  WARREN           OH   44485‐3815
MATTIE BROWN                125 E THACKERY AVE                                                                             FLINT            MI   48505‐3317
MATTIE BROWN                4697 HERBEMONT RD                                                                              MARTINSVILLE     IN   46151‐8535
MATTIE BRYANT               4803 PUMPKIN LEAF DR                                                                           KOKOMO           IN   46902‐2852
MATTIE BULLOCK              PO BOX 21582                                                                                   DETROIT          MI   48221‐0582
MATTIE BURNSIDE             26657 PENN ST                                                                                  INKSTER          MI   48141‐2537
MATTIE BURRESS              4630 EASTERN AVE SE APT 303                                                                    KENTWOOD         MI   49508‐7572
MATTIE BUSH                 15410 LAUDER ST                                                                                DETROIT          MI   48227‐2629
MATTIE BUTLER               2887 W MOUNT TABOR CIR                                                                         DULUTH           GA   30096‐6289
MATTIE BYRD                 4967 GA HIGHWAY 125 N                                                                          CHULA            GA   31733‐4309
MATTIE C SINGLETARY         2604 HABERSHAM RD                                                                              ALBANY           GA   31701‐5920
MATTIE CARR                 3507 RANGELEY ST APT 5                                                                         FLINT            MI   48503‐2956
MATTIE CARR                 7590 CROW CUT RD                                                                               FAIRVIEW         TN   37062‐8213
MATTIE CARRELL              3726 ISABELLE ST                                                                               INKSTER          MI   48141‐2116
MATTIE CARTER               2838 W HURON ST                                                                                WATERFORD        MI   48328‐3630
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Name                   Address1                      Address2                        Address3   Address4         City            State Zip
MATTIE CASON           16801 MANSFIELD ST                                                                        DETROIT          MI 48235‐3510
MATTIE CHANDLER        1333 RONALD ST                                                                            VANDALIA         OH 45377‐1706
MATTIE CHAPPELL        3942 MICHIGAN CIR                                                                         SHREVEPORT       LA 71109‐1913
MATTIE CLEMONS         PO BOX 1188                                                                               BUFFALO          NY 14215‐6188
MATTIE COLE            6379 SHERMAN DR                                                                           LOCKPORT         NY 14094‐6517
MATTIE COLEMAN         927 ELMHURST RD                                                                           DAYTON           OH 45417‐1110
MATTIE COLEMAN         6721 COLONIAL DR                                                                          FLINT            MI 48505‐5421
MATTIE COLLINS         APT 602                       2035 MEMORIAL DRIVE SOUTHEAST                               ATLANTA          GA 30317‐2523

MATTIE COLLINS         11960 W ORANGE GROVE RD                                                                   TUCSON          AZ   85743‐9496
MATTIE CONDER          288 COUNTY ROAD 1081                                                                      CARTHAGE        TX   75633‐5241
MATTIE CONLEY          4185 ETOWAH DR SE                                                                         ACWORTH         GA   30102‐3106
MATTIE CONVIS          8155 CORUNNA RD                                                                           FLINT           MI   48532
MATTIE CRAWFORD        PO BOX 333                                                                                LIBERTY         NY   12754‐0333
MATTIE CUNNINGHAM      1800 N CHARLES ST                                                                         LIMA            OH   45801‐2417
MATTIE CURRY           1600 CHURCH RD APT D206                                                                   WYNCOTE         PA   19095‐1955
MATTIE DAVIDSON        1506 PHILADELPHIA DR                                                                      DAYTON          OH   45406‐4112
MATTIE DAVIS           10916 W DERBY AVE                                                                         WAUWATOSA       WI   53225‐4454
MATTIE DEAN            315 ISBELL ST                                                                             LANSING         MI   48910‐1518
MATTIE DEGRAFFINREED   110 S CLINTON ST                                                                          EAST ORANGE     NJ   07018‐3009
MATTIE DRAKE           2765 WENTWORTH APT 31G                                                                    DAYTON          OH   45406
MATTIE DREW            239 HOSPITAL CIR              HENRY COUNTY HEALTH CARE                                    PARIS           TN   38242‐4550
MATTIE DUNN            9137 NOBLET ROAD                                                                          DAVISON         MI   48423‐8714
MATTIE DUNSON          6214 TUTTLE HILL RD                                                                       YPSILANTI       MI   48197‐9428
MATTIE DUNSTON         9270 MAXWELL CT                                                                           LAUREL          MD   20723‐5849
MATTIE E ROBINSON      10121 EATON PIKE                                                                          NEW LEBANON     OH   45345‐9325
MATTIE EALEY           4384 DICKERSON ST 1                                                                       DETROIT         MI   48215
MATTIE EATON           80 SEWARD ST APT A10                                                                      DETROIT         MI   48202‐2458
MATTIE EDWARDS         1261 E 145TH ST                                                                           E CLEVELAND     OH   44112‐2619
MATTIE ELLIS           22421 HEATHERSETT CRES                                                                    FARMINGTN HLS   MI   48335‐3843
MATTIE ERWIN           1311 CARROLL ST                                                                           SAGINAW         MI   48601‐1657
MATTIE ESTES           PO BOX 15                                                                                 GARDEN CITY     MI   48136‐0015
MATTIE F ATKINS        1743 PINEWALK LN                                                                          RIVERDALE       GA   30296‐2561
MATTIE F MISTRES       1914 LYNBROOK DR                                                                          FLINT           MI   48507‐6036
MATTIE F ROBINSON      3698 VERNON AVE                                                                           MEMPHIS         TN   38122‐1445
MATTIE FINLEY          12413 REXFORD AVE                                                                         CLEVELAND       OH   44105‐2667
MATTIE FLOWERS         1805 PONTIAC DR                                                                           KOKOMO          IN   46902‐2516
MATTIE FOXWORTH        2281 KEVIN DAVID DR                                                                       FLINT           MI   48505‐1054
MATTIE FRANKLIN        552 E 103RD ST                                                                            CLEVELAND       OH   44108‐1330
MATTIE FRAZIER         140 E FRANKLIN ST                                                                         CENTERVILLE     OH   45459‐5916
MATTIE FULLWOOD        1077 BERWICK BLVD                                                                         PONTIAC         MI   48341‐2321
MATTIE G LONG          135 HEMPHILL SCHOOL RD NW                                                                 ATLANTA         GA   30331‐1621
MATTIE GADSON          821 N BELL ST                                                                             KOKOMO          IN   46901‐3018
MATTIE GARRETTSON      2503 ARBUTON AVE                                                                          BALTIMORE       MD   21230‐2910
MATTIE GILES           18641 SANTA ROSA DR                                                                       DETROIT         MI   48221‐2246
MATTIE GILL            8671 FOREST BREEZE DR                                                                     CORDOVA         TN   38018‐7696
MATTIE GIST            2092 COUNTY ROAD 394                                                                      KILLEN          AL   35645‐5524
MATTIE GOLSTON         9412 RAYMOND AVE                                                                          CLEVELAND       OH   44104‐5446
MATTIE GRAY            PO BOX 3701                                                                               MILTON          FL   32572‐3701
MATTIE GRAYER          20044 STOEPEL ST                                                                          DETROIT         MI   48221‐1293
MATTIE GREENE          8255 SUSSEX ST                                                                            DETROIT         MI   48228‐2248
MATTIE GRIMES          PO BOX 191                                                                                SPRINGBORO      OH   45066‐0191
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Name                      Address1                         Address2                     Address3   Address4         City             State Zip
MATTIE GWINN              7389 N LAPEER RD                                                                          FOSTORIA          MI 48435‐9625
MATTIE H BROWN            3530 LUCKY STREET                                                                         JACKSON           MS 39213
MATTIE H GRIMES           PO BOX 191                                                                                SPRINGBORO        OH 45066
MATTIE H JORDAN           399 F QUARRY LANE NE                                                                      WARREN            OH 44483‐4558
MATTIE HALL               3991 LEBANON RD                                                                           SOUTH LEBANON     OH 45065‐1004
MATTIE HALL               13198 FORDLINE ST                                                                         SOUTHGATE         MI 48195‐2435
MATTIE HARDWICK           17305 HAMPSHIRE                                                                           CLINTON TWP       MI 48038‐4646
MATTIE HARPER             1010 E ALMA AVE                                                                           FLINT             MI 48505‐2228
MATTIE HAYES              4916 CENTRAL AVE                                                                          ANDERSON          IN 46013‐4837
MATTIE HAYES              1269 E YALE AVE                                                                           FLINT             MI 48505‐1752
MATTIE HENDERSON THOMAS   5521 RAVENNA ST                                                                           CINCINNATI        OH 45227‐1222
MATTIE HIBBARD            2125 TULEY RD                                                                             INDIAN SPRINGS    OH 45015‐1349
MATTIE HILL               1656 GILMER AVE                                                                           MONTGOMERY        AL 36104
MATTIE HILL               2320 SIMS CT APT 10                                                                       COLUMBUS          IN 47203‐3458
MATTIE HOLLINGER          1366 W 1150 S                                                                             KOKOMO            IN 46901‐7526
MATTIE HOOKER             1608 S MARSHALL RD                                                                        MIDDLETOWN        OH 45044‐6832
MATTIE HOUSER             3548 HAVEN ST                                                                             CINCINNATI        OH 45220‐1317
MATTIE HOWARD             1815 PINKERTON RD                                                                         WEST POINT        MS 39773‐7605
MATTIE HUMPHRIES          4620 N ABINGTON DR APT 2C                                                                 INDIANAPOLIS      IN 46254‐4128
MATTIE HUNTER             28 CROSBY AVE                                                                             LOCKPORT          NY 14094‐4106
MATTIE I DAWKINS          6025 E 40TH TER                                                                           KANSAS CITY       MO 64129‐1717
MATTIE INGRAM             475 NEVADA AVE                                                                            PONTIAC           MI 48341‐2550
MATTIE INGRAM             PO BOX 975                                                                                GADSDEN           AL 35902‐0975
MATTIE J MICKLE           1491 ILKA SWITCH                                                                          SEGUIN            TX 78155
MATTIE JACKSON            15 LONGSTREET DR                                                                          LITTLE ROCK       AR 72206‐2737
MATTIE JACKSON            311 GARSON AVE                                                                            ROCHESTER         NY 14609‐6232
MATTIE JACKSON            7681 KENNINGTON LN                                                                        JONESBORO         GA 30236‐2652
MATTIE JOHNSON            474 NORTHAMPTON ST                                                                        BUFFALO           NY 14208‐2401
MATTIE JOHNSON            526 S 30TH ST                                                                             SAGINAW           MI 48601‐6431
MATTIE JOHNSON            12950 MACKENZIE STREET                                                                    DETROIT           MI 48228‐4009
MATTIE JONES              1202 W LAKE PARKER DR                                                                     LAKELAND          FL 33805
MATTIE JONES              1405 MILL STREAM DR                                                                       DALLAS            TX 75232‐4605
MATTIE JONES              BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH 44236
MATTIE JORDAN             399 QUARRY LN NE UNIT F                                                                   WARREN            OH 44483‐4558
MATTIE JORDAN             9264 LITTLEFIELD ST                                                                       DETROIT           MI 48228‐2548
MATTIE K BROWN            782 FIFTH ST. S.W.                                                                        WARREN            OH 44485‐3815
MATTIE KELLY              12038 CHERRYLAWN ST                                                                       DETROIT           MI 48204‐1009
MATTIE KIRKSEY            1240 WALDRON AVE                                                                          UNIVERSITY CY     MO 63130‐1845
MATTIE KORBIJN            12700 COLBY LAKE RD LOT 37                                                                LAINGSBURG        MI 48848‐8736
MATTIE KRANZ              PO BOX 112                                                                                SWARTZ CREEK      MI 48473‐0112
MATTIE L BRIGHT           180 WARDEN AVE                                                                            ELYRIA            OH 44035‐2558
MATTIE L CLEMONS          PO BOX 1188                                                                               BUFFALO           NY 14215‐6188
MATTIE L CURRY            1600 CHURCH RD APT D206                                                                   WYNCOTE           PA 19095‐1955
MATTIE L GILL             8671 FOREST BREEZE DR                                                                     CORDOVA           TN 38018
MATTIE L JACKSON          7681 KENNINGTON LN                                                                        JONESBORO         GA 30236‐2652
MATTIE L JORDAN           529 CALDER AVE                                                                            YPSILANTI         MI 48198‐6189
MATTIE L MCCOMBS          8 WARNER RD                                                                               NEWNAN            GA 30263‐4754
MATTIE L MOSLEY           252 LAKE FOREST DR                                                                        LA VERGNE         TN 37086‐4226
MATTIE L SPEAKS           2409 S OLD OAKS DR                                                                        DAYTON            OH 45431
MATTIE L TAYLOR           2942 ARLINGTON DR                                                                         SAGINAW           MI 48601‐6980
MATTIE L WASSON           126 OLD BOTTOM RD.                                                                        WINCHESTER        KY 40391‐1632
MATTIE LACEY              4604 BROOKSDALE DR                                                                        SARASOTA          FL 34232‐5226
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Name                  Address1                        Address2                     Address3   Address4         City            State Zip
MATTIE LARUE          3725 LEBOW ST                                                                            FORT WORTH       TX 76106‐4016
MATTIE LEE            571 N MARBLE ST                                                                          ROCKMART         GA 30153‐2325
MATTIE LEGGETT        4768 WOODVILLE HWY APT 1213                                                              TALLAHASSEE      FL 32305‐0960
MATTIE LEGGETT        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH 44236
MATTIE LEWIS          4673 BEECHGROVE AVE                                                                      GARFIELD HTS     OH 44125‐1810
MATTIE LIGGANS        103 MICHIGAN AVE                                                                         LEXA             AR 72355‐8591
MATTIE LILLY          2828 VICTOR AVE                                                                          LANSING          MI 48911‐1736
MATTIE LIPSEY         18613 PREST ST                                                                           DETROIT          MI 48235‐2851
MATTIE LOGGINS        4820 CARTER AVE                                                                          SAINT LOUIS      MO 63115‐2211
MATTIE LONG           135 HEMPHILL SCHOOL RD NW                                                                ATLANTA          GA 30331‐1621
MATTIE LOU DAVIDSON   1506 PHILADELPHIA DR.                                                                    DAYTON           OH 45406‐4112
MATTIE M ANDERSON     APT 28‐14                       9000 EAST JEFFERSON AVENUE                               DETROIT          MI 48214‐2940
MATTIE M BOND         3254 GLASBY ST                                                                           SAGINAW          MI 48601‐4775
MATTIE M FRAZIER      140 E FRANKLIN                                                                           CENTERVILLE      OH 45459‐5916
MATTIE M MADISON      4315 WALNUT HILLS DR SE                                                                  KENTWOOD         MI 49512‐3830
MATTIE M THOMAS       4833 LAUDERDALE DR APT 7                                                                 MORAINE          OH 45439‐2848
MATTIE MADDOX         PO BOX 87                                                                                FLETCHER         MO 63030‐0087
MATTIE MADISON        4315 WALNUT HILLS DR SE                                                                  KENTWOOD         MI 49512‐3830
MATTIE MAE WALKER     FOSTER & SEAR, LLP              817 GREENVIEW DR.                                        GRAND PRAIRIE    TX 75050
MATTIE MAI BOND       C/O WEITZ & LUXEMBERG PC        700 BROADWAY                                             NEW YORK CITY    NY 10003
MATTIE MALONE         1515 MONTCLAIR AVE                                                                       FLINT            MI 48503‐2069
MATTIE MATHIS         2006 GEORGETOWN BLVD APT 11                                                              LANSING          MI 48911‐5470
MATTIE MAY            444 CHARLES AVE SE                                                                       GRAND RAPIDS     MI 49503‐5508
MATTIE MC FADDEN      305 COLE RD                                                                              GREENVILLE       SC 29611‐5517
MATTIE MC GOWAN       1860 DALEWOOD PL                                                                         CINCINNATI       OH 45237‐5718
MATTIE MCCASTER       1517 WAVERLY AVE                                                                         TOLEDO           OH 43607‐1718
MATTIE MCDANIEL       4029 RACE ST                                                                             FLINT            MI 48504‐2237
MATTIE MCELROY        6705 COLONIAL DR                                                                         FLINT            MI 48505‐5421
MATTIE MCFARLAND      1891 N STATE RD 267                                                                      PLAINFIELD       IN 46168
MATTIE MCGHEE         5401 W QUINCY ST                                                                         CHICAGO           IL 60644‐4261
MATTIE MEEKINS        9535 N VASSAR RD                                                                         MOUNT MORRIS     MI 48458‐9764
MATTIE MERCHANT       18301 GREENWALD DR                                                                       SOUTHFIELD       MI 48075‐5835
MATTIE MICKLE         1491 ILKA SWITCH                                                                         SEGUIN           TX 78155‐1535
MATTIE MILLER         116 E MCCLELLAN ST                                                                       FLINT            MI 48505‐4224
MATTIE MILLER         20257 ARCHER ST                                                                          DETROIT          MI 48219‐1124
MATTIE MILTON         7035 SANTA IRENE CIR APT 8                                                               BUENA PARK       CA 90620‐4856
MATTIE MISTRES        1914 LYNBROOK DR                                                                         FLINT            MI 48507‐6036
MATTIE MITCHELL       224 GOLF SIDE RD                                                                         YPSILANTI        MI 48197
MATTIE MITCHELL       2224 GOLFSIDE DR APT 250                                                                 YPSILANTI        MI 48197‐1593
MATTIE MITCHELL       65 JAY ST                                                                                NEWARK           NJ 07103‐3235
MATTIE MOBLEY         6114 WATERTON WAY                                                                        LITHONIA         GA 30058‐3520
MATTIE MONDY          701 PARIS AVE SE                                                                         GRAND RAPIDS     MI 49503‐5406
MATTIE MOORE          5658 LILIAN AVE                                                                          SAINT LOUIS      MO 63120‐2329
MATTIE MOORE          1100 S 2ND ST                                                                            WILLIAMSBURG     KY 40769‐1423
MATTIE MOORE          1428 ANNESLEY ST                                                                         SAGINAW          MI 48601‐2109
MATTIE MOORE          350 OTT DR                                                                               CLINTON          OH 44216‐9411
MATTIE MORGAN         116 JACKSON MEADOWS DRIVE                                                                HOSCHTON         GA 30548‐6349
MATTIE MOSLEY         252 LAKE FOREST DR                                                                       LA VERGNE        TN 37086‐4226
MATTIE MOSS           3309 WARD DR SW                                                                          ATLANTA          GA 30354‐2626
MATTIE MULLENS        9878 E PRAIRIE AVE                                                                       GALVESTON        IN 46932‐8526
MATTIE MURCHISON      3737 E 142ND ST                                                                          CLEVELAND        OH 44120‐4818
MATTIE NANCE          1620 POST OAK VALLEY RD                                                                  ROCKWOOD         TN 37854‐5242
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Name                   Address1                       Address2                   Address3   Address4         City              State Zip
MATTIE NARCISSE        401 39TH ST                                                                           TUSCALOOSA         AL 35405‐2947
MATTIE NEWSOM          1106 E JEFFERSON ST                                                                   KOKOMO             IN 46901‐4934
MATTIE NUNNALLY        750 EMILY PL NW                                                                       ATLANTA            GA 30318‐6342
MATTIE ODNEAL          252 RUSSELL ST                                                                        PONTIAC            MI 48342‐3375
MATTIE OSMON           5162 DORTCH DR                                                                        BURTON             MI 48519‐1224
MATTIE OWENS           25586 SAINT JAMES                                                                     SOUTHFIELD         MI 48075‐1248
MATTIE OWENS           100 OLIVER ST APT 624          CAROUSEL PARK APTS                                     NORTH TONAWANDA    NY 14120‐5435
MATTIE P ANDREWS       6186 TITAN RD                                                                         MOUNT MORRIS       MI 48458‐2616
MATTIE P COCHRAN       515 SMITH ST                                                                          DETROIT            MI 48202‐2835
MATTIE P DEAN          315 ISBELL ST                                                                         LANSING            MI 48910‐1518
MATTIE PAGE            9557 WOODLAND CT                                                                      BROWNSBURG         IN 46112‐8881
MATTIE PARKER          909 PRINCETON AVE SW                                                                  BIRMINGHAM         AL 35211
MATTIE PAYNE           APT 9                          4325 TIMBER RIDGE TRL SW                               WYOMING            MI 49519‐6401
MATTIE PAYNE           2597 MYERS RD                                                                         SHELBY             OH 44875‐8619
MATTIE PETTY           1 CHARLES LN                                                                          PONTIAC            MI 48341‐2926
MATTIE PEWITT          1064 E 67TH ST                                                                        CLEVELAND          OH 44103‐1726
MATTIE PIERSON         PO BOX 14678                                                                          SAGINAW            MI 48601
MATTIE POWELL          221 N CLEMENS AVE                                                                     LANSING            MI 48912‐3015
MATTIE PRUITT          87 ALDINE ST                                                                          NEWARK             NJ 07112‐1551
MATTIE R LOVETT        55 CRIDER LN                                                                          DRY BRANCH         GA 31020‐3557
MATTIE R SLEDGE        4736 APACHE TRL SW                                                                    ATLANTA            GA 30331‐7002
MATTIE RAINEY          2117 CHESTNUT HILL CIR                                                                DECATUR            GA 30032‐6116
MATTIE RANKINS DRAKE   2765 WENTWORTH AVE             APT. 316                                               DAYTON             OH 45406
MATTIE REED            2434 HOSMER ST                                                                        SAGINAW            MI 48601‐1571
MATTIE RHENWRICK       1169 PIERCE ST                                                                        GARY               IN 46407‐1118
MATTIE RICHARDSON      43 N FRANCIS AVE                                                                      PONTIAC            MI 48342‐2722
MATTIE RINGGOLD        PO BOX 420416                                                                         PONTIAC            MI 48342‐0416
MATTIE ROBINSON        10121 EATON PIKE                                                                      NEW LEBANON        OH 45345‐9325
MATTIE ROBINSON        2038 HIGHWAY 11 N                                                                     NIOTA              TN 37826‐3041
MATTIE ROGERS          2825 RISDALE AVE                                                                      LANSING            MI 48911‐2912
MATTIE ROY             6523 CRANWOOD DR                                                                      FLINT              MI 48505‐1950
MATTIE S MCELROY       6705 COLONIAL DR                                                                      FLINT              MI 48505‐5421
MATTIE S SMITH         636 LERNER AVE SW                                                                     WARREN             OH 44485
MATTIE SAMUEL          PO BOX 278187                                                                         RIVERDALE           IL 60827‐8187
MATTIE SAMUELS         4233 ILLINOIS AVE                                                                     SHREVEPORT         LA 71109‐7515
MATTIE SANDERS         3311 STATE ST                                                                         SAGINAW            MI 48602‐3352
MATTIE SAYLOR          PO BOX 377                                                                            GALVESTON          IN 46932‐0377
MATTIE SCOTT           496 CONATSER RD                                                                       LEBANON            TN 37087‐7201
MATTIE SIMMONS         3977 WENDY DR                                                                         CLEVELAND          OH 44122‐6450
MATTIE SIMMONS         905 TILTON AVE                                                                        SAN MATEO          CA 94401‐1933
MATTIE SINGLETARY      2604 HABERSHAM RD                                                                     ALBANY             GA 31701‐5920
MATTIE SLAUGHTER       5416 HARBOURSIDE DR                                                                   MASON              OH 45040‐8359
MATTIE SLEDGE          5260 CADERA CT                                                                        COLLEGE PARK       GA 30349‐4216
MATTIE SMITH           16128 INVERNESS ST                                                                    DETROIT            MI 48221‐3107
MATTIE SMITH           636 LENER AVE SW                                                                      WARREN             OH 44485‐3372
MATTIE SNYDER          4 CALDWELL DR PENNWOOD                                                                NEW CASTLE         DE 19720
MATTIE STAGGER         329 INDEPENDENCE DR                                                                   ALBANY             GA 31705‐2512
MATTIE STANBERRY       8810 S DORCHESTER AVE                                                                 CHICAGO             IL 60619‐7010
MATTIE STANG           641 BELLE AVE                                                                         HAMILTON           OH 45015‐1146
MATTIE STINSON         7387 BERKSHIRE RD                                                                     SUNBURY            OH 43074‐8354
MATTIE STOKES          3936 #4 HUNTERS RIDGE DR                                                              LANSING            MI 48911
MATTIE SUMLIN          26743 S RIVER PARK DR                                                                 INKSTER            MI 48141‐1851
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Name                             Address1                          Address2                         Address3   Address4            City             State Zip
MATTIE TAYLOR                    2942 ARLINGTON DR                                                                                 SAGINAW           MI 48601‐6980
MATTIE TAYLOR                    C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                       HOUSTON           TX 77007
                                 BOUNDAS LLP
MATTIE TEAL                      3010 MEADOWFAIR RD                                                                                MEMPHIS          TN   38118‐7643
MATTIE THOMPSON                  1382 CRESTWOOD AVE                                                                                YPSILANTI        MI   48198‐5919
MATTIE THOMPSON‐BATTLE           217 ODETTE ST                                                                                     FLINT            MI   48503‐1074
MATTIE TRAYLOR                   207 BROWN ST                                                                                      LAGRANGE         GA   30241‐5504
MATTIE TUCKER                    611 BOWMAN ST                                                                                     MANSFIELD        OH   44903‐1238
MATTIE TURNER                    1620 W 15TH ST                                                                                    ANDERSON         IN   46016‐3204
MATTIE TURNER                    905 COLUMBUS ST                                                                                   WILMINGTON       OH   45177‐1907
MATTIE V SAMUELS                 4233 ILLINIOS STREET                                                                              SHREVEPORT       LA   71109
MATTIE VILLA                     196 RIDGEVIEW TRL SE                                                                              CARTERSVILLE     GA   30120‐5955
MATTIE WALKER                    102 HERMAN ST                                                                                     BUFFALO          NY   14212‐1156
MATTIE WALTERS                   4018 WOODRIDGE RD                                                                                 BALTIMORE        MD   21229‐1913
MATTIE WASHINGTON                124 LAUDERDALE AVE                                                                                YOUNGSTOWN       OH   44505‐2529
MATTIE WATSON                    16723 ARCHDALE ST                                                                                 DETROIT          MI   48235‐3418
MATTIE WEINMAN                   280 PORT WILLIAM RD                                                                               WILMINGTON       OH   45177‐8893
MATTIE WENG                      1543 GREENVIEW DR                                                                                 CELINA           OH   45822‐8334
MATTIE WESLEY                    6650 W BELDEN AVE APT 207                                                                         CHICAGO          IL   60707‐2776
MATTIE WILLIAMS                  15270 S PLAZA DR APT 705                                                                          TAYLOR           MI   48180
MATTIE WILLIAMS                  9000 E JEFFERSON AVE APT 11‐11                                                                    DETROIT          MI   48214‐4196
MATTIE WILLIAMS                  1081 E BALTIMORE BLVD                                                                             FLINT            MI   48505‐3603
MATTIE WILLIAMS                  18423 NADOL DR                                                                                    SOUTHFIELD       MI   48075‐5882
MATTIE WILLIAMS                  1710 E 30TH ST                                                                                    BALTIMORE        MD   21218‐3748
MATTIE WILLIAMS                  PO BOX 1351                       UPTOWN STATION                                                  KOKOMO           IN   46903‐1351
MATTIE WILLIAMS                  820 CLIFFS DR APT 106E                                                                            YPSILANTI        MI   48198
MATTIE WILLIS                    2655 S ETHEL ST                                                                                   DETROIT          MI   48217‐1553
MATTIE WILSON                    729 E MAPLE ST                                                                                    JEFFERSONVILLE   IN   47130‐3917
MATTIE WINTERS                   18065 NORTHLAWN                                                                                   DETROIT          MI   48221‐2513
MATTIE WOODING                   502 CLOVER LEAF LN                                                                                FRANKLIN         TN   37067‐4095
MATTIE WOODLEY                   10830 MOGUL ST                                                                                    DETROIT          MI   48224‐2444
MATTIE WORKS                     1626 CASIMIR ST                                                                                   SAGINAW          MI   48601‐1231
MATTIE WRIGHT                    3330 FULTON ST                                                                                    SAGINAW          MI   48601‐3144
MATTIE WRIGHT                    25 WOODLAND BRIDGE DR                                                                             ADAIRSVILLE      GA   30103‐6308
MATTIE, DAVID                    PO BOX 410                                                                                        GREENVILLE       OH   45331‐0410
MATTIE, MICHAEL S                1704 RUSSET AVE                                                                                   DAYTON           OH   45410‐3445
MATTIES, GARRY R                 1637 ISLAND DR                                                                                    HIGHLAND         MI   48356‐2743
MATTIES, JAMES R                 11210 SHADY BROOK CT                                                                              SOUTH LYON       MI   48178‐6637
MATTIEX, DOROTHY                 54 AUSTIN ST                                                                                      ROCHESTER        NY   14606‐1708
MATTILA JR, WILLIAM J            5354 S CLINTONIA RD                                                                               WESTPHALIA       MI   48894‐9632
MATTILA, GARY G                  422 SHORE DR                                                                                      LACONIA          NH   03246‐2951
MATTILA, HOWARD N                1414 E WARNIMONT AVE APT 10                                                                       MILWAUKEE        WI   53207‐3580
MATTILA, JON P                   838 W THOMAS L PKWY                                                                               LANSING          MI   48917‐2120
MATTILA, ROBERT G                199 LONE TREE RD                                                                                  MILFORD          MI   48380‐2411
MATTIMORE, ANNE E                24520 GRAND CENTRAL PKWY APT 3B                                                                   BELLEROSE        NY   11426‐2709
MATTIMORE, MARK L                428 ALLEGAN ST                                                                                    PLAINWELL        MI   49080‐1207
MATTIMORE, SHERRY ANN            PO BOX 424                                                                                        PERRY            MI   48872‐0424
MATTINA, CHARLES S               6648 BEAR RIDGE RD                                                                                LOCKPORT         NY   14094‐9212
MATTINEZ MARIN ODILION GERARDO   LERDO DE TEJADA #25‐B COL         CENTRO CP 61100 CIUDAD HIDALGO              MICHOACAN MEXICAN
                                                                                                               MEXICO
MATTINGLEY, HORACE O             203 S OHIO ST                                                                                     ARCHIE           MO 64725‐9500
MATTINGLY AUTOMOTIVE REPAIR      2405 VEACH RD                                                                                     OWENSBORO        KY 42303‐5138
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Name                                Address1                          Address2                      Address3   Address4               City               State Zip
MATTINGLY DONALD L (429392)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510
                                                                      STREET, SUITE 600
MATTINGLY DONNA B                   C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                             LITTLE ROCK        AR 72201
MATTINGLY I I I, GURNEY T           3602 COLUMBUS AVE                                                                                 ANDERSON           IN 46013‐5361
MATTINGLY JAMES R (429393)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510
                                                                      STREET, SUITE 600
MATTINGLY MIKE                      7948 BAYARD DRIVE                                                                                 INDIANAPOLIS       IN   46259‐5775
MATTINGLY, BETTY S                  163 RETREAT PLACE                                                                                 LITTLE RIVER       SC   29566‐7105
MATTINGLY, BETTY S                  163 RETREAT PL                                                                                    LITTLE RIVER       SC   29566‐7105
MATTINGLY, CHARLES R                4006 LILAC SPRING DR                                                                              LOUISVILLE         KY   40241‐7103
MATTINGLY, DAVID L                  6722 CLAXTON ST 480                                                                               KALAMAZOO          MI   49048
MATTINGLY, DONALD L                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510‐2212
                                                                      STREET, SUITE 600
MATTINGLY, DONNA B                  C/O MOODY                         801 WEST FOURTH ST                                              LITTLE ROCK        AR   72201
MATTINGLY, DORIS F                  APT 5                             4284 WEST ROUNDHOUSE ROAD                                       SWARTZ CREEK       MI   48473‐1447
MATTINGLY, DORIS F                  4284 W ROUNDHOUSE RD              APT 5                                                           SWARTZ CREEK       MI   48473‐1447
MATTINGLY, GLENNA S                 2605 SIMPSON CREEK RD                                                                             BLOOMFIELD         KY   40008‐6110
MATTINGLY, JAMES R                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510
                                                                      STREET, SUITE 600
MATTINGLY, JOHNNY G                 4447 W LAKE RD                                                                                    CLIO               MI   48420‐8829
MATTINGLY, KERRY                    126 WINDING OAKS LN                                                                               OVIEDO             FL   32765‐6760
MATTINGLY, LINDA                    515 N 3RD ST                                                                                      JACKSBORO          TX   76458
MATTINGLY, LISBETH E                936 WEST PARKWAY DRIVE                                                                            TAWAS CITY         MI   48763‐8716
MATTINGLY, LISBETH E                936 W PARKWAY DR                                                                                  TAWAS CITY         MI   48763‐8716
MATTINGLY, LONNIE C                 3274 SHEFFIELD RD                                                                                 W CARROLLTON       OH   45449‐2766
MATTINGLY, MARGIE S                 3090 N MORTON ST LOT 141                                                                          FRANKLIN           IN   46131‐9634
MATTINGLY, MARGIE S                 3090 N MORTON LOT 141                                                                             FRANKLIN           IN   46131‐9634
MATTINGLY, MARK E                   1405 MARIA LN                                                                                     AVON               IN   46123‐2043
MATTINGLY, MARY A                   4426 LOUISE CIRCLE                                                                                GENESSE            MI   48437
MATTINGLY, MARY A                   4426 LOUISE CT                                                                                    GENESEE            MI   48437‐7715
MATTINGLY, MATTHEW S                200 S MAIN ST                                                                                     ENGLEWOOD          OH   45322
MATTINGLY, MAURINE S                40960 HARVEST LN 12                                                                               CLINTON TOWNSHIP   MI   48038
MATTINGLY, MICHAEL
MATTINGLY, PATRICK J                1445 ESTHER CT                                                                                    ROSCOMMON          MI   48653‐8302
MATTINGLY, SELMA C                  1817 VERMEER DR                                                                                   DAYTON             OH   45420‐2934
MATTINGLY, SHELBY G                 2605 SIMPSON CREEK RD                                                                             BLOOMFIELD         KY   40008‐6110
MATTINGLY, STEPHEN                  3510 NORTHVIEW DR                                                                                 KALAMAZOO          MI   49004‐3138
MATTINGLY, THOMAS J                 C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                             LITTLE ROCK        AR   72201
MATTINGLY, THOMAS J                 MOODY EDWARD O                    801 W 4TH ST                                                    LITTLE ROCK        AR   72201‐2107
MATTINGLY, THOMAS L                 561 KLING DR                                                                                      DAYTON             OH   45419‐4008
MATTINGLY, WILLIAM B                9025 WJD BECKMAN LN                                                                               BROOKVILLE         IN   47012‐9242
MATTINGLY, WILLIAM J                40960 HARVEST LN 12                                                                               CLINTON TOWNSHIP   MI   48038
MATTINGLY, WOODSON E                3590 KEEFER RD                                                                                    CORINTH            KY   41010‐2206
MATTINSON, GEORGE W                 5666 CHICKADEE LN                                                                                 CLARKSTON          MI   48346‐2903
MATTINSON, STEVEN G                 4655 EDGEWOOD DR                                                                                  CLARKSTON          MI   48346‐4007
MATTIO, DAVID R                     25393 WITHERSPOON ST                                                                              FARMINGTON HILLS   MI   48335‐1367
MATTIODA, ANTHONY L                 4712 MIRAGE CT APT 1407                                                                           EULESS             TX   76040‐8732
MATTIODA, DIANA L                   3601 TIMBERLAKE ROAD                                                                              MCALESTER          OK   74501‐8288
MATTIODA, MARY K                    516 WALNUT STREET                                                                                 HARTSHORNE         OK   74547‐2228
MATTIOLI MARINO MATTIOLI SEVERINO   VIALE SASSARI U 28                                                         41049 SASSUOLO
                                                                                                               (MODENA) ITALY
MATTIONI, JENNIE A                  4902 CATAMARAN CT                                                                                 WILMINGTON         DE 19808‐1826
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Name                   Address1                         Address2                        Address3   Address4         City               State Zip
MATTIS JESSICA         3655 EDGEMONT DR                                                                             TROY                MI 48084‐1447
MATTIS, ALBERT J       1753 NW 36TH CT                                                                              OAKLAND PARK        FL 33309‐5813
MATTIS, ALBERT J       4024 ARTESA DR                                                                               BOYNTON BEACH       FL 33436‐2628
MATTIS, AUDREY A       23 DUERR DR                                                                                  WEST MILTON         OH 45383‐1404
MATTIS, AUDREY A       23 DUERR                                                                                     WEST MILTON         OH 45383‐1404
MATTIS, BILLY J        7543 ABRAHAM COURT                                                                           DAYTON              OH 45414‐5414
MATTIS, BILLY J        7543 ABRAHAM CT                                                                              DAYTON              OH 45414‐1719
MATTIS, DAVID P        3655 EDGEMONT DR                                                                             TROY                MI 48084‐1447
MATTIS, DOROTHY L      8785 STATE RD                                                                                MILLINGTON          MI 48745‐9665
MATTIS, EDWARD A       8172 STATE ROUTE 722                                                                         ARCANUM             OH 45304‐8465
MATTIS, GERALD E       9721 S 7 1/2 RD                                                                              WELLSTON            MI 49689‐9605
MATTIS, HERBERT T      7937 VISTA AVE                                                                               GRAND LEDGE         MI 48837‐8931
MATTIS, JAMES P        12871 MALLARD RD                                                                             THOMPSONVILLE       MI 49683‐9550
MATTIS, JESSICA R      3655 EDGEMONT DR                                                                             TROY                MI 48084‐1447
MATTIS, JOHN J         7445 GARDENVIEW PL                                                                           DUBLIN              OH 43016‐9160
MATTIS, LEONARD F      5289 S BYRON RD                                                                              DURAND              MI 48429‐1475
MATTIS, MARK A         44341 APPLE BLOSSOM DR                                                                       STERLING HEIGHTS    MI 48314‐1029
MATTIS, MARLENE A      7543 ABRAHAM COURT                                                                           DAYTON              OH 45414‐5414
MATTIS, MARLENE A      7543 ABRAHAM CT                                                                              DAYTON              OH 45414‐1719
MATTIS, MARTHA         56 NATURE LN                                                                                 LEVITTOWN           PA 19054‐3804
MATTIS, NATHANAEL J
MATTIS, PAUL T         3655 EDGEMONT DR                                                                             TROY               MI   48084‐1447
MATTIS, RICHARD J      56 NATURE LN                                                                                 LEVITTOWN          PA   19054‐3804
MATTIS, RICHARD R      9870 GERA RD                                                                                 BIRCH RUN          MI   48415‐9709
MATTIS, WILLIAM J      11121 PHEASANT RUN DR                                                                        CLIO               MI   48420‐2507
MATTIS, WILLIAM JOHN   11121 PHEASANT RUN DR                                                                        CLIO               MI   48420‐2507
MATTISE, RONALD G      7250 EAGLE RD                                                                                DAVISBURG          MI   48350‐3204
MATTISON JAMES A       AUTOMOTIVE SERVICES INC          410 WEST UNIVERSITY SUITE 100                               ROCHESTER          MI   48307
MATTISON JAMES A       MATTISON, JAMES A                410 WEST UNIVERSITY SUITE 100                               ROCHESTER          MI   48307
MATTISON JAMES A       PONTIAC HISTORIC SERVICES        410 WEST UNIVERSITY SUITE 100                               ROCHESTER          MI   48307
MATTISON, BYRON J      8673 FERRY ST APT 104                                                                        MONTAGUE           MI   49437‐1384
MATTISON, CAROLINE K   15925 GOLDWIN PL                                                                             SOUTHFIELD         MI   48075‐2007
MATTISON, CRAIG H      32995 GARFIELD RD                                                                            FRASER             MI   48026‐3849
MATTISON, CREON B      4516 KEATS ST                                                                                FLINT              MI   48507‐2629
MATTISON, CYNTHIA M    14201 THORNWOOD ST                                                                           RIVERVIEW          MI   48193‐7823
MATTISON, DALE L       4209 MOUNT READ BLVD                                                                         ROCHESTER          NY   14616
MATTISON, DOROTHY B    2001 CHIPPEWA ST                                                                             FLINT              MI   48505‐4705
MATTISON, EDNA J       7877 W D AVE                                                                                 KALAMAZOO          MI   49009‐8883
MATTISON, EUNICE L     16255 PARKSIDE ST                                                                            DETROIT            MI   48221‐3327
MATTISON, EVELYN J     6535 EL RANCHO DR                                                                            RURAL HALL         NC   27045‐9672
MATTISON, FRANCES A    39463 VILLAGE RUN DR                                                                         NORTHVILLE         MI   48168
MATTISON, GEORGE R     5799 COUNTY RD                   491                                                         LEWISTON           MI   49756
MATTISON, JAMES M      45857 PURPLE SAGE CT                                                                         BELLEVILLE         MI   48111‐6431
MATTISON, JAMES V      16541 CHESTNUT ST                                                                            ROSEVILLE          MI   48066‐4328
MATTISON, LENNY R      47 HONG KONG RD                                                                              PARISH             NY   13131‐3123
MATTISON, LOIS R       578 GAMBER LN                                                                                LINDEN             MI   48451‐9753
MATTISON, MICHAEL R    1864 7 MILE RD                                                                               KAWKAWLIN          MI   48631‐9735
MATTISON, MICHAEL W    9656 WHITCOMB ST                                                                             DETROIT            MI   48227‐2091
MATTISON, PAUL J       16 W 16TH ST APT PHDN                                                                        NEW YORK           NY   10011
MATTISON, PHILLIP J    6535 EL RANCHO DR                                                                            RURAL HALL         NC   27045‐9672
MATTISON, RONALD W     466 HALE DR                                                                                  BAY CITY           MI   48708‐6950
MATTISON, RONDA J      6680 DUCK LAKE RD                                                                            EDEN PRAIRIE       MN   55346‐2202
                               09-50026-mg               Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
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Name                           Address1                          Address2                      Address3                 Address4             City               State Zip
MATTISON, TERRY L              10 EAGLES WING DR                                                                                             WRIGHT CITY         MO 63390‐1801
MATTISON, TRACY F              1327 COOKS CT                                                                                                 BRENTWOOD           TN 37027‐2937
MATTISON, WALLACE              308 DALE ST                                                                                                   FLUSHING            MI 48433‐1733
MATTIUCCI, ALBERT M            51661 HICKORY LN                                                                                              MACOMB              MI 48042‐3525
MATTIUZZO, LOUIS C             34 HYDE PARK                                                                                                  LOCKPORT            NY 14094‐4720
MATTIVI, JAMES R               6904 RAYTOWN RD                                                                                               RAYTOWN             MO 64133‐6056
MATTIX, MARK C                 804 PLOVER LN                                                                                                 CLAYTON             OH 45315‐8756
MATTIX, SALLY L                8810 RACQUET CLUB DRIVE                                                                                       FORT WORTH          TX 76120
MATTKE BERNICE                 8554 W 28TH ST                                                                                                MINNEAPOLIS         MN 55426‐2946
MATTKE, JUERGEN                1157 CALVIN EDNEY RD                                                                                          MARS HILL           NC 28754‐7610
MATTLE, BEVERLY A              507 NW SAN REMO CIR                                                                                           PORT ST LUCIE       FL 34986‐2174
MATTLER EDWARD (347276)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK             VA 23510
                                                                 STREET, SUITE 600
MATTLER, EDWARD                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA 23510‐2212
                                                                 STREET, SUITE 600
MATTMAN, JOYCE E               7675 WOODVIEW RD                                                                                              CLARKSTON          MI   48348‐4047
MATTMILLER JR, HAROLD V        21641 PINHOOK RD                                                                                              MENDON             MI   49072‐8732
MATTMILLER JR, HAROLD VAUGHN   21641 PINHOOK RD                                                                                              MENDON             MI   49072‐8732
MATTMILLER, HAROLD V           21641 PINHOOK RD                                                                                              MENDON             MI   49072‐8732
MATTO, CHARLES                 353 HOOVER AVE                                                                                                BLOOMFIELD         NJ   07003
MATTO, GUERINO W               220 RYDERS LN                                                                                                 EAST BRUNSWICK     NJ   08816‐1375
MATTO, MARY M                  463 BECADO PL                                                                                                 FREMONT            CA   94539
MATTO, SCOTT P                 25 MAPLE ST 25                                                                                                WHITINSVILLE       MA   01588
MATTO, SUSAN J                 1202 FRANKLIN CROSSING RD 1202                                                                                FRANKLIN           MA   02038
MATTOCK WALTER ROY (429394)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA   23510
                                                                 STREET, SUITE 600
MATTOCK, KENNETH C             1190 FRED W MOORE HWY                                                                                         SAINT CLAIR        MI 48079‐4966
MATTOCK, WALTER ROY            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA 23510
                                                                 STREET, SUITE 600
MATTOCKS, SHEILA M.            1829 DARBYSHIRE DRIVE                                                                                         DEFIANCE           OH   43512‐3309
MATTONE, JOHN                  204 N STATE ST                                                                                                WESTVILLE          IL   61883
MATTONE, MARTIN J              397 NORTH LOMBARDY LOOP                                                                                       SAINT JOHNS        FL   32259‐5267
MATTOON & LEE/FRMNGT           23943 INDUSTRIAL PARK DR                                                                                      FARMINGTON HILLS   MI   48335‐2862
MATTOON, GERALD J              10576 MILLERS ROAD                                                                                            LYNDONVILLE        NY   14098
MATTOON, JAMES G               7040 WOODS WEST DR                                                                                            FLUSHING           MI   48433‐9463
MATTOON, JOAN M                2500 MANN RD LOT 95                                                                                           CLARKSTON          MI   48346‐4246
MATTOON, JOHN R                2459 S TRAIL RIDGE AVE                                                                                        INDEPENDENCE       MO   64055‐2037
MATTOON, JOHNNIE V             1126 ORANGE BLOSSOM DR                                                                                        MOUNT MORRIS       MI   48458‐2824
MATTOON, MILDRED E             28500 KING RD                                                                                                 ROMULUS            MI   48174‐9447
MATTOS FILHO VEIGA FILHO       MARREY JR E QUIROGA               AV PAULISTA 1499‐20 ANDAR     01311‐928 SAO PAULO SP   SAN PAULO BRAZIL
MATTOS, DIEGO                  CONDOMINIO LA MANCHA 208                                                                                      CAROLINA           PR   00979‐7154
MATTOS, MARTHA                 5236 40TH AVE SW                  C/O MR & MRS FOY                                                            SEATTLE            WA   98136
MATTOS, PEGGY A                995 CASTLE HILL RD                                                                                            REDWOOD CITY       CA   94061‐1105
MATTOX DICK A (493983)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA   23510
                                                                 STREET, SUITE 600
MATTOX GEORGE                  1362 W 700 B                                                                                                  GREENFIELD         IN   46140
MATTOX RICHARD                 1823 BUNTING DR                                                                                               NORTH AUGUSTA      SC   29841‐3161
MATTOX ROBERT D (460024)       DUFFY & ASSOCS JOHN J             23823 LORAIN RD                                                             NORTH OLMSTED      OH   44070
MATTOX TODD                    MATTOX, TODD                      44 BROAD ST NW STE 400                                                      ATLANTA            GA   30303‐2328
MATTOX WILLIAM                 6183 TUNNELTON RD                                                                                             BEDFORD            IN   47421‐7852
MATTOX, ADDIE P                68 LOUISE ST                                                                                                  HIGHLAND PARK      MI   48203‐2772
MATTOX, CHARLES W              302 TIMBER LN                                                                                                 ANDERSON           IN   46017‐9693
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Name                        Address1                             Address2                      Address3   Address4         City             State Zip
MATTOX, DAVID C             1331 N ROUTIERS AVE                                                                            INDIANAPOLIS      IN 46219‐4136
MATTOX, DICK A              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                                 STREET, SUITE 600
MATTOX, DONALD              167 BRIDGEFIELD RD                                                                             MADISON          AL   35758‐6825
MATTOX, DONNA P             947 MOTEL DR                                                                                   FORTVILLE        IN   46040‐1157
MATTOX, DORIS H             18093 COLONNADES PL                                                                            SAN DIEGO        CA   92128‐1265
MATTOX, DUDLEY G            2962 FOREST OAKS DR                                                                            ORANGE PARK      FL   32073‐6549
MATTOX, EARL K              2302 WEDGEWAY CT                                                                               GREENWOOD        IN   46143‐9591
MATTOX, GEORGE M            212 LINDEN ST                                                                                  FORT ATKINSON    WI   53538‐1415
MATTOX, GEORGE W            475 MCNEIL MILL RD                                                                             ROCKY MOUNT      VA   24151‐3531
MATTOX, GERALDINE           1865 N NORFOLK ST                                                                              SPEEDWAY         IN   46224‐5528
MATTOX, JIM R               4725 MERCER RD                                                                                 STONE MOUNTAIN   GA   30083‐5535
MATTOX, LESSIE E            3688 BEACONTREE DR                                                                             COLUMBUS         OH   43224‐2501
MATTOX, LOUIS               PO BOX 3103                                                                                    SHREVEPORT       LA   71133‐3103
MATTOX, MARTHA M            4409 WATERFORD DR                                                                              LAKE WALES       FL   33859‐5764
MATTOX, MARY L              4400 CLARKWOOD PKWY APT 505                                                                    CLEVELAND        OH   44128‐4837
MATTOX, MARY M              6612 E PICCADILLY RD                                                                           MUNCIE           IN   47303‐4547
MATTOX, MARY M              6612 PICCADILLY RD                                                                             MUNCIE           IN   47303‐4547
MATTOX, MICHAEL L           1716 SE 7TH ST                                                                                 MOORE            OK   73160‐8351
MATTOX, PAULINE T           1106 WALLING ST                                                                                HOUSTON          TX   77009‐3653
MATTOX, ROBERT D            DUFFY & ASSOCS JOHN J                23823 LORAIN RD                                           NORTH OLMSTED    OH   44070
MATTOX, ROBERT J            885 HAGADORN RD                                                                                MASON            MI   48854‐9310
MATTOX, SALLIE W            302 TIMBER LN                                                                                  ANDERSON         IN   46017‐9693
MATTOX, STEPHEN A           4409 WATERFORD DR                                                                              LAKE WALES       FL   33859‐5764
MATTOX, THOMAS W            6612 E PICCADILLY RD                                                                           MUNCIE           IN   47303‐4547
MATTOX, TODD                KROHN & MOSS ‐ GA                    44 BROAD ST NW STE 400                                    ATLANTA          GA   30303‐2328
MATTOX, VIRGINIA            4464 CORDELL DRIVE                                                                             DAYTON           OH   45439‐3001
MATTOX, WILLIAM             6183 TUNNELTON RD                                                                              BEDFORD          IN   47421‐7852
MATTOX, WILLIAM E           27225 MCLEMORE CIR                                                                             HARVEST          AL   35749‐7135
MATTOX, WILLIE J            C/O MARTIN A TYCKOSKI                624 SOUTH GRAND TRAVERSE                                  FLINT            MI   48502
MATTOZZI, ANTHONY A         1725 CRANBERRY LN NE APT 214                                                                   WARREN           OH   44483
MATTOZZI, BRUCE W           885 MCPHERSON RD                                                                               OIL CITY         PA   16301‐6931
MATTOZZI, DANIEL D          729 ARTESIAN AVE                                                                               NEWTON FALLS     OH   44444‐1056
MATTS EXPRESS INC           2957 PACKERS AVE                                                                               MADISON          WI   53704‐3047
MATTS MOWING                PO BOX 73                                                                                      SAINT JOHNS      MI   48879‐0073
MATTS, DAVID JOHN           29 N MADISON RD                                                                                GUILFORD         CT   06437‐1612
MATTSCHECK, WILLIAM M       33544 RICHARD O DR                                                                             STERLING HTS     MI   48310‐6120
MATTSON AMY                 MATTSON, AMY                         4201 W PARMER LN STE A250                                 AUSTIN           TX   78727‐4115
MATTSON ARNOLD R (439303)   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510
                                                                 STREET, SUITE 600
MATTSON BETTY ESTATE OF     1709 MATHEWS STREET                                                                            MENOMONIE        WI   54751‐1422
MATTSON CRAIG               NEED BETTER ADDRESS 10/26/06CP       PO BOX 107                                                NEWPORT          OR   97365
MATTSON GIBSON, ERLA E      405 W WALTON BLVD                                                                              PONTIAC          MI   48340‐1046
MATTSON JOHN F (408664)     GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510
                                                                 STREET, SUITE 600
MATTSON JOYCE               9127 WEANT DR                                                                                  GREAT FALLS      VA   22066‐4131
MATTSON MITCH K             MATTSON, MITCH K                     28000 WOODWARD AVE STE 201                                ROYAL OAK        MI   48067‐0962
MATTSON SR, LEWIS E         5985 SANDHILL CIR                                                                              THE COLONY       TX   75056‐3678
MATTSON TOOL & DIE COPR.    5670 WEST RIVER DRIVE                                                                          BELMONT          MI   49306
MATTSON TOOL & DIE COPR.    ATTN: CORPORATE OFFICER/AUTHORIZED   5670 W RIVER RD NE                                        BELMONT          MI   49306‐9763
                            AGENT
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Name                                Address1                         Address2                      Address3   Address4         City              State Zip
MATTSON TOOL & DIE V ACORD HOLDINGS MATTSON TOOL & DIE CORPORATION   3996 CHICAGO DR SW                                        GRANDVILLE         MI 49418‐1384

MATTSON WARNER (459191)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                     STREET, SUITE 600
MATTSON WILFRED C (341096)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                     STREET, SUITE 600
MATTSON, ALMA H                    13614 AUTUMN WAY                                                                            ROGERS            MN 55374‐4003
MATTSON, ANDREW S                  10092 CREEKWOOD TRL                                                                         DAVISBURG         MI 48350‐2058
MATTSON, ARNOLD R                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                                     STREET, SUITE 600
MATTSON, ARTHUR L                  2779 GENESIS DR                                                                             BOYNE CITY        MI   49712‐9213
MATTSON, CHARLES C                 10169 BOW RD ROUTE #2                                                                       MAPLE CITY        MI   49664
MATTSON, CHARLES L                 15500 ALMOND LN                                                                             EDEN PRAIRIE      MN   55347‐2554
MATTSON, CLYDE A                   600 S.IDAAHO ROAD                 LOT#501                                                   APACHE JUNCTION   AZ   85219
MATTSON, DAVID L                   11131 W CORUNNA RD                                                                          LENNON            MI   48449‐9708
MATTSON, DAVID T                   6481 EMERALD LAKE DR                                                                        TROY              MI   48085‐1405
MATTSON, DENNIS W                  414 PANORAMA DR                                                                             MARTINSBURG       WV   25403‐6647
MATTSON, DONALD G                  PO BOX 174                                                                                  IMLAY CITY        MI   48444‐0174
MATTSON, DONNA M                   2779 GENESIS DR                                                                             BOYNE CITY        MI   49712‐9213
MATTSON, DOROTHY H                 1166 THOMASVILLE CIR                                                                        LAKELAND          FL   33811‐3403
MATTSON, DOUGLAS B                 6496 SPRINGBORN RD                                                                          CHINA             MI   48054‐3803
MATTSON, EDNA M                    G3100 MILLER APT 22A                                                                        FLINT             MI   48507‐1326
MATTSON, EDNA M                    G3100 MILLER RD APT 22A                                                                     FLINT             MI   48507‐1326
MATTSON, ERLA E                    405 W WALTON BLVD                                                                           PONTIAC           MI   48340
MATTSON, G V                       4187 HOLIDAY RD                                                                             TRAVERSE CITY     MI   49686‐3931
MATTSON, GARY L                    2128 HELMSFORD DR                                                                           WOLVERINE LAKE    MI   48390‐2425
MATTSON, GERALD L                  2233 ADEL ST                                                                                JANESVILLE        WI   53546‐3238
MATTSON, GORDON H                  916 CATFISH CREEK RD                                                                        LAKE PLACID       FL   33852‐9492
MATTSON, HAROLD J                  15096 48TH AVENUE                                                                           COOPERSVILLE      MI   49404‐9477
MATTSON, JAMES A                   PO BOX 653                                                                                  OVID              MI   48866‐0653
MATTSON, JAMES I                   1356 DRUMMOND RD                                                                            ALGER             MI   48610‐9508
MATTSON, JEREMY                    9545 ARCOLA ST                                                                              LIVONIA           MI   48150‐3201
MATTSON, JOHN F                    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                                     STREET, SUITE 600
MATTSON, LAURA A                   PO BOX 84                                                                                   MICHIGAMME        MI   49861‐0084
MATTSON, LEE                       11701 KUMQUAT ST NW                                                                         COON RAPIDS       MN   55448‐2336
MATTSON, LINDA M                   PO BOX 653                                                                                  OVID              MI   48866‐0653
MATTSON, LINDA MAE                 PO BOX 653                                                                                  OVID              MI   48866‐0653
MATTSON, MARY J                    903 N CEDAR LAKE RD                                                                         STANTON           MI   48888‐9579
MATTSON, MARY L                    7423 CALDUS AVE                                                                             VAN NUYS          CA   91406‐2310
MATTSON, MIRIAM O                  27777 DEQUINDER APT 808                                                                     MADISON HTS       MI   48071‐3464
MATTSON, MIRIAM O                  27777 DEQUINDRE RD APT 808                                                                  MADISON HTS       MI   48071‐3464
MATTSON, MITCH K                   LEHTO LAW OFFICES OF STEVE        28000 WOODWARD AVE STE 201                                ROYAL OAK         MI   48067‐0962
MATTSON, PAUL J                    4625 REIMER RD                                                                              BRIDGEPORT        MI   48722‐9746
MATTSON, REBECCA R                 PO BOX 9022                       C/O CANADA 02                                             WARREN            MI   48090‐9022
MATTSON, RICHARD C                 9251 HILL RD                                                                                SWARTZ CREEK      MI   48473‐1013
MATTSON, ROBERT                    2144 270TH AVE                                                                              CUSHING           WI   54006‐3403
MATTSON, ROBERT W                  PO BOX 4                                                                                    MULLIKEN          MI   48861‐0004
MATTSON, RODNEY D                  PO BOX 288                                                                                  BRUCE CROSSING    MI   49912‐0288
MATTSON, RODNEY DONALD             PO BOX 288                                                                                  BRUCE CROSSING    MI   49912‐0288
MATTSON, ROGER D                   3502 BAYBERRY DRIVE NORTHWEST                                                               GRAND RAPIDS      MI   49544‐6947
MATTSON, RONALD G                  2290 POTTER RD                                                                              MASON             MI   48854‐9678
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Name                      Address1                       Address2                      Address3   Address4         City                State Zip
MATTSON, ROY M            443 SMITH AVE                                                                            HERMITAGE            PA 16148‐1978
MATTSON, STEPHIE          175 MCINTOSH DRIVE                                                                       BRISTOL              CT 06010‐3020
MATTSON, SUZETTE K        11411 35 MILE RD                                                                         BRUCE TWP            MI 48065‐2508
MATTSON, THOMAS A         1302 MEADOW GREEN LN                                                                     LINDEN               MI 48451‐9402
MATTSON, WALLACE R        4220 S FIRESIDE WAY                                                                      HOMOSASSA            FL 34446‐1335
MATTSON, WARNER           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                         STREET, SUITE 600
MATTSON, WILFRED C        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                         STREET, SUITE 600
MATTSON, WILFRED J        G3100 MILLER RD APT 22A                                                                  FLINT               MI   48507‐1326
MATTUCCI JR., JOSEPH D    506 E ELM ST                                                                             GASTON              IN   47342‐9220
MATTUCCI SR, ALBERT A     5919 BEATTIE AVE                                                                         LOCKPORT            NY   14094‐6629
MATTUCCI, DENISE M        9318 CHERRYWOOD RD                                                                       CLARKSTON           MI   48348‐2502
MATTUCCI, DENISE MARIA    9318 CHERRYWOOD RD                                                                       CLARKSTON           MI   48348‐2502
MATTUCCI, EDWARD W        8190 DUNGARVIN DR                                                                        GRAND BLANC         MI   48439‐8164
MATTUCCI, JANICE L        PO BOX 35                                                                                GENESEE             MI   48437‐0035
MATTUCCI, LOUIS J         17688 LORANGER ST                                                                        CLINTON TWP         MI   48038‐1782
MATTUCCI, NINA L          3409 CRANDON DR                                                                          DAVISON             MI   48423‐8407
MATTUCCI, NINA LEANNE     3409 CRANDON DR                                                                          DAVISON             MI   48423‐8407
MATTUCCI, PATRICK M       914B S RODNEY ST                                                                         WILMINGTON          DE   19805‐4240
MATTUCCI, PETER J         9801 W COUNTY ROAD 500 N                                                                 GASTON              IN   47342‐9308
MATTUCCI, PETER JOHN      9801 W COUNTY ROAD 500 N                                                                 GASTON              IN   47342‐9308
MATTUCCI, PETER V         600 S MORRISON RD                                                                        MUNCIE              IN   47304‐4039
MATTUCCI, RICHARD E       PO BOX 35                                                                                GENESEE             MI   48437‐0035
MATTUCCI, RUTH            P.O. BOX 245                                                                             BUHL                MN   55713‐0245
MATTUCCI, SANDY S         506 E ELM ST                                                                             GASTON              IN   47342‐9220
MATTUCCI, SHEILA J        202 RUTH ELLEN CT N                                                                      NEWARK              DE   19711
MATTUCCI, SUSAN C         5438 COUNTRY LN                                                                          FLINT               MI   48506‐1020
MATTUCHIO TRACEY A        57 GRANT AVE                                                                             MEDFORD             MA   02155‐4015
MATTUS, BARBARA           602 LOCHNELL DR                                                                          HOUSTON             TX   77062‐2246
MATTUS, BENEDICT J        3640 BELLOWS DR                                                                          TROY                MI   48083‐5618
MATTUS, TIMOTHY L         17048 ANTHONY CT                                                                         MACOMB              MI   48044‐5584
MATTY, ALBERT             1308 4TH ST                                                                              MONONGAHELA         PA   15063‐1960
MATUCCI PETER             3528 PRIMROSE RD                                                                         PHILADELPHIA        PA   19114‐2622
MATUCH, ALICE H           140 HERITAGE DRIVE                                                                       ST SIMONS ISLAND    GA   31522
MATUCH, JEROME S          5349 7TH AVE                                                                             COUNTRYSIDE         IL   60525‐3619
MATUCHESKI, JOSEPH V      5707 ARABIAN RUN                                                                         INDIANAPOLIS        IN   46228‐1684
MATULA, CECELIA R         7676 S FORDNEY RD                                                                        SAINT CHARLES       MI   48655‐9771
MATULA, GENEVIEVE M       515 NORTHPARK DR                                                                         ROCHESTER           NY   14609‐1019
MATULA, GENEVIEVE M       515 N PARK DR                                                                            ROCHESTER           NY   14609‐1019
MATULA, JAMES R           N4291 9TH AVE                                                                            MONTELLO            WI   53949‐8002
MATULA, PAUL R            6041 HERONS CIR                                                                          AUSTINTOWN          OH   44515‐5804
MATULA, ROSALIA           5226 PARKHURST DR                                                                        SHEFFIELD VILLAGE   OH   44054‐2958
MATULA, RUDOLPH S         399 WINTHROP DR                                                                          SPRING HILL         FL   34609‐2067
MATULAITIS, KEITH E       4546 FOREST MEADOWS DR SE                                                                GRAND RAPIDS        MI   49546‐7907
MATULAITIS, RAYMOND A     3225 SPANISH BAYONET                                                                     HERNANDO BEACH      FL   34607
MATULEWIC MELODY COLEEN   7399 DONMORE POINTE                                                                      NOBLESVILLE         IN   46062
MATULIS, CARROLL J        13630 IRIS LN                                                                            CEDAR SPRINGS       MI   49319‐8228
MATULIS, VIDA J           2375 N E OCEAN BLVD            BLD D103                                                  STUART              FL   34996
MATUN, THOMAS M           105 VILLAGE CT                                                                           COLUMBIANA          OH   44408‐9360
MATUNIAK, LESZEK          18166 BARBER CT                                                                          WYANDOTTE           MI   48193‐8214
MATURELL, FELIX P         328 1/2 CHERRY ST                                                                        ELIZABETH           NJ   07208‐3190
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Name                             Address1                        Address2            Address3         Address4         City               State Zip
MATUREN I I, ALBERT L            PO BOX 555                                                                            TAWAS CITY          MI 48764‐0555
MATUREN, DONALD A                PO BOX 234                                                                            TAWAS CITY          MI 48764‐0234
MATUREN, PAUL D                  1370 JOSEPH ST                                                                        SAGINAW             MI 48638‐6531
MATUREN, ROBERT E                8171 GEDDES RD                                                                        SAGINAW             MI 48609‐9562
MATUREN, SHIRLEY                 1901 MACKINAW ST                                                                      SAGINAW             MI 48602‐3033
MATURI, ANTHONY J                620 5TH AVE S                                                                         ESCANABA            MI 49829‐3601
MATURO MICHAEL                   2811 TOMAHAWK DR                                                                      LAWRENCE            KS 66049‐1953
MATURO, JOSEPH A                 1102 BRYAN ST                                                                         DREXEL HILL         PA 19026‐1812
MATUS, ERIC
MATUS, FRANCES A                 7190 BURNING BUSH LN                                                                  FLUSHING           MI   48433‐2292
MATUS, JOSEPH A                  7343 N OCTAVIA AVE                                                                    CHICAGO            IL   60631‐4348
MATUS, JULIA                     1508 SHERMAN ST                                                                       CHESWICK           PA   15024‐1530
MATUS, RICHARD A                 2498 LOST CREEK DR                                                                    FLUSHING           MI   48433‐9425
MATUS, RICHARD ALAN              6449 FENTON RD 1                                                                      FLINT              MI   48507‐4752
MATUS, ROBERT F                  15674 GORE ORPHANAGE RD                                                               WAKEMAN            OH   44889‐9522
MATUSAK, RONALD W                9 ORCHARD ST                                                                          MIDDLEPORT         NY   14105‐1211
MATUSCAK, DOROTHY E              7412 ASPEN RD                                                                         LEXINGTON          MI   48450‐8998
MATUSCAK, DOROTHY E              7412 ASPEN                                                                            LEXINGTON          MI   48450‐8998
MATUSCAK, ELIZABETH T            14100 TAMIAMI TRL E LOT 328                                                           NAPLES             FL   34114‐8496
MATUSCAK, JOSEPH J               5865 NICHOLSON DR                                                                     HUDSON             OH   44236‐3783
MATUSCHEK WELDING PRODUCTS       42378 YEAREGO DR                                                                      STERLING HEIGHTS   MI   48314‐3267
MATUSCHEK WELDING PRODUCTS INC   42378 YEAREGO DR                                                                      STERLING HEIGHTS   MI   48314‐3267
MATUSEK, CAROL A                 10903 TANAGER TRL                                                                     BRECKSVILLE        OH   44141‐1440
MATUSEK, CAROL ANN               10903 TANAGER TRL                                                                     BRECKSVILLE        OH   44141‐1440
MATUSEK, DAMIEN H                844 E JERSEY ST                                                                       ELIZABETH          NJ   07201‐2707
MATUSEK, ISTVAN                  375 HINMAN AVE                                                                        BUFFALO            NY   14216‐1016
MATUSEK, LE ROY T                227 JOHN STREET                                                                       ELIZABETH          NJ   07202
MATUSEK, MILAN                   1508 BURNET AVE TRLR 40                                                               UNION              NJ   07083‐4273
MATUSENSKE JR, RALPH H           4224 JONQUIL DR                                                                       SAGINAW            MI   48603‐1129
MATUSHIN, JOHN D                 2832 HORSEMANS RIDGE DR                                                               CLAYTON            NC   27520‐7202
MATUSHIN, MARGARET I             2832 HORSEMAN'S RIDGE DR                                                              CLAYTON            NC   27520
MATUSHIN, MARGARET I             2832 HORSEMANS RIDGE DR                                                               CLAYTON            NC   27520‐7202
MATUSIAK, ALICE M                2750 MANCELONA RD RT 2                                                                GAYLORD            MI   49735
MATUSIAK, ARTHUR A               2750 MANCELONA ROAD RT. 2                                                             GAYLORD            MI   49735
MATUSICK, JOHN F                 543 HOLLOW RD                                                                         WAPWALLOPEN        PA   18660‐1803
MATUSIK, CYNTHIA S               21329 CLAYTON DR                                                                      MACOMB             MI   48044‐1887
MATUSIK, FLORENCE A              35643 DOVER ST                                                                        LIVONIA            MI   48150‐3506
MATUSIK, HELEN                   4449 51ST ST                                                                          DETROIT            MI   48210‐2722
MATUSIK, MARY MILDRED            140 E TOBIAS ST                                                                       FLINT              MI   48503‐3971
MATUSIK, MICHAEL A               6374 BARNES RD                                                                        MILLINGTON         MI   48746‐9553
MATUSIK, MICHAEL ANTHONY         6374 BARNES RD                                                                        MILLINGTON         MI   48746‐9553
MATUSIK, MICHAEL D               1588 LAMBDEN RD                                                                       FLINT              MI   48532‐4552
MATUSIK, OLGA T                  125 ACACIA CIRCLE #207E                                                               INDIAN HD PK       IL   60525‐9046
MATUSIK, STEVEN A                155 RED MAPLE TRL                                                                     ORTONVILLE         MI   48462‐8588
MATUSIK, SUZANNE L               1588 LAMBDEN RD                                                                       FLINT              MI   48532
MATUSIK, THEODORE A              5360 GREENLEAF DR                                                                     SWARTZ CREEK       MI   48473‐1136
MATUSIK, THEODORE J              7703 STAHELIN AVE                                                                     DETROIT            MI   48228‐3385
MATUSINEC, JOSEPH A              3759 E LUNHAM AVE                                                                     CUDAHY             WI   53110‐1141
MATUSKA, PAUL T                  128 WOODLAND ST                                                                       TRENTON            NJ   08611‐1450
MATUSKEVICH, ANNA                17 MYERS RD                                                                           NEWARK             DE   19713‐2316
MATUSKEVICH, PAUL C              17 MYERS RD                                                                           NEWARK             DE   19713‐2316
MATUSKO, EDWARD J                3338 MARINERS LN                                                                      ARCADIA            MI   49613‐9770
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Name                            Address1                         Address2                          Address3   Address4         City            State Zip
MATUSKO, RAYMOND J              11135 ROSE RD                                                                                  EMMETT           MI 48022‐1413
MATUSKOWITZ HENRY F (501518)    ANGELOS PETER G                  100 N CHARLES STREET , ONE                                    BALTIMORE        MD 21201
                                                                 CHARLES CENTER
MATUSKOWITZ, HENRY F            ANGELOS PETER G                  100 N CHARLES STREET, ONE                                     BALTIMORE       MD 21201‐3812
                                                                 CHARLES CENTER
MATUSKY JR, JAMES M             2413 DIXIE LN                                                                                  FOREST HILL     MD   21050‐1616
MATUSKY SR, MICHAEL S           10530 WILMAR PL                                                                                COCKEYSVILLE    MD   21030‐2416
MATUSKY, HOWARD M               6279 KINSMAN ORANGEVILLE RD                                                                    KINSMAN         OH   44428‐4428
MATUSKY, HOWARD M               6279 ORANGEVILLE KINSMAN RD                                                                    KINSMAN         OH   44428‐9530
MATUSZ, LINDA C                 37578 BRISTOL CT                                                                               LIVONIA         MI   48154‐1261
MATUSZ, ROBERT J                37578 BRISTOL CT                                                                               LIVONIA         MI   48154‐1261
MATUSZ, VALARIE J               16741 29 MILE RD                                                                               RAY             MI   48096‐2302
MATUSZAK CATHERINE              21766 WOODFIELD TRL                                                                            STRONGSVILLE    OH   44149‐9202
MATUSZAK HENRY C ‐ 2ND ACTION   PERSKY JOEL                      4901 TOWNE CENTRE ROAD , STE                                  SAGINAW         MI   48604
(420020)                                                         310
MATUSZAK HENRY C ‐ 2ND ACTION   PERSKY JOEL                      4901 TOWNE CENTRE ROAD , STE                                  SAGINAW         MI 48604
(420020) ‐ MATUSZAK DOROTHY                                      310
MATUSZAK JANET                  1840 N PROSPECT AVE APT 907                                                                    MILWAUKEE       WI 53202‐7700
MATUSZAK PAUL R (409204)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                 STREET, SUITE 600
MATUSZAK RYSZARD                5937‐58 RD                                                                                     MASPETH         NY 11378
MATUSZAK, BERNARD J             116 UNIVERSITY AVE                                                                             DEPEW           NY 14043‐2874
MATUSZAK, DOROTHY               PERSKY JOEL                      4901 TOWNE CENTRE ROAD, STE 310                               SAGINAW         MI 48604

MATUSZAK, HENRY C               PERSKY JOEL                      4901 TOWNE CENTRE ROAD, STE 310                               SAGINAW         MI 48604

MATUSZAK, LEONARD M             32500 WAUKETA DR                                                                               WARREN          MI 48092‐3230
MATUSZAK, MICHAEL P             706 N MURRAY RD                                                                                CARO            MI 48723‐9363
MATUSZAK, PAUL R                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510‐2212
                                                                 STREET, SUITE 600
MATUSZAK, RAYMOND E             111 N MAIN ST.                                                                                 LYNDONVILLE     NY   14098
MATUSZAK, SARA A                APT 208                          2026 NORTH BURLING STREET                                     CHICAGO         IL   60614‐4433
MATUSZAK, THEODORE S            37 TOWNSHIP RD                                                                                 BALTIMORE       MD   21222‐4458
MATUSZAK, VICTOR M              1475 WEEDEN RD RT 5                                                                            CARO            MI   48723
MATUSZCZAK, STANLEY R           74 HUMMINGBIRD LN                                                                              CRAWFORDVILLE   FL   32327‐2177
MATUSZEWSKI ANTHONY (424001)    ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                    BALTIMORE       MD   21202
                                                                 CHARLES CENTER 22ND FLOOR
MATUSZEWSKI, ANTHONY            ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                     BALTIMORE       MD 21202
                                                                 CHARLES CENTER 22ND FLOOR
MATUSZEWSKI, BETTY M            2205 S JEFFERSON ST                                                                            BAY CITY        MI   48708‐8746
MATUSZEWSKI, CHARLES J          57 WOODELL AVE                                                                                 BUFFALO         NY   14211‐2734
MATUSZEWSKI, DALE J             1585 SAGANING RD                                                                               BENTLEY         MI   48613‐9715
MATUSZEWSKI, DANIEL             11447 S LAWLER AVE                                                                             ALSIP           IL   60803
MATUSZEWSKI, EDMUND             13963 CITATION DR                                                                              ORLAND PARK     IL   60467‐1054
MATUSZEWSKI, EDWARD L           625 MORSE LANDING DR                                                                           CICERO          IN   46034‐9534
MATUSZEWSKI, ELEANOR D          3112 LAURIA RD                                                                                 BAY CITY        MI   48706‐1192
MATUSZEWSKI, ELEANOR D          3112 LAURIA ROAD                                                                               BAY CITY        MI   48706‐1192
MATUSZEWSKI, ELEANOR D.         79 NORTHWOOD DR                                                                                DEPEW           NY   14043‐4553
MATUSZEWSKI, FLOYD P            300 BREAKER COVE DR                                                                            BAY CITY        MI   48708‐8810
MATUSZEWSKI, JAMES S            597 N SCHEURMANN RD                                                                            BAY CITY        MI   48708‐9174
MATUSZEWSKI, KRYSTYNA H         49 VIA PINTO DR                                                                                WILLIAMSVILLE   NY   14221‐2756
MATUSZEWSKI, LEONARD E          79 NORTHWOOD DRIVE                                                                             DEPEW           NY   14043‐4553
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Name                          Address1                       Address2                Address3     Address4         City              State Zip
MATUSZEWSKI, MARY S           3516 CRANSTON AVE                                                                    WILMINGTON         DE 19808‐6105
MATUSZEWSKI, MARY S           3516 CLANSTON AVE                                                                    WILMINGTON         DE 19808
MATUSZEWSKI, STEPHEN P        PO BOX 386                                                                           KAWKAWLIN          MI 48631‐0386
MATUSZEWSKI, THOMAS J         719 KRYSTAL CREEK CT                                                                 FLUSHING           MI 48433‐2191
MATUSZEWSKI, TIMOTHY J        1795 SUTTON RD                                                                       ADRIAN             MI 49221‐9506
MATUSZEWSKI, WALTER M         11301 MOUNT PLEASANT RD                                                              ROCKVALE           TN 37153‐4638
MATUTE, ALLAN P               PO BOX 9022                    C/O GM RAYONG                                         WARREN             MI 48090‐9022
MATUTE, JAVIER                APT C6                         360 WASHINGTON AVENUE                                 BELLEVILLE         NJ 07109‐3262
MATUTE, MELISSA KAY           2 FAY ST                                                                             CLARKSTON          MI 48346‐4110
MATUZ, GLENN R                9914 NEW BUFFALO RD                                                                  CANFIELD           OH 44406‐9192
MATUZ, GLENN R.               9914 NEW BUFFALO RD                                                                  CANFIELD           OH 44406‐9192
MATUZ, RAYMOND F              7649 N LIMA RD                                                                       POLAND             OH 44514‐2686
MATUZA, ANA K                 4061 DREXEL DRIVE                                                                    TROY               MI 48098‐4381
MATUZA, MARGARET H            140 LAVALE DR APT 108                                                                MONROEVILLE        PA 15146‐2930
MATUZA, MARGARET H            140 LAVALE DR                  APT 108                                               MONROEVILLE        PA 15146
MATUZAK, ANNA M               28815 W CHICAGO ST                                                                   LIVONIA            MI 48150‐3125
MATUZAK, CARLA A              652 MAPLE CREST DR                                                                   FRANKENMUTH        MI 48734‐9312
MATUZAK, KAREN S              N110W16931 ASHBURY CIR APT 1                                                         GERMANTOWN         WI 53022‐5572
MATUZAK, RICHARD L            8048 LYNN ST                                                                         BIRCH RUN          MI 48415‐8015
MATUZAK, RICHARD L            8048 LYNN STREET                                                                     BIRCH RUN          MI 48415‐8015
MATUZAK, THOMAS C             126 MORRISON                                                                         MT PROSPECT         IL 60056
MATUZEK, STANLEY              5 CROSS ST                                                                           SOUTH GRAFTON      MA 01560‐1103
MATUZIK, RICHARD              3131 N SQUIRREL RD APT 213                                                           AUBURN HILLS       MI 48326‐3951
MATUZIK, RITA M               20309 WEYHER ST                                                                      LIVONIA            MI 48152‐2083
MATVICHUK, JUNE M             3292 BARRETT AVE SW                                                                  GRANDVILLE         MI 49418‐1613
MATVIYA, MICHAEL              634 SW FAIRVIEW AVE                                                                  PORT ST LUCIE      FL 34983‐2971
MATWAY, IRENE V               355 MARBURY RD                                                                       BETHEL PARK        PA 15102‐1656
MATWEYCHEK, JUANITA           8335 MELVIN AVE                                                                      WESTLAND           MI 48185‐7088
MATWEYCHEK, JUANITA           8335 MELVIN                                                                          WESTLAND           MI 48185‐7088
MATWEYCHEK, MICHAEL L         7711 RANDY DR                                                                        WESTLAND           MI 48185‐5567
MATWEYCHEK, MICHAEL LEONARD   7711 RANDY DR                                                                        WESTLAND           MI 48185‐5567
MATWIEJCZYK, THOMAS W         48485 LINDON CT                                                                      SHELBY TOWNSHIP    MI 48317‐2632
MATWIJEC, JOSEPH M            26 PUTNAM RD                                                                         NEW MILFORD        CT 06776‐5307
MATWIJEC, JOSEPH MICHAEL      26 PUTNAM RD                                                                         NEW MILFORD        CT 06776‐5307
MATWIJEC, KRISTINA J          49 CLUBHOUSE DR                                                                      WOODBURY           CT 06798‐3205
MATWYUK, STEVE                PO BOX 3055                                                                          EATONTON           GA 31024‐3055
MATYAS, ANDREW R              149 SEAFARER LN                                                                      BERLIN             MD 21811‐1851
MATYAS, DANIEL C              6064 ROCKING CHAIR RD                                                                GRAND BLANC        MI 48439‐7919
MATYAS, JAMES R               2211 CELESTIAL DR NE                                                                 WARREN             OH 44484‐3904
MATYAS, PAULA A               2505 64TH AVE                                                                        ZEELAND            MI 49464‐9665
MATYAS, ROZALIA               40 ARTHUR GLICK BLVD                                                                 FRANKLIN PARK      NJ 08823‐1662
MATYAS, STANLEY J             8 SARABEL CT                                                                         CHEEKTOWAGA        NY 14225‐5020
MATYASOVSKY, JANICE R         2619 A ST                                                                            MCKEESPORT         PA 15133‐2503
MATYASOVSKY, JOHN E           2619 A STREET                                                                        MCKEESPORT         PA 15133‐2503
MATYASOVSKY, JOHN E           2619 A ST                                                                            MCKEESPORT         PA 15133‐2503
MATYASOVSKY, JOSEPH A         620 CIRCLE DR                                                                        ELIZABETH          PA 15037‐2332
MATYASZEK, EUGENE E           2330 CAMPBELL ST                                                                     DETROIT            MI 48209‐1306
MATYAZIC, JOHN D              21 DAGGETT RIM RD                                                                    BOISE              ID 83716‐3373
MATYAZIC, NANCY               794 HAMPTON CT                                                                       SAGAMORE HILLS     OH 44067‐2387
MATYCZYNSKI, LADISLAUS        46 S MAIN ST                                                                         LEICESTER          MA 01524‐1402
MATYI SR, RICHARD J           5573 MADRID DR                                                                       AUSTINTOWN         OH 44515‐4154
MATYJASIK‐JAYNES, DENISE M    PO BOX 16                                                                            GARDEN CITY        MI 48136‐0016
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Name                                 Address1                           Address2                       Address3                 Address4         City               State Zip
MATYJASZEK, DENNIS                   1882 SE CROWBERRY DR                                                                                        PORT ST LUCIE       FL 34983‐4672
MATYJCZUK, BOB                       66 KINMONT DR                                                                                               ROCHESTER           NY 14612‐3351
MATYK, CRAIG M                       15300 W SPRAGUE RD APT G59                                                                                  CLEVELAND           OH 44130‐6950
MATYK, JOSEPH E                      19112 CHERRY STONE LN                                                                                       STRONGSVILLE        OH 44136‐7138
MATYKA, VIRGINIA C                   45 MERIDEN AVE                     SOUTHINGTON CARE CENTER        (FINANCIAL DEPARTMENT)                    SOUTHINGTON         CT 06489‐3214
MATYKO CELESTE E (156049) ‐ MATYKO   HENDERSON & GOLDBERG               3RD FL KETCHUM CENTER , 1030                                             PITTSBURGH          PA 15219
FRANK                                                                   FIFTH AVE
MATYKO, FRANK                        C/O GOLDBERG PERSKY & WHITE PC     1030 FIFTH AVENUE                                                        PITTSBURGH         PA    15219
MATYNIAK, CHARLOTTE                  26623 RICHARDSON ST                                                                                         DEARBORN HEIGHTS   MI    48127‐1924
MATYNIAK, DEBRA A                    21100 OSMUS ST APT 9                                                                                        FARMINGTON HILLS   MI    48336‐5203
MATYNIAK, DEBRA A                    21100 OSMUS STREET                 APT 9                                                                    FARMINGTON HILLS   MI    48336‐5203
MATYNIAK, GREGORY E                  3211 LEDGEWOOD CT E                                                                                         COMMERCE TWP       MI    48382‐1420
MATYNIAK, THOMAS CHARLES             19454 GLENMORE                                                                                              REDFORD            MI    48240‐1323
MATYOKA, DARLENE D                   UNIT 7                             22 POMEROY MEADOW ROAD                                                   SOUTHAMPTON        MA    01073‐9276
MATYOKA, FRANK H                     22 POMEROY MEADOW RD UNIT 7                                                                                 SOUTHAMPTON        MA    01073‐9276
MATYSEK, ALEKSANDER                  641 SW SOUTH RIVER DR APT 102                                                                               STUART             FL    34997‐3237
MATYSIAK, JENNIE L                   8230 CRESTVIEW                                                                                              STERLING HEIGHTS   MI    48312
MATYSIAK, PAUL L                     4748 SPRINGWOOD DR                                                                                          BROOKLYN           OH    44144‐3141
MATYUF, ANN                          174 WOODHALL DR                                                                                             PITTSBURGH         PA    15236‐2925
MATYZIUS, ALBERTAS                   5283 FREIERMUTH RD                                                                                          STOCKBRIDGE        MI    49285‐9680
MATZ, BELINDA M                      41613 WINCHESTER DR                                                                                         STERLING HEIGHTS   MI    48313‐3171
MATZ, DONALD L                       PO BOX 951                                                                                                  GAYLORD            MI    49734‐0951
MATZ, EARL S                         2519 NW 69TH TER                                                                                            GAINESVILLE        FL    32606‐6330
MATZ, EDWARD                         3538 N LAKE SHORE DR                                                                                        BLACK RIVER        MI    48721‐9702
MATZ, HELEN G                        1806 S HARVEY AVE                                                                                           BERWYN              IL   60402‐2036
MATZ, HOWARD C                       1406 MAPLEWOOD ST NE                                                                                        WARREN             OH    44483‐4166
MATZ, JAMES F                        1727 HART RD                                                                                                LEBANON            OH    45036‐9153
MATZ, KAREN R                        37185 FOREST CT                                                                                             FARMINGTON HILLS   MI    48335‐4815
MATZ, LESLEY A                       116 HOFFMAN HEIGHTS RD                                                                                      GREENSBURG         PA    15601‐8654
MATZ, MARK E                         PO BOX 13                          C/O DOUGLAS S. HATFIELD                                                  HILLSBOROUGH       NH    03244‐0013
MATZ, SUZANNE M                      1727 HART RD                                                                                                LEBANON            OH    45036‐9153
MATZAN, STEPHEN R                    47 SPARROWHAWK POINT RD                                                                                     LISBON             NY    13658‐4213
MATZELLE, CARLETON V                 5345 IROQUOIS CT                                                                                            CLARKSTON          MI    48348‐3015
MATZELLE, FERDINAND                  3697 CHASE LAKE RD                 C/O ALBERT MATZELLE                                                      HOWELL             MI    48855‐9326
MATZELLE, RUTH J                     2350 WATKINS LAKE RD APT 126                                                                                WATERFORD          MI    48328‐1469
MATZEN, SUSAN AGNES                  1496 STACY CT                                                                                               MORRIS              IL   60450‐3602
MATZEN, SUSAN AGNES                  1496 STACEY CT                                                                                              MORRIS              IL   60450‐3602
MATZENBACH, DAN K                    1440 HILLSDALE DR                                                                                           DAVISON            MI    48423‐2326
MATZENBACHER, JACK C                 3001 CALLE SAN ANGEL NW                                                                                     ALBUQUERQUE        NM    87107‐3028
MATZICK, CAROLYN A                   64 COLLINWOOD CT                                                                                            CROSSVILLE         TN    38558‐2994
MATZKA INCORPORATED                  25255 MOUND RD                                                                                              WARREN             MI    48091‐3857
MATZKE FREDERICK E                   C/O GOLDBERG, PERSKY & WHITE, PC   1030 FIFTH AVENUE                                                        PITTSBURGH         PA    15219
MATZKE, ARTHUR E                     8600 MARSHALL RD                                                                                            BIRCH RUN          MI    48415‐8773
MATZKE, DALE R                       3046 W CLEAR LAKE RD                                                                                        WEST BRANCH        MI    48661‐8470
MATZKE, DANNY J                      12933 CIMARRON DR                                                                                           BIRCH RUN          MI    48415‐9300
MATZKE, EDWIN C                      9097 FROST RD                                                                                               SAGINAW            MI    48609‐9308
MATZKE, ELAINE M                     8101 BUSCH RD                                                                                               BIRCH RUN          MI    48415‐8548
MATZKE, GERALD J                     7360 BIRCH RUN RD                                                                                           BIRCH RUN          MI    48415‐8459
MATZKE, GERALD JACK                  7360 BIRCH RUN RD                                                                                           BIRCH RUN          MI    48415‐8459
MATZKE, GREGORY P                    1721 ELIDA ST                                                                                               JANESVILLE         WI    53545‐1907
MATZKE, JAMES W                      4456 W LAKE RD                                                                                              CLIO               MI    48420‐8829
MATZKE, MARGUERITE A                 7750 MAIN ST                                                                                                BIRCH RUN          MI    48415‐9231
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Name                        Address1                          Address2                          Address3   Address4         City            State Zip
MATZKE, MARY L              255 MAYER RD APT 261                                                                            FRANKENMUTH      MI 48734‐1344
MATZKE, MICHAEL C           1504 S MARION AVE                                                                               JANESVILLE       WI 53546‐5423
MATZKE, RANDY S             589 S FAWN AVE                                                                                  GRAND MARSH      WI 53936‐9765
MATZKE, ROBERTA H           10537 N ELLENDALE RD                                                                            EDGERTON         WI 53534‐8439
MATZKE, SHEILA J            9321 ORCHARD CT                                                                                 DAVISON          MI 48423‐8464
MATZKE, STEVEN              11204 DUFFIELD RD                                                                               MONTROSE         MI 48457‐9400
MATZKE, WENDELL E           10537 N ELLENDALE RD                                                                            EDGERTON         WI 53534‐8439
MATZNICK, DALE C            4146 MITCHELL RD                                                                                LAPEER           MI 48446‐9782
MATZNICK, DEAN M            1078 TURRILL RD                                                                                 LAPEER           MI 48446‐3719
MATZNICK, DEBRA LYNN        10380 E LANSING RD                                                                              DURAND           MI 48429‐1805
MATZNICK, GARY R            11395 LAHRING RD                                                                                BYRON            MI 48418‐9022
MATZNICK, GERALD H          8775 E MILLER RD                                                                                DURAND           MI 48429‐9467
MATZNICK, JOHN H            1650 MASON RD                                                                                   OWOSSO           MI 48867
MATZNICK, LEONARD L         5109 S REED RD                                                                                  DURAND           MI 48429‐1011
MATZNICK, LEONARD LAVERNE   5109 S REED RD                                                                                  DURAND           MI 48429‐1011
MATZNICK, RICHARD K         5477 S SHERIDAN AVE                                                                             DURAND           MI 48429‐9603
MATZNICK, ROBERT P          5538 MCDOWELL RD                                                                                LAPEER           MI 48446‐8010
MATZNICK, RODNEY L          5549 BRADEN RD                                                                                  BYRON            MI 48418‐8818
MATZURA, FRANCIS E          89 S INMAN AVE                                                                                  AVENEL           NJ 07001‐1526
MATZURA, ROBERT R           61 TYLER AVE                                                                                    ISELIN           NJ 08830‐2511
MAU JR, ROBERT E            1285 THAYER RD                                                                                  ORTONVILLE       MI 48462‐8903
MAU SHERWOOD SUPPLY CO      8400 DARROW RD                                                                                  TWINSBURG        OH 44087‐2310
MAU SR, ROBERT E            10373 CHURCH RD                                                                                 ELLSWORTH        MI 49729‐9715
MAU, HAROLD C               629 W RILEY RD                                                                                  OWOSSO           MI 48867‐9466
MAU, HERBERT                37781 AMBER DRIVE                                                                               FARMINGTN HLS    MI 48331‐1169
MAU, JORGEN M               2422 LINWOOD AVE                                                                                ROYAL OAK        MI 48073‐3829
MAU, RICHARD G              PO BOX 63                                                                                       WHITE CLOUD      MI 49349‐0063
MAU, RICHARD W              4493 CRABWOOD DR                                                                                YOUNGSTOWN       OH 44515‐5129
MAU, THOMAS E               45433 PLUM GROVE DR                                                                             MACOMB           MI 48044‐4511
MAU, WILLIAM G              5043 CHRISTY LN                                                                                 HOLLAND          MI 49424‐1083
MAUBERT, ANDRE              360 NE 18TH AVE # 4 101                                                                         HOMESTEAD        FL 33033
MAUCERI JOSEPH (652450)     WEITZ & LUXENBERG                 180 MAIDEN LANE                                               NEW YORK         NY 10038
MAUCH SUSAN                 MAUCH, SUSAN                      1950 SAWTELLE BLVD STE 245                                    LOS ANGELES      CA 90025‐7017
MAUCH, DAVID MICHAEL        2315 N CAROLINA ST                                                                              SAGINAW          MI 48602‐3806
MAUCH, DOROTHY              BRODD LAW FIRM LLC                RIVER RIDGE PROFESSIONAL CENTER                               HUDSON           WI 54016
                                                              1200 HOSFORD STREET SUITE 102

MAUCH, DUANE
MAUCH, EUGENE O             13721 COLPAERT DR                                                                               WARREN          MI   48088‐5729
MAUCH, GEORGE B             18 SERRA LN                                                                                     MASSENA         NY   13662‐1644
MAUCH, GEORGE C             3663 58TH AVE N LOT 343                                                                         ST PETERSBURG   FL   33714‐1241
MAUCH, M CAROLINE           7703 RIVER RD                                                                                   INDIANAPOLIS    IN   46240‐2919
MAUCH, MARK C               2315 N CAROLINA ST                                                                              SAGINAW         MI   48602‐3806
MAUCH, MARLENE J            322 CANTERBURY DR                                                                               SAGINAW         MI   48638‐5811
MAUCH, MARY                 3630 SMITH CROSSING RD                                                                          FREELAND        MI   48623‐9405
MAUCH, MARY K               5725 HAVERFORD ST                                                                               INDIANAPOLIS    IN   46220‐2768
MAUCH, STEPHEN E            1010 E WHIPP RD                                                                                 CENTERVILLE     OH   45459‐2212
MAUCH, STEPHEN V            10595 NORRIS FERRY RD                                                                           SHREVEPORT      LA   71106‐8331
MAUCH, STEPHEN V            1029 SAINT FRANCIS WAY                                                                          SHREVEPORT      LA   71106‐5500
MAUCH, TERESA M             C/O MARK C. MAUCH                 2315 N. CAROLINA ST.                                          SAGINAW         MI   48602
MAUCH, TERESA M             2315 NORTH CAROLINA STREET                                                                      SAGINAW         MI   48602‐3806
MAUCH, THOMAS J             8090 MCCARTY RD                                                                                 SAGINAW         MI   48603‐9618
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Name                  Address1                            Address2                        Address3   Address4         City                State Zip
MAUCH, THOMAS J.      8090 MCCARTY RD                                                                                 SAGINAW              MI 48603‐9618
MAUCHER, KARL J       3607 COUNTY ROAD 73                                                                             MIDLAND CITY         AL 36350‐4207
MAUCK JR, WILLIAM L   250 CHANEY BLVD                                                                                 LA VERGNE            TN 37086‐3803
MAUCK ROBERT          PO BOX 216                                                                                      ATWOOD                IL 61913‐0216
MAUCK, ANNIE B        1107 ROCKFISH RD                                                                                WAYNESBORO           VA 22980
MAUCK, BETTY R        3230 W 250 N                                                                                    ANDERSON             IN 46011‐8718
MAUCK, DIANA J        6341 N AKRON DR                                                                                 ALEXANDRIA           IN 46001‐8639
MAUCK, FRANK H        4738 JEWEL DR                                                                                   PITTSBURGH           PA 15236‐1902
MAUCK, FREDERICK A    168 BOLLINGER RD                                                                                BELLVILLE            OH 44813‐8964
MAUCK, JERRY O        3109 NW 17TH LN                                                                                 CAPE CORAL           FL 33993‐4717
MAUCK, JO A           15572 S HH HWY                                                                                  EL DORADO SPRINGS    MO 64744‐6145
MAUCK, KENNETH        879 HICKORY DR                                                                                  ANDERSON             IN 46011‐1504
MAUCK, KENNETH W      PO BOX 890                                                                                      INWOOD               WV 25428‐0890
MAUCK, LARRY D        15572 S HH HWY                                                                                  EL DORADO SPRINGS    MO 64744‐6145
MAUCK, LARRY R        6341 N AKRON DR                                                                                 ALEXANDRIA           IN 46001‐8639
MAUCK, MICHAEL D      5506 WOODRUFF SHORE DR                                                                          BRIGHTON             MI 48116‐8379
MAUCK, NICOLE L       713 DEERFIELD DR                                                                                NORTH TONAWANDA      NY 14120‐1905
MAUCK, PATRICIA ANN   3273 W 300 N                                                                                    ANDERSON             IN 46011‐9256
MAUCK, RAYE A         1317 BANTRY DR                                                                                  SMYRNA               TN 37167
MAUCK, RICHARD L      263 WILLOW GROVE CHURCH RD                                                                      ALLONS               TN 38541‐3036
MAUCK, RONALD D       588 FANTASY LN                                                                                  ANDERSON             IN 46013‐1163
MAUCK, WALTER T       4482 W 300 N                                                                                    ANDERSON             IN 46011‐8722
MAUD CARSON           425 S HEMLOCK ST                                                                                EVART                MI 49631‐9707
MAUD HILVERS          404 HENRY CT                                                                                    FLUSHING             MI 48433‐1589
MAUD KURUCZ           464 COY DR                                                                                      BEAVERCREEK          OH 45434‐5821
MAUD L LAMB           476 REICHARD DR                                                                                 VANDALIA             OH 45377‐2522
MAUD LAMB             476 REICHARD DR                                                                                 VANDALIA             OH 45377‐2522
MAUD MALONE           3312 N BRINK DR                                                                                 SANFORD              MI 48657‐9529
MAUD PAINTING
MAUD PAINTING         BAUMAN LOEWE & WITT PLLC            8765 EAST BELL ROAD SUITE 204                               SCOTTSDALE          AZ   85260
MAUD RICHARDS         19515 WARWICK ST                                                                                DETROIT             MI   48219‐2187
MAUD THOMAS           88 COURT ST                                                                                     PONTIAC             MI   48342‐2506
MAUD, OLIVER HUDSON   BAUMAN LOEWE & WITT PLLC            8765 EAST BELL ROAD SUITE 204                               SCOTTSDALE          AZ   85260
MAUD, OLIVER HUDSON
MAUDA COE             1023 STILLWATER CT                                                                              VILLA HILLS         KY   41017‐3686
MAUDE A. MARTIN       6581 BRIGHAN SQUARE                 #1                                                          CENTERVILLE         OH   45459
MAUDE BERRY           15588 BEACHCOMBER AVE                                                                           FORT MYERS          FL   33908‐3362
MAUDE BOYD            APT D                               827 SOUTH PARKER DRIVE                                      FLORENCE            SC   29501‐6001
MAUDE BURTON          1 SALEM CT                                                                                      SAGINAW             MI   48601‐6656
MAUDE CHATMAN         18075 PARKSIDE ST                                                                               DETROIT             MI   48221‐2718
MAUDE DANIELS         215 ANTLER ST # 312                                                                             GLADWIN             MI   48624
MAUDE E BURKETT       128 W FAIRMOUNT AVE                                                                             PONTIAC             MI   48340‐2736
MAUDE E MARSTELLER    417 NEW PARK ROAD                                                                               NEW PARK            PA   17352
MAUDE ELDER           21 KATHY LN                                                                                     WEST SENECA         NY   14224‐1536
MAUDE EPPINGER        9581 CARLIN ST                                                                                  DETROIT             MI   48227‐3005
MAUDE GAMBRELL        615 PINEWOOD AVE                                                                                TOLEDO              OH   43604‐8011
MAUDE HALVARSON       2263 GREENWOOD RD                                                                               LUPTON              MI   48635‐9790
MAUDE HENDRIAN        1035 WALLED LAKE VILLA DR APT 421                                                               WALLED LAKE         MI   48390‐3323
MAUDE HICKMAN         404 LAKEVIEW DR                                                                                 WHITE LAKE          MI   48386‐3006
MAUDE J ROBINSON      1351 AIRPORT RD                                                                                 RAYMOND             MS   39154
MAUDE J TAYLOR        925 WELLMEIER AVE                                                                               DAYTON              OH   45410‐2908
MAUDE JACKSON         425 CENTRAL AVE                                                                                 ROMNEY              WV   26757‐1209
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Name                 Address1                         Address2          Address3         Address4                  City            State Zip
MAUDE KEENEY         1977 BRIGGS ROAD R 1                                                                          TWINING          MI 48766
MAUDE KIRCHHOFF      106 W 1ST ST                                                                                  CONCORDIA        MO 64020‐7192
MAUDE L ALBERT       1203 CHARLES AVE                                                                              FLINT            MI 48505‐1641
MAUDE LAWRENCE       RR 3 BOX 94‐C                                                                                 MARTIN           GA 30557
MAUDE MCKISSICK      4656 WALLINGTON CT APT 4                                                                      SAINT LOUIS      MO 63121‐2244
MAUDE MONTE          3716 BIDDULPH AVE                                                                             CLEVELAND        OH 44109‐5009
MAUDE MOORE          100 COLONIAL CIR                                                                              CLANTON          AL 35045‐8397
MAUDE MURRELL        1313 S LEE DR                                                                                 BOWLING GREEN    KY 42101‐2853
MAUDE NORMAN         3284 CAMBRIDGE ST SE                                                                          KENTWOOD         MI 49512‐2776
MAUDE PEMBERTON      4609 REAN MEADOW DR                                                                           KETTERING        OH 45440‐1923
MAUDE PERRY          641 JADINE DR                                                                                 DEFIANCE         OH 43512‐1326
MAUDE RAGAN          921 N MORRISON ST                                                                             KOKOMO           IN 46901‐3351
MAUDE RECTOR         161 MCGEE LN                                                                                  COOKEVILLE       TN 38501‐9577
MAUDE REIMER         1645 LOCKPORT OLCOTT RD                                                                       OLCOTT           NY 14126
MAUDE STOCKTON       330 LOWER BRUSH CREEK RD                                                                      FLETCHER         NC 28732‐8484
MAUDE TAYLOR         925 WELLMEIER AVE                                                                             DAYTON           OH 45410‐2908
MAUDE WILLIAMS       PO BOX 7095                                                                                   WESTCHESTER       IL 60154‐7095
MAUDE, ELIZABETH A   52 LOCKVIEW CRES                                                    ST CATHARINES ON L2M2T3
                                                                                         CANADA
MAUDE, MICHAEL A     1330 FOREST RIDGE DR                                                                          MILFORD         MI   48381‐4708
MAUDELINE WOOTTON    2203 EUCALYPTUS AVE                                                                           ESCONDIDO       CA   92029‐5549
MAUDELL FISHER       214 S WESTGATE AVE                                                                            COLUMBUS        OH   43204‐1981
MAUDENA JOHNSON      PO BOX 244                                                                                    CARROLLTON      MI   48724‐0244
MAUDENA MCLAUGHLIN   1903 WESTOVER DR                                                                              ARLINGTON       TX   76015‐1232
MAUDER, FRANCIS A    908 ANDERSON ST                                                                               NORTHWOOD       OH   43619‐1706
MAUDER, GLENN E      427 CONNISTON AVE                                                                             PITTSBURGH      PA   15210‐3233
MAUDER, WILLIAM F    919 MEADOWVIEW LN                                                                             NORTHWOOD       OH   43619‐2601
MAUDESTINE JOHNSON   1741 CAPISTRANA PL                                                                            DECATUR         GA   30032‐3519
MAUDESTINE SMITH     1001 KAMMER AVE                                                                               DAYTON          OH   45417‐1510
MAUDIE ANDERSON      1776 DREW AVE                    APT 143 WEST                                                 COLUMBUS        OH   43235
MAUDIE B JONES       25 SPARTAN DRIVE                                                                              ROCHESTER       NY   14609
MAUDIE BAUER         4718 AMESBOROUGH RD                                                                           DAYTON          OH   45420‐3352
MAUDIE BAUSWELL      721 W GENESEE ST                                                                              FLINT           MI   48504‐2607
MAUDIE BELCHER       2129 HAWTHORNE DR                                                                             DEFIANCE        OH   43512‐9670
MAUDIE BROWN         4220 GREENLAWN DR                                                                             FLINT           MI   48504‐2044
MAUDIE CHAMBERLAIN   3820 E 600 N                                                                                  GREENFIELD      IN   46140‐8325
MAUDIE D PHIPPS      3608 LEWIS ST                                                                                 MIDDLETOWN      OH   45044‐6133
MAUDIE DARNELL       6332 EDMUND STREET                                                                            ROMULUS         MI   48174‐4412
MAUDIE DAVIS         210 N LOCUST ST                                                                               CAMPBELL        MO   63933‐1138
MAUDIE GABBARD       47 S WRIGHT AVE                                                                               DAYTON          OH   45403‐2249
MAUDIE HASH          1017 N SHERMAN ST                                                                             BAY CITY        MI   48708‐6066
MAUDIE IVY           6526S. CO. RD. 475 E                                                                          CLOVERDALE      IN   46120
MAUDIE L GABBARD     47 S WRIGHT AVE                                                                               DAYTON          OH   45403‐2249
MAUDIE LEISS         1113 E MANDEVILLE ST                                                                          BURTON          MI   48529‐1124
MAUDIE M IVY         6526 SOUTH COUNTY ROAD 475 EAS                                                                CLOVERDALE      IN   46120
MAUDIE MCIVER        2209 S WOODBRIDGE DR                                                                          YORKTOWN        IN   47396‐9560
MAUDIE N TYRA        RR1 BOX 170                                                                                   STANTON         KY   40380‐9801
MAUDIE PHIPPS        3608 LEWIS ST                                                                                 MIDDLETOWN      OH   45044‐6133
MAUDIE PRESLEY       249 CHAPEL DR                                                                                 SPRINGBORO      OH   45066‐8833
MAUDIE R PRESLEY     249 CHAPEL DR                                                                                 SPRINGBORO      OH   45066‐8833
MAUDIE RUDY          5409 BYRD AVE                                                                                 RACINE          WI   53406‐4805
MAUDIE SAYLOR        2250 BUXTON AVE                                                                               NORWOOD         OH   45212‐2252
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Name                           Address1                           Address2                           Address3             Address4                 City               State Zip
MAUDIE STOUT                   412 DELZINGRO DR                                                                                                    DAVISON             MI 48423‐2832
MAUDIE TATRO                   4185 RECTOR AVE NE                                                                                                  ROCKFORD            MI 49341‐7918
MAUDINE CHAFIN                 PO BOX 583                                                                                                          MATEWAN             WV 25678‐0583
MAUDINE EDWARDS                2105 CHATEAU DRIVE                                                                                                  FLINT               MI 48504‐1613
MAUDINE JONES                  14314 SW ALLEN BLVD                P.O. BOX 325                                                                     BEAVERTON           OR 97005‐4403
MAUDINE MATTHEWS               9495 SHYRE CIR                                                                                                      DAVISON             MI 48423‐8625
MAUDINE YELDON                 8279 WISCONSIN ST                                                                                                   DETROIT             MI 48204‐3246
MAUDLIN, ADA M                 7400 46TH AVE N LOT 122                                                                                             SAINT PETERSBURG    FL 33709‐2536
MAUDLIN, DONALD L              6053 W PROWSVILLE RIDGE RD R                                                                                        CAMPBELLSBURG       IN 47108
MAUDLIN, LYLE R                4350 COLBY RD W                                                                                                     PERRY               MI 48872
MAUDLIN, RUTH E                153 N DIXIE DR APT 9                                                                                                VANDALIA            OH 45377‐2033
MAUDLIN, RUTH E                153 NORTH DIXIE DR APT #9                                                                                           VANDALIA            OH 45377‐2033
MAUDREESE DANIELS              245 3RD ST SW                                                                                                       WARREN              OH 44483
MAUDSLEY, RHONDA G             4511 CANYON CREST DR                                                                                                LEAGUE CITY         TX 77573‐3593
MAUE, DOUGLAS C                102 N 4TH ST                                                                                                        MIAMISBURG          OH 45342‐2319
MAUEL SILVA SOUSA LOBO         MANUEL LOBO                        RUA JO├O DAS REGRAS N. 2, 1. ESQ                        CARNAXIDE PORTUGAL       CARNAXIDE

MAUER PHIL & ASSOCIATES INC    56954 EDEN LINE                                                                            EDEN CANADA ON N0J 1H0
                                                                                                                          CANADA
MAUER, LEONARD N               5268 N SEYMOUR RD                                                                                                   FLUSHING           MI 48433‐1029
MAUER, MAX                     4489 TILLIE DR                                                                                                      FLINT              MI 48504‐1010
MAUER, PHIL & ASSOCIATES INC   56954 EDEN LINE                                                                            EDEN ON N0J 1H0 CANADA
MAUERMAN, BEVERLY J            221 BENT OAK DR                                                                                                     LAKE ST LOUIS      MO   63367‐1430
MAUERMAN, ELAINE F             1302 22ND AVE                                                                                                       MONROE             WI   53566‐2119
MAUERMAN, GARY D               3960 EDINBURGH DR                                                                                                   YOUNGSTOWN         OH   44511‐1172
MAUERMAN, LINDA                3509 DESOTO AVE                                                                                                     YOUNGSTOWN         OH   44502‐3128
MAUERMAN, VIRGINIA N           12836 W COUNTY RD A                                                                                                 EVANSVILLE         WI   53536‐8609
MAUERMAN, WILLIAM R            2223 N PONTIAC DR                                                                                                   JANESVILLE         WI   53545‐0657
MAUERMANN, ROBIN K             18227 WAVERLY BEND LN                                                                                               CYPRESS            TX   77433‐1253
MAUFFRAY, JUDY A               625 AUSTINVILLE RD SW APT 1                                                                                         DECATUR            AL   35601
MAUGANS, JO ELLA               3274 WOODHAVEN TRL                                                                                                  KOKOMO             IN   46902‐5062
MAUGANS, LINDA M               2917 BURTON DR                                                                                                      KOKOMO             IN   46902‐3279
MAUGANS, THERESA A             178 ROCHELLE PARK                                                                                                   TONAWANDA          NY   14150‐9316
MAUGER, CLYDE R                6185 SHARON WOODS BLVD                                                                                              COLUMBUS           OH   43229
MAUGER, ELEANOR                628 WILLIAMS STREET                                                                                                 NORTH TONAWANDA    NY   14120‐1713
MAUGER, JUERGEN E              1585 EAST TAYLOR STREET                                                                                             HUNTINGTON         IN   46750‐4044
MAUGER, JUERGEN E.             1585 EAST TAYLOR STREET                                                                                             HUNTINGTON         IN   46750‐4044
MAUGERI'S AUTO REPAIR          501 ALBANY ST                                                                                                       UTICA              NY   13501‐1801
MAUGERI, VALENTINO W           20 YORKTOWN RD                                                                                                      BORDENTOWN         NJ   08505‐2410
MAUGGER LIMITED                KATTEN MUCHIN ROSENMAN LLP         ATTN NOAH S HELLER ESQ             575 MADISON AVENUE                            NEW YORK           NY   10022‐2585
MAUGH WILLIAM F JR (626645)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                      NORFOLK            VA   23510
                                                                  STREET, SUITE 600
MAUGH, LAWRENCE C              PO BOX 9022                                                                                                         WARREN             MI 48090‐9022
MAUGH, WILLIAM F               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                      NORFOLK            VA 23510‐2212
                                                                  STREET, SUITE 600
MAUGHAN, BILLY H               PO BOX 213                                                                                                          VALLEY VIEW        TX   76272‐0213
MAUGHAN, CATHERINE I           628 ARLEY RD                                                                                                        FRANKLIN SQ        NY   11010‐1736
MAUGHAN, DANIEL J              449 INDIANOLA RD                                                                                                    BOARDMAN           OH   44512‐2305
MAUGHAN, JANICE G              8530 SUGARLOAF LN                                                                                                   SANDY              UT   84093‐1161
MAUGHAN, JOANN R               1740 OAK STREET                                                                                                     GIRARD             OH   44420‐1020
MAUGHMER, ROBERT LEE           6352 OAKRIDGE RD                                                                                                    CLOVER             SC   29710‐7370
MAUGHN, SHIRLEY                2801 NW 47TH TER APT 101                                                                                            LAUDERDALE LAKES   FL   33313‐1716
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Name                             Address1                       Address2                         Address3   Address4         City                 State Zip
MAUGHON, EUGENE W                1620 BAINBRIDGE WAY                                                                         ROSWELL               GA 30076‐1621
MAUI ECONOMIC OPPORTUNITY                                       99 MAHALANI ST                                                                     HI 96793
MAUI ECONOMIC OPPORTUNITY INC.   153 ALAMAHA ST STE D                                                                        KAHULUI               HI 96732‐3417
MAUI ELECTRIC COMPANY                                           210 KAMEHAMEHA AVE.                                                                HI 96732
MAUIGOA SOLI                     5239 W 138TH ST                                                                             HAWTHORNE             CA 90250‐6427
MAUK JESSE                       MAUK, JESSE                    400 SW LONGVIEW BLVD SUITE 280                               LEES SUMMIT           MO 64081

MAUK JESSE                       MAUK, TISHA                    400 SW LONGVIEW BLVD SUITE 280                               LEES SUMMIT          MO 64081

MAUK, DEREK J                    1218 S FIVE LAKES RD                                                                        LAPEER               MI   48446‐9428
MAUK, GARNET W                   1716 LAKE FOREST DR                                                                         HURON                OH   44839‐2286
MAUK, GERALDINE M                407 MONROE ST NW                                                                            RUSSELLVILLE         AL   35653
MAUK, HAROLD D                   105 VISTA CT                                                                                ROSCOMMON            MI   48653‐8371
MAUK, JACK W                     1342 WEST MAIN STREET                                                                       IONIA                MI   48846‐1923
MAUK, JACK W                     2277 MITCHELL LAKE RD                                                                       LUM                  MI   48412
MAUK, JIMMIE E                   2277 MITCHELL LAKE RD                                                                       LUM                  MI   48412‐9325
MAUK, JIMMY L                    5196 STANTON LAKE RD                                                                        ATTICA               MI   48412‐9390
MAUK, KEVIN D                    3910 PRESCOTT ST                                                                            HAMTRAMCK            MI   48212‐3199
MAUK, RONALD                     4315 LAKE AVE                                                                               LOCKPORT             NY   14094‐1180
MAUK, RONALD D                   116 PISGAH RD                                                                               EASLEY               SC   29642‐9596
MAUK, SARA                       447 SYCAMORE LN                                                                             HAINES CITY          FL   33844‐8659
MAUK, SARA                       447 SYCAMORE LANE E.                                                                        HAINES CITY          FL   33844‐8659
MAUK, THOMAS D                   3542 SAVANNA WAY                                                                            PALM SPRINGS         CA   92262
MAUK, THOMAS K                   153 E 6TH ST APT 165                                                                        ERIE                 PA   16501
MAUK, TIMOTHY L                  490 WEST ST                                                                                 MINFORD              OH   45653‐8526
MAUL INVESTMENT CO               ATTN: ROBERT MAUL              1555 S WASHINGTON AVE # 2                                    SAGINAW              MI   48601‐2818
MAUL, BRIAN ROBERT               MOODY EDWARD O                 801 W 4TH ST                                                 LITTLE ROCK          AR   72201‐2107
MAUL, BRIAN ROBERT               C/O EDWARD O MOODY PA          801 WEST 4TH STREET                                          LITTLE ROCK          AR   72201
MAUL, CLARENCE E                 3773 FOUNTAINBLEAU RD                                                                       KEITHVILLE           LA   71047‐6541
MAUL, DONALD W                   161 S NANAGOSA TRL                                                                          SUTTONS BAY          MI   49682‐9558
MAUL, DOUGLAS E                  59032 ROYCROFT ST                                                                           WASHINGTON           MI   48094‐3943
MAUL, GREGORY A                  1101 BLOOR AVE                                                                              FLINT                MI   48507‐4817
MAUL, LILLIAN A                  22753 GARFIELD ST                                                                           SAINT CLAIR SHORES   MI   48082‐1857
MAUL, MARION V                   15479 AIRPORT                                                                               LANSING              MI   48906‐9169
MAUL, MARION V                   15479 S AIRPORT RD                                                                          LANSING              MI   48906‐9169
MAUL, MARJORIE H                 5493 NICHOLS RD                                                                             SWARTZ CREEK         MI   48473‐8524
MAUL, PATRICK B                  7443 SOUTHWICK DR                                                                           DAVISON              MI   48423‐9564
MAUL, PAUL D                     7306 MILLER RD                                                                              SWARTZ CREEK         MI   48473‐1557
MAUL, RICKY J                    6321 COLD SPRING TRL                                                                        GRAND BLANC          MI   48439‐7970
MAUL, STEVEN G                   5104 PINE VIEW DR                                                                           ELMIRA               MI   49730‐9472
MAUL, TERRY L                    2302 9 MILE RD                                                                              KAWKAWLIN            MI   48631‐9794
MAUL, VIRGINIA E                 5180 GREENLEAF DR                                                                           SWARTZ CREEK         MI   48473‐1132
MAULBETSCH JOHN                  90 LLOYDEN DR                                                                               ATHERTON             CA   94027‐3834
MAULDEN, CHERYL A                690 WALNUT WOODS DR                                                                         GREENWOOD            IN   46142‐7574
MAULDEN, JAMES T                 690 WALNUT WOODS DR                                                                         GREENWOOD            IN   46142
MAULDIN DONALD M (661257)        CHILDERS BUCK & SCHLUETER      260 PEACHTREE ST NW STE 1601                                 ATLANTA              GA   30303‐1237
MAULDIN JR, ALBERT               9414 WESTCHESTER DR                                                                         SAINT LOUIS          MO   63136‐5136
MAULDIN JR, ROBERT L             445 SHANNON WAY                                                                             LAWRENCEVILLE        GA   30044‐3799
MAULDIN JUDY                     3602 FOUR TREES DR                                                                          BROCK                TX   76087‐2210
MAULDIN ROBERT C (407565)        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                  NORFOLK              VA   23510
                                                                STREET, SUITE 600
MAULDIN, BOBBIE G                PO BOX 422                                                                                  WELLSTON             OK 74881‐0422
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Name                                 Address1                         Address2                        Address3   Address4         City             State Zip
MAULDIN, DONALD M                    CHILDERS BUCK & SCHLUETER        260 PEACHTREE ST NW STE 1601                                ATLANTA           GA 30303‐1237
MAULDIN, DONALD W                    207 JAMES ST                                                                                 WINDER            GA 30680‐7903
MAULDIN, IRENE                       9330 SPRINGVILLE HIGHWAY                                                                     ONSTED            MI 49265‐8515
MAULDIN, KAYLEAR G                   7055 SARATOGA DR                                                                             FLOWERY BRANCH    GA 30542‐5666
MAULDIN, KEVIN H                     5899 SPRINGCREEK STRINGTOWN RD                                                               PIQUA             OH 45356‐9221
MAULDIN, LEE E                       5142 WOODRUFF PL                                                                             LAS VEGAS         NV 89120‐1646
MAULDIN, MARY L                      PO BOX 422                                                                                   WELLSTON          OK 74881‐0422
MAULDIN, MELANIE R                   2035 WESTRIDGE DR                                                                            ROCK HILL         SC 29732‐9737
MAULDIN, MICHAEL E                   PO BOX 571                                                                                   DALLAS            GA 30132‐0010
MAULDIN, MICHAEL S                   58291 DEERFIELD DR                                                                           WASHINGTN TWP     MI 48094‐3525
MAULDIN, MILTON S                    3809 NIKKI LN                                                                                LOGANVILLE        GA 30052‐4385
MAULDIN, RANDOLPH                    4068 MAIN ST                                                                                 BROWN CITY        MI 48416‐7904
MAULDIN, RANDY C                     823 W HARWOOD RD APT B                                                                       HURST             TX 76054‐3290
MAULDIN, RANDY W                     6116 SHEPHARD RD                                                                             BROWN CITY        MI 48416‐8720
MAULDIN, RANDY WADE                  6116 SHEPHARD RD                                                                             BROWN CITY        MI 48416‐8720
MAULDIN, ROBERT C                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510‐2212
                                                                      STREET, SUITE 600
MAULDIN, ROBERT G                    PO BOX 954                                                                                   DALLAS           GA   30132‐0017
MAULDIN, TAMMY M                     15 HIGHLAND RIDGE LN                                                                         OXFORD           GA   30054‐2911
MAULDIN, THOMAS A                    PO BOX 310                                                                                   RICHFIELD        NC   28137‐0310
MAULDIN, TIMOTHY L                   554 SHANNON WAY                                                                              LAWRENCEVILLE    GA   30044‐6304
MAULDING, MARTHA L                   5267 HIGHWAY 124                                                                             CENTER RIDGE     AR   72027‐8315
MAULDING, RODNEY L                   BOONE ALEXANDRA                  205 LINDA DR                                                DAINGERFIELD     TX   75638‐2107
MAULE FRANKLIN                       7838 E VISTA BONITA DR                                                                       SCOTTSDALE       AZ   85255‐4123
MAULE, HARRY H                       4733 FORREST AVE                                                                             DOVER            DE   19904‐5228
MAULE, HELEN H                       7769 COVERT RD N E                                                                           MANCELONA        MI   49659‐9518
MAULE, MARTHA N                      1170 KNOLLWOOD DR                                                                            SAINT HELEN      MI   48656‐9534
MAULE, THEODORE D                    556 E SHARPSTEEN ST                                                                          SEBEWAING        MI   48759‐1127
MAULE, VERNON M                      1484 W HILL RD                                                                               FLINT            MI   48507‐4729
MAULE, WILLIAM H                     12134 4 MILE RD                                                                              EVART            MI   49631‐8058
MAULER JR, GEORGE R                  PO BOX 604                                                                                   PASADENA         MD   21123‐0604
MAULER, PERRY R                      3603 DORSHIRE CT                                                                             PASADENA         MD   21122‐6457
MAULINI, MARIA                       729 W 50TH PL                                                                                HIALEAH          FL   33012‐3616
MAULL, MILDRED J                     2032 PRESCOTT WAY                                                                            SPRING HILL      TN   37174‐9284
MAULL, MITCHEL                       11818 BENHAM AVE                                                                             CLEVELAND        OH   44105‐1804
MAULLER ROGER (ESTATE OF) (492621)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH   44067
                                                                      PROFESSIONAL BLDG
MAULLER, OPAL L                      2523 S SELBY ST                                                                              MARION           IN   46953‐2956
MAULLER, SUE A                       55 EDGEBROOKE DR APT 4                                                                       SPRINGBORO       OH   45066‐1088
MAULT, ALICE M                       246 BRANCH STREET                                                                            LOCKPORT         NY   14094‐8941
MAULT, BEVERLY KAY                   12 WILMINGTON RD                                                                             CEDARVILLE       OH   45314‐9452
MAULT, DONALD G                      4814 S MANNING RD                                                                            HOLLEY           NY   14470‐9042
MAULT, JOSEPHINE                     5292 REDMAN RD                                                                               BROCKPORT        NY   14420‐9619
MAULT, RUTH E                        698 N RICHARD DR                                                                             XENIA            OH   45385‐2618
MAULT, RUTH E                        698 RICHARD DR                                                                               XENIA            OH   45385‐2618
MAULTSBY III, JOHN D                 112 TERRACE TRL S                                                                            LAKE QUIVIRA     KS   66217‐8511
MAULTSBY JR, ROBERT H                7081 RT 68 N                                                                                 WILMINGTON       OH   45177
MAULTSBY, GWENDOLYN M                109 N 25TH ST                                                                                WILMINGTON       NC   28405‐2942
MAULUCCI, CAROL H                    2207 CENTER TER APT 4                                                                        GRAND ISLAND     NY   14072‐1731
MAUMEE & WESTERN RAILROAD            300 E WALNUT ST                                                                              CORYDON          IN   47112‐1230
MAUMEE BAY RESORT &                  1750 PARK RD # 2                                                                             OREGON           OH   43618
CONFERENCECENTER
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Name                         Address1                               Address2                      Address3   Address4         City                 State Zip
MAUMEE MUNICIPAL COURT       ACCT OF MARK E TOWNSEND
MAUMEE PATTERN CO, THE       1019 HAZELWOOD ST                                                                                TOLEDO               OH    43605‐3248
MAUMEE PATTERN COMPANY       1019 HAZELWOOD ST                                                                                TOLEDO               OH    43605‐3248
MAUMEE RAP                   300 CENTRAL UNION PLAZA                                                                          TOLEDO               OH    43697
MAUMEE TRIM & UPHOLSTERY     1803 BALTIMORE ST                                                                                DEFIANCE             OH    43512‐1913
MAUMEE VALLEY FABRICATORS    4801 BENNETT RD                                                                                  TOLEDO               OH    43612‐2531
MAUMEE VALLEY MACHINERY CO   1609 HENTHORNE DR                                                                                MAUMEE               OH    43537‐1300
MAUMEE VALLEY VENDING CO     C/O UNITED STATES DEBT RECOVERY V LP   940 SOUTHWOOD BL, SUITE 101                               INCLINE VILLAGE      NV    89451

MAUMEE VALLEY VENDING CO     ATTN: CORPORATE OFFICER/AUTHORIZED     RR 6 EAST ON 281                                          DEFIANCE             OH 43512
                             AGENT
MAUN, DALE W                 7825 MULBERRY ROAD                                                                               ODESSA               MO    64076‐5409
MAUN, LAURETTE M             1314 LAKEPOINTE ST                                                                               GROSSE POINTE PARK   MI    48230‐1014
MAUN, NORMA J                524 S 4TH ST                                                                                     ODESSA               MO    64076‐1464
MAUN, NORMA J                524 SOUTH 4TH                                                                                    ODESSA               MO    64076‐1464
MAUNA GEAREN                 8951 E STARWOOD LN                                                                               GREENWOOD            LA    71033‐3381
MAUNA WOODBURY               PO BOX 420233                                                                                    KANARRAVILLE         UT    84742‐0233
MAUND PATRICK (402080)       WILENTZ GOLDMAN & SPITZER              PO BOX 10                                                 WOODBRIDGE           NJ    07095‐0958
MAUND, DONALD C              40 BAYWOOD DR                                                                                    CHEEKTOWAGA          NY    14227‐2666
MAUND, PATRICK               WILENTZ GOLDMAN & SPITZER              PO BOX 10                                                 WOODBRIDGE           NJ    07095‐0958
MAUNELA CAMARGO              2074 CLARKDALE ST                                                                                DETROIT              MI    48209‐3911
MAUNEY, WILLIAM F            800 OATES RD                                                                                     BRIDGEPORT           TX    76426‐5500
MAUNUS JR, PAUL E            925 S MICHIGAN RD                                                                                EATON RAPIDS         MI    48827‐8242
MAUNUS, JAMES I              9995 N ROYSTON RD                                                                                GRAND LEDGE          MI    48837‐9472
MAUNZ, JAMES R               54342 LONGNEEDLE DR                                                                              SHELBY TOWNSHIP      MI    48315‐1442
MAUPIN COX & LEGOY           4785 CAUGHLIN PKWY                                                                               RENO                 NV    89519‐0906
MAUPIN DAVID J (640576)      GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA    23510
                                                                    STREET, SUITE 600
MAUPIN, ANNICE F             6007 BLENDON CHASE DR                                                                            WESTERVILLE          OH    43081‐8663
MAUPIN, ARTHUR R             4943 W 400 S                                                                                     PENDLETON            IN    46064‐9177
MAUPIN, CHARLES M            17106 ROBERT ST                                                                                  SOUTHFIELD           MI    48075‐2916
MAUPIN, CORY CHARLES         16455 OAK HILL DR                                                                                FENTON               MI    48430‐9014
MAUPIN, DAVID A              PO BOX 434                                                                                       BURLINGTON           KY    41005‐0434
MAUPIN, DAVID J              GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA    23510‐2212
                                                                    STREET, SUITE 600
MAUPIN, DAVID L              812 N WASHINGTON ST                                                                              NEVADA               MO    64772‐1459
MAUPIN, DAVID T              792 DRAKESBOROUGH DR                                                                             BOWLING GREEN        KY    42103‐9766
MAUPIN, DAVID TRUMAN         792 DRAKESBOROUGH DR                                                                             BOWLING GREEN        KY    42103‐9766
MAUPIN, DENNIS               3028 SHYRE CIR                                                                                   DAVISON              MI    48423‐8643
MAUPIN, DOROTHY L            2765 W LAWSON RD                                                                                 MARION               IN    46952‐9285
MAUPIN, DOROTHY L            2765 LAWSON ROAD                                                                                 MARION               IN    46952‐9285
MAUPIN, GEORGE C             3906 SUZAN DR                                                                                    ANDERSON             IN    46013‐2633
MAUPIN, J P                  1712 MARS HILL DR                                                                                W CARROLLTON         OH    45449‐3106
MAUPIN, JACQUELINE           8240 GREENVIEW AVE                                                                               DETROIT              MI    48228‐3108
MAUPIN, JAMES D              1108 JONES DRIVE                                                                                 BOWLING GREEN        KY    42104‐3047
MAUPIN, JAMES F              3194 AMSTERDAM DR                                                                                CLIO                 MI    48420
MAUPIN, JOSEPH L             3472 NIXON RD                                                                                    POTTERVILLE          MI    48876‐9730
MAUPIN, LYMON A              PO BOX 3700                                                                                      KANSAS CITY          KS    66103‐0700
MAUPIN, MARION D             10144 DODGE RD                                                                                   MONTROSE             MI    48457‐9009
MAUPIN, MAX E                1823 ROUNDHILL DR                                                                                ANDERSON             IN    46013‐2547
MAUPIN, REX E                PO BOX 44                                                                                        CLIO                 MI    48420‐0044
MAUPIN, REX EARL             PO BOX 44                                                                                        CLIO                 MI    48420‐0044
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Name                     Address1                         Address2            Address3         Address4         City                  State Zip
MAUPIN, ROSE M           3472 NIXON RD                                                                          POTTERVILLE            MI 48876‐9730
MAUPIN, THOMAS A         5615 LINDENWOOD LN                                                                     FAIRFIELD              OH 45014‐3562
MAUPIN, WAYNE D          4528 ELSMERE AVE                                                                       CINCINNATI             OH 45242‐6608
MAUPPIN, LESSIE L.       4031 LINDA LN SW                                                                       LILBURN                GA 30047‐3047
MAUPPIN, LESSIE L.       4031 LINDA LANE                                                                        LILBURN                GA 30047‐3047
MAUR, MILIAN             5634 MEADOWOOD DR                                                                      SPEEDWAY               IN 46224‐3342
MAURA ANN VECENIE        154 RIDGE AVE                                                                          PITTSBURGH             PA 15202
MAURA DODI               VIA C.CANEVA,9 FERRARA
MAURA GATOWSKI           18240 DEVONSHIRE ST                                                                    BEVERLY HILLS         MI   48025‐4018
MAURA K JOHNSTON         29 W FAIRMOUNT AVE                                                                     PONTIAC               MI   48340‐2733
MAURA MCCARTAN           3245 GERTRUDE ST                                                                       DEARBORN              MI   48124‐3719
MAURA, RINO              33441 FRAN CT                                                                          WESTLAND              MI   48185‐2823
MAURA, ROMOLO            44203 DUCHESS DR                                                                       CANTON                MI   48187‐3241
MAURA, ROMOLO            909 8TH AVE SE                                                                         ABERDEEN              SD   57401‐6306
MAURA, ROMOLO            1281 MAPLE LEAF LN                                                                     HOWELL                MI   48843‐8371
MAURADIAN, JOSEPHINE C   7741 WHITTAKER ST                                                                      DETROIT               MI   48209‐1527
MAURADIAN, ROBERT W      1212 MILL ST                                                                           LINCOLN PARK          MI   48146‐2474
MAURAGAS, JOSEPH         29 PROVENCE DR                                                                         MANCHESTER            NJ   08759‐6158
MAURAS, SERGIO
MAURE, GLADYS J          19 VILLAGE DR W                                                                        YARDVILLE             NJ 08620‐1309
MAUREE BUTLER            16 JOE NESTOR RD                                                                       EDGEWOOD              NM 87015‐8026
MAUREEN
MAUREEN A BROYAN         14225 REGINA DR                                                                        ETIWANDA              CA   91739‐5119
MAUREEN A FOSTER         44 BIG RIDGE RD                                                                        SPENCERPORT           NY   14559‐1221
MAUREEN A LIFTON         106 E BEVERLY AVE                                                                      PONTIAC               MI   48340‐2614
MAUREEN A PERREAULT      19 WINGATE DRIVE                                                                       ROCHESTER             NY   14624‐2643
MAUREEN ADAMS            18151 MAYFIELD STREET                                                                  LIVONIA               MI   48152‐4425
MAUREEN AMAN             11851 HADLEY CT                                                                        SHELBY TOWNSHIP       MI   48315‐5715
MAUREEN AUSTIN           801 WHETSTONE CT                                                                       BELLEFONTAINE         OH   43311‐2971
MAUREEN B JOSELSON       534 HERITAGE HILLS               APT B                                                 SOMERS                NY   10589
MAUREEN BAILEY           4037 E 50TH ST                                                                         MOUNT MORRIS          MI   48458‐9436
MAUREEN BARNES           1954 200TH AVE                                                                         MORLEY                MI   49336‐9437
MAUREEN BARTHELEMY       3215 SPRINGDALE DR                                                                     KOKOMO                IN   46902‐9550
MAUREEN BERNDTSON        1200 N OXFORD RD                                                                       GROSSE POINTE WOODS   MI   48236‐1854
MAUREEN BICKFORD         180 OVERLAND RDG                 APT 198                                               WALTON                KY   41094‐7254
MAUREEN BITTINGER        4069 RAY RD                                                                            GRAND BLANC           MI   48439‐9309
MAUREEN BJUR             608 HILLCREST ST                                                                       HARRISON              MI   48625‐9188
MAUREEN BLAKE‐GREGORY    280 OLD MILL RD                                                                        MIDDLEVILLE           MI   49333‐9194
MAUREEN BOSLEY           1842 W MICHIGAN AVE                                                                    SAGINAW               MI   48602‐1137
MAUREEN BRADBURY         3324 MERRILL AVE                                                                       ROYAL OAK             MI   48073‐6815
MAUREEN BRADFORD         25000 AVON CT                                                                          NOVI                  MI   48374‐3165
MAUREEN BROYAN           14225 REGINA DR                                                                        ETIWANDA              CA   91739‐5119
MAUREEN BURNS            2209 UTOPIAN DR E APT 203                                                              CLEARWATER            FL   33763‐4260
MAUREEN BUTTA            731 CAMINO DRIVE                                                                       EASTLAKE              OH   44095‐2266
MAUREEN C MORGAN         141 THORNBERRY DR                                                                      PITTSBURGH            PA   15235
MAUREEN CAREY            2815 WHISPERING FERN CT                                                                KINGWOOD              TX   77345‐2228
MAUREEN CARTER           18 BRIARWOOD RD                                                                        BRISTOL               CT   06010‐7205
MAUREEN CATRON           PO BOX 672                                                                             NEW CASTLE            IN   47362‐0672
MAUREEN CAVANAUGH        5750 WHETHERSFIELD LN APT 4D                                                           BLOOMFIELD            MI   48301‐1825
MAUREEN CHRISTIE         1717 S ARMSTRONG ST                                                                    KOKOMO                IN   46902‐2033
MAUREEN COE              917 WOODMERE DR                                                                        BROADVIEW HTS         OH   44147‐1617
MAUREEN COLO             24223 CUNNINGHAM AVE                                                                   WARREN                MI   48091‐1720
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Name                        Address1                       Address2            Address3         Address4         City              State Zip
MAUREEN CRAWFORD            143 LEWIS DR                                                                         MOORESVILLE        IN 46158‐8383
MAUREEN D KATZ              2061 BLUE SPRINGS ROAD                                                               WEST PALM BEACH    FL 33411
MAUREEN D WILLIAMS          9973 YENSCH RD                                                                       MAYBEE             MI 48159‐9756
MAUREEN DAUGHERTY           205 WINTHROPE DR                                                                     WOODSTOCK          GA 30188‐7899
MAUREEN DECKARD             1206 OAK CANYON LN                                                                   RICHMOND           TX 77469‐6125
MAUREEN DEMIJOHN            8245 COLDBROOK DR                                                                    SAGINAW            MI 48609‐4865
MAUREEN E WALDRON           3141 US HIGHWAY 11 S                                                                 ATTALLA            AL 35954‐5811
MAUREEN FILES               3031 43RD AVE                                                                        MERIDIAN           MS 39307‐4319
MAUREEN FLANAGAN            44 ROSALIE AVE                                                                       LINCROFT           NJ 07738‐1323
MAUREEN FOLEY               23544 LONDONDERRY                                                                    NOVI               MI 48375‐3627
MAUREEN FOLEY‐GARDNER       7501 WYNGATE DR                                                                      CLARKSTON          MI 48348‐4771
MAUREEN FUCHS               511 WILSON AVE                                                                       JANESVILLE         WI 53548‐5126
MAUREEN G KOBACK            427 N MAIN ST                                                                        WOONSOCKET          RI 02895‐1133
MAUREEN G KOBACK            195 SUNNYSIDE AVE                                                                    WOONSOCKET          RI 02895‐5105
MAUREEN GASPER              189 HILLSIDE AVE                                                                     ROANOKE            IN 46783‐8832
MAUREEN GEORGE              7475 COUNTRY MEADOW DR                                                               SWARTZ CREEK       MI 48473‐1400
MAUREEN GIRARD              22806 PORT ST                                                                        ST CLAIR SHRS      MI 48082‐2483
MAUREEN GLEMBOSKI           6966 DEER COVE DR SE                                                                 CALEDONIA          MI 49316‐7758
MAUREEN GLICK               103 LAKE SHORE DR                                                                    MONTICELLO         NY 12701‐4006
MAUREEN GOMMER              904 FOX RD                                                                           PORTERSVILLE       PA 16051‐5714
MAUREEN GRAY                8025 ALLISON AVE                                                                     DAYTON             OH 45415‐2206
MAUREEN HAERTERICH          2019 W BURBANK AVE                                                                   JANESVILLE         WI 53546‐5961
MAUREEN HAFF                224 BERKELEY RD                                                                      GLENSIDE           PA 19038‐3304
MAUREEN HARRIS              3101 W MOORE RD                                                                      MUNCIE             IN 47304‐5734
MAUREEN HORTON              720 CHERRY HILL CT                                                                   COLUMBIAVILLE      MI 48421‐9704
MAUREEN HORTON              6558 HELEN ST                                                                        DETROIT            MI 48211‐2474
MAUREEN J COE               917 WOODMERE DR                                                                      BROADVIEW HTS      OH 44147‐1617
MAUREEN J KIRKSEY           332 E. LUCIUS AVE                                                                    YOUNGSTOWN         OH 44507
MAUREEN JOHNSON             977 N HILL RD                                                                        BALTIMORE          MD 21218‐1342
MAUREEN JONES               6130 OTTO AVE                                                                        SAINT LOUIS        MO 63120‐1317
MAUREEN JONES               18823 SHREWSBURY DR                                                                  LIVONIA            MI 48152‐3392
MAUREEN K HARRIS            3101 W MOORE RD                                                                      MUNCIE             IN 47304‐5734
MAUREEN KAVANAUGH           12584 SPRING VIOLET PL                                                               CARMEL             IN 46033‐9143
MAUREEN KELLY               9229 CLIO ST                   APT 5                                                 CLIO               MI 48420
MAUREEN KENNEY              9350 POLK ST                                                                         TAYLOR             MI 48180‐3864
MAUREEN KIMMERLY            978 W GENESEE ST                                                                     FRANKENMUTH        MI 48734‐1346
MAUREEN KOBACK              427 N MAIN ST                                                                        WOONSOCKET          RI 02895‐1133
MAUREEN KUNEY               208 CATHERINE ST                                                                     BUCHANAN           NY 10511‐1526
MAUREEN KVAPIL‐FLADHAMMER   4707 SUMPTER DR                                                                      MILTON             WI 53563‐8420
MAUREEN L. MILES
MAUREEN LEMASTER            502 OAK GROVE DR                                                                     LAKE ORION        MI   48362‐1878
MAUREEN LINDSAY             2549 GREY ROCK LN                                                                    KOKOMO            IN   46902‐7314
MAUREEN LOSEY               PO BOX 337                                                                           OLD FORGE         NY   13420‐0337
MAUREEN LUCAS               724 FRINGED ORCHID TRL                                                               VENICE            FL   34293‐7258
MAUREEN LUSSIER             3800 GARDEN LAKES ESTATES DR                                                         BRADENTON         FL   34203‐7300
MAUREEN M ARRIOLA           1154 N SILVERY LANE                                                                  DEARBORN          MI   48128
MAUREEN M DAVIDSON          523 E LIBERTY                                                                        GIRARD            OH   44420‐2307
MAUREEN M MINION            53 WARWICK RD                                                                        ROCKVILLE CTR     NY   11570‐1341
MAUREEN M PRICE             1438 VANESSA CIRCLE                                                                  ENCINITAS         CA   92024
MAUREEN M TERENA            1 BIRCHWOOD DRIVE                                                                    SCOTTSVILLE       NY   14546‐1103
MAUREEN M TOUREAU           2139 AVALON CIR                                                                      BAY CITY          MI   48708‐7621
MAUREEN MANNING             1380 WEST 112 ST ‐ APT 103B                                                          CLEVELAND         OH   44102
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Name                   Address1                       Address2            Address3         Address4         City                 State Zip
MAUREEN MANOGUE        5070 WALNUT GROVE RD                                                                 MILTON                WI 53563‐8405
MAUREEN MARTIN         359 1/2 STATE PARK DR                                                                BAY CITY              MI 48706‐1339
MAUREEN MC GARTLAND    8690 SE 155TH PL                                                                     SUMMERFIELD           FL 34491‐4344
MAUREEN MCCABE         20498 ABRAHM ST                                                                      CLINTON TOWNSHIP      MI 48035‐3434
MAUREEN MCGILLIS       12348 PARKLANE ST                                                                    MOUNT MORRIS          MI 48458‐1438
MAUREEN MCKAY          4830 SEBRING                                                                         WHITE LAKE            MI 48383
MAUREEN MCMINN         6780 VINTAGE DRIVE                                                                   HUDSONVILLE           MI 49426‐9211
MAUREEN MCNEIL         46 LAKEVIEW DR                                                                       GRAFTON               OH 44044‐1528
MAUREEN MEAD           44 PIPING ROCK DRIVE                                                                 WATERBURY             CT 06706
MAUREEN MELLOM         415 WINNEBAGO DR                                                                     JANESVILLE            WI 53545‐4338
MAUREEN MICELI         26335 CAMPAU LN                                                                      HARRISON TWP          MI 48045‐2436
MAUREEN MIDGLEY        1528 STONY CREEK DR                                                                  ROCHESTER             MI 48307‐1780
MAUREEN MILES          1010 W MANSUR AVE                                                                    GUTHRIE               OK 73044‐2722
MAUREEN MILLER         7485 FALLING LEAF CT                                                                 FLUSHING              MI 48433‐2255
MAUREEN MILLER         6412 MICHELLE DR                                                                     LOCKPORT              NY 14094‐1135
MAUREEN MOBLEY         1068 IRWIN DR                                                                        WATERFORD             MI 48327‐2017
MAUREEN MOORE          5981 NTH 24TH ST.                                                                    KALAMAZOO             MI 49004
MAUREEN MORRILL        2227 MARSTON DR                                                                      WATERFORD             MI 48327‐1143
MAUREEN MROZEK         38624 COURTLAND DR                                                                   WILLOUGHBY            OH 44094‐7506
MAUREEN MUELLER        4261 BLAIN ISLAND RD                                                                 WATERFORD             MI 48329‐1101
MAUREEN MURRY          7536 ANGLING RD                                                                      PORTAGE               MI 49024‐4083
MAUREEN NEUENS         22300 OCONNOR ST APT 12                                                              SAINT CLAIR SHORES    MI 48080‐2158
MAUREEN NIEMIEC        14241 MIDDLEBURY CT                                                                  SHELBY TOWNSHIP       MI 48315‐2801
MAUREEN NOEL           2401 GOLDEN AVE                                                                      LONG BEACH            CA 90806‐2920
MAUREEN OBERC          17397 BROOKVIEW DR                                                                   LIVONIA               MI 48152‐4539
MAUREEN OGLE           6808 TIMMONS DR                                                                      WINDSOR HEIGHTS        IA 50322‐5815
MAUREEN OHARA          34 TALL TIMBER DR                                                                    BRICK                 NJ 08723‐5668
MAUREEN P ALTENO       1926 BRANDON AVE                                                                     POLAND                OH 44514
MAUREEN P CAVANAUGH    5750 WHETHERSFIELD LN APT 4D                                                         BLOOMFIELD            MI 48301‐1825
MAUREEN PATTERSON      1308 PATTERSON ST                                                                    MCKEESPORT            PA 15132‐5503
MAUREEN PELACHYK       8558 SHELBY WOODS DR                                                                 SHELBY TOWNSHIP       MI 48317‐2549
MAUREEN PERREAULT      19 WINGATE DR                                                                        ROCHESTER             NY 14624‐2643
MAUREEN PINTER         12890 WARD ST                                                                        SOUTHGATE             MI 48195‐1057
MAUREEN POTTER         610 WARNER DR                                                                        LINDEN                MI 48451‐9791
MAUREEN R DURKIN       49 CRUMLIN                                                                           GIRARD                OH 44420‐2916
MAUREEN REID
MAUREEN REYNOLDS       4699 EASTER ST                                                                       PACE                 FL   32571‐1535
MAUREEN RIDER          67 EMBASSY SQUARE                                                                    TONAWANDA            NY   14150‐6968
MAUREEN RIGNEY         7875 PETERS PIKE                                                                     DAYTON               OH   45414‐1762
MAUREEN ROARK          8240 SAINT MARK DR                                                                   BROOKSVILLE          FL   34601‐2741
MAUREEN ROBINSON       5603 MEADOW VIEW DR                                                                  BAY CITY             MI   48706‐5641
MAUREEN ROBINSON       2227 W GEIPE RD                                                                      CATONSVILLE          MD   21228‐4764
MAUREEN ROMAN          5612 GROVELAND TER                                                                   MADISON              WI   53716‐3635
MAUREEN ROMNEY         6616 PALO VERDE PL                                                                   RANCHO CUCAMONGA     CA   91739‐1567
MAUREEN ROTH           6887 VAIL CT                                                                         CLARKSTON            MI   48348‐4955
MAUREEN SCHAEFER       1479 MAGELLAN CIR                                                                    ORLANDO              FL   32818‐6738
MAUREEN SCHAUBERT      116 TIOGA DRIVE                                                                      ROCHESTER            NY   14616‐2210
MAUREEN SCHRECENGOST   4062 DEVON DR SE                                                                     WARREN               OH   44484
MAUREEN SHOVAN         679 MAPLE VISTA ST                                                                   IMLAY CITY           MI   48444‐1472
MAUREEN SMITH          6690 RIVER DOWNS DR            APT 2D                                                DAYTON               OH   45459‐8216
MAUREEN SONSTROM       260 FERN HILL RD                                                                     BRISTOL              CT   06010‐3116
MAUREEN SPURLOCK       510 CONTINENTAL DR                                                                   NASHVILLE            TN   37209‐2708
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Name                        Address1                         Address2                        Address3   Address4         City                State Zip
MAUREEN STEFANCIN           311 DOROTHY LOUISE DR                                                                        JEANNETTE            PA 15644
MAUREEN TACEY               507 BORTON AVE                                                                               ESSEXVILLE           MI 48732‐1117
MAUREEN TAMAS               1868 WENTWORTH DR                                                                            CANTON               MI 48188‐3093
MAUREEN TAYLOR              12420 CANTERBURY DR                                                                          WARREN               MI 48093‐1887
MAUREEN THOMPSON            145 MEYERS ST                                                                                EDWARDSVILLE         PA 18704
MAUREEN TOMLINSON           8 ROBIN CIR APT 6                                                                            NORTON               MA 02766‐2240
MAUREEN TOPPINS             7130 FLEMING RD                                                                              NEW CHURCH           VA 23415‐2443
MAUREEN TOUREAU             2139 AVALON CIR                                                                              BAY CITY             MI 48708‐7621
MAUREEN V MCGRAW            1365 MAHAN DENMAN RD                                                                         NORTH BLOOMFIELD     OH 44450
MAUREEN VERCHICK            1 ARCADE LANE                    STRATFORD APTS BLDG 17 APT 1                                OLD BRIDGE           NJ 08857
MAUREEN WEBER               4955 WHITLOW CT                                                                              COMMERCE TOWNSHIP    MI 48382‐2642
MAUREEN WHEELER             9802 E KILKENNY DR                                                                           BRIGHTON             MI 48116‐6236
MAUREEN WILLIAMS            PO BOX 592                                                                                   NEW BOSTON           MI 48164‐0592
MAUREEN WILLIAMS            9973 YENSCH RD                                                                               MAYBEE               MI 48159‐9756
MAUREEN YOUNG               PO BOX 81547                                                                                 ROCHESTER            MI 48308‐1547
MAUREENE OWEN               3500 MULBERRY RD                                                                             DAYTON               OH 45414‐1512
MAUREL TURPIN               305 EXTENSION ST                                                                             WORTHINGTON          IN 47471‐1715
MAUREL WALKER               1707 TIMBERLANE DR                                                                           FLINT                MI 48507‐1408
MAURENE ROBINSON            803 LESTER HARRIS ROAD                                                                       JOHNSON CITY         TN 37601‐3433
MAURER BILL                 307 STATE STREET                                                                             CULVER               IN 46511‐1141
MAURER DENNIS JR            44 HENDEL ST                                                                                 READING              PA 19607‐2408
MAURER JR, NORMAN J         4219 4 MILE RD                                                                               BAY CITY             MI 48706‐9291
MAURER RICHARD D (493984)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA 23510
                                                             STREET, SUITE 600
MAURER SCOTT (446139)       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                             PROFESSIONAL BLDG
MAURER TIRE                 13505 S MUR LEN RD STE 116                                                                   OLATHE              KS   66062‐1600
MAURER TIRE COMPANY         15187 W 119TH ST                                                                             OLATHE              KS   66062‐5291
MAURER, ANDREW S            15734 246TH ST                                                                               LAWRENCE            KS   66044‐7141
MAURER, ANDREW SCOTT        15734 246TH ST                                                                               LAWRENCE            KS   66044‐7141
MAURER, BARBARA A           10190 ABERDEEN DR                                                                            GRAND BLANC         MI   48439‐9574
MAURER, BARBARA M           208 JOSEPH DR                                                                                TONAWANDA           NY   14150‐6267
MAURER, BEATRICE            7457 N CENTER RD                                                                             MOUNT MORRIS        MI   48458‐8723
MAURER, BERNARD G           7761 BURT HWY                                                                                LANSING             MI   48917‐9642
MAURER, BRENT J             2034 SO ELEVEN MILE RD                                                                       AUBURN              MI   48611
MAURER, BRENT M             6130 CRITTENDEN AVE                                                                          INDIANAPOLIS        IN   46220‐2306
MAURER, CATHERINE J         5235 HUGHES RD                                                                               LANSING             MI   48911‐3504
MAURER, CHARLES D           8960 STATE ROUTE 722                                                                         ARCANUM             OH   45304‐9436
MAURER, CHARLES E           1707 GREEN ST                                                                                MANITOWOC           WI   54220‐6138
MAURER, CHERYL ANN          29477 CHERRY HILL RD APT 420                                                                 INKSTER             MI   48141‐1075
MAURER, CHRISTINE O         3215 SERENITY RD                                                                             OAKLAND             MI   48363‐2741
MAURER, CRISANN             WELCH AND WELCH                  175 S C ST FL 2                                             TUSTIN              CA   92780‐3675
MAURER, DANIEL J            6169 THORNCLIFF DR                                                                           SWARTZ CREEK        MI   48473‐8820
MAURER, DANIEL J            45679 IRVINE DR                                                                              NOVI                MI   48374‐3777
MAURER, DAVID J             215 N PALM ST                                                                                JANESVILLE          WI   53548‐3595
MAURER, DAVID J             3891 MACDUFF RD                                                                              OAKLAND             MI   48363‐1701
MAURER, DAVID JOHN          3891 MACDUFF RD                                                                              OAKLAND             MI   48363‐1701
MAURER, DONALD J            6080 E HOLLAND RD                                                                            SAGINAW             MI   48601‐9410
MAURER, DONALD JOHN         6080 E HOLLAND RD                                                                            SAGINAW             MI   48601‐9410
MAURER, DONALD L            13 ABBINGTON DR NW                                                                           WARREN              OH   44481‐9002
MAURER, EARL T              RT #1 M33 N                                                                                  COMINS              MI   48619
MAURER, EMILIE P            40 CLARENCE HARDER DRIVE                                                                     TONAWANDA           NY   14150‐5309
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Name                        Address1                          Address2                      Address3   Address4         City           State Zip
MAURER, GERALD L            1093 BROOKS RD                                                                              HASTINGS        MI 49058‐9121
MAURER, HARMON G            112 PRINCETON RD                                                                            LINDEN          NJ 07036‐3809
MAURER, IRENE S             7857 TIMBERS EDGE                                                                           WATERVILLE      OH 43566‐9458
MAURER, J D                 9002 S NORRIS RD                                                                            DE WITT         MI 48820‐8502
MAURER, JAMES A             11085 N EVERGREEN DR                                                                        BIRCH RUN       MI 48415‐9712
MAURER, JAMES A             PO BOX 217                                                                                  CORUNNA         MI 48817‐0217
MAURER, JAMES C             7170 OAK HWY                                                                                CHARLOTTE       MI 48813‐9341
MAURER, JAMES CHRISTOPHER   7170 OAK HWY                                                                                CHARLOTTE       MI 48813‐9341
MAURER, JAMES E             50 PHEASANT GLN                                                                             COLLINSVILLE     IL 62234‐5817
MAURER, JAMES L             304 GREEN AVE                                                                               BAY CITY        MI 48708‐6887
MAURER, JANE L              9639 BRUNSWICK DR                                                                           BRENTWOOD       TN 37027‐8464
MAURER, JEANETTE G          8277 ALPINE AVE                                                                             SPARTA          MI 49345‐9413
MAURER, JIM M               526 PARK ST                                                                                 HARRISON        MI 48625‐9222
MAURER, JOHN F              3406 N ROYAL OAK DR                                                                         MUNCIE          IN 47304‐2029
MAURER, JOHN L              145 ELMRIDGE RD                                                                             MANSFIELD       OH 44907‐2422
MAURER, JOSEPH J            2127 S BRISTOL DR                                                                           MARBLEHEAD      OH 43440‐9593
MAURER, JULIA               MILLER LAW FIRM PC                950 W UNIVERSITY DR STE 300                               ROCHESTER       MI 48307‐1887
MAURER, KARL                WISE & JULIAN                     156 N MAIN ST STOP 1                                      EDWARDSVILLE     IL 62025‐1972
MAURER, KATHLEEN N          11607 CANTERBURY DR                                                                         STERLING HTS    MI 48312‐3018
MAURER, KENNETH A           13446 PERRY CIR                                                                             WARREN          MI 48088‐6934
MAURER, KENNETH E           1623 N 29TH ST                                                                              SOUTH BEND      IN 46635‐1902
MAURER, LAURA A             771 WREN RD                                                                                 FRANKENMUTH     MI 48734‐9300
MAURER, LAWRENCE P          6338 POTTER RD                                                                              BURTON          MI 48509‐1389
MAURER, LINDA W             13 ABBINGTON DR NW                                                                          WARREN          OH 44481‐9002
MAURER, LINDSAY             1327 DEER RUN RD                                                                            HATFIELD        PA 19440‐3243
MAURER, LOIS                1255 MAIN RD                                                                                CORFU           NY 14036‐9756
MAURER, LOIS                1255 MAIN ROAD                                                                              CORFU           NY 14036‐9756
MAURER, LYDIA I             28811 JAMISON ST                  APT 214A                                                  LIVONIA         MI 48154
MAURER, LYDIA I             28811 JAMISON ST APT 214A                                                                   LIVONIA         MI 48154‐4081
MAURER, M G                 2513 VILILLY CIR E                                                                          GROVE CITY      OH 43123‐8896
MAURER, MICHAEL J           928 GRENOBLE DR UNIT B                                                                      LANSING         MI 48917‐3929
MAURER, MICHAEL L           387 DIVISION ST                                                                             VASSAR          MI 48768‐1246
MAURER, RALPH W             3961 PARDEE AVE                                                                             DEARBORN HTS    MI 48125‐2407
MAURER, RHEA M              45837 RIVIERA DRQ                                                                           NORTHVILLE      MI 48168‐8485
MAURER, RHONDA G            9295 HOLLAND RD                                                                             TAYLOR          MI 48180‐3057
MAURER, RICHARD D           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                              STREET, SUITE 600
MAURER, RICHARD E           1637 HEWES AVE                                                                              LINWOOD        PA   19061‐4218
MAURER, RICHARD I           9174 S LAKE RD                                                                              CORFU          NY   14036‐9578
MAURER, RICHARD T           1710 DUBLIN CT                                                                              SPRING HILL    TN   37174‐9506
MAURER, ROBERT              5836 E SAINT JOHN RD                                                                        SCOTTSDALE     AZ   85254‐5949
MAURER, ROBERT              5836 E ST JOHN ROAD                                                                         SCOTTSDALE     AZ   85254‐5949
MAURER, ROBERT L            866 DEAN DR NW                                                                              GEORGETOWN     TN   37336‐5005
MAURER, ROGER W             11607 CANTERBURY DR                                                                         STERLING HTS   MI   48312‐3018
MAURER, RONALD E            771 WREN RD                                                                                 FRANKENMUTH    MI   48734‐9300
MAURER, RUSSELL G           280A SERVICE CREEK RD                                                                       ALIQUIPPA      PA   15001‐5710
MAURER, SANDRA L            7258 NORMAN RD                                                                              N TONAWANDA    NY   14120‐1411
MAURER, SHERRIE L           609 OGDEN AVE                                                                               TOLEDO         OH   43609‐2941
MAURER, SHERRIE LYNN        609 OGDEN AVE                                                                               TOLEDO         OH   43609‐2941
MAURER, SHIRLEY J           1465 EAST DECAMP STREET                                                                     BURTON         MI   48529‐1266
MAURER, SHIRLEY J           1465 E DECAMP ST                                                                            BURTON         MI   48529‐1256
MAURER, STEVEN M            3146 FARMERS CREEK RD                                                                       METAMORA       MI   48455‐9679
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Name                                 Address1                         Address2                     Address3             Address4                City            State Zip
MAURER, TERRENCE E                   16716 24TH AVE                                                                                             COOPERSVILLE     MI 49404‐9643
MAURER, THOMAS E                     7754 QUAIL RUN EAST SE                                                                                     GRAND RAPIDS     MI 49508‐7287
MAURER, THOMAS E                     5374 RED HAWK LN                                                                                           GREENWOOD        IN 46142‐7719
MAURER, THOMAS O                     4318 BARDSHAR RD                                                                                           CASTALIA         OH 44824‐9471
MAURER, TIMOTHY J                    741 BENDING BRK                                                                                            FLUSHING         MI 48433‐3018
MAURER, VICKIE L                     312 N OAK ST APT 302                                                                                       DURANO           MI 48429‐1288
MAURER, WALTER                       35 S SUMMIT                                                                                                YPSILANTI        MI 48197
MAURER, WILLIAM D                    1515 BALSAM AVE                                                                                            SAINT HELEN      MI 48656‐9556
MAURER, WILLIAM R                    1210 EAST AVE                                                                                              HARRISON         MI 48625‐8828
MAURER, WILMA                        58265 CULPEPPER                                                                                            WASHINGTON       MI 48094‐3644
MAURER,CHARLES D                     8960 STATE ROUTE 722                                                                                       ARCANUM          OH 45304‐9436
MAURETTE FIELDING                    9442 HORTON RD                                                                                             GOODRICH         MI 48438‐9419
MAUREY, DONALD L                     1 HICKORY HL                                                                                               HOLLIDAYSBURG    PA 16648‐9728
MAUREY, F ELIZABETH                  301 E RIDGE ST                                                                                             BRAZIL           IN 47834
MAUREY, F ELIZABETH                  301 EAST RIDGE STREET                                                                                      BRAZIL           IN 47834‐3263
MAURI MARCO                          C/O LA SCALA                     STUDIO LEGALE E TRIBUTARIO   CORSO MAGENTA N 42   20123 MILANO ITALY
MAURI, CELIA                         4208 W 56TH ST                                                                                             CLEVELAND       OH   44144‐1848
MAURIAT MIRANDA                      3191 OTTER CREEK CT                                                                                        ANN ARBOR       MI   48105‐9268
MAURIC, CHARLES J                    PO BOX 975                                                                                                 OAK ISLAND      NC   28465‐9820
MAURIC, FRANCES                      # 212                            1 GATEWAY                                                                 CLEVELAND       OH   44119‐2447
MAURICE                              MAURICE LIVELY                   PO BOX 1462                                                               SALISBURY       MD   21802‐1462
MAURICE                              MAURICE                          35 LONGCREEK DR                                                           COVINGTON       GA   30016‐7725
MAURICE A CLARK                      2164 CANFIELD RD                                                                                           YOUNGSTOWN      OH   44511
MAURICE A HUGHES & MARIAN C HUGHES   1255 N GULFSTREAM AVE #807                                                                                 SARASOTA        FL   34236

MAURICE A RICHARDSON                 1235 CHARLES AVE                                                                                           FLINT           MI   48505‐1678
MAURICE AARON                        4605 PUMPKIN LEAF DR                                                                                       KOKOMO          IN   46902‐2820
MAURICE ACKER                        410 CARRIER ST                                                                                             LANSING         MI   48906‐3025
MAURICE ALEXANDER                    11781 FERDEN RD                                                                                            CHESANING       MI   48616‐9594
MAURICE ALEXANDER                    13583 WINDMOOR DR                                                                                          SOUTH LYON      MI   48178‐8145
MAURICE ALJADAH                      23787 WINTERGREEN CIR                                                                                      NOVI            MI   48374‐3680
MAURICE ALUFMAN                      10926 PIPING ROCK LN                                                                                       HOUSTON         TX   77042‐2728
MAURICE ANDERSON                     3710 OAK VALLEY AVE SW                                                                                     WYOMING         MI   49519‐3752
MAURICE ANDERSON                     3039 ADAMS ST                                                                                              INDIANAPOLIS    IN   46218‐2117
MAURICE ANDREWS                      62000 LAKE FOREST DR                                                                                       GRAND BLANC     MI   48439
MAURICE ANTHONY ROSE                 111‐1973 JASMINE CRES APT. 111                                                     GLOUCESTER ON K1J 7Z5
                                                                                                                        CANADA
MAURICE ANTHONY ROSE
MAURICE ARMSTRONG JR                 PO BOX 1411                                                                                                NOVI            MI   48376‐1411
MAURICE B CHAMBERS                   901 PALLISTER ST APT 704                                                                                   DETROIT         MI   48202‐2681
MAURICE B SHUMPERT JR.               3209 SHAWNEE AVE                                                                                           FLINT           MI   48507‐1935
MAURICE BACON                        MOTLEY RICE LLC                  28 BRIDGESIDE BLVD           PO BOX 1792                                  MT PLEASANT     SC   29465
MAURICE BAISIEUX                     RO▀BACHSTR.4                     COLOGNE
MAURICE BAISIEUX                     ROSSBACHSTR.4                    50737 COLOGNE
MAURICE BAKER                        25 BEACH RD                                                                                                NEW HARTFORD    CT   06057‐4248
MAURICE BALDONI                      404 QUEEN MARYS CT                                                                                         FRANKLIN        TN   37064‐2968
MAURICE BALES                        5510 TURKEY TRACK RD                                                                                       MARTINSVILLE    IN   46151‐8797
MAURICE BASS                         6116 KIMBALL AVE                                                                                           KANSAS CITY     KS   66104‐1936
MAURICE BATES                        1304 SODOM HUTCHINGS RD SE                                                                                 VIENNA          OH   44473‐9666
MAURICE BATES                        8103 KNODELL ST                                                                                            DETROIT         MI   48213‐1040
MAURICE BATTLES                      2709 DONALEE ST                                                                                            FORT WORTH      TX   76105‐4121
MAURICE BELANGER                     4590 W BURT LAKE RD                                                                                        BRUTUS          MI   49716‐9543
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Name                   Address1                       Address2            Address3         Address4                City               State Zip
MAURICE BELL           5469 SCOTT CT                                                                               YPSILANTI           MI 48197‐6775
MAURICE BENSON         14561 HILLSDALE RD                                                                          CAMDEN              MI 49232‐9536
MAURICE BERUBE         84 VINEYARD ST                                                                              WOONSOCKET           RI 02895‐4869
MAURICE BILODEAU       11177 MAIN RD                                                                               FENTON              MI 48430‐9717
MAURICE BLACKBURN JR   100 AUTUMN LN                                                                               ROSCOMMON           MI 48653‐8149
MAURICE BOBO           1791 HICKORY BARK LN                                                                        BLOOMFIELD HILLS    MI 48304‐1166
MAURICE BOUSMAN        2530 E 450 N                                                                                ANDERSON            IN 46012‐9518
MAURICE BRANSON        120 3RD ST                                                                                  SHELBYVILLE         IN 46176‐2547
MAURICE BRATCHER       12708 AVOCET DR                                                                             CARMEL              IN 46033‐8383
MAURICE BRATCHER       540 CHAPEL HILL WEST DR                                                                     INDIANAPOLIS        IN 46214‐3602
MAURICE BRICKEY        LINCOLN VILLAGE APT            650 HARRISON BLVD                                            LINCOLN PARK        MI 48146
MAURICE BRUBAKER       1874 S WAYNESVILLE RD                                                                       LEBANON             OH 45036‐8946
MAURICE BURTON         6420 THISTLE DR                                                                             INDIANAPOLIS        IN 46224‐2041
MAURICE C NAPIER SR    14903 TRACEY ST                                                                             DETROIT             MI 48227‐3272
MAURICE C TRENT        3055 FREEPORT RD                                                                            NATRONA HT          PA 15065‐1950
MAURICE C WILLIAMS     599 CALDER AVE                                                                              YPSILANTI           MI 48198‐6189
MAURICE CASH           655 STATE ST                                                                                HARBOR BEACH        MI 48441‐1232
MAURICE CAUDILL        PO BOX 1293                                                                                 GREENWOOD           IN 46142‐0575
MAURICE CHARLEBOIS     PO BOX 386                                                                                  BRASHER FALLS       NY 13613‐0386
MAURICE CHARNESKY      5600 CELESTIAL CT                                                                           SHELBY TOWNSHIP     MI 48316‐1712
MAURICE CHATFIELD      23323 WESTCHESTER DR                                                                        NORTH OLMSTED       OH 44070‐1427
MAURICE CHEASTY        7097 OLD ENGLISH RD                                                                         LOCKPORT            NY 14094‐5409
MAURICE CHENEVERT      13225 101ST ST LOT 445                                                                      LARGO               FL 33773‐5631
MAURICE CHILDRESS      8210 N MAIN SST # CEDAR                                                                     DAYTON              OH 45415‐1641
MAURICE CHILDRESS      8212 N MAIN ST                 CEDAR #4                                                     DAYTON              OH 45415‐1641
MAURICE CLARK          2209 E PRESTON ST                                                                           BALTIMORE           MD 21213‐3417
MAURICE CLARKE         9936 OAK ST                                                                                 MICCO               FL 32976‐3115
MAURICE CLIFTON        1231 MILL CREEK RD                                                                          FLINT               MI 48532‐2348
MAURICE COLLINS        3078 SKANDER DR                                                                             FLINT               MI 48504‐1243
MAURICE COTTON         23041 RAVEN AVE                                                                             EASTPOINTE          MI 48021‐2040
MAURICE COUSIN         514 MURRAY HILL DR                                                                          YOUNGSTOWN          OH 44505‐1564
MAURICE CROSBY         7601 BLANDING DR                                                                            SAINT LOUIS         MO 63135‐3411
MAURICE CURTIS         5508 BURLESON OAKS DR                                                                       BURLESON            TX 76028‐1830
MAURICE D ADAMS        2200 FLICKER DR                APT 163                                                      HEBRON              KY 41048‐7165
MAURICE D BRUBAKER     1874 SOUTH WAYNESVILLE RD                                                                   LEBANON             OH 45036‐8946
MAURICE D MARR
MAURICE D MITCHELL     445 POST AVE 14                                                                             ROCHESTER          NY   14619
MAURICE DAVIS          6525 STILLCREST WAY                                                                         DAYTON             OH   45414‐5909
MAURICE DAVIS          649 KENNEDY AVE                                                                             YPSILANTI          MI   48198‐8028
MAURICE DAVISON        419 CUSTER ST                                                                               DETROIT            MI   48202‐3109
MAURICE DENNIS         525 BOWIE DR                                                                                DAYTON             OH   45408‐1102
MAURICE DENNIS         525 BOWIE DR                                                                                DAYTON             OH   45408‐1102
MAURICE DEPREZ JR      68215 HOWARD ST                                                                             RICHMOND           MI   48062‐1644
MAURICE DICER          3620 BALDWIN RD                                                                             AUBURN HILLS       MI   48326‐1208
MAURICE DIETERICH      53110 SHERWOOD LN                                                                           SHELBY TWP         MI   48315‐2040
MAURICE DIRING         5356 W FLYING M ST                                                                          TUCSON             AZ   85713‐6413
MAURICE DOAN           4250 OTTO ST                                                                                FLINT              MI   48507‐3649
MAURICE DOBKINS
MAURICE DONOVAN        70 SOUTH ORANGE AVENUE         SUITE 150                                                    LIVINGSTON         NJ 07039
MAURICE DOWELL         5736 NESTEL RD E                                                                            SAINT HELEN        MI 48656‐9568
MAURICE DOYEN          RUE A. LYNEN , 23 BTE 1                                                                     1210 BRUSSELS
MAURICE DOYEN          RUE A. LYNEN 23 BTE 1                                               1210 BRUSSELS BELGIUM
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Name                   Address1                           Address2                  Address3     Address4         City               State Zip
MAURICE DOYEN          RUE A. LYNEN                       23 BTE 1                                                BRUSSELS
MAURICE DOYEN          RUE A. LYNEN 23 B 1                                                                        BRUSSELS                 1210
MAURICE DOYLE          8702 MAPLELAWN DR                                                                          BOSTON             NY    14025‐9625
MAURICE DRAINVILLE     206 DULUDE AVE #1                                                                          WOONSOCKET         RI    02895‐3432
MAURICE DUBEAU         151 LAKESHORE DR                                                                           BLACKSTONE         MA    01504‐1402
MAURICE DUBIN          35267 SILVER MAPLE DR                                                                      CLINTON TOWNSHIP   MI    48035‐5520
MAURICE DUGGINS        PO BOX 165                                                                                 WAYNESFIELD        OH    45896‐0165
MAURICE E CEROTJOHN    14716 HOLLYHOOK DR                                                                         OKLAHOMA CITY      OK    73142
MAURICE E GARDNER      802 TREHERNE LANE                                                                          ENGLEWOOD          OH    45322‐2340
MAURICE E HANKINS      PO BOX 427                                                                                 WINDHAM            OH    44288
MAURICE E HUNTER       14102 ILENE ST                                                                             DETROIT            MI    48238‐2214
MAURICE E KEENER       5194 HECKATHORN ROAD                                                                       BROOKVILLE         OH    45309‐8303
MAURICE E ROBINSON     1911 MARY CATHERINE ST                                                                     YPSILANTI          MI    48198‐6246
MAURICE EDMUNDSON      105 LAKE VISTA DR                                                                          CHAPIN             SC    29036‐8472
MAURICE EICHHORN       8 WOODRUFF WAY                                                                             COLUMBIA           NJ    07832‐2645
MAURICE ELKINS         19647 SPRING OAK DR                                                                        EUSTIS             FL    32736‐7275
MAURICE ERHARDT        ATTN MICHAEL C SHEPARD             THE SHEPARD LAW FIRM PC   10 HIGH ST                    BOSTON             MA    02110
MAURICE EVANS          15094 GRANDVILLE AVE                                                                       DETROIT            MI    48223‐2235
MAURICE F CURRAN       CGM IRA ROLLOVER CUSTODIAN         388 BRONXVILLE RD                                       BRONXVILLE         NY    10708
MAURICE F HUBSCHER     216 DOONE RD                                                                               FAIRLESS HILLS     PA    19030
MAURICE F VILLERE      6931 LUPTON DR                                                                             DALLAS             TX    75225
MAURICE FASON          PO BOX 1511                                                                                YOUNGSTOWN         OH    44501‐1511
MAURICE FAUST          21120 VIRGINIA ST                                                                          SOUTHFIELD         MI    48076‐5599
MAURICE FELLING        514 SEQUOIA DR                                                                             DAVISON            MI    48423‐1960
MAURICE FERGUSON       2275 N STATE ROAD 19                                                                       TIPTON             IN    46072‐8835
MAURICE FERGUSON       11197 HORTON RD                                                                            HOLLY              MI    48442‐8405
MAURICE FETTERLEY JR   976 11TH ST                                                                                PLAINWELL          MI    49080‐9521
MAURICE FIELDER        1065 SUSSEX LN                                                                             FLINT              MI    48532‐2655
MAURICE FILION         418 CAPAC RD                                                                               BERLIN             MI    48002‐4202
MAURICE FISHER         75 SHERWOOD LOOP                                                                           SEARCY             AR    72143‐4929
MAURICE FLETCHER       PARK LAKE AVE                                                                              TITUSVILLE         NJ    08560
MAURICE FLETCHER       2405 YOLANDA DRIVE                                                                         DAYTON             OH    45408‐2457
MAURICE FLYNN          205 CHANEYS XING                                                                           BERTRAM            TX    78605‐4398
MAURICE FOUNTAIN       282 LOWER ROUND POND RD                                                                    BRISTOL            ME    04539‐3214
MAURICE FRIDDLE        521 N 800 E                                                                                GREENFIELD         IN    46140‐8040
MAURICE FRUSHOUR       514 GROVE ST                                                                               LOGANSPORT         IN    46947‐4810
MAURICE FRY            7235 LEBANON TRL                                                                           DAVISON            MI    48423‐2344
MAURICE FULKERSON      PO BOX 360                                                                                 SPARTA             MI    49345‐0360
MAURICE GAGNON         2013 KANSAS AVE                                                                            FLINT              MI    48506‐3773
MAURICE GARCES         6228 BELLE RIVE DR                                                                         BRENTWOOD          TN    37027‐5616
MAURICE GARDNER        802 TREHERNE LN                                                                            ENGLEWOOD          OH    45322‐2340
MAURICE GARNER         430 LINCOLN AVE                                                                            LIMA               OH    45805‐3352
MAURICE GELUS          117 MARGUERITE AVE                                                                         ELMONT             NY    11003‐1208
MAURICE GILDE          C/O LEVY PHILLIPS & KONIGSBERG     800 3RD AVE 13TH FLOOR                                  NEW YORK           NY    10022‐4213
MAURICE GISLER         PO BOX 9022                        (MEXICO CITY)                                           WARREN             MI    48090‐9022
MAURICE GOLDBERG       EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                     DETROIT            MI    48265‐2000

MAURICE GOLDEN JR      60 ASPEN COURT                                                                             DAHLONEGA           GA   30533‐1624
MAURICE GORDEN         6341 HUNT ST                                                                               ROMULUS             MI   48174‐4003
MAURICE GORDON         8027 S SOUTH SHORE DR                                                                      CHICAGO             IL   60617‐1630
MAURICE GORE           37 RHODE ISLAND ST                                                                         HIGHLAND PARK       MI   48203‐3356
MAURICE GORMEZ         AVENUE BRILLAT‐SAVARIN 102
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Name                                  Address1                              Address2                      Address3    Address4         City              State Zip
MAURICE GORMEZ                        AVENUE BRILLAT‐SAVARIN 102            B‐1050                        BRUSSELS
MAURICE GRIFFIN                       PO BOX 880                                                                                       ELK RAPIDS        MI    49629‐0880
MAURICE GRIGSBY                       6123 HADLEY ST                                                                                   RAYTOWN           MO    64133‐4109
MAURICE H FIELDER                     1065 SUSSEX LN                                                                                   FLINT             MI    48532‐2655
MAURICE H FIELDER                     1187 E JULIAH AVE                                                                                FLINT             MI    48505‐1630
MAURICE H KATZ P L C PROFIT SHARING   MAURICE H KATZ P L C PROFIT SHARING   315 NORTH MC CADDEN PLACE                                  LOS ANGELES       CA    90004
                                      PLAN
MAURICE HACKETT                       1526 W 4TH ST                                                                                    WILMINGTON         DE   19805‐3553
MAURICE HALL                          2990 NETTY GREEN RD                                                                              GALATIA            IL   62935‐2408
MAURICE HALL                          3395 SANDY SHORE DR                                                                              METAMORA           MI   48455‐8973
MAURICE HALLETT                       PO BOX 9022                                                                                      WARREN             MI   48090‐9022
MAURICE HAMEL ‐ ENVIRONMENTAL         PERMITTING, ENFORCEMENT, AND          DEPARTMENT OF ENVIRONMENTAL   79 ELM ST                    HARTFORD           CT   06106‐5127
ANALYST III                           REMEDIATION DIVISION                  PROTECTION
MAURICE HANKINS                       PO BOX 427                                                                                       WINDHAM           OH    44288‐0427
MAURICE HARDRICK                      1205 FIELDOAK CT                                                                                 ANTIOCH           TN    37013‐5715
MAURICE HART                          8651 W MOUNT HOPE HWY                                                                            GRAND LEDGE       MI    48837‐9467
MAURICE HART                          1718 ROSELAWN DR                                                                                 FLINT             MI    48504‐2052
MAURICE HART                          46333 WINSTON DR                                                                                 SHELBY TOWNSHIP   MI    48315‐5621
MAURICE HARTEY                        321 FITZGERALD ST                                                                                PHILADELPHIA      PA    19148‐3910
MAURICE HARTWELL                      712 S PUTNAM ST                                                                                  WILLIAMSTON       MI    48895‐1622
MAURICE HASSELL                       106 HERBERT ST                                                                                   ISLIP             NY    11751‐2019
MAURICE HASTY                         4111 MINNETONKA DR                                                                               LINDEN            MI    48451‐9429
MAURICE HAYES                         RR 2 BOX 1679                                                                                    WHEATLAND         MO    65779‐9706
MAURICE HENNESSEE                     8488 N WEBSTER RD                                                                                CLIO              MI    48420‐8553
MAURICE HENRY                         515 S JEFFERSON AVE APT G                                                                        COVINGTON         LA    70433‐3452
MAURICE HENRY                         7544 S MORGAN ST                                                                                 CHICAGO           IL    60620‐2844
MAURICE HICKS                         7300 NW 30TH PL APT 528                                                                          SUNRISE           FL    33313‐1040
MAURICE HIGHBERGER                    11806 N SAGUARO BLVD UNIT 102                                                                    FOUNTAIN HILLS    AZ    85268
MAURICE HILLMAN                       504 S ORANGE ST APT 4B                LEVEL ACRES APARTMENTS                                     KALKASKA          MI    49646‐8461
MAURICE HINDS                         9528 W 1300 N                                                                                    ELWOOD            IN    46036‐8707
MAURICE HOBSON                        2505 S INDIANAPOLIS RD                                                                           LEBANON           IN    46052‐9691
MAURICE HODGE                         PO BOX 95                             ALBANY HEALTHCARE & REHAB                                  ALBANY            IN    47320‐0095
                                                                            CENTER
MAURICE HOLLAND                       19482 BURGESS                                                                                    DETROIT           MI    48219‐1820
MAURICE HOLLIS                        2206 FENTON RD                                                                                   FLINT             MI    48507‐1507
MAURICE HOUSTON                       1473 E MCKAY RD APT 115                                                                          SHELBYVILLE       IN    46176‐8750
MAURICE HOWE                          9748 N 1130 EAST RD                                                                              CATLIN            IL    61817‐9139
MAURICE HUDSON                        3281 TOD AVE NW                                                                                  WARREN            OH    44485‐1358
MAURICE HUNTER                        14102 ILENE ST                                                                                   DETROIT           MI    48238‐2214
MAURICE HUNTER JR                     5932 N GLENMOOR LN                                                                               JANESVILLE        WI    53545‐9614
MAURICE HUTCHINSON                    5331 STEUBEN DR                                                                                  MEMPHIS           TN    38134‐8411
MAURICE J BELANGER                    4590 W BURT LAKE RD                                                                              BRUTUS            MI    49716‐9543
MAURICE J FREY                        1957 EASTWOOD AVENUE                                                                             JANESVILLE        WI    53545
MAURICE J LA LONDE                    3367 FLAGLER CIRCLE                                                                              MIDLAND           NC    28107
MAURICE J SMITH                       511 SUFFOLK DR                                                                                   GRAND PRAIRIE     TX    75052‐2528
MAURICE J. SOPP & SON                 RANDY SOPP                            6400 ATLANTIC AVE                                          BELL              CA    90201‐2520
MAURICE J. SOPP & SON                 6400 ATLANTIC AVE                                                                                BELL              CA    90201‐2520
MAURICE JACKSON                       263 E WOODFIELD LN                                                                               MOORESVILLE       IN    46158‐7019
MAURICE JACKSON                       3057 KING RD                                                                                     SAGINAW           MI    48601‐5831
MAURICE JANSSENS                      7031 SARAH ST                                                                                    TEMPERANCE        MI    48182‐1291
MAURICE JEWELL                        2110 S.MARTIN RD RT #2                                                                           BEAVERTON         MI    48612
MAURICE JOHNSON                       438 SCENIC HWY                                                                                   LAWRENCEVILLE     GA    30045‐5614
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Name                   Address1                             Address2            Address3      Address4         City            State Zip
MAURICE JOHNSTON       814 WESTWOOD DR                                                                         FENTON           MI 48430‐1421
MAURICE JONES          8611 N NASHVILLE RD                                                                     WILKINSON        IN 46186‐9738
MAURICE JONES          PO BOX 5                                                                                SIX LAKES        MI 48886‐0005
MAURICE JONES          9767 KENSINGTON AVE                                                                     DETROIT          MI 48224‐1926
MAURICE JR, JOSEPH H   PO BOX 403                                                                              OWOSSO           MI 48867‐0403
MAURICE JUDD           8180 MIDDLENTON RD RT 2                                                                 CORUNNA          MI 48817
MAURICE KADZBAN        4726 BURLINGAME AVE SW                                                                  WYOMING          MI 49509‐4903
MAURICE KAUSLICK       4236 MAPLEPARK RD                                                                       STOW             OH 44224‐2765
MAURICE KEENER         5194 HECKATHORN RD                                                                      BROOKVILLE       OH 45309‐8303
MAURICE KENDALL        70 E BETSY LN                                                                           GILBERT          AZ 85296‐4278
MAURICE KIRKWOOD       5592 MONTPELIER PIKE                                                                    MARION           IN 46953‐9723
MAURICE KNOWLTON       1681 HEATHER HILLS CT                                                                   DORR             MI 49323‐9756
MAURICE KOOP I I       1101 E SOUTH HOLLY RD                                                                   FENTON           MI 48430‐2318
MAURICE KUNKLE JR.     10 DARTMOUTH DR                                                                         CANFIELD         OH 44406‐1209
MAURICE L BAILEY       1925 OAKRIDGE DRIVE                                                                     DAYTON           OH 45417‐2341
MAURICE L COOPER       816 BURMAN AVE                                                                          DAYTON           OH 45426‐2723
MAURICE L MCLAURIN     PO BOX 584                                                                              RIDGELAND        MS 39158‐0584
MAURICE L SURGENER     5379 SABRINA LN NW                                                                      WARREN           OH 44483‐7202
MAURICE LA LONDE       3367 FLAGLER CIR                                                                        MIDLAND          NC 28107‐7803
MAURICE LA MONTAGNE    522 SABATTUS ST # 1                                                                     LEWISTON         ME 04240‐4114
MAURICE LACHANCE       333084 HWY 62                                                                           HARRAH           OK 73045
MAURICE LANCE          PO BOX 70982                                                                            RENO             NV 89570‐0982
MAURICE LATHAM         8827 N MAIN ST                                                                          KANSAS CITY      MO 64155‐2374
MAURICE LAURIN         3652 SIEDEL WAY                                                                         GRAYLING         MI 49738‐7021
MAURICE LAVIOLETTE     473 WHITE RD                                                                            GLADWIN          MI 48624‐8452
MAURICE LAVRACK        4418 VASSAR RD                                                                          GRAND BLANC      MI 48439‐9118
MAURICE LE FLORE       5376 BOLAND DR                                                                          GRAND BLANC      MI 48439‐5102
MAURICE LE LAIDIER     1829 HOLT RD                                                                            WILLIAMSTON      MI 48895‐9787
MAURICE LESSARD        291 NASHUA RD                                                                           BILLERICA        MA 01821‐4112
MAURICE LEWIS          PO BOX 831                                                                              DANVILLE          IL 61834‐0831
MAURICE LILLIS         3690 LAWN ST NW                                                                         WALKER           MI 49534‐4530
MAURICE LIVELY
MAURICE LOCKLEAR       7865 CHARLESMONT RD                                                                     BALTIMORE       MD   21222‐2703
MAURICE LUCY           2095 COVERT RD                                                                          BURTON          MI   48509‐1010
MAURICE LYKES          7709 MELROSE AVENUE                                                                     CLEVELAND       OH   44103
MAURICE M BELL         5469 SCOTT CT                                                                           YPSILANTI       MI   48197‐6775
MAURICE MANGHELLI      7551 S. 400 W.                                                                          MUNCIE          IN   47302
MAURICE MARSH          2542 CORNELL DR                                                                         LAPEER          MI   48446‐3412
MAURICE MARSHALL       230 PROGRESS RD APT 62                                                                  SHELBYVILLE     IN   46176‐1818
MAURICE MARTIN         5120 W MILES RD                                                                         JANESVILLE      WI   53545‐9081
MAURICE MASON          11719 ASBURY PARK                                                                       DETROIT         MI   48227‐1182
MAURICE MASSEY         11721 SHROYER DR                                                                        OKLAHOMA CITY   OK   73170‐5661
MAURICE MASTIN         3601 DEARBORN AVE                                                                       FLINT           MI   48507‐1870
MAURICE MATTHEU        910 CATHERINE AVE                                                                       ESSEX           MD   21221‐3412
MAURICE MC CORD        2926 DAKOTA DR                                                                          ANDERSON        IN   46012‐1416
MAURICE MCCONE         THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES   22ND FLOOR                     BALTIMORE       MD   21201

MAURICE MCFADDEN       519 E MAIN ST                                                                           FLUSHING        MI   48433‐2005
MAURICE MCKINNEY       3696 CHRISTY WAY W                                                                      SAGINAW         MI   48603‐7200
MAURICE MEAD           758 S EIFERT RD                                                                         MASON           MI   48854‐9739
MAURICE MEYER          1903 CHRISTY RD                                                                         DEFIANCE        OH   43512‐9797
MAURICE MIDGLEY        G5279 EAST ATHERTON ROAD                                                                BURTON          MI   48519
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Name                               Address1                         Address2                      Address3   Address4         City                 State Zip
MAURICE MIFFLIN                    550 NORTH AVE                                                                              TALLMADGE             OH 44278‐1456
MAURICE MOCK                       5421 COLUMBIA                                                                              CLARKSTON             MI 48346‐3120
MAURICE MONAS                      6770 W MAPLE RD APT 7218                                                                   W BLOOMFIELD          MI 48322‐4922
MAURICE MONROE JR                  3765 BUTTE DR APT 8                                                                        HOLT                  MI 48842‐7729
MAURICE MONTPETIT                  127 MARTIN RD                                                                              MASSENA               NY 13662‐3115
MAURICE MONTVILLE                  503 ARCHER LN                                                                              KISSIMMEE             FL 34746‐4900
MAURICE MOODY                      125 BURKWOOD HILLS LN                                                                      SPRINGVILLE           IN 47462‐5164
MAURICE MOREY                      PO BOX 430745                                                                              PONTIAC               MI 48343‐0745
MAURICE MORRELL                    5522 W ST JOSEPH HWY                                                                       LANSING               MI 48910
MAURICE MORTON                     3535 KAREN PKWY APT 304                                                                    WATERFORD             MI 48328‐4612
MAURICE MOUNT                      6297 WESTDALE DR                                                                           GRAND BLANC           MI 48439‐8531
MAURICE MOWERY                     12 JACKSON ST                                                                              PETERSBURG            WV 26847‐9407
MAURICE N LAINESSE                 757 DORSET AVE                                                                             YPSILANTI             MI 48198‐6194
MAURICE N MILLER                   4666 VILLAGE DR                                                                            JACKSON               MS 39206
MAURICE NEWMAN II                  3812 W BURT LAKE RD                                                                        BRUTUS                MI 49716‐9511
MAURICE NUNN                       1920 40TH AVENUE NORTHEAST                                                                 TUSCALOOSA            AL 35404‐1424
MAURICE O DAVIS                    649 KENNEDY AVE                                                                            YPSILANTI             MI 48198‐8028
MAURICE O'BRIEN                    26 GUERNSEY ST                                                                             ROSLINDALE            MA 02131‐1925
MAURICE O'SUNA                     PO BOX 90193                                                                               BURTON                MI 48509‐0193
MAURICE O'SUNA                     1014 CLOVER CT, BOX 11                                                                     BURTON                MI 48509
MAURICE P OUELLETTE AND CLAIRE M   MAURICE P OUELLETTE              1697 CHALKSTONE AVE                                       PROVIDENCE             RI 02909‐5502
OULLETTE
MAURICE PAPERI                     21613 BROADWAY ST                                                                          ST CLAIR SHRS        MI   48080‐4002
MAURICE PAQUETTE                   210 BRIDGEVIEW PL                                                                          MC CORMICK           SC   29835‐3443
MAURICE PARKS                      3195 WOODFIELD BLVD APT 137                                                                SAULT SAINTE MARIE   MI   49783‐9491
MAURICE PARKS                      108 ATLANTIC STREET                                                                        MILTON               DE   19968‐1402
MAURICE PASCK                      1610 FISH LAKE RD                                                                          LAPEER               MI   48446‐8369
MAURICE PHELPS                     198 S UNIONVILLE RD                                                                        CARO                 MI   48723‐9666
MAURICE POTTER                     PO BOX 90                                                                                  SAINT REGIS FALLS    NY   12980‐0090
MAURICE PRYOR                      63 DENNISON RD                                                                             ESSEX                CT   06426
MAURICE PURCHES                    5283 MILLWOOD DR                                                                           FLINT                MI   48504‐1127
MAURICE PURCHES I I                6292 YORKSHIRE NORTH RIDING RD                                                             FLINT                MI   48532‐3235
MAURICE R & DEANNA F MULLER JR     60 ASHLEY VILLAGE                                                                          NEW HOLLAND          PA   17557
MAURICE R CASKEY                   14430 CALLEJON MUSICA                                                                      SAN DIEGO            CA   92129
MAURICE R LEWIS                    1135 N WALNUT ST                                                                           DANVILLE             IL   61832‐2956
MAURICE R RAMSEY                   205 HOWARD ST                                                                              NEW BRUNSWICK        NJ   08901‐3003
MAURICE R STEWART                  PO BOX 310362                                                                              FLINT                MI   48531‐0362
MAURICE R STEWART                  PO BOX 310362                    1810 ROSELAWN                                             FLINT                MI   48531‐0362
MAURICE REICHARD                   3681 GORMAN AVE                                                                            ENGLEWOOD            OH   45322‐2704
MAURICE RENIE                      5911 CADILLAC DR                                                                           SPEEDWAY             IN   46224‐5326
MAURICE RHINE                      14 HEMLOCK DRIVE                                                                           MECHANICSBURG        PA   17055
MAURICE RICHARD                    2135 DEER RUN TRL                                                                          WATERFORD            MI   48329‐2383
MAURICE ROBBINS                    1221 MANSON DR                                                                             MARRERO              LA   70072‐3932
MAURICE ROBERTS                    3242 SE ASTER LN APT L132                                                                  STUART               FL   34994‐5543
MAURICE ROCKER                     32475 COVENTRY PL                                                                          WARREN               MI   48093‐6120
MAURICE ROSE                       112 BRECK LANE                                                                             JOHNSTOWN            PA   15904
MAURICE ROWE                       1015 W 11TH ST                                                                             MARION               IN   46953‐1729
MAURICE RUSH                       KELLER FISHBACK & JACKSON LLP    18425 BURBANK BLVD STE 610                                TARZANA              CA   91356
MAURICE RUSH                       KELLER, FISHBACK & JACKSON LLP   18425 BURBANK BLVD, STE 610                               TARZANA              CA   91356
MAURICE S DANTZLER                 5086 CALKINS RD                                                                            FLINT                MI   48532‐3401
MAURICE S HARTWELL                 712 S PUTNAM ST                                                                            WILLIAMSTON          MI   48895‐1622
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Name                   Address1                             Address2                     Address3               Address4            City             State Zip
MAURICE SAADE          C/O BANQUE DE L'EUROPE MERIDIONALE ‐ 16 BOULEVARD ROYAL                                  L‐2449 LUXWMBOURG
                       BEMO
MAURICE SANDERS        1493 CENTER STAR RD                                                                                          COLUMBIA          TN   38401‐7750
MAURICE SCANLON        5587 ALLAN RD                                                                                                OWOSSO            MI   48867‐9656
MAURICE SCHMITZ        2674 S WRIGHT RD                                                                                             FOWLER            MI   48835‐9111
MAURICE SCRUGGS        4511 SPRINGMONT DR SE                                                                                        KENTWOOD          MI   49512‐5377
MAURICE SEISLER        120 GRAHAM STREET                                                                                            HIGHLAND PARK     NJ   08904
MAURICE SHARPE
MAURICE SHENEFIELD     PO BOX 187                                                                                                   ROCHESTER        IN    46975‐0187
MAURICE SHIFFER        4411 BALLARD RD                                                                                              LANSING          MI    48911‐2934
MAURICE SHUMPERT JR.   3209 SHAWNEE AVE                                                                                             FLINT            MI    48507‐1935
MAURICE SLOTUIK        148 MOSSY OAK WAY                                                                                            MT PLEASANT      SC    29464‐7807
MAURICE SMITH          2159 BURNSIDE RD                                                                                             NORTH BRANCH     MI    48461‐9625
MAURICE SMITH          511 SUFFOLK DR                                                                                               GRAND PRAIRIE    TX    75052‐2528
MAURICE SMITH          6877 DAYTON LIBERTY RD                                                                                       DAYTON           OH    45418‐1436
MAURICE SR, RONALD J   PO BOX 417                                                                                                   CHESHIRE         CT    06410‐0417
MAURICE STCLAIR        1265 E 550 N                                                                                                 KOKOMO           IN    46901‐8574
MAURICE STEWART        PO BOX 310362                                                                                                FLINT            MI    48531‐0362
MAURICE STOCKMAN       1232 OLDE CHANTELOUP CT                                                                                      HENDERSONVILLE   NC    28739‐6166
MAURICE STRONG         10180 GRAND BLANC RD                                                                                         GAINES           MI    48436‐9775
MAURICE SURGENER       5379 SABRINA LN NW                                                                                           WARREN           OH    44483‐7202
MAURICE SUTHERLAND     40 GILL LANE APT 2 H                                                                                         ISELIN           NJ    08830
MAURICE SWAIM          635 RAINBOW DR                                                                                               MILTON           WI    53563‐1647
MAURICE SYKES          2685 BEACON HILL DR APT 309                                                                                  AUBURN HILLS     MI    48326‐3745
MAURICE T HINES        1792 CHEROKEE DR APT D                                                                                       DAYTON           OH    45449
MAURICE T UPSHAW JR    6277 LEAWOOD                                                                                                 HUBER HEIGHTS    OH    45424
MAURICE T WARD         105 HILLMONT CIR                                                                                             CLINTON          MS    39056‐3124
MAURICE TATE           MOTLEY RICE LLC                     28 BRIDGESIDE BLVD            PO BOX 1792                                MT PLEASANT      SC    29465
MAURICE TATTNALL       C/O PAUL WEISS                      1285 AVENUE OF THE AMERICAS                                              NEW YORK         NY    10019
MAURICE THOMAS         32 HENRY CLAY AVE                                                                                            PONTIAC          MI    48341‐1718
MAURICE TRADER         10315 CORTEZ RD W LOT 10D                                                                                    BRADENTON        FL    34210‐1631
MAURICE TRINCHITELLA   LYNNE KIZIS ESQ                     WILENTZ GOLDMAN AND SPITZER   90 WOODBRIDGE CENTER                       WOODBRIDGE       NJ    07095
                                                                                         DRIVE
MAURICE TUCK           PO BOX 22                                                                                                    FREDERIC         MI    49733‐0022
MAURICE UPSHAW JR      6277 LEAWOOD DR                                                                                              HUBER HEIGHTS    OH    45424‐3038
MAURICE V DUGGINS      P.O.BOX 165                                                                                                  WAYNESFIELD      OH    45896‐0165
MAURICE VICKERS        5012 FOREST SIDE DR                                                                                          FLINT            MI    48532‐2326
MAURICE W FIDLER       ROBERT W PHILLIPS                   SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD     PO BOX 521          EAST ALTON       IL    62024
                                                           ANGELIDES & BARNERD LLC
MAURICE W. RAYNOR      6418 1/2 BRYNHURST AVE                                                                                       WINDSOR HILLS    CA    90043‐3840
MAURICE WADE           18090 BUFFALO ST                                                                                             DETROIT          MI    48234‐2435
MAURICE WAHL           1194 W GRAND BLANC RD                                                                                        GRAND BLANC      MI    48439‐9369
MAURICE WALKER         6909 DAY DRIVE                                                                                               CLEVELAND        OH    44129‐5440
MAURICE WARD           105 HILLMONT CIR                                                                                             CLINTON          MS    39056‐3124
MAURICE WASHINGTON     4116 PEGGY DR                                                                                                SAGINAW          MI    48601‐5012
MAURICE WASHINGTON     13013 S BROUGHAM DR                                                                                          OLATHE           KS    66062‐1405
MAURICE WATTS          16205 THORNRIDGE DR                                                                                          GRAND BLANC      MI    48439‐8868
MAURICE WATTS          1214 TOPSIDE RD                                                                                              LOUISVILLE       TN    37777‐5505
MAURICE WEBB           2500 E BOGEY DR                                                                                              MISSION          TX    78572‐8377
MAURICE WEBB           WEITZ LUXENBERG PC                  7000 BROADWAY                                                            NEW YOK CITY     NY    10003
MAURICE WEBB           C/O WEITZ & LUXENBERG PC            700 BROADWAY                                                             NEW YORK CITY    NY    10003
MAURICE WEBSTER        3188 DREXEL ST                                                                                               DETROIT          MI    48215‐2461
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Name                   Address1                            Address2                  Address3   Address4               City            State Zip
MAURICE WEED           18260 OHARA RD                                                                                  HEMLOCK          MI 48626‐9613
MAURICE WEEKLEY JR     1425 ROSSMAN AVE SE                                                                             GRAND RAPIDS     MI 49507‐2237
MAURICE WELLS          PO BOX 155                                                                                      ARY              KY 41712‐0155
MAURICE WENDLING       2865 FERDEN RD                                                                                  NEW LOTHROP      MI 48460‐9605
MAURICE WILLIAMS       5803 WOODMERE DR                                                                                HINSDALE          IL 60521‐4905
MAURICE WILLIAMS       6504 PINNACLE COURT                                                                             MOORPARK         CA 93021‐1272
MAURICE WILLIAMS       4767 SWAFFER RD                                                                                 MILLINGTON       MI 48746‐9116
MAURICE WIMMERS JR     931 MARK AVE                                                                                    HAMILTON         OH 45013‐1783
MAURICE WINSTON        33006 SEVEN MILE RD # 136                                                                       LIVONIA          MI 48152
MAURICE WOODS          3192 N JENNINGS RD                                                                              FLINT            MI 48504‐1714
MAURICE YOUNGBLOOD     1500 E 193RD ST BLDG E APT 221                                                                  EUCLID           OH 44117
MAURICE ZISSLER        3165 PIERCE RD                                                                                  SAGINAW          MI 48604‐9755
MAURICE'S AUTO CARE    3‐2634 MILLAR AVE.                                                       SASKATOON SK S7K 4C8
                                                                                                CANADA
MAURICE, ALMA PEARL    COON & ASSOCS BRENT                 917 FRANKLIN ST STE 210                                     HOUSTON         TX   77002‐1751
MAURICE, CHERYL D      1823 MCDONALD AVE                                                                               ROYAL OAK       MI   48073‐3965
MAURICE, DAVID L       95 MYERS FARM CT                                                                                SPRINGBORO      OH   45066‐2404
MAURICE, DAVID LEE     95 MYERS FARM CT                                                                                SPRINGBORO      OH   45066‐2404
MAURICE, DONALD E      6324 WINNEBAGO COURT                                                                            FORT WAYNE      IN   46815‐6364
MAURICE, GAIL A        1663 ARTHUR DR NW                                                                               WARREN          OH   44485‐1804
MAURICE, JAIME         5011 TOLL DUGGER RD                                                                             CULLEOKA        TN   38451‐2009
MAURICE, JAIME J       4565 STOCKARD RD                                                                                CULLEOKA        TN   38451‐2068
MAURICE, JANE A        22 HERBERT ST                                                                                   BEACON          NY   12508
MAURICE, JOSEPHINE M   19646 N 29TH ST                                                                                 PHOENIX         AZ   85050‐8019
MAURICE, JUANDA        1852 US 27 SOUTH #C‐13                                                                          AVON PARK       FL   33825‐8328
MAURICE, JUANDA        1852 US HIGHWAY 27 S LOT C‐13                                                                   AVON PARK       FL   33825‐8328
MAURICE, LANCE R       2269 CLARA MATHIS RD                                                                            SPRING HILL     TN   37174‐2545
MAURICE, MARCIA A      4040 FULTON AVE                                                                                 MORAINE         OH   45439‐2120
MAURICE, MICHAEL J
MAURICE, MICHAEL J     2044 NUTT ROAD                                                                                  DAYTON          OH   45458‐5458
MAURICE, MICHAEL J     2044 NUTT RD                                                                                    DAYTON          OH   45458‐9364
MAURICE, MICHAEL R     1823 MCDONALD AVE                                                                               ROYAL OAK       MI   48073
MAURICE, PATRICK W     112 N WALNUT ST                                                                                 SHARPSVILLE     PA   16150‐2305
MAURICE, PATRICK W     112 N. WALNUT ST.                                                                               SHARPSVILLE     PA   16150‐6150
MAURICE, SUZANNE L     5115 VAN KLEECK ST APT 3F                                                                       ELMHURST        NY   11373‐4226
MAURICIO ANZALDUA      2130 NARROW LAKE RD                                                                             CHARLOTTE       MI   48813‐9159
MAURICIO CACERES       13406 POLK ST                                                                                   SYLMAR          CA   91342‐1862
MAURICIO DE MIGUEL
MAURICIO ESPINOZA      1142 E ROOSEVELT RD                                                                             DONNA            TX 78537‐5208
MAURICIO GAZAUI        PO BOX 3482                                                                                     ANN ARBOR        MI 48106‐3482
MAURICIO HERNANDEZ
MAURICIO HIGGS         409 MELBOURNE AVE                                                                               BOARDMAN        OH   44512‐4411
MAURICIO JR, MARTIN    12241 HARTEL ST                                                                                 LIVONIA         MI   48150‐2332
MAURICIO MOLINA        3161 TRISTIAN AVE                                                                               SAN JOSE        CA   95127‐1458
MAURICIO PINCHEIRA     PO BOX 9022                                                                                     WARREN          MI   48090‐9022
MAURICIO THIEBAUD      APT 724                             3800 SOUTH OCEAN DRIVE                                      HOLLYWOOD       FL   33019‐2918
MAURICIO, ARMANDO      16715 SE 59TH ST                                                                                CHOCTAW         OK   73020‐5431
MAURICIO, CONSUELO     70 WENDELTON RD                                                                                 TROY            MI   48084
MAURICIO, MARIA A      1200 OPAL CIR                                                                                   LAWRENCEVILLE   GA   30043‐5852
MAURICIO, PEGGY        1838 TEAKWOOD DR SE                                                                             CULLMAN         AL   35055‐5435
MAURICIO, SARAH A      13 LAKEWOOD CIR                                                                                 MCLOUD          OK   74851‐8530
MAURIELLO, AUDREA      49 WINDWARD DR                                                                                  BARNEGAT        NJ   08005
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Name                           Address1                           Address2             Address3     Address4         City            State Zip
MAURIELLO, HELEN A             15521 HORNELL ST                                                                      WHITTIER         CA 90604‐2309
MAURIELLO, JOSEPH F            8 HARRINGTON TER                                                                      WEST ORANGE      NJ 07052‐3513
MAURILE C TREMBLAY             8514 PRESTWICK DR                                                                     LA JOLLA         CA 92037
MAURILIO MERCADO               10606 HASKELL AVE                                                                     GRANADA HILLS    CA 91344‐7140
MAURILLO MERCADO               10606 HASKELL AVE                                                                     GRANADA HILLS    CA 91344‐7140
MAURIN, ALISON M               113 COLONEL AP KOUNS DRIVE                                                            SHREVEPORT       LA 71115‐2977
MAURIN, CARL P                 6951 COLONIAL ST                                                                      DEARBORN HTS     MI 48127‐2112
MAURIN, DANIEL F               113 COLONEL A P KOUNS                                                                 SHREVEPORT       LA 71115
MAURIN, DANIEL FRANK           113 COLONEL A P KOUNS                                                                 SHREVEPORT       LA 71115
MAURIN, MARGARET M             36808 ANGELINE CIRCLE                                                                 LIVONIA          MI 48150‐2500
MAURINA, KARAN S               6152 SURREY LN                                                                        BURTON           MI 48519‐1316
MAURINE BENISH                 903 MINERAL POINT DRIVE            #326                                               JANESVILLE       WI 53548
MAURINE CAIN                   1463 REMBRANT RD                                                                      HOLT             MI 48842‐9611
MAURINE CANTRELL               APT 31                             120 MAPLE STREET                                   VANDALIA         OH 45377‐2328
MAURINE CARLSON                16539 BASS LAKE SHORE DR                                                              GOWEN            MI 49326
MAURINE CLORE                  5315 PATTERSON LN                                                                     ANDERSON         IN 46017‐9755
MAURINE HENDERSHOTT            1421 LASALLE AVE                                                                      BURTON           MI 48509‐2407
MAURINE HODGE‐MUHAMMAD         PO BOX 80415                       5115 GERALDINE                                     LANSING          MI 48908‐0415
MAURINE HODGE‐MUHAMMAD         PO BOX 80415                                                                          LANSING          MI 48908‐0415
MAURINE MARCUM                 BRAYTON PURCELL                    PO BOX 6169                                        NOVATO           CA 94948‐6169
MAURINE MILLER                 15771 24 MILE RD                                                                      MACOMB           MI 48042‐2803
MAURINE SHALLIS                1668 W GLENDALE AVE APT 419                                                           PHOENIX          AZ 85021‐8939
MAURINE TAYLOR                 12361 BURT RD                                                                         BIRCH RUN        MI 48415‐9320
MAURINE YOVICH                 5040 KNOB HILL DR NE                                                                  GRAND RAPIDS     MI 49525‐1284
MAURINO, KAREN S               2469 GRINDLEY PARK STREET                                                             DEARBORN         MI 48124‐2585
MAURITA BOWMAN                 7117 N 100 W                                                                          ALEXANDRIA       IN 46001‐8201
MAURITA L ROGERS               19811 FIELDING ST                                                                     DETROIT          MI 48219‐2019
MAURITA NAGLE                  707 S. GULFSTREAM AVENUE #906                                                         SARASOTA         FL 34236
MAURITA ROGERS                 19811 FIELDING ST                                                                     DETROIT          MI 48219‐2019
MAURITA SUTEDJA                601 W 57TH ST APT 28H                                                                 NEW YORK         NY 10019‐1079
MAURITS LANG                   668 EIDER WAY                                                                         OXFORD           MI 48371‐4875
MAURITZ, HOWARD D              3743 RIDGE DR                                                                         JANESVILLE       WI 53548‐5836
MAURITZ, SARAH E               1690 EMERSON DR                                                                       MANSFIELD        OH 44904‐1809
MAURITZEN, TED P               PO BOX 639                                                                            MARTINSBURG      WV 25402‐0639
MAURITZSON, ARVID K            11908 SILVER CREEK DR APT 11                                                          BIRCH RUN        MI 48415‐9755
MAURIZI, DAVID EDWARD          6311 WOODTHRUSH DRIVE                                                                 FORT WAYNE       IN 46835‐1322
MAURIZI, MARGARET Z            612 E FRANKLIN ST                                                                     TRENTON          NJ 08610‐5316
MAURIZI, ROSE                  58 GOEKE DR                                                                           TRENTON          NJ 08610‐1121
MAURIZIO ARIEMMA               VIA FRANCESCO VETTORI 38
MAURIZIO BORNIA                VIA MISURINA 25
MAURIZIO BORNIA                VIA MISURINA 25                    21100 VARESE
MAURIZIO BORNIA                VIA MISURINA 25                    21100VARESE
MAURIZIO CASTELLI              VIA DELL'ACROPOLI N 3              00040 LANUVIO (RM)   ITALIA
MAURIZIO COLUCCIA              VIA MARTIRI DEL TURCHINONR. 71/8                                                      GENOVA                16157
MAURIZIO CORDOVA               VIA MAZZINI 25
MAURIZIO DELMENICO             VIA CANT┘ 8
MAURIZIO FERRI                 VIA C.CANEVA,9 FERRARA
MAURIZIO FERRI                 VIA CARLO CANEVA,9                 44100‐FERRARA
MAURIZIO FOGLIO                VIA MARMOLADA 5                    20020 ARESE          MILANO       ITALIA
MAURIZIO GORZIGLIA ACHILLINI   VIA CONSIGLIETTO 6                 !6030 PIEVE LIGURE
MAURIZIO GORZIGLIA ACHILLINI   VIA CONSIGLIETTO 6                 16030 PIEVE LIGURE   ITALIA                        PIEVE LIGURE     IL   16030
MAURIZIO M GRAMIGNI            5895 PINEBROOK DR                                                                     BOCA RATON       FL   33433
                               09-50026-mg               Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
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Name                          Address1                            Address2                      Address3          Address4                   City                  State Zip
MAURIZIO MERCATELLI           VIA PROVINCIALE N.15                                                                                           GEMMANO                     47855
MAURIZIO RIGATO               VIA G. CIMABUE, 18                                                                                             MILANO
MAURIZIO SCHIANO LOMORIELLO   VIA FILOMARINO, 4                   80070 MONTE DI PROCIDA NA     ITALY
MAURIZIO TIRABASSI            VIA GIUSEPPE ROCCA U8                                                               41012 CAPRI MO ITALY
MAURIZIO VARINI               VIA MARCONI 25                      35010                         VILLA DEL CONTE   PD
MAURIZIO VARINI               VIA MARCONI 25                                                                      35010 VILLA DEL CONTE PD
                                                                                                                  ITALY
MAURIZIO ZANTA                VIA LIBERTA 1                                                                       VALDENGO 13855 ‐ ITALY
MAURIZIO, FRANCES N           5 BACON ST                                                                                                     MERIDEN               CT 06451‐2919
MAURNO, JAMES R               171 BEECH ST                                                                                                   EASTCHESTER           NY 10709‐3845
MAURO ALVAREZ                 246 WILSON ST                                                                                                  DEFIANCE              OH 43512‐1442
MAURO BARBUIANI               VIA BORGO TOMBE 26 D                44023 LAGOSANTO
MAURO BRACCI                  VIA GIOVANNI MARIA DELLA TORRE 12                                                                              ROMA                      00146
MAURO CABELL                  18 E 22ND STREET                                                                                               HAZLETON               PA 18202
MAURO CUNIBERTI               5, VIA LEOPARDI                                                                     MONDOVI ITALY 12084
MAURO CUNIBERTI               5, VIA LEOPARDI                     12084 MONDOVI'
MAURO DAMON                   MAURO, DAMON                        445 BUSH STREET 6TH FLOOR ,                                                SAN FRANCISCO          CA 94108
                                                                  PACIFIC STATES BUILDING
MAURO DAMON                   PAIKAI, JOHN                        445 BUSH STREET 6TH FLOOR ,                                                SAN FRANCISCO          CA 94108
                                                                  PACIFIC STATES BUILDING
MAURO DEROSA                  18362 NW 11TH ST                                                                                               PEMBROKE PINES         FL 33029
MAURO DORINI                  30 TOPER TRAIL                                                                                                 ROCHESTER              NY 14612‐2254
MAURO GUERRINI                VIA SOFIA DE FILIPPI MARIANI, 1     00053 CIVITAVECCHIA (RM)
MAURO INNOCENTI               VIA LONGA 7                                                                         ANZOLA DELL'EMILIA (BO)
                                                                                                                  ITALY
MAURO INVERNIZZI              VIA LAZZARETTO 15                                                                   23814 CREMENO LC ITALY
MAURO LONGOBARDO              CORSO GOVONE 14                                                                                                TURIN                    10129
MAURO LOPEZ                   8047 STATE ROUTE 305                                                                                           GARRETTSVILLE         OH 44231‐9698
MAURO MALTONI                 STR. GENOVA 57/6                    10024 MONCALIERI (TO)
MAURO MALTONI                 STR. GENOVA 57/6                                                                                               MONCALIERI                10024
MAURO MONCIATTI               VIA PIAVE 2                                                                                                    SINALUNGA (SI)            53048
MAURO MOTORS INC              510 WASHINGTON AVE                                                                                             NORTH HAVEN            CT 06473‐1121
MAURO N DIGRAZIA              3649 LAKE AVENUE                                                                                               ROCHESTER              NY 14612‐5157
MAURO NAJAR                   10926 RESEDA BLVD                                                                                              PORTER BEACH           CA 91326‐2804
MAURO PERNO                   VIA D. SOLERI 3/F
MAURO PERNO                   VIA D. SOLERI 3/F                   12037 SALUZZO CN
MAURO PISANI                  592 MOUNTAINVIEW DR                                                                                            NORTH PLAINFIELD      NJ   07063‐1756
MAURO RAMIREZ                 1310 S 14TH AVE                                                                                                EDINBURG              TX   78539‐5636
MAURO SPITALE                 BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS            OH   44236
MAURO, ANNA F                 2 TWIN OAK DR                                                                                                  ROCHESTER             NY   14606‐4406
MAURO, BARTHOLOMEW            52295 CONCORDE DR                                                                                              SHELBY TOWNSHIP       MI   48315‐2854
MAURO, CARL                   6505 ARROWHEAD CT                                                                                              DAVISBURG             MI   48350‐2964
MAURO, DAMON                  KEMNITZER ANDERSON BARRON &         445 BUSH STREET 6TH FLOOR,                                                 SAN FRANCISCO         CA   94108
                              OGILVIE                             PACIFIC STATES BUILDING
MAURO, DIANE                  18 LONGVIEW AVE                                                                                                FREEHOLD              NJ   07728‐1518
MAURO, DOMINICK N             46 CHALFONT LN                                                                                                 MANCHESTER TOWNSHIP   NJ   08759‐7302
MAURO, ESTHER                 310 N PORTER ST                                                                                                SAGINAW               MI   48602‐4136
MAURO, FRANK V                209 E BOITNOTT DR                                                                                              UNION                 OH   45322‐3204
MAURO, GEROLD M               17186 RIDGE RD                                                                                                 HOLLEY                NY   14470‐9353
MAURO, JANIS M                11160 137TH ST                                                                                                 LARGO                 FL   33774‐4135
MAURO, JERRY S                12083 SCOTT RD                                                                                                 FREELAND              MI   48623‐9509
MAURO, JO ANN                 715 OVERLA BLVD                                                                                                CLAYTON               OH   45315‐9661
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Name                              Address1                         Address2                            Address3               Address4                City            State Zip
MAURO, JOSEPH                     715 OVERLA BLVD                                                                                                     CLAYTON          OH 45315‐9661
MAURO, LUZ A                      13520 HAUPT DR                                                                                                      WARREN           MI 48088
MAURO, MARK V                     2227 DILLINGHAM AVE                                                                                                 LANSING          MI 48906‐3760
MAURO, MARK VINCENT               2227 DILLINGHAM AVE                                                                                                 LANSING          MI 48906‐3760
MAURO, MICHAEL A                  11160 137TH ST                                                                                                      LARGO            FL 33774‐4135
MAURO, PAMELA S                   5530 NEVILLE ST                                                                                                     HUBER HEIGHTS    OH 45424‐6058
MAURO, PETE A                     4677 BIGGER RD                                                                                                      KETTERING        OH 45440‐1827
MAURO, THOMAS L                   6189 TUOLUMNE CT                                                                                                    SAN JOSE         CA 95123‐4753
MAURO, VINCENT J                  310 N PORTER ST                                                                                                     SAGINAW          MI 48602‐4136
MAURO, WAYNE C                    18 LONGVIEW AVE                                                                                                     FREEHOLD         NJ 07728‐1518
MAURRELL JACKSON                  C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                                                LITTLE ROCK      AR 72201
MAURUS HOFFART                    3497 SAN MARTIN CT                                                                                                  MERCED           CA 95348‐4814
MAURUS, JOHN K
MAURUS, ROBERT C                  115 SOLAR ST APT 504                                                                                                SYRACUSE        NY    13204‐5404
MAURUS, ROBERT C                  APT 502                          115 SOLAR STREET                                                                   SYRACUSE        NY    13204‐5404
MAURUSHAT, JOCELYN M              5055 PROVIDENCE DR APT 114                                                                                          SANDUSKY        OH    44870‐1424
MAURY COUNTY                      101 BARCLAY ST # 7W                                                                                                 NEW YORK        NY    10286‐0001
MAURY COUNTY                                                                                                                                          1ST TN BANK     TN
MAURY COUNTY BOARD OF EDUCATION   VICE PRESIDENT FINANCE           PO BOX 488, HIGHWAY 31 SOUTH                                                       SPRING HILL     TN    37174

MAURY COUNTY BOARD OF EDUCATION   PO BOX 488, HIGHWAY 31 SOUTH                                                                                        SPRING HILL     TN 37174

MAURY COUNTY BOARD OF EDUCATION

MAURY COUNTY BOARD OF EDUCATION   500 WEST 8TH ST.                                                                                                    COLUMBIA        TN 38401

MAURY COUNTY CLERK                HUNTER MATTHEWS BUILDING         NUMBER 10 PUBLIC SQUARE                                                            COLUMBIA        TN    38401
MAURY COUNTY TAXI                 107 E 14TH ST                                                                                                       COLUMBIA        TN    38401‐3754
MAURY COUNTY TENNESSEE            ED HARLAN                        MAURY COUNTY COURT HOUSE            PUBLIC SQARE                                   COLUMBIA        TN    38401
MAURY COUNTY TENNESSEE            MAURY COUNTY COURT HOUSE         PUBLIC SQARE                                                                       COLUMBIA        TN    38401
MAURY COUNTY TRUSTEE              1 PUBLIC SQ                                                                                                         COLUMBIA        TN    38401‐3300
MAURY COUNTY TRUSTEE              ONE PUBLIC SQUARE                                                                                                   COLUMBIA        TN    38401
MAURY COUNTY/TAXI                 107 E 14TH ST                                                                                                       COLUMBIA        TN    38401‐3754
MAURY REG/COLUMBIA                1224 TROTWOOD AVE                                                                                                   COLUMBIA        TN    38401‐4802
MAURY REGIONAL AMBUL              1218 TROTWOOD AVE                                                                                                   COLUMBIA        TN    38401‐6406
MAURY REGIONAL HOSPI              1224 TROTWOOD AVE                                                                                                   COLUMBIA        TN    38401‐4802
MAURY REGIONAL HOSPITAL           1224 TROTWOOD AVE                DBA MAURY REG MED CTR                                                              COLUMBIA        TN    38401‐4802
MAURY REGIONAL HOSPITAL           1224 TROTWOOD AVE                                                                                                   COLUMBIA        TN    38401‐4802
MAURY RICKMAN                     5468 DUFFIELD RD                                                                                                    SWARTZ CREEK    MI    48473‐8578
MAURY, BETHNY H                   PO BOX 3236                                                                                                         NANTUCKET       MA    02584‐3236
MAURY, CHERYL R                   3101 E GRAND RIVER AVE                                                                                              LANSING         MI    48912‐4726
MAURY, DANIEL H                   4217 MIDDLEBROOK DR                                                                                                 DAYTON          OH    45440‐3366
MAURY, EDITH A                    2415 CORIANDER CT                                                                                                   TROY            OH    45373‐8751
MAURY, FREDRICK T                 1087 GROVE HILL DR                                                                                                  BEAVERCREEK     OH    45434‐5905
MAURY, MICHAEL L                  3307 COY AVE                                                                                                        KALAMAZOO       MI    49048‐2247
MAURY, PETER                      WILENTZ GOLDMAN & SPITZER        88 PINE STREET, WALL STREET PLAZA                                                  NEW YORK        NY    10005

MAURY, PETER J                    C/O LYNNE KIZIS, ESQ             WILENTZ, GOLDMAN, & SPITZER         90 WOODBRIDGE CENTER                           WOODBRIDGE       NJ   07095
                                                                                                       DRIVE
MAUS EDWIN B (460025)             DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                                                    NORTH OLMSTED   OH 44070
MAUS MACCHINE UTENSILI SPECIAL    VIA CALTANA 28                                                                              CAMPODARSEGO IT 35011
                                                                                                                              ITALY
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Name                         Address1                        Address2                Address3     Address4         City               State Zip
MAUS, ALAN A                 1182 PARKLANE CIR                                                                     GRAND BLANC         MI 48439‐8054
MAUS, DEANNA R               4329 S DOVER AVE                                                                      INDEPENDENCE        MO 64055‐4833
MAUS, EDWIN B                DUFFY & ASSOCS JOHN J           23823 LORAIN RD                                       NORTH OLMSTED       OH 44070
MAUS, ELAINE F               780 BROOKWOOD CT                                                                      ROCHESTER HILLS     MI 48309‐1550
MAUS, GEORGE                 35488 HATHAWAY ST                                                                     LIVONIA             MI 48150‐2514
MAUS, MARY                   278 CARIBOU RUN                                                                       DUNDEE              MI 48131‐9567
MAUS, RAYMOND E              4329 S DOVER AVE                                                                      INDEPENDENCE        MO 64055‐4833
MAUS, SOPHIE                 319 S CHRISTINE                                                                       WESTLAND            MI 48186‐8403
MAUS, SUSANNE                16810 PERRY RD                                                                        HASLETT             MI 48840‐8802
MAUS, WILLIAM J              649 CEDAR DRIVE                                                                       CORTLAND            OH 44410
MAUSBACH, MARY B             7943 MANDERSON ST                                                                     OMAHA               NE 68134‐4229
MAUSER CORP.                 ELLEN SHERMAN                   35 COTTERS LN           STE 3                         EAST BRUNSWICK      NJ 08816‐2032
MAUSER, ANTHONY L            3096 E COUNTY ROAD 800 N                                                              BAINBRIDGE          IN 46105‐9545
MAUSER, DANIEL               3209 CANNON RD                                                                        TWINSBURG           OH 44087‐1813
MAUSER, JOSEPH L             8628 LONGSPUR CT                                                                      INDIANAPOLIS        IN 46234‐9597
MAUSER, MARY                 3060 VALLEY FARMS APT 318                                                             INDIANAPOLIS        IN 46214‐4500
MAUSER, PAMELA               8502 GASKIN RD                                                                        BALDWINSVILLE       NY 13027‐9198
MAUSLING, LEROY L            1201 CRESCENT LAKE RD                                                                 WATERFORD           MI 48327‐2413
MAUSOLF, GERALD M            3376 NORRIS RD                                                                        WATERFORD           MI 48329‐3235
MAUSOLF, GORDON A            3904 S TOWERLINE RD                                                                   BRIDGEPORT          MI 48722‐9401
MAUSOLF, GORDON A.           3904 S TOWERLINE RD                                                                   BRIDGEPORT          MI 48722‐9401
MAUSOLF, MICHAEL R           4785 SUNDALE DR                                                                       CLARKSTON           MI 48346‐3690
MAUSOLF, PATRICK A           9797 NORMAN RD                                                                        CLARKSTON           MI 48348‐2411
MAUSON BADY                  3441 ANGEL DR                                                                         SAGINAW             MI 48601‐7202
MAUSS JOHN                   1515 AUBURN ST                                                                        DUBUQUE              IA 52001‐5857
MAUSS, GEORGE J              5167 TREAT HWY                                                                        ADRIAN              MI 49221
MAUSS, GEORGE J              133 CHURCH ST                                                                         DEERFIELD           MI 49238‐9702
MAUSS, HELEN                 133 CHURCH ST                                                                         DEERFIELD           MI 49238‐9702
MAUSS, KENNETH R             5634 VAIL AVE                                                                         TOLEDO              OH 43623‐1637
MAUSS, SANDRA L              PO BOX 93                                                                             MANITOU BEACH       MI 49253‐0093
MAUSS, SANDRA L              1334 SPENCER PL                                                                       ADRIAN              MI 49221‐3132
MAUSSER AUTO SERVICE, INC.   7308 COLUMBUS ST                                                                      NEW VIENNA           IA 52065‐7717
MAUST NANCY                  MAUST, NANCY                    9317 PARK HEIGHTS AVE                                 CLEVELAND           OH 44125‐2342
MAUST, HAROLD Q              1469 WOODLAND ST NE                                                                   WARREN              OH 44483
MAUST, NANCY                 9317 PARK HEIGHTS AVE                                                                 CLEVELAND           OH 44125
MAUTE ALICE                  APT I109                        6501 17TH AVENUE WEST                                 BRADENTON           FL 34209‐7816
MAUTE, ALICE K               6501 17TH AVE W APT I109                                                              BRADENTON           FL 34209‐7816
MAUTER, FULTON G             90 COUNTY ROAD 1316                                                                   CULLMAN             AL 35058‐2193
MAUTER, GREGORY G            51825 SEQUOYA DR                                                                      MACOMB              MI 48042‐4258
MAUTHE, ANTOINETTE M         8 OVERLOOK AVE                                                                        WILMINGTON          DE 19808‐5828
MAUTHE, GERALD M             8 OVERLOOK AVE                                                                        WILMINGTON          DE 19808‐5828
MAUTHE, GLORIA J             263 ELMHURST ST                                                                       YPSILANTI           MI 48197‐4374
MAUTHE, PAUL J               25 DOLPHIN DR                                                                         NEWARK              DE 19702‐4768
MAUTHE, RONALD W             134 TALL PINES RD                                                                     NEWARK              DE 19713‐1107
MAUTI JR, THOMAS K           38637 CENTURY DR                                                                      STERLING HEIGHTS    MI 48310‐2820
MAUTI TOM                    600 INDIAN TRL                                                                        CLARKSTON           MI 48348‐1261
MAUTI, PAULA S               38637 CENTURY DR                                                                      STERLING HEIGHTS    MI 48310‐2820
MAUTI, THOMAS K              600 INDIAN TRL                                                                        CLARKSTON           MI 48348‐1261
MAUTINO, FERN L              7201 SE SNOW DR                                                                       HOLT                MO 64048‐9285
MAUTINO, FERN L              7201 S.E. SNOW DR                                                                     HOLT                MO 64048‐9285
MAUTZ BAUM HOSTETTER &       PO BOX 967                      1902 4TH ST                                           LA GRANDE           OR 97850‐0967
OHANLONATTORNEYS AT LAW
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Name                           Address1                      Address2               Address3      Address4         City               State Zip
MAUTZ, RALPH W                 408 SCOTT ST                                                                        SANDUSKY            OH 44870‐3733
MAUZY, DAVID H                 1411 GRIFFITH ST                                                                    YOUNGSTOWN          OH 44510‐1448
MAUZY, ELIZABETH P             64 SARANAC AVE                                                                      YOUNGSTOWN          OH 44505‐2659
MAUZY, ELIZABETH P             64 SARANAC STREET                                                                   YOUNGSTOWN          OH 44505
MAUZY, ERIKA L                 2849 HEATHER LN NW                                                                  WARREN              OH 44485‐1241
MAUZY, JEFFREY C               PO BOX 165                                                                          MANILLA             IN 46150‐0165
MAUZY, LILLIE W                564 CHIANTI CT                                                                      FAIRFIELD           CA 94534‐4142
MAUZY, ROBERT LEROY            64 SARANAC AVE                                                                      YOUNGSTOWN          OH 44505‐2659
MAUZY, VALERIE                 435 FRANCISCA AVE                                                                   YOUNGSTOWN          OH 44504‐1415
MAUZY, WILLIAM H               1190 TIMBERCREST ST                                                                 YOUNGSTOWN          OH 44505‐1264
MAUZY, WILLIAM H               PO BOX 1132                                                                         YOUNGSTOWN          OH 44501‐1132
MAUZY, WILLIAM H               574 CARLOTTA DR                                                                     YOUNGSTOWN          OH 44504‐1322
MAVA RODGERS                   2726 ALPHA WAY                                                                      FLINT               MI 48506‐1833
MAVALYN C COOPER               7489 SUDER AVE                                                                      ERIE                MI 48133‐9672
MAVAR, EVELYN                  34840 IRIS LN                                                                       EASTLAKE            OH 44095‐2464
MAVAR, GARY R                  2237 E 32ND ST                                                                      LORAIN              OH 44055‐2017
MAVE, STANLEY P                2973 E 66TH ST                                                                      CLEVELAND           OH 44127‐1420
MAVELLE, ROBERT H              4480 FAIRWAYS BOULEVARD       BUILDING #8, APT 101                                  BRADENTON           FL 34209
MAVEN EXAMS                    12407 N MOPAC EXP             STE 100‐351                                           AUSTIN              TX 78758
MAVEN, JAMES                   2676 ALVESTON DR                                                                    BLOOMFIELD HILLS    MI 48304‐1802
MAVEN, PAMELA L                2676 ALVESTON DR                                                                    BLOOMFIELD HILLS    MI 48304‐1802
MAVER SWANSON                  1888 CIRCLE S DR                                                                    YOUNG HARRIS        GA 30582‐3017
MAVER WILLIAM (432106)         WEITZ & LUXENBERG             180 MAIDEN LANE                                       NEW YORK            NY 10038
MAVER, MARTIN                  531 8TH ST                                                                          PALISADES PARK      NJ 07650‐2309
MAVER, MARY ELLEN              1607 OAKLAND AVE                                                                    CREST HILL           IL 60403‐2459
MAVER, WILLIAM                 WEITZ & LUXENBERG             180 MAIDEN LANE                                       NEW YORK            NY 10038
MAVERICK COUNTY TAX ASSESSOR   370 N MONROE ST STE 3                                                               EAGLE PASS          TX 78852‐4590
MAVERICK EXPRESS INC           PO BOX 966                                                                          PORTAGE             MI 49081‐0966
MAVERICK MOTORS                11091 NATIONAL RD SW                                                                PATASKALA           OH 43062‐8303
MAVERICK TRANSPORT INC         PO BOX 2800                                                                         EASTON              MD 21601‐8953
MAVERICK TRANSPORTATION INC    PO BOX 1000                                                                         MEMPHIS             TN 38148‐0209
MAVERICK TURNER                6481 GARDEN DR                                                                      MOUNT MORRIS        MI 48458‐2326
MAVERIG FREIGHT INC            18765 SEAWAY DR                                                                     MELVINDALE          MI 48122‐1954
MAVERO, JOSEPH                 93 PULASKI HOMES                                                                    NEW BRIGHTON        PA 15066‐2761
MAVES JR, ARNOLD H             355 E.COUNTY RD.#600N                                                               TUSCOLA              IL 61953
MAVES, DONNA M                 5318 PINEWOOD DR                                                                    FLUSHING            MI 48433‐2440
MAVES, RONALD W                3774 CAMERON CT                                                                     ANDERSON            IN 46012‐9617
MAVES, WILLIAM W               8524 N CASEY RD                                                                     EDGERTON            WI 53534‐8509
MAVES, YVONNE M                2760 KINNEY AVE NW                                                                  GRAND RAPIDS        MI 49534‐1120
MAVETY BRIANNA                 MAVETY, BRIANNA               804 WESTMINISTER RD                                   TRAVERSE CITY       MI 49686‐3529
MAVETY BRIANNA                 MAVETY, TAMMY                 804 WESTMINSTER RD                                    TRAVERSE CITY       MI 49686
MAVETY, BRIANNA                804 WESTMINSTER RD                                                                  TRAVERSE CITY       MI 49686
MAVETY, TAMMY                  804 WESTMINSTER RD                                                                  TRAVERSE CITY       MI 49686‐3529
MAVIAS, GUS T                  7619 SPRUCE RD                                                                      BALTIMORE           MD 21222‐1425
MAVIC, INC.                    JOHN BERLINGER                17 PARKRIDGE ROAD                                     HAVERHILL           MA 01835
MAVIGLIA, STEVE A              3771 E KENT RD                                                                      FREELAND            MI 48623
MAVING, DANIEL M               113 MOULTON AVE                                                                     KENMORE             NY 14223‐2017
MAVING, DANIEL MARK            113 MOULTON AVE                                                                     KENMORE             NY 14223‐2017
MAVIS ADAMS                    15813 ALLEN RD                                                                      SOUTHGATE           MI 48195‐2922
MAVIS AND MOORE                1706 CAMBRIDGE RD                                                                   ANN ARBOR           MI 48104‐3647
MAVIS BARLAGE                  1224 CLOVER RD                                                                      BRICK               NJ 08724‐1013
MAVIS BAUBLITZ                 4767 GALLIVER CUT OFF                                                               HOLT                FL 32564‐9385
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Name                        Address1                     Address2                 Address3    Address4         City            State Zip
MAVIS BENASH                1918 CEDAR POINTE DR                                                               JANESVILLE       WI 53546‐5364
MAVIS BISHOP                2118 29TH AVE                                                                      MERIDIAN         MS 39301‐1952
MAVIS BIVEN                 2406 NOTTINGHAM WAY                                                                ALBANY           GA 31707‐2434
MAVIS BOWLING               4363 SCOTT HOLLOW RD                                                               CULLEOKA         TN 38451‐3110
MAVIS BRAINARD              105 VAN WORMER RD                                                                  SAGINAW          MI 48609‐9572
MAVIS BURTON                8612 SILVERBELL LN                                                                 FORT WORTH       TX 76140‐3108
MAVIS BYRD                  929 FRETWELL AVE                                                                   DECATUR          AL 35601‐7623
MAVIS CARR                  201 S 19TH ST                                                                      SAGINAW          MI 48601‐1442
MAVIS CLARK                 19308 HARTWELL ST                                                                  DETROIT          MI 48235‐1271
MAVIS D CHANEY              1180 CHARLES AVE                                                                   FLINT            MI 48505‐1611
MAVIS D SHUFFLEBARGER IRA   4485 CROSSINGS RIDGE                                                               HOOVER           AL 35242
MAVIS GLASS                 6061 TOULOUSE DR                                                                   PENSACOLA        FL 32505‐3484
MAVIS GROW                  10923 E MILLER RD                                                                  DURAND           MI 48429‐9415
MAVIS HAYES‐BERRY           3458 BEXVIE AVE                                                                    COLUMBUS         OH 43227‐3766
MAVIS HENSON                630 LITTLE BIRDSONG RD                                                             CAMDEN           TN 38320‐7125
MAVIS HOESEL                1500 ASH AVE                                                                       NEW SALEM        ND 58563
MAVIS HOOTON                4700 MORRIS AVE              C/O MAVIS ALENE HOOTON                                FORT WORTH       TX 76103‐3425
MAVIS HOPSON                15 W FERRY ST                                                                      MIAMISBURG       OH 45342‐2396
MAVIS HUSBAND               890 SPENCE ST                                                                      PONTIAC          MI 48340‐3057
MAVIS I SMITH               150 WINTER CREEK COURT                                                             ENGLEWOOD        OH 45322‐2246
MAVIS JACKSON               629 PARK CIR                                                                       CLIO             MI 48420‐1482
MAVIS KILEY                 21830 SYLVAN AVE                                                                   FLAT ROCK        MI 48134‐9002
MAVIS KIRBY                 3052 AYRE CT                                                                       FLINT            MI 48506‐5402
MAVIS LIRA                  2827 CYNWOOD ST                                                                    LANSING          MI 48906‐2807
MAVIS LOUDERMILK            245 TELFORD AVE                                                                    DAYTON           OH 45419‐3222
MAVIS MARCH                 3521 W DAYTON ST                                                                   FLINT            MI 48504‐2347
MAVIS MEYERS                P.O. BOX 61 M68‐33                                                                 TOWER            MI 49792
MAVIS MILLER                5272 GOODRICK RD                                                                   TRAVERSE CITY    MI 49684
MAVIS MOUNTS                819 HILOCK RD                                                                      COLUMBUS         OH 43207‐3188
MAVIS MUNDELL               4073 ELIZABETH ST                                                                  RICHMOND         IN 47374‐4576
MAVIS PAUL                  329 W DAUGHTERY RD           C/O SUE JONES                                         LAKELAND         FL 33809‐3314
MAVIS SHIMMONS              9489 HUBBARD RD                                                                    DAVISON          MI 48423‐9351
MAVIS SMITH                 150 WINTER CREEK CT                                                                ENGLEWOOD        OH 45322‐2246
MAVIS T WRIGHT              2831 WILLIAMSBURG ST NW                                                            WARREN           OH 44485‐2252
MAVIS TATE                  1773 FLINTWOOD DR SE                                                               ATLANTA          GA 30316‐4129
MAVIS TAYLOR                1405 N 10TH ST                                                                     SAGINAW          MI 48601‐1157
MAVIS TIDWELL               16400 UPTON RD LOT 233                                                             EAST LANSING     MI 48823‐9306
MAVIS TILLEY                3505 CATALINA LN                                                                   ARNOLD           MO 63010‐3501
MAVIS TOMASSION             7508 DEERING ST                                                                    WESTLAND         MI 48185‐2614
MAVIS WATERHOUSE            700 N BRUCE LN APT 302                                                             GLENWOOD          IL 60425‐1134
MAVIS WEBB                  1036 RAMSGATE RD                                                                   FLINT            MI 48532‐3109
MAVIS WILLIAMS              4802 LAKEWOOD HILLS CT                                                             ANDERSON         IN 46017‐9305
MAVIS WILSON                1441 MAPLE DR.                                                                     FAIRVIEW         MI 48621
MAVIS WITHEY                7240 N STATE RD                                                                    DAVISON          MI 48423‐9367
MAVIS WOODS                 428 KATHYS WAY                                                                     XENIA            OH 45385‐4883
MAVIS WRIGHT                2831 WILLIAMSBURG ST NW                                                            WARREN           OH 44485‐2252
MAVIS, JAMES L              5227 COLE RD                                                                       SAGINAW          MI 48601‐9759
MAVIS, LARRY M              1895 N CARTER RD                                                                   LINWOOD          MI 48634‐9726
MAVIS, LARRY M              760 W WIRBEL                                                                       PINCONNING       MI 48650
MAVIS, ROBERT L             904 N POWELL RD                                                                    ESSEXVILLE       MI 48732‐1767
MAVITY, JAMES R             210 COLLEEN PL                                                                     MC CORMICK       SC 29835‐3114
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Name                         Address1                           Address2                      Address3               Address4               City                  State Zip
MAVKO, DRAGO                 LJUBLJANSKA CESTA 106 1230                                                              DOMZALE EUROPE 00000
                                                                                                                     SLOVENIA
MAVREDES, WILLIAM D          30 PINEBROOK DR                                                                                                PINEHURST              NC 28374‐6821
MAVRETICH, MARK S            52261 FOREST GRV                                                                                               SHELBY TWP             MI 48315‐2316
MAVRIANOS JAMES K (471922)   HOWARD BRENNER & GARRIGAN‐NASS     1608 WALNUT ST , 17TH FLOOR                                                 PHILADELPHIA           PA 19103

MAVRIANOS, JAMES K           HOWARD BRENNER & GARRIGAN‐NASS     1608 WALNUT ST, 17TH FLOOR                                                  PHILADELPHIA           PA 19103

MAVRICH, LEONARD H           100 NORRIS DR                                                                                                  CANONSBURG             PA   15317‐2245
MAVRICH, PATRICIA A          370 FRANKLIN WRIGHT BLVD                                                                                       LAKE ORION             MI   48362‐1590
MAVRICK, JAMES C             1053 WATERWAY DR                                                                                               SEBASTIAN              FL   32976
MAVRICK, JAMES C             3743 N 900 E                                                                                                   GREENTOWN              IN   46936‐8836
MAVROLEON, EMMANUEL G        27 SOUTHWICK CT                                                                                                ANN ARBOR              MI   48105‐1409
MAVROLEON, YVONNE M          27 SOUTHWICK CT                                                                                                ANN ARBOR              MI   48105‐1409
MAVROUDIS GEORGE             3131 SW 89TH ST APT 7202                                                                                       OKLAHOMA CITY          OK   73159
MAWBY, LEONARD F             17830 NE DAVIS                                                                                                 PORTLAND               OR   97230‐6621
MAWDESLEY, HARTIE E          5664 JAY ROAD                                                                                                  VASSAR                 MI   48768‐9425
MAWDESLEY, JOSEPH W          11900 SEVEN PINE DR                                                                                            HOLLAND                MI   49424
MAWDSLEY, AGNES J            7266 MT MORRIS RD                                                                                              FLUSHING               MI   48433‐8831
MAWDSLEY, AGNES J            7266 W MOUNT MORRIS RD                                                                                         FLUSHING               MI   48433‐8831
MAWER II, JOHN D             2922 COVERT RD                                                                                                 GLENVIEW               IL   60025‐4609
MAWER, DAWN A                4386 KILLARNEY PARK DR                                                                                         BURTON                 MI   48529‐1823
MAWER, GREGORY L             5187 IRISH RD                                                                                                  GRAND BLANC            MI   48439‐9727
MAWER, SARAH J               2540 DAVID LANE                                                                                                LAPEER                 MI   48446‐8330
MAWHINNEY JR, ROBERT E       141 CASTANO DR                                                                                                 HOT SPRINGS VILLAGE    AR   71909‐4513
MAWHINNEY, GARY D            3715 PARK VIEW DR                                                                                              JANESVILLE             WI   53546‐1715
MAWHINNEY, KENNETH C         3606 DALE AVE                                                                                                  FLINT                  MI   48506‐4734
MAWHINNEY, KENNETH CARL      3606 DALE AVE                                                                                                  FLINT                  MI   48506‐4734
MAWHINNEY, PERCYLEE N        26201 WOODARD AVE                                                                                              MOFFAT                 CO   81143‐9701
MAWHINNEY, PERCYLEE N        26201 WOODWARD AVE                                                                                             MOFFAT                 CO   81143‐9701
MAWHINNEY, RICHARD R         5689 BERKELEY RD                                                                                               GOLETA                 CA   93117‐2153
MAWHORTER, DUANE H           7596 HUBERT RD                                                                                                 HUBBARD LAKE           MI   49747‐9709
MAWHORTER, GERALD C          11301 E MANNSIDING RD                                                                                          GLADWIN                MI   48624‐9304
MAWN, ROBERT E               15676 ABLE LN                                                                                                  MILLERSBURG            MI   49759‐9605
MAWRI, ALI A                 5437 KENILWORTH ST                                                                                             DEARBORN               MI   48126‐3163
MAWRI, MOHAMED S             3259 ROBERT ST                                                                                                 DEARBORN               MI   48120‐1436
MAWRISIO GATICA              PO BOX 582                                                                                                     MOUNT MORRIS           MI   48458‐0582
MAWRISIO V GATICA            PO BOX 582                                                                                                     MOUNT MORRIS           MI   48458‐0582
MAWRY, AMINA                 2794 ROULO ST                                                                                                  DEARBORN               MI   48120‐1545
MAWRY, AMINA                 2794 ROULO STREET                                                                                              DEARBORN               MI   48120‐1545
MAWSON & MAWSON INC          PO BOX 248                                                                                                     LANGHORNE              PA   19047‐0248
MAWSON, HAROLD D             GLENWOOD APTS.                     1130 S.E. LETHA CIR.          BUILDING # 7 APT:# 2                          STUART                 FL   34994
MAWUSI‐BEY, IFE OSEYE        4353 MILL VIEW CT APT 1A                                                                                       INDIANAPOLIS           IN   46226‐7325
MAWYIN, PABLO                6712 COLDWATER APT 104                                                                                         NORTH HOLLYWOOD        CA   91606
MAX & ELEANOR BINGMAN        MAX BINGMAN & ELEANOR BINGMAN JT   177 S ROOSEVELT                                                             MOSCOW                 ID   83843‐3685
                             TEN/WROS
MAX & ESTHER JAGERMAN        9795 N 93RD WAY UNIT 163                                                                                       SCOTTSDALE            AZ    85258
MAX A MEISSNER JR            509 REINHARDT DR                                                                                               BAY CITY              MI    48706‐3233
MAX A ROTH                   3290 SOUTHFIELD DR                                                                                             BEAVERCREEK           OH    45434
MAX A TAUBERT                4380 S. KESSLER FREDERICK RD                                                                                   WEST MILTON           OH    45383‐9703
MAX ADAMS                    15051 BEACH FRONT DR                                                                                           EXCELSIOR SPRINGS     MO    64024‐7258
MAX AIMAN                    6115 S 425 W                                                                                                   PENDLETON             IN    46064‐9618
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Name                             Address1                       Address2            Address3         Address4              City              State Zip
MAX ALLEN                        17830 DOBBYNS RD                                                                          ATLANTA            MI 49709‐8811
MAX AMOS                         2138 S 450 E                                                                              ANDERSON           IN 46017‐9359
MAX AND PEGGY HERMAN LIV TRUST   MAX AND PEGGY HERMAN COTTEES   UAD 12‐10‐1996      151 LATTICE LN                         COLLEGEVILLE       PA 19426
MAX ANDERSON                     3050 N CAPITOL AVE             APT 1                                                      BLOOMINGTON        IN 47404‐7915
MAX ANDERSON                     301 S OHIO ST                                                                             CONVERSE           IN 46919
MAX ANETZBERGER                  REDLING 21                     94051 HAUZENBERG                                                              DE
MAX ANTINAZI                     1400 OAK FOREST CT NE                                                                     ATLANTA            GA 30319‐1427
MAX ATTEBERRY                    180 MANOR WAY                                                                             ROCHESTER HILLS    MI 48309‐2019
MAX BAKER                        1660 PUMPKINVINE HILL RD                                                                  MARTINSVILLE       IN 46151‐6786
MAX BARKER                       ROUTE 1, BOX 5304              OLIVET ROAD                                                GEORGETOWN          IL 61846
MAX BARNES                       421 FALCON DR                                                                             WAYLAND            MI 49348‐1352
MAX BARTLETT                     7008 CATTAIL CORNER DR                                                                    LANSING            MI 48911‐7018
MAX BARTON                       8196 S 600 W                                                                              WARREN             IN 46792‐9734
MAX BEEBE JR                     332 ALLEN AVE                                                                             ALMA               MI 48801‐2408
MAX BEIDER                       ALEXANDER MIKHALEV             MADELEGABELSTR 79                    81825 MUNCHEN
MAX BEIDER                       M─DELEGABELSTRASSE 79                                                                     M▄NCHEN           DE   81825
MAX BELBOT                       210 W PIKE ST APT 114N                                                                    MARTINSVILLE      IN   46151
MAX BELL                         6476 W 400 S                                                                              RUSSIAVILLE       IN   46979‐9704
MAX BELL JR                      1776 FAIRVIEW DR                                                                          CORONA            CA   92880‐1266
MAX BERMAN                       1550 BEACON ST APT 9H                                                                     BROOKLINE         MA   02446‐2218
MAX BIENKO JR                    24653 ORIOLE ST                                                                           TAYLOR            MI   48180‐5144
MAX BLACKMER                     12092 JOHNSON RD                                                                          BELOIT            OH   44609‐9223
MAX BLACKMORE                    PO BOX 21                                                                                 COATESVILLE       IN   46121‐0021
MAX BOWEN                        6415 MACEDAY DR                                                                           WATERFORD         MI   48329‐2724
MAX BRADLEY                      3109 YALE ST                                                                              FLINT             MI   48503‐4611
MAX BRAMEL                       7353 S 1000 W                                                                             SWAYZEE           IN   46986‐9605
MAX BRIGGS                       5671 E SESSIONS RD                                                                        SHERIDAN          MI   48884‐9734
MAX BROKAW                       6603 HUBBARD AVE                                                                          MIDDLETON         WI   53562‐3221
MAX BROWN                        7307 24TH AVE W                                                                           BRADENTON         FL   34209‐5336
MAX BROWN                        PO BOX 511                                                                                EATON             IN   47338‐0511
MAX BROWN                        2977 S PEORIA DR                                                                          PERU              IN   46970‐7097
MAX BRUNT                        950 E INDIANA ST               PO BOX 331                                                 SUMMITVILLE       IN   46070‐9749
MAX BURGESS JR                   2625 SW 93RD ST                                                                           OKLAHOMA CITY     OK   73159‐6714
MAX BUTTERFIELD                  18995 COUNTY ROAD 4072                                                                    KEMP              TX   75143‐6105
MAX CALDER                       2407 W CLARK RD                                                                           LANSING           MI   48906‐9206
MAX CAMDEN                       503 E SOUTH HOLLY RD                                                                      FENTON            MI   48430‐2981
MAX CECIL                        3809 N REDDING RD                                                                         MUNCIE            IN   47304‐1332
MAX CHAMBERS                     4764 S 870 W                                                                              RUSSIAVILLE       IN   46979‐9112
MAX CHRIVIA                      11998 BRADY RD                                                                            CHESANING         MI   48616‐1081
MAX CLARK                        5078 IMLAY CITY RD                                                                        ATTICA            MI   48412‐9659
MAX COCHRAN                      8371 AARWOOD TRL NW                                                                       RAPID CITY        MI   49676‐9744
MAX COCHRAN                      6943 E GARY CIR                                                                           MESA              AZ   85207‐3741
MAX COHEN
MAX COLEMAN                      198 PIPERS LN                                                                             MOUNT MORRIS      MI   48458‐8855
MAX CONGDON                      E7036 SPRUCE RD                                                                           BESSEMER          MI   49911‐9773
MAX CONVERSE JR                  5695 CRANDALL RD                                                                          HOWELL            MI   48855‐8741
MAX COSTON                       918 N ANDERSON ST                                                                         ELWOOD            IN   46036‐1160
MAX COUCH                        7320 W 500 S                                                                              SWAYZEE           IN   46986‐9783
MAX CRONK                        3832 NW BARRY RD APT A                                                                    KANSAS CITY       MO   64154‐3768
MAX CZEMERYNSKI JR               2605 CLARESIDE DR                                                                         VALRICO           FL   33596‐8315
MAX DADE                         4496 PHALANX MILLS HERNER RD                                                              W FARMINGTON      OH   44491‐9732
MAX DARLING                      306 N TABOR ST                                                                            LYONS             MI   48851‐9658
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Name                  Address1                          Address2                      Address3   Address4            City                   State Zip
MAX DAUGHERTY         1702 HAWTHORNE DR                                                                              PLAINFIELD              IN 46168‐1825
MAX DAVIDSON
MAX DAWSON            18 TERRACE AVE                                                                                 HIGHLAND HGTS          KY   41076‐2018
MAX DENNIS            THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                                  HOUSTON                TX   77017
MAX DIENHART          8308 LAPEER RD                                                                                 DAVISON                MI   48423‐2528
MAX DOLLARHITE        8700 W HYDE RD                                                                                 SAINT JOHNS            MI   48879‐9737
MAX DOROTHY           MAX, DOROTHY                      614 SUPERIOR AVENUE NW 1350                                  CLEVELAND              OH   44113
                                                        ROCKFELLER BLDG
MAX DOTY              4271 NICKLEPLATE RD                                                                            IONIA                  MI   48846‐8707
MAX DRINNON           1674 SCENIC DR                                                                                 DAYTON                 OH   45414‐3047
MAX DUNN              3976 E CEDAR LAKE DR                                                                           GREENBUSH              MI   48738‐9723
MAX DURHAM            R. R. 5 BOX 192‐A                                                                              BLOOMFIELD             IN   47424
MAX DURHAM            RR 1 BOX 166A                                                                                  JASONVILLE             IN   47438‐9739
MAX DYE, INC.         MICHAEL DYE                       1501 W MAIN ST                                               SALEM                  IL   62881‐3867
MAX DYE, INC.         1501 W MAIN ST                                                                                 SALEM                  IL   62881‐3867
MAX E BINGMAN         177 S ROOSEVELT                                                                                MOSCOW                 ID   83843‐3685
MAX E BRUDER JR       1059 TERRY AVE                                                                                 MOUNT MORRIS           MI   48458‐2539
MAX E HOWARD          994 DEWEY ST                                                                                   PONTIAC                MI   48340‐2634
MAX E RINNERT IRA     MAX E RINNERT                     8749 MEADOWBROOK DR                                          PENSACOLA              FL   32514‐5628
MAX E TILLER          4905 NORTHCUTT PL APT 8                                                                        DAYTON                 OH   45414
MAX E WEIDENBURNER    729 FERNDALE AVE                                                                               TILTON                 IL   61833‐7929
MAX EDER              9921 SAINT CHARLES CT             C/O NANCY E ZWART                                            NEW PORT RICHEY        FL   34655‐1429
MAX ENGINEERING INC   7039 GOLF CLUB RD                                                                              HOWELL                 MI   48843‐9024
MAX ENGLE             9960 S E 00 W                                                                                  FAIRMOUNT              IN   46928
MAX EPHRAIM, JR.
MAX ERWIN             705 PLEASANT GROVE RD             RR 2 RURAL BOX 705                                           SPRINGVILLE            TN 38256‐5115
MAX EVANS             420 S MAIN ST                                                                                  VICKSBURG              MI 49097‐1317
MAX FARHAD            41441 REINDEER DR                                                                              NOVI                   MI 48375‐4832
MAX FARK              WILHELM‐HEY‐STR. 19                                                        D‐81243 MUENCHEN
                                                                                                 GERMANY
MAX FARMER            3483 HILDON CIR                                                                                CHAMBLEE               GA   30341‐2604
MAX FAUROT            PO BOX 91                                                                                      CHARLOTTE              MI   48813‐0091
MAX FIELDS            6239 N 940 W                                                                                   MIDDLETOWN             IN   47356
MAX FISHER SR         291 LOUISE LN                                                                                  HOUMA                  LA   70364‐1139
MAX FLAUDING          5711 W COUNTY ROAD 1070 N LOT 1                                                                GASTON                 IN   47342‐8827
MAX FOLAND            1073 ADAMS RD                                                                                  HOPE                   MI   48628‐9706
MAX FONG              36138 DOMINION CIR                                                                             STERLING HTS           MI   48310‐7456
MAX FOWLER            175 N LAKE GEORGE RD                                                                           ATTICA                 MI   48412‐9669
MAX FRANCISCO         1964 STRAWBERRY AVE                                                                            LAKE                   MI   48632‐8942
MAX FRAZIER           1285 E WALNUT ST                                                                               SUMMITVILLE            IN   46070‐9636
MAX FREEMAN           2384 RED MAPLE DR                                                                              TROY                   MI   48098‐2249
MAX FULLER            THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                                  HOUSTON                TX   77017
MAX GARCIA            625 O MELVENY AVE                                                                              SAN FERNANDO           CA   91340
MAX GARDNER           1075 ONONDAGA RD                                                                               HOLT                   MI   48842‐9665
MAX GARRETT           2634 E COLLINGSWOOD DR                                                                         BELOIT                 WI   53511‐2337
MAX GAWLEY            89 WILLOW TREE PL                                                                              GROSSE POINTE SHORES   MI   48236‐1322
MAX GEIGER            489 CHICAGO AVE                                                                                COLOMA                 WI   54930
MAX GENTRY            1735 BROADWAY ST                                                                               ANDERSON               IN   46012‐2446
MAX GILL              10795 BAKEWAY DR                                                                               INDIANAPOLIS           IN   46231‐2705
MAX GOLOMBISKY        5230 N CENTER RD RTE 2                                                                         SAGINAW                MI   48604
MAX GORZKIEWICZ       910 CROSS ST                                                                                   OXFORD                 MI   48371‐3586
MAX GOSSEL            1356 ROBINWOOD DR                                                                              FLUSHING               MI   48433‐1851
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Name                      Address1                      Address2                      Address3   Address4         City              State Zip
MAX GOYKE                 24920 WARRINGTON AVE                                                                    EASTPOINTE         MI 48021‐4223
MAX GRANT & JOYCE GRANT   910 BETHEL DR                                                                           SALISBURY          NC 28144
MAX GRIDER                9239 GRAYTRAX RD                                                                        GRAND BLANC        MI 48439‐8004
MAX GRIFFEY               16142 E 101ST ST                                                                        FORTVILLE          IN 46040‐9618
MAX GRUBER                6 GREENHILL DR APT 29B                                                                  FISHKILL           NY 12524‐3715
MAX GUY                   1559 146TH AVE                                                                          DORR               MI 49323‐9744
MAX H LINKER              PO BOX 406                                                                              LEAVITTSBURG       OH 44430‐0406
MAX HAGER                 GRUENDLING 2                  A‐4675 WEIBERN
MAX HAIGHT                10600 JORDAN RD                                                                         LAKE ODESSA       MI   48849‐9451
MAX HALBROOK              1720 PRINCETON RD                                                                       WOODBURN          OR   97071‐2534
MAX HALL                  6181 SHERMAN TERRACE DR                                                                 MASON             OH   45040‐9171
MAX HAMILTON              THE MADEKSHO LAW FIRM         8866 GULF FREEWAY SUITE 440                               HOUSTON           TX   77017
MAX HARNISCH I I I        21833 BOHN RD                                                                           BELLEVILLE        MI   48111‐9210
MAX HARPER                134 CROW DR                                                                             LEESBURG          GA   31763‐4721
MAX HARRIS                2121 WATERLOO CIR                                                                       LAWRENCEVILLE     GA   30043‐3962
MAX HARVEY                124 DENWOOD TRL                                                                         CLAYTON           OH   45315‐9631
MAX HAYDEN                3640 W 67TH ST                                                                          ANDERSON          IN   46011‐9485
MAX HAYES                 1533 WISCONSIN AVE                                                                      FLINT             MI   48506‐3572
MAX HAYES                 2004 S VASSAR RD                                                                        BURTON            MI   48519‐1346
MAX HEAVENRICH III        6783 BIANCO                                                                             ALANSON           MI   49706‐8209
MAX HELSLEY               321 W SOUTH ST                                                                          GREENFIELD        IN   46140‐2268
MAX HELTON                6429 MADISON ST                                                                         TAYLOR            MI   48180‐1722
MAX HEMINGWAY             2248 SULLIVAN RD                                                                        ARCADE            NY   14009‐9747
MAX HERBERT               809 E NEW YORK ST                                                                       LONG BEACH        CA   90813‐3530
MAX HETHCOTE              6326 W 800 S                                                                            WARREN            IN   46792‐9735
MAX HETHERINGTON          440 ELZIE HILL DR                                                                       HENDERSONVILLE    NC   28792‐9161
MAX HEYWARD               120 S SAINT LUCAS ST                                                                    ALLENTOWN         PA   18104‐6433
MAX HILLMAN               3670 CREEK RD                                                                           YOUNGSTOWN        NY   14174‐1366
MAX HINKLE                215 GREEN ST                                                                            TIPTON            IN   46072‐1634
MAX HODGE                 4994 EAST US HIGHWAY 36                                                                 MARKLEVILLE       IN   46056‐9742
MAX HODGE                 4994 E US HIGHWAY 36                                                                    MARKLEVILLE       IN   46056‐9742
MAX HODGES                10430 S 88TH AVE                                                                        PALOS HILLS       IL   60465‐1635
MAX HOGAN                 709 GRANT ST                                                                            FENTON            MI   48430‐2058
MAX HOPPES                2713 W HUNTSVILLE RD                                                                    PENDLETON         IN   46064‐8558
MAX HUDSPETH              10751 RESTLESS RD                                                                       ROVER             AR   72860‐8005
MAX HUESTON               4070 W 200 N                                                                            KOKOMO            IN   46901‐9102
MAX HUNT                  5314 PATTERSON LN                                                                       ANDERSON          IN   46017‐9754
MAX HUNT                  673 PATTON RD                                                                           FRANKLIN          KY   42134‐9538
MAX HUTCHISON             2340 GLENDALE                                                                           TOLEDO            OH   43614
MAX IMPACT CORP           PO BOX 70233                                                                            ROCHESTER HILLS   MI   48307‐0005
MAX INGRAM                218 OAK RIDGE DR SE                                                                     MARIETTA          GA   30060‐3412
MAX ISAACS                231 E 11TH ST                                                                           NEW YORK          NY   10003
MAX J FULMER              3600 HILLCREST                                                                          DAYTON            OH   45406‐2617
MAX JACOBS                7005 S DE SOTO ST                                                                       TAMPA             FL   33616‐1807
MAX JOHNSON               934 HELEN AVE                                                                           TERRE HAUTE       IN   47802‐3851
MAX JOHNSON               6943 N 200 E                                                                            ALEXANDRIA        IN   46001‐8862
MAX JOHNSON JR            2095 BEAUWOOD LN                                                                        BRUTUS            MI   49716‐9579
MAX JONES                 11446 N JENNINGS RD                                                                     CLIO              MI   48420‐1569
MAX JOYNER                300 W SKYWAY DR                                                                         MUNCIE            IN   47303‐1147
MAX JR., EDWARD C         3673 PIERCE DR                                                                          SHELBY TWP        MI   48316‐1108
MAX JR., EDWARD C.        3673 PIERCE DR                                                                          SHELBY TWP        MI   48316‐1108
MAX KAISER                7111 CAPISTRANO AVE                                                                     WEST HILLS        CA   91307‐2322
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Name                               Address1                        Address2                       Address3          Address4                City           State Zip
MAX KANE                           10611 SAN JOAQUIN VLY DR                                                                                 LITTLE ROCK     AR 72212
MAX KAYSER                         20 AN WANGERT                                                                    L‐6830 BERBOURG
                                                                                                                    LUXEMBOURG
MAX KELCH                          2121 SHAWNEE DR                                                                                          DEFIANCE       OH 43512‐3332
MAX KELLEY                         6221 GROVENBURG RD                                                                                       LANSING        MI 48911‐5409
MAX KING & SON COMPLETE AUTO       430 PINE ST                                                                                              CORUNNA        MI 48817‐1033
SERVICE & TOWING
MAX KING & SON COMPLETE AUTO       4040 E M 71                                                                                              CORUNNA        MI 48817‐9509
SERVICE & TOWING
MAX KINSEY                         775 N CLARK ST                                                                                           MARKLE         IN   46770‐9701
MAX KIRK                           PO BOX 73180                                                                                             KANSAS CITY    MO   64116
MAX KIRKWOOD                       5691 S 600 E                                                                                             GAS CITY       IN   46933‐9548
MAX KLEINFELD                      3831 CANADA RD                                                                                           BIRCH RUN      MI   48415‐9043
MAX KLEINFELD                      PO BOX 737                                                                                               MOUNT MORRIS   MI   48458‐0737
MAX KLISE                          1708 PLEASANT DR                                                                                         KOKOMO         IN   46902‐5854
MAX KNUPP                          100 N GAINER FERRY RD                                                                                    BATESVILLE     AR   72501‐9211
MAX KOBAL JR                       1510 N BUCK RD LOT 95                                                                                    LAKESIDE       OH   43440‐9608
MAX KORT                           106FOREST GROVE CRES                                                             DORCHESTER ON N0L1G3
                                                                                                                    CANADA
MAX KROUSE                         G 6433 N HARBARD                                                                                         MOUNT MORRIS   MI   48458
MAX KULAKOFF                       6222 HELICONIA RD                                                                                        DELRAY BEACH   FL   33484‐4674
MAX L HARNISCH III                 21833 BOHN RD                                                                                            BELLEVILLE     MI   48111‐9210
MAX L NEWMAN                       4995 E WILKINSON RD                                                                                      OWOSSO         MI   48867‐9616
MAX L NOBLE                        905 CENTER AVE                                                                                           BAY CITY       MI   48708‐6117
MAX L NOBLE CPA                    ATTN: MAX L NOBLE               905 CENTER AVE                                                           BAY CITY       MI   48708‐6100
MAX LACY                           3051 S 337 E                                                                                             KOKOMO         IN   46902‐9525
MAX LEITERMANN                     7707 GLENOAK PKWY                                                                                        FORT WAYNE     IN   46815‐6531
MAX LEROY RAHN                     C/O NIX PATTERSON & ROACH LLP   GM BANKRUPTCY DEPARTMENT       205 LINDA DRIVE                           DAINGERFIELD   TX   75638
MAX LEVY AUTOGRAPH INC             2710 COMMERCE WAY                                                                                        PHILADELPHIA   PA   19154‐1016
MAX LEWIS                          1924 HENRY GALLMAN RD                                                                                    RESACA         GA   30735‐5017
MAX LILLY                          2840 MARLINGTON RD                                                                                       WATERFORD      MI   48329‐3646
MAX LINKER                         PO BOX 406                                                                                               LEAVITTSBURG   OH   44430‐0406
MAX LIPINSKI                       967 GAINEY AVE                                                                                           FLINT          MI   48503‐3124
MAX LOCKE                          1608 S YORK RD                                                                                           YORKTOWN       IN   47396‐6805
MAX LOCKWOOD                       539 MARTIN ST                                                                                            OWOSSO         MI   48867‐3315
MAX LOPEZ                          3751 OAKWOOD PL                                                                                          RIVERSIDE      CA   92506‐1832
MAX LOUDENBACK                     931 LONG CT                                                                                              NEW CASTLE     IN   47362‐4300
MAX LUTZ                           13520 N FENTON RD                                                                                        FENTON         MI   48430‐1171
MAX M WOJCIECHOWSKI                59 KIRKWOOD DR                                                                                           WEST SENECA    NY   14224‐1803
MAX MACHINERY INC                  1420 HEALDSBURG AVE                                                                                      HEALDSBURG     CA   95448‐3207
MAX MAIR                           ROMAN‐BOOS‐STR. 14 ,87672
                                   ROSSHAUPTEN
MAX MARCUS KATZ PENSION & PROFIT   C/O MAX MARCUS KATZ PC          88 UNIVERSITY PLACE FLOOR 8                                              NEW YORK       NY 10003‐4513
SHARING PLAN
MAX MARKLE                         2204 E STATE ROAD 38                                                                                     MARKLEVILLE    IN 46056‐9758
MAX MARKUS KATZ PENSION & PROFIT   C/O MAX MARKUS KATZ, P C        88 UNIVERSITY PLACE, FLOOR 8                                             NEW YORK       NY 10003
SHARING PLAN
MAX MARTIN                         4950 SYLVANIA PETERSBURG RD                                                                              PETERSBURG     MI   49270‐9364
MAX MASON                          1551 KERN RD                                                                                             REESE          MI   48757‐9439
MAX MAST                           2924 E 500 S                                                                                             CUTLER         IN   46920‐9412
MAX MATCHETT                       4386 W 1725 N                                                                                            ELWOOD         IN   46036‐9296
MAX MATTHES                        1005 N FRANKLIN ST APT 207                                                                               WILMINGTON     DE   19806‐4541
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Name                  Address1                       Address2               Address3      Address4         City             State Zip
MAX MAUER             4489 TILLIE DR                                                                       FLINT             MI 48504‐1010
MAX MAUPIN            1823 ROUNDHILL DR                                                                    ANDERSON          IN 46013‐2547
MAX MAY               1403 N CANAL ST                                                                      ALEXANDRIA        IN 46001‐1003
MAX MC COWAN          9239 QUANDT AVE                                                                      ALLEN PARK        MI 48101‐1530
MAX MCCOLLUM          210 N LINDEN ST                                                                      DU QUOIN           IL 62832‐1020
MAX MCCONNELL         11103 ARLINGTON RD                                                                   BROOKVILLE        OH 45309‐9633
MAX MCDANIEL          2770 GILES MILL RD                                                                   BUNKER HILL       WV 25413‐2746
MAX MCGRADY           1316 RANIKE DR                                                                       ANDERSON          IN 46012‐2744
MAX MEDIA LLC         AUBREY LOVING, JR.             900 LASKIN ROAD                                       VIRGINIA BEACH    VA 23451
MAX MEIER             KANALWEG5                                                                            AUERBACH          DE 08209
MAX MEISSNER JR       509 REINHARDT DR                                                                     BAY CITY          MI 48706‐3233
MAX MEJIA             6074 GLENRIDGE RD                                                                    BOARDMAN          OH 44512‐3101
MAX MERCER            2584 W MERCER LN                                                                     PENDLETON         IN 46064‐9313
MAX MICHAEL           C/O PAUL BODYCOMB              3535 FISHINGER BLVD.                                  HILLIARD          OH 43026
MAX MILHOLIN          17815 COLVIN RD                                                                      SAINT CHARLES     MI 48655‐9782
MAX MILLER            5015 TENNY ST                                                                        LANSING           MI 48910‐5344
MAX MILLER            237 N 5TH ST                                                                         DECATUR           IN 46733‐1354
MAX MILLER JR         6299 QUAIL STREET                                                                    HASLETT           MI 48840‐8934
MAX MILLER JR         6299 QUAIL ST                                                                        HASLETT           MI 48840‐8934
MAX MITCHELL          PO BOX 707                                                                           BIRCH RUN         MI 48415‐0707
MAX MOHLER            509 S MERIDIAN ST                                                                    GREENTOWN         IN 46936‐1427
MAX MOON              1 KEAHOLE PL APT 1205                                                                HONOLULU          HI 96825‐3420
MAX MORRIS            5336 FINNEY RD                                                                       GLASGOW           KY 42141‐9648
MAX MOTORS, LLC       PO BOX 72                                                                            BUTLER            MO 64730‐0072
MAX MOTORS, LLC       MARK MULLER                    PO BOX 72                                             BUTLER            MO 64730‐0072
MAX MOWERY            5782 DAVISON RD                                                                      LAPEER            MI 48446‐2735
MAX MRI IMAGING       17530 VENTURA BLVD STE 105                                                           ENCINO            CA 91316‐3883
MAX MRI IMAGING INC   17530 VENTURA BLVD STE 105                                                           ENCINO            CA 91316‐3883
MAX MUMMERT           2662 BRIMSTONE CREEK RD                                                              MOSS              TN 38575‐5024
MAX MUSTER            MUSTERGASSE 10                                                                       BERLIN                 12345
MAX MUSTER            MUSTERSTR                                                                            FRANKFURT
MAX MUSTER            MUSTERSTRASSE 8                                                                      LINDAU            DE 88131
MAX MUSTER            MUSTERSTR. 12
MAX MUSTER            WEIHERWEG 4                    MUENCHEN
MAX MUSTER            MUSTERSTR. 1                   20000 MUSTERSTADT      GERMANY
MAX MUSTER            MUSTER
MAX MUSTER            WEIHERWEG
MAX MUSTER            MUSTERWEG 1                                                                          MUSTERSTADT      AK    12345
MAX MUSTERMAN         MUSTERGASSE 6                                                                        JENA                   07743
MAX MUSTERMANN        MUSTERSTR. 1                                                                         FRANKFURT
MAX MUSTERMANN        MUSTERSTR. 123                                                                       MUSTERSTADT            12345
MAX MUSTERMANN        MUSTERGASSE 0815                                                                     DUMMSDORF              12345
MAX MUSTERMANN        MUSTERSTRASSE 51                                                                     MUSTERSTADT            10000
MAX MUSTERMANN        MUSTERSTRA▀E 5                 75172 PFORZHEIM
MAX MUSTERMANN        MUSTERSTR. 94
MAX MUSTERMANN        MUSTERSTR. 1                   12345 MUSTERSTADT      GERMANY
MAX MUSTERMANN        MUSTERSTRASSE 12               12345 MUSTERSTSTADT
MAX MUSTERMANN        MUSTERSTRA▀E 3                                                                       OBERHAUSEN        DE
MAX MUSTERMANN        MUSTERSTR. 22                                                                        MUSTERSTADT            12345
MAX MUSTERMANN        MUSTERMANNSTR. 12
MAX MUSTERMANN        IM END 35                                                                            WEGBERG
MAX MUSTRMANN         MUSTERSTR. 11                                                                        MUSTERSTADT      DE 90408
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Name                     Address1                         Address2                      Address3                     Address4            City             State Zip
MAX MYERS MOTORS INC.    209 N MAIN ST                                                                                                   MIDDLEBURY        IN 46540‐9087
MAX MYERS MOTORS, INC.   209 N MAIN ST                                                                                                   MIDDLEBURY        IN 46540‐9087
MAX MYERS MOTORS, INC.   RICHARD MYERS                    209 N MAIN ST                                                                  MIDDLEBURY        IN 46540‐9087
MAX NASH                 PO BOX 303                                                                                                      SUMMITVILLE       IN 46070‐0303
MAX NEIDLINGER           2718 S COUNTY ROAD 450 W                                                                                        FRANKFORT         IN 46041‐7411
MAX NELSON               2027 ONTARIO AVE NE                                                                                             GRAND RAPIDS      MI 49505‐4470
MAX NORRIS               14411 N ALAMO CANYON DR                                                                                         TUCSON            AZ 85755‐6682
MAX OATES JR             100 N RALEIGH ST                                                                                                MARTINSBURG       WV 25401‐2753
MAX OLIVER               4307 S LEONARD SPRINGS RD                                                                                       BLOOMINGTON       IN 47403‐4078
MAX OLIVER               6226 E COLDWATER RD                                                                                             FLINT             MI 48506‐1212
MAX OSTRANDER            84 NASH DR 698                                                                                                  MIO               MI 48647
MAX PASCHAL              6794 S 50 W                                                                                                     PENDLETON         IN 46064‐9074
MAX PATTISON             733 EASTMONT DR                                                                                                 GAS CITY          IN 46933‐1537
MAX PAUL CLINARD         ATTN: ROBERT W PHILLIPS          SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD, PO BOX                       EAST ALTON         IL 62024
                                                          ANGELIDES & BARNERD LLD       521
MAX PAYNE                BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                     BOSTON HTS       OH   44236
MAX PECK                 1065 E GENESEE AVE                                                                                              FLINT            MI   48505‐1612
MAX PELIFIAN             11 SERRA LN                                                                                                     MASSENA          NY   13662‐1640
MAX PENLEY               15 LAUREL LN                                                                                                    BLACK MTN        NC   28711‐8788
MAX PERREN               7420 SE PERREN RD                                                                                               HOLT             MO   64048‐8387
MAX PETERSEN             641 LAKEVIEW DR                                                                                                 NOBLESVILLE      IN   46060‐1217
MAX PHILLIPPE            4520 S 450 W                                                                                                    MARION           IN   46953‐9741
MAX PLETCH               5936 S STATE ROAD 39                                                                                            FRANKFORT        IN   46041‐8835
MAX POHL                 1802 ELEUTHERA POINTE            APT H3                                                                         COCONUT CREEK    FL   33066
MAX POLLITT              6521 N COUNTY ROAD 600 W                                                                                        SAINT PAUL       IN   47272‐9733
MAX POST                 4045 FOUR LAKES AVE                                                                                             LINDEN           MI   48451‐9480
MAX POTTER               5841 W GRESHAM HWY                                                                                              CHARLOTTE        MI   48813‐8840
MAX PRELOG               7920 MCHENRY ST                                                                                                 BURLINGTON       WI   53105‐8792
MAX PUCKETT              10161 ARROWHEAD DR                                                                                              PUNTA GORDA      FL   33955‐4704
MAX QUALLS               PO BOX 201                                                                                                      ALBANY           KY   42602‐0201
MAX QUIRK                PO BOX 214                                                                                                      GALVESTON        IN   46932‐0214
MAX R BECRAFT            5001 BAYSIDE DR                                                                                                 RIVERSIDE        OH   45431
MAX R. GASKAMP
MAX RAMIREZ JR           1488 PRAIRIE ROSE                                                                                               SEGUIN           TX 78155‐0277
MAX RAZO                 29533 ABELIA RD                                                                                                 CANYON CNTRY     CA 91387‐1957
MAX RE                   ELIZABETH STEWART MAXBERMUDA LTD MAX HOUSE                     2 FRONT ST                   HAMILTON, BERMUDA

MAX REECE                4827 W STATE ROAD 38                                                                                            NEW CASTLE       IN   47362‐8924
MAX RHEW                 5242 COUNCIL RING BLVD                                                                                          KOKOMO           IN   46902‐5423
MAX RICHARD JR           MAX, RICHARD                     30 E BUTLER AVE                                                                AMBLER           PA   19002‐4514
MAX RIEKE & BROTHERS                                      15400 MIDLAND DR                                                                                KS   66217
MAX RIGBY                1103 HUDSON AVE                                                                                                 SALT LAKE CITY   UT   84106‐2618
MAX RIGGS                6381 PHEASANT CT                                                                                                PENDLETON        IN   46064‐9616
MAX RIPPLE               3846 W COUNTY ROAD 675 N                                                                                        BRAZIL           IN   47834‐7264
MAX ROBERT               MAX, ROBERT                      2550 FIFTH AVENUE 9TH FLOOR                                                    SAN DIEGO        CA   92103
MAX ROBINSON             1461 S GENEVIEVE ST                                                                                             BURTON           MI   48509‐2401
MAX ROBISON              722 CAMINO DEL REY DR                                                                                           LADY LAKE        FL   32159‐9155
MAX ROCKAFELLOW          1425 WATERSMEET LAKE RD                                                                                         EAGLE RIVER      WI   54521‐8316
MAX ROMERO               14968 BLEEKER ST                                                                                                SYLMAR           CA   91342‐5234
MAX ROSS                 9014 ARBOR DR                                                                                                   N FORT MYERS     FL   33903‐2174
MAX ROTH                 3455 TOWNLINE RD                                                                                                OMER             MI   48749‐9741
MAX ROTH                 3290 SOUTHFIELD DR                                                                                              BEAVERCREEK      OH   45434‐5726
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Name                          Address1                          Address2                       Address3        Address4               City               State Zip
MAX S BINGHAM                 C/O G PATTERSON KEAHEY P C        ONE INDEPENDENCE PLAZA STE 612                                        BIRMINGHAM          AL 35209

MAX SAGESSE
MAX SAINSBURY                 MANCHESTER PLACE                  601 SLIFER ST APT 125                                                 PORTAGE            WI 53901
MAX SALINAS JR                2385 FERNWOOD LN                                                                                        BRENTWOOD          CA 94513‐5636
MAX SCHAFSNITZ                5245 WILDER RD                                                                                          VASSAR             MI 48768‐9744
MAX SCHNEIDER                 GERSDORFSTR. 66                                                                  12105 BERLIN GERMANY
MAX SCHOFIELD                 308 N MAPLE AVE                                                                                         WAVERLY            TN   37185‐1519
MAX SCHULTE                   206 COLEBOURNE RD                                                                                       ROCHESTER          NY   14609‐6733
MAX SCOTT                     4870 S 750 E                                                                                            KOKOMO             IN   46902‐9127
MAX SCOTT EWERS               404 RIDGE ROAD                                                                                          BOULDER CITY       NV   89005
MAX SHAW                      3155 OPAL DR                                                                                            LAKE WALES         FL   33898‐8316
MAX SHOCK                     4160 CHERYL DR                                                                                          FLINT              MI   48506‐1406
MAX SHUNK                     2415 AURELIUS RD APT 41                                                                                 HOLT               MI   48842
MAX SIEGMAN                   CASCINO MICHAEL P                 220 S ASHLAND AVE                                                     CHICAGO            IL   60607
MAX SILVEUS                   PO BOX 423                                                                                              NEW PHILADELPHIA   OH   44663‐0423
MAX SMITH                     2433 E HILLS DR                                                                                         MOORE              OK   73160‐8945
MAX SMITH                     5201 FRANCES SLOCUM TRL                                                                                 MARION             IN   46952‐9771
MAX SMITH                     1204 E 1100 S                                                                                           FAIRMOUNT          IN   46928‐9292
MAX SMITH                     1291 E ZELL RD                                                                                          SUMMITVILLE        IN   46070‐9199
MAX SOUTH                     14 CHAMBERS RD                                                                                          SAINT LOUIS        MO   63137‐4110
MAX STANTON                   1348 WALTON RD                                                                                          JEFFERSON HILLS    PA   15025‐2536
MAX STINSON                   30840 MUSCALONGE TRL                                                                                    NEWBERRY           MI   49868‐8246
MAX STORY PA                  233 E BAY ST STE 920                                                                                    JACKSONVILLE       FL   32202‐3434
MAX STRAUSS                   BERGANGER 7                                                                      87600 KAUFBEUREN,
                                                                                                               GERMANY
MAX STRNISHA                  C/O BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS         OH   44236
MAX SYSTEMS INC               1183 PORTSMOUTH RD                                                                                      ROCHESTER HILLS    MI   48309‐2830
MAX TAUBERT                   4380 S KESSLER FREDERICK RD                                                                             WEST MILTON        OH   45383‐9703
MAX TAYLOR                    1588 INDIAN TRAIL                                                                                       PLEASANT LAKE      MI   49272‐9727
MAX TAYLOR                    1047 HAWTHORNE AVE                                                                                      LORAIN             OH   44052‐1132
MAX TERWILLIGER JR            8245 ROUND LAKE RD                                                                                      LAINGSBURG         MI   48848‐9479
MAX TETIL                     4221 N UNIONVILLE RD                                                                                    UNIONVILLE         MI   48767‐9723
MAX THATCHER                  6990 FIELDERS WAY                                                                                       MIDDLE TOWN        OH   45042‐3053
MAX THOMAS                    5135 COUNTRY PLACE LN                                                                                   PLAIN CITY         OH   43064‐8403
MAX TIMMONS                   2534 DOE MEADOW DR                                                                                      ANDERSON           IN   46011‐9604
MAX TRAXLER                   BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS         OH   44236
MAX TUCKER                    1301 PARKRIDGE DR                                                                                       LADYSMITH          WI   54848‐2808
MAX TULOWITZKY                10218 N 97TH DR APT B                                                                                   PEORIA             AZ   85345‐3223
MAX TYNER                     400 E STATE ROAD 124                                                                                    BLUFFTON           IN   46714‐9742
MAX UPTON                     1329 S CRANE ST                                                                                         INDEPENDENCE       MO   64055‐1626
MAX V DRINNON                 1674 SCENIC DR                                                                                          DAYTON             OH   45414‐3047
MAX VAN RAEMDONCK             11475 BEECHER RD                                                                                        FLUSHING           MI   48433‐9773
MAX VOLZ                      524 10TH ST                                                                                             HUMBOLDT           NE   68376‐6114
MAX VORON AND DOROTHY VORON   MAX VORON                         666 W GERMANTOWN PIKE          APT 102 SOUTH                          PLYMOUTH MEETING   PA   19462
MAX W TETIL                   4221 N UNIONVILLE RD                                                                                    UNIONVILLE         MI   48767‐9723
MAX WAGONER                   461 SUMMER SHADE DR                                                                                     SOMERSET           KY   42503‐3561
MAX WALTERMAN                 6166 S COUNTY ROAD 480 E                                                                                GREENSBURG         IN   47240‐8680
MAX WALTERS                   8290 SE 160TH PL                                                                                        SUMMERFIELD        FL   34491‐5431
MAX WATSON                    PO BOX 158                                                                                              ROANOKE            TX   76262‐0158
MAX WATSON JR                 1518 TREMONT AVE                                                                                        FLINT              MI   48505‐1138
MAX WAYMIRE                   4268 W. 8950 N.                                                                                         FRANKTON           IN   46044
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Name                             Address1                             Address2                      Address3              Address4         City               State Zip
MAX WEAVER                       APT 571                              101 TRINITY LAKES DRIVE                                              SUN CITY CTR        FL 33573‐5737
MAX WEAVER                       622 E 38TH ST                                                                                             MARION              IN 46953‐4363
MAX WELL JR                      4839 HANNAFORD DR                                                                                         TOLEDO              OH 43623‐3962
MAX WELL PHYSICAL THRPY & MSSG   ATTN: JILL MAXWELL                   1397 S LINDEN RD # B                                                 FLINT               MI 48532‐4194
MAX WELL THERAPY                 1397 S LINDEN RD STE B                                                                                    FLINT               MI 48532‐4194
MAX WHITE JR                     213 GLENWOOD AVE                                                                                          BUFFALO             NY 14208‐1744
MAX WHITMYER                     5922 LOUNSBURY RD                                                                                         WILLIAMSTON         MI 48895‐9620
MAX WIGNER                       20 DRUID CIR                                                                                              CROSSVILLE          TN 38558‐7998
MAX WILLIAMS                     11000 BIG CANOE                                                                                           BIG CANOE           GA 30143‐5140
MAX WINEMAN JR                   374 LAKEWOOD CT                                                                                           AVON                IN 46123‐8772
MAX WINNEGAR                     3248 COUNTY ROAD 616                                                                                      ALVARADO            TX 76009‐7302
MAX WIRE                         1704 WOODBINE DR                                                                                          ANDERSON            IN 46011‐2620
MAX WOJCIECHOWSKI                43 JOANNE LN                                                                                              CHEEKTOWAGA         NY 14227‐1345
MAX WOJCIECHOWSKI                59 KIRKWOOD DR                                                                                            WEST SENECA         NY 14224‐1803
MAX WOLFRAM                      331 STONYBROOK DR                                                                                         LEVITTOWN           PA 19055‐2015
MAX WOLSKI                       24503 CABOT DR                                                                                            WOODHAVEN           MI 48183‐3710
MAX WOODALL                      6761 E. U.S. 136                                                                                          CRAWFORDSVILLE      IN 47933
MAX WRIGHT                       837 CROSS PLAINS HULETT RD                                                                                CARROLLTON          GA 30116‐6642
MAX ZAWACKI                      PO BOX 13739                                                                                              TUSCON              AZ 85732‐3739
MAX'S AUTO CARE                  7461 OLD ALEXANDRIA FERRY RD                                                                              CLINTON             MD 20735‐1834
MAX'S AUTO SERVICE               807 S JOHN ST                                                                                             GOLDSBORO           NC 27530‐5825
MAX, ANN M                       471 GLIDE STREET                                                                                          ROCHESTER           NY 14606‐1341
MAX, ANN M                       471 GLIDE ST                                                                                              ROCHESTER           NY 14606‐1341
MAX, BETTY J                     2387 SPRING LAKE LN                                                                                       BRIGHTON            MI 48114‐9285
MAX, GLADYS L                    5851 S HOLLISTER ST                  R#2                                                                  OVID                MI 48866
MAX, ROBERT                      LEMON LAW ASSOCIATES OF CALIFORNIA   2550 FIFTH AVENUE 9TH FLOOR                                          SAN DIEGO           CA 92103

MAX, RUTH E                      3673 PIERCE DR                                                                                            SHELBY TWP         MI   48316‐1108
MAX, SAM S                       10011 CARMEL CT                                                                                           BRIGHTON           MI   48116‐8583
MAX, VADA D                      1121 NW 1ST ST                                                                                            NEWCASTLE          OK   73065‐4006
MAXA JR, FRED J                  9650 29TH ST S                                                                                            SCOTTS             MI   49088‐9739
MAXA, MARIAN A                   15754 S. LINCOLN                                                                                          CHESANING          MI   48616‐9773
MAXA, MARIAN A                   15754 LINCOLN RD                                                                                          CHESANING          MI   48616‐9773
MAXA, MICHAEL W                  12960 BALDWIN RD                                                                                          CHESANING          MI   48616‐9498
MAXA, RICHARD J                  4200 VOLKMER RD                                                                                           CHESANING          MI   48616‐9729
MAXAIR                           STANDARD MOTOR PRODUCTS INC          1900 SE LOOP 820            FOUR SEASONS DIVISION                    FORT WORTH         TX   76140‐1003
MAXAIR                           PAT DIAMOND                          500 INDUSTRIAL BLVD         FOUR SEASONS/STANDARD                    GRAPEVINE          TX   76051‐3914
                                                                                                  MOTOR
MAXAIR                           PAT DIAMOND                          FOUR SEASONS/STANDARD MOTOR 500 INDUSTRIAL BLVD                      ENGLEWOOD          OH

MAXAM, BURRELL JAY               6636 STILES RD                                                                                            BROWN CITY         MI   48416‐9032
MAXAM, NADENE E                  6636 STILES ROAD                                                                                          BROWN CITY         MI   48416‐9032
MAXAM, NADENE E                  6636 STILES RD                                                                                            BROWN CITY         MI   48416‐9032
MAXAM, RONALD T                  5882 ALICE DR                                                                                             GLADWIN            MI   48624‐9016
MAXBERRY, KATHERINE S            1403 AUDUBON AVE                     C/O MARILYN MCDANIEL                                                 SHEPHERDSVILLE     KY   40165‐9277
MAXBERRY, KATHERINE S            C/O MARILYN MCDANIEL                 1403 AUDUBON AVE                                                     SHEPHERDSVILLE     KY   40165
MAXCINE GREEN                    144 TUDOR RD                                                                                              CHEEKTOWAGA        NY   14215‐2924
MAXCINE J GREEN                  144 TUDOR RD                                                                                              CHEEKTOWAGA        NY   14215‐2924
MAXCINE MILES                    302 W FLINT PARK BLVD                                                                                     FLINT              MI   48505‐3242
MAXCO INC                        24600 DRAKE RD                                                                                            FARMINGTON HILLS   MI   48335‐2504
MAXCO INC                        275 W GIRARD                                                                                              MADISON HEIGHTS    MI   48071
MAXCO TOOL & ENGINEERING         50226 DENNIS CT                                                                                           WIXOM              MI   48393‐2023
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Name                            Address1                        Address2                      Address3   Address4                 City               State Zip
MAXCOR INC
MAXCOR INC                      2555 20TH ST                                                                                      PORT HURON          MI   48060‐6450
MAXCOR INC                      444 MADISON AVE FL 27                                                                             NEW YORK            NY   10022‐6933
MAXCOR INC                      MO NEIDAR, CHAIRMAN AND CEO     444 MADISON AVE               FL 27                               NEW YORK            NY   10022‐6933
MAXCOR INC                      13900 LAKESIDE CIR                                                                                STERLING HEIGHTS    MI   48313‐1318
MAXCOR INC                      2200 LITTON LN                                                                                    HEBRON              KY   41048‐8435
MAXCOR INC                      SALACHER STR 93                 POSTFACH 1161                            EISLINGEN BW 73048
                                                                                                         GERMANY
MAXCOR INC                      STUTTGARTER STR 50‐68           POSTFACH 220                             GOEPPINGEN BW 73002
                                                                                                         GERMANY
MAXCOR, INC.                    444 MADISON AVE FL 27                                                                             NEW YORK           NY    10022
MAXEIN PETER                    240 SHERIDAN AVE                                                                                  SATELLITE BEACH    FL    32937‐3044
MAXEINER, JAMES E               431 CLAYPOOL BOYCE ROAD                                                                           ALVATON            KY    42122‐8732
MAXELL HALL                     4556 MAHONING DR                                                                                  NEWTON FALLS       OH    44444‐9753
MAXENA DANILO FULVIO            VIA BUONARROTI N RI                                                      15011 ACQUI TERME (AL)
                                                                                                         ITALY
MAXERMON WEST                   3102 DAMASCUS RD                                                                                  JASPER             GA    30143‐3530
MAXEY FLATS DE MINIMIS GROUP    C\O T HARRISON DAY BERRY        CITY PLACE                                                        HARTFORD           CT    06103
MAXEY JR, ESLEY                 PO BOX 134                                                                                        MIAMISBURG         OH    45343‐0134
MAXEY JR, LEE R                 PO BOX 490                                                                                        MORNING VIEW       KY    41063
MAXEY JULIE                     2303 WOODS END DR                                                                                 KNOXVILLE          TN    37918‐3700
MAXEY RICHARD W (429395)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA    23510
                                                                STREET, SUITE 600
MAXEY WILLIAM IRLAND (439304)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510
                                                                STREET, SUITE 600
MAXEY, ANDREW R                 2965 ELEANOR TER NW                                                                               ATLANTA            GA    30318‐6078
MAXEY, ARLENE F                 9226 PIGEON LAKE RD                                                                               VALDERS            WI    54245‐9527
MAXEY, BARBARA J                2219 MADISON AVENUE                                                                               NORWOOD            OH    45212
MAXEY, BARBARA L                521 KEMPER AVE                                                                                    CROWLEY            TX    76036‐3248
MAXEY, CHARLES H                1851 LIBERTY DR APT 102                                                                           MT PLEASANT        MI    48858‐8564
MAXEY, CHARLEY D                PO BOX 168                                                                                        MARSTON            NC    28363‐0168
MAXEY, DEBBIE C                 363 BRIARWOOD RD 742                                                                              MERIDIAN           MS    39305
MAXEY, DENNIS R                 7061 W SACRAMENTO DR                                                                              GREENFIELD         IN    46140‐9517
MAXEY, DORTHAY J                4106 KNOLLWOOD DR                                                                                 GRAND BLANC        MI    48439‐2023
MAXEY, DOYLE R                  36806 TARA AVE                                                                                    ZEPHYRHILLS        FL    33542‐1978
MAXEY, GILBERT A                2021 VERA CRUZ DR APT 105                                                                         MODESTO            CA    95355
MAXEY, HERSCHEL T               12 W 37TH ST                                                                                      ANDERSON           IN    46013‐4202
MAXEY, JEANNE A                 150 BEE BRANCH                                                                                    BRANCHLAND         WV    25506‐9757
MAXEY, JEANNE A                 150 BEE BR                                                                                        BRANCHLAND         WV    25506‐9757
MAXEY, JIMMY B                  PO BOX 172                                                                                        STERLINGTON        LA    71280‐0172
MAXEY, JOHN R                   308 NANCY ST                                                                                      WINDER             GA    30680‐2236
MAXEY, JON C                    10717 MEADOWLAND DR SE                                                                            CALEDONIA          MI    49316‐9446
MAXEY, LARRY H                  3917 RICH RD                                                                                      MORNING VIEW       KY    41063
MAXEY, LEROY                    4140 N DEQUINCY ST                                                                                INDIANAPOLIS       IN    46226‐4529
MAXEY, LLOYD G                  2265 LAKEWOOD DR                                                                                  MANSFIELD          OH    44905‐1729
MAXEY, LYRON N                  675 STRATFORD RD                                                                                  FERNDALE           MI    48220‐2368
MAXEY, LYRON NEITH              675 STRATFORD RD                                                                                  FERNDALE           MI    48220‐2368
MAXEY, MARK E                   1222 S GENEVA DR                                                                                  DEWITT             MI    48820‐9531
MAXEY, MARTHA F                 308 WALTERS AVE                                                                                   MARTIN             TN    38237‐1524
MAXEY, MARY L                   1520 CEDAR ST                                                                                     SOUTH BEND         IN    46617‐2532
MAXEY, MAYON K                  12896 MILLBROOKE WAY                                                                              SOUTH LYON         MI    48178‐1902
MAXEY, MILES K                  8663 FISH LAKE RD                                                                                 HOLLY              MI    48442‐9160
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Name                     Address1                        Address2                      Address3   Address4         City               State Zip
MAXEY, PHILIP L          725 WOOD DUCK DR                                                                          VONORE              TN 37885‐2045
MAXEY, RICHARD W         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                         STREET, SUITE 600
MAXEY, ROBERT            PORTER & MALOUF PA              4670 MCWILLIE DR                                          JACKSON            MS   39206‐5621
MAXEY, RODNEY L          3839 N AUDUBON RD                                                                         INDIANAPOLIS       IN   46226‐4822
MAXEY, ROSA              PO BOX 1                                                                                  BRIDGEWATER        MI   48115‐0001
MAXEY, SHENANDOAH N      2769 E 450 N                                                                              MARION             IN   46952‐9645
MAXEY, SHIRLEY S         32311 SPINNAKER RUN                                                                       MAGNOLIA           TX   77354‐2693
MAXEY, T                 3260 DODSON/CONNECTOR APT 9                                                               EAST POINT         GA   30344
MAXEY, WANDA S           2940 BENTBROOKE DR                                                                        HOLLAND            MI   49424‐7216
MAXEY, WANDA S           2940 BENTBROOK DR.                                                                        HOLLAND            MI   49424
MAXEY, WILLIAM IRLAND    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                         STREET, SUITE 600
MAXEY, WILLIAM K         28754 CENTENARY RD                                                                        MC ARTHUR          OH   45651‐8739
MAXEY, WILLIAM R         5426 SCARLET DR APT B                                                                     INDIANAPOLIS       IN   46224
MAXEY, WILLIAM R         259 MERRIBROOK TRAIL                                                                      DUCANVILLE         TX   75116
MAXEY,PAULL J            PO BOX 7159                                                                               BLOOMFIELD         MI   48302‐7159
MAXFIELD BRAD            53 STATE ST                                                                               CHICOPEE           MA   01013‐2129
MAXFIELD SR, JON E       708 E BROADWAY LN                                                                         TEMPE              AZ   85282‐1434
MAXFIELD VIRGIE MARIE    5929 SLIVER CREEK‐AZLE ROAD                                                               AZLE               TX   76020‐4359
MAXFIELD, ARNOLD R       PO BOX 212                                                                                ATTICA             MI   48412‐0212
MAXFIELD, AUDREY L       6442 OLD HIGHGATE DR.                                                                     ELKRIDGE           MD   21075
MAXFIELD, CLINTON J      1113 CAYUGA TRL                                                                           OAKLAND            MI   48363‐1205
MAXFIELD, EDMUND         BOONE ALEXANDRA                 205 LINDA DR                                              DAINGERFIELD       TX   75638‐2107
MAXFIELD, GERALD E       6630 PONTIAC LAKE RD                                                                      WATERFORD          MI   48327‐1755
MAXFIELD, GREG A         654 CEDAR ST                                                                              LAPEER             MI   48446‐2112
MAXFIELD, GREGORY E      5030 GRANGER RD                                                                           OXFORD             MI   48371‐3038
MAXFIELD, JAMES F        49670 BUTTERMERE CT # CT19                                                                SHELBY TWP         MI   48315
MAXFIELD, JAMES J        3498 PARALLEL RD                                                                          DAYTON             OH   45439‐1246
MAXFIELD, LENA J         2386 LEWIS AVE                                                                            IDA                MI   48140‐9797
MAXFIELD, LESLIE S       2450 KROUSE RD LOT 443                                                                    OWOSSO             MI   48867‐8113
MAXFIELD, MARY A         7748 SE MALDEN ST                                                                         PORTLAND           OR   97206‐7839
MAXFIELD, MILTON C       RR1                                                                                       ALLONS             TN   38541
MAXFIELD, MURIEL A       141 BURN VISTA RD                                                                         SAUTEE‐NACOOCHEE   GA   30571
MAXFIELD, STERLING L     3821 LAKESHORE DR                                                                         GLADWIN            MI   48624‐7805
MAXFIELD, VIRGIE MARIE   5929 SLIVER CREEK‐AZLE ROAD                                                               AZLE               TX   76020‐4359
MAXFIELD, WILLIAM R      8164 VANDEN DR                                                                            WHITE LAKE         MI   48386‐2548
MAXFROMA PLASTICS LLC    4400 N PARK DR                                                                            OPELIKA            AL   36801‐9685
MAXGAY, JOHN G           1958 BROOKFIELD CT                                                                        ROCHESTER HILLS    MI   48306‐4002
MAXHAM WILMER            PO BOX 1073                                                                               WILDER             VT   05088‐1073
MAXHEIMER, DANIEL J      6393 WOODBROOK CT                                                                         LINDEN             MI   48451‐9671
MAXHEIMER, JANICE        124 CRAIGHTON COURT                                                                       FLINT              MI   48503‐4118
MAXHEIMER, RONALD J      PO BOX 537                                                                                FLINT              MI   48501‐0537
MAXHIMER, ADA            1930 LYNN DR                                                                              ORRVILLE           OH   44667‐2337
MAXHIMER, GERALD F       8738 E TOWNSHIP ROAD 88                                                                   BLOOMVILLE         OH   44818‐9463
MAXI BLAST/BOX 987       PO BOX 987                                                                                NOTRE DAME         IN   46556‐0987
MAXI MINI WAREHOUSE      46670 CONTINENTAL DR                                                                      CHESTERFIELD       MI   48047‐5208
MAXIE AUTO TRIM          23151 LYNNHURST ST                                                                        MACOMB             MI   48042‐5477
MAXIE BRANDENSTEIN       19A PUEBLITOS RD                                                                          BELEN              NM   87002‐9712
MAXIE BRANDON            4315 TRUMBULL DR                                                                          FLINT              MI   48504‐3756
MAXIE BROOKS             9123 CANDLESTICK LN                                                                       SHREVEPORT         LA   71118‐2369
MAXIE CRUZ               3130 FULTON ST                                                                            SAGINAW            MI   48601‐3100
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Name                                  Address1                           Address2                        Address3     Address4         City            State Zip
MAXIE EDDINS                          157 LAUREL ST                                                                                    BUFFALO          NY 14208‐2002
MAXIE FAIRCHILD                       8185 DODGE RD                                                                                    MONTROSE         MI 48457‐9133
MAXIE FRENCH                          524 W 53RD ST APT 712                                                                            ANDERSON         IN 46013‐5801
MAXIE GARRISON                        PO BOX 225                                                                                       MANCHESTER       KY 40962‐0225
MAXIE GOODWIN                         217 PINE HILL DR                                                                                 WAVERLY          TN 37185‐1210
MAXIE HARDY                           119 CONGREGATE RD                                                                                NEWTON           MS 39345‐8042
MAXIE HUBBARD                         PO BOX 171                                                                                       CUMMING          GA 30028‐0171
MAXIE I ABEL                          ROBERT W PHILLIPS, SIMMONS BROWDER 707 BERKSHIRE BLVD              PO BOX 521                    EAST ALTON        IL 62024
                                      GIANARIS ANGELIDES & BARNERD LLC

MAXIE INGRAM                          PO BOX 145                                                                                       VONORE          TN   37885‐0145
MAXIE L HAZZARD                       105 SCONIERS ST                                                                                  ENTERPRISE      AL   36330‐3145
MAXIE LACY                            9171 SW 32ND TER                                                                                 OCALA           FL   34476‐6638
MAXIE LAMBERTH                        437 LEE RD                                                                                       COTTONTOWN      TN   37048‐4630
MAXIE LT (468731) ‐ MAXIE L T         KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                 CLEVELAND       OH   44114
                                                                         BOND COURT BUILDING
MAXIE MARKIN                          4318 GRAND BLANC RD                                                                              SWARTZ CREEK    MI   48473‐9150
MAXIE MITCHEM                         3000 N 4TH ST LOT 19                                                                             WYTHEVILLE      VA   24382‐4689
MAXIE O BLANTON                       C/O WEITZ & LUXENBERG PC           700 BROADWAY                                                  NEW YORK CITY   NY   10003
MAXIE PRICE CHEVROLET‐OLDSMOBILE, I   3600 ATLANTA HWY                                                                                 LOGANVILLE      GA   30052‐3714

MAXIE PRICE CHEVROLET‐OLDSMOBILE,     3600 ATLANTA HWY                                                                                 LOGANVILLE      GA 30052‐3714
INC.
MAXIE PRICE CHEVROLET‐OLDSMOBILE,     MAXIE PRICE                        3600 ATLANTA HWY                                              LOGANVILLE      GA 30052‐3714
INC.
MAXIE ROBINSON                        2316 NORTHWEST AVE                                                                               LANSING         MI   48906‐3656
MAXIE S WEBB                          112 BRENDA BLVD.                                                                                 W ALEXANDRIA    OH   45381‐9384
MAXIE SAVAGE                          412 N 5TH ST                                                                                     GODLEY          TX   76044‐3739
MAXIE WEBB                            112 BRENDA BLVD                                                                                  W ALEXANDRIA    OH   45381‐9384
MAXIE, CARL L
MAXIE, CLIFTON                        651 SPINDLE TREE DR                                                                              HOPKINSVILLE    KY   42240‐2638
MAXIE, DENNIS R                       2145 GINGHAMSBURG FREDERICK RD                                                                   TIPP CITY       OH   45371‐9649
MAXIE, ELLA                           620 W GENESEE AVE                                                                                SAGINAW         MI   48602‐5516
MAXIE, HAROLD W                       3222 N HIGHWAY 421                                                                               MANCHESTER      KY   40962‐8210
MAXIE, JAMES H                        5328 COTTON BAY DR W                                                                             INDIANAPOLIS    IN   46254‐4519
MAXIE, KAREN D                        2623 SPRING DR SE                                                                                SMYRNA          GA   30080‐2533
MAXIE, L T                            KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                  CLEVELAND       OH   44114
                                                                         BOND COURT BUILDING
MAXIE, ROLAND P                       667 TYE BEND RD                                                                                  BARBOURVILLE    KY   40906‐7595
MAXIM BAKER                           3017 LOON LAKE SHORES RD                                                                         WATERFORD       MI   48329‐4225
MAXIM CLEMONS                         2422 S BRANDON ST                                                                                WESTLAND        MI   48186‐3935
MAXIM GRANT                           1207 CEDAR ST                                                                                    BERKELEY        CA   94702‐1326
MAXIM HEALTHCARE SVC                  1303 S LINDEN RD # C                                                                             FLINT           MI   48532‐3442
MAXIM HEALTHCARE SVC                  2309 VILLAGE PARK CT                                                                             ONTARIO         OH   44906‐1167
MAXIM IND. INC.                       ROB WHARRAM                        4301 WESTERN RD.                                              WOOSTER         OH
MAXIM INTEGRATED PRODUCTS             120 SAN GABRIEL DR                 PRODUCT PO BOX 60000                                          SUNNYVALE       CA   94086‐5125
MAXIM PLAMONDON                       13093 GOLFSIDE CT                                                                                CLIO            MI   48420‐8281
MAXIM REPORTING LLC                   64 FOAL LN                                                                                       MARTINSBURG     WV   25405‐2562
MAXIM, DALE R                         1602 DORMIE DR                                                                                   GLADWIN         MI   48624‐8145
MAXIM, EDWARD T                       4788 FIFTH AVE EXT                                                                               YOUNGSTOWN      OH   44505
MAXIM, EMILY R                        12826 ASH LANE                                                                                   SHELBY TWP      MI   48315‐6915
MAXIM, JOHN J                         60 RUSSO DR                                                                                      CANFIELD        OH   44406‐9664
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Name                            Address1                           Address2                       Address3   Address4                City               State Zip
MAXIM, MATTHEW A                3369 COSEYBURN RD                                                                                    WATERFORD           MI 48329‐4301
MAXIM, MICHAEL                  421 ROSARIO LN                                                                                       WHITE LAKE          MI 48386‐4407
MAXIME STRYCHAR                 PO BOX 267                                                                                           NEW HUDSON          MI 48165‐0267
MAXIMENA, DELORES E             15606 MIDDLEBURY DR                                                                                  DEARBORN            MI 48120‐1058
MAXIMIANO MARTINEZ JR           BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS          OH 44236
MAXIMILANO ALMEDINA             C/O COONEY & CONWAY                120 NORTH LASALLE 30TH FLOOR                                      CHICAGO              IL 60602
MAXIMILIAM MAGEE                227 W BALTIMORE BLVD                                                                                 FLINT               MI 48505‐6302
MAXIMILIAN DOMENIG              WEIDLICHGASSE 19                                                                                     VIENNA                   1130
MAXIMILIAN GARCIA               3750 OLIVE ST                                                                                        SAGINAW             MI 48601‐5540
MAXIMILIAN MERTENS              GEREONSWALL 13                                                               50668 COLOGNE GERMANY
MAXIMILIAN MUETHERIG            DR STEINHUBEL & V BUTTLAR          LOEFFELSTRASSE 44                         70597 STUTTGART
                                RECHTSANWALTE                                                                GERMANY
MAXIMILIAN M▄THERIG             X
MAXIMILIANO CHRISTIAN ALBERDI   VIALE VINCENZO LANCETTI 4                                                                            MILANO                  20158
FILIPPINI
MAXIMILIANO LARROQUETTE         2678 WINTER PARK RD                                                                                  ROCHESTER HILLS    MI   48309‐1352
MAXIMILLINO SIGALA              2157 DE OVAN AVE                                                                                     STOCKTON           CA   95204‐1603
MAXIMINO CARDOSO                2710 SUMMERSET DRIVE               APT X106                                                          LAUDERDALE LAKES   FL   33311
MAXIMINO FIEIRAS                6N945 BALMORAL LN                                                                                    ST CHARLES         IL   60175‐5710
MAXIMINO FUERTES                1121 FRANGIPANI LN                                                                                   CASSELBERRY        FL   32707‐2502
MAXIMINO MACHADO                802 LORAS LN                                                                                         MCALLEN            TX   78501‐9346
MAXIMINO PALACIOS               10670 KINGSLAND HWY                                                                                  EATON RAPIDS       MI   48827‐9325
MAXIMINO RODRIGUEZ              1569 CARRIAGE BROOKE DR                                                                              WELLINGTON         FL   33414‐6119
MAXIMINO SORIA                  256 GROVE ST                                                                                         WOODBRIDGE         NJ   07095‐1835
MAXIMINO VARGAS                 4299 N HILL DR                                                                                       HOLLY              MI   48442‐1818
MAXIMO ARAGON                   473 E CAROLINE ST                                                                                    SAN BERNARDINO     CA   92408‐3704
MAXIMO RIVERA                   CALLE 14L8                         BELLA VISTA GARDENS                                               BAYAMON            PR   00957
MAXIMO SANCHEZ                  4351 CENTRAL ST                                                                                      DETROIT            MI   48210‐2736
MAXIMUK, KATHERINE              1705 N STATE ROUTE 590                                                                               GRAYTOWN           OH   43432
MAXIMUM AUTOMOTIVE SERVICE      703 CENTRAL AVE                                                              LONDON ON N5W 3P9
                                                                                                             CANADA
MAXIMUM CARE AMBULANCE          ATTN: RHONDA ZAVALA                77 CENTRAL AVE # 112                                              CLARK              NJ   07066‐1441
MAXIMUM FITNESS PT A            82 PENNSYLVANIA AVE                                                                                  AVONDALE           PA   19311‐1209
MAXIMUM HOME HEALTH             JULIAN RODRIGUEZ JR & ASSOCIATES   10113 N 10TH ST SUITE C                                           MCALLEN            TX   78504‐9381
MAXIMUM HOME HEALTH LLC         MAXIMUM HOME HEALTH                10113 N 10TH STREET SUITE C                                       MCALLEN            TX   78504
MAXIMUM SERVICES INC            4443 OLD SPRINGFIELD RD                                                                              VANDALIA           OH   45377‐9739
MAXIMUM TRANSPORTATION          PO BOX 577                                                                                           ELIZABETHTOWN      KY   42702‐0577
MAXIMUN SERVICES INCORPORATED   RE: PEGGY MCCAULEY                 3240 OFFICE POINTE PLACE       SUITE100                           LOUISVILLE         KY   40220
MAXIN MURPHY                    3192 DONLEY AVE                                                                                      ROCHESTER HLS      MI   48309‐4125
MAXIN SCHLANEK                  9 RUTH AVE                                                                                           PONTIAC            MI   48341‐1925
MAXIN, EARL                     1143 HARRISON ST NE                                                                                  WARREN             OH   44483‐5124
MAXIN, EARL                     1143 HARRISON NE                                                                                     WARREN             OH   44483‐5124
MAXIN, MARK F                   32805 WING LAKE RD                                                                                   FRANKLIN           MI   48025‐1934
MAXINE
MAXINE 4 WARD                   PO BOX 8097                                                                                          FAYETTEVILLE       AR 72703‐0001
MAXINE A FINKELSTEIN PERSONAL   C/O BRAYTON PURCELL                222 RUSH LANDING RD                                               NOVATO             CA 94948‐6169
REPRESENTATIVE FOR MILTON
FINKELSTEIN
MAXINE A HALL                   188 W CORNELL AVE                                                                                    PONTIAC            MI   48340‐2722
MAXINE A HARPER                 PO BOX 982                                                                                           BUFFALO            NY   14215‐0982
MAXINE AARON                    51 TURQUOISE WAY                                                                                     EUSTIS             FL   32726
MAXINE ABBOTT                   1465 E LAGUNA PL UNIT 13                                                                             YUMA               AZ   85365‐3588
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Name                 Address1                          Address2                     Address3   Address4         City               State Zip
MAXINE ABBOTT        13406 TUSCOLA RD                                                                           CLIO                MI 48420‐1851
MAXINE ADAMS         3796 12TH ST                                                                               ECORSE              MI 48229‐1317
MAXINE ADAMS         BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
MAXINE AKERS         449 RAGING RIVER RD                                                                        MASON               MI 48854‐9332
MAXINE ALBRIGHT      674 COTTAGE LN                                                                             GREENWOOD           IN 46143‐8439
MAXINE ALLABAUGH     2680 W GERMAN RD                                                                           BAY CITY            MI 48708‐8433
MAXINE ALLEN         3293 METAMORA RD                                                                           METAMORA            MI 48455‐9303
MAXINE ALLEN         6180 OTOOLE LN                                                                             MOUNT MORRIS        MI 48458‐2628
MAXINE ANSEAUME      200 W FAIRVIEW ST APT 11                                                                   KING CITY           MO 64463‐9624
MAXINE ARTERBURN     1806 MOULDER LOOP RD                                                                       SMITHS GROVE        KY 42171‐9305
MAXINE ASTBURY       2495 S IRISH RD                                                                            DAVISON             MI 48423‐8362
MAXINE AUSTIN        105 S LOVEJOY ST                                                                           DURAND              MI 48429‐1682
MAXINE AUSTIN        7218 NIEMAN RD                                                                             SHAWNEE             KS 66203‐4460
MAXINE B HERIGER     140 SHENANGO PARK ROAD                                                                     TRANSFER            PA 16154
MAXINE B MCMILLION   1056 HOMEWOOD AVE SE                                                                       WARREN              OH 44484‐4909
MAXINE BATES         196 COUNTRYSIDE LN                                                                         HIGHLAND            MI 48357‐3866
MAXINE BAXTER        5079 LAKE ST                                                                               GLENNIE             MI 48737‐9776
MAXINE BELL          12254 HILL RD                                                                              GOODRICH            MI 48438‐9783
MAXINE BENNER        5075 HAYES RD                                                                              MIDDLETON           MI 48856‐9759
MAXINE BENNETT       2324 SW 92ND ST                                                                            OKLAHOMA CITY       OK 73159‐6810
MAXINE BENSON        2437 ANNA ST NW                                                                            WARREN              OH 44481‐9452
MAXINE BLAKE         60 WYNDEMERE DR                                                                            FRANKLIN            OH 45005‐2464
MAXINE BLANCHARD     1840 BURMON RD                                                                             DEFORD              MI 48729‐9652
MAXINE BOMBE         78 ROAD RUNNER RD                                                                          PAISLEY             FL 32767‐9459
MAXINE BOND          601 CREED ST APT 4                                                                         STRUTHERS           OH 44471‐1255
MAXINE BONNO         8225 ROCKWOOD AVE                                                                          MOUNT MORRIS        MI 48458‐1311
MAXINE BOYD          29211 SUNRIDGE                                                                             FARMINGTON HILLS    MI 48334‐4012
MAXINE BREWER        710 E SWAYZEE ST                                                                           MARION              IN 46952‐2917
MAXINE BRIGGS        3048 AYRE CT                                                                               FLINT               MI 48506‐5402
MAXINE BROWN         2846 ALMESTER DR                                                                           CINCINNATI          OH 45211‐7603
MAXINE BROWN         6730 S SOUTH SHORE DR UNIT 1306                                                            CHICAGO              IL 60649‐1319
MAXINE BROWN         9700 N 950 E                                                                               TWELVE MILE         IN 46988
MAXINE BROWN         227 MARANATHA BLVD                                                                         SEBRING             FL 33870‐6800
MAXINE BULLARD       11206 BALDWIN CIR                                                                          HOLLY               MI 48442‐9381
MAXINE BUNKER        6585 STATE ROUTE 314                                                                       MOUNT GILEAD        OH 43338‐9666
MAXINE BURRELL       3410 SHERWOOD DR                                                                           FLINT               MI 48503‐2300
MAXINE BURSTON       32226 ELMWOOD ST                                                                           GARDEN CITY         MI 48135‐1536
MAXINE BURTON        1660 STAFFORD AVE                 COUNTRYSIDE MANOR                                        BRISTOL             CT 06010‐2571
MAXINE BUSH          60 PIKE PL                                                                                 PLAINFIELD          IN 46168‐1540
MAXINE C FLURY       1292 HORIZON DR                                                                            LAPEER              MI 48446‐8665
MAXINE C GADDIS      5305 WYNNDIKE ROAD                                                                         JACKSON             MS 39209‐3728
MAXINE C REIFINGER   9684 KINSMAN PYMATUMING RD                                                                 KINSMAN             OH 44428‐9313
MAXINE C. HARRIS     3819 HARTL DR.                                                                             BRIDGEPORT          MI 48722
MAXINE CHILDERS      135 ARMORY RD                                                                              PRESTONSBURG        KY 41653‐9209
MAXINE CINADR        3531 E CHEROKEE ST APT 203                                                                 SPRINGFIELD         MO 65809‐2840
MAXINE CLARK         5407 LONG BOW DR                                                                           KOKOMO              IN 46902‐5496
MAXINE CLARK         331 N FAIRFIELD RD                                                                         DAYTON              OH 45430‐1741
MAXINE CLAY          8914 NEPTUNE DR                                                                            CINCINNATI          OH 45231‐4128
MAXINE COBB          408 VINE ST                                                                                CEDARTOWN           GA 30125‐2552
MAXINE COFFMAN       2358 PEMBERTON DR                                                                          TOLEDO              OH 43606‐3147
MAXINE COLE          6253 EASTRIDGE DR                                                                          HUDSONVILLE         MI 49426‐8707
MAXINE COLEMAN       2700 ELIZABETH LAKE RD APT 406                                                             WATERFORD           MI 48328‐3267
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Name                  Address1                        Address2                   Address3                 Address4         City               State Zip
MAXINE COMPTON        2644 WILDWOOD CT                                                                                     LAKE ORION          MI 48360‐1758
MAXINE CONAWAY        4146 STATE ST                                                                                        BRIDGEPORT          MI 48722‐9633
MAXINE CONNELLY       2031 255TH ST                                                                                        LOMITA              CA 90717‐2613
MAXINE CONNER         4115 FOREST TERRACE CT                                                                               ANDERSON            IN 46013‐5607
MAXINE CORY           3238 N HUMMINGBIRD DR                                                                                MONTICELLO          IN 47960‐7267
MAXINE CRAFTON        350 S MILLER DR APT 3                                                                                EATON RAPIDS        MI 48827‐2608
MAXINE CRAW           1050 RUSSELL PT                                                                                      SUWANEE             GA 30024‐4248
MAXINE CRENSHAW       2706 MELODY LN                                                                                       NEWPORT             AR 72112‐2432
MAXINE D WALDECK      6103 SHAFFER ROAD                                                                                    WARREN              OH 44481‐9317
MAXINE DANIELS        4748 MIDLAND AVE                                                                                     WATERFORD           MI 48329‐1839
MAXINE DARRINGTON     1826 UPTON AVE                                                                                       TOLEDO              OH 43607‐1640
MAXINE DAVIS          1002 VALLEY DR                                                                                       CRAWFORDSVILLE      IN 47933‐1560
MAXINE DEBOLT         8C60 BOX 307                                                                                         NEW MARTINSVILLE    WV 26155
MAXINE DEBOLT         HC 60 BOX 307                                                                                        NEW MARTINSVILLE    WV 26155
MAXINE DENNEY         1004 N PARK FOREST DR APT A                                                                          MARION              IN 46952‐1756
MAXINE DENT           18765 NE 150TH ST                                                                                    LUTHER              OK 73054‐9418
MAXINE DIDDENS        17116 PHEASANT MEADOW LN SW                                                                          PRIOR LAKE          MN 55372‐2760
MAXINE DOMBROSKI      3339 GLENBROOK DR                                                                                    BAY CITY            MI 48706‐2424
MAXINE DONATH         6114 BLACKMORE ST                                                                                    MAYVILLE            MI 48744‐9131
MAXINE DOTSON         245 OAK AVE, APT 804                                                                                 SEBRING             FL 33970‐3634
MAXINE DOUGLAS        1530 S OUTER DR                                                                                      SAGINAW             MI 48601‐6682
MAXINE DRINKHORN      1857 DAWES AVE                                                                                       ROCHESTER HILLS     MI 48307‐4806
MAXINE DUNAVANT       4363 S CORNWELL AVE                                                                                  CLARE               MI 48617‐9744
MAXINE DUNNING        3801 HOLLY AVE                                                                                       FLINT               MI 48506‐3108
MAXINE DUVALL         311 STATE ST                                                                                         FAIRBORN            OH 45324‐3218
MAXINE DWIGHT DORI    MAXINE DWIGHT, DORI             9277 FLOYD PIKE                                                      DUGSPUR             VA 24325‐3900
MAXINE DWIGHT, DORI   9277 FLOYD PIKE                                                                                      DUGSPUR             VA 24325‐3900
MAXINE E CRAW         1050 RUSSELL PT                                                                                      SUWANEE             GA 30024‐4248
MAXINE E GOLDBURG     2156 W WOODVIEW DR                                                                                   MARION              IN 46952
MAXINE E GREENE       8806 OUTLOOK DRIVE                                                                                   CLEVELAND           OH 44144‐2445
MAXINE E HANSON       2212 KENTUCKY AVE                                                                                    JOPLIN              MO 64804‐2144
MAXINE E RAMSEY       440 WARBURTON AVE APT 2D                                                                             YONKERS             NY 10701‐1820
MAXINE E SCHMIEGEL    402 E MOLLOY RD                                                                                      SYRACUSE            NY 13211‐1642
MAXINE E THOMPSON     FAMILY SUPPORT FOR ACCOUNT OF   70 PENHURST ST             GARY MOXLEY #P 1163‐86                    ROCHESTER           NY 14619‐1518
MAXINE EAGLIN         3332 SANDRA DR                                                                                       SHREVEPORT          LA 71119
MAXINE EASLEY         1851 N GOODLET AVE                                                                                   INDIANAPOLIS        IN 46222‐4819
MAXINE ELLIS          196 WOODLAND TRL                                                                                     ANDERSON            IN 46016‐6804
MAXINE ERDMAN         C/O MAXINE V ERDMAN TRUST       MAXINE V ERDMAN TTEE UAD   25550 NW MEEK RD                          HILLSBORO           OR 97124‐8501
                                                      08/23/94
MAXINE F WILSON       310 N 4TH ST                                                                                         HOMER              LA   71040‐3404
MAXINE F YOUNGBLOOD   13434 HUSTON ST APT A                                                                                SHERMAN OAKS       CA   91423‐2017
MAXINE FEDEWA         1950 E COLONY RD                                                                                     SAINT JOHNS        MI   48879‐9078
MAXINE FEGUER         700 W NORTHRUP ST                                                                                    LANSING            MI   48911‐3714
MAXINE FERRERI        30455 PERSIMMON TREE RD                                                                              ANDERSON           AL   35610‐3613
MAXINE FINKBEINER     212 S OTSEGO AVE APT 3                                                                               GAYLORD            MI   49735‐2705
MAXINE FINKLER        1616 CLEVELAND RR =1                                                                                 MARNE              MI   49435
MAXINE FINLEY         RR 2 BOX 81                                                                                          ELMORE CITY        OK   73433‐9540
MAXINE FITCH          25501 TROST BLVD UNIT 14‐53                                                                          BONITA SPRINGS     FL   34135
MAXINE FLAGG          1350 RING RD APT 209                                                                                 CALUMET CITY       IL   60409‐5442
MAXINE FLURY          1292 HORIZON DR                                                                                      LAPEER             MI   48446‐8665
MAXINE FOX            745 PRAIRIE CREEK RD                                                                                 IONIA              MI   48846‐8717
MAXINE FRANCISCO      110 TINDALL RD                                                                                       MIDDLETOWN         NJ   07748‐2323
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Name                Address1                       Address2            Address3         Address4         City             State Zip
MAXINE FRANKLIN     2306 CRANWOOD DR SW                                                                  WARREN            OH 44485‐3303
MAXINE FRAZIER      265 CRESTWOOD DR                                                                     LENOIR CITY       TN 37771‐8255
MAXINE FUNKHOUSER   16122 NEW AVE                                                                        LEMONT             IL 60439‐3698
MAXINE FURMANEK     4297 ROUTE 39                                                                        BLISS             NY 14024‐9707
MAXINE G BREWER     901 PALLISTER ST APT 1011                                                            DETROIT           MI 48202‐2676
MAXINE G BRYANT     65 N DECKER AVE                                                                      DAYTON            OH 45417
MAXINE GAGNON       8092 MARYS FISH CAMP RD                                                              WEEKI WACHEE      FL 34607‐1234
MAXINE GALLAGHER    15031 CORUNNA RD                                                                     CHESANING         MI 48616‐9491
MAXINE GANAWAY      9501 E 37TH PL                                                                       INDIANAPOLIS      IN 46235‐2102
MAXINE GARRIS       2295 CHALET DR                                                                       ROCHESTER HLS     MI 48309‐2050
MAXINE GATZMYER     655 PLEASANT RDG                                                                     LAKE ORION        MI 48362‐3435
MAXINE GEDDES       862 CHERLYN CT                                                                       COLUMBUS          OH 43228‐3226
MAXINE GEORGE       1433 N DENNY ST                                                                      INDIANAPOLIS      IN 46201‐1558
MAXINE GERNER       1437 DREXEL AVE NW                                                                   WARREN            OH 44485‐2115
MAXINE GILMORE      6016 BRADFORD HILLS DR                                                               NASHVILLE         TN 37211‐6831
MAXINE GINN         2457 S SHILOH RD                                                                     LUDLOW FALLS      OH 45339‐9786
MAXINE GORMAN       4524 LACOUNT RD                                                                      HARBOR SPRINGS    MI 49740‐8809
MAXINE GRANGER      1334 OVERLAND DR                                                                     SPRING HILL       FL 34608‐7455
MAXINE GRAY         1580 TURNBERRY VILLAGE DR                                                            CENTERVILLE       OH 45458‐3130
MAXINE GREEN        1062 HALE AVE                                                                        DAYTON            OH 45419‐2425
MAXINE GREEN        26357 GALE RD                                                                        PUEBLO            CO 81006‐9794
MAXINE GREENE       8806 OUTLOOK DRIVE                                                                   CLEVELAND         OH 44144‐2445
MAXINE GRISWOLD     1110 N MELITA RD                                                                     STERLING          MI 48659‐9662
MAXINE GRIZZELL     11252 N STATE HIGHWAY 7                                                              GRAYSON           KY 41143‐8465
MAXINE GROVER       2752 CLARA RD                                                                        JACKSONVILLE      FL 32216‐5312
MAXINE GUZIK        # 55                           150 TOWNGATE ROAD                                     ROCHESTER         NY 14626‐3019
MAXINE GUZIK        150 TOWNGATE RD                RM 55                                                 ROCHESTER         NY 14626‐3019
MAXINE H FRANKLIN   2306 CRANWOOD DR SW                                                                  WARREN            OH 44485‐3303
MAXINE HARDACRE     123 BELLA VISTA DR APT 19                                                            GRAND BLANC       MI 48439‐1587
MAXINE HARDY        651 E 97TH ST                                                                        CLEVELAND         OH 44108‐1209
MAXINE HARPER       PO BOX 982                                                                           BUFFALO           NY 14215‐0982
MAXINE HARRIS       214 LORRAINE AVE                                                                     MOUNT VERNON      NY 10552‐3703
MAXINE HAUSER       3544 E SOUTHERN AVE                                                                  INDIANAPOLIS      IN 46203‐4722
MAXINE HENDREE      5820 WABADA AVE                                                                      SAINT LOUIS       MO 63112‐3812
MAXINE HERIGER      140 SHENANGO PARK RD                                                                 TRANSFER          PA 16154‐2132
MAXINE HILL         2044 MCPHAIL ST                                                                      FLINT             MI 48503‐4330
MAXINE HILL         270 BARNARDSVILLE HWY                                                                WEAVERVILLE       NC 28787‐9694
MAXINE HINES        415 3RD ST APT 4                                                                     SUNFIELD          MI 48890‐9005
MAXINE HOGAN        2555 FOWLER AVE                                                                      OMAHA             NE 68111‐2014
MAXINE HOLECEK      265 RUBY CT APT 1                                                                    WEST BRANCH       MI 48661‐1165
MAXINE HOWLAND      100 RILEY AVENUE                                                                     LONDON            OH 43140‐1521
MAXINE HUDSPETH     349 ROBIN LN                                                                         MCDONOUGH         GA 30253‐3834
MAXINE HUFF         1800 W HIGH ST                                                                       JACKSON           MI 49203‐2777
MAXINE HURSMAN      1528 LIPTON ST                                                                       ANTIOCH           CA 94509‐2122
MAXINE IMHOFF       755 GULICK RD                                                                        HASLETT           MI 48840‐9107
MAXINE IRVING       PO BOX 35                                                                            FULTON            MI 49052‐0035
MAXINE J PIQUER     775 FILBERT AVE                                                                      EUGENE            OR 97404
MAXINE J. WILSON    147 N VASSAR RD                                                                      FAIRGROVE         MI 48733
MAXINE JACKSON      2409 89TH AVE                                                                        OAKLAND           CA 94605‐3929
MAXINE JAGO         5241 E COLDWATER RD LOT 416                                                          FLINT             MI 48506
MAXINE JAMES        6507 BOWDOIN PL                                                                      BRADENTON         FL 34207‐5529
MAXINE JOHNSON      1251 E WILSON ST APT 311                                                             BATAVIA            IL 60510‐2237
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Name                 Address1                       Address2                Address3    Address4         City              State Zip
MAXINE JOHNSON       252 4TH ST                                                                          CROSSVILLE         TN 38555‐4303
MAXINE JOHNSON       19101 EVERGREEN RD APT 1214                                                         DETROIT            MI 48219‐2687
MAXINE JONES         4818 E HERITAGE CIR                                                                 MUNCIE             IN 47303‐2694
MAXINE JONES         1650 SUNNY ESTATES DR                                                               NILES              OH 44446‐4104
MAXINE JUNKER        6814 S MARK ROAD SPACE A                                                            TUCSON             AZ 85757
MAXINE K GANAWAY     9501 E 37TH PL                                                                      INDIANAPOLIS       IN 46235‐2102
MAXINE KIELIAN       628 INGLESIDE AVE                                                                   FLINT              MI 48507‐2556
MAXINE KILKOIN       1061 E SCHUMACHER ST                                                                BURTON             MI 48529‐1547
MAXINE KING          401 S 6TH ST                                                                        WEST BRANCH        MI 48661‐1329
MAXINE KING          273 W 6TH ST                                                                        MANSFIELD          OH 44903‐7014
MAXINE KING          4712 KEDRON RD                                                                      SPRING HILL        TN 37174‐2251
MAXINE KIRK          3851 ENGLISH AVE               C/O PAMELA S HARP                                    INDIANAPOLIS       IN 46201‐4531
MAXINE KIRKPATRIC    PO BOX 1112                    410 W MURRAY ST                                      SESSER              IL 62884‐1112
MAXINE KNOX          7462 WOODS EDGE DR NE                                                               BELMONT            MI 49306‐9429
MAXINE KOGER         6224 MAGNOLIA DR                                                                    MOUNT MORRIS       MI 48458‐2818
MAXINE KOWAL         36 KRAKOW ST                                                                        BUFFALO            NY 14206‐3128
MAXINE KOWALSKI      2009 S JEFFERSON ST                                                                 BAY CITY           MI 48708‐8743
MAXINE KRETZ         11131 ARMSTRONG DR S                                                                SAGINAW            MI 48609‐9469
MAXINE KUENZER       3218 OSWEGO RD                                                                      CROSSVILLE         TN 38572‐6113
MAXINE KYLE          5796 N TERESA DR                                                                    ALEXANDRIA         IN 46001‐8026
MAXINE L GILLIAM     3224 RIDGELAWN SE                                                                   WARREN             OH 44484‐3644
MAXINE L LEE         314 WESTMORELAND DR                                                                 FLINT              MI 48505‐2688
MAXINE L POTWORA     104 N SPRUCE ST                                                                     BATAVIA            NY 14020‐2612
MAXINE L SEYMORE     2468 HANCOCK AVE                                                                    DAYTON             OH 45406‐1729
MAXINE L STIFFLER    11101 E UNIVERSITY DR          LOT 14                                               APACHE JUNCTION    AZ 85120
MAXINE LALONDE       4319 MACKINAW RD                                                                    SAGINAW            MI 48603‐3111
MAXINE LANE          10550 HUBERT RD                                                                     HUBBARD LAKE       MI 49747‐9755
MAXINE LARKE         2800 STH DIXON RD              APT 117                                              KOKOMO             IN 46902
MAXINE LASHER        2401 MEADOWBROOK                                                                    PONCA CITY         OK 74604
MAXINE LATINI        6124 RUHLMANN RD APT 1                                                              LOCKPORT           NY 14094‐5828
MAXINE LAWRENCE      413 W DARTMOUTH ST                                                                  FLINT              MI 48505‐6620
MAXINE LE BEAU       43066 W KIRKWOOD DR                                                                 CLINTON TWP        MI 48038‐1221
MAXINE LEE           314 WESTMORELAND DR                                                                 FLINT              MI 48505‐2688
MAXINE LEE           5420 COLDWATER RD                                                                   COLUMBIAVILLE      MI 48421‐8909
MAXINE LIEBMANN      4114 S FAIRWAY AVE             C/O JOHN CHAMBERS                                    SPRINGFIELD        MO 65804‐6515
MAXINE LILLAR        458 LONDO RD                                                                        WAKEFIELD          MI 49968‐9513
MAXINE LINCE         5030 ESTA DR                                                                        FLINT              MI 48506‐1573
MAXINE LINNE         15885 E 2150 NORTH RD                                                               DANVILLE            IL 61834‐5753
MAXINE LONGEST       1211 W EUCLID AVE                                                                   MARION             IN 46952‐3488
MAXINE LORING        3401 PETERS RD                                                                      TROY               OH 45373‐9220
MAXINE LOVE          1130 BAY DR                                                                         TAWAS CITY         MI 48763‐9315
MAXINE LUCE          744 STRAWBERRY VALLEY AVE NW                                                        COMSTOCK PARK      MI 49321‐9600
MAXINE LULL          1652 SPANDRIL LN                                                                    FORT MILL          SC 29708‐6908
MAXINE M HERMANSON   CGM IRA CUSTODIAN              5106 MONTGOMERY DRIVE                                MADISON            WI 53716‐1934
MAXINE M LATINI      6124 RUHLMANN RD APT 1                                                              LOCKPORT           NY 14094‐5828
MAXINE M NILL        408 E SIXTH ST APT #14                                                              DAYTON             OH 45402‐2946
MAXINE M PEERCY      1118 POPLAR HILL DR                                                                 LEBANON            OH 45036‐8520
MAXINE MACKINNON     128 IRWIN MILL RD                                                                   CLINTON            TN 37716‐6946
MAXINE MACLEAN       2581 VINNY DR                                                                       MIDDLETOWN         OH 45044‐3010
MAXINE MAGEE         333 S EATON ST APT 410                                                              LAKEWOOD           CO 80226‐3504
MAXINE MALLOY        15539 ADDISON ST                                                                    SOUTHFIELD         MI 48075‐3051
MAXINE MANDOCK       315 AIRPORT RD                                                                      EAST TAWAS         MI 48730‐9318
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Name                Address1                          Address2               Address3      Address4         City            State Zip
MAXINE MARTIN       2058 HWY 721 MARTIN DR.                                                                 HAZARD           KY 41701
MAXINE MARTIN       2470 CHERYL ANN DR                                                                      BURTON           MI 48519‐1362
MAXINE MASON        703 S ROGERS ST                   APT 5                                                 MASON            MI 48854‐1779
MAXINE MAYS         622 W LORADO AVE                                                                        FLINT            MI 48505‐2018
MAXINE MCARTHUR     2063 S TERM ST                                                                          BURTON           MI 48519‐1026
MAXINE MCCARTY      1410 S ERIE ST                                                                          BAY CITY         MI 48706‐5126
MAXINE MCCAULEY     8828 W 400 N                                                                            KOKOMO           IN 46901‐8639
MAXINE MCCORD       5282 W 900 N                                                                            FRANKTON         IN 46044‐9445
MAXINE MCCRAY       658 LINDA VISTA DR                                                                      PONTIAC          MI 48342‐1650
MAXINE MCCRILLIS    1254 E LAKE RD                                                                          CLIO             MI 48420‐8814
MAXINE MCELDOWNEY   6409 TAYLOR RD                                                                          VASSAR           MI 48768‐9426
MAXINE MCLAUGHLIN   47345 VICTORIAN SQ N                                                                    CANTON           MI 48188‐6325
MAXINE MCMILLION    1056 HOMEWOOD AVE SE                                                                    WARREN           OH 44484‐4909
MAXINE MCVAUGH      PO BOX 12                                                                               AVONDALE         PA 19311‐0012
MAXINE MILLER       16940 OAKLEY RD LOT 30                                                                  CHESANING        MI 48616‐9509
MAXINE MILLER       528 SPENCERVILLE ST                                                                     HICKSVILLE       OH 43526‐1018
MAXINE MILLER       6615 TOWNLINE RD                                                                        BIRCH RUN        MI 48415‐9071
MAXINE MILLER       1981 PLAYER PL                                                                          KOKOMO           IN 46902‐5080
MAXINE MILLS        6007 W FRANCES RD                                                                       CLIO             MI 48420‐8512
MAXINE MINNICK      4341 MOSTETLER RD                                                                       HARRISON         MI 48625‐9230
MAXINE MITCHELL     5525 HUNTER ST                                                                          RAYTOWN          MO 64133‐3249
MAXINE MODJESKI     12975 JACOBSEN RD                                                                       WELLSTON         MI 49689‐9590
MAXINE MOORE        147 KENCREST DR                                                                         ROCHESTER        NY 14606‐5709
MAXINE MORGAN       PO BOX 59                                                                               MARKLEVILLE      IN 46056‐0059
MAXINE MORRIS       PO BOX 442101                                                                           DETROIT          MI 48244‐2101
MAXINE MURPHY       54 E 300 S APT 3                                                                        SAINT GEORGE     UT 84770‐3685
MAXINE MURPHY       8687 N RICKS DR E                                                                       MC CORDSVILLE    IN 46055‐9749
MAXINE MURPHY       510 W FAIRMOUNT AVE                                                                     PONTIAC          MI 48340‐1602
MAXINE MURPHY       6076 MAPLERIDGE DR                                                                      FLINT            MI 48532‐2118
MAXINE MYERS        2940 CONGRESS DR                                                                        KOKOMO           IN 46902‐8026
MAXINE MYHER        713 WHEELER AVE                                                                         SOUTH BELOIT      IL 61080‐2019
MAXINE NEAL         6212 AUTUMNWOOD DR                                                                      FRISCO           TX 75035‐2152
MAXINE NORDEN       29481 WESTFIELD ST                                                                      LIVONIA          MI 48150‐4041
MAXINE NOWLIN       121 BOBBY JEAN LN                                                                       WELLINGTON       KY 40387‐8159
MAXINE O GERNER     1437 DREXEL AVE NW                                                                      WARREN           OH 44485‐2115
MAXINE ODEN         125 HARVEY ODEN RD                                                                      EVA              AL 35621‐7408
MAXINE ORNELAS      196 W NORWAY,APT 9                C/O GENERAL DELIVERY                                  HARRISON         MI 48625
MAXINE ORR          4282 TOMMY ARMOUR DR                                                                    FLINT            MI 48506‐1430
MAXINE PALMER       2206 S WASHINGTON AVE                                                                   SAGINAW          MI 48601‐3232
MAXINE PALMIERO     10717 CAPTAIN HOOK CIR                                                                  THONOTOSASSA     FL 33592‐8313
MAXINE PARADA       122 ELIZABETH ST                                                                        MEDINA           NY 14103‐1304
MAXINE PARKER       7283 PARKER RD                                                                          BASOM            NY 14013‐9751
MAXINE PAYNE        PO BOX 465                                                                              DE SOTO          MO 63020‐0465
MAXINE PEERCY       1118 POPLAR HILL DR                                                                     LEBANON          OH 45036‐8520
MAXINE PEETZ        316 W WALNUT ST APT 223                                                                 GREENSBURG       IN 47240‐3420
MAXINE PERKINS      8500 DEL ARBOLE DR                                                                      MIDWEST CITY     OK 73110‐6906
MAXINE PHILLIPS     6403 18 MILE RD NE                                                                      CEDAR SPRINGS    MI 49319‐8568
MAXINE PHIPPS       720 NETTIE DR                                                                           MIAMISBURG       OH 45342‐3425
MAXINE POLLARD      1111 LOCHHEAD AVE                                                                       FLINT            MI 48507‐2803
MAXINE POWELL       HRC 75 BOX 570                                                                          WELLINGTON       KY 40387
MAXINE POWELL       7125 BROOKLYN AVE                                                                       KANSAS CITY      MO 64132‐1716
MAXINE POWERS       6941 REISTERSTOWN RD                                                                    BALTIMORE        MD 21215‐1420
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Name                Address1                       Address2             Address3       Address4         City                 State Zip
MAXINE POWERS       2216 N BILBREY LN                                                                   ANDERSON              IN 46011‐8756
MAXINE PRIEST       602 N DEAN ST                                                                       BAY CITY              MI 48706‐4623
MAXINE R BERTON     LIBERTY RETIREMENT COMMUNITY   7300 MC EWEN ROAD                                    DAYTON                OH 45459
MAXINE R PHIPPS     720 NETTIE DR                                                                       MIAMISBURG            OH 45342‐3425
MAXINE RAMSEY       440 WARBURTON AVE APT 2D                                                            YONKERS               NY 10701‐1820
MAXINE RAYNAL       7235 S JANET ST TRLR 23                                                             OKLAHOMA CITY         OK 73150‐7426
MAXINE REASOR       98 N 10TH ST                                                                        GREENCASTLE           IN 46135‐7512
MAXINE REED         # 20                           707 EMGE ROAD                                        O FALLON              MO 63366‐2118
MAXINE REED         223 TIMBER KNOLL DR APT 150                                                         CHATTANOOGA           TN 37421‐3776
MAXINE REEDER       980 WILMINGTON AVE             LAKEWOOD APTS #618                                   DAYTON                OH 45420‐1674
MAXINE REIFINGER    9684 KINSMAN PYMATUNING RD                                                          KINSMAN               OH 44428‐9313
MAXINE RHINEHART    1519 BRANDT PIKE                                                                    DAYTON                OH 45404
MAXINE RICE         15070 COALTER AVE                                                                   KENT CITY             MI 49330‐9760
MAXINE RICHARDS     PO BOX 1572                                                                         FRANKFORT             MI 49635‐1572
MAXINE RICHARDSON   4451 RISKE DR APT 2403                                                              FLINT                 MI 48532
MAXINE RICHMOND     707 S 1ST ST #604                                                                   JACKSONVILLE BEACH    FL 32250
MAXINE RICKETTS     228 W KENNETT RD                                                                    PONTIAC               MI 48340‐2652
MAXINE RIVERS       510 COPEMAN BLVD                                                                    FLINT                 MI 48503‐1116
MAXINE RIVERS       1933 ROCKCREEK LN                                                                   FLINT                 MI 48507‐2274
MAXINE ROBBINS      2237 35TH ST                                                                        BEDFORD               IN 47421‐5516
MAXINE ROBBINS      534 ASTIGO DR                                                                       CROSSVILLE            TN 38572
MAXINE ROGERS       468 STOVE RD                                                                        BEDFORD               IN 47421‐7642
MAXINE ROONEY       1440 W DIVISION RD                                                                  TIPTON                IN 46072‐8584
MAXINE ROSS         108 VALLEY DALE LN                                                                  TAYLORS               SC 29687‐5859
MAXINE ROSS         1503 CONFEDERATE DR            AVENUE                                               HOPE                  AR 71801‐7819
MAXINE ROUSH        PO BOX 65                                                                           BAINBRIDGE            IN 46105‐0065
MAXINE RUTLEDGE     528 HEATHER DR APT 3                                                                DAYTON                OH 45405
MAXINE RYAN         536 N SHORE DR                                                                      CRYSTAL               MI 48818‐9697
MAXINE S BENSON     2437 ANNA AVE. N.W.                                                                 WARREN                OH 44481‐9452
MAXINE S KING       4712 KEDRON RD                                                                      SPRING HILL           TN 37174‐2251
MAXINE S ROBINSON   119 RUTHERFORD HAYES CIR                                                            JACKSON               MS 39213
MAXINE SAFERIGHT    2587 HARSHMAN RD                                                                    DAYTON                OH 45424‐5033
MAXINE SAMPSON      440 N GRAND MESA DR TRLR 7                                                          CEDAREDGE             CO 81413‐3308
MAXINE SANDERS      14431 TRAVILLE GARDEN CIRCLE   APT 204D                                             ROCKVILLE             MD 20850
MAXINE SCHULTZ      2490 GABEL RD                                                                       SAGINAW               MI 48601‐9310
MAXINE SHARPE       4465 DUFFIELD ROAD                                                                  FLUSHING              MI 48433‐9710
MAXINE SHIVLEY      180 S COLONY DR APT 327                                                             SAGINAW               MI 48638‐6011
MAXINE SHOTTS       2909 LEIGHSDALE AVE SW                                                              DECATUR               AL 35603‐1281
MAXINE SHUGARTS     135 CALEB RD                                                                        WEST DECATUR          PA 16878‐8868
MAXINE SIMON        607 BRILL CT                                                                        NEWARK                DE 19711‐3448
MAXINE SMITH        2440 SWEET BIRCH CT                                                                 GASTONIA              NC 28054‐1310
MAXINE SMITH        508 1/2 COUTANT ST                                                                  FLUSHING              MI 48433‐1625
MAXINE SMITH        6344 LINDEN RD                                                                      SWARTZ CREEK          MI 48473‐8801
MAXINE SMITH JR     4104 S EDGEWOOD TER                                                                 FORT WORTH            TX 76119‐4102
MAXINE SNELL        8029 WOODHALL RD                                                                    BIRCH RUN             MI 48415‐8436
MAXINE SNOW         3025 WEST SYCAMORE STREET      APT 108                                              KOKOMO                IN 46901‐4177
MAXINE SNYDER       935 E ARCADA ST APT 3                                                               ITHACA                MI 48847‐1365
MAXINE SOVEY        2627 W M21 LOT 93                                                                   OWOSSO                MI 48867
MAXINE SPENCER      4443 LOIS LN                                                                        GENESEE               MI 48437‐7712
MAXINE SPRAGGINS    248 DOUGLAS ST NW                                                                   WARREN                OH 44483‐3216
MAXINE STANBERRY    4616 BRANDON ST                                                                     DETROIT               MI 48209‐1379
MAXINE STAPLETON    3514 SW MCDANIAL AVE                                                                BLUE SPRINGS          MO 64015‐7434
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MAXINE STAPLETON        3514 S.W MCDANIELS AVE                                                                   BLUE SPRINGS      MO 64015
MAXINE STEMLER          240 CHARLOTTE HWY              APT 22                                                    PORTLAND          MI 48875‐1669
MAXINE STEVENS          5355 E FRANCES RD                                                                        MOUNT MORRIS      MI 48458‐9752
MAXINE STEWART          8219 DAYTON GERMANTOWN PIKE                                                              GERMANTOWN        OH 45327‐9342
MAXINE STEWART          701 N OCEAN ST APT 1802                                                                  JACKSONVILLE      FL 32202‐3079
MAXINE STEWART‐BIGGS    651 WILSON AVE                                                                           MOUNT MORRIS      MI 48458‐1554
MAXINE STIFFLER         9515 US HIGHWAY 41 N LOT 192                                                             PALMETTO          FL 34221‐9640
MAXINE STINSON          9120 STATE ROUTE 49                                                                      ANSONIA           OH 45303‐9707
MAXINE STONE            1325 RED LEAF LN                                                                         EAST LANSING      MI 48823‐1339
MAXINE STOREY           1121 RIVER VALLEY DR                                                                     FLINT             MI 48532‐2927
MAXINE STRATTON         8478 RAMBLER DR                                                                          BROOKSVILLE       FL 34601‐2736
MAXINE STRUM            303 HARTFORD SQ                                                                          HARTFORD          WI 53027‐1977
MAXINE SUMMERS          628 RAMBLEWOOD CT                                                                        BROOKVILLE        OH 45309‐1104
MAXINE SUTYAK           10617 SALAMANCA DR                                                                       PORT RICHEY       FL 34668‐3041
MAXINE SWISHER          2489 SOUTH IRISH ROAD                                                                    DAVISON           MI 48423‐8362
MAXINE TABER            9381 GIBBS RD                                                                            SPRINGPORT        MI 49284‐9702
MAXINE TAKASH           22701 N BLACK CANYON HWY       A18                                                       PHOENIX           AZ 85027
MAXINE TEMPLIN          2361 WYMORE PL                                                                           DAYTON            OH 45459‐3658
MAXINE TERRY            PO BOX 91002                                                                             PITTSBURGH        PA 15221‐7002
MAXINE THOMAS           1705 PARRISH AVENUE                                                                      HAMILTON          OH 45011‐4614
MAXINE THOMPSON         683 BERRYS MILL RD                                                                       WEST BATH         ME 04530‐6605
MAXINE THOMPSON         3991 SEVEN HILLS TRL                                                                     STONE MTN         GA 30083‐4634
MAXINE THOMPSON‐BOEHM   419 JEFFERSON AVE                                                                        MC ARTHUR         OH 45651‐1056
MAXINE TOBEY            338 COLGAN AVE SE                                                                        PORT CHARLOTTE    FL 33952‐9711
MAXINE TOMS             779 S CHESTERFIELD RD                                                                    COLUMBUS          OH 43209‐2630
MAXINE TOWNES‐BROWN     9321 CARBON PLANT RD                                                                     BASTROP           LA 71220‐8222
MAXINE TREVARROW        APT B                          3249 HUNTINGTON WOODS DR SE                               GRAND RAPIDS      MI 49512‐8128

MAXINE TURNER           8104 MODESTO DR                                                                          ARLINGTON        TX   76001‐8545
MAXINE TURNER           957 DARLING ST                                                                           FLINT            MI   48532‐5031
MAXINE TURNER           215 HELTONVILLE ROAD EAST                                                                BEDFORD          IN   47421‐9241
MAXINE V BLAKE          60 WYNDEMERE                                                                             FRANKLIN         OH   45005‐2464
MAXINE V REEDER         LAKEWOOD APTS #618             980 WILMINGTON AVE                                        DAYTON           OH   45420‐1686
MAXINE V WEBB           3020 PASCAL DR                                                                           BEAVERCREEK      OH   45431‐8518
MAXINE V WELCH          9341 W CO RD 11005                                                                       WESTPORT         IN   47283‐9639
MAXINE VECELLIO         31134 PARDO ST APT 201                                                                   GARDEN CITY      MI   48135‐1867
MAXINE VINCENT          510 E BELLE AVE                                                                          SAINT CHARLES    MI   48655‐1504
MAXINE WALDECK          6103 SHAFFER RD NW                                                                       WARREN           OH   44481‐9317
MAXINE WALKER           1563 SAGEWOOD LN NW                                                                      BROOKHAVEN       MS   39601‐4440
MAXINE WALKER           1327 N JENISON AVE                                                                       LANSING          MI   48915‐1417
MAXINE WALTER           2824 GREENACRE DR              APT 214                                                   FINDLAY          OH   45840
MAXINE WARD             409 ARCHER DR                                                                            FAIRBORN         OH   45324‐5111
MAXINE WARD             5305 GARY C DR APT 30          HIDDEN CREEK MANOR APTS                                   PRESCOTT         MI   48756‐9524
MAXINE WASHINGTON       PO BOX 890091                                                                            OKLAHOMA CITY    OK   73189‐0091
MAXINE WATTS            80644 KERN RD                                                                            LAWTON           MI   49065‐9667
MAXINE WEAVER           APT 571                        101 TRINITY LAKES DRIVE                                   SUN CITY CTR     FL   33573‐5737
MAXINE WEBER            705 N MERIDIAN ST              CENTURY VILLA HEALTH CARE                                 GREENTOWN        IN   46936‐1246
MAXINE WELLS            850 S LACEY LAKE RD                                                                      CHARLOTTE        MI   48813‐9561
MAXINE WETHERN          236 E FAIR LN                                                                            CENTENNIAL       CO   80121‐2272
MAXINE WHITE            14573 WINTHROP ST                                                                        DETROIT          MI   48227‐2254
MAXINE WHITMAN          10879 OTTER DR                                                                           SAINT HELEN      MI   48656‐9612
MAXINE WILLIAMS         1690 WINNFIELD RD                                                                        EROS             LA   71238‐8436
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Name                      Address1                         Address2                     Address3   Address4                City                 State Zip
MAXINE WILLIAMS           25182 RIDGE CLIFF DR                                                                             SOUTHFIELD            MI 48075‐2023
MAXINE WILLIAMS           9508 REVERE DR                                                                                   BELLEVILLE            MI 48111‐1678
MAXINE WILSON             310 N 4TH ST                                                                                     HOMER                 LA 71040‐3404
MAXINE WINKHART           604 STEVISON DR                                                                                  SPRINGFIELD           OH 45503‐5029
MAXINE WOLFARD            PO BOX 236                                                                                       BROOKVILLE            OH 45309‐0236
MAXINE WOODS              13953 MACKAY ST                                                                                  DETROIT               MI 48212‐2181
MAXINE WRIGHT             8695 W 1000 S ‐ 35                                                                               LA FONTAINE           IN 46940
MAXINE YAGLOWSKI          6375 NASH RD                                                                                     NORTH TONAWANDA       NY 14120‐1267
MAXINE YINGER             271 WINDEMERE CIR                                                                                WESTERVILLE           OH 43082‐6351
MAXINE YOUMANS            7360 ADANA AVE                                                                                   PT CHARLOTTE          FL 33981‐2638
MAXINE YOUNG              5103 WHEELER LAKE RD                                                                             AUGUSTA               GA 30909‐5775
MAXINE YOUNGS             172 PARKWAY DR                                                                                   DAVISON               MI 48423‐9130
MAXINE ZAWOL              1415 MONTERAY ST                                                                                 FLINT                 MI 48503‐3567
MAXINGVEST AG             2945 WALKENT CT NW                                                                               GRAND RAPIDS          MI 49544‐1481
MAXINGVEST AG             LYNN BOVIDGE X4618               2945 WALKENT CT NW                                              GRAND RAPIDS          MI 49544‐1481
MAXINGVEST AG             QUICKBORNSTR 24                                                          HAMBURG HH 20253
                                                                                                   GERMANY
MAXINGVEST AG             UEBERSEERING 18                                                          HAMBURG HH 22297
                                                                                                   GERMANY
MAXINO THERESA            #2                               1511 ASBURY PLACE                                               PITTSBURGH           PA   15217‐1443
MAXINOSKI, BESSIE P       PO BOX 432                                                                                       MONTREAL             WI   54550‐0432
MAXLEY BROOKS SR          PO BOX 307396                                                                                    GAHANNA              OH   43230‐7396
MAXMEY THOMAS             MAXMEY, THOMAS                   3400 MORLAN DRIVE                                               BOWIE                MD   20715
MAXMEY, THOMAS            3400 MOYLAN DR                                                                                   BOWIE                MD   20715‐2962
MAXMIUM ‐ PRIVATIZATION   3425 CONSTITUTION COURT          PO BOX 1469                                                     JEFFERSON CITY       MO   65102‐1469
MAXON CORP                6375 DIXIE RD UNIT 3                                                     MISSISSAUGA CANADA ON
                                                                                                   L5T 2E1
MAXON CORP                7577 CENTRAL PARK BLVD STE 213                                                                   MASON                OH   45040
MAXON CORP                27085 GRATIOT AVE STE C                                                                          ROSEVILLE            MI   48066‐2984
MAXON CORP                201 E 18TH ST                    PO BOX 2068                                                     MUNCIE               IN   47302‐4124
MAXON HOLDING CORP        2285 US HIGHWAY 22 W                                                                             UNION                NJ   07083‐8404
MAXON, ALICE              2788 ISLAND LAKE DR              BOX 3070                                                        NATIONAL CITY        MI   48748‐9524
MAXON, BRADLEY J          4273 CRABAPPLE CT                                                                                MOORPARK             CA   93021
MAXON, ELIZABETH          214 EAST BALTIMORE                                                                               FLINT                MI   48505‐3383
MAXON, GUILE E            1248 N MORRISH RD                                                                                FLINT                MI   48532‐2043
MAXON, JACK A             11991 E DEERFIELD RD                                                                             SHEPHERD             MI   48883‐9706
MAXON, JAMES I            15021 MARSH CREEK RD                                                                             KENT                 NY   14477‐9758
MAXON, JEFFREY A          25805 HARPER AVE                 C/O TIMOTHY BARKOVIC, POA                                       SAINT CLAIR SHORES   MI   48081‐2263
MAXON, MILDRED J          1024 HEATHWOOD DR                                                                                ENGLEWOOD            OH   45322‐2429
MAXON, SHIRLEY M          6315 CENTRAL PARK DR                                                                             ABERDEEN             WA   98520‐7168
MAXPRO TECHNOLOGIES INC   7728 KLIER DR S                                                                                  FAIRVIEW             PA   16415‐2454
MAXS AUTOMOTIVE           126 GREEN ST                                                                                     ABILENE              TX   79603‐7240
MAXS RACE                 1257 HASLETT RD                                                                                  HASLETT              MI   48840‐8953
MAXSELL THOMPSON          20267 ALDERTON ST                                                                                DETROIT              MI   48219‐1218
MAXSON JR, RAYMOND        407 MCDONALD ST                                                                                  BAY CITY             MI   48706‐4188
MAXSON, ANDREW L          11414 OAK RD                                                                                     OTISVILLE            MI   48463
MAXSON, BETTY M           LOT 142                          2001 SOUTH DEFIANCE STREET                                      ARCHBOLD             OH   43502‐9147
MAXSON, BRIAN S           108 KIMMEL RD                                                                                    CLAYTON              OH   45315‐9704
MAXSON, DAVID J           2141 OLD LN                                                                                      WATERFORD            MI   48327‐1334
MAXSON, DONALD E          3552 MILLER RD                                                                                   BAY CITY             MI   48706‐1320
MAXSON, EUGENE J          2881 MIDLAND RD                                                                                  BAY CITY             MI   48706‐9266
MAXSON, FRANCES F         11327 CHURCH ST                                                                                  MOUNT MORRIS         MI   48458‐2201
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Name                              Address1                             Address2                        Address3                   Address4             City           State Zip
MAXSON, FRANCES F                 2419 W MOUNT MORRIS RD APT 3                                                                                         MOUNT MORRIS    MI 48458‐8233
MAXSON, FREDERICK C               3754 BOY SCOUT RD                                                                                                    BAY CITY        MI 48706‐1345
MAXSON, GARY J                    12062 OAK RD                                                                                                         OTISVILLE       MI 48463
MAXSON, JANET M                   4095 TRIWOOD LANE                                                                                                    BRIDGEPORT      MI 48722‐9576
MAXSON, JERRY L                   13171 IYOPAWA ISLAND RD                                                                                              COLDWATER       MI 49036‐9038
MAXSON, JOHN J                    3946 STANDISH RD                                                                                                     RHODES          MI 48652‐9514
MAXSON, KAREN                     13171 IYOPAWA ISLAND RD                                                                                              COLDWATER       MI 49036‐9038
MAXSON, KENNETH R                 4095 TRIWOOD RD                                                                                                      BRIDGEPORT      MI 48722‐9576
MAXSON, LENA M                    8485 BALDWIN ROAD                                                                                                    GOODRICH        MI 48438
MAXSON, LEONA                     PO BOX 46                                                                                                            KINGSTON        MI 48741
MAXSON, LUCINDA J                 APT A                                34 WOLF AVENUE                                                                  ENGLEWOOD       OH 45322‐1600
MAXSON, MARJORIE I                5800 JEFFERSON AVE                   NOTTINGHAM PLACE                                                                MIDLAND         MI 48640‐2936
MAXSON, MARJORIE I                NOTTINGHAM PLACE                     5800 JEFFERSON STREET                                                           MIDLAND         MI 48640
MAXSON, MICHAEL D                 1325 W STANTON RD                                                                                                    STANTON         MI 48888‐9164
MAXSON, MORGAN E                  221 ROBINSON ST                                                                                                      N TONAWANDA     NY 14120‐6927
MAXSON, PATRICIA M                2881 MIDLAND RD                                                                                                      BAY CITY        MI 48706‐9266
MAXSON, PATRICIA M                2881 MIDLAND ROAD                                                                                                    BAY CITY        MI 48706‐9266
MAXSON, PATSY                     19324 KLINGER                                                                                                        DETROIT         MI 48234‐1738
MAXSON, PATSY                     19324 KLINGER ST                                                                                                     DETROIT         MI 48234‐1738
MAXSON, ROBERT R                  2296 N BAY MID COUNTY LINE RD                                                                                        RHODES          MI 48652‐9506
MAXSON, SUSAN K                   45 SCHOOL AVE                                                                                                        CLAWSON         MI 48017‐1219
MAXSON, VIRGINIA M                1300 CENTER AVE                      APT 103                                                                         BAY CITY        MI 48708
MAXTED PHILIP                     10050 64TH AVENUE                                                                                                    PLEASANT PR     WI 53158‐3316
MAXTED, JESSIE L                  1715 HODGES BLVD APT 309                                                                                             JACKSONVILLE    FL 32224‐1047
MAXTON MOTORS                     114 W MAIN ST                                                                                                        BUTLER          IN 46721‐1322
MAXTON MOTORS                     1250 LINCOLN RD                                                                                                      ALLEGAN         MI 49010‐9706
MAXUM HEALTH CORP/ D              PO BOX 848074                                                                                                        DALLAS          TX 75284‐8074
MAXUS ENERGY CORPORATION          ATTN: CORPORATE OFFICER/AUTHORIZED   105 COLLEGE RD E STE 300                                                        PRINCETON       NJ 08540‐6622
                                  AGENT
MAXUS ENERGY CORPORATION          C/O WILLIAM L WARREN                 DRINKER BIDDLE & REATH LLP      105 COLLEGE RD E, PO BOX                        PRINCETON       NJ   08542
                                                                                                       627
MAXUS ENERGY CORPORATION          C/O WILLIAM L. WARREN                DRINKER BIDDLE & REATH LLP      105 COLLEGE ROAD EAST      P.O. BOX 627         PRINCETON      NJ 08542
MAXWELL & MILLER/KAL              200 E MICHIGAN AVE STE 201                                                                                           KALAMAZOO      MI 49007‐3958
MAXWELL AARON (446143)            BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                   NORTHFIELD     OH 44067
                                                                       PROFESSIONAL BLDG
MAXWELL ACIE (635405)             BRAYTON PURCELL                      PO BOX 6169                                                                     NOVATO         CA 94948‐6169
MAXWELL BALLARD                   PO BOX 595                                                                                                           INKSTER        MI 48141‐0595
MAXWELL CARR                      1913 JAMES ST                                                                                                        NILES          OH 44446‐3919
MAXWELL CHRYSLER PLYMOUTH DODGE
INC
MAXWELL CO                        10300 EVENDALE DR                                                                                                    CINCINNATI     OH 45241
MAXWELL CURTIS P (429396)         GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                     NORFOLK        VA 23510
                                                                       STREET, SUITE 600
MAXWELL DOLLY                     505 S 17TH ST                                                                                                        WORLAND        WY    82401‐3627
MAXWELL DOTSON SR                 PO BOX 351465                                                                                                        DETROIT        MI    48235‐6465
MAXWELL EMPSON                    6035 LAKE DR                                                                                                         YPSILANTI      MI    48197‐7015
MAXWELL FOWLER                    3110 VALENTINE DR                                                                                                    MARION         IN    46953‐3425
MAXWELL FRONCZAK JR.              79 HILL ST                                                                                                           TONAWANDA      NY    14150‐3356
MAXWELL G WESTPHAL                613 3RD ST                                                                                                           BAY CITY       MI    48708‐5905
MAXWELL GARDY                     3275 WASHBURN RD                                                                                                     VASSAR         MI    48768‐8936
MAXWELL GOODALL                   5109 THORNRIDGE DR                                                                                                   GRAND BLANC    MI    48439‐8982
MAXWELL GORETSKI                  13346 WESTMINISTER DR                                                                                                STERLING HTS   MI    48313‐1970
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Name                                  Address1                          Address2                         Address3      Address4             City               State Zip
MAXWELL HOUSER                        580 MALLARD ST                                                                                        ROCHESTER           MI 48309‐3523
MAXWELL HOUSER                        17810 ESS LAKE DR                                                                                     HILLMAN             MI 49746‐7915
MAXWELL HOVATER                       455 S BRACE RD                                                                                        ETHRIDGE            TN 38456‐5111
MAXWELL J CROSBY                      C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                           HOUSTON             TX 77007
                                      BOUNDAS LLP
MAXWELL J FLEMING                     113 MARIAN DR                                                                                         MATTYDALE          NY 13211‐1825
MAXWELL J PETERSEN                    22 BRANDYWINE RD                                                                                      SOUTH BARRINGTON   IL 60010
MAXWELL JERRY A (429397)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA 23510
                                                                        STREET, SUITE 600
MAXWELL JO                            2205 GREENHILLS DR                                                                                    KILGORE            TX   75662‐2801
MAXWELL JONES                         1204 E SHERMAN ST                                                                                     MARION             IN   46952‐3012
MAXWELL JR, HAROLD J                  14 AVEBURY CT                     VILLAGES OF OLD LANDING                                             REHOBOTH BEACH     DE   19971‐8601
MAXWELL JR, RALPH A                   5025 BAXTER RD                                                                                        BAXTER             TN   38544‐4526
MAXWELL JR, THOMAS A                  41120 FOX RUN ROAD                APT 107                                                             NOVI               MI   48377
MAXWELL JR., JEFFERY B                9016 ANN AVE                                                                                          KANSAS CITY        KS   66112‐3614
MAXWELL KORTUM                        157 73RD ST                                                                                           NIAGARA FALLS      NY   14304‐4045
MAXWELL LANE                          3625 REYNOLDSBURG RD                                                                                  CAMDEN             TN   38320‐6120
MAXWELL LEMCOOL                       12441 MOUNT MORRIS RD                                                                                 COLUMBIAVILLE      MI   48421‐8808
MAXWELL LYLE                          7240 W 20TH ST N                                                                                      NEWTON             IA   50208‐8669
MAXWELL MALNORY                       3589 W ISABELLA RD                                                                                    SHEPHERD           MI   48883‐9643
MAXWELL NELSON                        C/O COONEY AND CONWAY             120 NORTH LASALLE 30TH FLOOR                                        CHICAGO            IL   60602
MAXWELL OWEN D (358134)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA   23510
                                                                        STREET, SUITE 600
MAXWELL ROBERT D JR                   MAXWELL, KATHLEEN L               1100 NEW YORK AVENUE NW , WEST                                      WASHINGTON         DC 20005
                                                                        TOWER SUITE 500
MAXWELL ROBERT D JR                   MAXWELL, KATHLEEN L               5200 NORWEST CENTER , 90 SOUTH                                      MINNEAPOLIS        MN 55402
                                                                        SEVENTH STREET
MAXWELL ROBERT D JR                   MAXWELL, ROBERT D                 1100 NEW YORK AVENUE NW , WEST                                      WASHINGTON         DC 20005
                                                                        TOWER SUITE 500
MAXWELL ROBERT D JR                   MAXWELL, ROBERT D                 5200 NORWEST CENTER , 90 SOUTH                                      MINNEAPOLIS        MN 55402
                                                                        SEVENTH STREET
MAXWELL SHEILA A & KAHN & ASSOCIATES 55 PUBLIC SQ STE 650                                                                                   CLEVELAND          OH 44113‐1909

MAXWELL SHERBROOKE MAYNARD            C/O MOTLEY RICE LLC               28 BRIDGESIDE BLVD               PO BOX 1792                        MT PLEASANT        SC   29465
MAXWELL SMITH                         1016 JOHNSTON ST SE                                                                                   GRAND RAPIDS       MI   49507‐2736
MAXWELL SPICER                        1301 N RAINBOW BLVD               APT 15                                                              LAS VEGAS          NV   89108‐5833
MAXWELL SR, JOHN W                    11801 E GRAND RIVER AVE                                                                               PORTLAND           MI   48875‐8443
MAXWELL SUE                           1248 DOOLITTLE RD                                                                                     WOODBURY           TN   37190‐5248
MAXWELL TANK LINES INC                PO BOX 440                                                                                            CHANNAHON          IL   60410‐0440
MAXWELL WARD                          4500 SUMMER DR                                                                                        ANDERSON           IN   46012‐9545
MAXWELL WEESE                         PO BOX 220                                                                                            SPRINGFIELD        WV   26763‐0220
MAXWELL WHITNEY JR                    2055 TITTABAWASSEE ST                                                                                 ALGER              MI   48610‐8504
MAXWELL'S AUTO REPAIRS                8‐1455 YOUVILLE DRIVE                                                            ORLEANS ON K1C 4R1
                                                                                                                       CANADA
MAXWELL, ACIE                         BRAYTON PURCELL                   PO BOX 6169                                                         NOVATO             CA   94948‐6169
MAXWELL, ADAH K                       6659 W 100 N                                                                                          TIPTON             IN   46072‐8667
MAXWELL, AGNES                        25559 PRINCETON ST                                                                                    DEARBORN HEIGHTS   MI   48125‐1136
MAXWELL, ALAN C                       N15921 HIGH ST                                                                                        POWERS             MI   49874‐9614
MAXWELL, ALAN D                       7532 SCAUP LN                                                                                         CITRUS HEIGHTS     CA   95621‐1647
MAXWELL, ALBERT H                     2882 PULLIAM MILL RD NW                                                                               DEWY ROSE          GA   30634‐2219
MAXWELL, ALBERT W                     APT 323                           182 SOUTH COUNTY ROAD 550 EAST                                      AVON               IN   46123‐7060
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Name                    Address1                         Address2                         Address3   Address4         City            State Zip
MAXWELL, ALBERT W       182 S COUNTY RD 550 E APT 323                                                                 AVON             IN 46123‐7058
MAXWELL, ALBERTA S      1312 GREENBRIAR DR                                                                            ANDERSON         IN 46012‐4532
MAXWELL, ANIKA V        18314 CYPRESS HAVEN DR                                                                        TAMPA            FL 33647‐2960
MAXWELL, ANN            437 FENTON PL                                                                                 CHARLOTTE        NC 28207‐1917
MAXWELL, ANN B          6593 34TH AVE                                                                                 HUDSONVILLE      MI 49426‐9071
MAXWELL, ANNA P         3604 CAROLINE AVE                                                                             INDIANAPOLIS     IN 46218‐1030
MAXWELL, ANTHONY A      2631 KEENAN AVE                                                                               DAYTON           OH 45414‐4909
MAXWELL, APRIL          AYRES R JACK JR LAW OFFICES OF   4350 BELTWAY DR                                              ADDISON          TX 75001‐3703
MAXWELL, APRIL          ROTH LAW FIRM                    P O BOX 876 ‐ 115 NORTH                                      MARSHALL         TX 75671
                                                         WELLINGTON ‐ SUITE 200 STE 200
MAXWELL, ARLIE T        311 E SAPHIRE ST                                                                              MORRICE         MI   48857‐8744
MAXWELL, ARLIE THOMAS   311 E SAPHIRE ST                                                                              MORRICE         MI   48857‐8744
MAXWELL, BARRY D        6606 VALLEY MILLS AVE                                                                         INDIANAPOLIS    IN   46241‐9629
MAXWELL, BARRY M        10961 HIGHWAY 59                                                                              LAVONIA         GA   30553‐4937
MAXWELL, BENNIE L       432 W STEWART ST                                                                              DAYTON          OH   45408‐2049
MAXWELL, BILLY J        6325 N 350 E                                                                                  ALEXANDRIA      IN   46001‐8875
MAXWELL, BIRL           603 EAST ST APT 2                                                                             WILLIAMSBURG    IA   52361‐9533
MAXWELL, BOBBIE A       4422 OAKCREST DR                                                                              LANSING         MI   48917‐4111
MAXWELL, BRANDI A       PO BOX 371                                                                                    CUTLER          IN   46920‐0371
MAXWELL, BRIAN F        1819 E 6TH ST                                                                                 ANDERSON        IN   46012‐3530
MAXWELL, BURTON G       815 CINNAMON RIDGE PL                                                                         WEST FARGO      ND   58078‐8190
MAXWELL, CAROLYN        2120 SILVER FOX DR                                                                            EDMOND          OK   73003
MAXWELL, CHARLES N      PO BOX 1083                                                                                   MANSFIELD       OH   44901‐1083
MAXWELL, CHARLOTTE A    108 SE 21ST PL                                                                                CAPE CORAL      FL   33990‐1441
MAXWELL, CHARLOTTE A    108 SOUTH EAST 21ST PLACE                                                                     CAPE CORAL      FL   33990‐1441
MAXWELL, CINDY A        2778 RIDEOUT LN APT D416                                                                      MURFREESBORO    TN   37128
MAXWELL, CLARENCE D     4722 OPPERMAN AVE                                                                             DAYTON          OH   45431‐1031
MAXWELL, CLAUDE E       15130 TIMBER VILLAGE RD LOT 96                                                                GROVELAND       FL   34736‐9652
MAXWELL, CLESTILE       20200 WARRINGTON DR                                                                           DETROIT         MI   48221‐1358
MAXWELL, CLIFF          3400 CREEKWOOD DR                                                                             SAGINAW         MI   48601‐5601
MAXWELL, CLIFFORD L     2329 LISTER AVE                                                                               KANSAS CITY     MO   64127‐4663
MAXWELL, CLOYCE W       PO BOX 141                       5724 HIGH ST                                                 BATH            MI   48808‐0141
MAXWELL, CLYDE E        2304 ARROW AVE                                                                                ANDERSON        IN   46016
MAXWELL, CLYDE E        2304 SHERMAN ST                                                                               ANDERSON        IN   46016
MAXWELL, COZIE A        1309 12TH ST                                                                                  ATHENS          AL   35611‐4103
MAXWELL, CURTIS J       1136 W LAKE RD                                                                                CLIO            MI   48420‐8880
MAXWELL, CURTIS P       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK         VA   23510‐2212
                                                         STREET, SUITE 600
MAXWELL, CYNTHIA        APT 107B                         5360 FALCON CREEK WAY                                        INDIANAPOLIS    IN   46254‐7015
MAXWELL, DANIEL D       2385 BAY SIDE AVE                                                                             PORTAGE         MI   49002‐7273
MAXWELL, DANIEL H       18403 BLUEWATER COVE DR                                                                       HUMBLE          TX   77346‐6043
MAXWELL, DAVID A        505 W STARK ST                                                                                BAY CITY        MI   48706‐3468
MAXWELL, DAVID A        23510 GLENBROOK ST                                                                            ST CLR SHORES   MI   48082‐2199
MAXWELL, DAVID D        6138 MILLBROOK DR                                                                             DAYTON          OH   45459‐1810
MAXWELL, DAVID K        2135 STATE ROAD 44                                                                            MARTINSVILLE    IN   46151‐8265
MAXWELL, DAVID M        3021 HELMS RD                                                                                 ANDERSON        IN   46016‐5816
MAXWELL, DAWN L         2810 PACHECO BLVD                                                                             MARTINEZ        CA   94553
MAXWELL, DENNIS J       12091 E RICHFIELD RD                                                                          DAVISON         MI   48423‐8592
MAXWELL, DENNIS JAMES   12091 E RICHFIELD RD                                                                          DAVISON         MI   48423‐8592
MAXWELL, DENNIS R       13608 GRANGER RD                                                                              CLEVELAND       OH   44125‐1924
MAXWELL, DEREK J        1216 E GENEVA DR                                                                              DEWITT          MI   48820‐8755
MAXWELL, DIANE
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Name                     Address1                          Address2            Address3         Address4                 City            State Zip
MAXWELL, DIANE M.        283 SETON RD                                                                                    CHEEKTOWAGA      NY 14225
MAXWELL, DIANE R         4928 WAILAPA RD                                                                                 KILAUEA          HI 96754‐5539
MAXWELL, DON N           1400 CARSLEY RD                                                                                 JACKSON          MS 39209‐9132
MAXWELL, DONALD E        1348 N COUNTY ROAD 900 E                                                                        AVON             IN 46123‐5364
MAXWELL, DORIS E         5109 THREE MILE RD                                                                              BAY CITY         MI 48706‐9004
MAXWELL, DORIS E         5109 3 MILE RD                                                                                  BAY CITY         MI 48706‐9004
MAXWELL, DOROTHY G       598 BEAM DR                                                                                     FRANKLIN         OH 45005‐2012
MAXWELL, DOROTHY G       598 BEAM DRIVE                                                                                  FRANKLIN         OH 45005‐2012
MAXWELL, DUANE S         2907 KINGS CORNERS RD E                                                                         MANSFIELD        OH 44904‐9536
MAXWELL, EARL
MAXWELL, EDNA L          458 SANDEHURST DR                                                                               GRAND BLANC     MI 48439‐1556
MAXWELL, EDWARD A        708‐3777 RIVERSIDE DR E                                                WINDSOR ON CANADA N8Y‐
                                                                                                4W6
MAXWELL, EDWARD ALONZO   3777 RIVERSIDE DRIVE APT 708                                           WINDSOR ON N8Y 4W6
                                                                                                CANADA
MAXWELL, EDWARD S        1530 THUNDERBIRD LN                                                                             BELLEVILLE      IL   62221‐6714
MAXWELL, ELLIOTT P       PO BOX 1148                                                                                     CAIRO           GA   39828‐0940
MAXWELL, ELNORA          6169 OTOOLE LN                                                                                  MOUNT MORRIS    MI   48458‐2627
MAXWELL, ELVERNE         PO BOX 533                                                                                      ORRVILLE        AL   36767‐0533
MAXWELL, EMMA            220 NABER ST                                                                                    RIPLEY          TN   38063‐8041
MAXWELL, EMMA            220 NABER STREET                                                                                RIPLEY          TN   38063‐8041
MAXWELL, EMMA J          PO BOX 533                                                                                      ORRVILLE        AL   36767
MAXWELL, EMMA L          3773 E STATE ROAD 18                                                                            FLORA           IN   46929‐9319
MAXWELL, EMMETT P        2122 ROBBINS AVE APT 247                                                                        NILES           OH   44446‐3999
MAXWELL, ETHEL           18639 E VIA DE PALMAS                                                                           QUEEN CREEK     AZ   85242‐4042
MAXWELL, ETHEL C         824 S ARMSTRONG ST                                                                              KOKOMO          IN   46901‐5328
MAXWELL, ETHEL P         1940 DONNA DR                                                                                   ANDERSON        IN   46017‐9698
MAXWELL, EVERETT E       5863 SCIOTO DARBY RD APT 302                                                                    HILLIARD        OH   43026‐3311
MAXWELL, EXIE B          533 EVERETT AVE                                                                                 KANSAS CITY     KS   66101‐2214
MAXWELL, FRANCES I       1721 HEATHROW DR                                                                                COOKEVILLE      TN   38506‐5556
MAXWELL, FRANCIS G       8408 N RIDGE TRL                                                                                MILTON          WI   53563‐8723
MAXWELL, FRANKLIN A      458 SANDEHURST DR                                                                               GRAND BLANC     MI   48439‐1556
MAXWELL, FRANKLIN D      53175 PINERIDGE DR                                                                              CHESTERFIELD    MI   48051‐2745
MAXWELL, FREDDY E        14004 APACHE DR                                                                                 EDMOND          OK   73013‐1612
MAXWELL, FREDIE L        PO BOX 383                                                                                      WHITMORE LAKE   MI   48189‐0383
MAXWELL, GARY A          7750 JAMAICA RD                                                                                 MIAMISBURG      OH   45342‐2116
MAXWELL, GERALD W        1300 US HIGHWAY 72 W                                                                            ATHENS          AL   35611‐4114
MAXWELL, GERALD W        1808 WADSWORTH ST SE                                                                            DECATUR         AL   3560‐3448
MAXWELL, GLENNA R        5507 BROBECK ST                                                                                 FLINT           MI   48532‐4061
MAXWELL, GLORIA I        53175 PINERIDGE DR                                                                              CHESTERFIELD    MI   48051‐2745
MAXWELL, GWENDOLYN B     1206 CLARKVIEW ST SW                                                                            DECATUR         AL   35601‐6206
MAXWELL, HARRY W         7648 ARBORCREST ST                                                                              PORTAGE         MI   49024‐5002
MAXWELL, HELEN D         5340 SANDALWOOD CT                                                                              GRAND BLANC     MI   48439‐4270
MAXWELL, HILTON          304 GOODING ST                                                                                  LOCKPORT        NY   14094‐2304
MAXWELL, HIRSEL H        29744 FLORENCE ST                                                                               GARDEN CITY     MI   48135‐2694
MAXWELL, JACK D          11406 INGRAM ST                                                                                 LIVONIA         MI   48150‐2872
MAXWELL, JACK L          777 S 600 W                                                                                     ANDERSON        IN   46011‐8743
MAXWELL, JACK W          2005 VICTORIA DR                                                                                MUNCIE          IN   47302‐2032
MAXWELL, JACK W          2005 S VICTORIA DR                                                                              MUNCIE          IN   47302‐2032
MAXWELL, JAMES G         9890 MOCCASIN TRL                                                                               WEXFORD         PA   15090‐9398
MAXWELL, JAMES G         598 BEAM DRIVE                                                                                  FRANKLIN        OH   45005‐2012
MAXWELL, JAMES G         598 BEAM DR                                                                                     FRANKLIN        OH   45005‐2012
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Name                     Address1                         Address2                        Address3   Address4         City           State Zip
MAXWELL, JAMES P         135 WANDA ST                                                                                 ELYRIA          OH 44035‐7741
MAXWELL, JANET           9000 E JEFFERSON AVE APT 17‐8                                                                DETROIT         MI 48214‐4199
MAXWELL, JANET E         9387 VILLAS DR                                                                               FOLEY           AL 36535‐9220
MAXWELL, JASON M
MAXWELL, JATHER          9105 ARTESIAN ST                                                                             DETROIT        MI   48228‐1701
MAXWELL, JEFFREY G       28 BRADBURY RD                                                                               NEW CASTLE     DE   19720‐2328
MAXWELL, JEFFREY M       6730 E COUNTY RD N                                                                           MILTON         WI   53563‐8700
MAXWELL, JEFFREY W       6849 WEIL DR                                                                                 BROWNSBURG     IN   46112‐8474
MAXWELL, JERRY A         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK        VA   23510
                                                          STREET, SUITE 600
MAXWELL, JERRY K         8505 LINDSEY RD                                                                              CASCO          MI   48064‐2512
MAXWELL, JESSIE T        161 WEST DELASON                                                                             YOUNGSTOWN     OH   44507‐1026
MAXWELL, JESSIE T        161 W DELASON AVE                                                                            YOUNGSTOWN     OH   44507‐1026
MAXWELL, JILL A          1216 E GENEVA DR                                                                             DEWITT         MI   48820‐8755
MAXWELL, JILL ANN        1216 E GENEVA DR                                                                             DEWITT         MI   48820‐8755
MAXWELL, JIMMYE L        206 COMMONWEALTH AVE                                                                         FLINT          MI   48503‐2156
MAXWELL, JIMMYE LOUISE   206 COMMONWEALTH AVE                                                                         FLINT          MI   48503‐2156
MAXWELL, JOHN            313 MILL STREET                                                                              FLUSHING       MI   48433‐2012
MAXWELL, JOHN E          108 SOUTHEAST 21ST PLACE                                                                     CAPE CORAL     FL   33990‐1441
MAXWELL, JOHN H          6901 PARKBELT DR                                                                             FLINT          MI   48505‐1912
MAXWELL, JOHN K
MAXWELL, JOHN L          27 EDENDERY CIRCLE                                                                           FAIRPORT       NY   14450‐1013
MAXWELL, JOHN L          1940 DONNA DR                                                                                ANDERSON       IN   46017‐9698
MAXWELL, JOHN S          8144 MIZNER LN                                                                               BOCA RATON     FL   33433‐1138
MAXWELL, JOHN T          1224 MAPLE ST                                                                                ROCHESTER      NY   14611‐1548
MAXWELL, JOSEPH A        6332 SCHELL LN                                                                               ANDERSON       IN   46013‐9693
MAXWELL, JOSEPH F        2715 PASADENA DR                                                                             BAY CITY       MI   48706‐2666
MAXWELL, JOSEPHINE J     2016 N 67TH ST                                                                               KANSAS CITY    KS   66104‐2623
MAXWELL, JOSEPHINE J     2016 NO 67TH ST                                                                              KANSAS CITY    KS   66104‐2623
MAXWELL, KATHLEEN L      ZIMMERMAN REED PLLP              5200 NORWEST CENTER, 90 SOUTH                               MINNEAPOLIS    MN   55402
                                                          SEVENTH STREET
MAXWELL, KATHLEEN L      COHEN MILSTEIN HAUSFELD & TOLL   1100 NEW YORK AVENUE NW, WEST                               WASHINGTON     DC 20005‐3943
                                                          TOWER SUITE 500
MAXWELL, KEITH R         1023 TULIP ST                                                                                GRAND LEDGE    MI   48837‐2044
MAXWELL, KENNETH A       24000 MINES RD                                                                               LIVERMORE      CA   94550‐9548
MAXWELL, KENNETH D       1230 W 450 N                                                                                 LEBANON        IN   46052‐9528
MAXWELL, KENNETH G       2142 COUNTY ROAD 3555                                                                        PARADISE       TX   76073‐4678
MAXWELL, KENNETH I       3 RITTER RD                                                                                  KENDALL PARK   NJ   08824‐1417
MAXWELL, KEVIN P         8801 WHEATLEY ST                                                                             HOUSTON        TX   77088
MAXWELL, KEVIN T         13968 CHERRY BLOSSOM LN                                                                      MILFORD        MI   48380‐1300
MAXWELL, LARRY A         5529 N OLIVIA DR                                                                             ALEXANDRIA     IN   46001‐8604
MAXWELL, LARRY D         6574 W MAY RD                                                                                BLOOMINGTON    IN   47403‐9547
MAXWELL, LARRY D         1357 ABBIE KILGORE WAY                                                                       LOGANVILLE     GA   30052‐7580
MAXWELL, LAURA L         3849 E STATE ROAD 18                                                                         FLORA          IN   46929‐9288
MAXWELL, LAURIE A        311 SAPHIRE                                                                                  MORRICE        MI   48857
MAXWELL, LAURIE A        311 E SAPHIRE ST                                                                             MORRICE        MI   48857‐8744
MAXWELL, LAWRENCE A      1819 E 6TH ST                                                                                ANDERSON       IN   46012‐3530
MAXWELL, LAWRENCE M      PO BOX 93                        425 RUSSELL DRIVE                                           OMER           MI   48749‐0093
MAXWELL, LENARD O        35631 BOOTH ST                                                                               WESTLAND       MI   48186‐4282
MAXWELL, LEONA           12517 JORDAN LN                                                                              DESOTO         MO   63020‐3440
MAXWELL, LIEU W          100 BITTERSWEET LN                                                                           GENEVA         IN   46740‐9205
MAXWELL, LINDA J         873 WILLIAMSBURY APT 156                                                                     WATERFORD      MI   48328‐2243
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Name                             Address1                              Address2                      Address3   Address4         City             State Zip
MAXWELL, M                       19956 BLACKSTONE STREET                                                                         DETROIT           MI 48219
MAXWELL, MAMIE H                 7031 STRATFORD LANE                                                                             FLUSHING          MI 48433‐3705
MAXWELL, MARAJO V                6325 N 350 E                                                                                    ALEXANDRIA        IN 46001‐8875
MAXWELL, MARGARET M              6210 WOODLAWN AVE                                                                               COLUMBIA          SC 29209
MAXWELL, MARIE                   1216 BARBARA DR                                                                                 FLINT             MI 48505‐2548
MAXWELL, MARILYN L               3414 BIG SUR DR                                                                                 LAS VEGAS         NV 89122‐3985
MAXWELL, MARILYN L               3414 BIG SUR                                                                                    LAS VEGAS         NV 89122‐3985
MAXWELL, MARTHA                  3715 WARRENSVILLE CENTER RD APT 330                                                             SHAKER HEIGHTS    OH 44122‐6369

MAXWELL, MARTHA                  3715 WARRENSVILLE CENTER RD.          APT 330                                                   SHAKER HEIGHTS   OH   44122‐6369
MAXWELL, MARTHA M                151 N LOCUST STREET                   APT# 513                                                  INGLEWOOD        CA   90301
MAXWELL, MARTHA M                14040 SAINT MARYS ST                                                                            DETROIT          MI   48227‐4911
MAXWELL, MARTHA S                8400 VAMO RD UNIT 1036                                                                          SARASOTA         FL   34231‐7872
MAXWELL, MARY E                  3106 AUBURN RD # 1                                                                              AUBURN HILLS     MI   48326‐3216
MAXWELL, MARY E                  G 3064 MILLER RD #207                                                                           FLINT            MI   48507‐1339
MAXWELL, MARY L                  777 W PRAIRIE AVE APT 302                                                                       DECATUR          IL   62522‐2054
MAXWELL, MAZETTA                 4069 N 71ST ST                                                                                  MILWAUKEE        WI   53216‐1025
MAXWELL, MEREDITH L              3773 E STATE ROAD 18                                                                            FLORA            IN   46929‐9319
MAXWELL, MICHAEL
MAXWELL, MICHAEL D               13900 CLOVERLAWN ST                                                                             DETROIT          MI   48238‐2416
MAXWELL, MICHAEL DAVIS           13900 CLOVERLAWN ST                                                                             DETROIT          MI   48238‐2416
MAXWELL, MICHAEL J               4225 MILLER RD                        #334                                                      FLINT            MI   48507
MAXWELL, MICHAEL JOSEPH          4225 MILLER RD #334                                                                             FLINT            MI   48507
MAXWELL, MICHAEL M               1283 ARLINGTON DR                                                                               XENIA            OH   45385‐5311
MAXWELL, MICHAEL M               PO BOX 394                                                                                      LAKEVIEW         OH   43331
MAXWELL, MICHAEL S               3585 MILLSBORO RD W                                                                             MANSFIELD        OH   44903‐8650
MAXWELL, MICHAEL SCOTT           3585 MILLSBORO RD W                                                                             MANSFIELD        OH   44903‐8650
MAXWELL, MICHAEL W               8330 E JEFFERSON AVE APT 709                                                                    DETROIT          MI   48214‐2741
MAXWELL, MICHEAL T               PO BOX 182                                                                                      CADILLAC         MI   49601‐0182
MAXWELL, MORTON S                20781 LARI MARK ST                                                                              PERRIS           CA   92570‐6989
MAXWELL, MYRTLE E                126 ARBOR MEADOW DR                                                                             SICKLERVILLE     NJ   08081‐1753
MAXWELL, NADENE T                3880 LOCKPORT OLCOTT RD LOT 15                                                                  LOCKPORT         NY   14094‐1161
MAXWELL, NORMA J                 2913 29TH ST                                                                                    BEDFORD          IN   47421‐5206
MAXWELL, NORMA J                 2913 29TH STREET                                                                                BEDFORD          IN   47421‐5206
MAXWELL, OLIVER C                8055 NESTLE AVE                                                                                 RESEDA           CA   91335‐1326
MAXWELL, ONA I.                  5711 WOODLEAF DRIVE                                                                             KNOXVILLE        TN   37912‐2133
MAXWELL, OWEN D                  GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510
                                                                       STREET, SUITE 600
MAXWELL, PATRICIA A              1900 S INDIANA AVE                                                                              KOKOMO           IN   46902‐2083
MAXWELL, PATRICIA A              1006 YORK DR                                                                                    PENDLETON        IN   46064‐9199
MAXWELL, PATRICIA A              1900 SOUTH INDIANA                                                                              KOKOMO           IN   46902
MAXWELL, PATRICK M               5150 TERRITORIAL RD                                                                             GRAND BLANC      MI   48439‐2049
MAXWELL, PATRICK MICHAEL         5150 TERRITORIAL RD                                                                             GRAND BLANC      MI   48439‐2049
MAXWELL, PAUL D                  5850 CHICKADEE LN                                                                               CLARKSTON        MI   48346‐2909
MAXWELL, PAUL E                  6740 E 275 N                                                                                    LEBANON          IN   46052‐9287
MAXWELL, PAUL H                  12 EDGEWOOD AVE                                                                                 NEW CASTLE       DE   19720
MAXWELL, PAUL H                  411 SANTA CLARA CIR                                                                             LADY LAKE        FL   32159‐8614
MAXWELL, PETER A                 965 E SALZBURG RD                                                                               BAY CITY         MI   48706‐9773
MAXWELL, PONITZ & SCLAWY, PLLC   2000 2ND AVE                          ROOM 2310 WCB                                             DETROIT          MI   48226‐1203
MAXWELL, QUILLIE                 APT 233                               16850 WYOMING STREET                                      DETROIT          MI   48221
MAXWELL, RACHEL M                5747 SAINT JOE CENTER RD                                                                        FORT WAYNE       IN   46835‐2447
MAXWELL, RACQUEL                 4084 PENDLETON WAY                                                                              INDIANAPOLIS     IN   46226‐5224
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Name                     Address1                         Address2                        Address3   Address4         City               State Zip
MAXWELL, RACQUEL N.      4084 PENDLETON WAY                                                                           INDIANAPOLIS        IN 46226‐5224
MAXWELL, RALPH D         214 HAMPTON ST                                                                               ROCKMART            GA 30153‐1754
MAXWELL, RAY L           1283 BOB BULLOCK RD                                                                          COOKEVILLE          TN 38506
MAXWELL, RENEE           3732 SCOFIELD STREET                                                                         METAIRIE            LA 70002‐1558
MAXWELL, RENEE           MOREL MICHELE LAW OFFICE         PO BOX 1046                                                 LULING              LA 70070‐1046
MAXWELL, RENEE           GARRITY ROBERT T JR LAW OFFICE   1905 HICKORY AVE                                            HARAHAN             LA 70123‐1607
MAXWELL, RENEE M         PO BOX 383                                                                                   WHITMORE LAKE       MI 48189‐0383
MAXWELL, RENEE MICHELE   PO BOX 383                                                                                   WHITMORE LAKE       MI 48189‐0383
MAXWELL, RICHARD C       3223 CATAWBA RD                                                                              TROUTVILLE          VA 24175
MAXWELL, RICHARD W       1307 SUMMERWALK PKWY                                                                         TUCKER              GA 30084‐8409
MAXWELL, ROBERT          1191 RAMBO HOLLOW RD                                                                         LEWISBURG           TN 37091‐5242
MAXWELL, ROBERT          PO BOX 321                                                                                   NEW LOTHROP         MI 48460‐0321
MAXWELL, ROBERT          9507 ORCHARD ST PO BX 321                                                                    NEW LOTHROP         MI 48460‐9617
MAXWELL, ROBERT D        ZIMMERMAN REED PLLP              5200 NORWEST CENTER, 90 SOUTH                               MINNEAPOLIS         MN 55402
                                                          SEVENTH STREET
MAXWELL, ROBERT D        COHEN MILSTEIN HAUSFELD & TOLL   1100 NEW YORK AVENUE NW, WEST                               WASHINGTON         DC 20005‐3943
                                                          TOWER SUITE 500
MAXWELL, ROBERT L        1238 N GAY ST                                                                                BALTIMORE          MD   21213
MAXWELL, ROBERT P        1726 S. E. 8TH STREET                                                                        CAPE CORAL         FL   33990‐1600
MAXWELL, ROBERT P        1726 SE 8TH ST                                                                               CAPE CORAL         FL   33990‐1600
MAXWELL, ROLEY           4276 W BUENA VISTA ST                                                                        DETROIT            MI   48238‐3206
MAXWELL, RONALD          3417 DONALD AVE                                                                              INDIANAPOLIS       IN   46224‐1618
MAXWELL, RONALD E        3313 EASTERN AVE                                                                             ROCHESTER HLS      MI   48307‐5530
MAXWELL, RONALD L        ROSCHE RICHARD J                 4476 MAIN ST STE 201                                        SNYDER             NY   14226
MAXWELL, ROSANNA         5529 N OLIVIA DR                                                                             ALEXANDRIA         IN   46001
MAXWELL, SAMUEL          APT 204                          12225 NORTH WOODCREST DRIVE                                 DUNLAP             IL   61525‐9560

MAXWELL, SAMUEL R        12939 N INDIAN RIVER DR LOT 13                                                               SEBASTIAN          FL   32958‐3877
MAXWELL, SHIRLEY A       PO BOX 182                                                                                   CADILLAC           MI   49601‐0182
MAXWELL, STAR D          65 PRESTWICK DR                                                                              YOUNGSTOWN         OH   44512‐1150
MAXWELL, STEVE N         205 RIVEREDGE DR                                                                             MOORE              SC   29369‐9019
MAXWELL, SUSAN R         7868 COOLEY RD                                                                               RAVENNA            OH   44266‐9752
MAXWELL, SUSAN R         7868 COOLEY RD.                                                                              RAVENNA            OH   44266‐9752
MAXWELL, TERRY M         4118 JENSOME LN                                                                              FRANKLIN           TN   37064‐1162
MAXWELL, THERESA M       4743 BAXTER ST                                                                               SANTA BARBARA      CA   93110‐1909
MAXWELL, THOMAS B        338 GARFIELD                                                                                 KANSAS CITY        KS   66101
MAXWELL, THOMAS F        5027 WOODSHORE LN                                                                            FULSHEAR           TX   77441‐4358
MAXWELL, THOMAS G        2577 E NORTH UNION RD                                                                        BAY CITY           MI   48706‐9268
MAXWELL, THOMAS R        265 SCHROP AVE                                                                               AKRON              OH   44312‐1231
MAXWELL, TIMOTHY W       844 YELL RD                                                                                  LEWISBURG          TN   37091‐4135
MAXWELL, TIMOTHY W       6278 N 400 W                                                                                 ANDERSON           IN   46011‐9237
MAXWELL, TREVOR W        932 JESSICA CT                                                                               LAKEWOOD           NJ   08701‐3651
MAXWELL, TYRONE          152 N DECKER AVE                                                                             DAYTON             OH   45417‐1740
MAXWELL, VASSIE          3341 CHARLEVOIX ST                                                                           DETROIT            MI   48207‐3219
MAXWELL, VEDDIES K       3400 CREEKWOOD DR                                                                            SAGINAW            MI   48601‐5601
MAXWELL, VICKIE J        9377 BUCK RD                                                                                 FREELAND           MI   48623‐9017
MAXWELL, VICTOR A        5972 WILLASTON DR                                                                            DAYTON             OH   45431‐2280
MAXWELL, VIRGIL          633 INDEPENDENCE DR E                                                                        FRANKLIN           TN   37067‐5644
MAXWELL, VIRGIL W        5514 SIR WALTERS WAY                                                                         NORTH FORT MYERS   FL   33917‐9059
MAXWELL, WALTER J        16321 HOEFT RD                                                                               BELLEVILLE         MI   48111‐4279
MAXWELL, WALTER JOSEPH   16321 HOEFT RD                                                                               BELLEVILLE         MI   48111
MAXWELL, WAYNE E         549 GREENBROOK LN                                                                            GRAND PRAIRIE      TX   75052‐5039
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Name                                 Address1                          Address2                    Address3            Address4               City              State Zip
MAXWELL, WAYNE EARL                  549 GREENBROOK LN                                                                                        GRAND PRAIRIE      TX 75052‐5039
MAXWELL, WAYNE H                     912 HARBIN HILL RD                                                                                       MOUNTAIN CITY      TN 37683‐6090
MAXWELL, WENDY B                     510 QUAILWOOD CT                                                                                         CAPE CARTERET      NC 28584‐9773
MAXWELL, WILLIAM A                   6202 TOWNCENTER CIR                                                                                      NAPLES             FL 34119‐9560
MAXWELL, WILLIAM C                   210 PEACH TREE RD                                                                                        HARTSELLE          AL 35640‐8112
MAXWELL, WILLIAM E                   504 W FITH ST                                                                                            FLINT              MI 48505
MAXWELL, WILLIAM H                   389 WILLARD RD                                                                                           MASSENA            NY 13662‐3479
MAXWELL, WILLIAM T                   7700 EVERETT AVE                                                                                         KANSAS CITY        KS 66112‐2450
MAXWELL, WILMA B                     310 NW ST                                                                                                LEBANON            IN 46052
MAXWELL, WILMA L                     9151 TUTTLE HILL RD                                                                                      WILLIS             MI 48191‐9702
MAXWELL‐GMII, INC.                   FRANK GRESE                       13483 W INTERSTATE 10                                                  SAN ANTONIO        TX 78249‐2207
MAXXAM ANALYTICS INC
MAXXAM INC                           JANET HELLEY                      1508 HWY 246 S                                                         ORCHARD PARK      NY
MAXXINE DAVIS                        37722 GREEN DR                                                                                           EASTLAKE          OH   44095‐1012
MAXXIS INTERNATIONAL USA             545 OLD PEACHTREE RD NW                                                                                  SUWANEE           GA   30024‐2935
MAXZONE AUTO PARTS CORP              15889 SLOVER UNIT A                                                                                      FONTANA           CA   92337‐7038
MAXZONE VEHICLE LIGHTING INC         15889 SLOVER UNIT A                                                                                      FONTANA           CA   92337
MAXZONE VEHICLE LIGHTING INC         2790 SPECTRUM DR                                                                                         ELGIN             IL   60124‐7841
MAXZONE VEHICLE LIGHTING INC         GALEN CHEN                        MAXZONE AUTO PARTS                              2790 SPECTRUM DR
MAXZONE VEHICLE LIGHTING INC.        GALEN CHEN                        MAXZONE AUTO PARTS                              2790 SPECTRUM DR
MAXZONE/FONTANA                      15889 SLOVER UNIT A                                                                                      FONTANA           CA   92337
MAY & SCO/FOWLERVILL                 PO BOX 17                                                                                                HOWELL            MI   48844‐0017
MAY & SCOFIELD                       PO BOX 17                                                                                                HOWELL            MI   48844‐0017
MAY & SCOFIELD                       NO CONTACT PERSON                 445 E VAN RIPER RD.                                                    NEW HAVEN         MO   63068
MAY & SCOFIELD INC                                                     445 E VAN RIPER RD                                                     FOWLERVILLE       MI   48836‐7931
MAY & SCOFIELD INC                   445 E VAN RIPER RD                                                                                       FOWLERVILLE       MI   48836‐7931
MAY & SCOFIELD INC                   NO CONTACT PERSON                 PO BOX 17                                                              HOWELL            MI   48844‐0017
MAY & SCOFIELD INC                   NO CONTACT PERSON                 445 E VAN RIPER RD.                                                    NEW HAVEN         MO   63068
MAY & SCOFIELD INC                   SHARON ELLENS                     911 SW 7TH ST                                                          MADISON           SD   57042‐3211
MAY & SCOFIELD INC                   PO BOX 17                                                                                                HOWELL            MI   48844‐0017
MAY & SCOFIELD LLC                   PO BOX 17                                                                                                HOWELL            MI   48844‐0017
MAY & SCOFIELD LTD                   STROUDLEY RD                      THE DANES HILL INDSTL EST                       BASINGSTOKE RG24 8UG
                                                                                                                       GREAT BRITAIN
MAY & SUCHER                         5777 W MAPLE RD STE 180                                                                                  WEST BLOOMFIELD   MI 48322‐4448
MAY ADAMS GERDES & THOMPSON          PO BOX 160                                                                                               PIERRE            SD 57501‐0160
MAY ADAMS GERDES & THOMPSON LLP      PO BOX 160                                                                                               PIERRE            SD 57501‐0160

MAY AND SCOFIELD/MI                  627 DEARBORN ST                                                                                          HOWELL            MI   48843‐2348
MAY ANDREWS                          8650 SANDYCREST DR                                                                                       WHITE LAKE        MI   48386‐2453
MAY ANTHONY                          59 LINABURY AVE                                                                                          WATERFORD         MI   48328‐2856
MAY ANTOINETTE & GIAN B A CAGGIANO   MAY ANTOINETTE CAGGIANO &         GIAN B A CAGGIANO JT TEN    525 W CLIFFORD ST                          WINCHESTER        VA   22601‐3713

MAY BAKER                            41 PRICE AVE APT 1                                                                                       ERLANGER          KY   41018‐1682
MAY BELL LOEB                        2792 DONNELLY DR. APT 375                                                                                LATANA            FL   33462
MAY BERNHARD                         688 A HERITAGE HIILL                                                                                     SOUTHBURY         CT   06488
MAY BRANCA                           15‐30 124 STREET                                                                                         COLLEGE POINT     NY   11356
MAY BROTHERS EXXON                   6807 LEE HWY                                                                                             CHATTANOOGA       TN   37421‐2445
MAY BURKES                           101 HILLSIDE LN                                                                                          DESOTO            TX   75115‐5909
MAY CABIL                            4706 CABALLERO CT                                                                                        FORT WAYNE        IN   46835‐3700
MAY CARTHANS                         PO BOX 13268                                                                                             FLINT             MI   48501‐3268
MAY CECIL                            PO BOX 194                                                                                               CHARLOTTE         TN   37036‐0194
MAY CERVI                            9359 JOHNSON RD                                                                                          MIDDLEPORT        NY   14105‐9629
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Name                                  Address1                         Address2                        Address3   Address4             City              State Zip
MAY CHARTERS INC                      PO BOX 6803                                                                                      CHANDLER           AZ 85246‐6803
MAY CHEONG TOY PRODUCTS FTY., LTD.

MAY CLEARMAN                          1339 NEUMANN RD                                                                                  LEWISTON          MI   49756‐8704
MAY COLBERT                           2188 BAYHAM DR SE                                                                                GRAND RAPIDS      MI   49508‐5027
MAY COLEN                             1736 W HOBSON AVE                                                                                FLINT             MI   48504‐7015
MAY CROUTHER                          18415 COYLE STREET                                                                               DETROIT           MI   48235‐2829
MAY DAMRON                            PO BOX 823                       C/O MOLLY T PERRY                                               LAKE HELEN        FL   32744‐0823
MAY DENNIS G (347959)                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA   23510
                                                                       STREET, SUITE 600
MAY DEPARTMENT CO                     ATTN LEASE ADMINISTRATOR         611 OLIVE ST 13TH FL                                            SAINT LOUIS       MO   63101
MAY DOBRICH                           509 S 3RD AVE                                                                                    ELIZABETH         PA   15037‐1343
MAY DOVE                              1030 COMMONWEALTH AVE                                                                            YPSILANTI         MI   48198‐3120
MAY EDWARD & LILLIAN                  3212 AUSTINTOWN WARREN RD                                                                        MINERAL RIDGE     OH   44440‐9751
MAY EHRENMAN TRUST                    12562 MAJESTIC ISLES DR                                                                          BOYNTON BEACH     FL   33437
MAY ENG                               310 W 23RD PL                                                                                    CHICAGO           IL   60616‐1919
MAY FINCH                             12970 KELLEY RD                                                                                  BROOKLYN          MI   49230‐9773
MAY GARRETT                           79 FRANCIS CREEK BLVD                                                       ST CATHARINES ON
                                                                                                                  L2W1B3 CANADA
MAY GHALIB                            1128 S LINDEN RD                                                                                 FLINT             MI   48532‐3454
MAY GHALIB MD                         ATTN: MAY GHALIB                 1128 S LINDEN RD # 11                                           FLINT             MI   48532‐3454
MAY HARRIS                            2019 GARDNER RD                                                                                  HAMILTON          OH   45013‐1121
MAY HAWLEY                            20947 SEMINOLE ST                                                                                SOUTHFIELD        MI   48033‐3551
MAY HINES                             2162 CEDAR VLY                                                                                   KINGSLAND         TX   78639‐3827
MAY HONG COFFEE                       3887 DIVISION AVE S                                                                              GRAND RAPIDS      MI   49548‐3251
MAY HRESKO                            5510 LARKIN LN                                                                                   CLARKSTON         MI   48348‐4826
MAY I I I, ANDREW J                   877 E DAVIS DR                                                                                   FRANKLIN          IN   46131‐7680
MAY I I I, HARRY                      982 BURNS ST                                                                                     DETROIT           MI   48214‐2805
MAY III, ANDREW J                     877 E DAVIS DR                                                                                   FRANKLIN          IN   46131‐7680
MAY III, HARRY                        982 BURNS ST                                                                                     DETROIT           MI   48214‐2805
MAY JAMES EARL (493047)               MOTLEY RICE                      PO BOX 1792                                                     MT PLEASANT       SC   29465‐1792
MAY JENNINGS                          225 AVENIDA DE LA ISLA                                                                           NOKOMIS           FL   34275‐2013
MAY JOHN (ESTATE OF) (489143) ‐ MAY   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD        OH   44067
JOHN                                                                   PROFESSIONAL BLDG
MAY JOHN C                            2705 VOLLMER DRIVE                                                                               YOUNGSTOWN        OH   44511‐1976
MAY JOHNSON                           7826 SAINT CLAIR AVE                                                                             NORTH HOLLYWOOD   CA   91605‐2312
MAY JOHNSON                           3612 CRESTON DR                                                                                  INDIANAPOLIS      IN   46222‐3906
MAY JOY                               MAY, JOY                         2864 HOLMAN ST                                                  DAYTON            OH   45439‐1636
MAY JR, BILLIE J                      2226 MALIBU CT                                                                                   ANDERSON          IN   46012‐4716
MAY JR, BOB                           3234 COUNTY ROAD 1143                                                                            TROY              AL   36079‐4283
MAY JR, CARL H                        7119 E SAGINAW HWY                                                                               GRAND LEDGE       MI   48837‐9107
MAY JR, CLAUDIE V                     2285 N OLD STATE AVE                                                                             HARRISON          MI   48625‐7425
MAY JR, DAVID                         1578 MCALPINE DR                                                                                 MOUNT MORRIS      MI   48458‐2310
MAY JR, FREDDIE                       2121 S 19TH AVE                                                                                  BROADVIEW         IL   60155‐2943
MAY JR, JAMES                         917 5TH ST SW                                                                                    WARREN            OH   44485‐3820
MAY JR, JOHN                          3925 WESTPOINT STREET                                                                            DEARBORN HTS      MI   48125‐2124
MAY JR, JOHN B                        2011 FRIENDSHIP LN                                                                               CHAPEL HILL       TN   37034‐2501
MAY JR, PRESTON                       2809 TOD AVE NW                                                                                  WARREN            OH   44485‐1503
MAY JR, VERNON F                      11 13TH ST                                                                                       KEANSBURG         NJ   07734‐3050
MAY JR, WILLIAM M                     807 EASTWOOD CIR LOT 26                                                                          MORRISTOWN        TN   37814‐4941
MAY JR., MICHAEL F                    15708 N COUNTY ROAD 200 WEST                                                                     MUNCIE            IN   47303‐9738
MAY K CABIL                           4706 CABALLERO CT                                                                                FORT WAYNE        IN   46835‐3700
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Name                               Address1                                Address2                          Address3   Address4         City              State Zip
MAY KATHY                          4009 S FRANKS LN                                                                                      SELMA              IN 47383‐9695
MAY KERRY E (352005)               GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                           STREET, SUITE 600
MAY KOSOVICH                       31131 GRANDON ST                                                                                      LIVONIA           MI   48150‐3992
MAY L CARTHANS                     PO BOX 13268                                                                                          FLINT             MI   48501‐3268
MAY LARRY                          7957 SIGLER RD                                                                                        SOUTH ROCKWOOD    MI   48179‐9518
MAY LILLIE                         353 MICHAEL BLVD                                                                                      FRANKFORT         KY   40601‐9075
MAY LINDEN (467020)                GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA   23510
                                                                           STREET, SUITE 600
MAY LLOYD EUGENE (439305)          GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA 23510
                                                                           STREET, SUITE 600
MAY LONG & SANDERS PC              600 GRANT STREET SUITE 3030 USX TOWER                                                                 PITTSBURGH        PA 15219

MAY MACHIN                         764 OAKWOOD RD                                                                                        ORTONVILLE        MI   48462‐8589
MAY MANN                           204 CONNELL DR                                                                                        SOUTH FULTON      TN   38257‐2801
MAY MANUEL                         1728 SEARLES RD                                                                                       BALTIMORE         MD   21222‐2118
MAY MARGARET                       MAY, MARGARET                           1045 WAGONER DR                                               WILMINGTON        DE   19805
MAY MARVIN (ESTATE OF) (473106)    BEVAN & ASSOCIATES                      10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD        OH   44067
                                                                           PROFESSIONAL BLDG
MAY MATTHEW                        230 BAYBROOK CT                                                                                       LAKE SHERWOOD     CA   91361‐5196
MAY MOSES                          1218 OLIVETTE ST                                                                                      COLLINSVILLE      IL   62234‐4125
MAY NAVARRE                        2637 CHICKADEE ST                                                                                     ROCHESTER HILLS   MI   48309‐3424
MAY P WALTERS                      2409 PALMER DR                                                                                        GULFPORT          MS   39507‐2244
MAY PERRY                          258 INDIAN MOUND CIR                                                                                  JACKSBORO         TN   37757‐2102
MAY RAYMOND F (497935)             PAUL REICH & MYERS P.C.                 1608 WALNUT ST STE 500                                        PHILADELPHIA      PA   19103‐5446
MAY RICHARD D SR (346975)          GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA   23510
                                                                           STREET, SUITE 600
MAY RICHMEYER                      240 TAIPEI ISLAND LN                                                                                  LEESBURG          FL   34788‐2973
MAY ROBERT C (404332)              ANGELOS PETER G LAW OFFICE              115 BROADWAY FRNT 3                                           NEW YORK          NY   10006‐1638
MAY ROBINETT                       8543 BIRCH RUN RD                                                                                     MILLINGTON        MI   48746‐9533
MAY ROCK                           3071 YORK RD                                                                                          ROCHESTER HILLS   MI   48309‐3942
MAY ROGER                          203 SONGBIRD TRL                                                                                      KEENE             TX   76059‐2453
MAY RUSSELL (ESTATE OF) (633044)   EARLY LUDWICK & SWEENEY L.L.C.          ONE CENTURY TOWER, 11TH FLOOR ,                               NEW HAVEN         CT   06510
                                                                           265 CHURCH STREET
MAY SAMUEL MILTON (ESTATE OF)      GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA 23510
(459192)                                                                   STREET, SUITE 600
MAY SEGUIN                         11532 EDGETON DR                                                                                      WARREN            MI   48093‐6407
MAY SERRELS                        80640 CAMINO LOS CAMPOS                                                                               INDIO             CA   92203‐7504
MAY SINKO                          7386 ABBY CT                                                                                          MENTOR            OH   44060‐5204
MAY SKINNER                        PO BOX 15397                                                                                          DETROIT           MI   48215‐0397
MAY SMITH                          4001 E LINWOOD BLVD                                                                                   KANSAS CITY       MO   64128‐2135
MAY SOLMONSON                      300 KENNELY RD APT 339                                                                                SAGINAW           MI   48609‐7709
MAY SPECTOR                        9711 LUBAO AVE                                                                                        CHATSWORTH        CA   91311‐5511
MAY STEWART                        1429 LIBERTY RD                                                                                       YOUNGSTOWN        OH   44505‐3648
MAY STRANIERO                      25101 DRAKEFIELD AVE                                                                                  EUCLID            OH   44132‐1835
MAY SUTCH                          275 W BARNEY ST APT 116                                                                               GOUVERNEUR        NY   13642‐3287
MAY THOMAS WAYNE (488505)          BEVAN & ASSOCIATES                      10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD        OH   44067
                                                                           PROFESSIONAL BLDG
MAY TOOL & DIE INC                 9 HACKETT DR                                                                                          TONAWANDA         NY 14150‐3711
MAY VERONICA                       MAY, VERONICA                           33159 FORD RD                                                 GARDEN CITY       MI 48135‐1153
MAY VINCENT                        7695 OLDE EIGHT RD                                                                                    HUDSON            OH 44236‐1021
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Name                           Address1                          Address2                           Address3   Address4         City                State Zip
MAY WALTER (446147)            CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND            OH 44115
                               GAROFOLI                          FL
MAY WALTERS                    2409 PALMER DR                                                                                   GULFPORT            MS    39507‐2244
MAY WATT                       7405 ABINGTON WAY                                                                                WEEKI WACHEE        FL    34613‐5124
MAY WEBSTER                    160 DUNKIRK ST SE                                                                                GRAND RAPIDS        MI    49548‐7718
MAY WILLIAM COREY              MAY, WILLIAM COREY                10085 CARROLL CANYON ROAD                                      SAN DIEGO           CA    92131
MAY WILSON                     1138 THAYER LN                                                                                   ANDERSON            IN    46011‐2566
MAY'S AUTO                     104 INDUSTRIAL PARK RD                                                                           STANLEY             WI    54768‐1082
MAY'S FLEET SALES & SVC        ATTN: GARY MAY                    3401 COURT ST                                                  SYRACUSE            NY    13206‐1018
MAY, ADA C                     8472 WEST SOUTH ST                                                                               GLENWOOD            IN    46133‐9636
MAY, ADA C                     8472 W SOUTH ST                                                                                  GLENWOOD            IN    46133‐9636
MAY, ADA E                     501 YOUNGER DR                                                                                   HARRISONVILLE       MO    64701‐3933
MAY, ADA E                     501 YOUNGER                                                                                      HARRISONVILLE       MO    64701‐3933
MAY, ADAM, GERDES & THOMPSON   MR. DAVID A. GERDES               503 S PIERRE ST                                                PIERRE              SD    57501‐4522
MAY, ALBERT A                  1044 LAND HBR                                                                                    NEWLAND             NC    28657‐7901
MAY, ALFRED C                  310 ROSE ST                                                                                      FENTON              MI    48430‐2090
MAY, ALICE L                   6906 S WABASH AVE                                                                                CHICAGO              IL   60637‐4515
MAY, ALICE L                   6906 SO WABASH AVE                                                                               CHICAGO              IL   60637‐4515
MAY, ALLEN L                   5717 GLENN AVE                                                                                   FLINT               MI    48505‐5122
MAY, AMANDA DENICE             2264 E KITCHEN RD                                                                                PINCONNING          MI    48650‐9755
MAY, AMBER L                   8400 LAKE RD                                                                                     MONTROSE            MI    48457‐9718
MAY, AMBER LINN                8400 LAKE RD                                                                                     MONTROSE            MI    48457‐9718
MAY, AMY M                     9210 ADDINGTON DR                                                                                COMMERCE TOWNSHIP   MI    48390‐4017
MAY, ANDREW C                  2393 W DODGE RD                                                                                  CLIO                MI    48420‐1663
MAY, ANDREW R                  3746 SUMMIT RIDGE DR                                                                             ROCHESTER HILLS     MI    48306‐2968
MAY, ANN M                     873 KETTERING                                                                                    PONTIAC             MI    48340‐3254
MAY, ANN M                     873 KETTERING AVE                                                                                PONTIAC             MI    48340‐3254
MAY, ANNA L                    PO BOX 1783                                                                                      ARLINGTON           TX    76004
MAY, ANNA M                    6828 LOCKRIDGE DR                                                                                DORAVILLE           GA    30360‐1515
MAY, ANNE                      1741 HUDSON AVE                                                                                  ROCHESTER           NY    14617‐5103
MAY, ANNIE W                   1158 SOUTHERN BLVD NW                                                                            WARREN              OH    44485‐2246
MAY, ANTHONY                   59 LINABURY AVE                                                                                  WATERFORD           MI    48328‐2856
MAY, ANTHONY D                 1625 NE JADE CT                                                                                  LEES SUMMIT         MO    64086‐5938
MAY, ANTHONY W                 15056 SCARLET OAK TRL                                                                            STRONGSVILLE        OH    44149‐4877
MAY, ARTHUR M                  60 NANTUCKET DR W                                                                                CHEEKTOWAGA         NY    14225‐4814
MAY, AUDREY G                  2001 AMBER SKIES AVE SPC 8                                                                       ALAMOGORDO          NM    88310‐3202
MAY, AUGUSTINE                 13612 BETH DR                                                                                    WARREN              MI    48088‐4811
MAY, AVA                       1419 LAMPASAS DR                                                                                 ALLEN               TX    75013‐5320
MAY, AVERIL L                  8551 STAWELL ST                                                                                  DETROIT             MI    48204‐2725
MAY, BARBARA                   28616 FREDA CT                                                                                   MADISON HTS         MI    48071‐2713
MAY, BARBARA A                 8001 CASTLE ROCK DR NE                                                                           WARREN              OH    44484
MAY, BARBARA A                 2169 CHANNEL WAY                                                                                 N FORT MYERS        FL    33917‐2513
MAY, BARBARA J                 7945 BAILEY ST                                                                                   TAYLOR              MI    48180‐2154
MAY, BARRY D                   8275 SCATLER ROOT PL                                                                             HUBER HEIGHTS       OH    45424‐6509
MAY, BARTH A                   725 BOX CANYON RD                                                                                CANOGA PARK         CA    91304
MAY, BEATRICE                  233 CEDAR HAVEN DR                                                                               MURRAY              KY    42071‐6211
MAY, BENNIE L                  4664 MORRISON RD                                                                                 ALGER               MI    48610‐9358
MAY, BERLINE                   8203 EAST 85TH STREET                                                                            RAYTOWN             MO    64138‐3012
MAY, BERNARD                   1616 15TH STREET                                                                                 BEDFORD             IN    47421‐3604
MAY, BERNICE E                 3904 COOK RD                                                                                     ROOTSTOWN           OH    44272‐9648
MAY, BETTIE                    2011 FRIENDSHIP LN                                                                               CHAPEL HILL         TN    37034‐2501
MAY, BETTY L                   994 ARGYLE AVE                                                                                   PONTIAC             MI    48341‐2300
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Name                 Address1                            Address2            Address3         Address4         City                State Zip
MAY, BETTY L         994 ARGYLE                                                                                PONTIAC              MI 48341‐2300
MAY, BETTY L         17406 E 43RD TERRACE CT S                                                                 INDEPENDENCE         MO 64055‐7663
MAY, BILLY D         5593 N SCOTT RD                                                                           SAINT JOHNS          MI 48879‐9408
MAY, BILLY R         575 CASE AVE                                                                              ELYRIA               OH 44035‐7201
MAY, BLANCHE D       2218 MOUNT ELLIOTT AVE                                                                    FLINT                MI 48504‐2877
MAY, BONITA J        1805 ETHEL AVE                                                                            NILES                OH 44446‐4551
MAY, BRADLEY A       2569 RAMBLING WAY                                                                         BLOOMFIELD HILLS     MI 48302‐1039
MAY, BRENDA L        5011 KENILWORTH DR                                                                        BOSSIER CITY         LA 71112‐4540
MAY, BRENDA S        9753 N LAKE POINT DR                                                                      OTTER LAKE           MI 48464‐9400
MAY, BRENT C         2558 ROCKHILL                                                                             ZANESVILLE           IN 46799
MAY, BRIAN R         496 GABRIEL DR                                                                            SAINT LOUIS          MO 63122‐3615
MAY, C B             GUY WILLIAM S                       PO BOX 509                                            MCCOMB               MS 39649‐0509
MAY, CALVIN L        21 HILLTOP PL                                                                             EAST SAINT LOUIS      IL 62203‐2126
MAY, CARLOUS L       200 HATFIELD RD                                                                           CRAB ORCHARD         WV 25827‐9756
MAY, CAROL A         2659 PINE TREE RD                                                                         HOLT                 MI 48842‐9716
MAY, CAROL F         616 RESERVE RD                                                                            W.SENECA             NY 14224‐4249
MAY, CAROLYN         422 E CTY RD 800 NORTH                                                                    SPRINGPORT           IN 47386‐9711
MAY, CARROL E        3219 CORNWALL DR                                                                          BIRMINGHAM           AL 35226‐2607
MAY, CASIMIR J       31253 WELLSTON DR                                                                         WARREN               MI 48093‐7642
MAY, CHARLES A       1795 BLAIR ST                                                                             CHRISTIANSBURG       VA 24073‐6861
MAY, CHARLES B       392 E 17 MILE RD                                                                          BITELY               MI 49309‐9419
MAY, CHARLES C       SHANNON LAW FIRM                    100 W GALLATIN ST                                     HAZLEHURST           MS 39083‐3007
MAY, CHARLES F       1118 BOYERS RD # 1                                                                        HARRISONBURG         VA 22801‐2234
MAY, CHARLES R       3389 S COMMERCE RD                                                                        COMMERCE TOWNSHIP    MI 48390‐1218
MAY, CHERYL K        18417 CANYON OAK DR                                                                       NOBLESVILLE          IN 46062‐7582
MAY, CHERYL L        4657 LAKESHIRE DR                                                                         HOWELL               MI 48843‐6810
MAY, CHRISTOPHE E    255 SW NORTH QUICK CIR                                                                    PORT ST LUCIE        FL 34953‐6078
MAY, CHUCK           209 LEE RD                                                                                COTTONTOWN           TN 37048‐4626
MAY, CLAUDE A        10630 W OUTER DR                                                                          DETROIT              MI 48223‐2121
MAY, CLAUDIA M       1900 N 70TH ST APT 608                                                                    KANSAS CITY          KS 66102‐1088
MAY, CLAUDIA M       1900 NORTH 70TH STREET              APT. 608                                              KANSAS CITY          KS 66102
MAY, CLEOPHAS        PO BOX 81                                                                                 DELHI                LA 71232‐0081
MAY, CLIFFORD A      2970 108TH AVE NE                                                                         NORMAN               OK 73026‐8006
MAY, CONSTANCE L     222 LYNWOOD CIR                                                                           LANSING              MI 48906‐3254
MAY, CRAIG A         199 COUNTY ROAD 4775                                                                      BROADDUS             TX 75929‐2176
MAY, CRAIG ALAN      199 COUNTY ROAD 4775                                                                      BROADDUS             TX 75929
MAY, CRIS W          2510 S COUNTY LINE RD W                                                                   YODER                IN 46798‐9703
MAY, CRIS WAYNE      2510 S COUNTY LINE RD W                                                                   YODER                IN 46798‐9703
MAY, CRYSTOL D       20901 W CHICAGO ST                                                                        DETROIT              MI 48228‐1519
MAY, CURTIS E        8535 WINTERGREEN ST                                                                       LANSING              MI 48917‐8800
MAY, CURTIS R        7178 MILLER RD                                                                            SWARTZ CREEK         MI 48473‐1534
MAY, CURTIS RODNEY   7178 MILLER RD                                                                            SWARTZ CREEK         MI 48473‐1534
MAY, DALE R          1706 DONORA ST                                                                            LANSING              MI 48910‐1700
MAY, DANIEL          233 CEDAR HAVEN DR                                                                        MURRAY               KY 42071‐6211
MAY, DANIEL C        7696 CO RD 37 RT 14                                                                       LEXINGTON            OH 44904
MAY, DANIEL E        5422 N SEYMOUR RD                                                                         FLUSHING             MI 48433‐1004
MAY, DANNY C         1668 REESE RD                                                                             SHARPSBURG           GA 30277‐2418
MAY, DARREL E        PO BOX 343                                                                                KILLEEN              TX 76540‐0343
MAY, DARREN F        4657 LAKESHIRE DR                                                                         HOWELL               MI 48843‐6810
MAY, DAVID G         16242 CAMELBACK DR                                                                        VICTORVILLE          CA 92395‐4912
MAY, DAVID L         67 OLDE FORGE LN                                                                          BALTIMORE            MD 21236‐2951
MAY, DAVID L         2795 TOME HWY                                                                             COLORA               MD 21917‐1215
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Name                  Address1                              Address2                       Address3   Address4         City            State Zip
MAY, DAVID LEE        2795 TOME HWY                                                                                    COLORA           MD 21917‐1215
MAY, DAVID W          409 S MARIE ST                                                                                   WESTLAND         MI 48186‐3815
MAY, DAVID WILLIAM    409 S MARIE ST                                                                                   WESTLAND         MI 48186‐3815
MAY, DEBORAH K        PO BOX 95                                                                                        ORIENT           OH 43146‐0095
MAY, DENISE M         3274 E VIENNA RD                                                                                 CLIO             MI 48420‐9170
MAY, DENISE M         31231 FERNWOOD ST                                                                                WESTLAND         MI 48186‐5098
MAY, DENNIS G         GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510
                                                            STREET, SUITE 600
MAY, DENNIS M         43460 LYNNWOOD CT                                                                                CANTON          MI   48187
MAY, DENNIS M         20881 SOUTH 214TH WAY                                                                            QUEEN CREEK     AZ   85242‐3306
MAY, DENNIS MICHAEL   20881 SOUTH 214TH WAY                                                                            QUEEN CREEK     AZ   85242‐3306
MAY, DENNIS W         2107 W COLTON                                                                                    OZARK           MO   65721‐6003
MAY, DIANE C.         5615 RIVER RUN TRL                                                                               FORT WAYNE      IN   46825‐6025
MAY, DONALD           DALEY ROBERT                          707 GRANT ST STE 2500                                      PITTSBURGH      PA   15219‐1945
MAY, DONALD B         PO BOX 167                                                                                       INWOOD          WV   25428‐0167
MAY, DONALD C         PO BOX 449                                                                                       POTTSBORO       TX   75076‐0449
MAY, DONALD E         725 BURTON ST SE                                                                                 GRAND RAPIDS    MI   49507‐3203
MAY, DONALD E         667 DUNAWAY ST                                                                                   MIAMISBURG      OH   45342‐3828
MAY, DONNIE C         887 N CLINTON TRL                                                                                CHARLOTTE       MI   48813‐9784
MAY, DONNIE F         5359 E 400 N                                                                                     VAN BUREN       IN   46991‐9716
MAY, DORIS G          5232 THORNBURY RD                                                                                LYNDHURST       OH   44124‐1257
MAY, DORIS J          2512 SILVERBROOK LN APT 504                                                                      ARLINGTON       TX   76006‐6159
MAY, DOROTHY          361 VISTULA AVE                                                                                  ORCHARD PARK    NY   14127
MAY, DREAMA           780 FLAT TOP RD                                                                                  SHADY SPRING    WV   25918‐8680
MAY, DWIGHT C         2608 WILDWOOD DR                                                                                 HAUGHTON        LA   71037‐9388
MAY, EDDIE            GUY WILLIAM S                         PO BOX 509                                                 MCCOMB          MS   39649‐0509
MAY, EDITH C          1412 RALEIGH DR                                                                                  BRIGHTON        MI   48114‐9655
MAY, EDWARD T         1778 MAGNOLIA DR                                                                                 GREENWOOD       IN   46143‐6908
MAY, EDWARD T         1800 CLUBHOUSE DR UNIT 151                                                                       BULLHEAD CITY   AZ   86442‐6870
MAY, EDWIN C          12810 3RD AVE NW                                                                                 GRAND RAPIDS    MI   49534
MAY, EDWIN V          35716 FLORANE ST                                                                                 WESTLAND        MI   48186‐8225
MAY, ELAINE J         1125 N MIDWAY RD                                                                                 CLINTON         MS   39056‐9782
MAY, ELBERTA N        4363 W ROBINSON RD                                                                               PELLSTON        MI   49769‐9329
MAY, ELBERTA N        4363 ROBINSON RD                                                                                 PELLSTON        MI   49769‐9329
MAY, ELIZABETH        PO BOX 285                            5140 AUSABLE VALLEY RD                                     JOHANNESBURG    MI   49751‐0285
MAY, ELIZABETH        5140 AUSABLE VALLEY RD                PO BOX 285                                                 JOHANNESBURG    MI   49751‐0285
MAY, ELIZABETH        7334 AMBER ST                                                                                    NEW ORLEANS     LA   70124‐3515
MAY, ELIZABETH A      618 S MARKET                                                                                     KOKOMO          IN   46901‐5456
MAY, ELIZABETH A      19288 MORRISON WAY                                                                               NOBLESVILLE     IN   46060‐1174
MAY, ELLEN M          APT 16K                               3270 SOUTH LAKEWOOD AVENUE                                 TULSA           OK   74135‐4920
MAY, ERIC R           5202 NEWTON ST                                                                                   OVERLAND PARK   KS   66202‐1158
MAY, ERNEST L         4363 ROBINSON RD                                                                                 PELLSTON        MI   49769‐9329
MAY, ERNEST S         2768 PRICE RD                                                                                    NASHVILLE       MI   49073‐9761
MAY, ETTA J           1772 BRYSON LN                        P.O. BOX 454                                               NASHVILLE       IN   47448‐7951
MAY, ETTA J           1772 BRYSON LANE                      P.O. BOX 454                                               NASHVILLE       IN   47448‐7951
MAY, FANNIE J         8140 N VASSAR RD                                                                                 MOUNT MORRIS    MI   48458‐9736
MAY, FRANCIS B        928 HIGH STREET                                                                                  FALL RIVER      MA   02720
MAY, FRANCIS R        40 ARBOR HILLS TRCE                                                                              TALKING ROCK    GA   30175‐6706
MAY, FRED F           GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                               SAGINAW         MI   48604‐2602
                                                            260
MAY, FREDERICK J      12886 ITHACA RD                                                                                  SAINT CHARLES   MI 48655‐8511
MAY, GARY A           5011 KENILWORTH DR                                                                               BOSSIER CITY    LA 71112‐4540
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Name                 Address1                            Address2                 Address3   Address4         City                  State Zip
MAY, GARY A          10015 SOUTHRIDGE DR                                                                      OKLAHOMA CITY          OK 73159‐7315
MAY, GARY ALAN       5011 KENILWORTH DR                                                                       BOSSIER CITY           LA 71112‐4540
MAY, GARY E          1561 CONLEY RD                                                                           MOGADORE               OH 44260‐9639
MAY, GARY L          7675 IMLAY CITY RD                                                                       KENOCKEE               MI 48006‐3604
MAY, GARY L          200 W. WALKER APT. A                                                                     SAINT JOHNS            MI 48879
MAY, GENE E          4016 WESTERN DR                                                                          ANDERSON               IN 46012‐9271
MAY, GEORGE W        12615 CLOCK TOWER PKWY                                                                   BAYONET POINT          FL 34667‐2558
MAY, GERALD          6340 BEAR RIDGE RD                                                                       LOCKPORT               NY 14094‐9220
MAY, GERALD L        5955 COBB CREEK RD                                                                       ROCHESTER              MI 48306‐2478
MAY, GERALDINE B     3465 CASA GRANDE CIR                                                                     JACKSON                MS 39209‐9209
MAY, GERMAINE P      443 GRAPE                                                                                PORTLAND               MI 48875‐1022
MAY, GERMAINE P      443 GRAPE ST                                                                             PORTLAND               MI 48875‐1022
MAY, GLADYS D        12103 LONGWOOD DR                                                                        PENSACOLA              FL 32507‐9040
MAY, GLENN R         1403 E ALWARD RD                                                                         DEWITT                 MI 48820‐8432
MAY, GREGORY         25679 FRIAR LN                                                                           SOUTHFIELD             MI 48033‐2771
MAY, HABIBA L        1403 E ALWARD RD                                                                         DEWITT                 MI 48820‐8432
MAY, HAROLD A        C/ DOLORES A MONAHAN                4566 VAN PEYMA RD                                    HAMBURG                NY 14075‐2513
MAY, HAROLD W        7320 PINEVILLE DRIVE                                                                     JACKSONVILLE           FL 32244‐4728
MAY, HATTIE B        17123 DOBSON AVE                                                                         SOUTH HOLLAND           IL 60473‐3533
MAY, HAZEL M         336 N MAIN APT 302                                                                       DAVISON                MI 48423‐1455
MAY, HAZEL M         336 N MAIN ST APT 302                                                                    DAVISON                MI 48423‐1456
MAY, HEATHER R       165 TREVOR LN                                                                            SPRINGBORO             OH 45066‐8304
MAY, HENRY C         7944 BRYCE RD                                                                            KENOCKEE               MI 48006‐3906
MAY, HENRY L         3456A GASCONADE ST                                                                       SAINT LOUIS            MO 63118‐4202
MAY, HERMAN          3055 DRYDEN RD                                                                           MORAINE                OH 45439‐1619
MAY, HOWARD L, SR    C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                               EDWARDSVILLE            IL 62025
                     ROWLAND PC
MAY, IAN A           500 JACOB WAY APT 203                                                                    ROCHESTER             MI   48307‐2279
MAY, ISEADOR         GUY WILLIAM S                       PO BOX 509                                           MCCOMB                MS   39649‐0509
MAY, J               GUY WILLIAM S                       PO BOX 509                                           MCCOMB                MS   39649‐0509
MAY, J C             PO BOX 28104                                                                             CLEVELAND             OH   44128‐0104
MAY, JACK            903 PARK AVE                                                                             ELYRIA                OH   44035‐6611
MAY, JACKIE L        8 FOXWOOD CT                                                                             BRICK                 NJ   08724
MAY, JACQUELINE A    6124 HAROLD ST                                                                           TAYLOR                MI   48180‐1175
MAY, JACQUELINE A    6124 HAROLD                                                                              TAYLOR                MI   48180‐1175
MAY, JAMES A         39316 ARMSTRONG LN                                                                       WESTLAND              MI   48185‐1346
MAY, JAMES A         7195 NICKLEPLATE RD                                                                      MUIR                  MI   48860‐9747
MAY, JAMES A         6304 YORKSHIRE NORTH RIDING RD                                                           FLINT                 MI   48532‐3235
MAY, JAMES ANTHONY   6304 YORKSHIRE NORTH RIDING RD                                                           FLINT                 MI   48532‐3235
MAY, JAMES B         3840 ISLAND PARK DR                                                                      WATERFORD             MI   48329
MAY, JAMES B         19 0LDWICK RD                                                                            WHITE HOUSE STATION   NJ   08889
MAY, JAMES C         52 S CALCITE DR                                                                          TUCSON                AZ   85745‐1709
MAY, JAMES C         4330 HATTRICK RD                                                                         ROOTSTOWN             OH   44272‐9770
MAY, JAMES EARL      MOTLEY RICE                         PO BOX 1792                                          MT PLEASANT           SC   29465‐1792
MAY, JAMES J         441 MOSER AVE APT D9                                                                     BULLHEAD CITY         AZ   86429‐5621
MAY, JAMES J         3960 E 75TH ST                                                                           INDIANAPOLIS          IN   46240‐3608
MAY, JAMES L         1409 EMBASSEY LN                                                                         FORD HEIGHTS          IL   60411‐3046
MAY, JAMES M         3200 CURTIS RD                                                                           BIRCH RUN             MI   48415‐9091
MAY, JAMES N         1841 CLEVELAND ST E                                                                      COOPERSVILLE          MI   49404‐9642
MAY, JAMES R         327 CEDAR ST                                                                             EMERALD ISLE          NC   28594‐2804
MAY, JAMES R         1945 WHITE LAKE RD                                                                       HIGHLAND              MI   48356‐1330
MAY, JAMES T         28985 GIFFORD AVENUE                                                                     MORENO VALLEY         CA   92555‐8242
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Name                Address1                          Address2                      Address3   Address4         City               State Zip
MAY, JAMES W        111 COUNTY ROAD 422                                                                         HILLSBORO           AL 35643‐4326
MAY, JAMES W        1230 S LAKES END DR APT A                                                                   FORT PIERCE         FL 34982‐5222
MAY, JANIS A        4725 CHARLIE MELTON RD                                                                      ALLONS              TN 38541‐6024
MAY, JASON P        838 SUSSEX DR                                                                               JANESVILLE          WI 53545‐1814
MAY, JAY D          2030 37TH ST                                                                                BEDFORD             IN 47421‐5604
MAY, JEANNE W       825 FRASHIER RD                                                                             CARROLLTON          GA 30116‐7434
MAY, JERALD D       4910 CURTIS LN                                                                              CLARKSTON           MI 48346‐2728
MAY, JEREMY S       5224 SABRA AVE                                                                              DAYTON              OH 45424
MAY, JEROME C       3000 CLEVELAND ST E                                                                         COOPERSVILLE        MI 49404‐9445
MAY, JERRY D        422 E COUNTY ROAD 800 N                                                                     SPRINGPORT          IN 47386‐9711
MAY, JIMMY L        2915 MERRIWEATHER ST NW                                                                     WARREN              OH 44485‐2512
MAY, JOANN          8275 SCATLER ROOT PL                                                                        HUBER HEIGHTS       OH 45424‐6509
MAY, JOANN L        8275 SCATLER ROOT PL                                                                        HUBER HEIGHTS       OH 45424‐6509
MAY, JOHN A         1850 LEXINGTON PKWY                                                                         INKSTER             MI 48141‐1512
MAY, JOHN B         2000 N VALLEY DR                                                                            MUNCIE              IN 47304‐9686
MAY, JOHN M         6361 CHERRY TREE CT                                                                         ROCHESTER HILLS     MI 48306‐3343
MAY, JOHN R         914 VILLAGE DR                                                                              DAVISON             MI 48423‐1052
MAY, JOHNNIE F      8581 108TH ST                                                                               NOBLE               OK 73068‐5700
MAY, JOHNNIE G      308 CLOVER ST                                                                               BRUCETON            TN 38317‐2818
MAY, JOHNNY E       561 NEBRASKA AVE                                                                            PONTIAC             MI 48341‐2546
MAY, JOSEPH H       2659 PINE TREE RD                                                                           HOLT                MI 48842‐9716
MAY, JOSEPH W       8615 10TH STREET NORTHEAST                                                                  SAINT MICHAEL       MN 55376‐9206
MAY, JOSEPHINE      3038 EASTLAND BLVD APT F103                                                                 CLEARWATER          FL 33761‐4120
MAY, JOSEPHINE B    2659 LEXINGTON AVE                                                                          WARREN              OH 44485‐4485
MAY, JOY            2864 HOLMAN ST                                                                              DAYTON              OH 45439‐1636
MAY, JOYCE A        11267 JUDY DR                                                                               STERLING HEIGHTS    MI 48313‐4918
MAY, JUDITH A       14170 EASTVIEW DR                                                                           FENTON              MI 48430‐1304
MAY, KAREN A        6361 CHERRY TREE CT                                                                         ROCHESTER HILLS     MI 48306‐3343
MAY, KAREN E.       940 GARLAND LN                                                                              LEONARD             MI 48367‐3046
MAY, KAROLINA       9260 BROCK RD                                                                               PLAIN CITY          OH 43064‐9331
MAY, KATHERINE G    1626 W 20TH ST                                                                              ANDERSON            IN 46016‐3816
MAY, KATHLEEN E     5011 KENILWORTH DR                                                                          BOSSIER CITY        LA 71112‐4540
MAY, KATHRYN A.     1530 N STATE RD                                                                             IONIA               MI 48846‐8518
MAY, KENNETH E      1514 NIGHTINGALE LN                                                                         KINGSLEY            MI 49649‐9273
MAY, KENNETH J      10639 HIGHLAND AVE                                                                          GARRETTSVILLE       OH 44231‐1104
MAY, KENNETH M      1860 NICHOLSON ST                                                                           SHREVEPORT          LA 71108‐3454
MAY, KENNETH R      PO BOX 235                                                                                  NIMITZ              WV 25978‐0235
MAY, KENNIE A       8772 SE TORCH LAKE DR                                                                       ALDEN               MI 49612‐9533
MAY, KERRI C        5224 SABRA AVE                                                                              HUBER HEIGHTS       OH 45424‐4363
MAY, KERRY E        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                      STREET, SUITE 600
MAY, KEVIN G        17172 MAJESTIC RIDGE CT                                                                     WEST OLIVE         MI   49460
MAY, KEVIN S        8048 MEADOWLANE DR                                                                          PORTLAND           MI   48875‐1910
MAY, L C            PO BOX 2456                                                                                 ANDERSON           IN   46018‐2456
MAY, LARRY A        9511 LONGMEADOW ST                                                                          FENTON             MI   48430‐8738
MAY, LARRY C        PO BOX 253                                                                                  TECUMSEH           MI   49286‐0253
MAY, LARRY D        RR 3 BOX 195                                                                                MC LEANSBORO       IL   62859‐9578
MAY, LARRY D        ROUTE 3 BOX 195                                                                             MACLEANSBORO       IL   62859
MAY, LARRY E        7957 SIGLER RD                                                                              S ROCKWOOD         MI   48179‐9518
MAY, LARRY EDWARD   7957 SIGLER RD                                                                              S ROCKWOOD         MI   48179‐9518
MAY, LAURA M        6050 OAK AVE                                                                                INDIANAPOLIS       IN   46219‐7310
MAY, LAURA M        6050 E OAK AVE                                                                              INDIANAPOLIS       IN   46219‐7310
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Name                Address1                          Address2                       Address3   Address4         City            State Zip
MAY, LAVENIA L      9651 MENDOTA ST                                                                              DETROIT          MI 48204‐4632
MAY, LAVENIA LYNN   9651 MENDOTA ST                                                                              DETROIT          MI 48204‐4632
MAY, LAWRENCE R     330 E WENTWORTH CIR                                                                          ENGLEWOOD        FL 34223‐3046
MAY, LAWRENCE V     439 SENECA AVE                                                                               ROCHESTER        NY 14621‐1403
MAY, LEE C          7866 MEADOW DR                                                                               WATERFORD        MI 48329‐4613
MAY, LEON           7728 E JEFFERSON AVE APT 303                                                                 DETROIT          MI 48214‐2540
MAY, LEON D         10099 CUTLER RD                                                                              PORTLAND         MI 48875‐9451
MAY, LETTISIA R     3358 VALLEY VIEW RD.                                                                         SHARPSVILLE      PA 16150‐6150
MAY, LEWIS D        5440 HARSHMANVILLE RD                                                                        DAYTON           OH 45424‐5804
MAY, LINDA S        5064 CLARUBY DR                                                                              MOUNT MORRIS     MI 48458‐9315
MAY, LINDEN         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510‐2212
                                                      STREET, SUITE 600
MAY, LINUS          901 S GEORGE WASHINGTON BLVD                                                                 WICHITA         KS 67211‐3901
MAY, LLOYD EUGENE   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA 23510‐2212
                                                      STREET, SUITE 600
MAY, LLOYD F        7350 S MOTE RD                                                                               WEST MILTON     OH   45383‐9723
MAY, LLOYD W        10623 RIMCREST DR                                                                            SAN ANTONIO     TX   78217‐2855
MAY, LONDON M       142 FULLER RD                                                                                WAVERLY         OH   45690‐9121
MAY, LORRAINE       1007 LINCOLN AVE NW                                                                          GRAND RAPIDS    MI   49504‐4113
MAY, LORRAINE       1007 LINCOLN N W                                                                             GRAND RAPIDS    MI   49504‐4113
MAY, LOUIS R        1600 E COUNTY ROAD 900 N                                                                     EATON           IN   47338‐9256
MAY, LOVELL J       1769 EASTBROOK DR S                                                                          COLUMBUS        OH   43223‐3705
MAY, LUCIUS R       25 RESERVE WAY                                                                               LAGRANGEVILLE   NY   12540‐5719
MAY, LUCY J         4620 GREENFIELD DR.                                                                          BAY CITY        MI   48706‐2710
MAY, LUELLA M       4441 MEIGS AVE                                                                               WATERFORD       MI   48329‐1816
MAY, LYDIA          2370 LAKES NORTH DR                                                                          INTERLOCHEN     MI   49643‐9785
MAY, LYNNE M        10535 WENN ROAD                                                                              BIRCH RUN       MI   48415‐9307
MAY, MARCUS L       2883 FARR RD                                                                                 FRUITPORT       MI   49415‐9610
MAY, MARCUS L       PO BOX 43                                                                                    MESICK          MI   49668‐0043
MAY, MARGARET       1045 WAGONER DR                                                                              WILMINGTON      DE   19805‐1066
MAY, MARION G       1674 HIGHWAY 81 W                                                                            MCDONOUGH       GA   30253‐6433
MAY, MARION G       1674 HWY 81 WEST                                                                             MCDONOUGH       GA   30253‐6433
MAY, MARLENE        1850 LEXINGTON PKWY                                                                          INKSTER         MI   48141‐1512
MAY, MARSHA         4725 ALDUN RIDGE NW               APT 102                                                    COMSTOCK PARK   MI   49321
MAY, MARSHA         4725 ALDUN RIDGE AVE NW APT 102                                                              COMSTOCK PARK   MI   49321‐9047
MAY, MARTIN R       4571 KAPP DR                                                                                 DAYTON          OH   45424‐5920
MAY, MARVIN         23610 COLUMBUS AVE                                                                           WARREN          MI   48089‐4436
MAY, MARVIN         BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD      OH   44067
                                                      PROFESSIONAL BLDG
MAY, MARVIN E       7204 E GRAND RIVER AVE LOT 25                                                                PORTLAND        MI   48875‐8760
MAY, MARY ANN F     359 GLEN MEADOW RD                                                                           RICHBORO        PA   18954‐1650
MAY, MARY E         128 RED OAK RD                                                                               ASHEVILLE       NC   28804‐2329
MAY, MARY H         4601 W WILDWOOD TRL               PO BOX 76                                                  CURRAN          MI   48728‐5111
MAY, MARY P         51 APPLE TREE CIRCLE                                                                         FISHERS         IN   46038‐1111
MAY, MARY T         8533 CHINKAPIN CIR                                                                           CICERO          NY   13039‐7856
MAY, MARY T         9387 STEEPHOLLOW DR                                                                          WHITE LAKE      MI   48386‐2075
MAY, MARY T         523 PEARL ST                                                                                 DEFIANCE        OH   43512‐1625
MAY, MATTIE A       116 TIMBER DR                                                                                MADISON         MS   39110‐4531
MAY, MATTIE ALLEN   116 TIMBER DRIVE                                                                             MADISON         MS   39110‐4531
MAY, MATTIE M       444 CHARLES AVE SE                                                                           GRAND RAPIDS    MI   49503‐5508
MAY, MAX            1403 N CANAL ST                                                                              ALEXANDRIA      IN   46001‐1003
MAY, MAX E          2620 PERSIMMON LOOP                                                                          THE VILLAGES    FL   32162‐2161
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Name                 Address1                        Address2                      Address3   Address4         City               State Zip
MAY, MELVIN A        1720 W NORMANDY ST                                                                        OLATHE              KS 66061‐3811
MAY, MICHAEL         1616 15TH ST                                                                              BEDFORD             IN 47421‐3604
MAY, MICHAEL F       PO BOX 1982                                                                               MUNCIE              IN 47308‐1982
MAY, MICHAEL L       3368 CHERRY HILL DR                                                                       FAIRFIELD           OH 45014‐5202
MAY, MICHAEL R       1044 N OAKLAND BLVD APT 9                                                                 WATERFORD           MI 48327‐1566
MAY, MICHELLE J      2569 RAMBLING WAY                                                                         BLOOMFIELD HILLS    MI 48302‐1039
MAY, MICHELLE M.     2412 SIMPSON AVE                                                                          VANCOUVER           WA 98660‐1334
MAY, MILDRED J       18039 GRAND LAKE BLVD           PO BOX 154                                                PRESQUE ISLE        MI 49777‐8661
MAY, MURIEL A        1704 HILLCURVE                  PO BOX 553                                                HASLETT             MI 48840‐8218
MAY, MURIEL A        PO BOX 553                                                                                HASLETT             MI 48840‐0553
MAY, MURIEL L        570 S MARKET ST                                                                           MARINE CITY         MI 48039‐1642
MAY, MYRTIS D        2865 LEE DR SE                                                                            BOGUE CHITTO        MS 39629‐9411
MAY, MYRTLE L        327 RUGBY RD                                                                              CROSSVILLE          TN 38558‐6358
MAY, NADINE          3801 CASTANO DR                                                                           TROTWOOD            OH 45416‐1109
MAY, NANCY L         7675 IMLAY CITY RD                                                                        KENOCKEE            MI 48006‐3604
MAY, NAOMI R         P O BOX 36                                                                                GOODRICH            MI 48438‐0036
MAY, NEIL R          3897 BARRINGTON DR                                                                        SAGINAW             MI 48603‐3089
MAY, NORMA L         2382 LOWER BELLBROOK ROAD                                                                 SPRING VALLEY       OH 45370‐5370
MAY, NORMAN H        282 NORWOOD DR                                                                            BUFFALO             NY 14224‐3151
MAY, NYLA B.         15020 NE. 35TH AVE RD.                                                                    CITRA               FL 32113‐4702
MAY, NYLA B.         15020 NE 35TH AVENUE RD                                                                   CITRA               FL 32113‐4702
MAY, OLLIE M         8551 STAWELL ST                                                                           DETROIT             MI 48204‐2725
MAY, OPAL L          110 N COOK RD                   C/O TERESA STANLEY                                        MUNCIE              IN 47303‐4507
MAY, ORLIE E         12335 GRAHAM DR                                                                           ORIENT              OH 43146‐9113
MAY, OSCAR K         2623 VILLAGE AVE                                                                          CHESAPEAKE          VA 23323‐1706
MAY, PATRICIA        288 NORMAN DR                                                                             HIGHLAND            MI 48357‐3688
MAY, PAUL T          PO BOX 42485                                                                              INDIANAPOLIS        IN 46242‐0485
MAY, PERCY A         8208 S WOLCOTT AVE                                                                        CHICAGO              IL 60620‐5332
MAY, PHILIP J        4195 MADISON DR                                                                           CUMMING             GA 30040‐5433
MAY, PHILLIP W       3404 GRIGGS AVE                                                                           FORT WORTH          TX 76119‐2012
MAY, PHYLLIS         1616 15TH ST                                                                              BEDFORD             IN 47421‐3604
MAY, PHYLLIS J       637 REYNOLDS RD                                                                           FOLKSTON            GA 31537‐8143
MAY, RALPH F         7939 E 100 S                                                                              PORTLAND            IN 47371‐9683
MAY, RANDY B         PO BOX 76                                                                                 CURRAN              MI 48728‐0076
MAY, RAYMOND A       2S070 IVY LN                                                                              LOMBARD              IL 60148‐5172
MAY, RAYMOND A       2 S 070 IVY LN                                                                            LOMBARDE             IL 60148‐5172
MAY, RAYMOND F       C/O PAUL REICH & MYERS P.C.     1608 WALNUT ST STE 500                                    PHILADELPHIA        PA 19103‐5446
MAY, RAYMOND R       1725 WHEATLAND AVE                                                                        DAYTON              OH 45429‐4834
MAY, RETA J          3206 W ALTO RD                                                                            KOKOMO              IN 46902‐4608
MAY, RHODA F         439 SENECA AVE                                                                            ROCHESTER           NY 14621‐1403
MAY, RICHARD D       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                     STREET, SUITE 600
MAY, RICHARD E       1402 CENTER AVE                                                                           BAY CITY           MI   48708‐6110
MAY, RICHARD J       51 REDBIRD DR                                                                             CADIZ              KY   42211
MAY, RICHARD J       2264 E KITCHEN RD                                                                         PINCONNING         MI   48650‐9755
MAY, RICHARD JAMES   2264 E KITCHEN RD                                                                         PINCONNING         MI   48650‐9755
MAY, RICHARD L       8582 N CLINTON TRL                                                                        MULLIKEN           MI   48861‐9744
MAY, RICKY A         PO BOX 443                                                                                LEXINGTON          OK   73051‐0443
MAY, RICKY JOE       801 TUTTLE RD                                                                             UNION CITY         MI   49094
MAY, RITA M          10 AUTUMN CREEK LN APT D                                                                  EAST AMHERST       NY   14051‐2904
MAY, ROBERT          ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                       NEW YORK           NY   10006‐1638
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Name                  Address1                           Address2                       Address3   Address4         City                 State Zip
MAY, ROBERT A         APT A                              201 W DAYTON YELLOW SPRINGS RD                             FAIRBORN              OH 45324‐3299

MAY, ROBERT C         31176 GOLDEN OAK DR                                                                           CHESTERFIELD         MI   48047‐4695
MAY, ROBERT D         8400 LAKE RD                                                                                  MONTROSE             MI   48457‐9718
MAY, ROBERT J         75 ROCKY BROOK WAY                                                                            WAKEFIELD            RI   02879‐8120
MAY, ROBERT K         6623 CHIPMUNK CT                                                                              NINEVEH              IN   46164‐9411
MAY, ROBERT M         10222 LUCERNE DR                                                                              REED CITY            MI   49677‐8315
MAY, ROBERT S         835 S BIRCH CIR                                                                               BOYNE FALLS          MI   49713‐9216
MAY, ROGER D          RR 4 BOX 4315                                                                                 ALTON                MO   65606‐9667
MAY, RONALD D         1330 ROBINHOOD DR                                                                             W CARROLLTON         OH   45449‐2328
MAY, RONALD F         4679 CLAUDIA DR                                                                               WATERFORD            MI   48328‐1101
MAY, RONALD J         2844 E GLENN ST                                                                               TOLEDO               OH   43613‐1139
MAY, RONNIE E         7944 BRYCE RD                                                                                 KENOCKEE             MI   48006‐3906
MAY, ROSEMARY         5751 KINGS ARMS RD                                                                            WATERFORD            MI   48327‐3043
MAY, ROY G            28266 TAPERT DR                                                                               SOUTHFIELD           MI   48076‐5467
MAY, ROY GREGORY      28266 TAPERT DR                                                                               SOUTHFIELD           MI   48076‐5467
MAY, RUBY RUTH        1626 W 20TH ST                                                                                ANDERSON             IN   46016‐3816
MAY, RUSSELL          EARLY LUDWICK & SWEENEY L.L.C.     ONE CENTURY TOWER, 11TH FLOOR,                             NEW HAVEN            CT   06508
                                                         265 CHURCH STREET
MAY, RUSSELL F        4931 JONES RD                                                                                 SAINT CLOUD          FL 34771
MAY, SAMMIE L         1411 S 17TH AVE                                                                               MAYWOOD              IL 60153‐1856
MAY, SAMUEL MILTON    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510‐2212
                                                         STREET, SUITE 600
MAY, SARAH            15 COMMON ST                                                                                  MOBILE               AL   36604‐2543
MAY, SHARAN D         2450 W PECOS RD APT 3053W                                                                     CHANDLER             AZ   85224
MAY, SHIRLEY          GUY WILLIAM S                      PO BOX 509                                                 MCCOMB               MS   39649‐0509
MAY, STEPHEN DUNLAP   WEITZ & LUXENBERG                  180 MAIDEN LANE                                            NEW YORK             NY   10038
MAY, SUSAN J          4105 BELFORD RD                                                                               HOLLY                MI   48442‐9478
MAY, SUSAN K          321 OXFORD RD                                                                                 LEXINGTON            OH   44904‐1047
MAY, SUSAN KATHLEEN   321 OXFORD RD                                                                                 LEXINGTON            OH   44904‐1047
MAY, SYTORIA          10630 W OUTER DR                                                                              DETROIT              MI   48223‐2121
MAY, TERESSIE B       1578 MCALPINE DR                                                                              MOUNT MORRIS         MI   48458‐2310
MAY, TERRY L          1351 KIMBALL RD                                                                               LYONS                MI   48851‐9786
MAY, TERRY L          1740 PAT RD                                                                                   NEWPORT              TN   37821‐7004
MAY, TERRY M          35047 HARROUN ST                                                                              WAYNE                MI   48184‐2322
MAY, THEA D           35109 HIGHWAY 79 SPC 163                                                                      WARNER SPRINGS       CA   92086‐9706
MAY, THEA D           35109 HWY 79 SP 163                                                                           WARNER HOT SPRINGS   CA   92086‐9706
MAY, THELMA I         830 HUNT ST                                                                                   LYONS                MI   48851‐9620
MAY, THOMAS A         APT 102                            4725 ALDUN RIDGE AVE                                       COMSTOCK PARK        MI   49321‐9047
                                                         NORTHWEST
MAY, THOMAS A         13357 WARD ST                                                                                 SOUTHGATE            MI   48195‐1062
MAY, THOMAS C         PO BOX 16157                                                                                  BALTIMORE            MD   21218‐0357
MAY, THOMAS E         4406 GERARD CT                                                                                FLINT                MI   48507‐3510
MAY, THOMAS E         19585 OLYMPIA                                                                                 REDFORD              MI   48240‐1333
MAY, THOMAS EARL      19585 OLYMPIA                                                                                 REDFORD              MI   48240‐1333
MAY, THOMAS ERVIN     4406 GERARD CT                                                                                FLINT                MI   48507‐3510
MAY, THOMAS G         3160 CURTIS RD                                                                                BIRCH RUN            MI   48415‐9021
MAY, THOMAS G         8606 WEAVER RD                                                                                CICERO               NY   13039‐8830
MAY, THOMAS J         8237 E HIGHLAND AVE                                                                           SCOTTSDALE           AZ   85251‐1730
MAY, THOMAS W         3655 PLEASANT HILL DR SE                                                                      BOGUE CHITTO         MS   39629‐3102
MAY, THYRA            #A                                 7837 4TH AVENUE NORTH                                      BIRMINGHAM           AL   35206‐3708
MAY, TIMOTHY D        3680 MARTIN RD                                                                                SMITHVILLE           MO   64089‐8532
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Name                      Address1                            Address2                          Address3    Address4                City               State Zip
MAY, ULYSSES L            1810 SOUTHPOINTE CIR NE                                                                                   CANTON              OH 44714‐1184
MAY, VERONICA             CONSUMER LEGAL SERVICES             33159 FORD RD                                                         GARDEN CITY         MI 48135‐1153
MAY, VICKY L              10032 KENOWA AVE NW                                                                                       SPARTA              MI 49345‐9711
MAY, VICTOIA              PO BOX 512                                                                                                SUNNYSIDE           GA 30284‐0512
MAY, VINNIE L             1829 FLEMING STREET                                                                                       POMONA CITY         CA 91766‐1028
MAY, VINSON L             15322 PREST ST                      PO BOX 27690                                                          DETROIT             MI 48227‐2321
MAY, VIRGINIA
MAY, W J
MAY, WALTER               CLIMACO LEFKOWITZ PECA WILCOX &     1228 EUCLID AVE, HALLE BLDG 9TH                                       CLEVELAND          OH 44115
                          GAROFOLI                            FL
MAY, WALTER R             912 CHERRY LAUREL LN                                                                                      ARLINGTON          TX   76012‐4423
MAY, WARREN A             25122 DONCEA DR                                                                                           WARREN             MI   48091‐1313
MAY, WAYMOUTH E           945 ROSEWOOD DR                                                                                           ELYRIA             OH   44035‐1821
MAY, WAYNE D              1410 WALDMAN AVE                                                                                          FLINT              MI   48507‐1551
MAY, WILLIAM
MAY, WILLIAM C            11463 LUCKY DAN DR                                                                                        NOBLESVILLE        IN   46060‐4775
MAY, WILLIAM C            13870 ADOBE WALLS COURT                                                                                   HELOTES            TX   78023‐5119
MAY, WILLIAM CODY         11463 LUCKY DAN DR                                                                                        NOBLESVILLE        IN   46060‐4775
MAY, WILLIAM COREY        ROSNER LAW & MANSFIELD              10085 CARROLL CANYON ROAD                                             SAN DIEGO          CA   92131
MAY, WILLIAM E            GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                          SAGINAW            MI   48604‐2602
                                                              260
MAY, WILLIAM J            4620 GREENFIELD DR                                                                                        BAY CITY           MI   48706‐2710
MAY, WILLIAM L            PO BOX 9022                         BILL MAY C/O GM KOREA                                                 WARREN             MI   48090‐9022
MAY, WILLIAM O            51 APPLE TREE CIR                                                                                         FISHERS            IN   46038‐1111
MAY, WILLIAM R            PO BOX 378652                                                                                             KEY LARGO          FL   33037‐8652
MAY, WILLIAM ROGER        9211 HALF ACRE DR                                                                                         WHITE LAKE         MI   48386‐3325
MAY, WILLIE F             11838 WILSHIRE DR                                                                                         DETROIT            MI   48213‐1697
MAY, WINFORD              10301 ESTWOOD DR                    PO BOX 401                                                            SAINT HELEN        MI   48656‐9401
MAY, WINFORD              PO BOX 401                                                                                                SAINT HELEN        MI   48656‐0401
MAY, WINFRED E            11474 PRYOR RD                                                                                            PORTLAND           MI   48875‐9415
MAY, WOODROW              GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                          SAGINAW            MI   48604‐2602
                                                              260
MAY, WOODROW W            1519 FALKLAND ROAD EAST                                                                                   JACKSONVILLE       FL   32221‐2813
MAY, ZELMAR L             3766 WALTMAR DR                                                                                           BRIDGEPORT         MI   48722‐9603
MAY,HEATHER R             165 TREVOR LN                                                                                             SPRINGBORO         OH   45066‐8304
MAY‐ENIX, PAT L           24 OVERLOOK ST                                                                                            ENGLEWOOD          OH   45322‐1411
MAY‐FAY KAO               1048 ILLINOIS RD                                                                                          WILMETTE           IL   60091‐1308
MAY‐HENTGEN, PAMELA E     805 MICHIGAN AVE                                                                                          SOUTH MILWAUKEE    WI   53172‐2646
MAYA                      26 PETRIASHVILI STREET                                                            TBILISI GEORGIA         TBILISI
MAYA COLE                 17565 BIRCHCREST DR                                                                                       DETROIT            MI 48221‐2734
MAYA DONNETT
MAYA EUSEBIO R (481892)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA 23510
                                                              STREET, SUITE 600
MAYA GAGE CO              20770 PARKER ST                                                                                           FARMINGTON HILLS   MI 48336‐5150
MAYA GANTT                C/O MARTIN E. JACOBS, INC.          3415 SO. SEPULVEDA BOULEVARD      SUITE 320                           LOS ANGELES        CA 90034

MAYA JR., FRANK           11359 COUNTY ROAD D LOT A                                                                                 BRYAN              OH   43506‐7805
MAYA L CARTER             2479 COUNTRY CLUB RD # 200 H                                                                              SPARTNBURG         SC   29302
MAYA PENNY                609 CENTRAL AVE                                                                                           GREENVILLE         OH   45331‐1201
MAYA, ALBERTO L           3006 WINTERSMITH DR                                                                                       ARLINGTON          TX   76014
MAYA, ALBERTO L           2440 SILVERADO TRL                                                                                        GRAND PRAIRIE      TX   75052‐8622
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Name                            Address1                          Address2                      Address3   Address4         City              State Zip
MAYA, EUSEBIO R                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                  STREET, SUITE 600
MAYA, HARRY J                   615 N BLACKCONERS                                                                           IMLAY CITY        MI    48444
MAYA, JOE M                     5242 KINGSLEY ST                                                                            MONTCLAIR         CA    91763‐3857
MAYA, KAREN R                   4675 SPRING DR                                                                              RENO              NV    89502‐6401
MAYA, LAWRENCE J                PO BOX 1634                                                                                 BROOMFIELD        CO    80038‐1634
MAYA, LAWRENCE JOSEPH           PO BOX 1634                                                                                 BROOMFIELD        CO    80038‐1634
MAYABB, DONIVON R               7777 SINGER RD                                                                              DAYTON            OH    45424‐1663
MAYABB, EDWARD J                10551 OLD DAYTON RD                                                                         NEW LEBANON       OH    45345‐9685
MAYABB, JAMES M                 603 N ARMSTRONG ST                                                                          PLEASANT HILL     MO    64080‐1367
MAYABB, KENNETH R               646 FERN AVE                                                                                TIPP CITY         OH    45371‐1268
MAYABB, SANDRA L                10551 OLD DAYTON RD                                                                         NEW LEBANON       OH    45345‐9685
MAYACK, PAULINE L               837 BALSAM DR                                                                               HASTINGS          MI    49058‐9037
MAYAGOITIA, ERNESTINE L         166 STARLET WAY                                                                             BRENTWOOD         CA    94513‐6007
MAYAILEEN LANE                  11 RUCHTON DR                                                                               MOUNT VERNON       IL   62864‐3520
MAYALL, JOHN E                  8519 CROSSWINDS DR                                                                          SAINT AUGUSTINE   FL    32092‐1505
MAYAN BIG THREE TRANSPORT INC   PO BOX 5360                                                                                 PLYMOUTH          MI    48170‐5360
MAYAN, JEANNE M                 602 MELZE PO BOX 524                                                                        MERRILL           MI    48637‐0524
MAYAN, JEANNE M                 PO BOX 524                        602 MELZE                                                 MERRILL           MI    48637‐0524
MAYANG, RAHIM                   6784 EIDENBOROUGH DR                                                                        WEST BLOOMFIELD   MI    48322
MAYANG, RENATA B                6784 EDINBOROUGH                                                                            WEST BLOOMFIELD   MI    48322‐3865
MAYANS, CAROLINA A              602 ZAFFKE ST                                                                               FORT ATKINSON     WI    53538‐1352
MAYBACH, ALAN C                 71 SOUTHPOINT DR                                                                            LANCASTER         NY    14086‐3333
MAYBACH, GERARD B               7127 LAKE RD                                                                                APPLETON          NY    14008‐9611
MAYBANK JACK                    56 MEETING ST                                                                               CHARLESTON        SC    29401‐2563
MAYBANK, DONALD A               2569 MARIUS ST                                                                              LEWISTON          MI    49756‐8883
MAYBEE, DELBERT M               G3213 BENMARK                     C/O VERNON LIKE                                           FLINT             MI    48506
MAYBEE, DOUGLAS R               11858 KELTS RD                                                                              HUBBARDSTON       MI    48845‐9213
MAYBEE, FLORENCE K              G3213 BENMARK                                                                               FLINT             MI    48506
MAYBEE, GARY L                  7484 KIMBALL RD.                                                                            LYONS             MI    48851
MAYBEE, GILBERT W               9930 SAILVIEW CT APT 14                                                                     FORT MYERS        FL    33905‐5342
MAYBEE, JESSE R                 7131 DRAKE STATELINE RD                                                                     BURGHILL          OH    44404‐9716
MAYBEE, KENNETH L               8710 NW BROSTROM RD                                                                         PARKVILLE         MO    64152‐2710
MAYBEE, KENNETH L               802 S 24TH ST                                                                               SAINT JOSEPH      MO    64507‐1516
MAYBEE, LEONARD L               6561 E GALWAY CIR                                                                           DIMONDALE         MI    48821‐9424
MAYBEE, LEWIS M                 6955 HUBBARD CIR                                                                            CLARKSTON         MI    48348‐2878
MAYBEE, LINDA K                 494 S EDGEHILL AVE                                                                          AUSTINTOWN        OH    44515‐3401
MAYBEE, LINDA LOU               11858 KELTS RD                                                                              HUBBARDSTON       MI    48845‐9213
MAYBEE, NANCY S                 1602 DIFFORD DRIVE                                                                          NILES             OH    44446‐2845
MAYBEE, PHILLIP L               100 SUMAC DR                                                                                ORTONVILLE        MI    48462‐9281
MAYBEE, SHIRLEY ANNE            4709 PALMER                                                                                 LANSING           MI    48910‐6228
MAYBEE, SHIRLEY ANNE            4709 PALMER ST                                                                              LANSING           MI    48910‐6228
MAYBELINE WATSON                PO BOX 430371                                                                               PONTIAC           MI    48343‐0371
MAYBELL FLETCHER                321 KNOLLWOOD LN                                                                            WOODSTOCK         GA    30188‐4579
MAYBELL MORGAN                  2001 PARK AVE                                                                               BENTON            KY    42025‐1740
MAYBELL WONSEY                  SPC 107                           350 SOUTH WILLOW AVENUE                                   RIALTO            CA    92376‐2000
MAYBELL, TRINA                  17309 BURR OAK LN                                                                           HAZEL CREST       IL    60429‐1607
MAYBELLE BRITTON                4664 E 175TH ST                                                                             CLEVELAND         OH    44128‐3930
MAYBELLE EVANS                  213 SOUTHLEA DR                                                                             KOKOMO            IN    46902‐3641
MAYBELLE FOWLER                 5121 PLEASANTGLEN WAY                                                                       ELK GROVE         CA    95758‐5602
MAYBELLE FURTAW                 2410 RODD ST                                                                                MIDLAND           MI    48640‐5474
MAYBELLE GANNON                 6121 DUFFIELD RD                                                                            FLUSHING          MI    48433‐9264
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Name                          Address1                         Address2               Address3      Address4         City            State Zip
MAYBELLE HARSHEY              758 CARRIAGE HILL LN                                                                   SUGAR GROVE       IL 60554‐9626
MAYBELLE LEDUC                1105 BLUFF ST                                                                          BELOIT           WI 53511‐4355
MAYBELLE MIKULSKI             40 BEALE AVE                                                                           CHEEKTOWAGA      NY 14225‐2009
MAYBELLE RAY                  2477 RAY RD                                                                            FENTON           MI 48430‐9761
MAYBELLE STREITFERDT          2613 NILES CORTLAND RD NE                                                              CORTLAND         OH 44410‐1727
MAYBELLE VINCENT              4869 SIMPSON RD                                                                        OWOSSO           MI 48867‐9379
MAYBELLE WILSON               7206 RIVERVIEW DR                                                                      FLINT            MI 48532‐2275
MAYBERGER, DORIS              8215 COUNTY ROAD EE              C/O JAMES MAYBERGER                                   LIBERTY          MO 64068‐8002
MAYBERRY III, BILLIE          308 OVERLOOK PL                                                                        COLUMBIA         TN 38401‐4900
MAYBERRY JR, HOMER L          4921 ENNISMORE DR                                                                      CLARKSTON        MI 48346‐3624
MAYBERRY SR, BERNAIRD         54 NORTHGATE DR                                                                        MONROE           LA 71201‐2215
MAYBERRY WILLIAM J (659083)   ANGELOS PETER G LAW OFFICES      60 WEST BROAD ST                                      BETHLEHEM        PA 18018
MAYBERRY'S                    2288 TINDELL LN                                                                        COLUMBIA         TN 38401‐7133
MAYBERRY, ALTA M              3248 SOUTH IRISH ROAD                                                                  DAVISON          MI 48423‐2436
MAYBERRY, ANNA                1266 RINN ST                                                                           BURTON           MI 48509‐2372
MAYBERRY, BRENDA G            15620 MAYBERRY DR                                                                      ATHENS           AL 35613
MAYBERRY, BRUCE A             480 BIG ELK CHAPEL RD                                                                  ELKTON           MD 21921‐2504
MAYBERRY, CAMERON L           652 DWIGHT LN                                                                          SEVIERVILLE      TN 37876‐1560
MAYBERRY, DONALD E            407 DICE ST                                                                            HOOPESTON         IL 60942‐1924
MAYBERRY, DONALD H            9319 WASHBURN RD                                                                       COLUMBIAVILLE    MI 48421‐8821
MAYBERRY, DONALD J
MAYBERRY, ELDEEN              4097 W EUCLID ST                                                                       DETROIT         MI   48204‐2440
MAYBERRY, ERIC L              9480 SASHABAW RD                                                                       CLARKSTON       MI   48348‐2026
MAYBERRY, EVELYN A            1424 LEVONA ST                                                                         YPSILANTI       MI   48198‐6440
MAYBERRY, GLORIA J            2162 FOX HILL DR APT 6                                                                 GRAND BLANC     MI   48439‐5211
MAYBERRY, HILDA               129 WELDIN PARK DR                                                                     WILMINGTON      DE   19803‐4713
MAYBERRY, HOMER L             8665 FLETCHER TRL                                                                      HILLMAN         MI   49746‐8606
MAYBERRY, IOTA                6770 E FORT KING ST                                                                    OCALA           FL   34470‐1884
MAYBERRY, J L                 6052 DAVID BERGER ST                                                                   MOUNT MORRIS    MI   48458‐2708
MAYBERRY, J LEE               6052 DAVID BERGER ST                                                                   MOUNT MORRIS    MI   48458‐2708
MAYBERRY, JACQUELYN
MAYBERRY, JAMES               1870 HOLLOW CREEK DR SOUTHEAST                                                         CALEDONIA       MI   49316‐7804
MAYBERRY, JOAN C              PO BOX 1533                                                                            EAST LANSING    MI   48826‐1533
MAYBERRY, JOANNE              296118 PENDLETON CLUB DR                                                               FARMINGTON      MI   48336‐1358
MAYBERRY, JOSEPH D            2115 WINTERS DR                                                                        LOVES PARK      IL   61111‐3259
MAYBERRY, KATHLEEN E          13401 GALLERIA CIR APT 126                                                             AUSTIN          TX   78738
MAYBERRY, MARCIA D            308 OVERLOOK PL                                                                        COLUMBIA        TN   38401‐4900
MAYBERRY, MARCIA K            2115 WINTERS DR                                                                        LOVES PARK      IL   61111‐3259
MAYBERRY, MARIE               PO BOX 65                                                                              SWAYZEE         IN   46986‐0065
MAYBERRY, MARIE               P.O. BOX 65                                                                            SWAYZEE         IN   46986‐0065
MAYBERRY, MARY E              4207 SLATTERY RD                                                                       NORTH BRANCH    MI   48461‐8941
MAYBERRY, MARY E              7349 ULMERTON RD LOT 1377                                                              LARGO           FL   33771‐4859
MAYBERRY, MICHAEL D           15710 SORRENTO ST                                                                      DETROIT         MI   48227‐4028
MAYBERRY, PAMELA M            11627 OTSEGO ST                                                                        DETROIT         MI   48204
MAYBERRY, RANDALL G           PMB 140                          800 BELLE TERRE PKWY   STE 200                        PALM COAST      FL   32164‐2316
MAYBERRY, REBA C              4763 CUMBY RD                                                                          COOKEVILLE      TN   38501‐7853
MAYBERRY, RICHARD G           918 ANGELICA ST                                                                        BOWLING GREEN   KY   42104‐5502
MAYBERRY, RICHARD GROVER      918 ANGELICA ST                                                                        BOWLING GREEN   KY   42104‐5502
MAYBERRY, ROBERT A            2871 HILLTOP DRIVE                                                                     MANCHESTER      MD   21102‐1803
MAYBERRY, RONNIE L            6700 SPENCER DR                                                                        ARLINGTON       TX   76002‐5545
MAYBERRY, RUTH V              103 N 54TH ST                                                                          OMAHA           NE   68132‐2810
MAYBERRY, SHIRLEY A           17221 GREENWOOD                                                                        SOUTH HOLLAND   IL   60473
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Name                            Address1                         Address2                    Address3   Address4                 City               State Zip
MAYBERRY, STEPHANIE K           7215 E WALNUT GROVE RD                                                                           TROY                OH 45373
MAYBERRY, THOMAS W              1315 FAIRWAY #7                                                                                  MACEDON             NY 14502
MAYBERRY, WANDA                 SHANNON LAW FIRM                 100 W GALLATIN ST                                               HAZLEHURST          MS 39083‐3007
MAYBERRY, WILBURN E             612 BEVERLY AVE                                                                                  HOHENWALD           TN 38462‐1052
MAYBERRY, WILLA D               1304 WILLOW GROVE HWY                                                                            MONROE              TN 38573‐5316
MAYBERRY, WILLIAM J             ANGELOS PETER G LAW OFFICES      60 WEST BROAD ST                                                BETHLEHEM           PA 18018‐5737
MAYBIN, ANITA                   362 BEAUMONT AVE                                                                                 BALTIMORE           MD 21228‐3012
MAYBIN, ANITA                   362 N BEAUMONT AVE                                                                               BALTIMORE           MD 21228‐3012
MAYBRIER, JOHN                  MAYEUX DONALD L                  PO BOX 1460                                                     EUNICE              LA 70535‐1460
MAYBURY, ERICK R                130 TRAILING OAKS DR                                                                             DOUBLE OAK          TX 75077‐8472
MAYBURY, WILLIAM F              130 TRAILING OAKS DR                                                                             DOUBLE OAK          TX 75077‐8472
MAYCE EALEY                     248 NEWBURGH AVE                                                                                 BUFFALO             NY 14215‐3960
MAYCE WEBBER JR                 22701 DRAKE RD                                                                                   FARMINGTON HILLS    MI 48335‐3916
MAYCO FREIGHT, LLC              PAUL BJORKLUND                   PO BOX 133                                                      GRAND BLANC         MI 48480‐0133
MAYCO PLASTICS                  42400 MERRILL RD                                                                                 STERLING HEIGHTS    MI 48314‐3238
MAYCO PLASTICS/MI               42400 MERRILL RD                                                                                 STERLING HTS        MI 48314‐3238
MAYCOCK, RICHARD H              670 MILTON DR                                                                                    MCDONOUGH           GA 30252‐2896
MAYCOCK, RUSSELL J              4947 LUCINDA DR                                                                                  PRESCOTT            MI 48756‐9647
MAYCUMBER, SUSAN M              312 KNOLL FOREST DR                                                                              LEAGUE CITY         TX 77573‐5766
MAYDAK RICHARD J (493048)       PAUL REICH & MYERS P.C.          1608 WALNUT ST STE 500                                          PHILADELPHIA        PA 19103‐5446
MAYDAK, RICHARD J               PAUL REICH & MYERS P.C.          1608 WALNUT ST STE 500                                          PHILADELPHIA        PA 19103‐5446
MAYDELL WISE                    3135 PONTIAC TRL                                                                                 ANN ARBOR           MI 48105
MAYDEN TIFFANY                  6032 REMBERT DR                                                                                  HANAHAN             SC 29410‐2344
MAYDENE BUCKLAND                1215 GARY BLVD                                                                                   BRUNSWICK           OH 44212‐2911
MAYDENE M & WILLIAM J PRATHER   15501 COUNTY RD 4191                                                                             LINDALE             TX 75771‐7751
MAYDENE M PRATHER               15501 COUNTY ROAD 4191                                                                           LINDALE             TX 75771‐7751
MAYDIE MANAGEMENT GMBH          LAERCHENSTRASSE 7                                                       WELS AT 4600 AUSTRALIA   WELS                AT 4600
MAYDWELL, CATHY J               3314 ARGYLE DR                                                                                   FORT WAYNE          IN 46806‐2667
MAYDWELL, LEONARD J             3314 ARGYLE DR                                                                                   FORT WAYNE          IN 46806‐2667
MAYE MICHAEL J (462235)         WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                 NEW YORK            NY 10038
MAYE, CLARENCE H                700 TROMLEY ST                                                                                   INKSTER             MI 48141‐1272
MAYE, ELIZABETH M               2583 CATERHAM DR                                                                                 WATERFORD           MI 48329‐2610
MAYE, JAMES                     PORTER & MALOUF PA               4670 MCWILLIE DR                                                JACKSON             MS 39206‐5621
MAYE, JAMES E                   1280 WOODLAND DR                                                                                 INKSTER             MI 48141‐1742
MAYE, JOHN B                    2583 CATERHAM DR                                                                                 WATERFORD           MI 48329‐2610
MAYE, KAYE                      2109 CRESTLINE DRIVE                                                                             DUNCAN              OK 73533
MAYE, LEETONIA L                220 EAST MAPLEWOOD AVENUE                                                                        DAYTON              OH 45405‐2838
MAYE, LORETTA                   P.O. BOX 81                                                                                      NIAGARA FALLS       NY 14305
MAYE, MICHAEL J                 WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                 NEW YORK            NY 10038
MAYE, ROBERT A                  5200 RAAP RD                                                                                     BRUCE TWP           MI 48065‐3536
MAYE, SANDRA J                  1280 WOODLAND DR                                                                                 INKSTER             MI 48141‐1742
MAYEAUX, RUSTY                  LOT 37 PLANTATION VILLAGE                                                                        NEW IVERIA          LA 70560
MAYEDA, SUZANNE                 95 GRINDING ROCK RD                                                                              PARADISE            CA 95969‐6163
MAYEN CARLOS                    MAYEN, CARLOS                    560 S FERNWOOD ST                                               WEST COVINA         CA 91791
MAYEN, CARLOS                   560 S FERNWOOD ST                                                                                WEST COVINA         CA 91791
MAYER                           5701 MAPLE AVE STE 100                                                                           DALLAS              TX 75235‐6596
MAYER BOB                       30100 MOUND ROAD 14338884        MAIL CODE 480‐113‐P30                                           WARREN              MI 48092
MAYER BROWN                     350 SOUTH GRAND AVE 25TH FLOOR                                                                   LOS ANGELES         CA 90071
MAYER BROWN                     1909 K STREET N.W.                                                                               WASHINGTON          DC 20006
MAYER BROWN LLP                 230 SOUTH LASALLE STREET                                                                         CHICAGO              IL 60604
MAYER BROWN LLP                 STE 400                          230 SOUTH LA SALLE STREET                                       CHICAGO              IL 60604‐1407
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Name                                 Address1                          Address2                      Address3   Address4         City               State Zip
MAYER BROWN LLP                      ATTN: JEAN‐MARIE L. ATAMIAN AND   1675 BROADWAY                                             NEW YORK            NY 10019‐5820
                                     FREDERICK D. HYMAN
MAYER BROWN ROWE & MAW               1909 K ST NW                                                                                WASHINGTON         DC   20006
MAYER BROWN ROWE & MAW LLP           2027 COLLECTION CENTER DR                                                                   CHICAGO            IL   60693‐0020
MAYER BROWN ROWE & MAW LLP           230 SOUTH LASALLE ST                                                                        CHICAGO            IL   60604
MAYER CHARLES L SR (405410)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                       STREET, SUITE 600
MAYER DEANA                          MAYER, DEANA                      611 WEST COURT STREET                                     FLINT              MI   48503
MAYER EDUCATIONAL PRODUCTS           41079 CONCEPT DR                                                                            PLYMOUTH           MI   48170‐4252
MAYER ELECTRIC SUPPLY COMPANY        LARRY PARRISH                     3405 4TH AVE S                                            BIRMINGHAM         AL   35222‐2305
MAYER GERALD                         1230 N CHIPMAN ST                                                                           OWOSSO             MI   48867‐4903
MAYER HERBERT                        422 MAYFAIR DR                                                                              VENICE             FL   34293
MAYER III, FRANK J                   423 DALEBROOK LN                                                                            BLOOMFIELD HILLS   MI   48301‐3313
MAYER JOAN                           432 VILLAGE VIEW LN                                                                         LONGWOOD           FL   32779‐2610
MAYER JR, CLARENCE A                 751 TAMARAK AVE                                                                             TIPP CITY          OH   45371‐1155
MAYER JR, PAUL C                     2219 W CREEK RD                                                                             BURT               NY   14028‐9724
MAYER JR, PHILLIP L                  6218 VANCE AVE                                                                              FORT WAYNE         IN   46815‐6262
MAYER JR, ROLLIE L                   110 FROGTOWN ESTATES CT                                                                     LIVINGSTON         TN   38570‐8464
MAYER JR, WILLIAM J                  5303 IVAN DR APT 327                                                                        LANSING            MI   48917‐3375
MAYER JR., DONALD R                  3964 ALEESA DR SE                                                                           WARREN             OH   44484‐2912
MAYER MANFRED (ESTATE OF) (514365)   GOODMAN MEAGHER & ENOCH           111 N CHARLES ST STE 7                                    BALTIMORE          MD   21201‐3803

MAYER WILLIAM V (467021)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                       STREET, SUITE 600
MAYER, ALAN L                        8623 WARNER DR SE                                                                           SALEM              OR   97317‐9046
MAYER, ANDREW P                      6 GRAYTWIG CT W                                                                             HOMOSASSA          FL   34446‐4734
MAYER, ANNA                          258 MORRIS AVE                                                                              TRENTON            NJ   08611‐1130
MAYER, ANTHONY D                     75 HAROLD ST                                                                                FRANKLIN           OH   45005‐1718
MAYER, ARMIN                         20676 LAUREL DR                                                                             LOS GATOS          CA   95033
MAYER, ARTHUR G                      18676 HUNT RD                                                                               STRONGSVILLE       OH   44136‐8408
MAYER, BARBARA                       1195 SHERWOOD DR                                                                            DANVILLE           IN   46122‐1485
MAYER, BARBARA A                     1613 COUNTRYSIDE DR                                                                         DAYTON             OH   45432‐2107
MAYER, BARBARA JEAN                  89 LINDA LN                                                                                 HAMILTON           OH   45011‐4726
MAYER, BETTY J                       1992 E HIBBARD RD                                                                           OWOSSO             MI   48867‐9790
MAYER, BETTY J                       5604 MILLBROOK DR                                                                           WILLIAMSBURG       MI   49690‐9629
MAYER, BRIAN                         305 BRAVEHEART DR                                                                           FRANKLIN           TN   37064‐6139
MAYER, CHARLES L                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                       STREET, SUITE 600
MAYER, CHRISTINE A                   APT 4401                          5001 SOUTHWEST 20TH STREET                                OCALA              FL   34474‐8532
MAYER, CHRISTINE A                   5001 SW 20TH ST                   APT 4401                                                  OCALA              FL   34474‐8532
MAYER, CLARENCE                      6278 VANDEMARK RD                                                                           MEDINA             OH   44256‐9109
MAYER, CONCETTA M                    102 CRIMSON WOODS COURT                                                                     ROCHESTER          NY   14626‐4626
MAYER, CORY J                        1402 N CLINTON ST                                                                           SAGINAW            MI   48602‐4813
MAYER, DANIEL E                      3346 LITTLER LN                                                                             COLUMBUS           OH   43228‐7025
MAYER, DANIEL J                      8808 SARANAC TRL                                                                            FORT WORTH         TX   76118‐7854
MAYER, DAVID J                       499 ROSELAND DR                                                                             CANTON             MI   48187‐3950
MAYER, DAVID L                       258 W PINCONNING RD                                                                         PINCONNING         MI   48650‐8991
MAYER, DENNIS A                      242 KIRKSWAY LN                                                                             LAKE ORION         MI   48362‐2277
MAYER, DONALD R                      2516 MAHON DENMAN RD N.E.                                                                   CORTLAND           OH   44410‐9683
MAYER, DONALD R                      2516 MAHAN DENMAN RD                                                                        CORTLAND           OH   44410‐9683
MAYER, DONNA C                       2516 MAHAN DENMAN RD                                                                        CORTLAND           OH   44410‐9683
MAYER, DUANE E                       1047 HARRISON AVE                                                                           DEFIANCE           OH   43512‐2028
                          09-50026-mg         Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                      Address1                    Address2                 Address3    Address4         City               State Zip
MAYER, EMERSON W          77 FREBIS AVE                                                                     COLUMBUS            OH 43206‐3613
MAYER, ERNEST A           24343 MACKEY RD                                                                   EDWARDS             MO 65326
MAYER, ETHELINE           34 CONCORD DRIVE                                                                  PITTSFORD           NY 14534‐4036
MAYER, ETHELINE           34 CONCORD DR                                                                     PITTSFORD           NY 14534‐4035
MAYER, GAIL R             1240 JAMES ST                                                                     SYRACUSE            NY 13203‐2808
MAYER, GARY P             PO BOX 259                  5235 11 MILE RD                                       REMUS               MI 49340‐0259
MAYER, GEORGE E           540 E 11TH ST                                                                     LOCKPORT             IL 60441‐3620
MAYER, GEORGE F           5029 S STONEHEDGE DR                                                              GREENFIELD          WI 53220‐4628
MAYER, GEORGE F           3731 ROBERTSON DR                                                                 WARREN              MI 48092‐2503
MAYER, GEORGE FREDERICK   3731 ROBERTSON DR                                                                 WARREN              MI 48092‐2503
MAYER, GERALD R           1613 WOLCOTT ST                                                                   JANESVILLE          WI 53546‐5589
MAYER, GLENN E            4735 MOELLER DR                                                                   BAY CITY            MI 48706‐2626
MAYER, GLENN M            936 STINSON DR                                                                    SAGINAW             MI 48604‐2175
MAYER, GORDON E           5890 IDE RD                                                                       NEWFANE             NY 14108‐9633
MAYER, HAROLD             5036 BLACK DRIVE                                                                  UNIONVILLE          MI 48767
MAYER, HARVEY M           8331 WOODCLIFF BLVD                                                               SELMA               TX 78154‐3335
MAYER, HENRY L            16 NASH ST                                                                        BUFFALO             NY 14206‐3519
MAYER, IDELLA E           8407 CONGRESS DR                                                                  CANTON              MI 48187‐2018
MAYER, JAMES F            11159 BUSCH RD                                                                    BIRCH RUN           MI 48415‐9205
MAYER, JAMES J            6336 LONESTAR DR                                                                  INDIANAPOLIS        IN 46237‐8259
MAYER, JAMES J            4150 JONQUIL DR                                                                   SAGINAW             MI 48603‐1127
MAYER, JANET I            8187 CALLEE CT                                                                    DAVISON             MI 48423‐8720
MAYER, JEAN               06217 MILES RD                                                                    EAST JORDAN         MI 49727‐9315
MAYER, JEANETTE L         1820 NARCISSUS LANE                                                               PORT ROYAL          SC 29935
MAYER, JENNIE             1933 SARONA LANE                                                                  WEST BLOOMFIELD     MI 48324‐1051
MAYER, JENNIE             1933 SARONA LN                                                                    WEST BLOOMFIELD     MI 48324‐1051
MAYER, JENNIE M           25 HILLTOP DR                                                                     NORTH CHILI         NY 14514‐1001
MAYER, JENNIE M           25 HILLTOP DRIVE                                                                  NORTH CHILI         NY 14514‐1001
MAYER, JERYL L            8187 CALLEE CT                                                                    DAVISON             MI 48423‐8720
MAYER, JOHN M             777 HINCHEY RD                                                                    ROCHESTER           NY 14624‐2730
MAYER, JOSEPH R           281N BRASHARES DRIVE                                                              ADDISON              IL 60101
MAYER, JOYCE M            9225 BUCHANAN RD                                                                  MECOSTA             MI 49332‐9728
MAYER, KAY F              2219 W CREEK RD                                                                   BURT                NY 14028‐9724
MAYER, KENNETH R          457 CALVERTON PL                                                                  BRUNSWICK           OH 44212‐1819
MAYER, KRIS A             3070 WESTMAN CT                                                                   BLOOMFIELD HILLS    MI 48304‐2062
MAYER, KRIS AARON         3070 WESTMAN CT                                                                   BLOOMFIELD HILLS    MI 48304‐2062
MAYER, LAWRENCE J         PO BOX 18439                                                                      TUCSON              AZ 85731‐8439
MAYER, LEE R              20877 FAIRPARK DR                                                                 FAIRVIEW PARK       OH 44126‐2008
MAYER, LORETTA E          5150 DEWEY AVE                                                                    ROCHESTER           NY 14612‐1706
MAYER, MANFRED            GOODMAN MEAGHER & ENOCH     111 N CHARLES ST STE 7                                BALTIMORE           MD 21201‐3803
MAYER, MARIA K            6100 FAIRVIEW RD                                                                  AUSTINTOWN          OH 44515‐4301
MAYER, MARIA KYRIAKOU     6100 FAIRVIEW RD                                                                  AUSTINTOWN          OH 44515‐4301
MAYER, MARIE              903 GREAT RD                                                                      NORTH SMITHFIELD     RI 02896‐6813
MAYER, MARION W           21518 TANGLEWOOD ST                                                               ST CLAIR SHRS       MI 48082‐1275
MAYER, MARJORIE C         203 CHESTNUT RDG                                                                  SPARTA              TN 38583‐1561
MAYER, MARJORIE C         203 CHESTNUT RIDGE                                                                SPARTA              TN 38583‐8583
MAYER, MARTIN A           25754 U.S. 20‐A                                                                   ARCHBOLD            OH 43502
MAYER, MARTIN K           4040 S DUCK CREEK RD                                                              NORTH JACKSON       OH 44451‐9783
MAYER, MARVIN L           1116 RITCHIE RD                                                                   GLADWIN             MI 48624‐9720
MAYER, MARY E             5428 W 215TH ST                                                                   BUCYRUS             KS 66013‐9216
MAYER, MARY J             429 FIELDSTONE DR                                                                 MONROEVILLE         PA 15146‐1125
MAYER, MARY L             44484 LARCHWOOD DR                                                                NORTHVILLE          MI 48168‐4372
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Name                  Address1                         Address2                      Address3   Address4             City              State Zip
MAYER, MARY L         125 BISHOP HOLLOW RD                                                                           NEWTOWN SQ         PA 19073‐3220
MAYER, MATTHEW J      4812 NEBRASKA AVE                                                                              DAYTON             OH 45424‐6006
MAYER, MELVIN F       4517 TURTLE CREEK WAY                                                                          LEXINGTON          KY 40509‐2155
MAYER, MICHAEL D      5960 MAPLE FORGE CT                                                                            INDIANAPOLIS       IN 46254‐1265
MAYER, MICHELLE M     60 REGENCY CT                                                                                  GRAND ISLAND       NY 14072‐1422
MAYER, MILDRED L      635 WINCHESTER AVE                                                                             YOUNGSTOWN         OH 44509‐1857
MAYER, NANCY L        1176 STEWART AVE                                                                               SILVER CREEK       NY 14136‐9621
MAYER, NORRAINE L     8 GENOA CT                                                                                     SACRAMENTO         CA 95831‐5132
MAYER, PAUL C         6061 GODFREY RD                                                                                BURT               NY 14028‐9722
MAYER, PAUL J         5458 W RADIO RD                                                                                AUSTINTOWN         OH 44515‐1824
MAYER, PHILLIP L      174 GRAY LN                                                                                    ALLONS             TN 38541‐6949
MAYER, RENE U         1992 E HIBBARD RD                                                                              OWOSSO             MI 48867‐9790
MAYER, RICHARD B      5141 SARAH ST                                                                                  SHELBY TOWNSHIP    MI 48317‐5059
MAYER, RICHARD G      1732 GRANDVIEW DR                                                                              ROCHESTER HLS      MI 48306‐3132
MAYER, RICHARD K      2540 LONE RD                                                                                   FREELAND           MI 48623‐8879
MAYER, RICHARD L      54 HOMEWORTH PKWY                                                                              CHEEKTOWAGA        NY 14225‐3636
MAYER, RITA           125 OLD LYME DR                                                                                WILLIAMSVILLE      NY 14221‐4221
MAYER, RITA           53825 FAIRCHILD RD                                                                             MACOMB             MI 48042‐3331
MAYER, ROBERT         125 BISHOP HOLLOW RD                                                                           NEWTOWN SQUARE     PA 19073‐3220
MAYER, ROBERT C       37803 SUMMERS ST                                                                               LIVONIA            MI 48154‐4948
MAYER, ROBERT E       PO BOX 861                                                                                     AU GRES            MI 48703‐0861
MAYER, ROBERT K       5725 BELMONT ST                                                                                SHAWNEE            KS 66226‐3627
MAYER, ROBERT L       11425 LONDONDERRY DR                                                                           WASHINGTN TWP      MI 48095‐2539
MAYER, ROBERT LEWIS   11425 LONDONDERRY DR                                                                           WASHINGTN TWP      MI 48095‐2539
MAYER, ROBERT R       12349 RAILROAD RD                                                                              CLIO               MI 48420‐8231
MAYER, ROGER L        PO BOX 864                                                                                     LIVINGSTON         TN 38570‐0864
MAYER, RONALD W       1202 ABBEY RD                    PICKERING ,ONTARI0 LIX 1G2               PICKERING CANADA
MAYER, ROSE L         5029 S STONEHEDGE DR                                                                           GREENFIELD        WI   53220‐4628
MAYER, SABINA         371 HILLTOP BLVD                                                                               CANFIELD          OH   44406‐1267
MAYER, SCOTT E        30106 LUNA LAKES DRIVE                                                                         SPRING            TX   77386‐2876
MAYER, SHARON         100 WINWOOD DR APT L                                                                           MANSFIELD         OH   44907‐1641
MAYER, SHARON         100 WINWOOD DR                   APT L                                                         MANSFIELD         OH   44907
MAYER, STEVEN B       6100 S CRAPO RD                                                                                ASHLEY            MI   48806‐9336
MAYER, SYLVESTER J    472 CLAY RD APT B                                                                              ROCHESTER         NY   14623‐3834
MAYER, SYLVESTER J    472B CLAY RD                                                                                   ROCHESTER         NY   14623‐3834
MAYER, THOMAS A       2318 PALMETTO DR                                                                               TROY              MI   48085‐4000
MAYER, THOMAS A       2374 SW ALMINAR ST                                                                             PORT ST LUCIE     FL   34953‐7445
MAYER, THOMAS E       60 REGENCY CT                                                                                  GRAND ISLAND      NY   14072‐1422
MAYER, THOMAS J       4884 THRALL RD                                                                                 LOCKPORT          NY   14094‐9787
MAYER, THOMAS J       4606 MILNER RD                                                                                 STOCKBRIDGE       MI   49285‐9655
MAYER, TIMOTHY L      2252 HORIZON BLVD                                                                              GREENWOOD         IN   46143‐8910
MAYER, VIRGINIA M     5350 CALLE REAL APT 2B                                                                         SANTA BARBARA     CA   93111‐1686
MAYER, WALLACE E      11033 BUSCH RD                                                                                 BIRCH RUN         MI   48415‐9205
MAYER, WENDELIN       7637 CALMCREST DRIVE                                                                           DOWNEY            CA   90240‐2604
MAYER, WILLIAM P      671 W HEIGHTS AVE                                                                              YOUNGSTOWN        OH   44509‐1805
MAYER, WILLIAM PAUL   671 W HEIGHTS AVE                                                                              YOUNGSTOWN        OH   44509‐1805
MAYER, WILLIAM T      11810 PEBBLEBROOK LN                                                                           CARMEL            IN   46033‐9772
MAYER, WILLIAM V      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA   23510‐2212
                                                       STREET, SUITE 600
MAYERAN, FRANCIS S    6627 COLONIAL ST                                                                               DEARBORN HTS      MI 48127‐2150
MAYERAN, HELEN L      8290 KEMPA ST                                                                                  ROMULUS           MI 48174‐2222
MAYERCHAK, DENNIS G   12422 PEABODY DR                                                                               FENTON            MI 48430‐8444
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Name                         Address1                      Address2                        Address3   Address4              City               State Zip
MAYERHAUSEN WOLFGANG FELIX   FLORIAN‐WENGENMAYR‐STR. 20    D‐86609 DONAUWOERTH             GERMANY
MAYERHAUSEN WOLFGANG FELIX   FLORIAN‐WENGENMAYR‐STR. 20                                               D‐86609 DONAUWOERTH
                                                                                                      GERMANY
MAYERHAUSEN WOLFGANG FELIX   FLORIAN‐WENGENMAYR‐STR. 20    D‐86609 DONAUW╓RTH              GERMANY
MAYERNICK, GEORGE E          4814 50TH AVE W                                                                                BRADENTON          FL    34210‐4906
MAYERS JOHN                  MAYERS, JOHN                  4216 PEACH BLOSSOM LN                                            LAS VEGAS          NV    89108
MAYERS, CLARA                1420 BEVERLY POINT RD                                                                          LEESBURG           FL    34748‐3506
MAYERS, DONALD X             1170 RICE RD                                                                                   ELMA               NY    14059‐9254
MAYERS, EARTHER M            4755 VAN DYKE ST                                                                               DETROIT            MI    48214‐1141
MAYERS, EARTHER M            4755 VANDYKE                                                                                   DETROIT            MI    48214‐1141
MAYERS, JAMES H              716 E 7TH ST                                                                                   PLAINFIELD         NJ    07062‐1806
MAYERS, JOHN                 4216 PEACHBLOSSOM LN                                                                           LAS VEGAS          NV    89108‐5646
MAYERS, LEROY R              310 FARLEY AVE                                                                                 SCOTCH PLAINS      NJ    07076‐1108
MAYERS, RALPH                PO BOX 251055                                                                                  W BLOOMFIELD       MI    48325‐1055
MAYERS, RODNEY               733 EDGESTONE PL APT 235                                                                       ARLINGTON          TX    76006‐2560
MAYERS, RONALD X             5010 NW 51ST CT                                                                                TAMARAC            FL    33319‐3235
MAYERSOHN MARC A             MAYERSOHN, MARC A             1930 E MARLTON PIKE SUITE Q29                                    CHERRY HILL        NJ    08003
MAYES COUNTY TREASURER       PO BOX 9                                                                                       PRYOR              OK    74362‐0009
MAYES JR, DAVID              9070 N SAGINAW RD             APT 510                                                          MOUNT MORRIS       MI    48458
MAYES JR, DAVID              9070 N SAGINAW RD APT 510                                                                      MOUNT MORRIS       MI    48458
MAYES JR, FLOYD W            527 SE 741ST RD                                                                                CLINTON            MO    64735‐9489
MAYES JR, JAMES L            8418 DOGWOOD LN                                                                                WARREN             MI    48093‐1604
MAYES JR, JAMES L            11925 HADLEY CT                                                                                SHELBY TWP         MI    48315‐5717
MAYES JR, NED W              5267 FRENCH RD                                                                                 DETROIT            MI    48213‐3382
MAYES NANCY                  446126 E 350 RD                                                                                VINITA             OK    74301‐7009
MAYES ROBERT L (439306)      GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA    23510
                                                           STREET, SUITE 600
MAYES, ABEL T                923 E 34TH ST                                                                                  INDIANAPOLIS       IN    46205‐3801
MAYES, ALAN W                405 S HAWTHORN CIR                                                                             WINTER SPRINGS     FL    32708‐3449
MAYES, ALONZO L              3000 SE 56TH ST                                                                                OKLAHOMA CITY      OK    73135‐1620
MAYES, AMANDA                5505 DONNA DR                                                                                  ANDERSON           IN    46017‐9515
MAYES, AMANDA E.             5505 DONNA DR                                                                                  ANDERSON           IN    46017‐9515
MAYES, ANN                   27842 CARNEGIE AVE                                                                             SAUGUS             CA    91350‐3635
MAYES, ANTHONY P             PO BOX 1096                                                                                    RANCHO CUCAMONGA   CA    91729‐1096
MAYES, ARTHUR L              4274 12TH ST                                                                                   ECORSE             MI    48229‐1226
MAYES, BARBARA G             1660 TABOR AVE                                                                                 DAYTON             OH    45420‐2175
MAYES, BARBARA G             1660 TABOR AVENUE                                                                              DAYTON             OH    45420‐2175
MAYES, BARBARA J             5561 MAPLE PARK DR                                                                             FLINT              MI    48507‐3904
MAYES, BETTY R               3816 TULIP LN                                                                                  KOKOMO             IN    46902‐4364
MAYES, BETTY R               3816 TULIP LANE                                                                                KOKOMO             IN    46902‐4364
MAYES, BILLY
MAYES, CALVIN L              10615 BREED AVE                                                                                OAKLAND            CA    94603‐3929
MAYES, CARL A                374 AUSTIN ST                                                                                  BEREA              OH    44017‐2153
MAYES, CAROL F               6615 CIRCLE DR                                                                                 HARRISON           MI    48625‐9068
MAYES, CAROLYN L             141 DERBY DR                                                                                   DECATUR            AL    35603‐6902
MAYES, CELESTE M             30 SWEETWATER OAKS DRIVE                                                                       FLETCHER           NC    28732‐9700
MAYES, CELESTINE             926 GRAVES ST                                                                                  OWENSBORO          KY    42301‐1863
MAYES, CHARLES D             907 DOCK PL                                                                                    MURRELLS INLET     SC    29576‐8720
MAYES, CHARLES E             537 W WOODLAND AVE                                                                             YOUNGSTOWN         OH    44502‐1767
MAYES, CHARLES WILLIAM       6311 COLORADO ST                                                                               ROMULUS            MI    48174‐1819
MAYES, CHARLIE               PO BOX 70                                                                                      DAWSON SPRINGS     KY    42408‐0070
MAYES, CHET D                2020 HURSTVIEW DR                                                                              HURST              TX    76054‐2906
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Name                 Address1                       Address2            Address3         Address4         City              State Zip
MAYES, CHET DAVIS    2020 HURSTVIEW DR                                                                    HURST              TX 76054‐2906
MAYES, CLARA         1201 WEST 1ST STREET                                                                 ALEXANDRA          IN 46001
MAYES, CYNTHIA J     15198 S DIXIE HIGHWAY                                                                MONROE             MI 48161‐3771
MAYES, DANA G        3703 1/2 N WALNUT ST                                                                 MUNCIE             IN 47303‐1160
MAYES, DANA GENE     3703 1/2 N WALNUT ST                                                                 MUNCIE             IN 47303‐1160
MAYES, DAVID B       4425 BROWN RD                                                                        INDIANAPOLIS       IN 46226‐3147
MAYES, DENNIS E      1203 E RIDGEWAY DR                                                                   OLATHE             KS 66061‐4930
MAYES, DONALD G      3390 S SHELBY 750 W                                                                  FRANKLIN           IN 46131‐9208
MAYES, DOUGLAS R     3589 TETON HILLS ST                                                                  LAS VEGAS          NV 89147‐6751
MAYES, EDDIE E       1811 JANJOLIN WAY                                                                    CONLEY             GA 30288‐1314
MAYES, ELLIOTT E     6347 FAITH CIR                                                                       INDIANAPOLIS       IN 46268
MAYES, ELMER         PO BOX 857                                                                           BOONEVILLE         KY 41314‐0857
MAYES, ERNEST N      135 WINDING WAY APT C                                                                LEESBURG           GA 31763‐5507
MAYES, ERNIE E       1412 IRWIN DR                                                                        WATERFORD          MI 48327‐2027
MAYES, EVELYN G      954 BRISTOW RD                                                                       CROSSVILLE         TN 38571‐0566
MAYES, EZEKIEL       13416 LAUDER STREET                                                                  DETROIT            MI 48227‐2579
MAYES, FREDDIE D     20767 HEMPHILL RD                                                                    TONGANOXIE         KS 66086‐5046
MAYES, FREDERICK G   6615 CIRCLE DR                                                                       HARRISON           MI 48625‐9068
MAYES, GARY L        5119 HIGHLAND RD APT 295                                                             WATERFORD          MI 48327
MAYES, GEORGE E      302 W 5TH AVE                                                                        FLINT              MI 48503‐2447
MAYES, GEORGE W      2227 PIERCE AVE                                                                      NIAGARA FALLS      NY 14301‐1421
MAYES, GLORIA        8 VAETH RD                                                                           POUGHKEEPSIE       NY 12603‐5608
MAYES, GREGORY O     5312 OLD VILLAGE RD                                                                  NASHVILLE          TN 37211‐7346
MAYES, HAROLD W      APT F                          5 WINCHESTER ROAD                                     NEWARK             DE 19713‐3128
MAYES, HAROLD W      5 WINCHESTER RD APT F                                                                NEWARK             DE 19713‐3128
MAYES, HUBERT E      6122 141ST AVE N                                                                     CLEARWATER         FL 33760‐2735
MAYES, JANICE        PO BOX 321                                                                           KENDALL            NY 14476‐0321
MAYES, JERRY W       535 E 650 N                                                                          RIDGEVILLE         IN 47380‐9280
MAYES, JERRY WAYNE   535 E 650 N                                                                          RIDGEVILLE         IN 47380‐9280
MAYES, JILL D        6184 NORTH VASSAR RD                                                                 FLINT              MI 48506‐1238
MAYES, JILL D        6184 N VASSAR RD                                                                     FLINT              MI 48506‐1238
MAYES, JILL R        9393 HACKER FARM LANE                                                                CENTERVILLE        OH 45458‐5458
MAYES, JIMMY R       PO BOX 2092                                                                          ANDERSON           IN 46018‐2092
MAYES, JOE W         1112 S WARMAN AVE                                                                    INDIANAPOLIS       IN 46221‐1071
MAYES, JOHN          14809 CHATHAM DR                                                                     SHELBY TOWNSHIP    MI 48315‐1505
MAYES, JOHNNIE D     PO BOX 2282                                                                          MISSOURI CITY      TX 77459‐9282
MAYES, JOSEPH P      49400 FAIRCHILD RD                                                                   MACOMB             MI 48042‐4814
MAYES, JOYCE         5838 OBERLIES WAY                                                                    PLAINFIELD         IN 46168‐7300
MAYES, JUDITH L      625 SOUTH LINGER LANE                                                                WILLIAMS           AZ 86046‐5101
MAYES, JUDY H        102 TIMBERLAKE CIR                                                                   ANTIOCH            TN 37013‐3707
MAYES, JUDYE         14739 STATE ROUTE 111                                                                DEFIANCE           OH 43512
MAYES, JUETTA L      56183 PENNY LN                                                                       NEW LONDON         MO 63459‐2410
MAYES, KAREN         2227 PIERCE AVE                                                                      NIAGARA FALLS      NY 14301‐1421
MAYES, LARRY J       8480 E 200 S                                                                         GREENTOWN          IN 46936‐9148
MAYES, LATOSHIA      3005 GLENSTONE DR                                                                    COLUMBIA           TN 38401‐5986
MAYES, LEROY         27842 CARNEGIE AVENUE                                                                SANTA CLARITA      CA 91350‐3635
MAYES, LEROY         PO BOX 10676                                                                         DAYTONA BEACH      FL 32120‐0676
MAYES, MARGARET L    PO BOX 403                                                                           EDWARDS            MS 39066‐0403
MAYES, MARIANNE      6122 141ST AVENUE N,                                                                 CLEARWATER         FL 33760
MAYES, MICHAEL D     9393 HACKER FARM LN                                                                  DAYTON             OH 45458
MAYES, MILTON        PO BOX 538                                                                           FLINT              MI 48501‐0538
MAYES, MILTON        1906 MARTIN LUTHER KING AVE                                                          FLINT              MI 48503‐1024
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Name                        Address1                         Address2                        Address3   Address4         City               State Zip
MAYES, NELDA L              2609 DEL NORTE LN NW                                                                         HUNTSVILLE          AL 35810‐3503
MAYES, PAUL B               30 SWEETWATER OAKS DRIVE                                                                     FLETCHER            NC 28732‐9700
MAYES, PAUL E               531 WINNARD DR                                                                               COLUMBUS            OH 43213‐6303
MAYES, PAULA L              229 NOTRE DAME AVE                                                                           DAYTON              OH 45404‐1927
MAYES, PHILLIP A            11057 FALLS CHURCH DR                                                                        INDIANAPOLIS        IN 46229‐2096
MAYES, RALPH O              6311 COLORADO ST                                                                             ROMULUS             MI 48174‐1819
MAYES, RICHARD              444 OAKRIDGE LN                                                                              LONGVIEW            TX 75605‐5958
MAYES, RICHARD L            3688 SNAKE CREEK RD                                                                          RAYMOND             MS 39154‐8026
MAYES, ROBERT L             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510‐2212
                                                             STREET, SUITE 600
MAYES, ROBERT P             2449 KINGSTREE PL                                                                            THE VILLAGES       FL   32162‐2649
MAYES, ROGER D              1908 N COLORADO AVE                                                                          INDIANAPOLIS       IN   46218‐4531
MAYES, ROGER D              PO BOX 361301                                                                                INDIANAPOLIS       IN   46236‐1301
MAYES, ROSCOE A             17921 CHAGRIN BLVD                                                                           SHAKER HEIGHTS     OH   44122‐4840
MAYES, ROY W                1881 N LAKE ELOISE DR                                                                        WINTER HAVEN       FL   33884‐2018
MAYES, RUBY K               13336 BRYSON RD                                                                              COLUMBUS           OH   43224
MAYES, RUSSELL S            6184 N VASSAR RD                                                                             FLINT              MI   48506‐1238
MAYES, SAMMIE D             19814 BEAULIEU CT                                                                            FORT MYERS         FL   33908‐4831
MAYES, SYLVIA               6551 N US HIGHWAY 31                                                                         SHARPSVILLE        IN   46068‐9323
MAYES, THEDEAS              PO BOX 152                                                                                   BOONEVILLE         KY   41314‐0152
MAYES, TODD A               13505 SPRUCE GROVE RD                                                                        LOWER LAKE         CA   95457
MAYES, TYRONE B             6072 CHOPIN ST                                                                               DETROIT            MI   48210‐1541
MAYES, VERNON M             1672 FLORENCE ST                                                                             ERIE               MI   48133‐9736
MAYES, VERNON MACK          1672 FLORENCE ST                                                                             ERIE               MI   48133‐9736
MAYES, VIRGINIA             PO BOX 405                                                                                   CORNITH            MS   38835
MAYES, WAYNE                646 N PIKE AVE                                                                               BOLIVAR            MO   65613‐1580
MAYES, WILLIAM F            12103 CHESTERFIELD AVE                                                                       CLEVELAND          OH   44108‐3932
MAYES, WILLIAM R            16801 ROOSEVELT HWY                                                                          KENDALL            NY   14476‐9748
MAYES, WILLIAM R            8224 VERMILION DRIVE                                                                         CHARLOTTE          NC   28215‐7512
MAYES, WILLIE F             27200 BELMONT LN                                                                             SOUTHFIELD         MI   48076‐5609
MAYESKE, BETTY C            7155 CANE LEAF DR                                                                            FAIRBURN           GA   30213‐2623
MAYESKI, JENNIFER M         85 MARTIN RD                                                                                 LACKAWANNA         NY   14218‐2705
MAYESWEBB, EULA M           34 EMERALD RIDGE CV                                                                          JACKSON            TN   38305‐1593
MAYETTA COSBY               4785 DOVER DRIVE                                                                             COLORADO SPRINGS   CO   80916‐2604
MAYETTA CURRY               PO BOX 420449                                                                                PONTIAC            MI   48342‐0449
MAYETTA SMITH               APT 8                            5944 WEST MOORESVILLE ROAD                                  INDIANAPOLIS       IN   46221‐3760
MAYETTE, DONALD R           11 MOUNTAIN RFD 2                                                                            HOLLAND            MA   01521
MAYETTE, ROBERT L           5 BEECH                                                                                      WADDINGTON         NY   13694
MAYEUX, RAYMOND L           520 GLADSTONE BLVD                                                                           SHREVEPORT         LA   71104‐4416
MAYEUX, STEPHEN M           15145 GARDEN PARK                                                                            BATON ROUGE        LA   70817
MAYEWSKI, MICHAEL L         71707 JULIET CT                                                                              BRUCE TWP          MI   48065‐3849
MAYFAIR GARAGE              17601 CLARK AVE                                                                              BELLFLOWER         CA   90706‐6520
MAYFIELD BARBARA            1075 HIGHWAY 77                                                                              PARIS              TN   38242‐6735
MAYFIELD CLINIC, INC        506 OAK ST                                                                                   CINCINNATI         OH   45219‐2507
MAYFIELD EDGAR (446151)     KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                               CLEVELAND          OH   44114
                                                             BOND COURT BUILDING
MAYFIELD JR, EARL           16343 STATE HIGHWAY 31 E                                                                     TYLER              TX   75705‐4102
MAYFIELD JR, JOHNNY         6129 PLAINFIELD RD                                                                           CINCINNATI         OH   45213‐2377
MAYFIELD NIXON, YOLANDA Y   6801 SALLY CT                                                                                FLINT              MI   48505‐1915
MAYFIELD TOWNSHIP           1900 N SAGINAW ST                                                                            LAPEER             MI   48446‐7785
MAYFIELD TRANSFER CO INC    3200 W LAKE ST                                                                               MELROSE PARK       IL   60160‐2822
MAYFIELD TWP. TREASURER     1900 N SAGINAW ST                                                                            LAPEER             MI   48446‐7785
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Name                        Address1                          Address2                       Address3   Address4         City             State Zip
MAYFIELD WILLIAM (459193)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA 23510
                                                              STREET, SUITE 600
MAYFIELD, ABIGAIL
MAYFIELD, ADA B             3126 LIVINGSTON DR                                                                           SAGINAW          MI   48601‐4529
MAYFIELD, ADA B             624 S 24TH ST                                                                                SAGINAW          MI   48601‐6508
MAYFIELD, ALBERT H          5102 MARK DAVID DR                                                                           SWARTZ CREEK     MI   48473‐8500
MAYFIELD, ALFRED            GUY WILLIAM S                     PO BOX 509                                                 MCCOMB           MS   39649‐0509
MAYFIELD, ALPHONSO          GUY WILLIAM S                     PO BOX 509                                                 MCCOMB           MS   39649‐0509
MAYFIELD, ALVIN A           4707 DRUMMOND BLVD SE APT 204                                                                GRAND RAPIDS     MI   49508‐5188
MAYFIELD, AMANDA P          9851 YORKSHIRE RD                                                                            DETROIT          MI   48224‐1930
MAYFIELD, ANDREW K          1220 MATTHEWS CT                                                                             FRANKLIN         IN   46131‐7314
MAYFIELD, ANNIE             19231 BERKELEY ROAD                                                                          DETROIT          MI   48221
MAYFIELD, BARBARA A         50 THORNHILL LN                                                                              WILLINGBORO      NJ   08046‐3628
MAYFIELD, BARBARA J         1075 HIGHWAY 77                                                                              PARIS            TN   38242‐6735
MAYFIELD, BARBARA J.        1075 HIGHWAY 77                                                                              PARIS            TN   38242‐6735
MAYFIELD, BETTY C           4351 SUN VALLEY BLVD                                                                         TUPELO           MS   38801‐7041
MAYFIELD, BEVERLY J         36 PINE TREE LN                                                                              EOLIA            MO   63344‐2225
MAYFIELD, BRADFORD W        1998 HIRAM DOUGLASVILLE HWY                                                                  HIRAM            GA   30141‐4839
MAYFIELD, CARL E            6320 N ANWAY RD                                                                              MARANA           AZ   85653‐9239
MAYFIELD, CEDRIC L          19447 MANSFIELD ST                                                                           DETROIT          MI   48235‐2320
MAYFIELD, CHARLES D         9730 BAIRD RD APT 1220                                                                       SHREVEPORT       LA   71118‐3877
MAYFIELD, CHARLES DENNIS    9730 BAIRD RD APT 1220                                                                       SHREVEPORT       LA   71118‐3877
MAYFIELD, CHARLES E         9019 DEVILS BACKBONE RD                                                                      WELLINGTON       MO   64097‐9102
MAYFIELD, CLYDE E           2414 GARDEN ST                                                                               JOLIET           IL   60435‐1417
MAYFIELD, CONSTANCE         PO BOX 242                                                                                   SEDGEWICKVILLE   MO   63781‐0242
MAYFIELD, CREAMELLA         8254 FRANCES RD                                                                              FLUSHING         MI   48433‐8863
MAYFIELD, CREAMELLA         3301 WINWOOD DR                                                                              FLINT            MI   48504‐1286
MAYFIELD, DARIUS D          3602 VAN BUREN AVE                                                                           FLINT            MI   48503‐4915
MAYFIELD, DARIUS D          1252 WOODNOLL DR                                                                             FLINT            MI   48507‐4716
MAYFIELD, DAVID C           257 W ELBERT ST                                                                              INDIANAPOLIS     IN   46217‐3417
MAYFIELD, DEBORAH L         1220 MATTHEWS CT                                                                             FRANKLIN         IN   46131‐7314
MAYFIELD, DELBERT W         2901 N SPRING ST                                                                             INDEPENDENCE     MO   64050‐1252
MAYFIELD, DENNIS K          6503 LEASA CT                                                                                SACHSE           TX   75048‐3106
MAYFIELD, DONIKEA R         312 BEARDSLEY RD                                                                             TROTWOOD         OH   45426‐2712
MAYFIELD, DONNIE R          3332 W COLDWATER RD                                                                          MOUNT MORRIS     MI   48458‐9400
MAYFIELD, DORIS M           14762 JENNY DR                                                                               WARREN           MI   48088‐1512
MAYFIELD, DORIS M           14762 JENNY DRIVE                                                                            WARREN           MI   48088‐1512
MAYFIELD, DOROTHY A         2910 BAYBERRY DR                                                                             MARIETTA         GA   30060‐5606
MAYFIELD, DOROTHY A         2910 BAY BERRY DR SW                                                                         MARIETTA         GA   30008‐5606
MAYFIELD, EDGAR             KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND        OH   44114
                                                              BOND COURT BUILDING
MAYFIELD, EDGAR J           2515 64TH AVE                                                                                OAKLAND          CA   94605‐1946
MAYFIELD, EDWIN J           636 MISTI DR                                                                                 LEESBURG         FL   34788‐2449
MAYFIELD, ESTHER M          155 LUTHER RD                                                                                NORLINA          NC   27563‐9101
MAYFIELD, GARY L            PO BOX 1182                                                                                  DELLSLOW         WV   26531‐1182
MAYFIELD, GARY L            325 FOUR POINTS RD                                                                           JACKSON          GA   30233‐4257
MAYFIELD, GEORGE            WOODWARD & KELLEY                 100 BANK ST STE 220                                        BURLINGTON       VT   05401‐4699
MAYFIELD, GLEN              14762 JENNY DR                                                                               WARREN           MI   48088‐1512
MAYFIELD, GLORIA            7110 WAVERLY AVE                                                                             KANSAS CITY      KS   66109‐2548
MAYFIELD, HOWARD D          7600 E 204TH TER                                                                             BELTON           MO   64012‐9105
MAYFIELD, JANN E            6969 W YALE AVE UNIT 22                                                                      DENVER           CO   80227‐3582
MAYFIELD, JAY P             30 FOUR WINDS DR                                                                             SAINT PETERS     MO   63376‐1125
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Name                       Address1                        Address2            Address3         Address4         City             State Zip
MAYFIELD, JEFFERY K        2718 PARK PLACE LN APT 252                                                            JANESVILLE        WI 53545‐5271
MAYFIELD, JOHNNY L         PO BOX 310345                                                                         FLINT             MI 48531‐0345
MAYFIELD, JORDAN N         8197 PORTSIDE DR                                                                      AVON              IN 46123‐1476
MAYFIELD, JOSHUA J         2224 BOND PL                                                                          JANESVILLE        WI 53548‐3303
MAYFIELD, JUDITH A         2119 GLENSIDE AVE                                                                     NORWOOD           OH 45212
MAYFIELD, KALA M           2224 BOND PL                                                                          JANESVILLE        WI 53548‐3303
MAYFIELD, KATHLEEN A       32 WILLOW CT                                                                          TRENTON           NJ 08619
MAYFIELD, KRISANNA         1182 CHARLES LEE CT                                                                   GREENWOOD         IN 46143‐1034
MAYFIELD, KRISTAL
MAYFIELD, LARRY            1310 W MOORE ST                                                                       FLINT            MI   48504‐2258
MAYFIELD, LARRY E          637 RUE LEONA                                                                         BONNE TERRE      MO   63628‐9341
MAYFIELD, LARRY K          P.0. BOX 4119                                                                         ABILENE          TX   79608
MAYFIELD, LATASHA E        3301 WINWOOD DR                                                                       FLINT            MI   48504‐1286
MAYFIELD, LATASHA EVETTE   3301 WINWOOD DR                                                                       FLINT            MI   48504‐1286
MAYFIELD, LAURA L          3752 WORCHESTER DR                                                                    FLINT            MI   48503‐4557
MAYFIELD, LEONARD E        724 S KIERAN DR                                                                       GREENSBURG       IN   47240‐7329
MAYFIELD, LEROY            1001 GLENWOOD DR APT K2                                                               WEST MONROE      LA   71291‐5531
MAYFIELD, LEROY J          1001 GLENWOOD DR APT K2                                                               WEST MONROE      LA   71291‐5531
MAYFIELD, LEROY J          780 CHESTNUT DR                                                                       JACKSON          GA   30233‐1603
MAYFIELD, LILLIAN V        PO BOX 841                                                                            FLOWERY BRANCH   GA   30542‐0015
MAYFIELD, LINDA A          3717 STARSHINE TRL                                                                    BRIGHTON         MI   48114‐9286
MAYFIELD, LLOYD            WEITZ & LUXENBERG               180 MAIDEN LANE                                       NEW YORK         NY   10038
MAYFIELD, LLOYD E          959 CHAMPION AVE E                                                                    WARREN           OH   44483‐1513
MAYFIELD, LOREN K          2742 E PLEASANT RD                                                                    MILTON           WI   53563‐9471
MAYFIELD, LOUISE E         276 LINWOOD AVE                 APT 114                                               BUFFALO          NY   14209‐1844
MAYFIELD, LOUISE E         276 LINWOOD AVE APT 114                                                               BUFFALO          NY   14209‐1844
MAYFIELD, MARILYN R        1706 WOODLIN DR                                                                       FLINT            MI   48504‐3603
MAYFIELD, MARION C         PO BOX 782                                                                            DOUGLASVILLE     GA   30133‐0782
MAYFIELD, MARK A           18505 E 7TH ST N                                                                      INDEPENDENCE     MO   64056‐2028
MAYFIELD, MARK W           809 GREENLAWN                                                                         HARRISON         MI   48625‐9112
MAYFIELD, MARY C           1273 GLADDEN CT                                                                       FRANKLIN         IN   46131‐7313
MAYFIELD, MELVIN E         2457 E 760TH ST                                                                       URSA             IL   62376‐2212
MAYFIELD, MERRILL L        270 PILGRIM CIR                                                                       MILAN            OH   44846‐9754
MAYFIELD, MICHAEL C        2005 N BRINGOLD AVE                                                                   HARRISON         MI   48625‐9782
MAYFIELD, MOZELLA          1738 LEXINGTON PKWY                                                                   INKSTER          MI   48141‐1571
MAYFIELD, MURIEL M         814 E KEARSLEY ST APT 218                                                             FLINT            MI   48503‐1958
MAYFIELD, NELLIE M         9019 DEVILS BACKBONE RD                                                               WELLINGTON       MO   64097‐9102
MAYFIELD, NINA             4272 LAVINIA AVE.                                                                     LYNWOOD          CA   90262
MAYFIELD, ODELIA N         201 NW MURRAY RD                                                                      LEES SUMMIT      MO   64081‐1566
MAYFIELD, PATRICIA         3227 HUNTINGTON WOODS DR SE     APT C                                                 GRAND RAPIDS     MI   49512‐8100
MAYFIELD, PATRICIA A       959 CHAMPION AVE E                                                                    WARREN           OH   44483‐1513
MAYFIELD, PATRICIA A       959 CHAMPION ST. EAST                                                                 WARREN           OH   44483‐1513
MAYFIELD, PAUL D           2821 RETREAD RD                                                                       PAHRUMP          NV   89048‐2838
MAYFIELD, PAULETTE         6515 DUPONT ST                                                                        FLINT            MI   48505‐2068
MAYFIELD, RALPH E          711 FULMAR CT                                                                         POINCIANA        FL   34759‐4533
MAYFIELD, RALPH W          611 BENTON ST                                                                         WARSAW           MO   65355‐3192
MAYFIELD, RANDY M          11501 SPICER DR                                                                       PLYMOUTH         MI   48170‐4358
MAYFIELD, RICHARD E        PO BOX 448                      C/O GAYLE COLEMAN                                     BELMONT          MI   49306‐0448
MAYFIELD, ROCKY L          3301 WINWOOD DR                                                                       FLINT            MI   48504‐1286
MAYFIELD, RODNEY R         2707 JOLIET ST                                                                        JANESVILLE       WI   53546‐5448
MAYFIELD, RONALD D         3411 SWANEE RD                                                                        PORT CHARLOTTE   FL   33980‐8724
MAYFIELD, RONALD L         301 PARK RIDGE DR                                                                     BRANDON          MS   39042‐2943
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Name                               Address1                         Address2                      Address3   Address4               City               State Zip
MAYFIELD, ROY M                    3144 WESLOCK CIR                                                                                 DECATUR             GA 30034‐2934
MAYFIELD, SANDRA                   15844 ARCHDALE STREET                                                                            DETROIT             MI 48227‐1510
MAYFIELD, TAMMY M                  PO BOX 2015                                                                                      JANESVILLE          WI 53547‐2015
MAYFIELD, WILLIAM                  293 BRANDON RD                                                                                   MARTIN              TN 38237‐5239
MAYFIELD, WILLIAM                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510‐2212
                                                                    STREET, SUITE 600
MAYFIELD, WILLIAM L                1505 MAYFIELD AVE NE                                                                             GRAND RAPIDS       MI 49505‐5423
MAYFLOWER EMERSON REALTY TRUSTXV   331 MAYFLOWER CIR                                                                                HANOVER            MA 02339‐2124

MAYFLOWER TRANSIT INC              1 MAYFLOWER DR                                                                                   FENTON             MO   63026‐2934
MAYFLOWER VEHICLE SYSTEMS INC      60581 STATE ROUTE 7                                                                              SHADYSIDE          OH   43947‐9704
MAYFLOWER VEHICLE SYSTEMS LLC      6530 W CAMPUS OVAL                                                                               NEW ALBANY         OH   43054‐8726
MAYFORD E LEE                      268 ALLANHURST DR                                                                                VANDALIA           OH   45377‐1719
MAYFORD EVANS                      1335 RAMBLING RD                                                                                 YPSILANTI          MI   48198‐3158
MAYFORD HENDREN                    BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.        OH   44236
MAYFORD LEE                        268 ALLANHURST AVE                                                                               VANDALIA           OH   45377‐1719
MAYFORD SCOTT                      2 DORMER DR                                                                                      ORMOND BEACH       FL   32174‐1051
MAYFRAN CANADA LTD                 83 GALAXY BLVD UNIT 26                                                    ETOBICOKE ON M9W 5X6
                                                                                                             CANADA
MAYFRAN HOLDINGS INC               6650 BETA DR                                                                                     CLEVELAND          OH   44143‐2321
MAYFRAN HOLDINGS INC               6650 BETA DR                     PO BOX 43038                                                    CLEVELAND          OH   44143‐2321
MAYFRAN INTERNATIONA               6650 BETA DR                                                                                     CLEVELAND          OH   44143‐2321
MAYFRAN INTERNATIONAL INC          6650 BETA DR                                                                                     MAYFIELD VILLAGE   OH   44143‐2321
MAYFRAN INTERNATIONAL INC          6650 BETA DR                     PO BOX 43038                                                    CLEVELAND          OH   44143‐2321
MAYFRED BUSH                       869 COUNTY ROUTE 84                                                                              MALLORY            NY   13103‐3325
MAYGAR, JANICE L                   15167 MARL DR                                                                                    LINDEN             MI   48451‐9068
MAYGAR, JOHN S                     4018 ATLAS RD                                                                                    DAVISON            MI   48423‐8789
MAYGAR, JUDY A                     1186 S GENESEE RD                                                                                BURTON             MI   48509‐1822
MAYGAR, JUDY ANN                   1186 S GENESEE RD                                                                                BURTON             MI   48509‐1822
MAYHALL, KAY V                     2905 ESPENLAUB LN                                                                                KANSAS CITY        KS   66106‐4529
MAYHAN, SAMUEL L                   1191 THORNCLIFF WAY                                                                              LAWRENCEVILLE      GA   30044‐8140
MAYHAW WINFRED (351471)            SIMON JEFFREY B                  1201 N WATSON RD STE 145                                        ARLINGTON          TX   76006‐6223
MAYHAW, WINFRED                    SIMON JEFFREY B                  RR 1 BOX 248                                                    SIMMS              TX   75574
MAYHER, CAROL J                    6640 HATHAWAY RD                                                                                 VALLEY VIEW        OH   44125‐4763
MAYHEW                             5484 RICHFIELD RD                                                                                FLINT              MI   48506‐2228
MAYHEW & ASSOCIATES
MAYHEW & ASSOCIATES INC            135 COMMERCE VALLEY DR E                                                  THORNHILL CANADA ON
                                                                                                             L3T 7T4 CANADA
MAYHEW CHEVROLET, INC              RTE 50 RIDGE LOOP RD                                                                             ROMNEY             WV   26757
MAYHEW CHEVROLET, INC              ROBERT MAYHEW                    RTE 50 RIDGE LOOP RD                                            ROMNEY             WV   26757
MAYHEW JR, ERVIN W                 6360 FOX GLEN DR                 APT 6                                                           SAGINAW            MI   48538‐7320
MAYHEW, CAROL A                    1057 AGNES ST.                                                                                   MT. MORRIS         MI   48458‐2245
MAYHEW, CAROL A                    1057 AGNES ST                                                                                    MOUNT MORRIS       MI   48458‐2245
MAYHEW, DAVID H                    7728 BUCHANAN DR                                                                                 BOARDMAN           OH   44512‐5743
MAYHEW, DENNIS E                   1150 ARMS RD                                                                                     ESSEXVILLE         MI   48732‐9799
MAYHEW, DONALD H                   4011 SE 24TH ST                                                                                  OKEECHOBEE         FL   34974
MAYHEW, DWAYNE D                   16667 N KIMBERLY DR                                                                              HOLLY              MI   48442‐8754
MAYHEW, EARL E                     1829 SKIERS ALY                                                                                  LAPEER             MI   48446‐8399
MAYHEW, EDWARD L                   G12450 FIELD DR                                                                                  CLIO               MI   48420
MAYHEW, EDWIN J                    4470 N HILLCREST CIR                                                                             FLINT              MI   48506‐1400
MAYHEW, EGBERT T                   2 LIBERTY CT APT 88                                                                              WARWICK            NY   10990‐5005
MAYHEW, FLORENCE                   2 LIBERTY CT.                    APT. 88                                                         WARWICK            NY   10990
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Name                     Address1                       Address2                      Address3   Address4         City            State Zip
MAYHEW, H SANDRA         1915 COURTYARD WAY G102                                                                  NAPLES           FL 34112‐9341
MAYHEW, HELEN D          2568 BOGART ST                                                                           CAMARILLO        CA 93010‐4707
MAYHEW, JAMES E          2438 NORTHDALE DR                                                                        GRAND BLANC      MI 48439‐8511
MAYHEW, JEROME K         15130 REO AVE                                                                            ALLEN PARK       MI 48101‐3535
MAYHEW, JERRY L          7424 CINDY DR                                                                            MC CORDSVILLE    IN 46055
MAYHEW, JOANNA           4470 N HILLCREST CIR                                                                     FLINT            MI 48506‐1400
MAYHEW, JOSEPH C         3421 WILDER RD                                                                           BAY CITY         MI 48706‐2363
MAYHEW, MARGARET L       610 VICTORIA DR APT B102                                                                 CAPE CORAL       FL 33904‐9569
MAYHEW, MARY D           3421 WILDER RD                                                                           BAY CITY         MI 48706‐2363
MAYHEW, MARY D           3421 WILDER ROAD                                                                         BAY CITY         MI 48706
MAYHEW, MILDRED M        15130 REO AVE                                                                            ALLEN PARK       MI 48101‐3535
MAYHEW, NANCY L          1150 ARMS RD                                                                             ESSEXVILLE       MI 48732‐9799
MAYHEW, NORMA J          479 NE MEADOWBROOK RD                                                                    KANSAS CITY      MO 64119‐3333
MAYHEW, PATRICIA G       11491 W CARSON CITY RD                                                                   GREENVILLE       MI 48838‐8138
MAYHEW, RANDAL M         520 LEAFWOOD DR                                                                          HIXSON           TN 37343‐3842
MAYHEW, RITA M           2526 SE 16TH PL APT 205                                                                  CAPE CORAL       FL 33904‐3259
MAYHEW, STEVEN H         5426 W MICHIGAN AVE APT 304                                                              LANSING          MI 48917
MAYHEW, VIRGINIA M       1167 BEACH DRIVE                                                                         LAKE ORION       MI 48360
MAYHEW, VIRGINIA M       1167 BEACH DR                                                                            LAKE ORION       MI 48360‐1203
MAYHEW, WALTER D         1117 CHECKERBERRY CT                                                                     HEMET            CA 92545‐7718
MAYHEW, WILLIAM          2751 MAPLEWOOD AVE                                                                       ANN ARBOR        MI 48104‐6632
MAYHILL, JOSEPH L        3073 S 850 E                                                                             WALTON           IN 46994
MAYHLE, DWIGHT H         P O BOX 712                                                                              CLARKSVILLE      PA 15322‐0712
MAYHLE, JERRY L          145 APPLE HILL RD                                                                        WAYNESBURG       PA 15370‐9324
MAYHLE, WILMA P          PO BOX 712                     30 MAIN ST                                                CLARKSVILLE      PA 15322‐0712
MAYHLE, WILMA P          30 MAIN ST PO BOX 712                                                                    CLARKSVILLE      PA 15322‐5322
MAYHO, VIVIAN Y          1625 SALEM AVENUE                                                                        DAYTON           OH 45406‐4922
MAYHO, VIVIAN Y          1625 SALEM AVE                                                                           DAYTON           OH 45406‐4922
MAYHONE, JOHN E          RR 1 BOX 153                                                                             WILLIAMSON       WV 25661‐9724
MAYHORN, JAY C           4130 HIGHWAY 77                                                                          NEWBERN          TN 38059‐6320
MAYHORN, MARCUS          3010 JUDITH RD                                                                           HARTLY           DE 19953‐3010
MAYHUE, HENRY D          4525 W TWAIN AVE SPC 6                                                                   LAS VEGAS        NV 89103‐1611
MAYHUE, ONTEAYA          730 GERMANTOWN CIR APT 727                                                               CHATTANOOGA      TN 37412‐1858
MAYHUE, RAYMOND          1530 BURTON ST SE                                                                        GRAND RAPIDS     MI 49507‐3746
MAYHUE, SALLY J          4525 W TWAIN AVE SPC 6                                                                   LAS VEGAS        NV 89103‐1611
MAYHUGH, FORREST G       5149 BENNETT LAWSON RD                                                                   MANSFIELD        TX 76063‐3031
MAYHUGH, LARRY A         6542 FOXTAIL LN                                                                          MAUMEE           OH 43537‐9672
MAYHUGH, LARRY ALLEN     6542 FOXTAIL LN                                                                          MAUMEE           OH 43537‐9672
MAYHUGH, VIVIAN          1172 WHITE OAK ROAD                                                                      AMELIA           OH 45102‐1643
MAYJO ERFOURTH           4459 JOAN DR                                                                             CLIO             MI 48420‐9406
MAYKA, JOHN S            1120 BEECH CT                                                                            CUMMING          GA 30041‐9302
MAYKET, GEORGE P         19702 E HWY 80                                                                           WELLTON          AZ 85356
MAYKOWSKI, LAWRENCE H    8697 WINCHESTER DR                                                                       STERLING HTS     MI 48313‐3169
MAYL, JOHN W             1101 BAILEY AVE                                                                          VANDALIA         OH 45377‐1604
MAYL, JULIE E            400 REDWOOD AVE                                                                          DAYTON           OH 45405‐5136
MAYL, KATHLEEN G         8755 OLDE HICKORY A‐7105                                                                 SARASOTA         FL 34238‐4366
MAYLAND MCGINNIS         118 RIVERSIDE DR                                                                         HACKBERRY        LA 70645‐4115
MAYLAND, MICHAEL W       7980 ORANGE PLAINS DRIVE                                                                 SPARKS           NV 89436‐8737
MAYLE WILBERT (429398)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                        STREET, SUITE 600
MAYLE, ALICE O           5786 YOUNGSTOWN‐HUBBARD RD                                                               HUBBARD         OH 44425‐2552
MAYLE, ALICIA L          5524 FM 2738                                                                             BURLESON        TX 76028‐0107
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Name                    Address1                          Address2                      Address3   Address4         City            State Zip
MAYLE, ALICIA LEMERLE   5524 FM 2738                                                                                BURLESON         TX 76028‐0107
MAYLE, BOBBY L          3670 SCHOTTEN RD                                                                            HUBBARD          OH 44425‐8714
MAYLE, CHARLES M        2817 E BLUEWATER HWY                                                                        IONIA            MI 48846‐9729
MAYLE, COZETTA          31500 AVONDALE ST                                                                           WESTLAND         MI 48186‐4902
MAYLE, DARREL L         17526 VACRI LN                                                                              LIVONIA          MI 48152‐3120
MAYLE, DARREL LEO       17526 VACRI LN                                                                              LIVONIA          MI 48152‐3120
MAYLE, DARRELL L        APT J                             8 HOWARD STREET                                           GRAFTON          WV 26354‐1561
MAYLE, DEAN A           8364 E OLIVE RD                                                                             WHEELER          MI 48662‐9702
MAYLE, DONALD L         348 HAWKSMOOR DR                                                                            DANIELS          WV 25832‐9042
MAYLE, DOROTHY          1950 ROSWELL RD                   APT 3B7                                                   MARIETTA         GA 30068
MAYLE, ESPERANZA        44694 DIONNE ST                                                                             CANTON           MI 48188‐2410
MAYLE, GERRY E          44694 DIONNE ST                                                                             CANTON           MI 48188‐2410
MAYLE, HUGH A           108 WINDHAM RD                                                                              NEWTON FALLS     OH 44444‐1253
MAYLE, JAMES C          37510 JEFFERSON AVE APT 101                                                                 HARRISON TWP     MI 48045‐2672
MAYLE, JOE ANNE         8 HOWARD ST APT J                                                                           GRAFTON          WV 26354‐1561
MAYLE, JOYCE A          PO BOX 481                        249 PARK AVE                                              BOLIVAR          OH 44612‐0481
MAYLE, KAYLYNN          1921 OVERLOOK AVE                                                                           YOUNGSTOWN       OH 44509‐2202
MAYLE, KENNETH J        1950 ROSWELL RD APT 3B7                                                                     MARIETTA         GA 30068‐5032
MAYLE, MARGARET L       2456 E DODGE RD                                                                             CLIO             MI 48420‐9748
MAYLE, MOZELLE          3800 RICHFIELD APT 311                                                                      FLINT            MI 48506
MAYLE, NORMA L          6615 WATERS EDGE WAY                                                                        BRADENTON        FL 34202‐2255
MAYLE, PAUL J           17587 BRILL DR                                                                              CLINTON TWP      MI 48035‐2316
MAYLE, ROSALEE          64 ROMAINE AVE                                                                              YOUNGSTOWN       OH 44512‐3301
MAYLE, ROSALEE          64 ROMAINE                                                                                  YOUNGSTOWN       OH 44512‐3301
MAYLE, THOMAS           722 HECHT DR                                                                                MADISON HTS      MI 48071‐2866
MAYLE, WILBERT          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                          STREET, SUITE 600
MAYLINE ETHERINGTON     9019 W 150 S                                                                                RUSSIAVILLE     IN    46979‐9745
MAYLONE, CARL F         4178 SILVER BIRCH DR                                                                        WATERFORD       MI    48329‐3871
MAYLONE, JOHN W         19591 HORSESHOE LAKE DR                                                                     HILLMAN         MI    49746‐7992
MAYLUM, HELEN C         9225 TOPANGA CANYON BLVD APT 63                                                             CHATSWORTH      CA    91311‐5745
MAYLUM, KEITH A         12323 OAKLAND AVE                                                                           MOUNT MORRIS    MI    48458‐1427
MAYLUM, KEITH ALAN      12323 OAKLAND AVE                                                                           MOUNT MORRIS    MI    48458‐1427
MAYLUM, LE ROY T        PO BOX 93                         311 ANN ST                                                BYRON           MI    48418‐0093
MAYLUM, R H             148 HOLBROOKE WAY                                                                           GRASS VALLEY    CA    95945‐9700
MAYME ABROM             2721 W 38TH ST                                                                              ANDERSON        IN    46011‐9038
MAYME ARNOLD            PO BOX 489 ROOM #165                                                                        HAYTI           MO    63851
MAYME BRUNACINI         4310 WELLESLEY                                                                              ALBUQUERQUE     NM    87107
MAYME C WHITTAKER       6130 TAYLORSVILLE RD                                                                        HUBER HEIGHTS   OH    45424‐2952
MAYME CLEVELAND         G5402 HORTON ST                                                                             FLINT           MI    48505‐1784
MAYME EATON             45302 COUNTY ROAD 388             C/O NANCY K FUSCO                                         BLOOMINGDALE    MI    49026‐8743
MAYME FARRIS            PO BOX 15                                                                                   HALES CORNERS   WI    53130‐0015
MAYME L CLEVELAND       G5402 HORTON ST                                                                             FLINT           MI    48505‐1784
MAYME LETTERMAN         8204 RACINE RD                                                                              WARREN          MI    48093‐6746
MAYME MARSH N           7012 OLD STATE HIGHWAY 28                                                                   PIKEVILLE       TN    37367‐4410
MAYME MCCONNAUGHHAY     7349 CROSS CREEK DR                                                                         SWARTZ CREEK    MI    48473‐1712
MAYME MOORE             2898 OTSEGO RD                                                                              WATERFORD       MI    48328‐3248
MAYME P SHELDON         C/O LEWIS F MATUSZEWICH           453 COVENTRY LN STE 104                                   CRYSTAL LAKE     IL   60014
MAYME PATE              158 BROOKSIDE DR                                                                            NEW WHITELAND   IN    46184‐1238
MAYME ROBERTSON         2882 BLUEWOOD WAY                                                                           PLAINFIELD      IN    46168‐4805
MAYME THOMAS            PO BOX 134                                                                                  DITTMER         MO    63023‐0134
MAYME WALLACE           3328 EAST 25TH STREET                                                                       INDIANAPOLIS    IN    46218‐3718
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Name                                 Address1                        Address2                        Address3   Address4         City            State Zip
MAYME WHITTAKER                      6130 TAYLORSVILLE RD                                                                        HUBER HEIGHTS    OH 45424‐2952
MAYME WILSON                         8900 E JEFFERSON AVE APT 213                                                                DETROIT          MI 48214‐2890
MAYME ZALLAR                         1316 EAST 354TH STREET                                                                      EASTLAKE         OH 44095‐3112
MAYNARD ADDATO                       301 ROGERS POINT RD                                                                         STEUBEN          ME 04680‐3303
MAYNARD ANNA B (654769)              THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                        BOSTON           MA 02110‐2104
MAYNARD ARGUE                        4307 FERN AVE                                                                               BURTON           MI 48529‐2450
MAYNARD ASHBY                        547 ROMAN DR                                                                                TRAVERSE CITY    MI 49684‐8132
MAYNARD ATLAS                        MAYNARD, ATLAS                  109 FUTCH CREED RD                                          WILMINGTON       NC 28411
MAYNARD AUTO SERVICE                 350 MAIN ST W                                                                               MAYNARD           IA 50655
MAYNARD BALLING                      211 N COLONIAL DR                                                                           CORTLAND         OH 44410‐1107
MAYNARD BATES                        16740 S FENMORE RD                                                                          BANNISTER        MI 48807‐9334
MAYNARD BEECH                        4370 WILLOUGHBY RD                                                                          HOLT             MI 48842‐9763
MAYNARD BRITTON                      630 SAINT CLAIR AVE APT 14                                                                  HAMILTON         OH 45015‐3002
MAYNARD BUDDY (ESTATE OF) (492622)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                                     PROFESSIONAL BLDG
MAYNARD BUNN JR                      127 CHARLESCREST CT                                                                         WEST SENECA     NY   14224‐3809
MAYNARD BUNTING                      10 WILBUR RD                                                                                BALTIMORE       MD   21221‐1444
MAYNARD BURNETTE                     13204 TELEGRAPH RD                                                                          FLAT ROCK       MI   48134‐9612
MAYNARD CARD                         2671 KUHLMAN DR                                                                             SAGINAW         MI   48603‐3032
MAYNARD CARPENTER                    10330 WEST THUNDERBIRD BLVD     APT 333                                                     SUN CITY        AZ   85351
MAYNARD CHARLES E (429399)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510
                                                                     STREET, SUITE 600
MAYNARD CHAROLETTE                   3813 STEPPING STONE LN                                                                      BURTONSVILLE    MD   20866‐1936
MAYNARD CLARKE                       PO BOX 2451                                                                                 DARIEN          GA   31305‐2451
MAYNARD CLYDE                        7600 DARRIN AVE                                                                             BAKERSFIELD     CA   93308‐7219
MAYNARD COOPER & GALE PC             2400 AMSOUTH HARBERT PLZ        1901 6TH AVE N                                              BIRMINGHAM      AL   35203‐4604
MAYNARD COOPER & GALE PC             1901 6TH AVE N STE 2400                                                                     BIRMINGHAM      AL   35203‐4604
MAYNARD CORNELL                      1526 MASSACHUSETTS AVE                                                                      LANSING         MI   48906‐4615
MAYNARD CURRENT                      2721 MEADOWBROOK LN                                                                         GREELEY         CO   80634‐7538
MAYNARD CUSHMAN                      9549 SPRINGBORO PIKE                                                                        MIAMISBURG      OH   45342‐5078
MAYNARD D CARPENTER                  10330 WEST THUNDERBIRD BLVD     APT 333                                                     SUN CITY        AZ   85351
MAYNARD DANNIE B (439307)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510
                                                                     STREET, SUITE 600
MAYNARD DAVID B (492623)             HUMPHREYS JAMES F               BANK ONE PLAZA STE 1113 , 707                               CHARLESTON      WV 25301
                                                                     VIRGINIA ST E
MAYNARD DIANNA                       2506 HIDDEN COVE CT APT D                                                                   GAINESVILLE     GA   30501‐1693
MAYNARD DUBOSE, APRIL L              2803 RIVERSIDE DR APT 4603                                                                  GRAND PRAIRIE   TX   75050‐8747
MAYNARD DUNKLE                       201 CENTER ST                                                                               HURON           OH   44839‐1604
MAYNARD E CARNEY                     C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                   HOUSTON         TX   77007
                                     BOUNDAS LLP
MAYNARD ELDER                        529 W MAIN ST                                                                               GRAND LEDGE     MI   48837‐1041
MAYNARD F PRICE                      2320 W GRAND RIVER RD                                                                       OWOSSO          MI   48867‐8703
MAYNARD GROSS                        1331 FERDEN RD                                                                              NEW LOTHROP     MI   48460‐9616
MAYNARD HAKES                        1122 FOREST AVE                                                                             BELOIT          WI   53511‐6031
MAYNARD HAMLIN                       4309 ORCHARD LN                                                                             CINCINNATI      OH   45236‐3128
MAYNARD HAMMETT                      4110 PEMBROKE CT                                                                            DECATUR         GA   30034‐5933
MAYNARD HAROLD & SHERRY              950 N PRICETOWN RD                                                                          DIAMOND         OH   44412‐9603
MAYNARD HAUGEN                       3220 INDEPENDENCE DR APT 110                                                                DANVILLE        IL   61832‐7922
MAYNARD HELMER                       1235 YEOMANS ST                                                                             IONIA           MI   48846‐1931
MAYNARD HOLBROOK                     916 THORPE DR                                                                               SANDUSKY        OH   44870‐1625
MAYNARD HOLMES                       941 SHELLBARK WAY                                                                           LADY LAKE       FL   32162‐4076
MAYNARD JACKSON                      2255 WEXFORD DR                                                                             ATLANTA         GA   30349‐4351
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Name                             Address1                             Address2                       Address3                 Address4             City                 State Zip
MAYNARD JIMMY                    PO BOX 123                                                                                                        DENVER CITY           TX 79323‐0123
MAYNARD JONES JR                 4106 JEFFERSON ST                                                                                                 BURTON                MI 48509‐1443
MAYNARD JR, BRYSON               PO BOX 382                                                                                                        CYNTHIANA             KY 41031‐0382
MAYNARD JR, JOHN                 12 OAK DR                                                                                                         HUNTINGTON            WV 25704‐9355
MAYNARD JR, RAY                  8101 N OAK FLAT RD                                                                                                MUNCIE                IN 47303‐9310
MAYNARD JR, RAYMOND E            304 MILES ST                                                                                                      ALEXANDRIA            IN 46001‐1956
MAYNARD JR, WARREN D             1902 CENTER RD                                                                                                    KENDALL               NY 14476‐9739
MAYNARD KELLER JR                19 PARKWIND CT                                                                                                    BALTIMORE             MD 21234‐4236
MAYNARD KEMPF                    855 W JEFFERSON ST LOT 94                                                                                         GRAND LEDGE           MI 48837‐1380
MAYNARD KRANZ                    5366 CHICKASAW TRL                                                                                                FLUSHING              MI 48433‐1076
MAYNARD LOWE                     13527 CO. RD. 14‐2                                                                                                WAUSEON               OH 43567
MAYNARD MANUFACTURING DIVISION   DAN BAUMGARTEN                       50855 E RUSSELL SCHMIDT BLVD                            NECKARSULM GERMANY

MAYNARD MARSMAN                  PO BOX 72                                                                                                         COOPERSVILLE         MI    49404‐0072
MAYNARD MASSEY                   2710 FREMBES RD                                                                                                   WATERFORD            MI    48329‐3615
MAYNARD MAYS                     2100 MATTIS DR                                                                                                    DAYTON               OH    45439‐2616
MAYNARD MAYS                     2100 MATTIS DRIVE                                                                                                 DAYTON               OH    45439‐2616
MAYNARD MCMAHON & PATRICIA       210 SHERMAN DR                                                                                                    RED BLUFF            CA    96080
MCMAHON TTEES
MAYNARD MFG, SPX CORPORATION     ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 91875                                                                 CHICAGO               IL   60693‐1875
                                 AGENT
MAYNARD MILLER                   2917 CHESTER RD R 5                                                                                               CHARLOTTE            MI    48813
MAYNARD MILLER                   4330 MEADOW LN                                                                                                    OSCODA               MI    48750‐1335
MAYNARD MOON                     1060 E MAPLE RAPIDS RD                                                                                            SAINT JOHNS          MI    48879‐8421
MAYNARD MULLINS JR               PO BOX 278                                                                                                        WEST BRANCH          MI    48661‐0278
MAYNARD O BREEDLOVE              2290 SALT SPRINGS RD                                                                                              WARREN               OH    44481
MAYNARD OCONNOR SMITH &          CATALINOTTO LLP                      80 STATE ST STE 7              NAME CHNGE LOF 6/25/96                        ALBANY               NY    12207‐2543
                                                                                                     9\22\98
MAYNARD PETERSON                 9320 HUDSON RD                                                                                                    PITTSFORD            MI    49271‐9653
MAYNARD PETERSON                 601 W PIERSON RD                                                                                                  FLUSHING             MI    48433‐2606
MAYNARD PRICE                    2320 W GRAND RIVER RD                                                                                             OWOSSO               MI    48867‐8703
MAYNARD REED                     10221 ALLEN DR                                                                                                    MONTROSE             MI    48457‐9732
MAYNARD ROBINETTE                37400 CURWOOD DR                                                                                                  STERLING HEIGHTS     MI    48310‐3520
MAYNARD ROGER                    MAYNARD, ANDREA                      SMITH, GREG K                  PO BOX 1037                                   WILLIAMSON           WV    25661
MAYNARD ROGER                    MAYNARD, ROGER                       SMITH, GREG K                  PO BOX 1037                                   WILLIAMSON           WV    25661
MAYNARD ROZEBOOM                 1094 BIG SKY DR                                                                                                   FENTON               MO    63026‐5675
MAYNARD SCHMIDT JR               14255 SE 85TH AVE                                                                                                 SUMMERFIELD          FL    34491‐9382
MAYNARD SHELLY                   3706 GAVIOTA AVE                                                                                                  LONG BEACH           CA    90807‐4329
MAYNARD SIDIE                    8930 S AVON STORE RD                                                                                              BRODHEAD             WI    53520‐9330
MAYNARD SIEGERS                  1271 MALCOLM DR                                                                                                   WATERFORD            MI    48327‐4125
MAYNARD SMITH                    618 S FAIRVIEW AVE                                                                                                LANSING              MI    48912‐2920
MAYNARD SUMNER                   5240 ROBERTS DR                                                                                                   FLINT                MI    48506‐1554
MAYNARD TIMM                     783 WOODDALE RD                                                                                                   BLOOMFIELD VILLAGE   MI    48301‐2468
MAYNARD V BALLING                211 N. COLONIAL DR.                                                                                               CORTLAND             OH    44410‐1107
MAYNARD VANDERCOOK               4907 MARY JO RD                                                                                                   HARRISON             MI    48625‐8609
MAYNARD VEZINA                   8906 NASHVILLE AVE                                                                                                OAK LAWN             IL    60453‐1064
MAYNARD WALLACE                  MAYNARD, WALLACE                     204 N COURT ST                                                               FAYETTEVILLE         WV    25840‐1212
MAYNARD WALLACE                  MAYNARD, ALYSSA B                    HEWITT & SALVATORE             204 NORTH COURT STREET                        FAYETTEVILLE         WV    25840
MAYNARD WASH                     17578 CAMBRIDGE BLVD                                                                                              LATHRUP VLG          MI    48076‐3571
MAYNARD WEBB                     C/O COONEY & CONWAY                  120 N LA SALLE 30TH FL                                                       CHICAGO              IL    60602
MAYNARD WILKES                   2850 ALUM CREEK DR APT 104                                                                                        COLUMBUS             OH    43207‐2866
MAYNARD WILSON                   11300 W FILLMORE RD                                                                                               SUMNER               MI    48889‐9706
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Name                            Address1                             Address2                      Address3   Address4         City            State Zip
MAYNARD WITMER JR               1827 DALTON DR                                                                                 THE VILLAGES     FL 32162‐7612
MAYNARD WYCKOFF JR              10519 N TWIN CREEK RD                                                                          IRONS            MI 49644‐8602
MAYNARD YODER                   7635 AKRON RD                                                                                  LOCKPORT         NY 14094‐9309
MAYNARD ZENTZ                   11334 MCDOWELL DR                                                                              INDIANAPOLIS     IN 46229‐2237
MAYNARD'S AUTOMOTIVE            ATTN: JEFF MAYNARD                   1535 ECORSE RD                                            YPSILANTI        MI 48198‐6071
MAYNARD, ALETAMARIE M           2070 KENDALL RD                                                                                KENDALL          NY 14476‐9758
MAYNARD, AMBER L                5331 FRANKLIN CHURCH RD                                                                        GREENWICH        OH 44837‐9658
MAYNARD, AMY J                  9277 SEMINDALE                                                                                 CLARKSTON        MI 48346‐1854
MAYNARD, ANDREA                 SMITH, GREG K                        PO BOX 1037                                               WILLIAMSON       WV 25661‐1037
MAYNARD, ANN L                  16406 GRANDVIEW DR                                                                             MACOMB           MI 48044‐4069
MAYNARD, ANNA B                 THORNTON EARLY & NAUMES              100 SUMMER ST LBBY 3                                      BOSTON           MA 02110‐2104
MAYNARD, ANNA M                 P O 313 GRAND AVE C‐O M JONES                                                                  COLLINSVILLE     AL 35961
MAYNARD, ANTHONY R              2004 N BRENTWOOD LN                                                                            MUNCIE           IN 47304‐2514
MAYNARD, ARLENE A               PO BOX 13040                                                                                   PRESCOTT         AZ 86304‐3040
MAYNARD, ARTHUR M               215 PEARL ST APT 1                                                                             MEDINA           NY 14103
MAYNARD, ATLAS                  109 FUTCH CREEK RD                                                                             WILMINGTON       NC 28411‐9369
MAYNARD, BARNEY E               9491 N 200 E                                                                                   ALEXANDRIA       IN 46001‐8310
MAYNARD, BESSIE G               310 GILLEN DR                                                                                  SPARTA           TN 38583‐1406
MAYNARD, BESSIE G               310 GILLEN DRIVE                                                                               SPARTA           TN 38583‐1406
MAYNARD, BETTY K                4304 W 1ST ST                                                                                  COMINS           MI 48619
MAYNARD, BETTY L                370 SPRINGBROOK DR APT 102                                                                     MEDINA           OH 44256‐3622
MAYNARD, BETTY L                568 LOTUS AVE                                                                                  TOLEDO           OH 43609‐3308
MAYNARD, BETTY L                370 SPRINGBROOK DR                   APT 102                                                   MEDINA           OH 44256
MAYNARD, BILLY A                7380 114TH ST                                                                                  FLUSHING         MI 48433‐8765
MAYNARD, BILLY B                817 MEADOW CREEK CT                                                                            CLEBURNE         TX 76033‐8283
MAYNARD, BILLY E                5651 S GULLEY RD                                                                               DEARBORN HTS     MI 48125‐1726
MAYNARD, BILLY F                11128 S 600 E                                                                                  LA FONTAINE      IN 46940‐9218
MAYNARD, BOBBY J                482 PRIVATE RD 1664 CR 171                                                                     SCOTTOWN         OH 45678
MAYNARD, BRENDA                 G3237 W COURT ST                                                                               FLINT            MI 48532
MAYNARD, BRETT                  1728 SOUTH HOLT AVENUE                                                                         LOS ANGELES      CA 90035‐4306
MAYNARD, BRETT                  1412 STANFORD AVE                    F                                                         REDONDO BEACH    CA 90278
MAYNARD, BURL                   RR 1 BOX 700                                                                                   GENOA            WV 25517‐9744
MAYNARD, CARL T DBA ARMADILLO   ATTN: CORPORATE OFFICER/AUTHORIZED   7155 OLD KATY RD              STE 283                     HOUSTON          TX 77024‐2195
SECURITY SERVICE                AGENT
MAYNARD, CARMIE C               1022 CAMP CREEK RD                                                                             WAYNESVILLE     OH 45068‐9214
MAYNARD, CARRIE K               732 YOUN KIN PKWY S                                                                            COLUMBUS        OH 43207‐4757
MAYNARD, CHARLES E              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                                     STREET, SUITE 600
MAYNARD, CHARLES E              4277 JIM CUMMINGS HWY                                                                          WOODBURY        TN   37190‐5867
MAYNARD, CHARLES G              2278 PLACID TERRACE                                                                            THE VILLAGES    FL   32162
MAYNARD, CHARLES G              PO BOX 185                           5979 PARK LN                                              OLCOTT          NY   14126‐0185
MAYNARD, CHARLES J              4683 SCENIC RIVER DR                                                                           ALGER           MI   48610‐9341
MAYNARD, CHARLES R              17157 N 100 W                                                                                  SUMMITVILLE     IN   46070‐9358
MAYNARD, CHARLES R              PO BOX 148                                                                                     SAINT CLAIR     MI   48079‐0148
MAYNARD, CHARLES T              333 HOWARD ST                                                                                  MEDINA          OH   44256‐1737
MAYNARD, CHARLES W              PO BOX 762                                                                                     OLCOTT          NY   14126‐0762
MAYNARD, CLARENCE R             PO BOX 351                                                                                     SUMMITVILLE     IN   46070‐0351
MAYNARD, CLETIS                 2186 WEST 10TH                                                                                 CLEVELAND       OH   44113
MAYNARD, CLYDE                  293 TOWNSHIP ROAD 1345                                                                         SOUTH POINT     OH   45680‐7244
MAYNARD, CONNIE                 1746 GARFIELD AVE                                                                              LINCOLN PARK    MI   48146‐2223
MAYNARD, DANNIE B               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                                     STREET, SUITE 600
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Name                      Address1                      Address2                       Address3   Address4         City               State Zip
MAYNARD, DANNY E          G3237 W COURT ST                                                                         FLINT               MI 48532‐5027
MAYNARD, DANNY J          820 CHIPPEWA DR                                                                          DEFIANCE            OH 43512‐3374
MAYNARD, DANNY JOE        820 CHIPPEWA DR                                                                          DEFIANCE            OH 43512‐3374
MAYNARD, DARRELL A        30726 HIVELEY ST                                                                         WESTLAND            MI 48186‐5084
MAYNARD, DAVID A          39425 N BLOM DR                                                                          SELFRIDGE ANGB      MI 48045‐1706
MAYNARD, DAVID BLAIR      HUMPHREYS JAMES F             BANK ONE PLAZA STE 1113, 707                               CHARLESTON          WV 25301
                                                        VIRGINIA ST E
MAYNARD, DEBRA L.         2803 N COCHRAN RD                                                                        CHARLOTTE          MI   48813‐9703
MAYNARD, DENNIS C.        1197 EMERY RIDGE DR                                                                      BATAVIA            OH   45103‐4047
MAYNARD, DONNA H          PO BOX 351                                                                               SUMMITVILLE        IN   46070‐0351
MAYNARD, DONNIE L         246 AARON BRANCH RD                                                                      GAINESBORO         TN   38562‐5463
MAYNARD, DREXEL O         22241 STUDIO ST                                                                          TAYLOR             MI   48180‐2474
MAYNARD, ELEANOR M        373 COVE VIEW DR                                                                         WATERFORD          MI   48327‐3785
MAYNARD, ELIZA L          PO BOX 65                                                                                SULLIVANS ISLAND   SC   29482‐0065
MAYNARD, ELLA B           3292 FRANCES LN                                                                          KOKOMO             IN   46902‐9706
MAYNARD, ELVA             8629 CHRISTY RD                                                                          DEFIANCE           OH   43512‐9614
MAYNARD, ERIN E           11222 E COUNTY ROAD 700 N                                                                WILKINSON          IN   46186
MAYNARD, EUNICE M         6163 CORWIN AVE                                                                          NEWFANE            NY   14108‐1122
MAYNARD, FRANCES A        435 COUNTY ROAD 389                                                                      CENTRE             AL   35960‐6752
MAYNARD, FRANCES A        435 COUNTY RD 389                                                                        CENTER             AL   35960‐6752
MAYNARD, GARY D           2908 W KEPNER DR                                                                         MUNCIE             IN   47302‐8825
MAYNARD, GERALDINE        5011 HIBBS DRIVE                                                                         COLUMBUS           OH   43220‐2644
MAYNARD, GLEN J           RR 2 BOX 2499                                                                            WAYNE              WV   25570‐9762
MAYNARD, GLEN T           3086 QUICK RD                                                                            HOLLY              MI   48442‐1059
MAYNARD, GLEN TODD        3086 QUICK RD                                                                            HOLLY              MI   48442‐1059
MAYNARD, GREGORY G        107 CHESTNUT STREET                                                                      LEETONIA           OH   44431‐1002
MAYNARD, HARLESS H        1022 CAMP CREEK RD                                                                       WAYNESVILLE        OH   45068‐9214
MAYNARD, HAZEL R          3505 N LANEWOOD DR                                                                       MUNCIE             IN   47304‐1844
MAYNARD, HAZEL R          3505 N. LANEWOOD                                                                         MUNCIE             IN   47304‐1844
MAYNARD, HECK             727 ALLEN ST                                                                             FERNDALE           MI   48220‐3201
MAYNARD, HESTER P         P O BOX 2202                                                                             COOKEVILLE         TN   38502‐2202
MAYNARD, HESTER P         PO BOX 2202                                                                              COOKEVILLE         TN   38502‐2202
MAYNARD, HOMER R          1534 JUNCTION ST                                                                         DETROIT            MI   48209‐2108
MAYNARD, IRVING L         8341 S LUCAS RD                                                                          MC BAIN            MI   49657‐9111
MAYNARD, J C              612 GREEN ST                                                                             TIPTON             IN   46072‐1236
MAYNARD, JACK G           5 BUCKEYE CIR                                                                            COLUMBUS           OH   43217‐1011
MAYNARD, JAMES A          2000 SPARKS CHAPEL RD                                                                    BURKESVILLE        KY   42717‐9118
MAYNARD, JANIS M          PO BOX 163                                                                               EAST TAWAS         MI   48730‐0163
MAYNARD, JERRY B          5331 FRANKLIN CHURCH RD                                                                  GREENWICH          OH   44837‐9658
MAYNARD, JOE M            46063 MIDDLE BRANCH CT                                                                   MACOMB             MI   48044‐5763
MAYNARD, JOHN             2585 MAIN ST                                                                             NEWFANE            NY   14108‐1020
MAYNARD, JOHN A           891 W MAYNARD RD                                                                         SANFORD            MI   48657‐9415
MAYNARD, JOHN K           3605 HARDING DR                                                                          COLUMBUS           OH   43228‐1427
MAYNARD, JOHNNIE D        219 PRESSLEY RD                                                                          VONORE             TN   37885‐2119
MAYNARD, JULIE A          9335 BORROR RD                                                                           ORIENT             OH   43146‐9520
MAYNARD, JURRY A          2674 N LAKE PLEASANT RD                                                                  ATTICA             MI   48412‐9248
MAYNARD, KATHRYN HOWARD   1624 WILLOW BEND WAY APT A                                                               TALLAHASSEE        FL   32301‐6009
MAYNARD, KELLY A          2886 DEL LARGO WAY                                                                       FRISCO             TX   75034‐4734
MAYNARD, KEN              5291 STEVER RD                                                                           DEFIANCE           OH   43512‐9736
MAYNARD, LARAINE J        49622 W HURON RIVER DR                                                                   BELLEVILLE         MI   48111‐2562
MAYNARD, LARRY D          2431 BURNS ST                                                                            YPSILANTI          MI   48197‐4303
MAYNARD, LARRY R          3377 W 88TH ST                                                                           CLEVELAND          OH   44102‐4858
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Name                     Address1                       Address2            Address3         Address4              City                State Zip
MAYNARD, LAURIE J        44089 CYPRESS POINT DR                                                                    NORTHVILLE           MI 48168‐9658
MAYNARD, LAWRENCE        1115 W MONROE ST                                                                          ALEXANDRIA           IN 46001‐8112
MAYNARD, LEWIS F         258 WHITWORTH DR SW                                                                       ATLANTA              GA 30331‐3816
MAYNARD, LINDSEY E       4604 HARPETH PEYTONSVILLE RD                                                              THOMPSONS STATION    TN 37179‐9201
MAYNARD, LLOYD J         8805 CARGILL RD                                                                           MARLETTE             MI 48453‐9363
MAYNARD, LOIS A          408 MARION AVE                                                                            WATERFORD            MI 48328‐3232
MAYNARD, LOLA            4627 MANKATO AVENUE                                                                       ROYAL OAK            MI 48073‐1629
MAYNARD, LONNIE B        12824 E 51ST ST S                                                                         INDEPENDENCE         MO 64055‐5524
MAYNARD, LONNIE E        2387 KOHLER ST                                                                            WATERFORD            MI 48329‐3755
MAYNARD, LONNIE I        7333 ELM RIDGE DR                                                                         INDIANAPOLIS         IN 46236
MAYNARD, LOUIS M         3162 BRIARLANE RD                                                                         FARWELL              MI 48622‐9770
MAYNARD, LUCIAN J        RR 1 BOX 46                                                                               HARTS                WV 25524‐9789
MAYNARD, LUCY            5017 BRUSHEY RD                                                                           VARNEY               KY 41571
MAYNARD, LYNN E          5291 STEVER RD                                                                            DEFIANCE             OH 43512‐9736
MAYNARD, MARGARET        1828 DEWHURST AVE                                                   CORNWALL ON K6J 5H4
                                                                                             CANADA
MAYNARD, MARION H        410 S 3RD ST                                                                              GAS CITY            IN   46933‐1817
MAYNARD, MARK L          16562 KENMORE RD                                                                          KENDALL             NY   14476‐9611
MAYNARD, MARLENE SUE     304 S MAIN ST                                                                             FAIRMOUNT           IN   46928‐1927
MAYNARD, MARSHALL Z      1515 W BOWMAN ST                                                                          MUNCIE              IN   47304‐2729
MAYNARD, MARSHALL ZIHN   1515 W BOWMAN ST                                                                          MUNCIE              IN   47304‐2729
MAYNARD, MARY B          1115 W MONROE ST                                                                          ALEXANDRIA          IN   46001‐8112
MAYNARD, MARY V          1123 EDMONDSON AVE # A21                                                                  INDIANAPOLIS        IN   46219‐3524
MAYNARD, MARY V          1123 N EDMONDSON AVE APT A21                                                              INDIANAPOLIS        IN   46219‐3580
MAYNARD, MAXINE L        1030 S 30TH ST APT 302                                                                    HEATH               OH   43056
MAYNARD, MINNIE M        312 MILES ST                                                                              ALEXANDRIA          IN   46001‐1956
MAYNARD, MITCHELL L      2704 DONITHON RD                                                                          LOUISA              KY   41230‐8586
MAYNARD, NORMAN E        6138 CRABTREE LN                                                                          BURTON              MI   48519‐1304
MAYNARD, PATRICIA A      HC 69 BOX 286                                                                             BEAUTY              KY   41203‐9702
MAYNARD, PATRICIA A      83 EDERETT ROAD                                                                           BEAUTY              KY   41203
MAYNARD, PATRICIA C      50844 MIDDLE RIVER DR                                                                     MACOMB TWP          MI   48044‐1213
MAYNARD, PATRICIA C      22041 SYLVAN AVE                                                                          BROWNSTOWN          MI   48134‐9008
MAYNARD, PAUL B          4304 W 1ST ST                                                                             COMINS              MI   48619
MAYNARD, PAUL D          6225 HOLLOW LANE                                                                          MEDINA              OH   44256‐7867
MAYNARD, PAUL D          6225 HOLLOW LN                                                                            MEDINA              OH   44256‐7867
MAYNARD, PAULA L         8544 CHATEAUGAY DR                                                                        INDIANAPOLIS        IN   46217‐6805
MAYNARD, RICK L          146 GLADE RD                                                                              CUMBERLAND GAP      TN   37724‐4233
MAYNARD, RICK L          10339 STRAWBERRY LNPOBX 845                                                               LAKELAND            MI   48143
MAYNARD, RICKY E         3128 NILES FERRY RD                                                                       VONORE              TN   37885
MAYNARD, ROBERT A        91 S NANAGOSA TRL                                                                         SUTTONS BAY         MI   49682‐9623
MAYNARD, ROBERT B        PO BOX 4663                                                                               LINDEN              NJ   07036‐8663
MAYNARD, ROBERT F        93 CULVER RD                                                                              BUFFALO             NY   14220‐2217
MAYNARD, ROGER           SMITH, GREG K                  PO BOX 1037                                                WILLIAMSON          WV   25661‐1037
MAYNARD, ROGER C         1090 KATHLEEN DR                                                                          LAPEER              MI   48446‐3724
MAYNARD, RONALD S        303 E DELAWARE ST                                                                         SUMMITVILLE         IN   46070‐9728
MAYNARD, RONNIE K        409 S LOCK AVE                                                                            LOUISA              KY   41230‐1323
MAYNARD, RUSSELL A       423 N SUFFOUX                                                                             IRONWOOD            MI   49938
MAYNARD, RUSSELL A       423 NORTH SUFFOLK STREET                                                                  IRONWOOD            MI   49938‐2029
MAYNARD, SAMUEL J        9335 BORROR RD                                                                            ORIENT              OH   43146‐9520
MAYNARD, SCOTT W         1755 ROYAL OAK ST SW                                                                      WYOMING             MI   49519‐3349
MAYNARD, SHERRIE L       1048 E RIVERVIEW AVE                                                                      NAPOLEON            OH   43545‐5777
MAYNARD, SHERRIE LYNN    1048 E RIVERVIEW AVE                                                                      NAPOLEON            OH   43545‐5777
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Name                              Address1                              Address2                      Address3   Address4               City                State Zip
MAYNARD, SHIRLEY A                254 CAREYS RUN POND CREEK RD. LOT F                                                                   WEST PORTSMOUTH      OH 45663

MAYNARD, SHIRLEY M                8501 KATHERINE ST                                                                                     TAYLOR              MI   48180‐2871
MAYNARD, STEVEN A                 2996 HADDEN RD                                                                                        ROCHESTER           MI   48306‐1130
MAYNARD, SUSAN                    904 CASHMERE DRIVE                                                                                    THOMPSONS STATION   TN   37179
MAYNARD, THOMAS J                 6402 SUNRISE TRL                                                                                      HARRISON            MI   48625‐7821
MAYNARD, WANDA J                  712 HENLEY AVE                                                                                        FAIRMOUNT           IN   46928
MAYNARD, WILLIAM C                HC 69 BOX 286                                                                                         BEAUTY              KY   41203‐9702
MAYNARD, WILLIAM E                174 METAL FORD RD                                                                                     HOHENWALD           TN   38462‐2531
MAYNARD, WILLIAM E                7653 COON CLUB RD                                                                                     MEDINA              OH   44256‐9178
MAYNARD, WILLIAM H                PO BOX 193                                                                                            MUNFORDVILLE        KY   42765‐0193
MAYNARD, WILLIAM H                4309 S MERIDIAN ST                                                                                    MARION              IN   46953‐5402
MAYNARD, WILLIAM L                9065 W 00 NS                                                                                          KOKOMO              IN   46901‐9739
MAYNARD, WILMA J                  5984 OAKHAVEN ST                                                                                      BAKERSFIELD         CA   93308‐2805
MAYNARD‐POWELL, NICOLE R          268 FRAZIER WAY                                                                                       SCOTT DEPOT         WV   25560‐9008
MAYNARD‐POWELL, NICOLE RENEE      268 FRAZIER WAY                                                                                       SCOTT DEPOT         WV   25560‐9008
MAYNARDS INDUSTRIES (1991) INC.   ATTN: TASO SOFIKITIS                  21700 NORTHWESTERN HIGHWAY,                                     SOUTHFIELD          MI   48075
                                                                        SUITE 1180
MAYNARDS INDUSTRIES 1991 INC      21700 NORTHWESTERN HWY STE 830                                                                        SOUTHFIELD          MI 48075‐4902
MAYNARDS INDUSTRIES INC.          ROBERT F. SEIBOLD                     415 2ND AVE W                            VANCOUVER BC V5Y 1E3
                                                                                                                 CANADA
MAYNARICH, DONALD                 11222 CHESTNUT HILL CT                                                                                SOUTH LYON          MI   48178‐6600
MAYNE RICHARD DR                  8476 MARCO LANE                                                                                       BALDWINSVILLE       NY   13027‐9182
MAYNE RUSSELL A                   DBA RATTLESNAKE CUSTOM                386 EDGERTON RD                                                 EDGERTON            WI   53534‐9502
MAYNE, ARTHUR H                   2450 ROSS RD                                                                                          TIPP CITY           OH   45371‐9148
MAYNE, DENNIS A                   1009 NORTHWAY DR                                                                                      CHARLOTTE           MI   48813‐1011
MAYNE, DENNIS R                   3304 STATE ROUTE 131                                                                                  FAYETTEVILLE        OH   45118
MAYNE, ELLEN L                    14 S BURBERRY DR APT 217                                                                              MADISON             WI   53719‐3261
MAYNE, GINGER N                   366 HALIFAX LN                                                                                        MEDINA              OH   44256
MAYNE, GUY L                      119 N LEBANON RD                                                                                      LOVELAND            OH   45140‐2113
MAYNE, JAMES L                    9466 BROOKWAY CT                                                                                      GOODRICH            MI   48438‐9427
MAYNE, JOAN                       6515 AMY LN                                                                                           LOCKPORT            NY   14094‐6668
MAYNE, JOSEPH A                   1406 OAK RIDGE RD                                                                                     CORBIN              KY   40701‐6212
MAYNE, NADEAN G                   4303 GARST MILL RD APT D                                                                              ROANOKE             VA   24018‐6201
MAYNE, PAUL J                     4965 SALEM RD                                                                                         MORROW              OH   45152‐1418
MAYNE, PAUL R                     94 PRENTICE ST                                                                                        LOCKPORT            NY   14094‐2122
MAYNE, ROBERT W                   685 BROADWAY TRLR 72                                                                                  MALDEN              MA   02148‐2067
MAYNE, ROLLIN E                   7427 W COUNTY ROAD 100 S                                                                              SHIRLEY             IN   47384‐9618
MAYNE, SHARON                     218 1/2 N 11TH ST                                                                                     NEW CASTLE          IN   47362‐4503
MAYNE, THOMAS M                   4071 S STATE RD                                                                                       DAVISON             MI   48423‐8721
MAYNE, THOMAS R                   1228 NE 27TH ST                                                                                       GRESHAM             OR   97030‐3034
MAYNE, WILLIAM A                  2778 W ROSE CITY RD                                                                                   WEST BRANCH         MI   48661‐8469
MAYNE, WILLIAM A                  10022 MULBERRY LN                                                                                     GRAND BLANC         MI   48439‐2535
MAYNE, WILLIAM A                  13960 W 143RD CT                                                                                      OLATHE              KS   66062‐8829
MAYNE, WILLIAM B                  PO BOX 664                                                                                            JELLICO             TN   37762‐0664
MAYNE, WILLIAM L                  10299 COOLIDGE RD                                                                                     GOODRICH            MI   48438‐9025
MAYNELL MORGAN                    5554 LEAFWOOD DR                                                                                      CINCINNATI          OH   45224‐3238
MAYNER, ANDREW L                  12536 SAINT ANDREWS WAY                                                                               FENTON              MI   48430‐8870
MAYNER, DENNIS R                  718 PERRY ST                                                                                          FLINT               MI   48504‐4869
MAYNER, JOHN M                    13368 JULIE ANNE CT                                                                                   FENTON              MI   48430‐3009
MAYNER, KENNETH D                 1101 CHRISTOPHER ST                                                                                   FLINT               MI   48503‐4700
MAYNER, RODNEY G                  5209 COTTAGE CT                                                                                       FENTON              MI   48430‐9163
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Name                          Address1                           Address2                  Address3   Address4         City               State Zip
MAYNER, RODNEY GENE           5209 COTTAGE COURT                                                                       FENTON              MI 48430‐9163
MAYNER, ROGER D               12287 HOISINGTON RD                                                                      GAINES              MI 48436‐9778
MAYNER, ROGER DEAN            12287 HOISINGTON RD                                                                      GAINES              MI 48436‐9778
MAYNES, DORIS MA              3289 LINWOOD AVE APT 4                                                                   CINCINNATI          OH 45226‐1223
MAYNES, DORIS MA              3289 LINWOOD #4                                                                          CINCINNATI          OH 45226‐1223
MAYNES, SHANNON J             105 COUNTRY LN                                                                           EULESS              TX 76039‐8019
MAYNES, SHANNON JAY           105 COUNTRY LN                                                                           EULESS              TX 76039‐8019
MAYNES, SHERRIE R             4709 ZANES CT                                                                            GRAND PRAIRIE       TX 75052‐1748
MAYNES, SHERRIE RENEE         4709 ZANES CT                                                                            GRAND PRAIRIE       TX 75052‐1748
MAYNIE MARSHALL‐EVANS         537 WINFIELD RD                                                                          TOLEDO              OH 43610‐1157
MAYNIE TAPP                   11767 MANN RD RT5                                                                        COVINGTON           KY 41015
MAYNIE, ARMA                  621 W FOSS AVE                                                                           FLINT               MI 48505‐2007
MAYNIE, EDNA J                5335 KIMBERLY DR                                                                         GRAND BLANC         MI 48439‐5163
MAYNIE, GLORIA L              3018 MALLERY ST                                                                          FLINT               MI 48504‐2928
MAYNIE, JOHN J                5335 KIMBERLY DR                                                                         GRAND BLANC         MI 48439‐5163
MAYNIE, LAVOIE A              814 E 7TH ST                                                                             FLINT               MI 48503‐2776
MAYNIE, TYRONE A              3320 CLEMENT ST                                                                          FLINT               MI 48504‐2922
MAYNOR GENE                   1859 OAKLAND POINTE                                                                      LAWRENCEVILLE       GA 30044‐2835
MAYNOR TIMOTHY                TIMOTHEOUS ENT LLC                 21800 GREEN HILL RD                                   FARMINGTON HILLS    MI 48335‐4310
MAYNOR, CHASIE                33679 CORNELISSEN DR                                                                     STERLING HEIGHTS    MI 48312‐6523
MAYNOR, CHESTER S             2004 MAINE AVE                                                                           LYNN HAVEN          FL 32444‐4506
MAYNOR, DARLENE               33679 CORNELISSEN DR                                                                     STERLING HEIGHTS    MI 48312‐6523
MAYNOR, DOYLE H               3512 CEDARCREST CT                                                                       WASHINGTN TWP       MI 48094‐1116
MAYNOR, DOYLE HAYWOOD         3512 CEDARCREST CT                                                                       WASHINGTN TWP       MI 48094‐1116
MAYNOR, FREDDY G              421 CLEVELAND AVE                                                                        LINCOLN PARK        MI 48146‐2837
MAYNOR, JAMES C               3135 E 94TH ST                                                                           CLEVELAND           OH 44104‐5250
MAYNOR, KENNETH D             9412 W COUNTY LINE RD                                                                    BARRYTON            MI 49305
MAYNOR, LARRY L               498 ROSELAND DR                                                                          CANTON              MI 48187‐3951
MAYNOR, NATHAN L              2183 N ENGLEHART RD                                                                      DEFORD              MI 48729‐9641
MAYNOR, ROBERT                1389 E 92ND ST                                                                           CLEVELAND           OH 44106‐1035
MAYNOR, ROY                   8340 N THORNYDALE RD STE 110‐442                                                         TUCSON              AZ 85741
MAYNOR, ROY G                 9630 MANDEL DR                                                                           DAYTON              OH 45458‐3883
MAYNOR, SAMUEL J              1110 ELM CIR                                                                             PLEASANT HILL       MO 64080‐1692
MAYNOR, SARAH                 33679 CORNELISSEN DRIVE                                                                  STERLING HEIGHTS    MI 48312
MAYNOR, WENDELL D             8489 MILLIS RD                                                                           SHELBY TOWNSHIP     MI 48317‐3225
MAYNUS, ARVIDA J              5523 W DELPHI PIKE                                                                       MARION              IN 46952‐9340
MAYNUS, ARVIDA J              5523 W. DELPHI PIKE                                                                      MARION              IN 46952
MAYNUS, DAVID E               5523 W DELPHI PIKE                                                                       MARION              IN 46952‐9340
MAYNUS, DELCA L               6838 LIBERTY FAIRFIELD ROAD                                                              HAMILTON            OH 45011‐5455
MAYNUS, JAMES E               6838 LIBERTY FAIRFIELD RD                                                                LIBERTY TWP         OH 45011‐5455
MAYO ADELITA                  213 GARDENIA DR                                                                          ATWATER             CA 95301‐4870
MAYO CHASE                    JAMES H CHASE JT TEN               125 MILDRUM RD                                        BERLIN              CT 06037‐2422
MAYO CHESTER H                PO BOX 133                                                                               GORDON              TX 76453‐0133
MAYO CLINIC FLORIDA           PO BOX 863079                                                                            ORLANDO             FL 32886‐3079
MAYO CLINIC JACKSONV          PO BOX 863256                                                                            ORLANDO             FL 32886‐56
MAYO DOUGLAS                  DLLINK                             8479 RIVERWALK DR                                     FENTON              MI 48430‐9285
MAYO FITCHETT                 750 N MOUNTAIN VIEW RD                                                                   PAYSON              AZ 85541‐3999
MAYO FOUNDATION               MISCELLANEOUS ACCESS RECEIPTS      200 1ST ST SW                                         ROCHESTER           MN 55905‐0001
MAYO FOUNDATION FOR MEDICAL   MIKE MAHRER                        201 1ST AVE SW                                        ROCHESTER           MN 55902‐3130
EDUCATION & RESEARCH
MAYO JAMES WALTER (503219)    COON & ASSOCS BRENT                917 FRANKLIN ST STE 210                               HOUSTON             TX   77002‐1751
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Name                          Address1                            Address2                        Address3   Address4              City              State Zip
MAYO JOSEPH J ‐ VA (352003)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA 23510
                                                                  STREET, SUITE 600
MAYO JR, JOHN S               3060 N F‐41                                                                                          LINCOLN           MI 48742
MAYO LONNA                    PO BOX 93                                                                                            HAILEYVILLE       OK 74546‐0093
MAYO RANDOLPH (492624)        ANGELOS PETER G                     100 N CHARLES STREET , ONE                                       BALTIMORE         MD 21201
                                                                  CHARLES CENTER
MAYO SERVICE CENTRE           463 WEST ST. N.                                                                ORILLIA ON L3V 5G1
                                                                                                             CANADA
MAYO WELD/ROYAL OAK           5061 DELEMERE AVE                                                                                    ROYAL OAK         MI   48073‐1004
MAYO WILLIAM                  1 GOUNDRY DR                                                                                         WATERFORD         CT   06385‐3534
MAYO, ANNIE M                 11661 PINEHURST ST                                                                                   DETROIT           MI   48204‐1959
MAYO, ANTHONY                 2282 VINCENNES CT                                                                                    MANSFIELD         OH   44904‐1679
MAYO, BILL                    1278 COUNTY STREET 2970                                                                              BLANCHARD         OK   73010‐3034
MAYO, CARL                    5625 MONROE ST                                                                                       CHEVERLY          MD   20784‐1120
MAYO, CAROLYN S               1117 MARIE CT                                                                                        FLINT             MI   48532‐2730
MAYO, CAROLYN W               5503 HORNADAY RD UNIT F                                                                              GREENSBORO        NC   27409‐2954
MAYO, CARRIE ELIZABETH        2475 WOODLAND RD.                                                                                    MORGANTOWN        IN   46160
MAYO, CATHERINE V             3401 W 30TH ST                                                                                       MUNCIE            IN   47302‐4942
MAYO, CHESTER H               PO BOX 133                                                                                           GORDON            TX   76453‐0133
MAYO, CLARENCE G              809 TURTLE CREEK RD                                                                                  OKLAHOMA CITY     OK   73170‐1625
MAYO, DALE E                  11865 N DAVID DR                                                                                     CAMBY             IN   46113‐8633
MAYO, DAMON W                 18140 ORLEANS ST                                                                                     DETROIT           MI   48203‐5402
MAYO, DAMON WESLEY            18140 ORLEANS ST                                                                                     DETROIT           MI   48203‐5402
MAYO, DANIEL G                4068 SCHOLTZ RD                                                                                      NORTH BRANCH      MI   48461‐9747
MAYO, DANNY R                 7881 WAGNER LN                                                                                       IRA               MI   48023‐2463
MAYO, DARNELL                 6833 RAINTREE RD                                                                                     FORT WAYNE        IN   46825‐3745
MAYO, DARNELL V               4205 OAKHURST DR                                                                                     FORT WAYNE        IN   46815‐5247
MAYO, DARYL M                 6048 E COUNTY ROAD 700 S                                                                             PLAINFIELD        IN   46168‐9064
MAYO, DAVID L                 511 REBECCA LN SE                                                                                    SMYRNA            GA   30082‐3260
MAYO, DENNIS                  BEASLEY ALLEN CROW METHVIN PORTIS & PO BOX 4160                                                      MONTGOMERY        AL   36103‐4160
                              MILES
MAYO, DENNIS D                52260 PENZANCE DR                                                                                    SHELBY TOWNSHIP   MI   48315‐2868
MAYO, DIANNE                  23 TERRACE PL                                                                                        BELLEVILLE        NJ   07109‐3020
MAYO, DORA M                  3221 E BALDWIN RD APT 116                                                                            GRAND BLANC       MI   48439‐7353
MAYO, DUANE C                 10001 ENDICOTT ST                                                                                    BELLEVILLE        MI   48111‐1281
MAYO, DUANE CHARLES           10001 ENDICOTT ST                                                                                    BELLEVILLE        MI   48111‐1281
MAYO, ELIJAH J                414 N 12TH ST                                                                                        GADSDEN           AL   35901‐3011
MAYO, FLORA L                 2537 FAIRVIEW RD                                                                                     GADSDEN           AL   35904‐3173
MAYO, GARY L                  1927 W AUBURN RD                                                                                     ROCHESTER HILLS   MI   48309
MAYO, GENE E                  1723 W IDAHO AVE                                                                                     CHICKASHA         OK   73018‐2835
MAYO, GEORGE                  LEBLANC & WADDELL                   5353 ESSEN LN STE 420                                            BATON ROUGE       LA   70809‐0500
MAYO, GEORGE H                6491 ROMEO DR                                                                                        AVON              IN   46123‐7848
MAYO, GEORGE W                2501 CROSBY RD                                                                                       VALRICO           FL   33594‐6763
MAYO, GERADINE A              3490 W 49TH ST UP                                                                                    CLEVELAND         OH   44102
MAYO, GERRY L                 18540 SANTA FE AVE                                                                                   PURCELL           OK   73080‐4559
MAYO, GILBERT R               6900 N SANDSTONE RD                                                                                  JACKSON           MI   49201‐9492
MAYO, GLORIA C                108 RIDGELAND RD                                                                                     GREENCASTLE       IN   46135‐9451
MAYO, HAROLD E                SUTTER & ENSLEIN                    1598 KANAWHA BLVD EAST, SUITE                                    CHARLESTON        WV   25311
                                                                  200
MAYO, HAROLD J                3537 MILFORD MILL RD                                                                                 BALTIMORE         MD 21244‐2932
MAYO, HARRIETT                15630 W SKY HAWK DR                                                                                  SUN CITY          AZ 85375‐6513
MAYO, HUNTER                  860 HIGHWAY 4 W                                                                                      BOONEVILLE        MS 38829
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Name                   Address1                        Address2                        Address3   Address4         City               State Zip
MAYO, HUNTER
MAYO, ISAAC E          308 PEMBERTON AVE                                                                           PLAINFIELD         NJ    07060‐2856
MAYO, JACKIE K         4109 JEANOLA ST NW                                                                          GRAND RAPIDS       MI    49544‐9713
MAYO, JAMES D          2618 CIRCLE PINE CT                                                                         HOWELL             MI    48843‐7256
MAYO, JAMES E          SUTTER & ENSLEIN                1598 KANAWHA BLVD EAST, SUITE                               CHARLESTON         WV    25311
                                                       200
MAYO, JAMES M          206 BUTLER DR                                                                               SATSUMA            FL    32189‐2103
MAYO, JAMES WALTER     COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                     HOUSTON            TX    77002‐1751
MAYO, JANICE           30691 CREST FRST                                                                            FARMINGTON HILLS   MI    48331‐1067
MAYO, JAY R            726 MAPLE HILL DRIVE                                                                        WEST CARROLLTON    OH    45449‐1604
MAYO, JEFFREY L        5070 FRANKWILL AVE                                                                          CLARKSTON          MI    48346‐3716
MAYO, JERRELL D        126 MEADOW SPRING LN                                                                        TEMPLE             GA    30179‐6201
MAYO, JOSEPH J         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA    23510‐2212
                                                       STREET, SUITE 600
MAYO, JOSEPH L         3004 POUSKA RD                                                                              ABINGDON           MD    21009‐2717
MAYO, JOYCE C          504 IVY LN                                                                                  STOCKBRIDGE        GA    30281‐2022
MAYO, JOYCE C          504 IVY LANE                                                                                STOCKBRIDGE        GA    30281‐2022
MAYO, JUANITA          2980 WEST GARY RD                                                                           MONTROSE           MI    48457‐9340
MAYO, JUANITA          2980 GARY RD                                                                                MONTROSE           MI    48457‐9340
MAYO, KELLY            2207 BASHOR RD                                                                              GOSHEN             IN    46526‐1276
MAYO, LAWRENCE         1117 MARIE CT                                                                               FLINT              MI    48532‐2730
MAYO, LILLIAN          251 FM 3267                                                                                 HILLSBORO          TX    76645‐4010
MAYO, LISA E           8479 RIVERWALK DR                                                                           FENTON             MI    48430‐9285
MAYO, LORI
MAYO, MARGARET E       PO BOX 459                                                                                  CELINA             OH    45822‐0459
MAYO, MARTHA           3980 E LOCH ALPINE DR                                                                       ANN ARBOR          MI    48103‐9493
MAYO, MARY J           3545 LIONS HEAD LN                                                                          SAGINAW            MI    48601‐7034
MAYO, MARYANN          17847 N 17TH ST                                                                             PHOENIX            AZ    85022
MAYO, MARYLOU          412 EDMONDS WAY                                                                             DESOTO             TX    75115‐5610
MAYO, MAYNARD J        4011 REID RD                                                                                SWARTZ CREEK       MI    48473‐8803
MAYO, MICHELLE L       160 CROWN AVE                                                                               DAYTON             OH    45417
MAYO, MILDRED K        1266 N EATON AVE                                                                            INDIANAPOLIS       IN    46219‐4027
MAYO, MILES C          2601 NYACK LN                                                                               DAYTON             OH    45439‐2936
MAYO, MILES C          316 ALICIA RD                                                                               DAYTON             OH    45417‐1302
MAYO, MILES C          2601 NYACK LANE                                                                             DAYTON             OH    45439‐2936
MAYO, ORLANDO J        2300 GERARD CT                                                                              BALTIMORE          MD    21209‐2613
MAYO, PATRICIA A       1108 LILLEY AVE                                                                             COLUMBUS           OH    43206‐1734
MAYO, RANDOLPH         ANGELOS PETER G                 100 N CHARLES STREET, ONE                                   BALTIMORE          MD    21201‐3812
                                                       CHARLES CENTER
MAYO, RICHARD W        5530 SHARON AVE                                                                             SHELBY TOWNSHIP    MI    48317‐1235
MAYO, RONALD           1551 ZIMMERMAN RD                                                                           HONOR              MI    49640‐9743
MAYO, RONALD & ANITA   C/O AUTO‐OWNERS INSURANCE       700 HAMMOND RD E #100                                       TRAVERSE CITY      MI    49685‐9190
MAYO, ROSELYN          308 PEMBERTON AVE.                                                                          PLAINFIELD         NJ    07060
MAYO, SERGIO J.        2017 PLUTO DR                                                                               BOSSIER CITY       LA    71112‐4417
MAYO, SIMONE S         8103 RIVERVIEW DR                                                                           FLINT              MI    48532‐2273
MAYO, STEPHEN D        7137 HAWTHORNE DR                                                                           PLAINFIELD         IN    46168‐1890
MAYO, STEPHEN W        13 NICHOLAS RD                                                                              HOPKINTON          MA    01748‐2405
MAYO, STEVEN A         1063 COLONIAL DR                                                                            SALEM              OH    44460‐1076
MAYO, TED A            60 S TRIMBLE RD                                                                             MANSFIELD          OH    44906‐2915
MAYO, THOMAS A         9007 ANCHOR BAY DR                                                                          CLAY               MI    48001‐3517
MAYO, THOMAS M         1745 OLD CAMP TRL NW                                                                        CONYERS            GA    30012‐3648
MAYO, TIMOTHY M        4109 JEANOLA ST NW                                                                          GRAND RAPIDS       MI    49544‐9713
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Name                            Address1                         Address2                    Address3              Address4              City             State Zip
MAYO, TIMOTHY M.                4109 JEANOLA ST NW                                                                                       GRAND RAPIDS      MI 49544‐9713
MAYO, WILLIAM                   2045 MOUNT PLEASANT RD                                                                                   DE KALB           MS 39328‐8016
MAYO, WILLIAM D                 2347 BEASLEY LN                                                                                          COLUMBIA          TN 38401‐7407
MAYOL, JASON                    42660 SAVAGE RD                                                                                          BELLEVILLE        MI 48111‐3096
MAYOLA BROCK                    312 GREENLAWN AVE                                                                                        MANSFIELD         OH 44902‐7731
MAYOLA D MILLS                  546 REDONDO RD                                                                                           YOUNGSTOWN        OH 44504‐1425
MAYOLA GATLING                  546 REDONDO RD                                                                                           YOUNGSTOWN        OH 44504‐1425
MAYOLA VAN DER LAAN             260 SOMERSET CT                                                                                          NEW LENOX          IL 60451‐2063
MAYOLAR BRADD                   15418 NORTHGATE BLVD             BLDG 9 ‐ APT 203                                                        OAK PARK          MI 48237
MAYON MAXEY                     12896 MILLBROOKE WAY                                                                                     SOUTH LYON        MI 48178‐1902
MAYONE SWENDERMAN               8000 VAN NUYS BLVD                                                                                       VAN NUYS          CA 91402‐6083
MAYOR AND CLERK OF COUNCIL
MAYOR DEPIEROS CHARITY          RUN/WALK                         6611 RIDGE RD                                                           PARMA            OH    44129‐5530
MAYOR LIDIA                     23661 BALLESTROS RD                                                                                      MURRIETA         CA    92562‐2108
MAYOR OF BOLIVAR                211 N WASHINGTON ST                                                                                      BOLIVAR          TN    38008‐2313
MAYOR, PHILIP M                 1430 BILLINGTON RD                                                                                       EAST AURORA      NY    14052‐9451
MAYOR, PHILIP MICHAEL           1430 BILLINGTON RD                                                                                       EAST AURORA      NY    14052‐9451
MAYOR, THOMAS
MAYORA, FRANKLIN A              19806 SCOTTSDALE BLVD            19806 SCOTCHDALE RD                                                     SHAKER HTS       OH 44122‐6457
MAYORAL WILLIAM JR              1521 LAUNER DR                                                                                           LA HABRA         CA 90631‐2758
MAYORAL, ANGEL
MAYORAL, ANTHONY
MAYORAL, ENRIQUE                310 AMIRES PL                                                                                            SAN ANTONIO       TX   78237‐1219
MAYORAL, ENRIQUE JR
MAYORAL, MARIA                  310 AMIRES PL                                                                                            SAN ANTONIO      TX    78237‐1219
MAYORGA SUSANA                  MAYORGA, SUSANA                  7825 FAY AVE STE 200                                                    LA JOLLA         CA    92037‐4270
MAYORGA, FREDERICK E            6129 ELK RD                                                                                              CANFIELD         OH    44406‐9730
MAYORGA, HELEN                  7150 LOCUST AVE.                 APT# 7                                                                  BOARDMAN         OH    44512
MAYORGA, HELEN                  7150 LOCUST AVE APT 7                                                                                    BOARDMAN         OH    44512‐4833
MAYORGA, JAIME R                449 WOOD AVE                                                                                             N BRUNSWICK      NJ    08902‐2524
MAYORGA, MANUEL                 112 VIEW POINT LN                                                                                        O FALLON         MO    63367‐4017
MAYORGA, SUSANA                 BICKEL LAW FIRM INC              7825 FAY AVE STE 200                                                    LA JOLLA         CA    92037‐4270
MAYOSKY, JAMES H                1654 DUVALL DR                                                                                           SAN JOSE         CA    95130‐1717
MAYOTTE, BURT J                 26755 CONSTANCE ST                                                                                       DEARBORN HTS     MI    48127‐1010
MAYOTTE, BYRON L                8332 MESSIAH PLACE                                                                                       INDIANAPOLIS     IN    46256‐2909
MAYOTTE, JOSEPH M               23834 MARY ST                                                                                            TAYLOR           MI    48180‐2381
MAYOU, HULDA M                  5390 PIERCE RD                                                                                           SAGINAW          MI    48604‐9301
MAYOU, WAYNE T                  6087 S STEEL RD                                                                                          SAINT CHARLES    MI    48655‐8700
MAYPOLE CHEVROLET, INC.         CHARLES MAYPOLE                  2625 HIGHWAY 17                                                         TOCCOA           GA    30577‐6632
MAYPOLE CHEVROLET, INC.         2625 HIGHWAY 17                                                                                          TOCCOA           GA    30577‐6632
MAYPOLE ENGINEERING SOLUTIONS   MAYPOLE HOUSE OAKLANDS LANE      CROWTHORNE BERKS RG45 6JU                         GREAT BRITIAN GREAT
                                                                                                                   BRITAIN
MAYPORT CAR CARE CENTER         2825 MAYPORT RD                                                                                          ATLANTIC BEACH   FL    32233‐4605
MAYR CORP                       4 NORTH ST                                                                                               WALDWICK         NJ    07463
MAYRA CRUM                      10010 DAISY PATCH ST                                                                                     LAS VEGAS        NV    89183‐6364
MAYRA RUBI JIMENEZ OCANA        C/O LANGDON & EMISON             ATTN ROBERT L LANGDON       PO BOX 220 911 MAIN                         LEXINGTON        MO    64067
MAYRA, MICHAEL W                5868 FAIRCASTLE DR                                                                                       TROY             MI    48098‐2546
MAYRAND, JOSEPH P               23011 E LORRAINE ST APT 304                                                                              BROWNSTOWN TWP   MI    48183‐3040
MAYRAND, THERESE A              8898 LAKE BLUFF DR                                                                                       BRIGHTON         MI    48114‐4949
MAYREE CLARK‐JONES              1817 WOODLIN DR                                                                                          FLINT            MI    48504‐3604
MAYREND, ROBERT J               20887 BIG FOOT CT                                                                                        GROVELAND        CA    95321‐9431
MAYRENE CREWS                   ROUTE #1 525 WHITE RD                                                                                    BIG SANDY        TN    38221
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Name                           Address1                           Address2                          Address3                 Address4            City                   State Zip
MAYRENE L PENNINGTON           26275 COUNTY ROAD 22.5                                                                                            ROCKY FORD              CO 81067‐9431
MAYRENE MCCLURE                17207 SAINT MARYS ST                                                                                              DETROIT                 MI 48235‐3531
MAYRENE ROSS                   2458 N 22ND ST                                                                                                    MILWAUKEE               WI 53206‐1522
MAYRER, PATRICIA A             451 KETCHAM ST                                                                                                    DAYTON                  OH 45431‐2123
MAYRER, TIMOTHY A              1835 GUMMER AVE                                                                                                   DAYTON                  OH 45403‐3442
MAYRIAN DAHLINE                743 S BENEVA RD # 217                                                                                             SARASOTA                FL 34232
MAYRO CHART LTD                C/O BSI SA                         VIA MAGATTI 2                                              6301 LUGANO
                                                                                                                             SWITZERLAND
MAYROS, ANDREW                 102 GENERAL DR                                                                                                    UNIONTOWN              PA   15401‐8610
MAYROS, MARY                   102 GENERAL DR                                                                                                    UNIONTOWN              PA   15401‐8610
MAYROSE, DEBORAH               251 JAMESTOWN CIRCLE APT H                                                                                        DAYTON                 OH   45458‐5458
MAYS ALTA                      4248 COPLIN DR                                                                                                    STERLING HEIGHTS       MI   48310‐4533
MAYS BOBBY WAYNE               1962 BALDWIN RD                                                                                                   LAPEER                 MI   48446‐9688
MAYS CHEM/INDIANAPLS           7760 E 89TH ST                                                                                                    INDIANAPOLIS           IN   46256‐1238
MAYS CHEMICAL CO INC           7760 E 89TH ST                     PO BOX 50915 RMVD MS                                                           INDIANAPOLIS           IN   46256‐1238
MAYS CHEMICAL COMPANY CANADA   C\O MAYS CHEMICAL CO INC           PO BOX 50915                                                                   INDIANAPOLIS           IN   46250‐0915
MAYS ERIC & YEOTIS DEAN        611 WEST COURT ST                                                                                                 FLINT                  MI   48503
MAYS ERIC BRADFORD             125 E RUSSELL AVE                                                                                                 FLINT                  MI   48505‐2742
MAYS EUGENE                    MAYS, EUGENE                       800 SHADES CREEK PKY                                                           BIRMINGHAM             AL   35209
MAYS EUGENE                    MAYS, MAEDEAN                      PO BOX 576                                                                     HALEYVILLE             AL   35565‐0576
MAYS EUGENE                    MAYS, MAEDEAN                      800 SHADES CREEK PKWY STE 600‐D                                                BIRMINGHAM             AL   35209‐4562

MAYS EVA L                     5028 LAUREL GREEN DR                                                                                              MEMPHIS                TN 38125‐3875
MAYS FRANKLIN D (400746)       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                    NORFOLK                VA 23510
                                                                  STREET, SUITE 600
MAYS HARDIE                    1644 N MELVINA AVE                                                                                                CHICAGO                IL 60639‐3918
MAYS I I I, CHARLIE            34 STOWELL ST                                                                                                     PONTIAC                MI 48342‐2454
MAYS III, CHARLIE              34 STOWELL ST                                                                                                     PONTIAC                MI 48342‐2454
MAYS III, JOHN D
MAYS JR, ARGUS M               3191 KIMBERLY DR                                                                                                  MILLINGTON             MI   48746‐9683
MAYS JR, DAVID J               415 OLD BRENT RD                                                                                                  FORSYTH                GA   31029‐6929
MAYS JR, LAWRENCE A            313 FOSTER WOODS RD                                                                                               PETOSKEY               MI   49770‐8618
MAYS JR, WILSON                9960 DAY HILL ARNHEIM RD                                                                                          GEORGETOWN             OH   45121‐8234
MAYS JR, WORLEY K              PO BOX 2052                                                                                                       BANDERA                TX   78003‐2052
MAYS KATHY                     2117 HOLLY TREE DR                                                                                                DAVISON                MI   48423‐2066
MAYS LOUIS (446155)            KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                                  CLEVELAND              OH   44114
                                                                  BOND COURT BUILDING
MAYS MARTINS F                 PO BOX 5813                                                                                                       RENO                   NV   89513‐5813
MAYS MICHAEL R                 MAYS, DAWN E                       HEWITT & SALVATORE                204 NORTH COURT STREET                       FAYETTEVILLE           WV   25840
MAYS MICHAEL R                 MAYS, MICHAEL R                    204 N COURT ST                                                                 FAYETTEVILLE           WV   25840‐1212
MAYS PAUL L SR (487271)        ANGELOS PETER G                    100 N CHARLES STREET , ONE                                                     BALTIMORE              MD   21201
                                                                  CHARLES CENTER
MAYS PHYLLIS                   22315 S FAIRWAY DR                                                                                                WOODHAVEN              MI   48183‐3108
MAYS SR, HENRY O               5285 WOODBINE AVE                                                                                                 DAYTON                 OH   45432‐3631
MAYS SR, ROBERT C              3601 BENFIELD DR                                                                                                  KETTERING              OH   45429‐4454
MAYS SYLVIA                    7728 COMMONWEALTH DR                                                                                              ANTELOPE               CA   95843‐2312
MAYS WALTER L JR               MAYS, WALTER L                     5115 MARYLAND WAY                                                              BRENTWOOD              TN   37027
MAYS WILLIAM                   224 LANSING ISLAND DR                                                                                             INDIAN HARBOUR BEACH   FL   32937‐5101
MAYS WILLIAM A ESTATE OF       WILLIAM NEVILLE ADMINISTRATOR      285 ELM ST STE 302                                                             CUMMING                GA   30040‐8233
MAYS, ALTA C                   1112 SOUTHWEST MISTY CREEK                                                                                        BLUE SPRINGS           MO   64015‐5297
MAYS, ALTA C.                  1112 SOUTHWEST MISTY CREEK                                                                                        BLUE SPRINGS           MO   64015‐5297
MAYS, AMANDA E                 494 LILLY VIEW CT                                                                                                 HOWELL                 MI   48843‐6520
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Name                  Address1                       Address2               Address3      Address4         City            State Zip
MAYS, ANDREW C        4401 TERNES ST                                                                       DETROIT          MI 48210‐2137
MAYS, ANDREW L        1669 MCALPINE DR                                                                     MOUNT MORRIS     MI 48458‐2356
MAYS, ANNIE L         3526 EVERGREEN PKWY                                                                  FLINT            MI 48503‐4582
MAYS, ANTHONY C       1748 BELLCREST AVE SW                                                                WARREN           OH 44485‐4169
MAYS, ARDINA B        2212 REDWOOD PL                                                                      CANFIELD         OH 44406‐8472
MAYS, ARDINA B        PO BOX 51                                                                            CANFIELD         OH 44406‐0051
MAYS, ARTHER E        2960 DC CANEY RIDGE RD                                                               CLINTWOOD        VA 24228‐7850
MAYS, ARTIST L        16855 MARLOWE ST                                                                     DETROIT          MI 48235‐4042
MAYS, BERTIE L        111 PARK AVE                                                                         BUCKNER          MO 64016‐9787
MAYS, BESSIE R        6816 FLEETWOOD DRIVE                                                                 FLINT            MI 48504‐1657
MAYS, BESSIE ROSE     471 BILL MAYS RD.                                                                    LONDON           KY 40744‐8162
MAYS, BETTY J         PO BOX 722                                                                           CULLEN           LA 71021‐0722
MAYS, BETTY J         30310 SOUTHFIELD RD APT 63A                                                          SOUTHFIELD       MI 48076‐1340
MAYS, BETTY JEAN      PO BOX 722                                                                           CULLEN           LA 71021‐0722
MAYS, BETTY L         3457 SEYMOUR RD                                                                      SWARTZ CREEK     MI 48473‐9785
MAYS, BILLY H         1451 FALKE DR                                                                        KETTERING        OH 45432‐3234
MAYS, BOBBIE E        1923 BEAR RD                                                                         OSCODA           MI 48750‐9205
MAYS, BOBBY W         1962 BALDWIN RD                                                                      LAPEER           MI 48446‐9688
MAYS, BRANDON P       2623 ONEIDA AVENUE                                                                   DAYTON           OH 45414‐5124
MAYS, BRANDON S       KIRSTEIN SYDNEY H              819 MAIN ST                                           LYNCHBURG        VA 24504‐1507
MAYS, BYRON L         7000 TRENTON‐FRANKLIN ROAD                                                           MIDDLETOWN       OH 45042‐1338
MAYS, BYRON L         7000 TRENTON FRANKLIN RD                                                             MIDDLETOWN       OH 45042‐1338
MAYS, CAROLYN H       814 HIGHLAND AVE                                                                     ANNISTON         AL 36207‐5888
MAYS, CAROLYN M       SHANNON LAW FIRM               100 W GALLATIN ST                                     HAZLEHURST       MS 39083‐3007
MAYS, CECIL H         56 S. GARLAND AVE.                                                                   DAYTON           OH 45403‐2218
MAYS, CECIL H         56 S GARLAND AVE                                                                     DAYTON           OH 45403‐2218
MAYS, CHARLES A       11264 E HIGHWAY 92                                                                   WILLIAMSBURG     KY 40769‐9231
MAYS, CHARLES E       6816 NEWMAN DR                                                                       OKLAHOMA CITY    OK 73162‐7442
MAYS, CHARLES E       1526 MARCOUX AVE                                                                     MUSKEGON         MI 49442‐2249
MAYS, CHARLES E.      1526 MARCOUX AVE                                                                     MUSKEGON         MI 49442‐2249
MAYS, CHARLES R       5675 TOWNLINE RD                                                                     BIRCH RUN        MI 48415‐9005
MAYS, CHARLES T       5719 STILLWELL BECKETT RD                                                            OXFORD           OH 45056‐8931
MAYS, CHARLIE M       18680 SANTA ROSA DR                                                                  DETROIT          MI 48221‐2247
MAYS, CHRISTINE M     904 N PINE ST                                                                        LANSING          MI 48906‐5051
MAYS, CINDY J         23385 WILSON RD                                                                      STURGIS          MI 49091
MAYS, CLIFFORD C      3174 W 52ND ST                                                                       CLEVELAND        OH 44102‐5842
MAYS, CLIFFORD E      644 FAIRMOOR PL                                                                      COLUMBUS         OH 43228‐2113
MAYS, DAVID R         2244 1ST ST                                                                          SANDUSKY         OH 44870
MAYS, DAVID W         33531 FERNWOOD ST                                                                    WESTLAND         MI 48186‐7829
MAYS, DAVID W         9401 HIGHLAND DR                                                                     BROKEN ARROW     OK 74014
MAYS, DAWN E          HEWITT & SALVATORE             204 N COURT ST                                        FAYETTEVILLE     WV 25840‐1212
MAYS, DIRK D          3280 SUBURBAN DR                                                                     BEAVERCREEK      OH 45432‐2549
MAYS, DOLORES A       318 DALE AVE                                                                         FRANKLIN         OH 45005
MAYS, EARLIE A        2253 PUTTER CT                                                                       BRENTWOOD        CA 94513‐5000
MAYS, EDWARD M        1S631 MARSTON CT                                                                     GLEN ELLYN        IL 60137‐6407
MAYS, ELMER R         2090 CORY RD                                                                         OLIVE HILL       KY 41164‐9151
MAYS, EMILIE L        517 BERKELEY AVE                                                                     ORANGE           NJ 07050‐2103
MAYS, ERIC B          125 E RUSSELL AVE                                                                    FLINT            MI 48505‐2742
MAYS, ERIC BRADFORD   125 E RUSSELL AVE                                                                    FLINT            MI 48505‐2742
MAYS, ERNEST N        135 WINDING WAY APT C                                                                LEESBURG         GA 31763‐5507
MAYS, EUGENE          NAT BRYAN                      800 SHADES CREEK PKY                                  BIRMINGHAM       AL 35209
MAYS, EUGENE          8612 OBERLIN RD                                                                      ELYRIA           OH 44035‐4246
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MAYS, EUGENE           19 HELEN CT                                                                                 CAHOKIA              IL 62206
MAYS, EUGENE           26670 STATE HIGHWAY 129                                                                     HALEYVILLE          AL 35565
MAYS, EVA H            4156 ALEESA DR SE                                                                           WARREN              OH 44484‐2916
MAYS, EVA L            5028 LAUREL GREEN DR                                                                        MEMPHIS             TN 38125‐3875
MAYS, EVELYN           425 HILLSIDE RD                                                                             BESSEMER            AL 35020‐6015
MAYS, FLORENE          838 AVON ST                                                                                 AKRON               OH 44310‐2110
MAYS, FLORINE          838 AVON ST                                                                                 AKRON               OH 44310‐2110
MAYS, FRANCES J        401 12TH AVE SE APT 130                                                                     NORMAN              OK 73071‐4946
MAYS, FRANKLIN D       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                         STREET, SUITE 600
MAYS, FREDA R          7611 TWIN OAKS DR                                                                           MIDDLETOWN         OH   45042‐1058
MAYS, FRITZE G         1275 BUCKINGHAM ST                                                                          TOLEDO             OH   43607‐4361
MAYS, GARRY            C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                             EDWARDSVILLE       IL   62025
MAYS, GARY L           461 SOMERVILLE JACKSONBURG RD                                                               SOMERVILLE         OH   45064‐9401
MAYS, GENEVA G         6097 CR 177                                                                                 OAKWOOD            OH   45873
MAYS, GENEVA G         6097 ROAD 177                                                                               OAKWOOD            OH   45873‐9424
MAYS, GEORGE W         1880 E 69TH ST                                                                              CLEVELAND          OH   44103‐3902
MAYS, GERALD A         133 SOUTH ST                                                                                FAIRBORN           OH   45324‐4521
MAYS, GLORIA           9293 VASSAR RD                                                                              MILLINGTON         MI   48746‐9756
MAYS, GLORIA D         5474 WOODLAND RIDGE DR                                                                      FLINT              MI   48532‐2271
MAYS, GLORIA D         1028 CORA DR                                                                                FLINT              MI   48532‐2719
MAYS, GLORIA S         PO BOX 24306                                                                                INDIANAPOLIS       IN   46224‐0306
MAYS, GLORIA STEEN     PO BOX 24306                                                                                INDIANAPOLIS       IN   46224‐0306
MAYS, GRACE B          1274 HILLCREST WAY                                                                          LAWRENCEVILLE      GA   30043‐3710
MAYS, HARDIE           5028 LAUREL GREEN DR                                                                        MEMPHIS            TN   38125‐3875
MAYS, HARRISON         COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                   HOUSTON            TX   77002‐1751
MAYS, HOWARD           709 SYLVESTER STREET                                                                        TOLEDO             OH   43605‐3731
MAYS, J                8818S HARPER                                                                                CHICAGO            IL   60619‐7106
MAYS, JAMES            94 TATTERSALL DR                                                                            BURLINGTON         NJ   08016‐4322
MAYS, JAMES A          931 WOOF RUN RD                                                                             FLEMINGSBURG       KY   41041‐9711
MAYS, JAMES A          931 WOLF RUN RD                                                                             FLEMINGSBURG       KY   41041
MAYS, JAMES I          PO BOX 613                                                                                  SWANNANOA          NC   28778‐0613
MAYS, JAMES L          PO BOX 6934                                                                                 ATLANTA            GA   30315‐0934
MAYS, JAMES W          209 SEIGLER ROAD                                                                            PELZER             SC   29669‐1024
MAYS, JEFFRY L         PO BOX 890837                                                                               OKLAHOMA CITY      OK   73189‐0837
MAYS, JERREL W         4736 MEADOWBROOK LN                                                                         ORION              MI   48359‐2036
MAYS, JERRY L          7867 W 1300 N                                                                               ELWOOD             IN   46036‐9207
MAYS, JESSE J          2414 HOFF ST                                                                                FLINT              MI   48506‐3479
MAYS, JESSE JAMES      2414 HOFF ST                                                                                FLINT              MI   48506‐3479
MAYS, JOE A            1309 OLD COUNTRY LN                                                                         DAYTON             OH   45414‐1920
MAYS, JOHN C           405 ASH ST                                                                                  MINDEN             LA   71055‐3153
MAYS, JOHN H           8158 BALDWIN RD                                                                             SWARTZ CREEK       MI   48473‐9128
MAYS, JOHNNIE R        2016 PINGREE AVE                                                                            FLINT              MI   48503‐4315
MAYS, JOHNNY           1739 ATHENS HWY                                                                             ELBERTON           GA   30635‐4432
MAYS, JONATHAN         3927 DELPHOS AVE                                                                            DAYTON             OH   45402‐5218
MAYS, JOSEPH D         2700 N F ST                                                                                 ELWOOD             IN   46036‐1371
MAYS, JR.,DONALD I     2554 LONGINES RD                                                                            DAYTON             OH   45414‐3502
MAYS, KATHERINE        19314 WESTMORELAND RD                                                                       DETROIT            MI   48219‐2734
MAYS, KENNETH R        PO BOX 1098                                                                                 BEATTYVILLE        KY   41311‐1098
MAYS, KEVIN N          97 WEATHERBY LN                                                                             WRIGHT CITY        MO   63390‐3352
MAYS, KRISTINA MARIE   4136 PERIWINKLE DR                                                                          FORT WORTH         TX   76137‐3007
MAYS, L M              193 CHERRYWOOD LN                                                                           HOLLY LAKE RANCH   TX   75765‐7714
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Name                       Address1                           Address2                         Address3   Address4         City            State Zip
MAYS, LA TONYA M           2024 THOUSAND OAKS BLVD                                                                         INDIANAPOLIS     IN 46214‐3282
MAYS, LATONIA R            6360 TAYWOOD RD                                                                                 ENGLEWOOD        OH 45322‐3754
MAYS, LAURIS H             1S631 MARSTON CT                                                                                GLEN ELLYN        IL 60137‐6407
MAYS, LAVERNE              326 ASH DR                                                                                      FRANKLIN         TN 37064‐2307
MAYS, LAVONNA R            PO BOX 1614                                                                                     LOCUST GROVE     OK 74352‐1614
MAYS, LAVONZA R            3370 9TH ST                                                                                     MUSKEGON HTS     MI 49444‐2862
MAYS, LEROY                1819 CALUMET AVE                                                                                TOLEDO           OH 43607‐1604
MAYS, LINDA T              1808 JENNINGS RD SE                                                                             FORT PAYNE       AL 35967‐7230
MAYS, LOUELLA              551 GRANADA DR                                                                                  PONTIAC          MI 48342‐1731
MAYS, LOUIS                707 22ND AVE                                                                                    BELLWOOD          IL 60104‐1919
MAYS, LOUIS                KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                 CLEVELAND        OH 44114
                                                              BOND COURT BUILDING
MAYS, MADELINE B           1431 S OCEAN BLVD APT 42                                                                        POMPANO BEACH    FL   33062‐7341
MAYS, MAEDEAN              MARSH RICKARD BRYAN                800 SHADES CREEK PKWY STE 600D                               BIRMINGHAM       AL   35209

MAYS, MAEDEAN              LOWE MOBLEY & LOWE                 PO BOX 576                                                   HALEYVILLE       AL   35565
MAYS, MAEDEAN              MARSH RICKARD BRYAN                800 SHADES CREEK PARKWAY SUITE                               BIRMINGHAM       AL   35209
                                                              600‐D
MAYS, MAEDEAN              LOWE MOBLEY & LOWE                 P O BOX 576                                                  HALEYVILLE      AL    35565
MAYS, MARION               4401 TERNES                                                                                     DETROIT         MI    48210‐2137
MAYS, MARTHA L             4106 BLACKBERRY CRK                                                                             BURTON          MI    48519‐1939
MAYS, MARVIN W             8465 CLIPPERT ST                                                                                TAYLOR          MI    48180‐2831
MAYS, MARVIN WAYNE         8465 CLIPPERT ST                                                                                TAYLOR          MI    48180‐2831
MAYS, MARY                 13401 CAMBRIA FARMS RD                                                                          PHOENIX         MD    21131‐1617
MAYS, MARY C               7817 LAKE JENN DR                                                                               YOUNGSVILLE     NC    27596‐9594
MAYS, MARY E               PO BOX 371                                                                                      NEW CARLISLE    OH    45344‐0371
MAYS, MARY F               22980 ROAD 148                                                                                  OAKWOOD         OH    45873‐9113
MAYS, MARY L               5843 TROYVILLA BLVD                                                                             DAYTON          OH    45424‐5424
MAYS, MARY L               5843 TROY VILLA BOULEVARD                                                                       DAYTON          OH    45424‐2649
MAYS, MAXINE               622 W LORADO AVE                                                                                FLINT           MI    48505‐2018
MAYS, MAYNARD              2100 MATTIS DRIVE                                                                               DAYTON          OH    45439‐2616
MAYS, MAYNARD              2100 MATTIS DR                                                                                  DAYTON          OH    45439‐2616
MAYS, MECK                 PO BOX 501                                                                                      HEIDRICK        KY    40949‐0501
MAYS, MICHAEL C            119 ANITA DR                                                                                    WINDER          GA    30680‐3401
MAYS, MICHAEL R            HEWITT & SALVATORE                 204 N COURT ST                                               FAYETTEVILLE    WV    25840‐1212
MAYS, NASTASSIA D          3820 LAKEBEND DR APT B1                                                                         DAYTON          OH    45404‐2944
MAYS, OLIVER               31 COLUMBUS DR                                                                                  MONESSEN        PA    15062‐2201
MAYS, OZELLA J             3370 9TH ST                                                                                     MUSKEGON HTS    MI    49444‐2862
MAYS, PATRICIA A           PO BOX 2967                                                                                     TOLEDO          OH    43606‐0967
MAYS, PATRICIA ALMA        PO BOX 2967                                                                                     TOLEDO          OH    43606‐0967
MAYS, PAUL J               722 LAKE RIDGE RD                                                                               ROCHESTER HLS   MI    48307‐4497
MAYS, PAUL L               ANGELOS PETER G                    100 N CHARLES STREET, ONE                                    BALTIMORE       MD    21201‐3812
                                                              CHARLES CENTER
MAYS, PEGGY L              108 LAKE ESTATES CT                                                                             IRMO            SC    29063‐9102
MAYS, PHIL S               1808 JENNINGS RD SE                                                                             FORT PAYNE      AL    35967‐7230
MAYS, PHYLLIS J            22315 S FAIRWAY DR                                                                              WOODHAVEN       MI    48183‐3108
MAYS, PORTER               19422 ANNCHESTER RD                                                                             DETROIT         MI    48219‐2180
MAYS, QUINNDRELL M         1310 WOLCOTT SR                                                                                 FLINT           MI    48504‐3423
MAYS, QUINNDRELL MARQUEZ   1310 WOLCOTT ST                                                                                 FLINT           MI    48504‐3423
MAYS, RAYMOND              520 NAVAHOE ST                                                                                  DETROIT         MI    48215‐3229
MAYS, RICHARD D            G3144 AUGUSTA ST                                                                                FLINT           MI    48532‐5105
MAYS, RICHARD DELANE       G3144 AUGUSTA ST                                                                                FLINT           MI    48532‐5105
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Name                             Address1                       Address2                Address3     Address4         City           State Zip
MAYS, RICHARD E                  8333 LINDEN RD                                                                       SWARTZ CREEK    MI 48473‐9151
MAYS, RICHARD L                  111 HAMPTON RD                                                                       CENTERVILLE     OH 45459‐4720
MAYS, ROBERT H                   4821 RIDGE RD                                                                        ROSEDALE        MD 21237‐3339
MAYS, ROBERT J                   7575 KEISTER RD                                                                      MIDDLETOWN      OH 45042‐1072
MAYS, ROBERT J                   440 E. CENTER ST.                                                                    GERMANTOWN      OH 45327‐5327
MAYS, ROBERT W                   1112 SOUTHWEST MISTY CREEK                                                           BLUE SPRINGS    MO 64015‐5297
MAYS, ROBIN K                    112 LAKE BREEZE DR                                                                   DANDRIDGE       TN 37725‐6852
MAYS, ROBIN KARL                 112 LAKE BREEZE DRIVE                                                                DANDRIDGE       TN 37725‐6852
MAYS, ROGER                      3053 HUGHES ST                                                                       HUNTINGTON      WV 25704‐2021
MAYS, RON
MAYS, RONALD C                   5843 TROYVILLA BLVD                                                                  DAYTON         OH   45424‐5424
MAYS, RONALD C                   5843 TROY VILLA BOULEVARD                                                            DAYTON         OH   45424‐2649
MAYS, RONALD H                   14325 BARNES RD                                                                      BYRON          MI   48418‐9738
MAYS, ROSEZALA                   1748 LIBERTY ELLERTON RD                                                             DAYTON         OH   45418‐1104
MAYS, ROSEZALA                   1748 LIBERT‐ELLERTON ROAD                                                            DAYTON         OH   45418‐1104
MAYS, ROSIE                      125 E RUSSELL AVE                                                                    FLINT          MI   48505‐2742
MAYS, SAMUEL G                   7611 TWIN OAKS DR                                                                    MIDDLETOWN     OH   45042‐1058
MAYS, SHARON D                   4141 E 400 N                                                                         SHELBYVILLE    IN   46176‐9562
MAYS, STEPHANIE L                1233 BOYSENBERRY DR                                                                  DESOTO         TX   75115‐1440
MAYS, STEVEN D                   23385 WILSON RD                                                                      STURGIS        MI   49091‐9222
MAYS, STEVEN DANIEL              23385 WILSON RD                                                                      STURGIS        MI   49091‐9222
MAYS, STEVEN E                   PO BOX 2967                                                                          TOLEDO         OH   43606‐0967
MAYS, STEVEN ERIC                PO BOX 2967                                                                          TOLEDO         OH   43606‐0967
MAYS, STONEY R                   204 N RIVER ST                                                                       CONTINENTAL    OH   45831‐8949
MAYS, SUZANNE                    3964 BARNETT DR                                                                      BELLBROOK      OH   45305‐1707
MAYS, THOMAS M                   494 LILLY VIEW CT                                                                    HOWELL         MI   48843‐6520
MAYS, TONY D                     2400 E 39TH ST                                                                       CLEVELAND      OH   44115‐3064
MAYS, TRACEY L                   917 SAINT JOHN AVE                                                                   TOLEDO         OH   43608‐2052
MAYS, ULYSS J                    2175 GOODSON DR                                                                      LONGS          SC   29568‐5802
MAYS, VIRGINIA V                 4651 WOODLAND HILLS                                                                  DAYTON         OH   45414‐4749
MAYS, VIRGINIA V                 4209 W STATE ROUTE 55                                                                TROY           OH   45373
MAYS, WALTER L                   KRUEGER VICTORIA               5115 MARYLAND WAY                                     BRENTWOOD      TN   37027
MAYS, WALTER L                   244 PENNYSTONE CIRCLE                                                                FRANKLIN       TN   37067‐5767
MAYS, WANITA M                   G 3144 AUGUSTA ST                                                                    FLINT          MI   48504
MAYS, WILBURT L                  21901 MICHAEL RD                                                                     PERRIS         CA   92570‐9533
MAYS, WILLIAM                    LEBLANC & WADDELL              5353 ESSEN LN STE 420                                 BATON ROUGE    LA   70809‐0500
MAYS, WILLIAM H                  44 CAMBRIDGE VILLAGE                                                                 LANCASTER      PA   17602‐7602
MAYS, WILLIAM H                  44 CAMBRIDGE VLG                                                                     LANCASTER      PA   17602‐1156
MAYS, WILLIAM T                  1748 LIBERTY ELLERTON RD.                                                            DAYTON         OH   45418‐1104
MAYS, WILLIAM W                  441 SELKIRK DR                                                                       MOUNT MORRIS   MI   48458‐8917
MAYS, WORLEY K                   PO BOX 2052                                                                          BANDERA        TX   78003‐2052
MAYS‐HURST, STEPHANIE            720 SAINT CLAIR ST                                                                   DETROIT        MI   48214‐3660
MAYS‐KIMMEL, ELISABETH A         2051 HOPEFIELD ST                                                                    LAKE ORION     MI   48359‐2213
MAYS‐KIMMEL, ELIZABETH A         2051 HOPEFIELD ST                                                                    LAKE ORION     MI   48359‐2213
MAYS‐MCDONALD, HARRYETTA J       1350 E JULIAH AVE                                                                    FLINT          MI   48505‐1734
MAYSE AUTOMOTIVE GROUP II, LLC   PO BOX 259                                                                           AURORA         MO   65605‐0259
MAYSE AUTOMOTIVE GROUP, INC.     2032 S ELLIOTT AVE                                                                   AURORA         MO   65605‐9618
MAYSE AUTOMOTIVE GROUP, INC.     SELDEN MAYSE                   2032 S ELLIOTT AVE                                    AURORA         MO   65605‐9618
MAYSE, CAROLYN D                 1451 S HIGHWAY 109A                                                                  BOSWELL        OK   74727‐2006
MAYSE, DELBERT E                 7016 CRANE RD                                                                        YPSILANTI      MI   48197‐9312
MAYSE, ELBERT R                  11617 MATTHEWS HWY                                                                   CLINTON        MI   49236‐9648
MAYSE, TOMMIE JOE                19 PARKSIDE DR                                                                       BETHALTO       IL   62010
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Name                         Address1                         Address2                     Address3           Address4               City                State Zip
MAYSE, TONY W                HC 70 BOX 775                                                                                           SANDY HOOK           KY 41171‐9521
MAYSEL COLDLRON              BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                             BOSTON HTS.          OH 44236
MAYSEL ROBINSON              HC 71 BOX 121                                                                                           TANNER               WV 26137‐9719
MAYSELESS, ARYE              29234 CHELSEA XING                                                                                      FARMINGTON HILLS     MI 48331‐2806
MAYSER GMBH & CO             KG POLYMER ELECTRIC              POLYMER ELECTRIC             ORLINGER STR 1‐3   89073 ULM GERMANY MI
                                                                                                              GERMANY
MAYSOLA DUNCAN               9600 HUBBELL ST                                                                                         DETROIT             MI   48227‐2702
MAYSON, IRENE                4029 KETCHAM                                                                                            SAGINAW             MI   48601‐4166
MAYSONET, JESUS A            1915 FERROL ST                                                                                          LANSING             MI   48910‐4312
MAYSONET, MANUEL             11324 EMILYS CROSSING COURT                                                                             JACKSONVILLE        FL   32257‐1530
MAYSTEAD, DOUGLAS A          19270 THOMPSON LN                                                                                       THREE RIVERS        MI   49093‐9089
MAYSTEAD, JENNIE M           19270 THOMPSON LN                                                                                       THREE RIVERS        MI   49093‐9089
MAYTON EDWARD                5124 OLDE SAYBROOKE RD                                                                                  GRAND BLANC         MI   48439‐8727
MAYTON, ANDREW D             261 ROUTE 481                                                                                           FREDERICKTOWN       PA   15333
MAYTON, CARL L               275 WOODLAWN DR                                                                                         TIPP CITY           OH   45371‐8837
MAYTON, DON M                4521 MAJESTIC VUE                                                                                       ZEELAND             MI   49464‐8500
MAYTON, DOUGLAS M            2294 ALTA WEST RD                                                                                       MANSFIELD           OH   44903‐8229
MAYTON, DWAYNE E             17900 PAGES POND CT                                                                                     DAVIDSON            NC   28036‐9602
MAYTON, EDWARD S             6123 BYRAM LAKE DR                                                                                      LINDEN              MI   48451‐8741
MAYTON, GERALINE             6358 COVERED WAGONS TRL                                                                                 FLINT               MI   48532‐2113
MAYTON, PHILIP C             PO BOX 3325                                                                                             MANSFIELD           OH   44904
MAYTUBBY, CECIL              3005 SE 54TH ST                                                                                         OKLAHOMA CITY       OK   73135‐1439
MAYVERS, MAYA                215 CASA PL                                                                                             PANAMA CITY BEACH   FL   32413‐3849
MAYVILLE I I I, BERNARD C    4058 RISEDORPH ST                                                                                       BURTON              MI   48509‐1040
MAYVILLE III, BERNARD CARL   4058 RISEDORPH ST                                                                                       BURTON              MI   48509‐1040
MAYVILLE JR, RICHARD L       1822 OHIO ST                                                                                            NATIONAL CITY       MI   48748‐9695
MAYVILLE, BEATRICE M         PO BOX 4313                                                                                             ANNA MARIA          FL   34216‐4313
MAYVILLE, KENNETH A          PO BOX 439                                                                                              ZEPHYRHILLS         FL   33539‐0439
MAYVILLE, KEVIN L            303 COUNTY ROUTE 1                                                                                      BOMBAY              NY   12914‐2610
MAYVILLE, LAWRENCE J         11 COUNTY ROUTE 42                                                                                      FORT COVINGTON      NY   12937
MAYVILLE, LAWRENCE J         7895 NE CUBITIS AVENUE           BOX D33                                                                ARCADIA             FL   34266
MAYVILLE, MARIE              834 COUNTY ROUTE 8 8                                                                                    BRUSHTON            NY   12916
MAYVILLE, MARK S             14800 GRASS LAKE RD                                                                                     GRASS LAKE          MI   49240‐9779
MAYVILLE, MARK STEPHEN       14800 GRASS LAKE RD                                                                                     GRASS LAKE          MI   49240‐9779
MAYVILLE, MICHAEL A          8030 WOODLAND TERR‐S                                                                                    IRVINGTON           AL   36544
MAYVILLE, OSCAR L            2130 E COUNTY ROAD 910 S                                                                                MARENGO             IN   47140‐7522
MAYVILLE, SHAWN A            3096 S PARAHAM RD                                                                                       YORK                SC   29745‐7364
MAYVILLE, SHAWN ALLEN        3096 S PARAHAM RD                                                                                       YORK                SC   29745‐7364
MAYWEATHER, ESTELLE          12081 CHEYENNE ST                                                                                       DETROIT             MI   48227‐3772
MAYWEATHER, PATRICIA L       12801 MACK AVE APT 203                                                                                  DETROIT             MI   48215‐2218
MAYWEATHER, SHIRLEY M        2839 STONEWALL STREET                                                                                   SHREVEPORT          LA   71109‐2825
MAYWOOD, JOAN F              2770 ATHENA DR                                                                                          TROY                MI   48083
MAYWORM, KAY L               290 REDMAPLE LN                                                                                         BRIGHTON            MI   48116‐2313
MAYWORM, KAY LYNN            290 REDMAPLE LN                                                                                         BRIGHTON            MI   48116‐2313
MAYWORM, PAUL E              290 REDMAPLE LN                                                                                         BRIGHTON            MI   48116‐2313
MAYWORM, THELMA              2385 WIDGEON DR                                                                                         LAKE HAVASU CITY    AZ   86403‐5034
MAYZELES, ALBERT
MAYZER, EDWARD A             5911 BRIDGE POINT DR                                                                                    MC KINNEY           TX   75070‐5368
MAYZER, MICHAEL A            6931 TERRACE RDG                                                                                        KATY                TX   77494‐0189
MAYZES, PAUL W               PO BOX 276                                                                                              IRONS               MI   49644‐0276
MAZ GOMEZ, ALVARO C          3330 NE 190TH ST APT 1318                                                                               AVENTURA            FL   33180‐2755
MAZ GOMEZ, ALVARO CLEMENTE   3330 NE 190TH ST APT 1318                                                                               AVENTURA            FL   33180‐2755
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Name                                Address1                             Address2                        Address3   Address4               City              State Zip
MAZA JR, MALCOM M                   111 W HICKORY ST                                                                                       WEST MONROE        LA 71292‐6737
MAZA JR, REFUGIO C                  4934 MOUNT BLISS RD                                                                                    EAST JORDAN        MI 49727‐9017
MAZA, ENRIQUE A                     5100 KERSEY ST APT 5103                                                                                CLERMONT           FL 34714‐9547
MAZAGONWALLA, KASSAM P              3210 DAVENPORT LN                                                                                      ROCHESTER HILLS    MI 48309‐4284
MAZAGONWALLA,KASSAM P               3210 DAVENPORT LN                                                                                      ROCHESTER HILLS    MI 48309‐4284
MAZAITIS, FREDDIE P                 1716 FORT PARK BLVD                                                                                    LINCOLN PARK       MI 48146‐1713
MAZAK CORP                          8025 PRODUCTION DR                                                                                     FLORENCE           KY 41042‐3027
MAZAK CORP                          8025 PRODUCTION DR                   PO BOX 970                                                        FLORENCE           KY 41042‐3027
MAZAK CORP                          ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 702100                                                     CINCINNATI         OH 45270‐2100
                                    AGENT
MAZAK CORP/COLLEGE P                1964 PROVIDENCE COURT                                                                                  COLLEGE PARK      GA   30337
MAZAK, TANDY J                      214 N 7TH ST                                                                                           ANN ARBOR         MI   48103‐3319
MAZAN JR, MILTON J                  183 COLD STREAM TRL                                                                                    FELTON            PA   17322‐9246
MAZANDER, KATHRYN L                 C/O EDWARD O MOODY PA                801 WEST 4TH STREET                                               LITTLE ROCK       AR   72201
MAZANDER, KATHRYN L                 MOODY EDWARD O                       801 W 4TH ST                                                      LITTLE ROCK       AR   72201‐2107
MAZANEC RASKIN & RYDER CO LPA       100 FRANKLINS ROW                    34305 SOLON RD                                                    CLEVELAND         OH   44139
MAZANEC, RICHARD J                  302 MADISON AVE                                                                                        LORENZO           TX   79343‐2530
MAZANEK ROSE (ESTATE OF) (446157)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH   44067
                                                                         PROFESSIONAL BLDG
MAZANEK, ROSE, (ESTATE OF)          BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD        OH 44067
                                                                         PROFESSIONAL BLDG
MAZANETZ, JOHN M                    640 RAVENNA RD                                                                                         NEWTON FALLS      OH   44444‐1527
MAZANY, ALLEN A                     5520 OAKDALE DR                                                                                        OAK LAWN          IL   60453‐4615
MAZANY, LEONA C                     5520 W. OAKDALE DR.                                                                                    OAK LAWN          IL   60453‐4615
MAZAR, GRACE L                      7381 PERRY RD                                                                                          GRAND BLANC       MI   48439
MAZAR, KATA                         11045 FOREST OAKS DR                                                                                   CHARDON           OH   44024‐9761
MAZAR, MARY T                       111 MINNA AVE                                                                                          AVENEL            NJ   07001‐1206
MAZAR, PAUL J                       208 SILVER LAKE DR APT 103                                                                             VENICE            FL   34292
MAZARAKES, CHRIST                   AVE DE LA CARPA FCCTO 195‐A          JOCOTEPEC CENTRO                           JOCOTEPEC JAL MEXICO
                                                                                                                    45800
MAZAREK, DELORES L                  4313 GREENVILLE RD                                                                                     WEST FARMINGTON   OH   44491‐9781
MAZAREK, JODILYN                    4860 MAHONING AVE NW                                                                                   WARREN            OH   44483
MAZAREK, MEGAN H                    269 MARSHALL AVE E                                                                                     WARREN            OH   44483‐1422
MAZARIK, BARRY F                    371 CHERRY HILL LN                                                                                     CORTLAND          OH   44410‐1101
MAZARIK‐NEEDHAM, MARCIA J           305 EVERETT HULL RD                                                                                    CORTLAND          OH   44410‐9505
MAZAT CAROL                         2129 RIDGE RD                                                                                          WHITE LAKE        MI   48383‐1742
MAZAT, CAROL J                      2129 RIDGE RD                                                                                          WHITE LAKE        MI   48383‐1742
MAZAT, JERRY G                      2129 RIDGE RD                                                                                          WHITE LAKE        MI   48383‐1742
MAZDAK KHALIGHI                     350 SHARON PARK DR APT Q22                                                                             MENLO PARK        CA   94025‐8502
MAZE JR, JAMES O                    5342 LONGLEAF CT                                                                                       LAKELAND          FL   33810‐8256
MAZE JR, WILLIAM K                  2100 E HUEBBE PKWY                                                                                     BELOIT            WI   53511‐1815
MAZE, ANNA                          510 PARCHMOUNT AVE                                                                                     PARCHMENT         MI   49004‐1339
MAZE, BERNICE R                     735 TRUMBULL ST                      APT 3                                                             XENIA             OH   45385
MAZE, CLEVELAND                     818 BATES ST SE                                                                                        GRAND RAPIDS      MI   49506‐2616
MAZE, CLEVELAND                     1236 S DORROLL ST NE                                                                                   GRAND RAPIDS      MI   49505‐4385
MAZE, DANA L                        40262 KRISTEN DR                                                                                       STERLING HTS      MI   48310‐1928
MAZE, GERALD K                      5428 SWEET BRIAR DR                                                                                    KALAMAZOO         MI   49009‐9522
MAZE, JOHN A                        4526 WHITE POINT CT                                                                                    NICEVILLE         FL   32578‐4256
MAZE, JOHNOLLIE                     509 N WASHINGTON AVE                                                                                   WAGONER           OK   74467‐3827
MAZE, KATHY S                       144 WILLOWBROOK STREET                                                                                 DECATUR           AL   35603‐6206
MAZE, KEVIN C                       PO BOX 28870                                                                                           RICHMOND          VA   23228
MAZE, LARRY B                       1757 E UPPER RIVER RD                                                                                  DECATUR           AL   35603‐5919
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Name                                    Address1                           Address2                          Address3   Address4               City               State Zip
MAZE, MARILYN M                         6168 MAGNOLIA DR                                                                                       MOUNT MORRIS        MI 48458‐2816
MAZE, RALPH M                           924 N MORGAN ST                                                                                        KOKOMO              IN 46901
MAZE, RICHARD G                         8226 GOODMAN ST                                                                                        OVERLAND PARK       KS 66204‐3504
MAZE, ROOSEVELT                         6168 MAGNOLIA DR                                                                                       MOUNT MORRIS        MI 48458‐2816
MAZE, ROSE G                            20765 HWY 33                                                                                           MOULTON             AL 35650
MAZE, ZOE J                             323 RAY AVE                                                                                            CRESTVIEW           FL 32536‐9216
MAZEH, NACHAAT                          6556 HARTWELL ST                                                                                       DEARBORN            MI 48126‐1819
MAZEI, DAVID J                          3870 BRYANT DR                                                                                         YOUNGSTOWN          OH 44511‐1154
MAZEL OVERBEY                           550 18TH ST                                                                                            CARLYLE              IL 62231‐1702
MAZEL RAMEY                             1164 CREEKSIDE CT                                                                                      BURTON              MI 48509‐1460
MAZEL REALTORS                          C\O L SHEPARD                      855 JENNIFER CT                                                     LAKE FOREST          IL 60045‐4313
MAZEL WEAVER                            2641 DAWN TER                                                                                          CUYAHOGA FALLS      OH 44223‐1202
MAZELLA LIFTING TECHNOLOGIES            PO BOX 74164                                                                                           CLEVELAND           OH 44194‐0242
MAZELLA, MARY R                         383 ROXFORD RD N                                                                                       SYRACUSE            NY 13208‐1945
MAZEN BEAINI                            SOLIDERE                                                                        BEIRUT LEBANON
MAZEN EADEH                             48124 COVINGTON CT                                                                                     CANTON             MI   48187‐5482
MAZEN NAJJAR MD                         ATTN: MAZEN NAJJAR                 5084 VILLA LINDE PKWY # 5                                           FLINT              MI   48532‐3422
MAZEN NAJJAR MD                         ATTN: MAZEN NAJJAR                 5031 VILLA LINDE PKWY                                               FLINT              MI   48532‐3446
MAZENIS, JEANETTE                       1123 NORTH EDMONDSON AVENUE        APT D18                                                             INDIANAPOLIS       IN   46219
MAZENIS, JEANETTE                       1123 N EDMONDSON AVE APT D18                                                                           INDIANAPOLIS       IN   46219‐3527
MAZER JR, MICHAEL                       12 LYONS ST                                                                                            SOUTH RIVER        NJ   08882‐2443
MAZER MICHAEL (011459)                  WYSOKER GLASSNER & WEINGARTNER     340 GEORGE ST                                                       NEW BRUNSWICK      NJ   08901‐2011
MAZER, DIANE C                          406 SE JUSTINE TER                                                                                     PORT SAINT LUCIE   FL   34983
MAZER, MICHAEL                          WYSOKER GLASSNER & WEINGARTNER     340 GEORGE ST                                                       NEW BRUNSWICK      NJ   08901‐2011
MAZER, MICHAEL J                        330 E MIDLAND RD                                                                                       AUBURN             MI   48611
MAZERIK, JOSEPH A                       6617 COUNTRY RIDGE AVE                                                                                 AUSTINTOWN         OH   44515‐5556
MAZERIK, JOSEPH M                       6589 HARVEST RIDGE DR                                                                                  AUSTINTOWN         OH   44515‐5561
MAZEROLLE, RAYMOND G                    407 WASHINGTON RD                                                                                      TERRYVILLE         CT   06786‐6718
MAZES, JOHN D                           46 TYRCONNELL ST                                                                                       AMITYVILLE         NY   11701
MAZETTA MAXWELL                         4069 N 71ST ST                                                                                         MILWAUKEE          WI   53216‐1025
MAZEY, DARRIK L                         3625 KENT RD APT 1                                                                                     STOW               OH   44224‐4671
MAZEY, DEVIN L                          10624 GRAYHAWK LANE                                                                                    KELLER             TX   76248‐6342
MAZEY, JOYCE                            PO BOX 151                                                                                             CEDAR SPRINGS      MI   49319‐0151
MAZEY, PHYLLIS M                        1422 W COURT ST                                                                                        FLINT              MI   48503‐5008
MAZEY, ROBERT R                         221 E OAK ST BOX 203                                                                                   MIDDLETON          MI   48856
MAZEY, TRACEY L                         10624 GRAYHAWK LN                                                                                      KELLER             TX   76248‐6342
MAZEY, TRACEY L.                        10624 GRAYHAWK LN                                                                                      KELLER             TX   76248‐6342
MAZEY,TRACEY L.                         10624 GRAYHAWK LN                                                                                      KELLER             TX   76248‐6342
MAZGAJEWSKI, MARTIN S                   49 CHOATE AVE                                                                                          BUFFALO            NY   14220‐1924
MAZGAJEWSKI, PAUL F                     15 SANDRA DR                                                                                           CHEEKTOWAGA        NY   14225‐2333
MAZGLAD, CHRISTINE M                    1395 PANINI DR                                                                                         HENDERSON          NV   89052‐3180
MAZHER HUSSAIN MD                       PO BOX 674125                                                                                          DETROIT            MI   48267‐25
MAZIAR, THOMAS S                        4261 MAYFAIR CT S                                                                                      GROVE CITY         OH   43123‐9602
MAZIARCZYK, MARTIN M                    9352 OLEAN RD                                                                                          HOLLAND            NY   14080‐9772
MAZIARZ JEROME C (ESTATE OF) (663909)   COONEY & CONWAY                    120 NORTH LASALLE STREET , 30TH                                     CHICAGO            IL   60602
                                                                           FLOOR
MAZIARZ JOHN JR (491226)                BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD         OH 44067
                                                                           PROFESSIONAL BLDG
MAZIARZ, AMANDA S                       3535 W TIERRA BUENA LN UNIT 136W                                                                       PHOENIX            AZ   85053
MAZIARZ, DELORIS                        6548 FERGUS RD                                                                                         SAINT CHARLES      MI   48655‐9615
MAZIARZ, DOROTHY A                      3398 S TOWERLINE RD                                                                                    BRIDGEPORT         MI   48722‐9542
MAZIARZ, EDWARD J                       3398 S TOWERLINE RD                                                                                    BRIDGEPORT         MI   48722‐9542
                                   09-50026-mg            Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
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Name                               Address1                        Address2                         Address3           Address4                  City              State Zip
MAZIARZ, FRANK                     10050 BURGESS CT                                                                                              WHITE LAKE         MI 48386‐2806
MAZIARZ, GENEVIEVE H               624 SOUTH GRAND TRAVERSE ST                                                                                   FLINT              MI 48502‐1230
MAZIARZ, GREGORY J                 325 AUTUMN RIDGE RD                                                                                           GLASGOW            KY 42141‐9699
MAZIARZ, HELEN                     2603 25TH ST                    C/O PATRICIA MAJCHRZAK                                                        BAY CITY           MI 48708‐7679
MAZIARZ, HELEN                     C/O PATRICIA MAJCHRZAK          2603 25TH ST                                                                  BAY CITY           MI 48708
MAZIARZ, HENRY                     STE 1                           624 SOUTH GRAND TRAVERSE ST                                                   FLINT              MI 48502‐1230
MAZIARZ, HOWARD C                  817 S CASS ST                                                                                                 MIDDLETOWN         DE 19709‐1334
MAZIARZ, IRENE C                   886 BOB‐O‐LINK LN                                                                                             WEST CHESTER       PA 19382
MAZIARZ, JEROME C                  COONEY & CONWAY                 120 NORTH LASALLE STREET, 30TH                                                CHICAGO             IL 60602
                                                                   FLOOR
MAZIARZ, JOHN J                    1615 LIBERTY ROAD                                                                                             SAGINAW           MI   48604‐9745
MAZIARZ, JOSEPH                    22 NEWELL AVE                                                                                                 TRENTON           NJ   08618‐5134
MAZIARZ, JOSEPH V                  5097 MERIDIAN RD                                                                                              WILLIAMSTON       MI   48895‐9332
MAZIARZ, RICHARD L                 20 ARMOND LN                                                                                                  DEPEW             NY   14043‐4703
MAZIARZ, RICHARD LEON              20 ARMOND LN                                                                                                  DEPEW             NY   14043‐4703
MAZIARZ, ROBERT F                  10050 BURGESS CT                                                                                              WHITE LAKE        MI   48386‐2806
MAZIARZ, STANLEY A                 PO BOX 422                                                                                                    HOPEWELL          NJ   08525‐0422
MAZIARZ, STANLEY M                 119 MILLER ST                                                                                                 NORTH TONAWANDA   NY   14120‐6816
MAZIARZ, STELLA                    6577 FENTON                                                                                                   DEARBORN HTS      MI   48127‐2114
MAZIARZ, STELLA                    6577 FENTON ST                                                                                                DEARBORN HTS      MI   48127‐2114
MAZIASZ, CLARA                     PO BOX 17771                                                                                                  CLEARWATER        FL   33762‐0771
MAZIASZ, MICHAEL M                 2401 CHESWICK DR                                                                                              TROY              MI   48084‐1156
MAZIE ANDREWS                      33 HOY GREEN ACRES DR                                                                                         LAUREL            MS   39443‐0987
MAZIE E ANDREWS                    33 HOY GREEN ACRES DR                                                                                         LAUREL            MS   39443‐0987
MAZIE EDWARDS                      4528 HAMPTON CT APT 1                                                                                         GRAND LEDGE       MI   48837‐8130
MAZIE HUNTER                       301 INGLESIDE AVE                                                                                             DAYTON            OH   45404‐1359
MAZIE J HUNTER                     301 INGLESIDE AVE                                                                                             DAYTON            OH   45404‐1359
MAZIE LAZAR                        5945 PECK RD                                                                                                  BROWN CITY        MI   48416‐9000
MAZIE LEDFORD                      5444 DALTON PIKE SE                                                                                           CLEVELAND         TN   37323‐9149
MAZIE MARKLE                       295 LOYALIST LN                                                                                               FLINT             MI   48507‐5925
MAZIE MURPHY                       1940 TEBO ST                                                                                                  FLINT             MI   48503‐4431
MAZIE NUCCILLI                     29304 HOOVER ROAD                                                                                             WARREN            MI   48093‐3436
MAZIE PETERSON                     PO BOX 7168                                                                                                   COLUMBUS          OH   43205‐0168
MAZIE ROBERTS, INDIVIDUALLY & AS   OF JOHN ROBERTS, SR DECEASED    ATTN: J KENT EMISON              LANGDON & EMISON   PO BOX 220, 911 MAIN ST   LEXINGTON         MO   64067‐0220
SPECIAL ADMIN OF ESTATE
MAZIE SPARKS                       304 SURREY HTS                                                                                                WESTLAND          MI   48186‐3761
MAZIE, GERALDINE B                 950 STEVENS TRL                                                                                               MONROE            MI   48161‐4600
MAZIE, PHYLLIS A                   239 NETHERFIELD ST NW                                                                                         COMSTOCK PARK     MI   49321‐9343
MAZIERSKI, JOSEPH C                7251 ASHLEY LN                                                                                                NORTH TONAWANDA   NY   14120‐3605
MAZIERSKI, JOSEPH CHARLES          7251 ASHLEY LN                                                                                                NORTH TONAWANDA   NY   14120‐3605
MAZINE PAULINE                     PO BOX 1097                                                                                                   CLINTON           MS   39060
MAZIQUE, JOHNNIE E                 1167 E HOME AVE                                                                                               FLINT             MI   48505‐3022
MAZNER, DELORES P                  3215 W MOUNT HOPE AVE APT 220                                                                                 LANSING           MI   48911‐1279
MAZNER, JOE E                      4779 EASTLUND CIR                                                                                             HOLT              MI   48842‐1996
MAZNER, LAILA E                    4919 DELBROOK AVE                                                                                             LANSING           MI   48910‐5315
MAZNER, SCOTT C                    13512 COTTONWOOD CT                                                                                           DEWITT            MI   48820‐9058
MAZO, JOHN M                       6613 CANYON CREEK DR                                                                                          CORPUS CHRISTI    TX   78413
MAZOCK, MIKE                       251 SOUTH HANOVER STREET                                                                                      CARLISLE          PA   17013‐3905
MAZOLA CAGLE                       301 TENPENNY RD                                                                                               WOODBURY          TN   37190‐5340
MAZOLA GARNETT                     34 PIERCE ST                                                                                                  NEW ROCHELLE      NY   10801‐2025
MAZON ASSOCIATES                   PO BOX 152                                                                                                    CHEEKTOWAGA       NY   14225‐0152
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Name                                  Address1                            Address2                        Address3                  Address4         City              State Zip
MAZON LAWRENCE A (480760)             KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                              CLEVELAND          OH 44114
                                                                          BOND COURT BUILDING
MAZON, ANGEL R                        10533 W SELDON LN                                                                                              PEORIA            AZ 85345‐7448
MAZON, FRANCIS R                      2181 TIMBER RIDGE TRL                                                                                          STREETSBORO       OH 44241‐5888
MAZON, LAWRENCE A                     KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                               CLEVELAND         OH 44114
                                                                          BOND COURT BUILDING
MAZOR, DANIELLE N                     5601 FLOWERDALE AVENUE                                                                                         CLEVELAND         OH    44144‐4109
MAZOR, JOSEPH F                       22110 MARY ST                                                                                                  TAYLOR            MI    48180‐2754
MAZOURI SHEREEN                       8090 SHIELDS DR                                                                                                SAGINAW           MI    48609‐4828
MAZOWITA, HELENE A                    14237 HOUGHTON ST                                                                                              LIVONIA           MI    48154‐5901
MAZREK, MARY                          11010 SW 58TH AVENUE RD                                                                                        OCALA             FL    34476‐9404
MAZSEANE TURNER                       39104 CHEROKEE DR                                                                                              ROMULUS           MI    48174‐5025
MAZUCA, JUANITA G                     1193 BUCKINGHAM RD                                                                                             HASLETT           MI    48840
MAZUCHOWSKI, CONRAD E                 15697 ALSIP ST                                                                                                 ROSEVILLE         MI    48066‐2775
MAZUCHOWSKI, GAIL A                   22823 BRAYDON CT                                                                                               NOVI              MI    48374‐3722
MAZUK, JAMES B                        1210 MILDRED CIR                                                                                               EDGERTON          WI    53534‐1934
MAZUR JOSEPH F (ESTATE OF) (655201)   BELLUCK & FOX LLP                   546 5TH AVE #4                                                             NEW YORK          NY    10036‐5000
MAZUR JR, EDWARD                      95 OLD STONE RD                                                                                                DEPEW             NY    14043‐4232
MAZUR STEVEN M                        5695 MABLEY HILL RD                                                                                            FENTON            MI    48430‐9427
MAZUR WANDA                           MAZUR, EUGENE                       120 WEST MADISON STREET 10TH                                               CHICAGO           IL    60602
                                                                          FLOOR
MAZUR WANDA                           MAZUR, WANDA                        120 WEST MADISON STREET 10TH                                               CHICAGO            IL   60602
                                                                          FLOOR
MAZUR WANDA & EUGENE                  MAZUR, EUGENE                       KROHN & MOSS ‐ IN               120 WEST MADISON STREET                    CHICAGO            IL   60602
                                                                                                          10TH FLOOR
MAZUR WANDA & EUGENE                  MAZUR, WANDA                        KROHN & MOSS ‐ IN               120 WEST MADISON STREET                    CHICAGO            IL   60602
                                                                                                          10TH FLOOR
MAZUR, ALICE E                        9207 S.PLASCITA SATUARO SOLITARIO                                                                              VAIL              AZ    85641
MAZUR, ANNA J                         2700 NORTH FOREST RD                APT 251                                                                    GETZVILLE         NY    14068
MAZUR, BARBARA J                      26 S ELLICOTT ST                                                                                               WILLIAMSVILLE     NY    14221‐6938
MAZUR, CARROL R                       3366 SALT SPRINGS RD                                                                                           WARREN            OH    44481‐9219
MAZUR, CATHY D                        PO BOX 1014                                                                                                    MONTOUR FALLS     NY    14865‐1014
MAZUR, CHARLES                        6102 RAINBOW CIR                                                                                               GREENACRES        FL    33463‐3605
MAZUR, CHARLES J                      11400 KENSINGTON AVE                                                                                           CLEVELAND         OH    44111‐5252
MAZUR, CHARLOTTE ROSE                 713 PASADENA AVE                                                                                               NIAGARA FALLS     NY    14304‐3541
MAZUR, DAVID                          20 INNIS BROOK LN                                                                                              BRENTWOOD         TN    37027‐8940
MAZUR, DAVID                          402 WANDERING TRAIL                                                                                            FRANKLIN          TN    37067‐5768
MAZUR, DAVID A                        600 TIMBERWOOD LN                                                                                              SAGINAW           MI    48609‐8506
MAZUR, DELPHINE                       11929 HOVEY ST                                                                                                 WARREN            MI    48089‐4632
MAZUR, DMITRIY V                      1565 MERCEDES ST                                                                                               WEST BLOOMFIELD   MI    48324‐3937
MAZUR, EUGENE                         KROHN & MOSS ‐ IN                   120 WEST MADISON STREET 10TH                                               CHICAGO           IL    60602
                                                                          FLOOR
MAZUR, FELIKS                         221 CRESTWOOD DR                                                                                               CAMILLUS          NY    13031‐2411
MAZUR, FRANCIS J                      58 PEACHSTONE RD                                                                                               HOWELL            NJ    07731‐2208
MAZUR, FREDERICK C                    3437 PARKWOOD DR                                                                                               DEWITT            MI    48820‐9604
MAZUR, GAREY P                        PO BOX 81                                                                                                      WAPITI            WY    82450‐0081
MAZUR, GERALD W                       0 N 560PRINCE CROSSING RD                                                                                      WEST CHICAGO      IL    60185
MAZUR, GREGORY                        39343 LEDGATE DR                                                                                               STERLING HTS      MI    48310‐2339
MAZUR, HELEN M                        111 STONY RD                                                                                                   EDISON            NJ    08817‐3726
MAZUR, HELEN M                        111 STONEY RD.                                                                                                 EDISON            NJ    08817
MAZUR, JEAN A                         11138 ARMSTRONG N.                  EDGEWOOD VILLAGE                                                           SAGINAW           MI    48609‐9466
MAZUR, JOHN S                         4040 SPRING HUE LN                                                                                             DAVISON           MI    48423‐8900
                           09-50026-mg              Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                       Address1                         Address2                       Address3   Address4         City               State Zip
MAZUR, JOSEPH F            BELLUCK & FOX LLP                546 5TH AVE #4                                             NEW YORK            NY 10036‐5000
MAZUR, JOSEPH M            52588 LAUREL OAK LN                                                                         CHESTERFIELD        MI 48047‐1488
MAZUR, JOSEPH MICHAEL      52588 LAUREL OAK LN                                                                         CHESTERFIELD        MI 48047‐1488
MAZUR, JOSEPH S            43 EAST GIRARD BOULEVARD                                                                    BUFFALO             NY 14217‐2014
MAZUR, JOSEPHINE           21536 CRUSADE AVE                                                                           EAST DETROIT        MI 48021‐3604
MAZUR, JOYCE A             206 SLOAN CT                                                                                WILMINGTON          DE 19808‐1122
MAZUR, LEONARD             222 BARBADOS DR                                                                             CHEEKTOWAGA         NY 14227‐2517
MAZUR, LORIN A             6870 N CENTRAL PARK                                                                         SHELBY TOWNSHIP     MI 48317‐6304
MAZUR, MARK F              53425 VILLA ROSA DR                                                                         MACOMB              MI 48042‐5767
MAZUR, MARTHA G            23186 W LE BOST                                                                             NOVI                MI 48375‐3409
MAZUR, MARY A              280 AVE C                                                                                   BAYONNE             NJ 07002‐2543
MAZUR, MICHAEL S           PO BOX 2354                                                                                 DAVIDSON            NC 28036
MAZUR, NATHAN G            359 TESSA PL                                                                                CORTLAND            OH 44410‐1215
MAZUR, NATHAN G.           359 TESSA PL                                                                                CORTLAND            OH 44410‐1215
MAZUR, OPAL                5207 MCCARTNEY RD                                                                           SANDUSKY            OH 44870‐1529
MAZUR, OPAL                5207 MC CARTNEY RD                                                                          SANDUSKY            OH 44870‐1529
MAZUR, RAYMOND A           1411 E WINDEMERE AVE                                                                        ROYAL OAK           MI 48073‐5614
MAZUR, RICHARD A           8521 N EVANGELINE ST                                                                        DEARBORN HTS        MI 48127‐1147
MAZUR, RICHARD J           12836 PICADILLY DR                                                                          STERLING HEIGHTS    MI 48312‐1506
MAZUR, RITA R              14311 WAYFORD RUN                                                                           SHELBY TWP          MI 48315‐4837
MAZUR, ROBERT O            23 W MAIN ST                                                                                CORFU               NY 14036‐9411
MAZUR, RONALD L            3112 BUFFALO RD                                                                             VARYSBURG           NY 14167‐9748
MAZUR, RUSSELL J           3 VIA DONATO                                                                                DEPEW               NY 14043‐4548
MAZUR, RUSSELL J.          3 VIA DONATO                                                                                DEPEW               NY 14043‐4548
MAZUR, SHIRLEY A           54880 HENNINGTON CT                                                                         SHELBY TWP          MI 48316‐1205
MAZUR, STAN T              5138 OGDEN ST                                                                               DETROIT             MI 48210‐2067
MAZUR, STANLEY J           87 ELMWOOD TER                                                                              TORRINGTON          CT 06790‐3237
MAZUR, STEPHEN J           5163 S GRAVEL RD                                                                            MEDINA              NY 14103‐9524
MAZUR, STEVEN M            5695 MABLEY HILL RD                                                                         FENTON              MI 48430‐9427
MAZUR, THERESA L           10393 CARRIVEAU RD                                                                          OSSINEKE            MI 49766‐9521
MAZUR, WANDA               KROHN & MOSS ‐ IN                120 WEST MADISON STREET 10TH                               CHICAGO              IL 60602
                                                            FLOOR
MAZUR, WANDA A             17667 E KIRKWOOD DR                                                                         CLINTON TWP        MI   48038‐1211
MAZUR, WILLIAM A           2037 HAWTHORNE ST                                                                           DEARBORN           MI   48128‐1449
MAZUR, WLADYSLAW           7616 ROSEMONT AVE                                                                           DETROIT            MI   48228‐3462
MAZUR‐BERTINI, CYNTHIA M   42046 GREENWOOD DR                                                                          CANTON             MI   48187‐3615
MAZURA NICHOLAS (424229)   WEITZ & LUXENBERG                180 MAIDEN LANE                                            NEW YORK           NY   10038
MAZURA, KATHERINE M        978 RAHWAY AVE                                                                              AVENEL             NJ   07001‐1946
MAZURA, KATHERINE M        978 RAHWAY AVENUE                                                                           AVENEL             NJ   07001‐1946
MAZURA, NICHOLAS           WEITZ & LUXENBERG                180 MAIDEN LANE                                            NEW YORK           NY   10038
MAZURCO, MATTHEW J         50596 KNIGHTSBRIDGE DR                                                                      MACOMB             MI   48044‐6339
MAZURCZAK, NANCY L.        35 AIRVIEW TERRACE                                                                          DEPEW              NY   14043‐1529
MAZURCZAK, NANCY L.        35 AIRVIEW TER                                                                              DEPEW              NY   14043‐1529
MAZURE, DALE R             3712 EDGAR AVE                                                                              ROYAL OAK          MI   48073‐2273
MAZURE, MICHAEL D          2339 ROSEWOOD ST                                                                            JENISON            MI   49428‐8143
MAZUREK JR, BERNARD G      41816 RAYBURN DR                                                                            NORTHVILLE         MI   48168‐2085
MAZUREK JR., RONALD F      6038 MAPLE TRL                                                                              GRAND BLANC        MI   48439‐9037
MAZUREK STEVE              68 THORNHILL LN                                                                             LAKE BARRINGTON    IL   60010‐1632
MAZUREK, ANNA G            32414 SHERIDAN                                                                              BEVERLY HILLS      MI   48025
MAZUREK, BERNARD           1514 VERMILYA AVE                                                                           FLINT              MI   48507‐1592
MAZUREK, BERNEE V          454 NORDBERG AVE NW                                                                         GRAND RAPIDS       MI   49504‐4728
MAZUREK, CHARLOTTE E.      2994 ELMWOOD AVE APT 6                                                                      KENMORE            NY   14217‐1223
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Name                         Address1                       Address2            Address3         Address4         City               State Zip
MAZUREK, CHARLOTTE E.        2994 ELMWOOD AVE               APT 6                                                 KENMORE             NY 14217
MAZUREK, CHESTER W           7147 WEBSTER RD                                                                      ALMONT              MI 48003‐7905
MAZUREK, DOLORES L           36550 GRAND RIVER AVE #212                                                           FARMINGTON HILLS    MI 48335
MAZUREK, FEDORA              1187 CHARRINGTON                                                                     TROY                MI 48083‐5447
MAZUREK, GENE A              9431 MISSISSIPPI RUN                                                                 WEEKI WACHEE        FL 34613‐4226
MAZUREK, GREGORY J           252 BARBADOS DR                                                                      CHEEKTOWAGA         NY 14227‐2530
MAZUREK, JOHN                2257 MAIN ST                                                                         HOLT                MI 48842‐1005
MAZUREK, JOHN T              423 INDIANA AVE                                                                      SANDUSKY            OH 44870‐5713
MAZUREK, KELLY               803 ELMWOOD ST                                                                       DEWITT              MI 48820‐9562
MAZUREK, KELLY               803 ELMWOOD STREET                                                                   DEWITT              MI 48820‐9562
MAZUREK, LEO E               10856 E CARLTON CENTER RD                                                            WOODLAND            MI 48897‐9670
MAZUREK, MATHEW M            11206 BROADWAY ST                                                                    ALDEN               NY 14004‐9509
MAZUREK, PAUL E              7633 CHASE RD                                                                        DEARBORN            MI 48126‐1001
MAZUREK, RICHARD H           29534 GARDEN ST                                                                      ROSEVILLE           MI 48066‐2262
MAZUREK, RONALD F            32143 MELTON ST                                                                      WESTLAND            MI 48186‐4937
MAZUREK, ROSE M              8154 STANLEY RD                                                                      FLUSHING            MI 48433‐1110
MAZUREK, TEDDY M             32414 SHERIDAN DR                                                                    BEVERLY HILLS       MI 48025‐4253
MAZUREK, THEOPHIL A          15660 HANFOR AVE                                                                     ALLEN PARK          MI 48101‐2783
MAZUREK, THOMAS C            25114 S MAGDALENA ST                                                                 HARRISON TWP        MI 48045‐3708
MAZUREK, WALTER J            27036 LORRAINE AVE                                                                   WARREN              MI 48093‐4444
MAZURIK, JOHN W              4310 ORCHARD PARK DR                                                                 PARMA               OH 44134‐4545
MAZURKEWYCZ, LUBOMIR         325 SW MARSH WREN ST                                                                 LEES SUMMIT         MO 64082‐4597
MAZURKIEWICZ DC              10 WASHINGTON AVE                                                                    BATAVIA             NY 14020‐2009
MAZURKIEWICZ, BERNARD W      2452 WATERFRONT DR                                                                   IMPERIAL            MO 63052‐4311
MAZURKIEWICZ, DANIEL D       6666 WILLOW TER                                                                      SOUTH WALES         NY 14139‐9715
MAZURKIEWICZ, DANIEL DAVID   6666 WILLOW TER                                                                      SOUTH WALES         NY 14139‐9715
MAZURKIEWICZ, DENNIS F       239 RR 1 BOX 905                                                                     MECHANIC FALLS      ME 04256
MAZURKIEWICZ, DOLORES        2434 CHARLESTON DR UNIT 4                                                            SCHAUMBURG           IL 60193‐5359
MAZURKIEWICZ, ELEANOR L      4909 W EDGERTON AVE APT 219                                                          GREENFIELD          WI 53220‐4850
MAZURKIEWICZ, FRANCES L      1011 SCARLET DR                                                                      PICAYUNE            MS 39466‐2206
MAZURKIEWICZ, FRANCES L      1011 SCARLETT DRIVE                                                                  PICAYUNE            MS 39466
MAZURKIEWICZ, JOSEPH D       79 WALTON DR                                                                         AMHERST             NY 14226‐4530
MAZURKIEWICZ, RALPH F        14 BOSTWICK PL                                                                       DEPEW               NY 14043‐2802
MAZURKIEWICZ, RICHARD J      47109 YARMOUTH DR                                                                    CANTON              MI 48188‐6237
MAZURO, DANIEL E             15280 NADINE                                                                         FRASER              MI 48026‐5083
MAZUROWSKI, THEODORE R       4 CRABAPPLE LN                                                                       FRANKLIN PARK       NJ 08823‐1406
MAZURSKI JR., STEPHEN B      PO BOX 514                                                                           VARYSBURG           NY 14167‐0514
MAZURSKI, KELLY L            3560 BUFFALO RD                                                                      ATTICA              NY 14011‐9632
MAZZA JR, RICHARD J          927 N HIGHLAND AVE                                                                   GIRARD              OH 44420‐2025
MAZZA, ANN T                 621 EAST BLUE ROCK WAY                                                               VAIL                AZ 85641‐2269
MAZZA, ANN T                 621 E BLUE ROCK WAY                                                                  VAIL                AZ 85641‐2269
MAZZA, ANNAMAE M             414 WEAVERS WAY                                                                      BOSSIER CITY        LA 71111‐2097
MAZZA, ARTHUR M              8232 YARROW ST                                                                       ROSEMEAD            CA 91770‐4054
MAZZA, CHRISTOPHER M         4567 COVENTRY PKWY                                                                   FORT WAYNE          IN 46804‐7109
MAZZA, CHRISTOPHER MICHAEL   4567 COVENTRY PKWY                                                                   FORT WAYNE          IN 46804‐7109
MAZZA, FLORENCE T            1742 FLORIDA ST                                                                      WESTFIELD           NJ 07090‐2214
MAZZA, FRANK T               44 COOKS CROSS RD                                                                    PITTSTOWN           NJ 08867
MAZZA, GARY J                3607 PLUM BROOK CIR                                                                  SANDUSKY            OH 44870
MAZZA, GREGORY C             15380 75TH PLACE NORTH                                                               OSSEO               MN 55311‐2005
MAZZA, JAMES P               744 WINDSWOOD WAY                                                                    SANDUSKY            OH 44870‐7524
MAZZA, JEAN A                574 PASSAIC AVE                                                                      KEARNY              NJ 07032‐1304
MAZZA, LEWIS                 1583 EBENEZER RD SW                                                                  CONYERS             GA 30094‐6253
                                      09-50026-mg             Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                                  Address1                         Address2                        Address3   Address4         City             State Zip
MAZZA, LEWIS J                        91 TAFT AVE                                                                                  NEWBURGH          NY 12550‐2736
MAZZA, MARIA C                        228 E BOALT ST                                                                               SANDUSKY          OH 44870‐4107
MAZZA, MARIETTA                       211 SCHILLER AVENUE                                                                          SANDUSKY          OH 44870‐5451
MAZZA, MARIO                          81 ELMORA AVE                                                                                ELIZABETH         NJ 07202‐1631
MAZZA, MARY M                         4958 STATE ROUTE 4                                                                           BELLEVUE          OH 44811‐9713
MAZZA, MICHAEL                        414 WEAVERS WAY                                                                              BOSSIER CITY      LA 71111‐2097
MAZZA, PETER E                        5766 GRIFFIN ST                                                                              SANBORN           NY 14132‐9203
MAZZA, RICHARD J                      1134 HILLSIDE ROAD                                                                           JAMESTOWN         PA 16134‐6018
MAZZA, ROBERT H                       712 W JEFFERSON ST                                                                           SANDUSKY          OH 44870‐2347
MAZZA, ROSE A                         1715 MILAN RD                                                                                SANDUSKY          OH 44870‐4118
MAZZA‐LIANTONIO SUSANA                63 WESTCOTT BOULEVARD                                                                        STATEN ISLAND     NY 10314‐2352
MAZZA‐WENDT, DEBRA A                  1304 PEARL ST                                                                                SANDUSKY          OH 44870‐3033
MAZZACONE, ANGELA                     601 N BROADWAY                                                                               SLEEPY HOLLOW     NY 10591‐1107
MAZZACONE, ANGELA                     601 NO BROADWAY                                                                              NO TARRYTOWN      NY 10591‐1107
MAZZACONE, STEVE C                    601 N BROADWAY                                                                               SLEEPY HOLLOW     NY 10591‐1107
MAZZAIA, DAVID B                      1508 W 8TH ST                                                                                MUNCIE            IN 47302
MAZZAN FRANK (446159)                 BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                                       PROFESSIONAL BLDG
MAZZANTI, LENA M                      2020 FRANKLIN ST                                                                             N LITTLE ROCK    AR   72114‐2668
MAZZANTI, MARY L                      2655 APT 2 SYCAMORE GLEN DRIVE                                                               SPARKS           NV   89434‐7617
MAZZARA CHRISTY M                     1374 THORN RIDGE DRIVE                                                                       HOWELL           MI   48843‐6131
MAZZARA JR, WILLIAM E                 3670 MARINER ST                                                                              WATERFORD        MI   48329‐2268
MAZZARA JR,WILLIAM E                  3670 MARINER ST                                                                              WATERFORD        MI   48329‐2268
MAZZARA, BARBARA A                    12922 WAYNESBORO ST                                                                          SAN ANTONIO      TX   78233‐4655
MAZZARA, CHRISTY M                    1374 THORN RIDGE DR                                                                          HOWELL           MI   48843‐6131
MAZZARA, JACK P                       834 ARROWOOD DRIVE                                                                           NIAGARA FALLS    NY   14304
MAZZARA, JACK P                       7015 SUNNYDALE DR                                                                            NIAGARA FALLS    NY   14304
MAZZARA, JOHN J                       1375 WEILAND RD                                                                              ROCHESTER        NY   14626‐3947
MAZZARA, JOSEPH J                     1375 WEILAND RD                                                                              ROCHESTER        NY   14626‐3947
MAZZARA, PETER                        17602 FOX                                                                                    REDFORD          MI   48240‐2310
MAZZARA, PETER L                      1020 S HILLS DR                                                                              HOWELL           MI   48843‐6156
MAZZARA, ROSE M.                      75 PENNELS DR                                                                                ROCHESTER        NY   14626‐4922
MAZZARELLA, ANTHONY J                 153 OAK ST                                                                                   PITTSTON         PA   18640‐3705
MAZZARELLI, IDA L                     946 MAYHEW WOOD DR SE                                                                        GRAND RAPIDS     MI   49507‐3610
MAZZARELLI, RICHARD T                 28 TALBOTT FARM DRIVE                                                                        MENDON           MA   01756‐1150
MAZZARINI, ANTOINETTE D               4 SEARINGTON DR                                                                              SYOSSET          NY   11791‐3210
MAZZARINO, CAROL G                    9733 DUFFER WAY                                                                              GAITHERSBURG     MD   20886‐1302
MAZZARINO, JERRY                      3940 STANSBURY AVE                                                                           SHERMAN OAKS     CA   91423‐4618
MAZZARINS, ANNA A                     1146 SHEPARD HILLS BLVD                                                                      MACEDONIA        OH   44056‐1326
MAZZARINS, JANIS                      1146 SHEPARD HILLS BLVD                                                                      MACEDONIA        OH   44056‐1326
MAZZARO, LOUIS J                      3422 ADAMS SHORE DR                                                                          WATERFORD        MI   48329‐4202
MAZZATENTA ERNEST                     8 BEN HOGAN DR                                                                               HENDERSONVILLE   NC   28739‐8100
MAZZATENTA, ERNEST D                  8 BEN HOGAN DR                                                                               HENDERSONVILLE   NC   28739‐8100
MAZZEI PONTIAC‐CADILLAC CO.           1530 W 10TH ST                                                                               ANTIOCH          CA   94509‐1351
MAZZEI PONTIAC‐CADILLAC CO.           MATTHEW MAZZEI                   PO BOX 519                                                  ANTIOCH          CA   94509‐0051
MAZZEI PONTIAC‐CADILLAC‐BUICK‐GMC T   PO BOX 519                                                                                   ANTIOCH          CA   94509‐0051

MAZZEI PONTIAC‐CADILLAC‐BUICK‐GMC     PO BOX 519                                                                                   ANTIOCH          CA 94509‐0051
TRUCK
MAZZEI, WILLIAM P                     11818 NEW HAVEN DR                                                                           SPRING HILL      FL 34609‐9258
MAZZELLA ANTHONY R (662762)           WEITZ & LUXENBERG                180 MAIDEN LANE                                             NEW YORK         NY 10038
MAZZELLA LIFTING TECHNOLOGIES         21000 AEROSPACE PKWY                                                                         CLEVELAND        OH 44142‐1072
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Name                                Address1                           Address2                          Address3                 Address4             City                 State Zip
MAZZELLA LIFTING TECHNOLOGIES INC   21000 AEROSPACE PKWY                                                                                               CLEVELAND             OH 44142‐1072
MAZZELLA WIRE ROPE & SLING CO       10605 CHESTER RD                                                                                                   CINCINNATI            OH 45215‐1205
MAZZELLA WIRE ROPE & SLING CO       14600 BROOKPARK RD                                                                                                 CLEVELAND             OH 44135‐5165
MAZZELLA, ANTHONY R                 WEITZ & LUXENBERG                  180 MAIDEN LANE                                                                 NEW YORK              NY 10038
MAZZELLA, JENNY J                   12015 HARTEL ST                                                                                                    LIVONIA               MI 48150‐2331
MAZZELLA, MARTY J                   1032 TOD AVE                                                                                                       GIRARD                OH 44420‐1856
MAZZELLA, SALVATORE                 11239 ALLWOOD ST                                                                                                   SPRING HILL           FL 34609‐3811
MAZZELLA, SALVATORE L               1 GULFSTREAM BLVD                                                                                                  MATAWAN               NJ 07747‐3506
MAZZELLA, SAVIOUR                   2028 PITMAN AVE                                                                                                    BRONX                 NY 10466‐1926
MAZZELLA, THOMAS E                  51 BROOKVIEW DR                                                                                                    CORTLAND              OH 44410‐1686
MAZZENGA, DEBORAH S                 35541 EASTMONT DR                                                                                                  STERLING HTS          MI 48312‐3538
MAZZENGA, DONNA J                   1398 HOLLIDAY DR                                                                                                   LAKE ORION            MI 48362
MAZZENGA, VINCENT                   30804 WHITTIER AVE                                                                                                 MADISON HTS           MI 48071‐2027
MAZZEO JAMES                        PO BOX 7002                                                                                                        WESTPORT              CT 06881‐7002
MAZZEO JR, JOHN S                   155 DANCER DR                                                                                                      TRENTON               NJ 08610‐1509
MAZZEO SONG & BRADHAM LLP           ATTY FOR CLARCOR, INC. AND TOTAL   ATTN: DAVID H. HARTHEIMER, ESQ.   708 THIRD AVENUE, 19TH                        NEW YORK              NY 10017
                                    FILTRATION SERVICES, INC.                                            FLOOR
MAZZEO, CATHERINE E                 232 HANSEN AVE                                                                                                     TRENTON              NJ   08610‐1610
MAZZEO, EDWARD J                    130 BIRCH ST                                                                                                       TRENTON              NJ   08610‐1631
MAZZEO, JOHN S                      232 HANSEN AVE                                                                                                     TRENTON              NJ   08610‐1610
MAZZEO, JOSEPH A                    140 LONG PARK DR                                                                                                   ROCHESTER            NY   14612‐2218
MAZZEO, JOSEPH M                    8272 ASHWOOD WAY                                                                                                   CLARKSTON            MI   48346‐1101
MAZZEO, MICHAEL A                   1030C GREENLEAF RD                                                                                                 ROCHESTER            NY   14612‐1964
MAZZEO, PATRICK M                   107 STANTON ST                                                                                                     NORTHPORT            NY   11768‐1630
MAZZIE K OSBORNE                    4220 VANNEST AVENUE                                                                                                MIDDLETOWN           OH   45042‐2750
MAZZIE LOGAN                        525 LOGAN LN                                                                                                       TAZEWELL             TN   37879‐6708
MAZZIE OSBORNE                      4220 VANNEST AVENUE                                                                                                MIDDLETOWN           OH   45042‐2750
MAZZIE, PATRICK                     2025 GLENWOOD AVE                                                                                                  TOLEDO               OH   43620‐1508
MAZZILLI, URSELA T                  730 S ROYAL CREST CIR UNIT 422                                                                                     LAS VEGAS            NV   89169‐8313
MAZZILLO, CINDERELLA                40 ROYAL DR APT 93                                                                                                 PISCATAWAY           NJ   08854‐3290
MAZZIO MICHAEL                      15621 90TH ST                                                                                                      HOWARD BEACH         NY   11414‐2711
MAZZIO, ALPHONSE                    24A HERITAGE DR                                                                                                    CHATHAM              NJ   07928‐2966
MAZZIOTT, JOSEPH M                  230 CHIMNEY OAK DR                                                                                                 JOPPA                MD   21085‐4728
MAZZIOTT, JOSEPH MICHAEL            230 CHIMNEY OAK DR                                                                                                 JOPPA                MD   21085‐4729
MAZZIOTTI VINCENT (474474)          WEITZ & LUXENBERG                  180 MAIDEN LANE                                                                 NEW YORK             NY   10038
MAZZIOTTI, HORATIUS J               SALEM NURSING & REHABILITATION     539 ROUTE 22                      P O BOX 360                                   PURDYS               NY   10578
                                    CENTER
MAZZIOTTI, VINCENT                  WEITZ & LUXENBERG                  180 MAIDEN LANE                                                                 NEW YORK             NY 10038
MAZZO, LENA P                       254 MILL VALLEY CIR S                                                                                              SACRAMENTO           CA 95835‐2240
MAZZOCCATO VITTORIA                 LA SCALA                           STUDIO LEGALE E TRIBUTANO         CORSO MAGENTA N 42       20123 MILANO ITALY
MAZZOCCO, ALBERT F                  14928 W PICCADILLY RD                                                                                              GOODYEAR             AZ   85395‐8835
MAZZOCCO, JOSEPH                    45303 CLAYMORE DR                                                                                                  CANTON               MI   48187‐1847
MAZZOCCO, JOSEPH C                  1766 ROSELAWN RD                                                                                                   CLEVELAND            OH   44124‐3339
MAZZOCCO, KENNETH                   1645 HILLSBORO AVE SE                                                                                              GRAND RAPIDS         MI   49546‐9787
MAZZOCCO, RICHARD A                 3113 N 149TH LN                                                                                                    GOODYEAR             AZ   85395‐8928
MAZZOCCO, RONALD J                  3297 N 146TH DR                                                                                                    GOODYEAR             AZ   85395‐8872
MAZZOCHETTI, CARMINE                5 CHURCH LN APT A                                                                                                  VALLEY COTTAGE       NY   10989‐1944
MAZZOLA III, JAMES J                5845 CELICO LN                                                                                                     DRYDEN               MI   48428‐9302
MAZZOLA, AMANDA                     222 MASTERS LN                                                                                                     MAGNOLIA             DE   19962‐1184
MAZZOLA, ANTHONY J                  2833 BULLOCK RD                                                                                                    METAMORA             MI   48455‐9721
MAZZOLA, CATHERINE M                10800 MAYFIELD AVE                                                                                                 CHICAGO RIDGE        IL   60415‐2240
MAZZOLA, CLEMENT J                  22207 ARDMORE PARK DR                                                                                              SAINT CLAIR SHORES   MI   48081‐2007
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Name                                  Address1                         Address2                       Address3                Address4                 City                State Zip
MAZZOLA, JACK                         6016 JAVA PLUM LN                                                                                                BRADENTON            FL 34203‐7330
MAZZOLA, JAMES J                      218 CLUBHOUSE CT                                                                                                 SEBRING              FL 33876‐8311
MAZZOLA, JENNIFER
MAZZOLA, JOSEPH                       940 E FREELAND RD                                                                                                MERRILL             MI    48637‐9317
MAZZOLA, JOSEPH J                     36530 SAMOA DR                                                                                                   STERLING HTS        MI    48312‐3049
MAZZOLA, KELLY M                      37955 HAZEL ST                                                                                                   HARRISON TOWNSHIP   MI    48045‐3558
MAZZOLA, LAWRENCE                     28383 ELBA DR                                                                                                    GROSSE ILE          MI    48138
MAZZOLA, LUCILLE                      2900 N 26TH AVE APT 215                                                                                          HOLLYWOOD           FL    33020‐1966
MAZZOLA, LUCILLE M                    31504 JAY DR                                                                                                     WARREN              MI    48093‐7650
MAZZOLA, SAMUEL D                     221 CEDARWOOD CT                                                                                                 DEBARY              FL    32713‐2222
MAZZOLA, SHEILA B                     173 KIRKSWAY LN                                                                                                  LAKE ORION          MI    48362‐2276
MAZZOLA, STEPHAN F                    8911 BLIND PASS RD               UNIT 201                                                                        ST.PETE BEACH       FL    33706‐1454
MAZZOLA, STEPHAN F                    8911 BLIND PASS RD APT 201                                                                                       ST PETE BEACH       FL    33706
MAZZOLENI, ALFRED J                   2850 S MERIDIAN RD                                                                                               YOUNGSTOWN          OH    44511‐2010
MAZZOLENI, CONSTANCE R                5646 TULANE AVE                                                                                                  AUSTINTOWN          OH    44515‐4224
MAZZOLENI, LYNNE M                    5694 BAYLOR AVE                                                                                                  AUSTINTOWN          OH    44515‐4132
MAZZOLENI, PETER J                    5694 BAYLOR AVE                                                                                                  AUSTINTOWN          OH    44515‐4132
MAZZOLI SONS TRUCKING                 5 AUTUMN DR                                                                                                      WEST WAREHAM        MA    02576‐2403
MAZZOLINI, DOROTHY M                  441 CLAIRMOUNT AVE               APT 302                                                                         DECATUR             GA    30030
MAZZONE JR, WILLIAM R                 20217 ELECTRA ST                                                                                                 CLINTON TWP         MI    48035‐3462
MAZZONE MICHAEL                       MAZZONE, CATHERINE               230 ROUTE 206                                                                   FLANDERS            NJ    07836
MAZZONE MICHAEL                       MAZZONE, MICHAEL                 230 ROUTE 206                                                                   FLANDERS            NJ    07836
MAZZONE, ANTHONY                      23 DONNELLY XRD                                                                                                  SPENCER             MA    01562‐1501
MAZZONE, BOB                          1600 WALNUT ST                                                                                                   LANSDALE            PA    19446‐1135
MAZZONE, COLETTE C                    APT 1                            4225 LESHER DRIVE                                                               DAYTON              OH    45429‐3034
MAZZONE, COLETTE C                    4225 LESHER DR                   APT #1                                                                          KETTERING           OH    45429‐3034
MAZZONE, DAVID P                      316 DAWNVIEW AVE                                                                                                 DAYTON              OH    45431‐1872
MAZZONE, JOHN P                       2123 W BATAAN DR                                                                                                 KETTERING           OH    45420‐3647
MAZZONE, JOSEPH M                     1233 GEORGIAN DR                                                                                                 DAYTON              OH    45429‐5524
MAZZONE, MARY A                       219 SOUTH STREET EXT                                                                                             BRISTOL             CT    06010‐6414
MAZZONE, MARY A                       219 S STREET EXT                                                                                                 BRISTOL             CT    06010‐6414
MAZZONE, PATRICK D                    2371 VIENNA PKWY                                                                                                 CENTERVILLE         OH    45459‐1373
MAZZONE, ROSE                         8 CARVEN RD                                                                                                      MILFORD             MA    01757‐3269
MAZZONE, SIBBY J                      38 NORTHWOOD DR                                                                                                  BUFFALO             NY    14223
MAZZONE, THOMAS J                     4 STONERIDGE LN                                                                                                  AKRON               NY    14001‐1500
MAZZONE, TYRONE J                     323 FREDERICKA ST                                                                                                N TONAWANDA         NY    14120‐2649
MAZZONE,JOHN P                        2123 W BATAAN DR                                                                                                 KETTERING           OH    45420‐3647
MAZZONI LISA                          763 FAXON AVENUE                                                                                                 SAN FRANCISCO       CA    94112‐1203
MAZZONI, CLIFFORD A                   11329 SCIPIO HWY                                                                                                 VERMONTVILLE        MI    49096‐9702
MAZZONI, DENNIS A                     41 ERICKSON RD                                                                                                   NEW MILFORD         CT    06776‐4606
MAZZONI, LOUIS H                      1155 BELL ROCK BLVD                                                                                              SEDONA              AZ    86351‐7509
MAZZONI, PETER J                      4925 CLAREMONT ST APT 1                                                                                          MIDLAND             MI    48642‐2026
MAZZONI, REINA C                      11329 SCIPIO HWY                                                                                                 VERMONTVILLE        MI    49096‐9702
MAZZOTTA DONALD S PC LAW OFFICES OF   938 PENN AVE 8TH FL                                                                                              PITTSBURGH          PA    15222

MAZZU, LISA                           31 WOODLAWN AVE                                                                                                  NORTH ADAMS         MA 01247‐3621
MAZZUCATO‐LUCIANO                     C/O JOSEPH YEDGAR                1 JABOTIASKY ST ROOM 535                               52521 RAMAT GAA ISRAEL
MAZZUCCONI WHEELS SRL                 BOB LEWICKI                      C/O KUNTZ ELECTROPLATING INC   851 WILSON AVE                                   HONEA PATH           SC
MAZZUCCONI WHEELS SRL                 ROBERT LEWICKI                   C/O CLEVELAND PROCESSING CTR   4510 EAST 71ST STREET   HESSEN GERMANY

MAZZUCCONI WHEELS SRL                 ROBERT LEWICKI                   C/O MATERIALS PROCESSING INC   17423 W JEFFERSON                                CHICAGO              IL   60647
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Name                                 Address1                               Address2                         Address3              Address4                 City                 State Zip
MAZZUCCONI WHEELS SRL                VIA SALGARI 6                                                                                 SANTA MARIA DI SALA IT
                                                                                                                                   30027 ITALY
MAZZUCHELLI, ALAN J                  1426 DOEBLER DR                                                                                                        N TONAWANDA          NY    14120‐2208
MAZZULLO, MARK C                     4356 SUNDANCE CIR                                                                                                      HOWELL               MI    48843‐6961
MAZZULO CHRISTINE                    MAZZULO, CHRISTINE                     100 CENTURY PKWY STE 305                                                        MOUNT LAUREL         NJ    08054‐1182
MAZZURCO,JOSEPH J                    51‐16 67TH ST                                                                                                          WOODSIDE             NY    11377
MB 2 MOTORSPORTS                     185 MCKENZIE RD                                                                                                        MOORESVILLE          NC    28115‐7976
MB DYNAMICS INC                      25865 RICHMOND RD                                                                                                      CLEVELAND            OH    44146‐1431
MB DYNAMICS/OHIO                     25865 RICHMOND RD                                                                                                      CLEVELAND            OH    44146‐1431
MB EXPORTS                           10849 WINDERMERE BLVD                                                                                                  FISHERS              IN    46037‐8986
MB FINANCIAL BANK, N.A.              1200 NORTH ASHLAND AVE.                                                                                                CHICAGO              IL    60622
MB FINANCIAL BANK, N.A.              15 ENTERPRISE                          SUITE 400                                                                       ALISO VIEJO          CA    92656
MB FINANCIAL BANK, N.A.              6111 N RIVER RD                                                                                                        ROSEMONT             IL    60018
MB FINANCIAL BANK, N.A.              ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1200 NORTH ASHLAND AVE.                                                         CHICAGO              IL    60622

MB FINANCIAL BANK, N.A.              ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 15 ENTERPRISE STE 400                                                           ALISO VIEJO           CA 92656‐2655

MB FINANCIAL BANK, N.A.              ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 6111 N RIVER RD                                                                 ROSEMONT              IL   60018

MB FINANCIAL BANK, N.A. F/K/A
MANUFACTURERS BANK
MB HYBRID LLC, CHRYSLER LLC          (F/K/A DAIMLER CHRYSLER CORPORATION) ATTN: DONALD D. ANDERSON           CIMS 482‐01‐15, 800                            AUBURN HILLS          MI 48326
                                     AND BMW HYBRID TECHNOLOGY                                               CHRYSLER DRIVE

MB HYBRID LLC, CHRYSLER LLC (F/K/A   DONALD D. ANDERSON                     CIMS 482‐01‐15, 800 CHRYSLER                                                    AUBURN HILLS          MI 48326‐2757
DAIMLER CHRYSLER CORPORATION)                                               DRIVE
MB MARKETING AND MFG.                JOHN MCLEOD                            27 MULVANEY ST                                                                  ASHEVILLE             NC   28803‐1457
MB600 LLC                            C/O DANIEL CORPORATION                 3595 GRANDVIEW PKWY STE 400                                                     BIRMINGHAM            AL   35243‐1964
MBA DISTRIBUTING                     2305 E HIGH ST                         PO BOX 823                                                                      JACKSON               MI   49203‐3492
MBA DISTRIBUTING INC                 PO BOX 823                                                                                                             JACKSON               MI   49204‐0823
MBA IFEOMA                           2475 VIRGINIA AVE NW # 114                                                                                             WASHINGTON            DC   20037‐2639
MBANUGO CHINWENDU IKE                7345 CHESTERFIELD DR E                                                                                                 CANTON                MI   48187‐1240
MBE SIMULATIONS LTD                  10 HAMEFALSIM ST                       PETACH TIQVA                                           ISRAEL
MBF LLC                              PO BOX 891440                                                                                                          OKLAHOMA CITY         OK 73189‐1440
MBH,                                 WATTS LAW FIRM                         300 CONVENT STREET BANK OF                                                      SAN ANTONIO           TX 78205
                                                                            AMERICA PLAZA SUITE 100
MBI MEXICO SA DE CV                  PROLONGACION MATAMORUI 251             RAMOS ARIZPE COAH 25903                                RAMOS ARIZPE COAH
                                                                                                                                   25903 MEXICO
MBI PUBLISHING                       400 1ST AVE N STE 300                                                                                                  MINNEAPOLIS          MN 55401‐1721
MBI PUBLISHING COMPANY LLC, D/B/A
MOTORBOOKS
MBI RECRUITING SPECIALIST            1806 N 4425 W                                                                                                          OGDEN                 UT 84404‐9735
MBI, INC.
MBJ OF EASLEY, INC.                  MARK ESCUDE                            1600 E MAIN ST                                                                  EASLEY               SC    29640‐3790
MBL (USA) CORP                       601 E DAYTON RD                                                                                                        OTTAWA               IL    61350‐9535
MBL (USA) CORPORATION                MATT ROTTMAN                           CHEMI FLEX DIVISION              601 DAYTON ROAD                                FORT LORAMIE         OH    45845
MBL (USA) CORPORATION                601 E DAYTON RD                                                                                                        OTTAWA               IL    61350‐9535
MBL CORP/ST CLR SHOR                 24000 GREATER MACK AVE                 C/O C.T. CHARLTON & ASSOCIATES                                                  SAINT CLAIR SHORES   MI    48080‐1408

MBL USA/601 DAYTON                   601 E DAYTON RD                        ATTN: JOHN CHRISTOPHERSON                                                       OTTAWA                IL   61350‐9535
MBM FINANCIAL,
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Name                         Address1                         Address2                         Address3   Address4               City           State Zip
MBO PARTNERS INC             WELLS FARGO BUSI CREDIT‐ TEXAS   13454 SUNRISE VALLEY DRIVE FIFTH                                   HERNDON         VA 20171
                                                              FLOOR
MBO PARTNERS INC             13454 SUNRISE VALLEY DR 5TH FL                                                                      HERNDON        VA 20171
MBP CATERING/INDIANA         47 S. MERIDIAN ST.               SUITE 103                                                          INDIANAPOLIS   IN 46204
MBR SERVICES                 600 N TONKEY RD                                                                                     AU GRES        MI 48703‐9713
MBRP INC                     315 FERGUSON ROAD                R. R. #1                                    HUNTSVILLE ON CANADA
MBS AUTO REPAIR              ATTN: RODNEY MEECE               1024 W 2ND ST                                                      MUNCIE         IN 47305‐2109
MBS CAR ALTARUM CENTER FOR   PO BOX 134001                                                                                       ANN ARBOR      MI 48113‐4001
AUTOMOTIVE RESEARCH
MBTECH AUTODIE LLC           44 COLDBROOK ST NW                                                                                  GRAND RAPIDS   MI 49503‐1046
MC
MC ABEE, GENEVA L            1020 RALEIGH DR 405                                                                                 CARROLLTON     TX   75007‐7903
MC ABEE, MARY J              945 STEADMAN FARMS DR                                                                               INMAN          SC   29349‐9300
MC ABOY, JUANITA             422 N CREYTS RD                                                                                     LANSING        MI   48917‐9287
MC ABOY, LEROY               422 N CREYTS RD                                                                                     LANSING        MI   48917‐9287
MC ACKLEY, ROSELYNE M        1920 FREDERICK ST                                                                                   BELOIT         WI   53511‐2710
MC ADAM, BEVERLY J           4146 AINGER RD, R#2                                                                                 CHARLOTTE      MI   48813
MC ADAM, GARY F              2173 MITCHELL RD                                                                                    WILLIAMSTON    MI   48895‐9600
MC ADAM, KEVIN C             508 ELLEN ST                                                                                        UNION          NJ   07083‐8835
MC ADAM, RUTH J              5057 TONAWANDA CREEK ROAD                                                                           N TONAWANDA    NY   14120‐9536
MC ADAMS, AARON I            207 WESTERN HILLS DR                                                                                SEARCY         AR   72143‐6511
MC ADAMS, CHARLES D          6115 STREAMSIDE LN                                                                                  GOODRICH       MI   48438‐8738
MC ADAMS, ERNEST A           PO BOX 805                                                                                          WEST SENECA    NY   14224‐0805
MC ADAMS, JOHN H             354 TILMORE                                                                                         PONTIAC        MI   48328
MC ADAMS, LOLITA P           635 MANCHESTER DR                                                                                   MANSFIELD      TX   76063‐2892
MC ADAMS, RALPH D            1554 DORMIE DR                                                                                      GLADWIN        MI   48624‐8104
MC ADAMS, RALPH S            APT 112                          6955 LANCASTER LAKE COURT                                          CLARKSTON      MI   48346‐4435
MC ADAMS, ROBERT E           6 BRADLEY PL                                                                                        SUDBURY        MA   01776‐2304
MC ADAMS, TREVA B            1991 BROOKS RD                                                                                      DACULA         GA   30019‐2543
MC ADOO, PHILLIP R           225 ELLA CIR                                                                                        GRIFFIN        GA   30223‐1542
MC ADOO, RHODIA              1233 PINGREE ST                                                                                     DETROIT        MI   48202‐1945
MC ADOO, VELLA M             190 NEBRASKA AVE                                                                                    PONTIAC        MI   48341‐2846
MC ADORY, BARBARA M          4617 OLIVE RD                                                                                       TROTWOOD       OH   45426‐2203
MC ADORY, CAROLYN A          16557 BRAILE ST                                                                                     DETROIT        MI   48219‐3912
MC ADORY, JACK               73 NEW HOPE CHURCH RD                                                                               FOXWORTH       MS   39483‐4201
MC AFEE, CHRISTOPHE C        2711 EMERSON DR                                                                                     PEPPER PIKE    OH   44124‐4801
MC AFEE, DANIEL J            10306 DODGE RD                                                                                      MONTROSE       MI   48457‐9121
MC AFEE, DONALD A            325 N POINTE DR                                                                                     ARCHBOLD       OH   43502‐9332
MC AFEE, JAMES D             10268 DODGE RD                                                                                      MONTROSE       MI   48457‐9034
MC AFEE, KATHLEEN C          PO BOX 13                                                                                           DRYDEN         MI   48428‐0013
MC AFEE, KATHRYN G           2257 W KIOWA CIR                                                                                    MESA           AZ   85202‐6447
MC AFEE, MICHAEL D           1741 S CARRIAGE LN                                                                                  CHANDLER       AZ   85286‐6714
MC AFEE, OLIVER W            490 LAKE VIKING TER              R #3                                                               GALLATIN       MO   64640‐8315
MC AFEE, VERNELL I           3209 N DEXTER ST                                                                                    FLINT          MI   48506‐2668
MC AHREN, B M                230 E WILLARD AVE                C/O TERRI SHOUSE                                                   RUSHVILLE      IN   46173‐7769
MC ALARY, KEITH E            218 41ST ST SW                                                                                      WYOMING        MI   49548‐3032
MC ALEAR, PHILIP L           120 LAKE FOREST TRL                                                                                 CHAPIN         SC   29036‐8465
MC ALEER, CHARLES V          11941 JUNIPER WAY APT 1023                                                                          GRAND BLANC    MI   48439‐2137
MC ALEER, THERESA            PO BOX 708                                                                                          VIENNA         OH   44473‐0708
MC ALEER, W J                968 TRANSART PKWY                                                                                   CANTON         GA   30114‐8959
MC ALEER, WILLIAM J          968 TRANSART PKWY                                                                                   CANTON         GA   30114‐8959
MC ALEES, ELIZABETH          1444 S HUGHES RD                                                                                    HOWELL         MI   48843‐9138
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Name                        Address1                       Address2            Address3         Address4                City            State Zip
MC ALEY, CATHRYN A          5471 OREGON TRL                                                                             LAPEER           MI 48446‐8061
MC ALINDEN SEAN P PHD       4536 BRIDGEWAY DR                                                                           ANN ARBOR        MI 48103‐9445
MC ALINDON, HAROLD P        202 PRIMROSE LN                                                                             FLUSHING         MI 48433‐2654
MC ALISTER, GEORGE W        HC 3 BOX 3188                                                                               WAPPAPELLO       MO 63966‐9741
MC ALISTER, JAMES E         1505 NUEVA PL                                                                               THE VILLAGES     FL 32159‐9109
MC ALISTER, JEANETTE J      901 S ANDERSON                                                                              GIDEON           MO 63848
MC ALISTER, NEVAS H         3302 PULASKI PIKE NW                                                                        HUNTSVILLE       AL 35810‐3253
MC ALISTER, STEVEN J        PO BOX 51                                                                                   SHAFTSBURG       MI 48882‐0051
MC ALISTER, WILLA J         PO BOX 1017                                                                                 GRAYSON          KY 41143‐5017
MC ALLAN, GEORGE A          3 VISTA GARDENS TRL APT 106                                                                 VERO BEACH       FL 32962‐1703
MC ALLISTER, ALBERT J       122 N BON AIR AVE                                                                           YOUNGSTOWN       OH 44509‐2018
MC ALLISTER, BLANCHE L      1818 RIVER RIDGE DR                                                                         TRAVERSE CITY    MI 49686‐8984
MC ALLISTER, CAROL A        PO BOX 110                                                                                  OXFORD           MI 48371‐0110
MC ALLISTER, CHARLES J      7505 HAYES AVE                                                                              SANDUSKY         OH 44870‐9363
MC ALLISTER, DALE B         16500 S GRANGE RD                                                                           GRAND LEDGE      MI 48837‐9609
MC ALLISTER, DALE I         4556 W SALISBURY DR                                                                         GLADWIN          MI 48624‐8615
MC ALLISTER, DAVID W        PO BOX 110                                                                                  OXFORD           MI 48371‐0110
MC ALLISTER, GARSLIE L      43485 ABBEY CIR. B‐26 #52                                                                   CANTON           MI 48187
MC ALLISTER, GLADYS B       2443 STATE 94E                                                                              SEDALIA          KY 42079
MC ALLISTER, GLADYS B       C/O ROGER D WATSON             2525 HWY U U                                                 CUBA             MO 65453
MC ALLISTER, GORDON R       11444 MALAGA DR                                                                             FENTON           MI 48430‐8716
MC ALLISTER, JEAN           4255 W VIKING RD APT 630                                                                    LAS VEGAS        NV 89103‐5910
MC ALLISTER, JOHN J         3805 HILLCREST BLVD                                                 WINDSOR N9C2E4 CANADA
MC ALLISTER, JOYCE M        1202 CUMBERLAND HEAD ROAD                                                                   PLATTSBURGH     NY   12901‐6915
MC ALLISTER, JR,PATRICK J   1116 MCKIMMY DR                                                                             BEAVERTON       MI   48612‐8620
MC ALLISTER, KIM A          3676 LAKE OAKLAND SHORES DR                                                                 WATERFORD       MI   48329‐2151
MC ALLISTER, LEON N         233 WAKEFIELD RD                                                                            HAGERSTOWN      MD   21740‐4516
MC ALLISTER, LYDIA T        RR 6 BOX 63‐1                                                                               BUCYRUS         MO   65444
MC ALLISTER, MARTIN W       354 ORCHARD RD                                                                              GRAND ISLAND    NY   14072‐3032
MC ALLISTER, MIKE F         304 WALLS FORD RD                                                                           SAINT CLAIR     MO   63077‐2225
MC ALLISTER, NANCY A        1104 MC KIMMY DRIVE                                                                         BEAVERTON       MI   48612‐8620
MC ALLISTER, NANCY A        1104 MCKIMMY DR                                                                             BEAVERTON       MI   48612‐8620
MC ALLISTER, RAYMOND W      3163 HERBELL DR                                                                             WATERFORD       MI   48328‐3122
MC ALLISTER, ROBERT         4508 DEVON AVE                                                                              LISLE           IL   60532‐1530
MC ALLISTER, RONALD B       13002 CONCORD DR                                                                            STERLING HTS    MI   48313‐1831
MC ALLISTER, SANDRA A       4730 KIM TRL                                                                                GAYLORD         MI   49735‐9821
MC ALLISTER, SANDRA ANN     4730 KIM TRL                                                                                GAYLORD         MI   49735‐9821
MC ALLISTER, SANDRA J       559 BOUTELL DR                                                                              GRAND BLANC     MI   48439‐1533
MC ALLISTER, WILLIAM C      1266 MOULTRIE DRIVE                                                                         AIKEN           SC   29803‐7537
MC ALPHINE, JOHNNY          3932 WEST VAN BUREN STREET                                                                  CHICAGO         IL   60624‐3144
MC ALPINE, DIANN            442 BOYD ST                                                                                 PONTIAC         MI   48342‐1924
MC ALPINE, JANET K          4482 BURLINGTON BOX 5                                                                       CLIFFORD        MI   48727‐0005
MC ALPINE, JOHN D           5529 E VIA MONTOYA DR                                                                       PHOENIX         AZ   85054‐7146
MC ALPINE, KARLETA A        140 S SHEPARD AVE                                                                           EL RENO         OK   73036‐3248
MC ALPINE, WILLIE J         442 BOYD ST                                                                                 PONTIAC         MI   48342‐1924
MC AMIS, DELBERT W          44650 CARY LN                                                                               HEMPSTEAD       TX   77445‐8904
MC ANALLEN, JOSEPH J        226 E CHESTER DR                                                                            GRAND LEDGE     MI   48837‐9163
MC ANALLY, HARRIET          3623 MIRAMAR AVE NE                                                                         GRAND RAPIDS    MI   49525‐2460
MC ANALLY, HARRIET          3623 MIRAMAR NE                                                                             GRAND RAPIDS    MI   49525‐2460
MC ANALLY, JIMMIE           2885 WISNER HWY                                                                             ADRIAN          MI   49221‐8526
MC ANANY, DELORES J         PO BOX 274                                                                                  WHEAT RIDGE     CO   80034‐0274
MC ANANY, LLOYD E           35417 ROCKVILLE RD                                                                          LOUISBURG       KS   66053‐4515
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Name                       Address1                        Address2                Address3   Address4         City              State Zip
MC ANDLESS, GRACE E        PO BOX 46833                    C/O WAKE COUNTY HUMAN                               RALEIGH            NC 27620‐6833
                                                           SERVICES
MC ANDREW, JOHN T          140 S ROANOKE AVE                                                                   YOUNGSTOWN        OH   44515‐3547
MC ANDREW, MICHAEL H       PO BOX 226                                                                          NEW CASTLE        NH   03854‐0226
MC ANDREW, MICHAEL HUME    PO BOX 226                                                                          NEW CASTLE        NH   03854‐0226
MC ANDREW, MILDRED         207 AUSTIN AVE                                                                      OLD BRIDGE        NJ   08857‐1118
MC ANDREWS, RICHARD L      910 E VALLEY CT                                                                     SAINT JOSEPH      MO   64504‐2273
MC ANDREWS, RICHARD LEO    910 E VALLEY CT                                                                     SAINT JOSEPH      MO   64504‐2273
MC ANERNEY, JOHN F         PO BOX 544                                                                          WELLSVILLE        KS   66092‐0544
MC ANINCH, DOROTHY C       1160 SHERIDAN ST APT 313                                                            PLYMOUTH          MI   48170‐1566
MC ANINCH, EVELYN P        5234 SPINNING WHEEL DR                                                              GRAND BLANC       MI   48439‐4230
MC ANINCH, ROSEMARY        9315 LEXINGTON AVE                                                                  DE SOTO           KS   66018‐9191
MC ANNALLY, JERRY L        11799 SE 176TH PLACE RD                                                             SUMMERFIELD       FL   34491‐7868
MC ANULTY, DONALD P        51122 COLONY LN                                                                     BELLEVILLE        MI   48111‐4430
MC ARDLE, JAMES C          559 MONTROSE AVE                                                                    KENMORE           NY   14223‐2632
MC ARDLE, JEFFREY D        326 EAST KENILWORTH AVENUE                                                          ROYAL OAK         MI   48067‐3716
MC ARDLE, JOHN F           312 DARLINGTON DR                                                                   BUFFALO           NY   14223‐2109
MC ARTHUR BARNES           5510 SCOFIELD RD                                                                    COLLEGE PARK      GA   30349‐3422
MC ARTHUR LONG             301 GOING ST                                                                        PONTIAC           MI   48342‐3235
MC ARTHUR PHENIX           4981 N CAMPBELL ST                                                                  DETROIT           MI   48210‐2524
MC ARTHUR TAYLOR           4724 W M 21                                                                         OWOSSO            MI   48867‐9383
MC ARTHUR WATSON           55 GLENVIEW LN                                                                      WILLINGBORO       NJ   08046‐3213
MC ARTHUR, BRIAN J         8000 E EATON HWY                                                                    LAKE ODESSA       MI   48849‐9442
MC ARTHUR, CHARLES D       1200 WRIGHT AVE                                                                     ALMA              MI   48801‐1133
MC ARTHUR, DONALD J        1850 S OCEAN BLVD APT 809                                                           POMPANO BEACH     FL   33062‐7906
MC ARTHUR, DONALD N        11261 ALPINE RD                                                                     STANWOOD          MI   49346‐9772
MC ARTHUR, DONALD S        3905 SHAWNEE AVE                                                                    FLINT             MI   48507‐2842
MC ARTHUR, DOUGLAS         993 WINESAP RD                                                                      CLARKSVILLE       TN   37040‐2852
MC ARTHUR, GERALD W        1502 WILDWOOD CT                                                                    FLINT             MI   48532‐2079
MC ARTHUR, GLADYS          32600 CONCORD DR                                                                    MADISON HEIGHTS   MI   48071
MC ARTHUR, HAROLD C        45109 HARRIS RD                                                                     BELLEVILLE        MI   48111‐8939
MC ARTHUR, JOHN R          5280 MUSHROOM RD                                                                    DEFORD            MI   48729‐9728
MC ARTHUR, JR, RUSSELL H   9109 E LIPPINCOTT BLVD                                                              DAVISON           MI   48423‐8329
MC ARTHUR, KORRYENE L      8207 S OGLESBY AVE                                                                  CHICAGO           IL   60617‐1927
MC ARTHUR, MARY C          50 LEONARD AVE                                                                      LEONARDO          NJ   07737‐1556
MC ARTHUR, MARY C          50 LEONARD AVENUE                                                                   LEONARDO          NJ   07737
MC ARTHUR, REGINALD        16112 COLLINGHAM DR                                                                 DETROIT           MI   48205‐1412
MC ARTHUR, ROBERT F        445 SCHOOLHOUSE ST                                                                  ORTONVILLE        MI   48462‐8601
MC ARTHUR, ROBERT H        914 MEADOW DR                                                                       DAVISON           MI   48423‐1031
MC ARTHUR, SALLY ANN       31950 CLARK ST APT 19                                                               NEW HAVEN         MI   48048‐1938
MC ARTHUR, VERGIL O        2245 W VISTA BELLA DR                                                               OAK CREEK         WI   53154‐2662
MC ARTHUR, YVONNE C        1038 SPRINGWOOD DRIVE                                                               HARRISON          MI   48625‐9304
MC ARTOR, JACKSON H        805 DELMEAD DR                                                                      GALLOWAY          OH   43119‐8671
MC ATEE JR, FRANK L        1245 RUTH DR                                                                        KIRKWOOD          MO   63122‐1021
MC ATEE, DONALD J          30204 SOUTHFIELD RD APT 220                                                         SOUTHFIELD        MI   48076‐1321
MC ATEE, EVERETT           11211 SUMMERSET DR                                                                  ELYRIA            OH   44035‐7550
MC ATEE, MARY A            12728 GREENWOOD AVE N APT 412                                                       SEATTLE           WA   98133‐7977
MC ATEE, PHYLLIS O         7816 SPRING GARDEN COURT                                                            WESTCHESTER       OH   45069‐1532
MC ATEE, PHYLLIS O         5174 CHADWICK CT                                                                    WEST CHESTER      OH   45069‐1047
MC ATEER JR, JAMES B       4832 BEECH RD                                                                       HOPE              MI   48628‐9609
MC ATEER, JOHN B           8 HUDSON DR                     C/O JANE MCCONNELL                                  DOBBS FERRY       NY   10522‐1179
MC ATTEE, JOHN L           303 KING ST                                                                         EATON RAPIDS      MI   48827‐1247
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Name                         Address1                       Address2              Address3       Address4         City               State Zip
MC ATTEE, THOMAS K           249 VICKSBURG DR                                                                     LANSING             MI 48917‐9607
MC AULAY, MYRTLE             3405 GRAND BLANC ROAD                                                                SWARTZ CREEK        MI 48473‐8888
MC AULEY, FRANCIS J          15235 UNIVERSITY ST                                                                  ALLEN PARK          MI 48101‐3022
MC AULEY, HENRY G            29672 BROWN CT                                                                       GARDEN CITY         MI 48135‐2324
MC AULEY, THOMAS E           275 WENDY LN                                                                         WASKOM              TX 75692‐4821
MC AULEY, WILLIAM D          554 WILDLIFE ACCESS RD                                                               HICKORY             NC 28601‐7805
MC AULIFFE JR, WALTER J      9831 S HAMLIN AVE                                                                    EVERGREEN PK         IL 60805‐3364
MC AULIFFE, DAVID A          1088 HENDRICKSON BLVD                                                                CLAWSON             MI 48017‐1717
MC AULIFFE, DAVID W          4300 BOBWHITE DR                                                                     FLINT               MI 48506‐1707
MC AULIFFE, IRENE            5983 GA 180                                                                          BLAIRSVILLE         GA 30512‐7223
MC AULIFFE, JAMES E          1514 45TH AVENUE DR E                                                                ELLENTON            FL 34222‐2650
MC AULIFFE, JOHN F           1440 ROUTE 208                                                                       WASHINGTONVLE       NY 10992‐1907
MC AULIFFE, JONELL           745 WESTFIELD DR                                                                     CINNAMINSON         NJ 08077‐3360
MC AULIFFE, WILLIAM M        1564 STONEHAVEN DR                                                                   HOLT                MI 48842‐1900
MC AVAN, L D                 2761 INDIAN PIPE DR                                                                  LAKE HAVASU CITY    AZ 86406‐8521
MC AVINUE, KEVIN             1186 VILLA PARK DR                                                                   TROY                MI 48085‐1314
MC AVOY, CATHERINE M         10522 DUFFIELD RD                                                                    MONTROSE            MI 48457‐9183
MC AVOY, CONSTANCE V         709 GLENWOOD LN                                                                      ANDERSON            IN 46011‐1121
MC AVOY, EDWARD R            APT 2                          1910 SHERIDAN DRIVE                                   BUFFALO             NY 14223‐1220
MC AVOY, GARY L              601 CARSON SALT SPRINGS                                                              WARREN              OH 44481
MC AVOY, LAVINA              1910 SHERIDAN DRIVE APT. 2                                                           BUFFALO             NY 14223
MC AVOY, RICHARD L           709 GLENWOOD LN                                                                      ANDERSON            IN 46011‐1121
MC AVOY, ROBERT V            7018 W 110TH ST APT 9                                                                WORTH                IL 60482‐1494
MC AVOY, STEPHEN D           116 TOOWEKA CIR                                                                      LOUDON              TN 37774‐2609
MC BAIN, ALEXANDER J         5395 FROVAN PL                                                                       SAGINAW             MI 48638‐5573
MC BAIN, KELLY J             17977 N UNION RD                                                                     LAWSON              MO 64062‐7002
MC BAINE, CAROLE J           14221 JOEL CT                                                                        LARGO               FL 33774‐5108
MC BALLENTINE                19420 HUNTINGTON RD                                                                  DETROIT             MI 48219‐2165
MC BEE, JAMES G              4281 ADEER DR                                                                        CANFIELD            OH 44406‐9343
MC BEE, JOHN H               15137 SPRENGER AVE                                                                   EAST DETROIT        MI 48021‐2805
MC BEE, WILLIAM H            1365 CALEY RD                                                                        METAMORA            MI 48455‐9766
MC BERRY, JUDY L             108 KLINE CIR                                                                        GRIFFIN             GA 30224‐5128
MC BETH, MARY A              212 BRECKENRIDGE DR                                                                  WEST MONROE         LA 71292‐2149
MC BIRNEY, MICHAEL J         751 MISSION PARK DR                                                                  SANTA BARBARA       CA 93105‐2914
MC BRATNIE, WANDA T          3218 FLAMINGO DR                                                                     SAGINAW             MI 48601‐5759
MC BRAYER, BILL E            PO BOX 1022                                                                          GREENUP             KY 41144‐4022
MC BRAYER, ELMER S           PO BOX 146                                                                           WALNUT GROVE        AL 35990‐0146
MC BRAYER, GRACE H           2113 PAWNEE DR SE                                                                    MARIETTA            GA 30067‐7311
MC BRAYER, TERESA A          PO BOX 1022                                                                          GREENUP             KY 41144‐4022
MC BREEN, MARY M             19313 SURREY LN                                                                      NORTHVILLE          MI 48167‐3143
MC BRIAN, MARGARET M         1101 WILSON AVE NW APT 101                                                           WALKER              MI 49534‐7983
MC BRICE JR, CHARLIE         1391 LIBERTY AVE                                                                     HILLSIDE            NJ 07205‐1852
MC BRIDE JR, CHARLES J       38081 HERMAN ST                                                                      ROMULUS             MI 48174‐1365
MC BRIDE JR, CHARLES JAMES   38081 HERMAN ST                                                                      ROMULUS             MI 48174‐1365
MC BRIDE, ALEMEDA            102 S 1ST ST APT 3                                                                   HOLLY               MI 48442‐1551
MC BRIDE, ALEMEDA            102 S. FIRST APT 3                                                                   HOLLY               MI 48442‐1551
MC BRIDE, ALVIN M            1937 PRINCETON AVE                                                                   LAWRENCEVILLE       NJ 08648‐4539
MC BRIDE, BARRY H            2156 KRISTIN DR                                                                      TROY                MI 48084‐1148
MC BRIDE, CAROLE A           682 PARK AVE                                                                         LINCOLN PARK        MI 48146‐2626
MC BRIDE, CHARLES T          10110 PORTAGE LAKE DR                                                                GRAYLING            MI 49738‐6709
MC BRIDE, CLIFFORD W         65 SE ERIE TER                                                                       STUART              FL 34997‐5554
MC BRIDE, DALE E             4176 MOUNTAIN ASH CT                                                                 SWARTZ CREEK        MI 48473‐1582
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Name                        Address1                       Address2            Address3         Address4         City                    State Zip
MC BRIDE, DILLIE            1341 BETHEL HOLLOW RD                                                                QUEBECK                  TN 38579‐2326
MC BRIDE, DONALD D          4336 LAWNWOOD LN                                                                     BURTON                   MI 48529‐1931
MC BRIDE, DONALD R          14 CASTANO WAY                                                                       HOT SPRINGS              AR 71909‐4523
MC BRIDE, ELEANORE A        PO BOX 11025                                                                         GLENDALE                 AZ 85318‐1025
MC BRIDE, ESSIE             2218 W STEWART AVE                                                                   FLINT                    MI 48504‐3725
MC BRIDE, ESTELL            1937 PRINCETON AVE                                                                   LAWRENCEVILLE            NJ 08648‐4539
MC BRIDE, EVELYN M          1942 HOSLER ST                                                                       FLINT                    MI 48503‐4416
MC BRIDE, EVELYN M          1942 HOSLER                                                                          FLINT                    MI 48503‐4416
MC BRIDE, FAITH I           4336 LAWNWOOD LN                                                                     BURTON                   MI 48529‐1931
MC BRIDE, FODIES R          3145 EUCLID DR                                                                       SOUTH CHICAGO HEIGHTS     IL 60411‐5322
MC BRIDE, FRANK             PO BOX 5785                                                                          FLORENCE                 SC 29502‐5785
MC BRIDE, GERALD T          7150 NICOLE DR                                                                       SOUTH BRANCH             MI 48761‐9619
MC BRIDE, GERALD W          102 S 1ST ST APT 1                                                                   HOLLY                    MI 48442‐1551
MC BRIDE, GORDON J          14440 REID RD                                                                        BRUCE TWP                MI 48065‐2111
MC BRIDE, JAMES R           1744 ROTH HILL DR                                                                    MARYLAND HTS             MO 63043‐2940
MC BRIDE, KEITH A           303 CHERRY ST                                                                        KENT                     OH 44240‐4303
MC BRIDE, KENNETH D         2282 NICHOLS AVE                                                                     FLINT                    MI 48507‐4450
MC BRIDE, MARIE             2270 VENETIAN DRIVE                                                                  ATLANTA                  GA 30311
MC BRIDE, MICHAEL E         5265 TARNOW ST                                                                       DETROIT                  MI 48210
MC BRIDE, MILDRED           1115 MAURER AVE                                                                      PONTIAC                  MI 48342‐4316
MC BRIDE, MILDRED G         759 ALEXANDRINE AVE                                                                  MOUNT MORRIS             MI 48458‐1730
MC BRIDE, MYRTLE I          7150 NICOLE DR                                                                       SOUTH BRANCH             MI 48761‐9619
MC BRIDE, OSLER W           50478 NAGY CT                                                                        MACOMB                   MI 48044‐1363
MC BRIDE, PATRICIA A        4574 MIDDLETON PARK CIR W                                                            JACKSONVILLE             FL 32224‐5680
MC BRIDE, RICHARD K         12811 SLEIGH TRL                                                                     MILFORD                  MI 48380‐1261
MC BRIDE, RICHARD KAY       12811 SLEIGH TRL                                                                     MILFORD                  MI 48380‐1261
MC BRIDE, ROBERT R          3241 NASSAU DR                                                                       CORPUS CHRISTI           TX 78418‐2925
MC BRIDE, ROSEMARY A        415 MELINDA CIR E                                                                    WHITE LAKE               MI 48386‐3456
MC BRIDE, RUBY L            PO BOX 214316                                                                        AUBURN HILLS             MI 48321‐4316
MC BRIDE, RUFUS J           7246 KILTIE LN                                                                       NORTHFIELD               OH 44067‐2580
MC BRIDE, RUSSELL C         120 E SCHAFER RD                                                                     PINCKNEY                 MI 48169‐8553
MC BRIDE, RUSSELL CHESTER   120 E SCHAFER RD                                                                     PINCKNEY                 MI 48169‐8553
MC BRIDE, SAM               2051 WHITEHAVEN RD APT 6                                                             GRAND ISLAND             NY 14072‐2005
MC BRIDE, STEVEN K          4444 4TH ST                                                                          CALEDONIA                MI 49316‐9603
MC BRIDE, TRACY B           9025 TARTAN DR                                                                       CLARKSTON                MI 48348‐2455
MC BRIDE, VERA M            20 E SHEFFIELD AVE                                                                   PONTIAC                  MI 48340‐1963
MC BRIDE, VERNON R          21104 INKSTER RD                                                                     SOUTHFIELD               MI 48033‐3521
MC BRIDE, WEBSTER A         9281 SUNRISE LN                                                                      DAVISON                  MI 48423‐8475
MC BRIDE, WILLIAM R         185 GRANNAMAN DR                                                                     MOCKSVILLE               NC 27028‐4762
MC BRIEN, JENNIFER A        2244 OTTER ST                                                                        WARREN                   MI 48092‐1358
MC BRIEN, JENNIFER ANN      2244 OTTER ST                                                                        WARREN                   MI 48092‐1358
MC BRIEN, MARY E            300 CRESTVIEW DR                                                                     RICHMOND                 MO 64085‐1113
MC BROOM ELECTRIC CO INC    800 W 16TH ST                                                                        INDIANAPOLIS             IN 46202‐2293
MC BROOM, BRENT E           10815 N DONNELLY CT                                                                  KANSAS CITY              MO 64157‐9234
MC BROOM, OVID L            1725 N FIRE RD                                                                       TWINING                  MI 48766‐9741
MC BROOM, PAUL H            2475 W PECOS RD APT 1046                                                             CHANDLER                 AZ 85224‐4811
MC BRYDE, ALMAR             151 DURHAM AVE                                                                       BUFFALO                  NY 14215‐3009
MC BRYDE, JIMMIE D          20036 NORWOOD ST                                                                     DETROIT                  MI 48234‐1824
MC BRYDE, JIMMIE D          APT 5                          28022 HOOVER ROAD                                     WARREN                   MI 48093‐4157
MC BRYDE, MARGARET          240 VISGER RD APT 304                                                                RIVER ROUGE              MI 48218‐1178
MC BRYDE, WILBER L          3037 HUGO CT                                                                         FLOWER MOUND             TX 75022‐5537
MC BRYDE, WILLIE C          15993 PENNSYLVANIA ST                                                                SOUTHFIELD               MI 48075‐3111
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Name                        Address1                        Address2            Address3         Address4                City                State Zip
MC BRYDE, WILLIE E          25248 BRIARWYKE DR                                                                           FARMINGTON HILLS     MI 48336‐1651
MC BURNEY, BETTY L          3310 COUNTY ROAD 60                                                                          PISGAH               AL 35765‐6249
MC BURNEY, BETTY L          3310 CO. RD 60                                                                               PISGAH               AL 35765‐6249
MC BURNEY, DOUGLAS E        2030 N BRANCH PT                                                                             INVERNESS            FL 34453‐1302
MC BURNEY, JAMES L          39290 LANCASTER DR                                                                           FARMINGTON HILLS     MI 48331‐1629
MC BURNEY, LESLIE J         PO BOX 272                                                                                   SUN PRAIRIE          WI 53590‐0272
MC BURNEY, PEARL R          11 KING POINT CIR                                                                            OWEGO                NY 13827‐1147
MC BURNEY, SHELDON          10930 90TH AVE                                                                               EVART                MI 49631‐8326
MC BURNIE, CECELIA A        PO BOX 6401                                                                                  WESTLAKE VILLAGE     CA 91359‐6401
MC CABE THERESA ESTATE OF   C/O KATHLEEN MC CABE            226 TRUMP PARK                                               SHRUB OAK            NY 10588‐1210
MC CABE, ANITA M            5774 EVERGREEN AVE                                                                           ORCHARD LAKE         MI 48324‐2920
MC CABE, CHARLES B          LIECHTENSTEINSTR. 46/8                                               VIENNA AUSTRIA A‐1090
MC CABE, DENNIS J           518 LEXINGTON DR                                                                             ROCHESTER HLS       MI   48307‐3525
MC CABE, DENNIS J.          518 LEXINGTON DR                                                                             ROCHESTER HLS       MI   48307‐3525
MC CABE, EDWARD L           26 S SEARLS RD                                                                               WEBBERVILLE         MI   48892‐9229
MC CABE, GARY L             922 N 47TH TER                                                                               KANSAS CITY         KS   66102‐3456
MC CABE, HELEN B            164 CONCORD LN                                                                               OSTERVILLE          MA   02655‐1264
MC CABE, JAMES G            200 VILLAGE DR APT 332          FAIRVIEW VILLAGE                                             DOWNERS GROVE       IL   60516‐3074
MC CABE, JAMES L            6000 LAKESHORE DR                                                                            LAGO VISTA          TX   78645‐5243
MC CABE, JOAN R             5950 E HOLLY ST                                                                              INVERNESS           FL   34452‐7067
MC CABE, JOAN R             5950 EAST HOLLY STREET                                                                       INVERNESS           FL   34452‐7067
MC CABE, JOHN G             289 HOYAL LN                                                                                 SPRING CITY         TN   37381‐4109
MC CABE, JOSEPH P           55 BOCA CHICA RD LOT 402                                                                     KEY WEST            FL   33040‐5619
MC CABE, MARK R             1372 WOOD DUCK TRL                                                                           NAPLES              FL   34108‐3313
MC CABE, MICHAEL P          1243 SOUTH 230TH STREET                                                                      PITTSBURG           KS   66762‐6856
MC CABE, MYRTLE M           323 SUMMIT AVE                                                                               LANGHORNE           PA   19047‐2217
MC CABE, NEIL J             1420 56TH SQ W                                                                               VERO BEACH          FL   32966‐2396
MC CABE, NORMA C            301 DWELLING CT                                                                              SHIPPENSBURG        PA   17257‐8752
MC CABE, PATRICIA J         4298 VIENNA WAY                                                                              MARIETTA            GA   30062‐5722
MC CABE, PATRICK E          176 CEDAR RIDGE CIR                                                                          ST AUGUSTINE        FL   32080‐6535
MC CABE, REGINA             33B CAMBRIDGE CIR                                                                            MANCHESTER          NJ   08759‐7149
MC CABE, ROBERT N           PO BOX 105                                                                                   FAYETTE             AL   35555‐0105
MC CABE, VERNON A           12103 BUCKINGHAM WAY                                                                         SPRING HILL         FL   34609‐5637
MC CABE, VINCENT A          239 PABLO RD                                                                                 PONTE VEDRA BEACH   FL   32082‐1804
MC CAFFERTY, CHARLES R      2175 STATE ROUTE 131                                                                         FAYETTEVILLE        OH   45118‐9208
MC CAFFERTY, DELORES S      3619 CHURCH DR                                                                               ANDERSON            IN   46013‐2255
MC CAFFERTY, RODERICK D     2121 BUCOLIC CT                                                                              NOLENSVILLE         TN   37135‐9541
MC CAFFERTY, RODERICK D     2121 BUCOLIC COURT                                                                           NOLENSVILLE         TN   37135‐9541
MC CAFFERY, ALICE           177 ROSEWELL AVE                                                                             BUFFALO             NY   14207
MC CAFFERY, DALE C          16616 RIDGE ROAD W                                                                           HOLLEY              NY   14470‐9366
MC CAFFERY, DALE C          16616 RIDGE RD                                                                               HOLLEY              NY   14470‐9366
MC CAFFERY, VALERIE A       6 WILDWOOD RD APT 11                                                                         HARTSDALE           NY   10530
MC CAFFREY, EDWARD T        307 MIDLAND AVE                                                                              LEWES               DE   19958‐1143
MC CAFFREY, GREGORY B       PO BOX 6545                                                                                  VENTURA             CA   93006‐6545
MC CAFFREY, MICHAEL J       2614 S ATHENA                                                                                MESA                AZ   85209‐7207
MC CAFFREY, ROBERT J        41825 RIVEROAKS DR                                                                           PLYMOUTH            MI   48170‐4301
MC CAGG JR, GEORGE W        15201 OLIVE BLVD APT 490                                                                     CHESTERFIELD        MO   63017‐1819
MC CAGUE, FLORENCE          94 MOLLY PITCHER LN APT G                                                                    YORKTOWN HEIGHTS    NY   10598‐1554
MC CAHILL, JAMES D          4914 CYPRESS SPRING DR                                                                       MISSOURI CITY       TX   77459‐3808
MC CAIN, ARLIENE L          4337 VIN ROSE DR                                                                             FLINT               MI   48507‐2918
MC CAIN, ARLIENE LEOTA      4337 VIN ROSE DR                                                                             FLINT               MI   48507‐2918
MC CAIN, BILLY W            4768 KEMPF ST                                                                                WATERFORD           MI   48329‐1808
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Name                     Address1                        Address2            Address3         Address4         City              State Zip
MC CAIN, CLYDE E         19333 SILVERCREST ST                                                                  SOUTHFIELD         MI 48075‐5896
MC CAIN, HELEN           1726 WHISPERING FOREST DR                                                             KINGWOOD           TX 77339‐2970
MC CAIN, LOLA J          823 SETTLEMIRE RD                                                                     LEBANON            OH 45036‐8774
MC CAIN, TERRYL H        PO BOX 90574                                                                          BURTON             MI 48509‐0574
MC CAIN, TERRYL H        3718 RISEDORPH                                                                        FLINT              MI 48506
MC CAIN, THEODORE F      3501 BRANCHWOOD DRIVE                                                                 EVANSVILLE         IN 47710‐5110
MC CAIN, TYRONE          10108 LYONS MILL RD                                                                   OWINGS MILLS       MD 21117‐4718
MC CAIN, VIOLA P         802 W HEMPHILL RD                                                                     FLINT              MI 48507‐2546
MC CALDEN, JEAN D        67 MEADOW WOOD DR                                                                     ROCHESTER HILLS    MI 48307‐3087
MC CALEB, CLARA B        760 HACHMUTH DR NW                                                                    COMSTOCK PARK      MI 49321‐8517
MC CALEB, WILLIAM R      PO BOX 257                                                                            SAINT HELEN        MI 48656‐0257
MC CALIP, BETTY L        38 TALBOT ST                                                                          FINGER             TN 38334‐2450
MC CALISTER, JOSHUA      22601 ESSEX WAY ST APT 625                                                            SOUTHFIELD         MI 48033‐3331
MC CALISTER, JOSHUA      21051 WOODSIDE AVE                                                                    FERNDALE           MI 48220‐2257
MC CALISTER, ROY         13113 TORRY PINES CT                                                                  TAYLOR             MI 48180‐7963
MC CALISTER, WILLIAM C   27070 WILL CARLETON RD                                                                FLAT ROCK          MI 48134‐9756
MC CALL JR, ROBERT L     3938 BLUEBERRY LN                                                                     ST JAMES CITY      FL 33956‐2286
MC CALL JR, ZEBEDEE      4365 JO DR                                                                            SAGINAW            MI 48601‐5007
MC CALL JR., ROBERT J    59 16TH AVE                                                                           N TONAWANDA        NY 14120‐3219
MC CALL, ANNIE M         26694 W HILLS DR                                                                      INKSTER            MI 48141‐1808
MC CALL, BILLY M         5903 BIG PINE CT                                                                      YPSILANTI          MI 48197‐7166
MC CALL, CHARLES F       207 5TH AVE                                                                           LEHIGH ACRES       FL 33936‐1425
MC CALL, CHARLES J       7770 BARNSBURY DR                                                                     W BLOOMFIELD       MI 48324‐3616
MC CALL, D A             43 STATE ST APT 4D                                                                    SKANEATELES        NY 13152‐1229
MC CALL, DAVID C         2645 ALMONT AVE SE                                                                    GRAND RAPIDS       MI 49507‐3907
MC CALL, DEAN            23345 MOUNTAINWOOD RD                                                                 DAMASCUS           VA 24236‐4459
MC CALL, HAZEL D         1502 OLD NILES FERRY RD                                                               MARYVILLE          TN 37803‐3108
MC CALL, HELEN E         2922 S WENTWARD CT                                                                    HUDSONVILLE        MI 49426‐9244
MC CALL, JEAN W          21 E WASHINGTON ST                                                                    CLARKSTON          MI 48346‐1549
MC CALL, JEFFREY J       501 RIVERVIEW CT                                                                      WOODSTOCK          GA 30188‐2145
MC CALL, JOHN W          205 WOODLAND DR                                                                       ENGLEWOOD          FL 34223‐4657
MC CALL, JOHNNY M        186 LAKE BEND CV                                                                      ELMORE             AL 36025‐1057
MC CALL, JOHNNY M        4260 STURTEVANT ST                                                                    DETROIT            MI 48204‐1432
MC CALL, KENNETH J       3655 SWAFFER RD                                                                       MILLINGTON         MI 48746‐9054
MC CALL, KIRK W          1162 E HENDERSON RD                                                                   OWOSSO             MI 48867‐9460
MC CALL, LEASEA J        15570 E CENTER AVE APT F104                                                           AURORA             CO 80017‐6592
MC CALL, LEASEA JUNE     15570 E CENTER AVE APT F104                                                           AURORA             CO 80017‐6592
MC CALL, MATTHEW         10800 WAYCROFF DR                                                                     SAINT LOUIS        MO 63114‐1822
MC CALL, MICHAEL O       1644 QUEENS DR                                                                        SOUTH PARK         PA 15129‐8835
MC CALL, NEIL W          29129 JOHNSTON RD LOT 2547                                                            DADE CITY          FL 33523‐6440
MC CALL, NORMA           5499 TUBBS                                                                            WATERFORD          MI 48327‐1366
MC CALL, NORMA           5499 TUBBS RD                                                                         WATERFORD          MI 48327‐1366
MC CALL, ODESSA          48669 WILLIS RD                                                                       BELLEVILLE         MI 48111‐9388
MC CALL, RAYMOND L       3237 PERRY HWY                                                                        SHEAKLEYVILLE      PA 16151
MC CALL, ROBERT          25247 CATALINA ST                                                                     SOUTHFIELD         MI 48075‐1763
MC CALL, ROBERT J        1296 FORBES ST                                                                        N TONAWANDA        NY 14120‐1827
MC CALL, ROBERT M        14841 HARTFORD RUN DR                                                                 ORLANDO            FL 32828‐7825
MC CALL, RONALD          PO BOX 55                                                                             BUFFALO            NY 14215‐0055
MC CALL, SONIA L         8518 SE SHARON ST                                                                     HOBE SOUND         FL 33455‐7230
MC CALL, WILLIAM E       15095 110TH ST                                                                        OSKALOOSA          KS 66066‐4126
MC CALL, WILLIAM G       8894 SE PP HWY                                                                        LAWSON             MO 64062‐6235
MC CALLA, KATHLEEN B     88 ELGAS STREET                                                                       BUFFALO            NY 14207‐1222
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Name                        Address1                         Address2          Address3         Address4         City                 State Zip
MC CALLION, THOMAS L        2402 JOHN R RD APT 206                                                               TROY                  MI 48083‐2580
MC CALLISTER, CASSANDRA K   80 E NEWPORT AVE                                                                     PONTIAC               MI 48340‐1253
MC CALLISTER, JANICE M      5 BESS CT                                                                            DURHAM                NC 27707‐2941
MC CALLISTER, JOHNNY C      PO BOX 210903                                                                        AUBURN HILLS          MI 48321‐0903
MC CALLISTER, LOIS          8131 NOLA AVENUE                                                                     SAINT LOUIS           MO 63114‐5327
MC CALLISTER, LOIS          8131 NOLA AVE                                                                        ST LOUIS              MO 63114‐5327
MC CALLISTER, LORIMER       423 SILVERVALE DR                                                                    ROCHESTER HILLS       MI 48309‐1157
MC CALLISTER, SUZANNE       6817 COUNTRY LN                                                                      BELLEVILLE            MI 48111‐4435
MC CALLON, GENE D           PO BOX 16                                                                            BIRCH RUN             MI 48415‐0016
MC CALLUM III, JOHN         4849 HAZELNUT AVE                                                                    SEAL BEACH            CA 90740‐3018
MC CALLUM, ANNE P           1521 LAGUNA LN                                                                       LAKEWOOD              NJ 08701‐3850
MC CALLUM, ANNE P           1521 LAGUNA LANE                                                                     LAKEWOOD              NJ 08701‐3850
MC CALLUM, ANNE T           40 VERO DR                                                                           POUGHKEEPSIE          NY 12603‐6616
MC CALLUM, CAROLYN A        97 PORTLAND ST                                                                       YARMOUTH              ME 04096‐6764
MC CALLUM, DEBRA A          1274 CREEK POINTE DR                                                                 ROCHESTER             MI 48307‐1725
MC CALLUM, H E              8250 MALIBU DR                                                                       PENSACOLA             FL 32514‐4717
MC CALLUM, HAMILTON         1156 FAIRFIELD DR                                                                    HUDSONVILLE           MI 49426‐9489
MC CALLUM, HARRY G          PO BOX 513                                                                           LAKE ORION            MI 48361‐0513
MC CALLUM, HERBERT W        5348 AVEBURY WAY                                                                     GLADWIN               MI 48624‐8214
MC CALLUM, JAMES G          5820 N CHURCH AVE UNIT 116                                                           TAMPA                 FL 33614‐5640
MC CALLUM, JOHN             PO BOX 233                                                                           BRISTOL               TN 37621
MC CALLUM, JOSEPH H         33245 OREGON ST                                                                      LIVONIA               MI 48150‐3638
MC CALLUM, JOSEPH J         878 DOLLAR BAY DR                                                                    LAKE ORION            MI 48362‐2510
MC CALLUM, JOYCE M          PO BOX 513 3627 HI CREST ST                                                          LAKE ORION            MI 48361
MC CALLUM, KARL A           6861 JASMINE DR                                                                      TROY                  MI 48098‐6920
MC CALLUM, MANLEY A         7211 NEFF RD                                                                         MOUNT MORRIS          MI 48458‐1820
MC CALLUM, MARGARET         33245 OREGON                                                                         LIVONIA               MI 48150‐3638
MC CALLUM, ROBERT R         PO BOX 17                                                                            HILLMAN               MI 49746‐0017
MC CALLUM, STEVEN J         9357 KATIE CT                                                                        FRANKENMUTH           MI 48734‐9599
MC CALLY, LARRY E           19305 106TH AVENUE CT E                                                              GRAHAM                WA 98338‐8193
MC CALMON, DENNIS J         10318 FARRAND RD                                                                     OTISVILLE             MI 48463‐9771
MC CALVIN, ALLENE           20020 SNOWDEN ST                                                                     DETROIT               MI 48235‐1168
MC CALVIN, ALLENE           20020 SNOWDEN                                                                        DETROIT               MI 48235‐1168
MC CALVIN, ROBERT           20020 SNOWDEN ST                                                                     DETROIT               MI 48235‐1168
MC CAMERON, KATHERINE A     600 CHRIST DR                                                                        ARNOLD                MO 63010‐2340
MC CAMISH, RONALD L         9720 E CLARKSBORO DR                                                                 LIBERTY               MO 64068‐8685
MC CAMMON, DONALD W         6300 SOUTH AVE APT 1802                                                              BOARDMAN              OH 44512‐3641
MC CAMMON, JUDITH ANN       510 E MOSS CREEK DR                                                                  BLOOMINGTON           IN 47401‐4389
MC CAMMON, JUDITH ANN       510 MOSS CREEK DRIVE                                                                 BLOOMINGTON           IN 47401
MC CAMMON, LINDA E          100 S LOCUST STREET                                                                  WINSLOW               IN 47598‐8573
MC CAMPBELL, EDDIE J        18051 GREELEY ST                                                                     DETROIT               MI 48203‐2472
MC CAMPBELL, JOHN H         211 PLEASANT ST                                                                      BRIDGEWATER           MA 02324‐2327
MC CAMPBELL, TOMMIE         608 WILSON ST                                                                        ELM CITY              NC 27822‐9750
MC CAMURY, EARL             929 23RD AVE                                                                         BELLWOOD               IL 60104‐2508
MC CAMY, LOIS L             5463 PARLIAMENT LN                                                                   WAUNAKEE              WI 53597‐9083
MC CANCE, ROBERT E          155 BRISCOE BLVD                                                                     WATERFORD             MI 48327‐2504
MC CANDLESS, DONALD W       14 ANNABELLA LN                                                                      HILTON HEAD ISLAND    SC 29926‐1876
MC CANE, FRANCES M          325 WALNUT ST APT 101                                                                WELLSVILLE            KS 66092
MC CANLESS, PAULETTE        111 PRYOR RIDGE RD                                                                   TRACY CITY            TN 37387‐3555
MC CANN JR, WILLIAM G       5440 LINGER LN                                                                       LAPEER                MI 48446‐8012
MC CANN RANDY               1826 N VERNON ST                                                                     DEARBORN              MI 48128‐2505
MC CANN, BOBBIE L           4520 GENERAL CARL W STINER HWY                                                       LA FOLLETTE           TN 37766‐5039
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Name                       Address1                       Address2                 Address3    Address4         City               State Zip
MC CANN, BRADLEY T         805 BLAINE AVE                                                                       PONTIAC             MI 48340‐2405
MC CANN, CHARLES N         12389 LAPEER RD                                                                      DAVISON             MI 48423‐8174
MC CANN, CHARLES S         300 ORANGE DR                                                                        BEVERLY             NJ 08010‐2705
MC CANN, DANIEL B          5 HADDINGTON RD                                                                      LUTHERVILLE         MD 21093‐5716
MC CANN, DAVID M           6238 WINDORAH WAY                                                                    ORANGEVALE          CA 95662‐3983
MC CANN, DONALD L          PO BOX 1158                                                                          NORTH PLAINS        OR 97133‐1158
MC CANN, ELWANDA M         31100 POCONO STREET                                                                  MT PLYMOUTH         FL 32776‐9630
MC CANN, EUGENE J          4230 AUGUSTINE DR                                                                    STERLING HTS        MI 48310‐5008
MC CANN, FLORENCE          7350 WILLOW CREEK DR                                                                 CANTON              MI 48187
MC CANN, FRANCIS E         108 FLEMING ST                                                                       PISCATAWAY          NJ 08854‐3961
MC CANN, IRENE P           12389 LAPEER RD                                                                      DAVISON             MI 48423‐8174
MC CANN, JEAN M            12100 SEMINOLE BLVD LOT 215                                                          LARGO               FL 33778‐2825
MC CANN, JOHN D            5067 N BELSAY RD                                                                     FLINT               MI 48506‐1669
MC CANN, JOHN J            26014 N LAKE DR                                                                      HARRISON TWP        MI 48045‐3334
MC CANN, JOSEPH J          139 PLYMOUTH DR                                                                      ISELIN              NJ 08830‐1348
MC CANN, KATHARINE T       28 BROADMOOR LN                                                                      ROTONDA WEST        FL 33947‐1902
MC CANN, KATHY A           2016 SE 31ST ST                                                                      OKEECHOBEE          FL 34974‐6757
MC CANN, LAURA L           PO BOX 92805                                                                         CITY OF INDUSTRY    CA 91715‐2805
MC CANN, LILLIAN B         4714 W FILLMORE DR                                                                   MILWAUKEE           WI 53219‐2362
MC CANN, MARGARET M        4793 KERSWILL RD                                                                     GLADWIN             MI 48624‐9452
MC CANN, MARY J            530 BENSON AVE                                                                       MILFORD             MI 48381‐1803
MC CANN, MICHAEL J         28490 FOUNTAIN ST                                                                    ROSEVILLE           MI 48066‐4764
MC CANN, PAMELA K          5440 LINGER LN                                                                       LAPEER              MI 48446‐8012
MC CANN, PAMELA KAY        5440 LINGER LN                                                                       LAPEER              MI 48446‐8012
MC CANN, RANDY E           1826 N VERNON ST                                                                     DEARBORN            MI 48128‐2505
MC CANN, RAYMOND L         8703 E 327TH ST                                                                      DREXEL              MO 64742‐9271
MC CANN, ROBERT G          48800 FAIRCHILD RD                                                                   MACOMB              MI 48042‐5013
MC CANN, SALLY L           7416 FONTANA RIDGE LN                                                                RALEIGH             NC 27613‐1428
MC CANN, TIMOTHY M         5627 VIKING DR                                                                       JACKSON             MI 49201‐8815
MC CANN, TIMOTHY MICHAEL   5627 VIKING DR                                                                       JACKSON             MI 49201‐8815
MC CANN, WILLIAM E         4714 W FILLMORE DR                                                                   MILWAUKEE           WI 53219‐2362
MC CANS, MARY F            5143 WOLF CREEK RD.                                                                  SPRING CITY         TN 37381
MC CANSE, ANDREW           16760 S VILLAGE DR                                                                   BELTON              MO 64012
MC CANTS, DANNY            18962 BELAND ST                                                                      DETROIT             MI 48234‐3749
MC CANTS, FRANK            99‐35 59TH AVENUE                                                                    CORONA              NY 11368
MC CANTS, JOHN R           828 BRADFORD CIR                                                                     SELMA               AL 36701‐7303
MC CANTS, KERMIT C         709 HAZELWOOD ST                                                                     DETROIT             MI 48202
MC CANTS, RANDY E          3815 EAMES CIR                                                                       SHREVEPORT          LA 71119‐6912
MC CANTS, RONALD K         PO BOX 78925                                                                         CORONA              CA 92877‐0164
MC CANTS, WILLIAM H        9524 S EUCLID AVE                                                                    CHICAGO              IL 60617‐4724
MC CARBERY, GARY P         7363 SNOW GOOSE CIR                                                                  GAYLORD             MI 49735‐9087
MC CARDEL, WARD B          3950 SUMAC DR APT 133                                                                TRAVERSE CITY       MI 49684‐7019
MC CARDELL JR, FRANK L     142 DARTMOUTH LN                                                                     FALLING WTRS        WV 25419‐3969
MC CARDELL, BARBARA J      5404 DUNSMERE ST                                                                     HOUSTON             TX 77091‐5628
MC CARDLE, CHRISTIE L      1600 N HOCKADAY RD                                                                   GLADWIN             MI 48624‐9703
MC CARDLE, CLIFTON D       1600 N HOCKADAY RD                                                                   GLADWIN             MI 48624‐9703
MC CARGO, MARGUERITE       42 SANFORD ST                  PO BOX 179                                            EAST ORANGE         NJ 07018‐1927
MC CARGO, MARGUERITE       42 SANFORD STREET              PO BOX 179                                            EAST ORANGE         NJ 07019‐0179
MC CARLEY, CHARLES T       3044 W GRAND BLVD              C/O GM KOREA 3‐220 GMB                                DETROIT             MI 48202‐3009
MC CARLEY, JACKIE O        1236 APACHE DR                                                                       WAUSEON             OH 43567‐1891
MC CARLEY, KYLE STEVEN     1236 APACHE DR                                                                       WAUSEON             OH 43567‐1891
MC CARLEY, RAY D           220 DOGWOOD DR                                                                       ERIN                TN 37061‐5101
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Name                               Address1                       Address2                     Address3   Address4         City               State Zip
MC CARLEY, RUSSEL D                3824 JEFFERSON RD                                                                       NORTH BRANCH        MI 48461‐8536
MC CARLEY, RUSSEL DOUGLAS          3824 JEFFERSON RD                                                                       NORTH BRANCH        MI 48461‐8536
MC CARLEY, VIRGINIA L              4565 N ROGERS HWY                                                                       BRITTON             MI 49229‐8704
MC CARNEY, HELEN R                 1521 WEBBER AVE                                                                         BURTON              MI 48529‐2037
MC CARRICK, JACK L                 450 TUCKER CT                                                                           ORTONVILLE          MI 48462‐9459
MC CARRICK, RICHARD                736 CAWOOD ST                                                                           LANSING             MI 48915‐1315
MC CARRIERS INC                    BOBBY MAC                      31375 TAMARACK ST APT 3212                               WIXOM               MI 48393‐2535
MC CARROLL, EMILY A                3900 HAMMERBERG                APT # 120                                                FLINT               MI 48507
MC CARROLL, EMILY A                3900 HAMMERBERG RD APT 120                                                              FLINT               MI 48507‐6023
MC CARROLL, STANLEY L              19748 LEMM RD                                                                           MANCHESTER          MI 48158‐8619
MC CARROLL, VERLON O               APT 120                        3900 HAMMERBERG ROAD                                     FLINT               MI 48507‐6023
MC CARROLL, WALTER E               150 S CAMPBELL AVE APT 1304                                                             CHICAGO              IL 60612‐4475
MC CARRON, DELORIS M               1703 BORTON AVE                                                                         ESSEXVILLE          MI 48732‐1311
MC CARRON, ELANDA L                42 MAIN ST                                                                              BELLVILLE           OH 44813‐1019
MC CARRON, ELANDA L                42 NORTH MAIN ST                                                                        BELLVILLE           OH 44813‐1019
MC CARRON, WILLIAM P               1703 BORTON AVE                                                                         ESSEXVILLE          MI 48732‐1311
MC CARSON, CATHERINE LOUI          4513 WINIFRED                                                                           WAYNE               MI 48184‐2207
MC CARSON, JIMMY C                 4513 WINIFRED ST                                                                        WAYNE               MI 48184‐2207
MC CART, REBECCA L                 9063 WATER RIDGE DR                                                                     NEWPORT             MI 48166‐9581
MC CART, REBECCA LYNN              9063 WATER RIDGE DR                                                                     NEWPORT             MI 48166‐9581
MC CART, TIMOTHY J                 9063 WATER RIDGE DR                                                                     NEWPORT             MI 48166‐9581
MC CART, TIMOTHY JAMES             9063 WATER RIDGE DR                                                                     NEWPORT             MI 48166‐9581
MC CARTAN, JOHN P                  16229 W MONTOYA DR                                                                      SURPRISE            AZ 85374‐6366
MC CARTAN, RITA H                  335 PINE RIDGE ROAD                                                                     CHEEKTOWAGA         NY 14225‐3938
MC CARTER, BARRY W                 3202 PRIDHAM ST                                                                         KEEGO HARBOR        MI 48320‐1370
MC CARTER, JAMES E                 RR 1                                                                                    FOREST              IN 46039
MC CARTER, JANET M                 1669 SALT RD                                                                            PENFIELD            NY 14526‐1829
MC CARTER, OLIVER T                3053 SAINT JUDE DR                                                                      WATERFORD           MI 48329‐4358
MC CARTER, STEPHANIE A             40 DOMEDION AVE                                                                         BUFFALO             NY 14211‐2109
MC CARTER, STEPHANIE ANN           40 DOMEDION AVE                                                                         BUFFALO             NY 14211‐2109
MC CARTHER JR, HUBERT              6311 NORWOOD CT                                                                         KANSAS CITY         MO 64133‐4485
MC CARTHY BUILDING COMPANIES INC   1341 N ROCK HILL RD                                                                     SAINT LOUIS         MO 63124‐1441
MC CARTHY JR, KENNETH E            31300 WESTFIELD ST                                                                      LIVONIA             MI 48150‐5908
MC CARTHY JR, ROBERT               1517 HERBERT ST                                                                         LANSING             MI 48910‐1548
MC CARTHY JR, TIMOTHY J            51991 ROMEO PLANK RD                                                                    MACOMB              MI 48042‐4126
MC CARTHY, ANN M                   1195 THORNBURY LN # B                                                                   MANCHESTER          NJ 08759‐5275
MC CARTHY, ANNA F                  4 COUNTRYGATE LN                                                                        TONAWANDA           NY 14150‐6200
MC CARTHY, ANNE V                  4202 RED ARROW RD                                                                       FLINT               MI 48507‐5443
MC CARTHY, AUDREY M                PO BOX 2720                                                                             KINGSHILL            VI 00851‐2720
MC CARTHY, BONNIE                  59 NIGHTENGALE AVE                                                                      MASSENA             NY 13662‐1718
MC CARTHY, CAROL L                 337 ANTOINETTE DR                                                                       ROCHESTER HLS       MI 48309‐1114
MC CARTHY, CATHERINE               355 BRONX RIVER RD APT 6M                                                               YONKERS             NY 10704‐3418
MC CARTHY, CATHY L                 2257 136TH AVE                                                                          DORR                MI 49323‐9539
MC CARTHY, CHARLES L               521 EAST 1300 NORTH                                                                     MILFORD             IN 46542‐9780
MC CARTHY, CHERYL A                31700 SCHOENHERR RD APT 8                                                               WARREN              MI 48088‐1931
MC CARTHY, CONSTANCE A             7044 QUIGLEY ST                                                                         ENGLEWOOD           FL 34224‐8899
MC CARTHY, DANIEL J                15830 NADINA LN                                                                         CLINTON TOWNSHIP    MI 48038‐5029
MC CARTHY, DANIEL P                4509 SHARON DR                                                                          LOCKPORT            NY 14094‐1313
MC CARTHY, DAVID D                 2392 TERRA VERDE LN                                                                     NAPLES              FL 34105‐3035
MC CARTHY, DAVID G                 3165 LANDVIEW DR                                                                        ROCHESTER           MI 48306‐1148
MC CARTHY, DENNIS                  203 RAPSON AVE                                                                          HOUGHTON LAKE       MI 48629‐9522
MC CARTHY, DOROTHY A               62 CRIMSON HTS                                                                          ALBION              NY 14411‐1707
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Name                       Address1                       Address2                  Address3   Address4         City               State Zip
MC CARTHY, EARL J          2709 TRANSIT RD                                                                      NEWFANE             NY 14108‐9701
MC CARTHY, EDWARD K        596 BRUCE ST                   P O BOX 901                                           RIDGEFIELD          NJ 07657‐1854
MC CARTHY, ELEANOR E       29681 MIDDLEBELT RD            # 207                                                 FARMINGTON HILLS    MI 48334
MC CARTHY, ELIZABETH E     1856 SOUTH BLVD W                                                                    ROCHESTER HILLS     MI 48309‐4274
MC CARTHY, EVELYN          19 S BROADWAY APT 2D                                                                 TARRYTOWN           NY 10591‐4007
MC CARTHY, FRANK E         1933 W COURT ST                                                                      FLINT               MI 48503‐3157
MC CARTHY, FRANK J         7282 NORMAN RD                                                                       NORTH TONAWANDA     NY 14120‐1411
MC CARTHY, FRANK JOHN      7282 NORMAN RD                                                                       NORTH TONAWANDA     NY 14120‐1411
MC CARTHY, FRIEDA J        3 SLATESTONE DR                                                                      SAGINAW             MI 48603‐2881
MC CARTHY, GERALD W        3232 HARRISON AVENUE                                                                 ROCHESTER HLS       MI 48307‐5558
MC CARTHY, JAMES E         PO BOX 351                     884 FORREST                                           LAKE GEORGE         MI 48633‐0351
MC CARTHY, JAMES F         20 GUILFORD LN APT 1                                                                 WILLIAMSVILLE       NY 14221‐2522
MC CARTHY, JAMES F         913 BEVERLY DR                                                                       SYRACUSE            NY 13219‐2853
MC CARTHY, JAMES R         17 PRESIDENTIAL DR                                                                   SOUTHBOROUGH        MA 01772‐1122
MC CARTHY, JOHN            72 BRUNSWICK AVE                                                                     LAMBERTVILLE        NJ 08530‐1106
MC CARTHY, JOHN P          682 PENDLEY RD                                                                       WILLOWICK           OH 44095‐4227
MC CARTHY, JOSEPH P        38 RAINIER POINTE CT                                                                 SAINT CHARLES       MO 63301‐8405
MC CARTHY, JOSEPH W        PO BOX 148                     770 WOODFIELD CT                                      MUKWONAGO           WI 53149‐0148
MC CARTHY, JUDITH A        809 CORNERS CT                                                                       LAKE ORION          MI 48362‐3321
MC CARTHY, JULIE A         1021 ALPINE DR                                                                       BRIGHTON            MI 48116‐1775
MC CARTHY, KATIE A         2676 BENDER AVE                                                                      WATERFORD           MI 48329‐3408
MC CARTHY, LILLIAN F       APT 125                        3085 NORTH GENESEE ROAD                               FLINT               MI 48506‐2191
MC CARTHY, LILLIAN G       27 HIGHVIEW RD                                                                       CHEEKTOWAGA         NY 14215‐1828
MC CARTHY, LINDA M         31300 WESTFIELD ST                                                                   LIVONIA             MI 48150‐5908
MC CARTHY, LOUISE M        6585 N LAKE RD                                                                       BERGEN              NY 14416‐9316
MC CARTHY, MARGARET E      20 GUILFORD LN APT 1                                                                 WILLIAMSVILLE       NY 14221‐2522
MC CARTHY, MARIAN L        3947 E LAKE TODD DR                                                                  HERNANDO            FL 34442‐5555
MC CARTHY, MARIO F         650 MILLER RD                                                                        YUBA CITY           CA 95993‐8923
MC CARTHY, MARY A          W10470 COLLEEN LN                                                                    ELCHO               WI 54428‐9774
MC CARTHY, MARY C          2757 JOHN WARREN DR                                                                  W BLOOMFIELD        MI 48324‐2139
MC CARTHY, MARY K          4661 HAMILTON AVENUE                                                                 CINCINNATI          OH 45223‐1502
MC CARTHY, MELANIE W       11461 CROSBY RD                                                                      FENTON              MI 48430‐8924
MC CARTHY, MICHAEL K       5501 TRIPP RD                                                                        TIPTON              MI 49287‐9620
MC CARTHY, MICHAEL KEVIN   5501 TRIPP RD                                                                        TIPTON              MI 49287‐9620
MC CARTHY, MICHAEL P       2242 CEDER RUN RD                                                                    MIO                 MI 48647‐8721
MC CARTHY, MICHAEL R       6010 SNOW APPLE DR                                                                   CLARKSTON           MI 48346‐2445
MC CARTHY, MICHAEL T       337 ANTOINETTE DR                                                                    ROCHESTER HILLS     MI 48309‐1114
MC CARTHY, MOLLIE E        1472 S 90TH ST                                                                       WEST ALLIS          WI 53214‐4224
MC CARTHY, NEIL T          548 ASHWOOD DR                                                                       FLUSHING            MI 48433‐1329
MC CARTHY, ODESSA          20201 PLYMOUTH RD APT 810                                                            DETROIT             MI 48228‐1259
MC CARTHY, PATRICK J       84 W BIHRWOOD DR                                                                     WEST SENECA         NY 14224‐3626
MC CARTHY, PATRICK P       644 BACK NINE DR                                                                     VENICE              FL 34285‐4546
MC CARTHY, PATRICK R       4627 S 175 W                                                                         LAFAYETTE           IN 47909‐8905
MC CARTHY, PAUL A          6132 MCMILLAN ST                                                                     DETROIT             MI 48209‐1633
MC CARTHY, PAULETTE L      1523 5TH AVE                                                                         JOLIET               IL 60433‐2039
MC CARTHY, R B             13089 GOLFSIDE CT                                                                    CLIO                MI 48420‐8281
MC CARTHY, REBECCA S       44956 BROADMOOR CIR S          CIRCLE                                                NORTHVILLE          MI 48168‐8644
MC CARTHY, RICHARD         18 BAYWOOD LN                                                                        BAYPORT             NY 11705‐1757
MC CARTHY, RICHARD L       3015 EXMOOR RD                                                                       ANN ARBOR           MI 48104‐4131
MC CARTHY, ROBERT D        1676 E TAMARRON CT                                                                   SPRINGBORO          OH 45066‐9212
MC CARTHY, ROBERT E        3088 7 MILE RD                                                                       EVART               MI 49631‐8263
MC CARTHY, ROBERT E        8924 AMY LEIGH LN                                                                    CLARENCE CTR        NY 14032‐9366
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Name                           Address1                         Address2           Address3         Address4         City               State Zip
MC CARTHY, ROBERT EDWARD       8924 AMY LEIGH LN                                                                     CLARENCE CTR        NY 14032‐9366
MC CARTHY, ROBERT J            2674 ATHENA DR                                                                        TROY                MI 48083‐2468
MC CARTHY, ROBERT P            4637 S MOON TRL                                                                       PORT ORANGE         FL 32129‐5207
MC CARTHY, RONALD J            261 WINDEMERE PL                                                                      WEST BRANCH         MI 48661‐1181
MC CARTHY, ROSALIE             13089 GOLFSIDE CT                                                                     CLIO                MI 48420‐8281
MC CARTHY, RUTH E              1305 S LAKE WIILMER DR           APT 207A                                             SANDUSKY            OH 44870‐8027
MC CARTHY, RUTH E              1305 S LAKE WILMER DR APT 207A                                                        SANDUSKY            OH 44870‐8027
MC CARTHY, TERRANCE M          111 MAIN ST                                                                           SILVER CREEK        NY 14136‐1450
MC CARTHY, TERRANCE MARSHALL   111 MAIN ST                                                                           SILVER CREEK        NY 14136‐1450
MC CARTHY, THOMAS H            1310 S GIBSON CT                                                                      SUPERIOR            CO 80027‐8020
MC CARTHY, THOMAS J            17 GRANT AVE                                                                          KEARNY              NJ 07032‐1117
MC CARTHY, THOMAS J            1371 TAYLOR RD                                                                        CLINTON             MI 49236‐9716
MC CARTHY, THOMAS J            130 HIGHLAND AVE                                                                      HAMILTON            NJ 08620‐2909
MC CARTHY, THOMAS L            2257 136TH AVE                                                                        DORR                MI 49323‐9539
MC CARTHY, VIVIAN              13618 GREENFIELD DR APT 201                                                           TAMPA               FL 33618‐8402
MC CARTHY, WILLIAM A           3425 MOUBRY LN                                                                        CHARLOTTESVILLE     VA 22911‐5644
MC CARTHY, WILLIAM B           13311 BEMIS RD                                                                        MANCHESTER          MI 48158‐8570
MC CARTHY, WILLIAM BRUCE       13311 BEMIS RD                                                                        MANCHESTER          MI 48158‐8570
MC CARTHY, WILLIAM J           29790 RAVENSCROFT ST                                                                  FARMINGTON HILLS    MI 48331‐2127
MC CARTIN, MICHAEL E           504 NORDBERG AVE NW                                                                   GRAND RAPIDS        MI 49504‐4730
MC CARTNEY, DOROTHY B          PO BOX 90681                                                                          BURTON              MI 48509‐0681
MC CARTNEY, DOROTHY B          P.O.BOX 90681                                                                         BURTON              MI 48509
MC CARTNEY, JAMES P            2960 BECK RD                                                                          HOWELL              MI 48843‐8821
MC CARTNEY, MARK C             1350 N POSEY LAKE HWY                                                                 HUDSON              MI 49247‐9754
MC CARTNEY, PATRICK E          3338 HOMEWOOD DR                                                                      BRIDGEPORT          MI 48722‐9526
MC CARTNEY, PENNY I            2113 WILBERT ST                                                                       SANDUSKY            OH 44870‐1950
MC CARTNEY, ROSE F             245 OLYMPIA DR                                                                        ROCHESTER           NY 14615‐1266
MC CARTNEY, THOMAS R           1702 HORSESHOE CIR                                                                    SAGINAW             MI 48609‐4267
MC CARTNEY, VIRGINIA M         2224 HOLIDAY DR                                                                       JANESVILLE          WI 53545‐0386
MC CARTY CHARLES D             5337 ASHWOOD CT                                                                       CLARENCE            NY 14031‐1201
MC CARTY JR, GERALD P          571 PROSPECT RD                                                                       SOUTHPORT           NC 28461‐7618
MC CARTY JR, HAROLD E          530 N GRANT ST                                                                        WESTMONT             IL 60559‐1509
MC CARTY, ALVIN K              2389 SILVER CIR                                                                       WATERFORD           MI 48328‐1741
MC CARTY, CHARLES D            5337 ASHWOOD CT                                                                       CLARENCE            NY 14031‐1201
MC CARTY, CLARA GENIECE        1610 DALE DR                                                                          ARLINGTON           TX 76010‐4614
MC CARTY, DAVID J              4926 OAK RIVER DR                                                                     TROY                MI 48098‐4140
MC CARTY, DOUGLAS B            5371 CULVER ST                                                                        DEARBORN HTS        MI 48125‐3429
MC CARTY, DOUGLAS BLAKE        5371 CULVER ST                                                                        DEARBORN HTS        MI 48125‐3429
MC CARTY, DWAYNE               4065 TOWNVIEW DR                                                                      FLINT               MI 48532‐2732
MC CARTY, FRANKLIN             PO BOX 262                                                                            TOPINABEE           MI 49791‐0262
MC CARTY, GEORGE A             6632 CEDAR GROVE POINTE                                                               JENISON             MI 49428
MC CARTY, GEORGE S             7602 NE 75TH TER                                                                      KANSAS CITY         MO 64158‐1064
MC CARTY, HELEN M              13318 DIXIE HWY LOT 79                                                                HOLLY               MI 48442‐9760
MC CARTY, HELEN M              13318 SOUTH DIXIE HWY            LOT 79                                               HOLLY               MI 48442
MC CARTY, J                    4406 SELBY ST                                                                         FLINT               MI 48505‐3646
MC CARTY, JAMES T              7900 W 72ND TER                                                                       OVERLAND PARK       KS 66204‐1703
MC CARTY, JANET A              144 S SYLVAN AVE                                                                      COLUMBUS            OH 43204‐1920
MC CARTY, JEROME L             1250 JAY AVE                                                                          YPSILANTI           MI 48198‐6459
MC CARTY, JERRY B              5047 SANDY BROOK CIRCLE                                                               WIMAUMA             FL 33598‐4023
MC CARTY, JOAN MARGARET        255 N 4TH ST                     PO BOX 551                                           FREELAND            MI 48623‐2520
MC CARTY, JOHN W               9550 HORN RD                                                                          WINDHAM             OH 44288‐9701
MC CARTY, KAY M                PO BOX 333                                                                            ASHLAND             OH 44805‐0333
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Name                       Address1                        Address2                       Address3    Address4         City               State Zip
MC CARTY, MARY             85165 STATE HIGHWAY 13                                                                      BAYFIELD            WI 54814‐4665
MC CARTY, MARY L           5345 SCOTT ROAD                                                                             MOUNT MORRIS        MI 48458‐9724
MC CARTY, MARY L           5345 SCOTT RD                                                                               MOUNT MORRIS        MI 48458‐9724
MC CARTY, MELISSA R        APT 1                           6739 SHAWNEE ROAD                                           N TONAWANDA         NY 14120‐9403
MC CARTY, MICHAEL D        9232 VISTA DEL ARROYA DR                                                                    FLUSHING            MI 48433‐1235
MC CARTY, MICHAEL DENNIS   9232 VISTA DEL ARROYA DR                                                                    FLUSHING            MI 48433‐1235
MC CARTY, MICHAEL G        1965 PERO LAKE ROAD                                                                         LAPEER              MI 48446‐9093
MC CARTY, MICHAEL P        1665 INDIAN GARDEN LN                                                                       MILFORD             MI 48380‐3317
MC CARTY, NAY DEAN         438 S ACRES DR                                                                              DALLAS              TX 75217‐7829
MC CARTY, PATRICIA S       18232 ROBERT ST                                                                             MELVINDALE          MI 48122‐1421
MC CARTY, ROBERT E         33678 NEWPORT DR                                                                            STERLING HTS        MI 48310‐5858
MC CARTY, RUDOLPH L        3463 ERHARDT DR                                                                             MOUNT MORRIS        MI 48458‐9404
MC CARTY, SHIRLEY          930 KETTERING                                                                               PONTIAC             MI 48340‐3257
MC CARTY, SHIRLEY          930 KETTERING AVE                                                                           PONTIAC             MI 48340‐3257
MC CARTY, STEVEN J         2748 N 103RD ST                                                                             KANSAS CITY         KS 66109‐5021
MC CARTY, THOMAS K         8741 COX RD                                                                                 BELLEVUE            MI 49021‐9627
MC CARTY, THOMAS W         2684 ROLLING RIDGE LN NW                                                                    WALKER              MI 49534‐1344
MC CARTY, VINCENT J        19029 US HWY 19 N               BLDG 3 U 7                                                  CLEARWATER          FL 33764
MC CARTY, WAYNE E          3303‐2 PRINCE EDWARD ISLE                                                                   FORT MYERS          FL 33907
MC CARTY, WAYNE R          25805 HARPER AVENUE                                                                         ST. CLAIR SHORES    MI 48081
MC CARTY, WAYNE R          10522 E BOYER RD                CARSON CITY CORRECTIONAL FAC                                CARSON CITY         MI 48811‐9757

MC CARTY, WOODROW L        9551 BRIDGE LAKE RD                                                                         CLARKSTON          MI   48348‐1620
MC CARVER JR, COSTELLO     2500 POINTE SOUTH SE            WHITE WATER LODGE              ROOM #302                    CLEVELAND          TN   37323‐6005
MC CARVILL, TERRENCE J     7280 DABNEY LN                                                                              FAYETTEVILLE       NY   13066‐1823
MC CASKELL JR, KOSSIE L    19300 TRACEY ST                                                                             DETROIT            MI   48235‐1738
MC CASKEY, CHARLES E       8403 MORENCI RD                                                                             MORENCI            MI   49256‐9703
MC CASKEY, R D             5587 CAMINO CERRALVO                                                                        SANTA BARBARA      CA   93111‐1073
MC CASKIE, DAVID K         4247 E LAKE RD                                                                              SHEFFIELD LAKE     OH   44054‐1102
MC CASKIE, IRENE           4247 E LAKE RD                                                                              SHEFFIELD LAKE     OH   44054‐1102
MC CASKILL, ALFRED L       5816 COOPER ST                                                                              DETROIT            MI   48213‐3108
MC CASKILL, DOROTHY E      10212 MELROSE ST                                                                            OVERLAND PARK      KS   66214‐2322
MC CASKILL, GERTRUDE       2757 VINDALE ROAD                                                                           TAVARES            FL   32778‐4555
MC CASKILL, JANET V        8636 BABST AVENUE NORTHWEST                                                                 CANAL FULTON       OH   44614‐8652
MC CASKILL, THOMAS M       10212 MELROSE ST                                                                            OVERLAND PARK      KS   66214‐2322
MC CASKILL, TOM A          28516 SOMES RD BOX 17                                                                       DRUMMOND ISLAND    MI   49726
MC CASLIN, JOHN V          13643 170TH STREET                                                                          LINWOOD            KS   66052‐4436
MC CASLIN, LARRY J         6055 CYCLONE RD                                                                             OTTER LAKE         MI   48464‐9714
MC CASLIN, MARK R          3601 WOODPOINTE                                                                             ORTONVILLE         MI   48462
MC CASLIN, THOMAS A        5295 SHABBONA RD                                                                            DEFORD             MI   48729‐9707
MC CAUDY, PAUL R           1137 RIVER ROAD                                                                             HINCKLEY           OH   44233‐9758
MC CAUGHEY, LAVON K        1408 W 25TH ST                                                                              INDEPENDENCE       MO   64052‐3521
MC CAUGHEY, MICHAEL        608 FARMSTEAD CT                                                                            CHURCHVILLE        NY   14428
MC CAUGHNA, HARRY R        9699 20 MILE RD                                                                             TUSTIN             MI   49688‐8670
MC CAUGHNA, JAY            130 E LINCOLN AVE                                                                           REED CITY          MI   49677‐1220
MC CAUL, VERNON D          11445 BELL RD                                                                               CLARKSVILLE        MI   48815‐9768
MC CAULEY HALLIBURTON      1345 SANFORD RD                                                                             RIPLEY             TN   38063‐7983
MC CAULEY JR, ANTHONY E    18519 MARGARETA ST                                                                          DETROIT            MI   48219‐2929
MC CAULEY, BARBARA         3664 LEXINGTON DR                                                                           AUBURN HILLS       MI   48326‐3976
MC CAULEY, BARBARA L       3519 MELODY LN E                                                                            KOKOMO             IN   46902‐3983
MC CAULEY, BOBBY E         14012 SAW MILL RD                                                                           OKLAHOMA CITY      OK   73170‐8723
MC CAULEY, BRENT H         125 PROSPECT AVE                                                                            DAYTON             OH   45415‐2235
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Name                           Address1                        Address2                    Address3   Address4         City                State Zip
MC CAULEY, DANIEL C            PO BOX 164                                                                              JOHANNESBURG         MI 49751‐0164
MC CAULEY, DELMAS L            5018 PALMYRA RD SW                                                                      WARREN               OH 44481‐9711
MC CAULEY, EDWARD L            1825 HOLLINGSWORTH DR                                                                   COMMERCE TOWNSHIP    MI 48390‐2642
MC CAULEY, GENE E              3519 MELODY LN E                                                                        KOKOMO               IN 46902‐3983
MC CAULEY, J B                 RR 4 BOX 299                                                                            GRAFTON              WV 26354‐9348
MC CAULEY, JEROME A            334 KINGS GATE COURT                                                                    NEKOOSA              WI 54457‐8164
MC CAULEY, JOE L               486 GRANADA DR                                                                          PONTIAC              MI 48342‐1725
MC CAULEY, LEONARD N           123 AIRLEIGH PL                                                                         RICHLANDS            NC 28574‐8344
MC CAULEY, LINDA M             870 CEDARGATE CT                                                                        WATERFORD            MI 48328‐2606
MC CAULEY, MICHAEL E           4010 GENESEE RD                                                                         LAPEER               MI 48446‐3608
MC CAULEY, MONICA A            786 BAYLOR RD                                                                           ROCHESTER HILLS      MI 48309‐2511
MC CAULEY, RICHARD L           8206 NW K HWY                                                                           STEWARTSVILLE        MO 64490
MC CAULEY, WILLIAM J           408 4TH ST                                                                              MARIETTA             OH 45750‐2003
MC CAULLEY, SHEILA D           PO BOX 2548                                                                             DETROIT              MI 48202‐0548
MC CAULLEY, SHEILA DIANNE      PO BOX 2548                                                                             DETROIT              MI 48202‐0548
MC CAULLEY, WILLIAM W          236 W COLUMBIA AVE                                                                      PONTIAC              MI 48340‐1814
MC CAULLY, SANDRA C            PO BOX 43                                                                               LIMEKILN             PA 19535‐0043
MC CAUSEY LUMBER COMPANY INC   32205 LITTLE MACK AVE           PO BOX 545                                              ROSEVILLE            MI 48066‐1128
MC CAUSEY, BETTY L             7323 DELTA COMMERCE DR          #2                                                      LANSING              MI 48917‐1069
MC CAUSEY, BETTY L             #2                              7323 DELTA COMMERCE DRIVE                               LANSING              MI 48917‐1069
MC CAUSEY, KATHRYN             8670 CLINTONIA RD                                                                       PORTLAND             MI 48875‐9453
MC CAW, BETTY G                1808 PROCTOR AVE                                                                        FLINT                MI 48504‐7271
MC CAY, RODNEY D               8027 E 88TH ST                                                                          KANSAS CITY          MO 64138‐4130
MC CAY, SYDNEY M               1945 LINCOLN DR                                                                         FLINT                MI 48503‐4718
MC CHESNEY, BELINDA            4145 COUNTY ROAD 19                                                                     PIEDMONT             AL 36272
MC CHESNEY, BYRON G            4145 COUNTY ROAD 19                                                                     PIEDMONT             AL 36272‐4703
MC CHESNEY, GENEVA J           875 TARPLEY RD NW                                                                       KENNESAW             GA 30152‐4721
MC CHRISTIAN, ROBERT F         1701 N MIDWEST BLVD                                                                     OKLAHOMA CITY        OK 73141‐1432
MC CLAIN JR, ORVAL R           4931 POWELL AVE                                                                         KANSAS CITY          KS 66106‐1753
MC CLAIN JR., ANDREW L         310 S ARTESIAN AVE                                                                      CHICAGO               IL 60612‐2934
MC CLAIN REAL ESTATE           823 SEWARD ST                                                                           DETROIT              MI 48202‐2304
MC CLAIN SR., MARK W           268 JACKSON ST                                                                          BRISTOL              PA 19007‐4210
MC CLAIN, A                    501 N ROSE AVE APT A                                                                    COMPTON              CA 90221
MC CLAIN, ANTHONY B            29300 LEEMOOR DR                                                                        SOUTHFIELD           MI 48076‐5228
MC CLAIN, DALE E               257 FISHELL RD                                                                          RUSH                 NY 14543‐9748
MC CLAIN, DARRYL E             2709 PALMGREEN ST                                                                       MCKEESPORT           PA 15132‐5339
MC CLAIN, DARRYL EUGENE        2709 PALMGREEN ST                                                                       MCKEESPORT           PA 15132‐5339
MC CLAIN, DEBORAH J            11696 E 13 MILE RD                                                                      WARREN               MI 48093‐3009
MC CLAIN, DEBRA                1645 EAST 600 SOUTH                                                                     ANDERSON             IN 46013‐9553
MC CLAIN, DONALD C             40 HEATHER ST                                                                           BROWNSMILLS          NJ 08015
MC CLAIN, DORIS I              1422 W COURT ST                 C/O FAMILY SERVICE AGENCY                               FLINT                MI 48503‐5008
MC CLAIN, DORIS J.             4316 DEXEL DR                                                                           BURTON               MI 48519‐1122
MC CLAIN, DOUGLAS E            17432 W CARNEGIE CIR                                                                    FORT MYERS           FL 33967‐5853
MC CLAIN, EDWARD H             6528 TORREY RD                                                                          FLINT                MI 48507‐3850
MC CLAIN, ERNEST               6521 ALLISON DR                                                                         FLINT                MI 48504‐3618
MC CLAIN, FRANKIE L            7379 LINDEN RD                                                                          SWARTZ CREEK         MI 48473‐9456
MC CLAIN, GASTON               16713 RUTHERFORD ST                                                                     DETROIT              MI 48235‐3646
MC CLAIN, GEORGE W             3022 IMPERIAL VALLEY DR                                                                 LITTLE ROCK          AR 72212‐3108
MC CLAIN, GREGORY A            PO BOX 18                                                                               PERRY                MI 48872‐0018
MC CLAIN, GWENDOLYN            4600 E KENTUCKY AVE APT 205                                                             DENVER               CO 80246‐2632
MC CLAIN, IRENE                7438 PARALLEL PKWY                                                                      KANSAS CITY          KS 66112‐2241
MC CLAIN, JAMES F              4127 CURUNDU AVENUE                                                                     DAYTON               OH 45416‐1445
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Name                       Address1                      Address2            Address3         Address4         City               State Zip
MC CLAIN, JESSIE L         1963 RICHTON ST                                                                     DETROIT             MI 48206‐1211
MC CLAIN, JOHN W           2330 JAKOB RD                                                                       MIKADO              MI 48745‐9724
MC CLAIN, KAREN            9514 ORBITAN CT                                                                     BALTIMORE           MD 21234‐3377
MC CLAIN, LAURA L          16629 WHITBY ST                                                                     LIVONIA             MI 48154‐2508
MC CLAIN, LEO E            6079 ELDON RD                                                                       MOUNT MORRIS        MI 48458‐2713
MC CLAIN, LILLIE S         1734 VIRGINIA AVE                                                                   NIAGARA FALLS       NY 14305‐2116
MC CLAIN, LOTTIE           1175 PEACHTREE DR                                                                   MT MORRIS           MI 48458‐2833
MC CLAIN, LOTTIE M         326 SO. 25TH ST.                                                                    SAGINAW             MI 48601‐6336
MC CLAIN, LOTTIE M         326 S 25TH ST                                                                       SAGINAW             MI 48601‐6336
MC CLAIN, LOUIS T          8641 CRABAPPLE LN                                                                   WARREN              MI 48093‐5578
MC CLAIN, LOUISE           B0X 66                                                                              CRABTREE            PA 15624
MC CLAIN, MICHAEL R        4128 WOODSTOCK DR                                                                   FORT WAYNE          IN 46815‐6761
MC CLAIN, NELLIE A         5037 GLORIA ST                                                                      WAYNE               MI 48184‐2281
MC CLAIN, NINA W           1502 LAWRENCE WAY                                                                   ANDERSON            IN 46013‐5602
MC CLAIN, PATRICIA         1963 RICHTON ST                                                                     DETROIT             MI 48206‐1211
MC CLAIN, RACHEL K         4950 E PRATT RD                                                                     SAINT JOHNS         MI 48879‐9179
MC CLAIN, RICHARD          409 STANDISH CT                                                                     BOLINGBROOK          IL 60440‐2913
MC CLAIN, ROBERT J         12406 LAPEER RD                                                                     DAVISON             MI 48423‐8174
MC CLAIN, ROBERT J         54664 ISLE ROYALE AVE                                                               MACOMB              MI 48042‐2380
MC CLAIN, ROBERT JOHN      54664 ISLE ROYALE AVE                                                               MACOMB              MI 48042‐2380
MC CLAIN, ROBERT P         RR 2 BOX 134                                                                        MCALESTER           OK 74501‐9668
MC CLAIN, ROBERT P         ROUTE 2 BOX 134                                                                     MC ALESTER          OK 74501‐9668
MC CLAIN, ROBERT P         1030 BOUDINOT PL                                                                    ELIZABETH           NJ 07201‐2522
MC CLAIN, ROCH X           10821 BROOKWOOD DR                                                                  PLYMOUTH            MI 48170‐3812
MC CLAIN, RONALD E         7438 PARALLEL PKWY                                                                  KANSAS CITY         KS 66112‐2241
MC CLAIN, RONALD R         1018 PARK AVE                                                                       E MCKEESPORT        PA 15035‐1357
MC CLAIN, ROY A            59452 FRANKFORT RD                                                                  SALESVILLE          OH 43778‐9541
MC CLAIN, RUSSELL E        200 SOUTHERN WOODS DR                                                               SOUTH CHARLESTON    WV 25309‐8691
MC CLAIN, TERRY L          11317 WAY CROSS RD                                                                  OKLAHOMA CITY       OK 73162‐2960
MC CLAIN, THOMAS E         944 MELROSE ST                                                                      PONTIAC             MI 48340‐3129
MC CLAIN, ULYSSES          5034 MARYLAND                                                                       DETROIT             MI 48224
MC CLAIN, VERNON           51819 SHELBY RD                                                                     SHELBY TOWNSHIP     MI 48316‐4152
MC CLAIN, WAYNE O          4214 E LAKE RD                                                                      CLIO                MI 48420‐9145
MC CLAIN, WILLIE J         399 MAPLEWOOD LN                                                                    PONTIAC             MI 48341‐3176
MC CLAIN, WILLIE J         3364 N 54TH ST                                                                      MILWAUKEE           WI 53216‐3110
MC CLAMB, DAVID D          229 HEWITT AVE                                                                      BUFFALO             NY 14215‐1523
MC CLANAHAN JR, HENRY      3254 SAN RIVAS DR                                                                   SAN JOSE            CA 95148‐2036
MC CLANAHAN JR, LUTHER C   1481 WILLARD RD                                                                     BIRCH RUN           MI 48415‐8611
MC CLANAHAN, BILLY G       609 S CEDAR CREEK ST                                                                DUNCAN              OK 73533‐2808
MC CLANAHAN, BILLY G       394 ALDEN RD                  APT A                                                 ROCHESTER           NY 14626‐2437
MC CLANAHAN, CHARLES R     3712 ALEX CT                                                                        MCKINNEY            TX 75070‐7684
MC CLANAHAN, GREGORY W     PO BOX 15614                                                                        OKLAHOMA CITY       OK 73155‐5614
MC CLANAHAN, JOHN D        204 BOXWOOD AVE                                                                     ALCOA               TN 37701‐2804
MC CLANAHAN, KELLY S       7730 HALEY RD                                                                       WHITE LAKE          MI 48383‐2032
MC CLANAHAN, LESLIE M      8081 N SARAZEN DR                                                                   CITRUS SPRINGS      FL 34434‐5868
MC CLANAHAN, LINDA K       28 BRIXTON LN                                                                       CROSSVILLE          TN 38558‐2712
MC CLANAHAN, MARCUS S      40 TUNBRIDGE CT                                                                     SAINT CHARLES       MO 63304
MC CLANAHAN, MARGARET      6771 DULCE REAL                                                                     FORT PIERCE         FL 34951‐4407
MC CLANAHAN, PATRICIA A    19955 STRATFORD RD                                                                  DETROIT             MI 48221‐1863
MC CLANAHAN, PHYLLIS J     966 CLARKSON PARMA TL ROAD                                                          HILTON              NY 14468‐9722
MC CLANAHAN, RUSTY L       28 BRIXTON LN                                                                       CROSSVILLE          TN 38558‐2712
MC CLANAHAN, STELLA        1463 BATTLEFIELD RD                                                                 PERRYVILLE          KY 40468‐8945
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Name                      Address1                         Address2            Address3         Address4         City               State Zip
MC CLANAHAN, STIRLEY C    204 MAY LN                                                                             GREERS FERRY        AR 72067‐8865
MC CLANE, THOMAS E        63 CONCORD ST                                                                          MOUNT MORRIS        MI 48458‐3108
MC CLARA, DORTHA M        3879 N TAYLORSVILLE RD                                                                 HILLSBORO           OH 45133‐8812
MC CLARD, DELORES A       4907 BRANCH RD                                                                         FLINT               MI 48506‐2087
MC CLARD, SAMMIE L        PO BOX 334                                                                             BLOOMFIELD          MO 63825‐0334
MC CLAREN, HOWARD E       2466 EASTWOOD DR                                                                       FLINT               MI 48504‐6522
MC CLARTY, SYLVESTER E    PO BOX 480019                                                                          NEW HAVEN           MI 48048‐0019
MC CLARY, CURTIS S        1937 BARRINGTON CT                                                                     MITCHELLVILLE       MD 20721‐2703
MC CLARY, ELIZABETH J     2345 OXFORD                      316                                                   BERKLEY             MI 48072
MC CLARY, JAMES I         105 EDINBURGH ST                                                                       ROCHESTER           NY 14608‐2402
MC CLARY, SHARON L        1422 HILLSIDE RD                                                                       CAMBRIDGE           WI 53523‐9602
MC CLASKIE, LUCINDA J     7195 LITHOPOLIS RD                                                                     CARROLL             OH 43112‐9683
MC CLASKIE, MELVIN G      7195 LITHOPOLIS RD                                                                     CARROLL             OH 43112‐9683
MC CLEAN, BEVERLY A       101 LONG BRANCH CIRCLE                                                                 LIVERPOOL           NY 13090‐3257
MC CLEAN, RUTH            146 HANCOCK ST                                                                         BROOKLYN            NY 11216
MC CLEAN, SUSAN O         3811 LONG MEADOW LN                                                                    LAKE ORION          MI 48359‐1443
MC CLEAN, SUSAN ORR       3811 LONG MEADOW LN                                                                    LAKE ORION          MI 48359‐1443
MC CLEARY, ANTHONY E      PO BOX 454                                                                             HENRIETTA           NY 14467‐0454
MC CLEARY, BETTINA E      822 LAKE SHORE DR                                                                      RHINELANDER         WI 54501‐2311
MC CLEARY, JOHN R         65 MAPES AVE                                                                           NEWARK              NJ 07112‐2505
MC CLEARY, JOSEPH D       40111 PALLAZO DR                                                                       CLINTON TWP         MI 48038‐4046
MC CLEARY, LINDA J.       8922 S MAIN ST                                                                         WINDHAM             OH 44288‐1052
MC CLEARY, SYDELLE D      12496 SONOMA RD                                                                        BATTLE CREEK        MI 49015‐9364
MC CLEASE, CLARENCE A     1560 DEVON ST                                                                          YPSILANTI           MI 48198‐3211
MC CLEERY, CHARLES T      163 DEHOFF DR                                                                          YOUNGSTOWN          OH 44515‐2405
MC CLEERY, DALE L         3811 MAPLELEAF RD                                                                      WATERFORD           MI 48328‐4056
MC CLEERY, ROBERT A       356 MAYNARD DR                                                                         BUFFALO             NY 14226‐2929
MC CLEESE, CAROLYN J      46 OVERHEAD BRIDGE RD                                                                  CAMDEN              TN 38320‐1860
MC CLEESE, CHRISTINE      5105 MAYBEE RD                                                                         CLARKSTON           MI 48346‐4338
MC CLEESE, DE WAYNE D     5105 MAYBEE RD                                                                         CLARKSTON           MI 48346‐4338
MC CLELLAN JR, ALFRED M   22731 SHADOWGLEN DR                                                                    FARMINGTON HILLS    MI 48335‐3655
MC CLELLAN JR, LESTER     420 GOODRICH RD                                                                        FOSTORIA            MI 48435‐9745
MC CLELLAN JR, ROBERT     7333 WAYNE AVE                                                                         KANSAS CITY         MO 64131‐1845
MC CLELLAN, ALFRED M      175 EARLMOOR BLVD                                                                      PONTIAC             MI 48341‐2747
MC CLELLAN, ARTHUR F      1144 OAKLAWN DR                                                                        PONTIAC             MI 48341‐3600
MC CLELLAN, BEN           246 SPIERS WAY                                                                         CROSSVILLE          TN 38555‐5247
MC CLELLAN, BRENT J       1850 E WELLMAN LINE RD                                                                 YALE                MI 48097‐4787
MC CLELLAN, BRUCE W       1068 OAK POINTE DR                                                                     WATERFORD           MI 48327‐1629
MC CLELLAN, C T           5807 SWALLOW DR                                                                        LAKELAND            FL 33809‐7632
MC CLELLAN, CARL C        822 PARKERSBURG TPKE                                                                   STAUNTON            VA 24401‐6120
MC CLELLAN, CAROLYN L     1823 E IVY AVE                                                                         COLVILLE            WA 99114‐9335
MC CLELLAN, DONALD W      246 W 13TH ST                                                                          SALEM               OH 44460‐1104
MC CLELLAN, ELIZABETH O   5540 STREEFKERK DR                                                                     WARREN              MI 48092‐3125
MC CLELLAN, GENE A        766 AMBERWOOD ST                                                                       AUBURN HILLS        MI 48326‐1134
MC CLELLAN, GILBERT E     1440 SHERIDAN CT                                                                       LAPEER              MI 48446‐1279
MC CLELLAN, GREGORY P     5726 LAKEVIEW BLVD                                                                     GOODRICH            MI 48438‐9642
MC CLELLAN, JAMES S       9270 SHAMROCK LN                                                                       CLARKSTON           MI 48348‐2546
MC CLELLAN, JANET L       4027 STONEBRIDGE                                                                       HOLLY               MI 48442‐9529
MC CLELLAN, JERI M        12619 DAY HOLLOW LN                                                                    HOUSTON             TX 77070‐4735
MC CLELLAN, KENNETH S     2577 BRIDLEWOOD DR                                                                     HELENA              AL 35080‐3916
MC CLELLAN, KEVIN L       3136 HIDDEN TIMBER DR                                                                  ORION               MI 48359‐1584
MC CLELLAN, KEVIN L       345A PEWAUKEE ROAD                                                                     PEWAUKEE            WI 53072‐5788
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Name                         Address1                      Address2                       Address3   Address4         City               State Zip
MC CLELLAN, KEVIN LEE        3136 HIDDEN TIMBER DR                                                                    ORION               MI 48359‐1584
MC CLELLAN, LARRY M          PO BOX 961842                                                                            RIVERDALE           GA 30296‐6912
MC CLELLAN, MARGARET         4882 BOSTON RD                                                                           BRUNSWICK           OH 44212‐1052
MC CLELLAN, MARK J           1774 DELTA DR                                                                            TROY                MI 48085‐1254
MC CLELLAN, MARY L           820 GOLF DR APT 202                                                                      PONTIAC             MI 48341‐2368
MC CLELLAN, MATTHEW P        210 MARCHMONT DR                                                                         FAIRBORN            OH 45324‐4336
MC CLELLAN, MICHAEL J        2235 S SANDUSKY RD                                                                       SANDUSKY            MI 48471‐8961
MC CLELLAN, MICHAEL J.       2235 S SANDUSKY RD                                                                       SANDUSKY            MI 48471‐8961
MC CLELLAN, MOLLIE F         7916 INDIAN BLUFF LN                                                                     CINCINNATI          OH 45241‐3627
MC CLELLAN, PATRICIA L       6175 LUCAS RD                                                                            FLINT               MI 48506‐1228
MC CLELLAN, RICHARD B        4027 STONEBRIDGE                                                                         HOLLY               MI 48442‐9529
MC CLELLAN, RICHARD W        2344 OLD GEORGE WAY                                                                      DOWNERS GROVE        IL 60515‐4258
MC CLELLAN, RUTH C           609 CRAIG ST                                                                             MARQUETTE           MI 49855‐5028
MC CLELLAN, SCOTT R          525 COLEMAN ST SE                                                                        GRAND RAPIDS        MI 49548‐7380
MC CLELLAN, VIRGINIA L       822 PARKERSBURG TPKE                                                                     STAUNTON            VA 24401‐6120
MC CLELLAN, WILLIAM T        4119 SUNNYSIDE AVE                                                                       BROOKFIELD           IL 60513‐2010
MC CLELLAND II, WILLIAM S    7404 BENJI ROAD                                                                          FLORENCE            AL 35634‐2868
MC CLELLAND III, DRAYTON A   1120 FOREST LN                                                                           BLOOMFIELD HILLS    MI 48301‐4114
MC CLELLAND, CLYDE D         8043 CRAPO ST                                                                            SWARTZ CREEK        MI 48473‐1312
MC CLELLAND, CRYSTAL R       PO BOX 210365                                                                            AUBURN HILLS        MI 48321‐0365
MC CLELLAND, DANIEL H        14144 NORTH RD                                                                           FENTON              MI 48430‐1394
MC CLELLAND, DARRIN L        PO BOX 171125                                                                            KANSAS CITY         KS 66117‐0125
MC CLELLAND, DARRIN LAMONT   4504 NE 63RD TER                                                                         KANSAS CITY         MO 64119‐4725
MC CLELLAND, DARWIN A        8894 DAVENPORT RD                                                                        WOODLAND            MI 48897‐9735
MC CLELLAND, DAVID R         13251 S BIRD RD                                                                          DOWLING             MI 49050‐8781
MC CLELLAND, EVERETTE A      496 E GLASS RD                                                                           ORTONVILLE          MI 48462‐8878
MC CLELLAND, FLOYD R         2223 GEORGELAND DR                                                                       WATERFORD           MI 48329‐3740
MC CLELLAND, JAMES J         5592 BRIGHTWOOD RD                                                                       BETHEL PARK         PA 15102‐3605
MC CLELLAND, JAYNE A         949 BOLTON FARMS LN                                                                      GRAND LEDGE         MI 48837‐9796
MC CLELLAND, JEAN            2165 STROMBURY DR                                                                        HERMITAGE           TN 37076‐3336
MC CLELLAND, MATTHEW V       4885 E CLOVERDALE RD                                                                     HASTINGS            MI 49058‐9340
MC CLELLAND, PATRICIA J      9050 ROBIN NEST DR                                                                       HUDSON              FL 34669‐1896
MC CLELLAND, PATRICIA M      1113 VERDANT RD.                                                                         TOMS RIVER          NJ 08753‐3577
MC CLELLAND, PAULINE         1594 KENSINGTON AVE.                                                                     CHEEKTOWAGA         NY 14215‐1434
MC CLELLAND, RALPH           GM CORP 3‐220 (LUXEMBOURG)                                                               DETROIT             MI 48202
MC CLELLAND, ROBERT          3892 MAGNOLIA DR                                                                         BRUNSWICK           OH 44212‐1529
MC CLELLAND, ROBERT J        1594 KENSINGTON AVE                                                                      CHEEKTOWAGA         NY 14215‐1434
MC CLELLAND, ROBERT M        960 OLIVE CT                                                                             MARCO ISLAND        FL 34145‐3506
MC CLELLAND, RONALD          3432 PERCHING BIRD LANE                                                                  N LAS VEGAS         NV 89084‐2360
MC CLELLON SR, HENRY L       5079 PETERSON ST                                                                         SAGINAW             MI 48601‐6817
MC CLELLON, HENRY L          4845 S WASHINGTON RD                                                                     SAGINAW             MI 48601‐7205
MC CLEMENT, LYDA L           211 ELM ST                                                                               CRANFORD            NJ 07016‐3010
MC CLEMENTS, MARGARET M      2531 LEEWARD WAY                                                                         WINTER PARK         FL 32792‐1624
MC CLEMENTS, RONALD D        8889 MISSION DR                                                                          BRIGHTON            MI 48116‐2013
MC CLENAGAN, DAVID L         7301 E 3RD AVE UNIT 120                                                                  SCOTTSDALE          AZ 85251‐4455
MC CLENATHAN J, MELVIN G     4374 ROBINDALE DR                                                                        BURTON              MI 48519‐1240
MC CLENDON, ARTHUR           190 LEWIS ST                                                                             RAHWAY              NJ 07065
MC CLENDON, BERNICE          9246 S THROOP ST                                                                         CHICAGO              IL 60620‐3659
MC CLENDON, BERTHA L         355 W PRINCETON AVE                                                                      YOUNGSTOWN          OH 44511‐2414
MC CLENDON, DERECK D         6530 INDEPENDENCE                                                                        CANOGA PARK         CA 91303
MC CLENDON, DOROTHY J        14018 COQUINA BAY AVE         C/O PATRICIA MCCLENDON BAKER                               CORPUS CHRISTI      TX 78418‐6566
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Name                           Address1                          Address2             Address3        Address4         City              State Zip
MC CLENDON, EARL               427 HORY ST                                                                             ROSELLE            NJ 07203‐2337
MC CLENDON, GABRIEL L          4343 COLUMBIA ST                                                                        GRAND PRAIRIE      TX 75052‐3432
MC CLENDON, JAMES C            172 FULTON AVE                                                                          ROCHESTER          NY 14613‐2522
MC CLENDON, JIMMY D            4289 PARKVIEW CT                                                                        STONE MOUNTAIN     GA 30083‐1294
MC CLENDON, KAREN J            1520 LOUISE ST                                                                          ANDERSON           IN 46016‐3248
MC CLENDON, MICHAEL G          6203 PINE CONE DRIVE                                                                    DAYTON             OH 45449‐3034
MC CLENDON, ROSEMARY C         650 SPRINGER AVE                                                                        CINCINNATI         OH 45215‐1531
MC CLENDON, SOLOMON W          1101 BLOCKER DR                                                                         BESSEMER           AL 35022‐4541
MC CLENIC, HUBERT              232 TWIN LAKES DR                                                                       NEW MARKET         AL 35761
MC CLENIN, MAUREEN             7409 SLOCUM RD                                                                          ONTARIO            NY 14519‐9751
MC CLENNEY, VIRGINIA E         26121 EUREKA RD APT 341                                                                 TAYLOR             MI 48180‐4945
MC CLENTON, IDA M              PO BOX 286011                                                                           CHICAGO             IL 60628‐0011
MC CLESE, ALBERT P             14865 SNOWDEN ST                                                                        DETROIT            MI 48227‐3645
MC CLESKEY, RONALD HENRY       5769 HILLARY                                                                            TROTWOOD           OH 45426‐1473
MC CLEW, ELEANOR J             1817 EL RANCHO DR                                                                       SUN CITY CENTER    FL 33573‐5121
MC CLIGGOTT, LLOYD J           3067 S RUMSEY RD                                                                        AU GRES            MI 48703‐9490
MC CLIMANS JR, THOMAS A        316 PINE VALLEY CT                                                                      LINDEN             MI 48451‐8796
MC CLIMENT, DAVID M            14 MILLRACE CT                                                                          DEARBORN           MI 48126‐2614
MC CLINTICK, CLAIR D           12985 TEN OAK WAY                                                                       SARATOGA           CA 95070‐4420
MC CLINTICK, RONALD R          9434 PINCKNEY LN                                                                        MURRELLS INLET     SC 29576‐8630
MC CLINTOCK JR, ROBERT L       1128 GAINESBOROUGH CT                                                                   HENDERSON          NV 89015‐5979
MC CLINTOCK, FLOYD B           PO BOX 333                        11917 CONQUEST ST.                                    BIRCH RUN          MI 48415‐0333
MC CLINTOCK, GERTRUDE M        30 LOBELIA CT                                                                           CHICO              CA 95973‐8241
MC CLINTOCK, JOYCE A           PO BOX 513                        200 BLYTHE AVE.                                       LINDEN             MI 48451‐0513
MC CLINTOCK, LORRAINE E        3455 N ORANGE AVE                                                                       CHICAGO             IL 60634‐2948
MC CLINTOCK, MARK D            PO BOX 70                                                                               CRYSTAL RIVER      FL 34423‐0070
MC CLINTOCK, PATRICIA M        PO BOX 70                                                                               CRYSTAL RIVER      FL 34423‐0070
MC CLINTOCK, ROBERT            4613 CUTLASS DR                                                                         ENGLEWOOD          OH 45322‐2515
MC CLINTOCK, ROSARY            30802 SCRIVO DRIVE                                                                      WARREN             MI 48092‐4959
MC CLINTON JR, ALFRED          16727 PATTON ST                                                                         DETROIT            MI 48219‐3907
MC CLINTON, ADDNETTA L         1902 MALLERY ST                                                                         FLINT              MI 48504‐3132
MC CLINTON, AGNETE             16727 PATTON ST                                                                         DETROIT            MI 48219‐3907
MC CLINTON, CARRIE B           605 GENESEE ST                                                                          ROCHESTER          NY 14611‐3651
MC CLINTON, CLARENCE R         8531 LONG ST                                                                            LENEXA             KS 66215‐2875
MC CLINTON, CLARENCE RAYMOND   PO BOX 16156                                                                            SHAWNEE            KS 66203‐6156
MC CLINTON, GWENDOLYN          131 JAMESTOWN LANE                LOT L                                                 BOLINGBROOK         IL 60440
MC CLINTON, GWENDOLYN          131 JAMESTOWN LANE                LOT L                                                 BOLINGBROOK         IL 60440
MC CLINTON, HENRY L            821 RALEIGH RD SE                                                                       PALM BAY           FL 32909
MC CLINTON, HENRY L            52 ARBORWOOD CRES                                                                       ROCHESTER          NY 14615‐3842
MC CLINTON, JAMES E            1902 MALLERY ST                                                                         FLINT              MI 48504‐3132
MC CLINTON, JAMES M            450 BLACKBERRY CIR                                                                      LONGVIEW           TX 75603‐6858
MC CLINTON, PATRICIA D         PO BOX 3568                                                                             SHAWNEE            KS 66203‐0568
MC CLINTON, PATRICIA DIANE     PO BOX 3568                                                                             SHAWNEE            KS 66203‐0568
MC CLINTON, ROBERT             4308 AMHERST LN                                                                         ROCKFORD            IL 61109‐1606
MC CLINTON, TEOTHA             212 EAST AVE                                                                            LA GRANGE           IL 60525‐2521
MC CLISH, WILLIAM R            12385 SALEM WARREN RD                                                                   SALEM              OH 44460‐7604
MC CLISTER, STANLEY W          BOX 918 CREAMERY RD.                                                                    NEWTOWN            PA 18940
MC CLOE, MARGARET V            92 THERESA ST                                                                           EWING              NJ 08618‐1533
MC CLOSKEY, BONNIE             85 HUGHES AVE                                                                           LAWRENCEVILLE      NJ 08648‐3765
MC CLOSKEY, CHARLES M          121 SODEN DR                                                                            YARDVILLE          NJ 08620‐2939
MC CLOSKEY, CHARLES T          1366 SCENICVIEW CT                                                                      CENTERVILLE        OH 45459‐4940
MC CLOSKEY, DELORES            2575 24 MILE RD                                                                         SHELBY TWP         MI 48316‐2766
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Name                       Address1                        Address2            Address3         Address4         City             State Zip
MC CLOSKEY, EDGAR R        31612 SUZON PL                                                                        OCEAN VIEW        DE 19970‐3538
MC CLOSKEY, FRANCES L      2799 PATTON HILL RD                                                                   CHILLICOTHE       OH 45601‐3719
MC CLOSKEY, GEORGE J       83 FLEETWOOD DR                                                                       HAZLET            NJ 07730‐2353
MC CLOSKEY, JAMES R        22046 FENSTER ST                                                                      BELLEVILLE        MI 48111‐8957
MC CLOSKEY, JOHN J         1540 BEVAN RD                                                                         PITTSBURGH        PA 15227‐1512
MC CLOSKEY, ROBERT L       17 AUGUSTINA DR                                                                       ELKTON            MD 21921‐7578
MC CLOSKEY, THOMAS C       9641 NEW BUFFALO RD                                                                   CANFIELD          OH 44406‐9159
MC CLOUD JR, DONAL L       PO BOX 300                                                                            OAK GROVE         MO 64075‐0300
MC CLOUD, ANNA MARIE       5400 GERTRUDE ST                                                                      DEARBORN HTS      MI 48125‐2810
MC CLOUD, ARVUS G          13051 MULBERRY ST                                                                     SOUTHGATE         MI 48195‐2440
MC CLOUD, BONNEY L         6613 W TALAMORE CT                                                                    YORKTOWN          IN 47396‐9327
MC CLOUD, BONNIE L         2204 WYOMING AVE SW                                                                   WYOMING           MI 49519‐1632
MC CLOUD, CHARLES R        660 KAREN ST                                                                          DAYTON            TN 37321‐5662
MC CLOUD, DIANE R          4148 N 67TH ST                                                                        MILWAUKEE         WI 53216‐1107
MC CLOUD, JOAN             2002 MAYBURY AVE                                                                      FLINT             MI 48503‐4244
MC CLOUD, JOHNNIE          1755 HUFFMAN AVE                                                                      DAYTON            OH 45403‐3109
MC CLOUD, JOHNNY           518 GEMSTONE LN                                                                       INMAN             SC 29349‐9434
MC CLOUD, LOIS R           823 PASSAIC AVE.                                                                      LINDEN            NJ 07036
MC CLOUD, NELLIE J         1755 HUFFMAN AVE                                                                      DAYTON            OH 45403‐3109
MC CLOUD, PAUL R           5400 GERTRUDE ST                                                                      DEARBORN HTS      MI 48125‐2810
MC CLOUD, R W              RR 2 BOX 2321‐D                                                                       HERMITAGE         MO 65668
MC CLOUD, REBECCA S        7600 STATE ROUTE 48                                                                   WAYNESVILLE       OH 45068
MC CLOUD, ROSA M           1255 RAHWAY AVE APT 203                                                               AVENEL            NJ 07001‐2192
MC CLOUD, ROY R            43 HALF MOON CT                                                                       N TONAWANDA       NY 14120‐1809
MC CLOUD, THERIN C         8514 FAYETTE ST                                                                       PHILA             PA 19150‐1902
MC CLOUD, TODD K           9293 BAUER RD                                                                         DE WITT           MI 48820‐9224
MC CLOUD, TODD K           PO BOX 454                                                                            DE TOUR VLLE      MI 49725‐0454
MC CLOUD, WARREN H         415 METCALF RD                                                                        ELYRIA            OH 44035‐2921
MC CLOY, EUGENE            1455 BARRY RD                                                                         WILLIAMSTON       MI 48895‐9617
MC CLOY, ROBERT M          707 THORNHILL RD                                                                      LEXINGTON         VA 24450‐2222
MC CLUNE, CHARLES R        6186 MARIAS POINT LN                                                                  COLUMBUS          OH 43213‐5119
MC CLUNEY SR, LAWRENCE M   16457 149TH CT                                                                        BONNER SPRINGS    KS 66012‐9376
MC CLUNG, CHARLES E        20 EDGEMONT RD                                                                        YARDVILLE         NJ 08620‐1620
MC CLUNG, DUANE G          8833 W CHADWICK RD                                                                    DEWITT            MI 48820‐9119
MC CLUNG, FRED B           1537 SABAL OAK LN                                                                     ORLANDO           FL 32828‐6147
MC CLUNG, JAMES M          1396 S GRAHAM RD                                                                      FLINT             MI 48532‐3537
MC CLUNG, JAMES T          915 RUSWOOD CIR                                                                       ABILENE           TX 79601‐4653
MC CLUNG, MILFORD H        7410 LAKE BREEZE DR APT 309                                                           FORT MYERS        FL 33907‐8054
MC CLUNG, RUSSELL H        426 N COURT ST                                                                        FAYETTEVILLE      WV 25840‐1058
MC CLUNG, WILLIAM B        1452 CRANBROOK DR                                                                     SAGINAW           MI 48638‐5469
MC CLURE JR, J B           PO BOX 812                                                                            LAKE ORION        MI 48361‐0812
MC CLURE JR, WILLARD D     2119 REMLIK DR                                                                        URBANNA           VA 23175‐2128
MC CLURE JR, WILLIAM R     4750 N EL CAMINO DR                                                                   BEVERLY HILLS     FL 34465‐8730
MC CLURE, BERNADINE        4434 WILL‐O‐RUN DR                                                                    JACKSON           MS 39212
MC CLURE, BILLY C          1068 LINDEN AVE.                                                                      DAYTON            OH 45410‐2834
MC CLURE, CARL P           579 LILY CREEK RESORT RD                                                              JAMESTOWN         KY 42629‐7911
MC CLURE, CHARLES A        7305 BOWERS RD                                                                        IMLAY CITY        MI 48444‐9400
MC CLURE, CORA             1326 SANTA BARBARA AVE                                                                MOUNT MORRIS      MI 48458‐1323
MC CLURE, DENIS J          5215 FLY BY DR SE                                                                     CALEDONIA         MI 49316‐7836
MC CLURE, DONALD G         621 S OAKWOOD ST                                                                      OAKWOOD            IL 61858‐9571
MC CLURE, DONALD R         PO BOX 823                                                                            CAMPTON           KY 41301‐0823
MC CLURE, DONALD W         2016 FOUR LAKES DR                                                                    BLANCHARD         OK 73010‐8980
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Name                     Address1                       Address2                 Address3    Address4         City                 State Zip
MC CLURE, EUGENE C       PO BOX 2936                                                                          LABELLE               FL 33975‐2936
MC CLURE, FRANKLIN G     8906 MACOMB AVE                                                                      CLEVELAND             OH 44105‐6025
MC CLURE, GARY D         6402 OAKLAND DR                                                                      JENISON               MI 49428‐9265
MC CLURE, GEORGE E       27315 PENN ST                                                                        INKSTER               MI 48141‐2543
MC CLURE, GEORGE W       PO BOX 191                                                                           LARIMER               PA 15647‐0191
MC CLURE, GERALD A       11045 GRAND BLANC RD                                                                 GAINES                MI 48436‐9744
MC CLURE, GLEN A         16230 HANNAN RD                                                                      ROMULUS               MI 48174‐1010
MC CLURE, GLEN ALLEN     16230 HANNAN RD                                                                      ROMULUS               MI 48174‐1010
MC CLURE, GLENN F        600 W WALTON BLVD APT 107      ELMHAVEN MANOR                                        PONTIAC               MI 48340‐1094
MC CLURE, HARRY          2936 AVALON RD                                                                       ROCHESTER HILLS       MI 48309‐3122
MC CLURE, HOLLY J        1207 PARK DR                                                                         GREENWOOD             MO 64034‐9345
MC CLURE, JAMES E        4009 THACKIN DR                                                                      LANSING               MI 48911‐1918
MC CLURE, JAMES N        434 MILL ST                                                                          BUFFALO               NY 14221‐5149
MC CLURE, JAMES NORTON   434 MILL ST                                                                          BUFFALO               NY 14221‐5149
MC CLURE, JANET M        3756 MENNONITE RD                                                                    MANTUA                OH 44255‐9296
MC CLURE, JAY W          70 HAUOLI ST APT 117                                                                 WAILUKU               HI 96793‐9545
MC CLURE, JOSEPH W       5972 TEAKWOOD DR                                                                     TROY                  MI 48085‐3895
MC CLURE, JOSEPHINE F    9683 NESTORIA ST               C/O MARY E TEDERINGTON                                COMMERCE TWP          MI 48382‐4138
MC CLURE, JUANITA E      2845 GRANADA CIR N                                                                   INDIANAPOLIS          IN 46222‐6209
MC CLURE, JULIETTE S     213 KIOWA DR                   C/O RICK MCCLURE                                      MADISON               MS 39110‐8813
MC CLURE, LESLEY         534 W MAIN ST                                                                        MOORE                 OK 73160‐4922
MC CLURE, LINDA J        6603 MARTHA'S VINEYARD DRIVE                                                         ARLINGTON             TX 76001
MC CLURE, MARIS G        21123 TOWNWOOD DR                                                                    CORNELIUS             NC 28031‐9628
MC CLURE, MARK D         2581 5TH STREET RD                                                                   HUNTINGTON            WV 25701‐9316
MC CLURE, MARK DOUGLAS   2581 5TH STREET ROAD                                                                 HUNTINGTON            WV 25701‐9316
MC CLURE, MARK F         921 NW 1751ST RD                                                                     BATES CITY            MO 64011‐8212
MC CLURE, MARTHA A       11283 N FOREST GROVE RD                                                              MOORESVILLE           IN 46158‐7189
MC CLURE, MARY A         2016 FOUR LAKES DRIVE                                                                BLANCHARD             OK 73010
MC CLURE, MARY J         6851 LANSING ROAD                                                                    PERRY                 MI 48872
MC CLURE, MARY J         6851 LANSING RD                                                                      PERRY                 MI 48872‐8707
MC CLURE, MICHAEL P      47120 VANKER AVE                                                                     SHELBY TOWNSHIP       MI 48317‐3469
MC CLURE, MURREL K       4114 BURTON PLACE CT                                                                 ANDERSON              IN 46013‐5600
MC CLURE, OLIN Z         2451 SE 178TH AVE                                                                    SILVER SPRINGS        FL 34488‐6298
MC CLURE, RICHARD F      2870 GRAND TRAVERSE CIR                                                              GRAND ISLAND          FL 32735‐9747
MC CLURE, ROBERT B       135 E BROADWAY ST                                                                    ALLIANCE              OH 44601‐2648
MC CLURE, ROBERT M       109 INVERNESS DR                                                                     LEXINGTON             SC 29072‐7744
MC CLURE, SHELBY G       21123 TOWNWOOD DR                                                                    CORNELIUS             NC 28031‐9628
MC CLURE, SUSAN M        4750 N EL CAMINO DR                                                                  BEVERLY HILLS         FL 34465‐8730
MC CLURE, SYDNEY L       4283 EXETER DR                                                                       DUMFRIES              VA 22025‐3109
MC CLURE, THOMAS D       2251 COE CT                                                                          AUBURN HILLS          MI 48326‐2607
MC CLURE, THOMAS H       721 TANVIEW DR                                                                       OXFORD                MI 48371‐4767
MC CLURE, VERNA M        11045 GRAND BLANC RD                                                                 GAINES                MI 48436‐9744
MC CLURE, WANDA V        100 BEAMAN BLVD                UNIT 113                                              ATLANTIC HIGHLANDS    NJ 07716‐1755
MC CLURE, WARREN L       10404 BORGMAN AVE                                                                    HUNTINGTON WOODS      MI 48070‐1105
MC CLURE, WILLIAM F      1930 CAVENDISH CT                                                                    ROCKLEDGE             FL 32955‐6645
MC CLURE, WILLIAM R      1248 STATE ROUTE 36                                                                  HAZLET                NJ 07730‐1713
MC CLURG, RICHARD W      76 WRIGHT RD                                                                         HENRIETTA             NY 14467‐9502
MC CLURKIN, IRA E        4362 MARTIN RD                                                                       CHARLOTTE             MI 48813‐9528
MC CLUSKEY, JOHN J       51155 PEACH TREE LN                                                                  SHELBY TWP            MI 48316‐4533
MC CLUSKEY, LINDA M      13530 55TH ST                                                                        BLOOMER               WI 54724‐4234
MC CLUSKEY, ROBERT P     114 N 3RD ST                                                                         STEELTON              PA 17113‐2209
MC CLUSKEY, TERESA K     10809 BEARTOOTH DR                                                                   CHEYENNE              WY 82009‐9662
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Name                     Address1                      Address2            Address3         Address4         City               State Zip
MC CLUSKY, BRENDA L      6462 ELMWOOD DR                                                                     WATERFORD           MI 48329
MC CLUSKY, CHARLES F     3052 W CLARKSTON RD                                                                 LAKE ORION          MI 48362‐2052
MC CLUSKY, JOHN A        6485 SALINE DR                                                                      WATERFORD           MI 48329‐1377
MC CLUSKY, LOIS          460 LANDING BLVD                                                                    INVERNESS           FL 34450‐8004
MC CLUSKY, PATRICK A     8056 SILVERWOOD RD                                                                  SILVERWOOD          MI 48760‐9501
MC CLUSKY, ROBERT D      PO BOX 5065                                                                         KINCHELOE           MI 49788‐5065
MC CLUSKY, ROBERT E      460 LANDING BLVD                                                                    INVERNESS           FL 34450‐8004
MC COBB, KAY E           29625 CHELMSFORD RD                                                                 SOUTHFIELD          MI 48076‐5702
MC COIN, JOSEPH R        15641 FORDLINE ST                                                                   SOUTHGATE           MI 48195‐2033
MC COIN, RUSSELL H       28711 FLORENCE ST                                                                   GARDEN CITY         MI 48135‐2787
MC COLGIN, JAMES W       19626 WILDWOOD DR                                                                   RAYMONDVILLE        MO 65555‐9160
MC COLL, BRUCE H         2740 ELSINORE DR                                                                    WATERFORD           MI 48328‐3626
MC COLLEY, RICHARD V     1955 E KASTI TRL                                                                    SIERRA VISTA        AZ 85650‐8982
MC COLLISTER, MARION E   5174 MILLER HILL ROAD                                                               CUBA                NY 14727‐9613
MC COLLOM, MARY E        3131 NEWPORT CT                                                                     TROY                MI 48084‐1324
MC COLLOR, ALLEN B       249 S GRANT ST                                                                      PORTLAND            MI 48875‐1532
MC COLLOUGH, ANTHONY L   42 COLBY ST                                                                         SPENCERPORT         NY 14559‐2206
MC COLLOUGH, VERA I      57 FERNDALE CRESCENT                                                                ROCHESTER           NY 14609‐5150
MC COLLUM, ANNE          1573 N HICKORY RD APT 7                                                             OWOSSO              MI 48867‐9490
MC COLLUM, CASS          1573 N HICKORY ROAD                                                                 OWOSSO              MI 48867
MC COLLUM, CLARENCE K    277 N PERRY CREEK RD          PO BOX 784                                            MIO                 MI 48647‐8710
MC COLLUM, CLIFFORD J    PO BOX 342                                                                          VERNON              MI 48476‐0342
MC COLLUM, DAVID B       37732 IRENE DR                                                                      STERLING HTS        MI 48312‐1934
MC COLLUM, DEMETRA J     2618 MINTER LN                                                                      ABILENE             TX 79603‐2066
MC COLLUM, DONALD A      5373 S SHERIDAN AVE                                                                 DURAND              MI 48429‐9605
MC COLLUM, JIMMIE E      502 STANLEY DR                                                                      FERNANDINA BEACH    FL 32034‐2436
MC COLLUM, LEONARD T     1205 JAY AVE                                                                        YPSILANTI           MI 48198‐6460
MC COLLUM, LESLIE V      2324 FREE UNION RD                                                                  JAMESVILLE          NC 27846‐9305
MC COLLUM, NADINE        2998 CADY DR                                                                        BRIGHTON            MI 48114‐8661
MC COLLUM, SONJA R.      4412 UPPER MOUNTAIN RD                                                              LOCKPORT            NY 14094‐9608
MC COLLUM, WESLEY L      2998 CADY DR                                                                        BRIGHTON            MI 48114‐8661
MC COLOR, CHARLIE L      18945 ALGONAC ST                                                                    DETROIT             MI 48234‐3746
MC COM'S AUTO SERVICE    270 ALLEN ST                                                                        PUNTA GORDA         FL 33950
MC COMAS, ALICE A        5252 BELLA DRIVE                                                                    HIGHLAND            MI 48356‐1317
MC COMAS, ANDREW J       85 WILLOWGROVE CT                                                                   TONAWANDA           NY 14150‐4522
MC COMAS, EZRA L         4228 MAYVILLE RD                                                                    SILVERWOOD          MI 48760‐9705
MC COMAS, MARY J         14768 LL RD                                                                         WETMORE             MI 49895‐9534
MC COMAS, NAMOND E       PO BOX 2152                                                                         RUTHERFORDTON       NC 28139‐4352
MC COMAS, RAY S          48432 PANCAKE CLARKSON RD                                                           ROGERS              OH 44455‐9724
MC COMB, DANIEL E        520 E ROLSTON RD                                                                    LINDEN              MI 48451‐9462
MC COMB, ESTHER L        5524 S MORRICE RD                                                                   OWOSSO              MI 48867‐8716
MC COMB, EVELYN J        13468 YATES ROAD                                                                    COPMISH             MI 49625‐9794
MC COMB, GEORGE R        308 MCINTOSH CT                                                                     SPRING HILL         FL 34609‐0229
MC COMB, HARRY           250 STRAWBERRY RIDGE                                                                MT MORRIS           MI 48458‐9115
MC COMB, IRIS E          7373 E CARPENTER RD                                                                 DAVISON             MI 48423‐8959
MC COMB, NORMAN L        5790 MARJORIE WAY                                                                   POLLOCK PINES       CA 95726‐9708
MC COMB, PAUL L          2328 UTLEY RD                                                                       FLINT               MI 48532‐4900
MC COMB, PAUL LINDEN     2328 UTLEY RD                                                                       FLINT               MI 48532‐4900
MC COMB, RACHEL B        916 MONTEVIDEO DR UNIT H                                                            LANSING             MI 48917‐3944
MC COMB, ROBERT E        3326 CINCINNATI DR                                                                  HOLIDAY             FL 34691‐3311
MC COMB, RONALD L        11163 LOWELL RD                                                                     DEWITT              MI 48820‐9159
MC COMB, TERRY R         49576 MARTZ RD                                                                      BELLEVILLE          MI 48111‐2539
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Name                         Address1                       Address2            Address3         Address4         City              State Zip
MC COMB, THOMAS H            1169 THAMES DR                                                                       ROCHESTER HILLS    MI 48307‐5744
MC COMB, WILFRED             13468 YATES RD                                                                       COPEMISH           MI 49625‐9794
MC COMBER, REX W             4405 CLIFFORD RD                                                                     CLIFFORD           MI 48727‐9736
MC COMBER, SHARON M          4237 N LAPEER RD                                                                     LAPEER             MI 48446‐8616
MC COMBS JR, VANCE W         2913 PALMGREEN ST                                                                    MCKEESPORT         PA 15132‐5343
MC COMBS, ANN B              2323 PINGREE RD                                                                      HOWELL             MI 48843‐9682
MC COMBS, BERNARD H          9127 JUSTINE DR                                                                      WEEKI WACHEE       FL 34613‐4057
MC COMBS, BOBBY J            PBX 392MCMAHAN RD                                                                    ADDISON            AL 35540
MC COMBS, CROSBY             35 JUANITA DR                                                                        TUSCALOOSA         AL 35404‐3210
MC COMBS, DOLORES M          645 ARMSTRONG RD                                                                     MUMFORD            NY 14511
MC COMBS, DONALD H           1361 HIGHLAND ST                                                                     COLUMBUS           OH 43201‐2714
MC COMBS, HERMAN A           1400 IMPERIAL DR                                                                     KOKOMO             IN 46902‐5618
MC COMBS, JOHN F             320 N MONONGAHELA AVE                                                                GLASSPORT          PA 15045‐1135
MC COMBS, KENNETH L          10601 EAGLE RD                                                                       DAVISBURG          MI 48350‐2133
MC COMBS, LOIS A             199 PINTO PONY CT                                                                    ROSCOMMON          MI 48653‐8606
MC COMBS, MICHAEL S          2323 PINGREE RD                                                                      HOWELL             MI 48843‐9682
MC COMBS, REVELLA M.         23 TENTMILL LN APT H                                                                 BALTIMORE          MD 21208‐2553
MC COMBS, REVELLA M.         23 TENTMILL LANE APT H                                                               BALTIMORE          MD 21208‐2553
MC COMBS, ROBERT W           4941 W 700 N                                                                         SHARPSVILLE        IN 46068‐8907
MC COMBS, RUTH W             189 E LAKE SHORE DR            STE 6W                                                CHICAGO             IL 60611‐6315
MC COMBS, SYLVIA A           3124 GROVE LN                                                                        AVON               OH 44011‐5705
MC COMBS, THOMAS E           PO BOX 462                                                                           ADDISON            AL 35540‐0462
MC COMBS‐HOUSEL, BETTY       728 LANGTREE RD                                                                      MOORESVILLE        NC 28117‐7576
MC CONATHY, MARY E           2020 COUNTY ROAD 314                                                                 CLEBURNE           TX 76031‐8594
MC CONCHIE, NOEL P           1138 SE 709 ST                                                                       OLD TOWN           FL 32680‐4079
MC CONICO, JAMES E           642 W KUMP ST                                                                        BONNER SPRINGS     KS 66012‐1626
MC CONKEY, ALFRED D          6945 HUBBARD RD                                                                      CLARKSTON          MI 48348‐2825
MC CONKEY, RONALD D          3201 GRANDA VISTA DR                                                                 MILFORD            MI 48380‐3419
MC CONKIE, DARWIN L          11271 E LINDGREN RD                                                                  MAPLE              WI 54854‐9110
MC CONNAGHY, DAVID F         1814 GURAVA AVE                                                                      MELBOURNE          FL 32935‐7640
MC CONNAGHY, DAVID F         5142 VISTA LANE                                                                      CASCO              MI 48064‐4693
MC CONNAGHY, DAVID F         5142 VISTA LN                                                                        CASCO              MI 48064‐4693
MC CONNAUGHEY, DONALD W      2840 STERNS RD                                                                       LAMBERTVILLE       MI 48144‐8675
MC CONNAUGHEY, ELEANOR M     3875 BOEING DRIVE                                                                    SAGINAW            MI 48604‐1805
MC CONNAUGHEY, ELEANOR M     3875 BOEING DR                                                                       SAGINAW            MI 48604‐1805
MC CONNAUGHEY, JAMES F       9334 EAST ATHERTON ROAD                                                              DAVISON            MI 48423‐8764
MC CONNAUGHEY, JAMES M       1420 LAKEVIEW DR                                                                     SHARPS CHAPEL      TN 37866‐1795
MC CONNAUGHEY, JUDITH M      40 LOUISA STREET APT 1                                                               NORTH TONAWANDA    NY 14120‐3142
MC CONNAUGHEY, LLOYD L       209 MICHIGAN ST                                                                      HOLLY              MI 48442‐1208
MC CONNAUGHHAY, ELVIS G      10238 PRIMROSE DR                                                                    DAVISON            MI 48423‐7908
MC CONNAUGHHAY, GARY D       10238 PRIMROSE DR                                                                    DAVISON            MI 48423‐7908
MC CONNAUGHHAY, GEORGE M     6470 W COLDWATER RD                                                                  FLUSHING           MI 48433‐9059
MC CONNAUGHHAY, GEORGE M     6541 LAKE DR                                                                         HARRISON           MI 48625
MC CONNAUGHHAY, KATHLEEN R   6541 LAKE DR                                                                         HARRISON           MI 48625
MC CONNAUGHHAY, KATHLEEN R   6470 W COLDWATER RD                                                                  FLUSHING           MI 48433‐9059
MC CONNAUGHHAY, SYDNEY       11165 E BRISTOL RD                                                                   DAVISON            MI 48423‐8733
MC CONNEL, ROBERT W          513 BALMORA DR                                                                       SAINT AUGUSTINE    FL 32092‐2725
MC CONNEL, THELMA            307 TECH ST                                                                          PARAGOULD          AR 72450
MC CONNELL JR, TOM R         310 W PINE ST                                                                        ORRICK             MO 64077‐9136
MC CONNELL, ALEXANDER D      3637 W HIGHWAY 390 APT 611                                                           PANAMA CITY        FL 32405
MC CONNELL, ARDEN J          17 CARDINAL DR                                                                       FOXFIRE VILLAGE    NC 27281‐9750
MC CONNELL, ARLINE           3461 ORCHARD PARK RD.                                                                ORCHARD PARK       NY 14127‐1620
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Name                         Address1                       Address2            Address3         Address4         City                    State Zip
MC CONNELL, BARBARA S        4750 PLEASANT OAK DR           UNIT A                                                FORT COLLINS             CO 80525‐9738
MC CONNELL, BERNARD A        13263 HERBERT AVE                                                                    WARREN                   MI 48089‐1316
MC CONNELL, BERNARD ANDREW   13263 HERBERT AVE                                                                    WARREN                   MI 48089‐1316
MC CONNELL, CARRIE MARIE     1320 ASHEBURY LN APT 236                                                             HOWELL                   MI 48843‐1399
MC CONNELL, CLAUDIA M        7545 ABINGTON AVE                                                                    DETROIT                  MI 48228‐4223
MC CONNELL, DANIEL C         137 HOEHN CT                                                                         DIMONDALE                MI 48821‐9766
MC CONNELL, DORIS            1913 MC PHAIL                                                                        FLINT                    MI 48503‐4327
MC CONNELL, DORIS            1913 MCPHAIL ST                                                                      FLINT                    MI 48503‐4327
MC CONNELL, DOUGLAS N        9373 WILCOX RD                                                                       ONONDAGA                 MI 49264‐9604
MC CONNELL, DOUGLAS W        6131 GRACE K DR                                                                      WATERFORD                MI 48329‐1328
MC CONNELL, HELEN L          2125 KNICKERBOCKER ST SW                                                             WYOMING                  MI 49519‐4242
MC CONNELL, HUDIE W          6 JARRELL AVE                                                                        GLASSBORO                NJ 08028‐2627
MC CONNELL, JACK J           2020 NORTHEAST 23RD TERRACE                                                          JENSEN BEACH             FL 34957‐5114
MC CONNELL, JAMES O          14525 BLACK FARMS RD                                                                 HUNTERSVILLE             NC 28078‐9260
MC CONNELL, JERALD L         2243 ESMERALDA AVE                                                                   DAYTON                   OH 45406‐2512
MC CONNELL, JOHN M           522 S MADISON ST                                                                     RAYMORE                  MO 64083‐9007
MC CONNELL, JOHN M           879 LAKESHORE DR                                                                     GLADWIN                  MI 48624‐8065
MC CONNELL, KENNETH E        37895 POINTE ROSA ST                                                                 HARRISON TWP             MI 48045‐2754
MC CONNELL, KENNETH E        7942 CEDAR AVENUE                                                                    RAYTOWN                  MO 64138‐2157
MC CONNELL, LAREY A          21848 20 1/2 MILE RD                                                                 MARSHALL                 MI 49068‐9334
MC CONNELL, LAURENCE E       55960 HAYES RD                                                                       MACOMB                   MI 48042‐1613
MC CONNELL, LINDA M          8790 BRITTON RD                                                                      LAINGSBURG               MI 48848‐9741
MC CONNELL, LULABELLE C      9172 CHATWELL LANE             APT #7                                                DAVISON                  MI 48423
MC CONNELL, M G              37529 SUNNYDALE ST                                                                   LIVONIA                  MI 48154‐1438
MC CONNELL, M GEORGE         37529 SUNNYDALE ST                                                                   LIVONIA                  MI 48154‐1438
MC CONNELL, MARK K           422 CHERYL DR                                                                        FLINT                    MI 48506‐1406
MC CONNELL, MARK KEVIN       4222 CHERYL DR                                                                       FLINT                    MI 48506‐1406
MC CONNELL, MARY LOU B       3855 ADDISON AVE                                                                     DAYTON                   OH 45405‐5130
MC CONNELL, MICHAEL E        10056 WALNUT HILL DR                                                                 DAVISBURG                MI 48350‐1161
MC CONNELL, MICHAEL P        603 CANTERBURY DR                                                                    SAGINAW                  MI 48638‐5814
MC CONNELL, PAUL E           856 WOODCREST WAY                                                                    ANDERSON                 IN 46012‐9249
MC CONNELL, PAUL M           1740 DUMONT DR                                                                       MINERAL RIDGE            OH 44440‐9508
MC CONNELL, RALPH D          9172 CHATWELL LANE                                                                   DAVISON                  MI 48423
MC CONNELL, ROBERT F         PO BOX 132                                                                           DANVERS                   IL 61732‐0132
MC CONNELL, ROBERT N         2760 WALTON CREEK DR                                                                 COLORADO SPRINGS         CO 80922‐1203
MC CONNELL, SANDRA K         2525 ARAPAHOE AVE. E‐4‐328                                                           BOULDER                  CO 80302
MC CONNELL, SHIRLEY M        151 PHILLIP FREELS LN                                                                CLINTON                  TN 37716‐5040
MC CONNELL, TERRY W          8268 CAROLE LN                                                                       WASHINGTON               MI 48094‐2949
MC CONNELL, THELMA           8010 N OLD 27                                                                        FREDERIC                 MI 49733‐9514
MC CONNELL, THELMA           8010 OLD 27 N                                                                        FREDERIC                 MI 49733‐9732
MC CONNELL, WESLEY C         917 BEDFORD PL                                                                       COLUMBIA                 TN 38401‐6701
MC CONNELL, WILLIAM J        1177 BROADWAY PMB4‐159                                                               CHULA VISTA              CA 91911
MC CONNELL, WILLIAM N        3100 MAYBEE RD                                                                       ORION                    MI 48359‐1137
MC CONNELL, WILLIAM S        152 PAUL ST                                                                          BEDFORD                  OH 44146‐4646
MC CONNER, MARLON D          5879 NORTH PLACITA DEL CONDE                                                         TUCSON                   AZ 85718‐4330
MC CONNEY, MINYON O          115 RAEBURN ST                                                                       PONTIAC                  MI 48341‐3043
MC CONNON JR, RAYMOND J      1902 S YANKEE SPRINGS RD                                                             MIDDLEVILLE              MI 49333‐9081
MC CONNON, ANTHONY J         2150 W 235TH PL                                                                      TORRANCE                 CA 90501‐6046
MC CONVERY JR, FRANCIS       52 MILL RD # 1                                                                       MORRIS PLAINS            NJ 07950‐1635
MC CONVILLE, BETTY LOU       112 N BURGEE DR                                                                      LITTLE EGG HARBOR TWP    NJ 08087‐1560
MC CONVILLE, BRIAN C         7346 LAMPHERE                                                                        DETROIT                  MI 48239‐1061
MC CONVILLE, DANIEL M        19 LAURELTON AVE                                                                     JACKSON                  NJ 08527‐2435
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Name                                 Address1                        Address2                      Address3   Address4              City                State Zip
MC COOEY, DONNA L                    6077 NEW TAYLOR ROAD            APT. L                                                         ORCHARD PARK         NY 14127
MC COOEY, JOSEPH L                   PO BOX 1403                                                                                    BUFFALO              NY 14220‐8403
MC COOK, JOAN                        21 MONMOUTH AVE                                                                                EDISON               NJ 08820‐3547
MC COOL, BETTYE B                    16 NEKOMA DR                                                                                   BIRMINGHAM           AL 35215‐6317
MC COOL, DONALD F                    308 MARKET AVE                                                                                 YUKON                OK 73099‐4495
MC COOL, DONALD R                    2605 S 45TH ST                                                                                 KANSAS CITY          KS 66106‐3617
MC COOL, ELBERT E                    1618 CIRCLE DR                                                                                 MALVERN              AR 72104‐4508
MC COOL, RAYMOND C                   162 GOLDENROD DR                                                                               HOUGHTON LAKE        MI 48629‐9137
MC COON, CAROLYN J                   1950 BURLINGTON DR                                                                             LAPEER               MI 48446‐9785
MC COON, JOHANNA J                   1946 JUHL ROAD                                                                                 MARLETTE             MI 48453‐8136
MC COON, JOHANNA J                   1946 JUHL RD                                                                                   MARLETTE             MI 48453‐8136
MC CORD JR, LESTER M                 15615 SW PERIDOT WAY                                                                           BEAVERTON            OR 97007‐8631
MC CORD PAYEN MEXICO S DE RL DE CV   CALLE TEJOCOTES S/N BARRI       TEXCACOA TEPOTZOTLAN EDO DE              MEXICO 54600 MEXICO

MC CORD, AUDRA D                     2705 RIDGEMERE DR                                                                              FLOWER MOUND        TX   75028‐7531
MC CORD, BETTY R                     1305 AVENUE A                                                                                  FLINT               MI   48503‐1477
MC CORD, CHARLOTTE M                 PO BOX 158                                                                                     DALEVILLE           IN   47334‐0158
MC CORD, CHARLOTTE M                 PO BOX 150                                                                                     ANDERSON            IN   47334‐0158
MC CORD, DICK P                      3721 MINT RD                                                                                   MARYVILLE           TN   37803‐2212
MC CORD, DICK P                      3721 MINT ROAD                                                                                 MARYVILLE           TN   37803‐2212
MC CORD, DORRIS A                    5456 HURRYVILLE ROAD                                                                           FARMINGTON          MO   63640‐7208
MC CORD, DOUGLAS M                   212 COVE HARBOR CT                                                                             TAYLORS             SC   29687‐5952
MC CORD, KEITH C                     221 W SINGER ST                                                                                SPRINGFIELD         OH   45506‐3106
MC CORD, MAURICE F                   2926 DAKOTA DR                                                                                 ANDERSON            IN   46012‐1416
MC CORD, ROBERT W                    1006 FUCHSIA LN                                                                                SANTA PAULA         CA   93060‐1123
MC CORD, TONI SUE                    2408 E HILLS DR                                                                                MOORE               OK   73160‐8944
MC CORD, TONI SUE                    2408 E. HILLS DR.                                                                              MOORE               OK   73160‐8944
MC CORD, WAYNE E                     1846 HUNTERS COVE CIR                                                                          KOKOMO              IN   46902‐5181
MC CORKLE, MOSES S                   322 OSBOURN LN                                                                                 RIDGEWAY            SC   29130‐7564
MC CORKLE, ROBERT F                  45779 STAGECOACH RD                                                                            PARKER              CO   80138‐4417
MC CORKLE, VERA                      322 OSBURN LANE                                                                                RIDGEWAY            SC   29130
MC CORMACK JR, WILLIAM J             417 DAYTON ST                                                                                  TRENTON             NJ   08610‐6418
MC CORMACK, BARBARA A                2510 YORKSHIRE LN                                                                              BLOOMFIELD HILLS    MI   48302‐1072
MC CORMACK, CHARLENE L               308 HARMONY LN                                                                                 HIDEAWAY            TX   75771‐5046
MC CORMACK, DONALD J                 27 GALTY AVE                                                                                   DORCHESTER CENTER   MA   02124‐4717
MC CORMACK, DOUGLAS D                305 CARIBE VISTA WAY                                                                           ST AUGUSTINE        FL   32080‐3571
MC CORMACK, ELBERTA M                29637 JOY RD                                                                                   WESTLAND            MI   48185‐1726
MC CORMACK, GREGORY J                S 96W13219 LINKSWAY COURT                                                                      MUSKEGO             WI   53150
MC CORMACK, JOHN H                   41 BRYANT AVE                                                                                  BLOOMFIELD          NJ   07003‐5401
MC CORMACK, JOHN L                   2805 APPLACHEE WAY                                                                             JACKSONVILLE        FL   32259‐2128
MC CORMACK, JOHN P                   PO BOX 1030                                                                                    PEBBLE BEACH        CA   93953‐1030
MC CORMACK, JOHN W                   141 TANTUM DR                                                                                  TRENTON             NJ   08610‐1624
MC CORMACK, JOSEPH D                 10802 EAGLE CREST CT                                                                           PARKER              CO   80138‐3071
MC CORMACK, MARGARET E               APT K106                        2500 BODDIE LANE                                               GULF SHORES         AL   36542‐4138
MC CORMACK, PATRICIA A               404 W SPRING MEADOWS LN                                                                        DEWITT              MI   48820‐8749
MC CORMACK, RAYMOND A                RR #                                                                                           TITUSVILLE          NJ   08560
MC CORMACK, THOMAS F                 14 DONNA LYNN LN                                                                               LAWRENCEVILLE       NJ   08648‐2822
MC CORMACK, WANDA L                  9408 W LONE BEECH DR                                                                           MUNCIE              IN   47304‐8930
MC CORMACK, WANDA L                  9408 LONE BEACH DRIVE                                                                          MUNCIE              IN   47304
MC CORMICK EQUIPMENT CO INC          6898 COMMODORE DR STE B                                                                        WALBRIDGE           OH   43465‐9765
MC CORMICK EQUIPMENT CO INC          7463 WEBSTER ST                                                                                DAYTON              OH   45414‐5817
MC CORMICK JR, WAYNE H               508 PETIT LN                                                                                   WARTBURG            TN   37887‐3614
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Name                            Address1                       Address2             Address3        Address4         City              State Zip
MC CORMICK MOTORS, INC.         BERNARD BEER                   1255 W MARKET ST                                      NAPPANEE           IN 46550‐1725
MC CORMICK MOTORS, INC.         1255 W MARKET ST                                                                     NAPPANEE           IN 46550‐1725
MC CORMICK MOTORS/GULF STREAM   1255 W MARKET ST                                                                     NAPPANEE           IN 46550‐1725
MC CORMICK, ASA G               ARBOR GLEN APTS                2638 ARBOR GLEN DR   APT 212                          TWINSBURG          OH 44087
MC CORMICK, CARLYLE W           48471 HUDSON BAY CT                                                                  SHELBY TOWNSHIP    MI 48315‐4273
MC CORMICK, CHARLES C           175 KRISTEN CT                                                                       JACKSON            MS 39211‐2739
MC CORMICK, CHARLES ERNIE       7435 TEXTILE RD                                                                      YPSILANTI          MI 48197‐8930
MC CORMICK, CHARLES H           680 LOST MOUNTAIN RD                                                                 WIRTZ              VA 24184‐4167
MC CORMICK, DALLAS N            8311 JACLYN ANN DR                                                                   FLUSHING           MI 48433‐2909
MC CORMICK, DANIEL J            6815 RENO ST                                                                         LANSING            MI 48911‐7124
MC CORMICK, DANIEL JOSEPH       6815 RENO ST                                                                         LANSING            MI 48911‐7124
MC CORMICK, DARRELL E           ROUTE 1 BOX 114‐B                                                                    CHAPMANVILLE       WV 25508
MC CORMICK, DARREN E            21 WILLINK AVE                                                                       BUFFALO            NY 14210‐2629
MC CORMICK, DAVID M             38977 PARKWAY CIR                                                                    HARRISON TWP       MI 48045‐6812
MC CORMICK, DENNIS              138 NEWBERRY LN                                                                      HOWELL             MI 48843‐9566
MC CORMICK, DENNIS M            RR 1                                                                                 SPRING VALLEY      OH 45370
MC CORMICK, DIANE E             240 E LEONA DR                 PO BOX 187                                            PEWAMO             MI 48873‐8707
MC CORMICK, DIANE E             PO BOX 9291                                                                          HAMILTON           NJ 08650‐1291
MC CORMICK, DIANN T             12042 GALE RD                                                                        OTISVILLE          MI 48463‐9432
MC CORMICK, DODIE               19520 TOWNLINE RD                                                                    ST. CHARLES        MI 48655
MC CORMICK, DONALD D            2339 WOODHILL CT                                                                     PLAINFIELD          IL 60586‐6992
MC CORMICK, DONALD J            4132 THORNEY DR                                                                      SHELBY TOWNSHIP    MI 48316‐2270
MC CORMICK, DONALD JAMES        4132 THORNEY DR                                                                      SHELBY TOWNSHIP    MI 48316‐2270
MC CORMICK, DONALD R            509 S CENTRAL ST                                                                     BUCKNER            MO 64016‐2504
MC CORMICK, EMMA L              16731 RIVERVIEW ST                                                                   DETROIT            MI 48219‐3723
MC CORMICK, ETHEL L             4265 W FARRAND RD                                                                    CLIO               MI 48420‐8244
MC CORMICK, FERN                17364 MAPLE HILL DRIVE                                                               NORTHVILLE         MI 48168‐3216
MC CORMICK, GEORGE L            PO BOX 156                                                                           CHIPPEWA BAY       NY 13623‐0156
MC CORMICK, GERALD J            3996 BAISCH DR                                                                       N TONAWANDA        NY 14120‐1336
MC CORMICK, GERALD N            114 CROOKED OAK CT                                                                   ROSCOMMON          MI 48653‐8746
MC CORMICK, HAROLD L            5104 GATWICK COURT                                                                   STERLING HTS       MI 48310‐2042
MC CORMICK, HENRY J             695 TRUMBULL DR                                                                      NILES              OH 44446‐2121
MC CORMICK, HOUSTON S           453 OSMUN ST                                                                         PONTIAC            MI 48342‐3254
MC CORMICK, HOUSTON S           27101 DARTMOUTH ST                                                                   MADISON HTS        MI 48071‐3266
MC CORMICK, J B                 12231 ACADEMY RD               NE # 301 PMB 319                                      ALBUQUERQUE        NM 87111
MC CORMICK, J BYRON             12231 ACADEMY RD NE STE 301                                                          ALBUQUERQUE        NM 87111‐7239
MC CORMICK, J F                 112 PURPLE FINCH LN                                                                  MOORESVILLE        NC 28117‐5825
MC CORMICK, JACK                2710 108TH ST                                                                        TOLEDO             OH 43611‐2022
MC CORMICK, JAMES A             PO BOX 4293                                                                          TRENTON            NJ 08610‐0293
MC CORMICK, JAMES P             4483 RAVENWOOD CT                                                                    CINCINNATI         OH 45244‐2183
MC CORMICK, JAMES R             1326 W SELFRIDGE BLVD                                                                CLAWSON            MI 48017‐1390
MC CORMICK, JANE E              17 DOUGLAS RD                                                                        BELMONT            MA 02478‐3910
MC CORMICK, JERRY A             149 PEPPERELL AVE                                                                    HOUGHTON LAKE      MI 48629‐8900
MC CORMICK, JOAN A              243 WOODLAKE CIR                                                                     DEERFIELD BEACH    FL 33442‐3725
MC CORMICK, JOHN C              46 W BEL AIR BLVD                                                                    CLARKSVILLE        TN 37042‐4060
MC CORMICK, JOHN D              1488 N HURON RD                                                                      TAWAS CITY         MI 48763‐9428
MC CORMICK, JOHN P              2415 NOTTING HILL RD                                                                 TOLEDO             OH 43617‐1302
MC CORMICK, JOHN R              724 SAINT ANDREWS CIR                                                                NEW SMYRNA         FL 32168‐7982
MC CORMICK, JOHN W              1902 COUNTY RD 830 N                                                                 CARMI               IL 62821‐6104
MC CORMICK, JOSEPH T            4849 RHONE DR                                                                        MAUMEE             OH 43537‐8939
MC CORMICK, JUDITH A            53236 WHITBY WAY                                                                     SHELBY TWP         MI 48316‐2748
MC CORMICK, JUDITH A            153 WOODBRIDGE                                                                       MELBOURNE          FL 32934
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Name                         Address1                          Address2         Address3         Address4               City               State Zip
MC CORMICK, JUDITH M         1717 GRASSY VIEW DR                                                                        FORT WORTH          TX 76177‐7555
MC CORMICK, JULIE C          24 OAKLAND PARK BLVD                                                                       PLEASANT RIDGE      MI 48069‐1109
MC CORMICK, JULIUS C         3125 S STATE RD                                                                            DAVISON             MI 48423‐8705
MC CORMICK, JUSTIN J         1354 AMHERST ST. 2ND FLOOR REAR                                                            BUFFALO             NY 14216
MC CORMICK, JUSTIN JAMES     1354 AMHERST ST. 2ND FLOOR REAR                                                            BUFFALO             NY 14216
MC CORMICK, KEITH L          3813 CORMORANT POINT DR                                                                    SEBRING             FL 33872‐1274
MC CORMICK, KENNETH J        53236 WHITBY WAY                                                                           SHELBY TWP          MI 48316‐2748
MC CORMICK, KENNETH R        507 MONONGAHELA AVE                                                                        ELIZABETH           PA 15037‐1737
MC CORMICK, KEVIN            7330 233RD ST N                                                                            FOREST LAKE         MN 55025‐8270
MC CORMICK, LANGFORD         13539 S HORRELL RD                                                                         FENTON              MI 48430‐1012
MC CORMICK, LOIS L           3125 S STATE RD                                                                            DAVISON             MI 48423‐8705
MC CORMICK, MARY H           545 CENTER ST                                                                              COOPERSVILLE        MI 49404‐1021
MC CORMICK, MELVIN           2510 BANNISTER ST                                                                          WESTLAND            MI 48186‐4652
MC CORMICK, NED D            12042 GALE RD                                                                              OTISVILLE           MI 48463‐9432
MC CORMICK, NINA M           17085 ANNE AVE                                                                             ALLEN PARK          MI 48101‐2816
MC CORMICK, NINA M           17085 ANNE AVENUE                                                                          ALLEN PARK          MI 48101‐2816
MC CORMICK, PATRICIA         5830 E MCKELLIPS RD UNIT 25                                                                MESA                AZ 85215‐2783
MC CORMICK, RITA J           56 SUMMERFIELD BLVD                                                                        BOWLING GREEN       OH 43402‐8809
MC CORMICK, ROBERT A         2849 BAKER RD                                                                              DEXTER              MI 48130‐1101
MC CORMICK, ROBERT D         1118 DODGE RD                                                                              GETZVILLE           NY 14068‐1385
MC CORMICK, ROBERT L         532 W SIERRA MADRE AVE                                                                     GILBERT             AZ 85233‐5844
MC CORMICK, ROBERT W         PO BOX 452                                                                                 MILLINGTON          MI 48746‐0452
MC CORMICK, ROBERT WILLIAM   PO BOX 452                                                                                 MILLINGTON          MI 48746‐0452
MC CORMICK, ROSE A           1814 GREENBRIAR LN                                                                         FLINT               MI 48507‐2220
MC CORMICK, SUSIE J          2128 CASHIN ST                                                                             BURTON              MI 48509‐1140
MC CORMICK, THOMAS L         3194 W FARRAND RD                                                                          CLIO                MI 48420‐8836
MC CORMICK, VIOLA            92 PARLIAMENT LANE                                                                         FLINT               MI 48507
MC CORMICK, WILLIAM E        68284 RIVERVIEW DR                                                                         SOUTH HAVEN         MI 49090‐9149
MC CORMICK, WILLIAM F        8390 BURPEE RD                                                                             GRAND BLANC         MI 48439‐7420
MC CORMICK, WILLIAM G        825 WOODCREST DR                                                                           ROYAL OAK           MI 48067‐1615
MC CORMICK,J BYRON           12231 ACADEMY RD NE STE 301                                                                ALBUQUERQUE         NM 87111‐7239
MC CORRY, REBECCA L          184 S MAIN ST                                                                              YARDLEY             PA 19067‐1642
MC CORT, ALBERT W            4471 S CALLE AGRADA DR                                                                     BULLHEAD CITY       AZ 86426‐9100
MC CORT, CHARLES A           2424 LEON AVE                                                                              LANSING             MI 48906‐3644
MC CORT, PATRICK M           3407 W MOUNT HOPE AVE LOT B8                                                               LANSING             MI 48911‐1222
MC CORTNEY JR, WILLETT J     1236 GANGES TRL                                                                            GULF BREEZE         FL 32563‐3587
MC CORVETTES, INC.           3762A DEKALB TECHNOLOGY PKWY                                                               DORAVILLE           GA 30340‐3603
MC CORVEY, ROBERT L          15081 TRACEY ST                                                                            DETROIT             MI 48227‐3253
MC COSKEY, BARBARA J         8401 EATON RD                                                                              DAVISBURG           MI 48350‐1505
MC COTTER, MAJOR L           318 HAWTHORNE AVE                                                                          NEWARK              NJ 07112‐1610
MC COUL, JAMES N             37751 JEROME DR                                                                            STERLING HEIGHTS    MI 48312‐2039
MC COULLUM, BARBARA A        1851 COUNTY RD 338                                                                         FALKNER             MS 38629‐9409
MC COULLUM, BARBARA A        1851 COUNTY ROAD 338                                                                       FALKNER             MS 38629‐9409
MC COURT, BERNADETTE         5 DARTMOUTH CLOSE 7 8HQ           SEAHAM SR                         SEAHAM GREAT BRITAIN
MC COURT, HENRY P            26050 DEEP CREEK BLVD                                                                      PUNTA GORDA        FL   33983‐5615
MC COURT, JAMES P            9527 NORBORNE                                                                              REDFORD            MI   48239‐2131
MC COURT, KENNETH E          PO BOX 236                                                                                 REED CITY          MI   49677‐0236
MC COURT, MARIAN             26050 DEEP CREEK BLVD                                                                      PUNTA GURDA        FL   33983‐5615
MC COURY, FRANK              171 BARNSLEY RD                                                                            OXFORD             PA   19363‐3910
MC COURY, HENRY M            671 S GREY RD                                                                              AUBURN HILLS       MI   48326‐3815
MC COURY, JANICE E           3451 DUNNING RD                                                                            ROCHESTER HILLS    MI   48309‐3959
MC COURY, JOHN J             2576 VERNOR RD                                                                             LAPEER             MI   48446‐8329
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Name                   Address1                        Address2            Address3         Address4         City              State Zip
MC COURY, RONNIE G     351 N SQUIRREL RD 15 BX123                                                            AUBURN HILLS       MI 48326
MC COURY, STEPHEN M    3451 DUNNING RD                                                                       ROCHESTER HLS      MI 48309‐3959
MC COURY, TED R        276 OLD WATAUGA RD                                                                    ELIZABETHTON       TN 37643‐6681
MC COWAN, ANTHONY R    228 JAMESTOWN AVE                                                                     JONESBORO          GA 30236‐5554
MC COWAN, COLLEEN A    12822 S WESTERN AVE                                                                   BLUE ISLAND         IL 60406
MC COWAN, DAVID E      187 SKYHAWK DR                                                                        GUNTERSVILLE       AL 35976‐5633
MC COWAN, JIMMIE R     5221 WESTVIEW RD                                                                      CLARKSTON          MI 48346‐4165
MC COWAN, JOHN A       9239 QUANDT AVE                                                                       ALLEN PARK         MI 48101‐1530
MC COWAN, MAGDALENE    1985 SCOTTEN ST                                                                       DETROIT            MI 48209‐1647
MC COWAN, MAGDALENE    1985 SCOTTEN                                                                          DETROIT            MI 48209‐1647
MC COWAN, MARGARET D   5433 MARCO ALLEY                                                                      COLORADO SPGS      CO 80924‐8153
MC COWAN, MAX L        9239 QUANDT AVE                                                                       ALLEN PARK         MI 48101‐1530
MC COWEN, ALBERT D     5670 WENDY CIR                                                                        LOCKPORT           NY 14094‐6015
MC COWEN, JAMES N      19897 MAPLE HILL CT                                                                   PIERSON            MI 49339‐9682
MC COWN, CHRISTINE J   1232 ROLLING MEADOW RD                                                                PITTSBURGH         PA 15241‐3454
MC COWN, JAMES M       3534 SCOTT DR                                                                         TROY               MI 48084‐1140
MC COWN, RAYMOND D     13767 HALE RD                                                                         OBERLIN            OH 44074‐9783
MC COY JR, CLYDE       29505 HOOVER MOFFITT RD                                                               WEST MANSFIELD     OH 43358‐9609
MC COY JR, ELIJAH      10225 WINLEE CT                                                                       INDIANAPOLIS       IN 46236‐7331
MC COY, ALBERT J       66 VICTORY DR                                                                         PONTIAC            MI 48342‐2560
MC COY, ALFRED C       3632 MORLEY DR                                                                        NEW PORT RICHEY    FL 34652‐6234
MC COY, ANDREW L       3740 W GASLIGHT SQ APT 107                                                            ALSIP               IL 60803‐1383
MC COY, ANTHONY R      12951 ABINGTON AVE                                                                    DETROIT            MI 48227‐1294
MC COY, BETTY          6562 KRISTINE DR                                                                      HAMILTON           OH 45011‐5092
MC COY, BONITA J       16064 HIGHWAY 157                                                                     BENTON             LA 71006‐4707
MC COY, CAROLYN        6611 DEERHURST DRIVE                                                                  WESTLAND           MI 48185‐6960
MC COY, CHARLES E      825 MELROSE STREET                                                                    PONTIAC            MI 48340‐3124
MC COY, CLARENCE E     3402 LAPEER RD                                                                        FLINT              MI 48503‐4454
MC COY, CLAUDE A       10915 E GOODALL RD UNIT 350                                                           DURAND             MI 48429‐9045
MC COY, CLEAFUS        911 N BLOUNT ST APT 103                                                               RALEIGH            NC 27604‐1100
MC COY, CURTIS L       9153 E WALDEN DR                                                                      BELLEVILLE         MI 48111‐3365
MC COY, DANA L         5555 N HERRINGTON RD                                                                  WEBBERVILLE        MI 48892‐9775
MC COY, DANNY R        5227 E CARPENTER RD                                                                   FLINT              MI 48506‐4517
MC COY, DANNY ROGER    5227 E CARPENTER RD                                                                   FLINT              MI 48506‐4517
MC COY, DAVID J        38525 SYCAMORE PL                                                                     WESTLAND           MI 48185‐7603
MC COY, DE'ERIC        15111 STAHELIN AVE                                                                    DETROIT            MI 48223‐2220
MC COY, DONALD P       1573 RYAN ST                                                                          FLINT              MI 48532‐5067
MC COY, DONALD PETER   1573 RYAN ST                                                                          FLINT              MI 48532‐5067
MC COY, DONALD W       1100 LOVELACE WAY                                                                     MARTINSBURG        WV 25401‐2434
MC COY, EARL L         3591 16TH ST                                                                          WAYLAND            MI 49348‐9113
MC COY, EDWARD J       10430 FOLEY RD                                                                        KENOCKEE           MI 48006‐3110
MC COY, ELIGHA         18080 PREST ST                                                                        DETROIT            MI 48235‐2806
MC COY, ELIZABETH R    57 BASSWOOD ST                                                                        PLAINVILLE         CT 06062‐3106
MC COY, ELLIS N        12951 ABINGTON AVE                                                                    DETROIT            MI 48227‐1294
MC COY, EUNICE L       1263 WHIG HWY                                                                         ADRIAN             MI 49221‐9705
MC COY, GERALD W       4037 2ND AVE                                                                          LAUREL HILL        FL 32567‐2201
MC COY, GLENN T        111 RACE ST                                                                           TRENTON            NJ 08638‐4221
MC COY, GLORIA S       6422 FAA TOWER RD                                                                     TOOMSUBA           MS 39364‐9568
MC COY, H              45 MCCOY DR                                                                           YORK               AL 36925‐9705
MC COY, HAROLD R       1826 MAPLETON DR                                                                      DALLAS             TX 75228‐3743
MC COY, HENRY          4033 FARNHAM AVE                                                                      DAYTON             OH 45420
MC COY, JACK W         515 N COLLETT ST                                                                      DANVILLE            IL 61832‐4810
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MC COY, JAMES B             5604 MAPLE PARK DR                                                                   FLINT            MI 48507‐3916
MC COY, JAMES BERT          5604 MAPLE PARK DR                                                                   FLINT            MI 48507‐3915
MC COY, JAMES D             6611 DEERHURST DRIVE                                                                 WESTLAND         MI 48185‐6960
MC COY, JAMES E             RR 1 BOX 161A                                                                        COUSHATTA        LA 71019‐9150
MC COY, JAMES N             944 MIDDLETON ST                                                                     FLINT            MI 48503‐3018
MC COY, JAMES W             GENERAL DELIVERY                                                                     WALLINS CREEK    KY 40873‐9999
MC COY, JANIE S             4011 REDWOOD ARBOR LN                                                                FRESNO           TX 77545‐8858
MC COY, JILL B              15701 UPTON ROAD                                                                     EAST LANSING     MI 48823‐9445
MC COY, JILL B              15701 UPTON RD                                                                       EAST LANSING     MI 48823‐9445
MC COY, JOHN                13536 FAUST AVE                                                                      DETROIT          MI 48223‐3504
MC COY, JOHN G              79 CHARLESCREST CT                                                                   WEST SENECA      NY 14224‐3807
MC COY, JOSEPH F            281 MICHIGAN AVE                                                                     PONTIAC          MI 48342‐2535
MC COY, JUDSON C            6336 WASHBURN RD                                                                     GOODRICH         MI 48438‐8823
MC COY, KAREN A             263 COOK RD                                                                          EAST AURORA      NY 14052‐2728
MC COY, KAREN E             4420 E 17TH ST                                                                       CHEYENNE         WY 82001‐6446
MC COY, KATHERINE M         3402 LAPEER RD                                                                       FLINT            MI 48503‐4454
MC COY, KURT H              34459 JOHN ST                                                                        WAYNE            MI 48184‐2325
MC COY, LARRY G             1431 SAINTE ANNE ST                                                                  DETROIT          MI 48216‐1748
MC COY, LARRY J             2316 OAKWOOD DR                                                                      ANDERSON         IN 46011‐2847
MC COY, LAVERNE             9153 CLARETTA DR                                                                     LAS VEGAS        NV 89129‐7011
MC COY, LEONARD             740 VILLAGE DR 32                                                                    FOWLERVILLE      MI 48836
MC COY, LILLIAN A           1431 SAINTE ANNE ST                                                                  DETROIT          MI 48216‐1748
MC COY, LLOYD M             8174 DODGE RD                                                                        OTISVILLE        MI 48463‐9453
MC COY, M W                 RURAL ROUTE 1, BOX 199 A                                                             BUSHNELL         FL 33513
MC COY, MARGUERITE M        109 7TH AVE                                                                          TAWAS CITY       MI 48763‐9780
MC COY, MARILYN A           788 PARK SHORE DR APT H32                                                            NAPLES           FL 34103‐3769
MC COY, MARILYN C           319 W YORK AVE                                                                       FLINT            MI 48505‐5909
MC COY, MARY A              47151 HARBOUR POINTE CT                                                              BELLEVILLE       MI 48111‐1027
MC COY, MARY B              5123 OLD STATE RD                                                                    NORTH BRANCH     MI 48461‐9789
MC COY, MICHAEL G           2296 UNION RD LOT 14                                                                 CHEEKTOWAGA      NY 14227‐2730
MC COY, MICHAEL J           3236 E SHORE DR                LOT 138                                               BAY CITY         MI 48706
MC COY, MICHAEL L           PO BOX 152                                                                           LISBON           OH 44432
MC COY, MICHAEL W           130 PENRITH AVE                                                                      ALMA             MI 48801‐2528
MC COY, NANNIE B            38 FAIRWOOD COURT                                                                    MIAMISBURG       OH 45342‐6628
MC COY, RALPH R             3157 BYRKET RD                                                                       GREENVILLE       OH 45331‐9544
MC COY, RICHARD E           10136 W 149TH TER                                                                    OVERLAND PARK    KS 66221‐9792
MC COY, ROBERT F            1288 ELECTRIC AVE.‐UPPER                                                             LACKAWANNA       NY 14218
MC COY, ROMULUS E           127 BOGATER ROAD                                                                     CHAPIN           SC 29036‐9610
MC COY, RONALD C            788 PARK SHORE DR APT H32                                                            NAPLES           FL 34103‐3769
MC COY, SALLIE              3505 DUPONT ST                                                                       FLINT            MI 48504‐3570
MC COY, STEVEN F            353 FULLERTON PL                                                                     ABINGDON         MD 21009‐2503
MC COY, TIM                 PO BOX 153                                                                           BEULAH           MS 38726
MC COY, TIMOTHY P           54 COLETTE AVE                                                                       CHEEKTOWAGA      NY 14227‐3402
MC COY, TIMOTHY PAUL        54 COLETTE AVE                                                                       CHEEKTOWAGA      NY 14227‐3402
MC COY, VIRGINIA L          2466 WESTSIDE DR                                                                     NORTH CHILI      NY 14514‐1041
MC COY, WAN C               5511 RUSHMORE PASS                                                                   GRAND BLANC      MI 48439‐9149
MC COY, WILLARD C           1021 365 NORTH                                                                       BURNSVILLE       MS 38833
MC COY, WILLIAM E           31 MAIDSTONE PL                                                                      SOUTHAMPTON      NJ 08088‐1252
MC COY, WILLIAM R           9005 MELVINA AVE                                                                     OAK LAWN          IL 60453‐1550
MC COY, WILLIS J            10 COUNTY ROAD 236                                                                   CORINTH          MS 38834‐7605
MC COY‐ JOHNSON, WILLIE M   951 ARGYLE AVE                                                                       PONTIAC          MI 48341‐2301
MC COY‐ JOHNSON, WILLIE M   951 ARGYLE                                                                           PONTIAC          MI 48341‐2301
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MC CRACKEN COUNTY SHERIFF   MC CRACKEN COUNTY COURTHOUSE                                                        PADUCAH                KY 42003
MC CRACKEN JR, FRANK        65 ABERDEEN ST                                                                      ROCHESTER              NY 14619‐1211
MC CRACKEN, DONALD G        9779 S SHORE DR                                                                     SAND POINT             MI 48755‐9675
MC CRACKEN, GERALDINE       65 ABERDEEN ST                                                                      ROCHESTER              NY 14619
MC CRACKEN, HUBERT G        3534 VIA ATHENA                                                                     NORTH FORT MYERS       FL 33917‐8715
MC CRACKEN, ROBERT D        PO BOX 85                                                                           MEMPHIS                MI 48041‐0085
MC CRACKEN, ROBERT D        35211 POTTER ST                                                                     MEMPHIS                MI 48041‐4692
MC CRACKEN, ROBERT L        17781 E 13 MILE RD                                                                  FRASER                 MI 48026‐2405
MC CRACKEN, VERN L          2748 ARMSTRONG DR                                                                   LAKE ORION             MI 48360‐1704
MC CRACKEN, VIRGINIA L      PO BOX 506                                                                          SALADO                 TX 76571‐0506
MC CRACKEN, VIVIAN L        107 FALLS OF VENICE CIR                                                             VENICE                 FL 34292‐3943
MC CRACKEN, WAYNE D         21847 BRIGHT LN                                                                     LAWSON                 MO 64062‐8316
MC CRACKEN, WILLIAM J       3313 GLENSHANE WAY                                                                  ORMOND BEACH           FL 32174‐2822
MC CRACKEN, WILLIAM J       2031 QUAKER RD                                                                      BARKER                 NY 14012‐9540
MC CRACKLIN, NARCELLA       PO BOX 1190                                                                         FLINT                  MI 48501‐1190
MC CRADY, CARL D            PO BOX 1038                                                                         EL CERRITO             CA 94530‐1038
MC CRADY, JOHN W            910 NORTH TAWAS LAKE ROAD       ROOM #12                                            EAST TAWAS             MI 48730
MC CRADY, MARK T            35 WIMBLEDON LN                                                                     WEST SENECA            NY 14224‐1958
MC CRADY, MARK THOMAS       35 WIMBLEDON LN                                                                     WEST SENECA            NY 14224‐1958
MC CRAE, JAMES W            1176 LOWER FERRY RD                                                                 EWING                  NJ 08618‐1832
MC CRAE, JOSEPH E           4663 HICKORY TREE RD                                                                SAINT CLOUD            FL 34772‐9003
MC CRAE, LOIS               4663 HICKORY TREE RD                                                                ST CLOUD               FL 34772
MC CRANDALL, JOHN C         3151 RIVERSIDE DR                                                                   BEAVERTON              MI 48612‐8772
MC CRANDALL, ROBERT K       2448 S IRISH RD                                                                     DAVISON                MI 48423‐8362
MC CRANEY, TONY             9655 LAS VEGAS BLVD S APT 271                                                       LAS VEGAS              NV 89123‐3316
MC CRANEY, TONY             8445 LAS VEGAS BLVD S           APT 1167                                            LAS VEGAS              NV 89123‐5620
MC CRARY JR, LUCIAN P       1315 GREENWOOD DR                                                                   LAUREL                 MS 39440‐1922
MC CRARY, BARBARA A         23026 NE 119TH ST                                                                   EXCELSIOR SPG          MO 64024‐8009
MC CRARY, BRENDA            511 W HILDALE                                                                       DETROIT                MI 48203‐4565
MC CRARY, CLINTON H         5320 NEWQUAY LN                                                                     SALIDA                 CA 95368‐8124
MC CRARY, DANIEL P          2710 LEEWOOD CIR                                                                    LAKE ORION             MI 48360‐1610
MC CRARY, DOLLETTA S        2155 TOM ST                                                                         NAVARRE                FL 32566‐3304
MC CRARY, DORIS A           1891 W. FLESHER RUN             C1 MAILBOX 317    APT. 102                          CORDOVA                TN 38106
MC CRARY, LARRY S           511 W HILDALE                                                                       DETROIT                MI 48203‐4565
MC CRARY, LYDIA R           16165 W 11 MILE RD APT 205                                                          SOUTHFIELD             MI 48076‐3682
MC CRARY, WILLIAM L         PO BOX 8664                                                                         HOT SPRINGS VILLAGE    AR 71910‐8664
MC CRAW, ADDIE              4036 N TEMPLE AVE                                                                   INDIANAPOLIS           IN 46205‐2936
MC CRAW, RAY A              13130 GEOFFRY DR                                                                    WARREN                 MI 48088‐3626
MC CRAW, WILLIE C           4036 N TEMPLE AVE                                                                   INDIANAPOLIS           IN 46205‐2936
MC CRAY JR, EMMIT L         658 LINDA VISTA DR                                                                  PONTIAC                MI 48342‐1650
MC CRAY JR, HERMAN          6500 DICKEY MILLS RD                                                                LIBERTY                MS 39645‐7254
MC CRAY JR, NATHANIEL       PO BOX 1834                                                                         TRENTON                NJ 08607‐1834
MC CRAY, ALLEN G            PO BOX 32411                                                                        OAKLAND                CA 94604‐4111
MC CRAY, BETTIE C           14055 COYLE ST                                                                      DETROIT                MI 48227‐2500
MC CRAY, CARL               246 JEFFERSON TER                                                                   ROCHESTER              NY 14611‐3338
MC CRAY, CHARLES D          12716 PEARL ST                                                                      SOUTHGATE              MI 48195‐3527
MC CRAY, EDWARD D           882 REGONDA DR                                                                      DEFIANCE               OH 43512‐4015
MC CRAY, ELLA F             PO BOX 206                                                                          LAURENS                SC 29360‐0206
MC CRAY, HAROLD P           7659 N INKSTER RD LOT M5                                                            WESTLAND               MI 48185‐5113
MC CRAY, JOHN W             354 BERGEN AVE                                                                      JERSEY CITY            NJ 07304
MC CRAY, KATHERINE          123 CARR ST                                                                         PONTIAC                MI 48342‐1768
MC CRAY, KATHERINE          123 CARR                                                                            PONTIAC                MI 48342‐1768
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Name                             Address1                          Address2               Address3      Address4         City               State Zip
MC CRAY, LAWRENCE K              2611 MILLER RD                                                                          BERLIN              MI 48002‐1510
MC CRAY, MARCUS C                8800 BRISTOL AVE                                                                        KANSAS CITY         MO 64138‐3930
MC CRAY, MARY L                  501 HICKORY STREET                                                                      BUFFALO             NY 14204‐1363
MC CRAY, REMELLE                 27630 VERMONT                                                                           SOUTHFIELD          MI 48076
MC CRAY, REMELLE                 27630 VERMONT ST                                                                        SOUTHFIELD          MI 48076‐4884
MC CRAY, RONALD F                4164 OLD WHITEVILLE RD                                                                  LUMBERTON           NC 28358‐7860
MC CRAY, SHIRLEY E               327 BAKER AVE                                                                           CLAIRTON            PA 15025‐1301
MC CRAY, WILLIE L                341 DICK AVE                                                                            SYLVAN LAKE         MI 48320
MC CREA, FRANCIS B               12 SHEFFIELD WAY                                                                        SOUDERTON           PA 18964‐2821
MC CREA, KELVIN L                19320 RIOPELLE ST                                                                       DETROIT             MI 48203‐1332
MC CREA, SAMUEL C                407 E BIRCH AVE                                                                         COLVILLE            WA 99114‐2705
MC CREA‐JOHNSON, BERNICE J       158 NORWICH DR                                                                          ROCHESTER           NY 14624
MC CREADY AUCTIONEERS & LQDTRS   2310 VILLAGE PARK CT                                                                    ONTARIO             OH 44906‐1166
MC CREADY LEASING INC            ATTN: RICHARD MC CREADY           2310 VILLAGE PARK CT                                  ONTARIO             OH 44906‐1166
MC CREADY, MICHAEL T             1350 MIDLAND AVE APT 1P                                                                 BRONXVILLE          NY 10708‐6808
MC CREADY, RUTH M                2079 E HILL RD                                                                          GRAND BLANC         MI 48439‐5107
MC CREADY, WAYNE A               12399 WHITE LAKE RD                                                                     FENTON              MI 48430‐2551
MC CREARY, DEBORAH L             1000 SILVER MAPLE                                                                       MOORE               OK 73160‐8343
MC CREARY, HAROLD                202 MEADOW BROOK DR                                                                     CORBIN              KY 40701‐6521
MC CREARY, HARRY D               656 TUPELO DR                                                                           MELBOURNE           FL 32935‐5061
MC CREARY, JOE E                 214 DOMINION PKWY                                                                       BRANDON             MS 39042‐7306
MC CREARY, JOHN R                1000 SILVER MAPLE                                                                       MOORE               OK 73160‐8343
MC CREARY, MARK A                912 E ALTO RD                                                                           KOKOMO              IN 46902‐4315
MC CREE, BYRON S                 1908 LAUREL OAK DR                                                                      FLINT               MI 48507‐6039
MC CREE, IRENE D                 16510 ILENE                                                                             DETROIT             MI 48221‐2814
MC CREE, JAMEELA S               1411 DYEMEADOW LANE                                                                     FLINT               MI 48532‐2324
MC CREE, JAMES A                 19043 THERESA BLVD                                                                      BROWNSTOWN          MI 48173‐8632
MC CREE, PERSIA                  16510 ILENE ST                                                                          DETROIT             MI 48221‐2814
MC CREEDY, FRED W                G‐5032 N VASSAR                                                                         FLINT               MI 48506
MC CREEDY, MARJORIE A            G‐5032 N VASSAR                                                                         FLINT               MI 48506
MC CREEDY, WILLIAM R             9389 BASSETT ST                                                                         LIVONIA             MI 48150‐3308
MC CREERY JR, GEORGE A           220 E NEEDMORE HWY                                                                      GRAND LEDGE         MI 48837‐9438
MC CRELLIAS, NANCY J             582 GARFIELD AVE                                                                        LINCOLN PARK        MI 48146‐2810
MC CRELLIAS, NANCY J             582 GARFIELD                                                                            LINCOLN PARK        MI 48146‐2810
MC CRIGHT, JOSEPH                8115 CLAY CT                                                                            STERLING HEIGHTS    MI 48313‐4601
MC CRIMON, NELSON                2348 BOEGER AVE                                                                         WESTCHESTER          IL 60154‐5036
MC CRINDLE, CARLTON W            729 WILCOX ST                                                                           ROCHESTER           MI 48307‐1445
MC CRIRIE, RUTH                  414 NEWBERRY LN 27                                                                      HOWELL              MI 48843
MC CRISTAL, J B                  1019 HAMPSHIRE DR                                                                       BLOOMFIELD HILLS    MI 48302‐2406
MC CRISTAL, JAMES K              2960 DOROTHY DR                                                                         AURORA               IL 60504‐7512
MC CRITE, BOYD S                 2202 CHERRY BLOSSOM CIR                                                                 LEBANON             MO 65536‐4534
MC CRITE, RANDALL S              9452 PRESERVE DR                                                                        FENTON              MI 48430‐9277
MC CROCKLIN, ALICE S             4273W S 600 W                                                                           PENDLETON           IN 46064
MC CROREY, HARRY J               11055 SHELDON CREEK RD                                                                  MARCELLUS           MI 49067‐9402
MC CRORY, DONALD E               368 GARNET CT                                                                           FORT MILL           SC 29708‐7894
MC CRORY, JEROME F               403 S CHURCH ST                                                                         OLATHE              KS 66061‐4750
MC CRORY, MELVIN A               4849 GOLDENVIEW LN                                                                      LAKELAND            FL 33811‐1582
MC CRORY, RONALD                 8862 CHARLEVOIX ST                                                                      DETROIT             MI 48214‐1936
MC CRORY, ROY L                  2119 SLOAN ST                                                                           FLINT               MI 48504‐3432
MC CRORY, RUTH L                 18133 MARX ST                                                                           DETROIT             MI 48203‐5401
MC CROSKEY, MARTHA J             188 N SARWIL DR                                                                         CANAL WINCHESTER    OH 43110‐2013
MC CRUM, ALICE V                 7252 CLEMENT RD                                                                         CLARKSTON           MI 48346‐2610
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Name                          Address1                        Address2                Address3                  Address4         City            State Zip
MC CRUM, DOROTHY B            4035 BRIGGS CT                  435 WEST NORTH STREET   C/O JACKSON FRIENDLY HOME                  JACKSON          MI 49201‐9033
                                                                                      #220
MC CRUM, LISA L               14450 RONNIE LN                                                                                    LIVONIA         MI   48154‐5262
MC CRYSTAL, ROBERT C          415 COURTLAND ST                                                                                   YPSILANTI       MI   48197‐1829
MC CUAN, JERRY                8816 STAN CREST DR                                                                                 LAS VEGAS       NV   89134‐8899
MC CUAN, MARLENE I            8816 STAN CREST DR                                                                                 LAS VEGAS       NV   89134‐8899
MC CUBBIN, DOLORES D          217 BOOTH ST APT 124                                                                               GAITHERSBURG    MD   20878‐5480
MC CUBBIN, GARY G             1300 N 43RD ST                                                                                     KANSAS CITY     KS   66102‐2005
MC CUE JR, CHARLES I          113 ANTON COURT SMW                                                                                HOMOSASSA       FL   34446
MC CUE JR, HOBART             1089 FRANKLIN AVE                                                                                  SALEM           OH   44460‐3857
MC CUE, CATHERINE             29634 MARQUETTE                                                                                    GARDEN CITY     MI   48135
MC CUE, CHERYL C              29200 JONES LOOP RD LOT 384                                                                        PUNTA GORDA     FL   33950‐9324
MC CUE, DEAN E                1717 BURLINGTON AVE                                                                                LISLE           IL   60532‐1718
MC CUE, GILBERT A             294 EASTERN PROMENADE                                                                              PORTLAND        ME   04101‐2701
MC CUE, JAMES E               102 JENNISON PL                                                                                    BAY CITY        MI   48708‐5694
MC CUE, JANICE C              294 EASTERN PROMENADE                                                                              PORTLAND        ME   04101‐2701
MC CUE, KAY D                 714 EVERGREEN CT                                                                                   GRAND MARSH     WI   53936‐9607
MC CUE, MICHAEL G             34984 SWAN CREEK BLVD                                                                              RICHMOND        MI   48062‐5519
MC CUEN, MARY MARGARET        341 GRIGGS ST                                                                                      ROCHESTER       MI   48307‐1417
MC CUEN, NEWELL H             375 MILL RD                                                                                        SELINSGROVE     PA   17870‐9116
MC CUIN, CORDA C              80 ATLANTIC CIR APT 105                                                                            PITTSBURG       CA   94565‐5269
MC CUIN, JUNE M               7010 PEPPERMINT DRIVE                                                                              RENO            NV   89506‐1755
MC CUISTION, JERRY D          PO BOX 156                                                                                         BARTONSVILLE    PA   18321‐0156
MC CUISTON, BETTY J           2603 N EUCLID AVE                                                                                  BAY CITY        MI   48706‐1188
MC CUISTON, CARLTON H         2603 N EUCLID AVE                                                                                  BAY CITY        MI   48706
MC CUISTON, LOLA M            8801 SE NEW HOPE RD                                                                                GERONIMO        OK   73543‐5039
MC CULLAH, IRENE M            2205 N LONG LAKE RD RM18                                                                           FENTON          MI   48430
MC CULLAH, IRENE M            18855 18 MILE RD                                                                                   LEROI           MI   49655
MC CULLAR, ARTHUR L           29710 N BEDFORD ST                                                                                 SOUTHFIELD      MI   48076‐2268
MC CULLAR, JOE W              20446 PACKARD ST                                                                                   DETROIT         MI   48234‐3171
MC CULLEM, ANDREW F           1102 CLELAND                                                                                       LANSING         MI   48915
MC CULLEM, MAGGIE             3301 LUCIE ST                                                                                      LANSING         MI   48911‐2821
MC CULLEM, MILDRED R          4200 WALTON DR                                                                                     LANSING         MI   48910‐0342
MC CULLEN, KEITH A            5167 VINCENT TRL                                                                                   SHELBY TWP      MI   48316‐5252
MC CULLEN, LAWRENCE R         3329 S WOODLAND DR                                                                                 HIGHLAND        MI   48356‐2370
MC CULLEY, DOROTHY R          117 GARDEN DRIVE                                                                                   SO.PLAINFIELD   NJ   07080‐2903
MC CULLEY, LESTER A           RR 1 BOX 1271 E                                                                                    WHEATLAND       MO   65779‐9715
MC CULLIGH, JEAN L            5141 MCAULLEY                   APT 213                                                            YPSILANTI       MI   48197
MC CULLOCH, BILLY J           2430 ANNA CLARA CT                                                                                 SWARTZ CREEK    MI   48473‐9792
MC CULLOCH, CYNTHIA E         12751 RUNYON LN NE                                                                                 KALKASKA        MI   49646‐8544
MC CULLOCH, DEAN E            12751 RUNYON LN NE                                                                                 KALKASKA        MI   49646‐8544
MC CULLOCH, JACK T            8141 RENE CT                                                                                       WHITE LAKE      MI   48386‐2538
MC CULLOCH, KENNETH L         13768 W TREMBLAY DR                                                                                VICKSBURG       MI   49097‐8420
MC CULLOCH, MARY H            2607 STROSCHEIN RD                                                                                 MONROEVILLE     PA   15146‐3010
MC CULLOCH, PAULINE ELIZABE   33715 PINE RIDGE DR W                                                                              FRASER          MI   48026‐5020
MC CULLOCH, ROBERT C          607 PARKVIEW AVE                                                                                   SPRING LAKE     MI   49456‐1787
MC CULLOCH, ROGER L           3181 WOODVALLEY DR                                                                                 FLUSHING        MI   48433‐2226
MC CULLOCH, TIMOTHY J         11796 LAKEFIELD RD                                                                                 SAINT CHARLES   MI   48655‐8575
MC CULLOCH, TIMOTHY J         1816 COLONIAL VILLAGE WAY                                                                          WATERFORD       MI   48328
MC CULLOCH, WILLIAM R         7100 ULMERTON RD LOT 756                                                                           LARGO           FL   33771‐5121
MC CULLOCH, WILLODEAN         2430 ANNA CLARA CT                                                                                 SWARTZ CREEK    MI   48473‐9792
MC CULLOCK, LILLIAN D         3209 RAYNELL ST                                                                                    LANSING         MI   48911‐2862
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Name                           Address1                        Address2            Address3         Address4         City                  State Zip
MC CULLOM, GEORGE S            407 JOHNSTON CT                                                                       RAYMORE                MO 64083‐9246
MC CULLOUGH ELECTRIC COMPANY   419 FORT PITT BLVD                                                                    PITTSBURGH             PA 15219‐1310
MC CULLOUGH, ALPHONSE E        152 QUEENS LN                                                                         ROCHESTER              NY 14617‐5403
MC CULLOUGH, BETTY J           1341 ENGLEWOOD AVE                                                                    JOLIET                  IL 60432‐1023
MC CULLOUGH, CHARLES           139 WEBB ST                                                                           DETROIT                MI 48202‐1051
MC CULLOUGH, CHERYL A          6061 IRISH RD                                                                         GRAND BLANC            MI 48439‐9703
MC CULLOUGH, CHERYLEE          555 BRUSH ST APT 1103                                                                 DETROIT                MI 48226‐4353
MC CULLOUGH, DAVID A           955 E MEYERS AVE                                                                      HAZEL PARK             MI 48030‐2133
MC CULLOUGH, DOUGLAS G         263 N HILL CIR                                                                        ROCHESTER HILLS        MI 48307‐1110
MC CULLOUGH, EDWARD W          PO BOX 183                                                                            STERLING               MI 48659‐0183
MC CULLOUGH, ERNEST F          2525 E CLYDE RD                                                                       HOWELL                 MI 48855‐6756
MC CULLOUGH, GARY E            5111 WINSTON DR                                                                       SWARTZ CREEK           MI 48473‐1226
MC CULLOUGH, GERALD A          1506 W REID RD                                                                        FLINT                  MI 48507‐4641
MC CULLOUGH, GERALD D          13825 GOODMAN ST                                                                      OVERLAND PARK          KS 66223‐1136
MC CULLOUGH, HAROLD E          410 HAKES ST                                                                          OAKWOOD                OH 45873‐8909
MC CULLOUGH, HAROLD W          3127 BRANCH FERRY CT                                                                  WAKE FOREST            NC 27587‐3835
MC CULLOUGH, JAMES             1212 LAKE RD                                                                          WEBSTER                NY 14580‐9708
MC CULLOUGH, JOHN A            30273 GEORGETOWN RD                                                                   SALEM                  OH 44460‐9739
MC CULLOUGH, JOHN W            5341 MAVIS DR                                                                         WEST BLOOMFIELD        MI 48322‐1131
MC CULLOUGH, JUANITA M         8637 GOLDFINCH WAY                                                                    WEST CHESTER           OH 45069‐3443
MC CULLOUGH, LARRY E           1002 MACDONALD AVE                                                                    FLINT                  MI 48507‐2865
MC CULLOUGH, LAURENCE D        313 E RIDGEWAY AVE                                                                    FLINT                  MI 48505‐5215
MC CULLOUGH, LEON R            PO BOX 55                                                                             OBION                  TN 38240‐0055
MC CULLOUGH, MALLISON          22 CHILI TER                                                                          ROCHESTER              NY 14619‐1006
MC CULLOUGH, MONTY J           7406 NW 76TH TER                                                                      KANSAS CITY            MO 64152‐2219
MC CULLOUGH, NORA M            43 N TRUMBULL CIR                                                                     SAINT CHARLES          MO 63301‐8401
MC CULLOUGH, ORNELL            9580 E OUTER DRIVE                                                                    DETROIT                MI 48213‐1578
MC CULLOUGH, PATRICK J         59 MARINERO WAY                                                                       HOT SPRINGS VILLAGE    AR 71909‐6718
MC CULLOUGH, RAYMOND N         5092 BUCHANAN AVE                                                                     WARREN                 MI 48092‐1705
MC CULLOUGH, ROBERT E          4581 W 300 S                                                                          ANDERSON               IN 46011‐9430
MC CULLOUGH, ROBERT N          2028 E MCLEAN AVE                                                                     BURTON                 MI 48529‐1738
MC CULLOUGH, ROSE T            615 SOPHEE LN                                                                         LAKEWOOD               NJ 08701‐6083
MC CULLOUGH, ROSE T            615 SOPHEE LANE                                                                       LAKEWOOD               NJ 08701
MC CULLOUGH, S
MC CULLOUGH, SAMUEL            104 HICKORY MANOR DR                                                                  ROCHESTER             NY   14606‐4556
MC CULLOUGH, SAMUEL D          PO BOX 354                                                                            ROMULUS               MI   48174
MC CULLOUGH, SHARON L          5227 WOODRIDGE LN                                                                     SPRING HILL           FL   34609‐1548
MC CULLOUGH, SHIRLEY L         14635 WARWICK ST                                                                      DETROIT               MI   48223‐2246
MC CULLOUGH, SIMON H           2568 E BASE RD                                                                        GREENSBURG            IN   47240‐8118
MC CULLOUGH, STANLEY A         223 S CROSS ST                                                                        DANVILLE              IN   48122‐1729
MC CULLOUGH, STANLEY A         223 SOUTH CROSS STREET                                                                DANVILLE              IN   46122‐1729
MC CULLOUGH, STEPHEN N         3815 TEXAS CT APT 2                                                                   CHARLOTTE             NC   28208‐3099
MC CULLOUGH, TERRY J           1430 BEAUMONT CIR                                                                     FLUSHING              MI   48433‐1872
MC CULLOUGH, TERRY P           2125 FERNLOCK DR                                                                      OXFORD                MI   48371‐4423
MC CULLOUGH, THERESA K         700 SE 7TH AVE APT 1                                                                  POMPANO BEACH         FL   33060‐9548
MC CULLOUGH, W R               RR3                                                                                   MITCHELL              IN   47446
MC CULLOUGH, WILLIAM D         1281 E WILSON RD                                                                      CLIO                  MI   48420‐7918
MC CULLUM, BOBBY G             19807 GREENFIELD RD APT 10                                                            DETROIT               MI   48235‐2021
MC CULLUM, CONNIE S            8677 HUPP AVE                                                                         WARREN                MI   48089‐2413
MC CULLUM, DAVID L             38165 LAURENWOOD ST                                                                   WAYNE                 MI   48184‐2818
MC CULLUM, SHARON K            3472 YORKSHIRE RD                                                                     DETROIT               MI   48224‐2324
MC CULLY JR, DUDLEY L          5000 N OCEAN BLVD E17                                                                 BRINY BREEZES         FL   33435
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Name                          Address1                       Address2                      Address3   Address4         City               State Zip
MC CULLY, CATHERINE M         115 PARK ST BOX 155                                                                      OTISVILLE           MI 48463‐0155
MC CULLY, LEANNA              889 TWIN TOWERS ST                                                                       YPSILANTI           MI 48198‐3800
MC CULLY, MICHAEL G           889 TWIN TOWERS ST                                                                       YPSILANTI           MI 48198‐3800
MC CULLY, WILLARD C           827 S ALTA LN                                                                            OLATHE              KS 66061‐4170
MC CUMBER, R HOWARD           APT 136                        200 WEST EDGEWOOD BOULEVARD                               LANSING             MI 48911‐5669

MC CUMBY, SHAWN J             10382 POLLARD RD                                                                         HASLETT            MI   48840‐9228
MC CUNE, DUSTIN E             3404 LOON LAKE SHORES RD                                                                 WATERFORD          MI   48329‐4231
MC CUNE, GARY L               2805 N STINE RD                                                                          CHARLOTTE          MI   48813‐8832
MC CUNE, LB                   2252 O BRIEN ROAD                                                                        MOUNT MORRIS       MI   48458
MC CUNE, NORBERTA L           980 SOUTHWEST HIGH AVENUE                                                                MILL CITY          OR   97360‐2309
MC CUNE, PATRICIA A           4480 CLAGUE RD                                                                           NORTH OLMSTED      OH   44070‐2318
MC CUNE, PATRICIA A           4480 CLAGUE RD.                                                                          NORTH OLMSTED      OH   44070‐2318
MC CUNE, WILLIAM S            127 ELM PARK AVE                                                                         PLEASANT RDG       MI   48069‐1044
MC CURDY, CHERYL R            3717 EDGEVALE RD                                                                         OTTAWA HILLS       OH   43606‐2642
MC CURDY, DALE A              113 BRYAN DR                                                                             GREENSBURG         PA   15601‐4923
MC CURDY, DONNA J.            6699 HOWARD RD                                                                           WILLIAMSFIELD      OH   44093‐9761
MC CURDY, ERICK D             1300 PORTESUELLO AVE                                                                     SANTA BARBARA      CA   93105‐4623
MC CURDY, FREDERICK J         4140 APRIL LN                                                                            STERLING HEIGHTS   MI   48310‐4404
MC CURDY, HAROLD R            14425 JOHNSON DR                                                                         MECOSTA            MI   49332‐9652
MC CURDY, HOWARD F            235 1/2CANFIELD NILES RD                                                                 AUSTINTOWN         OH   44515
MC CURDY, JAMES A             32768                          LANCASTER                                                 WARREN             MI   48088
MC CURDY, JOHN O              4516 WOOD AVE                                                                            KANSAS CITY        KS   66102‐1845
MC CURDY, LESLIE C            7840 OAKLAND AVE                                                                         KANSAS CITY        KS   66112‐2420
MC CURDY, RICHARD             155 FOREST DR                                                                            NO HUNTINGDON      PA   15642‐1004
MC CURDY, ROBERT A            571 FLORENCE CT                                                                          MILFORD            MI   48381‐1711
MC CURDY, TOMMIE L            3740 STONY HOLLOW RD                                                                     DAYTON             OH   45418‐2836
MC CURLEY JR, BENNIE          22389 HIGHWAY C                                                                          LAWSON             MO   64062‐8138
MC CURRY, MICHAEL             1954 N 79TH TER                                                                          KANSAS CITY        KS   66112‐2049
MC CURRY, RICHARD L           891 S GROVE ST                                                                           YPSILANTI          MI   48198‐6372
MC CURRY, ROBERT E            26 E HUNTERS CREEK RD                                                                    LAPEER             MI   48446‐9414
MC CURRY, ROBERT W            21741 WICK RD                                                                            TAYLOR             MI   48180‐3713
MC CURRY, SILLA               1872 CHARLES RD                                                                          E CLEVELAND        OH   44112‐2819
MC CURRY, SILLA               1872 CHARLES ROAD                                                                        E CLEVELAND        OH   44112‐2819
MC CURRY, SUZANNE M           9343 BIRCH ST                                                                            TAYLOR             MI   48180‐3469
MC CURTAIN COUNTY TREASURER   108 NORTH CENTRAL                                                                        IDABEL             OK   74745
MC CUSKER JR, WILLIAM K       1900 W OMAR DR                                                                           TUCSON             AZ   85704‐1243
MC CUSKER, COLLEEN C          10735 KELL AVE S                                                                         BLOOMINGTON        MN   55437‐2937
MC CUTCHEN, JAMES L           925 HILLSIDE MILL DR                                                                     GRAYSON            GA   30017‐1905
MC CUTCHEN, JAMES M           46709 LA ROCHE DR W                                                                      MACOMB             MI   48044‐5421
MC CUTCHEN, SAM               74 BATTLE GREEN DR                                                                       ROCHESTER          NY   14624‐4952
MC CUTCHEN, THOMAS W          35884 CRESCENT ST                                                                        PALM DESERT        CA   92211‐2686
MC CUTCHEON, DAVID B          1104 SORRENTO WOODS BLVD                                                                 NOKOMIS            FL   34275‐4519
MC CUTCHEON, EDWARD T         155 WILLOW LAKE DR                                                                       OXFORD             MI   48371‐6376
MC CUTCHEON, EDYTHE M.        5850 PELICAN BAY BLVD APT D                                                              NAPLES             FL   34108‐2729
MC CUTCHEON, JACK             8357 HIGHWAY 36 E                                                                        LACEYS SPRING      AL   35754‐6039
MC CUTCHEON, MICHAEL W        1136 WEST OUTER DRIVE                                                                    OAK RIDGE          TN   37830‐8611
MC CUTCHEON, ROBERT L         645 EGRET WALK LN                                                                        VENICE             FL   34292‐4487
MC DADE JR, SYDNEY T          PO BOX 2122                                                                              INDIAN RIVER       MI   49749‐2122
MC DADE, ALICE L              1119 PATRICK LN                                                                          NEWPORT NEWS       VA   23608‐3156
MC DADE, DOROTHY J            122 VELMA DR W                                                                           LARGO              FL   33770‐2150
MC DADE, HOLLIS W             1107 GLEN WILLOW DR APT 1                                                                CAPITOL HEIGHTS    MD   20743‐1564
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Name                        Address1                       Address2             Address3        Address4         City           State Zip
MC DADE, JARED C            3830 PURCHASE ST                                                                     PURCHASE        NY 10577‐1116
MC DADE, PATRICIA A         69 DAWN DR                                                                           CLARK           NJ 07066‐1401
MC DADE, PATRICIA A         69 DAWN DRIVE                                                                        CLARK           NJ 07066‐1401
MC DANIEL JR, BURNETT       5404 SMITH ST                                                                        FORT WAYNE      IN 46806‐5173
MC DANIEL JR, MOSES         7205 RIVERVIEW DR                                                                    FLINT           MI 48532‐2275
MC DANIEL JR, MOSES         5358 TIMBERWOOD POINT DR                                                             FLINT           MI 48532‐2266
MC DANIEL JR, THOMAS        529 REDWOOD RD                                                                       BOLINGBROOK      IL 60440‐2502
MC DANIEL JR, WILLIE        20226 BLACKSTONE ST                                                                  DETROIT         MI 48219‐1315
MC DANIEL JR., PRENTISS A   7407 S VERNON AVE                                                                    CHICAGO          IL 60619‐1813
MC DANIEL, ABSON            1152 REX AVENUE                                                                      FLINT           MI 48505‐1639
MC DANIEL, AGNES T          210 MILFORD ST                                                                       TOLEDO          OH 43605‐1422
MC DANIEL, ALLEN            305 E EDGEWOOD BLVD APT 2                                                            LANSING         MI 48911‐5811
MC DANIEL, ANNIE L          1711 AFTON AVE                                                                       CHARLESTON      SC 29407‐4201
MC DANIEL, ANNIE M          1228 SOMERSET LANE                                                                   FLINT           MI 48503‐2947
MC DANIEL, BOBBIE L         13386 HAWBUCK RD                                                                     DANVILLE         IL 61834‐8012
MC DANIEL, BRENDA A         2521 PROSPECT ST                                                                     FLINT           MI 48504‐3384
MC DANIEL, CALVIN D         1135 MACKIN RD                                                                       FLINT           MI 48503‐1203
MC DANIEL, CAROLINE C       2622 SAM CALVIN DR                                                                   DACULA          GA 30019‐7544
MC DANIEL, CELESTENE        1425 WAGON WHEEL LN                                                                  GRAND BLANC     MI 48439‐4867
MC DANIEL, CHARLES E        PO BOX 163                                                                           KEEGO HARBOR    MI 48320‐0163
MC DANIEL, CHARLES E        128 N CENTER ST                                                                      BRAIDWOOD        IL 60408‐1603
MC DANIEL, CLARENCE         236 LEES CHAPEL RD                                                                   SWEETWATER      TN 37874‐6454
MC DANIEL, CLARENCE E       4216 E 68TH ST                                                                       KANSAS CITY     MO 64132‐1448
MC DANIEL, CONWAY D         3519 HAYES BAYOU DR                                                                  RUSKIN          FL 33570‐6159
MC DANIEL, DALE G           1211 MARGUERITE ST                                                                   FLUSHING        MI 48433‐1753
MC DANIEL, DALLAS A         5084 AUKER DR                                                                        FLINT           MI 48507‐4502
MC DANIEL, DAVID P          5749 CAMBOURNE RD                                                                    DEARBORN HTS    MI 48127‐3914
MC DANIEL, DONNA            4224 INDEPENDENCE DR                                                                 FLINT           MI 48506‐1664
MC DANIEL, DWIGHT W         700 LARONA RD                                                                        DAYTON          OH 45426‐2528
MC DANIEL, EDWARD D         18272 GRANDVILLE AVE                                                                 DETROIT         MI 48219‐2873
MC DANIEL, EDWIN C          959 SWEET BRIAR TRL SE         C/O ROGER MCDANIEL                                    CONYERS         GA 30094‐3853
MC DANIEL, ELIZABETH M      4143 WINTER HUE LANE                                                                 DAVISON         MI 48423‐8932
MC DANIEL, ERNEST           3410 E 54TH ST                                                                       KANSAS CITY     MO 64130‐4027
MC DANIEL, ERNEST P         PO BOX 1333                                                                          PARKER          AZ 85344‐1333
MC DANIEL, EUGENE G         PO BOX 73                                                                            GRAYLING        MI 49738‐0073
MC DANIEL, EVONNE           1605 VANDERBILT DR                                                                   ARLINGTON       TX 76014‐2454
MC DANIEL, GARY F           1115 BEMENT ST                                                                       LANSING         MI 48912‐1703
MC DANIEL, GEORGE J         351 HILLTOP BLVD                                                                     CANFIELD        OH 44406‐1267
MC DANIEL, HERMAN L         536 BEECHWOOD ST                                                                     RIVER ROUGE     MI 48218‐1021
MC DANIEL, INGER L          PO BOX 344                                                                           CAROGA LAKE     NY 12032‐0344
MC DANIEL, IVERY L          406 S MAIN ST                                                                        FORDYCE         AR 71742‐3552
MC DANIEL, JACK             860 PENNS WAY                                                                        WEST CHESTER    PA 19382‐8154
MC DANIEL, JAMES E          947 GREENE ROAD 528                                                                  LAFE            AR 72436‐9792
MC DANIEL, JAMES E          3000 TOWN CTR STE 2600                                                               SOUTHFIELD      MI 48075‐1128
MC DANIEL, JAMES W          3100 FREEDOM WAY                                                                     HUBERT          NC 28539‐3802
MC DANIEL, JEANETTE E       PO BOX 2046                                                                          PONTIAC         MI 48343
MC DANIEL, JOANN M          48365 WILLIS RD                                                                      BELLEVILLE      MI 48111‐8926
MC DANIEL, JOANN MARIE      48365 WILLIS RD                                                                      BELLEVILLE      MI 48111‐8926
MC DANIEL, JOE E            2348 SHADYCROFT DR                                                                   BURTON          MI 48519
MC DANIEL, JOHN G           9 MONTE CARLO                                                                        IRVINE          CA 92614‐0222
MC DANIEL, KENNETH W        3098 GEHRING DR                                                                      FLINT           MI 48506‐2262
MC DANIEL, KEVIN L          700 WINDING RIVER WAY                                                                WILLIAMSTON     MI 48895‐9023
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Name                      Address1                        Address2             Address3        Address4         City               State Zip
MC DANIEL, KEVIN LEE      700 WINDING RIVER WAY                                                                 WILLIAMSTON         MI 48895‐9023
MC DANIEL, L C            7523 S CARPENTER ST                                                                   CHICAGO              IL 60620‐2953
MC DANIEL, LAMBERT M      PO BOX 3917                                                                           ANN ARBOR           MI 48106‐3917
MC DANIEL, LARRY G        34612 MICHELLE DR                                                                     ROMULUS             MI 48174‐3434
MC DANIEL, LASCELLES F    950 MAIDEN LN                                                                         ROCHESTER           NY 14615‐1124
MC DANIEL, LEON M         17051 PENNSYLVANIA ST                                                                 SOUTHFIELD          MI 48075‐2987
MC DANIEL, LUCILLE J      35821 GEORGETOWN DR                                                                   STERLING HEIGHTS    MI 48312‐4425
MC DANIEL, MARJORIE C.    2301 WILLOW ST                                                                        VAN BUREN           AR 72956‐3768
MC DANIEL, MARK D         1480 PEPPERGROVE DR                                                                   BRIGHTON            MI 48116‐6783
MC DANIEL, MARY           PO BOX 163                                                                            KEEGO HARBOR        MI 48320‐0163
MC DANIEL, MARY F         12003 S SAGINAW BLDG 6 APT 1                                                          GRAND BLANC         MI 48439‐1463
MC DANIEL, MARY L         PO BOX 5                                                                              WRIGHTSVILLE        AR 72183‐0005
MC DANIEL, MARY M         6431 BANNER ST                                                                        TAYLOR              MI 48180‐1629
MC DANIEL, MICHAEL D      21217 129TH AVE SE                                                                    SNOHOMISH           WA 98296‐7843
MC DANIEL, MICHAEL R      2305 S PLAIN RD                                                                       CARO                MI 48723‐9465
MC DANIEL, NORMAN L       4353 WATSON RD                                                                        COOKEVILLE          TN 38506‐6918
MC DANIEL, PATRICIA K     546 FOX HILLS DR S                                                                    BLOOMFIELD HILLS    MI 48304‐1316
MC DANIEL, PATRICK D      9443 TERRY ST                                                                         ROMULUS             MI 48174‐1554
MC DANIEL, RALPH R        422 BEASLEY RD                                                                        GALT                MO 64641‐9172
MC DANIEL, SAM E          954 W VERMONTVILLE HWY                                                                CHARLOTTE           MI 48813‐9783
MC DANIEL, SCOTT D        5070 WINDSOR HWY                                                                      POTTERVILLE         MI 48876‐8762
MC DANIEL, TERRY A        351 LAKE POINT RD                                                                     FAIR PLAY           SC 29643‐2342
MC DANIEL, WALLACE V      212 TOWN BRANCH RD                                                                    MANCHESTER          KY 40962‐1322
MC DANIEL, WILMA J.       27334 YALE ST                                                                         INKSTER             MI 48141‐2581
MC DANIEL, WILMA J.       27334 YALE                                                                            INKSTER             MI 48141‐2581
MC DANIELS JR, WADE       47 SANDAL LN                                                                          WILLINGBORO         NJ 08046‐1014
MC DANIELS, JOHN D        19610 BUTTERNUT LN                                                                    SOUTHFIELD          MI 48076‐1791
MC DANIELS, THOMAS G      APT 3                           1210 WEINERT COURT                                    GRAND LEDGE         MI 48837‐2213
MC DANNEL, OLETA F        1123 N MAIN ST                                                                        CARRIER MILLS        IL 62917‐1124
MC DARIS, JEANETTE H      2580 CAROLYN DR SE                                                                    SMYRNA              GA 30080‐2552
MC DARIS, MARGIE L        1149 SE W HWY                                                                         LATHROP             MO 64465‐9390
MC DARIS, ROBERT L        1149 SE W HWY                                                                         LATHROP             MO 64465‐9390
MC DAVID, BARBARA L       326 DWIGHT AVE                                                                        JOLIET               IL 60436‐1919
MC DAVID, DIANE L         31432 HUNTERS CIRCLE DR                                                               FARMINGTN HLS       MI 48334‐1308
MC DAVITT, JAMES          8743 MOBILE AVE                                                                       OAK LAWN             IL 60453‐1121
MC DAY, JAMES E           3158 DORCHEAT RD                                                                      MINDEN              LA 71055‐5870
MC DERMAID, WILLIAM J     3029 KERRY ST                                                                         MOUNT MORRIS        MI 48458‐8210
MC DERMEIT, CLYDE         601 FAIRDALE RD                                                                       SALINA              KS 67401‐3776
MC DERMID, GEORGE A       8470 LINCOLN BAY DR                                                                   ALPENA              MI 49707‐8870
MC DERMIT, MICHAEL C      1894 BURNING BUSH CT                                                                  ROCHESTER HILLS     MI 48309‐3321
MC DERMITT, MARGARET E    5950 COVENTRY MEADOW LN                                                               HILLIARD            OH 43026‐7389
MC DERMOTT JR, JOHN P     5325 BIRCH POINT DR                                                                   INTERLOCHEN         MI 49643‐9579
MC DERMOTT, BERNADINE L   10527 SOMERSET RD BOX 260                                                             SOMERSET CENTER     MI 49282
MC DERMOTT, CELESTE P     27744 FORESTBROOK DR                                                                  FARMINGTON HILLS    MI 48334‐5206
MC DERMOTT, CHARLES D     2246 PESEK RD                                                                         EAST JORDAN         MI 49727‐8817
MC DERMOTT, CHARLES S     930 AUBURNDALE AVE                                                                    YPSILANTI           MI 48198‐6105
MC DERMOTT, CHARLES W     791 MONTICELLO AVE                                                                    PONTIAC             MI 48340‐2323
MC DERMOTT, DOLORES       15295 FRENCH CREEK DR.                                                                FRASIER             MI 48026‐5215
MC DERMOTT, DONALD F      29717 SPRING HILL DR                                                                  SOUTHFIELD          MI 48076‐1859
MC DERMOTT, DOROTHY M.    1859 MARYLAND BLVD                                                                    BIRMINGHAM          MI 48009‐4119
MC DERMOTT, ELIZABETH A   1204 FAWNWOOD RD                                                                      LITTLE ROCK         AR 72227‐5936
MC DERMOTT, HENRIETTA S   30899 CREST FOREST                                                                    FARMINGTON HILLS    MI 48331
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MC DERMOTT, HENRIETTA S    30899 CREST FRST                                                                         FARMINGTON HILLS       MI 48331‐1097
MC DERMOTT, JEROME H       RESIDENTY MONTANA              CONDOMINIUM DEL SOL # 6              POZOS, SANTA ANNA
                                                                                               COSTA RICA
MC DERMOTT, JOHN F         433 ZELKOVA RD                                                                           WILLIAMSBURG          VA   23185‐4364
MC DERMOTT, LARRY F        302 N PROSPECT RD                                                                        YPSILANTI             MI   48198‐2933
MC DERMOTT, LEO G          1914 VERSAILLES DR                                                                       KOKOMO                IN   46902‐5996
MC DERMOTT, LYLE C         1132 JUNEAU RD                                                                           YPSILANTI             MI   48198‐6411
MC DERMOTT, MARIE R        267 6TH AVE                                                                              BROOKLYN              NY   11215‐2104
MC DERMOTT, MARY           68 ELMWOOD AVE                                                                           BOGOTA                NJ   07603‐1610
MC DERMOTT, MARY A         3 N EGRET ST                                                                             SEBRING               FL   33872‐3500
MC DERMOTT, MARY A         6 MILL ST                                                                                MIDDLEPORT            NY   14105‐1010
MC DERMOTT, MICHAEL L      4150 WINIFRED ST                                                                         WAYNE                 MI   48184‐2206
MC DERMOTT, MICHAEL LEE    4150 WINIFRED ST                                                                         WAYNE                 MI   48184‐2206
MC DERMOTT, PATRICK M      7241 NORMAN RD                                                                           NORTH TONAWANDA       NY   14120‐4910
MC DERMOTT, PHILIP M       2367 COACH HOUSE BLVD APT 4                                                              ORLANDO               FL   32812‐5264
MC DERMOTT, PHILLIP E      136 OHIO ST                                                                              YPSILANTI             MI   48198‐7820
MC DERMOTT, RAYMOND J      PO BOX 246                                                                               HALES CORNERS         WI   53130‐0246
MC DERMOTT, STEPHEN J      2915 BERKSHIRE DR                                                                        BLOOMFIELD TOWNSHIP   MI   48301‐3404
MC DERMOTT, STEVEN R       23 MISTY PINE RD                                                                         FAIRPORT              NY   14450‐2653
MC DERMOTT, TERRY          614 BEECH ST                                                                             IRON MOUNTAIN         MI   49801‐3222
MC DERMOTT, THERESA M      1186 WEAVER FARM LN                                                                      SPRING HILL           TN   37174‐2185
MC DERMOTT, THOMAS J       475 REED CT                                                                              GOLETA                CA   93117‐2906
MC DERMOTT, THOMAS P       521 SEAPORT BLVD                                                                         CAPE CANAVERAL        FL   32920‐5030
MC DERMOTT, WILLIAM C      PO BOX 12                      2459 BENNETT RD                                           TOPINABEE             MI   49791‐0012
MC DEVITT, CHRIS A         313 LINCOLN ST                                                                           PERRY                 MI   48872‐8769
MC DEVITT, DOUGLAS S       7213 JORDAN RD                                                                           GRAND BLANC           MI   48439‐9765
MC DEVITT, JAMES G         1700 21ST AVE W APT 302                                                                  BRADENTON             FL   34205‐5782
MC DEVITT, JENNIFER L      2235 AZALEA DR                                                                           LOGANVILLE            GA   30052‐3884
MC DEVITT, RICHARD L       915 MILLER DR                                                                            QUINCY                MI   49082‐9782
MC DEVITT, SUSAN E         7213 JORDAN RD                                                                           GRAND BLANC           MI   48439‐9765
MC DIARMID, BILLY          2655 W SAGINAW HWY                                                                       MULLIKEN              MI   48861‐9760
MC DIARMID, DANNY N        12906 SUNFIELD RD                                                                        SUNFIELD              MI   48890‐9003
MC DIARMID, DEBORAH A      11282 SARGENT RD                                                                         FOWLERVILLE           MI   48836‐9239
MC DIARMID, EDWARD         12761 PHELPS ST                                                                          SOUTHGATE             MI   48195‐1274
MC DIARMID, HAROLD D       273 W DAWSON RD                                                                          MILFORD               MI   48381‐2711
MC DIARMID, STEVEN G       2804 HAGER RD                                                                            NASHVILLE             MI   49073‐9600
MC DIARMID, SUSIE B        9000 BROPHY RD                                                                           HOWELL                MI   48855‐9076
MC DILL JR, JAMES          1175 BURNT LEAF LN                                                                       GRAND BLANC           MI   48439‐4969
MC DILL, MACK H            207 15TH STREET SOUTH                                                                    CLANTON               AL   35045‐3229
MC DOLE, ROBERT E          PO BOX 3286                                                                              DETROIT               MI   48203‐0286
MC DOLE, STELLA D          19160 ALLISONVILLE RD                                                                    NOBLESVILLE           IN   46060‐1108
MC DONALD JR, DAVID D      6340 NEWTOWN CIR APT A4                                                                  TAMPA                 FL   33615‐5900
MC DONALD JR, EDWARD       PO BOX 893                                                                               LAKE ARROWHEAD        CA   92352‐0893
MC DONALD JR, GARY D       4101 S MCCLELLAND RD                                                                     ASHLEY                MI   48806‐9352
MC DONALD JR, JESSE        4941 HIGHWAY 43                                                                          MC INTOSH             AL   36553‐7400
MC DONALD JR, RODERICK D   6029 STEEPLECHASE DR                                                                     GRAND BLANC           MI   48439‐8669
MC DONALD JR, WILLIAM J    500 MCKINLEY PKWY                                                                        BUFFALO               NY   14220‐1743
MC DONALD'S                ATTN: BILL VAYNES              7252 N SAGINAW RD                                         MT MORRIS             MI   48458‐2131
MC DONALD'S                ATTN: TINA CARLILE             1510 E STEWART AVE                                        FLINT                 MI   48505‐3600
MC DONALD'S                ATTN: PAUL HAMMER              11800 MIDDLEBELT RD                                       LIVONIA               MI   48150‐2311
MC DONALD'S                ATTN: LAVONNE WALKER           3873 DIVISION AVE S                                       GRAND RAPIDS          MI   49548‐3251
MC DONALD'S                ATTN: LAURA SELLITNAS          108 CENTRAL AVE                                           CLARK                 NJ   07066‐1112
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MC DONALD'S               ATTN: CASSANDRA YOUNG             2889 W GRAND BLVD                                      DETROIT              MI 48202‐2611
MC DONALD, A G            UNIT 5                            3904 SOUTHERN OAKS DRIVE                               FAYETTEVILLE         NC 28314‐0999
MC DONALD, ALICE C        12 LIGHTHOUSE DR                                                                         MANAHAWKIN           NJ 08050‐2618
MC DONALD, ALICE J        105 BAYBERRY CIRCLE                                                                      BRIDGEWATER          MA 02324‐2933
MC DONALD, ALSBURY H      6401 SW 111TH PL                                                                         OCALA                FL 34476‐8810
MC DONALD, ALVIN R        407 ARMY RD                                                                              LEONARD              MI 48367‐2908
MC DONALD, ANN B          14 HIGHWOOD DR                                                                           LITTLE ROCK          AR 72205‐2444
MC DONALD, ARNOLD M       3811 GALE RD                                                                             EATON RAPIDS         MI 48827‐9657
MC DONALD, ARTHUR J       2642 RIVER RD                                                                            MARYSVILLE           MI 48040‐1967
MC DONALD, BARBARA A      228 HIGHLAND AVE                                                                         BLOOMFIELD           MI 48302‐0631
MC DONALD, BARRY J        31950 PIERCE ST                                                                          GARDEN CITY          MI 48135‐1458
MC DONALD, BARRY JOSEPH   31950 PIERCE ST                                                                          GARDEN CITY          MI 48135‐1458
MC DONALD, BERNARD J      9870 GARVETT ST                                                                          LIVONIA              MI 48150‐3214
MC DONALD, BERNICE        3340 TIQUEWOOD                                                                           COMMERCE TOWNSHIP    MI 48382‐1463
MC DONALD, BETTY J        3205 WARREN DRIVE                                                                        WATERFORD            MI 48329‐3546
MC DONALD, BETTY J        23 SUNNY LN                       PO BOX 482                                             MOUNT MORRIS         MI 48458‐2416
MC DONALD, BETTY J        3205 WARREN DR                                                                           WATERFORD            MI 48329‐3546
MC DONALD, BEVERLY J      LEISURE LK VIL 508 CENTER ST                                                             PALMETTO             FL 34221
MC DONALD, BRIAN P        15730 MEADOWOOD DRIVE                                                                    WELLINGTON           FL 33414
MC DONALD, BRYAN E        8538 E 700 S                                                                             UPLAND               IN 46989‐9410
MC DONALD, CARL D         4405 LANNEY LN                                                                           METAMORA             MI 48455‐8712
MC DONALD, CARL E         5670 MURPHY CT                                                                           WARREN               MI 48092‐6336
MC DONALD, CARL E         2769 LAKE ANN RD                                                                         INTERLOCHEN          MI 49643‐9651
MC DONALD, CARMELINA      36 PRATT ST                                                                              EAST HARTFORD        CT 06118‐1526
MC DONALD, CAROLINA       839 STATE ST                                                                             ADRIAN               MI 49221‐3947
MC DONALD, CHARLES J      13625 58TH AVE                                                                           FLUSHING             NY 11355‐5230
MC DONALD, CHARLIE L      445 NE BLVD                                                                              PONTIAC              MI 48058
MC DONALD, CHARLIE L      445 N EAST BLVD                                                                          PONTIAC              MI 48342
MC DONALD, CHRISTINA M.   305 N GOULD RD APT 24                                                                    COLUMBUS             OH 43209‐3816
MC DONALD, CLARENCE A     10700 COPE RD                                                                            ONAWAY               MI 49765‐8742
MC DONALD, CLARK          61 MEADOW FARM                                                                           NORTH CHILI          NY 14514‐1322
MC DONALD, CLYDEY DEAN    4147 LYONS CENTER RD                                                                     VIDALIA              GA 30474‐9722
MC DONALD, CORA V         9 BUTTERMILK HILL RD                                                                     PITTSFORD            NY 14534‐2113
MC DONALD, DANIEL C       RT 1 BOX 385                                                                             MILLSTONE            WV 25261
MC DONALD, DANIEL L       1087 LONG LAKE RD                                                                        FENWICK              MI 48834‐9619
MC DONALD, DANIEL W       9236 BALDWIN RD                                                                          GAINES               MI 48436‐9719
MC DONALD, DANNY S        2401 WINDEMERE AVE                                                                       FLINT                MI 48503‐2215
MC DONALD, DARRY D        474 COUNTY ROAD 1730                                                                     YANTIS               TX 75497‐2620
MC DONALD, DAVID W        3730 NEW RD                                                                              YOUNGSTOWN           OH 44515‐4622
MC DONALD, DEBRA A        316 INGLEWOOD DR                                                                         ROCHESTER            NY 14619‐1442
MC DONALD, DEBRA L        51 E ELMWOOD                                                                             LEONARD              MI 48367‐1803
MC DONALD, DELRINE M      3231 CRUGER AVE                                                                          BRONX                NY 10467‐6401
MC DONALD, DENIS C        9036 24TH AVE                                                                            JENISON              MI 49428‐9467
MC DONALD, DERRICK S      228 HIGHLAND AVE                                                                         BLOOMFIELD           MI 48302‐0631
MC DONALD, DOLORES M      109 VANCOUVER AVE                                                                        MEDFORD              OR 97504‐7420
MC DONALD, DON H          2513 DORSET ST                                                                           MURFREESBORO         TN 37130‐1459
MC DONALD, DON S          3117 NORWOOD DR                                                                          FLINT                MI 48503‐2321
MC DONALD, DON STEWART    3117 NORWOOD DR                                                                          FLINT                MI 48503‐2321
MC DONALD, DOREEN D       14920 KINSMAN ROAD                                                                       CLEVELAND            OH 44120‐4976
MC DONALD, DOROTHY J      PO BOX 83                                                                                LAKEVILLE            MI 48366‐0083
MC DONALD, DOUGLAS C      LEISURE LK VIL 508 CENTER ST                                                             PALMETTO             FL 34221
MC DONALD, DOUGLAS M      40474 CINNAMON CIRCLE                                                                    CANTON               MI 48187‐4588
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Name                     Address1                         Address2           Address3         Address4         City               State Zip
MC DONALD, DUNCAN F      4121 MOREL DR                                                                         CADILLAC            MI 49601‐9309
MC DONALD, EDWARD        5930 SCARLET OAK DR                                                                   BEDFORD HEIGHTS     OH 44146‐3050
MC DONALD, EDWARD T      4109 BEACH RIDGE RD                                                                   N TONAWANDA         NY 14120‐9574
MC DONALD, ERIC F        517 QUIMBY ST NE                                                                      GRAND RAPIDS        MI 49505‐5124
MC DONALD, F J           1051 INDIAN MOUND TRL                                                                 VERO BEACH          FL 32963‐2406
MC DONALD, FLOYD J       2451 WILL JO LN                                                                       FLINT               MI 48507‐3554
MC DONALD, FRANCIS E     714 FAWCETT AVE                                                                       MCKEESPORT          PA 15132‐1301
MC DONALD, FRANCIS M     3298 FAIRVIEW ST                                                                      WHITE OAK           PA 15131‐1012
MC DONALD, FREDRICK E    2940 BUTTRICK AVE SE                                                                  ADA                 MI 49301‐9344
MC DONALD, FREEMAN       1242 E YORK AVE                                                                       FLINT               MI 48505‐2335
MC DONALD, GAIL A        6324 GRAND BLANC RD                                                                   SWARTZ CREEK        MI 48473‐9403
MC DONALD, GAIL ANN      6324 GRAND BLANC RD                                                                   SWARTZ CREEK        MI 48473‐9403
MC DONALD, GARY D        2672 GRAVEL CREEK RD                                                                  NORTH BRANCH        MI 48461‐8435
MC DONALD, GEORGE        3613 ELMWOOD AVE                                                                      KANSAS CITY         MO 64128‐2848
MC DONALD, GEORGE A      629 NOGGLE RD                                                                         OMER                MI 48749‐9706
MC DONALD, GEORGIANA V   186 E CHIMNEY TOP LN                                                                  FELTON              DE 19943‐6906
MC DONALD, GERALD L      3144 WHITFIELD DR                                                                     WATERFORD           MI 48329‐2774
MC DONALD, GLYN L        14831 YALE ST                                                                         LIVONIA             MI 48154‐5164
MC DONALD, GREGORY A     46701 W RIDGE DR                                                                      MACOMB              MI 48044‐3582
MC DONALD, GREGORY S     800 ALTA ST                                                                           MASON               MI 48854‐2002
MC DONALD, HAROLD A      2742 S.M30                                                                            BEAVERTON           MI 48612
MC DONALD, HAROLD J      6126 HENRY RUFF RD                                                                    GARDEN CITY         MI 48135‐1966
MC DONALD, HAROLD S      12269 LAKE RD                                                                         MONTROSE            MI 48457‐9429
MC DONALD, HAZEL L       1242 E YORK AVE                                                                       FLINT               MI 48505‐2335
MC DONALD, JACK E        2256 RICHARDSON CT                                                                    WATERFORD           MI 48327‐1073
MC DONALD, JACK H        10086 OAKHILL RD                                                                      HOLLY               MI 48442‐8846
MC DONALD, JAMES B       2230 SEMINOLE TRL                                                                     WAYCROSS            GA 31501‐4176
MC DONALD, JAMES E       4848 HERNDON DR                                                                       COLUMBUS            OH 43221‐5803
MC DONALD, JAMES F       701 SPANISH MAIN DR.LOT 36                                                            CUDJOE KEY          FL 33042
MC DONALD, JAMES F       5849 CORTE MENTE                                                                      PLEASANTON          CA 94566‐5872
MC DONALD, JAMES K       3625 LINCOLNSHIRE RD                                                                  WATERFORD           MI 48328‐3538
MC DONALD, JAMES L       55 MACSAIN RD                                                                         BUCHANAN            TN 38222‐4962
MC DONALD, JAMES L       3416 BROWN RD                                                                         SAINT LOUIS         MO 63114‐4330
MC DONALD, JAMES L       PO BOX 3173                                                                           SOUTHFIELD          MI 48037‐3173
MC DONALD, JAMES M       PO BOX 1127                                                                           INDIAN RIVER        MI 49749‐1127
MC DONALD, JAMES M       2147 SULLIVAN RD                                                                      OXFORD              MI 48371‐3445
MC DONALD, JAMES R       11186 S 34TH ST                                                                       VICKSBURG           MI 49097‐9523
MC DONALD, JAMES S       4323 TORREY RD                                                                        FLINT               MI 48507‐3458
MC DONALD, JAMES W       6243 N LONDON AVE APT L                                                               KANSAS CITY         MO 64151‐4798
MC DONALD, JASON E       6316 HEATH CROSS DR                                                                   HUDSONVILLE         MI 49426‐8909
MC DONALD, JEANNE L      295 CLASSIC LN                                                                        MELROSE             FL 32666‐8893
MC DONALD, JOEL A        PO BOX 768                                                                            BELLEVILLE          MI 48112‐0768
MC DONALD, JOHN C        40 OAKHILL ST                                                                         PONTIAC             MI 48342‐2328
MC DONALD, JOHN C        7820 WALKING HORSE CIR APT 328                                                        GERMANTOWN          TN 38138‐2116
MC DONALD, JOHN C        7935 SE MARKET ST                                                                     PORTLAND            OR 97215‐3655
MC DONALD, JOHN M        7350 N INKSTER RD APT 1                                                               DEARBORN HEIGHTS    MI 48127‐1628
MC DONALD, JOSEPH K      5120 GRANGE HALL RD                                                                   HOLLY               MI 48442‐8708
MC DONALD, JOSHUA D      5404 DANIEL RAY DRIVE                                                                 WHITES CREEK        TN 37189‐5201
MC DONALD, JOYCE E       5670 MURPHY CT                                                                        WARREN              MI 48092‐6336
MC DONALD, KATHLEEN A    13392 BELSAY RD                                                                       MILLINGTON          MI 48746‐9240
MC DONALD, KEITH R       PO BOX 276                                                                            NEWALLA             OK 74857‐0276
MC DONALD, KENNETH A     40769 PROVENCAL CT                                                                    CLINTON TOWNSHIP    MI 48038‐7126
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Name                          Address1                         Address2            Address3         Address4         City                 State Zip
MC DONALD, KURT D             3661 S SHORE DR                                                                        LAPEER                MI 48446‐9755
MC DONALD, LEATTA E           3551 BIRCHKMOLL COURT                                                                  KENTWOOD              MI 49512
MC DONALD, LEON R             3589 FISHERMAN COURT                                                                   LUZERNE               MI 48636
MC DONALD, LOIS N             729 W VERMONTVILLE HWY                                                                 CHARLOTTE             MI 48813‐9783
MC DONALD, LOIS N             729 W. VERMONTVILLE HWY                                                                CHARLOTTE             MI 48813‐9783
MC DONALD, MARGARET           56 WALNUT ST APT W4F                                                                   MONTCLAIR             NJ 07042‐4927
MC DONALD, MARILYN M          4700 FOX POINTE DR               UNIT 214                                              BAY CITY              MI 48706‐2843
MC DONALD, MARK A             1116 VASSAR                                                                            SOUTH LYON            MI 48178‐2504
MC DONALD, MARK A             1845 N OGEMAW TRL                                                                      WEST BRANCH           MI 48561‐9720
MC DONALD, MARK W             PO BOX 31295                                                                           JACKSON               MS 39286‐1295
MC DONALD, MARY               39899 MEMORY LN                                                                        HARRISON TWP          MI 48045‐1763
MC DONALD, MARY A             2428 N MCKINLEY RD                                                                     FLUSHING              MI 48433‐9459
MC DONALD, MARY ANN           270 E 329TH ST                                                                         EASTLAKE              OH 44095‐3225
MC DONALD, MARY L             12376 ERIKA ST                                                                         HARTLAND              MI 48353‐3018
MC DONALD, MARZELLE           20491 BALFOUR ST APT 2                                                                 HARPER WOODS          MI 48225‐1557
MC DONALD, MICHAEL C          859 FALCON AVE                                                                         WATERFORD             MI 48328‐2501
MC DONALD, MICHAEL H          7310 CRYSTAL LAKE DR APT 5                                                             SWARTZ CREEK          MI 48473‐8955
MC DONALD, MICHAEL HUMPHREY   7310 CRYSTAL LAKE DR APT 5                                                             SWARTZ CREEK          MI 48473‐8955
MC DONALD, MICHAEL J          PO BOX 587                       51 E ELMWOOD                                          LEONARD               MI 48367‐0587
MC DONALD, MILDRED G          1633 WOODBERRY RD                                                                      CHARLOTTE             NC 28212‐7147
MC DONALD, NOEL K             36532 TOM BROWN CT                                                                     WESTLAND              MI 48185‐2630
MC DONALD, NORA E             55 MACSAIN RD                                                                          BUCHANAN              TN 38222‐4962
MC DONALD, OLIVER             350 28TH ST N                                                                          SPRINGFIELD           MI 49037‐4808
MC DONALD, OLIVER             350 N 28TH                                                                             BATTLE CREEK          MI 49037
MC DONALD, PATRICIA T         601 FITZHUGH; APT 328 C                                                                TRAVIS CITY           MI 49684
MC DONALD, PATRICIA T         601 FITZHUGH DR APT 328                                                                TRAVERSE CITY         MI 49684‐6649
MC DONALD, PATRICK G          5558 WALNUT CIR E                                                                      W BLOOMFIELD          MI 48322‐1254
MC DONALD, PATRICK J          41 EDEN ST. (UPPER)                                                                    BUFFALO               NY 14220
MC DONALD, PAULA G            8932 DANZIG ST                                                                         LIVONIA               MI 48150‐3902
MC DONALD, PEGGY A            512 20TH AVE                                                                           INDIAN ROCKS BEACH    FL 33785‐2932
MC DONALD, RAYMOND            3653 RIALTO WAY                                                                        GRAND PRAIRIE         TX 75052‐7214
MC DONALD, REGINALD L         52470 MAURICE DR                                                                       MACOMB                MI 48042‐5640
MC DONALD, RICHARD B          1512 HAYS ST                                                                           HOMESTEAD             PA 15120‐1424
MC DONALD, RICHARD J          1389 PILGRIM AVE                                                                       BIRMINGHAM            MI 48009‐4803
MC DONALD, RICHARD R          1139 N PATTERSON AVE                                                                   SANTA BARBARA         CA 93111‐1113
MC DONALD, RICHARD W          6392 W COLDWATER RD                                                                    FLUSHING              MI 48433‐9038
MC DONALD, ROBERT D           2562 PADUCAH ST                                                                        FLINT                 MI 48504‐7703
MC DONALD, ROBERT D           372 KIRKSWAY LN                                                                        LAKE ORION            MI 48362‐2279
MC DONALD, ROBERT J           7415 SCIOTO PKWY                                                                       POWELL                OH 43065
MC DONALD, ROBERT T           1551 SARGENT AVE SE                                                                    ADA                   MI 49301‐9042
MC DONALD, RUTH E             608 LOOKOUT DR                                                                         COLUMBIA              TN 38401‐6139
MC DONALD, SAUNDRA            4042 S OAK DR                                                                          BEAVERTON             MI 48612‐8813
MC DONALD, SAUNDRA            4042 OAK DR                                                                            BEAVERTON             MI 48612‐8813
MC DONALD, SCOTT W            1157 MEADOWCREST DR                                                                    WATERFORD             MI 48327‐2939
MC DONALD, SIDNEY A           R 3 BOX 170                                                                            REDFORD               MO 63665
MC DONALD, STEVEN P           923 N REMBRANDT AVE                                                                    ROYAL OAK             MI 48067‐2082
MC DONALD, SUSAN M            5935 MARSHWOOD DR                                                                      SYLVANIA              OH 43560‐1018
MC DONALD, SYLVESTRA F        3730 NEW ROAD                                                                          YOUNGSTOWN            OH 44515‐4622
MC DONALD, TERESA A           8538 E 700 S                                                                           UPLAND                IN 46989‐9410
MC DONALD, THELMA M           3817 108TH AVE NORTH                                                                   CLEARWATER            FL 33762‐5433
MC DONALD, THOMAS R           7834 REESE RD                                                                          BIRCH RUN             MI 48415‐9730
MC DONALD, THOMAS RICHARD     7834 REESE RD                                                                          BIRCH RUN             MI 48415‐9730
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Name                        Address1                        Address2            Address3         Address4         City               State Zip
MC DONALD, VELMA            8221 S KINGSTON AVE                                                                   CHICAGO              IL 60617‐1909
MC DONALD, VICTOR G         560 MEISNER RD                                                                        EAST CHINA          MI 48054‐4130
MC DONALD, VIOLET R         7221 RAPIDS RD                                                                        LOCKPORT            NY 14094‐9355
MC DONALD, W D              856 KENWICK RD APT C                                                                  COLUMBUS            OH 43209‐2561
MC DONALD, WANDA I          268 WHARTON RD                                                                        GREENWICH           OH 44837‐9623
MC DONALD, WENDELL          414 CURRY ST                                                                          NORTH VENICE        FL 34275‐2975
MC DONALD, WESLEY R         1823 ROCKYBRANCH PASS                                                                 MARIETTA            GA 30066‐8014
MC DONALD, WILLIAM D        4770 SHERMAN RD                                                                       SAGINAW             MI 48604‐1553
MC DONALD, WILLIAM E        309 E SILVER ST                                                                       BESSEMER            MI 49911‐1147
MC DONALD, WILLIAM E        581 MALLARD STREET                                                                    ROCHESTER HLS       MI 48309‐3523
MC DONALD, WILLIAM H        431 N NECONI AVE                                                                      BONNER SPRINGS      KS 66012‐1524
MC DONALD, WILLIAM S        327 MACDONALDS                                                                        COVINGTON           GA 30014
MC DONALD, WILLIAM W        1951 PALO VERDE BLVD N                                                                LAKE HAVASU CITY    AZ 86404‐1873
MC DONALD, WILLIE           PO BOX 8228                                                                           DETROIT             MI 48208‐0228
MC DONALD, WINONA L         4613 FAIRWOOD LN                                                                      CHATTANOOGA         TN 37416‐3712
MC DONALD, ZULA             11580 OWOSSO RD                                                                       FOWLERVILLE         MI 48836
MC DONALD‐RILEY, SHARON E   1606 GARLAND ST                                                                       FLINT               MI 48503‐1190
MC DONEL, CLEMENTINE        16500 WASHBURN ST                                                                     DETROIT             MI 48221‐2843
MC DONELL, DANIEL L         83 CONDON AVE                                                                         BUFFALO             NY 14207‐1551
MC DONELL, DENNIS P         73 RIVERSIDE AVE. UPPER                                                               BUFFALO             NY 14207
MC DONELL, DENNIS PATRICK   73 RIVERSIDE AVE. UPPER                                                               BUFFALO             NY 14207
MC DONELL, LEE F            3095 N 157TH LN                                                                       GOODYEAR            AZ 85395‐8180
MC DONELL, WILLIAM J        338 SUMMIT AVE                                                                        WEST SENECA         NY 14224‐2327
MC DONIEL, LEONARD M        6237 FOOTHILLS TRL                                                                    GAYLORD             MI 49735‐8780
MC DONNELL, DANIEL P        1 SLEEPY HOLLOW RD                                                                    NEW FAIRFIELD       CT 06812‐5102
MC DONNELL, DAVID D         3039 VOORHEIS LAKE CT                                                                 LAKE ORION          MI 48360‐1868
MC DONNELL, ERIC            1015 SPANISH RIVER RD APT 402                                                         BOCA RATON          FL 33432
MC DONNELL, GERALD J        1690 HELENA AVE                                                                       HARTLAND            MI 48353‐3772
MC DONNELL, HELEN M         2290 CATTLEMEN RD APT 200                                                             SARASOTA            FL 34232‐6270
MC DONNELL, HELEN M         2290 CATTLEMEN RD.              BOX 200                                               SARASOTA            FL 34232
MC DONNELL, IRENE C         7307 36TH CT                                                                          VERO BEACH          FL 32967‐5757
MC DONNELL, JOHN M          3 FERNLANDS CT                                                                        LAKEWOOD            NJ 08701‐7334
MC DONNELL, JOSEPH A        18021 KELLIE CT                                                                       HOLLY               MI 48442‐8623
MC DONNELL, ROBERT J        630 ALICE ST                                                                          SAGINAW             MI 48602‐2708
MC DONNELL, RONALD W        1706 10TH ST N                                                                        SAINT PETERSBURG    FL 33704‐4212
MC DONNELL, THOMAS J        41 20 49 STREET                                                                       SUNNYSIDE           NY 11104
MC DONNELL, VIRGINIA M      7788 OAKLAND PL                                                                       WATERFORD           MI 48327‐1419
MC DONNOLD, LEROY           245 IRONWOOD DR                                                                       W CARROLLTON        OH 45449‐1542
MC DONNOUGH, ROBERT R       804 N ROGERS HWY                                                                      TECUMSEH            MI 49286‐9518
MC DONOUGH I I I, JAMES J   20 UMBER RD                                                                           LEVITTOWN           PA 19056‐2606
MC DONOUGH JR, JOHN E       616 8TH AVE APT 217                                                                   MONROE              WI 53566‐4026
MC DONOUGH, BRIAN M         6935 DICKS AVE                                                                        PHILADELPHIA        PA 19142‐2119
MC DONOUGH, CONSTANCE J     3824 PALL DR                                                                          WARREN              MI 48092‐1951
MC DONOUGH, DENNIS L        421 HASTINGS ST                                                                       HOLLY               MI 48442‐1749
MC DONOUGH, ELIZABETH B     439 2ND ST                                                                            ORADELL             NJ 07649‐1715
MC DONOUGH, GERALD          186 VINE ST                                                                           LOCKPORT            NY 14094‐3030
MC DONOUGH, JAMES L         7197 N GENESEE RD                                                                     GENESEE             MI 48437‐7714
MC DONOUGH, JAMES P         230 2ND AVE SE                                                                        PLAINVIEW           MN 55964‐1522
MC DONOUGH, JAMES W         PO BOX 414                                                                            BEMUS POINT         NY 14712‐0414
MC DONOUGH, KATHLEEN A      34257 PEMBROKE AVE                                                                    LIVONIA             MI 48152‐1202
MC DONOUGH, MICHAEL J       199 TILLSON ST                                                                        ROMEO               MI 48065‐5154
MC DONOUGH, MICHAEL S       3040 CENTER RD                                                                        AVON                OH 44011‐1845
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Name                        Address1                        Address2            Address3         Address4         City               State Zip
MC DONOUGH, MURL E          1104 WOODSTOCK AVE                                                                    TONAWANDA           NY 14150‐4638
MC DONOUGH, RAMONA C        6100 LITTLE PORTAGE LAKE RD                                                           LAND O LAKES        WI 54540‐9745
MC DONOUGH, RICHARD L       17308 QUARRY RD                                                                       WELLINGTON          OH 44090‐8944
MC DONOUGH, THOMAS J        1815 DARRICH DR                                                                       BALTIMORE           MD 21234‐3815
MC DOUGAL, DEAN R           PO BOX 306                                                                            BLOOMFIELD HILLS    MI 48303‐0306
MC DOUGAL, GERALD A         3913 PROCTOR AVE                                                                      FLINT               MI 48504‐3581
MC DOUGAL, GERALD AARON     3913 PROCTOR AVE                                                                      FLINT               MI 48504‐3581
MC DOUGAL, JAMES D          3350 E CLARICE AVE                                                                    HIGHLAND            MI 48356‐2316
MC DOUGAL, JIMMIE L         136 SEA MIST DR                                                                       LEAGUE CITY         TX 77573‐6913
MC DOUGAL, MICHAEL          4112 HAVERHILL ST                                                                     DETROIT             MI 48224
MC DOUGAL, RONALD G         603 FRANKLIN ST                                                                       LINDEN              MI 48451‐9052
MC DOUGAL, RUBY N           209 LOCKE ST                                                                          HOLLY               MI 48442‐1525
MC DOUGALD, EVELYN R        643 YORKSHIRE CT APT B                                                                SAFETY HARBOR       FL 34695‐4301
MC DOUGALD, SAM H           5510 HANLEY                                                                           WATERFORD           MI 48327‐2560
MC DOUGALL, CHARLOTTE       4182 EASTWAY DRIVE #2                                                                 INDIAN RIVER        MI 49749‐9374
MC DOUGALL, EDWARD W        460 DON TAB WAY                                                                       PLANT CITY          FL 33565‐9600
MC DOUGALL, GORDON L        12410 CANADA RD                                                                       BIRCH RUN           MI 48415‐9726
MC DOUGALL, JACK H          605 S MAIN ST                                                                         BELLEVUE            MI 49021‐1420
MC DOUGALL, MARIE H         512 S DAVISON ST                                                                      DAVISON             MI 48423‐1841
MC DOUGALL, MARY A          5814 RAVEN RD                                                                         BLOOMFIELD HILLS    MI 48301‐1052
MC DOUGALL, MICHAEL A       PO BOX 139                                                                            WELLSTON            MI 49689‐0139
MC DOUGALL, MICHAEL ANGUS   PO BOX 139                                                                            WELLSTON            MI 49689‐0139
MC DOUGALL, ROBERT A        53282 ABRAHAM DR                                                                      MACOMB              MI 48042‐2812
MC DOUGALL, RUBY M          4020 GLORIA ST                                                                        WAYNE               MI 48184‐1970
MC DOW, GEORGIANNA          4921 ST ANDREWS ARC                                                                   LEESBURG            FL 34748‐7575
MC DOW, HIRAM J             23322 HERITAGE DR                                                                     WOODHAVEN           MI 48183‐3246
MC DOWALL, ROBERT D         1314 WINDING WILLOW DR                                                                TRINITY             FL 34655‐7121
MC DOWELL JR, ARTICE        348 HIGHGATE AVE                                                                      BUFFALO             NY 14215‐1026
MC DOWELL JR, NORMAN A      8472 INDIAN WELLS WAY                                                                 NAPLES              FL 34113‐3003
MC DOWELL, ALLEN H          6151 MCCUE RD                                                                         HOLT                MI 48842‐9658
MC DOWELL, ANN              5668 SW RIVERPOINT LN                                                                 PORTLAND            OR 97239‐5912
MC DOWELL, BARBARA J        1113 KIM PLACE                                                                        LEMONT               IL 60439‐4316
MC DOWELL, CLEO M           3585 MORNINGSIDE DR                                                                   EL SOBRANTE         CA 94803‐2520
MC DOWELL, DALE R           6270 PONTIAC LAKE RD                                                                  WATERFORD           MI 48327‐1865
MC DOWELL, DAVID A          525 HOLT ST                                                                           MASON               MI 48854‐1723
MC DOWELL, DELORES A        4135 BERRYWOOD DR                                                                     EUGENE              OR 97404‐4060
MC DOWELL, DENNIS A         7707 HOLLISTER RD                                                                     LAINGSBURG          MI 48848‐9232
MC DOWELL, DOUG K           11115 MOUNTAIN VIEW DR                                                                MADERA              CA 93636‐8849
MC DOWELL, ELWYNN L         9385 MAPLE ST                                                                         NEW LOTHROP         MI 48460‐9811
MC DOWELL, GARY L           3419 IRONWOOD AVE                                                                     PORT ST LUCIE       FL 34952‐3103
MC DOWELL, GEORGE W         5105 TOWNLINE RD                                                                      SANBORN             NY 14132‐9398
MC DOWELL, GLENDA M         6829 JOHN R                                                                           TROY                MI 48085‐1052
MC DOWELL, GLENDA M         6829 JOHN R RD                                                                        TROY                MI 48085‐1052
MC DOWELL, HARRY M          5355 W WILLOUGHBY RD                                                                  LANSING             MI 48911‐6636
MC DOWELL, JAMES P          7112 RICHARDSON RD                                                                    HOWELL              MI 48843‐9444
MC DOWELL, JAMES R          RR 9 BOX 521                                                                          GATEWOOD            MO 63942‐9006
MC DOWELL, JEAN             16400 N PARK DR APT 718                                                               SOUTHFIELD          MI 48075‐4727
MC DOWELL, JEFFREY M        PO BOX 791                                                                            BELLEVILLE          MI 48112‐0791
MC DOWELL, JESSIE           95 FRANKLIN ST RM 1304                                                                BUFFALO             NY 14202‐3914
MC DOWELL, JESSIE           95 FRANKLIN ST, ROOM 1304                                                             BUFFALO             NY 14202
MC DOWELL, JOSEPH W         6047 WINDWARD ST                                                                      NORTH BRANCH        MI 48461‐9762
MC DOWELL, JOSEPH WILLIAM   6047 WINDWARD ST                                                                      NORTH BRANCH        MI 48461‐9762
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Name                          Address1                        Address2            Address3         Address4         City               State Zip
MC DOWELL, LOIS S             PO BOX 13357                                                                          FLINT               MI 48501‐3357
MC DOWELL, LORENE A           84 HUNTINGTON CT                                                                      HAMILTON            OH 45013‐3734
MC DOWELL, MELVIN W           RR 1 BOX 305                                                                          SINKS GROVE         WV 24976‐9212
MC DOWELL, MERVIN D           2865 S HADLEY RD                                                                      ORTONVILLE          MI 48462‐9283
MC DOWELL, MILDRED T          15 ASHLEIGH DR                                                                        WAYNESBORO          VA 22980‐6547
MC DOWELL, PATRICIA           1271 RED LEAF LANE                                                                    YPSILANTI           MI 48198‐3168
MC DOWELL, PATRICIA           1271 REDLEAF LN                                                                       YPSILANTI           MI 48198‐3168
MC DOWELL, PATRICIA A         5460 NE JESSUP ST                                                                     PORTLAND            OR 97218‐2465
MC DOWELL, PATRICIA A         5450 NE JESSUP ST                                                                     PORTLAND            OR 97210‐2466
MC DOWELL, PAUL F             6619 NW SIOUX DR                                                                      KANSAS CITY         MO 64152‐1291
MC DOWELL, RICK H             10046 M‐33 SOUTH                                                                      ONAWAY              MI 49765
MC DOWELL, ROBERT L           2731 MOLLYS COURT                                                                     SPRING HILL         TN 37174‐7126
MC DOWELL, RONALD             423 ARROWHEAD DR                                                                      ALLEN               TX 75002‐5309
MC DOWELL, RUSSELL L          12381 N FENTON RD                                                                     FENTON              MI 48430‐9724
MC DOWELL, SUSAN K            1205 ELKHORN RD                                                                       LAKE ORION          MI 48362
MC DOWELL, THELMA W           2906 OLD MILITARY ROAD                                                                SANTA FE            TN 38482‐3301
MC DOWELL, THOMAS R           54 E 4TH ST                                                                           NEW CASTLE          DE 19720‐5014
MC DOWELL, WILLIAM G          24647 LEXINGTON AVE                                                                   EASTPOINTE          MI 48021‐1389
MC DOWELL, WILLIAM GEORGE     24647 LEXINGTON AVE                                                                   EASTPOINTE          MI 48021‐1389
MC DOWELL, WILLIAM M          4598 CLINTON DR                                                                       CLARKSTON           MI 48346‐3700
MC DUFFEE, ANGELINE M         7820 STANLEY MILL DR                                                                  CENTERVILLE         OH 45459‐5147
MC DUFFIE JR, HORACE          PO BOX 531                                                                            DANVILLE             IL 61834‐0531
MC DUFFIE, DONALD E           23600 W 7 MILE RD               APT 215                                               DETROIT             MI 48219‐1762
MC DUFFIE, DONALD E           23600 W 7 MILE RD               APT D215                                              DETROIT             MI 48219
MC DUFFIE, ELEANOR J          12203 E ALASKA PL                                                                     AURORA              CO 80012‐2355
MC DUFFIE, JOSEPH G           PO BOX 320163                                                                         FLINT               MI 48532‐0003
MC DUFFIE, NOVELLA            461 EMSLIE ST                                                                         BUFFALO             NY 14212‐1015
MC DUFFIE, NOVELLA            461 EMSLIE STREET                                                                     BUFFALO             NY 14212‐1015
MC DUFFIE, ROBERT C           13106 MILES DR                                                                        GULFPORT            MS 39503‐2303
MC DUFFIE, THOMAS G           22011 W 64TH TER                                                                      SHAWNEE             KS 66226‐3703
MC DUFFY, MARTHA M            15770 BELLAIRE BLVD #2006                                                             HOUSTON             TX 77083
MC DUGALD, JIMMY R            1471 COUNTY ROAD 294                                                                  HILLSBORO           AL 35643‐3317
MC DUGALD, WILLIE             1483 COUNTY ROAD 294                                                                  HILLSBORO           AL 35643‐3317
MC DUNN, IRENE M              27 STANTON CT                                                                         SCHAUMBURG           IL 60193‐1856
MC DURMON, BOBBY G            3023 S CATHERINE ST                                                                   LANSING             MI 48911‐1810
MC DURMON, WILLIAM            2032 CRAVENS DR                                                                       CROSSVILLE          TN 38572‐6411
MC EACHEN‐TROST, ANTOINETTE   51 BARCREST DR                                                                        ROCHESTER           NY 14616‐2219
MC EACHERN, JAMES M           1800 GRAND AVE APT 329                                                                W DES MOINES         IA 50265‐5050
MC EACHERN, PATRICIA L        10265 SE 178TH ST                                                                     SUMMERFIELD         FL 34491‐7442
MC EACHERN, ROLAND T          10265 SE 178TH ST                                                                     SUMMERFIELD         FL 34491‐7442
MC EACHERON, ROSS A           11223 WOODBRIDGE DR                                                                   GRAND BLANC         MI 48439‐1020
MC EACHERON, ROSS ALLEN       11223 WOODBRIDGE DR                                                                   GRAND BLANC         MI 48439‐1020
MC EACHIN, MARY               128 ASHLEY CIR                                                                        SWARTZ CREEK        MI 48473‐1176
MC EACHRAN, MARY E            13919 DUNDEE ST                                                                       RIVERVIEW           MI 48193‐7533
MC EACHRAN, MARY ELLEN        13919 DUNDEE ST                                                                       RIVERVIEW           MI 48193‐7533
MC EADY, MARY E               5415 GRANDY ST                                                                        DETROIT             MI 48211‐2821
MC ELDOWNEY, DWIGHT E         5139 WESTHILL DR                                                                      LANSING             MI 48917‐4442
MC ELDOWNEY, PATRICIA L       2805 HORSTMAN DR                                                                      KETTERING           OH 45429‐3729
MC ELDUFF, MARK A             8633 N MAIN ST                                                                        KANSAS CITY         MO 64155‐2359
MC ELFISH, DONALD C           8 GOLF HOUSE DR                                                                       LAGUNA VISTA        TX 78578‐2662
MC ELFISH, RICHARD G          4520 NW APACHE DR                                                                     RIVERSIDE           MO 64150‐9707
MC ELFRESH, DONALD J          4337 MEADOWLANE CT                                                                    BLOOMFIELD HILLS    MI 48304‐3209
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Name                           Address1                       Address2               Address3      Address4         City                 State Zip
MC ELHANEY, CAROL E            7 BETSY CT                                                                           YARDVILLE             NJ 08620‐9739
MC ELHANEY, SHIRLEY ANNE       605 LONG MILL RD                                                                     ATHENS                TN 37303‐4502
MC ELHANY, HELEN M             STE 3800                       1221 MCKINNEY STREET                                  HOUSTON               TX 77010‐2053
MC ELHENEY, JOE H              PO BOX 38795                                                                         DETROIT               MI 48238‐0795
MC ELHERON, PATRICK E          743 BASSWOOD DR                                                                      ROCHESTER HLS         MI 48309‐1712
MC ELHERON, ROBERT A           2181 OLD HICKORY BLVD                                                                DAVISON               MI 48423‐2045
MC ELHINNEY, ANNE Q            33 KUSER RD                    APT 1                                                 TRENTON               NJ 08619
MC ELHINNEY, JOHN T            60 GATES MILL CT               HAMILTON SQUARE                                       TRENTON               NJ 08690‐3340
MC ELLIGATT JR, EDWARD C       4880 VALLEY VISTA CIR                                                                TROY                  MI 48098‐4118
MC ELLIGOTT, MICHAEL           46 PAULA DR                                                                          CHEEKTOWAGA           NY 14225‐4432
MC ELMEEL MICHAEL J            38630 GAINSBOROUGH DR                                                                CLINTON TWP           MI 48038‐3224
MC ELMEEL, MICHAEL J           38630 GAINSBOROUGH DR                                                                CLINTON TWP           MI 48038‐3224
MC ELMEEL, ROBERT E            115 LONGMAN LN                                                                       ANN ARBOR             MI 48103‐4028
MC ELMEEL, ROBERT EMMET        115 LONGMAN LN                                                                       ANN ARBOR             MI 48103‐4028
MC ELRATH HEATING & AIR COND   7135 N BRAY RD                                                                       MT MORRIS             MI 48458‐8989
MC ELRATH JR, DONALD R         2030 CASALOMA CT                                                                     FLINT                 MI 48532‐2717
MC ELRATH, CARL R              8325 E BRISTOL RD                                                                    DAVISON               MI 48423‐8767
MC ELRATH, HAYWOOD R           23605 DEZIEL ST                                                                      SAINT CLAIR SHORES    MI 48082‐1122
MC ELRATH, LONNIE E            26 NORTHWOOD DRIVE                                                                   SHAWNEE               OK 74804‐9545
MC ELRATH, MILDRED E           6133 MILLER RD                                                                       SWARTZ CREEK          MI 48473
MC ELRATH, NANCY J             6947 CARPENTER RD                                                                    HARRISON              MI 48625‐8937
MC ELRAVY JR, BOYD             734 RICHFORD ST                                                                      DUQUESNE              PA 15110‐1548
MC ELROY JR, FOREST            1867 N 30TH ST                                                                       KANSAS CITY           KS 66104‐4323
MC ELROY, BARBARA J            504 S LONGFIELD AVE                                                                  SHERWOOD              AR 72120‐6009
MC ELROY, EDMOND L             RR 1 BOX 126                                                                         QUEEN CITY            MO 63561‐9742
MC ELROY, EDWIN A              PO BOX 42                                                                            CUBA                  AL 36907‐0042
MC ELROY, G E                  7813 NATALIE DR                                                                      FORT WORTH            TX 76134‐4630
MC ELROY, JAMES H              1857 CHATUGE SHORES ROAD                                                             HIAWASSEE             GA 30546‐1635
MC ELROY, JANE M.              831 WHITCOMB ST ‐ UPPER                                                              CLEVELAND             OH 44110‐3145
MC ELROY, JIMMY R              1725 HOPE TOWN DR                                                                    MANSFIELD             TX 76063‐8540
MC ELROY, JOEL T               4301 BROOKLINE PL                                                                    NORMAN                OK 73072‐1786
MC ELROY, LOUISE E             46316 LITCHFIELD                                                                     PLYMOUTH              MI 48170‐3547
MC ELROY, MILDRED L            2153 PARADOR BND                                                                     MCDONOUGH             GA 30253‐9059
MC ELROY, PATRICK G            3600 ISLAND CLUB DR APT 4                                                            NORTH PORT            FL 34288‐6610
MC ELROY, PHILIP J             5 NEW FREEDOM RD                                                                     MEDFORD               NJ 08055‐3937
MC ELROY, RICHARD B            849 GILMORE RD                                                                       BEAN STATION          TN 37708‐6509
MC ELROY, SANDRA K             24431 HAYES ST                                                                       TAYLOR                MI 48180‐2163
MC ELROY, STEPHEN J            5890 MIDDLE AVE                                                                      SARASOTA              FL 34243‐2366
MC ELROY, WARREN E             7710 SW 82ND ST                                                                      OCALA                 FL 34476‐6906
MC ELVEEN, ANNIE               2001 BRICK HOUSE RD                                                                  RANDOLPH              VA 23962‐3428
MC ELWAIN JR, ALBERT G         7278 HODGSON RD                                                                      MENTOR                OH 44060‐4641
MC ELWAIN, HELEN               3202 LOWER MOUNTAIN RD                                                               SANBORN               NY 14132‐9427
MC ELWAIN, JAMES L             198 KATYDID RD                                                                       MORGANTON             GA 30560‐2664
MC ELWAIN, MARCELLA            1900 WEST ALPHA COURT #331                                                           LECANTO               FL 34461‐7671
MC ELWAIN, MARCELLA            1900 W ALPHA CT APT 331                                                              LECANTO               FL 34461‐7671
MC ELWAIN, PATRICIA            827 EDENRIDGE DR                                                                     BOARDMAN              OH 44512
MC ELWAIN, ROBERT H            35765 WALDEN CT                                                                      NEW BALTIMORE         MI 48047‐4298
MC ELWAIN, ROBERT L            827 EDENRIDGE DR                                                                     BOARDMAN              OH 44512‐3128
MC ELWAIN, SHIRLEY A           16127 LEXINGTON                                                                      REDFORD               MI 48240‐2432
MC ELWAINE JR, FLETCHER        13641 DEXTER AVE APT 410                                                             DETROIT               MI 48238‐2669
MC ELWEE SR, MICHAEL           8037 LARK LN                                                                         GRAND BLANC           MI 48439‐7251
MC ELWEE, ALLAN D              100 TALSMAN DR UNIT 12                                                               CANFIELD              OH 44406‐1972
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Name                         Address1                       Address2                   Address3      Address4            City                  State Zip
MC ELWEE, DEANNA J           15722 LEONA DR                                                                              REDFORD                MI 48239‐3734
MC ELWEE, RICKY L            4818 CLEVELAND AVE                                                                          KANSAS CITY            KS 66104‐3229
MC ELWEE, TERRY G            1781 CHANDLER WAY                                                                           SAINT CHARLES          MO 63303‐5322
MC ELWEE, VIOLET G.          2012 TRED AVON RD                                                                           BALTIMORE              MD 21221‐1541
MC ELYEA, CHARLES S          PO BOX 9022                    C/O ADAM OPEL, IPC S3‐01                                     WARREN                 MI 48090‐9022
MC ELYEA, CHRISTINE          580 ARROWHEAD LOOP                                                                          MIDWAY                 TN 37809‐4031
MC ELYEA, DAVID D            3949 HUFFMAN RD                                                                             MEDINA                 OH 44256‐7908
MC ELYEA, GEORGIA L          4048 DALLAS ST                                                                              BURTON                 MI 48519‐1751
MC ELYEA, HELEN M            3102 COMANCHE AVE                                                                           FLINT                  MI 48507‐1877
MC ELYEA, MARY T             C/O ADAM OPEL                  PKZ 81‐03                  PO BOX 9022                       WARREN                 MI 48090
MC ELYEA, ROBERT A           3102 COMANCHE AVE                                                                           FLINT                  MI 48507‐1877
MC ENDARFER SR, LARRY L      44373 38TH AVE                                                                              PAW PAW                MI 49079‐9629
MC ENENY, FRANCES C          10640 RIDGELAND AVE APT 2A                                                                  CHICAGO RIDGE           IL 60415‐1889
MC ENTEE, ANNETTE M          2619 VICTRON DR                                                                             ST LOUIS               MO 63129‐3113
MC ENTEER, ISABEL T          527 HUNTING CREEK ROAD                                                                      CANONSBURG             PA 15317‐2329
MC ENTYRE III, ROY           6281 ROUTE 82                                                                               STANFORDVILLE          NY 12581
MC ENTYRE, CAROLYN D         110 PINETREE DR                                                                             FORT MILL              SC 29715‐9767
MC ENTYRE, HERBERT B         110 PINETREE DR                                                                             FORT MILL              SC 29715‐9767
MC ENTYRE, ROY               28060 ABERDEEN ST                                                                           SOUTHFIELD             MI 48076‐2916
MC ETTRICK, MARY ELIZABETH   39 N MILL ST                                                                                HOPKINTON              MA 01748‐2690
MC EVERS, DAVID R            PO BOX 624                                                                                  LESLIE                 MI 49251‐0624
MC EVILLY, PATRICIA A        15681 INKSTER RD                                                                            LIVONIA                MI 48154‐3453
MC EVILY, JOHN V             62 W BARE HILL RD                                                                           HARVARD                MA 01451‐1619
MC EVOY, AGNES B             167 WADSWORTH AVE                                                                           AVON                   NY 14414‐1157
MC EVOY, CAROLE A            3917 SUNAIR CT                                                                              MIAMISBURG             OH 45342‐6777
MC EVOY, ELVIA ROSE          244 WALMAR GRV                                                                              SAINT SIMONS ISLAND    GA 31522‐6005
MC EVOY, MICHAEL J           2203 162ND ST E                                                                             BRADENTON              FL 34211‐9711
MC EVOY, SHARON K            3418 TULIP DR                                                                               BRIDGEPORT             MI 48722‐9540
MC EVOY, THERESA A           441 NW AA HWY                                                                               KINGSVILLE             MO 64061‐9181
MC EVOY, THERESA ANN         441 NW AA HWY                                                                               KINGSVILLE             MO 64061‐9181
MC EWAN, GEORGE F            177 ECKFORD DR                                                                              TROY                   MI 48085‐4744
MC EWAN, JOHN F              8539 IMPERIAL CIR                                                                           PALMETTO               FL 34221‐9543
MC EWAN, MICHAEL F           52137 RIVARD RD                                                                             NEW BALTIMORE          MI 48047‐4293
MC EWAN, MICHAEL F.          52137 RIVARD RD                                                                             NEW BALTIMORE          MI 48047‐4293
MC EWAN, SHIRLEY M           227622 MILE RD.                                                                             SEARS                  MI 49679
MC EWEN, DAVID J             3477 NEWGATE DR                                                                             TROY                   MI 48084‐1230
MC EWEN, EDWARD A            1402 COLTS CIR                                                                              LAWRENCEVILLE          NJ 08648‐3269
MC EWEN, GOLDIE              500 E PASADENA AVE                                                                          FLINT                  MI 48505‐4252
MC EWEN, GORDON T            3149 PHILLIPS AVE                                                                           BERKLEY                MI 48072‐3141
MC EWEN, SANDRA S            19 E GROVE CT                                                                               FREELAND               MI 48623‐7805
MC EWEN, SHELDON R           425 N 400 E                                                                                 RICHFIELD              UT 84701‐2210
MC EWEN, STEWART R           3218 PARKWOOD AVE                                                       WINDSOR ON CANADA
                                                                                                     N8W‐2K8
MC EWEN, SUSAN               2091 CUMMINGS AVE                                                                           BERKLEY               MI   48072‐1016
MC EWEN, VIRGINIA P          45 KRON ST                                                                                  ROCHESTER             NY   14619‐2035
MC EWEN, VIRGINIA P          45 KRON STREET                                                                              ROCHESTER             NY   14619‐2035
MC FADDEN JR., LYLE E        4476 SPRINGBROOK DR                                                                         SWARTZ CREEK          MI   48473‐1486
MC FADDEN JR., LYLE E.       4476 SPRINGBROOK DR                                                                         SWARTZ CREEK          MI   48473‐1486
MC FADDEN, ANNIE L           72 ROYCROFT DR                                                                              ROCHESTER             NY   14621‐3726
MC FADDEN, BEVERLY           925 DARTMOOR CIR                                                                            NOKOMIS               FL   34275‐1680
MC FADDEN, CHESTER R         2223 OLD SALEM RD                                                                           AUBURN HILLS          MI   48326‐3429
MC FADDEN, CRYSTAL K         1223 W BARNES AVE                                                                           LANSING               MI   48910‐1209
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Name                      Address1                       Address2            Address3         Address4         City             State Zip
MC FADDEN, DOLPHAN B      259 VISCOUNT DR                                                                      ROCHESTER         NY 14623‐4637
MC FADDEN, DOLPHAN B      3266 WOODGLEN DR                                                                     ORANGE PARK       FL 32065‐6683
MC FADDEN, DONALD W       2392 HAZLETTVILLE RD                                                                 DOVER             DE 19904‐5538
MC FADDEN, DORIS B        1387 WEST YALE AVENUE                                                                FLINT             MI 48505‐1171
MC FADDEN, DORIS M        1035 2 1/2 MEDINA RD                                                                 CLAYTON           MI 49235
MC FADDEN, ELLIOTT C      10 SALZER HTS                                                                        W HENRIETTA       NY 14586‐9664
MC FADDEN, EMILY L        PO BOX 447                                                                           EASTPORT          MI 49627‐0447
MC FADDEN, EVELYN B       11546 WAESCHE DR                                                                     MITCHELLVILLE     MD 20721‐2268
MC FADDEN, GENE           19610 MAGNOLIA PKWY                                                                  SOUTHFIELD        MI 48075‐7310
MC FADDEN, GEORGE F       14246 COTTAGE GROVE AVE                                                              DOLTON             IL 60419‐1355
MC FADDEN, HOWARD W       2565 SFC 236                                                                         COLT              AR 72326‐8552
MC FADDEN, HOWARD W       13482 WEST OUTER DRIVE                                                               REDFORD           MI 48239‐1309
MC FADDEN, IDA P          159 LONGVIEW TER                                                                     ROCHESTER         NY 14609‐4207
MC FADDEN, JAMES R        343 WHISPERING WINDS                                                                 OXFORD            MI 48371‐5192
MC FADDEN, JOHN C         530 INDEPENDENCE DR                                                                  ROEBUCK           SC 29376‐3339
MC FADDEN, JOHN W         309 ARBORWOOD LN                                                                     ROCHESTER         NY 14615‐3856
MC FADDEN, JOYCE C        2441 E GRAND BLANC RD                                                                GRAND BLANC       MI 48439‐8114
MC FADDEN, LYLE E         221 LAHOMA ST                                                                        LANSING           MI 48915‐1821
MC FADDEN, M J            7301 NEW JERSEY AVE                                                                  WILDWOOD CREST    NJ 08260‐1233
MC FADDEN, MARVIN G       925 DARTMOOR CIR                                                                     NOKOMIS           FL 34275‐1680
MC FADDEN, MATTIE A       2950 E N ST                    BLD 800 H                                             GREENVILLE        SC 29615
MC FADDEN, MATTIE A       305 COLE RD                                                                          GREENVILLE        SC 29611‐5517
MC FADDEN, MORGAN D       159 LONGVIEW TER                                                                     ROCHESTER         NY 14609‐4207
MC FADDEN, ROSAL          6127 OTOOLE LN                                                                       MOUNT MORRIS      MI 48458‐2627
MC FADDEN, SHERRON Y      1252 HEATHERWOOD LN                                                                  PONTIAC           MI 48341‐3173
MC FADDEN, TERRY R        4485 E FROST RD                                                                      WEBBERVILLE       MI 48892‐9286
MC FADDEN, WILLIE C       5 COUNTRY LN                                                                         TEXARKANA         TX 75501‐9591
MC FADDIN, JOHN W         38764 MEADOWLAWN ST                                                                  WAYNE             MI 48184‐1037
MC FADYEN, ANTOINETTE     10165 PLUMTREE CIRCLE                                                                HALES CORNERS     WI 53130
MC FADZEN, JOHN B         344 LIVE OAK BLVD                                                                    SANFORD           FL 32773‐5662
MC FALL JR, HARRY         14711 IVORYSTONE NE                                                                  CEDAR SPRINGS     MI 49319‐7804
MC FALL, FLORA M          915 E MAIN ST                                                                        FLUSHING          MI 48433‐2237
MC FALL, J M              1641 CHARLEVOIS DR                                                                   TROY              MI 48085‐5094
MC FALL, JOSEPH S         1060 WEDGEWOOD DR                                                                    PLAINWELL         MI 49080‐1200
MC FALL, KENNETH D        18590 ROBERT ST                                                                      MELVINDALE        MI 48122‐1452
MC FALL, LARRY D          18590 ROBERT ST                                                                      MELVINDALE        MI 48122‐1452
MC FALL, LESLIE J         9157 E RICHFIELD RD                                                                  DAVISON           MI 48423
MC FALL, MICHAEL W        3912 EASTERN DR                                                                      ANDERSON          IN 46012‐9445
MC FALL, PEGGY M          9 GLENWOOD DR                                                                        ATTICA            NY 14011
MC FALL, PEGGY M          15 OVERVIEW CIR                                                                      ROCHESTER         NY 14623‐2016
MC FALL, RICHARD G        9438 E JAN AVE                                                                       MESA              AZ 85209‐7006
MC FALL, ROBERT D         14200 34 MILE RD                                                                     BRUCE TWP         MI 48065‐3304
MC FARLAND JR, ROBERT N   823 BURNS RD                                                                         MILFORD           MI 48381‐1207
MC FARLAND JR, WILLIAM    2423 POLK WAY                                                                        STOCKTON          CA 95207‐3314
MC FARLAND JR., JOE P     2111 BELAFONTE LN                                                                    ORLANDO           FL 32811‐5086
MC FARLAND, ALLEN R       270 N DIAMONDBACK WAY                                                                MARICOPA          AZ 85239‐7058
MC FARLAND, ANN           15021 KINLOCH                                                                        REDFORD           MI 48239‐3122
MC FARLAND, BARBARA M     1160 ERVIN CHAMBERS                                                                  MAYSVILLE         GA 30558
MC FARLAND, BONNIE J      10404 GREENBRIAR RD                                                                  MADISONVILLE      TX 77864‐4290
MC FARLAND, BOYD A        16200 ROUGH OAK ST APT 1912                                                          SAN ANTONIO       TX 78232‐1861
MC FARLAND, CATHERINE A   15338 SAINT MARYS ST                                                                 DETROIT           MI 48227‐1926
MC FARLAND, CHARLES E     15807 HARDEN CIR                                                                     SOUTHFIELD        MI 48075
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Name                         Address1                       Address2                   Address3   Address4         City                  State Zip
MC FARLAND, CHARLES J        49219 VILLAGE POINTE DR                                                               SHELBY TOWNSHIP        MI 48315‐3988
MC FARLAND, CHERYL L         8361 EAGLE PASS DR                                                                    HUBER HEIGHTS          OH 45424‐1307
MC FARLAND, DAVID R          7367 BROOKVIEW DR                                                                     BRIGHTON               MI 48116‐9494
MC FARLAND, DAVID T          15021 KINLOCH                                                                         REDFORD                MI 48239‐3122
MC FARLAND, DELORES J        46489 KILLARNEY CIR                                                                   CANTON                 MI 48188‐3501
MC FARLAND, DOROTHY D.       31615 CARMODY DRIVE                                                                   WARREN                 MI 48092‐1397
MC FARLAND, DORSEY O         9138 ABOITE CENTER RD                                                                 FORT WAYNE             IN 46804‐2709
MC FARLAND, DUANE D          170 BUTLER LAKE DR                                                                    SAINT SIMONS ISLAND    GA 31522‐5437
MC FARLAND, EDWARD C         989 CARSON DR                                                                         LEBANON                OH 45036‐1372
MC FARLAND, EDWARD G         126 S PLEASANT VALLEY RD                                                              MILFORD                MI 48380‐2613
MC FARLAND, FRANCES          355 N HAWTHORNE ST                                                                    WESTLAND               MI 48185‐3692
MC FARLAND, GARY             15021 KINLOCH                                                                         REDFORD                MI 48239‐3122
MC FARLAND, GEORGE R         4129 HIGHWAY B                                                                        PARK HILLS             MO 63601‐8109
MC FARLAND, GEORGIA A        6710 ELLENTON‐GILLETTE RD      SHADOW BROOK MHP LOT 259                               PALMETTO               FL 34221
MC FARLAND, GERTRUDE I       3788 COFFEAT DR                                                                       BELLBROOK              OH 45305‐8966
MC FARLAND, GLADYS C         101 ELEANOR CT                                                                        LAKE PLACID            FL 33852‐9267
MC FARLAND, HELEN M          PO BOX 596                                                                            LONG LAKE              NY 12847‐0596
MC FARLAND, JAMES C          6710 36TH AVE E LOT 259                                                               PALMETTO               FL 34221‐8611
MC FARLAND, JAMES D          2733 STIRLING CT                                                                      CARLSBAD               CA 92010‐6509
MC FARLAND, JANE G           16689 LAKEWOOD DR                                                                     HOLLY                  MI 48442
MC FARLAND, JEFFREY J        3531 STONERIDGE CT                                                                    COMMERCE TOWNSHIP      MI 48382‐1096
MC FARLAND, JEFFREY T        1711 W WHITE ST                                                                       BAY CITY               MI 48706‐3280
MC FARLAND, LORRAIN C.       24323 HARRISON STREET                                                                 CLINTON TWP            MI 48035‐3834
MC FARLAND, LUELLA           9138 ABOITE CENTER RD                                                                 FORT WAYNE             IN 46804
MC FARLAND, MICHAEL T        4070 N WAYSIDE DR                                                                     SAGINAW                MI 48603‐3054
MC FARLAND, MORRIS           6358 WALTON ST                                                                        DETROIT                MI 48210‐1128
MC FARLAND, PATRICIA A       1985 FOX TRACE TRL                                                                    CUYAHOGA FALLS         OH 44223‐3740
MC FARLAND, PAUL D           14326 MARSHALL RD                                                                     MONTROSE               MI 48457‐9717
MC FARLAND, RONALD E         355 N HAWTHORNE ST                                                                    WESTLAND               MI 48185‐3692
MC FARLAND, SALLIE S         171 DREXMORE RD                                                                       ROCHESTER              NY 14610‐1215
MC FARLAND, SANDRA           PO BOX 65                                                                             GALVESTON              IN 46932
MC FARLAND, SPARKLE C        186 FOLLY ST                                                                          WINDER                 GA 30680‐2213
MC FARLAND, VERNON R         PO BOX 65                                                                             GALVESTON              IN 46932‐0065
MC FARLAND, VIVIAN J         1650 BURLINGTON DR                                                                    HICKORY CORNERS        MI 49060‐9305
MC FARLAND, WILLIAM J        4590 GREEN MEADOW LN                                                                  ROCHESTER              MI 48306‐1752
MC FARLAND, WILLIAM R        4791 KELSO RD                                                                         NORTH ADAMS            MI 49262‐9739
MC FARLAND‐JONES, LOENNA J   2100 BRACEY DR                                                                        SPRINGFIELD            TN 37172‐4730
MC FARLANE, ARTHUR G         1873 REDMAN RD                                                                        HAMLIN                 NY 14464‐9635
MC FARLANE, BERNARD H        3221 E BALDWIN RD APT 426                                                             GRAND BLANC            MI 48439‐7359
MC FARLANE, DONALD H         2165 PRAIRIE VW                                                                       GRAND BLANC            MI 48439‐8097
MC FARLANE, ELDON M          7485 COUNTRY MEADOW DR                                                                SWARTZ CREEK           MI 48473‐1400
MC FARLANE, HARRY D          1376 ROBINWOOD DR                                                                     FLUSHING               MI 48433‐1851
MC FARLANE, JOE J            6954 LAKEVIEW BLVD APT 21112                                                          WESTLAND               MI 48185‐6636
MC FARLANE, JOHN J           2786 STANIS LN                                                                        WASHINGTON             MI 48095‐1622
MC FARLANE, LILLIE M         829 WOODLAND AVE                                                                      BURLINGTON             NJ 08016‐1238
MC FARLANE, PERRY J          2514 OHIO AVE                                                                         FLINT                  MI 48506‐3868
MC FARLANE, ROBERT D         601 PARK VW                                                                           CLIO                   MI 48420‐1400
MC FARLANE, TED L            5643 EWALT RD                                                                         IMLAY CITY             MI 48444‐8927
MC FARLIN, EVELYN            21837 WENDELL ST                                                                      CLINTON TWP            MI 48036‐2650
MC FARLIN, FREDDIE L         19320 GREENFIELD RD APT 1212                                                          DETROIT                MI 48235‐2094
MC FARLIN, GREGORY B         422 PARKWOOD DRIVE                                                                    ASHLAND                OH 44805‐4133
MC FARLIN, JIMMIE F          29038 ELMWOOD ST                                                                      GARDEN CITY            MI 48135‐2414
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Name                      Address1                        Address2               Address3      Address4         City               State Zip
MC FARLIN, JULIUS         9420 W 49TH TER                                                                       MERRIAM             KS 66203‐1750
MC FARTHING, BOBBY K      8202 HESSEN CASSEL RD                                                                 FORT WAYNE          IN 46816‐2638
MC FATRIDGE, CHARLES R    2501 W IRVINGTON PL                                                                   TUCSON              AZ 85746‐4212
MC FAUL JR, IVAN R        47174 GRAND OAK CT                                                                    CANTON              MI 48187‐5501
MC FAUL, HARRY J          5130 SE INKWOOD WAY                                                                   HOBE SOUND          FL 33455‐7848
MC FAUL, KATHY Y          18201 DONOHUE RD                                                                      PINCKNEY            MI 48169‐8868
MC FAUL, MARIE M          2379 TIMON ROAD                                                                       EVERSON             WA 98247‐9372
MC FEE, CYNTHIA           920 JOHN R RD APT 419                                                                 TROY                MI 48083‐4309
MC FEE, EARL              7601 E JEFFERSON AVE APT 1208                                                         DETROIT             MI 48214
MC FEE, GERALD F          6024 MAYBURN ST                                                                       DEARBORN HTS        MI 48127‐3238
MC FEE, GERALDINE E       832 MARSH HAWK RD                                                                     MATHEWS             VA 23109
MC FEE, JOE L             8022 S HARPER AVE                                                                     CHICAGO              IL 60619‐4637
MC FEE, M                 RTE 4 RTE 1 BOX 766                                                                   BENTON              AR 72015‐9804
MC FEE, PATRICIA A        40643 WOODSIDE DR                                                                     CLINTON TWP         MI 48038‐4185
MC FEE, THERESA           6531 ROSEMARY ST                                                                      DEARBORN HTS        MI 48127‐3912
MC FEELEY, JOHN V         309 CENTER AVE                                                                        GREENSBURG          PA 15601‐1924
MC FEELY, HARRY A         35834 BAL CLAIR ST                                                                    NEW BALTIMORE       MI 48047‐2458
MC FEELY, HARRY ALFRED    35834 BAL CLAIR ST                                                                    NEW BALTIMORE       MI 48047‐2458
MC FERRIN JR, RICHARD J   17270 NEW JERSEY ST                                                                   SOUTHFIELD          MI 48075‐2806
MC FERRIN SR, RICHARD J   3123 POTOMAC CT                                                                       ANN ARBOR           MI 48108‐9102
MC FERRIN, CAROL B        3123 POTOMAC CT                                                                       ANN ARBOR           MI 48108‐9102
MC FERRIN, WILLIAM P      574 WARWICK WILLOW CV                                                                 COLLIERVILLE        TN 38017‐7340
MC FETRIDGE, ROBERT E     33 CEDAR STREET                                                                       COHASSET            MA 02025‐1211
MC FETTERS, CHARLES C     29562 CLARITA ST                                                                      LIVONIA             MI 48152‐1944
MC FIELD, JOHN H          3920 W GLADYS AVE                                                                     CHICAGO              IL 60624‐3119
MC FOLLEY, VINCENT H      1641 BROADSTONE ROAD                                                                  GROSSE POINTE       MI 48236‐1948
MC FRY, GARY W            PO BOX 363                                                                            PIKETON             OH 45661‐0363
MC GAFFIC, GEORGE R       1308 SUNNYSIDE ST                                                                     E LIVERPOOL         OH 43920‐1652
MC GAFFICK, ROBERT E      312 LINWOOD AVE                                                                       ALBION              NY 14411‐9637
MC GAFFIN, LEONA B        2131 BASELINE RD APT 1                                                                GRAND ISLAND        NY 14072‐2081
MC GAHA, CARMON H         4635 TANGLEWOOD WAY                                                                   HARTFORD            TN 37753‐2412
MC GAHA, CLIFFORD T       4 COURT DR                                                                            COUNTRYSIDE          IL 60525‐4745
MC GAHA, CLIFFORD T       4 CT DR                                                                               LAGRANGE             IL 60525‐4745
MC GAHA, JERRY W          1112 SHAWNEE TRL                                                                      YOUNGSTOWN          OH 44511‐1346
MC GAHHEY, JAMES H        6790 BALFOUR AVE                                                                      ALLEN PARK          MI 48101‐2306
MC GAHHEY, JAMES HERMAN   6790 BALFOUR AVE                                                                      ALLEN PARK          MI 48101‐2306
MC GAHHEY, KATHERINE L    2304 DOWNING ST                                                                       MELVINDALE          MI 48122‐1904
MC GANN, EVELYN P         715 CLARKE RD                                                                         MARTINSVILLE        VA 24112‐5405
MC GARD LLC               3875 CALIFORNIA RD                                                                    ORCHARD PARK        NY 14127‐2239
MC GARD LLC               CHRIS SMITH X2219               3875 CALIFORNIA ROAD                                  DEARBORN            MI
MC GAREY, GORDON F        12784 WOOD RD                                                                         BATH                MI 48808‐8459
MC GAREY, JAMES H         3875 ZIMMER RD                                                                        WILLIAMSTON         MI 48895‐9365
MC GAREY, ORVEL M         7620 NW 28TH TER                                                                      BETHANY             OK 73008‐4430
MC GARR, MARY T           13344 WENHAM AVE                                                                      BATON ROUGE         LA 70815‐6959
MC GARR, WILLIAM I        13344 WENHAM AVE                                                                      BATON ROUGE         LA 70815‐6959
MC GARRAH, BESSIE         18 WOODFORD LN                  C/O REATHEA E HOLMES                                  PALM COAST          FL 32164‐7927
MC GARRITY, BEVERLY J     2446 HEARTHSIDE DR                                                                    YPSILANTI           MI 48198‐9215
MC GARRITY, KAREN A       358 WIDGEDON LNDG                                                                     HILTON              NY 14468‐8943
MC GARRITY, THOMAS J      358 WIDGEDON LNDG                                                                     HILTON              NY 14468‐8943
MC GARRY JR, SHERIDAN L   4043 INDIAN SUMMER DR SE                                                              OLYMPIA             WA 98513‐4281
MC GARRY RAYMOND G        2932 BIRNAM CT                                                                        OAKLAND TOWNSHIP    MI 48306‐4904
MC GARRY, DANIEL P        2341 GEORGELAND TRAIL                                                                 DAYTON              OH 45459‐1363
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Name                       Address1                      Address2            Address3         Address4         City               State Zip
MC GARRY, JAMES J          355 ELM ST                                                                          MOUNT MORRIS        MI 48458‐1911
MC GARRY, JOANNE A         2158 HAYES STREET                                                                   MARNE               MI 49435‐8787
MC GARRY, JOANNE A         2158 HAYES ST                                                                       MARNE               MI 49435‐8787
MC GARRY, MICHAEL C        6135 MAHONING AVE                                                                   AUSTINTOWN          OH 44515‐2002
MC GARRY, NORMAN D         11689 MOUNT PLEASANT RD                                                             ROCKVALE            TN 37153‐4638
MC GARRY, RAYMOND G        2932 BIRNAM CT                                                                      OAKLAND TOWNSHIP    MI 48306‐4904
MC GARRY, STEPHEN L        1853 CAMPUS CT                                                                      ROCHESTER HLS       MI 48309‐2159
MC GARRY, STEVEN M         1932 PERSIMMON PATH                                                                 HOLT                MI 48842‐1569
MC GARRY, THOMAS D         813 WATERSMEET DRIVE                                                                OXFORD              MI 48371‐6616
MC GARRY, THOMAS J         3141 COLUMBRINA CIR                                                                 PORT SAINT LUCIE    FL 34952‐2601
MC GARRY, WARREN D         9850 SE 179TH PL                                                                    SUMMERFIELD         FL 34491‐8419
MC GARTLAND, MAUREEN F     8690 SE 155TH PL                                                                    SUMMERFIELD         FL 34491‐4344
MC GATHEY, JUDITH A        PO BOX 1826673                                                                      ROCKBRIDGE          OH 43149
MC GATHEY, NANCY V         3685 KINGSWAY DR                                                                    CROWN POINT         IN 46307‐8936
MC GATHY, ROY E            664 GINGER RD                                                                       IMLAY CITY          MI 48444‐8906
MC GAUGH, REBECCA H        321 ELMWOOD DR                                                                      WEST MONROE         LA 71291‐2119
MC GAUGHEY JR, OTIS D      1213 NW CHESWICK PL                                                                 LAWTON              OK 73505‐4014
MC GAUGHEY, CARROLL H      2735 LISA LN                                                                        TYLER               TX 75701‐7428
MC GAUGHEY, MARY           PO BOX 516                                                                          UNION LAKE          MI 48387‐0516
MC GAUGHY, CHARLES R       155 BALSAM CT                                                                       YOUNGSTOWN          OH 44507‐1061
MC GAUGHY, JOEL V          3131 WOLCOTT ST                                                                     FLINT               MI 48504‐3257
MC GAUGHY, KATHLEEN        3131 WOLCOTT ST                                                                     FLINT               MI 48504‐3257
MC GAUGHY, MICHAEL         738 TILDEN ST                                                                       FLINT               MI 48505‐3953
MC GAUGHY, NOLA G          11050 N ELMS RD                                                                     CLIO                MI 48420‐9418
MC GAUGHY, NOLA G          11050 NORTH ELMS RD                                                                 CLIO                MI 48420‐9418
MC GAVER, KAREN A          6026 S NEW YORK AVE                                                                 CUDAHY              WI 53110‐2832
MC GEATHY, DELBERT L       4666 SPRUCE RD                                                                      OSCODA              MI 48750‐9474
MC GEATHY, DIANNE R        4184 W LAKE RD                                                                      CLIO                MI 48420‐8852
MC GEATHY, DIANNE RENNIE   4184 W LAKE RD                                                                      CLIO                MI 48420‐8852
MC GEE JR, CLAYTON         649 ALLCUTT AVENUE                                                                  BONNER SPRNGS       KS 66012‐1817
MC GEE JR, DONALD F        927 RIDGEVIEW DR                                                                    HURON               OH 44839‐2677
MC GEE JR, FRANK           6167 FIELD ST                                                                       DETROIT             MI 48213‐2456
MC GEE JR, THOMAS J        1019 N EDGEWORTH AVE                                                                ROYAL OAK           MI 48067‐1500
MC GEE JR, WILLIAM R       2752 PIKE RD                                                                        STARKVILLE          MS 39759‐7982
MC GEE, ALEXANDER C        6707 PAWSON RD                                                                      ONSTED              MI 49265‐9819
MC GEE, ALEXANDER C        1032 TOMPKINS DR                                                                    CEMENT CITY         MI 49233‐9706
MC GEE, ANDERSON S         11400 SILICA RD                                                                     NORTH JACKSON       OH 44451‐9605
MC GEE, ANTHONY J          17998 SE 123RD TER                                                                  SUMMERFIELD         FL 34491‐8048
MC GEE, ANTONIO            4107 BANDURY DR                                                                     LAKE ORION          MI 48359‐1857
MC GEE, BRIAN P            43202 HERRING DR                                                                    CLINTON TOWNSHIP    MI 48038‐4443
MC GEE, CAROLYN D          4209 PIN OAK RD                                                                     RALEIGH             NC 27604‐4722
MC GEE, CARRIE M           1502 W 13 MILE RD                                                                   MADISON HTS         MI 48071‐2091
MC GEE, CHARLEY            16238 SNOWDEN ST                                                                    DETROIT             MI 48235‐5204
MC GEE, DENNIS J           1525 HOLLYWOOD ST NE                                                                WARREN              OH 44483‐4155
MC GEE, DIANE M            311 MEREDITH DR                                                                     MUSCLE SHOALS       AL 35661‐1464
MC GEE, DIANE M            311 MEREDITH ST                                                                     MUSCLE SHOALES      AL 35661
MC GEE, DIANNE M           13926 VILLANOVA AVE                                                                 CHINO               CA 91710‐7116
MC GEE, DONALD R           51122 US 131                                                                        THREE RIVERS        MI 49093
MC GEE, DONNA              46 GANGES BLVD                                                                      SWARTZ CREEK        MI 48473‐1604
MC GEE, ELLA W             5357 SPOKANE ST                                                                     DETROIT             MI 48204‐5026
MC GEE, FLOYD L            1834 S 12TH AVE                                                                     MAYWOOD              IL 60153‐3118
MC GEE, FREDERICK WAYN     5970 KINGSBURY ST                                                                   KINGSTON            MI 48741
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Name                      Address1                       Address2            Address3         Address4               City              State Zip
MC GEE, HARLENE           29330 DORSEY ST                                                                            SUN CITY           CA 92586‐3205
MC GEE, HAROLD E          9210 ARBAN DR                                                                              SAINT LOUIS        MO 63126‐2108
MC GEE, HELEN G           510 GRANDERVIEW APT 2                                                                      MILFORD            MI 48381‐1506
MC GEE, JAMES L           231 S BLACKSTONE AVE                                                                       GLENWOOD            IL 60425‐2035
MC GEE, JAMES M           1100 WALKER LAKE ONTARIO RD                                                                HILTON             NY 14468‐9171
MC GEE, JAMES R           PO BOX 816                                                                                 UTOPIA             TX 78884‐0816
MC GEE, JENNIFER G        201 RIDGEHAVEN ST                                                                          MONROE             LA 71202‐6241
MC GEE, JOE L             PO BOX 13161                                                                               LANSING            MI 48901‐3161
MC GEE, JOHN W            549 AUTHUR ST                                                                              PONTIAC            MI 48341
MC GEE, KATHERINE E       269 DELLWOOD AVE                                                                           PONTIAC            MI 48341‐2738
MC GEE, LEONTINE G        85 DIAMOND DR                                                                              PLAINVIEW          NY 11803‐3026
MC GEE, LINDA C           5971 DELANO RD                                                                             OXFORD             MI 48371‐1229
MC GEE, LINDA D           30519 MOULIN AVE                                                                           WARREN             MI 48088‐3149
MC GEE, LINDA J           3319 CAYMAN LN                                                                             NAPLES             FL 34119‐1608
MC GEE, LOLA P            706 S BROAD ST                                                                             TRENTON            NJ 08611
MC GEE, LORETTA           11400 SILICA RD                                                                            NORTH JACKSON      OH 44451‐9605
MC GEE, MARCIA A          850 DOWNHILL LN                                                                            ROCHESTER HILLS    MI 48307‐3341
MC GEE, MARVIN D          10508 DOVE CHASE CIR                                                                       LOUISVILLE         KY 40299‐4678
MC GEE, MARY E            4428 ESTA DRIVE                                                                            MILWAUKEE          WI 53222
MC GEE, MARY J            1131 GREEN MEADOWS DR                                                                      GRAND BLANC        MI 48439‐8903
MC GEE, MARY M            6233 E POTTER RD                                                                           DAVISON            MI 48423‐9584
MC GEE, MAURICE           18 SAWYER AVE                                                                              LA GRANGE           IL 60525
MC GEE, MELVIN L          PO BOX 602                                                                                 MOUNT MORRIS       MI 48458‐0602
MC GEE, MICHAEL J         47534 HICKORY ST APT 25211                                                                 WIXOM              MI 48393‐2707
MC GEE, MICHAEL V         850 DOWNHILL LN                                                                            ROCHESTER HLS      MI 48307‐3341
MC GEE, OMER G            8426 MANDAN CT                                                                             INDIANAPOLIS       IN 46217‐5022
MC GEE, ROBERT            PO BOX 23102                                                                               LANSING            MI 48909‐3102
MC GEE, ROBERT R          8880 KEENEY RD                                                                             LE ROY             NY 14482‐9305
MC GEE, SAMELLA           6218 S SEELEY AVE                                                                          CHICAGO             IL 60636‐2136
MC GEE, SHEILA A          1494 SW 151ST AVE                                                                          PEMBROKE PINES     FL 33027‐2373
MC GEE, TERESA            129 EDNA ST                                                                                NORTH AUGUSTA      SC 29841‐2322
MC GEE, THEODORE          122 COUNCIL FIRE DR                                                                        CHATTANOOGA        TN 37421‐4277
MC GEE, THOMAS J          1131 GREEN MEADOWS DR                                                                      GRAND BLANC        MI 48439‐8903
MC GEE, THOMAS K          PO BOX 361                                                                                 BURNS              TN 37029‐0361
MC GEE, THOMAS L          32327 GLEN ST                                                                              WESTLAND           MI 48186‐8923
MC GEE, THOMAS L          32610 MONTMORENCY ST                                                                       WESTLAND           MI 48186‐4746
MC GEE, WILLIAM A         2976 N 77TH ST                                                                             MILWAUKEE          WI 53222‐5016
MC GEE, WILLIE            26276 CORNWALL                                                                             SOUTHFIELD         MI 48076‐4785
MC GEEHAN, PATRICIA M.    8 MEA LN                                                                                   BEACH HAVEN        NJ 08008‐3633
MC GEHEE, FREDDIE J       7540 HIDDEN ACRES DR                                                                       MEDINA             OH 44256‐8854
MC GEHEE, IRENE C.        5058 BACK SQUARE DR. #320                                                                  OWENSBORO          KY 42301‐7470
MC GEHEE, MAXINE E        6934 N 14TH ST                                                                             KALAMAZOO          MI 49009‐5461
MC GEOCH, AGNES N         5278 NORTHWAY DR                                                                           SWARTZ CREEK       MI 48473‐8227
MC GEOCH, ALEXANDER F     8 KAMES BAY                                                         MILLPORT ISLE OF CUM
                                                                                              UNITED KINGDOM KA280
MC GEOGH, MARTIN P        2121 LAUREL OAK DR                                                                         HOWELL            MI   48855‐7676
MC GEORGE, BEVERLY M      767 PARK AVE APT 102                                                                       YOUNGSTOWN        OH   44510‐1668
MC GEORGE, BRUCE          5924 WARRENPARK LN                                                                         KNOXVILLE         TN   37912‐4468
MC GEORGE, CARL D         5833 JACKSON ST                                                                            TAYLOR            MI   48180‐1366
MC GEORGE, CARL DOUGLAS   5833 JACKSON ST                                                                            TAYLOR            MI   48180‐1366
MC GEORGE, JERI L         1811 N CANAL RD                                                                            LANSING           MI   48917‐8658
MC GEORGE, LARRY E        16323 29 MILE ROAD                                                                         ALBION            MI   49224‐9422
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Name                         Address1                     Address2            Address3         Address4         City                  State Zip
MC GEORGE, MARGARET          05921 US 131 SOUTH                                                                 BOYNE FALLS            MI 49713‐9229
MC GEORGE, MARGARET          5921 US HIGHWAY 131 S                                                              BOYNE FALLS            MI 49713‐9229
MC GETTIGAN, JOSEPH J        309 SANDALIN LN                                                                    PEACHTREE CITY         GA 30269‐3207
MC GETTIGAN, JOSEPH J        309 SANDALIN LANE                                                                  PEACHTREE CTY          GA 30269‐3207
MC GETTRICK, GARY A          1740 CLIFFS LANDING          APT 101 A                                             YPSILANTI              MI 48198
MC GETTRICK, THOMAS L        4835 ATTICA RD                                                                     ATTICA                 MI 48412‐9701
MC GHEE        N/, LAURA A   RR2                                                                                MULKEYTOWN              IL 62865‐9802
MC GHEE JR, FRANK            7707 BANKSIDE DR                                                                   HOUSTON                TX 77071‐1803
MC GHEE, ANDRE F             11542 CONNER ST                                                                    DETROIT                MI 48205‐3703
MC GHEE, BENNIE L            821 PALLISTER ST                                                                   DETROIT                MI 48202‐2603
MC GHEE, BETTY J             1712 COSTELLO DRIVE                                                                ANDERSON               IN 46011‐3111
MC GHEE, CHARLES D           7133 BLUEWATER DR                                                                  CLARKSTON              MI 48348‐4274
MC GHEE, DAN                 PO BOX 131                                                                         BUFFALO                NY 14209‐0131
MC GHEE, DONTA M             4831 GRAYTON ST                                                                    DETROIT                MI 48224‐2363
MC GHEE, ETHELYN M           437 MULFORD AVE                                                                    DAYTON                 OH 45417‐2035
MC GHEE, FANNIE L            1447 W MORSE AVE # 3W                                                              CHICAGO                 IL 60626‐3481
MC GHEE, HENRY J             4426 SUMMERTIME CT SE                                                              KENTWOOD               MI 49508‐7522
MC GHEE, HOWARD              105 SANTREE DR                                                                     OXFORD                 NC 27565
MC GHEE, HOWARD              1509 PINE RIDGE DR                                                                 ROXBORO                NC 27573
MC GHEE, JACKIE R            408 SHUMMARD BRANCH STREET                                                         OXFORD                 MI 48371
MC GHEE, KENNETH C           1647 NORTH 16TH STREET                                                             MILWAUKEE              WI 53205‐1602
MC GHEE, MICHAEL             644 KEOUGH RD                                                                      COLLIERVILLE           TN 38017‐2902
MC GHEE, PAULA M             10156 S LAFAYETTE AVE                                                              CHICAGO                 IL 60628‐2023
MC GHEE, SAM H               4000 CHURCHILL AVE                                                                 LANSING                MI 48911‐2213
MC GHEE, SHERMAN             3975 CRACKER COVE LN                                                               CANAL WINCHESTER       OH 43110
MC GHEE, VALLORY J           PO BOX 214                                                                         WESTFIELD CENTER       OH 44251‐0214
MC GHEE, VICTORIA M          421 SOUTH ELMWOOD                                                                  OAK PARK                IL 60302
MC GHGHY, JAMES A            10617 N BALTIMORE AVE                                                              KANSAS CITY            MO 64155‐1609
MC GILL JR, HOMER N          10901 HERITAGE DR                                                                  FORT RICHEY            FL 34668‐2119
MC GILL, CECILIA P           20971 DELPHINE DR                                                                  WALNUT                 CA 91789‐2556
MC GILL, D P                 3733 CAMRY CT                                                                      SEBRING                FL 33872‐1443
MC GILL, DEBORAH I           PO BOX 3374                                                                        FARMINGTON HILLS       MI 48333‐3374
MC GILL, DONALD P            2210 LAKE GEORGE RD                                                                LEONARD                MI 48367‐2702
MC GILL, GERALD W            41735 POCATELLO DR                                                                 CANTON                 MI 48187‐3827
MC GILL, JAMES O             10180 BAXTER HERD RD                                                               SILVER POINT           TN 38582‐6213
MC GILL, JEAN A              13703 RING RD                                                                      ST CHARLES             MI 48655‐8502
MC GILL, JOHN                3709 VALACAMP AVE SE                                                               WARREN                 OH 44484‐3312
MC GILL, JOHN                3709 VALACAMP S.E.                                                                 WARREN                 OH 44484‐3312
MC GILL, JUNE C              8537 W PINE ST                                                                     ORLAND PARK             IL 60462‐1653
MC GILL, JUNE C              8537 PINE ST                                                                       ORLAND PARK             IL 60462‐1653
MC GILL, MARY D              9626 WHITETHORN DR                                                                 CHARLOTTE              NC 28277‐9050
MC GILL, MELINDA L           8213 MOUNTAIN LAKE CIR                                                             FT WORTH               TX 76179‐3228
MC GILL, MICHAEL F           11116 COURTHOUSE BLVD                                                              INVER GROVE HEIGHTS    MN 55077
MC GILL, PAUL T              8490 W POLK RD                                                                     SUMNER                 MI 48889‐9754
MC GILL, PORTER E            RR 3 BOX 32                                                                        SALEM                  WV 26426‐9206
MC GILL, ROBERT G            11074 LAKE SHORE DR                                                                GAYLORD                MI 49735‐8410
MC GILL, RONALD M            12318 W 82ND TER                                                                   LENEXA                 KS 66215‐2739
MC GILLIS, MARY              85 W 5TH ST APT A1                                                                 BAYONNE                NJ 07002‐1168
MC GILLIS, O M
MC GILLIS, THOMAS J          13125 N GENESEE RD                                                                 CLIO                  MI 48420‐9164
MC GILLIS, THOMAS JOSEPH     13125 N GENESEE RD                                                                 CLIO                  MI 48420‐9164
MC GILLIVRAY JR, FLOYD       5263 E 1000 S 92                                                                   ROANOKE               IN 46783
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Name                      Address1                        Address2                  Address3   Address4         City              State Zip
MC GILTON, JOHN L         6204 NE PLEASANT VALLEY RD                                                            KANSAS CITY        MO 64119‐1467
MC GILTON, JOSEPH H       29821 KELLY RD                                                                        ROSEVILLE          MI 48066‐2127
MC GIMPSEY, LILLIE M      APT 138                         34400 DEQUINDRE ROAD                                  STERLING HTS       MI 48310‐5209
MC GINLAY, THOMAS H       2133 DIXIE GARDEN LOOP                                                                HOLIDAY            FL 34690‐4410
MC GINLEY, PATRICIA A     136 PUTNEY LN                                                                         MALVERN            PA 19355‐3210
MC GINLEY, RICHARD H      478 N WHEELER LOOP                                                                    SISTERS            OR 97759‐9817
MC GINN, DANIEL J         6220 COOPER RD                                                                        LANSING            MI 48911‐5553
MC GINN, DOROTHY R        APT 503                         41350 FOX RUN                                         NOVI               MI 48377‐5046
MC GINN, GERALD J         4952 GREENCROFT RD                                                                    SARASOTA           FL 34235‐8236
MC GINN, JAMES R          368 N WASHINGTON ST                                                                   HUBBARDSTON        MI 48845‐5104
MC GINN, JOHN             109 ARLINGTON BLVD                                                                    N ARLINGTON        NJ 07031‐5845
MC GINN, LINDA L          555 HALL ST                                                                           IONIA              MI 48846‐1109
MC GINN, MARY L           1629 LOMBARDY                                                                         HIGHLAND           MI 48356‐2844
MC GINNESS, J D           PO BOX 202                                                                            PLYMOUTH           NE 68424‐0202
MC GINNIS I I, RONALD J   PO BOX 1608 PMB 1094                                                                  TOMBALL            TX 77377‐1608
MC GINNIS JR, ELMER S     3117 WOOD AVE                                                                         KANSAS CITY        KS 66104‐4859
MC GINNIS JR, JAMES F     883 WHISPERWOOD TRL                                                                   FENTON             MI 48430‐2200
MC GINNIS JR., LIONEL     6345 SHAPPIE RD                                                                       CLARKSTON          MI 48348‐1959
MC GINNIS, ARLENE D       23043 N BROOKSIDE DR                                                                  DEARBORN HTS       MI 48125‐2316
MC GINNIS, ARLENE D       23043 BROOKSIDE DR N                                                                  DEARBORN HGTS      MI 48125‐2316
MC GINNIS, AUDREY F       5434 N VASSAR RD                                                                      FLINT              MI 48506‐1232
MC GINNIS, BRADLEY T      G 6439 N HARVARD ST                                                                   MOUNT MORRIS       MI 48458
MC GINNIS, BRUCE H        6845 E CALLE CERCA                                                                    TUCSON             AZ 85715‐4803
MC GINNIS, CAROL J        4206 N 92ND ST APT 3                                                                  MILWAUKEE          WI 53222‐1637
MC GINNIS, CLAUDE A       PO BOX 358                                                                            CROUSE             NC 28033‐0358
MC GINNIS, CLIFFORD A     3935 SHERWOOD RD                                                                      ORTONVILLE         MI 48462‐9295
MC GINNIS, DARWIN K       431 VILLAGE LN APT 101                                                                CROSSVILLE         TN 38555‐6149
MC GINNIS, DARWIN K       431 VILLAGE LN                  APARTMENT 101                                         CROSSVILLE         TN 38555
MC GINNIS, DIANA          1120 S OUTTER BELT ROAD                                                               OAK GROVE          MO 64075
MC GINNIS, DIANA          1120 S OUTER BELT RD                                                                  OAK GROVE          MO 64075‐8295
MC GINNIS, DON            3761 CATBRIER CT                                                                      BONITA SPRINGS     FL 34134‐7929
MC GINNIS, DONNA W        757 SHOAL CIR                                                                         LAWRENCEVILLE      GA 30045‐3179
MC GINNIS, ELINOR J       3117 WOOD AVE                                                                         KANSAS CITY        KS 66104‐4859
MC GINNIS, GLADYS E       PO BOX 1775                                                                           BELLEVIEW          FL 34421‐1775
MC GINNIS, GLADYS E       P.O BOX 1775                                                                          BELLEVIEW          FL 34421‐1775
MC GINNIS, GLORIA A       26235 HICKORY BLVD APT 9D                                                             BONITA SPRINGS     FL 34134‐3786
MC GINNIS, HELEN M        PO BOX 178                      PVT DR 1 WEST LAKE ROAD                               SILVER SPRINGS     NY 14550‐0178
MC GINNIS, HELEN M        PVT DR 1 W LAKE RD              P O BOX 178                                           SILVER SPRINGS     NY 14550‐0178
MC GINNIS, JAMES          6147 DALMATION DR                                                                     BETHEL PARK        PA 15102‐4009
MC GINNIS, JAMES A        5385 GERTRUDE ST                                                                      DEARBORN HTS       MI 48125‐2809
MC GINNIS, JAMES E        495 PARK AVE                                                                          EAST PALESTINE     OH 44413‐1590
MC GINNIS, JAMES E        8922 WHITEHORN ST                                                                     ROMULUS            MI 48174‐4153
MC GINNIS, JAMES L        13294 COYLE ST                                                                        DETROIT            MI 48227‐2504
MC GINNIS, JANET G        13001 NW 78TH TER                                                                     PARKVILLE          MO 64152‐1384
MC GINNIS, JANET M        3935 SHERWOOD RD                                                                      ORTONVILLE         MI 48462‐9295
MC GINNIS, JOETTE M       5421 HICKORY CIR                                                                      FLUSHING           MI 48433‐2466
MC GINNIS, KEITH R        6140 EVERGREEN DR                                                                     HALE               MI 48739‐9067
MC GINNIS, LELAND D       901 MONTGOMERY ST                                                                     CLINTON            MO 64735‐1968
MC GINNIS, LUEVENNIE      117 E RUSSELL AVE                                                                     FLINT              MI 48505‐2742
MC GINNIS, MARJORIE J     910 GOLF VILLA DR                                                                     OXFORD             MI 48371‐3698
MC GINNIS, MARVIN W       5434 N VASSAR RD                                                                      FLINT              MI 48506‐1232
MC GINNIS, MARY L         9 CASSIE LN                                                                           WEST ALEXANDRIA    OH 45381‐9389
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Name                          Address1                      Address2            Address3         Address4         City                  State Zip
MC GINNIS, MATTHEW R          6356 BENNETT COURT                                                                  SAINT CLOUD            FL 34771‐9479
MC GINNIS, MICHAEL R          39901 E DORIS NEER RD                                                               OAK GROVE              MO 64075‐7311
MC GINNIS, ORVAL J            666 HELEN ST                                                                        MOUNT MORRIS           MI 48458‐1925
MC GINNIS, ORVAL JAMES        666 HELEN ST                                                                        MOUNT MORRIS           MI 48458‐1925
MC GINNIS, PEGGY L            5276 GREEN RD                                                                       FENTON                 MI 48430‐9342
MC GINNIS, RAYMOND L          933 N KIGER RD                                                                      INDEPENDENCE           MO 64050‐3138
MC GINNIS, RICHARD R          19750 SAVAGE RD                                                                     BELLEVILLE             MI 48111‐9675
MC GINNIS, ROBBIE B           PO BOX 10336                                                                        FORT WORTH             TX 76114‐0336
MC GINNIS, ROBERT A           PO BOX 474                                                                          WHITE PINE             TN 37890‐0474
MC GINNIS, RONALD J           1501 W COMMERCE AVE LOT 36                                                          HAINES CITY            FL 33844‐3298
MC GINNIS, ROSEALMA           2789 SHADY SHORES RD                                                                LUPTON                 MI 48635‐9655
MC GINNIS, TERRANCE B         28833 KENDALLWOOD DR                                                                FARMINGTON HILLS       MI 48334‐2639
MC GINNIS, TERRY L            3115 THREE BRIDGES RD                                                               MIDLOTHIAN             VA 23112‐4425
MC GINNIS, TIMOTHY P          1315 SAINT LOUIS AVE                                                                EXCELSIOR SPRINGS      MO 64024‐2933
MC GINTY, CHARLES J           2528 HALCYON DOWNS LOOP                                                             MONTGOMERY             AL 36117‐7755
MC GINTY, RAYMOND E           2980 HILLBROOK DR                                                                   EDEN                   NY 14057‐1249
MC GINTY, TERRENCE H          11050 E MCKEESE RD                                                                  SUTTONS BAY            MI 49682‐9378
MC GINTY, TIMOTHY C           139 FAIRWAY DR                                                                      LANGHORNE              PA 19047‐2168
MC GINZIE, ROBERT L           57 E SHEFFIELD AVE                                                                  PONTIAC                MI 48340‐1964
MC GIVERN, KATE M             3420 E CARPENTER RD                                                                 FLINT                  MI 48506‐1036
MC GIVNEY, JOYCE A            34401 MAPLE LANE DR                                                                 STERLING HTS           MI 48312‐5205
MC GLADDERY, RITA D           4093 SUMMIT VIEW DR NE                                                              GRAND RAPIDS           MI 49525‐1907
MC GLADE, THOMAS E            3667 S JOHN HIX RD APT 2                                                            WAYNE                  MI 48184‐1029
MC GLADE, THOMAS E            3667 S JOHN HIX               APT 2                                                 WAYNE                  MI 48184
MC GLAMERY, MILDRED N         PO BOX 1272                                                                         MC CAYSVILLE           GA 30555‐1272
MC GLAMERY, MILDRED N         P.O. BOX 1272                                                                       MCCAYSVILLE            GA 30555‐1272
MC GLASHEN, ANN V             1384 N RIO SANTA CRUZ                                                               GREEN VALLEY           AZ 85614‐3916
MC GLASHEN, DOUGLAS J         40 WINDINGWOOD DR                                                                   KALAMAZOO              MI 49009‐9143
MC GLASHEN, MARY L            3694 TERRELL ST                                                                     WATERFORD              MI 48329‐1140
MC GLAUGHLIN, JERRY G         1218 NW 450TH RD                                                                    HOLDEN                 MO 64040‐9383
MC GLAUGHLIN, JERRY GARLAND   1218 NW 450TH RD                                                                    HOLDEN                 MO 64040‐9383
MC GLAUGHLIN, JOHNIE R        7080 N OLD STATE AVE                                                                HARRISON               MI 48625‐7627
MC GLAUGHLIN, JOHNIE R        7080 NORTH OLD STATE AVENUE                                                         HARRISON               MI 48625‐7627
MC GLAUGHLIN, PENNY J         7080 N OLD STATE AVE                                                                HARRISON               MI 48625‐7627
MC GLAUN, DONALD W            1277 MCPHERSON RD                                                                   XENIA                  OH 45385‐7363
MC GLAUN, EDWARD              17155 LINCOLN DR                                                                    SOUTHFIELD             MI 48076‐7227
MC GLAUN, NORVELL             31 5TH ST                                                                           MOUNT CLEMENS          MI 48043‐2518
MC GLAUN, VIOLA               12826 SUSSEX ST                                                                     DETROIT                MI 48227‐2118
MC GLOHON, DEAN M             6100 EAGLE WATCH CT                                                                 NORTH FORT MYERS       FL 33917‐3147
MC GLONE, BETTY J             475 LAKE SHORE RD                                                                   GROSSE POINTE FARMS    MI 48236‐3045
MC GLONE, DENNIS M            3845 THOMAS AVE                                                                     BERKLEY                MI 48072‐3167
MC GLONE, MARIAN              5804 GUSHING SPRING AVENUE                                                          LAS VEGAS              NV 89131‐2187
MC GLONE, RHODA W             1272 DAVIS RD                                                                       BAINBRIDGE             OH 45612‐9748
MC GLORY, ADDISON B           77 CRAWFORD ST                                                                      PONTIAC                MI 48341‐2110
MC GLORY, ALBERT D            223 PETERMAN ST                                                                     MARKSVILLE             LA 71351‐2361
MC GLORY, BERNELL             110 N HILLSIDE DR APT 116                                                           MARKSVILLE             LA 71351‐2702
MC GLOTHIN, BARBARA G         3121 HARBOR CT                                                                      WATERFORD              MI 48328‐2594
MC GLOTHIN, BARBARA S         5803 STRATHDON WAY                                                                  WATERFORD              MI 48327‐2054
MC GLOTHIN, CHARLES           316 N 24TH ST                                                                       SAGINAW                MI 48601‐6201
MC GLOTHIN, EDITH V           3205 AVENUE E ENSLEY                                                                BIRMINGHAM             AL 35218
MC GLOTHIN, ESTELL            8 WEYMOUTH CT                                                                       SAGINAW                MI 48601‐6950
MC GLOTHIN, JAMES             2213 RASKOB STREET                                                                  FLINT                  MI 48504‐3486
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Name                      Address1                              Address2                     Address3   Address4         City             State Zip
MC GLOTHIN, OTIS          19480 ROBSON ST                                                                                DETROIT           MI 48235‐1953
MC GLOTHLIN, ALLEN J      13838 LE CLAIRE AVE                                                                            CRESTWOOD          IL 60445‐1726
MC GLOTHLIN, CORINTHIAN   1510 FARWELL ST                                                                                SAGINAW           MI 48601‐1163
MC GLOTHLIN, HORACE C     602 WESTERN TRL                                                                                GEORGETOWN        TX 78628‐2832
MC GLOTHLIN, KENNETH E    1493 FIELD CREST LN                                                                            JASPER            IN 47546‐2875
MC GLOWN, FRED            1352 W HUMPHREY AVE                                                                            FLINT             MI 48505‐1027
MC GLYNN, LEONARD V       1148 RIVER ROCK                                                                                NEW BRAUNFELS     TX 78130‐2411
MC GLYNN, PATRICK C       10 MANHATTAN SQ DR APT 3B                                                                      ROCHESTER         NY 14607‐3947
MC GOFFIN, SANDRA K       426 WASHINGTON ST SE                                                                           GRAND RAPIDS      MI 49503‐4418
MC GOHAN BRABENDER INC    ATTN: PATRICK MC GOHAN                3931 S DIXIE DR                                          MORAINE           OH 45439‐2313
MC GONAGLE, HAROLD E      PO BOX 2562                                                                                    WHITNEY           TX 76692‐5562
MC GONIGAL SANDRA K       PO BOX 3305                                                                                    TRINIDAD          CO 81082‐6505
MC GONIGAL, LYNWOOD R     42009 JIMA BAY                                                                                 BOYNTON BEACH     FL 33436‐1952
MC GONIGLE, JACQUELINEM   6221 BANYAN TER                                                                                PLANTATION        FL 33317‐2572
MC GONIGLE, MARLYN J      1605 CHARLES ST                                                                                ANDERSON          IN 46013‐2719
MC GONIGLE, WILLIAM T     APT 3511                              8810 WALTHER BOULEVARD                                   PARKVILLE         MD 21234‐5780
MC GONNELL, LINDA         38360 N JEAN CT                                                                                WESTLAND          MI 48186‐3836
MC GOOKIN, DOBSON B       111 KATHLEEN TER                                                                               CAMILLUS          NY 13031‐1251
MC GORON, HAROLD L        11432 CHANNEL DR                                                                               LAKEVIEW          MI 48850‐9622
MC GORY, F H              54 ONTARIO ST                                                                                  HONEOYE FALLS     NY 14472‐1120
MC GOUGH JR, HUGH J       16481 158TH ST                                                                                 BONNER SPRINGS    KS 66012‐7242
MC GOUGH, EVA M           1396 NIX RD                                                                                    NAUVOO            AL 35578‐3820
MC GOUGH, HAYWARD         34275 GLOUSTER CIR                                                                             FARMINGTN HLS     MI 48331‐1517
MC GOUGH, THOMAS J        156 WHITFIELD AVE                                                                              BUFFALO           NY 14220‐1946
MC GOURTY, MARIE G        PO BOX 1                              C/O CHARLES P. MCGOURTY                                  HUDSON            MA 01749‐0001
MC GOVERN, BARBARA J      2460 CARRIAGE CT                                                                               YPSILANTI         MI 48197‐7429
MC GOVERN, CATHERINE T    7 SUNNYBROOK LN                       THE FAIRWAYS AT LAKE RIDGE                               LAKEWOOD          NJ 08701‐5726
MC GOVERN, DONALD R       16000 BENT TREE FOREST CIR APT 1012                                                            DALLAS            TX 75248‐3415
MC GOVERN, ELIZABETH M    81 DEAN RD                                                                                     SPENCERPORT       NY 14559‐9537
MC GOVERN, ELNORA         16468 BRANDT ST                                                                                ROMULUS           MI 48174‐3213
MC GOVERN, KAROLE         78673 SUNRISE MOUNTAIN VW                                                                      PALM DESERT       CA 92211‐2405
MC GOVERN, LAWRENCE R     35 KENSINGTON CIR                                                                              BELVIDERE         NJ 07823‐1714
MC GOVERN, MARY A         4575 PINEHURST AVE                                                                             GAYLORD           MI 49735‐9469
MC GOVERN, MARY L         12965 METTETAL ST                                                                              DETROIT           MI 48227‐1289
MC GOVERN, PAULA D        320 S BROADWAY UNIT R5                                                                         TARRYTOWN         NY 10591‐5406
MC GOVERN, PHILIP G       2220 DEER RUN TRL                                                                              WATERFORD         MI 48329‐2382
MC GOVERN, RANDALL E      935 SUMMITVILLE DRIVE                                                                          WEBSTER           NY 14580‐4130
MC GOVERN, ROGER O        42 OLD ELM RD                                                                                  TRUMBULL          CT 06611‐3661
MC GOVERN, THOMAS G       5624 LAS VIRGENES RD UNIT 16                                                                   CALABASAS         CA 91302‐3413
MC GOVERN, THOMAS G       5624 LASVIRGENES ROAD                 UNIT 16                                                  CALABASAS         CA 91302
MC GOVNEY, JAMES W        1680 W CHADWICK RD                                                                             DE WITT           MI 48820‐8460
MC GOWAN DEMETRIUS        19210 STARLANE STREET                                                                          SOUTHFIELD        MI 48075‐5899
MC GOWAN, ARTHUR L        57 CADY ST                                                                                     ROCHESTER         NY 14608‐2321
MC GOWAN, CARL A          160 BLACKSTONE DR                                                                              CENTERVILLE       OH 45459‐4304
MC GOWAN, CAROL           583 ALLEN                                                                                      ORTONVILLE        MI 48462‐8805
MC GOWAN, CAROL           583 ALLEN ST                                                                                   ORTONVILLE        MI 48462‐8805
MC GOWAN, CHARLES W       12 EXETER PL                                                                                   ROCHESTER         NY 14623‐4108
MC GOWAN, D M             1043 ALLOUEZ RD                                                                                MARQUETTE         MI 49855‐5271
MC GOWAN, DAVID L         524 HILLCLIFF DR                                                                               WATERFORD         MI 48328‐2518
MC GOWAN, DAVID M         7 JEAN DR                                                                                      HAMILTON SQ       NJ 08690‐3937
MC GOWAN, DAVID R         252 SCHUELE AVE                                                                                BUFFALO           NY 14215‐3721
MC GOWAN, DEMETRIUS L     19210 STARLANE ST                                                                              SOUTHFIELD        MI 48075‐5899
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Name                          Address1                           Address2                      Address3   Address4         City             State Zip
MC GOWAN, DEWITT              100 BARRINGTON CT E                                                                          FRANKLIN          TN 37067‐5003
MC GOWAN, DOLORES P           3045 FALCON DR                                                                               BURTON            MI 48519‐1483
MC GOWAN, DONALD B            11420 ELMDALE ST                                                                             CLIO              MI 48420‐1721
MC GOWAN, DONALD E            2727 S BRENTWOOD DR S                                                                        INDEPENDENCE      MO 64055‐2097
MC GOWAN, DONALD E            3423 SUN BEAR CT                                                                             WENTZVILLE        MO 63385‐3490
MC GOWAN, ELLEN M             6536 SULGRAVE DR                                                                             MEMPHIS           TN 38119‐7739
MC GOWAN, EMMITT              17356 BEECH DALY RD                                                                          REDFORD           MI 48240‐2221
MC GOWAN, GERARD H            1715 BERTHA DR                                                                               BEAVERTON         MI 48612‐9437
MC GOWAN, JAMES E             18 WESTWOOD DR                                                                               EWING             NJ 08628‐1912
MC GOWAN, JAMES P             20 FARWELL DR                                                                                BATAVIA           NY 14020‐2506
MC GOWAN, JANE E              18608 SE 13TH CIR                  C/O MARILYN MCGOWAN GROBLER                               VANCOUVER         WA 98683‐5536

MC GOWAN, JOAN E              44505 FORD RD APT 715                                                                        CANTON           MI   48187‐5033
MC GOWAN, JOHN R              PO BOX 555                                                                                   BUFFALO          NY   14212‐0555
MC GOWAN, JOSEPH P            254 SKYPORT RD                                                                               WEST MIFFLIN     PA   15122‐2552
MC GOWAN, LELA E              57 CADY ST                                                                                   ROCHESTER        NY   14608‐2321
MC GOWAN, LINDA M             PO BOX 74242                                                                                 ROMULUS          MI   48174‐0242
MC GOWAN, M B                 763 THURSTON RD                                                                              ROCHESTER        NY   14619‐2228
MC GOWAN, MARION              763 THURSTON RD                                                                              ROCHESTER        NY   14619‐2228
MC GOWAN, MARY L              14130 PINEHURST                                                                              DETROIT          MI   48238‐2238
MC GOWAN, MARY R              1529 MILLECOQUINS CT               COURT                                                     ROCHESTER        MI   48307‐6032
MC GOWAN, MARY ROSE           1117 NORTH ST                                                                                IOLA             KS   66749‐1753
MC GOWAN, MATTIE              1860 DALEWOOD PL                                                                             CINCINNATI       OH   45237‐5718
MC GOWAN, RICHARD M           17252 MACARTHUR                                                                              REDFORD          MI   48240‐2264
MC GOWAN, ROBERT              18376 LENORE LN                                                                              TINLEY PARK      IL   60487‐9503
MC GOWAN, ROBERT E            37870 CRESTLANE ST                                                                           CLINTON TWP      MI   48036‐1704
MC GOWAN, RONALD J            4762 MCGOWAN DR                                                                              SILVERWOOD       MI   48760‐9730
MC GOWAN, ROY E               1069 EL CAMINO GRANDE                                                                        WEIDMAN          MI   48893‐9671
MC GOWAN, TOMMIE A            5120 HARDLAND AVENUE                                                                         FAIRBANKS        AK   99709‐4527
MC GOWAN, VIRGIE              KALEIDA HOUSE ‐ DEACONESS CENTER   BUSINESS OFFICE                                           BUFFALO          NY   14210‐1467
MC GOWAN, VIRGINIA L          9570 PARDEE                                                                                  TAYLOR           MI   48180
MC GOWAN, VIRGINIA L          9247 N DORT HWY                                                                              MOUNT MORRIS     MI   48458‐1220
MC GOWAN, VIRGINIA L          9570 PARDEE RD                                                                               TAYLOR           MI   48180‐3547
MC GOWAN‐BELL, MABEL L        5268 PASADENA AVE                                                                            FLUSHING         MI   48433‐2421
MC GOWEN, SAUNDRA M           1021 SW 98TH ST                                                                              OKLAHOMA CITY    OK   73139‐2806
MC GOWEN, STELLA              1452 OSBURN RD                                                                               CHICKAMAUGA      GA   30707‐2767
MC GRADE, GEORGE F            6 CAMILLE LN                                                                                 EAST PATCHOGUE   NY   11772‐4578
MC GRADY, BRUCE J             5060 MARK DAVID DR                                                                           SWARTZ CREEK     MI   48473‐8500
MC GRADY, JOSEPH              572 ARNETT BLVD                                                                              ROCHESTER        NY   14619‐1332
MC GRAIL JR, JOHN J           42339 JENNINGS CT                                                                            CANTON           MI   48188‐1124
MC GRAIL JR, JOHN J           42355 JENNINGS CT                                                                            CANTON           MI   48188‐1124
MC GRAIL, ANNE K              4572 CAHILL DR                     C/O THOMAS K MCGRAIL                                      TROY             MI   48098‐4486
MC GRAIL, BETTY E             105 FLOWER DALE DR                                                                           ROCHESTER        NY   14626‐1667
MC GRAIL, CARLA R             7063 N ELMS RD                                                                               FLUSHING         MI   48433‐8814
MC GRAIL, GERALD F            19370 BARBERRY TRL                                                                           ATLANTA          MI   49709‐9749
MC GRAIN, ALBERT B            3603 SHORELINE DR                                                                            LIVONIA          NY   14487‐9645
MC GRAN, JAMES J              921 MAPLEGROVE AVE                                                                           ROYAL OAK        MI   48067‐1693
MC GRANDY, JOSEPH J           3510 S TOWERLINE RD                                                                          BRIDGEPORT       MI   48722‐9549
MC GRATH JR, RODERICK L       PO BOX 4113                        C/O MATT MC GRATH                                         FRESNO           CA   93744‐4113
MC GRATH PLUMBING & HEATING   ATTN: THOMAS R MC GRATH            611 FALLON AVE                                            WILMINGTON       DE   19804‐2111
MC GRATH WAYNE E              10708 ASHMONT LN                                                                             FORT WORTH       TX   76244
MC GRATH, ARCHIE T            9360 DUFFIELD RD                                                                             GAINES           MI   48436‐9638
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Name                       Address1                         Address2         Address3         Address4            City               State Zip
MC GRATH, AUDREY           10701 S OCEAN DR LOT 811                                                               JENSEN BEACH        FL 34957‐2639
MC GRATH, BRUCE D          10364 WILSON RD                                                                        MONTROSE            MI 48457‐9176
MC GRATH, CATHERINE        4705 QUARTON RD                                                                        BLOOMFIELD HILLS    MI 48301‐1028
MC GRATH, CHARLES F        24 LAKE VIEW RD                                                                        EAST WEYMOUTH       MA 02189‐1513
MC GRATH, CLEMENT G        14417 W RIDGE RD                                                                       OAKLEY              MI 48649‐7706
MC GRATH, CLEMENT GEORGE   14417 W RIDGE RD                                                                       OAKLEY              MI 48649‐7706
MC GRATH, DANIEL J         428 CHILDERS STREET              #8879                                                 PENSACOLA           FL 32534
MC GRATH, DANIEL P         8553 SHORT CUT RD                                                                      IRA                 MI 48023‐2009
MC GRATH, DEBRA            143 CREEKSIDE DR                                                                       BOLINGBROOK          IL 60440‐2751
MC GRATH, EARL L           10221 N POLK AVE                                                                       HARRISON            MI 48625‐8837
MC GRATH, GEORGE L         145 S ORCHARD DR                                                                       BOLINGBROOK          IL 60440‐2621
MC GRATH, GEORGE R         1225 S RAINTREE PL                                                                     SPRINGFIELD         MO 65809‐2036
MC GRATH, HAROLD F         7373 E STATE ROUTE 571                                                                 TIPP CITY           OH 45371‐8552
MC GRATH, JACQUELINE M     34 FILLMORE AVE                                                                        CARTERET            NJ 07008‐2237
MC GRATH, JAMES L          20898 NORTH SHADOW MOUNTAIN DR                                                         SURPRISE            AZ 85374‐6139
MC GRATH, JEFFREY M        19648 GILL RD                                                                          LIVONIA             MI 48152‐1166
MC GRATH, JERRY W          22160 GUIDOT ST                                                                        TAYLOR              MI 48180‐2451
MC GRATH, JERRY WAYNE      22160 GUIDOT ST                                                                        TAYLOR              MI 48180‐2451
MC GRATH, JOHN P           143 CREEKSIDE DR                                                                       BOLINGBROOK          IL 60440‐2751
MC GRATH, JOSEPH K         PO BOX 441                                                                             SUBLETTE             IL 61367‐0441
MC GRATH, JOSEPH M         6812 S KENNETH AVE                                                                     CHICAGO              IL 60629‐5728
MC GRATH, JUDITH ANN       38405 SARATOGA CIR                                                                     FARMINGTON HILLS    MI 48331‐3748
MC GRATH, LULA D           10411 TAKERIDGE CT                                                                     CHARLOTTE           NC 28277‐8731
MC GRATH, MARIE            PO BOX 441                                                                             SUBLETTE             IL 61367‐0441
MC GRATH, MARK W           10533 LAVERGNE AVE                                                                     OAK LAWN             IL 60453‐5157
MC GRATH, MICHAEL J        2027 N EDGEMONT RD                                                                     COLUMBUS            OH 43212‐1065
MC GRATH, MICHAEL L        12940 HOYNE AVE APT 5                                                                  BLUE ISLAND          IL 60406‐2569
MC GRATH, MICHAEL P        464 JOSEPH ST                                                      CARLTON PLACE ON
                                                                                              CANADA K7C3T7
MC GRATH, MICHAEL R        13700 COMMONWEALTH ST                                                                  SOUTHGATE          MI   48195‐1975
MC GRATH, PAUL J           4705 QUARTON RD                                                                        BLOOMFIELD HILLS   MI   48301‐1028
MC GRATH, RICHARD J        9360 DUFFIELD RD                                                                       GAINES             MI   48436‐9538
MC GRATH, RONALD P         12135 MACKINAW STRAITS DR        P.O. BOX 212                                          CHEBOYGAN          MI   49721‐8657
MC GRATH, RUTH I           8135 BEECHMONT AVE APT W143                                                            CINCINNATI         OH   45255‐6163
MC GRATH, SANDRA E         10364 WILSON RD                                                                        MONTROSE           MI   48457‐9176
MC GRATH, SEAMUS T         4949 SNYDER LN                   APT 269                                               ROHNERT PARK       CA   94928‐4857
MC GRATH, SEAMUS T         4949 SNYDER LN APT 269                                                                 ROHNERT PARK       CA   94928‐4857
MC GRATH, SUSAN            228 HIGHLAND AVE                                                                       MONTCLAIR          NJ   07043
MC GRATH, THELMA T         2120 OAKWOOD DRIVE                                                                     TROY               MI   48085‐3892
MC GRATH, TIMOTHY J        3501 JUNIPER AVE                                                                       JOLIET             IL   60431‐2827
MC GRATH, TIMOTHY V        210 JUNIPER DR                                                                         DAVISON            MI   48423‐1810
MC GRATH, TINA LYNN        10221 N POLK AVE                                                                       HARRISON           MI   48625‐8837
MC GRATH, VIRGINIA E       2024 TULIPWOOD DR                                                                      MANSFIELD          OH   44906‐3335
MC GRAW JR, GEORGE D       4532 BOUTELL RANCH RD                                                                  WEST BRANCH        MI   48661‐8911
MC GRAW, ALBERT B          4830 W SUNSET BLVD                                                                     TAMPA              FL   33629‐6448
MC GRAW, ALBERT J          4939 CHESTNUT RD                                                                       NEWFANE            NY   14108‐9620
MC GRAW, DOONAN D          245 SAINT JAMES WAY                                                                    NAPLES             FL   34104‐6715
MC GRAW, DORIS M           31770 NORRID CIR                                                                       WARREN             MI   48092‐5004
MC GRAW, ELEANOR J         38158 SLEIGH DR                                                                        STERLING HTS       MI   48310‐3058
MC GRAW, ERNESTINE         4261 HUNTERS CIR E                                                                     CANTON             MI   48188‐2378
MC GRAW, FRANCIS           410 CLEARWATER DR                                                                      PERRY              MI   48872‐8787
MC GRAW, GEORGE D          1166 MEMORY LN                                                                         FRANKFORT          MI   49635‐9605
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Name                     Address1                     Address2             Address3        Address4         City              State Zip
MC GRAW, HOPE M          G‐9195 N DORT HIGHWAY                                                              MOUNT MORRIS       MI 48458
MC GRAW, IRENE B         PO BOX 871183                                                                      CANTON             MI 48187‐6183
MC GRAW, JAMES L         19255 BEAVERLAND ST                                                                DETROIT            MI 48219‐5504
MC GRAW, JAMES W         1970 BASELINE RD                                                                   GRAND ISLAND       NY 14072‐2015
MC GRAW, JOE A           23315 W GRINTON DR                                                                 PLAINFIELD          IL 60586‐9071
MC GRAW, JOHN H          25 HIGHLAND AVE                                                                    COLONIE            NY 12205‐5417
MC GRAW, LAWRENCE L      15558 W BIG SKY DR                                                                 SURPRISE           AZ 85374‐4751
MC GRAW, LENA            4034 23RD ST                                                                       WYANDOTTE          MI 48192‐6903
MC GRAW, MICHAEL J       6010 RIVER TER                                                                     TAMPA              FL 33604‐6552
MC GRAW, MICHAEL J       10542 WHITE LAKE RD                                                                FENTON             MI 48430‐2474
MC GRAW, PHYLLIS A       245 SAINT JAMES WAY                                                                NAPLES             FL 34104‐6715
MC GRAW, THOMAS J        46127 TALLY HO DR                                                                  MACOMB             MI 48044‐4630
MC GREAL JR, MICHAEL W   316 BEULAH RD                                                                      PITTSBURGH         PA 15235‐2936
MC GREAL, JAMES J        1830 MOUNTAIN RANCH AVE                                                            HENDERSON          NV 89012‐6171
MC GREAL, PATRICIA M     4119 61ST AVE                TERRACE WEST C‐108                                    BRADENTON          FL 34210
MC GREEVY, FRANK A       PO BOX 63                                                                          LIVINGSTN MNR      NY 12758‐0063
MC GREEVY, KENNETH J     25106 FAIRGROVE ST                                                                 WOODHAVEN          MI 48183‐4428
MC GREEVY, PATRICK E     53211 SARATOGA RD                                                                  FORT WAYNE         IN 46804
MC GREGGOR, RONALD F     5675 CHAPEL HILL RD                                                                DOUGLASVILLE       GA 30135‐5062
MC GREGOR, ANNA V        5829 THORNABY DR                                                                   WATERFORD          MI 48329‐3354
MC GREGOR, ARCHIE C      35 COUNTY 1040                                                                     MOUNT PLEASANT     TX 75455
MC GREGOR, BARBARA B     PO BOX 308                                                                         CHEBOYGAN          MI 49721‐0308
MC GREGOR, CAROLYN E     47721 ROLAND ST                                                                    SHELBY TOWNSHIP    MI 48317‐2953
MC GREGOR, CLARA C       1628 PEMBROKE DR                                                                   PITTSBURGH         PA 15243‐1552
MC GREGOR, FREDERICK     22412 CALIFORNIA ST                                                                ST CLAIR SHRS      MI 48080‐3819
MC GREGOR, GEORGE L      19717 EUREKA ST                                                                    DETROIT            MI 48234‐2137
MC GREGOR, JACK W        PO BOX 719                                                                         CONGRESS           AZ 85332‐0719
MC GREGOR, MADELINE M    4838 FAIRVIEW AVE                                                                  NEWTON FALLS       OH 44444‐9419
MC GREGOR, MARY K        5005 DELBROOK AVE                                                                  LANSING            MI 48910‐5387
MC GREGOR, MELVIN C      19659 MACKAY ST                                                                    DETROIT            MI 48234‐1444
MC GREGOR, RAYMOND L     5829 THORNABY DR                                                                   WATERFORD          MI 48329‐3354
MC GREGOR, RICHARD A     5989 WEISS ST APT L9                                                               SAGINAW            MI 48603‐2713
MC GREGOR, RICHARD T     10218 ROOT RIVER DR                                                                CALEDONIA          WI 53108‐9629
MC GREGOR, ROBERT G      PO BOX 308                                                                         CHEBOYGAN          MI 49721‐0308
MC GREGOR, ROBERT L      5724 PATTERSON DR                                                                  TROY               MI 48085‐3925
MC GREGOR, ROSE N        37 7TH ST W                                                                        NOKOMIS            FL 34275‐1567
MC GREGOR, RUDIE A       2629 CATERHAM DR                                                                   WATERFORD          MI 48329‐2611
MC GREGOR, SUZANN J      10218 ROOT RIVER DR                                                                CALEDONIA          WI 53108‐9629
MC GREGOR, TIMOTHY K     4167 CROSBY RD                                                                     FLINT              MI 48506‐1412
MC GREGOR, VIRGINIA      3900 HUNT CLUB CT                                                                  SHELBY TOWNSHIP    MI 48316‐4822
MC GRENERA, JAMES F      8403 BUDINGEN LN                                                                   TINLEY PARK         IL 60487‐7644
MC GREW JR, DOCK         15014 SUSSEX ST                                                                    DETROIT            MI 48227‐2606
MC GREW, DAN             PO BOX 898                                                                         PRUDENVILLE        MI 48651‐0898
MC GREW, DAN B           991 COLONIAL DR                                                                    BATON ROUGE        LA 70806‐7725
MC GREW, DONALD R        10872 RIDGE VIEW TRL                                                               FENTON             MI 48430‐4032
MC GREW, DREWIE E        1366 THOMPSON RD                                                                   HOLLY              MI 48442‐9460
MC GREW, FRED E          6811 S HAZEL ST                                                                    PINE BLUFF         AR 71603‐7829
MC GREW, JAMES F         354 CRESTWAY CT                                                                    SALINE             MI 48176‐9269
MC GREW, JAMES J         1205 WOODRUFF RD                                                                   JOLIET              IL 60432‐1321
MC GREW, JUDITH G        832 ALPINE TRL                                                                     FENTON             MI 48430‐2240
MC GREW, MARVIN L        10218 E MN AVE                                                                     GALESBURG          MI 49053‐9640
MC GREW, MATTHEW S       2104 24TH STREET                                                                   ROCK ISLAND         IL 61201‐4535
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Name                      Address1                        Address2            Address3         Address4         City             State Zip
MC GREW, MICHELE C        214 S DIXON AVE                                                                       DIXON              IL 61021‐3143
MC GREW, RICKIE C         1129 BOXWOOD DR                                                                       CROWLEY           TX 76036‐4310
MC GREW, V M              PO BOX 87                                                                             MC INDOE FALLS    VT 05050‐0087
MC GREW, WARREN R         1542 N LOCKWOOD AVE                                                                   CHICAGO            IL 60651‐1432
MC GRIFF JR, ARON         2230 W COIL ST                                                                        INDIANAPOLIS      IN 46260‐4327
MC GRIFF, EDDIE J         5814 SW 27 ST                   APT 2                                                 WEST PARK         FL 33023
MC GRIGG, ALFRED          11322 SKY RIDGE DR                                                                    CYPRESS           TX 77429‐3064
MC GROARTY, DOROTHY L     1038 ACORN TRAIL DR                                                                   FLORISSANT        MO 63031‐7443
MC GROARTY, J S           3524 PHYME DR                                                                         ROCKFORD           IL 61111
MC GROARTY, LORI W        3 PRINSTON ARMS NORTH                                                                 CRANBURY          NJ 08512
MC GROARTY, VERDINE J     26600 TOM ALLEN                                                                       WARREN            MI 48089‐3524
MC GRODER, GRACE J        339 MIDDLESEX RD                                                                      BUFFALO           NY 14216‐3140
MC GROGAN, THOMAS P       17503 ZUBRICK RD                                                                      ROANOKE           IN 46783‐8749
MC GRORY, DAVID P         32 DAILEY DR                                                                          YARDVILLE         NJ 08620‐2602
MC GUAN, BRYAN P          951 N KELLOGG AVE                                                                     SANTA BARBARA     CA 93111‐1022
MC GUAN, MARY F           951 N KELLOGG AVE                                                                     SANTA BARBARA     CA 93111‐1022
MC GUCKIN, GERALD R       152 CANTERBURY DR                                                                     CROSSVILLE        TN 38558‐7094
MC GUCKIN, JOHN           19609 HANNA ST                                                                        MELVINDALE        MI 48122‐1688
MC GUFFIN, ROBERT E       18334 CRYSTAL LAKES DR                                                                N ROYALTON        OH 44133‐6088
MC GUGAN, NORMAN G        5752 SOUTHWARD AVE                                                                    WATERFORD         MI 48329‐1567
MC GUIGAN, OWEN P         11400 WATSON RD                                                                       BATH              MI 48808‐8412
MC GUIGAN, THOMAS J       PO BOX 10265                                                                          ROCHESTER         NY 14610‐0265
MC GUINNESS, ELLEN B      1370 TIPPETTVILLE RD                                                                  VIENNA            GA 31092‐6212
MC GUINNESS, JAMES R      447 RODEO DR                                                                          INDIANAPOLIS      IN 46217‐6029
MC GUINTY, MICHAEL A      4757 ROUNDTREE DR                                                                     BRIGHTON          MI 48116
MC GUIRE CHARLES F        3494 LONG DR                                                                          MINDEN            NV 89423‐7712
MC GUIRE CHEVROLET        ERIC MCGUIRE                    7027 KENNEDY BLVD                                     NORTH BERGEN      NJ 07047‐3933
MC GUIRE JR, BERNARD C    472 S CEDAR RUN CT                                                                    WILLIAMSTON       MI 48895‐9027
MC GUIRE JR, WAYNE E      PO BOX 37                                                                             GAINES            MI 48436‐0037
MC GUIRE JR, WILLIAM H    765 RANDOLPH RD                                                                       MOGADORE          OH 44260‐9331
MC GUIRE, BARBARA J       13335 W 9 MILE RD APT 209                                                             OAK PARK          MI 48237‐2846
MC GUIRE, BEATRICE H      3551 ONEIL BLVD                                                                       MCKEESPORT        PA 15132‐1642
MC GUIRE, BENJAMIN R      608 SUMMIT ST                                                                         BLUEFIELD         VA 24605‐9419
MC GUIRE, CHARLES F       3494 LONG DR                                                                          MINDEN            NV 89423‐7712
MC GUIRE, CHRISTOPHER A   997 BENNINGTON DR                                                                     ROCHESTER         NY 14616‐3317
MC GUIRE, CURTIS          15568 ANNE AVE                                                                        ALLEN PARK        MI 48101‐2702
MC GUIRE, DAVID M         3215 RATHBUN RD                                                                       BIRCH RUN         MI 48415‐8727
MC GUIRE, DENNIS F        3 OLD ORCHARD LN                                                                      LITTLETON         MA 01460‐1428
MC GUIRE, DENNIS W        58 LINCOLN AVE                                                                        LAMBERTVILLE      NJ 08530‐1029
MC GUIRE, DIANE G         11653 DUDLEY ST                                                                       TAYLOR            MI 48180‐4206
MC GUIRE, DONALD S        672 DUNKS RD                                                                          UNION CITY        MI 49094‐9726
MC GUIRE, DOROTHY I       5150 KIRK RD                                                                          YOUNGSTOWN        OH 44515‐5024
MC GUIRE, ELIZABETH A     14837 DOGWOOD COURT                                                                   PLYMOUTH          MI 48170‐2719
MC GUIRE, ELIZABETH C     4280 CHESTNUT RIDGE RD          APT P2                                                AMHERST           NY 14228‐3122
MC GUIRE, ELIZABETH C     4280 CHESTNUT RIDGE RD APT P2                                                         AMHERST           NY 14228‐3122
MC GUIRE, EMILY           58 LINCOLN AVE                                                                        LAMBERTVILLE      NJ 08530
MC GUIRE, ETHELYN G       106 BLUE RIDGE TRL                                                                    ELGIN             TX 78621‐4184
MC GUIRE, FRANK A         1506 CHRISTOPHER CT                                                                   MUNCIE            IN 47304‐5332
MC GUIRE, FRANK J         PO BOX 281                                                                            NEW MIDDLETOWN    OH 44442‐0281
MC GUIRE, GENE L          205 WENCIN WAY                                                                        WEST CHESTER      PA 19382‐1966
MC GUIRE, GLEN            3988 E V AVE                                                                          VICKSBURG         MI 49097‐1047
MC GUIRE, HAROLD H        2780 PATRICK HENRY ST APT 824                                                         AUBURN HILLS      MI 48326‐2259
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Name                       Address1                        Address2               Address3      Address4         City                State Zip
MC GUIRE, HAROLD HAYWARD   2780 PATRICK HENRY ST APT 824                                                         AUBURN HILLS         MI 48326‐2259
MC GUIRE, HARRIET L        4685 BURKY DR.                                                                        YOUNGSTOWN           OH 44515
MC GUIRE, IMOGENE R        417 LAKESIDE DR                                                                       WATERFORD            MI 48328‐4039
MC GUIRE, JAMES H          18 PLEASANT AVE, ROOSEVELT                                                            ROOSEVELT            NY 11575
MC GUIRE, JAMES J          6201 ADDINGTON DR                                                                     COMMERCE TOWNSHIP    MI 48390‐4009
MC GUIRE, JAMES J          4 IROQUOIS TRL                                                                        AIRMONT              NY 10952‐4923
MC GUIRE, JOAN A           13 VIRGINIA CT                                                                        LOCKPORT             NY 14094‐5723
MC GUIRE, JOHN B           13465 BLAKE DR                                                                        PORT CHARLOTTE       FL 33981‐2909
MC GUIRE, JOHN C           708 MILLARD AVE                                                                       ROYAL OAK            MI 48073‐2765
MC GUIRE, JOHN F           1485 STARDUST ST APT 103                                                              RENO                 NV 89503‐4270
MC GUIRE, KATHLEEN R       2488 LAKE 26 RD                                                                       CHARLEVOIX           MI 49720‐9572
MC GUIRE, KEVIN J          623 CORA PL                                                                           RAHWAY               NJ 07065‐3726
MC GUIRE, LARRY G          30915 W 231ST ST                                                                      SPRING HILL          KS 66083‐6080
MC GUIRE, LAURENCE D       21266 REDBUD CT                                                                       WARRENTON            MO 63383‐5725
MC GUIRE, LEE E            34812 CARBON DR                                                                       STERLING HTS         MI 48312‐4934
MC GUIRE, LESTER J         124 PHILADELPHIA AVE                                                                  MASSAPEQUA PARK      NY 11762‐2326
MC GUIRE, LOREN L          78732 SIENA CT                                                                        LA QUINTA            CA 92253‐4950
MC GUIRE, LORRAINE         1840 CROMPOND RD                BLDG 1 APT B6                                         PEEKSKILL            NY 10566
MC GUIRE, MARGARET A       19 PETER RAFFERTY DR            C/O JAMES P. MCGUIRE                                  HAMILTON SQUARE      NJ 08690‐1817
MC GUIRE, MARY A           6035 SHELBURNE ST                                                                     HUMBLE               TX 77396‐1741
MC GUIRE, MARY J           13609 ROGER MACK COURT                                                                CHANTILLY            VA 20151‐3386
MC GUIRE, MATTHEW          316 WILTON RD W                                                                       RIDGEFIELD           CT 06877‐5532
MC GUIRE, MELVIN L         PO BOX 71                                                                             ORIENT               NY 11957‐0071
MC GUIRE, MICHAEL R        127 CHANNEL CT                                                                        HOUGHTON LAKE        MI 48629‐9318
MC GUIRE, NANCY L          1016 SOLANO DR                                                                        AUSTIN               TX 78750‐1409
MC GUIRE, NORMAN A         809 WILLOW VALLEY LAKES DR                                                            WILLOW STREET        PA 17584‐9036
MC GUIRE, OSCAR            15744 SUSSEX ST                                                                       DETROIT              MI 48227‐2659
MC GUIRE, PATRICK J        6319 S STATE HWY 213                                                                  BELOIT               WI 53511
MC GUIRE, PAUL M           822 SHERIDAN DR                                                                       TONAWANDA            NY 14150‐7870
MC GUIRE, RICHARD W        8840 SALINE MILAN RD                                                                  SALINE               MI 48176‐8826
MC GUIRE, RICKY L          39327 BYERS DR                                                                        STERLING HTS         MI 48310‐2615
MC GUIRE, ROBERT A         1403 BALCORTA PL                                                                      LADY LAKE            FL 32159‐8601
MC GUIRE, RODNEY P         111 EAST 12TH STREET                                                                  DELPHOS              OH 45833‐1121
MC GUIRE, RODNEY P         111 E 12TH ST                                                                         DELPHOS              OH 45833‐1121
MC GUIRE, ROGER            27177 72ND AVE                                                                        LAWTON               MI 49065‐9631
MC GUIRE, RUTH             31060 CONCORD DR APT B                                                                MADISON HGTS         MI 48071
MC GUIRE, SHIRLEY R        322 SOUTHEAST CALMOSO DRIVE                                                           PORT ST LUCIE        FL 34983‐2116
MC GUIRE, TERRENCE         324 SOUTHAMPTON DR                                                                    MEDINA               OH 44256‐3850
MC GUIRE, THOMAS F         2811 W 100TH PL                                                                       EVERGREEN PK          IL 60805‐3536
MC GUIRE, THOMAS G         1410 S GRANT AVE                                                                      JANESVILLE           WI 53546‐5409
MC GUIRE, THOMAS J         70485 WELDING RD                                                                      RICHMOND             MI 48062‐5223
MC GUIRE, VIRGINIA B       23575 POWERS AVE                                                                      DEARBORN HTS         MI 48125‐2150
MC GUIRE, WILLIAM G        12261 FOUNDRY HILL RD                                                                 HANOVERTON           OH 44423‐9635
MC GUIRE, WILLIAM H        3435 STIMSON ROAD                                                                     NORTON               OH 44203‐6437
MC GUIRE, WILLIAM J        11101 CORNERSTONE DR                                                                  YARDLEY              PA 19067‐7936
MC GUIRE, WILLIAM R        16401 N 99TH DR                                                                       SUN CITY             AZ 85351‐1251
MC GUIRE, WILLIE V         17121 REDFORD ST APT 201                                                              DETROIT              MI 48219‐3274
MC GUIRK REALTY            ATTN: JAMES D MC GUIRK          1309 S LINDEN RD # A                                  FLINT                MI 48532‐3443
MC GUIRK, JOHN K           17719 SHARP RD                                                                        SIDNEY               OH 45365‐8571
MC GUIRK, JUDY W           1835 HICKORY LN                                                                       FULTONDALE           AL 35068‐1129
MC GULL, RAYMOND           1428 S HOMAN AVE                                                                      CHICAGO               IL 60623‐1647
MC GULL, RAYMOND           1000 N WALLER AVE                                                                     CHICAGO               IL 60651‐2611
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Name                        Address1                         Address2            Address3         Address4         City              State Zip
MC GUNAGLE, EVANS T         3731 RICHLAND ST                                                                       TRENTON            MI 48183‐1720
MC GURGAN, PATRICIA S       275 SUNDOWN TRL                                                                        WILLIAMSVILLE      NY 14221‐2243
MC GURK, JOYCE L            4003 154TH ST                                                                          URBANDALE           IA 50323‐1915
MC GURTY, RAYMOND J         39 BENTON ST                                                                           TONAWANDA          NY 14150‐2301
MC HALE, MARY               14 ASHWOOD LN                                                                          BASKING RIDGE      NJ 07920‐3207
MC HALE, MARY               14 ASHWOOD LANE                                                                        BASKING RIDGE      NJ 07920
MC HALE, MICHAEL J          6550 JIM DE GROAT DR                                                                   EL PASO            TX 79912‐7319
MC HALE, PATRICK D          3291 W GRACELAWN AVE                                                                   FLINT              MI 48504
MC HAN, EDMOND W            125 RIPPLING BRANCH LN                                                                 MURPHY             NC 28906‐2204
MC HANEY, LATOGOS           187 EARLMORE                                                                           PONTIAC            MI 48341
MC HATTEN, HERAL D          PO BOX 1552                                                                            NORWALK            CA 90651‐1552
MC HATTIE, ALEXANDER J      7350 195TH AVE                                                                         REED CITY          MI 49677‐8258
MC HATTIE, ALEXANDER JOHN   7350 195TH AVENUE                                                                      REED CITY          MI 49677‐8258
MC HENRY, BARBARA J         3371 W AUBURN RD                                                                       ROCHESTER HLS      MI 48309‐3108
MC HENRY, CHARLES J         11208 PLUMRIDGE BLVD                                                                   STERLING HTS       MI 48313‐4955
MC HENRY, DONALD E          469 TREMAINE AVE                                                                       KENMORE            NY 14217‐2537
MC HENRY, DONALD E          469 TREMAINE ST AVENUE                                                                 KENMORE            NY 14217‐2537
MC HENRY, FLONNIE M         191 SUNRISE DR                                                                         BOAZ               AL 35956‐2018
MC HENRY, JOHNNY R          12766 FLANDERS ST                                                                      DETROIT            MI 48205‐3910
MC HENRY, PATRICIA A        12766 FLANDERS ST                                                                      DETROIT            MI 48205‐3910
MC HENRY, PATRICIA A        8868 AUBURN ST                                                                         DETROIT            MI 48228‐2959
MC HENRY, RICHARD O         10144 JENNINGS RD                                                                      NORTH COLLINS      NY 14111‐9711
MC HENRY, ROBERT D          9045 NEWMAN DR                                                                         PORTLAND           MI 48875‐8496
MC HENRY, WENDY K           9045 NEWMAN DR                                                                         PORTLAND           MI 48875‐8496
MC HONE, KENNETH D          1308 NUTWOOD DR                                                                        CENTERVILLE        OH 45458‐5108
MC HONE, MIME M             5821 IVY HILL RD                                                                       HILLSBORO          OH 45133‐9605
MC HONE, MIME M             5770 US HIGHWAY 52                                                                     HILLSBORO          OH 45133‐9541
MC HUGH JR, DONALD P        139 GOLDENROD LN                                                                       LIGONIER           PA 15658‐3565
MC HUGH JR, JAMES J         161 STANFORD RD                                                                        VENICE             FL 34293‐6546
MC HUGH KATHARINE I         11122 MAIN RD                                                                          FENTON             MI 48430‐9717
MC HUGH, ARNOLD D           5524 W HENRY RD                                                                        OREGON              IL 61061‐9525
MC HUGH, DOLORES M          16351 ROTUNDA DR                 APT. 180E                                             DEARBORN           MI 48120
MC HUGH, DONALD E           2403 LOST CREEK DR                                                                     TOLEDO             OH 43617‐1654
MC HUGH, DONALD P           2301 LONGCREST AVE                                                                     BETHEL PARK        PA 15102‐2125
MC HUGH, EDWARD A           135 IVY HILL DR                                                                        ABERDEEN           NJ 07747‐1546
MC HUGH, ETHEL              11 CRAFTS RD                                                                           CARMEL             NY 10512‐3701
MC HUGH, GEORGE L           5648 TOWNLINE RD                                                                       WEST VALLEY        NY 14171‐9740
MC HUGH, GEORGE LAWRENCE    5648 TOWNLINE RD                                                                       WEST VALLEY        NY 14171‐9740
MC HUGH, JOHN A             4540 CANDLEWOOD DR                                                                     LOCKPORT           NY 14094‐1249
MC HUGH, JOHN T             PO BOX 734                                                                             HOWELL             NJ 07731‐0734
MC HUGH, KATHARINE I        11122 MAIN RD                                                                          FENTON             MI 48430‐9717
MC HUGH, MADELINE J         4932 LEONA DR                                                                          PITTSBURGH         PA 15227‐1342
MC HUGH, MARK J             2171 BEECHNUT TRL                                                                      HOLT               MI 48842‐8761
MC HUGH, MARY A             35616 HERITAGE LN                                                                      FARMINGTON         MI 48335‐3138
MC HUGH, THOMAS E           2921 ATLANTIC PARK AVE                                                                 FLORISSANT         MO 63031‐1425
MC HUTCHION, WILLIAM D      4393 KINGS MILL RD                                                                     NORTH BRANCH       MI 48461‐8835
MC ILHANY, MATTHEW J        5208 W 120TH PL                                                                        ALSIP               IL 60803‐3174
MC ILHARGEY, TERRY L        35370 DOWNING CT                                                                       CLINTON TWP        MI 48035‐3127
MC ILRATH JR, JAMES H       5385 VINCENT AVE                                                                       WATERFORD          MI 48327‐2480
MC ILRATH, EVALYN           4690 N RIVER RD                                                                        HOUGHTON LAKE      MI 48629‐9673
MC ILRATH, ROBERT D         228 TOUCAN ST                                                                          ROCHESTER HILLS    MI 48309‐3463
MC ILROY, GARY L            97 ASCOT AVE                                                                           WATERFORD          MI 48328‐3503
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Name                     Address1                        Address2            Address3         Address4         City               State Zip
MC ILVRIDE, RICHARD      5065 HOSNER RD                                                                        METAMORA            MI 48455‐9376
MC ILWAIN, NEBRASKA      295 CHELSEA PL                                                                        BUFFALO             NY 14215‐3003
MC ILWAIN, NORMAN B      PO BOX 110411                                                                         BIRMINGHAM          AL 35211‐0411
MC ILWAINE, STEPHEN J    3255 SOUTH DR                                                                         CALEDONIA           NY 14423‐1121
MC INALLY, DOUGLAS D     1070 S DEHMEL RD                                                                      FRANKENMUTH         MI 48734‐9730
MC INALLY, GEORGE F      762 SNUG IS                                                                           CLEARWATER          FL 33767‐1831
MC INALLY, JACK C        372 LOVELL RD                                                                         OLIVE HILL          KY 41164‐9595
MC INALLY, JAMES F       1020 SQUAW CREEK RD                                                                   FOSTORIA            MI 48435‐9415
MC INALLY, PHYLLIS J     PO BOX 88                                                                             SILVERWOOD          MI 48760‐0088
MC INALLY, PHYLLIS J     P.O.BOX 88                                                                            SILVERWOOD          MI 48760‐0088
MC INALLY, WILLIAM D     3859 BRONSON LAKE RD                                                                  LAPEER              MI 48446‐9092
MC INALLY, WILLIAM G     4224 W POINTE DR                                                                      WATERFORD           MI 48329‐4635
MC INAW, MARY J          337 NEW MARKET CT                                                                     CHESTERBROOK        PA 19087‐1212
MC INDOO, WILLIAM H      141 BLACKSMITHS DR                                                                    GEORGETOWN          TX 78633‐4518
MC INERNEY, DONALD P     6555 TRINKLEIN RD                                                                     SAGINAW             MI 48609‐7048
MC INERNEY, TERRY L      1885 DOUGLAS DR                                                                       TAWAS CITY          MI 48763‐9441
MC INERNEY, THOMAS J     3111 E BIRCH DR                                                                       BAY CITY            MI 48706‐1201
MC ININCH, BONNIE M      829 HOLLY BUSH DR                                                                     HOLLY               MI 48442‐1371
MC INNES, COLIN A        1810 INDIAN PAINT BRUSH RD                                                            SAN ANTONIO         TX 78232‐4931
MC INNES, DAVID A        31516 ROSENBUSCH DR                                                                   WARREN              MI 48088‐2040
MC INNES, GERALD G       5940 21ST ST N #E‐11                                                                  ST PETERSBURG       FL 33714
MC INNES, HUGH E         4155 INDEPENDENCE DR                                                                  FLINT               MI 48506‐1629
MC INNES, JOHN W         401 FAIRWOOD RD                                                                       PINCKNEY            MI 48169‐9026
MC INNIS, CLIFFORD J     1340 CAROLINA                                                                         MARYSVILLE          MI 48040‐1413
MC INNIS, DANNIE N       7828 HOMING PIGEON ST                                                                 NORTH LAS VEGAS     NV 89084‐3725
MC INNIS, JAMES E        3100 MINNESOTA AVE #113E                                                              KANSAS CITY         KS 66102
MC INNIS, JOHN R         1731 DUNWOODIE ST                                                                     ORTONVILLE          MI 48462‐8584
MC INNIS, S              755 PORTLAND                                                                          PONT                MI 48340‐2661
MC INNIS, TIMOTHY J      4530 BAER RD                                                                          RANSOMVILLE         NY 14131‐9304
MC INNIS, WILLIAM J      49882 OXFORD COURT, SITE 201                                                          SHELBY TOWNSHIP     MI 48315
MC INTAGGART, JAMES P    S76W19666 PROSPECT DR                                                                 MUSKEGO             WI 53150‐9226
MC INTIRE, CARL W        8401 18 MILE ROAD #83D                                                                STERLING HEIGHTS    MI 48313
MC INTIRE, HILDA F       3671 PARMENTER RD                                                                     DURAND              MI 48429‐9757
MC INTIRE, MARY E        PO BOX 1473                                                                           CLARKSTON           MI 48347‐1473
MC INTIRE, ROBERT L      3671 PARMENTER RD                                                                     DURAND              MI 48429‐9757
MC INTOSH JR, ANCE       PO BOX 187                                                                            CRAB ORCHARD        KY 40419‐0187
MC INTOSH JR, GEORGE A   20919 BENJAMIN ST                                                                     ST CLAIR SHORES     MI 48081
MC INTOSH MD, MARVIN L   8620 SCHWARTZ ROAD                                                                    KANSAS CITY         KS 66111
MC INTOSH, ALITA         29631 ROCK CREEK DR.                                                                  SOUTHFIELD          MI 48076‐1872
MC INTOSH, BEVERLY J     3755 WINTERGREEN LN                                                                   GRAYLING            MI 49738
MC INTOSH, CAROL M       6524 CRANWOOD DR                                                                      FLINT               MI 48505‐1951
MC INTOSH, CAROL MARIE   6524 CRANWOOD DR                                                                      FLINT               MI 48505‐1951
MC INTOSH, CAROLEE S     13760 MC KINLEY RD                                                                    MONTROSE            MI 48457‐9059
MC INTOSH, CAROLEE S     13760 MCKINLEY RD                                                                     MONTROSE            MI 48457
MC INTOSH, CHARLES H     3732 HUNTERS CREEK RD                                                                 METAMORA            MI 48455‐8731
MC INTOSH, DAVID S       19977 OLD POND CT                                                                     BEVERLY HILLS       MI 48025‐2910
MC INTOSH, DENNIS        9776 PONTIAC TRL                                                                      SOUTH LYON          MI 48178‐9603
MC INTOSH, DORCAS A      3847 MARKET ST                                                                        SAN FRANCISCO       CA 94131‐1343
MC INTOSH, DOROTHY I     81914 PASEO REAL AVE                                                                  INDIO               CA 92201‐3925
MC INTOSH, DOROTHY I     81‐914 PASEO REAL                                                                     INDIO               CA 92201‐3925
MC INTOSH, ELIJAH B      1693 SIMPSON HIGHWAY 28 W                                                             PINOLA              MS 39149‐3163
MC INTOSH, EUGENE        2606 RAVINIA LN                                                                       WOODRIDGE            IL 60517‐2216
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Name                         Address1                         Address2            Address3         Address4         City            State Zip
MC INTOSH, FARRIS R          1009 PALESTINE RD                                                                      NEWBERN          TN 38059‐5435
MC INTOSH, FLOYD J           6521 KNIGHTS WAY                                                                       KALAMAZOO        MI 49009‐7016
MC INTOSH, GLEN R            1608 WASHINGTON AVE                                                                    LINCOLN PARK     MI 48146‐2123
MC INTOSH, GLORIA J          6658 ROBINRIDGE ST                                                                     BRIGHTON         MI 48116‐2018
MC INTOSH, GORDON L          3152 SCHOOLHOUSE DR                                                                    WATERFORD        MI 48329‐4330
MC INTOSH, HERBERT K         10424 E CENTRAL AVE                                                                    SPOKANE          WA 99217‐9668
MC INTOSH, HUBERT            60 REAR ALLSTON ST                                                                     SOMERVILLE       MA 02143
MC INTOSH, JAMES A           54201 ARROWHEAD DR                                                                     SHELBY TWP       MI 48315‐1205
MC INTOSH, JAMES C           1718 W OTTAWA ST                                                                       LANSING          MI 48915‐1773
MC INTOSH, JAMES G           6893 KATAHDIN DR                                                                       POLAND           OH 44514‐2168
MC INTOSH, JAMES L           1617 E MOORE RD                                                                        MILFORD          MI 48381‐4083
MC INTOSH, JAMES L           8720 MARR RD                                                                           ALMONT           MI 48003‐9649
MC INTOSH, JAMES L           5181 BARRYWOOD DR                                                                      GOODRICH         MI 48438‐9755
MC INTOSH, JANEIRO M         6419 E MOUNT MORRIS RD                                                                 MOUNT MORRIS     MI 48458‐9731
MC INTOSH, JESSIE L          5143 KELLIS STORE RD                                                                   DE KALB          MS 39328‐7066
MC INTOSH, JOHN D            312 DAKOTA ST                                                                          YPSILANTI        MI 48198‐6016
MC INTOSH, JOHN E            19815 RUTHERFORD ST                                                                    DETROIT          MI 48235‐2351
MC INTOSH, JOHN EDWARD       19815 RUTHERFORD ST                                                                    DETROIT          MI 48235‐2351
MC INTOSH, JOHN J            3744 CAMINO RD                                                                         HARRISON         MI 48625‐8002
MC INTOSH, JOHN R            13806 W POINT DR                                                                       GOWEN            MI 49326‐9520
MC INTOSH, KAREN             5181 BARRYWOOD DR                                                                      GOODRICH         MI 48438‐9755
MC INTOSH, LARRY J           5249 N GALE RD                                                                         DAVISON          MI 48423‐8956
MC INTOSH, LARRY T           3214 OLIVE ST                                                                          KANSAS CITY      MO 64109‐2159
MC INTOSH, LARRY W           1550 S BALDWIN RD                                                                      LAKE ORION       MI 48360‐1008
MC INTOSH, LUCILLE R         40503 KOPPERNICK RD                                                                    CANTON           MI 48187‐4281
MC INTOSH, M                 P O BOX 92                                                                             ATTICACITY       MI 48412
MC INTOSH, MARGARITA         70 WOODCHUCK PARKWAY                                                                   WHITING          NJ 08759‐3640
MC INTOSH, MARGARITA         70 WOODCHUCK PKWY                                                                      WHITING          NJ 08759‐3640
MC INTOSH, MARTIN J          129 TWO BUMPS RD                                                                       ENNIS            MT 59729‐9162
MC INTOSH, MARY E            1131 E CENTRAL AVE                                                                     MIAMISBURG       OH 45342‐2557
MC INTOSH, MARY E            1131 E. CENTRAL AVE.                                                                   MIAMISBURG       OH 45342‐2557
MC INTOSH, MARY J            4125 PARK ST N LOT 10A                                                                 ST PETERSBURG    FL 33709‐4073
MC INTOSH, MARY T            121 STONEQUARRY RD                                                                     VANDALIA         OH 45377‐9510
MC INTOSH, NORMA J           33221 STONER DR                                                                        STERLING HTS     MI 48312‐6663
MC INTOSH, ORA E             8225 FREEMAN AVE                                                                       KANSAS CITY      KS 66112‐1766
MC INTOSH, PATRICIA          1505 W MAIN ST                                                                         KALAMAZOO        MI 49006‐3103
MC INTOSH, PATRICIA          1505 W MAIN                                                                            KALAMAZOO        MI 49006‐3103
MC INTOSH, RICHARD L         2931 CLARK RD                                                                          LAPEER           MI 48446‐9482
MC INTOSH, ROBERT D          3617 DUPONT ST                                                                         FLINT            MI 48504‐3520
MC INTOSH, ROY D             310 KALLOCK ST                                                                         RICHMOND         KS 66080
MC INTOSH, STEVEN R          3330 10TH ST                                                                           MONROE           MI 48162‐4857
MC INTOSH, SYLVIA D          5274 GREENLEAF DR                                                                      SWARTZ CREEK     MI 48473‐1165
MC INTOSH, VELMA R           3539 BUTTERNUT ROAD                                                                    SAGINAW          MI 48604‐9506
MC INTOSH, WILLIAM D         3600 2 MILE RD                                                                         ATHENS           MI 49011‐9704
MC INTOSH‐ ALLEN, STELLA M   PO BOX 117                                                                             VANDALIA         MI 49095‐0117
MC INTYRE BROTHERS INC       1020 7TH ST                      PO BOX 67                                             BEDFORD          IN 47421‐2324
MC INTYRE BROTHERS INC       PO BOX 67                                                                              BEDFORD          IN 47421
MC INTYRE JR, FLOYD A        1563 RIBBLE ST                                                                         SAGINAW          MI 48601‐6851
MC INTYRE JR, JAMES C        2644 LUPINE CIR                                                                        NAPERVILLE        IL 60564‐4979
MC INTYRE JR, MATTHEW        1007 W HILLSDALE ST                                                                    LANSING          MI 48915‐1645
MC INTYRE LEE, DOROTHY       1036 CABOT DR                                                                          FLINT            MI 48532‐2632
MC INTYRE, ANNA R            9198 SEMINOLE                                                                          DETROIT          MI 48239‐2326
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Name                         Address1                        Address2            Address3         Address4         City            State Zip
MC INTYRE, BARBARA R         267 FORTHTON DR                                                                       TROY             MI 48084‐5454
MC INTYRE, BETTY A           8020 TROXAWAY COURT                                                                   LEWISVILLE       NC 27023‐9706
MC INTYRE, CHARLES E         2700 W LONG LAKE RD                                                                   TROY             MI 48098‐5407
MC INTYRE, CHARLOTTE A       3985 CHATHAM WAY                                                                      SANTA MARIA      CA 93455‐3462
MC INTYRE, COLUMBINE E       5082 LAPEER RD                                                                        COLUMBIAVILLE    MI 48421‐9744
MC INTYRE, D R
MC INTYRE, DANIEL E          502 15TH ST TERR                                                                      OSAWATOMIE      KS   66064
MC INTYRE, DANNY E           400 MORROW ST                                                                         KALAMAZOO       MI   49048‐9575
MC INTYRE, DARWIN L          PO BOX 403                                                                            NASHVILLE       MI   49073‐0403
MC INTYRE, DON L             14302 W VIA MANANA                                                                    SUN CITY WEST   AZ   85375‐2846
MC INTYRE, DOROTHY I         411 GREENSFERRY ROAD                                                                  JACKSON         MO   63755‐1351
MC INTYRE, DORTHIE J         13074 CHURCHILL DR                                                                    STERLING HTS    MI   48313‐1917
MC INTYRE, EDWARD E          2180 W FORK RD                                                                        LAPEER          MI   48446‐8039
MC INTYRE, FRED              1744 PEPPERMILL RD                                                                    LAPEER          MI   48446‐3246
MC INTYRE, GERALD D          6317 KEVIN DR                                                                         BRIGHTON        MI   48116‐1761
MC INTYRE, GERALD J          2903 BUNGALOW LN                                                                      HENDERSON       NV   89074‐5757
MC INTYRE, GLORIA D          6169 TRENTON DR                                                                       FLINT           MI   48532‐3242
MC INTYRE, GRACE M           1136 CREEKSIDE VILLAGE WAY                                                            SEYMOUR         TN   37865‐5257
MC INTYRE, HENRIETTA R       451 BALDWIN                                                                           ROCHESTER       MI   48307
MC INTYRE, IRA F             2905 PRAIRIE AVENUE                                                                   MATTOON         IL   61938‐2303
MC INTYRE, JAMES B           13807 SE 14TH ST                                                                      VANCOUVER       WA   98683‐7010
MC INTYRE, JAMES O           677 WHITE OAK RD                                                                      FALMOUTH        VA   22405‐5730
MC INTYRE, JAMES R           11749 MILLSTONE DR                                                                    GRAND LEDGE     MI   48837‐2268
MC INTYRE, JOHN C            6435 WOODLAND AVE                                                                     SHELBY TWP      MI   48316‐2582
MC INTYRE, JOHN E            824 GLASPIE ROAD                                                                      OXFORD          MI   48371‐5023
MC INTYRE, JOHN J SONS INC   514 KNORR ST                                                                          PHILADELPHIA    PA   19111‐4604
MC INTYRE, JOYCE             7290 ASHARD RD                                                                        LAKE            MI   48632‐8529
MC INTYRE, JOYCE M           12602 NE 32ND ST                                                                      BELLEVUE        WA   98005‐1614
MC INTYRE, KENNY A           2801 LIATRIS LN                                                                       CHARLOTTE       NC   28213‐9263
MC INTYRE, LESTER L          2021 CANFIELD RD                                                                      YOUNGSTOWN      OH   44511‐2919
MC INTYRE, MARY J            1744 PEPPERMILL RD                                                                    LAPEER          MI   48446‐3246
MC INTYRE, RICHARD D         1513 ROOSEVELT AVE                                                                    LANSING         MI   48915‐2239
MC INTYRE, ROBERT L          6169 TRENTON DR                                                                       FLINT           MI   48532‐3242
MC INTYRE, SHARON L          3305 CRANSTON RD                                                                      MOREHEAD        KY   40351‐8428
MC INTYRE, SHARYN A          7153 STEEPLECHASE WAY                                                                 LANSING         MI   48917‐8852
MC INTYRE, SUZANNE C         9121 N YUMA TRL                                                                       NEGLEY          OH   44441‐9762
MC INTYRE, VALERIE           3477 W COLDWATER RD                                                                   MOUNT MORRIS    MI   48458
MC INTYRE, W A               6A JUNIPER LN                                                                         WHITING         NJ   08759‐1741
MC INTYRE, WALLACE H         2797 NE 51ST ST APT 504         WATERWAY LANDINGS                                     FT LAUDERDALE   FL   33308‐4115
MC INTYRE, WILLIAM F         4325 ANDREW LN                                                                        BROOKSVILLE     FL   34601‐8369
MC INTYRE, WILLIAM J         35996 LEON ST                                                                         LIVONIA         MI   48150‐2551
MC ISAAC, GREGORY J          19456 CHALK DR                                                                        MACOMB          MI   48044‐1768
MC ISAAC, JOYCE B            22797 SNAPTAIL CT                                                                     ESTERO          FL   33928‐2355
MC ISAAC, NEIL R             12852 MASONIC BLVD                                                                    WARREN          MI   48088‐1217
MC ISAAC, SHEILA A           9550 RATTALEE LAKE ROAD                                                               CLARKSTON       MI   48348
MC ISAAC, THOMAS H           92 ADAMS ST                                                                           ABINGTON        MA   02351‐2028
MC IVER II, JAMES E          4233 JONESBORO RD               L‐11                                                  FOREST PARK     GA   30297
MC IVER, LAURA C             6301 MEADOWBROOK AVE                                                                  CLEVELAND       OH   44144‐1514
MC IVER, MARY A              1545 HICKORY LEVEL RD                                                                 VILLA RICA      GA   30180
MC IVER, VIRGIE M            186 BERRY ST                                                                          CAMDEN          TN   38320‐1337
MC IVOR, CLARENCE L          G 4334 RICHFIELD RD                                                                   FLINT           MI   48506
MC IVOR, JAMES L             PO BOX 2365                                                                           GRANBURY        TX   76048‐7365
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Name                   Address1                       Address2              Address3       Address4         City                  State Zip
MC JAMES, GLENN E      6040 WISE RD                                                                         LANSING                MI 48911‐4505
MC JUNKINS, GLADYS M   8539 SANDUSKY AVE                                                                    KANSAS CITY            KS 66112‐1850
MC JUNKINS, MARY E     7500 CALLAGHAN ROAD #208                                                             SAN ANTONIO            TX 78229‐2835
MC KAHAN, JOHN W       7102 GRENLOCK DR                                                                     SYLVANIA               OH 43560‐1164
MC KAIG, DEAN E        40260 WILLIAM DR                                                                     STERLING HTS           MI 48313‐4073
MC KAMEY, GARY W       2822 GLENVIEW AVE                                                                    ROYAL OAK              MI 48073‐3119
MC KAMEY, RUTH M       5508 WATERLOO RD                                                                     DAYTON                 OH 45459‐1829
MC KAN, RONALD         17 LISLE AVE                                                                         BINGHAMTON             NY 13901‐3906
MC KANNA, MICHAEL J    2375 SUNSET BLUFF DR                                                                 HOLLAND                MI 49424‐2234
MC KANNA, NORL W       726 COUNTRY CLUB DR                                                                  SAINT CLAIR SHORES     MI 48082‐2949
MC KANNA, REVA         1264 GRACE ST                                                                        MANSFIELD              OH 44905‐2211
MC KANOBB, RICARDO A   APT 21I                        3300 WALL BOULEVARD                                   GRETNA                 LA 70056‐8619
MC KARNEN, ROBERT A    2246 MOUNTAIN PINE RD LOT 17                                                         HOT SPRINGS            AR 71913‐1501
MC KAY JR, BRADLEY     4051 QUILLEN AVE                                                                     WATERFORD              MI 48329‐2053
MC KAY JR, CHARLES     4149 HARRIET ST                                                                      INKSTER                MI 48141‐2946
MC KAY JR, JAMES W     4623 W ISABELLA RD                                                                   SHEPHERD               MI 48883‐9632
MC KAY JR, JOE T       20524 MARLOWE ST                                                                     DETROIT                MI 48235‐1645
MC KAY, ALBERT L       2710 WHITNEY AVE                                                                     NIAGARA FALLS          NY 14301‐1432
MC KAY, ALDONIA        20108 GILCHRIST ST                                                                   DETROIT                MI 48235‐2437
MC KAY, AMY M          1820 W STOLL RD                                                                      DEWITT                 MI 48820‐8638
MC KAY, ARTHUR B       1045 LEISURE DR                                                                      FLINT                  MI 48507‐4058
MC KAY, BETTY R        2706 AVENUE OF THE WOODS                                                             LOUISVILLE             KY 40241‐6283
MC KAY, BONNIE M       49149 VILLAGE POINTE DR        C/O THOMAS W MCKAY                                    SHELBY TWP             MI 48315‐3985
MC KAY, CARL H         2177 W 15 MILE RD                                                                    BITELY                 MI 49309‐9653
MC KAY, CAROL L        6204 S CRESTLINE ST                                                                  SPOKANE                WA 99223‐6827
MC KAY, CARTER W       6616 HAKE RD                                                                         AKRON                  NY 14001‐9667
MC KAY, CYNTHIA S      2105 W ACADIA ST                                                                     HARLINGEN              TX 78552‐7473
MC KAY, DAVID L        1396 106TH AVE                                                                       OTSEGO                 MI 49078‐9701
MC KAY, DELPHINE C     14580 SMOKE TREE CT                                                                  SHELBY TWP             MI 48315‐4320
MC KAY, DONALD E       4020 HILLSDALE AVE NE                                                                GRAND RAPIDS           MI 49525‐1439
MC KAY, DONALD J       935 SUNSET RIDGE LN                                                                  LAWRENCEVILLE          GA 30045‐2335
MC KAY, DONALD L       2287 S STATE RD                                                                      DAVISON                MI 48423‐8701
MC KAY, DOROTHY A      2708 MAIN ST                   APT #6                                                MUNHALL                PA 15120
MC KAY, DOUGLAS L      63175 W CHARLESTON DR                                                                WASHINGTON TOWNSHIP    MI 48095‐2431
MC KAY, FLORENCE J     2518 OVERBROOK                                                                       HIGHLAND               MI 48357‐4234
MC KAY, GARY G         9819 BURSON DR                                                                       BRIGHTON               MI 48116‐1925
MC KAY, GEORGE         3201 E VERMONT AVE                                                                   PHOENIX                AZ 85018‐1468
MC KAY, GERALD L       92 DEERFIELD PINES DR                                                                NORTH BRANCH           MI 48461‐9613
MC KAY, GERALDINE Z    6555 W 75TH ST APT 305                                                               OVERLAND PARK          KS 66204‐0047
MC KAY, GLENN E        1629 ALTON RD                                                                        PORT CHARLOTTE         FL 33952‐4706
MC KAY, GRACE          20‐21 CARLTON PL                                                                     FAIR LAWN              NJ 07410‐2701
MC KAY, HERBERT F      4223 CLARA ST                                                                        CUDAHY                 CA 90201‐5009
MC KAY, HERBERT F      4223 CLARA                                                                           CUDAHY                 CA 90201‐5009
MC KAY, IRENE L        605 JOHN ANDERSON HIGHWAY                                                            FLAGLER BEACH          FL 32136‐4402
MC KAY, ISABELLA       4057 CRESCENT DR               CANTERBURY GARDENS                                    NORTH TONAWANDA        NY 14120‐3828
MC KAY, JACKIE G       28600 ASPEN DR                                                                       NORTH OLMSTED          OH 44070‐5107
MC KAY, JEROLYN L      2175 E NICHOLS DR                                                                    CENTENNIAL             CO 80122‐3209
MC KAY, JERRY D        2518 OVERBROOK                                                                       HIGHLAND               MI 48357‐4234
MC KAY, JOHN S         75 OLD MEADOW DRIVE                                                                  ROCHESTER              NY 14626‐3505
MC KAY, KAREN A        824 E HURON ST                                                                       MILFORD                MI 48381‐2420
MC KAY, KAREN L        1625 ALINE DR                                                                        GROSSE POINTE          MI 48236‐1058
MC KAY, KEITH H        PO BOX 26                                                                            ELLSWORTH              MI 49729‐0026
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Name                    Address1                     Address2            Address3         Address4         City             State Zip
MC KAY, KYOKO H         30580 WARREN RD                                                                    WESTLAND          MI 48185‐2904
MC KAY, LAWRENCE        7709 SKYLARK DR SE                                                                 GRAND RAPIDS      MI 49508‐7284
MC KAY, LISA J          606 ASHLUND AVENUE                                                                 WAKEFIELD         MI 49968‐1406
MC KAY, LLOYD E         1226 YELLOWBRICK RD                                                                PENDLETON         IN 46064‐9303
MC KAY, LUCILLE         3605 CASSIUS STREET                                                                FLINT             MI 48505‐4084
MC KAY, MARIAN L        822 ALDERMAN ST                                                                    BELDING           MI 48809‐2202
MC KAY, MARVIN D        12730 MCCOMB RD                                                                    LACHINE           MI 49753‐9402
MC KAY, MARY L          4366 DELHI DR                                                                      KETTERING         OH 45432‐3426
MC KAY, MAXINE A        21420 KEATING WAY                                                                  LUTZ              FL 33549‐8754
MC KAY, MICHAEL A       5540 INDIAN TRL                                                                    CHINA             MI 48054‐4400
MC KAY, MIRIAM          2016 W 11TH ST                                                                     LORAIN            OH 44052‐1102
MC KAY, PATRICIA        75 OLD MEADOW DRIVE                                                                ROCHESTER         NY 14626
MC KAY, RITA            3 DAWN WAY                                                                         TOMS RIVER        NJ 08757‐6536
MC KAY, ROBERT          6836 SHOREY LN                                                                     CORDOVA           TN 38018‐7916
MC KAY, ROBERT B        1235 LAWNVIEW CT                                                                   FLINT             MI 48507‐4710
MC KAY, ROBERT D        5069 PRENTIS DR                                                                    TROY              MI 48085‐3455
MC KAY, STEVEN W        710 HAMPTON ST                                                                     CHESANING         MI 48616‐1623
MC KAY, SUSAN J         14 WHARF DR                                                                        SALEM             SC 29676‐4633
MC KAY, SUZANNE R       106 LA CUMBRE CIR                                                                  SANTA BARBARA     CA 93105‐4473
MC KAY, TERRY E         1820 W STOLL RD                                                                    DEWITT            MI 48820‐8638
MC KAY, THOMAS A        2005 PROPER AVE                                                                    BURTON            MI 48529‐2047
MC KAY, TIMOTHY D       5805 IVAN RD                                                                       SARANAC           MI 48881‐8504
MC KAY, WILLIAM D       644 ELM ST                                                                         MOUNT MORRIS      MI 48458‐1918
MC KAY, WILLIAM R       6125 PERRYVILLE RD                                                                 HOLLY             MI 48442‐9481
MC KEACHIE, DUANE D     1511 SUN TERRACE DR                                                                FLINT             MI 48532‐2244
MC KEAGE, DARYL M       1496 W BLACKMORE RD                                                                MAYVILLE          MI 48744‐9785
MC KEAN BRIAN           13710 TALBOT ST                                                                    OAK PARK          MI 48237‐1181
MC KEAN, BRADLEY N      6834 CANYON RUN DR                                                                 EL PASO           TX 79912‐7448
MC KEAN, BRIAN P        13710 TALBOT ST                                                                    OAK PARK          MI 48237‐1181
MC KEAN, JAMES J        10604 QUIRK ROAD                                                                   BELLEVILLE        MI 48111‐5213
MC KEAN, JAMES JOSEPH   10604 QUIRK ROAD                                                                   BELLEVILLE        MI 48111‐5213
MC KECHNIE, GORDON B    5424 SEYMOUR LAKE RD                                                               OXFORD            MI 48371‐4142
MC KEDY, GEORGE E       3253 SENECA AVE                                                                    NIAGARA FALLS     NY 14305‐3340
MC KEE JR, CLAIRE       522 HEATHER DR                                                                     HARBOR SPRINGS    MI 49740‐9298
MC KEE JR, JAMES        4517 S LAMON AVE                                                                   CHICAGO            IL 60638‐1957
MC KEE JR, ROBERT       28822 RAVENWOOD STREET                                                             FARMINGTN HLS     MI 48334‐2754
MC KEE, ALBERT G        3000 E B AVE                                                                       PLAINWELL         MI 49080‐9602
MC KEE, ANNABEL         35736 SHELLY DRIVE                                                                 LEESBURG          FL 34788‐2860
MC KEE, ANNABEL         35736 SHELLEY DR                                                                   LEESBURG          FL 34788‐2860
MC KEE, ANTHONY G       2486 HUTCHINSON LN                                                                 FLINT             MI 48507‐3827
MC KEE, CARL L          2411 OAK RIDGE RD                                                                  WEST POINT        MS 39773‐8519
MC KEE, DAVID A         1551 ANNE AVE                                                                      LINCOLN PARK      MI 48146‐1703
MC KEE, DAVID M         5053 CARRIGAN RD                                                                   CLYDE             MI 48049‐2008
MC KEE, DUANE P         72 HERITAGE EST                                                                    ALBION            NY 14411‐9772
MC KEE, EDWARD J        18456 DENBY                                                                        REDFORD           MI 48240‐2049
MC KEE, EDWINA G        1196 ACADEMIC WAY                                                                  HASLETT           MI 48840‐9728
MC KEE, ELEANOR J       665 GALLOPING BEND CT                                                              AUBURN            GA 30011‐4668
MC KEE, FLOYD B         3883 PUTNAM RD                                                                     HALE              MI 48739‐8702
MC KEE, GERALD R        4438 SAINT JAMES AVE                                                               DAYTON            OH 45406‐2345
MC KEE, GORDON D        1701 E TOWNSEND RD                                                                 SAINT JOHNS       MI 48879‐8003
MC KEE, HAROLD I        845 DEER RUN BLVD                                                                  PRUDENVILLE       MI 48651‐9201
MC KEE, HARRY H         401 N BEAVER ST                                                                    LISBON            OH 44432‐1001
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Name                         Address1                       Address2               Address3      Address4         City              State Zip
MC KEE, HERBERT S            384 ADAMS CT                                                                         FERNDALE           MI 48220‐3222
MC KEE, HERBERT S.           384 ADAMS CT                                                                         FERNDALE           MI 48220‐3222
MC KEE, HOWARD L             3612 KINGS CORNER RD                                                                 OSCODA             MI 48750‐9697
MC KEE, HUGH M               PO BOX 717                     611 COVE DR                                           PORT AUSTIN        MI 48467‐0717
MC KEE, ILA B                5891 WINDSOR CIR                                                                     MERIDIAN           MS 39305‐9705
MC KEE, JAMES L              1666 JOHN SHARP RD                                                                   SPRING HILL        TN 37174‐2534
MC KEE, JERRY H              311 LEAHY MILL CT                                                                    MATTHEWS           NC 28104‐9746
MC KEE, JOAN                 515 21ST ST APT 3                                                                    SACRAMENTO         CA 95811
MC KEE, JOHN E               5112 SAMUEL PINCKNEY DR                                                              BELMONT            NC 28012‐8653
MC KEE, JOHN R               4131 EAGLES NEST DR                                                                  WATERFORD          MI 48329‐1625
MC KEE, JOHNNIE M            3362 W HANCOCK                                                                       DETROIT            MI 48208‐1860
MC KEE, KENNETH              33480 UTICA RD                                                                       FRASER             MI 48026‐3561
MC KEE, LEONA                205 S FARMER ST                APT B                                                 OTSEGO             MI 49078
MC KEE, LEONA                205 S FARMER ST APT B                                                                OTSEGO             MI 49078‐1370
MC KEE, MARY E               1366 E 25TH ST                                                                       TULSA              OK 74114‐2702
MC KEE, MARY M               528 SW 68TH ST                                                                       OKLAHOMA CITY      OK 73139‐4308
MC KEE, MICHAEL J            PO BOX 291                                                                           LAPEER             MI 48446‐0291
MC KEE, NADINE               1379 KNICKERBOCKER AVE                                                               FLINT              MI 48505‐1128
MC KEE, NADINE               1379 W KNICKERBOCKER                                                                 FLINT              MI 48505‐1128
MC KEE, OTHALEAN             4385 W VASSAR AVE                                                                    FRESNO             CA 93722‐8001
MC KEE, PATRICK J            502 E BLOOMFIELD AVE                                                                 ROYAL OAK          MI 48073‐3562
MC KEE, PATRICK R            PO BOX 695                                                                           FLINT              MI 48501‐0695
MC KEE, R B                  47 GARNET DR                                                                         BUFFALO            NY 14227‐2449
MC KEE, RANDYE C             3415 OAK RIDGE AVE                                                                   LUBBOCK            TX 79407‐1825
MC KEE, RICHARD J            1400 ORMOND RD                                                                       WHITE LAKE         MI 48383‐2230
MC KEE, ROBERT K             10240 MORTENVIEW DR                                                                  TAYLOR             MI 48180‐3770
MC KEE, ROBERT L             3511 PILGRIM HWY                                                                     FRANKFORT          MI 49635‐9587
MC KEE, ROBERT T             8851 N ORACLE RD APT 241                                                             TUCSON             AZ 85704‐7456
MC KEE, THOMAS W             12321 SMOKEY DRIVE                                                                   HUDSON             FL 34669‐2769
MC KEEHAN, GLORIA J          1544 LYNNE CT                                                                        REDLANDS           CA 92373‐7143
MC KEEHAN, MARY M            1439 PARKVIEW ST                                                                     MANTECA            CA 95337‐5178
MC KEEHAN, WILLIAM R         24504 W JANET LN                                                                     CHANNAHON           IL 60410‐9729
MC KEEL, CHARLES R           218 S 1ST ST                                                                         SHARPSVILLE        PA 16150‐1302
MC KEEL, WILLIAM T           129 TAHLEQUAH LN                                                                     LOUDON             TN 37774‐2126
MC KEEN, ALEXANDER C         5071 CHAMPLAIN CIR                                                                   WEST BLOOMFIELD    MI 48323‐3530
MC KEEN, ANN M               2019 MARIE DR                                                                        LAKE ORION         MI 48360‐2801
MC KEEN, MARK J              2019 MARIE DR                                                                        LAKE ORION         MI 48360‐2801
MC KEEN, ROBERT W            14163 MONTAUK LN                                                                     FORT MYERS         FL 33919‐7394
MC KEEN, RUSSELL L           2019 MARIE DRIVE                                                                     LAKE ORION         MI 48360‐2801
MC KEES TIRE & AUTO REPAIR   ATTN: STEVEN MC KEE            2105 N WASHINGTON ST                                  KOKOMO             IN 46901‐5839
MC KEEVER, GERALD J          6165 ANAVISTA DR                                                                     FLINT              MI 48507‐3882
MC KEEVER, KEVIN             17525 ISLETON AVE                                                                    LAKEVILLE          MN 55044‐8716
MC KEEVER, LEON              11826 S EVELYN CIR                                                                   HOUSTON            TX 77071‐3404
MC KEEVER, RONALD L          4240 BELL HWY                                                                        EATON RAPIDS       MI 48827‐7002
MC KEEVER, ROY C             1311 44TH ST SE                                                                      GRAND RAPIDS       MI 49508‐4673
MC KEITH, CLOA V             29109 PHILADELPHIA DR                                                                CHESTERFIELD       MI 48051‐3785
MC KEITH, RAMONA W           1588 WOOD GLEN DR                                                                    JACKSON            MS 39204‐4442
MC KEITHEN, BETTY C          890 MACLAND RD UNIT 3003                                                             DALLAS             GA 30132‐9414
MC KEITHEN, CAROL D          PO BOX 695                                                                           SUMMERDALE         AL 36580‐0695
MC KEITHEN, RITA C           29 FAIRWAY RD APT 2D                                                                 NEWARK             DE 19711‐5648
MC KELLAR, DENIS             6109 WHISPERING OAK DR                                                               WASHINGTON         MI 48094‐3418
MC KELLAR, JOSEPH M          910 FRANK ST                                                                         FLINT              MI 48504‐4854
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Name                        Address1                       Address2            Address3         Address4         City               State Zip
MC KELLAR, MALCOLM R        880 N PEMBERTON RD                                                                   BLOOMFIELD HILLS    MI 48302‐1441
MC KELLERY, JOHN W          26686 CREEKSIDE APT 202                                                              SOUTHFIELD          MI 48034‐1581
MC KELLIPS, RICHARD L       14623 TILLMAN RD                                                                     SMITHVILLE          MO 64089‐8961
MC KELRY, JESSIE B          676 BENDING BRK                                                                      FLUSHING            MI 48433‐3017
MC KELVEY, ANDREW E         569 ENGELMAN DR                                                                      IMPERIAL            PA 15126‐1153
MC KELVEY, BEVERLY A        5230 RENEE ST                                                                        LANSING             MI 48911‐3432
MC KELVEY, FRANKLIN J       263 E ALBERT ST                                                                      RAHWAY              NJ 07065‐4935
MC KELVEY, GENE             5405 NW 64TH ST                                                                      WARR ACRES          OK 73132‐7738
MC KELVEY, JANIE M          644 N MARKWELL AVE                                                                   OKLAHOMA CITY       OK 73127‐4826
MC KELVEY, JIMMY R          50333 WILLIS RD #433                                                                 BELLEVILLE          MI 48111
MC KELVEY, JOAN             PO BOX 12                                                                            HUMMELSTOWN         PA 17036‐0012
MC KELVEY, KENNETH E        29158 MAGNOLIA DR                                                                    FLAT ROCK           MI 48134‐1337
MC KELVEY, KENT W           29581 NEWPORT DR                                                                     WARREN              MI 48088‐3614
MC KELVEY, ROSE             692 MADISON ST                                                                       BROOKLYN            NY 11221‐2106
MC KELVEY, ROSE             692 MADISON STREET                                                                   BROOKLYN            NY 11221‐2106
MC KELVY, JERRY L           6808 E 129TH ST                                                                      GRANDVIEW           MO 64030‐2614
MC KENDRICK, JAMES M        35700 GLEN ST                                                                        WESTLAND            MI 48186‐4198
MC KENNA MOTORS, INC.       WILLIAM MC KENNA               5325 NE 14TH ST                                       DES MOINES           IA 50313‐2007
MC KENNA MOTORS/MED. DUTY   5325 NE 14TH ST                                                                      DES MOINES           IA 50313‐2007
MC KENNA SERVICE CO         901 E ORCHARD ST UNIT J                                                              MUNDELEIN            IL 60060‐3016
MC KENNA TRUCK CENTER       5325 NE 14TH ST                                                                      DES MOINES           IA 50313‐2007
MC KENNA, BETTY J           1897 PALM SPRINGS ST                                                                 SARASOTA            FL 34234‐4116
MC KENNA, BEVERLY J         13463 LAKE SHORE DR                                                                  FENTON              MI 48430‐1023
MC KENNA, BRUCE M           42 BURGARD PL                                                                        BUFFALO             NY 14211‐2424
MC KENNA, CHARLES T         315 STONY LAKE DRIVE                                                                 OXFORD              MI 48371‐6741
MC KENNA, CYNTHIA           12859 PROSPECT AVE                                                                   WARREN              MI 48089‐4811
MC KENNA, DOROTHY           5734 PARKWALK CIR E                                                                  BOYNTON BEACH       FL 33472‐2345
MC KENNA, EDWARD R          7324 RIVERSIDE DR                                                                    CLAY                MI 48001‐4250
MC KENNA, FRANCES           8316 BAILEY DR SE                                                                    ADA                 MI 49301‐9635
MC KENNA, GERALD R          300 WESTERN AVE APT E446                                                             LANSING             MI 48917‐3766
MC KENNA, GORDON J          4120 STONELEIGH RD                                                                   BLOOMFIELD          MI 48302‐2020
MC KENNA, HOWARD W          20433 LINCOLN HILLS CT                                                               BEVERLY HILLS       MI 48025‐2770
MC KENNA, JACK C            580 MILLSTONE DR                                                                     ROCHESTER HILLS     MI 48309‐1646
MC KENNA, JAMES             38977 MALLORN DR                                                                     STERLING HEIGHTS    MI 48313‐5783
MC KENNA, JAMES A           28018 LITTLE MACK AVE                                                                ST CLAIR SHRS       MI 48081‐1560
MC KENNA, JAMES E           4439 POINTE TREMBLE RD                                                               ALGONAC             MI 48001‐4661
MC KENNA, JAMES F           6776 S BETSIE RIVER RD                                                               INTERLOCHEN         MI 49643‐9795
MC KENNA, JAMES H           4140 TANGLEWOOD CT                                                                   BLOOMFIELD HILLS    MI 48301‐1218
MC KENNA, JAMES H           4789 MONTE MAR DR                                                                    EL DORADO HILLS     CA 95762‐5031
MC KENNA, JAMES P           112 SUNRISE AVE                                                                      WILLOWBROOK          IL 60527‐6158
MC KENNA, JAMES W           720 ELMWOOD DR                                                                       IONIA               MI 48846‐1043
MC KENNA, JOHN J            5498 BROOKLAWN LN                                                                    HIGHLANDS RANCH     CO 80130‐6632
MC KENNA, JOHN J            421 VALLEYBROOK RD                                                                   HIXSON              TN 37343‐3067
MC KENNA, JOHN JOSEPH       5498 BROOKLAWN LN                                                                    HIGHLANDS RANCH     CO 80130‐6632
MC KENNA, JOSEPH E          50 BELVEDERE DR                                                                      BRISTOL              RI 02809‐4910
MC KENNA, LAWRENCE M        55519 CLEVELAND                                                                      SHELBY TWP          MI 48316‐1117
MC KENNA, MATTHEW P         161 BEAUTYLINE DR                                                                    SALIX               PA 15952‐9412
MC KENNA, MICHAEL E         534 SURFWOOD LN                                                                      DAVISON             MI 48423‐1225
MC KENNA, PAULINE P         6227 PORTER RD                                                                       GRAND BLANC         MI 48439‐8541
MC KENNA, ROBERT J          2335 MONTGOMERY ST                                                                   BETHLEHEM           PA 18017‐4851
MC KENNA, ROBERT J          10058 COVE DR                                                                        MINNETONKA          MN 55305‐5801
MC KENNA, ROBERT R          184 WENTWORTH ST                                                                     CHARLESTON          SC 29401‐1235
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Name                         Address1                       Address2                Address3     Address4         City             State Zip
MC KENNA, VILMA              161 BEAUTYLINE DRIVE                                                                 SALIX             PA 15952‐9412
MC KENNA, W H                DIVISIONAL COMPTROLLER         2860 CLARK AVE                                        DETROIT           MI 48210
MC KENNEY, CLYDELL           3156 MARTHAROSE CT                                                                   FLINT             MI 48504‐1234
MC KENNEY, DOROTHY E         2921 84TH ST SW                                                                      BYRON CENTER      MI 49315‐8843
MC KENNEY, JOHN B            9033 DEL RIO DR                                                                      GRAND BLANC       MI 48439‐8385
MC KENNY, GENEVIEVE T        76 KNOLLWOOD BLVD                                                                    CLAWSON           MI 48017‐1238
MC KENNY, JUNE               9320 IVANHOE DR                                                                      PLYMOUTH          MI 48170‐3409
MC KENTRY, KIMBERLY          446 FRANKLIN ST SE                                                                   GRAND RAPIDS      MI 49507‐1234
MC KENTY, SANDRA R           24502 WINONA ST                                                                      DEARBORN          MI 48124‐1552
MC KENZIE ENTERPRISE         PO BOX 1200                                                                          TALLAHASSEE       FL 32302‐1200
MC KENZIE JR, HAYWORD        59 EVANS AVE                                                                         TRENTON           NJ 08638‐4209
MC KENZIE JR, JOHNNY         34 WALL ST                                                                           PONTIAC           MI 48342‐3156
MC KENZIE JR, JOHNNY         PO BOX 432164                                                                        PONTIAC           MI 48343‐2164
MC KENZIE MOVING & FREIGHT   ATTN: LARRY MC KENZIE          375 FRANKLIN RD                                       PONTIAC           MI 48341‐2429
MC KENZIE PRODUCTIONS        ATTN: BRUCE MC KENZIE          30 N SAGINAW ST # 305                                 PONTIAC           MI 48342‐2168
MC KENZIE TANK LINES         1020 KENNEDY AVENUE                                                                  SCHERERVILLE      IN 46375
MC KENZIE TANK LINES #19     11500 CHOATE RD                                                                      PASADENA          TX 77507‐1726
MC KENZIE TANK LINES INC     PO BOX 1200                                                                          TALLAHASSEE       FL 32302‐1200
MC KENZIE, AGNES F           5520 BLUE GRASS WAY                                                                  HILLIARD          OH 43026‐8442
MC KENZIE, AGNES F           5520 BLUEGRASS WAY                                                                   HILLIARD          OH 43026‐8442
MC KENZIE, AUBREY A          175 DENBY ST                                                                         ROMEO             MI 48065‐5227
MC KENZIE, CHARLES E         3809 LATTASBURG RD LOT 2                                                             WOOSTER           OH 44691‐7658
MC KENZIE, CHARLES E         2214 W STEWART AVE                                                                   FLINT             MI 48504‐3725
MC KENZIE, CONNIE A          1135 DARLINGTON EAST RD                                                              BELLVILLE         OH 44813‐9387
MC KENZIE, CURTISS L         6625 LYDIA AVE                                                                       KANSAS CITY       MO 64131‐1418
MC KENZIE, DALE M            115 FREDERICK RD                                                                     TONAWANDA         NY 14150‐4216
MC KENZIE, DEBORAH M         3729 CRAIG DR                                                                        FLINT             MI 48506‐2673
MC KENZIE, DELIA             3012 TELHURST CT                                                                     MORAINE           OH 45439‐1421
MC KENZIE, DELIA             3012 TELHERST CT                                                                     MORAINE           OH 45439‐1421
MC KENZIE, DENNIS J          8180 W EATON HWY                                                                     GRAND LEDGE       MI 48837‐9237
MC KENZIE, DERRICK A         1518 E 45TH ST                                                                       KANSAS CITY       MO 64110‐1906
MC KENZIE, DERRICK ANDRE     1518 E 45TH ST                                                                       KANSAS CITY       MO 64110‐1906
MC KENZIE, DEWAYNE E         6044 PLAINS RD                                                                       EATON RAPIDS      MI 48827‐9669
MC KENZIE, DEWAYNE EUGENE    6044 PLAINS RD                                                                       EATON RAPIDS      MI 48827‐9669
MC KENZIE, DONALD E          1029 RUIE RD                                                                         N TONAWANDA       NY 14120‐1763
MC KENZIE, DONALD R          2676 LOCHBUIE CIR                                                                    LOVELAND          CO 80538‐5384
MC KENZIE, EDWARD E          152 W DREW LN                                                                        CLYDE             OH 43410‐1845
MC KENZIE, EDWARD V          1423 WINNIE DR                                                                       OXFORD            MI 48371‐6049
MC KENZIE, ELAINE R.         192 APOLLO AVE                                                                       FLUSHING          MI 48433‐9325
MC KENZIE, ELIZABETH S       23331 LIBERTY ST                                                                     ST CLAIR SHRS     MI 48080‐1501
MC KENZIE, ELSIE L           710 BIRCH                                                                            HANNIBAL          MO 63401‐5003
MC KENZIE, ELSIE L           1508 LINDELL AVENUE                                                                  HANNIBAL          MO 63401‐5925
MC KENZIE, ERNEST F          41108 PAIGN DR                                                                       STERLING HTS      MI 48313‐3359
MC KENZIE, FITZ H            8664 OLD HIGHWAY 75                                                                  PINSON            AL 35126‐2129
MC KENZIE, FREDERICK J       1847 SITKA AVE                                                                       SIMI VALLEY       CA 93063‐3255
MC KENZIE, GAROLD R          568 WAVERLY RD                                                                       DIMONDALE         MI 48821‐9710
MC KENZIE, GOLDIE C          500 N MAGNOLIA AVE                                                                   LANSING           MI 48912‐3125
MC KENZIE, IDA M             602 W MCCLELLAN                                                                      FLINT             MI 48505‐4077
MC KENZIE, IRENE             2240 SE 172ND TER                                                                    SILVER SPRINGS    FL 34488‐5937
MC KENZIE, JACK A            PO BOX 100985                                                                        FORT WORTH        TX 76185‐0985
MC KENZIE, JAMES J           LAKE DR.‐RD#1 LAKE HAUTO                                                             NESQUEHONING      PA 18240
MC KENZIE, JOHN M            8855 RIVER TRACE DR                                                                  DULUTH            GA 30097‐2423
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MC KENZIE, JOSEPH H     4339 HARDESTY AVE                                                                  KANSAS CITY         MO 64130‐2252
MC KENZIE, KAREN D      9003 LUCERNE CT                                                                    WAXHAW              NC 28173‐6666
MC KENZIE, KAREN L      26660 CEDAR CREEK CT                                                               TEHACHAPI           CA 93561‐9663
MC KENZIE, KEITH W      43598 RIVERWAY DR                                                                  CLINTON TWP         MI 48038‐1393
MC KENZIE, LARRY W      760 WAYSIDE RD                                                                     CARROLLTON          GA 30116‐6627
MC KENZIE, MARK A       2208 KALAMA AVE                                                                    ROYAL OAK           MI 48067‐4079
MC KENZIE, MINNIE       C/O TONY MCKENZIE            PO BOX 36790                                          GROSSE POINTE       MI 48236
MC KENZIE, MINNIE       PO BOX 36790                                                                       GROSSE POINTE       MI 48236
MC KENZIE, NEAL B       12113 DAVISON RD                                                                   DAVISON             MI 48423‐8160
MC KENZIE, NORMA M      615 N. CAPITOL                                                                     LANSING             MI 48933
MC KENZIE, OLGA         3901 LARCHMONT ST                                                                  FLINT               MI 48532‐5271
MC KENZIE, PHILLIP B    10302 WAYBURN ST                                                                   DETROIT             MI 48224‐2419
MC KENZIE, ROLAND L     242 ALLAMANDA CIR                                                                  VENICE              FL 34285‐7003
MC KENZIE, SHIRLEY A    11508 ELMWOOD AVE N                                                                CHAMPLIN            MN 55316‐2665
MC KENZIE, SUZANNE L    1403 KINGSBURY RD                                                                  WASHINGTON           IL 61571‐9253
MC KENZIE, TED A        5110 CLARK RD                                                                      BATH                MI 48808‐9756
MC KENZIE, THOMAS R     4050 LAKELAND AVE                                                                  WINSTON SALEM       NC 27101‐2131
MC KENZIE, VICTORIA P   25630 SOUTHFIELD ROAD        108                                                   SOUTHFIELD          MI 48075
MC KENZIE, WILLIE MAE   40 GREEN ACORN LN                                                                  HENRIETTA           NY 14467‐9202
MC KEON, DELORES        1 ATLANTIC AVE APT 7                                                               FARMINGDALE         NY 11735‐2767
MC KEON, JOSEPH A       6717 THOMAS AVENUE SOUTH                                                           MINNEAPOLIS         MN 55423‐1958
MC KEON, LINDA U        32600 COLONY HILL DR                                                               FRANKLIN            MI 48025‐1016
MC KEON, VIRGIL M       3275 N FRASER RD                                                                   PINCONNING          MI 48650‐9426
MC KEOWN, ALVIN         2330 LIMESTONE DR                                                                  FLUSHING            MI 48433‐3525
MC KEOWN, ARCHIE S      15393 15 MILE RD APT 317                                                           CLINTON TOWNSHIP    MI 48035‐2197
MC KEOWN, CLAUDETTE D   2871 E 77TH ST                                                                     CHICAGO              IL 60649‐4445
MC KEOWN, CLAUDETTE D   2871 E. 77TH ST.                                                                   CHICAGO              IL 60649‐4445
MC KEOWN, DEMETRIUS R   2330 LIMESTONE DR                                                                  FLUSHING            MI 48433‐3525
MC KEOWN, JAMES E       1176 WILDWOOD DR                                                                   WOOSTER             OH 44691‐5718
MC KEOWN, KATHI M       35842 SPRINGVALE ST                                                                FARMINGTN HLS       MI 48331‐1352
MC KEOWN, KATHI MARIE   35842 SPRINGVALE ST                                                                FARMINGTN HLS       MI 48331‐1352
MC KEOWN, WENDELL A     PO BOX 189                                                                         LAINGSBURG          MI 48848‐0189
MC KERNAN, JAMES J      21221 SUNNYVIEW ST                                                                 CLINTON TWP         MI 48035‐5211
MC KERNAN, MICHAEL D    11312 CHIVALRY CHASE LN                                                            SPOTSYLVANIA        VA 22551‐8923
MC KERNAN, THOMAS H     543 AMHERST DR                                                                     GOLETA              CA 93117‐1763
MC KERVEY, DENNIS A     4860 FOREST AVE                                                                    WATERFORD           MI 48328‐1124
MC KERVEY, EDWARD J     2392 E VIENNA RD                                                                   CLIO                MI 48420‐7925
MC KERVEY, KAREN S      3668 COREY LN                                                                      LAPEER              MI 48446‐9813
MC KERVEY, LOUIS N      3668 COREY LN                                                                      LAPEER              MI 48446‐9813
MC KERVEY, PATRICK T    6155 KING ARTHUR DR                                                                SWARTZ CREEK        MI 48473‐8808
MC KERVEY, ROBERT T     26 BLUEBIRD HILL DR                                                                ORION               MI 48359‐1806
MC KERVEY, THOMAS J     2895 DELAND RD                                                                     WATERFORD           MI 48329‐3421
MC KESSON, LEVESTER     16604 FORT COFFEE RD                                                               SPIRO               OK 74959‐4156
MC KESSY, PHILLIP J     1127 VAIL CT                                                                       LANSING             MI 48917‐4000
MC KIAN, FRANK C        757 GARFIELD AVE NW                                                                GRAND RAPIDS        MI 49504‐4089
MC KIAN, MICHAEL G      601 LINCOLN LAWNS DR NW                                                            WALKER              MI 49534‐4551
MC KIBBEN, FRANCES      810 FOREST LAKE DR                                                                 LAKELAND            FL 33809‐3737
MC KIBBEN, JENET J      C 20 20259                                                                         CONTINENTAL         OH 45831
MC KIBBEN, KENNETH D    325 SHAMROCK LN                                                                    DEFIANCE            OH 43512‐3667
MC KIBBEN, RICHARD D    8164 REESE RD                                                                      CLARKSTON           MI 48348‐2763
MC KIBBEN, VERON L      11325 PALM DR                                                                      WARREN              MI 48093‐6561
MC KIBBIN, EDWARD J     3333 WINDING WAY                                                                   KETTERING           OH 45419‐1249
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Name                         Address1                        Address2            Address3         Address4         City               State Zip
MC KIBBIN, JACKIE L          118 W PAYTON ST                                                                       GREENTOWN           IN 46936‐1139
MC KIBBIN, RANDY W           1965 LAUREL OAK DR                                                                    FLINT               MI 48507‐6038
MC KIBBIN, THERESA           190 POINCIANA PKWY                                                                    BUFFALO             NY 14225‐5210
MC KIBBON, WILLIAM J         725 LOCKWOOD AVE                                                                      PETOSKEY            MI 49770‐3161
MC KIDDIE, GRACE W           138 SHEFFIELD DR                                                                      TROY                MI 48083‐1070
MC KIE, WARREN               20148 KLINGER ST                                                                      DETROIT             MI 48234‐1744
MC KIEARNAN, RAYMOND R       3401 W BUS 83 116 LOT 450                                                             HARLINGEN           TX 78552
MC KIERNAN, ELVIRA M         20 OAK PARK AVE                                                                       DARIEN              CT 06820‐4007
MC KIERNAN, GEORGE S         17 ROCKBROOK DR                                                                       CAMDEN              ME 04843‐1616
MC KIERNAN, MARJORIE C       8399 SHERWOOD DR                                                                      GRAND BLANC         MI 48439‐8397
MC KIERNAN, PHILIP J         PO BOX 8243                                                                           HOLLAND             MI 49422‐8243
MC KILLIP, CATHERINE L       6118 E DALLAS ST                                                                      MESA                AZ 85205‐6708
MC KILLIP, JOAN E            308 MAGNOLIA DR                                                                       KOKOMO              IN 46901‐5017
MC KILLIP, JOHN D            9006 MCILVAIN DR                                                                      INDIANAPOLIS        IN 46256‐2244
MC KILLOP, WAYNE P           52 CORNELL CIR                                                                        BROOMALL            PA 19008‐2906
MC KIM, DONNIE R             13104 GRANT CIR                                                                       CLIO                MI 48420‐8100
MC KIM, DONNIE RALPH         13104 GRANT CIR                                                                       CLIO                MI 48420‐8100
MC KIM, ELVIN K              6552 NORTH 2300TH STREET                                                              PARIS                IL 61944‐6046
MC KIM, JERRY E              10908 LIMA CENTER RD                                                                  MANCHESTER          MI 48158‐9553
MC KIM, JOHN F               3710 DESOTO BLVD                                                                      PALM HARBOR         FL 34683‐1617
MC KIM, MARK A               60630 VAN DYKE                                                                        WASHINGTON          MI 48094
MC KIM‐FULTZ, NADENE M       5866 SHORE CT                                                                         CLARKSTON           MI 48346‐2755
MC KINCH, NORMA J            PO BOX 43                                                                             SARANAC             MI 48881‐0043
MC KINDRA, PHILIP N          2443 N 107TH TER                                                                      KANSAS CITY         KS 66109‐3628
MC KINLAY, JOHN C            5250 WILLOW AVE                                                                       NEWAYGO             MI 49337‐8979
MC KINLAY, JOHN CRAIG        5250 WILLOW AVE                                                                       NEWAYGO             MI 49337‐8979
MC KINLAY, RICHARD J         17 WEST 730 BUTTERFIELD #205                                                          OAKBROOK TERRACE     IL 60181
MC KINLEY ANDREWS JR         314 W HANRAHAN RD                                                                     GRIFTON             NC 28530‐8507
MC KINLEY DUNSON             1809 W RIVERVIEW                                                                      DAYTON              OH 45407‐1920
MC KINLEY MORGAN             1713 MARLOWE DR                                                                       FLINT               MI 48504‐7022
MC KINLEY MORRIS             17715 STONEBRIDGE DR                                                                  HAZEL CREST          IL 60429‐2013
MC KINLEY SCOTT              452 THORS ST                                                                          PONTIAC             MI 48342‐1967
MC KINLEY WOODARD            302 W 114TH ST                                                                        CHICAGO              IL 60628‐4108
MC KINLEY, DONALD D          830 ANDOVER DR                                                                        DEWITT              MI 48820‐9509
MC KINLEY, ELDON J           699 HOOPEE HILL RD                                                                    HARTFORD            KY 42347‐9666
MC KINLEY, ELIZABETH A       830 ANDOVER DRIVE                                                                     DEWITT              MI 48820‐9509
MC KINLEY, ELIZABETH A       830 ANDOVER DR                                                                        DEWITT              MI 48820‐9509
MC KINLEY, GLORIA J          25 MEADOW HILL DR                                                                     POPLARVILLE         MS 39470‐3382
MC KINLEY, HARRY P           1150 FIFE AVE                                                                         WILMINGTON          OH 45177‐2432
MC KINLEY, HERBERT W         10545 S 82ND AVE                                                                      PALOS HILLS          IL 60465‐1833
MC KINLEY, HIGH W            PO BOX 82                                                                             FLORA               IN 46929‐0082
MC KINLEY, JAMES P           595 EGGERT RD                                                                         BUFFALO             NY 14215‐1223
MC KINLEY, JAMES PHILLIP     595 EGGERT RD                                                                         BUFFALO             NY 14215‐1223
MC KINLEY, MICHAEL J         4319 SHATTUCK RD                                                                      SAGINAW             MI 48603‐3065
MC KINLEY, MICHAEL R         494 BRANDT ST                                                                         GARDEN CITY         MI 48135‐2610
MC KINLEY, MICHAEL RICHARD   494 BRANDT ST                                                                         GARDEN CITY         MI 48135‐2610
MC KINLEY, PATRIC R          104 APPLEGATE RD                                                                      FAIRFIELD           CT 06825‐2739
MC KINLEY, RICHARD A         460 ASHTON DR                                                                         FALLING WTRS        WV 25419‐4814
MC KINLEY, WALLACE D         21335 CLARA PL                                                                        SEDRO WOOLLEY       WA 98284‐8718
MC KINLEY, WILLIAM L         11499 DODSON RD                                                                       BROOKVILLE          OH 45309‐9683
MC KINNA, PATRICIA A         5631 HARDWOOD FOREST DR                                                               HOUSTON             TX 77088‐2834
MC KINNELL, WILLIAM          131 W FIRST ST                                                                        OCEAN ISLE BEACH    NC 28469
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Name                    Address1                         Address2          Address3         Address4         City               State Zip
MC KINNEY SR, JERRY W   206 OLD MIDDLEWAY RD                                                                 KEARNEYSVILLE       WV 25430‐5635
MC KINNEY, ALICE SUE    PO BOX 322                                                                           HOHENWALD           TN 38462
MC KINNEY, ALLEN L      520 FURNACE ST                                                                       ELYRIA              OH 44035‐3530
MC KINNEY, BARBARA L    2151 AVALON DR                                                                       STERLING HEIGHTS    MI 48310‐7811
MC KINNEY, BEVELEY B    1006 LEA AVE                                                                         MIAMISBURG          OH 45342‐3414
MC KINNEY, CHARLES L    2770 CHURCHILL RD                                                                    AUBURN HILLS        MI 48326‐2904
MC KINNEY, CHARLES R    617 N OLD WOODWARD AVE APT 7                                                         BIRMINGHAM          MI 48009‐1398
MC KINNEY, CLARENCE     PO BOX 378                                                                           IDLEWILD            MI 49642‐0378
MC KINNEY, CLARENCE     18651 BIRWOOD ST                                                                     DETROIT             MI 48221‐1905
MC KINNEY, CLARENCE E   182 CLAY LITTLE RD                                                                   ELIZABETHTON        TN 37643‐7643
MC KINNEY, CLEMSON O    36550 GRAND RIVER AVE APT 607A                                                       FARMINGTON          MI 48335‐3003
MC KINNEY, DALLAS R     9770 E 64TH ST                                                                       CHASE               MI 49623‐9786
MC KINNEY, DANNY        709 NW 23RD ST                                                                       WILTON MANORS       FL 33311‐3743
MC KINNEY, DE LANE      PO BOX 10234                                                                         LANSING             MI 48901‐0234
MC KINNEY, DENNIS M     4912 WOODBURNE RD NW                                                                 ALBUQUERQUE         NM 87114‐4518
MC KINNEY, DONALD       22342 N FAIRWAY DR                                                                   WOODHAVEN           MI 48183‐3107
MC KINNEY, EARL W       4850 EWELL ROAD                                                                      LAKELAND            FL 33811‐1710
MC KINNEY, EDDIE        125 N PARK AVE                                                                       SAGINAW             MI 48607‐1545
MC KINNEY, EDGAR E      1337 BROADBOTTOM RD                                                                  PIKEVILLE           KY 41501‐2810
MC KINNEY, EDITH D      2026 E HIGHWAY 619                                                                   JAMESTOWN           KY 42629‐7921
MC KINNEY, EDITH D      2026 HWY 619 E                                                                       JAMESTOWN           KY 42629‐7921
MC KINNEY, EMILY F      19131 SANTA BARBARA DR                                                               DETROIT             MI 48221‐1624
MC KINNEY, FRANCES B    6639 FLOYD ST                                                                        DETROIT             MI 48210‐1160
MC KINNEY, G E          5296 PINE AIRES DR                                                                   STERLING HEIGHTS    MI 48314‐1346
MC KINNEY, GEORGIA A    LAKE HAVEN #480                  1415 MAIN ST                                        DUNEDIN             FL 34698
MC KINNEY, GREGORY J    14358 FOUR LAKES DR                                                                  STERLING HTS        MI 48313‐2127
MC KINNEY, HUGH F       17365 MUIRLAND ST                                                                    DETROIT             MI 48221‐2708
MC KINNEY, HUGH F       18900 APPOLINE ST                                                                    DETROIT             MI 48235‐1317
MC KINNEY, JACK G       5410 WATERS ST                                                                       ZEPHYRHILLS         FL 33542‐5118
MC KINNEY, JAMES E      2719 S OUTER DR                                                                      SAGINAW             MI 48601‐6687
MC KINNEY, JAMES J      7705 SAILWINDS TASS                                                                  PORT RICHEY         FL 34668
MC KINNEY, JERRY R      75 ROYAL DR                                                                          KANSAS CITY         KS 66111‐2131
MC KINNEY, JOHN R       5921 WILD ORCHID TRL                                                                 RALEIGH             NC 27613‐8551
MC KINNEY, JOSEPH E     PO BOX 904                                                                           FERNLEY             NV 89408‐0904
MC KINNEY, LARRY J      3140 N 38TH ST                                                                       KANSAS CITY         KS 66104‐3723
MC KINNEY, LARRY R      3529 ROMENCE RD                                                                      PORTAGE             MI 49024‐3907
MC KINNEY, LENA         888 S 18TH ST                                                                        NEWARK              NJ 07108‐1132
MC KINNEY, LENA         888 SOUTH 18TH STREET                                                                NEWARK              NJ 07108‐1132
MC KINNEY, LEROY        1014 ARGYLE AVE                                                                      PONTIAC             MI 48341‐2303
MC KINNEY, LINDA F      3140 N 38TH ST                                                                       KANSAS CITY         KS 66104‐3723
MC KINNEY, LOIS T       613 SOUTH 10TH STREET                                                                HUGO                OK 74743‐4822
MC KINNEY, LOIS T       613 S. TEN                                                                           HUGO                OK 74743
MC KINNEY, LONNIE H     3910 DIECKMAN LN                                                                     CINCINNATI          OH 45245‐2646
MC KINNEY, MARY L       1335 S MINTER WAY                                                                    GRAIN VALLEY        MO 64029‐9641
MC KINNEY, MICHAEL L    4736 BEECH HAVEN DR                                                                  SHELBY TOWNSHIP     MI 48317‐4122
MC KINNEY, PALMER       800 S YORK ST APT 3401                                                               GASTONIA            NC 28052‐5517
MC KINNEY, PAUL D       2894 PETTIS AVE NE                                                                   ADA                 MI 49301‐9289
MC KINNEY, PEARL L      200 TEXAS ST                                                                         BUFFALO             NY 14215
MC KINNEY, RALPH E      6320 RICHMOND AVE                                                                    KANSAS CITY         MO 64133‐4647
MC KINNEY, RICHARD E    18922 CRESTVIEW CT                                                                   WESTFIELD           IN 46074‐9256
MC KINNEY, ROBERT L     741 FAIRGROVE WAY                                                                    TROTWOOD            OH 45426‐2210
MC KINNEY, STANLEY E    1538 BLACKBIRD LN                                                                    HOWELL              MI 48855‐6449
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Name                            Address1                        Address2           Address3         Address4         City            State Zip
MC KINNEY, STELLA M             225 NORFLEET DR APT 105                                                              SOMERSET         KY 42501‐1993
MC KINNEY, STEPHEN C            PO BOX 263                                                                           EXCELSIOR SPG    MO 64024‐0263
MC KINNEY, T R                  9538 E GARY ST                                                                       MESA             AZ 85207‐2609
MC KINNEY, VERNON L             11146 S DEERPATH LN                                                                  PALOS HILLS       IL 60465‐2105
MC KINNEY, WILEY                3800 OTTO RD                                                                         CHARLOTTE        MI 48813‐8701
MC KINNEY, WILLIAM A            879 DEERFIELD RD                                                                     ANDERSON         IN 46012‐9375
MC KINNEY, WILLIAM C            9202 BALDWIN CIR                                                                     HOLLY            MI 48442‐9375
MC KINNEY, WILLIAM M            135 LOPERWOOD LN                                                                     LAGRANGE         OH 44050‐9765
MC KINNEY, WILLIAM P            34475 WHEELBARROW LN                                                                 WILDOMAR         CA 92595‐9243
MC KINNEY, WILLIAM T            4042 CHERRYBROOK LOOP                                                                FORT MYERS       FL 33966‐7003
MC KINNEY, ZOLLIE N             17330 PENNSYLVANIA HEIGHTS DR                                                        BROWNSTOWN       MI 48174‐5927
MC KINNIE, GEORGE E             1917 FLORENCE ST                                                                     DETROIT          MI 48203‐2655
MC KINNIE, GLENDA F             4665 N GREGORY ST                                                                    SAGINAW          MI 48601‐6622
MC KINNIE, SHERLI G             219 MYRTLE AVE                                                                       SCOTCH PLAINS    NJ 07076‐1038
MC KINNIS, CLIFFORD A           3619 SW CRANE RD                                                                     LEES SUMMIT      MO 64082‐3102
MC KINNIS, GRACE I              417 ROBIN RD                                                                         AMHERST          NY 14228‐1116
MC KINNIS, KIM B                307 E CLINTON ST                                                                     DURAND           MI 48429‐1442
MC KINNIS, KIM BRADFORD         307 E CLINTON ST                                                                     DURAND           MI 48429‐1442
MC KINNIS‐WILLIAMS, CARMALETA   1923 PACHEA TRL                                                                      ROUND ROCK       TX 78665‐2804
MC KINNON JR, ARTHUR J          77 MERCER AVE                                                                        BUFFALO          NY 14214‐1821
MC KINNON JR, BENARD            3012 BETHEL CHURCH RD                                                                BETHEL PARK      PA 15102‐1202
MC KINNON, ANDREW J             4165 BYRON RD                                                                        HOWELL           MI 48855‐9308
MC KINNON, BENARD               205 S 9TH AVE                                                                        MAYWOOD           IL 60153‐1522
MC KINNON, BERTHENA             70 RICKERT AVE                                                                       BUFFALO          NY 14211‐1120
MC KINNON, BERTHENA             70 RICKERT AVENUE                                                                    BUFFALO          NY 14211‐1120
MC KINNON, BEVERLY J            6902 COUNTRYSIDE DR                                                                  HOUGHTON LAKE    MI 48629‐9151
MC KINNON, DELOYD               8501 S YATES BLVD                                                                    CHICAGO           IL 60617‐2317
MC KINNON, DOROTHY              77 MERCER AVE                                                                        BUFFALO          NY 14214‐1821
MC KINNON, ELISABETH            1587 BRUSH CREEK DR                                                                  WINDER           GA 30680‐3388
MC KINNON, GASTON               5042 W GLADYS AVE                                                                    CHICAGO           IL 60644‐4842
MC KINNON, JAMES R              2239 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1767
MC KINNON, JENNIE M             P O BOX 250351                                                                       MONTGOMERY       AL 36125
MC KINNON, JENNIE M             PO BOX 250351                                                                        MONTGOMERY       AL 36125‐0351
MC KINNON, JUNE A               PO BOX 251                                                                           HIGHLAND         MI 48357‐0251
MC KINNON, KENNETH D            14209 FREEMAN ST                                                                     WARREN           MI 48089‐3461
MC KINNON, LONNIE L             262 J T JONES RD                                                                     BROXTON          GA 31519
MC KINNON, MARIANNE L           PO BOX 1601                                                                          RIDGELAND        MS 39158‐1601
MC KINNON, MARY A               7000 32 MILE RD                                                                      WASHINGTON       MI 48095‐1206
MC KINNON, MARY L               905 STEPHANIE LN                                                                     WINNEBAGO         IL 61088‐8333
MC KINNON, MYRTLE               5815 PEART RD                                                                        MORRIS            IL 60450
MC KINNON, RICHARD L            4510 MERRIMAN RD                                                                     JACKSON          MI 49201‐8360
MC KINNON, SANDRA L             8533 CEDAR ST                                                                        ORLAND PARK       IL 60462‐1619
MC KINNON, THOMAS J             1006 45TH AVE E                                                                      ELLENTON         FL 34222‐2729
MC KINSEY, KEDRICK A            11302 W 69TH ST                                                                      SHAWNEE          KS 66203‐3746
MC KINSEY, ROBERT L             1035 NEWTON ST                                                                       ENGLEWOOD        FL 34224‐5001
MC KINSTRY JR., LEROY           800 RIDGEVIEW ROAD                                                                   MARION           SC 29571‐6044
MC KINSTRY SR, HAROLD K         2800 MORGAN ST                                                                       SAGINAW          MI 48602‐3553
MC KINSTRY, NEIL D              11731 LAKE 15 RD                                                                     ATLANTA          MI 49709‐9054
MC KINSTRY, RONALD C            4485 GENESEE RD                                                                      LAPEER           MI 48446‐3641
MC KINSTRY, WILLIAM J           GREENFIELD HOME                 ROOM 123, BED 1    5949 BROADWAY                     LANCASTER        NY 14086
MC KINZIE, DAVID W              1282 KINGBIRD LN                                                                     CHOCTAW          OK 73020‐7116
MC KINZIE, MARTIN L             229 CROSBY ST                                                                        FLINT            MI 48503‐1429
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Name                       Address1                       Address2                    Address3   Address4         City               State Zip
MC KISSEN SR, THEODORE W   4802 VAN COUVER AVE SW                                                                 WYOMING             MI 49519‐4588
MC KISSICK, WILLIAM D      488 SMITHS FERRY ROAD                                                                  MIDLAND             PA 15059‐2034
MC KITTRICK, GARRY E       1661 E 6TH ST                                                                          RENO                NV 89512‐3786
MC KITTRICK, ROBERT R      1605 ELM CREEK VW APT 419                                                              COLORADO SPRINGS    CO 80907‐7187
MC KITTRICK, WILLIE D      12226 E 38TH ST                                                                        TULSA               OK 74146‐3112
MC KNEELEN, BILLIE D       1658 PYATT RD                                                                          HARTVILLE           MO 65667‐7247
MC KNIGHT JR, JOHN B       23870 MIDDLEBELT RD APT 1110                                                           FARMINGTON HILLS    MI 48336‐2947
MC KNIGHT, BEVERLYN P      9 CLEMSON ST                                                                           CHARLESTON          SC 29403‐3325
MC KNIGHT, FRANKLIN V      7022 MCCLEAN BLVD                                                                      BALTIMORE           MD 21234‐7256
MC KNIGHT, GEORGE C        42160 WOODWARD AVE UNIT 71                                                             BLOOMFIELD          MI 48304‐5161
MC KNIGHT, JAIME L         8559 TRACE RIDGE PKWY                                                                  KELLER              TX 76248‐6972
MC KNIGHT, JAMES R         10990 S MCVETY RD                                                                      FALMOUTH            MI 49632‐9781
MC KNIGHT, JAMES R         8940 E MONROE RD               APT G1                                                  DURAND              MI 48429
MC KNIGHT, JOHN A          8052 DINSMORE ST                                                                       BROOKSVILLE         FL 34613‐5911
MC KNIGHT, JOYCE A         37 FEDERAL AVE                                                                         BUFFALO             NY 14215‐2101
MC KNIGHT, KAREN A         124 KNOLLWOOD CIRCLE                                                                   BANDERA             TX 78003‐3974
MC KNIGHT, KAREN A         10049 LAPEER RD                                                                        DAVISON             MI 48423
MC KNIGHT, KEITH D         PO BOX 206                                                                             BANCROFT            MI 48414‐0206
MC KNIGHT, LAVONIA         39200 7TH AVE                                                                          ZEPHYR HILLS        FL 33542
MC KNIGHT, LEVI            135 MELVILLE ST                                                                        ROCHESTER           NY 14609‐5157
MC KNIGHT, LLOYD           11470 WING DR                                                                          CLIO                MI 48420‐1548
MC KNIGHT, MAMIE R         APT 1110                       2307 FAIR OAKS DRIVE                                    ARLINGTON           TX 76011‐2001
MC KNIGHT, MARCH           501 BLUEBILL DR                                                                        NEW CASTLE          DE 19720‐8932
MC KNIGHT, OBYDEE          3043 LUDLOW RD                                                                         SHAKER HTS          OH 44120‐2812
MC KNIGHT, ORRETA          4476 WESTEDGE WAY                                                                      GRAND BLANC         MI 48439‐9793
MC KNIGHT, PAUL W          19 CHICKADEE LN                                                                        TERRE HAUTE         IN 47803‐1401
MC KNIGHT, ROBERT C        5586 SONOMA DR                                                                         PLEASANTON          CA 94566‐7747
MC KNIGHT, ROBERT E        R 709 B GARDEN AVENUE                                                                  CONNELLSVILLE       PA 15425
MC KNIGHT, ROY             1946 HALE MOUNTAIN RD                                                                  CLINCHCO            VA 24226‐8438
MC KNIGHT, ROY             RT 1 BOX 714                                                                           CLINCHCO            VA 24226‐9761
MC KNIGHT, ROY N           7384 POTTER RD                                                                         FLUSHING            MI 48433‐9414
MC KNIGHT, SHIRLEY F       2827 N 39TH ST                                                                         KANSAS CITY         KS 66104‐2504
MC KNIGHT, WALTER F        124 KNOLLWOOD CIR                                                                      BANDERA             TX 78003‐3974
MC KNIGHT, WILLIAM L       9342 E OLIVE LN N                                                                      SUN LAKES           AZ 85248‐6504
MC KNIGHT, WILLIAM R       223 SOUTHWOOD DR                                                                       ELYRIA              OH 44035‐8341
MC KNIGHT, WILLIAM R       6628 NORTHPOINT DR                                                                     TROY                MI 48085‐1422
MC KNIGHT, WILLIAM S       37142 SOLITUDE DR                                                                      SELBYVILLE          DE 19975‐3825
MC KOIN, WILLIAM J         1494 MEDIA DR                                                                          EAST TAWAS          MI 48730‐9543
MC KONE, JACK C            11603 S STATE RD                                                                       MORRICE             MI 48857‐8756
MC KONE, LARRY F           230 E CRANBERRY LAKE RD                                                                HARRISON            MI 48625‐8413
MC KOUEN, GERALD F         4123 BARTON RD                                                                         LANSING             MI 48917‐1609
MC KOUEN, OPAL M           2210 BEDFORD RD                                                                        LANSING             MI 48911‐1641
MC KOWN, ALBERT J          277 SHERWOOD DR                                                                        LEXINGTON           OH 44904‐1048
MC KOWN, ALMEDIE K         42 WEST ST                                                                             SHELBY              OH 44875‐1150
MC KOWN, GARY G            1008 MARTIN ST                                                                         EXCELSIOR SPG       MO 64024‐1928
MC KOWN, GARY M            3542 VANGUARD DRIVE                                                                    FRISCO              TX 75034‐6680
MC KOWN, RONALD D          32208 PALMER RD                                                                        WESTLAND            MI 48186‐4759
MC KOY, LARRY B            9940 47TH AVE N.121‐C                                                                  SAINT PETERSBURG    FL 33708
MC KRILL, KEITH A          1689 BLACK BARK LN                                                                     TRAVERSE CITY       MI 49686‐8274
MC LACHLAN, JOHN           APT 370                        2711 NORTH HALIFAX AVENUE                               DAYTONA BEACH       FL 32118‐3155
MC LACHLAN, JOHN           2711 N HALIFAX AVE 370                                                                 DAYTONA BEACH       FL 32118
MC LACHLAN, MARJORIE C     7481 MECEOLA RD                                                                        EVART               MI 49631‐8773
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Name                             Address1                       Address2               Address3      Address4         City                  State Zip
MC LAIN, BILLY J                 PO BOX 126                                                                           NORTH JACKSON          OH 44451‐0126
MC LAIN, DAVID L                 3501 CEDAR SPRINGS DR SW                                                             CONCORD                NC 28027‐9103
MC LAIN, EUNICE                  7624 E SANDALWOOD DR                                                                 SCOTTSDALE             AZ 85250‐7731
MC LAIN, KEITH D                 6206 SURREY LN                                                                       BURTON                 MI 48519‐1318
MC LAIN, KENNETH E               280 CHANDLER ST                                                                      PONTIAC                MI 48342‐2802
MC LAIN, KURT D                  8020 TIYANOGA TRL                                                                    CLARKSTON              MI 48348‐4635
MC LAIN, RICHARD G               7624 E SANDALWOOD DR                                                                 SCOTTSDALE             AZ 85250‐7731
MC LAIN, RICHARD L               1397 BROOKSTONE DR                                                                   FAIRBORN               OH 45324‐8511
MC LAIN, RITA C                  325 N 4TH ST                                                                         DUPO                    IL 62239‐1224
MC LAIN, RITA C                  325 N FOURTH ST                                                                      DUPO                    IL 62239
MC LANE, CARROLL L               308 W SAGINAW ST                                                                     SAINT LOUIS            MI 48880‐1436
MC LANE, DEREK E                 55776 LANCEWOOD DR                                                                   SHELBY TWP             MI 48316‐5808
MC LANE, JAMES B                 4910 LIMA CENTER RD                                                                  ANN ARBOR              MI 48103‐9265
MC LANE, MARGARET E              4910 LIMA CENTER RD                                                                  ANN ARBOR              MI 48103‐9265
MC LANE, MARY ANN                4651 GREEN DR                                                                        HARSENS ISLAND         MI 48028‐9634
MC LANE, OTIS A                  5201 PECK RD                                                                         NORTH BRANCH           MI 48461‐9367
MC LANE, ROBERT E                4081 S STATE RD                                                                      DAVISON                MI 48423‐8721
MC LANSON, ROBERT                1900 S COLDWATER RD                                                                  MT PLEASANT            MI 48858‐9630
MC LAREN ENGINES INC             32233 8 MILE RD                                                                      LIVONIA                MI 48152‐1361
MC LAREN FLINT TWP DRAWING STA   1314 S LINDEN RD                                                                     FLINT                  MI 48532‐3456
MC LAREN HOMEWOOD VILLAGE        ATTN: DEANNA COLBY             4444 W COURT ST                                       FLINT                  MI 48532‐4329
MC LAREN MEDICAL MGT             ATTN: LINDA WEIRAUCH           1314 S LINDEN RD # B                                  FLINT                  MI 48532‐3456
MC LAREN OB‐GYN ASSOC            ATTN: RENEE COLEMAN            1010 N LINDEN RD                                      FLINT                  MI 48532‐2339
MC LAREN OB‐GYN ASSOC            ATTN: VICTORIA R BROOKS        1314 S LINDEN RD                                      FLINT                  MI 48532‐3456
MC LAREN, DANIEL T               1058 SAN LUCIA DR SE                                                                 GRAND RAPIDS           MI 49506‐3457
MC LAREN, JOHN T                 510 S CLINTON AVE                                                                    SAINT JOHNS            MI 48879‐2244
MC LAREN, LEONARD D              5785 SNOVER RD                                                                       DECKER                 MI 48426‐9701
MC LAREN, MARGUERITE L           5378 N GEORGETOWN RD                                                                 GRAND BLANC            MI 48439‐8773
MC LAREN, ROBERT                 4121 KNOLLWOOD DR                                                                    GRAND BLANC            MI 48439‐2024
MC LAREN, SARAH K                5151 CHICKASAW TRAIL                                                                 FLUSHING               MI 48433‐1078
MC LAREN, TERRY L                11386 ALVORD DR                                                                      FENTON                 MI 48430‐9066
MC LAREN, TERRY LEE              11386 ALVORD DR                                                                      FENTON                 MI 48430‐9066
MC LAREN, THOMAS A               481 JOHN WILLIAMS ROAD                                                               DELHI                  NY 13753‐2248
MC LARNEY, ANGELA                28500 DINO CIRCLE TWSP                                                               CHESTERFIELD           MI 48047
MC LARNEY, HUGH P                7735 RIVER RD                                                                        COTTRELLVILLE          MI 48039‐3335
MC LARNON, BRYAN P               4 DUFFIE PL                                                                          PISCATAWAY             NJ 08854‐2146
MC LARTY, ANITA J                1133 ROCK VALLEY DR                                                                  ROCHESTER              MI 48307‐6002
MC LARTY, CHRISTOPHER M          270 S COATS RD                                                                       OXFORD                 MI 48371‐4209
MC LARTY, KAMALA L               270 S COATS RD                                                                       OXFORD                 MI 48371‐4209
MC LARTY, SUSAN T                1318 DUNDEE DR                                                                       WATERFORD              MI 48327‐2003
MC LARY, MARJORIE G              7656 HARBOUR ISLE                                                                    INDIANAPOLIS           IN 46240‐3467
MC LAUCHLAN, JACK C              331 STEPHENS RD                                                                      GROSSE POINTE FARMS    MI 48236‐3411
MC LAUCHLIN, CHAD A              13450 NORTH RD                                                                       FENTON                 MI 48430‐1073
MC LAUCHLIN, DIANNE R            2302 TREELANE AVE                                                                    MONROVIA               CA 91016‐4948
MC LAUCHLIN, RONALD K            8595 HOLCOMB RD                                                                      CLARKSTON              MI 48348‐4321
MC LAUCHLIN, WILLIAM J           18367 N COOK DR                                                                      MARICOPA               AZ 85238‐4656
MC LAUGHLIN BROTHERS, INC.       216 RIVER AVE N                                                                      BELMOND                 IA 50421‐1035
MC LAUGHLIN, ALAN W              273 ANNE MARIE CT                                                                    HINCKLEY               OH 44233‐9228
MC LAUGHLIN, ALICE E             61961 YORKTOWN DR UNIT 1                                                             SOUTH LYON             MI 48178‐1716
MC LAUGHLIN, ALLEN B             533 KANSAS AVE                                                                       YPSILANTI              MI 48198‐8005
MC LAUGHLIN, ALLEN BRAND         533 KANSAS AVE                                                                       YPSILANTI              MI 48198‐8005
MC LAUGHLIN, ANNA E              4800 CLINTONVILLE RM 306B                                                            CLARKSTON              MI 48346‐4297
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Name                      Address1                      Address2            Address3         Address4         City              State Zip
MC LAUGHLIN, ARTHUR       11577 CLEARWATER DRIVE                                                              FENTON             MI 48430‐8609
MC LAUGHLIN, BETTY J      1390 WREN STREET                                                                    WIXOM              MI 48393‐1559
MC LAUGHLIN, BEVERLY A    1710 PICASSO PL                                                                     LADY LAKE          FL 32162‐8505
MC LAUGHLIN, BEVERLY L    503 AUBURN COVE CIR                                                                 VENICE             FL 34292‐5376
MC LAUGHLIN, BRIAN P      5120 ABINGTON DR                                                                    TROY               MI 48085‐3400
MC LAUGHLIN, CARL E       9850 W TITTABAWASSEE RD                                                             FREELAND           MI 48623‐9206
MC LAUGHLIN, CHARLENE G   13359 WALNUT ST                                                                     SOUTHGATE          MI 48195‐1143
MC LAUGHLIN, CHERI L      13059 N LINDEN RD                                                                   CLIO               MI 48420‐8206
MC LAUGHLIN, DANIEL L     780 BOW LN                                                                          WATERFORD          MI 48328‐4108
MC LAUGHLIN, DEBORAH A    17669 DELAWARE AVE                                                                  REDFORD            MI 48240‐2340
MC LAUGHLIN, DENNIS J     4836 STADLER RD                                                                     MONROE             MI 48162‐9424
MC LAUGHLIN, DONALD L     907 6TH AVE                                                                         LAKE ODESSA        MI 48849‐1025
MC LAUGHLIN, DORVAL K     20300 FORT ST APT 151                                                               RIVERVIEW          MI 48193‐4550
MC LAUGHLIN, DUANE E      3515 COUNTY ROAD 10                                                                 DELTA              OH 43515‐9451
MC LAUGHLIN, EARLENE E    3582 RODERIGO AVE                                                                   NORTH PORT         FL 34286‐3917
MC LAUGHLIN, EDWARD F     1710 PICASSO PL                                                                     LADY LAKE          FL 32162‐8505
MC LAUGHLIN, FRANCIS J    100 WARREN ST APT 105B                                                              WATERTOWN          MA 02472‐1726
MC LAUGHLIN, FRANCIS M.   15967 TITAN AVE                                                                     ALTAMONT           MO 64620‐8126
MC LAUGHLIN, HARVEY P     58221 TIMOTHY LN                                                                    WASHINGTON         MI 48094‐2197
MC LAUGHLIN, HENRY        20203 LITTLEFIELD ST                                                                DETROIT            MI 48235‐4404
MC LAUGHLIN, JAMES C      1432 S DUFFIELD RD                                                                  LENNON             MI 48449‐9720
MC LAUGHLIN, JANE S       PO BOX 495                                                                          CORBETT            OR 97019‐0495
MC LAUGHLIN, JANICE M     238 LUDINGTON ST                                                                    BUFFALO            NY 14206‐1426
MC LAUGHLIN, JOHN H       456 WOODLAWN AVE                                                                    WEBSTER GROVES     MO 63119‐3639
MC LAUGHLIN, JOHN J       330 CLYMER AVE                                                                      MORRISVILLE        PA 19067‐2272
MC LAUGHLIN, JOHN L       3871 HURON ST                                                                       NORTH BRANCH       MI 48461‐6156
MC LAUGHLIN, JOHN M       126 LYNNWOOD AVE                                                                    BELLE VERNON       PA 15012‐2241
MC LAUGHLIN, JOHN P       3304 MYAKKA RIVER RD                                                                TAVARES            FL 32778‐4833
MC LAUGHLIN, JUDITH A     3200 MCGREGOR ST                                                                    GRAND BLANC        MI 48439‐8190
MC LAUGHLIN, LAWRENCE J   4664 MARLOW DR                                                                      WARREN             MI 48092‐2370
MC LAUGHLIN, LAWRENCE J   1525 TAITWOOD RD                                                                    CENTERVILLE        OH 45459‐5438
MC LAUGHLIN, LEE ROY S    6909 CONSTITUTION DR                                                                WATAUGA            TX 76148‐1942
MC LAUGHLIN, LEO W        36 WAMPUM TRL S                                                                     WAKEFIELD           RI 02879‐2010
MC LAUGHLIN, LORENE E     13359 WALNUT ST                                                                     SOUTHGATE          MI 48195‐1143
MC LAUGHLIN, LOUIS J      371 INDIAN CHURCH RD          BUILDING 4                                            WEST SENECA        NY 14224
MC LAUGHLIN, LULA S       27 EMERSON PLACE                                                                    BUFFALO            NY 14209‐1737
MC LAUGHLIN, LULA S       27 EMERSON PL                                                                       BUFFALO            NY 14209‐1737
MC LAUGHLIN, LYNN J       1488 WEDGEWOOD DR                                                                   SALINE             MI 48176‐9287
MC LAUGHLIN, MARCIA Y     4299 WINDIATE PARK DR                                                               WATERFORD          MI 48329‐1264
MC LAUGHLIN, MARLENE J    1271 OAKWOOD CT                                                                     ROCHESTER HILLS    MI 48307‐2539
MC LAUGHLIN, MARY JANE    9160 ROLLING GREENS TRL                                                             MIAMISBURG         OH 45342‐6781
MC LAUGHLIN, MATTHEW J    PO BOX 9022                   C/O KOREA                                             WARREN             MI 48090‐9022
MC LAUGHLIN, NANCY        810 ELIZABETH ST                                                                    MCKEESPORT         PA 15133‐2318
MC LAUGHLIN, NANCY A      3830 CHENLOT                                                                        WATERFORD          MI 48328‐4303
MC LAUGHLIN, NITA F       1420 SHERWOOD DR                                                                    ANDERSON           IN 46012‐2826
MC LAUGHLIN, PHILLIP J    9232 STANSEL CIR                                                                    CENTERVILLE        OH 45458‐3695
MC LAUGHLIN, REBECCA A    14579 N MCCAULEY LN                                                                 MOUNT VERNON        IL 62864‐7969
MC LAUGHLIN, RICHARD      25 WOODSTOCK LN                                                                     BROCKPORT          NY 14420‐9459
MC LAUGHLIN, RICHARD J    69 BRIARHILL DR                                                                     BUFFALO            NY 14224‐1901
MC LAUGHLIN, RICHARD P    20 STONEGATE RD                                                                     OSSINING           NY 10562‐3939
MC LAUGHLIN, RICHARD Y    870 GOLF VILLA DR                                                                   OXFORD             MI 48371‐3697
MC LAUGHLIN, ROBERT S     4554 FOREST PEAK CIR                                                                MARIETTA           GA 30066‐1755
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Name                      Address1                       Address2                Address3     Address4         City              State Zip
MC LAUGHLIN, RUSSELL A    11230 CLARK RD                                                                       DAVISBURG          MI 48350‐2729
MC LAUGHLIN, RUTH M       28429 STATE HIGHWAY J                                                                ALTAMONT           MO 64620‐8112
MC LAUGHLIN, SHARON K     6444 S ADRIAN HWY                                                                    ADRIAN             MI 49221‐9663
MC LAUGHLIN, THERESA C    1009 DAHULIA LANE                                                                    JEANETTE           PA 15644
MC LAUGHLIN, TIMOTHY R    10000 EAGLE RD                                                                       DAVISBURG          MI 48350‐2119
MC LAUGHLIN, WALTER M     47345 VICTORIAN SQ N                                                                 CANTON             MI 48188‐6325
MC LAUGHLIN, WANDA J      1110 CHILTON DR.                                                                     WYLIE              TX 75098
MC LAUGHLIN, WILLIAM J    20201 LORAIN RD APT 817                                                              FAIRVIEW PARK      OH 44126‐3476
MC LAURIN, ARNELL D       8121 AGNES ST                                                                        DETROIT            MI 48214‐2686
MC LAURIN, CALVIN H       418 E 309TH ST                                                                       WILLOWICK          OH 44095‐3714
MC LAURIN, CHARLES R      1705 E WEBSTER RD                                                                    FLINT              MI 48505‐2451
MC LAURIN, ELBERT C       8100 GORINGWOOD LN                                                                   GERMANTOWN         TN 38138‐4101
MC LAURIN, GLORIA J       PO BOX 19751                                                                         DETROIT            MI 48219‐0751
MC LAURIN, GREGORY S      16144 JUPITER HILLS DR                                                               NORTHVILLE         MI 48159‐9520
MC LAURIN, IDA M          2904 TIEMANN AVE                                                                     BRONX              NY 10469‐3322
MC LAURIN, IDA M          2904 TIEMAN AVENUE                                                                   BRONX              NY 10469‐3322
MC LAURIN, JACK           4301 WARRINGTON DR                                                                   FLINT              MI 48504‐2029
MC LAURIN, JAMES          920 NE 32ND ST                                                                       OKLAHOMA CITY      OK 73105‐7626
MC LAURIN, MAXINE         4436 BEECHER RD                                                                      FLINT              MI 48532‐2609
MC LAURINE, REDELIA       APT 105                        42282 PARKSIDE CIRCLE                                 STERLING HTS       MI 48314‐3435
MC LAVISH, JOSEPH E       2226 N VASSAR RD                                                                     DAVISON            MI 48423‐9552
MC LAVISH, RAYMOND D      5157 SILENT LOOP APT 103                                                             NEW PORT RICHEY    FL 34652‐3513
MC LAWHORN, BARREDELL     PO BOX 7221                                                                          MACON              GA 31209‐7221
MC LAWHORN, LELA T        G3350 WEST CARPENTER ROAD                                                            FLINT              MI 48504
MC LAY, BARBARA J         3626 W. ROSE CITY RD.                                                                WEST BRANCH        MI 48661‐8465
MC LAY, BARBARA J         3626 W ROSE CITY RD                                                                  WEST BRANCH        MI 48661‐8465
MC LEAN DAME, JANET L     10110 MILDRED DR                                                                     HAGERSTOWN         MD 21740‐9547
MC LEAN MARYHELEN A       1133 AMERICAN ELM ST                                                                 LAKE ORION         MI 48360‐1450
MC LEAN MIDWEST CORP      11611 BUSINESS PARK BLVD N                                                           CHAMPLIN           MN 55316‐2784
MC LEAN, ALEX M           1834 DALTON DR                                                                       THE VILLAGES       FL 32162‐7544
MC LEAN, ALFRED W         30315 INDIGO ST                                                                      ROSEVILLE          MI 48066‐1409
MC LEAN, ALFRED WILLIAM   30315 INDIGO ST                                                                      ROSEVILLE          MI 48066‐1409
MC LEAN, ANDRUS B         1451 E STRANGE HWY                                                                   GRAND LEDGE        MI 48837‐9463
MC LEAN, BARBARA J        906 W OAK ST                                                                         VASSAR             MI 48768‐1117
MC LEAN, BESSIE M         5153 WOODSTOCK DRIVE                                                                 SWARTZ CREEK       MI 48473‐8543
MC LEAN, BESSIE M         G 5201 WOODHAVEN COURT         APT #602                                              FLINT              MI 48532
MC LEAN, BETTY M          6902 18TH AVE W                                                                      BRADENTON          FL 34209‐4945
MC LEAN, BETTY M          6902 18TH AVENUE WEST                                                                BRADENTON          FL 34209‐4945
MC LEAN, BILLY J          ROUTE =2                                                                             WESTPOINT          TN 38486
MC LEAN, BRUCE E          30943 COPPER LN                                                                      NOVI               MI 48377‐4537
MC LEAN, CAROLYN L        834 MAJOR ST                                                                         FLINT              MI 48507‐2563
MC LEAN, CLIFFORD R       2105 PARIS AVE                                                                       LINCOLN PARK       MI 48146‐1376
MC LEAN, DAVID H          723 W COUNTRY RD                                                                     COLUMBUS           KS 66725‐3001
MC LEAN, DAVID HARRY      723 W COUNTRY RD                                                                     COLUMBUS           KS 66725‐3001
MC LEAN, DENNIS A         12706 SW OVERGAARD ST                                                                TIGARD             OR 97224‐3021
MC LEAN, DENNIS L         127 STARLING ST                                                                      COMMERCE TWP       MI 48382‐4069
MC LEAN, DOROTHY J        1401 LOCHAVEN CT APT 3                                                               WATERFORD          MI 48327‐4211
MC LEAN, DOUGLAS E        3064 MAPLEWOOD DR                                                                    FORT GRATIOT       MI 48059‐2833
MC LEAN, EDWARD W         PO BOX 2568                                                                          DAVIDSON           NC 28036‐2568
MC LEAN, ERVIN            912 WIGGINS RD                                                                       DOTHAN             AL 36303‐9211
MC LEAN, FARRIS M         1088 PARKLAND RD                                                                     LAKE ORION         MI 48360‐2806
MC LEAN, FARRIS M         150 DOGWOOD DR                                                                       OAKLAND            MI 48363‐1314
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Name                      Address1                        Address2            Address3         Address4         City                State Zip
MC LEAN, GARY M           15590 GARRISON LN                                                                     SOUTHGATE            MI 48195‐2655
MC LEAN, GEORGE A         269 ROCKFORD CICLE                                                                    WHITE LAKE           MI 48386
MC LEAN, GLEN G           2481 RIVER WOODS DR N                                                                 CANTON               MI 48188‐3286
MC LEAN, GLEN GORDON      2481 RIVER WOODS DR N                                                                 CANTON               MI 48188‐3286
MC LEAN, HERBERT F        2350 NICHOLS ST                                                                       TRENTON              MI 48183‐2458
MC LEAN, JAMES A          358 BOYNE ST                                                                          NEW HUDSON           MI 48165‐9780
MC LEAN, JAMES A          18843 STOCKTON DR                                                                     NOBLESVILLE          IN 46062‐8102
MC LEAN, JAMES ALLAN      358 BOYNE ST                                                                          NEW HUDSON           MI 48165‐9780
MC LEAN, JAMES R          6510 BURNHAM CIR                                                                      PONTE VEDRA BEACH    FL 32082‐2505
MC LEAN, JENNIFER J       7368 OLDENBURG LN                                                                     PORTAGE              MI 49024‐3036
MC LEAN, JOSEPHINE J      43855 PINOT NOIR DR                                                                   STERLING HTS         MI 48314‐1801
MC LEAN, KENNETH W        7553 SLOAN ST                                                                         TAYLOR               MI 48180‐2453
MC LEAN, LEROY J          107 BUTTONWOOD CIR                                                                    SEMINOLE             FL 33777‐3935
MC LEAN, LOIS E           847 E COLONIAL CIR                                                                    DAYTONA BEACH        FL 32117‐3217
MC LEAN, MARY E           105 MILDRED                                                                           BEEBE                AR 72012‐9418
MC LEAN, MATTHEW A        1159 WIGGINS LAKE RD                                                                  GLADWIN              MI 48624‐7623
MC LEAN, MIGUEL           8212 ESPERANZA ST                                                                     ORLANDO              FL 32817‐2417
MC LEAN, RAY              2371 BOWMAN RD                                                                        IMLAY CITY           MI 48444‐9736
MC LEAN, ROB ROY A        59 GEDDES ST                                                                          HOLLEY               NY 14470‐1144
MC LEAN, ROBERT G         31308 JAY DR                                                                          WARREN               MI 48093‐1746
MC LEAN, SCOTT C          400 JULIET DR                                                                         ALMONT               MI 48003‐8613
MC LEAN, SCOTT M          240 WASHINGTON PKWY                                                                   STRATFORD            CT 06615‐7814
MC LEAN, THOMAS F         1226 WENTWOOD DR                                                                      IRVING               TX 75061‐4457
MC LEAN, THOMAS R         7740 LUANN ST                                                                         SAGINAW              MI 48609‐4905
MC LEAN, THOMAS RICHARD   7740 LUANN STREET                                                                     SAGINAW              MI 48609‐4905
MC LEAN, THOMAS V         15957 ORCHARD POINT DR                                                                SPRING LAKE          MI 49456‐2344
MC LEAN, TIMOTHY M        5612 MOTTLAND CT                                                                      OXFORD               MI 48371‐1082
MC LEAN, WILDA            1359 TINSMAN RD                                                                       FENTON               MI 48430‐1637
MC LEAN, WILLIAM E        883 W HIGHWAY 246                                                                     BUELLTON             CA 93427‐9494
MC LEAN, WILLIAM E        36612 LANSBURY LN                                                                     FARMINGTON           MI 48335‐2932
MC LEAN, WILLIAM L        3139 GREENSPRING LN                                                                   ROCHESTER HLS        MI 48309‐2742
MC LEAR, GARY M           4167 HIGHWAY MM                                                                       MOUNTAIN GROVE       MO 65711‐2752
MC LEAR, GARY M           7951 NE ANTIOCH RD                                                                    KANSAS CITY          MO 64119
MC LEAR, HILDE N          7951 NE ANTIOCH RD                                                                    KANSAS CITY          MO 64119
MC LEAR, HILDE N          4167 HIGHWAY MM                                                                       MOUNTAIN GROVE       MO 65711‐2752
MC LEARY, WILLIAM B       1831 OLD HUMBOLDT RD                                                                  HUMBOLDT             TN 38343‐8415
MC LEISH I, JAMES H       1399 20 MILE RD                                                                       BARRYTON             MI 49305‐9703
MC LEISH, HUGH P          6104 N MISTY OAK TER                                                                  BEVERLY HILLS        FL 34465‐2575
MC LEISH, VERA M          9 SUNNYSIDE TER                                                                       EAST ORANGE          NJ 07018‐2315
MC LELLAN, DAVID R        8611 TIPSICO LAKE RD                                                                  HOLLY                MI 48442‐9193
MC LELLAN, MARY A         2178 LA COSTA VILLAGE BLVD                                                            PORT ORANGE          FL 32129‐7876
MC LELLAND, ALEXANDER J   19415 BRANDYWINE ST                                                                   RIVERVIEW            MI 48193‐7801
MC LEMORE, BILLY A        4707 E CARTER DR                                                                      PHOENIX              AZ 85042‐6417
MC LEMORE, CECIL J        8924 STATE ROUTE 224                                                                  DEERFIELD            OH 44411‐9712
MC LEMORE, CLAUDIA G      1844 BOSTON RD                                                                        HINCKLEY             OH 44233‐9440
MC LEMORE, DAVID E        20194 IRVINGTON ST                                                                    DETROIT              MI 48203‐1111
MC LEMORE, JOYCE M        2909 W 25TH AVE                                                                       PINE BLUFF           AR 71603‐4908
MC LEMORE, JUANITA        P.O. BOX 4352                                                                         FLINT                MI 48504‐0352
MC LEMORE, JUANITA        PO BOX 4352                                                                           FLINT                MI 48504‐0352
MC LEMORE, KERRY O        19526 ELM DR                                                                          STRONGSVILLE         OH 44149‐6859
MC LEMORE, MARVIN L       14254 NORTHLAWN ST                                                                    DETROIT              MI 48238‐2439
MC LEMORE, MARY L         739 HOLLISTER ST                                                                      PONTIAC              MI 48340‐2429
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Name                     Address1                      Address2            Address3         Address4         City            State Zip
MC LEMORE, NANCY M       20541 CHARLTON SQ APT 111                                                           SOUTHFIELD       MI 48076‐4006
MC LEMORE, ORLANDRIS P   1327 WELCH BLVD                                                                     FLINT            MI 48504‐7303
MC LEMORE, RAY E         7806 TROUP AVENUE                                                                   KANSAS CITY      KS 66112
MC LEMORE, RAY E         7806 TROUP AVE                                                                      KANSAS CITY      KS 66112‐2226
MC LEMORE, WILLIE J      23300 EDINBURGH ST                                                                  SOUTHFIELD       MI 48033‐4885
MC LENDON, HELEN M       9707 WYNCHASE CIR                                                                   MONTGOMERY       AL 36117‐5184
MC LENDON, KENNETH T     302 E JOPPA RD APT 1612                                                             TOWSON           MD 21286‐4111
MC LENIGAN, PAUL         19 DUTCHMILL DR                                                                     WILLIAMSVILLE    NY 14221‐1747
MC LENNA SR, CHARLES H   14229 COLE RD                                                                       LINDEN           MI 48451‐9743
MC LENNA, LEONA M        14229 COLE RD.                                                                      LINDEN           MI 48451
MC LENNA, LEONA M        14229 COLE RD                                                                       LINDEN           MI 48451‐9743
MC LENNAN, GERALD L      708 W SHADY LN                                                                      NEW ALBANY       MS 38652‐1605
MC LENNAN, MARY          13272 LILLIAN LN                                                                    STERLING HTS     MI 48313‐2638
MC LENNAN, MILES W       946 SAINT MARYS LN                                                                  SANTA BARBARA    CA 93111‐1035
MC LENNAN, P G           17 W ORANGE GROVE AVE                                                               ARCADIA          CA 91006‐1813
MC LENNAN, RONALD G      9555 KIES RD                                                                        MANCHESTER       MI 48158‐9544
MC LENNAN, THOMAS B      2478 CARRIAGE CT                                                                    INDIALANTIC      FL 32903‐2478
MC LENNAN, VIRGINIA J    3500 W JEFFERSON BOX =47                                                            TRENTON          MI 48183‐4214
MC LENON, EDWARD         115 E LINCOLN ST                                                                    CHARLEVOIX       MI 49720
MC LEOD CO PC            ATTN: JAMES D MC LEOD         31 OAKLAND AVE                                        PONTIAC          MI 48342‐2019
MC LEOD JR, JAMES G      2050 LARISSA CT                                                                     TRINITY          FL 34655‐4956
MC LEOD JR, LAURENCE K   9530 RIDGE TOP TRL                                                                  CLARKSTON        MI 48348‐2352
MC LEOD JR, ROY E        418 S MAGNOLIA AVE                                                                  LANSING          MI 48912‐2930
MC LEOD USA              700 KENTUCKY AVE                                                                    INDIANAPOLIS     IN 46225‐1232
MC LEOD, ARCHIE R        15590 LIVERPOOL ST                                                                  LIVONIA          MI 48154‐1818
MC LEOD, ARNOLD R        755 4TH AVE                                                                         LAKE ODESSA      MI 48849‐1209
MC LEOD, BERENE D        414 COURTLAND DR                                                                    SANFORD          NC 27330‐5515
MC LEOD, CHARLES         190 SHERIFF ST                                                                      ELYRIA           OH 44035‐2554
MC LEOD, CHARLES W       52251 FISH CREEK DR                                                                 MACOMB           MI 48042‐5694
MC LEOD, DANIEL G        910 PRATT ST                                                                        CROWN POINT      IN 46307‐3041
MC LEOD, DENNIS A        68 CEDARWALD DR                                                                     ROCHESTER        MI 48306‐2819
MC LEOD, DONALD          5406 ARBORETUM TRL                                                                  HOWELL           MI 48843‐7388
MC LEOD, E H             1 SHOAL CT APT 61                                                                   SACRAMENTO       CA 95831‐1437
MC LEOD, GERALD A        7775 32 MILE RD                                                                     BRUCE TWP        MI 48065‐4202
MC LEOD, GREGORY D       11875 TIPTON HWY                                                                    TIPTON           MI 49287‐9718
MC LEOD, HARRY S         3552 PINELAND PTE.                                                                  GLADWIN          MI 48624
MC LEOD, JAMES D         340 OLD MILL RD SPC 150                                                             SANTA BARBARA    CA 93110‐3810
MC LEOD, JOHN S          28978 CAMBRIDGE ST                                                                  GARDEN CITY      MI 48135‐2112
MC LEOD, JON R           13635 HYDE RD                                                                       HARTLAND         MI 48353‐3217
MC LEOD, KENNETH H       7304 N VALERIE ST                                                                   SPOKANE          WA 99208‐4951
MC LEOD, MARY L          1497 TENNYSON DR                                                                    TEMPERANCE       MI 48182‐3206
MC LEOD, MAX J           11210 JERRYSON DR                                                                   GRAND LEDGE      MI 48837‐9120
MC LEOD, MILDRED S       7618 TWIN HILLS DR                                                                  HOUSTON          TX 77071‐1418
MC LEOD, NORMAN M        3987 S MIELKE WAY RD                                                                LEWISTON         MI 49756‐7923
MC LEOD, PATRICIA M      3144 DELAWARE AVE                                                                   FLINT            MI 48506‐3027
MC LEOD, PATRICIA M      309 TIFFANY CT                                                                      GIBSONIA         PA 15044‐6213
MC LEOD, ROBERT J        1450 E HAMILTON AVE                                                                 FLINT            MI 48506‐3533
MC LEOD, ROBERT J        3131 ANDERSON CT                                                                    CLIO             MI 48420‐1085
MC LEOD, RODERICK J      736 LING RD APT 4                                                                   ROCHESTER        NY 14612‐2555
MC LEOD, RUBY M          1721 CHELSEA CIRCLE                                                                 FLINT            MI 48503‐4705
MC LEOD, SHEILA          6980 DEERHILL DR                                                                    CLARKSTON        MI 48346‐1224
MC LEOD, THEODORE A      1710 BRIGHTWATERS BLVD NE                                                           ST PETERSBURG    FL 33704‐3816
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Name                          Address1                        Address2             Address3       Address4         City               State Zip
MC LEOD, WAYNE A              PO BOX 38                                                                            FRANCESTOWN         NH 03043‐0038
MC LEOD, WILLIAM B            507 S SUNSET LN                                                                      RAYMORE             MO 64083‐9235
MC LEOD‐BLAKENEY, BARBARA J   555 MAGNOLIA AVE. 2ND FL.                                                            ELIZABETH           NJ 07206
MC LERNON, JAMES W            3510 SE CAMBRIDGE DR                                                                 STUART              FL 34997‐5616
MC LEROY, WENDELL G           9938 MANSFIELD ST                                                                    DETROIT             MI 48227‐1604
MC LILLY, LOUIS C             613 E PARKWAY AVE                                                                    FLINT               MI 48505‐2959
MC LILLY, LOUIS CALVIN        613 E PARKWAY AVE                                                                    FLINT               MI 48505‐2959
MC LIMANS, KATHRYN L          2613 E OREGON TRAIL                                                                  JANESVILLE          WI 53546‐9554
MC LIN, JACOB                 7927 S HERMITAGE AVE                                                                 CHICAGO              IL 60620‐4511
MC LIN, PAULA S               4451 MOZART AVE                                                                      DAYTON              OH 45424‐5967
MC LIN, THOMAS S              8923 NATIONAL RD.                                                                    BROOKVILLE          OH 45309‐9665
MC LINDEN, JOAN B             83 SPRING LAKE DR                                                                    STAFFORD            VA 22556‐6558
MC LINTOCK, LAWRENCE E        4894 OAK PARK DR                                                                     CLARKSTON           MI 48346‐3934
MC LOGAN, LAURA A             2609 WESTWOOD PKWY                                                                   FLINT               MI 48503‐4667
MC LOSKY, MITCHELL W          1535 S MORRICE RD                                                                    OWOSSO              MI 48867‐4766
MC LOUGHLIN, JAMES D          1315 S QUEEN ST                                                                      PALMYRA             PA 17078‐3551
MC LOUGHLIN, JANET            770 JAMES ST                                                                         SYRACUSE            NY 13203‐2117
MC LOUGHLIN, MALACHY          10421 S TRUMBULL AVE                                                                 CHICAGO              IL 60655‐2430
MC LOUGHLIN, WILLIAM G        124 MAPLEWOOD AVE                                                                    SYRACUSE            NY 13205‐3112
MC LOUTH CHEVROLET, INC.      1338 W MAIN STREET                                                                   MACEDON             NY 14502
MC LOUTH CHEVROLET, INC.      RICHARD MCLOUTH                 1338 W MAIN STREET                                   MACEDON             NY 14502
MC LUSKIE, EILEEN             2690 TYLER AVE                                                                       BERKLEY             MI 48072‐1334
MC MACHINERY SYSTEMS INC      1500 MICHAEL DR STE E                                                                WOOD DALE            IL 60191
MC MACKEN, HAROLD D           1088 E DAVIS RD                                                                      HOWELL              MI 48843‐8840
MC MAHAN, ALICE A             8405 NORTHERN ST                                                                     RAYTOWN             MO 64138‐3447
MC MAHAN, CARL C              6114 STOP61A                                                                         ZAPATA              TX 78076‐2908
MC MAHAN, CHARLES E           4432 JAMES DR                                                                        CHATTANOOGA         TN 37416‐2901
MC MAHAN, CHERYL C            3006 HONEY CT                                                                        KOKOMO              IN 46902‐3919
MC MAHAN, CHERYL C            2784 E COUNTY RD 50 NORTH                                                            KOKOMO              IN 46901
MC MAHAN, DAVID R             17288 CRESCENT MOON DR                                                               NOBLESVILLE         IN 46060‐7202
MC MAHAN, DONALD E            2318 HIGHLAND RD                                                                     ANDERSON            IN 46012‐1922
MC MAHAN, ERMA L              G‐3190 EAST DODGE ROAD                                                               CLIO                MI 48420
MC MAHAN, GARY C              2403 N WASHINGTON AVE APT 103                                                        DALLAS              TX 75204‐3739
MC MAHAN, HAROLD R            38 CURTIS CT                    GATE 'N GREEN                                        BROOMFIELD          CO 80020‐1102
MC MAHAN, HARRY D             345 LAIRD ST                                                                         MOUNT MORRIS        MI 48458‐8870
MC MAHAN, JACK D              14503 HOGAN RD                                                                       LINDEN              MI 48451‐8783
MC MAHAN, KEVIN M             6400 SUNDANCE TRL                                                                    BRIGHTON            MI 48116‐7718
MC MAHAN, MARIAN C            4324 REDTAIL HAWK DR                                                                 JACKSONVILLE        FL 32257‐8114
MC MAHAN, RALPH E             3216 8TH AVE                                                                         SAINT JAMES CITY    FL 33956‐2128
MC MAHAN, REX V               118 FOREST VIEW CIR                                                                  HOT SPRINGS         AR 71913‐6557
MC MAHAN, STEVEN A            8475 JACLYN ANN DR                                                                   FLUSHING            MI 48433‐2913
MC MAHAN, W G                 1818 EDWARD LN                                                                       ANDERSON            IN 46012‐1919
MC MAHAN, WALLACE L           314 E SUSAN DR                                                                       OAK CREEK           WI 53154‐3006
MC MAHON JR, PAUL J           203 EUGENE ST                                                                        FOLSOM              LA 70437‐5616
MC MAHON MARTIN S             83 EUSTIS ST                                                                         REVERE              MA 02151‐3113
MC MAHON MOTORS, INC.         100 E MAIN ST                                                                        DURAND              WI 54736‐1143
MC MAHON MOTORS, INC.         DAVID MC MAHON                  100 E MAIN ST                                        DURAND              WI 54736‐1143
MC MAHON SR, THOMAS M         3304 SCHOOLHOUSE DR                                                                  WATERFORD           MI 48329‐4378
MC MAHON, BONNIE J            5569 PARTRIDGE CIR                                                                   WEST CHESTER        OH 45069‐1843
MC MAHON, BONNIE J            1432 BUCKEYE CIRCLE                                                                  SALEM               OH 44460‐1119
MC MAHON, CAROL J             6122 KINGS CT                                                                        DRYDEN              MI 48428‐9336
MC MAHON, CHARLES D           6821 ARTESIA BEACH RD                                                                SAINT HELEN         MI 48656‐9226
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Name                    Address1                       Address2                  Address3   Address4         City               State Zip
MC MAHON, CHARLES J     42 CLEARVIEW DR                                                                      SPENCERPORT         NY 14559‐1131
MC MAHON, DEBORAH K     37613 LARAMIE ST                                                                     WESTLAND            MI 48185‐5608
MC MAHON, DEBORAH KAY   37613 LARAMIE ST                                                                     WESTLAND            MI 48185‐5608
MC MAHON, EDWARD J      601 KING GEORGE DR APT 335                                                           FORT WORTH          TX 76112‐8717
MC MAHON, ELVERA J      2114 NINUS DR                  APT 2                                                 HIGH RIDGE          MO 63049
MC MAHON, GARY E        6122 KINGS CT                                                                        DRYDEN              MI 48428‐9336
MC MAHON, GREGORY T     1843 S 14TH ST                                                                       KANSAS CITY         KS 66103‐1013
MC MAHON, JAMES         347 RARITAN ROAD                                                                     LINDEN              NJ 07036‐5136
MC MAHON, JAMES D       5518 PARKWOOD BLVD                                                                   CLARKSTON           MI 48346‐3101
MC MAHON, JAMES F       54825 HENNINGTON CT                                                                  SHELBY TOWNSHIP     MI 48316‐1205
MC MAHON, JOHN J        2656 CLUB VALLEY DR NE                                                               MARIETTA            GA 30068‐3520
MC MAHON, JOHN J        4664 ARGYLE DR                                                                       TROY                MI 48085‐3706
MC MAHON, JOSEPH E      284 POCO CT                                                                          ROCHESTER HLS       MI 48307‐3850
MC MAHON, JUNE A        147 HAUSER AVE                                                                       YARDVILLE           NJ 08620‐1703
MC MAHON, KEVIN         1241 N MCMULLEN BOOTH RD       1241 MC MULLEN BOOTH RD                               CLEARWATER          FL 33759‐3232
MC MAHON, LARRY B       806 S GREEN CIR                                                                      VENICE              FL 34285‐2920
MC MAHON, LINDA M       343 COLUMBINE CT                                                                     YORKTOWN HEIGHTS    NY 10598‐4919
MC MAHON, MARION L      5523 CHIMNEY ROCK DR                                                                 ARLINGTON           TX 76017‐3028
MC MAHON, MARY C        6821 ARTESIA BEACH RD                                                                SAINT HELEN         MI 48656‐9226
MC MAHON, MARY E        3634 DAVID K DR                                                                      WATERFORD           MI 48329‐1317
MC MAHON, MAUREEN F     14383 DRUMRIGHT DR                                                                   STERLING HTS        MI 48313‐4323
MC MAHON, MICHAEL J     852 BASELINE RD                                                                      GRAND ISLAND        NY 14072‐2508
MC MAHON, NEIL S        8416 REGAL WAY                                                                       PALMETTO            FL 34221‐9562
MC MAHON, NOREEN C      19 ARPAD ST                                                                          HICKSVILLE          NY 11801‐2202
MC MAHON, PATRICK J     1612 HIGHVIEW ST                                                                     DEARBORN            MI 48128‐1060
MC MAHON, PEARL         12 OAKWOOD AVE                                                                       BLOOMFIELD          NJ 07003‐6025
MC MAHON, RALPH S       274 SAMPLES CHAPEL RD SE                                                             CLEVELAND           TN 37323‐8902
MC MAHON, SHIRLEE J     1617 MOHICAN RD                                                                      STOW                OH 44224‐3217
MC MAHON, THOMAS G      1425 ROYAL PARK BLVD                                                                 SOUTH PARK          PA 15129‐8932
MC MAHON, THOMAS M      3304 SCHOOLHOUSE DR                                                                  WATERFORD           MI 48329‐4378
MC MAHON, WALTER F      1016 STILL MEADOW XING                                                               CHARLOTTESVILLE     VA 22901‐6200
MC MAHON, WILLIAM E     662 MEADOW LN                                                                        NYA                 MN 55397‐4611
MC MAIN, STAN M         5899 SW REED LN                                                                      TRIMBLE             MO 64492‐8129
MC MALL, HOWARD R       2924 LAKEHILL DR                                                                     CURRAN              MI 48728‐9743
MC MAN, DORIS           1923 FOSTER ST RTE 3                                                                 BIRCH RUN           MI 48415
MC MANAMAN, BEVERLY A   7286 BEAR TREE RD NE                                                                 KALKASKA            MI 49646‐9560
MC MANIGELL, W A        3347 ALEXANDRIA PIKE                                                                 ANDERSON            IN 46012‐9208
MC MANN, DONNA M        519 LOUISE ST                                                                        RAVENNA             OH 44266‐1417
MC MANN, EARL B         4580 OVERLOOK DR NE APT 299                                                          SAINT PETERSBURG    FL 33703‐4365
MC MANN, LARRY R        69 FRANKLIN LN                                                                       DAVISON             MI 48423‐2609
MC MANN, RICHARD A      1641 MCCULLOCH BLVD            #25 244                                               LAKE HAVASU CITY    AZ 86403
MC MANN, ROLAND M       1410 BENNETT RD                                                                      LANSING             MI 48906‐1870
MC MANN, VIRGINIA       5932 ELLENDALE DR                                                                    LANSING             MI 48911‐5036
MC MANN, WILBUR W       7224 E CAROL AVE                                                                     MESA                AZ 85208‐2089
MC MANUS JR, JOHN E     15882 FOREST SIDE DR                                                                 GRAND HAVEN         MI 49417‐9487
MC MANUS JR, JOSEPH P   6227 ORCHARD LN                                                                      FORT WAYNE          IN 46809‐2230
MC MANUS, AGNES M       PO BOX 15                                                                            DEWITT              MI 48820‐0015
MC MANUS, BEVERLY A     3579 HI LURE DR RT 1                                                                 LAKE ORION          MI 48362
MC MANUS, DARRELL R     9467 N BRAY RD                                                                       CLIO                MI 48420‐9773
MC MANUS, DONALD V      6574 LONGWORTH DR                                                                    WATERFORD           MI 48329‐1341
MC MANUS, JAMES A       26560 MARILYN AVE                                                                    WARREN              MI 48089‐4633
MC MANUS, JAMES E       4200 N HARDESTY AVE                                                                  KANSAS CITY         MO 64117‐2040
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Name                                Address1                         Address2                    Address3   Address4         City              State Zip
MC MANUS, JERRY W                   7410 GILDART RD                                                                          EATON RAPIDS       MI 48827‐9547
MC MANUS, JOAN M                    3841 COVERT RD                                                                           WATERFORD          MI 48328‐1201
MC MANUS, KATHY A                   356 BEADLE RD                                                                            BROCKPORT          NY 14420‐9727
MC MANUS, LLOYD B                   947 HIGHWAY 334                                                                          OXFORD             MS 38655‐9467
MC MANUS, MARK F                    1812 ROSTRAVER RD                                                                        BELLE VERNON       PA 15012‐4303
MC MANUS, MICHAEL F                 8 ROBIN RD                                                                               HOWELL             NJ 07731‐2048
MC MANUS, ROBERT J                  3841 COVERT RD                                                                           WATERFORD          MI 48328‐1201
MC MANUS, ROSEMARIE S.              20620 RICHARD AVE                                                                        BROWNSTOWN TWP     MI 48183‐4802
MC MANUS, SUSAN                     9 JEFFERSON RD E                                                                         PITTSFORD          NY 14534
MC MANUS, WILLIAM J                 11458 W RIVER DR                                                                         DEWITT             MI 48820‐9727
MC MANUS, WILLIAM M                 8636 HIDDEN LAKE RD                                                                      HOWELL             MI 48855‐9299
MC MARLIN, SHIRLEY M                120 WETZEL RD                                                                            GLENSHAW           PA 15116‐2235
MC MARTIN, THOMAS R                 2403 ROSELAWN ST                                                                         WOLVERINE LAKE     MI 48390‐1944
MC MASTER CARR SUPPLY CO            PO BOX 7690                                                                              CHICAGO             IL 60680‐7690
MC MASTER, CHARLES H                601 GREEN ST                                                                             BROWNSVILLE        PA 15417‐2109
MC MASTER, CHARLES R                PO BOX 279                                                                               HILLER             PA 15444‐0279
MC MASTER, DAVID B                  106 COSHWAY PL                                                                           TONAWANDA          NY 14150‐5271
MC MASTER, DAVID L                  114 CLARE ST #2                                                                          LANSING            MI 48917
MC MASTER, DONALD F                 5548 ROBBINS AVE                                                                         PORTAGE            IN 46368‐4326
MC MASTER, GERALD F                 844 WOODRIDGE HILLS DR                                                                   BRIGHTON           MI 48116‐2402
MC MASTER, JANEEN C                 5179 CAMBRIA RD                                                                          SANBORN            NY 14132‐9412
MC MASTER, JOHN W                   1668 PHEASANT RUN                                                                        NILES              OH 44446‐4135
MC MASTER, MARLENE                  511 BAYSHORE DR APT 705                                                                  FORT LAUDERDALE    FL 33304
MC MASTER, MARY E                   6450 HARRIETT ST.                                                                        WATERFORD          MI 48327
MC MASTER, MICHAEL E                12490 PENINSULA DR                                                                       TRAVERSE CITY      MI 49686
MC MASTER, ROBERT C                 4583 SHEPHARD RD                                                                         BATAVIA            OH 45103‐1037
MC MASTER, RUBY F                   2481 S BUHL RD                                                                           MIKADO             MI 48745‐9707
MC MASTER, STEPHEN L                410 2ND AVENUE                                                                           THREE RIVERS       MI 49093‐1106
MC MASTER, SUSAN R                  9395 FLORIDA ST                                                                          LIVONIA            MI 48150‐3801
MC MASTER, WILLIAM F                39 CHATSWORTH AVE                                                                        KENMORE            NY 14217‐1401
MC MASTER‐CARR SUPPLY CO            6100 FULTON INDUSTRIAL BLVD SW   PO BOX 740100                                           ATLANTA            GA 30336‐2853
MC MASTER‐CARR SUPPLY CO            PO BOX 4355                                                                              CHICAGO             IL 60680‐4355
MC MASTER‐CARR SUPPLY CO            PO BOX 7690                                                                              CHICAGO             IL 60680‐7690
MC MASTER‐CARR SUPPLY CO            PO BOX 54960                     9630 NORWALK BLVD                                       LOS ANGELES        CA 90054‐0960
MC MASTER‐CARR SUPPLY CO            PO BOX 94930                     200 AURORA INDUSTRIAL PKY                               CLEVELAND          OH 44101‐4930
MC MASTER‐CARR SUPPLY CO
MC MASTER‐CARR SUPPLY CO            473 RIDGE RD                     PO BOX 317                                              DAYTON             NJ   08810‐1323
MC MASTER‐CARR SUPPLY COMPANY       600 N COUNTY LINE RD             PO BOX 680                                              ELMHURST           IL   60126‐2081
MC MASTER‐CARR SUPPLY COMPANY INC   473 RIDGE RD                     PO BOX 317                                              DAYTON             NJ   08810‐1323

MC MASTER‐CARR SUPPLY COMPANY INC   PO BOX 54960                     9630 NORWALK BLVD                                       LOS ANGELES       CA 90054‐0960

MC MASTER‐CARR SUPPLY COMPANY INC   PO BOX 94930                     200 AURORA INDUSTRIAL PKY                               CLEVELAND         OH 44101‐4930

MC MASTERS JR, JOHN W               7200 CONNAN LN                                                                           CHARLOTTE         NC    28226‐8269
MC MASTERS, CLIFFORD                PO BOX 2384                                                                              CORINTH           MS    38835‐2384
MC MASTERS, HARDY D                 PO BOX 1772                                                                              TULLAHOMA         TN    37388‐1772
MC MASTERS‐KOSS CO                  4224 NORMANDY CT                                                                         ROYAL OAK         MI    48073‐2263
MC MASTERS‐KOSS CO                  JOHN SCOTT                       4224 NORMANDY COURT                                     MURFREESBORO      TN    37130
MC MATH, TOMMIE N                   3924 19TH ST                                                                             ECORSE            MI    48229‐1386
MC MEECHAN, PAULINE                 256 CLEVELAND DRIVE                                                                      KENMORE           NY    14223‐1002
MC MEECHAN, SHIRLEY J               17402 N 36TH LN                                                                          GLENDALE          AZ    85308‐3208
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Name                      Address1                       Address2              Address3       Address4         City                   State Zip
MC MEECHAN, THOMAS W      256 CLEVELAND DR                                                                     KENMORE                 NY 14223‐1002
MC MEEKIN, MARTHA A       18436 DONEGAL CT                                                                     NORTHVILLE              MI 48168‐1803
MC MEEKIN, SHIRLEY A      18323 UNIVERSITY PARK DR                                                             LIVONIA                 MI 48152‐2627
MC MENAMIN, ROBERT W      2667 DAYTON DR                                                                       TROY                    MI 48085‐4024
MC MENAMIN, SHIRLEY R     2667 DAYTON DR                                                                       TROY                    MI 48085‐4024
MC MENAMY, EDWARD C       17161 HENRY ST                                                                       MELVINDALE              MI 48122‐1075
MC MENEMY, MICHAEL J      2213 MISSOURI AVENUE                                                                 FLINT                   MI 48506‐3862
MC MICAN, JOHN C          272 HARLAN DR                                                                        FRANKENMUTH             MI 48734‐1452
MC MICAN, JOHN CALVIN     272 HARLAN DR                                                                        FRANKENMUTH             MI 48734‐1452
MC MICHAEL, BRIAN L       43266 GINA DR                                                                        STERLING HTS            MI 48314‐6301
MC MICHAEL, CHARLES F     1528 47TH AVENUE DR E                                                                ELLENTON                FL 34222‐2658
MC MICHAEL, FRANCES L     PO BOX 1442                    C/O DOROTHY RIGGS                                     FAIRFIELD BAY           AR 72088‐1442
MC MICHAEL, IVA M         5254 DUFFIELD RD                                                                     SWARTZ CREEK            MI 48473‐8602
MC MICHAEL, JOHN L        2350 E CLYDE RD                                                                      HOWELL                  MI 48855‐9714
MC MICHAEL, JOSEPH        18925 INDIANA ST                                                                     DETROIT                 MI 48221‐2051
MC MICHAEL, LILLIAN O     PO BOX 19111                                                                         DETROIT                 MI 48219‐0111
MC MICHAEL, MARK S        5676 FORDHAM CIR                                                                     CANTON                  MI 48187‐3342
MC MICHAEL, MARK STEVEN   5676 FORDHAM CIR                                                                     CANTON                  MI 48187‐3342
MC MICHAEL, MARVIN        4882 W SADDLE RIDGE DR                                                               LITHONIA                GA 30038‐3964
MC MICHAEL, MONA E        806 THOMPSON AVE               C/O RODNEY THOMPSON                                   LEHIGH ACRES            FL 33972‐3312
MC MICHAEL, RUSSELL C     2705 S MERIDIAN RD                                                                   JACKSON                 MI 49203‐4877
MC MILLAN DOOLITTLE LLP   350 W HUBBARD ST STE 240                                                             CHICAGO                  IL 60654‐6972
MC MILLAN JR, ALLAN R     55315 BELLE ROSE DR                                                                  SHELBY TWP              MI 48316‐5205
MC MILLAN JR, GEORGE O    1317 BUHL TER                                                                        FARRELL                 PA 16121‐1239
MC MILLAN JR, HUGH G      68 HULBURT AVE                                                                       FAIRPORT                NY 14450‐2408
MC MILLAN TOWNSHIP        PO BOX 442                                                                           NEWBERRY                MI 49868‐0442
MC MILLAN, ALBERTA M      26241 HUNTINGTON ST            C/O GERALD DEHN                                       ROSEVILLE               MI 48066‐3415
MC MILLAN, ARTHUR J       937 BRAMBLEWOOD DR                                                                   CASTLE ROCK             CO 80108‐3642
MC MILLAN, DIANA M        13370 WENDELL DR                                                                     FENTON                  MI 48430‐1146
MC MILLAN, DWIGHT D       630 W PULASKI AVE                                                                    FLINT                   MI 48505‐6205
MC MILLAN, DWIGHT DAVID   630 W PULASKI AVE                                                                    FLINT                   MI 48505‐6205
MC MILLAN, ELDON R        1720 N. M‐211 RD.                                                                    ONAWAY                  MI 49765
MC MILLAN, FRANK P        5002 PACIFIC ST                                                                      DETROIT                 MI 48204‐3753
MC MILLAN, GEORGE L       326 NORTH HAMPTON                                                                    BUFFALO                 NY 14208
MC MILLAN, GERALD         48 PROCTOR AVE                                                                       BUFFALO                 NY 14215‐3314
MC MILLAN, JERRY L        18080 M‐33 NORTH                                                                     ATLANTA                 MI 49709
MC MILLAN, LARRY D        13370 WENDELL DR                                                                     FENTON                  MI 48430‐1146
MC MILLAN, NELSON M       2712 NE HIGHWAY 61             SERVICE RD                                            WENTZVILLE              MO 63385
MC MILLAN, OMIE R         3141 CHICAGO PLACE                                                                   SOUTH CHICAGO HEIGHT     IL 60411
MC MILLAN, RAYMOND W      314 NEWPORT ST                                                                       DETROIT                 MI 48215‐3171
MC MILLAN, RICHARD K      8351 PINE LAKE DR                                                                    DAVISBURG               MI 48350‐2048
MC MILLAN, ROBERT J       8141 E ATHERTON RD                                                                   DAVISON                 MI 48423‐8786
MC MILLAN, ROBERT M       1008 OTTER MILL WAY                                                                  SUN CITY CENTER         FL 33573‐7045
MC MILLAN, ROGER J        12912 GRANDMONT AVE                                                                  DETROIT                 MI 48227‐1285
MC MILLAN, WALDO G        2916 HUMMINGBIRD LN                                                                  SIGNAL HILL             CA 90755‐5626
MC MILLEN JR, GAROLD R    11464 MCCRUMB RD                                                                     PORTLAND                MI 48875‐9413
MC MILLEN JR, GEORGE L    7675 E ML AVE                                                                        KALAMAZOO               MI 49048‐9512
MC MILLEN JR, LEWIS E     1910 CHEROKEE ST                                                                     LEAVENWORTH             KS 66048‐2120
MC MILLEN, ANN L          640 TIEDEMAN AVE                                                                     DEFIANCE                OH 43512‐2436
MC MILLEN, CRAIG M        4457 WILLOW CREEK DR SE                                                              WARREN                  OH 44484‐2963
MC MILLEN, DAVID R        11955 RUSTY LN                                                                       DAVISBURG               MI 48350‐3832
MC MILLEN, HARVEY         1386 ADRIEL DR                                                                       FORT COLLINS            CO 80524‐2208
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Name                          Address1                            Address2       Address3         Address4         City            State Zip
MC MILLEN, MITCHELL A         19 WHITE SWAN DR                                                                     NEW MILFORD      CT 06776‐2354
MC MILLEN, PATRICIA E.        22 PACKET BOAT DR                                                                    FAIRPORT         NY 14450‐1318
MC MILLEN, TERRY E            88 MINERAL SPRINGS RD                                                                BUFFALO          NY 14210‐1861
MC MILLIAN JR, JOHN D         20489 WISCONSIN ST                                                                   DETROIT          MI 48221‐1133
MC MILLIAN LOTHAR             482 E 22ND ST                                                                        UPLAND           CA 91784‐8928
MC MILLIAN, GEORGE            2722 162ND ST                                                                        HAMMOND          IN 46323‐1012
MC MILLIAN, JUANITA M         346 HEDSTROM DR                                                                      AMHERST          NY 14226‐2556
MC MILLIAN, LEON A            16530 WARD ST                                                                        DETROIT          MI 48235‐4233
MC MILLIAN, MARILYN V         5428 HIGH RIDGE DR                                                                   YPSILANTI        MI 48197‐6757
MC MILLIAN, MARILYN VALORI    5428 HIGH RIDGE DR                                                                   YPSILANTI        MI 48197‐6757
MC MILLIAN, MARY              17625 COLLINSON AVE                                                                  EASTPOINTE       MI 48021‐3107
MC MILLIAN, MARY A            1121 SAM LEE RD                                                                      SCRANTON         SC 29591‐5454
MC MILLIAN, MARY ANN          601 MCKINLEY AVE                                                                     FLINT            MI 48507‐2753
MC MILLIAN, OLIE              9054 NORTHLAWN ST                                                                    DETROIT          MI 48204‐2786
MC MILLIAN, PHILLIP B         5428 HIGH RIDGE DR                                                                   YPSILANTI        MI 48197‐6757
MC MILLIAN, PHILLIP BERNARD   5428 HIGH RIDGE DR                                                                   YPSILANTI        MI 48197‐6757
MC MILLIAN, RONALD D          PO BOX 171                                                                           BASEHOR          KS 66007‐0171
MC MILLIAN, WILLIE A          16526 GREENWOOD AVE                                                                  SOUTH HOLLAND     IL 60473‐2540
MC MILLIN, CARL E             6033 NELSON CT                                                                       BURTON           MI 48519‐1662
MC MILLIN, FLOYD B            1640 REGENE ST                                                                       WESTLAND         MI 48186‐9725
MC MILLIN, GARY J             28575 SOMERSET ST                                                                    INKSTER          MI 48141‐1174
MC MILLIN, GARY JAMES         28575 SOMERSET ST                                                                    INKSTER          MI 48141‐1174
MC MILLIN, GARY T             15200 EMERALD COAST PKWY UNIT 706                                                    DESTIN           FL 32541‐8504
MC MILLIN, GERALD M           4362 MAYA LN                        P.O. BOX 164                                     SWARTZ CREEK     MI 48473‐1593
MC MILLIN, JAMES D            8115 E COLDWATER RD                                                                  DAVISON          MI 48423‐8938
MC MILLIN, JAMES L            1352 E COOK RD                                                                       GRAND BLANC      MI 48439‐8370
MC MILLIN, JERRY W            245 WARDWELL DR                                                                      LENNON           MI 48449‐9602
MC MILLIN, MARION J           869 NW NEGUS PL                                                                      REDMOND          OR 97756‐1111
MC MILLIN, PAULA J            2561 PARKWOOD DR                                                                     GREEN BAY        WI 54304‐1941
MC MILLIN, ROBERT D           869 NW NEGUS PL                                                                      REDMOND          OR 97756‐1111
MC MILLIN, ROBERT J           335 CALLE HERMOSO                                                                    SANTA BARBARA    CA 93108‐1807
MC MILLIN, SUSAN D            11373 E COLDWATER RD                                                                 DAVISON          MI 48423‐8400
MC MILLION JR., NATHANIEL     819 GLENWOOD AVE                                                                     BUFFALO          NY 14211‐1357
MC MILLION, ADOLPHUS          621 PIPTON ST                                                                        KOSCIUSKO        MS 39090
MC MILLION, EVELYN F          1604 MOLL STREET                                                                     N TONAWANDA      NY 14120‐2242
MC MILLION, EVELYN F          1604 MOLL ST                                                                         N TONAWANDA      NY 14120‐2242
MC MILLION, VIRGINIA          2913 CLEMENT ST                                                                      FLINT            MI 48504‐3041
MC MILLON, T R                620 FRANKLIN DR                                                                      ARDMORE          OK 73401‐1014
MC MINN COUNTY TRUSTEE        6 EAST MADISON AVENUE                                                                ATHENS           TN 37303
MC MINN JR., LEONARD J        7480 LENNON RD                                                                       SWARTZ CREEK     MI 48473‐9758
MC MINN, DAVID W              2950 HIDDEN PNES                                                                     MILFORD          MI 48381‐1435
MC MINN, DOROTHY K            1728 S RIVERVIEW RD                                                                  PERU             IN 46970‐7263
MC MINN, GLENN M              7001 BUCKHORN LAKE RD                                                                HOLLY            MI 48442‐9183
MC MINN, JAMES                4550 LEE HILL RD                                                                     MAYVILLE         MI 48744‐9728
MC MINN, WILLIAM              265 OTTAWA DR                                                                        TROY             MI 48085‐1577
MC MOIL, JAMES W              1206 S MAIN ST                                                                       MEDINA           NY 14103‐1746
MC MONAGLE STELLA             744 E ALLOUEZ AVE                                                                    GREEN BAY        WI 54301‐2038
MC MONAGLE, JEWEL             607 E CHURCH ST                                                                      NEW BROCKTON     AL 36351‐6539
MC MONAGLE, JOSEPH M          607 E CHURCH ST                                                                      NEW BROCKTON     AL 36351‐6539
MC MONAGLE, LAWREN C          224 W CHICAGO AVE                                                                    PONTIAC          MI 48340‐1137
MC MONAGLE, ROBERT D          6475 VICTORIA SHORE DR                                                               LAINGSBURG       MI 48848‐9448
MC MORRIS JR., JOHN D         8317 PETTIT RD                                                                       BIRCH RUN        MI 48415‐8734
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Name                        Address1                        Address2               Address3      Address4             City              State Zip
MC MORRIS JR., JOHN DAVID   8317 PETTIT RD                                                                            BIRCH RUN          MI 48415‐8734
MC MORRIS, JEAN S           10775 BYRON RD                                                                            BYRON              MI 48418‐9124
MC MULLAN, LUCILLE L        1369 LAPEER RD                                                                            FLINT              MI 48503‐2715
MC MULLAN, MARGARET E       6618 FLEMING RD                                                                           FLINT              MI 48504‐1661
MC MULLEN JR, LYLE B        406 E EVERETTDALE AVE                                                                     LANSING            MI 48910‐5487
MC MULLEN, ALFRED H         4307 CLIFFWOOD CIR                                                                        AUSTIN             TX 78759‐7306
MC MULLEN, BARBARA          310 LOOKOUT AVE APT 601                                                                   HACKENSACK         NJ 07601‐3632
MC MULLEN, BERNARD L        PO BOX 33                                                                                 FOSTORIA           MI 48435‐0033
MC MULLEN, BETTY L          3528 LOVESIDE TERRACE                                                                     LANSING            MI 48917‐4335
MC MULLEN, DALE E           3908 N LAPEER RD                                                                          LAPEER             MI 48446‐8775
MC MULLEN, DARWIN           713 WEST HAMILTON AVENUE                                                                  FLINT              MI 48504‐7228
MC MULLEN, DARWIN           713 W HAMILTON AVE                                                                        FLINT              MI 48504‐7228
MC MULLEN, DELORES K        9 HALLMARK RD                                                                             ROCHESTER          NY 14625‐1333
MC MULLEN, DOUGLAS K        1017 SIMCOE AVE                                                                           FLINT              MI 48507‐1536
MC MULLEN, HAROLD F         424 OLIVE ST                                                                              TRUMANN            AR 72472‐3613
MC MULLEN, IRENE S          18265 SW 65TH LOOP                                                                        DUNNELLON          FL 34432‐2330
MC MULLEN, JAMES M          4369 PRATT LAKE RD                                                                        GLADWIN            MI 48624‐7603
MC MULLEN, JAMES R          633 FOUSE AVE                                                                             AKRON              OH 44310‐4062
MC MULLEN, KEITH D          5106 HEMINGWAY                                                                            OTTER LAKE         MI 48464
MC MULLEN, KEITH DALE       5106 HEMINGWAY                                                                            OTTER LAKE         MI 48464
MC MULLEN, LARRY R          RURAL ROUTE 4 BOX 85 C.                                                                   SHELBYVILLE         IL 62565
MC MULLEN, LILLETTE M       3805 TRUMBULL AVE                                                                         FLINT              MI 48504‐3718
MC MULLEN, MARGARET V       PO BOX 33                                                                                 FOSTORIA           MI 48435‐0033
MC MULLEN, MARY T           7617 W. 158 CT.                                                                           ORLAND PARK         IL 60462‐5070
MC MULLEN, MARY T           7617 W 158TH CT                                                                           ORLAND PARK         IL 60462‐5070
MC MULLEN, PATRICIA A       59 PLEASANT RIDGE DR                                                                      ASHEVILLE          NC 28805‐2622
MC MULLEN, RALPH R          1412 IRENE AVE                                                                            FLINT              MI 48503‐3552
MC MULLEN, ROBERT E         181 S. CHURCH STREET BOX 226                                                              CARROLLTOWN        PA 15722
MC MULLEN, SANDRA K         420 OAK ST                                                                                HUDSON             MI 49247‐1234
MC MULLEN, TONYA            3134 W DODGE RD                                                                           CLIO               MI 48420‐1935
MC MULLEN, WILLIAM J        342 CLAIR HILL DR                                                                         ROCHESTER HILLS    MI 48309‐2111
MC MULLIN, BEVERLY ANN      1023 LYNBROOK ST NW                                                                       PALM BAY           FL 32907
MC MULLIN, DANIEL J         4350 OLD COLONY DR                                                                        FLINT              MI 48507‐3538
MC MULLIN, DIANE J          37 HIGHWAY TO HEAVEN                                                                      CROSS HILL         SC 29332‐5635
MC MULLIN, MARY D           70 ARDMORE RD                                                                             NEEDHAM            MA 02494‐1833
MC MUNIGLE, ROBERT H        4525 WARWICK DR S                                                                         CANFIELD           OH 44406‐9240
MC MURCHIE, BONNY K         9912 DELLRIDGE RD                                                                         BLOOMINGTON        MN 55425‐2618
MC MURDY, BETTY E           PO BOX 43                                                                                 HILTON             NY 14468‐0043
MC MURPHY, DOLORES          46010 JEFFERSON                                                                           CHESTERFIELD       MI 48047‐5357
MC MURRAN, WILLIS R         18830 BRINKER ST                                                                          DETROIT            MI 48234‐1540
MC MURRAY FABRICS INC       105 VANN PL                                                                               ABERDEEN           NC 28315‐8612
MC MURRAY FABRICS INC       3510 CAPTIAL CITY BLVD                                                                    LANSING            MI 48906
MC MURRAY FABRICS INC       480 N WALNUT ST                                                                           PINEBLUFF          NC 28373‐8150
MC MURRAY FABRICS INC       BOB PICKENS                     105 VANN PL                                               ABERDEEN           NC 28315‐8612
MC MURRAY FABRICS INC       BOB PICKENS                     105 VANN PLACE                                            FLINT              MI 48505
MC MURRAY FABRICS INC       BOB PICKENS                     480 N. WALNUT STREET                                      ELGIN               IL 60123
MC MURRAY FABRICS INC       CALLE 1 EDIFICIO DE 2 NIVELS    SAN ISIDRO                           SANTO DOMINGO
                                                                                                 ORIENTAL DO 11111
                                                                                                 DOMINICAN REPUBLIC
MC MURRAY JR, HOMER D       15 STEVENS                      APT 411                                                   ANDOVER           MA 01810
MC MURRAY, ANN L            2117 AMY ST                                                                               BURTON            MI 48519‐1107
MC MURRAY, DOROTHY M        7651 W RIVERSHORE DR                                                                      NIAGARA FALLS     NY 14304‐4304
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Name                            Address1                       Address2             Address3        Address4         City             State Zip
MC MURRAY, STEPHEN P            17095 LADUE RD                                                                       HOLLEY            NY 14470‐9509
MC MURRAY, WANDA J              7516 N STATE RD                                                                      DAVISON           MI 48423‐9324
MC MURRAY, WILLIAM R            38962 STEINER CT                                                                     CLINTON TWP       MI 48038‐3239
MC MURROUGH, BRIAN              85 MONROE ST                                                                         HONEOYE FALLS     NY 14472‐1030
MC MURRY, ELRITA G              3015 CRAPE MYRTLE CIR                                                                CHINO HILLS       CA 91709‐4236
MC MURRY, WILLIAM C             2898 96TH AVE                                                                        ZEELAND           MI 49464
MC MURRY, WILLIAM S             2607 SUNLIGHT DR                                                                     ARLINGTON         TX 76006‐3634
MC MURTERY, CYNTHIA J           35709 SCHLEY ST                                                                      WESTLAND          MI 48186‐8308
MC MURTRY, ANGELINE A           4304 W 94TH ST                                                                       OVERLAND PARK     KS 66207‐2644
MC MURTRY, ANGELINE A           1649 CORRINGTON                                                                      KANSAS CITY       MO 64126‐2777
MC MURTRY, DAVID L              840 LEWERENZ                                                                         DETROIT           MI 48209
MC MURTRY, JUANITA              19341 WISCONSIN ST                                                                   DETROIT           MI 48221‐1530
MC NAB, ERNEST A                23 PINE CIR                                                                          CHEEKTOWAGA       NY 14225‐3911
MC NABB SAW SVC                 ATTN: EUGENE MC NABB           1345 BALDWIN AVE                                      PONTIAC           MI 48340‐1917
MC NABB, DELLA                  190 FRANCIS LN                                                                       ORTONVILLE        MI 48462‐9702
MC NABB, DONALD E COMPANY       31250 S MILFORD RD             PO BOX 0448                                           MILFORD           MI 48381‐3762
MC NABB, EUGENE E               2981 JUDAH RD                                                                        ORION             MI 48359‐2151
MC NABB, EVELYN J               7092 GRAND OAK                                                                       GRAND BLANC       MI 48439
MC NABB, HERSCHEL R             324 WENDY LN                   BRISTOL VILLAGE                                       WAVERLY           OH 45690‐1558
MC NABB, JANICE D               1307 BENT DR                                                                         FLINT             MI 48504‐1903
MC NABB, JERRY M                PO BOX 34                                                                            EXETER            MO 65647‐0034
MC NABB, JOHNNIE L              PO BOX 152                                                                           EXETER            MO 65647‐0152
MC NABB, JOSEPH N               1005 ROYAL OAKS DR                                                                   BIRMINGHAM        AL 35244‐2805
MC NABB, TIMOTHY J              3269 CONTINENTAL DR                                                                  KENNER            LA 70065‐2611
MC NABB, TIMOTHY J              8935 N LATHROP DR                                                                    KANSAS CITY       MO 64155‐2532
MC NAIL, JOHNNY A               46096 HIGHWAY 21                                                                     CENTERVILLE       MO 63633‐8232
MC NAIR, ADDIE L                1807 ECKLEY AVE                                                                      FLINT             MI 48503‐4525
MC NAIR, ALBERT                 1811 BRANDON AVE                                                                     POLAND            OH 44514‐1206
MC NAIR, BETTY                  24 MARTIN PLACE                                                                      IRVINGTON         NJ 07111
MC NAIR, CHARLES E              13551 RUTLAND ST                                                                     DETROIT           MI 48227‐1340
MC NAIR, CHRISTINE              83 21ST ST                                                                           IRVINGTON         NJ 07111‐4558
MC NAIR, DEBORAH                5546 MOUNTAIN SPRINGS CIR                                                            STONE MOUNTAIN    GA 30088‐3449
MC NAIR, DELORES A              1509 ALGER ST                                                                        SAGINAW           MI 48601‐3019
MC NAIR, GEORGE C               1807 ECKLEY AVE                                                                      FLINT             MI 48503‐4525
MC NAIR, GEORGE CHARLES         1807 ECKLEY AVE                                                                      FLINT             MI 48503‐4525
MC NAIR, MERRELL W              202 GRAND ST                                                                         NEWBURGH          NY 12550
MC NAIR, OPAL                   1239 WATKINS CV                                                                      EASTPOINT         FL 32328‐3122
MC NAIR, VALERIE L              7183 WARRIOR TRL APT 316                                                             INDIANAPOLIS      IN 46260‐3993
MC NALL, MARY K                 2850 AMSDELL RD UNIT 7                                                               HAMBURG           NY 14075‐7800
MC NALLEY AUTO SALES            ATTN: JIM MC NALLEY            11401 N SAGINAW ST                                    MT MORRIS         MI 48458‐2010
MC NALLEY OFFICE & UPHOLSTERY   5646 SWAN CREEK RD                                                                   SAGINAW           MI 48609‐7070
MC NALLY III, JOSEPH E          PO BOX 391                                                                           COMSTOCK          MI 49041‐0391
MC NALLY, ALICE A               3920 ASHFORD ST                                                                      WHITE LAKE        MI 48383‐1700
MC NALLY, BARBARA A             6601 OAKLAND AVE                                                                     RIVERDALE         MD 20737‐1626
MC NALLY, BETTY T               4 HIGHLAND TER                 APT 403                                               PLYMOUTH          MA 02360‐6367
MC NALLY, BRUCE A               7428 RIVIERA CV                                                                      LAKEWOOD RANCH    FL 34202‐5044
MC NALLY, BRUCE A               4044 N 300 E                                                                         ANDERSON          IN 46012‐9521
MC NALLY, CHARLES C             2665 GANNON RD                                                                       HOWELL            MI 48855‐8313
MC NALLY, DOROTHY R             2940 ACADEMY ST                                                                      DEARBORN          MI 48124‐3352
MC NALLY, EMILY M               2403 GARFIELD AVE                                                                    BAY CITY          MI 48708‐8641
MC NALLY, EMILY M               2403 GARFIELD                                                                        BAY CITY          MI 48708‐8641
MC NALLY, FRANCIS R             3302 SUDLERSVILLE S                                                                  LAUREL            MD 20724‐2451
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Name                          Address1                        Address2                 Address3    Address4         City                 State Zip
MC NALLY, GARY                49194 BAYSHORE ST                                                                     CHESTERFIELD          MI 48047‐3424
MC NALLY, GARY W              12208 E 52ND TER S                                                                    INDEPENDENCE          MO 64055‐5648
MC NALLY, GEORGE W            APT 2                           1536 WEST RIDGE STREET                                MARQUETTE             MI 49855‐3151
MC NALLY, GEORGE W            1536 W RIDGE ST 2                                                                     MARQUETTE             MI 49855
MC NALLY, HELEN K             340 ALLAMANDA CIR                                                                     VENICE                FL 34285‐7045
MC NALLY, HENRY O             22246 EDGEWATER                                                                       NOVI                  MI 48375‐5015
MC NALLY, JOHN M              41713 BEDFORD DR                                                                      CANTON                MI 48187‐3705
MC NALLY, KEVIN S             PO BOX 1877                                                                           DUXBURY               MA 02331‐1877
MC NALLY, LILLIAN V           20267 FAIRWOOD DR                                                                     NEVIS                 MN 56467‐4224
MC NALLY, MARGIE S            8400 FOLDENAUER DR                                                                    HOWELL                MI 48843‐7187
MC NALLY, MARJORIE            22116 TENNY STREET                                                                    DEARBORN              MI 48124‐2846
MC NALLY, MARY C              2686 CHURCHILL LN APT 1                                                               SAGINAW               MI 48603‐2683
MC NALLY, MARY V              4 DICKERMAN RD                                                                        NORTH EASTON          MA 02356‐1303
MC NALLY, RITA L              104 W GREEN ST                                                                        BENSENVILLE            IL 60106‐2476
MC NALLY, TAMMY               PO BOX 413                                                                            PALATKA               FL 32178‐0413
MC NALLY, WILLIAM R           125 TRIPLE CROWN POINTE                                                               FAYETTEVILLE          GA 30215
MC NALLY‐NIMERGOOD CO (INC)   5825 DIXIE HWY                                                                        SAGINAW               MI 48601‐5961
MC NAMARA JR, JOHN J          3538 BUCK HEAD RD                                                                     BAXLEY                GA 31513‐8220
MC NAMARA JR, MICHAEL G       6522 GRAND BLANC RD                                                                   SWARTZ CREEK          MI 48473‐9403
MC NAMARA, BERNARD W          PO BOX 404                                                                            PORTAGE               MI 49081‐0404
MC NAMARA, BRIAN J            220 GEORGE ST                                                                         SOUTH AMBOY           NJ 08879‐1738
MC NAMARA, DENNIS R           214 S ROSEMARY ST                                                                     LANSING               MI 48917‐3854
MC NAMARA, DIANE              35 DIVISION ST                                                                        NORTH TONAWANDA       NY 14120‐6206
MC NAMARA, DONALD H           41406 N CLEAR CROSSING RD                                                             ANTHEM                AZ 85086‐1076
MC NAMARA, EDWARD M           8437 ABBINGTON CIR APT 611                                                            NAPLES                FL 34108‐7732
MC NAMARA, EILEEN M           88 CHARLESTON AVE                                                                     KENMORE               NY 14217‐2902
MC NAMARA, ELAINE C           816 SAINT VINCENT ST                                                                  PHILADELPHIA          PA 19111‐4133
MC NAMARA, FRANCIS K          157 KAUFMAN AVE                                                                       TONAWANDA             NY 14150‐7747
MC NAMARA, HELEN R            3453 SHEPHERD LN                                                                      CANTON                MI 48188‐3311
MC NAMARA, JAMES P            432 PRIMROSE LN                                                                       FLUSHING              MI 48433‐2610
MC NAMARA, JOHN C             2 HICKORY HILL RD APT D                                                               BUFFALO               NY 14221‐2539
MC NAMARA, JOHN J             6015 VERDE TRL S APT L215                                                             BOCA RATON            FL 33433‐4448
MC NAMARA, JOHN J             1122 BROWNSVILLE RD                                                                   LANGHORNE             PA 19047‐2673
MC NAMARA, JOHN P             347 WINKS RD                                                                          CENTRAL SQ            NY 13036‐2235
MC NAMARA, KATHLEEN T         PO BOX 1516                                                                           ELMHURST               IL 60126‐8516
MC NAMARA, KEVIN J            10376 STOLL RD                                                                        HASLETT               MI 48840‐9209
MC NAMARA, LOIS               1200 WRIGHT AVE                                                                       ALMA                  MI 48801‐1133
MC NAMARA, LOIS               2750 WHEATLAND RD                                                                     PITTSFORD             MI 49271‐9629
MC NAMARA, MADELYN            6015 VERDE TRL S APT L215                                                             BOCA RATON            FL 33433‐4448
MC NAMARA, MARJORIE M         804 HARRISON ST                                                                       HARBOR SPRINGS        MI 49740‐1031
MC NAMARA, MARTHA E           35 DWIGHT AVE                                                                         PONTIAC               MI 48341‐1273
MC NAMARA, MARY A             9015 DE VICENZO CT                                                                    DESERT HOT SPRINGS    CA 92240‐1134
MC NAMARA, MARY M             12627 W WESTGATE DR                                                                   SUN CITY WEST         AZ 85375‐5136
MC NAMARA, NANCY K            35537 OAKDALE ST                                                                      LIVONIA               MI 48154‐2237
MC NAMARA, OWEN G             2080 BARCELONA DR                                                                     FLORISSANT            MO 63033‐2803
MC NAMARA, RICHARD B          201 PARKHURST BLVD                                                                    BUFFALO               NY 14223
MC NAMARA, RICHARD B          S5816 WALDEN DRIVE                                                                    LAKE VIEW             NY 14085
MC NAMARA, RICHARD E          616 CASHMERE CT                                                                       SANFORD               NC 27332‐7412
MC NAMARA, ROBERT R           312 N SHERMAN ST                                                                      BAY CITY              MI 48708‐6576
MC NAMARA, SEAN P             9463 SILVERDALE COURT                                                                 BRENTWOOD             TN 37027‐8642
MC NAMARA, STEPHEN            212 COX AVE                                                                           MORRISVILLE           PA 19067‐2202
MC NAMARA, TERRENCE R         10880 CAROL RDG                                                                       HOLLY                 MI 48442‐8026
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Name                     Address1                        Address2            Address3         Address4         City               State Zip
MC NAMARA, THOMAS        1230 BRANDI DR                                                                        NIAGARA FALLS       NY 14304‐5801
MC NAMARA, THOMAS P      6646 POWDERHORN DR                                                                    CANTON              MI 48187‐2635
MC NAMARA, TIMOTHY M     1381 SANDY RIDGE DR                                                                   ROCHESTER HILLS     MI 48306‐4064
MC NAMARA‐JR, EDWARD J   5 THE BLVD                                                                            BRICK               NJ 08724‐1926
MC NAMEE, COLLEEN Q      118 TAVERN RD                                                                         MARTINSBURG         WV 25401‐2842
MC NAMEE, DONNA MAE      100 DUBLIN CT APT 313                                                                 MANKATO             MN 56001‐5290
MC NAMEE, JOHN W         1258 LOUISE DR                                                                        XENIA               OH 45385‐1733
MC NAMEE, MARK G         322 HIGHVIEW RD                                                                       HUDSON              WI 54016‐7127
MC NAMEE, MARY K         260 CALIFORNIA RD                                                                     YORKTOWN HEIGHTS    NY 10598‐4908
MC NANY JR, LESTER J     824 GOLFSIDE LN                                                                       SEBRING             FL 33872‐4352
MC NARY, KATHLEEN B      823 LINDEN ST                                                                         CHARLOTTE           MI 48813‐1725
MC NARY, MARY E          424 5TH AVE                                                                           THREE RIVERS        MI 49093‐1115
MC NARY, MAURICE         18 CHARLOTTE ST                                                                       PONTIAC             MI 48342‐1414
MC NARY, SHANE P         421 WARREN ST                                                                         CHARLOTTE           MI 48813‐1968
MC NARY, TIMOTHY I       1509 CORBETT ST                                                                       LANSING             MI 48910‐1144
MC NATT JR, THOMAS W     10025 FOREST VIEW DR                                                                  WACO                TX 76712‐3110
MC NATT, ANGELINE S      16405 E FAIRLYNN DR                                                                   FOUNTAIN HILLS      AZ 85268‐2851
MC NATT, ELIZABETH A     P O BOX 807                                                                           RUSSELLVILLE        AL 35653
MC NATT, GAIL F          1813 SHADY DR                                                                         FARRELL             PA 16121‐1342
MC NATT, JOHN R          58 LEE AVE                                                                            WASHINGTON          PA 15301‐2734
MC NAUGHT, ERLEAN        5032 GALLEON XING                                                                     DECATUR             GA 30035‐3060
MC NAUGHT, RONALD J      5032 GALLEON XING                                                                     DECATUR             GA 30035‐3060
MC NAUGHTON, NANCY J     26421 WOODLAND DRIVE                                                                  CHESTERFIELD        MI 48051‐3078
MC NAUGHTON, RONALD D    3121 SOUTH 49 ROAD                                                                    CADILLAC            MI 49601‐9584
MC NEA, BETTY J          2065 SEYMOUR ROAD                                                                     SWARTZ CREEK        MI 48473‐9773
MC NEA, LE DONNA S       G3520 HOGARTH                                                                         FLINT               MI 48532‐4930
MC NEA, LE DONNA S       G3520 HOGARTH AVE                                                                     FLINT               MI 48532‐4930
MC NEA, MICHAEL G        5475 GINA DR                                                                          SWARTZ CREEK        MI 48473‐8829
MC NEAL, ANTHONY         3155 SLOAN ST                                                                         FLINT               MI 48504‐3241
MC NEAL, ANTHONY         409 W JAMIESON ST                                                                     FLINT               MI 48505‐4057
MC NEAL, ANTHONY B       30066 PONDSVIEW DR                                                                    FRANKLIN            MI 48025‐1524
MC NEAL, CLARENCE        29632 FARMBROOK VILLA CT                                                              SOUTHFIELD          MI 48034‐1002
MC NEAL, COLLIN          208 ELIZABETH AVE APT A2D                                                             LINDEN              NJ 07036
MC NEAL, CRAS M          1047 W 124TH ST                                                                       LOS ANGELES         CA 90044‐2931
MC NEAL, DOROTHY M       212 SERENITY CIRCLE                                                                   ANDERSON            IN 46013
MC NEAL, EUNISTEEN       1310 W PIERSON RD                                                                     FLINT               MI 48505‐3192
MC NEAL, GEORGE A        106 S HOLMAN ST                                                                       DURHAM              NC 27701‐4131
MC NEAL, GEORGE L        PO BOX 73                                                                             KELLER              TX 76244‐0073
MC NEAL, GEORGE W        1705 S 23RD ST                                                                        ROGERS              AR 72758‐5635
MC NEAL, GLENN R         15115 ASHTON RD                                                                       DETROIT             MI 48223‐2372
MC NEAL, HARRIS G        4475 CROSS CREEK BLVD                                                                 BURTON              MI 48509‐1402
MC NEAL, JAMES E         PO BOX 352103                                                                         TOLEDO              OH 43635‐2103
MC NEAL, JERROLD M       10100 BELSAY RD                                                                       MILLINGTON          MI 48746‐9753
MC NEAL, KIM L           150 PARISH LN APT 616                                                                 ROANOKE             TX 76262‐6679
MC NEAL, LAVERNE         307 W 112TH ST                                                                        CHICAGO              IL 60628‐4130
MC NEAL, LEONARD M       2764 MARLINGTON RD                                                                    WATERFORD           MI 48329‐3644
MC NEAL, LEROY           1310 W PIERSON RD                                                                     FLINT               MI 48505‐3192
MC NEAL, LOUIS L         1349 E 85TH ST                                                                        CHICAGO              IL 60619‐6427
MC NEAL, RONALD D        1993 OPAL LAKE RD                                                                     GAYLORD             MI 49735‐8739
MC NEAL, SARAH A         2295 CHALET DR                                                                        ROCHESTER HILLS     MI 48309‐2050
MC NEAL, TERRENCE H      6434 BIRCH LN                                                                         HUNTINGDON          PA 16652‐7559
MC NEAL, WILLIAM         5704 DUPONT ST                                                                        FLINT               MI 48505‐2655
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Name                         Address1                       Address2            Address3         Address4         City                State Zip
MC NEAL, WILLIAM J           5306 GEORGIA AVE                                                                     KANSAS CITY          KS 66104‐3055
MC NEAL‐SMITH, SHEILETHA E   606 PIEDMONT DR                                                                      WESTFIELD            IN 46074‐8826
MC NEALY, NELSON E           8 WINDRIDGE ST                                                                       ANDERSON             IN 46011‐1227
MC NEARY, ROCHELLE           2794 NORTH 162ND LANE                                                                GOODYEAR             AZ 85395‐2098
MC NEASE, CHARLES D          4541 WILCOX RD                                                                       HOLT                 MI 48842‐1647
MC NEE, JEAN J               1371 LEISURE DR                                                                      FLINT                MI 48507‐4048
MC NEE, MARIA I              428 S MEADE ST                                                                       FLINT                MI 48503‐2287
MC NEEL, LARRY E             10721 N WALNUT ST                                                                    KANSAS CITY          MO 64155‐1634
MC NEELEY, ALLEN L           PO BOX 704                                                                           STERLING HEIGHTS     MI 48311‐0704
MC NEELEY, STANLEY S         PO BOX 7781                                                                          MONROE               LA 71211‐7781
MC NEELEY, STANLEY S         PO BOX 1038                                                                          MONROE               LA 71210‐1038
MC NEELY, ALICE F            700 N PERRY ST                                                                       PONTIAC              MI 48342‐1565
MC NEELY, CHARLES E          700 N PERRY ST                                                                       PONTIAC              MI 48342‐1565
MC NEELY, JACK               2717 STONEBURY DR                                                                    ROCHESTER HILLS      MI 48307‐4564
MC NEELY, JAMES              6806 CRANWOOD DR                                                                     FLINT                MI 48505‐1957
MC NEELY, MARTHA D           16300 E PACIFIC                                                                      INDEPENDENCE         MO 64050
MC NEELY, MICHAEL E          21615 THOROFARE RD                                                                   GROSSE ILE           MI 48138‐1490
MC NEELY, PHYLLIS J          6538 FERNHURST                                                                       PARMA HTS            OH 44130‐2830
MC NEELY, ROBERT A           9776 NE MURDEN COVE DR                                                               BAINBRIDGE ISLAND    WA 98110‐1332
MC NEELY, WILLIAM D          6247 BRYANT POND DR                                                                  HOUSTON              TX 77041‐5849
MC NEES, JAMES L             685 MARSH RD                                                                         PLAINWELL            MI 49080‐9541
MC NEESE, DAVID W            5 BREEZY HILL DR                                                                     STAFFORD             VA 22556‐1232
MC NEICE, AGNES L            3449 PASADENA                                                                        ORION                MI 48359‐2058
MC NEICE, KENNETH O          3741 S LUCERNE DR                                                                    BAY CITY             MI 48706‐9237
MC NEIL JR., CHARLES R       166 ROSETTA CT                                                                       AUBURN HILLS         MI 48326‐2965
MC NEIL, BETTY L             4495 SASHABAW RD                                                                     WATERFORD            MI 48329‐1961
MC NEIL, BRET A              3939 E COUNTY ROAD 500 S                                                             MIDDLETOWN           IN 47356‐9508
MC NEIL, DAVID M             2800 BIMINI PL                                                                       TUSCALOOSA           AL 35406‐1007
MC NEIL, DOLORES             44273 CRAFTSBURY CT                                                                  CANTON               MI 48187‐2107
MC NEIL, DOLORES M           5500 KRISTA ST                                                                       BAKERSFIELD          CA 93313‐3121
MC NEIL, DORETHEA            1391 HOLTSLANDER AVE                                                                 FLINT                MI 48505‐1782
MC NEIL, DOROTHY L           33687 LAKE RD #817             BEACH PARK TOWER                                      AVON LAKE            OH 44012‐1051
MC NEIL, DOROTHY L           33687 LAKE RD APT 817          BEACH PARK TOWER                                      AVON LAKE            OH 44012‐1051
MC NEIL, EDMUND A            8844 NORWICH ST                                                                      LIVONIA              MI 48150‐3619
MC NEIL, ETHEL               228 BORDEN AVE                                                                       TRENTON              NJ 08610‐4603
MC NEIL, ETHYL L             1053 TREVOR PLACE                                                                    DETROIT              MI 48207‐3809
MC NEIL, ETHYL L             1053 TREVOR PL                                                                       DETROIT              MI 48207‐3809
MC NEIL, GARY D              171 ROSETTA CT                                                                       AUBURN HILLS         MI 48326‐2966
MC NEIL, HENRY A             19254 REVERE ST                                                                      DETROIT              MI 48234‐1708
MC NEIL, HERMAN S            8363 CREEK RIDGE CV                                                                  GERMANTOWN           TN 38139‐6315
MC NEIL, JACK A              4932 W SCHOOL RD                                                                     ROSCOMMON            MI 48653‐9216
MC NEIL, JACQUELINE M        32508 AVONDALE ST                                                                    WESTLAND             MI 48186‐8902
MC NEIL, JAMES D             10127 FRANCES RD                                                                     OTISVILLE            MI 48463‐9410
MC NEIL, JAMES E             685 N LA CUMBRE RD                                                                   SANTA BARBARA        CA 93110‐2510
MC NEIL, JAMES F             435 HOLLY RD                                                                         MARSHFIELD           MA 02050‐1758
MC NEIL, JAMES V             141 SOUTHPOINTE DR                                                                   JACKSON              TN 38305‐9608
MC NEIL, KENNETH P           6252 MIDLAND ST                                                                      ZEPHYRHILLS          FL 33542‐2757
MC NEIL, LARRY J             1391 HOLTSLANDER AVE                                                                 FLINT                MI 48505‐1782
MC NEIL, LAWRENCE D          40 FORTUNE LN                                                                        BREVARD              NC 28712‐4497
MC NEIL, LONNIE E            941 UNION AVE SE                                                                     GRAND RAPIDS         MI 49507‐1259
MC NEIL, LUCIE M             1621 RIVERS EDGE CT                                                                  ADRIAN               MI 49221‐3795
MC NEIL, MILDRED             440 ELIZABETH AVE APT9‐F                                                             NEWARK               NJ 07112‐2665
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Name                         Address1                         Address2               Address3      Address4         City            State Zip
MC NEIL, PAMELA J            924 FAIRWINDS CT                                                                       LEBANON          OH 45036
MC NEIL, RICHARD J           2106 AIRPORT RD                                                                        FRANKLIN         NC 28734‐6307
MC NEIL, RICHARD M           615 E 11 MILE RD APT 33                                                                ROYAL OAK        MI 48067‐1985
MC NEIL, SHIRLEY A.          PO BOX 271549                                                                          MEMPHIS          TN 38167‐1549
MC NEIL, STANLEY             413 GARDENDALE ST                                                                      FERNDALE         MI 48220‐2463
MC NEIL, TAMMORA K           3939 E COUNTY ROAD 500 S                                                               MIDDLETOWN       IN 47356‐9508
MC NEIL, TERRY L             941 UNION AVE SE                                                                       GRAND RAPIDS     MI 49507‐1259
MC NEILAN, ISABEL J          2530 RUSK RD                                                                           TROY             OH 45373‐9734
MC NEILL JOHN                2637 EAGLE CV                                                                          PARK CITY        UT 84060
MC NEILL, ALICE C            809 MCNEIL ST                                                                          SPRING LAKE      NC 28390‐2634
MC NEILL, BOBBIE             9961 FM 47                                                                             WILLS POINT      TX 75169‐6753
MC NEILL, CARL H             385 FRENCH RD                                                                          PITTSFORD        NY 14534‐1152
MC NEILL, CORNIA E           1016 E BLANCKE ST                                                                      LINDEN           NJ 07036‐2254
MC NEILL, GAYLAND L          9961 FM 47                                                                             WILLS POINT      TX 75169‐6753
MC NEILL, IRENE J            1749 MONTICELLO ST APT 3                                                               TRENTON          MI 48183‐2057
MC NEILL, IRENE J            1749 MONTCELLO APT 03                                                                  TRENTON          MI 48183‐2057
MC NEILL, JUDITH D           11267 CHIPPEWA DR                                                                      WARREN           MI 48093‐5576
MC NEILL, MARLIN C           2409 RIDGEDALE DR                                                                      CARROLLTON       TX 75006‐7727
MC NEILL, MILTON W           809 MCNEIL ST                                                                          SPRING LAKE      NC 28390‐2634
MC NEILL, PATRICIA A         1820 MALONE PL                                                                         RALEIGH          NC 27610‐4132
MC NEILL, WILLIAM K          30245 W 86TH ST                                                                        DE SOTO          KS 66018‐8135
MC NEILLY, GERALD R          16770 S BAUER RD                                                                       GRAND LEDGE      MI 48837‐9170
MC NEILLY, JEANNE R          210 S LINCOLN ST                                                                       BRAIDWOOD         IL 60408‐1567
MC NELLY, KEITH A            19191 GAYLORD                                                                          REDFORD          MI 48240‐2614
MC NELLY, KENNETH W          36493 PARKDALE ST                                                                      LIVONIA          MI 48150‐2558
MC NEMAR JR, JAMES B         1608 MILLERSVILLE RD                                                                   MILLERSVILLE     MD 21108‐2118
MC NEMAR, S R                1001 MILTON BLVD                                                                       NEWTON FALLS     OH 44444‐9792
MC NEMAR, S. R               1001 MILTON BLVD                                                                       NEWTON FALLS     OH 44444‐9792
MC NERNEY, RITA T            10 SOUTH ST                                                                            BASS RIVER       MA 02664‐6021
MC NETT, GERALD R            5632 ELAINE AVE                                                                        KALAMAZOO        MI 49048‐5860
MC NETT, JOHN K              111 W VESEY ST                                                                         PETERSBURG       MI 49270‐9379
MC NETT, JOHN KENNETH        111 W VESEY ST                                                                         PETERSBURG       MI 49270‐9379
MC NETT, PHILLIP D           510 ENGLEWOOD DR                                                                       ROSCOMMON        MI 48653‐9272
MC NEW, BETTY W              2517 MANOR OAK DR                                                                      MODESTO          CA 95355‐9446
MC NEW, RAYMOND I            C/O MARY L BARNES                620 NE FAIRINGTON CT                                  LEES SUMMIT      MO 64064‐1313
MC NICHOL I I I, ANTHONY D   3002 PORTOFINO ISLE APT J1                                                             COCONUT CREEK    FL 33066‐1214
MC NICHOL, ARTHUR J          31524 JUNIPER LN                                                                       WARREN           MI 48093‐1625
MC NICHOL, MARIE REGINA      425 LOCKMOOR CT                                                                        GRAND BLANC      MI 48439‐1550
MC NICHOLS, DEBRA J          1201 PRINCETON AVE                                                                     LANSING          MI 48915‐2143
MC NICHOLS, MARYANN          14308 COOLBANK DR                                                                      LA MIRADA        CA 90638‐2053
MC NIEL, BERNARD D           11093 LAKE RD                                                                          MONTROSE         MI 48457‐9770
MC NIEL, JERRY L             144 ALBATROSS RD                                                                       ROTONDA WEST     FL 33947‐2893
MC NIEL, MELVIN T            7590 CANADA ROAD                                                                       BIRCH RUN        MI 48415
MC NIFF, EDWARD J            376 BENJAMIN ST                                                                        ROMEO            MI 48065‐5004
MC NIFF, JAMES H             3281 FIELDSTONE DR                                                                     FLUSHING         MI 48433‐2217
MC NINCH, LOIS M             4440 HAVERSTRAW DR                                                                     DUNWOODY         GA 30338‐6604
MC NINCH, OWEN T             320 KNOX AVE                                                                           DAYTON           OH 45427‐1727
MC NINNEY, TERRY L           968 QUEENS DR                                                                          YARDLEY          PA 19067‐4528
MC NINNEY, THERESA           77 MANOR LN                                                                            YARDLEY          PA 19067‐1826
MC NITT, DAVID C             6330 W HERBISON RD                                                                     DEWITT           MI 48820‐7832
MC NITT, GENE G              4425 RODEO TRL                                                                         WILLIAMSTON      MI 48895‐9439
MC NORGAN III, DAVID J       33466 UNICORN CT                                                                       WESTLAND         MI 48185‐7802
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MC NULTY, BRENNAN H        100 INDIAN TRL                                                                        LAKE ORION          MI 48362‐1264
MC NULTY, CATHERINE R      1344 BROOKEDGE DR                                                                     HAMLIN              NY 14464‐9360
MC NULTY, ELLEN T          PO BOX 64692                                                                          TUCSON              AZ 85728‐4692
MC NULTY, FRANK W          1307 JENKINS LAGOON DR S                                                              JOHNS ISLAND        SC 29455‐6410
MC NULTY, GERARD F         2954 CHURCH RD                                                                        HAMLIN              NY 14464‐9758
MC NULTY, GURVIS           47874 CHERRY HILL RD                                                                  CANTON              MI 48187‐4845
MC NULTY, HELEN            31310 PARDO ST APT 6                                                                  GARDEN CITY         MI 48135‐1843
MC NULTY, JOHN W           1040 JUDSON AVE                                                                       EVANSTON             IL 60202‐1321
MC NULTY, RICHARD M        122 GLENVIEW ST                                                                       UPTON               MA 01568‐1217
MC NULTY, ROSEMARY         1707 DELAWARE AVE                                                                     WHITE OAK           PA 15131‐1658
MC NULTY, THOMAS J         2197 EDGEMERE DR                                                                      ROCHESTER           NY 14612‐1101
MC NURE, TOM P             2504 COPAS RD                                                                         OWOSSO              MI 48867‐9608
MC NURE, TOMMY             3415 OAKWOOD BLVD S                                                                   SARASOTA            FL 34237‐7415
MC NURLEN, NORVIL D        8 TIMBER CREEK DR                                                                     SHAWNEE             OK 74804‐1137
MC NUTT, AMELIA M          2885 EGGERT RD                                                                        TONAWANDA           NY 14150‐8139
MC NUTT, ARTHUR C          5321 KNOX DR                                                                          THE COLONY          TX 75056‐2155
MC NUTT, ARTHUR C          106 E SOUTH ST                                                                        MARIONVILLE         MO 65705‐9036
MC NUTT, DENISE M          121 PINTAIL DR                                                                        OLD MONROE          MO 63369‐3201
MC NUTT, DOUGLAS K         9302 E BROADWAY RD LOT 169                                                            MESA                AZ 85208‐2494
MC NUTT, FLOYD J           2885 EGGERT RD                                                                        TONAWANDA           NY 14150‐8139
MC NUTT, FREDERICK J       8268 MARBLE RD                                                                        AKRON               NY 14001‐9213
MC NUTT, GARY L            42316 PROCTOR RD                                                                      CANTON              MI 48188‐1149
MC NUTT, JACQUELYN D       800 WINTERCREEPER DR                                                                  LONGS               SC 29568‐9263
MC NUTT, NELLIE F          8268 MARBLE RD                                                                        AKRON               NY 14001‐9213
MC NUTT, REBECCA S         625 LONGHORN DR                                                                       O FALLON            MO 63368‐6933
MC NUTT, RICHARD C         4 WOODBRIDGE WAY                                                                      EVANS               GA 30809‐5606
MC NUTT, ROBERT J          771 WINCHESTER AVE                                                                    LINCOLN PARK        MI 48146‐3169
MC NUTT, ROGER D           6364 HIGHWAY 62 W                                                                     GASSVILLE           AR 72635‐8226
MC NUTT, WILLIAM K         121 PINTAIL DR                                                                        OLD MONROE          MO 63369‐3201
MC NUTT, WILLIAM KELLY     121 PINTAIL DR                                                                        OLD MONROE          MO 63369‐3201
MC OMBER, MARY I           228 WOODRIDGE AVE                                                                     CHEEKTOWGA          NY 14225
MC OSKER, GEORGE F         7413 OAK RD                                                                           ROGERS CITY         MI 49779‐9506
MC OWEN, CHLOREITA ODENE   734 S MESA HILLS DR APT 129                                                           EL PASO             TX 79912‐5531
MC OWEN, DOYLE E           1511 SILVERTON CT                                                                     FLINT               MI 48532‐2075
MC PARLAN, JUDITH A        19832 WHITE OAKS DR                                                                   CLINTON TWP         MI 48036‐1895
MC PARTLIN, GREGORY P      2302 MIDDLEFIELD CT                                                                   TRENTON             MI 48183‐2414
MC PARTLIN, JERROLD L      468 HENLEY DR                                                                         BLOOMFIELD HILLS    MI 48304‐1820
MC PARTLIN, PHILIP J       11854 HADLEY CT                                                                       SHELBY TWP          MI 48315‐5714
MC PARTLIN, ROBERT J       PO BOX 405                                                                            LAKE GEORGE         MI 48633‐0405
MC PARTLIN, ROSE MARY      14363 ARDEN ST                                                                        LIVONIA             MI 48154‐4208
MC PEAK, ASHLEY J          1839 ACORN VALLEY DR                                                                  HOWELL              MI 48855‐6853
MC PEAK, CHARLES J         8086 NICHOLS RD                                                                       WINDHAM             OH 44288‐9754
MC PEAKE, JACKIE G         PO BOX 442                                                                            HARRISON            MI 48625‐0442
MC PECK I I, KENNETH L     6362 CHERRY VALLEY RD                                                                 MIDDLEVILLE         MI 49333‐8417
MC PECK, CHARLOTTE A       7165 PRESTONBURG SW                                                                   GRAND RAPIDS        MI 49548‐7166
MC PEEK, EUDORA J          199 N PARKVIEW CIR                                                                    ASHLAND             OH 44805‐1419
MC PEEK, KENNETH E         30408 HOY ST                                                                          LIVONIA             MI 48154‐3614
MC PEEK, ROBERT C          4755 WAKE ROBIN                                                                       MENTOR              OH 44060‐1328
MC PEEK, ROBERT E          9286 FIRESTONE RD                                                                     HOMERVILLE          OH 44235‐9757
MC PEEK, SANDRA E          150 S STAEBLER RD TRLR 864                                                            ANN ARBOR           MI 48103‐9065
MC PEEK, WILLIAM L         3216 ALCOTT AVE                                                                       PLANT CITY          FL 33566‐0745
MC PHAIL, CHARLES J        13509 MERCIER ST                                                                      SOUTHGATE           MI 48195‐1225
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Name                           Address1                      Address2               Address3      Address4         City            State Zip
MC PHAIL, DARYL J              14313 SCHROEDER RD                                                                  SAINT CHARLES    MI 48655‐9523
MC PHAIL, DIONNE B             51 COOLIDGE ST                                                                      IRVINGTON        NJ 07111‐1107
MC PHAIL, DIONNE B             51 COOLIDGE STREET                                                                  IRVINGTON        NJ 07111‐1107
MC PHAIL, HARRY C              436 WATERVIEW TERRACE                                                               VALLEJO          CA 94591‐7159
MC PHAIL, MARK S               1854 BOA VISTA CIR                                                                  COSTA MESA       CA 92626‐4701
MC PHAIL, RICHARD F            12546 W PINETOP DR                                                                  SUN CITY WEST    AZ 85375‐5163
MC PHAIL, WILLIAM J            185 CURTIS PKWY                                                                     BUFFALO          NY 14223‐1810
MC PHAIL, WILLIAM R            4860 WHITESELL DR                                                                   TROY             MI 48085‐5089
MC PHEARSON, JOSEPH E          4137 W 700 N                                                                        FRANKTON         IN 46044‐9402
MC PHEE, DONALD F              966 W OAKRIDGE ST                                                                   FERNDALE         MI 48220‐2752
MC PHEE, DONALD R              1259 FOXTROT CT                                                                     NAPLES           FL 34104‐4904
MC PHEE, DOROTHY N             711 W WASHINGTON ST                                                                 HARVARD           IL 60033
MC PHEE, HUGH J                6504 13TH AVENUE DR W                                                               BRADENTON        FL 34209‐4519
MC PHEE, JOHN E                13970 DUBLIN RD                                                                     APPLE VALLEY     MN 55124‐9238
MC PHEE, JOYCE M.              1700 BRONSON WAY APT 364                                                            KALAMAZOO        MI 49009‐1096
MC PHEE, SCOTT R               1541 PARK AVENUE                                                                    BAY CITY         MI 48708‐5532
MC PHEETERS, BARANT R          2209 AMY ST                                                                         BURTON           MI 48519‐1109
MC PHERRIN, ROBERT A           UNIT 223                      3483 AVALON DRIVE                                     HOOD RIVER       OR 97031‐7772
MC PHERSON COUNTY TREASURER    PO BOX 1206                                                                         MC PHERSON       KS 67460‐1206
MC PHERSON JR, JAMES R         1831 SUGAR RUN TRL                                                                  BELLBROOK        OH 45305‐1151
MC PHERSON SR, DAVID MICHAEL   505 OTIS ST                                                                         KOUNTZE          TX 77625‐5759
MC PHERSON, CHARLES J          11 DELPRETE AVE                                                                     ROCKLAND         MA 02370‐1711
MC PHERSON, CHERYL A           138 W CLYDESDALE ST                                                                 MOUNT MORRIS     MI 48458‐8886
MC PHERSON, DAVID A            4620 WOODRIDGE DR                                                                   LAWRENCE         KS 66049‐3756
MC PHERSON, DAVID A            APT 903                       8503 SCHWEIGER COURT                                  LENEXA           KS 66219‐2025
MC PHERSON, DAVID R            8947 CROSBY LAKE RD                                                                 CLARKSTON        MI 48346‐2564
MC PHERSON, DOROTHY I          1877 MIST WOOD DR                                                                   HOWELL           MI 48843‐8139
MC PHERSON, FANNIE R           1411 W STEWART AVE                                                                  FLINT            MI 48504‐3580
MC PHERSON, HOMER C            3587 HORAN RD                                                                       MEDINA           NY 14103‐9458
MC PHERSON, IRELAND W          4437 DUBLIN RD                                                                      BURTON           MI 48529‐1838
MC PHERSON, JANET C            1335 WINDWARD CIR                                                                   NICEVILLE        FL 32578‐4310
MC PHERSON, JEANETTE           28 WARD PL                                                                          MONTCLAIR        NJ 07042‐3106
MC PHERSON, LARRY T            3079 GEHRING DR                                                                     FLINT            MI 48506‐2259
MC PHERSON, LARRY THOMAS       3079 GEHRING DR                                                                     FLINT            MI 48506‐2259
MC PHERSON, LEIGH E            757 N WILDER RD                                                                     LAPEER           MI 48446‐3430
MC PHERSON, LESLIE D           420 BRADY ST                                                                        CHESANING        MI 48616‐1108
MC PHERSON, LINDA L            1600 SAWPECK WAY                                                                    PARADISE         CA 95969‐4357
MC PHERSON, MARGIE             314 CRANBERRY BEACH BLVD                                                            WHITE LAKE       MI 48386‐1996
MC PHERSON, MARK D             3301 ARLENE AVE                                                                     FLINT            MI 48503‐6706
MC PHERSON, MICHAEL P          PO BOX 211                                                                          HAMBURG          MI 48139‐0211
MC PHERSON, MICHAEL PATRICK    PO BOX 211                                                                          HAMBURG          MI 48139‐0211
MC PHERSON, RALPH B            1222 LAWRENCE AVE                                                                   DELTONA          FL 32725‐5717
MC PHERSON, RICHARD B          3692 S BALDWIN RD                                                                   ITHACA           MI 48847‐9510
MC PHERSON, ROBERT F           124 SKYVIEW DR                                                                      WAYNESVILLE      NC 28786‐5333
MC PHERSON, ROBERT H           PO BOX 921                                                                          ETOWAH           NC 28729‐0921
MC PHERSON, SAMUEL L           314 CRANBERRY BEACH BLVD                                                            WHITE LAKE       MI 48386‐1996
MC PHERSON, SANDRA R           113 W RUSSELL AVE                                                                   FLINT            MI 48505‐2611
MC PHERSON, THELMA             182 ROCKY HOLW                                                                      JENKINS          KY 41537‐9085
MC PHERSON, THELMA             182 ROCKY HOLLOW                                                                    JENKINS          KY 41537‐9085
MC PHERSON, THOMAS G           6258 CLAY PALMERDALE RD                                                             PINSON           AL 35126‐3036
MC PHERSON, VERONICA L         420 BRADY ST                                                                        CHESANING        MI 48616‐1108
MC PHERSON, WILBERT            6 PAULA RD                                                                          BOSTON           MA 02126‐2831
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Name                      Address1                      Address2             Address3        Address4         City                State Zip
MC PHERSON, WILBUR A      2674 STRATHMORE LN                                                                  BETHEL PARK          PA 15102‐1768
MC PHERSON, WILLA M       715 KENNEDY ST.               APT #11                                               PARAGOULD            AR 72450‐5634
MC PHERSON, WILLA M       APT 11                        715 KENNEDY STREET                                    PARAGOULD            AR 72450‐5678
MC PHILIMY, HARRY M       102 E HENRY ST                                                                      FLUSHING             MI 48433‐1573
MC PHILLIPS, WESLEY J     1225 ALMERIA AVE                                                                    CORAL GABLES         FL 33134‐5505
MC PIKE, ELDON R          15171 LAKE SHORE DR                                                                 EXCELSIOR SPG        MO 64024‐6278
MC QUADE INDUSTRIES INC   23545 REYNOLDS CT                                                                   CLINTON TWP          MI 48036‐1269
MC QUADE, KATHLEEN D      31 ROOSEVELT BLVD                                                                   E PATCHOGUE          NY 11772‐5934
MC QUAID, CHERYL D        2405 E LIBBIE DR                                                                    LANSING              MI 48917‐4416
MC QUAID, DANIEL E        41130 WHITE HAVEN CT                                                                NORTHVILLE           MI 48168‐2305
MC QUAID, DONNA           2017 HUDSON ST                                                                      SAGINAW              MI 48602‐5074
MC QUAID, JANE E          2615 RIO TIBER DR                                                                   PUNTA GORDA          FL 33950‐6388
MC QUAID, LYLE L          5058 THOMPSON RD              RT 3 BOX 508A                                         ONAWAY               MI 49765‐8656
MC QUAID, MARK D          6929 WIDE VALLEY DR                                                                 BRIGHTON             MI 48116‐5107
MC QUAID, PATRICIA A      138 SHOREWOOD LN                                                                    HOWELL               MI 48843‐9824
MC QUAIDE, W C INC        153 MACRIDGE AVE                                                                    JOHNSTOWN            PA 15904‐2916
MC QUAIG, JOYCE TOWNEND   222 ANNIE LANE                                                                      ROCHESTER            NY 14626‐4379
MC QUAIG, JOYCE TOWNEND   222 ANNIE LN                                                                        ROCHESTER            NY 14626‐4379
MC QUARTERS, VERNA L      18471 BURT RD                                                                       DETROIT              MI 48219‐2442
MC QUARY, THELMA M        982 COUNTY RD 416                                                                   WOODLAND             MS 39776
MC QUARY, THELMA M        982 COUNTY ROAD 416                                                                 WOODLAND             MS 39776‐9758
MC QUAT, HARRY B          4 WALTON LN                                                                         WAKEFIELD            MA 01880‐1036
MC QUATTERS, HELEN S      555 MAIDEN LANE                                                                     ROCHESTER            NY 14616‐4616
MC QUATTERS, HELEN S      555 MAIDEN LN                                                                       ROCHESTER            NY 14616‐4148
MC QUEARY JR, WAYNE O     PO BOX 297                                                                          WESTPHALIA           MI 48894‐0297
MC QUEARY, GLENN M        8985 LAKE KATHRYN DR                                                                PONTE VEDRA BEACH    FL 32082‐2956
MC QUEARY, JACQUELINE     14632 PEARL ST                                                                      SOUTHGATE            MI 48195‐1964
MC QUEARY, JACQUELINE     14632 PEARL                                                                         SOUTHGATE            MI 48195‐1964
MC QUEEN PAINTING         ATTN: FLOYD J MC QUEEN        429 BRYNFORD AVE                                      LANSING              MI 48917‐2996
MC QUEEN, AUDRA L         5317 ROYAL VALE LN                                                                  DEARBORN             MI 48126‐4208
MC QUEEN, AUDRA L         5053 MILLER RD                                                                      DEARBORN             MI 48126‐2307
MC QUEEN, CHERYL L        4881 MOUNT MORRIS RD                                                                COLUMBIAVILLE        MI 48421‐8972
MC QUEEN, DIANNA WHITE    714 CANTERBURY RD                                                                   GAINESVILLE          GA 30504
MC QUEEN, EDWIN H         496 MAC DUFF                                                                        MT MORRIS            MI 48458
MC QUEEN, EDWIN H         1755 W NORTH UNION RD                                                               AUBURN               MI 48611‐9533
MC QUEEN, FRED            26743 KITCH ST                                                                      INKSTER              MI 48141‐2513
MC QUEEN, GEORGE G        14512 STAHELIN AVENUE                                                               DETROIT              MI 48223‐2217
MC QUEEN, HARRY W         4185 MCNAIR RD                                                                      GASPORT              NY 14067‐9240
MC QUEEN, JUANITA F       109 SPRING GATE DR                                                                  LONDON               KY 40741‐9290
MC QUEEN, MARLIN L        1001 W HIGHWAY 4                                                                    CENTURY              FL 32535‐2758
MC QUEEN, MAX R           1114 GREENACRES DR                                                                  KOKOMO               IN 46901‐8735
MC QUEEN, NORMAN          5055 N CROWFOOT VALLEY RD                                                           CASTLE ROCK          CO 80108‐9453
MC QUEEN, PATRICIA L      532 JAMES RIDGE LN                                                                  STOCKBRIDGE          GA 30281
MC QUEEN, PATRICK         120 WHITE RD                                                                        BROCKPORT            NY 14420‐9749
MC QUEEN, PATRICK         120 WHITE ROAD                                                                      BROCKPORT            NY 14420‐9749
MC QUEEN, PAULINE J       11348 CENTRALIA                                                                     REDFORD              MI 48239‐2162
MC QUEEN, ROBERT L        1020 SAINT JOSEPH LN                                                                MARYSVILLE           MI 48040‐1597
MC QUEEN, SCOTT J         7488 HAMPTON DR                                                                     DAVISON              MI 48423‐2205
MC QUEEN, SCOTT JOHN      7488 HAMPTON DR                                                                     DAVISON              MI 48423‐2205
MC QUEEN, TAEKO           4217 WAINWRIGHT AVE                                                                 LANSING              MI 48911‐2249
MC QUEEN, VASCO           532 JAMES RIDGE LN                                                                  STOCKBRIDGE          GA 30281‐1480
MC QUEEN, VIRGIL          2808 ASHTON CIR 5‐2808                                                              HAMILTON             OH 45011
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Name                              Address1                        Address2                    Address3    Address4         City              State Zip
MC QUEEN, WILLIAM D               9964 PAW PAW LAKE DR                                                                     MATTAWAN           MI 49071‐9440
MC QUEEN, WILLIAM F               3961 JACOBS LNDG                                                                         SAINT CHARLES      MO 63304‐7492
MC QUEEN, WILLIE A.               712 PHILIP ST                                                                            DETROIT            MI 48215‐2936
MC QUEEN‐RAY, SUSAN M             46111 NEESON ST                                                                          NORTHVILLE         MI 48167‐1715
MC QUEEN‐RAY, SUSAN MARIE         46111 NEESON ST                                                                          NORTHVILLE         MI 48167‐1715
MC QUEENEY, BRIAN T               3 PARK LN                                                                                HOOKSETT           NH 03106‐2140
MC QUERY, CLARENCE J              9591 SUSIN LN                                                                            CLARKSTON          MI 48348‐2447
MC QUIGG, EDMUND H                6204 MCKENZIE DR                                                                         FLINT              MI 48507‐3836
MC QUIGG, KEVIN M                 1913 NEBRASKA AVE                                                                        FLINT              MI 48506‐3735
MC QUIGG, LAWRENCE M              2349 N SEYMOUR RD                                                                        FLUSHING           MI 48433‐9741
MC QUIGG, RUTH C                  9 CANTERBURY LN                                                                          EAST AURORA        NY 14052‐1358
MC QUILLAN, HILDEGARD             44 GLEASON BLVD                                                                          PLEASANT VALLEY    NY 12569‐7762
MC QUILLAN, KIRK P                PO BOX 927                                                                               GRAND BLANC        MI 48480‐0927
MC QUILLAN, LAURA L               PO BOX 927                                                                               GRAND BLANC        MI 48480‐0927
MC QUILLEN, CARL RACING ENGINES   8171 E MAIN RD                                                                           LE ROY             NY 14482‐9737
MC QUILLEN, ISABELLE M            1959 GREENFIELD DR                                                                       ROCK HILL          SC 29732‐1022
MC QUILLEN, JUDY A                203 JACKSON AVE                                                                          KANSAS CITY        MO 64123‐1860
MC QUILLEN, JUDY A                203 S JACKSON                                                                            KANSAS CITY        MO 64123‐1860
MC QUILLEN, KEARNEY L             387 LOS INDIOS                                                                           EDGEWATER          FL 32141‐7694
MC QUILLIN, CLEO L                1051 HARWOOD AVE                                                                         GREEN BAY          WI 54313‐6828
MC QUINN, DANNY J                 1024 E AUMAN DR                                                                          CARMEL             IN 46032‐2664
MC QUISTON, DUANE J               1802 WOODSIDE CT                                                                         BAY CITY           MI 48708‐5002
MC QUISTON, JERRY L               8348 E STATE ROAD 18                                                                     GALVESTON          IN 46932‐8954
MC QUISTON, WESTLEY A             800 S UNION ST                                                                           KOKOMO             IN 46901‐5410
MC QUISTON, WILLIAM A             46655 WOODALL RD                                                                         SHELBY TWP         MI 48317‐4172
MC QUITTY JR, DANIEL B            418 GIRKIN RD                                                                            BOWLING GREEN      KY 42101‐8669
MC QUITTY, DIRK B                 431 AUTUMNSTONE LN                                                                       BOWLING GREEN      KY 42103‐6004
MC QUITTY, GENE H                 14529 S GREENWOOD ST                                                                     OLATHE             KS 66062‐9009
MC QUITTY, MICHAEL A              2701 SW 74TH ST APT C                                                                    OKLAHOMA CITY      OK 73159‐3852
MC RAE JR, BOBBY U                167 SPRENGER AVE                                                                         BUFFALO            NY 14211‐2102
MC RAE JR, BOBBY UVON             167 SPRENGER AVE                                                                         BUFFALO            NY 14211‐2102
MC RAE JR, ELBERT                 19442 PRAIRIE ST                                                                         DETROIT            MI 48221‐1728
MC RAE, BOBBY U                   130 SANDERS RD APT A                                                                     BUFFALO            NY 14216‐1211
MC RAE, DAVID W                   11381 VAN NATTER RD                                                                      OTISVILLE          MI 48463‐9723
MC RAE, DONALD A                  350 BAUMAN AVE                                                                           CLAWSON            MI 48017‐2082
MC RAE, DONALD K                  615 SCENIC DRIVE                                                                         EWING              NJ 08628‐2206
MC RAE, DONALD K                  615 SCENIC DR                                                                            EWING              NJ 08628‐2206
MC RAE, HELEN L                   4460 FAIRWAYS BLVD APT 102                                                               BRADENTON          FL 34209‐8025
MC RAE, JAMES J                   2409 S 11TH AVE                                                                          BROADVIEW           IL 60155‐4812
MC RAE, MICHAEL A                 128 E HOWE AVE                                                                           LANSING            MI 48906‐3118
MC RATH, GARY C                   5460 AVEBURY WAY                                                                         GLADWIN            MI 48624‐8262
MC RATH, JUDITH A                 980 GIBSON ST                                                                            OXFORD             MI 48371‐4523
MC RAVEN, JEAN E                  1100 CHARLES LN                                                                          UNIONTOWN          PA 15401‐6637
MC REAL ESTATE SERVICES, INC.     J. ROBERT CATTANACH             9225 INDIAN CREEK PARKWAY   SUITE 160                    OVERLAND PARK      KS 66210
MC REAL ESTATE SERVICES, INC.     ATTN: GENERAL MANAGER           9225 INDIAN CREEK PARKWAY                                OVERLAND PARK      KS 66210
MC REE JR, A C                    1610 TRIMBLE HOLLOW RD SE                                                                ADAIRSVILLE        GA 30103‐4038
MC REVY SR, JAMES A               7201 SCHOUEST ST                                                                         METAIRIE           LA 70003‐3139
MC REYNOLDS, ALMA L               15939 NEW HAMPSHIRE ST                                                                   SOUTHFIELD         MI 48075‐6926
MC REYNOLDS, BILLY J              6920 ROWAN SPRINGS CIR                                                                   LEEDS              AL 35094‐2460
MC REYNOLDS, DONNA R              129 TUSCARORAS TRL                                                                       PRUDENVILLE        MI 48651‐9729
MC REYNOLDS, DONNA R              129 TUSCARARAS TRAIL                                                                     PRUDENVILLE        MI 48651‐9729
MC REYNOLDS, EDNA S               1005 BAY VIEW FARM RD APT 104                                                            PINOLE             CA 94564‐2374
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Name                      Address1                        Address2            Address3         Address4         City                 State Zip
MC REYNOLDS, ESTHER M     1143 RUNAWAY BAY DR APT 1D                                                            LANSING               MI 48917‐8697
MC REYNOLDS, ODIE K       PO BOX 12074                                                                          LUBBOCK               TX 79452‐2074
MC REYNOLDS, PHILLIP G    1833 FENN ST                                                                          MILFORD               MI 48381‐4165
MC REYNOLDS, PHYLLIS J    606 HEATHERCREST CT                                                                   SIMPSONVILLE          SC 29681‐4697
MC REYNOLDS, RONALD I     68 CLUBHOUSE LN                                                                       SEBRING               FL 33876‐8300
MC REYNOLDS, VERNON L     7910 N COUNTY ROAD 850 E                                                              PARKER CITY           IN 47368‐9427
MC REYNOLDS, VESTA L      1401 ELMHURST DR APT W405                                                             LONGMONT              CO 80503‐2369
MC REYNOLDS, WILLIAM D    1922 SUNLIGHT DR                                                                      LONGMONT              CO 80501‐1972
MC REYNOLDS, WILLIAM J    140 WHITE DEER TRL                                                                    PRUDENVILLE           MI 48651‐9704
MC RIGHT, ROBBIE L        317 BOEING DR                                                                         NEW LENOX              IL 60451‐2128
MC RILL, ROBERT E         507 W MAIN ST                                                                         DURAND                MI 48429‐1535
MC RITCHIE, KENNETH A     150 RIDGELAND PT                                                                      SHARPS CHAPEL         TN 37866‐3705
MC ROBERT, EDWIN M        3361 E US 223                                                                         ADRIAN                MI 49221‐9207
MC ROBERT, GILBERT N      6511 DALE AVE                                                                         HUDSONVILLE           MI 49426‐9348
MC ROBERTS, CAROL L.      285 E NORTH AVE                                                                       EAST PALESTINE        OH 44413‐2368
MC ROBERTS, JERLD B       9805 E STATE RD #234                                                                  WILKINSON             IN 46186
MC ROBERTS, JOHN E        430 W ASPEN DR UNIT 4                                                                 OAK CREEK             WI 53154‐4480
MC ROBERTS, KENNETH M     8205 W MOUNT MORRIS RD                                                                FLUSHING              MI 48433‐8854
MC ROBERTS, MARY E        1022 MINOR AVE                                                                        HAMILTON              OH 45015‐1564
MC ROBERTS, NANCY L       2150 BENSTEIN RD                                                                      WOLVERINE LAKE        MI 48390‐2214
MC ROBERTS, ROBERT D      49217 ENGLAND DR                                                                      E PALESTINE           OH 44413‐8722
MC ROBERTS, WALLACE       772 S FREMONT ST                                                                      JANESVILLE            WI 53545‐4960
MC ROREY, DAVID A         1023 LAKE DONIPHAN RD                                                                 EXCELSIOR SPG         MO 64024‐7248
MC ROY, DIXIE L           38 S ADDISON ST                                                                       INDIANAPOLIS          IN 46222‐4102
MC ROY, DIXIE L           38 S. ADDISON                                                                         INDIANAPOLIS          IN 46222‐4102
MC SHAN JR, HENRY         3830 W OUTER DR                                                                       DETROIT               MI 48221‐1508
MC SHAN, GARY             3830 W OUTER DR                                                                       DETROIT               MI 48221‐1508
MC SHAN, KEITH I          3830 W OUTER DR                                                                       DETROIT               MI 48221‐1508
MC SHAN, MICHAEL M        473 BROWNING LOOP                                                                     MANDEVILLE            LA 70448‐1914
MC SHEA, MARGARET T       59‐55‐47TH AVE                  APT 7G                                                WOODSIDE              NY 11377
MC SHEA, MICHAEL P        915 ASHLAND CT                                                                        MANSFIELD             TX 76063‐3802
MC SHEFFREY, JANET W      1507 RUFFNER AVE                                                                      BIRMINGHAM            MI 48009‐7176
MC SHERIDAN, EIKO         6600 WARNER AVE UNIT 132                                                              HUNTINGTON BEACH      CA 92647‐5267
MC SHERRY, CRAIG A        2165 E LOWER SPRINGBORO RD                                                            WAYNESVILLE           OH 45068‐9343
MC SHERRY, ROLAND         3230 S BLACKMOUNTAIN DR                                                               INVERNESS             FL 34450‐8836
MC SKULIN, GEORGE P       6162 LINDSAY DR                                                                       WATERFORD TOWNSHIP    MI 48329‐3030
MC SORLEY, CHRISTINE M    3507 CULLEN RD                                                                        HOWELL                MI 48855‐9051
MC SORLEY, JOHN D         573 MCLACHLAN PT                                                                      EVART                 MI 49631‐8310
MC SORLEY, THERESA        3844 TRUMBULL ST                                                                      TRENTON               MI 48183‐4114
MC SPADDEN, MELVIN        23 HAMPTON CT                                                                         WILLIAMSVILLE         NY 14221‐4301
MC SWAIN, BOYD            8268 PREST ST                                                                         DETROIT               MI 48228‐2229
MC SWAIN, CELEAL          1754 MANCHESTER DR                                                                    LAPEER                MI 48446‐9797
MC SWAIN, JEFFREY         1802 WINONA ST                                                                        FLINT                 MI 48504‐2964
MC SWEENEY, CARYL         1829 W LONGMEADOW                                                                     TRENTON               MI 48183‐1778
MC TAGGART, MILDRED MAE   5006 ALPHA WAY                                                                        FLINT                 MI 48506
MC TAGGART, VIRGENA M     437 CUSHING AVE                                                                       DAYTON                OH 45429‐2609
MC TARNAGHAN, NATALIE H   1172 JOHNSARBOR DR W                                                                  ROCHESTER             NY 14620‐3640
MC TAVISH, BRENDA L       500 W LAKE LANSING RD APT D40                                                         EAST LANSING          MI 48823‐1485
MC TAVISH, DICK L         107 SHINING HOLLOW CR                                                                 MERIDIANVILLE         AL 35759
MC TAVISH, GEORGE F       3487 CLIFFROSE TRL                                                                    PALM SPRINGS          CA 92262‐9756
MC TEER, H
MC TERNAN, IVA G          12209 LONGTIN ST                                                                      SOUTHGATE            MI 48195‐1766
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Name                      Address1                         Address2               Address3   Address4         City              State Zip
MC TIERNAN JR, J L
MC TIGUE, KATHLEEN E      9771 LISA ST                                                                        ROMULUS           MI    48174‐1593
MC TIGUE, PATRICK M       18642 NEGAUNEE                                                                      REDFORD           MI    48240‐2025
MC TIRE & AUTOMOTIVE      2119 53RD ST                                                                        MOLINE            IL    61265‐3653
MC TIZIC, SAMUEL          11911 LOWEMONT ST                                                                   NORWALK           CA    90650
MC TIZIC, WESLEY          9139 TOPNECK ST                                                                     NEW PORT RICHEY   FL    34654‐4477
MC TOWNSEND ASSOCIATES    289 PARK ENTRANCE DR                                                                PITTSBURGH        PA    15228‐1824
MC TRUCKING INC           PO BOX 27170                                                                        DETROIT           MI    48227‐0170
MC TRUCKING/DETROIT       14800 CASTLETON ST                                                                  DETROIT           MI    48227‐2422
MC TRUCKS INC             5 CALLE MARGINAL                                                                    BAYAMON           PR    00959‐5530
MC TRUCKS INC             5 CALLE MARGINAL                                                                    BAYAMON           PR    00959‐5530
MC TURNER, DOUGLAS E      13326 POPLAR                                                                        SOUTHGATE         MI    48195‐2450
MC TURNER, DOUGLAS E      13326 POPLAR ST                                                                     SOUTHGATE         MI    48195‐2450
MC TURNER, JIMMY D        23631 KENSINGTON ST                                                                 TAYLOR            MI    48180‐3444
MC VANNEL, GREGORY P      5439 SKYLARK PASS                                                                   GRAND BLANC       MI    48439‐9147
MC VAY SR, HARLAN G       19330 CONLEY ST                                                                     DETROIT           MI    48234‐2250
MC VAY, ARLENE            9654 ELLIOTT HIGHWAY                                                                MORENCI           MI    49256‐9552
MC VAY, ARLENE            9654 ELLIOTT HWY                                                                    MORENCI           MI    49256‐9552
MC VAY, GEORGE A          11 HOLLYRIDGE CT                                                                    JACKSONVILLE      AR    72076‐9232
MC VAY, GREG S            350 WASHINGTON ST                                                                   CHELSEA           MI    48118‐1126
MC VAY, JAMES A           58 MARLENE DR                                                                       CHEEKTOWAGA       NY    14225‐4424
MC VAY, JOSEPH E          740 MOTT ST                                                                         NEW MADRID        MO    63869‐1923
MC VAY, MARLENE           1952 PENNINGTON AVE                                                                 TUSTIN            CA    92780‐6665
MC VAY, NOLA A            12617 81ST TER                                                                      SEMINOLE          FL    33776‐3617
MC VAY, NOLA A            12617 81 TERR N                                                                     SEMINOLE          FL    33776‐3617
MC VAY, RITA              8780 LEROY                                                                          OAK PARK          MI    48237
MC VAY, RITA              8780 LEROY ST                                                                       OAK PARK          MI    48237‐2305
MC VEIGH, FREDA           APT 1K                           509 EAST 77TH STREET                               NEW YORK          NY    10075‐8868
MC VEIGH, JAMES L         6974 W FILLMORE RD                                                                  ITHACA            MI    48847‐9757
MC VEIGH, JEFFREY J       7580 W FILLMORE RD                                                                  SUMNER            MI    48889‐9745
MC VEIGH, JERRY A         504 ASH ST                                                                          HOLLY             MI    48442‐1305
MC VETY JR, CLARE C       5200 LATIMER ST                                                                     W BLOOMFIELD      MI    48324‐1441
MC VETY, ALLEN E          3737 HI VILLA DR                                                                    ORION             MI    48360‐2460
MC VETY, DONALD E         14978 COLPAERT DR                                                                   WARREN            MI    48088‐6207
MC VETY, RONALD D         5330 STAFFORD CT                                                                    HOLLY             MI    48442‐9636
MC VEY, CONSTANCE         26995 JAMES AVE                                                                     FLAT ROCK         MI    48134‐1152
MC VEY, DOROTHY           3907 N TAYLOR BOX 923D                                                              MISSION           TX    78572‐9762
MC VEY, EFFIE E           534 W 53RD ST                                                                       ANDERSON          IN    46013
MC VEY, GERALD E          26995 JAMES AVE                                                                     FLAT ROCK         MI    48134‐1152
MC VEY, GLADYS            1125 NW WASHINGTON BLVD APT 33                                                      HAMILTON          OH    45013‐6363
MC VEY, GLADYS            1125 NW WASHINGTON BLVD          APT 33                                             HAMILTON          OH    45013‐6363
MC VEY, JO ANN            4904 HORGER                                                                         DEARBORN          MI    48126‐3115
MC VEY, JO ANN            4904 HORGER ST                                                                      DEARBORN          MI    48126‐3115
MC VEY, STEVEN L          7299 GREENVIEW AVE                                                                  DETROIT           MI    48228‐3404
MC VICAR, JAMES A         15531 OPORTO ST                                                                     LIVONIA           MI    48154‐3244
MC VICAR, JAMES I         40458 VILLAGE WOOD RD                                                               NOVI              MI    48375‐4561
MC VICAR, MARVIN O        201 W GREENSHIELD RD                                                                LAKE ORION        MI    48360‐2105
MC VICAR, PAUL J          481 SERENITY CT                                                                     TROY              MI    48098‐1776
MC VICAR, REBECCA ANN A   15531 OPORTO ST                                                                     LIVONIA           MI    48154‐3244
MC VICAR, ROGER D         6567 LANMAN DR                                                                      WATERFORD         MI    48329‐2931
MC VICAR, ROY F           4950 FRUITPORT RD                                                                   FRUITPORT         MI    49415‐8728
MC VICAR, ROY FREDERICK   4950 FRUITPORT RD                                                                   FRUITPORT         MI    49415‐8728
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Name                              Address1                             Address2                      Address3                 Address4         City               State Zip
MC VICKER I I I, ROBERT A         70 ALBEMARLE RD                                                                                              TRENTON             NJ 08690‐2430
MC VICKER III, ROBERT A.          70 ALBEMARLE RD                                                                                              TRENTON             NJ 08690‐2430
MC VICKER, ROBERT A               70 ALBEMARLE RD                                                                                              TRENTON             NJ 08690‐2430
MC WAIN, MARY A                   9415 BLUE SPRUCE CT                                                                                          DAVISON             MI 48423‐1186
MC WAIN, ROBERT A                 11686 HAWTHORNE GLEN DR                                                                                      GRAND BLANC         MI 48439‐1378
MC WAIN, ROBERT D                 9415 BLUE SPRUCE CT                                                                                          DAVISON             MI 48423‐1186
MC WATT, ALEXANDER M              652 MARSH RD                                                                                                 SENECA FALLS        NY 13148‐9742
MC WATTERS, KENNETH D             1058 OAK RIDGE CIR                                                                                           BRIGHTON            MI 48116‐1723
MC WHIRT, ROBERT E                15311 LANDAUER ST                                                                                            BASEHOR             KS 66007‐9300
MC WHIRTER, BRIAN T               9608 ELLICOTT ST                                                                                             ANGOLA              NY 14006‐9374
MC WHORTER, CYNTHIA               10159 WEATHERLY RD                                                                                           BROOKSVILLE         FL 34601‐5055
MC WHORTER, JAMES D               27075 W RIVER RD                                                                                             GROSSE ILE          MI 48138‐1660
MC WHORTER, JOSEPH G              958 WOODLAND DR                                                                                              PALM HARBOR         FL 34683‐6657
MC WHORTER, STEVEN V              5885 MICHAEL ST                                                                                              TAYLOR              MI 48180‐1271
MC WHORTER, VANCE L               1601 WELLINGTON RD                                                                                           LANSING             MI 48910‐1159
MC WILLIAMS JR., THEODORE J       1300 EMERSON ST APT 7                                                                                        ROCHESTER           NY 14606‐3035
MC WILLIAMS, BETTY G              13855 SLEEPY HOLLOW LN                                                                                       FORT MYERS          FL 33905‐1815
MC WILLIAMS, CHARLES              PO BOX 07081                                                                                                 DETROIT             MI 48207‐0081
MC WILLIAMS, EDWARD S             8010 NORMILE ST                                                                                              DETROIT             MI 48204‐3140
MC WILLIAMS, ELEANOR              102 KLINE AVE APT 2                                                                                          NORTH VERSAILLES    PA 15137‐1183
MC WILLIAMS, ELEANOR              102 KLINE AVE.                       APT.2                                                                   NORTH VERSAILLES    PA 15137
MC WILLIAMS, FREDRIC J            1529 TREASURE LK                                                                                             DU BOIS             PA 15801‐9041
MC WILLIAMS, GLORIA J             203 HALTINER ST                                                                                              RIVER ROUGE         MI 48218‐1226
MC WILLIAMS, JAMES E              7708 WINDY HILL CT                                                                                           LEWIS CENTER        OH 43035‐8066
MC WILLIAMS, JAMES P              16256 KAREN DR                                                                                               CLINTON TOWNSHIP    MI 48038‐2575
MC WILLIAMS, JEFFREY B            17321 MEYERS RD                                                                                              DETROIT             MI 48235‐1424
MC WILLIAMS, JOHN B               24383 JAMESTOWNE RD                                                                                          NOVI                MI 48375‐2321
MC WILLIAMS, JOSEPH T             35238 CURTIS RD                                                                                              LIVONIA             MI 48152‐2900
MC WILLIAMS, KEVIN G              907 E SUNNYBROOK DR                                                                                          ROYAL OAK           MI 48073‐2791
MC WILLIAMS, MARY L               PO BOX 813                                                                                                   FRANKTON            IN 46044‐0813
MC WILLIAMS, RAY V                205 WILKSFORD CT                                                                                             VANDALIA            OH 45377‐2924
MC WILLIAMS, ROBERT C             491 KENNARD ST                                                                                               LAKE ORION          MI 48362‐2230
MC WILLIAMS, ROBERT L             20072 EARLMONT DR                                                                                            MACOMB              MI 48044‐2845
MC WILLIAMS, SHERWIN E            31703 IVY CT                                                                                                 WARREN              MI 48093‐5598
MC WILLIAMS, STANLEY R            203 HALTINER ST                                                                                              RIVER ROUGE         MI 48218‐1226
MC WILLIAMS, THOMAS W             32470 BOCK ST                                                                                                GARDEN CITY         MI 48135‐1264
MC WILLIAMS, THOMAS WAYNE         32470 BOCK ST                                                                                                GARDEN CITY         MI 48135‐1264
MC WILLIE, NADINE                 14518 FREELAND ST                                                                                            DETROIT             MI 48227‐2802
MC WILSON JR, NATHAN              6717 CHERRYTREE DR                                                                                           ARLINGTON           TX 76001‐7828
MC ZEE, BARBARA A                 527 S 25TH ST                                                                                                SAGINAW             MI 48601‐6412
MC ZEE, RICHARD                   527 S 25TH ST                                                                                                SAGINAW             MI 48601‐6412
MC&CO C/F                         MARY ANN RINGKAMP                    IRA STANDARD DATED 09/03/93   2330 WEST FALMOUTH AVE                    ANAHEIM             CA 92801‐1537
MC&CO C/F JON D CARMICHAEL        IRA STD/ROLLOVER DTD 05/23/91        301 QUAIL RUN COURT                                                     CLARKDALE           AZ 86324‐3014
MC'KINLEY MYLES                   195 KINGSLEY ST                                                                                              BUFFALO             NY 14208‐2202
MC‐FER SERVICE CENTER             994 MCDONALD AVE                                                                                             BROOKLYN            NY 11230‐1008
MC‐PRECISION INC                  3321 N LAPEER RD                                                                                             AUBURN HILLS        MI 48326
MC2                               500 INTERSTATE WEST PKWY                                                                                     LITHIA SPRINGS      GA 30122‐3231
MC2                               ATTN: CORPORATE OFFICER/AUTHORIZED   500 INTERSTATE WEST PKWY                                                LITHIA SPRINGS      GA 30122‐3231
                                  AGENT
MC2 ELECTRICAL CONTRACTORS, LLC   ACS GM LEASE ADMINISTRATION          1190 KENNESTONE CIR           STE 100                                   MARIETTA           GA 30066‐6019
MCA FAB/MANCHESTER                1300 S SPRING ST                                                                                             MANCHESTER         TN 37355‐2256
MCA FABRICATION INC                                                    1300 S SPRING STREET                                                                       TN 37355
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Name                        Address1                         Address2                          Address3   Address4            City            State Zip
MCABEE SHANNON              PO BOX 2436                                                                                       ELK CITY         OK 73648‐2436
MCABEE, GERADA H            4758 LINDSEY RD                                                                                   MT ORAB          OH 45154‐9625
MCABEE, GERALD R            8536 PERRY RD                                                                                     ATLAS            MI 48411‐7707
MCABEE, JERRY L             6079 E 300 S                                                                                      FRANKLIN         IN 46131‐8046
MCABEE, MICHAEL S           18250 N CAVE CREEK RD UNIT 176                                                                    PHOENIX          AZ 85032‐1047
MCABEE, ROBERT F            123 JUPITER LANE                                                                                  SUMMERVILLE      SC 29483‐5620
MCABEE, THOMAS R            1520 NE THOMPSON RD                                                                               DECATUR          AL 35603‐6730
MCABEE, WILLIAM C           205 LEE AVE NW                                                                                    HARTSELLE        AL 35640‐8544
MCABERNS, DAWN              9084 TIMBERBROOK LN UNIT D                                                                        FLORENCE         KY 41042‐6928
MCABERNS, WILLIAM A         10240 PARK DR                                                                                     GOODRICH         MI 48438‐9303
MCADAM AUTO REPAIR          55 NORTH LANE                                                                 MCADAM NB E6J 1K5
                                                                                                          CANADA
MCADAM, BERNICE C           508 ELLEN ST                                                                                      UNION           NJ   07083‐8835
MCADAM, WILLIAM J           4146 S AINGER RD                                                                                  CHARLOTTE       MI   48813‐8539
MCADAMS BILLY DON           635 MANCHESTER DR                                                                                 MANSFIELD       TX   76063‐2892
MCADAMS FOUNDATION          3803 WHIPPOORWILL LAKE S DRIVE                                                                    MONROVIA        IN   46157‐9134
MCADAMS HILTON R (439308)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA   23510
                                                             STREET, SUITE 600
MCADAMS VICKIE              NEED BETTER ADDRESS 12/08/06CP   PO BOX 418                                                       ASHDOWN         AR   71822
MCADAMS, ARTHUR C           417 KINGFISHER LN                                                                                 DENTON          TX   76209‐3531
MCADAMS, BILLY D            635 MANCHESTER DR                                                                                 MANSFIELD       TX   76063‐2892
MCADAMS, BILLY DON          635 MANCHESTER DR                                                                                 MANSFIELD       TX   76063‐2892
MCADAMS, CHARLES L          39800 FREMONT BLVD                                                                                FREMONT         CA   94538
MCADAMS, DOROTHY B          13822 WAINSTEAD AVE                                                                               CLEVELAND       OH   44111‐4960
MCADAMS, EVELYN             29659 HUNTINGTON DR                                                                               NORTH OLMSTED   OH   44070‐5051
MCADAMS, GERALD W           29659 HUNTINGTON DR                                                                               NORTH OLMSTED   OH   44070‐5051
MCADAMS, GLORIA J           915 E LAWN DR                                                                                     FORT WAYNE      IN   46819‐1977
MCADAMS, GLORIA JEAN        915 E LAWN DR                                                                                     FORT WAYNE      IN   46819‐1977
MCADAMS, HILTON R           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA   23510‐2212
                                                             STREET, SUITE 600
MCADAMS, JOSEPH P           28492 ELDER DR                                                                                    NORTH OLMSTED   OH 44070‐5126
MCADAMS, KAREN J            1367 SUGDEN LAKE RD                                                                               WHITE LAKE      MI 48386‐3778
MCADAMS, LEE
MCADAMS, LEON A             PO BOX 371                                                                                        DEWITT          MI   48820‐0371
MCADAMS, MURRICK M          103 E 8TH ST                                                                                      OSWEGO          NY   13126
MCADAMS, MYRTLE             2050 WINANS                                                                                       FLINT           MI   48503‐4218
MCADAMS, NOVIE B            1221 KENDOLPH DR                                                                                  DENTON          TX   76205‐6971
MCADAMS, ROBERT L           500 W LAKE LANSING RD APT B21                                                                     EAST LANSING    MI   48823‐1493
MCADAMS, RONALD H           8400 HILLSIDE DR                                                                                  FRISCO          TX   75034‐3719
MCADAMS, STEVEN A           1002 MADISON ST                                                                                   FRANKTON        IN   46044‐9786
MCADOO JENKINS, ESTHER R    724 W 95TH ST                                                                                     LOS ANGELES     CA   90044‐4712
MCADOO JENKINS, ESTHER R    724 WEST 95TH ST.                                                                                 LOS ANGELES     CA   90044‐4712
MCADOO JR, BENNIE F         5608 LAKE SIDE DR                                                                                 BOSSIER CITY    LA   71111‐5546
MCADOO, ANDREW L            866 W 126TH ST APT 3                                                                              LOS ANGELES     CA   90044‐3858
MCADOO, CHARLEY D           6249 VEL DR                                                                                       FORT WORTH      TX   76112‐8061
MCADOO, JOE K               5249 STATE ROUTE 1241                                                                             HICKORY         KY   42051‐9406
MCADOO, PAUL R              6249 VEL DR                                                                                       FORT WORTH      TX   76112‐8061
MCADOO, RAYMOND J           5790 STATE ROUTE 46                                                                               CORTLAND        OH   44410‐9663
MCADOO, SUMMER              PAYNE LAW GROUP                  2911 TURTLE CREEK BLVD STE 1400                                  DALLAS          TX   75219‐6258

MCADOO, SUMMER              COWEN MICHAEL R                  520 E LEVEE ST                                                   BROWNSVILLE     TX 78520‐5343
MCADOO, SUSAN C             5790 STATE ROUTE 46                                                                               CORTLAND        OH 44410
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Name                      Address1                          Address2                           Address3   Address4         City              State Zip
MCADOO, WILLIAM D         13106 SUNSET PARKWAY DR                                                                          WATERPORT          NY 14571‐9618
MCADORY, MELVIN           1100 BOLTON ST APT 514            BOLTON HOUSE                                                   BALTIMORE          MD 21201‐2209
MCADORY, MONTAQUE E       4617 OLIVE RD                                                                                    TROTWOOD           OH 45426‐2203
MCADORY, PLAS             2207 BUSHNELL DR                                                                                 COLUMBIA           MO 65201‐6111
MCADORY, RANDALL W        1068 OLYMPIA DR                                                                                  ROCHESTER HILLS    MI 48306
MCAFEE & TAFT             2 LEADERSHIP SQ                                                                                  OKLAHOMA CITY      OK 73102
MCAFEE INC                NW7182                            PO BOX 1450                                                    MINNEAPOLIS        MN 55485‐7182
MCAFEE JR, FRANK          3706 STERLING RIDGE CT                                                                           DECATUR            GA 30032‐6147
MCAFEE JR, GARNELL        STE K                             10940 PARALLEL PARKWAY                                         KANSAS CITY        KS 66109‐4515
MCAFEE JR, VERNON W       1 COXSWAIN PL                                                                                    SALEM              SC 29676‐4419
MCAFEE ROBERT (453973)    CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND          OH 44115
                          GAROFOLI                          FL
MCAFEE SHIRLEY            4220 PINECREST DR                                                                                PUNTA GORDA       FL   33982‐1829
MCAFEE TRUCKING COMPANY   15171 CRONEWOOD LN                PO BOX 250                                                     MEMPHIS           IN   47143‐9418
MCAFEE, BONITA M          295 S CHERRY ST                                                                                  WEST UNION        OH   45693‐1401
MCAFEE, CARLINDA E        PO BOX 172158                                                                                    KANSAS CITY       KS   66117‐1158
MCAFEE, CHARLES           5354 LENNON RD                                                                                   SWARTZ CREEK      MI   48473‐7902
MCAFEE, DARRELL D         1642 W 186TH ST                                                                                  WESTFIELD         IN   46074‐9214
MCAFEE, DOLORES J         6261 LENNON RD                                                                                   SWARTZ CREEK      MI   48473‐7924
MCAFEE, DONALD F          PO BOX 361104                                                                                    STRONGSVILLE      OH   44136‐0019
MCAFEE, DOUGLAS H         1827 W 4TH ST                                                                                    PRESCOTT          MI   48756‐8602
MCAFEE, ELMER C           3036 DEVONSHIRE ST                                                                               FLINT             MI   48504‐4306
MCAFEE, ELMER CLYDE       G2171 UTLEY RD                                                                                   FLINT             MI   48532
MCAFEE, ELVEST A          1325 GAGE ST                                                                                     SAGINAW           MI   48601‐2707
MCAFEE, FANNIE G          9800 LOCHFIELD DRIVE                                                                             PIKE ROAD         AL   36064‐2280
MCAFEE, JAMES D           15202 W 91ST PL                                                                                  LENEXA            KS   66219‐1147
MCAFEE, JAMES D           1307 W EUCLID AVE                                                                                MARION            IN   46952‐3450
MCAFEE, JERRY W           457 N 600 W‐90                                                                                   MARKLE            IN   46770‐9138
MCAFEE, JO A              5428 WELLESLEY AVE                                                                               FORT WORTH        TX   76107‐6708
MCAFEE, JOHN R            12075 COOK RD                                                                                    GAINES            MI   48436‐9786
MCAFEE, KAREN E           325 N POINTE DR                                                                                  ARCHBOLD          OH   43502‐9332
MCAFEE, KATHERINE B       G‐2171 UTLEY RD                                                                                  FLINT             MI   48532‐4837
MCAFEE, MARY K            107 POTEAT PL                                                                                    FRANKLIN          TN   37064‐2039
MCAFEE, MELVIN            6904 HERITAGE LN                                                                                 FORT WORTH        TX   76134‐3814
MCAFEE, MONTIE R          3600 LAKE MEADOW DR                                                                              AMELIA            OH   45102‐2516
MCAFEE, NATHANIEL D       16477 SOUTH RIPLEY STREET                                                                        OLATHE            KS   66062‐7871
MCAFEE, ORA               216 WEST NEWTON STREET                                                                           ALCOA             TN   37701‐2224
MCAFEE, PATRICIA SUE      1531 E PERRY ST                                                                                  INDIANAPOLIS      IN   46227‐3154
MCAFEE, REBECCA           3305 PORTSIDE APT 101                                                                            PORTAGE           IN   46368‐5171
MCAFEE, REBECCA           3305 PORTSIDE CT APT 101                                                                         PORTAGE           IN   46368‐5171
MCAFEE, RHONDA K          930 N 10TH ST                                                                                    GAS CITY          IN   46933‐1319
MCAFEE, RICHARD C         522 RED BEECH DR                                                                                 FLINT             MI   48506‐4595
MCAFEE, RICK E            PO BOX 49275                                                                                     DAYTON            OH   45449‐0275
MCAFEE, ROBERT            CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                CLEVELAND         OH   44115
                          GAROFOLI                          FL
MCAFEE, SADIE M           950 MT HEBRON RD                                                                                 GREENEVILLE       TN   37743‐4161
MCAFEE, SADIE M           950 MOUNT HEBRON RD                                                                              GREENEVILLE       TN   37743‐4161
MCAFEE, SARAH             232 E 23RD DR                                                                                    BURLEY            ID   83318‐3006
MCAFEE, SHARON            457 N 600 W‐90                                                                                   MARKLE            IN   46770
MCAFEE, TIMMY A           930 N 10TH ST                                                                                    GAS CITY          IN   46933‐1319
MCAFEE, WILLIE B          PO BOX 64                                                                                        HILLSBORO         AL   35643‐0064
MCAFEE/SANTA CLARA        2710 WALSH AVE                                                                                   SANTA CLARA       CA   95051‐0963
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Name                               Address1                         Address2                      Address3   Address4         City               State Zip
MCAFOOSE RICHARD D                 MCAFOOSE, RICHARD D              30 E BUTLER AVE                                           AMBLER              PA 19002‐4514
MCAFOOSE, RICHARD D                KIMMEL & SILVERMAN               30 E BUTLER AVE                                           AMBLER              PA 19002‐4514
MCAHREN, DAVID O                   1021 LORRAINE CT                                                                           SHELBYVILLE         IN 46176‐8981
MCAHREN, REGINA
MCALDUFF, MICHELLE                 17 KINGS CT                                                                                MASHPEE            MA   02649‐3446
MCALEAR JAMES                      4110 NE KNOTT ST                                                                           PORTLAND           OR   97212‐2954
MCALEAR MICHAEL                    30414 JACQUELINE PL                                                                        PERRYSBURG         OH   43551
MCALEAR SAWDEN ELEMENTARY SCHOOL   2300 MIDLAND RD                  ATTN LAURA GORDON                                         BAY CITY           MI   48706‐9486

MCALEER JOHN K (429400)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                    STREET, SUITE 600
MCALEER, ADRIAN T                  384 SECRIST LN                                                                             GIRARD             OH 44420‐1111
MCALEER, DENNIS M                  14641 PAUL REVERE LOOP                                                                     NORTH FORT MYERS   FL 33917‐9050
MCALEER, JOHN K                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                    STREET, SUITE 600
MCALEER, KRISTA L                  39 W WARREN ST                                                                             GERMANTOWN         OH   45327‐1040
MCALEER, MATTHEW P                 116 FOREST CREEK DR                                                                        STRUTHERS          OH   44471
MCALEES, MARY B                    356 GOLFVIEW RD APT 508                                                                    NORTH PALM BEACH   FL   33408‐3552
MCALEES, MARY B                    356 GOLFVIEW ROAD APT#508                                                                  NORTH PALM BEACH   FL   33408‐3552
MCALEXANDER, LESTER RAY            FOSTER & SEAR                    360 PLACE OFFICE PARK, 1201                               ARLINGTON          TX   76006
                                                                    NORTH WATSON, SUITE 145
MCALEXANDER, THOMAS E              PO BOX 210014                                                                              ANCHORAGE          AK   99521‐0014
MCALEXANDER, THOMAS EUGENE         PO BOX 210014                                                                              ANCHORAGE          AK   99521‐0014
MCALEY, EUNICE M                   326 W SECOND ST                                                                            DAVISON            MI   48423‐1317
MCALEY, EUNICE M                   326 W 2ND ST                                                                               DAVISON            MI   48423‐1317
MCALEY, ROBERT J                   5471 OREGON TRL                                                                            LAPEER             MI   48446‐8061
MCALHANY, DORIS M                  2624 MERIDIAN STREET                                                                       ANDERSON           IN   46016‐5254
MCALILY JR, GEORGE A               3305 CROSSLAND AVE                                                                         BALTIMORE          MD   21213‐1002
MCALILY, SAMUEL                    2402 E PRESTON ST                                                                          BALTIMORE          MD   21213‐3614
MCALILY, TIMOTHY L                 1207 KEITHMONT RD                                                                          BALTIMORE          MD   21228‐2726
MCALINDEN, THOMAS H                2113 AINSWORTH ST                                                                          FLINT              MI   48532‐3902
MCALINDEN, THOMAS HAROLD           2113 AINSWORTH ST                                                                          FLINT              MI   48532‐3902
MCALINDON, CHRISTOPHER R           12208 FAIRBANKS RD                                                                         LINDEN             MI   48451‐9453
MCALINDON, JOHN J                  1340 N HURON RD                                                                            TAWAS CITY         MI   48763‐9427
MCALINEY, MYLES J                  114 FIELD BROOK LN                                                                         GIBSONIA           PA   15044‐5328
MCALINEY, NANCY L                  114 FIELD BROOK LN                                                                         GIBSONIA           PA   15044
MCALISTER JOHN                     56 HERNDON DR                                                                              EVANSVILLE         IN   47711‐3725
MCALISTER JR, ROBERT D             5398 VASSAR RD                                                                             GRAND BLANC        MI   48439‐9112
MCALISTER'S AUTO REPAIR            3265 PALM BEACH BLVD                                                                       FORT MYERS         FL   33916‐1410
MCALISTER, CAROL L                 603 SILVER LAKE RD                                                                         FENTON             MI   48430‐2620
MCALISTER, CAROL L                 603 W SILVER LAKE RD                                                                       FENTON             MI   48430‐2620
MCALISTER, DALE W                  108 N HARDIN DR                                                                            COLUMBIA           TN   38401‐2060
MCALISTER, DAVID M                 19340 CEDAR WIND CT                                                                        WARRENTON          MO   63383‐4539
MCALISTER, DELORIES J              2710 N ALLIS ST                                                                            KANSAS CITY        KS   66101‐1102
MCALISTER, DELORIES J              2710 NO ALLIS                                                                              KANSAS CITY        KS   66101‐1102
MCALISTER, EMELIE                  804 S 2ND ST                                                                               ODESSA             MO   64076‐1368
MCALISTER, ERIC C                  614 S 73RD ST                                                                              MESA               AZ   85208‐2073
MCALISTER, ERIC C                  11276 AUTUMN BREEZE TRL                                                                    CLIO               MI   48420‐1500
MCALISTER, ERNESTINE               918 GERALD AVE                                                                             BELOIT             WI   53511‐4538
MCALISTER, EVELYN L                5308 S HAMPSHIRE BLVD                                                                      FORT WORTH         TX   76112‐6822
MCALISTER, GARY E                  2717 ALPHA WAY                                                                             FLINT              MI   48506‐1832
MCALISTER, GARY EUGENE             2717 ALPHA WAY                                                                             FLINT              MI   48506‐1832
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Name                                    Address1                          Address2                        Address3     Address4         City               State Zip
MCALISTER, KEVIN M                      3154 PINEGATE DRIVE                                                                             FLUSHING            MI 48433‐2427
MCALISTER, MARGARET                     1703 RIDGELAWN LANE                                                                             ST PETERS           MO 63301
MCALISTER, MARGARET W                   775 EAST GAGE AVENUE                                                                            MEMPHIS             TN 38106‐7513
MCALISTER, MILDRED L                    27 S. BIGGS                                                                                     BELLEVILLE          MI 48111‐3616
MCALISTER, MILDRED L                    27 S BIGGS ST                                                                                   BELLEVILLE          MI 48111‐3616
MCALISTER, RICHARD W                    2723 S WASHINGTON ST                                                                            MARION              IN 46953‐3633
MCALISTER, ROBERT L                     11962 NERO DR                                                                                   FLORISSANT          MO 63033‐6916
MCALISTER, ROSS E                       1041 E DOWNEY AVE                                                                               FLINT               MI 48505‐1601
MCALISTER, SHIRLEY C                    MEADOWBROOK RESIDENTIAL CARE      806 W MULBERRY                  PO BOX 179                    PILOT KNOB          MO 63663
MCALISTER, WILLIAM R                    5360 FLUSHING RD                                                                                FLUSHING            MI 48433‐2550
MCALISTER, YOLANDA K                    2433 WISCONSIN AVE                                                                              FLINT               MI 48506‐3838
MCALISTER, YOLANDA KAY                  2433 WISCONSIN AVE                                                                              FLINT               MI 48506‐3838
MCALISTER‐HENDRIX, BETTY J              2013 CHURCH ST                                                                                  BELOIT              WI 53511‐2928
MCALLEN FOREIGN‐TRADE ZONE              6401 S 33RD ST                                                                                  MCALLEN             TX 78503‐8804
MCALLISTER DANIEL (459194)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK             VA 23510
                                                                          STREET, SUITE 600
MCALLISTER DOROTHY                      5514 ALLEN LN                                                                                   ROWLETT            TX 75088‐7603
MCALLISTER III, WILLIAM B               4598 N RAUCHOLZ RD                                                                              HEMLOCK            MI 48626‐9662
MCALLISTER JAMES (ESTATE OF) (643073)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD         OH 44067
                                                                          PROFESSIONAL BLDG
MCALLISTER JEFFREY J (478159)           WEITZ & LUXENBERG                 180 MAIDEN LANE                                               NEW YORK           NY 10038
MCALLISTER LLOYD                        MCALLISTER, LLOYD                 2325 GRANT BUILDING 310 GRANT                                 PITTSBURGH         PA 15219
                                                                          STREET
MCALLISTER RON                          12266 JOSHUA CT                                                                                 ALLENDALE          MI   49401‐8034
MCALLISTER SANDRA                       559 BOUTELL DR                                                                                  GRAND BLANC        MI   48439‐1533
MCALLISTER TERRY                        MCALLISTER, TERRY                 PO BOX 223                                                    BLAIR              WV   25022‐0223
MCALLISTER THOMAS (459195)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510
                                                                          STREET, SUITE 600
MCALLISTER TIM                          354 STABLESTONE DR                                                                              CHESTERFIELD       MO   63017‐2509
MCALLISTER, ALISON                      49 BROADMOOR DR                                                                                 WABASH             IN   46992‐1319
MCALLISTER, BURNELL A                   2497 ANDERS DR                                                                                  WATERFORD          MI   48329‐4405
MCALLISTER, CARLOTTA                    3349 S FISHMARKET RD                                                                            MCLOUD             OK   74851‐8093
MCALLISTER, CAROLYN F                   1781 NORTHFIELD NW                                                                              WARREN             OH   44485‐4485
MCALLISTER, CHARLES R                   4812 LINCREST DR                                                                                BIRMINGHAM         AL   35222‐4404
MCALLISTER, CHRISTIAN                   5962 BOWEN RD                                                                                   CANAL WINCHESTER   OH   43110‐9620
MCALLISTER, CHRISTIAN T                 5962 BOWEN RD                                                                                   CANAL WINCHESTER   OH   43110‐9620
MCALLISTER, CHRISTOPHER JAMES           4412 W RANDY RD                                                                                 EDINBURGH          IN   46124‐9105
MCALLISTER, CLARENCE N                  965 W BEAMISH RD                                                                                SANFORD            MI   48657‐9419
MCALLISTER, COREY                       APT A                             1302 ANDERSON STREET                                          SAN CLEMENTE       CA   92672‐5792
MCALLISTER, DANIEL                      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510‐2212
                                                                          STREET, SUITE 600
MCALLISTER, DAVID L                     3624 S NEW JERSEY ST                                                                            INDIANAPOLIS       IN   46227‐1220
MCALLISTER, DAVID L                     704 NE LOCUST DR                                                                                BLUE SPRINGS       MO   64014
MCALLISTER, DAVID L                     4696 BIRCHCREST DR                                                                              HOUGHTON LAKE      MI   48629‐9795
MCALLISTER, DAVID LYNN                  3624 S NEW JERSEY ST                                                                            INDIANAPOLIS       IN   46227‐1220
MCALLISTER, DAVID P                     889 FERNWOOD DR                                                                                 LOCKPORT           NY   14094‐9143
MCALLISTER, DEBORAH A                   428 1/2 PARKER ST                                                                               TOLEDO             OH   43605
MCALLISTER, DELORES                     204 SPRINGMILL DR                                                                               MOORESVILLE        IN   46158‐1726
MCALLISTER, DENNIS F                    APT 316                           466 CRESCENT STREET                                           OAKLAND            CA   94610‐2676
MCALLISTER, DONALD C                    296 W RIDGE RD                                                                                  NOTTINGHAM         PA   19362‐9160
MCALLISTER, DORA QUEEN                  3107 BETLOU JAMES PLACE                                                                         BALTIMORE          MD   21207‐5602
MCALLISTER, DOROTHY                     8072 CROSSING DRIVE               APT. B                                                        INDIANAPOLIS       IN   46227
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Name                     Address1                             Address2                            Address3     Address4         City             State Zip
MCALLISTER, ELLA L       1024 MCKINNON AVE                                                                                      ODIEDO            FL 32765‐7032
MCALLISTER, FRANKLIN B   118 CANNERY LN                                                                                         WINFIELD          WV 25213‐9706
MCALLISTER, FRED         PORTER & MALOUF PA                   4670 MCWILLIE DR                                                  JACKSON           MS 39206‐5621
MCALLISTER, FREDDIE J    1313 WESTWOOD DR                                                                                       FLINT             MI 48532‐2662
MCALLISTER, GERALD B     4795 SADDLEBAG LAKE RD                                                                                 WOODLAND          MI 48897‐9657
MCALLISTER, GYNELL W     2722 OLD ATLANTA RD                                                                                    CUMMING           GA 30041‐5600
MCALLISTER, HUGH         27025 OAKWOOD CIR APT 118                                                                              OLMSTED FALLS     OH 44138
MCALLISTER, JAMES        BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD        OH 44067
                                                              PROFESSIONAL BLDG
MCALLISTER, JAMES D      4823 WYCLIFF EAST DR                                                                                   INDIANAPOLIS     IN   46221‐3785
MCALLISTER, JAMES Z      5034 QUEENS AVE                                                                                        SAINT LOUIS      MO   63115‐1341
MCALLISTER, JEFFREY J    WEITZ & LUXENBERG                    180 MAIDEN LANE                                                   NEW YORK         NY   10038
MCALLISTER, JENNIFER J   APT 1079                             7400 W ARROWHEAD CLUBHOUSE                                        GLENDALE         AZ   85308‐8820
                                                              DR
MCALLISTER, JOE E        2218 S LINDA DR                                                                                        BELLBROOK        OH   45305‐1532
MCALLISTER, JOE E        2218 SOUTH LINDA DR S                                                                                  BELLBROOK        OH   45305‐5305
MCALLISTER, JUSTIN D     9622 SOUTHWEST 55TH AVENUE                                                                             PORTLAND         OR   97219‐5053
MCALLISTER, KAREN J      2424 PEALE DR                                                                                          SAGINAW          MI   48602‐3464
MCALLISTER, KATHY L      699 PLANTATION DR                                                                                      SAGINAW          MI   48638‐7162
MCALLISTER, LARRY S      222 ALLWORTHY ST                                                                                       PORT CHARLOTTE   FL   33954‐2433
MCALLISTER, LAWANDA J    408 ANDERSON AVE                                                                                       COLUMBIA         TN   38401‐4503
MCALLISTER, LEWIS H      25894 HUNTER GATE RD                                                                                   LESTER           AL   35647
MCALLISTER, LINDA K      5085 SULLIVANT AVE                                                                                     COLUMBUS         OH   43228
MCALLISTER, MARIE        1132 URANA AVE                                                                                         COLUMBUS         OH   43224‐3335
MCALLISTER, MARIE        1132 URANA AVE.                                                                                        COLUMBUS         OH   43224‐3335
MCALLISTER, MARK C       14550 WINCHESTER RD                                                                                    ASHVILLE         OH   43103‐9421
MCALLISTER, MARVIN K     7129 OLD MORGANTOWN RD                                                                                 MARTINSVILLE     IN   46151‐7194
MCALLISTER, MARY A       5651 SILVER RIDGE DR                                                                                   STONE MTN        GA   30087‐2319
MCALLISTER, MARY MAE     32 WETZEL CIR APT B                                                                                    CLINTON          MO   64735‐3403
MCALLISTER, MARY MAE     32 B WETZEL CIRCLE                                                                                     CLINTON          MO   64735‐3403
MCALLISTER, MARY P       21443 TIMBERIDGE                                                                                       ST CLAIR SHRS    MI   48082‐2258
MCALLISTER, MELISSA A    7722 MONTCLAIR DR                                                                                      FORT WAYNE       IN   46804‐3531
MCALLISTER, NADINE C     460 THOMAS CT                                                                                          GRAND BLANC      MI   48439‐1525
MCALLISTER, PAUL         5365 SAMPSON DR                                                                                        GIRARD           OH   44420‐3504
MCALLISTER, PEARL B      2715 WOODRING DRIVE                                                                                    CLEARWATER       FL   33759‐1739
MCALLISTER, RICHARD W    123 COLEMAN RD                                                                                         DECATUR          TN   37322‐8249
MCALLISTER, ROBERT       34110 OAKLAND ST                                                                                       FARMINGTON       MI   48335‐3451
MCALLISTER, ROBERT W     5331 N JENNINGS RD                                                                                     FLINT            MI   48504‐1119
MCALLISTER, SAMUEL M     460 THOMAS CT                                                                                          GRAND BLANC      MI   48439‐1525
MCALLISTER, SANDRA K     3958 PORTAGE LAKE RD                                                                                   MUNITH           MI   49259‐9628
MCALLISTER, STANLEY D    8940 MONROE RD APT F4                                                                                  DURAND           MI   48429‐1082
MCALLISTER, STANLEY D    8940 E MONROE RD                     APT F4                                                            DURAND           MI   48429
MCALLISTER, TERRY        PO BOX 223                                                                                             BLAIR            WV   25022‐0223
MCALLISTER, TERRY        C/O NATIONWIDE PROPERTY & CASUALTY   ATTN: LYNN ELLIS                    PO BOX 730                    LIVERPOOL        NY   13088‐0730
                         INSURANCE CO.
MCALLISTER, THOMAS       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA 23510‐2212
                                                              STREET, SUITE 600
MCALLISTER, TOMMIE L     1492 W HUNTSVILLE RD                                                                                   PENDLETON        IN 46064‐9170
MCALLISTER, WILBUR T     4129 S COUNTY ROAD 700 W                                                                               GREENCASTLE      IN 46135‐8259
MCALLISTER, WILLIAM      WILENTZ GOLDMAN & SPITZER            88 PINE STREET, WALL STREET PLAZA                                 NEW YORK         NY 10005

MCALLISTER, WILLIAM D    1059 RICHLAND RD                                                                                       BLAINE           TN 37709‐2026
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Name                          Address1                            Address2                            Address3                    Address4           City            State Zip
MCALLISTER, WILLIAM E         C/O LYNNE KIZIS, ESQ                WILENTZ, GOLDMAND, & SPITZER        90 WOODBRIDGE CENTER                           WOODBRIDGE       NJ 07095
                                                                                                      DRIVE
MCALLISTER, WILLIAM K         35416 KENSINGTON AVE                                                                                                   STERLING HTS    MI   48312‐3774
MCALLISTER, WILLIE J          2650 WREFORD ST                                                                                                        DETROIT         MI   48208‐1133
MCALLISTER, ZEEDIE L          14191 N CLIO RD                                                                                                        CLIO            MI   48420‐8804
MCALLISTER, ZEEDIE LEE        14191 N CLIO RD                                                                                                        CLIO            MI   48420‐8804
MCALPHINE & ASSOCIATES, INC   ATT: MCALPHINE & ASSOCIATES, INC    BRENCAL CONTRACTORS, INC, MCM 3201 UNIVERSITY DR., SUITE                           AUBURN HILLS,   MI   48326
                                                                  MANAGEMENT CORP, INC.         100
MCALPIN GARY W (355553)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                        NORFOLK         VA 23510
                                                                  STREET, SUITE 600
MCALPIN IND/ROCHESTE          255 HOLLENBECK ST                                                                                                      ROCHESTER       NY   14621‐3257
MCALPIN INDUSTRIES            255 HOLLENBECK ST                                                                                                      ROCHESTER       NY   14621‐3257
MCALPIN INDUSTRIES INC                                            255 HOLLENBECK STREET                                                                              NY   14621
MCALPIN, DAISY H              1201 W 19TH ST APT C101                                                                                                HIGGINSVILLE    MO   64037‐1481
MCALPIN, GARY W               GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                        NORFOLK         VA   23510‐2212
                                                                  STREET, SUITE 600
MCALPIN, MARK W               411 S WESTERN AVE                                                                                                      KOKOMO          IN 46901
MCALPINE & ASSOCIATES, P.C    ATTN: MATTHEW D. NOVELLO            3201 UNIVERSITY DRIVE , SUITE 100                                                  AUBURN HILLS    MI 48326

MCALPINE & ASSOCIATES, P.C.   ATTY FOR MCM MANAGEMENT CORP        ATTN DAVID M. ZACK                  3201 UNIVERSITY DRIVE, SUITE                   AUBURN HILLS    MI 48326
                                                                                                      100
MCALPINE & ASSOCIATES, P.C.   ATTY FOR MCM MANAGEMENT CORP, INC. ATTN: DON W. BLEVINS                 3201 UNIVERSITY DRIVE        SUITE 100         AUBURN HILLS    MI 48326

MCALPINE & ASSOCIATES, P.C.   MARK L. MCALPINE, P.C.              3201 UNIVERSITY DRIVE. SUITE 100                                                   AUBURN HILLS    MI 48326

MCALPINE & ASSOCIATES, P.C.   DON W. BELVINS                      3201 UNIVERSITY DR, SUITE 100                                                      AUBURN HILLS    MI   48326
MCALPINE BRIAN                MCALPINE, BRIAN                     5901 CEDAR LAKE RD S                                                               MINNEAPOLIS     MN   55416‐1488
MCALPINE BRIAN                MCALPINE, PAULA                     5901 CEDAR LAKE RD S                                                               MINNEAPOLIS     MN   55416‐1488
MCALPINE, AUBREY T            814 N BROADWAY ST                                                                                                      DAYTON          OH   45402‐5402
MCALPINE, DAVID E             5164 BELSAY ROAD                                                                                                       GRAND BLANC     MI   48439‐9180
MCALPINE, DENNIS J            17222 SHARON RD                                                                                                        CHESANING       MI   48616‐9567
MCALPINE, DENNIS JAMES        17222 SHARON RD                                                                                                        CHESANING       MI   48616‐9567
MCALPINE, DOLORES             PO BOX 184                                                                                                             OWENDALE        MI   48754‐0184
MCALPINE, DOLORES             P.O. BOX 184 7371 MILL ST                                                                                              OWENDALE        MI   48754‐0184
MCALPINE, DONALD D            2134 DIXON RD                                                                                                          CARO            MI   48723‐9606
MCALPINE, EUNICE J            814 N BROADWAY ST                                                                                                      DAYTON          OH   45402‐6247
MCALPINE, GARY M              PO BOX 222                                                                                                             NOTTAWA         MI   49075‐0222
MCALPINE, GEORGE W            6460 WAYWIND DR                                                                                                        TROTWOOD        OH   45426‐1114
MCALPINE, JAMES B             4526 THOMPSON AVE.                                                                                                     SEABRING        FL   33875‐4826
MCALPINE, JOHN                814 N BROADWAY ST                                                                                                      DAYTON          OH   45402‐6247
MCALPINE, LORI L              21 PAYNE LN                                                                                                            ALTOONA         AL   35952
MCALPINE, PAULINE             1865 WELLS RD APT 213                                                                                                  ORANGE PARK     FL   32073
MCALPINE, PEGGY P             8195 HIGHWAY 179                                                                                                       BOAZ            AL   35956
MCALPINE, ROBERT D            6737 PLAIN RD                                                                                                          SILVERWOOD      MI   48760‐9719
MCALPINE, ROBERT S            2358 BROWNING DR                                                                                                       LAKE ORION      MI   48360‐1806
MCALPINE, SCOTTY DEWAYNE      13 WHITE OAK VLG                                                                                                       RAINBOW CITY    AL   35906‐6732
MCALPINE, STEVEN W            7060 W JASON RD                                                                                                        SAINT JOHNS     MI   48879‐8216
MCALPINE, STEVEN WAYNE        7060 W JASON RD                                                                                                        SAINT JOHNS     MI   48879‐8216
MCALVEY, EVA E                15850 NORTHWARD DR                                                                                                     LANSING         MI   48906‐1426
MCALVEY, STEWART R            2090 HAMILTON ST                                                                                                       HOLT            MI   48842‐1337
MCAMIS, BERNICE               650 N PINEGROVE AVE                                                                                                    WATERFORD       MI   48327‐2202
MCAMIS, BERNICE               650 N PINE GROVE                                                                                                       WATERFORD       MI   48327‐2202
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Name                                 Address1                          Address2                         Address3   Address4         City            State Zip
MCAMMOND, ANNETTE                    33 MELODY AVENUE                                                                               BRICK            NJ 08724‐8118
MCANALLY, KENNETH R                  692 HILL COUNTY ROAD 1123                                                                      RIO VISTA        TX 76093‐4000
MCANALLY, MERLE J                    277 MAIN ST                                                                                    NETTLETON        MS 38858‐6013
MCANANY VAN CLEAVE & PHILLIPS PA     707 MINNESOTA AVE                 4TH FL SECURITY NATL BANK BLDG                               KANSAS CITY      KS 66101‐2703

MCANANY, GARY G                      12560 N BUDD RD                                                                                BURT            MI   48417‐9421
MCANANY, MARY A                      12560 N BUDD RD                                                                                BURT            MI   48417‐9421
MCANDLE DARRIN                       64‐10 77ST                                                                                     NEW YORK        NY   11379
MCANDREW GEORGE (446161)             BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD      OH   44067
                                                                       PROFESSIONAL BLDG
MCANDREW III, RICHARD B              7429 NW DONOVAN DR APT 1024                                                                    KANSAS CITY     MO   64153‐2472
MCANDREW THOMAS                      KIMMEL & SILVERMAN PC             30 EAST BUTLER PIKE, SUITE 310                               AMBLER          PA   19002
MCANDREW THOMAS                      30 EAST BUTLER PIKE , SUITE 310                                                                AMBLER          PA   19002
MCANDREW, GEORGE                     BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                 NORTHFIELD      OH   44067
                                                                       PROFESSIONAL BLDG
MCANDREW, RICHARD B                  1209 NW 73RD TER                                                                               KANSAS CITY     MO   64118‐8414
MCANDREW, RICHARD BERNARD            1209 NW 73RD TER                                                                               KANSAS CITY     MO   64118‐8414
MCANDREWS HELD AND MALLOY LTD        500 W MADISON 34TH FL                                                                          CHICAGO         IL   60661
MCANDREWS JAMES R (429401)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK         VA   23510
                                                                       STREET, SUITE 600
MCANDREWS, JAMES R                   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK         VA 23510‐2212
                                                                       STREET, SUITE 600
MCANDREWS, JUSTIN T                  2823 S 27TH ST                                                                                 SAINT JOSEPH    MO   64503‐1161
MCANDREWS, JUSTIN TODD               2823 S 27TH ST                                                                                 SAINT JOSEPH    MO   64503‐1161
MCANDREWS, WILLIAM G                 3016 FM 2199 S                                                                                 MARSHALL        TX   75672‐3145
MCANDREWS, WILLIAM GUY               3016 FM 2199 S                                                                                 MARSHALL        TX   75672‐3145
MCANDREWS‐KING PONTIAC, BUICK, GMC   224 COLUMBIA ST                                                                                ADAMS           MA   01220‐1312

MCANDREWS‐KING PONTIAC, BUICK, GMC   224 COLUMBIA ST                                                                                ADAMS           MA 01220‐1312
TRUCK,INC.
MCANDREWS‐KING PONTIAC, BUICK, GMC   RICHARD KING                      224 COLUMBIA ST                                              ADAMS           MA 01220‐1312
TRUCK,INC.
MCANICH CORP                                                           4001 DELAWARE AVE                                                            IA   50313
MCANINCH, BILLY L                    8499 M‐71 LOT 206                                                                              DURAND          MI   48429
MCANINCH, DAVID M                    7150 OAKBAY DR                                                                                 NOBLESVILLE     IN   46062‐9760
MCANINCH, E W                        2604 SAINT LOUIS DR                                                                            KOKOMO          IN   46902‐5980
MCANINCH, ERIC T                     9328 W 49TH ST                                                                                 MERRIAM         KS   66203‐1736
MCANINCH, GARY L                     282 HONEY CREEK LN                                                                             RUTLEDGE        TN   37861‐4803
MCANINCH, JOHN W                     5029 W 1100 S                                                                                  AMBOY           IN   46911
MCANINCH, JUDITH K                   1001 HAMMOCK RD                                                                                SEBRING         FL   33872‐4220
MCANINCH, KEITH A                    3010 E 400 S                                                                                   BRINGHURST      IN   46913‐9570
MCANINCH, M B                        1500 NORTH 3RD                                                                                 LOGANSPORT      IN   46947
MCANINCH, MARGARET L                 5111 SAUNDERS SETTLEMENT RD                                                                    NIAGARA FALLS   NY   14305‐1421
MCANINCH, MARY E                     605 S BELL ST APT 710                                                                          KOKOMO          IN   46901‐5567
MCANINCH, MARY J                     3010 E 400 S                                                                                   BRINGHURST      IN   46913‐9570
MCANINCH, ROBERT E                   1001 HAMMOCK RD                                                                                SEBRING         FL   33872‐4220
MCANINCH, TIMOTHY B                  4909 CUNOT CATARACT RD                                                                         POLAND          IN   47868‐7209
MCANINCH, TIMOTHY BRIAN              4909 CUNOT CATARACT RD                                                                         POLAND          IN   47868‐7209
MCANINCH, VERNETA                    4939 ANTIOCH RD                                                                                SHAWNEE         KS   66203‐1363
MCANINCH, VIRGINIA A                 1727 W 32ND ST                                                                                 MARION          IN   46953‐3435
MCANINCH, WILLIAM L                  2008 NORWICH PL                                                                                YUKON           OK   73099‐7825
MCANLIS, BRIAN C                     2635 ENON RD                                                                                   ENON VALLEY     PA   16120‐1447
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Name                                Address1                          Address2                    Address3   Address4         City               State Zip
MCANNALLY, JAMES E                  268 LINCOLN RD                                                                            ONEONTA             AL 35121‐4314
MCANULTY CHARLES (630848)           PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                  PHILADELPHIA        PA 19103‐5446
MCANULTY, CHARLES                   PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                  PHILADELPHIA        PA 19103‐5446
MCANULTY, DARRELL G                 6153 S 775 E                                                                              LADOGA              IN 47954‐7282
MCANULTY, ELMER K                   412 ETON DR                                                                               DOTHAN              AL 36305‐6340
MCANULTY, ROBERT D                  6553 S 1100 W                                                                             JAMESTOWN           IN 46147‐9779
MCARA, KEITH J                      3813 SHAWNEE AVE                                                                          FLINT               MI 48507‐2873
MCARDLE DESCO CORP                  7 E COMMONS BLVD                  ADDRESS CHANGE 9/29/93                                  NEW CASTLE          DE 19720‐1734
MCARDLE PONTIAC‐CADILLAC, INC.      THOMAS MCARDLE                    2400 N SAGINAW RD                                       MIDLAND             MI 48640‐2632
MCARDLE PONTIAC‐CADILLAC‐GMC TRUCK, 2400 N SAGINAW RD                                                                         MIDLAND             MI 48640‐2632

MCARDLE PONTIAC‐CADILLAC‐GMC TRUCK, 2400 N SAGINAW RD                                                                         MIDLAND            MI 48640‐2632
INC.
MCARDLE, CAROL A                    9 ROGERS ST                                                                               MILLBURY           MA   01527‐1515
MCARDLE, DAWN                       28662 WESTERLEIGH RD                                                                      FARMINGTON HILLS   MI   48334‐2777
MCARDLE, JAMES F                    11518 SHEFFIELD RD                                                                        SPRING HILL        FL   34608‐2266
MCARDLE, JOHN J                     5700 VIA REAL UNIT 8                                                                      CARPINTERIA        CA   93013‐2613
MCARDLE, JOHN J                     5700 VIA REAL #8                                                                          CARPINTERIA        CA   93013‐2613
MCARDLE, KENNETH L                  1195 MADRIGAL DR                                                                          MESQUITE           NV   89027‐6766
MCARDLE, MICHAEL                    28662 WESTERLEIGH RD                                                                      FARMINGTON HILLS   MI   48334‐2777
MCARN, AGNES                        2735 N GARDEN AVE                 AMBELY VILLAGE UNIT 52                                  GARLAND            TX   75040
MCART, JAMES L                      280 HEMLOCK LN                                                                            MARYSVILLE         MI   48040
MCARTHER TURNER                     2718 S OUTER DR                                                                           SAGINAW            MI   48601‐6650
MCARTHOR LYONS                      3220 E FRANCES RD                                                                         CLIO               MI   48420‐9760
MCARTHUR BROWN                      17615 HOOVER ST                                                                           DETROIT            MI   48205‐3115
MCARTHUR CHAMBERLIN                 PO BOX 2023                                                                               ANDERSON           IN   46018‐2023
MCARTHUR DOUGLAS                    1505 HARVEST LN                                                                           YPSILANTI          MI   48198‐3316
MCARTHUR HILL                       4408 IVYWOOD DR                                                                           ROCK HILL          SC   29732‐8532
MCARTHUR HOLLIS                     540 BROOKVIEW CT APT 101                                                                  AUBURN HILLS       MI   48326‐4505
MCARTHUR HOLMES SR                  C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                               HOUSTON            TX   77007
                                    BOUNDAS LLP
MCARTHUR HOOKER                     1526 VANCOUVER DR                                                                         DAYTON             OH   45406‐4748
MCARTHUR JONES                      2538 GLENCREST DR                                                                         FORT WORTH         TX   76119‐4612
MCARTHUR JR, JERRY W                21243 POLLY CIRCLE                                                                        LAKE VIEW          AL   35111‐1934
MCARTHUR JR, JERRY WADE             21243 POLLY CIRCLE                                                                        LAKE VIEW          AL   35111‐1934
MCARTHUR KATHRYN                    690 WILDLIFE LAKE RD                                                                      REIDSVILLE         NC   27320‐9714
MCARTHUR LAYNE                      5500 BRIGHAM RD                                                                           GOODRICH           MI   48438‐8902
MCARTHUR MEGAN                      MCARTHUR, MEGAN                   1423 W GEORGE ST # 1                                    CHICAGO            IL   60657‐4103
MCARTHUR ROGERS                     2512 BEACHVIEW DR                                                                         ALBANY             GA   31705‐1034
MCARTHUR STEWART                    129 W HILDALE                                                                             DETROIT            MI   48203‐4560
MCARTHUR STEWART                    95 COURT ST                                                                               PONTIAC            MI   48342‐2507
MCARTHUR THOMAS                     C/O WEITZ & LUXENBERG             700 BROADWAY                                            NEW YORK           NY   10003
MCARTHUR TURNER                     2802 LINCOLN AVE                                                                          SAGINAW            MI   48601‐3732
MCARTHUR, BRIAN K                   406 MOHERMAN AVE                                                                          YOUNGSTOWN         OH   44509‐1844
MCARTHUR, BRIAN KEITH               406 MOHERMAN AVE                                                                          YOUNGSTOWN         OH   44509‐1844
MCARTHUR, DAVID A                   9482 N SAINT HELEN RD                                                                     SAINT HELEN        MI   48656‐9775
MCARTHUR, DIANE K                   4193 KEENE DR                                                                             GRAND BLANC        MI   48439‐7906
MCARTHUR, DOROTHY M                 6680 MALLARD CT                                                                           ORIENT             OH   43146‐9214
MCARTHUR, ELLEN M                   260 THORNCLIFF ROAD                                                                       KENMORE            NY   14223
MCARTHUR, EVERETT J                 2151 HACIENDA CT                                                                          GRAND PRAIRIE      TX   75052‐8844
MCARTHUR, EVERETT WILLIE            C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                     LITTLE ROCK        AR   72201
MCARTHUR, EVERETT WILLIE            C/O MOODY                         801 WEST FOURTH ST                                      LITTLE ROCK        AR   72201
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Name                         Address1                         Address2                        Address3   Address4         City                State Zip
MCARTHUR, FINLEY
MCARTHUR, GREGORY L          4329 BRIGHTON DR                                                                             GRAND BLANC         MI    48439‐8086
MCARTHUR, HAROLD H           PO BOX 379                                                                                   PEMBERVILLE         OH    43450‐0379
MCARTHUR, HAROLD HUGH        PO BOX 379                                                                                   PEMBERVILLE         OH    43450‐0379
MCARTHUR, HAZEL M            5507 GREENWICH DR                                                                            ARLINGTON           TX    76018‐2331
MCARTHUR, JANET K            5731 W 18TH ST                                                                               SPEEDWAY            IN    46224‐5314
MCARTHUR, JEAN T             4329 BRIGHTON DR                                                                             GRAND BLANC         MI    48439‐8086
MCARTHUR, JIMMIE M           6628 BROOKSHIRE TRL                                                                          N. RICHARD HILLS    TX    76180‐4412
MCARTHUR, JOHN T             19226 YACAMA RD                                                                              DETROIT             MI    48203‐1616
MCARTHUR, LARRY E            6680 MALLARD CT                                                                              ORIENT              OH    43146‐9214
MCARTHUR, MARJORIE D         2500 ROYCE RD APT 44                                                                         TOLEDO              OH    43615
MCARTHUR, MAXINE L           2063 S TERM ST                                                                               BURTON              MI    48519‐1026
MCARTHUR, MAXINE L           2063 S. TERM                                                                                 BURTON              MI    48519‐1026
MCARTHUR, MEGAN              1301 W FLETCHER ST APT 125                                                                   CHICAGO             IL    60657‐3252
MCARTHUR, MICHAEL L          6136 ELAINE ST                                                                               SPEEDWAY            IN    46224‐3035
MCARTHUR, MICHAEL N          3898 MUCK RD                                                                                 CARO                MI    48723‐9425
MCARTHUR, MICHAEL N          320 OAK SUMMIT RD                                                                            WINSTON SALEM       NC    27105
MCARTHUR, NORMA E            6029 ROLTON CT                                                                               WATERFORD           MI    48329‐1435
MCARTHUR, RICHARD L          1021 S. STATE ROAD                                                                           DAVISON             MI    48423
MCARTHUR, RUSSELL H          9109 E LIPPINCOTT BLVD                                                                       DAVISON             MI    48423‐8329
MCARTHUR, SAUNDRA D          103 MULBERRY ST                                                                              PICKERINGTON        OH    43147‐7939
MCARTHUR, SHERRI L           9222 TIMBERLINE CT                                                                           GRAND BLANC         MI    48439
MCARTHUR, THOMAS D           239 CHURCHILL DR                                                                             LYNCHBURG           VA    24502‐3995
MCARTHUR, TIMOTHY D          4581 SOUTH HARRISON ROAD                                                                     HOUGHTON LAKE       MI    48629‐9250
MCARTHUR, WALLACE            318 W 70TH ST                                                                                JACKSONVILLE        FL    32208‐3810
MCARTHUR, WILLIAM            3622 ASHLEY EST SE                                                                           MARIETTA            GA    30067‐4321
MCARTHUR, WILLIAM E          1514 WEBBER AVE                                                                              BURTON              MI    48529‐2038
MCARTY, WILBUR               BARON & BUDD                     PLAZA SOUTH TWO ‐ SUITE 200 ‐                               CLEVELAND           OH    44130
                                                              7261 ENGLE ROAD
MCASHLAN, GREG F             2748 NEW PORT ROYAL RD                                                                       THOMPSONS STATION   TN    37179‐5299
MCASKILL, BRUCE A            4000 SHOREHAM DR                                                                             JACKSON             MI    49201‐9054
MCATAMNEY, KEVIN P           501 AARONS WAY                                                                               ORTONVILLE          MI    48462‐8561
MCATEE, ANDREW S             5895 ANNANHILL CT                                                                            AVON                IN    46123‐8243
MCATEE, CHRISTOPHER D        4945 PLANTATION ST                                                                           ANDERSON            IN    46013‐2896
MCATEE, CHRISTOPHER DONALD   4945 PLANTATION ST                                                                           ANDERSON            IN    46013‐2896
MCATEE, DONALD J             715 VIEWPOINT DR                                                                             PLAINFIELD          IN    46168‐1086
MCATEE, HILDA C              1327 W 2ND ST                                                                                ANDERSON            IN    46016‐2437
MCATEE, JOELLA A             715 VIEWPOINT DR                                                                             PLAINFIELD          IN    46168‐1086
MCATEE, JOELLA ANN           715 VIEWPOINT DR                                                                             PLAINFIELD          IN    46168‐1086
MCATEE, JOSEPH D             5520 W 15TH ST                                                                               SPEEDWAY            IN    46224‐6427
MCATEE, JR.,CLINTON H        1929 PEACH TREE AVE                                                                          DAYTON              OH    45406‐3224
MCATEE, KENNETH E            292 W 500 S                                                                                  ANDERSON            IN    46013‐5404
MCATEE, LINDA D              292 W 500 S                                                                                  ANDERSON            IN    46013‐5404
MCATEE, PHILIP               772 GREEN WOOD DRIVE                                                                         ROGERSON            ID    83302
MCATEE, ROSEMARIE            6670 SEVILLE DR UNIT 4                                                                       CANFIELD            OH    44406‐8129
MCATEE, TIM                  21 LORD EDWARD CT                                                                            O FALLON            MO    63366‐7911
MCATEE, VIRGIE D             1929 PEACH TREE AVE                                                                          DAYTON              OH    45406‐3224
MCATEE, WALTER B             225 HAMILTON ST                                                                              BROWNSBURG          IN    46112‐1671
MCATEER DENIS P              MCATEER, DENIS P                 200 MIDWAY PARK DRIVE                                       MIDDLETOWN          NY    10940
MCATEER SYBLE WARD           C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                         LITTLE ROCK         AR    72201
MCATEER, DENIS P             SCALI, JOSEPH G                  200 MIDWAY PARK DRIVE                                       MIDDLETON           NY    10940
MCATEER, JEAN J              5457 FROLONA RD                                                                              FRANKLIN            GA    30217‐4632
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Name                       Address1                        Address2                        Address3   Address4         City            State Zip
MCATEER, KATHRYN D         1081 SCENIC VIEW DR                                                                         SCHWENKSVILLE    PA 19473‐2078
MCATEER, SYBLE             MOODY EDWARD O                  801 W 4TH ST                                                LITTLE ROCK      AR 72201‐2107
MCATTEE, ALAN S            6414 COULSON CT                                                                             LANSING          MI 48911‐5631
MCATTEE, BRUCE G           13151 ADDINGTON DR                                                                          DEWITT           MI 48820‐8186
MCAUDY, FRANK              9620 N MARKS RD                                                                             COLUMBIA STA     OH 44028‐9680
MCAULAY, FRANCES M         5173 WORCHESTER DR                                                                          SWARTZ CREEK     MI 48473‐1267
MCAULEY SETON HOME C       2875 UNION RD STE 14                                                                        CHEEKTOWAGA      NY 14227‐1461
MCAULEY, JEAN E            23209 KIMMORE TER                                                                           VALENCIA         CA 91355‐3084
MCAULEY, NINA J            5033 COUNTRY VIEW DR                                                                        IMPERIAL         MO 63052
MCAULIFFE, ANNA M          8397 BALDWIN RD                                                                             GOODRICH         MI 48438‐9429
MCAULIFFE, DANIEL J        2323 SLEEPY OAKS CIR APT 2403                                                               ARLINGTON        TX 76011
MCAULIFFE, DANIEL JON      2323 SLEEPY OAKS CIR APT 2403                                                               ARLINGTON        TX 76011
MCAULIFFE, LAWRENCE J      2209 BRANDON LANE SOUTHWEST                                                                 CONYERS          GA 30094‐5084
MCAULIFFE, MICHAEL H       PO BOX 680536                                                                               FRANKLIN         TN 37068‐0536
MCAULIFFE, PHYLLIS J       37 CLEMSON RD                                                                               PARLIN           NJ 08859‐1205
MCAULIFFE, THOMAS B        PO BOX 320162                                                                               FLINT            MI 48532‐0003
MCAULIFFE, TIMOTHY J       3524 LOWER BETHANY ROAD                                                                     BALL GROUND      GA 30107‐3646
MCAULIFFE, TIMOTHY J       3524 LOWER BETHANY RD                                                                       BALL GROUND      GA 30107‐3546
MCAVITY, MAXINE R          7 LITTLE BROOK RD                                                                           NORWALK          CT 06853‐1038
MCAVOY GLORIA              6300 POWERS FERRY ROAD NW                                                                   ATLANTA          GA 30339
MCAVOY JENNINGS (446163)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                           PROFESSIONAL BLDG
MCAVOY JR., MICHAEL J      27549 GILSON RD                                                                             SALEM           OH   44460‐9540
MCAVOY THOMAS B            351 DRUMMERS LN                                                                             PHOENIXVILLE    PA   19460‐5622
MCAVOY, ALFRED E           9003 RIDGE RD                                                                               GASPORT         NY   14067‐9412
MCAVOY, DENNIS L           9533 BRADEN RD                                                                              HASLETT         MI   48840‐9215
MCAVOY, DENNIS LAVERN      9533 BRADEN RD                                                                              HASLETT         MI   48840‐9215
MCAVOY, HARRY F            4487 HERMAN AVE SW                                                                          WYOMING         MI   49509‐5135
MCAVOY, JAMES E            237 MIMOSA DR                                                                               COLBERT         GA   30628‐3566
MCAVOY, JAMES T            16431 BELL CREEK LN                                                                         LIVONIA         MI   48154‐2936
MCAVOY, JAMES THOMAS       16431 BELL CREEK LN                                                                         LIVONIA         MI   48154‐2936
MCAVOY, ROBERT E           1114 LYNN ST                                                                                OWOSSO          MI   48867‐2513
MCAVOY, ROSS W             13345 WENWOOD DR                                                                            FENTON          MI   48430‐1162
MCAVOY, SHARON E           9003 RIDGE RD                                                                               GASPORT         NY   14067‐9412
MCAVOY, VIRGINIA M         3590 BYRD DR                                                                                STERLING HTS    MI   48310‐6108
MCBAIN I I I, JOHN A       2612 PRELUDE PATH                                                                           DAYTON          OH   45449‐3356
MCBAIN, JOHN               13613 N BUCCANEER WAY                                                                       SUN CITY        AZ   85351‐2733
MCBAIN, LINDEN A           9850 SW 27TH AVE                                                                            OCALA           FL   34476‐7516
MCBAIN, MARY M             13613 N BUCCANEER WAY                                                                       SUN CITY        AZ   85351‐2733
MCBAIN, SAUNDRA K          6355 OLD RIVER TRL                                                                          LANSING         MI   48917‐8648
MCBAINE JR JOHN W          14221 JOEL CT                                                                               LARGO           FL   33774‐5108
MCBAINE JR, JOHN W         14221 JOEL CT                                                                               LARGO           FL   33774‐5108
MCBAINE, RONALD W          211 N 1ST ST                                                                                CHESANING       MI   48616
MCBAINE, RONALD WILLARD    211 N 1ST ST                                                                                CHESANING       MI   48616
MCBANE, DAISY S            5810 S 50 W                                                                                 ATLANTA         IN   46031‐9566
MCBANE, DANIEL J           230 HICKORY FARMS DR                                                                        HAWK POINT      MO   63349‐2338
MCBANE, JOSEPH A           PO BOX 58                                                                                   ATLANTA         IN   46031‐0058
MCBANE, JULIUS D           5810 S 50 W                                                                                 ATLANTA         IN   46031‐9566
MCBANE, SIDNEY B           1189 EDGEWOOD ST NE                                                                         WARREN          OH   44483‐4115
MCBANE, WILFORD E          1401 SW 133RD ST                                                                            OKLAHOMA CITY   OK   73170‐5033
MCBARNES, JOANN M          150 SARATOGA WAY                                                                            ANDERSON        IN   46013‐4770
MCBARNES, RICHARD W        150 SARATOGA WAY                                                                            ANDERSON        IN   46013‐4770
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Name                         Address1                        Address2                        Address3   Address4         City             State Zip
MCBATH JAMES                 UNIT 2005                       651 BERING DRIVE                                            HOUSTON           TX 77057‐2191
MCBAY, PAULA F               13120 SAILBOAT DR                                                                           HUDSON            FL 34667‐6454
MCBEAN, BARBARA J            11352 CANAL RD                                                                              STERLING HTS      MI 48314‐1513
MCBEAN, DONNA                3148 WALTON AVE                                                                             FLINT             MI 48504‐4253
MCBEAN, NORMA A              13377 DUFFIELD RD                                                                           MONTROSE          MI 48457‐9706
MCBEAN, STEPHEN              4544 CINCO DR SW                                                                            LILBURN           GA 30047‐4306
MCBEATH‐COSTNER, LORETTA J   P.O BOX 515                                                                                 GALVA             KS 67443‐0515
MCBEE FARRIS L (439309)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510
                                                             STREET, SUITE 600
MCBEE MIKE                   4159 S 88TH EAST AVE                                                                        TULSA            OK   74145‐3330
MCBEE, BETTY M               2104 N DIXON ROAD                                                                           KOKOMO           IN   46901‐1732
MCBEE, BETTY M               2104 N DIXON RD                                                                             KOKOMO           IN   46901‐1732
MCBEE, BONNIE F              2095 SO PARENT                                                                              WESTLAND         MI   48186
MCBEE, CAREY D               420 SAINT MARYS AVE                                                                         MONROE           MI   48162‐2749
MCBEE, DALE E                413 DANGERFIELD DRIVE                                                                       BEECH GROVE      IN   46107‐2559
MCBEE, ELMORE                PO BOX 513                                                                                  WENTZVILLE       MO   63385‐0513
MCBEE, FARRIS L              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA   23510‐2212
                                                             STREET, SUITE 600
MCBEE, HERBERT B             P.O.BOX 314 24 W. WALNUT ST                                                                 PHILLIPSBURG     OH   45354‐0314
MCBEE, HERBERT B             PO BOX 314                                                                                  PHILLIPSBURG     OH   45354‐0314
MCBEE, JUDITH                413 DANGERFIELD DR                                                                          BEECH GROVE      IN   46107‐2559
MCBEE, KATHLEEN              2008 OAK ST                                                                                 CHATTANOOGA      TN   37404‐2634
MCBEE, KATHLEEN S            4123 S 580 W                                                                                RUSSIAVILLE      IN   46979‐9797
MCBEE, LARRY                 4276 HAMILTON PRINCETON RD                                                                  HAMILTON         OH   45011
MCBEE, LEONARD R             2104 N DIXON RD                                                                             KOKOMO           IN   46901‐1732
MCBEE, MARSHA P              430 LAKE VIEW LN                                                                            PALM BAY         FL   32909‐7125
MCBEE, MARY R                425 ARTHUR RD.                                                                              CUMBERLAND GAP   TN   37724‐4126
MCBEE, MARY R                425 ARTHUR RD                                                                               CUMBERLAND GAP   TN   37724‐4126
MCBEE, PAM D                 2141 N PURDUM ST                                                                            KOKOMO           IN   46901‐1442
MCBEE, ROBERT L              6076 HARWOOD RD                                                                             MOUNT MORRIS     MI   48458‐2720
MCBEE, WANDA N               6917 E 100 N                                                                                KOKOMO           IN   46901‐9554
MCBENNETT REGINA             PO BOX 4409                                                                                 MIDDLETOWN       NY   10941‐8409
MCBERRY, ROBERT F            108 KLINE CIR                                                                               GRIFFIN          GA   30224‐5128
MCBETH, ALLEN W              4908 VIRGIL ST                                                                              FORT WORTH       TX   76119‐2162
MCBETH, ALLEN WAYNE          4908 VIRGIL ST                                                                              FORT WORTH       TX   76119‐2162
MCBETH, CLOTILE R.           6485 WAYWIND DR                                                                             TROTWOOD         OH   45426‐1113
MCBETH, JEFFREY P            2130 LEXINGTON AVE NW                                                                       WARREN           OH   44485‐1406
MCBETH, JIMMIE MAE           1675 KENSINGTON DR                                                                          DAYTON           OH   45406‐4158
MCBETH, MICHAEL D            825 CRYSTAL CT                                                                              ALBANY           IN   47320‐8919
MCBEY, CHERYL L              3459 E 1000 N                                                                               ROANOKE          IN   46783‐9433
MCBRATNIE JR, HARRY A        5445 MCGRANDY RD                                                                            BRIDGEPORT       MI   48722
MCBRAYER MCGINNIS LESLIE &   KIRKLAND PLLC                   201 E MAIN ST STE 1000                                      LEXINGTON        KY   40507‐2001
MCBRAYER OTIS (488506)       BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH   44067
                                                             PROFESSIONAL BLDG
MCBRAYER, ALAN N             3911 HURT BRIDGE RD                                                                         CUMMING          GA   30028‐9187
MCBRAYER, ALAN NEIL          3911 HURT BRIDGE RD                                                                         CUMMING          GA   30028‐9187
MCBRAYER, CONSTANCE M        406 ANDOVER LN                                                                              BALDWIN          MO   63011
MCBRAYER, GENE               3925 HURT BRIDGE RD                                                                         CUMMING          GA   30028‐9187
MCBRAYER, JACK D             269 SANDY LANE RD                                                                           BROOKS           GA   30205
MCBRAYER, MARALENE Y         621 HIGHLAND AVE                                                                            TOLEDO           OH   43610‐1143
MCBRAYER, MARTHA L           3408 RUCKLE ST                                                                              SAGINAW          MI   48601‐2456
MCBRAYER, SHIRLEY C          4704 AARON SOSEBEE RD                                                                       CUMMING          GA   30040‐5004
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Name                             Address1                         Address2                      Address3   Address4              City                State Zip
MCBRAYER, WALTER L               9487 MARGARET LN                                                                                JONESBORO            GA 30238‐6804
MCBREEN MCBREEN & KOPKO          1760 MARKET ST STE 900                                                                          PHILADELPHIA         PA 19103‐4121
MCBREEN MCBREEN & KOPKO          20 N WACKER DR STE 2520                                                                         CHICAGO               IL 60606‐3004
MCBREEN, ROBERT J                116 THE CORSO                                                                                   VENICE               FL 34285‐3521
MCBREEN, RYAN M                  2615 WYMAN RD                                                                                   WINSTON SALEM        NC 27106
MCBRIBE ALICE                    1127 GLENBROOK ST                                                                               BENBROOK             TX 76126‐2755
MCBRIDE & MCBRIDE ASSOCIATES     22 W CHESTER PIKE                                                                               HAVERTOWN            PA 19083‐5320
MCBRIDE CAROLE                   682 PARK AVE                                                                                    LINCOLN PARK         MI 48146‐2626
MCBRIDE DELBERT                  7112 PAN AMERICAN EAST FREEWAY   NOTHEAST UNIT 123                                              ALBUQUERQUE          NM 87109
MCBRIDE I I I, THOMAS E          2801 FAULKLAND RD                                                                               WILMINGTON           DE 19808‐2511
MCBRIDE JAMES                    1640 OCEAN AVENUE 23                                                                            LOCUST               NJ 07760
MCBRIDE JAMES J                  MCBRIDE, JAMES J                 89 N HADDON AVE                                                HADDONFIELD          NJ 08033‐2423
MCBRIDE JIMMIE G (626646)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK              VA 23510
                                                                  STREET, SUITE 600
MCBRIDE JR, JAMES                3960 STRATHMORE BLVD                                                                            OAKLAND             MI 48363‐2826
MCBRIDE JR, RALPH C              6327 WALL ST                                                                                    RAVENNA             OH 44266‐1731
MCBRIDE LAWRENCE E (429402)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA 23510
                                                                  STREET, SUITE 600
MCBRIDE METAL FABRICATING CORP   PO BOX 3250                                                               TECUMSEH ON N8N 2M4
                                                                                                           CANADA
MCBRIDE PLC                      PENN RD                          BEACONSFIELD                             BUCKINGHAMSHIRE
                                                                                                           ENGLAND
MCBRIDE STEPHEN                  11909 59TH AVE W                                                                                MUKILTEO            WA   98275‐5569
MCBRIDE, AARON                   718 3RD ST                                                                                      MARKS               MS   38646‐1813
MCBRIDE, AARON E                 2406 S 23RD ST                                                                                  SAGINAW             MI   48601‐4213
MCBRIDE, ALDEN L                 11262 S WISNER RD                                                                               BANNISTER           MI   48807‐9704
MCBRIDE, AMELIA S                5910 W COLONY RD                                                                                SAINT JOHNS         MI   48879‐8504
MCBRIDE, AMY MARIE               4252 SPRINGFIELD ST                                                                             BURTON              MI   48509‐1784
MCBRIDE, ANTHONY R               4290 BARHARBOR DR                                                                               LAKE IN THE HILLS   IL   60156‐1080
MCBRIDE, AUBREY A                8099 S SHERIDAN AVE                                                                             DURAND              MI   48429‐9305
MCBRIDE, BENNY L                 2873 N 375 E                                                                                    ANDERSON            IN   46012‐9483
MCBRIDE, BERNICE D               225 S 12TH ST                                                                                   W MEMPHIS           AR   72301
MCBRIDE, BETTY A                 1905 BELLFLOWER CT.                                                                             EDGEWOOD            MD   21040‐2516
MCBRIDE, BILL M                  717 MACPHAIL CT N                                                                               BEL AIR             MD   21014‐5268
MCBRIDE, BILL MERRILL            717 MACPHAIL CT N                                                                               BEL AIR             MD   21014‐5268
MCBRIDE, BOBBY LEE
MCBRIDE, BOBBY LEE               ROBERT WOODS                     2016 MAIN ST STE 111                                           HOUSTON             TX   77002‐8842
MCBRIDE, CAROL C                 5635 OLDE ATLANTA PKWY                                                                          SUWANEE             GA   30024‐1495
MCBRIDE, CHARLES A               744 LEE CT                                                                                      VASSAR              MI   48768‐1162
MCBRIDE, CHARLES B               105 BRANDYWINE LN                                                                               RICHLAND            MS   39218‐9042
MCBRIDE, CHARLES S               1290 AUTUMN WIND WAY                                                                            HENDERSON           NV   89052‐3054
MCBRIDE, CHARLESE Y              8030 AUDRAIN DR                                                                                 SAINT LOUIS         MO   63121‐4602
MCBRIDE, CHARLOTTE E             4975 ARCHER LN N                 C/O PATRICIA LYNNE NAPLES                                      PLYMOUTH            MN   55446‐2744
MCBRIDE, CHARLOTTE E             C/O PATRICIA LYNNE NAPLES        4975 ARCHER LANE N                                             PLYMOUTH            MN   55446
MCBRIDE, CHRISTOPHER E           938 LISTER DR                                                                                   GARLAND             TX   75040‐7235
MCBRIDE, CLYTICE M               2411 HICKORY BARK DR                                                                            DAYTON              OH   45458‐9433
MCBRIDE, DALE J                  433 SADDLE LN                                                                                   GRAND BLANC         MI   48439‐7089
MCBRIDE, DARLA J                 2116 W 6TH ST                                                                                   MARION              IN   46953‐1201
MCBRIDE, DAVID C                 4130 BOB O LINK DR                                                                              YOUNGSTOWN          OH   44511‐3337
MCBRIDE, DAVID M                 3082 STRALEY LN                                                                                 YOUNGSTOWN          OH   44511‐3353
MCBRIDE, DAVID R                 912 BARTON ST                                                                                   OTSEGO              MI   49078‐1583
MCBRIDE, DENNIS                  5078 E ROCKWELL RD                                                                              YOUNGSTOWN          OH   44515‐1743
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Name                    Address1                     Address2            Address3         Address4         City              State Zip
MCBRIDE, DENNIS J       5330 HERON CV                                                                      BEAVERTON          MI 48612‐8532
MCBRIDE, DENNIS J       330 SUNSET DR                                                                      FLUSHING           MI 48433‐2153
MCBRIDE, DENNIS J       5152 SPINNING WHEEL DR                                                             GRAND BLANC        MI 48439‐4228
MCBRIDE, DENNIS JAMES   330 SUNSET DR                                                                      FLUSHING           MI 48433‐2153
MCBRIDE, DENNIS W       166 S RIVER AVE                                                                    HOLLAND            MI 49423
MCBRIDE, DESSA M        6018 MAJOR CIR                                                                     AUGUSTA            GA 30909‐4796
MCBRIDE, DESSA M        6018 MAJOR CIRCLE                                                                  AUGUSTA            GA 30909
MCBRIDE, DIANE M        5446 EDGEWOOD ST                                                                   DEARBORN HTS       MI 48125‐3200
MCBRIDE, DONALD V       12258 NORHT STATE RD. 9                                                            ALEXANDRIA         IN 46001
MCBRIDE, DOUGLAS M      3114 FIELD RD                                                                      CLIO               MI 48420‐1155
MCBRIDE, EARL G         9062 NATURE MEADOWS DR NE                                                          ROCKFORD           MI 49341‐7474
MCBRIDE, EARNEST L      6802 PARKBELT DR                                                                   FLINT              MI 48505‐1939
MCBRIDE, EDWARD P       6146 EMERALD DR                                                                    GRAND BLANC        MI 48439‐7809
MCBRIDE, FRANCES M      711 MACDONALD AVE                                                                  FLINT              MI 48507‐2846
MCBRIDE, FRANK D        1514 W HERBISON DR                                                                 DEWITT             MI 48820‐8112
MCBRIDE, FRANK L        28751 HARTLEY RD                                                                   SALEM              OH 44460‐9728
MCBRIDE, FRED H         1103 E FREDERICK ST                                                                GAFFNEY            SC 29340‐3857
MCBRIDE, GALE L         20510 115TH AVE                                                                    SAINT ALBANS       NY 11412‐2904
MCBRIDE, GARY H         280 MAPLE BRANCH RD.                                                               SIGNAL MOUNTAIN    TN 37377‐7737
MCBRIDE, GEORGIA M      24045 STATE ROUTE K                                                                DUKE               MO 65461
MCBRIDE, GERALD H       1368 WINNIE DR                                                                     OXFORD             MI 48371‐6046
MCBRIDE, GLEN E         104 HASKINS CHAPEL RD                                                              LEWISBURG          TN 37091‐4948
MCBRIDE, GLEN P         20636 SE 48TH ST                                                                   NEWALLA            OK 74857‐8307
MCBRIDE, GLENN O        11919 TROY ROAD                                                                    NEW CARLISLE       OH 45344‐9455
MCBRIDE, GLENN O        11919 TROY RD                                                                      NEW CARLISLE       OH 45344‐9455
MCBRIDE, GRACE H        1138 MONEY LANE                                                                    DANVILLE           IN 46122‐8697
MCBRIDE, GRACE H        1138 MONEY LN                                                                      DANVILLE           IN 46122‐8697
MCBRIDE, HAROLD W       43 SHORE RD                                                                        BALTIMORE          MD 21219‐2339
MCBRIDE, HELEN          1274 S 700 W                                                                       SWAYZEE            IN 46986‐9765
MCBRIDE, HELEN          3310 COMANCHE                                                                      FLINT              MI 48507‐1859
MCBRIDE, HELEN          3310 COMANCHE AVE                                                                  FLINT              MI 48507‐1859
MCBRIDE, HELEN M        608 HOES LN W                                                                      PISCATAWAY         NJ 08854‐5628
MCBRIDE, HELEN M        6802 PARKBELT DR                                                                   FLINT              MI 48505‐1939
MCBRIDE, HERBERT J      550 AUTUMN OAKS DR                                                                 ELLISVILLE         MO 63021‐5988
MCBRIDE, IMOGENE B      9 N SHILOH RD                                                                      PLEASANT HILL      OH 45359‐9761
MCBRIDE, IMOGENE B      9 N SHILOH ROAD                                                                    PLEASANT HILL      OH 45359‐9761
MCBRIDE, IRVIN L        1221 W MAIN ST                                                                     PAOLI              IN 47454‐1048
MCBRIDE, JACK B         2051 N STATE ROAD 267                                                              AVON               IN 46123‐6323
MCBRIDE, JACK M         6 NICHOLE DR PONDV                                                                 MILTON             DE 19968
MCBRIDE, JACOB D        78 FOLK RD                                                                         FREDONIA           PA 16124‐1418
MCBRIDE, JAMES A        1145 SW SUNFLOWER DR                                                               LEES SUMMIT        MO 64081‐3789
MCBRIDE, JAMES A        14102 TIMBERVIEW DR                                                                SHELBY TWP         MI 48315‐2068
MCBRIDE, JAMES D        2818 WHITE OAKS DR                                                                 LONDON             OH 43140‐9046
MCBRIDE, JAMES F        684 S 11TH ST                                                                      NOBLESVILLE        IN 46060‐3507
MCBRIDE, JAMES R        N1572 BINGHAM RD                                                                   EDGERTON           WI 53534‐9107
MCBRIDE, JANET C        702 ASH ST                                                                         LUTHER             MI 49656‐9279
MCBRIDE, JASON J        2954 ALOUETTE DR APT 1215                                                          GRAND PRAIRIE      TX 75052‐8156
MCBRIDE, JASON JOVAN    2954 ALOUETTE DR APT 1215                                                          GRAND PRAIRIE      TX 75052‐8156
MCBRIDE, JASON O        6067 CONCORD PASS                                                                  FLINT              MI 48506‐1642
MCBRIDE, JERRY R        5057 FINLAY DR                                                                     FLINT              MI 48506‐1509
MCBRIDE, JERRY W        PO BOX 1805                                                                        MIDLOTHIAN         TX 76065‐1805
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Name                      Address1                       Address2                      Address3   Address4         City               State Zip
MCBRIDE, JIMMIE G         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                         STREET, SUITE 600
MCBRIDE, JOHN C           5141 S PINE ST                                                                           BEAVERTON          MI   48612‐8536
MCBRIDE, JOHN D           PO BOX 284                                                                               MASURY             OH   44438‐0284
MCBRIDE, JOHN DAVID       PO BOX 284                                                                               MASURY             OH   44438‐0284
MCBRIDE, JOHN M           8803 MADISON AVE APT 308B                                                                INDIANAPOLIS       IN   46227‐6449
MCBRIDE, JULIE M          5551 HEATHER LN                                                                          DEARBORN HEIGHTS   MI   48125‐2344
MCBRIDE, KARYN A          382 PERKINSWOOD BLVD NE                                                                  WARREN             OH   44483‐4404
MCBRIDE, KATHLEEN M       2108 S DYE RD 172A                                                                       FLINT              MI   48532
MCBRIDE, KATHLEEN MARIE   2108 S DYE RD 172A                                                                       FLINT              MI   48532
MCBRIDE, KATHRYN M        559 GOLF VIEW BLVD                                                                       BIRMINGHAM         MI   48009‐4431
MCBRIDE, KAYLENE A        1343 CASTILLION DR NE                                                                    WARREN             OH   44484‐1472
MCBRIDE, KELLY            WEITZ & LUXENBERG              180 MAIDEN LANE                                           NEW YORK           NY   10038
MCBRIDE, KENNETH C        2802 N LIMA CENTER RD                                                                    WHITEWATER         WI   53190‐3636
MCBRIDE, KENNETH L        2219 N 300 E                                                                             ANDERSON           IN   46012‐9404
MCBRIDE, KEVIN M          STE 1                          1 EAST AVENUE                                             ROCHESTER          NY   14604‐2224
MCBRIDE, L J              402 CHOCTAW TRL                                                                          SHREVEPORT         LA   71107‐5416
MCBRIDE, LARRY D          507 E SPRING ST                                                                          MARISSA            IL   62257‐1138
MCBRIDE, LARRY J          3402 TRAUM DR                                                                            SAGINAW            MI   48602‐3481
MCBRIDE, LAWRENCE E       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                         STREET, SUITE 600
MCBRIDE, LAWRENCE H       458 WENDEMERE DR                                                                         HUBBARD            OH   44425‐2663
MCBRIDE, LAWRENCE K       5120 RASPBERRY LN                                                                        MINERAL RIDGE      OH   44440
MCBRIDE, LEE R            201 WILLAMONT RD                                                                         TOLEDO             OH   43612‐3543
MCBRIDE, LEONARD R        3133 W HICKORY WOODS DR                                                                  GREENFIELD         IN   46140‐8489
MCBRIDE, LOU H            1909 S RIVERVIEW CIR                                                                     ALBANY             GA   31705
MCBRIDE, LOUIS W          2411 HICKORY BARK DR                                                                     DAYTON             OH   45458‐9433
MCBRIDE, MARCELLA         3719 E 105TH TERR                                                                        KANSAS CITY        MO   64137‐1612
MCBRIDE, MARIAN F         43372 NEWPORT DR                                                                         FREMONT            CA   94538‐6114
MCBRIDE, MARIE            17585 PREVOST                                                                            DETROIT            MI   48235‐3149
MCBRIDE, MARILYN S        280 MAPLE BRANCH RD                                                                      SIGNAL MOUNTAIN    TN   37377‐7737
MCBRIDE, MARSANN L        RR 10 BOX 274                                                                            ANDERSON           IN   46012
MCBRIDE, MARY A           2979 BURLINGAME SW APT1B                                                                 WYOMING            MI   49509‐2624
MCBRIDE, MARY L           437 ENCHANTED DR                                                                         ANDERSON           IN   46013‐1074
MCBRIDE, MATTHEW A        602 COLLIER RD                                                                           PONTIAC            MI   48340‐1310
MCBRIDE, MATTHEW ALAN     602 COLLIER RD                                                                           PONTIAC            MI   48340‐1310
MCBRIDE, MICHAEL P        7209 TONNELLE AVE                                                                        SHELBY TOWNSHIP    MI   48317‐2384
MCBRIDE, MINNIE           1118 VINSON ST D                                                                         SAINT LOUIS        MO   63106
MCBRIDE, MOULTRIE         205‐10 115TH AVE                                                                         ST ALBANS          NY   11412‐2904
MCBRIDE, MOULTRIE         20510 115TH AVE                                                                          SAINT ALBANS       NY   11412‐2904
MCBRIDE, NANCY J          2811 MANN AVE                                                                            UNION CITY         CA   94587‐5218
MCBRIDE, NORMA G          2444 DENBY DR                                                                            WATERFORD          MI   48329‐3924
MCBRIDE, PAMELA J         78 FOLK RD                                                                               FREDONIA           PA   16124‐1418
MCBRIDE, PATRICIA L       6146 EMERALD DR                                                                          GRAND BLANC        MI   48439‐7809
MCBRIDE, PAUL J           3728 JOEL LANE                                                                           FLINT              MI   48506‐2638
MCBRIDE, PAUL J           3311 S KEARSLEY BLVD                                                                     FLINT              MI   48506‐2044
MCBRIDE, PAUL M           382 PERKINSWOOD NE                                                                       WARREN             OH   44483‐4404
MCBRIDE, PHYLLIS          10649 WATERFALL CV                                                                       HARRISON           OH   45030‐8562
MCBRIDE, RAYMOND C        223 COWAN PL                                                                             DAYTON             OH   45431‐1525
MCBRIDE, REMONA M         PO BOX 48025                                                                             OAK PARK           MI   48237‐5725
MCBRIDE, RICHARD S        3473 SUMMIT RIDGE DR                                                                     ROCHESTER HILLS    MI   48306‐2960
MCBRIDE, RICHARD S.       3473 SUMMIT RIDGE DR                                                                     ROCHESTER HILLS    MI   48306‐2960
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Name                         Address1                        Address2                  Address3   Address4             City              State Zip
MCBRIDE, RICHARD W           187 JUDSON RD                                                                             KENT               OH 44240‐6062
MCBRIDE, ROBERT I            8640 CHESTERTON DR                                                                        POLAND             OH 44514‐2938
MCBRIDE, ROBERT J            567 MELROSE LN                                                                            MOUNT MORRIS       MI 48458‐8926
MCBRIDE, ROBERT L            914 CANTERBURY LN                                                                         SALEM              OH 44460‐4367
MCBRIDE, RONALD D            8413 STATE RD                                                                             BANCROFT           MI 48414‐9744
MCBRIDE, RONNIE C            107 S AVENUE A                                                                            GREENVILLE         OH 45331‐2301
MCBRIDE, ROSA A              9281 SUNRISE LN                                                                           DAVISON            MI 48423‐8475
MCBRIDE, ROSA ANN            9281 SUNRISE LN                                                                           DAVISON            MI 48423‐8475
MCBRIDE, ROY J               328 S 21ST ST                                                                             SAGINAW            MI 48601‐1447
MCBRIDE, RUSSELL             GUY WILLIAM S                   PO BOX 509                                                MCCOMB             MS 39649‐0509
MCBRIDE, RUTHA M             3848 CHERRY ST                                                                            CLARKSTON          MI 48348
MCBRIDE, SAMUEL L            21330 DEAN RD                                                                             HARLAN             IN 46743‐7465
MCBRIDE, SANDRA B            12811 SLEIGH TRL                                                                          MILFORD            MI 48380‐1261
MCBRIDE, SHANE               410 NW PEBBLE LN                                                                          ISSAQUAH           WA 98027‐5632
MCBRIDE, SHERRY L            2840 HYDE PARK                                                                            BAY CITY           MI 48706
MCBRIDE, SHIRLEY B           611 FRANK ST                                                                              FLINT              MI 48504‐4847
MCBRIDE, STEPHANIE L         7326 STATE ROUTE 19 UNIT 1404                                                             MOUNT GILEAD       OH 43338‐9492
MCBRIDE, THOMAS              DEARIE & ASSOCIATES JOHN C      515 MADISON AVE RM 1118                                   NEW YORK           NY 10022‐5456
MCBRIDE, THOMAS E            808 MELODY LN                                                                             KOKOMO             IN 46902‐3938
MCBRIDE, THOMAS J            246 OAKBOROUGH DR                                                                         LAKE ST LOUIS      MO 63367‐4008
MCBRIDE, THOMAS R            306 HADLEY ST                                                                             HOLLY              MI 48442‐1635
MCBRIDE, TINA M              2555 HAWTHORNE DR S                                                                       SHELBY TOWNSHIP    MI 48316‐6100
MCBRIDE, VIOLET B            911 PADDINGTON AVE.                                                                       FLINT              MI 48507‐1633
MCBRIDE, WARREN E            702 ASH ST                                                                                LUTHER             MI 49656‐9279
MCBRIDE, WILLARD             SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST         MS 39083‐3007
MCBRIDE, WILLIAM D           27810 GROVELAND ST                                                                        ROSEVILLE          MI 48066‐4340
MCBRIDE, WILLIAM W           1320 N CANAL ST                                                                           ALEXANDRIA IN      IN 46001‐1110
MCBRIDE, WILLIE G            4303 GRASSY GLEN DR                                                                       CORINTH            TX 76208‐5244
MCBRIDE, WILMA J             1047 E 174TH ST                                                                           CLEVELAND          OH 44119‐3105
MCBRIDE, WINNIE              PO BOX 1613                                                                               WHITNEY            TX 76692‐1613
MCBRIDE, WINONA M            595 E HURON                                                                               GAYLORD            MI 49735‐1601
MCBRIDE, WINONA M            595 E HURON ST                                                                            GAYLORD            MI 49735‐1601
MCBRIDES DELIVERY LIMITED    111 SUNRISE AVE                                                      TORONTO ON M4A 1A9
                                                                                                  CANADA
MCBRIEN, JARED M             2503 KERRY ST APT 1                                                                       LANSING           MI   48912‐3686
MCBRIEN, MICHAEL T           205 ASH BRIDGE                                                                            MASON             MI   48854
MCBRIEN, MICHAEL T           205 ASH RDG                                                                               MASON             MI   48854‐1090
MCBRIEN, MICHAEL TIMOTHY     205 ASH RDG                                                                               MASON             MI   48854‐1090
MCBRIEN, PEGGY L             32896 WOLF LAKE ROAD                                                                      CASS LAKE         MN   56633‐3119
MCBROOM DAVID                MCBROOM, DAVID                  5901 CEDAR LAKE RD S                                      MINNEAPOLIS       MN   55416‐1488
MCBROOM ELECTRIC CO INC      800 W 16TH ST                                                                             INDIANAPOLIS      IN   46202‐2202
MCBROOM'S AUTOMOTIVE, INC.   305 CENTER ST                                                                             DEER PARK         TX   77536‐2737
MCBROOM, ADA M               10280 NIMPHIE RD                                                                          FENTON            MI   48430‐9247
MCBROOM, JULIE A             32626 LYNDON STREET                                                                       LIVONIA           MI   48154‐4102
MCBROOM, KAY A               14121 AVERHILL CT                                                                         DETROIT           MI   48215‐3067
MCBROOM, LILLIE M            832 GLENSTONE CRT                                                                         TROTWOOD          OH   45426‐2258
MCBROOM, MIKE D              28872 N OAK DR                                                                            WRIGHT CITY       MO   63390‐3097
MCBROOM, MIKE J              24893 KAMMEYER RD                                                                         DEFIANCE          OH   43512‐9137
MCBROOM, ROBERT L            5200 LAKE SHORE LN LOT 42                                                                 DENTON            TX   76208‐8005
MCBRYAR, HAROLD J            526 COUNTY ROAD 288                                                                       COLLINSVILLE      AL   35961‐4171
MCBRYAR, WILLIAM R           4389 ROSEBUD RD                                                                           LOGANVILLE        GA   30052‐5122
MCBRYDE, DORIS J             3037 HUGO CT                                                                              FLOWER MOUND      TX   75022‐5537
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Name                             Address1                       Address2                        Address3   Address4                City               State Zip
MCBRYDE, FRANCES D               2105 GALAHAD DR SW                                                                                DECATUR             AL 35603
MCBRYDE, JAMES E                 1715 MILL OAK AVE                                                                                 LANSING             MI 48911
MCBRYER, DANNY E                 APT 10                         37 SCHNEIDERMAN LANE                                               AKRON               OH 44319‐4055
MCBURNETT JR, MELVIN M           715 BAILEY JESTER RD                                                                              GRIFFIN             GA 30224‐7708
MCBURNETT, BRANDON D             880 RIVER DR                                                                                      GADSDEN             AL 35901‐6614
MCBURNETT, DONALD A              4002 LAFAYETTE DR                                                                                 POWDER SPGS         GA 30127‐2627
MCBURNEY TRANSPORT LTD           RUR RTE 27                                                                HAGERSVILLE CANADA ON
                                                                                                           N0A 1H0 CANADA
MCBURNEY, RICHARD E              1056 COLONIAL DR                                                                                  SALEM              OH   44460‐1000
MCC INVESTMENTS LLC              PO BOX 6847                                                                                       GREENVILLE         SC   29606
MCCA, INC                        1323 S 65TH ST                                                                                    MILWAUKEE          WI   53214‐3251
MCCAA FRANK (488507)             BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD         OH   44067
                                                                PROFESSIONAL BLDG
MCCAA, CHRISTIAN                 5251 COUNTY ROAD 2                                                                                ALICEVILLE         AL   35442‐5011
MCCABE & ASSOCIATES              5501 TWIN KNOLLS RD STE 111                                                                       COLUMBIA           MD   21045‐3260
MCCABE CAROLE A                  27113 WALLOON WAY                                                                                 BROWNSTOWN         MI   48134‐8058
MCCABE CAROLE A                  MCCABE CAROLE A                27113 WALLOON WAY                                                  BROWNSTOWN         MI   48134‐8058
MCCABE CATHERINE                 3552 WILKINSON WOODS DRIVE                                                                        SARASOTA           FL   34231‐8665
MCCABE II, JAMES F               97 FORD AVE                                                                                       ROCHESTER          NY   14606‐3902
MCCABE JR, HOLLIS                PO BOX 6924                                                                                       SAGINAW            MI   48608‐6924
MCCABE JR, R V                   6440 DENTON HILL RD                                                                               FENTON             MI   48430‐9476
MCCABE JR, R VANCE               6440 DENTON HILL RD                                                                               FENTON             MI   48430‐9476
MCCABE LAWRENCE (331510)         FEDULO WILLIAM                 THE CURTIS CENTER , SUITE 770                                      PHILADELPHIA       PA   19106
                                                                WEST
MCCABE PHILIP                    3037 IRWIN DRIVE SOUTHEAST                                                                        SOUTHPORT          NC   28461‐8433
MCCABE ROBERT J                  4297 SUNNINGDALE DR                                                                               BLOOMFIELD HILLS   MI   48302‐2029
MCCABE STEVE                     PO BOX 225                                                                                        GRANTSBURG         WI   54840‐0225
MCCABE'S AUTOMOTIVE SPECIALIST   3147 BRIDGEPORT WAY W                                                                             UNIVERSITY PLACE   WA   98466‐4519
MCCABE, ANITA L                  11875 STONE BLUFF DR                                                                              GRAND LEDGE        MI   48837‐2415
MCCABE, BESSIE M                 18 WINTER RDG                                                                                     SPENCERPORT        NY   14559‐2505
MCCABE, BESSIE M                 18 WINTER RIDGE                                                                                   SPENCERPORT        NY   14559‐2505
MCCABE, BETTY L                  708 PLAZA DR                                                                                      MOORE              OK   73160‐2453
MCCABE, CAROL                    7708 RT 309                                                                                       GALION             OH   44833‐9715
MCCABE, CAROLE A                 27113 WALLOON WAY                                                                                 BROWNSTOWN         MI   48134‐8058
MCCABE, CHARLES J                9460 RATTALEE LAKE RD                                                                             CLARKSTON          MI   48348‐1528
MCCABE, CYNTHIA D                2 1ST AVE                                                                                         N TONAWANDA        NY   14120‐6620
MCCABE, DANNY A                  8519 ELMWAY DR                                                                                    DAYTON             OH   45415‐1610
MCCABE, DAVID L                  740 N SHORE DR                                                                                    CRYSTAL            MI   48818‐9723
MCCABE, DEBORAH A                840 CARPENTER ST                                                                                  NORTHVILLE         MI   48167‐1134
MCCABE, DELORIS M                911 SAINT ANDREWS DR                                                                              UPLAND             CA   91784‐9143
MCCABE, EDWARD J                 PO BOX 613                                                                                        WILLIAMSTON        MI   48895‐0613
MCCABE, EDWARD JAMES             PO BOX 613                                                                                        WILLIAMSTON        MI   48895‐0613
MCCABE, EVELYN J                 809 SPOKANE LN                                                                                    CROSSVILLE         TN   38572‐6426
MCCABE, EVELYN J                 809 SPOKANE LANE                                                                                  CROSSVILLE         TN   38572‐6426
MCCABE, HAZEL L                  5467 PINECLIFF DR APT 2                                                                           WEST VALLEY        NY   14171‐9620
MCCABE, HOWARD L                 7708 RT 309                                                                                       GALION             OH   44833
MCCABE, JAMES F                  18 WINTER RDG                                                                                     SPENCERPORT        NY   14559‐2505
MCCABE, JEFFREY T                3204 HELMSBURG RD                                                                                 NASHVILLE          IN   47448
MCCABE, JOSEPH P                 11 TOGA CT                                                                                        E NORTHPORT        NY   11731‐2242
MCCABE, KEVIN J                  7154 NOTTINGHAM                                                                                   WEST BLOOMFIELD    MI   48322‐2955
MCCABE, KEVIN J                  2398 FOXWAY DR                                                                                    ANN ARBOR          MI   48105‐9210
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Name                              Address1                         Address2                       Address3   Address4         City               State Zip
MCCABE, LAWRENCE                  FEDULO WILLIAM                   THE CURTIS CENTER, SUITE 770                               PHILADELPHIA        PA 19106
                                                                   WEST
MCCABE, LESLIE A                  22 BEDFORD AVE                                                                              BREEZY POINT       NY   11697‐1212
MCCABE, MARANDA                   1397 S DODGE ST                                                                             GILBERT            AZ   85233‐8222
MCCABE, MARY ANN                  66 2ND AVE                                                                                  N TONAWANDA        NY   14120‐6626
MCCABE, MARY ANN                  66 2ND AVENUE                                                                               N TONAWANDA        NY   14120‐6626
MCCABE, MARY E                    9 WILLIAMS WAY                                                                              HOLMDEL            NJ   07733‐1842
MCCABE, MARYBETH                  1050 PARK COURT                                                                             SAINT CHARLES      MI   48655‐1008
MCCABE, MAUREEN N                 20498 ABRAHM                                                                                MT. CLEMENS        MI   48035‐3434
MCCABE, MAUREEN N                 20498 ABRAHM ST                                                                             CLINTON TOWNSHIP   MI   48035‐3434
MCCABE, MICHAEL E                 60 OXFORD RD                                                                                LEXINGTON          OH   44904‐1036
MCCABE, MICHAEL E                 108 PLANTATION CT                                                                           LAGRANGE           GA   30240
MCCABE, NANCY L                   6391 ROWANBERRY DR APT 203                                                                  ELKRIDGE           MD   21075‐1016
MCCABE, NANCY L                   6391 ROWANBERRY DR               UNIT 203                                                   ELKRIDGE           MD   21075
MCCABE, PRISCILLIA A              PO BOX 82                                                                                   BOMBAY             NY   12914‐0082
MCCABE, ROBERT J                  4297 SUNNINGDALE DR                                                                         BLOOMFIELD         MI   48302‐2029
MCCABE, ROGER A                   PO BOX 143                                                                                  CECIL              OH   45821‐0143
MCCABE, RYAN J                    1188 SIGNATURE DR                                                                           AUSTINTOWN         OH   44515‐3847
MCCABE, STEVEN M                  21737 ROSLYN RD                                                                             HARPER WOODS       MI   48225‐1150
MCCABE, STEVEN R                  42120 E EDWARD DR                                                                           CLINTON TOWNSHIP   MI   48038‐1712
MCCABE, TAMMY                     3474 EAGLE CREEK NW                                                                         LEAVITTSBURG       OH   44430
MCCABE, TED J                     200 CHRIS DR                                                                                ENGLEWOOD          OH   45322‐1119
MCCABE, TERENCE A                 9209 WALNUT HWY                                                                             DIMONDALE          MI   48821‐9532
MCCABE, THOMAS D                  325 RIVER WOODS DR                                                                          FLUSHING           MI   48433‐2132
MCCABE, TIMOTHY C                 5774 EVERGREEN AVE                                                                          ORCHARD LAKE       MI   48324‐2920
MCCABE, Z. VIRGINIA               7723 PARAGON COMMONS CIRCLE                                                                 DAYTON             OH   45459‐4032
MCCABE,TIMOTHY C                  5774 EVERGREEN AVE                                                                          ORCHARD LAKE       MI   48324‐2920
MCCADDON CADI BUIC PONT GMC INC   MARK MCCADDON                    2460 48TH CT                                               BOULDER            CO   80301‐2405
MCCADDON CADILLAC BUICK PONTIAC   2460 48TH CT                                                                                BOULDER            CO   80301‐2405
GMC
MCCADDON CADILLAC BUICK PONTIAC   MARK MCCADDON                    2460 48TH CT                                               BOULDER            CO 80301‐2405
GMC, INC.
MCCADDON CADILLAC BUICK PONTIAC   2460 48TH CT                                                                                BOULDER            CO 80301‐2405
GMC, INC.
MCCAFFERTY, BRADLEY L             544 NUTHATCH DR                                                                             ZIONSVILLE         IN   46077‐9562
MCCAFFERTY, DAVID E               3990 HOFFMAN NORTON RD                                                                      WEST FARMINGTON    OH   44491‐9749
MCCAFFERTY, DAVID E               3990 HOFFMAN‐NORTON                                                                         W. FARMINGTON      OH   44491‐9749
MCCAFFERTY, DAVID L               722 GLENMONT CT                                                                             ANDERSON           IN   46011‐9026
MCCAFFERTY, EARL J                7398 WINDSOR HWY                                                                            DIMONDALE          MI   48821‐8740
MCCAFFERTY, HUGH L                2131 N COUNTY RD E                                                                          JANESVILLE         WI   53548‐0184
MCCAFFERTY, LARRY W               475 JERUSALEM RD SE                                                                         BREMEN             OH   43107‐9416
MCCAFFERTY, RONALD J              68 SHIRLEY DR                                                                               TROY               MO   63379‐6304
MCCAFFERTY, STEPHANIE A           3619 CHURCH DR                                                                              ANDERSON           IN   46013‐2255
MCCAFFERY GEORGE (423904)         ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                        NEW YORK           NY   10006‐1638
MCCAFFERY, GEORGE                 ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                        NEW YORK           NY   10006‐1638
MCCAFFERY, JAMES P                103 LANDERS LN                                                                              NEW CASTLE         DE   19720‐2024
MCCAFFERY, LINDA                  103 LANDERS LANE                                                                            NEW CASTLE         DE   19720‐2024
MCCAFFERY, MICHAEL P              213 FOX LN                                                                                  MIDDLETOWN         DE   19709‐9200
MCCAFFREY JR GEORGE E             4259 ROSEFINCH WAY                                                                          MIAMISBURG         OH   45342‐4789
MCCAFFREY TERRENCE                1129 SILENT GROVE CHURCH RD GR                                                              BROWNSVILLE        KY   42210
MCCAFFREY, CHRISTINA J            41825 RIVEROAKS DR                                                                          PLYMOUTH           MI   48170‐4301
MCCAFFREY, CLAUDE R               990 PILLARS TRL SE                                                                          BOGUE CHITTO       MS   39629‐9796
                                    09-50026-mg              Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
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Name                                Address1                          Address2                         Address3              Address4               City            State Zip
MCCAFFREY, CLAUDE R                 990 PILLARS TRAIL SOUTH EAST                                                                                    BOGUE CHITTO     MS 39629‐9629
MCCAFFREY, EDWARD J                 1243 MICHIGAN AVE                                                                                               NAPLES           FL 34103‐3873
MCCAFFREY, EUGENIA M                3027 W CLEVELAND AVE                                                                                            SPOKANE          WA 99205‐3910
MCCAFFREY, JUDITH                   145 GREENVILLE ST                                                                                               NEWNAN           GA 30263‐2630
MCCAFFREY, MARCIE L                 441 LONGFIELD ST                                                                                                EVANSVILLE       WI 53536‐1238
MCCAFFREY, MARCIE LYNN              441 LONGFIELD ST                                                                                                EVANSVILLE       WI 53536‐1238
MCCAFFREY, MARIE                    302 LAFAYETTE BLVD                                                                                              OWOSSO           MI 48867‐2017
MCCAFFREY, MICHAEL B                PO BOX 68                                                                                                       FT COVINGTON     NY 12937‐0068
MCCAFFREY, PATRICK L                7998 ONEIDA RD                                                                                                  GRAND LEDGE      MI 48837‐9479
MCCAFFREY, PATRICK LYNN             7998 ONEIDA RD                                                                                                  GRAND LEDGE      MI 48837‐9479
MCCAFFREY, ROBERT K                 6310 W JONES RD                                                                                                 MUNCIE           IN 47302‐8926
MCCAFFREY, ROBERT L                 16529 TERRA BELLA STREET                                                                                        CLINTON TWP      MI 48038‐4077
MCCAFFREY, STEPHEN E                447 E BEACON DR                                                                                                 AUSTINTOWN       OH 44515‐4064
MCCAFFREY, STEVEN P                 15927 SE 15TH ST                                                                                                CHOCTAW          OK 73020‐7049
MCCAFFREY, STEVEN PAUL              15927 SE 15TH ST                                                                                                CHOCTAW          OK 73020‐7049
MCCAGHREN, BRENT TRANSPORT INC      855 LOWORN MILL RD                                                                                              BOWDON           GA 30108
MCCAGHREN, CARL R                   9715 COUNTY ROAD 203                                                                                            DANVILLE         AL 35619‐9077
MCCAGHREN, FELIX C                  521 WOLF AVE                                                                                                    ENGLEWOOD        OH 45322‐1644
MCCAGHREN, MARTY L                  1530 APPLE GROVE RD                                                                                             SOMERVILLE       AL 35670‐5611
MCCAGHREN, TAMMY E                  100 W VANLAKE F                                                                                                 VANDALIA         OH 45377
MCCAGHREN, TED G                    5181 DANVILLE RD                                                                                                HARTSELLE        AL 35640‐8031
MCCAGUE HUMPHREY, NANCY             3965 OVERLAKE DR                                                                                                CUMMING          GA 30041‐2874
MCCAGUE PEACOCK BORLACK MCINNIS &   ATTN: SABINE KHARABIAN            2700‐130 KING ST W, PO BOX 136   THE EXCHANGE TOWER    TORONTO, ONTARIO M5X
LLOYD LLP                                                                                                                    1C7
MCCAGUE PEACOCK BORLACK MCINNIS &   ATTN: MARK MASON & ALANA ABELLS   130 KING STREET WEST, SUITE 2700, THE EXCHANGE TOWER   TORONTO, ONTARIO M5X
LLOYD LLP                                                             BOX 136                                                1C7
MCCAGUE, IOMA V                     23459 COUNTY ROAD 104                                                                                           OAKWOOD         OH   45873
MCCAGUE, JAMES A                    2126 STATE ROUTE 15                                                                                             NEY             OH   43549‐9712
MCCAGUE, ROGER S                    1301 QUAIL HOLLOW CT                                                                                            DEFIANCE        OH   43512‐8570
MCCAHAN, CAROL N                    6516 ELM ST                                                                                                     KINSMAN         OH   44428‐9503
MCCAHAN, CAROL N                    6516 ELM STREET                                                                                                 KINSMAN         OH   44428‐9503
MCCAHAN, LAWRENCE E                 1034 ROSNER DR                                                                                                  INDIANAPOLIS    IN   46224
MCCAHERA SR., JOHN M                PO BOX 4401                                                                                                     KINGMAN         AZ   86402‐4401
MCCAHILL, ARTHUR J                  8506 MIDDLE VALLEY RD                                                                                           HIXSON          TN   37343‐1334
MCCAHILL, CHERYL S                  2850 CACTUS TRAIL                                                                                               FRISCO          TX   75034‐4723
MCCAHILL, LAWRENCE A                5922 DIVISION ST                                                                                                NEWAYGO         MI   49337‐8948
MCCAHILL, MARK D                    2850 CACTUS TRAIL                                                                                               FRISCO          TX   75034‐4723
MCCAIG, CHARLES A                   6401 FRANCIS DR                                                                                                 VICTOR          NY   14564‐9207
MCCAIG, DANNY C                     16680 NUCLEAR PLANT RD                                                                                          ATHENS          AL   35611‐5921
MCCAIG, DOUGLAS A                   17750 LINDSAY RD                                                                                                TANNER          AL   35671
MCCAIG, WILLIAM C                   3700 PENNS CHAPEL RD                                                                                            BOWLING GREEN   KY   42101‐9315
MCCAIN DEANNA &                     ALEX SIMANOVSKY & ASSOCIATES      2300 HENDERSON MILL RD NE STE                                                 ATLANTA         GA   30345‐2704
                                                                      300
MCCAIN DEBBIE                       45 AMESBURY RD                                                                                                  KENSINGTON      NH   03833‐5618
MCCAIN JR, PERRY                    1611 E COUNTY ROAD 900 S                                                                                        CLAYTON         IN   46118‐9131
MCCAIN MARY                         8923 BARRET RD                                                                                                  MILLINGTON      TN   38053‐4806
MCCAIN REBECCA                      PO BOX 1137                                                                                                     BASTROP         LA   71221‐1137
MCCAIN RICHARD L (472112)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                   NORFOLK         VA   23510
                                                                      STREET, SUITE 600
MCCAIN SHARON                       821 OLD LEXINGTON RD                                                                                            LEESVILLE       SC 29070‐9596
MCCAIN WILLIAM H (472113)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                   NORFOLK         VA 23510
                                                                      STREET, SUITE 600
                            09-50026-mg             Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                        Address1                         Address2                      Address3   Address4         City                  State Zip
MCCAIN WILLIE F (469713)    ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                BALTIMORE              MD 21202
                                                             CHARLES CENTER 22ND FLOOR
MCCAIN'S AUTO & AC REPAIR   13566 FLOYD CIR STE A                                                                      DALLAS                TX   75243‐1459
MCCAIN, ALEXIS A            6590 RIVERBEND DR                                                                          DAYTON                OH   45415‐2676
MCCAIN, ANTHONY L           6590 RIVERBEND DR                                                                          TROTWOOD              OH   45415‐2676
MCCAIN, BRUCE P             2337 WEYBORN DR                                                                            ARLINGTON             TX   76018‐2539
MCCAIN, BRUCE PAUL          2337 WEYBORN DR                                                                            ARLINGTON             TX   76018‐2539
MCCAIN, BURKE L             5067 ROYAL DR                                                                              LAS VEGAS             NV   89103‐5013
MCCAIN, CARLOS C            8819 ARLINGTON AVE                                                                         KANSAS CITY           MO   64138‐4712
MCCAIN, CONNIE L            7465 MUDCREEK RD                                                                           DEFIANCE              OH   43512
MCCAIN, DAVID C             1307 MELANIE CT                                                                            KOKOMO                IN   46902‐9326
MCCAIN, DONALD E            125 PATTERSON AVE                                                                          SAN ANTONIO           TX   78209‐6228
MCCAIN, DONALD E.           1211 MARYLAND 2ND FLOOR                                                                    GROSSE POINTE PARK    MI   48230
MCCAIN, DONNA G             5358 N SYCAMORE ST                                                                         BURTON                MI   48509
MCCAIN, DWAYNE              30590 SUNBURST ST                                                                          ROSEVILLE             MI   48066‐1638
MCCAIN, EARL N              10301 PUFFER RD SW                                                                         FIFE LAKE             MI   49633‐8235
MCCAIN, EARL NATE           10301 PUFFER RD SW                                                                         FIFE LAKE             MI   49633‐8235
MCCAIN, EDNA                COLLETT SAM J JR                 PO BOX 1810                                               COVINGTON             LA   70434‐1810
MCCAIN, ELLEN               804 W COLUMBIA                                                                             CHAMPAIGN             IL   61820‐3306
MCCAIN, FAYE I              15 S WATER ST                                                                              PERU                  IN   46970
MCCAIN, FREDERICK L         PO BOX 168                                                                                 GASPORT               NY   14067‐0168
MCCAIN, GARY A              07465 MUD CREEK RD.                                                                        DEFIANCE              OH   43512
MCCAIN, HATTIE A            2270 DENWOOD ST                                                                            KANNOPOLIS            NC   28083‐6461
MCCAIN, HENRIETTA           354 OLD HIGHWAY 16                                                                         CANTON                MS   39046
MCCAIN, HERMAN F            11010 WILLIAMSBURG RD                                                                      SAVANNAH              GA   31419
MCCAIN, JAMES E             PO BOX 136                                                                                 HARVIELL              MO   63945‐0136
MCCAIN, JAMES H             95 GREENSTOKE LOOP                                                                         TRYON                 NC   28782‐3673
MCCAIN, JAYMIE A.           725 OAK PARK PL                                                                            BRANDON               FL   33511‐6271
MCCAIN, JONETTA M           1307 MELANIE CT                                                                            KOKOMO                IN   46902‐9326
MCCAIN, JOYCE               PO BOX 203                                                                                 BEDFORD               IN   47421‐0203
MCCAIN, JOYCE E             4238 HASTINGS DR                                                                           GRAND BLANC           MI   48439‐8087
MCCAIN, JR., VINCENT E      7616 BORMAN WAY                                                                            INVER GROVE HEIGHTS   MN   55076‐2960
MCCAIN, JUANITA M           PO BOX 245                                                                                 WISNER                LA   71378‐0245
MCCAIN, JUDITH L            PO BOX 231                                                                                 WINDFALL              IN   46076‐0231
MCCAIN, KRISTI R            204 W HIGH ST                                                                              GREENTOWN             IN   46936‐1135
MCCAIN, LAWRENCE            1826 GREENBRIAR LN                                                                         FLINT                 MI   48507‐2220
MCCAIN, LEVON               1744 JOY ST                                                                                SAGINAW               MI   48601‐6822
MCCAIN, LILLIAN A           616 JEFFERSON STREET                                                                       NAPOLEON              OH   43545‐1806
MCCAIN, LINDA               2855 M‐33                                                                                  ATLANTA               MI   49709
MCCAIN, LUTHER              374 TILMOR DR                                                                              WATERFORD             MI   48328‐2564
MCCAIN, MARY D              425 P ST                                                                                   BEDFORD               IN   47421‐2132
MCCAIN, MICHAEL B           2709 ARTHUR'S WAY                                                                          ANDERSON              IN   46011
MCCAIN, NANCY L             338 VINEWOOD DR N                                                                          BROWNSBURG            IN   46112‐2040
MCCAIN, NORMA J             637 REDBUD BLVD S                                                                          ANDERSON              IN   46013‐1173
MCCAIN, RICHARD L           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510‐2212
                                                             STREET, SUITE 600
MCCAIN, ROBERT              2505 PASADENA                                                                              DETROIT               MI   48238
MCCAIN, ROBERT G            1828 DIXIE HWY                                                                             MITCHELL              IN   47446‐5237
MCCAIN, RODRIQUE K          377 SANDFORD ST                                                                            NEW BRUNSWICK         NJ   08901
MCCAIN, SANDRA T            206 W ADAMS ST                                                                             OVERTON               TX   75684‐1005
MCCAIN, SIDNEY S            2840 VICTORIA PARK DR                                                                      BUFORD                GA   30519‐4171
MCCAIN, T FRANKLIN          3501 BRANCHWOOD DRIVE                                                                      EVANSVILLE            IN   47710‐5110
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Name                              Address1                              Address2                       Address3   Address4         City              State Zip
MCCAIN, THADDEUS W                1383 RYAN ST                                                                                     FLINT              MI 48532‐3744
MCCAIN, THADDEUS WILSON           1383 RYAN ST                                                                                     FLINT              MI 48532‐3744
MCCAIN, TRACY                     5133 WINTERGREEN TRL SE                                                                          KALKASKA           MI 49646‐8578
MCCAIN, VINCENT EDWARD            7616 BORMAN WAY                                                                                  INVER GROVE        MN 55076‐2960
MCCAIN, WILLIAM H                 GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510‐2212
                                                                        STREET, SUITE 600
MCCAIN, WILLIE F                  ANGELOS PETER G LAW OFFICES OF        100 N CHARLES STREET, ONE                                  BALTIMORE         MD 21202
                                                                        CHARLES CENTER 22ND FLOOR
MCCAIN,ANTHONY L                  6590 RIVERBEND DR                                                                                TROTWOOD          OH   45415‐2676
MCCAKILL                          8220 WALNUT HILL LN STE 310                                                                      DALLAS            TX   75231‐4438
MCCALE, MATTHEW L                 5022 W WESTERN RESERVE RD                                                                        CANFIELD          OH   44406
MCCALE, PATRICIA A                5022 W WESTERN RESERVE RD                                                                        CANFIELD          OH   44406‐9112
MCCALE, ROY D                     7911 SUTTON PL NE                                                                                WARREN            OH   44484‐1462
MCCALEB, CARRIE                   500 SEA RIM DR                                                                                   ARLINGTON         TX   76018‐2298
MCCALEB, DOROTHY A                2701 PARK WEST DR                                                                                COOKEVILLE        TN   38501‐5625
MCCALEB, DOROTHY A                2701 PARKWEST DRIVE                                                                              COOKEVILLE        TN   38501
MCCALEB, LONNIE E                 760 HACHMUTH DR NW                                                                               COMSTOCK PARK     MI   49321‐8517
MCCALEB, REGINALD L               810 PLYMOUTH AVE NE                                                                              GRAND RAPIDS      MI   49505
MCCALEB, SHARON D                 7315 LAWNVIEW AVE                                                                                CLEVELAND         OH   44103‐3319
MCCALEBB, MARC F                  2858 GULFSTREAM DR                                                                               SAGINAW           MI   48603‐6187
MCCALEBB, ROBERT                  8436 BAY AVE                                                                                     CALIFORNIA CITY   CA   93505‐5217
MCCALESTER, WRAY C                5828 N CENTER ST                                                                                 COLUMBIA CITY     IN   46725‐9326
MCCALIPS, ALBERT C                1975 BIG RIDGE RD                                                                                LEWISTOWN         PA   17044‐8257
MCCALISTER, BETTY J               1515 FAUVER AVE.                                                                                 DAYTON            OH   45410‐3214
MCCALISTER, CAROLYN L             2000 MOUND AVE                                                                                   BELOIT            WI   53511‐2944
MCCALISTER, CLEVELAND S           1303 KUMLER AVE                                                                                  DAYTON            OH   45406‐5930
MCCALISTER, EVELYN                13113 TORRY PINES CT                                                                             TAYLOR            MI   48180‐7963
MCCALISTER, MARY A                629 CRESTMORE AVE                                                                                DAYTON            OH   45417‐1535
MCCALL A C (ESTATE OF) (656220)   GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH        PA   15219

MCCALL CAROL                      345 SHORE DRIVE                                                                                  HIGHLANDS         NJ 07732‐1026
MCCALL CECIL K (493986)           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA 23510
                                                                        STREET, SUITE 600
MCCALL JESSICA                    870 TARA DRIVE                                                                                   COLUMBIANA        AL   35051‐3346
MCCALL JR, GEORGE B               522 ALLISON WATTS RD                                                                             FRANKLIN          NC   28734‐9178
MCCALL JR, WILLIAM H              2568 DOVER RD                                                                                    COLUMBUS          OH   43209‐2924
MCCALL JR., LEROY                 305 CHARTER OAK AVE                                                                              BALTIMORE         MD   21212‐4407
MCCALL LESLIE H (472114)          GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510
                                                                        STREET, SUITE 600
MCCALL LINDA                      3415 N GALE RD                                                                                   DAVISON           MI   48423
MCCALL MICHAEL                    MCCALL, MICHAEL                       30 E BUTLER AVE                                            AMBLER            PA   19002‐4514
MCCALL ROBIN                      4 SAINT ALBANS BLVD                                                                              STAFFORD          VA   22556‐1800
MCCALL'S MOTORS                   310 S ELLA AVE                                                                                   SANDPOINT         ID   83864
MCCALL, A C                       GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH        PA   15219

MCCALL, ANDREW                    6 ALBANY LANE                                                                                    BELLA VISTA       AR   72714‐5724
MCCALL, ANN                       302 HARLAN ST                                                                                    INDIANAPOLIS      IN   46201‐4029
MCCALL, ANN                       302 S HARLAN                                                                                     INDIANAPOLIS      IN   46201‐4029
MCCALL, ARTHUR                    4789 BURNSDALE WAY                                                                               MONTGOMERY        AL   36108
MCCALL, ARTHUR                    PO BOX 210093                                                                                    CLEVELAND         OH   44121‐7093
MCCALL, BARBARA D                 5895 WEISS ST APT I2                                                                             SAGINAW           MI   48603‐2788
MCCALL, BARBARA L                 5801 W HENRY ST                                                                                  INDIANAPOLIS      IN   46241‐0529
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Name                  Address1                        Address2                      Address3   Address4         City             State Zip
MCCALL, BERNARD R     735 DOMERSVILLE RD                                                                        DEFIANCE          OH 43512‐8146
MCCALL, BERNARD RAY   735 DOMERSVILLE RD                                                                        DEFIANCE          OH 43512‐8146
MCCALL, BETTY LOU     15095 110TH ST                                                                            OSKALOOSA         KS 66066‐4126
MCCALL, BETTYE J      3889 E ANTISDALE RD                                                                       CLEVELAND         OH 44118‐2359
MCCALL, BOBBY M       45 BLUE RIDGE DR                                                                          FRANKLIN          NC 28734‐6099
MCCALL, BRENDA G      126 LEE ANN DR                                                                            DAYTON            OH 45427‐1115
MCCALL, BRYANT        19342 STRATHMOOR ST                                                                       DETROIT           MI 48235
MCCALL, CAROLYN M     5316 PERSHING AVE APT 310                                                                 SAINT LOUIS       MO 63112‐1745
MCCALL, CECIL K       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                      STREET, SUITE 600
MCCALL, CHARLES M     G4060 N CENTER RD                                                                         FLINT            MI   48506
MCCALL, CHERYL A      4840 NW 98TH WAY                                                                          CORAL SPRINGS    FL   33076‐2479
MCCALL, CLARK E       3355 YELLOWSTONE DR                                                                       ANN ARBOR        MI   48105‐1522
MCCALL, DANIEL P      SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST       MS   39083‐3007
MCCALL, DEBRA F       1951 SOUTHERN BLVD #12                                                                    WARREN           OH   44485‐1633
MCCALL, DEWITT A      2822 NORTH 83RD TERRACE                                                                   KANSAS CITY      KS   66109‐1430
MCCALL, DOUGLAS       190 N JANE AVE                  C/O CRYSTAL MCCALL                                        GEORGIANA        AL   36033‐4422
MCCALL, DOUGLAS       C/O CRYSTAL MCCALL              190 JANE AVE NORTH                                        GEORGIANA        AL   36033
MCCALL, DOUGLAS G     2954 PARKWAY PL                                                                           HARTLAND         MI   48353‐3236
MCCALL, ELNORA        281 S BLVD W                                                                              PONTIAC          MI   48341‐2459
MCCALL, ELNORA        281 SOUTH BLVD W                                                                          PONTIAC          MI   48341‐2459
MCCALL, ELOISE        16896 STOUT ST                                                                            DETROIT          MI   48219‐3359
MCCALL, EUGENE        1255 NEWPORT ST                                                                           DETROIT          MI   48215‐3633
MCCALL, EUGENE L      PO BOX 76                                                                                 YOUNG            AZ   85554‐0076
MCCALL, EVELYN R      5311 NORTH 1200 EAST                                                                      IDAVILLE         IN   47950‐8061
MCCALL, EVELYN R      5311 N 1200 E                                                                             IDAVILLE         IN   47950‐8061
MCCALL, FRANK R       PO BOX 351                                                                                EDGERTON         WI   53534‐0351
MCCALL, FREDERICK     16442 ROUTE 62                                                                            TIDIOUTE         PA   16351‐4240
MCCALL, GARY D        1203 JONES CREEK RD                                                                       FRANKLIN         NC   28734‐9190
MCCALL, GARY L        2552 MOUNT LEBANON RD                                                                     LEWISBURG        TN   37091‐6341
MCCALL, GERALDINE A   11023 CALIFORNIA AVE N                                                                    LYNWOOD          CA   90262‐2520
MCCALL, GWENDOLYN     14 WOODSIDE CT                                                                            CINCINNATI       OH   45246‐2310
MCCALL, HAROLD G      9300 CANTERCHASE DR APT 2B                                                                MIAMISBURG       OH   45342‐5647
MCCALL, HELEN M       192 BURNS ST                                                                              SOMERSET         NJ   08873‐2565
MCCALL, JAMES J       700 HILLSDALE DR                                                                          WEST JEFFERSON   OH   43162‐1019
MCCALL, JAMES K       6949 CLAREMORE DR                                                                         SAINT LOUIS      MO   63121‐5201
MCCALL, JIM           3289 BLUEBIRD DR                                                                          SAGINAW          MI   48601‐5705
MCCALL, JIMMY         12693 NORTHLAWN ST                                                                        DETROIT          MI   48238‐3040
MCCALL, JOE           PO BOX 14264                                                                              SAGINAW          MI   48601‐0264
MCCALL, JOSEPH K      6332 SPRINGDALE BLVD                                                                      GRAND BLANC      MI   48439‐8550
MCCALL, KATHLEEN A    3176 PRESBYTERIAN RD                                                                      MOUNT MORRIS     NY   14510‐9539
MCCALL, KATHLEEN A    4465 N 500 E                                                                              MONTPELIER       IN   47359‐9720
MCCALL, KENNETH       435 RENDALE PL                                                                            TROTWOOD         OH   45426‐2827
MCCALL, KENNEY        1611 KING ST                                                                              SAGINAW          MI   48602‐1212
MCCALL, KEVIN         APT A                           6036 GEORGETOWN ROAD                                      INDIANAPOLIS     IN   46254‐1234
MCCALL, KEVIN O       APT 133                         1952 OAK CREEK LANE                                       BEDFORD          TX   76022‐7921
MCCALL, LAURA F       8765 RANCHO DESTINO RD                                                                    LAS VEGAS        NV   89123
MCCALL, LESLIE H      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510
                                                      STREET, SUITE 600
MCCALL, LORETTA       9607 LAUDER ST                                                                            DETROIT          MI 48227‐2401
MCCALL, MARGARET L    336 S WASHINGTON ST                                                                       JASONVILLE       IN 47438‐1830
MCCALL, MARIE E       7 WOODRIDGE DR                                                                            OAK BROOK        IL 60523‐1550
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Name                      Address1                          Address2                          Address3   Address4         City                State Zip
MCCALL, MARK D            6058 RICHARDS AVE                                                                               HUBBARD              OH 44425
MCCALL, MARY A            3688 BURKEY RD                                                                                  AUSTINTOWN           OH 44515‐3335
MCCALL, MARY J            133 S 19TH ST                                                                                   SAGINAW              MI 48601‐1442
MCCALL, MARY J            133 S. 19TH ST                                                                                  SAGINAW              MI 48601‐1442
MCCALL, MICHAEL           1902 ALPINE DRIVE                                                                               COLUMBIA             TN 38401‐5148
MCCALL, NELMA G           2589 TAYLORSVILLE RD                                                                            LENOIR               NC 28645‐9277
MCCALL, PAMELA S          6612 CHESTER AVE                                                                                HODGKINS              IL 60525‐7611
MCCALL, PATRICK W         14047 LANDINGS WAY                                                                              FENTON               MI 48430‐1313
MCCALL, PATRICK WALTER    14047 LANDINGS WAY                                                                              FENTON               MI 48430‐1313
MCCALL, RENEE M           6091 WESTERN DR UNIT 62                                                                         SAGINAW              MI 48638‐5957
MCCALL, RENEE M           6091 WESTERN UNIT 62                                                                            SAGINAW              MI 48603
MCCALL, ROBERT            301 BARBARA LN                                                                                  SAGINAW              MI 48601‐9487
MCCALL, ROBERT B          9607 LAUDER ST                                                                                  DETROIT              MI 48227‐2401
MCCALL, ROBERT B          4575 WHISPER LAKE DR. Z                                                                         FLORISSANT           MO 63033
MCCALL, ROBERT F          1108 BLAINE ST                                                                                  EDGERTON             WI 53534‐1208
MCCALL, ROBERT L          10709 N FAYE AVE                                                                                MUNCIE               IN 47303‐9542
MCCALL, RUFUS A           817 CHURCHILL DR                                                                                FREDERICKSBURG       VA 22407‐6810
MCCALL, RUTHIE            WALKER & WALKER                   PO BOX 22849                                                  JACKSON              MS 39225‐2849
MCCALL, RUTHIE            SANDERS EDWARD                    PO BOX 2728                                                   COLUMBUS             MS 39704‐2728
MCCALL, RUTHIE            LUCAS ALVIS & WASH                2 CHASE CORPORATE DR STE 460                                  BIRMINGHAM           AL 35244‐7024
MCCALL, RYAN              4465 N 500 E                                                                                    MONTPELIER           IN 47359‐9720
MCCALL, SARAH G           1440 OCONEE HEIGHTS DR                                                                          GREENSBORO           GA 30642‐3213
MCCALL, SHAUN C           APT 202                           4137 GREENVALE ROAD                                           CLEVELAND            OH 44121‐2829
MCCALL, SHIRA A           10636 LORWOOD DR                                                                                DALLAS               TX 75238‐2831
MCCALL, SHIRLEY ANN       100 HAMPTON RD LOT 169                                                                          CLEARWATER           FL 33759‐3961
MCCALL, TRACY L           1433 REMSING ST                                                                                 HARTLAND             MI 48353‐3457
MCCALL, VELMA R           526 GROVE LN                                                                                    CHINO VALLEY         AZ 86323‐6901
MCCALL, WARREN J          PO BOX 101                                                                                      MINERAL RIDGE        OH 44440‐0101
MCCALL, WARREN J          P.O. BOX 101                                                                                    MINERAL RIDGE        OH 44440‐0101
MCCALL, WILLETTA          4525 E MAIN ST APT A‐3                                                                          MILLINGTON           MI 48746
MCCALL, WILLIAM J         8103 BELLFLOWER RD                                                                              MENTOR               OH 44060‐4208
MCCALL, WILLIAM J         221 MELBOURNE BLVD                                                                              ELKTON               MD 21921‐6205
MCCALL, WILLIAM S         9854 BOUCHER RD                                                                                 OTTER LAKE           MI 48464‐9417
MCCALL, WILLIAM SHELDON   9854 BOUCHER RD                                                                                 OTTER LAKE           MI 48464‐9417
MCCALL, WILLIE            19176 LESURE ST                                                                                 DETROIT              MI 48235‐1722
MCCALLA THOMPSON PYBURN   HYMOWITZ & SHAPIRO                414 IONA ST                                                   METAIRIE             LA 70005
MCCALLA, LAVETA           809 PRIMROSE CT                                                                                 BELLE MEAD           NJ 08502‐6431
MCCALLAN, AGNES M         107 SUNNY RIDGE DR                                                                              COUNCIL BLUFFS        IA 51503‐1637
MCCALLEY MECHANICS, INC   5264 NE 14TH ST                                                                                 DES MOINES            IA 50313‐2006
MCCALLION STEPHANIE       MCCALLION, STEPHANIE              30 EAST BUTLER PIKE , SUITE 310                               AMBLER               PA 19002
MCCALLION, SHARYN P       PO BOX 126                                                                                      BURGHILL             OH 44404‐0126
MCCALLISTER JR, JOHN E    209 GALEWOOD DR                                                                                 NEW CARLISLE         OH 45344‐1308
MCCALLISTER, AMBER
MCCALLISTER, BARBARA K    125 ADKINS ST                                                                                   CAMPTI              LA   71411‐4722
MCCALLISTER, BESSIE K     5820 VILLAGE DRIVE                                                                              INDIANAPOLIS        IN   46239‐1857
MCCALLISTER, CALVIN C     6710 36TH AVE E LOT 329                                                                         PALMETTO            FL   34221‐8615
MCCALLISTER, CHARLES D    1901 COPENHAVER DR                                                                              INDIANAPOLIS        IN   46228‐1231
MCCALLISTER, ESTHER N     4216 FOREST TERRACE                                                                             ANDERSON            IN   46013‐2469
MCCALLISTER, GLADYS       25920 BALLARD STREET                                                                            HARRISON TOWNSHIP   MI   48045
MCCALLISTER, GLORIA A     4198 ROLLING TRAILS RD                                                                          GREENWOOD           IN   46142‐7362
MCCALLISTER, GREGORY D    3447 BLUE LAKE DR                                                                               FLINT               MI   48506‐2083
MCCALLISTER, IRVIN G      11324 MEMORIAL ST                                                                               DETROIT             MI   48227‐1057
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Name                         Address1                        Address2                      Address3   Address4         City            State Zip
MCCALLISTER, JEFFREY
MCCALLISTER, JOHN            PO BOX 49741                                                                              DAYTON          OH    45449‐0741
MCCALLISTER, JOYCE G         4926 BREHOB RD                                                                            INDIANAPOLIS    IN    46217‐3502
MCCALLISTER, LEROY E         4919 RALSTON AVE                                                                          INDIANAPOLIS    IN    46205‐1343
MCCALLISTER, LEROY EDWARD    4919 RALSTON AVE                                                                          INDIANAPOLIS    IN    46205‐1343
MCCALLISTER, MARVIN L        10034 W 55 S                                                                              FARMLAND        IN    47340‐8933
MCCALLISTER, MARVIN LEE      10034 W 55 S                                                                              FARMLAND        IN    47340‐8933
MCCALLISTER, MARY J          406 THORS ST                                                                              PONTIAC         MI    48342‐1967
MCCALLISTER, MARY J          406 THORS                                                                                 PONTIAC         MI    48342‐1967
MCCALLISTER, MICHELLE R      8830 PILGRIM                                                                              WASHINGTON      MI    48094‐2928
MCCALLISTER, ORVILLE E       1316 E 7TH ST                                                                             MUNCIE          IN    47302‐3612
MCCALLISTER, PAUL R          4926 BREHOB RD                                                                            INDIANAPOLIS    IN    46217‐3502
MCCALLISTER, RANDALL P       4302 WESTERN RD LOT 34                                                                    FLINT           MI    48506
MCCALLISTER, SHIRLEY A       1808 NORTHVIEW DR                                                                         LAPEER          MI    48446‐7635
MCCALLISTER, STEVEN          8934 SPRINGRIDGE DR                                                                       KEITHVILLE      LA    71047‐7606
MCCALLISTER, THAD A          328 ELLIOT WOOD PLACE                                                                     FORT WAYNE      IN    46804‐6709
MCCALLISTER, VICTOR C        3717 W THORNBURG DR                                                                       MUNCIE          IN    47304‐6120
MCCALLISTER, VICTOR CRAIG    3717 W THORNBURG DR                                                                       MUNCIE          IN    47304‐6120
MCCALLISTER, WILLIAM M       327 3RD STREET DR W LOT 20                                                                PALMETTO        FL    34221‐5243
MCCALLUM DONALD A (493987)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA    23510
                                                             STREET, SUITE 600
MCCALLUM EQUI/BERVIL         13927 HOUGH RD                                                                            BERVILLE        MI    48002‐3913
MCCALLUM EQUIPMENT CO        13927 HOUGH RD                                                                            BERVILLE        MI    48002‐3913
MCCALLUM KARL                6861 JASMINE DR                                                                           TROY            MI    48098‐6920
MCCALLUM, ALVIN P            22995 W TOLEDO ST                                                                         CURTICE         OH    43412‐9655
MCCALLUM, BRIAN L            6501 SOUTHAMPTON DR                                                                       CLARKSTON       MI    48346‐4742
MCCALLUM, BRUCE M            10296 KING RD                                                                             DAVISBURG       MI    48350‐1907
MCCALLUM, CAROL S            5694 S. ISLAND LANE                                                                       BEAVERTON       MI    48612‐8517
MCCALLUM, CAROL S            5694 ISLAND DR                                                                            BEAVERTON       MI    48612‐8517
MCCALLUM, DENNIS E           729 STILL POND RD                                                                         COLUMBIA        TN    38401‐5554
MCCALLUM, DONALD A           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA    23510‐2212
                                                             STREET, SUITE 600
MCCALLUM, DOUGLAS N          7459 E COLDWATER RD                                                                       DAVISON         MI    48423‐8920
MCCALLUM, DOUGLAS NELSON     7459 EAST COLDWATER ROAD                                                                  DAVISON         MI    48423‐8920
MCCALLUM, FLOYD J            18038 W HYLAND RD                                                                         BRODHEAD        WI    53520‐9312
MCCALLUM, GEORGE G           8103A DELAWARE ST                                                                         OSCODA          MI    48750‐2333
MCCALLUM, GILBERT J          6315 N MISTY OAK TER                                                                      BEVERLY HILLS   FL    34465‐2595
MCCALLUM, GWENDOLYN J        3487 MOYER RD                                                                             N TONAWANDA     NY    14120‐9502
MCCALLUM, HOWARD W           3503 PICKLE RD                                                                            OREGON          OH    43616‐4123
MCCALLUM, HOWARD WALTER      3503 PICKLE RD                                                                            OREGON          OH    43616‐4123
MCCALLUM, JABEZ L            1420 WELLESLEY ST                                                                         INKSTER         MI    48141‐1522
MCCALLUM, JAMES S            12481 SHADY OAK DR BOX 61                                                                 SOUTH LYON      MI    48178
MCCALLUM, JAMES V            1274 CREEK POINTE DR                                                                      ROCHESTER       MI    48307‐1725
MCCALLUM, JAY D              PO BOX 224                                                                                SOUTH WAYNE     WI    53587‐0224
MCCALLUM, JENNIFER           13141 WILLOW GROVE DR                                                                     DEWITT          MI    48820‐9391
MCCALLUM, JENNIFER LEE       13141 WILLOW GROVE DR                                                                     DEWITT          MI    48820‐9391
MCCALLUM, JOHN L             G4425 ALDER DR                                                                            FLINT           MI    48506
MCCALLUM, KAREN A            1463 PONDVIEW DR                                                                          DAVISON         MI    48423‐7820
MCCALLUM, KIMBERLY A         9752 GARWOOD ST                                                                           LITTLETON       CO    80125‐8812
MCCALLUM, LAWRENCE M         104 LUELLA ST                                                                             OREGON          OH    43616‐1653
MCCALLUM, LUELLA             11033 KENMOOR ST                                                                          DETROIT         MI    48205‐3217
MCCALLUM, LUELLA             11033 KENMOORE                                                                            DETROIT         MI    48205
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Name                          Address1                          Address2             Address3      Address4         City             State Zip
MCCALLUM, MARK J              10145 BALDWIN RD                                                                      GAINES            MI 48436‐9773
MCCALLUM, MARK JOHN           10145 BALDWIN RD                                                                      GAINES            MI 48436‐9773
MCCALLUM, MARY B              6060 SHORE BLVD S APT 103                                                             GULFPORT          FL 33707
MCCALLUM, MARY B              219 PARK AVE                                                                          LOCKPORT          NY 14094
MCCALLUM, MICHAEL J           4345 CROSBY RD                                                                        FLINT             MI 48506‐1415
MCCALLUM, MICHEL              27244 LARKIN DR                                                                       BROWNSTOWN TWP    MI 48183‐4847
MCCALLUM, NANCY M             4100 SOUTH 10 MILE ROAD                                                               BRECKENRIDGE      MI 48615‐9630
MCCALLUM, NEIL W              374 CRESTWOOD DR                                                                      OXFORD            MI 48371‐6138
MCCALLUM, RICHARD B           361 FOWLERVILLE RD                                                                    FOWLERVILLE       MI 48836‐7900
MCCALLUM, RICHARD BLAKE       361 FOWLERVILLE RD                                                                    FOWLERVILLE       MI 48836‐7900
MCCALLUM, ROBERT C            10050 NORMAN RD                                                                       GREENWOOD         MI 48006‐2208
MCCALLUM, ROBERT D            2015 W GODMAN AVE                 APT 14                                              MUNCIE            IN 47303‐4783
MCCALLUM, ROBERT D.           1304 N SNOWMASS LN                                                                    MUNCIE            IN 47304‐5047
MCCALLUM, ROGER D             13141 WILLOW GROVE DR                                                                 DEWITT            MI 48820‐9391
MCCALLUM, TESSIE S            25310 LYNDON                                                                          REDFORD           MI 48239‐3337
MCCALLUM, THOMAS J            109 SUNNYSIDE LN                                                                      COLUMBIA          TN 38401‐5234
MCCALLUM, VICTORIA J          361 FOWLERVILLE RD                                                                    FOWLERVILLE       MI 48836‐7900
MCCALLUM, WENDY M             32326 SPRUCE LN                                                                       BEVERLY HILLS     MI 48025
MCCALLUM, WILFORD L           3226 MONTANA AVE                                                                      FLINT             MI 48506‐2557
MCCALLUM, WILLIAM A           204 N PALM DR                                                                         WINNABOW          NC 28479‐5671
MCCALLY TOOL & SUPPLY CO      2445 INDUSTRIAL HIGHWAY SUITE 1                                                       ANN ARBOR         MI 48104
MCCALLY, PAUL L               2469 PERIWINKLE DR                                                                    BELLBROOK         OH 45305‐1730
MCCALLY, THALIA L             613 CREIGHTON AVE                                                                     DAYTON            OH 45410‐2742
MCCALLY, WALTON J             4441 S 400 W                                                                          ANDERSON          IN 46011
MCCALMAN, MICHAEL H           27202 FAIRCLOTH PL                                                                    DAPHNE            AL 36526
MCCAMBRIDGE, GREGORY M        5800 DEARBORN PKWY                                                                    DOWNERS GROVE      IL 60516‐1427
MCCAMBRIDGE, LORETTA M        4408 SUN DROP DR. NE                                                                  COMSTOCK PARK     MI 49321
MCCAMBRIDGE, RONALD D         5555 N MEADOWLARK LN                                                                  MIDDLETOWN        IN 47356‐9701
MCCAMERON, GLENDA D           PO BOX 136                                                                            QULIN             MO 63961‐0136
MCCAMEY, LORETTA J            4659 BELFAST DR                                                                       COLUMBUS          OH 43227‐2528
MCCAMLY PLAZA HOTEL INC       50 CAPITAL AVE SW                                                                     BATTLE CREEK      MI 49017‐3515
MCCAMMACK, DENNIS N           8310 WAVERLY RD                                                                       MARTINSVILLE      IN 46151‐7617
MCCAMMACK, EMIL H             5531 W HENRY ST                                                                       INDIANAPOLIS      IN 46241‐0619
MCCAMMACK, RONALD H           7669 S MONTICELLO ST                                                                  TERRE HAUTE       IN 47802‐9366
MCCAMMENT, DAVID M            35278 GLEN LN                                                                         WILDOMAR          CA 92595‐9065
MCCAMMON, BRUCE C             7836 W 88TH ST                                                                        INDIANAPOLIS      IN 46278‐1111
MCCAMMON, CHRISTOPHER A       108 W COUNTY ROAD 600 S                                                               MUNCIE            IN 47302‐9444
MCCAMMON, CHRISTOPHER ALLAN   108 W COUNTY ROAD 600 S                                                               MUNCIE            IN 47302‐9444
MCCAMMON, DICKIE L            2265 NORTH                        100 EAST COUNTY RD                                  HARTFORD CITY     IN 47348
MCCAMMON, FORD A              44618 ALBERT DR                                                                       PLYMOUTH          MI 48170‐3905
MCCAMMON, JAMES W             3695 LORENA DR                                                                        WATERFORD         MI 48329‐4239
MCCAMMON, JANELLE L           3249 BRADWAY BLVD                                                                     BLOOMFIELD        MI 48301‐2507
MCCAMMON, JOHN W              481 MANCHESTER AVE                                                                    YOUNGSTOWN        OH 44509‐1736
MCCAMMON, MARILYN S           108 W COUNTY ROAD 600 S                                                               MUNCIE            IN 47302‐9444
MCCAMMON, MATTHEW C           2309 GRAND PRIX DR APT B                                                              INDIANAPOLIS      IN 46224‐4393
MCCAMMON, MATTHEW CHARLES     2309 GRAND PRIX DR APT 9                                                              INDIANAPOLIS      IN 46224‐4393
MCCAMMON, PHILLIP E           1112 W COUNTY ROAD 600 S                                                              MUNCIE            IN 47302‐9528
MCCAMPBELL JR, ELLSWORTH      333 E PULASKI AVE                                                                     FLINT             MI 48505‐3354
MCCAMPBELL, EUGENE E          811 W RED BIRD LN                                                                     DALLAS            TX 75232‐3119
MCCAMPBELL, KATHLEEN W        1659 COBBLESTONE LANE                                                                 OXFORD            MI 48371‐1248
MCCAMPBELL, LAWRENCE R        1659 COBBLESTONE LN                                                                   OXFORD            MI 48371‐2743
MCCAMPBELL, ROBERT E          3938 HIGHWAY 117                                                                      POWHATAN          AR 72458‐8506
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Name                                 Address1                             Address2                        Address3                    Address4                 City              State Zip
MCCAMURY EARL                        929 23RD AVE                                                                                                              BELLWOOD            IL 60104‐2508
MCCAMY FRANK                         MCCAMY, FRANK                        COZEN O'CONNOR                  301 SOUTH COLLEGE STREET,                            CHARLOTTE          NC 28202‐6037
                                                                                                          SUITE 2100
MCCAMY, FRANK                        COZEN O'CONNOR                       301 S COLLEGE ST STE 2100                                                            CHARLOTTE         NC 28202‐6051
MCCANCE DARYL                        MCCANCE, DARYL                       2550 FIFTH AVENUE 9TH FLOOR                                                          SAN DIEGO         CA 92103
MCCANCE, DARYL                       LEMON LAW ASSOCIATES OF CALIFORNIA   2550 FIFTH AVENUE 9TH FLOOR                                                          SAN DIEGO         CA 92103

MCCANCE, MICHAEL L                   31225 PICKWICK LN                                                                                                         BEVERLY HILLS     MI   48025‐5244
MCCANCE, MICHAEL LEE                 31225 PICKWICK LN                                                                                                         BEVERLY HILLS     MI   48025‐5244
MCCANCE, WENDY E                     31225 PICKWICK LN                                                                                                         BEVERLY HILLS     MI   48025‐5244
MCCANCE, WENDY ELLEN                 31225 PICKWICK LN                                                                                                         BEVERLY HILLS     MI   48025‐5244
MCCANDLESS DONALD (459196)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                          NORFOLK           VA   23510
                                                                          STREET, SUITE 600
MCCANDLESS JEFFREY                   MCCANDLESS, JEFFREY                  3706 SW TOPEKA BLVD STE 300                                                          TOPEKA            KS 66609‐1239
MCCANDLESS JEFFREY                   MCCANDLESS, SHARI                    3706 SW TOPEKA BLVD STE 300                                                          TOPEKA            KS 66609‐1239
MCCANDLESS, DONALD                   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                          NORFOLK           VA 23510
                                                                          STREET, SUITE 600
MCCANDLESS, JEFFREY                 BUTLER & ASSOCIATES PA                3706 SW TOPEKA BLVD STE 300                                                          TOPEKA            KS   66609‐1239
MCCANDLESS, JOAN                    370 BLACKSTONE DR                                                                                                          NEW CASTLE        PA   16105‐1316
MCCANDLESS, JOAN                    370 BLOCKSTONE DRIVE                                                                                                       NEW CASTLE        PA   16105‐1316
MCCANDLESS, SHARI                   BUTLER & ASSOCIATES PA                3706 SW TOPEKA BLVD STE 300                                                          TOPEKA            KS   66609‐1239
MCCANDLESS, WILLIAM L               114 E SHORT ST                                                                                                             WILMINGTON        OH   45177‐2852
MCCANDLISH, BARBARA ANN             27795 DEQUINDRE #111                                                                                                       MADISON HEIGHTS   MI   48071‐5710
MCCANE, DORIS                       430 N WATER STREET                                                                                                         GEORGETOWN        OH   45121
MCCANE, EARL F                      7118 MONONGAHELA DR                                                                                                        CINCINNATI        OH   45244‐3118
MCCANE, JOHNNY M                    4201 N MANCHESTER RD                                                                                                       MUNCIE            IN   47304‐1318
MCCANE, JOHNNY MACK                 4201 N MANCHESTER RD                                                                                                       MUNCIE            IN   47304‐1318
MCCANE, MADGE E                     314 STITES AVE                                                                                                             CINCINNATI        OH   45226‐2107
MCCANE, THOMAS A                    4213 NORROSE DR                                                                                                            INDIANAPOLIS      IN   46226‐4443
MCCANHAM, GEORGE E                  5457 SANDUSKY RD                                                                                                           PECK              MI   48466‐9787
MCCANLESS, KEITH A                  22W248 ELMWOOD DR                                                                                                          GLEN ELLYN        IL   60137‐7028
MCCANN AND HUBBARD                  ATTN W LYNN OWENS                     1804 WILLIAMSON CT              STE 201                                              BRENTWOOD         TN   37027‐8191
MCCANN BUILDING SERVICES            KAHN & ASSOCIATES                     55 PUBLIC SQ STE 650                                                                 CLEVELAND         OH   44113‐1909
MCCANN BUILDING SERVICES            55 PUBLIC SQ STE 650                                                                                                       CLEVELAND         OH   44113‐1909
MCCANN CADILLAC HUMMER SAAB         6411 20TH ST E                                                                                                             FIFE              WA   98424‐2205
MCCANN CADILLAC OF FIFE             6411 20TH ST E                                                                                                             FIFE              WA   98424‐2205
MCCANN ERICKSON                     755 W BIG BEAVER RD                                                                                                        TROY              MI   48084
MCCANN ERICKSON CORP SA PUERTO RICO PO BOX 9023389                        EL CARIBE BKDG                                                                       SAN JUAN          PR   00902‐3389
DIV
MCCANN ERICKSON INC                 ATTN N MORALES                        622 THIRD AVE                                                                        NEW YORK          NY   10017
MCCANN ERICKSON LATIN AMERICA       5820 BLUE LAGOON DRIVE                2ND FLOOR                                                                            MIAMI             FL   33126
MCCANN ERICKSON LATIN AMERICA       360 WEST MAPLE RD                                                                                                          BIRMINGHAM        MI   48009
MCCANN ERICKSON LATIN AMERICA       1201 BRICKELL AVE STE 600                                                                                                  MIAMI             FL   33131‐3200
CARIBBEAN MIAMI
MCCANN ERIKSON
MCCANN FITZGERALD                   2 HARBOURMASTER PL                    INTL FINANCIAL SERVICE CENTRE   DUBLIN 1                    DUBLIN 2 IRELAND
MCCANN FITZGERALD                   2 HARBOURMASTER PL                                                                                DUBLIN 1 IRELAND
MCCANN HUMMER OF FIFE               6411 20TH ST E                                                                                                             FIFE              WA   98424‐2205
MCCANN III, LAWRENCE E              611 OAK BROOK PL                                                                                                           COLUMBUS          OH   43228‐2233
MCCANN JOAN                         13 CHESTNUT PASTURE RD                                                                                                     CONCORD           NH   03301‐7902
MCCANN JR, LAWRENCE E               623 MAIN ST                                                                                                                GROVEPORT         OH   43125‐1420
MCCANN JR, MIKE                     1201 HIDDEN BROOK DR                                                                                                       HICKSVILLE        OH   43526‐9343
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Name                            Address1                         Address2            Address3         Address4              City            State Zip
MCCANN JR, NATHANIEL            1605 STONE ST                                                                               FLINT            MI 48503‐1107
MCCANN LEO E (455176)           WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                            NEW YORK         NY 10038
MCCANN MICHAEL                  550 WOODLAKE DR                                                                             CHESAPEAKE       VA 23320‐8904
MCCANN MOTORS INC               MELAINE MCCANN                   6411 20TH ST E                                             FIFE             WA 98424
MCCANN MOTORS, INC.             6416 18TH STREET EAST                                                                       FIFE             WA 98424
MCCANN MOTORS, INC.             MELAINE MCCANN                   6411 20TH ST E                                             FIFE             WA 98424‐2205
MCCANN RELATIONSHIP MARKETING   622 3RD AVE FL 4                                                                            NEW YORK         NY 10017‐6724
PARTNERS WORLDWIDE
MCCANN SAAB OF FIFE             6411 20TH ST E                                                                              FIFE            WA 98424‐2205
MCCANN SAAB OF FIFE             MCCANN, MELAINE S.               6411 20TH ST E                                             FIFE            WA 98424‐2205
MCCANN TAYLOR                   8718 SUNSET BREEZE DR                                                                       RENO            NV 89506‐4136
MCCANN U.S.A., INC.
MCCANN'S GARAGE                 39 GRAHAM ST.                                                         PAKENHAM ON K0A 2X0
                                                                                                      CANADA
MCCANN'S GARAGE                 4721 EAST MILWAUKEE STREET                                                                  JANESVILLE      WI   53546
MCCANN'S SERVICE, INC.          690 W LOCUST ST                                                                             DUBUQUE         IA   52001‐4356
MCCANN, ALLEN J                 PO BOX 1431                                                                                 JANESVILLE      WI   53547‐1431
MCCANN, ANDREW J                8 HARVEY AVE                                                                                LOCKPORT        NY   14094‐4306
MCCANN, CELINE T                175 LEHMAN WAY                                                                              HEMET           CA   92545
MCCANN, CHARLES D               1356 BISCAY DR                                                                              EDWARDSVILLE    IL   62025‐5102
MCCANN, CHRISTINA L             2732 EAST TOWER DR APT 504                                                                  CINCINNATI      OH   45238
MCCANN, CINDY L                 1040 OSSINGTON AVE                                                                          FLINT           MI   48507‐1511
MCCANN, CINDY LOU               1040 OSSINGTON AVE                                                                          FLINT           MI   48507‐1511
MCCANN, CLARA L                 4415 CAMBRIDGE                                                                              PORT HURON      MI   48060‐7207
MCCANN, DANIEL R                1317 W CENTRAL AVE                                                                          BLUFFTON        IN   46714‐2216
MCCANN, DAVID                   4041 23RD ST                                                                                SAN FRANCISCO   CA   94114‐3213
MCCANN, DAVID J                 3425 S GENESEE RD                                                                           BURTON          MI   48519‐1427
MCCANN, DEBORAH S               108 OLIVIA DR APT B                                                                         GLASGOW         KY   42141‐5143
MCCANN, DELBERT E               P. O. BOX 142 211 GREENE RD                                                                 MARTINSVILLE    OH   45146‐0142
MCCANN, DELBERT E               PO BOX 142                                                                                  MARTINSVILLE    OH   45146‐0142
MCCANN, DENNIS P                6459 ELLEN LN                                                                               JACKSON         MI   49201‐9615
MCCANN, DENNIS PATRICK          6459 ELLEN LN                                                                               JACKSON         MI   49201‐9615
MCCANN, DENNIS R                1620 E L T TOWNLINE RD                                                                      JANESVILLE      WI   53546‐9466
MCCANN, DONNA J                 3831 STATE ROUTE 743                                                                        MOSCOW          OH   45153‐7311
MCCANN, DONNA J                 3831 ST RT 743                                                                              MOSCOW          OH   45153‐7311
MCCANN, ELAINE                  SIMMONS FIRM                     PO BOX 521                                                 EAST ALTON      IL   62024‐0519
MCCANN, EVELYN L                121 E SCHANTZ AVE APT 1                                                                     DAYTON          OH   45409‐2222
MCCANN, FOX D                   1012 EVERGREEN CREEK CT                                                                     SAINT CHARLES   MO   63304‐2467
MCCANN, FRANCIS T               1402 S CHERRY ST TRLR 37                                                                    TOMBALL         TX   77375
MCCANN, GEORGE M                7714 SUNNY LN                                                                               FORT WAYNE      IN   46835‐1167
MCCANN, GEORGIA N               6802 SANTA MONICA BLVD                                                                      SHREVEPORT      LA   71119‐6902
MCCANN, GERALD W                226 STATE PARK DR                                                                           BAY CITY        MI   48706‐1761
MCCANN, HOWARD J                2672 GRAVEL CREEK RD                                                                        NORTH BRANCH    MI   48461‐8435
MCCANN, JAMES A                 3817 WHITTIER AVE                                                                           FLINT           MI   48506‐3160
MCCANN, JAMES A                 321 BRUNSWICK DR                                                                            HURON           OH   44839
MCCANN, JENELLE M               5106 E ATHERTON RD                                                                          BURTON          MI   48519‐1526
MCCANN, JENNIFER L              2225 PINE TREE DR                                                                           EDGEWATER       FL   32141‐4501
MCCANN, JENNIFER L              2189 W REID RD                                                                              FLINT           MI   48507‐4659
MCCANN, JENNIFER LORAINE        2189 W REID RD                                                                              FLINT           MI   48507‐4659
MCCANN, JENNIFER LYNN           2225 PINE TREE DR                                                                           EDGEWATER       FL   32141‐4501
MCCANN, JERRY A                 5530 GREENWOOD CIR.                                                                         NAPLES          FL   34112‐7112
MCCANN, JESSICA                 9281 VARODELL DR                                                                            DAVISON         MI   48423‐8712
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Name                     Address1                      Address2            Address3         Address4         City             State Zip
MCCANN, JOHN C           2601 M L KING AVE                                                                   FLINT             MI 48505‐4941
MCCANN, JOSEPH           598 VERNON RD                                                                       GREENVILLE        PA 16125‐9299
MCCANN, JOSEPH           598 VERNON ROAD                                                                     GREENVILLE        PA 16125‐9299
MCCANN, JOSEPHINE A      602 N LEMEN ST                                                                      FENTON            MI 48430‐1926
MCCANN, JOYCE A          8240 NORTHVIEW ROAD                                                                 BALTIMORE         MD 21222‐6023
MCCANN, KAREN A          8324 N GENESEE RD                                                                   MOUNT MORRIS      MI 48458‐8880
MCCANN, KENNETH M        PO BOX 1018                                                                         BEDFORD           IN 47421‐1018
MCCANN, KENNETH MARTIN   PO BOX 1018                                                                         BEDFORD           IN 47421‐1018
MCCANN, KEVIN J          2189 W REID RD                                                                      FLINT             MI 48507‐4659
MCCANN, KEVIN JOHN       2189 W REID RD                                                                      FLINT             MI 48507‐4659
MCCANN, LARRY E          1128 S RIDGE RD                                                                     LANSING           MI 48917‐9511
MCCANN, LATANYA M        PO BOX 53906                                                                        INDIANAPOLIS      IN 46253‐0906
MCCANN, LEO E            WEITZ & LUXENBERG P.C.        180 MAIDEN LANE                                       NEW YORK          NY 10038
MCCANN, LILLIAN D        83 BUNTING DR                                                                       CRAWFORDVILLE     FL 32327‐6206
MCCANN, LINDA C          598 VERNON RD                                                                       GREENVILLE        PA 16125‐9299
MCCANN, LOUISE A         2287 S CENTER RD APT 1015                                                           BURTON            MI 48519
MCCANN, LOUISE A         3730 WOODROW AVENUE                                                                 FLINT             MI 48506‐3136
MCCANN, LYNN A           7714 SUNNY LN                                                                       FORT WAYNE        IN 46835‐1167
MCCANN, MARGARET P       770 GOIST LN                                                                        GIRARD            OH 44420‐1403
MCCANN, MARGARET P       770 GOIST LANE                                                                      GIRARD            OH 44420‐1403
MCCANN, MARK W           9083 WILSON RD                                                                      MONTROSE          MI 48457‐9129
MCCANN, MARTHA A         703 JEFFERSON ST                                                                    HARPER            KS 67058‐1118
MCCANN, MICHAEL B        716 W JAMIESON ST                                                                   FLINT             MI 48504‐2614
MCCANN, MICHAEL C        306 N OAKHILL AVE                                                                   JANESVILLE        WI 53548‐3441
MCCANN, MICHAEL J        1428 W M‐115                                                                        BOON              MI 49618
MCCANN, MICHAEL P        9015 VILLAGE GROVE DR                                                               FORT WAYNE        IN 46804‐2648
MCCANN, MISHELLE         5716 PRENTICE RD                                                                    WATERFORD         MI 48327‐2656
MCCANN, MITCHELL D       5181 MIDDLEBORO RD                                                                  GRAND BLANC       MI 48439‐8632
MCCANN, NATHANIELL       158 E AUSTIN AVE                                                                    FLINT             MI 48505‐2739
MCCANN, RICHARD M        939 E CENTERWAY ST                                                                  JANESVILLE        WI 53545‐3141
MCCANN, RICHARD M        1414 N ROCK CHURCH RD                                                               WARRENTON         MO 63383‐7801
MCCANN, ROBERT E         6500 N US HIGHWAY 51                                                                JANESVILLE        WI 53545‐9656
MCCANN, ROBERT F         10 ANDIAMO                                                                          NEWPORT COAST     CA 92657
MCCANN, ROBERT J         45205 FAIR OAKS DR                                                                  CANTON            MI 48187‐5003
MCCANN, ROBERT W         799 LAKEVIEW DR                                                                     CHANDLER          TX 75758‐5114
MCCANN, ROBERT W         300 LEJUENE DR                                                                      MERRITT ISLAND    FL 32953
MCCANN, RONALD E         C‐9 CEDAR LANE APTS                                                                 OSSINING          NY 10562
MCCANN, RONALD E         8887 ROCKER AVE                                                                     PLYMOUTH          MI 48170‐4128
MCCANN, SANDRA K         318 TENNYSON AVE                                                                    FLINT             MI 48507‐2661
MCCANN, SANDRA KAY       318 TENNYSON AVE                                                                    FLINT             MI 48507‐2661
MCCANN, SHARON J         1012 EVERGREEN CREEK COURT                                                          SAINT CHARLES     MO 63304‐2467
MCCANN, SHIRLEY L        17031 255TH AVE                                                                     SPIRIT LAKE        IA 51360‐7009
MCCANN, STEVEN T         1384 CATHOLIC CHURCH RD                                                             LESLIE            MI 49251‐9528
MCCANN, TERENCE W        603 S MAIN ST                                                                       FAIRMOUNT         IN 46928‐1933
MCCANN, TERRANCE E       337 HOLLAND RD                                                                      FLUSHING          MI 48433‐2164
MCCANN, THEODORE D       4627 E MONROE RD                                                                    MIDLAND           MI 48642‐8845
MCCANN, THOMAS E         2225 PINE TREE DR                                                                   EDGEWATER         FL 32141‐4501
MCCANN, THOMAS G         1243 E RACINE ST                                                                    JANESVILLE        WI 53545‐4819
MCCANN, THOMAS J         230 13TH ST                                                                         ELYRIA            OH 44035‐7002
MCCANN, THOMAS J         2724 SHERWOOD DR                                                                    JANESVILLE        WI 53545‐0432
MCCANN, THOMAS J         5406 WOOLDRIDGE RD                                                                  CORPUS CHRISTI    TX 78413‐3837
MCCANN, THOMAS L         48730 RUSSIA RD                                                                     SOUTH AMHERST     OH 44001‐9510
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Name                                  Address1                       Address2                        Address3   Address4         City                State Zip
MCCANN, TIMOTHY C                     5303 HALE DR                                                                               TROY                 MI 48085‐3479
MCCANN, TOMMIE L                      3818 SHELDONRD                                                                             CANTON               MI 48188
MCCANN, WALTER L                      PO BOX 10                                                                                  SOMERSET CTR         MI 49282‐0010
MCCANN, YVONNE B                      134 BASSWOOD AVE               APT 1                                                       DAYTON               OH 45405‐3114
MCCANN‐ERICKSON SAN FRANCISCO         135 MAIN ST                                                                                SAN FRANCISCO        CA 94105
MCCANN‐ERICKSON WORLDWIDE INC         622 3RD AVE                                                                                NEW YORK             NY 10017
MCCANNON, JENNIE A                    4973 BRIDGEPORT LN                                                                         NORCROSS             GA 30092‐1703
MCCANS, KAREN B                       201 AVENUE B APT 1                                                                         KNOXVILLE            TN 37920‐4081
MCCANT ARTHUR                         MCCANT, ARTHUR                 31100 NORTHWESTERN HWY                                      FARMINGTON HILLS     MI 48334‐2519
MCCANT, ARTHUR                        4184 BISHOP ST                                                                             DETROIT              MI 48224‐2318
MCCANT, ARTHUR L                      4184 BISHOP ST                                                                             DETROIT              MI 48224‐2318
MCCANT, ARTHUR LOUIS                  4184 BISHOP ST                                                                             DETROIT              MI 48224‐2318
MCCANT, RUBY R                        210 CREST DR                                                                               EXCELSIOR SPRINGS    MO 64024‐1604
MCCANT, RUBY R                        210 CREST AVE.                                                                             EXCELSIOR SPRINGS    MO 64024
MCCANT, WILLIAM M                     210 CREST DR                                                                               EXCELSIOR SPRINGS    MO 64024‐1604
MCCANTS, ANGELA                       18431 TEPPERT                                                                              DETROIT              MI 48234‐3860
MCCANTS, ANGELA                       18431 TEPPERT ST                                                                           DETROIT              MI 48234‐3860
MCCANTS, BETTY C                      57 MARKO DR                                                                                BOGART               GA 30622
MCCANTS, BETTY C                      3957 5TH ST                                                                                DORAVILLE            GA 30360‐2905
MCCANTS, CLEO                         PO BOX 480412                                                                              NEW HAVEN            MI 48048‐0412
MCCANTS, DEWAYNE                      625 MYSTIC CV                                                                              O FALLON             MO 63368‐9659
MCCANTS, ELIZABETH                    2865 SALMON AVE SE                                                                         ATLANTA              GA 30317‐3448
MCCANTS, GAYLON F                     3957 5TH ST                                                                                DORAVILLE            GA 30360‐2905
MCCANTS, GAYLON F                     57 MARKO DR                                                                                BOGART               GA 30622
MCCANTS, GENERAL L                    550 CLINTON RIVER DR                                                                       MOUNT CLEMENS        MI 48043‐2464
MCCANTS, GEORGE W                     PO BOX 93302                                                                               ATLANTA              GA 30377‐0302
MCCANTS, GERALDINE                    4701 CHRYSLER DR               APT 820                                                     DETROIT              MI 48201‐2333
MCCANTS, JERRY                        504 EAST KIRVY APT 3                                                                       DETROIT              MI 48202
MCCANTS, ROSE M                       6036 COULSON CT                                                                            LANSING              MI 48911‐5024
MCCANTS, TRACI S                      3815 EAMES CIR                                                                             SHREVEPORT           LA 71119‐6912
MCCANTS, TRACI SMITH                  3815 EAMES CIR                                                                             SHREVEPORT           LA 71119‐6912
MCCANTS, WILBUR S                     26477 SENATOR BLVD                                                                         SOUTHFIELD           MI 48034‐5683
MCCANTS, WILBUR SOLOMON               26477 SENATOR BLVD                                                                         SOUTHFIELD           MI 48034‐5683
MCCANTY, DOUGLAS P                    PO BOX 2031                                                                                OCKLAWAHA            FL 32183‐2031
MCCARARY, FRANKLIN J                  299 MULBERRY                                                                               BELLEVILLE           MI 48111‐9020
MCCARARY, GARY                        11511 IMHOFF CT                                                                            CINCINNATI           OH 45240‐2301
MCCARARY, JOE F                       8177 FOURTH ST                                                                             NAVARRE              FL 32566‐9129
MCCARARY, LINDA                       299 MULBERRY                                                                               BELLEVILLE           MI 48111‐9020
MCCARDELL GERALD (ESTATE OF) (478526) BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD           OH 44067
                                                                     PROFESSIONAL BLDG
MCCARDELL, EMMETT B                   3001 DELMAR AVE                                                                            BALTIMORE           MD 21219‐1209
MCCARDELL, GERALD                     BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD          OH 44067
                                                                     PROFESSIONAL BLDG
MCCARDELL, SHAWN                      624 E MAIN ST                                                                              THURMONT            MD 21788‐1724
MCCARDLE, JOHN J                      1655 N GOODLET AVE                                                                         INDIANAPOLIS        IN 46222‐2717
MCCARDLE, LILBURN
MCCARDLE, PATRICK M                   3141 MURPHY LAKE RD                                                                        SILVERWOOD          MI   48760‐9536
MCCAREL, MACK W                       1414 SUL ROSS STREET                                                                       HOUSTON             TX   77006‐4830
MCCARGISH, GARY E                     7590 S KESSLER FREDERICK RD                                                                WEST MILTON         OH   45383‐8789
MCCARGISH, GEORGE H                   3900 ROBERTANN DR                                                                          KETTERING           OH   45420‐1055
MCCARGISH, JOAN C                     3183 PINE MANOR BOULEVARD                                                                  GROVE CITY          OH   43123‐4842
MCCARGISH, JOAN C
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Name                               Address1                           Address2                        Address3   Address4         City               State Zip
MCCARGO KIRK PC                    155 W CONGRESS ST STE 450                                                                      DETROIT             MI 48226‐3257
MCCARIUS, DANA J                   37152 CLUBHOUSE DR                                                                             STERLING HEIGHTS    MI 48312‐2239
MCCARLEY DOUGLAS MCARTHUR (631520) COON & ASSOCS BRENT                917 FRANKLIN ST STE 210                                     HOUSTON             TX 77002‐1751

MCCARLEY LARRY SR (ESTATE OF) (641080) BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                                      PROFESSIONAL BLDG
MCCARLEY, ANNIE LOUI                  237 SEVILLE CIRCLE                                                                          MARY ESTHER        FL   32569‐1472
MCCARLEY, BONITA L                    609 E LOGAN ST                                                                              TECUMSEH           MI   49286‐1526
MCCARLEY, DAMON R                     1231 SHIRLEY DR                                                                             YPSILANTI          MI   48198‐6446
MCCARLEY, DAMON ROBERT                1231 SHIRLEY DR                                                                             YPSILANTI          MI   48198‐6446
MCCARLEY, DEBRA A                     324 ROSEWOOD AVE                                                                            YPSILANTI          MI   48198‐5846
MCCARLEY, DOUGLAS MCARTHUR            COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                     HOUSTON            TX   77002‐1751
MCCARLEY, GARY D                      1027 REMINGTON CIR                                                                          BURLESON           TX   76028‐6771
MCCARLEY, GARY DON                    1027 REMINGTON CIR                                                                          BURLESON           TX   76028‐6771
MCCARLEY, GERALD K                    17830 SCHMALLER RD                                                                          ATLANTA            MI   49709‐8973
MCCARLEY, GERALD KEITH                17830 SCHMALLER RD                                                                          ATLANTA            MI   49709‐8973
MCCARLEY, LARRY                       BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD         OH   44067
                                                                      PROFESSIONAL BLDG
MCCARLEY, ROBERT L                    13552 N HIGHWAY 183 STE A                                                                   AUSTIN             TX   78750
MCCARLEY, RONNIE L                    10343 FM 677 S                                                                              SAINT JO           TX   76265‐3092
MCCARLEY, SHEILA D                    25775 JAY BEE WAY                                                                           ELKMONT            AL   35620‐3617
MCCARLEY, TIMOTHY M                   29655 PICKFORD ST                                                                           LIVONIA            MI   48152‐3463
MCCARLEY, TROY L                      2454 COUNTY ROAD 3250                                                                       PARADISE           TX   76073‐2508
MCCARLEY, TROY L                      2454 C R 3250                                                                               PARADISE           TX   76073
MCCARLEY, VINCENT                     1311 MIAMI ST                                                                               YOUNGSTOWN         OH   44505‐3747
MCCARLEY, WILLIAM A                   G5022 FENTON RD                                                                             FLINT              MI   48507‐4041
MCCARN, DAVID H                       749 E MAIN ST                                                                               IONIA              MI   48846‐1848
MCCARN, LARRY R                       1345 MURPHY HILL RD LOT 181                                                                 LANGSTON           AL   35755‐7340
MCCARN, LEWIS E                       18251 90TH AVE                                                                              MARION             MI   49665‐8087
MCCARN, PATRICIA A                    9545 DUCK RD                                                                                SAINT HELEN        MI   48656‐9753
MCCARN, WARD B                        18251                           90TH AVE                                                    MARION             MI   49665‐8087
MCCARNAN, DAVID C                     4330 67TH ST N                                                                              ST PETERSBURG      FL   33709
MCCARNAN, MARK D                      6272 SHEARWATER DR                                                                          FAIRFIELD          OH   45014‐4926
MCCARNAN, NICHOLAS A                  6272 SHEARWATER DR                                                                          FAIRFIELD          OH   45014‐4926
MCCARNAN,MARK D                       6272 SHEARWATER DR                                                                          FAIRFIELD          OH   45014‐4926
MCCARNEY JR, LEONARD H                8220 MEDALLION PL                                                                           FORT WAYNE         IN   46825‐6457
MCCARNEY, LYNANN M                    8220 MEDALLION PL                                                                           FORT WAYNE         IN   46825‐6457
MCCARNEY, LYNANN MARIE                8220 MEDALLION PL                                                                           FORT WAYNE         IN   46825‐6457
MCCARR, CAROLYN A                     180 NORTHSIDE DR , LOFT #306                                                                ATLANTA            GA   30313
MCCARR, CAROLYN A P                   180 NORTHSIDE DR , LOFT #306                                                                ATLANTA            GA   30313
MCCARRA, WAYNE A                      2118 FREELAND RD                                                                            FREELAND           MD   21053‐9587
MCCARRAHER, HAROLD T                  47 PERKINS ST                                                                               SOMERSET           MA   02725‐1718
MCCARREN ROBERT                       MCCARREN, ROBERT                30928 FORD RD                                               GARDEN CITY        MI   48135‐1803
MCCARREN, ANN M                       3740 WINDEMERE DR                                                                           ANN ARBOR          MI   48105‐2868
MCCARREN, JAMES C                     6073 OREGONIA RD                                                                            OREGONIA           OH   45054‐9737
MCCARREN, JAY C                       6314 OLIVE BRANCH RD                                                                        OREGONIA           OH   45054‐9715
MCCARREN, ROBERT                      CONSUMER LEGAL SERVICES P.C.    30928 FORD RD                                               GARDEN CITY        MI   48135‐1803
MCCARREN, SHELLY K                    192 W FAIRMOUNT AVE                                                                         PONTIAC            MI   48340‐2738
MCCARRIAGHER, KEVIN H                 3677 MEADOWBROOK ACRES                                                                      N TONAWANDA        NY   14120‐1247
MCCARRICK JR, RICHARD L               103 DUNLAP ST                                                                               LANSING            MI   48910‐2821
MCCARRICK, DANIEL W                   7004 NORTH STRATTON COURT                                                                   PEORIA             IL   61615‐9292
MCCARRICK, EILEEN                     4046 FOREST STREET                                                                          LEONARD            MI   48367‐1909
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Name                            Address1                         Address2                          Address3   Address4         City                   State Zip
MCCARRICK, GARY J               2380 WALCE DR                                                                                  WEST BLOOMFIELD         MI 48324‐1766
MCCARRICK, HERBERT E            211 LONE PINE STREET                                                                           ROSCOMMON               MI 48653‐8241
MCCARRICK, MARGUERITE H         211 LONE PINE STREET                                                                           ROSCOMMON               MI 48653‐8241
MCCARRICK, MARK ANTHONY         111 OAKWOOD ST                                                                                 HOLLY                   MI 48442‐1331
MCCARRICK, SEAN M               7027 N SCOTTSDALE RD STE 130N                                                                  PARADISE VALLEY         AZ 85253
MCCARRICK, SEAN MICHAEL         7027 N SCOTTSWDALE RD, STE 130                                                                 SCOTTSDALE              AZ 85253‐0685
MCCARRICK, WILLIS L             600 N STATE RD                                                                                 OWOSSO                  MI 48867‐9032
MCCARRISTON I I, RICHARD J      5400 PARK LANE CT                                                                              COLUMBUS                OH 43231‐4018
MCCARRISTON, NOEL A             3228 SKANDER DR                                                                                FLINT                   MI 48504‐1232
MCCARRISTON, NOEL ALEXANDER     3228 SKANDER DR                                                                                FLINT                   MI 48504‐1232
MCCARROLL JACQUELINE            DBA MCCARROLL ASSOCIATES         540 CARLO CT                                                  ROCHESTER HILLS         MI 48309‐2612
MCCARROLL JR, JAY R             326 WALNUT ST                                                                                  CHESTERFIELD            IN 46017‐1556
MCCARROLL JR, ROBERT L          5460 CLEVELAND AVENUE                                                                          COLUMBUS                OH 43231‐4005
MCCARROLL, ANDREW J             5256 STREEFKERK DR                                                                             WARREN                  MI 48092‐3186
MCCARROLL, BETTY                717 CHAMBORD DR                                                                                BRANDON                 MS 39042‐4015
MCCARROLL, BRADE                4915 FLETCHER ST                                                                               ANDERSON                IN 46013‐4814
MCCARROLL, BRADE D.             4915 FLETCHER ST                                                                               ANDERSON                IN 46013‐4814
MCCARROLL, CHRISTINA K          116 SOUTH ST                                                                                   CHESTERFIELD            IN 46017‐1726
MCCARROLL, DEATRA               4023 HAVEN PL                                                                                  ANDERSON                IN 46011‐5005
MCCARROLL, DEATRA L.            4023 HAVEN PL                                                                                  ANDERSON                IN 46011‐5005
MCCARROLL, DWAIN G              7558 N COUNTY ROAD 800 W                                                                       MIDDLETOWN              IN 47356‐9722
MCCARROLL, JOHN M               5657 PYLES RD                                                                                  COLUMBIAVILLE           MI 48421‐8731
MCCARROLL, LAWRENCE             92 ABBEY DR                                                                                    SPRINGBORO              OH 45066‐8322
MCCARROLL, MINNIE W             PO BOX 1371                                                                                    ANDERSON                IN 46015‐1371
MCCARROLL, PATRICK J            40 CLAIRVIEW RD                                                                                GROSSE POINTE SHORES    MI 48236‐2644
MCCARROLL, ROBERT               CO BOX 23860                     UNCW                                                          WILMINGTON              NC 28407
MCCARROLL, STEVEN C             7518 ALT E ST RT 49                                                                            ARCANUM                 OH 45304
MCCARROLL, THOMAS E             4023 HAVEN PL                                                                                  ANDERSON                IN 46011‐5005
MCCARROLL, WILLIAM A            7860 DARKE PREBLE COUNTY LIN                                                                   ARCANUM                 OH 45304
MCCARRON EUGENE J JR (640778)   ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                      WILMINGTON              DE 19801‐1813
MCCARRON JAMES (650957)         BROOKMAN ROSENBERG BROWN &       17TH FLR, ONE PENN SQUARE WEST,                               PHILADELPHIA            PA 19102
                                SANDLER                          30 SOUTH 15TH STREET
MCCARRON, CHERYL A              2123 RIDGE RD                                                                                  WHITE LAKE             MI   48383‐1742
MCCARRON, CHERYL ANN            2123 RIDGE RD                                                                                  WHITE LAKE             MI   48383‐1742
MCCARRON, EUGENE J              ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                      WILMINGTON             DE   19801‐1813
MCCARRON, JAMES                 BROOKMAN ROSENBERG BROWN &       17TH FLR, ONE PENN SQUARE WEST,                               PHILADELPHIA           PA   19102
                                SANDLER                          30 SOUTH 15TH STREET
MCCARRON, ROGER G               11307 BERKSHIRE DR                                                                             CLIO                   MI   48420‐2124
MCCARRON, SUSAN C               11716 CEDAR VALLEY DR                                                                          OKLAHOMA CITY          OK   73170‐5640
MCCARRY, BARBARA S              12185 DOTY RD                                                                                  ATLANTA                MI   49709‐9152
MCCARRY, BARBARA S              12185 DOTY ST                                                                                  ATLANTA                MI   49709
MCCARRY, PEARL K                89 S MERIDIAN RD                                                                               MASON                  MI   48854‐9648
MCCARRY, RICHARD A              12185 DOTY ROAD                                                                                ATLANTA                MI   49709‐9152
MCCARRY, ROSE E                 550 W HIGHLAND PARK AV #1521                                                                   APPLETON               WI   54911‐6116
MCCARSON, VERNA B               PO BOX 176                                                                                     PENNSVILLE             NJ   08070‐0176
MCCARSON, VERNA B               P.O.BOX 176                                                                                    PENNSVILLE             NJ   08070‐0176
MCCART, EUNICE P                127 MOCCASIN GAP ROAD                                                                          JACKSON                GA   30233‐2856
MCCART, JAMES T                 2102 KEYS FERRY RD                                                                             MCDONOUGH              GA   30252‐6227
MCCART, KATHLEEN R              650 PARK AVENUE                                                                                GREENWOOD              IN   46143‐1733
MCCART, PATRICK G               251 CAROLINE BLVD                                                                              MADISON                MS   39110‐4702
MCCART, PEGGY W                 2057 KEYS FERRY RD                                                                             MCDONOUGH              GA   30252‐6206
MCCART, STACY D                 2380 STROUD RD                                                                                 JACKSON                GA   30233‐2810
                                     09-50026-mg                 Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
                                                                            Part 24 of 40 Pg 887 of 905
Name                                Address1                             Address2                           Address3              Address4              City            State Zip
MCCARTAN, MAURA                     3245 GERTRUDE ST                                                                                                    DEARBORN         MI 48124‐3719
MCCARTAN, MAURA                     3245 GERTRUDE                                                                                                       DEARBORN         MI 48124‐3719
MCCARTER & ENGLISH                  J MARION ‐ MCCARTER & ENGLISH        PO BOX 111                                                                     WILMINGTON       DE 19899‐0111
MCCARTER & ENGLISH, LLP             ATT: CHARLES A. STANZIALE, JR.       NEW JERSEY SELF INSURERS           FOUR GATEWAY CENTER   100 MULBERRY STREET   NEWARK           NJ 07102
                                                                         GUARANTY ASSOC
MCCARTER & ENGLISH, LLP             ATT: JEFFREY T.TESTA, ESQ.           FOUR GATEWAY CENTER                100 MULBERRY STREET                         NEWARK          NJ 07102
MCCARTER DEVA LESLIE (429403)       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                    NORFOLK         VA 23510
                                                                         STREET, SUITE 600
MCCARTER, BYRON D                   1310 S SHORE DR                                                                                                     MARTINSVILLE    IN 46151‐8875
MCCARTER, COLIN F                   40454 GUILFORD                                                                                                      NOVI            MI 48375‐3617
MCCARTER, DEVA LESLIE               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                    NORFOLK         VA 23510
                                                                         STREET, SUITE 600
MCCARTER, JAMES D                   7797 WOODLAWN CIR                                                                                                   TUSCALOOSA      AL   35405‐8700
MCCARTER, JAMES E                   5748 NE 1ST ST                                                                                                      FOREST          IN   46039‐9557
MCCARTER, JOHNNIE L                 2451 SEABRIGHT AVE                                                                                                  LONG BEACH      CA   90810‐3249
MCCARTER, LAURENCE C                8440 LIBERTY BLVD                                                                                                   WESTLAND        MI   48185‐1734
MCCARTER, ROBERT O                  2447 WETHERINGTON LN.                141 THE GREENS                                                                 WOOSTER         OH   44691
MCCARTER, STACEE L                  434 DOGWOOD CREEK PL                                                                                                FUQUAY VARINA   NC   27526‐5812
MCCARTER, TASHA A                   921 CORONATION WAY                                                                                                  PFLUGERVILLE    TX   78660‐3075
MCCARTER, WANDA L                   919 N WEBSTER ST                                                                                                    KOKOMO          IN   46901‐3301
MCCARTER, WANDA L                   919 N WEBSTER                                                                                                       KOKOMO          IN   46901‐3301
MCCARTER, WILLIAM                   3625 MCCARTER TRL                                                                                                   BLAIRSVILLE     GA   30512‐0942
MCCARTHA, CHARLES C                 216 MIDDLETON PL                                                                                                    GRAYSON         GA   30017‐4116
MCCARTHEY, RICHARD G                612 N RANDALL AVE                    C/O LUTHERN SOCIAL SERVICES                                                    JANESVILLE      WI   53545‐1958
MCCARTHY AUTO WORLD                 3350 129TH AVE NW                                                                                                   COON RAPIDS     MN   55448‐1020
MCCARTHY BUILDING COMPANIES, INC.   JAN PALLARES                         1341 N ROCK HILL RD                                                            SAINT LOUIS     MO   63124‐1441

MCCARTHY CHEVROLET                  675 N RAWHIDE RD                                                                                                    OLATHE          KS   66061‐3688
MCCARTHY CHEVROLET                  JOHN MCCARTHY                        675 N RAWHIDE RD                                                               OLATHE          KS   66061‐3688
MCCARTHY CHEVROLET, INC.            JOHN MCCARTHY                        675 N RAWHIDE RD                                                               OLATHE          KS   66061‐3688
MCCARTHY DAVID                      MCCARTHY, DAVID                      147 TOWN FARM RD.                                                              IPSWICH         MA   01938
MCCARTHY DENISE                     214 LEIGHTON AVE                                                                                                    SYRACUSE        NY   13206‐1912
MCCARTHY EARL J (464892)            WEITZ & LUXENBERG P.C.               180 MAIDEN LANE                                                                NEW YORK        NY   10038
MCCARTHY EDWARD                     1414 S CAMINO REAL                                                                                                  PALM SPRINGS    CA   92264‐8833
MCCARTHY GEORGE D (412249)          THORNTON EARLY & NAUMES              100 SUMMER ST LBBY 3                                                           BOSTON          MA   02110‐2104
MCCARTHY GEORGE D (412249) ‐        THORNTON EARLY & NAUMES              100 SUMMER ST LBBY 3                                                           BOSTON          MA   02110‐2104
MCCARTHY ANNE
MCCARTHY GROUP                      BRIAN MCCARTHY                       9390 SOUTHWICK PASS                                                            ALPHARETTA      GA
MCCARTHY HUMMER LLC                 2325 PRIOR AVENUE NORTH                                                                                             SAINT PAUL      MN   55113‐2714
MCCARTHY I I I, WILLIAM P           3581 HOLLY LN                                                                                                       SAGINAW         MI   48604‐9557
MCCARTHY JAMES                      15301 SURREY HOUSE WAY                                                                                              CENTREVILLE     VA   20120‐1159
MCCARTHY JAMES J (407207)           ANGELOS PETER G LAW OFFICE           115 BROADWAY FRNT 3                                                            NEW YORK        NY   10006‐1638
MCCARTHY JASON W                    MCCARTHY AUTO WORLD                  3350 129TH AVE NW                                                              COON RAPIDS     MN   55448‐1020
MCCARTHY JOSEPH                     MCCARTHY, JOSEPH                     977 BRIDGMAM HILL RD                                                           HARDWICK        VT   05843‐9553
MCCARTHY JOSEPH W (446171)          CLIMACO LEFKOWITZ PECA WILCOX &      1228 EUCLID AVE , HALLE BLDG 9TH                                               CLEVELAND       OH   44115
                                    GAROFOLI                             FL
MCCARTHY JR, CHARLES E              1905 DUNHILL DR                                                                                                     MILFORD         MI   48381‐1121
MCCARTHY JR, EDWARD C               6496 LAKE BREEZE DRIVE                                                                                              BRIGHTON        MI   48114‐7699
MCCARTHY JR, JERRY E                330 LAKE COLLINS RD                                                                                                 TWIN CITY       GA   30471‐5052
MCCARTHY JR, JOSEPH W               7827 BONNY DR                                                                                                       SAGINAW         MI   48609‐4912
MCCARTHY JR, PATRICK W              2581 SHEHAN RD                                                                                                      PINCKNEY        MI   48169‐8434
MCCARTHY LEBIT CRYSTAL &            HAIMAN CO LPA                        101 W PROSPECT AVE STE 1800        MIDLAND BUILDING                            CLEVELAND       OH   44115‐1064
                                     09-50026-mg              Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                                Address1                           Address2                         Address3   Address4             City               State Zip
MCCARTHY LEONARD MICHAEL (657426)   BRAYTON PURCELL                    PO BOX 6169                                                      NOVATO              CA 94948‐6169

MCCARTHY LINK, KATHLEEN             2818 STRAUSS AVE                                                                                    TOLEDO             OH   43606‐2748
MCCARTHY PATRICK K                  24323 CURRIER ST                                                                                    DEARBORN HEIGHTS   MI   48125‐1845
MCCARTHY REBECCA                    MCCARTHY, REBECCA                  44956 BROADMOOR CIRCLE S                                         NORTHVILLE         MI   48168‐8644
MCCARTHY RICHARD                    944 RIDGEWOOD LN                                                                                    SAINT AUGUSTINE    FL   32086‐3213
MCCARTHY SHARYL A                   3403 W 109TH CIR                                                                                    WESTMINSTER        CO   80031
MCCARTHY TETRAULT LLP               1170 PEEL ST                                                                   MONTREAL CANADA PQ
                                                                                                                   H3B 4S8 CANADA
MCCARTHY THOMAS E (471292)          BARON & BUDD                       3102 OAK LANE AVE , SUITE 1100                                   DALLAS             TX 75219
MCCARTHY TIRE                       4225 5TH STREET HWY                                                                                 TEMPLE             PA 19560‐1737
MCCARTHY TIRE & AUTOMOTIVE CENTER   942 E MAIN ST                                                                                       COBLESKILL         NY 12043‐5721

MCCARTHY TIRE SERVICE               805 VOGELSONG RD                                                                                    YORK               PA   17404‐1397
MCCARTHY TIRE SERVICE CO, INC.      520 PIERCE ST                                                                                       KINGSTON           PA   18704‐5751
MCCARTHY TIRE SERVICE CO, INC.      340 KIDDER ST                                                                                       WILKES BARRE       PA   18702‐5606
MCCARTHY TIRE SERVICE CO. INC       178 AIRPORT RD                                                                                      HAZLE TOWNSHIP     PA   18202‐9756
MCCARTHY TIRE SERVICE CO. INC.      2100 MARYDALE AVE                                                                                   WILLIAMSPORT       PA   17701‐1422
MCCARTHY TIRE SERVICE CO. INC.      583 JEFFERSON LN                                                                                    WILLIAMSPORT       PA   17701‐5337
MCCARTHY TIRE SERVICE CO. INC.      119 LINDEN ST                                                                                       SCRANTON           PA   18503‐1901
MCCARTHY TIRE SERVICE CO. INC.      547 BLOSSOM TRL                                                                                     MOUNT JOY          PA   17552‐3140
MCCARTHY WILLIAM JR                 MCCARTHY, WILLIAM                  PO BOX 7090                                                      OPELOUSAS          LA   70571
MCCARTHY, AARON                     3699 ZENDER PL                                                                                      DETROIT            MI   48207‐1847
MCCARTHY, ANN T                     94 PARKSIDE CT                                                                                      BUFFALO            NY   14214‐1018
MCCARTHY, ANNE                      THORNTON EARLY & NAUMES            100 SUMMER ST LBBY 3                                             BOSTON             MA   02110‐2104
MCCARTHY, ANTHONY C                 9075 E KEMPER RD                                                                                    CINCINNATI         OH   45249‐2705
MCCARTHY, BARBARA B                 4121 TOD AVE NW                    IMPERIAL SKILLED CARE CENTRE                                     WARREN             OH   44485‐1258
MCCARTHY, BARBARA N                 17700 E 17TH TERRACE CT S APT 30                                                                    INDEPENDENCE       MO   64057‐2084
MCCARTHY, CAROL ANN                 5207A MAGNOLIA DR                                                                                   LOCKPORT           NY   14094‐6815
MCCARTHY, CARYL                     59451 BISHOP                                                                                        NEW HUDSON         MI   48165‐9520
MCCARTHY, CATHERINE M               32090 GRAND RIVER AVE UNIT 92                                                                       FARMINGTON         MI   48336‐4172
MCCARTHY, CATHY                     6496 LAKE BREEZE DR                                                                                 BRIGHTON           MI   48114‐7699
MCCARTHY, CHARLES A                 21 HARTSTONE HILL LN APT 4                                                                          HENDERSONVILLE     NC   28791‐2462
MCCARTHY, CHARLES J                 129 S WALNUT ST                                                                                     HUMMELSTOWN        PA   17036‐2506
MCCARTHY, CHARLES JOSEPH            129 SOUTH WALNUT STREET                                                                             HUMMELSTOWN        PA   17036‐2506
MCCARTHY, CHARLES W                 220 JUANA AVE                      C/O KEVIN CORBETT                                                SAN LEANDRO        CA   94577‐4839
MCCARTHY, CHRISTOPHER               468 BRIGHTON AVE                                                                                    LONG BRANCH        NJ   07740‐5203
MCCARTHY, DANA J                    79 RHODA LN                                                                                         BRISTOL            CT   06010‐2636
MCCARTHY, DANIEL P                  2177 PARK SPRINGS BLVD 8                                                                            ARLINGTON          TX   76013
MCCARTHY, DANIEL P                  503 OAK ST                                                                                          VENUS              TX   46084‐3188
MCCARTHY, DARLENE Y                 2803 RUTLAND CIR UNIT 103                                                                           NAPERVILLE         IL   60564‐4997
MCCARTHY, DAVID                     147 TOWN FARM RD                                                                                    IPSWICH            MA   01938‐1371
MCCARTHY, DEBRA J                   1250 NORTH AIR DEPOT                                                                                MIDWEST CITY       OK   73110
MCCARTHY, DEBRA J                   APT 212                            1250 NORTH AIR DEPOT BOULEVARD                                   MIDWEST CITY       OK   73110‐3352

MCCARTHY, DENNIS J                  3273 MARSHALL RD                                                                                    KETTERING          OH   45429‐3613
MCCARTHY, DENNIS J                  3273 N MARSHALL RD                                                                                  KETTERING          OH   45429‐3613
MCCARTHY, DENNIS R                  15358 RIVIERA SHORES DR                                                                             HOLLY              MI   48442‐1132
MCCARTHY, DENNIS W                  11356 SHARP RD                                                                                      LINDEN             MI   48451‐8919
MCCARTHY, DIANE M                   5548 SAN PAULO DR                                                                                   TOLEDO             OH   43612‐3339
MCCARTHY, DOUGLAS E                 59451 BISHOP RD                                                                                     NEW HUDSON         MI   48165‐9520
MCCARTHY, E J                       10160 BLUE JAY DR                                                                                   FREELAND           MI   48623‐8680
                                      09-50026-mg                Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
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Name                                 Address1                            Address2                          Address3                    Address4         City                 State Zip
MCCARTHY, EARL J                     WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                                                NEW YORK              NY 10038
MCCARTHY, ELIZABETH                  12470 S US HIGHWAY 27 R3                                                                                           DEWITT                MI 48820
MCCARTHY, EMMANUEL P                 320 CAMERON HILL PL                                                                                                FORT WAYNE            IN 46804‐6702
MCCARTHY, EVELYN L                   912 STRATTON LANE                                                                                                  WINCHESTER            KY 40391
MCCARTHY, EVELYN L                   912 STRATTON LN                                                                                                    WINCHESTER            KY 40391‐9763
MCCARTHY, FRANK J                    3441 MEANDERWOOD DR                                                                                                CANFIELD              OH 44406‐9651
MCCARTHY, FRANK J                    3015 VULCAN RD                                                                                                     DUNDALK               MD 21222‐2714
MCCARTHY, GARY W                     160 BONO RD                                                                                                        ORLEANS               IN 47452‐7213
MCCARTHY, GARY WAYNE                 160 BONO RD                                                                                                        ORLEANS               IN 47452‐7213
MCCARTHY, GEORGE D                   THORNTON EARLY & NAUMES             100 SUMMER ST LBBY 3                                                           BOSTON                MA 02110‐2104
MCCARTHY, GREGORY                    DURST LAW FIRM PC                   319 BROADWAY                                                                   NEW YORK              NY 10007
MCCARTHY, GREGORY W                  43348 SAAL RD                                                                                                      STERLING HEIGHTS      MI 48313‐2152
MCCARTHY, HEATHER S                  22445 COBBLE STONE TRL                                                                                             FRANKFORT              IL 60423‐9202
MCCARTHY, IRENE M                    5850 MERIDIAN RD APT 308B                                                                                          GIBSONIA              PA 15044‐9686
MCCARTHY, IRENE M                    5850 MERIDIAN ROAD                  APT 308B                                                                       GIBSONIA              PA 15044
MCCARTHY, ISABEL                     4‐29 SEC 2 URBDORAVELLE                                                                                            DORADO                PR 00646
MCCARTHY, ISABEL                     165 CALLE MALLORCA                                                                                                 DORADO                PR 00646‐6028
MCCARTHY, JAMES J                    ANGELOS PETER G LAW OFFICE          115 BROADWAY FRNT 3                                                            NEW YORK              NY 10006‐1638
MCCARTHY, JAMES J                    5704 N WEST ROTAMER RD                                                                                             MILTON                WI 53563‐8513
MCCARTHY, JAMES M                    PO BOX 307                          C/O DIANE MALOY                                                                LITTLE RIVER          CA 95456‐0307
MCCARTHY, JAMES T                    1631 LANCASTER DRIVE                                                                                               YOUNGSTOWN            OH 44511‐1036
MCCARTHY, JEAN                       3050 BOONE AVE SW                                                                                                  WYOMING               MI 49519
MCCARTHY, JEFFIFER                   6012 12TH AVE                                                                                                      NEW PORT RICHEY       FL 34653‐5224
MCCARTHY, JEREMIAH F                 519 GREENMONT DR                                                                                                   CANFIELD              OH 44406‐9660
MCCARTHY, JOAN D                     2096 COUNTY ROAD 209B                                                                                              GREEN COVE SPRINGS    FL 32043
MCCARTHY, JOANNA M                   2396 W WARDLOW RD                                                                                                  HIGHLAND              MI 48357‐3344
MCCARTHY, JOEL T                     5778 MEADOWVIEW ST                                                                                                 YPSILANTI             MI 48197‐7177
MCCARTHY, JOEL THOMAS                5778 MEADOWVIEW ST                                                                                                 YPSILANTI             MI 48197‐7177
MCCARTHY, JOHN E                     4646 PARENT AVE                                                                                                    WARREN                MI 48092‐3406
MCCARTHY, JOHN F                     32463 TRUMAN RD                                                                                                    ROCKWOOD              MI 48173‐9699
MCCARTHY, JOHN J                     2102 RIVERSIDE DR                                                                                                  NORMAN                OK 73072‐6613
MCCARTHY, JOHN L                     29 SATINWOOD DR                                                                                                    CHEEKTOWAGA           NY 14225‐3715
MCCARTHY, JOHN R                     2215 W FORK RD                                                                                                     LAPEER                MI 48446‐8039
MCCARTHY, JOSEPH                     977 BRIDGMAN HILL RD                                                                                               HARDWICK              VT 05843‐9553
MCCARTHY, JOSEPH A                   2225 COLUMBIA WAY                                                                                                  CARSON CITY           NV 89706‐1865
MCCARTHY, JOSEPH H                   8986 VIRGINIA AVE APT A                                                                                            SOUTH GATE            CA 90280‐3048
MCCARTHY, JOSEPH H                   PO BOX 35                                                                                                          PICKFORD              MI 49774‐0035
MCCARTHY, JOSEPH P                   22445 COBBLE STONE TRL                                                                                             FRANKFORT              IL 60423‐9202
MCCARTHY, JOSEPH W                   CLIMACO LEFKOWITZ PECA WILCOX &     1228 EUCLID AVE, HALLE BLDG 9TH                                                CLEVELAND             OH 44115
                                     GAROFOLI                            FL
MCCARTHY, KATHLEEN A                 1473 STATE ROUTE 66                                                                                                STRYKER              OH   43557‐9559
MCCARTHY, KATIE A                    4005 W CEMETERY RD                                                                                                 JANESVILLE           WI   53548‐9705
MCCARTHY, KATIE L                    658 SWISS COLONY ROAD                                                                                              HOHENWALD            TN   38462‐2541
MCCARTHY, LAURA A                    2121 S OCEAN BLVD APT 204                                                                                          POMPANO BEACH        FL   33062‐8003
MCCARTHY, LAVERNE                    3323 S DEERFIELD AVE                                                                                               LANSING              MI   48911‐1822
MCCARTHY, LEBIT, CRYSTAL & LIFFMAN   ATTY FOR DEALER TIRE, LLC           ATTN: KIMBERLY A. BRENNAN, ESQ.   101 WEST PROSPECT AVENUE,                    CLEVELAND            OH   44115
CO., L.P.A.                                                                                                SUITE 1800
MCCARTHY, LEBIT, CRYSTAL & LIFFMAN   ATTY FOR DEALER TIRE, LLC           ATTN: ROBERT R. KRACHT, ESQ.      101 WEST PROSPECT AVENUE,                    CLEVELAND            OH 44115
CO., L.P.A.                                                                                                SUITE 1800
MCCARTHY, LEO D                      1750 WILLOW CIRCLE DR                                                                                              CREST HILL           IL 60403‐2088
MCCARTHY, LEONARD MICHAEL            BRAYTON PURCELL                     PO BOX 6169                                                                    NOVATO               CA 94948‐6169
MCCARTHY, LESLIE A                   3132 LAMP LIGHTER LN                                                                                               KOKOMO               IN 46902
                          09-50026-mg             Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
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Name                     Address1                            Address2                            Address3               Address4         City                  State Zip
MCCARTHY, LESLIE A       3132 LAMPLIGHTER LN                                                                                             KOKOMO                 IN 46902‐8127
MCCARTHY, LINDA C        2102 RIVERSIDE DR                                                                                               NORMAN                 OK 73072‐6613
MCCARTHY, LINDA J        27 EDGERTON RD                                                                                                  WALLINGFORD            CT 06492‐5311
MCCARTHY, LINDA K        15848 MACKENZIE MANOR DRIVE                                                                                     HAYMARKET              VA 20169‐4924
MCCARTHY, M GWENDOLINE   1109 SOUTHRIDGE                                                                                                 SALADO                 TX 76571‐5825
MCCARTHY, MARGARET L     GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                                  EDWARDSVILLE            IL 62025‐0959
                         ANTOGNOLI
MCCARTHY, MARGARET L     C/O GOLDENBERG HELLER ANTOGNILI &   2227 S STATE ROUTE 157                                                      EDWARDSVILLE           IL   62025
                         ROWLAND PC
MCCARTHY, MARK C         7 MORROW AVE                                                                                                    LOCKPORT              NY    14094‐5014
MCCARTHY, MARK R         3635 SALEM DR                                                                                                   ROCHESTER HILLS       MI    48306‐2946
MCCARTHY, MARY E         124 VALLEY ST                       APT 8I                                                                      SLEEPY HALLOW         NY    10591
MCCARTHY, MARY E         124 VALLEY ST APT 8I                                                                                            SLEEPY HOLLOW         NY    10591‐2872
MCCARTHY, MARY T         37316 VARGO                                                                                                     LIVONIA               MI    48152‐2784
MCCARTHY, MARY T         37316 VARGO ST                                                                                                  LIVONIA               MI    48152‐2784
MCCARTHY, MICHAEL D      1473 STATE ROUTE 66                                                                                             STRYKER               OH    43557‐9559
MCCARTHY, MICHAEL D      53 MADALINE LN                                                                                                  DEPEW                 NY    14043
MCCARTHY, MICHAEL F      WILENTZ GOLDMAN & SPITZER           88 PINE STREET, WALL STREET PLAZA                                           NEW YORK              NY    10005

MCCARTHY, MICHAEL F      LYNNE KIZIS ESQ                     WILENTZ, GOLDMAN, AND SPITZER       90 WOODBRIDGE CENTER                    WOODBRIDGE             NJ   07095
                                                                                                 DRIVE
MCCARTHY, MICHAEL G      6763 MINNICK RD LOT 174A                                                                                        LOCKPORT              NY    14094‐9145
MCCARTHY, MICHAEL G      2149 HOMEWOOD DR                                                                                                HERMITAGE             PA    16148‐2917
MCCARTHY, MICHAEL J      27592 SILVER CREEK DR                                                                                           SAN JUAN CAPISTRANO   CA    92675‐1529
MCCARTHY, MICHAEL R      2921 W DEWEY RD                                                                                                 OWOSSO                MI    48867
MCCARTHY, MILDRED M      95 BEEKMAN AVE APT 237R                                                                                         SLEEPY HOLLOW         NY    10591‐2584
MCCARTHY, MILDRED M      95 BEEKMAN AVENUE #237R                                                                                         SLEEPY HALLOW         NY    10591‐2584
MCCARTHY, NELLIE         51 CUSTER AVE                                                                                                   NEWARK                NJ    07112‐2511
MCCARTHY, OPHELIA        441 S MISSOURI AVE                                                                                              MERCEDES              TX    78570‐3050
MCCARTHY, PATRICIA K     2921 W DEWEY RD                                                                                                 OWOSSO                MI    48867‐9107
MCCARTHY, PATRICK K      24323 CURRIER ST                                                                                                DEARBORN HTS          MI    48125‐1845
MCCARTHY, PATRICK M      2201 W AVALON RD                                                                                                JANESVILLE            WI    53546‐8987
MCCARTHY, PAUL J         131 SCHORN DR                                                                                                   LAKE ORION            MI    48362‐3677
MCCARTHY, PAUL J         4333 E LAKE RD                                                                                                  WILSON                NY    14172‐9753
MCCARTHY, PETER J        9349 EASTWIND DR                                                                                                LIVONIA               MI    48150‐4521
MCCARTHY, PHYLLIS L      7094 SUNBURY RD RD 2                                                                                            WESTERVILLE           OH    43082
MCCARTHY, RACHAEL L      415 SEMINOLE STREET                                                                                             HOLLY                 MI    48442‐1359
MCCARTHY, RACHAEL LYNN   415 SEMINOLE STREET                                                                                             HOLLY                 MI    48442‐1359
MCCARTHY, REBECCA
MCCARTHY, REBECCA        44956 BROADMOOR CIR S                                                                                           NORTHVILLE            MI    48168‐8644
MCCARTHY, REGINALD C     8405 SAINT OLAF DRIVE                                                                                           SAINT LOUIS           MO    63134‐1109
MCCARTHY, RICHARD A      2699 DANSBURY CT                                                                                                LAKE ORION            MI    48360‐1605
MCCARTHY, RICHARD J      10000 WILLOWWICK CT                                                                                             SHREVEPORT            LA    71118‐4521
MCCARTHY, RICHARD JOHN   10000 WILLOWWICK CT                                                                                             SHREVEPORT            LA    71118‐4521
MCCARTHY, ROBERT C       75 E PART RD                                                                                                    WINTHROP              NY    13697‐3105
MCCARTHY, RONALD D       3263 NORTHWEST DR                                                                                               SAGINAW               MI    48603‐2334
MCCARTHY, ROSEMARIE      LOT 214                             6763 MINNICK ROAD                                                           LOCKPORT              NY    14094‐9112
MCCARTHY, RUTH C         W 346 N 5299 ELM AVE                                                                                            OKAUCHEE              WI    53069‐9736
MCCARTHY, RUTH G         644 FEDERAL FURNACE RD                                                                                          PLYMOUTH              MA    02360‐4744
MCCARTHY, SALLY A        243 PINE ST                                                                                                     GARDNER               MA    01440
MCCARTHY, SANDRA R       29157 SENATOR ST                                                                                                ROSEVILLE             MI    48066‐2227
MCCARTHY, SANDRA RENEE   29157 SENATOR ST                                                                                                ROSEVILLE             MI    48066‐2227
                                 09-50026-mg              Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                     Part 24 of 40 Pg 891 of 905
Name                             Address1                          Address2                            Address3   Address4         City                 State Zip
MCCARTHY, SHACONJULA A           3570 STONEHAVEN DR                                                                                FLORISSANT            MO 63033‐3945
MCCARTHY, SHARYL A               3403 W 109TH CIR                                                                                  WESTMINSTER           CO 80031‐6818
MCCARTHY, SHIRLEY                25 EDGEMERE RD                                                                                    GROSSE PTE. FARMS     MI 48236‐3708
MCCARTHY, SHIRLEY A              148 WENTE TER                                                                                     SYRACUSE              NY 13207‐2263
MCCARTHY, SHIRLEY F              PO BOX 976                        146 S OAK ST                                                    EVART                 MI 49631‐0976
MCCARTHY, STEPHEN D              650 PARADISE ROAD                                                                                 EAST AMHERST          NY 14051‐1604
MCCARTHY, STEPHEN P              7668 BOBSYL LN                                                                                    GRAND LEDGE           MI 48837‐9108
MCCARTHY, SUSAN N                625 BENNINGTON DR                                                                                 BLOOMFIELD HILLS      MI 48304‐3303
MCCARTHY, SUSANNA B              4 EAST AVE                                                                                        LE ROY                NY 14482‐1206
MCCARTHY, SUSANNA B              4 E AVE                                                                                           LEROY                 NY 14482‐1206
MCCARTHY, THOMAS E               BARON & BUDD                      3102 OAK LANE AVE, SUITE 1100                                   DALLAS                TX 75219
MCCARTHY, THOMAS E               14210 16TH AVE                                                                                    MARNE                 MI 49435‐9784
MCCARTHY, THOMAS F               2409 NORTH VERMONT AVENUE                                                                         ROYAL OAK             MI 48073‐4205
MCCARTHY, THOMAS L               145 COLUMBIA AVE APT 406                                                                          HOLLAND               MI 49423‐2978
MCCARTHY, TIMOTHY C              3503 S MORRICE RD                                                                                 OWOSSO                MI 48867‐9749
MCCARTHY, TIMOTHY E              7250 YOUNESS DR                                                                                   GRAND BLANC           MI 48439‐9657
MCCARTHY, TUTU M                 320 CAMERON HILL PL                                                                               FORT WAYNE            IN 46804‐6702
MCCARTHY, V SHIRLEY              58 LEEDLE CIR                                                                                     RISING SUN            MD 21911‐1834
MCCARTHY, V SHIRLEY              58 LEEDLE CIRCLE                                                                                  RISING SUN            MD 21911‐1834
MCCARTHY, VERNON D               2096 COUNTY ROAD 209B                                                                             GREEN COVE SPRINGS    FL 32043‐9450
MCCARTHY, VERONICA P             3565 GOLDNER LN SW                                                                                WARREN                OH 44481‐9635
MCCARTHY, VIRGINIA Y             30 W RIDGELAND RD                                                                                 WALLINGFORD           CT 06492‐2123
MCCARTHY, WANDA L                27880 HACIENDA VILLAGE DR.#9                                                                      BONITA SPRINGS        FL 34135
MCCARTHY, WILLIAM                MORROW MORROW RYAN & BASSETT      324 WEST LANDRY STREET, P. O. BOX                               OPELOUSAS             LA 70571‐7090
                                                                   7090
MCCARTHY, WILLIAM E              7230 GREEN VALLEY DR D                                                                            GRAND BLANC          MI 48439
MCCARTIN, BARBARA A              2310 CRESTBROOK LN                                                                                FLINT                MI 48507‐2209
MCCARTNEY DONALD C SR (429404)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK              VA 23510
                                                                   STREET, SUITE 600
MCCARTNEY HALTON (482855)        BRAYTON PURCELL                   PO BOX 6169                                                     NOVATO               CA 94948‐6169
MCCARTNEY HERSHEL                C/O MCKENNA & CHIODO              436 BOULEVARD OF THE ALLIES ‐                                   PITTSBURGH           PA 15219
                                                                   SUITE 500
MCCARTNEY HERSHEL (507033)       (NO OPPOSING COUNSEL)
MCCARTNEY JEFFREY (656221)       SIEBEN POLK LAVERDIERE & DUSICH   999 WESTVIEW DR                                                 HASTINGS             MN 55033‐2432
MCCARTNEY MADILYN                925 S GREGORY RD                                                                                  FOWLERVILLE          MI 48836‐9261
MCCARTNEY ROBERT G (340276)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK              VA 23510
                                                                   STREET, SUITE 600
MCCARTNEY WILLIAM (ESTATE OF)    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD           OH 44067
(489145)                                                           PROFESSIONAL BLDG
MCCARTNEY, BONNIE A              10058 WHIPPOORWILL RD                                                                             NEWTON FALLS         OH   44444‐9255
MCCARTNEY, BONNIE A              10058 WHIPPOORILL RD.                                                                             NEWTON FALLS         OH   44444‐9255
MCCARTNEY, DAVID R               11000 W RIVER RD                                                                                  YORKTOWN             IN   47396‐9368
MCCARTNEY, DAYMON L              1634 N SMITH DR                                                                                   GENOA                OH   43430‐1116
MCCARTNEY, DAYMON LEE            1634 N SMITH DR                                                                                   GENOA                OH   43430‐1116
MCCARTNEY, DONALD B              4462 WINTERS DR                                                                                   FLINT                MI   48506‐2001
MCCARTNEY, DONALD C              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK              VA   23510‐2212
                                                                   STREET, SUITE 600
MCCARTNEY, GAREY P               1974 OHLTOWN MCDONALD RD                                                                          MC DONALD            OH   44437‐1312
MCCARTNEY, GARRY F               1132 CARRINGTON DR                                                                                SAINT PETERS         MO   63376
MCCARTNEY, HALTON                BRAYTON PURCELL                   PO BOX 6169                                                     NOVATO               CA   94948‐6169
MCCARTNEY, HERSHEL               MCKENNA & CHIDO                   436 BOULEVARD OF THE ALLIES ‐                                   PITTSBURGH           PA   15219
                                                                   SUITE 500
                                       09-50026-mg            Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                                  Address1                          Address2                           Address3   Address4         City             State Zip
MCCARTNEY, HERSHEL                    THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD            SUITE 44                    CORAL GABLES      FL 33146
MCCARTNEY, IRVIN F                    2250 STATE ROUTE 534                                                                             SOUTHINGTON       OH 44470‐9513
MCCARTNEY, JAMES A                    1845 COPE RD                                                                                     MARTINSVILLE      IN 46151‐7949
MCCARTNEY, JAMES ANTHONY              1845 COPE RD                                                                                     MARTINSVILLE      IN 46151‐7949
MCCARTNEY, JEFFREY                    SIEBEN POLK LAVERDIERE & DUSICH   999 WESTVIEW DR                                                HASTINGS          MN 55033‐2432
MCCARTNEY, MARY E                     2306 N APPERSON WAY                                                                              KOKOMO            IN 46901‐1418
MCCARTNEY, MICHAEL K                  2820 LYNTZ RD                                                                                    WARREN            OH 44481
MCCARTNEY, MICHAEL M                  11 PONDVIEW CT                                                                                   BROWNSBURG        IN 46112‐8386
MCCARTNEY, MICHAEL R                  44 MIDDLE RD                                                                                     LANCASTER         VA 22503‐3518
MCCARTNEY, MOLLIE B                   10241 PLEASANT PLAIN RD                                                                          BROOKVILLE        OH 45309
MCCARTNEY, PEGGY E                    2800 W MEMORIAL DR LOT 69                                                                        MUNCIE            IN 47302‐6408
MCCARTNEY, RANDY L                    229 S BEVERLY AVE                                                                                AUSTINTOWN        OH 44515‐3542
MCCARTNEY, RICHARD L                  704 PELHAM DR                                                                                    WAYNESBORO        VA 22980‐1555
MCCARTNEY, ROBERT G                   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK           VA 23510‐2212
                                                                        STREET, SUITE 600
MCCARTNEY, ROBERT O                   PO BOX 4021                                                                                      COVINA           CA    91723‐0421
MCCARTNEY, RONALD B                   3261 W STATE ST                                                                                  NEW CASTLE       PA    16101‐8657
MCCARTNEY, RONALD EUGENE              401 IMY LN                                                                                       ANDERSON         IN    46013‐3872
MCCARTNEY, VINCE R                    2395 8 MILE RD                                                                                   KAWKAWLIN        MI    48631‐9713
MCCARTNEY, VIRGIL S                   4 BLOSSOM LN SW                   VILLAGER PARK                                                  WARREN           OH    44485‐4203
MCCARTNEY, WILLIAM                    2322 SILVER LANE DR                                                                              INDIANAPOLIS     IN    46203‐5654
MCCARTNEY, WILLIAM E                  213 HIGHLAND BLVD                                                                                ASHLAND          OH    44805‐3354
MCCARTNEY, WILLIAM R                  4326 STATE ROUTE 82                                                                              NEWTON FALLS     OH    44444‐9555
MCCARTNEY, WILMER R                   1112 PINEHURST BLVD                                                                              MOUNT MORRIS     MI    48458‐1024
MCCARTNEY‐SLAY CHEVROLET PONTIAC      3109 N FIRST ST                                                                                  JENA             LA    71342
GMC
MCCARTNEY‐SLAY CHEVROLET PONTIAC      MICHAEL SLAY                      3109 N FIRST ST                                                JENA              LA   71342
GMC, L.L.C.
MCCARTT, ELDRIDGE                     519 MOCKINGBIRD DR                                                                               CROSSVILLE       TN    38555
MCCARTT, FRED A                       6600 ALJEN RD                                                                                    MIDDLETOWN       OH    45042‐1201
MCCARTT, JAMES W                      372 CORBIN HILL RD                                                                               OLIVER SPRINGS   TN    37840‐3614
MCCARTY CAROL                         30 E BELMONT DR                                                                                  ROMEOVILLE       IL    60446‐1765
MCCARTY CHARLES                       123 SUNSET DR                                                                                    WESTVILLE        IL    61883‐1063
MCCARTY FOREST PHILLIPS (338894)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA    23510
                                                                        STREET, SUITE 600
MCCARTY JERRY L                       826 CLOVER HILL LN                                                                               CEDAR HILL       TX    75104‐7923
MCCARTY JR, GERALD D                  1060 CURZON ST                                                                                   HOWELL           MI    48843‐4177
MCCARTY JR, JACKIE H                  551 NORTHFIELD RD                                                                                PLAINFIELD       IN    46168‐3035
MCCARTY JR, JAMES M                   10023 ALTAMONT CIRCLE                                                                            FREDERICKSBRG    VA    22408‐9535
MCCARTY JR, JAMES W                   1621 GLENDALE ST                                                                                 JANESVILLE       WI    53546‐5898
MCCARTY JR, JOHN                      1660 COLONEL PT. BOX 155                                                                         CRYSTAL          MI    48818
MCCARTY LARRY                         PO BOX 2643                                                                                      HUNTSVILLE       AL    35804‐2643
MCCARTY LEE                           51043 PLYMOUTH RIDGE DR                                                                          PLYMOUTH         MI    48170‐6367
MCCARTY MICHAEL P (446175)            CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND        OH    44115
                                      GAROFOLI                          FL
MCCARTY PAUL (453823)                 HOWARD BRENNER & GARRIGAN‐NASS    1608 WALNUT ST , 17TH FLOOR                                    PHILADELPHIA     PA 19103

MCCARTY ROBERT (ESTATE OF) (489146)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                  NORTHFIELD       OH 44067
                                                                        PROFESSIONAL BLDG
MCCARTY ROBERT M SR (472115)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA 23510
                                                                        STREET, SUITE 600
MCCARTY SR, GORDON F                  613 LAKESIDE CIR                                                                                 MIDLAND          MI 48640‐7253
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Name                                  Address1                          Address2                        Address3   Address4         City              State Zip
MCCARTY WILBUR JR (506417) ‐ MCARTY   BARON & BUDD                      PLAZA SOUTH TWO ‐ SUITE 200 ‐                               CLEVELAND          OH 44130
WILBUR                                                                  7261 ENGLE ROAD
MCCARTY'S AUTOPRO SHOP                2028 2ND AVE                                                                                  RAPIDS CITY       IL   61278
MCCARTY'S WHEEL SHOP                  515 BROAD ST                                                                                  PORTSMOUTH        VA   23707‐2005
MCCARTY, ALVA                         11455 LITTLE RICHMOND ROAD                                                                    BROOKVILLE        OH   45309‐9316
MCCARTY, ANNETTE E                    5642 CHERRY TREE DR                                                                           LAKELAND          FL   33811‐2347
MCCARTY, ARCHIE L                     151 SHORT ST                                                                                  NEW LEBANON       OH   45345‐1160
MCCARTY, ARDELLA M                    2444 UTLEY RD                                                                                 FLINT             MI   48532‐4964
MCCARTY, BETTY                        20 SCR 13A                                                                                    MORTON            MS   39117‐5322
MCCARTY, BETTY                        655 LINLAWN DR                                                                                WABASH            IN   46992‐3706
MCCARTY, BETTY S                      613 HIGHWAY 3033                                                                              WEST MONROE       LA   71292‐0928
MCCARTY, BILLY D                      1400 S KINGS HWY                                                                              INDEPENDENCE      MO   64055‐1905
MCCARTY, BOBBI J                      288 MADISON DR W                                                                              W JEFFERSON       OH   43162‐1312
MCCARTY, BOBBY                        GUY WILLIAM S                     PO BOX 509                                                  MCCOMB            MS   39649‐0509
MCCARTY, BRADLEY G                    7147 RIGA HWY                                                                                 RIGA              MI   49276‐9753
MCCARTY, BRADLEY GENE                 7147 RIGA HWY                                                                                 RIGA              MI   49276‐9753
MCCARTY, BRENDA K                     904 WOODRIDGE HILLS DR                                                                        BRIGHTON          MI   48116‐2402
MCCARTY, CAROL L                      1315 LEISURE DRIVE                                                                            FLINT             MI   48507
MCCARTY, CAROL S                      1965 PERO LAKE ROAD                                                                           LAPEER            MI   48446‐9093
MCCARTY, CASSIE
MCCARTY, CHAD                         3366 CREEKVIEW DR                                                                             DAVISON           MI   48423‐8660
MCCARTY, CHARLES                      PO BOX 941                                                                                    EASTON            MD   21601‐8917
MCCARTY, CHARLES                      GUY WILLIAM S                     PO BOX 509                                                  MCCOMB            MS   39649‐0509
MCCARTY, CHARLES H                    6210 ABBOTT RD                                                                                EAST LANSING      MI   48823
MCCARTY, CHARLES T                    10220 PRIMROSE DR                                                                             DAVISON           MI   48423‐7908
MCCARTY, CHRIS A                      4291 FOXMEADOW LN                                                                             BAY CITY          MI   48706‐1814
MCCARTY, CLARENCE R                   20 MCCARTY RD                                                                                 WEST UNION        OH   45693‐8918
MCCARTY, CURTIS                       5773 LORAINE ST                                                                               DETROIT           MI   48208‐1561
MCCARTY, DANIEL L                     20620 SHERWOOD RD                                                                             BELLEVILLE        MI   48111‐9380
MCCARTY, DAWN M                       70380 CHAUCER DR                                                                              RICHMOND          MI   48062‐1086
MCCARTY, DEBORAH E                    32 KING BIRD DR                                                                               CLEVELAND         GA   30528
MCCARTY, DEBORAH E                    1222 WESTMORELAND RD                                                                          CLEVELAND         GA   30528‐5948
MCCARTY, DORIS M                      41860 LIBERTY DR                                                                              NOVI              MI   48377‐2232
MCCARTY, DORIS M                      41860 LIBERTE DR                                                                              NOVI              MI   48377‐2232
MCCARTY, DREW E                       4487 W HUNTERS RIDGE LN                                                                       GREENWOOD         IN   46143‐8896
MCCARTY, DWAYNE A                     311 HIGHLAND DR                                                                               MEDINA            OH   44256‐1413
MCCARTY, DWAYNE ALLEN                 311 HIGHLAND DR                                                                               MEDINA            OH   44256‐1413
MCCARTY, EARL L                       7419 MURKINS RD                                                                               KANSAS CITY       MO   64133‐7003
MCCARTY, EVELYN M                     113 LAKESHORE DR                                                                              KIMBERLING CITY   MO   65686‐9693
MCCARTY, FOREST PHILLIPS              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA   23510‐2212
                                                                        STREET, SUITE 600
MCCARTY, G D                          16 CLARKSTON RD                                                                               CLARKSTON         MI   48346‐1534
MCCARTY, GALEN L                      8095 MUSKINGUM RIVER RD                                                                       LOWELL            OH   45744‐7085
MCCARTY, GARY E                       620 E HIGH ST                                                                                 MILTON            WI   53563‐1546
MCCARTY, GARY J                       3871 BOULDER DR                                                                               TROY              MI   48084‐1118
MCCARTY, GAYE P                       12186 HIGHWAY 538 LOT 2                                                                       MOORINGSPORT      LA   71060‐8989
MCCARTY, GENEVA                       2402 E MEMORIAL DR                                                                            MUNCIE            IN   47302‐4676
MCCARTY, GENEVA                       2402 EAST 12TH ST                                                                             MUNCIE            IN   47302‐4676
MCCARTY, GERALD C                     17010 FOREST VIEW DR                                                                          TINLEY PARK       IL   60477‐2967
MCCARTY, GERALD J                     6407 W CARLETON RD                                                                            ADRIAN            MI   49221‐9711
MCCARTY, GERALD L                     403 CLAYMONT CT                                                                               INDIANAPOLIS      IN   46234‐2622
MCCARTY, GLEN C                       2955 BRISTOL LN                                                                               SOUTH DAYTONA     FL   32119‐8532
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Name                   Address1                          Address2                            Address3   Address4         City               State Zip
MCCARTY, HAROLD L      2516 W CONLEY AV                                                                                  ANAHEIM             CA 92804‐3311
MCCARTY, HOUSTON       16252 BIRWOOD ST                                                                                  DETROIT             MI 48221‐2872
MCCARTY, IRA MILLER    802 S MILL ST APT 67                                                                              REED CITY           MI 49677
MCCARTY, JACK          2453 BENTWOOD LN                                                                                  ARANSAS PASS        TX 78336‐6205
MCCARTY, JACKIE H      761 WILD ROSE LN                                                                                  GREENWOOD           IN 46142‐7705
MCCARTY, JAMES A       1617 N LYNHURST DR                                                                                INDIANAPOLIS        IN 46224‐5522
MCCARTY, JAMES D       170 ELIZABETH DR                                                                                  ANDERSON            IN 46016‐5881
MCCARTY, JAMES D       PO BOX 2018                                                                                       KEYSTONE HEIGHTS    FL 32656‐2018
MCCARTY, JAMES D       1553 NEWLOVE RD                                                                                   SOUTH CHARLESTON    OH 45368‐7743
MCCARTY, JAMES H       LAUGHLIN FALBO LEVY & MORESI      1900 S STATE COLLEGE BLVD STE 505                               ANAHEIM             CA 92806‐6160

MCCARTY, JAMES M       32 KING BIRD DR                                                                                   CLEVELAND          GA   30528‐6003
MCCARTY, JAMES W       2615 SCHALLER ST                                                                                  JANESVILLE         WI   53546‐5655
MCCARTY, JANET L       517 LAWNDALE DR                                                                                   PLAINFIELD         IN   46168‐2266
MCCARTY, JASON         9808 ALLEGHENY DR                                                                                 CINCINNATI         OH   45251‐1612
MCCARTY, JASON D       711 NEWPORT LN APT 107                                                                            STREETSBORO        OH   44241‐4010
MCCARTY, JASON DEMAR   9996 DELORES DR                   APT G                                                           STREETSBORO        OH   44241‐4822
MCCARTY, JASON E
MCCARTY, JASON L       12186 HIGHWAY 538 LOT 2                                                                           MOORINGSPORT       LA   71060
MCCARTY, JEROME L      8501 NORMILE ST                                                                                   DETROIT            MI   48204‐3143
MCCARTY, JERRY L       826 CLOVER HILL LN                                                                                CEDAR HILL         TX   75104‐7923
MCCARTY, JOE C         1113 OAK CREEK DR                                                                                 MOORE              OK   73160‐7910
MCCARTY, JONATHAN A    617 COLD CREEK BLVD                                                                               SANDUSKY           OH   44870‐8136
MCCARTY, KENNETH       GUY WILLIAM S                     PO BOX 509                                                      MCCOMB             MS   39649‐0509
MCCARTY, KEVIN R       4405 W PINE BLVD APT 805                                                                          SAINT LOUIS        MO   63108
MCCARTY, KIMBERLY A    406 BRIDLE RIDGE CT                                                                               WENTZVILLE         MO   63385‐1162
MCCARTY, LAWRENCE E    109 BRENDA BLVD                                                                                   WEST ALEXANDRIA    OH   45381‐9386
MCCARTY, LEE G         51043 PLYMOUTH RIDGE DR                                                                           PLYMOUTH           MI   48170‐6367
MCCARTY, LOREN J       3094 PINE MANOR BOULEVARD                                                                         GROVE CITY         OH   43123‐1870
MCCARTY, MARTIN        4100 MIDLAND RD E                                                                                 WATERFORD          MI   48329‐2038
MCCARTY, MARY          790 HAMMES STREET BOX 1216                                                                        KAN KAKEE          IL   60901‐1216
MCCARTY, MAXINE        1410 S ERIE ST                                                                                    BAY CITY           MI   48706‐5126
MCCARTY, MICHAEL P     CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                 CLEVELAND          OH   44115
                       GAROFOLI                          FL
MCCARTY, MILLOW D      H C 62, BOX 605                                                                                   SALYERSVILLE       KY   41465‐9208
MCCARTY, MILLOW D      HC 62 BOX 605                                                                                     SALYERSVILLE       KY   41465‐8708
MCCARTY, MORISSA M     775 W RIVER ST                                                                                    DEERFIELD          MI   49238‐9785
MCCARTY, PATRICK B     38 DOLPHIN CIR                                                                                    NAPLES             FL   34113‐4016
MCCARTY, PATRICK J     2255 COMPTON ST                                                                                   SAGINAW            MI   48602‐3535
MCCARTY, PATRICK M     PO BOX 9022                                                                                       WARREN             MI   48090‐9022
MCCARTY, PAUL          HOWARD BRENNER & GARRIGAN‐NASS    1608 WALNUT ST, 17TH FLOOR                                      PHILADELPHIA       PA   19103

MCCARTY, PAUL A        5376 CREEK RD                                                                                     HANCOCK            MD   21750‐1806
MCCARTY, RALPH         248 PENNSYLVANIA AVE                                                                              MC DONALD          OH   44437‐1936
MCCARTY, RHONDA M      6264 S. POND PTE.                                                                                 GRAND BLANC        MI   48439
MCCARTY, RICHARD E     3740 CITRUS ST.                                                                                   ST. JAMES CITY     FL   33956‐2558
MCCARTY, RICHARD E     3740 CITRUS ST                                                                                    SAINT JAMES CITY   FL   33956‐2558
MCCARTY, RICHARD E     1113E 500 S                                                                                       WABASH             IN   46992
MCCARTY, ROBERT M      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510‐2212
                                                         STREET, SUITE 600
MCCARTY, ROBERT W      104 WELBORN OAKS WAY                                                                              ANDERSON           SC 29621‐3453
MCCARTY, ROGER R       1440 WOODLYTOWN ROAD                                                                              MAGNOLIA           DE 19962‐1629
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Name                       Address1                       Address2                    Address3   Address4         City            State Zip
MCCARTY, RONALD C          1215 E PARKS RD                                                                        SAINT JOHNS      MI 48879‐8110
MCCARTY, ROSE A            566 BUDLONG ST                                                                         ADRIAN           MI 49221‐1406
MCCARTY, RUTH E            310 W FRANKLIN AVE             C/O WILLIAM L. LUTJENS                                  REED CITY        MI 49677‐1017
MCCARTY, RUTH M            5376 CREEK ROAD                                                                        HANCOCK          MD 21750‐1806
MCCARTY, SAMUEL E          617 COLD CREEK BLVD                                                                    SANDUSKY         OH 44870‐8136
MCCARTY, SCOTT H           2705 N CHRISTOPHER DR                                                                  NEW CASTLE       IN 47362‐5060
MCCARTY, SONIA K           617 COLD CREEK BLVD                                                                    SANDUSKY         OH 44870‐8136
MCCARTY, STEVEN D          5 CANDY CT                                                                             EATON            OH 45320‐1559
MCCARTY, STEVEN DOUGLAS    5 CANDY CT                                                                             EATON            OH 45320‐1559
MCCARTY, TERRY L           67 WILLIS AVE APT B                                                                    LONDON           OH 43140‐1048
MCCARTY, THERESA A         8639 MONROE RD                                                                         DURAND           MI 48429‐1036
MCCARTY, THOMAS P          3102 GULFSTREAM DR                                                                     SAGINAW          MI 48603‐4808
MCCARTY, TIMOTHY           113 SOUTH HAZEL STREET                                                                 SULPHUR          LA 70663‐6238
MCCARTY, TOMMIE C          3942 HUNTERS RIDGE DR APT 2                                                            LANSING          MI 48911‐1130
MCCARTY, VIRGINIA A        3094 PINE MANOR BLVD                                                                   GROVE CITY       OH 43123
MCCARTY, WENDY R           250 BALD EAGLE DR                                                                      MARCO ISLAND     FL 34145
MCCARTY, WILBUR D          1456 HERON RIDGE BLVD                                                                  GREENWOOD        IN 46143‐7890
MCCARTY, WILLIAM H         724 ERNIE LU AVE                                                                       ANDERSON         IN 46013‐3643
MCCARTY, WILLIAM L         5962 FAIRLEE RD                                                                        ANDERSON         IN 46013‐9612
MCCARTY, WILLIAM M         1306 W 500 S                                                                           ANDERSON         IN 46013‐9732
MCCARTY, WILLIS            1341 EAST DAVID RD                                                                     KETTERING        OH 45429‐5703
MCCARTY, WILLIS            1341 E DAVID RD                                                                        KETTERING        OH 45429‐5703
MCCARTY‐PARKER, SUSAN      1750 S COLONEL POINT DR                                                                CRYSTAL          MI 48818‐9662
MCCARVER JR, LUTHER E      686 PATTERSON CT                                                                       INKSTER          MI 48141‐1325
MCCARVER, BILLY            BARTON & WILLIAMS              3007 MAGNOLIA ST                                        PASCAGOULA       MS 39567‐4126
MCCARVILLE, BRIAN J        3914 WINTERFIELD RUN                                                                   FORT WAYNE       IN 46804‐2665
MCCARVILLE, JOHN A         4112 WESTBROOK DR UNIT 35                                                              AMES              IA 50014‐3478
MCCARVILLE, PHILLIP W      543 SOMERSET DR                                                                        JANESVILLE       WI 53546‐1925
MCCARVILLE, ROBERT J       3006 WESTWOOD DR                                                                       JANESVILLE       WI 53548‐3269
MCCARVILLE, SHAWN E        10427 WOODS EDGE LN                                                                    FORT WAYNE       IN 46804‐4269
MCCARY JOHN J (492625)     GARRISON SCOTT, PC             2113 GOVERNMENT ST STE D3                               OCEAN SPRINGS    MS 39564‐3949
MCCARY SUSAN               23929 COUNTY ROAD EW 180                                                               CHATTANOOGA      OK 73528‐9010
MCCARY, ANNIE B            19128 HAWTHORNE                                                                        DETROIT          MI 48203‐1309
MCCARY, BRENDA S           9264 BARKLEY RD                                                                        MILLINGTON       MI 48746‐9516
MCCARY, JOHN J             GARRISON SCOTT, PC             2113 GOVERNMENT ST STE D3                               OCEAN SPRINGS    MS 39564‐3949
MCCARY, JOHNNIE P          9264 BARKLEY RD                                                                        MILLINGTON       MI 48746‐9516
MCCARY, RONALD L           14803 GREENVIEW RD                                                                     DETROIT          MI 48223‐2328
MCCASEY, BRENDA L          300 S WASHINGTON AVE LOT 92                                                            FORT MEADE       FL 33841‐3130
MCCASKELL, FLOYD KENNETH   SHANNON LAW FIRM               100 W GALLATIN ST                                       HAZLEHURST       MS 39083‐3007
MCCASKEY, DANIEL C         1108 E GORMAN RD                                                                       ADRIAN           MI 49221‐9647
MCCASKEY, EDITH            20110 PRUITT DR                                                                        TORRANCE         CA 90503‐2052
MCCASKEY, FREDERICK S      6741 DUNNWAY ST                                                                        INDIANAPOLIS     IN 46241
MCCASKEY, FREDERICK S      317 GREENLEE DR                                                                        INDIANAPOLIS     IN 46234‐2548
MCCASKEY, JOAN R           1 JAMAICA ST                                                                           HOMOSASSA        FL 34446‐4276
MCCASKEY, KOSSIE           616 S 4TH AVE                                                                          SAGINAW          MI 48601‐2132
MCCASKEY, KOSSIE L         4118 PROCTOR AVE                                                                       FLINT            MI 48504‐3549
MCCASKEY, KOSSIE LEE       4118 PROCTOR AVE                                                                       FLINT            MI 48504‐3549
MCCASKEY, LESLIE M         1430 PANAMA AVENUE                                                                     INDIANAPOLIS     IN 46241‐2983
MCCASKEY, NATALIE          229 DYSON DR                                                                           WILLISTON        SC 29853‐3342
MCCASKEY, NORMA L          15181 FORD RD APT 313                                                                  DEARBORN         MI 48126‐4684
MCCASKEY, NORMA L          15181 FORD RD                  APT: 313                                                DEARBORN         MI 48125
MCCASKEY, SANDY J          1210 NEWMAN AVE SW                                                                     DECATUR          AL 35601‐4138
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Name                               Address1                            Address2                       Address3   Address4         City                State Zip
MCCASKILL JR, BENNIE               242 ROMBOUT AVE                                                                                BEACON               NY 12508‐3229
MCCASKILL, EARNEST C               3842 OLD STAGE ROAD                                                                            BETHUNE              SC 29009
MCCASKILL, ETHEL                   17480 FISHERMANS DR                                                                            TROUP                TX 75789
MCCASKILL, FRED M                  4370 SILVER LAKE RD                                                                            LINDEN               MI 48451‐9069
MCCASKILL, HAROLD                  605 PARKWYRTH AVE                                                                              BALTIMORE            MD 21218‐1956
MCCASKILL, MARY E                  PO BOX 1023                                                                                    SAGINAW              MI 48606‐1023
MCCASKILL, MINNIE J                3842 OLD STAGE COACH                                                                           BETHUNE              SC 29009‐9635
MCCASKILL, SAMUEL J                4173 N 45TH ST                                                                                 MILWAUKEE            WI 53216
MCCASKILL, WILLIAM                 6596 HUNTERS GLN                                                                               SOUTHAVEN            MS 38671‐8801
MCCASLAND, JENNIFER L              747 MULBERRY COURT                                                                             RED OAK              TX 75154‐4227
MCCASLAND, RONNIE K                1712 SW 32ND ST                                                                                MOORE                OK 73160‐2932
MCCASLIN, FRANKLIN D               GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW              MI 48604‐2602
                                                                       260
MCCASLIN, JEANETTE M               630 PEPER DR                                                                                   LEBANON             IN    46052‐2387
MCCASLIN, JOSEPHINE                407 COUNTRY RD                                                                                 WEATHERFORD         TX    76088‐9615
MCCASLIN, KENNETH W                38651 LANSING AVE 112                                                                          ZEPHYRHILLS         FL    33542
MCCASLIN, LEONARD S                611 OVERTON DR                                                                                 CLARKSVILLE         TN    37042‐3770
MCCASLIN, MARSHA                   POMPAN, MURRAY & WERFEL PLC         601 KING STREET, SUITE 400                                 ALEXANDRIA          VA    22314
MCCASLIN, MARY M                   4604 MIRROR LIGHT PL                                                                           FORT WAYNE          IN    46804‐6537
MCCASLIN, MILDRED L                69 BRANTWOOD AVE                                                                               ELK GROVE VILLAGE    IL   60007‐3901
MCCASLIN, ROBERT L                 549 BLANCHE DR APT 4                                                                           MILTON              WI    53563‐1797
MCCASLIN, TIM A                    574 VALLEYBROOK DR                                                                             DANVILLE            KY    40422‐1060
MCCASTER, CYNTHIA                  326 E PHILADELPHIA BLVD                                                                        FLINT               MI    48505‐3362
MCCASTER, JOE E                    8139 BLUEBERRY LN                                                                              SAINT LOUIS         MO    63134‐1563
MCCASTER, LAURA                    3078 WESTBROOK                                                                                 SAGINAW             MI    48601‐6966
MCCASTER, MATTIE M                 430 ISLINGTON ST                                                                               TOLEDO              OH    43610‐1416
MCCASTER, MATTIE M                 1517 WAVERLY AVE                                                                               TOLEDO              OH    43607‐1718
MCCASTLE, NICOLE L                 8844 WILLIAMS RD                                                                               DEWITT              MI    48820‐9776
MCCATHARN LOIS                     2011 EMBARCADERO CT                                                                            BELEN               NM    87002‐5945
MCCATHERN, ELIZABETH               421 KUHN ST                                                                                    PONTIAC             MI    48342‐1943
MCCATHRON, WILLIAM L               1029 RICHMOND AVE                                                                              DAYTON              OH    45405‐3710
MCCATTY JR, LLOYD W                10555 MCKINNEY ST                                                                              DETROIT             MI    48224‐1881
MCCATTY JR, LLOYD W.               10555 MCKINNEY ST                                                                              DETROIT             MI    48224‐1881
MCCAUGHAN, MELVIN M                1400 W WALKER ST                                                                               DENISON             TX    75020‐1818
MCCAUGHAN, MELVIN M.               1400 W WALKER ST                                                                               DENISON             TX    75020‐1818
MCCAUGHAN, OLIVE                   15753 LINWOOD                                                                                  DETROIT             MI    48238‐1402
MCCAUGHAN, TRACEY L
MCCAUGHEY EDMUND J (355022)        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA 23510
                                                                       STREET, SUITE 600
MCCAUGHEY, DANIEL E                4508 PERRY RD                                                                                  GRAND BLANC         MI 48439‐1626
MCCAUGHEY, EDMUND J                GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA 23510‐2212
                                                                       STREET, SUITE 600
MCCAUGHEY, GABRIEL                 10183 ROBERTS LN                                                                               LYNDONVILLE         NY    14098‐9402
MCCAUGHNA, GILBERT A               7025 BRISTOL RD                                                                                SWARTZ CREEK        MI    48473‐7905
MCCAUL, MARGARET L                 135 TODD CARTER RD                                                                             COLUMBIA            TN    38401‐6627
MCCAULEY CHEVROLET                 2307 US HIGHWAY 52 N                                                                           ALBEMARLE           NC    28001‐8507
MCCAULEY CHEVROLET BUICK PONTIAC   2307 US HIGHWAY 52 N                                                                           ALBEMARLE           NC    28001‐8507
GM
MCCAULEY CHEVROLET BUICK PONTIAC   2307 US HIGHWAY 52 N                                                                           ALBEMARLE           NC 28001‐8507
GMC CADILLAC
MCCAULEY KATHLEEN                  45 SLEEPY HOLLOW RD                                                                            TIVERTON            RI 02878‐3407
MCCAULEY MICHAEL W                 2325 MCDEVITT RD                                                                               SEWICKLEY           PA 15143‐8602
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Name                        Address1                        Address2                        Address3   Address4         City                   State Zip
MCCAULEY RUSSELL            29535 BIRDS EYE DR                                                                          WESLEY CHAPEL           FL 33543‐6594
MCCAULEY STEPHEN            103 LINCOLN AVE                                                                             BERRYVILLE              VA 22611‐1203
MCCAULEY TRUCKING CO        308 LEASURE WAY                 SCAC MCLY                                                   NEW BETHLEHEM           PA 16242‐1162
MCCAULEY, AARON M           1804 RUHL RD                                                                                KOKOMO                  IN 46902‐2823
MCCAULEY, ANN M             10716 TIMBER PASS                                                                           GLEN ALLEN              VA 23060‐6266
MCCAULEY, BENTON D          PO BOX 191                                                                                  MCLOUD                  OK 74851‐0191
MCCAULEY, CAROL H           285 HOMEVIEW AVE                                                                            LEAVITTSBURG            OH 44430‐9419
MCCAULEY, CAROL S           430 W 459 N                                                                                 HUNTINGTON              IN 46750‐9614
MCCAULEY, CAROL S           430 WEST 459 N                                                                              HUNTINGTON              IN 46750
MCCAULEY, CHARLES F         5534 HICKORYWOOD DR                                                                         SPEEDWAY                IN 46224‐3367
MCCAULEY, CLETUS L          949 DALTON AVE                                                                              BALTIMORE               MD 21224‐3316
MCCAULEY, DALE J            P.O. BOX 212                                                                                SIMPSON                 WV 26435‐0212
MCCAULEY, DALE J            PO BOX 212                                                                                  SIMPSON                 WV 26435‐0212
MCCAULEY, DANIEL B          10755 TORULOSA CT                                                                           INDIANAPOLIS            IN 46234‐1262
MCCAULEY, DARON T           412 PEARL ST                                                                                NILES                   OH 44446‐2518
MCCAULEY, DAVID M           5349 W OREGON RD                                                                            LAPEER                  MI 48446‐8005
MCCAULEY, DAVID MICHAEL     5349 W OREGON RD                                                                            LAPEER                  MI 48446‐8005
MCCAULEY, DEBRA K           5349 W OREGON RD                                                                            LAPEER                  MI 48446‐8005
MCCAULEY, DEBRA KATHERINE   5349 W OREGON RD                                                                            LAPEER                  MI 48446‐8005
MCCAULEY, DIANA Y           546 STEGALL DR                                                                              KOKOMO                  IN 46901‐7070
MCCAULEY, DORIS J           5018 PALMYRA RD SW                                                                          WARREN                  OH 44481‐9711
MCCAULEY, EDWARD            12843 ROYAL GEORGE AVE                                                                      ODESSA                  FL 33556‐5708
MCCAULEY, EDWARD L          11851 MCKELVEY GARDENS DRIVE                                                                MARYLAND HTS            MO 63043‐2228
MCCAULEY, FRANK E           197 W MARKET ST FL 2ND                                                                      WARREN                  OH 44481
MCCAULEY, GERALD B          430 W 459 N                                                                                 HUNTINGTON              IN 46750‐9614
MCCAULEY, IVAN D            61 EAGLE POINT DR                                                                           NEWTON FALLS            OH 44444‐1262
MCCAULEY, JAMES A           3040 VALLEY FORGE TRL                                                                       FOREST HILL             TX 76140‐1853
MCCAULEY, JAMES D           6650 CLUB HOUSE DR E                                                                        CANADIAN LAKES          MI 49346‐9372
MCCAULEY, JAMES W           803 VANNAH AVE                                                                              LOUISVILLE              KY 40223‐2746
MCCAULEY, JEFFREY O         2000 MASSACHUSETTS AVE                                                                      LANSING                 MI 48906‐4204
MCCAULEY, JESSE             909 BRIAR RIDGE DR                                                                          KELLER                  TX 76248‐8368
MCCAULEY, JIMMY N           8515 N RICHMOND AVE                                                                         KANSAS CITY             MO 64157‐9541
MCCAULEY, JOE M             12701 LIZZIE PL                                                                             KELLER                  TX 76248‐1111
MCCAULEY, JOHN              65 IRVING PL                                                                                FEASTERVILLE TREVOSE    PA 19053‐4127
MCCAULEY, JOSEPH E          35030 CAVANT DR                                                                             STERLING HTS            MI 48310‐5011
MCCAULEY, JOSEPH P          10632 N BOOTH AVE                                                                           KANSAS CITY             MO 64157‐9722
MCCAULEY, JOSEPH PAUL       10632 N BOOTH AVE                                                                           KANSAS CITY             MO 64157‐9722
MCCAULEY, KYRA L            8637 BROOKCREST CT                                                                          GALLOWAY                OH 43119‐9453
MCCAULEY, LAWRENCE E        884 E LINDEN CIR                                                                            MANSFIELD               OH 44906‐2965
MCCAULEY, LUCILLE           47 MAPLE CENTER ROAD                                                                        HILTON                  NY 14468‐9013
MCCAULEY, MARY J            2946 MAYOR DR                                                                               KOKOMO                  IN 46902‐3593
MCCAULEY, MARY JANE         41293 LORE DR                                                                               CLINTON TOWNSHIP        MI 48038‐2088
MCCAULEY, MARY K            1540 BROWNLEE AVE                                                                           YOUNGSTOWN              OH 44514‐1010
MCCAULEY, MARY K            1540 BROWNLEE                                                                               YOUNGSTOWN              OH 44514‐1010
MCCAULEY, MAXINE S          8828 W 400 N                                                                                KOKOMO                  IN 46901‐8639
MCCAULEY, MAXINE S.         8828 W 400 N                                                                                KOKOMO                  IN 46901‐8639
MCCAULEY, MICHAEL L         1804 RUHL RD                                                                                KOKOMO                  IN 46902‐2823
MCCAULEY, NANCY L           543 TOWSON DR NW                                                                            WARREN                  OH 44483‐1736
MCCAULEY, NANCY L           543 TOWSON ST.                                                                              WARREN                  OH 44483‐4483
MCCAULEY, NEDRA C           2514 SUNVIEW LK                                                                             SAN ANTONIO             TX 78245‐3803
MCCAULEY, PEGGY             MAXIMUN SERVICES INCORPORATED   3240 OFFICE POINTE PL STE 100                               LOUISVILLE              KY 40220‐5440
MCCAULEY, PEGGY             8103 COOPER CHAPEL RD                                                                       LOUISVILLE              KY 40228
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Name                                 Address1                             Address2                 Address3             Address4         City              State Zip
MCCAULEY, PEGGY                      C/O DONAN ENGINEERING CO., INC.      ATTN: RODNEY W. JORDAN   11321 PLANTSIDE DR                    LOUISVILLE         KY 40299
MCCAULEY, PHILLIP F                  11061 BRENTWOOD AVE                                                                                 ZIONSVILLE         IN 46077‐9348
MCCAULEY, RICHARD O                  2003 MACKINAW DR                                                                                    DAVISON            MI 48423‐2357
MCCAULEY, RICHARD P                  110 LINCOLN COURT AVE NE                                                                            ATLANTA            GA 30329‐1813
MCCAULEY, RICHARD R                  546 STEGALL DR                                                                                      KOKOMO             IN 46901‐7070
MCCAULEY, ROBERT J                   14328 PARK DR                                                                                       MECOSTA            MI 49332‐9797
MCCAULEY, ROBERT L                   6318 LAKEWOOD DR                                                                                    GREENTOWN          IN 46936‐9703
MCCAULEY, ROBERT S                   4952 S TURNER RD                                                                                    CANFIELD           OH 44406‐9799
MCCAULEY, STEVE J                    3473 LYNTZ TOWNLINE RD SW                                                                           WARREN             OH 44481‐9239
MCCAULEY, WILLIAM D                  786 BAYLOR RD                                                                                       ROCHESTER HILLS    MI 48309‐2511
MCCAULEY, WILLIAM L                  4476 DUBLIN RD                                                                                      BURTON             MI 48529‐1826
MCCAULEY, ZELMA                      8966 STATE ROAD                                                                                     BURTCHVILLE        MI 48059‐1021
MCCAULEY, ZELMA                      8966 STATE RD                                                                                       BURTCHVILLE        MI 48059‐1021
MCCAULLEY, LEROY L                   2151 W SCRIBNER RD                                                                                  WEST BRANCH        MI 48661‐9412
MCCAULLEY, RAMONA S                  1187 E TOWNLINE 16 RD                                                                               PINCONNING         MI 48650‐9332
MCCAUSEY LUMBER CO                   32205 LITTLE MACK AVE                PO BOX 545                                                     ROSEVILLE          MI 48066‐1128
MCCAUSEY, CHARLES L                  2225 N TALLMAN RD                                                                                   FOWLER             MI 48835‐8721
MCCAUSEY, DORIS E                    257 POTTER ST                                                                                       MULLIKEN           MI 48861‐9663
MCCAUSEY, DORIS E                    257 POTTER STREET                                                                                   MULLIKEN           MI 48861
MCCAUSEY, JAMES L                    6018 ESSEX CENTER RD                                                                                SAINT JOHNS        MI 48879‐9735
MCCAUSEY, KIM A                      8549 WEST M 21                                                                                      OVID               MI 48866‐9563
MCCAUSLAND JIM                       MCCAUSLAND, JIM                      10 CRESTMONT RD APT 4N                                         MONTCLAIR          NJ 07042‐1935
MCCAUSLAND SERVICE CENTER, INC.      2200 MCCAUSLAND AVE                                                                                 SAINT LOUIS        MO 63143‐2518
MCCAUSLAND, JIM                      KAHN & ASSOCIATES LLC                10 CRESTMONT RD APT 4N                                         MONTCLAIR          NJ 07042‐1935
MCCAUSLAND, LAURA A                  3085 LANDVIEW DR                                                                                    ROCHESTER          MI 48306‐1146
MCCAUSLAND, THOMAS R                 3085 LANDVIEW DR                                                                                    ROCHESTER          MI 48306‐1146
MCCAWLEY, CLARENCE M                 8205 DENISE DR                                                                                      LOUISVILLE         KY 40219‐5123
MCCAY, DONALD B                      1347 HONEYSUCKLE LN                                                                                 HASTINGS           MN 55033
MCCHESNEY KAREN LYNNE                MCCHESNEY, KAREN LYNNE               813 W 3RD AVE                                                  ANCHORAGE          AK 99501‐2001
MCCHESNEY KAREN LYNNE                C/O INGALDSON MAASSEN & FITZGERALD   813 W 3RD AVE                                                  ANCHORAGE          AK 99501‐2001
                                     PC
MCCHESNEY, KAREN                     2143 MADRONA POINT DRIVE                                                                            BREMERTON         WA 98312‐2332
MCCHESNEY, KAREN LYNNE               INGALDSON MAASSEN & FITZGERALD PC    813 W 3RD AVE                                                  ANCHORAGE         AK 99501‐2001

MCCHESNEY, MARY F                    PO BOX 4849                          C/O KITTY MCCHESNEY                                            BOULDER           CO   80306‐4849
MCCHESNEY, WILLIAM D                 2345 E LAKE RD                                                                                      CLIO              MI   48420‐9147
MCCHESTER, BILLIE R                  517 W FOSS AVE                                                                                      FLINT             MI   48505‐2088
MCCHESTER, SHEILA A                  621 W LORADO AVE                                                                                    FLINT             MI   48505‐2017
MCCHESTER, SHEILA ANNETTE            621 W LORADO AVE                                                                                    FLINT             MI   48505‐2017
MCCHESTER, WILLIE                    1404 E KURTZ AVE                                                                                    FLINT             MI   48505‐1767
MCCHRISTAL, CONNIE                   550 CENTRE ST APT #73                                                                               NUTLEY            NJ   07110‐2258
MCCHRISTIAN, ANNA N                  1781 WARWICK ROAD                                                                                   HARRODSBURG       KY   40330‐8710
MCCHRISTIAN, ANNA N                  1781 WARWICK RD                                                                                     HARRODSBURG       KY   40330‐8710
MCCHRISTION, JAMES O                 2223 E BOATFIELD AVE                                                                                BURTON            MI   48529‐1783
MCCHRISTION, JUDITH A                4121 RIED ROAD                                                                                      SWARTZ CREEK      MI   48473
MCCHRISTION, JUDITH A                4121 REID RD                                                                                        SWARTZ CREEK      MI   48473‐8973
MCCLAIM, KATHERLINA                  GUY WILLIAM S                        PO BOX 509                                                     MCCOMB            MS   39649‐0509
MCCLAIN AND ASSOCIATES               77 N MILLER ROAD SUITE 102                                                                          FAIRLAWN          OH   44333
MCCLAIN CHARLES WILLIAM SR (ESTATE   GOLDENBERG, MILLER, HELLER &         PO BOX 959                                                     EDWARDSVILLE      IL   62025‐0959
OF) (652451)                         ANTOGNOLI
MCCLAIN COUNTY TREASURER             121 N 2ND AVE STE 318                                                                               PURCELL           OK 73080‐4249
MCCLAIN CRAIG A DBA                  CAM AUTOTECH TRAINING                4113 MCKEITH RD                                                MIDLAND           MI 48642‐6266
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Name                                 Address1                       Address2                          Address3                 Address4         City              State Zip
MCCLAIN DONOVAN R                    1240 BEECH HOLLOW DR                                                                                       NASHVILLE          TN 37211‐9630
MCCLAIN FRANK H (415889) ‐ STAPLES   BUDD RUSSELL W                 3102 OAK LAWN AVE STE 1100                                                  DALLAS             TX 75219‐4283
JAMES W
MCCLAIN HENLEY, YEVETTE B            1224 SOMERSET LN                                                                                           FLINT             MI   48503
MCCLAIN II, VIRGIL L                 2014 BEACH ST                                                                                              FLINT             MI   48503‐3936
MCCLAIN JOE                          688 COUNTY ROAD 1387                                                                                       VINEMONT          AL   35179
MCCLAIN JR, CARL                     8909 STARLIGHT DR                                                                                          MACEDONIA         OH   44056‐1256
MCCLAIN JR, ELLSWORTH H              2072 BRAMBLEWOOD DR                                                                                        BURTON            MI   48519‐1116
MCCLAIN JR., ROY D                   4950 E PRATT RD                                                                                            SAINT JOHNS       MI   48879‐9179
MCCLAIN LONNIE (468732)              KELLEY & FERRARO LLP           1300 EAST NINTH STREET , 1901                                               CLEVELAND         OH   44114
                                                                    BOND COURT BUILDING
MCCLAIN PAULA R                      MCCLAIN, PAULA R               16855 WEST BERNARDO DRIVE SUITE                                             SAN DIEGO         CA 92127
                                                                    380
MCCLAIN SHAWN                        85 TAMARACK DR                                                                                             MALONE            NY   12953‐5748
MCCLAIN WENDY                        MCCLAIN, WENDY                 BRYAN W. CREWS                    1137 BRIDGEWATER DRIVE                    ORLANDO           FL   32804
MCCLAIN WILLETTE                     MCCLAIN, WILLETTE              781 YEATES SUBDIVISION ROAD                                                 STARKVILLE        MS   39759
MCCLAIN, ALICE J.                    614 STREAMSIDE DRIVE                                                                                       GREENFIELD        IN   46140‐7169
MCCLAIN, ANDREW R                    54664 ISLE ROYALE AVE                                                                                      MACOMB            MI   48042‐2380
MCCLAIN, ANGELA K                    APT C1                         2109 LAC DU MONT                                                            HASLETT           MI   48840‐9524
MCCLAIN, ANGELA K                    2109 LACDUMONT                 APT # C1                                                                    HAFLETT           MI   48840
MCCLAIN, ANNETTE                     3901 HAMMERBERG RD APT I9                                                                                  FLINT             MI   48507‐6013
MCCLAIN, ANNETTE                     3715 3 M RD                                                                                                LITTLE ROCK       AR   72206‐6809
MCCLAIN, ARNOLD R                    229 VICTORY ST                                                                                             DANVILLE          IL   61832‐6513
MCCLAIN, BEATRICE M                  3164 WOODMAN RD SW                                                                                         S BOARDMAN        MI   49680‐9806
MCCLAIN, BETTY A                     43 SESAME ST                                                                                               PORTLAND          IN   47371‐2328
MCCLAIN, BOBBY E                     80 MANSFIELD AVE                                                                                           SHELBY            OH   44875‐1646
MCCLAIN, BONNIE L                    5448 MAURA DR                                                                                              FLUSHING          MI   48433‐1058
MCCLAIN, C D                         2026 26TH STREET ENSLEY                                                                                    BIRMINGHAM        AL   35218‐2905
MCCLAIN, CALEB R                     6827 CHARLOTTESVILLE ROW                                                                                   FORT WAYNE        IN   46804‐2208
MCCLAIN, CALEB ROBERT                6827 CHARLOTTESVILLE ROW                                                                                   FORT WAYNE        IN   46804‐2208
MCCLAIN, CARL F                      2501 FRIENDSHIP BLVD APT 1                                                                                 KOKOMO            IN   46901‐7743
MCCLAIN, CARL F                      2501 FRIENDSHIP BLVD.          APT. 1                                                                      KOKOMO            IN   46901
MCCLAIN, CARMELITA A                 6415 BLOOM RD                                                                                              NEWARK            NY   14513‐9345
MCCLAIN, CAROLYN                     6221 EUCLID ST APT 13                                                                                      MARLETTE          MI   48453‐1443
MCCLAIN, CASEY W                     5721 STATION HILL DR                                                                                       AVON              IN   46123‐7614
MCCLAIN, CHARLES L                   55 REED ST                                                                                                 LOCKPORT          NY   14094‐3901
MCCLAIN, CHARLES WILLIAM             GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                                  EDWARDSVILLE      IL   62025‐0959
                                     ANTOGNOLI
MCCLAIN, CHRISTOPHER J               5711 HOLLYHOCK DR                                                                                          WEST CARROLLTON   OH   45449‐2917
MCCLAIN, CHRISTOPHER R               800 E ASH LN APT 411                                                                                       EULESS            TX   76039‐4778
MCCLAIN, CLAUD D                     1429 CREST RD                                                                                              GLADWIN           MI   48624‐7606
MCCLAIN, CYNTHIA A                   2758 CALEDONIA ST                                                                                          NEWFANE           NY   14108‐1331
MCCLAIN, DANIEL R                    8525 GILMOUR LN                                                                                            FREELAND          MI   48623‐9045
MCCLAIN, DANIEL R                    8430 NUTHATCH DR                                                                                           FREELAND          MI   48623
MCCLAIN, DARREN L                    432 EGGERS ST                                                                                              BISMARCK          MO   63624‐9076
MCCLAIN, DAVID N                     373 HIGHWAY M                                                                                              IRONDALE          MO   63648‐9610
MCCLAIN, DIANA M                     2720 BELFAST AVE SE                                                                                        GRAND RAPIDS      MI   49507‐3952
MCCLAIN, DONALD W                    276 KERN RD                                                                                                FOWLERVILLE       MI   48836‐8284
MCCLAIN, DONALD WAYNE                276 KERN RD                                                                                                FOWLERVILLE       MI   48836‐8284
MCCLAIN, DOROTHY B                   2501 FRIENDSHIP BLVD APT 20                                                                                KOKOMO            IN   46901‐7743
MCCLAIN, DOUGLAS W                   225 E 1ST ST                                                                                               HARTFORD CITY     IN   47348‐2810
MCCLAIN, DUANE M                     3605 JERREE ST                                                                                             LANSING           MI   48911‐2635
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Name                      Address1                      Address2            Address3         Address4         City            State Zip
MCCLAIN, E C              PO BOX 115135                                                                       ATLANTA          GA 30310‐8135
MCCLAIN, EARL D           811 N MOREY RD                                                                      LAKE CITY        MI 49651‐9323
MCCLAIN, EARL E           2813 FLETCHER ST                                                                    ANDERSON         IN 46016‐5342
MCCLAIN, EDWARD
MCCLAIN, ELLEN A          4177 E LAKE RD                                                                      CLIO            MI   48420
MCCLAIN, ELVIRA E         2026 26TH STREET ENSLEY                                                             BIRMINGHAM      AL   35218‐2905
MCCLAIN, ELWOOD E         5795 HEMINGWAY LAKE RD                                                              OTTER LAKE      MI   48464‐9732
MCCLAIN, ERIC W           276 KERN RD                                                                         FOWLERVILLE     MI   48836‐8284
MCCLAIN, ETHEL B          4401 HOWE RD                                                                        BATH            MI   48808‐9421
MCCLAIN, ETHEL I          46 BERRY PATCH                                                                      SOUTH WINDSOR   CT   06074
MCCLAIN, EVA N            11646 N 300 W                                                                       BURNETTSVILLE   IN   47926‐8090
MCCLAIN, EVELYN           1729 FLINT DR                                                                       AUBURNDALE      FL   33823‐9678
MCCLAIN, FRANK            128 ROBIN AVENUE NORTH                                                              BATTLE CREEK    MI   49037‐1037
MCCLAIN, FRANK            2108 MILAM ST                                                                       FORT WORTH      TX   76112‐5221
MCCLAIN, GARY L           5251 JAMESON DR                                                                     COLUMBUS        OH   43232‐4641
MCCLAIN, GEORGE           PO BOX 13235                                                                        FLINT           MI   48501‐3235
MCCLAIN, GEORGE           6045 BELMONT CT                                                                     GRAND BLANC     MI   48439‐8683
MCCLAIN, GEORGE           PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON         MS   39206‐5621
MCCLAIN, GEORGE C         33448 BROWNLEA DR                                                                   STERLING HTS    MI   48312‐6614
MCCLAIN, GEORGE L         1524 NAADEAU BOX 35                                                                 GLENNIE         MI   48737
MCCLAIN, GERALDINE K.     361 S PETERMAN RD                                                                   GREENWOOD       IN   46142‐8564
MCCLAIN, GERALDINE K.     361 S. PETERMAN RD.                                                                 GREENWOOD       IN   46142‐8564
MCCLAIN, GLADENE          814 ASH ST.                                                                         SAGINAW         MI   48602
MCCLAIN, GLEN E           4147 W 53RD ST                                                                      MOUNT MORRIS    MI   48458‐9415
MCCLAIN, GLENN A          7896 N BEAR CREEK RD                                                                MORGANTOWN      IN   46160‐9064
MCCLAIN, GLENN T          3636 SHIELDS RD                                                                     CANFIELD        OH   44406‐8081
MCCLAIN, GLORIA J         1978 ARGYLE DR                                                                      COLUMBUS        OH   43219‐1103
MCCLAIN, GRADY            7904 JOHN HUSS AVE                                                                  BRIDGEPORT      NY   13030‐9430
MCCLAIN, GREGORY M        415 HAGEMAN                                                                         CEDAR HILL      TX   75104‐9149
MCCLAIN, GREGORY MELVIN   415 HAGEMAN                                                                         CEDAR HILL      TX   75104‐9149
MCCLAIN, GWINNIE M        1364 LEISURE                                                                        FLINT           MI   48507‐4055
MCCLAIN, GWINNIE M        1364 LEISURE DR                                                                     FLINT           MI   48507‐4055
MCCLAIN, HARRY T          6521 ALLISON DR                                                                     FLINT           MI   48504‐3618
MCCLAIN, HARVEY L         2750 CHURCH DR                                                                      CORINTH         TX   76210‐3520
MCCLAIN, HAZEL B          3530 JERREE ST                                                                      LANSING         MI   48911‐2632
MCCLAIN, HERBERT L        3322 GOODRICH AVE                                                                   SARASOTA        FL   34234‐6042
MCCLAIN, ISABELLA A       399 MAPLEWOOD LN                                                                    PONTIAC         MI   48341‐3176
MCCLAIN, JACKIE L         4717 W 600 N                                                                        ANDERSON        IN   46011‐9241
MCCLAIN, JACKIE L         PO BOX 702                                                                          CUMMING         GA   30028‐0702
MCCLAIN, JAMES C          2843 WYOMING DR                                                                     XENIA           OH   45385‐4443
MCCLAIN, JAMES E          16629 WHITBY ST                                                                     LIVONIA         MI   48154‐2508
MCCLAIN, JAMES I          54 DEWEY AVE                                                                        FAIRPORT        NY   14450‐2406
MCCLAIN, JAMES L          4306 OLD CARRIAGE RD                                                                FLINT           MI   48507‐5648
MCCLAIN, JAMES R          17527 GREELEY ST                                                                    HIGHLAND PARK   MI   48203
MCCLAIN, JAMES R          3002 WHITEHOUSE DR                                                                  KOKOMO          IN   46902‐3399
MCCLAIN, JERALD D         11339 PETTIS RD                                                                     ORRICK          MO   64077‐8134
MCCLAIN, JERRY            297 W KLEIN RD                                                                      AMHERST         NY   14221‐1635
MCCLAIN, JOAN L           9246 B N MACARTHUR BLVD                                                             OKLAHOMA CITY   OK   73132
MCCLAIN, JOAN L           GENERAL DELIVERY                                                                    OKLAHOMA CITY   OK   73102
MCCLAIN, JOE K            688 COUNTY ROAD 1387                                                                VINEMONT        AL   35179
MCCLAIN, JOHN             2247 REDMAN RD                                                                      SAINT LOUIS     MO   63136‐6203
MCCLAIN, JOHN B           PO BOX 152                                                                          FOWLERVILLE     MI   48836‐0152
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Name                     Address1                        Address2                       Address3   Address4         City              State Zip
MCCLAIN, JOHN C          1205 PACIFIC HWY UNIT 802                                                                  SAN DIEGO          CA 92101‐8458
MCCLAIN, JOHNNIE L       24418 AMES                                                                                 TAYLOR             MI 48180‐1611
MCCLAIN, JOHNNIE L       24418 AMES ST                                                                              TAYLOR             MI 48180‐1611
MCCLAIN, JOYCE E         121 COUNTY ROAD 1104                                                                       GOSHEN             AL 36035‐2801
MCCLAIN, JT              GUY WILLIAM S                   PO BOX 509                                                 MCCOMB             MS 39649‐0509
MCCLAIN, JULIAN G        61911 KLINGER LAKE RD                                                                      CENTREVILLE        MI 49032‐9742
MCCLAIN, KATHLEEN L      6827 CHARLOTTESVILLE ROW                                                                   FORT WAYNE         IN 46804‐2208
MCCLAIN, KELLEY          2526 AUBURN AVE                                                                            DAYTON             OH 45406‐1964
MCCLAIN, KENNETH         PORTER & MALOUF PA              4670 MCWILLIE DR                                           JACKSON            MS 39206‐5621
MCCLAIN, KENNETH E       723 GRACELAND DR                C/O DALE E MCCLAIN                                         ASHEBORO           NC 27205‐9814
MCCLAIN, LAUREL K        1752 RALEIGH AVE APT 21                                                                    LAPEER             MI 48446‐4197
MCCLAIN, LAUREL KATE     1752 RALEIGH AVE APT 21                                                                    LAPEER             MI 48446‐4197
MCCLAIN, LEE A           COURT STREET VILLAGE            700 EAST COURT STREET          APT 336                     FLINT              MI 48503
MCCLAIN, LESTER E        13112 ROAD 176                                                                             PAULDING           OH 45879‐8829
MCCLAIN, LINDA F         1020 ROLLING FIELDS CIR                                                                    COLUMBIA           TN 38401‐3570
MCCLAIN, LINDA FAY       1020 ROLLING FIELDS CIR                                                                    COLUMBIA           TN 38401‐3570
MCCLAIN, LONNIE          KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                               CLEVELAND          OH 44114
                                                         BOND COURT BUILDING
MCCLAIN, MARGARET M      555 S 22ND ST                                                                              SAGINAW           MI   48601‐1540
MCCLAIN, MARGARET M      3636 SHIELDS RD                                                                            CANFIELD          OH   44406‐8081
MCCLAIN, MARIA T         118 N. OLD NASSAU RD.                                                                      MONROE TOWNSHIP   NJ   08831
MCCLAIN, MARION M        2173 S CENTER RD APT 151                                                                   BURTON            MI   48519‐1804
MCCLAIN, MARION M        311 ROSEMORE DR                                                                            DAVISON           MI   48423‐1615
MCCLAIN, MARY A          167 POST BR                                                                                FENTON            MI   48430‐8602
MCCLAIN, MICHAEL A       17394 COUNTY ROAD 400                                                                      HILLSBORO         AL   35643‐3940
MCCLAIN, MICHAEL J       PO BOX 371                                                                                 DIMONDALE         MI   48821‐0371
MCCLAIN, MICHAEL J       907 CASCADE DR                                                                             DAYTON            OH   45431‐2940
MCCLAIN, MICHAEL R       1079 FOREST LAKE BLVD                                                                      LAKE ORION        MI   48362
MCCLAIN, MILDRED R       217 W MECHANIC ST                                                                          SHELBYVILLE       IN   46176‐1117
MCCLAIN, NANCY A         7019 ROBERTS CT                                                                            SAINT LOUIS       MO   63130‐1947
MCCLAIN, NANCY K         6647 VERNETTE AVE                                                                          YOUNGSTOWN        OH   44515‐2104
MCCLAIN, NANCY K         6647 VERNETTE DRIVE                                                                        YOUNGSTOWN        OH   44515‐2104
MCCLAIN, NATHANIEL       13955 BECKWITH DR                                                                          HOUSTON           TX   77014‐2652
MCCLAIN, NICK S          223 W GRANT ST                                                                             HARTFORD CITY     IN   47348‐2140
MCCLAIN, ORVEL D         4507 RHEA RD                                                                               GRANBURY          TX   76049‐2968
MCCLAIN, OTIS R          1349 COUNTY ROAD 260                                                                       VICKERY           OH   43464‐9794
MCCLAIN, PAMELA          3177 CASTLE RD                                                                             NORTH BRANCH      MI   48461‐8762
MCCLAIN, PAMELA M        4280 W 112TH ST                                                                            GRANT             MI   49327‐9755
MCCLAIN, PATRICIA Y      255 N MATTHEWS RD                                                                          GREENWOOD         IN   46143‐9725
MCCLAIN, PATRICK L       308 ANNAPOLIS CT                                                                           POTTERVILLE       MI   48876‐9502
MCCLAIN, PAULINE A       64 NORTH HOME RD.               APT. 10                                                    MANSFIELD         OH   44906‐2357
MCCLAIN, PAULINE A       64 HOME RD N APT 10                                                                        MANSFIELD         OH   44906‐2320
MCCLAIN, PERRY J         1213 FOUR WINDS CT                                                                         NILES             OH   44446‐3573
MCCLAIN, PETTIS          4616 N J ST                                                                                FORT SMITH        AR   72904‐7148
MCCLAIN, REGINA K        168 GOOKING ST                                                                             LOCKPORT          NY   14094‐2236
MCCLAIN, REGINA K        APT K1                          250 WEST POST ROAD                                         WHITE PLAINS      NY   10606‐2919
MCCLAIN, RICHARD         141 JEAN AVE                                                                               MUNROE FALLS      OH   44262‐1305
MCCLAIN, ROBERT E        204 ANDY CREEK LN                                                                          CASCADE           MT   59421
MCCLAIN, ROBERT EUGENE   204 ANDY CREEK LN                                                                          CASCADE           MT   59421‐8454
MCCLAIN, ROBERT W        4409 LINDEN LN                                                                             ANDERSON          IN   46011‐1737
MCCLAIN, ROBERT W        19955 ROCKSIDE RD APT 403                                                                  BEDFORD           OH   44146
MCCLAIN, ROBIN S         1103 OAK ST                                                                                ESSEXVILLE        MI   48732‐1424
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Name                          Address1                        Address2                            Address3   Address4         City                    State Zip
MCCLAIN, ROGER W              PO BOX 29052                                                                                    SHREVEPORT               LA 71149‐9052
MCCLAIN, ROLENA B             231 HOWLAND TERRACE                                                                             WARREN                   OH 44484‐4484
MCCLAIN, RONALD L             116 W 3RD ST                                                                                    ANDERSON                 IN 46016‐2214
MCCLAIN, ROY D                7926 LINTON RD                                                                                  SAINT JOHNS              MI 48879‐9353
MCCLAIN, RUBY                 10021 OAK ST                                                                                    BERNIE                   MO 63822‐8116
MCCLAIN, RUBY                 10021 OAK STREET                                                                                BERNIE                   MO 63822‐8116
MCCLAIN, SARAH                4065 43RD ST UNIT 211                                                                           SAN DIEGO                CA 92105‐8524
MCCLAIN, SHAKUNTALA D         927 MARICOPA DR                                                                                 MURFREESBORO             TN 37128‐4198
MCCLAIN, SHAKUNTALA DESHAWN   927 MARICOPA DR                                                                                 MURFREESBORO             TN 37128‐4198
MCCLAIN, SHARON               6041 HART ST                                                                                    EAST LANSING             MI 48823‐2213
MCCLAIN, SHARON               1810 PEPPERTREE LN                                                                              LANSING                  MI 48912‐3725
MCCLAIN, SHARON L             301 W MARENGO AVE                                                                               FLINT                    MI 48505‐3219
MCCLAIN, SHARON LOUISE        301 W MARENGO AVE                                                                               FLINT                    MI 48505‐3219
MCCLAIN, STACY J              2057 ONEIL ROAD                                                                                 MACEDON                  NY 14502‐8953
MCCLAIN, STEPHEN G            314 ELBOW LN                                                                                    ELKTON                   MD 21921‐2146
MCCLAIN, STEVEN A             7146 RIDGEVIEW DR                                                                               GENESEE                  MI 48437‐7724
MCCLAIN, STEVEN G             11598 CORONADO TRAIL                                                                            FRISCO                   TX 75034‐0228
MCCLAIN, TERRANCE C           170 GOODING ST                                                                                  LOCKPORT                 NY 14094‐2236
MCCLAIN, TROY L               223 W GRANT ST                                                                                  HARTFORD CITY            IN 47348‐2140
MCCLAIN, TRUMAN R             6100 N 600 W                                                                                    MARION                   IN 46952‐9166
MCCLAIN, VANETTA R            5243 GREENWOOD RD                                                                               SHREVEPORT               LA 71109‐5423
MCCLAIN, VELMA A              PO BOX 522                                                                                      WHITE SULPHUR SPRINGS    MT 59645
MCCLAIN, VERA B               990 N 16TH ST                                                                                   NEW CASTLE               IN 47362‐4317
MCCLAIN, VIRGIL L             3452 RANGELEY ST APT 3                                                                          FLINT                    MI 48503‐2961
MCCLAIN, WENDY                7510 LAUREL SPRINGS DR                                                                          WINTER PARK              FL 32792‐8711
MCCLAIN, WENDY                BRYAN W. CREWS                  1137 BRIDGEWATER DRIVE                                          ORLANDO                  FL 32804
MCCLAIN, WILLARD T            700 EAST COST ST                APT: 102                                                        FLINT                    MI 48503
MCCLAIN, WILLIAM C            505 CASTLE ROCK RD                                                                              YUKON                    OK 73099‐4443
MCCLAIN, WILLIAM J            15790 BUECHE RD                                                                                 CHESANING                MI 48616‐9770
MCCLAIN, WILLIAM P            546 MCBRIDE RD                                                                                  MANSFIELD                OH 44905‐2961
MCCLAIN, WILLIAM R            1786 BRYANT RD                                                                                  RANGER                   GA 30734‐6136
MCCLAIN, WILLIAM R            5656 STATE ROUTE 503 SOUTH                                                                      W ALEXANDRIA             OH 45381‐8392
MCCLAIN, WILLIAM W            920 N COUNTY ROAD 200 E                                                                         DANVILLE                 IN 46122‐9367
MCCLAIN,IRENE                 2833 N 64TH ST                                                                                  KANSAS CITY              KS 66104‐1808
MCCLAIN‐PIGMAN, BILLY K       5719 MELODY LANE                                                                                MILFORD                  OH 45150
MCCLAIN‐PIGMAN, BILLY KAYE    5719 MELODY LN                                                                                  MILFORD                  OH 45150‐2612
MCCLAINE JR, CHARLES          930 BELMONT AVE                                                                                 FLINT                    MI 48503‐2742
MCCLAINE, MICHAEL E           PO BOX 1222                                                                                     SAGINAW                  MI 48606‐1222
MCCLAINE, PAUL W              6355 PEACHWOOD TRL                                                                              SAINT LOUIS              MO 63129‐4610
MCCLAINE, WILLIE E            313 SNOWDEN RD                                                                                  FITZGERALD               GA 31750
MCCLAINE, WYNITA C            2711 LARRY TIM DR                                                                               SAGINAW                  MI 48601‐5615
MCCLAIRE, TERRY J             3646 CANDLEWOOD DR                                                                              JANESVILLE               WI 53546‐8400
MCCLAIRE, TERRY JAMES         3646 CANDLEWOOD DR                                                                              JANESVILLE               WI 53546‐8400
MCCLAM, CREIGHTON A           55 BARRINGTON LN                                                                                COVINGTON                GA 30016‐4909
MCCLAMB, MONTY V              143 COVINGTON RD                                                                                BUFFALO                  NY 14216‐2103
MCCLAMMER, EARL C             4590 N FORTVILLE PIKE                                                                           GREENFIELD               IN 46140‐8635
MCCLAMMER, JAMES W            632 BROOKS DR                                                                                   FORTVILLE                IN 46040‐1119
MCCLAMMER, LINDA K            108 CHAPMAN OVERLOOK                                                                            GREENFIELD               IN 46140‐3186
MCCLANAHAN JIMMY              C/O MOTLEY/RICE 914337          28 BRIDGESIDE BLVD ‐ P O BOX 1792                               MT PLEASANT              SC 29465

MCCLANAHAN JIMMY (469327)     (NO OPPOSING COUNSEL)
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Name                        Address1                         Address2                      Address3   Address4         City              State Zip
MCCLANAHAN, ALFRED          CADEAUX TAGLIERI & NOTARIUS PC   SUITE 800, 1100 CONNECTICUT                               WASHINGTON         DC 20036
                                                             AVENUE, NW
MCCLANAHAN, ANNA M          11264 MARINA BAY RD                                                                        WELLINGTON        FL   33449‐8362
MCCLANAHAN, BARD A          5344 NORTHWAY DR                                                                           SWARTZ CREEK      MI   48473‐8227
MCCLANAHAN, BERNARD L       749 LEWIS STATION RD                                                                       CLENDENIN         WV   25045‐8089
MCCLANAHAN, BRENDA S        204 MAY LN                                                                                 GREERS FERRY      AR   72067‐8865
MCCLANAHAN, DEBORAH E       320 GREENFIELD AVE                                                                         SAN MATEO         CA   94403‐5012
MCCLANAHAN, DONNA J         592 99TH AVE N                                                                             NAPLES            FL   34108‐2228
MCCLANAHAN, DONNA J         592 ‐ 99TH AVENUE ‐ NORTH                                                                  NAPLES            FL   34108‐2228
MCCLANAHAN, DONNIE R        147 BRUCE ELLIOTT DR                                                                       PIKEVILLE         KY   41501‐1542
MCCLANAHAN, DOSHIE A        4555 QUEENS AVE                                                                            SAINT LOUIS       MO   63115‐1339
MCCLANAHAN, EDISON C        3894 20TH ST                                                                               WYANDOTTE         MI   48192‐6310
MCCLANAHAN, HELEN L         1121 MOUNTAIN HOME RD                                                                      GRUNDY            VA   24614‐5668
MCCLANAHAN, JEFFREY L       3929 ALSACE PL                                                                             INDIANAPOLIS      IN   46226‐5412
MCCLANAHAN, JIMMY G         4976 STATE ROUTE 121 N                                                                     MAYFIELD          KY   42066‐8954
MCCLANAHAN, JOHN P          PO BOX 308                                                                                 CALHOUN           TN   37309‐0308
MCCLANAHAN, M K             13473 N FOREST DR                                                                          CAMBY             IN   46113‐8676
MCCLANAHAN, SHAWN M         10105 E CORUNNA RD                                                                         LENNON            MI   48449‐9658
MCCLANAHAN, STANFORD P      4555 QUEENS AVE                                                                            SAINT LOUIS       MO   63115‐1339
MCCLANEY, AQUANITA          19306 WILDOATS DRIVE                                                                       KATY              TX   77449‐3994
MCCLARA, DIANE R            1168 FAIRVIEW RD NW                                                                        CALHOUN           GA   30701‐8307
MCCLARAN, REBECCA J         51 WALNUTWOOD DR                                                                           DAVISON           MI   48423‐8137
MCCLARD, LUCKY              677 W 11 MILE RD                                                                           IRONS             MI   49644‐8749
MCCLAREN I I I, DAVID U     21725 GILMORE RD                                                                           BELLVILLE         OH   44813‐9613
MCCLAREN III, DAVID URSIN   21725 GILMORE RD                                                                           BELLVILLE         OH   44813‐9613
MCCLAREN, DAVID U           37747 BORDMAN RD                                                                           RILEY             MI   48041‐4507
MCCLARKIN, MARILYN          620 LAKEWOOD                                                                               DETROIT           MI   48215
MCCLARNON, EDITH I          6836 OSCEOLA DR                                                                            MOUNT DORA        FL   32757‐7213
MCCLARNON, KELLY J          2050 ROCK SPRINGS RD                                                                       COLUMBIA          TN   38401‐7421
MCCLARON LOUISIANNA         204 CHESHIRE ROAD                                                                          CLARKSVILLE       TN   37043‐5862
MCCLARREN, BETTY L          137 SULLIVAN RD                                                                            DICKSON           TN   37055‐4038
MCCLARREN, DEBRA K          4042 LUNNS STORE RD                                                                        LEWISBURG         TN   37091‐6640
MCCLARREN, LEON J           6405 ADAMSON DR                                                                            WATERFORD         MI   48329‐3007
MCCLARRON PATSY             PO BOX 722                                                                                 MOUNT PLEASANT    TX   75456‐0722
MCCLARRY REENOKA            MCCLARRY, REENOKA                302 ENGLESIDE DR                                          RICHMOND          VA   23222
MCCLARRY, REENOKA           208 ENGLESIDE CIR APT 2C                                                                   RICHMOND          VA   23222
MCCLARTY, THOMAS R          GUY WILLIAM S                    PO BOX 509                                                MCCOMB            MS   39649‐0509
MCCLARY JR, PETER J         227 COURT ST                                                                               NEWARK            NJ   07103‐3321
MCCLARY, ALAN D             4758 CINEMA AVE NE                                                                         GRAND RAPIDS      MI   49525‐6862
MCCLARY, CHARLES M          5920 RICHMOND RD                                                                           OAKWOOD VLG       OH   44146‐2563
MCCLARY, DONALD E           6110 N TUNNEL RD                                                                           UNIONVILLE        IN   47468‐9731
MCCLARY, GLENDA D           2378 VERNER RD                                                                             LAWRENCEVILLE     GA   30043‐3430
MCCLARY, HARVEY E           3100 JONES RD                                                                              DIAMOND           OH   44412‐9738
MCCLARY, JAMES A            5235 E WILCOX RD                                                                           JANESVILLE        WI   53546‐9707
MCCLARY, JAMES E            1100 GREENBRIAR RD                                                                         LEASBURG          MO   65535‐7151
MCCLARY, JERRY G            1497 WALSH AVE                                                                             COLUMBUS          OH   43223‐1937
MCCLARY, KATHERINE L        528 STATE ROUTE 503                                                                        ARCANUM           OH   45304
MCCLARY, KELLY A            2560 TROJAN CIR                                                                            TROY              MO   63379‐3350
MCCLARY, MARCELLA A.        1921 FIELDING CT                                                                           DEFIANCE          OH   43512‐3483
MCCLARY, MARGIE             56 CLIFTON ST                                                                              ROCHESTER         NY   14608‐2118
MCCLARY, ROBIN L            1349 MILBOURNE AVE                                                                         FLINT             MI   48504
MCCLARY, SHIRLEY            5920 RICHMOND RD                                                                           OAKWOOD VILLAGE   OH   44146‐2563
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Name                        Address1                        Address2                      Address3   Address4               City            State Zip
MCCLARY, THOMAS D           7695 N BOTTOM RD                                                                                ELLETTSVILLE     IN 47429‐9686
MCCLARY, WILLIAM F          839 BRADWELL DR                                                                                 COLUMBUS         OH 43207‐4161
MCCLASKEY JR, VAN H         221 RAILROAD AVE                                                                                BUFFALO          WV 25033‐9607
MCCLASKEY, GINA M           2919 ORCHARD AVENUE SOUTHEAST                                                                   WARREN           OH 44484‐3237
MCCLASKEY, JANET E          1642 DILLON RD                                                                                  AMBLER           PA 19002
MCCLASKEY, MICHAEL B        13026 BROOKRIDGE DR                                                                             FORT WAYNE       IN 46814‐7401
MCCLASTER JR, FRANK         2820 NORWICH RD                                                                                 LANSING          MI 48911‐1341
MCCLATCHEY, MARION          1687 S RIVERSIDE AVE APT 6                                                                      SAINT CLAIR      MI 48079‐5167
MCCLATCHY COMPANY           STEVE BURNS                     2100 Q STREET                                                   SACRAMENTO       CA 95816
MCCLATCHY COMPANY           GARY PRUITT                     2100 Q STREET                                                   SACRAMENTO       CA 95816‐6816
MCCLATCHY COMPANY           2100 Q ST                                                                                       SACRAMENTO       CA 95816‐6816
MCCLATCHY COMPANY           GARY PRUITT                     2100 Q ST                                                       SACRAMENTO       CA 95816‐6816
MCCLAUGHRY, DAVID A         8740 WAUMEGAH LAKE RD                                                                           CLARKSTON        MI 48348
MCCLAY JR, PAUL             307 E 5TH ST                                                                                    SHERIDAN         IN 46069‐1321
MCCLAY, MARY CARLENE        4928 HICKORY WOODS TRAIL                                                                        DAYTON           OH 45432‐3223
MCCLAY, MONTI K             26224 STOLLMAN DR                                                                               INKSTER          MI 48141‐1337
MCCLAY, MONTI KARL          26224 STOLLMAN DR                                                                               INKSTER          MI 48141‐1337
MCCLAY, ROBERT L            3155 W 246TH ST                                                                                 SHERIDAN         IN 46069‐9383
MCCLEAF DONALD R (439310)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA 23510
                                                            STREET, SUITE 600
MCCLEAF, DONALD R           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA 23510‐2212
                                                            STREET, SUITE 600
MCCLEAN GEORGE J            ACKLANDS‐GRAINGER INC           90 WEST BEAVER CREEK ROAD                RICHMOND HILL CANADA
                                                                                                     ON L4B 1E7 CANADA
MCCLEAN, BETTY R            239 FLAMINGO ST                                                                                 LAKE PLACID     FL   33852‐9065
MCCLEAN, EVELYN             C/O DEBORAH KAY LEPPALA         218 S.FIFTH STREET.                                             CRYSTAL FALLS   MI   49920
MCCLEAN, JAMES P            218 S 5TH ST                    C/O DEBORAH KAY LEPPALA                                         CRYSTAL FALLS   MI   49920‐1509
MCCLEAN, JANICE P           397 LAKE RD                                                                                     INMAN           SC   29349‐9688
MCCLEAN, JEFFREY            1505 WOODRIDGE MANOR RD                                                                         FALLSTON        MD   21047‐2601
MCCLEAN, PATRICK            1024 COLLETON WAY                                                                               TRENT WOODS     NC   28562‐7257
MCCLEAN, RICHARD A          PAUL REICH & MYERS PC           1608 WALNUT ST                STE 500                           PHILADELPHIA    PA   19103‐5446
MCCLEAN, ROBERT J           3811 LONG MEADOW LN                                                                             LAKE ORION      MI   48359‐1443
MCCLEAN, WALLACE S          3031 PAUL AVE                                                                                   LANSING         MI   48906‐2624
MCCLEAREN, BERRY D          8607 PINEWOOD RD                                                                                LYLES           TN   37098‐2700
MCCLEARN, LISA J            13 MASTERS CT NE                                                                                WARREN          OH   44484‐6748
MCCLEARY, BRIAN E           727 WOODGATE BLVD APT 202                                                                       RAVENNA         OH   44266
MCCLEARY, DEBRA M           21 W 8TH ST                                                                                     NEWTON FALLS    OH   44444‐1551
MCCLEARY, DONALD E          21 W 8TH ST                                                                                     NEWTON FALLS    OH   44444‐1551
MCCLEARY, EDWARD M          86 SIDNEY AVE                                                                                   WOONSOCKET      RI   02895‐5628
MCCLEARY, JEFFREY A         905 IROQUOIS AVE                                                                                WATERFORD       MI   48327‐3241
MCCLEARY, JOHN F            PO BOX 4056                                                                                     KOKOMO          IN   46904‐4056
MCCLEARY, MARY E            129 VALLEY RD                                                                                   NEEDHAM         MA   02492
MCCLEARY, ROBERT P          32600 CONCORD DR APT 721                                                                        MADISON HTS     MI   48071‐1114
MCCLEARY, WILLIAM E         306 CENTRAL PARKWAY AVE SE                                                                      WARREN          OH   44483‐6211
MCCLEAVE, LOREN R           1943 LYTAL LN                                                                                   CHOCTAW         OK   73020‐6411
MCCLEE, JAMES W             1709 DOVER CT                                                                                   YPSILANTI       MI   48198‐3214
MCCLEER POWER INC           2421 RESEARCH DR                                                                                JACKSON         MI   49203‐6409
MCCLEERY, BEVERLY H         2108 E 38TH ST                                                                                  ANDERSON        IN   46013‐2117
MCCLEERY, CATHERINE         2300 WILSON AVENUE                                                                              CAMPBELL        OH   44405‐4405
MCCLEERY, MICHAEL J         3835 CANNON RD                                                                                  AUSTINTOWN      OH   44515‐4602
MCCLEERY, NORMAN T          3501 WHITE RIVER CT                                                                             ANDERSON        IN   46012‐4649
MCCLEERY, SHIRLEY H         881 MCLARY RD                                                                                   NASHVILLE       IN   47448
                           09-50026-mg             Doc 7123-26 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                              Part 24 of 40 Pg 905 of 905
Name                       Address1                        Address2                     Address3   Address4         City             State Zip
MCCLEESE, DONNIE L         442 CRABAPPLE DR                                                                         HOWARD            OH 43028‐9575
MCCLEESE, GERNNIE D        7667 CAINE RD                                                                            MILLINGTON        MI 48746‐9424
MCCLEESE, HARLIN R         8494 CATHERWOOD DR                                                                       GOODRICH          MI 48438‐9432
MCCLEESE, HARLIN RANE      8494 CATHERWOOD DR                                                                       GOODRICH          MI 48438‐9432
MCCLEESE, RALPH L          12322 BENSON RD                                                                          MOUNT MORRIS      MI 48458‐1465
MCCLELLAN JAMES (484867)   GEORGE & SIPES                  151 N DELAWARE ST STE 1700                               INDIANAPOLIS      IN 46204‐2503
MCCLELLAN JOSEPH           13330 W COLONIAL DR STE 110                                                              WINTER GARDEN     FL 34787‐3976
MCCLELLAN JR, HERBERT A    7340 CRYSTAL LAKE DR APT 5                                                               SWARTZ CREEK      MI 48473‐8960
MCCLELLAN JR, LEONARD J    5156 WILLIAM FOX LN                                                                      OTTAWA LAKE       MI 49267‐9577
MCCLELLAN, ALAN J          1618 HERITAGE RUN DR                                                                     LEBANON           OH 45036‐8344
MCCLELLAN, ALICE M         403 E 2ND ST                                                                             LIMA              OH 45804‐2007
MCCLELLAN, ALLAN B         1107 ARUNDEL DR                                                                          KOKOMO            IN 46901‐3922
MCCLELLAN, ARLENE B        6540 BALSAM APT E104                                                                     HUDSONVILLE       MI 49426‐9268
MCCLELLAN, BETTY J         464 APPLE DRIVE                                                                          EATON             OH 45320‐1282
MCCLELLAN, BETTY J         464 APPLE DR                                                                             EATON             OH 45320‐1282
MCCLELLAN, BRADLEY S       4791 E CLYDE RD                                                                          HOWELL            MI 48855‐6749
MCCLELLAN, BRADLEY SCOTT   4791 E CLYDE RD                                                                          HOWELL            MI 48855‐6749
MCCLELLAN, BRUCE L         4859 N BLAISDELL RD                                                                      MERRITT           MI 49667‐9732
MCCLELLAN, CAROL           6035 SO. TRANSIT RD             LOT #309                                                 LOCKPORT          NY 14094‐6327
MCCLELLAN, CHURMEY B       18831 BRINKER                                                                            DETROIT           MI 48234‐1539
MCCLELLAN, CHURMEY B       18831 BRINKER ST                                                                         DETROIT           MI 48234‐1539
MCCLELLAN, CLARA M.        4183 KNOLLCROFT RD.                                                                      PROTWOOD          OH 45426‐5426
MCCLELLAN, CONSTANCE       7300 BLUEWATER DR APT 107                                                                CLARKSTON         MI 48348‐4229
MCCLELLAN, CYNTHIA A       240 MAUREEN AVE                                                                          MERRITT ISLAND    FL 32953‐4438
MCCLELLAN, DEANNA L        725 PRICE ST                                                                             RAVENNA           OH 44266
MCCLELLAN, DENNIS L        24 CHAPPARAL RD                                                                          WEST UNION        OH 45693‐9073
MCCLELLAN, DOLORES         336 NORTH MAIN ST #403                                                                   DAVISON           MI 48423
MCCLELLAN, DOLORES         336 N MAIN ST APT 403                                                                    DAVISON           MI 48423‐1456
MCCLELLAN, ERNEST E        PO BOX 208                                                                               SHAUCK            OH 43349‐0208
MCCLELLAN, EVELYN M        315 BLACKWOOD AVE                                                                        DAYTON            OH 45403‐1603
MCCLELLAN, EZELL           2021 BLAINE ST APT 106                                                                   DETROIT           MI 48206‐2255
MCCLELLAN, GERALD G        6175 LUCAS RD                                                                            FLINT             MI 48506‐1228
MCCLELLAN, GREGORY B       7 MORGAN RD E                                                                            BATTLE CREEK      MI 49017‐1797
MCCLELLAN, HELEN F         1477 WOODRIDGE DR                                                                        HAMILTON          OH 45013‐1065
MCCLELLAN, HELEN M         253 MEADOWS CIR N                                                                        WIXOM             MI 48393‐4019
MCCLELLAN, JACQUELYN T.    7340 CRYSTAL LAKE DR APT 5                                                               SWARTZ CREEK      MI 48473‐8960
MCCLELLAN, JAMES           GEORGE & SIPES                  151 N DELAWARE ST STE 1700                               INDIANAPOLIS      IN 46204‐2503
MCCLELLAN, JAMES C         20519 DELAWARE AVE                                                                       REDFORD           MI 48240‐1179
MCCLELLAN, JAMES H         3508 N ILLINOIS ST                                                                       INDIANAPOLIS      IN 46208‐4419
MCCLELLAN, JAMES L         805 HALLWORTH PL BLDG 16                                                                 DAYTON            OH 45426
MCCLELLAN, JAMES O         3653 S 805 E APT 9                                                                       SALT LAKE CITY    UT 84106‐4641
MCCLELLAN, JAMES R         725 PRICE ST                                                                             RAVENNA           OH 44266‐2018
MCCLELLAN, JAMES W         2138 STONESTHROW DR                                                                      LAPEER            MI 48446
MCCLELLAN, JUANITA M       8671 GIDGET                                                                              NEW PORT          MI 48166
MCCLELLAN, JUDITH S        469 MAHONING AVE NW                                                                      WARREN            OH 44483‐4632
MCCLELLAN, K L             4 MARY ST                                                                                BORDENTOWN        NJ 08505‐1812
MCCLELLAN, K LINDSAY       4 MARY ST                                                                                BORDENTOWN        NJ 08505‐1812
MCCLELLAN, KENNETH W       1457 PEACHWOOD DR                                                                        FLINT             MI 48507‐5632
MCCLELLAN, KEVIN           8207 HEARTHSTONE CT                                                                      CINCINNATI        OH 45241
MCCLELLAN, LENOAR H        4835 HERITAGE CIR                                                                        MUNCIE            IN 47303
MCCLELLAN, MARY            4421 TALL MEADOW LN                                                                      FORT WORTH        TX 76133‐6600
MCCLELLAN, MARY C          2326 LAKE DR                                                                             ANDERSON          IN 46012‐1821
